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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

 In re:
                                                                  Chapter 11
                                                 1
 Prime Core Technologies Inc., et al.,
                                                                  Case No. 23-111161 (JKS)
                                                 Debtors.
                                                                  (Jointly Administered)


               STATEMENT OF FINANCIAL AFFAIRS FOR PRIME TRUST, LLC
                                (CASE NO. 23-11162)




______________________________________________
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  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
(4528). Prime Trust, LLC’s service address is 330 South Rampart Blvd., Suite 260, Las Vegas, NV 89145.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                               Chapter 11

    Prime Core Technologies Inc., et al.,1                               Case No. 23-11161 (JKS)

                                                Debtors.                 (Jointly Administered)



        GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
       AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
           AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

         Prime Core Technologies Inc. (“Prime Core”) and its debtor affiliates, as debtors and
debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), are
filing their respective Schedules of Assets and Liabilities (each, a “Schedule” and, collectively, the
“Schedules”) and Statements of Financial Affairs (each, a “Statement” or “SOFA” and,
collectively, the “Statements” or “SOFAs”) with the United States Bankruptcy Court for District
of Delaware (the “Bankruptcy Court”) pursuant to section 521 of title 11 of the United States Code
(the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”).

        Timothy Bowman, Chief Financial Officer of the Debtors, has signed each set of Schedules
and Statements. Mr. Bowman has been authorized to sign the Schedules and Statements by the
special restructuring committee of the Debtors (the “Special Committee”). In reviewing and
signing the Schedules and Statements, Mr. Bowman has necessarily relied upon the efforts,
statements, advice, and representations of personnel of the Debtors and the Debtors’ legal and
financial advisors. Mr. Bowman has not (and could not have) personally verified the accuracy of
each such statement and representation contained in the Schedules and Statements, including
statements and representations concerning amounts owed to creditors, classification of such
amounts, and respective creditor contact information.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made commercially reasonable efforts to ensure the accuracy and completeness of
the Schedules and Statements, subsequent information or discovery may result in material changes
to the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve all of their rights, including to amend and/or
supplement the Schedules and Statements, as may be necessary or appropriate. The Debtors and
their agents, attorneys, and financial advisors do not guarantee or warrant the accuracy or

1     The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
      number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC (8436); and Prime
      Digital, LLC (4528). The Debtors’ service address is 10845 Griffith Peak Drive, #03-153, Las Vegas, NV 89135.


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completeness of the data that is provided herein and will not be liable for any loss or injury arising
out of or caused in whole or in part by the acts, errors, or omissions, whether negligent or
otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating, or
delivering the information contained herein. While commercially reasonable efforts have been
made to provide accurate and complete information herein, inadvertent errors or omissions may
exist. The Debtors and their agents, attorneys, and financial advisors expressly do not undertake
any obligation to update, modify, revise, or re-categorize the information provided herein or to
notify any third party should the information be updated, modified, revised, or re-categorized,
except as required by applicable law. In no event will the Debtors or their agents, attorneys, and/or
financial advisors be liable to any third party for any direct, indirect, incidental, consequential, or
special damages (including, but not limited to, damages arising from the disallowance of a
potential claim against the Debtors or damages to business reputation, lost business, or lost profits),
whether foreseeable or not and however caused, even if the Debtors or their agents, attorneys, and
financial advisors are advised of the possibility of such damages. Disclosure of information in one
or more Schedules, one or more Statements, or one or more exhibits or attachments to the
Schedules or Statements, even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedules, Statements, exhibits, or attachments.

         The Debtors reserve all rights to amend or supplement the Schedules and Statements from
time to time, in all respects, as may be necessary or appropriate, including, but not limited to, the
right to dispute or otherwise assert offsets or defenses to any claim reflected on the Schedules and
Statements as to amount, liability, classification, identity of Debtor or to otherwise subsequently
designate any claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing
contained in the Schedules, Statements, or the Notes shall constitute a waiver of any of the Debtors’
rights or an admission with respect to these Chapter 11 Cases (as defined below), including, but
not limited to, liability for any claims, any issues involving objections to claims, substantive
consolidation, equitable subordination, defenses, characterization or re-characterization of
contracts and leases, assumption or rejection of contracts and leases under the provisions of chapter
3 of the Bankruptcy Code, causes of action arising under the provisions of chapter 5 of the
Bankruptcy Code, or any other relevant applicable laws to recover assets or avoid transfers. Any
specific reservation of rights contained elsewhere in the Notes does not limit in any respect the
general reservation of rights contained in this paragraph. Notwithstanding the foregoing, the
Debtors shall not be required to update the Schedules and Statements except as may be required
by applicable law.

       These global notes and statement of limitations, methodology, and disclaimers regarding
the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated by
reference in, and comprise an integral part of all of the Schedules and Statements. The Global
Notes are in addition to the specific notes set forth below with respect to particular Schedules and
Statements (the “Specific Notes” and, together with the Global Notes, the “Notes”). These Notes
should be referred to, and referenced in connection with, any review of the Schedules and
Statements.

       Disclosure in one or more Schedules, one or more Statements, or one or more exhibits or
attachments to the Schedules or Statements, even if incorrectly placed, shall be deemed to be
disclosed in the correct Schedules, Statements, exhibits, or attachments.


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       The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of any
of the Debtors.
                        Global Notes and Overview of Methodology

1.       Description of the Chapter 11 Cases. On August 14, 2023 (the “Petition Date”), each of
         the Debtors commenced a voluntary case under chapter 11 of the Bankruptcy Code
         (collectively, the “Chapter 11 Cases”). The Debtors are authorized to operate their
         businesses and manage their properties as debtors in possession pursuant to Bankruptcy
         Code sections 1107(a) and 1108. On August 25, 2023, the Bankruptcy Court entered an
         order authorizing the joint administration of the cases pursuant to Bankruptcy Rule
         1015(b). See Docket No. 33. On August 29, 2023, the Office of the United States Trustee
         for the District of Delaware (the “U.S. Trustee”) appointed an official committee of
         unsecured creditors pursuant to Bankruptcy Code section 1102(a)(1) (the “Committee”).
         See Docket Nos. 49 and 51. Except as otherwise noted, the information provided herein is
         reported as of the close of the Petition Date. Additional information regarding the Debtors
         and these Chapter 11 Cases, including the Debtors’ business operations, capital structure,
         financial condition, and the reasons for and objectives of these Chapter 11 Cases, is set
         forth in the Declaration of Jor Law, Interim Chief Executive Officer and President of Prime
         Core Technologies Inc., et al., in Support of Chapter 11 Petitions and First Day Motions
         [Docket No. 14].

2.       Reservation of Rights. Reasonable efforts have been made to prepare and file complete
         and accurate Schedules and Statements; however, as noted above, inadvertent errors or
         omissions may exist. The Debtors reserve all rights to: (i) amend and/or supplement the
         Schedules and Statements from time to time, in all respects, as may be necessary or
         appropriate, including the right to amend the Schedules and Statements with respect to the
         description, designation, or Debtor against which any claim against a Debtor (“Claim”)2 is
         asserted; (ii) dispute or otherwise assert offsets, setoffs, or other defenses to any Claim
         reflected in the Schedules and Statements as to amount, liability, priority, status, or
         classification; (iii) subsequently designate any Claim as “disputed,” “contingent,” or
         “unliquidated”; or (iv) object to the extent, validity, enforceability, priority, or avoidability
         of any Claim (regardless of whether of such Claim is designated in the Schedules and
         Statements as “disputed,” “contingent,” or “unliquidated”). Any failure to designate a
         Claim in the Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does
         not constitute an admission by the Debtors that such Claim or amount is not “disputed,”
         “contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of (a)
         liability or (b) amounts due or owed, if any, in each case, by the Debtor against which the
         Claim is listed or against any of the Debtors. Furthermore, nothing contained in the
         Schedules and Statements shall constitute a waiver of rights with respect to the Debtors’
         Chapter 11 Cases, including, without limitation, issues involving or defenses against
         Claims, substantive consolidation, defenses, statutory or equitable subordination, and/or

2    For purposes of these Global Notes, the term Claim shall have the meaning set forth in Bankruptcy Code section
     101(5).


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         causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and any
         other relevant non-bankruptcy laws to recover assets or avoid transfers. Any specific
         reservation or rights contained elsewhere in the Global Notes does not limit in any respect
         the general reservation of rights contained in this paragraph. Notwithstanding the
         foregoing, the Debtors shall not be required to update the Schedules and Statements.

3.       No Admission. Nothing contained in the Schedules and Statements is intended as, or
         should be construed as, an admission or stipulation as to the validity of any Claim against
         any Debtor, any assertion made therein or herein, or a waiver of any Debtor’s rights to
         dispute any Claim or assert any cause of action or defense against any party.

4.       Recharacterization. The Debtors have made reasonable efforts to correctly characterize,
         classify, categorize, and designate the claims, assets, executory contracts, unexpired leases,
         and other items reported in the Schedules and Statements. Nevertheless, due to the
         complexity of the Debtors’ business, the Debtors may not have accurately characterized,
         classified, categorized, or designated certain items and/or may have omitted certain items.
         Accordingly, the Debtors reserve all of their rights to recharacterize, reclassify,
         recategorize, or redesignate items reported in the Schedules and Statements at a later time
         as necessary or appropriate, including, without limitation, whether contracts or lease listed
         herein were deemed executory or unexpired as of the Petition Date and remain executory
         and unexpired postpetition.

5.       Classifications. Listing (i) a Claim on Schedule D as “secured,” (ii) a Claim on Schedule
         E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as “executory” or
         “unexpired” does not constitute an admission by the Debtors of the legal rights of the
         claimant or contract counterparty, or a waiver of the Debtors’ rights to recharacterize or
         reclassify such Claim or contract or to setoff such Claims.

6.       Estimates and Assumptions. The preparation of the Schedules and Statements required
         the Debtors to make commercially reasonable estimates and assumptions with respect to
         the reported amounts of assets and liabilities, the amount of contingent assets and
         contingent liabilities on the date of the Schedules and Statements, and the reported amounts
         of revenues and expenses during the applicable reporting periods. Actual results could
         differ from such estimates.

7.       Causes of Action. Despite reasonable efforts, the Debtors may not have identified and/or
         set forth all of their causes of action (filed or potential) against third parties as assets in
         their Schedules and Statements, including, without limitation, avoidance actions arising
         under chapter 5 of the Bankruptcy Code and actions under other relevant bankruptcy and
         non-bankruptcy laws to recover assets. The Debtors reserve all rights with respect to any
         causes of action (including avoidance actions), controversy, right of setoff, crossclaim,
         counterclaim, or recoupment, and any Claim on contracts or for breaches of duties imposed
         by law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation,
         liability, damage, judgment, account, defense, power, privilege, license, and franchise of
         any kind or character whatsoever, known, unknown, fixed or contingent, matured or
         unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,


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         secured or unsecured, assertable directly or derivatively, whether arising before, on, or after
         the Petition Date, in contract or in tort, in law or in equity, or pursuant to any other theory
         of law they may have (collectively, “Causes of Action”), and neither the Global Notes nor
         the Schedules and Statements shall be deemed a waiver of any such Claims, Causes of
         Action, or avoidance actions or in any way prejudice or impair the assertion of such Claims
         or Causes of Action.

8.       Intellectual Property Rights. Exclusion of certain intellectual property shall not be
         construed to be an admission that such intellectual property rights have been abandoned,
         have been terminated, or otherwise have expired by their terms, or have been assigned or
         otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
         inclusion of certain intellectual property shall not be construed to be an admission that such
         intellectual property rights have not been abandoned, have not been terminated, or
         otherwise have not expired by their terms, or have not been assigned or otherwise
         transferred pursuant to a sale, acquisition, or other transaction.

9.       Cryptocurrency. Certain of the Debtors’ assets are cryptocurrencies. Cryptocurrencies are
         unique assets. The regulatory regime concerning cryptocurrency is uncertain domestically
         and internationally. The United States has a particularly uncertain state and federal
         regulatory regime. Federal and state regulators have become increasingly aggressive in
         pursuing enforcement actions concerning cryptocurrency which could reduce the value of
         any particular cryptocurrency. The Debtors make no representations or admissions
         concerning whether any of the cryptocurrencies held by Prime are “securities,”
         “commodities,” “money,” or “funds” under any potentially applicable regulatory
         regime. There has not yet been a determination as to whether cryptocurrency and/or fiat
         currency held on the Debtors’ platform is property of the Debtors’ estate pursuant to
         Bankruptcy Code section 541, and the Debtors reserve all rights to amend and/or
         supplement the Schedules and Statements as they deem appropriate in this regard.

10.      Insiders. The Debtors have attempted to include all payments made on or within 12 months
         before the Petition Date to any individual or entity deemed an “insider.” As to each Debtor,
         an individual or entity is designated as an “insider” for the purposes of the Schedules and
         Statements if such individual or entity, based on the totality of the circumstances, has at
         least a controlling interest in, or exercises sufficient authority over, the Debtor so as to
         unqualifiedly dictate corporate policy and the disposition of corporate assets. Certain of the
         individuals or entities identified as insiders may not have been insiders for the entirety of
         the 12-month period before the Petition Date, but the Debtors have included them herein
         out of an abundance of caution. The listing or omission of a party as an insider for purposes
         of the Schedules and Statements is for informational purposes and is not intended to be,
         nor should it be, construed as an admission that those parties are insiders for purpose of
         Bankruptcy Code section 101(31). Information regarding the individuals or entities listed
         as insiders in the Schedules and Statements may not be used for: (a) purposes of
         determining (i) control of the Debtors; (ii) the extent to which any individual or entity
         exercised management responsibilities or functions; (iii) corporate decision-making
         authority over the Debtors; or (iv) whether such individual or entity could successfully
         argue that it is not an insider under applicable law, including the Bankruptcy Code and


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         federal securities laws, or with respect to any theories of liability; or (b) any other purpose.
         Furthermore, the listing or omission of a party as an insider for purposes of the Schedules
         and Statements is not intended to be, nor should it be, construed an admission of any fact,
         right, claim, or defense, and all such rights, claims, and defenses are hereby expressly
         reserved.

11.      Methodology.

         a. Basis of Presentation. For financial reporting purposes, the Debtors historically have
            prepared consolidated financial statements, which include financial information for the
            Debtors. The Schedules and Statements are unaudited and reflect the Debtors’
            reasonable efforts to report certain financial information of each Debtor on a stand-
            alone, unconsolidated basis. These Schedules and Statements neither purport to
            represent financial statements prepared in accordance with Generally Accepted
            Accounting Principles (“GAAP”) in the United States or International Accepted
            Accounting Principles (“IFRS”), nor are they intended to be fully reconciled with the
            financial statements of each Debtor prepared under GAAP or IFRS. Therefore,
            combining the assets and liabilities set forth in the Schedules and Statements would
            result in amounts that are substantially different from financial information that would
            be prepared on a consolidated basis under GAAP or IFRS. For financial reporting
            purposes, prior to the Petition Date, the Debtors prepared financial statements on a
            consolidated basis. Unlike the consolidated financial statements, the Schedules and
            Statements, except where otherwise indicated, reflect the assets and liabilities of each
            separate Debtor. Moreover, given, among other things, the uncertainty surrounding the
            valuation, collection, and ownership of certain assets and the valuation and nature of
            certain liabilities, to the extent that a Debtor shows more assets than liabilities, it is not
            an admission that the Debtor was solvent as of the Petition Date or at any time before
            the Petition Date. Likewise, to the extent a Debtor shows more liabilities than assets, it
            is not an admission that the Debtor was insolvent at the Petition Date or any time before
            the Petition Date. For the avoidance of doubt, nothing contained in the Schedules and
            Statements is indicative of the Debtors’ enterprise value. The Schedules and Statements
            contain unaudited information that is subject to further review and potential adjustment.
            The Debtors attempted to attribute the assets and liabilities, certain required financial
            information, and various cash disbursements to the applicable Debtor entity. However,
            because the Debtors’ accounting systems, policies, and practices were developed for
            consolidated reporting purposes, rather than reporting by individual legal entity, it is
            possible that not all assets, liabilities, or amounts of cash disbursements have been
            recorded with the correct legal entity on the Schedules and Statements. Accordingly,
            the Debtors reserve all rights to supplement and/or amend the Schedules and
            Statements in this regard.

         b. Reporting Date. The reported asset values in Schedules A and B, with the exception
            of estimated cash balances, reflect the Debtors’ asset values as of August 14, 2023 (the
            “Reporting Date”). Estimated cash balances presented in Schedule A reflect bank
            balances as of the close of business on August 14, 2023. Liability values presented in



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              Schedules D, E, and F are as of the Petition Date, adjusted for authorized payments
              under the First Day Orders (as defined below).

         c. Confidential Information. Certain confidential information of the Debtors’ current
            and former employees (collectively, the “Employees”) and certain of the Debtors’
            current and former customers (collectively, the “Redacted Customers”) has been
            redacted pursuant to the Final Order (I) Authorizing Debtors to File a Consolidated
            Creditor Matrix and Top 50 Creditors List, (II) Authorizing Redaction of Certain
            Personally Identifiable Information, (III) Authorizing the Debtors to Serve Certain
            Parties by Electronic Mail, (IV) Approving Certain Notice Procedures, and (V)
            Granting Related Relief [Docket No. 168] (the “Privacy Protection Order”). Redacted
            Customers have been scheduled utilizing a unique, individualized Employee or
            Redacted Customer identification number, as applicable (each, a “Identification Code”)
            assigned to each applicable Employee or Redacted Customer by the Debtors. With
            respect to Redacted Customers, the Identification Code is not the same as the customer
            account number of such Customer that existed prior to the filing of these Chapter 11
            Cases. The Debtors will provide notice of an Employee’s or Redacted Customer’s
            Identification Code by email to the email on file for such customer.

              Additionally, there may be instances where certain information is redacted due to the
              nature of an agreement between a Debtor and a third party. Such redactions will be
              limited to only what is necessary to protect the Debtor or the applicable third party.
              The Debtors may also be authorized or required to redact certain information from the
              public record pursuant to orders of the Court sealing or otherwise protecting such
              information from public disclosure. All such redacted information shall be made
              available as directed by orders of the Court or to the individual customer, creditor, or
              contract counterparty scheduled, as applicable.

         d. Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments may
            properly be disclosed in response to multiple parts of the Statements and Schedules. To
            the extent these disclosures would be duplicative, the Debtors have determined to only
            list such assets, liabilities, and prepetition payments once.

         e. Valuation Generally. In certain instances, current market valuations for certain assets
            are neither maintained by, nor readily available to, the Debtors. Accordingly, unless
            otherwise indicated, the Debtors’ Schedules and Statements reflect net book values.
            Market values may vary, sometimes materially, from net book values. The Debtors
            believe that it would be an inefficient use of estate assets for the Debtors to obtain the
            current market values of their property. Accordingly, the Debtors have indicated in the
            Schedules and Statements that the values of certain assets and liabilities are
            undetermined or unknown.

              The Debtors are currently marketing certain assets for sale pursuant to those certain
              Court-approved bidding procedures. See Order (A) Approving Bid Procedures for the
              Sale of All or Substantially all of the Debtors’ Assets, (II) Authorizing the Debtors to
              Enter Into One or More Stalking Horse Agreements, (II) Scheduling an Auction and


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              Related Dates Thereto, (IV) Approving the Form and Manner of Notice Thereof, (V)
              Approving Contract Assumption and Assignment Procedures, and (VI) Granting
              Related Relief [Docket No. 118]. Accordingly, the current or fair value of those assets
              may be determined in connection with the sales processes. As noted herein, amounts
              ultimately realized from the sale process may vary materially from net book value.

              Certain other assets, such as investments in subsidiaries and other intangible assets, are
              listed at undetermined amounts, as the net book values may differ materially from fair
              market values. Amounts ultimately realized may vary from net book value (or whatever
              value was ascribed) and such variance may be material. Accordingly, the Debtors
              reserve all of their rights to amend or adjust the value of each asset set forth in the
              Schedules and Statements. In addition, the amounts shown for total liabilities exclude
              items identified as “unknown” or “undetermined,” and, thus, ultimate liabilities may
              differ materially from those stated in the Schedules and Statements.

              In addition, assets that have been fully depreciated or that were expensed for accounting
              purposes either do not appear in these Schedules and Statements or are listed with a
              zero-dollar value, as such assets have no net book value. The omission of an asset from
              the Schedules and Statements does not constitute a representation regarding the
              ownership of such asset, and any such omission does not constitute a waiver of any
              rights of the Debtors with respect to such asset. Given, among other things, the current
              market valuation of certain assets and the valuation and nature of certain liabilities,
              nothing in the Schedules and Statements shall be, or shall be deemed to be, an
              admission that any Debtor was solvent or insolvent as of the Petition Date.

         f. Property and Equipment. The Debtors’ office property leases are set forth on
            Schedule G. Nothing in the Schedules and Statements is or shall be construed as an
            admission as to the determination as to the legal status of any lease (including whether
            any lease is a true lease or a financing arrangement), and the Debtors reserve all of their
            rights with respect to same. On August 28, 2023, the Debtors filed the Debtors’ Motion
            For Entry of an Order Authorizing the Debtors to (I) Reject Unexpired Lease of
            Nonresidential Real Property, Effective as of August 31, 2023; (II) Abandoning de
            Minimis Property in Connection Therewith; and (III) Granting Related Relief [Docket
            No. 47] (the “Lease Rejection Motion”). Property abandoned by the Debtors under the
            Lease Rejection Motion has been included in the Schedules.

         g. Allocation of Liabilities. The Debtors, in consultation with their advisors, have sought
            to allocate liabilities between the prepetition and postpetition periods based on the
            information and research that was conducted in connection with the preparation of the
            Schedules and Statements. As additional information becomes available and further
            research is conducted, the allocation of liabilities between prepetition and postpetition
            periods may change. The Debtors reserve the right to amend and/or supplement the
            Schedules and Statements as they deem appropriate in this regard.

         h. Undetermined Amounts. The description of an amount as “unknown” or
            “undetermined” is not intended to reflect upon the materiality of such amount.


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         i. Unliquidated Claim Amounts. Claim amounts that could not be readily quantified by
            the Debtors are scheduled as “unliquidated.”

         j. Totals. All totals that are included in the Schedules and Statements represent totals of
            all the known amounts included in the Schedules and Statements. To the extent there
            are unknown or undetermined amounts, the actual total may be different than the listed
            total.

         k. Cryptocurrency. Cryptocurrency values presented utilize market prices as of 12:00
            a.m. UTC on the Petition Date. Changes in valuation relate to conversions, liquidations,
            collections received in-kind and periodic mark to market adjustments. Actual net
            realizable value may vary significantly. The Debtors make no representations or
            admissions concerning the status of cryptocurrency as a “security” under any state,
            federal, or local domestic or international statute, including United States federal
            securities laws and reserve all rights to amend and/or supplement the Schedules and
            Statements as they deem appropriate in this regard.

         l. Payment of Prepetition Claims Pursuant to First Day Orders. Following the
            Petition Date, the Bankruptcy Court entered various orders (the “First Day Orders”)
            authorizing, but not directing, the Debtors to, among other things, pay certain
            prepetition: (i) service fees and charges assessed by the Debtors’ banks; (ii) insurance
            obligations; (iii) employee wages, salaries, and related items (including, employee
            benefit programs, staffing agency payments, and independent contractor obligations);
            and (iv) taxes and regulatory fees. See Docket Nos. 34, 37, 38, 42, 147, 148, 154, 157,
            and 170. Where the Schedules and Statements list creditors and set forth the Debtors’
            scheduled amounts attributable to such claims, such scheduled amounts reflect
            balances owed as of the Petition Date. To the extent any adjustments are necessary for
            payments made on account of such claims following the Petition Date pursuant to the
            First Day Orders, such adjustments have been included in the Schedules and Statements
            unless otherwise noted on the applicable Schedule or Statement. The Debtors reserve
            the right to update the Schedules and Statements to reflect payments made pursuant to
            the First Day Orders that may not be represented in the attached Schedules and
            Statements.

         m. Other Paid Claims. To the extent the Debtors reach any postpetition settlement with
            a vendor or other creditor, the terms of such settlement will prevail, supersede amounts
            listed in the Schedules and Statements, and shall be enforceable by all parties, subject
            to Bankruptcy Court approval if necessary. To the extent the Debtors pay any of the
            Claims listed in the Schedules and Statements pursuant to any orders entered by the
            Bankruptcy Court, the Debtors reserve all rights to amend and supplement the
            Schedules and Statements and take other action, such as filing claims objections, as is
            necessary and appropriate to avoid overpayment or duplicate payment of such
            liabilities.




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         n. Intercompany Receivables and Payables. Receivables and payables among the
            Debtors are not reported on Schedule A/B; however, certain intercompany claims are
            reported on Schedule E/F per the Debtors’ books and records. Intercompany loan
            amounts scheduled may include accrued and unpaid interest. The listing of any amounts
            with respect to such receivables and payables is not, and should not be construed as, an
            admission or conclusion of the Debtors’ regarding the allowance, classification,
            validity, or priority of such amount or characterization of such balances as debt, equity,
            or otherwise. For the avoidance of doubt, the Debtors reserve all rights, claims, and
            defenses in connection with any and all intercompany receivables and payables,
            including with respect to the characterization of intercompany claims, loans, and notes.

         o. Guarantees and Other Secondary Liabilities. The Debtors have exercised
            reasonable efforts to locate and identify guarantees in their executory contracts,
            unexpired leases, and other such agreements, and do not believe that any such liabilities
            exist. The Debtors may have inadvertently omitted guarantees embedded in their
            contractual agreements and may identify additional guarantees as they continue their
            review of their books and records and contractual agreements. The Debtors reserve
            their rights, but are not required, to amend the Schedules and Statements if additional
            guarantees are identified.

         p. Excluded Assets and Liabilities. The Debtors have excluded certain categories of
            assets, tax accruals, and liabilities from the Schedules and Statements, including
            without limitation, and accrued salaries and employee benefit accrual. In addition, and
            as set forth above, the Debtors may have excluded amounts for which the Debtors have
            paid or have been granted authority to pay pursuant to the First Day Orders or other
            order that may be entered by the Bankruptcy Court. Additionally, certain immaterial or
            de minimis assets and liabilities may have been excluded.

         q. Fiat Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.
            The Debtors’ methodology and assumptions regarding the calculation of the U.S.
            dollar-value of cryptocurrency holdings is set forth in greater detail in the Note
            pertaining to Schedule A/B, Question 77.

         r. Setoffs. The Debtors may incur certain setoffs and other similar rights during the
            ordinary course of business. Offsets in the ordinary course can result from various
            items, including, without limitation, intercompany transactions, pricing discrepancies,
            charge-backs and other bank fees, returns, warranties, and other disputes between the
            Debtors and their customers and/or suppliers. These offsets and other similar rights are
            consistent with the ordinary course of business in the Debtors’ industry and are not
            tracked separately. Therefore, although such offsets and other similar rights may have
            been accounted for when certain amounts were included in the Schedules, offsets are
            not independently accounted for, and as such, are excluded from the Schedules, unless
            otherwise indicated therein.

         s. Customer Account Adjustments. Any of the Debtors’ customers who, as of the
            Petition Date, had cryptocurrency on the Debtors’ platform are listed in redacted form


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              on Schedule E/F, as noted in more detail below. A customer’s cryptocurrency holdings
              listed in the Schedules may not accurately reflect such customer’s cryptocurrency
              holdings as of the Petition Date due to certain ordinary course reconciliation practices.

         t. Contingent Assets. The Debtors believe that they may possess certain Claims and
            Causes of Action against various parties. Additionally, the Debtors may possess
            contingent claims in the form of various avoidance actions they could commence under
            the provisions of chapter 5 of the Bankruptcy Code and other relevant non-bankruptcy
            laws. The Debtors, despite reasonable efforts, may not have identified and/or set forth
            all of their Causes of Action against third parties as assets in their Schedules and
            Statements, including, without limitation, avoidance actions arising under chapter 5 of
            the Bankruptcy Code and actions under other relevant bankruptcy and non-bankruptcy
            laws to recover assets. The Debtors reserve all of their rights with respect to any Claims,
            Causes of Action, or avoidance actions they may have, and nothing contained in these
            Global Notes or the Schedules and Statements shall be deemed a waiver of any such
            claims, avoidance actions, or Causes of Action or in any way prejudice or impair the
            assertion of such claims. For the avoidance of doubt, the Debtors reserve all rights to
            seek disallowance of any claim, including pursuant to Bankruptcy Code section 502(d)
            where an entity from which property is recoverable under Bankruptcy Code sections
            542, 543, 550, or 553, unless such entity has paid the amount or turned over such
            property to the Debtors. Additionally, prior to the Petition Date, each Debtor, as
            plaintiff, may have commenced various lawsuits in the ordinary course of its business
            against third parties seeking monetary damages. The Debtors reserve all rights to
            revise, amend, supplement, and/or adjust their Schedules and Statements, including
            with respect to claim amounts, description, classification, and designation.

         u. Executory Contracts. Although the Debtors made diligent efforts to attribute an
            executory contract to its rightful Debtor, in certain instances, the Debtors may have
            inadvertently failed to do so. Accordingly, the Debtors reserve all of their rights with
            respect to the named parties of any and all executory contracts, including the right to
            amend Schedule G. The Debtors have excluded nondisclosure agreements entered into
            in connection with these Chapter 11 Cases to avoid any potential breach of such
            nondisclosure agreements.

         v. Fiscal Year. Each Debtor’s fiscal year ends on or about December 31.

         w. Claims of Third-Party Related Entities. While the Debtors have made every effort
            to properly classify each claim listed in the Schedules as being either disputed or
            undisputed, liquidated or unliquidated, and contingent or noncontingent, the Debtors
            have not been able to fully reconcile all payments made to certain third parties and their
            related entities on account of the Debtors’ obligations to same. Therefore, to the extent
            that the Debtors have classified their estimate of claims of a creditor as disputed, all
            claims of such creditor’s affiliates listed in the Schedules and Statements shall similarly
            be considered as disputed, whether or not they are designated as such.




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         x. Umbrella or Master Agreements. Contracts listed in the Schedules and Statements
            may be umbrella or master agreements (“Umbrella Agreements”) that cover
            relationships with some or all of the Debtors, and many of the Debtors’ agreements
            with their customers (collectively, the “Customers”) fall under master service
            agreements (the “Master Service Agreements, and together with Umbrella Agreements,
            the “Master Agreements”). Where relevant, such agreements have been listed in the
            Schedules and Statements only of the Debtor that signed the original Master
            Agreement. The Master Agreements have been listed in Schedule G, but do not reflect
            any decision by the applicable Debtor as to whether or not such agreements are
            executory in nature. Further, the Debtors have not made a determination as to whether
            or not any agreements that fall under any such Master Agreements are executory in
            nature, including, without limitation, the agreements between the applicable Debtor
            entity and the Company’s integrator or end-user customers (the “Customer
            Agreements”). Therefore, and given the volume of Customers and, theretofore,
            Customer Agreements, the Debtors have not listed the Customer Agreements on
            Schedule G.

         y. Credits and Adjustments. The Claims of individual creditors for, among other things,
            goods, products, services, or taxes are listed as the amounts entered on the Debtors’
            books and records and may either (i) not reflect credits, allowances, or other
            adjustments due from such creditors to the Debtors or (ii) be net of accrued credits,
            allowances, or other adjustments that are actually owed by a creditor to the Debtors on
            a postpetition basis on account of such credits, allowances, or other adjustments earned
            from prepetition payments and vendor payments, if applicable. The Debtors reserve all
            of their rights with regard to such credits, allowances, or other adjustments, including,
            but not limited to, the right to modify the Schedules, assert claims objections and/or
            setoffs with respect to the same, or apply such allowances in the ordinary course of
            business on a postpetition basis.

         z. Solvency. Given the exclusion of intercompany balances and the uncertainty
            surrounding the collection, valuation and ownership of certain assets, including, among
            other things, net operating losses or other tax attributes, and the valuation and nature
            of certain liabilities, to the extent that a Debtor shows more assets than liabilities,
            nothing in the Schedules or Statement shall constitute an admission that the Debtors
            were solvent as of the Petition Date or at any time before the Petition Date. Likewise,
            to the extent a Debtor shows more liabilities than assets, nothing in the Schedules or
            Statement shall constitute an admission that such Debtor was insolvent as of the
            Petition Date or at any time before the Petition Date. For the avoidance of doubt,
            nothing contained in the Schedules and Statements is indicative of the Debtors’
            enterprise value or solvency. The Debtors reserve all rights with respect to these issues.

         aa. Payments. The financial affairs and business of the Debtors are complex. Prior to the
             Petition Date, the Debtors maintained a cash management and disbursement system in
             the ordinary course of their businesses, as described in the Cash Management Motion.
             Although efforts have been made to attribute open payable amounts to the correct legal
             entity, the Debtors reserve the right to modify or amend their Schedules and Statements


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              to attribute such payment to a different legal entity, if appropriate. Payments made by
              third parties on behalf of the Debtors have been excluded from the Schedules and
              Statements.

bb. Totals. All totals that are included in the Schedules and Statements represent totals of all the
    known amounts included in the Schedules and Statements and exclude items identified as
    “unknown” or “undetermined.” If there are unknown or undetermined amounts, the actual
    totals may be materially different from the listed totals. Where a claim or other amount is
    marked as “unliquidated,” but the Debtors also report a dollar value, such dollar value may
    indicate only the known or determined amount of such claim or amount, the balance of which
    is unliquidated.

                                            Specific Notes

1.       Specific Disclosures with Respect to the Debtors’ Schedules

         a. Schedules A/B, Questions 1 and 2 – Cash and Cash Equivalents; Cash on Hand.
            Details with respect to the Debtors’ cash management system and bank accounts are
            provided in the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
            Debtors to (A) Continue to Operate Their Cash management System and (B) Maintain
            Existing Bank Accounts and Business Forms and Honor Prepetition Obligations
            Related Thereto; (II) Authorizing the Debtors to (A) Continue to Perform Intercompany
            Transactions and (B) Granting Administrative Expense Status for Postpetition
            Intercompany Claims; (III) Extending the Time for the Debtors to Comply with
            Requirements Set Forth in 11 U.S.C. § 345(b); and (IV) Granting Related Relief
            [Docket No. 20] (the “Cash Management Motion”), and any orders of the Bankruptcy
            Court granting the relief requested in the. The Debtors do not hold any physical cash.
            Accordingly, cash-on-hand held as of the Petition Date is disclosed on Schedule A/B,
            Question 3 in connection with cash held in the Debtors’ bank accounts.

         b. Schedule A/B, Question 3 – Checking, Savings, Money Market, or Financial
            Brokerage Accounts. Amounts listed are as of the Petition Date for the corresponding
            Debtor and reflect the actual bank balance, not the net book value. Foreign currencies
            listed in Question 3 were converted to USD using the following FX conversion rates
            as of August 14, 2023:

                                    1.00 USD                     0.7430 CAD
                                    1.00 USD                     0.6488 AUD
                                    1.00 USD                    145.4370 JPY
                                    1.00 EUR                     1.0910 USD
                                    1.00 GBP                     1.2685 USD


              For the avoidance of doubt, unless otherwise indicated, the bank accounts and cash
              balances set forth on Schedule A/B, Question 3 do not include cash held in the “for the
              benefit of” accounts. There has not yet been a determination as to whether


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              cryptocurrency and/or fiat currency held on the Debtors’ platform is property of the
              Debtors’ estate pursuant to Bankruptcy Code section 541, and the Debtors reserve all
              rights to amend and/or supplement the Schedules and Statements as they deem
              appropriate in this regard. Prime Trust holds a trust account on behalf of the “Prime
              Trust, LLC TTEE The Wang 2018 Irrevocable Trust U/A.” This account is included in
              Schedule A/B, Question 3, and has a balance of $3,585,265.21 in various public
              securities and fiat USD as of August 31, 2023. The Debtors hold a money market
              account at JP Morgan, invests in the 100% US Treasury Securities Money Market
              Fund. One of the Debtors’ bank accounts serves as collateral with respect to the Nevada
              Trust Charter held by Prime Trust.

         c. Schedule A/B, Question 7 – Deposits. In the ordinary course of business, the Debtors
            maintain collateralized security bonds in connection with certain of their charters and
            money transmission and other licenses.

         d. The Debtors are required to make deposits from time to time with various vendors and
            other service providers in the ordinary course of business. The Debtors have exercised
            reasonable efforts to report the current value of any deposits. The Debtors may have
            inadvertently omitted deposits and conversely may have reported deposits that are no
            longer outstanding. The Debtors reserve their rights, but are not required, to amend the
            Schedules and Statements if deposits are incorrectly identified.

         e. Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment. Office
            furniture, fixtures and equipment have been reported at the net book value, which may
            materially differ from the current fair market of the related assets. As noted above,
            property abandoned by the Debtors pursuant to the Lease Rejection Order is listed in
            the Schedules or Statements.

         f. Schedule A/B, Question 8 – Prepayments. The Debtors are required to make
            prepayments from time to time on account of executory contracts, leases, insurance
            policies, taxes, and rent as part of the ordinary course of business. The Debtors have
            exercised reasonable efforts to identify any prepayments. The Debtors may have
            inadvertently omitted certain prepayments and conversely may have reported
            prepayments for which services have already been provided. The Debtors reserve their
            rights, but are not required, to amend the Schedules and Statements if prepayments are
            incorrectly identified.

         g. Schedule A/B, Part 9 – Real Property. The Debtors own no real property.

         h. Schedule A/B, Questions 10 & 11 – Accounts Receivable. The Debtors are in the
            process of evaluating their receivables including the collectability of such receivables.
            Receivables have been reported at net book value, which includes allowance for
            doubtful accounts. The Debtors did not perform a full assessment of the collectability
            of receivables in conjunction with the preparation of the Schedules. Therefore, the
            amount ultimately recovered may vary materially from the amount reported herein.



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         i. Schedule A/B, Question 13 – Investments. Investments in consolidated subsidiaries
            have been listed with an undetermined value where indicated. The Debtors do not
            believe that any book value is indicative of the value of such assets and have not
            obtained a fair market valuation of the assets. Other investments have been reported at
            the funded amount or recorded cost per books and records, which may be materially
            different from the current fair market value of the investment. Additional detail
            regarding certain investments can be found in the Notes for Statement 25 and/or
            Schedule A/B, Question 3.

         j. Schedule A/B, Question 62 – Licenses. In connection with their money service
            business, the Debtors maintain certain charters, money transmitter and other licenses.

         k. Schedule A/B, Question 65 – Goodwill. All of the Debtors’ goodwill was written off
            of the Debtors’ balance sheet prior to the Petition Date.

         l. Schedule A/B, Question 72 – Tax Refunds and Unused Net Operating Losses
            (NOLs). The Debtors’ current accounting entries remain subject to completion and
            review of tax compliance procedures and audit processes. Completed and audited
            accounting entries may indicate that net operating losses and general business credit
            carryforwards are available to offset taxable income or reduce the tax liability for the
            Debtors for the year ending on December 31, 2021. The Debtors hereby reserve their
            right to amend or supplement Schedule A/B, Question 72 upon completion and audit
            of tax compliance procedures and financial statements. The Debtors may have the
            ability to claim NOLs for subsequent years, but such amounts cannot be quantified at
            this time.

         m. Schedule A/B, Question 74-75 – Causes of Action. Despite reasonable efforts, the
            Debtors may not have identified and/or set forth all of their Causes of Action (filed or
            potential) against third parties as assets in their Schedules and Statements, including,
            without limitation, avoidance actions arising under chapter 5 of the Bankruptcy Code
            and actions under other relevant bankruptcy and non-bankruptcy laws to recover assets.
            The Debtors reserve all rights with respect to any Causes of Action, and neither the
            Global Notes nor the Schedules and Statements shall be deemed a waiver of any such
            Claims, Causes of Action, or avoidance actions or in any way prejudice or impair the
            assertion of such Claims or Causes of Action.

         n. Schedule A/B, Question 77 – Other Property. Schedule A/B, Question 77 lists the
            cryptocurrency, or digital tokens supported by the Debtors’ platform based on a
            publicly accessible blockchain. The current value shown is the market value in USD
            as of the Petition Date. The cryptocurrency listed includes the cryptocurrency held in
            the 98f wallet. All figures set forth in Schedule A/B, Question 77 are preliminary,
            unreviewed, and unaudited and are subject to final adjustments following, inter alia,
            completion of quarterly and year-end close procedures. In calculating the fair market
            value as to the Debtors’ cryptocurrency assets, the following table sets forth the rate of




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              conversion to U.S. dollars based upon the type of cryptocurrency held as of 12:00 a.m.
              UTC on the Petition Date.3

                     CRYPTOCURRENCY                                   CONVERSION              VALUE AS OF
                                                                           RATE              PETITION DATE
    AUDIO                         Audius                             $0.19                      $62,002,108.33
    ETH                           Ethereum                           $1,841.60                  $43,952,804.86
    BTC                           Bitcoin                            $29,348.52                  $8,771,564.98
    USDC                          USD Coin                           $1.00                       $1,156,094.49
    FLEXUSD                       flexUSD                            $0.28                         $329,371.30
    GALA2                         Gala V2                            $0.23                         $268,133.83
    BSV                           Bitcoin SV                         $35.71                        $248,574.23
    LTC                           Litecoin                           $81.88                         $66,391.37
    LUNA2                         Terra Luna 2.0                     $0.56                          $40,021.35
    USDC_AVAX                     USD Coin (Avalanche)               $1.00                          $39,023.65
    XLM_USDC_5F3T                 USD Coin (Stellar)                 $1.00                          $28,288.67
    BCH                           Bitcoin Cash                       $229.10                        $24,347.76
    XEC                           eCash                              $0.00                          $22,408.76
    SOL                           Solana                             $24.89                         $20,442.64
    TUSD                          TrueUSD                            $1.00                          $19,795.47
    RVUSD_ETH_ZV32                Recover Value USD                  $0.09                          $14,570.11
    ATOM_COS                      Cosmos Hub                         $8.53                          $14,368.84
    SOL_USDC_PTHX                 USD Coin (Solana)                  $1.00                          $13,676.69
    ZYTARAUSD                     Zytara USD                         $1.00                           $9,976.00
    ADA                           ADA (Cardano)                      $0.29                           $8,809.49
    MATIC                         Matic Token (Ethereum)             $0.68                           $8,398.98
    XLM                           Stellar                            $0.14                           $6,548.00
    DOGE                          Doge Coin                          $0.07                           $4,693.06
    LINK                          Chainlink                          $7.39                           $4,068.76
    ESH                           Switch                             $0.01                           $3,511.24
    7UT                           7EVEN Utility Token                $0.00                           $2,837.11
    SNX                           Synthetix Network Token            $2.48                           $2,816.31
    GUSD                          Gemini USD                         $0.99                           $2,218.46
    CEL                           Celsius                            $0.16                           $1,545.19
    DAI                           Dai                                $1.00                           $1,499.20
    SAI                           Sai Stableco                       $8.23                           $1,071.10
    ENJ                           Enjin Coin                         $0.29                             $957.61
    COMP                          Compound Token                     $55.50                            $887.39
    XRP                           XRP (Ripple)                       $0.63                             $809.58
    FLEX                          FLEX Coin                          $6.85                             $722.98
    UNI                           Uniswap                            $6.23                             $643.48
    BNB_BSC                       BNB Smart Chain                    $239.91                           $516.77
    EOS                           EOS                                $0.72                             $486.43
    SPRA                          Spera                              $0.00                             $472.56

3    Fiat values are based on observed market pricing as of the petition date. In some cases, observed market prices
     may not be indicative of realizable cash value in the event of a sale given market depth and liquidity for these
     assets.


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 BAT                            Basic Attn.                  $0.21                     $318.04
 USDT_BSC                       Binance-Peg Tether (BSC)     $1.00                     $302.29
 ZRX                            0x                           $0.22                     $257.77
 MC                             Monkeycoin                   $0.39                     $231.60
 MKR                            Maker                        $1,233.32                 $231.15
 YFI                            Yearn Finance                $6,257.12                 $221.19
 DOT                            Polkadot                     $4.98                     $183.43
 ALGO                           Algorand                     $0.11                     $170.29
 FTM                            Fantom                       $0.24                     $169.05
 CELO                           Celo                         $0.50                     $164.72
 CELR                           Celer Network                $0.01                     $132.97
 USDS                           StableUSD                    $1.00                     $119.08
 MATIC_POLYGON                  Matic Gas Token (Polygon)    $0.68                     $103.05
 DASH                           Dash                         $31.68                     $93.15
 SHIB                           SHIBA INU                    $0.00                      $77.80
 PAX                            PAX Dollar                   $1.00                      $61.70
 MANA                           Decentraland                 $0.37                      $56.25
 CUSDC                          Celer USD                    $0.02                      $54.32
 LRC                            Loopring                     $0.22                      $33.65
 HBAR                           Hedera Hashgraph             $0.07                      $33.39
 DYDX                           dYdX                         $2.16                      $28.13
 POS_USDT_POLY                  (PoS) Tether USD (Polygon)   $1.00                      $25.53
 AAVE                           Aave Token                   $65.41                     $20.95
 AXS                            Axie Infinity Shard          $5.80                      $20.66
 BNT                            Bancor                       $0.48                      $18.23
 CVC                            Civic                        $0.09                      $16.88
 STORJ                          Storj                        $0.29                      $14.49
 USDC_POLYGON                   USDC (Polygon)               $1.00                      $13.87
 SUSHI                          Sushi Token                  $0.78                      $13.78
 CHZ                            Chiliz (ETH)                 $0.07                      $12.84
 XDB                            DigitalBits                  $0.00                      $11.32
 UST_ETH                        Terra USD                    $0.01                      $11.21
 HYFI                           hyfi.token                   $0.05                       $7.84
 ACH                            Alchemy Pay                  $0.02                       $7.14
 XTZ                            Tezos                        $0.80                       $3.87
 LODE_AVAX_74OH                 LODE Token                   $3.79                       $3.79
 ALCX                           Alchemix                     $13.28                      $2.76
 OXT                            Orchid                       $0.07                       $2.46
 RNDR                           Render Token                 $1.71                       $2.13
 ARPA                           ARPA Token                   $0.05                       $1.82
 WBTC                           Wrapped BTC                  $29,379.86                  $1.76
 TRIBE                          Tribe                        $0.29                       $1.56
 TERRA_USD                      TERRA USD                    $0.02                       $1.47
 BIT                            BitDAO                       $0.47                       $1.40
 POND                           Marlin POND                  $0.01                       $1.38
 KEEP                           Keep Token                   $0.11                       $1.26
 BLZ                            Bluzelle                     $0.09                       $1.25
 MTV                            Multivac                     $0.00                       $1.23
 GTC                            Gitcoin                      $1.17                       $1.17

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 SUPER             SuperFarm                        $0.10                       $1.16
 POWR              Power Ledger                     $0.16                       $1.15
 QNT               Quant                            $100.97                     $1.11
 ANKR              Ankr Network                     $0.02                       $1.06
 KNC               Kyber Network Crystal v2         $0.68                       $0.93
 IDEX              IDEX Token                       $0.05                       $0.92
 MLN               Melon                            $17.93                      $0.86
 TRX               Tron                             $0.08                       $0.83
 COTI              COTI Token                       $0.05                       $0.82
 BUSD              Binance USD                      $1.00                       $0.80
 API3              API3                             $1.18                       $0.72
 BCT               Toucan Protocol: Base            $0.71                       $0.71
                   Carbon Tonne (Polygon)
 RAD               Radicle                          $1.62                       $0.68
 AGX_AVAX_WOIF     AGX Coin                         $0.66                       $0.65
 BAND              BandToken                        $1.19                       $0.64
 BAL               Balancer                         $4.26                       $0.64
 AMPL              Ampleforth Governance            $1.09                       $0.53
 HEX               HEX                              $0.01                       $0.52
 SPELL             Spell Token                      $0.00                       $0.50
 HSF               Hillstone.Fi...                  $0.48                       $0.48
 KSM               Kusama                           $23.65                      $0.42
 UMA               UMA Voting Token v1              $1.62                       $0.28
 DUDE_POLYGON_UBJO DuDe Peoples Money               $0.00                       $0.21
                   (metalbacked money)
                   (Polygon)
 CRE               CarryToken                       $0.00                       $0.06
 AUX_AVAX_2QSM     AUX Coin                         $0.06                       $0.06
 SHEESHA_BEP20     Sheesha Fina                     $5.27                       $0.05
 TST               TestToken                        $0.01                       $0.01
 CPRX              Crypto Perx                      $0.00                       $0.00
 LND               Lendingblock                     $0.00                       $0.00
 QBT               QBT                              $0.00                       $0.00
 SLV               Silverway                        $0.00                       $0.00
 GALA              Gala V1                          $0.00                       $0.00
 TUIT_POLYGON_5L1B Tuition Coin                     $0.00                       $0.00
 B21               B21 Token                        $0.00                       $0.00
 CFV               CoinFLEX Vote Token              $0.00                       $0.00
 $ USDC...         $ USDCDrop.c                     $0.00                       $0.00
 JL                JiuLove                          $0.00                       $0.00
 SHAG              Shaggy Coin                      $0.00                       $0.00
 TIX               Lottery Tick                     $0.00                       $0.00
 FXT               FXtrading                        $0.00                       $0.00
 MRO               Mero Currenc                     $0.00                       $0.00
 FGP               Fingerprint                      $0.00                       $0.00
 UKR               UKR Chain                        $0.00                       $0.00
 AVVP              Andrey Voron                     $0.00                       $0.00
 Amber             Amber                            $0.00                       $0.00
 BNB_ERC20         BNB (ERC20) - Deprecated         $0.00                       $0.00

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 ETH-OPT                        Optimistic Ethereum         $0.00                               $0.00
 ETH_BSC                        Binance-Peg Ethereum        $0.00                               $0.00
                                (BSC)
 ETH-AETH                       Ethereum (Arbitrum)         $0.00                               $0.00
 IOT5                           Internet of Things 5th-     $0.00                               $0.00
                                Generation
 UKR                            UKR Chain                   $0.00                               $0.00

Schedules E/F. The claims listed on Schedules E/F arose and were incurred on various dates. A
determination of the date upon which each claim arose or was incurred would be unduly
burdensome and cost prohibitive. Accordingly, no such dates are included for each claim listed
on Schedules E/F. To the best of the Debtors’ knowledge, all claims listed on Schedules E/F arose
or were incurred before the Petition Date.

Part 1. Claims owing to various taxing authorities to which the Debtors potentially may be liable,
and which the Debtors have received notice of liability from such taxing authorities, are reported
on Part 1. Certain of such claims, however, may be subject to ongoing audits and/or the claims
will be satisfied in the ordinary course during the Chapter 11 Cases pursuant to authority granted
to the Debtors in the relevant First Day Orders. Therefore, the Debtors have listed all such claims
as “contingent,” “unliquidated,” and “disputed,” pending final resolution of ongoing audits or other
outstanding issues.

Part 2. The Debtors have exercised their reasonable efforts to list all liabilities on Part 2 of each
applicable Debtor’s Schedule. As a result of the Debtors’ consolidated operations, however, Part 2
for each Debtor should be reviewed for a complete understanding of the unsecured claims against
the Debtors.

The Debtors reserve their right to dispute or challenge the validity, perfection, or immunity from
avoidance of any lien purported to be perfected by a creditor listed on Schedule E/F of any Debtor.
In addition, the Debtors reserve their right to dispute or challenge any priority asserted with respect
to any liabilities listed on Schedule E/F. The Debtors have made reasonable efforts to include all
unsecured creditors on Part 2 including, but not limited to, trade creditors, customers, landlords,
utility companies, consultants, and other service providers. The Debtors, however, believe that
there may be instances where creditors have yet to provide proper invoices for prepetition services.

Part 2 contains information regarding pending litigation involving the Debtors. To the extent that
litigation involving a particular Debtor has been identified, such information is included on that
Debtor’s Schedule E/F. Unknown amounts for potential claims are listed as “undetermined” and
marked as contingent, unliquidated, and disputed in the Schedules.

The Debtors have made reasonable attempts to identify legal actions, administrative proceedings,
court actions, executions, attachments, or governmental audits including the review of available
books and records, conducting lien searches, conducting searches of court and judicial records in
relevant jurisdictions, and otherwise reviewing publicly available information. Despite the efforts
conducted to identify all such actions, it is likely that there are other ending actions not yet
identified or reported herein. The Debtors reserve all rights to revise, amend, supplement and/or
adjust Schedule E/F in this regard. Additionally, certain lawsuits alleging prepetition conduct have


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been filed after the Petition Date. Such lawsuits are likely in violation of the automatic stay
pursuant to section 362 of the Bankruptcy and are not included in the Debtor’ responses. Schedule
E/F does not include threatened litigation involving the Debtors. Schedule E/F does not include
any demand letters the Debtors may have received.

Part 2 does not include certain balances including deferred liabilities, accruals, or reserves. Such
amounts are, however, reflected on the Debtors’ books and records as required in accordance with
GAAP. Such accruals primarily represent estimates of liabilities and do not represent specific
claims as of the Petition Date.

The claims of individual creditors may not reflect credits and/or allowances due from creditors to
the applicable Debtor. The Debtors reserve all of their rights with respect to any such credits
and/or allowances, including the right to assert objections and/or setoffs or recoupments with
respect to same.

The Bankruptcy Court has authorized the Debtors to pay, in their discretion, certain unsecured
claims pursuant to the First Day Orders. To the extent practicable, each Debtor’s Schedule E/F is
intended to reflect the balance as of the Petition Date, adjusted for postpetition payments made
under the First Day Orders. Each Debtor’s Schedule E/F may reflect some of such Debtor’s
payment of certain claims pursuant to the First Day Orders, and, to the extent an unsecured claim
has been paid or may be paid, it is possible such claim is not included on Schedule E/F. Certain
Debtors may pay additional claims listed on Schedule E/F during the Chapter 11 Cases pursuant
to the First Day Orders and other orders of the Bankruptcy Court and the Debtors reserve all of
their rights to update Schedule E/F to reflect such payments or to modify the claims register to
account for the satisfaction of such claims. Additionally, Schedule E/F does not include potential
rejection damage claims, if any, of the counterparties to executory contracts and unexpired leases
that have been, or may be, rejected.

Schedule G. Although reasonable efforts have been made to ensure the accuracy of Schedule G
regarding executory contracts and unexpired leases (collectively, the “Agreements”), the Debtors’
review process of the Agreements is ongoing and inadvertent errors, omissions, or over-inclusion
may have occurred. The Debtors may have entered into various other types of Agreements in the
ordinary course of their businesses, such as indemnity agreements, supplemental agreements,
amendments/letter agreements, and confidentiality agreements which may not be set forth in
Schedule G.

Contracts listed in the Schedules and Statements may be Umbrella Agreements that cover
relationships with some or all of the Debtors, and many of the Debtors’ agreements with their
Customers fall under Master Service Agreements. Where relevant, such agreements have been
listed in the Schedules and Statements only of the Debtor that signed the original Master
Agreement. The Master Agreements have been listed in Schedule G, but do not reflect any
decision by the applicable Debtor as to whether or not such agreements are executory in nature.
Further, the Debtors have not made a determination as to whether or not any agreements that fall
under any such Master Agreements are executory in nature, including, without limitation, the
Customer Agreements between the applicable Debtor entity and the Company’s Customers.
Therefore, and given the volume of Customers and, theretofore, Customer Agreements, the
Debtors have not listed the Customer Agreements on Schedule G.

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Certain confidentiality, non-disclosure, and non-compete agreements, the Debtors’ insurance
contracts, and employee termination agreements, are excluded from Schedule G. Exclusion of
these agreements from Schedule G shall not be construed as a determination that such agreements
are or are not executory in nature.

Certain of the Agreements listed on Schedule G may consist of several parts, including exhibits,
addenda, appendices, amendments, restatements, waiver, letters, and other documents that may
not be listed on Schedule G or that may be listed as a single entry, in which case, the single entry
shall be deemed to include all related and ancillary documents.

Schedule G may be amended at any time to add any omitted Agreements. Likewise, the listing of
an Agreement on Schedule G does not constitute an admission that such Agreement is an executory
contract or unexpired lease or that such Agreement was in effect on the Petition Date or is valid or
enforceable. The Agreements listed on Schedule G may have expired or may have been modified,
amended, or supplemented from time to time by various amendments, restatements, waivers,
estoppel certificates, letters, and other documents, instruments, and agreements which may not be
listed on Schedule G.

Any and all of the Debtors’ rights, claims, and causes of action with respect to the Agreements
listed on Schedule G are hereby reserved and preserved, and as such, the Debtors hereby reserve
all of their rights to (i) dispute the validity, status, or enforceability of any Agreements set forth on
Schedule G, (ii) dispute or challenge the characterization of the structure of any transaction, or any
document or instrument related to a creditor’s claim, including, but not limited to, the Agreements
listed on Schedule G, and (iii) amend or supplement such Schedule as necessary.

Certain of the Agreements listed on Schedule G may have been entered into by or on behalf of
more than one of the Debtors. Additionally, the specific Debtor obligor(s) to certain of the
Agreements could not be specifically ascertained in every circumstance. In such cases, the Debtors
have made reasonable efforts to identify the correct Debtor’s Schedule G on which to list the
Agreement.

Schedule H. The Debtors are party to various agreements which were executed by multiple
Debtors. No claim set forth on the Schedules and Statements of any Debtor is intended to
acknowledge claims of creditors that are otherwise satisfied or discharged by other Debtors or non-
Debtors. Due to their voluminous nature, and to avoid unnecessary duplication, the Debtors have
not included on Schedule H debts for which more than one Debtor may be liable if such debts were
already reflected on Schedule E/F or Schedule G for the respective Debtors subject to such debt.
To the extent these Notes include notes specific to Schedules D-G, such Notes also apply to the
co-Debtors listed in Schedule H. The Debtors reserve all of their rights to amend the Schedules to
the extent that additional guarantees are identified or such guarantees are discovered to have
expired or be unenforceable.

Specific Disclosures with Respect to the Statements

Statement 1. Gross revenue reflects revenue achieved by each Debtor over the relevant periods
and does not take into account eliminations or adjustments that might be applied through

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consolidation accounting. The Debtors’ fiscal year ends on December 31 of each year. Year-to-
date revenue is reported for the 8-month period ended August 14, 2023.

Statement 3. As described in the Cash Management Motion, the Debtors utilize their integrated,
centralized cash management system to collect, concentrate, and disburse funds generated by their
operations. The obligations of the Debtors are primarily paid by and through Prime Trust, LLC
and Prime Digital, LLC notwithstanding that certain obligations may be obligations of one or more
of the Debtors as described in the Cash Management Motion. Statement Question 3 also includes
details regarding certain cryptocurrency transactions, including coin withdrawals, coin transfers,
and other transactions on a gross basis, in order to provide a transparent transaction history. The
Debtors recognize that not all listed transactions are directly responsive to Statement Question 3,
however they believe that presenting the transaction history provides the most accurate view.

The payments disclosed in Statement 3 are based on payments made by the Debtors with payment
dates from May 16, 2023 through August 14, 2023. The actual dates that cash cleared the Debtors’
Bank Accounts were not considered. The Debtors’ accounts payable system does not include the
corresponding payment clear dates and compiling this data would have required a significant
manual review of individual bank statements. It is expected, however, that many payments
included in Statement 3 have payment clear dates that are the same as payment dates (e.g., wires
and other forms of electronic payments).

Payments listed in Statement 3 that were made by Prime Trust on behalf of other Debtor entities
are listed solely in Statement 3 for Prime Trust.

The response to Statement 3 includes disbursements listed on Statements 4, 9, and 11. Amounts
still owed to creditors will appear on the Schedules for each Debtor, as applicable.

The amounts listed in Statement 3 reflect the Debtors’ disbursements netted against any check
level detail; thus, to the extent a disbursement was made to pay for multiple invoices, only one
entry has been listed on Statement 3.

Statement 4. For purposes of the Schedules and Statements, the Debtors utilized the definition
of “insider” as set forth in section 101(31) of the Bankruptcy Code. The payroll-related amounts
shown in response to this question for any salary, bonus, or additional compensation are gross
amounts that do not include reductions for amounts including employee tax or benefit
withholdings. The Debtors also issue corporate-paid credit cards and reimburse direct business
expenses incurred by insiders. Such business expenses also are included in Statement 4. Home
addresses for directors, employees, and former employees identified as insiders have not been
included in the Statements for privacy reasons, and as permitted under the Privacy Protection
Order. Amounts still owed to creditors will appear on the Schedules for each of the Debtors, as
applicable.

Pursuant to the Debtors’ cash management system, payments made to various parties may be
made from a single Debtor on behalf of one or more Debtor entities. The Debtors have only listed
each payment on the response to Statement 4 for the Debtor entity that disbursed the payment.
The payments disclosed in Statement 4 are based on payments made by the Debtors with payment
dates from August 15, 2022 through August 14, 2023. The actual dates that cash cleared the


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Debtors’ Bank Accounts were not considered. The Debtors’ accounts payable system does not
include the corresponding payment clear dates and compiling this data would have required a
significant manual review of individual bank statements. It is expected, however, that many
payments included in Statement 4 have payment clear dates that are the same as payment dates
(e.g., wires and other forms of electronic payments).

With respect to intercompany transfers, given the volume of transfers and nature of noncash
accounting adjustments, it would be prohibitively expensive, unduly burdensome, and an
inefficient use of estate resources for the Debtors to separate and list such claims on an individual
basis. Rather, the Debtors have provided intercompany balances as of the Petition Date on the
Schedules for each Debtor, as applicable.

Payments listed in Statement 4 that were made by Prime Trust on behalf of other Debtor entities
are listed solely in Statement 4 for Prime Trust.

The inclusion of a party as an “insider” is not intended to be, nor should be, construed as a legal
characterization of such party as an “insider” and does not act as an admission of any fact, claim,
right, or defense, and any such rights, Claims, and defenses are hereby expressly reserved.

Statement 6. See Global Note 11(r) for setoffs.

Statement 7. The Debtors have made reasonable attempts to identify legal actions, administrative
proceedings, court actions, executions, attachments, or governmental audits including the review
of available books and records, conducting lien searches, conducting searches of court and judicial
records in relevant jurisdictions, and otherwise reviewing publicly available information. Despite
the efforts conducted to identify all such actions, it is likely that there are other ending actions not
yet identified or reported herein. The Debtors reserve all rights to revise, amend, supplement and/or
adjust Question 7 in this regard. Additionally, certain lawsuits alleging prepetition conduct have
been filed after the Petition Date. Such lawsuits are likely in violation of the automatic stay
pursuant to section 362 of the Bankruptcy Code and, in any event, are not responsive to Statement
Question 7 and, as such, are not included in the Debtor’ responses. SOFA 7 does not include
threatened litigation involving the Debtors. Schedule E/F does not include any demand letters the
Debtors may have received.

Statement 11. Although the services of any entity who provided a Debtor with consultation
concerning debt counseling or restructuring services, relief under the Bankruptcy Code, or
preparation of a petition in bankruptcy within one year immediately preceding the Petition Date
were provided for the benefit of all the Debtors, the payments for such services were made by
Prime Trust and are therefore listed on Prime Trust’s response to Statement 11.

Additional information regarding the Debtors’ retention of professional service firms is more fully
described in individual retention applications and related orders.

Statement 16. See Global Note 11(c) with respect to personally identifiable information of the
Debtors’ Employees and Reacted Customers.




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Statement 21. There has not yet been a determination as to whether certain cryptocurrency and/or
fiat held in any custody accounts are general unsecured claims or property of the estate, and the
Debtors reserve all rights with respect to any such determination.

Statement 25. Statement 25 lists the Debtors’ interest in Banq Inc. (“Banq”). Banq filed for
chapter 11 in the United States Bankruptcy Court for the District of Nevada on June 13, 2023. See
In re Banq Inc., Case No. 23-12378 (NMC) (Bankr. D. Nev.). On June 27, 2023, Banq filed a list
of equity security holders in connection with its chapter 11 case, which lists Prime Trust’s
percentage ownership in Banq as 1.6%. See id., at Docket No. 42. In the ordinary course, interests
held by Prime Trust are transferred to Prime Core. For purposes of Statement 25, any such interests
are reported on the Schedules and Statements of Prime Core Technologies Inc., including the
Debtors’ interest in Banq. Statement 25 also lists the Debtors’ interest in Issuance Inc. As of July
23, 2021, the Debtors had a 2.79% ownership interest in Issuance Inc. on a fully-diluted basis. The
Debtors are in the process of obtaining the current fair market value and percentage of ownership
in Issuance Inc. the Debtors hold a money market account at JP Morgan, invests in the 100% US
Treasury Securities Money Market Fund.

Statement 26. In the ordinary course of business, the Debtors provided, or may have provided,
financial statements and related information to various entities, including as described below.

Prime Trust is required to submit quarterly Money Service Business (MSB) Call Reports (the “Call
Reports”) to maintain its money transmitter licenses (the “MTLs”). The Call Reports contain a
summary of Prime Trust’s financial statements. Prime Trust complies with the Call Reports and,
with the assistance of Ankura (f/k/a Chartwell Compliance), submits the Call Reports through the
Nationwide Mortgage Licensing System (NMLS) Uniform Authorized Agent Reporting (UAAR)
process. This process allows Prime Trust to submit one Call Report to multiple regulatory agencies
in the states in which Prime Trust holds MTLs. In addition, as part of the MTL approval process,
some states request financial information from Prime Trust. The Debtors are not able to determine
which state regulatory bodies may or may not have requested and/or received financial
information. In Statement 26, Prime Trust has included the primary regulatory bodies in the states
in which it maintains MTLs or has attempted to obtain an MTL, as well as the Nevada Financial
Institutions Division, which issued Prime Trust’s Nevada Trust Charter. Additionally, Prime Trust
is a FinCEN-registered Money Services Business.

In connection with establishing banking relationships, Prime Trust may have been required to
provide financial statements to current, former, or prospective banking institutions. The Debtors
are unable to determine which banks may or may not have requested and received the financial
statements. A listing of the Debtors’ current banking partners can be found in the Cash
Management Motion and a list of the Debtors’ banking partners over the past 12 months is
included in Statement 18.

In connection with their prepetition capital raises, the Debtors may have provided financial
statements to current, former, or prospective shareholders. The Debtors are unable to determine
which investors or potential investors requested and/or received such information.

Statement 30. Any and all known disbursements to insiders have been listed in response to
Statement 4.

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Statement 31. Various Debtor limited liability companies (each, an “LLC”) are disregarded for
tax purposes. Income generated by an LLC is consolidated at a higher reporting unit level.


                                ***END OF GLOBAL NOTES***
      **SCHEDULES AND STATEMENTS BEGIN ON THE FOLLOWING PAGE**




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  Fill in this information to identify the case:

  Debtor name: Prime Trust, LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                    Check if this is an
  Case number: 23-11162
                                                                                                                                                    amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/22


The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and
case number (if known).

Part 1:   Income

1. Gross revenue from business
     None

 Identify the beginning and ending dates of the debtor’s fiscal year, which may be      Sources of revenue                                        Gross revenue
 a calendar year                                                                        Check all that apply                                      (before deductions and
                                                                                                                                                  exclusions)


From the beginning of           From                      to     Filing Date               Operating a business                                         $10,192,652.44
the fiscal year to filing       1/1/2023
date:                                                                                      Other

                                                                                       implementation fee, monthly fee


For prior year:                 From                      to                               Operating a business                                         $33,608,550.52
                                1/1/2022                  12/31/2022
                                                                                           Other

                                                                                       implementation fee, monthly fee

For the year before that:       From                      to                               Operating a business                                         $57,436,617.00
                                1/1/2021                  12/31/2021
                                                                                           Other

                                                                                       implementation fee, monthly fee


2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each
source and the gross revenue for each separately. Do not include revenue listed in line 1.
     None

                                                                                        Description of sources of revenue                         Gross revenue from
                                                                                                                                                  each source
                                                                                                                                                  (before deductions and
                                                                                                                                                  exclusions)

From the beginning of          From                       to     Filing Date           Interest income                                                    $5,355,389.06
the fiscal year to filing      1/1/2023
date:

For prior year:                From                       to                           Interest income                                                    $6,648,017.00
                               1/1/2022                   12/31/2022


For the year before that:      From                       to                           Interest income                                                    $1,176,757.00
                               1/1/2021                   12/31/2021
Debtor    Prime Trust, LLC_________________________________________________________                  Case number (if known) 23-11162________________________________________
          Name
                                      Case 23-11162-JKS                     Doc 5         Filed 09/22/23               Page 28 of 1754
  Part 2:    List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
  List payments or transfers - including expense reimbursements - to any creditor, other than regular employee compensation, within 90 days before filing this case unless the
  aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases
  filed on or after the date of adjustment.)
         None

   Creditor’s name and address                                  Dates                          Total amount or value         Reasons for payment or transfer
                                                                                                                             Check all that apply

  3.1
                                                                                                                                 Secured debt
            See Attached SOFA 3 Exhibits
                                                                                                                                 Unsecured loan repayments

                                                                                                                                 Suppliers or vendors

                                                                                                                                 Services

                                                                                                                                 Other




  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
  List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an
  insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
  years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in
  control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any
  managing agent of the debtor. 11 U.S.C. § 101(31).
         None

   Insider’s name and address                                   Dates                          Total amount or value         Reasons for payment or transfer

  4.1
                                                                                                                                 Secured debt
            See Attached SOFA 4 Exhibit
                                                                                                                                 Unsecured loan repayments
            Relationship to debtor
                                                                                                                                 Suppliers or vendors

                                                                                                                                 Services

                                                                                                                                 Other



  5. Repossessions, foreclosures, and returns
  List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
  transferred by a deed in lieu of foreclosure, or returned to the seller.
  Do not include property listed in line 6.
         None

   Creditor’s name and address                                  Description of the property                                  Date                            Value of property

  5.1
Debtor    Prime Trust, LLC_________________________________________________________                       Case number (if known) 23-11162________________________________________
          Name
                                     Case 23-11162-JKS                      Doc 5         Filed 09/22/23                 Page 29 of 1754
  6. Setoffs
  List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
  permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         None

   Creditor’s name and address                                  Description of the action creditor took                         Date action was taken       Amount

  6.1
                                                               As of August 7, 2023, the Assets are roughly valued at          August 2023                           $975,643.00
            DV Chain, LLC                                      $975,643.00. Creditor setoff roughly $975,643.00 that
            216 W Jackson Blvd                                 they are holding in collateral to satisfy liability owed
            3rd Floor                                          by Prime Trust for the cryptos that the Debtor
            Chicago, IL 60606                                  provided to PT. The value of collateral as of 8/14 was
                                                               $968,230.56
                                                               Last 4 digits of account number
                                                               1138, 9430
  Part 3:    Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
  List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—within 1
  year before filing this case.
         None

   Case title                                   Nature of case                                   Court or agency’s name and address                         Status of case

  7.1
            Name                               Regulatory action                                 Name                                                          Pending
            Alaska Cease and Desist and                                                          State of Alaska Department of Commerce,
                                                                                                                                                               On appeal
            Revocation Order                                                                     Community, and Economic Development - Division of
                                                                                                                                                               Concluded
                                                                                                 Banking and Securities
            Case number
                                                                                                 Street
                                                                                                 550 West Seventh Avenue, Suite 1850
                                                                                                 City                              State     Zip
                                                                                                 Anchorage                         AK        99501

  7.2
            Name                               Regulatory action                                 Name                                                          Pending
            CAL DFPI Subpoena                                                                    California Department of Financial Protection and
                                                                                                                                                               On appeal
                                                                                                 Innovation
            Case number                                                                                                                                        Concluded
                                                                                                 Street


                                                                                                 City                              State     Zip



  7.3
            Name                               Bankruptcy adversary complaint                    Name                                                          Pending
            Celsius Network Ltd v. Prime                                                         U.S. Bankruptcy Court, Southern District of New York
                                                                                                                                                               On appeal
            Trust LLC
                                                                                                 Street                                                        Concluded
            Case number                                                                          One Bowling Green
            22-10964 (MG)
                                                                                                 City                              State     Zip
                                                                                                 New York                          NY        10004

  7.4
            Name                               Regulatory action                                 Name                                                          Pending
            CFTC Subpoena                                                                        US Commodity Futures Trading Commission
                                                                                                                                                               On appeal
            Case number                                                                          Street                                                        Concluded
                                                                                                 1155 21st St NW

                                                                                                 City                              State     Zip
                                                                                                 Washington                        DC        20581
Debtor   Prime Trust, LLC_________________________________________________________            Case number (if known) 23-11162________________________________________
         Name
                                      Case 23-11162-JKS                 Doc 5   Filed 09/22/23                Page 30 of 1754

  7.5
           Name                              Regulatory action                       Name                                                          Pending
           Connecticut Banking                                                       Connecticut Banking Department
                                                                                                                                                   On appeal
           Department Consent
                                                                                     Street                                                        Concluded
           Agreement
                                                                                     260 Constitution Plaza
           Case number
                                                                                     City                               State   Zip
                                                                                     Hartford                           CT      6103

  7.6
           Name                              Arbitration                             Name                                                          Pending
           Const LLC v. Prime Trust LLC                                              American Arbitration Association
                                                                                                                                                   On appeal
           Case number                                                               Street                                                        Concluded

                                                                                     City                               State   Zip



  7.7
           Name                              Regulatory action                       Name                                                          Pending
           D.C. Department of Insurance,                                             D.C. Department of Insurance, Securities and Banking
                                                                                                                                                   On appeal
           Securities and Banking Consent
                                                                                     Street                                                        Concluded
           Order
                                                                                     1050 First Street, NE, 801
           Case number
                                                                                     City                               State   Zip
                                                                                     Washington                         DC      20002

  7.8
           Name                              Discovery and Civil suit                Name                                                          Pending
           Edwards v. Prime Trust LLC, et                                            Circuit Court for Montgomery County, Maryland
                                                                                                                                                   On appeal
           al
                                                                                     Street                                                        Concluded
           Case number                                                               50 Maryland Avenue
           C-15-CV-23-000324
                                                                                     City                               State   Zip
                                                                                     Rockville                          MD      20850

  7.9
           Name                              Regulatory action                       Name                                                          Pending
           Georgia Department of Banking                                             Georgia Department of Banking
                                                                                                                                                   On appeal
           Order
                                                                                     Street                                                        Concluded
           Case number                                                               2990 Brandywine Road, Suite 200

                                                                                     City                               State   Zip
                                                                                     Atlanta                            GA      30341

  7.10
           Name                              Civil suit                              Name                                                          Pending
           Gillispie v. Prime Trust LLC et                                           Superior Court of California, County of Riverside
                                                                                                                                                   On appeal
           al.
                                                                                     Street                                                        Concluded
           Case number                                                               4050 Main Street
           CVR12301394
                                                                                     City                               State   Zip



  7.11
           Name                              Civil suit                              Name                                                          Pending
           Hughes, v. SC State Federal                                               South Carolina Court of Common Please (Eleventh
                                                                                                                                                   On appeal
           Credit Union, Prime Trust LLC,                                            Judicial Circuit)
                                                                                                                                                   Concluded
           BAM Trading Services, Inc., and
                                                                                     Street
           Piermont Bank
                                                                                     205 East Main Street, Suite 309
           Case number
                                                                                     City                               State   Zip
           2021-CP-32-02910
Debtor   Prime Trust, LLC_________________________________________________________            Case number (if known) 23-11162________________________________________
         Name
                                    Case 23-11162-JKS              Doc 5       Filed 09/22/23                 Page 31 of 1754

  7.12
           Name                             Civil suit                               Name                                                          Pending
           HWA International v. Prime                                                State of Tennesse, County of Shelby
                                                                                                                                                   On appeal
           Trust LLC
                                                                                     Street                                                        Concluded
           Case number                                                               160 N Main Street
           2163547
                                                                                     City                              State     Zip
                                                                                     Memphis                           TN        38103

  7.13
           Name                             Regulatory action                        Name                                                          Pending
           Idaho Department of Finance                                               Idaho Department of Finance
                                                                                                                                                   On appeal
           Consent Order
                                                                                     Street                                                        Concluded
           Case number                                                               11341 West Chinden Blvd., Suite A300
                                                                                     City                              State     Zip
                                                                                     Boise                             ID        83714

  7.14
           Name                             Regulatory action                        Name                                                          Pending
           Kansas Consumer and                                                       Kansas Consumer and Mortgage Lending Division
                                                                                                                                                   On appeal
           Mortgage Lending Division
                                                                                     Street                                                        Concluded
           Consent Agreement
                                                                                     700 SW Jackson St., Suite 300
           Case number
                                                                                     City                              State     Zip
                                                                                     Topeka                            KS        66603

  7.15
           Name                             Regulatory action                        Name                                                          Pending
           Maine Bureau of Consumer                                                  Maine Bureau of Consumer Credit Protection
                                                                                                                                                   On appeal
           Credit Protection MTL Appeal
                                                                                     Street                                                        Concluded
           Case number                                                               35 State House Station

                                                                                     City                              State     Zip
                                                                                     Augusta                           ME        4333

  7.16
           Name                             Regulatory action                        Name                                                          Pending
           Minnesota Department of                                                   Minnesota Department of Commerce
                                                                                                                                                   On appeal
           Commerce Consent Order
                                                                                     Street                                                        Concluded
           Case number                                                               85 7th Place East Suite 280

                                                                                     City                              State     Zip
                                                                                     Saint Paul                        MN        55101

  7.17
           Name                             Civil suit                               Name                                                          Pending
           N9 Advisors LLC v. Banq, Inc.,                                            Broward County, Florida, Circuit Court of the
                                                                                                                                                   On appeal
           Jon Jiles, and Prime Trust LLC                                            Seventeenth Judicial Circuit
                                                                                                                                                   Concluded
           Case number                                                               Street
           CACE-22-013341                                                            201 SE 6th Street

                                                                                     City                              State     Zip
                                                                                     Ft Lauderdale                     FL        33301


  7.18
           Name                             Regulatory action                        Name                                                          Pending
           Nebraska Department of                                                    Nebraska Department of Banking and Finance
                                                                                                                                                   On appeal
           Banking and Finance Consent
                                                                                     Street                                                        Concluded
           Order
                                                                                     PO Box 95006, 1526 K St #300
           Case number
                                                                                     City                              State     Zip
                                                                                     Lincoln                           NE        68508
Debtor   Prime Trust, LLC_________________________________________________________            Case number (if known) 23-11162________________________________________
         Name
                                     Case 23-11162-JKS             Doc 5       Filed 09/22/23                Page 32 of 1754

  7.19
           Name                               Examination                            Name                                                          Pending
           Nevada FID Audit                                                          Nevada Financial Institutions Division
                                                                                                                                                   On appeal
           Case number                                                               Street                                                        Concluded
                                                                                     3300 W. Sahara Ave., Suite 250

                                                                                     City                              State    Zip
                                                                                     Las Vegas                         NV       89102

  7.20
           Name                               Regulatory action                      Name                                                          Pending
           Nevada FID MOU                                                            Nevada Financial Institutions Division
                                                                                                                                                   On appeal
           Case number                                                               Street                                                        Concluded
                                                                                     3300 W. Sahara Ave., Suite 250

                                                                                     City                              State    Zip
                                                                                     Las Vegas                         NV       89102


  7.21
           Name                               Regulatory action                      Name                                                          Pending
           New York Department of                                                    New York Department of Financial Services
                                                                                                                                                   On appeal
           Financial Services Investigation
                                                                                     Street                                                        Concluded
           Case number                                                               1 State Street
                                                                                     City                              State    Zip
                                                                                     New York                          NY       10004

  7.22
           Name                               Regulatory action                      Name                                                          Pending
           North Carolina Office of the                                              North Carolina Office of the Commissioner of Banks
                                                                                                                                                   On appeal
           Commissioner of Banks
                                                                                     Street                                                        Concluded
           Case number                                                               4309 Mail Service Center

                                                                                     City                              State    Zip
                                                                                     Raleigh                           NC       27699

  7.23
           Name                               Regulatory action                      Name                                                          Pending
           NV FID Receivership                                                       Nevada Financial Institutions Division
                                                                                                                                                   On appeal
           Case number                                                               Street                                                        Concluded
           A-23-872963-B                                                             3300 W. Sahara Ave., Suite 250

                                                                                     City                              State    Zip
                                                                                     Las Vegas                         NV       89102

  7.24
           Name                               Regulatory action                      Name                                                          Pending
           OFAC Administrative Subpoena                                              U.S. Department of Treasury's Office of Foreign
                                                                                                                                                   On appeal
                                                                                     Assets Control (OFAC)
           Case number                                                                                                                             Concluded
                                                                                     Street


                                                                                     City                              State    Zip



  7.25
           Name                               Regulatory action                      Name                                                          Pending
           Pennsylvania Department of                                                Pennsylvania Department of Banking and Securities
                                                                                                                                                   On appeal
           Banking and Securities Consent
                                                                                     Street                                                        Concluded
           Order
                                                                                     17 N. Second Street, Suite 1300
           Case number
                                                                                     City                              State    Zip
                                                                                     Harrisburg                        PA       17101
Debtor   Prime Trust, LLC_________________________________________________________            Case number (if known) 23-11162________________________________________
         Name
                                    Case 23-11162-JKS              Doc 5       Filed 09/22/23                Page 33 of 1754

  7.26
           Name                           Litigation Letter                          Name                                                          Pending
           Quantum Partners LP,
                                                                                                                                                   On appeal
           Palindrome Master Fund LP
                                                                                     Street                                                        Concluded
           Case number
                                                                                     City                              State    Zip




  7.27
           Name                           Regulatory action                          Name                                                          Pending
           Rick Rader - Charge of                                                    EEOC (Nevada)
                                                                                                                                                   On appeal
           Discrimination
                                                                                     Street                                                        Concluded
           Case number                                                               333 Las Vegas Blvd South, Suite 5560
           487-2022-01490
                                                                                     City                              State    Zip
                                                                                     Las Vegas                         NV       89101


  7.28
           Name                           Regulatory action                          Name                                                          Pending
           SEC Subpoena                                                              US Securities and Exchange Commission
                                                                                                                                                   On appeal
           Case number                                                               Street                                                        Concluded
                                                                                     100 F Street, NE

                                                                                     City                              State    Zip
                                                                                     Washington                        DC       20549


  7.29
           Name                           Regulatory action                          Name                                                          Pending
           South Dakota Division of                                                  Sourth Dakota
                                                                                                                                                   On appeal
           Banking Consent Agreement
                                                                                     Street                                                        Concluded
           Case number                                                               1714 Lincoln Ave., Suite 2

                                                                                     City                              State    Zip
                                                                                     Pierre                            SD       57501

  7.30
           Name                           Regulatory action                          Name                                                          Pending
           Texas Department of Banking                                               Texas Department of Banking
                                                                                                                                                   On appeal
           Consent Agreement
                                                                                     Street                                                        Concluded
           Case number                                                               2601 N. Lamar Blvd.
                                                                                     City                              State    Zip
                                                                                     Austin                            TX       78705

  7.31
           Name                           Regulatory action                          Name                                                          Pending
           Texas State Securities Board                                              Texas State Securities Board
                                                                                                                                                   On appeal
           Case number                                                               Street                                                        Concluded

                                                                                     City                              State    Zip



  7.32
           Name                           Regulatory action                          Name                                                          Pending
           US Department of Labor WARN                                               US Department of Labor
                                                                                                                                                   On appeal
           Act
                                                                                     Street                                                        Concluded
           Case number                                                               200 Constitution Ave NW
                                                                                     City                              State    Zip
                                                                                     Washington                        DC       20210
Debtor    Prime Trust, LLC_________________________________________________________                    Case number (if known) 23-11162________________________________________
          Name
                                       Case 23-11162-JKS                   Doc 5         Filed 09/22/23               Page 34 of 1754

  7.33
            Name                                Examination                                   Name                                                            Pending
            US Department of Treasury                                                         US Department of the Treasury FinCEN
                                                                                                                                                              On appeal
            FinCEN
                                                                                              Street                                                          Concluded
            Case number                                                                       PO Box 39

                                                                                              City                                 State   Zip
                                                                                              Vienna                               VA      22183


  7.34
            Name                                Regulatory action                             Name                                                            Pending
            US DOJ Subpoena                                                                   US Department of Justice Eastern District of
                                                                                                                                                              On appeal
                                                                                              California
            Case number                                                                                                                                       Concluded
            2021R00029 - 073                                                                  Street
                                                                                              Sacramento Main Office, 501 I Street, Suite 10-100
                                                                                              City                                 State   Zip
                                                                                              Sacramento                           CA      95814


  7.35
            Name                                Potential class action                        Name                                                            Pending
            Ward, et al v. Prime Trust LLC et                                                 District Court, Clark County, Nevada
                                                                                                                                                              On appeal
            al.
                                                                                              Street                                                          Concluded
            Case number
            A-22-860739-B                                                                     City                                 State   Zip



  8. Assignments and receivership
  List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian, or
  other court-appointed officer within 1 year before filing this case.
         None

   Custodian’s name and address                                 Description of the property                                  Value

  8.1
            Custodian's name and address                       Receivership over entire company and day to day
            John Guedry                                        operations
                                                                                                                            Court name and address
            Street                                             Case title                                                   Name
            10845 Griffith Peak Dr., #03-153                   Petition for Appointment of Receiver, Temporary              Eighth Judicial District Court of Nevada
                                                               Injunction, and Other Permanent Relief
            City                      State     Zip                                                                         Street
            Las Vegas                 NV        89135          Case number                                                  200 Lewis Ave
                                                               A-23-872963-B (Concluded)
                                                                                                                            City                              State       Zip
                                                               Date of order or assignment                                  Las Vegas                         NV          89101
                                                               7/14/2023
Debtor    Prime Trust, LLC_________________________________________________________                    Case number (if known) 23-11162________________________________________
          Name
                                         Case 23-11162-JKS                  Doc 5            Filed 09/22/23                 Page 35 of 1754
  Part 4:    Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that recipient is
  less than $1,000
         None

   Recipient’s name and address                                 Description of the gifts or contributions                      Dates given                  Value

  9.1
            Recipient's name


            Street


            City                        State      Zip


            Recipient’s relationship to debtor



  Part 5:    Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case
         None

   Description of the property lost and how the loss            Amount of payments received for the loss                       Date of loss                 Value of property lost
   occurred                                                     If you have received payments to cover the loss, for
                                                                example, from insurance, government
                                                                compensation, or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B
                                                                (Schedule A/B: Assets – Real and Personal
                                                                Property).


  10.1



  Part 6:    Certain Payments or Transfers

  11. Payments related to bankruptcy
  List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
  person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
         None

   Who was paid or who received the transfer?                   If not money, describe any property transferred                Dates                        Total amount or value

  11.1
                                                                                                                               8/11/2023                               $83,650.00
            John Guedry
            10845 Griffith Peak Dr., #03-153
            Las Vegas, NV 89135

            Email or website address


            Who made the payment, if not debtor?
Debtor   Prime Trust, LLC_________________________________________________________   Case number (if known) 23-11162________________________________________
         Name
                                      Case 23-11162-JKS            Doc 5       Filed 09/22/23       Page 36 of 1754

  11.2
                                                                                                          8/11/2023                              $83,650.00
           JDW Group LLC
           8414 Farm Rd., Suite 180-321
           North Las Vegas, NV 89131

           Email or website address
           john.wilcox@thejdwgroup.com
           Who made the payment, if not debtor?



  11.3
                                                                                                          8/11/2023                              $25,000.00
           Mike Wyse
           51 JFK Parkway, First Floor West
           Short Hills, NJ 10017

           Email or website address
           mwyse@wyseadvisorsllc.com
           Who made the payment, if not debtor?




  11.4
                                                                                                          7/24/2023                              $75,000.00
           McDermott Will & Emery
           One Vanderbilt Avenue
           New York, NY 10017

           Email or website address
           https://www.mwe.com/
           Who made the payment, if not debtor?



  11.5
                                                                                                          7/25/2023                              $50,000.00
           McDermott Will & Emery
           One Vanderbilt Avenue
           New York, NY 10017

           Email or website address
           https://www.mwe.com/
           Who made the payment, if not debtor?



  11.6
                                                                                                          8/2/2023                              $400,000.00
           McDermott Will & Emery
           One Vanderbilt Avenue
           New York, NY 10017

           Email or website address
           https://www.mwe.com/
           Who made the payment, if not debtor?
Debtor    Prime Trust, LLC_________________________________________________________   Case number (if known) 23-11162________________________________________
          Name
                                       Case 23-11162-JKS            Doc 5       Filed 09/22/23       Page 37 of 1754

  11.7
                                                                                                           8/8/2023                              $475,000.00
            McDermott Will & Emery
            One Vanderbilt Avenue
            New York, NY 10017

            Email or website address
            https://www.mwe.com/
            Who made the payment, if not debtor?



  11.8
                                                                                                           8/4/2023                              $250,000.00
            M3 Advisory Partners, LP
            1700 Broadway, 19th Floor
            New York, NY 10019

            Email or website address
            https://m3-partners.com/
            Who made the payment, if not debtor?




  11.9
                                                                                                           8/11/2023                             $250,000.00
            M3 Advisory Partners, LP
            1700 Broadway, 19th Floor
            New York, NY 10019

            Email or website address
            https://m3-partners.com/
            Who made the payment, if not debtor?



  11.10
                                                                                                           8/14/2023                              $13,709.68
            Galaxy Digital Partners LLC
            300 Vesey Street, 13th Floor
            New York, NY 10282

            Email or website address
            https://www.galaxy.com/investment-banking/
            Who made the payment, if not debtor?



  11.11
                                                                                                           8/10/2023                              $25,000.00
            Stretto
            410 Exchange, Suite 100
            Irvine, CA 92602

            Email or website address
            https://www.stretto.com/
            Who made the payment, if not debtor?
Debtor    Prime Trust, LLC_________________________________________________________                 Case number (if known) 23-11162________________________________________
          Name
                                     Case 23-11162-JKS                     Doc 5         Filed 09/22/23              Page 38 of 1754
  12. Self-settled trusts of which the debtor is a beneficiary
  List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust or
  similar device.
  Do not include transfers already listed on this statement.
         None

   Name of trust or device                                     Describe any property transferred                            Dates transfers were          Total amount or value
                                                                                                                            made

  12.1


            Trustee


  13. Transfers not already listed on this statement
  List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor within 2 years before the filing
  of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers made as
  security. Do not include gifts or transfers previously listed on this statement.
         None

   Who received transfer?                                      Description of property transferred or payments              Date transfer was             Total amount or value
                                                               received or debts paid in exchange                           made

  13.1


            Relationship to debtor



  Part 7:    Previous Locations

  14. Previous addresses
  List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         Does not apply

   Address                                                                                                   Dates of occupancy

  14.1
            Street                                                                                          From                                 to


            City                                               State            Zip
Debtor     Prime Trust, LLC_________________________________________________________                        Case number (if known) 23-11162________________________________________
           Name
                                        Case 23-11162-JKS                     Doc 5            Filed 09/22/23                  Page 39 of 1754
  Part 8:      Health Care Bankruptcies

  15. Health Care bankruptcies
  Is the debtor primarily engaged in offering services and facilities for:
         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to part 9.

         Yes. Fill in the information below.

   Facility name and address                                                       Nature of the business operation, including type of services the           If debtor provides
                                                                                   debtor provides                                                            meals and housing,
                                                                                                                                                              number of patients in
                                                                                                                                                              debtor's care

  15.1
             Street

                                                                                   Location where patient records are maintained(if different from facility   How are records kept?
               City                              State       Zip                   address). If electronic, identify any service provider                     Check all that apply:
                                                                                                                                                                  Electronically

                                                                                                                                                                  Paper

  Part 9:      Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

         No.

         Yes. State the nature of the information collected and retained.     Contact information (full name, address, telephone number, and email address),
                                                                              Professional information (company name, job title, role type, company website),
                                                                              Identity information (e.g., driver’s license number, passport, birth certificate,
                                                                              marriage license, deed, or other government-issued identification), Beneficiary
                                                                              information (relationship with the beneficiary and the beneficiary’s contact
                                                                              information, gender, social security number, and date of birth), Entity information
                                                                              (relevant transaction information related to the Services, including the entity name,
                                                                              Employer Identification Number (EIN), entity address and entity documents), Bank
                                                                              account information (e.g., bank routing numbers, bank account numbers, wire
                                                                              instructions, and credit or debit card information), Investment information (e.g.,
                                                                              financial advisor name, investment preferences, goals, and risk tolerances,
                                                                              transactor id, investment amount, investment ID, security count shares, email alias,
                                                                              US citizen or resident confirmation), Account information (e.g., username, user ID,
                                                                              password, details for Services purchased or subscribed to, date of account creation,
                                                                              purchase price, payment information, and billing address), Marketing
                                                                              information(e.g., form submissions, email communications, or phone calls to
                                                                              inquire about Prime Trust and our Services), Social media account information
                                                                              (such as the Twitter “Tweet” button and other sharing widgets (“Social Media
                                                                              Features”), and we receive information about you if the Social Media Features are
                                                                              hosted directly on our Site.), Troubleshooting and support information (e.g., the
                                                                              solution , contact or authentication data, the content of chats and other
                                                                              communications with Prime Trust, and other details that help us provide support),
                                                                              Any information you voluntarily provide to us (e.g., contents of a message or
                                                                              attachments that you send to us))
                  Does the debtor have a privacy policy about that information?
                      No

                      Yes
Debtor     Prime Trust, LLC_________________________________________________________                Case number (if known) 23-11162________________________________________
           Name
                                             Case 23-11162-JKS             Doc 5           Filed 09/22/23            Page 40 of 1754
  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or profit-sharing plan made
  available by the debtor as an employee benefit?
         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                       No. Go to Part 10.
                       Yes. Fill in below:
  Name of plan                                                                               Employer identification number of the plan
  401(k)                                                                                     21D01050
  Has the plan been terminated?
         No

         Yes

  Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
  Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
  associations, and other financial institutions.
         None

   Financial institution name and address                                      Last 4         Type of account               Date account was               Last balance before
                                                                               digits of                                    closed, sold, moved, or        closing or transfer
                                                                               account                                      transferred
                                                                               number

  18.1
              Name                                                           8879                Checking                  1/25/2023                                      $75.00
              Banc of California
                                                                                                 Savings
              Street
              3MacArthur Place                                                                   Money market
               City                              State       Zip                                 Brokerage
               Santa Ana                         CA          92707
                                                                                                  Other




  18.2
              Name                                                           4358                Checking                  2/8/2023                                      $100.00
              Banc of California
                                                                                                 Savings
              Street
              3MacArthur Place                                                                   Money market
               City                              State       Zip                                 Brokerage
               Santa Ana                         CA          92707
                                                                                                  Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
         Name
                                      Case 23-11162-JKS            Doc 5       Filed 09/22/23         Page 41 of 1754

  18.3
           Name                                                      6237            Checking               2/8/2023                                  $447.67
           Banc of California
                                                                                     Savings
           Street
           3MacArthur Place                                                          Money market
           City                           State     Zip                              Brokerage
           Santa Ana                      CA        92707
                                                                                     Other




  18.4
           Name                                                      3036            Checking               5/31/2023                                   $0.00
           Cross River Bank
                                                                                     Savings
           Street
           885 Teaneck Rd                                                            Money market
           City                           State     Zip                              Brokerage
           Teaneck                        NJ        7666
                                                                                     Other




  18.5
           Name                                                      4447            Checking               5/31/2023                                   $0.00
           Fifth Third Bank
                                                                                     Savings
           Street
           38 Fountain Square Plaza                                                  Money market
           City                           State     Zip                              Brokerage
           Cincinnati                     OH        45202
                                                                                     Other




  18.6
           Name                                                      2713            Checking               6/26/2023                                   $0.00
           Lead Bank
                                                                                     Savings
           Street
           200 N 3rd St                                                              Money market
           City                           State     Zip                              Brokerage
           Garden City                    MO        64747
                                                                                     Other




  18.7
           Name                                                      2710            Checking               6/26/2023                                   $0.00
           Lead Bank
                                                                                     Savings
           Street
           200 N 3rd St                                                              Money market
           City                           State     Zip                              Brokerage
           Garden City                    MO        64747
                                                                                     Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
          Name
                                     Case 23-11162-JKS              Doc 5       Filed 09/22/23         Page 42 of 1754

  18.8
            Name                                                      2692            Checking               6/26/2023                                   $0.00
            Lead Bank
                                                                                      Savings
            Street
            200 N 3rd St                                                              Money market

            City                          State      Zip                              Brokerage
            Garden City                   MO         64747
                                                                                      Other




  18.9
            Name                                                      1659            Checking               6/13/2023                          $19,999,999.99
            MVB Bank
                                                                                      Savings
            Street
            300 Virginia Ave                                                          Money market
            City                          State      Zip                              Brokerage
            Fairmont                      VA         26554
                                                                                      Other




  18.10
            Name                                                      5175            Checking               10/7/2022                                  $-25.00
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other




  18.11
            Name                                                      5316            Checking               12/21/2022                                  $-5.00
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other




  18.12
            Name                                                      5274            Checking               12/21/2022                                  $0.00
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
          Name
                                     Case 23-11162-JKS              Doc 5       Filed 09/22/23         Page 43 of 1754

  18.13
            Name                                                      2367            Checking               12/21/2022                                  $8.75
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other




  18.14
            Name                                                      5183            Checking               12/21/2022                                $500.00
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other




  18.15
            Name                                                      6632            Checking               12/21/2022                                $864.37
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other




  18.16
            Name                                                      5332            Checking               12/21/2022                              $1,150.00
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other




  18.17
            Name                                                      5217            Checking               12/21/2022                              $1,327.00
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
          Name
                                     Case 23-11162-JKS              Doc 5       Filed 09/22/23         Page 44 of 1754

  18.18
            Name                                                      5191            Checking               12/21/2022                             $11,280.20
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market

            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other




  18.19
            Name                                                      5324            Checking               12/21/2022                             $48,809.37
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other




  18.20
            Name                                                      2326            Checking               12/21/2022                            $336,007.76
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other




  18.21
            Name                                                      6640            Checking               12/21/2022                            $439,190.27
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other




  18.22
            Name                                                      5241            Checking               12/21/2022                            $876,182.35
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10018
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.23
            Name                                                      5340            Checking               12/21/2022                          $1,509,705.66
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                           State     Zip                              Brokerage
            New York                       NY        10018
                                                                                      Other




  18.24
            Name                                                      0177            Checking               12/21/2022                         $27,588,656.99
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                           State     Zip                              Brokerage
            New York                       NY        10018
                                                                                      Other




  18.25
            Name                                                      2334            Checking               12/22/2022                              $6,016.24
            Piermont Bank
                                                                                      Savings
            Street
            4 Bryant Park, 3rd FLR                                                    Money market
            City                           State     Zip                              Brokerage
            New York                       NY        10018
                                                                                      Other




  18.26
            Name                                                      BPRT and        Checking               9/14/2022
            Reich and Tang                                            BPRI
                                                                                      Savings
            Street
            1411 Broadway, 28th Floor                                                 Money market
            City                           State     Zip                              Brokerage
            New York                       NY        10018
                                                                                      Other




  18.27
            Name                                                      0603            Checking               1/31/2023                             $848,943.68
            Royal Business Bank
                                                                                      Savings
            Street
            3919 Spring Mountain Rd.                                                  Money market
            City                           State     Zip                              Brokerage
            Las Vegas                      NV        89102
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.28
            Name                                                      7046            Checking               2/28/2023                           $3,944,115.91
            Royal Business Bank
                                                                                      Savings
            Street
            3919 Spring Mountain Rd.                                                  Money market

            City                           State     Zip                              Brokerage
            Las Vegas                      NV        89102
                                                                                      Other




  18.29
            Name                                                      6071            Checking               3/31/2023                                $-494.03
            Royal Business Bank
                                                                                      Savings
            Street
            3919 Spring Mountain Rd.                                                  Money market
            City                           State     Zip                              Brokerage
            Las Vegas                      NV        89102
                                                                                      Other




  18.30
            Name                                                      7415            Checking               3/31/2023                                   $1.00
            Royal Business Bank
                                                                                      Savings
            Street
            3919 Spring Mountain Rd.                                                  Money market
            City                           State     Zip                              Brokerage
            Las Vegas                      NV        89102
                                                                                      Other




  18.31
            Name                                                      6218            Checking               3/31/2023                             $104,070.51
            Royal Business Bank
                                                                                      Savings
            Street
            3919 Spring Mountain Rd.                                                  Money market
            City                           State     Zip                              Brokerage
            Las Vegas                      NV        89102
                                                                                      Other




  18.32
            Name                                                      7030            Checking               3/31/2023                             $260,790.91
            Royal Business Bank
                                                                                      Savings
            Street
            3919 Spring Mountain Rd.                                                  Money market
            City                           State     Zip                              Brokerage
            Las Vegas                      NV        89102
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.33
            Name                                                      6050            Checking               3/31/2023                           $2,984,949.46
            Royal Business Bank
                                                                                      Savings
            Street
            3919 Spring Mountain Rd.                                                  Money market
            City                           State     Zip                              Brokerage
            Las Vegas                      NV        89102
                                                                                      Other




  18.34
            Name                                                      8054            Checking               9/21/2022                                   $1.01
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                           State     Zip                              Brokerage
            Reading                        PA        19602
                                                                                      Other




  18.35
            Name                                                      7767            Checking               9/21/2022                                 $152.88
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                           State     Zip                              Brokerage
            Reading                        PA        19602
                                                                                      Other




  18.36
            Name                                                      0008            Checking               9/21/2022                              $20,120.04
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                           State     Zip                              Brokerage
            Reading                        PA        19602
                                                                                      Other




  18.37
            Name                                                      7422            Checking               9/27/2022                                   $0.00
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                           State     Zip                              Brokerage
            Reading                        PA        19602
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.38
            Name                                                      9743            Checking               9/27/2022                                   $0.00
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market

            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other




  18.39
            Name                                                      8224            Checking               9/27/2022                             $267,301.12
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other




  18.40
            Name                                                      9093            Checking               9/27/2022                             $600,000.00
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other




  18.41
            Name                                                      9344            Checking               9/28/2022
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other




  18.42
            Name                                                      8291            Checking               9/9/2022                                    $0.00
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.43
            Name                                                      8518            Checking               9/9/2022                                    $0.00
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other




  18.44
            Name                                                      8585            Checking               9/9/2022                                    $0.00
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other




  18.45
            Name                                                      8712            Checking               9/9/2022                                    $0.00
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other




  18.46
            Name                                                      9026            Checking               9/9/2022                                    $0.00
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other




  18.47
            Name                                                      69891           Checking               9/9/2022                                    $0.00
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.48
            Name                                                      69972           Checking               9/9/2022                                    $0.00
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other




  18.49
            Name                                                      69514           Checking               9/9/2023                                    $0.00
            Santander
                                                                                      Savings
            Street
            601 Penn Str                                                              Money market
            City                          State      Zip                              Brokerage
            Reading                       PA         19602
                                                                                      Other




  18.50
            Name                                                      6347            Checking               12/15/2022                                  $0.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.51
            Name                                                      6339            Checking               12/15/2022                                  $0.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.52
            Name                                                      6290            Checking               12/15/2022                                $317.65
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.53
            Name                                                      6266            Checking               12/15/2022                              $6,067.34
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.54
            Name                                                      6274            Checking               12/15/2022                              $9,529.95
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.55
            Name                                                      6134            Checking               12/15/2022                             $24,134.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.56
            Name                                                      6312            Checking               12/15/2022                             $32,890.91
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.57
            Name                                                      6320            Checking               12/15/2022                             $33,999.90
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.58
            Name                                                      6510            Checking               3/31/2023                                   $0.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.59
            Name                                                      6596            Checking               3/31/2023                                   $0.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.60
            Name                                                      6502            Checking               3/31/2023                                   $0.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.61
            Name                                                      6258            Checking               3/31/2023                                   $0.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.62
            Name                                                      0048            Checking               3/31/2023                                   $0.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market

            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.63
            Name                                                      6231            Checking               3/31/2023                                 $525.81
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.64
            Name                                                      4587            Checking               3/31/2023                               $2,368.85
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.65
            Name                                                      1871            Checking               3/31/2023                              $51,616.95
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.66
            Name                                                      6304            Checking               3/31/2023                             $100,000.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.67
            Name                                                      8884            Checking               3/31/2023                           $4,000,000.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.68
            Name                                                      0646            Checking               3/31/2023                           $4,571,597.39
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.69
            Name                                                      7199            Checking               3/31/2023                          $10,000,000.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.70
            Name                                                      7180            Checking               4/5/2023                                  $952.53
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.71
            Name                                                      6282            Checking               4/5/2023                                $1,295.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.72
            Name                                                      7466            Checking               5/10/2023                                  $65.42
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.73
            Name                                                      6223            Checking               5/30/2023                                 $100.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.74
            Name                                                      6126            Checking               5/30/2023                               $2,000.00
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.75
            Name                                                      3695            Checking               5/9/2023                                   $12.67
            Signature Bank
                                                                                      Savings
            Street
            485 Madison Ave                                                           Money market
            City                          State      Zip                              Brokerage
            New York                      NY         10022
                                                                                      Other




  18.76
            Name                                                      8064            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.77
            Name                                                      8943            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.78
            Name                                                      9743            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.79
            Name                                                      8026            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.80
            Name                                                      6239            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.81
            Name                                                      8859            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.82
            Name                                                      7995            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market

            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.83
            Name                                                      5690            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.84
            Name                                                      3585            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.85
            Name                                                      8513            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.86
            Name                                                      8045            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.87
            Name                                                      8007            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.88
            Name                                                      4297            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.89
            Name                                                      8532            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.90
            Name                                                      8798            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.91
            Name                                                      3566            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.92
            Name                                                      8882            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.93
            Name                                                      3551            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.94
            Name                                                      4358            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market

            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.95
            Name                                                      3528            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.96
            Name                                                      8585            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.97
            Name                                                      9724            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other
Debtor    Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.98
            Name                                                      9739            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.99
            Name                                                      7904            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.100
            Name                                                      4282            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.101
            Name                                                      9804            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market
            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other




  18.102
            Name                                                      4396            Checking               5/31/2023                                   $0.00
            Silicon Valley Bank
                                                                                      Savings
            Street
            3003 Tasman Dr                                                            Money market

            City                          State      Zip                              Brokerage
            Santa Clara                   CA         95054
                                                                                      Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.103
           Name                                                      4339            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.104
           Name                                                      8726            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.105
           Name                                                      8825            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.106
           Name                                                      8806            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.107
           Name                                                      8646            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.108
           Name                                                      8608            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.109
           Name                                                      8783            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.110
           Name                                                      8551            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.111
           Name                                                      8779            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.112
           Name                                                      6243            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.113
           Name                                                      8962            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.114
           Name                                                      8924            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market

           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.115
           Name                                                      8699            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.116
           Name                                                      3547            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.117
           Name                                                      4343            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.118
           Name                                                      8528            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.119
           Name                                                      8079            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.120
           Name                                                      8011            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.121
           Name                                                      8684            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.122
           Name                                                      4381            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.123
           Name                                                      4305            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.124
           Name                                                      9777            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.125
           Name                                                      8083            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.126
           Name                                                      3513            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.127
           Name                                                      8509            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.128
           Name                                                      9781            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.129
           Name                                                      6258            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.130
           Name                                                      8844            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.131
           Name                                                      8730            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.132
           Name                                                      8878            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.133
           Name                                                      8897            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.134
           Name                                                      6262            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market

           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.135
           Name                                                      8810            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.136
           Name                                                      5686            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.137
           Name                                                      0992            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.138
           Name                                                      8977            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.139
           Name                                                      8486            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.140
           Name                                                      8707            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.141
           Name                                                      8570            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.142
           Name                                                      8764            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.143
           Name                                                      8711            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.144
           Name                                                      8547            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.145
           Name                                                      9027            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.146
           Name                                                      8745            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.147
           Name                                                      4362            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.148
           Name                                                      3612            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.149
           Name                                                      8650            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.150
           Name                                                      4324            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.151
           Name                                                      8631            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.152
           Name                                                      4203            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.153
           Name                                                      9758            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.154
           Name                                                      8863            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.155
           Name                                                      8612            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.156
           Name                                                      3532            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.157
           Name                                                      8566            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.158
           Name                                                      8981            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.159
           Name                                                      9012            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.160
           Name                                                      9008            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.161
           Name                                                      8996            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.162
           Name                                                      8958            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.163
           Name                                                      8030            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.164
           Name                                                      9762            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.165
           Name                                                      8905            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.166
           Name                                                      8665            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.167
           Name                                                      9796            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor   Prime Trust, LLC_________________________________________________________     Case number (if known) 23-11162________________________________________
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  18.168
           Name                                                      8939            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.169
           Name                                                      3608            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.170
           Name                                                      8490            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.171
           Name                                                      8627            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other




  18.172
           Name                                                      9705            Checking               5/31/2023                                   $0.00
           Silicon Valley Bank
                                                                                     Savings
           Street
           3003 Tasman Dr                                                            Money market
           City                          State      Zip                              Brokerage
           Santa Clara                   CA         95054
                                                                                     Other
Debtor    Prime Trust, LLC_________________________________________________________                  Case number (if known) 23-11162________________________________________
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  18.173
             Name                                                             3570                Checking                  5/31/2023                                        $0.00
             Silicon Valley Bank
                                                                                                  Savings
             Street
             3003 Tasman Dr                                                                       Money market

             City                             State       Zip                                     Brokerage
             Santa Clara                      CA          95054
                                                                                                   Other




  19. Safe deposit boxes
  List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         None

   Depository institution name and address                       Names of anyone with access to it            Description of the contents                   Does debtor still have
                                                                                                                                                            it?

  19.1
             Name                                               (1) Confidential                             Laptops, Ledger keys                             No
             Lexicon Bank                                       (2) Confidential
                                                                                                                                                              Yes
             Street                                             Address
             330 S Rampart Blvd, Suite 150                      (1) Confidential
                                                                (2) Confidential
             City                    State     Zip
             Las Vegas               NV        89145

  20. Off-premises storage
  List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
  business.
         None

   Facility name and address                                     Names of anyone with access to it            Description of the contents                   Does debtor still have
                                                                                                                                                            it?

  20.1
             Name                                                                                                                                             No
                                                                Address
                                                                                                                                                              Yes
             Street


             City                    State     Zip



  Part 11:       Property the Debtor Holds or Controls that the Debtor Does Not Own

  21. Property held for another
  List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or rented
  property
         None

   Owner’s name and address                                      Location of the property                     Description of the property                   Value

  21.1
Debtor    Prime Trust, LLC_________________________________________________________                                Case number (if known) 23-11162________________________________________
          Name
                                            Case 23-11162-JKS                          Doc 5           Filed 09/22/23                 Page 76 of 1754
  Part 12:       Details About Environmental Information

  For the purpose of Part 12, the following definitions apply:
           Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected (air, land, water,
               or any other medium).


               Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or utilized.

               Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

         No.

         Yes. Provide details below.

   Case title                                           Court or agency name and address                                    Nature of the case                                 Status of case

  22.1
                                                        Name                                                                                                                       Pending
             Case Number
                                                                                                                                                                                   On appeal
                                                        Street
                                                                                                                                                                                   Concluded
                                                        City                                   State      Zip



  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
         No

         Yes. Provide details below.

   Site name and address                                Governmental unit name and address                                  Environmental law, if known                        Date of notice

  23.1
              Name                                      Name


              Street                                    Street


               City               State   Zip           City                                   State      Zip



  24. Has the debtor notified any governmental unit of any release of hazardous material?
         No

         Yes. Provide details below.

   Site name and address                                Governmental unit name and address                                  Environmental law, if known                        Date of notice

  24.1
              Name                                      Name


              Street                                    Street


               City               State   Zip           City                                   State      Zip
Debtor    Prime Trust, LLC_________________________________________________________                Case number (if known) 23-11162________________________________________
          Name
                                       Case 23-11162-JKS                  Doc 5         Filed 09/22/23              Page 77 of 1754
  Part 13:       Details About the Debtor's Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
  List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information even if
  already listed in the Schedules.

         None

   Business name and address                                  Describe the nature of the business                         Employer Identification number
                                                                                                                          Do not include Social Security number or ITIN.

  25.1
                                                             Payments application and platform with                       EIN        XX-XXXXXXX
             Banq. Inc                                       cryptocurrency capabilities for consumers. Banq. Inc
             7575 W. Washington Ave.                                                                                      Dates business existed
                                                             filled chapter 11 on 06/13/23.
             Suite 127-118                                                                                                From                         to

             Las Vegas, NV 89128                                                                                          7/9/2019                     12/20/2021



  25.2
                                                             Online capital-raising technology for equity                 EIN        XX-XXXXXXX
             Issuance Inc.
                                                             crowdfunding.
             17804 Bromley Ct.                                                                                            Dates business existed
             Encino, CA 91316                                                                                             From                         to
                                                                                                                          7/23/2021                    12/20/2021

  25.3
                                                             A Nevada limited liability company and the entity that       EIN        XX-XXXXXXX
             Prime Digital, LLC                              employs all non-Nevada employees who support the
             10845 Griffith Peak Dr., #03-153                                                                             Dates business existed
                                                             business operations of Prime Trust.
             Las Vegas, NV 89135                                                                                          From                         to
                                                                                                                          11/06/2018                   Present

  25.4
                                                             A Nevada limited liability company that was formed to        EIN        XX-XXXXXXX
             Prime IRA LLC                                   provide Prime Trust’s historic personal checkbook IRA
             10845 Griffith Peak Dr., #03-153                                                                             Dates business existed
                                                             services; however, the Company previously off-boarded
             Las Vegas, NV 89135                                                                                          From                         to
                                                             these services to alternative custodians. As a result,
                                                                                                                          09/23/2019                   Present
                                                             Prime IRA is no longer an operating entity.

  26. Books, records, and financial statements
  26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         None

   Name and address                                                                                                       Dates of service

  26a.1
                                                                                                                          From                         to
             Confidential                                                                                                 7/11/2022                    9/1/2022


  26a.2
                                                                                                                          From                         to
             Confidential                                                                                                 1/18/2021                    1/19/2021


  26a.3
                                                                                                                          From                         to
             Confidential                                                                                                 10/19/2021                   10/22/2021


  26a.4
                                                                                                                          From                         to
             Confidential                                                                                                 5/28/2019                    7/5/2023
Debtor    Prime Trust, LLC_________________________________________________________   Case number (if known) 23-11162________________________________________
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  26a.5
                                                                                                           From                        to
            Confidential                                                                                   2/16/2021                   2/1/2023


  26a.6
                                                                                                           From                        to
            Confidential                                                                                   5/25/2023                   Present


  26a.7
                                                                                                           From                        to
            Confidential                                                                                   2/27/2023                   Present


  26a.8
                                                                                                           From                        to
            Confidential                                                                                   2/16/2021                   3/5/2021


  26a.9
                                                                                                           From                        to
            Confidential                                                                                   2/27/2023                   3/17/2023


  26a.10
                                                                                                           From                        to
            Confidential                                                                                   7/12/2021                   3/1/2023


  26a.11
                                                                                                           From                        to
            Confidential                                                                                   4/5/2021                    7/8/2021


  26a.12
                                                                                                           From                        to
            Confidential                                                                                   10/12/2020                  2/9/2021


  26a.13
                                                                                                           From                        to
            Confidential                                                                                   3/14/2023                   7/26/2023


  26a.14
                                                                                                           From                        to
            Confidential                                                                                   10/17/2022                  8/15/2023


  26a.15
                                                                                                           From                        to
            Confidential                                                                                   2/18/2022                   2/1/2023


  26a.16
                                                                                                           From                        to
            Confidential                                                                                   3/2/2023                    Present


  26a.17
                                                                                                           From                        to
            Confidential
                                                                                                           2/27/2023                   Present


  26a.18
                                                                                                           From                        to
            Confidential                                                                                   1/24/2022                   5/3/2023
Debtor   Prime Trust, LLC_________________________________________________________   Case number (if known) 23-11162________________________________________
         Name
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  26a.19
                                                                                                          From                        to
           Confidential                                                                                   7/13/2020                   10/21/2022


  26a.20
                                                                                                          From                        to
           Confidential                                                                                   5/3/2021                    7/29/2021


  26a.21
                                                                                                          From                        to
           Confidential                                                                                   1/23/2023                   5/3/2023


  26a.22
                                                                                                          From                        to
           Confidential                                                                                   2/14/2022                   4/6/2023


  26a.23
                                                                                                          From                        to
           Confidential                                                                                   10/12/2020                  2/1/2021


  26a.24
                                                                                                          From                        to
           Confidential                                                                                   10/12/2020                  2/1/2021


  26a.25
                                                                                                          From                        to
           Confidential                                                                                   9/13/2021                   10/21/2022


  26a.26
                                                                                                          From                        to
           Confidential                                                                                   1/17/2022                   1/17/2022


  26a.27
                                                                                                          From                        to
           Confidential                                                                                   10/31/2022                  2/1/2023


  26a.28
                                                                                                          From                        to
           Confidential                                                                                   4/14/2021                   3/10/2023


  26a.29
                                                                                                          From                        to
           Confidential                                                                                   1/26/2021                   11/1/2022


  26a.30
                                                                                                          From                        to
           Confidential                                                                                   3/16/2020                   5/14/2021


  26a.31
                                                                                                          From                        to
           Confidential
                                                                                                          4/12/2021                   4/12/2021


  26a.32
                                                                                                          From                        to
           Confidential                                                                                   8/4/2021                    8/4/2021
Debtor    Prime Trust, LLC_________________________________________________________                 Case number (if known) 23-11162________________________________________
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  26a.33
                                                                                                                           From                          to
            Confidential                                                                                                   11/2/2021                     9/30/2022


  26a.34
                                                                                                                           From                          to
            Confidential                                                                                                   3/10/2021                     4/16/2021


  26a.35
                                                                                                                           From                          to
            Confidential                                                                                                   1/20/2021                     1/21/2021


  26a.36
                                                                                                                           From                          to
            Confidential                                                                                                   7/29/2019                     Present


  26a.37
                                                                                                                           From                          to
            Confidential                                                                                                   6/7/2021                      2/1/2023


  26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2 years before filing
  this case.
         None

   Name and address                                                                                                         Dates of service

  26b.1
                                                                                                                           From                          to
            Eide Bailly LLP
                                                                                                                           1/1/2021                      12/31/2021
            7001 E. Belleview Ave.
            Ste. 700
            Denver, CO 80237


  26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
         None

   Name and address                                                                                                         If any books of account and records are unavailable,
                                                                                                                            explain why

  26c.1

            Confidential


  26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years before
  filing this case.
         None

   Name and address

  26d.1

            Nevada Financial Institutions Division
            3300 W. Sahara Ave.
            Suite 250.
            Las Vegas, NV 89102
Debtor    Prime Trust, LLC_________________________________________________________                  Case number (if known) 23-11162________________________________________
          Name
                                      Case 23-11162-JKS                   Doc 5         Filed 09/22/23                Page 81 of 1754
  27. Inventories
  Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         No

         Yes. Give the details about the two most recent inventories.

   Name of the person who supervised the taking of the inventory                            Date of inventory                The dollar amount and basis (cost, market, or other
                                                                                                                             basis) of each inventory

  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the
  time of the filing of this case.
   Name and Address                                                                         Position and nature of any interest            % of interest, if any

  28.1
                                                                                           Director, Client Due Diligence
              Confidential



  28.2
                                                                                           Legal Director
              Confidential



  28.3
                                                                                           Manager
              Confidential



  28.4
                                                                                           Director, Software Engineering
              Confidential



  28.5
                                                                                           Chief Risk and Security Officer
              Confidential



  28.6
                                                                                           Senior Product Manager
              Confidential



  28.7
                                                                                           Manager (Chairman)                             1.6%
              Confidential



  28.8
                                                                                           Interim, Chief Executive Officer               0.1%
              Confidential



  28.9
                                                                                           General Counsel
              Confidential



  28.10
                                                                                           VP, Senior Trust Officer
              Confidential



  28.11
                                                                                           Manager
              Confidential
Debtor    Prime Trust, LLC_________________________________________________________              Case number (if known) 23-11162________________________________________
          Name
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  28.12
                                                                                          Chief of Staff and SVP of Business
              Confidential                                                                Development


  28.13
                                                                                          Senior Director of Customer Success
              Confidential



  28.14
                                                                                          Chief Revenue Officer
              Confidential



  28.15
                                                                                          Manager
              Confidential



  28.16
                                                                                          SVP of Customer Success
              Confidential



  28.17
                                                                                          Chief Financial Officer
              Confidential



  28.18
                                                                                          Parent Company                              100%
              Prime Core Technologies Inc.
              10845 Griffith Peak Dr., #03-153
              Las Vegas, NV 89135


  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
  shareholders in control of the debtor who no longer hold these positions?
         No

         Yes. Identify below.

   Name and Address                                                                        Position and nature of any interest         Period during which position or
                                                                                                                                       interest was held

  29.1
                                                                                          Assistant Secretary                         From                  to
              Confidential                                                                                                            11/9/2021             1/19/2023


  29.2
                                                                                          AML & BSA Officer                           From                  to
              Confidential                                                                                                            1/19/2023             7/28/2023


  29.3
                                                                                          Chief Marketing Officer                     From                  to
              Confidential
                                                                                                                                      1/19/2023             4/21/2023


  29.4
                                                                                          Chief Risk and Security Officer             From                  to
              Confidential                                                                                                            9/28/2021             2/10/2023


  29.5
                                                                                          Chief Privacy Officer                       From                  to
              Confidential                                                                                                            1/19/2023             8/11/2023
Debtor    Prime Trust, LLC_________________________________________________________          Case number (if known) 23-11162________________________________________
          Name
                                   Case 23-11162-JKS                Doc 5       Filed 09/22/23                  Page 83 of 1754

  29.6
                                                                                      Manager                                   From                 to
            Confidential                                                                                                        5/3/2022             12/3/2022


  29.7
                                                                                      Secretary                                 From                 to
            Confidential                                                                                                        2/16/2021            1/19/2023


  29.8
                                                                                      Chief Human Resources Officer             From                 to
            Confidential                                                                                                        1/19/2023            8/11/2023


  29.9
                                                                                      SVP, Head of Financial Ops                From                 to
            Confidential                                                                                                        1/19/2023            7/3/2023


  29.10
                                                                                      Nevada Resident Trust Officer             From                 to
            Confidential                                                                                                        12/19/2022           7/3/2023


  29.11
                                                                                      Opearting Manager                         From                 to
            Confidential                                                                                                        1/19/2023            7/31/2023


  29.12
                                                                                      Chief Operating Officer                   From                 to
            Confidential                                                                                                        9/28/2021            2/10/2023


  29.13
                                                                                      Chief Compliance Officer and BSA          From                 to
            Confidential                                                              Officer                                   7/13/2021            2/1/2023


  29.14
                                                                                      Chief Financial Officer and Treasurer     From                 to
            Confidential                                                                                                        9/28/2021            11/1/2022


  29.15
                                                                                      SVP, Head of Legal                        From                 to
            Confidential                                                                                                        1/19/2023            8/11/2023


  29.16
                                                                                      Chief Compliance Officer                  From                 to
            Confidential                                                                                                        1/19/2023            8/11/2023


  29.17
                                                                                      Chief Executive Officer, President        From                 to
            Confidential                                                                                                        9/28/2021            12/15/2022


  29.18
                                                                                      Chief Operating Officer                   From                 to
            Confidential
                                                                                                                                5/26/2020            12/15/2022


  29.19
                                                                                      Opearting Manager                         From                 to
            Confidential                                                                                                        9/28/2021            12/15/2022
Debtor    Prime Trust, LLC_________________________________________________________                 Case number (if known) 23-11162________________________________________
          Name
                                      Case 23-11162-JKS                    Doc 5         Filed 09/22/23              Page 84 of 1754
  30. Payments, distributions, or withdrawals credited or given to insiders
  Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on loans,
  stock redemptions, and options exercised?
         No

         Yes. Identify below.

   Name and address of recipient                                              Amount of money or description and            Dates                         Reason for providing
                                                                              value of property                                                           the value

  30.1

              See Attached SOFA 4 Exhibit



   Relationship To Debtor




  31.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         No

         Yes. Identify below.

   Name of the parent corporation                                                                                           Employer Identification number of the parent
                                                                                                                            corporation

  31.1
           Prime Core Technologies, Inc.                                                                                   EIN       XX-XXXXXXX

  32.Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         No

         Yes. Identify below.

   Name of the pension fund                                                                                                 Employer Identification number of the pension fund

  32.1
                                                                                                                           EIN
                                                           Case 23-11162-JKS                     DocSOFA
                                                                                                      5 3 ATTACHMENT
                                                                                                           Filed 09/22/23                            Page 85 of 1754
                                                                                                                Vendors
                                                                             Certain payments or transfers to creditors within 90 days before filing this case

                    Creditor's Name                    Address 1                     Address 2                        City          State    ZIP         Country   Payment Date    Payment Amount        Reason for Payment or Transfer
  3.1   1Password                           4711 Yonge Street, 10th Floor                                   Toronto                 ON    M2N 6K8        Canada        7/17/2023          21,572.50   Annual subscription software
                                                                                                                                                                          TOTAL           21,572.50
  3.2   Agile Thought LLC                   222 W Las Colinas Boulevard     Urban Towers Suite 1650 E       Irving                  TX      75039                      5/18/2023           9,680.00   Monthly Outsourced Services
  3.3   Agile Thought LLC                   222 W Las Colinas Boulevard     Urban Towers Suite 1650 E       Irving                  TX      75039                      7/21/2023           8,360.00   Monthly Outsourced Services
  3.4   Agile Thought LLC                   222 West Las Colinas Blvd                                       Irving                  TX      75039                       6/5/2023           7,921.50   Engineering contractor fee
                                                                                                                                                                          TOTAL           25,961.50
  3.5   Allsec Technologies Limited         6303 Commerce Dr., Ste. #175                                    Irving                  TX      75063                       6/5/2023          86,214.00   Compliance contractor fee
                                                                                                                                                                          TOTAL           86,214.00
  3.6   Alpha Surety, a Gallagher Company   One Financial Centre            650 S. Shackleford Rd.,         Little Rock             AR      72211                                        186,125.00   Surety Bonds
                                                                            Ste. 325                                                                                    6/2/2023
  3.7   Alpha Surety, a Gallagher Company   One Financial Centre            650 S. Shackleford Rd.,         Little Rock             AR      72211                                        142,500.00 Addl. Surety Bond for Arkansas
                                                                            Ste. 325                                                                                    6/9/2023
  3.8   Alpha Surety, a Gallagher Company   One Financial Centre            650 S. Shackleford Rd.,         Little Rock             AR      72211                                          4,780.00 Arkansas Bond
                                                                            Ste. 325                                                                                   6/15/2023
                                                                                                                                                                          TOTAL          333,405.00
  3.9   Amazon Web Services                 PO Box 84023                                                    Seattle                 WA      98124-8423                 8/14/2023         157,633.59   Hosting Fee: IaaS platform
 3.10   Amazon Web Services                 PO Box 84023                                                    Seattle                 WA      98124-8423                 7/13/2023         157,242.62   Hosting Fee: IaaS platform
 3.11   Amazon Web Services                 PO Box 84023                                                    Seattle                 WA      98124-8423                 8/14/2023             104.16   Hosting Fee: IaaS platform
 3.12   Amazon Web Services                 PO Box 84023                                                    Seattle                 WA      98124-8423                 7/13/2023             100.80   Hosting Fee: IaaS platform
                                                                                                                                                                          TOTAL          315,081.17
 3.13   Anchorage Digital Bank N.A          101 S. Reid Street, Suite 329                                   Sioux Falls             SD      57103                       6/1/2023           2,501.50   Monthly Bank Fees
 3.14   Anchorage Digital Bank N.A          101 S. Reid Street, Suite 329                                   Sioux Falls             SD      57103                      6/15/2023           2,501.50   Monthly Bank Fees
 3.15   Anchorage Digital Bank N.A          101 S. Reid Street, Suite 329                                   Sioux Falls             SD      57103                      5/24/2023           2,500.00   Monthly Bank Fees
 3.16   Anchorage Digital Bank N.A          101 S. Reid Street, Suite 329                                   Sioux Falls             SD      57103                      5/25/2023           2,500.00   Monthly Bank Fees
 3.17   Anchorage Digital Bank N.A          101 S. Reid Street, Suite 329                                   Sioux Falls             SD      57103                      5/25/2023           2,500.00   Monthly Bank Fees
                                                                                                                                                                          TOTAL           12,503.00
 3.18 Ankura, dba Chartwell                 PO Box 74007043                                                 Chicago                 IL      60674-7043                 8/10/2023          17,882.00   Monthly Legal Services
 3.19 Ankura, dba Chartwell                 PO Box 74007043                                                 Chicago                 IL      60674-7043                  6/1/2023           5,752.50   Monthly Legal Services
 3.20 Ankura, dba Chartwell                 PO Box 74007043                                                 Chicago                 IL      60674-7043                 7/17/2023           2,040.00   Monthly Legal Services
                                                                                                                                                                          TOTAL           25,674.50
 3.21 Anthem                                700 Broadway                                                    Denver                  CO      80273                       7/3/2023         171,557.82   Health Insurance
 3.22 Anthem                                700 Broadway                                                    Denver                  CO      80273                       8/2/2023         159,013.81   Health Insurance
                                                                                                                                                                          TOTAL          330,571.63
 3.23 Anthem Blue Cross                     700 Broadway                                                    Denver                  CO      80273                       6/2/2023         174,732.34   Health Insurance
                                                                                                                                                                          TOTAL          174,732.34
 3.24 Blockdaemon Ltd                       10 Inge Lehmanns Gade                                           Aarhus                          8000         Denmark       6/14/2023          50,001.50   Engineering software
                                                                                                                                                                          TOTAL           50,001.50
 3.25 BMO Harris                            111 West Monroe, PO Box 755                                     Chicago                 IL      60690                      6/22/2023          55,747.31   BMO Harris Bank Fee
                                                                                                                                                                          TOTAL           55,747.31
 3.26 BMO Harris Bank                       111 West Monroe                                                 Chicago                 IL      60690                      5/22/2023          48,134.38   Bank Fee
                                                                                                                                                                          TOTAL           48,134.38
 3.27 BMO Harris Bank N.A.                  111 West Monroe                                                 Chicago                 IL      60690                      7/24/2023          45,112.71   Monthly Analysis Fee
                                                                                                                                                                          TOTAL           45,112.71
 3.28 BMO Harris to account 1823            111 West Monroe, PO Box 755                                     Chicago                 IL      60690                       6/9/2023              68.22   Payroll
                                                                                                                                                                          TOTAL               68.22
 3.29   Brex                                650 South 500 West, Suite 209                                   Salt Lake City          UT      84101                       7/7/2023          50,000.00   Credit card Payment
 3.30   Brex                                650 South 500 West, Suite 209                                   Salt Lake City          UT      84101                       7/7/2023          25,000.00   Credit card Payment
 3.31   Brex                                650 South 500 West, Suite 209                                   Salt Lake City          UT      84101                       7/7/2023          18,709.29   Credit card Payment
 3.32   Brex                                650 South 500 West, Suite 209                                   Salt Lake City          UT      84101                       7/7/2023          12,896.71   Credit card Payment
 3.33   Brex                                650 South 500 West, Suite 209                                   Salt Lake City          UT      84101                       7/5/2023           2,540.47   Employee Expense Reimbursement
 3.34   Brex                                650 South 500 West, Suite 209                                   Salt Lake City          UT      84101                       8/7/2023           1,939.35   Employee Expense Reimbursement
 3.35   Brex                                650 South 500 West, Suite 209                                   Salt Lake City          UT      84101                       8/2/2023             915.13   Employee Expense Reimbursement
 3.36   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                      6/26/2023         277,271.55   Brex credit card payment
 3.37   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                       6/8/2023           6,170.39   Employee Reimbursement
 3.38   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                       6/6/2023           1,801.50   Brex software fee
 3.39   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                       6/6/2023             652.76   Employee Reimbursement
 3.40   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                      6/26/2023             606.97   Employee Reimbursement
 3.41   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                      6/15/2023             477.69   Employee Reimbursement
 3.42   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                       6/9/2023             277.71   Employee Reimbursement
 3.43   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                       6/5/2023             231.43   Employee Reimbursement
 3.44   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                      6/14/2023             160.00   Employee Reimbursement
 3.45   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                      6/28/2023             149.99   Employee Reimbursement
 3.46   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                      6/13/2023              25.00   Employee Reimbursement
 3.47   Brex                                650 South 500 West, Ste. #209                                   Salt Lake City          UT      84101                      6/16/2023              25.00   Employee Reimbursement



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                                                                         Certain payments or transfers to creditors within 90 days before filing this case

                    Creditor's Name               Address 1                      Address 2                       City           State     ZIP         Country   Payment Date    Payment Amount           Reason for Payment or Transfer
 3.48   Brex                          650 South 500 West, Ste. #209                                     Salt Lake City          UT    84101                         6/27/2023              25.00   Employee Reimbursement
 3.49   Brex                          650 South 500 West, Suite 209                                     Salt Lake City          UT    84101                         7/31/2023          18,000.00   Credit card Payment
 3.50   Brex                          650 South 500 West, Suite 209                                     Salt Lake City          UT    84101                         5/18/2023           1,806.67   Bill payment
 3.51   Brex                          650 South 500 West, Suite 209                                     Salt Lake City          UT    84101                         7/17/2023           1,800.00   Employee Expense Reimbursement
                                                                                                                                                                       TOTAL          421,482.61
 3.52   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/26/2023         266,906.91   Brex credit card payment
 3.53   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023           1,420.40   Employee Expense Reimbursement
 3.54   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/19/2023           1,213.25   Employee Expense Reimbursement
 3.55   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023             662.36   Employee Expense Reimbursement
 3.56   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023             585.39   Employee Expense Reimbursement
 3.57   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023             512.04   Employee Expense Reimbursement
 3.58   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023             479.98   Employee Expense Reimbursement
 3.59   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/17/2023             399.00   Employee Expense Reimbursement
 3.60   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023             363.46   Employee Expense Reimbursement
 3.61   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/26/2023             333.54   Employee Expense Reimbursement
 3.62   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/26/2023             299.77   Employee Expense Reimbursement
 3.63   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/26/2023             158.98   Employee Expense Reimbursement
 3.64   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/19/2023             144.00   Employee Expense Reimbursement
 3.65   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/18/2023             140.18   Employee Expense Reimbursement
 3.66   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/26/2023             113.98   Employee Expense Reimbursement
 3.67   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/17/2023             100.00   Employee Expense Reimbursement
 3.68   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/26/2023             100.00   Employee Expense Reimbursement
 3.69   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/26/2023              99.99   Employee Expense Reimbursement
 3.70   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/26/2023              99.99   Employee Expense Reimbursement
 3.71   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023              95.42   Employee Expense Reimbursement
 3.72   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/31/2023              95.20   Employee Expense Reimbursement
 3.73   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/18/2023              83.99   Employee Expense Reimbursement
 3.74   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/17/2023              79.00   Employee Expense Reimbursement
 3.75   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023              56.59   Employee Expense Reimbursement
 3.76   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023              53.09   Employee Expense Reimbursement
 3.77   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/19/2023              52.75   Employee Expense Reimbursement
 3.78   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/30/2023              45.00   Employee Expense Reimbursement
 3.79   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/30/2023              43.75   Employee Expense Reimbursement
 3.80   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/31/2023              39.99   Employee Expense Reimbursement
 3.81   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023              35.00   Employee Expense Reimbursement
 3.82   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023              35.00   Employee Expense Reimbursement
 3.83   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/31/2023              30.84   Employee Expense Reimbursement
 3.84   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/16/2023              25.00   Employee Expense Reimbursement
 3.85   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/16/2023              25.00   Employee Expense Reimbursement
 3.86   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/25/2023              25.00   Employee Expense Reimbursement
 3.87   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/25/2023              25.00   Employee Expense Reimbursement
 3.88   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/25/2023              25.00   Employee Expense Reimbursement
 3.89   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/25/2023              25.00   Employee Expense Reimbursement
 3.90   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/31/2023              25.00   Employee Expense Reimbursement
 3.91   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/18/2023              23.17   Employee Expense Reimbursement
 3.92   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/25/2023              22.99   Employee Expense Reimbursement
 3.93   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/31/2023              20.69   Employee Expense Reimbursement
 3.94   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/18/2023              19.00   Employee Expense Reimbursement
 3.95   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/26/2023              16.92   Employee Expense Reimbursement
 3.96   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/30/2023              13.27   Employee Expense Reimbursement
 3.97   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/23/2023              12.83   Employee Expense Reimbursement
 3.98   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/26/2023              12.50   Employee Expense Reimbursement
 3.99   Brex Inc.                     650 South 500 West, Suite 209                                     Salt Lake City          UT      84101                       5/25/2023              10.42   Employee Expense Reimbursement
                                                                                                                                                                       TOTAL          275,205.63
3.100 C001153 Electric Solidus        26565 Aougra Road, Suite 200                                      Calabasas               CA      91302                       6/13/2023          48,162.53   Liquidity Revenue Share
                                                                                                                                                                       TOTAL           48,162.53
3.101 Cahill Gordon & Reindel         32 Old Slip,                                                      New York                NY      10005                       6/26/2023       2,500,000.00   Legal Fees
                                                                                                                                                                       TOTAL        2,500,000.00
3.102 Cloudflare                      101 Townsend Street                                               San Francisco           CA      94107                        6/5/2023           9,151.21   Engineering software
3.103 Cloudflare                      101 Townsend Street                                               San Francisco           CA      94107                       7/17/2023           9,149.71   Monthly Software Fee
3.104 Cloudflare                      101 Townsend Street                                               San Francisco           CA      94107                       7/17/2023           8,649.71   Monthly Software Fee
3.105 Cloudflare                      101 Townsend Street                                               San Francisco           CA      94107                       7/17/2023             500.00   Monthly Software Fee
                                                                                                                                                                       TOTAL           27,450.63
3.106 Cooley LLP                      3 Embarcadero Center, 20th Floor                                  San Francisco           CA      94111                       6/13/2023       3,000,000.00   Legal Fees
3.107 Cooley LLP                      3 Embarcadero Center, 20th Floor                                  San Francisco           CA      94111                        6/5/2023         155,270.17   Legal Fees



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3.108 Cooley LLP                            3 Embarcadero Center, 20th Floor                                  San Francisco           CA    94111-4004                 8/11/2023         240,339.04   Monthly Legal Services
3.109 Cooley LLP                            3 Embarcadero Center, 20th Floor                                  San Francisco           CA    94111-4004                  8/7/2023         165,141.30   Monthly Legal Services
3.110 Cooley LLP                            3 Embarcadero Center, 20th Floor                                  San Francisco           CA    94111-4004                 8/10/2023         133,512.48   Monthly Legal Services
                                                                                                                                                                          TOTAL        3,694,262.99
3.111 Cross River Bank                      885 Teaneck Road                                                  Teaneck                 NJ      07666                     6/9/2023          54,002.37   System license fee
3.112 Cross River Bank                      885 Teaneck Road                                                  Teaneck                 NJ      07666                    7/17/2023          25,000.00   Monthly NonRail & ACH Fee
                                                                                                                                                                          TOTAL           79,002.37
3.113 Crowell Moring                        590 Madison Avenue, 20th Floor                                    New York                NY      10022-2524               5/18/2023          22,705.50   Monthly Legal Services
3.114 Crowell Moring                        590 Madison Avenue, 20th Floor                                    New York                NY      10022-2524               8/11/2023           8,090.50   Monthly Legal Services
                                                                                                                                                                          TOTAL           30,796.00
3.115 Datadog                               620 8th Avenue, FL 45                                             New York                NY      10018                     6/1/2023         202,741.50   Monthly Software Fee
3.116 Datadog                               620 8th Avenue, FL 45                                             New York                NY      10018                    8/11/2023           4,587.81   Monthly Software Fee
3.117 Datadog                               620 8th Avenue, FL 45                                             New York                NY      10018                    7/17/2023           3,088.98   Monthly Software Fee
3.118 Datadog                               620 8th Avenue, FL 45                                             New York                NY      10018                     6/5/2023           1,328.16   Monthly Software Fee
3.119 Datadog                               620 8th Avenue, FL 45                                             New York                NY      10018                    5/18/2023             810.63   Monthly Software Fee
3.120 Datadog                               620 8th Avenue, FL 45                                             New York                NY      10018                    7/17/2023               2.96   Monthly Software Fee
                                                                                                                                                                          TOTAL          212,560.04
3.121 Deel                                  425 1st Street, Unit #1502                                        San Francisco           CA      94105                    6/27/2023          91,994.21   Contractor Fee
3.122 Deel                                  425 1st Street, Unit #1502                                        San Francisco           CA      94105                     6/1/2023          13,618.77   Contractor Fee
3.123 Deel                                  425 1st Street, Unit #1502                                        San Francisco           CA      94105                    6/28/2023             622.24   Contractor Fee
3.124 Deel                                  425 1st Street, Unit #1502                                        San Francisco           CA      94105                    6/29/2023             621.19   Contractor Fee
3.125 Deel                                  425 1st Street, Unit 1502                                         San Francisco           CA      94105                    7/28/2023          91,878.16   Monthly Outsourced Services
3.126 Deel                                  425 1st Street, Unit 1502                                         San Francisco           CA      94105                     7/6/2023          13,395.43   Monthly Outsourced Services
3.127 Deel                                  425 1st Street, Unit 1502                                         San Francisco           CA      94105                     8/2/2023          13,312.03   Monthly Outsourced Services
3.128 Deel                                  425 1st Street, Unit 1502                                         San Francisco           CA      94105                    7/28/2023           1,858.92   Monthly Outsourced Services
                                                                                                                                                                          TOTAL          227,300.95
3.129 Deel, Inc.                            425 1st Street, Unit 1502                                         San Francisco           CA      94105                    5/30/2023          89,984.39   Monthly Outsourced Services
3.130 Deel, Inc.                            425 1st Street, Unit 1502                                         San Francisco           CA      94105                    5/25/2023          27,738.20   Monthly Outsourced Services
                                                                                                                                                                          TOTAL          117,722.59
3.131 DocuSign Inc.                         PO Box 735445, Ste. #1000                                         Dallas                  TX      75373                     6/5/2023          39,929.50   Software Expense
                                                                                                                                                                          TOTAL           39,929.50
3.132 Empowering Technology Solutions LLC   8275 N 2200 East Road                                             Downs                   IL      61736                     6/5/2023           7,959.00   Monthly Cisco Meraki Network Fee
3.133 Empowering Technology Solutions LLC   8275 N 2200 East Road                                             Downs                   IL      61736                    7/17/2023           7,957.50   Monthly Cisco Meraki Network Fee
                                                                                                                                                                          TOTAL           15,916.50
3.134 Equity Trust Company                  1 Equity Way                                                      Westlake                OH      44145                     6/5/2023           7,089.12   Operations annual maintenance fee
3.135 Equity Trust Company                  1 Equity Way                                                      Westlake                OH      44145                     6/2/2023           3,124.82   Annual Maintenance Fee
                                                                                                                                                                          TOTAL           10,213.94
3.136 Forter                                575 Fifth Avenue                                                  New York                NY      10017                     6/5/2023           5,926.62   Chargeback fraud prevention fee
3.137 Forter                                575 Fifth Avenue                                                  New York                NY      10017                     6/5/2023           5,034.78   Chargeback fraud prevention fee
3.138 Forter                                575 Fifth Avenue                                                  New York                NY      10017                    7/21/2023           4,273.80   Monthly Fraud Prevention Fee
                                                                                                                                                                          TOTAL           15,235.20
3.139 FTI Consulting                        PO Box 418005                                                     Boston                  MA      2241                      6/8/2023          50,000.00   Good faith deposit
                                                                                                                                                                          TOTAL           50,000.00
3.140 Galaxy Digital Partners LLC           300 Vesey Street, 13th Floor                                      New York                NY      10282                    8/14/2023          13,709.68   Retainer Fee
                                                                                                                                                                          TOTAL           13,709.68
3.141 Goodwin Procter LLP                   Three Embarcadero Center                                          San Francisco           CA      94111                    8/10/2023         215,394.49   Monthly Legal Services
3.142 Goodwin Procter LLP                   Three Embarcadero Center                                          San Francisco           CA      94111                    5/24/2023          11,725.23   Monthly Legal Services
3.143 Goodwin Procter LLP                   Three Embarcadero Center                                          San Francisco           CA      94111                    5/24/2023          11,596.25   Monthly Legal Services
3.144 Goodwin Procter LLP                   Three Embarcadero Center                                          San Francisco           CA      94111                    8/10/2023           4,912.50   Monthly Legal Services
3.145 Goodwin Procter LLP                   Three Embarcadero Center                                          San Francisco           CA      94111                    6/13/2023           1,529.00   Monthly Legal Services
3.146 Goodwin Procter LLP                   Three Embarcadero Center                                          San Francisco           CA      94111                    6/13/2023           1,266.18   Monthly Legal Services
3.147 Goodwin Procter LLP                   Three Embarcadero Center                                          San Francisco           CA      94111                    5/18/2023             879.50   Monthly Legal Services
3.148 Goodwin Procter LLP                   Three Embarcadero Center                                          San Francisco           CA      94111                    6/13/2023             438.00   Monthly Legal Services
3.149 Goodwin Procter LLP                   Three Embarcadero Center                                          San Francisco           CA      94111                    7/17/2023             352.50   Monthly Legal Services
                                                                                                                                                                          TOTAL          248,093.65
3.150 Google LLC                            1600 Amphitheatre Parkway                                         Mountain View           CA      94043                    5/24/2023          31,326.00   Quarterly Looker Subscription Fee
                                                                                                                                                                          TOTAL           31,326.00
3.151 Greenbax , Inc. dba Zip               1 Sansome Street, Suite 3000                                      San Francisco           CA      94104                    7/17/2023          16,750.00   Quarterly Procure-to-Pay fee
3.152 Greenbax , Inc. dba Zip               1 Sansome Street, Suite 3000                                      San Francisco           CA      94104                    7/17/2023          12,500.00   Quarterly Intake-to-Procure fee
3.153 Greenbax , Inc. dba Zip               1 Sansome Street, Suite 3000                                      San Francisco           CA      94104                    7/17/2023          12,500.00   Quarterly Intake-to-Procure Q1 fee
3.154 Greenbax , Inc. dba Zip               1 Sansome Street, Suite 3000                                      San Francisco           CA      94104                    7/17/2023          12,500.00   Quarterly Intake-to-Procure Q2 fee
                                                                                                                                                                          TOTAL           54,250.00
3.155 Guideline 401K                        1412 Chapin Avenue                                                Burlingame              CA      94010                    5/22/2023          78,327.54   Employee 401K Contribution
3.156 Guideline 401K                        1412 Chapin Avenue                                                Burlingame              CA      94010                     7/5/2023          71,333.90   Employee 401K Contribution



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3.157 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           5/2/2023          56,922.58 Employee 401K Contribution
3.158 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           6/6/2023          54,742.85 Employee 401K Contribution
3.159 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                          6/20/2023          53,778.93 Employee 401K Contribution
3.160 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                          7/18/2023          49,491.24 Employee 401K Contribution
3.161 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           8/4/2023          43,170.93 Employee 401K Contribution
3.162 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                          5/18/2023           4,799.71 Employee 401K Contribution
3.163 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           5/2/2023           4,482.55 Employee 401K Contribution
3.164 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           6/5/2023           3,774.38 Employee 401K Contribution
3.165 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                          6/20/2023           2,584.62 Employee 401K Contribution
3.166 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           7/5/2023           2,503.37 Employee 401K Contribution
3.167 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                          7/18/2023           2,301.28 Employee 401K Contribution
3.168 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           8/7/2023           1,724.20 Employee 401K Contribution
3.169 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                          7/20/2023             133.34 Employee 401K Contribution
3.170 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           6/9/2023              68.22 Employee 401K Contribution
3.171 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           8/9/2023              66.29 Employee 401K Contribution
3.172 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           7/7/2023              20.63 Employee 401K Contribution
3.173 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                          7/10/2023              20.00 Employee 401K Contribution
3.174 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                          6/16/2023              15.02 Employee 401K Contribution
3.175 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                          7/13/2023              13.30 Employee 401K Contribution
3.176 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           8/8/2023              10.85 Employee 401K Contribution
3.177 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                           5/4/2023               1.47 Employee 401K Contribution
3.178 Guideline 401K                1412 Chapin Avenue                                               Burlingame              CA    94010                          6/16/2023               0.07 Employee 401K Contribution
                                                                                                                                                                     TOTAL          430,287.27
3.179 Guideline Retire              1412 Chapin Avenue                                               Burlingame              CA     94010                      5/9/2023               1,240.00 401k service fee
3.180 Guideline Retire              1412 Chapin Avenue                                               Burlingame              CA     94010                      6/6/2023               1,232.00 401k service fee
3.181 Guideline Retire              1412 Chapin Avenue                                               Burlingame              CA     94010                      7/6/2023               1,130.24 401k service fee
3.182 Guideline Retire              1412 Chapin Avenue                                               Burlingame              CA     94010                      8/7/2023               1,096.00 401k service fee
3.183 Guideline Retire              1412 Chapin Avenue                                               Burlingame              CA     94010                      5/9/2023                 425.00 401k service fee
3.184 Guideline Retire              1412 Chapin Avenue                                               Burlingame              CA     94010                      6/6/2023                 417.00 401k service fee
3.185 Guideline Retire              1412 Chapin Avenue                                               Burlingame              CA     94010                      7/6/2023                 409.00 401k service fee
3.186 Guideline Retire              1412 Chapin Avenue                                               Burlingame              CA     94010                      8/7/2023                 393.00 401k service fee
                                                                                                                                                                     TOTAL            6,342.24
3.187 HWA International Inc         8363 Wolf Lake Drive, Suite 101                                  Memphis                 TN      38133                        6/12/2023          12,671.50 Monthly Software Fee
3.188 HWA International Inc         8363 Wolf Lake Drive, Suite 101                                  Memphis                 TN      38133                        6/12/2023           5,397.50 Monthly Software Fee
3.189 HWA International Inc         8363 Wolf Lake Drive, Suite 101                                  Memphis                 TN      38133                        6/12/2023             725.50 Monthly Software Fee
3.190 HWA International Inc         8363 Wolf Lake Drive, Suite 101                                  Memphis                 TN      38133                        6/12/2023             605.50 Monthly Software Fee
3.191 HWA International Inc         8363 Wolf Lake Drive, Suite 101                                  Memphis                 TN      38133                        6/12/2023             363.50 Monthly Software Fee
                                                                                                                                                                     TOTAL           19,763.50
3.192 Hyland Law PLLC               1818 Library Street, Suite 500                                   Reston                  VA      20190                        8/11/2023           7,850.00 Monthly Legal Services
                                                                                                                                                                     TOTAL            7,850.00
3.193 Innovest Systems LLC          PO Box 411061                                                    Boston                  MA      02241-1061                   8/11/2023        151,200.00 Monthly Outsourced Services
3.194 Innovest Systems LLC          PO Box 411061                                                    Boston                  MA      02241-1061                    6/1/2023          75,662.06 Monthly Outsourced Services
3.195 Innovest Systems LLC          PO Box 411061                                                    Boston                  MA      02241-1061                   7/17/2023          75,659.88 Monthly Outsourced Services
                                                                                                                                                                     TOTAL          302,521.94
3.196 JDW Group LLC                 8414 Farm Road, Suite 180-321                                    North Las Vegas         NV      89131                        8/11/2023          58,650.00 Receiver Fee
3.197 JDW Group LLC                 8414 Farm Road, Suite 180-321                                    North Las Vegas         NV      89131                        8/11/2023          25,000.00 Special Committee Member Fee
                                                                                                                                                                     TOTAL           83,650.00
3.198 John Guedry                   Address Redacted                                                                                                              8/11/2023          58,650.00 Receiver Fee
3.199 John Guedry                   Address Redacted                                                                                                              8/11/2023          25,000.00 Special Committee Member Fee
                                                                                                                                                                     TOTAL           83,650.00
3.200 Confidential Creditor                                                                                                                                       6/13/2023           4,501.50 Finance contractor fee
3.201 Confidential Creditor                                                                                                                                       7/12/2023           4,125.00 Contractor
3.202 Confidential Creditor                                                                                                                                       7/21/2023           3,975.00 Contractor
3.203 Confidential Creditor                                                                                                                                       8/11/2023           3,001.50 Procurement Contractor
3.204 Confidential Creditor                                                                                                                                       7/12/2023           3,000.00 Contractor
3.205 Confidential Creditor                                                                                                                                       7/12/2023           2,625.00 Contractor
3.206 Confidential Creditor                                                                                                                                       7/21/2023           2,625.00 Contractor
3.207 Confidential Creditor                                                                                                                                        6/9/2023           2,326.50 Finance contractor fee
3.208 Confidential Creditor                                                                                                                                       7/12/2023           2,250.00 Contractor
3.209 Confidential Creditor                                                                                                                                       7/21/2023           2,250.00 Contractor
3.210 Confidential Creditor                                                                                                                                        6/9/2023           1,201.50 Finance contractor fee
                                                                                                                                                                     TOTAL           31,881.00
3.211 LEXISNEXIS RISK SOLUTIONS     28330 Network Place                                              Chicago                 IL      60673-1283                    6/5/2023          30,295.85 Monthly Background Check Fee
3.212 LEXISNEXIS RISK SOLUTIONS     28330 Network Place                                              Chicago                 IL      60673-1283                   7/17/2023          27,452.90 Monthly Background Check Fee
3.213 LEXISNEXIS RISK SOLUTIONS     28330 Network Place                                              Chicago                 IL      60673-1283                    6/9/2023           7,647.00 Monthly Background Check Fee



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                Creditor's Name                     Address 1                        Address 2                         City          State     ZIP    Country     Payment Date    Payment Amount         Reason for Payment or Transfer
3.214 LEXISNEXIS RISK SOLUTIONS          28330 Network Place                                                Chicago                 IL     60673-1283                  6/9/2023           4,377.50    Monthly Background Check Fee
3.215 LEXISNEXIS RISK SOLUTIONS          28330 Network Place                                                Chicago                 IL     60673-1283                 7/17/2023           1,911.50    Monthly Background Check Fee
3.216 LEXISNEXIS RISK SOLUTIONS          28330 Network Place                                                Chicago                 IL     60673-1283                 7/17/2023              63.00    Monthly Background Check Fee
                                                                                                                                                                         TOTAL           71,747.75
3.217 LinkedIn                           62228 Collections Center Drive                                     Chicago                 IL      60693-0622                5/18/2023          10,614.04    Monthly Advertising Fee
3.218 LinkedIn                           62228 Collections Center Drive                                     Chicago                 IL      60693-0622                5/18/2023           4,748.38    Monthly Advertising Fee
                                                                                                                                                                         TOTAL           15,362.42
3.219 LTL Attorneys LLP                  330 S. Grand Ave., Ste. 3950                                       Los Angeles             CA      90071                      6/2/2023          60,000.00    Legal Fees
3.220 LTL Attorneys LLP                  300 S. Grand Avenue, Suite 3950                                    Los Angeles             CA      90071                     8/11/2023          54,411.50    Monthly Legal Services
                                                                                                                                                                         TOTAL          114,411.50
3.221 Lucid Software Inc.                10355 South Jordan Gateway,                                        South Jordan            UT      84095                                        20,001.50    Annual Software Fee
                                         Suite 300                                                                                                                     6/1/2023
                                                                                                                                                                         TOTAL            20,001.50
3.222 M3 Advisory Partners, LP           1700 Broadway, 19th Floor                                          New York                NY      10019                      8/4/2023          250,000.00   Retainer Fee
3.223 M3 Advisory Partners, LP           1700 Broadway, 19th Floor                                          New York                NY      10019                     8/11/2023          250,000.00   Retainer Fee
                                                                                                                                                                         TOTAL           500,000.00
3.224 McDermott Will & Emery             One Vanderbilt Avenue                                              New York                NY      10017-3852                 8/8/2023          475,000.00   Retainer Fee
3.225 McDermott Will & Emery             One Vanderbilt Avenue                                              New York                NY      10017-3852                 8/2/2023          400,000.00   Retainer Fee
3.226 McDermott Will & Emery             One Vanderbilt Avenue                                              New York                NY      10017-3852                7/24/2023           75,000.00   Retainer Fee
3.227 McDermott Will & Emery             One Vanderbilt Avenue                                              New York                NY      10017-3852                7/25/2023           50,000.00   Retainer Fee
                                                                                                                                                                         TOTAL         1,000,000.00
3.228 Netlify                            44 Montgomery St., Ste. #300                                       San Francisco           CA      94104                      6/5/2023            2,726.50   Engineering Supscription
3.229 Netlify                            44 Montgomery St., Ste. #300                                       San Francisco           CA      94104                      6/6/2023            2,726.50   Engineering Supscription
3.230 Netlify                            44 Montgomery Street, Suite 300                                    San Francisco           CA      94104                     7/17/2023            2,725.00   Monthly Software Fee
                                                                                                                                                                         TOTAL             8,178.00
3.231 Obility                            308 Sw. First Ave., Ste. #401                                      Portland                OR      97204                     6/14/2023            5,951.50   Marketing advertising
3.232 Obility                            308 SW First Avenue, Suite 401                                     Portland                OR      97204                     5/24/2023            5,950.00   Monthly Marketing Fee
                                                                                                                                                                         TOTAL            11,901.50
3.233 Oracle America                     Bank of America Lockbox Serivces   15612 Collections Center Dr.    Chicago                 IL      60693                      6/1/2023           15,389.58   Oracle / Netsuite Software
3.234 Oracle America                     Bank of America Lockbox Serivces   15612 Collections Center Dr.    Chicago                 IL      60693                      6/1/2023            7,416.70   Oracle / Netsuite Software
                                                                                                                                                                         TOTAL            22,806.28
3.235 Oracle America Inc                 Bank of America Lockbox Serivces   15612 Collections Center Dr.    Chicago                 IL      60693                      6/5/2023               88.62   Accounting Software
3.236 Oracle America Inc                 2300 Oracle Way                                                    Austin                  TX      78741                      7/3/2023           22,806.28   Monthy Software
3.237 Oracle America Inc                 2300 Oracle Way                                                    Austin                  TX      78741                      8/1/2023           22,806.28   Monthy Software
                                                                                                                                                                         TOTAL            45,701.18
3.238 ORACLE CREDIT CORPORATION          2300 Oracle Way                                                    Austin                  TX      78741                     5/23/2023           18,000.00   ERP system
                                                                                                                                                                         TOTAL            18,000.00
3.239 Paycor                             4811 Montgomery Rd                                                 Cincinnati              OH      45212                     7/17/2023              581.45   ER FICA MATCH
                                                                                                                                                                         TOTAL               581.45
3.240 PAYCOR INC                         4811 Montgomery Rd                                                 Cincinnati              OH      45212                      6/7/2023            5,166.30   Payroll service fee
3.241 PAYCOR INC                         4811 Montgomery Rd                                                 Cincinnati              OH      45212                      5/9/2023            4,982.90   Payroll service fee
3.242 PAYCOR INC                         4811 Montgomery Rd                                                 Cincinnati              OH      45212                      7/7/2023            4,585.30   Payroll service fee
3.243 PAYCOR INC                         4811 Montgomery Rd                                                 Cincinnati              OH      45212                      6/7/2023            2,223.10   Payroll service fee
3.244 PAYCOR INC                         4811 Montgomery Rd                                                 Cincinnati              OH      45212                      5/8/2023              917.80   Payroll service fee
                                                                                                                                                                         TOTAL            17,875.40
3.245 PAYCOR INC.                        4811 Montgomery Rd                                                 Cincinnati              OH      45212                      8/7/2023            4,413.15   Payroll service fee
3.246 PAYCOR INC.                        4811 Montgomery Rd                                                 Cincinnati              OH      45212                      8/7/2023            2,048.10   Payroll service fee
                                                                                                                                                                         TOTAL             6,461.25
3.247 Principal Life Insurance Company   PO BOX 77202                                                       Minneapolis             MN      55480-7200                7/10/2023            8,927.70   Life Insurance
3.248 Principal Life Insurance Company   PO BOX 77202                                                       Minneapolis             MN      55480-7200                 6/9/2023            8,803.36   Life Insurance
3.249 Principal Life Insurance Company   PO BOX 77202                                                       Minneapolis             MN      55480-7200                 8/9/2023            8,792.41   Life Insurance
3.250 Principal Life Insurance Company   PO BOX 77202                                                       Minneapolis             MN      55480-7200                7/10/2023            2,097.63   Life Insurance
3.251 Principal Life Insurance Company   PO BOX 77202                                                       Minneapolis             MN      55480-7200                 8/9/2023            2,026.51   Life Insurance
3.252 Principal Life Insurance Company   PO BOX 77202                                                       Minneapolis             MN      55480-7200                 6/9/2023            1,757.57   Life Insurance
                                                                                                                                                                         TOTAL            32,405.18
3.253 Revenue Pulse Inc.                 2 Gurdwara Road, Suite 200                                         Ottawa                  ON      K2E 1A2      Canada       5/18/2023           45,554.25   Quarterly Marketing Fee
3.254 Revenue Pulse Inc.                 2 Gurdwara Road, Suite 200                                         Ottawa                  ON      K2E 1A2      Canada       5/18/2023           30,369.50   Quarterly Marketing Fee
                                                                                                                                                                         TOTAL            75,923.75
3.255 Robert Half Technology             PO Box 743295                                                      Los Angeles             CA      90074-3295                6/29/2023           15,000.00   Retainer Fee
3.256 Robert Half Technology             PO Box 743295                                                      Los Angeles             CA      90074-3295                8/14/2023            9,040.00   Accounting Contractor
3.257 Robert Half Technology             PO Box 743295                                                      Los Angeles             CA      90074-3295                6/14/2023            6,671.50   Accounting Contractor
3.258 Robert Half Technology             PO Box 743295                                                      Los Angeles             CA      90074-3295                 6/1/2023            5,801.50   Accounting Contractor
3.259 Robert Half Technology             PO Box 743295                                                      Los Angeles             CA      90074-3295                5/25/2023            5,800.00   Accounting Contractor
3.260 Robert Half Technology             PO Box 743295                                                      Los Angeles             CA      90074-3295                6/26/2023            5,800.00   Accounting Contractor



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                  Creditor's Name                 Address 1                         Address 2                      City            State     ZIP    Country      Payment Date    Payment Amount         Reason for Payment or Transfer
3.261 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                  7/17/2023           5,220.00   Accounting Contractor
3.262 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                   6/9/2023           5,076.50   Accounting Contractor
3.263 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                  6/14/2023           4,855.25   Accounting Contractor
3.264 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                  7/12/2023           4,785.00   Accounting Contractor
3.265 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                  5/19/2023           4,401.50   Accounting Contractor
3.266 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                   6/1/2023           4,401.50   Accounting Contractor
3.267 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                  5/25/2023           4,400.00   Accounting Contractor
3.268 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                  6/26/2023           4,400.00   Accounting Contractor
3.269 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                  7/17/2023           4,400.00   Accounting Contractor
3.270 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                  7/12/2023           3,850.00   Accounting Contractor
3.271 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                   6/9/2023           3,576.50   Accounting Contractor
3.272 Robert Half Technology           PO Box 743295                                                       Los Angeles             CA    90074-3295                  5/19/2023           1,306.50   Accounting Contractor
                                                                                                                                                                        TOTAL           98,785.75
3.273 Saltzman Mugan Dushoff, PLLC     1835 Village Center Circle                                          Las Vegas               NV      89134                     5/18/2023          15,899.29   Monthly Legal Services
3.274 Saltzman Mugan Dushoff, PLLC     1835 Village Center Cir                                             Las Vegas               NV      89134                      6/5/2023           1,095.72   Legal Fees
3.275 Saltzman Mugan Dushoff, PLLC     1835 Village Center Cir.                                            Las Vegas               NV      89134                     6/13/2023             210.00   Legal Fees
3.276 Saltzman Mugan Dushoff, PLLC     1835 Village Center Cir.                                            Las Vegas               NV      89134                     6/13/2023         500,000.00   Legal Fees
                                                                                                                                                                        TOTAL          517,205.01
3.277 Sift                             525 Market Street, 6th Floor                                        San Francisco           CA      94105                      6/5/2023          18,001.50   Compliance Software Supscription
3.278 Sift                             525 Market Street, 6th Floor                                        San Francisco           CA      94105                     7/21/2023          18,000.00   Monthly Payment Abuse Fee
                                                                                                                                                                        TOTAL           36,001.50
3.279 Socure Inc.                      885 Tahoe Boulevard, Suite 1                                        Incline Village         NY      89451                                        36,626.27 Monthly KYC + AML Services (Background
                                                                                                                                                                      6/5/2023                    check)
3.280 Socure Inc.                      885 Tahoe Boulevard, Suite 1                                        Incline Village         NY      89451                                        26,068.17 Monthly KYC + AML Services (Background
                                                                                                                                                                     7/17/2023                    check)
                                                                                                                                                                        TOTAL           62,694.44
3.281 SoftServe Inc.                   12800 University Drive, Suite 410                                   Fort Myers              FL      33907                     7/21/2023          15,630.00 Monthly Outsourced Services
3.282 SoftServe Inc.                   12800 University Drive, Suite 410                                   Fort Myers              FL      33907                      6/5/2023          12,505.50 Engineering contractor fee
                                                                                                                                                                        TOTAL           28,135.50
3.283 StandardFusion                   300-1062 Homer St.                                                  Vancouver               BC      V6B 2W9      Canada        6/5/2023          24,031.00 Compliance Software Supscription
                                                                                                                                                                        TOTAL           24,031.00
3.284 State of Delaware - The          Corporation Trust Center            1209 Orange Street              Wilmington              DE      19801                                         8,415.88 Delaware Franchise Tax Report
      Corporation Trust Company                                                                                                                                      6/29/2023
                                                                                                                                                                        TOTAL            8,415.88
3.285 Stretto                          410 Exchange, Suite 100                                             Irvine                  CA      92602                     8/10/2023          25,000.00 Retainer Fee
                                                                                                                                                                        TOTAL           25,000.00
3.286 Stripe                           354 Oyster Point Blvd                                               South San Francisco     CA      94080                                                  Chargeback C004052 aliant payments inc
                                                                                                                                                                                                  / dba cryptobucks invoices. Includes
                                                                                                                                                                      6/5/2023           9,012.55 payment for 2 other customers as well
3.287 Stripe                           354 Oyster Point Blvd                                               South San Francisco     CA      94080                                                  Chargeback C004052 aliant payments inc
                                                                                                                                                                     5/26/2023           6,519.05 / dba cryptobucks invoices
                                                                                                                                                                        TOTAL           15,531.60
3.288 Sumo Logic Inc                   305 Main St.                                                        Redwood City            CA      94063                     6/14/2023          37,687.49 Security Software
                                                                                                                                                                        TOTAL           37,687.49
3.289 Ubiquity Global Services, Inc.   331 Park Ave. Sount, 8th floor                                      New York                NY      10010                                        32,777.19 Customer srvc. Contractor fee
                                       Ste. #701                                                                                                                      6/5/2023
                                                                                                                                                                        TOTAL           32,777.19
3.290 Unit21                           222 Kearny Street, Suite 304                                        San Francisco           CA      94108                     8/11/2023          94,200.00   Monthly Transaction Monitoring Fee
                                                                                                                                                                        TOTAL           94,200.00
3.291 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                     6/23/2023          32,090.98   Vantiv CC processing fee
3.292 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                      6/1/2023           7,530.80   Vantiv CC processing fee
3.293 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                     6/22/2023           6,511.33   Vantiv CC processing fee
3.294 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                     7/24/2023           6,437.50   Vantiv CC processing fee
3.295 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                     5/17/2023           5,208.87   Vantiv CC processing fee
3.296 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                     5/24/2023           4,654.19   Vantiv CC processing fee
3.297 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                     6/14/2023           4,268.12   Vantiv CC processing fee
3.298 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                      6/6/2023           4,095.60   Vantiv CC processing fee
3.299 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                      6/7/2023           4,091.72   Vantiv CC processing fee
3.300 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                      6/5/2023           3,179.56   Vantiv CC processing fee
3.301 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                     6/15/2023           2,957.56   Vantiv CC processing fee
3.302 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                     5/26/2023           2,745.97   Vantiv CC processing fee
3.303 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                     5/16/2023           2,658.02   Vantiv CC processing fee
3.304 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                     5/30/2023           2,398.87   Vantiv CC processing fee
3.305 Vantiv / Worldpay                111 West monroe, PO Box 775                                         Chicago                 IL      60690                      6/2/2023           2,241.00   Vantiv CC processing fee




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                  Creditor's Name                  Address 1                       Address 2                        City           State     ZIP        Country   Payment Date    Payment Amount         Reason for Payment or Transfer
3.306 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        5/23/2023           2,147.58   Vantiv CC processing fee
3.307 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        6/13/2023           2,107.56   Vantiv CC processing fee
3.308 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        6/20/2023           2,066.24   Vantiv CC processing fee
3.309 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        5/19/2023           2,000.41   Vantiv CC processing fee
3.310 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        6/21/2023           1,885.80   Vantiv CC processing fee
3.311 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        6/16/2023           1,871.30   Vantiv CC processing fee
3.312 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                         6/8/2023           1,867.26   Vantiv CC processing fee
3.313 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        5/22/2023           1,817.34   Vantiv CC processing fee
3.314 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                         6/9/2023           1,803.84   Vantiv CC processing fee
3.315 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        5/18/2023           1,659.65   Vantiv CC processing fee
3.316 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        5/31/2023           1,552.79   Vantiv CC processing fee
3.317 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        6/15/2023           1,530.91   Vantiv CC processing fee
3.318 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        6/12/2023           1,501.41   Vantiv CC processing fee
3.319 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                        5/25/2023           1,384.80   Vantiv CC processing fee
3.320 Vantiv / Worldpay                 111 West monroe, PO Box 775                                       Chicago                 IL     60690                         6/8/2023           1,002.50   Vantiv CC processing fee
                                                                                                                                                                         TOTAL          117,269.48
3.321 Vestar Property Management        PO Box 30412                                                      Tampa                   FL      33630                                         116,949.53   Monthly Las Vegas Office Rent & Utilities
                                                                                                                                                                       7/3/2023
3.322 Vestar Property Management        PO Box 30412                                                      Tampa                   FL      33630                        6/1/2023         115,349.53 Tivoli Village Office Rent
3.323 Vestar Property Management        PO Box 30412                                                      Tampa                   FL      33630                                                    Monthly Las Vegas Office Rent & Utilities
                                                                                                                                                                       8/1/2023         111,264.86
                                                                                                                                                                         TOTAL          343,563.92
3.324 Virgo 1345 Business Centers LLC   1345 6th Ave., 2nd Floor                                          New York                NY      10105                        6/2/2023           2,665.00 NY Office Rent
3.325 Virgo 1345 Business Centers LLC   1345 6th Avenue, 2nd Floor                                        New York                NY      10105                        7/3/2023           2,665.00 Monthly New York Office Rent
3.326 Virgo 1345 Business Centers LLC   1345 6th Avenue, 2nd Floor                                        New York                NY      10105                        8/2/2023           2,665.00 Monthly New York Office Rent
                                                                                                                                                                         TOTAL            7,995.00
3.327 Will Be Done - Management, LLC    1239 E. 10th Street                                               Long Beach              CA      90813                       8/11/2023          10,000.00 Retainer Fee
                                                                                                                                                                         TOTAL           10,000.00
3.328 Woodruff-Sawyer                   PO Box 45057                                                      San Francisco           CA      94105                       8/11/2023         831,200.00 Insurance
3.329 Woodruff-Sawyer                   PO Box 45057                                                      San Francisco           CA      94145                       6/26/2023           1,898.18 Insureance Intact Policy
3.330 Woodruff-Sawyer                   PO Box 45057                                                      San Francisco           CA      94105                       7/25/2023           1,898.18 Insurance
                                                                                                                                                                         TOTAL          834,996.36
3.331 Wyse Advisors LLC                 51 JFK Parkway, First Floor West                                  Short Hills             NJ      07078                       8/11/2023          25,000.00 Special Committee Member Fee
                                                                                                                                                                         TOTAL           25,000.00
                                                                                                                                                                                     14,883,993.80




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                                                                                                                            Reason for Payment or
                       Creditor's Name                    Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1       [Address on File]        6/20/2023 USD                    $40,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1       [Address on File]        5/19/2023 USD                    $50,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1       [Address on File]        6/14/2023 USD                    $50,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1       [Address on File]        6/12/2023 USD                   $130,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1       [Address on File]         6/2/2023 USD                    $60,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1       [Address on File]        5/23/2023 USD                    $20,000.00 Customer Disbursement
                                                                                  TOTAL                        $350,000.00
        Confidential Customer USD Transferee #2       [Address on File]        6/15/2023 USD                    $40,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2       [Address on File]        6/12/2023 USD                    $40,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2       [Address on File]         6/9/2023 USD                    $50,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2       [Address on File]         6/2/2023 USD                       $170.00 Customer Disbursement
                                                                                  TOTAL                        $130,170.00
        Confidential Customer USD Transferee #3       [Address on File]        6/16/2023 USD                   $200,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3       [Address on File]         6/5/2023 USD                   $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3       [Address on File]        5/31/2023 USD                      $1,247.12 Customer Disbursement
        Confidential Customer USD Transferee #3       [Address on File]        5/30/2023 USD                   $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3       [Address on File]        5/26/2023 USD                    $53,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3       [Address on File]        5/22/2023 USD                    $35,000.00 Customer Disbursement
                                                                                  TOTAL                        $489,247.12
        Confidential Customer USD Transferee #4       [Address on File]        6/20/2023 USD                    $30,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4       [Address on File]        5/26/2023 USD                   $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4       [Address on File]        5/16/2023 USD                      $2,000.00 Customer Disbursement
                                                                                  TOTAL                        $132,000.00
                                                      [Address on File]
        Confidential Customer USD Transferee #5                                  5/30/2023 USD                     $13,001.17 Customer Disbursement
                                                                                    TOTAL                          $13,001.17
        Confidential Customer USD Transferee #6       [Address on File]           6/8/2023 USD                        $315.81 Customer Disbursement
                                                                                    TOTAL                            $315.81
        Confidential Customer USD Transferee #7       [Address on File]          5/31/2023 USD                         $75.95 Customer Disbursement
        Confidential Customer USD Transferee #7       [Address on File]          5/17/2023 USD                         $95.00 Customer Disbursement
                                                                                    TOTAL                            $170.95
        Confidential Customer USD Transferee #8       [Address on File]           6/2/2023 USD                        $112.00 Customer Disbursement
                                                                                    TOTAL                            $112.00
        Confidential Customer USD Transferee #9       [Address on File]          5/17/2023 USD                          $0.58 Customer Disbursement
        Confidential Customer USD Transferee #9       [Address on File]          5/17/2023 USD                         $11.36 Customer Disbursement
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                                            Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $11.94
        Confidential Customer USD Transferee #10           [Address on File]        6/22/2023 USD                      $1,060.00 Customer Disbursement
        Confidential Customer USD Transferee #10           [Address on File]        6/21/2023 USD                        $475.00 Customer Disbursement
        Confidential Customer USD Transferee #10           [Address on File]         6/8/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #10           [Address on File]         6/6/2023 USD                      $1,670.00 Customer Disbursement
        Confidential Customer USD Transferee #10           [Address on File]         6/1/2023 USD                      $2,700.00 Customer Disbursement
        Confidential Customer USD Transferee #10           [Address on File]        5/26/2023 USD                        $370.00 Customer Disbursement
        Confidential Customer USD Transferee #10           [Address on File]        5/23/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #10           [Address on File]        5/19/2023 USD                      $1,980.00 Customer Disbursement
                                                                                       TOTAL                           $9,155.00
        Confidential Customer USD Transferee #11           [Address on File]        6/13/2023 USD                        $371.26 Customer Disbursement
                                                                                       TOTAL                            $371.26
        Confidential Customer USD Transferee #12           [Address on File]        6/20/2023 USD                      $7,777.00 Customer Disbursement
        Confidential Customer USD Transferee #12           [Address on File]         6/9/2023 USD                      $4,300.00 Customer Disbursement
        Confidential Customer USD Transferee #12           [Address on File]        5/24/2023 USD                      $7,790.00 Customer Disbursement
        Confidential Customer USD Transferee #12           [Address on File]        5/16/2023 USD                      $4,840.00 Customer Disbursement
                                                                                       TOTAL                         $24,707.00
        Confidential Customer USD Transferee #13           [Address on File]         6/9/2023 USD                      $1,047.00 Customer Disbursement
                                                                                       TOTAL                           $1,047.00
                                                           [Address on File]
        Confidential Customer USD Transferee #14                                       6/9/2023 USD                     $10,600.00 Customer Disbursement
                                                                                        TOTAL                           $10,600.00
        Confidential Customer USD Transferee #15           [Address on File]           6/1/2023 USD                        $117.43 Customer Disbursement
        Confidential Customer USD Transferee #15           [Address on File]           6/1/2023 USD                          $2.00 Customer Disbursement
                                                                                        TOTAL                             $119.43
                                                           [Address on File]
        Confidential Customer USD Transferee #16                                      6/21/2023 USD                         $11.89 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #16                                       6/6/2023 USD                          $5.00 Customer Disbursement
                                                                                        TOTAL                               $16.89
                                                           [Address on File]
        Confidential Customer USD Transferee #17                                       6/6/2023 USD                      $2,170.00 Customer Disbursement
                                                                                        TOTAL                            $2,170.00
                                                           [Address on File]
        Confidential Customer USD Transferee #18                                      6/16/2023 USD                     $27,000.00 Customer Disbursement
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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                         $27,000.00
        Confidential Customer USD Transferee #19           [Address on File]        6/12/2023 USD                      $8,535.58 Customer Disbursement
                                                                                       TOTAL                           $8,535.58
                                                           [Address on File]
        Confidential Customer USD Transferee #20                                      6/22/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #21           [Address on File]          5/18/2023 USD                        $335.72 Customer Disbursement
                                                                                         TOTAL                             $335.72
        Confidential Customer USD Transferee #22           [Address on File]          5/17/2023 USD                          $0.58 Customer Disbursement
                                                                                         TOTAL                               $0.58
                                                           [Address on File]
        Confidential Customer USD Transferee #23                                      6/15/2023 USD                         $50.50 Customer Disbursement
                                                                                         TOTAL                              $50.50
        Confidential Customer USD Transferee #24           [Address on File]          5/18/2023 USD                      $6,500.00 Customer Disbursement
                                                                                         TOTAL                           $6,500.00
                                                           [Address on File]
        Confidential Customer USD Transferee #25                                      5/24/2023 USD                        $400.00 Customer Disbursement
                                                                                         TOTAL                             $400.00
                                                           [Address on File]
        Confidential Customer USD Transferee #26                                      5/31/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
                                                           [Address on File]
        Confidential Customer USD Transferee #27                                      6/14/2023 USD                      $1,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #27                                       6/8/2023 USD                     $10,400.00 Customer Disbursement
                                                                                         TOTAL                          $11,400.00
        Confidential Customer USD Transferee #28           [Address on File]          6/12/2023 USD                         $55.00 Customer Disbursement
                                                                                         TOTAL                              $55.00
        Confidential Customer USD Transferee #29           [Address on File]           6/6/2023 USD                         $55.00 Customer Disbursement
                                                                                         TOTAL                              $55.00
                                                           [Address on File]
        Confidential Customer USD Transferee #30                                      5/24/2023 USD                        $165.16 Customer Disbursement
                                                                                         TOTAL                             $165.16


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                                            Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #31                                       6/7/2023 USD                      $3,000.00 Customer Disbursement
                                                                                        TOTAL                            $3,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #32                                      5/24/2023 USD                         $72.66 Customer Disbursement
                                                                                         TOTAL                              $72.66
                                                           [Address on File]
        Confidential Customer USD Transferee #33                                      5/19/2023 USD                      $5,000.00 Customer Disbursement
                                                                                         TOTAL                           $5,000.00
        Confidential Customer USD Transferee #34           [Address on File]           6/6/2023 USD                        $280.00 Customer Disbursement
        Confidential Customer USD Transferee #34           [Address on File]           6/6/2023 USD                      $1,500.00 Customer Disbursement
                                                                                         TOTAL                           $1,780.00
        Confidential Customer USD Transferee #35           [Address on File]          5/22/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #35           [Address on File]          5/22/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,400.00
        Confidential Customer USD Transferee #36           [Address on File]           6/5/2023 USD                        $700.00 Customer Disbursement
                                                                                         TOTAL                            $700.00
        Confidential Customer USD Transferee #37           [Address on File]          5/19/2023 USD                      $1,384.44 Customer Disbursement
                                                                                         TOTAL                           $1,384.44
        Confidential Customer USD Transferee #38           [Address on File]          5/31/2023 USD                         $88.00 Customer Disbursement
                                                                                         TOTAL                              $88.00
        Confidential Customer USD Transferee #39           [Address on File]          6/22/2023 USD                        $575.00 Customer Disbursement
        Confidential Customer USD Transferee #39           [Address on File]           6/6/2023 USD                        $540.00 Customer Disbursement
        Confidential Customer USD Transferee #39           [Address on File]          5/17/2023 USD                        $550.00 Customer Disbursement
                                                                                         TOTAL                           $1,665.00
        Confidential Customer USD Transferee #40           [Address on File]           6/7/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #40           [Address on File]          5/18/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #40           [Address on File]          5/16/2023 USD                        $400.00 Customer Disbursement
                                                                                         TOTAL                            $475.00
        Confidential Customer USD Transferee #41           [Address on File]          5/23/2023 USD                        $763.27 Customer Disbursement
        Confidential Customer USD Transferee #41           [Address on File]          5/23/2023 USD                        $131.69 Customer Disbursement
                                                                                         TOTAL                            $894.96
        Confidential Customer USD Transferee #42           [Address on File]          6/12/2023 USD                        $719.08 Customer Disbursement
                                                                                         TOTAL                            $719.08

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                                                                                                                            Reason for Payment or
                       Creditor's Name                    Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #43      [Address on File]        5/24/2023 USD                        $791.99 Customer Disbursement
                                                                                  TOTAL                            $791.99
        Confidential Customer USD Transferee #44      [Address on File]         6/8/2023 USD                      $1,297.37 Customer Disbursement
                                                                                  TOTAL                           $1,297.37
        Confidential Customer USD Transferee #45      [Address on File]        5/24/2023 USD                        $194.54 Customer Disbursement
                                                                                  TOTAL                            $194.54
        Confidential Customer USD Transferee #46      [Address on File]        5/23/2023 USD                          $7.00 Customer Disbursement
                                                                                  TOTAL                               $7.00
        Confidential Customer USD Transferee #47      [Address on File]         6/5/2023 USD                      $1,459.81 Customer Disbursement
        Confidential Customer USD Transferee #47      [Address on File]        5/31/2023 USD                      $1,459.81 Customer Disbursement
        Confidential Customer USD Transferee #47      [Address on File]        5/22/2023 USD                      $1,459.82 Customer Disbursement
                                                                                  TOTAL                           $4,379.44
        Confidential Customer USD Transferee #48      [Address on File]         6/9/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #48      [Address on File]        5/23/2023 USD                        $475.00 Customer Disbursement
                                                                                  TOTAL                            $725.00
        Confidential Customer USD Transferee #49      [Address on File]        6/21/2023 USD                          $0.02 Customer Disbursement
                                                                                  TOTAL                               $0.02
                                                      [Address on File]
        Confidential Customer USD Transferee #50                                 6/20/2023 USD                         $36.58 Customer Disbursement
                                                                                    TOTAL                              $36.58
        Confidential Customer USD Transferee #51      [Address on File]          6/12/2023 USD                        $110.11 Customer Disbursement
                                                                                    TOTAL                             $110.11
        Confidential Customer USD Transferee #52      [Address on File]          6/16/2023 USD                        $180.00 Customer Disbursement
                                                                                    TOTAL                             $180.00
        Confidential Customer USD Transferee #53      [Address on File]          6/16/2023 USD                         $50.43 Customer Disbursement
                                                                                    TOTAL                              $50.43
        Confidential Customer USD Transferee #54      [Address on File]          6/21/2023 USD                        $245.37 Customer Disbursement
        Confidential Customer USD Transferee #54      [Address on File]          6/21/2023 USD                        $119.00 Customer Disbursement
        Confidential Customer USD Transferee #54      [Address on File]          6/21/2023 USD                        $186.00 Customer Disbursement
                                                                                    TOTAL                             $550.37
        Confidential Customer USD Transferee #55      [Address on File]          5/26/2023 USD                        $199.00 Customer Disbursement
                                                                                    TOTAL                             $199.00
                                                      [Address on File]
        Confidential Customer USD Transferee #56                                 5/19/2023 USD                             $1.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                               $1.00
        Confidential Customer USD Transferee #57           [Address on File]        6/12/2023 USD                  $2,303,710.41 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/8/2023 USD                    $973,256.75 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/7/2023 USD                    $938,297.81 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/7/2023 USD                  $1,442,539.89 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/6/2023 USD                  $1,342,062.32 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/6/2023 USD                    $150,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/6/2023 USD                    $302,047.37 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/5/2023 USD                    $976,498.16 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/5/2023 USD                  $1,691,574.54 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/5/2023 USD                    $200,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/5/2023 USD                    $225,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/2/2023 USD                    $420,099.06 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/2/2023 USD                  $2,025,235.08 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/1/2023 USD                    $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/1/2023 USD                     $10,865.89 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/1/2023 USD                  $1,931,038.05 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]         6/1/2023 USD                    $111,944.26 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/31/2023 USD                    $150,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/31/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/31/2023 USD                    $109,458.72 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/31/2023 USD                    $178,837.19 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/30/2023 USD                    $370,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/30/2023 USD                  $2,499,991.41 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/30/2023 USD                  $1,242,758.28 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/30/2023 USD                    $199,920.07 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/26/2023 USD                  $1,005,111.08 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/26/2023 USD                    $200,100.00 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/26/2023 USD                    $392,283.98 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/26/2023 USD                    $218,627.51 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/26/2023 USD                    $200,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/25/2023 USD                  $1,297,770.66 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/25/2023 USD                    $499,153.65 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/24/2023 USD                  $1,525,435.08 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/24/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #57           [Address on File]        5/23/2023 USD                    $530,254.24 Customer Disbursement
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                                                                                                                            Reason for Payment or
                       Creditor's Name                    Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #57      [Address on File]        5/23/2023 USD                    $200,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/23/2023 USD                    $150,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/23/2023 USD                    $964,630.29 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/22/2023 USD                    $739,034.77 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/22/2023 USD                    $234,856.62 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/19/2023 USD                  $1,737,095.31 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/19/2023 USD                  $1,053,457.46 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/19/2023 USD                    $116,750.00 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/19/2023 USD                    $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/19/2023 USD                    $685,998.95 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/19/2023 USD                    $200,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/18/2023 USD                    $917,101.19 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/17/2023 USD                    $200,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/17/2023 USD                    $350,548.95 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/16/2023 USD                    $170,000.00 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/16/2023 USD                    $943,295.41 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/16/2023 USD                    $825,978.52 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/16/2023 USD                    $263,210.40 Customer Disbursement
        Confidential Customer USD Transferee #57      [Address on File]        5/16/2023 USD                    $237,884.68 Customer Disbursement
                                                                                  TOTAL                      $35,853,914.01
        Confidential Customer USD Transferee #58      [Address on File]        5/16/2023 USD                        $687.50 Customer Disbursement
                                                                                  TOTAL                            $687.50
        Confidential Customer USD Transferee #59      [Address on File]        5/24/2023 USD                         $24.00 Customer Disbursement
                                                                                  TOTAL                              $24.00
        Confidential Customer USD Transferee #60      [Address on File]        5/19/2023 USD                        $198.02 Customer Disbursement
                                                                                  TOTAL                            $198.02
        Confidential Customer USD Transferee #61      [Address on File]         6/2/2023 USD                        $255.00 Customer Disbursement
                                                                                  TOTAL                            $255.00
                                                      [Address on File]
        Confidential Customer USD Transferee #62                                  6/1/2023 USD                         $17.00 Customer Disbursement
                                                                                    TOTAL                              $17.00
        Confidential Customer USD Transferee #63      [Address on File]          5/16/2023 USD                        $500.00 Customer Disbursement
                                                                                    TOTAL                             $500.00
        Confidential Customer USD Transferee #64      [Address on File]          6/21/2023 USD                         $67.00 Customer Disbursement
                                                                                    TOTAL                              $67.00
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #65                                      6/20/2023 USD                     $14,700.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #65                                      6/16/2023 USD                   $588,800.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #65                                      6/15/2023 USD                   $750,098.05 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #65                                       6/9/2023 USD                   $512,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #65                                       6/8/2023 USD                 $4,057,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #65                                       6/8/2023 USD                   $499,599.50 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #65                                       6/6/2023 USD                     $99,700.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #65                                       6/5/2023 USD                     $44,983.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #65                                      5/31/2023 USD                     $9,970.00 Customer Disbursement
                                                                                         TOTAL                      $6,576,850.55
                                                           [Address on File]
        Confidential Customer USD Transferee #66                                       6/5/2023 USD                      $2,966.92 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #66                                       6/2/2023 USD                      $9,970.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #66                                      5/31/2023 USD                     $24,478.44 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #66                                      5/31/2023 USD                      $6,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #66                                      5/30/2023 USD                      $7,971.97 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #66                                      5/30/2023 USD                      $9,843.00 Customer Disbursement
                                                                                         TOTAL                          $61,730.33
                                                           [Address on File]
        Confidential Customer USD Transferee #67                                      6/20/2023 USD                     $16,729.00 Customer Disbursement



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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #67                                      6/20/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #67                                      6/14/2023 USD                   $508,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #67                                      6/12/2023 USD                   $491,933.83 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #67                                       6/8/2023 USD                     $43,686.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #67                                      5/31/2023 USD                     $15,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #67                                      5/25/2023 USD                      $8,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #67                                      5/25/2023 USD                     $12,656.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #67                                      5/24/2023 USD                     $5,000.00 Customer Disbursement
                                                                                         TOTAL                      $1,201,004.83
        Confidential Customer USD Transferee #68           [Address on File]          5/31/2023 USD                        $55.40 Customer Disbursement
                                                                                         TOTAL                             $55.40
        Confidential Customer USD Transferee #69           [Address on File]          5/31/2023 USD                       $600.00 Customer Disbursement
                                                                                         TOTAL                           $600.00
        Confidential Customer USD Transferee #70           [Address on File]           6/5/2023 USD                       $156.32 Customer Disbursement
                                                                                         TOTAL                           $156.32
        Confidential Customer USD Transferee #71           [Address on File]           6/5/2023 USD                     $1,081.86 Customer Disbursement
        Confidential Customer USD Transferee #71           [Address on File]          5/30/2023 USD                     $2,838.60 Customer Disbursement
                                                                                         TOTAL                          $3,920.46
        Confidential Customer USD Transferee #72           [Address on File]          6/20/2023 USD                       $928.74 Customer Disbursement
                                                                                         TOTAL                           $928.74
        Confidential Customer USD Transferee #73           [Address on File]           6/6/2023 USD                       $300.00 Customer Disbursement
        Confidential Customer USD Transferee #73           [Address on File]          5/31/2023 USD                       $500.00 Customer Disbursement
                                                                                         TOTAL                           $800.00
        Confidential Customer USD Transferee #74           [Address on File]           6/2/2023 USD                       $350.00 Customer Disbursement
                                                                                         TOTAL                           $350.00
        Confidential Customer USD Transferee #75           [Address on File]           6/6/2023 USD                     $1,721.86 Customer Disbursement
        Confidential Customer USD Transferee #75           [Address on File]          5/30/2023 USD                     $2,238.57 Customer Disbursement
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                                                                                                                            Reason for Payment or
                       Creditor's Name                    Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #75      [Address on File]        5/22/2023 USD                      $2,579.49 Customer Disbursement
        Confidential Customer USD Transferee #75      [Address on File]        5/19/2023 USD                      $2,156.07 Customer Disbursement
                                                                                  TOTAL                           $8,695.99
        Confidential Customer USD Transferee #76      [Address on File]        6/13/2023 USD                        $293.41 Customer Disbursement
        Confidential Customer USD Transferee #76      [Address on File]        6/12/2023 USD                        $183.55 Customer Disbursement
        Confidential Customer USD Transferee #76      [Address on File]         6/8/2023 USD                        $632.93 Customer Disbursement
        Confidential Customer USD Transferee #76      [Address on File]         6/7/2023 USD                        $256.74 Customer Disbursement
        Confidential Customer USD Transferee #76      [Address on File]         6/6/2023 USD                      $1,091.80 Customer Disbursement
        Confidential Customer USD Transferee #76      [Address on File]        5/31/2023 USD                        $698.22 Customer Disbursement
        Confidential Customer USD Transferee #76      [Address on File]        5/30/2023 USD                        $141.97 Customer Disbursement
        Confidential Customer USD Transferee #76      [Address on File]        5/25/2023 USD                        $981.45 Customer Disbursement
        Confidential Customer USD Transferee #76      [Address on File]        5/25/2023 USD                         $88.40 Customer Disbursement
                                                                                  TOTAL                           $4,368.47
        Confidential Customer USD Transferee #77      [Address on File]         6/5/2023 USD                        $345.13 Customer Disbursement
        Confidential Customer USD Transferee #77      [Address on File]        5/22/2023 USD                        $348.31 Customer Disbursement
                                                                                  TOTAL                            $693.44
        Confidential Customer USD Transferee #78      [Address on File]         6/2/2023 USD                        $100.00 Customer Disbursement
                                                                                  TOTAL                            $100.00
                                                      [Address on File]
        Confidential Customer USD Transferee #79                                 5/19/2023 USD                      $1,000.00 Customer Disbursement
                                                                                    TOTAL                           $1,000.00
        Confidential Customer USD Transferee #80      [Address on File]           6/7/2023 USD                        $178.19 Customer Disbursement
        Confidential Customer USD Transferee #80      [Address on File]          5/25/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #80      [Address on File]          5/23/2023 USD                        $200.00 Customer Disbursement
                                                                                    TOTAL                            $578.19
        Confidential Customer USD Transferee #81      [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #81      [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                    TOTAL                           $6,000.00
                                                      [Address on File]
        Confidential Customer USD Transferee #82                                 6/16/2023 USD                      $6,389.96 Customer Disbursement
                                                      [Address on File]
        Confidential Customer USD Transferee #82                                 5/30/2023 USD                        $230.98 Customer Disbursement
                                                                                    TOTAL                           $6,620.94
        Confidential Customer USD Transferee #83      [Address on File]           6/6/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #83      [Address on File]          5/31/2023 USD                        $265.23 Customer Disbursement
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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $2,265.23
        Confidential Customer USD Transferee #84           [Address on File]        5/31/2023 USD                        $502.43 Customer Disbursement
        Confidential Customer USD Transferee #84           [Address on File]        5/30/2023 USD                        $500.00 Customer Disbursement
                                                                                       TOTAL                           $1,002.43
        Confidential Customer USD Transferee #85           [Address on File]        5/22/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
        Confidential Customer USD Transferee #86           [Address on File]        5/31/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $100.00
        Confidential Customer USD Transferee #87           [Address on File]         6/6/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #87           [Address on File]         6/6/2023 USD                      $2,995.00 Customer Disbursement
        Confidential Customer USD Transferee #87           [Address on File]         6/1/2023 USD                        $151.00 Customer Disbursement
        Confidential Customer USD Transferee #87           [Address on File]        5/31/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #87           [Address on File]        5/31/2023 USD                        $421.00 Customer Disbursement
                                                                                       TOTAL                           $4,817.00
        Confidential Customer USD Transferee #88           [Address on File]        5/22/2023 USD                        $800.00 Customer Disbursement
                                                                                       TOTAL                            $800.00
        Confidential Customer USD Transferee #89           [Address on File]        5/16/2023 USD                         $96.00 Customer Disbursement
        Confidential Customer USD Transferee #89           [Address on File]        5/16/2023 USD                      $2,900.00 Customer Disbursement
                                                                                       TOTAL                           $2,996.00
        Confidential Customer USD Transferee #90           [Address on File]        6/16/2023 USD                        $495.00 Customer Disbursement
                                                                                       TOTAL                            $495.00
        Confidential Customer USD Transferee #91           [Address on File]        5/26/2023 USD                         $47.94 Customer Disbursement
                                                                                       TOTAL                              $47.94
        Confidential Customer USD Transferee #92           [Address on File]        6/21/2023 USD                         $16.98 Customer Disbursement
        Confidential Customer USD Transferee #92           [Address on File]        6/21/2023 USD                         $19.69 Customer Disbursement
        Confidential Customer USD Transferee #92           [Address on File]        6/16/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #92           [Address on File]         6/8/2023 USD                         $91.24 Customer Disbursement
                                                                                       TOTAL                            $147.91
        Confidential Customer USD Transferee #93           [Address on File]        6/20/2023 USD                         $41.01 Customer Disbursement
        Confidential Customer USD Transferee #93           [Address on File]        5/18/2023 USD                        $220.00 Customer Disbursement
                                                                                       TOTAL                            $261.01
        Confidential Customer USD Transferee #94           [Address on File]        5/31/2023 USD                        $583.89 Customer Disbursement
                                                                                       TOTAL                            $583.89
        Confidential Customer USD Transferee #95           [Address on File]        5/23/2023 USD                        $826.80 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                             $826.80
                                                           [Address on File]
        Confidential Customer USD Transferee #96                                      6/22/2023 USD                      $3,765.00 Customer Disbursement
                                                                                         TOTAL                           $3,765.00
        Confidential Customer USD Transferee #97           [Address on File]          5/23/2023 USD                        $537.21 Customer Disbursement
                                                                                         TOTAL                            $537.21
        Confidential Customer USD Transferee #98           [Address on File]           6/1/2023 USD                         $17.50 Customer Disbursement
                                                                                         TOTAL                              $17.50
        Confidential Customer USD Transferee #99           [Address on File]          6/16/2023 USD                        $149.74 Customer Disbursement
        Confidential Customer USD Transferee #99           [Address on File]          5/23/2023 USD                        $206.77 Customer Disbursement
                                                                                         TOTAL                            $356.51
                                                           [Address on File]
        Confidential Customer USD Transferee #100                                     5/31/2023 USD                         $97.02 Customer Disbursement
                                                                                         TOTAL                              $97.02
        Confidential Customer USD Transferee #101          [Address on File]          6/21/2023 USD                        $386.64 Customer Disbursement
                                                                                         TOTAL                            $386.64
        Confidential Customer USD Transferee #102          [Address on File]          5/19/2023 USD                        $924.61 Customer Disbursement
                                                                                         TOTAL                            $924.61
        Confidential Customer USD Transferee #103          [Address on File]           6/2/2023 USD                        $980.00 Customer Disbursement
        Confidential Customer USD Transferee #103          [Address on File]          5/26/2023 USD                        $980.00 Customer Disbursement
        Confidential Customer USD Transferee #103          [Address on File]          5/19/2023 USD                        $980.00 Customer Disbursement
                                                                                         TOTAL                           $2,940.00
        Confidential Customer USD Transferee #104          [Address on File]           6/8/2023 USD                        $250.00 Customer Disbursement
                                                                                         TOTAL                            $250.00
        Confidential Customer USD Transferee #105          [Address on File]          5/23/2023 USD                        $146.00 Customer Disbursement
                                                                                         TOTAL                            $146.00
        Confidential Customer USD Transferee #106          [Address on File]          5/22/2023 USD                        $480.00 Customer Disbursement
        Confidential Customer USD Transferee #106          [Address on File]          5/22/2023 USD                        $900.00 Customer Disbursement
                                                                                         TOTAL                           $1,380.00
        Confidential Customer USD Transferee #107          [Address on File]          6/21/2023 USD                      $2,662.36 Customer Disbursement
                                                                                         TOTAL                           $2,662.36
                                                           [Address on File]
        Confidential Customer USD Transferee #108                                     5/19/2023 USD                         $62.82 Customer Disbursement
                                                                                         TOTAL                              $62.82

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #109    [Address on File]        5/24/2023 USD                      $9,866.10 Customer Disbursement
                                                                                 TOTAL                           $9,866.10
                                                     [Address on File]
        Confidential Customer USD Transferee #110                               6/20/2023 USD                         $65.91 Customer Disbursement
                                                                                   TOTAL                              $65.91
        Confidential Customer USD Transferee #111    [Address on File]          5/30/2023 USD                     $72,268.20 Distribution Closeout
                                                                                   TOTAL                          $72,268.20
                                                     [Address on File]
        Confidential Customer USD Transferee #112                               5/17/2023 USD                          $5.00 Customer Disbursement
                                                                                   TOTAL                               $5.00
        Confidential Customer USD Transferee #113    [Address on File]          5/23/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #113    [Address on File]          5/18/2023 USD                         $40.00 Customer Disbursement
                                                                                   TOTAL                             $120.00
                                                     [Address on File]
        Confidential Customer USD Transferee #114                               5/31/2023 USD                        $466.56 Customer Disbursement
                                                                                   TOTAL                            $466.56
        Confidential Customer USD Transferee #115    [Address on File]          5/30/2023 USD                      $7,302.88 Customer Disbursement
        Confidential Customer USD Transferee #115    [Address on File]          5/25/2023 USD                     $20,000.00 Customer Disbursement
                                                                                   TOTAL                          $27,302.88
        Confidential Customer USD Transferee #116    [Address on File]          5/30/2023 USD                         $55.00 Customer Disbursement
                                                                                   TOTAL                              $55.00
        Confidential Customer USD Transferee #117    [Address on File]          5/19/2023 USD                        $101.88 Customer Disbursement
                                                                                   TOTAL                            $101.88
        Confidential Customer USD Transferee #118    [Address on File]          5/22/2023 USD                      $7,163.77 Customer Disbursement
                                                                                   TOTAL                           $7,163.77
        Confidential Customer USD Transferee #119    [Address on File]          5/19/2023 USD                        $229.91 Customer Disbursement
        Confidential Customer USD Transferee #119    [Address on File]          5/16/2023 USD                        $198.93 Customer Disbursement
                                                                                   TOTAL                            $428.84
                                                     [Address on File]
        Confidential Customer USD Transferee #120                               6/22/2023 USD                         $80.57 Customer Disbursement
                                                                                   TOTAL                              $80.57
        Confidential Customer USD Transferee #121    [Address on File]          6/21/2023 USD                       $702.00 Customer Disbursement
        Confidential Customer USD Transferee #121    [Address on File]          6/15/2023 USD                      $1,017.00 Customer Disbursement
        Confidential Customer USD Transferee #121    [Address on File]          6/14/2023 USD                      $1,024.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $2,743.00
        Confidential Customer USD Transferee #122          [Address on File]        6/16/2023 USD                          $5.00 Customer Disbursement
                                                                                       TOTAL                               $5.00
        Confidential Customer USD Transferee #123          [Address on File]         6/5/2023 USD                        $212.68 Customer Disbursement
                                                                                       TOTAL                            $212.68
        Confidential Customer USD Transferee #124          [Address on File]        5/30/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                            $200.00
        Confidential Customer USD Transferee #125          [Address on File]        6/16/2023 USD                         $35.00 Customer Disbursement
                                                                                       TOTAL                              $35.00
        Confidential Customer USD Transferee #126          [Address on File]         6/6/2023 USD                    $10,803.64 Customer Disbursement
                                                                                       TOTAL                         $10,803.64
        Confidential Customer USD Transferee #127          [Address on File]         6/6/2023 USD                        $400.00 Customer Disbursement
                                                                                       TOTAL                            $400.00
        Confidential Customer USD Transferee #128          [Address on File]        6/21/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $25.00
        Confidential Customer USD Transferee #129          [Address on File]        5/19/2023 USD                      $1,992.85 Customer Disbursement
        Confidential Customer USD Transferee #129          [Address on File]        5/17/2023 USD                      $2,991.04 Customer Disbursement
                                                                                       TOTAL                           $4,983.89
        Confidential Customer USD Transferee #130          [Address on File]        6/20/2023 USD                      $7,004.30 Customer Disbursement
        Confidential Customer USD Transferee #130          [Address on File]        6/20/2023 USD                      $4,537.07 Customer Disbursement
                                                                                       TOTAL                         $11,541.37
        Confidential Customer USD Transferee #131          [Address on File]         6/5/2023 USD                        $199.13 Customer Disbursement
                                                                                       TOTAL                            $199.13
        Confidential Customer USD Transferee #132          [Address on File]        6/21/2023 USD                        $270.00 Customer Disbursement
                                                                                       TOTAL                            $270.00
        Confidential Customer USD Transferee #133          [Address on File]        5/22/2023 USD                         $21.75 Customer Disbursement
                                                                                       TOTAL                              $21.75
        Confidential Customer USD Transferee #134          [Address on File]        6/12/2023 USD                        $237.20 Customer Disbursement
                                                                                       TOTAL                            $237.20
        Confidential Customer USD Transferee #135          [Address on File]         6/6/2023 USD                      $4,246.38 Customer Disbursement
                                                                                       TOTAL                           $4,246.38
        Confidential Customer USD Transferee #136          [Address on File]        5/19/2023 USD                         $99.01 Customer Disbursement
                                                                                       TOTAL                              $99.01
        Confidential Customer USD Transferee #137          [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                            $100.00
        Confidential Customer USD Transferee #138          [Address on File]         6/6/2023 USD                        $56.57 Customer Disbursement
                                                                                       TOTAL                             $56.57
        Confidential Customer USD Transferee #139          [Address on File]        5/23/2023 USD                         $9.36 Customer Disbursement
                                                                                       TOTAL                              $9.36
                                                           [Address on File]
        Confidential Customer USD Transferee #140                                     6/21/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                             $100.00
                                                           [Address on File]
        Confidential Customer USD Transferee #141                                     6/16/2023 USD                      $1,200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #141                                      6/2/2023 USD                      $1,200.00 Customer Disbursement
                                                                                         TOTAL                           $2,400.00
        Confidential Customer USD Transferee #142          [Address on File]           6/5/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #142          [Address on File]          5/30/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #142          [Address on File]          5/23/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #142          [Address on File]          5/22/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,400.00
                                                           [Address on File]
        Confidential Customer USD Transferee #143                                     5/17/2023 USD                      $9,811.00 Customer Disbursement
                                                                                         TOTAL                           $9,811.00
        Confidential Customer USD Transferee #144          [Address on File]          6/21/2023 USD                      $1,534.41 Customer Disbursement
                                                                                         TOTAL                           $1,534.41
                                                           [Address on File]
        Confidential Customer USD Transferee #145                                     5/19/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                             $100.00
                                                           [Address on File]
        Confidential Customer USD Transferee #146                                     6/14/2023 USD                         $72.32 Customer Disbursement
                                                                                         TOTAL                              $72.32
        Confidential Customer USD Transferee #147          [Address on File]           6/1/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
                                                           [Address on File]
        Confidential Customer USD Transferee #148                                     5/31/2023 USD                      $1,488.00 Customer Disbursement
                                                                                         TOTAL                           $1,488.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #149    [Address on File]        5/23/2023 USD                      $2,690.00 Customer Disbursement
                                                                                 TOTAL                           $2,690.00
        Confidential Customer USD Transferee #150    [Address on File]        6/22/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
                                                     [Address on File]
        Confidential Customer USD Transferee #151                               6/20/2023 USD                        $150.00 Customer Disbursement
                                                                                   TOTAL                             $150.00
        Confidential Customer USD Transferee #152    [Address on File]          5/24/2023 USD                         $23.67 Customer Disbursement
                                                                                   TOTAL                              $23.67
        Confidential Customer USD Transferee #153    [Address on File]          6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                   TOTAL                              $15.00
                                                     [Address on File]
        Confidential Customer USD Transferee #154                               5/16/2023 USD                      $5,446.00 Customer Disbursement
                                                                                   TOTAL                           $5,446.00
        Confidential Customer USD Transferee #155    [Address on File]           6/6/2023 USD                        $675.56 Customer Disbursement
                                                                                   TOTAL                            $675.56
        Confidential Customer USD Transferee #156    [Address on File]          6/12/2023 USD                         $45.96 Customer Disbursement
        Confidential Customer USD Transferee #156    [Address on File]           6/8/2023 USD                         $89.47 Customer Disbursement
                                                                                   TOTAL                            $135.43
        Confidential Customer USD Transferee #157    [Address on File]          6/21/2023 USD                      $8,148.02 Customer Disbursement
        Confidential Customer USD Transferee #157    [Address on File]          6/21/2023 USD                        $183.00 Customer Disbursement
        Confidential Customer USD Transferee #157    [Address on File]          6/16/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #157    [Address on File]          6/15/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #157    [Address on File]          6/13/2023 USD                      $7,571.19 Customer Disbursement
                                                                                   TOTAL                          $55,902.21
        Confidential Customer USD Transferee #158    [Address on File]          5/18/2023 USD                         $39.66 Customer Disbursement
                                                                                   TOTAL                              $39.66
        Confidential Customer USD Transferee #159    [Address on File]          5/31/2023 USD                        $999.00 Customer Disbursement
                                                                                   TOTAL                            $999.00
        Confidential Customer USD Transferee #160    [Address on File]          5/23/2023 USD                        $575.19 Customer Disbursement
                                                                                   TOTAL                            $575.19
        Confidential Customer USD Transferee #161    [Address on File]          5/23/2023 USD                      $1,099.27 Customer Disbursement
                                                                                   TOTAL                           $1,099.27
        Confidential Customer USD Transferee #162    [Address on File]           6/8/2023 USD                        $381.06 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #162    [Address on File]        5/31/2023 USD                        $522.00 Customer Disbursement
                                                                                 TOTAL                            $903.06
        Confidential Customer USD Transferee #163    [Address on File]         6/5/2023 USD                      $1,738.98 Customer Disbursement
        Confidential Customer USD Transferee #163    [Address on File]        5/30/2023 USD                      $1,744.54 Customer Disbursement
        Confidential Customer USD Transferee #163    [Address on File]        5/22/2023 USD                      $1,738.97 Customer Disbursement
                                                                                 TOTAL                           $5,222.49
        Confidential Customer USD Transferee #164    [Address on File]         6/1/2023 USD                      $1,596.90 Customer Disbursement
                                                                                 TOTAL                           $1,596.90
        Confidential Customer USD Transferee #165    [Address on File]        6/22/2023 USD                        $999.00 Customer Disbursement
        Confidential Customer USD Transferee #165    [Address on File]        6/21/2023 USD                        $994.00 Customer Disbursement
        Confidential Customer USD Transferee #165    [Address on File]        6/13/2023 USD                      $1,093.90 Customer Disbursement
        Confidential Customer USD Transferee #165    [Address on File]         6/8/2023 USD                      $5,189.80 Customer Disbursement
        Confidential Customer USD Transferee #165    [Address on File]         6/6/2023 USD                        $999.99 Customer Disbursement
        Confidential Customer USD Transferee #165    [Address on File]        5/31/2023 USD                        $999.00 Customer Disbursement
        Confidential Customer USD Transferee #165    [Address on File]        5/26/2023 USD                        $998.99 Customer Disbursement
                                                                                 TOTAL                         $11,274.68
        Confidential Customer USD Transferee #166    [Address on File]         6/5/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #166    [Address on File]         6/2/2023 USD                          $2.00 Customer Disbursement
        Confidential Customer USD Transferee #166    [Address on File]        5/26/2023 USD                         $20.00 Customer Disbursement
                                                                                 TOTAL                            $122.00
        Confidential Customer USD Transferee #167    [Address on File]         6/7/2023 USD                         $25.00 Customer Disbursement
                                                                                 TOTAL                              $25.00
        Confidential Customer USD Transferee #168    [Address on File]         6/6/2023 USD                        $994.39 Customer Disbursement
        Confidential Customer USD Transferee #168    [Address on File]        5/25/2023 USD                        $993.42 Customer Disbursement
        Confidential Customer USD Transferee #168    [Address on File]        5/16/2023 USD                        $994.81 Customer Disbursement
                                                                                 TOTAL                           $2,982.62
        Confidential Customer USD Transferee #169    [Address on File]        5/26/2023 USD                      $2,075.38 Customer Disbursement
                                                                                 TOTAL                           $2,075.38
        Confidential Customer USD Transferee #170    [Address on File]         6/6/2023 USD                        $710.00 Customer Disbursement
                                                                                 TOTAL                            $710.00
        Confidential Customer USD Transferee #171    [Address on File]        5/24/2023 USD                        $300.00 Customer Disbursement
                                                                                 TOTAL                            $300.00
        Confidential Customer USD Transferee #172    [Address on File]        5/19/2023 USD                      $2,100.00 Customer Disbursement
                                                                                 TOTAL                           $2,100.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #173    [Address on File]         6/6/2023 USD                        $949.99 Customer Disbursement
        Confidential Customer USD Transferee #173    [Address on File]        5/16/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,949.99
        Confidential Customer USD Transferee #174    [Address on File]        5/16/2023 USD                        $800.00 Customer Disbursement
                                                                                 TOTAL                            $800.00
        Confidential Customer USD Transferee #175    [Address on File]        6/20/2023 USD                        $210.05 Customer Disbursement
        Confidential Customer USD Transferee #175    [Address on File]        6/16/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $310.05
                                                     [Address on File]
        Confidential Customer USD Transferee #176                                6/5/2023 USD                      $1,500.00 Customer Disbursement
                                                                                   TOTAL                           $1,500.00
        Confidential Customer USD Transferee #177    [Address on File]          5/23/2023 USD                        $486.06 Customer Disbursement
                                                                                   TOTAL                            $486.06
        Confidential Customer USD Transferee #178    [Address on File]          5/18/2023 USD                         $20.39 Customer Disbursement
                                                                                   TOTAL                              $20.39
        Confidential Customer USD Transferee #179    [Address on File]          5/18/2023 USD                      $2,533.00 Customer Disbursement
                                                                                   TOTAL                           $2,533.00
        Confidential Customer USD Transferee #180    [Address on File]          5/24/2023 USD                        $347.67 Customer Disbursement
        Confidential Customer USD Transferee #180    [Address on File]          5/24/2023 USD                         $99.96 Customer Disbursement
                                                                                   TOTAL                            $447.63
        Confidential Customer USD Transferee #181    [Address on File]          6/14/2023 USD                      $4,886.00 Customer Disbursement
                                                                                   TOTAL                           $4,886.00
        Confidential Customer USD Transferee #182    [Address on File]          5/22/2023 USD                        $391.12 Customer Disbursement
        Confidential Customer USD Transferee #182    [Address on File]          5/16/2023 USD                        $341.12 Customer Disbursement
                                                                                   TOTAL                            $732.24
        Confidential Customer USD Transferee #183    [Address on File]          5/23/2023 USD                        $922.79 Customer Disbursement
                                                                                   TOTAL                            $922.79
        Confidential Customer USD Transferee #184    [Address on File]          5/24/2023 USD                        $217.86 Customer Disbursement
                                                                                   TOTAL                            $217.86
        Confidential Customer USD Transferee #185    [Address on File]           6/1/2023 USD                      $1,400.00 Customer Disbursement
        Confidential Customer USD Transferee #185    [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #185    [Address on File]          5/31/2023 USD                      $1,467.02 Customer Disbursement
                                                                                   TOTAL                           $5,867.02
        Confidential Customer USD Transferee #186    [Address on File]          6/21/2023 USD                        $114.74 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #186    [Address on File]        6/21/2023 USD                         $10.05 Customer Disbursement
                                                                                 TOTAL                            $124.79
        Confidential Customer USD Transferee #187    [Address on File]        6/21/2023 USD                        $213.02 Customer Disbursement
                                                                                 TOTAL                            $213.02
        Confidential Customer USD Transferee #188    [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #188    [Address on File]         6/1/2023 USD                      $1,926.84 Customer Disbursement
        Confidential Customer USD Transferee #188    [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $7,926.84
        Confidential Customer USD Transferee #189    [Address on File]        5/16/2023 USD                         $60.00 Customer Disbursement
                                                                                 TOTAL                              $60.00
        Confidential Customer USD Transferee #190    [Address on File]         6/2/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #190    [Address on File]        5/31/2023 USD                      $2,035.63 Customer Disbursement
        Confidential Customer USD Transferee #190    [Address on File]        5/23/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #190    [Address on File]        5/16/2023 USD                      $1,500.00 Customer Disbursement
                                                                                 TOTAL                           $6,035.63
        Confidential Customer USD Transferee #191    [Address on File]        5/25/2023 USD                          $9.85 Customer Disbursement
                                                                                 TOTAL                               $9.85
        Confidential Customer USD Transferee #192    [Address on File]        5/22/2023 USD                        $104.71 Customer Disbursement
                                                                                 TOTAL                            $104.71
        Confidential Customer USD Transferee #193    [Address on File]        6/20/2023 USD                      $3,671.40 Customer Disbursement
                                                                                 TOTAL                           $3,671.40
        Confidential Customer USD Transferee #194    [Address on File]         6/2/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #194    [Address on File]         6/1/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #195    [Address on File]         6/8/2023 USD                          $5.10 Customer Disbursement
                                                                                 TOTAL                               $5.10
        Confidential Customer USD Transferee #196    [Address on File]        5/25/2023 USD                        $306.00 Customer Disbursement
                                                                                 TOTAL                            $306.00
                                                     [Address on File]
        Confidential Customer USD Transferee #197                               6/12/2023 USD                     $22,581.00 Customer Disbursement
                                                                                   TOTAL                          $22,581.00
        Confidential Customer USD Transferee #198    [Address on File]          5/31/2023 USD                         $14.00 Customer Disbursement
                                                                                   TOTAL                              $14.00
        Confidential Customer USD Transferee #199    [Address on File]          5/23/2023 USD                      $1,530.81 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,530.81
        Confidential Customer USD Transferee #200          [Address on File]        5/31/2023 USD                         $26.00 Customer Disbursement
        Confidential Customer USD Transferee #200          [Address on File]        5/24/2023 USD                         $15.95 Customer Disbursement
                                                                                       TOTAL                              $41.95
        Confidential Customer USD Transferee #201          [Address on File]        5/31/2023 USD                        $901.00 Customer Disbursement
                                                                                       TOTAL                            $901.00
                                                           [Address on File]
        Confidential Customer USD Transferee #202                                     5/17/2023 USD                          $0.71 Customer Disbursement
                                                                                         TOTAL                               $0.71
        Confidential Customer USD Transferee #203          [Address on File]           6/6/2023 USD                        $331.57 Customer Disbursement
                                                                                         TOTAL                             $331.57
                                                           [Address on File]
        Confidential Customer USD Transferee #204                                     6/16/2023 USD                         $31.50 Customer Disbursement
                                                                                         TOTAL                              $31.50
        Confidential Customer USD Transferee #205          [Address on File]           6/6/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
                                                           [Address on File]
        Confidential Customer USD Transferee #206                                     6/20/2023 USD                        $119.96 Customer Disbursement
                                                                                         TOTAL                            $119.96
        Confidential Customer USD Transferee #207          [Address on File]          6/12/2023 USD                        $560.00 Customer Disbursement
                                                                                         TOTAL                            $560.00
        Confidential Customer USD Transferee #208          [Address on File]           6/6/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #209          [Address on File]          6/21/2023 USD                      $4,422.00 Customer Disbursement
                                                                                         TOTAL                           $4,422.00
        Confidential Customer USD Transferee #210          [Address on File]           6/7/2023 USD                         $29.27 Customer Disbursement
                                                                                         TOTAL                              $29.27
        Confidential Customer USD Transferee #211          [Address on File]          5/16/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                            $150.00
        Confidential Customer USD Transferee #212          [Address on File]          6/21/2023 USD                      $4,008.21 Customer Disbursement
        Confidential Customer USD Transferee #212          [Address on File]           6/8/2023 USD                      $4,287.79 Customer Disbursement
                                                                                         TOTAL                           $8,296.00
        Confidential Customer USD Transferee #213          [Address on File]           6/7/2023 USD                         $72.68 Customer Disbursement
        Confidential Customer USD Transferee #213          [Address on File]           6/5/2023 USD                        $100.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #213    [Address on File]        5/23/2023 USD                         $21.15 Customer Disbursement
        Confidential Customer USD Transferee #213    [Address on File]        5/22/2023 USD                         $98.29 Customer Disbursement
                                                                                 TOTAL                            $292.12
        Confidential Customer USD Transferee #214    [Address on File]         6/6/2023 USD                        $250.00 Customer Disbursement
                                                                                 TOTAL                            $250.00
        Confidential Customer USD Transferee #215    [Address on File]        5/18/2023 USD                         $46.03 Customer Disbursement
                                                                                 TOTAL                              $46.03
        Confidential Customer USD Transferee #216    [Address on File]        6/16/2023 USD                        $200.00 Customer Disbursement
                                                                                 TOTAL                            $200.00
        Confidential Customer USD Transferee #217    [Address on File]        6/13/2023 USD                        $176.42 Customer Disbursement
                                                                                 TOTAL                            $176.42
        Confidential Customer USD Transferee #218    [Address on File]         6/2/2023 USD                      $1,640.00 Customer Disbursement
        Confidential Customer USD Transferee #218    [Address on File]        5/23/2023 USD                      $1,500.44 Customer Disbursement
        Confidential Customer USD Transferee #218    [Address on File]        5/19/2023 USD                      $1,937.25 Customer Disbursement
                                                                                 TOTAL                           $5,077.69
                                                     [Address on File]
        Confidential Customer USD Transferee #219                               6/20/2023 USD                         $20.65 Customer Disbursement
                                                                                   TOTAL                              $20.65
        Confidential Customer USD Transferee #220    [Address on File]           6/9/2023 USD                          $5.00 Customer Disbursement
                                                                                   TOTAL                               $5.00
        Confidential Customer USD Transferee #221    [Address on File]          5/31/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #221    [Address on File]          5/31/2023 USD                        $225.00 Customer Disbursement
                                                                                   TOTAL                             $250.00
        Confidential Customer USD Transferee #222    [Address on File]           6/9/2023 USD                        $483.36 Customer Disbursement
                                                                                   TOTAL                             $483.36
        Confidential Customer USD Transferee #223    [Address on File]          5/24/2023 USD                         $80.00 Customer Disbursement
                                                                                   TOTAL                              $80.00
                                                     [Address on File]
        Confidential Customer USD Transferee #224                                6/5/2023 USD                     $11,261.00 Customer Disbursement
                                                                                  TOTAL                           $11,261.00
                                                     [Address on File]
        Confidential Customer USD Transferee #225                               6/20/2023 USD                        $293.00 Customer Disbursement
                                                                                   TOTAL                             $293.00
        Confidential Customer USD Transferee #226    [Address on File]           6/6/2023 USD                        $140.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $140.00
        Confidential Customer USD Transferee #227          [Address on File]        6/16/2023 USD                        $336.40 Customer Disbursement
                                                                                       TOTAL                            $336.40
        Confidential Customer USD Transferee #228          [Address on File]        5/22/2023 USD                         $84.16 Customer Disbursement
                                                                                       TOTAL                              $84.16
        Confidential Customer USD Transferee #229          [Address on File]        6/13/2023 USD                         $47.11 Customer Disbursement
                                                                                       TOTAL                              $47.11
        Confidential Customer USD Transferee #230          [Address on File]        5/18/2023 USD                        $168.13 Customer Disbursement
                                                                                       TOTAL                            $168.13
        Confidential Customer USD Transferee #231          [Address on File]         6/2/2023 USD                      $1,909.08 Customer Disbursement
                                                                                       TOTAL                           $1,909.08
        Confidential Customer USD Transferee #232          [Address on File]        5/26/2023 USD                      $5,744.39 Customer Disbursement
                                                                                       TOTAL                           $5,744.39
        Confidential Customer USD Transferee #233          [Address on File]        6/16/2023 USD                         $69.00 Customer Disbursement
                                                                                       TOTAL                              $69.00
        Confidential Customer USD Transferee #234          [Address on File]         6/5/2023 USD                          $6.00 Customer Disbursement
                                                                                       TOTAL                               $6.00
                                                           [Address on File]
        Confidential Customer USD Transferee #235                                     6/20/2023 USD                             $1.94 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #235                                     6/20/2023 USD                             $0.55 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #235                                     6/20/2023 USD                             $8.83 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #235                                      6/2/2023 USD                         $42.00 Customer Disbursement
                                                                                         TOTAL                              $53.32
        Confidential Customer USD Transferee #236          [Address on File]           6/6/2023 USD                        $480.00 Customer Disbursement
        Confidential Customer USD Transferee #236          [Address on File]          5/23/2023 USD                        $108.54 Customer Disbursement
                                                                                         TOTAL                            $588.54
        Confidential Customer USD Transferee #237          [Address on File]          5/18/2023 USD                        $184.00 Customer Disbursement
                                                                                         TOTAL                            $184.00
        Confidential Customer USD Transferee #238          [Address on File]           6/1/2023 USD                      $1,510.00 Customer Disbursement
                                                                                         TOTAL                           $1,510.00
        Confidential Customer USD Transferee #239          [Address on File]          6/20/2023 USD                         $21.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $21.00
        Confidential Customer USD Transferee #240          [Address on File]         6/6/2023 USD                         $60.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]         6/5/2023 USD                        $120.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]         6/2/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]         6/2/2023 USD                         $60.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]         6/1/2023 USD                         $60.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]         6/1/2023 USD                         $60.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]        5/31/2023 USD                         $70.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]        5/31/2023 USD                         $40.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]        5/31/2023 USD                         $30.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]        5/31/2023 USD                         $30.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]        5/30/2023 USD                         $60.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]        5/25/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]        5/25/2023 USD                         $60.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]        5/19/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]        5/17/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]        5/16/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #240          [Address on File]        5/16/2023 USD                         $80.00 Customer Disbursement
                                                                                       TOTAL                           $1,290.00
        Confidential Customer USD Transferee #241          [Address on File]        6/20/2023 USD                      $5,001.00 Customer Disbursement
                                                                                       TOTAL                           $5,001.00
        Confidential Customer USD Transferee #242          [Address on File]        5/31/2023 USD                          $6.43 Customer Disbursement
                                                                                       TOTAL                               $6.43
        Confidential Customer USD Transferee #243          [Address on File]        6/16/2023 USD                        $139.00 Customer Disbursement
                                                                                       TOTAL                            $139.00
        Confidential Customer USD Transferee #244          [Address on File]        5/24/2023 USD                        $773.57 Customer Disbursement
                                                                                       TOTAL                            $773.57
        Confidential Customer USD Transferee #245          [Address on File]        6/21/2023 USD                          $8.88 Customer Disbursement
                                                                                       TOTAL                               $8.88
        Confidential Customer USD Transferee #246          [Address on File]        5/23/2023 USD                        $678.00 Customer Disbursement
                                                                                       TOTAL                            $678.00
        Confidential Customer USD Transferee #247          [Address on File]         6/7/2023 USD                      $4,799.60 Customer Disbursement
        Confidential Customer USD Transferee #247          [Address on File]         6/5/2023 USD                      $1,600.00 Customer Disbursement
        Confidential Customer USD Transferee #247          [Address on File]        5/31/2023 USD                        $898.38 Customer Disbursement
                                                                                       TOTAL                           $7,297.98
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #248    [Address on File]        5/31/2023 USD                        $536.00 Customer Disbursement
                                                                                 TOTAL                            $536.00
        Confidential Customer USD Transferee #249    [Address on File]         6/8/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #250    [Address on File]        5/26/2023 USD                      $2,630.00 Customer Disbursement
                                                                                 TOTAL                           $2,630.00
        Confidential Customer USD Transferee #251    [Address on File]        5/17/2023 USD                      $1,201.66 Customer Disbursement
                                                                                 TOTAL                           $1,201.66
        Confidential Customer USD Transferee #252    [Address on File]        6/20/2023 USD                      $5,408.94 Customer Disbursement
                                                                                 TOTAL                           $5,408.94
        Confidential Customer USD Transferee #253    [Address on File]        6/21/2023 USD                    $15,482.17 Customer Disbursement
        Confidential Customer USD Transferee #253    [Address on File]        6/16/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #253    [Address on File]        6/13/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                         $35,982.17
        Confidential Customer USD Transferee #254    [Address on File]        6/16/2023 USD                        $459.40 Customer Disbursement
                                                                                 TOTAL                            $459.40
        Confidential Customer USD Transferee #255    [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #255    [Address on File]        5/19/2023 USD                        $402.25 Customer Disbursement
        Confidential Customer USD Transferee #255    [Address on File]        5/16/2023 USD                         $86.01 Customer Disbursement
                                                                                 TOTAL                            $588.26
        Confidential Customer USD Transferee #256    [Address on File]        6/21/2023 USD                         $39.79 Customer Disbursement
        Confidential Customer USD Transferee #256    [Address on File]         6/5/2023 USD                         $99.50 Customer Disbursement
        Confidential Customer USD Transferee #256    [Address on File]        5/17/2023 USD                        $194.09 Customer Disbursement
                                                                                 TOTAL                            $333.38
        Confidential Customer USD Transferee #257    [Address on File]        5/31/2023 USD                      $1,500.00 Customer Disbursement
                                                                                 TOTAL                           $1,500.00
        Confidential Customer USD Transferee #258    [Address on File]        6/20/2023 USD                      $1,284.13 Customer Disbursement
                                                                                 TOTAL                           $1,284.13
                                                     [Address on File]
        Confidential Customer USD Transferee #259                               6/20/2023 USD                         $25.00 Customer Disbursement
                                                                                   TOTAL                              $25.00
        Confidential Customer USD Transferee #260    [Address on File]          5/19/2023 USD                         $25.41 Customer Disbursement
                                                                                   TOTAL                              $25.41
        Confidential Customer USD Transferee #261    [Address on File]           6/1/2023 USD                         $10.00 Customer Disbursement

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                                            Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #262          [Address on File]        6/21/2023 USD                          $5.01 Customer Disbursement
                                                                                       TOTAL                               $5.01
        Confidential Customer USD Transferee #263          [Address on File]         6/8/2023 USD                         $93.89 Customer Disbursement
                                                                                       TOTAL                              $93.89
        Confidential Customer USD Transferee #264          [Address on File]         6/6/2023 USD                        $125.00 Customer Disbursement
                                                                                       TOTAL                            $125.00
        Confidential Customer USD Transferee #265          [Address on File]        6/21/2023 USD                      $9,761.00 Customer Disbursement
        Confidential Customer USD Transferee #265          [Address on File]        6/20/2023 USD                      $3,660.03 Customer Disbursement
        Confidential Customer USD Transferee #265          [Address on File]         6/8/2023 USD                        $772.25 Customer Disbursement
                                                                                       TOTAL                         $14,193.28
        Confidential Customer USD Transferee #266          [Address on File]        6/12/2023 USD                         $12.37 Customer Disbursement
                                                                                       TOTAL                              $12.37
        Confidential Customer USD Transferee #267          [Address on File]         6/9/2023 USD                         $52.00 Customer Disbursement
                                                                                       TOTAL                              $52.00
        Confidential Customer USD Transferee #268          [Address on File]        6/21/2023 USD                      $2,006.20 Customer Disbursement
                                                                                       TOTAL                           $2,006.20
        Confidential Customer USD Transferee #269          [Address on File]         6/7/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $25.00
        Confidential Customer USD Transferee #270          [Address on File]        6/16/2023 USD                          $4.42 Customer Disbursement
                                                                                       TOTAL                               $4.42
        Confidential Customer USD Transferee #271          [Address on File]         6/5/2023 USD                        $378.46 Customer Disbursement
        Confidential Customer USD Transferee #271          [Address on File]        5/30/2023 USD                        $341.01 Customer Disbursement
        Confidential Customer USD Transferee #271          [Address on File]        5/22/2023 USD                        $333.52 Customer Disbursement
        Confidential Customer USD Transferee #271          [Address on File]        5/16/2023 USD                        $473.83 Customer Disbursement
                                                                                       TOTAL                           $1,526.82
        Confidential Customer USD Transferee #272          [Address on File]         6/6/2023 USD                        $108.95 Customer Disbursement
                                                                                       TOTAL                            $108.95
        Confidential Customer USD Transferee #273          [Address on File]         6/9/2023 USD                      $2,551.00 Customer Disbursement
                                                                                       TOTAL                           $2,551.00
        Confidential Customer USD Transferee #274          [Address on File]        5/26/2023 USD                        $800.00 Customer Disbursement
                                                                                       TOTAL                            $800.00
        Confidential Customer USD Transferee #275          [Address on File]        5/16/2023 USD                         $20.00 Customer Disbursement
                                                                                       TOTAL                              $20.00

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                                      Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #276    [Address on File]        5/17/2023 USD                       $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00
        Confidential Customer USD Transferee #277    [Address on File]        5/17/2023 USD                    $16,975.00 Customer Disbursement
        Confidential Customer USD Transferee #277    [Address on File]        5/17/2023 USD                    $17,350.00 Customer Disbursement
                                                                                 TOTAL                         $34,325.00
        Confidential Customer USD Transferee #278    [Address on File]        5/31/2023 USD                        $51.36 Customer Disbursement
                                                                                 TOTAL                             $51.36
        Confidential Customer USD Transferee #279    [Address on File]        6/16/2023 USD                        $19.30 Customer Disbursement
                                                                                 TOTAL                             $19.30
        Confidential Customer USD Transferee #280    [Address on File]        6/20/2023 USD                       $165.78 Customer Disbursement
                                                                                 TOTAL                            $165.78
        Confidential Customer USD Transferee #281    [Address on File]         6/6/2023 USD                       $448.15 Customer Disbursement
        Confidential Customer USD Transferee #281    [Address on File]        5/24/2023 USD                       $290.71 Customer Disbursement
                                                                                 TOTAL                            $738.86
        Confidential Customer USD Transferee #282    [Address on File]        5/30/2023 USD                       $150.00 Customer Disbursement
                                                                                 TOTAL                            $150.00
        Confidential Customer USD Transferee #283    [Address on File]        6/20/2023 USD                        $10.89 Customer Disbursement
        Confidential Customer USD Transferee #283    [Address on File]        6/13/2023 USD                        $40.00 Customer Disbursement
        Confidential Customer USD Transferee #283    [Address on File]        5/25/2023 USD                        $20.00 Customer Disbursement
                                                                                 TOTAL                             $70.89
                                                     [Address on File]
        Confidential Customer USD Transferee #284                               6/16/2023 USD                          $5.00 Customer Disbursement
                                                                                   TOTAL                               $5.00
        Confidential Customer USD Transferee #285    [Address on File]          5/23/2023 USD                        $500.00 Customer Disbursement
                                                                                   TOTAL                            $500.00
        Confidential Customer USD Transferee #286    [Address on File]          5/23/2023 USD                      $1,200.00 Customer Disbursement
                                                                                   TOTAL                           $1,200.00
        Confidential Customer USD Transferee #287    [Address on File]          5/23/2023 USD                          $1.01 Customer Disbursement
                                                                                   TOTAL                               $1.01
        Confidential Customer USD Transferee #288    [Address on File]           6/8/2023 USD                        $500.00 Customer Disbursement
                                                                                   TOTAL                            $500.00
        Confidential Customer USD Transferee #289    [Address on File]          5/23/2023 USD                      $2,332.50 Customer Disbursement
                                                                                   TOTAL                           $2,332.50
        Confidential Customer USD Transferee #290    [Address on File]          5/25/2023 USD                        $120.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #290    [Address on File]        5/17/2023 USD                        $140.00 Customer Disbursement
                                                                                 TOTAL                            $260.00
        Confidential Customer USD Transferee #291    [Address on File]        5/19/2023 USD                        $290.67 Customer Disbursement
                                                                                 TOTAL                            $290.67
        Confidential Customer USD Transferee #292    [Address on File]         6/8/2023 USD                      $2,500.00 Customer Disbursement
        Confidential Customer USD Transferee #292    [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #292    [Address on File]        5/17/2023 USD                      $1,200.00 Customer Disbursement
                                                                                 TOTAL                           $6,700.00
                                                     [Address on File]
        Confidential Customer USD Transferee #293                               6/16/2023 USD                         $60.00 Customer Disbursement
                                                                                   TOTAL                              $60.00
        Confidential Customer USD Transferee #294    [Address on File]          5/24/2023 USD                        $404.22 Customer Disbursement
                                                                                   TOTAL                            $404.22
        Confidential Customer USD Transferee #295    [Address on File]          5/16/2023 USD                         $15.00 Customer Disbursement
                                                                                   TOTAL                              $15.00
        Confidential Customer USD Transferee #296    [Address on File]          6/16/2023 USD                         $30.00 Customer Disbursement
                                                                                   TOTAL                              $30.00
        Confidential Customer USD Transferee #297    [Address on File]          5/18/2023 USD                      $2,496.50 Customer Disbursement
                                                                                   TOTAL                           $2,496.50
        Confidential Customer USD Transferee #298    [Address on File]          5/17/2023 USD                          $2.60 Customer Disbursement
                                                                                   TOTAL                               $2.60
        Confidential Customer USD Transferee #299    [Address on File]          6/16/2023 USD                        $109.00 Customer Disbursement
        Confidential Customer USD Transferee #299    [Address on File]          6/13/2023 USD                     $10,730.99 Customer Disbursement
                                                                                   TOTAL                          $10,839.99
        Confidential Customer USD Transferee #300    [Address on File]          5/23/2023 USD                      $1,325.00 Customer Disbursement
        Confidential Customer USD Transferee #300    [Address on File]          5/23/2023 USD                        $258.00 Customer Disbursement
                                                                                   TOTAL                           $1,583.00
        Confidential Customer USD Transferee #301    [Address on File]          6/15/2023 USD                      $4,708.27 Customer Disbursement
                                                                                   TOTAL                           $4,708.27
        Confidential Customer USD Transferee #302    [Address on File]          5/30/2023 USD                      $2,000.00 Customer Disbursement
                                                                                   TOTAL                           $2,000.00
        Confidential Customer USD Transferee #303    [Address on File]           6/8/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #304    [Address on File]           6/1/2023 USD                        $500.08 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $500.08
        Confidential Customer USD Transferee #305          [Address on File]         6/6/2023 USD                        $223.68 Customer Disbursement
                                                                                       TOTAL                            $223.68
        Confidential Customer USD Transferee #306          [Address on File]         6/6/2023 USD                         $27.00 Customer Disbursement
        Confidential Customer USD Transferee #306          [Address on File]        5/31/2023 USD                        $500.00 Customer Disbursement
                                                                                       TOTAL                            $527.00
        Confidential Customer USD Transferee #307          [Address on File]         6/2/2023 USD                        $300.00 Customer Disbursement
                                                                                       TOTAL                            $300.00
        Confidential Customer USD Transferee #308          [Address on File]         6/5/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #308          [Address on File]        5/31/2023 USD                      $1,200.00 Customer Disbursement
                                                                                       TOTAL                           $2,200.00
        Confidential Customer USD Transferee #309          [Address on File]        6/21/2023 USD                        $600.00 Customer Disbursement
                                                                                       TOTAL                            $600.00
        Confidential Customer USD Transferee #310          [Address on File]        5/16/2023 USD                      $1,113.48 Customer Disbursement
                                                                                       TOTAL                           $1,113.48
        Confidential Customer USD Transferee #311          [Address on File]        5/30/2023 USD                      $1,400.00 Customer Disbursement
        Confidential Customer USD Transferee #311          [Address on File]        5/30/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $4,400.00
        Confidential Customer USD Transferee #312          [Address on File]         6/6/2023 USD                      $1,963.00 Customer Disbursement
                                                                                       TOTAL                           $1,963.00
                                                           [Address on File]
        Confidential Customer USD Transferee #313                                     6/22/2023 USD                         $11.91 Customer Disbursement
                                                                                         TOTAL                              $11.91
        Confidential Customer USD Transferee #314          [Address on File]          5/25/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #314          [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #314          [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $7,000.00
        Confidential Customer USD Transferee #315          [Address on File]          5/16/2023 USD                        $300.00 Customer Disbursement
                                                                                         TOTAL                            $300.00
        Confidential Customer USD Transferee #316          [Address on File]           6/6/2023 USD                        $196.37 Customer Disbursement
                                                                                         TOTAL                            $196.37
        Confidential Customer USD Transferee #317          [Address on File]          6/13/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #317          [Address on File]          5/16/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $20.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #318    [Address on File]        5/31/2023 USD                        $695.33 Customer Disbursement
                                                                                 TOTAL                            $695.33
        Confidential Customer USD Transferee #319    [Address on File]        6/21/2023 USD                      $1,850.30 Customer Disbursement
                                                                                 TOTAL                           $1,850.30
        Confidential Customer USD Transferee #320    [Address on File]        6/15/2023 USD                      $4,955.00 Customer Disbursement
        Confidential Customer USD Transferee #320    [Address on File]         6/2/2023 USD                        $285.00 Customer Disbursement
        Confidential Customer USD Transferee #320    [Address on File]         6/1/2023 USD                      $1,275.00 Customer Disbursement
        Confidential Customer USD Transferee #320    [Address on File]        5/31/2023 USD                        $685.00 Customer Disbursement
                                                                                 TOTAL                           $7,200.00
        Confidential Customer USD Transferee #321    [Address on File]        5/31/2023 USD                        $200.00 Customer Disbursement
                                                                                 TOTAL                            $200.00
        Confidential Customer USD Transferee #322    [Address on File]         6/6/2023 USD                      $1,092.81 Customer Disbursement
                                                                                 TOTAL                           $1,092.81
                                                     [Address on File]
        Confidential Customer USD Transferee #323                               6/22/2023 USD                        $163.00 Customer Disbursement
                                                                                   TOTAL                            $163.00
        Confidential Customer USD Transferee #324    [Address on File]          6/20/2023 USD                         $15.00 Customer Disbursement
                                                                                   TOTAL                              $15.00
        Confidential Customer USD Transferee #325    [Address on File]           6/1/2023 USD                      $1,331.08 Customer Disbursement
                                                                                   TOTAL                           $1,331.08
                                                     [Address on File]
        Confidential Customer USD Transferee #326                               6/21/2023 USD                        $120.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #326                                6/8/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #326                                6/5/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,320.00
        Confidential Customer USD Transferee #327    [Address on File]          5/31/2023 USD                         $12.66 Customer Disbursement
                                                                                   TOTAL                              $12.66
        Confidential Customer USD Transferee #328    [Address on File]           6/7/2023 USD                        $465.00 Customer Disbursement
                                                                                   TOTAL                            $465.00
        Confidential Customer USD Transferee #329    [Address on File]          6/21/2023 USD                        $103.19 Customer Disbursement
                                                                                   TOTAL                            $103.19
        Confidential Customer USD Transferee #330    [Address on File]          6/21/2023 USD                        $974.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #330    [Address on File]        5/31/2023 USD                         $52.00 Customer Disbursement
                                                                                 TOTAL                           $1,026.00
        Confidential Customer USD Transferee #331    [Address on File]        6/21/2023 USD                      $9,990.93 Customer Disbursement
                                                                                 TOTAL                           $9,990.93
        Confidential Customer USD Transferee #332    [Address on File]        6/20/2023 USD                          $8.53 Customer Disbursement
                                                                                 TOTAL                               $8.53
        Confidential Customer USD Transferee #333    [Address on File]        5/23/2023 USD                        $294.20 Customer Disbursement
                                                                                 TOTAL                            $294.20
        Confidential Customer USD Transferee #334    [Address on File]        6/20/2023 USD                      $7,002.66 Customer Disbursement
                                                                                 TOTAL                           $7,002.66
                                                     [Address on File]
        Confidential Customer USD Transferee #335                                6/7/2023 USD                         $98.70 Customer Disbursement
                                                                                   TOTAL                              $98.70
        Confidential Customer USD Transferee #336    [Address on File]          5/26/2023 USD                        $117.00 Customer Disbursement
                                                                                   TOTAL                            $117.00
        Confidential Customer USD Transferee #337    [Address on File]          6/20/2023 USD                      $1,386.00 Customer Disbursement
                                                                                   TOTAL                           $1,386.00
        Confidential Customer USD Transferee #338    [Address on File]          5/31/2023 USD                          $5.01 Customer Disbursement
                                                                                   TOTAL                               $5.01
        Confidential Customer USD Transferee #339    [Address on File]          5/23/2023 USD                        $456.08 Customer Disbursement
                                                                                   TOTAL                            $456.08
        Confidential Customer USD Transferee #340    [Address on File]          6/12/2023 USD                        $250.09 Customer Disbursement
                                                                                   TOTAL                            $250.09
        Confidential Customer USD Transferee #341    [Address on File]          6/20/2023 USD                      $6,664.00 Customer Disbursement
                                                                                   TOTAL                           $6,664.00
        Confidential Customer USD Transferee #342    [Address on File]          5/31/2023 USD                         $93.35 Customer Disbursement
                                                                                   TOTAL                              $93.35
        Confidential Customer USD Transferee #343    [Address on File]          5/23/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #343    [Address on File]          5/17/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $2,000.00
        Confidential Customer USD Transferee #344    [Address on File]           6/1/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #345    [Address on File]          5/31/2023 USD                      $1,082.46 Customer Disbursement
                                                                                   TOTAL                           $1,082.46

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #346    [Address on File]        5/17/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #347    [Address on File]        5/19/2023 USD                        $550.06 Customer Disbursement
                                                                                 TOTAL                            $550.06
        Confidential Customer USD Transferee #348    [Address on File]        5/31/2023 USD                        $118.31 Customer Disbursement
                                                                                 TOTAL                            $118.31
        Confidential Customer USD Transferee #349    [Address on File]         6/6/2023 USD                      $2,925.00 Customer Disbursement
                                                                                 TOTAL                           $2,925.00
        Confidential Customer USD Transferee #350    [Address on File]        5/16/2023 USD                        $300.00 Customer Disbursement
                                                                                 TOTAL                            $300.00
        Confidential Customer USD Transferee #351    [Address on File]        6/21/2023 USD                      $7,100.00 Customer Disbursement
        Confidential Customer USD Transferee #351    [Address on File]        6/20/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $9,100.00
        Confidential Customer USD Transferee #352    [Address on File]        5/26/2023 USD                         $99.15 Customer Disbursement
        Confidential Customer USD Transferee #352    [Address on File]        5/16/2023 USD                         $80.00 Customer Disbursement
                                                                                 TOTAL                            $179.15
                                                     [Address on File]
        Confidential Customer USD Transferee #353                               6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                             $200.00
                                                     [Address on File]
        Confidential Customer USD Transferee #354                                6/5/2023 USD                      $2,000.00 Customer Disbursement
                                                                                   TOTAL                           $2,000.00
        Confidential Customer USD Transferee #355    [Address on File]           6/8/2023 USD                        $150.00 Customer Disbursement
                                                                                   TOTAL                            $150.00
        Confidential Customer USD Transferee #356    [Address on File]          5/30/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $3,000.00
        Confidential Customer USD Transferee #357    [Address on File]          6/21/2023 USD                        $640.19 Customer Disbursement
                                                                                   TOTAL                            $640.19
        Confidential Customer USD Transferee #358    [Address on File]          6/20/2023 USD                         $28.00 Customer Disbursement
                                                                                   TOTAL                              $28.00
                                                     [Address on File]
        Confidential Customer USD Transferee #359                               5/16/2023 USD                        $125.00 Customer Disbursement
                                                                                   TOTAL                             $125.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #360                                     6/21/2023 USD                         $24.81 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #360                                      6/1/2023 USD                        $105.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #360                                     5/24/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #360                                     5/23/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $529.81
        Confidential Customer USD Transferee #361          [Address on File]          5/24/2023 USD                      $2,269.61 Customer Disbursement
        Confidential Customer USD Transferee #361          [Address on File]          5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #361          [Address on File]          5/23/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $6,269.61
        Confidential Customer USD Transferee #362          [Address on File]           6/7/2023 USD                         $20.00 Customer Disbursement
                                                                                         TOTAL                              $20.00
        Confidential Customer USD Transferee #363          [Address on File]          5/25/2023 USD                      $3,700.04 Customer Disbursement
                                                                                         TOTAL                           $3,700.04
        Confidential Customer USD Transferee #364          [Address on File]           6/5/2023 USD                        $116.27 Customer Disbursement
        Confidential Customer USD Transferee #364          [Address on File]          5/22/2023 USD                        $116.27 Customer Disbursement
                                                                                         TOTAL                            $232.54
        Confidential Customer USD Transferee #365          [Address on File]          6/16/2023 USD                        $265.52 Customer Disbursement
        Confidential Customer USD Transferee #365          [Address on File]           6/8/2023 USD                      $2,728.00 Customer Disbursement
        Confidential Customer USD Transferee #365          [Address on File]           6/6/2023 USD                      $3,500.00 Customer Disbursement
        Confidential Customer USD Transferee #365          [Address on File]           6/2/2023 USD                      $2,425.00 Customer Disbursement
        Confidential Customer USD Transferee #365          [Address on File]          5/22/2023 USD                      $4,180.00 Customer Disbursement
                                                                                         TOTAL                          $13,098.52
        Confidential Customer USD Transferee #366          [Address on File]          5/31/2023 USD                        $205.00 Customer Disbursement
        Confidential Customer USD Transferee #366          [Address on File]          5/23/2023 USD                         $93.00 Customer Disbursement
        Confidential Customer USD Transferee #366          [Address on File]          5/16/2023 USD                         $97.00 Customer Disbursement
                                                                                         TOTAL                            $395.00
        Confidential Customer USD Transferee #367          [Address on File]          5/31/2023 USD                        $206.74 Customer Disbursement
                                                                                         TOTAL                            $206.74
        Confidential Customer USD Transferee #368          [Address on File]           6/6/2023 USD                        $500.07 Customer Disbursement
        Confidential Customer USD Transferee #368          [Address on File]           6/1/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.07
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                                      Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #369    [Address on File]        5/23/2023 USD                         $9.87 Customer Disbursement
                                                                                 TOTAL                              $9.87
                                                     [Address on File]
        Confidential Customer USD Transferee #370                               6/21/2023 USD                         $12.74 Customer Disbursement
                                                                                   TOTAL                              $12.74
        Confidential Customer USD Transferee #371    [Address on File]          5/31/2023 USD                        $750.00 Customer Disbursement
        Confidential Customer USD Transferee #371    [Address on File]          5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #371    [Address on File]          5/23/2023 USD                        $750.00 Customer Disbursement
                                                                                   TOTAL                           $4,500.00
                                                     [Address on File]
        Confidential Customer USD Transferee #372                               5/19/2023 USD                        $241.25 Customer Disbursement
                                                                                   TOTAL                            $241.25
        Confidential Customer USD Transferee #373    [Address on File]           6/8/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]           6/7/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]           6/6/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]           6/5/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]           6/5/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]           6/1/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/31/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/31/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/30/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/25/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/24/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/23/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/22/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/22/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/19/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/19/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/17/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/17/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #373    [Address on File]          5/16/2023 USD                        $500.00 Customer Disbursement
                                                                                   TOTAL                           $9,500.00
        Confidential Customer USD Transferee #374    [Address on File]          5/18/2023 USD                         $28.00 Customer Disbursement
                                                                                   TOTAL                              $28.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #375                                     6/21/2023 USD                         $29.04 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #375                                     6/21/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                             $179.04
        Confidential Customer USD Transferee #376          [Address on File]          5/25/2023 USD                        $207.27 Customer Disbursement
                                                                                         TOTAL                             $207.27
                                                           [Address on File]
        Confidential Customer USD Transferee #377                                     6/13/2023 USD                         $87.00 Customer Disbursement
                                                                                         TOTAL                              $87.00
        Confidential Customer USD Transferee #378          [Address on File]          6/21/2023 USD                        $354.00 Customer Disbursement
                                                                                         TOTAL                             $354.00
                                                           [Address on File]
        Confidential Customer USD Transferee #379                                     5/26/2023 USD                      $1,280.16 Customer Disbursement
                                                                                         TOTAL                           $1,280.16
        Confidential Customer USD Transferee #380          [Address on File]          6/21/2023 USD                         $57.81 Customer Disbursement
                                                                                         TOTAL                              $57.81
        Confidential Customer USD Transferee #381          [Address on File]           6/6/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #381          [Address on File]           6/5/2023 USD                         $11.00 Customer Disbursement
        Confidential Customer USD Transferee #381          [Address on File]          5/23/2023 USD                         $98.59 Customer Disbursement
                                                                                         TOTAL                            $134.59
        Confidential Customer USD Transferee #382          [Address on File]          5/16/2023 USD                        $400.00 Customer Disbursement
                                                                                         TOTAL                            $400.00
        Confidential Customer USD Transferee #383          [Address on File]          5/24/2023 USD                        $240.00 Customer Disbursement
                                                                                         TOTAL                            $240.00
        Confidential Customer USD Transferee #384          [Address on File]          6/12/2023 USD                      $3,826.26 Customer Disbursement
                                                                                         TOTAL                           $3,826.26
        Confidential Customer USD Transferee #385          [Address on File]           6/6/2023 USD                         $39.00 Customer Disbursement
                                                                                         TOTAL                              $39.00
        Confidential Customer USD Transferee #386          [Address on File]           6/2/2023 USD                         $88.42 Customer Disbursement
        Confidential Customer USD Transferee #386          [Address on File]          5/26/2023 USD                        $519.36 Customer Disbursement
                                                                                         TOTAL                            $607.78
        Confidential Customer USD Transferee #387          [Address on File]          5/30/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #387          [Address on File]          5/16/2023 USD                        $400.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $800.00
        Confidential Customer USD Transferee #388          [Address on File]         6/8/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #388          [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $6,000.00
        Confidential Customer USD Transferee #389          [Address on File]        6/21/2023 USD                      $1,500.00 Customer Disbursement
                                                                                       TOTAL                           $1,500.00
        Confidential Customer USD Transferee #390          [Address on File]        6/12/2023 USD                        $109.14 Customer Disbursement
                                                                                       TOTAL                            $109.14
        Confidential Customer USD Transferee #391          [Address on File]         6/2/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #391          [Address on File]         6/1/2023 USD                         $35.00 Customer Disbursement
                                                                                       TOTAL                              $45.00
        Confidential Customer USD Transferee #392          [Address on File]        5/31/2023 USD                      $3,942.64 Customer Disbursement
                                                                                       TOTAL                           $3,942.64
        Confidential Customer USD Transferee #393          [Address on File]        6/21/2023 USD                          $8.73 Customer Disbursement
                                                                                       TOTAL                               $8.73
        Confidential Customer USD Transferee #394          [Address on File]         6/1/2023 USD                      $5,530.79 Customer Disbursement
                                                                                       TOTAL                           $5,530.79
        Confidential Customer USD Transferee #395          [Address on File]        6/22/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #395          [Address on File]        6/13/2023 USD                          $5.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
                                                           [Address on File]
        Confidential Customer USD Transferee #396                                     6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                             $200.00
        Confidential Customer USD Transferee #397          [Address on File]          5/24/2023 USD                        $693.71 Customer Disbursement
                                                                                         TOTAL                             $693.71
                                                           [Address on File]
        Confidential Customer USD Transferee #398                                     6/21/2023 USD                         $28.78 Customer Disbursement
                                                                                         TOTAL                              $28.78
        Confidential Customer USD Transferee #399          [Address on File]          5/25/2023 USD                        $611.23 Customer Disbursement
                                                                                         TOTAL                            $611.23
        Confidential Customer USD Transferee #400          [Address on File]          6/13/2023 USD                        $264.32 Customer Disbursement
        Confidential Customer USD Transferee #400          [Address on File]          6/13/2023 USD                      $1,984.10 Customer Disbursement
                                                                                         TOTAL                           $2,248.42
        Confidential Customer USD Transferee #401          [Address on File]          5/23/2023 USD                      $1,515.91 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,515.91
        Confidential Customer USD Transferee #402          [Address on File]        6/16/2023 USD                    $78,346.59 Customer Disbursement
        Confidential Customer USD Transferee #402          [Address on File]        6/12/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #402          [Address on File]         6/9/2023 USD                    $12,500.00 Customer Disbursement
        Confidential Customer USD Transferee #402          [Address on File]         6/5/2023 USD                    $11,250.94 Customer Disbursement
                                                                                       TOTAL                        $122,097.53
        Confidential Customer USD Transferee #403          [Address on File]        5/31/2023 USD                        $297.89 Customer Disbursement
                                                                                       TOTAL                            $297.89
        Confidential Customer USD Transferee #404          [Address on File]        5/16/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $100.00
        Confidential Customer USD Transferee #405          [Address on File]        5/24/2023 USD                      $1,000.76 Customer Disbursement
                                                                                       TOTAL                           $1,000.76
        Confidential Customer USD Transferee #406          [Address on File]         6/1/2023 USD                          $1.15 Customer Disbursement
                                                                                       TOTAL                               $1.15
        Confidential Customer USD Transferee #407          [Address on File]         6/1/2023 USD                          $5.04 Customer Disbursement
                                                                                       TOTAL                               $5.04
        Confidential Customer USD Transferee #408          [Address on File]        6/21/2023 USD                    $22,000.00 Customer Disbursement
        Confidential Customer USD Transferee #408          [Address on File]        6/21/2023 USD                        $474.93 Customer Disbursement
        Confidential Customer USD Transferee #408          [Address on File]        6/21/2023 USD                    $20,000.00 Customer Disbursement
                                                                                       TOTAL                         $42,474.93
        Confidential Customer USD Transferee #409          [Address on File]        6/12/2023 USD                      $4,255.84 Customer Disbursement
                                                                                       TOTAL                           $4,255.84
        Confidential Customer USD Transferee #410          [Address on File]        6/12/2023 USD                    $60,000.00 Customer Disbursement
                                                                                       TOTAL                         $60,000.00
        Confidential Customer USD Transferee #411          [Address on File]        6/21/2023 USD                      $5,990.19 Customer Disbursement
        Confidential Customer USD Transferee #411          [Address on File]        6/20/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                           $6,000.19
        Confidential Customer USD Transferee #412          [Address on File]        5/22/2023 USD                        $525.86 Customer Disbursement
                                                                                       TOTAL                            $525.86
        Confidential Customer USD Transferee #413          [Address on File]        5/26/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $100.00
        Confidential Customer USD Transferee #414          [Address on File]         6/5/2023 USD                         $38.00 Customer Disbursement
                                                                                       TOTAL                              $38.00
        Confidential Customer USD Transferee #415          [Address on File]        5/18/2023 USD                        $108.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $108.00
        Confidential Customer USD Transferee #416          [Address on File]         6/6/2023 USD                        $653.77 Customer Disbursement
        Confidential Customer USD Transferee #416          [Address on File]         6/2/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #416          [Address on File]        5/31/2023 USD                      $1,700.00 Customer Disbursement
        Confidential Customer USD Transferee #416          [Address on File]        5/30/2023 USD                        $747.13 Customer Disbursement
        Confidential Customer USD Transferee #416          [Address on File]        5/22/2023 USD                        $802.83 Customer Disbursement
        Confidential Customer USD Transferee #416          [Address on File]        5/18/2023 USD                      $1,479.00 Customer Disbursement
                                                                                       TOTAL                           $6,382.73
        Confidential Customer USD Transferee #417          [Address on File]         6/6/2023 USD                      $1,684.78 Customer Disbursement
        Confidential Customer USD Transferee #417          [Address on File]        5/22/2023 USD                      $1,684.78 Customer Disbursement
                                                                                       TOTAL                           $3,369.56
        Confidential Customer USD Transferee #418          [Address on File]        6/15/2023 USD                        $325.00 Customer Disbursement
                                                                                       TOTAL                            $325.00
        Confidential Customer USD Transferee #419          [Address on File]        5/16/2023 USD                         $55.00 Customer Disbursement
                                                                                       TOTAL                              $55.00
        Confidential Customer USD Transferee #420          [Address on File]         6/8/2023 USD                         $30.04 Customer Disbursement
                                                                                       TOTAL                              $30.04
        Confidential Customer USD Transferee #421          [Address on File]         6/8/2023 USD                      $1,492.85 Customer Disbursement
                                                                                       TOTAL                           $1,492.85
        Confidential Customer USD Transferee #422          [Address on File]        5/18/2023 USD                         $34.00 Customer Disbursement
                                                                                       TOTAL                              $34.00
        Confidential Customer USD Transferee #423          [Address on File]        6/21/2023 USD                      $2,694.04 Customer Disbursement
                                                                                       TOTAL                           $2,694.04
        Confidential Customer USD Transferee #424          [Address on File]        5/31/2023 USD                         $53.79 Customer Disbursement
                                                                                       TOTAL                              $53.79
        Confidential Customer USD Transferee #425          [Address on File]        6/16/2023 USD                         $79.45 Customer Disbursement
                                                                                       TOTAL                              $79.45
        Confidential Customer USD Transferee #426          [Address on File]        5/22/2023 USD                        $287.58 Customer Disbursement
                                                                                       TOTAL                            $287.58
                                                           [Address on File]
        Confidential Customer USD Transferee #427                                     6/20/2023 USD                         $39.93 Customer Disbursement
                                                                                         TOTAL                              $39.93
        Confidential Customer USD Transferee #428          [Address on File]           6/8/2023 USD                         $95.63 Customer Disbursement
                                                                                         TOTAL                              $95.63

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #429    [Address on File]         6/7/2023 USD                      $2,563.15 Customer Disbursement
                                                                                TOTAL                            $2,563.15
                                                     [Address on File]
        Confidential Customer USD Transferee #430                               5/31/2023 USD                 $9,830,818.40 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #430                               5/31/2023 USD                $35,169,181.60 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #430                               5/24/2023 USD                $45,000,000.00 Customer Disbursement
                                                                                   TOTAL                     $90,000,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #431                                6/5/2023 USD                $34,938,230.76 Customer Disbursement
                                                                                  TOTAL                      $34,938,230.76
                                                     [Address on File]
        Confidential Customer USD Transferee #432                                6/7/2023 USD                 $1,674,354.20 Customer Disbursement
                                                                                   TOTAL                      $1,674,354.20
        Confidential Customer USD Transferee #433    [Address on File]          6/21/2023 USD                       $442.40 Customer Disbursement
                                                                                   TOTAL                           $442.40
        Confidential Customer USD Transferee #434    [Address on File]          6/21/2023 USD                     $4,043.96 Customer Disbursement
                                                                                   TOTAL                          $4,043.96
        Confidential Customer USD Transferee #435    [Address on File]           6/8/2023 USD                       $911.68 Customer Disbursement
                                                                                   TOTAL                           $911.68
        Confidential Customer USD Transferee #436    [Address on File]          6/21/2023 USD                     $4,727.31 Customer Disbursement
                                                                                   TOTAL                          $4,727.31
        Confidential Customer USD Transferee #437    [Address on File]          6/15/2023 USD                     $4,471.38 Customer Disbursement
                                                                                   TOTAL                          $4,471.38
                                                     [Address on File]
        Confidential Customer USD Transferee #438                               5/23/2023 USD                        $310.00 Customer Disbursement
                                                                                   TOTAL                            $310.00
        Confidential Customer USD Transferee #439    [Address on File]           6/1/2023 USD                         $30.00 Customer Disbursement
        Confidential Customer USD Transferee #439    [Address on File]          5/24/2023 USD                         $21.16 Customer Disbursement
        Confidential Customer USD Transferee #439    [Address on File]          5/23/2023 USD                         $21.00 Customer Disbursement
                                                                                   TOTAL                              $72.16
        Confidential Customer USD Transferee #440    [Address on File]          5/18/2023 USD                      $1,046.49 Customer Disbursement
                                                                                   TOTAL                           $1,046.49

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #441    [Address on File]         6/5/2023 USD                         $24.70 Customer Disbursement
        Confidential Customer USD Transferee #441    [Address on File]        5/22/2023 USD                         $24.70 Customer Disbursement
                                                                                 TOTAL                              $49.40
        Confidential Customer USD Transferee #442    [Address on File]         6/5/2023 USD                        $772.24 Customer Disbursement
        Confidential Customer USD Transferee #442    [Address on File]        5/18/2023 USD                        $705.72 Customer Disbursement
                                                                                 TOTAL                           $1,477.96
                                                     [Address on File]
        Confidential Customer USD Transferee #443                               6/20/2023 USD                          $6.00 Customer Disbursement
                                                                                   TOTAL                               $6.00
        Confidential Customer USD Transferee #444    [Address on File]          6/21/2023 USD                         $86.00 Customer Disbursement
        Confidential Customer USD Transferee #444    [Address on File]          6/21/2023 USD                      $1,000.05 Customer Disbursement
                                                                                   TOTAL                           $1,086.05
                                                     [Address on File]
        Confidential Customer USD Transferee #445                                6/6/2023 USD                         $58.24 Customer Disbursement
                                                                                  TOTAL                               $58.24
                                                     [Address on File]
        Confidential Customer USD Transferee #446                                6/1/2023 USD                      $1,308.66 Customer Disbursement
                                                                                   TOTAL                           $1,308.66
        Confidential Customer USD Transferee #447    [Address on File]          5/16/2023 USD                      $3,150.00 Customer Disbursement
                                                                                   TOTAL                           $3,150.00
        Confidential Customer USD Transferee #448    [Address on File]           6/7/2023 USD                         $37.36 Customer Disbursement
        Confidential Customer USD Transferee #448    [Address on File]           6/7/2023 USD                         $24.25 Customer Disbursement
        Confidential Customer USD Transferee #448    [Address on File]           6/5/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #448    [Address on File]           6/1/2023 USD                         $75.00 Customer Disbursement
        Confidential Customer USD Transferee #448    [Address on File]          5/22/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $6,136.61
        Confidential Customer USD Transferee #449    [Address on File]           6/6/2023 USD                      $1,037.00 Customer Disbursement
        Confidential Customer USD Transferee #449    [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #449    [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $7,037.00
        Confidential Customer USD Transferee #450    [Address on File]          6/20/2023 USD                        $282.75 Customer Disbursement
                                                                                   TOTAL                            $282.75
        Confidential Customer USD Transferee #451    [Address on File]          5/31/2023 USD                      $1,612.71 Investment Refund
                                                                                   TOTAL                           $1,612.71

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #452    [Address on File]         6/1/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                               $5.00
        Confidential Customer USD Transferee #453    [Address on File]         6/7/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #454    [Address on File]         6/7/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #454    [Address on File]        5/19/2023 USD                        $220.00 Customer Disbursement
                                                                                 TOTAL                            $520.00
        Confidential Customer USD Transferee #455    [Address on File]         6/6/2023 USD                        $755.48 Customer Disbursement
                                                                                 TOTAL                            $755.48
        Confidential Customer USD Transferee #456    [Address on File]         6/8/2023 USD                        $381.49 Customer Disbursement
                                                                                 TOTAL                            $381.49
        Confidential Customer USD Transferee #457    [Address on File]        6/12/2023 USD                         $15.59 Customer Disbursement
                                                                                 TOTAL                              $15.59
        Confidential Customer USD Transferee #458    [Address on File]        5/22/2023 USD                        $166.25 Customer Disbursement
        Confidential Customer USD Transferee #458    [Address on File]        5/22/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #458    [Address on File]        5/22/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $6,166.25
        Confidential Customer USD Transferee #459    [Address on File]        6/16/2023 USD                         $13.00 Customer Disbursement
        Confidential Customer USD Transferee #459    [Address on File]        5/30/2023 USD                         $31.00 Customer Disbursement
        Confidential Customer USD Transferee #459    [Address on File]        5/17/2023 USD                         $11.20 Customer Disbursement
                                                                                 TOTAL                              $55.20
                                                     [Address on File]
        Confidential Customer USD Transferee #460                               5/26/2023 USD                      $1,591.90 Customer Disbursement
                                                                                   TOTAL                           $1,591.90
        Confidential Customer USD Transferee #461    [Address on File]          5/23/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #461    [Address on File]          5/22/2023 USD                        $400.00 Customer Disbursement
                                                                                   TOTAL                            $800.00
                                                     [Address on File]
        Confidential Customer USD Transferee #462                                6/9/2023 USD                        $852.93 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #462                                6/9/2023 USD                        $219.14 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #462                                6/8/2023 USD                         $30.00 Customer Disbursement
                                                                                  TOTAL                            $1,102.07

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #463    [Address on File]        5/31/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #463    [Address on File]        5/26/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #463    [Address on File]        5/19/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $2,500.00
                                                     [Address on File]
        Confidential Customer USD Transferee #464                               6/13/2023 USD                        $735.26 Customer Disbursement
                                                                                   TOTAL                            $735.26
        Confidential Customer USD Transferee #465    [Address on File]           6/8/2023 USD                        $480.00 Customer Disbursement
                                                                                   TOTAL                            $480.00
        Confidential Customer USD Transferee #466    [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $3,000.00
        Confidential Customer USD Transferee #467    [Address on File]          5/18/2023 USD                         $60.00 Customer Disbursement
                                                                                   TOTAL                              $60.00
        Confidential Customer USD Transferee #468    [Address on File]          5/24/2023 USD                      $1,239.77 Customer Disbursement
                                                                                   TOTAL                           $1,239.77
        Confidential Customer USD Transferee #469    [Address on File]          6/21/2023 USD                        $423.00 Customer Disbursement
        Confidential Customer USD Transferee #469    [Address on File]          6/21/2023 USD                         $57.00 Customer Disbursement
                                                                                   TOTAL                            $480.00
        Confidential Customer USD Transferee #470    [Address on File]           6/6/2023 USD                      $1,566.83 Customer Disbursement
                                                                                   TOTAL                           $1,566.83
        Confidential Customer USD Transferee #471    [Address on File]          5/26/2023 USD                     $11,083.83 Customer Disbursement
        Confidential Customer USD Transferee #471    [Address on File]          5/25/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #471    [Address on File]          5/24/2023 USD                     $20,000.00 Customer Disbursement
                                                                                   TOTAL                          $51,083.83
        Confidential Customer USD Transferee #472    [Address on File]          5/26/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #473    [Address on File]           6/2/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $20.00
        Confidential Customer USD Transferee #474    [Address on File]          5/30/2023 USD                     $60,000.00 Customer Disbursement
                                                                                   TOTAL                          $60,000.00
        Confidential Customer USD Transferee #475    [Address on File]          5/30/2023 USD                     $13,446.75 Customer Disbursement
                                                                                   TOTAL                          $13,446.75
        Confidential Customer USD Transferee #476    [Address on File]          6/14/2023 USD                     $37,800.00 Customer Disbursement
        Confidential Customer USD Transferee #476    [Address on File]           6/7/2023 USD                      $2,200.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #476    [Address on File]         6/2/2023 USD                      $2,990.00 Customer Disbursement
        Confidential Customer USD Transferee #476    [Address on File]         6/2/2023 USD                      $2,500.00 Customer Disbursement
                                                                                TOTAL                          $45,490.00
                                                     [Address on File]
        Confidential Customer USD Transferee #477                                6/8/2023 USD                      $1,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #477                                6/6/2023 USD                        $232.41 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #477                                6/5/2023 USD                     $11,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #477                                6/1/2023 USD                      $5,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #477                               5/23/2023 USD                      $2,500.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #477                               5/18/2023 USD                        $250.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #477                               5/17/2023 USD                        $330.00 Customer Disbursement
                                                                                   TOTAL                          $20,312.41
                                                     [Address on File]
        Confidential Customer USD Transferee #478                               6/20/2023 USD                   $200,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #478                               6/20/2023 USD                     $50,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #478                                6/6/2023 USD                      $2,400.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #478                                6/2/2023 USD                      $1,500.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #478                               5/30/2023 USD                     $14,222.47 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #478                               5/25/2023 USD                     $37,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #478                               5/18/2023 USD                        $312.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #478                               5/18/2023 USD                     $1,200.00 Customer Disbursement
                                                                                   TOTAL                        $306,634.47

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #479                                      6/2/2023 USD                      $3,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #479                                      6/2/2023 USD                        $177.90 Customer Disbursement
                                                                                         TOTAL                           $3,177.90
        Confidential Customer USD Transferee #480          [Address on File]           6/5/2023 USD                     $10,000.00 Customer Disbursement
                                                                                         TOTAL                          $10,000.00
        Confidential Customer USD Transferee #481          [Address on File]           6/6/2023 USD                        $600.00 Customer Disbursement
                                                                                         TOTAL                            $600.00
        Confidential Customer USD Transferee #482          [Address on File]          5/30/2023 USD                         $15.00 Customer Disbursement
                                                                                         TOTAL                              $15.00
        Confidential Customer USD Transferee #483          [Address on File]           6/5/2023 USD                        $786.08 Customer Disbursement
        Confidential Customer USD Transferee #483          [Address on File]          5/22/2023 USD                        $742.33 Customer Disbursement
                                                                                         TOTAL                           $1,528.41
        Confidential Customer USD Transferee #484          [Address on File]          6/20/2023 USD                        $136.99 Customer Disbursement
                                                                                         TOTAL                            $136.99
        Confidential Customer USD Transferee #485          [Address on File]          5/22/2023 USD                         $20.00 Customer Disbursement
                                                                                         TOTAL                              $20.00
        Confidential Customer USD Transferee #486          [Address on File]          6/21/2023 USD                         $63.19 Customer Disbursement
                                                                                         TOTAL                              $63.19
        Confidential Customer USD Transferee #487          [Address on File]           6/1/2023 USD                         $49.00 Customer Disbursement
                                                                                         TOTAL                              $49.00
        Confidential Customer USD Transferee #488          [Address on File]          6/15/2023 USD                      $5,075.43 Customer Disbursement
        Confidential Customer USD Transferee #488          [Address on File]          6/14/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                           $5,175.43
        Confidential Customer USD Transferee #489          [Address on File]          5/24/2023 USD                         $15.00 Customer Disbursement
                                                                                         TOTAL                              $15.00
                                                           [Address on File]
        Confidential Customer USD Transferee #490                                     5/23/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #491          [Address on File]           6/6/2023 USD                         $46.84 Customer Disbursement
        Confidential Customer USD Transferee #491          [Address on File]          5/16/2023 USD                       $125.00 Customer Disbursement
                                                                                         TOTAL                            $171.84
        Confidential Customer USD Transferee #492          [Address on File]          6/16/2023 USD                      $3,267.39 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $3,267.39
        Confidential Customer USD Transferee #493          [Address on File]         6/1/2023 USD                      $1,000.00 Customer Disbursement
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #494          [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #494          [Address on File]        5/24/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #494          [Address on File]        5/17/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                           $3,200.00
        Confidential Customer USD Transferee #495          [Address on File]         6/8/2023 USD                        $268.69 Customer Disbursement
        Confidential Customer USD Transferee #495          [Address on File]        5/23/2023 USD                        $258.03 Customer Disbursement
                                                                                       TOTAL                            $526.72
        Confidential Customer USD Transferee #496          [Address on File]        6/21/2023 USD                      $1,511.00 Customer Disbursement
                                                                                       TOTAL                           $1,511.00
        Confidential Customer USD Transferee #497          [Address on File]         6/7/2023 USD                        $700.00 Customer Disbursement
                                                                                       TOTAL                            $700.00
        Confidential Customer USD Transferee #498          [Address on File]        5/24/2023 USD                      $1,641.11 Customer Disbursement
                                                                                       TOTAL                           $1,641.11
        Confidential Customer USD Transferee #499          [Address on File]        5/22/2023 USD                        $159.62 Customer Disbursement
                                                                                       TOTAL                            $159.62
        Confidential Customer USD Transferee #500          [Address on File]        5/25/2023 USD                         $11.00 Customer Disbursement
        Confidential Customer USD Transferee #500          [Address on File]        5/23/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #500          [Address on File]        5/16/2023 USD                         $20.00 Customer Disbursement
                                                                                       TOTAL                              $51.00
        Confidential Customer USD Transferee #501          [Address on File]         6/2/2023 USD                        $136.71 Customer Disbursement
        Confidential Customer USD Transferee #501          [Address on File]        5/31/2023 USD                         $35.00 Customer Disbursement
        Confidential Customer USD Transferee #501          [Address on File]        5/30/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                            $371.71
        Confidential Customer USD Transferee #502          [Address on File]        5/23/2023 USD                        $125.26 Customer Disbursement
                                                                                       TOTAL                            $125.26
        Confidential Customer USD Transferee #503          [Address on File]        6/16/2023 USD                        $197.00 Customer Disbursement
                                                                                       TOTAL                            $197.00
        Confidential Customer USD Transferee #504          [Address on File]        5/31/2023 USD                         $70.41 Customer Disbursement
        Confidential Customer USD Transferee #504          [Address on File]        5/24/2023 USD                        $216.68 Customer Disbursement
                                                                                       TOTAL                            $287.09
        Confidential Customer USD Transferee #505          [Address on File]        5/22/2023 USD                         $13.73 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $13.73
        Confidential Customer USD Transferee #506          [Address on File]        5/31/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #507          [Address on File]        6/21/2023 USD                         $15.00 Customer Disbursement
                                                                                       TOTAL                              $15.00
        Confidential Customer USD Transferee #508          [Address on File]        5/26/2023 USD                          $5.00 Customer Disbursement
                                                                                       TOTAL                               $5.00
        Confidential Customer USD Transferee #509          [Address on File]        5/30/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #509          [Address on File]        5/23/2023 USD                      $1,350.00 Customer Disbursement
                                                                                       TOTAL                           $3,350.00
        Confidential Customer USD Transferee #510          [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #510          [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $6,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #511                                     6/12/2023 USD                          $0.20 Customer Disbursement
                                                                                         TOTAL                               $0.20
        Confidential Customer USD Transferee #512          [Address on File]           6/7/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #512          [Address on File]           6/7/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #512          [Address on File]           6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #512          [Address on File]           6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #512          [Address on File]           6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #512          [Address on File]           6/6/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                          $18,000.00
        Confidential Customer USD Transferee #513          [Address on File]          5/22/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #514          [Address on File]          6/22/2023 USD                         $31.25 Customer Disbursement
        Confidential Customer USD Transferee #514          [Address on File]          6/16/2023 USD                         $31.00 Customer Disbursement
        Confidential Customer USD Transferee #514          [Address on File]           6/8/2023 USD                         $33.50 Customer Disbursement
        Confidential Customer USD Transferee #514          [Address on File]           6/1/2023 USD                         $34.25 Customer Disbursement
        Confidential Customer USD Transferee #514          [Address on File]          5/23/2023 USD                         $35.75 Customer Disbursement
        Confidential Customer USD Transferee #514          [Address on File]          5/17/2023 USD                         $36.50 Customer Disbursement
                                                                                         TOTAL                            $202.25
                                                           [Address on File]
        Confidential Customer USD Transferee #515                                     6/21/2023 USD                      $2,688.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $2,688.00
        Confidential Customer USD Transferee #516          [Address on File]        5/22/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #517          [Address on File]         6/7/2023 USD                         $59.70 Customer Disbursement
        Confidential Customer USD Transferee #517          [Address on File]        5/31/2023 USD                        $199.00 Customer Disbursement
                                                                                       TOTAL                            $258.70
        Confidential Customer USD Transferee #518          [Address on File]         6/7/2023 USD                        $461.77 Customer Disbursement
        Confidential Customer USD Transferee #518          [Address on File]        5/24/2023 USD                        $461.77 Customer Disbursement
                                                                                       TOTAL                            $923.54
        Confidential Customer USD Transferee #519          [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #519          [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #519          [Address on File]        5/31/2023 USD                      $2,271.15 Customer Disbursement
        Confidential Customer USD Transferee #519          [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                         $11,271.15
        Confidential Customer USD Transferee #520          [Address on File]         6/6/2023 USD                      $1,654.96 Customer Disbursement
                                                                                       TOTAL                           $1,654.96
        Confidential Customer USD Transferee #521          [Address on File]        5/17/2023 USD                          $4.40 Customer Disbursement
                                                                                       TOTAL                               $4.40
        Confidential Customer USD Transferee #522          [Address on File]         6/1/2023 USD                      $5,540.00 Customer Disbursement
                                                                                       TOTAL                           $5,540.00
        Confidential Customer USD Transferee #523          [Address on File]         6/5/2023 USD                         $63.00 Customer Disbursement
                                                                                       TOTAL                              $63.00
                                                           [Address on File]
        Confidential Customer USD Transferee #524                                     5/22/2023 USD                         $25.00 Customer Disbursement
                                                                                         TOTAL                              $25.00
        Confidential Customer USD Transferee #525          [Address on File]           6/1/2023 USD                        $650.00 Customer Disbursement
                                                                                         TOTAL                            $650.00
        Confidential Customer USD Transferee #526          [Address on File]          6/21/2023 USD                      $2,287.98 Customer Disbursement
        Confidential Customer USD Transferee #526          [Address on File]          6/21/2023 USD                      $1,263.00 Customer Disbursement
                                                                                         TOTAL                           $3,550.98
        Confidential Customer USD Transferee #527          [Address on File]          5/16/2023 USD                        $600.00 Customer Disbursement
                                                                                         TOTAL                            $600.00
        Confidential Customer USD Transferee #528          [Address on File]           6/9/2023 USD                      $1,147.31 Customer Disbursement
        Confidential Customer USD Transferee #528          [Address on File]           6/9/2023 USD                        $500.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,647.31
        Confidential Customer USD Transferee #529          [Address on File]        5/26/2023 USD                      $2,902.50 Customer Disbursement
                                                                                       TOTAL                           $2,902.50
        Confidential Customer USD Transferee #530          [Address on File]        6/20/2023 USD                      $2,666.50 Customer Disbursement
                                                                                       TOTAL                           $2,666.50
        Confidential Customer USD Transferee #531          [Address on File]        5/18/2023 USD                         $95.00 Customer Disbursement
                                                                                       TOTAL                              $95.00
        Confidential Customer USD Transferee #532          [Address on File]        5/31/2023 USD                        $330.00 Customer Disbursement
        Confidential Customer USD Transferee #532          [Address on File]        5/16/2023 USD                        $660.00 Customer Disbursement
                                                                                       TOTAL                            $990.00
        Confidential Customer USD Transferee #533          [Address on File]        5/31/2023 USD                      $8,417.00 Customer Disbursement
                                                                                       TOTAL                           $8,417.00
        Confidential Customer USD Transferee #534          [Address on File]         6/5/2023 USD                      $1,800.00 Customer Disbursement
        Confidential Customer USD Transferee #534          [Address on File]         6/5/2023 USD                      $1,994.00 Customer Disbursement
                                                                                       TOTAL                           $3,794.00
        Confidential Customer USD Transferee #535          [Address on File]         6/5/2023 USD                        $229.00 Customer Disbursement
                                                                                       TOTAL                            $229.00
        Confidential Customer USD Transferee #536          [Address on File]         6/5/2023 USD                          $3.07 Customer Disbursement
                                                                                       TOTAL                               $3.07
        Confidential Customer USD Transferee #537          [Address on File]        5/24/2023 USD                        $150.00 Customer Disbursement
                                                                                       TOTAL                            $150.00
        Confidential Customer USD Transferee #538          [Address on File]         6/7/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #538          [Address on File]         6/8/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #538          [Address on File]        5/16/2023 USD                        $500.00 Customer Disbursement
                                                                                       TOTAL                           $6,000.00
        Confidential Customer USD Transferee #539          [Address on File]        6/16/2023 USD                      $5,730.00 Customer Disbursement
                                                                                       TOTAL                           $5,730.00
        Confidential Customer USD Transferee #540          [Address on File]        5/26/2023 USD                         $65.73 Customer Disbursement
                                                                                       TOTAL                              $65.73
        Confidential Customer USD Transferee #541          [Address on File]        6/20/2023 USD                         $92.66 Customer Disbursement
                                                                                       TOTAL                              $92.66
        Confidential Customer USD Transferee #542          [Address on File]        5/31/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #543          [Address on File]        5/25/2023 USD                      $1,000.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #544          [Address on File]        6/16/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #545          [Address on File]        5/31/2023 USD                         $15.00 Customer Disbursement
                                                                                       TOTAL                              $15.00
        Confidential Customer USD Transferee #546          [Address on File]        5/16/2023 USD                      $1,146.87 Customer Disbursement
                                                                                       TOTAL                           $1,146.87
        Confidential Customer USD Transferee #547          [Address on File]         6/9/2023 USD                      $5,067.23 Customer Disbursement
                                                                                       TOTAL                           $5,067.23
        Confidential Customer USD Transferee #548          [Address on File]        5/22/2023 USD                         $21.00 Customer Disbursement
                                                                                       TOTAL                              $21.00
        Confidential Customer USD Transferee #549          [Address on File]         6/7/2023 USD                      $2,291.41 Customer Disbursement
                                                                                       TOTAL                           $2,291.41
        Confidential Customer USD Transferee #550          [Address on File]        5/31/2023 USD                      $1,545.63 Customer Disbursement
                                                                                       TOTAL                           $1,545.63
        Confidential Customer USD Transferee #551          [Address on File]        5/25/2023 USD                        $545.86 Customer Disbursement
        Confidential Customer USD Transferee #551          [Address on File]        5/23/2023 USD                         $15.00 Customer Disbursement
                                                                                       TOTAL                            $560.86
        Confidential Customer USD Transferee #552          [Address on File]        5/16/2023 USD                         $28.55 Customer Disbursement
                                                                                       TOTAL                              $28.55
        Confidential Customer USD Transferee #553          [Address on File]        5/19/2023 USD                      $2,111.10 Customer Disbursement
                                                                                       TOTAL                           $2,111.10
        Confidential Customer USD Transferee #554          [Address on File]        5/17/2023 USD                        $361.15 Customer Disbursement
                                                                                       TOTAL                            $361.15
        Confidential Customer USD Transferee #555          [Address on File]        5/23/2023 USD                        $800.00 Customer Disbursement
                                                                                       TOTAL                            $800.00
        Confidential Customer USD Transferee #556          [Address on File]        6/20/2023 USD                         $15.00 Customer Disbursement
                                                                                       TOTAL                              $15.00
        Confidential Customer USD Transferee #557          [Address on File]        6/21/2023 USD                         $37.00 Customer Disbursement
                                                                                       TOTAL                              $37.00
        Confidential Customer USD Transferee #558          [Address on File]        5/23/2023 USD                    $13,090.00 Customer Disbursement
        Confidential Customer USD Transferee #558          [Address on File]        5/22/2023 USD                      $2,927.00 Customer Disbursement
                                                                                       TOTAL                         $16,017.00
        Confidential Customer USD Transferee #559          [Address on File]         6/8/2023 USD                         $55.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $55.00
        Confidential Customer USD Transferee #560          [Address on File]         6/6/2023 USD                         $97.70 Customer Disbursement
                                                                                       TOTAL                              $97.70
        Confidential Customer USD Transferee #561          [Address on File]         6/1/2023 USD                      $1,308.43 Customer Disbursement
        Confidential Customer USD Transferee #561          [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #561          [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #561          [Address on File]        5/16/2023 USD                      $2,159.83 Customer Disbursement
                                                                                       TOTAL                           $9,468.26
        Confidential Customer USD Transferee #562          [Address on File]        5/16/2023 USD                      $1,000.00 Customer Disbursement
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #563          [Address on File]        5/16/2023 USD                        $400.00 Customer Disbursement
                                                                                       TOTAL                            $400.00
        Confidential Customer USD Transferee #564          [Address on File]         6/2/2023 USD                      $2,588.53 Customer Disbursement
                                                                                       TOTAL                           $2,588.53
        Confidential Customer USD Transferee #565          [Address on File]        5/30/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #566          [Address on File]        6/20/2023 USD                      $2,427.76 Customer Disbursement
                                                                                       TOTAL                           $2,427.76
        Confidential Customer USD Transferee #567          [Address on File]        6/20/2023 USD                         $87.22 Customer Disbursement
                                                                                       TOTAL                              $87.22
        Confidential Customer USD Transferee #568          [Address on File]        5/31/2023 USD                         $18.88 Customer Disbursement
                                                                                       TOTAL                              $18.88
        Confidential Customer USD Transferee #569          [Address on File]         6/6/2023 USD                         $17.68 Customer Disbursement
                                                                                       TOTAL                              $17.68
        Confidential Customer USD Transferee #570          [Address on File]        5/16/2023 USD                         $98.84 Customer Disbursement
        Confidential Customer USD Transferee #570          [Address on File]        5/16/2023 USD                      $1,978.21 Customer Disbursement
                                                                                       TOTAL                           $2,077.05
        Confidential Customer USD Transferee #571          [Address on File]         6/6/2023 USD                        $175.85 Customer Disbursement
        Confidential Customer USD Transferee #571          [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #571          [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #571          [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $9,175.85
        Confidential Customer USD Transferee #572          [Address on File]        5/26/2023 USD                      $4,247.20 Customer Disbursement
                                                                                       TOTAL                           $4,247.20

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #573    [Address on File]         6/8/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
        Confidential Customer USD Transferee #574    [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #574    [Address on File]         6/1/2023 USD                      $2,164.00 Customer Disbursement
                                                                                 TOTAL                           $5,164.00
        Confidential Customer USD Transferee #575    [Address on File]         6/5/2023 USD                        $248.88 Customer Disbursement
        Confidential Customer USD Transferee #575    [Address on File]        5/26/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #575    [Address on File]        5/17/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $998.88
        Confidential Customer USD Transferee #576    [Address on File]        6/16/2023 USD                        $204.51 Customer Disbursement
                                                                                 TOTAL                            $204.51
        Confidential Customer USD Transferee #577    [Address on File]        6/20/2023 USD                        $595.82 Customer Disbursement
                                                                                 TOTAL                            $595.82
        Confidential Customer USD Transferee #578    [Address on File]        6/21/2023 USD                      $1,193.46 Customer Disbursement
        Confidential Customer USD Transferee #578    [Address on File]        5/24/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $2,193.46
        Confidential Customer USD Transferee #579    [Address on File]        5/17/2023 USD                      $2,502.31 Customer Disbursement
                                                                                 TOTAL                           $2,502.31
        Confidential Customer USD Transferee #580    [Address on File]        6/13/2023 USD                         $30.00 Customer Disbursement
                                                                                 TOTAL                              $30.00
        Confidential Customer USD Transferee #581    [Address on File]        5/22/2023 USD                        $504.33 Customer Disbursement
                                                                                 TOTAL                            $504.33
                                                     [Address on File]
        Confidential Customer USD Transferee #582                                6/6/2023 USD                        $397.98 Customer Disbursement
                                                                                   TOTAL                            $397.98
        Confidential Customer USD Transferee #583    [Address on File]          5/19/2023 USD                      $1,694.45 Customer Disbursement
                                                                                   TOTAL                           $1,694.45
        Confidential Customer USD Transferee #584    [Address on File]           6/1/2023 USD                          $5.00 Customer Disbursement
                                                                                   TOTAL                               $5.00
        Confidential Customer USD Transferee #585    [Address on File]          5/31/2023 USD                        $299.00 Customer Disbursement
                                                                                   TOTAL                            $299.00
        Confidential Customer USD Transferee #586    [Address on File]           6/2/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
        Confidential Customer USD Transferee #587    [Address on File]          6/15/2023 USD                        $170.00 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                            $170.00
        Confidential Customer USD Transferee #588          [Address on File]        5/31/2023 USD                        $32.00 Customer Disbursement
        Confidential Customer USD Transferee #588          [Address on File]        5/22/2023 USD                        $46.00 Customer Disbursement
                                                                                       TOTAL                             $78.00
        Confidential Customer USD Transferee #589          [Address on File]        6/20/2023 USD                        $38.45 Customer Disbursement
                                                                                       TOTAL                             $38.45
                                                           [Address on File]
        Confidential Customer USD Transferee #590                                      6/5/2023 USD                         $30.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #590                                     5/17/2023 USD                         $20.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #590                                     5/16/2023 USD                        $400.00 Customer Disbursement
                                                                                         TOTAL                             $450.20
                                                           [Address on File]
        Confidential Customer USD Transferee #591                                      6/5/2023 USD                        $180.00 Customer Disbursement
                                                                                         TOTAL                             $180.00
        Confidential Customer USD Transferee #592          [Address on File]           6/5/2023 USD                         $21.00 Customer Disbursement
        Confidential Customer USD Transferee #592          [Address on File]          5/16/2023 USD                         $47.00 Customer Disbursement
                                                                                         TOTAL                              $68.00
                                                           [Address on File]
        Confidential Customer USD Transferee #593                                     6/21/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
                                                           [Address on File]
        Confidential Customer USD Transferee #594                                     6/21/2023 USD                         $45.26 Customer Disbursement
                                                                                         TOTAL                              $45.26
        Confidential Customer USD Transferee #595          [Address on File]          6/16/2023 USD                         $16.11 Customer Disbursement
                                                                                         TOTAL                              $16.11
        Confidential Customer USD Transferee #596          [Address on File]           6/6/2023 USD                        $475.00 Customer Disbursement
                                                                                         TOTAL                             $475.00
                                                           [Address on File]
        Confidential Customer USD Transferee #597                                     6/20/2023 USD                         $57.00 Customer Disbursement
                                                                                         TOTAL                              $57.00
        Confidential Customer USD Transferee #598          [Address on File]           6/7/2023 USD                          $8.46 Customer Disbursement
                                                                                         TOTAL                               $8.46

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #599                                     6/21/2023 USD                        $266.00 Customer Disbursement
                                                                                         TOTAL                            $266.00
        Confidential Customer USD Transferee #600          [Address on File]          5/16/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #601          [Address on File]          5/31/2023 USD                          $5.25 Customer Disbursement
                                                                                         TOTAL                               $5.25
        Confidential Customer USD Transferee #602          [Address on File]          6/20/2023 USD                      $7,968.49 Customer Disbursement
                                                                                         TOTAL                           $7,968.49
        Confidential Customer USD Transferee #603          [Address on File]          5/22/2023 USD                        $341.62 Customer Disbursement
                                                                                         TOTAL                            $341.62
        Confidential Customer USD Transferee #604          [Address on File]           6/8/2023 USD                        $512.49 Customer Disbursement
        Confidential Customer USD Transferee #604          [Address on File]          5/19/2023 USD                        $514.96 Customer Disbursement
                                                                                         TOTAL                           $1,027.45
        Confidential Customer USD Transferee #605          [Address on File]          6/13/2023 USD                         $14.00 Customer Disbursement
        Confidential Customer USD Transferee #605          [Address on File]          6/13/2023 USD                        $147.00 Customer Disbursement
        Confidential Customer USD Transferee #605          [Address on File]           6/8/2023 USD                        $818.35 Customer Disbursement
        Confidential Customer USD Transferee #605          [Address on File]           6/7/2023 USD                          $5.19 Customer Disbursement
                                                                                         TOTAL                            $984.54
        Confidential Customer USD Transferee #606          [Address on File]          6/21/2023 USD                     $17,810.18 Customer Disbursement
                                                                                         TOTAL                          $17,810.18
        Confidential Customer USD Transferee #607          [Address on File]           6/2/2023 USD                        $117.64 Customer Disbursement
                                                                                         TOTAL                            $117.64
        Confidential Customer USD Transferee #608          [Address on File]          5/31/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #608          [Address on File]          5/18/2023 USD                         $87.00 Customer Disbursement
                                                                                         TOTAL                            $487.00
        Confidential Customer USD Transferee #609          [Address on File]          6/14/2023 USD                      $2,004.61 Customer Disbursement
                                                                                         TOTAL                           $2,004.61
        Confidential Customer USD Transferee #610          [Address on File]          6/16/2023 USD                         $55.00 Customer Disbursement
                                                                                         TOTAL                              $55.00
        Confidential Customer USD Transferee #611          [Address on File]          5/16/2023 USD                         $23.37 Customer Disbursement
                                                                                         TOTAL                              $23.37
                                                           [Address on File]
        Confidential Customer USD Transferee #612                                     6/12/2023 USD                      $1,000.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #612                                      6/2/2023 USD                        $300.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #612                                     5/30/2023 USD                      $8,900.00 Customer Disbursement
                                                                                         TOTAL                          $10,200.00
        Confidential Customer USD Transferee #613          [Address on File]           6/5/2023 USD                      $2,075.05 Customer Disbursement
        Confidential Customer USD Transferee #613          [Address on File]          5/30/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #613          [Address on File]          5/23/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #613          [Address on File]          5/19/2023 USD                         $80.00 Customer Disbursement
                                                                                         TOTAL                           $2,655.05
                                                           [Address on File]
        Confidential Customer USD Transferee #614                                     6/20/2023 USD                        $107.63 Customer Disbursement
                                                                                         TOTAL                            $107.63
        Confidential Customer USD Transferee #615          [Address on File]           6/8/2023 USD                        $953.58 Customer Disbursement
                                                                                         TOTAL                            $953.58
        Confidential Customer USD Transferee #616          [Address on File]           6/2/2023 USD                      $1,692.30 Customer Disbursement
                                                                                         TOTAL                           $1,692.30
        Confidential Customer USD Transferee #617          [Address on File]          6/16/2023 USD                        $112.03 Customer Disbursement
                                                                                         TOTAL                            $112.03
        Confidential Customer USD Transferee #618          [Address on File]           6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #618          [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $6,000.00
        Confidential Customer USD Transferee #619          [Address on File]           6/1/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #620          [Address on File]          5/25/2023 USD                      $1,000.68 Customer Disbursement
        Confidential Customer USD Transferee #620          [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #620          [Address on File]          5/18/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #620          [Address on File]          5/18/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                          $10,000.68
        Confidential Customer USD Transferee #621          [Address on File]          5/31/2023 USD                          $0.01 Customer Disbursement
                                                                                         TOTAL                               $0.01
        Confidential Customer USD Transferee #622          [Address on File]          5/31/2023 USD                        $174.42 Customer Disbursement
                                                                                         TOTAL                            $174.42
        Confidential Customer USD Transferee #623          [Address on File]          5/23/2023 USD                          $1.05 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                               $1.05
        Confidential Customer USD Transferee #624          [Address on File]         6/6/2023 USD                      $2,800.00 Customer Disbursement
        Confidential Customer USD Transferee #624          [Address on File]        5/26/2023 USD                      $2,989.67 Customer Disbursement
                                                                                       TOTAL                           $5,789.67
        Confidential Customer USD Transferee #625          [Address on File]         6/7/2023 USD                        $575.00 Customer Disbursement
                                                                                       TOTAL                            $575.00
        Confidential Customer USD Transferee #626          [Address on File]        6/21/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #626          [Address on File]        6/16/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $300.00
        Confidential Customer USD Transferee #627          [Address on File]        6/21/2023 USD                        $398.00 Customer Disbursement
        Confidential Customer USD Transferee #627          [Address on File]        5/22/2023 USD                    $13,701.00 Customer Disbursement
                                                                                       TOTAL                         $14,099.00
        Confidential Customer USD Transferee #628          [Address on File]         6/1/2023 USD                      $2,042.71 Customer Disbursement
        Confidential Customer USD Transferee #628          [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $5,042.71
        Confidential Customer USD Transferee #629          [Address on File]        5/16/2023 USD                        $235.00 Customer Disbursement
                                                                                       TOTAL                            $235.00
        Confidential Customer USD Transferee #630          [Address on File]        5/16/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #631          [Address on File]        5/26/2023 USD                        $991.05 Customer Disbursement
                                                                                       TOTAL                            $991.05
        Confidential Customer USD Transferee #632          [Address on File]         6/1/2023 USD                         $60.00 Customer Disbursement
                                                                                       TOTAL                              $60.00
        Confidential Customer USD Transferee #633          [Address on File]         6/7/2023 USD                         $45.00 Customer Disbursement
        Confidential Customer USD Transferee #633          [Address on File]         6/5/2023 USD                      $1,050.00 Customer Disbursement
        Confidential Customer USD Transferee #633          [Address on File]        5/31/2023 USD                        $495.00 Customer Disbursement
        Confidential Customer USD Transferee #633          [Address on File]        5/25/2023 USD                        $859.00 Customer Disbursement
                                                                                       TOTAL                           $2,449.00
        Confidential Customer USD Transferee #634          [Address on File]        6/21/2023 USD                    $12,865.66 Customer Disbursement
        Confidential Customer USD Transferee #634          [Address on File]        6/21/2023 USD                        $410.00 Customer Disbursement
                                                                                       TOTAL                         $13,275.66
        Confidential Customer USD Transferee #635          [Address on File]        5/19/2023 USD                      $1,320.25 Customer Disbursement
                                                                                       TOTAL                           $1,320.25
        Confidential Customer USD Transferee #636          [Address on File]         6/6/2023 USD                        $284.87 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #636    [Address on File]         6/5/2023 USD                        $460.40 Customer Disbursement
        Confidential Customer USD Transferee #636    [Address on File]        5/31/2023 USD                        $303.35 Customer Disbursement
        Confidential Customer USD Transferee #636    [Address on File]        5/30/2023 USD                        $192.68 Customer Disbursement
        Confidential Customer USD Transferee #636    [Address on File]        5/25/2023 USD                        $303.54 Customer Disbursement
        Confidential Customer USD Transferee #636    [Address on File]        5/23/2023 USD                        $266.64 Customer Disbursement
        Confidential Customer USD Transferee #636    [Address on File]        5/17/2023 USD                        $270.47 Customer Disbursement
        Confidential Customer USD Transferee #636    [Address on File]        5/16/2023 USD                        $355.52 Customer Disbursement
                                                                                 TOTAL                           $2,437.47
        Confidential Customer USD Transferee #637    [Address on File]         6/5/2023 USD                        $450.00 Customer Disbursement
        Confidential Customer USD Transferee #637    [Address on File]        5/22/2023 USD                        $550.00 Customer Disbursement
        Confidential Customer USD Transferee #637    [Address on File]        5/16/2023 USD                        $136.58 Customer Disbursement
                                                                                 TOTAL                           $1,136.58
        Confidential Customer USD Transferee #638    [Address on File]        6/20/2023 USD                        $100.83 Customer Disbursement
                                                                                 TOTAL                            $100.83
        Confidential Customer USD Transferee #639    [Address on File]        6/12/2023 USD                          $1.49 Customer Disbursement
                                                                                 TOTAL                               $1.49
        Confidential Customer USD Transferee #640    [Address on File]        5/16/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #641    [Address on File]         6/7/2023 USD                        $557.16 Customer Disbursement
                                                                                 TOTAL                            $557.16
        Confidential Customer USD Transferee #642    [Address on File]        5/22/2023 USD                         $31.00 Customer Disbursement
                                                                                 TOTAL                              $31.00
        Confidential Customer USD Transferee #643    [Address on File]         6/1/2023 USD                         $49.44 Customer Disbursement
                                                                                 TOTAL                              $49.44
        Confidential Customer USD Transferee #644    [Address on File]        6/21/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00
        Confidential Customer USD Transferee #645    [Address on File]         6/7/2023 USD                          $9.67 Customer Disbursement
        Confidential Customer USD Transferee #645    [Address on File]         6/1/2023 USD                          $8.13 Customer Disbursement
        Confidential Customer USD Transferee #645    [Address on File]        5/25/2023 USD                         $26.41 Customer Disbursement
                                                                                 TOTAL                              $44.21
        Confidential Customer USD Transferee #646    [Address on File]        6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
        Confidential Customer USD Transferee #647    [Address on File]         6/8/2023 USD                         $48.00 Customer Disbursement
                                                                                 TOTAL                              $48.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #648    [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #648    [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #648    [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #648    [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #648    [Address on File]        5/19/2023 USD                       $300.00 Customer Disbursement
                                                                                 TOTAL                         $12,300.00
                                                     [Address on File]
        Confidential Customer USD Transferee #649                               6/22/2023 USD                        $620.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #649                               6/13/2023 USD                        $102.13 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #649                                6/8/2023 USD                        $334.65 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #649                                6/6/2023 USD                        $294.31 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #649                                6/6/2023 USD                        $321.81 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #649                                6/1/2023 USD                        $128.52 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #649                               5/31/2023 USD                        $259.83 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #649                               5/22/2023 USD                        $133.33 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #649                               5/16/2023 USD                         $39.64 Customer Disbursement
                                                                                   TOTAL                           $2,234.22
                                                     [Address on File]
        Confidential Customer USD Transferee #650                               6/21/2023 USD                        $487.46 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #650                                6/8/2023 USD                        $139.54 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #650                                6/5/2023 USD                        $153.42 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #650                               5/31/2023 USD                        $229.31 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #650                               5/26/2023 USD                        $366.24 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #650                                     5/25/2023 USD                        $135.54 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #650                                     5/24/2023 USD                        $108.75 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #650                                     5/23/2023 USD                        $125.34 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #650                                     5/19/2023 USD                        $163.19 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #650                                     5/18/2023 USD                         $33.12 Customer Disbursement
                                                                                         TOTAL                           $1,941.91
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                     6/14/2023 USD                         $92.87 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                     6/13/2023 USD                        $687.50 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                     6/13/2023 USD                        $572.45 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                     6/12/2023 USD                        $158.56 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                      6/9/2023 USD                        $203.94 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                      6/6/2023 USD                        $319.66 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                      6/2/2023 USD                        $476.37 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                     5/31/2023 USD                        $271.98 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                     5/31/2023 USD                        $131.87 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                     5/23/2023 USD                        $205.21 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                     5/16/2023 USD                        $159.07 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #651                                     5/16/2023 USD                        $174.75 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                            $3,454.23
                                                           [Address on File]
        Confidential Customer USD Transferee #652                                     6/21/2023 USD                        $427.01 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #652                                     6/21/2023 USD                        $799.15 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #652                                     6/21/2023 USD                        $340.02 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #652                                     6/20/2023 USD                        $218.60 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #652                                     6/16/2023 USD                        $158.58 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #652                                     6/15/2023 USD                        $260.49 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #652                                     5/30/2023 USD                         $18.53 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #652                                     5/23/2023 USD                        $155.32 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #652                                     5/17/2023 USD                        $192.60 Customer Disbursement
                                                                                         TOTAL                           $2,570.30
                                                           [Address on File]
        Confidential Customer USD Transferee #653                                     6/22/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                             $200.00
        Confidential Customer USD Transferee #654          [Address on File]          5/23/2023 USD                        $196.00 Customer Disbursement
                                                                                         TOTAL                             $196.00
        Confidential Customer USD Transferee #655          [Address on File]          6/20/2023 USD                        $665.77 Customer Disbursement
                                                                                         TOTAL                             $665.77
                                                           [Address on File]
        Confidential Customer USD Transferee #656                                      6/5/2023 USD                      $1,815.10 Customer Disbursement
                                                                                         TOTAL                           $1,815.10
        Confidential Customer USD Transferee #657          [Address on File]          5/16/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #658          [Address on File]          5/16/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                            $500.00
        Confidential Customer USD Transferee #659          [Address on File]          5/16/2023 USD                        $100.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $100.00
        Confidential Customer USD Transferee #660          [Address on File]        5/24/2023 USD                         $66.38 Customer Disbursement
                                                                                       TOTAL                              $66.38
        Confidential Customer USD Transferee #661          [Address on File]        5/25/2023 USD                        $596.85 Customer Disbursement
                                                                                       TOTAL                            $596.85
        Confidential Customer USD Transferee #662          [Address on File]        5/16/2023 USD                    $20,000.00 Customer Disbursement
                                                                                       TOTAL                         $20,000.00
        Confidential Customer USD Transferee #663          [Address on File]        5/19/2023 USD                      $1,950.00 Customer Disbursement
                                                                                       TOTAL                           $1,950.00
        Confidential Customer USD Transferee #664          [Address on File]         6/8/2023 USD                      $7,177.77 Customer Disbursement
        Confidential Customer USD Transferee #664          [Address on File]        5/24/2023 USD                      $3,121.77 Customer Disbursement
                                                                                       TOTAL                         $10,299.54
        Confidential Customer USD Transferee #665          [Address on File]         6/9/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $25.00
        Confidential Customer USD Transferee #666          [Address on File]        6/12/2023 USD                        $547.07 Customer Disbursement
                                                                                       TOTAL                            $547.07
        Confidential Customer USD Transferee #667          [Address on File]         6/5/2023 USD                      $4,263.62 Customer Disbursement
                                                                                       TOTAL                           $4,263.62
        Confidential Customer USD Transferee #668          [Address on File]        5/31/2023 USD                         $60.00 Customer Disbursement
                                                                                       TOTAL                              $60.00
        Confidential Customer USD Transferee #669          [Address on File]        6/16/2023 USD                        $268.99 Customer Disbursement
                                                                                       TOTAL                            $268.99
        Confidential Customer USD Transferee #670          [Address on File]        5/31/2023 USD                          $4.89 Customer Disbursement
                                                                                       TOTAL                               $4.89
        Confidential Customer USD Transferee #671          [Address on File]        5/30/2023 USD                      $1,560.38 Customer Disbursement
                                                                                       TOTAL                           $1,560.38
        Confidential Customer USD Transferee #672          [Address on File]        5/16/2023 USD                    $30,000.00 Customer Disbursement
        Confidential Customer USD Transferee #672          [Address on File]        5/16/2023 USD                    $18,000.00 Customer Disbursement
                                                                                       TOTAL                         $48,000.00
        Confidential Customer USD Transferee #673          [Address on File]        5/22/2023 USD                        $105.00 Customer Disbursement
                                                                                       TOTAL                            $105.00
        Confidential Customer USD Transferee #674          [Address on File]        6/20/2023 USD                      $1,327.59 Customer Disbursement
        Confidential Customer USD Transferee #674          [Address on File]        6/14/2023 USD                      $2,989.45 Customer Disbursement
        Confidential Customer USD Transferee #674          [Address on File]        6/13/2023 USD                      $2,990.53 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #674    [Address on File]         6/9/2023 USD                      $2,991.80 Customer Disbursement
                                                                                TOTAL                          $10,299.37
                                                     [Address on File]
        Confidential Customer USD Transferee #675                               6/20/2023 USD                         $30.26 Customer Disbursement
                                                                                   TOTAL                              $30.26
        Confidential Customer USD Transferee #676    [Address on File]          5/22/2023 USD                       $700.00 Investment Refund
                                                                                   TOTAL                            $700.00
        Confidential Customer USD Transferee #677    [Address on File]          6/21/2023 USD                        $723.34 Customer Disbursement
                                                                                   TOTAL                            $723.34
        Confidential Customer USD Transferee #678    [Address on File]          5/30/2023 USD                      $2,485.00 Customer Disbursement
                                                                                   TOTAL                           $2,485.00
        Confidential Customer USD Transferee #679    [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #679    [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #679    [Address on File]          5/23/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #679    [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                          $10,000.00
        Confidential Customer USD Transferee #680    [Address on File]          5/16/2023 USD                         $12.13 Customer Disbursement
                                                                                   TOTAL                              $12.13
        Confidential Customer USD Transferee #681    [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #681    [Address on File]          5/23/2023 USD                        $754.70 Customer Disbursement
                                                                                   TOTAL                           $3,754.70
        Confidential Customer USD Transferee #682    [Address on File]           6/2/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #682    [Address on File]          5/26/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #682    [Address on File]          5/24/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #682    [Address on File]          5/22/2023 USD                        $300.00 Customer Disbursement
                                                                                   TOTAL                            $900.00
        Confidential Customer USD Transferee #683    [Address on File]           6/9/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #683    [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #683    [Address on File]          5/25/2023 USD                      $2,000.00 Customer Disbursement
                                                                                   TOTAL                           $7,000.00
        Confidential Customer USD Transferee #684    [Address on File]          6/20/2023 USD                        $279.44 Customer Disbursement
                                                                                   TOTAL                            $279.44
        Confidential Customer USD Transferee #685    [Address on File]          5/30/2023 USD                        $253.97 Customer Disbursement
                                                                                   TOTAL                            $253.97

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #686    [Address on File]         6/5/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #686    [Address on File]        5/16/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $105.00
        Confidential Customer USD Transferee #687    [Address on File]         6/2/2023 USD                    $10,045.00 Customer Disbursement
                                                                                 TOTAL                         $10,045.00
        Confidential Customer USD Transferee #688    [Address on File]        5/31/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
        Confidential Customer USD Transferee #689    [Address on File]        6/12/2023 USD                      $4,607.49 Customer Disbursement
                                                                                 TOTAL                           $4,607.49
        Confidential Customer USD Transferee #690    [Address on File]        6/21/2023 USD                        $190.00 Customer Disbursement
                                                                                 TOTAL                            $190.00
                                                     [Address on File]
        Confidential Customer USD Transferee #691                               6/21/2023 USD                      $5,000.00 Customer Disbursement
                                                                                   TOTAL                           $5,000.00
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                     $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                      $2,805.23 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/21/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #692    [Address on File]          6/16/2023 USD                     $20,000.00 Customer Disbursement
                                                                                   TOTAL                          $61,805.23
        Confidential Customer USD Transferee #693    [Address on File]          5/16/2023 USD                        $500.00 Customer Disbursement
                                                                                   TOTAL                            $500.00
        Confidential Customer USD Transferee #694    [Address on File]          5/31/2023 USD                        $498.82 Customer Disbursement
                                                                                   TOTAL                            $498.82
        Confidential Customer USD Transferee #695    [Address on File]          6/20/2023 USD                        $298.92 Customer Disbursement
        Confidential Customer USD Transferee #695    [Address on File]          6/13/2023 USD                        $497.47 Customer Disbursement
        Confidential Customer USD Transferee #695    [Address on File]          5/24/2023 USD                        $149.25 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #695    [Address on File]        5/22/2023 USD                        $251.69 Customer Disbursement
                                                                                 TOTAL                           $1,197.33
        Confidential Customer USD Transferee #696    [Address on File]        6/13/2023 USD                        $782.00 Customer Disbursement
                                                                                 TOTAL                            $782.00
        Confidential Customer USD Transferee #697    [Address on File]         6/8/2023 USD                         $97.66 Customer Disbursement
                                                                                 TOTAL                              $97.66
        Confidential Customer USD Transferee #698    [Address on File]         6/1/2023 USD                        $192.00 Customer Disbursement
        Confidential Customer USD Transferee #698    [Address on File]         6/1/2023 USD                      $1,075.43 Customer Disbursement
                                                                                 TOTAL                           $1,267.43
        Confidential Customer USD Transferee #699    [Address on File]        6/21/2023 USD                         $50.01 Customer Disbursement
                                                                                 TOTAL                              $50.01
        Confidential Customer USD Transferee #700    [Address on File]         6/1/2023 USD                      $3,818.81 Customer Disbursement
        Confidential Customer USD Transferee #700    [Address on File]        5/31/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                           $3,918.81
        Confidential Customer USD Transferee #701    [Address on File]        5/31/2023 USD                      $2,944.08 Customer Disbursement
                                                                                 TOTAL                           $2,944.08
        Confidential Customer USD Transferee #702    [Address on File]         6/8/2023 USD                    $14,000.00 Customer Disbursement
                                                                                 TOTAL                         $14,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #703                               5/17/2023 USD                     $29,205.00 Customer Disbursement
                                                                                   TOTAL                          $29,205.00
        Confidential Customer USD Transferee #704    [Address on File]           6/5/2023 USD                      $6,246.88 Customer Disbursement
                                                                                   TOTAL                           $6,246.88
        Confidential Customer USD Transferee #705    [Address on File]          6/21/2023 USD                      $7,090.97 Customer Disbursement
                                                                                   TOTAL                           $7,090.97
        Confidential Customer USD Transferee #706    [Address on File]          5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
        Confidential Customer USD Transferee #707    [Address on File]          6/15/2023 USD                      $3,004.65 Customer Disbursement
        Confidential Customer USD Transferee #707    [Address on File]          6/13/2023 USD                        $230.01 Customer Disbursement
                                                                                   TOTAL                           $3,234.66
        Confidential Customer USD Transferee #708    [Address on File]          5/30/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00
        Confidential Customer USD Transferee #709    [Address on File]          6/16/2023 USD                         $35.00 Customer Disbursement
                                                                                   TOTAL                              $35.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #710    [Address on File]        6/13/2023 USD                        $299.60 Customer Disbursement
                                                                                 TOTAL                            $299.60
        Confidential Customer USD Transferee #711    [Address on File]         6/6/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #712    [Address on File]        5/19/2023 USD                        $530.00 Customer Disbursement
                                                                                 TOTAL                            $530.00
        Confidential Customer USD Transferee #713    [Address on File]        6/21/2023 USD                        $507.17 Customer Disbursement
                                                                                 TOTAL                            $507.17
        Confidential Customer USD Transferee #714    [Address on File]        5/18/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #714    [Address on File]        5/17/2023 USD                      $3,209.00 Customer Disbursement
                                                                                 TOTAL                           $4,209.00
        Confidential Customer USD Transferee #715    [Address on File]        6/16/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $20,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #716                               6/21/2023 USD                         $35.00 Customer Disbursement
                                                                                   TOTAL                              $35.00
        Confidential Customer USD Transferee #717    [Address on File]           6/2/2023 USD                          $5.00 Customer Disbursement
                                                                                   TOTAL                               $5.00
        Confidential Customer USD Transferee #718    [Address on File]           6/1/2023 USD                        $170.00 Customer Disbursement
        Confidential Customer USD Transferee #718    [Address on File]          5/31/2023 USD                         $40.00 Customer Disbursement
        Confidential Customer USD Transferee #718    [Address on File]          5/30/2023 USD                         $32.66 Customer Disbursement
                                                                                   TOTAL                            $242.66
        Confidential Customer USD Transferee #719    [Address on File]           6/7/2023 USD                      $1,500.00 Customer Disbursement
                                                                                   TOTAL                           $1,500.00
                                                     [Address on File]
        Confidential Customer USD Transferee #720                               6/16/2023 USD                         $6.00 Customer Disbursement
                                                                                   TOTAL                              $6.00
        Confidential Customer USD Transferee #721    [Address on File]          5/22/2023 USD                        $29.29 Customer Disbursement
                                                                                   TOTAL                             $29.29
        Confidential Customer USD Transferee #722    [Address on File]           6/6/2023 USD                        $22.20 Customer Disbursement
                                                                                   TOTAL                             $22.20
        Confidential Customer USD Transferee #723    [Address on File]          5/22/2023 USD                   $330,000.00 Customer Disbursement
                                                                                   TOTAL                        $330,000.00
        Confidential Customer USD Transferee #724    [Address on File]          5/23/2023 USD                         $2.09 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                               $2.09
        Confidential Customer USD Transferee #725          [Address on File]        6/20/2023 USD                      $6,032.00 Customer Disbursement
                                                                                       TOTAL                           $6,032.00
        Confidential Customer USD Transferee #726          [Address on File]         6/9/2023 USD                      $2,720.00 Customer Disbursement
        Confidential Customer USD Transferee #726          [Address on File]         6/6/2023 USD                    $14,495.00 Customer Disbursement
        Confidential Customer USD Transferee #726          [Address on File]         6/6/2023 USD                      $1,995.00 Customer Disbursement
                                                                                       TOTAL                         $19,210.00
        Confidential Customer USD Transferee #727          [Address on File]        6/21/2023 USD                         $52.88 Customer Disbursement
                                                                                       TOTAL                              $52.88
        Confidential Customer USD Transferee #728          [Address on File]        5/18/2023 USD                      $6,000.00 Customer Disbursement
                                                                                       TOTAL                           $6,000.00
        Confidential Customer USD Transferee #729          [Address on File]         6/8/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $25.00
        Confidential Customer USD Transferee #730          [Address on File]         6/8/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
        Confidential Customer USD Transferee #731          [Address on File]        5/30/2023 USD                        $210.00 Customer Disbursement
                                                                                       TOTAL                            $210.00
                                                           [Address on File]
        Confidential Customer USD Transferee #732                                      6/2/2023 USD                         $23.74 Customer Disbursement
                                                                                         TOTAL                              $23.74
        Confidential Customer USD Transferee #733          [Address on File]          6/15/2023 USD                        $987.75 Customer Disbursement
                                                                                         TOTAL                            $987.75
        Confidential Customer USD Transferee #734          [Address on File]           6/7/2023 USD                          $6.00 Customer Disbursement
        Confidential Customer USD Transferee #734          [Address on File]          5/31/2023 USD                          $6.00 Customer Disbursement
                                                                                         TOTAL                              $12.00
        Confidential Customer USD Transferee #735          [Address on File]           6/6/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #735          [Address on File]          5/31/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #735          [Address on File]          5/16/2023 USD                        $750.00 Customer Disbursement
                                                                                         TOTAL                           $1,250.00
        Confidential Customer USD Transferee #736          [Address on File]           6/6/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #736          [Address on File]           6/6/2023 USD                      $2,092.00 Customer Disbursement
                                                                                         TOTAL                           $3,092.00
        Confidential Customer USD Transferee #737          [Address on File]          5/16/2023 USD                        $300.00 Customer Disbursement
                                                                                         TOTAL                            $300.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #738    [Address on File]        6/21/2023 USD                        $628.13 Customer Disbursement
                                                                                 TOTAL                            $628.13
        Confidential Customer USD Transferee #739    [Address on File]        6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                 TOTAL                            $200.00
        Confidential Customer USD Transferee #740    [Address on File]        5/23/2023 USD                      $2,550.00 Customer Disbursement
                                                                                 TOTAL                           $2,550.00
        Confidential Customer USD Transferee #741    [Address on File]        6/13/2023 USD                    $25,872.97 Customer Disbursement
        Confidential Customer USD Transferee #741    [Address on File]        5/30/2023 USD                    $17,314.19 Customer Disbursement
        Confidential Customer USD Transferee #741    [Address on File]        5/24/2023 USD                    $13,473.89 Customer Disbursement
        Confidential Customer USD Transferee #741    [Address on File]        5/19/2023 USD                      $8,171.73 Customer Disbursement
                                                                                 TOTAL                         $64,832.78
                                                     [Address on File]
        Confidential Customer USD Transferee #742                               6/21/2023 USD                        $10.00 Customer Disbursement
                                                                                   TOTAL                             $10.00
        Confidential Customer USD Transferee #743    [Address on File]           6/5/2023 USD                       $115.56 Customer Disbursement
        Confidential Customer USD Transferee #743    [Address on File]           6/2/2023 USD                     $1,475.00 Customer Disbursement
        Confidential Customer USD Transferee #743    [Address on File]          5/18/2023 USD                       $244.28 Customer Disbursement
                                                                                   TOTAL                          $1,834.84
        Confidential Customer USD Transferee #744    [Address on File]          5/22/2023 USD                        $15.00 Customer Disbursement
                                                                                   TOTAL                             $15.00
        Confidential Customer USD Transferee #745    [Address on File]          6/21/2023 USD                     $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #745    [Address on File]          6/21/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #745    [Address on File]          6/21/2023 USD                     $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #745    [Address on File]          6/21/2023 USD                       $961.00 Customer Disbursement
        Confidential Customer USD Transferee #745    [Address on File]          6/21/2023 USD                     $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #745    [Address on File]          6/21/2023 USD                     $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #745    [Address on File]          6/21/2023 USD                     $4,120.00 Customer Disbursement
        Confidential Customer USD Transferee #745    [Address on File]          6/16/2023 USD                    $19,681.00 Customer Disbursement
        Confidential Customer USD Transferee #745    [Address on File]          6/13/2023 USD                    $19,238.00 Customer Disbursement
        Confidential Customer USD Transferee #745    [Address on File]          6/12/2023 USD                    $19,238.26 Customer Disbursement
                                                                                   TOTAL                        $103,238.26
        Confidential Customer USD Transferee #746    [Address on File]          6/13/2023 USD                        $10.00 Customer Disbursement
        Confidential Customer USD Transferee #746    [Address on File]          5/31/2023 USD                       $100.00 Customer Disbursement
                                                                                   TOTAL                           $110.00
        Confidential Customer USD Transferee #747    [Address on File]           6/7/2023 USD                        $31.27 Customer Disbursement
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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                             $31.27
        Confidential Customer USD Transferee #748          [Address on File]        6/16/2023 USD                        $22.94 Customer Disbursement
                                                                                       TOTAL                             $22.94
                                                           [Address on File]
        Confidential Customer USD Transferee #749                                     6/16/2023 USD                          $1.00 Customer Disbursement
                                                                                         TOTAL                               $1.00
        Confidential Customer USD Transferee #750          [Address on File]          6/21/2023 USD                     $10,000.00 Customer Disbursement
                                                                                         TOTAL                          $10,000.00
        Confidential Customer USD Transferee #751          [Address on File]          5/25/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                            $500.00
        Confidential Customer USD Transferee #752          [Address on File]          6/21/2023 USD                      $1,506.00 Customer Disbursement
        Confidential Customer USD Transferee #752          [Address on File]          6/21/2023 USD                         $23.00 Customer Disbursement
                                                                                         TOTAL                           $1,529.00
        Confidential Customer USD Transferee #753          [Address on File]          5/31/2023 USD                      $1,300.00 Customer Disbursement
        Confidential Customer USD Transferee #753          [Address on File]          5/30/2023 USD                        $800.00 Customer Disbursement
        Confidential Customer USD Transferee #753          [Address on File]          5/25/2023 USD                        $900.00 Customer Disbursement
        Confidential Customer USD Transferee #753          [Address on File]          5/24/2023 USD                      $7,105.38 Customer Disbursement
        Confidential Customer USD Transferee #753          [Address on File]          5/22/2023 USD                      $1,900.00 Customer Disbursement
        Confidential Customer USD Transferee #753          [Address on File]          5/17/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                          $12,105.38
        Confidential Customer USD Transferee #754          [Address on File]          5/22/2023 USD                      $1,043.00 Customer Disbursement
                                                                                         TOTAL                           $1,043.00
        Confidential Customer USD Transferee #755          [Address on File]          5/19/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                            $500.00
        Confidential Customer USD Transferee #756          [Address on File]          5/30/2023 USD                        $675.86 Customer Disbursement
                                                                                         TOTAL                            $675.86
        Confidential Customer USD Transferee #757          [Address on File]          5/22/2023 USD                        $574.27 Customer Disbursement
        Confidential Customer USD Transferee #757          [Address on File]          5/22/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,574.27
        Confidential Customer USD Transferee #758          [Address on File]           6/9/2023 USD                          $1.30 Customer Disbursement
                                                                                         TOTAL                               $1.30
        Confidential Customer USD Transferee #759          [Address on File]          6/22/2023 USD                        $294.67 Customer Disbursement
                                                                                         TOTAL                            $294.67
        Confidential Customer USD Transferee #760          [Address on File]          5/17/2023 USD                        $302.92 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $302.92
        Confidential Customer USD Transferee #761          [Address on File]        5/23/2023 USD                          $1.00 Customer Disbursement
                                                                                       TOTAL                               $1.00
        Confidential Customer USD Transferee #762          [Address on File]         6/5/2023 USD                      $2,500.00 Customer Disbursement
        Confidential Customer USD Transferee #762          [Address on File]        5/18/2023 USD                        $500.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
        Confidential Customer USD Transferee #763          [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #763          [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $6,000.00
        Confidential Customer USD Transferee #764          [Address on File]        5/18/2023 USD                    $50,051.00 Customer Disbursement
                                                                                       TOTAL                         $50,051.00
        Confidential Customer USD Transferee #765          [Address on File]        6/13/2023 USD                         $91.15 Customer Disbursement
        Confidential Customer USD Transferee #765          [Address on File]        5/24/2023 USD                         $42.65 Customer Disbursement
                                                                                       TOTAL                            $133.80
        Confidential Customer USD Transferee #766          [Address on File]        5/24/2023 USD                        $251.00 Customer Disbursement
        Confidential Customer USD Transferee #766          [Address on File]        5/24/2023 USD                          $8.07 Customer Disbursement
                                                                                       TOTAL                            $259.07
        Confidential Customer USD Transferee #767          [Address on File]        5/19/2023 USD                        $293.38 Customer Disbursement
        Confidential Customer USD Transferee #767          [Address on File]        5/18/2023 USD                        $105.00 Customer Disbursement
                                                                                       TOTAL                            $398.38
        Confidential Customer USD Transferee #768          [Address on File]        5/24/2023 USD                        $186.30 Customer Disbursement
                                                                                       TOTAL                            $186.30
        Confidential Customer USD Transferee #769          [Address on File]         6/9/2023 USD                        $230.00 Customer Disbursement
        Confidential Customer USD Transferee #769          [Address on File]         6/8/2023 USD                         $20.00 Customer Disbursement
                                                                                       TOTAL                            $250.00
        Confidential Customer USD Transferee #770          [Address on File]        5/31/2023 USD                          $2.37 Customer Disbursement
                                                                                       TOTAL                               $2.37
        Confidential Customer USD Transferee #771          [Address on File]        6/21/2023 USD                      $7,441.62 Customer Disbursement
                                                                                       TOTAL                           $7,441.62
        Confidential Customer USD Transferee #772          [Address on File]        6/15/2023 USD                        $270.51 Customer Disbursement
                                                                                       TOTAL                            $270.51
        Confidential Customer USD Transferee #773          [Address on File]        5/17/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                            $200.00
        Confidential Customer USD Transferee #774          [Address on File]         6/6/2023 USD                        $215.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $215.00
        Confidential Customer USD Transferee #775          [Address on File]        6/15/2023 USD                        $550.00 Customer Disbursement
        Confidential Customer USD Transferee #775          [Address on File]        5/31/2023 USD                         $10.66 Customer Disbursement
                                                                                       TOTAL                            $560.66
        Confidential Customer USD Transferee #776          [Address on File]        6/20/2023 USD                        $337.00 Customer Disbursement
                                                                                       TOTAL                            $337.00
        Confidential Customer USD Transferee #777          [Address on File]        6/21/2023 USD                        $270.00 Customer Disbursement
                                                                                       TOTAL                            $270.00
        Confidential Customer USD Transferee #778          [Address on File]        5/25/2023 USD                    $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #778          [Address on File]        5/23/2023 USD                    $20,000.00 Customer Disbursement
                                                                                       TOTAL                         $30,000.00
        Confidential Customer USD Transferee #779          [Address on File]        5/23/2023 USD                         $20.00 Customer Disbursement
                                                                                       TOTAL                              $20.00
        Confidential Customer USD Transferee #780          [Address on File]        6/16/2023 USD                    $10,138.67 Customer Disbursement
                                                                                       TOTAL                         $10,138.67
        Confidential Customer USD Transferee #781          [Address on File]        6/20/2023 USD                        $974.00 Customer Disbursement
                                                                                       TOTAL                            $974.00
        Confidential Customer USD Transferee #782          [Address on File]        6/16/2023 USD                        $250.41 Customer Disbursement
                                                                                       TOTAL                            $250.41
        Confidential Customer USD Transferee #783          [Address on File]        6/12/2023 USD                         $13.67 Customer Disbursement
                                                                                       TOTAL                              $13.67
        Confidential Customer USD Transferee #784          [Address on File]        6/21/2023 USD                    $10,233.92 Customer Disbursement
                                                                                       TOTAL                         $10,233.92
        Confidential Customer USD Transferee #785          [Address on File]        6/21/2023 USD                        $191.85 Customer Disbursement
                                                                                       TOTAL                            $191.85
        Confidential Customer USD Transferee #786          [Address on File]         6/8/2023 USD                      $1,300.00 Customer Disbursement
        Confidential Customer USD Transferee #786          [Address on File]         6/2/2023 USD                        $300.00 Customer Disbursement
                                                                                       TOTAL                           $1,600.00
        Confidential Customer USD Transferee #787          [Address on File]         6/8/2023 USD                         $50.00 Customer Disbursement
                                                                                       TOTAL                              $50.00
        Confidential Customer USD Transferee #788          [Address on File]         6/9/2023 USD                    $17,566.18 Customer Disbursement
                                                                                       TOTAL                         $17,566.18
        Confidential Customer USD Transferee #789          [Address on File]        6/16/2023 USD                      $1,000.00 Customer Disbursement
                                                                                       TOTAL                           $1,000.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #790    [Address on File]        5/18/2023 USD                        $460.00 Customer Disbursement
                                                                                 TOTAL                            $460.00
        Confidential Customer USD Transferee #791    [Address on File]         6/1/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #792    [Address on File]         6/8/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #792    [Address on File]         6/8/2023 USD                        $510.00 Customer Disbursement
                                                                                 TOTAL                            $525.00
        Confidential Customer USD Transferee #793    [Address on File]        6/21/2023 USD                        $494.40 Customer Disbursement
                                                                                 TOTAL                            $494.40
        Confidential Customer USD Transferee #794    [Address on File]        5/25/2023 USD                         $18.00 Customer Disbursement
        Confidential Customer USD Transferee #794    [Address on File]        5/24/2023 USD                         $53.00 Customer Disbursement
                                                                                 TOTAL                              $71.00
        Confidential Customer USD Transferee #795    [Address on File]         6/6/2023 USD                        $932.96 Customer Disbursement
                                                                                 TOTAL                            $932.96
        Confidential Customer USD Transferee #796    [Address on File]        6/12/2023 USD                         $57.42 Customer Disbursement
                                                                                 TOTAL                              $57.42
        Confidential Customer USD Transferee #797    [Address on File]         6/6/2023 USD                         $25.00 Customer Disbursement
                                                                                 TOTAL                              $25.00
        Confidential Customer USD Transferee #798    [Address on File]         6/1/2023 USD                      $1,600.12 Customer Disbursement
        Confidential Customer USD Transferee #798    [Address on File]        5/23/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,600.12
        Confidential Customer USD Transferee #799    [Address on File]        6/12/2023 USD                         $98.37 Customer Disbursement
                                                                                 TOTAL                              $98.37
        Confidential Customer USD Transferee #800    [Address on File]         6/2/2023 USD                         $70.00 Customer Disbursement
                                                                                 TOTAL                              $70.00
        Confidential Customer USD Transferee #801    [Address on File]        6/16/2023 USD                        $129.32 Customer Disbursement
        Confidential Customer USD Transferee #801    [Address on File]        5/23/2023 USD                      $1,210.89 Customer Disbursement
                                                                                 TOTAL                           $1,340.21
        Confidential Customer USD Transferee #802    [Address on File]         6/6/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00
        Confidential Customer USD Transferee #803    [Address on File]         6/7/2023 USD                        $193.31 Customer Disbursement
                                                                                 TOTAL                            $193.31
        Confidential Customer USD Transferee #804    [Address on File]        6/16/2023 USD                          $5.93 Customer Disbursement
                                                                                 TOTAL                               $5.93

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #805    [Address on File]        6/16/2023 USD                      $5,372.54 Customer Disbursement
                                                                                 TOTAL                           $5,372.54
        Confidential Customer USD Transferee #806    [Address on File]        6/13/2023 USD                        $940.20 Customer Disbursement
                                                                                 TOTAL                            $940.20
                                                     [Address on File]
        Confidential Customer USD Transferee #807                               6/21/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #807                               6/16/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $400.00
        Confidential Customer USD Transferee #808    [Address on File]          6/21/2023 USD                      $1,741.34 Customer Disbursement
        Confidential Customer USD Transferee #808    [Address on File]          6/21/2023 USD                        $506.80 Customer Disbursement
                                                                                   TOTAL                           $2,248.14
                                                     [Address on File]
        Confidential Customer USD Transferee #809                               6/16/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                             $200.00
                                                     [Address on File]
        Confidential Customer USD Transferee #810                               6/21/2023 USD                        $118.18 Customer Disbursement
                                                                                   TOTAL                            $118.18
        Confidential Customer USD Transferee #811    [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #811    [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #811    [Address on File]          5/26/2023 USD                        $750.00 Customer Disbursement
        Confidential Customer USD Transferee #811    [Address on File]          5/25/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $9,750.00
        Confidential Customer USD Transferee #812    [Address on File]           6/9/2023 USD                         $19.73 Customer Disbursement
                                                                                   TOTAL                              $19.73
        Confidential Customer USD Transferee #813    [Address on File]           6/5/2023 USD                        $300.00 Customer Disbursement
                                                                                   TOTAL                            $300.00
        Confidential Customer USD Transferee #814    [Address on File]           6/7/2023 USD                      $1,050.00 Customer Disbursement
                                                                                   TOTAL                           $1,050.00
        Confidential Customer USD Transferee #815    [Address on File]          5/23/2023 USD                         $40.00 Customer Disbursement
                                                                                   TOTAL                              $40.00
        Confidential Customer USD Transferee #816    [Address on File]          6/14/2023 USD                      $1,733.88 Customer Disbursement
        Confidential Customer USD Transferee #816    [Address on File]           6/7/2023 USD                      $1,730.82 Customer Disbursement
                                                                                   TOTAL                           $3,464.70

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #817    [Address on File]        6/20/2023 USD                        $164.97 Customer Disbursement
        Confidential Customer USD Transferee #817    [Address on File]        6/20/2023 USD                        $171.00 Customer Disbursement
                                                                                 TOTAL                            $335.97
        Confidential Customer USD Transferee #818    [Address on File]        6/14/2023 USD                        $376.87 Customer Disbursement
                                                                                 TOTAL                            $376.87
        Confidential Customer USD Transferee #819    [Address on File]        5/23/2023 USD                          $6.01 Customer Disbursement
                                                                                 TOTAL                               $6.01
        Confidential Customer USD Transferee #820    [Address on File]        6/14/2023 USD                      $6,354.34 Customer Disbursement
        Confidential Customer USD Transferee #820    [Address on File]         6/6/2023 USD                        $157.08 Customer Disbursement
                                                                                 TOTAL                           $6,511.42
                                                     [Address on File]
        Confidential Customer USD Transferee #821                               6/20/2023 USD                        $939.35 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #821                                6/7/2023 USD                        $500.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #821                               5/31/2023 USD                      $1,800.00 Customer Disbursement
                                                                                   TOTAL                           $3,239.35
        Confidential Customer USD Transferee #822    [Address on File]          5/31/2023 USD                         $11.32 Customer Disbursement
        Confidential Customer USD Transferee #822    [Address on File]          5/31/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #822    [Address on File]          5/31/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #822    [Address on File]          5/22/2023 USD                         $28.99 Customer Disbursement
                                                                                   TOTAL                            $110.31
        Confidential Customer USD Transferee #823    [Address on File]          6/21/2023 USD                      $1,644.05 Customer Disbursement
                                                                                   TOTAL                           $1,644.05
        Confidential Customer USD Transferee #824    [Address on File]          6/20/2023 USD                        $392.47 Customer Disbursement
        Confidential Customer USD Transferee #824    [Address on File]          6/20/2023 USD                     $13,151.49 Customer Disbursement
        Confidential Customer USD Transferee #824    [Address on File]          6/20/2023 USD                        $114.60 Customer Disbursement
                                                                                   TOTAL                          $13,658.56
        Confidential Customer USD Transferee #825    [Address on File]           6/9/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #825    [Address on File]          5/22/2023 USD                        $300.00 Customer Disbursement
                                                                                   TOTAL                            $600.00
        Confidential Customer USD Transferee #826    [Address on File]          6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
        Confidential Customer USD Transferee #827    [Address on File]           6/8/2023 USD                         $32.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #827    [Address on File]         6/8/2023 USD                      $1,097.00 Customer Disbursement
                                                                                 TOTAL                           $1,129.00
        Confidential Customer USD Transferee #828    [Address on File]        5/22/2023 USD                          $4.34 Customer Disbursement
                                                                                 TOTAL                               $4.34
        Confidential Customer USD Transferee #829    [Address on File]         6/2/2023 USD                        $295.00 Customer Disbursement
        Confidential Customer USD Transferee #829    [Address on File]         6/1/2023 USD                        $202.32 Customer Disbursement
                                                                                 TOTAL                            $497.32
        Confidential Customer USD Transferee #830    [Address on File]        6/20/2023 USD                         $92.00 Customer Disbursement
        Confidential Customer USD Transferee #830    [Address on File]        6/20/2023 USD                    $10,329.40 Customer Disbursement
        Confidential Customer USD Transferee #830    [Address on File]        6/13/2023 USD                      $7,800.00 Customer Disbursement
        Confidential Customer USD Transferee #830    [Address on File]        6/13/2023 USD                      $2,350.00 Customer Disbursement
                                                                                 TOTAL                         $20,571.40
        Confidential Customer USD Transferee #831    [Address on File]         6/6/2023 USD                        $803.00 Customer Disbursement
                                                                                 TOTAL                            $803.00
        Confidential Customer USD Transferee #832    [Address on File]        5/16/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #833    [Address on File]        6/13/2023 USD                      $4,519.00 Customer Disbursement
                                                                                 TOTAL                           $4,519.00
        Confidential Customer USD Transferee #834    [Address on File]        5/16/2023 USD                         $45.97 Customer Disbursement
                                                                                 TOTAL                              $45.97
        Confidential Customer USD Transferee #835    [Address on File]        5/30/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #836    [Address on File]        6/12/2023 USD                         $13.26 Customer Disbursement
                                                                                 TOTAL                              $13.26
        Confidential Customer USD Transferee #837    [Address on File]        5/24/2023 USD                         $94.85 Customer Disbursement
                                                                                 TOTAL                              $94.85
        Confidential Customer USD Transferee #838    [Address on File]        6/16/2023 USD                         $40.00 Customer Disbursement
                                                                                 TOTAL                              $40.00
        Confidential Customer USD Transferee #839    [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
        Confidential Customer USD Transferee #840    [Address on File]        5/23/2023 USD                      $2,990.03 Customer Disbursement
                                                                                 TOTAL                           $2,990.03
        Confidential Customer USD Transferee #841    [Address on File]        6/20/2023 USD                      $1,497.64 Customer Disbursement
                                                                                 TOTAL                           $1,497.64

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #842    [Address on File]        5/30/2023 USD                      $5,550.00 Customer Disbursement
                                                                                 TOTAL                           $5,550.00
        Confidential Customer USD Transferee #843    [Address on File]        5/31/2023 USD                        $234.00 Customer Disbursement
                                                                                 TOTAL                            $234.00
        Confidential Customer USD Transferee #844    [Address on File]        6/15/2023 USD                   $499,970.00 Customer Disbursement
        Confidential Customer USD Transferee #844    [Address on File]        5/22/2023 USD                   $448,400.00 Customer Disbursement
                                                                                 TOTAL                        $948,370.00
        Confidential Customer USD Transferee #845    [Address on File]         6/7/2023 USD                    $99,334.00 Customer Disbursement
        Confidential Customer USD Transferee #845    [Address on File]        5/25/2023 USD                   $164,350.00 Customer Disbursement
        Confidential Customer USD Transferee #845    [Address on File]        5/17/2023 USD                    $60,070.64 Customer Disbursement
                                                                                 TOTAL                        $323,754.64
        Confidential Customer USD Transferee #846    [Address on File]        5/23/2023 USD                        $572.48 Customer Disbursement
                                                                                 TOTAL                            $572.48
        Confidential Customer USD Transferee #847    [Address on File]        6/20/2023 USD                         $16.00 Customer Disbursement
        Confidential Customer USD Transferee #847    [Address on File]        6/20/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $31.00
        Confidential Customer USD Transferee #848    [Address on File]         6/6/2023 USD                        $195.00 Customer Disbursement
        Confidential Customer USD Transferee #848    [Address on File]        5/26/2023 USD                        $175.00 Customer Disbursement
        Confidential Customer USD Transferee #848    [Address on File]        5/23/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #848    [Address on File]        5/18/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $720.00
                                                     [Address on File]
        Confidential Customer USD Transferee #849                               6/16/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
        Confidential Customer USD Transferee #850    [Address on File]           6/2/2023 USD                        $600.00 Customer Disbursement
                                                                                   TOTAL                            $600.00
        Confidential Customer USD Transferee #851    [Address on File]          6/21/2023 USD                     $10,593.42 Customer Disbursement
        Confidential Customer USD Transferee #851    [Address on File]          6/20/2023 USD                      $1,985.22 Customer Disbursement
                                                                                   TOTAL                          $12,578.64
        Confidential Customer USD Transferee #852    [Address on File]           6/6/2023 USD                        $345.22 Customer Disbursement
                                                                                   TOTAL                            $345.22
        Confidential Customer USD Transferee #853    [Address on File]          6/21/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #853    [Address on File]          6/16/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #853    [Address on File]          6/14/2023 USD                      $5,000.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #853    [Address on File]        6/13/2023 USD                        $900.00 Customer Disbursement
                                                                                 TOTAL                         $15,900.00
        Confidential Customer USD Transferee #854    [Address on File]        6/14/2023 USD                      $2,633.60 Customer Disbursement
        Confidential Customer USD Transferee #854    [Address on File]        5/30/2023 USD                      $3,010.62 Customer Disbursement
                                                                                 TOTAL                           $5,644.22
        Confidential Customer USD Transferee #855    [Address on File]         6/2/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #855    [Address on File]         6/2/2023 USD                      $1,367.98 Customer Disbursement
        Confidential Customer USD Transferee #855    [Address on File]        5/30/2023 USD                      $2,253.40 Customer Disbursement
        Confidential Customer USD Transferee #855    [Address on File]        5/17/2023 USD                      $2,319.47 Customer Disbursement
                                                                                 TOTAL                           $6,940.85
        Confidential Customer USD Transferee #856    [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #856    [Address on File]        5/16/2023 USD                      $2,300.00 Customer Disbursement
                                                                                 TOTAL                           $5,300.00
        Confidential Customer USD Transferee #857    [Address on File]         6/1/2023 USD                        $819.27 Customer Disbursement
                                                                                 TOTAL                            $819.27
        Confidential Customer USD Transferee #858    [Address on File]        5/22/2023 USD                        $300.00 Customer Disbursement
                                                                                 TOTAL                            $300.00
        Confidential Customer USD Transferee #859    [Address on File]         6/7/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
        Confidential Customer USD Transferee #860    [Address on File]        6/13/2023 USD                        $274.00 Customer Disbursement
        Confidential Customer USD Transferee #860    [Address on File]        6/13/2023 USD                        $377.90 Customer Disbursement
        Confidential Customer USD Transferee #860    [Address on File]        6/13/2023 USD                        $191.77 Customer Disbursement
                                                                                 TOTAL                            $843.67
        Confidential Customer USD Transferee #861    [Address on File]        5/16/2023 USD                        $287.64 Customer Disbursement
                                                                                 TOTAL                            $287.64
        Confidential Customer USD Transferee #862    [Address on File]         6/8/2023 USD                        $400.00 Customer Disbursement
                                                                                 TOTAL                            $400.00
        Confidential Customer USD Transferee #863    [Address on File]         6/1/2023 USD                      $2,966.14 Customer Disbursement
                                                                                 TOTAL                           $2,966.14
        Confidential Customer USD Transferee #864    [Address on File]         6/8/2023 USD                         $25.03 Customer Disbursement
                                                                                 TOTAL                              $25.03
        Confidential Customer USD Transferee #865    [Address on File]        6/16/2023 USD                         $10.83 Customer Disbursement
                                                                                 TOTAL                              $10.83
        Confidential Customer USD Transferee #866    [Address on File]        6/21/2023 USD                        $222.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $222.00
        Confidential Customer USD Transferee #867          [Address on File]         6/7/2023 USD                    $15,885.86 Customer Disbursement
                                                                                       TOTAL                         $15,885.86
        Confidential Customer USD Transferee #868          [Address on File]        5/30/2023 USD                         $42.00 Customer Disbursement
                                                                                       TOTAL                              $42.00
        Confidential Customer USD Transferee #869          [Address on File]         6/5/2023 USD                        $699.56 Customer Disbursement
                                                                                       TOTAL                            $699.56
        Confidential Customer USD Transferee #870          [Address on File]         6/7/2023 USD                          $0.01 Customer Disbursement
                                                                                       TOTAL                               $0.01
        Confidential Customer USD Transferee #871          [Address on File]         6/2/2023 USD                        $850.00 Customer Disbursement
        Confidential Customer USD Transferee #871          [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #871          [Address on File]        5/26/2023 USD                        $249.39 Customer Disbursement
                                                                                       TOTAL                           $4,099.39
        Confidential Customer USD Transferee #872          [Address on File]         6/2/2023 USD                      $2,503.20 Customer Disbursement
                                                                                       TOTAL                           $2,503.20
        Confidential Customer USD Transferee #873          [Address on File]        5/31/2023 USD                         $30.00 Customer Disbursement
                                                                                       TOTAL                              $30.00
        Confidential Customer USD Transferee #874          [Address on File]        6/13/2023 USD                      $3,700.00 Customer Disbursement
        Confidential Customer USD Transferee #874          [Address on File]        5/16/2023 USD                         $86.00 Customer Disbursement
                                                                                       TOTAL                           $3,786.00
        Confidential Customer USD Transferee #875          [Address on File]        6/16/2023 USD                         $35.84 Customer Disbursement
                                                                                       TOTAL                              $35.84
        Confidential Customer USD Transferee #876          [Address on File]        6/20/2023 USD                      $4,804.88 Customer Disbursement
        Confidential Customer USD Transferee #876          [Address on File]        6/16/2023 USD                        $126.85 Customer Disbursement
                                                                                       TOTAL                           $4,931.73
        Confidential Customer USD Transferee #877          [Address on File]        6/16/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #877          [Address on File]         6/9/2023 USD                   $130,588.46 Customer Disbursement
        Confidential Customer USD Transferee #877          [Address on File]         6/1/2023 USD                   $129,000.00 Customer Disbursement
        Confidential Customer USD Transferee #877          [Address on File]        5/31/2023 USD                   $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #877          [Address on File]        5/26/2023 USD                   $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #877          [Address on File]        5/22/2023 USD                    $59,053.31 Customer Disbursement
                                                                                       TOTAL                        $519,641.77
        Confidential Customer USD Transferee #878          [Address on File]        6/14/2023 USD                   $400,014.70 Customer Disbursement
        Confidential Customer USD Transferee #878          [Address on File]        6/12/2023 USD                    $97,548.80 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                        $497,563.50
        Confidential Customer USD Transferee #879          [Address on File]        5/16/2023 USD                      $2,072.10 Customer Disbursement
                                                                                       TOTAL                           $2,072.10
        Confidential Customer USD Transferee #880          [Address on File]        5/30/2023 USD                        $109.59 Customer Disbursement
        Confidential Customer USD Transferee #880          [Address on File]        5/22/2023 USD                        $216.27 Customer Disbursement
                                                                                       TOTAL                            $325.86
        Confidential Customer USD Transferee #881          [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
        Confidential Customer USD Transferee #882          [Address on File]         6/8/2023 USD                         $84.32 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]         6/7/2023 USD                         $84.24 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]         6/6/2023 USD                        $186.31 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]         6/5/2023 USD                         $86.44 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]         6/2/2023 USD                         $92.17 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]        5/31/2023 USD                        $364.21 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]        5/30/2023 USD                         $84.02 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]        5/26/2023 USD                         $82.92 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]        5/25/2023 USD                        $175.60 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]        5/23/2023 USD                        $186.96 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]        5/19/2023 USD                        $185.70 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]        5/17/2023 USD                        $194.50 Customer Disbursement
        Confidential Customer USD Transferee #882          [Address on File]        5/16/2023 USD                        $208.75 Customer Disbursement
                                                                                       TOTAL                           $2,016.14
        Confidential Customer USD Transferee #883          [Address on File]        6/12/2023 USD                      $2,277.50 Customer Disbursement
                                                                                       TOTAL                           $2,277.50
                                                           [Address on File]
        Confidential Customer USD Transferee #884                                     6/12/2023 USD                      $4,782.62 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #884                                     6/12/2023 USD                        $202.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #884                                     6/12/2023 USD                         $41.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #884                                     6/12/2023 USD                        $985.00 Customer Disbursement
                                                                                         TOTAL                           $6,010.62
        Confidential Customer USD Transferee #885          [Address on File]          6/20/2023 USD                         $35.00 Customer Disbursement
                                                                                         TOTAL                              $35.00

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #886                                     6/12/2023 USD                          $1.01 Customer Disbursement
                                                                                         TOTAL                               $1.01
        Confidential Customer USD Transferee #887          [Address on File]          5/16/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                             $150.00
        Confidential Customer USD Transferee #888          [Address on File]          5/30/2023 USD                        $720.81 Customer Disbursement
                                                                                         TOTAL                             $720.81
        Confidential Customer USD Transferee #889          [Address on File]          5/31/2023 USD                        $600.00 Customer Disbursement
                                                                                         TOTAL                             $600.00
                                                           [Address on File]
        Confidential Customer USD Transferee #890                                      6/8/2023 USD                 $1,085,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #890                                     5/30/2023 USD                   $735,000.00 Customer Disbursement
                                                                                         TOTAL                      $1,820,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #891                                      6/8/2023 USD                   $134,714.92 Customer Disbursement
                                                                                         TOTAL                        $134,714.92
        Confidential Customer USD Transferee #892          [Address on File]          6/21/2023 USD                     $8,304.16 Customer Disbursement
        Confidential Customer USD Transferee #892          [Address on File]          6/21/2023 USD                     $2,771.84 Customer Disbursement
        Confidential Customer USD Transferee #892          [Address on File]          6/20/2023 USD                       $846.86 Customer Disbursement
        Confidential Customer USD Transferee #892          [Address on File]           6/9/2023 USD                   $136,157.19 Customer Disbursement
        Confidential Customer USD Transferee #892          [Address on File]          5/26/2023 USD                   $266,088.68 Customer Disbursement
                                                                                         TOTAL                        $414,168.73
        Confidential Customer USD Transferee #893          [Address on File]          6/22/2023 USD                     $7,094.17 Customer Disbursement
        Confidential Customer USD Transferee #893          [Address on File]          6/21/2023 USD                     $1,382.28 Customer Disbursement
        Confidential Customer USD Transferee #893          [Address on File]          6/21/2023 USD                     $6,063.92 Customer Disbursement
        Confidential Customer USD Transferee #893          [Address on File]          6/16/2023 USD                     $2,037.02 Customer Disbursement
        Confidential Customer USD Transferee #893          [Address on File]          6/14/2023 USD                     $1,910.91 Customer Disbursement
        Confidential Customer USD Transferee #893          [Address on File]          6/12/2023 USD                     $1,590.24 Customer Disbursement
                                                                                         TOTAL                         $20,078.54
                                                           [Address on File]
        Confidential Customer USD Transferee #894                                     5/31/2023 USD                      $1,516.90 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #894                                     5/16/2023 USD                     $55,955.81 Customer Disbursement
                                                                                         TOTAL                          $57,472.71
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #895                                      6/8/2023 USD                     $95,880.77 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #895                                      6/2/2023 USD                      $6,686.76 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #895                                     5/31/2023 USD                      $1,950.92 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #895                                     5/26/2023 USD                     $1,786.22 Customer Disbursement
                                                                                         TOTAL                        $106,304.67
                                                           [Address on File]
        Confidential Customer USD Transferee #896                                     6/20/2023 USD                      $2,009.12 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #896                                      6/2/2023 USD                      $4,977.68 Customer Disbursement
                                                                                        TOTAL                            $6,986.80
                                                           [Address on File]
        Confidential Customer USD Transferee #897                                     6/14/2023 USD                     $10,284.24 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #897                                     5/22/2023 USD                      $1,862.15 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #897                                     5/22/2023 USD                      $3,669.68 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #897                                     5/16/2023 USD                      $3,269.61 Customer Disbursement
                                                                                         TOTAL                          $19,085.68
                                                           [Address on File]
        Confidential Customer USD Transferee #898                                     6/15/2023 USD                      $2,989.98 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #898                                      6/7/2023 USD                      $4,449.97 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #898                                      6/5/2023 USD                      $7,672.77 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #898                                     5/30/2023 USD                      $1,663.88 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #898                                     5/22/2023 USD                        $919.58 Customer Disbursement
                                                                                         TOTAL                          $17,696.18
        Confidential Customer USD Transferee #899          [Address on File]          6/16/2023 USD                      $1,700.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #899    [Address on File]        6/16/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #899    [Address on File]        6/16/2023 USD                      $2,500.00 Customer Disbursement
        Confidential Customer USD Transferee #899    [Address on File]        6/16/2023 USD                      $1,240.00 Customer Disbursement
        Confidential Customer USD Transferee #899    [Address on File]        6/16/2023 USD                        $200.00 Customer Disbursement
                                                                                 TOTAL                           $7,640.00
        Confidential Customer USD Transferee #900    [Address on File]        5/24/2023 USD                        $150.00 Customer Disbursement
                                                                                 TOTAL                            $150.00
        Confidential Customer USD Transferee #901    [Address on File]         6/2/2023 USD                          $4.44 Customer Disbursement
        Confidential Customer USD Transferee #901    [Address on File]        5/18/2023 USD                          $1.00 Customer Disbursement
                                                                                 TOTAL                               $5.44
        Confidential Customer USD Transferee #902    [Address on File]        5/31/2023 USD                         $88.00 Customer Disbursement
                                                                                 TOTAL                              $88.00
        Confidential Customer USD Transferee #903    [Address on File]        5/30/2023 USD                      $1,429.13 Customer Disbursement
                                                                                 TOTAL                           $1,429.13
                                                     [Address on File]
        Confidential Customer USD Transferee #904                                6/5/2023 USD                        $202.04 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #904                                6/2/2023 USD                        $797.96 Customer Disbursement
                                                                                  TOTAL                            $1,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #905                               6/20/2023 USD                          $0.17 Customer Disbursement
                                                                                   TOTAL                               $0.17
        Confidential Customer USD Transferee #906    [Address on File]          6/16/2023 USD                         $85.00 Customer Disbursement
                                                                                   TOTAL                              $85.00
        Confidential Customer USD Transferee #907    [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $3,000.00
        Confidential Customer USD Transferee #908    [Address on File]          5/30/2023 USD                        $557.19 Customer Disbursement
                                                                                   TOTAL                            $557.19
                                                     [Address on File]
        Confidential Customer USD Transferee #909                                6/9/2023 USD                         $85.80 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #909                               5/30/2023 USD                        $161.55 Customer Disbursement
                                                                                   TOTAL                             $247.35


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                                            Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #910                                     6/16/2023 USD                        $209.85 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #910                                      6/8/2023 USD                        $159.59 Customer Disbursement
                                                                                         TOTAL                            $369.44
        Confidential Customer USD Transferee #911          [Address on File]           6/6/2023 USD                      $1,139.19 Customer Disbursement
                                                                                         TOTAL                           $1,139.19
        Confidential Customer USD Transferee #912          [Address on File]           6/7/2023 USD                        $227.15 Customer Disbursement
                                                                                         TOTAL                            $227.15
        Confidential Customer USD Transferee #913          [Address on File]          5/26/2023 USD                     $50,000.00 Customer Disbursement
                                                                                         TOTAL                          $50,000.00
        Confidential Customer USD Transferee #914          [Address on File]           6/8/2023 USD                      $1,500.00 Customer Disbursement
                                                                                         TOTAL                           $1,500.00
        Confidential Customer USD Transferee #915          [Address on File]           6/9/2023 USD                     $51,293.56 Customer Disbursement
                                                                                         TOTAL                          $51,293.56
                                                           [Address on File]
        Confidential Customer USD Transferee #916                                     6/20/2023 USD                         $84.50 Customer Disbursement
                                                                                         TOTAL                              $84.50
        Confidential Customer USD Transferee #917          [Address on File]          5/31/2023 USD                        $750.00 Customer Disbursement
        Confidential Customer USD Transferee #917          [Address on File]          5/17/2023 USD                      $1,282.00 Customer Disbursement
                                                                                         TOTAL                           $2,032.00
        Confidential Customer USD Transferee #918          [Address on File]          6/21/2023 USD                        $382.00 Customer Disbursement
        Confidential Customer USD Transferee #918          [Address on File]           6/7/2023 USD                        $531.00 Customer Disbursement
        Confidential Customer USD Transferee #918          [Address on File]           6/1/2023 USD                        $275.00 Customer Disbursement
        Confidential Customer USD Transferee #918          [Address on File]          5/25/2023 USD                        $313.00 Customer Disbursement
        Confidential Customer USD Transferee #918          [Address on File]          5/18/2023 USD                        $612.00 Customer Disbursement
                                                                                         TOTAL                           $2,113.00
        Confidential Customer USD Transferee #919          [Address on File]          6/12/2023 USD                          $2.16 Customer Disbursement
                                                                                         TOTAL                               $2.16
        Confidential Customer USD Transferee #920          [Address on File]          5/16/2023 USD                        $198.72 Customer Disbursement
                                                                                         TOTAL                            $198.72
        Confidential Customer USD Transferee #921          [Address on File]           6/6/2023 USD                        $290.28 Customer Disbursement
                                                                                         TOTAL                            $290.28
        Confidential Customer USD Transferee #922          [Address on File]          6/16/2023 USD                        $400.00 Customer Disbursement

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                                                            Customers - Fiat Disbursement
                                      Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #922    [Address on File]        6/16/2023 USD                        $110.00 Customer Disbursement
        Confidential Customer USD Transferee #922    [Address on File]        6/13/2023 USD                        $630.00 Customer Disbursement
                                                                                 TOTAL                           $1,140.00
        Confidential Customer USD Transferee #923    [Address on File]        5/16/2023 USD                      $2,500.00 Customer Disbursement
                                                                                 TOTAL                           $2,500.00
        Confidential Customer USD Transferee #924    [Address on File]         6/6/2023 USD                        $995.14 Customer Disbursement
                                                                                 TOTAL                            $995.14
        Confidential Customer USD Transferee #925    [Address on File]        6/21/2023 USD                      $8,000.00 Customer Disbursement
        Confidential Customer USD Transferee #925    [Address on File]        6/20/2023 USD                    $18,708.42 Customer Disbursement
                                                                                 TOTAL                         $26,708.42
        Confidential Customer USD Transferee #926    [Address on File]        6/22/2023 USD                      $6,966.10 Customer Disbursement
        Confidential Customer USD Transferee #926    [Address on File]        6/21/2023 USD                      $6,000.00 Customer Disbursement
        Confidential Customer USD Transferee #926    [Address on File]        6/20/2023 USD                      $1,000.34 Customer Disbursement
                                                                                 TOTAL                         $13,966.44
        Confidential Customer USD Transferee #927    [Address on File]        6/21/2023 USD                      $1,953.77 Customer Disbursement
        Confidential Customer USD Transferee #927    [Address on File]        6/21/2023 USD                        $547.68 Customer Disbursement
                                                                                 TOTAL                           $2,501.45
        Confidential Customer USD Transferee #928    [Address on File]        5/25/2023 USD                      $1,500.00 Customer Disbursement
                                                                                 TOTAL                           $1,500.00
        Confidential Customer USD Transferee #929    [Address on File]         6/6/2023 USD                        $126.89 Customer Disbursement
                                                                                 TOTAL                            $126.89
        Confidential Customer USD Transferee #930    [Address on File]         6/5/2023 USD                      $1,800.00 Customer Disbursement
                                                                                 TOTAL                           $1,800.00
        Confidential Customer USD Transferee #931    [Address on File]        5/23/2023 USD                      $3,500.00 Customer Disbursement
                                                                                 TOTAL                           $3,500.00
        Confidential Customer USD Transferee #932    [Address on File]        5/23/2023 USD                        $100.05 Customer Disbursement
                                                                                 TOTAL                            $100.05
        Confidential Customer USD Transferee #933    [Address on File]        6/21/2023 USD                      $1,100.00 Customer Disbursement
                                                                                 TOTAL                           $1,100.00
        Confidential Customer USD Transferee #934    [Address on File]        5/31/2023 USD                         $98.00 Customer Disbursement
                                                                                 TOTAL                              $98.00
        Confidential Customer USD Transferee #935    [Address on File]        5/25/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00
        Confidential Customer USD Transferee #936    [Address on File]        5/24/2023 USD                         $10.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #937          [Address on File]         6/5/2023 USD                    $23,498.21 Customer Disbursement
                                                                                       TOTAL                         $23,498.21
        Confidential Customer USD Transferee #938          [Address on File]        5/24/2023 USD                    $60,000.00 Customer Disbursement
        Confidential Customer USD Transferee #938          [Address on File]        5/24/2023 USD                    $50,000.00 Customer Disbursement
                                                                                       TOTAL                        $110,000.00
        Confidential Customer USD Transferee #939          [Address on File]        5/23/2023 USD                         $10.67 Customer Disbursement
                                                                                       TOTAL                              $10.67
        Confidential Customer USD Transferee #940          [Address on File]        6/21/2023 USD                      $3,630.44 Customer Disbursement
        Confidential Customer USD Transferee #940          [Address on File]        6/21/2023 USD                        $900.87 Customer Disbursement
        Confidential Customer USD Transferee #940          [Address on File]        5/31/2023 USD                        $298.00 Customer Disbursement
        Confidential Customer USD Transferee #940          [Address on File]        5/30/2023 USD                        $280.80 Customer Disbursement
                                                                                       TOTAL                           $5,110.11
        Confidential Customer USD Transferee #941          [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #941          [Address on File]         6/2/2023 USD                      $1,977.07 Customer Disbursement
        Confidential Customer USD Transferee #941          [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #941          [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                         $10,977.07
        Confidential Customer USD Transferee #942          [Address on File]         6/9/2023 USD                      $3,123.89 Customer Disbursement
                                                                                       TOTAL                           $3,123.89
        Confidential Customer USD Transferee #943          [Address on File]        6/21/2023 USD                      $6,034.86 Customer Disbursement
        Confidential Customer USD Transferee #943          [Address on File]        6/16/2023 USD                    $20,000.00 Customer Disbursement
                                                                                       TOTAL                         $26,034.86
        Confidential Customer USD Transferee #944          [Address on File]        6/21/2023 USD                      $4,743.93 Customer Disbursement
        Confidential Customer USD Transferee #944          [Address on File]        6/20/2023 USD                    $20,000.00 Customer Disbursement
                                                                                       TOTAL                         $24,743.93
        Confidential Customer USD Transferee #945          [Address on File]        6/12/2023 USD                         $51.78 Customer Disbursement
                                                                                       TOTAL                              $51.78
        Confidential Customer USD Transferee #946          [Address on File]        6/15/2023 USD                        $535.45 Customer Disbursement
                                                                                       TOTAL                            $535.45
        Confidential Customer USD Transferee #947          [Address on File]        5/24/2023 USD                        $278.91 Customer Disbursement
                                                                                       TOTAL                            $278.91
        Confidential Customer USD Transferee #948          [Address on File]         6/5/2023 USD                        $982.00 Customer Disbursement
                                                                                       TOTAL                            $982.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #949    [Address on File]        6/15/2023 USD                      $5,401.45 Customer Disbursement
        Confidential Customer USD Transferee #949    [Address on File]        5/22/2023 USD                      $7,575.70 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #949                               6/20/2023 USD                   $900,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #949                               5/17/2023 USD                    $25,533.35 Customer Disbursement
                                                                                   TOTAL                        $938,510.50
                                                     [Address on File]
        Confidential Customer USD Transferee #950                               6/20/2023 USD                   $500,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #950                               6/20/2023 USD                   $179,462.14 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #950                               6/20/2023 USD                 $3,825,241.83 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #950                                6/7/2023 USD                     $83,722.43 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #950                                6/6/2023 USD                      $4,809.72 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #950                                6/1/2023 USD                       $982.95 Customer Disbursement
                                                                                   TOTAL                      $4,594,219.07
        Confidential Customer USD Transferee #951    [Address on File]          6/20/2023 USD                       $439.00 Customer Disbursement
        Confidential Customer USD Transferee #951    [Address on File]          6/16/2023 USD                        $14.67 Customer Disbursement
                                                                                   TOTAL                           $453.67
        Confidential Customer USD Transferee #952    [Address on File]          5/25/2023 USD                     $1,704.81 Customer Disbursement
                                                                                   TOTAL                          $1,704.81
                                                     [Address on File]
        Confidential Customer USD Transferee #953                               6/22/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $20.00
        Confidential Customer USD Transferee #954    [Address on File]           6/6/2023 USD                      $1,001.00 Customer Disbursement
                                                                                   TOTAL                           $1,001.00
        Confidential Customer USD Transferee #955    [Address on File]           6/9/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #955    [Address on File]          5/18/2023 USD                      $1,450.00 Customer Disbursement
        Confidential Customer USD Transferee #955    [Address on File]          5/16/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                           $3,000.00
        Confidential Customer USD Transferee #956    [Address on File]           6/7/2023 USD                      $5,436.06 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                            $5,436.06
                                                           [Address on File]
        Confidential Customer USD Transferee #957                                     5/31/2023 USD                         $59.00 Customer Disbursement
                                                                                         TOTAL                              $59.00
        Confidential Customer USD Transferee #958          [Address on File]          5/22/2023 USD                        $966.17 Customer Disbursement
                                                                                         TOTAL                             $966.17
        Confidential Customer USD Transferee #959          [Address on File]          5/24/2023 USD                        $798.00 Customer Disbursement
                                                                                         TOTAL                             $798.00
        Confidential Customer USD Transferee #960          [Address on File]           6/8/2023 USD                        $424.16 Customer Disbursement
                                                                                         TOTAL                             $424.16
                                                           [Address on File]
        Confidential Customer USD Transferee #961                                     6/20/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #961                                     6/13/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                             $400.00
        Confidential Customer USD Transferee #962          [Address on File]          5/16/2023 USD                         $27.64 Customer Disbursement
                                                                                         TOTAL                              $27.64
        Confidential Customer USD Transferee #963          [Address on File]           6/1/2023 USD                        $101.00 Customer Disbursement
                                                                                         TOTAL                             $101.00
                                                           [Address on File]
        Confidential Customer USD Transferee #964                                     6/21/2023 USD                        $267.97 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #964                                     6/16/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                            $272.97
        Confidential Customer USD Transferee #965          [Address on File]           6/1/2023 USD                      $2,005.00 Customer Disbursement
        Confidential Customer USD Transferee #965          [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #965          [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #965          [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #965          [Address on File]          5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #965          [Address on File]          5/25/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                          $17,005.00
        Confidential Customer USD Transferee #966          [Address on File]          6/16/2023 USD                      $4,556.00 Customer Disbursement
                                                                                         TOTAL                           $4,556.00
        Confidential Customer USD Transferee #967          [Address on File]           6/5/2023 USD                      $5,292.86 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                      TOTAL                            $5,292.86
        Confidential Customer USD Transferee #968          [Address on File]         6/5/2023 USD                        $144.00 Customer Disbursement
                                                                                      TOTAL                             $144.00
                                                           [Address on File]
        Confidential Customer USD Transferee #969                                      6/6/2023 USD                         $58.59 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #969                                      6/1/2023 USD                        $200.00 Customer Disbursement
                                                                                        TOTAL                              $258.59
                                                           [Address on File]
        Confidential Customer USD Transferee #970                                      6/1/2023 USD                        $185.00 Customer Disbursement
                                                                                         TOTAL                            $185.00
        Confidential Customer USD Transferee #971          [Address on File]          5/23/2023 USD                         $76.67 Customer Disbursement
                                                                                         TOTAL                              $76.67
        Confidential Customer USD Transferee #972          [Address on File]           6/9/2023 USD                         $25.00 Customer Disbursement
                                                                                         TOTAL                              $25.00
        Confidential Customer USD Transferee #973          [Address on File]          6/12/2023 USD                      $2,671.27 Customer Disbursement
                                                                                         TOTAL                           $2,671.27
        Confidential Customer USD Transferee #974          [Address on File]           6/6/2023 USD                         $30.00 Customer Disbursement
                                                                                         TOTAL                              $30.00
        Confidential Customer USD Transferee #975          [Address on File]           6/6/2023 USD                        $107.80 Customer Disbursement
                                                                                         TOTAL                            $107.80
        Confidential Customer USD Transferee #976          [Address on File]          5/18/2023 USD                      $2,820.00 Customer Disbursement
                                                                                         TOTAL                           $2,820.00
        Confidential Customer USD Transferee #977          [Address on File]          6/12/2023 USD                         $29.69 Customer Disbursement
                                                                                         TOTAL                              $29.69
        Confidential Customer USD Transferee #978          [Address on File]          5/31/2023 USD                      $1,381.08 Customer Disbursement
                                                                                         TOTAL                           $1,381.08
        Confidential Customer USD Transferee #979          [Address on File]          6/20/2023 USD                         $34.40 Customer Disbursement
                                                                                         TOTAL                              $34.40
        Confidential Customer USD Transferee #980          [Address on File]          5/23/2023 USD                        $335.00 Customer Disbursement
                                                                                         TOTAL                            $335.00
        Confidential Customer USD Transferee #981          [Address on File]          5/23/2023 USD                         $20.00 Customer Disbursement
                                                                                         TOTAL                              $20.00
        Confidential Customer USD Transferee #982          [Address on File]          5/24/2023 USD                      $1,000.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #983          [Address on File]         6/2/2023 USD                        $419.00 Customer Disbursement
                                                                                       TOTAL                            $419.00
        Confidential Customer USD Transferee #984          [Address on File]         6/7/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #984          [Address on File]        5/25/2023 USD                        $750.00 Customer Disbursement
                                                                                       TOTAL                           $1,250.00
        Confidential Customer USD Transferee #985          [Address on File]        6/21/2023 USD                        $213.35 Customer Disbursement
                                                                                       TOTAL                            $213.35
        Confidential Customer USD Transferee #986          [Address on File]        6/20/2023 USD                    $10,000.00 Customer Disbursement
                                                                                       TOTAL                         $10,000.00
        Confidential Customer USD Transferee #987          [Address on File]        6/20/2023 USD                      $6,411.72 Customer Disbursement
                                                                                       TOTAL                           $6,411.72
        Confidential Customer USD Transferee #988          [Address on File]        5/26/2023 USD                      $2,920.00 Customer Disbursement
                                                                                       TOTAL                           $2,920.00
        Confidential Customer USD Transferee #989          [Address on File]        6/20/2023 USD                      $2,828.65 Customer Disbursement
                                                                                       TOTAL                           $2,828.65
        Confidential Customer USD Transferee #990          [Address on File]        6/20/2023 USD                        $389.00 Customer Disbursement
                                                                                       TOTAL                            $389.00
                                                           [Address on File]

        Confidential Customer USD Transferee #991                                      6/7/2023 USD                     $44,561.30 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #991                                     5/19/2023 USD                      $2,636.70 Customer Disbursement
                                                                                         TOTAL                          $47,198.00
        Confidential Customer USD Transferee #992          [Address on File]          5/23/2023 USD                         $18.00 Customer Disbursement
                                                                                         TOTAL                              $18.00
        Confidential Customer USD Transferee #993          [Address on File]          6/16/2023 USD                      $1,270.85 Customer Disbursement
                                                                                         TOTAL                           $1,270.85
        Confidential Customer USD Transferee #994          [Address on File]          6/22/2023 USD                        $133.49 Customer Disbursement
        Confidential Customer USD Transferee #994          [Address on File]          6/21/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #994          [Address on File]          6/13/2023 USD                         $15.00 Customer Disbursement
                                                                                         TOTAL                            $168.49
        Confidential Customer USD Transferee #995          [Address on File]          6/21/2023 USD                      $1,318.15 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,318.15
        Confidential Customer USD Transferee #996          [Address on File]        6/20/2023 USD                        $652.50 Customer Disbursement
                                                                                       TOTAL                            $652.50
        Confidential Customer USD Transferee #997          [Address on File]         6/1/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #997          [Address on File]        5/16/2023 USD                        $500.00 Customer Disbursement
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #998          [Address on File]         6/6/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #998          [Address on File]        5/23/2023 USD                        $500.00 Customer Disbursement
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #999          [Address on File]         6/5/2023 USD                      $2,500.00 Customer Disbursement
                                                                                       TOTAL                           $2,500.00
        Confidential Customer USD Transferee #1000         [Address on File]         6/6/2023 USD                      $9,837.76 Customer Disbursement
                                                                                       TOTAL                           $9,837.76
        Confidential Customer USD Transferee #1001         [Address on File]         6/6/2023 USD                         $20.00 Customer Disbursement
                                                                                       TOTAL                              $20.00
        Confidential Customer USD Transferee #1002         [Address on File]         6/9/2023 USD                        $135.10 Customer Disbursement
                                                                                       TOTAL                            $135.10
        Confidential Customer USD Transferee #1003         [Address on File]        5/31/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #1003         [Address on File]        5/19/2023 USD                        $132.92 Customer Disbursement
        Confidential Customer USD Transferee #1003         [Address on File]        5/16/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                            $632.92
        Confidential Customer USD Transferee #1004         [Address on File]        6/21/2023 USD                        $825.96 Customer Disbursement
                                                                                       TOTAL                            $825.96
        Confidential Customer USD Transferee #1005         [Address on File]        6/21/2023 USD                      $8,309.39 Customer Disbursement
        Confidential Customer USD Transferee #1005         [Address on File]        6/14/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                           $8,409.39
        Confidential Customer USD Transferee #1006         [Address on File]        6/16/2023 USD                      $1,332.84 Customer Disbursement
        Confidential Customer USD Transferee #1006         [Address on File]        6/13/2023 USD                        $491.20 Customer Disbursement
        Confidential Customer USD Transferee #1006         [Address on File]        6/13/2023 USD                        $558.04 Customer Disbursement
                                                                                       TOTAL                           $2,382.08
        Confidential Customer USD Transferee #1007         [Address on File]        5/23/2023 USD                      $2,400.00 Customer Disbursement
                                                                                       TOTAL                           $2,400.00
        Confidential Customer USD Transferee #1008         [Address on File]        5/16/2023 USD                        $429.61 Customer Disbursement
                                                                                       TOTAL                            $429.61

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1009   [Address on File]        6/21/2023 USD                      $2,973.43 Customer Disbursement
                                                                                 TOTAL                           $2,973.43
                                                     [Address on File]
        Confidential Customer USD Transferee #1010                              6/16/2023 USD                      $3,185.00 Customer Disbursement
                                                                                   TOTAL                           $3,185.00
        Confidential Customer USD Transferee #1011   [Address on File]          5/16/2023 USD                      $3,179.00 Customer Disbursement
                                                                                   TOTAL                           $3,179.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1012                              6/21/2023 USD                          $5.41 Customer Disbursement
                                                                                   TOTAL                               $5.41
        Confidential Customer USD Transferee #1013   [Address on File]           6/6/2023 USD                        $820.00 Customer Disbursement
                                                                                   TOTAL                            $820.00
        Confidential Customer USD Transferee #1014   [Address on File]          6/22/2023 USD                      $3,044.48 Customer Disbursement
        Confidential Customer USD Transferee #1014   [Address on File]          6/21/2023 USD                        $125.00 Customer Disbursement
                                                                                   TOTAL                           $3,169.48
        Confidential Customer USD Transferee #1015   [Address on File]          6/12/2023 USD                        $247.68 Customer Disbursement
                                                                                   TOTAL                            $247.68
        Confidential Customer USD Transferee #1016   [Address on File]          5/16/2023 USD                        $386.00 Customer Disbursement
                                                                                   TOTAL                            $386.00
        Confidential Customer USD Transferee #1017   [Address on File]          5/23/2023 USD                        $496.02 Customer Disbursement
                                                                                   TOTAL                            $496.02
        Confidential Customer USD Transferee #1018   [Address on File]          5/17/2023 USD                      $1,615.49 Customer Disbursement
                                                                                   TOTAL                           $1,615.49
        Confidential Customer USD Transferee #1019   [Address on File]          5/16/2023 USD                        $495.00 Customer Disbursement
                                                                                   TOTAL                            $495.00
        Confidential Customer USD Transferee #1020   [Address on File]          5/26/2023 USD                         $21.85 Customer Disbursement
                                                                                   TOTAL                              $21.85
                                                     [Address on File]
        Confidential Customer USD Transferee #1021                              5/26/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #1022   [Address on File]          5/16/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1023   [Address on File]           6/6/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #1023   [Address on File]           6/5/2023 USD                        $200.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1023   [Address on File]        5/31/2023 USD                        $240.00 Customer Disbursement
        Confidential Customer USD Transferee #1023   [Address on File]        5/24/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #1023   [Address on File]        5/18/2023 USD                        $600.00 Customer Disbursement
        Confidential Customer USD Transferee #1023   [Address on File]        5/18/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #1023   [Address on File]        5/17/2023 USD                        $550.00 Customer Disbursement
        Confidential Customer USD Transferee #1023   [Address on File]        5/16/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                           $3,090.00
        Confidential Customer USD Transferee #1024   [Address on File]         6/6/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
        Confidential Customer USD Transferee #1025   [Address on File]        5/30/2023 USD                          $1.29 Customer Disbursement
                                                                                 TOTAL                               $1.29
        Confidential Customer USD Transferee #1026   [Address on File]        5/18/2023 USD                        $495.05 Customer Disbursement
                                                                                 TOTAL                            $495.05
        Confidential Customer USD Transferee #1027   [Address on File]         6/2/2023 USD                          $0.67 Customer Disbursement
        Confidential Customer USD Transferee #1027   [Address on File]        5/23/2023 USD                        $351.29 Customer Disbursement
                                                                                 TOTAL                            $351.96
        Confidential Customer USD Transferee #1028   [Address on File]        6/21/2023 USD                        $155.00 Customer Disbursement
                                                                                 TOTAL                            $155.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1029                              6/16/2023 USD                       $325.09 Customer Disbursement
                                                                                   TOTAL                           $325.09
        Confidential Customer USD Transferee #1030   [Address on File]          6/21/2023 USD                       $249.24 Customer Disbursement
        Confidential Customer USD Transferee #1030   [Address on File]          6/21/2023 USD                     $7,479.62 Customer Disbursement
        Confidential Customer USD Transferee #1030   [Address on File]          6/16/2023 USD                     $1,295.00 Customer Disbursement
        Confidential Customer USD Transferee #1030   [Address on File]          5/23/2023 USD                        $11.41 Customer Disbursement
                                                                                   TOTAL                          $9,035.27
        Confidential Customer USD Transferee #1031   [Address on File]          6/21/2023 USD                 $4,947,500.00 Customer Disbursement
        Confidential Customer USD Transferee #1031   [Address on File]          6/20/2023 USD                 $5,000,000.00 Customer Disbursement
                                                                                   TOTAL                      $9,947,500.00
        Confidential Customer USD Transferee #1032   [Address on File]           6/6/2023 USD                     $1,798.32 Customer Disbursement
        Confidential Customer USD Transferee #1032   [Address on File]          5/19/2023 USD                     $1,798.30 Customer Disbursement
                                                                                   TOTAL                          $3,596.62
        Confidential Customer USD Transferee #1033   [Address on File]          6/16/2023 USD                        $30.86 Customer Disbursement
                                                                                   TOTAL                             $30.86

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1034   [Address on File]        6/21/2023 USD                      $1,992.00 Customer Disbursement
        Confidential Customer USD Transferee #1034   [Address on File]        6/12/2023 USD                         $49.00 Customer Disbursement
        Confidential Customer USD Transferee #1034   [Address on File]        6/12/2023 USD                      $2,069.00 Customer Disbursement
        Confidential Customer USD Transferee #1034   [Address on File]         6/7/2023 USD                        $766.00 Customer Disbursement
        Confidential Customer USD Transferee #1034   [Address on File]         6/6/2023 USD                        $331.00 Customer Disbursement
        Confidential Customer USD Transferee #1034   [Address on File]         6/5/2023 USD                         $74.00 Customer Disbursement
                                                                                 TOTAL                           $5,281.00
        Confidential Customer USD Transferee #1035   [Address on File]        6/13/2023 USD                      $1,191.46 Customer Disbursement
                                                                                 TOTAL                           $1,191.46
                                                     [Address on File]
        Confidential Customer USD Transferee #1036                              5/31/2023 USD                         $17.56 Customer Disbursement
                                                                                   TOTAL                              $17.56
        Confidential Customer USD Transferee #1037   [Address on File]           6/5/2023 USD                         $62.50 Customer Disbursement
                                                                                   TOTAL                              $62.50
        Confidential Customer USD Transferee #1038   [Address on File]          5/24/2023 USD                     $11,194.07 Customer Disbursement
                                                                                   TOTAL                          $11,194.07
        Confidential Customer USD Transferee #1039   [Address on File]           6/8/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1039   [Address on File]           6/8/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #1039   [Address on File]          5/24/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1039   [Address on File]          5/24/2023 USD                        $439.92 Customer Disbursement
        Confidential Customer USD Transferee #1039   [Address on File]          5/16/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #1039   [Address on File]          5/16/2023 USD                         $35.00 Customer Disbursement
                                                                                   TOTAL                            $874.92
        Confidential Customer USD Transferee #1040   [Address on File]          6/21/2023 USD                        $371.51 Customer Disbursement
                                                                                   TOTAL                            $371.51
        Confidential Customer USD Transferee #1041   [Address on File]          6/21/2023 USD                         $49.12 Customer Disbursement
                                                                                   TOTAL                              $49.12
        Confidential Customer USD Transferee #1042   [Address on File]           6/2/2023 USD                          $9.10 Customer Disbursement
                                                                                   TOTAL                               $9.10
        Confidential Customer USD Transferee #1043   [Address on File]          5/24/2023 USD                      $2,505.28 Customer Disbursement
                                                                                   TOTAL                           $2,505.28
        Confidential Customer USD Transferee #1044   [Address on File]           6/2/2023 USD                        $700.00 Customer Disbursement
                                                                                   TOTAL                            $700.00
        Confidential Customer USD Transferee #1045   [Address on File]          5/30/2023 USD                      $2,972.71 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $2,972.71
        Confidential Customer USD Transferee #1046         [Address on File]        6/21/2023 USD                      $6,574.91 Customer Disbursement
        Confidential Customer USD Transferee #1046         [Address on File]        6/21/2023 USD                      $6,000.00 Customer Disbursement
                                                                                       TOTAL                         $12,574.91
                                                           [Address on File]
        Confidential Customer USD Transferee #1047                                    6/13/2023 USD                      $1,050.87 Customer Disbursement
                                                                                         TOTAL                           $1,050.87
        Confidential Customer USD Transferee #1048         [Address on File]          5/18/2023 USD                        $383.94 Customer Disbursement
                                                                                         TOTAL                            $383.94
        Confidential Customer USD Transferee #1049         [Address on File]           6/8/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1049         [Address on File]           6/6/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $40,000.00
        Confidential Customer USD Transferee #1050         [Address on File]           6/9/2023 USD                     $13,726.60 Customer Disbursement
        Confidential Customer USD Transferee #1050         [Address on File]          5/24/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                          $14,726.60
        Confidential Customer USD Transferee #1051         [Address on File]          5/25/2023 USD                        $180.00 Customer Disbursement
                                                                                         TOTAL                            $180.00
        Confidential Customer USD Transferee #1052         [Address on File]           6/1/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #1052         [Address on File]          5/23/2023 USD                          $0.87 Customer Disbursement
        Confidential Customer USD Transferee #1052         [Address on File]          5/18/2023 USD                         $60.03 Customer Disbursement
                                                                                         TOTAL                              $65.90
        Confidential Customer USD Transferee #1053         [Address on File]          5/31/2023 USD                         $16.11 Customer Disbursement
                                                                                         TOTAL                              $16.11
        Confidential Customer USD Transferee #1054         [Address on File]          6/16/2023 USD                      $1,157.90 Customer Disbursement
                                                                                         TOTAL                           $1,157.90
        Confidential Customer USD Transferee #1055         [Address on File]          5/25/2023 USD                      $2,931.00 Customer Disbursement
                                                                                         TOTAL                           $2,931.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1056                                    5/24/2023 USD                     $16,252.78 Customer Disbursement
                                                                                         TOTAL                          $16,252.78
        Confidential Customer USD Transferee #1057         [Address on File]          5/19/2023 USD                         $60.00 Customer Disbursement
                                                                                         TOTAL                              $60.00
        Confidential Customer USD Transferee #1058         [Address on File]          5/31/2023 USD                      $1,009.82 Customer Disbursement
        Confidential Customer USD Transferee #1058         [Address on File]          5/31/2023 USD                      $1,500.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1058   [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1058   [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1058   [Address on File]        5/17/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1058   [Address on File]        5/17/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1058   [Address on File]        5/16/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                         $14,509.82
                                                     [Address on File]
        Confidential Customer USD Transferee #1059                              6/21/2023 USD                         $65.03 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1059                              6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $265.03
        Confidential Customer USD Transferee #1060   [Address on File]           6/6/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #1060   [Address on File]          5/31/2023 USD                          $1.00 Customer Disbursement
                                                                                   TOTAL                              $81.00
        Confidential Customer USD Transferee #1061   [Address on File]          6/12/2023 USD                      $5,000.00 Customer Disbursement
                                                                                   TOTAL                           $5,000.00
        Confidential Customer USD Transferee #1062   [Address on File]           6/2/2023 USD                      $1,149.00 Customer Disbursement
                                                                                   TOTAL                           $1,149.00
        Confidential Customer USD Transferee #1063   [Address on File]           6/2/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $20.00
        Confidential Customer USD Transferee #1064   [Address on File]          6/13/2023 USD                     $10,125.20 Customer Disbursement
        Confidential Customer USD Transferee #1064   [Address on File]          6/12/2023 USD                        $350.00 Customer Disbursement
                                                                                   TOTAL                          $10,475.20
        Confidential Customer USD Transferee #1065   [Address on File]           6/8/2023 USD                        $415.17 Customer Disbursement
                                                                                   TOTAL                            $415.17
        Confidential Customer USD Transferee #1066   [Address on File]          5/30/2023 USD                         $25.00 Customer Disbursement
                                                                                   TOTAL                              $25.00
        Confidential Customer USD Transferee #1067   [Address on File]          6/16/2023 USD                      $9,839.85 Customer Disbursement
                                                                                   TOTAL                           $9,839.85
        Confidential Customer USD Transferee #1068   [Address on File]          5/25/2023 USD                         $40.00 Customer Disbursement
                                                                                   TOTAL                              $40.00
        Confidential Customer USD Transferee #1069   [Address on File]           6/7/2023 USD                        $317.10 Customer Disbursement
                                                                                   TOTAL                            $317.10
        Confidential Customer USD Transferee #1070   [Address on File]           6/2/2023 USD                        $100.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $100.00
        Confidential Customer USD Transferee #1071         [Address on File]         6/6/2023 USD                        $306.97 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]         6/5/2023 USD                        $872.12 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]         6/5/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]        5/23/2023 USD                      $2,928.03 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]        5/22/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]        5/22/2023 USD                      $2,550.00 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]        5/22/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]        5/22/2023 USD                        $953.64 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]        5/19/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]        5/19/2023 USD                      $1,978.00 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]        5/17/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]        5/16/2023 USD                        $407.15 Customer Disbursement
        Confidential Customer USD Transferee #1071         [Address on File]        5/16/2023 USD                        $407.77 Customer Disbursement
                                                                                       TOTAL                         $21,803.68
        Confidential Customer USD Transferee #1072         [Address on File]        6/21/2023 USD                      $2,497.70 Customer Disbursement
        Confidential Customer USD Transferee #1072         [Address on File]        6/20/2023 USD                      $1,005.01 Customer Disbursement
        Confidential Customer USD Transferee #1072         [Address on File]        6/16/2023 USD                         $39.00 Customer Disbursement
                                                                                       TOTAL                           $3,541.71
        Confidential Customer USD Transferee #1073         [Address on File]         6/6/2023 USD                          $0.32 Customer Disbursement
                                                                                       TOTAL                               $0.32
        Confidential Customer USD Transferee #1074         [Address on File]        5/31/2023 USD                         $24.00 Customer Disbursement
                                                                                       TOTAL                              $24.00
        Confidential Customer USD Transferee #1075         [Address on File]        5/31/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #1075         [Address on File]        5/24/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                            $450.00
        Confidential Customer USD Transferee #1076         [Address on File]        5/23/2023 USD                         $21.40 Customer Disbursement
                                                                                       TOTAL                              $21.40
                                                           [Address on File]
        Confidential Customer USD Transferee #1077                                    5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,000.00
        Confidential Customer USD Transferee #1078         [Address on File]           6/6/2023 USD                         $19.63 Customer Disbursement
        Confidential Customer USD Transferee #1078         [Address on File]          5/30/2023 USD                         $54.55 Customer Disbursement
                                                                                         TOTAL                              $74.18
        Confidential Customer USD Transferee #1079         [Address on File]           6/1/2023 USD                        $500.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1079   [Address on File]        5/17/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1080   [Address on File]        5/16/2023 USD                        $801.27 Customer Disbursement
                                                                                 TOTAL                            $801.27
        Confidential Customer USD Transferee #1081   [Address on File]        6/20/2023 USD                        $207.00 Customer Disbursement
                                                                                 TOTAL                            $207.00
        Confidential Customer USD Transferee #1082   [Address on File]         6/2/2023 USD                      $1,100.00 Customer Disbursement
                                                                                 TOTAL                           $1,100.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1083                              6/22/2023 USD                        $100.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1083                              6/21/2023 USD                        $100.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1083                              6/21/2023 USD                        $100.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1083                              6/20/2023 USD                        $100.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1083                              6/15/2023 USD                        $100.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1083                              6/14/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $600.00
        Confidential Customer USD Transferee #1084   [Address on File]          6/20/2023 USD                      $1,328.00 Customer Disbursement
        Confidential Customer USD Transferee #1084   [Address on File]          6/14/2023 USD                      $4,991.43 Customer Disbursement
        Confidential Customer USD Transferee #1084   [Address on File]          6/13/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1084   [Address on File]          6/12/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                          $11,419.43
                                                     [Address on File]
        Confidential Customer USD Transferee #1085                               6/6/2023 USD                        $246.09 Customer Disbursement
                                                                                   TOTAL                            $246.09
        Confidential Customer USD Transferee #1086   [Address on File]          5/16/2023 USD                         $30.00 Customer Disbursement
                                                                                   TOTAL                              $30.00
        Confidential Customer USD Transferee #1087   [Address on File]          6/21/2023 USD                      $4,359.95 Customer Disbursement
        Confidential Customer USD Transferee #1087   [Address on File]          6/21/2023 USD                         $64.00 Customer Disbursement
                                                                                   TOTAL                           $4,423.95
        Confidential Customer USD Transferee #1088   [Address on File]           6/1/2023 USD                      $2,000.00 Customer Disbursement
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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $2,000.00
        Confidential Customer USD Transferee #1089         [Address on File]         6/1/2023 USD                        $655.20 Customer Disbursement
                                                                                       TOTAL                            $655.20
        Confidential Customer USD Transferee #1090         [Address on File]        6/13/2023 USD                        $126.00 Customer Disbursement
                                                                                       TOTAL                            $126.00
        Confidential Customer USD Transferee #1091         [Address on File]        5/25/2023 USD                      $1,350.00 Customer Disbursement
                                                                                       TOTAL                           $1,350.00
        Confidential Customer USD Transferee #1092         [Address on File]        6/15/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #1092         [Address on File]        6/12/2023 USD                        $400.00 Customer Disbursement
                                                                                       TOTAL                            $700.00
        Confidential Customer USD Transferee #1093         [Address on File]        5/23/2023 USD                         $40.89 Customer Disbursement
                                                                                       TOTAL                              $40.89
                                                           [Address on File]
        Confidential Customer USD Transferee #1094                                    5/19/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1095         [Address on File]          5/31/2023 USD                          $6.80 Customer Disbursement
                                                                                         TOTAL                               $6.80
        Confidential Customer USD Transferee #1096         [Address on File]          6/21/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1096         [Address on File]           6/6/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1096         [Address on File]          5/25/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1096         [Address on File]          5/16/2023 USD                     $14,000.00 Customer Disbursement
                                                                                         TOTAL                          $74,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1097                                    6/20/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1097                                    6/20/2023 USD                   $413,427.41 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1097                                    6/13/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1097                                    5/31/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1097                                    5/31/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1097                                    5/31/2023 USD                     $20,000.00 Customer Disbursement


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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1097                                    5/30/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1097                                    5/23/2023 USD                    $20,000.00 Customer Disbursement
                                                                                         TOTAL                        $553,427.41
        Confidential Customer USD Transferee #1098         [Address on File]          5/23/2023 USD                     $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1098         [Address on File]          5/23/2023 USD                     $1,671.03 Customer Disbursement
        Confidential Customer USD Transferee #1098         [Address on File]          5/23/2023 USD                     $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1098         [Address on File]          5/23/2023 USD                     $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1098         [Address on File]          5/23/2023 USD                     $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1098         [Address on File]          5/23/2023 USD                     $3,000.00 Customer Disbursement
                                                                                         TOTAL                         $16,671.03
        Confidential Customer USD Transferee #1099         [Address on File]          5/23/2023 USD                         $0.04 Customer Disbursement
                                                                                         TOTAL                              $0.04
        Confidential Customer USD Transferee #1100         [Address on File]          6/20/2023 USD                       $534.00 Customer Disbursement
                                                                                         TOTAL                           $534.00
        Confidential Customer USD Transferee #1101         [Address on File]           6/2/2023 USD                       $351.96 Customer Disbursement
                                                                                         TOTAL                           $351.96
                                                           [Address on File]
        Confidential Customer USD Transferee #1102                                     6/2/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1102                                     6/2/2023 USD                     $79,873.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1102                                     6/2/2023 USD                        $121.00 Customer Disbursement
                                                                                         TOTAL                          $99,994.00
        Confidential Customer USD Transferee #1103         [Address on File]           6/9/2023 USD                         $85.00 Customer Disbursement
        Confidential Customer USD Transferee #1103         [Address on File]           6/6/2023 USD                        $335.00 Customer Disbursement
        Confidential Customer USD Transferee #1103         [Address on File]           6/1/2023 USD                        $270.97 Customer Disbursement
        Confidential Customer USD Transferee #1103         [Address on File]          5/31/2023 USD                        $465.00 Customer Disbursement
        Confidential Customer USD Transferee #1103         [Address on File]          5/23/2023 USD                        $178.77 Customer Disbursement
                                                                                         TOTAL                           $1,334.74
        Confidential Customer USD Transferee #1104         [Address on File]          6/21/2023 USD                        $457.55 Customer Disbursement
                                                                                         TOTAL                            $457.55
                                                           [Address on File]
        Confidential Customer USD Transferee #1105                                     6/6/2023 USD                             $7.94 Customer Disbursement
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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1105                                     6/5/2023 USD                             $3.45 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1105                                     6/2/2023 USD                         $48.33 Customer Disbursement
                                                                                         TOTAL                              $59.72
        Confidential Customer USD Transferee #1106         [Address on File]           6/1/2023 USD                      $1,814.17 Customer Disbursement
        Confidential Customer USD Transferee #1106         [Address on File]          5/16/2023 USD                      $1,814.17 Customer Disbursement
                                                                                         TOTAL                           $3,628.34
        Confidential Customer USD Transferee #1107         [Address on File]           6/9/2023 USD                        $570.00 Customer Disbursement
                                                                                         TOTAL                            $570.00
        Confidential Customer USD Transferee #1108         [Address on File]          6/22/2023 USD                         $26.00 Customer Disbursement
                                                                                         TOTAL                              $26.00
        Confidential Customer USD Transferee #1109         [Address on File]          5/17/2023 USD                        $360.00 Customer Disbursement
                                                                                         TOTAL                            $360.00
        Confidential Customer USD Transferee #1110         [Address on File]          6/12/2023 USD                        $638.09 Customer Disbursement
                                                                                         TOTAL                            $638.09
        Confidential Customer USD Transferee #1111         [Address on File]           6/8/2023 USD                         $25.00 Customer Disbursement
                                                                                         TOTAL                              $25.00
        Confidential Customer USD Transferee #1112         [Address on File]          6/14/2023 USD                     $13,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1112         [Address on File]          5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1112         [Address on File]          5/16/2023 USD                      $2,000.00 Customer Disbursement
                                                                                         TOTAL                          $18,000.00
        Confidential Customer USD Transferee #1113         [Address on File]          5/23/2023 USD                         $79.39 Customer Disbursement
        Confidential Customer USD Transferee #1113         [Address on File]          5/17/2023 USD                        $389.99 Customer Disbursement
                                                                                         TOTAL                            $469.38
        Confidential Customer USD Transferee #1114         [Address on File]          5/23/2023 USD                      $1,000.92 Customer Disbursement
                                                                                         TOTAL                           $1,000.92
        Confidential Customer USD Transferee #1115         [Address on File]          6/21/2023 USD                        $138.56 Customer Disbursement
                                                                                         TOTAL                            $138.56
        Confidential Customer USD Transferee #1116         [Address on File]          6/20/2023 USD                      $2,246.12 Customer Disbursement
                                                                                         TOTAL                           $2,246.12
        Confidential Customer USD Transferee #1117         [Address on File]           6/5/2023 USD                      $1,220.00 Customer Disbursement
                                                                                         TOTAL                           $1,220.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1118                                    6/22/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1118                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1118                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1118                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1118                                    6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1119         [Address on File]          5/23/2023 USD                         $77.10 Customer Disbursement
                                                                                         TOTAL                              $77.10
        Confidential Customer USD Transferee #1120         [Address on File]          6/13/2023 USD                     $11,620.71 Customer Disbursement
                                                                                         TOTAL                          $11,620.71
        Confidential Customer USD Transferee #1121         [Address on File]           6/8/2023 USD                      $3,202.90 Customer Disbursement
                                                                                         TOTAL                           $3,202.90
        Confidential Customer USD Transferee #1122         [Address on File]          5/18/2023 USD                         $61.22 Customer Disbursement
                                                                                         TOTAL                              $61.22
        Confidential Customer USD Transferee #1123         [Address on File]          6/13/2023 USD                        $408.00 Customer Disbursement
                                                                                         TOTAL                            $408.00
        Confidential Customer USD Transferee #1124         [Address on File]          6/13/2023 USD                        $679.79 Customer Disbursement
                                                                                         TOTAL                            $679.79
                                                           [Address on File]
        Confidential Customer USD Transferee #1125                                    6/12/2023 USD                        $217.18 Customer Disbursement
                                                                                         TOTAL                            $217.18
        Confidential Customer USD Transferee #1126         [Address on File]          5/23/2023 USD                      $1,720.00 Customer Disbursement
                                                                                         TOTAL                           $1,720.00
        Confidential Customer USD Transferee #1127         [Address on File]          6/21/2023 USD                         $10.51 Customer Disbursement
                                                                                         TOTAL                              $10.51
        Confidential Customer USD Transferee #1128         [Address on File]          5/24/2023 USD                        $337.00 Customer Disbursement
        Confidential Customer USD Transferee #1128         [Address on File]          5/22/2023 USD                        $218.05 Customer Disbursement
                                                                                         TOTAL                            $555.05
        Confidential Customer USD Transferee #1129         [Address on File]           6/7/2023 USD                         $24.78 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                             $24.78
        Confidential Customer USD Transferee #1130         [Address on File]        6/16/2023 USD                        $35.00 Customer Disbursement
                                                                                       TOTAL                             $35.00
        Confidential Customer USD Transferee #1131         [Address on File]        6/14/2023 USD                       $246.48 Customer Disbursement
                                                                                       TOTAL                            $246.48
        Confidential Customer USD Transferee #1132         [Address on File]         6/2/2023 USD                       $499.15 Customer Disbursement
        Confidential Customer USD Transferee #1132         [Address on File]        5/18/2023 USD                       $308.43 Customer Disbursement
                                                                                       TOTAL                            $807.58
                                                           [Address on File]
        Confidential Customer USD Transferee #1133                                    5/31/2023 USD                         $42.95 Customer Disbursement
                                                                                         TOTAL                              $42.95
        Confidential Customer USD Transferee #1134         [Address on File]          6/13/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #1134         [Address on File]          6/12/2023 USD                        $250.00 Customer Disbursement
                                                                                         TOTAL                            $500.00
        Confidential Customer USD Transferee #1135         [Address on File]          6/15/2023 USD                      $5,302.66 Customer Disbursement
                                                                                         TOTAL                           $5,302.66
        Confidential Customer USD Transferee #1136         [Address on File]          6/16/2023 USD                         $25.18 Customer Disbursement
                                                                                         TOTAL                              $25.18
        Confidential Customer USD Transferee #1137         [Address on File]           6/1/2023 USD                          $7.00 Customer Disbursement
        Confidential Customer USD Transferee #1137         [Address on File]          5/26/2023 USD                         $43.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #1138         [Address on File]           6/5/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #1138         [Address on File]           6/2/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                              $20.00
        Confidential Customer USD Transferee #1139         [Address on File]           6/6/2023 USD                      $1,341.85 Customer Disbursement
                                                                                         TOTAL                           $1,341.85
        Confidential Customer USD Transferee #1140         [Address on File]          5/16/2023 USD                         $22.64 Customer Disbursement
                                                                                         TOTAL                              $22.64
                                                           [Address on File]
        Confidential Customer USD Transferee #1141                                    6/21/2023 USD                         $37.00 Customer Disbursement
                                                                                         TOTAL                              $37.00
        Confidential Customer USD Transferee #1142         [Address on File]          5/19/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #1143         [Address on File]          5/23/2023 USD                         $15.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                              $15.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1144                                    5/31/2023 USD                         $18.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1144                                    5/24/2023 USD                         $32.47 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1144                                    5/24/2023 USD                      $4,452.21 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1144                                    5/23/2023 USD                      $5,626.03 Customer Disbursement
                                                                                         TOTAL                          $10,128.71
        Confidential Customer USD Transferee #1145         [Address on File]           6/8/2023 USD                      $1,730.40 Customer Disbursement
                                                                                         TOTAL                           $1,730.40
        Confidential Customer USD Transferee #1146         [Address on File]          5/19/2023 USD                        $420.21 Customer Disbursement
                                                                                         TOTAL                            $420.21
        Confidential Customer USD Transferee #1147         [Address on File]          6/16/2023 USD                      $1,625.03 Customer Disbursement
        Confidential Customer USD Transferee #1147         [Address on File]          5/25/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1147         [Address on File]          5/31/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                          $11,625.03
        Confidential Customer USD Transferee #1148         [Address on File]           6/9/2023 USD                        $432.83 Customer Disbursement
                                                                                         TOTAL                            $432.83
        Confidential Customer USD Transferee #1149         [Address on File]          6/20/2023 USD                        $257.05 Customer Disbursement
        Confidential Customer USD Transferee #1149         [Address on File]          6/14/2023 USD                        $173.29 Customer Disbursement
        Confidential Customer USD Transferee #1149         [Address on File]          6/13/2023 USD                         $66.50 Customer Disbursement
                                                                                         TOTAL                            $496.84
        Confidential Customer USD Transferee #1150         [Address on File]          5/18/2023 USD                        $301.97 Customer Disbursement
                                                                                         TOTAL                            $301.97
        Confidential Customer USD Transferee #1151         [Address on File]           6/6/2023 USD                      $3,817.49 Customer Disbursement
                                                                                         TOTAL                           $3,817.49
        Confidential Customer USD Transferee #1152         [Address on File]          6/20/2023 USD                        $749.00 Customer Disbursement
        Confidential Customer USD Transferee #1152         [Address on File]          6/20/2023 USD                        $108.53 Customer Disbursement
        Confidential Customer USD Transferee #1152         [Address on File]          6/20/2023 USD                         $26.00 Customer Disbursement
        Confidential Customer USD Transferee #1152         [Address on File]          6/20/2023 USD                      $7,889.79 Customer Disbursement
                                                                                         TOTAL                           $8,773.32
        Confidential Customer USD Transferee #1153         [Address on File]          6/20/2023 USD                      $3,379.79 Customer Disbursement
        Confidential Customer USD Transferee #1153         [Address on File]          6/15/2023 USD                        $400.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1153   [Address on File]        6/13/2023 USD                        $130.00 Customer Disbursement
                                                                                 TOTAL                           $3,909.79
        Confidential Customer USD Transferee #1154   [Address on File]        6/21/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
        Confidential Customer USD Transferee #1155   [Address on File]        6/21/2023 USD                         $35.00 Customer Disbursement
                                                                                 TOTAL                              $35.00
        Confidential Customer USD Transferee #1156   [Address on File]         6/5/2023 USD                        $205.87 Customer Disbursement
                                                                                 TOTAL                            $205.87
        Confidential Customer USD Transferee #1157   [Address on File]        5/22/2023 USD                         $70.81 Customer Disbursement
                                                                                 TOTAL                              $70.81
        Confidential Customer USD Transferee #1158   [Address on File]         6/2/2023 USD                        $145.22 Customer Disbursement
                                                                                 TOTAL                            $145.22
        Confidential Customer USD Transferee #1159   [Address on File]        6/16/2023 USD                        $532.51 Customer Disbursement
                                                                                 TOTAL                            $532.51
        Confidential Customer USD Transferee #1160   [Address on File]        5/31/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #1160   [Address on File]        5/31/2023 USD                        $275.00 Customer Disbursement
        Confidential Customer USD Transferee #1160   [Address on File]        5/19/2023 USD                        $114.00 Customer Disbursement
                                                                                 TOTAL                            $394.00
        Confidential Customer USD Transferee #1161   [Address on File]         6/6/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #1161   [Address on File]         6/6/2023 USD                      $4,350.45 Customer Disbursement
        Confidential Customer USD Transferee #1161   [Address on File]         6/6/2023 USD                         $24.00 Customer Disbursement
        Confidential Customer USD Transferee #1161   [Address on File]         6/6/2023 USD                         $87.23 Customer Disbursement
                                                                                 TOTAL                           $4,476.68
        Confidential Customer USD Transferee #1162   [Address on File]        5/24/2023 USD                         $40.65 Customer Disbursement
                                                                                 TOTAL                              $40.65
                                                     [Address on File]
        Confidential Customer USD Transferee #1163                              5/17/2023 USD                         $25.00 Customer Disbursement
                                                                                   TOTAL                              $25.00
        Confidential Customer USD Transferee #1164   [Address on File]          6/21/2023 USD                        $272.10 Customer Disbursement
                                                                                   TOTAL                             $272.10
                                                     [Address on File]
        Confidential Customer USD Transferee #1165                              6/21/2023 USD                             $5.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1165                              6/21/2023 USD                         $25.97 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                              $30.97
                                                           [Address on File]
        Confidential Customer USD Transferee #1166                                    6/14/2023 USD                         $40.00 Customer Disbursement
                                                                                         TOTAL                              $40.00
        Confidential Customer USD Transferee #1167         [Address on File]          5/31/2023 USD                        $837.94 Customer Disbursement
                                                                                         TOTAL                             $837.94
        Confidential Customer USD Transferee #1168         [Address on File]           6/7/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #1168         [Address on File]          5/19/2023 USD                         $17.00 Customer Disbursement
                                                                                         TOTAL                              $27.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1169                                     6/9/2023 USD                        $605.00 Customer Disbursement
                                                                                        TOTAL                              $605.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1170                                    6/20/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #1171         [Address on File]          6/21/2023 USD                      $1,137.67 Customer Disbursement
        Confidential Customer USD Transferee #1171         [Address on File]          6/21/2023 USD                      $1,541.00 Customer Disbursement
        Confidential Customer USD Transferee #1171         [Address on File]          6/20/2023 USD                         $69.00 Customer Disbursement
        Confidential Customer USD Transferee #1171         [Address on File]          5/25/2023 USD                      $2,390.00 Customer Disbursement
                                                                                         TOTAL                           $5,137.67
        Confidential Customer USD Transferee #1172         [Address on File]          6/15/2023 USD                      $1,980.66 Customer Disbursement
                                                                                         TOTAL                           $1,980.66
        Confidential Customer USD Transferee #1173         [Address on File]          6/20/2023 USD                        $114.00 Customer Disbursement
        Confidential Customer USD Transferee #1173         [Address on File]          6/20/2023 USD                        $320.89 Customer Disbursement
                                                                                         TOTAL                            $434.89
        Confidential Customer USD Transferee #1174         [Address on File]          6/12/2023 USD                      $2,558.76 Customer Disbursement
                                                                                         TOTAL                           $2,558.76
        Confidential Customer USD Transferee #1175         [Address on File]          5/23/2023 USD                         $29.94 Customer Disbursement
                                                                                         TOTAL                              $29.94
        Confidential Customer USD Transferee #1176         [Address on File]           6/6/2023 USD                         $19.17 Customer Disbursement
                                                                                         TOTAL                              $19.17
        Confidential Customer USD Transferee #1177         [Address on File]          5/23/2023 USD                        $126.08 Customer Disbursement
                                                                                         TOTAL                            $126.08
        Confidential Customer USD Transferee #1178         [Address on File]           6/5/2023 USD                        $250.00 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                            $250.00
        Confidential Customer USD Transferee #1179         [Address on File]        5/30/2023 USD                        $75.00 Customer Disbursement
        Confidential Customer USD Transferee #1179         [Address on File]        5/24/2023 USD                        $66.00 Customer Disbursement
        Confidential Customer USD Transferee #1179         [Address on File]        5/24/2023 USD                        $38.01 Customer Disbursement
                                                                                       TOTAL                            $179.01
                                                           [Address on File]
        Confidential Customer USD Transferee #1180                                    5/24/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1181         [Address on File]          6/13/2023 USD                      $8,640.61 Customer Disbursement
                                                                                         TOTAL                           $8,640.61
        Confidential Customer USD Transferee #1182         [Address on File]          5/19/2023 USD                        $171.00 Customer Disbursement
        Confidential Customer USD Transferee #1182         [Address on File]          5/19/2023 USD                      $2,218.72 Customer Disbursement
                                                                                         TOTAL                           $2,389.72
        Confidential Customer USD Transferee #1183         [Address on File]          5/17/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #1184         [Address on File]          5/17/2023 USD                      $1,601.00 Customer Disbursement
                                                                                         TOTAL                           $1,601.00
        Confidential Customer USD Transferee #1185         [Address on File]          6/21/2023 USD                      $2,201.39 Customer Disbursement
                                                                                         TOTAL                           $2,201.39
        Confidential Customer USD Transferee #1186         [Address on File]          5/30/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1187         [Address on File]          6/21/2023 USD                      $8,000.00 Customer Disbursement
                                                                                         TOTAL                           $8,000.00
        Confidential Customer USD Transferee #1188         [Address on File]          5/24/2023 USD                      $1,911.97 Customer Disbursement
        Confidential Customer USD Transferee #1188         [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $4,911.97
        Confidential Customer USD Transferee #1189         [Address on File]           6/2/2023 USD                        $214.90 Customer Disbursement
                                                                                         TOTAL                            $214.90
        Confidential Customer USD Transferee #1190         [Address on File]          5/31/2023 USD                        $283.73 Customer Disbursement
        Confidential Customer USD Transferee #1190         [Address on File]          5/18/2023 USD                        $370.66 Customer Disbursement
                                                                                         TOTAL                            $654.39
        Confidential Customer USD Transferee #1191         [Address on File]          5/23/2023 USD                         $25.00 Customer Disbursement
                                                                                         TOTAL                              $25.00
        Confidential Customer USD Transferee #1192         [Address on File]           6/7/2023 USD                         $36.42 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1192   [Address on File]         6/7/2023 USD                        $303.59 Customer Disbursement
        Confidential Customer USD Transferee #1192   [Address on File]        5/31/2023 USD                        $191.82 Customer Disbursement
        Confidential Customer USD Transferee #1192   [Address on File]        5/31/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1192   [Address on File]        5/24/2023 USD                         $24.19 Customer Disbursement
        Confidential Customer USD Transferee #1192   [Address on File]        5/24/2023 USD                        $310.21 Customer Disbursement
        Confidential Customer USD Transferee #1192   [Address on File]        5/17/2023 USD                        $165.93 Customer Disbursement
        Confidential Customer USD Transferee #1192   [Address on File]        5/17/2023 USD                         $29.28 Customer Disbursement
                                                                                 TOTAL                           $1,111.44
        Confidential Customer USD Transferee #1193   [Address on File]         6/9/2023 USD                      $1,104.67 Customer Disbursement
                                                                                 TOTAL                           $1,104.67
        Confidential Customer USD Transferee #1194   [Address on File]        6/21/2023 USD                      $1,937.28 Customer Disbursement
        Confidential Customer USD Transferee #1194   [Address on File]         6/8/2023 USD                      $1,014.47 Customer Disbursement
        Confidential Customer USD Transferee #1194   [Address on File]         6/6/2023 USD                        $696.95 Customer Disbursement
        Confidential Customer USD Transferee #1194   [Address on File]        5/25/2023 USD                      $1,246.73 Customer Disbursement
                                                                                 TOTAL                           $4,895.43
        Confidential Customer USD Transferee #1195   [Address on File]        5/23/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                               $5.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1196                              5/30/2023 USD                        $186.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1196                              5/16/2023 USD                        $450.00 Customer Disbursement
                                                                                   TOTAL                             $636.00
        Confidential Customer USD Transferee #1197   [Address on File]          5/31/2023 USD                        $338.49 Customer Disbursement
        Confidential Customer USD Transferee #1197   [Address on File]          5/18/2023 USD                        $330.97 Customer Disbursement
                                                                                   TOTAL                             $669.46
        Confidential Customer USD Transferee #1198   [Address on File]          5/19/2023 USD                        $251.92 Customer Disbursement
                                                                                   TOTAL                             $251.92
                                                     [Address on File]
        Confidential Customer USD Transferee #1199                              6/20/2023 USD                         $77.11 Customer Disbursement
                                                                                   TOTAL                              $77.11
        Confidential Customer USD Transferee #1200   [Address on File]          6/12/2023 USD                      $3,500.00 Customer Disbursement
        Confidential Customer USD Transferee #1200   [Address on File]          5/18/2023 USD                      $5,000.00 Customer Disbursement
                                                                                   TOTAL                           $8,500.00
        Confidential Customer USD Transferee #1201   [Address on File]           6/1/2023 USD                      $2,204.20 Customer Disbursement
                                                                                   TOTAL                           $2,204.20
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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #1202   [Address on File]         6/6/2023 USD                       $170.61 Customer Disbursement
                                                                                TOTAL                             $170.61
                                                     [Address on File]
        Confidential Customer USD Transferee #1203                              6/21/2023 USD                         $33.56 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1203                              6/21/2023 USD                         $49.99 Customer Disbursement
                                                                                   TOTAL                              $83.55
        Confidential Customer USD Transferee #1204   [Address on File]          6/21/2023 USD                         $15.00 Customer Disbursement
                                                                                   TOTAL                              $15.00
        Confidential Customer USD Transferee #1205   [Address on File]           6/6/2023 USD                        $301.99 Customer Disbursement
                                                                                   TOTAL                            $301.99
        Confidential Customer USD Transferee #1206   [Address on File]          6/21/2023 USD                        $292.60 Customer Disbursement
                                                                                   TOTAL                            $292.60
        Confidential Customer USD Transferee #1207   [Address on File]          5/17/2023 USD                        $350.00 Customer Disbursement
                                                                                   TOTAL                            $350.00
        Confidential Customer USD Transferee #1208   [Address on File]          6/16/2023 USD                      $1,646.13 Customer Disbursement
                                                                                   TOTAL                           $1,646.13
                                                     [Address on File]
        Confidential Customer USD Transferee #1209                              6/13/2023 USD                      $1,174.99 Customer Disbursement
                                                                                   TOTAL                           $1,174.99
        Confidential Customer USD Transferee #1210   [Address on File]          5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
        Confidential Customer USD Transferee #1211   [Address on File]          5/25/2023 USD                     $11,176.89 Customer Disbursement
        Confidential Customer USD Transferee #1211   [Address on File]          5/24/2023 USD                     $20,000.00 Customer Disbursement
                                                                                   TOTAL                          $31,176.89
        Confidential Customer USD Transferee #1212   [Address on File]          6/20/2023 USD                        $280.14 Customer Disbursement
                                                                                   TOTAL                            $280.14
        Confidential Customer USD Transferee #1213   [Address on File]          6/16/2023 USD                      $9,995.00 Customer Disbursement
                                                                                   TOTAL                           $9,995.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1214                              5/23/2023 USD                         $69.00 Customer Disbursement
                                                                                   TOTAL                              $69.00
        Confidential Customer USD Transferee #1215   [Address on File]          6/14/2023 USD                        $107.00 Customer Disbursement
        Confidential Customer USD Transferee #1215   [Address on File]          5/17/2023 USD                        $600.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $707.00
        Confidential Customer USD Transferee #1216         [Address on File]        6/21/2023 USD                      $2,542.17 Customer Disbursement
                                                                                       TOTAL                           $2,542.17
        Confidential Customer USD Transferee #1217         [Address on File]        6/13/2023 USD                        $263.84 Customer Disbursement
                                                                                       TOTAL                            $263.84
        Confidential Customer USD Transferee #1218         [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1218         [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $6,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1219                                    6/21/2023 USD                        $11.00 Customer Disbursement
                                                                                         TOTAL                             $11.00
        Confidential Customer USD Transferee #1220         [Address on File]          5/22/2023 USD                      $180.00 Investment Refund
                                                                                         TOTAL                           $180.00
        Confidential Customer USD Transferee #1221         [Address on File]          5/31/2023 USD                       $100.89 Customer Disbursement
        Confidential Customer USD Transferee #1221         [Address on File]          5/23/2023 USD                        $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1221         [Address on File]          5/16/2023 USD                        $25.00 Customer Disbursement
                                                                                         TOTAL                           $175.89
        Confidential Customer USD Transferee #1222         [Address on File]          5/31/2023 USD                   $151,806.31 Customer Disbursement
        Confidential Customer USD Transferee #1222         [Address on File]          5/24/2023 USD                    $23,041.30 Customer Disbursement
        Confidential Customer USD Transferee #1222         [Address on File]          5/23/2023 USD                    $27,102.77 Customer Disbursement
        Confidential Customer USD Transferee #1222         [Address on File]          5/16/2023 USD                    $13,037.21 Customer Disbursement
                                                                                         TOTAL                        $214,987.59
        Confidential Customer USD Transferee #1223         [Address on File]          6/13/2023 USD                    $19,594.04 Customer Disbursement
        Confidential Customer USD Transferee #1223         [Address on File]          5/23/2023 USD                    $46,136.37 Customer Disbursement
        Confidential Customer USD Transferee #1223         [Address on File]          5/18/2023 USD                    $62,456.90 Customer Disbursement
        Confidential Customer USD Transferee #1223         [Address on File]          5/16/2023 USD                    $21,758.07 Customer Disbursement
                                                                                         TOTAL                        $149,945.38
        Confidential Customer USD Transferee #1224         [Address on File]          6/13/2023 USD                    $37,757.74 Customer Disbursement
        Confidential Customer USD Transferee #1224         [Address on File]          6/12/2023 USD                    $27,549.87 Customer Disbursement
        Confidential Customer USD Transferee #1224         [Address on File]          6/12/2023 USD                    $24,498.56 Customer Disbursement
        Confidential Customer USD Transferee #1224         [Address on File]          6/12/2023 USD                     $3,773.46 Customer Disbursement
        Confidential Customer USD Transferee #1224         [Address on File]           6/9/2023 USD                   $275,062.28 Customer Disbursement
        Confidential Customer USD Transferee #1224         [Address on File]          5/31/2023 USD                    $23,590.14 Customer Disbursement
        Confidential Customer USD Transferee #1224         [Address on File]          5/26/2023 USD                    $36,684.70 Customer Disbursement
        Confidential Customer USD Transferee #1224         [Address on File]          5/25/2023 USD                    $38,603.84 Customer Disbursement
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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #1224   [Address on File]        5/23/2023 USD                    $24,055.57 Customer Disbursement
        Confidential Customer USD Transferee #1224   [Address on File]        5/22/2023 USD                    $34,478.24 Customer Disbursement
        Confidential Customer USD Transferee #1224   [Address on File]        5/19/2023 USD                    $47,636.41 Customer Disbursement
                                                                                 TOTAL                        $573,690.81
                                                     [Address on File]
        Confidential Customer USD Transferee #1225                              6/21/2023 USD                     $64,371.60 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1225                              6/15/2023 USD                     $21,531.76 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1225                              6/13/2023 USD                     $10,294.70 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1225                               6/1/2023 USD                     $59,699.05 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1225                              5/30/2023 USD                   $274,487.64 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1225                              5/18/2023 USD                   $135,379.61 Customer Disbursement
                                                                                   TOTAL                        $565,764.36
                                                     [Address on File]
        Confidential Customer USD Transferee #1226                              6/20/2023 USD                     $48,264.64 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1226                               6/5/2023 USD                    $92,136.43 Customer Disbursement
                                                                                  TOTAL                         $140,401.07
                                                     [Address on File]
        Confidential Customer USD Transferee #1227                              6/21/2023 USD                   $159,581.03 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1227                              6/13/2023 USD                     $54,933.88 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1227                               6/2/2023 USD                   $271,585.30 Customer Disbursement
                                                                                   TOTAL                        $486,100.21
        Confidential Customer USD Transferee #1228   [Address on File]          6/16/2023 USD                   $241,438.93 Customer Disbursement
        Confidential Customer USD Transferee #1228   [Address on File]          6/14/2023 USD                    $58,579.35 Customer Disbursement
        Confidential Customer USD Transferee #1228   [Address on File]          6/13/2023 USD                   $180,382.84 Customer Disbursement
                                                                                   TOTAL                        $480,401.12
                                                     [Address on File]
        Confidential Customer USD Transferee #1229                              5/19/2023 USD                      $1,000.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1230         [Address on File]         6/1/2023 USD                      $2,248.09 Customer Disbursement
        Confidential Customer USD Transferee #1230         [Address on File]        5/26/2023 USD                      $2,288.09 Customer Disbursement
                                                                                       TOTAL                           $4,536.18
        Confidential Customer USD Transferee #1231         [Address on File]        6/12/2023 USD                      $4,074.27 Customer Disbursement
                                                                                       TOTAL                           $4,074.27
        Confidential Customer USD Transferee #1232         [Address on File]        6/21/2023 USD                    $16,362.00 Customer Disbursement
        Confidential Customer USD Transferee #1232         [Address on File]        6/21/2023 USD                      $1,738.00 Customer Disbursement
        Confidential Customer USD Transferee #1232         [Address on File]        6/20/2023 USD                      $1,900.00 Customer Disbursement
                                                                                       TOTAL                         $20,000.00
        Confidential Customer USD Transferee #1233         [Address on File]        6/22/2023 USD                    $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1233         [Address on File]        6/21/2023 USD                    $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1233         [Address on File]         6/7/2023 USD                    $17,200.00 Customer Disbursement
        Confidential Customer USD Transferee #1233         [Address on File]         6/6/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1233         [Address on File]        5/24/2023 USD                      $7,500.00 Customer Disbursement
                                                                                       TOTAL                         $64,700.00
        Confidential Customer USD Transferee #1234         [Address on File]        5/30/2023 USD                      $1,635.33 Customer Disbursement
                                                                                       TOTAL                           $1,635.33
        Confidential Customer USD Transferee #1235         [Address on File]        5/23/2023 USD                      $1,014.66 Customer Disbursement
                                                                                       TOTAL                           $1,014.66
        Confidential Customer USD Transferee #1236         [Address on File]         6/6/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #1236         [Address on File]        5/25/2023 USD                        $500.00 Customer Disbursement
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1237         [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
        Confidential Customer USD Transferee #1238         [Address on File]         6/8/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $25.00
        Confidential Customer USD Transferee #1239         [Address on File]        6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                       TOTAL                              $15.00
        Confidential Customer USD Transferee #1240         [Address on File]        5/26/2023 USD                          $5.00 Customer Disbursement
                                                                                       TOTAL                               $5.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1241                                    5/30/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1242   [Address on File]        6/12/2023 USD                          $0.47 Customer Disbursement
                                                                                 TOTAL                               $0.47
        Confidential Customer USD Transferee #1243   [Address on File]        6/16/2023 USD                         $53.88 Customer Disbursement
                                                                                 TOTAL                              $53.88
        Confidential Customer USD Transferee #1244   [Address on File]        6/21/2023 USD                      $1,500.00 Customer Disbursement
                                                                                 TOTAL                           $1,500.00
        Confidential Customer USD Transferee #1245   [Address on File]         6/5/2023 USD                      $5,619.37 Customer Disbursement
                                                                                 TOTAL                           $5,619.37
        Confidential Customer USD Transferee #1246   [Address on File]        5/23/2023 USD                          $5.10 Customer Disbursement
                                                                                 TOTAL                               $5.10
        Confidential Customer USD Transferee #1247   [Address on File]        6/12/2023 USD                      $1,099.00 Customer Disbursement
                                                                                 TOTAL                           $1,099.00
        Confidential Customer USD Transferee #1248   [Address on File]         6/7/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #1248   [Address on File]        5/25/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #1248   [Address on File]        5/23/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #1248   [Address on File]        5/23/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #1248   [Address on File]        5/22/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #1248   [Address on File]        5/18/2023 USD                        $200.30 Customer Disbursement
        Confidential Customer USD Transferee #1248   [Address on File]        5/16/2023 USD                        $700.00 Customer Disbursement
                                                                                 TOTAL                           $2,300.30
        Confidential Customer USD Transferee #1249   [Address on File]        5/23/2023 USD                          $2.63 Customer Disbursement
                                                                                 TOTAL                               $2.63
        Confidential Customer USD Transferee #1250   [Address on File]         6/6/2023 USD                          $2.23 Customer Disbursement
                                                                                 TOTAL                               $2.23
        Confidential Customer USD Transferee #1251   [Address on File]        6/20/2023 USD                        $346.23 Customer Disbursement
                                                                                 TOTAL                            $346.23
        Confidential Customer USD Transferee #1252   [Address on File]         6/5/2023 USD                        $600.00 Customer Disbursement
        Confidential Customer USD Transferee #1252   [Address on File]        5/22/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                           $1,100.00
        Confidential Customer USD Transferee #1253   [Address on File]        6/20/2023 USD                      $1,809.91 Customer Disbursement
                                                                                 TOTAL                           $1,809.91
        Confidential Customer USD Transferee #1254   [Address on File]         6/6/2023 USD                      $2,962.21 Customer Disbursement
                                                                                 TOTAL                           $2,962.21


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1255                                    5/31/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #1256         [Address on File]          5/26/2023 USD                          $8.91 Customer Disbursement
        Confidential Customer USD Transferee #1256         [Address on File]          5/17/2023 USD                        $114.52 Customer Disbursement
                                                                                         TOTAL                            $123.43
        Confidential Customer USD Transferee #1257         [Address on File]          5/26/2023 USD                        $406.81 Customer Disbursement
                                                                                         TOTAL                            $406.81
        Confidential Customer USD Transferee #1258         [Address on File]          6/20/2023 USD                        $616.04 Customer Disbursement
                                                                                         TOTAL                            $616.04
        Confidential Customer USD Transferee #1259         [Address on File]           6/1/2023 USD                        $701.58 Customer Disbursement
                                                                                         TOTAL                            $701.58
        Confidential Customer USD Transferee #1260         [Address on File]          5/16/2023 USD                        $733.00 Customer Disbursement
                                                                                         TOTAL                            $733.00
        Confidential Customer USD Transferee #1261         [Address on File]          5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1261         [Address on File]          5/30/2023 USD                      $1,253.88 Customer Disbursement
                                                                                         TOTAL                           $4,253.88
        Confidential Customer USD Transferee #1262         [Address on File]           6/5/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1262         [Address on File]          5/16/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $2,000.00
        Confidential Customer USD Transferee #1263         [Address on File]          5/16/2023 USD                        $106.00 Customer Disbursement
        Confidential Customer USD Transferee #1263         [Address on File]          5/16/2023 USD                      $7,331.00 Customer Disbursement
                                                                                         TOTAL                           $7,437.00
        Confidential Customer USD Transferee #1264         [Address on File]          5/26/2023 USD                        $511.52 Customer Disbursement
                                                                                         TOTAL                            $511.52
        Confidential Customer USD Transferee #1265         [Address on File]          6/20/2023 USD                         $91.00 Customer Disbursement
                                                                                         TOTAL                              $91.00
        Confidential Customer USD Transferee #1266         [Address on File]          6/16/2023 USD                         $31.00 Customer Disbursement
                                                                                         TOTAL                              $31.00
        Confidential Customer USD Transferee #1267         [Address on File]           6/7/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #1267         [Address on File]           6/7/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1267         [Address on File]           6/6/2023 USD                      $2,200.00 Customer Disbursement
        Confidential Customer USD Transferee #1267         [Address on File]           6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1267         [Address on File]           6/2/2023 USD                        $443.20 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1267   [Address on File]        5/30/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #1267   [Address on File]        5/30/2023 USD                          $8.47 Customer Disbursement
        Confidential Customer USD Transferee #1267   [Address on File]        5/30/2023 USD                      $2,500.00 Customer Disbursement
        Confidential Customer USD Transferee #1267   [Address on File]        5/26/2023 USD                        $550.00 Customer Disbursement
        Confidential Customer USD Transferee #1267   [Address on File]        5/25/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #1267   [Address on File]        5/24/2023 USD                        $359.00 Customer Disbursement
                                                                                 TOTAL                         $13,070.67
        Confidential Customer USD Transferee #1268   [Address on File]        5/19/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #1268   [Address on File]        5/16/2023 USD                      $1,461.03 Customer Disbursement
                                                                                 TOTAL                           $2,961.03
        Confidential Customer USD Transferee #1269   [Address on File]        5/31/2023 USD                        $133.00 Customer Disbursement
                                                                                 TOTAL                            $133.00
        Confidential Customer USD Transferee #1270   [Address on File]        6/20/2023 USD                         $29.24 Customer Disbursement
                                                                                 TOTAL                              $29.24
        Confidential Customer USD Transferee #1271   [Address on File]        6/21/2023 USD                      $4,000.00 Customer Disbursement
                                                                                 TOTAL                           $4,000.00
        Confidential Customer USD Transferee #1272   [Address on File]        5/23/2023 USD                      $3,269.58 Customer Disbursement
                                                                                 TOTAL                           $3,269.58
                                                     [Address on File]
        Confidential Customer USD Transferee #1273                              5/16/2023 USD                      $4,996.40 Customer Disbursement
                                                                                   TOTAL                           $4,996.40
        Confidential Customer USD Transferee #1274   [Address on File]          6/13/2023 USD                         $35.78 Customer Disbursement
                                                                                   TOTAL                              $35.78
        Confidential Customer USD Transferee #1275   [Address on File]          5/30/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
        Confidential Customer USD Transferee #1276   [Address on File]          5/23/2023 USD                      $1,532.44 Customer Disbursement
                                                                                   TOTAL                           $1,532.44
        Confidential Customer USD Transferee #1277   [Address on File]          6/20/2023 USD                          $5.00 Customer Disbursement
                                                                                   TOTAL                               $5.00
        Confidential Customer USD Transferee #1278   [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1278   [Address on File]          5/31/2023 USD                      $1,500.00 Customer Disbursement
                                                                                   TOTAL                           $4,500.00
        Confidential Customer USD Transferee #1279   [Address on File]           6/8/2023 USD                        $598.23 Customer Disbursement
                                                                                   TOTAL                            $598.23

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #1280   [Address on File]        5/30/2023 USD                       $270.00 Customer Disbursement
        Confidential Customer USD Transferee #1280   [Address on File]        5/16/2023 USD                       $300.00 Customer Disbursement
                                                                                 TOTAL                            $570.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1281                              5/31/2023 USD                      $1,496.37 Customer Disbursement
                                                                                   TOTAL                           $1,496.37
                                                     [Address on File]
        Confidential Customer USD Transferee #1282                              5/30/2023 USD                         $25.04 Customer Disbursement
                                                                                   TOTAL                              $25.04
        Confidential Customer USD Transferee #1283   [Address on File]          5/31/2023 USD                      $1,979.89 Customer Disbursement
        Confidential Customer USD Transferee #1283   [Address on File]          5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1283   [Address on File]          5/16/2023 USD                      $2,263.66 Customer Disbursement
                                                                                   TOTAL                           $7,243.55
        Confidential Customer USD Transferee #1284   [Address on File]          5/17/2023 USD                        $290.92 Customer Disbursement
        Confidential Customer USD Transferee #1284   [Address on File]          5/17/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $3,290.92
        Confidential Customer USD Transferee #1285   [Address on File]           6/6/2023 USD                        $581.00 Customer Disbursement
                                                                                   TOTAL                            $581.00
        Confidential Customer USD Transferee #1286   [Address on File]          5/19/2023 USD                      $1,786.11 Customer Disbursement
                                                                                   TOTAL                           $1,786.11
        Confidential Customer USD Transferee #1287   [Address on File]           6/5/2023 USD                        $343.25 Customer Disbursement
        Confidential Customer USD Transferee #1287   [Address on File]          5/30/2023 USD                        $345.93 Customer Disbursement
        Confidential Customer USD Transferee #1287   [Address on File]          5/22/2023 USD                        $765.19 Customer Disbursement
                                                                                   TOTAL                           $1,454.37
        Confidential Customer USD Transferee #1288   [Address on File]          5/31/2023 USD                          $6.00 Customer Disbursement
                                                                                   TOTAL                               $6.00
        Confidential Customer USD Transferee #1289   [Address on File]          5/30/2023 USD                      $1,008.97 Customer Disbursement
                                                                                   TOTAL                           $1,008.97
                                                     [Address on File]
        Confidential Customer USD Transferee #1290                              6/15/2023 USD                   $440,600.00 Customer Disbursement
                                                                                   TOTAL                        $440,600.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1291                              6/16/2023 USD                   $291,015.00 Customer Disbursement


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1291                                    6/15/2023 USD                   $121,784.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1291                                    6/13/2023 USD                         $50.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1291                                    6/12/2023 USD                 $2,020,000.00 Customer Disbursement
                                                                                         TOTAL                      $2,432,849.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1292                                    6/21/2023 USD                         $39.36 Customer Disbursement
                                                                                         TOTAL                              $39.36
        Confidential Customer USD Transferee #1293         [Address on File]          5/16/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #1294         [Address on File]          6/14/2023 USD                         $35.00 Customer Disbursement
                                                                                         TOTAL                              $35.00
        Confidential Customer USD Transferee #1295         [Address on File]          6/16/2023 USD                      $1,144.26 Customer Disbursement
                                                                                         TOTAL                           $1,144.26
        Confidential Customer USD Transferee #1296         [Address on File]          5/18/2023 USD                         $82.00 Customer Disbursement
                                                                                         TOTAL                              $82.00
        Confidential Customer USD Transferee #1297         [Address on File]           6/6/2023 USD                        $876.77 Customer Disbursement
                                                                                         TOTAL                            $876.77
        Confidential Customer USD Transferee #1298         [Address on File]          5/31/2023 USD                        $165.00 Customer Disbursement
                                                                                         TOTAL                            $165.00
        Confidential Customer USD Transferee #1299         [Address on File]          6/20/2023 USD                        $181.00 Customer Disbursement
                                                                                         TOTAL                            $181.00
        Confidential Customer USD Transferee #1300         [Address on File]          6/21/2023 USD                        $439.00 Customer Disbursement
                                                                                         TOTAL                            $439.00
        Confidential Customer USD Transferee #1301         [Address on File]          5/22/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1301         [Address on File]          5/18/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1302                                    5/24/2023 USD                         $66.80 Customer Disbursement
                                                                                         TOTAL                              $66.80
        Confidential Customer USD Transferee #1303         [Address on File]          5/26/2023 USD                        $158.65 Customer Disbursement
                                                                                         TOTAL                             $158.65

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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1304                                    5/31/2023 USD                         $35.00 Customer Disbursement
                                                                                         TOTAL                              $35.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1305                                    5/17/2023 USD                             $6.97 Customer Disbursement
                                                                                         TOTAL                                  $6.97
                                                           [Address on File]
        Confidential Customer USD Transferee #1306                                    6/13/2023 USD                         $41.97 Customer Disbursement
                                                                                         TOTAL                              $41.97
                                                           [Address on File]
        Confidential Customer USD Transferee #1307                                    5/24/2023 USD                         $18.19 Customer Disbursement
                                                                                         TOTAL                              $18.19
                                                           [Address on File]
        Confidential Customer USD Transferee #1308                                    6/13/2023 USD                        $153.28 Customer Disbursement
                                                                                         TOTAL                             $153.28
        Confidential Customer USD Transferee #1309         [Address on File]          6/13/2023 USD                        $309.45 Customer Disbursement
                                                                                         TOTAL                             $309.45
                                                           [Address on File]
        Confidential Customer USD Transferee #1310                                    5/26/2023 USD                             $0.77 Customer Disbursement
                                                                                         TOTAL                                  $0.77
                                                           [Address on File]
        Confidential Customer USD Transferee #1311                                     6/5/2023 USD                        $107.78 Customer Disbursement
                                                                                        TOTAL                              $107.78
                                                           [Address on File]
        Confidential Customer USD Transferee #1312                                    6/12/2023 USD                         $14.99 Customer Disbursement
                                                                                         TOTAL                              $14.99
                                                           [Address on File]
        Confidential Customer USD Transferee #1313                                    5/30/2023 USD                   $500,000.00 Customer Disbursement
                                                                                         TOTAL                        $500,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1314                                    6/14/2023 USD                     $16,624.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1314                                    5/30/2023 USD                   $800,000.00 Customer Disbursement
                                                                                         TOTAL                        $816,624.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1315   [Address on File]         6/6/2023 USD                         $41.00 Customer Disbursement
                                                                                 TOTAL                              $41.00
        Confidential Customer USD Transferee #1316   [Address on File]        6/20/2023 USD                     $29,286.80 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        6/16/2023 USD                      $1,571.35 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        6/16/2023 USD                      $8,271.85 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        6/15/2023 USD                        $100.89 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        6/15/2023 USD                      $3,015.94 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        6/14/2023 USD                      $6,189.57 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        6/13/2023 USD                      $7,727.87 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/9/2023 USD                     $14,154.90 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/8/2023 USD                      $6,004.00 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/8/2023 USD                  $1,280,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/7/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/7/2023 USD                     $22,910.33 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/6/2023 USD                     $23,006.77 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/6/2023 USD                         $91.00 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/5/2023 USD                      $6,945.40 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/5/2023 USD                     $50,442.50 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/5/2023 USD                     $15,817.07 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/2/2023 USD                      $5,732.85 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/1/2023 USD                     $20,971.41 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]         6/1/2023 USD                     $12,055.64 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/31/2023 USD                      $3,597.14 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/30/2023 USD                      $5,948.00 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/30/2023 USD                     $20,340.81 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/26/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/25/2023 USD                     $10,096.57 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/24/2023 USD                      $5,072.66 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/22/2023 USD                     $26,566.37 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/22/2023 USD                      $7,733.98 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/18/2023 USD                     $14,217.02 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/18/2023 USD                      $7,476.14 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/17/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1316   [Address on File]        5/16/2023 USD                     $20,089.59 Customer Disbursement
                                                                                 TOTAL                       $1,695,434.42

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1317   [Address on File]        6/16/2023 USD                    $15,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        6/15/2023 USD                       $913.71 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        6/15/2023 USD                      $2,328.62 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        6/15/2023 USD                      $1,212.64 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        6/12/2023 USD                       $753.71 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        6/12/2023 USD                    $21,155.55 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]         6/9/2023 USD                      $4,221.31 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]         6/8/2023 USD                      $6,759.59 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]         6/7/2023 USD                      $4,412.46 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]         6/6/2023 USD                      $3,742.32 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]         6/5/2023 USD                    $18,556.21 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]         6/2/2023 USD                    $16,873.61 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/31/2023 USD                      $3,204.38 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/30/2023 USD                      $2,437.83 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/30/2023 USD                      $8,126.83 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/26/2023 USD                    $23,134.18 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/26/2023 USD                    $10,434.87 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/25/2023 USD                      $3,688.51 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/24/2023 USD                    $11,226.94 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/23/2023 USD                      $4,491.92 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/23/2023 USD                    $10,106.17 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/22/2023 USD                      $2,725.96 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/22/2023 USD                      $1,559.72 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/19/2023 USD                      $4,812.64 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/19/2023 USD                    $10,058.01 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/17/2023 USD                      $2,733.10 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/17/2023 USD                      $7,269.11 Customer Disbursement
        Confidential Customer USD Transferee #1317   [Address on File]        5/16/2023 USD                    $14,319.67 Customer Disbursement
                                                                                 TOTAL                        $216,259.57
        Confidential Customer USD Transferee #1318   [Address on File]         6/1/2023 USD                         $74.15 Customer Disbursement
                                                                                 TOTAL                              $74.15
        Confidential Customer USD Transferee #1319   [Address on File]        6/21/2023 USD                       $331.76 Customer Disbursement
                                                                                 TOTAL                            $331.76
                                                     [Address on File]
        Confidential Customer USD Transferee #1320                              5/23/2023 USD                     $32,806.73 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                         $32,806.73
        Confidential Customer USD Transferee #1321         [Address on File]        6/21/2023 USD                    $19,960.91 Customer Disbursement
                                                                                       TOTAL                         $19,960.91
        Confidential Customer USD Transferee #1322         [Address on File]         6/7/2023 USD                          $0.99 Customer Disbursement
                                                                                       TOTAL                               $0.99
        Confidential Customer USD Transferee #1323         [Address on File]        5/30/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $25.00
        Confidential Customer USD Transferee #1324         [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
        Confidential Customer USD Transferee #1325         [Address on File]         6/7/2023 USD                        $187.50 Customer Disbursement
                                                                                       TOTAL                            $187.50
        Confidential Customer USD Transferee #1326         [Address on File]        5/23/2023 USD                         $50.00 Customer Disbursement
                                                                                       TOTAL                              $50.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1327                                    5/19/2023 USD                        $250.00 Customer Disbursement
                                                                                         TOTAL                            $250.00
        Confidential Customer USD Transferee #1328         [Address on File]           6/9/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1329                                    5/26/2023 USD                      $1,400.00 Customer Disbursement
                                                                                         TOTAL                           $1,400.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1330                                    6/13/2023 USD                      $3,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1330                                    5/31/2023 USD                        $208.82 Customer Disbursement
                                                                                         TOTAL                           $3,208.82
                                                           [Address on File]
        Confidential Customer USD Transferee #1331                                    5/31/2023 USD                      $1,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1331                                    5/31/2023 USD                      $1,730.57 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1331                                    5/23/2023 USD                        $800.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1331                                    5/16/2023 USD                      $1,730.57 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $5,261.14
        Confidential Customer USD Transferee #1332         [Address on File]        6/21/2023 USD                        $326.35 Customer Disbursement
                                                                                       TOTAL                            $326.35
        Confidential Customer USD Transferee #1333         [Address on File]        6/16/2023 USD                    $19,680.09 Customer Disbursement
                                                                                       TOTAL                         $19,680.09
        Confidential Customer USD Transferee #1334         [Address on File]         6/6/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $100.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1335                                    6/20/2023 USD                         $32.00 Customer Disbursement
                                                                                         TOTAL                              $32.00
        Confidential Customer USD Transferee #1336         [Address on File]          6/22/2023 USD                        $782.00 Customer Disbursement
                                                                                         TOTAL                            $782.00
        Confidential Customer USD Transferee #1337         [Address on File]           6/6/2023 USD                          $5.28 Customer Disbursement
                                                                                         TOTAL                               $5.28
        Confidential Customer USD Transferee #1338         [Address on File]          6/21/2023 USD                      $3,371.53 Customer Disbursement
                                                                                         TOTAL                           $3,371.53
                                                           [Address on File]
        Confidential Customer USD Transferee #1339                                    6/20/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1340                                    6/12/2023 USD                             $0.56 Customer Disbursement
                                                                                         TOTAL                                  $0.56
                                                           [Address on File]
        Confidential Customer USD Transferee #1341                                    5/26/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1341                                    5/23/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                             $400.00
        Confidential Customer USD Transferee #1342         [Address on File]          5/24/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                             $200.00
        Confidential Customer USD Transferee #1343         [Address on File]          6/21/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                             $150.00
        Confidential Customer USD Transferee #1344         [Address on File]          5/31/2023 USD                         $75.00 Customer Disbursement
                                                                                         TOTAL                              $75.00
        Confidential Customer USD Transferee #1345         [Address on File]          5/16/2023 USD                        $517.74 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $517.74
        Confidential Customer USD Transferee #1346         [Address on File]        5/31/2023 USD                        $300.00 Customer Disbursement
                                                                                       TOTAL                            $300.00
        Confidential Customer USD Transferee #1347         [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
        Confidential Customer USD Transferee #1348         [Address on File]        5/31/2023 USD                          $2.04 Customer Disbursement
                                                                                       TOTAL                               $2.04
        Confidential Customer USD Transferee #1349         [Address on File]        6/21/2023 USD                        $155.00 Customer Disbursement
        Confidential Customer USD Transferee #1349         [Address on File]        6/21/2023 USD                        $103.00 Customer Disbursement
        Confidential Customer USD Transferee #1349         [Address on File]         6/7/2023 USD                        $182.00 Customer Disbursement
        Confidential Customer USD Transferee #1349         [Address on File]         6/5/2023 USD                        $925.00 Customer Disbursement
        Confidential Customer USD Transferee #1349         [Address on File]        5/31/2023 USD                        $285.00 Customer Disbursement
        Confidential Customer USD Transferee #1349         [Address on File]        5/26/2023 USD                        $320.00 Customer Disbursement
        Confidential Customer USD Transferee #1349         [Address on File]        5/19/2023 USD                        $268.00 Customer Disbursement
                                                                                       TOTAL                           $2,238.00
        Confidential Customer USD Transferee #1350         [Address on File]        6/16/2023 USD                      $2,741.68 Customer Disbursement
                                                                                       TOTAL                           $2,741.68
        Confidential Customer USD Transferee #1351         [Address on File]        6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                       TOTAL                              $15.00
        Confidential Customer USD Transferee #1352         [Address on File]         6/8/2023 USD                       $250.00 Investment Refund
                                                                                       TOTAL                            $250.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1353                                    6/15/2023 USD                        $110.13 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1353                                    6/15/2023 USD                        $855.54 Customer Disbursement
                                                                                         TOTAL                             $965.67
                                                           [Address on File]
        Confidential Customer USD Transferee #1354                                     6/8/2023 USD                     $10,541.30 Customer Disbursement
                                                                                         TOTAL                          $10,541.30
        Confidential Customer USD Transferee #1355         [Address on File]           6/2/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #1356         [Address on File]           6/7/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #1356         [Address on File]           6/6/2023 USD                          $4.97 Customer Disbursement
        Confidential Customer USD Transferee #1356         [Address on File]          5/30/2023 USD                        $550.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1356   [Address on File]        5/30/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #1356   [Address on File]        5/16/2023 USD                         $56.67 Customer Disbursement
        Confidential Customer USD Transferee #1356   [Address on File]        5/16/2023 USD                        $641.46 Customer Disbursement
                                                                                 TOTAL                           $1,758.10
        Confidential Customer USD Transferee #1357   [Address on File]         6/1/2023 USD                        $400.00 Customer Disbursement
                                                                                 TOTAL                            $400.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1358                              6/12/2023 USD                         $42.71 Customer Disbursement
                                                                                   TOTAL                              $42.71
                                                     [Address on File]
        Confidential Customer USD Transferee #1359                              5/31/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                             $100.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1360                               6/7/2023 USD                        $450.00 Customer Disbursement
                                                                                   TOTAL                            $450.00
        Confidential Customer USD Transferee #1361   [Address on File]          6/12/2023 USD                      $1,990.00 Customer Disbursement
                                                                                   TOTAL                           $1,990.00
        Confidential Customer USD Transferee #1362   [Address on File]          6/21/2023 USD                         $10.21 Customer Disbursement
                                                                                   TOTAL                              $10.21
        Confidential Customer USD Transferee #1363   [Address on File]          6/21/2023 USD                      $1,584.00 Customer Disbursement
                                                                                   TOTAL                           $1,584.00
        Confidential Customer USD Transferee #1364   [Address on File]          6/12/2023 USD                          $1.98 Customer Disbursement
                                                                                   TOTAL                               $1.98
        Confidential Customer USD Transferee #1365   [Address on File]           6/6/2023 USD                         $46.23 Customer Disbursement
        Confidential Customer USD Transferee #1365   [Address on File]          5/22/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $66.23
        Confidential Customer USD Transferee #1366   [Address on File]          5/30/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #1366   [Address on File]          5/30/2023 USD                        $150.00 Customer Disbursement
                                                                                   TOTAL                            $300.00
        Confidential Customer USD Transferee #1367   [Address on File]           6/6/2023 USD                        $323.00 Customer Disbursement
        Confidential Customer USD Transferee #1367   [Address on File]          5/25/2023 USD                      $2,490.00 Customer Disbursement
        Confidential Customer USD Transferee #1367   [Address on File]          5/24/2023 USD                        $939.00 Customer Disbursement
        Confidential Customer USD Transferee #1367   [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1367   [Address on File]          5/23/2023 USD                        $175.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $6,927.00
        Confidential Customer USD Transferee #1368         [Address on File]         6/9/2023 USD                         $55.68 Customer Disbursement
        Confidential Customer USD Transferee #1368         [Address on File]         6/8/2023 USD                         $65.00 Customer Disbursement
                                                                                       TOTAL                            $120.68
        Confidential Customer USD Transferee #1369         [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1369         [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1369         [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1369         [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1369         [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1369         [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1369         [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1369         [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1369         [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1369         [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1369         [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                         $33,000.00
        Confidential Customer USD Transferee #1370         [Address on File]        5/31/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1370         [Address on File]        5/23/2023 USD                      $1,000.00 Customer Disbursement
                                                                                       TOTAL                           $2,000.00
        Confidential Customer USD Transferee #1371         [Address on File]         6/1/2023 USD                        $516.00 Customer Disbursement
                                                                                       TOTAL                            $516.00
        Confidential Customer USD Transferee #1372         [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1372         [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $6,000.00
        Confidential Customer USD Transferee #1373         [Address on File]        5/18/2023 USD                      $2,400.00 Customer Disbursement
                                                                                       TOTAL                           $2,400.00
        Confidential Customer USD Transferee #1374         [Address on File]        6/15/2023 USD                        $413.00 Customer Disbursement
                                                                                       TOTAL                            $413.00
        Confidential Customer USD Transferee #1375         [Address on File]        5/31/2023 USD                        $526.00 Customer Disbursement
                                                                                       TOTAL                            $526.00
        Confidential Customer USD Transferee #1376         [Address on File]        5/18/2023 USD                        $730.00 Customer Disbursement
                                                                                       TOTAL                            $730.00
        Confidential Customer USD Transferee #1377         [Address on File]        5/25/2023 USD                        $190.00 Customer Disbursement
                                                                                       TOTAL                            $190.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1378   [Address on File]        6/16/2023 USD                      $2,448.91 Customer Disbursement
        Confidential Customer USD Transferee #1378   [Address on File]        6/16/2023 USD                      $2,127.22 Customer Disbursement
                                                                                 TOTAL                           $4,576.13
                                                     [Address on File]
        Confidential Customer USD Transferee #1379                              5/30/2023 USD                             $2.26 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1379                              5/30/2023 USD                         $47.47 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1379                              5/30/2023 USD                          $9.27 Customer Disbursement
                                                                                   TOTAL                              $59.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1380                              6/16/2023 USD                        $631.00 Customer Disbursement
                                                                                   TOTAL                            $631.00
        Confidential Customer USD Transferee #1381   [Address on File]          6/21/2023 USD                         $79.61 Customer Disbursement
        Confidential Customer USD Transferee #1381   [Address on File]          5/25/2023 USD                        $199.05 Customer Disbursement
                                                                                   TOTAL                            $278.66
        Confidential Customer USD Transferee #1382   [Address on File]          6/20/2023 USD                         $31.86 Customer Disbursement
                                                                                   TOTAL                              $31.86
        Confidential Customer USD Transferee #1383   [Address on File]          5/31/2023 USD                        $500.00 Customer Disbursement
                                                                                   TOTAL                            $500.00
        Confidential Customer USD Transferee #1384   [Address on File]           6/6/2023 USD                        $290.63 Customer Disbursement
                                                                                   TOTAL                            $290.63
        Confidential Customer USD Transferee #1385   [Address on File]           6/6/2023 USD                        $128.60 Customer Disbursement
                                                                                   TOTAL                            $128.60
        Confidential Customer USD Transferee #1386   [Address on File]          6/22/2023 USD                        $856.90 Customer Disbursement
        Confidential Customer USD Transferee #1386   [Address on File]          6/21/2023 USD                      $2,617.89 Customer Disbursement
        Confidential Customer USD Transferee #1386   [Address on File]          6/13/2023 USD                      $2,048.31 Customer Disbursement
        Confidential Customer USD Transferee #1386   [Address on File]           6/1/2023 USD                      $1,086.89 Customer Disbursement
        Confidential Customer USD Transferee #1386   [Address on File]          5/19/2023 USD                        $813.87 Customer Disbursement
                                                                                   TOTAL                           $7,423.86
        Confidential Customer USD Transferee #1387   [Address on File]          6/21/2023 USD                      $4,580.94 Customer Disbursement
                                                                                   TOTAL                           $4,580.94
        Confidential Customer USD Transferee #1388   [Address on File]          5/17/2023 USD                      $1,499.63 Customer Disbursement
                                                                                   TOTAL                           $1,499.63

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #1389   [Address on File]         6/2/2023 USD                       $200.00 Customer Disbursement
                                                                                TOTAL                             $200.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1390                              5/31/2023 USD                        $76.45 Customer Disbursement
                                                                                   TOTAL                             $76.45
        Confidential Customer USD Transferee #1391   [Address on File]           6/5/2023 USD                       $110.63 Customer Disbursement
                                                                                   TOTAL                           $110.63
        Confidential Customer USD Transferee #1392   [Address on File]          6/20/2023 USD                        $16.36 Customer Disbursement
                                                                                   TOTAL                             $16.36
        Confidential Customer USD Transferee #1393   [Address on File]          5/24/2023 USD                        $21.35 Customer Disbursement
                                                                                   TOTAL                             $21.35
        Confidential Customer USD Transferee #1394   [Address on File]          5/22/2023 USD                       $350.00 Customer Disbursement
                                                                                   TOTAL                           $350.00
        Confidential Customer USD Transferee #1395   [Address on File]          6/16/2023 USD                   $102,920.20 Customer Disbursement
                                                                                   TOTAL                        $102,920.20
        Confidential Customer USD Transferee #1396   [Address on File]          6/13/2023 USD                        $29.21 Customer Disbursement
                                                                                   TOTAL                             $29.21
        Confidential Customer USD Transferee #1397   [Address on File]          5/24/2023 USD                       $239.04 Customer Disbursement
                                                                                   TOTAL                           $239.04
        Confidential Customer USD Transferee #1398   [Address on File]          6/21/2023 USD                       $345.06 Customer Disbursement
                                                                                   TOTAL                           $345.06
        Confidential Customer USD Transferee #1399   [Address on File]           6/9/2023 USD                        $25.00 Customer Disbursement
                                                                                   TOTAL                             $25.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1400                              6/12/2023 USD                        $920.00 Customer Disbursement
                                                                                   TOTAL                             $920.00
        Confidential Customer USD Transferee #1401   [Address on File]          5/25/2023 USD                         $22.00 Customer Disbursement
                                                                                   TOTAL                              $22.00
                                                     [Address on File]


        Confidential Customer USD Transferee #1402                               6/8/2023 USD                      $4,048.00 Customer Disbursement
                                                                                  TOTAL                            $4,048.00
        Confidential Customer USD Transferee #1403   [Address on File]           6/9/2023 USD                        $660.00 Customer Disbursement

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                                                                                                                                  Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                      TOTAL                             $660.00
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/20/2023 USD                   $129,900.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/16/2023 USD                 $2,097,662.06 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/16/2023 USD                   $303,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/16/2023 USD                 $1,949,609.38 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/15/2023 USD                 $3,048,697.50 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/15/2023 USD                 $8,014,756.05 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/15/2023 USD                 $2,792,073.47 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/15/2023 USD                 $1,949,027.28 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/15/2023 USD                 $1,271,500.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/15/2023 USD                 $1,579,456.25 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/15/2023 USD                   $628,929.00 Customer Disbursement



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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/14/2023 USD                 $1,316,888.34 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/14/2023 USD                   $728,929.23 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/14/2023 USD                   $944,149.91 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/14/2023 USD                     $14,977.50 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/13/2023 USD                   $691,824.98 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/13/2023 USD                 $1,041,724.38 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/13/2023 USD                     $95,125.91 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/13/2023 USD                 $2,000,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/13/2023 USD                 $1,079,244.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/13/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/12/2023 USD                   $199,800.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/12/2023 USD                 $3,593,117.95 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/12/2023 USD                   $376,637.05 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    6/12/2023 USD                   $563,052.72 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/9/2023 USD                   $511,130.97 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/9/2023 USD                   $872,730.70 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/9/2023 USD                 $1,500,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/9/2023 USD                   $521,760.27 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/8/2023 USD                   $574,742.37 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/8/2023 USD                 $1,750,700.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/8/2023 USD                   $799,398.77 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/8/2023 USD                   $649,805.10 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/8/2023 USD                   $250,384.86 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/8/2023 USD                     $99,960.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/7/2023 USD                   $211,428.05 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/7/2023 USD                 $1,448,774.53 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/7/2023 USD                   $697,441.78 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/7/2023 USD                        $559.05 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/7/2023 USD                     $25,902.18 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/6/2023 USD                   $448,676.54 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/6/2023 USD                   $219,758.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/6/2023 USD                 $1,068,492.76 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/6/2023 USD                   $324,300.47 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/6/2023 USD                   $286,018.53 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/6/2023 USD                   $300,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/5/2023 USD                 $2,923,703.73 Customer Disbursement
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                                                                                                                                  Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount           Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/5/2023 USD                   $600,754.72 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/5/2023 USD                   $849,728.29 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/5/2023 USD                   $619,782.74 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/5/2023 USD                   $170,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/2/2023 USD                   $283,044.17 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/2/2023 USD                   $999,550.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/2/2023 USD                   $150,309.85 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/2/2023 USD                 $1,295,673.07 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/2/2023 USD                 $5,980,936.72 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/2/2023 USD                   $239,916.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/2/2023 USD                   $385,010.50 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/1/2023 USD                   $964,445.84 Customer Disbursement
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                                            Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/1/2023 USD                   $516,264.90 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/1/2023 USD                   $355,809.50 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/1/2023 USD                   $592,999.85 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/1/2023 USD                 $1,096,501.21 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                     6/1/2023 USD                 $1,100,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/31/2023 USD                   $582,911.98 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/31/2023 USD                 $1,665,977.34 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/31/2023 USD                     $32,986.80 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/31/2023 USD                 $2,000,350.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/30/2023 USD                   $331,607.55 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/30/2023 USD                 $2,490,102.76 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/30/2023 USD                   $278,700.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/30/2023 USD                 $2,383,824.73 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/30/2023 USD                   $765,046.53 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/30/2023 USD                   $700,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/26/2023 USD                 $2,756,073.99 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/26/2023 USD                 $1,661,691.79 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/26/2023 USD                   $946,088.41 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/26/2023 USD                   $170,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/26/2023 USD                 $1,195,793.34 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/26/2023 USD                     $60,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/26/2023 USD                   $292,960.60 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/26/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/26/2023 USD                 $1,012,564.29 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/26/2023 USD                   $474,810.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/26/2023 USD                     $32,316.71 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/25/2023 USD                   $700,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/25/2023 USD                 $1,552,108.91 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/25/2023 USD                   $149,835.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/25/2023 USD                   $549,049.02 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/25/2023 USD                   $407,344.95 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/24/2023 USD                 $3,169,181.94 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/23/2023 USD                 $2,000,200.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/23/2023 USD                 $1,140,477.16 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/23/2023 USD                   $800,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/23/2023 USD                 $3,064,569.57 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/23/2023 USD                   $999,600.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/22/2023 USD                   $249,750.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/22/2023 USD                 $2,000,400.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/22/2023 USD                     $67,117.50 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/22/2023 USD                 $2,758,252.50 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/19/2023 USD                 $1,197,720.96 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/19/2023 USD                 $1,833,735.54 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/19/2023 USD                   $499,500.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/19/2023 USD                 $3,386,650.63 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/19/2023 USD                 $1,338,945.19 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/19/2023 USD                   $339,864.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/19/2023 USD                 $1,693,269.69 Customer Disbursement
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                                                                                                                                  Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount           Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/18/2023 USD                 $2,478,487.31 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/18/2023 USD                   $521,569.52 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/18/2023 USD                   $999,600.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/18/2023 USD                 $2,502,568.09 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/17/2023 USD                 $1,811,371.79 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/17/2023 USD                   $521,946.84 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/17/2023 USD                   $551,231.68 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/17/2023 USD                   $899,640.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/16/2023 USD                   $800,000.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/16/2023 USD                   $390,774.29 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/16/2023 USD                   $836,248.80 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/16/2023 USD                   $427,053.21 Customer Disbursement
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                                            Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #1404                                    5/16/2023 USD                 $2,000,000.00 Customer Disbursement
                                                                                         TOTAL                    $132,638,349.89
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/20/2023 USD                   $115,200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/16/2023 USD                   $202,800.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/15/2023 USD                 $2,247,727.93 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/15/2023 USD                   $309,070.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/15/2023 USD                   $568,421.87 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/15/2023 USD                     $51,974.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/15/2023 USD                 $1,271,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/14/2023 USD                   $300,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/14/2023 USD                 $1,499,250.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/14/2023 USD                 $1,334,424.47 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/14/2023 USD                   $656,595.31 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/14/2023 USD                   $349,580.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/14/2023 USD                 $1,299,090.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/14/2023 USD                   $675,856.77 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/13/2023 USD                     $62,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/13/2023 USD                   $139,617.79 Customer Disbursement
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                                                                                                                                  Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount           Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/13/2023 USD                 $3,021,399.29 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/13/2023 USD                   $312,892.07 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/12/2023 USD                 $2,001,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/12/2023 USD                   $281,673.91 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/12/2023 USD                   $595,861.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/12/2023 USD                   $400,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/12/2023 USD                 $1,115,112.77 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/12/2023 USD                   $517,400.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/12/2023 USD                 $1,126,540.65 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    6/12/2023 USD                 $2,027,925.82 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/9/2023 USD                   $149,850.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/9/2023 USD                 $1,377,933.82 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/9/2023 USD                   $429,828.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/9/2023 USD                 $1,629,677.05 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/9/2023 USD                   $510,153.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/9/2023 USD                   $269,932.93 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/8/2023 USD                 $1,733,543.98 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/8/2023 USD                 $1,499,550.00 Customer Disbursement
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                                            Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/8/2023 USD                     $13,374.35 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/8/2023 USD                 $2,000,400.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/8/2023 USD                 $1,000,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/8/2023 USD                     $49,724.94 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/8/2023 USD                   $709,423.11 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/8/2023 USD                 $1,300,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/8/2023 USD                   $220,779.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/7/2023 USD                     $99,900.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/7/2023 USD                   $800,080.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/7/2023 USD                 $2,000,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/7/2023 USD                   $354,228.70 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/7/2023 USD                 $2,000,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/6/2023 USD                   $254,550.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/6/2023 USD                 $3,441,661.51 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/6/2023 USD                   $979,154.14 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/5/2023 USD                 $2,318,829.36 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/5/2023 USD                 $2,000,200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/5/2023 USD                   $934,505.68 Customer Disbursement
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                                            Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/5/2023 USD                 $2,891,007.53 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/5/2023 USD                   $836,268.53 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/5/2023 USD                     $99,900.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/2/2023 USD                   $817,626.42 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/2/2023 USD                 $4,205,178.07 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/2/2023 USD                   $600,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/2/2023 USD                 $1,187,916.14 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/2/2023 USD                     $28,574.49 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/1/2023 USD                   $748,500.69 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                     6/1/2023 USD                 $2,769,676.37 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/31/2023 USD                     $66,803.10 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/31/2023 USD                     $35,068.79 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/31/2023 USD                   $999,700.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/31/2023 USD                 $2,335,089.93 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/31/2023 USD                 $3,205,486.50 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/31/2023 USD                 $2,297,831.14 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/31/2023 USD                   $533,457.73 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/31/2023 USD                   $999,900.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/31/2023 USD                 $1,732,581.77 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/30/2023 USD                   $941,032.44 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/30/2023 USD                   $260,078.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/30/2023 USD                     $19,994.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/30/2023 USD                   $149,850.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/30/2023 USD                 $1,542,256.45 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/26/2023 USD                   $199,800.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/26/2023 USD                   $473,092.56 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/26/2023 USD                     $59,403.18 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/25/2023 USD                   $299,700.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/25/2023 USD                 $1,363,953.24 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/25/2023 USD                   $781,352.30 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/25/2023 USD                 $1,001,084.31 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/25/2023 USD                 $1,595,587.75 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/24/2023 USD                     $93,960.97 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/24/2023 USD                   $331,652.48 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/24/2023 USD                 $1,990,463.50 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/24/2023 USD                   $458,813.09 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/24/2023 USD                 $1,516,235.62 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/24/2023 USD                   $371,126.60 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/24/2023 USD                   $500,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/23/2023 USD                   $362,978.04 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/23/2023 USD                     $70,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/23/2023 USD                   $419,580.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/23/2023 USD                 $1,166,872.36 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/23/2023 USD                   $289,148.73 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/23/2023 USD                 $2,325,406.90 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/22/2023 USD                   $999,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/22/2023 USD                     $60,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/22/2023 USD                     $10,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/22/2023 USD                   $535,400.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/22/2023 USD                      $9,995.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/22/2023 USD                 $2,938,390.87 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/19/2023 USD                 $2,712,580.42 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/19/2023 USD                 $2,102,168.39 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/19/2023 USD                   $288,069.57 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/18/2023 USD                 $1,122,155.94 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/18/2023 CAD                      13,420.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/17/2023 USD                   $596,044.14 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/17/2023 USD                   $214,275.68 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/16/2023 USD                   $466,337.59 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/16/2023 USD                 $3,588,656.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/16/2023 USD                   $536,396.75 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1405                                    5/16/2023 USD                     $40,000.00 Customer Disbursement
                                                                                         TOTAL                           13,420.00
        Confidential Customer USD Transferee #1406         [Address on File]           6/1/2023 USD                         $58.83 Customer Disbursement
                                                                                         TOTAL                              $58.83
        Confidential Customer USD Transferee #1407         [Address on File]          5/23/2023 USD                         $20.00 Customer Disbursement
                                                                                         TOTAL                              $20.00
        Confidential Customer USD Transferee #1408         [Address on File]           6/5/2023 USD                        $355.00 Customer Disbursement
        Confidential Customer USD Transferee #1408         [Address on File]           6/1/2023 USD                        $687.00 Customer Disbursement
        Confidential Customer USD Transferee #1408         [Address on File]          5/30/2023 USD                        $430.00 Customer Disbursement
                                                                                         TOTAL                           $1,472.00
        Confidential Customer USD Transferee #1409         [Address on File]           6/2/2023 USD                        $259.01 Customer Disbursement
                                                                                         TOTAL                            $259.01
                                                           [Address on File]
        Confidential Customer USD Transferee #1410                                    6/12/2023 USD                         $32.81 Customer Disbursement
                                                                                         TOTAL                              $32.81
        Confidential Customer USD Transferee #1411         [Address on File]          6/20/2023 USD                        $176.09 Customer Disbursement
                                                                                         TOTAL                            $176.09
        Confidential Customer USD Transferee #1412         [Address on File]          6/20/2023 USD                      $2,215.00 Customer Disbursement
                                                                                         TOTAL                           $2,215.00
        Confidential Customer USD Transferee #1413         [Address on File]           6/6/2023 USD                      $3,000.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1413   [Address on File]        5/18/2023 USD                      $2,500.00 Customer Disbursement
                                                                                 TOTAL                           $5,500.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1414                              5/17/2023 USD                         $30.81 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1414                              5/17/2023 USD                        $268.00 Customer Disbursement
                                                                                   TOTAL                            $298.81
        Confidential Customer USD Transferee #1415   [Address on File]           6/8/2023 USD                        $590.00 Customer Disbursement
        Confidential Customer USD Transferee #1415   [Address on File]           6/7/2023 USD                        $591.00 Customer Disbursement
        Confidential Customer USD Transferee #1415   [Address on File]           6/7/2023 USD                        $593.00 Customer Disbursement
        Confidential Customer USD Transferee #1415   [Address on File]          5/23/2023 USD                        $589.00 Customer Disbursement
                                                                                   TOTAL                           $2,363.00
        Confidential Customer USD Transferee #1416   [Address on File]          5/31/2023 USD                         $65.82 Customer Disbursement
                                                                                   TOTAL                              $65.82
        Confidential Customer USD Transferee #1417   [Address on File]          5/25/2023 USD                        $458.00 Customer Disbursement
                                                                                   TOTAL                            $458.00
        Confidential Customer USD Transferee #1418   [Address on File]          5/25/2023 USD                        $350.00 Customer Disbursement
                                                                                   TOTAL                            $350.00
        Confidential Customer USD Transferee #1419   [Address on File]           6/6/2023 USD                        $944.42 Customer Disbursement
                                                                                   TOTAL                            $944.42
        Confidential Customer USD Transferee #1420   [Address on File]          5/31/2023 USD                        $495.09 Customer Disbursement
                                                                                   TOTAL                            $495.09
        Confidential Customer USD Transferee #1421   [Address on File]          6/20/2023 USD                        $567.51 Customer Disbursement
                                                                                   TOTAL                            $567.51
        Confidential Customer USD Transferee #1422   [Address on File]          6/20/2023 USD                        $245.02 Customer Disbursement
                                                                                   TOTAL                            $245.02
        Confidential Customer USD Transferee #1423   [Address on File]           6/9/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #1423   [Address on File]          5/31/2023 USD                        $848.92 Customer Disbursement
        Confidential Customer USD Transferee #1423   [Address on File]          5/19/2023 USD                        $555.15 Customer Disbursement
                                                                                   TOTAL                           $1,554.07
                                                     [Address on File]
        Confidential Customer USD Transferee #1424                              6/22/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1424                              6/21/2023 USD                        $200.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $400.00
        Confidential Customer USD Transferee #1425         [Address on File]         6/8/2023 USD                        $204.01 Customer Disbursement
                                                                                       TOTAL                            $204.01
        Confidential Customer USD Transferee #1426         [Address on File]        5/31/2023 USD                        $904.62 Customer Disbursement
                                                                                       TOTAL                            $904.62
        Confidential Customer USD Transferee #1427         [Address on File]         6/6/2023 USD                      $1,196.45 Customer Disbursement
                                                                                       TOTAL                           $1,196.45
        Confidential Customer USD Transferee #1428         [Address on File]        5/31/2023 USD                          $8.92 Customer Disbursement
                                                                                       TOTAL                               $8.92
        Confidential Customer USD Transferee #1429         [Address on File]         6/8/2023 USD                          $1.50 Customer Disbursement
                                                                                       TOTAL                               $1.50
        Confidential Customer USD Transferee #1430         [Address on File]        5/31/2023 USD                         $62.97 Customer Disbursement
                                                                                       TOTAL                              $62.97
        Confidential Customer USD Transferee #1431         [Address on File]         6/6/2023 USD                        $500.00 Customer Disbursement
                                                                                       TOTAL                            $500.00
        Confidential Customer USD Transferee #1432         [Address on File]         6/7/2023 USD                         $27.80 Customer Disbursement
                                                                                       TOTAL                              $27.80
        Confidential Customer USD Transferee #1433         [Address on File]        6/20/2023 USD                      $2,435.00 Customer Disbursement
                                                                                       TOTAL                           $2,435.00
        Confidential Customer USD Transferee #1434         [Address on File]        6/20/2023 USD                        $317.27 Customer Disbursement
        Confidential Customer USD Transferee #1434         [Address on File]        6/16/2023 USD                      $1,002.36 Customer Disbursement
                                                                                       TOTAL                           $1,319.63
        Confidential Customer USD Transferee #1435         [Address on File]        5/16/2023 USD                         $69.00 Customer Disbursement
                                                                                       TOTAL                              $69.00
        Confidential Customer USD Transferee #1436         [Address on File]         6/5/2023 USD                        $298.10 Customer Disbursement
                                                                                       TOTAL                            $298.10
                                                           [Address on File]
        Confidential Customer USD Transferee #1437                                    5/19/2023 USD                      $1,298.78 Customer Disbursement
                                                                                         TOTAL                           $1,298.78
                                                           [Address on File]
        Confidential Customer USD Transferee #1438                                    6/21/2023 USD                         $30.43 Customer Disbursement
                                                                                         TOTAL                              $30.43
        Confidential Customer USD Transferee #1439         [Address on File]          5/31/2023 USD                      $1,386.42 Customer Disbursement
                                                                                         TOTAL                           $1,386.42

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1440   [Address on File]         6/7/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #1440   [Address on File]        5/31/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1440   [Address on File]        5/17/2023 USD                        $250.00 Customer Disbursement
                                                                                 TOTAL                           $1,270.00
        Confidential Customer USD Transferee #1441   [Address on File]        6/15/2023 USD                      $2,392.25 Customer Disbursement
                                                                                 TOTAL                           $2,392.25
        Confidential Customer USD Transferee #1442   [Address on File]        5/31/2023 USD                         $13.18 Customer Disbursement
                                                                                 TOTAL                              $13.18
        Confidential Customer USD Transferee #1443   [Address on File]         6/6/2023 USD                         $40.00 Customer Disbursement
        Confidential Customer USD Transferee #1443   [Address on File]        5/22/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $140.00
        Confidential Customer USD Transferee #1444   [Address on File]        5/23/2023 USD                        $297.00 Customer Disbursement
                                                                                 TOTAL                            $297.00
        Confidential Customer USD Transferee #1445   [Address on File]        5/31/2023 USD                         $96.00 Customer Disbursement
                                                                                 TOTAL                              $96.00
        Confidential Customer USD Transferee #1446   [Address on File]        6/16/2023 USD                        $546.00 Customer Disbursement
        Confidential Customer USD Transferee #1446   [Address on File]        6/16/2023 USD                      $1,256.32 Customer Disbursement
                                                                                 TOTAL                           $1,802.32
        Confidential Customer USD Transferee #1447   [Address on File]        5/18/2023 USD                        $180.71 Customer Disbursement
                                                                                 TOTAL                            $180.71
        Confidential Customer USD Transferee #1448   [Address on File]        6/16/2023 USD                        $150.12 Customer Disbursement
                                                                                 TOTAL                            $150.12
        Confidential Customer USD Transferee #1449   [Address on File]        5/26/2023 USD                      $1,055.82 Customer Disbursement
                                                                                 TOTAL                           $1,055.82
        Confidential Customer USD Transferee #1450   [Address on File]         6/5/2023 USD                        $207.27 Customer Disbursement
        Confidential Customer USD Transferee #1450   [Address on File]        5/24/2023 USD                         $84.00 Customer Disbursement
                                                                                 TOTAL                            $291.27
        Confidential Customer USD Transferee #1451   [Address on File]        6/14/2023 USD                        $300.00 Customer Disbursement
                                                                                 TOTAL                            $300.00
        Confidential Customer USD Transferee #1452   [Address on File]        5/25/2023 USD                        $252.32 Customer Disbursement
                                                                                 TOTAL                            $252.32
        Confidential Customer USD Transferee #1453   [Address on File]        5/19/2023 USD                          $1.00 Customer Disbursement
                                                                                 TOTAL                               $1.00
        Confidential Customer USD Transferee #1454   [Address on File]        5/24/2023 USD                      $1,158.75 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                            $1,158.75
                                                           [Address on File]
        Confidential Customer USD Transferee #1455                                    6/16/2023 USD                        $118.91 Customer Disbursement
                                                                                         TOTAL                             $118.91
                                                           [Address on File]
        Confidential Customer USD Transferee #1456                                    6/22/2023 USD                         $35.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1456                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $235.00
        Confidential Customer USD Transferee #1457         [Address on File]          5/23/2023 USD                        $267.50 Customer Disbursement
                                                                                         TOTAL                            $267.50
        Confidential Customer USD Transferee #1458         [Address on File]          5/31/2023 USD                        $420.00 Customer Disbursement
                                                                                         TOTAL                            $420.00
        Confidential Customer USD Transferee #1459         [Address on File]           6/8/2023 USD                      $1,113.91 Customer Disbursement
                                                                                         TOTAL                           $1,113.91
        Confidential Customer USD Transferee #1460         [Address on File]           6/1/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #1460         [Address on File]          5/31/2023 USD                      $1,201.00 Customer Disbursement
                                                                                         TOTAL                           $1,701.00
        Confidential Customer USD Transferee #1461         [Address on File]           6/6/2023 USD                      $1,584.27 Customer Disbursement
                                                                                         TOTAL                           $1,584.27
        Confidential Customer USD Transferee #1462         [Address on File]          5/24/2023 USD                         $45.57 Customer Disbursement
                                                                                         TOTAL                              $45.57
        Confidential Customer USD Transferee #1463         [Address on File]           6/7/2023 USD                          $2.58 Customer Disbursement
        Confidential Customer USD Transferee #1463         [Address on File]           6/7/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $12.58
        Confidential Customer USD Transferee #1464         [Address on File]          6/20/2023 USD                         $15.29 Customer Disbursement
                                                                                         TOTAL                              $15.29
                                                           [Address on File]
        Confidential Customer USD Transferee #1465                                    5/16/2023 USD                        $400.00 Customer Disbursement
                                                                                         TOTAL                            $400.00
        Confidential Customer USD Transferee #1466         [Address on File]          5/30/2023 USD                        $250.00 Customer Disbursement
                                                                                         TOTAL                            $250.00
        Confidential Customer USD Transferee #1467         [Address on File]          6/16/2023 USD                      $1,014.00 Customer Disbursement
                                                                                         TOTAL                           $1,014.00

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #1468   [Address on File]         6/5/2023 USD                        $15.00 Customer Disbursement
                                                                                 TOTAL                             $15.00
        Confidential Customer USD Transferee #1469   [Address on File]        6/12/2023 USD                         $1.18 Customer Disbursement
                                                                                 TOTAL                              $1.18
                                                     [Address on File]
        Confidential Customer USD Transferee #1470                               6/8/2023 USD                      $1,985.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1470                               6/1/2023 USD                      $3,985.00 Customer Disbursement
                                                                                   TOTAL                           $5,970.00
        Confidential Customer USD Transferee #1471   [Address on File]          5/19/2023 USD                      $4,327.00 Customer Disbursement
                                                                                   TOTAL                           $4,327.00
        Confidential Customer USD Transferee #1472   [Address on File]           6/1/2023 USD                          $9.00 Customer Disbursement
        Confidential Customer USD Transferee #1472   [Address on File]          5/25/2023 USD                          $0.75 Customer Disbursement
        Confidential Customer USD Transferee #1472   [Address on File]          5/25/2023 USD                          $0.97 Customer Disbursement
        Confidential Customer USD Transferee #1472   [Address on File]          5/18/2023 USD                          $0.84 Customer Disbursement
                                                                                   TOTAL                              $11.56
        Confidential Customer USD Transferee #1473   [Address on File]          5/31/2023 USD                         $44.02 Customer Disbursement
                                                                                   TOTAL                              $44.02
        Confidential Customer USD Transferee #1474   [Address on File]           6/6/2023 USD                      $1,400.00 Customer Disbursement
        Confidential Customer USD Transferee #1474   [Address on File]          5/31/2023 USD                      $1,090.00 Customer Disbursement
                                                                                   TOTAL                           $2,490.00
        Confidential Customer USD Transferee #1475   [Address on File]          6/20/2023 USD                      $5,894.74 Customer Disbursement
                                                                                   TOTAL                           $5,894.74
        Confidential Customer USD Transferee #1476   [Address on File]          5/22/2023 USD                        $850.00 Customer Disbursement
                                                                                   TOTAL                            $850.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1477                              6/13/2023 USD                      $3,237.28 Customer Disbursement
                                                                                   TOTAL                           $3,237.28
        Confidential Customer USD Transferee #1478   [Address on File]          5/17/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #1479   [Address on File]          5/24/2023 USD                         $18.29 Customer Disbursement
                                                                                   TOTAL                              $18.29
        Confidential Customer USD Transferee #1480   [Address on File]          6/20/2023 USD                        $289.62 Customer Disbursement
                                                                                   TOTAL                            $289.62

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1481   [Address on File]        6/20/2023 USD                    $18,980.01 Customer Disbursement
                                                                                 TOTAL                         $18,980.01
        Confidential Customer USD Transferee #1482   [Address on File]         6/8/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #1482   [Address on File]         6/6/2023 USD                        $190.00 Customer Disbursement
        Confidential Customer USD Transferee #1482   [Address on File]         6/6/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #1482   [Address on File]        5/31/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #1482   [Address on File]        5/26/2023 USD                        $120.00 Customer Disbursement
        Confidential Customer USD Transferee #1482   [Address on File]        5/26/2023 USD                        $350.00 Customer Disbursement
                                                                                 TOTAL                           $1,460.00
        Confidential Customer USD Transferee #1483   [Address on File]        6/20/2023 USD                    $12,709.87 Customer Disbursement
        Confidential Customer USD Transferee #1483   [Address on File]        6/20/2023 USD                      $1,276.00 Customer Disbursement
        Confidential Customer USD Transferee #1483   [Address on File]        6/20/2023 USD                        $489.00 Customer Disbursement
                                                                                 TOTAL                         $14,474.87
        Confidential Customer USD Transferee #1484   [Address on File]        5/17/2023 USD                      $9,310.00 Customer Disbursement
                                                                                 TOTAL                           $9,310.00
        Confidential Customer USD Transferee #1485   [Address on File]        5/23/2023 USD                        $667.19 Customer Disbursement
        Confidential Customer USD Transferee #1485   [Address on File]        5/18/2023 USD                         $51.00 Customer Disbursement
                                                                                 TOTAL                            $718.19
        Confidential Customer USD Transferee #1486   [Address on File]         6/7/2023 USD                      $4,789.68 Customer Disbursement
                                                                                 TOTAL                           $4,789.68
        Confidential Customer USD Transferee #1487   [Address on File]        5/24/2023 USD                        $260.42 Customer Disbursement
                                                                                 TOTAL                            $260.42
        Confidential Customer USD Transferee #1488   [Address on File]        5/31/2023 USD                         $54.00 Customer Disbursement
                                                                                 TOTAL                              $54.00
        Confidential Customer USD Transferee #1489   [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1489   [Address on File]         6/1/2023 USD                      $2,990.02 Customer Disbursement
        Confidential Customer USD Transferee #1489   [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1489   [Address on File]        5/16/2023 USD                      $2,981.88 Customer Disbursement
                                                                                 TOTAL                         $11,971.90
        Confidential Customer USD Transferee #1490   [Address on File]        6/20/2023 USD                         $19.61 Customer Disbursement
                                                                                 TOTAL                              $19.61
        Confidential Customer USD Transferee #1491   [Address on File]         6/6/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #1491   [Address on File]         6/6/2023 USD                         $53.80 Customer Disbursement
        Confidential Customer USD Transferee #1491   [Address on File]         6/5/2023 USD                        $203.00 Customer Disbursement
        Confidential Customer USD Transferee #1491   [Address on File]        5/17/2023 USD                         $39.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1491   [Address on File]        5/16/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1491   [Address on File]        5/16/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #1491   [Address on File]        5/16/2023 USD                        $150.00 Customer Disbursement
                                                                                 TOTAL                            $895.80
        Confidential Customer USD Transferee #1492   [Address on File]        5/30/2023 USD                        $650.00 Customer Disbursement
                                                                                 TOTAL                            $650.00
        Confidential Customer USD Transferee #1493   [Address on File]         6/1/2023 USD                    $26,979.01 Customer Disbursement
        Confidential Customer USD Transferee #1493   [Address on File]        5/30/2023 USD                    $98,531.94 Customer Disbursement
        Confidential Customer USD Transferee #1493   [Address on File]        5/23/2023 USD                   $500,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1493   [Address on File]        5/23/2023 USD                   $160,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1493   [Address on File]        5/18/2023 USD                      $6,479.20 Customer Disbursement
                                                                                 TOTAL                        $791,990.15
        Confidential Customer USD Transferee #1494   [Address on File]        6/22/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1495                               6/2/2023 USD                         $47.88 Customer Disbursement
                                                                                  TOTAL                               $47.88
                                                     [Address on File]
        Confidential Customer USD Transferee #1496                               6/8/2023 USD                      $2,755.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1496                              5/30/2023 USD                        $513.28 Customer Disbursement
                                                                                   TOTAL                           $3,268.28
        Confidential Customer USD Transferee #1497   [Address on File]          6/21/2023 USD                        $932.55 Customer Disbursement
                                                                                   TOTAL                            $932.55
                                                     [Address on File]
        Confidential Customer USD Transferee #1498                               6/2/2023 USD                     $17,000.00 Customer Disbursement
                                                                                   TOTAL                          $17,000.00
        Confidential Customer USD Transferee #1499   [Address on File]          5/16/2023 USD                         $33.07 Customer Disbursement
                                                                                   TOTAL                              $33.07
        Confidential Customer USD Transferee #1500   [Address on File]          5/31/2023 USD                          $8.37 Customer Disbursement
        Confidential Customer USD Transferee #1500   [Address on File]          5/24/2023 USD                         $82.41 Customer Disbursement
                                                                                   TOTAL                              $90.78
        Confidential Customer USD Transferee #1501   [Address on File]          5/26/2023 USD                      $2,912.23 Customer Disbursement
                                                                                   TOTAL                           $2,912.23

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                                                                                                                                  Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount           Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1502                                     6/7/2023 USD                       $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #1503         [Address on File]          6/13/2023 USD                    $36,800.00 Customer Disbursement
        Confidential Customer USD Transferee #1503         [Address on File]          5/31/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1503         [Address on File]          5/31/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1503         [Address on File]          5/31/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1503         [Address on File]          5/30/2023 USD                   $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1503         [Address on File]          5/30/2023 USD                    $42,000.00 Customer Disbursement
                                                                                         TOTAL                        $238,800.00
        Confidential Customer USD Transferee #1504         [Address on File]           6/7/2023 USD                    $35,595.00 Customer Disbursement
                                                                                         TOTAL                         $35,595.00
        Confidential Customer USD Transferee #1505         [Address on File]           6/1/2023 USD                     $3,026.76 Customer Disbursement
                                                                                         TOTAL                          $3,026.76
        Confidential Customer USD Transferee #1506         [Address on File]          5/18/2023 USD                     $5,519.00 Customer Disbursement
                                                                                         TOTAL                          $5,519.00
        Confidential Customer USD Transferee #1507         [Address on File]          6/16/2023 USD                    $98,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1507         [Address on File]          6/16/2023 USD                    $41,110.72 Customer Disbursement
                                                                                         TOTAL                        $139,110.72
        Confidential Customer USD Transferee #1508         [Address on File]           6/9/2023 USD                   $250,000.00 Customer Disbursement
                                                                                         TOTAL                        $250,000.00
        Confidential Customer USD Transferee #1509         [Address on File]          6/12/2023 USD                       $612.14 Customer Disbursement
        Confidential Customer USD Transferee #1509         [Address on File]           6/5/2023 USD                       $200.00 Customer Disbursement
                                                                                         TOTAL                           $812.14
        Confidential Customer USD Transferee #1510         [Address on File]           6/8/2023 USD                       $395.00 Customer Disbursement
                                                                                         TOTAL                           $395.00
        Confidential Customer USD Transferee #1511         [Address on File]          6/16/2023 USD                     $2,594.42 Customer Disbursement
                                                                                         TOTAL                          $2,594.42
        Confidential Customer USD Transferee #1512         [Address on File]          6/16/2023 USD                     $1,093.98 Customer Disbursement
        Confidential Customer USD Transferee #1512         [Address on File]           6/2/2023 USD                    $29,120.00 Customer Disbursement
                                                                                         TOTAL                         $30,213.98
        Confidential Customer USD Transferee #1511         [Address on File]           6/2/2023 USD                     $7,265.81 Customer Disbursement
                                                                                         TOTAL                          $7,265.81
        Confidential Customer USD Transferee #1513         [Address on File]          5/22/2023 USD                        $10.00 Customer Disbursement

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #1513   [Address on File]        5/19/2023 USD                        $20.00 Customer Disbursement
        Confidential Customer USD Transferee #1513   [Address on File]        5/19/2023 USD                        $10.00 Customer Disbursement
                                                                                 TOTAL                             $40.00
        Confidential Customer USD Transferee #1514   [Address on File]        6/12/2023 USD                       $157.01 Customer Disbursement
                                                                                 TOTAL                            $157.01
                                                     [Address on File]
        Confidential Customer USD Transferee #1515                              5/23/2023 USD                         $30.00 Customer Disbursement
                                                                                   TOTAL                              $30.00
        Confidential Customer USD Transferee #1516   [Address on File]           6/7/2023 USD                        $333.19 Customer Disbursement
                                                                                   TOTAL                            $333.19
        Confidential Customer USD Transferee #1517   [Address on File]          6/21/2023 USD                      $2,491.43 Customer Disbursement
                                                                                   TOTAL                           $2,491.43
        Confidential Customer USD Transferee #1518   [Address on File]           6/1/2023 USD                        $900.00 Customer Disbursement
        Confidential Customer USD Transferee #1518   [Address on File]           6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1518   [Address on File]          5/30/2023 USD                      $1,163.00 Customer Disbursement
        Confidential Customer USD Transferee #1518   [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $8,063.00
        Confidential Customer USD Transferee #1519   [Address on File]           6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1519   [Address on File]           6/6/2023 USD                      $1,653.09 Customer Disbursement
        Confidential Customer USD Transferee #1519   [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1519   [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                          $10,653.09
        Confidential Customer USD Transferee #1520   [Address on File]          5/16/2023 USD                      $6,845.00 Customer Disbursement
                                                                                   TOTAL                           $6,845.00
        Confidential Customer USD Transferee #1521   [Address on File]          5/16/2023 USD                        $995.00 Customer Disbursement
                                                                                   TOTAL                            $995.00
        Confidential Customer USD Transferee #1522   [Address on File]           6/5/2023 USD                        $400.00 Customer Disbursement
                                                                                   TOTAL                            $400.00
        Confidential Customer USD Transferee #1523   [Address on File]          5/30/2023 USD                      $1,425.00 Customer Disbursement
        Confidential Customer USD Transferee #1523   [Address on File]          5/18/2023 USD                      $1,425.00 Customer Disbursement
                                                                                   TOTAL                           $2,850.00
        Confidential Customer USD Transferee #1524   [Address on File]          5/23/2023 USD                         $20.21 Customer Disbursement
                                                                                   TOTAL                              $20.21


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                                                                                                                                  Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount           Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1525                                     6/5/2023 USD                     $7,537.52 Customer Disbursement
                                                                                         TOTAL                          $7,537.52
        Confidential Customer USD Transferee #1526         [Address on File]          6/15/2023 USD                    $19,000.38 Customer Disbursement
                                                                                         TOTAL                         $19,000.38
        Confidential Customer USD Transferee #1527         [Address on File]          5/16/2023 USD                       $100.00 Customer Disbursement
                                                                                         TOTAL                           $100.00
        Confidential Customer USD Transferee #1528         [Address on File]          5/24/2023 USD                        $86.70 Customer Disbursement
        Confidential Customer USD Transferee #1528         [Address on File]          5/17/2023 USD                       $292.95 Customer Disbursement
                                                                                         TOTAL                           $379.65
        Confidential Customer USD Transferee #1529         [Address on File]          6/12/2023 USD                       $199.24 Customer Disbursement
                                                                                         TOTAL                           $199.24
        Confidential Customer USD Transferee #1530         [Address on File]           6/6/2023 USD                     $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1530         [Address on File]          5/23/2023 USD                     $3,000.00 Customer Disbursement
                                                                                         TOTAL                          $5,000.00
        Confidential Customer USD Transferee #1531         [Address on File]          5/23/2023 USD                        $17.00 Customer Disbursement
                                                                                         TOTAL                             $17.00
        Confidential Customer USD Transferee #1532         [Address on File]          5/23/2023 USD                        $10.00 Customer Disbursement
                                                                                         TOTAL                             $10.00
        Confidential Customer USD Transferee #1533         [Address on File]          6/16/2023 USD                   $130,308.28 Customer Disbursement
                                                                                         TOTAL                        $130,308.28
        Confidential Customer USD Transferee #1534         [Address on File]          6/16/2023 USD                    $59,943.10 Customer Disbursement
        Confidential Customer USD Transferee #1534         [Address on File]          6/15/2023 USD                     $5,000.00 Customer Disbursement
                                                                                         TOTAL                         $64,943.10
        Confidential Customer USD Transferee #1535         [Address on File]           6/7/2023 USD                     $6,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1535         [Address on File]           6/7/2023 USD                       $350.00 Customer Disbursement
                                                                                         TOTAL                          $6,350.00
        Confidential Customer USD Transferee #1536         [Address on File]           6/8/2023 USD                        $37.70 Customer Disbursement
                                                                                         TOTAL                             $37.70
        Confidential Customer USD Transferee #1537         [Address on File]           6/8/2023 USD                     $7,515.00 Customer Disbursement
        Confidential Customer USD Transferee #1537         [Address on File]           6/5/2023 USD                     $9,064.30 Customer Disbursement
        Confidential Customer USD Transferee #1537         [Address on File]           6/5/2023 USD                         $8.00 Customer Disbursement
        Confidential Customer USD Transferee #1537         [Address on File]           6/1/2023 USD                     $2,493.25 Customer Disbursement
        Confidential Customer USD Transferee #1537         [Address on File]          5/31/2023 USD                        $90.00 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                         $19,170.55
        Confidential Customer USD Transferee #1538         [Address on File]         6/6/2023 USD                       $659.07 Customer Disbursement
                                                                                       TOTAL                            $659.07
        Confidential Customer USD Transferee #1539         [Address on File]        5/23/2023 USD                         $5.31 Customer Disbursement
                                                                                       TOTAL                              $5.31
        Confidential Customer USD Transferee #1540         [Address on File]        6/20/2023 USD                       $806.18 Customer Disbursement
                                                                                       TOTAL                            $806.18
        Confidential Customer USD Transferee #1541         [Address on File]        6/21/2023 USD                       $340.00 Customer Disbursement
        Confidential Customer USD Transferee #1541         [Address on File]        6/20/2023 USD                       $500.00 Customer Disbursement
                                                                                       TOTAL                            $840.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1542                                    6/21/2023 USD                        $34.15 Customer Disbursement
                                                                                         TOTAL                             $34.15
        Confidential Customer USD Transferee #1543         [Address on File]          6/16/2023 USD                     $7,587.90 Customer Disbursement
                                                                                         TOTAL                          $7,587.90
        Confidential Customer USD Transferee #1544         [Address on File]          5/16/2023 USD                     $2,000.00 Customer Disbursement
                                                                                         TOTAL                          $2,000.00
        Confidential Customer USD Transferee #1545         [Address on File]          6/21/2023 USD                       $270.31 Customer Disbursement
                                                                                         TOTAL                           $270.31
        Confidential Customer USD Transferee #1546         [Address on File]           6/6/2023 USD                        $94.53 Customer Disbursement
                                                                                         TOTAL                             $94.53
        Confidential Customer USD Transferee #1547         [Address on File]          6/13/2023 USD                     $1,099.72 Customer Disbursement
                                                                                         TOTAL                          $1,099.72
        Confidential Customer USD Transferee #1548         [Address on File]          6/21/2023 USD                   $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548         [Address on File]          6/20/2023 USD                    $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548         [Address on File]          6/20/2023 USD                     $1,652.10 Customer Disbursement
        Confidential Customer USD Transferee #1548         [Address on File]          6/20/2023 USD                    $40,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548         [Address on File]          6/20/2023 USD                     $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548         [Address on File]          6/16/2023 USD                    $11,545.58 Customer Disbursement
        Confidential Customer USD Transferee #1548         [Address on File]          6/16/2023 USD                       $133.94 Customer Disbursement
        Confidential Customer USD Transferee #1548         [Address on File]          6/15/2023 USD                       $350.00 Customer Disbursement
        Confidential Customer USD Transferee #1548         [Address on File]          6/15/2023 USD                     $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548         [Address on File]          6/15/2023 USD                     $1,100.00 Customer Disbursement
        Confidential Customer USD Transferee #1548         [Address on File]          6/14/2023 USD                        $50.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1548   [Address on File]        6/13/2023 USD                      $3,055.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        6/13/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        6/13/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        6/13/2023 USD                        $870.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        6/12/2023 USD                    $968,509.50 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]         6/8/2023 USD                      $4,400.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]         6/8/2023 USD                        $740.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]         6/6/2023 USD                      $9,500.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]         6/6/2023 USD                        $325.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]         6/6/2023 USD                      $1,200.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]         6/6/2023 USD                        $350.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]         6/5/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]         6/2/2023 USD                     $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]         6/2/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/31/2023 USD                      $2,929.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/31/2023 USD                     $15,600.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/30/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/30/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/30/2023 USD                        $539.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/26/2023 USD                      $8,300.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/26/2023 USD                      $1,300.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/26/2023 USD                  $1,200,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/24/2023 USD                      $2,500.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/24/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/24/2023 USD                      $5,400.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/19/2023 USD                      $1,502.23 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/19/2023 USD                      $2,867.15 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/19/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/19/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/18/2023 USD                        $514.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/17/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/17/2023 USD                      $8,700.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/17/2023 USD                     $50,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/17/2023 USD                     $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/16/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/16/2023 USD                      $2,500.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1548   [Address on File]        5/16/2023 USD                    $105,310.00 Customer Disbursement
        Confidential Customer USD Transferee #1548   [Address on File]        5/16/2023 USD                      $2,500.00 Customer Disbursement
                                                                                 TOTAL                       $2,602,842.50
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/21/2023 USD                 $1,000,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/20/2023 USD                      $5,700.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/20/2023 USD                      $1,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/20/2023 USD                      $1,225.89 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/20/2023 USD                        $684.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/20/2023 USD                   $522,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/16/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/16/2023 USD                      $3,550.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/16/2023 USD                      $2,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/15/2023 USD                      $2,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/15/2023 USD                     $10,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/14/2023 USD                      $5,392.63 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/13/2023 USD                      $2,250.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/13/2023 USD                      $6,500.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/13/2023 USD                      $3,993.20 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1549                              6/13/2023 USD                     $30,000.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    6/13/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    6/12/2023 USD                      $4,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/9/2023 USD                        $900.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/9/2023 USD                        $300.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/9/2023 USD                     $45,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/8/2023 USD                     $27,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/8/2023 USD                      $2,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/7/2023 USD                      $2,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/6/2023 USD                      $1,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/6/2023 USD                      $2,186.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/6/2023 USD                        $115.63 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/6/2023 USD                        $576.87 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/6/2023 USD                     $17,171.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/6/2023 USD                     $18,442.69 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/6/2023 USD                        $787.30 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/5/2023 USD                        $950.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/2/2023 USD                        $400.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/2/2023 USD                      $3,831.20 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/2/2023 USD                     $13,850.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                     6/1/2023 USD                        $250.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/31/2023 USD                     $13,792.61 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/30/2023 USD                      $1,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/30/2023 USD                      $1,481.77 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/26/2023 USD                     $11,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/25/2023 USD                        $259.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/25/2023 USD                        $489.11 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/24/2023 USD                      $6,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/23/2023 USD                      $3,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/23/2023 USD                     $10,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/19/2023 USD                      $6,600.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/19/2023 USD                        $328.43 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/19/2023 USD                        $103.34 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/19/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/19/2023 USD                     $12,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/18/2023 USD                      $2,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/17/2023 USD                      $6,632.37 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/17/2023 USD                        $162.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/17/2023 USD                     $10,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/17/2023 USD                      $2,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1549                                    5/17/2023 USD                       $300.00 Customer Disbursement
                                                                                         TOTAL                      $1,847,605.04
        Confidential Customer USD Transferee #1550         [Address on File]           6/9/2023 USD                     $2,664.07 Customer Disbursement
                                                                                         TOTAL                          $2,664.07
        Confidential Customer USD Transferee #1551         [Address on File]           6/2/2023 USD                     $8,377.29 Customer Disbursement
        Confidential Customer USD Transferee #1551         [Address on File]          5/31/2023 USD                         $4.80 Customer Disbursement
        Confidential Customer USD Transferee #1551         [Address on File]          5/31/2023 USD                         $4.80 Customer Disbursement
                                                                                         TOTAL                          $8,386.89
        Confidential Customer USD Transferee #1552         [Address on File]          5/24/2023 USD                       $111.92 Customer Disbursement
                                                                                         TOTAL                           $111.92
        Confidential Customer USD Transferee #1553         [Address on File]           6/1/2023 USD                        $60.17 Customer Disbursement
        Confidential Customer USD Transferee #1553         [Address on File]          5/19/2023 USD                       $436.04 Customer Disbursement
        Confidential Customer USD Transferee #1553         [Address on File]          5/19/2023 USD                       $180.00 Customer Disbursement
                                                                                         TOTAL                           $676.21
        Confidential Customer USD Transferee #1554         [Address on File]          5/25/2023 USD                        $22.00 Customer Disbursement
                                                                                         TOTAL                             $22.00
        Confidential Customer USD Transferee #1555         [Address on File]          5/23/2023 USD                     $1,140.64 Customer Disbursement
        Confidential Customer USD Transferee #1555         [Address on File]          5/16/2023 USD                       $356.82 Customer Disbursement
                                                                                         TOTAL                          $1,497.46
        Confidential Customer USD Transferee #1556         [Address on File]          5/16/2023 USD                    $36,092.00 Customer Disbursement
                                                                                         TOTAL                         $36,092.00
        Confidential Customer USD Transferee #1557         [Address on File]          5/30/2023 USD                        $79.61 Customer Disbursement
                                                                                         TOTAL                             $79.61
        Confidential Customer USD Transferee #1558         [Address on File]          6/22/2023 USD                     $1,472.34 Customer Disbursement
        Confidential Customer USD Transferee #1558         [Address on File]          6/15/2023 USD                    $20,000.00 Customer Disbursement
                                                                                         TOTAL                         $21,472.34
        Confidential Customer USD Transferee #1559         [Address on File]          6/15/2023 USD                    $12,000.00 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                         $12,000.00
        Confidential Customer USD Transferee #1560         [Address on File]        6/12/2023 USD                       $920.07 Customer Disbursement
                                                                                       TOTAL                            $920.07
        Confidential Customer USD Transferee #1561         [Address on File]        6/21/2023 USD                         $5.42 Customer Disbursement
                                                                                       TOTAL                              $5.42
        Confidential Customer USD Transferee #1562         [Address on File]         6/6/2023 USD                        $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1562         [Address on File]        5/16/2023 USD                        $10.00 Customer Disbursement
                                                                                       TOTAL                             $60.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1563                                     6/5/2023 USD                        $116.45 Customer Disbursement
                                                                                         TOTAL                            $116.45
        Confidential Customer USD Transferee #1564         [Address on File]           6/5/2023 USD                        $436.10 Customer Disbursement
        Confidential Customer USD Transferee #1564         [Address on File]          5/30/2023 USD                        $340.00 Customer Disbursement
        Confidential Customer USD Transferee #1564         [Address on File]          5/23/2023 USD                        $350.00 Customer Disbursement
                                                                                         TOTAL                           $1,126.10
        Confidential Customer USD Transferee #1565         [Address on File]           6/8/2023 USD                      $1,750.26 Customer Disbursement
                                                                                         TOTAL                           $1,750.26
        Confidential Customer USD Transferee #1566         [Address on File]          6/21/2023 USD                        $400.00 Customer Disbursement
                                                                                         TOTAL                            $400.00
        Confidential Customer USD Transferee #1567         [Address on File]          6/22/2023 USD                        $133.00 Customer Disbursement
                                                                                         TOTAL                            $133.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1568                                    5/25/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #1569         [Address on File]          5/31/2023 USD                         $46.75 Customer Disbursement
        Confidential Customer USD Transferee #1569         [Address on File]          5/25/2023 USD                         $99.50 Customer Disbursement
                                                                                         TOTAL                            $146.25
        Confidential Customer USD Transferee #1570         [Address on File]           6/5/2023 USD                         $72.26 Customer Disbursement
                                                                                         TOTAL                              $72.26
        Confidential Customer USD Transferee #1571         [Address on File]          6/12/2023 USD                      $1,735.86 Customer Disbursement
                                                                                         TOTAL                           $1,735.86
        Confidential Customer USD Transferee #1572         [Address on File]          5/23/2023 USD                        $104.64 Customer Disbursement
                                                                                         TOTAL                            $104.64
        Confidential Customer USD Transferee #1573         [Address on File]          6/21/2023 USD                     $13,941.69 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1573   [Address on File]        6/16/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $33,941.69
        Confidential Customer USD Transferee #1574   [Address on File]        5/31/2023 USD                      $1,050.65 Customer Disbursement
        Confidential Customer USD Transferee #1574   [Address on File]        5/25/2023 USD                      $1,813.45 Customer Disbursement
                                                                                 TOTAL                           $2,864.10
        Confidential Customer USD Transferee #1575   [Address on File]        5/23/2023 USD                      $1,323.25 Customer Disbursement
                                                                                 TOTAL                           $1,323.25
        Confidential Customer USD Transferee #1576   [Address on File]        6/12/2023 USD                          $9.27 Customer Disbursement
                                                                                 TOTAL                               $9.27
        Confidential Customer USD Transferee #1577   [Address on File]        6/20/2023 USD                        $300.00 Customer Disbursement
                                                                                 TOTAL                            $300.00
        Confidential Customer USD Transferee #1578   [Address on File]        5/31/2023 USD                        $437.00 Customer Disbursement
                                                                                 TOTAL                            $437.00
        Confidential Customer USD Transferee #1579   [Address on File]        6/21/2023 USD                      $3,463.13 Customer Disbursement
                                                                                 TOTAL                           $3,463.13
        Confidential Customer USD Transferee #1580   [Address on File]         6/6/2023 USD                    $10,848.00 Customer Disbursement
        Confidential Customer USD Transferee #1580   [Address on File]         6/6/2023 USD                        $316.00 Customer Disbursement
                                                                                 TOTAL                         $11,164.00
        Confidential Customer USD Transferee #1581   [Address on File]        6/20/2023 USD                        $125.00 Customer Disbursement
                                                                                 TOTAL                            $125.00
        Confidential Customer USD Transferee #1582   [Address on File]         6/6/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1583   [Address on File]         6/9/2023 USD                      $1,985.00 Customer Disbursement
                                                                                 TOTAL                           $1,985.00
        Confidential Customer USD Transferee #1584   [Address on File]         6/2/2023 USD                        $397.31 Customer Disbursement
                                                                                 TOTAL                            $397.31
        Confidential Customer USD Transferee #1585   [Address on File]        6/21/2023 USD                        $233.07 Customer Disbursement
                                                                                 TOTAL                            $233.07
                                                     [Address on File]
        Confidential Customer USD Transferee #1586                              5/31/2023 USD                        $150.00 Customer Disbursement
                                                                                   TOTAL                            $150.00
        Confidential Customer USD Transferee #1587   [Address on File]          6/20/2023 USD                         $31.00 Customer Disbursement
        Confidential Customer USD Transferee #1587   [Address on File]          6/20/2023 USD                      $2,110.57 Customer Disbursement
                                                                                   TOTAL                           $2,141.57

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1588   [Address on File]        5/17/2023 USD                        $268.54 Customer Disbursement
                                                                                 TOTAL                            $268.54
        Confidential Customer USD Transferee #1589   [Address on File]        5/31/2023 USD                          $0.01 Customer Disbursement
                                                                                 TOTAL                               $0.01
        Confidential Customer USD Transferee #1590   [Address on File]        5/31/2023 USD                        $247.50 Customer Disbursement
                                                                                 TOTAL                            $247.50
        Confidential Customer USD Transferee #1591   [Address on File]         6/5/2023 USD                        $673.46 Customer Disbursement
                                                                                 TOTAL                            $673.46
        Confidential Customer USD Transferee #1592   [Address on File]        6/12/2023 USD                        $590.96 Customer Disbursement
                                                                                 TOTAL                            $590.96
        Confidential Customer USD Transferee #1593   [Address on File]        6/21/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #1593   [Address on File]        6/21/2023 USD                        $728.18 Customer Disbursement
                                                                                 TOTAL                            $828.18
        Confidential Customer USD Transferee #1594   [Address on File]         6/1/2023 USD                        $188.56 Customer Disbursement
        Confidential Customer USD Transferee #1594   [Address on File]        5/23/2023 USD                        $300.00 Customer Disbursement
                                                                                 TOTAL                            $488.56
        Confidential Customer USD Transferee #1595   [Address on File]        6/20/2023 USD                         $17.29 Customer Disbursement
        Confidential Customer USD Transferee #1595   [Address on File]        6/13/2023 USD                      $9,500.00 Customer Disbursement
        Confidential Customer USD Transferee #1595   [Address on File]        6/13/2023 USD                      $4,910.00 Customer Disbursement
        Confidential Customer USD Transferee #1595   [Address on File]        6/12/2023 USD                      $4,857.00 Customer Disbursement
        Confidential Customer USD Transferee #1595   [Address on File]        5/30/2023 USD                        $147.00 Customer Disbursement
        Confidential Customer USD Transferee #1595   [Address on File]        5/25/2023 USD                        $245.90 Customer Disbursement
                                                                                 TOTAL                         $19,677.19
        Confidential Customer USD Transferee #1596   [Address on File]        5/26/2023 USD                      $1,009.28 Customer Disbursement
        Confidential Customer USD Transferee #1596   [Address on File]        5/24/2023 USD                      $1,297.55 Customer Disbursement
                                                                                 TOTAL                           $2,306.83
        Confidential Customer USD Transferee #1597   [Address on File]         6/2/2023 USD                         $35.00 Customer Disbursement
        Confidential Customer USD Transferee #1597   [Address on File]        5/26/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #1597   [Address on File]        5/16/2023 USD                        $115.00 Customer Disbursement
                                                                                 TOTAL                            $250.00
        Confidential Customer USD Transferee #1598   [Address on File]        5/23/2023 USD                        $280.00 Customer Disbursement
                                                                                 TOTAL                            $280.00
        Confidential Customer USD Transferee #1599   [Address on File]        5/16/2023 USD                        $200.00 Customer Disbursement
                                                                                 TOTAL                            $200.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1600   [Address on File]         6/5/2023 USD                      $1,232.79 Customer Disbursement
                                                                                 TOTAL                           $1,232.79
        Confidential Customer USD Transferee #1601   [Address on File]        6/12/2023 USD                         $30.60 Customer Disbursement
                                                                                 TOTAL                              $30.60
        Confidential Customer USD Transferee #1602   [Address on File]        5/31/2023 USD                      $1,051.90 Customer Disbursement
                                                                                 TOTAL                           $1,051.90
                                                     [Address on File]
        Confidential Customer USD Transferee #1603                              5/19/2023 USD                        $113.02 Customer Disbursement
                                                                                   TOTAL                            $113.02
        Confidential Customer USD Transferee #1604   [Address on File]          6/20/2023 USD                      $3,815.44 Customer Disbursement
                                                                                   TOTAL                           $3,815.44
        Confidential Customer USD Transferee #1605   [Address on File]          6/12/2023 USD                        $145.72 Customer Disbursement
                                                                                   TOTAL                            $145.72
        Confidential Customer USD Transferee #1606   [Address on File]          5/26/2023 USD                        $553.93 Customer Disbursement
                                                                                   TOTAL                            $553.93
        Confidential Customer USD Transferee #1607   [Address on File]          5/26/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #1607   [Address on File]          5/19/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1608                              6/20/2023 USD                          $6.00 Customer Disbursement
                                                                                   TOTAL                               $6.00
        Confidential Customer USD Transferee #1609   [Address on File]          5/31/2023 USD                        $281.00 Customer Disbursement
                                                                                   TOTAL                            $281.00
        Confidential Customer USD Transferee #1610   [Address on File]          5/16/2023 USD                      $2,000.00 Customer Disbursement
                                                                                   TOTAL                           $2,000.00
        Confidential Customer USD Transferee #1611   [Address on File]          5/23/2023 USD                        $616.71 Customer Disbursement
                                                                                   TOTAL                            $616.71
        Confidential Customer USD Transferee #1612   [Address on File]          6/21/2023 USD                      $3,293.92 Customer Disbursement
        Confidential Customer USD Transferee #1612   [Address on File]          5/23/2023 USD                     $10,405.75 Customer Disbursement
                                                                                   TOTAL                          $13,699.67
        Confidential Customer USD Transferee #1613   [Address on File]          6/21/2023 USD                      $1,655.97 Customer Disbursement
                                                                                   TOTAL                           $1,655.97
        Confidential Customer USD Transferee #1614   [Address on File]          6/21/2023 USD                        $202.00 Customer Disbursement
                                                                                   TOTAL                            $202.00

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #1615   [Address on File]        5/31/2023 USD                        $40.00 Customer Disbursement
        Confidential Customer USD Transferee #1615   [Address on File]        5/31/2023 USD                        $20.00 Customer Disbursement
        Confidential Customer USD Transferee #1615   [Address on File]        5/23/2023 USD                        $60.00 Customer Disbursement
        Confidential Customer USD Transferee #1615   [Address on File]        5/23/2023 USD                        $40.00 Customer Disbursement
                                                                                 TOTAL                            $160.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1616                               6/7/2023 USD                      $1,200.00 Customer Disbursement
                                                                                   TOTAL                           $1,200.00
        Confidential Customer USD Transferee #1617   [Address on File]           6/6/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #1617   [Address on File]          5/26/2023 USD                         $78.19 Customer Disbursement
                                                                                   TOTAL                            $278.19
                                                     [Address on File]
        Confidential Customer USD Transferee #1618                              5/17/2023 USD                         $10.33 Customer Disbursement
                                                                                   TOTAL                              $10.33
        Confidential Customer USD Transferee #1619   [Address on File]          6/21/2023 USD                        $119.54 Customer Disbursement
                                                                                   TOTAL                            $119.54
        Confidential Customer USD Transferee #1620   [Address on File]           6/1/2023 USD                      $1,800.00 Customer Disbursement
                                                                                   TOTAL                           $1,800.00
        Confidential Customer USD Transferee #1621   [Address on File]          6/13/2023 USD                      $2,007.62 Customer Disbursement
                                                                                   TOTAL                           $2,007.62
        Confidential Customer USD Transferee #1622   [Address on File]          6/21/2023 USD                         $43.19 Customer Disbursement
                                                                                   TOTAL                              $43.19
        Confidential Customer USD Transferee #1623   [Address on File]          5/23/2023 USD                        $608.33 Customer Disbursement
                                                                                   TOTAL                            $608.33
                                                     [Address on File]
        Confidential Customer USD Transferee #1624                              6/20/2023 USD                          $2.42 Customer Disbursement
                                                                                   TOTAL                               $2.42
        Confidential Customer USD Transferee #1625   [Address on File]          5/22/2023 USD                        $914.00 Customer Disbursement
                                                                                   TOTAL                             $914.00
        Confidential Customer USD Transferee #1626   [Address on File]          6/13/2023 USD                        $892.43 Customer Disbursement
                                                                                   TOTAL                             $892.43
        Confidential Customer USD Transferee #1627   [Address on File]           6/8/2023 USD                        $315.00 Customer Disbursement
                                                                                   TOTAL                             $315.00
        Confidential Customer USD Transferee #1628   [Address on File]          5/24/2023 USD                        $200.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1628   [Address on File]        5/24/2023 USD                        $610.54 Customer Disbursement
        Confidential Customer USD Transferee #1628   [Address on File]        5/23/2023 USD                        $145.00 Customer Disbursement
        Confidential Customer USD Transferee #1628   [Address on File]        5/16/2023 USD                        $250.00 Customer Disbursement
                                                                                 TOTAL                           $1,205.54
        Confidential Customer USD Transferee #1629   [Address on File]        6/21/2023 USD                      $1,060.38 Customer Disbursement
                                                                                 TOTAL                           $1,060.38
        Confidential Customer USD Transferee #1630   [Address on File]        5/25/2023 USD                        $400.00 Customer Disbursement
                                                                                 TOTAL                            $400.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                              6/21/2023 USD                     $50,525.38 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                              6/20/2023 USD                   $550,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                              6/20/2023 USD                   $900,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                               6/7/2023 USD                   $116,024.13 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                               6/1/2023 USD                         $11.03 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                               6/1/2023 USD                        $912.07 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                               6/1/2023 USD                     $12,500.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                               6/1/2023 USD                      $3,494.13 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                              5/25/2023 USD                        $100.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                              5/22/2023 USD                 $1,298,440.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                              5/18/2023 USD                      $7,244.25 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                              5/18/2023 USD                      $2,109.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1631                              5/18/2023 USD                     $2,942.13 Customer Disbursement
                                                                                   TOTAL                      $2,944,302.12

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                    6/20/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                     6/1/2023 USD                        $981.54 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                     6/1/2023 USD                      $1,517.25 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                     6/1/2023 USD                        $110.18 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                    5/25/2023 USD                      $6,600.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                    5/18/2023 USD                     $16,327.13 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                    5/18/2023 USD                      $2,242.08 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                    5/18/2023 USD                     $42,651.78 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                    5/18/2023 USD                      $4,677.10 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                    5/18/2023 USD                     $16,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                    5/18/2023 USD                     $26,106.84 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                    5/18/2023 USD                      $3,227.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                    5/18/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1632                                    5/17/2023 USD                       $100.00 Customer Disbursement
                                                                                         TOTAL                        $240,540.90
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    6/20/2023 USD                   $234,177.04 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    6/16/2023 USD                      $7,085.30 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    6/14/2023 USD                   $100,000.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    6/14/2023 USD                   $249,290.80 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                     6/1/2023 USD                        $102.68 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                     6/1/2023 USD                        $600.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    5/26/2023 USD                        $103.24 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    5/25/2023 USD                     $10,001.73 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    5/24/2023 USD                 $1,078,704.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    5/18/2023 USD                     $68,072.70 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    5/18/2023 USD                     $19,377.02 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    5/18/2023 USD                     $17,125.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    5/18/2023 USD                     $41,738.14 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    5/18/2023 USD                      $2,400.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    5/18/2023 USD                      $5,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1633                                    5/18/2023 USD                       $500.00 Customer Disbursement
                                                                                         TOTAL                      $1,834,277.65
        Confidential Customer USD Transferee #1634         [Address on File]          5/24/2023 USD                    $23,635.98 Customer Disbursement
        Confidential Customer USD Transferee #1634         [Address on File]          6/13/2023 USD                    $22,922.81 Customer Disbursement
        Confidential Customer USD Transferee #1634         [Address on File]          5/31/2023 USD                    $13,441.50 Customer Disbursement
                                                                                         TOTAL                         $60,000.29
        Confidential Customer USD Transferee #1635         [Address on File]          5/24/2023 USD                        $90.00 Customer Disbursement
                                                                                         TOTAL                             $90.00
        Confidential Customer USD Transferee #1636         [Address on File]          6/16/2023 USD                        $35.77 Customer Disbursement
                                                                                         TOTAL                             $35.77

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1637   [Address on File]        6/22/2023 USD                      $5,653.46 Customer Disbursement
                                                                                 TOTAL                           $5,653.46
        Confidential Customer USD Transferee #1638   [Address on File]        5/24/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
        Confidential Customer USD Transferee #1639   [Address on File]         6/8/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                               $5.00
        Confidential Customer USD Transferee #1640   [Address on File]         6/1/2023 USD                         $60.00 Customer Disbursement
                                                                                 TOTAL                              $60.00
        Confidential Customer USD Transferee #1641   [Address on File]        6/21/2023 USD                      $1,187.66 Customer Disbursement
                                                                                 TOTAL                           $1,187.66
        Confidential Customer USD Transferee #1642   [Address on File]        6/20/2023 USD                        $272.62 Customer Disbursement
        Confidential Customer USD Transferee #1642   [Address on File]         6/9/2023 USD                        $271.98 Customer Disbursement
        Confidential Customer USD Transferee #1642   [Address on File]        5/26/2023 USD                        $177.92 Customer Disbursement
        Confidential Customer USD Transferee #1642   [Address on File]        5/25/2023 USD                        $356.17 Customer Disbursement
                                                                                 TOTAL                           $1,078.69
        Confidential Customer USD Transferee #1643   [Address on File]        6/20/2023 USD                         $14.15 Customer Disbursement
        Confidential Customer USD Transferee #1643   [Address on File]        6/16/2023 USD                        $222.00 Customer Disbursement
                                                                                 TOTAL                            $236.15
        Confidential Customer USD Transferee #1644   [Address on File]         6/7/2023 USD                      $2,412.55 Customer Disbursement
                                                                                 TOTAL                           $2,412.55
        Confidential Customer USD Transferee #1645   [Address on File]        6/12/2023 USD                          $1.10 Customer Disbursement
                                                                                 TOTAL                               $1.10
        Confidential Customer USD Transferee #1646   [Address on File]        5/31/2023 USD                        $145.00 Customer Disbursement
                                                                                 TOTAL                            $145.00
        Confidential Customer USD Transferee #1647   [Address on File]        6/15/2023 USD                    $13,509.96 Customer Disbursement
                                                                                 TOTAL                         $13,509.96
        Confidential Customer USD Transferee #1648   [Address on File]        5/19/2023 USD                          $3.25 Customer Disbursement
                                                                                 TOTAL                               $3.25
        Confidential Customer USD Transferee #1649   [Address on File]        6/12/2023 USD                         $14.82 Customer Disbursement
                                                                                 TOTAL                              $14.82
        Confidential Customer USD Transferee #1650   [Address on File]        6/20/2023 USD                      $8,761.63 Customer Disbursement
        Confidential Customer USD Transferee #1650   [Address on File]        6/20/2023 USD                         $32.00 Customer Disbursement
        Confidential Customer USD Transferee #1650   [Address on File]        6/16/2023 USD                          $6.00 Customer Disbursement
                                                                                 TOTAL                           $8,799.63

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1651   [Address on File]         6/7/2023 USD                      $2,563.67 Customer Disbursement
                                                                                 TOTAL                           $2,563.67
        Confidential Customer USD Transferee #1652   [Address on File]        6/14/2023 USD                      $3,047.27 Customer Disbursement
                                                                                 TOTAL                           $3,047.27
        Confidential Customer USD Transferee #1653   [Address on File]        6/16/2023 USD                      $1,688.31 Customer Disbursement
                                                                                 TOTAL                           $1,688.31
        Confidential Customer USD Transferee #1654   [Address on File]         6/5/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1654   [Address on File]        5/23/2023 USD                          $5.02 Customer Disbursement
                                                                                 TOTAL                              $55.02
        Confidential Customer USD Transferee #1655   [Address on File]        5/23/2023 USD                          $1.00 Customer Disbursement
                                                                                 TOTAL                               $1.00
        Confidential Customer USD Transferee #1656   [Address on File]        5/19/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1656   [Address on File]        5/18/2023 USD                          $7.18 Customer Disbursement
        Confidential Customer USD Transferee #1656   [Address on File]        5/18/2023 USD                        $140.00 Customer Disbursement
                                                                                 TOTAL                            $197.18
        Confidential Customer USD Transferee #1657   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
        Confidential Customer USD Transferee #1658   [Address on File]        6/12/2023 USD                      $1,673.18 Customer Disbursement
                                                                                 TOTAL                           $1,673.18
        Confidential Customer USD Transferee #1659   [Address on File]         6/5/2023 USD                        $700.00 Customer Disbursement
        Confidential Customer USD Transferee #1659   [Address on File]         6/1/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1659   [Address on File]        5/30/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                           $2,200.00
        Confidential Customer USD Transferee #1660   [Address on File]        6/21/2023 USD                        $420.63 Customer Disbursement
                                                                                 TOTAL                            $420.63
        Confidential Customer USD Transferee #1661   [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1661   [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1661   [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $9,000.00
        Confidential Customer USD Transferee #1662   [Address on File]        5/24/2023 USD                        $332.91 Customer Disbursement
        Confidential Customer USD Transferee #1662   [Address on File]        5/16/2023 USD                        $533.00 Customer Disbursement
                                                                                 TOTAL                            $865.91
        Confidential Customer USD Transferee #1663   [Address on File]        6/21/2023 USD                         $15.10 Customer Disbursement
                                                                                 TOTAL                              $15.10

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1664   [Address on File]        5/23/2023 USD                         $32.46 Customer Disbursement
                                                                                 TOTAL                              $32.46
        Confidential Customer USD Transferee #1665   [Address on File]        6/20/2023 USD                        $122.00 Customer Disbursement
                                                                                 TOTAL                            $122.00
        Confidential Customer USD Transferee #1666   [Address on File]         6/7/2023 USD                        $105.92 Customer Disbursement
                                                                                 TOTAL                            $105.92
        Confidential Customer USD Transferee #1667   [Address on File]        5/23/2023 USD                        $150.00 Customer Disbursement
                                                                                 TOTAL                            $150.00
        Confidential Customer USD Transferee #1668   [Address on File]         6/5/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #1668   [Address on File]         6/5/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,500.00
        Confidential Customer USD Transferee #1669   [Address on File]        6/20/2023 USD                          $4.04 Customer Disbursement
                                                                                 TOTAL                               $4.04
        Confidential Customer USD Transferee #1670   [Address on File]        5/25/2023 USD                      $3,963.43 Customer Disbursement
                                                                                 TOTAL                           $3,963.43
                                                     [Address on File]
        Confidential Customer USD Transferee #1671                              6/21/2023 USD                     $10,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1671                              6/21/2023 USD                   $199,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1671                              6/21/2023 USD                   $100,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1671                              6/21/2023 USD                   $356,800.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1671                              6/21/2023 USD                     $18,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1671                              6/20/2023 USD                     $39,398.26 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1671                              6/20/2023 USD                     $39,398.26 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1671                              6/20/2023 USD                     $39,398.26 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1671                              6/20/2023 USD                      $1,125.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1671                              6/20/2023 USD                     $20,878.84 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/20/2023 USD                     $50,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/20/2023 USD                   $400,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/20/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/20/2023 USD                      $2,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/15/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/14/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/13/2023 USD                     $71,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/13/2023 USD                   $600,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/12/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/12/2023 USD                     $15,055.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/12/2023 USD                     $14,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    6/12/2023 USD                     $40,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/9/2023 USD                     $64,955.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/8/2023 USD                   $119,916.45 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/8/2023 USD                     $49,855.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/8/2023 USD                   $150,135.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/7/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/7/2023 USD                     $50,000.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/7/2023 USD                     $35,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/6/2023 USD                     $65,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/6/2023 USD                     $28,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/6/2023 USD                      $5,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/5/2023 USD                     $10,560.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/5/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/5/2023 USD                     $45,096.98 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/5/2023 USD                        $600.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/1/2023 USD                     $70,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/1/2023 USD                     $19,931.70 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                     6/1/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/31/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/31/2023 USD                   $110,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/31/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/31/2023 USD                     $30,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/31/2023 USD                     $93,593.89 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/31/2023 USD                     $27,727.45 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/31/2023 USD                   $100,000.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/31/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/31/2023 USD                     $24,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/26/2023 USD                     $99,928.95 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/26/2023 USD                     $63,358.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/25/2023 USD                     $16,110.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/25/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/25/2023 USD                     $35,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/24/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/24/2023 USD                   $150,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/24/2023 USD                     $31,575.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/23/2023 USD                     $10,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/23/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/23/2023 USD                     $10,200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/23/2023 USD                      $5,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/23/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/23/2023 USD                     $48,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/23/2023 USD                     $43,112.33 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/22/2023 USD                     $20,000.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/19/2023 USD                      $3,077.69 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/19/2023 USD                   $150,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/19/2023 USD                     $11,750.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/18/2023 USD                     $38,100.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/18/2023 USD                     $10,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/17/2023 USD                     $45,815.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/17/2023 USD                     $30,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/16/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/16/2023 USD                     $22,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/16/2023 USD                     $22,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/16/2023 USD                     $28,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1671                                    5/16/2023 USD                    $40,000.00 Customer Disbursement
                                                                                         TOTAL                      $4,908,952.06
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/21/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/21/2023 USD                     $33,460.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/20/2023 USD                   $106,735.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/20/2023 USD                     $47,875.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/20/2023 USD                     $67,320.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/20/2023 USD                     $44,225.09 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/20/2023 USD                     $34,726.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/16/2023 USD                      $8,440.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/14/2023 USD                   $307,800.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/14/2023 USD                     $40,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/14/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/13/2023 USD                     $40,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/12/2023 USD                     $10,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    6/12/2023 USD                      $1,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/9/2023 USD                   $150,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/8/2023 USD                   $175,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/8/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/8/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/7/2023 USD                   $783,936.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/7/2023 USD                   $200,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/7/2023 USD                     $89,167.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/7/2023 USD                   $200,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/6/2023 USD                   $162,500.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/6/2023 USD                     $45,725.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/6/2023 USD                   $200,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/5/2023 USD                   $255,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/5/2023 USD                     $82,112.66 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/1/2023 USD                     $60,212.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/1/2023 USD                     $12,460.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/1/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/1/2023 USD                     $30,002.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                     6/1/2023 USD                      $7,540.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/31/2023 USD                     $20,054.11 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/31/2023 USD                     $84,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/31/2023 USD                     $20,054.11 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/31/2023 USD                     $20,054.11 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/31/2023 USD                     $70,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/31/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/26/2023 USD                   $175,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/26/2023 USD                     $39,200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/25/2023 USD                     $16,040.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/25/2023 USD                      $3,400.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/25/2023 USD                     $14,900.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/25/2023 USD                     $30,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/25/2023 USD                     $16,045.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/24/2023 USD                     $46,320.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/24/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/24/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/23/2023 USD                     $10,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/23/2023 USD                     $30,900.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/23/2023 USD                     $28,146.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/19/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/19/2023 USD                     $90,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/19/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/19/2023 USD                   $200,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/18/2023 USD                      $1,125.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/17/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/17/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/17/2023 USD                     $10,000.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/16/2023 USD                     $60,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/16/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1672                                    5/16/2023 USD                    $13,678.00 Customer Disbursement
                                                                                         TOTAL                      $5,004,152.08
        Confidential Customer USD Transferee #1673         [Address on File]          5/31/2023 USD                        $80.00 Customer Disbursement
                                                                                         TOTAL                             $80.00
        Confidential Customer USD Transferee #1674         [Address on File]          5/23/2023 USD                       $143.14 Customer Disbursement
                                                                                         TOTAL                           $143.14
        Confidential Customer USD Transferee #1675         [Address on File]          5/25/2023 USD                       $124.51 Customer Disbursement
                                                                                         TOTAL                           $124.51
                                                           [Address on File]
        Confidential Customer USD Transferee #1676                                    6/13/2023 USD                      $1,505.37 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1676                                    5/30/2023 USD                     $13,514.27 Customer Disbursement
                                                                                         TOTAL                          $15,019.64
        Confidential Customer USD Transferee #1677         [Address on File]          6/16/2023 USD                         $34.16 Customer Disbursement
                                                                                         TOTAL                              $34.16
        Confidential Customer USD Transferee #1678         [Address on File]           6/7/2023 USD                        $658.91 Customer Disbursement
                                                                                         TOTAL                            $658.91
        Confidential Customer USD Transferee #1679         [Address on File]           6/5/2023 USD                      $1,792.37 Customer Disbursement
                                                                                         TOTAL                           $1,792.37
        Confidential Customer USD Transferee #1680         [Address on File]          5/31/2023 USD                         $43.00 Customer Disbursement
                                                                                         TOTAL                              $43.00
        Confidential Customer USD Transferee #1681         [Address on File]          5/25/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1681         [Address on File]          5/25/2023 USD                        $679.55 Customer Disbursement
                                                                                         TOTAL                           $3,679.55
                                                           [Address on File]
        Confidential Customer USD Transferee #1682                                    5/17/2023 USD                     $21,919.74 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1682                                    5/16/2023 USD                     $48,000.00 Customer Disbursement
                                                                                         TOTAL                          $69,919.74

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #1683   [Address on File]         6/1/2023 USD                       $348.84 Customer Disbursement
                                                                                 TOTAL                            $348.84
        Confidential Customer USD Transferee #1684   [Address on File]        6/21/2023 USD                    $13,471.87 Customer Disbursement
                                                                                 TOTAL                         $13,471.87
                                                     [Address on File]
        Confidential Customer USD Transferee #1685                              5/24/2023 USD                      $1,250.00 Customer Disbursement
                                                                                   TOTAL                           $1,250.00
        Confidential Customer USD Transferee #1686   [Address on File]          5/31/2023 USD                      $1,240.75 Customer Disbursement
        Confidential Customer USD Transferee #1686   [Address on File]          5/23/2023 USD                      $2,963.41 Customer Disbursement
                                                                                   TOTAL                           $4,204.16
                                                     [Address on File]
        Confidential Customer USD Transferee #1687                              5/16/2023 USD                      $1,784.86 Customer Disbursement
                                                                                   TOTAL                           $1,784.86
                                                     [Address on File]
        Confidential Customer USD Transferee #1688                              5/26/2023 USD                      $4,817.90 Customer Disbursement
                                                                                   TOTAL                           $4,817.90
        Confidential Customer USD Transferee #1689   [Address on File]          6/21/2023 USD                      $1,379.00 Customer Disbursement
        Confidential Customer USD Transferee #1689   [Address on File]          6/20/2023 USD                         $17.00 Customer Disbursement
                                                                                   TOTAL                           $1,396.00
        Confidential Customer USD Transferee #1690   [Address on File]          5/24/2023 USD                        $102.61 Customer Disbursement
                                                                                   TOTAL                            $102.61
        Confidential Customer USD Transferee #1691   [Address on File]          5/16/2023 USD                        $414.29 Customer Disbursement
                                                                                   TOTAL                            $414.29
        Confidential Customer USD Transferee #1692   [Address on File]           6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1692   [Address on File]          5/25/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1692   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1692   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1692   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1692   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1692   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1692   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1692   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1692   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1692   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1692   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                         $35,000.00
        Confidential Customer USD Transferee #1693         [Address on File]        5/31/2023 USD                        $420.00 Customer Disbursement
        Confidential Customer USD Transferee #1693         [Address on File]        5/31/2023 USD                        $210.00 Customer Disbursement
                                                                                       TOTAL                            $630.00
        Confidential Customer USD Transferee #1694         [Address on File]         6/5/2023 USD                        $300.00 Customer Disbursement
                                                                                       TOTAL                            $300.00
        Confidential Customer USD Transferee #1695         [Address on File]        6/15/2023 USD                    $10,626.03 Customer Disbursement
                                                                                       TOTAL                         $10,626.03
        Confidential Customer USD Transferee #1696         [Address on File]         6/6/2023 USD                      $3,045.18 Customer Disbursement
                                                                                       TOTAL                           $3,045.18
        Confidential Customer USD Transferee #1697         [Address on File]        5/16/2023 USD                        $350.00 Customer Disbursement
                                                                                       TOTAL                            $350.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1698                                     6/6/2023 USD                          $8.00 Customer Disbursement
                                                                                         TOTAL                               $8.00
        Confidential Customer USD Transferee #1699         [Address on File]          5/22/2023 USD                        $641.79 Customer Disbursement
                                                                                         TOTAL                            $641.79
        Confidential Customer USD Transferee #1700         [Address on File]          5/30/2023 USD                        $109.25 Customer Disbursement
                                                                                         TOTAL                            $109.25
        Confidential Customer USD Transferee #1701         [Address on File]          6/16/2023 USD                      $2,600.05 Customer Disbursement
                                                                                         TOTAL                           $2,600.05
        Confidential Customer USD Transferee #1702         [Address on File]          5/24/2023 USD                      $1,130.13 Customer Disbursement
                                                                                         TOTAL                           $1,130.13
        Confidential Customer USD Transferee #1703         [Address on File]          6/13/2023 USD                         $92.15 Customer Disbursement
                                                                                         TOTAL                              $92.15
        Confidential Customer USD Transferee #1704         [Address on File]          5/26/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #1705         [Address on File]          6/16/2023 USD                        $184.44 Customer Disbursement
                                                                                         TOTAL                            $184.44
        Confidential Customer USD Transferee #1706         [Address on File]          5/22/2023 USD                        $670.00 Customer Disbursement
                                                                                         TOTAL                            $670.00
        Confidential Customer USD Transferee #1707         [Address on File]          5/23/2023 USD                         $30.00 Customer Disbursement
                                                                                         TOTAL                              $30.00
        Confidential Customer USD Transferee #1708         [Address on File]          5/16/2023 USD                      $5,796.92 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1708   [Address on File]        5/16/2023 USD                      $3,399.14 Customer Disbursement
                                                                                 TOTAL                           $9,196.06
                                                     [Address on File]
        Confidential Customer USD Transferee #1709                              6/20/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #1710   [Address on File]          6/12/2023 USD                        $150.00 Customer Disbursement
                                                                                   TOTAL                            $150.00
        Confidential Customer USD Transferee #1711   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $3,000.00
        Confidential Customer USD Transferee #1712   [Address on File]          5/16/2023 USD                      $1,311.69 Customer Disbursement
                                                                                   TOTAL                           $1,311.69
        Confidential Customer USD Transferee #1713   [Address on File]          5/30/2023 USD                      $1,502.44 Customer Disbursement
                                                                                   TOTAL                           $1,502.44
        Confidential Customer USD Transferee #1714   [Address on File]           6/8/2023 USD                        $571.96 Customer Disbursement
                                                                                   TOTAL                            $571.96
        Confidential Customer USD Transferee #1715   [Address on File]           6/7/2023 USD                      $8,000.00 Customer Disbursement
                                                                                   TOTAL                           $8,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1716                               6/7/2023 USD                        $200.00 Customer Disbursement
                                                                                  TOTAL                              $200.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1717                              6/21/2023 USD                      $1,992.25 Customer Disbursement
                                                                                   TOTAL                           $1,992.25
        Confidential Customer USD Transferee #1718   [Address on File]           6/1/2023 USD                        $754.69 Customer Disbursement
                                                                                   TOTAL                            $754.69
        Confidential Customer USD Transferee #1719   [Address on File]          5/18/2023 USD                      $2,318.73 Customer Disbursement
                                                                                   TOTAL                           $2,318.73
                                                     [Address on File]
        Confidential Customer USD Transferee #1720                              6/12/2023 USD                         $11.04 Customer Disbursement
                                                                                   TOTAL                              $11.04
        Confidential Customer USD Transferee #1721   [Address on File]          6/21/2023 USD                         $91.75 Customer Disbursement
                                                                                   TOTAL                              $91.75
        Confidential Customer USD Transferee #1722   [Address on File]          5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                             $100.00

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #1723   [Address on File]         6/6/2023 USD                       $900.00 Customer Disbursement
                                                                                TOTAL                             $900.00
        Confidential Customer USD Transferee #1724   [Address on File]         6/1/2023 USD                       $300.00 Customer Disbursement
                                                                                TOTAL                             $300.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1725                              6/21/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1725                              6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                             $400.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1726                               6/1/2023 USD                        $800.00 Customer Disbursement
                                                                                   TOTAL                            $800.00
        Confidential Customer USD Transferee #1727   [Address on File]          6/21/2023 USD                         $32.47 Customer Disbursement
                                                                                   TOTAL                              $32.47
        Confidential Customer USD Transferee #1728   [Address on File]          5/16/2023 USD                        $120.00 Customer Disbursement
                                                                                   TOTAL                            $120.00
        Confidential Customer USD Transferee #1729   [Address on File]          5/25/2023 USD                      $2,346.41 Customer Disbursement
                                                                                   TOTAL                           $2,346.41
        Confidential Customer USD Transferee #1730   [Address on File]          6/21/2023 USD                     $16,688.11 Customer Disbursement
                                                                                   TOTAL                          $16,688.11
        Confidential Customer USD Transferee #1731   [Address on File]          6/21/2023 USD                     $19,956.00 Customer Disbursement
        Confidential Customer USD Transferee #1731   [Address on File]          6/20/2023 USD                     $22,764.29 Customer Disbursement
        Confidential Customer USD Transferee #1731   [Address on File]          6/20/2023 USD                         $44.00 Customer Disbursement
                                                                                   TOTAL                          $42,764.29
        Confidential Customer USD Transferee #1732   [Address on File]          6/22/2023 USD                         $29.40 Customer Disbursement
                                                                                   TOTAL                              $29.40
        Confidential Customer USD Transferee #1733   [Address on File]          6/20/2023 USD                      $5,161.55 Customer Disbursement
        Confidential Customer USD Transferee #1733   [Address on File]          6/14/2023 USD                      $5,000.00 Customer Disbursement
                                                                                   TOTAL                          $10,161.55
        Confidential Customer USD Transferee #1734   [Address on File]          6/21/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1734   [Address on File]          6/21/2023 USD                      $4,658.62 Customer Disbursement
        Confidential Customer USD Transferee #1734   [Address on File]          6/21/2023 USD                      $5,000.00 Customer Disbursement
                                                                                   TOTAL                          $14,658.62


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1735                                    5/16/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #1736         [Address on File]          5/23/2023 USD                         $60.00 Customer Disbursement
                                                                                         TOTAL                              $60.00
        Confidential Customer USD Transferee #1737         [Address on File]           6/8/2023 USD                      $1,224.00 Customer Disbursement
                                                                                         TOTAL                           $1,224.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1738                                    6/20/2023 USD                         $62.00 Customer Disbursement
                                                                                         TOTAL                              $62.00
        Confidential Customer USD Transferee #1739         [Address on File]          5/31/2023 USD                        $281.07 Customer Disbursement
                                                                                         TOTAL                             $281.07
        Confidential Customer USD Transferee #1740         [Address on File]          6/16/2023 USD                         $23.18 Customer Disbursement
                                                                                         TOTAL                              $23.18
                                                           [Address on File]
        Confidential Customer USD Transferee #1741                                    5/19/2023 USD                      $3,163.45 Customer Disbursement
                                                                                         TOTAL                           $3,163.45
                                                           [Address on File]
        Confidential Customer USD Transferee #1742                                    5/19/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #1743         [Address on File]          6/20/2023 USD                      $3,409.15 Customer Disbursement
                                                                                         TOTAL                           $3,409.15
        Confidential Customer USD Transferee #1744         [Address on File]          6/22/2023 USD                        $197.51 Customer Disbursement
        Confidential Customer USD Transferee #1744         [Address on File]          6/21/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #1744         [Address on File]          6/13/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #1744         [Address on File]          6/13/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #1744         [Address on File]           6/8/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #1744         [Address on File]           6/6/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #1744         [Address on File]          5/30/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                           $1,447.51
        Confidential Customer USD Transferee #1745         [Address on File]           6/6/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1745         [Address on File]           6/5/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1745         [Address on File]          5/30/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1745         [Address on File]          5/22/2023 USD                      $2,000.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $6,000.00
        Confidential Customer USD Transferee #1746         [Address on File]        5/31/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #1746         [Address on File]        5/30/2023 USD                        $495.44 Customer Disbursement
                                                                                       TOTAL                            $995.44
                                                           [Address on File]
        Confidential Customer USD Transferee #1747                                     6/5/2023 USD                        $696.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1747                                     6/5/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $896.00
        Confidential Customer USD Transferee #1748         [Address on File]          5/24/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #1749         [Address on File]          5/24/2023 USD                         $25.00 Customer Disbursement
                                                                                         TOTAL                              $25.00
        Confidential Customer USD Transferee #1750         [Address on File]           6/6/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #1750         [Address on File]           6/6/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1750         [Address on File]          5/18/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1750         [Address on File]          5/18/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1750         [Address on File]          5/17/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                          $10,000.00
        Confidential Customer USD Transferee #1751         [Address on File]          5/16/2023 USD                     $11,018.09 Customer Disbursement
                                                                                         TOTAL                          $11,018.09
        Confidential Customer USD Transferee #1752         [Address on File]          5/24/2023 USD                          $0.01 Customer Disbursement
                                                                                         TOTAL                               $0.01
        Confidential Customer USD Transferee #1753         [Address on File]          5/30/2023 USD                      $1,646.00 Customer Disbursement
                                                                                         TOTAL                           $1,646.00
        Confidential Customer USD Transferee #1754         [Address on File]          5/16/2023 USD                        $120.95 Customer Disbursement
                                                                                         TOTAL                            $120.95
        Confidential Customer USD Transferee #1755         [Address on File]          5/17/2023 USD                        $246.00 Customer Disbursement
                                                                                         TOTAL                            $246.00
        Confidential Customer USD Transferee #1756         [Address on File]           6/6/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #1756         [Address on File]          5/31/2023 USD                      $2,000.00 Customer Disbursement
                                                                                         TOTAL                           $2,250.00
        Confidential Customer USD Transferee #1757         [Address on File]           6/7/2023 USD                        $855.58 Customer Disbursement
                                                                                         TOTAL                            $855.58

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #1758   [Address on File]        5/16/2023 USD                       $905.89 Customer Disbursement
                                                                                 TOTAL                            $905.89
        Confidential Customer USD Transferee #1759   [Address on File]        5/30/2023 USD                       $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1760                              5/23/2023 USD                         $78.00 Customer Disbursement
                                                                                   TOTAL                              $78.00
        Confidential Customer USD Transferee #1761   [Address on File]          5/31/2023 USD                        $239.00 Customer Disbursement
                                                                                   TOTAL                             $239.00
        Confidential Customer USD Transferee #1762   [Address on File]          6/21/2023 USD                        $209.00 Customer Disbursement
                                                                                   TOTAL                             $209.00
        Confidential Customer USD Transferee #1763   [Address on File]           6/2/2023 USD                        $600.00 Customer Disbursement
                                                                                   TOTAL                             $600.00
        Confidential Customer USD Transferee #1764   [Address on File]           6/8/2023 USD                        $531.80 Customer Disbursement
                                                                                   TOTAL                             $531.80
        Confidential Customer USD Transferee #1765   [Address on File]          5/31/2023 USD                         $61.38 Customer Disbursement
                                                                                   TOTAL                              $61.38
        Confidential Customer USD Transferee #1766   [Address on File]           6/6/2023 USD                        $450.00 Customer Disbursement
        Confidential Customer USD Transferee #1766   [Address on File]          5/25/2023 USD                         $45.00 Customer Disbursement
        Confidential Customer USD Transferee #1766   [Address on File]          5/17/2023 USD                        $144.64 Customer Disbursement
                                                                                   TOTAL                             $639.64
        Confidential Customer USD Transferee #1767   [Address on File]          6/16/2023 USD                         $24.00 Customer Disbursement
                                                                                   TOTAL                              $24.00
        Confidential Customer USD Transferee #1768   [Address on File]          5/26/2023 USD                        $179.00 Customer Disbursement
                                                                                   TOTAL                             $179.00
                                                     [Address on File]

        Confidential Customer USD Transferee #1769                              6/15/2023 USD                        $534.59 Customer Disbursement
                                                                                   TOTAL                             $534.59
        Confidential Customer USD Transferee #1770   [Address on File]          5/16/2023 USD                        $445.75 Customer Disbursement
                                                                                   TOTAL                             $445.75
        Confidential Customer USD Transferee #1771   [Address on File]          6/20/2023 USD                          $1.00 Customer Disbursement
                                                                                   TOTAL                               $1.00
        Confidential Customer USD Transferee #1772   [Address on File]          5/25/2023 USD                         $20.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                              $20.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1773                                    5/19/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                            $500.00
        Confidential Customer USD Transferee #1774         [Address on File]           6/7/2023 USD                     $15,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1774         [Address on File]           6/5/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                          $18,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1775                                     6/9/2023 USD                     $13,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1775                                     6/8/2023 USD                     $12,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1775                                     6/7/2023 USD                     $70,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1775                                     6/7/2023 USD                     $27,130.34 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1775                                     6/2/2023 USD                     $7,000.00 Customer Disbursement
                                                                                        TOTAL                         $129,130.34
                                                           [Address on File]
        Confidential Customer USD Transferee #1776                                    6/13/2023 USD                     $13,000.00 Customer Disbursement
                                                                                         TOTAL                          $13,000.00
                                                           [Address on File]


        Confidential Customer USD Transferee #1777                                    5/17/2023 USD                     $10,000.00 Customer Disbursement
                                                                                         TOTAL                          $10,000.00
                                                           [Address on File]


        Confidential Customer USD Transferee #1778                                    5/26/2023 USD                      $9,830.00 Customer Disbursement
                                                           [Address on File]


        Confidential Customer USD Transferee #1778                                    5/26/2023 USD                      $9,780.00 Customer Disbursement


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]


        Confidential Customer USD Transferee #1778                                    5/23/2023 USD                      $3,775.00 Customer Disbursement
                                                           [Address on File]


        Confidential Customer USD Transferee #1778                                    6/21/2023 USD                      $7,250.00 Customer Disbursement
                                                           [Address on File]


        Confidential Customer USD Transferee #1778                                    6/21/2023 USD                     $32,000.00 Customer Disbursement
                                                                                         TOTAL                          $62,635.00
        Confidential Customer USD Transferee #1779         [Address on File]          5/24/2023 USD                     $52,652.00 Customer Disbursement
                                                                                         TOTAL                          $52,652.00
        Confidential Customer USD Transferee #1780         [Address on File]          5/24/2023 USD                        $215.00 Customer Disbursement
                                                                                         TOTAL                            $215.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1781                                    6/13/2023 USD                      $2,109.52 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1781                                    5/23/2023 USD                      $8,570.74 Customer Disbursement
                                                                                         TOTAL                          $10,680.26
                                                           [Address on File]

        Confidential Customer USD Transferee #1782                                    5/31/2023 USD                      $2,322.95 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1782                                    5/16/2023 USD                      $3,882.77 Customer Disbursement
                                                                                         TOTAL                           $6,205.72
                                                           [Address on File]
        Confidential Customer USD Transferee #1783                                    6/21/2023 USD                      $3,102.61 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1783                                     6/6/2023 USD                      $3,664.38 Customer Disbursement
                                                                                        TOTAL                            $6,766.99


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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1784                                    5/19/2023 USD                             $0.73 Customer Disbursement
                                                                                         TOTAL                                  $0.73
        Confidential Customer USD Transferee #1785         [Address on File]          6/22/2023 USD                             $9.44 Customer Disbursement
                                                                                         TOTAL                                  $9.44
                                                           [Address on File]
        Confidential Customer USD Transferee #1786                                    6/21/2023 USD                          $0.10 Customer Disbursement
                                                                                         TOTAL                               $0.10
        Confidential Customer USD Transferee #1787         [Address on File]           6/7/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #1788         [Address on File]          5/30/2023 USD                        $425.00 Customer Disbursement
                                                                                         TOTAL                            $425.00
        Confidential Customer USD Transferee #1789         [Address on File]          5/22/2023 USD                      $9,000.00 Customer Disbursement
                                                                                         TOTAL                           $9,000.00
        Confidential Customer USD Transferee #1790         [Address on File]          5/30/2023 USD                         $23.05 Customer Disbursement
        Confidential Customer USD Transferee #1790         [Address on File]          5/22/2023 USD                         $29.89 Customer Disbursement
                                                                                         TOTAL                              $52.94
        Confidential Customer USD Transferee #1791         [Address on File]          5/18/2023 USD                        $147.00 Customer Disbursement
                                                                                         TOTAL                            $147.00
        Confidential Customer USD Transferee #1792         [Address on File]          5/25/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #1792         [Address on File]          5/17/2023 USD                        $532.11 Customer Disbursement
                                                                                         TOTAL                            $832.11
        Confidential Customer USD Transferee #1793         [Address on File]          5/19/2023 USD                         $32.34 Customer Disbursement
                                                                                         TOTAL                              $32.34
        Confidential Customer USD Transferee #1794         [Address on File]          5/22/2023 USD                        $800.00 Customer Disbursement
                                                                                         TOTAL                            $800.00
        Confidential Customer USD Transferee #1795         [Address on File]          5/26/2023 USD                         $11.00 Customer Disbursement
                                                                                         TOTAL                              $11.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1796                                    5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #1797         [Address on File]          6/15/2023 USD                     $44,325.00 Customer Disbursement
        Confidential Customer USD Transferee #1797         [Address on File]           6/5/2023 USD                     $29,600.00 Customer Disbursement
                                                                                         TOTAL                          $73,925.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1798   [Address on File]         6/6/2023 USD                        $140.00 Customer Disbursement
        Confidential Customer USD Transferee #1798   [Address on File]        5/31/2023 USD                      $1,300.00 Customer Disbursement
        Confidential Customer USD Transferee #1798   [Address on File]        5/25/2023 USD                        $160.00 Customer Disbursement
                                                                                 TOTAL                           $1,600.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1799                              5/17/2023 USD                      $7,885.60 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1799                              5/16/2023 USD                        $131.00 Customer Disbursement
                                                                                   TOTAL                           $8,016.60
        Confidential Customer USD Transferee #1800   [Address on File]          5/23/2023 USD                        $102.00 Customer Disbursement
                                                                                   TOTAL                            $102.00
        Confidential Customer USD Transferee #1801   [Address on File]          6/14/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $20.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1802                               6/6/2023 USD                      $2,672.00 Customer Disbursement
                                                                                   TOTAL                           $2,672.00
        Confidential Customer USD Transferee #1803   [Address on File]          6/21/2023 USD                        $442.00 Customer Disbursement
                                                                                   TOTAL                            $442.00
        Confidential Customer USD Transferee #1804   [Address on File]          6/21/2023 USD                         $56.00 Customer Disbursement
                                                                                   TOTAL                              $56.00
        Confidential Customer USD Transferee #1805   [Address on File]          5/24/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
        Confidential Customer USD Transferee #1806   [Address on File]           6/6/2023 USD                        $167.75 Customer Disbursement
        Confidential Customer USD Transferee #1806   [Address on File]          5/30/2023 USD                        $175.08 Customer Disbursement
        Confidential Customer USD Transferee #1806   [Address on File]          5/23/2023 USD                        $173.44 Customer Disbursement
        Confidential Customer USD Transferee #1806   [Address on File]          5/16/2023 USD                        $172.36 Customer Disbursement
                                                                                   TOTAL                            $688.63
        Confidential Customer USD Transferee #1807   [Address on File]          6/21/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1807   [Address on File]          6/20/2023 USD                         $14.00 Customer Disbursement
                                                                                   TOTAL                           $2,014.00
        Confidential Customer USD Transferee #1808   [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1808   [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1808   [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1808   [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1808   [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1808   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1808   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1808   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1808   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1808   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                         $30,000.00
        Confidential Customer USD Transferee #1809   [Address on File]        6/21/2023 USD                        $669.00 Customer Disbursement
                                                                                 TOTAL                            $669.00
        Confidential Customer USD Transferee #1810   [Address on File]         6/1/2023 USD                      $8,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1810   [Address on File]        5/16/2023 USD                      $7,900.00 Customer Disbursement
                                                                                 TOTAL                         $15,900.00
        Confidential Customer USD Transferee #1811   [Address on File]         6/6/2023 USD                        $270.01 Customer Disbursement
        Confidential Customer USD Transferee #1811   [Address on File]        5/31/2023 USD                      $1,100.00 Customer Disbursement
                                                                                 TOTAL                           $1,370.01
        Confidential Customer USD Transferee #1812   [Address on File]        5/16/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1813   [Address on File]        5/31/2023 USD                      $1,111.79 Customer Disbursement
                                                                                 TOTAL                           $1,111.79
        Confidential Customer USD Transferee #1814   [Address on File]        6/20/2023 USD                      $1,278.09 Customer Disbursement
                                                                                 TOTAL                           $1,278.09
        Confidential Customer USD Transferee #1815   [Address on File]        5/24/2023 USD                      $1,405.72 Customer Disbursement
                                                                                 TOTAL                           $1,405.72
        Confidential Customer USD Transferee #1816   [Address on File]         6/2/2023 USD                        $191.00 Customer Disbursement
                                                                                 TOTAL                            $191.00
        Confidential Customer USD Transferee #1817   [Address on File]        5/24/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1817   [Address on File]        5/19/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                           $1,500.00
        Confidential Customer USD Transferee #1818   [Address on File]         6/2/2023 USD                        $333.00 Customer Disbursement
                                                                                 TOTAL                            $333.00
        Confidential Customer USD Transferee #1819   [Address on File]        6/13/2023 USD                      $5,041.08 Customer Disbursement
                                                                                 TOTAL                           $5,041.08
        Confidential Customer USD Transferee #1820   [Address on File]         6/6/2023 USD                        $446.47 Customer Disbursement
        Confidential Customer USD Transferee #1820   [Address on File]        5/31/2023 USD                        $605.59 Customer Disbursement
        Confidential Customer USD Transferee #1820   [Address on File]        5/23/2023 USD                        $495.89 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1820   [Address on File]        5/19/2023 USD                        $173.48 Customer Disbursement
        Confidential Customer USD Transferee #1820   [Address on File]        5/16/2023 USD                        $198.52 Customer Disbursement
                                                                                 TOTAL                           $1,919.95
        Confidential Customer USD Transferee #1821   [Address on File]        6/20/2023 USD                        $143.63 Customer Disbursement
                                                                                 TOTAL                            $143.63
        Confidential Customer USD Transferee #1822   [Address on File]         6/9/2023 USD                      $2,480.00 Customer Disbursement
                                                                                 TOTAL                           $2,480.00
        Confidential Customer USD Transferee #1823   [Address on File]         6/2/2023 USD                         $35.00 Customer Disbursement
        Confidential Customer USD Transferee #1823   [Address on File]        5/26/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1823   [Address on File]        5/19/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1823   [Address on File]        5/16/2023 USD                         $24.00 Customer Disbursement
                                                                                 TOTAL                            $159.00
        Confidential Customer USD Transferee #1824   [Address on File]        5/23/2023 USD                        $211.00 Customer Disbursement
                                                                                 TOTAL                            $211.00
        Confidential Customer USD Transferee #1825   [Address on File]         6/6/2023 USD                         $60.00 Customer Disbursement
                                                                                 TOTAL                              $60.00
        Confidential Customer USD Transferee #1826   [Address on File]        5/17/2023 USD                        $320.00 Customer Disbursement
        Confidential Customer USD Transferee #1826   [Address on File]        5/16/2023 USD                        $240.00 Customer Disbursement
                                                                                 TOTAL                            $560.00
        Confidential Customer USD Transferee #1827   [Address on File]         6/1/2023 USD                        $468.26 Customer Disbursement
        Confidential Customer USD Transferee #1827   [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1827   [Address on File]        5/18/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $6,468.26
        Confidential Customer USD Transferee #1828   [Address on File]        5/24/2023 USD                         $34.79 Customer Disbursement
                                                                                 TOTAL                              $34.79
        Confidential Customer USD Transferee #1829   [Address on File]        6/21/2023 USD                        $366.00 Customer Disbursement
        Confidential Customer USD Transferee #1829   [Address on File]        6/20/2023 USD                        $366.62 Customer Disbursement
        Confidential Customer USD Transferee #1829   [Address on File]        6/16/2023 USD                        $154.00 Customer Disbursement
                                                                                 TOTAL                            $886.62
        Confidential Customer USD Transferee #1830   [Address on File]         6/8/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #1831   [Address on File]        6/21/2023 USD                        $343.71 Customer Disbursement
        Confidential Customer USD Transferee #1831   [Address on File]        6/20/2023 USD                      $2,916.80 Customer Disbursement
                                                                                 TOTAL                           $3,260.51

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1832   [Address on File]         6/5/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1833   [Address on File]         6/1/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #1833   [Address on File]         6/1/2023 USD                        $700.00 Customer Disbursement
                                                                                 TOTAL                            $800.00
        Confidential Customer USD Transferee #1834   [Address on File]         6/7/2023 USD                        $100.98 Customer Disbursement
        Confidential Customer USD Transferee #1834   [Address on File]        5/31/2023 USD                      $1,201.91 Customer Disbursement
                                                                                 TOTAL                           $1,302.89
        Confidential Customer USD Transferee #1835   [Address on File]        5/23/2023 USD                        $662.68 Customer Disbursement
                                                                                 TOTAL                            $662.68
        Confidential Customer USD Transferee #1836   [Address on File]        5/31/2023 USD                          $5.98 Customer Disbursement
                                                                                 TOTAL                               $5.98
        Confidential Customer USD Transferee #1837   [Address on File]         6/5/2023 USD                        $130.60 Customer Disbursement
                                                                                 TOTAL                            $130.60
        Confidential Customer USD Transferee #1838   [Address on File]        5/31/2023 USD                      $5,000.00 Customer Disbursement
                                                                                 TOTAL                           $5,000.00
        Confidential Customer USD Transferee #1839   [Address on File]        5/23/2023 USD                         $17.57 Customer Disbursement
                                                                                 TOTAL                              $17.57
        Confidential Customer USD Transferee #1840   [Address on File]        5/19/2023 USD                        $422.47 Customer Disbursement
                                                                                 TOTAL                            $422.47
        Confidential Customer USD Transferee #1841   [Address on File]        6/16/2023 USD                        $143.27 Customer Disbursement
                                                                                 TOTAL                            $143.27
        Confidential Customer USD Transferee #1842   [Address on File]        5/26/2023 USD                        $242.01 Customer Disbursement
                                                                                 TOTAL                            $242.01
                                                     [Address on File]
        Confidential Customer USD Transferee #1843                              6/20/2023 USD                        $401.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1843                              6/20/2023 USD                         $79.51 Customer Disbursement
                                                                                   TOTAL                             $480.51
        Confidential Customer USD Transferee #1844   [Address on File]          5/31/2023 USD                        $441.36 Customer Disbursement
                                                                                   TOTAL                             $441.36
        Confidential Customer USD Transferee #1845   [Address on File]          5/26/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                             $200.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1846                                    6/12/2023 USD                         $12.34 Customer Disbursement
                                                                                         TOTAL                              $12.34
        Confidential Customer USD Transferee #1847         [Address on File]          5/16/2023 USD                        $405.78 Customer Disbursement
                                                                                         TOTAL                             $405.78
        Confidential Customer USD Transferee #1848         [Address on File]           6/5/2023 USD                         $15.00 Customer Disbursement
                                                                                         TOTAL                              $15.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1849                                    5/19/2023 USD                          $5.60 Customer Disbursement
                                                                                         TOTAL                               $5.60
        Confidential Customer USD Transferee #1850         [Address on File]          5/30/2023 USD                      $1,201.91 Customer Disbursement
                                                                                         TOTAL                           $1,201.91
                                                           [Address on File]

        Confidential Customer USD Transferee #1851                                     6/8/2023 USD                   $898,277.00 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #1851                                     6/5/2023 USD                    $12,228.95 Customer Disbursement
                                                                                         TOTAL                        $910,505.95
        Confidential Customer USD Transferee #1852         [Address on File]           6/6/2023 USD                        $58.00 Customer Disbursement
                                                                                         TOTAL                             $58.00
        Confidential Customer USD Transferee #1853         [Address on File]          6/21/2023 USD                        $54.60 Customer Disbursement
        Confidential Customer USD Transferee #1853         [Address on File]          6/21/2023 USD                       $529.00 Customer Disbursement
                                                                                         TOTAL                           $583.60
        Confidential Customer USD Transferee #1854         [Address on File]          6/20/2023 USD                       $350.00 Customer Disbursement
                                                                                         TOTAL                           $350.00
        Confidential Customer USD Transferee #1855         [Address on File]          5/17/2023 USD                        $25.00 Customer Disbursement
        Confidential Customer USD Transferee #1855         [Address on File]          5/16/2023 USD                       $200.00 Customer Disbursement
                                                                                         TOTAL                           $225.00
        Confidential Customer USD Transferee #1856         [Address on File]          6/20/2023 USD                        $50.00 Customer Disbursement
        Confidential Customer USD Transferee #1856         [Address on File]          6/13/2023 USD                       $150.00 Customer Disbursement
        Confidential Customer USD Transferee #1856         [Address on File]          5/23/2023 USD                       $150.00 Customer Disbursement
                                                                                         TOTAL                           $350.00


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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1857                                    6/21/2023 USD                             $0.97 Customer Disbursement
                                                                                         TOTAL                                  $0.97
                                                           [Address on File]
        Confidential Customer USD Transferee #1858                                    6/20/2023 USD                        $528.00 Customer Disbursement
                                                                                         TOTAL                            $528.00
        Confidential Customer USD Transferee #1859         [Address on File]          6/13/2023 USD                         $27.39 Customer Disbursement
                                                                                         TOTAL                              $27.39
        Confidential Customer USD Transferee #1860         [Address on File]           6/5/2023 USD                      $1,771.57 Customer Disbursement
        Confidential Customer USD Transferee #1860         [Address on File]           6/5/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #1860         [Address on File]          5/23/2023 USD                      $1,400.00 Customer Disbursement
                                                                                         TOTAL                           $3,671.57
        Confidential Customer USD Transferee #1861         [Address on File]           6/8/2023 USD                        $600.00 Customer Disbursement
                                                                                         TOTAL                            $600.00
        Confidential Customer USD Transferee #1862         [Address on File]          5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1863                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1863                                    6/21/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                            $250.00
        Confidential Customer USD Transferee #1864         [Address on File]          6/16/2023 USD                          $5.51 Customer Disbursement
                                                                                         TOTAL                               $5.51
        Confidential Customer USD Transferee #1865         [Address on File]          6/21/2023 USD                      $4,310.76 Customer Disbursement
                                                                                         TOTAL                           $4,310.76
        Confidential Customer USD Transferee #1866         [Address on File]          6/21/2023 USD                     $11,705.72 Customer Disbursement
        Confidential Customer USD Transferee #1866         [Address on File]          6/16/2023 USD                      $1,211.74 Customer Disbursement
                                                                                         TOTAL                          $12,917.46
                                                           [Address on File]
        Confidential Customer USD Transferee #1867                                    6/21/2023 USD                        $100.97 Customer Disbursement
                                                                                         TOTAL                            $100.97
        Confidential Customer USD Transferee #1868         [Address on File]          6/16/2023 USD                      $1,185.27 Customer Disbursement
                                                                                         TOTAL                           $1,185.27
        Confidential Customer USD Transferee #1869         [Address on File]          6/21/2023 USD                        $148.28 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $148.28
        Confidential Customer USD Transferee #1870         [Address on File]        5/25/2023 USD                      $1,247.95 Customer Disbursement
                                                                                       TOTAL                           $1,247.95
        Confidential Customer USD Transferee #1871         [Address on File]        5/23/2023 USD                         $87.09 Customer Disbursement
                                                                                       TOTAL                              $87.09
                                                           [Address on File]
        Confidential Customer USD Transferee #1872                                    6/21/2023 USD                             $8.35 Customer Disbursement
                                                                                         TOTAL                                  $8.35
                                                           [Address on File]
        Confidential Customer USD Transferee #1873                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #1874         [Address on File]          5/31/2023 USD                        $365.00 Customer Disbursement
                                                                                         TOTAL                            $365.00
        Confidential Customer USD Transferee #1875         [Address on File]          6/20/2023 USD                      $6,044.49 Customer Disbursement
                                                                                         TOTAL                           $6,044.49
        Confidential Customer USD Transferee #1876         [Address on File]          6/21/2023 USD                      $6,630.54 Customer Disbursement
        Confidential Customer USD Transferee #1876         [Address on File]           6/5/2023 USD                        $855.00 Customer Disbursement
        Confidential Customer USD Transferee #1876         [Address on File]           6/5/2023 USD                      $6,500.00 Customer Disbursement
                                                                                         TOTAL                          $13,985.54
        Confidential Customer USD Transferee #1877         [Address on File]          6/15/2023 USD                      $6,699.26 Customer Disbursement
        Confidential Customer USD Transferee #1877         [Address on File]           6/6/2023 USD                      $6,820.53 Customer Disbursement
                                                                                         TOTAL                          $13,519.79
        Confidential Customer USD Transferee #1878         [Address on File]          5/24/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                            $150.00
        Confidential Customer USD Transferee #1879         [Address on File]           6/2/2023 USD                        $800.00 Customer Disbursement
        Confidential Customer USD Transferee #1879         [Address on File]          5/22/2023 USD                      $1,100.00 Customer Disbursement
                                                                                         TOTAL                           $1,900.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1880                                    5/25/2023 USD                        $100.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1880                                    5/24/2023 USD                        $250.00 Customer Disbursement
                                                                                         TOTAL                             $350.00
        Confidential Customer USD Transferee #1881         [Address on File]           6/2/2023 USD                        $530.00 Customer Disbursement
                                                                                         TOTAL                             $530.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1882   [Address on File]         6/6/2023 USD                         $69.67 Customer Disbursement
                                                                                 TOTAL                              $69.67
        Confidential Customer USD Transferee #1883   [Address on File]        6/12/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
        Confidential Customer USD Transferee #1884   [Address on File]         6/1/2023 USD                    $37,600.73 Customer Disbursement
                                                                                 TOTAL                         $37,600.73
        Confidential Customer USD Transferee #1885   [Address on File]         6/6/2023 USD                      $1,959.50 Customer Disbursement
        Confidential Customer USD Transferee #1885   [Address on File]         6/5/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1885   [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1885   [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1885   [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                         $13,959.50
        Confidential Customer USD Transferee #1886   [Address on File]        5/30/2023 USD                        $756.01 Customer Disbursement
        Confidential Customer USD Transferee #1886   [Address on File]        5/22/2023 USD                        $955.27 Customer Disbursement
                                                                                 TOTAL                           $1,711.28
        Confidential Customer USD Transferee #1887   [Address on File]         6/6/2023 USD                    $10,445.20 Customer Disbursement
                                                                                 TOTAL                         $10,445.20
        Confidential Customer USD Transferee #1888   [Address on File]        5/17/2023 USD                      $7,000.00 Customer Disbursement
                                                                                 TOTAL                           $7,000.00
        Confidential Customer USD Transferee #1889   [Address on File]         6/6/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $2,000.00
        Confidential Customer USD Transferee #1890   [Address on File]         6/8/2023 USD                        $800.00 Customer Disbursement
                                                                                 TOTAL                            $800.00
        Confidential Customer USD Transferee #1891   [Address on File]         6/5/2023 USD                        $951.93 Customer Disbursement
        Confidential Customer USD Transferee #1891   [Address on File]        5/26/2023 USD                        $513.98 Customer Disbursement
                                                                                 TOTAL                           $1,465.91
        Confidential Customer USD Transferee #1892   [Address on File]         6/6/2023 USD                        $118.68 Customer Disbursement
                                                                                 TOTAL                            $118.68
        Confidential Customer USD Transferee #1893   [Address on File]        6/21/2023 USD                          $9.42 Customer Disbursement
                                                                                 TOTAL                               $9.42
        Confidential Customer USD Transferee #1894   [Address on File]        6/13/2023 USD                         $39.13 Customer Disbursement
        Confidential Customer USD Transferee #1894   [Address on File]        6/13/2023 USD                        $134.00 Customer Disbursement
                                                                                 TOTAL                            $173.13
        Confidential Customer USD Transferee #1895   [Address on File]         6/6/2023 USD                        $850.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $850.00
        Confidential Customer USD Transferee #1896         [Address on File]        6/21/2023 USD                      $9,894.70 Customer Disbursement
        Confidential Customer USD Transferee #1896         [Address on File]        6/16/2023 USD                       $943.00 Customer Disbursement
                                                                                       TOTAL                         $10,837.70
        Confidential Customer USD Transferee #1897         [Address on File]        6/21/2023 USD                       $900.00 Customer Disbursement
                                                                                       TOTAL                            $900.00
        Confidential Customer USD Transferee #1898         [Address on File]        6/16/2023 USD                       $343.10 Customer Disbursement
                                                                                       TOTAL                            $343.10
        Confidential Customer USD Transferee #1899         [Address on File]        6/16/2023 USD                         $12.52 Customer Disbursement
                                                                                       TOTAL                              $12.52
                                                           [Address on File]
        Confidential Customer USD Transferee #1900                                    6/20/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #1901         [Address on File]          6/21/2023 USD                      $9,290.06 Customer Disbursement
        Confidential Customer USD Transferee #1901         [Address on File]          6/20/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $29,290.06
        Confidential Customer USD Transferee #1902         [Address on File]          5/23/2023 USD                         $45.00 Customer Disbursement
                                                                                         TOTAL                              $45.00
        Confidential Customer USD Transferee #1903         [Address on File]          6/21/2023 USD                        $436.33 Customer Disbursement
                                                                                         TOTAL                            $436.33
        Confidential Customer USD Transferee #1904         [Address on File]           6/8/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #1905         [Address on File]          5/31/2023 USD                        $142.00 Customer Disbursement
                                                                                         TOTAL                            $142.00
        Confidential Customer USD Transferee #1906         [Address on File]           6/7/2023 USD                        $172.84 Customer Disbursement
                                                                                         TOTAL                            $172.84
        Confidential Customer USD Transferee #1907         [Address on File]          5/17/2023 USD                        $657.08 Customer Disbursement
                                                                                         TOTAL                            $657.08
        Confidential Customer USD Transferee #1908         [Address on File]          6/21/2023 USD                          $7.23 Customer Disbursement
                                                                                         TOTAL                               $7.23
        Confidential Customer USD Transferee #1909         [Address on File]          6/14/2023 USD                        $302.24 Customer Disbursement
        Confidential Customer USD Transferee #1909         [Address on File]           6/6/2023 USD                      $1,106.08 Customer Disbursement
                                                                                         TOTAL                           $1,408.32
        Confidential Customer USD Transferee #1910         [Address on File]          6/16/2023 USD                      $1,113.11 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,113.11
        Confidential Customer USD Transferee #1911         [Address on File]        6/12/2023 USD                         $74.64 Customer Disbursement
                                                                                       TOTAL                              $74.64
        Confidential Customer USD Transferee #1912         [Address on File]        6/21/2023 USD                      $4,963.85 Customer Disbursement
                                                                                       TOTAL                           $4,963.85
        Confidential Customer USD Transferee #1913         [Address on File]        5/30/2023 USD                        $166.96 Customer Disbursement
        Confidential Customer USD Transferee #1913         [Address on File]        5/25/2023 USD                        $166.96 Customer Disbursement
                                                                                       TOTAL                            $333.92
        Confidential Customer USD Transferee #1914         [Address on File]        6/16/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #1915         [Address on File]        6/21/2023 USD                        $610.00 Customer Disbursement
        Confidential Customer USD Transferee #1915         [Address on File]        6/20/2023 USD                      $5,108.76 Customer Disbursement
                                                                                       TOTAL                           $5,718.76
                                                           [Address on File]
        Confidential Customer USD Transferee #1916                                    6/20/2023 USD                      $4,457.34 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1916                                    5/31/2023 USD                         $30.11 Customer Disbursement
                                                                                         TOTAL                           $4,487.45
        Confidential Customer USD Transferee #1917         [Address on File]          6/21/2023 USD                      $1,098.10 Customer Disbursement
                                                                                         TOTAL                           $1,098.10
        Confidential Customer USD Transferee #1918         [Address on File]          6/21/2023 USD                        $163.00 Customer Disbursement
        Confidential Customer USD Transferee #1918         [Address on File]          6/20/2023 USD                         $40.00 Customer Disbursement
                                                                                         TOTAL                            $203.00
        Confidential Customer USD Transferee #1919         [Address on File]          5/24/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #1920         [Address on File]          6/20/2023 USD                        $100.04 Customer Disbursement
                                                                                         TOTAL                            $100.04
        Confidential Customer USD Transferee #1921         [Address on File]          6/13/2023 USD                      $7,226.78 Customer Disbursement
                                                                                         TOTAL                           $7,226.78
                                                           [Address on File]
        Confidential Customer USD Transferee #1922                                    6/21/2023 USD                        $122.39 Customer Disbursement
                                                                                         TOTAL                             $122.39
                                                           [Address on File]
        Confidential Customer USD Transferee #1923                                    6/22/2023 USD                         $24.14 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1923                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $224.14
        Confidential Customer USD Transferee #1924         [Address on File]          6/16/2023 USD                        $495.07 Customer Disbursement
        Confidential Customer USD Transferee #1924         [Address on File]          5/31/2023 USD                        $495.14 Customer Disbursement
        Confidential Customer USD Transferee #1924         [Address on File]          5/16/2023 USD                        $495.25 Customer Disbursement
                                                                                         TOTAL                           $1,485.46
        Confidential Customer USD Transferee #1925         [Address on File]          5/24/2023 USD                      $3,255.13 Customer Disbursement
        Confidential Customer USD Transferee #1925         [Address on File]          5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                           $3,355.13
        Confidential Customer USD Transferee #1926         [Address on File]           6/2/2023 USD                      $1,120.00 Customer Disbursement
        Confidential Customer USD Transferee #1926         [Address on File]          5/16/2023 USD                        $300.00 Customer Disbursement
                                                                                         TOTAL                           $1,420.00
        Confidential Customer USD Transferee #1927         [Address on File]          6/21/2023 USD                        $103.00 Customer Disbursement
        Confidential Customer USD Transferee #1927         [Address on File]          6/21/2023 USD                        $246.00 Customer Disbursement
        Confidential Customer USD Transferee #1927         [Address on File]          6/21/2023 USD                        $689.00 Customer Disbursement
                                                                                         TOTAL                           $1,038.00
        Confidential Customer USD Transferee #1928         [Address on File]          5/19/2023 USD                        $311.00 Customer Disbursement
        Confidential Customer USD Transferee #1928         [Address on File]          5/19/2023 USD                        $524.00 Customer Disbursement
                                                                                         TOTAL                            $835.00
        Confidential Customer USD Transferee #1929         [Address on File]          5/31/2023 USD                        $417.11 Customer Disbursement
                                                                                         TOTAL                            $417.11
        Confidential Customer USD Transferee #1930         [Address on File]          6/15/2023 USD                      $4,653.97 Customer Disbursement
                                                                                         TOTAL                           $4,653.97
        Confidential Customer USD Transferee #1931         [Address on File]          6/20/2023 USD                      $1,459.47 Customer Disbursement
        Confidential Customer USD Transferee #1931         [Address on File]          6/20/2023 USD                      $4,898.36 Customer Disbursement
        Confidential Customer USD Transferee #1931         [Address on File]          6/16/2023 USD                         $57.00 Customer Disbursement
                                                                                         TOTAL                           $6,414.83
        Confidential Customer USD Transferee #1932         [Address on File]          6/12/2023 USD                     $10,504.85 Customer Disbursement
                                                                                         TOTAL                          $10,504.85
        Confidential Customer USD Transferee #1933         [Address on File]           6/5/2023 USD                        $468.76 Customer Disbursement
                                                                                         TOTAL                            $468.76
        Confidential Customer USD Transferee #1934         [Address on File]           6/6/2023 USD                      $2,524.30 Customer Disbursement
                                                                                         TOTAL                           $2,524.30

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #1935   [Address on File]         6/5/2023 USD                        $45.10 Customer Disbursement
                                                                                 TOTAL                             $45.10
        Confidential Customer USD Transferee #1936   [Address on File]         6/5/2023 USD                       $140.00 Customer Disbursement
                                                                                 TOTAL                            $140.00
        Confidential Customer USD Transferee #1937   [Address on File]        6/16/2023 USD                        $50.00 Customer Disbursement
                                                                                 TOTAL                             $50.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1938                              6/20/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #1939   [Address on File]           6/5/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1939   [Address on File]          5/31/2023 USD                        $965.12 Customer Disbursement
        Confidential Customer USD Transferee #1939   [Address on File]          5/16/2023 USD                      $1,581.73 Customer Disbursement
                                                                                   TOTAL                           $5,546.85
        Confidential Customer USD Transferee #1940   [Address on File]          5/30/2023 USD                        $413.88 Customer Disbursement
                                                                                   TOTAL                            $413.88
        Confidential Customer USD Transferee #1941   [Address on File]           6/2/2023 USD                        $473.67 Customer Disbursement
        Confidential Customer USD Transferee #1941   [Address on File]          5/30/2023 USD                      $2,500.00 Customer Disbursement
                                                                                   TOTAL                           $2,973.67
        Confidential Customer USD Transferee #1942   [Address on File]          5/17/2023 USD                        $436.67 Customer Disbursement
                                                                                   TOTAL                            $436.67
        Confidential Customer USD Transferee #1943   [Address on File]          5/26/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #1944   [Address on File]           6/5/2023 USD                      $2,275.00 Customer Disbursement
        Confidential Customer USD Transferee #1944   [Address on File]          5/22/2023 USD                      $1,904.41 Customer Disbursement
                                                                                   TOTAL                           $4,179.41
        Confidential Customer USD Transferee #1945   [Address on File]          6/21/2023 USD                        $500.00 Customer Disbursement
                                                                                   TOTAL                            $500.00
        Confidential Customer USD Transferee #1946   [Address on File]          5/26/2023 USD                        $417.97 Customer Disbursement
        Confidential Customer USD Transferee #1946   [Address on File]          5/24/2023 USD                         $60.00 Customer Disbursement
                                                                                   TOTAL                            $477.97
        Confidential Customer USD Transferee #1947   [Address on File]          6/14/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1947   [Address on File]           6/5/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $8,000.00
        Confidential Customer USD Transferee #1948   [Address on File]          6/16/2023 USD                         $84.55 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #1948   [Address on File]        5/17/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,084.55
                                                     [Address on File]
        Confidential Customer USD Transferee #1949                              6/14/2023 USD                     $12,573.32 Customer Disbursement
                                                                                   TOTAL                          $12,573.32
        Confidential Customer USD Transferee #1950   [Address on File]           6/8/2023 USD                        $184.11 Customer Disbursement
                                                                                   TOTAL                            $184.11
        Confidential Customer USD Transferee #1951   [Address on File]           6/7/2023 USD                        $131.33 Customer Disbursement
                                                                                   TOTAL                            $131.33
        Confidential Customer USD Transferee #1952   [Address on File]          6/16/2023 USD                         $11.32 Customer Disbursement
        Confidential Customer USD Transferee #1952   [Address on File]          5/25/2023 USD                      $5,420.00 Customer Disbursement
        Confidential Customer USD Transferee #1952   [Address on File]          5/23/2023 USD                      $4,800.00 Customer Disbursement
                                                                                   TOTAL                          $10,231.32
        Confidential Customer USD Transferee #1953   [Address on File]           6/1/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1953   [Address on File]          5/23/2023 USD                      $1,200.00 Customer Disbursement
                                                                                   TOTAL                           $2,200.00
        Confidential Customer USD Transferee #1954   [Address on File]          5/30/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #1954   [Address on File]          5/24/2023 USD                         $75.00 Customer Disbursement
                                                                                   TOTAL                            $175.00
                                                     [Address on File]
        Confidential Customer USD Transferee #1955                              6/21/2023 USD                         $52.96 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #1955                              6/21/2023 USD                       $200.00 Customer Disbursement
                                                                                   TOTAL                           $252.96
        Confidential Customer USD Transferee #1956   [Address on File]           6/6/2023 USD                       $111.58 Customer Disbursement
                                                                                   TOTAL                           $111.58
        Confidential Customer USD Transferee #1957   [Address on File]           6/2/2023 USD                        $45.82 Customer Disbursement
                                                                                   TOTAL                             $45.82
        Confidential Customer USD Transferee #1958   [Address on File]          6/20/2023 USD                    $10,227.71 Customer Disbursement
        Confidential Customer USD Transferee #1958   [Address on File]          6/15/2023 USD                   $163,672.31 Customer Disbursement
                                                                                   TOTAL                        $173,900.02
        Confidential Customer USD Transferee #1959   [Address on File]          6/21/2023 USD                         $9.16 Customer Disbursement
                                                                                   TOTAL                              $9.16
        Confidential Customer USD Transferee #1960   [Address on File]          5/17/2023 USD                       $189.52 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $189.52
        Confidential Customer USD Transferee #1961         [Address on File]        6/20/2023 USD                      $1,850.07 Customer Disbursement
                                                                                       TOTAL                           $1,850.07
                                                           [Address on File]
        Confidential Customer USD Transferee #1962                                     6/1/2023 USD                      $1,500.00 Customer Disbursement
                                                                                        TOTAL                            $1,500.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1963                                    6/21/2023 USD                        $120.72 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1963                                    6/20/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1963                                    6/15/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1963                                    6/13/2023 USD                        $185.00 Customer Disbursement
                                                                                         TOTAL                            $705.72
        Confidential Customer USD Transferee #1964         [Address on File]           6/9/2023 USD                      $2,800.00 Customer Disbursement
                                                                                         TOTAL                           $2,800.00
        Confidential Customer USD Transferee #1965         [Address on File]          5/31/2023 USD                      $3,752.00 Customer Disbursement
                                                                                         TOTAL                           $3,752.00
        Confidential Customer USD Transferee #1966         [Address on File]          6/20/2023 USD                      $3,613.71 Customer Disbursement
                                                                                         TOTAL                           $3,613.71
        Confidential Customer USD Transferee #1967         [Address on File]           6/8/2023 USD                        $358.17 Customer Disbursement
        Confidential Customer USD Transferee #1967         [Address on File]           6/6/2023 USD                         $95.00 Customer Disbursement
                                                                                         TOTAL                            $453.17
        Confidential Customer USD Transferee #1968         [Address on File]          5/31/2023 USD                          $4.36 Customer Disbursement
                                                                                         TOTAL                               $4.36
        Confidential Customer USD Transferee #1969         [Address on File]          6/21/2023 USD                      $4,778.00 Customer Disbursement
        Confidential Customer USD Transferee #1969         [Address on File]          6/21/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1969         [Address on File]          6/21/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1969         [Address on File]          6/21/2023 USD                        $444.04 Customer Disbursement
                                                                                         TOTAL                          $15,222.04
        Confidential Customer USD Transferee #1970         [Address on File]          6/20/2023 USD                      $1,870.80 Customer Disbursement
                                                                                         TOTAL                           $1,870.80
        Confidential Customer USD Transferee #1971         [Address on File]          6/12/2023 USD                      $3,420.22 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $3,420.22
        Confidential Customer USD Transferee #1972         [Address on File]        5/25/2023 USD                         $65.00 Customer Disbursement
        Confidential Customer USD Transferee #1972         [Address on File]        5/16/2023 USD                        $137.25 Customer Disbursement
                                                                                       TOTAL                            $202.25
        Confidential Customer USD Transferee #1973         [Address on File]         6/5/2023 USD                        $442.00 Customer Disbursement
                                                                                       TOTAL                            $442.00
        Confidential Customer USD Transferee #1974         [Address on File]        5/16/2023 USD                        $600.00 Customer Disbursement
                                                                                       TOTAL                            $600.00
        Confidential Customer USD Transferee #1975         [Address on File]         6/5/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                            $200.00
        Confidential Customer USD Transferee #1976         [Address on File]         6/5/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1976         [Address on File]        5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1976         [Address on File]        5/30/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1976         [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1976         [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1976         [Address on File]        5/22/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                         $16,000.00
        Confidential Customer USD Transferee #1977         [Address on File]        5/18/2023 USD                         $17.29 Customer Disbursement
                                                                                       TOTAL                              $17.29
        Confidential Customer USD Transferee #1978         [Address on File]        6/21/2023 USD                      $1,980.00 Customer Disbursement
                                                                                       TOTAL                           $1,980.00
                                                           [Address on File]
        Confidential Customer USD Transferee #1979                                     6/7/2023 USD                             $8.39 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1979                                     6/7/2023 USD                         $42.99 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1979                                     6/7/2023 USD                      $5,789.58 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1979                                     6/7/2023 USD                      $1,129.46 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1979                                     6/7/2023 USD                             $0.06 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1979                                     6/7/2023 USD                             $1.64 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1979                                     6/7/2023 USD                        $220.35 Customer Disbursement

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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #1979                                     6/7/2023 USD                             $0.01 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #1979                                     6/7/2023 USD                          $0.32 Customer Disbursement
                                                                                         TOTAL                           $7,192.80
        Confidential Customer USD Transferee #1980         [Address on File]          5/24/2023 USD                         $11.00 Customer Disbursement
                                                                                         TOTAL                              $11.00
        Confidential Customer USD Transferee #1981         [Address on File]          5/23/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #1982         [Address on File]           6/8/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #1983         [Address on File]           6/7/2023 USD                         $54.82 Customer Disbursement
        Confidential Customer USD Transferee #1983         [Address on File]          5/23/2023 USD                        $109.64 Customer Disbursement
                                                                                         TOTAL                            $164.46
        Confidential Customer USD Transferee #1984         [Address on File]           6/6/2023 USD                        $563.20 Customer Disbursement
                                                                                         TOTAL                            $563.20
        Confidential Customer USD Transferee #1985         [Address on File]          6/21/2023 USD                        $200.51 Customer Disbursement
                                                                                         TOTAL                            $200.51
        Confidential Customer USD Transferee #1986         [Address on File]          5/31/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #1987         [Address on File]          5/26/2023 USD                     $10,500.00 Customer Disbursement
                                                                                         TOTAL                          $10,500.00
        Confidential Customer USD Transferee #1988         [Address on File]          5/19/2023 USD                        $134.96 Customer Disbursement
        Confidential Customer USD Transferee #1988         [Address on File]          5/19/2023 USD                        $103.43 Customer Disbursement
                                                                                         TOTAL                            $238.39
        Confidential Customer USD Transferee #1989         [Address on File]           6/8/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1989         [Address on File]           6/2/2023 USD                      $1,030.25 Customer Disbursement
        Confidential Customer USD Transferee #1989         [Address on File]          5/31/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1989         [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1989         [Address on File]          5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1989         [Address on File]          5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1989         [Address on File]          5/25/2023 USD                         $99.97 Customer Disbursement
                                                                                         TOTAL                          $14,130.22
        Confidential Customer USD Transferee #1990         [Address on File]          5/16/2023 USD                        $104.87 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $104.87
        Confidential Customer USD Transferee #1991         [Address on File]        5/18/2023 USD                      $1,005.14 Customer Disbursement
                                                                                       TOTAL                           $1,005.14
        Confidential Customer USD Transferee #1992         [Address on File]         6/1/2023 USD                         $21.59 Customer Disbursement
                                                                                       TOTAL                              $21.59
        Confidential Customer USD Transferee #1993         [Address on File]        5/31/2023 USD                        $621.52 Customer Disbursement
                                                                                       TOTAL                            $621.52
        Confidential Customer USD Transferee #1994         [Address on File]        5/26/2023 USD                        $293.93 Customer Disbursement
                                                                                       TOTAL                            $293.93
        Confidential Customer USD Transferee #1995         [Address on File]        6/20/2023 USD                      $3,481.00 Customer Disbursement
                                                                                       TOTAL                           $3,481.00
        Confidential Customer USD Transferee #1996         [Address on File]        5/22/2023 USD                        $170.00 Customer Disbursement
                                                                                       TOTAL                            $170.00
        Confidential Customer USD Transferee #1997         [Address on File]        6/20/2023 USD                      $1,328.05 Customer Disbursement
                                                                                       TOTAL                           $1,328.05
        Confidential Customer USD Transferee #1998         [Address on File]         6/2/2023 USD                        $205.00 Customer Disbursement
                                                                                       TOTAL                            $205.00
        Confidential Customer USD Transferee #1999         [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #1999         [Address on File]        5/31/2023 USD                      $2,391.03 Customer Disbursement
                                                                                       TOTAL                           $5,391.03
        Confidential Customer USD Transferee #2000         [Address on File]         6/8/2023 USD                        $471.08 Customer Disbursement
                                                                                       TOTAL                            $471.08
        Confidential Customer USD Transferee #2001         [Address on File]        5/16/2023 USD                         $50.05 Customer Disbursement
                                                                                       TOTAL                              $50.05
        Confidential Customer USD Transferee #2002         [Address on File]        5/25/2023 USD                        $547.50 Customer Disbursement
                                                                                       TOTAL                            $547.50
                                                           [Address on File]
        Confidential Customer USD Transferee #2003                                    6/21/2023 USD                        $790.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2003                                    6/21/2023 USD                      $8,109.56 Customer Disbursement
                                                                                         TOTAL                           $8,899.56
        Confidential Customer USD Transferee #2004         [Address on File]           6/1/2023 USD                        $163.82 Customer Disbursement
                                                                                         TOTAL                            $163.82
        Confidential Customer USD Transferee #2005         [Address on File]          5/31/2023 USD                      $6,000.00 Customer Disbursement

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                                            Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                            $6,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2006                                    5/26/2023 USD                        $605.00 Customer Disbursement
                                                                                         TOTAL                             $605.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2007                                    5/30/2023 USD                        $116.85 Customer Disbursement
                                                                                         TOTAL                            $116.85
        Confidential Customer USD Transferee #2008         [Address on File]          6/20/2023 USD                      $1,436.00 Customer Disbursement
                                                                                         TOTAL                           $1,436.00
        Confidential Customer USD Transferee #2009         [Address on File]          6/20/2023 USD                      $1,291.89 Customer Disbursement
                                                                                         TOTAL                           $1,291.89
        Confidential Customer USD Transferee #2010         [Address on File]           6/5/2023 USD                        $685.04 Customer Disbursement
        Confidential Customer USD Transferee #2010         [Address on File]          5/30/2023 USD                        $685.05 Customer Disbursement
        Confidential Customer USD Transferee #2010         [Address on File]          5/23/2023 USD                        $670.31 Customer Disbursement
                                                                                         TOTAL                           $2,040.40
        Confidential Customer USD Transferee #2011         [Address on File]           6/8/2023 USD                        $300.70 Customer Disbursement
        Confidential Customer USD Transferee #2011         [Address on File]           6/6/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #2011         [Address on File]          5/16/2023 USD                        $250.00 Customer Disbursement
                                                                                         TOTAL                            $800.70
        Confidential Customer USD Transferee #2012         [Address on File]           6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2012         [Address on File]           6/6/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2012         [Address on File]          5/17/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $8,000.00
        Confidential Customer USD Transferee #2013         [Address on File]          6/12/2023 USD                        $125.43 Customer Disbursement
                                                                                         TOTAL                            $125.43
        Confidential Customer USD Transferee #2014         [Address on File]          5/26/2023 USD                        $167.36 Customer Disbursement
                                                                                         TOTAL                            $167.36
        Confidential Customer USD Transferee #2015         [Address on File]          6/21/2023 USD                        $290.73 Customer Disbursement
                                                                                         TOTAL                            $290.73
        Confidential Customer USD Transferee #2016         [Address on File]           6/6/2023 USD                        $173.66 Customer Disbursement
                                                                                         TOTAL                            $173.66
        Confidential Customer USD Transferee #2017         [Address on File]           6/8/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2017         [Address on File]          5/22/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $4,000.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2018   [Address on File]         6/8/2023 USD                         $25.00 Customer Disbursement
                                                                                 TOTAL                              $25.00
        Confidential Customer USD Transferee #2019   [Address on File]        5/25/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #2020   [Address on File]        5/31/2023 USD                        $600.00 Customer Disbursement
        Confidential Customer USD Transferee #2020   [Address on File]        5/19/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $2,600.00
        Confidential Customer USD Transferee #2021   [Address on File]         6/6/2023 USD                         $75.00 Customer Disbursement
                                                                                 TOTAL                              $75.00
        Confidential Customer USD Transferee #2022   [Address on File]        6/15/2023 USD                        $535.66 Customer Disbursement
                                                                                 TOTAL                            $535.66
        Confidential Customer USD Transferee #2023   [Address on File]        6/20/2023 USD                        $452.17 Customer Disbursement
                                                                                 TOTAL                            $452.17
        Confidential Customer USD Transferee #2024   [Address on File]        5/18/2023 USD                         $39.37 Customer Disbursement
                                                                                 TOTAL                              $39.37
        Confidential Customer USD Transferee #2025   [Address on File]        6/16/2023 USD                        $103.82 Customer Disbursement
                                                                                 TOTAL                            $103.82
        Confidential Customer USD Transferee #2026   [Address on File]        6/15/2023 USD                    $149,460.00 Customer Disbursement
        Confidential Customer USD Transferee #2026   [Address on File]        6/13/2023 USD                     $72,170.00 Customer Disbursement
        Confidential Customer USD Transferee #2026   [Address on File]         6/9/2023 USD                    $498,413.00 Customer Disbursement
        Confidential Customer USD Transferee #2026   [Address on File]         6/7/2023 USD                    $199,160.00 Customer Disbursement
        Confidential Customer USD Transferee #2026   [Address on File]         6/2/2023 USD                    $298,350.00 Customer Disbursement
        Confidential Customer USD Transferee #2026   [Address on File]        5/30/2023 USD                    $591,650.00 Customer Disbursement
        Confidential Customer USD Transferee #2026   [Address on File]        5/25/2023 USD                    $109,316.00 Customer Disbursement
                                                                                 TOTAL                       $1,918,519.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2027                              5/31/2023 USD                        $300.00 Customer Disbursement
                                                                                   TOTAL                             $300.00
        Confidential Customer USD Transferee #2028   [Address on File]          5/24/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #2029   [Address on File]          6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                   TOTAL                              $15.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2030                              6/20/2023 USD                         $57.32 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $57.32
        Confidential Customer USD Transferee #2031         [Address on File]        6/20/2023 USD                         $40.97 Customer Disbursement
                                                                                       TOTAL                              $40.97
        Confidential Customer USD Transferee #2032         [Address on File]        5/22/2023 USD                        $400.00 Customer Disbursement
                                                                                       TOTAL                            $400.00
        Confidential Customer USD Transferee #2033         [Address on File]        6/16/2023 USD                         $35.00 Customer Disbursement
                                                                                       TOTAL                              $35.00
        Confidential Customer USD Transferee #2034         [Address on File]        5/24/2023 USD                      $3,023.12 Customer Disbursement
                                                                                       TOTAL                           $3,023.12
        Confidential Customer USD Transferee #2035         [Address on File]        5/16/2023 USD                          $4.00 Customer Disbursement
                                                                                       TOTAL                               $4.00
        Confidential Customer USD Transferee #2036         [Address on File]        6/20/2023 USD                      $1,013.34 Customer Disbursement
                                                                                       TOTAL                           $1,013.34
        Confidential Customer USD Transferee #2037         [Address on File]        6/20/2023 USD                         $24.48 Customer Disbursement
                                                                                       TOTAL                              $24.48
        Confidential Customer USD Transferee #2038         [Address on File]        5/23/2023 USD                      $4,000.00 Customer Disbursement
                                                                                       TOTAL                           $4,000.00
        Confidential Customer USD Transferee #2039         [Address on File]        6/21/2023 USD                      $4,614.97 Customer Disbursement
                                                                                       TOTAL                           $4,614.97
        Confidential Customer USD Transferee #2040         [Address on File]        6/21/2023 USD                        $381.63 Customer Disbursement
                                                                                       TOTAL                            $381.63
        Confidential Customer USD Transferee #2041         [Address on File]        6/16/2023 USD                        $992.92 Customer Disbursement
        Confidential Customer USD Transferee #2041         [Address on File]         6/9/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2041         [Address on File]         6/8/2023 USD                      $2,000.00 Customer Disbursement
                                                                                       TOTAL                           $4,992.92
        Confidential Customer USD Transferee #2042         [Address on File]        6/20/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $100.00
        Confidential Customer USD Transferee #2043         [Address on File]        6/13/2023 USD                         $46.07 Customer Disbursement
                                                                                       TOTAL                              $46.07
                                                           [Address on File]
        Confidential Customer USD Transferee #2044                                    5/23/2023 USD                         $17.69 Customer Disbursement
                                                                                         TOTAL                              $17.69
        Confidential Customer USD Transferee #2045         [Address on File]          5/17/2023 USD                      $1,604.36 Customer Disbursement
                                                                                         TOTAL                           $1,604.36

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #2046                                    5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,000.00
        Confidential Customer USD Transferee #2047         [Address on File]          6/20/2023 USD                         $18.00 Customer Disbursement
        Confidential Customer USD Transferee #2047         [Address on File]          6/16/2023 USD                         $13.14 Customer Disbursement
                                                                                         TOTAL                              $31.14
        Confidential Customer USD Transferee #2048         [Address on File]          5/26/2023 USD                         $11.22 Customer Disbursement
                                                                                         TOTAL                              $11.22
        Confidential Customer USD Transferee #2049         [Address on File]           6/6/2023 USD                          $6.02 Customer Disbursement
                                                                                         TOTAL                               $6.02
        Confidential Customer USD Transferee #2050         [Address on File]          6/12/2023 USD                        $176.30 Customer Disbursement
                                                                                         TOTAL                            $176.30
        Confidential Customer USD Transferee #2051         [Address on File]          5/17/2023 USD                         $35.00 Customer Disbursement
                                                                                         TOTAL                              $35.00
        Confidential Customer USD Transferee #2052         [Address on File]          5/23/2023 USD                        $196.29 Customer Disbursement
                                                                                         TOTAL                            $196.29
                                                           [Address on File]
        Confidential Customer USD Transferee #2053                                    6/20/2023 USD                         $12.13 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2053                                    5/31/2023 USD                         $64.52 Customer Disbursement
                                                                                         TOTAL                              $76.65
        Confidential Customer USD Transferee #2054         [Address on File]          6/21/2023 USD                          $5.20 Customer Disbursement
                                                                                         TOTAL                               $5.20
        Confidential Customer USD Transferee #2055         [Address on File]          5/31/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #2056         [Address on File]          5/30/2023 USD                         $22.35 Customer Disbursement
                                                                                         TOTAL                              $22.35
        Confidential Customer USD Transferee #2057         [Address on File]          5/30/2023 USD                      $1,574.79 Customer Disbursement
                                                                                         TOTAL                           $1,574.79
        Confidential Customer USD Transferee #2058         [Address on File]           6/8/2023 USD                         $80.58 Customer Disbursement
                                                                                         TOTAL                              $80.58
        Confidential Customer USD Transferee #2059         [Address on File]           6/8/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2060         [Address on File]          6/12/2023 USD                         $97.95 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $97.95
        Confidential Customer USD Transferee #2061         [Address on File]        5/23/2023 USD                      $2,229.56 Customer Disbursement
                                                                                       TOTAL                           $2,229.56
        Confidential Customer USD Transferee #2062         [Address on File]        6/21/2023 USD                         $35.00 Customer Disbursement
                                                                                       TOTAL                              $35.00
        Confidential Customer USD Transferee #2063         [Address on File]        5/24/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #2064         [Address on File]         6/9/2023 USD                        $145.00 Customer Disbursement
        Confidential Customer USD Transferee #2064         [Address on File]         6/7/2023 USD                        $445.00 Customer Disbursement
        Confidential Customer USD Transferee #2064         [Address on File]         6/7/2023 USD                        $605.00 Customer Disbursement
        Confidential Customer USD Transferee #2064         [Address on File]         6/7/2023 USD                      $2,080.00 Customer Disbursement
        Confidential Customer USD Transferee #2064         [Address on File]         6/6/2023 USD                        $495.00 Customer Disbursement
        Confidential Customer USD Transferee #2064         [Address on File]         6/5/2023 USD                         $80.00 Customer Disbursement
                                                                                       TOTAL                           $3,850.00
        Confidential Customer USD Transferee #2065         [Address on File]         6/7/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #2066         [Address on File]        6/13/2023 USD                        $531.16 Customer Disbursement
                                                                                       TOTAL                            $531.16
        Confidential Customer USD Transferee #2067         [Address on File]         6/6/2023 USD                          $1.00 Customer Disbursement
                                                                                       TOTAL                               $1.00
                                                           [Address on File]


        Confidential Customer USD Transferee #2068                                    6/14/2023 USD                      $4,286.00 Customer Disbursement
                                                           [Address on File]


        Confidential Customer USD Transferee #2068                                    6/13/2023 USD                     $24,480.00 Customer Disbursement
                                                                                         TOTAL                          $28,766.00
        Confidential Customer USD Transferee #2069         [Address on File]           6/6/2023 USD                        $600.00 Customer Disbursement
                                                                                         TOTAL                            $600.00
        Confidential Customer USD Transferee #2070         [Address on File]          5/16/2023 USD                        $275.00 Customer Disbursement
                                                                                         TOTAL                            $275.00
        Confidential Customer USD Transferee #2071         [Address on File]           6/5/2023 USD                         $99.57 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2071   [Address on File]        5/22/2023 USD                         $98.80 Customer Disbursement
                                                                                 TOTAL                            $198.37
        Confidential Customer USD Transferee #2072   [Address on File]         6/6/2023 USD                        $153.61 Customer Disbursement
                                                                                 TOTAL                            $153.61
        Confidential Customer USD Transferee #2073   [Address on File]        6/20/2023 USD                      $9,834.19 Customer Disbursement
                                                                                 TOTAL                           $9,834.19
        Confidential Customer USD Transferee #2074   [Address on File]         6/5/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2074   [Address on File]         6/2/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
        Confidential Customer USD Transferee #2075   [Address on File]        5/25/2023 USD                          $5.03 Customer Disbursement
                                                                                 TOTAL                               $5.03
        Confidential Customer USD Transferee #2076   [Address on File]        5/26/2023 USD                         $49.73 Customer Disbursement
        Confidential Customer USD Transferee #2076   [Address on File]        5/23/2023 USD                         $33.00 Customer Disbursement
                                                                                 TOTAL                              $82.73
        Confidential Customer USD Transferee #2077   [Address on File]        6/15/2023 USD                      $5,395.83 Customer Disbursement
                                                                                 TOTAL                           $5,395.83
        Confidential Customer USD Transferee #2078   [Address on File]        6/21/2023 USD                         $95.70 Customer Disbursement
        Confidential Customer USD Transferee #2078   [Address on File]        6/21/2023 USD                         $95.30 Customer Disbursement
        Confidential Customer USD Transferee #2078   [Address on File]        6/20/2023 USD                         $48.20 Customer Disbursement
        Confidential Customer USD Transferee #2078   [Address on File]        6/15/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #2078   [Address on File]        6/15/2023 USD                        $148.25 Customer Disbursement
                                                                                 TOTAL                            $437.45
        Confidential Customer USD Transferee #2079   [Address on File]        5/16/2023 USD                          $9.93 Customer Disbursement
                                                                                 TOTAL                               $9.93
        Confidential Customer USD Transferee #2080   [Address on File]        5/16/2023 USD                        $599.29 Customer Disbursement
                                                                                 TOTAL                            $599.29
                                                     [Address on File]
        Confidential Customer USD Transferee #2081                              6/14/2023 USD                      $4,500.00 Customer Disbursement
                                                                                   TOTAL                           $4,500.00
        Confidential Customer USD Transferee #2082   [Address on File]           6/5/2023 USD                      $1,891.77 Customer Disbursement
        Confidential Customer USD Transferee #2082   [Address on File]           6/1/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                           $1,991.77
        Confidential Customer USD Transferee #2083   [Address on File]           6/6/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #2083   [Address on File]           6/2/2023 USD                        $300.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $350.00
        Confidential Customer USD Transferee #2084         [Address on File]         6/7/2023 USD                        $348.91 Customer Disbursement
                                                                                       TOTAL                            $348.91
        Confidential Customer USD Transferee #2085         [Address on File]        5/26/2023 USD                        $897.32 Customer Disbursement
                                                                                       TOTAL                            $897.32
        Confidential Customer USD Transferee #2086         [Address on File]         6/6/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #2087         [Address on File]         6/8/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                            $200.00
        Confidential Customer USD Transferee #2088         [Address on File]        5/17/2023 USD                          $5.00 Customer Disbursement
                                                                                       TOTAL                               $5.00
        Confidential Customer USD Transferee #2089         [Address on File]        5/22/2023 USD                       $517.50 Investment Refund
                                                                                       TOTAL                            $517.50
        Confidential Customer USD Transferee #2090         [Address on File]        6/21/2023 USD                        $800.00 Customer Disbursement
        Confidential Customer USD Transferee #2090         [Address on File]        6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2091         [Address on File]         6/6/2023 USD                      $2,000.00 Customer Disbursement
                                                                                       TOTAL                           $2,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2092                                    6/22/2023 USD                         $75.03 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2092                                    6/22/2023 USD                      $2,173.34 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2092                                    6/21/2023 USD                        $199.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2092                                    6/20/2023 USD                     $2,833.26 Customer Disbursement
                                                                                         TOTAL                          $5,280.63
        Confidential Customer USD Transferee #2093         [Address on File]           6/5/2023 USD                   $137,500.00 Customer Disbursement
                                                                                         TOTAL                        $137,500.00
        Confidential Customer USD Transferee #2094         [Address on File]          6/20/2023 USD                     $4,482.67 Customer Disbursement
                                                                                         TOTAL                          $4,482.67
        Confidential Customer USD Transferee #2095         [Address on File]          6/20/2023 USD                        $35.00 Customer Disbursement
                                                                                         TOTAL                             $35.00
        Confidential Customer USD Transferee #2096         [Address on File]          6/16/2023 USD                       $365.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2096   [Address on File]        6/16/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #2096   [Address on File]        6/16/2023 USD                        $621.00 Customer Disbursement
        Confidential Customer USD Transferee #2096   [Address on File]        6/16/2023 USD                         $45.00 Customer Disbursement
        Confidential Customer USD Transferee #2096   [Address on File]        6/16/2023 USD                      $2,884.15 Customer Disbursement
        Confidential Customer USD Transferee #2096   [Address on File]        6/16/2023 USD                        $306.51 Customer Disbursement
                                                                                 TOTAL                           $4,236.66
                                                     [Address on File]
        Confidential Customer USD Transferee #2097                              5/19/2023 USD                          $1.00 Customer Disbursement
                                                                                   TOTAL                               $1.00
        Confidential Customer USD Transferee #2098   [Address on File]          6/14/2023 USD                         $27.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]          6/12/2023 USD                        $380.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]           6/9/2023 USD                        $211.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]           6/7/2023 USD                        $210.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]           6/5/2023 USD                        $246.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]           6/2/2023 USD                        $232.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]           6/1/2023 USD                         $93.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]           6/1/2023 USD                        $201.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]          5/30/2023 USD                        $190.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]          5/30/2023 USD                         $19.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]          5/26/2023 USD                        $145.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]          5/24/2023 USD                         $21.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]          5/24/2023 USD                         $12.00 Customer Disbursement
        Confidential Customer USD Transferee #2098   [Address on File]          5/23/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                           $2,007.00
        Confidential Customer USD Transferee #2099   [Address on File]          6/12/2023 USD                        $199.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]           6/5/2023 USD                        $248.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]           6/2/2023 USD                        $285.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]           6/1/2023 USD                        $330.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]          5/31/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]          5/31/2023 USD                        $191.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]          5/30/2023 USD                        $193.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]          5/25/2023 USD                        $101.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]          5/25/2023 USD                        $169.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]          5/25/2023 USD                         $67.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]          5/25/2023 USD                        $190.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2099   [Address on File]        5/25/2023 USD                        $143.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]        5/25/2023 USD                        $105.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]        5/24/2023 USD                        $230.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]        5/24/2023 USD                         $90.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]        5/23/2023 USD                         $21.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]        5/23/2023 USD                         $26.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]        5/23/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #2099   [Address on File]        5/22/2023 USD                          $7.05 Customer Disbursement
                                                                                 TOTAL                           $2,635.05
        Confidential Customer USD Transferee #2100   [Address on File]        6/12/2023 USD                      $3,073.76 Customer Disbursement
                                                                                 TOTAL                           $3,073.76
        Confidential Customer USD Transferee #2101   [Address on File]        5/24/2023 USD                         $30.00 Customer Disbursement
                                                                                 TOTAL                              $30.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2102                              5/31/2023 USD                         $68.94 Customer Disbursement
                                                                                   TOTAL                              $68.94
        Confidential Customer USD Transferee #2103   [Address on File]           6/2/2023 USD                     $20,000.00 Customer Disbursement
                                                                                   TOTAL                          $20,000.00
        Confidential Customer USD Transferee #2104   [Address on File]          5/31/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #2105   [Address on File]          5/17/2023 USD                        $859.08 Customer Disbursement
                                                                                   TOTAL                            $859.08
        Confidential Customer USD Transferee #2106   [Address on File]          5/16/2023 USD                         $94.00 Customer Disbursement
                                                                                   TOTAL                              $94.00
        Confidential Customer USD Transferee #2107   [Address on File]          6/14/2023 USD                      $1,369.28 Customer Disbursement
                                                                                   TOTAL                           $1,369.28
        Confidential Customer USD Transferee #2108   [Address on File]          6/21/2023 USD                      $9,817.89 Customer Disbursement
                                                                                   TOTAL                           $9,817.89
        Confidential Customer USD Transferee #2109   [Address on File]          5/22/2023 USD                         $70.44 Customer Disbursement
                                                                                   TOTAL                              $70.44
        Confidential Customer USD Transferee #2110   [Address on File]          5/17/2023 USD                         $15.99 Customer Disbursement
                                                                                   TOTAL                              $15.99
        Confidential Customer USD Transferee #2111   [Address on File]          6/21/2023 USD                         $11.38 Customer Disbursement
        Confidential Customer USD Transferee #2111   [Address on File]          6/21/2023 USD                        $574.55 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                            $585.93
        Confidential Customer USD Transferee #2112         [Address on File]         6/7/2023 USD                       $694.00 Customer Disbursement
                                                                                       TOTAL                            $694.00
        Confidential Customer USD Transferee #2113         [Address on File]        5/23/2023 USD                         $1.00 Customer Disbursement
                                                                                       TOTAL                              $1.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2114                                     6/8/2023 USD                        $162.26 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2114                                     6/6/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2114                                     6/6/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $562.26
        Confidential Customer USD Transferee #2115         [Address on File]          6/21/2023 USD                     $12,278.90 Customer Disbursement
                                                                                         TOTAL                          $12,278.90
        Confidential Customer USD Transferee #2116         [Address on File]           6/5/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                            $150.00
        Confidential Customer USD Transferee #2117         [Address on File]          5/23/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2118         [Address on File]          5/24/2023 USD                        $578.93 Customer Disbursement
                                                                                         TOTAL                            $578.93
        Confidential Customer USD Transferee #2119         [Address on File]          5/17/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #2120         [Address on File]          6/20/2023 USD                      $1,633.15 Customer Disbursement
                                                                                         TOTAL                           $1,633.15
        Confidential Customer USD Transferee #2121         [Address on File]           6/7/2023 USD                        $451.82 Customer Disbursement
                                                                                         TOTAL                            $451.82
        Confidential Customer USD Transferee #2122         [Address on File]           6/1/2023 USD                        $233.56 Customer Disbursement
                                                                                         TOTAL                            $233.56
        Confidential Customer USD Transferee #2123         [Address on File]           6/5/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2123         [Address on File]          5/22/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $2,000.00
        Confidential Customer USD Transferee #2124         [Address on File]          6/16/2023 USD                     $12,845.27 Customer Disbursement
                                                                                         TOTAL                          $12,845.27
        Confidential Customer USD Transferee #2125         [Address on File]          6/21/2023 USD                      $5,074.54 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $5,074.54
        Confidential Customer USD Transferee #2126         [Address on File]        6/21/2023 USD                        $175.77 Customer Disbursement
        Confidential Customer USD Transferee #2126         [Address on File]        6/21/2023 USD                      $1,000.00 Customer Disbursement
                                                                                       TOTAL                           $1,175.77
                                                           [Address on File]
        Confidential Customer USD Transferee #2127                                     6/6/2023 USD                      $1,426.40 Customer Disbursement
                                                                                         TOTAL                           $1,426.40
        Confidential Customer USD Transferee #2128         [Address on File]          5/31/2023 USD                        $102.59 Customer Disbursement
        Confidential Customer USD Transferee #2128         [Address on File]          5/18/2023 USD                         $91.37 Customer Disbursement
                                                                                         TOTAL                            $193.96
        Confidential Customer USD Transferee #2129         [Address on File]           6/8/2023 USD                         $35.00 Customer Disbursement
        Confidential Customer USD Transferee #2129         [Address on File]           6/8/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #2129         [Address on File]           6/7/2023 USD                         $25.00 Customer Disbursement
                                                                                         TOTAL                            $110.00
        Confidential Customer USD Transferee #2130         [Address on File]          6/21/2023 USD                         $95.00 Customer Disbursement
        Confidential Customer USD Transferee #2130         [Address on File]          6/16/2023 USD                      $1,670.12 Customer Disbursement
        Confidential Customer USD Transferee #2130         [Address on File]          5/16/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2130         [Address on File]          5/16/2023 USD                      $3,469.14 Customer Disbursement
                                                                                         TOTAL                           $6,234.26
        Confidential Customer USD Transferee #2131         [Address on File]          6/21/2023 USD                      $2,173.48 Customer Disbursement
        Confidential Customer USD Transferee #2131         [Address on File]          6/21/2023 USD                         $19.41 Customer Disbursement
        Confidential Customer USD Transferee #2131         [Address on File]          5/26/2023 USD                        $223.26 Customer Disbursement
        Confidential Customer USD Transferee #2131         [Address on File]          5/25/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2131         [Address on File]          5/24/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $42,416.15
        Confidential Customer USD Transferee #2132         [Address on File]          6/20/2023 USD                      $1,060.00 Customer Disbursement
                                                                                         TOTAL                           $1,060.00
        Confidential Customer USD Transferee #2133         [Address on File]          6/22/2023 USD                         $73.30 Customer Disbursement
                                                                                         TOTAL                              $73.30
        Confidential Customer USD Transferee #2134         [Address on File]          5/30/2023 USD                        $635.00 Customer Disbursement
                                                                                         TOTAL                            $635.00
        Confidential Customer USD Transferee #2135         [Address on File]           6/7/2023 USD                      $5,438.09 Customer Disbursement
        Confidential Customer USD Transferee #2135         [Address on File]          5/31/2023 USD                      $3,612.14 Customer Disbursement
                                                                                         TOTAL                           $9,050.23

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2136   [Address on File]        6/20/2023 USD                        $950.66 Customer Disbursement
                                                                                 TOTAL                            $950.66
        Confidential Customer USD Transferee #2137   [Address on File]        5/23/2023 USD                         $40.00 Customer Disbursement
                                                                                 TOTAL                              $40.00
        Confidential Customer USD Transferee #2138   [Address on File]         6/1/2023 USD                        $540.25 Customer Disbursement
                                                                                 TOTAL                            $540.25
        Confidential Customer USD Transferee #2139   [Address on File]         6/6/2023 USD                        $480.00 Customer Disbursement
                                                                                 TOTAL                            $480.00
        Confidential Customer USD Transferee #2140   [Address on File]        6/15/2023 USD                        $990.20 Customer Disbursement
                                                                                 TOTAL                            $990.20
        Confidential Customer USD Transferee #2141   [Address on File]        6/16/2023 USD                         $14.74 Customer Disbursement
                                                                                 TOTAL                              $14.74
        Confidential Customer USD Transferee #2142   [Address on File]         6/5/2023 USD                         $31.00 Customer Disbursement
                                                                                 TOTAL                              $31.00
        Confidential Customer USD Transferee #2143   [Address on File]        5/26/2023 USD                      $1,179.02 Customer Disbursement
                                                                                 TOTAL                           $1,179.02
                                                     [Address on File]
        Confidential Customer USD Transferee #2144                              5/30/2023 USD                      $1,025.00 Customer Disbursement
                                                                                   TOTAL                           $1,025.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2145                              5/19/2023 USD                        $660.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2145                              5/17/2023 USD                      $8,435.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2145                              5/16/2023 USD                      $1,405.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2145                              5/16/2023 USD                      $1,085.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2145                              5/16/2023 USD                      $1,350.00 Customer Disbursement
                                                                                   TOTAL                          $12,935.00
        Confidential Customer USD Transferee #2146   [Address on File]          5/17/2023 USD                         $75.00 Customer Disbursement
                                                                                   TOTAL                              $75.00
        Confidential Customer USD Transferee #2147   [Address on File]          5/16/2023 USD                         $79.31 Customer Disbursement
                                                                                   TOTAL                              $79.31

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #2148   [Address on File]         6/2/2023 USD                       $332.37 Customer Disbursement
                                                                                 TOTAL                            $332.37
        Confidential Customer USD Transferee #2149   [Address on File]        6/20/2023 USD                        $21.39 Customer Disbursement
                                                                                 TOTAL                             $21.39
                                                     [Address on File]
        Confidential Customer USD Transferee #2150                              6/20/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2150                              6/20/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2150                              5/22/2023 USD                        $160.62 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2150                              5/19/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2150                              5/17/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $960.62
        Confidential Customer USD Transferee #2151   [Address on File]          6/14/2023 USD                         $75.00 Customer Disbursement
                                                                                   TOTAL                              $75.00
        Confidential Customer USD Transferee #2152   [Address on File]          6/20/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #2153   [Address on File]           6/8/2023 USD                        $269.69 Customer Disbursement
        Confidential Customer USD Transferee #2153   [Address on File]           6/8/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $469.69
        Confidential Customer USD Transferee #2154   [Address on File]          6/21/2023 USD                        $359.19 Customer Disbursement
                                                                                   TOTAL                            $359.19
        Confidential Customer USD Transferee #2155   [Address on File]          5/24/2023 USD                        $858.57 Customer Disbursement
                                                                                   TOTAL                            $858.57
        Confidential Customer USD Transferee #2156   [Address on File]          5/31/2023 USD                      $1,085.00 Customer Disbursement
                                                                                   TOTAL                           $1,085.00
        Confidential Customer USD Transferee #2157   [Address on File]          5/30/2023 USD                      $2,148.31 Customer Disbursement
                                                                                   TOTAL                           $2,148.31
        Confidential Customer USD Transferee #2158   [Address on File]          6/20/2023 USD                        $300.00 Customer Disbursement
                                                                                   TOTAL                            $300.00
        Confidential Customer USD Transferee #2159   [Address on File]           6/6/2023 USD                      $1,000.92 Customer Disbursement
                                                                                   TOTAL                           $1,000.92

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2160   [Address on File]        5/17/2023 USD                        $100.41 Customer Disbursement
                                                                                 TOTAL                            $100.41
        Confidential Customer USD Transferee #2161   [Address on File]        6/20/2023 USD                         $87.91 Customer Disbursement
                                                                                 TOTAL                              $87.91
        Confidential Customer USD Transferee #2162   [Address on File]        6/21/2023 USD                      $1,949.00 Customer Disbursement
        Confidential Customer USD Transferee #2162   [Address on File]        5/31/2023 USD                      $1,737.00 Customer Disbursement
        Confidential Customer USD Transferee #2162   [Address on File]        5/17/2023 USD                      $3,722.00 Customer Disbursement
                                                                                 TOTAL                           $7,408.00
        Confidential Customer USD Transferee #2163   [Address on File]        5/26/2023 USD                        $733.51 Customer Disbursement
                                                                                 TOTAL                            $733.51
        Confidential Customer USD Transferee #2164   [Address on File]         6/2/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00
        Confidential Customer USD Transferee #2165   [Address on File]        5/19/2023 USD                      $2,626.36 Customer Disbursement
                                                                                 TOTAL                           $2,626.36
        Confidential Customer USD Transferee #2166   [Address on File]         6/7/2023 USD                         $32.00 Customer Disbursement
        Confidential Customer USD Transferee #2166   [Address on File]         6/2/2023 USD                         $28.00 Customer Disbursement
        Confidential Customer USD Transferee #2166   [Address on File]        5/23/2023 USD                         $72.00 Customer Disbursement
                                                                                 TOTAL                            $132.00
        Confidential Customer USD Transferee #2167   [Address on File]        6/21/2023 USD                      $1,224.02 Customer Disbursement
                                                                                 TOTAL                           $1,224.02
        Confidential Customer USD Transferee #2168   [Address on File]         6/2/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #2169   [Address on File]        5/24/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2169   [Address on File]        5/30/2023 USD                    $10,741.23 Customer Disbursement
        Confidential Customer USD Transferee #2169   [Address on File]        5/26/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $50,741.23
        Confidential Customer USD Transferee #2170   [Address on File]         6/5/2023 USD                      $4,312.98 Customer Disbursement
                                                                                 TOTAL                           $4,312.98
        Confidential Customer USD Transferee #2171   [Address on File]         6/5/2023 USD                        $106.00 Customer Disbursement
                                                                                 TOTAL                            $106.00
        Confidential Customer USD Transferee #2172   [Address on File]         6/9/2023 USD                      $5,300.00 Customer Disbursement
                                                                                 TOTAL                           $5,300.00
        Confidential Customer USD Transferee #2173   [Address on File]        5/17/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                               $5.00

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #2174   [Address on File]        5/16/2023 USD                        $25.00 Customer Disbursement
                                                                                 TOTAL                             $25.00
        Confidential Customer USD Transferee #2175   [Address on File]        6/16/2023 USD                        $20.00 Customer Disbursement
                                                                                 TOTAL                             $20.00
        Confidential Customer USD Transferee #2176   [Address on File]        5/16/2023 USD                         $7.04 Customer Disbursement
                                                                                 TOTAL                              $7.04
        Confidential Customer USD Transferee #2177   [Address on File]        5/26/2023 USD                       $219.48 Customer Disbursement
                                                                                 TOTAL                            $219.48
        Confidential Customer USD Transferee #2178   [Address on File]        5/26/2023 USD                       $114.63 Customer Disbursement
                                                                                 TOTAL                            $114.63
                                                     [Address on File]
        Confidential Customer USD Transferee #2179                              5/24/2023 USD                         $29.82 Customer Disbursement
                                                                                   TOTAL                              $29.82
        Confidential Customer USD Transferee #2180   [Address on File]          6/12/2023 USD                      $4,996.13 Customer Disbursement
                                                                                   TOTAL                           $4,996.13
        Confidential Customer USD Transferee #2181   [Address on File]          5/16/2023 USD                      $1,193.59 Customer Disbursement
                                                                                   TOTAL                           $1,193.59
        Confidential Customer USD Transferee #2182   [Address on File]          5/24/2023 USD                      $1,492.50 Customer Disbursement
                                                                                   TOTAL                           $1,492.50
        Confidential Customer USD Transferee #2183   [Address on File]          5/23/2023 USD                        $497.50 Customer Disbursement
                                                                                   TOTAL                            $497.50
        Confidential Customer USD Transferee #2184   [Address on File]          6/21/2023 USD                        $295.29 Customer Disbursement
                                                                                   TOTAL                            $295.29
        Confidential Customer USD Transferee #2185   [Address on File]          6/20/2023 USD                        $811.51 Customer Disbursement
                                                                                   TOTAL                            $811.51
        Confidential Customer USD Transferee #2186   [Address on File]          6/20/2023 USD                     $11,567.40 Customer Disbursement
                                                                                   TOTAL                          $11,567.40
        Confidential Customer USD Transferee #2187   [Address on File]          5/19/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #2187   [Address on File]          5/17/2023 USD                         $35.00 Customer Disbursement
        Confidential Customer USD Transferee #2187   [Address on File]          5/16/2023 USD                         $31.00 Customer Disbursement
        Confidential Customer USD Transferee #2187   [Address on File]          5/16/2023 USD                         $26.00 Customer Disbursement
                                                                                   TOTAL                            $107.00
        Confidential Customer USD Transferee #2188   [Address on File]          6/22/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2189   [Address on File]         6/5/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2189   [Address on File]         6/5/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #2189   [Address on File]        5/22/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $6,500.00
        Confidential Customer USD Transferee #2190   [Address on File]         6/2/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #2191   [Address on File]        5/22/2023 USD                         $19.97 Customer Disbursement
                                                                                 TOTAL                              $19.97
        Confidential Customer USD Transferee #2192   [Address on File]        5/26/2023 USD                      $1,642.06 Customer Disbursement
                                                                                 TOTAL                           $1,642.06
                                                     [Address on File]
        Confidential Customer USD Transferee #2193                              5/30/2023 USD                      $6,173.16 Customer Disbursement
                                                                                   TOTAL                           $6,173.16
        Confidential Customer USD Transferee #2194   [Address on File]          5/16/2023 USD                        $431.00 Customer Disbursement
                                                                                   TOTAL                            $431.00
        Confidential Customer USD Transferee #2195   [Address on File]           6/1/2023 USD                      $8,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2195   [Address on File]          5/17/2023 USD                      $4,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2195   [Address on File]          5/16/2023 USD                      $9,000.00 Customer Disbursement
                                                                                   TOTAL                          $21,000.00
        Confidential Customer USD Transferee #2196   [Address on File]          5/30/2023 USD                        $168.20 Customer Disbursement
                                                                                   TOTAL                            $168.20
        Confidential Customer USD Transferee #2197   [Address on File]          5/31/2023 USD                      $2,000.00 Customer Disbursement
                                                                                   TOTAL                           $2,000.00
        Confidential Customer USD Transferee #2198   [Address on File]           6/2/2023 USD                      $2,634.38 Customer Disbursement
                                                                                   TOTAL                           $2,634.38
        Confidential Customer USD Transferee #2199   [Address on File]          5/24/2023 USD                        $568.21 Customer Disbursement
        Confidential Customer USD Transferee #2199   [Address on File]          5/24/2023 USD                        $206.00 Customer Disbursement
                                                                                   TOTAL                            $774.21
        Confidential Customer USD Transferee #2200   [Address on File]          6/21/2023 USD                        $545.83 Customer Disbursement
                                                                                   TOTAL                            $545.83
        Confidential Customer USD Transferee #2201   [Address on File]           6/5/2023 USD                      $1,872.00 Customer Disbursement
        Confidential Customer USD Transferee #2201   [Address on File]           6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2201   [Address on File]          5/18/2023 USD                      $1,864.00 Customer Disbursement
        Confidential Customer USD Transferee #2201   [Address on File]          5/17/2023 USD                      $3,000.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $9,736.00
        Confidential Customer USD Transferee #2202         [Address on File]        6/20/2023 USD                        $204.00 Customer Disbursement
                                                                                       TOTAL                            $204.00
        Confidential Customer USD Transferee #2203         [Address on File]        5/24/2023 USD                        $400.00 Customer Disbursement
                                                                                       TOTAL                            $400.00
        Confidential Customer USD Transferee #2204         [Address on File]        5/23/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #2204         [Address on File]        5/18/2023 USD                        $800.00 Customer Disbursement
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2205         [Address on File]        5/31/2023 USD                        $255.00 Customer Disbursement
        Confidential Customer USD Transferee #2205         [Address on File]        5/23/2023 USD                        $500.00 Customer Disbursement
                                                                                       TOTAL                            $755.00
        Confidential Customer USD Transferee #2206         [Address on File]        6/16/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2206         [Address on File]        6/15/2023 USD                    $29,900.00 Customer Disbursement
        Confidential Customer USD Transferee #2206         [Address on File]        6/12/2023 USD                         $55.00 Customer Disbursement
                                                                                       TOTAL                         $49,955.00
        Confidential Customer USD Transferee #2207         [Address on File]        6/22/2023 USD                        $110.00 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        6/21/2023 USD                        $180.00 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        6/21/2023 USD                        $110.00 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        6/21/2023 USD                        $207.00 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        6/20/2023 USD                        $213.00 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        6/14/2023 USD                        $218.06 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        6/13/2023 USD                        $120.00 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        6/13/2023 USD                        $228.47 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        6/13/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        5/31/2023 USD                        $121.28 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        5/31/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        5/24/2023 USD                        $110.00 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        5/23/2023 USD                        $247.45 Customer Disbursement
        Confidential Customer USD Transferee #2207         [Address on File]        5/23/2023 USD                         $90.00 Customer Disbursement
                                                                                       TOTAL                           $2,135.26
        Confidential Customer USD Transferee #2208         [Address on File]         6/2/2023 USD                         $54.37 Customer Disbursement
                                                                                       TOTAL                              $54.37
                                                           [Address on File]
        Confidential Customer USD Transferee #2209                                    5/18/2023 USD                      $1,787.71 Customer Disbursement
                                                                                         TOTAL                           $1,787.71
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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #2210   [Address on File]        5/22/2023 USD                    $90,000.00 Customer Disbursement
                                                                                 TOTAL                         $90,000.00
        Confidential Customer USD Transferee #2211   [Address on File]        5/31/2023 USD                        $25.00 Customer Disbursement
                                                                                 TOTAL                             $25.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2212                              6/20/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #2213   [Address on File]          5/26/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
        Confidential Customer USD Transferee #2214   [Address on File]          5/31/2023 USD                        $800.00 Customer Disbursement
                                                                                   TOTAL                            $800.00
        Confidential Customer USD Transferee #2215   [Address on File]          6/12/2023 USD                          $1.49 Customer Disbursement
                                                                                   TOTAL                               $1.49
        Confidential Customer USD Transferee #2216   [Address on File]           6/8/2023 USD                        $167.15 Customer Disbursement
                                                                                   TOTAL                            $167.15
        Confidential Customer USD Transferee #2217   [Address on File]          5/24/2023 USD                      $2,758.60 Customer Disbursement
                                                                                   TOTAL                           $2,758.60
        Confidential Customer USD Transferee #2218   [Address on File]          5/17/2023 USD                         $60.00 Customer Disbursement
                                                                                   TOTAL                              $60.00
        Confidential Customer USD Transferee #2219   [Address on File]          6/22/2023 USD                        $115.00 Customer Disbursement
                                                                                   TOTAL                            $115.00
        Confidential Customer USD Transferee #2220   [Address on File]           6/6/2023 USD                      $1,646.31 Customer Disbursement
        Confidential Customer USD Transferee #2220   [Address on File]          5/23/2023 USD                      $1,646.32 Customer Disbursement
                                                                                   TOTAL                           $3,292.63
        Confidential Customer USD Transferee #2221   [Address on File]           6/6/2023 USD                      $4,500.00 Customer Disbursement
                                                                                   TOTAL                           $4,500.00
        Confidential Customer USD Transferee #2222   [Address on File]           6/2/2023 USD                      $1,005.00 Customer Disbursement
                                                                                   TOTAL                           $1,005.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2223                               6/8/2023 USD                        $390.01 Customer Disbursement
                                                                                   TOTAL                             $390.01
        Confidential Customer USD Transferee #2224   [Address on File]          5/26/2023 USD                         $76.00 Customer Disbursement
                                                                                   TOTAL                              $76.00
        Confidential Customer USD Transferee #2225   [Address on File]          5/31/2023 USD                        $100.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $100.00
        Confidential Customer USD Transferee #2226         [Address on File]        5/23/2023 USD                        $236.65 Customer Disbursement
                                                                                       TOTAL                            $236.65
        Confidential Customer USD Transferee #2227         [Address on File]        6/13/2023 USD                         $18.00 Customer Disbursement
                                                                                       TOTAL                              $18.00
        Confidential Customer USD Transferee #2228         [Address on File]        5/26/2023 USD                      $4,950.00 Customer Disbursement
        Confidential Customer USD Transferee #2228         [Address on File]        5/25/2023 USD                      $5,000.00 Customer Disbursement
                                                                                       TOTAL                           $9,950.00
        Confidential Customer USD Transferee #2229         [Address on File]         6/9/2023 USD                      $5,640.34 Customer Disbursement
        Confidential Customer USD Transferee #2229         [Address on File]         6/8/2023 USD                        $978.31 Customer Disbursement
                                                                                       TOTAL                           $6,618.65
        Confidential Customer USD Transferee #2230         [Address on File]         6/5/2023 USD                        $530.61 Customer Disbursement
                                                                                       TOTAL                            $530.61
                                                           [Address on File]

        Confidential Customer USD Transferee #2231                                     6/1/2023 USD                        $735.00 Customer Disbursement
                                                                                         TOTAL                            $735.00
        Confidential Customer USD Transferee #2232         [Address on File]          6/21/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2232         [Address on File]          6/12/2023 USD                      $5,125.00 Customer Disbursement
        Confidential Customer USD Transferee #2232         [Address on File]           6/6/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2232         [Address on File]          5/23/2023 USD                      $5,000.00 Customer Disbursement
                                                                                         TOTAL                          $20,125.00
        Confidential Customer USD Transferee #2233         [Address on File]           6/5/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #2233         [Address on File]          5/23/2023 USD                         $75.00 Customer Disbursement
        Confidential Customer USD Transferee #2233         [Address on File]          5/19/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                            $325.00
        Confidential Customer USD Transferee #2234         [Address on File]           6/2/2023 USD                        $347.48 Customer Disbursement
        Confidential Customer USD Transferee #2234         [Address on File]          5/16/2023 USD                          $3.62 Customer Disbursement
                                                                                         TOTAL                            $351.10
        Confidential Customer USD Transferee #2235         [Address on File]           6/2/2023 USD                        $174.98 Customer Disbursement
        Confidential Customer USD Transferee #2235         [Address on File]          5/30/2023 USD                        $167.53 Customer Disbursement
        Confidential Customer USD Transferee #2235         [Address on File]          5/30/2023 USD                        $113.72 Customer Disbursement
        Confidential Customer USD Transferee #2235         [Address on File]          5/26/2023 USD                        $214.98 Customer Disbursement
                                                                                         TOTAL                            $671.21

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #2236                                    6/16/2023 USD                         $26.75 Customer Disbursement
                                                                                         TOTAL                              $26.75
        Confidential Customer USD Transferee #2237         [Address on File]           6/8/2023 USD                        $515.00 Customer Disbursement
                                                                                         TOTAL                            $515.00
        Confidential Customer USD Transferee #2238         [Address on File]          6/21/2023 USD                        $200.96 Customer Disbursement
                                                                                         TOTAL                            $200.96
        Confidential Customer USD Transferee #2239         [Address on File]          5/16/2023 USD                        $900.00 Customer Disbursement
                                                                                         TOTAL                            $900.00
        Confidential Customer USD Transferee #2240         [Address on File]          5/31/2023 USD                        $506.00 Customer Disbursement
                                                                                         TOTAL                            $506.00
        Confidential Customer USD Transferee #2241         [Address on File]           6/8/2023 USD                      $2,415.60 Customer Disbursement
        Confidential Customer USD Transferee #2241         [Address on File]           6/7/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                           $2,615.60
        Confidential Customer USD Transferee #2242         [Address on File]          5/25/2023 USD                        $800.00 Customer Disbursement
                                                                                         TOTAL                            $800.00
        Confidential Customer USD Transferee #2243         [Address on File]          6/13/2023 USD                        $501.00 Customer Disbursement
                                                                                         TOTAL                            $501.00
        Confidential Customer USD Transferee #2244         [Address on File]           6/8/2023 USD                      $2,766.15 Customer Disbursement
                                                                                         TOTAL                           $2,766.15
                                                           [Address on File]
        Confidential Customer USD Transferee #2245                                    5/31/2023 USD                        $900.00 Customer Disbursement
                                                                                         TOTAL                             $900.00
        Confidential Customer USD Transferee #2246         [Address on File]          5/23/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #2247         [Address on File]          5/23/2023 USD                         $14.89 Customer Disbursement
                                                                                         TOTAL                              $14.89
        Confidential Customer USD Transferee #2248         [Address on File]          6/21/2023 USD                        $986.91 Customer Disbursement
                                                                                         TOTAL                             $986.91
        Confidential Customer USD Transferee #2249         [Address on File]          6/21/2023 USD                          $4.01 Customer Disbursement
                                                                                         TOTAL                               $4.01
        Confidential Customer USD Transferee #2250         [Address on File]          5/26/2023 USD                        $170.00 Customer Disbursement
                                                                                         TOTAL                             $170.00
        Confidential Customer USD Transferee #2251         [Address on File]          5/22/2023 USD                        $100.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                             $100.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2252                                    5/23/2023 USD                         $48.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2252                                    5/23/2023 USD                         $40.00 Customer Disbursement
                                                                                         TOTAL                              $88.00
        Confidential Customer USD Transferee #2253         [Address on File]          5/31/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #2253         [Address on File]          5/16/2023 USD                        $300.00 Customer Disbursement
                                                                                         TOTAL                            $600.00
        Confidential Customer USD Transferee #2254         [Address on File]           6/5/2023 USD                        $231.98 Customer Disbursement
        Confidential Customer USD Transferee #2254         [Address on File]          5/22/2023 USD                        $246.74 Customer Disbursement
                                                                                         TOTAL                            $478.72
        Confidential Customer USD Transferee #2255         [Address on File]          6/13/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2255         [Address on File]          6/13/2023 USD                      $5,784.81 Customer Disbursement
                                                                                         TOTAL                          $25,784.81
        Confidential Customer USD Transferee #2256         [Address on File]          5/25/2023 USD                        $240.00 Customer Disbursement
        Confidential Customer USD Transferee #2256         [Address on File]          5/17/2023 USD                         $95.00 Customer Disbursement
                                                                                         TOTAL                            $335.00
        Confidential Customer USD Transferee #2257         [Address on File]           6/6/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #2257         [Address on File]           6/1/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #2257         [Address on File]           6/1/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #2257         [Address on File]          5/30/2023 USD                      $2,001.09 Customer Disbursement
        Confidential Customer USD Transferee #2257         [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $5,501.09
        Confidential Customer USD Transferee #2258         [Address on File]           6/7/2023 USD                         $25.93 Customer Disbursement
        Confidential Customer USD Transferee #2258         [Address on File]           6/5/2023 USD                        $263.83 Customer Disbursement
        Confidential Customer USD Transferee #2258         [Address on File]          5/16/2023 USD                      $2,297.67 Customer Disbursement
                                                                                         TOTAL                           $2,587.43
        Confidential Customer USD Transferee #2259         [Address on File]           6/7/2023 USD                      $5,023.75 Customer Disbursement
        Confidential Customer USD Transferee #2259         [Address on File]           6/2/2023 USD                     $10,196.00 Customer Disbursement
                                                                                         TOTAL                          $15,219.75
        Confidential Customer USD Transferee #2260         [Address on File]          5/23/2023 USD                         $91.68 Customer Disbursement
                                                                                         TOTAL                              $91.68
        Confidential Customer USD Transferee #2261         [Address on File]           6/6/2023 USD                      $1,118.75 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,118.75
        Confidential Customer USD Transferee #2262         [Address on File]        5/23/2023 USD                        $103.98 Customer Disbursement
                                                                                       TOTAL                            $103.98
        Confidential Customer USD Transferee #2263         [Address on File]        5/23/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #2263         [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $150.00
        Confidential Customer USD Transferee #2264         [Address on File]        5/18/2023 USD                         $40.00 Customer Disbursement
                                                                                       TOTAL                              $40.00
        Confidential Customer USD Transferee #2265         [Address on File]        5/17/2023 USD                        $629.91 Customer Disbursement
                                                                                       TOTAL                            $629.91
        Confidential Customer USD Transferee #2266         [Address on File]        6/12/2023 USD                      $4,009.54 Customer Disbursement
                                                                                       TOTAL                           $4,009.54
        Confidential Customer USD Transferee #2267         [Address on File]        5/17/2023 USD                      $6,000.48 Customer Disbursement
                                                                                       TOTAL                           $6,000.48
        Confidential Customer USD Transferee #2268         [Address on File]        6/21/2023 USD                        $528.08 Customer Disbursement
                                                                                       TOTAL                            $528.08
        Confidential Customer USD Transferee #2269         [Address on File]         6/2/2023 USD                      $1,370.41 Customer Disbursement
                                                                                       TOTAL                           $1,370.41
        Confidential Customer USD Transferee #2270         [Address on File]         6/6/2023 USD                         $29.70 Customer Disbursement
                                                                                       TOTAL                              $29.70
        Confidential Customer USD Transferee #2271         [Address on File]        6/16/2023 USD                        $186.76 Customer Disbursement
                                                                                       TOTAL                            $186.76
        Confidential Customer USD Transferee #2272         [Address on File]         6/5/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #2272         [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $200.00
        Confidential Customer USD Transferee #2273         [Address on File]        6/16/2023 USD                         $26.05 Customer Disbursement
                                                                                       TOTAL                              $26.05
        Confidential Customer USD Transferee #2274         [Address on File]         6/8/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
        Confidential Customer USD Transferee #2275         [Address on File]        5/31/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #2276         [Address on File]         6/5/2023 USD                         $34.51 Customer Disbursement
                                                                                       TOTAL                              $34.51
        Confidential Customer USD Transferee #2277         [Address on File]        6/12/2023 USD                         $52.62 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $52.62
        Confidential Customer USD Transferee #2278         [Address on File]        5/24/2023 USD                         $50.00 Customer Disbursement
                                                                                       TOTAL                              $50.00
        Confidential Customer USD Transferee #2279         [Address on File]         6/5/2023 USD                      $3,093.76 Customer Disbursement
        Confidential Customer USD Transferee #2279         [Address on File]         6/5/2023 USD                      $3,094.95 Customer Disbursement
        Confidential Customer USD Transferee #2279         [Address on File]         6/2/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2279         [Address on File]        5/25/2023 USD                      $1,023.00 Customer Disbursement
                                                                                       TOTAL                         $27,211.71
        Confidential Customer USD Transferee #2280         [Address on File]        6/21/2023 USD                      $2,635.07 Customer Disbursement
                                                                                       TOTAL                           $2,635.07
        Confidential Customer USD Transferee #2281         [Address on File]        5/22/2023 USD                        $505.22 Customer Disbursement
                                                                                       TOTAL                            $505.22
        Confidential Customer USD Transferee #2282         [Address on File]        6/13/2023 USD                        $129.39 Customer Disbursement
                                                                                       TOTAL                            $129.39
        Confidential Customer USD Transferee #2283         [Address on File]         6/8/2023 USD                         $48.72 Customer Disbursement
        Confidential Customer USD Transferee #2283         [Address on File]         6/7/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $73.72
        Confidential Customer USD Transferee #2284         [Address on File]         6/9/2023 USD                        $240.00 Customer Disbursement
        Confidential Customer USD Transferee #2284         [Address on File]        5/22/2023 USD                        $800.00 Customer Disbursement
                                                                                       TOTAL                           $1,040.00
        Confidential Customer USD Transferee #2285         [Address on File]         6/5/2023 USD                         $74.35 Customer Disbursement
        Confidential Customer USD Transferee #2285         [Address on File]        5/31/2023 USD                        $800.00 Customer Disbursement
                                                                                       TOTAL                            $874.35
        Confidential Customer USD Transferee #2286         [Address on File]        6/20/2023 USD                         $18.15 Customer Disbursement
                                                                                       TOTAL                              $18.15
        Confidential Customer USD Transferee #2287         [Address on File]        5/23/2023 USD                      $2,466.79 Customer Disbursement
                                                                                       TOTAL                           $2,466.79
        Confidential Customer USD Transferee #2288         [Address on File]         6/7/2023 USD                         $40.00 Customer Disbursement
                                                                                       TOTAL                              $40.00
        Confidential Customer USD Transferee #2289         [Address on File]        5/24/2023 USD                         $70.21 Customer Disbursement
                                                                                       TOTAL                              $70.21
        Confidential Customer USD Transferee #2290         [Address on File]        6/20/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $25.00
        Confidential Customer USD Transferee #2291         [Address on File]        6/20/2023 USD                        $243.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2291   [Address on File]        6/14/2023 USD                        $126.00 Customer Disbursement
                                                                                 TOTAL                            $369.00
        Confidential Customer USD Transferee #2292   [Address on File]         6/9/2023 USD                      $1,020.00 Customer Disbursement
                                                                                 TOTAL                           $1,020.00
        Confidential Customer USD Transferee #2293   [Address on File]        6/21/2023 USD                        $994.53 Customer Disbursement
        Confidential Customer USD Transferee #2293   [Address on File]        6/13/2023 USD                        $994.23 Customer Disbursement
        Confidential Customer USD Transferee #2293   [Address on File]        6/13/2023 USD                        $994.29 Customer Disbursement
        Confidential Customer USD Transferee #2293   [Address on File]         6/2/2023 USD                      $1,119.16 Customer Disbursement
        Confidential Customer USD Transferee #2293   [Address on File]        5/31/2023 USD                      $1,494.58 Customer Disbursement
        Confidential Customer USD Transferee #2293   [Address on File]        5/23/2023 USD                        $993.42 Customer Disbursement
        Confidential Customer USD Transferee #2293   [Address on File]        5/18/2023 USD                      $1,993.08 Customer Disbursement
                                                                                 TOTAL                           $8,583.29
        Confidential Customer USD Transferee #2294   [Address on File]         6/1/2023 USD                        $164.14 Customer Disbursement
        Confidential Customer USD Transferee #2294   [Address on File]        5/18/2023 USD                        $164.13 Customer Disbursement
                                                                                 TOTAL                            $328.27
        Confidential Customer USD Transferee #2295   [Address on File]        6/16/2023 USD                        $104.42 Customer Disbursement
                                                                                 TOTAL                            $104.42
        Confidential Customer USD Transferee #2296   [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2296   [Address on File]         6/1/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2296   [Address on File]        5/18/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $7,000.00
        Confidential Customer USD Transferee #2297   [Address on File]        6/21/2023 USD                        $718.47 Customer Disbursement
                                                                                 TOTAL                            $718.47
        Confidential Customer USD Transferee #2298   [Address on File]         6/8/2023 USD                         $25.00 Customer Disbursement
                                                                                 TOTAL                              $25.00
        Confidential Customer USD Transferee #2299   [Address on File]        5/17/2023 USD                      $1,042.00 Customer Disbursement
                                                                                 TOTAL                           $1,042.00
        Confidential Customer USD Transferee #2300   [Address on File]        6/12/2023 USD                         $47.99 Customer Disbursement
                                                                                 TOTAL                              $47.99
        Confidential Customer USD Transferee #2301   [Address on File]        6/16/2023 USD                         $51.19 Customer Disbursement
                                                                                 TOTAL                              $51.19
        Confidential Customer USD Transferee #2302   [Address on File]         6/5/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2302   [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2302   [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2302   [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                         $12,000.00
        Confidential Customer USD Transferee #2303   [Address on File]        5/23/2023 USD                        $398.42 Customer Disbursement
                                                                                 TOTAL                            $398.42
        Confidential Customer USD Transferee #2304   [Address on File]        5/25/2023 USD                      $1,098.84 Customer Disbursement
                                                                                 TOTAL                           $1,098.84
        Confidential Customer USD Transferee #2305   [Address on File]         6/6/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #2305   [Address on File]         6/2/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #2305   [Address on File]        5/25/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #2305   [Address on File]        5/22/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                           $1,300.00
        Confidential Customer USD Transferee #2306   [Address on File]        6/21/2023 USD                    $16,386.00 Customer Disbursement
        Confidential Customer USD Transferee #2306   [Address on File]        6/20/2023 USD                        $239.00 Customer Disbursement
                                                                                 TOTAL                         $16,625.00
        Confidential Customer USD Transferee #2307   [Address on File]        5/24/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2307   [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $5,000.00
        Confidential Customer USD Transferee #2308   [Address on File]        6/22/2023 USD                      $1,018.00 Customer Disbursement
        Confidential Customer USD Transferee #2308   [Address on File]        6/21/2023 USD                        $791.00 Customer Disbursement
        Confidential Customer USD Transferee #2308   [Address on File]        6/21/2023 USD                        $710.00 Customer Disbursement
        Confidential Customer USD Transferee #2308   [Address on File]        6/21/2023 USD                        $696.00 Customer Disbursement
        Confidential Customer USD Transferee #2308   [Address on File]        6/21/2023 USD                        $507.73 Customer Disbursement
                                                                                 TOTAL                           $3,722.73
        Confidential Customer USD Transferee #2309   [Address on File]        5/25/2023 USD                         $29.00 Customer Disbursement
                                                                                 TOTAL                              $29.00
        Confidential Customer USD Transferee #2310   [Address on File]        5/31/2023 USD                        $170.24 Customer Disbursement
                                                                                 TOTAL                            $170.24
        Confidential Customer USD Transferee #2311   [Address on File]         6/5/2023 USD                         $28.67 Customer Disbursement
                                                                                 TOTAL                              $28.67
        Confidential Customer USD Transferee #2312   [Address on File]        5/17/2023 USD                         $40.99 Customer Disbursement
                                                                                 TOTAL                              $40.99
        Confidential Customer USD Transferee #2313   [Address on File]        5/31/2023 USD                          $0.02 Customer Disbursement
                                                                                 TOTAL                               $0.02
        Confidential Customer USD Transferee #2314   [Address on File]        5/23/2023 USD                         $79.33 Customer Disbursement

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #2314   [Address on File]        5/22/2023 USD                        $40.98 Customer Disbursement
                                                                                 TOTAL                            $120.31
        Confidential Customer USD Transferee #2315   [Address on File]        5/31/2023 USD                       $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #2316   [Address on File]         6/7/2023 USD                        $50.00 Customer Disbursement
                                                                                 TOTAL                             $50.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2317                              6/20/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
        Confidential Customer USD Transferee #2318   [Address on File]          5/25/2023 USD                         $26.00 Customer Disbursement
                                                                                   TOTAL                              $26.00
        Confidential Customer USD Transferee #2319   [Address on File]           6/9/2023 USD                         $23.00 Customer Disbursement
                                                                                   TOTAL                              $23.00
        Confidential Customer USD Transferee #2320   [Address on File]           6/6/2023 USD                        $400.00 Customer Disbursement
                                                                                   TOTAL                            $400.00
        Confidential Customer USD Transferee #2321   [Address on File]          5/22/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #2322   [Address on File]          5/31/2023 USD                      $2,970.06 Customer Disbursement
                                                                                   TOTAL                           $2,970.06
        Confidential Customer USD Transferee #2323   [Address on File]          5/31/2023 USD                         $57.94 Customer Disbursement
        Confidential Customer USD Transferee #2323   [Address on File]          5/25/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #2323   [Address on File]          5/17/2023 USD                        $250.00 Customer Disbursement
                                                                                   TOTAL                            $607.94
        Confidential Customer USD Transferee #2324   [Address on File]           6/5/2023 USD                      $1,222.75 Customer Disbursement
        Confidential Customer USD Transferee #2324   [Address on File]          5/22/2023 USD                      $2,400.00 Customer Disbursement
                                                                                   TOTAL                           $3,622.75
        Confidential Customer USD Transferee #2325   [Address on File]          5/30/2023 USD                         $25.00 Customer Disbursement
                                                                                   TOTAL                              $25.00
        Confidential Customer USD Transferee #2326   [Address on File]          5/25/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
        Confidential Customer USD Transferee #2327   [Address on File]           6/6/2023 USD                        $207.43 Customer Disbursement
                                                                                   TOTAL                            $207.43
        Confidential Customer USD Transferee #2328   [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $3,000.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2329   [Address on File]         6/2/2023 USD                        $140.00 Customer Disbursement
        Confidential Customer USD Transferee #2329   [Address on File]        5/30/2023 USD                        $536.82 Customer Disbursement
        Confidential Customer USD Transferee #2329   [Address on File]        5/25/2023 USD                         $36.40 Customer Disbursement
        Confidential Customer USD Transferee #2329   [Address on File]        5/16/2023 USD                        $140.00 Customer Disbursement
                                                                                 TOTAL                            $853.22
        Confidential Customer USD Transferee #2330   [Address on File]        6/20/2023 USD                      $3,482.46 Customer Disbursement
        Confidential Customer USD Transferee #2330   [Address on File]        6/20/2023 USD                      $1,149.11 Customer Disbursement
                                                                                 TOTAL                           $4,631.57
        Confidential Customer USD Transferee #2331   [Address on File]        5/25/2023 USD                         $17.33 Customer Disbursement
                                                                                 TOTAL                              $17.33
        Confidential Customer USD Transferee #2332   [Address on File]        6/16/2023 USD                   $524,846.34 Customer Disbursement
        Confidential Customer USD Transferee #2332   [Address on File]         6/6/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2332   [Address on File]        5/31/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2332   [Address on File]        5/23/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2332   [Address on File]        5/18/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                        $604,846.34
        Confidential Customer USD Transferee #2333   [Address on File]        5/23/2023 USD                        $260.00 Customer Disbursement
                                                                                 TOTAL                            $260.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2334                              5/19/2023 USD                          $0.50 Customer Disbursement
                                                                                   TOTAL                               $0.50
        Confidential Customer USD Transferee #2335   [Address on File]          5/26/2023 USD                      $1,985.44 Customer Disbursement
                                                                                   TOTAL                           $1,985.44
        Confidential Customer USD Transferee #2336   [Address on File]           6/7/2023 USD                        $281.61 Customer Disbursement
        Confidential Customer USD Transferee #2336   [Address on File]           6/6/2023 USD                      $2,993.50 Customer Disbursement
                                                                                   TOTAL                           $3,275.11
        Confidential Customer USD Transferee #2337   [Address on File]           6/1/2023 USD                          $1.14 Customer Disbursement
                                                                                   TOTAL                               $1.14
        Confidential Customer USD Transferee #2338   [Address on File]           6/1/2023 USD                        $800.00 Customer Disbursement
                                                                                   TOTAL                            $800.00
        Confidential Customer USD Transferee #2339   [Address on File]           6/6/2023 USD                          $9.70 Customer Disbursement
                                                                                   TOTAL                               $9.70
        Confidential Customer USD Transferee #2340   [Address on File]          5/19/2023 USD                         $40.12 Customer Disbursement
                                                                                   TOTAL                              $40.12

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2341   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
        Confidential Customer USD Transferee #2342   [Address on File]        5/24/2023 USD                        $554.24 Customer Disbursement
                                                                                 TOTAL                            $554.24
        Confidential Customer USD Transferee #2343   [Address on File]         6/7/2023 USD                         $79.11 Customer Disbursement
        Confidential Customer USD Transferee #2343   [Address on File]        5/26/2023 USD                         $84.24 Customer Disbursement
                                                                                 TOTAL                            $163.35
        Confidential Customer USD Transferee #2344   [Address on File]        5/31/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #2344   [Address on File]        5/17/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $700.00
        Confidential Customer USD Transferee #2345   [Address on File]        6/20/2023 USD                         $17.37 Customer Disbursement
                                                                                 TOTAL                              $17.37
        Confidential Customer USD Transferee #2346   [Address on File]        5/16/2023 USD                          $3.59 Customer Disbursement
                                                                                 TOTAL                               $3.59
        Confidential Customer USD Transferee #2347   [Address on File]         6/6/2023 USD                         $26.00 Customer Disbursement
        Confidential Customer USD Transferee #2347   [Address on File]        5/31/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #2347   [Address on File]        5/30/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #2347   [Address on File]        5/16/2023 USD                         $49.00 Customer Disbursement
                                                                                 TOTAL                            $145.00
        Confidential Customer USD Transferee #2348   [Address on File]         6/5/2023 USD                        $335.55 Customer Disbursement
                                                                                 TOTAL                            $335.55
        Confidential Customer USD Transferee #2349   [Address on File]         6/9/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #2349   [Address on File]         6/9/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $150.00
        Confidential Customer USD Transferee #2350   [Address on File]         6/5/2023 USD                        $472.00 Customer Disbursement
                                                                                 TOTAL                            $472.00
        Confidential Customer USD Transferee #2351   [Address on File]         6/5/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
        Confidential Customer USD Transferee #2352   [Address on File]         6/5/2023 USD                          $0.77 Customer Disbursement
                                                                                 TOTAL                               $0.77
        Confidential Customer USD Transferee #2353   [Address on File]         6/5/2023 USD                        $120.00 Customer Disbursement
        Confidential Customer USD Transferee #2353   [Address on File]        5/31/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $220.00
        Confidential Customer USD Transferee #2354   [Address on File]        6/13/2023 USD                          $3.33 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                              $3.33
        Confidential Customer USD Transferee #2355         [Address on File]        6/21/2023 USD                        $34.98 Customer Disbursement
                                                                                       TOTAL                             $34.98
                                                           [Address on File]
        Confidential Customer USD Transferee #2356                                     6/9/2023 USD                     $2,600.31 Customer Disbursement
                                                                                         TOTAL                          $2,600.31
        Confidential Customer USD Transferee #2357         [Address on File]          5/16/2023 USD                   $200,195.00 Customer Disbursement
                                                                                         TOTAL                        $200,195.00
                                                           [Address on File]

        Confidential Customer USD Transferee #2358                                    5/26/2023 USD                      $1,500.00 Customer Disbursement
                                                                                         TOTAL                           $1,500.00
        Confidential Customer USD Transferee #2359         [Address on File]          5/17/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $20,000.00
        Confidential Customer USD Transferee #2360         [Address on File]          6/21/2023 USD                      $4,578.39 Customer Disbursement
        Confidential Customer USD Transferee #2360         [Address on File]           6/7/2023 USD                        $102.00 Customer Disbursement
        Confidential Customer USD Transferee #2360         [Address on File]           6/5/2023 USD                        $399.00 Customer Disbursement
        Confidential Customer USD Transferee #2360         [Address on File]          5/24/2023 USD                        $161.00 Customer Disbursement
                                                                                         TOTAL                           $5,240.39
                                                           [Address on File]
        Confidential Customer USD Transferee #2361                                    5/16/2023 USD                      $9,907.17 Customer Disbursement
                                                                                         TOTAL                           $9,907.17
                                                           [Address on File]
        Confidential Customer USD Transferee #2362                                     6/9/2023 USD                        $833.00 Customer Disbursement
                                                                                         TOTAL                             $833.00
        Confidential Customer USD Transferee #2363         [Address on File]          5/17/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #2364         [Address on File]          6/16/2023 USD                        $851.44 Customer Disbursement
        Confidential Customer USD Transferee #2364         [Address on File]          6/12/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                             $901.44
                                                           [Address on File]


        Confidential Customer USD Transferee #2365                                    6/12/2023 USD                      $5,030.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                            $5,030.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2366                                    6/16/2023 USD                         $94.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2366                                    6/15/2023 USD                         $93.46 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2366                                    6/14/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2366                                    6/13/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                             $587.46
        Confidential Customer USD Transferee #2367         [Address on File]          6/21/2023 USD                        $140.12 Customer Disbursement
                                                                                         TOTAL                             $140.12
        Confidential Customer USD Transferee #2368         [Address on File]          5/22/2023 USD                        $365.00 Customer Disbursement
        Confidential Customer USD Transferee #2368         [Address on File]          5/18/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                             $865.00
        Confidential Customer USD Transferee #2369         [Address on File]          5/23/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #2370         [Address on File]          5/25/2023 USD                        $130.32 Customer Disbursement
                                                                                         TOTAL                             $130.32
                                                           [Address on File]


        Confidential Customer USD Transferee #2371                                     6/7/2023 USD                      $2,985.00 Customer Disbursement
                                                                                         TOTAL                           $2,985.00
        Confidential Customer USD Transferee #2372         [Address on File]          6/16/2023 USD                         $97.84 Customer Disbursement
        Confidential Customer USD Transferee #2372         [Address on File]          6/16/2023 USD                        $812.78 Customer Disbursement
                                                                                         TOTAL                            $910.62
        Confidential Customer USD Transferee #2373         [Address on File]          5/24/2023 USD                         $21.36 Customer Disbursement
                                                                                         TOTAL                              $21.36
        Confidential Customer USD Transferee #2374         [Address on File]          5/31/2023 USD                      $1,802.55 Customer Disbursement
                                                                                         TOTAL                           $1,802.55
        Confidential Customer USD Transferee #2375         [Address on File]          6/20/2023 USD                        $239.00 Customer Disbursement
                                                                                         TOTAL                            $239.00
        Confidential Customer USD Transferee #2376         [Address on File]          5/23/2023 USD                          $1.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2376   [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $101.00
        Confidential Customer USD Transferee #2377   [Address on File]        5/19/2023 USD                      $3,366.34 Customer Disbursement
                                                                                 TOTAL                           $3,366.34
        Confidential Customer USD Transferee #2378   [Address on File]        5/24/2023 USD                      $5,335.00 Customer Disbursement
                                                                                 TOTAL                           $5,335.00
        Confidential Customer USD Transferee #2379   [Address on File]         6/7/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
        Confidential Customer USD Transferee #2380   [Address on File]         6/8/2023 USD                      $5,000.00 Customer Disbursement
                                                                                 TOTAL                           $5,000.00
        Confidential Customer USD Transferee #2381   [Address on File]        5/24/2023 USD                          $0.06 Customer Disbursement
                                                                                 TOTAL                               $0.06
        Confidential Customer USD Transferee #2382   [Address on File]         6/7/2023 USD                          $3.00 Customer Disbursement
                                                                                 TOTAL                               $3.00
        Confidential Customer USD Transferee #2383   [Address on File]        5/22/2023 USD                    $17,743.15 Customer Disbursement
                                                                                 TOTAL                         $17,743.15
        Confidential Customer USD Transferee #2384   [Address on File]        5/16/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
        Confidential Customer USD Transferee #2385   [Address on File]        5/23/2023 USD                         $28.98 Customer Disbursement
                                                                                 TOTAL                              $28.98
        Confidential Customer USD Transferee #2386   [Address on File]        5/25/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2387   [Address on File]        5/24/2023 USD                      $1,571.31 Customer Disbursement
                                                                                 TOTAL                           $1,571.31
        Confidential Customer USD Transferee #2388   [Address on File]        6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
        Confidential Customer USD Transferee #2389   [Address on File]         6/5/2023 USD                      $1,692.00 Customer Disbursement
        Confidential Customer USD Transferee #2389   [Address on File]         6/5/2023 USD                      $1,275.50 Customer Disbursement
        Confidential Customer USD Transferee #2389   [Address on File]         6/2/2023 USD                        $442.00 Customer Disbursement
        Confidential Customer USD Transferee #2389   [Address on File]        5/16/2023 USD                          $9.00 Customer Disbursement
                                                                                 TOTAL                           $3,418.50
        Confidential Customer USD Transferee #2390   [Address on File]         6/7/2023 USD                        $185.00 Customer Disbursement
                                                                                 TOTAL                            $185.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #2391                                    6/22/2023 USD                         $33.84 Customer Disbursement
                                                                                         TOTAL                              $33.84
        Confidential Customer USD Transferee #2392         [Address on File]          6/12/2023 USD                         $37.37 Customer Disbursement
                                                                                         TOTAL                              $37.37
        Confidential Customer USD Transferee #2393         [Address on File]          6/22/2023 USD                      $2,346.73 Customer Disbursement
                                                                                         TOTAL                           $2,346.73
        Confidential Customer USD Transferee #2394         [Address on File]          5/30/2023 USD                          $4.06 Customer Disbursement
        Confidential Customer USD Transferee #2394         [Address on File]          5/17/2023 USD                        $410.02 Customer Disbursement
                                                                                         TOTAL                            $414.08
        Confidential Customer USD Transferee #2395         [Address on File]          5/16/2023 USD                      $3,588.85 Customer Disbursement
                                                                                         TOTAL                           $3,588.85
        Confidential Customer USD Transferee #2396         [Address on File]           6/6/2023 USD                        $278.28 Customer Disbursement
        Confidential Customer USD Transferee #2396         [Address on File]           6/2/2023 USD                      $1,620.00 Customer Disbursement
        Confidential Customer USD Transferee #2396         [Address on File]          5/17/2023 USD                      $1,545.00 Customer Disbursement
                                                                                         TOTAL                           $3,443.28
        Confidential Customer USD Transferee #2397         [Address on File]           6/8/2023 USD                         $45.31 Customer Disbursement
                                                                                         TOTAL                              $45.31
        Confidential Customer USD Transferee #2398         [Address on File]          6/12/2023 USD                         $33.56 Customer Disbursement
                                                                                         TOTAL                              $33.56
        Confidential Customer USD Transferee #2399         [Address on File]          6/21/2023 USD                      $1,126.58 Customer Disbursement
                                                                                         TOTAL                           $1,126.58
        Confidential Customer USD Transferee #2400         [Address on File]          5/17/2023 USD                         $28.00 Customer Disbursement
                                                                                         TOTAL                              $28.00
        Confidential Customer USD Transferee #2401         [Address on File]          5/26/2023 USD                         $43.00 Customer Disbursement
                                                                                         TOTAL                              $43.00
        Confidential Customer USD Transferee #2402         [Address on File]           6/8/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #2403         [Address on File]           6/5/2023 USD                         $72.21 Customer Disbursement
                                                                                         TOTAL                              $72.21
        Confidential Customer USD Transferee #2404         [Address on File]          5/25/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #2405         [Address on File]          5/24/2023 USD                        $131.29 Customer Disbursement
                                                                                         TOTAL                            $131.29

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #2406   [Address on File]         6/8/2023 USD                       $490.74 Customer Disbursement
                                                                                 TOTAL                            $490.74
        Confidential Customer USD Transferee #2407   [Address on File]        5/24/2023 USD                       $297.68 Customer Disbursement
                                                                                 TOTAL                            $297.68
        Confidential Customer USD Transferee #2408   [Address on File]        5/31/2023 USD                        $93.00 Customer Disbursement
                                                                                 TOTAL                             $93.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2409                               6/7/2023 USD                         $25.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2409                               6/7/2023 USD                      $1,067.74 Customer Disbursement
                                                                                   TOTAL                           $1,092.74
        Confidential Customer USD Transferee #2410   [Address on File]          6/13/2023 USD                          $9.36 Customer Disbursement
                                                                                   TOTAL                               $9.36
        Confidential Customer USD Transferee #2411   [Address on File]          5/31/2023 USD                        $240.00 Customer Disbursement
                                                                                   TOTAL                            $240.00
        Confidential Customer USD Transferee #2412   [Address on File]          6/22/2023 USD                     $10,000.00 Customer Disbursement
                                                                                   TOTAL                          $10,000.00
        Confidential Customer USD Transferee #2413   [Address on File]          6/22/2023 USD                      $5,000.00 Customer Disbursement
                                                                                   TOTAL                           $5,000.00
        Confidential Customer USD Transferee #2414   [Address on File]           6/8/2023 USD                          $6.88 Customer Disbursement
                                                                                   TOTAL                               $6.88
        Confidential Customer USD Transferee #2415   [Address on File]          5/16/2023 USD                      $1,798.64 Customer Disbursement
                                                                                   TOTAL                           $1,798.64
        Confidential Customer USD Transferee #2416   [Address on File]          5/22/2023 USD                      $1,600.37 Customer Disbursement
                                                                                   TOTAL                           $1,600.37
        Confidential Customer USD Transferee #2417   [Address on File]          5/17/2023 USD                         $24.04 Customer Disbursement
                                                                                   TOTAL                              $24.04
        Confidential Customer USD Transferee #2418   [Address on File]          6/21/2023 USD                        $994.75 Customer Disbursement
                                                                                   TOTAL                            $994.75
        Confidential Customer USD Transferee #2419   [Address on File]          5/25/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #2420   [Address on File]          6/16/2023 USD                          $9.24 Customer Disbursement
                                                                                   TOTAL                               $9.24
        Confidential Customer USD Transferee #2421   [Address on File]          6/20/2023 USD                     $20,000.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                         $20,000.00
        Confidential Customer USD Transferee #2422         [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
        Confidential Customer USD Transferee #2423         [Address on File]        5/26/2023 USD                        $107.60 Customer Disbursement
                                                                                       TOTAL                            $107.60
                                                           [Address on File]
        Confidential Customer USD Transferee #2424                                    6/14/2023 USD                     $1,783.10 Customer Disbursement
                                                                                         TOTAL                          $1,783.10
        Confidential Customer USD Transferee #2425         [Address on File]          6/16/2023 USD                        $20.00 Customer Disbursement
                                                                                         TOTAL                             $20.00
        Confidential Customer USD Transferee #2426         [Address on File]          6/21/2023 USD                     $2,491.83 Customer Disbursement
        Confidential Customer USD Transferee #2426         [Address on File]          6/13/2023 USD                     $8,060.96 Customer Disbursement
        Confidential Customer USD Transferee #2426         [Address on File]          6/13/2023 USD                       $720.71 Customer Disbursement
        Confidential Customer USD Transferee #2426         [Address on File]          6/13/2023 USD                     $7,041.47 Customer Disbursement
        Confidential Customer USD Transferee #2426         [Address on File]           6/6/2023 USD                       $842.00 Customer Disbursement
        Confidential Customer USD Transferee #2426         [Address on File]           6/2/2023 USD                    $84,348.07 Customer Disbursement
        Confidential Customer USD Transferee #2426         [Address on File]          5/31/2023 USD                       $881.10 Customer Disbursement
        Confidential Customer USD Transferee #2426         [Address on File]          5/31/2023 USD                       $886.05 Customer Disbursement
        Confidential Customer USD Transferee #2426         [Address on File]          5/30/2023 USD                     $4,915.90 Customer Disbursement
        Confidential Customer USD Transferee #2426         [Address on File]          5/24/2023 USD                    $25,785.65 Customer Disbursement
        Confidential Customer USD Transferee #2426         [Address on File]          5/19/2023 USD                     $2,800.45 Customer Disbursement
                                                                                         TOTAL                        $138,774.19
        Confidential Customer USD Transferee #2427         [Address on File]          6/20/2023 USD                     $4,210.95 Customer Disbursement
        Confidential Customer USD Transferee #2427         [Address on File]           6/7/2023 USD                    $12,803.72 Customer Disbursement
        Confidential Customer USD Transferee #2427         [Address on File]          5/31/2023 USD                     $2,144.34 Customer Disbursement
        Confidential Customer USD Transferee #2427         [Address on File]          5/25/2023 USD                     $2,600.12 Customer Disbursement
        Confidential Customer USD Transferee #2427         [Address on File]          5/16/2023 USD                     $8,410.05 Customer Disbursement
                                                                                         TOTAL                         $30,169.18
        Confidential Customer USD Transferee #2428         [Address on File]          6/22/2023 USD                     $4,276.05 Customer Disbursement
        Confidential Customer USD Transferee #2428         [Address on File]          6/21/2023 USD                     $1,831.50 Customer Disbursement
        Confidential Customer USD Transferee #2428         [Address on File]          6/15/2023 USD                     $2,213.35 Customer Disbursement
        Confidential Customer USD Transferee #2428         [Address on File]          6/12/2023 USD                    $25,495.44 Customer Disbursement
        Confidential Customer USD Transferee #2428         [Address on File]           6/8/2023 USD                     $2,969.70 Customer Disbursement
        Confidential Customer USD Transferee #2428         [Address on File]          5/26/2023 USD                     $6,103.72 Customer Disbursement
        Confidential Customer USD Transferee #2428         [Address on File]          5/18/2023 USD                    $27,918.76 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2428   [Address on File]        5/17/2023 USD                    $12,435.66 Customer Disbursement
                                                                                 TOTAL                         $83,244.18
        Confidential Customer USD Transferee #2429   [Address on File]        6/21/2023 USD                         $14.20 Customer Disbursement
                                                                                 TOTAL                              $14.20
        Confidential Customer USD Transferee #2430   [Address on File]         6/9/2023 USD                   $550,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2430   [Address on File]         6/6/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #2430   [Address on File]         6/1/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #2430   [Address on File]        5/24/2023 USD                         $60.00 Customer Disbursement
        Confidential Customer USD Transferee #2430   [Address on File]        5/17/2023 USD                       $200.00 Customer Disbursement
                                                                                 TOTAL                        $550,365.00
        Confidential Customer USD Transferee #2431   [Address on File]        5/18/2023 USD                         $41.00 Customer Disbursement
                                                                                 TOTAL                              $41.00
        Confidential Customer USD Transferee #2432   [Address on File]        5/23/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
        Confidential Customer USD Transferee #2433   [Address on File]        6/16/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2433   [Address on File]         6/9/2023 USD                      $4,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2433   [Address on File]         6/5/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2433   [Address on File]        5/31/2023 USD                      $8,000.00 Customer Disbursement
                                                                                 TOTAL                         $22,000.00
        Confidential Customer USD Transferee #2434   [Address on File]         6/5/2023 USD                       $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00
        Confidential Customer USD Transferee #2435   [Address on File]        5/23/2023 USD                       $372.92 Customer Disbursement
        Confidential Customer USD Transferee #2435   [Address on File]        5/19/2023 USD                       $395.75 Customer Disbursement
                                                                                 TOTAL                            $768.67
        Confidential Customer USD Transferee #2436   [Address on File]         6/6/2023 USD                          $9.87 Customer Disbursement
        Confidential Customer USD Transferee #2436   [Address on File]         6/5/2023 USD                         $23.83 Customer Disbursement
                                                                                 TOTAL                              $33.70
        Confidential Customer USD Transferee #2437   [Address on File]        6/21/2023 USD                         $19.90 Customer Disbursement
        Confidential Customer USD Transferee #2437   [Address on File]         6/6/2023 USD                         $19.91 Customer Disbursement
        Confidential Customer USD Transferee #2437   [Address on File]        5/22/2023 USD                         $29.86 Customer Disbursement
        Confidential Customer USD Transferee #2437   [Address on File]        5/16/2023 USD                          $9.95 Customer Disbursement
                                                                                 TOTAL                              $79.62
                                                     [Address on File]
        Confidential Customer USD Transferee #2438                               6/1/2023 USD                             $1.00 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                              $1.00
        Confidential Customer USD Transferee #2439         [Address on File]        5/31/2023 USD                         $0.08 Customer Disbursement
                                                                                       TOTAL                              $0.08
                                                           [Address on File]
        Confidential Customer USD Transferee #2440                                    5/22/2023 USD                      $1,533.09 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2440                                    5/16/2023 USD                      $1,714.15 Customer Disbursement
                                                                                         TOTAL                           $3,247.24
        Confidential Customer USD Transferee #2441         [Address on File]          5/31/2023 USD                          $1.50 Customer Disbursement
                                                                                         TOTAL                               $1.50
        Confidential Customer USD Transferee #2442         [Address on File]          6/22/2023 USD                        $114.48 Customer Disbursement
        Confidential Customer USD Transferee #2442         [Address on File]          6/20/2023 USD                          $9.80 Customer Disbursement
                                                                                         TOTAL                            $124.28
        Confidential Customer USD Transferee #2443         [Address on File]          6/12/2023 USD                      $4,767.24 Customer Disbursement
        Confidential Customer USD Transferee #2443         [Address on File]          6/12/2023 USD                      $9,000.00 Customer Disbursement
                                                                                         TOTAL                          $13,767.24
        Confidential Customer USD Transferee #2444         [Address on File]          6/12/2023 USD                        $608.72 Customer Disbursement
                                                                                         TOTAL                            $608.72
        Confidential Customer USD Transferee #2445         [Address on File]           6/8/2023 USD                      $4,063.82 Customer Disbursement
                                                                                         TOTAL                           $4,063.82
        Confidential Customer USD Transferee #2446         [Address on File]          6/14/2023 USD                      $4,693.79 Customer Disbursement
        Confidential Customer USD Transferee #2446         [Address on File]          6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2446         [Address on File]           6/8/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2446         [Address on File]           6/5/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $46,693.79
        Confidential Customer USD Transferee #2447         [Address on File]          6/13/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2447         [Address on File]          6/12/2023 USD                     $18,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2447         [Address on File]           6/7/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2447         [Address on File]           6/6/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $78,000.00
        Confidential Customer USD Transferee #2448         [Address on File]           6/5/2023 USD                     $26,764.28 Customer Disbursement
                                                                                         TOTAL                          $26,764.28
        Confidential Customer USD Transferee #2449         [Address on File]          6/21/2023 USD                      $1,310.87 Customer Disbursement
                                                                                         TOTAL                           $1,310.87

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2450   [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2450   [Address on File]        5/23/2023 USD                        $990.58 Customer Disbursement
                                                                                 TOTAL                           $3,990.58
        Confidential Customer USD Transferee #2451   [Address on File]        5/23/2023 USD                        $150.00 Customer Disbursement
                                                                                 TOTAL                            $150.00
        Confidential Customer USD Transferee #2452   [Address on File]        6/20/2023 USD                      $2,287.00 Customer Disbursement
        Confidential Customer USD Transferee #2452   [Address on File]        6/20/2023 USD                         $67.00 Customer Disbursement
                                                                                 TOTAL                           $2,354.00
        Confidential Customer USD Transferee #2453   [Address on File]        5/24/2023 USD                        $960.41 Customer Disbursement
                                                                                 TOTAL                            $960.41
        Confidential Customer USD Transferee #2454   [Address on File]         6/6/2023 USD                        $180.00 Customer Disbursement
                                                                                 TOTAL                            $180.00
        Confidential Customer USD Transferee #2455   [Address on File]        5/16/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #2456   [Address on File]         6/7/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #2456   [Address on File]        5/31/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #2456   [Address on File]        5/23/2023 USD                         $90.00 Customer Disbursement
        Confidential Customer USD Transferee #2456   [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $590.00
        Confidential Customer USD Transferee #2457   [Address on File]        6/21/2023 USD                        $262.87 Customer Disbursement
                                                                                 TOTAL                            $262.87
        Confidential Customer USD Transferee #2458   [Address on File]        5/30/2023 USD                        $751.12 Customer Disbursement
                                                                                 TOTAL                            $751.12
        Confidential Customer USD Transferee #2459   [Address on File]        6/16/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #2460   [Address on File]         6/9/2023 USD                        $100.74 Customer Disbursement
                                                                                 TOTAL                            $100.74
        Confidential Customer USD Transferee #2461   [Address on File]        5/31/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00
        Confidential Customer USD Transferee #2462   [Address on File]         6/6/2023 USD                        $297.01 Customer Disbursement
                                                                                 TOTAL                            $297.01
        Confidential Customer USD Transferee #2463   [Address on File]        5/26/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                               $5.00
        Confidential Customer USD Transferee #2464   [Address on File]        5/31/2023 USD                         $20.66 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $20.66
        Confidential Customer USD Transferee #2465         [Address on File]        5/31/2023 USD                        $300.00 Customer Disbursement
                                                                                       TOTAL                            $300.00
        Confidential Customer USD Transferee #2466         [Address on File]        6/16/2023 USD                      $5,494.89 Customer Disbursement
                                                                                       TOTAL                           $5,494.89
                                                           [Address on File]
        Confidential Customer USD Transferee #2467                                    6/20/2023 USD                         $20.00 Customer Disbursement
                                                                                         TOTAL                              $20.00
        Confidential Customer USD Transferee #2468         [Address on File]           6/5/2023 USD                        $580.03 Customer Disbursement
                                                                                         TOTAL                            $580.03
        Confidential Customer USD Transferee #2469         [Address on File]          5/26/2023 USD                        $102.11 Customer Disbursement
                                                                                         TOTAL                            $102.11
        Confidential Customer USD Transferee #2470         [Address on File]          6/22/2023 USD                     $54,137.00 Customer Disbursement
        Confidential Customer USD Transferee #2470         [Address on File]           6/7/2023 USD                      $6,000.00 Customer Disbursement
                                                                                         TOTAL                          $60,137.00
        Confidential Customer USD Transferee #2471         [Address on File]          5/23/2023 USD                          $5.78 Customer Disbursement
        Confidential Customer USD Transferee #2471         [Address on File]          5/23/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                              $10.78
        Confidential Customer USD Transferee #2472         [Address on File]           6/8/2023 USD                          $9.55 Customer Disbursement
        Confidential Customer USD Transferee #2472         [Address on File]           6/8/2023 USD                         $15.45 Customer Disbursement
                                                                                         TOTAL                              $25.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2473                                    5/31/2023 USD                         $30.00 Customer Disbursement
                                                                                         TOTAL                              $30.00
        Confidential Customer USD Transferee #2474         [Address on File]          5/24/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #2475         [Address on File]          5/26/2023 USD                         $46.52 Customer Disbursement
                                                                                         TOTAL                              $46.52
        Confidential Customer USD Transferee #2476         [Address on File]          5/31/2023 USD                        $350.00 Customer Disbursement
                                                                                         TOTAL                             $350.00
        Confidential Customer USD Transferee #2477         [Address on File]          5/23/2023 USD                        $196.15 Customer Disbursement
                                                                                         TOTAL                             $196.15
        Confidential Customer USD Transferee #2478         [Address on File]          5/30/2023 USD                         $94.00 Customer Disbursement
                                                                                         TOTAL                              $94.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2479   [Address on File]        5/19/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2480                              5/23/2023 USD                         $93.48 Customer Disbursement
                                                                                   TOTAL                              $93.48
        Confidential Customer USD Transferee #2481   [Address on File]          5/16/2023 USD                        $384.79 Customer Disbursement
                                                                                   TOTAL                             $384.79
                                                     [Address on File]
        Confidential Customer USD Transferee #2482                              6/22/2023 USD                         $31.04 Customer Disbursement
                                                                                   TOTAL                              $31.04
        Confidential Customer USD Transferee #2483   [Address on File]          5/17/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2483   [Address on File]          5/17/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $5,000.00
        Confidential Customer USD Transferee #2484   [Address on File]          5/19/2023 USD                         $60.00 Customer Disbursement
                                                                                   TOTAL                              $60.00
        Confidential Customer USD Transferee #2485   [Address on File]          6/20/2023 USD                        $130.23 Customer Disbursement
                                                                                   TOTAL                            $130.23
        Confidential Customer USD Transferee #2486   [Address on File]           6/5/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2486   [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $6,000.00
        Confidential Customer USD Transferee #2487   [Address on File]           6/9/2023 USD                      $5,651.50 Customer Disbursement
                                                                                   TOTAL                           $5,651.50
        Confidential Customer USD Transferee #2488   [Address on File]          6/12/2023 USD                        $232.00 Customer Disbursement
                                                                                   TOTAL                            $232.00
        Confidential Customer USD Transferee #2489   [Address on File]          5/19/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2490                              6/21/2023 USD                      $1,276.00 Customer Disbursement
                                                                                   TOTAL                           $1,276.00
        Confidential Customer USD Transferee #2491   [Address on File]          5/23/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2492   [Address on File]          6/21/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #2492   [Address on File]          6/21/2023 USD                        $190.00 Customer Disbursement
                                                                                   TOTAL                            $690.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2493   [Address on File]        6/16/2023 USD                        $224.82 Customer Disbursement
                                                                                 TOTAL                            $224.82
        Confidential Customer USD Transferee #2494   [Address on File]        5/30/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #2494   [Address on File]        5/26/2023 USD                        $400.00 Customer Disbursement
                                                                                 TOTAL                            $700.00
        Confidential Customer USD Transferee #2495   [Address on File]         6/7/2023 USD                          $0.36 Customer Disbursement
                                                                                 TOTAL                               $0.36
        Confidential Customer USD Transferee #2496   [Address on File]        6/20/2023 USD                        $226.00 Customer Disbursement
                                                                                 TOTAL                            $226.00
        Confidential Customer USD Transferee #2497   [Address on File]         6/9/2023 USD                         $23.00 Customer Disbursement
        Confidential Customer USD Transferee #2497   [Address on File]         6/8/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #2497   [Address on File]         6/8/2023 USD                          $1.00 Customer Disbursement
                                                                                 TOTAL                              $25.00
        Confidential Customer USD Transferee #2498   [Address on File]        5/16/2023 USD                      $1,992.05 Customer Disbursement
                                                                                 TOTAL                           $1,992.05
        Confidential Customer USD Transferee #2499   [Address on File]        5/16/2023 USD                          $4.65 Customer Disbursement
                                                                                 TOTAL                               $4.65
        Confidential Customer USD Transferee #2500   [Address on File]        5/31/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2501   [Address on File]        6/15/2023 USD                        $122.37 Customer Disbursement
                                                                                 TOTAL                            $122.37
        Confidential Customer USD Transferee #2502   [Address on File]         6/9/2023 USD                         $25.00 Customer Disbursement
                                                                                 TOTAL                              $25.00
        Confidential Customer USD Transferee #2503   [Address on File]         6/1/2023 USD                         $30.75 Customer Disbursement
                                                                                 TOTAL                              $30.75
        Confidential Customer USD Transferee #2504   [Address on File]        5/23/2023 USD                          $5.69 Customer Disbursement
                                                                                 TOTAL                               $5.69
                                                     [Address on File]
        Confidential Customer USD Transferee #2505                              6/13/2023 USD                        $144.78 Customer Disbursement
                                                                                   TOTAL                            $144.78
        Confidential Customer USD Transferee #2506   [Address on File]          6/16/2023 USD                      $2,361.04 Customer Disbursement
                                                                                   TOTAL                           $2,361.04
                                                     [Address on File]
        Confidential Customer USD Transferee #2507                               6/9/2023 USD                      $2,000.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $2,000.00
        Confidential Customer USD Transferee #2508         [Address on File]        6/12/2023 USD                         $17.68 Customer Disbursement
                                                                                       TOTAL                              $17.68
        Confidential Customer USD Transferee #2509         [Address on File]        5/22/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #2510         [Address on File]        5/19/2023 USD                      $1,150.56 Customer Disbursement
                                                                                       TOTAL                           $1,150.56
                                                           [Address on File]
        Confidential Customer USD Transferee #2511                                    5/16/2023 USD                      $5,000.00 Customer Disbursement
                                                                                         TOTAL                           $5,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2512                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #2513         [Address on File]           6/5/2023 USD                        $764.11 Customer Disbursement
        Confidential Customer USD Transferee #2513         [Address on File]          5/30/2023 USD                        $800.36 Customer Disbursement
        Confidential Customer USD Transferee #2513         [Address on File]          5/23/2023 USD                      $1,016.54 Customer Disbursement
                                                                                         TOTAL                           $2,581.01
        Confidential Customer USD Transferee #2514         [Address on File]          6/16/2023 USD                         $45.93 Customer Disbursement
                                                                                         TOTAL                              $45.93
                                                           [Address on File]
        Confidential Customer USD Transferee #2515                                    5/23/2023 USD                         $70.00 Customer Disbursement
                                                                                         TOTAL                              $70.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2516                                     6/7/2023 USD                         $25.00 Customer Disbursement
                                                                                        TOTAL                               $25.00
        Confidential Customer USD Transferee #2517         [Address on File]           6/6/2023 USD                        $200.00 Customer Disbursement
                                                                                        TOTAL                              $200.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2518                                    6/22/2023 USD                        $117.32 Customer Disbursement
                                                                                         TOTAL                            $117.32
        Confidential Customer USD Transferee #2519         [Address on File]           6/5/2023 USD                          $2.41 Customer Disbursement
                                                                                         TOTAL                               $2.41
        Confidential Customer USD Transferee #2520         [Address on File]          5/16/2023 USD                      $2,477.19 Customer Disbursement
                                                                                         TOTAL                           $2,477.19

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2521   [Address on File]        5/23/2023 USD                        $110.00 Customer Disbursement
                                                                                 TOTAL                            $110.00
        Confidential Customer USD Transferee #2522   [Address on File]        5/23/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #2522   [Address on File]        5/23/2023 USD                          $5.25 Customer Disbursement
                                                                                 TOTAL                              $20.25
        Confidential Customer USD Transferee #2523   [Address on File]        5/31/2023 USD                      $1,413.00 Customer Disbursement
        Confidential Customer USD Transferee #2523   [Address on File]        5/25/2023 USD                      $1,732.00 Customer Disbursement
                                                                                 TOTAL                           $3,145.00
        Confidential Customer USD Transferee #2524   [Address on File]        5/18/2023 USD                        $500.04 Customer Disbursement
                                                                                 TOTAL                            $500.04
                                                     [Address on File]
        Confidential Customer USD Transferee #2525                              6/21/2023 USD                        $101.00 Customer Disbursement
                                                                                   TOTAL                            $101.00
        Confidential Customer USD Transferee #2526   [Address on File]          6/13/2023 USD                      $1,224.28 Customer Disbursement
                                                                                   TOTAL                           $1,224.28
        Confidential Customer USD Transferee #2527   [Address on File]          6/20/2023 USD                      $1,153.61 Customer Disbursement
                                                                                   TOTAL                           $1,153.61
                                                     [Address on File]
        Confidential Customer USD Transferee #2528                              5/31/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #2529   [Address on File]          6/20/2023 USD                        $507.62 Customer Disbursement
                                                                                   TOTAL                            $507.62
        Confidential Customer USD Transferee #2530   [Address on File]          5/30/2023 USD                      $4,830.69 Customer Disbursement
                                                                                   TOTAL                           $4,830.69
        Confidential Customer USD Transferee #2531   [Address on File]          5/18/2023 USD                      $1,246.22 Customer Disbursement
                                                                                   TOTAL                           $1,246.22
        Confidential Customer USD Transferee #2532   [Address on File]           6/5/2023 USD                         $72.79 Customer Disbursement
        Confidential Customer USD Transferee #2532   [Address on File]           6/5/2023 USD                        $150.00 Customer Disbursement
                                                                                   TOTAL                            $222.79
        Confidential Customer USD Transferee #2533   [Address on File]          5/22/2023 USD                          $5.62 Customer Disbursement
                                                                                   TOTAL                               $5.62
        Confidential Customer USD Transferee #2534   [Address on File]          5/31/2023 USD                        $198.25 Customer Disbursement
                                                                                   TOTAL                            $198.25
        Confidential Customer USD Transferee #2535   [Address on File]          5/31/2023 USD                        $101.01 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                            $101.01
        Confidential Customer USD Transferee #2536         [Address on File]        5/16/2023 USD                       $661.78 Customer Disbursement
                                                                                       TOTAL                            $661.78
        Confidential Customer USD Transferee #2537         [Address on File]        6/22/2023 USD                        $57.21 Customer Disbursement
                                                                                       TOTAL                             $57.21
        Confidential Customer USD Transferee #2538         [Address on File]         6/2/2023 USD                       $500.00 Customer Disbursement
                                                                                       TOTAL                            $500.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2539                                    6/22/2023 USD                         $13.43 Customer Disbursement
                                                                                         TOTAL                              $13.43
                                                           [Address on File]
        Confidential Customer USD Transferee #2540                                    6/21/2023 USD                        $245.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2540                                    6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $445.00
        Confidential Customer USD Transferee #2541         [Address on File]          6/21/2023 USD                        $164.00 Customer Disbursement
                                                                                         TOTAL                            $164.00
        Confidential Customer USD Transferee #2542         [Address on File]          5/23/2023 USD                        $234.97 Customer Disbursement
                                                                                         TOTAL                            $234.97
        Confidential Customer USD Transferee #2543         [Address on File]          6/21/2023 USD                      $1,601.93 Customer Disbursement
                                                                                         TOTAL                           $1,601.93
        Confidential Customer USD Transferee #2544         [Address on File]          6/21/2023 USD                      $1,061.00 Customer Disbursement
                                                                                         TOTAL                           $1,061.00
        Confidential Customer USD Transferee #2545         [Address on File]          6/13/2023 USD                        $347.84 Customer Disbursement
                                                                                         TOTAL                            $347.84
        Confidential Customer USD Transferee #2546         [Address on File]          6/20/2023 USD                        $212.89 Customer Disbursement
                                                                                         TOTAL                            $212.89
        Confidential Customer USD Transferee #2547         [Address on File]           6/5/2023 USD                        $874.20 Customer Disbursement
        Confidential Customer USD Transferee #2547         [Address on File]          5/30/2023 USD                        $192.14 Customer Disbursement
        Confidential Customer USD Transferee #2547         [Address on File]          5/22/2023 USD                        $545.00 Customer Disbursement
                                                                                         TOTAL                           $1,611.34
                                                           [Address on File]
        Confidential Customer USD Transferee #2548                                    5/16/2023 USD                             $0.01 Customer Disbursement
                                                                                         TOTAL                                  $0.01

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2549   [Address on File]         6/8/2023 USD                         $25.00 Customer Disbursement
                                                                                 TOTAL                              $25.00
        Confidential Customer USD Transferee #2550   [Address on File]        5/16/2023 USD                        $550.00 Customer Disbursement
                                                                                 TOTAL                            $550.00
        Confidential Customer USD Transferee #2551   [Address on File]         6/2/2023 USD                        $404.20 Customer Disbursement
                                                                                 TOTAL                            $404.20
        Confidential Customer USD Transferee #2552   [Address on File]        5/30/2023 USD                        $728.27 Customer Disbursement
                                                                                 TOTAL                            $728.27
        Confidential Customer USD Transferee #2553   [Address on File]        5/17/2023 USD                        $194.00 Customer Disbursement
                                                                                 TOTAL                            $194.00
        Confidential Customer USD Transferee #2554   [Address on File]        5/23/2023 USD                      $2,500.00 Customer Disbursement
                                                                                 TOTAL                           $2,500.00
        Confidential Customer USD Transferee #2555   [Address on File]        6/13/2023 USD                      $3,040.00 Customer Disbursement
        Confidential Customer USD Transferee #2555   [Address on File]        5/31/2023 USD                      $2,750.00 Customer Disbursement
                                                                                 TOTAL                           $5,790.00
        Confidential Customer USD Transferee #2556   [Address on File]        6/16/2023 USD                         $54.98 Customer Disbursement
                                                                                 TOTAL                              $54.98
        Confidential Customer USD Transferee #2557   [Address on File]        5/25/2023 USD                        $255.00 Customer Disbursement
        Confidential Customer USD Transferee #2557   [Address on File]        5/23/2023 USD                        $195.00 Customer Disbursement
        Confidential Customer USD Transferee #2557   [Address on File]        5/18/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #2557   [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $4,950.00
        Confidential Customer USD Transferee #2558   [Address on File]         6/5/2023 USD                      $1,567.91 Customer Disbursement
        Confidential Customer USD Transferee #2558   [Address on File]        5/22/2023 USD                      $1,567.90 Customer Disbursement
                                                                                 TOTAL                           $3,135.81
        Confidential Customer USD Transferee #2559   [Address on File]        6/21/2023 USD                         $29.17 Customer Disbursement
                                                                                 TOTAL                              $29.17
        Confidential Customer USD Transferee #2560   [Address on File]        6/15/2023 USD                        $994.53 Customer Disbursement
        Confidential Customer USD Transferee #2560   [Address on File]        5/31/2023 USD                        $995.10 Customer Disbursement
                                                                                 TOTAL                           $1,989.63
        Confidential Customer USD Transferee #2561   [Address on File]        5/31/2023 USD                         $17.69 Customer Disbursement
                                                                                 TOTAL                              $17.69
        Confidential Customer USD Transferee #2562   [Address on File]        5/30/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2563   [Address on File]         6/2/2023 USD                        $720.00 Customer Disbursement
        Confidential Customer USD Transferee #2563   [Address on File]        5/30/2023 USD                        $340.00 Customer Disbursement
        Confidential Customer USD Transferee #2563   [Address on File]        5/16/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #2563   [Address on File]        5/16/2023 USD                        $300.00 Customer Disbursement
                                                                                 TOTAL                           $1,380.00
        Confidential Customer USD Transferee #2564   [Address on File]        6/21/2023 USD                        $722.00 Customer Disbursement
                                                                                 TOTAL                            $722.00
        Confidential Customer USD Transferee #2565   [Address on File]         6/8/2023 USD                      $2,588.00 Customer Disbursement
                                                                                 TOTAL                           $2,588.00
        Confidential Customer USD Transferee #2566   [Address on File]        5/17/2023 USD                         $24.50 Customer Disbursement
                                                                                 TOTAL                              $24.50
        Confidential Customer USD Transferee #2567   [Address on File]        6/16/2023 USD                    $22,828.00 Customer Disbursement
                                                                                 TOTAL                         $22,828.00
        Confidential Customer USD Transferee #2568   [Address on File]        6/16/2023 USD                    $19,000.00 Customer Disbursement
                                                                                 TOTAL                         $19,000.00
        Confidential Customer USD Transferee #2569   [Address on File]        6/21/2023 USD                    $19,775.06 Customer Disbursement
        Confidential Customer USD Transferee #2569   [Address on File]        6/14/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $39,775.06
        Confidential Customer USD Transferee #2570   [Address on File]         6/5/2023 USD                         $99.86 Customer Disbursement
                                                                                 TOTAL                              $99.86
        Confidential Customer USD Transferee #2571   [Address on File]        6/20/2023 USD                        $335.63 Customer Disbursement
                                                                                 TOTAL                            $335.63
        Confidential Customer USD Transferee #2572   [Address on File]        6/16/2023 USD                        $350.00 Customer Disbursement
                                                                                 TOTAL                            $350.00
        Confidential Customer USD Transferee #2573   [Address on File]        6/20/2023 USD                      $1,302.68 Customer Disbursement
                                                                                 TOTAL                           $1,302.68
        Confidential Customer USD Transferee #2574   [Address on File]         6/8/2023 USD                         $44.00 Customer Disbursement
                                                                                 TOTAL                              $44.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2575                              5/24/2023 USD                         $53.70 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2575                              5/23/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2575                              5/17/2023 USD                        $200.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $453.70
        Confidential Customer USD Transferee #2576         [Address on File]         6/6/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #2576         [Address on File]         6/2/2023 USD                        $496.00 Customer Disbursement
                                                                                       TOTAL                            $546.00
        Confidential Customer USD Transferee #2577         [Address on File]        6/20/2023 USD                         $20.00 Customer Disbursement
                                                                                       TOTAL                              $20.00
        Confidential Customer USD Transferee #2578         [Address on File]        6/13/2023 USD                         $19.00 Customer Disbursement
                                                                                       TOTAL                              $19.00
        Confidential Customer USD Transferee #2579         [Address on File]        6/20/2023 USD                      $4,517.00 Customer Disbursement
                                                                                       TOTAL                           $4,517.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2580                                    6/16/2023 USD                       $175.31 Customer Disbursement
                                                                                         TOTAL                           $175.31
        Confidential Customer USD Transferee #2581         [Address on File]          5/24/2023 USD                         $5.00 Customer Disbursement
                                                                                         TOTAL                              $5.00
        Confidential Customer USD Transferee #2582         [Address on File]          5/24/2023 USD                        $12.00 Customer Disbursement
                                                                                         TOTAL                             $12.00
        Confidential Customer USD Transferee #2583         [Address on File]          6/20/2023 USD                       $153.06 Customer Disbursement
                                                                                         TOTAL                           $153.06
        Confidential Customer USD Transferee #2584         [Address on File]          6/16/2023 USD                     $3,288.14 Customer Disbursement
                                                                                         TOTAL                          $3,288.14
        Confidential Customer USD Transferee #2585         [Address on File]           6/2/2023 USD                        $82.00 Customer Disbursement
                                                                                         TOTAL                             $82.00
        Confidential Customer USD Transferee #2586         [Address on File]          5/22/2023 USD                   $306,000.00 Customer Disbursement
                                                                                         TOTAL                        $306,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2587                                    5/30/2023 USD                        $502.94 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2587                                    5/30/2023 USD                         $94.72 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2587                                    5/30/2023 USD                         $23.49 Customer Disbursement
                                                                                         TOTAL                             $621.15
        Confidential Customer USD Transferee #2588         [Address on File]          5/30/2023 USD                          $2.21 Customer Disbursement
                                                                                         TOTAL                               $2.21

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2589   [Address on File]        6/22/2023 USD                        $432.00 Customer Disbursement
        Confidential Customer USD Transferee #2589   [Address on File]        6/21/2023 USD                         $73.50 Customer Disbursement
                                                                                 TOTAL                            $505.50
        Confidential Customer USD Transferee #2590   [Address on File]         6/9/2023 USD                      $1,003.34 Customer Disbursement
        Confidential Customer USD Transferee #2590   [Address on File]        5/24/2023 USD                      $1,003.89 Customer Disbursement
        Confidential Customer USD Transferee #2590   [Address on File]        5/23/2023 USD                      $1,004.33 Customer Disbursement
                                                                                 TOTAL                           $3,011.56
        Confidential Customer USD Transferee #2591   [Address on File]         6/9/2023 USD                        $199.11 Customer Disbursement
                                                                                 TOTAL                            $199.11
        Confidential Customer USD Transferee #2592   [Address on File]        5/24/2023 USD                          $0.03 Customer Disbursement
                                                                                 TOTAL                               $0.03
        Confidential Customer USD Transferee #2593   [Address on File]        6/16/2023 USD                      $1,982.00 Customer Disbursement
        Confidential Customer USD Transferee #2593   [Address on File]        6/13/2023 USD                         $78.00 Customer Disbursement
        Confidential Customer USD Transferee #2593   [Address on File]        6/13/2023 USD                      $2,685.50 Customer Disbursement
                                                                                 TOTAL                           $4,745.50
        Confidential Customer USD Transferee #2594   [Address on File]        5/23/2023 USD                         $69.90 Customer Disbursement
                                                                                 TOTAL                              $69.90
        Confidential Customer USD Transferee #2595   [Address on File]        6/21/2023 USD                      $8,434.14 Customer Disbursement
                                                                                 TOTAL                           $8,434.14
        Confidential Customer USD Transferee #2596   [Address on File]        5/16/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #2597   [Address on File]         6/6/2023 USD                         $76.00 Customer Disbursement
        Confidential Customer USD Transferee #2597   [Address on File]        5/23/2023 USD                        $145.00 Customer Disbursement
                                                                                 TOTAL                            $221.00
        Confidential Customer USD Transferee #2598   [Address on File]         6/1/2023 USD                      $9,979.63 Customer Disbursement
        Confidential Customer USD Transferee #2598   [Address on File]        5/26/2023 USD                    $12,221.00 Customer Disbursement
        Confidential Customer USD Transferee #2598   [Address on File]        5/24/2023 USD                        $438.00 Customer Disbursement
                                                                                 TOTAL                         $22,638.63
        Confidential Customer USD Transferee #2599   [Address on File]        5/16/2023 USD                        $497.00 Customer Disbursement
                                                                                 TOTAL                            $497.00
        Confidential Customer USD Transferee #2600   [Address on File]        6/22/2023 USD                         $97.00 Customer Disbursement
        Confidential Customer USD Transferee #2600   [Address on File]        6/20/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $20,097.00


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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #2601                                    6/22/2023 USD                          $0.98 Customer Disbursement
                                                                                         TOTAL                               $0.98
        Confidential Customer USD Transferee #2602         [Address on File]          5/23/2023 USD                        $346.60 Customer Disbursement
                                                                                         TOTAL                            $346.60
        Confidential Customer USD Transferee #2603         [Address on File]           6/6/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2603         [Address on File]           6/1/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2603         [Address on File]          5/25/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2603         [Address on File]          5/17/2023 USD                      $1,600.00 Customer Disbursement
        Confidential Customer USD Transferee #2603         [Address on File]          5/17/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                           $6,700.00
        Confidential Customer USD Transferee #2604         [Address on File]          6/21/2023 USD                      $2,977.96 Customer Disbursement
                                                                                         TOTAL                           $2,977.96
        Confidential Customer USD Transferee #2605         [Address on File]          5/23/2023 USD                         $69.92 Customer Disbursement
                                                                                         TOTAL                              $69.92
        Confidential Customer USD Transferee #2606         [Address on File]          5/30/2023 USD                        $734.00 Customer Disbursement
                                                                                         TOTAL                            $734.00
        Confidential Customer USD Transferee #2607         [Address on File]          6/22/2023 USD                          $1.01 Customer Disbursement
        Confidential Customer USD Transferee #2607         [Address on File]           6/6/2023 USD                          $4.42 Customer Disbursement
        Confidential Customer USD Transferee #2607         [Address on File]          5/22/2023 USD                          $3.38 Customer Disbursement
                                                                                         TOTAL                               $8.81
        Confidential Customer USD Transferee #2608         [Address on File]          5/30/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2608         [Address on File]          5/17/2023 USD                      $2,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2609                                    6/22/2023 USD                         $31.47 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2609                                    6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                             $231.47
                                                           [Address on File]
        Confidential Customer USD Transferee #2610                                     6/6/2023 USD                             $9.98 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2610                                     6/2/2023 USD                         $99.50 Customer Disbursement
                                                                                        TOTAL                              $109.48

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2611   [Address on File]        6/13/2023 USD                      $1,745.73 Customer Disbursement
                                                                                 TOTAL                           $1,745.73
        Confidential Customer USD Transferee #2612   [Address on File]        6/21/2023 USD                    $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2612   [Address on File]        6/20/2023 USD                    $10,000.00 Customer Disbursement
                                                                                 TOTAL                         $20,000.00
        Confidential Customer USD Transferee #2613   [Address on File]        6/21/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2613   [Address on File]        6/21/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2613   [Address on File]        6/13/2023 USD                      $5,005.84 Customer Disbursement
        Confidential Customer USD Transferee #2613   [Address on File]         6/1/2023 USD                      $3,501.95 Customer Disbursement
        Confidential Customer USD Transferee #2613   [Address on File]        5/24/2023 USD                      $2,481.24 Customer Disbursement
        Confidential Customer USD Transferee #2613   [Address on File]        5/22/2023 USD                      $7,500.00 Customer Disbursement
        Confidential Customer USD Transferee #2613   [Address on File]        5/16/2023 USD                      $5,000.00 Customer Disbursement
                                                                                 TOTAL                         $33,489.03
        Confidential Customer USD Transferee #2614   [Address on File]        6/14/2023 USD                        $190.78 Customer Disbursement
                                                                                 TOTAL                            $190.78
        Confidential Customer USD Transferee #2615   [Address on File]        5/25/2023 USD                        $432.00 Customer Disbursement
        Confidential Customer USD Transferee #2615   [Address on File]        5/18/2023 USD                        $310.40 Customer Disbursement
                                                                                 TOTAL                            $742.40
        Confidential Customer USD Transferee #2616   [Address on File]        6/21/2023 USD                      $1,622.27 Customer Disbursement
                                                                                 TOTAL                           $1,622.27
        Confidential Customer USD Transferee #2617   [Address on File]        6/20/2023 USD                         $96.44 Customer Disbursement
                                                                                 TOTAL                              $96.44
        Confidential Customer USD Transferee #2618   [Address on File]        5/19/2023 USD                        $915.53 Customer Disbursement
                                                                                 TOTAL                            $915.53
        Confidential Customer USD Transferee #2619   [Address on File]         6/6/2023 USD                        $801.36 Customer Disbursement
                                                                                 TOTAL                            $801.36
        Confidential Customer USD Transferee #2620   [Address on File]        6/12/2023 USD                         $10.42 Customer Disbursement
                                                                                 TOTAL                              $10.42
        Confidential Customer USD Transferee #2621   [Address on File]        5/24/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2622                              5/31/2023 USD                          $0.96 Customer Disbursement
                                                                                   TOTAL                               $0.96
        Confidential Customer USD Transferee #2623   [Address on File]           6/5/2023 USD                         $23.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2623   [Address on File]         6/2/2023 USD                         $49.34 Customer Disbursement
                                                                                 TOTAL                              $72.34
        Confidential Customer USD Transferee #2624   [Address on File]        6/21/2023 USD                      $5,492.39 Customer Disbursement
                                                                                 TOTAL                           $5,492.39
        Confidential Customer USD Transferee #2625   [Address on File]        5/23/2023 USD                      $1,176.00 Customer Disbursement
                                                                                 TOTAL                           $1,176.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2626                              6/21/2023 USD                         $54.00 Customer Disbursement
                                                                                   TOTAL                              $54.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2627                              6/20/2023 USD                          $3.33 Customer Disbursement
                                                                                   TOTAL                               $3.33
        Confidential Customer USD Transferee #2628   [Address on File]          5/25/2023 USD                         $49.53 Customer Disbursement
                                                                                   TOTAL                              $49.53
        Confidential Customer USD Transferee #2629   [Address on File]          5/31/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2629   [Address on File]          5/17/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                           $1,050.00
        Confidential Customer USD Transferee #2630   [Address on File]          6/20/2023 USD                      $4,918.00 Customer Disbursement
        Confidential Customer USD Transferee #2630   [Address on File]          6/20/2023 USD                      $9,000.00 Customer Disbursement
                                                                                   TOTAL                          $13,918.00
        Confidential Customer USD Transferee #2631   [Address on File]          5/23/2023 USD                        $150.00 Customer Disbursement
                                                                                   TOTAL                            $150.00
        Confidential Customer USD Transferee #2632   [Address on File]          5/16/2023 USD                        $130.00 Customer Disbursement
                                                                                   TOTAL                            $130.00
        Confidential Customer USD Transferee #2633   [Address on File]           6/6/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
        Confidential Customer USD Transferee #2634   [Address on File]          5/25/2023 USD                        $101.00 Customer Disbursement
                                                                                   TOTAL                            $101.00
        Confidential Customer USD Transferee #2635   [Address on File]          5/23/2023 USD                         $48.04 Customer Disbursement
                                                                                   TOTAL                              $48.04
        Confidential Customer USD Transferee #2636   [Address on File]          6/21/2023 USD                        $127.97 Customer Disbursement
                                                                                   TOTAL                            $127.97
                                                     [Address on File]
        Confidential Customer USD Transferee #2637                              5/31/2023 USD                         $50.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $50.00
        Confidential Customer USD Transferee #2638         [Address on File]        6/16/2023 USD                    $27,589.76 Customer Disbursement
                                                                                       TOTAL                         $27,589.76
        Confidential Customer USD Transferee #2639         [Address on File]        6/21/2023 USD                         $19.00 Customer Disbursement
        Confidential Customer USD Transferee #2639         [Address on File]        6/21/2023 USD                        $632.00 Customer Disbursement
                                                                                       TOTAL                            $651.00
        Confidential Customer USD Transferee #2640         [Address on File]        5/18/2023 USD                        $111.17 Customer Disbursement
                                                                                       TOTAL                            $111.17
        Confidential Customer USD Transferee #2641         [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2642                                    6/22/2023 USD                         $70.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2642                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                             $270.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2643                                    6/21/2023 USD                         $42.04 Customer Disbursement
                                                                                         TOTAL                              $42.04
                                                           [Address on File]
        Confidential Customer USD Transferee #2644                                    6/22/2023 USD                        $147.47 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2644                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2644                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $547.47
        Confidential Customer USD Transferee #2645         [Address on File]           6/7/2023 USD                        $747.78 Customer Disbursement
                                                                                         TOTAL                            $747.78
        Confidential Customer USD Transferee #2646         [Address on File]          6/22/2023 USD                        $141.56 Customer Disbursement
                                                                                         TOTAL                            $141.56
        Confidential Customer USD Transferee #2647         [Address on File]          5/26/2023 USD                      $4,457.83 Customer Disbursement
                                                                                         TOTAL                           $4,457.83
        Confidential Customer USD Transferee #2648         [Address on File]          6/20/2023 USD                        $539.53 Customer Disbursement
                                                                                         TOTAL                            $539.53
        Confidential Customer USD Transferee #2649         [Address on File]           6/6/2023 USD                      $3,242.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $3,242.00
        Confidential Customer USD Transferee #2650         [Address on File]         6/7/2023 USD                      $3,860.81 Customer Disbursement
                                                                                       TOTAL                           $3,860.81
        Confidential Customer USD Transferee #2651         [Address on File]         6/6/2023 USD                        $487.50 Customer Disbursement
        Confidential Customer USD Transferee #2651         [Address on File]        5/23/2023 USD                        $453.45 Customer Disbursement
                                                                                       TOTAL                            $940.95
        Confidential Customer USD Transferee #2652         [Address on File]         6/8/2023 USD                        $201.00 Customer Disbursement
                                                                                       TOTAL                            $201.00
        Confidential Customer USD Transferee #2653         [Address on File]        6/12/2023 USD                      $1,585.87 Customer Disbursement
                                                                                       TOTAL                           $1,585.87
        Confidential Customer USD Transferee #2654         [Address on File]        6/14/2023 USD                        $571.37 Customer Disbursement
                                                                                       TOTAL                            $571.37
        Confidential Customer USD Transferee #2655         [Address on File]         6/8/2023 USD                        $895.57 Customer Disbursement
                                                                                       TOTAL                            $895.57
        Confidential Customer USD Transferee #2656         [Address on File]        5/26/2023 USD                        $207.57 Customer Disbursement
                                                                                       TOTAL                            $207.57
        Confidential Customer USD Transferee #2657         [Address on File]        5/23/2023 USD                         $13.85 Customer Disbursement
                                                                                       TOTAL                              $13.85
        Confidential Customer USD Transferee #2658         [Address on File]         6/5/2023 USD                        $244.03 Customer Disbursement
                                                                                       TOTAL                            $244.03
        Confidential Customer USD Transferee #2659         [Address on File]        6/21/2023 USD                      $1,875.56 Customer Disbursement
                                                                                       TOTAL                           $1,875.56
        Confidential Customer USD Transferee #2660         [Address on File]        6/21/2023 USD                        $109.45 Customer Disbursement
                                                                                       TOTAL                            $109.45
        Confidential Customer USD Transferee #2661         [Address on File]        5/23/2023 USD                      $3,281.40 Customer Disbursement
                                                                                       TOTAL                           $3,281.40
        Confidential Customer USD Transferee #2662         [Address on File]        5/23/2023 USD                      $5,366.00 Customer Disbursement
                                                                                       TOTAL                           $5,366.00
        Confidential Customer USD Transferee #2663         [Address on File]        5/22/2023 USD                  $2,028,556.27 Customer Disbursement
                                                                                       TOTAL                       $2,028,556.27
        Confidential Customer USD Transferee #2664         [Address on File]        6/12/2023 USD                      $1,113.00 Customer Disbursement
                                                                                       TOTAL                           $1,113.00
        Confidential Customer USD Transferee #2665         [Address on File]        5/25/2023 USD                          $7.76 Customer Disbursement
        Confidential Customer USD Transferee #2665         [Address on File]        5/22/2023 USD                         $97.42 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2665   [Address on File]        5/16/2023 USD                         $76.04 Customer Disbursement
                                                                                 TOTAL                            $181.22
        Confidential Customer USD Transferee #2666   [Address on File]         6/6/2023 USD                        $365.98 Customer Disbursement
                                                                                 TOTAL                            $365.98
        Confidential Customer USD Transferee #2667   [Address on File]         6/6/2023 USD                         $48.99 Customer Disbursement
        Confidential Customer USD Transferee #2667   [Address on File]         6/1/2023 USD                         $24.12 Customer Disbursement
                                                                                 TOTAL                              $73.11
        Confidential Customer USD Transferee #2668   [Address on File]        6/13/2023 USD                    $11,593.97 Customer Disbursement
                                                                                 TOTAL                         $11,593.97
        Confidential Customer USD Transferee #2669   [Address on File]        5/16/2023 USD                        $989.02 Customer Disbursement
                                                                                 TOTAL                            $989.02
        Confidential Customer USD Transferee #2670   [Address on File]         6/6/2023 USD                      $5,483.22 Customer Disbursement
                                                                                 TOTAL                           $5,483.22
        Confidential Customer USD Transferee #2671   [Address on File]         6/9/2023 USD                        $860.00 Customer Disbursement
                                                                                 TOTAL                            $860.00
        Confidential Customer USD Transferee #2672   [Address on File]        5/23/2023 USD                        $200.00 Customer Disbursement
                                                                                 TOTAL                            $200.00
        Confidential Customer USD Transferee #2673   [Address on File]        5/25/2023 USD                        $130.00 Customer Disbursement
                                                                                 TOTAL                            $130.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2674                              5/24/2023 USD                        $462.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2674                              5/24/2023 USD                        $338.00 Customer Disbursement
                                                                                   TOTAL                            $800.00
        Confidential Customer USD Transferee #2675   [Address on File]          6/14/2023 USD                      $1,037.53 Customer Disbursement
                                                                                   TOTAL                           $1,037.53
        Confidential Customer USD Transferee #2676   [Address on File]          5/22/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2677                              6/22/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $20.00
        Confidential Customer USD Transferee #2678   [Address on File]          5/22/2023 USD                      $1,700.00 Customer Disbursement
                                                                                   TOTAL                           $1,700.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #2679                                    5/24/2023 USD                      $1,543.09 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2679                                    5/18/2023 USD                      $1,821.12 Customer Disbursement
                                                                                         TOTAL                           $3,364.21
                                                           [Address on File]
        Confidential Customer USD Transferee #2680                                    5/31/2023 USD                          $0.04 Customer Disbursement
                                                                                         TOTAL                               $0.04
        Confidential Customer USD Transferee #2681         [Address on File]          6/16/2023 USD                        $520.35 Customer Disbursement
                                                                                         TOTAL                            $520.35
        Confidential Customer USD Transferee #2682         [Address on File]          5/30/2023 USD                      $1,108.00 Customer Disbursement
                                                                                         TOTAL                           $1,108.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2683                                    6/20/2023 USD                        $219.00 Customer Disbursement
                                                                                         TOTAL                            $219.00
        Confidential Customer USD Transferee #2684         [Address on File]           6/7/2023 USD                        $380.33 Customer Disbursement
                                                                                         TOTAL                            $380.33
        Confidential Customer USD Transferee #2685         [Address on File]          5/17/2023 USD                      $2,658.15 Customer Disbursement
                                                                                         TOTAL                           $2,658.15
        Confidential Customer USD Transferee #2686         [Address on File]          5/30/2023 USD                        $135.00 Customer Disbursement
        Confidential Customer USD Transferee #2686         [Address on File]          5/16/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                            $285.00
        Confidential Customer USD Transferee #2687         [Address on File]           6/5/2023 USD                        $992.33 Customer Disbursement
                                                                                         TOTAL                            $992.33
        Confidential Customer USD Transferee #2688         [Address on File]          6/21/2023 USD                        $197.00 Customer Disbursement
                                                                                         TOTAL                            $197.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2689                                    6/21/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #2690         [Address on File]          5/17/2023 USD                        $400.00 Customer Disbursement
                                                                                         TOTAL                             $400.00
        Confidential Customer USD Transferee #2691         [Address on File]           6/6/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                             $200.00


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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #2692                                    6/20/2023 USD                             $3.49 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2692                                     6/2/2023 USD                         $17.72 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2692                                     6/2/2023 USD                         $87.79 Customer Disbursement
                                                                                         TOTAL                            $109.00
        Confidential Customer USD Transferee #2693         [Address on File]          6/20/2023 USD                      $5,000.00 Customer Disbursement
                                                                                         TOTAL                           $5,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2694                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #2695         [Address on File]          5/24/2023 USD                      $1,527.01 Customer Disbursement
                                                                                         TOTAL                           $1,527.01
        Confidential Customer USD Transferee #2696         [Address on File]           6/2/2023 USD                        $158.92 Customer Disbursement
        Confidential Customer USD Transferee #2696         [Address on File]           6/2/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,158.92
        Confidential Customer USD Transferee #2697         [Address on File]          6/20/2023 USD                         $33.94 Customer Disbursement
                                                                                         TOTAL                              $33.94
        Confidential Customer USD Transferee #2698         [Address on File]          6/12/2023 USD                         $83.18 Customer Disbursement
                                                                                         TOTAL                              $83.18
        Confidential Customer USD Transferee #2699         [Address on File]           6/2/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #2699         [Address on File]          5/31/2023 USD                        $250.00 Customer Disbursement
                                                                                         TOTAL                            $350.00
        Confidential Customer USD Transferee #2700         [Address on File]          6/16/2023 USD                        $539.29 Customer Disbursement
                                                                                         TOTAL                            $539.29
                                                           [Address on File]
        Confidential Customer USD Transferee #2701                                     6/2/2023 USD                   $120,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2701                                    5/30/2023 USD                     $20,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2701                                    5/26/2023 USD                     $16,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2701                                    5/25/2023 USD                     $62,688.00 Customer Disbursement


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #2701                                    5/25/2023 USD                   $140,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2701                                    5/23/2023 USD                      $1,250.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2701                                    5/23/2023 USD                    $35,460.00 Customer Disbursement
                                                                                         TOTAL                        $395,398.00
        Confidential Customer USD Transferee #2702         [Address on File]           6/1/2023 USD                     $5,486.00 Customer Disbursement
        Confidential Customer USD Transferee #2702         [Address on File]          5/30/2023 USD                   $180,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2702         [Address on File]          5/25/2023 USD                     $8,193.00 Customer Disbursement
        Confidential Customer USD Transferee #2702         [Address on File]          5/18/2023 USD                    $45,000.00 Customer Disbursement
                                                                                         TOTAL                        $238,679.00
        Confidential Customer USD Transferee #2703         [Address on File]           6/7/2023 USD                    $96,250.00 Customer Disbursement
        Confidential Customer USD Transferee #2703         [Address on File]          5/25/2023 USD                     $7,334.00 Customer Disbursement
                                                                                         TOTAL                        $103,584.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2704                                    5/19/2023 USD                   $185,132.00 Customer Disbursement
                                                                                         TOTAL                        $185,132.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2705                                    5/23/2023 USD                     $28,000.00 Customer Disbursement
                                                                                         TOTAL                          $28,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2706                                     6/6/2023 USD                        $258.30 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2706                                    5/25/2023 USD                     $22,145.00 Customer Disbursement
                                                                                         TOTAL                          $22,403.30
        Confidential Customer USD Transferee #2707         [Address on File]          6/20/2023 USD                        $405.77 Customer Disbursement
        Confidential Customer USD Transferee #2707         [Address on File]          6/20/2023 USD                        $507.73 Customer Disbursement
        Confidential Customer USD Transferee #2707         [Address on File]          5/18/2023 USD                        $516.85 Customer Disbursement
                                                                                         TOTAL                           $1,430.35
        Confidential Customer USD Transferee #2708         [Address on File]          6/14/2023 USD                         $48.36 Customer Disbursement
                                                                                         TOTAL                              $48.36
                                                           [Address on File]
        Confidential Customer USD Transferee #2709                                    6/22/2023 USD                        $156.00 Customer Disbursement


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #2709                                     6/6/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2709                                     6/6/2023 USD                        $790.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2709                                     6/5/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2709                                    5/31/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2709                                    5/16/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                           $1,746.00
        Confidential Customer USD Transferee #2710         [Address on File]           6/6/2023 USD                         $20.00 Customer Disbursement
                                                                                         TOTAL                              $20.00
        Confidential Customer USD Transferee #2711         [Address on File]          6/13/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $20,000.00
                                                           [Address on File]

        Confidential Customer USD Transferee #2712                                     6/2/2023 USD                       $650.00 Customer Disbursement
                                                                                         TOTAL                           $650.00
        Confidential Customer USD Transferee #2713         [Address on File]          6/16/2023 USD                       $324.21 Customer Disbursement
                                                                                         TOTAL                           $324.21
        Confidential Customer USD Transferee #2714         [Address on File]          5/26/2023 USD                    $19,396.37 Customer Disbursement
                                                                                         TOTAL                         $19,396.37
        Confidential Customer USD Transferee #2715         [Address on File]          6/16/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2715         [Address on File]          6/15/2023 USD                    $80,000.00 Customer Disbursement
                                                                                         TOTAL                        $100,000.00
        Confidential Customer USD Transferee #2716         [Address on File]          5/22/2023 USD                       $400.00 Customer Disbursement
                                                                                         TOTAL                           $400.00
        Confidential Customer USD Transferee #2717         [Address on File]          5/30/2023 USD                        $28.18 Customer Disbursement
                                                                                         TOTAL                             $28.18
        Confidential Customer USD Transferee #2718         [Address on File]           6/6/2023 USD                       $220.00 Customer Disbursement
                                                                                         TOTAL                           $220.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2719                                    6/20/2023 USD                        $200.00 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                            $200.00
        Confidential Customer USD Transferee #2720         [Address on File]         6/8/2023 USD                       $206.23 Customer Disbursement
                                                                                       TOTAL                            $206.23
        Confidential Customer USD Transferee #2721         [Address on File]        6/21/2023 USD                       $234.28 Customer Disbursement
                                                                                       TOTAL                            $234.28
        Confidential Customer USD Transferee #2722         [Address on File]         6/5/2023 USD                       $767.53 Customer Disbursement
                                                                                       TOTAL                            $767.53
        Confidential Customer USD Transferee #2723         [Address on File]         6/2/2023 USD                         $5.00 Customer Disbursement
        Confidential Customer USD Transferee #2723         [Address on File]         6/2/2023 USD                       $640.00 Customer Disbursement
                                                                                       TOTAL                            $645.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2724                                    6/12/2023 USD                         $18.20 Customer Disbursement
                                                                                         TOTAL                              $18.20
        Confidential Customer USD Transferee #2725         [Address on File]          5/23/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #2726         [Address on File]          6/21/2023 USD                        $553.86 Customer Disbursement
                                                                                         TOTAL                            $553.86
        Confidential Customer USD Transferee #2727         [Address on File]          5/31/2023 USD                        $225.00 Customer Disbursement
                                                                                         TOTAL                            $225.00
        Confidential Customer USD Transferee #2728         [Address on File]          5/17/2023 USD                      $3,500.00 Customer Disbursement
                                                                                         TOTAL                           $3,500.00
        Confidential Customer USD Transferee #2729         [Address on File]           6/1/2023 USD                      $1,500.00 Customer Disbursement
                                                                                         TOTAL                           $1,500.00
        Confidential Customer USD Transferee #2730         [Address on File]           6/9/2023 USD                     $66,049.00 Customer Disbursement
        Confidential Customer USD Transferee #2730         [Address on File]          6/12/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $86,049.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2731                                     6/8/2023 USD                      $1,985.00 Customer Disbursement
                                                                                        TOTAL                            $1,985.00
                                                           [Address on File]

        Confidential Customer USD Transferee #2732                                     6/2/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #2733         [Address on File]          6/22/2023 USD                      $4,219.57 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $4,219.57
        Confidential Customer USD Transferee #2734         [Address on File]        6/12/2023 USD                    $21,344.17 Customer Disbursement
                                                                                       TOTAL                         $21,344.17
        Confidential Customer USD Transferee #2735         [Address on File]        6/20/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
        Confidential Customer USD Transferee #2736         [Address on File]        6/20/2023 USD                        $101.13 Customer Disbursement
                                                                                       TOTAL                            $101.13
                                                           [Address on File]
        Confidential Customer USD Transferee #2737                                    6/13/2023 USD                          $0.02 Customer Disbursement
                                                                                         TOTAL                               $0.02
        Confidential Customer USD Transferee #2738         [Address on File]          5/18/2023 USD                         $20.00 Customer Disbursement
                                                                                         TOTAL                              $20.00
        Confidential Customer USD Transferee #2739         [Address on File]           6/5/2023 USD                      $5,476.77 Customer Disbursement
                                                                                         TOTAL                           $5,476.77
                                                           [Address on File]
        Confidential Customer USD Transferee #2740                                     6/7/2023 USD                        $553.45 Customer Disbursement
                                                                                         TOTAL                             $553.45
        Confidential Customer USD Transferee #2741         [Address on File]          5/31/2023 USD                        $300.00 Customer Disbursement
                                                                                         TOTAL                             $300.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2742                                    6/21/2023 USD                         $33.41 Customer Disbursement
                                                                                         TOTAL                              $33.41
        Confidential Customer USD Transferee #2743         [Address on File]          6/14/2023 USD                      $2,992.86 Customer Disbursement
                                                                                         TOTAL                           $2,992.86
        Confidential Customer USD Transferee #2744         [Address on File]          5/22/2023 USD                        $101.50 Customer Disbursement
                                                                                         TOTAL                            $101.50
        Confidential Customer USD Transferee #2745         [Address on File]          5/17/2023 USD                      $8,000.00 Customer Disbursement
                                                                                         TOTAL                           $8,000.00
        Confidential Customer USD Transferee #2746         [Address on File]           6/1/2023 USD                        $230.00 Customer Disbursement
        Confidential Customer USD Transferee #2746         [Address on File]           6/1/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #2746         [Address on File]          5/23/2023 USD                        $306.30 Customer Disbursement
        Confidential Customer USD Transferee #2746         [Address on File]          5/23/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #2746         [Address on File]          5/19/2023 USD                        $280.00 Customer Disbursement
        Confidential Customer USD Transferee #2746         [Address on File]          5/18/2023 USD                      $1,000.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2746   [Address on File]        5/17/2023 USD                        $183.58 Customer Disbursement
                                                                                 TOTAL                           $2,999.88
        Confidential Customer USD Transferee #2747   [Address on File]        5/30/2023 USD                        $359.23 Customer Disbursement
                                                                                 TOTAL                            $359.23
        Confidential Customer USD Transferee #2748   [Address on File]        6/16/2023 USD                         $45.73 Customer Disbursement
                                                                                 TOTAL                              $45.73
        Confidential Customer USD Transferee #2749   [Address on File]        5/22/2023 USD                        $200.00 Customer Disbursement
                                                                                 TOTAL                            $200.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2750                              5/30/2023 USD                      $2,500.00 Customer Disbursement
                                                                                   TOTAL                           $2,500.00
        Confidential Customer USD Transferee #2751   [Address on File]           6/5/2023 USD                      $1,200.00 Customer Disbursement
        Confidential Customer USD Transferee #2751   [Address on File]           6/5/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $4,200.00
        Confidential Customer USD Transferee #2752   [Address on File]           6/1/2023 USD                          $1.00 Customer Disbursement
                                                                                   TOTAL                               $1.00
        Confidential Customer USD Transferee #2753   [Address on File]          6/13/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2753   [Address on File]          6/12/2023 USD                        $643.00 Customer Disbursement
                                                                                   TOTAL                           $9,643.00
        Confidential Customer USD Transferee #2754   [Address on File]           6/2/2023 USD                          $0.50 Customer Disbursement
                                                                                   TOTAL                               $0.50
        Confidential Customer USD Transferee #2755   [Address on File]          6/20/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2756   [Address on File]           6/8/2023 USD                      $2,000.00 Customer Disbursement
                                                                                   TOTAL                           $2,000.00
        Confidential Customer USD Transferee #2757   [Address on File]          6/16/2023 USD                         $19.46 Customer Disbursement
                                                                                   TOTAL                              $19.46
        Confidential Customer USD Transferee #2758   [Address on File]           6/6/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #2758   [Address on File]           6/5/2023 USD                        $350.00 Customer Disbursement
        Confidential Customer USD Transferee #2758   [Address on File]          5/26/2023 USD                        $799.09 Customer Disbursement
        Confidential Customer USD Transferee #2758   [Address on File]          5/19/2023 USD                      $2,032.58 Customer Disbursement
        Confidential Customer USD Transferee #2758   [Address on File]          5/17/2023 USD                        $624.75 Customer Disbursement
                                                                                   TOTAL                           $3,831.42
        Confidential Customer USD Transferee #2759   [Address on File]           6/8/2023 USD                        $575.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $575.00
        Confidential Customer USD Transferee #2760         [Address on File]        6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                       TOTAL                              $15.00
        Confidential Customer USD Transferee #2761         [Address on File]        5/19/2023 USD                         $12.00 Customer Disbursement
                                                                                       TOTAL                              $12.00
        Confidential Customer USD Transferee #2762         [Address on File]         6/6/2023 USD                      $4,049.15 Customer Disbursement
                                                                                       TOTAL                           $4,049.15
        Confidential Customer USD Transferee #2763         [Address on File]         6/8/2023 USD                        $328.93 Customer Disbursement
                                                                                       TOTAL                            $328.93
        Confidential Customer USD Transferee #2764         [Address on File]         6/7/2023 USD                      $4,917.15 Customer Disbursement
                                                                                       TOTAL                           $4,917.15
                                                           [Address on File]
        Confidential Customer USD Transferee #2765                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #2766         [Address on File]          5/31/2023 USD                      $1,600.00 Customer Disbursement
                                                                                         TOTAL                           $1,600.00
        Confidential Customer USD Transferee #2767         [Address on File]          6/21/2023 USD                        $529.80 Customer Disbursement
        Confidential Customer USD Transferee #2767         [Address on File]          6/20/2023 USD                     $87,154.15 Customer Disbursement
                                                                                         TOTAL                          $87,683.95
        Confidential Customer USD Transferee #2768         [Address on File]          6/21/2023 USD                          $6.22 Customer Disbursement
                                                                                         TOTAL                               $6.22
        Confidential Customer USD Transferee #2769         [Address on File]          6/12/2023 USD                        $467.15 Customer Disbursement
                                                                                         TOTAL                            $467.15
        Confidential Customer USD Transferee #2770         [Address on File]          6/13/2023 USD                      $5,603.73 Customer Disbursement
                                                                                         TOTAL                           $5,603.73
        Confidential Customer USD Transferee #2771         [Address on File]          6/21/2023 USD                     $16,349.30 Customer Disbursement
                                                                                         TOTAL                          $16,349.30
        Confidential Customer USD Transferee #2772         [Address on File]          6/20/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #2772         [Address on File]           6/8/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2773                                    6/22/2023 USD                        $129.00 Customer Disbursement
                                                                                         TOTAL                             $129.00
        Confidential Customer USD Transferee #2774         [Address on File]           6/2/2023 USD                        $271.24 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2774   [Address on File]        5/24/2023 USD                        $186.59 Customer Disbursement
                                                                                 TOTAL                            $457.83
        Confidential Customer USD Transferee #2775   [Address on File]        5/26/2023 USD                          $1.00 Customer Disbursement
                                                                                 TOTAL                               $1.00
        Confidential Customer USD Transferee #2776   [Address on File]        6/12/2023 USD                         $24.84 Customer Disbursement
                                                                                 TOTAL                              $24.84
        Confidential Customer USD Transferee #2777   [Address on File]         6/5/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2778   [Address on File]         6/2/2023 USD                         $12.00 Customer Disbursement
                                                                                 TOTAL                              $12.00
        Confidential Customer USD Transferee #2779   [Address on File]         6/6/2023 USD                         $26.65 Customer Disbursement
                                                                                 TOTAL                              $26.65
        Confidential Customer USD Transferee #2780   [Address on File]         6/6/2023 USD                        $524.68 Customer Disbursement
                                                                                 TOTAL                            $524.68
        Confidential Customer USD Transferee #2781   [Address on File]        5/22/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #2781   [Address on File]        5/22/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                           $2,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2782                              6/20/2023 USD                      $7,718.51 Customer Disbursement
                                                                                   TOTAL                           $7,718.51
        Confidential Customer USD Transferee #2783   [Address on File]           6/8/2023 USD                      $3,444.00 Customer Disbursement
        Confidential Customer USD Transferee #2783   [Address on File]           6/2/2023 USD                      $1,900.00 Customer Disbursement
        Confidential Customer USD Transferee #2783   [Address on File]          5/23/2023 USD                        $900.00 Customer Disbursement
                                                                                   TOTAL                           $6,244.00
        Confidential Customer USD Transferee #2784   [Address on File]          6/21/2023 USD                         $53.00 Customer Disbursement
                                                                                   TOTAL                              $53.00
        Confidential Customer USD Transferee #2785   [Address on File]          6/20/2023 USD                        $596.76 Customer Disbursement
                                                                                   TOTAL                            $596.76
        Confidential Customer USD Transferee #2786   [Address on File]          5/26/2023 USD                        $487.00 Customer Disbursement
        Confidential Customer USD Transferee #2786   [Address on File]          5/18/2023 USD                        $495.00 Customer Disbursement
                                                                                   TOTAL                            $982.00
        Confidential Customer USD Transferee #2787   [Address on File]          6/13/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #2788   [Address on File]          6/13/2023 USD                      $2,989.36 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $2,989.36
        Confidential Customer USD Transferee #2789         [Address on File]        6/12/2023 USD                          $1.49 Customer Disbursement
                                                                                       TOTAL                               $1.49
        Confidential Customer USD Transferee #2790         [Address on File]        5/25/2023 USD                        $500.00 Customer Disbursement
                                                                                       TOTAL                            $500.00
        Confidential Customer USD Transferee #2791         [Address on File]        6/14/2023 USD                      $7,625.57 Customer Disbursement
                                                                                       TOTAL                           $7,625.57
        Confidential Customer USD Transferee #2792         [Address on File]         6/6/2023 USD                      $2,600.00 Customer Disbursement
                                                                                       TOTAL                           $2,600.00
        Confidential Customer USD Transferee #2793         [Address on File]        6/21/2023 USD                         $38.98 Customer Disbursement
                                                                                       TOTAL                              $38.98
        Confidential Customer USD Transferee #2794         [Address on File]        5/30/2023 USD                         $50.00 Customer Disbursement
                                                                                       TOTAL                              $50.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2795                                    5/23/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #2796         [Address on File]          6/20/2023 USD                         $32.64 Customer Disbursement
                                                                                         TOTAL                              $32.64
        Confidential Customer USD Transferee #2797         [Address on File]           6/1/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2798                                    5/31/2023 USD                          $8.05 Customer Disbursement
                                                                                         TOTAL                               $8.05
        Confidential Customer USD Transferee #2799         [Address on File]           6/5/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2799         [Address on File]          5/31/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #2799         [Address on File]          5/23/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,500.00
        Confidential Customer USD Transferee #2800         [Address on File]          5/23/2023 USD                      $1,912.20 Customer Disbursement
                                                                                         TOTAL                           $1,912.20
        Confidential Customer USD Transferee #2801         [Address on File]          5/16/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                            $150.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2802                                     6/7/2023 USD                      $4,300.00 Customer Disbursement


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #2802                                     6/2/2023 USD                      $4,000.00 Customer Disbursement
                                                                                         TOTAL                           $8,300.00
        Confidential Customer USD Transferee #2803         [Address on File]          6/21/2023 USD                        $668.00 Customer Disbursement
                                                                                         TOTAL                            $668.00
        Confidential Customer USD Transferee #2804         [Address on File]          6/20/2023 USD                      $1,543.60 Customer Disbursement
                                                                                         TOTAL                           $1,543.60
        Confidential Customer USD Transferee #2805         [Address on File]           6/8/2023 USD                      $1,500.00 Customer Disbursement
                                                                                         TOTAL                           $1,500.00
                                                           [Address on File]

        Confidential Customer USD Transferee #2806                                    5/16/2023 USD                        $800.00 Customer Disbursement
                                                                                         TOTAL                            $800.00
        Confidential Customer USD Transferee #2807         [Address on File]          6/21/2023 USD                        $310.00 Customer Disbursement
                                                                                         TOTAL                            $310.00
        Confidential Customer USD Transferee #2808         [Address on File]          6/21/2023 USD                      $2,689.33 Customer Disbursement
                                                                                         TOTAL                           $2,689.33
        Confidential Customer USD Transferee #2809         [Address on File]          6/20/2023 USD                      $2,000.00 Customer Disbursement
                                                                                         TOTAL                           $2,000.00
        Confidential Customer USD Transferee #2810         [Address on File]          5/18/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #2811         [Address on File]          6/16/2023 USD                      $5,424.16 Customer Disbursement
                                                                                         TOTAL                           $5,424.16
        Confidential Customer USD Transferee #2812         [Address on File]          5/16/2023 USD                      $1,005.00 Customer Disbursement
                                                                                         TOTAL                           $1,005.00
        Confidential Customer USD Transferee #2813         [Address on File]          6/20/2023 USD                      $1,506.66 Customer Disbursement
                                                                                         TOTAL                           $1,506.66
        Confidential Customer USD Transferee #2814         [Address on File]          6/20/2023 USD                         $80.88 Customer Disbursement
                                                                                         TOTAL                              $80.88
        Confidential Customer USD Transferee #2815         [Address on File]          6/20/2023 USD                        $272.03 Customer Disbursement
                                                                                         TOTAL                            $272.03
        Confidential Customer USD Transferee #2816         [Address on File]           6/2/2023 USD                      $8,582.00 Customer Disbursement
                                                                                         TOTAL                           $8,582.00
        Confidential Customer USD Transferee #2817         [Address on File]          5/17/2023 USD                     $13,205.00 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                         $13,205.00
        Confidential Customer USD Transferee #2818         [Address on File]        5/30/2023 USD                       $200.00 Customer Disbursement
                                                                                       TOTAL                            $200.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2819                                    6/16/2023 USD                        $819.85 Customer Disbursement
                                                                                         TOTAL                            $819.85
        Confidential Customer USD Transferee #2820         [Address on File]          6/12/2023 USD                        $536.12 Customer Disbursement
                                                                                         TOTAL                            $536.12
        Confidential Customer USD Transferee #2821         [Address on File]           6/6/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2821         [Address on File]           6/1/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2821         [Address on File]          5/25/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #2821         [Address on File]          5/22/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $4,500.00
        Confidential Customer USD Transferee #2822         [Address on File]          6/16/2023 USD                      $5,709.37 Customer Disbursement
                                                                                         TOTAL                           $5,709.37
        Confidential Customer USD Transferee #2823         [Address on File]          6/20/2023 USD                      $1,153.00 Customer Disbursement
                                                                                         TOTAL                           $1,153.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2824                                     6/8/2023 USD                      $3,485.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2824                                     6/9/2023 USD                      $3,985.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #2824                                     6/8/2023 USD                      $3,485.00 Customer Disbursement
                                                                                         TOTAL                          $10,955.00
        Confidential Customer USD Transferee #2825         [Address on File]          5/26/2023 USD                          $2.98 Customer Disbursement
        Confidential Customer USD Transferee #2825         [Address on File]          5/23/2023 USD                          $2.84 Customer Disbursement
                                                                                         TOTAL                               $5.82
        Confidential Customer USD Transferee #2826         [Address on File]          5/26/2023 USD                        $109.20 Customer Disbursement
                                                                                         TOTAL                            $109.20
        Confidential Customer USD Transferee #2827         [Address on File]          6/21/2023 USD                     $10,187.89 Customer Disbursement
                                                                                         TOTAL                          $10,187.89
        Confidential Customer USD Transferee #2828         [Address on File]           6/8/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #2829         [Address on File]          6/12/2023 USD                      $1,057.65 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,057.65
        Confidential Customer USD Transferee #2830         [Address on File]        5/23/2023 USD                        $792.28 Customer Disbursement
                                                                                       TOTAL                            $792.28
        Confidential Customer USD Transferee #2831         [Address on File]         6/6/2023 USD                        $278.61 Customer Disbursement
        Confidential Customer USD Transferee #2831         [Address on File]        5/31/2023 USD                        $600.00 Customer Disbursement
        Confidential Customer USD Transferee #2831         [Address on File]        5/18/2023 USD                        $886.19 Customer Disbursement
        Confidential Customer USD Transferee #2831         [Address on File]        5/16/2023 USD                        $500.00 Customer Disbursement
                                                                                       TOTAL                           $2,264.80
        Confidential Customer USD Transferee #2832         [Address on File]        6/13/2023 USD                      $7,500.00 Customer Disbursement
        Confidential Customer USD Transferee #2832         [Address on File]         6/9/2023 USD                      $8,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2832         [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2832         [Address on File]        5/22/2023 USD                      $2,000.00 Customer Disbursement
                                                                                       TOTAL                         $20,500.00
        Confidential Customer USD Transferee #2833         [Address on File]        5/18/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $25.00
        Confidential Customer USD Transferee #2834         [Address on File]        6/16/2023 USD                          $5.74 Customer Disbursement
                                                                                       TOTAL                               $5.74
        Confidential Customer USD Transferee #2835         [Address on File]         6/2/2023 USD                      $1,114.51 Customer Disbursement
        Confidential Customer USD Transferee #2835         [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2835         [Address on File]        5/30/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #2835         [Address on File]        5/17/2023 USD                        $371.70 Customer Disbursement
                                                                                       TOTAL                           $4,986.21
        Confidential Customer USD Transferee #2836         [Address on File]         6/8/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $100.00
        Confidential Customer USD Transferee #2837         [Address on File]        5/31/2023 USD                      $1,900.00 Customer Disbursement
                                                                                       TOTAL                           $1,900.00
        Confidential Customer USD Transferee #2838         [Address on File]        6/20/2023 USD                        $753.76 Customer Disbursement
                                                                                       TOTAL                            $753.76
        Confidential Customer USD Transferee #2839         [Address on File]        6/21/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2839         [Address on File]        6/21/2023 USD                    $20,000.00 Customer Disbursement
                                                                                       TOTAL                         $25,000.00
        Confidential Customer USD Transferee #2840         [Address on File]        6/21/2023 USD                    $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2840         [Address on File]        6/21/2023 USD                    $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2840         [Address on File]        6/20/2023 USD                    $20,000.00 Customer Disbursement

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                                                                                                                                  Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                       TOTAL                         $40,000.00
        Confidential Customer USD Transferee #2841         [Address on File]         6/1/2023 USD                      $1,396.19 Customer Disbursement
        Confidential Customer USD Transferee #2841         [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2841         [Address on File]        5/30/2023 USD                      $1,396.18 Customer Disbursement
        Confidential Customer USD Transferee #2841         [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $8,792.37
        Confidential Customer USD Transferee #2842         [Address on File]        6/16/2023 USD                        $911.22 Customer Disbursement
                                                                                       TOTAL                            $911.22
        Confidential Customer USD Transferee #2843         [Address on File]        5/30/2023 USD                        $992.53 Customer Disbursement
                                                                                       TOTAL                            $992.53
        Confidential Customer USD Transferee #2844         [Address on File]         6/5/2023 USD                         $29.85 Customer Disbursement
        Confidential Customer USD Transferee #2844         [Address on File]        5/30/2023 USD                         $59.70 Customer Disbursement
                                                                                       TOTAL                              $89.55
        Confidential Customer USD Transferee #2845         [Address on File]        6/21/2023 USD                    $11,753.79 Customer Disbursement
                                                                                       TOTAL                         $11,753.79
        Confidential Customer USD Transferee #2846         [Address on File]        6/20/2023 USD                        $153.61 Customer Disbursement
                                                                                       TOTAL                            $153.61
        Confidential Customer USD Transferee #2847         [Address on File]        6/21/2023 USD                        $261.40 Customer Disbursement
                                                                                       TOTAL                            $261.40
        Confidential Customer USD Transferee #2848         [Address on File]        6/21/2023 USD                    $16,523.97 Customer Disbursement
                                                                                       TOTAL                         $16,523.97
        Confidential Customer USD Transferee #2849         [Address on File]         6/1/2023 USD                      $2,200.00 Investment Refund
                                                                                       TOTAL                           $2,200.00
        Confidential Customer USD Transferee #2850         [Address on File]         6/6/2023 USD                      $1,000.00 Customer Disbursement
                                                                                       TOTAL                           $1,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2851                                    6/13/2023 USD                         $71.12 Customer Disbursement
                                                                                         TOTAL                              $71.12
        Confidential Customer USD Transferee #2852         [Address on File]          6/16/2023 USD                          $5.76 Customer Disbursement
                                                                                         TOTAL                               $5.76
                                                           [Address on File]
        Confidential Customer USD Transferee #2853                                    5/19/2023 USD                      $1,600.00 Customer Disbursement
                                                                                         TOTAL                           $1,600.00
        Confidential Customer USD Transferee #2854         [Address on File]           6/5/2023 USD                         $40.00 Customer Disbursement

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #2854   [Address on File]        5/23/2023 USD                        $52.87 Customer Disbursement
                                                                                 TOTAL                             $92.87
                                                     [Address on File]
        Confidential Customer USD Transferee #2855                              6/22/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                             $200.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2856                              6/14/2023 USD                        $732.66 Customer Disbursement
                                                                                   TOTAL                            $732.66
        Confidential Customer USD Transferee #2857   [Address on File]           6/8/2023 USD                       $249.00 Investment Refund
                                                                                   TOTAL                            $249.00
        Confidential Customer USD Transferee #2858   [Address on File]           6/9/2023 USD                     $21,537.61 Customer Disbursement
                                                                                   TOTAL                          $21,537.61
        Confidential Customer USD Transferee #2859   [Address on File]          6/13/2023 USD                        $184.27 Customer Disbursement
                                                                                   TOTAL                            $184.27
        Confidential Customer USD Transferee #2860   [Address on File]          5/19/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #2861   [Address on File]          6/21/2023 USD                         $27.13 Customer Disbursement
                                                                                   TOTAL                              $27.13
        Confidential Customer USD Transferee #2862   [Address on File]          6/21/2023 USD                         $29.43 Customer Disbursement
        Confidential Customer USD Transferee #2862   [Address on File]          6/21/2023 USD                         $11.63 Customer Disbursement
        Confidential Customer USD Transferee #2862   [Address on File]          6/21/2023 USD                         $30.24 Customer Disbursement
                                                                                   TOTAL                              $71.30
                                                     [Address on File]
        Confidential Customer USD Transferee #2863                              6/22/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                             $100.00
        Confidential Customer USD Transferee #2864   [Address on File]          5/31/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #2865   [Address on File]          5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                             $100.00
        Confidential Customer USD Transferee #2866   [Address on File]           6/5/2023 USD                        $132.96 Customer Disbursement
        Confidential Customer USD Transferee #2866   [Address on File]          5/22/2023 USD                         $37.74 Customer Disbursement
                                                                                   TOTAL                             $170.70
        Confidential Customer USD Transferee #2867   [Address on File]          5/22/2023 USD                          $2.85 Customer Disbursement
                                                                                   TOTAL                               $2.85

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #2868   [Address on File]        5/19/2023 USD                         $6.00 Customer Disbursement
                                                                                 TOTAL                              $6.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2869                              6/20/2023 USD                          $9.35 Customer Disbursement
                                                                                   TOTAL                               $9.35
        Confidential Customer USD Transferee #2870   [Address on File]          6/16/2023 USD                        $250.00 Customer Disbursement
                                                                                   TOTAL                            $250.00
        Confidential Customer USD Transferee #2871   [Address on File]          6/16/2023 USD                      $9,413.95 Customer Disbursement
                                                                                   TOTAL                           $9,413.95
        Confidential Customer USD Transferee #2872   [Address on File]          5/22/2023 USD                        $360.00 Customer Disbursement
                                                                                   TOTAL                            $360.00
        Confidential Customer USD Transferee #2873   [Address on File]          6/20/2023 USD                         $53.00 Customer Disbursement
        Confidential Customer USD Transferee #2873   [Address on File]          6/12/2023 USD                      $1,816.00 Customer Disbursement
        Confidential Customer USD Transferee #2873   [Address on File]          5/30/2023 USD                      $2,936.00 Customer Disbursement
                                                                                   TOTAL                           $4,805.00
        Confidential Customer USD Transferee #2874   [Address on File]          6/21/2023 USD                      $1,389.09 Customer Disbursement
        Confidential Customer USD Transferee #2874   [Address on File]          6/16/2023 USD                        $338.65 Customer Disbursement
                                                                                   TOTAL                           $1,727.74
        Confidential Customer USD Transferee #2875   [Address on File]          5/30/2023 USD                        $235.00 Customer Disbursement
        Confidential Customer USD Transferee #2875   [Address on File]          5/30/2023 USD                        $250.00 Customer Disbursement
                                                                                   TOTAL                            $485.00
        Confidential Customer USD Transferee #2876   [Address on File]          5/22/2023 USD                      $4,765.66 Customer Disbursement
                                                                                   TOTAL                           $4,765.66
        Confidential Customer USD Transferee #2877   [Address on File]          5/30/2023 USD                         $31.70 Customer Disbursement
                                                                                   TOTAL                              $31.70
        Confidential Customer USD Transferee #2878   [Address on File]           6/1/2023 USD                         $56.00 Customer Disbursement
        Confidential Customer USD Transferee #2878   [Address on File]          5/31/2023 USD                         $56.00 Customer Disbursement
                                                                                   TOTAL                            $112.00
        Confidential Customer USD Transferee #2879   [Address on File]          5/18/2023 USD                      $1,810.82 Customer Disbursement
                                                                                   TOTAL                           $1,810.82
        Confidential Customer USD Transferee #2880   [Address on File]           6/7/2023 USD                          $5.05 Customer Disbursement
                                                                                   TOTAL                               $5.05
        Confidential Customer USD Transferee #2881   [Address on File]          6/20/2023 USD                      $2,766.91 Customer Disbursement
                                                                                   TOTAL                           $2,766.91

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2882   [Address on File]        6/21/2023 USD                         $89.00 Customer Disbursement
        Confidential Customer USD Transferee #2882   [Address on File]        6/21/2023 USD                        $888.23 Customer Disbursement
                                                                                 TOTAL                            $977.23
        Confidential Customer USD Transferee #2883   [Address on File]        5/31/2023 USD                      $3,853.11 Customer Disbursement
                                                                                 TOTAL                           $3,853.11
        Confidential Customer USD Transferee #2884   [Address on File]        5/18/2023 USD                         $22.00 Customer Disbursement
                                                                                 TOTAL                              $22.00
        Confidential Customer USD Transferee #2885   [Address on File]        6/12/2023 USD                          $8.85 Customer Disbursement
                                                                                 TOTAL                               $8.85
        Confidential Customer USD Transferee #2886   [Address on File]        6/13/2023 USD                      $1,448.46 Customer Disbursement
                                                                                 TOTAL                           $1,448.46
        Confidential Customer USD Transferee #2887   [Address on File]        6/21/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
        Confidential Customer USD Transferee #2888   [Address on File]        6/21/2023 USD                        $100.17 Customer Disbursement
        Confidential Customer USD Transferee #2888   [Address on File]        6/21/2023 USD                         $33.21 Customer Disbursement
                                                                                 TOTAL                            $133.38
        Confidential Customer USD Transferee #2889   [Address on File]         6/9/2023 USD                        $204.40 Customer Disbursement
                                                                                 TOTAL                            $204.40
                                                     [Address on File]
        Confidential Customer USD Transferee #2890                              6/21/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #2891   [Address on File]           6/2/2023 USD                        $454.10 Customer Disbursement
                                                                                   TOTAL                            $454.10
        Confidential Customer USD Transferee #2892   [Address on File]          6/20/2023 USD                        $236.00 Customer Disbursement
                                                                                   TOTAL                            $236.00
        Confidential Customer USD Transferee #2893   [Address on File]          6/13/2023 USD                        $229.00 Customer Disbursement
                                                                                   TOTAL                            $229.00
        Confidential Customer USD Transferee #2894   [Address on File]          6/21/2023 USD                         $14.36 Customer Disbursement
                                                                                   TOTAL                              $14.36
        Confidential Customer USD Transferee #2895   [Address on File]          5/23/2023 USD                      $4,542.00 Customer Disbursement
        Confidential Customer USD Transferee #2895   [Address on File]          5/23/2023 USD                        $138.00 Customer Disbursement
                                                                                   TOTAL                           $4,680.00
        Confidential Customer USD Transferee #2896   [Address on File]          5/23/2023 USD                        $367.27 Customer Disbursement
                                                                                   TOTAL                            $367.27

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                                      Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2897   [Address on File]        5/31/2023 USD                        $578.29 Customer Disbursement
                                                                                 TOTAL                            $578.29
        Confidential Customer USD Transferee #2898   [Address on File]        5/30/2023 USD                         $43.41 Customer Disbursement
        Confidential Customer USD Transferee #2898   [Address on File]        5/23/2023 USD                         $90.45 Customer Disbursement
                                                                                 TOTAL                            $133.86
        Confidential Customer USD Transferee #2899   [Address on File]        6/15/2023 USD                    $32,947.00 Customer Disbursement
                                                                                 TOTAL                         $32,947.00
        Confidential Customer USD Transferee #2900   [Address on File]        5/17/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #2901   [Address on File]        5/24/2023 USD                         $60.00 Customer Disbursement
                                                                                 TOTAL                              $60.00
        Confidential Customer USD Transferee #2902   [Address on File]        5/17/2023 USD                         $22.55 Customer Disbursement
                                                                                 TOTAL                              $22.55
        Confidential Customer USD Transferee #2903   [Address on File]        5/31/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #2903   [Address on File]        5/26/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,500.00
        Confidential Customer USD Transferee #2904   [Address on File]        5/22/2023 USD                         $35.00 Customer Disbursement
                                                                                 TOTAL                              $35.00
        Confidential Customer USD Transferee #2905   [Address on File]        5/18/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $2,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2906                               6/7/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2907   [Address on File]          5/30/2023 USD                        $831.00 Customer Disbursement
        Confidential Customer USD Transferee #2907   [Address on File]          5/30/2023 USD                        $800.00 Customer Disbursement
                                                                                   TOTAL                           $1,631.00
        Confidential Customer USD Transferee #2908   [Address on File]          5/16/2023 USD                          $1.00 Customer Disbursement
                                                                                   TOTAL                               $1.00
        Confidential Customer USD Transferee #2909   [Address on File]          6/16/2023 USD                      $4,772.15 Customer Disbursement
                                                                                   TOTAL                           $4,772.15
        Confidential Customer USD Transferee #2910   [Address on File]          6/12/2023 USD                     $15,000.00 Customer Disbursement
                                                                                   TOTAL                          $15,000.00
        Confidential Customer USD Transferee #2909   [Address on File]           6/7/2023 USD                     $10,000.00 Customer Disbursement
                                                                                   TOTAL                          $10,000.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2911   [Address on File]        6/13/2023 USD                      $2,163.90 Customer Disbursement
                                                                                 TOTAL                           $2,163.90
        Confidential Customer USD Transferee #2912   [Address on File]        5/18/2023 USD                        $600.00 Customer Disbursement
                                                                                 TOTAL                            $600.00
        Confidential Customer USD Transferee #2913   [Address on File]        5/25/2023 USD                          $4.00 Customer Disbursement
                                                                                 TOTAL                               $4.00
        Confidential Customer USD Transferee #2914   [Address on File]         6/5/2023 USD                      $1,500.08 Customer Disbursement
                                                                                 TOTAL                           $1,500.08
        Confidential Customer USD Transferee #2915   [Address on File]        6/16/2023 USD                         $35.00 Customer Disbursement
                                                                                 TOTAL                              $35.00
        Confidential Customer USD Transferee #2916   [Address on File]        6/20/2023 USD                        $424.54 Customer Disbursement
        Confidential Customer USD Transferee #2916   [Address on File]        5/17/2023 USD                        $207.48 Customer Disbursement
                                                                                 TOTAL                            $632.02
        Confidential Customer USD Transferee #2917   [Address on File]         6/5/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #2917   [Address on File]        5/22/2023 USD                        $250.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #2918   [Address on File]        6/20/2023 USD                        $156.91 Customer Disbursement
                                                                                 TOTAL                            $156.91
        Confidential Customer USD Transferee #2919   [Address on File]        5/25/2023 USD                          $1.88 Customer Disbursement
                                                                                 TOTAL                               $1.88
        Confidential Customer USD Transferee #2920   [Address on File]        5/31/2023 USD                         $58.15 Customer Disbursement
                                                                                 TOTAL                              $58.15
        Confidential Customer USD Transferee #2921   [Address on File]        5/31/2023 USD                        $117.73 Customer Disbursement
                                                                                 TOTAL                            $117.73
                                                     [Address on File]
        Confidential Customer USD Transferee #2922                               6/6/2023 USD                        $180.00 Customer Disbursement
                                                                                   TOTAL                            $180.00
        Confidential Customer USD Transferee #2923   [Address on File]          5/30/2023 USD                      $1,015.00 Customer Disbursement
                                                                                   TOTAL                           $1,015.00
        Confidential Customer USD Transferee #2924   [Address on File]          6/12/2023 USD                        $500.00 Customer Disbursement
                                                                                   TOTAL                            $500.00
        Confidential Customer USD Transferee #2925   [Address on File]           6/5/2023 USD                      $1,000.01 Customer Disbursement
        Confidential Customer USD Transferee #2925   [Address on File]          5/22/2023 USD                      $1,000.01 Customer Disbursement
                                                                                   TOTAL                           $2,000.02

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2926   [Address on File]        5/26/2023 USD                    $10,289.00 Customer Disbursement
                                                                                 TOTAL                         $10,289.00
        Confidential Customer USD Transferee #2927   [Address on File]         6/1/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2928   [Address on File]        5/23/2023 USD                        $546.00 Customer Disbursement
                                                                                 TOTAL                            $546.00
        Confidential Customer USD Transferee #2929   [Address on File]        6/16/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #2929   [Address on File]        6/13/2023 USD                        $300.00 Customer Disbursement
                                                                                 TOTAL                            $600.00
        Confidential Customer USD Transferee #2930   [Address on File]        5/18/2023 USD                      $1,201.75 Customer Disbursement
                                                                                 TOTAL                           $1,201.75
        Confidential Customer USD Transferee #2931   [Address on File]         6/6/2023 USD                        $600.00 Customer Disbursement
                                                                                 TOTAL                            $600.00
        Confidential Customer USD Transferee #2932   [Address on File]        5/23/2023 USD                        $572.65 Customer Disbursement
                                                                                 TOTAL                            $572.65
        Confidential Customer USD Transferee #2933   [Address on File]        5/24/2023 USD                        $529.65 Customer Disbursement
                                                                                 TOTAL                            $529.65
        Confidential Customer USD Transferee #2934   [Address on File]        5/23/2023 USD                        $300.00 Customer Disbursement
                                                                                 TOTAL                            $300.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2935                              5/24/2023 USD                      $2,986.76 Customer Disbursement
                                                                                   TOTAL                           $2,986.76
        Confidential Customer USD Transferee #2936   [Address on File]          6/14/2023 USD                        $564.55 Customer Disbursement
        Confidential Customer USD Transferee #2936   [Address on File]          5/23/2023 USD                      $1,140.60 Customer Disbursement
        Confidential Customer USD Transferee #2936   [Address on File]          5/22/2023 USD                      $2,990.26 Customer Disbursement
                                                                                   TOTAL                           $4,695.41
        Confidential Customer USD Transferee #2937   [Address on File]          6/12/2023 USD                         $11.57 Customer Disbursement
                                                                                   TOTAL                              $11.57
        Confidential Customer USD Transferee #2938   [Address on File]          5/19/2023 USD                         $24.91 Customer Disbursement
                                                                                   TOTAL                              $24.91
        Confidential Customer USD Transferee #2939   [Address on File]           6/7/2023 USD                         $32.90 Customer Disbursement
        Confidential Customer USD Transferee #2939   [Address on File]           6/6/2023 USD                         $59.92 Customer Disbursement
                                                                                   TOTAL                              $92.82
        Confidential Customer USD Transferee #2940   [Address on File]          6/13/2023 USD                         $30.63 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $30.63
        Confidential Customer USD Transferee #2941         [Address on File]        5/31/2023 USD                      $2,500.00 Customer Disbursement
                                                                                       TOTAL                           $2,500.00
        Confidential Customer USD Transferee #2942         [Address on File]        6/12/2023 USD                         $52.00 Customer Disbursement
                                                                                       TOTAL                              $52.00
        Confidential Customer USD Transferee #2943         [Address on File]        5/17/2023 USD                        $240.00 Customer Disbursement
                                                                                       TOTAL                            $240.00
        Confidential Customer USD Transferee #2944         [Address on File]        5/31/2023 USD                        $103.45 Customer Disbursement
                                                                                       TOTAL                            $103.45
        Confidential Customer USD Transferee #2945         [Address on File]         6/5/2023 USD                        $219.48 Customer Disbursement
        Confidential Customer USD Transferee #2945         [Address on File]        5/23/2023 USD                         $93.47 Customer Disbursement
                                                                                       TOTAL                            $312.95
        Confidential Customer USD Transferee #2946         [Address on File]        6/20/2023 USD                          $5.00 Customer Disbursement
                                                                                       TOTAL                               $5.00
        Confidential Customer USD Transferee #2947         [Address on File]        5/22/2023 USD                  $1,054,257.31 Customer Disbursement
                                                                                       TOTAL                       $1,054,257.31
        Confidential Customer USD Transferee #2948         [Address on File]        6/21/2023 USD                      $1,638.00 Customer Disbursement
        Confidential Customer USD Transferee #2948         [Address on File]        6/21/2023 USD                      $1,538.00 Customer Disbursement
        Confidential Customer USD Transferee #2948         [Address on File]        6/21/2023 USD                         $66.00 Customer Disbursement
        Confidential Customer USD Transferee #2948         [Address on File]        6/21/2023 USD                     $10,500.00 Customer Disbursement
                                                                                       TOTAL                          $13,742.00
        Confidential Customer USD Transferee #2949         [Address on File]        6/20/2023 USD                    $138,882.35 Customer Disbursement
                                                                                       TOTAL                        $138,882.35
                                                           [Address on File]
        Confidential Customer USD Transferee #2950                                    6/21/2023 USD                         $97.00 Customer Disbursement
                                                                                         TOTAL                              $97.00
                                                           [Address on File]
        Confidential Customer USD Transferee #2951                                    6/21/2023 USD                         $28.91 Customer Disbursement
                                                                                         TOTAL                              $28.91
        Confidential Customer USD Transferee #2952         [Address on File]          6/22/2023 USD                          $1.24 Customer Disbursement
        Confidential Customer USD Transferee #2952         [Address on File]          6/22/2023 USD                          $1.71 Customer Disbursement
        Confidential Customer USD Transferee #2952         [Address on File]          6/22/2023 USD                          $1.02 Customer Disbursement
        Confidential Customer USD Transferee #2952         [Address on File]          6/22/2023 USD                          $1.18 Customer Disbursement
        Confidential Customer USD Transferee #2952         [Address on File]          6/15/2023 USD                          $2.18 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2952   [Address on File]        6/15/2023 USD                          $1.17 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]        6/15/2023 USD                          $0.98 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]        6/15/2023 USD                          $1.17 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]        6/14/2023 USD                          $1.27 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]         6/8/2023 USD                          $1.32 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]         6/8/2023 USD                          $1.16 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]         6/2/2023 USD                          $9.99 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]         6/2/2023 USD                          $7.08 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]         6/2/2023 USD                         $19.97 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]         6/2/2023 USD                          $1.35 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]        5/31/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]        5/31/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]        5/31/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]        5/31/2023 USD                         $49.93 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]        5/31/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]        5/31/2023 USD                         $19.97 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]        5/17/2023 USD                          $3.15 Customer Disbursement
        Confidential Customer USD Transferee #2952   [Address on File]        5/17/2023 USD                          $1.27 Customer Disbursement
                                                                                 TOTAL                            $147.11
        Confidential Customer USD Transferee #2953   [Address on File]         6/7/2023 USD                         $47.93 Customer Disbursement
        Confidential Customer USD Transferee #2953   [Address on File]         6/7/2023 USD                         $47.93 Customer Disbursement
        Confidential Customer USD Transferee #2953   [Address on File]         6/7/2023 USD                         $30.38 Customer Disbursement
                                                                                 TOTAL                            $126.24
        Confidential Customer USD Transferee #2954   [Address on File]        6/21/2023 USD                         $17.25 Customer Disbursement
                                                                                 TOTAL                              $17.25
        Confidential Customer USD Transferee #2955   [Address on File]        5/31/2023 USD                      $1,984.04 Customer Disbursement
        Confidential Customer USD Transferee #2955   [Address on File]        5/31/2023 USD                         $99.33 Customer Disbursement
                                                                                 TOTAL                           $2,083.37
        Confidential Customer USD Transferee #2956   [Address on File]        5/24/2023 USD                      $2,679.06 Customer Disbursement
        Confidential Customer USD Transferee #2956   [Address on File]        5/19/2023 USD                      $2,322.96 Customer Disbursement
                                                                                 TOTAL                           $5,002.02
        Confidential Customer USD Transferee #2957   [Address on File]        5/30/2023 USD                        $121.60 Customer Disbursement
                                                                                 TOTAL                            $121.60
        Confidential Customer USD Transferee #2958   [Address on File]        5/22/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #2959   [Address on File]        6/21/2023 USD                      $1,758.96 Customer Disbursement
                                                                                 TOTAL                           $1,758.96
        Confidential Customer USD Transferee #2960   [Address on File]         6/2/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #2961   [Address on File]        6/13/2023 USD                      $3,140.40 Customer Disbursement
                                                                                 TOTAL                           $3,140.40
                                                     [Address on File]
        Confidential Customer USD Transferee #2962                              6/21/2023 USD                        $158.99 Customer Disbursement
                                                                                   TOTAL                            $158.99
        Confidential Customer USD Transferee #2963   [Address on File]           6/1/2023 USD                         $54.84 Customer Disbursement
        Confidential Customer USD Transferee #2963   [Address on File]           6/1/2023 USD                      $1,700.00 Customer Disbursement
        Confidential Customer USD Transferee #2963   [Address on File]          5/25/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2963   [Address on File]          5/25/2023 USD                      $2,944.94 Customer Disbursement
                                                                                   TOTAL                           $7,699.78
        Confidential Customer USD Transferee #2964   [Address on File]          5/24/2023 USD                          $0.72 Customer Disbursement
                                                                                   TOTAL                               $0.72
        Confidential Customer USD Transferee #2965   [Address on File]          6/20/2023 USD                      $3,240.00 Customer Disbursement
                                                                                   TOTAL                           $3,240.00
        Confidential Customer USD Transferee #2966   [Address on File]          5/31/2023 USD                        $481.63 Customer Disbursement
                                                                                   TOTAL                            $481.63
                                                     [Address on File]
        Confidential Customer USD Transferee #2967                               6/9/2023 USD                      $3,168.78 Customer Disbursement
                                                                                   TOTAL                           $3,168.78
        Confidential Customer USD Transferee #2968   [Address on File]          6/21/2023 USD                      $2,500.00 Customer Disbursement
        Confidential Customer USD Transferee #2968   [Address on File]          5/26/2023 USD                        $800.00 Customer Disbursement
        Confidential Customer USD Transferee #2968   [Address on File]          5/23/2023 USD                      $2,500.00 Customer Disbursement
                                                                                   TOTAL                           $5,800.00
        Confidential Customer USD Transferee #2969   [Address on File]           6/2/2023 USD                        $900.00 Customer Disbursement
                                                                                   TOTAL                            $900.00
        Confidential Customer USD Transferee #2970   [Address on File]          5/26/2023 USD                      $9,900.00 Customer Disbursement
                                                                                   TOTAL                           $9,900.00
        Confidential Customer USD Transferee #2971   [Address on File]           6/9/2023 USD                     $15,840.00 Customer Disbursement
        Confidential Customer USD Transferee #2971   [Address on File]          5/26/2023 USD                      $9,900.00 Customer Disbursement
                                                                                   TOTAL                          $25,740.00

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #2972   [Address on File]        6/21/2023 USD                       $517.00 Customer Disbursement
                                                                                 TOTAL                            $517.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2973                              6/21/2023 USD                      $1,234.00 Customer Disbursement
                                                                                   TOTAL                           $1,234.00
        Confidential Customer USD Transferee #2974   [Address on File]          5/24/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2975                               6/8/2023 USD                         $30.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2975                               6/8/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2975                               6/8/2023 USD                        $600.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2975                               6/5/2023 USD                      $3,200.00 Customer Disbursement
                                                                                  TOTAL                            $4,030.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2976                              6/15/2023 USD                         $40.00 Customer Disbursement
                                                                                   TOTAL                              $40.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2977                              5/31/2023 USD                             $1.97 Customer Disbursement
                                                                                   TOTAL                                  $1.97
        Confidential Customer USD Transferee #2978   [Address on File]          5/31/2023 USD                             $5.00 Customer Disbursement
                                                                                   TOTAL                                  $5.00
                                                     [Address on File]
        Confidential Customer USD Transferee #2979                              5/31/2023 USD                             $0.24 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2979                              5/31/2023 USD                        $160.30 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2979                              5/31/2023 USD                             $1.17 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2979                              5/31/2023 USD                             $6.03 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #2979                              5/31/2023 USD                        $827.09 Customer Disbursement


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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #2979                                    5/31/2023 USD                         $31.11 Customer Disbursement
                                                                                         TOTAL                           $1,025.94
        Confidential Customer USD Transferee #2980         [Address on File]          6/21/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #2981         [Address on File]          5/24/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #2982         [Address on File]          5/17/2023 USD                        $130.00 Customer Disbursement
                                                                                         TOTAL                            $130.00
        Confidential Customer USD Transferee #2983         [Address on File]          6/14/2023 USD                      $7,503.00 Customer Disbursement
        Confidential Customer USD Transferee #2983         [Address on File]          6/12/2023 USD                     $15,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2983         [Address on File]           6/7/2023 USD                     $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2983         [Address on File]           6/2/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2983         [Address on File]           6/1/2023 USD                     $15,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2983         [Address on File]          5/26/2023 USD                     $15,000.00 Customer Disbursement
                                                                                         TOTAL                          $67,503.00
        Confidential Customer USD Transferee #2984         [Address on File]          6/21/2023 USD                         $15.00 Customer Disbursement
                                                                                         TOTAL                              $15.00
        Confidential Customer USD Transferee #2985         [Address on File]          5/22/2023 USD                        $213.02 Customer Disbursement
                                                                                         TOTAL                            $213.02
        Confidential Customer USD Transferee #2986         [Address on File]          5/31/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #2987         [Address on File]          5/17/2023 USD                          $0.07 Customer Disbursement
                                                                                         TOTAL                               $0.07
                                                           [Address on File]
        Confidential Customer USD Transferee #2988                                    6/12/2023 USD                         $13.22 Customer Disbursement
                                                                                         TOTAL                              $13.22
        Confidential Customer USD Transferee #2989         [Address on File]          6/20/2023 USD                         $46.03 Customer Disbursement
                                                                                         TOTAL                              $46.03
        Confidential Customer USD Transferee #2990         [Address on File]          5/26/2023 USD                         $14.95 Customer Disbursement
                                                                                         TOTAL                              $14.95
                                                           [Address on File]
        Confidential Customer USD Transferee #2991                                    5/19/2023 USD                             $0.05 Customer Disbursement
                                                                                         TOTAL                                  $0.05

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                                                                                                                                  Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount           Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #2992                                    6/16/2023 USD                   $998,995.86 Customer Disbursement
                                                                                         TOTAL                        $998,995.86
        Confidential Customer USD Transferee #2993         [Address on File]          5/31/2023 USD                       $100.00 Customer Disbursement
                                                                                         TOTAL                           $100.00
        Confidential Customer USD Transferee #2994         [Address on File]          5/24/2023 USD                        $10.00 Customer Disbursement
                                                                                         TOTAL                             $10.00
        Confidential Customer USD Transferee #2995         [Address on File]          5/22/2023 USD                       $208.57 Customer Disbursement
                                                                                         TOTAL                           $208.57
        Confidential Customer USD Transferee #2996         [Address on File]           6/9/2023 USD                     $9,916.31 Customer Disbursement
        Confidential Customer USD Transferee #2996         [Address on File]           6/8/2023 USD                       $254.00 Customer Disbursement
                                                                                         TOTAL                         $10,170.31
        Confidential Customer USD Transferee #2997         [Address on File]          6/21/2023 USD                     $6,000.00 Customer Disbursement
                                                                                         TOTAL                          $6,000.00
        Confidential Customer USD Transferee #2998         [Address on File]          6/13/2023 USD                       $440.32 Customer Disbursement
                                                                                         TOTAL                           $440.32
        Confidential Customer USD Transferee #2999         [Address on File]          6/21/2023 USD                     $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #2999         [Address on File]          6/16/2023 USD                     $6,500.00 Customer Disbursement
                                                                                         TOTAL                         $11,500.00
        Confidential Customer USD Transferee #3000         [Address on File]          5/18/2023 USD                     $1,003.00 Customer Disbursement
                                                                                         TOTAL                          $1,003.00
        Confidential Customer USD Transferee #3001         [Address on File]          5/31/2023 USD                       $101.54 Customer Disbursement
                                                                                         TOTAL                           $101.54
        Confidential Customer USD Transferee #3002         [Address on File]           6/8/2023 USD                       $100.00 Customer Disbursement
                                                                                         TOTAL                           $100.00
        Confidential Customer USD Transferee #3003         [Address on File]          6/13/2023 USD                       $182.27 Customer Disbursement
        Confidential Customer USD Transferee #3003         [Address on File]          6/12/2023 USD                       $199.93 Customer Disbursement
                                                                                         TOTAL                           $382.20
        Confidential Customer USD Transferee #3004         [Address on File]           6/8/2023 USD                     $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3004         [Address on File]          5/31/2023 USD                     $2,000.00 Customer Disbursement
                                                                                         TOTAL                          $5,000.00
        Confidential Customer USD Transferee #3005         [Address on File]           6/6/2023 USD                       $100.00 Customer Disbursement
                                                                                         TOTAL                           $100.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3006                                    6/22/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #3007         [Address on File]          6/20/2023 USD                        $650.00 Customer Disbursement
                                                                                         TOTAL                            $650.00
        Confidential Customer USD Transferee #3008         [Address on File]          5/24/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #3009         [Address on File]           6/9/2023 USD                         $13.26 Customer Disbursement
                                                                                         TOTAL                              $13.26
        Confidential Customer USD Transferee #3010         [Address on File]          6/12/2023 USD                      $2,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3010         [Address on File]          5/31/2023 USD                      $3,900.00 Customer Disbursement
                                                                                         TOTAL                           $6,400.00
        Confidential Customer USD Transferee #3011         [Address on File]          6/20/2023 USD                      $3,672.08 Customer Disbursement
                                                                                         TOTAL                           $3,672.08
        Confidential Customer USD Transferee #3012         [Address on File]           6/6/2023 USD                        $754.75 Customer Disbursement
        Confidential Customer USD Transferee #3012         [Address on File]           6/6/2023 USD                      $3,168.87 Customer Disbursement
                                                                                         TOTAL                           $3,923.62
        Confidential Customer USD Transferee #3013         [Address on File]          5/23/2023 USD                         $52.00 Customer Disbursement
        Confidential Customer USD Transferee #3013         [Address on File]          5/23/2023 USD                        $399.00 Customer Disbursement
                                                                                         TOTAL                            $451.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3014                                    5/31/2023 USD                         $20.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3014                                    5/30/2023 USD                         $90.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3014                                    5/30/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                            $120.00
        Confidential Customer USD Transferee #3015         [Address on File]           6/8/2023 USD                      $2,678.27 Customer Disbursement
                                                                                         TOTAL                           $2,678.27
        Confidential Customer USD Transferee #3016         [Address on File]          5/31/2023 USD                         $35.33 Customer Disbursement
                                                                                         TOTAL                              $35.33
        Confidential Customer USD Transferee #3017         [Address on File]          6/13/2023 USD                        $368.76 Customer Disbursement
                                                                                         TOTAL                            $368.76
        Confidential Customer USD Transferee #3018         [Address on File]          5/26/2023 USD                      $4,753.36 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3018   [Address on File]        5/25/2023 USD                        $750.00 Customer Disbursement
        Confidential Customer USD Transferee #3018   [Address on File]        5/24/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                           $5,553.36
        Confidential Customer USD Transferee #3019   [Address on File]        6/20/2023 USD                        $767.00 Customer Disbursement
                                                                                 TOTAL                            $767.00
        Confidential Customer USD Transferee #3020   [Address on File]        6/21/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #3021   [Address on File]         6/7/2023 USD                          $0.01 Customer Disbursement
                                                                                 TOTAL                               $0.01
        Confidential Customer USD Transferee #3022   [Address on File]        5/30/2023 USD                         $11.65 Customer Disbursement
                                                                                 TOTAL                              $11.65
        Confidential Customer USD Transferee #3023   [Address on File]        6/21/2023 USD                        $108.59 Customer Disbursement
                                                                                 TOTAL                            $108.59
        Confidential Customer USD Transferee #3024   [Address on File]        5/18/2023 USD                        $153.18 Customer Disbursement
                                                                                 TOTAL                            $153.18
        Confidential Customer USD Transferee #3025   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3025   [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $6,000.00
        Confidential Customer USD Transferee #3026   [Address on File]         6/6/2023 USD                        $225.00 Customer Disbursement
        Confidential Customer USD Transferee #3026   [Address on File]        5/24/2023 USD                        $220.00 Customer Disbursement
        Confidential Customer USD Transferee #3026   [Address on File]        5/22/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                            $455.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3027                               6/6/2023 USD                        $205.06 Customer Disbursement
                                                                                   TOTAL                            $205.06
        Confidential Customer USD Transferee #3028   [Address on File]           6/6/2023 USD                      $1,077.89 Customer Disbursement
        Confidential Customer USD Transferee #3028   [Address on File]          5/23/2023 USD                        $773.88 Customer Disbursement
        Confidential Customer USD Transferee #3028   [Address on File]          5/22/2023 USD                      $1,220.00 Customer Disbursement
                                                                                   TOTAL                           $3,071.77
                                                     [Address on File]
        Confidential Customer USD Transferee #3029                              6/12/2023 USD                          $3.83 Customer Disbursement
                                                                                   TOTAL                               $3.83
        Confidential Customer USD Transferee #3030   [Address on File]          6/21/2023 USD                        $375.00 Customer Disbursement
        Confidential Customer USD Transferee #3030   [Address on File]           6/5/2023 USD                        $228.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $603.00
        Confidential Customer USD Transferee #3031         [Address on File]        5/31/2023 USD                        $311.63 Customer Disbursement
                                                                                       TOTAL                            $311.63
        Confidential Customer USD Transferee #3032         [Address on File]        6/20/2023 USD                      $4,852.77 Customer Disbursement
                                                                                       TOTAL                           $4,852.77
        Confidential Customer USD Transferee #3033         [Address on File]        6/21/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3033         [Address on File]        6/21/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3033         [Address on File]        6/20/2023 USD                      $5,000.00 Customer Disbursement
                                                                                       TOTAL                         $45,000.00
        Confidential Customer USD Transferee #3034         [Address on File]        6/21/2023 USD                        $528.62 Customer Disbursement
                                                                                       TOTAL                            $528.62
        Confidential Customer USD Transferee #3035         [Address on File]        6/13/2023 USD                      $3,326.51 Customer Disbursement
        Confidential Customer USD Transferee #3035         [Address on File]        6/13/2023 USD                      $2,242.60 Customer Disbursement
                                                                                       TOTAL                           $5,569.11
        Confidential Customer USD Transferee #3036         [Address on File]        6/21/2023 USD                        $496.93 Customer Disbursement
                                                                                       TOTAL                            $496.93
        Confidential Customer USD Transferee #3037         [Address on File]        6/13/2023 USD                      $1,079.70 Customer Disbursement
                                                                                       TOTAL                           $1,079.70
        Confidential Customer USD Transferee #3038         [Address on File]        5/31/2023 USD                         $39.48 Customer Disbursement
                                                                                       TOTAL                              $39.48
        Confidential Customer USD Transferee #3039         [Address on File]        6/20/2023 USD                         $63.66 Customer Disbursement
                                                                                       TOTAL                              $63.66
        Confidential Customer USD Transferee #3040         [Address on File]         6/9/2023 USD                         $87.00 Customer Disbursement
        Confidential Customer USD Transferee #3040         [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $187.00
        Confidential Customer USD Transferee #3041         [Address on File]         6/6/2023 USD                        $502.14 Customer Disbursement
        Confidential Customer USD Transferee #3041         [Address on File]        5/30/2023 USD                        $531.22 Customer Disbursement
        Confidential Customer USD Transferee #3041         [Address on File]        5/22/2023 USD                        $536.50 Customer Disbursement
                                                                                       TOTAL                           $1,569.86
        Confidential Customer USD Transferee #3042         [Address on File]         6/1/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3042         [Address on File]        5/16/2023 USD                      $1,738.24 Customer Disbursement
                                                                                       TOTAL                           $3,238.24
        Confidential Customer USD Transferee #3043         [Address on File]        5/26/2023 USD                         $51.84 Customer Disbursement
                                                                                       TOTAL                              $51.84

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3044   [Address on File]        5/17/2023 USD                      $5,512.60 Customer Disbursement
                                                                                 TOTAL                           $5,512.60
        Confidential Customer USD Transferee #3045   [Address on File]         6/9/2023 USD                      $2,037.04 Customer Disbursement
                                                                                 TOTAL                           $2,037.04
        Confidential Customer USD Transferee #3046   [Address on File]        5/25/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #3046   [Address on File]        5/22/2023 USD                          $5.01 Customer Disbursement
                                                                                 TOTAL                               $5.02
        Confidential Customer USD Transferee #3047   [Address on File]         6/8/2023 USD                      $2,830.81 Customer Disbursement
        Confidential Customer USD Transferee #3047   [Address on File]        5/31/2023 USD                      $2,492.45 Customer Disbursement
        Confidential Customer USD Transferee #3047   [Address on File]        5/25/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3047   [Address on File]        5/17/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $9,323.26
                                                     [Address on File]
        Confidential Customer USD Transferee #3048                              6/20/2023 USD                      $5,648.16 Customer Disbursement
                                                                                   TOTAL                           $5,648.16
        Confidential Customer USD Transferee #3049   [Address on File]           6/7/2023 USD                      $2,443.57 Customer Disbursement
                                                                                   TOTAL                           $2,443.57
        Confidential Customer USD Transferee #3050   [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3050   [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3050   [Address on File]          5/31/2023 USD                      $2,499.35 Customer Disbursement
                                                                                   TOTAL                           $8,499.35
        Confidential Customer USD Transferee #3051   [Address on File]           6/6/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
        Confidential Customer USD Transferee #3052   [Address on File]          5/25/2023 USD                        $277.00 Customer Disbursement
                                                                                   TOTAL                            $277.00
        Confidential Customer USD Transferee #3053   [Address on File]           6/6/2023 USD                        $451.72 Customer Disbursement
                                                                                   TOTAL                            $451.72
        Confidential Customer USD Transferee #3054   [Address on File]          5/18/2023 USD                      $2,650.00 Customer Disbursement
                                                                                   TOTAL                           $2,650.00
        Confidential Customer USD Transferee #3055   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $3,000.00
        Confidential Customer USD Transferee #3056   [Address on File]          6/21/2023 USD                         $43.61 Customer Disbursement
                                                                                   TOTAL                              $43.61
        Confidential Customer USD Transferee #3057   [Address on File]          5/31/2023 USD                         $23.09 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $23.09
        Confidential Customer USD Transferee #3058         [Address on File]        5/25/2023 USD                        $951.48 Customer Disbursement
                                                                                       TOTAL                            $951.48
        Confidential Customer USD Transferee #3059         [Address on File]        6/12/2023 USD                      $8,756.06 Customer Disbursement
                                                                                       TOTAL                           $8,756.06
        Confidential Customer USD Transferee #3060         [Address on File]        5/26/2023 USD                      $4,047.00 Customer Disbursement
                                                                                       TOTAL                           $4,047.00
        Confidential Customer USD Transferee #3061         [Address on File]        6/21/2023 USD                        $443.27 Customer Disbursement
                                                                                       TOTAL                            $443.27
        Confidential Customer USD Transferee #3062         [Address on File]        5/22/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $25.00
        Confidential Customer USD Transferee #3063         [Address on File]        5/23/2023 USD                      $1,347.56 Customer Disbursement
                                                                                       TOTAL                           $1,347.56
        Confidential Customer USD Transferee #3064         [Address on File]        5/24/2023 USD                         $54.08 Customer Disbursement
                                                                                       TOTAL                              $54.08
        Confidential Customer USD Transferee #3065         [Address on File]        6/21/2023 USD                      $4,074.28 Customer Disbursement
        Confidential Customer USD Transferee #3065         [Address on File]        6/21/2023 USD                        $546.97 Customer Disbursement
                                                                                       TOTAL                           $4,621.25
        Confidential Customer USD Transferee #3066         [Address on File]        6/13/2023 USD                        $991.00 Customer Disbursement
                                                                                       TOTAL                            $991.00
        Confidential Customer USD Transferee #3067         [Address on File]        5/22/2023 USD                    $19,824.51 Customer Disbursement
                                                                                       TOTAL                         $19,824.51
        Confidential Customer USD Transferee #3068         [Address on File]        6/21/2023 USD                      $1,774.86 Customer Disbursement
                                                                                       TOTAL                           $1,774.86
        Confidential Customer USD Transferee #3069         [Address on File]        6/12/2023 USD                          $1.54 Customer Disbursement
                                                                                       TOTAL                               $1.54
        Confidential Customer USD Transferee #3070         [Address on File]         6/6/2023 USD                      $4,924.64 Customer Disbursement
                                                                                       TOTAL                           $4,924.64
        Confidential Customer USD Transferee #3071         [Address on File]        6/20/2023 USD                      $1,000.00 Customer Disbursement
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3072         [Address on File]        6/12/2023 USD                          $0.83 Customer Disbursement
                                                                                       TOTAL                               $0.83
        Confidential Customer USD Transferee #3073         [Address on File]         6/5/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3073         [Address on File]        5/22/2023 USD                      $2,000.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $4,000.00
        Confidential Customer USD Transferee #3074         [Address on File]         6/6/2023 USD                      $2,995.00 Customer Disbursement
        Confidential Customer USD Transferee #3074         [Address on File]        5/22/2023 USD                      $3,495.00 Customer Disbursement
        Confidential Customer USD Transferee #3074         [Address on File]        5/17/2023 USD                      $2,995.00 Customer Disbursement
                                                                                       TOTAL                           $9,485.00
        Confidential Customer USD Transferee #3075         [Address on File]        5/16/2023 USD                        $356.44 Customer Disbursement
                                                                                       TOTAL                            $356.44
        Confidential Customer USD Transferee #3076         [Address on File]        5/22/2023 USD                    $10,583.30 Customer Disbursement
                                                                                       TOTAL                         $10,583.30
        Confidential Customer USD Transferee #3077         [Address on File]        6/20/2023 USD                        $426.43 Customer Disbursement
        Confidential Customer USD Transferee #3077         [Address on File]        6/20/2023 USD                        $773.57 Customer Disbursement
                                                                                       TOTAL                           $1,200.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3078                                    5/16/2023 USD                      $2,789.00 Customer Disbursement
                                                                                         TOTAL                           $2,789.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3079                                    6/16/2023 USD                        $462.10 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3079                                     6/8/2023 USD                        $100.76 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3079                                     6/6/2023 USD                         $46.96 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3079                                     6/5/2023 USD                        $284.18 Customer Disbursement
                                                                                         TOTAL                            $894.00
        Confidential Customer USD Transferee #3080         [Address on File]          6/20/2023 USD                      $1,240.00 Customer Disbursement
                                                                                         TOTAL                           $1,240.00
        Confidential Customer USD Transferee #3081         [Address on File]          5/16/2023 USD                          $6.00 Customer Disbursement
                                                                                         TOTAL                               $6.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3082                                    6/12/2023 USD                        $400.66 Customer Disbursement
                                                                                         TOTAL                             $400.66
        Confidential Customer USD Transferee #3083         [Address on File]          5/31/2023 USD                        $749.70 Customer Disbursement
                                                                                         TOTAL                             $749.70
        Confidential Customer USD Transferee #3084         [Address on File]           6/5/2023 USD                        $100.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3084   [Address on File]        5/26/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #3084   [Address on File]        5/24/2023 USD                        $150.00 Customer Disbursement
                                                                                 TOTAL                            $400.00
        Confidential Customer USD Transferee #3085   [Address on File]        5/19/2023 USD                      $1,079.00 Customer Disbursement
                                                                                 TOTAL                           $1,079.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3086                               6/6/2023 USD                         $67.37 Customer Disbursement
                                                                                   TOTAL                              $67.37
        Confidential Customer USD Transferee #3087   [Address on File]          5/31/2023 USD                        $465.00 Customer Disbursement
                                                                                   TOTAL                            $465.00
        Confidential Customer USD Transferee #3088   [Address on File]           6/5/2023 USD                          $1.00 Customer Disbursement
                                                                                   TOTAL                               $1.00
        Confidential Customer USD Transferee #3089   [Address on File]          5/22/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #3090   [Address on File]          6/20/2023 USD                         $30.00 Customer Disbursement
                                                                                   TOTAL                              $30.00
        Confidential Customer USD Transferee #3091   [Address on File]           6/6/2023 USD                         $12.00 Customer Disbursement
                                                                                   TOTAL                              $12.00
        Confidential Customer USD Transferee #3092   [Address on File]           6/5/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3092   [Address on File]          5/31/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $700.00
        Confidential Customer USD Transferee #3093   [Address on File]           6/7/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
        Confidential Customer USD Transferee #3094   [Address on File]          5/25/2023 USD                         $84.46 Customer Disbursement
                                                                                   TOTAL                              $84.46
        Confidential Customer USD Transferee #3095   [Address on File]           6/5/2023 USD                      $8,110.57 Customer Disbursement
                                                                                   TOTAL                           $8,110.57
        Confidential Customer USD Transferee #3096   [Address on File]          6/20/2023 USD                         $39.29 Customer Disbursement
                                                                                   TOTAL                              $39.29
        Confidential Customer USD Transferee #3097   [Address on File]          5/18/2023 USD                      $4,494.34 Customer Disbursement
                                                                                   TOTAL                           $4,494.34
        Confidential Customer USD Transferee #3098   [Address on File]           6/5/2023 USD                        $378.00 Customer Disbursement
                                                                                   TOTAL                            $378.00
        Confidential Customer USD Transferee #3099   [Address on File]           6/7/2023 USD                        $215.50 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $215.50
        Confidential Customer USD Transferee #3100         [Address on File]         6/6/2023 USD                        $700.00 Customer Disbursement
        Confidential Customer USD Transferee #3100         [Address on File]        5/30/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3100         [Address on File]        5/22/2023 USD                        $700.00 Customer Disbursement
                                                                                       TOTAL                           $1,900.00
        Confidential Customer USD Transferee #3101         [Address on File]         6/2/2023 USD                      $1,902.00 Customer Disbursement
                                                                                       TOTAL                           $1,902.00
        Confidential Customer USD Transferee #3102         [Address on File]        5/31/2023 USD                      $1,117.67 Customer Disbursement
                                                                                       TOTAL                           $1,117.67
                                                           [Address on File]
        Confidential Customer USD Transferee #3103                                     6/5/2023 USD                      $5,657.50 Customer Disbursement
                                                                                         TOTAL                           $5,657.50
        Confidential Customer USD Transferee #3104         [Address on File]          5/18/2023 USD                         $44.54 Customer Disbursement
                                                                                         TOTAL                              $44.54
                                                           [Address on File]
        Confidential Customer USD Transferee #3105                                    6/21/2023 USD                        $322.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3105                                    6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $522.00
        Confidential Customer USD Transferee #3106         [Address on File]          5/23/2023 USD                      $9,150.53 Customer Disbursement
                                                                                         TOTAL                           $9,150.53
        Confidential Customer USD Transferee #3107         [Address on File]          6/16/2023 USD                        $948.28 Customer Disbursement
                                                                                         TOTAL                            $948.28
        Confidential Customer USD Transferee #3108         [Address on File]          5/25/2023 USD                         $38.49 Customer Disbursement
                                                                                         TOTAL                              $38.49
                                                           [Address on File]
        Confidential Customer USD Transferee #3109                                     6/8/2023 USD                      $3,026.12 Customer Disbursement
                                                                                         TOTAL                           $3,026.12
        Confidential Customer USD Transferee #3110         [Address on File]          6/15/2023 USD                        $873.50 Customer Disbursement
                                                                                         TOTAL                            $873.50
        Confidential Customer USD Transferee #3111         [Address on File]          5/31/2023 USD                        $292.23 Customer Disbursement
        Confidential Customer USD Transferee #3111         [Address on File]          5/17/2023 USD                        $450.00 Customer Disbursement
                                                                                         TOTAL                            $742.23
        Confidential Customer USD Transferee #3112         [Address on File]          5/22/2023 USD                        $263.09 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $263.09
        Confidential Customer USD Transferee #3113         [Address on File]         6/6/2023 USD                        $240.05 Customer Disbursement
                                                                                       TOTAL                            $240.05
        Confidential Customer USD Transferee #3114         [Address on File]         6/6/2023 USD                      $1,113.74 Customer Disbursement
                                                                                       TOTAL                           $1,113.74
        Confidential Customer USD Transferee #3115         [Address on File]        5/26/2023 USD                      $2,000.00 Customer Disbursement
                                                                                       TOTAL                           $2,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3116                                    5/19/2023 USD                      $1,215.34 Customer Disbursement
                                                                                         TOTAL                           $1,215.34
        Confidential Customer USD Transferee #3117         [Address on File]           6/6/2023 USD                         $57.38 Customer Disbursement
                                                                                         TOTAL                              $57.38
        Confidential Customer USD Transferee #3118         [Address on File]          6/16/2023 USD                         $18.84 Customer Disbursement
                                                                                         TOTAL                              $18.84
        Confidential Customer USD Transferee #3119         [Address on File]          6/20/2023 USD                      $1,685.21 Customer Disbursement
                                                                                         TOTAL                           $1,685.21
        Confidential Customer USD Transferee #3120         [Address on File]          5/17/2023 USD                         $39.00 Customer Disbursement
                                                                                         TOTAL                              $39.00
        Confidential Customer USD Transferee #3121         [Address on File]          5/23/2023 USD                     $75,545.00 Customer Disbursement
                                                                                         TOTAL                          $75,545.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3122                                    5/18/2023 USD                     $30,000.00 Customer Disbursement
                                                                                         TOTAL                          $30,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3123                                    6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #3124         [Address on File]           6/5/2023 USD                        $331.29 Customer Disbursement
                                                                                         TOTAL                            $331.29
        Confidential Customer USD Transferee #3125         [Address on File]          5/22/2023 USD                         $70.41 Customer Disbursement
                                                                                         TOTAL                              $70.41
        Confidential Customer USD Transferee #3126         [Address on File]          5/31/2023 USD                        $132.00 Customer Disbursement
        Confidential Customer USD Transferee #3126         [Address on File]          5/19/2023 USD                        $870.00 Customer Disbursement
                                                                                         TOTAL                           $1,002.00
        Confidential Customer USD Transferee #3127         [Address on File]          5/31/2023 USD                        $300.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3127   [Address on File]        5/23/2023 USD                        $266.00 Customer Disbursement
        Confidential Customer USD Transferee #3127   [Address on File]        5/23/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                           $1,066.00
        Confidential Customer USD Transferee #3128   [Address on File]        6/16/2023 USD                    $12,391.00 Customer Disbursement
        Confidential Customer USD Transferee #3128   [Address on File]        6/13/2023 USD                      $2,572.00 Customer Disbursement
                                                                                 TOTAL                         $14,963.00
        Confidential Customer USD Transferee #3129   [Address on File]        6/21/2023 USD                        $141.00 Customer Disbursement
        Confidential Customer USD Transferee #3129   [Address on File]        6/20/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #3129   [Address on File]        6/16/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $256.00
        Confidential Customer USD Transferee #3130   [Address on File]        6/21/2023 USD                         $73.00 Customer Disbursement
        Confidential Customer USD Transferee #3130   [Address on File]        6/16/2023 USD                      $1,360.10 Customer Disbursement
                                                                                 TOTAL                           $1,433.10
        Confidential Customer USD Transferee #3131   [Address on File]         6/8/2023 USD                         $68.48 Customer Disbursement
                                                                                 TOTAL                              $68.48
                                                     [Address on File]
        Confidential Customer USD Transferee #3132                              6/12/2023 USD                      $1,587.25 Customer Disbursement
                                                                                   TOTAL                           $1,587.25
        Confidential Customer USD Transferee #3133   [Address on File]          5/31/2023 USD                         $41.00 Customer Disbursement
                                                                                   TOTAL                              $41.00
        Confidential Customer USD Transferee #3134   [Address on File]          6/16/2023 USD                      $3,254.95 Customer Disbursement
        Confidential Customer USD Transferee #3134   [Address on File]          5/31/2023 USD                      $1,167.00 Customer Disbursement
        Confidential Customer USD Transferee #3134   [Address on File]          5/31/2023 USD                      $2,075.51 Customer Disbursement
                                                                                   TOTAL                           $6,497.46
        Confidential Customer USD Transferee #3135   [Address on File]          5/23/2023 USD                         $30.00 Customer Disbursement
                                                                                   TOTAL                              $30.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3136                              5/19/2023 USD                       $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
        Confidential Customer USD Transferee #3137   [Address on File]          5/31/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #3137   [Address on File]          5/23/2023 USD                         $80.00 Customer Disbursement
                                                                                   TOTAL                            $160.00
        Confidential Customer USD Transferee #3138   [Address on File]           6/8/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3138   [Address on File]           6/8/2023 USD                      $2,388.41 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $5,388.41
        Confidential Customer USD Transferee #3139         [Address on File]         6/5/2023 USD                        $577.57 Customer Disbursement
        Confidential Customer USD Transferee #3139         [Address on File]        5/30/2023 USD                        $576.48 Customer Disbursement
        Confidential Customer USD Transferee #3139         [Address on File]        5/22/2023 USD                        $600.00 Customer Disbursement
                                                                                       TOTAL                           $1,754.05
                                                           [Address on File]
        Confidential Customer USD Transferee #3140                                    5/31/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #3141         [Address on File]          6/15/2023 USD                        $534.53 Customer Disbursement
                                                                                         TOTAL                            $534.53
        Confidential Customer USD Transferee #3142         [Address on File]           6/6/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #3142         [Address on File]           6/5/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3142         [Address on File]           6/2/2023 USD                      $2,786.10 Customer Disbursement
        Confidential Customer USD Transferee #3142         [Address on File]          5/31/2023 USD                        $466.60 Customer Disbursement
        Confidential Customer USD Transferee #3142         [Address on File]          5/31/2023 USD                      $2,967.00 Customer Disbursement
        Confidential Customer USD Transferee #3142         [Address on File]          5/24/2023 USD                        $909.87 Customer Disbursement
        Confidential Customer USD Transferee #3142         [Address on File]          5/23/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #3142         [Address on File]          5/19/2023 USD                        $878.73 Customer Disbursement
                                                                                         TOTAL                           $8,028.30
        Confidential Customer USD Transferee #3143         [Address on File]           6/7/2023 USD                        $984.00 Customer Disbursement
                                                                                         TOTAL                            $984.00
        Confidential Customer USD Transferee #3144         [Address on File]          6/16/2023 USD                        $360.00 Customer Disbursement
                                                                                         TOTAL                            $360.00
        Confidential Customer USD Transferee #3145         [Address on File]           6/6/2023 USD                        $300.00 Customer Disbursement
                                                                                         TOTAL                            $300.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3146                                    6/16/2023 USD                      $1,013.85 Customer Disbursement
                                                                                         TOTAL                           $1,013.85
                                                           [Address on File]
        Confidential Customer USD Transferee #3147                                     6/2/2023 USD                         $54.00 Customer Disbursement
                                                                                         TOTAL                              $54.00
        Confidential Customer USD Transferee #3148         [Address on File]          5/26/2023 USD                      $1,726.00 Customer Disbursement
                                                                                         TOTAL                           $1,726.00
        Confidential Customer USD Transferee #3149         [Address on File]           6/8/2023 USD                         $81.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3149   [Address on File]         6/1/2023 USD                          $4.50 Customer Disbursement
        Confidential Customer USD Transferee #3149   [Address on File]        5/18/2023 USD                       $125.00 Customer Disbursement
                                                                                 TOTAL                            $210.50
        Confidential Customer USD Transferee #3150   [Address on File]        5/23/2023 USD                       $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #3151   [Address on File]        6/22/2023 USD                       $945.74 Customer Disbursement
                                                                                 TOTAL                            $945.74
        Confidential Customer USD Transferee #3152   [Address on File]        5/17/2023 USD                         $12.00 Customer Disbursement
                                                                                 TOTAL                              $12.00
        Confidential Customer USD Transferee #3153   [Address on File]        6/12/2023 USD                          $4.07 Customer Disbursement
                                                                                 TOTAL                               $4.07
        Confidential Customer USD Transferee #3154   [Address on File]        6/21/2023 USD                      $9,911.00 Customer Disbursement
        Confidential Customer USD Transferee #3154   [Address on File]        6/15/2023 USD                       $101.00 Customer Disbursement
                                                                                 TOTAL                         $10,012.00
        Confidential Customer USD Transferee #3155   [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3155   [Address on File]         6/6/2023 USD                      $2,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3155   [Address on File]         6/6/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3155   [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3155   [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3155   [Address on File]         6/5/2023 USD                      $2,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3155   [Address on File]         6/5/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3155   [Address on File]         6/5/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                         $22,000.00
        Confidential Customer USD Transferee #3156   [Address on File]        6/20/2023 USD                       $517.00 Customer Disbursement
        Confidential Customer USD Transferee #3156   [Address on File]        6/20/2023 USD                    $18,535.00 Customer Disbursement
                                                                                 TOTAL                         $19,052.00
        Confidential Customer USD Transferee #3157   [Address on File]         6/8/2023 USD                         $14.80 Customer Disbursement
                                                                                 TOTAL                              $14.80
        Confidential Customer USD Transferee #3158   [Address on File]        6/16/2023 USD                         $25.01 Customer Disbursement
                                                                                 TOTAL                              $25.01
        Confidential Customer USD Transferee #3159   [Address on File]        6/21/2023 USD                         $57.22 Customer Disbursement
                                                                                 TOTAL                              $57.22
        Confidential Customer USD Transferee #3160   [Address on File]        5/24/2023 USD                          $1.00 Customer Disbursement
                                                                                 TOTAL                               $1.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3161   [Address on File]         6/6/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3161   [Address on File]         6/6/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #3161   [Address on File]         6/5/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #3161   [Address on File]         6/2/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #3161   [Address on File]        5/31/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #3161   [Address on File]        5/30/2023 USD                        $281.91 Customer Disbursement
        Confidential Customer USD Transferee #3161   [Address on File]        5/24/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #3161   [Address on File]        5/23/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #3161   [Address on File]        5/19/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3161   [Address on File]        5/16/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3161   [Address on File]        5/16/2023 USD                        $200.00 Customer Disbursement
                                                                                 TOTAL                           $2,881.91
        Confidential Customer USD Transferee #3162   [Address on File]        5/23/2023 USD                         $20.00 Customer Disbursement
                                                                                 TOTAL                              $20.00
        Confidential Customer USD Transferee #3163   [Address on File]         6/8/2023 USD                        $200.00 Customer Disbursement
                                                                                 TOTAL                            $200.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3164                              5/23/2023 USD                      $6,333.04 Customer Disbursement
                                                                                   TOTAL                           $6,333.04
        Confidential Customer USD Transferee #3165   [Address on File]           6/6/2023 USD                        $315.00 Customer Disbursement
                                                                                   TOTAL                            $315.00
        Confidential Customer USD Transferee #3166   [Address on File]          5/31/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3167   [Address on File]          6/13/2023 USD                     $15,000.00 Customer Disbursement
                                                                                   TOTAL                          $15,000.00
        Confidential Customer USD Transferee #3168   [Address on File]           6/7/2023 USD                         $65.00 Customer Disbursement
                                                                                   TOTAL                              $65.00
        Confidential Customer USD Transferee #3169   [Address on File]          5/23/2023 USD                         $16.47 Customer Disbursement
                                                                                   TOTAL                              $16.47
        Confidential Customer USD Transferee #3170   [Address on File]           6/7/2023 USD                         $16.43 Customer Disbursement
                                                                                   TOTAL                              $16.43
        Confidential Customer USD Transferee #3171   [Address on File]          6/21/2023 USD                        $159.65 Customer Disbursement
                                                                                   TOTAL                            $159.65
        Confidential Customer USD Transferee #3172   [Address on File]          5/24/2023 USD                      $1,702.15 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,702.15
        Confidential Customer USD Transferee #3173         [Address on File]        5/24/2023 USD                      $8,030.47 Customer Disbursement
                                                                                       TOTAL                           $8,030.47
        Confidential Customer USD Transferee #3174         [Address on File]        6/12/2023 USD                         $11.41 Customer Disbursement
                                                                                       TOTAL                              $11.41
        Confidential Customer USD Transferee #3175         [Address on File]        5/16/2023 USD                    $10,000.00 Customer Disbursement
                                                                                       TOTAL                         $10,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3176                                    5/26/2023 USD                        $60.00 Customer Disbursement
                                                                                         TOTAL                             $60.00
        Confidential Customer USD Transferee #3177         [Address on File]          6/20/2023 USD                   $100,100.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          6/20/2023 USD                     $9,440.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          6/20/2023 USD                     $1,960.15 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          6/20/2023 USD                   $130,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          6/16/2023 USD                    $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          6/16/2023 USD                      $454.22 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          6/15/2023 USD                    $44,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          6/15/2023 USD                    $67,100.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          6/14/2023 USD                      $318.48 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          6/13/2023 USD                     $2,009.10 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]           6/9/2023 USD                    $25,121.32 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]           6/9/2023 USD                    $19,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]           6/6/2023 USD                     $9,649.89 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]           6/5/2023 USD                      $269.14 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]           6/5/2023 USD                     $4,860.82 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]           6/5/2023 USD                   $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]           6/2/2023 USD                     $4,436.28 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]           6/1/2023 USD                    $18,025.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          5/30/2023 USD                    $21,990.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          5/30/2023 USD                    $16,555.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          5/30/2023 USD                   $190,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          5/26/2023 USD                     $1,362.18 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          5/26/2023 USD                      $353.65 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          5/25/2023 USD                    $26,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3177         [Address on File]          5/24/2023 USD                   $648,000.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3177   [Address on File]        5/23/2023 USD                      $6,878.21 Customer Disbursement
        Confidential Customer USD Transferee #3177   [Address on File]        5/23/2023 USD                     $28,314.08 Customer Disbursement
        Confidential Customer USD Transferee #3177   [Address on File]        5/22/2023 USD                     $17,897.37 Customer Disbursement
        Confidential Customer USD Transferee #3177   [Address on File]        5/19/2023 USD                      $9,211.22 Customer Disbursement
        Confidential Customer USD Transferee #3177   [Address on File]        5/19/2023 USD                        $513.88 Customer Disbursement
        Confidential Customer USD Transferee #3177   [Address on File]        5/17/2023 USD                     $53,575.47 Customer Disbursement
        Confidential Customer USD Transferee #3177   [Address on File]        5/17/2023 USD                    $144,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3177   [Address on File]        5/17/2023 USD                     $36,000.00 Customer Disbursement
                                                                                 TOTAL                       $1,747,395.46
        Confidential Customer USD Transferee #3178   [Address on File]        6/20/2023 USD                      $4,964.85 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        6/16/2023 USD                     $12,947.83 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        6/16/2023 USD                    $323,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        6/16/2023 USD                      $5,470.31 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        6/15/2023 USD                      $3,920.30 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        6/14/2023 USD                     $18,557.90 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        6/13/2023 USD                    $329,272.75 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        6/12/2023 USD                    $376,723.53 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]         6/9/2023 USD                      $6,045.61 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]         6/9/2023 USD                      $3,700.00 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]         6/9/2023 USD                     $24,230.50 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]         6/7/2023 USD                     $52,985.15 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]         6/7/2023 USD                      $5,224.19 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]         6/6/2023 USD                     $49,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]         6/5/2023 USD                     $31,505.09 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]         6/5/2023 USD                     $24,043.79 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]         6/1/2023 USD                    $106,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]         6/1/2023 USD                      $2,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        5/31/2023 USD                     $18,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        5/31/2023 USD                    $135,450.00 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        5/24/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        5/24/2023 USD                     $12,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        5/18/2023 USD                     $73,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3178   [Address on File]        5/16/2023 USD                     $72,000.00 Customer Disbursement
                                                                                 TOTAL                       $1,696,541.80



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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    6/20/2023 USD                      $6,810.82 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    6/20/2023 USD                     $32,399.65 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    6/16/2023 USD                        $808.53 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    6/14/2023 USD                   $500,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    6/13/2023 USD                      $6,849.98 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    6/13/2023 USD                   $204,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                     6/9/2023 USD                     $67,100.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                     6/9/2023 USD                      $1,104.01 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                     6/7/2023 USD                      $4,961.71 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                     6/6/2023 USD                      $2,620.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                     6/2/2023 USD                      $3,575.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                     6/2/2023 USD                     $10,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                     6/2/2023 USD                      $2,857.85 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                     6/1/2023 USD                     $10,197.04 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                     6/1/2023 USD                      $6,021.91 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/30/2023 USD                     $10,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/30/2023 USD                     $11,186.01 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/30/2023 USD                     $12,140.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/26/2023 USD                         $10.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/26/2023 USD                     $19,684.08 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/24/2023 USD                     $17,880.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/24/2023 USD                      $4,173.49 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/23/2023 USD                      $7,298.08 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/23/2023 USD                     $25,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/22/2023 USD                   $172,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/16/2023 USD                     $49,004.95 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/16/2023 USD                      $5,118.65 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3179                                    5/16/2023 USD                     $9,326.11 Customer Disbursement
                                                                                         TOTAL                      $1,202,127.87
        Confidential Customer USD Transferee #3180         [Address on File]          6/20/2023 USD                     $6,871.87 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]          6/20/2023 USD                    $71,300.00 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]          6/15/2023 USD                    $10,659.66 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]          6/14/2023 USD                    $16,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]          6/14/2023 USD                     $4,475.53 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]          6/13/2023 USD                     $9,842.10 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]          6/12/2023 USD                     $1,960.15 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]          6/12/2023 USD                     $4,908.99 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]          6/12/2023 USD                    $73,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]           6/9/2023 USD                       $270.30 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]           6/7/2023 USD                   $155,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]           6/6/2023 USD                     $3,554.37 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]           6/2/2023 USD                 $1,426,074.90 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]          5/31/2023 USD                   $786,799.95 Customer Disbursement
        Confidential Customer USD Transferee #3180         [Address on File]          5/31/2023 USD                     $2,535.42 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3180   [Address on File]        5/31/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/30/2023 USD                     $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/30/2023 USD                        $635.07 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/30/2023 USD                    $150,052.11 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/26/2023 USD                      $7,444.26 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/26/2023 USD                      $5,774.74 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/26/2023 USD                    $475,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/23/2023 USD                     $74,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/23/2023 USD                    $124,025.00 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/22/2023 USD                     $19,327.48 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/19/2023 USD                      $5,522.64 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/18/2023 USD                      $5,870.90 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/18/2023 USD                    $845,825.60 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/17/2023 USD                     $61,473.28 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/17/2023 USD                      $8,700.00 Customer Disbursement
        Confidential Customer USD Transferee #3180   [Address on File]        5/17/2023 USD                    $885,149.95 Customer Disbursement
                                                                                 TOTAL                       $5,252,854.27
        Confidential Customer USD Transferee #3181   [Address on File]        6/20/2023 USD                      $7,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]        6/20/2023 USD                        $496.46 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]        6/16/2023 USD                        $669.50 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]        6/15/2023 USD                      $8,940.74 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]        6/12/2023 USD                     $20,571.12 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]         6/9/2023 USD                      $4,735.98 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]         6/6/2023 USD                     $10,629.92 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]         6/5/2023 USD                      $2,450.20 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]         6/5/2023 USD                     $51,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]         6/2/2023 USD                        $567.85 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]         6/2/2023 USD                      $6,692.95 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]         6/1/2023 USD                      $4,213.12 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]        5/31/2023 USD                      $3,617.38 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]        5/30/2023 USD                     $19,796.47 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]        5/30/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]        5/26/2023 USD                        $522.14 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]        5/22/2023 USD                     $15,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]        5/18/2023 USD                      $8,959.14 Customer Disbursement
        Confidential Customer USD Transferee #3181   [Address on File]        5/18/2023 USD                     $21,414.40 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3181   [Address on File]        5/16/2023 USD                      $7,000.00 Customer Disbursement
                                                                                 TOTAL                        $199,777.37
        Confidential Customer USD Transferee #3182   [Address on File]        6/20/2023 USD                     $15,700.00 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        6/13/2023 USD                     $67,100.00 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        6/13/2023 USD                      $4,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        6/12/2023 USD                        $689.55 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]         6/9/2023 USD                     $30,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]         6/8/2023 USD                    $157,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]         6/8/2023 USD                      $3,661.84 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]         6/2/2023 USD                        $501.60 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]         6/2/2023 USD                    $210,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]         6/1/2023 USD                     $13,674.43 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/31/2023 USD                     $66,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/25/2023 USD                     $62,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/25/2023 USD                      $8,742.35 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/24/2023 USD                      $8,726.00 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/22/2023 USD                      $1,023.85 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/19/2023 USD                    $283,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/19/2023 USD                        $605.71 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/18/2023 USD                    $417,987.45 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/18/2023 USD                      $4,071.04 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/17/2023 USD                      $7,705.89 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/17/2023 USD                      $7,346.41 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/17/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/16/2023 USD                     $12,388.41 Customer Disbursement
        Confidential Customer USD Transferee #3182   [Address on File]        5/16/2023 USD                      $5,528.16 Customer Disbursement
                                                                                 TOTAL                       $1,393,952.69
                                                     [Address on File]
        Confidential Customer USD Transferee #3183                               6/7/2023 USD                      $4,273.70 Customer Disbursement
                                                                                   TOTAL                           $4,273.70
        Confidential Customer USD Transferee #3184   [Address on File]          5/18/2023 USD                        $900.00 Customer Disbursement
                                                                                   TOTAL                            $900.00
        Confidential Customer USD Transferee #3185   [Address on File]           6/5/2023 USD                      $2,000.00 Customer Disbursement
                                                                                   TOTAL                           $2,000.00
        Confidential Customer USD Transferee #3186   [Address on File]          5/30/2023 USD                         $10.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                              $10.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3187                                    6/21/2023 USD                         $28.28 Customer Disbursement
                                                                                         TOTAL                              $28.28
        Confidential Customer USD Transferee #3188         [Address on File]          6/21/2023 USD                      $5,513.73 Customer Disbursement
                                                                                         TOTAL                           $5,513.73
        Confidential Customer USD Transferee #3189         [Address on File]           6/2/2023 USD                         $56.16 Customer Disbursement
                                                                                         TOTAL                              $56.16
                                                           [Address on File]
        Confidential Customer USD Transferee #3190                                    5/16/2023 USD                      $1,960.32 Customer Disbursement
                                                                                         TOTAL                           $1,960.32
        Confidential Customer USD Transferee #3191         [Address on File]          6/21/2023 USD                         $97.22 Customer Disbursement
                                                                                         TOTAL                              $97.22
        Confidential Customer USD Transferee #3192         [Address on File]          5/16/2023 USD                      $5,000.00 Customer Disbursement
                                                                                         TOTAL                           $5,000.00
        Confidential Customer USD Transferee #3193         [Address on File]          5/31/2023 USD                        $113.56 Customer Disbursement
                                                                                         TOTAL                            $113.56
        Confidential Customer USD Transferee #3194         [Address on File]          6/16/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $20,000.00
        Confidential Customer USD Transferee #3195         [Address on File]          5/23/2023 USD                         $78.11 Customer Disbursement
                                                                                         TOTAL                              $78.11
        Confidential Customer USD Transferee #3196         [Address on File]           6/7/2023 USD                      $6,283.03 Customer Disbursement
        Confidential Customer USD Transferee #3196         [Address on File]           6/7/2023 USD                      $7,676.62 Customer Disbursement
                                                                                         TOTAL                          $13,959.65
        Confidential Customer USD Transferee #3197         [Address on File]           6/6/2023 USD                      $2,000.00 Customer Disbursement
                                                                                         TOTAL                           $2,000.00
        Confidential Customer USD Transferee #3198         [Address on File]          6/22/2023 USD                      $9,639.78 Customer Disbursement
        Confidential Customer USD Transferee #3198         [Address on File]          6/22/2023 USD                      $1,340.82 Customer Disbursement
                                                                                         TOTAL                          $10,980.60
        Confidential Customer USD Transferee #3199         [Address on File]          5/24/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,000.00
        Confidential Customer USD Transferee #3200         [Address on File]           6/2/2023 USD                          $2.00 Customer Disbursement
                                                                                         TOTAL                               $2.00
        Confidential Customer USD Transferee #3201         [Address on File]          5/17/2023 USD                        $200.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $200.00
        Confidential Customer USD Transferee #3202         [Address on File]        5/25/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $25.00
        Confidential Customer USD Transferee #3203         [Address on File]        5/24/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #3203         [Address on File]        5/24/2023 USD                      $1,062.00 Customer Disbursement
                                                                                       TOTAL                           $1,077.00
        Confidential Customer USD Transferee #3204         [Address on File]        5/23/2023 USD                    $11,234.58 Customer Disbursement
                                                                                       TOTAL                         $11,234.58
        Confidential Customer USD Transferee #3205         [Address on File]         6/5/2023 USD                      $1,847.35 Customer Disbursement
        Confidential Customer USD Transferee #3205         [Address on File]        5/22/2023 USD                      $1,847.35 Customer Disbursement
                                                                                       TOTAL                           $3,694.70
        Confidential Customer USD Transferee #3206         [Address on File]        5/30/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                            $200.00
        Confidential Customer USD Transferee #3207         [Address on File]        5/24/2023 USD                        $938.20 Customer Disbursement
                                                                                       TOTAL                            $938.20
        Confidential Customer USD Transferee #3208         [Address on File]         6/6/2023 USD                      $1,298.90 Customer Disbursement
                                                                                       TOTAL                           $1,298.90
        Confidential Customer USD Transferee #3209         [Address on File]        5/18/2023 USD                      $2,012.45 Customer Disbursement
                                                                                       TOTAL                           $2,012.45
        Confidential Customer USD Transferee #3210         [Address on File]        6/20/2023 USD                        $103.00 Customer Disbursement
                                                                                       TOTAL                            $103.00
        Confidential Customer USD Transferee #3211         [Address on File]        6/22/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3211         [Address on File]        6/21/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $200.00
        Confidential Customer USD Transferee #3212         [Address on File]         6/9/2023 USD                         $13.44 Customer Disbursement
                                                                                       TOTAL                              $13.44
        Confidential Customer USD Transferee #3213         [Address on File]        5/31/2023 USD                      $2,007.81 Customer Disbursement
                                                                                       TOTAL                           $2,007.81
        Confidential Customer USD Transferee #3214         [Address on File]        5/23/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #3215         [Address on File]        5/22/2023 USD                        $194.00 Customer Disbursement
        Confidential Customer USD Transferee #3215         [Address on File]        5/16/2023 USD                        $254.00 Customer Disbursement
                                                                                       TOTAL                            $448.00
        Confidential Customer USD Transferee #3216         [Address on File]        5/30/2023 USD                      $2,261.04 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $2,261.04
        Confidential Customer USD Transferee #3217         [Address on File]         6/6/2023 USD                        $177.53 Customer Disbursement
        Confidential Customer USD Transferee #3217         [Address on File]        5/31/2023 USD                        $666.64 Customer Disbursement
        Confidential Customer USD Transferee #3217         [Address on File]        5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3217         [Address on File]        5/18/2023 USD                        $800.00 Customer Disbursement
        Confidential Customer USD Transferee #3217         [Address on File]        5/16/2023 USD                      $1,007.52 Customer Disbursement
                                                                                       TOTAL                           $5,651.69
        Confidential Customer USD Transferee #3218         [Address on File]        5/19/2023 USD                         $45.00 Customer Disbursement
        Confidential Customer USD Transferee #3218         [Address on File]        5/17/2023 USD                        $104.55 Customer Disbursement
                                                                                       TOTAL                            $149.55
        Confidential Customer USD Transferee #3219         [Address on File]         6/5/2023 USD                          $2.48 Customer Disbursement
                                                                                       TOTAL                               $2.48
        Confidential Customer USD Transferee #3220         [Address on File]        5/23/2023 USD                        $230.22 Customer Disbursement
                                                                                       TOTAL                            $230.22
        Confidential Customer USD Transferee #3221         [Address on File]        5/16/2023 USD                         $10.70 Customer Disbursement
                                                                                       TOTAL                              $10.70
        Confidential Customer USD Transferee #3222         [Address on File]        5/30/2023 USD                        $180.00 Customer Disbursement
                                                                                       TOTAL                            $180.00
        Confidential Customer USD Transferee #3223         [Address on File]        5/17/2023 USD                      $4,000.00 Customer Disbursement
                                                                                       TOTAL                           $4,000.00
        Confidential Customer USD Transferee #3224         [Address on File]        5/26/2023 USD                      $1,500.00 Customer Disbursement
                                                                                       TOTAL                           $1,500.00
        Confidential Customer USD Transferee #3225         [Address on File]        5/23/2023 USD                          $1.45 Customer Disbursement
        Confidential Customer USD Transferee #3225         [Address on File]        5/22/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #3225         [Address on File]        5/22/2023 USD                          $2.00 Customer Disbursement
        Confidential Customer USD Transferee #3225         [Address on File]        5/18/2023 USD                          $1.00 Customer Disbursement
                                                                                       TOTAL                               $5.45
        Confidential Customer USD Transferee #3226         [Address on File]        5/19/2023 USD                        $714.00 Customer Disbursement
        Confidential Customer USD Transferee #3226         [Address on File]        5/18/2023 USD                        $570.00 Customer Disbursement
        Confidential Customer USD Transferee #3226         [Address on File]        5/17/2023 USD                        $259.00 Customer Disbursement
                                                                                       TOTAL                           $1,543.00
        Confidential Customer USD Transferee #3227         [Address on File]         6/2/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3227         [Address on File]         6/2/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3227         [Address on File]         6/2/2023 USD                         $50.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3227   [Address on File]        5/25/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3227   [Address on File]        5/25/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3227   [Address on File]        5/25/2023 USD                         $75.00 Customer Disbursement
        Confidential Customer USD Transferee #3227   [Address on File]        5/25/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3227   [Address on File]        5/25/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3227   [Address on File]        5/25/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3227   [Address on File]        5/24/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3227   [Address on File]        5/18/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3227   [Address on File]        5/17/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3227   [Address on File]        5/17/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                           $1,225.00
        Confidential Customer USD Transferee #3228   [Address on File]         6/2/2023 USD                         $19.70 Customer Disbursement
        Confidential Customer USD Transferee #3228   [Address on File]        5/30/2023 USD                        $576.93 Customer Disbursement
                                                                                 TOTAL                            $596.63
        Confidential Customer USD Transferee #3229   [Address on File]        5/31/2023 USD                        $100.07 Customer Disbursement
                                                                                 TOTAL                            $100.07
        Confidential Customer USD Transferee #3230   [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3230   [Address on File]        5/31/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $5,000.00
        Confidential Customer USD Transferee #3231   [Address on File]         6/1/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #3232   [Address on File]         6/6/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3233   [Address on File]         6/7/2023 USD                         $17.57 Customer Disbursement
                                                                                 TOTAL                              $17.57
        Confidential Customer USD Transferee #3234   [Address on File]         6/6/2023 USD                      $6,500.00 Customer Disbursement
                                                                                 TOTAL                           $6,500.00
        Confidential Customer USD Transferee #3235   [Address on File]        5/26/2023 USD                      $1,365.00 Customer Disbursement
                                                                                 TOTAL                           $1,365.00
        Confidential Customer USD Transferee #3236   [Address on File]         6/6/2023 USD                        $111.86 Customer Disbursement
        Confidential Customer USD Transferee #3236   [Address on File]        5/23/2023 USD                         $55.46 Customer Disbursement
        Confidential Customer USD Transferee #3236   [Address on File]        5/23/2023 USD                         $56.78 Customer Disbursement
                                                                                 TOTAL                            $224.10



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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3237                                    6/21/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #3238         [Address on File]          6/22/2023 USD                         $92.53 Customer Disbursement
        Confidential Customer USD Transferee #3238         [Address on File]           6/1/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $192.53
        Confidential Customer USD Transferee #3239         [Address on File]          5/30/2023 USD                      $2,681.20 Customer Disbursement
                                                                                         TOTAL                           $2,681.20
        Confidential Customer USD Transferee #3240         [Address on File]          6/20/2023 USD                      $2,035.57 Customer Disbursement
        Confidential Customer USD Transferee #3240         [Address on File]          5/31/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3240         [Address on File]          5/19/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3240         [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $9,035.57
        Confidential Customer USD Transferee #3241         [Address on File]          6/20/2023 USD                      $4,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3241         [Address on File]          5/22/2023 USD                      $5,000.00 Customer Disbursement
                                                                                         TOTAL                           $9,000.00
        Confidential Customer USD Transferee #3242         [Address on File]          6/12/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3242         [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $8,000.00
        Confidential Customer USD Transferee #3243         [Address on File]          5/26/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #3243         [Address on File]          5/24/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #3244         [Address on File]          5/23/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3245         [Address on File]          5/25/2023 USD                      $1,454.98 Customer Disbursement
        Confidential Customer USD Transferee #3245         [Address on File]          5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3245         [Address on File]          5/16/2023 USD                      $1,198.06 Customer Disbursement
                                                                                         TOTAL                           $5,653.04
        Confidential Customer USD Transferee #3246         [Address on File]          6/12/2023 USD                         $53.00 Customer Disbursement
                                                                                         TOTAL                              $53.00
        Confidential Customer USD Transferee #3247         [Address on File]          5/19/2023 USD                        $986.17 Customer Disbursement
        Confidential Customer USD Transferee #3247         [Address on File]          5/19/2023 USD                      $1,500.00 Customer Disbursement
                                                                                         TOTAL                           $2,486.17
        Confidential Customer USD Transferee #3248         [Address on File]          6/21/2023 USD                         $65.44 Customer Disbursement

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #3248   [Address on File]        5/31/2023 USD                       $233.65 Customer Disbursement
                                                                                 TOTAL                            $299.09
        Confidential Customer USD Transferee #3249   [Address on File]         6/9/2023 USD                        $25.00 Customer Disbursement
                                                                                 TOTAL                             $25.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3250                              5/22/2023 USD                     $10,000.00 Customer Disbursement
                                                                                   TOTAL                          $10,000.00
        Confidential Customer USD Transferee #3251   [Address on File]          6/20/2023 USD                      $5,720.31 Customer Disbursement
                                                                                   TOTAL                           $5,720.31
                                                     [Address on File]
        Confidential Customer USD Transferee #3252                              6/20/2023 USD                        $985.00 Customer Disbursement
                                                                                   TOTAL                             $985.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3253                              6/21/2023 USD                         $75.03 Customer Disbursement
                                                                                   TOTAL                              $75.03
        Confidential Customer USD Transferee #3254   [Address on File]          5/31/2023 USD                      $1,926.00 Customer Disbursement
                                                                                   TOTAL                           $1,926.00
        Confidential Customer USD Transferee #3255   [Address on File]           6/2/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3255   [Address on File]          5/31/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3255   [Address on File]          5/16/2023 USD                        $300.00 Customer Disbursement
                                                                                   TOTAL                           $3,300.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3256                              6/13/2023 USD                   $499,980.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3256                               6/8/2023 USD                 $1,041,754.55 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3256                               6/7/2023 USD                      $1,113.87 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3256                               6/7/2023 USD                     $76,031.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3256                               6/6/2023 USD                   $199,170.20 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3256                               6/6/2023 USD                      $4,949.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3256                               6/5/2023 USD                         $89.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/5/2023 USD                         $33.25 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/5/2023 USD                   $149,845.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/5/2023 USD                     $99,539.21 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/5/2023 USD                         $80.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/5/2023 USD                      $4,470.82 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/5/2023 USD                      $6,504.28 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/5/2023 USD                     $13,880.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/5/2023 USD                      $4,933.62 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/5/2023 USD                      $3,947.28 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/5/2023 USD                      $1,970.60 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/2/2023 USD                        $978.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/2/2023 USD                      $1,093.41 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/2/2023 USD                   $399,672.80 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/2/2023 USD                     $40,130.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/2/2023 USD                     $34,281.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/1/2023 USD                         $98.71 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/1/2023 USD                      $3,310.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/1/2023 USD                      $3,089.00 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/1/2023 USD                         $98.32 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/1/2023 USD                        $302.11 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/1/2023 USD                        $519.16 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/1/2023 USD                     $11,572.25 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/1/2023 USD                        $250.43 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/1/2023 USD                      $5,071.40 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/1/2023 USD                     $82,800.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                     6/1/2023 USD                     $19,590.67 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/30/2023 USD                        $923.78 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/30/2023 USD                        $877.09 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/30/2023 USD                     $99,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/30/2023 USD                        $299.60 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/30/2023 USD                     $46,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/30/2023 USD                   $199,846.60 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/30/2023 USD                     $52,413.21 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/30/2023 USD                     $59,900.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/30/2023 USD                      $2,590.08 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/30/2023 USD                   $104,536.57 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/25/2023 USD                   $118,039.69 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/25/2023 USD                     $39,977.80 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/25/2023 USD                      $3,569.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/25/2023 USD                      $4,652.16 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/25/2023 USD                   $199,897.80 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/25/2023 USD                      $9,991.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/23/2023 USD                      $3,501.57 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/22/2023 USD                     $49,745.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/22/2023 USD                     $56,838.89 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/22/2023 USD                     $20,550.69 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/22/2023 USD                     $80,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/19/2023 USD                     $10,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/19/2023 USD                     $10,700.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/19/2023 USD                     $99,532.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/19/2023 USD                      $7,804.50 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/19/2023 USD                      $2,286.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/19/2023 USD                 $1,300,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/19/2023 USD                     $57,497.67 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/19/2023 USD                   $399,619.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/19/2023 USD                      $4,373.15 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/18/2023 USD                   $199,823.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/18/2023 USD                      $7,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/18/2023 USD                     $86,798.75 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/18/2023 USD                      $2,722.23 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/16/2023 USD                      $9,996.99 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/16/2023 USD                      $1,994.92 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/16/2023 USD                      $9,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/16/2023 USD                     $89,968.77 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3256                                    5/16/2023 USD                    $99,737.01 Customer Disbursement
                                                                                         TOTAL                      $6,263,153.66
                                                           [Address on File]
        Confidential Customer USD Transferee #3257                                    6/21/2023 USD                        $112.65 Customer Disbursement
                                                                                         TOTAL                            $112.65
        Confidential Customer USD Transferee #3258         [Address on File]          5/30/2023 USD                      $3,262.45 Customer Disbursement
                                                                                         TOTAL                           $3,262.45
        Confidential Customer USD Transferee #3259         [Address on File]          5/25/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3259         [Address on File]          5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3259         [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $9,000.00
        Confidential Customer USD Transferee #3260         [Address on File]          5/25/2023 USD                      $5,026.75 Customer Disbursement
        Confidential Customer USD Transferee #3260         [Address on File]          5/19/2023 USD                      $5,105.44 Customer Disbursement
                                                                                         TOTAL                          $10,132.19

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3261   [Address on File]        5/16/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3262   [Address on File]        6/21/2023 USD                         $66.00 Customer Disbursement
                                                                                 TOTAL                              $66.00
        Confidential Customer USD Transferee #3263   [Address on File]        6/21/2023 USD                         $40.58 Customer Disbursement
                                                                                 TOTAL                              $40.58
        Confidential Customer USD Transferee #3264   [Address on File]        5/25/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3265   [Address on File]         6/5/2023 USD                        $164.55 Customer Disbursement
                                                                                 TOTAL                            $164.55
        Confidential Customer USD Transferee #3266   [Address on File]        6/15/2023 USD                         $50.29 Customer Disbursement
        Confidential Customer USD Transferee #3266   [Address on File]        6/12/2023 USD                        $200.00 Customer Disbursement
                                                                                 TOTAL                            $250.29
        Confidential Customer USD Transferee #3267   [Address on File]         6/1/2023 USD                        $900.00 Customer Disbursement
        Confidential Customer USD Transferee #3267   [Address on File]        5/19/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3267   [Address on File]        5/16/2023 USD                        $800.00 Customer Disbursement
                                                                                 TOTAL                           $1,800.00
        Confidential Customer USD Transferee #3268   [Address on File]        6/16/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3269                              6/20/2023 USD                        $111.73 Customer Disbursement
                                                                                   TOTAL                             $111.73
                                                     [Address on File]
        Confidential Customer USD Transferee #3270                               6/8/2023 USD                        $200.00 Customer Disbursement
                                                                                  TOTAL                              $200.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3271                               6/1/2023 USD                         $24.82 Customer Disbursement
                                                                                   TOTAL                              $24.82
        Confidential Customer USD Transferee #3272   [Address on File]           6/1/2023 USD                        $165.87 Customer Disbursement
                                                                                   TOTAL                            $165.87
        Confidential Customer USD Transferee #3273   [Address on File]          6/16/2023 USD                     $27,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3273   [Address on File]           6/1/2023 USD                     $20,000.00 Customer Disbursement
                                                                                   TOTAL                          $47,000.00
        Confidential Customer USD Transferee #3274   [Address on File]          6/20/2023 USD                     $50,000.00 Customer Disbursement

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #3274   [Address on File]        5/24/2023 USD                    $66,000.00 Customer Disbursement
                                                                                 TOTAL                        $116,000.00
        Confidential Customer USD Transferee #3275   [Address on File]        5/19/2023 USD                    $10,000.00 Customer Disbursement
                                                                                 TOTAL                         $10,000.00
        Confidential Customer USD Transferee #3276   [Address on File]        6/16/2023 USD                    $70,159.00 Customer Disbursement
        Confidential Customer USD Transferee #3276   [Address on File]        6/12/2023 USD                   $252,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3276   [Address on File]        5/25/2023 USD                       $500.00 Customer Disbursement
                                                                                 TOTAL                        $322,659.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3277                              5/19/2023 USD                      $2,446.57 Customer Disbursement
                                                                                   TOTAL                           $2,446.57
        Confidential Customer USD Transferee #3278   [Address on File]          5/17/2023 USD                         $11.00 Customer Disbursement
                                                                                   TOTAL                              $11.00
        Confidential Customer USD Transferee #3279   [Address on File]           6/5/2023 USD                        $659.45 Customer Disbursement
        Confidential Customer USD Transferee #3279   [Address on File]          5/23/2023 USD                        $659.45 Customer Disbursement
        Confidential Customer USD Transferee #3279   [Address on File]          5/16/2023 USD                        $584.45 Customer Disbursement
                                                                                   TOTAL                           $1,903.35
        Confidential Customer USD Transferee #3280   [Address on File]           6/7/2023 USD                         $88.70 Customer Disbursement
        Confidential Customer USD Transferee #3280   [Address on File]          5/19/2023 USD                        $120.52 Customer Disbursement
                                                                                   TOTAL                            $209.22
        Confidential Customer USD Transferee #3281   [Address on File]           6/6/2023 USD                        $899.38 Customer Disbursement
        Confidential Customer USD Transferee #3281   [Address on File]          5/31/2023 USD                        $376.79 Customer Disbursement
        Confidential Customer USD Transferee #3281   [Address on File]          5/17/2023 USD                         $99.12 Customer Disbursement
                                                                                   TOTAL                           $1,375.29
        Confidential Customer USD Transferee #3282   [Address on File]           6/1/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3282   [Address on File]           6/1/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,100.00
        Confidential Customer USD Transferee #3283   [Address on File]          6/13/2023 USD                      $2,382.33 Customer Disbursement
                                                                                   TOTAL                           $2,382.33
        Confidential Customer USD Transferee #3284   [Address on File]          6/21/2023 USD                      $5,600.00 Customer Disbursement
        Confidential Customer USD Transferee #3284   [Address on File]          6/14/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3284   [Address on File]          6/13/2023 USD                        $165.32 Customer Disbursement
                                                                                   TOTAL                           $8,765.32
        Confidential Customer USD Transferee #3285   [Address on File]           6/9/2023 USD                     $15,000.00 Customer Disbursement

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                                                                                                                                      Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount               Transfer
                                                                                      TOTAL                          $15,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                    6/21/2023 USD                      $4,250.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                    6/13/2023 USD                             $5.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                    6/13/2023 USD                         $10.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                     6/6/2023 USD                      $1,300.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                     6/1/2023 USD                             $5.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                     6/1/2023 USD                      $3,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                    5/31/2023 USD                             $5.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                    5/26/2023 USD                      $2,100.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                    5/23/2023 USD                             $5.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                    5/23/2023 USD                             $5.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                    5/19/2023 USD                             $3.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                    5/19/2023 USD                             $4.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                    5/19/2023 USD                             $9.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3286                                    5/19/2023 USD                          $3.00 Customer Disbursement
                                                                                         TOTAL                          $10,704.00
        Confidential Customer USD Transferee #3287         [Address on File]          6/21/2023 USD                      $2,076.24 Customer Disbursement
                                                                                         TOTAL                           $2,076.24
        Confidential Customer USD Transferee #3288         [Address on File]          5/26/2023 USD                      $5,000.00 Customer Disbursement
                                                                                         TOTAL                           $5,000.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3289                                    6/16/2023 USD                   $771,800.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3289                                    6/13/2023 USD                      $3,836.40 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3289                                    6/13/2023 USD                      $2,801.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3289                                     6/8/2023 USD                   $450,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3289                                     6/6/2023 USD                 $1,000,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3289                                     6/6/2023 USD                     $49,541.78 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3289                                    5/30/2023 USD                     $50,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3289                                    5/24/2023 USD                   $399,955.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3289                                    5/23/2023 USD                   $399,955.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3289                                    5/22/2023 USD                   $500,000.00 Customer Disbursement
                                                                                         TOTAL                      $3,627,889.38
        Confidential Customer USD Transferee #3290         [Address on File]          5/23/2023 USD                        $57.28 Customer Disbursement
                                                                                         TOTAL                             $57.28
        Confidential Customer USD Transferee #3291         [Address on File]          5/25/2023 USD                        $53.49 Customer Disbursement
                                                                                         TOTAL                             $53.49
        Confidential Customer USD Transferee #3292         [Address on File]          5/23/2023 USD                        $73.79 Customer Disbursement
                                                                                         TOTAL                             $73.79
                                                           [Address on File]
        Confidential Customer USD Transferee #3293                                    6/15/2023 USD                     $30,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3293                                    6/14/2023 USD                   $200,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3293                                    6/13/2023 USD                   $200,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3293                                    6/12/2023 USD                     $18,470.03 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3293                                     6/7/2023 USD                   $150,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3293                                     6/7/2023 USD                     $27,718.50 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3293                                     6/6/2023 USD                   $320,038.65 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3293                                    5/24/2023 USD                   $305,768.80 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3293                                    5/22/2023 USD                   $471,823.80 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3293                                    5/17/2023 USD                    $50,000.00 Customer Disbursement
                                                                                         TOTAL                      $1,773,819.78
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    6/20/2023 USD                     $60,862.35 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    6/15/2023 USD                        $445.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    6/15/2023 USD                   $319,346.62 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    6/15/2023 USD                   $324,275.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    6/15/2023 USD                      $5,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    6/12/2023 USD                   $460,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                     6/8/2023 USD                   $471,953.80 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                     6/5/2023 USD                     $80,085.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                     6/2/2023 USD                   $323,843.50 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                     6/2/2023 USD                      $3,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                     6/1/2023 USD                   $364,012.50 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                     6/1/2023 USD                   $150,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    5/31/2023 USD                     $62,095.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    5/26/2023 USD                   $486,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    5/23/2023 USD                   $500,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    5/18/2023 USD                   $405,860.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    5/17/2023 USD                   $100,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3294                                    5/17/2023 USD                   $300,046.00 Customer Disbursement
                                                                                         TOTAL                      $4,416,824.97
        Confidential Customer USD Transferee #3295         [Address on File]          5/19/2023 USD                     $4,040.00 Customer Disbursement
                                                                                         TOTAL                          $4,040.00
        Confidential Customer USD Transferee #3296         [Address on File]          5/25/2023 USD                       $694.22 Customer Disbursement
                                                                                         TOTAL                           $694.22
        Confidential Customer USD Transferee #3297         [Address on File]          5/25/2023 USD                        $50.00 Customer Disbursement
                                                                                         TOTAL                             $50.00
        Confidential Customer USD Transferee #3298         [Address on File]           6/7/2023 USD                        $20.00 Customer Disbursement
                                                                                         TOTAL                             $20.00
        Confidential Customer USD Transferee #3299         [Address on File]           6/7/2023 USD                       $600.00 Customer Disbursement
        Confidential Customer USD Transferee #3299         [Address on File]           6/6/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3299         [Address on File]          5/31/2023 USD                     $1,100.00 Customer Disbursement
        Confidential Customer USD Transferee #3299         [Address on File]          5/24/2023 USD                       $600.00 Customer Disbursement
        Confidential Customer USD Transferee #3299         [Address on File]          5/22/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3299         [Address on File]          5/18/2023 USD                       $350.00 Customer Disbursement
        Confidential Customer USD Transferee #3299         [Address on File]          5/17/2023 USD                       $250.00 Customer Disbursement
                                                                                         TOTAL                          $3,900.00
        Confidential Customer USD Transferee #3300         [Address on File]           6/2/2023 USD                        $10.00 Customer Disbursement
                                                                                         TOTAL                             $10.00
        Confidential Customer USD Transferee #3301         [Address on File]           6/2/2023 USD                       $114.85 Customer Disbursement
                                                                                         TOTAL                           $114.85
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3302                                    6/22/2023 USD                        $100.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3302                                    6/21/2023 USD                        $100.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3302                                    6/20/2023 USD                         $70.00 Customer Disbursement
                                                                                         TOTAL                             $270.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3303                                    5/26/2023 USD                     $12,100.00 Customer Disbursement
                                                                                         TOTAL                          $12,100.00
        Confidential Customer USD Transferee #3304         [Address on File]          5/16/2023 USD                     $99,993.76 Customer Disbursement
                                                                                         TOTAL                          $99,993.76
        Confidential Customer USD Transferee #3305         [Address on File]          6/20/2023 USD                        $172.00 Customer Disbursement
                                                                                         TOTAL                            $172.00
        Confidential Customer USD Transferee #3306         [Address on File]          5/17/2023 USD                        $321.00 Customer Disbursement
                                                                                         TOTAL                            $321.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3307                                    5/31/2023 USD                         $32.81 Customer Disbursement
                                                                                         TOTAL                              $32.81
        Confidential Customer USD Transferee #3308         [Address on File]           6/6/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3308         [Address on File]           6/2/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3308         [Address on File]          5/25/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $2,500.00
        Confidential Customer USD Transferee #3309         [Address on File]          6/12/2023 USD                         $15.16 Customer Disbursement
                                                                                         TOTAL                              $15.16
        Confidential Customer USD Transferee #3310         [Address on File]          6/12/2023 USD                         $60.76 Customer Disbursement
                                                                                         TOTAL                              $60.76
        Confidential Customer USD Transferee #3311         [Address on File]          5/19/2023 USD                          $6.00 Customer Disbursement
                                                                                         TOTAL                               $6.00
        Confidential Customer USD Transferee #3312         [Address on File]           6/1/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                            $500.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3313                                    6/20/2023 USD                        $120.56 Customer Disbursement


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3313                                     6/8/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3313                                     6/6/2023 USD                       $200.00 Customer Disbursement
                                                                                         TOTAL                           $520.56
        Confidential Customer USD Transferee #3314         [Address on File]          5/16/2023 USD                       $305.83 Customer Disbursement
                                                                                         TOTAL                           $305.83
        Confidential Customer USD Transferee #3315         [Address on File]           6/2/2023 USD                     $2,383.42 Customer Disbursement
                                                                                         TOTAL                          $2,383.42
        Confidential Customer USD Transferee #3316         [Address on File]          6/21/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3316         [Address on File]          6/21/2023 USD                     $8,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3316         [Address on File]          5/16/2023 USD                     $5,000.00 Customer Disbursement
                                                                                         TOTAL                         $33,000.00
        Confidential Customer USD Transferee #3317         [Address on File]          6/13/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3317         [Address on File]           6/7/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3317         [Address on File]           6/6/2023 USD                    $19,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3317         [Address on File]           6/6/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3317         [Address on File]           6/6/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3317         [Address on File]           6/8/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3317         [Address on File]           6/5/2023 USD                       $500.00 Customer Disbursement
                                                                                         TOTAL                        $120,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3318                                    6/16/2023 USD                      $5,985.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3318                                     6/9/2023 USD                      $5,985.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3318                                    5/22/2023 USD                      $4,000.00 Customer Disbursement
                                                                                         TOTAL                          $15,970.00
        Confidential Customer USD Transferee #3319         [Address on File]           6/5/2023 USD                        $569.11 Customer Disbursement
        Confidential Customer USD Transferee #3319         [Address on File]          5/17/2023 USD                      $1,228.36 Customer Disbursement
                                                                                         TOTAL                           $1,797.47
        Confidential Customer USD Transferee #3320         [Address on File]          5/16/2023 USD                        $269.68 Customer Disbursement
                                                                                         TOTAL                            $269.68
        Confidential Customer USD Transferee #3321         [Address on File]           6/1/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,000.00
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3322                                    6/16/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3322                                    6/15/2023 USD                        $451.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3322                                    6/15/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $851.00
        Confidential Customer USD Transferee #3323         [Address on File]          5/31/2023 USD                      $1,028.72 Customer Disbursement
                                                                                         TOTAL                           $1,028.72
        Confidential Customer USD Transferee #3324         [Address on File]          6/21/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $20,000.00
        Confidential Customer USD Transferee #3325         [Address on File]           6/6/2023 USD                      $1,033.20 Customer Disbursement
                                                                                         TOTAL                           $1,033.20
        Confidential Customer USD Transferee #3326         [Address on File]           6/1/2023 USD                      $2,222.29 Customer Disbursement
        Confidential Customer USD Transferee #3326         [Address on File]           6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3326         [Address on File]          5/17/2023 USD                      $2,395.79 Customer Disbursement
                                                                                         TOTAL                           $7,618.08
                                                           [Address on File]
        Confidential Customer USD Transferee #3327                                    6/21/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                            $500.00
        Confidential Customer USD Transferee #3328         [Address on File]          6/13/2023 USD                         $14.00 Customer Disbursement
                                                                                         TOTAL                              $14.00
        Confidential Customer USD Transferee #3329         [Address on File]          5/16/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
        Confidential Customer USD Transferee #3330         [Address on File]          6/21/2023 USD                         $45.00 Customer Disbursement
                                                                                         TOTAL                              $45.00
        Confidential Customer USD Transferee #3331         [Address on File]          6/21/2023 USD                        $200.90 Customer Disbursement
                                                                                         TOTAL                            $200.90
        Confidential Customer USD Transferee #3332         [Address on File]          5/25/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #3333         [Address on File]          6/21/2023 USD                     $30,000.00 Customer Disbursement
                                                                                         TOTAL                          $30,000.00
        Confidential Customer USD Transferee #3334         [Address on File]          6/20/2023 USD                      $3,430.27 Customer Disbursement
                                                                                         TOTAL                           $3,430.27

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3335   [Address on File]        5/24/2023 USD                        $109.45 Customer Disbursement
                                                                                 TOTAL                            $109.45
        Confidential Customer USD Transferee #3336   [Address on File]         6/2/2023 USD                        $214.85 Customer Disbursement
                                                                                 TOTAL                            $214.85
        Confidential Customer USD Transferee #3337   [Address on File]        6/12/2023 USD                          $5.97 Customer Disbursement
                                                                                 TOTAL                               $5.97
        Confidential Customer USD Transferee #3338   [Address on File]        5/26/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
        Confidential Customer USD Transferee #3339   [Address on File]        5/31/2023 USD                      $1,625.51 Customer Disbursement
                                                                                 TOTAL                           $1,625.51
        Confidential Customer USD Transferee #3340   [Address on File]        6/22/2023 USD                         $18.18 Customer Disbursement
                                                                                 TOTAL                              $18.18
        Confidential Customer USD Transferee #3341   [Address on File]        6/12/2023 USD                      $1,367.83 Customer Disbursement
                                                                                 TOTAL                           $1,367.83
        Confidential Customer USD Transferee #3342   [Address on File]        5/31/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3342   [Address on File]        5/31/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $20.00
        Confidential Customer USD Transferee #3343   [Address on File]        5/31/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3343   [Address on File]        5/16/2023 USD                         $98.00 Customer Disbursement
                                                                                 TOTAL                            $108.00
        Confidential Customer USD Transferee #3344   [Address on File]        5/31/2023 USD                         $55.00 Customer Disbursement
        Confidential Customer USD Transferee #3344   [Address on File]        5/31/2023 USD                        $496.00 Customer Disbursement
                                                                                 TOTAL                            $551.00
        Confidential Customer USD Transferee #3345   [Address on File]        6/12/2023 USD                         $79.04 Customer Disbursement
                                                                                 TOTAL                              $79.04
        Confidential Customer USD Transferee #3346   [Address on File]         6/8/2023 USD                        $392.00 Customer Disbursement
                                                                                 TOTAL                            $392.00
        Confidential Customer USD Transferee #3347   [Address on File]        5/30/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3348                              5/31/2023 USD                         $19.07 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3348                              5/31/2023 USD                         $80.93 Customer Disbursement
                                                                                   TOTAL                             $100.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3349   [Address on File]        6/21/2023 USD                      $5,009.05 Customer Disbursement
        Confidential Customer USD Transferee #3349   [Address on File]        6/20/2023 USD                      $2,145.00 Customer Disbursement
                                                                                 TOTAL                           $7,154.05
        Confidential Customer USD Transferee #3350   [Address on File]         6/8/2023 USD                      $1,200.00 Customer Disbursement
        Confidential Customer USD Transferee #3350   [Address on File]        5/22/2023 USD                        $900.00 Customer Disbursement
                                                                                 TOTAL                           $2,100.00
        Confidential Customer USD Transferee #3351   [Address on File]         6/1/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                               $5.00
        Confidential Customer USD Transferee #3352   [Address on File]         6/7/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
        Confidential Customer USD Transferee #3353   [Address on File]        5/31/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #3353   [Address on File]        5/22/2023 USD                        $700.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3354   [Address on File]        6/14/2023 USD                      $4,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3354   [Address on File]        5/18/2023 USD                      $1,500.00 Customer Disbursement
                                                                                 TOTAL                           $5,500.00
        Confidential Customer USD Transferee #3355   [Address on File]        5/31/2023 USD                        $220.00 Customer Disbursement
                                                                                 TOTAL                            $220.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3356                              6/21/2023 USD                         $71.15 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3356                              6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                             $271.15
                                                     [Address on File]
        Confidential Customer USD Transferee #3357                              6/21/2023 USD                         $23.04 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3357                              6/20/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $73.04
        Confidential Customer USD Transferee #3358   [Address on File]          6/21/2023 USD                        $479.43 Customer Disbursement
                                                                                   TOTAL                            $479.43
        Confidential Customer USD Transferee #3359   [Address on File]           6/5/2023 USD                      $1,500.00 Customer Disbursement
                                                                                   TOTAL                           $1,500.00
        Confidential Customer USD Transferee #3360   [Address on File]          5/18/2023 USD                      $1,306.00 Customer Disbursement
        Confidential Customer USD Transferee #3360   [Address on File]          5/18/2023 USD                         $41.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,347.00
        Confidential Customer USD Transferee #3361         [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3361         [Address on File]        5/31/2023 USD                      $2,025.84 Customer Disbursement
                                                                                       TOTAL                           $5,025.84
        Confidential Customer USD Transferee #3362         [Address on File]        6/20/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3362         [Address on File]        6/20/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3362         [Address on File]        6/16/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #3362         [Address on File]         6/7/2023 USD                      $5,100.00 Customer Disbursement
                                                                                       TOTAL                         $19,115.00
        Confidential Customer USD Transferee #3363         [Address on File]         6/6/2023 USD                         $51.76 Customer Disbursement
                                                                                       TOTAL                              $51.76
        Confidential Customer USD Transferee #3364         [Address on File]        6/21/2023 USD                      $1,101.07 Customer Disbursement
        Confidential Customer USD Transferee #3364         [Address on File]        6/16/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                           $1,111.07
        Confidential Customer USD Transferee #3365         [Address on File]        5/31/2023 USD                          $1.01 Customer Disbursement
                                                                                       TOTAL                               $1.01
        Confidential Customer USD Transferee #3366         [Address on File]         6/8/2023 USD                         $50.00 Customer Disbursement
                                                                                       TOTAL                              $50.00
        Confidential Customer USD Transferee #3367         [Address on File]        5/16/2023 USD                         $94.00 Customer Disbursement
        Confidential Customer USD Transferee #3367         [Address on File]        5/16/2023 USD                         $99.00 Customer Disbursement
        Confidential Customer USD Transferee #3367         [Address on File]        5/16/2023 USD                        $101.00 Customer Disbursement
                                                                                       TOTAL                            $294.00
        Confidential Customer USD Transferee #3368         [Address on File]        5/31/2023 USD                      $1,066.00 Customer Disbursement
        Confidential Customer USD Transferee #3368         [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $4,066.00
        Confidential Customer USD Transferee #3369         [Address on File]        5/23/2023 USD                          $5.00 Customer Disbursement
                                                                                       TOTAL                               $5.00
        Confidential Customer USD Transferee #3370         [Address on File]         6/7/2023 USD                      $1,072.83 Customer Disbursement
                                                                                       TOTAL                           $1,072.83
                                                           [Address on File]
        Confidential Customer USD Transferee #3371                                    5/31/2023 USD                        $494.58 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3371                                    5/31/2023 USD                         $95.89 Customer Disbursement



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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3371                                    5/31/2023 USD                             $3.60 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3371                                    5/31/2023 USD                         $18.59 Customer Disbursement
                                                                                         TOTAL                            $612.66
        Confidential Customer USD Transferee #3372         [Address on File]          5/17/2023 USD                      $2,910.00 Customer Disbursement
                                                                                         TOTAL                           $2,910.00
        Confidential Customer USD Transferee #3373         [Address on File]          5/16/2023 USD                         $17.42 Customer Disbursement
                                                                                         TOTAL                              $17.42
        Confidential Customer USD Transferee #3374         [Address on File]          6/12/2023 USD                         $28.41 Customer Disbursement
                                                                                         TOTAL                              $28.41
        Confidential Customer USD Transferee #3375         [Address on File]          5/23/2023 USD                        $309.90 Customer Disbursement
                                                                                         TOTAL                            $309.90
        Confidential Customer USD Transferee #3376         [Address on File]          6/13/2023 USD                      $1,436.87 Customer Disbursement
                                                                                         TOTAL                           $1,436.87
        Confidential Customer USD Transferee #3377         [Address on File]           6/1/2023 USD                         $71.00 Customer Disbursement
        Confidential Customer USD Transferee #3377         [Address on File]          5/16/2023 USD                         $71.00 Customer Disbursement
                                                                                         TOTAL                            $142.00
        Confidential Customer USD Transferee #3378         [Address on File]          5/25/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #3378         [Address on File]          5/24/2023 USD                        $226.45 Customer Disbursement
        Confidential Customer USD Transferee #3378         [Address on File]          5/24/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                            $526.45
        Confidential Customer USD Transferee #3379         [Address on File]          6/16/2023 USD                         $44.49 Customer Disbursement
                                                                                         TOTAL                              $44.49
        Confidential Customer USD Transferee #3380         [Address on File]          6/16/2023 USD                     $11,934.05 Customer Disbursement
                                                                                         TOTAL                          $11,934.05
        Confidential Customer USD Transferee #3381         [Address on File]           6/6/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3381         [Address on File]          5/24/2023 USD                        $175.00 Customer Disbursement
        Confidential Customer USD Transferee #3381         [Address on File]          5/23/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #3381         [Address on File]          5/23/2023 USD                        $600.00 Customer Disbursement
        Confidential Customer USD Transferee #3381         [Address on File]          5/17/2023 USD                        $350.01 Customer Disbursement
                                                                                         TOTAL                           $1,625.01
        Confidential Customer USD Transferee #3382         [Address on File]           6/2/2023 USD                         $30.00 Customer Disbursement
        Confidential Customer USD Transferee #3382         [Address on File]          5/16/2023 USD                         $12.00 Customer Disbursement

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                                                                                                                                      Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount               Transfer
                                                                                      TOTAL                              $42.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3383                                    5/31/2023 USD                        $210.52 Customer Disbursement
                                                                                         TOTAL                             $210.52
                                                           [Address on File]
        Confidential Customer USD Transferee #3384                                    6/20/2023 USD                             $3.95 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3384                                    6/20/2023 USD                         $17.95 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3384                                    6/20/2023 USD                             $0.87 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3384                                     6/5/2023 USD                         $96.98 Customer Disbursement
                                                                                         TOTAL                            $119.75
        Confidential Customer USD Transferee #3385         [Address on File]          5/18/2023 USD                      $2,213.97 Customer Disbursement
                                                                                         TOTAL                           $2,213.97
        Confidential Customer USD Transferee #3386         [Address on File]          5/24/2023 USD                      $1,092.00 Customer Disbursement
        Confidential Customer USD Transferee #3386         [Address on File]          5/24/2023 USD                         $15.00 Customer Disbursement
                                                                                         TOTAL                           $1,107.00
        Confidential Customer USD Transferee #3387         [Address on File]           6/9/2023 USD                     $10,091.30 Customer Disbursement
                                                                                         TOTAL                          $10,091.30
        Confidential Customer USD Transferee #3388         [Address on File]          5/23/2023 USD                         $19.34 Customer Disbursement
                                                                                         TOTAL                              $19.34
        Confidential Customer USD Transferee #3389         [Address on File]           6/6/2023 USD                         $37.00 Customer Disbursement
                                                                                         TOTAL                              $37.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3390                                    5/24/2023 USD                      $1,520.69 Customer Disbursement
                                                                                         TOTAL                           $1,520.69
        Confidential Customer USD Transferee #3391         [Address on File]          6/14/2023 USD                      $4,793.00 Customer Disbursement
        Confidential Customer USD Transferee #3391         [Address on File]          6/13/2023 USD                      $1,770.00 Customer Disbursement
                                                                                         TOTAL                           $6,563.00
        Confidential Customer USD Transferee #3392         [Address on File]          6/20/2023 USD                         $20.01 Customer Disbursement
                                                                                         TOTAL                              $20.01
        Confidential Customer USD Transferee #3393         [Address on File]          6/16/2023 USD                        $852.57 Customer Disbursement
                                                                                         TOTAL                            $852.57

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3394   [Address on File]        5/31/2023 USD                         $99.00 Customer Disbursement
                                                                                 TOTAL                              $99.00
        Confidential Customer USD Transferee #3395   [Address on File]        5/23/2023 USD                          $0.75 Customer Disbursement
                                                                                 TOTAL                               $0.75
        Confidential Customer USD Transferee #3396   [Address on File]        6/16/2023 USD                         $20.00 Customer Disbursement
                                                                                 TOTAL                              $20.00
        Confidential Customer USD Transferee #3397   [Address on File]        5/31/2023 USD                          $0.01 Customer Disbursement
                                                                                 TOTAL                               $0.01
        Confidential Customer USD Transferee #3398   [Address on File]        5/26/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3398   [Address on File]        5/23/2023 USD                         $21.50 Customer Disbursement
        Confidential Customer USD Transferee #3398   [Address on File]        5/22/2023 USD                       $150.00 Customer Disbursement
        Confidential Customer USD Transferee #3398   [Address on File]        5/19/2023 USD                       $150.00 Customer Disbursement
        Confidential Customer USD Transferee #3398   [Address on File]        5/17/2023 USD                       $150.00 Customer Disbursement
                                                                                 TOTAL                            $671.50
        Confidential Customer USD Transferee #3399   [Address on File]        6/21/2023 USD                      $4,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3399   [Address on File]        6/21/2023 USD                    $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3399   [Address on File]        6/15/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3399   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3399   [Address on File]        5/23/2023 USD                      $3,500.00 Customer Disbursement
                                                                                 TOTAL                         $22,000.00
        Confidential Customer USD Transferee #3400   [Address on File]        6/21/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3400   [Address on File]        6/21/2023 USD                       $544.47 Customer Disbursement
        Confidential Customer USD Transferee #3400   [Address on File]        6/21/2023 USD                      $6,190.00 Customer Disbursement
        Confidential Customer USD Transferee #3400   [Address on File]        6/20/2023 USD                       $990.54 Customer Disbursement
                                                                                 TOTAL                         $12,725.01
                                                     [Address on File]
        Confidential Customer USD Transferee #3401                              6/21/2023 USD                         $58.04 Customer Disbursement
                                                                                   TOTAL                              $58.04
        Confidential Customer USD Transferee #3402   [Address on File]          5/24/2023 USD                      $6,500.64 Customer Disbursement
                                                                                   TOTAL                           $6,500.64
        Confidential Customer USD Transferee #3403   [Address on File]          6/16/2023 USD                         $10.67 Customer Disbursement
                                                                                   TOTAL                              $10.67
        Confidential Customer USD Transferee #3404   [Address on File]          5/16/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #3405   [Address on File]        6/16/2023 USD                       $136.80 Customer Disbursement
                                                                                 TOTAL                            $136.80
                                                     [Address on File]
        Confidential Customer USD Transferee #3406                              6/21/2023 USD                        $133.88 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3406                              6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $333.88
        Confidential Customer USD Transferee #3407   [Address on File]          5/24/2023 USD                         $25.00 Customer Disbursement
                                                                                   TOTAL                              $25.00
        Confidential Customer USD Transferee #3408   [Address on File]          5/30/2023 USD                        $394.71 Customer Disbursement
        Confidential Customer USD Transferee #3408   [Address on File]          5/22/2023 USD                        $413.44 Customer Disbursement
                                                                                   TOTAL                            $808.15
        Confidential Customer USD Transferee #3409   [Address on File]          5/23/2023 USD                     $10,000.00 Customer Disbursement
                                                                                   TOTAL                          $10,000.00
        Confidential Customer USD Transferee #3410   [Address on File]          6/21/2023 USD                        $710.00 Customer Disbursement
                                                                                   TOTAL                            $710.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3411                              5/31/2023 USD                 $2,520,831.01 Customer Disbursement
                                                                                   TOTAL                      $2,520,831.01
                                                     [Address on File]

        Confidential Customer USD Transferee #3412                              5/17/2023 USD                     $19,769.87 Customer Disbursement
                                                                                   TOTAL                          $19,769.87
        Confidential Customer USD Transferee #3413   [Address on File]          6/21/2023 USD                      $1,095.23 Customer Disbursement
                                                                                   TOTAL                           $1,095.23
        Confidential Customer USD Transferee #3414   [Address on File]          6/16/2023 USD                        $629.37 Customer Disbursement
                                                                                   TOTAL                            $629.37
                                                     [Address on File]
        Confidential Customer USD Transferee #3415                              6/12/2023 USD                     $14,694.50 Customer Disbursement
                                                                                   TOTAL                          $14,694.50
                                                     [Address on File]
        Confidential Customer USD Transferee #3416                              5/26/2023 USD                   $750,000.00 Customer Disbursement
                                                                                   TOTAL                        $750,000.00


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                                            Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                                  Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount           Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3417                                    5/22/2023 USD                $30,000,000.00 Customer Disbursement
                                                                                         TOTAL                     $30,000,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3418                                    5/17/2023 USD                 $6,000,000.21 Customer Disbursement
                                                                                         TOTAL                      $6,000,000.21
        Confidential Customer USD Transferee #3419         [Address on File]          6/20/2023 USD                     $8,182.14 Customer Disbursement
                                                                                         TOTAL                          $8,182.14
        Confidential Customer USD Transferee #3420         [Address on File]          5/30/2023 USD                       $104.43 Customer Disbursement
                                                                                         TOTAL                           $104.43
        Confidential Customer USD Transferee #3421         [Address on File]           6/7/2023 USD                       $500.00 Customer Disbursement
                                                                                         TOTAL                           $500.00
        Confidential Customer USD Transferee #3422         [Address on File]          5/23/2023 USD                       $148.37 Customer Disbursement
                                                                                         TOTAL                           $148.37
        Confidential Customer USD Transferee #3423         [Address on File]           6/2/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3423         [Address on File]          5/25/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3423         [Address on File]          5/24/2023 USD                    $20,000.00 Customer Disbursement
                                                                                         TOTAL                         $60,000.00
        Confidential Customer USD Transferee #3424         [Address on File]           6/7/2023 USD                    $10,645.58 Customer Disbursement
        Confidential Customer USD Transferee #3424         [Address on File]          5/26/2023 USD                    $12,694.84 Customer Disbursement
                                                                                         TOTAL                         $23,340.42
        Confidential Customer USD Transferee #3425         [Address on File]           6/2/2023 USD                        $14.71 Customer Disbursement
        Confidential Customer USD Transferee #3425         [Address on File]          5/25/2023 USD                     $6,139.72 Customer Disbursement
                                                                                         TOTAL                          $6,154.43
        Confidential Customer USD Transferee #3426         [Address on File]          5/23/2023 USD                        $10.00 Customer Disbursement
                                                                                         TOTAL                             $10.00
        Confidential Customer USD Transferee #3427         [Address on File]           6/6/2023 USD                       $588.11 Customer Disbursement
                                                                                         TOTAL                           $588.11
                                                           [Address on File]
        Confidential Customer USD Transferee #3428                                    6/15/2023 USD                 $1,186,475.37 Customer Disbursement
                                                                                         TOTAL                      $1,186,475.37
        Confidential Customer USD Transferee #3429         [Address on File]           6/9/2023 USD                        $76.00 Customer Disbursement
        Confidential Customer USD Transferee #3429         [Address on File]           6/8/2023 USD                        $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3429         [Address on File]           6/8/2023 USD                         $5.00 Customer Disbursement

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #3429   [Address on File]         6/7/2023 USD                        $68.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/7/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/7/2023 USD                         $6.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/7/2023 USD                        $52.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/7/2023 USD                         $5.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/6/2023 USD                        $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/6/2023 USD                        $36.33 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/6/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/6/2023 USD                       $190.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/6/2023 USD                        $84.46 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/6/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/5/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/5/2023 USD                        $11.95 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/2/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/2/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/2/2023 USD                        $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/1/2023 USD                       $101.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]         6/1/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                        $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                        $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                        $12.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                       $106.58 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                        $75.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                         $2.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                        $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                        $30.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                         $5.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                        $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/31/2023 USD                        $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/30/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/30/2023 USD                       $119.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/30/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/30/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/26/2023 USD                        $10.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3429   [Address on File]        5/25/2023 USD                         $50.92 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/25/2023 USD                        $105.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/25/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/24/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/24/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/24/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/23/2023 USD                         $74.54 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/23/2023 USD                         $11.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/23/2023 USD                          $6.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/23/2023 USD                         $11.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/23/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/23/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/23/2023 USD                          $6.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/22/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/22/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/22/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/22/2023 USD                         $30.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/22/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/19/2023 USD                          $7.83 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/19/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/19/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/18/2023 USD                         $23.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/18/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/18/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/18/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/16/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/16/2023 USD                         $70.00 Customer Disbursement
        Confidential Customer USD Transferee #3429   [Address on File]        5/16/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                           $5,196.61
        Confidential Customer USD Transferee #3430   [Address on File]         6/9/2023 USD                         $98.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/8/2023 USD                        $160.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/8/2023 USD                         $10.18 Customer Disbursement
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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #3430   [Address on File]         6/8/2023 USD                        $10.03 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/7/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/7/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/7/2023 USD                       $104.07 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/7/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/7/2023 USD                        $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/6/2023 USD                         $3.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/6/2023 USD                        $13.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/6/2023 USD                        $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/6/2023 USD                        $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/6/2023 USD                        $13.86 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/6/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/6/2023 USD                        $15.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/6/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/5/2023 USD                         $5.10 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/2/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/2/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]         6/1/2023 USD                         $5.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/31/2023 USD                        $15.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/31/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/31/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/31/2023 USD                         $5.10 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/31/2023 USD                         $5.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/31/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/31/2023 USD                        $15.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/31/2023 USD                        $50.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/31/2023 USD                        $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/30/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/30/2023 USD                         $5.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/30/2023 USD                         $5.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/30/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/30/2023 USD                        $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/30/2023 USD                         $5.82 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/26/2023 USD                        $50.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/26/2023 USD                        $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/26/2023 USD                        $30.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3430   [Address on File]        5/26/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/24/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/24/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/24/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/24/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/24/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/24/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/24/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/24/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/23/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/23/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/22/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/22/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/22/2023 USD                        $110.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/22/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/22/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/22/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/19/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/18/2023 USD                         $30.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/17/2023 USD                         $54.61 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/16/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/16/2023 USD                          $7.01 Customer Disbursement
        Confidential Customer USD Transferee #3430   [Address on File]        5/16/2023 USD                          $3.00 Customer Disbursement
                                                                                 TOTAL                           $4,798.78
                                                     [Address on File]
        Confidential Customer USD Transferee #3431                              6/21/2023 USD                        $833.64 Customer Disbursement
                                                                                   TOTAL                             $833.64
        Confidential Customer USD Transferee #3432   [Address on File]          5/26/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3433                              6/21/2023 USD                   $100,000.00 Customer Disbursement
                                                                                   TOTAL                        $100,000.00
        Confidential Customer USD Transferee #3434   [Address on File]           6/7/2023 USD                    $25,865.00 Customer Disbursement
                                                                                   TOTAL                         $25,865.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3435   [Address on File]        6/15/2023 USD                     $73,926.61 Customer Disbursement
        Confidential Customer USD Transferee #3435   [Address on File]        6/15/2023 USD                     $24,257.71 Customer Disbursement
        Confidential Customer USD Transferee #3435   [Address on File]         6/9/2023 USD                     $92,395.64 Customer Disbursement
        Confidential Customer USD Transferee #3435   [Address on File]         6/8/2023 USD                    $201,233.83 Customer Disbursement
        Confidential Customer USD Transferee #3435   [Address on File]         6/6/2023 USD                    $322,541.16 Customer Disbursement
        Confidential Customer USD Transferee #3435   [Address on File]         6/2/2023 USD                    $210,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3435   [Address on File]        5/31/2023 USD                    $850,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3435   [Address on File]        5/30/2023 USD                 $10,309,332.93 Customer Disbursement
        Confidential Customer USD Transferee #3435   [Address on File]        5/30/2023 USD                 $10,000,000.00 Customer Disbursement
                                                                                 TOTAL                      $22,083,687.88
                                                     [Address on File]
        Confidential Customer USD Transferee #3436                               6/8/2023 USD                      $1,235.00 Customer Disbursement
                                                                                   TOTAL                           $1,235.00
        Confidential Customer USD Transferee #3437   [Address on File]          5/22/2023 USD                          $6.00 Customer Disbursement
                                                                                   TOTAL                               $6.00
        Confidential Customer USD Transferee #3438   [Address on File]          6/12/2023 USD                          $4.37 Customer Disbursement
                                                                                   TOTAL                               $4.37
        Confidential Customer USD Transferee #3439   [Address on File]          6/21/2023 USD                        $310.00 Customer Disbursement
                                                                                   TOTAL                            $310.00
        Confidential Customer USD Transferee #3440   [Address on File]          5/18/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #3440   [Address on File]          5/16/2023 USD                         $60.00 Customer Disbursement
                                                                                   TOTAL                            $210.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3441                              6/12/2023 USD                         $28.41 Customer Disbursement
                                                                                   TOTAL                              $28.41
        Confidential Customer USD Transferee #3442   [Address on File]          6/16/2023 USD                     $70,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3442   [Address on File]          5/22/2023 USD                     $29,800.00 Customer Disbursement
                                                                                   TOTAL                          $99,800.00
        Confidential Customer USD Transferee #3443   [Address on File]          5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3443   [Address on File]          5/30/2023 USD                        $482.09 Customer Disbursement
                                                                                   TOTAL                           $3,482.09
        Confidential Customer USD Transferee #3444   [Address on File]          6/21/2023 USD                        $420.00 Customer Disbursement
                                                                                   TOTAL                            $420.00
        Confidential Customer USD Transferee #3445   [Address on File]           6/5/2023 USD                        $453.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3445   [Address on File]        5/23/2023 USD                        $451.24 Customer Disbursement
                                                                                 TOTAL                            $904.24
        Confidential Customer USD Transferee #3446   [Address on File]         6/7/2023 USD                          $4.33 Customer Disbursement
                                                                                 TOTAL                               $4.33
        Confidential Customer USD Transferee #3447   [Address on File]        6/20/2023 USD                         $33.00 Customer Disbursement
        Confidential Customer USD Transferee #3447   [Address on File]        6/16/2023 USD                    $61,199.88 Customer Disbursement
        Confidential Customer USD Transferee #3447   [Address on File]         6/1/2023 USD                      $1,447.00 Customer Disbursement
                                                                                 TOTAL                         $62,679.88
        Confidential Customer USD Transferee #3448   [Address on File]        5/23/2023 USD                         $35.00 Customer Disbursement
        Confidential Customer USD Transferee #3448   [Address on File]        5/19/2023 USD                         $20.00 Customer Disbursement
                                                                                 TOTAL                              $55.00
        Confidential Customer USD Transferee #3449   [Address on File]         6/7/2023 USD                      $1,369.10 Customer Disbursement
                                                                                 TOTAL                           $1,369.10
        Confidential Customer USD Transferee #3450   [Address on File]        6/22/2023 USD                        $109.77 Customer Disbursement
                                                                                 TOTAL                            $109.77
        Confidential Customer USD Transferee #3451   [Address on File]        6/13/2023 USD                         $10.22 Customer Disbursement
                                                                                 TOTAL                              $10.22
        Confidential Customer USD Transferee #3452   [Address on File]        6/21/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3452   [Address on File]         6/8/2023 USD                        $170.00 Customer Disbursement
                                                                                 TOTAL                            $190.00
        Confidential Customer USD Transferee #3453   [Address on File]        6/13/2023 USD                      $5,497.00 Customer Disbursement
                                                                                 TOTAL                           $5,497.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3454                               6/7/2023 USD                         $25.00 Customer Disbursement
                                                                                   TOTAL                              $25.00
        Confidential Customer USD Transferee #3455   [Address on File]          5/22/2023 USD                         $30.00 Customer Disbursement
                                                                                   TOTAL                              $30.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3456                              6/22/2023 USD                       $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
        Confidential Customer USD Transferee #3457   [Address on File]          5/30/2023 USD                      $1,100.00 Customer Disbursement
        Confidential Customer USD Transferee #3457   [Address on File]          5/16/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #3457   [Address on File]          5/16/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3457   [Address on File]          5/16/2023 USD                       $400.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $2,900.00
        Confidential Customer USD Transferee #3458         [Address on File]        6/20/2023 USD                         $79.00 Customer Disbursement
        Confidential Customer USD Transferee #3458         [Address on File]        5/24/2023 USD                        $104.35 Customer Disbursement
                                                                                       TOTAL                            $183.35
        Confidential Customer USD Transferee #3459         [Address on File]         6/5/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                            $200.00
        Confidential Customer USD Transferee #3460         [Address on File]        6/21/2023 USD                         $25.51 Customer Disbursement
                                                                                       TOTAL                              $25.51
        Confidential Customer USD Transferee #3461         [Address on File]        5/31/2023 USD                        $450.00 Customer Disbursement
                                                                                       TOTAL                            $450.00
        Confidential Customer USD Transferee #3462         [Address on File]         6/7/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3462         [Address on File]         6/2/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3462         [Address on File]         6/2/2023 USD                      $2,000.00 Customer Disbursement
                                                                                       TOTAL                           $4,000.00
        Confidential Customer USD Transferee #3463         [Address on File]         6/1/2023 USD                      $7,574.74 Customer Disbursement
                                                                                       TOTAL                           $7,574.74
        Confidential Customer USD Transferee #3464         [Address on File]        6/16/2023 USD                         $41.01 Customer Disbursement
                                                                                       TOTAL                              $41.01
        Confidential Customer USD Transferee #3465         [Address on File]        6/20/2023 USD                         $64.18 Customer Disbursement
                                                                                       TOTAL                              $64.18
        Confidential Customer USD Transferee #3466         [Address on File]        5/23/2023 USD                    $14,875.05 Customer Disbursement
                                                                                       TOTAL                         $14,875.05
        Confidential Customer USD Transferee #3467         [Address on File]        6/16/2023 USD                         $30.62 Customer Disbursement
                                                                                       TOTAL                              $30.62
        Confidential Customer USD Transferee #3468         [Address on File]        5/31/2023 USD                        $188.05 Customer Disbursement
                                                                                       TOTAL                            $188.05
        Confidential Customer USD Transferee #3469         [Address on File]         6/8/2023 USD                   $420,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3469         [Address on File]         6/8/2023 USD                    $73,502.95 Customer Disbursement
                                                                                       TOTAL                        $493,502.95
        Confidential Customer USD Transferee #3470         [Address on File]         6/8/2023 USD                    $67,723.37 Customer Disbursement
                                                                                       TOTAL                         $67,723.37
        Confidential Customer USD Transferee #3471         [Address on File]        6/21/2023 USD                          $8.91 Customer Disbursement
                                                                                       TOTAL                               $8.91
        Confidential Customer USD Transferee #3472         [Address on File]        5/26/2023 USD                        $741.13 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3472   [Address on File]        5/25/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3472   [Address on File]        5/24/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $40,741.13
        Confidential Customer USD Transferee #3473   [Address on File]         6/2/2023 USD                        $471.94 Customer Disbursement
        Confidential Customer USD Transferee #3473   [Address on File]        5/26/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3473   [Address on File]        5/19/2023 USD                        $288.59 Customer Disbursement
                                                                                 TOTAL                           $1,260.53
        Confidential Customer USD Transferee #3474   [Address on File]        6/12/2023 USD                      $4,876.02 Customer Disbursement
        Confidential Customer USD Transferee #3474   [Address on File]         6/8/2023 USD                      $4,391.66 Customer Disbursement
        Confidential Customer USD Transferee #3474   [Address on File]         6/8/2023 USD                        $495.00 Customer Disbursement
                                                                                 TOTAL                           $9,762.68
        Confidential Customer USD Transferee #3475   [Address on File]        6/20/2023 USD                        $118.30 Customer Disbursement
                                                                                 TOTAL                            $118.30
        Confidential Customer USD Transferee #3476   [Address on File]        6/21/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
        Confidential Customer USD Transferee #3477   [Address on File]        5/30/2023 USD                        $800.00 Customer Disbursement
        Confidential Customer USD Transferee #3477   [Address on File]        5/30/2023 USD                        $700.87 Customer Disbursement
        Confidential Customer USD Transferee #3477   [Address on File]        5/26/2023 USD                      $1,500.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.87
        Confidential Customer USD Transferee #3478   [Address on File]        6/20/2023 USD                          $4.12 Customer Disbursement
                                                                                 TOTAL                               $4.12
        Confidential Customer USD Transferee #3479   [Address on File]        5/31/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #3480   [Address on File]        6/20/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3481                              6/22/2023 USD                         $67.10 Customer Disbursement
                                                                                   TOTAL                              $67.10
                                                     [Address on File]
        Confidential Customer USD Transferee #3482                              5/16/2023 USD                         $46.83 Customer Disbursement
                                                                                   TOTAL                              $46.83
                                                     [Address on File]
        Confidential Customer USD Transferee #3483                              6/21/2023 USD                         $81.95 Customer Disbursement


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                                                                                                                                  Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount           Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3483                                    6/20/2023 USD                       $200.00 Customer Disbursement
                                                                                         TOTAL                           $281.95
        Confidential Customer USD Transferee #3484         [Address on File]          6/20/2023 USD                       $995.00 Customer Disbursement
                                                                                         TOTAL                           $995.00
        Confidential Customer USD Transferee #3485         [Address on File]          5/25/2023 USD                       $290.93 Customer Disbursement
                                                                                         TOTAL                           $290.93
        Confidential Customer USD Transferee #3486         [Address on File]          5/23/2023 USD                       $198.00 Customer Disbursement
                                                                                         TOTAL                           $198.00
        Confidential Customer USD Transferee #3487         [Address on File]          6/21/2023 USD                     $2,501.82 Customer Disbursement
                                                                                         TOTAL                          $2,501.82
        Confidential Customer USD Transferee #3488         [Address on File]          5/26/2023 USD                       $600.00 Customer Disbursement
                                                                                         TOTAL                           $600.00
        Confidential Customer USD Transferee #3489         [Address on File]          6/15/2023 USD                    $60,359.31 Customer Disbursement
                                                                                         TOTAL                         $60,359.31
        Confidential Customer USD Transferee #3490         [Address on File]          6/16/2023 USD                   $224,430.38 Customer Disbursement
                                                                                         TOTAL                        $224,430.38
        Confidential Customer USD Transferee #3491         [Address on File]           6/5/2023 USD                       $180.00 Customer Disbursement
                                                                                         TOTAL                           $180.00
        Confidential Customer USD Transferee #3492         [Address on File]          6/16/2023 USD                       $138.00 Customer Disbursement
                                                                                         TOTAL                           $138.00
        Confidential Customer USD Transferee #3493         [Address on File]           6/5/2023 USD                       $700.00 Customer Disbursement
                                                                                         TOTAL                           $700.00
        Confidential Customer USD Transferee #3494         [Address on File]          6/22/2023 USD                     $8,000.69 Customer Disbursement
        Confidential Customer USD Transferee #3494         [Address on File]          6/21/2023 USD                     $8,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3494         [Address on File]          6/20/2023 USD                    $19,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3494         [Address on File]           6/7/2023 USD                     $8,459.68 Customer Disbursement
                                                                                         TOTAL                         $43,460.37
        Confidential Customer USD Transferee #3495         [Address on File]          6/21/2023 USD                     $6,316.91 Customer Disbursement
                                                                                         TOTAL                          $6,316.91
        Confidential Customer USD Transferee #3496         [Address on File]           6/5/2023 USD                        $18.60 Customer Disbursement
                                                                                         TOTAL                             $18.60
        Confidential Customer USD Transferee #3497         [Address on File]          6/13/2023 USD                    $39,860.00 Customer Disbursement
                                                                                         TOTAL                         $39,860.00

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3498                                    6/16/2023 USD                     $77,384.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3498                                    6/13/2023 USD                     $19,930.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3498                                     6/5/2023 USD                     $14,947.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3498                                     6/1/2023 USD                     $10,795.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3498                                    5/26/2023 USD                     $34,888.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3498                                    5/25/2023 USD                     $34,878.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3498                                    5/19/2023 USD                     $19,932.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3498                                    5/16/2023 USD                    $32,175.00 Customer Disbursement
                                                                                         TOTAL                        $244,929.00
        Confidential Customer USD Transferee #3499         [Address on File]          6/20/2023 USD                        $44.45 Customer Disbursement
                                                                                         TOTAL                             $44.45
        Confidential Customer USD Transferee #3500         [Address on File]          5/23/2023 USD                        $14.22 Customer Disbursement
                                                                                         TOTAL                             $14.22
                                                           [Address on File]
        Confidential Customer USD Transferee #3501                                    6/20/2023 USD                        $161.00 Customer Disbursement
                                                                                         TOTAL                            $161.00
        Confidential Customer USD Transferee #3502         [Address on File]          5/19/2023 USD                      $1,700.00 Customer Disbursement
                                                                                         TOTAL                           $1,700.00
        Confidential Customer USD Transferee #3503         [Address on File]          6/21/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3503         [Address on File]           6/5/2023 USD                        $550.00 Customer Disbursement
        Confidential Customer USD Transferee #3503         [Address on File]          5/17/2023 USD                      $2,500.00 Customer Disbursement
                                                                                         TOTAL                           $4,550.00
        Confidential Customer USD Transferee #3504         [Address on File]           6/6/2023 USD                         $50.84 Customer Disbursement
                                                                                         TOTAL                              $50.84
        Confidential Customer USD Transferee #3505         [Address on File]           6/6/2023 USD                        $135.74 Customer Disbursement
                                                                                         TOTAL                            $135.74
        Confidential Customer USD Transferee #3506         [Address on File]          5/23/2023 USD                        $150.21 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                             $150.21
                                                           [Address on File]
        Confidential Customer USD Transferee #3507                                    6/20/2023 USD                          $4.01 Customer Disbursement
                                                                                         TOTAL                               $4.01
        Confidential Customer USD Transferee #3508         [Address on File]          6/16/2023 USD                      $6,930.85 Customer Disbursement
        Confidential Customer USD Transferee #3508         [Address on File]          6/13/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                           $7,080.85
                                                           [Address on File]
        Confidential Customer USD Transferee #3509                                    6/12/2023 USD                         $25.42 Customer Disbursement
                                                                                         TOTAL                              $25.42
                                                           [Address on File]
        Confidential Customer USD Transferee #3510                                     6/9/2023 USD                     $13,452.77 Customer Disbursement
                                                                                        TOTAL                           $13,452.77
        Confidential Customer USD Transferee #3511         [Address on File]           6/8/2023 USD                        $150.00 Customer Disbursement
                                                                                        TOTAL                             $150.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3512                                    5/19/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #3513         [Address on File]          6/21/2023 USD                        $712.80 Customer Disbursement
                                                                                         TOTAL                            $712.80
        Confidential Customer USD Transferee #3514         [Address on File]           6/6/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #3514         [Address on File]          5/25/2023 USD                        $209.75 Customer Disbursement
                                                                                         TOTAL                            $359.75
        Confidential Customer USD Transferee #3515         [Address on File]          5/31/2023 USD                          $2.26 Customer Disbursement
                                                                                         TOTAL                               $2.26
        Confidential Customer USD Transferee #3516         [Address on File]           6/7/2023 USD                        $333.00 Customer Disbursement
        Confidential Customer USD Transferee #3516         [Address on File]           6/5/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3516         [Address on File]          5/16/2023 USD                        $932.00 Customer Disbursement
                                                                                         TOTAL                           $1,765.00
        Confidential Customer USD Transferee #3517         [Address on File]          5/31/2023 USD                          $4.51 Customer Disbursement
        Confidential Customer USD Transferee #3517         [Address on File]          5/25/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #3517         [Address on File]          5/18/2023 USD                         $70.00 Customer Disbursement
        Confidential Customer USD Transferee #3517         [Address on File]          5/16/2023 USD                          $7.31 Customer Disbursement
                                                                                         TOTAL                              $86.82

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3518   [Address on File]        6/20/2023 USD                        $304.00 Customer Disbursement
                                                                                 TOTAL                            $304.00
        Confidential Customer USD Transferee #3519   [Address on File]         6/8/2023 USD                        $905.19 Customer Disbursement
        Confidential Customer USD Transferee #3519   [Address on File]         6/6/2023 USD                      $6,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3519   [Address on File]         6/5/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $26,905.19
        Confidential Customer USD Transferee #3520   [Address on File]        5/23/2023 USD                      $5,517.51 Customer Disbursement
                                                                                 TOTAL                           $5,517.51
        Confidential Customer USD Transferee #3521   [Address on File]        6/21/2023 USD                        $189.99 Customer Disbursement
        Confidential Customer USD Transferee #3521   [Address on File]        5/24/2023 USD                        $326.68 Customer Disbursement
                                                                                 TOTAL                            $516.67
                                                     [Address on File]
        Confidential Customer USD Transferee #3522                              6/12/2023 USD                      $2,057.83 Customer Disbursement
                                                                                   TOTAL                           $2,057.83
        Confidential Customer USD Transferee #3523   [Address on File]          6/14/2023 USD                         $21.00 Customer Disbursement
                                                                                   TOTAL                              $21.00
        Confidential Customer USD Transferee #3524   [Address on File]          5/24/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $20.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3525                              6/21/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3525                              6/21/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3525                              6/21/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3525                              6/20/2023 USD                        $100.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3525                              6/20/2023 USD                       $100.00 Customer Disbursement
                                                                                   TOTAL                            $800.00
        Confidential Customer USD Transferee #3526   [Address on File]           6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3526   [Address on File]           6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3526   [Address on File]          5/25/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3526   [Address on File]          5/25/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3526   [Address on File]          5/25/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3526   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3526   [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                         $21,000.00
        Confidential Customer USD Transferee #3527   [Address on File]        5/18/2023 USD                       $461.55 Customer Disbursement
                                                                                 TOTAL                            $461.55
                                                     [Address on File]
        Confidential Customer USD Transferee #3528                               6/9/2023 USD                      $1,785.00 Customer Disbursement
                                                                                   TOTAL                           $1,785.00
        Confidential Customer USD Transferee #3529   [Address on File]          5/31/2023 USD                      $2,700.00 Customer Disbursement
        Confidential Customer USD Transferee #3529   [Address on File]          5/16/2023 USD                      $2,700.00 Customer Disbursement
                                                                                   TOTAL                           $5,400.00
        Confidential Customer USD Transferee #3530   [Address on File]          5/22/2023 USD                        $261.07 Customer Disbursement
                                                                                   TOTAL                            $261.07
        Confidential Customer USD Transferee #3531   [Address on File]          5/16/2023 USD                         $40.00 Customer Disbursement
                                                                                   TOTAL                              $40.00
        Confidential Customer USD Transferee #3532   [Address on File]          6/21/2023 USD                         $43.04 Customer Disbursement
                                                                                   TOTAL                              $43.04
        Confidential Customer USD Transferee #3533   [Address on File]          5/30/2023 USD                        $104.52 Customer Disbursement
                                                                                   TOTAL                            $104.52
        Confidential Customer USD Transferee #3534   [Address on File]          5/17/2023 USD                        $250.00 Customer Disbursement
                                                                                   TOTAL                            $250.00
        Confidential Customer USD Transferee #3535   [Address on File]          5/23/2023 USD                        $500.00 Customer Disbursement
                                                                                   TOTAL                            $500.00
        Confidential Customer USD Transferee #3536   [Address on File]          5/24/2023 USD                      $1,293.18 Customer Disbursement
                                                                                   TOTAL                           $1,293.18
        Confidential Customer USD Transferee #3537   [Address on File]          6/13/2023 USD                      $1,811.05 Customer Disbursement
                                                                                   TOTAL                           $1,811.05
        Confidential Customer USD Transferee #3538   [Address on File]           6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3538   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $6,000.00
        Confidential Customer USD Transferee #3539   [Address on File]          5/18/2023 USD                         $50.59 Customer Disbursement
        Confidential Customer USD Transferee #3539   [Address on File]          5/17/2023 USD                     $17,500.00 Customer Disbursement
                                                                                   TOTAL                          $17,550.59
        Confidential Customer USD Transferee #3540   [Address on File]          6/21/2023 USD                      $5,112.13 Customer Disbursement
                                                                                   TOTAL                           $5,112.13

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3541   [Address on File]        6/21/2023 USD                      $1,990.11 Customer Disbursement
        Confidential Customer USD Transferee #3541   [Address on File]        6/21/2023 USD                      $1,192.98 Customer Disbursement
                                                                                 TOTAL                           $3,183.09
        Confidential Customer USD Transferee #3542   [Address on File]        5/31/2023 USD                        $125.00 Customer Disbursement
        Confidential Customer USD Transferee #3542   [Address on File]        5/17/2023 USD                        $200.00 Customer Disbursement
                                                                                 TOTAL                            $325.00
        Confidential Customer USD Transferee #3543   [Address on File]        5/30/2023 USD                        $674.13 Customer Disbursement
                                                                                 TOTAL                            $674.13
        Confidential Customer USD Transferee #3544   [Address on File]        6/21/2023 USD                      $3,657.95 Customer Disbursement
                                                                                 TOTAL                           $3,657.95
        Confidential Customer USD Transferee #3545   [Address on File]        6/21/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $20,000.00
        Confidential Customer USD Transferee #3546   [Address on File]        6/13/2023 USD                      $7,091.49 Customer Disbursement
                                                                                 TOTAL                           $7,091.49
        Confidential Customer USD Transferee #3547   [Address on File]         6/5/2023 USD                      $2,214.74 Customer Disbursement
                                                                                 TOTAL                           $2,214.74
        Confidential Customer USD Transferee #3548   [Address on File]        6/21/2023 USD                      $8,199.87 Customer Disbursement
                                                                                 TOTAL                           $8,199.87
        Confidential Customer USD Transferee #3549   [Address on File]        5/19/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3550                              5/18/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $20.00
        Confidential Customer USD Transferee #3551   [Address on File]          5/25/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3551   [Address on File]          5/19/2023 USD                      $2,000.00 Customer Disbursement
                                                                                   TOTAL                           $4,000.00
        Confidential Customer USD Transferee #3552   [Address on File]          5/23/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $20.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3553                              5/30/2023 USD                         $34.02 Customer Disbursement
                                                                                   TOTAL                              $34.02
        Confidential Customer USD Transferee #3554   [Address on File]           6/1/2023 USD                        $290.00 Customer Disbursement
        Confidential Customer USD Transferee #3554   [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $3,290.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3555   [Address on File]        6/13/2023 USD                      $1,300.90 Customer Disbursement
                                                                                 TOTAL                           $1,300.90
        Confidential Customer USD Transferee #3556   [Address on File]        5/24/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3557                               6/5/2023 USD                        $175.00 Customer Disbursement
                                                                                   TOTAL                            $175.00
        Confidential Customer USD Transferee #3558   [Address on File]          5/26/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
        Confidential Customer USD Transferee #3559   [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3559   [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3559   [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3559   [Address on File]          5/31/2023 USD                        $890.83 Customer Disbursement
        Confidential Customer USD Transferee #3559   [Address on File]          5/26/2023 USD                         $40.00 Customer Disbursement
                                                                                   TOTAL                           $9,930.83
        Confidential Customer USD Transferee #3560   [Address on File]          6/13/2023 USD                      $9,050.00 Customer Disbursement
                                                                                   TOTAL                           $9,050.00
        Confidential Customer USD Transferee #3561   [Address on File]           6/5/2023 USD                        $683.94 Customer Disbursement
                                                                                   TOTAL                            $683.94
        Confidential Customer USD Transferee #3562   [Address on File]          5/31/2023 USD                      $1,100.44 Customer Disbursement
        Confidential Customer USD Transferee #3562   [Address on File]          5/24/2023 USD                      $1,100.44 Customer Disbursement
                                                                                   TOTAL                           $2,200.88
        Confidential Customer USD Transferee #3563   [Address on File]           6/7/2023 USD                          $5.00 Customer Disbursement
                                                                                   TOTAL                               $5.00
        Confidential Customer USD Transferee #3564   [Address on File]          5/25/2023 USD                         $55.40 Customer Disbursement
                                                                                   TOTAL                              $55.40
        Confidential Customer USD Transferee #3565   [Address on File]           6/1/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3566                              6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                             $200.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3567                              6/20/2023 USD                        $355.34 Customer Disbursement


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3567                                    6/20/2023 USD                        $426.24 Customer Disbursement
                                                                                         TOTAL                            $781.58
        Confidential Customer USD Transferee #3568         [Address on File]          6/15/2023 USD                      $5,000.00 Customer Disbursement
                                                                                         TOTAL                           $5,000.00
        Confidential Customer USD Transferee #3569         [Address on File]          5/19/2023 USD                      $7,794.23 Customer Disbursement
                                                                                         TOTAL                           $7,794.23
        Confidential Customer USD Transferee #3570         [Address on File]           6/6/2023 USD                        $497.25 Customer Disbursement
        Confidential Customer USD Transferee #3570         [Address on File]          5/31/2023 USD                        $996.70 Customer Disbursement
                                                                                         TOTAL                           $1,493.95
        Confidential Customer USD Transferee #3571         [Address on File]           6/1/2023 USD                      $1,100.00 Customer Disbursement
                                                                                         TOTAL                           $1,100.00
        Confidential Customer USD Transferee #3572         [Address on File]          6/15/2023 USD                         $15.00 Customer Disbursement
                                                                                         TOTAL                              $15.00
        Confidential Customer USD Transferee #3573         [Address on File]          5/23/2023 USD                     $16,781.29 Customer Disbursement
        Confidential Customer USD Transferee #3573         [Address on File]          5/22/2023 USD                         $77.00 Customer Disbursement
                                                                                         TOTAL                          $16,858.29
        Confidential Customer USD Transferee #3574         [Address on File]          6/20/2023 USD                        $476.00 Customer Disbursement
        Confidential Customer USD Transferee #3574         [Address on File]          6/20/2023 USD                        $586.85 Customer Disbursement
        Confidential Customer USD Transferee #3574         [Address on File]          6/20/2023 USD                        $123.00 Customer Disbursement
        Confidential Customer USD Transferee #3574         [Address on File]          6/16/2023 USD                         $26.00 Customer Disbursement
                                                                                         TOTAL                           $1,211.85
        Confidential Customer USD Transferee #3575         [Address on File]           6/6/2023 USD                        $374.38 Customer Disbursement
                                                                                         TOTAL                            $374.38
        Confidential Customer USD Transferee #3576         [Address on File]          6/21/2023 USD                        $149.00 Customer Disbursement
                                                                                         TOTAL                            $149.00
        Confidential Customer USD Transferee #3577         [Address on File]          5/26/2023 USD                         $86.29 Customer Disbursement
                                                                                         TOTAL                              $86.29
        Confidential Customer USD Transferee #3578         [Address on File]          6/16/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3578         [Address on File]          6/13/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                           $2,050.00
        Confidential Customer USD Transferee #3579         [Address on File]          5/31/2023 USD                      $1,028.07 Customer Disbursement
        Confidential Customer USD Transferee #3579         [Address on File]          5/18/2023 USD                      $1,070.38 Customer Disbursement
                                                                                         TOTAL                           $2,098.45

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3580   [Address on File]         6/7/2023 USD                        $175.00 Customer Disbursement
                                                                                 TOTAL                            $175.00
        Confidential Customer USD Transferee #3581   [Address on File]        5/23/2023 USD                      $1,039.73 Customer Disbursement
                                                                                 TOTAL                           $1,039.73
        Confidential Customer USD Transferee #3582   [Address on File]        6/21/2023 USD                         $43.85 Customer Disbursement
                                                                                 TOTAL                              $43.85
        Confidential Customer USD Transferee #3583   [Address on File]        6/12/2023 USD                      $1,728.00 Customer Disbursement
        Confidential Customer USD Transferee #3583   [Address on File]        6/12/2023 USD                         $51.00 Customer Disbursement
        Confidential Customer USD Transferee #3583   [Address on File]         6/8/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #3583   [Address on File]         6/8/2023 USD                      $1,728.00 Customer Disbursement
                                                                                 TOTAL                           $3,557.00
        Confidential Customer USD Transferee #3584   [Address on File]        5/30/2023 USD                      $2,995.00 Customer Disbursement
                                                                                 TOTAL                           $2,995.00
        Confidential Customer USD Transferee #3585   [Address on File]        5/16/2023 USD                        $900.00 Customer Disbursement
                                                                                 TOTAL                            $900.00
        Confidential Customer USD Transferee #3586   [Address on File]        6/16/2023 USD                         $30.92 Customer Disbursement
        Confidential Customer USD Transferee #3586   [Address on File]        5/24/2023 USD                      $4,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3586   [Address on File]        5/22/2023 USD                      $4,500.00 Customer Disbursement
                                                                                 TOTAL                           $8,530.92
        Confidential Customer USD Transferee #3587   [Address on File]        6/21/2023 USD                      $4,500.00 Customer Disbursement
                                                                                 TOTAL                           $4,500.00
        Confidential Customer USD Transferee #3588   [Address on File]        5/31/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3589                              6/21/2023 USD                        $122.00 Customer Disbursement
                                                                                   TOTAL                            $122.00
        Confidential Customer USD Transferee #3590   [Address on File]          5/26/2023 USD                        $500.00 Customer Disbursement
                                                                                   TOTAL                            $500.00
        Confidential Customer USD Transferee #3591   [Address on File]          6/20/2023 USD                      $1,000.49 Customer Disbursement
                                                                                   TOTAL                           $1,000.49
                                                     [Address on File]
        Confidential Customer USD Transferee #3592                              6/12/2023 USD                       $162.76 Customer Disbursement
                                                                                   TOTAL                            $162.76
        Confidential Customer USD Transferee #3593   [Address on File]          5/26/2023 USD                      $1,674.85 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $1,674.85
        Confidential Customer USD Transferee #3594         [Address on File]        5/24/2023 USD                         $95.30 Customer Disbursement
                                                                                       TOTAL                              $95.30
        Confidential Customer USD Transferee #3595         [Address on File]        5/18/2023 USD                        $624.33 Customer Disbursement
                                                                                       TOTAL                            $624.33
        Confidential Customer USD Transferee #3596         [Address on File]         6/1/2023 USD                        $170.60 Customer Disbursement
                                                                                       TOTAL                            $170.60
        Confidential Customer USD Transferee #3597         [Address on File]         6/5/2023 USD                        $464.13 Customer Disbursement
                                                                                       TOTAL                            $464.13
        Confidential Customer USD Transferee #3598         [Address on File]        5/23/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #3599         [Address on File]        5/25/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3599         [Address on File]        5/24/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3599         [Address on File]        5/22/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3599         [Address on File]        5/19/2023 USD                      $1,500.00 Customer Disbursement
                                                                                       TOTAL                           $3,000.00
        Confidential Customer USD Transferee #3600         [Address on File]         6/5/2023 USD                        $300.00 Customer Disbursement
                                                                                       TOTAL                            $300.00
        Confidential Customer USD Transferee #3601         [Address on File]        6/14/2023 USD                        $989.00 Customer Disbursement
                                                                                       TOTAL                            $989.00
        Confidential Customer USD Transferee #3602         [Address on File]        5/31/2023 USD                        $985.58 Customer Disbursement
                                                                                       TOTAL                            $985.58
        Confidential Customer USD Transferee #3603         [Address on File]        6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                       TOTAL                              $15.00
        Confidential Customer USD Transferee #3604         [Address on File]        6/22/2023 USD                      $1,515.26 Customer Disbursement
                                                                                       TOTAL                           $1,515.26
        Confidential Customer USD Transferee #3605         [Address on File]         6/6/2023 USD                         $70.69 Customer Disbursement
                                                                                       TOTAL                              $70.69
        Confidential Customer USD Transferee #3606         [Address on File]         6/6/2023 USD                        $427.70 Customer Disbursement
                                                                                       TOTAL                            $427.70
        Confidential Customer USD Transferee #3607         [Address on File]        5/23/2023 USD                        $563.03 Customer Disbursement
                                                                                       TOTAL                            $563.03
        Confidential Customer USD Transferee #3608         [Address on File]        6/21/2023 USD                        $134.18 Customer Disbursement
                                                                                       TOTAL                            $134.18

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3609   [Address on File]        5/22/2023 USD                         $72.13 Customer Disbursement
                                                                                 TOTAL                              $72.13
        Confidential Customer USD Transferee #3610   [Address on File]        6/20/2023 USD                      $5,587.41 Customer Disbursement
                                                                                 TOTAL                           $5,587.41
        Confidential Customer USD Transferee #3611   [Address on File]        5/31/2023 USD                         $87.38 Customer Disbursement
                                                                                 TOTAL                              $87.38
        Confidential Customer USD Transferee #3612   [Address on File]        6/21/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $20,000.00
        Confidential Customer USD Transferee #3613   [Address on File]        6/13/2023 USD                        $138.68 Customer Disbursement
                                                                                 TOTAL                            $138.68
        Confidential Customer USD Transferee #3614   [Address on File]        6/20/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3614   [Address on File]        6/16/2023 USD                    $80,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3614   [Address on File]        6/12/2023 USD                      $2,291.15 Customer Disbursement
        Confidential Customer USD Transferee #3614   [Address on File]        6/12/2023 USD                      $4,985.00 Customer Disbursement
                                                                                 TOTAL                        $107,276.15
        Confidential Customer USD Transferee #3615   [Address on File]        5/16/2023 USD                         $14.60 Customer Disbursement
                                                                                 TOTAL                              $14.60
        Confidential Customer USD Transferee #3616   [Address on File]        5/24/2023 USD                         $40.00 Customer Disbursement
                                                                                 TOTAL                              $40.00
        Confidential Customer USD Transferee #3617   [Address on File]        5/17/2023 USD                        $810.00 Customer Disbursement
                                                                                 TOTAL                            $810.00
        Confidential Customer USD Transferee #3618   [Address on File]        6/12/2023 USD                      $2,087.04 Customer Disbursement
                                                                                 TOTAL                           $2,087.04
        Confidential Customer USD Transferee #3619   [Address on File]         6/5/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3619   [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3619   [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $8,000.00
        Confidential Customer USD Transferee #3620   [Address on File]         6/8/2023 USD                         $45.00 Customer Disbursement
                                                                                 TOTAL                              $45.00
        Confidential Customer USD Transferee #3621   [Address on File]         6/6/2023 USD                        $495.00 Customer Disbursement
        Confidential Customer USD Transferee #3621   [Address on File]         6/6/2023 USD                         $85.00 Customer Disbursement
        Confidential Customer USD Transferee #3621   [Address on File]        5/26/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #3621   [Address on File]        5/26/2023 USD                        $195.00 Customer Disbursement
                                                                                 TOTAL                            $925.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3622   [Address on File]        6/16/2023 USD                        $497.00 Customer Disbursement
        Confidential Customer USD Transferee #3622   [Address on File]        6/16/2023 USD                        $104.08 Customer Disbursement
                                                                                 TOTAL                            $601.08
        Confidential Customer USD Transferee #3623   [Address on File]         6/9/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $2,000.00
        Confidential Customer USD Transferee #3624   [Address on File]        5/23/2023 USD                         $30.00 Customer Disbursement
                                                                                 TOTAL                              $30.00
        Confidential Customer USD Transferee #3625   [Address on File]         6/9/2023 USD                        $354.31 Customer Disbursement
                                                                                 TOTAL                            $354.31
        Confidential Customer USD Transferee #3626   [Address on File]        6/20/2023 USD                         $27.00 Customer Disbursement
                                                                                 TOTAL                              $27.00
        Confidential Customer USD Transferee #3627   [Address on File]        5/31/2023 USD                         $38.00 Customer Disbursement
                                                                                 TOTAL                              $38.00
        Confidential Customer USD Transferee #3628   [Address on File]        6/20/2023 USD                        $126.37 Customer Disbursement
        Confidential Customer USD Transferee #3628   [Address on File]        6/20/2023 USD                        $129.23 Customer Disbursement
                                                                                 TOTAL                            $255.60
        Confidential Customer USD Transferee #3629   [Address on File]        6/12/2023 USD                      $1,991.78 Customer Disbursement
                                                                                 TOTAL                           $1,991.78
        Confidential Customer USD Transferee #3630   [Address on File]        5/17/2023 USD                    $23,500.00 Customer Disbursement
                                                                                 TOTAL                         $23,500.00
        Confidential Customer USD Transferee #3631   [Address on File]         6/8/2023 USD                          $3.00 Customer Disbursement
                                                                                 TOTAL                               $3.00
        Confidential Customer USD Transferee #3632   [Address on File]        5/26/2023 USD                      $1,274.80 Customer Disbursement
                                                                                 TOTAL                           $1,274.80
        Confidential Customer USD Transferee #3633   [Address on File]         6/7/2023 USD                          $1.00 Customer Disbursement
                                                                                 TOTAL                               $1.00
        Confidential Customer USD Transferee #3634   [Address on File]        6/22/2023 USD                      $1,747.00 Customer Disbursement
        Confidential Customer USD Transferee #3634   [Address on File]        6/16/2023 USD                    $29,613.91 Customer Disbursement
                                                                                 TOTAL                         $31,360.91
        Confidential Customer USD Transferee #3635   [Address on File]        5/31/2023 USD                      $4,142.47 Customer Disbursement
                                                                                 TOTAL                           $4,142.47
        Confidential Customer USD Transferee #3636   [Address on File]        6/21/2023 USD                      $2,127.00 Customer Disbursement
                                                                                 TOTAL                           $2,127.00
        Confidential Customer USD Transferee #3637   [Address on File]         6/8/2023 USD                         $94.86 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                              $94.86
                                                           [Address on File]
        Confidential Customer USD Transferee #3638                                    6/21/2023 USD                      $2,894.98 Customer Disbursement
                                                                                         TOTAL                           $2,894.98
        Confidential Customer USD Transferee #3639         [Address on File]          6/16/2023 USD                        $119.58 Customer Disbursement
                                                                                         TOTAL                            $119.58
        Confidential Customer USD Transferee #3640         [Address on File]          5/16/2023 USD                      $1,776.69 Customer Disbursement
                                                                                         TOTAL                           $1,776.69
        Confidential Customer USD Transferee #3641         [Address on File]           6/6/2023 USD                        $373.32 Customer Disbursement
        Confidential Customer USD Transferee #3641         [Address on File]          5/23/2023 USD                        $373.97 Customer Disbursement
                                                                                         TOTAL                            $747.29
                                                           [Address on File]
        Confidential Customer USD Transferee #3642                                    5/16/2023 USD                      $1,628.65 Customer Disbursement
                                                                                         TOTAL                           $1,628.65
        Confidential Customer USD Transferee #3643         [Address on File]          5/31/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #3644         [Address on File]          5/31/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3645                                    6/21/2023 USD                          $4.00 Customer Disbursement
                                                                                         TOTAL                               $4.00
        Confidential Customer USD Transferee #3646         [Address on File]           6/8/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                             $100.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3647                                    6/22/2023 USD                         $85.10 Customer Disbursement
                                                                                         TOTAL                              $85.10
        Confidential Customer USD Transferee #3648         [Address on File]          6/13/2023 USD                      $3,755.00 Customer Disbursement
                                                                                         TOTAL                           $3,755.00
        Confidential Customer USD Transferee #3649         [Address on File]          6/20/2023 USD                      $1,274.54 Customer Disbursement
        Confidential Customer USD Transferee #3649         [Address on File]          6/20/2023 USD                      $5,830.65 Customer Disbursement
                                                                                         TOTAL                           $7,105.19
                                                           [Address on File]
        Confidential Customer USD Transferee #3650                                    6/21/2023 USD                        $103.22 Customer Disbursement


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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3650                                    6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $303.22
        Confidential Customer USD Transferee #3651         [Address on File]           6/7/2023 USD                     $15,586.84 Customer Disbursement
                                                                                         TOTAL                          $15,586.84
                                                           [Address on File]
        Confidential Customer USD Transferee #3652                                    6/20/2023 USD                        $152.00 Customer Disbursement
                                                                                         TOTAL                            $152.00
        Confidential Customer USD Transferee #3653         [Address on File]          6/21/2023 USD                      $7,281.41 Customer Disbursement
                                                                                         TOTAL                           $7,281.41
        Confidential Customer USD Transferee #3654         [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,000.00
        Confidential Customer USD Transferee #3655         [Address on File]           6/9/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3656         [Address on File]          5/16/2023 USD                     $53,500.00 Customer Disbursement
                                                                                         TOTAL                          $53,500.00
        Confidential Customer USD Transferee #3657         [Address on File]           6/9/2023 USD                        $403.76 Customer Disbursement
                                                                                         TOTAL                            $403.76
        Confidential Customer USD Transferee #3658         [Address on File]          5/31/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                            $500.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3659                                    6/20/2023 USD                             $0.96 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3659                                    6/20/2023 USD                         $30.00 Customer Disbursement
                                                                                         TOTAL                              $30.96
        Confidential Customer USD Transferee #3660         [Address on File]          6/15/2023 USD                      $3,449.11 Customer Disbursement
                                                                                         TOTAL                           $3,449.11
        Confidential Customer USD Transferee #3661         [Address on File]          6/12/2023 USD                        $120.00 Customer Disbursement
        Confidential Customer USD Transferee #3661         [Address on File]           6/7/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $320.00
        Confidential Customer USD Transferee #3662         [Address on File]           6/8/2023 USD                      $1,400.00 Customer Disbursement
        Confidential Customer USD Transferee #3662         [Address on File]           6/7/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3662         [Address on File]           6/6/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3662         [Address on File]           6/5/2023 USD                      $1,000.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                            $5,400.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3663                                     6/7/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3663                                     6/6/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $400.00
        Confidential Customer USD Transferee #3664         [Address on File]          6/16/2023 USD                      $1,217.16 Customer Disbursement
        Confidential Customer USD Transferee #3664         [Address on File]          6/16/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3664         [Address on File]          6/14/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3664         [Address on File]          6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3664         [Address on File]          5/31/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3664         [Address on File]          5/30/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3664         [Address on File]          5/22/2023 USD                         $20.00 Customer Disbursement
                                                                                         TOTAL                           $1,337.16
        Confidential Customer USD Transferee #3665         [Address on File]          6/21/2023 USD                         $36.42 Customer Disbursement
                                                                                         TOTAL                              $36.42
        Confidential Customer USD Transferee #3666         [Address on File]          5/26/2023 USD                      $1,350.00 Customer Disbursement
                                                                                         TOTAL                           $1,350.00
        Confidential Customer USD Transferee #3667         [Address on File]           6/1/2023 USD                        $108.76 Customer Disbursement
                                                                                         TOTAL                            $108.76
        Confidential Customer USD Transferee #3668         [Address on File]          5/23/2023 USD                        $278.36 Customer Disbursement
        Confidential Customer USD Transferee #3668         [Address on File]          5/17/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                            $288.36
                                                           [Address on File]
        Confidential Customer USD Transferee #3669                                    5/23/2023 USD                      $7,166.10 Customer Disbursement
                                                                                         TOTAL                           $7,166.10
                                                           [Address on File]
        Confidential Customer USD Transferee #3670                                    6/12/2023 USD                        $224.13 Customer Disbursement
                                                                                         TOTAL                             $224.13
        Confidential Customer USD Transferee #3671         [Address on File]          6/21/2023 USD                        $208.00 Customer Disbursement
        Confidential Customer USD Transferee #3671         [Address on File]          6/21/2023 USD                        $147.00 Customer Disbursement
        Confidential Customer USD Transferee #3671         [Address on File]          6/21/2023 USD                         $25.00 Customer Disbursement
                                                                                         TOTAL                             $380.00
        Confidential Customer USD Transferee #3672         [Address on File]          6/22/2023 USD                        $220.00 Customer Disbursement
        Confidential Customer USD Transferee #3672         [Address on File]          6/21/2023 USD                         $60.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3672   [Address on File]        6/20/2023 USD                        $305.00 Customer Disbursement
        Confidential Customer USD Transferee #3672   [Address on File]        6/14/2023 USD                         $40.00 Customer Disbursement
        Confidential Customer USD Transferee #3672   [Address on File]         6/9/2023 USD                         $40.00 Customer Disbursement
        Confidential Customer USD Transferee #3672   [Address on File]         6/2/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3672   [Address on File]        5/24/2023 USD                        $105.00 Customer Disbursement
        Confidential Customer USD Transferee #3672   [Address on File]        5/23/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #3672   [Address on File]        5/22/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #3672   [Address on File]        5/19/2023 USD                         $63.00 Customer Disbursement
        Confidential Customer USD Transferee #3672   [Address on File]        5/16/2023 USD                         $61.00 Customer Disbursement
                                                                                 TOTAL                           $1,344.00
        Confidential Customer USD Transferee #3673   [Address on File]        5/22/2023 USD                        $125.00 Customer Disbursement
                                                                                 TOTAL                            $125.00
        Confidential Customer USD Transferee #3674   [Address on File]        5/24/2023 USD                        $162.00 Customer Disbursement
                                                                                 TOTAL                            $162.00
        Confidential Customer USD Transferee #3675   [Address on File]        5/16/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00
        Confidential Customer USD Transferee #3676   [Address on File]        6/21/2023 USD                         $45.05 Customer Disbursement
                                                                                 TOTAL                              $45.05
                                                     [Address on File]
        Confidential Customer USD Transferee #3677                              6/22/2023 USD                        $128.72 Customer Disbursement
                                                                                   TOTAL                            $128.72
        Confidential Customer USD Transferee #3678   [Address on File]          5/24/2023 USD                        $160.00 Customer Disbursement
                                                                                   TOTAL                            $160.00
        Confidential Customer USD Transferee #3679   [Address on File]          5/23/2023 USD                        $220.00 Customer Disbursement
                                                                                   TOTAL                            $220.00
        Confidential Customer USD Transferee #3680   [Address on File]          6/21/2023 USD                     $10,000.00 Customer Disbursement
                                                                                   TOTAL                          $10,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3681                               6/1/2023 USD                        $156.93 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3681                              5/30/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3681                              5/30/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                             $556.93

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3682                                     6/5/2023 USD                      $1,127.89 Customer Disbursement
                                                                                        TOTAL                            $1,127.89
                                                           [Address on File]
        Confidential Customer USD Transferee #3683                                     6/7/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3683         [Address on File]          5/23/2023 USD                     $14,000.00 Customer Disbursement
                                                                                         TOTAL                          $34,000.00
        Confidential Customer USD Transferee #3684         [Address on File]          6/16/2023 USD                         $50.63 Customer Disbursement
                                                                                         TOTAL                              $50.63
        Confidential Customer USD Transferee #3685         [Address on File]          5/31/2023 USD                        $843.69 Customer Disbursement
        Confidential Customer USD Transferee #3685         [Address on File]          5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3685         [Address on File]          5/17/2023 USD                        $843.69 Customer Disbursement
        Confidential Customer USD Transferee #3685         [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $7,687.38
        Confidential Customer USD Transferee #3686         [Address on File]          5/24/2023 USD                      $4,545.05 Customer Disbursement
                                                                                         TOTAL                           $4,545.05
        Confidential Customer USD Transferee #3687         [Address on File]          5/30/2023 USD                        $495.00 Customer Disbursement
                                                                                         TOTAL                            $495.00
        Confidential Customer USD Transferee #3688         [Address on File]          5/18/2023 USD                      $1,457.45 Customer Disbursement
                                                                                         TOTAL                           $1,457.45
        Confidential Customer USD Transferee #3689         [Address on File]          6/12/2023 USD                         $97.73 Customer Disbursement
                                                                                         TOTAL                              $97.73
        Confidential Customer USD Transferee #3690         [Address on File]           6/5/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3690         [Address on File]          5/18/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3690         [Address on File]          5/18/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3690         [Address on File]          5/16/2023 USD                      $2,000.00 Customer Disbursement
                                                                                         TOTAL                           $8,500.00
        Confidential Customer USD Transferee #3691         [Address on File]           6/8/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #3692         [Address on File]           6/2/2023 USD                        $890.23 Customer Disbursement
        Confidential Customer USD Transferee #3692         [Address on File]          5/31/2023 USD                        $384.27 Customer Disbursement
        Confidential Customer USD Transferee #3692         [Address on File]          5/23/2023 USD                      $2,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,274.50


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #3693                                     6/5/2023 USD                      $2,050.00 Customer Disbursement
                                                                                         TOTAL                           $2,050.00
        Confidential Customer USD Transferee #3694         [Address on File]          6/13/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #3694         [Address on File]           6/7/2023 USD                        $378.40 Customer Disbursement
                                                                                         TOTAL                            $628.40
        Confidential Customer USD Transferee #3695         [Address on File]          6/16/2023 USD                         $19.87 Customer Disbursement
                                                                                         TOTAL                              $19.87
        Confidential Customer USD Transferee #3696         [Address on File]           6/6/2023 USD                        $602.65 Customer Disbursement
                                                                                         TOTAL                            $602.65
        Confidential Customer USD Transferee #3697         [Address on File]          5/31/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                            $150.00
        Confidential Customer USD Transferee #3698         [Address on File]          6/20/2023 USD                     $12,772.99 Customer Disbursement
        Confidential Customer USD Transferee #3698         [Address on File]          6/20/2023 USD                         $35.00 Customer Disbursement
        Confidential Customer USD Transferee #3698         [Address on File]          6/20/2023 USD                      $1,224.00 Customer Disbursement
                                                                                         TOTAL                          $14,031.99
        Confidential Customer USD Transferee #3699         [Address on File]          6/14/2023 USD                     $12,475.60 Customer Disbursement
                                                                                         TOTAL                          $12,475.60
        Confidential Customer USD Transferee #3700         [Address on File]          5/31/2023 USD                     $10,000.00 Customer Disbursement
                                                                                         TOTAL                          $10,000.00
        Confidential Customer USD Transferee #3701         [Address on File]          5/31/2023 USD                      $6,183.30 Customer Disbursement
        Confidential Customer USD Transferee #3701         [Address on File]          5/31/2023 USD                     $15,000.00 Customer Disbursement
                                                                                         TOTAL                          $21,183.30
        Confidential Customer USD Transferee #3702         [Address on File]          6/16/2023 USD                        $245.00 Customer Disbursement
                                                                                         TOTAL                            $245.00
        Confidential Customer USD Transferee #3703         [Address on File]          6/21/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3704         [Address on File]          6/21/2023 USD                        $210.19 Customer Disbursement
        Confidential Customer USD Transferee #3704         [Address on File]          6/21/2023 USD                        $507.00 Customer Disbursement
                                                                                         TOTAL                            $717.19
        Confidential Customer USD Transferee #3705         [Address on File]           6/6/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #3705         [Address on File]          5/26/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #3705         [Address on File]          5/24/2023 USD                         $25.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3705   [Address on File]        5/23/2023 USD                         $20.00 Customer Disbursement
                                                                                 TOTAL                            $145.00
        Confidential Customer USD Transferee #3706   [Address on File]        6/12/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #3706   [Address on File]        5/16/2023 USD                        $150.00 Customer Disbursement
                                                                                 TOTAL                            $400.00
        Confidential Customer USD Transferee #3707   [Address on File]        6/20/2023 USD                          $9.03 Customer Disbursement
                                                                                 TOTAL                               $9.03
        Confidential Customer USD Transferee #3708   [Address on File]         6/9/2023 USD                      $1,390.00 Customer Disbursement
                                                                                 TOTAL                           $1,390.00
        Confidential Customer USD Transferee #3709   [Address on File]         6/8/2023 USD                      $2,700.00 Customer Disbursement
        Confidential Customer USD Transferee #3709   [Address on File]         6/7/2023 USD                      $1,550.00 Customer Disbursement
                                                                                 TOTAL                           $4,250.00
        Confidential Customer USD Transferee #3710   [Address on File]        6/21/2023 USD                         $94.44 Customer Disbursement
                                                                                 TOTAL                              $94.44
        Confidential Customer USD Transferee #3711   [Address on File]         6/5/2023 USD                      $1,000.01 Customer Disbursement
                                                                                 TOTAL                           $1,000.01
        Confidential Customer USD Transferee #3712   [Address on File]         6/6/2023 USD                         $68.68 Customer Disbursement
                                                                                 TOTAL                              $68.68
                                                     [Address on File]
        Confidential Customer USD Transferee #3713                              6/15/2023 USD                     $21,055.28 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3713                               6/2/2023 USD                      $3,089.63 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3713                              5/17/2023 USD                      $2,662.55 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3713                              5/16/2023 USD                        $502.51 Customer Disbursement
                                                                                   TOTAL                          $27,309.97
        Confidential Customer USD Transferee #3714   [Address on File]          5/25/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3715                              6/12/2023 USD                        $160.10 Customer Disbursement
                                                                                   TOTAL                             $160.10
        Confidential Customer USD Transferee #3716   [Address on File]           6/5/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #3716   [Address on File]          5/31/2023 USD                        $200.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3716   [Address on File]        5/31/2023 USD                        $350.00 Customer Disbursement
        Confidential Customer USD Transferee #3716   [Address on File]        5/30/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3716   [Address on File]        5/26/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #3716   [Address on File]        5/26/2023 USD                         $85.00 Customer Disbursement
                                                                                 TOTAL                           $1,735.00
        Confidential Customer USD Transferee #3717   [Address on File]        5/19/2023 USD                          $1.00 Customer Disbursement
                                                                                 TOTAL                               $1.00
        Confidential Customer USD Transferee #3718   [Address on File]        6/21/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3719   [Address on File]        5/16/2023 USD                      $1,010.39 Customer Disbursement
                                                                                 TOTAL                           $1,010.39
                                                     [Address on File]
        Confidential Customer USD Transferee #3720                              5/26/2023 USD                      $2,500.02 Customer Disbursement
                                                                                   TOTAL                           $2,500.02
        Confidential Customer USD Transferee #3721   [Address on File]           6/9/2023 USD                        $492.10 Customer Disbursement
                                                                                   TOTAL                            $492.10
        Confidential Customer USD Transferee #3722   [Address on File]          5/23/2023 USD                        $606.00 Customer Disbursement
                                                                                   TOTAL                            $606.00
        Confidential Customer USD Transferee #3723   [Address on File]           6/2/2023 USD                        $865.85 Customer Disbursement
        Confidential Customer USD Transferee #3723   [Address on File]          5/26/2023 USD                        $865.85 Customer Disbursement
        Confidential Customer USD Transferee #3723   [Address on File]          5/19/2023 USD                        $265.85 Customer Disbursement
        Confidential Customer USD Transferee #3723   [Address on File]          5/19/2023 USD                        $700.00 Customer Disbursement
                                                                                   TOTAL                           $2,697.55
        Confidential Customer USD Transferee #3724   [Address on File]          5/17/2023 USD                         $69.95 Customer Disbursement
                                                                                   TOTAL                              $69.95
        Confidential Customer USD Transferee #3725   [Address on File]           6/5/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #3726   [Address on File]          5/16/2023 USD                          $6.00 Customer Disbursement
                                                                                   TOTAL                               $6.00
        Confidential Customer USD Transferee #3727   [Address on File]          6/22/2023 USD                      $1,640.45 Customer Disbursement
                                                                                   TOTAL                           $1,640.45
        Confidential Customer USD Transferee #3728   [Address on File]          5/31/2023 USD                          $4.63 Customer Disbursement
                                                                                   TOTAL                               $4.63


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3729                                    5/17/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #3730         [Address on File]           6/2/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                             $500.00
        Confidential Customer USD Transferee #3731         [Address on File]          5/23/2023 USD                        $589.94 Customer Disbursement
                                                                                         TOTAL                             $589.94
                                                           [Address on File]
        Confidential Customer USD Transferee #3732                                    5/16/2023 USD                     $10,503.00 Customer Disbursement
                                                                                         TOTAL                          $10,503.00
        Confidential Customer USD Transferee #3733         [Address on File]          5/22/2023 USD                         $45.00 Customer Disbursement
                                                                                         TOTAL                              $45.00
        Confidential Customer USD Transferee #3734         [Address on File]          5/22/2023 USD                        $500.00 Customer Disbursement
                                                                                         TOTAL                            $500.00
        Confidential Customer USD Transferee #3735         [Address on File]          5/23/2023 USD                        $114.62 Customer Disbursement
                                                                                         TOTAL                            $114.62
        Confidential Customer USD Transferee #3736         [Address on File]           6/8/2023 USD                      $1,816.71 Customer Disbursement
        Confidential Customer USD Transferee #3736         [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3736         [Address on File]          5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $7,816.71
                                                           [Address on File]
        Confidential Customer USD Transferee #3737                                    5/31/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                             $200.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3738                                    5/31/2023 USD                        $311.43 Customer Disbursement
                                                                                         TOTAL                            $311.43
        Confidential Customer USD Transferee #3739         [Address on File]          5/31/2023 USD                         $35.16 Customer Disbursement
        Confidential Customer USD Transferee #3739         [Address on File]          5/23/2023 USD                         $95.19 Customer Disbursement
                                                                                         TOTAL                            $130.35
        Confidential Customer USD Transferee #3740         [Address on File]           6/8/2023 USD                      $5,010.00 Customer Disbursement
                                                                                         TOTAL                           $5,010.00
        Confidential Customer USD Transferee #3741         [Address on File]          5/24/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3741         [Address on File]          5/16/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $200.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3742   [Address on File]        6/13/2023 USD                        $250.00 Customer Disbursement
                                                                                 TOTAL                            $250.00
        Confidential Customer USD Transferee #3743   [Address on File]         6/8/2023 USD                      $1,716.55 Customer Disbursement
                                                                                 TOTAL                           $1,716.55
        Confidential Customer USD Transferee #3744   [Address on File]         6/1/2023 USD                        $650.00 Customer Disbursement
                                                                                 TOTAL                            $650.00
        Confidential Customer USD Transferee #3745   [Address on File]         6/1/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3746   [Address on File]        6/21/2023 USD                      $3,419.77 Customer Disbursement
        Confidential Customer USD Transferee #3746   [Address on File]        6/21/2023 USD                      $7,872.12 Customer Disbursement
                                                                                 TOTAL                         $11,291.89
                                                     [Address on File]
        Confidential Customer USD Transferee #3747                              6/21/2023 USD                          $1.89 Customer Disbursement
                                                                                   TOTAL                               $1.89
        Confidential Customer USD Transferee #3748   [Address on File]          6/13/2023 USD                        $950.00 Customer Disbursement
                                                                                   TOTAL                            $950.00
        Confidential Customer USD Transferee #3749   [Address on File]          5/24/2023 USD                      $1,076.00 Customer Disbursement
                                                                                   TOTAL                           $1,076.00
        Confidential Customer USD Transferee #3750   [Address on File]          6/13/2023 USD                        $879.59 Customer Disbursement
        Confidential Customer USD Transferee #3750   [Address on File]          5/22/2023 USD                        $502.00 Customer Disbursement
                                                                                   TOTAL                           $1,381.59
        Confidential Customer USD Transferee #3751   [Address on File]          5/30/2023 USD                        $120.00 Customer Disbursement
                                                                                   TOTAL                            $120.00
        Confidential Customer USD Transferee #3752   [Address on File]          6/16/2023 USD                         $71.76 Customer Disbursement
                                                                                   TOTAL                              $71.76
        Confidential Customer USD Transferee #3753   [Address on File]          5/16/2023 USD                      $1,055.38 Customer Disbursement
                                                                                   TOTAL                           $1,055.38
        Confidential Customer USD Transferee #3754   [Address on File]          5/17/2023 USD                          $8.35 Customer Disbursement
                                                                                   TOTAL                               $8.35
                                                     [Address on File]
        Confidential Customer USD Transferee #3755                              5/30/2023 USD                        $361.12 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3755                              5/30/2023 USD                         $85.00 Customer Disbursement
                                                                                   TOTAL                             $446.12

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #3756   [Address on File]         6/7/2023 USD                       $986.46 Customer Disbursement
                                                                                 TOTAL                            $986.46
        Confidential Customer USD Transferee #3757   [Address on File]        5/31/2023 USD                       $272.08 Customer Disbursement
                                                                                 TOTAL                            $272.08
        Confidential Customer USD Transferee #3758   [Address on File]        5/25/2023 USD                         $4.95 Customer Disbursement
        Confidential Customer USD Transferee #3758   [Address on File]        5/25/2023 USD                         $6.67 Customer Disbursement
                                                                                 TOTAL                             $11.62
        Confidential Customer USD Transferee #3759   [Address on File]        5/31/2023 USD                        $19.00 Customer Disbursement
                                                                                 TOTAL                             $19.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3760                              6/13/2023 USD                        $151.60 Customer Disbursement
                                                                                   TOTAL                            $151.60
        Confidential Customer USD Transferee #3761   [Address on File]          5/25/2023 USD                      $1,327.83 Customer Disbursement
                                                                                   TOTAL                           $1,327.83
        Confidential Customer USD Transferee #3762   [Address on File]          6/16/2023 USD                      $1,234.93 Customer Disbursement
                                                                                   TOTAL                           $1,234.93
        Confidential Customer USD Transferee #3763   [Address on File]          6/21/2023 USD                        $189.89 Customer Disbursement
                                                                                   TOTAL                            $189.89
        Confidential Customer USD Transferee #3764   [Address on File]          6/22/2023 USD                      $7,807.69 Customer Disbursement
                                                                                   TOTAL                           $7,807.69
        Confidential Customer USD Transferee #3765   [Address on File]          5/23/2023 USD                        $110.00 Customer Disbursement
                                                                                   TOTAL                            $110.00
        Confidential Customer USD Transferee #3766   [Address on File]          6/20/2023 USD                      $6,042.59 Customer Disbursement
                                                                                   TOTAL                           $6,042.59
        Confidential Customer USD Transferee #3767   [Address on File]          5/31/2023 USD                         $40.00 Customer Disbursement
                                                                                   TOTAL                              $40.00
        Confidential Customer USD Transferee #3768   [Address on File]          6/21/2023 USD                        $833.52 Customer Disbursement
                                                                                   TOTAL                            $833.52
        Confidential Customer USD Transferee #3769   [Address on File]          6/16/2023 USD                        $145.10 Customer Disbursement
                                                                                   TOTAL                            $145.10
        Confidential Customer USD Transferee #3770   [Address on File]          6/21/2023 USD                      $9,098.16 Customer Disbursement
                                                                                   TOTAL                           $9,098.16
        Confidential Customer USD Transferee #3771   [Address on File]          6/20/2023 USD                     $25,544.62 Customer Disbursement
                                                                                   TOTAL                          $25,544.62

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3772   [Address on File]         6/5/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
        Confidential Customer USD Transferee #3773   [Address on File]        5/31/2023 USD                        $550.54 Customer Disbursement
                                                                                 TOTAL                            $550.54
        Confidential Customer USD Transferee #3774   [Address on File]         6/8/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #3775   [Address on File]        6/20/2023 USD                      $2,124.22 Customer Disbursement
        Confidential Customer USD Transferee #3775   [Address on File]        5/25/2023 USD                        $655.00 Customer Disbursement
                                                                                 TOTAL                           $2,779.22
        Confidential Customer USD Transferee #3776   [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
        Confidential Customer USD Transferee #3777   [Address on File]         6/6/2023 USD                        $900.00 Customer Disbursement
                                                                                 TOTAL                            $900.00
        Confidential Customer USD Transferee #3778   [Address on File]        6/12/2023 USD                          $1.49 Customer Disbursement
                                                                                 TOTAL                               $1.49
        Confidential Customer USD Transferee #3779   [Address on File]        5/23/2023 USD                        $112.20 Customer Disbursement
                                                                                 TOTAL                            $112.20
        Confidential Customer USD Transferee #3780   [Address on File]        6/20/2023 USD                      $2,480.00 Customer Disbursement
        Confidential Customer USD Transferee #3780   [Address on File]        6/16/2023 USD                         $22.00 Customer Disbursement
                                                                                 TOTAL                           $2,502.00
        Confidential Customer USD Transferee #3781   [Address on File]         6/6/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3781   [Address on File]         6/5/2023 USD                        $170.00 Customer Disbursement
        Confidential Customer USD Transferee #3781   [Address on File]         6/2/2023 USD                        $801.00 Customer Disbursement
        Confidential Customer USD Transferee #3781   [Address on File]        5/30/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,971.00
        Confidential Customer USD Transferee #3782   [Address on File]        5/31/2023 USD                        $355.70 Customer Disbursement
                                                                                 TOTAL                            $355.70
        Confidential Customer USD Transferee #3783   [Address on File]        6/20/2023 USD                        $725.00 Customer Disbursement
                                                                                 TOTAL                            $725.00
        Confidential Customer USD Transferee #3784   [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3784   [Address on File]         6/2/2023 USD                      $1,856.27 Customer Disbursement
        Confidential Customer USD Transferee #3784   [Address on File]        5/19/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3784   [Address on File]        5/19/2023 USD                      $1,853.28 Customer Disbursement
                                                                                 TOTAL                           $9,709.55

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3785   [Address on File]        5/24/2023 USD                         $12.09 Customer Disbursement
                                                                                 TOTAL                              $12.09
        Confidential Customer USD Transferee #3786   [Address on File]        6/12/2023 USD                        $700.00 Customer Disbursement
        Confidential Customer USD Transferee #3786   [Address on File]         6/7/2023 USD                      $1,800.00 Customer Disbursement
        Confidential Customer USD Transferee #3786   [Address on File]        5/30/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3786   [Address on File]        5/16/2023 USD                      $1,950.00 Customer Disbursement
                                                                                 TOTAL                           $6,450.00
        Confidential Customer USD Transferee #3787   [Address on File]        5/18/2023 USD                        $658.00 Customer Disbursement
                                                                                 TOTAL                            $658.00
        Confidential Customer USD Transferee #3788   [Address on File]        5/26/2023 USD                        $298.00 Customer Disbursement
                                                                                 TOTAL                            $298.00
        Confidential Customer USD Transferee #3789   [Address on File]        5/25/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #3790   [Address on File]         6/7/2023 USD                          $4.00 Customer Disbursement
                                                                                 TOTAL                               $4.00
        Confidential Customer USD Transferee #3791   [Address on File]        6/20/2023 USD                        $379.51 Customer Disbursement
        Confidential Customer USD Transferee #3791   [Address on File]        5/31/2023 USD                        $215.00 Customer Disbursement
                                                                                 TOTAL                            $594.51
        Confidential Customer USD Transferee #3792   [Address on File]        5/22/2023 USD                        $106.42 Customer Disbursement
                                                                                 TOTAL                            $106.42
                                                     [Address on File]
        Confidential Customer USD Transferee #3793                              6/15/2023 USD                      $1,975.72 Customer Disbursement
                                                                                   TOTAL                           $1,975.72
        Confidential Customer USD Transferee #3794   [Address on File]          5/23/2023 USD                      $2,802.99 Customer Disbursement
                                                                                   TOTAL                           $2,802.99
        Confidential Customer USD Transferee #3795   [Address on File]          6/21/2023 USD                        $153.11 Customer Disbursement
                                                                                   TOTAL                            $153.11
        Confidential Customer USD Transferee #3796   [Address on File]          5/31/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #3796   [Address on File]          5/31/2023 USD                        $250.00 Customer Disbursement
                                                                                   TOTAL                            $750.00
        Confidential Customer USD Transferee #3797   [Address on File]           6/8/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3797   [Address on File]          5/16/2023 USD                      $1,200.00 Customer Disbursement
                                                                                   TOTAL                           $3,200.00
        Confidential Customer USD Transferee #3798   [Address on File]           6/5/2023 USD                      $1,800.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3798   [Address on File]        5/31/2023 USD                      $1,800.00 Customer Disbursement
        Confidential Customer USD Transferee #3798   [Address on File]        5/23/2023 USD                      $1,800.00 Customer Disbursement
                                                                                 TOTAL                           $5,400.00
        Confidential Customer USD Transferee #3799   [Address on File]        6/21/2023 USD                        $182.92 Customer Disbursement
                                                                                 TOTAL                            $182.92
        Confidential Customer USD Transferee #3800   [Address on File]        5/17/2023 USD                        $780.67 Customer Disbursement
                                                                                 TOTAL                            $780.67
        Confidential Customer USD Transferee #3801   [Address on File]         6/7/2023 USD                         $52.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]         6/6/2023 USD                         $65.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]         6/6/2023 USD                         $42.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]         6/6/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]         6/2/2023 USD                         $69.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]        5/31/2023 USD                         $40.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]        5/25/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]        5/24/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]        5/19/2023 USD                         $46.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]        5/18/2023 USD                         $17.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]        5/17/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]        5/17/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]        5/17/2023 USD                         $21.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]        5/16/2023 USD                         $14.00 Customer Disbursement
        Confidential Customer USD Transferee #3801   [Address on File]        5/16/2023 USD                         $18.00 Customer Disbursement
                                                                                 TOTAL                            $654.00
        Confidential Customer USD Transferee #3802   [Address on File]         6/8/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #3802   [Address on File]        5/31/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3802   [Address on File]        5/31/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $625.00
        Confidential Customer USD Transferee #3803   [Address on File]         6/8/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3804                              5/16/2023 USD                        $199.00 Customer Disbursement
                                                                                   TOTAL                             $199.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3805                               6/8/2023 USD                        $495.51 Customer Disbursement


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3805                                    5/16/2023 USD                        $105.97 Customer Disbursement
                                                                                         TOTAL                             $601.48
                                                           [Address on File]
        Confidential Customer USD Transferee #3806                                    5/23/2023 USD                      $736.09 Customer Disbursement
                                                                                         TOTAL                           $736.09
        Confidential Customer USD Transferee #3807         [Address on File]          6/16/2023 USD                        $30.03 Customer Disbursement
                                                                                         TOTAL                             $30.03
        Confidential Customer USD Transferee #3808         [Address on File]           6/5/2023 USD                        $72.96 Customer Disbursement
                                                                                         TOTAL                             $72.96
        Confidential Customer USD Transferee #3809         [Address on File]          5/16/2023 USD                      $100.00 Customer Disbursement
                                                                                         TOTAL                           $100.00
        Confidential Customer USD Transferee #3810         [Address on File]          6/21/2023 USD                     $4,892.16 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]          6/20/2023 USD                   $200,244.23 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]          6/16/2023 USD                   $219,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]          6/15/2023 USD                   $144,871.53 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]          6/15/2023 USD                    $25,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]          6/14/2023 USD                   $140,814.43 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]          6/13/2023 USD                    $14,556.89 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]          6/12/2023 USD                   $223,942.23 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/9/2023 USD                   $157,255.96 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/8/2023 USD                   $244,638.12 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/7/2023 USD                   $110,736.48 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/6/2023 USD                   $107,667.16 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/6/2023 USD                   $171,582.47 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/6/2023 USD                   $198,900.50 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/6/2023 USD                   $190,830.62 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/5/2023 USD                   $199,400.25 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/5/2023 USD                   $408,999.18 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/2/2023 USD                    $65,364.02 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/2/2023 USD                   $564,518.22 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/2/2023 USD                   $149,149.33 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]           6/1/2023 USD                   $134,559.50 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]          5/31/2023 USD                    $97,280.68 Customer Disbursement
        Confidential Customer USD Transferee #3810         [Address on File]          5/26/2023 USD                   $288,638.81 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3810   [Address on File]        5/26/2023 USD                     $10,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3810   [Address on File]        5/26/2023 USD                     $25,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3810   [Address on File]        5/26/2023 USD                    $152,371.58 Customer Disbursement
        Confidential Customer USD Transferee #3810   [Address on File]        5/25/2023 USD                     $34,869.62 Customer Disbursement
        Confidential Customer USD Transferee #3810   [Address on File]        5/25/2023 USD                     $65,761.26 Customer Disbursement
        Confidential Customer USD Transferee #3810   [Address on File]        5/25/2023 USD                    $140,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3810   [Address on File]        5/18/2023 USD                    $112,098.42 Customer Disbursement
        Confidential Customer USD Transferee #3810   [Address on File]        5/17/2023 USD                    $226,857.44 Customer Disbursement
        Confidential Customer USD Transferee #3810   [Address on File]        5/16/2023 USD                    $250,075.00 Customer Disbursement
        Confidential Customer USD Transferee #3810   [Address on File]        5/16/2023 USD                    $352,648.30 Customer Disbursement
                                                                                 TOTAL                       $5,432,524.39
        Confidential Customer USD Transferee #3811   [Address on File]        6/16/2023 USD                    $279,276.77 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        6/15/2023 USD                     $55,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        6/15/2023 USD                     $49,013.90 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        6/15/2023 USD                    $172,653.14 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        6/14/2023 USD                    $469,995.15 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        6/14/2023 USD                    $143,995.83 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        6/13/2023 USD                    $176,912.37 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]         6/9/2023 USD                     $18,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]         6/9/2023 USD                    $455,288.55 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]         6/8/2023 USD                      $5,188.05 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]         6/7/2023 USD                    $256,912.93 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]         6/7/2023 USD                    $298,599.18 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]         6/7/2023 USD                    $172,308.30 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]         6/6/2023 USD                     $84,033.71 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]         6/2/2023 USD                    $203,911.39 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]         6/1/2023 USD                    $134,663.19 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/31/2023 USD                    $891,131.58 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/30/2023 USD                     $50,389.99 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/26/2023 USD                    $692,558.49 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/26/2023 USD                      $8,821.61 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/25/2023 USD                      $5,113.62 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/24/2023 USD                     $68,935.53 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/22/2023 USD                    $747,760.84 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/18/2023 USD                    $271,718.61 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/17/2023 USD                    $300,030.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3811   [Address on File]        5/17/2023 USD                    $211,234.33 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/16/2023 USD                     $29,835.08 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/16/2023 USD                    $100,566.64 Customer Disbursement
        Confidential Customer USD Transferee #3811   [Address on File]        5/16/2023 USD                     $69,678.17 Customer Disbursement
                                                                                 TOTAL                       $6,423,526.95
        Confidential Customer USD Transferee #3812   [Address on File]        6/16/2023 USD                    $466,005.57 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        6/16/2023 USD                    $357,773.50 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        6/15/2023 USD                    $132,313.17 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        6/13/2023 USD                    $704,358.06 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        6/12/2023 USD                     $11,800.00 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]         6/8/2023 USD                     $29,916.05 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]         6/8/2023 USD                     $49,600.19 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]         6/8/2023 USD                    $155,630.35 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]         6/6/2023 USD                     $50,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]         6/5/2023 USD                      $9,793.91 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]         6/1/2023 USD                    $162,947.16 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]         6/1/2023 USD                    $745,303.39 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/30/2023 USD                    $694,805.98 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/30/2023 USD                    $215,012.82 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/25/2023 USD                    $139,225.83 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/25/2023 USD                     $49,820.15 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/25/2023 USD                     $39,853.13 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/25/2023 USD                    $139,427.24 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/25/2023 USD                    $137,947.67 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/23/2023 USD                    $180,442.62 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/23/2023 USD                    $223,003.43 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/23/2023 USD                    $181,361.35 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/23/2023 USD                    $201,798.75 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/23/2023 USD                    $298,541.81 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/19/2023 USD                    $468,049.19 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/18/2023 USD                     $95,587.60 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/18/2023 USD                    $497,543.96 Customer Disbursement
        Confidential Customer USD Transferee #3812   [Address on File]        5/17/2023 USD                    $200,000.00 Customer Disbursement
                                                                                 TOTAL                       $6,637,862.88
        Confidential Customer USD Transferee #3813   [Address on File]        6/20/2023 USD                    $301,440.33 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3813   [Address on File]        6/16/2023 USD                     $22,500.00 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        6/16/2023 USD                    $293,646.23 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        6/15/2023 USD                    $216,964.34 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        6/15/2023 USD                    $174,900.78 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        6/14/2023 USD                     $70,712.98 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        6/13/2023 USD                    $192,341.35 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        6/13/2023 USD                    $506,430.00 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        6/12/2023 USD                    $660,117.30 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]         6/9/2023 USD                    $298,578.87 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]         6/8/2023 USD                    $288,779.51 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]         6/8/2023 USD                     $76,171.37 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]         6/7/2023 USD                    $215,190.00 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]         6/6/2023 USD                     $37,786.65 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]         6/6/2023 USD                    $203,995.57 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]         6/6/2023 USD                    $143,984.93 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]         6/6/2023 USD                    $169,322.00 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]         6/5/2023 USD                     $14,570.34 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]         6/2/2023 USD                    $458,964.89 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]         6/1/2023 USD                  $8,184,180.44 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/31/2023 USD                    $854,188.90 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/30/2023 USD                    $726,711.53 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/30/2023 USD                    $169,161.07 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/30/2023 USD                    $298,232.85 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/30/2023 USD                     $79,885.24 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/30/2023 USD                     $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/25/2023 USD                    $268,781.44 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/25/2023 USD                    $293,917.97 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/25/2023 USD                    $259,375.42 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/24/2023 USD                     $87,119.52 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/19/2023 USD                    $492,224.50 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/17/2023 USD                     $39,888.06 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/17/2023 USD                    $250,693.78 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/17/2023 USD                    $205,191.03 Customer Disbursement
        Confidential Customer USD Transferee #3813   [Address on File]        5/16/2023 USD                    $300,090.00 Customer Disbursement
                                                                                 TOTAL                      $16,876,039.19

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3814   [Address on File]         6/8/2023 USD                   $386,250.00 Customer Disbursement
                                                                                 TOTAL                        $386,250.00
        Confidential Customer USD Transferee #3815   [Address on File]         6/8/2023 USD                    $15,000.00 Customer Disbursement
                                                                                 TOTAL                         $15,000.00
        Confidential Customer USD Transferee #3816   [Address on File]         6/5/2023 USD                   $474,467.00 Customer Disbursement
                                                                                 TOTAL                        $474,467.00
        Confidential Customer USD Transferee #3817   [Address on File]        5/26/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3817   [Address on File]        5/16/2023 USD                    $70,000.00 Customer Disbursement
                                                                                 TOTAL                         $90,000.00
        Confidential Customer USD Transferee #3818   [Address on File]        6/14/2023 USD                      $4,427.27 Customer Disbursement
                                                                                 TOTAL                           $4,427.27
        Confidential Customer USD Transferee #3819   [Address on File]         6/5/2023 USD                        $302.70 Customer Disbursement
                                                                                 TOTAL                            $302.70
        Confidential Customer USD Transferee #3820   [Address on File]         6/6/2023 USD                      $1,450.00 Customer Disbursement
        Confidential Customer USD Transferee #3820   [Address on File]        5/25/2023 USD                         $95.00 Customer Disbursement
                                                                                 TOTAL                           $1,545.00
        Confidential Customer USD Transferee #3821   [Address on File]        5/31/2023 USD                        $138.99 Customer Disbursement
                                                                                 TOTAL                            $138.99
        Confidential Customer USD Transferee #3822   [Address on File]        6/20/2023 USD                         $21.00 Customer Disbursement
                                                                                 TOTAL                              $21.00
        Confidential Customer USD Transferee #3823   [Address on File]        5/23/2023 USD                        $497.81 Customer Disbursement
                                                                                 TOTAL                            $497.81
        Confidential Customer USD Transferee #3824   [Address on File]         6/7/2023 USD                      $3,794.59 Customer Disbursement
        Confidential Customer USD Transferee #3824   [Address on File]         6/7/2023 USD                    $20,015.00 Customer Disbursement
        Confidential Customer USD Transferee #3824   [Address on File]         6/5/2023 USD                      $1,690.57 Customer Disbursement
        Confidential Customer USD Transferee #3824   [Address on File]         6/5/2023 USD                        $865.00 Customer Disbursement
        Confidential Customer USD Transferee #3824   [Address on File]         6/2/2023 USD                    $20,185.00 Customer Disbursement
        Confidential Customer USD Transferee #3824   [Address on File]        5/16/2023 USD                      $7,000.00 Customer Disbursement
                                                                                 TOTAL                         $53,550.16
        Confidential Customer USD Transferee #3825   [Address on File]        5/18/2023 USD                         $21.74 Customer Disbursement
                                                                                 TOTAL                              $21.74
        Confidential Customer USD Transferee #3826   [Address on File]        6/12/2023 USD                         $92.44 Customer Disbursement
                                                                                 TOTAL                              $92.44
        Confidential Customer USD Transferee #3827   [Address on File]        6/16/2023 USD                      $6,408.43 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $6,408.43
        Confidential Customer USD Transferee #3828         [Address on File]        5/19/2023 USD                        $298.70 Customer Disbursement
                                                                                       TOTAL                            $298.70
        Confidential Customer USD Transferee #3829         [Address on File]        6/12/2023 USD                          $1.49 Customer Disbursement
                                                                                       TOTAL                               $1.49
        Confidential Customer USD Transferee #3830         [Address on File]         6/7/2023 USD                         $14.69 Customer Disbursement
                                                                                       TOTAL                              $14.69
        Confidential Customer USD Transferee #3831         [Address on File]        5/31/2023 USD                        $191.89 Customer Disbursement
                                                                                       TOTAL                            $191.89
        Confidential Customer USD Transferee #3832         [Address on File]        5/26/2023 USD                        $306.00 Customer Disbursement
                                                                                       TOTAL                            $306.00
        Confidential Customer USD Transferee #3833         [Address on File]        5/16/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #3834         [Address on File]         6/5/2023 USD                        $250.00 Customer Disbursement
                                                                                       TOTAL                            $250.00
        Confidential Customer USD Transferee #3835         [Address on File]        5/31/2023 USD                    $10,000.00 Customer Disbursement
                                                                                       TOTAL                         $10,000.00
        Confidential Customer USD Transferee #3836         [Address on File]        6/20/2023 USD                        $681.00 Customer Disbursement
                                                                                       TOTAL                            $681.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3837                                    6/20/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #3838         [Address on File]           6/5/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #3839         [Address on File]          5/26/2023 USD                      $1,777.70 Customer Disbursement
                                                                                         TOTAL                           $1,777.70
        Confidential Customer USD Transferee #3840         [Address on File]           6/2/2023 USD                      $1,700.00 Customer Disbursement
                                                                                         TOTAL                           $1,700.00
        Confidential Customer USD Transferee #3841         [Address on File]           6/6/2023 USD                         $38.60 Customer Disbursement
                                                                                         TOTAL                              $38.60
        Confidential Customer USD Transferee #3842         [Address on File]           6/1/2023 USD                        $393.51 Customer Disbursement
                                                                                         TOTAL                            $393.51
        Confidential Customer USD Transferee #3843         [Address on File]           6/5/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3844   [Address on File]         6/6/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3844   [Address on File]         6/6/2023 USD                      $1,430.13 Customer Disbursement
                                                                                 TOTAL                           $1,530.13
        Confidential Customer USD Transferee #3845   [Address on File]        5/24/2023 USD                        $145.00 Customer Disbursement
                                                                                 TOTAL                            $145.00
        Confidential Customer USD Transferee #3846   [Address on File]        5/31/2023 USD                          $7.38 Customer Disbursement
                                                                                 TOTAL                               $7.38
                                                     [Address on File]
        Confidential Customer USD Transferee #3847                               6/5/2023 USD                      $1,100.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3847                               6/5/2023 USD                      $4,862.24 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3847                               6/5/2023 USD                         $67.00 Customer Disbursement
                                                                                  TOTAL                            $6,029.24
                                                     [Address on File]
        Confidential Customer USD Transferee #3848                              6/21/2023 USD                         $86.95 Customer Disbursement
                                                                                   TOTAL                              $86.95
        Confidential Customer USD Transferee #3849   [Address on File]           6/6/2023 USD                          $8.00 Customer Disbursement
                                                                                   TOTAL                               $8.00
        Confidential Customer USD Transferee #3850   [Address on File]          5/31/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #3851   [Address on File]          6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                   TOTAL                              $15.00
        Confidential Customer USD Transferee #3852   [Address on File]          5/22/2023 USD                      $4,792.48 Customer Disbursement
                                                                                   TOTAL                           $4,792.48
        Confidential Customer USD Transferee #3853   [Address on File]           6/5/2023 USD                        $160.00 Customer Disbursement
        Confidential Customer USD Transferee #3853   [Address on File]          5/19/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #3853   [Address on File]          5/17/2023 USD                          $5.00 Customer Disbursement
                                                                                   TOTAL                            $190.00
        Confidential Customer USD Transferee #3854   [Address on File]           6/1/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
        Confidential Customer USD Transferee #3855   [Address on File]          6/20/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00
        Confidential Customer USD Transferee #3856   [Address on File]          6/20/2023 USD                     $12,901.44 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                         $12,901.44
        Confidential Customer USD Transferee #3857         [Address on File]        5/19/2023 USD                         $50.00 Customer Disbursement
                                                                                       TOTAL                              $50.00
        Confidential Customer USD Transferee #3858         [Address on File]         6/6/2023 USD                        $973.77 Customer Disbursement
                                                                                       TOTAL                            $973.77
        Confidential Customer USD Transferee #3859         [Address on File]        5/23/2023 USD                      $2,115.81 Customer Disbursement
                                                                                       TOTAL                           $2,115.81
        Confidential Customer USD Transferee #3860         [Address on File]        5/26/2023 USD                         $38.49 Customer Disbursement
                                                                                       TOTAL                              $38.49
        Confidential Customer USD Transferee #3861         [Address on File]        6/22/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3861         [Address on File]        6/16/2023 USD                      $9,000.00 Customer Disbursement
                                                                                       TOTAL                         $18,000.00
        Confidential Customer USD Transferee #3862         [Address on File]        5/24/2023 USD                        $415.47 Customer Disbursement
        Confidential Customer USD Transferee #3862         [Address on File]        5/24/2023 USD                          $5.31 Customer Disbursement
        Confidential Customer USD Transferee #3862         [Address on File]        5/24/2023 USD                        $793.86 Customer Disbursement
        Confidential Customer USD Transferee #3862         [Address on File]        5/23/2023 USD                      $1,438.04 Customer Disbursement
        Confidential Customer USD Transferee #3862         [Address on File]        5/23/2023 USD                          $5.41 Customer Disbursement
                                                                                       TOTAL                           $2,658.09
        Confidential Customer USD Transferee #3863         [Address on File]        5/25/2023 USD                        $505.22 Customer Disbursement
                                                                                       TOTAL                            $505.22
        Confidential Customer USD Transferee #3864         [Address on File]        5/22/2023 USD                         $38.11 Customer Disbursement
                                                                                       TOTAL                              $38.11
                                                           [Address on File]
        Confidential Customer USD Transferee #3865                                    6/20/2023 USD                        $160.17 Customer Disbursement
                                                                                         TOTAL                            $160.17
        Confidential Customer USD Transferee #3866         [Address on File]           6/8/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #3867         [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3867         [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3867         [Address on File]          5/16/2023 USD                      $2,500.00 Customer Disbursement
                                                                                         TOTAL                           $8,500.00
        Confidential Customer USD Transferee #3868         [Address on File]           6/1/2023 USD                        $743.32 Customer Disbursement
        Confidential Customer USD Transferee #3868         [Address on File]          5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3868         [Address on File]          5/25/2023 USD                      $3,000.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3868   [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3868   [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                         $12,743.32
        Confidential Customer USD Transferee #3869   [Address on File]        6/16/2023 USD                         $20.55 Customer Disbursement
                                                                                 TOTAL                              $20.55
        Confidential Customer USD Transferee #3870   [Address on File]        5/16/2023 USD                         $99.58 Customer Disbursement
                                                                                 TOTAL                              $99.58
        Confidential Customer USD Transferee #3871   [Address on File]        5/24/2023 USD                        $223.19 Customer Disbursement
                                                                                 TOTAL                            $223.19
        Confidential Customer USD Transferee #3872   [Address on File]         6/2/2023 USD                      $1,064.79 Customer Disbursement
                                                                                 TOTAL                           $1,064.79
        Confidential Customer USD Transferee #3873   [Address on File]        6/21/2023 USD                      $8,157.94 Customer Disbursement
        Confidential Customer USD Transferee #3873   [Address on File]         6/8/2023 USD                    $17,065.61 Customer Disbursement
                                                                                 TOTAL                         $25,223.55
        Confidential Customer USD Transferee #3874   [Address on File]        6/21/2023 USD                         $39.48 Customer Disbursement
                                                                                 TOTAL                              $39.48
        Confidential Customer USD Transferee #3875   [Address on File]        5/31/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #3875   [Address on File]        5/25/2023 USD                        $130.00 Customer Disbursement
                                                                                 TOTAL                            $380.00
        Confidential Customer USD Transferee #3876   [Address on File]        5/18/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #3877   [Address on File]        5/30/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                               $5.00
        Confidential Customer USD Transferee #3878   [Address on File]        5/18/2023 USD                         $46.48 Customer Disbursement
                                                                                 TOTAL                              $46.48
        Confidential Customer USD Transferee #3879   [Address on File]        6/14/2023 USD                      $5,127.92 Customer Disbursement
                                                                                 TOTAL                           $5,127.92
        Confidential Customer USD Transferee #3880   [Address on File]        5/31/2023 USD                         $57.00 Customer Disbursement
                                                                                 TOTAL                              $57.00
        Confidential Customer USD Transferee #3881   [Address on File]        6/16/2023 USD                         $37.16 Customer Disbursement
                                                                                 TOTAL                              $37.16
        Confidential Customer USD Transferee #3882   [Address on File]        5/23/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3882   [Address on File]        5/22/2023 USD                    $20,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3882   [Address on File]        5/19/2023 USD                    $20,000.00 Customer Disbursement

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #3882   [Address on File]        5/17/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $80,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3883                              6/12/2023 USD                   $281,896.23 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3883                               6/2/2023 USD                     $50,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3883                              5/31/2023 USD                    $72,148.00 Customer Disbursement
                                                                                   TOTAL                        $404,044.23
                                                     [Address on File]
        Confidential Customer USD Transferee #3884                              6/12/2023 USD                 $1,885,570.29 Customer Disbursement
                                                                                   TOTAL                      $1,885,570.29
                                                     [Address on File]
        Confidential Customer USD Transferee #3885                              5/31/2023 USD                   $551,840.40 Customer Disbursement
                                                                                   TOTAL                        $551,840.40
                                                     [Address on File]
        Confidential Customer USD Transferee #3886                              6/16/2023 USD                      $4,700.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3886                              5/19/2023 USD                      $4,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3886                              5/19/2023 USD                      $4,700.00 Customer Disbursement
                                                                                   TOTAL                          $13,400.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3887                              6/20/2023 USD                        $685.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3887                              5/19/2023 USD                     $25,732.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3887                              5/23/2023 USD                     $60,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3887                              5/23/2023 USD                        $999.00 Customer Disbursement
                                                                                   TOTAL                          $87,416.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3888                              6/20/2023 USD                      $1,000.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #3888                              5/19/2023 USD                      $1,155.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3888                                    5/19/2023 USD                        $500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3888                                    5/19/2023 USD                      $3,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3888                                    5/19/2023 USD                      $3,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3888                                    5/19/2023 USD                      $1,105.10 Customer Disbursement
                                                                                         TOTAL                          $10,760.10
                                                           [Address on File]
        Confidential Customer USD Transferee #3889                                    6/12/2023 USD                 $1,506,878.28 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3889                                    5/31/2023 USD                   $875,996.40 Customer Disbursement
                                                                                         TOTAL                      $2,382,874.68
        Confidential Customer USD Transferee #3890         [Address on File]           6/8/2023 USD                       $479.08 Customer Disbursement
                                                                                         TOTAL                           $479.08
        Confidential Customer USD Transferee #3891         [Address on File]           6/1/2023 USD                        $15.00 Customer Disbursement
                                                                                         TOTAL                             $15.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3892                                    6/20/2023 USD                       $200.00 Customer Disbursement
                                                                                         TOTAL                           $200.00
        Confidential Customer USD Transferee #3893         [Address on File]           6/1/2023 USD                        $30.00 Customer Disbursement
                                                                                         TOTAL                             $30.00
        Confidential Customer USD Transferee #3894         [Address on File]           6/6/2023 USD                        $17.18 Customer Disbursement
                                                                                         TOTAL                             $17.18
        Confidential Customer USD Transferee #3895         [Address on File]          5/23/2023 USD                   $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3895         [Address on File]          5/16/2023 USD                    $44,250.00 Customer Disbursement
                                                                                         TOTAL                        $144,250.00
        Confidential Customer USD Transferee #3896         [Address on File]           6/6/2023 USD                        $92.61 Customer Disbursement
                                                                                         TOTAL                             $92.61
        Confidential Customer USD Transferee #3897         [Address on File]          6/21/2023 USD                     $1,227.83 Customer Disbursement
        Confidential Customer USD Transferee #3897         [Address on File]          6/20/2023 USD                       $134.71 Customer Disbursement
                                                                                         TOTAL                          $1,362.54
        Confidential Customer USD Transferee #3898         [Address on File]          5/31/2023 USD                       $117.33 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $117.33
        Confidential Customer USD Transferee #3899         [Address on File]        6/22/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3899         [Address on File]        6/21/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3899         [Address on File]        6/21/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3899         [Address on File]         6/6/2023 USD                      $1,200.00 Customer Disbursement
                                                                                       TOTAL                           $6,200.00
        Confidential Customer USD Transferee #3900         [Address on File]        6/21/2023 USD                      $2,000.00 Customer Disbursement
                                                                                       TOTAL                           $2,000.00
        Confidential Customer USD Transferee #3901         [Address on File]        5/16/2023 USD                        $117.00 Customer Disbursement
                                                                                       TOTAL                            $117.00
        Confidential Customer USD Transferee #3902         [Address on File]        5/16/2023 USD                        $193.00 Customer Disbursement
                                                                                       TOTAL                            $193.00
        Confidential Customer USD Transferee #3903         [Address on File]         6/9/2023 USD                        $984.21 Customer Disbursement
        Confidential Customer USD Transferee #3903         [Address on File]         6/6/2023 USD                          $8.72 Customer Disbursement
        Confidential Customer USD Transferee #3903         [Address on File]        5/26/2023 USD                          $1.31 Customer Disbursement
        Confidential Customer USD Transferee #3903         [Address on File]        5/22/2023 USD                         $20.07 Customer Disbursement
                                                                                       TOTAL                           $1,014.31
        Confidential Customer USD Transferee #3904         [Address on File]        6/20/2023 USD                        $142.70 Customer Disbursement
                                                                                       TOTAL                            $142.70
        Confidential Customer USD Transferee #3905         [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3905         [Address on File]         6/2/2023 USD                      $1,721.47 Customer Disbursement
        Confidential Customer USD Transferee #3905         [Address on File]        5/16/2023 USD                      $1,721.46 Customer Disbursement
        Confidential Customer USD Transferee #3905         [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $9,442.93
                                                           [Address on File]
        Confidential Customer USD Transferee #3906                                    6/20/2023 USD                     $10,000.21 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3906                                    6/20/2023 USD                   $900,000.26 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3906                                    6/16/2023 USD                   $106,450.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3906                                     6/6/2023 USD                      $3,984.61 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3906                                     6/1/2023 USD                        $104.00 Customer Disbursement


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3906                                    5/30/2023 USD                        $550.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3906                                    5/22/2023 USD                      $4,707.69 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3906                                    5/18/2023 USD                        $100.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3906                                    5/17/2023 USD                   $673,169.23 Customer Disbursement
                                                                                         TOTAL                      $1,699,066.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3907                                    6/20/2023 USD                   $900,000.25 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3907                                     6/5/2023 USD                 $1,000,023.23 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3907                                     6/2/2023 USD                      $2,419.23 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3907                                     6/1/2023 USD                        $952.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3907                                    5/31/2023 USD                   $250,650.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3907                                    5/26/2023 USD                   $500,000.00 Customer Disbursement
                                                                                         TOTAL                      $2,654,044.71
                                                           [Address on File]
        Confidential Customer USD Transferee #3908                                    6/20/2023 USD                   $900,000.22 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3908                                    6/20/2023 USD                      $3,507.69 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3908                                    6/20/2023 USD                   $900,000.23 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3908                                    6/20/2023 USD                   $900,000.24 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3908                                    6/20/2023 USD                      $4,807.69 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3908                                    6/16/2023 USD                      $2,484.62 Customer Disbursement



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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3908                                    6/16/2023 USD                 $5,551,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3908                                    5/30/2023 USD                     $9,916.84 Customer Disbursement
                                                                                         TOTAL                      $8,271,717.53
                                                           [Address on File]
        Confidential Customer USD Transferee #3909                                    6/20/2023 USD                   $900,000.27 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3909                                    6/20/2023 USD                   $790,000.27 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3909                                    6/20/2023 USD                   $900,000.21 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3909                                     6/6/2023 USD                     $14,423.07 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3909                                     6/1/2023 USD                   $770,803.23 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3909                                     6/1/2023 USD                      $3,415.38 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3909                                    5/24/2023 USD                     $56,550.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3909                                    5/19/2023 USD                     $2,419.23 Customer Disbursement
                                                                                         TOTAL                      $3,437,611.66
        Confidential Customer USD Transferee #3910         [Address on File]          6/15/2023 USD                    $11,116.64 Customer Disbursement
                                                                                         TOTAL                         $11,116.64
        Confidential Customer USD Transferee #3911         [Address on File]           6/6/2023 USD                         $4.95 Customer Disbursement
                                                                                         TOTAL                              $4.95
        Confidential Customer USD Transferee #3912         [Address on File]          5/16/2023 USD                     $1,050.87 Customer Disbursement
                                                                                         TOTAL                          $1,050.87
        Confidential Customer USD Transferee #3913         [Address on File]           6/2/2023 USD                     $3,000.00 Customer Disbursement
                                                                                         TOTAL                          $3,000.00
        Confidential Customer USD Transferee #3914         [Address on File]          5/16/2023 USD                       $140.00 Customer Disbursement
                                                                                         TOTAL                           $140.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3915                                    6/15/2023 USD                      $1,285.00 Customer Disbursement


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3915                                     6/9/2023 USD                      $1,985.00 Customer Disbursement
                                                                                        TOTAL                            $3,270.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3916                                    6/20/2023 USD                      $3,458.14 Customer Disbursement
                                                                                         TOTAL                           $3,458.14
        Confidential Customer USD Transferee #3917         [Address on File]           6/7/2023 USD                      $3,898.27 Customer Disbursement
                                                                                         TOTAL                           $3,898.27
        Confidential Customer USD Transferee #3918         [Address on File]           6/2/2023 USD                      $2,108.53 Customer Disbursement
        Confidential Customer USD Transferee #3918         [Address on File]          5/30/2023 USD                      $1,101.00 Customer Disbursement
                                                                                         TOTAL                           $3,209.53
                                                           [Address on File]
        Confidential Customer USD Transferee #3919                                    5/26/2023 USD                   $500,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3919                                    5/23/2023 USD                   $500,000.00 Customer Disbursement
                                                                                         TOTAL                      $1,000,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3920                                    5/31/2023 USD                   $500,000.00 Customer Disbursement
                                                                                         TOTAL                        $500,000.00
        Confidential Customer USD Transferee #3921         [Address on File]          5/23/2023 USD                     $1,107.33 Customer Disbursement
                                                                                         TOTAL                          $1,107.33
        Confidential Customer USD Transferee #3922         [Address on File]          6/21/2023 USD                       $717.88 Customer Disbursement
                                                                                         TOTAL                           $717.88
        Confidential Customer USD Transferee #3923         [Address on File]          6/21/2023 USD                       $137.00 Customer Disbursement
                                                                                         TOTAL                           $137.00
        Confidential Customer USD Transferee #3924         [Address on File]           6/8/2023 USD                     $1,097.56 Customer Disbursement
        Confidential Customer USD Transferee #3924         [Address on File]           6/8/2023 USD                     $1,039.37 Customer Disbursement
        Confidential Customer USD Transferee #3924         [Address on File]          5/26/2023 USD                       $193.00 Customer Disbursement
        Confidential Customer USD Transferee #3924         [Address on File]          5/22/2023 USD                       $438.00 Customer Disbursement
                                                                                         TOTAL                          $2,767.93
        Confidential Customer USD Transferee #3925         [Address on File]          6/16/2023 USD                        $10.00 Customer Disbursement
                                                                                         TOTAL                             $10.00
        Confidential Customer USD Transferee #3926         [Address on File]          5/18/2023 USD                        $40.00 Customer Disbursement
                                                                                         TOTAL                             $40.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3927   [Address on File]         6/7/2023 USD                      $3,100.00 Customer Disbursement
                                                                                 TOTAL                           $3,100.00
        Confidential Customer USD Transferee #3928   [Address on File]        5/23/2023 USD                     $21,072.04 Customer Disbursement
                                                                                 TOTAL                          $21,072.04
        Confidential Customer USD Transferee #3929   [Address on File]        6/21/2023 USD                      $1,177.89 Customer Disbursement
                                                                                 TOTAL                           $1,177.89
        Confidential Customer USD Transferee #3930   [Address on File]         6/6/2023 USD                        $396.41 Customer Disbursement
                                                                                 TOTAL                            $396.41
        Confidential Customer USD Transferee #3931   [Address on File]        5/31/2023 USD                        $250.00 Customer Disbursement
                                                                                 TOTAL                            $250.00
        Confidential Customer USD Transferee #3932   [Address on File]         6/5/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #3932   [Address on File]        5/22/2023 USD                        $300.00 Customer Disbursement
                                                                                 TOTAL                            $600.00
        Confidential Customer USD Transferee #3933   [Address on File]        6/21/2023 USD                      $1,017.00 Customer Disbursement
        Confidential Customer USD Transferee #3933   [Address on File]        6/21/2023 USD                        $420.00 Customer Disbursement
                                                                                 TOTAL                           $1,437.00
        Confidential Customer USD Transferee #3934   [Address on File]        5/31/2023 USD                        $335.13 Customer Disbursement
                                                                                 TOTAL                            $335.13
        Confidential Customer USD Transferee #3935   [Address on File]        5/23/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $50.00
        Confidential Customer USD Transferee #3936   [Address on File]         6/2/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
        Confidential Customer USD Transferee #3937   [Address on File]        6/16/2023 USD                     $75,043.62 Customer Disbursement
        Confidential Customer USD Transferee #3937   [Address on File]        6/15/2023 USD                    $136,901.43 Customer Disbursement
        Confidential Customer USD Transferee #3937   [Address on File]        6/14/2023 USD                    $268,000.00 Customer Disbursement
                                                                                 TOTAL                        $479,945.05
        Confidential Customer USD Transferee #3938   [Address on File]        6/15/2023 USD                  $4,339,310.66 Customer Disbursement
        Confidential Customer USD Transferee #3938   [Address on File]        6/14/2023 USD                      $7,719.91 Customer Disbursement
        Confidential Customer USD Transferee #3938   [Address on File]        6/13/2023 USD                     $72,000.00 Customer Disbursement
                                                                                 TOTAL                       $4,419,030.57
        Confidential Customer USD Transferee #3939   [Address on File]        5/25/2023 USD                         $45.00 Customer Disbursement
                                                                                 TOTAL                              $45.00
        Confidential Customer USD Transferee #3940   [Address on File]        6/21/2023 USD                      $4,255.99 Customer Disbursement
        Confidential Customer USD Transferee #3940   [Address on File]        6/20/2023 USD                      $1,832.58 Customer Disbursement

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                                                                                                                                      Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount               Transfer
                                                                                      TOTAL                            $6,088.57
                                                           [Address on File]
        Confidential Customer USD Transferee #3941                                    5/19/2023 USD                          $2.00 Customer Disbursement
                                                                                         TOTAL                               $2.00
        Confidential Customer USD Transferee #3942         [Address on File]           6/7/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #3942         [Address on File]          5/18/2023 USD                      $1,100.00 Customer Disbursement
                                                                                         TOTAL                           $1,125.00
        Confidential Customer USD Transferee #3943         [Address on File]          6/20/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3944                                     6/8/2023 USD                      $3,328.34 Customer Disbursement
                                                                                         TOTAL                           $3,328.34
        Confidential Customer USD Transferee #3945         [Address on File]          5/31/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #3946         [Address on File]          5/25/2023 USD                        $160.53 Customer Disbursement
                                                                                         TOTAL                            $160.53
        Confidential Customer USD Transferee #3947         [Address on File]           6/6/2023 USD                        $454.20 Customer Disbursement
        Confidential Customer USD Transferee #3947         [Address on File]           6/1/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3947         [Address on File]          5/16/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $754.20
        Confidential Customer USD Transferee #3948         [Address on File]           6/7/2023 USD                        $605.49 Customer Disbursement
                                                                                         TOTAL                            $605.49
                                                           [Address on File]
        Confidential Customer USD Transferee #3949                                    6/20/2023 USD                         $33.39 Customer Disbursement
                                                                                         TOTAL                              $33.39
        Confidential Customer USD Transferee #3950         [Address on File]          5/17/2023 USD                        $150.67 Customer Disbursement
                                                                                         TOTAL                             $150.67
        Confidential Customer USD Transferee #3951         [Address on File]          6/12/2023 USD                         $13.62 Customer Disbursement
                                                                                         TOTAL                              $13.62
        Confidential Customer USD Transferee #3952         [Address on File]          6/20/2023 USD                         $92.00 Customer Disbursement
                                                                                         TOTAL                              $92.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3953                                    6/21/2023 USD                             $9.80 Customer Disbursement
                                                                                         TOTAL                                  $9.80

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #3954   [Address on File]        5/16/2023 USD                         $85.79 Customer Disbursement
                                                                                 TOTAL                              $85.79
        Confidential Customer USD Transferee #3955   [Address on File]        6/16/2023 USD                      $6,192.62 Customer Disbursement
        Confidential Customer USD Transferee #3955   [Address on File]        6/16/2023 USD                      $4,250.00 Customer Disbursement
                                                                                 TOTAL                         $10,442.62
        Confidential Customer USD Transferee #3956   [Address on File]        5/26/2023 USD                        $333.32 Customer Disbursement
                                                                                 TOTAL                            $333.32
        Confidential Customer USD Transferee #3957   [Address on File]        5/23/2023 USD                         $30.00 Customer Disbursement
                                                                                 TOTAL                              $30.00
        Confidential Customer USD Transferee #3958   [Address on File]        5/25/2023 USD                        $114.38 Customer Disbursement
                                                                                 TOTAL                            $114.38
        Confidential Customer USD Transferee #3959   [Address on File]        5/16/2023 USD                        $193.70 Customer Disbursement
                                                                                 TOTAL                            $193.70
        Confidential Customer USD Transferee #3960   [Address on File]         6/6/2023 USD                      $1,189.00 Customer Disbursement
                                                                                 TOTAL                           $1,189.00
                                                     [Address on File]
        Confidential Customer USD Transferee #3961                              6/21/2023 USD                      $3,113.87 Customer Disbursement
                                                                                   TOTAL                           $3,113.87
        Confidential Customer USD Transferee #3962   [Address on File]          5/18/2023 USD                      $6,054.10 Customer Disbursement
                                                                                   TOTAL                           $6,054.10
        Confidential Customer USD Transferee #3963   [Address on File]           6/7/2023 USD                      $2,123.27 Customer Disbursement
                                                                                   TOTAL                           $2,123.27
        Confidential Customer USD Transferee #3964   [Address on File]           6/5/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #3964   [Address on File]          5/30/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #3964   [Address on File]          5/22/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $400.00
        Confidential Customer USD Transferee #3965   [Address on File]          5/22/2023 USD                        $662.00 Customer Disbursement
                                                                                   TOTAL                            $662.00
        Confidential Customer USD Transferee #3966   [Address on File]          6/16/2023 USD                        $265.00 Customer Disbursement
                                                                                   TOTAL                            $265.00
        Confidential Customer USD Transferee #3967   [Address on File]           6/5/2023 USD                      $4,591.24 Customer Disbursement
                                                                                   TOTAL                           $4,591.24
        Confidential Customer USD Transferee #3968   [Address on File]           6/7/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #3968   [Address on File]          5/24/2023 USD                        $400.00 Customer Disbursement

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                                                                                                                                      Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount               Transfer
                                                                                      TOTAL                             $800.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3969                                    6/12/2023 USD                             $0.21 Customer Disbursement
                                                                                         TOTAL                                  $0.21
                                                           [Address on File]
        Confidential Customer USD Transferee #3970                                    6/20/2023 USD                          $0.09 Customer Disbursement
                                                                                         TOTAL                               $0.09
        Confidential Customer USD Transferee #3971         [Address on File]           6/7/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,000.00
        Confidential Customer USD Transferee #3972         [Address on File]          6/21/2023 USD                      $2,226.19 Customer Disbursement
        Confidential Customer USD Transferee #3972         [Address on File]          6/21/2023 USD                      $6,917.43 Customer Disbursement
                                                                                         TOTAL                           $9,143.62
        Confidential Customer USD Transferee #3973         [Address on File]          6/22/2023 USD                        $167.71 Customer Disbursement
                                                                                         TOTAL                            $167.71
                                                           [Address on File]
        Confidential Customer USD Transferee #3974                                    5/31/2023 USD                        $682.27 Customer Disbursement
                                                                                         TOTAL                            $682.27
        Confidential Customer USD Transferee #3975         [Address on File]           6/8/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3975         [Address on File]           6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3975         [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $9,000.00
        Confidential Customer USD Transferee #3976         [Address on File]          6/13/2023 USD                         $27.56 Customer Disbursement
                                                                                         TOTAL                              $27.56
                                                           [Address on File]
        Confidential Customer USD Transferee #3977                                    5/18/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #3978         [Address on File]          6/21/2023 USD                     $19,000.00 Customer Disbursement
                                                                                         TOTAL                          $19,000.00
        Confidential Customer USD Transferee #3979         [Address on File]           6/2/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $200.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3980                                     6/1/2023 USD                     $41,648.00 Customer Disbursement
                                                                                        TOTAL                           $41,648.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #3981                                     6/6/2023 USD                      $7,460.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #3981                                     6/1/2023 USD                        $100.00 Customer Disbursement
                                                                                        TOTAL                            $7,560.00
                                                           [Address on File]
        Confidential Customer USD Transferee #3982                                    6/20/2023 USD                      $2,974.29 Customer Disbursement
                                                                                         TOTAL                           $2,974.29
        Confidential Customer USD Transferee #3983         [Address on File]          5/23/2023 USD                         $29.00 Customer Disbursement
                                                                                         TOTAL                              $29.00
        Confidential Customer USD Transferee #3984         [Address on File]          5/23/2023 USD                        $605.00 Customer Disbursement
                                                                                         TOTAL                            $605.00
        Confidential Customer USD Transferee #3985         [Address on File]          5/23/2023 USD                         $60.00 Customer Disbursement
                                                                                         TOTAL                              $60.00
        Confidential Customer USD Transferee #3986         [Address on File]           6/7/2023 USD                      $6,495.00 Customer Disbursement
        Confidential Customer USD Transferee #3986         [Address on File]           6/7/2023 USD                      $2,495.00 Customer Disbursement
        Confidential Customer USD Transferee #3986         [Address on File]           6/2/2023 USD                      $9,495.00 Customer Disbursement
        Confidential Customer USD Transferee #3986         [Address on File]           6/1/2023 USD                      $5,995.00 Customer Disbursement
                                                                                         TOTAL                          $24,480.00
        Confidential Customer USD Transferee #3987         [Address on File]          5/17/2023 USD                        $150.00 Customer Disbursement
                                                                                         TOTAL                            $150.00
        Confidential Customer USD Transferee #3988         [Address on File]           6/8/2023 USD                        $166.78 Customer Disbursement
        Confidential Customer USD Transferee #3988         [Address on File]           6/7/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $266.78
        Confidential Customer USD Transferee #3989         [Address on File]          6/21/2023 USD                        $377.56 Customer Disbursement
        Confidential Customer USD Transferee #3989         [Address on File]          6/21/2023 USD                      $3,613.00 Customer Disbursement
                                                                                         TOTAL                           $3,990.56
        Confidential Customer USD Transferee #3990         [Address on File]          5/18/2023 USD                          $1.00 Customer Disbursement
                                                                                         TOTAL                               $1.00
        Confidential Customer USD Transferee #3991         [Address on File]           6/1/2023 USD                          $1.00 Customer Disbursement
                                                                                         TOTAL                               $1.00
        Confidential Customer USD Transferee #3992         [Address on File]           6/5/2023 USD                        $149.26 Customer Disbursement
                                                                                         TOTAL                            $149.26
        Confidential Customer USD Transferee #3993         [Address on File]          5/23/2023 USD                      $2,711.42 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $2,711.42
        Confidential Customer USD Transferee #3994         [Address on File]        6/21/2023 USD                      $1,577.00 Customer Disbursement
        Confidential Customer USD Transferee #3994         [Address on File]        6/20/2023 USD                      $2,881.00 Customer Disbursement
        Confidential Customer USD Transferee #3994         [Address on File]        6/16/2023 USD                        $773.09 Customer Disbursement
        Confidential Customer USD Transferee #3994         [Address on File]        6/16/2023 USD                      $5,480.59 Customer Disbursement
                                                                                       TOTAL                         $10,711.68
        Confidential Customer USD Transferee #3995         [Address on File]        5/26/2023 USD                        $900.00 Customer Disbursement
                                                                                       TOTAL                            $900.00
        Confidential Customer USD Transferee #3996         [Address on File]         6/1/2023 USD                        $350.00 Customer Disbursement
        Confidential Customer USD Transferee #3996         [Address on File]        5/25/2023 USD                        $100.00 Customer Disbursement
                                                                                       TOTAL                            $450.00
        Confidential Customer USD Transferee #3997         [Address on File]         6/2/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3997         [Address on File]        5/23/2023 USD                        $805.00 Customer Disbursement
                                                                                       TOTAL                           $2,805.00
        Confidential Customer USD Transferee #3998         [Address on File]         6/6/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3998         [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #3998         [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                       TOTAL                           $9,000.00
        Confidential Customer USD Transferee #3999         [Address on File]        6/21/2023 USD                      $7,157.88 Customer Disbursement
                                                                                       TOTAL                           $7,157.88
        Confidential Customer USD Transferee #4000         [Address on File]        5/17/2023 USD                      $1,097.60 Customer Disbursement
                                                                                       TOTAL                           $1,097.60
                                                           [Address on File]
        Confidential Customer USD Transferee #4001                                     6/1/2023 USD                      $1,310.67 Customer Disbursement
                                                                                         TOTAL                           $1,310.67
        Confidential Customer USD Transferee #4002         [Address on File]          6/16/2023 USD                      $1,326.31 Customer Disbursement
                                                                                         TOTAL                           $1,326.31
        Confidential Customer USD Transferee #4003         [Address on File]          5/31/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #4003         [Address on File]          5/31/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #4003         [Address on File]          5/31/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #4003         [Address on File]          5/24/2023 USD                        $600.00 Customer Disbursement
        Confidential Customer USD Transferee #4003         [Address on File]          5/24/2023 USD                        $400.00 Customer Disbursement
                                                                                         TOTAL                           $1,450.00
        Confidential Customer USD Transferee #4004         [Address on File]          5/17/2023 USD                        $700.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4004   [Address on File]        5/16/2023 USD                         $60.00 Customer Disbursement
        Confidential Customer USD Transferee #4004   [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4004   [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4004   [Address on File]        5/16/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $8,760.00
        Confidential Customer USD Transferee #4005   [Address on File]        6/16/2023 USD                         $26.46 Customer Disbursement
                                                                                 TOTAL                              $26.46
        Confidential Customer USD Transferee #4006   [Address on File]         6/5/2023 USD                        $115.00 Customer Disbursement
                                                                                 TOTAL                            $115.00
        Confidential Customer USD Transferee #4007   [Address on File]        6/20/2023 USD                      $3,433.00 Customer Disbursement
                                                                                 TOTAL                           $3,433.00
        Confidential Customer USD Transferee #4008   [Address on File]         6/6/2023 USD                        $721.63 Customer Disbursement
        Confidential Customer USD Transferee #4008   [Address on File]        5/23/2023 USD                      $6,964.20 Customer Disbursement
                                                                                 TOTAL                           $7,685.83
        Confidential Customer USD Transferee #4009   [Address on File]        5/24/2023 USD                        $100.32 Customer Disbursement
                                                                                 TOTAL                            $100.32
        Confidential Customer USD Transferee #4010   [Address on File]        5/30/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4010   [Address on File]        5/30/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $7,000.00
        Confidential Customer USD Transferee #4011   [Address on File]        6/20/2023 USD                      $1,550.91 Customer Disbursement
        Confidential Customer USD Transferee #4011   [Address on File]        6/16/2023 USD                        $335.00 Customer Disbursement
                                                                                 TOTAL                           $1,885.91
        Confidential Customer USD Transferee #4012   [Address on File]        6/15/2023 USD                        $395.33 Customer Disbursement
        Confidential Customer USD Transferee #4012   [Address on File]        5/16/2023 USD                        $592.26 Customer Disbursement
                                                                                 TOTAL                            $987.59
        Confidential Customer USD Transferee #4013   [Address on File]        5/23/2023 USD                        $497.43 Customer Disbursement
                                                                                 TOTAL                            $497.43
        Confidential Customer USD Transferee #4014   [Address on File]        6/16/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4014   [Address on File]        5/31/2023 USD                        $550.00 Customer Disbursement
                                                                                 TOTAL                            $570.00
        Confidential Customer USD Transferee #4015   [Address on File]        6/20/2023 USD                        $257.73 Customer Disbursement
                                                                                 TOTAL                            $257.73
        Confidential Customer USD Transferee #4016   [Address on File]         6/6/2023 USD                         $60.00 Customer Disbursement
        Confidential Customer USD Transferee #4016   [Address on File]         6/6/2023 USD                        $300.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4016   [Address on File]        5/19/2023 USD                        $400.00 Customer Disbursement
                                                                                 TOTAL                            $760.00
        Confidential Customer USD Transferee #4017   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
        Confidential Customer USD Transferee #4018   [Address on File]        5/30/2023 USD                      $1,211.10 Customer Disbursement
                                                                                 TOTAL                           $1,211.10
        Confidential Customer USD Transferee #4019   [Address on File]         6/6/2023 USD                        $650.00 Customer Disbursement
        Confidential Customer USD Transferee #4019   [Address on File]        5/31/2023 USD                        $736.87 Customer Disbursement
        Confidential Customer USD Transferee #4019   [Address on File]        5/23/2023 USD                        $633.24 Customer Disbursement
                                                                                 TOTAL                           $2,020.11
                                                     [Address on File]
        Confidential Customer USD Transferee #4020                               6/9/2023 USD                      $6,064.87 Customer Disbursement
                                                                                   TOTAL                           $6,064.87
        Confidential Customer USD Transferee #4021   [Address on File]          5/31/2023 USD                        $350.00 Customer Disbursement
                                                                                   TOTAL                            $350.00
        Confidential Customer USD Transferee #4022   [Address on File]          6/21/2023 USD                          $5.30 Customer Disbursement
                                                                                   TOTAL                               $5.30
        Confidential Customer USD Transferee #4023   [Address on File]          5/17/2023 USD                      $4,000.00 Customer Disbursement
                                                                                   TOTAL                           $4,000.00
        Confidential Customer USD Transferee #4024   [Address on File]          6/20/2023 USD                      $2,034.23 Customer Disbursement
        Confidential Customer USD Transferee #4024   [Address on File]          6/12/2023 USD                     $14,056.04 Customer Disbursement
                                                                                   TOTAL                          $16,090.27
        Confidential Customer USD Transferee #4025   [Address on File]          5/24/2023 USD                        $433.22 Customer Disbursement
                                                                                   TOTAL                            $433.22
        Confidential Customer USD Transferee #4026   [Address on File]          5/24/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $20.00
        Confidential Customer USD Transferee #4027   [Address on File]           6/6/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4027   [Address on File]          5/22/2023 USD                        $250.00 Customer Disbursement
                                                                                   TOTAL                            $500.00
        Confidential Customer USD Transferee #4028   [Address on File]          5/31/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4028   [Address on File]          5/23/2023 USD                        $529.00 Customer Disbursement
                                                                                   TOTAL                           $1,029.00
        Confidential Customer USD Transferee #4029   [Address on File]          6/16/2023 USD                        $382.32 Customer Disbursement
                                                                                   TOTAL                            $382.32

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4030   [Address on File]        6/14/2023 USD                    $88,992.95 Customer Disbursement
                                                                                 TOTAL                         $88,992.95
        Confidential Customer USD Transferee #4031   [Address on File]        6/15/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $20,000.00
        Confidential Customer USD Transferee #4032   [Address on File]        5/25/2023 USD                      $1,200.00 Customer Disbursement
                                                                                 TOTAL                           $1,200.00
        Confidential Customer USD Transferee #4033   [Address on File]         6/6/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #4034   [Address on File]        5/26/2023 USD                        $115.00 Customer Disbursement
                                                                                 TOTAL                            $115.00
        Confidential Customer USD Transferee #4035   [Address on File]         6/6/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4035   [Address on File]         6/2/2023 USD                        $400.00 Customer Disbursement
                                                                                 TOTAL                            $800.00
        Confidential Customer USD Transferee #4036   [Address on File]        5/16/2023 USD                         $51.38 Customer Disbursement
                                                                                 TOTAL                              $51.38
        Confidential Customer USD Transferee #4037   [Address on File]         6/7/2023 USD                        $781.72 Customer Disbursement
                                                                                 TOTAL                            $781.72
                                                     [Address on File]
        Confidential Customer USD Transferee #4038                              5/23/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #4039   [Address on File]          6/20/2023 USD                         $15.67 Customer Disbursement
                                                                                   TOTAL                              $15.67
        Confidential Customer USD Transferee #4040   [Address on File]          5/31/2023 USD                        $994.78 Customer Disbursement
                                                                                   TOTAL                             $994.78
        Confidential Customer USD Transferee #4041   [Address on File]          5/24/2023 USD                         $40.00 Customer Disbursement
        Confidential Customer USD Transferee #4041   [Address on File]          5/22/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4041   [Address on File]          5/17/2023 USD                         $18.00 Customer Disbursement
                                                                                   TOTAL                              $78.00
        Confidential Customer USD Transferee #4042   [Address on File]          5/17/2023 USD                         $28.00 Customer Disbursement
        Confidential Customer USD Transferee #4042   [Address on File]          5/17/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4042   [Address on File]          5/17/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4042   [Address on File]          5/17/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4042   [Address on File]          5/17/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4042   [Address on File]          5/17/2023 USD                         $18.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $126.00
        Confidential Customer USD Transferee #4043         [Address on File]        5/31/2023 USD                      $3,387.25 Customer Disbursement
        Confidential Customer USD Transferee #4043         [Address on File]        5/30/2023 USD                    $20,000.00 Customer Disbursement
                                                                                       TOTAL                         $23,387.25
                                                           [Address on File]
        Confidential Customer USD Transferee #4044                                    5/31/2023 USD                      $1,530.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4044                                    5/23/2023 USD                      $2,860.00 Customer Disbursement
                                                                                         TOTAL                           $4,390.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4045                                    6/13/2023 USD                        $832.03 Customer Disbursement
                                                                                         TOTAL                             $832.03
        Confidential Customer USD Transferee #4046         [Address on File]           6/6/2023 USD                        $297.77 Customer Disbursement
                                                                                         TOTAL                             $297.77
        Confidential Customer USD Transferee #4047         [Address on File]          6/20/2023 USD                         $99.73 Customer Disbursement
                                                                                         TOTAL                              $99.73
                                                           [Address on File]
        Confidential Customer USD Transferee #4048                                    6/21/2023 USD                      $5,000.00 Customer Disbursement
                                                                                         TOTAL                           $5,000.00
        Confidential Customer USD Transferee #4049         [Address on File]          6/12/2023 USD                        $168.36 Customer Disbursement
                                                                                         TOTAL                            $168.36
        Confidential Customer USD Transferee #4050         [Address on File]          6/13/2023 USD                      $8,352.86 Customer Disbursement
                                                                                         TOTAL                           $8,352.86
        Confidential Customer USD Transferee #4051         [Address on File]          5/31/2023 USD                          $2.00 Customer Disbursement
                                                                                         TOTAL                               $2.00
        Confidential Customer USD Transferee #4052         [Address on File]          6/21/2023 USD                        $189.80 Customer Disbursement
        Confidential Customer USD Transferee #4052         [Address on File]          6/16/2023 USD                      $1,140.45 Customer Disbursement
        Confidential Customer USD Transferee #4052         [Address on File]          5/30/2023 USD                        $600.00 Customer Disbursement
                                                                                         TOTAL                           $1,930.25
        Confidential Customer USD Transferee #4053         [Address on File]           6/5/2023 USD                      $2,819.10 Customer Disbursement
        Confidential Customer USD Transferee #4053         [Address on File]          5/17/2023 USD                      $2,881.21 Customer Disbursement
                                                                                         TOTAL                           $5,700.31
                                                           [Address on File]
        Confidential Customer USD Transferee #4054                                    5/23/2023 USD                         $86.20 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                              $86.20
        Confidential Customer USD Transferee #4055         [Address on File]        5/16/2023 USD                      $1,572.03 Customer Disbursement
                                                                                       TOTAL                           $1,572.03
        Confidential Customer USD Transferee #4056         [Address on File]         6/8/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                              $25.00
        Confidential Customer USD Transferee #4057         [Address on File]         6/5/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4057         [Address on File]         6/5/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4057         [Address on File]        5/25/2023 USD                         $25.00 Customer Disbursement
                                                                                       TOTAL                            $125.00
        Confidential Customer USD Transferee #4058         [Address on File]        5/23/2023 USD                          $5.00 Customer Disbursement
                                                                                       TOTAL                               $5.00
        Confidential Customer USD Transferee #4059         [Address on File]        5/30/2023 USD                        $350.00 Customer Disbursement
        Confidential Customer USD Transferee #4059         [Address on File]        5/23/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #4059         [Address on File]        5/16/2023 USD                         $65.00 Customer Disbursement
                                                                                       TOTAL                            $565.00
        Confidential Customer USD Transferee #4060         [Address on File]        5/31/2023 USD                        $400.00 Customer Disbursement
                                                                                       TOTAL                            $400.00
        Confidential Customer USD Transferee #4061         [Address on File]        5/23/2023 USD                      $1,085.71 Customer Disbursement
                                                                                       TOTAL                           $1,085.71
        Confidential Customer USD Transferee #4062         [Address on File]         6/8/2023 USD                      $1,078.64 Customer Disbursement
                                                                                       TOTAL                           $1,078.64
        Confidential Customer USD Transferee #4063         [Address on File]        5/25/2023 USD                        $862.39 Customer Disbursement
                                                                                       TOTAL                            $862.39
                                                           [Address on File]
        Confidential Customer USD Transferee #4064                                    6/12/2023 USD                         $15.25 Customer Disbursement
                                                                                         TOTAL                              $15.25
        Confidential Customer USD Transferee #4065         [Address on File]          5/31/2023 USD                         $20.00 Customer Disbursement
                                                                                         TOTAL                              $20.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4066                                    6/20/2023 USD                         $27.00 Customer Disbursement
                                                                                         TOTAL                              $27.00
        Confidential Customer USD Transferee #4067         [Address on File]           6/8/2023 USD                        $467.00 Customer Disbursement
        Confidential Customer USD Transferee #4067         [Address on File]           6/5/2023 USD                         $68.00 Customer Disbursement
        Confidential Customer USD Transferee #4067         [Address on File]           6/1/2023 USD                        $170.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4067   [Address on File]        5/23/2023 USD                        $209.00 Customer Disbursement
        Confidential Customer USD Transferee #4067   [Address on File]        5/22/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4067   [Address on File]        5/17/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                           $1,114.00
        Confidential Customer USD Transferee #4068   [Address on File]         6/5/2023 USD                      $1,117.27 Customer Disbursement
                                                                                 TOTAL                           $1,117.27
        Confidential Customer USD Transferee #4069   [Address on File]         6/2/2023 USD                         $20.00 Customer Disbursement
                                                                                 TOTAL                              $20.00
        Confidential Customer USD Transferee #4070   [Address on File]        6/14/2023 USD                         $80.11 Customer Disbursement
        Confidential Customer USD Transferee #4070   [Address on File]         6/8/2023 USD                        $292.65 Customer Disbursement
                                                                                 TOTAL                            $372.76
        Confidential Customer USD Transferee #4071   [Address on File]         6/5/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $3,000.00
        Confidential Customer USD Transferee #4072   [Address on File]         6/5/2023 USD                      $1,757.99 Customer Disbursement
                                                                                 TOTAL                           $1,757.99
                                                     [Address on File]
        Confidential Customer USD Transferee #4073                               6/7/2023 USD                      $3,220.00 Customer Disbursement
                                                                                   TOTAL                           $3,220.00
        Confidential Customer USD Transferee #4074   [Address on File]          5/31/2023 USD                         $30.00 Customer Disbursement
                                                                                   TOTAL                              $30.00
        Confidential Customer USD Transferee #4075   [Address on File]          5/23/2023 USD                        $953.00 Customer Disbursement
        Confidential Customer USD Transferee #4075   [Address on File]          5/16/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,953.00
        Confidential Customer USD Transferee #4076   [Address on File]          6/14/2023 USD                        $232.26 Customer Disbursement
                                                                                   TOTAL                            $232.26
        Confidential Customer USD Transferee #4077   [Address on File]           6/6/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4077   [Address on File]           6/6/2023 USD                        $185.18 Customer Disbursement
        Confidential Customer USD Transferee #4077   [Address on File]          5/17/2023 USD                        $156.42 Customer Disbursement
                                                                                   TOTAL                            $841.60
        Confidential Customer USD Transferee #4078   [Address on File]          6/16/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
        Confidential Customer USD Transferee #4079   [Address on File]           6/9/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4079   [Address on File]          5/22/2023 USD                      $2,026.27 Customer Disbursement
                                                                                   TOTAL                           $7,026.27

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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4080                                    5/30/2023 USD                        $400.00 Customer Disbursement
                                                                                         TOTAL                            $400.00
        Confidential Customer USD Transferee #4081         [Address on File]          6/14/2023 USD                        $796.00 Customer Disbursement
        Confidential Customer USD Transferee #4081         [Address on File]          5/24/2023 USD                      $3,301.00 Customer Disbursement
                                                                                         TOTAL                           $4,097.00
        Confidential Customer USD Transferee #4082         [Address on File]           6/1/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #4083         [Address on File]          5/23/2023 USD                        $456.75 Customer Disbursement
                                                                                         TOTAL                            $456.75
        Confidential Customer USD Transferee #4084         [Address on File]          5/31/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #4085         [Address on File]           6/5/2023 USD                      $1,485.00 Customer Disbursement
        Confidential Customer USD Transferee #4085         [Address on File]          5/30/2023 USD                      $1,385.00 Customer Disbursement
        Confidential Customer USD Transferee #4085         [Address on File]          5/23/2023 USD                      $1,300.00 Customer Disbursement
                                                                                         TOTAL                           $4,170.00
        Confidential Customer USD Transferee #4086         [Address on File]           6/1/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4086         [Address on File]           6/1/2023 USD                      $2,216.81 Customer Disbursement
        Confidential Customer USD Transferee #4086         [Address on File]          5/31/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4086         [Address on File]          5/18/2023 USD                      $2,159.09 Customer Disbursement
                                                                                         TOTAL                           $7,375.90
        Confidential Customer USD Transferee #4087         [Address on File]           6/1/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4088                                    6/22/2023 USD                             $6.28 Customer Disbursement
                                                                                         TOTAL                                  $6.28
                                                           [Address on File]
        Confidential Customer USD Transferee #4089                                    6/21/2023 USD                         $25.00 Customer Disbursement
                                                                                         TOTAL                              $25.00
        Confidential Customer USD Transferee #4090         [Address on File]          6/20/2023 USD                     $25,739.00 Customer Disbursement
        Confidential Customer USD Transferee #4090         [Address on File]           6/9/2023 USD                     $13,952.00 Customer Disbursement
        Confidential Customer USD Transferee #4090         [Address on File]           6/8/2023 USD                     $46,140.00 Customer Disbursement
                                                                                         TOTAL                          $85,831.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4091                                    6/16/2023 USD                     $19,661.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4091                                     6/9/2023 USD                      $9,396.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4091                                     6/2/2023 USD                      $6,603.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4091                                    5/26/2023 USD                     $21,806.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4091                                    5/18/2023 USD                     $19,816.00 Customer Disbursement
                                                                                         TOTAL                          $77,282.00
        Confidential Customer USD Transferee #4092         [Address on File]           6/6/2023 USD                         $56.00 Customer Disbursement
                                                                                         TOTAL                              $56.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4093                                    6/21/2023 USD                         $61.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4093                                    6/20/2023 USD                        $200.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4093                                     6/6/2023 USD                        $200.00 Customer Disbursement
                                                                                         TOTAL                            $461.00
        Confidential Customer USD Transferee #4094         [Address on File]           6/7/2023 USD                        $112.00 Customer Disbursement
        Confidential Customer USD Transferee #4094         [Address on File]           6/7/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $212.00
        Confidential Customer USD Transferee #4095         [Address on File]          6/12/2023 USD                        $772.97 Customer Disbursement
                                                                                         TOTAL                            $772.97
        Confidential Customer USD Transferee #4096         [Address on File]          5/31/2023 USD                         $40.70 Customer Disbursement
                                                                                         TOTAL                              $40.70
        Confidential Customer USD Transferee #4097         [Address on File]          6/16/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #4098         [Address on File]          5/18/2023 USD                     $40,474.88 Customer Disbursement
                                                                                         TOTAL                          $40,474.88
        Confidential Customer USD Transferee #4099         [Address on File]          5/23/2023 USD                     $16,892.15 Customer Disbursement
                                                                                         TOTAL                          $16,892.15
        Confidential Customer USD Transferee #4100         [Address on File]          5/18/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4101   [Address on File]         6/7/2023 USD                        $776.81 Customer Disbursement
                                                                                 TOTAL                            $776.81
        Confidential Customer USD Transferee #4102   [Address on File]        5/26/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #4103   [Address on File]        6/13/2023 USD                      $2,016.87 Customer Disbursement
                                                                                 TOTAL                           $2,016.87
        Confidential Customer USD Transferee #4104   [Address on File]        6/16/2023 USD                        $325.00 Customer Disbursement
                                                                                 TOTAL                            $325.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4105                               6/7/2023 USD                          $0.88 Customer Disbursement
                                                                                   TOTAL                               $0.88
        Confidential Customer USD Transferee #4106   [Address on File]          5/24/2023 USD                         $63.50 Customer Disbursement
                                                                                   TOTAL                              $63.50
        Confidential Customer USD Transferee #4107   [Address on File]          5/22/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
        Confidential Customer USD Transferee #4108   [Address on File]          5/31/2023 USD                        $137.00 Customer Disbursement
                                                                                   TOTAL                            $137.00
        Confidential Customer USD Transferee #4109   [Address on File]          5/25/2023 USD                         $54.44 Customer Disbursement
        Confidential Customer USD Transferee #4109   [Address on File]          5/25/2023 USD                        $494.25 Customer Disbursement
                                                                                   TOTAL                            $548.69
        Confidential Customer USD Transferee #4110   [Address on File]          6/16/2023 USD                      $1,713.52 Customer Disbursement
        Confidential Customer USD Transferee #4110   [Address on File]          5/31/2023 USD                      $1,898.61 Customer Disbursement
        Confidential Customer USD Transferee #4110   [Address on File]          5/30/2023 USD                      $1,810.43 Customer Disbursement
        Confidential Customer USD Transferee #4110   [Address on File]          5/23/2023 USD                      $1,797.32 Customer Disbursement
                                                                                   TOTAL                           $7,219.88
        Confidential Customer USD Transferee #4111   [Address on File]          6/16/2023 USD                         $16.46 Customer Disbursement
                                                                                   TOTAL                              $16.46
        Confidential Customer USD Transferee #4112   [Address on File]          5/31/2023 USD                          $4.08 Customer Disbursement
                                                                                   TOTAL                               $4.08
        Confidential Customer USD Transferee #4113   [Address on File]           6/2/2023 USD                      $3,562.04 Customer Disbursement
                                                                                   TOTAL                           $3,562.04
        Confidential Customer USD Transferee #4114   [Address on File]           6/6/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4114   [Address on File]           6/6/2023 USD                      $2,886.91 Customer Disbursement
                                                                                   TOTAL                           $4,886.91

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #4115   [Address on File]        6/21/2023 USD                       $127.16 Customer Disbursement
                                                                                 TOTAL                            $127.16
                                                     [Address on File]
        Confidential Customer USD Transferee #4116                              6/16/2023 USD                         $21.54 Customer Disbursement
                                                                                   TOTAL                              $21.54
        Confidential Customer USD Transferee #4117   [Address on File]          5/22/2023 USD                          $1.00 Customer Disbursement
                                                                                   TOTAL                               $1.00
        Confidential Customer USD Transferee #4118   [Address on File]           6/7/2023 USD                        $482.33 Customer Disbursement
                                                                                   TOTAL                            $482.33
        Confidential Customer USD Transferee #4119   [Address on File]           6/7/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4119   [Address on File]           6/6/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $6,000.00
        Confidential Customer USD Transferee #4120   [Address on File]          5/22/2023 USD                     $34,238.30 Customer Disbursement
                                                                                   TOTAL                          $34,238.30
        Confidential Customer USD Transferee #4121   [Address on File]          6/16/2023 USD                      $5,016.94 Customer Disbursement
                                                                                   TOTAL                           $5,016.94
                                                     [Address on File]
        Confidential Customer USD Transferee #4122                               6/7/2023 USD                         $10.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4122                               6/7/2023 USD                        $200.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4122                               6/7/2023 USD                        $869.00 Customer Disbursement
                                                                                  TOTAL                            $1,079.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4123                              6/21/2023 USD                         $56.49 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4123                              6/20/2023 USD                          $5.00 Customer Disbursement
                                                                                   TOTAL                              $61.49
        Confidential Customer USD Transferee #4124   [Address on File]          6/21/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
        Confidential Customer USD Transferee #4125   [Address on File]          5/24/2023 USD                      $1,005.00 Customer Disbursement
                                                                                   TOTAL                           $1,005.00
        Confidential Customer USD Transferee #4126   [Address on File]          5/24/2023 USD                     $10,321.52 Customer Disbursement
                                                                                   TOTAL                          $10,321.52

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4127   [Address on File]        6/12/2023 USD                      $2,079.64 Customer Disbursement
        Confidential Customer USD Transferee #4127   [Address on File]         6/7/2023 USD                      $1,575.00 Customer Disbursement
                                                                                 TOTAL                           $3,654.64
        Confidential Customer USD Transferee #4128   [Address on File]        6/21/2023 USD                        $521.00 Customer Disbursement
                                                                                 TOTAL                            $521.00
        Confidential Customer USD Transferee #4129   [Address on File]         6/5/2023 USD                        $494.00 Customer Disbursement
                                                                                 TOTAL                            $494.00
        Confidential Customer USD Transferee #4130   [Address on File]         6/9/2023 USD                      $4,605.00 Customer Disbursement
        Confidential Customer USD Transferee #4130   [Address on File]        5/16/2023 USD                      $4,705.00 Customer Disbursement
                                                                                 TOTAL                           $9,310.00
        Confidential Customer USD Transferee #4131   [Address on File]        6/20/2023 USD                        $950.00 Customer Disbursement
                                                                                 TOTAL                            $950.00
        Confidential Customer USD Transferee #4132   [Address on File]         6/1/2023 USD                         $51.67 Customer Disbursement
                                                                                 TOTAL                              $51.67
        Confidential Customer USD Transferee #4133   [Address on File]         6/1/2023 USD                         $82.55 Customer Disbursement
        Confidential Customer USD Transferee #4133   [Address on File]        6/12/2023 USD                          $0.57 Customer Disbursement
                                                                                 TOTAL                              $83.12
        Confidential Customer USD Transferee #4134   [Address on File]        6/20/2023 USD                      $7,154.66 Customer Disbursement
                                                                                 TOTAL                           $7,154.66
        Confidential Customer USD Transferee #4135   [Address on File]        6/16/2023 USD                        $661.74 Customer Disbursement
                                                                                 TOTAL                            $661.74
        Confidential Customer USD Transferee #4136   [Address on File]         6/5/2023 USD                        $320.00 Customer Disbursement
        Confidential Customer USD Transferee #4136   [Address on File]        5/31/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4136   [Address on File]        5/26/2023 USD                         $71.86 Customer Disbursement
                                                                                 TOTAL                            $641.86
        Confidential Customer USD Transferee #4137   [Address on File]         6/6/2023 USD                      $2,500.00 Customer Disbursement
                                                                                 TOTAL                           $2,500.00
        Confidential Customer USD Transferee #4138   [Address on File]        5/30/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4138   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4138   [Address on File]        5/23/2023 USD                         $37.40 Customer Disbursement
                                                                                 TOTAL                           $4,037.40
        Confidential Customer USD Transferee #4139   [Address on File]        5/17/2023 USD                    $60,557.42 Customer Disbursement
                                                                                 TOTAL                         $60,557.42
        Confidential Customer USD Transferee #4140   [Address on File]        5/25/2023 USD                          $6.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                               $6.00
        Confidential Customer USD Transferee #4141         [Address on File]         6/7/2023 USD                      $2,505.01 Customer Disbursement
                                                                                       TOTAL                           $2,505.01
        Confidential Customer USD Transferee #4142         [Address on File]        6/16/2023 USD                        $258.19 Customer Disbursement
                                                                                       TOTAL                            $258.19
        Confidential Customer USD Transferee #4143         [Address on File]        5/17/2023 USD                        $400.00 Customer Disbursement
                                                                                       TOTAL                            $400.00
        Confidential Customer USD Transferee #4144         [Address on File]        5/22/2023 USD                        $457.39 Customer Disbursement
                                                                                       TOTAL                            $457.39
        Confidential Customer USD Transferee #4145         [Address on File]        5/22/2023 USD                         $52.00 Customer Disbursement
                                                                                       TOTAL                              $52.00
        Confidential Customer USD Transferee #4146         [Address on File]        6/21/2023 USD                    $20,000.00 Customer Disbursement
                                                                                       TOTAL                         $20,000.00
        Confidential Customer USD Transferee #4147         [Address on File]        6/16/2023 USD                         $24.00 Customer Disbursement
                                                                                       TOTAL                              $24.00
        Confidential Customer USD Transferee #4148         [Address on File]        6/16/2023 USD                         $46.10 Customer Disbursement
        Confidential Customer USD Transferee #4148         [Address on File]         6/6/2023 USD                         $32.08 Customer Disbursement
        Confidential Customer USD Transferee #4148         [Address on File]        5/23/2023 USD                         $71.04 Customer Disbursement
        Confidential Customer USD Transferee #4148         [Address on File]        5/19/2023 USD                         $46.08 Customer Disbursement
                                                                                       TOTAL                            $195.30
        Confidential Customer USD Transferee #4149         [Address on File]        5/17/2023 USD                        $189.00 Customer Disbursement
                                                                                       TOTAL                            $189.00
        Confidential Customer USD Transferee #4150         [Address on File]        5/25/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4150         [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4150         [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4150         [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4150         [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4150         [Address on File]        5/23/2023 USD                      $1,000.00 Customer Disbursement
                                                                                       TOTAL                         $15,000.00
        Confidential Customer USD Transferee #4151         [Address on File]        5/18/2023 USD                         $10.00 Customer Disbursement
                                                                                       TOTAL                              $10.00
        Confidential Customer USD Transferee #4152         [Address on File]         6/7/2023 USD                          $3.80 Customer Disbursement
        Confidential Customer USD Transferee #4152         [Address on File]         6/2/2023 USD                          $5.00 Customer Disbursement
                                                                                       TOTAL                               $8.80

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4153   [Address on File]         6/6/2023 USD                         $54.00 Customer Disbursement
                                                                                 TOTAL                              $54.00
        Confidential Customer USD Transferee #4154   [Address on File]        6/22/2023 USD                      $2,360.54 Customer Disbursement
        Confidential Customer USD Transferee #4154   [Address on File]        6/13/2023 USD                        $164.18 Customer Disbursement
                                                                                 TOTAL                           $2,524.72
        Confidential Customer USD Transferee #4155   [Address on File]        6/16/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #4156   [Address on File]         6/5/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4156   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4156   [Address on File]        5/17/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $6,000.00
        Confidential Customer USD Transferee #4157   [Address on File]        6/21/2023 USD                        $365.61 Customer Disbursement
        Confidential Customer USD Transferee #4157   [Address on File]         6/8/2023 USD                        $401.16 Customer Disbursement
                                                                                 TOTAL                            $766.77
        Confidential Customer USD Transferee #4158   [Address on File]         6/1/2023 USD                      $1,191.41 Customer Disbursement
                                                                                 TOTAL                           $1,191.41
        Confidential Customer USD Transferee #4159   [Address on File]        6/20/2023 USD                    $76,550.26 Customer Disbursement
        Confidential Customer USD Transferee #4159   [Address on File]        6/16/2023 USD                      $5,000.00 Customer Disbursement
                                                                                 TOTAL                         $81,550.26
        Confidential Customer USD Transferee #4160   [Address on File]        6/20/2023 USD                          $4.48 Customer Disbursement
                                                                                 TOTAL                               $4.48
        Confidential Customer USD Transferee #4161   [Address on File]        5/26/2023 USD                      $1,207.78 Customer Disbursement
                                                                                 TOTAL                           $1,207.78
        Confidential Customer USD Transferee #4162   [Address on File]        6/13/2023 USD                         $15.25 Customer Disbursement
                                                                                 TOTAL                              $15.25
        Confidential Customer USD Transferee #4163   [Address on File]         6/9/2023 USD                         $80.49 Customer Disbursement
                                                                                 TOTAL                              $80.49
        Confidential Customer USD Transferee #4164   [Address on File]         6/1/2023 USD                        $107.50 Customer Disbursement
        Confidential Customer USD Transferee #4164   [Address on File]        5/31/2023 USD                         $89.00 Customer Disbursement
        Confidential Customer USD Transferee #4164   [Address on File]        5/30/2023 USD                        $202.00 Customer Disbursement
                                                                                 TOTAL                            $398.50
        Confidential Customer USD Transferee #4165   [Address on File]        6/16/2023 USD                    $10,043.89 Customer Disbursement
                                                                                 TOTAL                         $10,043.89
        Confidential Customer USD Transferee #4166   [Address on File]        5/30/2023 USD                         $30.00 Customer Disbursement

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #4166   [Address on File]        5/23/2023 USD                        $26.93 Customer Disbursement
                                                                                 TOTAL                             $56.93
                                                     [Address on File]
        Confidential Customer USD Transferee #4167                               6/2/2023 USD                        $139.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4167                               6/1/2023 USD                        $561.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4167                              5/31/2023 USD                      $2,000.00 Customer Disbursement
                                                                                   TOTAL                           $2,700.00
        Confidential Customer USD Transferee #4168   [Address on File]          6/20/2023 USD                      $1,272.40 Customer Disbursement
                                                                                   TOTAL                           $1,272.40
        Confidential Customer USD Transferee #4169   [Address on File]           6/9/2023 USD                         $30.00 Customer Disbursement
                                                                                   TOTAL                              $30.00
        Confidential Customer USD Transferee #4170   [Address on File]          6/22/2023 USD                        $994.77 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]          6/22/2023 USD                        $903.87 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]          6/14/2023 USD                        $445.21 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]           6/8/2023 USD                      $2,992.38 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]           6/7/2023 USD                        $794.59 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]           6/1/2023 USD                      $1,270.10 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]          5/24/2023 USD                      $2,990.03 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]          5/23/2023 USD                      $1,691.06 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]          5/23/2023 USD                      $2,989.67 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]          5/23/2023 USD                      $1,292.42 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]          5/22/2023 USD                      $2,991.47 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]          5/19/2023 USD                      $2,990.86 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]          5/18/2023 USD                      $2,991.70 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]          5/16/2023 USD                        $904.26 Customer Disbursement
        Confidential Customer USD Transferee #4170   [Address on File]          5/16/2023 USD                      $2,991.96 Customer Disbursement
                                                                                   TOTAL                          $29,234.35
        Confidential Customer USD Transferee #4171   [Address on File]          5/31/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
        Confidential Customer USD Transferee #4172   [Address on File]           6/6/2023 USD                        $993.56 Customer Disbursement
                                                                                   TOTAL                            $993.56
        Confidential Customer USD Transferee #4173   [Address on File]          5/23/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $20.00
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                                                                                                                                      Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount               Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4174                                    6/21/2023 USD                         $87.29 Customer Disbursement
                                                                                         TOTAL                              $87.29
        Confidential Customer USD Transferee #4175         [Address on File]          6/12/2023 USD                      $1,385.00 Customer Disbursement
        Confidential Customer USD Transferee #4175         [Address on File]          6/12/2023 USD                         $40.00 Customer Disbursement
                                                                                         TOTAL                           $1,425.00
        Confidential Customer USD Transferee #4176         [Address on File]          5/23/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #4177         [Address on File]           6/6/2023 USD                        $599.51 Customer Disbursement
                                                                                         TOTAL                            $599.51
        Confidential Customer USD Transferee #4178         [Address on File]          6/21/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $20,000.00
        Confidential Customer USD Transferee #4179         [Address on File]          6/16/2023 USD                         $14.00 Customer Disbursement
                                                                                         TOTAL                              $14.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4180                                    5/26/2023 USD                             $8.10 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4180                                    5/26/2023 USD                         $1.54 Customer Disbursement
                                                                                         TOTAL                              $9.64
        Confidential Customer USD Transferee #4181         [Address on File]           6/8/2023 USD                    $41,215.52 Customer Disbursement
        Confidential Customer USD Transferee #4181         [Address on File]           6/1/2023 USD                    $49,434.39 Customer Disbursement
        Confidential Customer USD Transferee #4181         [Address on File]          5/31/2023 USD                        $49.50 Customer Disbursement
        Confidential Customer USD Transferee #4181         [Address on File]          5/31/2023 USD                        $99.00 Customer Disbursement
        Confidential Customer USD Transferee #4181         [Address on File]          5/31/2023 USD                        $39.54 Customer Disbursement
        Confidential Customer USD Transferee #4181         [Address on File]          5/31/2023 USD                    $19,772.01 Customer Disbursement
                                                                                         TOTAL                        $110,609.96
        Confidential Customer USD Transferee #4182         [Address on File]          5/18/2023 USD                       $241.43 Customer Disbursement
                                                                                         TOTAL                           $241.43
        Confidential Customer USD Transferee #4183         [Address on File]           6/8/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4183         [Address on File]           6/8/2023 USD                       $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4183         [Address on File]           6/8/2023 USD                       $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4183         [Address on File]           6/8/2023 USD                       $158.00 Customer Disbursement
        Confidential Customer USD Transferee #4183         [Address on File]          5/31/2023 USD                     $1,180.03 Customer Disbursement
                                                                                         TOTAL                          $2,338.03

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4184   [Address on File]        6/15/2023 USD                        $161.04 Customer Disbursement
                                                                                 TOTAL                            $161.04
        Confidential Customer USD Transferee #4185   [Address on File]         6/2/2023 USD                        $125.00 Customer Disbursement
        Confidential Customer USD Transferee #4185   [Address on File]         6/1/2023 USD                        $750.00 Customer Disbursement
                                                                                 TOTAL                            $875.00
        Confidential Customer USD Transferee #4186   [Address on File]        6/22/2023 USD                        $632.44 Customer Disbursement
                                                                                 TOTAL                            $632.44
        Confidential Customer USD Transferee #4187   [Address on File]        5/31/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4187   [Address on File]        5/17/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,500.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4188                              5/31/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #4189   [Address on File]           6/6/2023 USD                        $339.31 Customer Disbursement
        Confidential Customer USD Transferee #4189   [Address on File]           6/6/2023 USD                        $211.56 Customer Disbursement
                                                                                   TOTAL                             $550.87
                                                     [Address on File]
        Confidential Customer USD Transferee #4190                              6/22/2023 USD                      $1,999.97 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4190                              6/21/2023 USD                      $9,123.28 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4190                              5/19/2023 USD                      $7,065.20 Customer Disbursement
                                                                                   TOTAL                          $18,188.45
        Confidential Customer USD Transferee #4191   [Address on File]          6/21/2023 USD                      $8,594.92 Customer Disbursement
        Confidential Customer USD Transferee #4191   [Address on File]          6/20/2023 USD                     $20,000.00 Customer Disbursement
                                                                                   TOTAL                          $28,594.92
        Confidential Customer USD Transferee #4192   [Address on File]          5/23/2023 USD                          $1.00 Customer Disbursement
                                                                                   TOTAL                               $1.00
        Confidential Customer USD Transferee #4193   [Address on File]           6/8/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4193   [Address on File]          5/17/2023 USD                          $1.06 Customer Disbursement
                                                                                   TOTAL                               $1.07
        Confidential Customer USD Transferee #4194   [Address on File]          6/20/2023 USD                         $30.38 Customer Disbursement
                                                                                   TOTAL                              $30.38
        Confidential Customer USD Transferee #4195   [Address on File]          5/26/2023 USD                        $106.30 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                            $106.30
        Confidential Customer USD Transferee #4196         [Address on File]        5/19/2023 USD                        $710.24 Customer Disbursement
                                                                                       TOTAL                            $710.24
        Confidential Customer USD Transferee #4197         [Address on File]        6/22/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/21/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/21/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/21/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/21/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/21/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/21/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/20/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/16/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/15/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/14/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/13/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/13/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        6/12/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        5/31/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4197         [Address on File]        5/16/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                        $126,400.00
        Confidential Customer USD Transferee #4198         [Address on File]        6/20/2023 USD                      $5,372.36 Customer Disbursement
                                                                                       TOTAL                           $5,372.36
                                                           [Address on File]
        Confidential Customer USD Transferee #4199                                    5/19/2023 USD                        $350.00 Customer Disbursement
                                                                                         TOTAL                            $350.00
        Confidential Customer USD Transferee #4200         [Address on File]           6/9/2023 USD                        $367.00 Customer Disbursement
        Confidential Customer USD Transferee #4200         [Address on File]           6/8/2023 USD                        $536.00 Customer Disbursement
                                                                                         TOTAL                            $903.00
        Confidential Customer USD Transferee #4201         [Address on File]          5/31/2023 USD                        $199.60 Customer Disbursement
                                                                                         TOTAL                            $199.60
        Confidential Customer USD Transferee #4202         [Address on File]           6/6/2023 USD                      $1,200.00 Customer Disbursement
                                                                                         TOTAL                           $1,200.00
        Confidential Customer USD Transferee #4203         [Address on File]          5/24/2023 USD                      $2,000.00 Customer Disbursement
                                                                                         TOTAL                           $2,000.00
        Confidential Customer USD Transferee #4204         [Address on File]          6/22/2023 USD                      $9,000.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
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        Confidential Customer USD Transferee #4204   [Address on File]        6/21/2023 USD                      $9,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4204   [Address on File]        6/21/2023 USD                      $9,000.00 Customer Disbursement
                                                                                 TOTAL                         $27,000.00
        Confidential Customer USD Transferee #4205   [Address on File]        5/23/2023 USD                       $320.00 Customer Disbursement
                                                                                 TOTAL                            $320.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4206                              5/16/2023 USD                        $500.00 Customer Disbursement
                                                                                   TOTAL                            $500.00
        Confidential Customer USD Transferee #4207   [Address on File]           6/2/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4207   [Address on File]          5/26/2023 USD                      $5,000.00 Customer Disbursement
                                                                                   TOTAL                          $10,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4208                              5/16/2023 USD                        $774.19 Customer Disbursement
                                                                                   TOTAL                            $774.19
        Confidential Customer USD Transferee #4209   [Address on File]          5/23/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #4210   [Address on File]          6/21/2023 USD                      $2,100.00 Customer Disbursement
        Confidential Customer USD Transferee #4210   [Address on File]          6/21/2023 USD                      $5,556.00 Customer Disbursement
        Confidential Customer USD Transferee #4210   [Address on File]          6/20/2023 USD                      $2,200.00 Customer Disbursement
                                                                                   TOTAL                           $9,856.00
        Confidential Customer USD Transferee #4211   [Address on File]          6/16/2023 USD                         $25.00 Customer Disbursement
                                                                                   TOTAL                              $25.00
        Confidential Customer USD Transferee #4212   [Address on File]           6/8/2023 USD                      $5,476.64 Customer Disbursement
                                                                                   TOTAL                           $5,476.64
        Confidential Customer USD Transferee #4213   [Address on File]          6/12/2023 USD                      $1,100.00 Customer Disbursement
        Confidential Customer USD Transferee #4213   [Address on File]           6/8/2023 USD                        $380.00 Customer Disbursement
        Confidential Customer USD Transferee #4213   [Address on File]          5/31/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4213   [Address on File]          5/30/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4213   [Address on File]          5/25/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #4213   [Address on File]          5/22/2023 USD                        $250.00 Customer Disbursement
                                                                                   TOTAL                           $2,480.00
        Confidential Customer USD Transferee #4214   [Address on File]          5/19/2023 USD                         $71.00 Customer Disbursement
        Confidential Customer USD Transferee #4214   [Address on File]          5/18/2023 USD                         $20.00 Customer Disbursement
                                                                                   TOTAL                              $91.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4215   [Address on File]        5/31/2023 USD                         $20.78 Customer Disbursement
                                                                                 TOTAL                              $20.78
        Confidential Customer USD Transferee #4216   [Address on File]        6/21/2023 USD                    $750,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        6/21/2023 USD                    $750,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        6/21/2023 USD                    $415,631.13 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        6/16/2023 USD                     $76,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        6/16/2023 USD                    $500,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        6/15/2023 USD                    $500,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        6/12/2023 USD                    $200,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]         6/8/2023 USD                     $44,896.74 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]         6/7/2023 USD                    $369,872.73 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]         6/6/2023 USD                    $300,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]         6/6/2023 USD                    $310,675.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]         6/6/2023 USD                    $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]         6/6/2023 USD                     $28,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]         6/5/2023 USD                    $150,617.50 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]         6/1/2023 USD                    $500,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        5/31/2023 USD                    $150,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        5/31/2023 USD                    $320,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        5/30/2023 USD                    $540,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        5/26/2023 USD                    $134,513.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        5/25/2023 USD                    $675,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        5/23/2023 USD                    $200,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4216   [Address on File]        5/23/2023 USD                     $50,000.00 Customer Disbursement
                                                                                 TOTAL                       $7,065,206.10
        Confidential Customer USD Transferee #4217   [Address on File]        6/21/2023 USD                    $113,400.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        6/21/2023 USD                    $400,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        6/21/2023 USD                    $700,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        6/21/2023 USD                    $490,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        6/15/2023 USD                    $500,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        6/14/2023 USD                    $300,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        6/13/2023 USD                  $1,000,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        6/12/2023 USD                    $500,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        6/12/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]         6/8/2023 USD                     $80,000.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4217   [Address on File]         6/8/2023 USD                    $136,630.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]         6/8/2023 USD                    $663,370.20 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]         6/7/2023 USD                    $324,625.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]         6/7/2023 USD                    $900,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]         6/6/2023 USD                    $104,751.18 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]         6/6/2023 USD                    $300,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]         6/2/2023 USD                    $305,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        5/25/2023 USD                    $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        5/16/2023 USD                    $945,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        5/16/2023 USD                    $500,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4217   [Address on File]        5/16/2023 USD                    $600,000.00 Customer Disbursement
                                                                                 TOTAL                       $8,967,776.38
        Confidential Customer USD Transferee #4218   [Address on File]        6/21/2023 USD                    $642,962.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        6/21/2023 USD                    $500,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        6/16/2023 USD                  $1,000,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        6/16/2023 USD                  $1,000,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        6/16/2023 USD                    $147,923.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        6/15/2023 USD                    $120,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        6/15/2023 USD                    $300,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        6/15/2023 USD                     $50,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        6/15/2023 USD                    $500,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        6/14/2023 USD                     $45,651.75 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        6/12/2023 USD                    $428,918.50 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        6/12/2023 USD                     $30,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]         6/8/2023 USD                    $136,630.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]         6/6/2023 USD                    $300,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]         6/5/2023 USD                    $300,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]         6/1/2023 USD                    $430,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]         6/1/2023 USD                    $580,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]         6/1/2023 USD                    $100,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/31/2023 USD                    $155,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/30/2023 USD                    $437,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/26/2023 USD                    $942,120.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/25/2023 USD                     $25,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/25/2023 USD                    $244,448.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/24/2023 USD                     $45,000.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4218   [Address on File]        5/23/2023 USD                    $400,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/23/2023 USD                    $200,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/19/2023 USD                    $430,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/18/2023 USD                    $900,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/16/2023 USD                     $50,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/16/2023 USD                     $22,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4218   [Address on File]        5/16/2023 USD                    $100,000.00 Customer Disbursement
                                                                                 TOTAL                      $10,562,653.25
        Confidential Customer USD Transferee #4219   [Address on File]        5/23/2023 USD                        $306.30 Customer Disbursement
                                                                                 TOTAL                            $306.30
        Confidential Customer USD Transferee #4220   [Address on File]        5/18/2023 USD                         $49.00 Customer Disbursement
                                                                                 TOTAL                              $49.00
        Confidential Customer USD Transferee #4219   [Address on File]        5/18/2023 USD                         $25.13 Customer Disbursement
                                                                                 TOTAL                              $25.13
        Confidential Customer USD Transferee #4221   [Address on File]         6/6/2023 USD                        $235.64 Customer Disbursement
                                                                                 TOTAL                            $235.64
                                                     [Address on File]
        Confidential Customer USD Transferee #4222                              6/20/2023 USD                        $265.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4222                              6/15/2023 USD                      $4,717.99 Customer Disbursement
                                                                                   TOTAL                           $4,982.99
        Confidential Customer USD Transferee #4223   [Address on File]          5/31/2023 USD                        $675.00 Customer Disbursement
                                                                                   TOTAL                            $675.00
        Confidential Customer USD Transferee #4224   [Address on File]          6/20/2023 USD                      $9,618.43 Customer Disbursement
                                                                                   TOTAL                           $9,618.43
        Confidential Customer USD Transferee #4225   [Address on File]           6/5/2023 USD                         $10.00 Customer Disbursement
                                                                                   TOTAL                              $10.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4226                              6/21/2023 USD                         $28.28 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4226                              5/17/2023 USD                      $2,663.00 Customer Disbursement
                                                                                   TOTAL                           $2,691.28
        Confidential Customer USD Transferee #4227   [Address on File]           6/5/2023 USD                        $201.10 Customer Disbursement
                                                                                   TOTAL                            $201.10

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4228   [Address on File]        5/17/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #4229   [Address on File]        6/21/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
        Confidential Customer USD Transferee #4230   [Address on File]        5/31/2023 USD                      $7,337.40 Customer Disbursement
                                                                                 TOTAL                           $7,337.40
        Confidential Customer USD Transferee #4231   [Address on File]        5/30/2023 USD                        $758.28 Customer Disbursement
                                                                                 TOTAL                            $758.28
        Confidential Customer USD Transferee #4232   [Address on File]         6/5/2023 USD                      $2,356.31 Customer Disbursement
                                                                                 TOTAL                           $2,356.31
        Confidential Customer USD Transferee #4233   [Address on File]        6/13/2023 USD                         $76.00 Customer Disbursement
                                                                                 TOTAL                              $76.00
        Confidential Customer USD Transferee #4234   [Address on File]        5/16/2023 USD                        $474.73 Customer Disbursement
                                                                                 TOTAL                            $474.73
                                                     [Address on File]
        Confidential Customer USD Transferee #4235                              5/16/2023 USD                        $585.21 Customer Disbursement
                                                                                   TOTAL                            $585.21
        Confidential Customer USD Transferee #4236   [Address on File]          6/16/2023 USD                         $17.00 Customer Disbursement
                                                                                   TOTAL                              $17.00
        Confidential Customer USD Transferee #4237   [Address on File]           6/6/2023 USD                         $96.25 Customer Disbursement
                                                                                   TOTAL                              $96.25
        Confidential Customer USD Transferee #4238   [Address on File]           6/6/2023 USD                          $9.95 Customer Disbursement
                                                                                   TOTAL                               $9.95
        Confidential Customer USD Transferee #4239   [Address on File]           6/5/2023 USD                        $122.06 Customer Disbursement
        Confidential Customer USD Transferee #4239   [Address on File]           6/1/2023 USD                        $130.00 Customer Disbursement
        Confidential Customer USD Transferee #4239   [Address on File]          5/17/2023 USD                         $60.67 Customer Disbursement
                                                                                   TOTAL                            $312.73
        Confidential Customer USD Transferee #4240   [Address on File]           6/5/2023 USD                      $2,302.00 Customer Disbursement
                                                                                   TOTAL                           $2,302.00
        Confidential Customer USD Transferee #4241   [Address on File]          5/31/2023 USD                      $2,840.12 Customer Disbursement
                                                                                   TOTAL                           $2,840.12
        Confidential Customer USD Transferee #4242   [Address on File]          5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $3,000.00
        Confidential Customer USD Transferee #4243   [Address on File]           6/2/2023 USD                          $0.01 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                               $0.01
        Confidential Customer USD Transferee #4244         [Address on File]        5/24/2023 USD                         $32.89 Customer Disbursement
                                                                                       TOTAL                              $32.89
        Confidential Customer USD Transferee #4245         [Address on File]        5/30/2023 USD                      $7,147.59 Customer Disbursement
                                                                                       TOTAL                           $7,147.59
        Confidential Customer USD Transferee #4246         [Address on File]        5/23/2023 USD                         $16.00 Customer Disbursement
                                                                                       TOTAL                              $16.00
        Confidential Customer USD Transferee #4247         [Address on File]        5/30/2023 USD                         $50.55 Customer Disbursement
                                                                                       TOTAL                              $50.55
        Confidential Customer USD Transferee #4248         [Address on File]        6/21/2023 USD                    $11,050.56 Customer Disbursement
                                                                                       TOTAL                         $11,050.56
        Confidential Customer USD Transferee #4249         [Address on File]        6/22/2023 USD                         $21.47 Customer Disbursement
                                                                                       TOTAL                              $21.47
        Confidential Customer USD Transferee #4250         [Address on File]        6/21/2023 USD                      $2,082.95 Customer Disbursement
                                                                                       TOTAL                           $2,082.95
        Confidential Customer USD Transferee #4251         [Address on File]        5/24/2023 USD                         $51.41 Customer Disbursement
                                                                                       TOTAL                              $51.41
        Confidential Customer USD Transferee #4252         [Address on File]        6/20/2023 AUD                       1,822.59 Customer Disbursement
                                                                                       TOTAL                            1,822.59
        Confidential Customer USD Transferee #4253         [Address on File]        6/15/2023 GBP                      51,000.00 Customer Disbursement
                                                                                       TOTAL                           51000.00
        Confidential Customer USD Transferee #4254         [Address on File]        6/20/2023 GBP                      32,000.00 Customer Disbursement
                                                                                       TOTAL                           32,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4255                                    5/16/2023 USD                      $5,999.00 Customer Disbursement
                                                                                         TOTAL                           $5,999.00
                                                           [Address on File]

        Confidential Customer USD Transferee #4256                                    5/31/2023 USD                     $1,000.00 Customer Disbursement
                                                                                         TOTAL                          $1,000.00
        Confidential Customer USD Transferee #4257         [Address on File]          6/12/2023 USD                   $110,072.00 Customer Disbursement
                                                                                         TOTAL                        $110,072.00
        Confidential Customer USD Transferee #4258         [Address on File]          5/18/2023 USD                     $1,084.80 Customer Disbursement
                                                                                         TOTAL                          $1,084.80

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #4259                                    5/17/2023 USD                      $8,780.67 Customer Disbursement
                                                                                         TOTAL                           $8,780.67
        Confidential Customer USD Transferee #4260         [Address on File]           6/1/2023 USD                      $1,134.24 Customer Disbursement
                                                                                         TOTAL                           $1,134.24
                                                           [Address on File]
        Confidential Customer USD Transferee #4261                                    5/19/2023 USD                    $99,991.00 Customer Disbursement
                                                                                         TOTAL                         $99,991.00
        Confidential Customer USD Transferee #4262         [Address on File]           6/5/2023 USD                   $150,000.00 Customer Disbursement
                                                                                         TOTAL                        $150,000.00
        Confidential Customer USD Transferee #4263         [Address on File]           6/2/2023 USD                     $3,492.50 Customer Disbursement
                                                                                         TOTAL                          $3,492.50
        Confidential Customer USD Transferee #4264         [Address on File]          6/13/2023 USD                     $1,323.01 Customer Disbursement
                                                                                         TOTAL                          $1,323.01
                                                           [Address on File]
        Confidential Customer USD Transferee #4265                                    5/30/2023 USD                   $429,831.00 Customer Disbursement
                                                                                         TOTAL                        $429,831.00
        Confidential Customer USD Transferee #4266         [Address on File]          5/19/2023 USD                    $24,238.00 Customer Disbursement
                                                                                         TOTAL                         $24,238.00
        Confidential Customer USD Transferee #4267         [Address on File]           6/7/2023 USD                     $4,779.12 Customer Disbursement
                                                                                         TOTAL                          $4,779.12
                                                           [Address on File]
        Confidential Customer USD Transferee #4268                                    5/24/2023 USD                    $24,064.24 Customer Disbursement
                                                                                         TOTAL                         $24,064.24
        Confidential Customer USD Transferee #4269         [Address on File]           6/1/2023 USD                   $200,072.50 Customer Disbursement
                                                                                         TOTAL                        $200,072.50
        Confidential Customer USD Transferee #4270         [Address on File]          5/18/2023 USD                   $200,007.96 Customer Disbursement
                                                                                         TOTAL                        $200,007.96
        Confidential Customer USD Transferee #4271         [Address on File]           6/6/2023 USD                     $1,575.00 Customer Disbursement
                                                                                         TOTAL                          $1,575.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4272                                    5/18/2023 USD                 $1,074,520.00 Customer Disbursement
                                                                                         TOTAL                      $1,074,520.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4273   [Address on File]        5/30/2023 USD                      $3,055.87 Customer Disbursement
                                                                                 TOTAL                           $3,055.87
                                                     [Address on File]
        Confidential Customer USD Transferee #4274                              5/16/2023 USD                     $1,600.00 Customer Disbursement
                                                                                   TOTAL                          $1,600.00
        Confidential Customer USD Transferee #4275   [Address on File]          5/17/2023 USD                    $24,000.00 Customer Disbursement
                                                                                   TOTAL                         $24,000.00
        Confidential Customer USD Transferee #4276   [Address on File]           6/8/2023 USD                   $101,000.00 Customer Disbursement
                                                                                   TOTAL                        $101,000.00
        Confidential Customer USD Transferee #4277   [Address on File]          5/22/2023 USD                     $5,000.00 Customer Disbursement
                                                                                   TOTAL                          $5,000.00
        Confidential Customer USD Transferee #4278   [Address on File]          5/24/2023 USD                     $1,349.74 Customer Disbursement
                                                                                   TOTAL                          $1,349.74
                                                     [Address on File]
        Confidential Customer USD Transferee #4279                               6/8/2023 USD                      $1,195.00 Customer Disbursement
                                                                                  TOTAL                            $1,195.00
                                                     [Address on File]

        Confidential Customer USD Transferee #4280                              5/24/2023 USD                     $39,000.00 Customer Disbursement
                                                                                   TOTAL                          $39,000.00
        Confidential Customer USD Transferee #4281   [Address on File]           6/5/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $3,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4282                              5/23/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00
        Confidential Customer USD Transferee #4283   [Address on File]          6/12/2023 USD                      $5,216.52 Customer Disbursement
                                                                                   TOTAL                           $5,216.52
        Confidential Customer USD Transferee #4284   [Address on File]          6/14/2023 USD                      $1,300.02 Customer Disbursement
                                                                                   TOTAL                           $1,300.02
        Confidential Customer USD Transferee #4285   [Address on File]           6/7/2023 USD                      $1,974.20 Customer Disbursement
                                                                                   TOTAL                           $1,974.20
        Confidential Customer USD Transferee #4286   [Address on File]           6/1/2023 USD                     $40,053.50 Customer Disbursement
                                                                                   TOTAL                          $40,053.50
        Confidential Customer USD Transferee #4287   [Address on File]          5/17/2023 USD                      $5,986.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                           $5,986.00
        Confidential Customer USD Transferee #4288         [Address on File]        5/24/2023 USD                     $19,990.50 Customer Disbursement
                                                                                       TOTAL                          $19,990.50
        Confidential Customer USD Transferee #4289         [Address on File]        5/31/2023 USD                  $2,107,374.50 Customer Disbursement
                                                                                       TOTAL                       $2,107,374.50
        Confidential Customer USD Transferee #4290         [Address on File]         6/1/2023 USD                  $1,974,373.50 Customer Disbursement
                                                                                       TOTAL                       $1,974,373.50
                                                           [Address on File]
        Confidential Customer USD Transferee #4291                                     6/7/2023 USD                      $9,000.66 Customer Disbursement
                                                                                         TOTAL                           $9,000.66
        Confidential Customer USD Transferee #4292         [Address on File]          5/22/2023 USD                     $40,500.00 Customer Disbursement
                                                                                         TOTAL                          $40,500.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4293                                     6/9/2023 USD                      $1,095.66 Customer Disbursement
                                                                                         TOTAL                           $1,095.66
        Confidential Customer USD Transferee #4294         [Address on File]          5/24/2023 USD                     $19,990.50 Customer Disbursement
                                                                                         TOTAL                          $19,990.50
        Confidential Customer USD Transferee #4295         [Address on File]           6/9/2023 USD                      $1,100.00 Customer Disbursement
                                                                                         TOTAL                           $1,100.00
        Confidential Customer USD Transferee #4296         [Address on File]           6/7/2023 USD                      $4,700.00 Customer Disbursement
                                                                                         TOTAL                           $4,700.00
        Confidential Customer USD Transferee #4297         [Address on File]           6/9/2023 USD                     $30,000.00 Customer Disbursement
                                                                                         TOTAL                          $30,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4298                                    6/13/2023 USD                      $5,100.00 Customer Disbursement
                                                                                         TOTAL                           $5,100.00
        Confidential Customer USD Transferee #4299         [Address on File]          5/25/2023 USD                     $19,997.50 Customer Disbursement
                                                                                         TOTAL                          $19,997.50
        Confidential Customer USD Transferee #4300         [Address on File]          6/12/2023 USD                     $25,000.00 Customer Disbursement
                                                                                         TOTAL                          $25,000.00
        Confidential Customer USD Transferee #4301         [Address on File]          6/12/2023 USD                     $10,000.00 Customer Disbursement
                                                                                         TOTAL                          $10,000.00
        Confidential Customer USD Transferee #4302         [Address on File]          5/26/2023 USD                      $1,883.89 Customer Disbursement
                                                                                         TOTAL                           $1,883.89

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4303                                     6/5/2023 USD                      $9,192.50 Customer Disbursement
                                                                                         TOTAL                           $9,192.50
        Confidential Customer USD Transferee #4304         [Address on File]          5/26/2023 USD                     $80,033.01 Customer Disbursement
                                                                                         TOTAL                          $80,033.01
        Confidential Customer USD Transferee #4305         [Address on File]           6/6/2023 USD                     $39,994.58 Customer Disbursement
                                                                                         TOTAL                          $39,994.58
        Confidential Customer USD Transferee #4306         [Address on File]          5/26/2023 USD                      $2,003.77 Customer Disbursement
                                                                                         TOTAL                           $2,003.77
        Confidential Customer USD Transferee #4307         [Address on File]           6/6/2023 USD                     $25,992.36 Customer Disbursement
                                                                                         TOTAL                          $25,992.36
        Confidential Customer USD Transferee #4308         [Address on File]           6/8/2023 USD                     $29,882.36 Customer Disbursement
                                                                                         TOTAL                          $29,882.36
        Confidential Customer USD Transferee #4309         [Address on File]          5/19/2023 USD                      $1,646.62 Customer Disbursement
                                                                                         TOTAL                           $1,646.62
                                                           [Address on File]


        Confidential Customer USD Transferee #4310                                    5/22/2023 USD                   $995,817.00 Customer Disbursement
                                                                                         TOTAL                        $995,817.00
        Confidential Customer USD Transferee #4311         [Address on File]          6/13/2023 USD                    $79,987.61 Customer Disbursement
                                                                                         TOTAL                         $79,987.61
        Confidential Customer USD Transferee #4312         [Address on File]          5/17/2023 USD                     $1,400.00 Customer Disbursement
                                                                                         TOTAL                          $1,400.00
        Confidential Customer USD Transferee #4313         [Address on File]          5/22/2023 USD                   $298,111.00 Customer Disbursement
                                                                                         TOTAL                        $298,111.00
        Confidential Customer USD Transferee #4314         [Address on File]          5/31/2023 USD                     $5,530.49 Customer Disbursement
                                                                                         TOTAL                          $5,530.49
        Confidential Customer USD Transferee #4315         [Address on File]          5/30/2023 USD                    $34,111.60 Customer Disbursement
                                                                                         TOTAL                         $34,111.60
        Confidential Customer USD Transferee #4316         [Address on File]          5/22/2023 USD                    $30,000.00 Customer Disbursement
                                                                                         TOTAL                         $30,000.00
        Confidential Customer USD Transferee #4317         [Address on File]          6/16/2023 USD                     $1,099.27 Customer Disbursement
                                                                                         TOTAL                          $1,099.27

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4318                                    5/24/2023 USD                      $4,979.00 Customer Disbursement
                                                                                         TOTAL                           $4,979.00
                                                           [Address on File]

        Confidential Customer USD Transferee #4319                                    5/23/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
        Confidential Customer USD Transferee #4320         [Address on File]          6/15/2023 USD                     $10,000.00 Customer Disbursement
                                                                                         TOTAL                          $10,000.00
        Confidential Customer USD Transferee #4321         [Address on File]          5/26/2023 USD                     $29,039.82 Customer Disbursement
                                                                                         TOTAL                          $29,039.82
        Confidential Customer USD Transferee #4322         [Address on File]           6/6/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4323                                     6/9/2023 USD                     $22,535.00 Customer Disbursement
                                                                                        TOTAL                           $22,535.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4324                                     6/1/2023 USD                   $210,012.50 Customer Disbursement
                                                                                        TOTAL                         $210,012.50
        Confidential Customer USD Transferee #4325         [Address on File]           6/5/2023 USD                     $2,032.00 Customer Disbursement
                                                                                        TOTAL                           $2,032.00
                                                           [Address on File]

        Confidential Customer USD Transferee #4326                                     6/1/2023 USD                     $12,774.00 Customer Disbursement
                                                                                        TOTAL                           $12,774.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4327                                     6/7/2023 USD                   $498,124.36 Customer Disbursement
                                                                                         TOTAL                        $498,124.36
        Confidential Customer USD Transferee #4328         [Address on File]          5/22/2023 USD                    $10,000.00 Customer Disbursement
                                                                                         TOTAL                         $10,000.00
        Confidential Customer USD Transferee #4329         [Address on File]           6/1/2023 USD                    $12,735.00 Customer Disbursement
                                                                                         TOTAL                         $12,735.00
        Confidential Customer USD Transferee #4330         [Address on File]           6/1/2023 USD                     $1,835.00 Customer Disbursement
                                                                                         TOTAL                          $1,835.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4331   [Address on File]        5/30/2023 USD                    $20,012.00 Customer Disbursement
                                                                                 TOTAL                         $20,012.00
        Confidential Customer USD Transferee #4332   [Address on File]         6/7/2023 USD                      $1,005.66 Customer Disbursement
                                                                                 TOTAL                           $1,005.66
        Confidential Customer USD Transferee #4333   [Address on File]         6/7/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #4334   [Address on File]        6/15/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $2,000.00
        Confidential Customer USD Transferee #4335   [Address on File]        5/30/2023 USD                      $5,986.00 Customer Disbursement
                                                                                 TOTAL                           $5,986.00
        Confidential Customer USD Transferee #4336   [Address on File]        5/30/2023 USD                      $1,916.80 Customer Disbursement
                                                                                 TOTAL                           $1,916.80
        Confidential Customer USD Transferee #4337   [Address on File]        6/12/2023 USD                    $70,000.00 Customer Disbursement
                                                                                 TOTAL                         $70,000.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4338                              6/12/2023 USD                      $1,396.06 Customer Disbursement
                                                                                   TOTAL                           $1,396.06
                                                     [Address on File]
        Confidential Customer USD Transferee #4339                               6/6/2023 USD                     $12,940.00 Customer Disbursement
                                                                                   TOTAL                          $12,940.00
        Confidential Customer USD Transferee #4340   [Address on File]          6/15/2023 USD                      $2,949.39 Customer Disbursement
                                                                                   TOTAL                           $2,949.39
        Confidential Customer USD Transferee #4341   [Address on File]           6/7/2023 USD                      $9,000.00 Customer Disbursement
                                                                                   TOTAL                           $9,000.00
        Confidential Customer USD Transferee #4342   [Address on File]          5/23/2023 USD                      $1,003.62 Customer Disbursement
                                                                                   TOTAL                           $1,003.62
        Confidential Customer USD Transferee #4343   [Address on File]           6/7/2023 USD                     $39,995.66 Customer Disbursement
                                                                                   TOTAL                          $39,995.66
                                                     [Address on File]
        Confidential Customer USD Transferee #4344                              6/12/2023 USD                     $1,925.67 Customer Disbursement
                                                                                   TOTAL                          $1,925.67
        Confidential Customer USD Transferee #4345   [Address on File]           6/2/2023 USD                   $500,000.00 Customer Disbursement
                                                                                   TOTAL                        $500,000.00
        Confidential Customer USD Transferee #4346   [Address on File]          5/30/2023 USD                    $19,941.58 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                         $19,941.58
        Confidential Customer USD Transferee #4347         [Address on File]        6/16/2023 USD                      $1,017.85 Customer Disbursement
                                                                                       TOTAL                           $1,017.85
        Confidential Customer USD Transferee #4348         [Address on File]        5/31/2023 USD                      $4,981.02 Customer Disbursement
                                                                                       TOTAL                           $4,981.02
                                                           [Address on File]
        Confidential Customer USD Transferee #4349                                    6/15/2023 USD                      $9,911.54 Customer Disbursement
                                                                                         TOTAL                           $9,911.54
                                                           [Address on File]
        Confidential Customer USD Transferee #4350                                    6/12/2023 USD                $10,000,000.00 Customer Disbursement
                                                                                         TOTAL                     $10,000,000.00
        Confidential Customer USD Transferee #4351         [Address on File]          5/23/2023 USD                 $1,398,664.50 Customer Disbursement
                                                                                         TOTAL                      $1,398,664.50
        Confidential Customer USD Transferee #4352         [Address on File]          6/12/2023 USD                     $1,000.00 Customer Disbursement
                                                                                         TOTAL                          $1,000.00
        Confidential Customer USD Transferee #4353         [Address on File]          5/24/2023 USD                    $30,454.50 Customer Disbursement
                                                                                         TOTAL                         $30,454.50
                                                           [Address on File]
        Confidential Customer USD Transferee #4354                                    5/25/2023 USD                      $1,951.00 Customer Disbursement
                                                                                         TOTAL                           $1,951.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4355                                     6/5/2023 USD                   $100,000.00 Customer Disbursement
                                                                                         TOTAL                        $100,000.00
        Confidential Customer USD Transferee #4356         [Address on File]          5/31/2023 USD                     $1,008.00 Customer Disbursement
                                                                                         TOTAL                          $1,008.00
        Confidential Customer USD Transferee #4357         [Address on File]          5/30/2023 USD                     $3,000.00 Customer Disbursement
                                                                                         TOTAL                          $3,000.00
        Confidential Customer USD Transferee #4358         [Address on File]           6/6/2023 USD                   $497,154.38 Customer Disbursement
                                                                                         TOTAL                        $497,154.38
        Confidential Customer USD Transferee #4359         [Address on File]          5/30/2023 USD                   $380,949.50 Customer Disbursement
                                                                                         TOTAL                        $380,949.50
                                                           [Address on File]
        Confidential Customer USD Transferee #4360                                    5/30/2023 USD                   $300,000.00 Customer Disbursement
                                                                                         TOTAL                        $300,000.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4361   [Address on File]        6/12/2023 USD                      $4,552.67 Customer Disbursement
                                                                                 TOTAL                           $4,552.67
        Confidential Customer USD Transferee #4362   [Address on File]        5/16/2023 USD                   $100,000.00 Customer Disbursement
                                                                                 TOTAL                        $100,000.00
        Confidential Customer USD Transferee #4363   [Address on File]        5/23/2023 USD                      $3,955.00 Customer Disbursement
                                                                                 TOTAL                           $3,955.00
        Confidential Customer USD Transferee #4364   [Address on File]         6/2/2023 USD                      $1,095.73 Customer Disbursement
                                                                                 TOTAL                           $1,095.73
        Confidential Customer USD Transferee #4365   [Address on File]        6/15/2023 USD                      $2,362.00 Customer Disbursement
                                                                                 TOTAL                           $2,362.00
        Confidential Customer USD Transferee #4366   [Address on File]        5/18/2023 USD                   $100,050.00 Customer Disbursement
                                                                                 TOTAL                        $100,050.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4367                              5/24/2023 USD                   $400,000.00 Customer Disbursement
                                                                                   TOTAL                        $400,000.00
        Confidential Customer USD Transferee #4368   [Address on File]          5/19/2023 USD                     $6,000.00 Customer Disbursement
                                                                                   TOTAL                          $6,000.00
        Confidential Customer USD Transferee #4369   [Address on File]          5/30/2023 USD                     $1,300.00 Customer Disbursement
                                                                                   TOTAL                          $1,300.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4370                              5/16/2023 USD                      $9,957.14 Customer Disbursement
                                                                                   TOTAL                           $9,957.14
        Confidential Customer USD Transferee #4371   [Address on File]          5/17/2023 USD                      $4,482.40 Customer Disbursement
                                                                                   TOTAL                           $4,482.40
        Confidential Customer USD Transferee #4372   [Address on File]          5/16/2023 USD                      $1,314.85 Customer Disbursement
                                                                                   TOTAL                           $1,314.85
                                                     [Address on File]
        Confidential Customer USD Transferee #4373                              5/23/2023 USD                      $1,273.99 Customer Disbursement
                                                                                   TOTAL                           $1,273.99
        Confidential Customer USD Transferee #4374   [Address on File]           6/2/2023 USD                     $22,683.27 Customer Disbursement
                                                                                   TOTAL                          $22,683.27
                                                     [Address on File]
        Confidential Customer USD Transferee #4375                              5/16/2023 USD                   $399,999.00 Customer Disbursement
                                                                                   TOTAL                        $399,999.00

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4376                                     6/5/2023 USD                     $99,992.50 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4376                                    5/31/2023 USD                     $1,092.50 Customer Disbursement
                                                                                         TOTAL                        $101,085.00
        Confidential Customer USD Transferee #4377         [Address on File]           6/5/2023 USD                     $1,042.50 Customer Disbursement
                                                                                         TOTAL                          $1,042.50
        Confidential Customer USD Transferee #4378         [Address on File]          5/24/2023 USD                    $99,979.50 Customer Disbursement
                                                                                         TOTAL                         $99,979.50
        Confidential Customer USD Transferee #4379         [Address on File]          5/25/2023 USD                     $2,004.73 Customer Disbursement
                                                                                         TOTAL                          $2,004.73
        Confidential Customer USD Transferee #4380         [Address on File]           6/1/2023 USD                     $9,000.37 Customer Disbursement
                                                                                         TOTAL                          $9,000.37
        Confidential Customer USD Transferee #4381         [Address on File]          5/30/2023 USD                    $16,628.38 Customer Disbursement
                                                                                         TOTAL                         $16,628.38
                                                           [Address on File]
        Confidential Customer USD Transferee #4382                                     6/5/2023 USD                   $141,000.00 Customer Disbursement
                                                                                         TOTAL                        $141,000.00
        Confidential Customer USD Transferee #4383         [Address on File]          5/22/2023 USD                    $37,814.00 Customer Disbursement
                                                                                         TOTAL                         $37,814.00
        Confidential Customer USD Transferee #4384         [Address on File]          5/19/2023 USD                     $2,200.00 Customer Disbursement
                                                                                         TOTAL                          $2,200.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4385                                    6/12/2023 USD                     $1,009.00 Customer Disbursement
                                                                                         TOTAL                          $1,009.00
        Confidential Customer USD Transferee #4386         [Address on File]          5/17/2023 USD                   $863,877.00 Customer Disbursement
                                                                                         TOTAL                        $863,877.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4387                                     6/5/2023 USD                      $7,006.00 Customer Disbursement
                                                                                        TOTAL                            $7,006.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4388                                    5/17/2023 USD                   $399,433.00 Customer Disbursement
                                                                                         TOTAL                        $399,433.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4389                                     6/8/2023 USD                   $100,000.00 Customer Disbursement
                                                                                        TOTAL                         $100,000.00
        Confidential Customer USD Transferee #4390         [Address on File]           6/1/2023 USD                     $1,000.50 Customer Disbursement
                                                                                        TOTAL                           $1,000.50
                                                           [Address on File]
        Confidential Customer USD Transferee #4391                                    5/23/2023 USD                     $29,809.50 Customer Disbursement
                                                                                         TOTAL                          $29,809.50
                                                           [Address on File]

        Confidential Customer USD Transferee #4392                                    5/23/2023 USD                      $1,041.00 Customer Disbursement
                                                                                         TOTAL                           $1,041.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4393                                    6/12/2023 USD                      $4,996.70 Customer Disbursement
                                                                                         TOTAL                           $4,996.70
                                                           [Address on File]
        Confidential Customer USD Transferee #4394                                    5/24/2023 USD                     $39,000.00 Customer Disbursement
                                                                                         TOTAL                          $39,000.00
        Confidential Customer USD Transferee #4395         [Address on File]          6/13/2023 USD                      $9,545.66 Customer Disbursement
                                                                                         TOTAL                           $9,545.66
                                                           [Address on File]
        Confidential Customer USD Transferee #4396                                     6/6/2023 USD                   $100,000.00 Customer Disbursement
                                                                                        TOTAL                         $100,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4397                                     6/7/2023 USD                      $1,984.80 Customer Disbursement
                                                                                        TOTAL                            $1,984.80
                                                           [Address on File]
        Confidential Customer USD Transferee #4398                                    5/31/2023 USD                      $7,000.00 Customer Disbursement
                                                                                         TOTAL                           $7,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4399                                    5/30/2023 USD                     $27,427.75 Customer Disbursement
                                                                                         TOTAL                          $27,427.75
                                                           [Address on File]
        Confidential Customer USD Transferee #4400                                     6/8/2023 USD                      $1,000.00 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                            $1,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4401                                     6/5/2023 USD                        $951.00 Customer Disbursement
                                                                                        TOTAL                              $951.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4402                                     6/5/2023 USD                     $48,717.38 Customer Disbursement
                                                                                        TOTAL                           $48,717.38
                                                           [Address on File]
        Confidential Customer USD Transferee #4403                                    6/12/2023 USD                      $5,988.00 Customer Disbursement
                                                                                         TOTAL                           $5,988.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4404                                    5/18/2023 USD                   $399,987.00 Customer Disbursement
                                                                                         TOTAL                        $399,987.00
        Confidential Customer USD Transferee #4405         [Address on File]          5/26/2023 USD                     $7,068.00 Customer Disbursement
                                                                                         TOTAL                          $7,068.00
        Confidential Customer USD Transferee #4406         [Address on File]          5/22/2023 USD                     $6,144.80 Customer Disbursement
                                                                                         TOTAL                          $6,144.80
                                                           [Address on File]
        Confidential Customer USD Transferee #4407                                    6/12/2023 USD                   $355,733.25 Customer Disbursement
                                                                                         TOTAL                        $355,733.25
                                                           [Address on File]
        Confidential Customer USD Transferee #4408                                    6/12/2023 USD                     $21,084.00 Customer Disbursement
                                                                                         TOTAL                          $21,084.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4409                                    5/23/2023 USD                      $5,857.77 Customer Disbursement
                                                                                         TOTAL                           $5,857.77
                                                           [Address on File]
        Confidential Customer USD Transferee #4410                                    5/24/2023 USD                      $5,290.50 Customer Disbursement
                                                                                         TOTAL                           $5,290.50
                                                           [Address on File]
        Confidential Customer USD Transferee #4411                                     6/5/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,000.00
        Confidential Customer USD Transferee #4412         [Address on File]          5/22/2023 USD                     $99,900.00 Customer Disbursement
                                                                                         TOTAL                          $99,900.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4413   [Address on File]        5/31/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #4414   [Address on File]         6/7/2023 USD                   $200,000.00 Customer Disbursement
                                                                                 TOTAL                        $200,000.00
        Confidential Customer USD Transferee #4415   [Address on File]         6/7/2023 USD                      $6,016.22 Customer Disbursement
                                                                                 TOTAL                           $6,016.22
                                                     [Address on File]
        Confidential Customer USD Transferee #4416                              6/12/2023 USD                     $49,995.66 Customer Disbursement
                                                                                   TOTAL                          $49,995.66
                                                     [Address on File]

        Confidential Customer USD Transferee #4417                               6/2/2023 USD                      $2,003.60 Customer Disbursement
                                                                                  TOTAL                            $2,003.60
                                                     [Address on File]
        Confidential Customer USD Transferee #4418                               6/2/2023 USD                     $12,990.86 Customer Disbursement
                                                                                  TOTAL                           $12,990.86
                                                     [Address on File]
        Confidential Customer USD Transferee #4419                              5/30/2023 USD                     $24,992.50 Customer Disbursement
                                                                                   TOTAL                          $24,992.50
                                                     [Address on File]

        Confidential Customer USD Transferee #4420                               6/1/2023 USD                      $8,159.90 Customer Disbursement
                                                                                  TOTAL                            $8,159.90
                                                     [Address on File]
        Confidential Customer USD Transferee #4421                              6/15/2023 USD                      $1,000.66 Customer Disbursement
                                                                                   TOTAL                           $1,000.66
                                                     [Address on File]
        Confidential Customer USD Transferee #4422                              5/30/2023 USD                     $27,378.70 Customer Disbursement
                                                                                   TOTAL                          $27,378.70
                                                     [Address on File]

        Confidential Customer USD Transferee #4423                              6/12/2023 USD                   $500,000.00 Customer Disbursement
                                                                                   TOTAL                        $500,000.00


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4424                                    5/18/2023 USD                      $1,989.84 Customer Disbursement
                                                                                         TOTAL                           $1,989.84
        Confidential Customer USD Transferee #4425         [Address on File]          5/17/2023 USD                      $2,207.06 Customer Disbursement
                                                                                         TOTAL                           $2,207.06
                                                           [Address on File]
        Confidential Customer USD Transferee #4426                                    6/12/2023 USD                     $35,000.00 Customer Disbursement
                                                                                         TOTAL                          $35,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4427                                    6/15/2023 USD                      $1,211.35 Customer Disbursement
                                                                                         TOTAL                           $1,211.35
        Confidential Customer USD Transferee #4428         [Address on File]          5/23/2023 USD                     $15,484.64 Customer Disbursement
                                                                                         TOTAL                          $15,484.64
        Confidential Customer USD Transferee #4429         [Address on File]           6/1/2023 USD                      $1,020.81 Customer Disbursement
                                                                                         TOTAL                           $1,020.81
                                                           [Address on File]
        Confidential Customer USD Transferee #4430                                    5/24/2023 USD                     $10,000.50 Customer Disbursement
                                                                                         TOTAL                          $10,000.50
        Confidential Customer USD Transferee #4431         [Address on File]          5/18/2023 USD                     $49,991.00 Customer Disbursement
                                                                                         TOTAL                          $49,991.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4432                                    5/22/2023 USD                   $500,000.00 Customer Disbursement
                                                                                         TOTAL                        $500,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4433                                    6/13/2023 USD                     $10,141.00 Customer Disbursement
                                                                                         TOTAL                          $10,141.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4434                                     6/2/2023 USD                      $1,092.50 Customer Disbursement
                                                                                         TOTAL                           $1,092.50
        Confidential Customer USD Transferee #4435         [Address on File]          5/31/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4436                                     6/6/2023 USD                     $19,205.16 Customer Disbursement
                                                                                        TOTAL                           $19,205.16

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4437                                    5/26/2023 USD                     $11,981.00 Customer Disbursement
                                                                                         TOTAL                          $11,981.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4438                                    5/30/2023 USD                      $3,967.68 Customer Disbursement
                                                                                         TOTAL                           $3,967.68
                                                           [Address on File]
        Confidential Customer USD Transferee #4439                                    5/22/2023 USD                   $301,339.00 Customer Disbursement
                                                                                         TOTAL                        $301,339.00
        Confidential Customer USD Transferee #4440         [Address on File]           6/2/2023 USD                     $1,085.14 Customer Disbursement
                                                                                         TOTAL                          $1,085.14
                                                           [Address on File]
        Confidential Customer USD Transferee #4441                                    5/23/2023 USD                     $90,614.00 Customer Disbursement
                                                                                         TOTAL                          $90,614.00
        Confidential Customer USD Transferee #4442         [Address on File]           6/9/2023 USD                     $29,995.66 Customer Disbursement
                                                                                         TOTAL                          $29,995.66
                                                           [Address on File]
        Confidential Customer USD Transferee #4443                                    6/12/2023 USD                    $52,056.16 Customer Disbursement
                                                                                         TOTAL                         $52,056.16
        Confidential Customer USD Transferee #4444         [Address on File]          5/31/2023 USD                     $1,004.00 Customer Disbursement
                                                                                         TOTAL                          $1,004.00
        Confidential Customer USD Transferee #4445         [Address on File]          5/30/2023 USD                   $100,053.50 Customer Disbursement
                                                                                         TOTAL                        $100,053.50
        Confidential Customer USD Transferee #4446         [Address on File]          6/13/2023 USD                     $1,249.00 Customer Disbursement
                                                                                         TOTAL                          $1,249.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4447                                     6/8/2023 USD                     $50,000.00 Customer Disbursement
                                                                                        TOTAL                           $50,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4448                                     6/8/2023 USD                      $7,760.47 Customer Disbursement
                                                                                        TOTAL                            $7,760.47




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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]



        Confidential Customer USD Transferee #4449                                    5/26/2023 USD                     $10,972.22 Customer Disbursement
                                                                                         TOTAL                          $10,972.22
        Confidential Customer USD Transferee #4450         [Address on File]          6/15/2023 USD                      $2,463.78 Customer Disbursement
                                                                                         TOTAL                           $2,463.78
        Confidential Customer USD Transferee #4451         [Address on File]          5/31/2023 USD                      $2,000.00 Customer Disbursement
                                                                                         TOTAL                           $2,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4452                                     6/7/2023 USD                     $1,095.66 Customer Disbursement
                                                                                         TOTAL                          $1,095.66
        Confidential Customer USD Transferee #4453         [Address on File]           6/7/2023 USD                     $1,099.20 Customer Disbursement
                                                                                         TOTAL                          $1,099.20
        Confidential Customer USD Transferee #4454         [Address on File]          5/16/2023 USD                 $1,000,000.00 Customer Disbursement
                                                                                         TOTAL                      $1,000,000.00
        Confidential Customer USD Transferee #4455         [Address on File]          5/30/2023 USD                     $1,000.00 Customer Disbursement
                                                                                         TOTAL                          $1,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4456                                    5/25/2023 USD                      $1,999.00 Customer Disbursement
                                                                                         TOTAL                           $1,999.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4457                                    5/22/2023 USD                   $790,315.20 Customer Disbursement
                                                                                         TOTAL                        $790,315.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4458                                    6/12/2023 USD                      $5,249.20 Customer Disbursement
                                                                                         TOTAL                           $5,249.20
        Confidential Customer USD Transferee #4459         [Address on File]          5/25/2023 USD                     $60,017.20 Customer Disbursement
                                                                                         TOTAL                          $60,017.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4460                                    5/25/2023 USD                      $1,686.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4460                                    5/23/2023 USD                     $10,002.20 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                          $11,688.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4461                                     6/8/2023 USD                   $245,074.46 Customer Disbursement
                                                                                        TOTAL                         $245,074.46
        Confidential Customer USD Transferee #4462         [Address on File]           6/6/2023 USD                   $336,358.71 Customer Disbursement
                                                                                        TOTAL                         $336,358.71
                                                           [Address on File]
        Confidential Customer USD Transferee #4463                                    5/24/2023 USD                   $667,662.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4463                                    5/18/2023 USD                 $1,010,403.20 Customer Disbursement
                                                                                         TOTAL                      $1,678,065.40
        Confidential Customer USD Transferee #4464         [Address on File]          6/12/2023 USD                     $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4464         [Address on File]          5/23/2023 USD                   $672,200.20 Customer Disbursement
                                                                                         TOTAL                       $673,200.20
                                                           [Address on File]

        Confidential Customer USD Transferee #4465                                     6/8/2023 USD                      $1,683.20 Customer Disbursement
                                                                                        TOTAL                            $1,683.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4466                                     6/7/2023 USD                      $2,948.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4466                                    5/17/2023 USD                 $4,699,999.20 Customer Disbursement
                                                                                         TOTAL                      $4,702,947.40
        Confidential Customer USD Transferee #4467         [Address on File]          6/12/2023 USD                     $1,010.19 Customer Disbursement
                                                                                         TOTAL                          $1,010.19
        Confidential Customer USD Transferee #4468         [Address on File]           6/7/2023 USD                   $487,340.20 Customer Disbursement
        Confidential Customer USD Transferee #4468         [Address on File]          5/18/2023 USD                    $15,009.65 Customer Disbursement
                                                                                         TOTAL                       $502,349.85
        Confidential Customer USD Transferee #4469         [Address on File]           6/7/2023 USD                     $1,004.20 Customer Disbursement
        Confidential Customer USD Transferee #4469         [Address on File]          5/31/2023 USD                   $254,602.00 Customer Disbursement
                                                                                         TOTAL                       $255,606.20
        Confidential Customer USD Transferee #4470         [Address on File]          5/17/2023 USD                    $71,632.20 Customer Disbursement
                                                                                         TOTAL                         $71,632.20



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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4471                                     6/2/2023 USD                      $1,200.00 Customer Disbursement
                                                                                        TOTAL                            $1,200.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4472                                     6/6/2023 USD                      $7,500.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4472                                    5/31/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $8,500.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4473                                     6/7/2023 USD                      $1,075.20 Customer Disbursement
                                                                                        TOTAL                            $1,075.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4474                                     6/8/2023 USD                   $499,999.20 Customer Disbursement
                                                                                        TOTAL                         $499,999.20
                                                           [Address on File]

        Confidential Customer USD Transferee #4475                                    5/30/2023 USD                    $41,020.00 Customer Disbursement
                                                                                         TOTAL                         $41,020.00
        Confidential Customer USD Transferee #4476         [Address on File]          5/17/2023 USD                   $666,332.20 Customer Disbursement
                                                                                         TOTAL                        $666,332.20
        Confidential Customer USD Transferee #4477         [Address on File]          6/12/2023 USD                     $1,000.00 Customer Disbursement
                                                                                         TOTAL                          $1,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4478                                     6/8/2023 USD                     $69,075.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4478                                    5/22/2023 USD                     $5,975.46 Customer Disbursement
                                                                                         TOTAL                         $75,050.66
        Confidential Customer USD Transferee #4479         [Address on File]           6/2/2023 USD                   $499,899.20 Customer Disbursement
                                                                                         TOTAL                        $499,899.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4480                                     6/5/2023 USD                      $1,792.00 Customer Disbursement
                                                                                        TOTAL                            $1,792.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4481                                     6/9/2023 USD                      $1,499.20 Customer Disbursement

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4481                                    5/25/2023 USD                $11,799,999.20 Customer Disbursement
                                                                                         TOTAL                     $11,801,498.40
                                                           [Address on File]
        Confidential Customer USD Transferee #4482                                    6/14/2023 USD                      $3,059.67 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4482                                     6/6/2023 USD                     $41,241.20 Customer Disbursement
                                                                                        TOTAL                           $44,300.87
                                                           [Address on File]
        Confidential Customer USD Transferee #4483                                    6/12/2023 USD                   $378,057.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4483                                     6/9/2023 USD                     $1,000.00 Customer Disbursement
                                                                                        TOTAL                         $379,057.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4484                                    5/18/2023 USD                    $86,636.20 Customer Disbursement
                                                                                         TOTAL                         $86,636.20
        Confidential Customer USD Transferee #4485         [Address on File]          6/12/2023 USD                $10,999,999.20 Customer Disbursement
        Confidential Customer USD Transferee #4485         [Address on File]          5/31/2023 USD                     $2,299.20 Customer Disbursement
        Confidential Customer USD Transferee #4485         [Address on File]          5/25/2023 USD                    $61,999.20 Customer Disbursement
                                                                                         TOTAL                     $11,064,297.60
        Confidential Customer USD Transferee #4486         [Address on File]          5/18/2023 USD                 $4,899,999.20 Customer Disbursement
                                                                                         TOTAL                      $4,899,999.20
        Confidential Customer USD Transferee #4487         [Address on File]           6/9/2023 USD                     $7,053.20 Customer Disbursement
                                                                                         TOTAL                          $7,053.20
                                                           [Address on File]

        Confidential Customer USD Transferee #4488                                     6/5/2023 USD                      $5,609.20 Customer Disbursement
                                                                                        TOTAL                            $5,609.20
        Confidential Customer USD Transferee #4489         [Address on File]           6/8/2023 USD                     $35,842.14 Customer Disbursement
                                                                                        TOTAL                           $35,842.14
                                                           [Address on File]

        Confidential Customer USD Transferee #4490                                    5/31/2023 USD                      $2,199.20 Customer Disbursement
                                                                                         TOTAL                           $2,199.20

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4491                                     6/8/2023 USD                      $1,099.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4491                                     6/7/2023 USD                     $1,008.39 Customer Disbursement
                                                                                         TOTAL                          $2,107.59
        Confidential Customer USD Transferee #4492         [Address on File]          6/13/2023 USD                     $2,517.24 Customer Disbursement
                                                                                         TOTAL                          $2,517.24
        Confidential Customer USD Transferee #4493         [Address on File]           6/9/2023 USD                     $3,295.95 Customer Disbursement
        Confidential Customer USD Transferee #4493         [Address on File]          5/22/2023 USD                 $9,399,999.20 Customer Disbursement
                                                                                         TOTAL                      $9,403,295.15
        Confidential Customer USD Transferee #4494         [Address on File]          6/12/2023 USD                   $160,164.65 Customer Disbursement
        Confidential Customer USD Transferee #4494         [Address on File]           6/6/2023 USD                     $1,000.00 Customer Disbursement
                                                                                         TOTAL                       $161,164.65
                                                           [Address on File]
        Confidential Customer USD Transferee #4495                                    5/19/2023 USD                   $915,273.20 Customer Disbursement
                                                                                         TOTAL                        $915,273.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4496                                     6/7/2023 USD                     $89,551.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4496                                    5/31/2023 USD                      $2,099.20 Customer Disbursement
                                                                                         TOTAL                          $91,650.40
                                                           [Address on File]

        Confidential Customer USD Transferee #4497                                     6/6/2023 USD                   $400,001.20 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #4497                                    5/30/2023 USD                 $1,460,583.20 Customer Disbursement
                                                                                         TOTAL                      $1,860,584.40
                                                           [Address on File]
        Confidential Customer USD Transferee #4498                                     6/9/2023 USD                      $1,001.00 Customer Disbursement
                                                                                        TOTAL                            $1,001.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4499                                     6/8/2023 USD                      $2,504.14 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4499                                     6/6/2023 USD                      $9,220.32 Customer Disbursement
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount            Transfer
                                                                                      TOTAL                          $11,724.46
                                                           [Address on File]
        Confidential Customer USD Transferee #4500                                    5/19/2023 USD                    $85,461.66 Customer Disbursement
                                                                                         TOTAL                         $85,461.66
        Confidential Customer USD Transferee #4501         [Address on File]           6/5/2023 USD                     $1,099.20 Customer Disbursement
                                                                                         TOTAL                          $1,099.20
        Confidential Customer USD Transferee #4502         [Address on File]          6/12/2023 USD                     $4,790.20 Customer Disbursement
        Confidential Customer USD Transferee #4502         [Address on File]           6/7/2023 USD                     $1,000.20 Customer Disbursement
                                                                                         TOTAL                          $5,790.40
        Confidential Customer USD Transferee #4503         [Address on File]          6/12/2023 USD                   $160,261.72 Customer Disbursement
                                                                                         TOTAL                        $160,261.72
                                                           [Address on File]
        Confidential Customer USD Transferee #4504                                     6/9/2023 USD                      $5,205.05 Customer Disbursement
                                                                                        TOTAL                            $5,205.05
                                                           [Address on File]

        Confidential Customer USD Transferee #4505                                    6/12/2023 USD                 $2,000,000.00 Customer Disbursement
                                                                                         TOTAL                      $2,000,000.00
                                                           [Address on File]

        Confidential Customer USD Transferee #4506                                    6/15/2023 USD                      $1,004.20 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #4506                                    5/19/2023 USD                      $1,197.28 Customer Disbursement
                                                                                         TOTAL                           $2,201.48
                                                           [Address on File]
        Confidential Customer USD Transferee #4507                                    5/23/2023 USD                   $125,559.20 Customer Disbursement
                                                                                         TOTAL                        $125,559.20
        Confidential Customer USD Transferee #4508         [Address on File]          5/16/2023 USD                   $850,509.20 Customer Disbursement
                                                                                         TOTAL                        $850,509.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4509                                    6/12/2023 USD                      $1,019.20 Customer Disbursement
                                                                                         TOTAL                           $1,019.20



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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4510                                    6/12/2023 USD                      $1,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4510                                     6/9/2023 USD                      $2,057.20 Customer Disbursement
                                                                                        TOTAL                            $3,057.20
                                                           [Address on File]

        Confidential Customer USD Transferee #4511                                    6/14/2023 USD                      $1,009.20 Customer Disbursement
                                                           [Address on File]

        Confidential Customer USD Transferee #4511                                    5/25/2023 USD                   $739,633.20 Customer Disbursement
                                                                                         TOTAL                        $740,642.40
                                                           [Address on File]
        Confidential Customer USD Transferee #4512                                    6/21/2023 USD                      $1,000.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4512                                     6/9/2023 USD                    $17,537.20 Customer Disbursement
                                                                                         TOTAL                         $18,537.40
        Confidential Customer USD Transferee #4513         [Address on File]          5/24/2023 USD                 $8,699,999.20 Customer Disbursement
                                                                                         TOTAL                      $8,699,999.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4514                                    5/31/2023 USD                     $72,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4514                                    5/31/2023 USD                     $1,000.20 Customer Disbursement
                                                                                         TOTAL                         $73,000.20
        Confidential Customer USD Transferee #4515         [Address on File]           6/8/2023 USD                   $469,215.83 Customer Disbursement
        Confidential Customer USD Transferee #4515         [Address on File]           6/6/2023 USD                     $1,522.11 Customer Disbursement
                                                                                         TOTAL                        $470,737.94
                                                           [Address on File]
        Confidential Customer USD Transferee #4516                                     6/7/2023 USD                     $98,958.20 Customer Disbursement
                                                                                        TOTAL                           $98,958.20
                                                           [Address on File]


        Confidential Customer USD Transferee #4517                                    6/12/2023 USD                      $3,411.20 Customer Disbursement
                                                                                         TOTAL                           $3,411.20
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4518                                     6/8/2023 USD                      $9,999.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4518                                     6/6/2023 USD                      $4,215.20 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4518                                    5/23/2023 USD                      $1,001.00 Customer Disbursement
                                                                                         TOTAL                          $15,215.40
        Confidential Customer USD Transferee #4519         [Address on File]          6/13/2023 USD                      $4,999.20 Customer Disbursement
                                                                                         TOTAL                           $4,999.20
        Confidential Customer USD Transferee #4520         [Address on File]          5/31/2023 USD                      $2,399.20 Customer Disbursement
                                                                                         TOTAL                           $2,399.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4521                                    6/14/2023 USD                      $1,002.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4521                                    6/12/2023 USD                      $1,000.72 Customer Disbursement
                                                                                         TOTAL                           $2,002.72
                                                           [Address on File]
        Confidential Customer USD Transferee #4522                                    6/12/2023 USD                      $2,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4522                                    5/22/2023 USD                 $4,889,999.20 Customer Disbursement
                                                                                         TOTAL                      $4,891,999.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4523                                     6/7/2023 USD                      $1,002.20 Customer Disbursement
                                                                                        TOTAL                            $1,002.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4524                                    5/30/2023 USD                      $5,714.20 Customer Disbursement
                                                                                         TOTAL                           $5,714.20
                                                           [Address on File]

        Confidential Customer USD Transferee #4525                                     6/7/2023 USD                   $350,244.20 Customer Disbursement
                                                                                        TOTAL                         $350,244.20
                                                           [Address on File]

        Confidential Customer USD Transferee #4526                                     6/6/2023 USD                     $64,286.20 Customer Disbursement


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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]

        Confidential Customer USD Transferee #4526                                    5/31/2023 USD                      $1,999.20 Customer Disbursement
                                                                                         TOTAL                          $66,285.40
                                                           [Address on File]
        Confidential Customer USD Transferee #4527                                    5/18/2023 USD                   $999,999.20 Customer Disbursement
                                                                                         TOTAL                        $999,999.20
        Confidential Customer USD Transferee #4528         [Address on File]          5/16/2023 USD                     $1,117.20 Customer Disbursement
                                                                                         TOTAL                          $1,117.20
                                                           [Address on File]
        Confidential Customer USD Transferee #4529                                    6/14/2023 USD                      $1,000.00 Customer Disbursement
                                                                                         TOTAL                           $1,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4530                                    5/30/2023 USD                     $15,099.00 Customer Disbursement
                                                                                         TOTAL                          $15,099.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4531                                    5/23/2023 USD                      $1,112.17 Customer Disbursement
                                                                                         TOTAL                           $1,112.17
                                                           [Address on File]
        Confidential Customer USD Transferee #4532                                     6/7/2023 USD                      $7,946.88 Customer Disbursement
                                                                                        TOTAL                            $7,946.88
                                                           [Address on File]
        Confidential Customer USD Transferee #4533                                    6/20/2023 AUD                       3,000.00 Customer Disbursement
                                                                                         TOTAL                            3,000.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4534                                    6/20/2023 CAD                      37,323.57 Customer Disbursement
                                                                                         TOTAL                           37,323.57
                                                           [Address on File]
        Confidential Customer USD Transferee #4535                                    6/20/2023 GBP                    110,746.86 Customer Disbursement
                                                                                         TOTAL                         110,746.86
        Confidential Customer USD Transferee #4536         [Address on File]          5/31/2023 USD                        $10.00 Customer Disbursement
                                                                                         TOTAL                             $10.00
        Confidential Customer USD Transferee #4537         [Address on File]           6/8/2023 USD                   $500,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4537         [Address on File]          5/25/2023 USD                 $2,257,458.97 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                       $2,757,458.97
        Confidential Customer USD Transferee #4538         [Address on File]        6/13/2023 USD                         $31.96 Customer Disbursement
        Confidential Customer USD Transferee #4538         [Address on File]         6/9/2023 USD                         $31.96 Customer Disbursement
        Confidential Customer USD Transferee #4538         [Address on File]         6/7/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4538         [Address on File]         6/6/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4538         [Address on File]         6/1/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4538         [Address on File]        5/22/2023 USD                         $45.00 Customer Disbursement
                                                                                       TOTAL                            $258.92
        Confidential Customer USD Transferee #4539         [Address on File]        6/13/2023 USD                  $5,495,000.00 Customer Disbursement
                                                                                       TOTAL                       $5,495,000.00
        Confidential Customer USD Transferee #4540         [Address on File]        5/25/2023 USD                  $2,467,413.12 Customer Disbursement
                                                                                       TOTAL                       $2,467,413.12
                                                           [Address on File]
        Confidential Customer USD Transferee #4541                                    5/18/2023 USD                 $2,000,000.00 Customer Disbursement
                                                                                         TOTAL                      $2,000,000.00
        Confidential Customer USD Transferee #4542         [Address on File]          6/20/2023 USD                        $15.00 Customer Disbursement
                                                                                         TOTAL                             $15.00
        Confidential Customer USD Transferee #4543         [Address on File]          5/24/2023 USD                        $30.42 Customer Disbursement
                                                                                         TOTAL                             $30.42
        Confidential Customer USD Transferee #4544         [Address on File]           6/1/2023 USD                     $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4544         [Address on File]           6/1/2023 USD                     $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4544         [Address on File]          5/18/2023 USD                     $1,025.00 Customer Disbursement
                                                                                         TOTAL                          $4,025.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4545                                    5/31/2023 USD                         $10.00 Customer Disbursement
                                                                                         TOTAL                              $10.00
        Confidential Customer USD Transferee #4546         [Address on File]           6/6/2023 USD                        $639.03 Customer Disbursement
        Confidential Customer USD Transferee #4546         [Address on File]           6/6/2023 USD                      $2,875.00 Customer Disbursement
                                                                                         TOTAL                           $3,514.03
        Confidential Customer USD Transferee #4547         [Address on File]          6/21/2023 USD                        $257.00 Customer Disbursement
                                                                                         TOTAL                            $257.00
        Confidential Customer USD Transferee #4548         [Address on File]          5/19/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4548         [Address on File]          5/18/2023 USD                         $80.00 Customer Disbursement
                                                                                         TOTAL                            $180.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4549   [Address on File]        6/21/2023 USD                      $5,019.76 Customer Disbursement
        Confidential Customer USD Transferee #4549   [Address on File]        6/20/2023 USD                         $17.00 Customer Disbursement
                                                                                 TOTAL                           $5,036.76
        Confidential Customer USD Transferee #4550   [Address on File]        6/21/2023 USD                         $42.89 Customer Disbursement
                                                                                 TOTAL                              $42.89
        Confidential Customer USD Transferee #4551   [Address on File]        6/20/2023 USD                        $404.00 Customer Disbursement
        Confidential Customer USD Transferee #4551   [Address on File]        6/20/2023 USD                        $507.00 Customer Disbursement
                                                                                 TOTAL                            $911.00
        Confidential Customer USD Transferee #4552   [Address on File]         6/5/2023 USD                          $1.00 Customer Disbursement
                                                                                 TOTAL                               $1.00
        Confidential Customer USD Transferee #4553   [Address on File]         6/6/2023 USD                      $1,486.98 Customer Disbursement
                                                                                 TOTAL                           $1,486.98
        Confidential Customer USD Transferee #4554   [Address on File]         6/5/2023 USD                        $142.30 Customer Disbursement
        Confidential Customer USD Transferee #4554   [Address on File]        5/31/2023 USD                        $142.30 Customer Disbursement
        Confidential Customer USD Transferee #4554   [Address on File]        5/22/2023 USD                        $140.58 Customer Disbursement
                                                                                 TOTAL                            $425.18
        Confidential Customer USD Transferee #4555   [Address on File]        5/26/2023 USD                        $305.82 Customer Disbursement
                                                                                 TOTAL                            $305.82
        Confidential Customer USD Transferee #4556   [Address on File]         6/2/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4556   [Address on File]        5/19/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $200.00
        Confidential Customer USD Transferee #4557   [Address on File]        6/21/2023 USD                      $4,500.93 Customer Disbursement
                                                                                 TOTAL                           $4,500.93
        Confidential Customer USD Transferee #4558   [Address on File]        5/23/2023 USD                         $17.00 Customer Disbursement
                                                                                 TOTAL                              $17.00
        Confidential Customer USD Transferee #4559   [Address on File]        5/30/2023 USD                    $14,113.00 Customer Disbursement
                                                                                 TOTAL                         $14,113.00
        Confidential Customer USD Transferee #4560   [Address on File]        5/19/2023 USD                        $352.37 Customer Disbursement
                                                                                 TOTAL                            $352.37
        Confidential Customer USD Transferee #4561   [Address on File]        5/23/2023 USD                        $181.02 Customer Disbursement
                                                                                 TOTAL                            $181.02
        Confidential Customer USD Transferee #4562   [Address on File]         6/2/2023 USD                        $600.45 Customer Disbursement
                                                                                 TOTAL                            $600.45
        Confidential Customer USD Transferee #4563   [Address on File]        6/12/2023 USD                          $7.58 Customer Disbursement

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                                                                                                                                Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount          Transfer
                                                                                       TOTAL                              $7.58
        Confidential Customer USD Transferee #4564         [Address on File]        5/31/2023 USD                        $10.00 Customer Disbursement
                                                                                       TOTAL                             $10.00
        Confidential Customer USD Transferee #4565         [Address on File]        5/30/2023 USD                        $73.59 Customer Disbursement
                                                                                       TOTAL                             $73.59
        Confidential Customer USD Transferee #4566         [Address on File]        5/24/2023 USD                        $10.00 Customer Disbursement
                                                                                       TOTAL                             $10.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4567                                    6/12/2023 USD                         $31.66 Customer Disbursement
                                                                                         TOTAL                              $31.66
        Confidential Customer USD Transferee #4568         [Address on File]           6/8/2023 USD                         $23.52 Customer Disbursement
                                                                                         TOTAL                              $23.52
        Confidential Customer USD Transferee #4569         [Address on File]          5/17/2023 USD                         $20.00 Customer Disbursement
                                                                                         TOTAL                              $20.00
        Confidential Customer USD Transferee #4570         [Address on File]          5/30/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $50.00
        Confidential Customer USD Transferee #4571         [Address on File]          5/23/2023 USD                        $154.25 Customer Disbursement
                                                                                         TOTAL                             $154.25
                                                           [Address on File]
        Confidential Customer USD Transferee #4572                                     6/5/2023 USD                          $0.21 Customer Disbursement
                                                                                         TOTAL                               $0.21
        Confidential Customer USD Transferee #4573         [Address on File]          5/16/2023 USD                      $1,500.00 Customer Disbursement
                                                                                         TOTAL                           $1,500.00
        Confidential Customer USD Transferee #4574         [Address on File]           6/1/2023 USD                          $4.61 Customer Disbursement
                                                                                         TOTAL                               $4.61
        Confidential Customer USD Transferee #4575         [Address on File]          6/21/2023 USD                      $5,594.94 Customer Disbursement
                                                                                         TOTAL                           $5,594.94
        Confidential Customer USD Transferee #4576         [Address on File]          6/21/2023 USD                      $2,973.00 Customer Disbursement
                                                                                         TOTAL                           $2,973.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4577                                     6/8/2023 USD                   $488,711.00 Customer Disbursement
                                                                                        TOTAL                         $488,711.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4578                                    5/31/2023 USD                             $5.00 Customer Disbursement

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                                                                                                                                 Reason for Payment or
                          Creditor's Name                       Address         Payment Date Currency          Payment Amount           Transfer
                                                                                       TOTAL                               $5.00
        Confidential Customer USD Transferee #4579         [Address on File]        5/25/2023 USD                    $34,359.04 Customer Disbursement
                                                                                       TOTAL                         $34,359.04
        Confidential Customer USD Transferee #4580         [Address on File]        5/25/2023 USD                      $1,000.00 Customer Disbursement
                                                                                       TOTAL                           $1,000.00
        Confidential Customer USD Transferee #4581         [Address on File]        6/21/2023 USD                      $2,451.00 Customer Disbursement
                                                                                       TOTAL                           $2,451.00
        Confidential Customer USD Transferee #4582         [Address on File]         6/6/2023 USD                        $520.00 Customer Disbursement
        Confidential Customer USD Transferee #4582         [Address on File]        5/31/2023 USD                        $900.00 Customer Disbursement
        Confidential Customer USD Transferee #4582         [Address on File]        5/16/2023 USD                        $900.00 Customer Disbursement
                                                                                       TOTAL                           $2,320.00
        Confidential Customer USD Transferee #4583         [Address on File]         6/8/2023 USD                        $428.31 Customer Disbursement
                                                                                       TOTAL                            $428.31
        Confidential Customer USD Transferee #4584         [Address on File]        5/18/2023 USD                        $200.00 Customer Disbursement
                                                                                       TOTAL                            $200.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4585                                    6/21/2023 USD                        $100.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4585                                    6/21/2023 USD                         $86.08 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4585                                    6/20/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                             $286.08
        Confidential Customer USD Transferee #4586         [Address on File]           6/1/2023 USD                        $198.00 Customer Disbursement
                                                                                         TOTAL                             $198.00
        Confidential Customer USD Transferee #4587         [Address on File]          5/25/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #4588         [Address on File]          5/22/2023 USD                        $320.00 Customer Disbursement
        Confidential Customer USD Transferee #4588         [Address on File]          5/16/2023 USD                        $175.00 Customer Disbursement
                                                                                         TOTAL                             $495.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4589                                    6/14/2023 USD                        $239.21 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4589                                    5/23/2023 USD                         $10.00 Customer Disbursement



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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4589                                    5/23/2023 USD                         $10.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4589                                    5/18/2023 USD                         $60.00 Customer Disbursement
                                                                                         TOTAL                             $319.21
                                                           [Address on File]
        Confidential Customer USD Transferee #4590                                     6/8/2023 USD                        $509.00 Customer Disbursement
                                                                                         TOTAL                            $509.00
        Confidential Customer USD Transferee #4591         [Address on File]          5/22/2023 USD                         $14.04 Customer Disbursement
                                                                                         TOTAL                              $14.04
        Confidential Customer USD Transferee #4592         [Address on File]           6/2/2023 USD                         $89.00 Customer Disbursement
                                                                                         TOTAL                              $89.00
        Confidential Customer USD Transferee #4593         [Address on File]           6/8/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $100.00
        Confidential Customer USD Transferee #4594         [Address on File]           6/7/2023 USD                        $105.74 Customer Disbursement
                                                                                         TOTAL                            $105.74
        Confidential Customer USD Transferee #4595         [Address on File]          6/21/2023 USD                      $2,768.24 Customer Disbursement
        Confidential Customer USD Transferee #4595         [Address on File]          6/16/2023 USD                      $7,780.39 Customer Disbursement
                                                                                         TOTAL                          $10,548.63
        Confidential Customer USD Transferee #4596         [Address on File]          6/22/2023 USD                      $8,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4596         [Address on File]          6/20/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                           $8,600.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4597                                    5/18/2023 USD                       $961.77 Customer Disbursement
                                                                                         TOTAL                            $961.77
        Confidential Customer USD Transferee #4598         [Address on File]          6/22/2023 USD                      $2,587.22 Customer Disbursement
        Confidential Customer USD Transferee #4598         [Address on File]          6/21/2023 USD                       $791.82 Customer Disbursement
        Confidential Customer USD Transferee #4598         [Address on File]          6/21/2023 USD                      $2,603.28 Customer Disbursement
        Confidential Customer USD Transferee #4598         [Address on File]          6/15/2023 USD                      $5,787.89 Customer Disbursement
        Confidential Customer USD Transferee #4598         [Address on File]          6/13/2023 USD                      $1,084.85 Customer Disbursement
        Confidential Customer USD Transferee #4598         [Address on File]          6/13/2023 USD                      $2,177.85 Customer Disbursement
        Confidential Customer USD Transferee #4598         [Address on File]           6/7/2023 USD                      $6,810.54 Customer Disbursement
        Confidential Customer USD Transferee #4598         [Address on File]           6/6/2023 USD                      $1,435.83 Customer Disbursement
        Confidential Customer USD Transferee #4598         [Address on File]           6/6/2023 USD                      $1,362.24 Customer Disbursement
        Confidential Customer USD Transferee #4598         [Address on File]           6/5/2023 USD                      $3,820.65 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4598   [Address on File]         6/1/2023 USD                        $733.92 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/31/2023 USD                      $2,371.05 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/30/2023 USD                        $557.11 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/26/2023 USD                      $4,287.30 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/23/2023 USD                        $631.52 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/23/2023 USD                        $790.35 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/22/2023 USD                      $1,842.68 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/17/2023 USD                      $1,162.54 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/16/2023 USD                      $1,309.28 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        6/20/2023 USD                        $689.04 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        6/13/2023 USD                      $1,981.65 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        6/12/2023 USD                      $1,493.15 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]         6/6/2023 USD                      $1,033.34 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/31/2023 USD                      $2,072.10 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/31/2023 USD                      $2,603.93 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/24/2023 USD                      $3,042.73 Customer Disbursement
        Confidential Customer USD Transferee #4598   [Address on File]        5/19/2023 USD                      $1,259.53 Customer Disbursement
                                                                                 TOTAL                         $56,323.39
        Confidential Customer USD Transferee #4599   [Address on File]         6/6/2023 USD                        $270.68 Customer Disbursement
                                                                                 TOTAL                            $270.68
        Confidential Customer USD Transferee #4600   [Address on File]        6/21/2023 USD                      $3,409.57 Customer Disbursement
                                                                                 TOTAL                           $3,409.57
        Confidential Customer USD Transferee #4601   [Address on File]        5/31/2023 USD                        $208.16 Customer Disbursement
                                                                                 TOTAL                            $208.16
                                                     [Address on File]
        Confidential Customer USD Transferee #4602                              6/21/2023 USD                        $110.42 Customer Disbursement
                                                                                   TOTAL                             $110.42
        Confidential Customer USD Transferee #4603   [Address on File]          6/21/2023 USD                        $931.33 Customer Disbursement
                                                                                   TOTAL                             $931.33
        Confidential Customer USD Transferee #4604   [Address on File]           6/6/2023 USD                        $150.00 Customer Disbursement
                                                                                   TOTAL                             $150.00
        Confidential Customer USD Transferee #4605   [Address on File]          5/16/2023 USD                        $977.89 Customer Disbursement
                                                                                   TOTAL                             $977.89
        Confidential Customer USD Transferee #4606   [Address on File]          5/16/2023 USD                        $405.19 Customer Disbursement
                                                                                   TOTAL                             $405.19
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4607   [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00
        Confidential Customer USD Transferee #4608   [Address on File]        5/24/2023 USD                        $300.60 Customer Disbursement
        Confidential Customer USD Transferee #4608   [Address on File]        5/23/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                            $350.60
        Confidential Customer USD Transferee #4609   [Address on File]        6/13/2023 USD                        $397.81 Customer Disbursement
                                                                                 TOTAL                            $397.81
        Confidential Customer USD Transferee #4610   [Address on File]        5/22/2023 USD                          $0.10 Customer Disbursement
                                                                                 TOTAL                               $0.10
        Confidential Customer USD Transferee #4611   [Address on File]        6/16/2023 USD                         $55.00 Customer Disbursement
                                                                                 TOTAL                              $55.00
        Confidential Customer USD Transferee #4612   [Address on File]        5/23/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                               $5.00
        Confidential Customer USD Transferee #4613   [Address on File]        6/21/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4613   [Address on File]        6/20/2023 USD                      $5,000.00 Customer Disbursement
                                                                                 TOTAL                         $10,000.00
        Confidential Customer USD Transferee #4614   [Address on File]         6/2/2023 USD                        $370.00 Customer Disbursement
                                                                                 TOTAL                            $370.00
        Confidential Customer USD Transferee #4615   [Address on File]        6/21/2023 USD                         $39.00 Customer Disbursement
                                                                                 TOTAL                              $39.00
        Confidential Customer USD Transferee #4616   [Address on File]        5/16/2023 USD                      $4,537.00 Customer Disbursement
                                                                                 TOTAL                           $4,537.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4617                              5/26/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00
        Confidential Customer USD Transferee #4618   [Address on File]           6/6/2023 USD                      $2,500.00 Customer Disbursement
                                                                                   TOTAL                           $2,500.00
        Confidential Customer USD Transferee #4619   [Address on File]          6/21/2023 USD                        $642.91 Customer Disbursement
        Confidential Customer USD Transferee #4619   [Address on File]          6/20/2023 USD                        $431.10 Customer Disbursement
                                                                                   TOTAL                           $1,074.01
        Confidential Customer USD Transferee #4620   [Address on File]           6/6/2023 USD                         $50.00 Customer Disbursement
                                                                                   TOTAL                              $50.00
        Confidential Customer USD Transferee #4621   [Address on File]           6/8/2023 USD                     $12,193.27 Customer Disbursement
                                                                                   TOTAL                          $12,193.27

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4622   [Address on File]         6/8/2023 USD                        $981.00 Customer Disbursement
        Confidential Customer USD Transferee #4622   [Address on File]         6/7/2023 USD                        $981.00 Customer Disbursement
        Confidential Customer USD Transferee #4622   [Address on File]         6/6/2023 USD                      $2,943.00 Customer Disbursement
        Confidential Customer USD Transferee #4622   [Address on File]         6/5/2023 USD                      $2,943.00 Customer Disbursement
        Confidential Customer USD Transferee #4622   [Address on File]        5/31/2023 USD                      $2,943.00 Customer Disbursement
        Confidential Customer USD Transferee #4622   [Address on File]        5/30/2023 USD                        $981.00 Customer Disbursement
        Confidential Customer USD Transferee #4622   [Address on File]        5/30/2023 USD                      $1,905.00 Customer Disbursement
        Confidential Customer USD Transferee #4622   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4622   [Address on File]        5/22/2023 USD                      $2,943.00 Customer Disbursement
        Confidential Customer USD Transferee #4622   [Address on File]        5/17/2023 USD                      $2,943.00 Customer Disbursement
        Confidential Customer USD Transferee #4622   [Address on File]        5/16/2023 USD                      $2,943.00 Customer Disbursement
                                                                                 TOTAL                         $25,506.00
        Confidential Customer USD Transferee #4623   [Address on File]        5/16/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $2,000.00
        Confidential Customer USD Transferee #4624   [Address on File]         6/7/2023 USD                        $505.98 Customer Disbursement
                                                                                 TOTAL                            $505.98
        Confidential Customer USD Transferee #4625   [Address on File]         6/5/2023 USD                        $650.00 Customer Disbursement
        Confidential Customer USD Transferee #4625   [Address on File]         6/1/2023 USD                        $700.00 Customer Disbursement
                                                                                 TOTAL                           $1,350.00
        Confidential Customer USD Transferee #4626   [Address on File]        6/15/2023 USD                        $508.04 Customer Disbursement
        Confidential Customer USD Transferee #4626   [Address on File]        6/12/2023 USD                        $533.87 Customer Disbursement
                                                                                 TOTAL                           $1,041.91
        Confidential Customer USD Transferee #4627   [Address on File]        6/16/2023 USD                         $47.06 Customer Disbursement
                                                                                 TOTAL                              $47.06
        Confidential Customer USD Transferee #4628   [Address on File]        6/20/2023 USD                         $30.00 Customer Disbursement
                                                                                 TOTAL                              $30.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4629                              5/23/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $200.00
        Confidential Customer USD Transferee #4630   [Address on File]           6/7/2023 USD                      $2,300.00 Customer Disbursement
                                                                                   TOTAL                           $2,300.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4631                               6/9/2023 USD                     $50,000.00 Customer Disbursement
                                                                                  TOTAL                           $50,000.00

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4632                                    5/31/2023 USD                        $232.80 Customer Disbursement
                                                                                         TOTAL                             $232.80
                                                           [Address on File]
        Confidential Customer USD Transferee #4633                                     6/2/2023 USD                      $1,000.00 Customer Disbursement
                                                                                        TOTAL                            $1,000.00
        Confidential Customer USD Transferee #4634         [Address on File]           6/1/2023 USD                        $816.42 Customer Disbursement
                                                                                        TOTAL                             $816.42
                                                           [Address on File]
        Confidential Customer USD Transferee #4635                                    6/20/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #4636         [Address on File]          5/23/2023 USD                          $5.00 Customer Disbursement
                                                                                         TOTAL                               $5.00
        Confidential Customer USD Transferee #4637         [Address on File]          5/24/2023 USD                          $0.14 Customer Disbursement
                                                                                         TOTAL                               $0.14
        Confidential Customer USD Transferee #4638         [Address on File]          5/24/2023 USD                        $561.22 Customer Disbursement
                                                                                         TOTAL                            $561.22
        Confidential Customer USD Transferee #4639         [Address on File]          6/21/2023 USD                      $1,017.92 Customer Disbursement
        Confidential Customer USD Transferee #4639         [Address on File]          6/21/2023 USD                     $10,000.00 Customer Disbursement
                                                                                         TOTAL                          $11,017.92
        Confidential Customer USD Transferee #4640         [Address on File]           6/5/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4640         [Address on File]          5/30/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4640         [Address on File]          5/22/2023 USD                        $100.00 Customer Disbursement
                                                                                         TOTAL                            $300.00
        Confidential Customer USD Transferee #4641         [Address on File]           6/5/2023 USD                      $1,395.90 Customer Disbursement
                                                                                         TOTAL                           $1,395.90
        Confidential Customer USD Transferee #4642         [Address on File]           6/6/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4642         [Address on File]          5/16/2023 USD                         $30.00 Customer Disbursement
                                                                                         TOTAL                            $280.00
        Confidential Customer USD Transferee #4643         [Address on File]          5/31/2023 USD                         $57.77 Customer Disbursement
                                                                                         TOTAL                              $57.77
        Confidential Customer USD Transferee #4644         [Address on File]           6/2/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4644         [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $6,000.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4645   [Address on File]        5/30/2023 USD                      $2,757.16 Customer Disbursement
        Confidential Customer USD Transferee #4645   [Address on File]        5/16/2023 USD                      $2,317.14 Customer Disbursement
                                                                                 TOTAL                           $5,074.30
        Confidential Customer USD Transferee #4646   [Address on File]         6/8/2023 USD                        $189.02 Customer Disbursement
        Confidential Customer USD Transferee #4646   [Address on File]         6/7/2023 USD                         $25.00 Customer Disbursement
                                                                                 TOTAL                            $214.02
        Confidential Customer USD Transferee #4647   [Address on File]         6/8/2023 USD                        $197.50 Customer Disbursement
        Confidential Customer USD Transferee #4647   [Address on File]        5/30/2023 USD                        $129.04 Customer Disbursement
        Confidential Customer USD Transferee #4647   [Address on File]        5/24/2023 USD                        $594.38 Customer Disbursement
                                                                                 TOTAL                            $920.92
        Confidential Customer USD Transferee #4648   [Address on File]        5/31/2023 USD                         $96.29 Customer Disbursement
                                                                                 TOTAL                              $96.29
        Confidential Customer USD Transferee #4649   [Address on File]        6/21/2023 USD                      $1,469.97 Customer Disbursement
                                                                                 TOTAL                           $1,469.97
        Confidential Customer USD Transferee #4650   [Address on File]        5/26/2023 USD                      $1,350.00 Customer Disbursement
        Confidential Customer USD Transferee #4650   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4650   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4650   [Address on File]        5/24/2023 USD                        $150.00 Customer Disbursement
                                                                                 TOTAL                           $7,500.00
        Confidential Customer USD Transferee #4651   [Address on File]         6/8/2023 USD                   $298,925.52 Customer Disbursement
        Confidential Customer USD Transferee #4651   [Address on File]        5/26/2023 USD                   $189,278.46 Customer Disbursement
                                                                                 TOTAL                        $488,203.98
        Confidential Customer USD Transferee #4652   [Address on File]         6/6/2023 USD                        $110.34 Customer Disbursement
                                                                                 TOTAL                            $110.34
        Confidential Customer USD Transferee #4653   [Address on File]        6/21/2023 USD                    $20,000.00 Customer Disbursement
                                                                                 TOTAL                         $20,000.00
        Confidential Customer USD Transferee #4654   [Address on File]        6/22/2023 USD                        $117.25 Customer Disbursement
        Confidential Customer USD Transferee #4654   [Address on File]        6/20/2023 USD                        $125.00 Customer Disbursement
        Confidential Customer USD Transferee #4654   [Address on File]         6/5/2023 USD                        $229.00 Customer Disbursement
        Confidential Customer USD Transferee #4654   [Address on File]         6/2/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4654   [Address on File]        5/30/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4654   [Address on File]        5/24/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4654   [Address on File]        5/23/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                           $1,771.25

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4655   [Address on File]        6/20/2023 USD                        $547.14 Customer Disbursement
                                                                                 TOTAL                            $547.14
        Confidential Customer USD Transferee #4656   [Address on File]        6/21/2023 USD                        $197.00 Customer Disbursement
                                                                                 TOTAL                            $197.00
        Confidential Customer USD Transferee #4657   [Address on File]        6/21/2023 USD                      $4,448.24 Customer Disbursement
                                                                                 TOTAL                           $4,448.24
                                                     [Address on File]
        Confidential Customer USD Transferee #4658                              6/12/2023 USD                        $144.66 Customer Disbursement
                                                                                   TOTAL                             $144.66
        Confidential Customer USD Transferee #4659   [Address on File]          5/30/2023 USD                        $136.63 Customer Disbursement
                                                                                   TOTAL                             $136.63
                                                     [Address on File]
        Confidential Customer USD Transferee #4660                              5/30/2023 USD                         $80.00 Customer Disbursement
                                                                                   TOTAL                              $80.00
        Confidential Customer USD Transferee #4661   [Address on File]           6/5/2023 USD                        $503.54 Customer Disbursement
                                                                                   TOTAL                             $503.54
                                                     [Address on File]
        Confidential Customer USD Transferee #4662                               6/9/2023 USD                        $611.89 Customer Disbursement
                                                                                   TOTAL                            $611.89
        Confidential Customer USD Transferee #4663   [Address on File]          5/16/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $1,000.00
        Confidential Customer USD Transferee #4664   [Address on File]          5/23/2023 USD                        $700.00 Customer Disbursement
        Confidential Customer USD Transferee #4664   [Address on File]          5/23/2023 USD                        $400.00 Customer Disbursement
                                                                                   TOTAL                           $1,100.00
        Confidential Customer USD Transferee #4665   [Address on File]          5/31/2023 USD                      $2,862.53 Customer Disbursement
                                                                                   TOTAL                           $2,862.53
        Confidential Customer USD Transferee #4666   [Address on File]          5/30/2023 USD                      $5,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4666   [Address on File]          5/16/2023 USD                      $2,500.00 Customer Disbursement
                                                                                   TOTAL                           $7,500.00
        Confidential Customer USD Transferee #4667   [Address on File]          6/21/2023 USD                      $2,634.02 Customer Disbursement
                                                                                   TOTAL                           $2,634.02
        Confidential Customer USD Transferee #4668   [Address on File]           6/5/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4668   [Address on File]          5/22/2023 USD                      $1,000.00 Customer Disbursement
                                                                                   TOTAL                           $2,000.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4669   [Address on File]        6/21/2023 USD                         $83.69 Customer Disbursement
                                                                                 TOTAL                              $83.69
        Confidential Customer USD Transferee #4670   [Address on File]        6/22/2023 USD                         $23.31 Customer Disbursement
        Confidential Customer USD Transferee #4670   [Address on File]        6/22/2023 USD                        $742.91 Customer Disbursement
                                                                                 TOTAL                            $766.22
        Confidential Customer USD Transferee #4671   [Address on File]        6/21/2023 USD                      $9,503.86 Customer Disbursement
                                                                                 TOTAL                           $9,503.86
        Confidential Customer USD Transferee #4672   [Address on File]        6/22/2023 USD                        $249.47 Customer Disbursement
        Confidential Customer USD Transferee #4672   [Address on File]        6/21/2023 USD                         $32.50 Customer Disbursement
                                                                                 TOTAL                            $281.97
        Confidential Customer USD Transferee #4673   [Address on File]        5/31/2023 USD                        $334.31 Customer Disbursement
        Confidential Customer USD Transferee #4673   [Address on File]        5/25/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $834.31
        Confidential Customer USD Transferee #4674   [Address on File]        5/30/2023 USD                        $447.88 Customer Disbursement
                                                                                 TOTAL                            $447.88
        Confidential Customer USD Transferee #4675   [Address on File]         6/8/2023 USD                      $4,166.74 Customer Disbursement
        Confidential Customer USD Transferee #4675   [Address on File]         6/6/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                           $4,171.74
        Confidential Customer USD Transferee #4676   [Address on File]        6/20/2023 USD                        $407.96 Customer Disbursement
        Confidential Customer USD Transferee #4676   [Address on File]        6/16/2023 USD                         $84.35 Customer Disbursement
                                                                                 TOTAL                            $492.31
        Confidential Customer USD Transferee #4677   [Address on File]        6/21/2023 USD                      $7,531.00 Customer Disbursement
        Confidential Customer USD Transferee #4677   [Address on File]        6/20/2023 USD                      $9,900.00 Customer Disbursement
        Confidential Customer USD Transferee #4677   [Address on File]        6/20/2023 USD                      $5,403.41 Customer Disbursement
        Confidential Customer USD Transferee #4677   [Address on File]        5/16/2023 USD                      $8,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4677   [Address on File]        6/22/2023 USD                        $494.06 Customer Disbursement
        Confidential Customer USD Transferee #4677   [Address on File]        5/23/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4677   [Address on File]        5/23/2023 USD                      $8,800.00 Customer Disbursement
        Confidential Customer USD Transferee #4677   [Address on File]        5/19/2023 USD                      $9,990.00 Customer Disbursement
                                                                                 TOTAL                         $51,118.47
        Confidential Customer USD Transferee #4678   [Address on File]         6/2/2023 USD                        $149.43 Customer Disbursement
        Confidential Customer USD Transferee #4678   [Address on File]        5/26/2023 USD                        $244.45 Customer Disbursement
        Confidential Customer USD Transferee #4678   [Address on File]        5/19/2023 USD                        $148.59 Customer Disbursement
                                                                                 TOTAL                            $542.47

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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4679                                    6/22/2023 USD                         $10.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4679                                    6/22/2023 USD                         $20.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4679                                    6/22/2023 USD                         $50.00 Customer Disbursement
                                                                                         TOTAL                              $80.00
        Confidential Customer USD Transferee #4680         [Address on File]          5/24/2023 USD                      $1,470.00 Customer Disbursement
                                                                                         TOTAL                           $1,470.00
                                                           [Address on File]
        Confidential Customer USD Transferee #4681                                    5/16/2023 USD                        $300.00 Customer Disbursement
                                                                                         TOTAL                            $300.00
        Confidential Customer USD Transferee #4682         [Address on File]           6/8/2023 USD                      $3,331.02 Customer Disbursement
                                                                                         TOTAL                           $3,331.02
                                                           [Address on File]
        Confidential Customer USD Transferee #4683                                    6/21/2023 USD                          $1.19 Customer Disbursement
                                                                                         TOTAL                               $1.19
        Confidential Customer USD Transferee #4684         [Address on File]           6/1/2023 USD                      $3,000.00 Customer Disbursement
                                                                                         TOTAL                           $3,000.00
        Confidential Customer USD Transferee #4685         [Address on File]          5/24/2023 USD                      $4,255.86 Customer Disbursement
                                                                                         TOTAL                           $4,255.86
        Confidential Customer USD Transferee #4686         [Address on File]          5/17/2023 USD                      $5,675.50 Customer Disbursement
                                                                                         TOTAL                           $5,675.50
        Confidential Customer USD Transferee #4687         [Address on File]          5/30/2023 USD                        $355.23 Customer Disbursement
        Confidential Customer USD Transferee #4687         [Address on File]          5/26/2023 USD                         $81.45 Customer Disbursement
        Confidential Customer USD Transferee #4687         [Address on File]          5/24/2023 USD                         $92.17 Customer Disbursement
                                                                                         TOTAL                            $528.85
        Confidential Customer USD Transferee #4688         [Address on File]          6/20/2023 USD                      $1,820.96 Customer Disbursement
                                                                                         TOTAL                           $1,820.96
                                                           [Address on File]
        Confidential Customer USD Transferee #4689                                     6/6/2023 USD                        $716.36 Customer Disbursement
                                                                                         TOTAL                             $716.36
        Confidential Customer USD Transferee #4690         [Address on File]          6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                         TOTAL                              $15.00

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4691   [Address on File]        5/22/2023 USD                        $125.00 Customer Disbursement
                                                                                 TOTAL                            $125.00
        Confidential Customer USD Transferee #4692   [Address on File]        6/21/2023 USD                        $408.00 Customer Disbursement
        Confidential Customer USD Transferee #4692   [Address on File]        6/16/2023 USD                        $669.00 Customer Disbursement
                                                                                 TOTAL                           $1,077.00
        Confidential Customer USD Transferee #4693   [Address on File]        6/20/2023 USD                        $185.00 Customer Disbursement
        Confidential Customer USD Transferee #4693   [Address on File]        6/20/2023 USD                      $7,974.01 Customer Disbursement
                                                                                 TOTAL                           $8,159.01
                                                     [Address on File]
        Confidential Customer USD Transferee #4694                              6/21/2023 USD                        $255.46 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4694                               6/5/2023 USD                        $330.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4694                               6/2/2023 USD                        $140.00 Customer Disbursement
                                                                                   TOTAL                            $725.46
        Confidential Customer USD Transferee #4695   [Address on File]          5/23/2023 USD                        $190.00 Customer Disbursement
                                                                                   TOTAL                            $190.00
        Confidential Customer USD Transferee #4696   [Address on File]          5/19/2023 USD                          $2.00 Customer Disbursement
                                                                                   TOTAL                               $2.00
        Confidential Customer USD Transferee #4697   [Address on File]          6/13/2023 USD                      $1,460.00 Customer Disbursement
                                                                                   TOTAL                           $1,460.00
        Confidential Customer USD Transferee #4698   [Address on File]          6/20/2023 USD                      $6,173.00 Customer Disbursement
                                                                                   TOTAL                           $6,173.00
        Confidential Customer USD Transferee #4699   [Address on File]          6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                   TOTAL                              $15.00
        Confidential Customer USD Transferee #4700   [Address on File]          5/23/2023 USD                        $837.28 Customer Disbursement
                                                                                   TOTAL                            $837.28
        Confidential Customer USD Transferee #4701   [Address on File]          5/19/2023 USD                         $21.00 Customer Disbursement
                                                                                   TOTAL                              $21.00
        Confidential Customer USD Transferee #4702   [Address on File]           6/1/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4702   [Address on File]          5/17/2023 USD                        $200.00 Customer Disbursement
                                                                                   TOTAL                            $300.00
        Confidential Customer USD Transferee #4703   [Address on File]          5/17/2023 USD                         $76.58 Customer Disbursement
        Confidential Customer USD Transferee #4703   [Address on File]          5/16/2023 USD                         $46.05 Customer Disbursement

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                                                                                                                          Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount          Transfer
        Confidential Customer USD Transferee #4703   [Address on File]        5/16/2023 USD                        $99.47 Customer Disbursement
        Confidential Customer USD Transferee #4703   [Address on File]        5/16/2023 USD                       $389.20 Customer Disbursement
                                                                                 TOTAL                            $611.30
        Confidential Customer USD Transferee #4704   [Address on File]        5/31/2023 USD                        $10.00 Customer Disbursement
                                                                                 TOTAL                             $10.00
        Confidential Customer USD Transferee #4705   [Address on File]        6/12/2023 USD                        $22.54 Customer Disbursement
                                                                                 TOTAL                             $22.54
                                                     [Address on File]
        Confidential Customer USD Transferee #4706                              6/20/2023 USD                         $47.55 Customer Disbursement
                                                                                   TOTAL                              $47.55
        Confidential Customer USD Transferee #4707   [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4707   [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4707   [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4707   [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4707   [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4707   [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4707   [Address on File]          5/19/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4707   [Address on File]          5/19/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4707   [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4707   [Address on File]          5/19/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                          $25,500.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4708                               6/7/2023 USD                      $2,310.00 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4708                               6/7/2023 USD                      $4,500.00 Customer Disbursement
                                                                                   TOTAL                           $6,810.00
        Confidential Customer USD Transferee #4709   [Address on File]          5/26/2023 USD                          $1.00 Customer Disbursement
                                                                                   TOTAL                               $1.00
        Confidential Customer USD Transferee #4710   [Address on File]          5/24/2023 USD                        $197.52 Customer Disbursement
                                                                                   TOTAL                            $197.52
        Confidential Customer USD Transferee #4711   [Address on File]          5/18/2023 USD                      $2,427.65 Customer Disbursement
        Confidential Customer USD Transferee #4711   [Address on File]          5/18/2023 USD                         $35.00 Customer Disbursement
                                                                                   TOTAL                           $2,462.65
        Confidential Customer USD Transferee #4712   [Address on File]          5/22/2023 USD                        $100.00 Customer Disbursement
                                                                                   TOTAL                            $100.00
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4713   [Address on File]        6/20/2023 USD                        $149.37 Customer Disbursement
                                                                                 TOTAL                            $149.37
        Confidential Customer USD Transferee #4714   [Address on File]         6/8/2023 USD                      $1,150.00 Customer Disbursement
        Confidential Customer USD Transferee #4714   [Address on File]        5/31/2023 USD                      $1,111.00 Customer Disbursement
                                                                                 TOTAL                           $2,261.00
        Confidential Customer USD Transferee #4715   [Address on File]         6/8/2023 USD                          $1.13 Customer Disbursement
                                                                                 TOTAL                               $1.13
        Confidential Customer USD Transferee #4716   [Address on File]         6/7/2023 USD                      $8,320.46 Customer Disbursement
                                                                                 TOTAL                           $8,320.46
        Confidential Customer USD Transferee #4717   [Address on File]        6/21/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
        Confidential Customer USD Transferee #4718   [Address on File]        6/16/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4719                              5/31/2023 USD                        $153.19 Customer Disbursement
                                                     [Address on File]
        Confidential Customer USD Transferee #4719                              5/17/2023 USD                        $225.00 Customer Disbursement
                                                                                   TOTAL                            $378.19
        Confidential Customer USD Transferee #4720   [Address on File]          6/20/2023 USD                         $41.00 Customer Disbursement
        Confidential Customer USD Transferee #4720   [Address on File]          6/20/2023 USD                        $668.00 Customer Disbursement
        Confidential Customer USD Transferee #4720   [Address on File]          6/16/2023 USD                      $1,164.00 Customer Disbursement
        Confidential Customer USD Transferee #4720   [Address on File]          6/16/2023 USD                      $6,079.66 Customer Disbursement
                                                                                   TOTAL                           $7,952.66
        Confidential Customer USD Transferee #4721   [Address on File]           6/5/2023 USD                          $6.00 Customer Disbursement
        Confidential Customer USD Transferee #4721   [Address on File]          5/31/2023 USD                          $6.00 Customer Disbursement
                                                                                   TOTAL                              $12.00
        Confidential Customer USD Transferee #4722   [Address on File]           6/8/2023 USD                        $965.30 Customer Disbursement
                                                                                   TOTAL                            $965.30
        Confidential Customer USD Transferee #4723   [Address on File]          5/31/2023 USD                         $22.88 Customer Disbursement
                                                                                   TOTAL                              $22.88
        Confidential Customer USD Transferee #4724   [Address on File]          5/23/2023 USD                         $54.00 Customer Disbursement
                                                                                   TOTAL                              $54.00
        Confidential Customer USD Transferee #4725   [Address on File]          6/13/2023 USD                      $5,591.46 Customer Disbursement
                                                                                   TOTAL                           $5,591.46

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4726   [Address on File]        6/16/2023 USD                         $20.00 Customer Disbursement
                                                                                 TOTAL                              $20.00
        Confidential Customer USD Transferee #4727   [Address on File]        5/31/2023 USD                      $1,800.00 Customer Disbursement
        Confidential Customer USD Transferee #4727   [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $4,800.00
        Confidential Customer USD Transferee #4728   [Address on File]        5/31/2023 USD                      $1,400.12 Customer Disbursement
        Confidential Customer USD Transferee #4728   [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4728   [Address on File]        5/16/2023 USD                      $1,400.09 Customer Disbursement
        Confidential Customer USD Transferee #4728   [Address on File]        5/16/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $8,800.21
        Confidential Customer USD Transferee #4729   [Address on File]        5/16/2023 USD                         $25.00 Customer Disbursement
                                                                                 TOTAL                              $25.00
        Confidential Customer USD Transferee #4730   [Address on File]        5/25/2023 USD                        $859.02 Customer Disbursement
                                                                                 TOTAL                            $859.02
        Confidential Customer USD Transferee #4731   [Address on File]        5/16/2023 USD                         $10.37 Customer Disbursement
                                                                                 TOTAL                              $10.37
        Confidential Customer USD Transferee #4732   [Address on File]        6/21/2023 USD                        $360.82 Customer Disbursement
                                                                                 TOTAL                            $360.82
        Confidential Customer USD Transferee #4733   [Address on File]        5/25/2023 USD                      $5,912.00 Customer Disbursement
                                                                                 TOTAL                           $5,912.00
        Confidential Customer USD Transferee #4734   [Address on File]        6/20/2023 USD                         $23.00 Customer Disbursement
        Confidential Customer USD Transferee #4734   [Address on File]        6/20/2023 USD                      $1,298.68 Customer Disbursement
                                                                                 TOTAL                           $1,321.68
        Confidential Customer USD Transferee #4735   [Address on File]        6/21/2023 USD                        $621.28 Customer Disbursement
        Confidential Customer USD Transferee #4735   [Address on File]        6/20/2023 USD                      $5,801.17 Customer Disbursement
                                                                                 TOTAL                           $6,422.45
        Confidential Customer USD Transferee #4736   [Address on File]        6/21/2023 USD                         $21.18 Customer Disbursement
                                                                                 TOTAL                              $21.18
                                                     [Address on File]
        Confidential Customer USD Transferee #4737                              5/31/2023 USD                        $259.79 Customer Disbursement
                                                                                   TOTAL                             $259.79
                                                     [Address on File]
        Confidential Customer USD Transferee #4738                              5/24/2023 USD                   $897,428.19 Customer Disbursement


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                                                                                                                                  Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount           Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4738                                    5/24/2023 USD                   $500,000.00 Customer Disbursement
                                                           [Address on File]
        Confidential Customer USD Transferee #4738                                    5/24/2023 USD                   $500,000.00 Customer Disbursement
                                                                                         TOTAL                      $1,897,428.19
        Confidential Customer USD Transferee #4739         [Address on File]          6/13/2023 USD                       $174.30 Customer Disbursement
                                                                                         TOTAL                           $174.30
        Confidential Customer USD Transferee #4740         [Address on File]          6/21/2023 USD                         $5.57 Customer Disbursement
                                                                                         TOTAL                              $5.57
        Confidential Customer USD Transferee #4741         [Address on File]          5/31/2023 USD                        $16.00 Customer Disbursement
                                                                                         TOTAL                             $16.00
        Confidential Customer USD Transferee #4742         [Address on File]          6/15/2023 USD                        $65.93 Customer Disbursement
                                                                                         TOTAL                             $65.93
        Confidential Customer USD Transferee #4743         [Address on File]           6/7/2023 USD                     $1,000.00 Customer Disbursement
                                                                                         TOTAL                          $1,000.00
        Confidential Customer USD Transferee #4744         [Address on File]           6/5/2023 USD                        $31.02 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]           6/1/2023 USD                       $109.65 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/31/2023 USD                        $10.35 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/31/2023 USD                        $20.17 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/30/2023 USD                         $7.63 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/30/2023 USD                       $130.00 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/30/2023 USD                        $23.92 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/30/2023 USD                        $21.55 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/26/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/26/2023 USD                       $230.00 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/25/2023 USD                         $2.50 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/25/2023 USD                        $11.20 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/24/2023 USD                        $36.54 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/23/2023 USD                         $9.91 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/19/2023 USD                        $20.78 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/19/2023 USD                         $4.00 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/17/2023 USD                        $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/17/2023 USD                        $15.05 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/16/2023 USD                        $12.18 Customer Disbursement
        Confidential Customer USD Transferee #4744         [Address on File]          5/16/2023 USD                        $15.23 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4744   [Address on File]        5/16/2023 USD                         $60.00 Customer Disbursement
                                                                                 TOTAL                           $1,291.68
        Confidential Customer USD Transferee #4745   [Address on File]        5/26/2023 USD                        $279.48 Customer Disbursement
                                                                                 TOTAL                            $279.48
        Confidential Customer USD Transferee #4746   [Address on File]        6/20/2023 USD                        $500.96 Customer Disbursement
        Confidential Customer USD Transferee #4746   [Address on File]        6/13/2023 USD                      $2,014.17 Customer Disbursement
        Confidential Customer USD Transferee #4746   [Address on File]         6/7/2023 USD                      $2,274.53 Customer Disbursement
        Confidential Customer USD Transferee #4746   [Address on File]        5/24/2023 USD                      $1,994.80 Customer Disbursement
                                                                                 TOTAL                           $6,784.46
        Confidential Customer USD Transferee #4747   [Address on File]        6/16/2023 USD                    $15,960.34 Customer Disbursement
                                                                                 TOTAL                         $15,960.34
        Confidential Customer USD Transferee #4748   [Address on File]        6/16/2023 USD                        $968.21 Customer Disbursement
                                                                                 TOTAL                            $968.21
        Confidential Customer USD Transferee #4749   [Address on File]        5/17/2023 USD                        $223.23 Customer Disbursement
                                                                                 TOTAL                            $223.23
                                                     [Address on File]
        Confidential Customer USD Transferee #4750                              6/12/2023 USD                     $3,037.44 Customer Disbursement
                                                                                   TOTAL                          $3,037.44
        Confidential Customer USD Transferee #4751   [Address on File]          5/19/2023 USD                     $1,505.00 Customer Disbursement
                                                                                   TOTAL                          $1,505.00
        Confidential Customer USD Transferee #4752   [Address on File]          6/16/2023 USD                     $1,147.02 Customer Disbursement
                                                                                   TOTAL                          $1,147.02
        Confidential Customer USD Transferee #4753   [Address on File]          6/12/2023 USD                        $14.31 Customer Disbursement
                                                                                   TOTAL                             $14.31
        Confidential Customer USD Transferee #4754   [Address on File]          5/31/2023 USD                        $26.21 Customer Disbursement
                                                                                   TOTAL                             $26.21
        Confidential Customer USD Transferee #4755   [Address on File]          5/23/2023 USD                        $25.00 Customer Disbursement
                                                                                   TOTAL                             $25.00
        Confidential Customer USD Transferee #4756   [Address on File]          6/16/2023 USD                       $240.35 Customer Disbursement
                                                                                   TOTAL                           $240.35
        Confidential Customer USD Transferee #4757   [Address on File]          6/21/2023 USD                     $1,139.00 Customer Disbursement
                                                                                   TOTAL                          $1,139.00
        Confidential Customer USD Transferee #4758   [Address on File]          6/16/2023 USD                   $900,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]          6/14/2023 USD                       $300.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                         $98.49 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $540.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $283.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                         $24.44 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                          $2.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $398.52 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $658.37 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $595.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $300.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                         $68.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                          $2.43 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                          $5.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                         $52.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $124.73 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $150.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $163.03 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $102.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $310.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                      $1,095.96 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/14/2023 USD                       $112.50 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $103.31 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $24.78 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $11.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $34.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $450.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $105.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $40.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $571.67 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $45.80 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $130.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $130.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $979.96 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $120.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $587.85 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $225.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $19.86 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $800.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $635.12 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $123.55 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $800.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $97.52 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $479.29 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,899.90 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $2,943.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $442.87 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $75.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $11.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $9.50 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,600.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $30.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $645.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $575.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $24.81 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $175.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $313.74 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $748.67 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $11.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $57.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $225.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $45.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $268.95 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $5.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $600.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,992.24 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $220.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $0.50 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $179.73 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $266.71 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $6.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $159.50 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $225.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $10.25 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $112.20 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $149.77 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $326.33 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $769.33 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $600.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $16.53 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $116.85 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $3.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $14.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $383.96 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $6.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $499.07 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $5.90 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $2.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,800.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $0.20 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $130.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $207.29 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $626.03 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,003.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $11.32 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $47.44 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $6.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $523.71 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $435.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $600.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $19.53 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,800.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                      $1,400.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $31.91 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                       $153.22 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/13/2023 USD                         $35.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $36.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $24.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $189.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $520.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $750.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $130.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                          $4.94 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,200.76 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $412.25 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $11.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $6,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $580.13 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $142.93 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $575.47 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $490.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $30.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $175.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $51.14 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $148.80 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $450.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                          $7.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,326.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $600.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $40.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $800.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $264.51 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $49.43 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $89.52 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $192.95 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $150.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $239.52 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $490.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                   $900,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $90.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $750.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $4,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $480.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $2,475.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,062.71 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,081.88 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $700.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,076.26 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $657.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                          $1.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $450.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $656.66 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $2,497.14 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $216.14 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $44.08 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $650.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,425.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $450.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $550.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,800.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $315.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $103.11 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $81.42 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $290.23 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $73.68 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,583.71 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $300.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                          $8.31 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $24.70 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $150.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $953.38 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $279.43 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $350.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $3,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $482.08 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $279.61 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                          $5.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,381.08 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $142.30 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $934.26 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $508.77 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $399.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                         $18.98 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $107.45 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        6/12/2023 USD                       $659.47 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                         $57.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                       $110.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                       $300.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                         $44.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                       $445.92 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                       $114.75 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                       $105.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                          $6.17 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                  $1,000,003.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                         $84.04 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $2,630.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $270.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                    $800,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                    $900,001.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $2,221.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $200.74 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                         $13.79 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $595.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $599.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                          $9.55 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $880.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $300.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $1,065.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $555.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $513.25 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                    $899,999.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $600.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $981.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                    $999,995.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                          $0.45 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                          $6.61 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                    $600,001.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                    $999,997.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                          $3.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $163.40 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $700.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $2,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $640.82 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                  $1,000,002.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $1,200.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $584.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                         $94.57 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                    $999,999.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $595.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $113.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                         $30.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $140.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $310.10 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $870.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $2,709.93 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/9/2023 USD                        $521.28 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/6/2023 USD                  $1,932,565.42 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/6/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/6/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/6/2023 USD                        $125.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/6/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/5/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/5/2023 USD                     $95,291.20 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/2/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/2/2023 USD                        $925.25 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/1/2023 USD                          $0.01 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]         6/1/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/1/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/1/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]         6/1/2023 USD                      $2,650.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                        $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                        $351.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                    $309,303.19 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/31/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/30/2023 USD                        $293.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/30/2023 USD                          $1.49 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/30/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/30/2023 USD                         $85.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/30/2023 USD                        $158.53 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/30/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/30/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/30/2023 USD                      $1,891.17 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/30/2023 USD                          $0.50 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/30/2023 USD                  $1,301,870.30 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/26/2023 USD                        $945.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/26/2023 USD                        $255.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/26/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/26/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/26/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/26/2023 USD                        $757.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/26/2023 USD                          $6.84 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/26/2023 USD                          $6.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        5/25/2023 USD                       $184.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/25/2023 USD                         $11.51 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/25/2023 USD                       $503.54 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                         $30.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                      $2,002.44 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                      $2,078.35 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                   $322,453.34 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                       $869.23 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                       $700.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                         $55.40 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/24/2023 USD                       $334.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                       $105.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                       $300.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                         $51.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                          $8.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                          $0.27 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                       $123.16 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                      $2,387.45 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                       $259.34 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                         $21.50 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                         $34.27 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                       $560.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                       $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                       $100.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        5/23/2023 USD                       $287.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/22/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/22/2023 USD                      $2,038.93 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/22/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/22/2023 USD                         $61.88 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/22/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/22/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/22/2023 USD                          $1.97 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/19/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/19/2023 USD                   $508,963.08 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/19/2023 USD                       $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/19/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/19/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/19/2023 USD                       $508.96 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/19/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/18/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/18/2023 USD                       $210.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/18/2023 USD                       $141.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/18/2023 USD                       $460.71 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/18/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/17/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/17/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/17/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/17/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/17/2023 USD                         $99.82 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/17/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/16/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/16/2023 USD                      $2,000.36 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/16/2023 USD                          $6.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/16/2023 USD                       $199.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/16/2023 USD                      $1,300.00 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/16/2023 USD                       $830.68 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4758   [Address on File]        5/16/2023 USD                         $79.08 Customer Disbursement
        Confidential Customer USD Transferee #4758   [Address on File]        5/16/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                      $14,791,252.57
        Confidential Customer USD Transferee #4759   [Address on File]        6/21/2023 USD                    $390,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $600.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $156.35 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                      $1,300.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                          $1.77 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                      $1,069.19 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $305.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                         $55.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $110.52 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                      $1,111.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $195.58 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $132.14 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $117.68 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                         $95.92 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                         $90.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $499.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $191.41 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $660.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $256.76 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                         $92.14 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $976.38 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                        $524.52 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                      $1,549.79 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                      $3,000.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                       $469.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                      $1,350.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                       $447.56 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                       $595.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                      $2,697.65 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/14/2023 USD                          $3.05 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $474.02 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,490.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $1.98 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $1.93 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,263.94 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $2,100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $823.65 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $108.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $589.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.56 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $179.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $81.59 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,652.89 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $80.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $300.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,937.19 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $363.16 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $322.52 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $510.91 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $180.96 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $62.81 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $403.72 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,459.82 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $34.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,975.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $205.48 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $127.41 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $485.50 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $691.53 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $225.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $350.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $488.93 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $64.27 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $7.26 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $6.94 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $2,100.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $6.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $0.86 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $45.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $975.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $280.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $30.73 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $198.88 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $122.61 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $0.42 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $0.12 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $399.61 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $375.63 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $186.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $25.15 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $2,700.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $73.53 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $2,978.28 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $600.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $800.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $360.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $117.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $175.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,355.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $524.38 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $75.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $724.70 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $121.42 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $556.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $65.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $23.24 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $54.94 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $173.44 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $11.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,120.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $398.57 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $270.07 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $700.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $120.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $628.76 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $10.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $157.32 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $4,800.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $50.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $4.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                          $9.58 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $413.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,980.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                         $45.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $700.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                      $1,263.62 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/13/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $625.83 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $156.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,221.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $419.05 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $350.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $75.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $77.10 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $194.16 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $691.90 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $492.50 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $150.43 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,029.89 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $741.80 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,464.02 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $600.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $600.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $75.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $660.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $800.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $758.28 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $854.38 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $16.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $89.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $638.45 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $490.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $10.96 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,420.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $225.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                          $6.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $490.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $200.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,975.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $11.64 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,385.50 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $357.98 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $146.20 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $550.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,398.31 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $19.85 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,098.56 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                          $6.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,080.23 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $532.67 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,711.13 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $510.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $213.34 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $45.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $900.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,095.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $750.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,400.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                          $0.07 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,171.89 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,300.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $198.58 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $260.01 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,250.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $216.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $574.73 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $425.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $700.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $550.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $981.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,576.78 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $269.53 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $246.97 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $510.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $21.37 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                          $2.08 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $149.89 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $300.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $980.00 Customer Disbursement
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                                      Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $405.55 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $450.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $55.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                      $1,716.54 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                       $529.82 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $10.15 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        6/12/2023 USD                         $69.82 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                       $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                   $999,996.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $73.20 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $2,995.89 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $60.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                       $514.29 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                       $450.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $36.59 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                       $457.65 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                       $384.70 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                          $1.72 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                       $850.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                       $350.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $1,475.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $12.06 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $22.73 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                       $400.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $944.14 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                  $1,000,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $2,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                          $1.25 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $1,952.08 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                    $999,998.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                          $1.32 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $584.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                          $0.71 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $980.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $16.85 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $62.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $398.45 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $450.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $2,016.08 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $218.23 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $25.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $1,985.44 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $64.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $2,679.74 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                          $0.44 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $153.63 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $534.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                        $880.40 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                  $1,000,001.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                       $599.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                         $40.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/8/2023 USD                         $70.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/7/2023 USD                   $485,418.97 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/7/2023 USD                      $1,390.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/6/2023 USD                       $250.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/6/2023 USD                   $136,366.26 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/5/2023 USD                   $550,630.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/2/2023 USD                         $17.55 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/2/2023 USD                   $870,943.45 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/1/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/1/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/1/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/1/2023 USD                      $3,236.64 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/1/2023 USD                    $29,475.94 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/1/2023 USD                   $620,821.11 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/1/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]         6/1/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/31/2023 USD                       $400.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/31/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/31/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/30/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/30/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/30/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/30/2023 USD                   $111,960.80 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/30/2023 USD                          $0.01 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/30/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/30/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/26/2023 USD                         $30.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/26/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/26/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/26/2023 USD                          $0.41 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/26/2023 USD                      $1,052.78 Customer Disbursement
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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        5/26/2023 USD                   $840,359.69 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/26/2023 USD                       $850.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/26/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/26/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/26/2023 USD                         $26.28 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/26/2023 USD                    $34,083.18 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/25/2023 USD                       $297.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/25/2023 USD                         $15.40 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/25/2023 USD                      $1,120.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/25/2023 USD                   $658,484.60 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/25/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/24/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                   $403,017.92 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                       $972.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                          $6.61 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                       $731.68 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                         $35.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                      $1,300.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                       $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                       $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                         $36.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                      $8,138.28 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/23/2023 USD                       $708.82 Customer Disbursement
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                                      Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        5/22/2023 USD                        $440.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/22/2023 USD                  $1,457,805.07 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/22/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/22/2023 USD                    $151,609.54 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/22/2023 USD                         $26.07 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/22/2023 USD                         $10.81 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/19/2023 USD                          $0.10 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/19/2023 USD                      $2,108.12 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/19/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/18/2023 USD                        $122.81 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/18/2023 USD                    $534,490.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/18/2023 USD                        $150.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                        $508.45 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                    $340,795.39 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                         $95.67 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                        $900.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                     $54,105.44 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/17/2023 USD                        $500.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                        $200.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                         $10.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                          $5.95 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                        $460.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                          $0.09 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                        $224.36 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                        $600.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                    $570,389.36 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                        $931.07 Customer Disbursement
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                                      Certain payments or transfers to creditors within 90 days before filing this case


                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                      $1,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                        $975.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                         $75.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                        $131.00 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                         $74.10 Customer Disbursement
        Confidential Customer USD Transferee #4759   [Address on File]        5/16/2023 USD                         $95.50 Customer Disbursement
                                                                                 TOTAL                      $12,622,655.69
        Confidential Customer USD Transferee #4760   [Address on File]         6/2/2023 USD                        $800.00 Customer Disbursement
                                                                                 TOTAL                            $800.00
        Confidential Customer USD Transferee #4761   [Address on File]        5/31/2023 USD                        $320.00 Customer Disbursement
                                                                                 TOTAL                            $320.00
        Confidential Customer USD Transferee #4762   [Address on File]         6/8/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #4762   [Address on File]         6/6/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $25.00
        Confidential Customer USD Transferee #4763   [Address on File]         6/2/2023 USD                        $700.00 Customer Disbursement
        Confidential Customer USD Transferee #4763   [Address on File]         6/1/2023 USD                        $348.01 Customer Disbursement
                                                                                 TOTAL                           $1,048.01
        Confidential Customer USD Transferee #4764   [Address on File]         6/6/2023 USD                        $913.70 Customer Disbursement
                                                                                 TOTAL                            $913.70
        Confidential Customer USD Transferee #4765   [Address on File]         6/6/2023 USD                         $35.00 Customer Disbursement
                                                                                 TOTAL                              $35.00
        Confidential Customer USD Transferee #4766   [Address on File]        5/23/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #4767   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4767   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4767   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4767   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4767   [Address on File]         6/9/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                          $15,000.00
        Confidential Customer USD Transferee #4768   [Address on File]        5/31/2023 USD                        $895.12 Customer Disbursement
                                                                                 TOTAL                            $895.12
        Confidential Customer USD Transferee #4769   [Address on File]        5/31/2023 USD                        $800.00 Customer Disbursement
        Confidential Customer USD Transferee #4769   [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4769   [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4769   [Address on File]        5/31/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $9,800.00
        Confidential Customer USD Transferee #4770   [Address on File]        5/30/2023 USD                      $1,931.45 Customer Disbursement
        Confidential Customer USD Transferee #4770   [Address on File]        5/26/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $4,931.45
        Confidential Customer USD Transferee #4771   [Address on File]         6/6/2023 USD                         $76.57 Customer Disbursement
                                                                                 TOTAL                              $76.57
        Confidential Customer USD Transferee #4772   [Address on File]        5/23/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
        Confidential Customer USD Transferee #4773   [Address on File]        5/24/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4773   [Address on File]        5/24/2023 USD                        $905.12 Customer Disbursement
        Confidential Customer USD Transferee #4773   [Address on File]        5/23/2023 USD                        $646.61 Customer Disbursement
        Confidential Customer USD Transferee #4773   [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $7,551.73
        Confidential Customer USD Transferee #4774   [Address on File]         6/1/2023 USD                         $12.08 Customer Disbursement
                                                                                 TOTAL                              $12.08
        Confidential Customer USD Transferee #4775   [Address on File]         6/1/2023 USD                          $9.86 Customer Disbursement
        Confidential Customer USD Transferee #4775   [Address on File]        5/25/2023 USD                         $13.71 Customer Disbursement
                                                                                 TOTAL                              $23.57
        Confidential Customer USD Transferee #4776   [Address on File]        5/18/2023 USD                        $300.00 Customer Disbursement
                                                                                 TOTAL                            $300.00
        Confidential Customer USD Transferee #4777   [Address on File]        5/30/2023 USD                          $0.52 Customer Disbursement
                                                                                 TOTAL                               $0.52
        Confidential Customer USD Transferee #4778   [Address on File]         6/7/2023 USD                         $39.00 Customer Disbursement
        Confidential Customer USD Transferee #4778   [Address on File]         6/2/2023 USD                         $20.00 Customer Disbursement
        Confidential Customer USD Transferee #4778   [Address on File]        5/22/2023 USD                         $48.93 Customer Disbursement
        Confidential Customer USD Transferee #4778   [Address on File]        5/16/2023 USD                          $6.54 Customer Disbursement
                                                                                 TOTAL                            $114.47
        Confidential Customer USD Transferee #4779   [Address on File]         6/6/2023 USD                          $7.00 Customer Disbursement
                                                                                 TOTAL                               $7.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4780                              5/17/2023 USD                         $25.00 Customer Disbursement
                                                                                   TOTAL                              $25.00
        Confidential Customer USD Transferee #4781   [Address on File]          5/31/2023 USD                      $2,215.16 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4781   [Address on File]        5/16/2023 USD                      $1,878.53 Customer Disbursement
                                                                                 TOTAL                           $4,093.69
        Confidential Customer USD Transferee #4782   [Address on File]        5/16/2023 USD                      $2,629.50 Customer Disbursement
                                                                                 TOTAL                           $2,629.50
        Confidential Customer USD Transferee #4783   [Address on File]         6/6/2023 USD                        $265.55 Customer Disbursement
        Confidential Customer USD Transferee #4783   [Address on File]        5/23/2023 USD                        $503.53 Customer Disbursement
        Confidential Customer USD Transferee #4783   [Address on File]        5/22/2023 USD                        $100.71 Customer Disbursement
                                                                                 TOTAL                            $869.79
        Confidential Customer USD Transferee #4784   [Address on File]         6/1/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4784   [Address on File]         6/1/2023 USD                        $722.31 Customer Disbursement
                                                                                 TOTAL                           $3,722.31
        Confidential Customer USD Transferee #4785   [Address on File]         6/1/2023 USD                         $26.00 Customer Disbursement
                                                                                 TOTAL                              $26.00
        Confidential Customer USD Transferee #4786   [Address on File]         6/2/2023 USD                         $10.06 Customer Disbursement
                                                                                 TOTAL                              $10.06
        Confidential Customer USD Transferee #4787   [Address on File]        5/31/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                               $5.00
        Confidential Customer USD Transferee #4788   [Address on File]        5/30/2023 USD                         $24.00 Customer Disbursement
        Confidential Customer USD Transferee #4788   [Address on File]        5/23/2023 USD                         $50.00 Customer Disbursement
                                                                                 TOTAL                              $74.00
        Confidential Customer USD Transferee #4789   [Address on File]         6/6/2023 USD                         $50.25 Customer Disbursement
                                                                                 TOTAL                              $50.25
        Confidential Customer USD Transferee #4790   [Address on File]         6/9/2023 USD                        $450.00 Customer Disbursement
                                                                                 TOTAL                            $450.00
        Confidential Customer USD Transferee #4791   [Address on File]         6/6/2023 USD                      $1,100.00 Customer Disbursement
        Confidential Customer USD Transferee #4791   [Address on File]         6/5/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4791   [Address on File]        5/26/2023 USD                        $739.27 Customer Disbursement
                                                                                 TOTAL                           $4,839.27
        Confidential Customer USD Transferee #4792   [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4792   [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4792   [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $9,000.00
        Confidential Customer USD Transferee #4793   [Address on File]         6/8/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4793   [Address on File]         6/5/2023 USD                          $5.00 Customer Disbursement

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4793   [Address on File]        5/30/2023 USD                          $5.00 Customer Disbursement
        Confidential Customer USD Transferee #4793   [Address on File]        5/19/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                              $20.00
        Confidential Customer USD Transferee #4794   [Address on File]        5/31/2023 USD                        $656.00 Customer Disbursement
                                                                                 TOTAL                            $656.00
        Confidential Customer USD Transferee #4795   [Address on File]        5/23/2023 USD                         $10.00 Customer Disbursement
                                                                                 TOTAL                              $10.00
        Confidential Customer USD Transferee #4796   [Address on File]        5/22/2023 USD                          $1.41 Customer Disbursement
                                                                                 TOTAL                               $1.41
        Confidential Customer USD Transferee #4797   [Address on File]         6/8/2023 USD                        $100.00 Customer Disbursement
                                                                                 TOTAL                            $100.00
        Confidential Customer USD Transferee #4798   [Address on File]         6/6/2023 USD                         $15.00 Customer Disbursement
                                                                                 TOTAL                              $15.00
        Confidential Customer USD Transferee #4799   [Address on File]        5/19/2023 USD                         $10.12 Customer Disbursement
                                                                                 TOTAL                              $10.12
        Confidential Customer USD Transferee #4800   [Address on File]         6/8/2023 USD                         $35.00 Customer Disbursement
        Confidential Customer USD Transferee #4800   [Address on File]        5/16/2023 USD                         $35.00 Customer Disbursement
                                                                                 TOTAL                              $70.00
        Confidential Customer USD Transferee #4801   [Address on File]         6/2/2023 USD                        $913.50 Customer Disbursement
                                                                                 TOTAL                            $913.50
        Confidential Customer USD Transferee #4802   [Address on File]         6/2/2023 USD                      $1,000.00 Customer Disbursement
                                                                                 TOTAL                           $1,000.00
        Confidential Customer USD Transferee #4803   [Address on File]        5/30/2023 USD                         $87.39 Customer Disbursement
                                                                                 TOTAL                              $87.39
        Confidential Customer USD Transferee #4804   [Address on File]        5/23/2023 USD                      $1,500.00 Customer Disbursement
                                                                                 TOTAL                           $1,500.00
        Confidential Customer USD Transferee #4805   [Address on File]        5/17/2023 USD                        $500.00 Customer Disbursement
                                                                                 TOTAL                            $500.00
        Confidential Customer USD Transferee #4806   [Address on File]        5/19/2023 USD                      $2,000.00 Customer Disbursement
                                                                                 TOTAL                           $2,000.00
        Confidential Customer USD Transferee #4807   [Address on File]        5/24/2023 USD                          $5.00 Customer Disbursement
                                                                                 TOTAL                               $5.00
        Confidential Customer USD Transferee #4808   [Address on File]        5/19/2023 USD                      $2,034.57 Customer Disbursement
                                                                                 TOTAL                           $2,034.57

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                                                                                                                           Reason for Payment or
                       Creditor's Name                   Address          Payment Date Currency          Payment Amount           Transfer
        Confidential Customer USD Transferee #4809   [Address on File]        5/24/2023 USD                         $19.77 Customer Disbursement
                                                                                 TOTAL                              $19.77
        Confidential Customer USD Transferee #4810   [Address on File]        5/24/2023 USD                      $1,500.00 Customer Disbursement
        Confidential Customer USD Transferee #4810   [Address on File]        5/23/2023 USD                      $3,000.00 Customer Disbursement
                                                                                 TOTAL                           $4,500.00
        Confidential Customer USD Transferee #4811   [Address on File]        5/30/2023 USD                          $1.00 Customer Disbursement
        Confidential Customer USD Transferee #4811   [Address on File]        5/30/2023 USD                         $30.00 Customer Disbursement
                                                                                 TOTAL                              $31.00
                                                     [Address on File]
        Confidential Customer USD Transferee #4812                              5/24/2023 USD                          $5.00 Customer Disbursement
                                                                                   TOTAL                               $5.00
        Confidential Customer USD Transferee #4813   [Address on File]          5/30/2023 USD                         $99.00 Customer Disbursement
                                                                                   TOTAL                              $99.00
        Confidential Customer USD Transferee #4814   [Address on File]           6/6/2023 USD                      $1,222.00 Customer Disbursement
                                                                                   TOTAL                           $1,222.00
        Confidential Customer USD Transferee #4815   [Address on File]           6/8/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4815   [Address on File]           6/8/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $6,000.00
        Confidential Customer USD Transferee #4816   [Address on File]           6/7/2023 USD                      $1,053.00 Customer Disbursement
        Confidential Customer USD Transferee #4816   [Address on File]           6/2/2023 USD                        $135.00 Customer Disbursement
        Confidential Customer USD Transferee #4816   [Address on File]           6/2/2023 USD                        $850.00 Customer Disbursement
        Confidential Customer USD Transferee #4816   [Address on File]          5/26/2023 USD                        $180.00 Customer Disbursement
        Confidential Customer USD Transferee #4816   [Address on File]          5/18/2023 USD                        $450.00 Customer Disbursement
        Confidential Customer USD Transferee #4816   [Address on File]          5/16/2023 USD                        $315.00 Customer Disbursement
                                                                                   TOTAL                           $2,983.00
        Confidential Customer USD Transferee #4817   [Address on File]          5/30/2023 USD                        $100.00 Customer Disbursement
        Confidential Customer USD Transferee #4817   [Address on File]          5/26/2023 USD                      $3,000.00 Customer Disbursement
        Confidential Customer USD Transferee #4817   [Address on File]          5/24/2023 USD                          $2.00 Customer Disbursement
        Confidential Customer USD Transferee #4817   [Address on File]          5/23/2023 USD                         $29.00 Customer Disbursement
        Confidential Customer USD Transferee #4817   [Address on File]          5/23/2023 USD                        $428.86 Customer Disbursement
        Confidential Customer USD Transferee #4817   [Address on File]          5/18/2023 USD                         $18.70 Customer Disbursement
        Confidential Customer USD Transferee #4817   [Address on File]          5/18/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $6,578.56
        Confidential Customer USD Transferee #4818   [Address on File]          5/25/2023 USD                      $3,000.00 Customer Disbursement
                                                                                   TOTAL                           $3,000.00
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                                                                                                                                   Reason for Payment or
                          Creditor's Name                      Address          Payment Date Currency          Payment Amount            Transfer
                                                           [Address on File]
        Confidential Customer USD Transferee #4819                                    5/31/2023 USD                         $25.00 Customer Disbursement
                                                                                         TOTAL                              $25.00
        Confidential Customer USD Transferee #4820         [Address on File]          6/13/2023 USD                         $15.00 Customer Disbursement
        Confidential Customer USD Transferee #4820         [Address on File]          5/17/2023 USD                        $322.74 Customer Disbursement
                                                                                         TOTAL                            $337.74
        Confidential Customer USD Transferee #4821         [Address on File]           6/6/2023 USD                      $1,006.33 Customer Disbursement
                                                                                         TOTAL                           $1,006.33
        Confidential Customer USD Transferee #4822         [Address on File]          5/25/2023 USD                         $32.00 Customer Disbursement
                                                                                         TOTAL                              $32.00
        Confidential Customer USD Transferee #4823         [Address on File]           6/2/2023 USD                        $345.00 Customer Disbursement
                                                                                         TOTAL                            $345.00
        Confidential Customer USD Transferee #4824         [Address on File]          5/31/2023 USD                     $20,000.00 Customer Disbursement
                                                                                         TOTAL                          $20,000.00
        Confidential Customer USD Transferee #4825         [Address on File]           6/5/2023 USD                         $25.33 Customer Disbursement
                                                                                         TOTAL                              $25.33




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                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                    Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1        [Address on File]     6/8/2023 Bitcoin                              1.44879674 Customer Transfer
 Confidential Customer Coin Transferee #2        [Address on File]     6/8/2023 Bitcoin                                    0.001 Customer Transfer

 Confidential Customer Coin Transferee #3        [Address on File]    6/15/2023 Bitcoin                                 1.56975 Customer Transfer

 Confidential Customer Coin Transferee #3        [Address on File]    6/19/2023 Bitcoin                                 0.04675 Customer Transfer

 Confidential Customer Coin Transferee #3        [Address on File]    6/14/2023 Bitcoin                                  0.02975 Customer Transfer
 Confidential Customer Coin Transferee #4        [Address on File]    5/17/2023 USD Coin                              232.93012 Customer Transfer
 Confidential Customer Coin Transferee #5        [Address on File]     6/1/2023 USD Coin                                   1.999 Customer Transfer
 Confidential Customer Coin Transferee #6        [Address on File]    5/22/2023 USD Coin                            1782.287085 Customer Transfer
 Confidential Customer Coin Transferee #6        [Address on File]    5/23/2023 USD Coin                             1334.19948 Customer Transfer
 Confidential Customer Coin Transferee #6        [Address on File]    6/14/2023 USD Coin                             899.640143 Customer Transfer
 Confidential Customer Coin Transferee #6        [Address on File]    5/30/2023 USD Coin                             708.504047 Customer Transfer
 Confidential Customer Coin Transferee #6        [Address on File]    5/24/2023 USD Coin                             654.672663 Customer Transfer
 Confidential Customer Coin Transferee #6        [Address on File]    5/26/2023 USD Coin                             496.701978 Customer Transfer
 Confidential Customer Coin Transferee #6        [Address on File]    6/13/2023 USD Coin                             249.900039 Customer Transfer
 Confidential Customer Coin Transferee #6        [Address on File]    6/21/2023 USD Coin                             249.177713 Customer Transfer
 Confidential Customer Coin Transferee #6        [Address on File]    6/14/2023 USD Coin                             207.896051 Customer Transfer
 Confidential Customer Coin Transferee #6        [Address on File]    6/21/2023 USD Coin                             137.587238 Customer Transfer
 Confidential Customer Coin Transferee #7        [Address on File]    6/12/2023 USD Coin                            1484.406237 Customer Transfer
 Confidential Customer Coin Transferee #8        [Address on File]    6/12/2023 USD Coin                              99.940035 Customer Transfer
 Confidential Customer Coin Transferee #9        [Address on File]    5/30/2023 USD Coin                             204.877073 Customer Transfer
 Confidential Customer Coin Transferee #10       [Address on File]    6/20/2023 Bitcoin                              0.00027977 Customer Transfer
 Confidential Customer Coin Transferee #11       [Address on File]    6/19/2023 Bitcoin                              0.00116733 Customer Transfer
 Confidential Customer Coin Transferee #12       [Address on File]    6/20/2023 Bitcoin                              0.00289403 Customer Transfer
 Confidential Customer Coin Transferee #13       [Address on File]    5/25/2023 Bitcoin                                     0.008 Customer Transfer
 Confidential Customer Coin Transferee #14       [Address on File]    5/30/2023 Bitcoin                              0.05474911 Customer Transfer
 Confidential Customer Coin Transferee #15       [Address on File]    5/16/2023 Bitcoin                               0.0086263 Customer Transfer
 Confidential Customer Coin Transferee #16       [Address on File]    5/17/2023 Bitcoin                              0.00373536 Customer Transfer
 Confidential Customer Coin Transferee #16       [Address on File]    5/26/2023 Bitcoin                               0.0037177 Customer Transfer
 Confidential Customer Coin Transferee #16       [Address on File]    5/19/2023 Bitcoin                              0.00369779 Customer Transfer
 Confidential Customer Coin Transferee #17       [Address on File]    5/18/2023 Bitcoin                              0.00054484 Customer Transfer
 Confidential Customer Coin Transferee #17       [Address on File]    5/27/2023 Bitcoin                              0.00018616 Customer Transfer
 Confidential Customer Coin Transferee #18       [Address on File]    5/30/2023 Bitcoin                               0.0004332 Customer Transfer
 Confidential Customer Coin Transferee #18       [Address on File]    5/18/2023 Bitcoin                              0.00040156 Customer Transfer


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                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #19       [Address on File]    5/29/2023 Bitcoin                              0.00182887 Customer Transfer
 Confidential Customer Coin Transferee #20       [Address on File]    5/30/2023 Bitcoin                              0.03630122 Customer Transfer
 Confidential Customer Coin Transferee #21       [Address on File]    5/26/2023 Bitcoin                              0.00378639 Customer Transfer
 Confidential Customer Coin Transferee #22       [Address on File]    5/28/2023 Bitcoin                              0.00729334 Customer Transfer
 Confidential Customer Coin Transferee #23       [Address on File]    5/20/2023 Bitcoin                                    0.006 Customer Transfer
 Confidential Customer Coin Transferee #24       [Address on File]    5/29/2023 Bitcoin                              0.00178244 Customer Transfer
 Confidential Customer Coin Transferee #25       [Address on File]    5/22/2023 Bitcoin                              0.05741375 Customer Transfer
 Confidential Customer Coin Transferee #25       [Address on File]    5/27/2023 Bitcoin                              0.03988904 Customer Transfer
 Confidential Customer Coin Transferee #26       [Address on File]    5/23/2023 Bitcoin                              0.04794931 Customer Transfer
 Confidential Customer Coin Transferee #26       [Address on File]    5/30/2023 Bitcoin                              0.02586189 Customer Transfer
 Confidential Customer Coin Transferee #27       [Address on File]     6/1/2023 Bitcoin                              0.03700287 Customer Transfer
 Confidential Customer Coin Transferee #27       [Address on File]    5/29/2023 Bitcoin                              0.01802263 Customer Transfer
 Confidential Customer Coin Transferee #28       [Address on File]    5/26/2023 Bitcoin                              0.02333833 Customer Transfer
 Confidential Customer Coin Transferee #29       [Address on File]    5/25/2023 Bitcoin                                    0.017 Customer Transfer
 Confidential Customer Coin Transferee #29       [Address on File]    5/19/2023 Bitcoin                              0.00041684 Customer Transfer
 Confidential Customer Coin Transferee #30       [Address on File]    5/27/2023 Bitcoin                                      0.05 Customer Transfer
 Confidential Customer Coin Transferee #31       [Address on File]    6/16/2023 Bitcoin                              0.01529225 Customer Transfer
 Confidential Customer Coin Transferee #32       [Address on File]    5/22/2023 Bitcoin                              0.02119733 Customer Transfer
 Confidential Customer Coin Transferee #33       [Address on File]    5/16/2023 Bitcoin                              0.00735952 Customer Transfer
 Confidential Customer Coin Transferee #33       [Address on File]    5/17/2023 Bitcoin                              0.00093373 Customer Transfer
 Confidential Customer Coin Transferee #33       [Address on File]    5/25/2023 Bitcoin                              0.00036707 Customer Transfer
 Confidential Customer Coin Transferee #34       [Address on File]    5/30/2023 Bitcoin                                   0.1082 Customer Transfer
 Confidential Customer Coin Transferee #34       [Address on File]    5/30/2023 Bitcoin                                   0.1082 Customer Transfer
 Confidential Customer Coin Transferee #34       [Address on File]    5/30/2023 Bitcoin                                   0.1082 Customer Transfer
 Confidential Customer Coin Transferee #34       [Address on File]    5/30/2023 Bitcoin                                    0.036 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/28/2023 Bitcoin                              0.03184542 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/28/2023 Bitcoin                              0.02599723 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/28/2023 Bitcoin                              0.01823099 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.01794799 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.01792081 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                               0.0179116 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                               0.0179108 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/28/2023 Bitcoin                              0.01772239 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.01724764 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.01718079 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.01553166 Customer Transfer


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                                                  Customers - Crypto Currency Disbursement
                                    Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                    Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.01429144 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/27/2023 Bitcoin                              0.01304984 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.01228411 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/25/2023 Bitcoin                              0.01113388 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/26/2023 Bitcoin                              0.01108011 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/23/2023 Bitcoin                              0.01035576 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.01018112 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/25/2023 Bitcoin                              0.00931177 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/28/2023 Bitcoin                              0.00900229 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/29/2023 Bitcoin                              0.00899072 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/28/2023 Bitcoin                                  0.00732 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/29/2023 Bitcoin                               0.0071866 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/23/2023 Bitcoin                              0.00706617 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/26/2023 Bitcoin                              0.00679285 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/23/2023 Bitcoin                              0.00673659 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/24/2023 Bitcoin                              0.00539374 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/23/2023 Bitcoin                              0.00534356 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/23/2023 Bitcoin                              0.00490922 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/21/2023 Bitcoin                              0.00437302 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/25/2023 Bitcoin                              0.00371006 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/22/2023 Bitcoin                              0.00369926 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/23/2023 Bitcoin                              0.00366444 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/20/2023 Bitcoin                              0.00360974 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.00358288 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00353856 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/28/2023 Bitcoin                              0.00347743 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/23/2023 Bitcoin                                   0.0034 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/22/2023 Bitcoin                                   0.0028 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/22/2023 Bitcoin                              0.00275896 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/23/2023 Bitcoin                                   0.0026 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/20/2023 Bitcoin                              0.00251209 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00249269 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.00214641 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                               0.0018683 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00186799 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/24/2023 Bitcoin                              0.00181415 Customer Transfer


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                                    Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                    Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/20/2023 Bitcoin                               0.0018133 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/18/2023 Bitcoin                              0.00177792 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00167192 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/23/2023 Bitcoin                              0.00159874 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/22/2023 Bitcoin                              0.00159231 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.00150907 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                               0.0014857 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00148543 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00147483 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/23/2023 Bitcoin                              0.00145761 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/24/2023 Bitcoin                              0.00145602 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/24/2023 Bitcoin                              0.00143925 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/18/2023 Bitcoin                              0.00138724 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                                   0.0013 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00129849 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00099826 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/22/2023 Bitcoin                              0.00096143 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00092455 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00092395 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/20/2023 Bitcoin                              0.00076151 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00073412 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/20/2023 Bitcoin                                  0.00068 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/18/2023 Bitcoin                              0.00053683 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.00050128 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/23/2023 Bitcoin                              0.00049331 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/18/2023 Bitcoin                              0.00035568 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/30/2023 Bitcoin                              0.00030486 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/20/2023 Bitcoin                              0.00018502 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/19/2023 Bitcoin                              0.00012438 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/24/2023 Bitcoin                              0.00010816 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/25/2023 Bitcoin                              0.00008893 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/21/2023 Bitcoin                              0.00006529 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/20/2023 Bitcoin                               0.0000259 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/18/2023 Bitcoin                              0.00002274 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/18/2023 Bitcoin                              0.00001998 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/20/2023 Bitcoin                              0.00001997 Customer Transfer


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                                    Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/18/2023 Bitcoin                              0.00001199 Customer Transfer
 Confidential Customer Coin Transferee #35       [Address on File]    5/17/2023 Bitcoin                              0.00001075 Customer Transfer
 Confidential Customer Coin Transferee #36       [Address on File]     6/8/2023 Bitcoin                              0.00881835 Customer Transfer
 Confidential Customer Coin Transferee #37       [Address on File]    5/22/2023 Bitcoin                              0.03770789 Customer Transfer
 Confidential Customer Coin Transferee #37       [Address on File]    5/17/2023 Bitcoin                              0.02982025 Customer Transfer
 Confidential Customer Coin Transferee #37       [Address on File]    5/24/2023 Bitcoin                              0.02628981 Customer Transfer
 Confidential Customer Coin Transferee #37       [Address on File]    5/27/2023 Bitcoin                              0.01959677 Customer Transfer
 Confidential Customer Coin Transferee #37       [Address on File]    5/26/2023 Bitcoin                              0.01432529 Customer Transfer
 Confidential Customer Coin Transferee #37       [Address on File]    5/28/2023 Bitcoin                              0.01341047 Customer Transfer
 Confidential Customer Coin Transferee #37       [Address on File]    5/19/2023 Bitcoin                              0.01339336 Customer Transfer
 Confidential Customer Coin Transferee #37       [Address on File]    5/25/2023 Bitcoin                              0.01313311 Customer Transfer
 Confidential Customer Coin Transferee #37       [Address on File]    5/18/2023 Bitcoin                               0.0128812 Customer Transfer
 Confidential Customer Coin Transferee #38       [Address on File]    5/29/2023 Bitcoin                              0.00404097 Customer Transfer
 Confidential Customer Coin Transferee #39       [Address on File]    5/20/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #39       [Address on File]    5/20/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #39       [Address on File]    5/20/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #40       [Address on File]    5/30/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #40       [Address on File]    5/30/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #41       [Address on File]    6/20/2023 Bitcoin                              0.00005821 Customer Transfer
 Confidential Customer Coin Transferee #42       [Address on File]    5/24/2023 Bitcoin                              0.09294057 Customer Transfer
 Confidential Customer Coin Transferee #43       [Address on File]    5/30/2023 Bitcoin                              0.00179276 Customer Transfer
 Confidential Customer Coin Transferee #43       [Address on File]    5/24/2023 Bitcoin                              0.00094821 Customer Transfer
 Confidential Customer Coin Transferee #44       [Address on File]    6/19/2023 Bitcoin                              0.00070339 Customer Transfer
 Confidential Customer Coin Transferee #45       [Address on File]    6/20/2023 Bitcoin                              0.00011222 Customer Transfer
 Confidential Customer Coin Transferee #46       [Address on File]    6/19/2023 Bitcoin                               0.0005856 Customer Transfer
 Confidential Customer Coin Transferee #47       [Address on File]    6/19/2023 Bitcoin                              0.00057965 Customer Transfer
 Confidential Customer Coin Transferee #48       [Address on File]    6/20/2023 Bitcoin                              0.00011524 Customer Transfer
 Confidential Customer Coin Transferee #49       [Address on File]     6/8/2023 Recover Value USD                         50.225 Customer Transfer
 Confidential Customer Coin Transferee #49       [Address on File]     6/7/2023 USD Coin                              6.3319005 Customer Transfer
 Confidential Customer Coin Transferee #50       [Address on File]    5/22/2023 Bitcoin                              0.00142489 Customer Transfer
 Confidential Customer Coin Transferee #51       [Address on File]    6/19/2023 Bitcoin                              0.00031656 Customer Transfer
 Confidential Customer Coin Transferee #52       [Address on File]    5/22/2023 Bitcoin                               0.0110292 Customer Transfer
 Confidential Customer Coin Transferee #53       [Address on File]    6/19/2023 Bitcoin                              0.00005812 Customer Transfer
 Confidential Customer Coin Transferee #54       [Address on File]    5/23/2023 Bitcoin                              0.00093165 Customer Transfer
 Confidential Customer Coin Transferee #54       [Address on File]    5/16/2023 Bitcoin                              0.00084542 Customer Transfer
 Confidential Customer Coin Transferee #55       [Address on File]    6/20/2023 Bitcoin                               0.0007328 Customer Transfer


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                                    Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                    Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #56       [Address on File]    6/20/2023 Bitcoin                              0.00370589 Customer Transfer
 Confidential Customer Coin Transferee #57       [Address on File]    5/28/2023 Bitcoin                              0.00748044 Customer Transfer
 Confidential Customer Coin Transferee #57       [Address on File]    5/26/2023 Bitcoin                               0.0037353 Customer Transfer
 Confidential Customer Coin Transferee #57       [Address on File]    5/20/2023 Bitcoin                              0.00037248 Customer Transfer
 Confidential Customer Coin Transferee #58       [Address on File]    6/20/2023 Bitcoin                              0.00128726 Customer Transfer
 Confidential Customer Coin Transferee #59       [Address on File]    6/20/2023 Bitcoin                              0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #60       [Address on File]    6/20/2023 Bitcoin                              0.00065859 Customer Transfer
 Confidential Customer Coin Transferee #61       [Address on File]    6/19/2023 Bitcoin                              0.00298896 Customer Transfer
 Confidential Customer Coin Transferee #61       [Address on File]    5/19/2023 Bitcoin                              0.00213322 Customer Transfer
 Confidential Customer Coin Transferee #62       [Address on File]    6/19/2023 Bitcoin                              0.00005658 Customer Transfer
 Confidential Customer Coin Transferee #63       [Address on File]    5/22/2023 Bitcoin                              0.01355756 Customer Transfer
 Confidential Customer Coin Transferee #64       [Address on File]    5/27/2023 Bitcoin                              0.01029484 Customer Transfer
 Confidential Customer Coin Transferee #65       [Address on File]    6/20/2023 Bitcoin                              0.00004251 Customer Transfer
 Confidential Customer Coin Transferee #66       [Address on File]    6/19/2023 Bitcoin                              0.02451333 Customer Transfer
 Confidential Customer Coin Transferee #67       [Address on File]    6/14/2023 Bitcoin                              0.01846669 Customer Transfer
 Confidential Customer Coin Transferee #67       [Address on File]    6/19/2023 Bitcoin                              0.00199081 Customer Transfer
 Confidential Customer Coin Transferee #68       [Address on File]    6/20/2023 Bitcoin                              0.00005802 Customer Transfer
 Confidential Customer Coin Transferee #69       [Address on File]    6/19/2023 Bitcoin                              0.00072139 Customer Transfer
 Confidential Customer Coin Transferee #70       [Address on File]    5/16/2023 Bitcoin                              0.00774053 Customer Transfer
 Confidential Customer Coin Transferee #71       [Address on File]    5/16/2023 Bitcoin                              0.04409504 Customer Transfer
 Confidential Customer Coin Transferee #72       [Address on File]    6/20/2023 Bitcoin                              0.01206519 Customer Transfer
 Confidential Customer Coin Transferee #73       [Address on File]    5/25/2023 Bitcoin                              0.00898142 Customer Transfer
 Confidential Customer Coin Transferee #74       [Address on File]    5/20/2023 Bitcoin                              0.00363547 Customer Transfer
 Confidential Customer Coin Transferee #75       [Address on File]    5/22/2023 USDC Solana)                                100 Customer Transfer
 Confidential Customer Coin Transferee #75       [Address on File]     6/1/2023 USDC Solana)                               89.25 Customer Transfer
 Confidential Customer Coin Transferee #75       [Address on File]    6/15/2023 USDC Solana)                                  25 Customer Transfer
 Confidential Customer Coin Transferee #75       [Address on File]    5/31/2023 USDC Solana)                                1.06 Customer Transfer
 Confidential Customer Coin Transferee #75       [Address on File]    5/31/2023 USDC Solana)                                1.04 Customer Transfer
 Confidential Customer Coin Transferee #76       [Address on File]    5/17/2023 Bitcoin                              0.01119679 Customer Transfer
 Confidential Customer Coin Transferee #77       [Address on File]     6/9/2023 Bitcoin                              0.00374575 Customer Transfer
 Confidential Customer Coin Transferee #78       [Address on File]    5/29/2023 Bitcoin                              0.00183696 Customer Transfer
 Confidential Customer Coin Transferee #79       [Address on File]    5/24/2023 Bitcoin                              0.01615713 Customer Transfer
 Confidential Customer Coin Transferee #79       [Address on File]    5/17/2023 Bitcoin                              0.01215483 Customer Transfer
 Confidential Customer Coin Transferee #80       [Address on File]    5/21/2023 Bitcoin                              0.00183564 Customer Transfer
 Confidential Customer Coin Transferee #80       [Address on File]    5/21/2023 Bitcoin                              0.00172862 Customer Transfer
 Confidential Customer Coin Transferee #81       [Address on File]    5/17/2023 Bitcoin                              0.01033152 Customer Transfer


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                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                    Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #82       [Address on File]     6/6/2023 Bitcoin                              0.00581383 Customer Transfer
 Confidential Customer Coin Transferee #83       [Address on File]    5/24/2023 Bitcoin                              0.00386664 Customer Transfer
 Confidential Customer Coin Transferee #83       [Address on File]    6/19/2023 Bitcoin                              0.00268462 Customer Transfer
 Confidential Customer Coin Transferee #84       [Address on File]    5/29/2023 Bitcoin                              0.00056171 Customer Transfer
 Confidential Customer Coin Transferee #84       [Address on File]     6/9/2023 Bitcoin                              0.00047269 Customer Transfer
 Confidential Customer Coin Transferee #85       [Address on File]    6/19/2023 Bitcoin                              0.00041856 Customer Transfer
 Confidential Customer Coin Transferee #86       [Address on File]    6/19/2023 Bitcoin                              0.00005798 Customer Transfer
 Confidential Customer Coin Transferee #87       [Address on File]    6/19/2023 Bitcoin                               0.0005776 Customer Transfer
 Confidential Customer Coin Transferee #88       [Address on File]    6/12/2023 Bitcoin                              0.05760065 Customer Transfer
 Confidential Customer Coin Transferee #89       [Address on File]    6/19/2023 Bitcoin                              0.00011875 Customer Transfer
 Confidential Customer Coin Transferee #90       [Address on File]    6/20/2023 Bitcoin                              0.00029159 Customer Transfer
 Confidential Customer Coin Transferee #91       [Address on File]    6/11/2023 Bitcoin                              0.01476253 Customer Transfer
 Confidential Customer Coin Transferee #92       [Address on File]    5/19/2023 Bitcoin                              0.01180087 Customer Transfer

 Confidential Customer Coin Transferee #93       [Address on File]    5/25/2023 Litecoin                                0.28943645 Customer Transfer

 Confidential Customer Coin Transferee #93       [Address on File]     6/1/2023 Litecoin                                0.26892321 Customer Transfer

 Confidential Customer Coin Transferee #93       [Address on File]    5/18/2023 Litecoin                                0.26234238 Customer Transfer
 Confidential Customer Coin Transferee #94       [Address on File]    5/31/2023 Bitcoin                                        0.11 Customer Transfer
 Confidential Customer Coin Transferee #94       [Address on File]    5/30/2023 Bitcoin                                         0.1 Customer Transfer
 Confidential Customer Coin Transferee #95       [Address on File]    6/20/2023 Bitcoin                                 0.00095714 Customer Transfer
 Confidential Customer Coin Transferee #96       [Address on File]    5/24/2023 Bitcoin                                 0.00990157 Customer Transfer

 Confidential Customer Coin Transferee #97       [Address on File]     6/8/2023 Bitcoin                                 0.13740679 Customer Transfer
 Confidential Customer Coin Transferee #98       [Address on File]    6/10/2023 USDC Avalanche)                          496.18229 Customer Transfer
 Confidential Customer Coin Transferee #98       [Address on File]    6/10/2023 USDC Avalanche)                         495.993605 Customer Transfer
 Confidential Customer Coin Transferee #98       [Address on File]    6/10/2023 Solana                                   14.570556 Customer Transfer
 Confidential Customer Coin Transferee #99       [Address on File]    5/24/2023 Bitcoin                                 0.24119604 Customer Transfer
 Confidential Customer Coin Transferee #100      [Address on File]    5/19/2023 Bitcoin                                 0.01297224 Customer Transfer
 Confidential Customer Coin Transferee #100      [Address on File]    5/19/2023 Bitcoin                                    0.005851 Customer Transfer
 Confidential Customer Coin Transferee #100      [Address on File]    5/20/2023 Bitcoin                                 0.00417549 Customer Transfer
 Confidential Customer Coin Transferee #100      [Address on File]    5/26/2023 Bitcoin                                 0.00358108 Customer Transfer
 Confidential Customer Coin Transferee #100      [Address on File]    5/31/2023 Bitcoin                                 0.00293494 Customer Transfer
 Confidential Customer Coin Transferee #100      [Address on File]    5/22/2023 Bitcoin                                 0.00207332 Customer Transfer
 Confidential Customer Coin Transferee #100      [Address on File]    5/30/2023 Bitcoin                                 0.00199971 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #100     [Address on File]    5/18/2023 Bitcoin                              0.00179489 Customer Transfer
 Confidential Customer Coin Transferee #100     [Address on File]    5/31/2023 Bitcoin                              0.00158795 Customer Transfer
 Confidential Customer Coin Transferee #100     [Address on File]    5/26/2023 Bitcoin                              0.00140179 Customer Transfer
 Confidential Customer Coin Transferee #100     [Address on File]    5/25/2023 Bitcoin                              0.00131809 Customer Transfer
 Confidential Customer Coin Transferee #100     [Address on File]    5/27/2023 Bitcoin                              0.00100652 Customer Transfer
 Confidential Customer Coin Transferee #100     [Address on File]    5/18/2023 Bitcoin                              0.00100449 Customer Transfer
 Confidential Customer Coin Transferee #100     [Address on File]    5/23/2023 Bitcoin                              0.00071902 Customer Transfer
 Confidential Customer Coin Transferee #100     [Address on File]    5/28/2023 Bitcoin                              0.00057527 Customer Transfer
 Confidential Customer Coin Transferee #101     [Address on File]    5/24/2023 Bitcoin                              0.00048176 Customer Transfer
 Confidential Customer Coin Transferee #101     [Address on File]    5/16/2023 Bitcoin                              0.00045039 Customer Transfer
 Confidential Customer Coin Transferee #102     [Address on File]     6/5/2023 Bitcoin                                    0.006 Customer Transfer
 Confidential Customer Coin Transferee #103     [Address on File]    5/18/2023 Bitcoin                              0.05014888 Customer Transfer
 Confidential Customer Coin Transferee #104     [Address on File]    5/27/2023 Bitcoin                               0.0065003 Customer Transfer
 Confidential Customer Coin Transferee #104     [Address on File]    5/20/2023 Bitcoin                              0.00643408 Customer Transfer
 Confidential Customer Coin Transferee #105     [Address on File]    6/18/2023 Bitcoin                              0.00067562 Customer Transfer
 Confidential Customer Coin Transferee #106     [Address on File]    5/18/2023 Bitcoin                              0.15357285 Customer Transfer
 Confidential Customer Coin Transferee #107     [Address on File]    5/27/2023 Bitcoin                              0.00092636 Customer Transfer
 Confidential Customer Coin Transferee #107     [Address on File]    5/30/2023 Bitcoin                              0.00089482 Customer Transfer
 Confidential Customer Coin Transferee #108     [Address on File]    6/20/2023 Bitcoin                              0.00594854 Customer Transfer
 Confidential Customer Coin Transferee #109     [Address on File]    5/17/2023 Bitcoin                              0.00086045 Customer Transfer
 Confidential Customer Coin Transferee #110     [Address on File]    5/26/2023 Bitcoin                               0.0029557 Customer Transfer
 Confidential Customer Coin Transferee #110     [Address on File]    5/20/2023 Bitcoin                               0.0028921 Customer Transfer
 Confidential Customer Coin Transferee #111     [Address on File]    6/20/2023 Bitcoin                              0.00118173 Customer Transfer
 Confidential Customer Coin Transferee #112     [Address on File]    5/23/2023 Bitcoin                              0.00370258 Customer Transfer
 Confidential Customer Coin Transferee #112     [Address on File]    5/22/2023 Bitcoin                              0.00037289 Customer Transfer
 Confidential Customer Coin Transferee #112     [Address on File]    5/26/2023 Bitcoin                               0.0003661 Customer Transfer
 Confidential Customer Coin Transferee #113     [Address on File]    6/19/2023 Bitcoin                              0.00005819 Customer Transfer
 Confidential Customer Coin Transferee #114     [Address on File]    5/23/2023 Bitcoin                              0.00141075 Customer Transfer
 Confidential Customer Coin Transferee #115     [Address on File]    5/29/2023 Bitcoin                              0.00066633 Customer Transfer
 Confidential Customer Coin Transferee #116     [Address on File]    5/20/2023 Bitcoin                              0.00090172 Customer Transfer
 Confidential Customer Coin Transferee #117     [Address on File]    5/31/2023 Bitcoin                              0.00357961 Customer Transfer
 Confidential Customer Coin Transferee #118     [Address on File]    6/19/2023 Bitcoin                               0.0681884 Customer Transfer

 Confidential Customer Coin Transferee #119     [Address on File]    6/20/2023 Tether USD                               39000 Customer Transfer

 Confidential Customer Coin Transferee #119     [Address on File]    6/14/2023 Tether USD                                3465 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                        Reason for Payment
                 Creditor's Name                    Address 1          Date            Crypto Currency             Unit Count           or Transfer

 Confidential Customer Coin Transferee #120     [Address on File]    6/20/2023 Tether USD                                     4326 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]    5/27/2023 Bitcoin                                 0.00037279 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]    5/26/2023 Bitcoin                                 0.00035307 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]    5/29/2023 Bitcoin                                  0.0003431 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]    5/21/2023 Bitcoin                                 0.00013569 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]    5/28/2023 Bitcoin                                 0.00011159 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]    5/25/2023 Bitcoin                                 0.00010213 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]    5/22/2023 Bitcoin                                 0.00009971 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]    5/23/2023 Bitcoin                                 0.00007488 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]    5/25/2023 Bitcoin                                 0.00006647 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]     6/1/2023 Bitcoin                                 0.00005181 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]    5/28/2023 Bitcoin                                 0.00004606 Customer Transfer
 Confidential Customer Coin Transferee #121     [Address on File]    5/20/2023 Bitcoin                                 0.00002142 Customer Transfer
 Confidential Customer Coin Transferee #122     [Address on File]    5/27/2023 Bitcoin                                 0.00186319 Customer Transfer
 Confidential Customer Coin Transferee #122     [Address on File]    5/27/2023 Bitcoin                                 0.00185757 Customer Transfer
 Confidential Customer Coin Transferee #122     [Address on File]    5/25/2023 Bitcoin                                 0.00114005 Customer Transfer
 Confidential Customer Coin Transferee #122     [Address on File]    5/16/2023 Bitcoin                                    0.000729 Customer Transfer
 Confidential Customer Coin Transferee #122     [Address on File]    5/16/2023 Bitcoin                                 0.00044137 Customer Transfer
 Confidential Customer Coin Transferee #122     [Address on File]    5/26/2023 Bitcoin                                 0.00037686 Customer Transfer
 Confidential Customer Coin Transferee #122     [Address on File]    5/20/2023 Bitcoin                                 0.00036944 Customer Transfer
 Confidential Customer Coin Transferee #122     [Address on File]    5/23/2023 Bitcoin                                 0.00036325 Customer Transfer
 Confidential Customer Coin Transferee #123     [Address on File]    5/19/2023 Bitcoin                                 0.06041958 Customer Transfer
 Confidential Customer Coin Transferee #124     [Address on File]    5/29/2023 Bitcoin                                         0.01 Customer Transfer
 Confidential Customer Coin Transferee #125     [Address on File]    5/18/2023 Bitcoin                                 0.10077261 Customer Transfer
 Confidential Customer Coin Transferee #126     [Address on File]    5/28/2023 Bitcoin                                 0.01213978 Customer Transfer
 Confidential Customer Coin Transferee #126     [Address on File]    5/23/2023 Bitcoin                                  0.0025987 Customer Transfer
 Confidential Customer Coin Transferee #127     [Address on File]    5/22/2023 Bitcoin                                 0.05250355 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/26/2023 Bitcoin                                 0.00112873 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/17/2023 Bitcoin                                 0.00104378 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/24/2023 Bitcoin                                 0.00056786 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/18/2023 Bitcoin                                 0.00054492 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/25/2023 Bitcoin                                 0.00037918 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/27/2023 Bitcoin                                  0.0003729 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/21/2023 Bitcoin                                 0.00036997 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/21/2023 Bitcoin                                 0.00036561 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/28/2023 Bitcoin                              0.00036469 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/19/2023 Bitcoin                              0.00033388 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/23/2023 Bitcoin                               0.0002964 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/29/2023 Bitcoin                              0.00028531 Customer Transfer
 Confidential Customer Coin Transferee #128     [Address on File]    5/16/2023 Bitcoin                              0.00025629 Customer Transfer
 Confidential Customer Coin Transferee #129     [Address on File]    5/21/2023 Bitcoin                                       0.1 Customer Transfer
 Confidential Customer Coin Transferee #129     [Address on File]    5/21/2023 Bitcoin                              0.06507731 Customer Transfer
 Confidential Customer Coin Transferee #130     [Address on File]    5/29/2023 Bitcoin                              0.00248472 Customer Transfer
 Confidential Customer Coin Transferee #130     [Address on File]    5/23/2023 Bitcoin                              0.00037054 Customer Transfer
 Confidential Customer Coin Transferee #130     [Address on File]    5/23/2023 Bitcoin                              0.00037053 Customer Transfer
 Confidential Customer Coin Transferee #131     [Address on File]    5/21/2023 Bitcoin                              0.00257955 Customer Transfer
 Confidential Customer Coin Transferee #132     [Address on File]    5/26/2023 Bitcoin                              0.11204329 Customer Transfer
 Confidential Customer Coin Transferee #133     [Address on File]    5/31/2023 Bitcoin                              0.01835865 Customer Transfer
 Confidential Customer Coin Transferee #134     [Address on File]    5/31/2023 Bitcoin                                      0.05 Customer Transfer
 Confidential Customer Coin Transferee #135     [Address on File]    5/30/2023 Bitcoin                              0.00359603 Customer Transfer
 Confidential Customer Coin Transferee #136     [Address on File]    5/31/2023 Bitcoin                              0.01255863 Customer Transfer
 Confidential Customer Coin Transferee #137     [Address on File]    5/28/2023 Bitcoin                                     0.039 Customer Transfer
 Confidential Customer Coin Transferee #138     [Address on File]    5/18/2023 Bitcoin                              0.09687726 Customer Transfer
 Confidential Customer Coin Transferee #139     [Address on File]    5/21/2023 Bitcoin                              0.00184787 Customer Transfer
 Confidential Customer Coin Transferee #140     [Address on File]    5/19/2023 Bitcoin                                       0.2 Customer Transfer
 Confidential Customer Coin Transferee #141     [Address on File]    5/22/2023 Bitcoin                              0.03695662 Customer Transfer
 Confidential Customer Coin Transferee #142     [Address on File]    5/29/2023 Bitcoin                              0.00035814 Customer Transfer
 Confidential Customer Coin Transferee #142     [Address on File]    5/26/2023 Bitcoin                               0.0001865 Customer Transfer
 Confidential Customer Coin Transferee #142     [Address on File]    5/26/2023 Bitcoin                                  0.00004 Customer Transfer
 Confidential Customer Coin Transferee #143     [Address on File]    5/26/2023 Bitcoin                                   0.0039 Customer Transfer
 Confidential Customer Coin Transferee #143     [Address on File]    5/27/2023 Bitcoin                              0.00353275 Customer Transfer
 Confidential Customer Coin Transferee #144     [Address on File]    5/19/2023 Bitcoin                              0.00147855 Customer Transfer
 Confidential Customer Coin Transferee #145     [Address on File]    5/19/2023 Bitcoin                              0.07155872 Customer Transfer
 Confidential Customer Coin Transferee #146     [Address on File]    5/27/2023 Bitcoin                              0.00146378 Customer Transfer
 Confidential Customer Coin Transferee #146     [Address on File]    5/18/2023 Bitcoin                              0.00091028 Customer Transfer
 Confidential Customer Coin Transferee #147     [Address on File]    5/17/2023 Bitcoin                              0.00739545 Customer Transfer
 Confidential Customer Coin Transferee #147     [Address on File]    5/24/2023 Bitcoin                              0.00377547 Customer Transfer
 Confidential Customer Coin Transferee #147     [Address on File]    5/31/2023 Bitcoin                              0.00182997 Customer Transfer
 Confidential Customer Coin Transferee #148     [Address on File]    5/21/2023 Bitcoin                               0.0003598 Customer Transfer
 Confidential Customer Coin Transferee #149     [Address on File]    5/16/2023 Bitcoin                              0.03123449 Customer Transfer
 Confidential Customer Coin Transferee #150     [Address on File]    5/28/2023 Bitcoin                              0.01005601 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #150     [Address on File]    5/21/2023 Bitcoin                               0.0091203 Customer Transfer
 Confidential Customer Coin Transferee #150     [Address on File]    5/24/2023 Bitcoin                              0.00181693 Customer Transfer
 Confidential Customer Coin Transferee #151     [Address on File]    5/29/2023 Bitcoin                               0.1757546 Customer Transfer
 Confidential Customer Coin Transferee #152     [Address on File]    5/29/2023 Bitcoin                                 0.004401 Customer Transfer
 Confidential Customer Coin Transferee #153     [Address on File]    5/17/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #153     [Address on File]    5/25/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/30/2023 Bitcoin                              0.00221076 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/16/2023 Bitcoin                              0.00191159 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/17/2023 Bitcoin                               0.0018041 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/16/2023 Bitcoin                              0.00127921 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/30/2023 Bitcoin                              0.00127886 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/28/2023 Bitcoin                              0.00124431 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/16/2023 Bitcoin                              0.00117584 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/27/2023 Bitcoin                              0.00109594 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/27/2023 Bitcoin                              0.00109399 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/31/2023 Bitcoin                              0.00106973 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/31/2023 Bitcoin                              0.00104562 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/30/2023 Bitcoin                               0.0009333 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/18/2023 Bitcoin                              0.00092632 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/26/2023 Bitcoin                               0.0009222 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/17/2023 Bitcoin                              0.00086911 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/16/2023 Bitcoin                              0.00081007 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/31/2023 Bitcoin                              0.00075672 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/16/2023 Bitcoin                              0.00073663 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/30/2023 Bitcoin                              0.00071791 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/29/2023 Bitcoin                                 0.000697 Customer Transfer
 Confidential Customer Coin Transferee #154     [Address on File]    5/25/2023 Bitcoin                              0.00056889 Customer Transfer
 Confidential Customer Coin Transferee #155     [Address on File]    5/29/2023 Bitcoin                              0.01390946 Customer Transfer
 Confidential Customer Coin Transferee #155     [Address on File]    5/22/2023 Bitcoin                               0.0097561 Customer Transfer
 Confidential Customer Coin Transferee #156     [Address on File]    5/23/2023 Bitcoin                              0.00888818 Customer Transfer
 Confidential Customer Coin Transferee #157     [Address on File]    5/19/2023 Bitcoin                                  0.00032 Customer Transfer
 Confidential Customer Coin Transferee #158     [Address on File]    5/22/2023 Bitcoin                               0.0697155 Customer Transfer
 Confidential Customer Coin Transferee #159     [Address on File]    5/20/2023 Bitcoin                              0.01296859 Customer Transfer
 Confidential Customer Coin Transferee #159     [Address on File]    5/23/2023 Bitcoin                              0.00358895 Customer Transfer
 Confidential Customer Coin Transferee #159     [Address on File]    5/21/2023 Bitcoin                              0.00125502 Customer Transfer
 Confidential Customer Coin Transferee #160     [Address on File]    5/28/2023 Bitcoin                              0.01861105 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #161     [Address on File]    6/19/2023 Bitcoin                              0.00011835 Customer Transfer
 Confidential Customer Coin Transferee #162     [Address on File]    6/19/2023 Bitcoin                              0.00004535 Customer Transfer
 Confidential Customer Coin Transferee #163     [Address on File]     6/6/2023 Bitcoin                              0.00270564 Customer Transfer
 Confidential Customer Coin Transferee #164     [Address on File]    5/24/2023 Bitcoin                               0.0102944 Customer Transfer

 Confidential Customer Coin Transferee #165     [Address on File]    6/15/2023 Bitcoin                                 0.24687456 Customer Transfer
 Confidential Customer Coin Transferee #166     [Address on File]    5/18/2023 Bitcoin                                    0.003729 Customer Transfer
 Confidential Customer Coin Transferee #166     [Address on File]    5/26/2023 Bitcoin                                 0.00163816 Customer Transfer
 Confidential Customer Coin Transferee #166     [Address on File]    5/22/2023 Bitcoin                                 0.00110545 Customer Transfer
 Confidential Customer Coin Transferee #166     [Address on File]    6/12/2023 Bitcoin                                 0.00077027 Customer Transfer
 Confidential Customer Coin Transferee #167     [Address on File]    5/30/2023 Bitcoin                                 0.00608768 Customer Transfer
 Confidential Customer Coin Transferee #168     [Address on File]     6/5/2023 Bitcoin                                 0.02925007 Customer Transfer
 Confidential Customer Coin Transferee #169     [Address on File]    6/19/2023 Bitcoin                                 0.00298482 Customer Transfer
 Confidential Customer Coin Transferee #170     [Address on File]    6/19/2023 USD Coin                                100.179068 Customer Transfer
 Confidential Customer Coin Transferee #171     [Address on File]    5/16/2023 Bitcoin                                 0.03507949 Customer Transfer
 Confidential Customer Coin Transferee #172     [Address on File]    6/20/2023 Bitcoin                                 0.00076718 Customer Transfer
 Confidential Customer Coin Transferee #173     [Address on File]    6/20/2023 Bitcoin                                 0.00039721 Customer Transfer
 Confidential Customer Coin Transferee #174     [Address on File]    5/19/2023 Bitcoin                                 0.00091143 Customer Transfer
 Confidential Customer Coin Transferee #175     [Address on File]    6/19/2023 Bitcoin                                 0.00069637 Customer Transfer
 Confidential Customer Coin Transferee #176     [Address on File]    6/20/2023 Bitcoin                                 0.01778634 Customer Transfer
 Confidential Customer Coin Transferee #177     [Address on File]    5/21/2023 Bitcoin                                          0.05 Customer Transfer
 Confidential Customer Coin Transferee #178     [Address on File]    5/26/2023 Bitcoin                                 0.01287918 Customer Transfer
 Confidential Customer Coin Transferee #178     [Address on File]    5/19/2023 Bitcoin                                 0.01217304 Customer Transfer
 Confidential Customer Coin Transferee #179     [Address on File]    6/20/2023 Bitcoin                                 0.00541047 Customer Transfer
 Confidential Customer Coin Transferee #180     [Address on File]    5/23/2023 Bitcoin                                 0.01050489 Customer Transfer
 Confidential Customer Coin Transferee #181     [Address on File]    6/20/2023 Bitcoin                                 0.00301024 Customer Transfer
 Confidential Customer Coin Transferee #182     [Address on File]    6/20/2023 Bitcoin                                 0.00040638 Customer Transfer
 Confidential Customer Coin Transferee #183     [Address on File]    5/19/2023 Bitcoin                                 0.05306599 Customer Transfer
 Confidential Customer Coin Transferee #183     [Address on File]    5/26/2023 Bitcoin                                 0.05010663 Customer Transfer
 Confidential Customer Coin Transferee #184     [Address on File]    6/20/2023 Bitcoin                                 0.00005816 Customer Transfer
 Confidential Customer Coin Transferee #185     [Address on File]    6/20/2023 Bitcoin                                 0.00005821 Customer Transfer
 Confidential Customer Coin Transferee #186     [Address on File]    6/20/2023 Bitcoin                                 0.00047378 Customer Transfer
 Confidential Customer Coin Transferee #187     [Address on File]     6/7/2023 Bitcoin                                    0.000777 Customer Transfer
 Confidential Customer Coin Transferee #188     [Address on File]    5/18/2023 Bitcoin                                 0.10010149 Customer Transfer
 Confidential Customer Coin Transferee #189     [Address on File]     6/7/2023 Bitcoin                                       0.0038 Customer Transfer
 Confidential Customer Coin Transferee #189     [Address on File]    5/17/2023 Bitcoin                                 0.00220606 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #189     [Address on File]    5/24/2023 Bitcoin                                   0.0013 Customer Transfer
 Confidential Customer Coin Transferee #189     [Address on File]    5/24/2023 Bitcoin                                   0.0012 Customer Transfer
 Confidential Customer Coin Transferee #190     [Address on File]    5/26/2023 Bitcoin                               0.0448961 Customer Transfer
 Confidential Customer Coin Transferee #191     [Address on File]    6/20/2023 Bitcoin                              0.00018711 Customer Transfer
 Confidential Customer Coin Transferee #192     [Address on File]    5/21/2023 Bitcoin                              0.00054657 Customer Transfer
 Confidential Customer Coin Transferee #192     [Address on File]    5/16/2023 Bitcoin                              0.00051517 Customer Transfer

 Confidential Customer Coin Transferee #193     [Address on File]     6/1/2023 Ether                                   0.00460675 Customer Transfer
 Confidential Customer Coin Transferee #194     [Address on File]    5/19/2023 Bitcoin                                 0.36005815 Customer Transfer
 Confidential Customer Coin Transferee #195     [Address on File]    6/20/2023 Bitcoin                                 0.00085248 Customer Transfer
 Confidential Customer Coin Transferee #196     [Address on File]    6/19/2023 Bitcoin                                 0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #197     [Address on File]    6/20/2023 Bitcoin                                 0.02378698 Customer Transfer
 Confidential Customer Coin Transferee #198     [Address on File]    6/20/2023 Bitcoin                                  0.0004874 Customer Transfer
 Confidential Customer Coin Transferee #199     [Address on File]    5/20/2023 Bitcoin                                 0.00090583 Customer Transfer
 Confidential Customer Coin Transferee #200     [Address on File]    6/20/2023 Bitcoin                                 0.00040714 Customer Transfer
 Confidential Customer Coin Transferee #201     [Address on File]    5/21/2023 Bitcoin                                 0.00107745 Customer Transfer
 Confidential Customer Coin Transferee #202     [Address on File]    5/18/2023 Bitcoin                                 0.01047026 Customer Transfer
 Confidential Customer Coin Transferee #203     [Address on File]    5/26/2023 Bitcoin                                 0.00731293 Customer Transfer
 Confidential Customer Coin Transferee #204     [Address on File]    6/20/2023 Bitcoin                                 0.00059679 Customer Transfer
 Confidential Customer Coin Transferee #205     [Address on File]    6/19/2023 Bitcoin                                 0.05271305 Customer Transfer
 Confidential Customer Coin Transferee #206     [Address on File]    6/19/2023 Bitcoin                                 0.00172845 Customer Transfer
 Confidential Customer Coin Transferee #207     [Address on File]    6/20/2023 Bitcoin                                 0.00292014 Customer Transfer
 Confidential Customer Coin Transferee #208     [Address on File]    6/19/2023 Bitcoin                                 0.00052469 Customer Transfer
 Confidential Customer Coin Transferee #209     [Address on File]    6/19/2023 Bitcoin                                 0.00105741 Customer Transfer
 Confidential Customer Coin Transferee #210     [Address on File]    5/24/2023 Bitcoin                                 0.00093013 Customer Transfer
 Confidential Customer Coin Transferee #210     [Address on File]    5/17/2023 Bitcoin                                 0.00084565 Customer Transfer
 Confidential Customer Coin Transferee #211     [Address on File]    6/20/2023 Bitcoin                                 0.00306463 Customer Transfer
 Confidential Customer Coin Transferee #212     [Address on File]    5/19/2023 Bitcoin                                 0.00296772 Customer Transfer
 Confidential Customer Coin Transferee #213     [Address on File]    5/18/2023 Bitcoin                                 0.01054986 Customer Transfer
 Confidential Customer Coin Transferee #214     [Address on File]    6/20/2023 Bitcoin                                 0.01475654 Customer Transfer

 Confidential Customer Coin Transferee #215     [Address on File]     6/8/2023 Bitcoin                                 0.02315925 Customer Transfer
 Confidential Customer Coin Transferee #216     [Address on File]     6/9/2023 Bitcoin                                 0.00110499 Customer Transfer
 Confidential Customer Coin Transferee #217     [Address on File]    5/19/2023 Bitcoin                                 0.00332597 Customer Transfer
 Confidential Customer Coin Transferee #218     [Address on File]    6/19/2023 Bitcoin                                 0.00510611 Customer Transfer
 Confidential Customer Coin Transferee #219     [Address on File]    5/20/2023 Bitcoin                                 0.00360593 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #220     [Address on File]    5/22/2023 Bitcoin                              0.09269933 Customer Transfer
 Confidential Customer Coin Transferee #221     [Address on File]    6/19/2023 Bitcoin                              0.00005834 Customer Transfer
 Confidential Customer Coin Transferee #222     [Address on File]    5/20/2023 Bitcoin                               0.0206853 Customer Transfer
 Confidential Customer Coin Transferee #222     [Address on File]    5/26/2023 Bitcoin                              0.01269279 Customer Transfer
 Confidential Customer Coin Transferee #223     [Address on File]    6/20/2023 Bitcoin                               0.0036186 Customer Transfer
 Confidential Customer Coin Transferee #224     [Address on File]    6/19/2023 Bitcoin                              0.00053172 Customer Transfer
 Confidential Customer Coin Transferee #225     [Address on File]    5/26/2023 Bitcoin                              0.00256656 Customer Transfer
 Confidential Customer Coin Transferee #225     [Address on File]    5/19/2023 Bitcoin                              0.00242503 Customer Transfer
 Confidential Customer Coin Transferee #226     [Address on File]    6/20/2023 Bitcoin                               0.0004512 Customer Transfer
 Confidential Customer Coin Transferee #227     [Address on File]    5/26/2023 Bitcoin                               0.0517237 Customer Transfer
 Confidential Customer Coin Transferee #228     [Address on File]     6/8/2023 Bitcoin                              0.01108456 Customer Transfer
 Confidential Customer Coin Transferee #229     [Address on File]    5/17/2023 Bitcoin                              0.00850992 Customer Transfer
 Confidential Customer Coin Transferee #230     [Address on File]    6/19/2023 Bitcoin                              0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #231     [Address on File]    6/20/2023 Bitcoin                              0.02354255 Customer Transfer
 Confidential Customer Coin Transferee #232     [Address on File]    6/19/2023 Bitcoin                               0.0056102 Customer Transfer
 Confidential Customer Coin Transferee #233     [Address on File]    5/20/2023 Bitcoin                              0.01062548 Customer Transfer
 Confidential Customer Coin Transferee #234     [Address on File]    6/19/2023 Bitcoin                              0.02361636 Customer Transfer
 Confidential Customer Coin Transferee #235     [Address on File]    6/19/2023 Bitcoin                              0.00040694 Customer Transfer
 Confidential Customer Coin Transferee #236     [Address on File]    6/17/2023 Bitcoin                                 0.003833 Customer Transfer
 Confidential Customer Coin Transferee #236     [Address on File]    5/24/2023 Bitcoin                              0.00370927 Customer Transfer
 Confidential Customer Coin Transferee #236     [Address on File]    5/23/2023 Bitcoin                              0.00342807 Customer Transfer
 Confidential Customer Coin Transferee #236     [Address on File]    5/25/2023 Bitcoin                              0.00323353 Customer Transfer
 Confidential Customer Coin Transferee #236     [Address on File]     6/2/2023 Bitcoin                               0.0022377 Customer Transfer
 Confidential Customer Coin Transferee #236     [Address on File]    5/22/2023 Bitcoin                              0.00147153 Customer Transfer
 Confidential Customer Coin Transferee #236     [Address on File]     6/5/2023 Bitcoin                              0.00109675 Customer Transfer
 Confidential Customer Coin Transferee #236     [Address on File]    6/12/2023 Bitcoin                              0.00052689 Customer Transfer
 Confidential Customer Coin Transferee #237     [Address on File]    5/26/2023 Bitcoin                              0.01086423 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    6/12/2023 USDC Avalanche)                     1495.362318 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    6/12/2023 USDC Avalanche)                     1278.090954 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    5/26/2023 USDC Avalanche)                     1195.772113 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    5/22/2023 USDC Avalanche)                      996.241127 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]     6/9/2023 USDC Avalanche)                      996.171531 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    5/22/2023 USDC Avalanche)                      496.890932 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    5/22/2023 USDC Avalanche)                      496.841263 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]     6/9/2023 USDC Avalanche)                      496.821589 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    6/20/2023 USDC Avalanche)                      495.277473 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    5/17/2023 USDC Avalanche)                      246.986506 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    5/16/2023 USDC Avalanche)                      197.271091 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    6/21/2023 USDC Avalanche)                      196.750398 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    6/22/2023 USDC Avalanche)                      196.691579 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    6/12/2023 USDC Avalanche)                      173.953023 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    5/28/2023 USDC Avalanche)                      152.293394 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    5/29/2023 USDC Avalanche)                      147.336331 Customer Transfer
 Confidential Customer Coin Transferee #238     [Address on File]    6/21/2023 USDC Avalanche)                       97.130044 Customer Transfer
 Confidential Customer Coin Transferee #239     [Address on File]    5/29/2023 Bitcoin                              0.00174383 Customer Transfer

 Confidential Customer Coin Transferee #240     [Address on File]     6/7/2023 Litecoin                                0.07621517 Customer Transfer
 Confidential Customer Coin Transferee #241     [Address on File]    5/22/2023 Bitcoin                                 0.00364948 Customer Transfer
 Confidential Customer Coin Transferee #242     [Address on File]    5/16/2023 Bitcoin                                 0.00053046 Customer Transfer
 Confidential Customer Coin Transferee #243     [Address on File]    5/23/2023 Bitcoin                                 0.01818794 Customer Transfer
 Confidential Customer Coin Transferee #244     [Address on File]    6/19/2023 Bitcoin                                 0.01169327 Customer Transfer
 Confidential Customer Coin Transferee #245     [Address on File]    6/20/2023 Bitcoin                                 0.00036101 Customer Transfer
 Confidential Customer Coin Transferee #246     [Address on File]    5/21/2023 Bitcoin                                 0.02463302 Customer Transfer
 Confidential Customer Coin Transferee #247     [Address on File]    5/31/2023 Tether USD                                 3471.239 Customer Transfer
 Confidential Customer Coin Transferee #248     [Address on File]    5/30/2023 Bitcoin                                 0.02026677 Customer Transfer
 Confidential Customer Coin Transferee #248     [Address on File]    5/30/2023 Bitcoin                                 0.01062888 Customer Transfer
 Confidential Customer Coin Transferee #249     [Address on File]    5/28/2023 Bitcoin                                 0.01608146 Customer Transfer
 Confidential Customer Coin Transferee #250     [Address on File]    5/17/2023 Bitcoin                                 0.00220227 Customer Transfer
 Confidential Customer Coin Transferee #251     [Address on File]    5/22/2023 Bitcoin                                 0.00012358 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/25/2023 Bitcoin                                  0.0037684 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/25/2023 Bitcoin                                 0.00375542 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/25/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/26/2023 Bitcoin                                 0.00186491 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/26/2023 Bitcoin                                 0.00186337 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/25/2023 Bitcoin                                 0.00175843 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/23/2023 Bitcoin                                      0.0017 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/23/2023 Bitcoin                                 0.00164435 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/18/2023 Bitcoin                                 0.00145748 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/26/2023 Bitcoin                                 0.00131947 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/26/2023 Bitcoin                                 0.00131675 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/27/2023 Bitcoin                                 0.00129803 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/26/2023 Bitcoin                                 0.00128011 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/28/2023 Bitcoin                              0.00127621 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/26/2023 Bitcoin                              0.00112873 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/17/2023 Bitcoin                              0.00108827 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/21/2023 Bitcoin                              0.00087813 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/18/2023 Bitcoin                              0.00087369 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/28/2023 Bitcoin                              0.00074061 Customer Transfer
 Confidential Customer Coin Transferee #252     [Address on File]    5/28/2023 Bitcoin                              0.00074043 Customer Transfer
 Confidential Customer Coin Transferee #253     [Address on File]    5/18/2023 Bitcoin                              0.00454051 Customer Transfer
 Confidential Customer Coin Transferee #254     [Address on File]    5/17/2023 Bitcoin                              0.00369531 Customer Transfer
 Confidential Customer Coin Transferee #254     [Address on File]    6/12/2023 Bitcoin                              0.00193341 Customer Transfer
 Confidential Customer Coin Transferee #254     [Address on File]    6/12/2023 Bitcoin                                 0.001927 Customer Transfer
 Confidential Customer Coin Transferee #254     [Address on File]     6/1/2023 Bitcoin                              0.00188097 Customer Transfer
 Confidential Customer Coin Transferee #255     [Address on File]    5/27/2023 Bitcoin                              0.00929555 Customer Transfer
 Confidential Customer Coin Transferee #255     [Address on File]    5/21/2023 Bitcoin                              0.00921075 Customer Transfer
 Confidential Customer Coin Transferee #256     [Address on File]    5/28/2023 Bitcoin                              0.01835013 Customer Transfer
 Confidential Customer Coin Transferee #257     [Address on File]    6/20/2023 Bitcoin                              0.00558325 Customer Transfer
 Confidential Customer Coin Transferee #258     [Address on File]    5/27/2023 Bitcoin                              0.05044868 Customer Transfer
 Confidential Customer Coin Transferee #259     [Address on File]    6/19/2023 Bitcoin                              0.00101637 Customer Transfer
 Confidential Customer Coin Transferee #260     [Address on File]    6/20/2023 Bitcoin                              0.00022917 Customer Transfer
 Confidential Customer Coin Transferee #261     [Address on File]     6/7/2023 Bitcoin                              0.05085033 Customer Transfer

 Confidential Customer Coin Transferee #262     [Address on File]     6/7/2023 Bitcoin                                  0.0008554 Customer Transfer
 Confidential Customer Coin Transferee #263     [Address on File]    6/20/2023 Bitcoin                                 0.00005877 Customer Transfer
 Confidential Customer Coin Transferee #264     [Address on File]    5/19/2023 Bitcoin                                 0.01063529 Customer Transfer
 Confidential Customer Coin Transferee #264     [Address on File]    5/29/2023 Bitcoin                                 0.01013704 Customer Transfer
 Confidential Customer Coin Transferee #265     [Address on File]    6/20/2023 Bitcoin                                 0.00665267 Customer Transfer
 Confidential Customer Coin Transferee #266     [Address on File]    5/16/2023 Bitcoin                                 0.01537848 Customer Transfer
 Confidential Customer Coin Transferee #267     [Address on File]    6/19/2023 Bitcoin                                 0.00072185 Customer Transfer
 Confidential Customer Coin Transferee #268     [Address on File]    5/24/2023 Bitcoin                                 0.00074524 Customer Transfer
 Confidential Customer Coin Transferee #269     [Address on File]    5/18/2023 Bitcoin                                 0.00111178 Customer Transfer

 Confidential Customer Coin Transferee #270     [Address on File]    6/21/2023 Gala                                     58.758722 Customer Transfer
 Confidential Customer Coin Transferee #271     [Address on File]     6/2/2023 Tether USD                                 457.4998 Customer Transfer
 Confidential Customer Coin Transferee #272     [Address on File]    5/30/2023 Bitcoin                                 0.00024095 Customer Transfer
 Confidential Customer Coin Transferee #273     [Address on File]    5/26/2023 Bitcoin                                  0.0027493 Customer Transfer
 Confidential Customer Coin Transferee #274     [Address on File]    5/21/2023 Bitcoin                                 0.00326552 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #274     [Address on File]     6/1/2023 Bitcoin                              0.00315925 Customer Transfer
 Confidential Customer Coin Transferee #275     [Address on File]    5/21/2023 Bitcoin                              0.01834807 Customer Transfer
 Confidential Customer Coin Transferee #276     [Address on File]    6/17/2023 Bitcoin                              0.00193689 Customer Transfer
 Confidential Customer Coin Transferee #276     [Address on File]    6/12/2023 Bitcoin                              0.00192427 Customer Transfer
 Confidential Customer Coin Transferee #276     [Address on File]     6/7/2023 Bitcoin                              0.00192358 Customer Transfer
 Confidential Customer Coin Transferee #276     [Address on File]     6/5/2023 Bitcoin                               0.0018245 Customer Transfer
 Confidential Customer Coin Transferee #276     [Address on File]    5/18/2023 Bitcoin                              0.00181417 Customer Transfer
 Confidential Customer Coin Transferee #277     [Address on File]    5/30/2023 Bitcoin                              0.01758208 Customer Transfer

 Confidential Customer Coin Transferee #278     [Address on File]      6/2/2023 Tether USD                               349.5509 Customer Transfer
 Confidential Customer Coin Transferee #279     [Address on File]      6/5/2023 Tether USD                               178.7414 Customer Transfer
 Confidential Customer Coin Transferee #280     [Address on File]      6/2/2023 Tether USD                                 2527.4 Customer Transfer

 Confidential Customer Coin Transferee #281     [Address on File]    6/19/2023 Bitcoin                                 0.00184931 Customer Transfer
 Confidential Customer Coin Transferee #282     [Address on File]    5/20/2023 Bitcoin                                     0.00112 Customer Transfer
 Confidential Customer Coin Transferee #283     [Address on File]    6/19/2023 Bitcoin                                 0.00390052 Customer Transfer
 Confidential Customer Coin Transferee #284     [Address on File]    5/22/2023 Bitcoin                                 0.02815989 Customer Transfer

 Confidential Customer Coin Transferee #285     [Address on File]    6/10/2023 USDC Solana)                            484.209474 Customer Transfer

 Confidential Customer Coin Transferee #285     [Address on File]    5/25/2023 USDC Solana)                            290.602819 Customer Transfer

 Confidential Customer Coin Transferee #285     [Address on File]    5/20/2023 USDC Solana)                            193.693153 Customer Transfer

 Confidential Customer Coin Transferee #285     [Address on File]    6/15/2023 USDC Solana)                            193.693153 Customer Transfer

 Confidential Customer Coin Transferee #285     [Address on File]    6/19/2023 USDC Solana)                             193.17185 Customer Transfer
 Confidential Customer Coin Transferee #286     [Address on File]    5/26/2023 Bitcoin                                 0.00148391 Customer Transfer
 Confidential Customer Coin Transferee #286     [Address on File]    5/26/2023 Bitcoin                                 0.00112056 Customer Transfer
 Confidential Customer Coin Transferee #286     [Address on File]    5/26/2023 Bitcoin                                 0.00111339 Customer Transfer
 Confidential Customer Coin Transferee #286     [Address on File]    5/27/2023 Bitcoin                                 0.00072256 Customer Transfer
 Confidential Customer Coin Transferee #286     [Address on File]    5/30/2023 Bitcoin                                 0.00071579 Customer Transfer
 Confidential Customer Coin Transferee #286     [Address on File]    5/30/2023 Bitcoin                                 0.00071426 Customer Transfer
 Confidential Customer Coin Transferee #286     [Address on File]    5/26/2023 Bitcoin                                 0.00055633 Customer Transfer
 Confidential Customer Coin Transferee #286     [Address on File]    5/30/2023 Bitcoin                                    0.000287 Customer Transfer
 Confidential Customer Coin Transferee #287     [Address on File]    6/19/2023 Bitcoin                                 0.00041103 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date             Crypto Currency           Unit Count          or Transfer

 Confidential Customer Coin Transferee #288     [Address on File]    6/19/2023 Bitcoin                              0.00004474 Customer Transfer
 Confidential Customer Coin Transferee #289     [Address on File]    5/23/2023 Bitcoin                             160.6646115 Customer Transfer
 Confidential Customer Coin Transferee #290     [Address on File]    5/22/2023 Bitcoin                              0.01063401 Customer Transfer
 Confidential Customer Coin Transferee #291     [Address on File]    5/22/2023 Bitcoin                              0.01098775 Customer Transfer
 Confidential Customer Coin Transferee #291     [Address on File]    5/30/2023 Bitcoin                              0.00802028 Customer Transfer
 Confidential Customer Coin Transferee #292     [Address on File]    6/20/2023 Bitcoin                              0.00070398 Customer Transfer
 Confidential Customer Coin Transferee #293     [Address on File]    5/26/2023 Bitcoin                              0.01951339 Customer Transfer
 Confidential Customer Coin Transferee #293     [Address on File]    5/19/2023 Bitcoin                              0.01945713 Customer Transfer
 Confidential Customer Coin Transferee #294     [Address on File]    5/26/2023 Bitcoin                              0.01072667 Customer Transfer
 Confidential Customer Coin Transferee #294     [Address on File]    5/28/2023 Bitcoin                              0.00549396 Customer Transfer
 Confidential Customer Coin Transferee #295     [Address on File]    6/20/2023 Bitcoin                              0.00036061 Customer Transfer
 Confidential Customer Coin Transferee #296     [Address on File]    6/19/2023 Bitcoin                               0.0029743 Customer Transfer
 Confidential Customer Coin Transferee #297     [Address on File]    5/23/2023 Bitcoin                                  0.00074 Customer Transfer
 Confidential Customer Coin Transferee #298     [Address on File]    5/24/2023 Bitcoin                              0.18226823 Customer Transfer
 Confidential Customer Coin Transferee #298     [Address on File]    5/26/2023 Bitcoin                                       0.1 Customer Transfer
 Confidential Customer Coin Transferee #298     [Address on File]    5/25/2023 Bitcoin                                      0.04 Customer Transfer
 Confidential Customer Coin Transferee #298     [Address on File]    5/27/2023 Bitcoin                               0.0375154 Customer Transfer
 Confidential Customer Coin Transferee #298     [Address on File]    5/30/2023 Bitcoin                                     0.007 Customer Transfer
 Confidential Customer Coin Transferee #298     [Address on File]    5/27/2023 Bitcoin                              0.00372915 Customer Transfer
 Confidential Customer Coin Transferee #298     [Address on File]    5/24/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #299     [Address on File]    5/19/2023 Bitcoin                              0.01035905 Customer Transfer
 Confidential Customer Coin Transferee #300     [Address on File]    6/20/2023 Bitcoin                              0.09503187 Customer Transfer

 Confidential Customer Coin Transferee #301     [Address on File]    6/13/2023 Tether USD                               5346.4361 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/27/2023 Bitcoin                                 0.00335463 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/27/2023 Bitcoin                                 0.00260149 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/21/2023 Bitcoin                                 0.00237558 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/29/2023 Bitcoin                                 0.00193358 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/21/2023 Bitcoin                                  0.0018544 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/21/2023 Bitcoin                                 0.00146161 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/17/2023 Bitcoin                                 0.00122543 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/20/2023 Bitcoin                                  0.0011842 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/30/2023 Bitcoin                                 0.00118142 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/21/2023 Bitcoin                                 0.00114721 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/21/2023 Bitcoin                                 0.00114681 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/16/2023 Bitcoin                              0.00114182 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/27/2023 Bitcoin                              0.00107747 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/20/2023 Bitcoin                              0.00105536 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/19/2023 Bitcoin                              0.00089066 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/19/2023 Bitcoin                              0.00088964 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/19/2023 Bitcoin                              0.00087008 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/21/2023 Bitcoin                              0.00080968 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/20/2023 Bitcoin                              0.00080794 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/24/2023 Bitcoin                              0.00079634 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/24/2023 Bitcoin                              0.00079255 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/27/2023 Bitcoin                              0.00074328 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/27/2023 Bitcoin                              0.00074326 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/27/2023 Bitcoin                              0.00074278 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/27/2023 Bitcoin                              0.00066962 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/29/2023 Bitcoin                              0.00062619 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/19/2023 Bitcoin                              0.00055428 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/17/2023 Bitcoin                              0.00054453 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/17/2023 Bitcoin                              0.00053952 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/17/2023 Bitcoin                              0.00048249 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/19/2023 Bitcoin                               0.0004808 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/20/2023 Bitcoin                              0.00047685 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/23/2023 Bitcoin                              0.00047578 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/24/2023 Bitcoin                              0.00047547 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/27/2023 Bitcoin                              0.00044718 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/17/2023 Bitcoin                              0.00044435 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/21/2023 Bitcoin                              0.00044371 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/16/2023 Bitcoin                               0.0004418 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/31/2023 Bitcoin                              0.00043554 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/30/2023 Bitcoin                              0.00043092 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/23/2023 Bitcoin                              0.00043013 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/29/2023 Bitcoin                              0.00042737 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/31/2023 Bitcoin                              0.00040301 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/24/2023 Bitcoin                               0.0003724 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/21/2023 Bitcoin                               0.0003293 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/21/2023 Bitcoin                              0.00030347 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/24/2023 Bitcoin                              0.00030162 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
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                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/24/2023 Bitcoin                              0.00026511 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/26/2023 Bitcoin                               0.0002634 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/26/2023 Bitcoin                               0.0002607 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/27/2023 Bitcoin                              0.00026064 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/27/2023 Bitcoin                              0.00026008 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/29/2023 Bitcoin                              0.00021466 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/24/2023 Bitcoin                              0.00018637 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/27/2023 Bitcoin                              0.00018574 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/30/2023 Bitcoin                              0.00017954 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/31/2023 Bitcoin                              0.00014009 Customer Transfer
 Confidential Customer Coin Transferee #302     [Address on File]    5/30/2023 Bitcoin                              0.00010747 Customer Transfer
 Confidential Customer Coin Transferee #303     [Address on File]     6/7/2023 Bitcoin                              0.01883525 Customer Transfer
 Confidential Customer Coin Transferee #303     [Address on File]    6/15/2023 Bitcoin                              0.00864468 Customer Transfer
 Confidential Customer Coin Transferee #304     [Address on File]    5/31/2023 Bitcoin                              0.01108437 Customer Transfer
 Confidential Customer Coin Transferee #305     [Address on File]    5/19/2023 Bitcoin                               0.0057331 Customer Transfer
 Confidential Customer Coin Transferee #306     [Address on File]    5/18/2023 Bitcoin                              0.04228812 Customer Transfer
 Confidential Customer Coin Transferee #306     [Address on File]    5/20/2023 Bitcoin                               0.0369721 Customer Transfer
 Confidential Customer Coin Transferee #306     [Address on File]    5/16/2023 Bitcoin                              0.03107349 Customer Transfer
 Confidential Customer Coin Transferee #306     [Address on File]    5/17/2023 Bitcoin                              0.02720814 Customer Transfer
 Confidential Customer Coin Transferee #306     [Address on File]    5/25/2023 Bitcoin                              0.01894707 Customer Transfer
 Confidential Customer Coin Transferee #306     [Address on File]    5/23/2023 Bitcoin                               0.0184993 Customer Transfer
 Confidential Customer Coin Transferee #306     [Address on File]    5/22/2023 Bitcoin                              0.01825131 Customer Transfer
 Confidential Customer Coin Transferee #306     [Address on File]    5/26/2023 Bitcoin                              0.01581157 Customer Transfer
 Confidential Customer Coin Transferee #307     [Address on File]    6/20/2023 Bitcoin                              0.00515803 Customer Transfer
 Confidential Customer Coin Transferee #308     [Address on File]    5/17/2023 Bitcoin                                   0.0018 Customer Transfer
 Confidential Customer Coin Transferee #309     [Address on File]    5/24/2023 Bitcoin                              0.01866082 Customer Transfer
 Confidential Customer Coin Transferee #309     [Address on File]    5/17/2023 Bitcoin                              0.01846941 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/26/2023 Bitcoin                              0.00246304 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/31/2023 Bitcoin                              0.00233527 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/28/2023 Bitcoin                               0.0022832 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/29/2023 Bitcoin                              0.00213774 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/26/2023 Bitcoin                              0.00206649 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/20/2023 Bitcoin                              0.00185146 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]     6/1/2023 Bitcoin                              0.00184736 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/17/2023 Bitcoin                              0.00181576 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/22/2023 Bitcoin                              0.00181152 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/17/2023 Bitcoin                              0.00181092 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/31/2023 Bitcoin                              0.00179865 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/31/2023 Bitcoin                              0.00179756 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/29/2023 Bitcoin                              0.00179697 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/20/2023 Bitcoin                              0.00166593 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/19/2023 Bitcoin                              0.00166541 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/18/2023 Bitcoin                              0.00160186 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/30/2023 Bitcoin                              0.00157226 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/21/2023 Bitcoin                              0.00155066 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/16/2023 Bitcoin                              0.00154335 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/31/2023 Bitcoin                              0.00150327 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/20/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/21/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/25/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/20/2023 Bitcoin                              0.00148028 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/29/2023 Bitcoin                              0.00140323 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/28/2023 Bitcoin                              0.00139512 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/31/2023 Bitcoin                              0.00132971 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/19/2023 Bitcoin                              0.00129446 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/16/2023 Bitcoin                              0.00129081 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/16/2023 Bitcoin                              0.00127921 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/21/2023 Bitcoin                              0.00124689 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/19/2023 Bitcoin                              0.00122244 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/30/2023 Bitcoin                              0.00113981 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/31/2023 Bitcoin                              0.00105985 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/20/2023 Bitcoin                              0.00103526 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/20/2023 Bitcoin                              0.00101769 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/28/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/28/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/28/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]     6/2/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/27/2023 Bitcoin                              0.00096909 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/19/2023 Bitcoin                              0.00092487 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/31/2023 Bitcoin                              0.00091628 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/18/2023 Bitcoin                              0.00090919 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/20/2023 Bitcoin                              0.00085054 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #310     [Address on File]     6/2/2023 Bitcoin                                 0.000835 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]     6/1/2023 Bitcoin                              0.00081361 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]     6/1/2023 Bitcoin                              0.00074126 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]     6/1/2023 Bitcoin                              0.00073986 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]     6/2/2023 Bitcoin                              0.00073798 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/31/2023 Bitcoin                               0.0007344 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/18/2023 Bitcoin                              0.00072678 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/30/2023 Bitcoin                              0.00071882 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/29/2023 Bitcoin                              0.00071468 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/17/2023 Bitcoin                              0.00070029 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/25/2023 Bitcoin                              0.00068599 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]     6/1/2023 Bitcoin                              0.00062754 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/16/2023 Bitcoin                              0.00062507 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/30/2023 Bitcoin                              0.00060651 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/16/2023 Bitcoin                              0.00059047 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/30/2023 Bitcoin                              0.00057321 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/27/2023 Bitcoin                               0.0005564 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/16/2023 Bitcoin                              0.00054221 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/16/2023 Bitcoin                               0.0004686 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/28/2023 Bitcoin                              0.00043369 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/26/2023 Bitcoin                              0.00037614 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/17/2023 Bitcoin                               0.0003681 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/17/2023 Bitcoin                              0.00036752 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/28/2023 Bitcoin                              0.00034771 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/29/2023 Bitcoin                               0.0003208 Customer Transfer
 Confidential Customer Coin Transferee #310     [Address on File]    5/27/2023 Bitcoin                              0.00017475 Customer Transfer
 Confidential Customer Coin Transferee #311     [Address on File]    5/23/2023 Bitcoin                              0.03475472 Customer Transfer
 Confidential Customer Coin Transferee #312     [Address on File]    5/16/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #312     [Address on File]    5/29/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #313     [Address on File]    5/21/2023 Bitcoin                              0.00354125 Customer Transfer
 Confidential Customer Coin Transferee #314     [Address on File]    5/22/2023 Bitcoin                              0.01720134 Customer Transfer
 Confidential Customer Coin Transferee #315     [Address on File]    6/19/2023 Bitcoin                              0.00697546 Customer Transfer
 Confidential Customer Coin Transferee #316     [Address on File]    6/20/2023 Bitcoin                              0.03712072 Customer Transfer
 Confidential Customer Coin Transferee #317     [Address on File]    5/31/2023 Bitcoin                               0.0115109 Customer Transfer
 Confidential Customer Coin Transferee #317     [Address on File]    6/12/2023 Bitcoin                              0.01106347 Customer Transfer
 Confidential Customer Coin Transferee #317     [Address on File]    6/18/2023 Bitcoin                               0.0040536 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #318     [Address on File]    6/19/2023 Bitcoin                              0.00004038 Customer Transfer
 Confidential Customer Coin Transferee #319     [Address on File]    6/20/2023 Bitcoin                              0.00077523 Customer Transfer
 Confidential Customer Coin Transferee #320     [Address on File]    5/23/2023 Bitcoin                                     0.35 Customer Transfer
 Confidential Customer Coin Transferee #321     [Address on File]    5/23/2023 Bitcoin                              0.06729553 Customer Transfer
 Confidential Customer Coin Transferee #321     [Address on File]    5/23/2023 Bitcoin                              0.06427197 Customer Transfer
 Confidential Customer Coin Transferee #322     [Address on File]    6/19/2023 Bitcoin                               0.0011505 Customer Transfer
 Confidential Customer Coin Transferee #323     [Address on File]    5/31/2023 Bitcoin                              0.06992583 Customer Transfer
 Confidential Customer Coin Transferee #324     [Address on File]    6/19/2023 Bitcoin                              0.00288398 Customer Transfer
 Confidential Customer Coin Transferee #325     [Address on File]    6/20/2023 Bitcoin                              0.00478149 Customer Transfer
 Confidential Customer Coin Transferee #326     [Address on File]    5/20/2023 Bitcoin                              0.00364181 Customer Transfer
 Confidential Customer Coin Transferee #327     [Address on File]    6/13/2023 Bitcoin                              0.00189493 Customer Transfer
 Confidential Customer Coin Transferee #327     [Address on File]    5/16/2023 Bitcoin                              0.00183365 Customer Transfer
 Confidential Customer Coin Transferee #327     [Address on File]    5/30/2023 Bitcoin                              0.00177753 Customer Transfer
 Confidential Customer Coin Transferee #328     [Address on File]    6/20/2023 Bitcoin                              0.00060997 Customer Transfer
 Confidential Customer Coin Transferee #329     [Address on File]    6/19/2023 Bitcoin                              0.00005812 Customer Transfer
 Confidential Customer Coin Transferee #330     [Address on File]    6/19/2023 Bitcoin                              0.00185721 Customer Transfer
 Confidential Customer Coin Transferee #331     [Address on File]    5/23/2023 Bitcoin                              0.01815569 Customer Transfer
 Confidential Customer Coin Transferee #332     [Address on File]    5/25/2023 Bitcoin                              0.02216085 Customer Transfer
 Confidential Customer Coin Transferee #333     [Address on File]    5/22/2023 Bitcoin                              0.05624987 Customer Transfer
 Confidential Customer Coin Transferee #333     [Address on File]    5/29/2023 Bitcoin                              0.03896178 Customer Transfer
 Confidential Customer Coin Transferee #334     [Address on File]    5/26/2023 Bitcoin                              0.00568432 Customer Transfer
 Confidential Customer Coin Transferee #335     [Address on File]    5/29/2023 Bitcoin                              0.01017385 Customer Transfer
 Confidential Customer Coin Transferee #336     [Address on File]    6/20/2023 Bitcoin                              0.02718317 Customer Transfer
 Confidential Customer Coin Transferee #337     [Address on File]    5/26/2023 Bitcoin                              0.00386783 Customer Transfer
 Confidential Customer Coin Transferee #337     [Address on File]    5/19/2023 Bitcoin                              0.00364536 Customer Transfer
 Confidential Customer Coin Transferee #338     [Address on File]    6/20/2023 Bitcoin                              0.00377062 Customer Transfer
 Confidential Customer Coin Transferee #339     [Address on File]    5/22/2023 Bitcoin                              0.05896229 Customer Transfer
 Confidential Customer Coin Transferee #339     [Address on File]    5/29/2023 Bitcoin                              0.01116921 Customer Transfer
 Confidential Customer Coin Transferee #340     [Address on File]    5/30/2023 Bitcoin                              0.01830208 Customer Transfer
 Confidential Customer Coin Transferee #340     [Address on File]    5/16/2023 Bitcoin                              0.00741111 Customer Transfer
 Confidential Customer Coin Transferee #341     [Address on File]    5/30/2023 Bitcoin                              0.00250055 Customer Transfer
 Confidential Customer Coin Transferee #341     [Address on File]    5/25/2023 Bitcoin                              0.00150818 Customer Transfer
 Confidential Customer Coin Transferee #341     [Address on File]    5/26/2023 Bitcoin                              0.00148435 Customer Transfer
 Confidential Customer Coin Transferee #341     [Address on File]    5/24/2023 Bitcoin                              0.00075593 Customer Transfer
 Confidential Customer Coin Transferee #341     [Address on File]    5/26/2023 Bitcoin                              0.00075124 Customer Transfer
 Confidential Customer Coin Transferee #341     [Address on File]    5/19/2023 Bitcoin                              0.00073973 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #341     [Address on File]    5/28/2023 Bitcoin                               0.0007223 Customer Transfer
 Confidential Customer Coin Transferee #341     [Address on File]    5/30/2023 Bitcoin                              0.00071749 Customer Transfer
 Confidential Customer Coin Transferee #342     [Address on File]    6/20/2023 Bitcoin                              0.00289731 Customer Transfer

 Confidential Customer Coin Transferee #343     [Address on File]    5/25/2023 USDC Avalanche)                         496.291483 Customer Transfer
 Confidential Customer Coin Transferee #344     [Address on File]    5/25/2023 Ether                                   0.21009619 Customer Transfer
 Confidential Customer Coin Transferee #344     [Address on File]     6/5/2023 Litecoin                                0.18325347 Customer Transfer
 Confidential Customer Coin Transferee #344     [Address on File]     6/5/2023 Bitcoin                                 0.09853427 Customer Transfer
 Confidential Customer Coin Transferee #344     [Address on File]    5/25/2023 Bitcoin                                         0.03 Customer Transfer
 Confidential Customer Coin Transferee #344     [Address on File]    5/25/2023 Bitcoin                                         0.01 Customer Transfer
 Confidential Customer Coin Transferee #345     [Address on File]    5/19/2023 Bitcoin                                 0.00072208 Customer Transfer
 Confidential Customer Coin Transferee #346     [Address on File]    6/15/2023 Bitcoin                                 0.00199176 Customer Transfer
 Confidential Customer Coin Transferee #346     [Address on File]    6/14/2023 Bitcoin                                  0.0019085 Customer Transfer
 Confidential Customer Coin Transferee #346     [Address on File]     6/9/2023 Bitcoin                                 0.00187253 Customer Transfer
 Confidential Customer Coin Transferee #346     [Address on File]    5/17/2023 Bitcoin                                 0.00185648 Customer Transfer
 Confidential Customer Coin Transferee #346     [Address on File]    5/26/2023 Bitcoin                                 0.00184639 Customer Transfer
 Confidential Customer Coin Transferee #346     [Address on File]    5/22/2023 Bitcoin                                 0.00184016 Customer Transfer
 Confidential Customer Coin Transferee #346     [Address on File]     6/2/2023 Bitcoin                                 0.00183824 Customer Transfer
 Confidential Customer Coin Transferee #346     [Address on File]    5/16/2023 Bitcoin                                 0.00183285 Customer Transfer
 Confidential Customer Coin Transferee #346     [Address on File]    5/30/2023 Bitcoin                                 0.00179089 Customer Transfer
 Confidential Customer Coin Transferee #347     [Address on File]    5/21/2023 Bitcoin                                 0.00174927 Customer Transfer
 Confidential Customer Coin Transferee #347     [Address on File]    5/23/2023 Bitcoin                                 0.00074385 Customer Transfer
 Confidential Customer Coin Transferee #347     [Address on File]    5/25/2023 Bitcoin                                 0.00037282 Customer Transfer
 Confidential Customer Coin Transferee #347     [Address on File]    5/24/2023 Bitcoin                                 0.00037237 Customer Transfer
 Confidential Customer Coin Transferee #347     [Address on File]    5/21/2023 Bitcoin                                 0.00036223 Customer Transfer
 Confidential Customer Coin Transferee #348     [Address on File]    5/16/2023 Bitcoin                                 0.01039568 Customer Transfer
 Confidential Customer Coin Transferee #349     [Address on File]    6/19/2023 Bitcoin                                 0.03477055 Customer Transfer
 Confidential Customer Coin Transferee #350     [Address on File]    5/20/2023 Bitcoin                                 0.82410469 Customer Transfer
 Confidential Customer Coin Transferee #350     [Address on File]    5/29/2023 Bitcoin                                 0.37141898 Customer Transfer
 Confidential Customer Coin Transferee #351     [Address on File]    5/24/2023 Bitcoin                                 0.01016791 Customer Transfer
 Confidential Customer Coin Transferee #351     [Address on File]    5/25/2023 Bitcoin                                 0.00379557 Customer Transfer
 Confidential Customer Coin Transferee #352     [Address on File]    6/19/2023 Bitcoin                                 0.00037413 Customer Transfer
 Confidential Customer Coin Transferee #353     [Address on File]    5/22/2023 Bitcoin                                  0.0510327 Customer Transfer
 Confidential Customer Coin Transferee #354     [Address on File]    5/22/2023 Bitcoin                                     0.03159 Customer Transfer
 Confidential Customer Coin Transferee #355     [Address on File]    5/28/2023 Bitcoin                                 0.18549209 Customer Transfer
 Confidential Customer Coin Transferee #356     [Address on File]    5/26/2023 Bitcoin                                        0.001 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
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                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #357     [Address on File]    5/23/2023 Bitcoin                              0.01657221 Customer Transfer
 Confidential Customer Coin Transferee #358     [Address on File]    5/18/2023 Bitcoin                              0.00080341 Customer Transfer
 Confidential Customer Coin Transferee #358     [Address on File]    5/24/2023 Bitcoin                              0.00074496 Customer Transfer
 Confidential Customer Coin Transferee #359     [Address on File]    5/28/2023 Bitcoin                              0.06832313 Customer Transfer
 Confidential Customer Coin Transferee #360     [Address on File]    5/24/2023 Bitcoin                              0.01485637 Customer Transfer
 Confidential Customer Coin Transferee #360     [Address on File]    5/17/2023 Bitcoin                              0.01363277 Customer Transfer
 Confidential Customer Coin Transferee #361     [Address on File]     6/9/2023 Bitcoin                              0.00384653 Customer Transfer
 Confidential Customer Coin Transferee #362     [Address on File]    6/20/2023 Bitcoin                               0.0001056 Customer Transfer
 Confidential Customer Coin Transferee #363     [Address on File]    6/19/2023 Bitcoin                              0.00293174 Customer Transfer
 Confidential Customer Coin Transferee #364     [Address on File]    6/19/2023 Bitcoin                              0.00863663 Customer Transfer
 Confidential Customer Coin Transferee #365     [Address on File]    5/21/2023 Bitcoin                              0.00181091 Customer Transfer
 Confidential Customer Coin Transferee #366     [Address on File]    5/19/2023 Bitcoin                              0.11083724 Customer Transfer
 Confidential Customer Coin Transferee #367     [Address on File]    5/22/2023 Bitcoin                              0.00739417 Customer Transfer
 Confidential Customer Coin Transferee #367     [Address on File]    5/22/2023 Bitcoin                              0.00390399 Customer Transfer
 Confidential Customer Coin Transferee #368     [Address on File]    5/27/2023 Bitcoin                              0.01103349 Customer Transfer
 Confidential Customer Coin Transferee #369     [Address on File]    5/24/2023 Bitcoin                              0.14746354 Customer Transfer
 Confidential Customer Coin Transferee #370     [Address on File]    5/28/2023 Bitcoin                              0.01292684 Customer Transfer
 Confidential Customer Coin Transferee #370     [Address on File]    5/28/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #371     [Address on File]    5/20/2023 Bitcoin                              0.10054747 Customer Transfer
 Confidential Customer Coin Transferee #371     [Address on File]    5/18/2023 Bitcoin                              0.00738257 Customer Transfer
 Confidential Customer Coin Transferee #371     [Address on File]    5/22/2023 Bitcoin                              0.00277521 Customer Transfer
 Confidential Customer Coin Transferee #371     [Address on File]    5/17/2023 Bitcoin                                  0.00005 Customer Transfer
 Confidential Customer Coin Transferee #371     [Address on File]    5/17/2023 Bitcoin                              0.00001111 Customer Transfer
 Confidential Customer Coin Transferee #372     [Address on File]    5/18/2023 Bitcoin                              0.00209869 Customer Transfer
 Confidential Customer Coin Transferee #373     [Address on File]    5/26/2023 Bitcoin                              0.00074607 Customer Transfer
 Confidential Customer Coin Transferee #374     [Address on File]     6/5/2023 Tether USD                            6241.6795 Customer Transfer
 Confidential Customer Coin Transferee #375     [Address on File]    6/19/2023 Bitcoin                              0.00067083 Customer Transfer
 Confidential Customer Coin Transferee #376     [Address on File]    5/24/2023 Bitcoin                              0.01805785 Customer Transfer
 Confidential Customer Coin Transferee #377     [Address on File]    5/30/2023 Bitcoin                              0.07459466 Customer Transfer

 Confidential Customer Coin Transferee #378     [Address on File]    5/22/2023 USD Coin                                  988.7201 Customer Transfer

 Confidential Customer Coin Transferee #378     [Address on File]     6/8/2023 Tether USD                                     988 Customer Transfer
 Confidential Customer Coin Transferee #379     [Address on File]    6/20/2023 Bitcoin                                 0.00035859 Customer Transfer
 Confidential Customer Coin Transferee #380     [Address on File]    5/23/2023 Bitcoin                                        0.04 Customer Transfer
 Confidential Customer Coin Transferee #381     [Address on File]    5/23/2023 Bitcoin                                  0.1588531 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #381     [Address on File]    5/20/2023 Bitcoin                              0.09261106 Customer Transfer
 Confidential Customer Coin Transferee #381     [Address on File]    5/16/2023 Bitcoin                              0.03753231 Customer Transfer
 Confidential Customer Coin Transferee #382     [Address on File]    6/20/2023 Bitcoin                              0.00011691 Customer Transfer
 Confidential Customer Coin Transferee #383     [Address on File]    6/19/2023 Bitcoin                              0.00008253 Customer Transfer
 Confidential Customer Coin Transferee #384     [Address on File]    6/19/2023 Bitcoin                              0.00281831 Customer Transfer
 Confidential Customer Coin Transferee #385     [Address on File]    6/12/2023 Bitcoin                              0.00170175 Customer Transfer
 Confidential Customer Coin Transferee #385     [Address on File]    6/14/2023 Bitcoin                              0.00098686 Customer Transfer
 Confidential Customer Coin Transferee #386     [Address on File]    5/22/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #386     [Address on File]    5/25/2023 Bitcoin                              0.03766775 Customer Transfer
 Confidential Customer Coin Transferee #387     [Address on File]    6/19/2023 Bitcoin                              0.00036165 Customer Transfer
 Confidential Customer Coin Transferee #388     [Address on File]    5/17/2023 Bitcoin                              0.10136157 Customer Transfer

 Confidential Customer Coin Transferee #389     [Address on File]    6/13/2023 USDC Avalanche)                         491.364317 Customer Transfer

 Confidential Customer Coin Transferee #389     [Address on File]    6/16/2023 USDC Avalanche)                         293.821008 Customer Transfer

 Confidential Customer Coin Transferee #389     [Address on File]    6/19/2023 USDC Avalanche)                         192.783813 Customer Transfer
 Confidential Customer Coin Transferee #390     [Address on File]    5/16/2023 Bitcoin                                  0.0104768 Customer Transfer
 Confidential Customer Coin Transferee #390     [Address on File]    5/16/2023 Bitcoin                                 0.00200301 Customer Transfer
 Confidential Customer Coin Transferee #390     [Address on File]    5/26/2023 Bitcoin                                 0.00184456 Customer Transfer
 Confidential Customer Coin Transferee #391     [Address on File]    6/20/2023 Bitcoin                                 0.00155446 Customer Transfer
 Confidential Customer Coin Transferee #392     [Address on File]    5/23/2023 Bitcoin                                 0.08008528 Customer Transfer
 Confidential Customer Coin Transferee #393     [Address on File]    5/22/2023 Bitcoin                                 0.03536219 Customer Transfer
 Confidential Customer Coin Transferee #394     [Address on File]     6/1/2023 Bitcoin                                 0.00181401 Customer Transfer
 Confidential Customer Coin Transferee #395     [Address on File]    6/18/2023 USDC Avalanche)                          47.901923 Customer Transfer
 Confidential Customer Coin Transferee #395     [Address on File]    6/16/2023 USDC Avalanche)                            38.25142 Customer Transfer
 Confidential Customer Coin Transferee #396     [Address on File]    5/31/2023 Bitcoin                                 0.02524966 Customer Transfer
 Confidential Customer Coin Transferee #396     [Address on File]    5/18/2023 Bitcoin                                 0.01169874 Customer Transfer
 Confidential Customer Coin Transferee #397     [Address on File]    6/19/2023 Bitcoin                                 0.00059701 Customer Transfer
 Confidential Customer Coin Transferee #398     [Address on File]    5/18/2023 Bitcoin                                 0.02112086 Customer Transfer
 Confidential Customer Coin Transferee #399     [Address on File]    5/27/2023 Bitcoin                                 0.00559315 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/24/2023 Bitcoin                                 0.02232432 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/18/2023 Bitcoin                                 0.01576601 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/25/2023 Bitcoin                                 0.01555435 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/26/2023 Bitcoin                                 0.01504111 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/26/2023 Bitcoin                                 0.01280357 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/24/2023 Bitcoin                              0.01101232 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/23/2023 Bitcoin                              0.00878623 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/28/2023 Bitcoin                              0.00758695 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/18/2023 Bitcoin                              0.00607702 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/27/2023 Bitcoin                               0.0037231 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/20/2023 Bitcoin                              0.00285023 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/17/2023 Bitcoin                              0.00146945 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/19/2023 Bitcoin                              0.00107344 Customer Transfer
 Confidential Customer Coin Transferee #400     [Address on File]    5/20/2023 Bitcoin                              0.00090212 Customer Transfer
 Confidential Customer Coin Transferee #401     [Address on File]    5/28/2023 Bitcoin                                 0.001769 Customer Transfer
 Confidential Customer Coin Transferee #402     [Address on File]    5/27/2023 Bitcoin                              0.02229651 Customer Transfer
 Confidential Customer Coin Transferee #402     [Address on File]    5/24/2023 Bitcoin                               0.0113782 Customer Transfer
 Confidential Customer Coin Transferee #403     [Address on File]    5/27/2023 Bitcoin                              0.00371616 Customer Transfer
 Confidential Customer Coin Transferee #404     [Address on File]    5/18/2023 Bitcoin                              0.02139646 Customer Transfer
 Confidential Customer Coin Transferee #404     [Address on File]    5/26/2023 Bitcoin                              0.01851085 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/22/2023 Bitcoin                              0.00508738 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/24/2023 Bitcoin                              0.00483195 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/23/2023 Bitcoin                              0.00465128 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/28/2023 Bitcoin                              0.00342882 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/28/2023 Bitcoin                              0.00317891 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/24/2023 Bitcoin                              0.00283983 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/17/2023 Bitcoin                              0.00222297 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/25/2023 Bitcoin                              0.00219226 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/29/2023 Bitcoin                              0.00208089 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/16/2023 Bitcoin                              0.00184165 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/16/2023 Bitcoin                              0.00184125 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/16/2023 Bitcoin                              0.00183665 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/16/2023 Bitcoin                              0.00183378 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/24/2023 Bitcoin                              0.00182599 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/23/2023 Bitcoin                              0.00178537 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/18/2023 Bitcoin                              0.00176729 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/28/2023 Bitcoin                              0.00147321 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/20/2023 Bitcoin                              0.00144279 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/24/2023 Bitcoin                              0.00142479 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/21/2023 Bitcoin                              0.00140878 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/27/2023 Bitcoin                              0.00127601 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/17/2023 Bitcoin                               0.0011108 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/20/2023 Bitcoin                              0.00094344 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/17/2023 Bitcoin                              0.00092063 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/16/2023 Bitcoin                              0.00091836 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/27/2023 Bitcoin                              0.00085551 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/26/2023 Bitcoin                              0.00083552 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/20/2023 Bitcoin                               0.0006765 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/19/2023 Bitcoin                              0.00052895 Customer Transfer
 Confidential Customer Coin Transferee #405     [Address on File]    5/25/2023 Bitcoin                              0.00027669 Customer Transfer
 Confidential Customer Coin Transferee #406     [Address on File]    5/19/2023 Bitcoin                              0.03574026 Customer Transfer
 Confidential Customer Coin Transferee #407     [Address on File]    5/18/2023 Bitcoin                                   0.0035 Customer Transfer
 Confidential Customer Coin Transferee #407     [Address on File]    5/18/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #408     [Address on File]    5/26/2023 Bitcoin                              0.00057735 Customer Transfer
 Confidential Customer Coin Transferee #408     [Address on File]    5/30/2023 Bitcoin                              0.00051567 Customer Transfer
 Confidential Customer Coin Transferee #409     [Address on File]    5/18/2023 Bitcoin                              0.03276575 Customer Transfer
 Confidential Customer Coin Transferee #410     [Address on File]    5/26/2023 Bitcoin                              0.00798845 Customer Transfer
 Confidential Customer Coin Transferee #411     [Address on File]    5/21/2023 Bitcoin                              0.00370759 Customer Transfer
 Confidential Customer Coin Transferee #412     [Address on File]    5/30/2023 Bitcoin                              0.02372961 Customer Transfer
 Confidential Customer Coin Transferee #413     [Address on File]    5/24/2023 Bitcoin                              0.02323478 Customer Transfer
 Confidential Customer Coin Transferee #414     [Address on File]    5/24/2023 Bitcoin                              0.11556123 Customer Transfer
 Confidential Customer Coin Transferee #415     [Address on File]    5/20/2023 Bitcoin                              0.01822681 Customer Transfer
 Confidential Customer Coin Transferee #415     [Address on File]    5/27/2023 Bitcoin                              0.01115877 Customer Transfer
 Confidential Customer Coin Transferee #416     [Address on File]    5/26/2023 Bitcoin                              0.00058881 Customer Transfer
 Confidential Customer Coin Transferee #417     [Address on File]    5/20/2023 Bitcoin                              0.00023868 Customer Transfer
 Confidential Customer Coin Transferee #417     [Address on File]    5/20/2023 Bitcoin                              0.00018457 Customer Transfer
 Confidential Customer Coin Transferee #418     [Address on File]    5/24/2023 Bitcoin                              0.04192866 Customer Transfer
 Confidential Customer Coin Transferee #419     [Address on File]    5/16/2023 Bitcoin                              0.01038386 Customer Transfer
 Confidential Customer Coin Transferee #419     [Address on File]    5/23/2023 Bitcoin                              0.01005934 Customer Transfer
 Confidential Customer Coin Transferee #420     [Address on File]    6/19/2023 Bitcoin                              0.00044166 Customer Transfer
 Confidential Customer Coin Transferee #421     [Address on File]    5/19/2023 Bitcoin                              0.01209046 Customer Transfer
 Confidential Customer Coin Transferee #422     [Address on File]    5/25/2023 Bitcoin                              0.00185662 Customer Transfer
 Confidential Customer Coin Transferee #422     [Address on File]    5/17/2023 Bitcoin                              0.00172629 Customer Transfer
 Confidential Customer Coin Transferee #423     [Address on File]     6/2/2023 Bitcoin                              0.00331199 Customer Transfer
 Confidential Customer Coin Transferee #423     [Address on File]     6/8/2023 Bitcoin                              0.00258777 Customer Transfer
 Confidential Customer Coin Transferee #423     [Address on File]    5/25/2023 Bitcoin                               0.0024743 Customer Transfer
 Confidential Customer Coin Transferee #424     [Address on File]    5/31/2023 Bitcoin                              0.00371724 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #424     [Address on File]    5/22/2023 Bitcoin                              0.00361228 Customer Transfer
 Confidential Customer Coin Transferee #424     [Address on File]    5/22/2023 Bitcoin                              0.00345008 Customer Transfer
 Confidential Customer Coin Transferee #424     [Address on File]    5/22/2023 Bitcoin                              0.00340894 Customer Transfer
 Confidential Customer Coin Transferee #424     [Address on File]    5/22/2023 Bitcoin                              0.00329105 Customer Transfer
 Confidential Customer Coin Transferee #425     [Address on File]     6/4/2023 USDC Avalanche)                      483.828085 Customer Transfer
 Confidential Customer Coin Transferee #426     [Address on File]    6/19/2023 Bitcoin                               0.0004108 Customer Transfer
 Confidential Customer Coin Transferee #427     [Address on File]    6/20/2023 Bitcoin                              0.00597749 Customer Transfer
 Confidential Customer Coin Transferee #428     [Address on File]    6/19/2023 Bitcoin                              0.00223646 Customer Transfer
 Confidential Customer Coin Transferee #429     [Address on File]    6/20/2023 Bitcoin                               0.0029815 Customer Transfer
 Confidential Customer Coin Transferee #430     [Address on File]    5/17/2023 Bitcoin                              0.02433198 Customer Transfer
 Confidential Customer Coin Transferee #431     [Address on File]    5/20/2023 Bitcoin                              0.02320376 Customer Transfer
 Confidential Customer Coin Transferee #432     [Address on File]    5/22/2023 Bitcoin                              0.00369208 Customer Transfer
 Confidential Customer Coin Transferee #433     [Address on File]     6/5/2023 USD Coin                             15.1657339 Customer Transfer
 Confidential Customer Coin Transferee #433     [Address on File]    6/20/2023 USD Coin                                  9.0357 Customer Transfer
 Confidential Customer Coin Transferee #434     [Address on File]    6/20/2023 Bitcoin                              0.00571946 Customer Transfer
 Confidential Customer Coin Transferee #435     [Address on File]    6/19/2023 Bitcoin                              0.00005809 Customer Transfer
 Confidential Customer Coin Transferee #436     [Address on File]    5/18/2023 Bitcoin                              0.05955826 Customer Transfer
 Confidential Customer Coin Transferee #437     [Address on File]     6/9/2023 Bitcoin                              0.00463292 Customer Transfer
 Confidential Customer Coin Transferee #437     [Address on File]    6/19/2023 Bitcoin                              0.00030834 Customer Transfer
 Confidential Customer Coin Transferee #438     [Address on File]    6/19/2023 Bitcoin                              0.00108534 Customer Transfer
 Confidential Customer Coin Transferee #439     [Address on File]    6/20/2023 Bitcoin                              0.00580006 Customer Transfer
 Confidential Customer Coin Transferee #440     [Address on File]     6/2/2023 Bitcoin                              0.00356054 Customer Transfer
 Confidential Customer Coin Transferee #440     [Address on File]    6/19/2023 Bitcoin                              0.00149932 Customer Transfer
 Confidential Customer Coin Transferee #441     [Address on File]    5/26/2023 Bitcoin                              0.00128877 Customer Transfer
 Confidential Customer Coin Transferee #441     [Address on File]    5/19/2023 Bitcoin                              0.00126773 Customer Transfer
 Confidential Customer Coin Transferee #442     [Address on File]    6/20/2023 Bitcoin                              0.00058861 Customer Transfer
 Confidential Customer Coin Transferee #443     [Address on File]    5/16/2023 Bitcoin                               0.0005078 Customer Transfer
 Confidential Customer Coin Transferee #444     [Address on File]    6/20/2023 Bitcoin                              0.00160662 Customer Transfer
 Confidential Customer Coin Transferee #445     [Address on File]    6/19/2023 Bitcoin                              0.00661216 Customer Transfer
 Confidential Customer Coin Transferee #446     [Address on File]    6/20/2023 Bitcoin                              0.00191653 Customer Transfer
 Confidential Customer Coin Transferee #447     [Address on File]    6/19/2023 Bitcoin                              0.00155351 Customer Transfer
 Confidential Customer Coin Transferee #448     [Address on File]    6/20/2023 Bitcoin                              0.00290037 Customer Transfer
 Confidential Customer Coin Transferee #449     [Address on File]    6/19/2023 Bitcoin                               0.0001022 Customer Transfer
 Confidential Customer Coin Transferee #450     [Address on File]     6/9/2023 Bitcoin                              0.00453399 Customer Transfer
 Confidential Customer Coin Transferee #451     [Address on File]    5/16/2023 Bitcoin                              0.05901957 Customer Transfer
 Confidential Customer Coin Transferee #452     [Address on File]    5/16/2023 Bitcoin                              0.00940472 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #453     [Address on File]    5/16/2023 Bitcoin                              0.02122982 Customer Transfer
 Confidential Customer Coin Transferee #453     [Address on File]    5/18/2023 Bitcoin                                     0.002 Customer Transfer
 Confidential Customer Coin Transferee #454     [Address on File]    5/26/2023 Bitcoin                              0.00938247 Customer Transfer
 Confidential Customer Coin Transferee #455     [Address on File]    5/24/2023 Bitcoin                              0.00829954 Customer Transfer
 Confidential Customer Coin Transferee #456     [Address on File]    5/19/2023 Bitcoin                              0.00362182 Customer Transfer
 Confidential Customer Coin Transferee #457     [Address on File]    5/18/2023 Bitcoin                              0.10686654 Customer Transfer
 Confidential Customer Coin Transferee #458     [Address on File]    6/20/2023 Bitcoin                              0.00011265 Customer Transfer
 Confidential Customer Coin Transferee #459     [Address on File]    5/19/2023 Bitcoin                              0.00742129 Customer Transfer
 Confidential Customer Coin Transferee #459     [Address on File]    5/25/2023 Bitcoin                              0.00377244 Customer Transfer
 Confidential Customer Coin Transferee #459     [Address on File]    5/22/2023 Bitcoin                              0.00374465 Customer Transfer
 Confidential Customer Coin Transferee #460     [Address on File]    5/24/2023 Bitcoin                              0.16162809 Customer Transfer
 Confidential Customer Coin Transferee #461     [Address on File]    5/30/2023 Bitcoin                              0.00896726 Customer Transfer
 Confidential Customer Coin Transferee #461     [Address on File]    5/27/2023 Bitcoin                              0.00741445 Customer Transfer
 Confidential Customer Coin Transferee #461     [Address on File]    5/28/2023 Bitcoin                              0.00731319 Customer Transfer
 Confidential Customer Coin Transferee #461     [Address on File]    5/24/2023 Bitcoin                              0.00409944 Customer Transfer
 Confidential Customer Coin Transferee #461     [Address on File]    5/24/2023 Bitcoin                              0.00372223 Customer Transfer
 Confidential Customer Coin Transferee #462     [Address on File]    5/24/2023 Bitcoin                              0.01133513 Customer Transfer
 Confidential Customer Coin Transferee #462     [Address on File]    5/24/2023 Bitcoin                              0.00744299 Customer Transfer
 Confidential Customer Coin Transferee #462     [Address on File]    5/31/2023 Bitcoin                              0.00733985 Customer Transfer
 Confidential Customer Coin Transferee #462     [Address on File]    5/20/2023 Bitcoin                              0.00221614 Customer Transfer
 Confidential Customer Coin Transferee #462     [Address on File]    5/20/2023 Bitcoin                              0.00110746 Customer Transfer
 Confidential Customer Coin Transferee #463     [Address on File]    5/17/2023 Bitcoin                              0.00591763 Customer Transfer
 Confidential Customer Coin Transferee #464     [Address on File]    6/20/2023 Bitcoin                              0.00039521 Customer Transfer
 Confidential Customer Coin Transferee #465     [Address on File]    5/20/2023 Bitcoin                              0.00813508 Customer Transfer
 Confidential Customer Coin Transferee #465     [Address on File]    5/19/2023 Bitcoin                              0.00296902 Customer Transfer
 Confidential Customer Coin Transferee #466     [Address on File]    5/22/2023 Bitcoin                              0.01485617 Customer Transfer
 Confidential Customer Coin Transferee #466     [Address on File]    5/30/2023 Bitcoin                              0.00597881 Customer Transfer
 Confidential Customer Coin Transferee #466     [Address on File]    5/25/2023 Bitcoin                              0.00550431 Customer Transfer
 Confidential Customer Coin Transferee #466     [Address on File]    5/30/2023 Bitcoin                              0.00517187 Customer Transfer
 Confidential Customer Coin Transferee #466     [Address on File]    5/24/2023 Bitcoin                              0.00366663 Customer Transfer
 Confidential Customer Coin Transferee #466     [Address on File]    5/31/2023 Bitcoin                              0.00201234 Customer Transfer
 Confidential Customer Coin Transferee #467     [Address on File]    6/19/2023 Bitcoin                              0.00013652 Customer Transfer
 Confidential Customer Coin Transferee #468     [Address on File]    5/22/2023 Bitcoin                              0.14867516 Customer Transfer
 Confidential Customer Coin Transferee #468     [Address on File]    5/17/2023 Bitcoin                                 0.020271 Customer Transfer
 Confidential Customer Coin Transferee #468     [Address on File]    5/20/2023 Bitcoin                              0.00750428 Customer Transfer
 Confidential Customer Coin Transferee #469     [Address on File]    5/21/2023 Bitcoin                               0.0005704 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #470     [Address on File]    5/21/2023 Bitcoin                                     0.005 Customer Transfer
 Confidential Customer Coin Transferee #471     [Address on File]    5/16/2023 Bitcoin                              0.01102423 Customer Transfer
 Confidential Customer Coin Transferee #471     [Address on File]    5/18/2023 Bitcoin                               0.0066113 Customer Transfer
 Confidential Customer Coin Transferee #471     [Address on File]    5/20/2023 Bitcoin                               0.0051446 Customer Transfer
 Confidential Customer Coin Transferee #471     [Address on File]    5/19/2023 Bitcoin                              0.00333015 Customer Transfer
 Confidential Customer Coin Transferee #471     [Address on File]    5/17/2023 Bitcoin                              0.00218548 Customer Transfer
 Confidential Customer Coin Transferee #472     [Address on File]    5/29/2023 Bitcoin                                      0.04 Customer Transfer
 Confidential Customer Coin Transferee #473     [Address on File]    5/26/2023 Bitcoin                              0.01174275 Customer Transfer
 Confidential Customer Coin Transferee #474     [Address on File]    6/20/2023 Bitcoin                               0.0029824 Customer Transfer
 Confidential Customer Coin Transferee #475     [Address on File]    5/23/2023 Bitcoin                              0.00036477 Customer Transfer
 Confidential Customer Coin Transferee #476     [Address on File]    5/16/2023 Bitcoin                              0.10672401 Customer Transfer
 Confidential Customer Coin Transferee #477     [Address on File]    5/27/2023 Bitcoin                              0.00148593 Customer Transfer
 Confidential Customer Coin Transferee #477     [Address on File]    5/18/2023 Bitcoin                               0.0007469 Customer Transfer
 Confidential Customer Coin Transferee #477     [Address on File]    5/25/2023 Bitcoin                              0.00073849 Customer Transfer
 Confidential Customer Coin Transferee #477     [Address on File]    5/19/2023 Bitcoin                              0.00036965 Customer Transfer
 Confidential Customer Coin Transferee #478     [Address on File]    5/17/2023 Bitcoin                              0.00021974 Customer Transfer
 Confidential Customer Coin Transferee #479     [Address on File]    5/19/2023 Bitcoin                              0.00852213 Customer Transfer
 Confidential Customer Coin Transferee #479     [Address on File]    5/27/2023 Bitcoin                               0.0082129 Customer Transfer
 Confidential Customer Coin Transferee #479     [Address on File]    5/27/2023 Bitcoin                               0.0010602 Customer Transfer
 Confidential Customer Coin Transferee #479     [Address on File]    5/19/2023 Bitcoin                              0.00094299 Customer Transfer
 Confidential Customer Coin Transferee #479     [Address on File]    5/16/2023 Bitcoin                              0.00077871 Customer Transfer
 Confidential Customer Coin Transferee #479     [Address on File]    5/20/2023 Bitcoin                              0.00077777 Customer Transfer
 Confidential Customer Coin Transferee #479     [Address on File]    5/27/2023 Bitcoin                              0.00075856 Customer Transfer
 Confidential Customer Coin Transferee #479     [Address on File]    5/21/2023 Bitcoin                              0.00075293 Customer Transfer
 Confidential Customer Coin Transferee #479     [Address on File]    5/27/2023 Bitcoin                                  0.00068 Customer Transfer
 Confidential Customer Coin Transferee #479     [Address on File]    5/28/2023 Bitcoin                              0.00060239 Customer Transfer
 Confidential Customer Coin Transferee #479     [Address on File]    5/22/2023 Bitcoin                              0.00025453 Customer Transfer
 Confidential Customer Coin Transferee #480     [Address on File]    5/25/2023 Bitcoin                                   0.0061 Customer Transfer
 Confidential Customer Coin Transferee #480     [Address on File]    5/24/2023 Bitcoin                                  0.00391 Customer Transfer
 Confidential Customer Coin Transferee #481     [Address on File]    5/25/2023 Bitcoin                              0.03770908 Customer Transfer
 Confidential Customer Coin Transferee #481     [Address on File]    5/22/2023 Bitcoin                              0.03699001 Customer Transfer
 Confidential Customer Coin Transferee #482     [Address on File]    5/25/2023 Bitcoin                              0.00380099 Customer Transfer
 Confidential Customer Coin Transferee #482     [Address on File]    5/25/2023 Bitcoin                              0.00194428 Customer Transfer
 Confidential Customer Coin Transferee #483     [Address on File]    5/30/2023 Bitcoin                              0.05735868 Customer Transfer
 Confidential Customer Coin Transferee #483     [Address on File]    5/31/2023 Bitcoin                              0.01319094 Customer Transfer
 Confidential Customer Coin Transferee #483     [Address on File]    5/31/2023 Bitcoin                              0.01286249 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #483     [Address on File]    5/30/2023 Bitcoin                              0.01075784 Customer Transfer
 Confidential Customer Coin Transferee #483     [Address on File]    5/30/2023 Bitcoin                              0.01075147 Customer Transfer
 Confidential Customer Coin Transferee #483     [Address on File]    5/30/2023 Bitcoin                              0.01073075 Customer Transfer
 Confidential Customer Coin Transferee #483     [Address on File]    5/17/2023 Bitcoin                              0.00742164 Customer Transfer
 Confidential Customer Coin Transferee #484     [Address on File]    5/20/2023 Bitcoin                                 0.008767 Customer Transfer
 Confidential Customer Coin Transferee #484     [Address on File]    5/29/2023 Bitcoin                              0.00359008 Customer Transfer
 Confidential Customer Coin Transferee #484     [Address on File]    5/20/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #484     [Address on File]    5/29/2023 Bitcoin                                  0.00005 Customer Transfer
 Confidential Customer Coin Transferee #485     [Address on File]    6/19/2023 Bitcoin                              0.00035458 Customer Transfer
 Confidential Customer Coin Transferee #486     [Address on File]    5/17/2023 Bitcoin                              0.01113365 Customer Transfer
 Confidential Customer Coin Transferee #487     [Address on File]    5/26/2023 Bitcoin                              0.00037211 Customer Transfer
 Confidential Customer Coin Transferee #488     [Address on File]    5/17/2023 Bitcoin                              0.01394723 Customer Transfer
 Confidential Customer Coin Transferee #489     [Address on File]    6/19/2023 Bitcoin                              0.00080822 Customer Transfer
 Confidential Customer Coin Transferee #490     [Address on File]    5/21/2023 Bitcoin                              0.08395194 Customer Transfer
 Confidential Customer Coin Transferee #491     [Address on File]    6/20/2023 Bitcoin                              0.00011843 Customer Transfer
 Confidential Customer Coin Transferee #492     [Address on File]    5/26/2023 Bitcoin                              0.02166268 Customer Transfer
 Confidential Customer Coin Transferee #493     [Address on File]    6/20/2023 Bitcoin                              0.00055792 Customer Transfer
 Confidential Customer Coin Transferee #494     [Address on File]     6/7/2023 Bitcoin                              0.00411499 Customer Transfer
 Confidential Customer Coin Transferee #494     [Address on File]    5/22/2023 Bitcoin                              0.00184465 Customer Transfer
 Confidential Customer Coin Transferee #495     [Address on File]    6/20/2023 Bitcoin                              0.00005821 Customer Transfer
 Confidential Customer Coin Transferee #496     [Address on File]    5/30/2023 Bitcoin                              0.00752775 Customer Transfer
 Confidential Customer Coin Transferee #497     [Address on File]    6/19/2023 Bitcoin                              0.00005819 Customer Transfer
 Confidential Customer Coin Transferee #498     [Address on File]    6/13/2023 Bitcoin                               0.0150294 Customer Transfer
 Confidential Customer Coin Transferee #499     [Address on File]    5/23/2023 Bitcoin                               0.0105078 Customer Transfer
 Confidential Customer Coin Transferee #500     [Address on File]    6/19/2023 Bitcoin                              0.00360374 Customer Transfer
 Confidential Customer Coin Transferee #501     [Address on File]    5/23/2023 Bitcoin                              0.10182448 Customer Transfer
 Confidential Customer Coin Transferee #502     [Address on File]    5/23/2023 Bitcoin                                     0.017 Customer Transfer
 Confidential Customer Coin Transferee #502     [Address on File]    5/23/2023 Bitcoin                                     0.012 Customer Transfer
 Confidential Customer Coin Transferee #503     [Address on File]    5/16/2023 Bitcoin                                        0.9 Customer Transfer
 Confidential Customer Coin Transferee #503     [Address on File]    5/16/2023 Bitcoin                                        0.9 Customer Transfer
 Confidential Customer Coin Transferee #503     [Address on File]    5/16/2023 Bitcoin                                        0.9 Customer Transfer
 Confidential Customer Coin Transferee #503     [Address on File]    5/16/2023 Bitcoin                                        0.3 Customer Transfer
 Confidential Customer Coin Transferee #503     [Address on File]    5/26/2023 Bitcoin                              0.27137748 Customer Transfer
 Confidential Customer Coin Transferee #503     [Address on File]    5/18/2023 Bitcoin                               0.1308503 Customer Transfer
 Confidential Customer Coin Transferee #503     [Address on File]    5/16/2023 Bitcoin                                       0.05 Customer Transfer
 Confidential Customer Coin Transferee #503     [Address on File]    5/16/2023 Bitcoin                                     0.005 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #504     [Address on File]    6/20/2023 Bitcoin                              0.00063944 Customer Transfer
 Confidential Customer Coin Transferee #505     [Address on File]    6/19/2023 Bitcoin                              0.00712601 Customer Transfer
 Confidential Customer Coin Transferee #506     [Address on File]     6/7/2023 Bitcoin                              0.02510919 Customer Transfer
 Confidential Customer Coin Transferee #506     [Address on File]    6/15/2023 Bitcoin                              0.00210401 Customer Transfer
 Confidential Customer Coin Transferee #506     [Address on File]    6/21/2023 Bitcoin                              0.00206414 Customer Transfer
 Confidential Customer Coin Transferee #507     [Address on File]    5/22/2023 Bitcoin                              0.18545453 Customer Transfer
 Confidential Customer Coin Transferee #508     [Address on File]    5/22/2023 Bitcoin                              0.00056934 Customer Transfer
 Confidential Customer Coin Transferee #508     [Address on File]    5/29/2023 Bitcoin                              0.00055805 Customer Transfer
 Confidential Customer Coin Transferee #509     [Address on File]    6/19/2023 Bitcoin                              0.00238319 Customer Transfer
 Confidential Customer Coin Transferee #510     [Address on File]    5/24/2023 Bitcoin                               0.0009362 Customer Transfer

 Confidential Customer Coin Transferee #511     [Address on File]    5/24/2023 Bitcoin                                 0.00954084 Customer Transfer

 Confidential Customer Coin Transferee #511     [Address on File]    5/22/2023 Bitcoin                                       0.0005 Customer Transfer
 Confidential Customer Coin Transferee #512     [Address on File]     6/2/2023 Bitcoin                                 0.01031541 Customer Transfer
 Confidential Customer Coin Transferee #512     [Address on File]    5/20/2023 Bitcoin                                 0.00858614 Customer Transfer
 Confidential Customer Coin Transferee #513     [Address on File]    6/20/2023 Bitcoin                                 0.00057771 Customer Transfer
 Confidential Customer Coin Transferee #514     [Address on File]     6/7/2023 Bitcoin                                 0.00198925 Customer Transfer
 Confidential Customer Coin Transferee #515     [Address on File]    6/12/2023 Bitcoin                                 0.01619406 Customer Transfer
 Confidential Customer Coin Transferee #516     [Address on File]    5/30/2023 Bitcoin                                 0.01569889 Customer Transfer
 Confidential Customer Coin Transferee #517     [Address on File]    6/20/2023 Bitcoin                                 0.00534378 Customer Transfer
 Confidential Customer Coin Transferee #518     [Address on File]    6/20/2023 Bitcoin                                    0.004423 Customer Transfer
 Confidential Customer Coin Transferee #519     [Address on File]    6/20/2023 Bitcoin                                 0.00038427 Customer Transfer

 Confidential Customer Coin Transferee #520     [Address on File]    6/21/2023 Bitcoin                                 0.00652781 Customer Transfer
 Confidential Customer Coin Transferee #521     [Address on File]    6/19/2023 Bitcoin                                 0.00103041 Customer Transfer
 Confidential Customer Coin Transferee #522     [Address on File]    5/28/2023 Bitcoin                                 0.03860463 Customer Transfer
 Confidential Customer Coin Transferee #523     [Address on File]    6/20/2023 Bitcoin                                 0.00006023 Customer Transfer
 Confidential Customer Coin Transferee #524     [Address on File]    6/19/2023 Bitcoin                                 0.00167942 Customer Transfer
 Confidential Customer Coin Transferee #525     [Address on File]    5/20/2023 Bitcoin                                 0.00036059 Customer Transfer
 Confidential Customer Coin Transferee #526     [Address on File]    5/23/2023 Bitcoin                                 0.02642211 Customer Transfer
 Confidential Customer Coin Transferee #527     [Address on File]    5/22/2023 Bitcoin                                       0.019 Customer Transfer
 Confidential Customer Coin Transferee #528     [Address on File]    5/22/2023 Bitcoin                                  0.0084344 Customer Transfer
 Confidential Customer Coin Transferee #529     [Address on File]    5/25/2023 Bitcoin                                 0.01046675 Customer Transfer
 Confidential Customer Coin Transferee #529     [Address on File]    6/16/2023 Bitcoin                                 0.00623066 Customer Transfer
 Confidential Customer Coin Transferee #530     [Address on File]    5/21/2023 Bitcoin                                 0.01050641 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #531     [Address on File]    6/20/2023 Bitcoin                              0.00010489 Customer Transfer
 Confidential Customer Coin Transferee #532     [Address on File]    6/19/2023 Bitcoin                              0.00005889 Customer Transfer
 Confidential Customer Coin Transferee #533     [Address on File]    6/20/2023 Bitcoin                              0.00357818 Customer Transfer
 Confidential Customer Coin Transferee #534     [Address on File]    5/23/2023 Bitcoin                              0.02662079 Customer Transfer
 Confidential Customer Coin Transferee #534     [Address on File]    5/23/2023 Bitcoin                              0.00494966 Customer Transfer
 Confidential Customer Coin Transferee #534     [Address on File]    5/23/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #534     [Address on File]    5/23/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #535     [Address on File]    5/26/2023 Bitcoin                              0.00073993 Customer Transfer
 Confidential Customer Coin Transferee #535     [Address on File]    5/19/2023 Bitcoin                              0.00072126 Customer Transfer
 Confidential Customer Coin Transferee #536     [Address on File]    5/16/2023 Bitcoin                              0.02562396 Customer Transfer
 Confidential Customer Coin Transferee #537     [Address on File]    5/24/2023 Bitcoin                              0.00566638 Customer Transfer
 Confidential Customer Coin Transferee #538     [Address on File]    6/20/2023 Bitcoin                              0.00005832 Customer Transfer
 Confidential Customer Coin Transferee #539     [Address on File]    6/20/2023 Bitcoin                              0.00251471 Customer Transfer
 Confidential Customer Coin Transferee #540     [Address on File]    5/24/2023 Bitcoin                              0.00364643 Customer Transfer
 Confidential Customer Coin Transferee #540     [Address on File]    5/24/2023 Bitcoin                              0.00333422 Customer Transfer
 Confidential Customer Coin Transferee #540     [Address on File]    5/29/2023 Bitcoin                              0.00057744 Customer Transfer
 Confidential Customer Coin Transferee #540     [Address on File]    5/22/2023 Bitcoin                              0.00036917 Customer Transfer
 Confidential Customer Coin Transferee #540     [Address on File]     6/1/2023 Bitcoin                              0.00033446 Customer Transfer
 Confidential Customer Coin Transferee #541     [Address on File]    5/22/2023 Bitcoin                              0.01717495 Customer Transfer
 Confidential Customer Coin Transferee #542     [Address on File]    5/22/2023 Bitcoin                               0.0106323 Customer Transfer
 Confidential Customer Coin Transferee #543     [Address on File]    5/17/2023 Bitcoin                              0.01644272 Customer Transfer
 Confidential Customer Coin Transferee #544     [Address on File]    5/16/2023 Bitcoin                              0.00465299 Customer Transfer
 Confidential Customer Coin Transferee #544     [Address on File]    5/26/2023 Bitcoin                              0.00375486 Customer Transfer
 Confidential Customer Coin Transferee #545     [Address on File]    5/19/2023 Bitcoin                              0.02600711 Customer Transfer
 Confidential Customer Coin Transferee #546     [Address on File]    5/17/2023 Bitcoin                              0.20664224 Customer Transfer
 Confidential Customer Coin Transferee #546     [Address on File]    5/22/2023 Bitcoin                              0.09738063 Customer Transfer
 Confidential Customer Coin Transferee #546     [Address on File]     6/1/2023 Bitcoin                              0.07284837 Customer Transfer
 Confidential Customer Coin Transferee #546     [Address on File]    5/18/2023 Bitcoin                              0.06123492 Customer Transfer
 Confidential Customer Coin Transferee #546     [Address on File]    5/17/2023 Bitcoin                              0.00550005 Customer Transfer
 Confidential Customer Coin Transferee #547     [Address on File]    6/20/2023 Bitcoin                              0.00255999 Customer Transfer
 Confidential Customer Coin Transferee #548     [Address on File]    6/19/2023 Bitcoin                              0.00035379 Customer Transfer
 Confidential Customer Coin Transferee #549     [Address on File]    5/25/2023 Bitcoin                              0.00034271 Customer Transfer
 Confidential Customer Coin Transferee #549     [Address on File]    5/25/2023 Bitcoin                              0.00003691 Customer Transfer
 Confidential Customer Coin Transferee #550     [Address on File]    6/19/2023 Bitcoin                              0.00038621 Customer Transfer
 Confidential Customer Coin Transferee #551     [Address on File]     6/4/2023 Bitcoin                              0.00244286 Customer Transfer
 Confidential Customer Coin Transferee #552     [Address on File]    5/21/2023 Bitcoin                              0.00037059 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #552     [Address on File]    5/30/2023 Bitcoin                              0.00035754 Customer Transfer
 Confidential Customer Coin Transferee #553     [Address on File]    5/22/2023 Cosmos Hub ATOM)                      66.172563 Customer Transfer
 Confidential Customer Coin Transferee #553     [Address on File]    5/19/2023 Cosmos Hub ATOM)                      46.850427 Customer Transfer
 Confidential Customer Coin Transferee #553     [Address on File]    5/20/2023 Cosmos Hub ATOM)                      46.684683 Customer Transfer
 Confidential Customer Coin Transferee #553     [Address on File]     6/2/2023 Cosmos Hub ATOM)                      46.455817 Customer Transfer
 Confidential Customer Coin Transferee #553     [Address on File]    5/19/2023 Cosmos Hub ATOM)                      37.461723 Customer Transfer
 Confidential Customer Coin Transferee #553     [Address on File]    5/26/2023 Cosmos Hub ATOM)                      18.671122 Customer Transfer
 Confidential Customer Coin Transferee #554     [Address on File]    6/19/2023 Bitcoin                              0.00083096 Customer Transfer
 Confidential Customer Coin Transferee #555     [Address on File]    5/19/2023 Bitcoin                              0.01036194 Customer Transfer
 Confidential Customer Coin Transferee #556     [Address on File]    5/31/2023 Bitcoin                              0.00880319 Customer Transfer
 Confidential Customer Coin Transferee #557     [Address on File]    5/25/2023 Bitcoin                              0.00256528 Customer Transfer
 Confidential Customer Coin Transferee #557     [Address on File]    5/18/2023 Bitcoin                              0.00242178 Customer Transfer
 Confidential Customer Coin Transferee #558     [Address on File]     6/1/2023 Tether USD                               1278.27 Customer Transfer
 Confidential Customer Coin Transferee #558     [Address on File]     6/1/2023 Tether USD                                  1195 Customer Transfer
 Confidential Customer Coin Transferee #559     [Address on File]    5/18/2023 Bitcoin                              0.03932221 Customer Transfer

 Confidential Customer Coin Transferee #560     [Address on File]    6/19/2023 Bitcoin                                 0.00173674 Customer Transfer
 Confidential Customer Coin Transferee #561     [Address on File]    5/29/2023 Bitcoin                                 0.00519763 Customer Transfer
 Confidential Customer Coin Transferee #562     [Address on File]     6/6/2023 Bitcoin                                 0.00767712 Customer Transfer
 Confidential Customer Coin Transferee #563     [Address on File]    5/23/2023 Bitcoin                                 0.03589467 Customer Transfer
 Confidential Customer Coin Transferee #564     [Address on File]    5/22/2023 Bitcoin                                 0.00955205 Customer Transfer
 Confidential Customer Coin Transferee #564     [Address on File]    5/20/2023 Bitcoin                                 0.00867685 Customer Transfer
 Confidential Customer Coin Transferee #565     [Address on File]    6/13/2023 USDC Avalanche)                          38.940529 Customer Transfer
 Confidential Customer Coin Transferee #566     [Address on File]    6/20/2023 Bitcoin                                 0.00117261 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]     6/1/2023 Bitcoin                                 0.01272167 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]    6/12/2023 Bitcoin                                 0.01005376 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]    5/24/2023 Bitcoin                                 0.00901994 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]    5/16/2023 Bitcoin                                 0.00871067 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]     6/6/2023 Bitcoin                                  0.0081842 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]    6/14/2023 Bitcoin                                  0.0043646 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]    6/15/2023 Bitcoin                                 0.00397572 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]    5/18/2023 Bitcoin                                  0.0038764 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]     6/7/2023 Bitcoin                                 0.00384124 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]     6/9/2023 Bitcoin                                 0.00341846 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]    6/16/2023 Bitcoin                                 0.00336077 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]     6/1/2023 Bitcoin                                    0.003314 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #567     [Address on File]    5/22/2023 Bitcoin                              0.00250039 Customer Transfer
 Confidential Customer Coin Transferee #567     [Address on File]    5/26/2023 Bitcoin                              0.00129515 Customer Transfer
 Confidential Customer Coin Transferee #568     [Address on File]    5/25/2023 Bitcoin                              0.01852738 Customer Transfer
 Confidential Customer Coin Transferee #568     [Address on File]    5/23/2023 Bitcoin                               0.0037198 Customer Transfer
 Confidential Customer Coin Transferee #568     [Address on File]    5/16/2023 Bitcoin                              0.00338192 Customer Transfer
 Confidential Customer Coin Transferee #569     [Address on File]    6/15/2023 Tether USD                               5014.91 Customer Transfer
 Confidential Customer Coin Transferee #569     [Address on File]    6/20/2023 Tether USD                            1432.8636 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/25/2023 Bitcoin                              0.00190751 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/24/2023 Bitcoin                              0.00190424 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/25/2023 Bitcoin                              0.00188999 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/24/2023 Bitcoin                              0.00187959 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/22/2023 Bitcoin                              0.00186424 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/22/2023 Bitcoin                              0.00185475 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/20/2023 Bitcoin                              0.00184965 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/20/2023 Bitcoin                              0.00184896 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/18/2023 Bitcoin                              0.00184642 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/16/2023 Bitcoin                              0.00183718 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/17/2023 Bitcoin                              0.00183389 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/17/2023 Bitcoin                              0.00183319 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/28/2023 Bitcoin                              0.00183005 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/31/2023 Bitcoin                              0.00182628 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/23/2023 Bitcoin                              0.00182194 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/23/2023 Bitcoin                              0.00181313 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/29/2023 Bitcoin                              0.00180175 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/30/2023 Bitcoin                              0.00179258 Customer Transfer
 Confidential Customer Coin Transferee #570     [Address on File]    5/31/2023 Bitcoin                              0.00178834 Customer Transfer
 Confidential Customer Coin Transferee #571     [Address on File]    5/25/2023 Bitcoin                              0.00125086 Customer Transfer
 Confidential Customer Coin Transferee #571     [Address on File]    5/18/2023 Bitcoin                              0.00120079 Customer Transfer
 Confidential Customer Coin Transferee #572     [Address on File]    5/22/2023 Bitcoin                              0.00350502 Customer Transfer

 Confidential Customer Coin Transferee #573     [Address on File]    5/25/2023 USDC Avalanche)                          47.486759 Customer Transfer

 Confidential Customer Coin Transferee #573     [Address on File]    5/30/2023 Avalanche CChain)                         3.318431 Customer Transfer
 Confidential Customer Coin Transferee #574     [Address on File]    5/28/2023 Bitcoin                                 0.01015456 Customer Transfer

 Confidential Customer Coin Transferee #575     [Address on File]    5/16/2023 Avalanche CChain)                             0.49 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date             Crypto Currency           Unit Count          or Transfer

 Confidential Customer Coin Transferee #575     [Address on File]    5/16/2023 Solana                                      0.3359 Customer Transfer

 Confidential Customer Coin Transferee #575     [Address on File]    5/16/2023 Bitcoin                                   0.000017 Customer Transfer

 Confidential Customer Coin Transferee #576     [Address on File]    5/16/2023 Cardano                                       6.58 Customer Transfer

 Confidential Customer Coin Transferee #576     [Address on File]    5/16/2023 Litecoin                                    0.5078 Customer Transfer

 Confidential Customer Coin Transferee #576     [Address on File]    5/16/2023 Ether                                       0.0438 Customer Transfer

 Confidential Customer Coin Transferee #576     [Address on File]    5/16/2023 Bitcoin                                   0.018113 Customer Transfer

 Confidential Customer Coin Transferee #577     [Address on File]    5/16/2023 USD Coin                                      1.29 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/26/2023 Bitcoin                                 0.00564053 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/27/2023 Bitcoin                                 0.00558453 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/26/2023 Bitcoin                                 0.00451215 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/26/2023 Bitcoin                                 0.00376445 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/28/2023 Bitcoin                                 0.00365369 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/17/2023 Bitcoin                                 0.00363331 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/19/2023 Bitcoin                                 0.00284726 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/17/2023 Bitcoin                                 0.00275323 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/19/2023 Bitcoin                                  0.0027377 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/23/2023 Bitcoin                                 0.00222356 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/28/2023 Bitcoin                                 0.00201155 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/24/2023 Bitcoin                                 0.00185678 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/20/2023 Bitcoin                                 0.00147922 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/17/2023 Bitcoin                                 0.00128522 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/16/2023 Bitcoin                                 0.00109534 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/22/2023 Bitcoin                                 0.00074598 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/22/2023 Bitcoin                                 0.00070856 Customer Transfer
 Confidential Customer Coin Transferee #578     [Address on File]    5/20/2023 Bitcoin                                 0.00070291 Customer Transfer
 Confidential Customer Coin Transferee #579     [Address on File]    5/19/2023 Bitcoin                                 0.08685157 Customer Transfer
 Confidential Customer Coin Transferee #580     [Address on File]    5/26/2023 Bitcoin                                 0.01288257 Customer Transfer
 Confidential Customer Coin Transferee #580     [Address on File]    5/19/2023 Bitcoin                                 0.01214946 Customer Transfer
 Confidential Customer Coin Transferee #581     [Address on File]    6/20/2023 Bitcoin                                 0.18196247 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #582     [Address on File]    5/19/2023 Bitcoin                              0.01591347 Customer Transfer
 Confidential Customer Coin Transferee #582     [Address on File]    5/19/2023 Bitcoin                              0.01001274 Customer Transfer
 Confidential Customer Coin Transferee #583     [Address on File]    5/19/2023 Bitcoin                              0.00738495 Customer Transfer
 Confidential Customer Coin Transferee #583     [Address on File]    5/22/2023 Bitcoin                              0.00474003 Customer Transfer
 Confidential Customer Coin Transferee #583     [Address on File]    5/22/2023 Bitcoin                               0.0029566 Customer Transfer
 Confidential Customer Coin Transferee #583     [Address on File]    5/24/2023 Bitcoin                              0.00207766 Customer Transfer
 Confidential Customer Coin Transferee #583     [Address on File]    5/23/2023 Bitcoin                              0.00127634 Customer Transfer
 Confidential Customer Coin Transferee #584     [Address on File]    5/16/2023 Bitcoin                                     0.11 Customer Transfer
 Confidential Customer Coin Transferee #584     [Address on File]    5/18/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #585     [Address on File]    6/20/2023 Bitcoin                              0.00058039 Customer Transfer
 Confidential Customer Coin Transferee #586     [Address on File]    5/31/2023 Bitcoin                              0.06831178 Customer Transfer
 Confidential Customer Coin Transferee #587     [Address on File]    5/25/2023 Bitcoin                              0.11057808 Customer Transfer
 Confidential Customer Coin Transferee #588     [Address on File]     6/4/2023 USDC Solana)                         314.731161 Customer Transfer
 Confidential Customer Coin Transferee #588     [Address on File]     6/7/2023 USDC Solana)                         304.077553 Customer Transfer
 Confidential Customer Coin Transferee #589     [Address on File]    6/19/2023 Bitcoin                              0.00046516 Customer Transfer

 Confidential Customer Coin Transferee #590     [Address on File]    6/12/2023 Bitcoin                                 0.03698562 Customer Transfer
 Confidential Customer Coin Transferee #591     [Address on File]    6/20/2023 Bitcoin                                 0.00003273 Customer Transfer
 Confidential Customer Coin Transferee #592     [Address on File]    6/20/2023 Bitcoin                                  0.0259257 Customer Transfer
 Confidential Customer Coin Transferee #593     [Address on File]    5/20/2023 Bitcoin                                 0.04036663 Customer Transfer
 Confidential Customer Coin Transferee #594     [Address on File]    5/24/2023 Bitcoin                                 0.00920923 Customer Transfer
 Confidential Customer Coin Transferee #595     [Address on File]    5/20/2023 Bitcoin                                 0.00180218 Customer Transfer
 Confidential Customer Coin Transferee #596     [Address on File]    6/20/2023 Bitcoin                                 0.00005821 Customer Transfer
 Confidential Customer Coin Transferee #597     [Address on File]    5/22/2023 Bitcoin                                        0.01 Customer Transfer
 Confidential Customer Coin Transferee #598     [Address on File]    5/30/2023 Bitcoin                                 0.00895986 Customer Transfer
 Confidential Customer Coin Transferee #599     [Address on File]    5/29/2023 Bitcoin                                 0.03349746 Customer Transfer
 Confidential Customer Coin Transferee #599     [Address on File]    5/29/2023 Bitcoin                                 0.02063678 Customer Transfer
 Confidential Customer Coin Transferee #599     [Address on File]    5/29/2023 Bitcoin                                 0.00179942 Customer Transfer
 Confidential Customer Coin Transferee #599     [Address on File]    5/29/2023 Bitcoin                                 0.00179942 Customer Transfer
 Confidential Customer Coin Transferee #599     [Address on File]    5/29/2023 Bitcoin                                 0.00179942 Customer Transfer
 Confidential Customer Coin Transferee #599     [Address on File]    5/29/2023 Bitcoin                                 0.00179942 Customer Transfer
 Confidential Customer Coin Transferee #599     [Address on File]    5/29/2023 Bitcoin                                 0.00179942 Customer Transfer
 Confidential Customer Coin Transferee #600     [Address on File]    5/30/2023 Bitcoin                                 0.20653441 Customer Transfer
 Confidential Customer Coin Transferee #601     [Address on File]    6/20/2023 Bitcoin                                 0.00055752 Customer Transfer
 Confidential Customer Coin Transferee #602     [Address on File]    6/20/2023 Bitcoin                                 0.00005998 Customer Transfer
 Confidential Customer Coin Transferee #603     [Address on File]    6/20/2023 Bitcoin                                 0.00006007 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date             Crypto Currency           Unit Count          or Transfer

 Confidential Customer Coin Transferee #604     [Address on File]    6/19/2023 Bitcoin                                 0.00403155 Customer Transfer
 Confidential Customer Coin Transferee #605     [Address on File]    5/24/2023 Bitcoin                                 0.00022834 Customer Transfer
 Confidential Customer Coin Transferee #605     [Address on File]    5/22/2023 Bitcoin                                 0.00022701 Customer Transfer
 Confidential Customer Coin Transferee #606     [Address on File]    6/20/2023 Bitcoin                                 0.00290476 Customer Transfer
 Confidential Customer Coin Transferee #607     [Address on File]    5/17/2023 Bitcoin                                 0.00016334 Customer Transfer
 Confidential Customer Coin Transferee #608     [Address on File]    5/24/2023 Bitcoin                                 0.00758136 Customer Transfer
 Confidential Customer Coin Transferee #609     [Address on File]    6/20/2023 Bitcoin                                  0.0004071 Customer Transfer
 Confidential Customer Coin Transferee #610     [Address on File]    6/19/2023 Bitcoin                                 0.01202367 Customer Transfer
 Confidential Customer Coin Transferee #611     [Address on File]    5/19/2023 Bitcoin                                  0.0231559 Customer Transfer
 Confidential Customer Coin Transferee #611     [Address on File]    5/27/2023 Bitcoin                                 0.02152675 Customer Transfer
 Confidential Customer Coin Transferee #611     [Address on File]    5/19/2023 Bitcoin                                 0.01013391 Customer Transfer
 Confidential Customer Coin Transferee #612     [Address on File]    6/20/2023 Bitcoin                                 0.01036979 Customer Transfer
 Confidential Customer Coin Transferee #613     [Address on File]    5/21/2023 Bitcoin                                 0.00722717 Customer Transfer

 Confidential Customer Coin Transferee #614     [Address on File]    5/26/2023 Bitcoin                                 0.02681401 Customer Transfer
 Confidential Customer Coin Transferee #615     [Address on File]    5/26/2023 Bitcoin                                 0.02028618 Customer Transfer
 Confidential Customer Coin Transferee #616     [Address on File]    5/17/2023 Bitcoin                                 0.01488396 Customer Transfer
 Confidential Customer Coin Transferee #617     [Address on File]    6/20/2023 Bitcoin                                 0.04707536 Customer Transfer
 Confidential Customer Coin Transferee #618     [Address on File]     6/8/2023 USD Coin                                 344374.79 Customer Transfer
 Confidential Customer Coin Transferee #618     [Address on File]     6/8/2023 USD Coin                                         5 Customer Transfer
 Confidential Customer Coin Transferee #619     [Address on File]    5/26/2023 Bitcoin                                 0.00037857 Customer Transfer
 Confidential Customer Coin Transferee #619     [Address on File]    5/21/2023 Bitcoin                                 0.00037354 Customer Transfer
 Confidential Customer Coin Transferee #619     [Address on File]    5/28/2023 Bitcoin                                 0.00001706 Customer Transfer
 Confidential Customer Coin Transferee #619     [Address on File]    5/25/2023 Bitcoin                                 0.00001629 Customer Transfer

 Confidential Customer Coin Transferee #620     [Address on File]    6/15/2023 Bitcoin                                 0.03821694 Customer Transfer
 Confidential Customer Coin Transferee #621     [Address on File]    5/26/2023 Bitcoin                                 0.06404616 Customer Transfer
 Confidential Customer Coin Transferee #622     [Address on File]    6/19/2023 Bitcoin                                 0.00028999 Customer Transfer
 Confidential Customer Coin Transferee #623     [Address on File]    5/18/2023 Bitcoin                                    0.018252 Customer Transfer
 Confidential Customer Coin Transferee #623     [Address on File]    5/18/2023 Bitcoin                                 0.00355924 Customer Transfer
 Confidential Customer Coin Transferee #624     [Address on File]    6/20/2023 Bitcoin                                 0.00053063 Customer Transfer
 Confidential Customer Coin Transferee #625     [Address on File]    6/17/2023 Bitcoin                                 0.00576383 Customer Transfer
 Confidential Customer Coin Transferee #625     [Address on File]    5/22/2023 Bitcoin                                 0.00248286 Customer Transfer
 Confidential Customer Coin Transferee #626     [Address on File]    6/19/2023 Bitcoin                                 0.00022137 Customer Transfer
 Confidential Customer Coin Transferee #627     [Address on File]    6/18/2023 USD Coin                                985.757001 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #627     [Address on File]    6/18/2023 USD Coin                             985.757001 Customer Transfer
 Confidential Customer Coin Transferee #628     [Address on File]    5/25/2023 Bitcoin                              0.01861082 Customer Transfer
 Confidential Customer Coin Transferee #628     [Address on File]    5/18/2023 Bitcoin                              0.01698078 Customer Transfer
 Confidential Customer Coin Transferee #629     [Address on File]    6/20/2023 Bitcoin                              0.00006068 Customer Transfer
 Confidential Customer Coin Transferee #630     [Address on File]    6/17/2023 Bitcoin                                 0.001389 Customer Transfer
 Confidential Customer Coin Transferee #631     [Address on File]    6/21/2023 Bitcoin                              0.01477314 Customer Transfer
 Confidential Customer Coin Transferee #632     [Address on File]    5/30/2023 Bitcoin                               0.0003549 Customer Transfer
 Confidential Customer Coin Transferee #633     [Address on File]    5/30/2023 Bitcoin                              0.00650264 Customer Transfer
 Confidential Customer Coin Transferee #633     [Address on File]    5/29/2023 Bitcoin                              0.00311253 Customer Transfer
 Confidential Customer Coin Transferee #633     [Address on File]    5/31/2023 Bitcoin                              0.00302186 Customer Transfer
 Confidential Customer Coin Transferee #633     [Address on File]    5/31/2023 Bitcoin                              0.00300785 Customer Transfer
 Confidential Customer Coin Transferee #633     [Address on File]    5/28/2023 Bitcoin                              0.00292257 Customer Transfer
 Confidential Customer Coin Transferee #633     [Address on File]    5/27/2023 Bitcoin                              0.00283338 Customer Transfer
 Confidential Customer Coin Transferee #633     [Address on File]    5/20/2023 Bitcoin                              0.00223638 Customer Transfer
 Confidential Customer Coin Transferee #633     [Address on File]    5/19/2023 Bitcoin                              0.00207732 Customer Transfer
 Confidential Customer Coin Transferee #633     [Address on File]    5/18/2023 Bitcoin                              0.00206896 Customer Transfer
 Confidential Customer Coin Transferee #633     [Address on File]    5/16/2023 Bitcoin                              0.00191317 Customer Transfer
 Confidential Customer Coin Transferee #634     [Address on File]    5/20/2023 Bitcoin                              0.00125829 Customer Transfer
 Confidential Customer Coin Transferee #634     [Address on File]    5/19/2023 Bitcoin                              0.00125678 Customer Transfer
 Confidential Customer Coin Transferee #635     [Address on File]    6/20/2023 Bitcoin                              0.02110108 Customer Transfer
 Confidential Customer Coin Transferee #636     [Address on File]    6/20/2023 Bitcoin                              0.00057776 Customer Transfer
 Confidential Customer Coin Transferee #637     [Address on File]    6/20/2023 Bitcoin                              0.00005606 Customer Transfer
 Confidential Customer Coin Transferee #638     [Address on File]    6/17/2023 Bitcoin                              0.03520557 Customer Transfer
 Confidential Customer Coin Transferee #639     [Address on File]    6/20/2023 Bitcoin                              0.00057738 Customer Transfer
 Confidential Customer Coin Transferee #640     [Address on File]    5/25/2023 Bitcoin                              0.07435943 Customer Transfer
 Confidential Customer Coin Transferee #640     [Address on File]    5/25/2023 Bitcoin                              0.00755708 Customer Transfer
 Confidential Customer Coin Transferee #641     [Address on File]    5/19/2023 Bitcoin                              0.02958244 Customer Transfer
 Confidential Customer Coin Transferee #641     [Address on File]    5/19/2023 Bitcoin                              0.00741585 Customer Transfer
 Confidential Customer Coin Transferee #642     [Address on File]    5/18/2023 Bitcoin                              0.00219347 Customer Transfer
 Confidential Customer Coin Transferee #642     [Address on File]    5/24/2023 Bitcoin                              0.00143807 Customer Transfer
 Confidential Customer Coin Transferee #642     [Address on File]    5/25/2023 Bitcoin                              0.00091032 Customer Transfer
 Confidential Customer Coin Transferee #643     [Address on File]    5/16/2023 Bitcoin                               0.0755704 Customer Transfer
 Confidential Customer Coin Transferee #643     [Address on File]    5/16/2023 Bitcoin                              0.05514742 Customer Transfer
 Confidential Customer Coin Transferee #643     [Address on File]    5/16/2023 Bitcoin                              0.01848587 Customer Transfer
 Confidential Customer Coin Transferee #644     [Address on File]    5/24/2023 Bitcoin                              0.01138243 Customer Transfer
 Confidential Customer Coin Transferee #645     [Address on File]    5/16/2023 Bitcoin                                    0.0028 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #645     [Address on File]    5/16/2023 Bitcoin                              0.00254915 Customer Transfer
 Confidential Customer Coin Transferee #645     [Address on File]    5/18/2023 Bitcoin                              0.00218095 Customer Transfer
 Confidential Customer Coin Transferee #645     [Address on File]    5/16/2023 Bitcoin                              0.00184288 Customer Transfer
 Confidential Customer Coin Transferee #645     [Address on File]    5/18/2023 Bitcoin                              0.00181715 Customer Transfer
 Confidential Customer Coin Transferee #645     [Address on File]    5/16/2023 Bitcoin                              0.00176428 Customer Transfer
 Confidential Customer Coin Transferee #645     [Address on File]    5/21/2023 Bitcoin                              0.00139447 Customer Transfer
 Confidential Customer Coin Transferee #645     [Address on File]    5/18/2023 Bitcoin                              0.00138077 Customer Transfer
 Confidential Customer Coin Transferee #646     [Address on File]    5/25/2023 Bitcoin                              0.00110513 Customer Transfer
 Confidential Customer Coin Transferee #646     [Address on File]    5/27/2023 Bitcoin                              0.00104367 Customer Transfer
 Confidential Customer Coin Transferee #646     [Address on File]    5/23/2023 Bitcoin                              0.00102429 Customer Transfer
 Confidential Customer Coin Transferee #646     [Address on File]    5/19/2023 Bitcoin                              0.00040791 Customer Transfer
 Confidential Customer Coin Transferee #647     [Address on File]    5/28/2023 Bitcoin                               0.0022189 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/29/2023 Bitcoin                              0.00089745 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00072951 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00036602 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/30/2023 Bitcoin                              0.00035903 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/30/2023 Bitcoin                              0.00035848 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/30/2023 Bitcoin                              0.00035829 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/30/2023 Bitcoin                              0.00035801 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/30/2023 Bitcoin                              0.00035502 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00027366 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                               0.0002736 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/25/2023 Bitcoin                              0.00025374 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/23/2023 Bitcoin                              0.00019764 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/18/2023 Bitcoin                              0.00019759 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                                 0.000186 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00018409 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00018339 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00018333 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                               0.0001832 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00018311 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00018307 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00018299 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00018234 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/24/2023 Bitcoin                              0.00018208 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00018183 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/22/2023 Bitcoin                              0.00018078 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/17/2023 Bitcoin                              0.00018039 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/17/2023 Bitcoin                              0.00017998 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/29/2023 Bitcoin                              0.00017942 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/30/2023 Bitcoin                              0.00017906 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/30/2023 Bitcoin                              0.00017905 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/29/2023 Bitcoin                               0.0001781 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/29/2023 Bitcoin                              0.00017808 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/30/2023 Bitcoin                              0.00017757 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/30/2023 Bitcoin                              0.00017757 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00017693 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00017688 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/29/2023 Bitcoin                              0.00017659 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/29/2023 Bitcoin                              0.00017654 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/17/2023 Bitcoin                              0.00017516 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/18/2023 Bitcoin                              0.00017485 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/28/2023 Bitcoin                              0.00017394 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/24/2023 Bitcoin                              0.00016248 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/31/2023 Bitcoin                              0.00016175 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/23/2023 Bitcoin                              0.00016119 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/24/2023 Bitcoin                              0.00016108 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/16/2023 Bitcoin                              0.00015491 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/31/2023 Bitcoin                               0.0001471 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/30/2023 Bitcoin                               0.0001468 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/20/2023 Bitcoin                              0.00012773 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/23/2023 Bitcoin                              0.00012723 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/27/2023 Bitcoin                              0.00012354 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/31/2023 Bitcoin                              0.00012081 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/24/2023 Bitcoin                                 0.000119 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/20/2023 Bitcoin                              0.00011777 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/19/2023 Bitcoin                              0.00011775 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/21/2023 Bitcoin                                 0.000117 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/24/2023 Bitcoin                              0.00009678 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/17/2023 Bitcoin                              0.00009022 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/17/2023 Bitcoin                              0.00009019 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/16/2023 Bitcoin                               0.0000901 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/18/2023 Bitcoin                              0.00008799 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/18/2023 Bitcoin                              0.00008792 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/24/2023 Bitcoin                              0.00007903 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/22/2023 Bitcoin                                 0.000077 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/22/2023 Bitcoin                              0.00007661 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/19/2023 Bitcoin                              0.00007322 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/24/2023 Bitcoin                              0.00007217 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/22/2023 Bitcoin                              0.00005584 Customer Transfer
 Confidential Customer Coin Transferee #648     [Address on File]    5/30/2023 Bitcoin                              0.00005186 Customer Transfer
 Confidential Customer Coin Transferee #649     [Address on File]    5/20/2023 Bitcoin                              0.00465697 Customer Transfer
 Confidential Customer Coin Transferee #650     [Address on File]    5/17/2023 Bitcoin                              0.00130266 Customer Transfer
 Confidential Customer Coin Transferee #650     [Address on File]    5/23/2023 Bitcoin                              0.00130128 Customer Transfer
 Confidential Customer Coin Transferee #651     [Address on File]    5/26/2023 Bitcoin                                 0.001771 Customer Transfer
 Confidential Customer Coin Transferee #651     [Address on File]    5/19/2023 Bitcoin                              0.00176213 Customer Transfer
 Confidential Customer Coin Transferee #652     [Address on File]    5/20/2023 Bitcoin                              0.01818103 Customer Transfer
 Confidential Customer Coin Transferee #653     [Address on File]    5/20/2023 Bitcoin                                     0.002 Customer Transfer
 Confidential Customer Coin Transferee #654     [Address on File]    6/15/2023 Bitcoin                              0.00365619 Customer Transfer
 Confidential Customer Coin Transferee #654     [Address on File]    5/16/2023 Bitcoin                              0.00188036 Customer Transfer
 Confidential Customer Coin Transferee #655     [Address on File]    6/20/2023 Bitcoin                              0.00011947 Customer Transfer
 Confidential Customer Coin Transferee #656     [Address on File]    5/22/2023 Bitcoin                              0.00952481 Customer Transfer
 Confidential Customer Coin Transferee #657     [Address on File]    6/20/2023 Bitcoin                              0.00643363 Customer Transfer
 Confidential Customer Coin Transferee #658     [Address on File]    5/28/2023 Bitcoin                              0.03485188 Customer Transfer
 Confidential Customer Coin Transferee #658     [Address on File]    5/27/2023 Bitcoin                              0.00129656 Customer Transfer
 Confidential Customer Coin Transferee #658     [Address on File]    5/28/2023 Bitcoin                              0.00127955 Customer Transfer
 Confidential Customer Coin Transferee #658     [Address on File]    5/28/2023 Bitcoin                              0.00127914 Customer Transfer
 Confidential Customer Coin Transferee #658     [Address on File]    5/17/2023 Bitcoin                              0.00025143 Customer Transfer
 Confidential Customer Coin Transferee #659     [Address on File]    5/23/2023 Bitcoin                              0.00033297 Customer Transfer
 Confidential Customer Coin Transferee #660     [Address on File]    5/26/2023 Bitcoin                              0.00931733 Customer Transfer
 Confidential Customer Coin Transferee #660     [Address on File]    5/19/2023 Bitcoin                              0.00924633 Customer Transfer


 Confidential Customer Coin Transferee #661     [Address on File]    6/15/2023 USDC Solana)                               1900 Customer Transfer


 Confidential Customer Coin Transferee #661     [Address on File]      6/5/2023 USDC Solana)                              1500 Customer Transfer



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                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count           or Transfer


 Confidential Customer Coin Transferee #661     [Address on File]      6/6/2023 USDC Solana)                                 1002 Customer Transfer


 Confidential Customer Coin Transferee #661     [Address on File]    5/31/2023 USDC Solana)                                  1000 Customer Transfer


 Confidential Customer Coin Transferee #661     [Address on File]      6/2/2023 USDC Solana)                                  350 Customer Transfer


 Confidential Customer Coin Transferee #661     [Address on File]    5/30/2023 USDC Solana)                                   150 Customer Transfer


 Confidential Customer Coin Transferee #661     [Address on File]    5/30/2023 USDC Solana)                                   101 Customer Transfer


 Confidential Customer Coin Transferee #661     [Address on File]    6/13/2023 USDC Solana)                                   100 Customer Transfer


 Confidential Customer Coin Transferee #661     [Address on File]    6/21/2023 USDC Solana)                                    100 Customer Transfer
 Confidential Customer Coin Transferee #662     [Address on File]    6/20/2023 Bitcoin                                 0.02610779 Customer Transfer
 Confidential Customer Coin Transferee #663     [Address on File]     6/9/2023 Bitcoin                                 0.00575298 Customer Transfer
 Confidential Customer Coin Transferee #663     [Address on File]    6/19/2023 Bitcoin                                  0.0022889 Customer Transfer
 Confidential Customer Coin Transferee #664     [Address on File]    5/24/2023 Bitcoin                                         0.08 Customer Transfer
 Confidential Customer Coin Transferee #664     [Address on File]    5/24/2023 Bitcoin                                         0.02 Customer Transfer
 Confidential Customer Coin Transferee #664     [Address on File]    5/26/2023 Bitcoin                                       0.008 Customer Transfer
 Confidential Customer Coin Transferee #664     [Address on File]    5/29/2023 Bitcoin                                      0.0055 Customer Transfer
 Confidential Customer Coin Transferee #664     [Address on File]    5/27/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #664     [Address on File]    5/27/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #664     [Address on File]    5/28/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #664     [Address on File]    5/23/2023 Bitcoin                                 0.00058606 Customer Transfer
 Confidential Customer Coin Transferee #665     [Address on File]    5/30/2023 Bitcoin                                 0.02797976 Customer Transfer
 Confidential Customer Coin Transferee #665     [Address on File]    5/22/2023 Bitcoin                                 0.02736719 Customer Transfer
 Confidential Customer Coin Transferee #666     [Address on File]    5/16/2023 Bitcoin                                 0.01233832 Customer Transfer
 Confidential Customer Coin Transferee #667     [Address on File]    5/23/2023 Bitcoin                                 0.00018894 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/17/2023 Bitcoin                              0.00072182 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/31/2023 Bitcoin                              0.00055198 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/31/2023 Bitcoin                              0.00038522 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                                 0.000374 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                                 0.000372 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00037004 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00037002 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/31/2023 Bitcoin                               0.0003674 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/31/2023 Bitcoin                              0.00036599 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/31/2023 Bitcoin                              0.00035836 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/17/2023 Bitcoin                              0.00035563 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00035403 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00035176 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/31/2023 Bitcoin                                  0.00035 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/31/2023 Bitcoin                                  0.00034 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                                 0.000333 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                               0.0003307 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/27/2023 Bitcoin                              0.00024518 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00022384 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/17/2023 Bitcoin                              0.00022044 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00021863 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/17/2023 Bitcoin                               0.0002031 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                                    0.0002 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/28/2023 Bitcoin                              0.00019373 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                                 0.000188 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                                 0.000188 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/31/2023 Bitcoin                              0.00018681 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00018647 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00018639 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/19/2023 Bitcoin                                 0.000186 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                                 0.000186 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/19/2023 Bitcoin                              0.00018538 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00018515 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/16/2023 Bitcoin                                 0.000185 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00018499 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/31/2023 Bitcoin                               0.0001845 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00018402 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/28/2023 Bitcoin                               0.0001835 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                              0.00018249 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/18/2023 Bitcoin                              0.00018202 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/17/2023 Bitcoin                              0.00018049 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/28/2023 Bitcoin                                  0.00018 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/30/2023 Bitcoin                                  0.00018 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/31/2023 Bitcoin                                  0.00018 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/28/2023 Bitcoin                              0.00017921 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/29/2023 Bitcoin                               0.0001784 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/29/2023 Bitcoin                              0.00017072 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/29/2023 Bitcoin                              0.00017072 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/29/2023 Bitcoin                              0.00016618 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/30/2023 Bitcoin                              0.00016538 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/30/2023 Bitcoin                              0.00016301 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/29/2023 Bitcoin                                  0.00016 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/29/2023 Bitcoin                                  0.00016 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/30/2023 Bitcoin                                  0.00016 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/25/2023 Bitcoin                              0.00015769 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                                  0.00015 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/22/2023 Bitcoin                                  0.00015 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/28/2023 Bitcoin                                  0.00015 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/29/2023 Bitcoin                                  0.00015 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/30/2023 Bitcoin                                 0.000144 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/25/2023 Bitcoin                              0.00014209 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/31/2023 Bitcoin                               0.0001403 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/18/2023 Bitcoin                              0.00013914 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/17/2023 Bitcoin                                 0.000135 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/17/2023 Bitcoin                                  0.00012 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/17/2023 Bitcoin                              0.00011962 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/16/2023 Bitcoin                              0.00010187 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/17/2023 Bitcoin                                    0.0001 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/16/2023 Bitcoin                              0.00009306 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/16/2023 Bitcoin                              0.00006732 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/19/2023 Bitcoin                              0.00006512 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/21/2023 Bitcoin                              0.00005325 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/21/2023 Bitcoin                              0.00004926 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/16/2023 Bitcoin                              0.00004531 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/21/2023 Bitcoin                               0.0000405 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/28/2023 Bitcoin                              0.00003104 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/28/2023 Bitcoin                              0.00002816 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/24/2023 Bitcoin                              0.00002679 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/25/2023 Bitcoin                              0.00002613 Customer Transfer
 Confidential Customer Coin Transferee #668     [Address on File]    5/26/2023 Bitcoin                              0.00001879 Customer Transfer
 Confidential Customer Coin Transferee #669     [Address on File]    5/16/2023 Bitcoin                              0.00110482 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/26/2023 Bitcoin                              0.00112891 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/22/2023 Bitcoin                              0.00111879 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/31/2023 Bitcoin                              0.00089801 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/26/2023 Bitcoin                               0.0007522 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/23/2023 Bitcoin                              0.00073019 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/29/2023 Bitcoin                              0.00072075 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/28/2023 Bitcoin                              0.00066588 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]     6/1/2023 Bitcoin                              0.00066373 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]     6/2/2023 Bitcoin                              0.00056171 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/30/2023 Bitcoin                              0.00053649 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/18/2023 Bitcoin                              0.00044653 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/26/2023 Bitcoin                              0.00043254 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/22/2023 Bitcoin                              0.00037054 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/20/2023 Bitcoin                              0.00036995 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/30/2023 Bitcoin                              0.00035843 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/25/2023 Bitcoin                              0.00035298 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/23/2023 Bitcoin                              0.00033667 Customer Transfer
 Confidential Customer Coin Transferee #670     [Address on File]    5/28/2023 Bitcoin                              0.00031096 Customer Transfer
 Confidential Customer Coin Transferee #671     [Address on File]    6/20/2023 Bitcoin                              0.00218923 Customer Transfer

 Confidential Customer Coin Transferee #672     [Address on File]    6/19/2023 Bitcoin                                 0.00007099 Customer Transfer
 Confidential Customer Coin Transferee #673     [Address on File]    6/19/2023 Bitcoin                                 0.00113626 Customer Transfer
 Confidential Customer Coin Transferee #674     [Address on File]    6/20/2023 Bitcoin                                  0.0002242 Customer Transfer
 Confidential Customer Coin Transferee #675     [Address on File]    5/21/2023 Bitcoin                                 0.00036217 Customer Transfer
 Confidential Customer Coin Transferee #676     [Address on File]    6/20/2023 Bitcoin                                 0.00016918 Customer Transfer
 Confidential Customer Coin Transferee #677     [Address on File]    5/23/2023 Bitcoin                                 0.00072797 Customer Transfer
 Confidential Customer Coin Transferee #677     [Address on File]    5/29/2023 Bitcoin                                 0.00071231 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #678     [Address on File]    6/19/2023 Bitcoin                              0.00289086 Customer Transfer
 Confidential Customer Coin Transferee #679     [Address on File]    5/22/2023 Bitcoin                              0.40071352 Customer Transfer
 Confidential Customer Coin Transferee #680     [Address on File]    5/19/2023 Bitcoin                              0.01445141 Customer Transfer
 Confidential Customer Coin Transferee #680     [Address on File]    5/21/2023 Bitcoin                              0.00843824 Customer Transfer
 Confidential Customer Coin Transferee #680     [Address on File]    5/19/2023 Bitcoin                              0.00369237 Customer Transfer
 Confidential Customer Coin Transferee #680     [Address on File]    5/16/2023 Bitcoin                              0.00351752 Customer Transfer
 Confidential Customer Coin Transferee #680     [Address on File]    5/21/2023 Bitcoin                              0.00316777 Customer Transfer
 Confidential Customer Coin Transferee #680     [Address on File]    5/21/2023 Bitcoin                              0.00055027 Customer Transfer
 Confidential Customer Coin Transferee #681     [Address on File]    5/22/2023 Bitcoin                              0.11095263 Customer Transfer
 Confidential Customer Coin Transferee #681     [Address on File]    5/22/2023 Bitcoin                              0.07462274 Customer Transfer
 Confidential Customer Coin Transferee #681     [Address on File]    5/31/2023 Bitcoin                              0.05503769 Customer Transfer
 Confidential Customer Coin Transferee #681     [Address on File]     6/1/2023 Bitcoin                              0.05477033 Customer Transfer
 Confidential Customer Coin Transferee #681     [Address on File]     6/1/2023 Bitcoin                              0.04454195 Customer Transfer
 Confidential Customer Coin Transferee #681     [Address on File]    5/22/2023 Bitcoin                              0.02610865 Customer Transfer
 Confidential Customer Coin Transferee #681     [Address on File]    5/22/2023 Bitcoin                                     0.012 Customer Transfer
 Confidential Customer Coin Transferee #682     [Address on File]    5/22/2023 Bitcoin                               0.0005983 Customer Transfer
 Confidential Customer Coin Transferee #683     [Address on File]    6/19/2023 Bitcoin                              0.00067549 Customer Transfer
 Confidential Customer Coin Transferee #684     [Address on File]    6/19/2023 Bitcoin                              0.00307334 Customer Transfer
 Confidential Customer Coin Transferee #685     [Address on File]    6/20/2023 Bitcoin                              0.00005814 Customer Transfer
 Confidential Customer Coin Transferee #686     [Address on File]    6/17/2023 Bitcoin                              0.00011603 Customer Transfer
 Confidential Customer Coin Transferee #686     [Address on File]    6/12/2023 Bitcoin                              0.00003881 Customer Transfer
 Confidential Customer Coin Transferee #686     [Address on File]    6/13/2023 Bitcoin                              0.00003836 Customer Transfer
 Confidential Customer Coin Transferee #687     [Address on File]    6/19/2023 Bitcoin                              0.00041325 Customer Transfer
 Confidential Customer Coin Transferee #688     [Address on File]    5/23/2023 Bitcoin                                 0.007796 Customer Transfer
 Confidential Customer Coin Transferee #689     [Address on File]    5/16/2023 Bitcoin                              0.00542677 Customer Transfer
 Confidential Customer Coin Transferee #690     [Address on File]    5/22/2023 Bitcoin                               0.0106719 Customer Transfer
 Confidential Customer Coin Transferee #691     [Address on File]    5/25/2023 Bitcoin                                  0.00099 Customer Transfer
 Confidential Customer Coin Transferee #691     [Address on File]    5/25/2023 Bitcoin                                  0.00026 Customer Transfer
 Confidential Customer Coin Transferee #692     [Address on File]    5/26/2023 Bitcoin                              0.00188155 Customer Transfer
 Confidential Customer Coin Transferee #692     [Address on File]    5/19/2023 Bitcoin                              0.00186722 Customer Transfer
 Confidential Customer Coin Transferee #693     [Address on File]     6/6/2023 Bitcoin                              0.00115701 Customer Transfer
 Confidential Customer Coin Transferee #694     [Address on File]    5/23/2023 Bitcoin                              0.00058025 Customer Transfer
 Confidential Customer Coin Transferee #694     [Address on File]    5/28/2023 Bitcoin                              0.00040302 Customer Transfer
 Confidential Customer Coin Transferee #694     [Address on File]    5/17/2023 Bitcoin                               0.0001851 Customer Transfer
 Confidential Customer Coin Transferee #694     [Address on File]    5/30/2023 Bitcoin                               0.0001411 Customer Transfer
 Confidential Customer Coin Transferee #695     [Address on File]    5/18/2023 Bitcoin                              0.00280293 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #696     [Address on File]    5/21/2023 Bitcoin                              0.00018517 Customer Transfer
 Confidential Customer Coin Transferee #697     [Address on File]    6/19/2023 Bitcoin                              0.00005821 Customer Transfer
 Confidential Customer Coin Transferee #698     [Address on File]    6/20/2023 Bitcoin                              0.00047152 Customer Transfer
 Confidential Customer Coin Transferee #699     [Address on File]    6/19/2023 Bitcoin                              0.00116021 Customer Transfer
 Confidential Customer Coin Transferee #700     [Address on File]    5/22/2023 Bitcoin                              0.00379669 Customer Transfer
 Confidential Customer Coin Transferee #701     [Address on File]    6/19/2023 Bitcoin                              0.00081466 Customer Transfer
 Confidential Customer Coin Transferee #702     [Address on File]    5/23/2023 Bitcoin                              0.47864799 Customer Transfer
 Confidential Customer Coin Transferee #703     [Address on File]     6/6/2023 Bitcoin                              0.00509613 Customer Transfer
 Confidential Customer Coin Transferee #703     [Address on File]    6/17/2023 Bitcoin                              0.00003865 Customer Transfer
 Confidential Customer Coin Transferee #704     [Address on File]    5/17/2023 Bitcoin                              0.56798118 Customer Transfer
 Confidential Customer Coin Transferee #705     [Address on File]    5/23/2023 Bitcoin                              0.01017544 Customer Transfer
 Confidential Customer Coin Transferee #706     [Address on File]    5/24/2023 Bitcoin                               0.1589565 Customer Transfer
 Confidential Customer Coin Transferee #707     [Address on File]    5/27/2023 Bitcoin                              0.00222999 Customer Transfer
 Confidential Customer Coin Transferee #707     [Address on File]    5/19/2023 Bitcoin                              0.00148084 Customer Transfer
 Confidential Customer Coin Transferee #707     [Address on File]    5/22/2023 Bitcoin                              0.00092504 Customer Transfer
 Confidential Customer Coin Transferee #707     [Address on File]    5/19/2023 Bitcoin                              0.00073828 Customer Transfer
 Confidential Customer Coin Transferee #708     [Address on File]     6/6/2023 Tether USD                               1286.18 Customer Transfer
 Confidential Customer Coin Transferee #709     [Address on File]    6/21/2023 USD Coin                             995.813397 Customer Transfer
 Confidential Customer Coin Transferee #709     [Address on File]    6/21/2023 USD Coin                             896.142728 Customer Transfer
 Confidential Customer Coin Transferee #709     [Address on File]    6/21/2023 USD Coin                              477.99043 Customer Transfer
 Confidential Customer Coin Transferee #710     [Address on File]    6/19/2023 Bitcoin                               0.0018448 Customer Transfer
 Confidential Customer Coin Transferee #711     [Address on File]    6/20/2023 Bitcoin                              0.02621793 Customer Transfer
 Confidential Customer Coin Transferee #712     [Address on File]    6/16/2023 Bitcoin                              0.00740085 Customer Transfer
 Confidential Customer Coin Transferee #712     [Address on File]     6/1/2023 Bitcoin                              0.00728145 Customer Transfer
 Confidential Customer Coin Transferee #713     [Address on File]    6/19/2023 Bitcoin                              0.00115578 Customer Transfer
 Confidential Customer Coin Transferee #714     [Address on File]    6/19/2023 Bitcoin                              0.00005829 Customer Transfer
 Confidential Customer Coin Transferee #715     [Address on File]    6/14/2023 USDC Avalanche)                     2995.260947 Customer Transfer
 Confidential Customer Coin Transferee #715     [Address on File]    5/24/2023 USDC Avalanche)                     2994.781565 Customer Transfer
 Confidential Customer Coin Transferee #715     [Address on File]    5/29/2023 USDC Avalanche)                     2994.732107 Customer Transfer
 Confidential Customer Coin Transferee #715     [Address on File]     6/2/2023 USDC Avalanche)                     2994.472763 Customer Transfer
 Confidential Customer Coin Transferee #715     [Address on File]    5/21/2023 USDC Avalanche)                     2994.462768 Customer Transfer
 Confidential Customer Coin Transferee #715     [Address on File]    5/19/2023 USDC Avalanche)                     2994.262868 Customer Transfer
 Confidential Customer Coin Transferee #715     [Address on File]    5/25/2023 USDC Avalanche)                     2994.173495 Customer Transfer
 Confidential Customer Coin Transferee #715     [Address on File]    5/26/2023 USDC Avalanche)                     2994.173495 Customer Transfer
 Confidential Customer Coin Transferee #715     [Address on File]    6/10/2023 USDC Avalanche)                     2992.926366 Customer Transfer
 Confidential Customer Coin Transferee #716     [Address on File]    5/19/2023 Bitcoin                              0.01856918 Customer Transfer


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                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #716     [Address on File]    5/19/2023 Bitcoin                              0.01848735 Customer Transfer
 Confidential Customer Coin Transferee #716     [Address on File]    5/25/2023 Bitcoin                              0.01136919 Customer Transfer
 Confidential Customer Coin Transferee #716     [Address on File]    5/20/2023 Bitcoin                              0.00036993 Customer Transfer

 Confidential Customer Coin Transferee #717     [Address on File]    6/19/2023 Bitcoin                                  0.0107311 Customer Transfer
 Confidential Customer Coin Transferee #718     [Address on File]    5/22/2023 Bitcoin                                 0.00037127 Customer Transfer
 Confidential Customer Coin Transferee #719     [Address on File]    6/20/2023 Bitcoin                                 0.00315876 Customer Transfer
 Confidential Customer Coin Transferee #720     [Address on File]    5/22/2023 Bitcoin                                 0.02626764 Customer Transfer
 Confidential Customer Coin Transferee #721     [Address on File]    5/29/2023 Bitcoin                                 0.01047061 Customer Transfer
 Confidential Customer Coin Transferee #722     [Address on File]    6/20/2023 Bitcoin                                 0.00967846 Customer Transfer
 Confidential Customer Coin Transferee #723     [Address on File]    6/20/2023 Bitcoin                                 0.00008034 Customer Transfer

 Confidential Customer Coin Transferee #724     [Address on File]    5/21/2023 USDC Avalanche)                          51.964017 Customer Transfer
 Confidential Customer Coin Transferee #725     [Address on File]     6/9/2023 Tether USD                               1981.4208 Customer Transfer

 Confidential Customer Coin Transferee #726     [Address on File]     6/7/2023 Tether USD                                  1484.81 Customer Transfer
 Confidential Customer Coin Transferee #727     [Address on File]    5/18/2023 Bitcoin                                 0.10009632 Customer Transfer
 Confidential Customer Coin Transferee #727     [Address on File]    5/18/2023 Bitcoin                                       0.0001 Customer Transfer
 Confidential Customer Coin Transferee #728     [Address on File]     6/7/2023 Bitcoin                                 0.03778674 Customer Transfer
 Confidential Customer Coin Transferee #728     [Address on File]     6/8/2023 Bitcoin                                 0.03774416 Customer Transfer
 Confidential Customer Coin Transferee #728     [Address on File]     6/7/2023 Bitcoin                                 0.03703467 Customer Transfer
 Confidential Customer Coin Transferee #728     [Address on File]    5/21/2023 Bitcoin                                 0.03693857 Customer Transfer
 Confidential Customer Coin Transferee #729     [Address on File]    5/19/2023 Bitcoin                                 0.00147312 Customer Transfer
 Confidential Customer Coin Transferee #730     [Address on File]    5/17/2023 Bitcoin                                        0.001 Customer Transfer
 Confidential Customer Coin Transferee #730     [Address on File]    5/17/2023 Bitcoin                                        0.001 Customer Transfer
 Confidential Customer Coin Transferee #730     [Address on File]    5/17/2023 Bitcoin                                        0.001 Customer Transfer
 Confidential Customer Coin Transferee #730     [Address on File]    5/17/2023 Bitcoin                                        0.001 Customer Transfer
 Confidential Customer Coin Transferee #730     [Address on File]    5/17/2023 Bitcoin                                       0.0005 Customer Transfer
 Confidential Customer Coin Transferee #730     [Address on File]    5/17/2023 Bitcoin                                       0.0005 Customer Transfer
 Confidential Customer Coin Transferee #731     [Address on File]    6/19/2023 Bitcoin                                    0.000142 Customer Transfer
 Confidential Customer Coin Transferee #732     [Address on File]    6/20/2023 Bitcoin                                 0.00011433 Customer Transfer
 Confidential Customer Coin Transferee #733     [Address on File]    5/25/2023 Bitcoin                                 0.00091606 Customer Transfer
 Confidential Customer Coin Transferee #733     [Address on File]    5/18/2023 Bitcoin                                 0.00088765 Customer Transfer
 Confidential Customer Coin Transferee #734     [Address on File]    5/28/2023 Bitcoin                                 0.06121218 Customer Transfer
 Confidential Customer Coin Transferee #735     [Address on File]    5/25/2023 Bitcoin                                 0.00175035 Customer Transfer
 Confidential Customer Coin Transferee #736     [Address on File]    6/13/2023 USDC Avalanche)                         146.791283 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #736     [Address on File]    5/17/2023 Ether                                   0.161221 Customer Transfer
 Confidential Customer Coin Transferee #736     [Address on File]    5/16/2023 Bitcoin                                  0.00604 Customer Transfer
 Confidential Customer Coin Transferee #737     [Address on File]    5/16/2023 Bitcoin                              0.00342201 Customer Transfer
 Confidential Customer Coin Transferee #737     [Address on File]    5/17/2023 Bitcoin                              0.00185819 Customer Transfer
 Confidential Customer Coin Transferee #737     [Address on File]     6/1/2023 Bitcoin                              0.00182015 Customer Transfer
 Confidential Customer Coin Transferee #738     [Address on File]    5/30/2023 Bitcoin                              0.01092239 Customer Transfer
 Confidential Customer Coin Transferee #739     [Address on File]    6/12/2023 USDC Avalanche)                       96.471411 Customer Transfer
 Confidential Customer Coin Transferee #739     [Address on File]    5/16/2023 USDC Avalanche)                       52.834149 Customer Transfer
 Confidential Customer Coin Transferee #739     [Address on File]    5/30/2023 USDC Avalanche)                       47.971217 Customer Transfer
 Confidential Customer Coin Transferee #740     [Address on File]    6/20/2023 Bitcoin                              0.00239468 Customer Transfer
 Confidential Customer Coin Transferee #741     [Address on File]    6/12/2023 Bitcoin                              0.02331492 Customer Transfer
 Confidential Customer Coin Transferee #742     [Address on File]    5/27/2023 Bitcoin                                   0.0007 Customer Transfer
 Confidential Customer Coin Transferee #743     [Address on File]    5/17/2023 Bitcoin                              0.00036821 Customer Transfer
 Confidential Customer Coin Transferee #744     [Address on File]    6/19/2023 Bitcoin                              0.00116371 Customer Transfer
 Confidential Customer Coin Transferee #745     [Address on File]    6/20/2023 Bitcoin                              0.01208862 Customer Transfer
 Confidential Customer Coin Transferee #745     [Address on File]    5/30/2023 Bitcoin                              0.00697739 Customer Transfer
 Confidential Customer Coin Transferee #746     [Address on File]     6/3/2023 USDC Avalanche)                      110.984507 Customer Transfer
 Confidential Customer Coin Transferee #746     [Address on File]    6/14/2023 USDC Avalanche)                      103.718512 Customer Transfer
 Confidential Customer Coin Transferee #747     [Address on File]    6/20/2023 Bitcoin                              0.00014724 Customer Transfer

 Confidential Customer Coin Transferee #748     [Address on File]     6/6/2023 Bitcoin                                    0.123473 Customer Transfer
 Confidential Customer Coin Transferee #749     [Address on File]    6/14/2023 Bitcoin                                  0.0019324 Customer Transfer
 Confidential Customer Coin Transferee #749     [Address on File]    6/19/2023 Bitcoin                                 0.00191289 Customer Transfer
 Confidential Customer Coin Transferee #750     [Address on File]    5/24/2023 Bitcoin                                 0.02650441 Customer Transfer
 Confidential Customer Coin Transferee #751     [Address on File]    5/19/2023 Bitcoin                                  0.0018516 Customer Transfer
 Confidential Customer Coin Transferee #752     [Address on File]    6/20/2023 Bitcoin                                 0.00034331 Customer Transfer
 Confidential Customer Coin Transferee #753     [Address on File]    5/26/2023 Bitcoin                                        0.001 Customer Transfer
 Confidential Customer Coin Transferee #753     [Address on File]    5/21/2023 Bitcoin                                     0.00075 Customer Transfer
 Confidential Customer Coin Transferee #753     [Address on File]    5/17/2023 Bitcoin                                 0.00031577 Customer Transfer
 Confidential Customer Coin Transferee #753     [Address on File]    5/19/2023 Bitcoin                                    0.000025 Customer Transfer
 Confidential Customer Coin Transferee #753     [Address on File]    5/17/2023 Bitcoin                                     0.00001 Customer Transfer
 Confidential Customer Coin Transferee #754     [Address on File]    5/30/2023 Bitcoin                                 0.02227472 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/23/2023 Bitcoin                                 0.01271821 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/22/2023 Bitcoin                                 0.00980896 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/23/2023 Bitcoin                                 0.00864405 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/19/2023 Bitcoin                                 0.00720949 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/22/2023 Bitcoin                              0.00714577 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/18/2023 Bitcoin                               0.0070718 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/25/2023 Bitcoin                              0.00580055 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/23/2023 Bitcoin                              0.00535178 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/19/2023 Bitcoin                              0.00525343 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/24/2023 Bitcoin                              0.00346999 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/28/2023 Bitcoin                              0.00336558 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/27/2023 Bitcoin                              0.00265686 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/18/2023 Bitcoin                              0.00176721 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/17/2023 Bitcoin                               0.0011007 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/17/2023 Bitcoin                              0.00102742 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/20/2023 Bitcoin                              0.00068421 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/19/2023 Bitcoin                              0.00035163 Customer Transfer
 Confidential Customer Coin Transferee #755     [Address on File]    5/24/2023 Bitcoin                              0.00014627 Customer Transfer
 Confidential Customer Coin Transferee #756     [Address on File]    5/30/2023 Bitcoin                              0.01032303 Customer Transfer
 Confidential Customer Coin Transferee #757     [Address on File]    5/18/2023 Bitcoin                              0.00533873 Customer Transfer

 Confidential Customer Coin Transferee #758     [Address on File]    5/29/2023 Bitcoin                                  0.0023791 Customer Transfer

 Confidential Customer Coin Transferee #758     [Address on File]    5/29/2023 Bitcoin                                 0.00117425 Customer Transfer

 Confidential Customer Coin Transferee #758     [Address on File]    5/20/2023 Bitcoin                                  0.0000738 Customer Transfer
 Confidential Customer Coin Transferee #759     [Address on File]    6/20/2023 Bitcoin                                 0.00063521 Customer Transfer
 Confidential Customer Coin Transferee #760     [Address on File]    6/17/2023 Bitcoin                                    0.001012 Customer Transfer
 Confidential Customer Coin Transferee #761     [Address on File]    5/20/2023 Bitcoin                                 0.01160484 Customer Transfer
 Confidential Customer Coin Transferee #762     [Address on File]    6/19/2023 Bitcoin                                 0.00036518 Customer Transfer
 Confidential Customer Coin Transferee #763     [Address on File]    6/19/2023 Bitcoin                                 0.00596978 Customer Transfer
 Confidential Customer Coin Transferee #764     [Address on File]     6/2/2023 Tether USD                                 803.3934 Customer Transfer
 Confidential Customer Coin Transferee #765     [Address on File]    6/20/2023 Bitcoin                                 0.00004469 Customer Transfer

 Confidential Customer Coin Transferee #766     [Address on File]    6/19/2023 Bitcoin                                  0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #767     [Address on File]    5/20/2023 Bitcoin                                 0.02148547 Customer Transfer
 Confidential Customer Coin Transferee #767     [Address on File]    5/20/2023 Bitcoin                                      0.0001 Customer Transfer
 Confidential Customer Coin Transferee #768     [Address on File]    5/22/2023 Bitcoin                                 0.00070644 Customer Transfer
 Confidential Customer Coin Transferee #769     [Address on File]    5/29/2023 Bitcoin                                       0.535 Customer Transfer
 Confidential Customer Coin Transferee #770     [Address on File]    5/21/2023 Bitcoin                                 0.00183601 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #770     [Address on File]    5/28/2023 Bitcoin                              0.00178473 Customer Transfer
 Confidential Customer Coin Transferee #770     [Address on File]    5/27/2023 Bitcoin                              0.00091363 Customer Transfer
 Confidential Customer Coin Transferee #770     [Address on File]    5/21/2023 Bitcoin                              0.00003662 Customer Transfer
 Confidential Customer Coin Transferee #771     [Address on File]    5/16/2023 Bitcoin                                       0.22 Customer Transfer
 Confidential Customer Coin Transferee #771     [Address on File]    5/28/2023 Bitcoin                              0.03850279 Customer Transfer
 Confidential Customer Coin Transferee #772     [Address on File]    5/18/2023 Bitcoin                              0.01438476 Customer Transfer
 Confidential Customer Coin Transferee #773     [Address on File]    5/19/2023 Bitcoin                              0.01524732 Customer Transfer
 Confidential Customer Coin Transferee #773     [Address on File]    5/29/2023 Bitcoin                              0.00382909 Customer Transfer
 Confidential Customer Coin Transferee #773     [Address on File]    5/30/2023 Bitcoin                                    0.0023 Customer Transfer
 Confidential Customer Coin Transferee #773     [Address on File]    5/28/2023 Bitcoin                                  0.00221 Customer Transfer
 Confidential Customer Coin Transferee #773     [Address on File]    5/18/2023 Bitcoin                                    0.0015 Customer Transfer
 Confidential Customer Coin Transferee #773     [Address on File]    5/25/2023 Bitcoin                                    0.0015 Customer Transfer
 Confidential Customer Coin Transferee #774     [Address on File]    5/22/2023 Bitcoin                              0.02393327 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/25/2023 Bitcoin                              0.00471927 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/28/2023 Bitcoin                              0.00366692 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/21/2023 Bitcoin                              0.00185383 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/20/2023 Bitcoin                              0.00184065 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/28/2023 Bitcoin                              0.00178271 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/25/2023 Bitcoin                              0.00093999 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/17/2023 Bitcoin                              0.00093243 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/27/2023 Bitcoin                              0.00092927 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/26/2023 Bitcoin                              0.00092759 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/23/2023 Bitcoin                              0.00092447 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/23/2023 Bitcoin                              0.00091206 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/28/2023 Bitcoin                              0.00091164 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/18/2023 Bitcoin                              0.00090908 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/31/2023 Bitcoin                              0.00089366 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/17/2023 Bitcoin                              0.00088358 Customer Transfer
 Confidential Customer Coin Transferee #775     [Address on File]    5/17/2023 Bitcoin                                 0.000025 Customer Transfer
 Confidential Customer Coin Transferee #776     [Address on File]    5/21/2023 Bitcoin                               0.0149089 Customer Transfer
 Confidential Customer Coin Transferee #776     [Address on File]    5/27/2023 Bitcoin                              0.01115667 Customer Transfer
 Confidential Customer Coin Transferee #776     [Address on File]    5/29/2023 Bitcoin                              0.01073693 Customer Transfer
 Confidential Customer Coin Transferee #776     [Address on File]    5/24/2023 Bitcoin                              0.00913193 Customer Transfer
 Confidential Customer Coin Transferee #777     [Address on File]    5/16/2023 Bitcoin                               0.0071095 Customer Transfer
 Confidential Customer Coin Transferee #777     [Address on File]    5/16/2023 Bitcoin                              0.00709382 Customer Transfer
 Confidential Customer Coin Transferee #777     [Address on File]    5/16/2023 Bitcoin                              0.00565979 Customer Transfer


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                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #777     [Address on File]    5/24/2023 Bitcoin                              0.00292487 Customer Transfer
 Confidential Customer Coin Transferee #777     [Address on File]    5/16/2023 Bitcoin                              0.00287732 Customer Transfer
 Confidential Customer Coin Transferee #777     [Address on File]    5/16/2023 Bitcoin                              0.00276532 Customer Transfer
 Confidential Customer Coin Transferee #777     [Address on File]    5/16/2023 Bitcoin                              0.00043995 Customer Transfer
 Confidential Customer Coin Transferee #778     [Address on File]    5/19/2023 Bitcoin                              0.00765783 Customer Transfer
 Confidential Customer Coin Transferee #779     [Address on File]    5/22/2023 Bitcoin                              0.00189393 Customer Transfer
 Confidential Customer Coin Transferee #780     [Address on File]    5/27/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #781     [Address on File]    5/18/2023 Bitcoin                              0.00375172 Customer Transfer
 Confidential Customer Coin Transferee #782     [Address on File]    6/20/2023 Bitcoin                              0.01001061 Customer Transfer
 Confidential Customer Coin Transferee #783     [Address on File]    5/22/2023 Bitcoin                              0.00322978 Customer Transfer
 Confidential Customer Coin Transferee #783     [Address on File]    5/16/2023 Bitcoin                              0.00291144 Customer Transfer
 Confidential Customer Coin Transferee #783     [Address on File]    5/26/2023 Bitcoin                              0.00261519 Customer Transfer
 Confidential Customer Coin Transferee #784     [Address on File]    5/26/2023 Bitcoin                               0.0696689 Customer Transfer
 Confidential Customer Coin Transferee #784     [Address on File]    5/26/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #785     [Address on File]    5/19/2023 Bitcoin                              0.00469715 Customer Transfer
 Confidential Customer Coin Transferee #786     [Address on File]    5/19/2023 Bitcoin                              0.00364584 Customer Transfer
 Confidential Customer Coin Transferee #787     [Address on File]    5/22/2023 Bitcoin                              0.00409579 Customer Transfer
 Confidential Customer Coin Transferee #787     [Address on File]    5/27/2023 Bitcoin                              0.00394881 Customer Transfer
 Confidential Customer Coin Transferee #787     [Address on File]    5/18/2023 Bitcoin                              0.00378258 Customer Transfer
 Confidential Customer Coin Transferee #788     [Address on File]    5/27/2023 Bitcoin                              0.01858793 Customer Transfer
 Confidential Customer Coin Transferee #789     [Address on File]    5/19/2023 Bitcoin                              0.02258149 Customer Transfer
 Confidential Customer Coin Transferee #790     [Address on File]    5/20/2023 Bitcoin                              0.00735575 Customer Transfer
 Confidential Customer Coin Transferee #790     [Address on File]    5/27/2023 Bitcoin                              0.00373804 Customer Transfer
 Confidential Customer Coin Transferee #790     [Address on File]    5/29/2023 Bitcoin                              0.00365697 Customer Transfer
 Confidential Customer Coin Transferee #790     [Address on File]    5/24/2023 Bitcoin                              0.00188334 Customer Transfer
 Confidential Customer Coin Transferee #790     [Address on File]    5/22/2023 Bitcoin                              0.00185932 Customer Transfer
 Confidential Customer Coin Transferee #790     [Address on File]    5/22/2023 Bitcoin                              0.00184669 Customer Transfer
 Confidential Customer Coin Transferee #790     [Address on File]    5/17/2023 Bitcoin                              0.00183983 Customer Transfer
 Confidential Customer Coin Transferee #790     [Address on File]    5/24/2023 Bitcoin                              0.00182666 Customer Transfer
 Confidential Customer Coin Transferee #790     [Address on File]    5/16/2023 Bitcoin                              0.00181797 Customer Transfer
 Confidential Customer Coin Transferee #790     [Address on File]    5/30/2023 Bitcoin                              0.00179626 Customer Transfer
 Confidential Customer Coin Transferee #790     [Address on File]    5/30/2023 Bitcoin                               0.0017867 Customer Transfer
 Confidential Customer Coin Transferee #791     [Address on File]    5/20/2023 Bitcoin                              0.01056719 Customer Transfer
 Confidential Customer Coin Transferee #792     [Address on File]    5/19/2023 Bitcoin                              0.06339708 Customer Transfer
 Confidential Customer Coin Transferee #792     [Address on File]    5/25/2023 Bitcoin                              0.04044624 Customer Transfer
 Confidential Customer Coin Transferee #792     [Address on File]    5/30/2023 Bitcoin                              0.03945553 Customer Transfer


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                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #793     [Address on File]    5/18/2023 Bitcoin                              0.02045291 Customer Transfer
 Confidential Customer Coin Transferee #794     [Address on File]    5/28/2023 Bitcoin                              0.10383118 Customer Transfer
 Confidential Customer Coin Transferee #795     [Address on File]    5/22/2023 Bitcoin                                 0.012116 Customer Transfer
 Confidential Customer Coin Transferee #796     [Address on File]    5/28/2023 Bitcoin                                     0.035 Customer Transfer
 Confidential Customer Coin Transferee #796     [Address on File]    5/28/2023 Bitcoin                                     0.004 Customer Transfer
 Confidential Customer Coin Transferee #797     [Address on File]    5/25/2023 Bitcoin                              0.00381075 Customer Transfer
 Confidential Customer Coin Transferee #798     [Address on File]    5/17/2023 Bitcoin                              0.00367759 Customer Transfer
 Confidential Customer Coin Transferee #799     [Address on File]    5/16/2023 Bitcoin                                 0.028484 Customer Transfer
 Confidential Customer Coin Transferee #799     [Address on File]    5/21/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #800     [Address on File]    5/31/2023 Bitcoin                              0.03919822 Customer Transfer
 Confidential Customer Coin Transferee #800     [Address on File]    5/21/2023 Bitcoin                              0.00439176 Customer Transfer
 Confidential Customer Coin Transferee #801     [Address on File]    5/23/2023 Bitcoin                              0.01151352 Customer Transfer
 Confidential Customer Coin Transferee #801     [Address on File]    5/19/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #802     [Address on File]    5/25/2023 Bitcoin                              0.01280453 Customer Transfer
 Confidential Customer Coin Transferee #802     [Address on File]    5/25/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #803     [Address on File]    5/22/2023 Bitcoin                              0.00932547 Customer Transfer
 Confidential Customer Coin Transferee #804     [Address on File]    5/24/2023 Bitcoin                              0.01097156 Customer Transfer
 Confidential Customer Coin Transferee #804     [Address on File]    5/19/2023 Bitcoin                              0.00920034 Customer Transfer
 Confidential Customer Coin Transferee #804     [Address on File]    5/19/2023 Bitcoin                               0.0003723 Customer Transfer
 Confidential Customer Coin Transferee #805     [Address on File]    5/28/2023 Bitcoin                              0.05485122 Customer Transfer
 Confidential Customer Coin Transferee #805     [Address on File]    5/29/2023 Bitcoin                              0.04242008 Customer Transfer
 Confidential Customer Coin Transferee #806     [Address on File]    5/27/2023 Bitcoin                              0.00611862 Customer Transfer
 Confidential Customer Coin Transferee #806     [Address on File]    5/27/2023 Bitcoin                                    0.0029 Customer Transfer
 Confidential Customer Coin Transferee #806     [Address on File]    5/26/2023 Bitcoin                                    0.0023 Customer Transfer
 Confidential Customer Coin Transferee #807     [Address on File]    5/30/2023 Bitcoin                              0.02609026 Customer Transfer
 Confidential Customer Coin Transferee #807     [Address on File]    5/31/2023 Bitcoin                               0.0189414 Customer Transfer
 Confidential Customer Coin Transferee #807     [Address on File]    5/19/2023 Bitcoin                              0.00999051 Customer Transfer
 Confidential Customer Coin Transferee #807     [Address on File]    5/19/2023 Bitcoin                              0.00822583 Customer Transfer
 Confidential Customer Coin Transferee #808     [Address on File]    5/30/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #809     [Address on File]    5/22/2023 Bitcoin                              0.00068898 Customer Transfer
 Confidential Customer Coin Transferee #810     [Address on File]    5/22/2023 Bitcoin                              0.07688793 Customer Transfer
 Confidential Customer Coin Transferee #810     [Address on File]    5/21/2023 Bitcoin                                 0.007922 Customer Transfer
 Confidential Customer Coin Transferee #810     [Address on File]    5/30/2023 Bitcoin                              0.00442443 Customer Transfer
 Confidential Customer Coin Transferee #811     [Address on File]    5/20/2023 Bitcoin                              0.01292289 Customer Transfer
 Confidential Customer Coin Transferee #811     [Address on File]    5/27/2023 Bitcoin                              0.01119785 Customer Transfer
 Confidential Customer Coin Transferee #811     [Address on File]    5/28/2023 Bitcoin                              0.00733922 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #812     [Address on File]    5/30/2023 Bitcoin                                       0.05 Customer Transfer
 Confidential Customer Coin Transferee #813     [Address on File]    5/16/2023 Bitcoin                              0.00927543 Customer Transfer
 Confidential Customer Coin Transferee #814     [Address on File]    5/23/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #815     [Address on File]    5/31/2023 Bitcoin                                 0.003595 Customer Transfer
 Confidential Customer Coin Transferee #815     [Address on File]    5/30/2023 Bitcoin                              0.00358105 Customer Transfer
 Confidential Customer Coin Transferee #816     [Address on File]    5/25/2023 Bitcoin                              0.07544595 Customer Transfer
 Confidential Customer Coin Transferee #817     [Address on File]    5/18/2023 Bitcoin                                 0.017625 Customer Transfer
 Confidential Customer Coin Transferee #818     [Address on File]    5/25/2023 Bitcoin                              0.01593673 Customer Transfer
 Confidential Customer Coin Transferee #819     [Address on File]    5/26/2023 Bitcoin                              0.02706294 Customer Transfer
 Confidential Customer Coin Transferee #819     [Address on File]    5/18/2023 Bitcoin                                    0.0026 Customer Transfer
 Confidential Customer Coin Transferee #820     [Address on File]    5/19/2023 Bitcoin                                 0.000925 Customer Transfer
 Confidential Customer Coin Transferee #820     [Address on File]    5/19/2023 Bitcoin                              0.00091365 Customer Transfer
 Confidential Customer Coin Transferee #820     [Address on File]    5/17/2023 Bitcoin                              0.00080699 Customer Transfer
 Confidential Customer Coin Transferee #821     [Address on File]    5/21/2023 Bitcoin                              0.00185186 Customer Transfer
 Confidential Customer Coin Transferee #821     [Address on File]    5/20/2023 Bitcoin                              0.00092555 Customer Transfer
 Confidential Customer Coin Transferee #821     [Address on File]    5/20/2023 Bitcoin                              0.00092514 Customer Transfer
 Confidential Customer Coin Transferee #822     [Address on File]    5/29/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #822     [Address on File]    5/30/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #822     [Address on File]    5/29/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #823     [Address on File]    5/18/2023 Bitcoin                              0.00363297 Customer Transfer
 Confidential Customer Coin Transferee #824     [Address on File]    5/27/2023 Bitcoin                              0.01099485 Customer Transfer
 Confidential Customer Coin Transferee #824     [Address on File]    5/26/2023 Bitcoin                              0.00018782 Customer Transfer
 Confidential Customer Coin Transferee #825     [Address on File]    5/27/2023 Bitcoin                              0.01449858 Customer Transfer
 Confidential Customer Coin Transferee #826     [Address on File]    5/29/2023 Bitcoin                              0.01025478 Customer Transfer
 Confidential Customer Coin Transferee #827     [Address on File]    6/19/2023 Bitcoin                              0.00036478 Customer Transfer
 Confidential Customer Coin Transferee #828     [Address on File]    6/20/2023 Bitcoin                              0.00005805 Customer Transfer
 Confidential Customer Coin Transferee #829     [Address on File]    5/26/2023 Bitcoin                              0.00278843 Customer Transfer
 Confidential Customer Coin Transferee #829     [Address on File]    5/19/2023 Bitcoin                               0.0025971 Customer Transfer
 Confidential Customer Coin Transferee #830     [Address on File]    5/25/2023 Bitcoin                              0.01796032 Customer Transfer
 Confidential Customer Coin Transferee #830     [Address on File]    5/18/2023 Bitcoin                              0.01695571 Customer Transfer
 Confidential Customer Coin Transferee #831     [Address on File]    6/20/2023 Bitcoin                               0.0001164 Customer Transfer
 Confidential Customer Coin Transferee #832     [Address on File]    5/17/2023 USDC Avalanche)                     2993.661901 Customer Transfer
 Confidential Customer Coin Transferee #832     [Address on File]    5/20/2023 USDC Avalanche)                     2993.073463 Customer Transfer
 Confidential Customer Coin Transferee #832     [Address on File]    5/19/2023 USDC Avalanche)                     2992.774335 Customer Transfer
 Confidential Customer Coin Transferee #832     [Address on File]    5/24/2023 USDC Avalanche)                     1994.961511 Customer Transfer
 Confidential Customer Coin Transferee #833     [Address on File]    6/19/2023 Bitcoin                              0.00035145 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #834     [Address on File]    5/29/2023 Bitcoin                               0.0022125 Customer Transfer
 Confidential Customer Coin Transferee #834     [Address on File]    6/20/2023 Bitcoin                              0.00155165 Customer Transfer
 Confidential Customer Coin Transferee #834     [Address on File]     6/1/2023 Bitcoin                              0.00073308 Customer Transfer
 Confidential Customer Coin Transferee #835     [Address on File]    5/24/2023 Bitcoin                              0.10796161 Customer Transfer
 Confidential Customer Coin Transferee #836     [Address on File]    5/26/2023 Bitcoin                              0.02137296 Customer Transfer
 Confidential Customer Coin Transferee #836     [Address on File]    5/29/2023 Bitcoin                              0.00926008 Customer Transfer
 Confidential Customer Coin Transferee #836     [Address on File]    5/22/2023 Bitcoin                               0.0092059 Customer Transfer
 Confidential Customer Coin Transferee #836     [Address on File]    5/29/2023 Bitcoin                              0.00862786 Customer Transfer
 Confidential Customer Coin Transferee #836     [Address on File]    5/18/2023 Bitcoin                              0.00731098 Customer Transfer
 Confidential Customer Coin Transferee #836     [Address on File]    5/17/2023 Bitcoin                              0.00370347 Customer Transfer
 Confidential Customer Coin Transferee #837     [Address on File]    6/13/2023 Cardano                              155.490483 Customer Transfer
 Confidential Customer Coin Transferee #837     [Address on File]    5/16/2023 Cardano                               98.678889 Customer Transfer
 Confidential Customer Coin Transferee #838     [Address on File]     6/5/2023 Bitcoin                              0.00018099 Customer Transfer
 Confidential Customer Coin Transferee #839     [Address on File]     6/7/2023 Bitcoin                              0.00286383 Customer Transfer
 Confidential Customer Coin Transferee #840     [Address on File]    5/25/2023 Bitcoin                              0.00362372 Customer Transfer
 Confidential Customer Coin Transferee #841     [Address on File]    5/24/2023 Bitcoin                              0.00210765 Customer Transfer
 Confidential Customer Coin Transferee #842     [Address on File]    6/20/2023 Bitcoin                              0.00040284 Customer Transfer
 Confidential Customer Coin Transferee #843     [Address on File]    5/20/2023 Bitcoin                              0.14750757 Customer Transfer
 Confidential Customer Coin Transferee #844     [Address on File]    6/19/2023 Bitcoin                              0.00097633 Customer Transfer
 Confidential Customer Coin Transferee #845     [Address on File]    6/20/2023 Bitcoin                              0.00138864 Customer Transfer
 Confidential Customer Coin Transferee #846     [Address on File]    6/16/2023 Bitcoin                               0.0001191 Customer Transfer
 Confidential Customer Coin Transferee #847     [Address on File]    6/21/2023 Bitcoin                              0.00018382 Customer Transfer
 Confidential Customer Coin Transferee #847     [Address on File]    6/21/2023 Bitcoin                              0.00017965 Customer Transfer
 Confidential Customer Coin Transferee #848     [Address on File]    6/20/2023 Bitcoin                              0.00011664 Customer Transfer
 Confidential Customer Coin Transferee #849     [Address on File]    5/26/2023 Bitcoin                              0.00131725 Customer Transfer
 Confidential Customer Coin Transferee #849     [Address on File]    5/19/2023 Bitcoin                              0.00100737 Customer Transfer
 Confidential Customer Coin Transferee #849     [Address on File]    5/19/2023 Bitcoin                                  0.00029 Customer Transfer
 Confidential Customer Coin Transferee #850     [Address on File]    5/23/2023 Bitcoin                              0.01050338 Customer Transfer
 Confidential Customer Coin Transferee #851     [Address on File]    6/20/2023 Bitcoin                              0.00115412 Customer Transfer
 Confidential Customer Coin Transferee #852     [Address on File]     6/5/2023 Bitcoin                              0.00575808 Customer Transfer
 Confidential Customer Coin Transferee #853     [Address on File]    5/27/2023 Bitcoin                              0.02521909 Customer Transfer
 Confidential Customer Coin Transferee #854     [Address on File]    5/29/2023 Bitcoin                              0.00134247 Customer Transfer
 Confidential Customer Coin Transferee #854     [Address on File]    5/19/2023 Bitcoin                               0.0011035 Customer Transfer
 Confidential Customer Coin Transferee #854     [Address on File]    5/23/2023 Bitcoin                              0.00080817 Customer Transfer
 Confidential Customer Coin Transferee #854     [Address on File]    5/22/2023 Bitcoin                              0.00038734 Customer Transfer
 Confidential Customer Coin Transferee #854     [Address on File]    5/17/2023 Bitcoin                              0.00034337 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
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                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #854     [Address on File]    5/31/2023 Bitcoin                              0.00031411 Customer Transfer
 Confidential Customer Coin Transferee #854     [Address on File]     6/7/2023 Bitcoin                              0.00014524 Customer Transfer
 Confidential Customer Coin Transferee #855     [Address on File]     6/7/2023 Bitcoin                              0.00953834 Customer Transfer
 Confidential Customer Coin Transferee #855     [Address on File]    6/13/2023 Bitcoin                              0.00882505 Customer Transfer
 Confidential Customer Coin Transferee #855     [Address on File]    6/12/2023 Bitcoin                              0.00376268 Customer Transfer
 Confidential Customer Coin Transferee #856     [Address on File]    5/20/2023 Bitcoin                              0.00180699 Customer Transfer
 Confidential Customer Coin Transferee #857     [Address on File]    6/14/2023 Bitcoin                              0.00379883 Customer Transfer
 Confidential Customer Coin Transferee #858     [Address on File]    5/22/2023 Bitcoin                              0.01408682 Customer Transfer
 Confidential Customer Coin Transferee #859     [Address on File]    6/20/2023 Bitcoin                              0.00599269 Customer Transfer
 Confidential Customer Coin Transferee #860     [Address on File]    5/30/2023 Bitcoin                               0.0502394 Customer Transfer
 Confidential Customer Coin Transferee #861     [Address on File]    6/20/2023 Bitcoin                              0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #862     [Address on File]    5/25/2023 Bitcoin                                    0.043 Customer Transfer
 Confidential Customer Coin Transferee #862     [Address on File]    5/19/2023 Bitcoin                                     0.04 Customer Transfer
 Confidential Customer Coin Transferee #863     [Address on File]    6/18/2023 Bitcoin                               0.0125481 Customer Transfer
 Confidential Customer Coin Transferee #864     [Address on File]    5/26/2023 Bitcoin                              0.02400989 Customer Transfer
 Confidential Customer Coin Transferee #865     [Address on File]    6/20/2023 Bitcoin                              0.00539541 Customer Transfer
 Confidential Customer Coin Transferee #866     [Address on File]    6/19/2023 Bitcoin                              0.00419842 Customer Transfer
 Confidential Customer Coin Transferee #867     [Address on File]    5/24/2023 Bitcoin                              0.09243919 Customer Transfer
 Confidential Customer Coin Transferee #867     [Address on File]    5/17/2023 Bitcoin                              0.06676684 Customer Transfer
 Confidential Customer Coin Transferee #868     [Address on File]    6/19/2023 Bitcoin                              0.00198158 Customer Transfer
 Confidential Customer Coin Transferee #868     [Address on File]    5/22/2023 Bitcoin                              0.00184139 Customer Transfer
 Confidential Customer Coin Transferee #869     [Address on File]    6/19/2023 Bitcoin                              0.00732149 Customer Transfer
 Confidential Customer Coin Transferee #870     [Address on File]    5/24/2023 Bitcoin                              0.02660183 Customer Transfer
 Confidential Customer Coin Transferee #871     [Address on File]    5/22/2023 Bitcoin                               0.1258083 Customer Transfer
 Confidential Customer Coin Transferee #871     [Address on File]    5/23/2023 Bitcoin                              0.07465488 Customer Transfer
 Confidential Customer Coin Transferee #871     [Address on File]    5/16/2023 Bitcoin                              0.03502345 Customer Transfer
 Confidential Customer Coin Transferee #872     [Address on File]    6/12/2023 Bitcoin                              0.00074886 Customer Transfer
 Confidential Customer Coin Transferee #873     [Address on File]    6/19/2023 Bitcoin                              0.00680462 Customer Transfer

 Confidential Customer Coin Transferee #874     [Address on File]    5/22/2023 Bitcoin                                 0.01697509 Customer Transfer
 Confidential Customer Coin Transferee #875     [Address on File]    5/28/2023 Bitcoin                                 0.05792149 Customer Transfer
 Confidential Customer Coin Transferee #875     [Address on File]    6/10/2023 Bitcoin                                 0.00184133 Customer Transfer
 Confidential Customer Coin Transferee #875     [Address on File]    6/15/2023 Bitcoin                                 0.00182745 Customer Transfer
 Confidential Customer Coin Transferee #876     [Address on File]    6/20/2023 Bitcoin                                 0.00044558 Customer Transfer

 Confidential Customer Coin Transferee #877     [Address on File]      6/8/2023 Bitcoin                                0.20001017 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #878     [Address on File]    5/26/2023 Bitcoin                              0.00956761 Customer Transfer
 Confidential Customer Coin Transferee #878     [Address on File]    5/27/2023 Bitcoin                              0.00140467 Customer Transfer
 Confidential Customer Coin Transferee #878     [Address on File]    5/20/2023 Bitcoin                              0.00108115 Customer Transfer
 Confidential Customer Coin Transferee #878     [Address on File]    5/29/2023 Bitcoin                              0.00073419 Customer Transfer
 Confidential Customer Coin Transferee #879     [Address on File]    5/19/2023 USDC Avalanche)                     1395.081967 Customer Transfer
 Confidential Customer Coin Transferee #879     [Address on File]    5/31/2023 USDC Avalanche)                       96.881559 Customer Transfer
 Confidential Customer Coin Transferee #879     [Address on File]    5/20/2023 Ether                                   0.410628 Customer Transfer
 Confidential Customer Coin Transferee #880     [Address on File]    6/20/2023 Bitcoin                              0.00023968 Customer Transfer
 Confidential Customer Coin Transferee #881     [Address on File]    6/20/2023 Bitcoin                              0.00059713 Customer Transfer
 Confidential Customer Coin Transferee #882     [Address on File]     6/9/2023 USDC Solana)                                  50 Customer Transfer
 Confidential Customer Coin Transferee #883     [Address on File]     6/7/2023 Bitcoin                              0.01477604 Customer Transfer
 Confidential Customer Coin Transferee #883     [Address on File]    5/22/2023 Bitcoin                              0.01105491 Customer Transfer
 Confidential Customer Coin Transferee #884     [Address on File]    6/15/2023 Bitcoin                              0.00452659 Customer Transfer
 Confidential Customer Coin Transferee #884     [Address on File]    5/19/2023 Bitcoin                              0.00201937 Customer Transfer
 Confidential Customer Coin Transferee #884     [Address on File]    5/25/2023 Bitcoin                              0.00136725 Customer Transfer
 Confidential Customer Coin Transferee #884     [Address on File]     6/2/2023 Bitcoin                               0.0010321 Customer Transfer
 Confidential Customer Coin Transferee #884     [Address on File]    6/12/2023 Bitcoin                              0.00100985 Customer Transfer
 Confidential Customer Coin Transferee #884     [Address on File]     6/7/2023 Bitcoin                              0.00100053 Customer Transfer
 Confidential Customer Coin Transferee #884     [Address on File]    5/23/2023 Bitcoin                              0.00099151 Customer Transfer
 Confidential Customer Coin Transferee #884     [Address on File]    6/16/2023 Bitcoin                              0.00074468 Customer Transfer
 Confidential Customer Coin Transferee #884     [Address on File]    6/12/2023 Bitcoin                              0.00050254 Customer Transfer
 Confidential Customer Coin Transferee #884     [Address on File]    5/22/2023 Bitcoin                              0.00048252 Customer Transfer
 Confidential Customer Coin Transferee #884     [Address on File]     6/9/2023 Bitcoin                              0.00003778 Customer Transfer
 Confidential Customer Coin Transferee #885     [Address on File]    6/20/2023 Bitcoin                              0.00005996 Customer Transfer
 Confidential Customer Coin Transferee #886     [Address on File]    6/20/2023 Bitcoin                              0.00045291 Customer Transfer
 Confidential Customer Coin Transferee #887     [Address on File]    5/28/2023 Bitcoin                              0.01035517 Customer Transfer
 Confidential Customer Coin Transferee #888     [Address on File]    5/16/2023 Bitcoin                              0.01038784 Customer Transfer
 Confidential Customer Coin Transferee #889     [Address on File]    6/19/2023 Bitcoin                              0.00030027 Customer Transfer
 Confidential Customer Coin Transferee #890     [Address on File]    5/18/2023 Bitcoin                              0.06227529 Customer Transfer
 Confidential Customer Coin Transferee #891     [Address on File]     6/9/2023 Bitcoin                               0.0037019 Customer Transfer
 Confidential Customer Coin Transferee #891     [Address on File]    5/17/2023 Bitcoin                              0.00344623 Customer Transfer
 Confidential Customer Coin Transferee #892     [Address on File]     6/5/2023 Bitcoin                              0.00072703 Customer Transfer
 Confidential Customer Coin Transferee #892     [Address on File]    6/16/2023 Bitcoin                              0.00052813 Customer Transfer
 Confidential Customer Coin Transferee #892     [Address on File]     6/6/2023 Bitcoin                              0.00042854 Customer Transfer
 Confidential Customer Coin Transferee #892     [Address on File]     6/2/2023 Bitcoin                              0.00024713 Customer Transfer
 Confidential Customer Coin Transferee #892     [Address on File]    5/22/2023 Bitcoin                              0.00011711 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #892     [Address on File]    5/26/2023 Bitcoin                              0.00010958 Customer Transfer
 Confidential Customer Coin Transferee #893     [Address on File]    6/20/2023 Bitcoin                              0.00005819 Customer Transfer
 Confidential Customer Coin Transferee #894     [Address on File]    6/19/2023 Bitcoin                              0.00005819 Customer Transfer
 Confidential Customer Coin Transferee #895     [Address on File]    5/26/2023 Bitcoin                              0.00657357 Customer Transfer
 Confidential Customer Coin Transferee #896     [Address on File]    6/20/2023 Bitcoin                              0.00038551 Customer Transfer
 Confidential Customer Coin Transferee #897     [Address on File]     6/7/2023 Bitcoin                              0.03808167 Customer Transfer
 Confidential Customer Coin Transferee #897     [Address on File]    6/19/2023 Bitcoin                              0.00011552 Customer Transfer
 Confidential Customer Coin Transferee #898     [Address on File]    6/16/2023 Bitcoin                               0.0788849 Customer Transfer
 Confidential Customer Coin Transferee #899     [Address on File]     6/8/2023 Bitcoin                              0.00104184 Customer Transfer
 Confidential Customer Coin Transferee #900     [Address on File]    5/29/2023 Bitcoin                              0.01035599 Customer Transfer
 Confidential Customer Coin Transferee #901     [Address on File]    5/24/2023 Bitcoin                              0.02894464 Customer Transfer
 Confidential Customer Coin Transferee #901     [Address on File]    5/21/2023 Bitcoin                               0.0202544 Customer Transfer
 Confidential Customer Coin Transferee #901     [Address on File]    5/17/2023 Bitcoin                              0.01323751 Customer Transfer
 Confidential Customer Coin Transferee #902     [Address on File]    6/15/2023 Ether                                   0.117908 Customer Transfer
 Confidential Customer Coin Transferee #902     [Address on File]    5/30/2023 Ether                                   0.050475 Customer Transfer
 Confidential Customer Coin Transferee #903     [Address on File]    5/16/2023 Bitcoin                              0.05482305 Customer Transfer
 Confidential Customer Coin Transferee #903     [Address on File]    5/22/2023 Bitcoin                              0.05472273 Customer Transfer
 Confidential Customer Coin Transferee #903     [Address on File]    5/29/2023 Bitcoin                              0.05258686 Customer Transfer
 Confidential Customer Coin Transferee #904     [Address on File]     6/8/2023 Bitcoin                              0.00326225 Customer Transfer
 Confidential Customer Coin Transferee #904     [Address on File]    6/19/2023 Bitcoin                              0.00135515 Customer Transfer
 Confidential Customer Coin Transferee #904     [Address on File]    5/22/2023 Bitcoin                               0.0011829 Customer Transfer
 Confidential Customer Coin Transferee #904     [Address on File]    6/12/2023 Bitcoin                              0.00115229 Customer Transfer
 Confidential Customer Coin Transferee #905     [Address on File]    5/21/2023 Bitcoin                              0.00455299 Customer Transfer
 Confidential Customer Coin Transferee #906     [Address on File]    5/23/2023 Bitcoin                              0.01425355 Customer Transfer
 Confidential Customer Coin Transferee #907     [Address on File]    6/20/2023 Bitcoin                              0.00702197 Customer Transfer
 Confidential Customer Coin Transferee #908     [Address on File]    5/21/2023 Bitcoin                              0.00181205 Customer Transfer
 Confidential Customer Coin Transferee #908     [Address on File]    5/16/2023 Bitcoin                              0.00178373 Customer Transfer
 Confidential Customer Coin Transferee #909     [Address on File]    6/20/2023 Bitcoin                              0.00093269 Customer Transfer
 Confidential Customer Coin Transferee #910     [Address on File]     6/9/2023 Bitcoin                              0.00437391 Customer Transfer
 Confidential Customer Coin Transferee #910     [Address on File]     6/9/2023 Bitcoin                                  0.00005 Customer Transfer
 Confidential Customer Coin Transferee #911     [Address on File]    6/17/2023 Cosmos Hub ATOM)                      16.994725 Customer Transfer
 Confidential Customer Coin Transferee #912     [Address on File]    6/20/2023 Bitcoin                              0.00108959 Customer Transfer
 Confidential Customer Coin Transferee #913     [Address on File]    5/22/2023 Bitcoin                              0.01023935 Customer Transfer
 Confidential Customer Coin Transferee #913     [Address on File]    6/20/2023 Bitcoin                              0.00449795 Customer Transfer
 Confidential Customer Coin Transferee #914     [Address on File]    6/19/2023 Bitcoin                              0.00522148 Customer Transfer
 Confidential Customer Coin Transferee #915     [Address on File]    6/20/2023 Bitcoin                              0.00013823 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/19/2023 Bitcoin                              0.00734002 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]     6/2/2023 Bitcoin                              0.00728286 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/30/2023 Bitcoin                              0.00701302 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/16/2023 Bitcoin                              0.00655433 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/16/2023 Bitcoin                              0.00580179 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/18/2023 Bitcoin                               0.0057421 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/19/2023 Bitcoin                              0.00565796 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/16/2023 Bitcoin                              0.00560741 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]     6/2/2023 Bitcoin                              0.00545605 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/16/2023 Bitcoin                              0.00543514 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/19/2023 Bitcoin                              0.00542942 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/30/2023 Bitcoin                               0.0052766 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]     6/2/2023 Bitcoin                              0.00471221 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/16/2023 Bitcoin                              0.00453928 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]     6/8/2023 Bitcoin                              0.00445924 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/30/2023 Bitcoin                              0.00442724 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/30/2023 Bitcoin                              0.00426197 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]     6/7/2023 Bitcoin                              0.00402519 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/19/2023 Bitcoin                              0.00364969 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/22/2023 Bitcoin                              0.00364851 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/22/2023 Bitcoin                              0.00364797 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/17/2023 Bitcoin                              0.00363155 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]     6/2/2023 Bitcoin                              0.00361266 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/16/2023 Bitcoin                              0.00326828 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/25/2023 Bitcoin                              0.00298872 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/26/2023 Bitcoin                              0.00277796 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    6/12/2023 Bitcoin                              0.00276468 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/26/2023 Bitcoin                              0.00274645 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/25/2023 Bitcoin                              0.00206007 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/25/2023 Bitcoin                              0.00204681 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/25/2023 Bitcoin                              0.00185337 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/22/2023 Bitcoin                              0.00182705 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/23/2023 Bitcoin                              0.00164431 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/16/2023 Bitcoin                              0.00145085 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/22/2023 Bitcoin                              0.00131572 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]     6/6/2023 Bitcoin                              0.00114464 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #916     [Address on File]     6/5/2023 Bitcoin                              0.00107937 Customer Transfer
 Confidential Customer Coin Transferee #916     [Address on File]    5/26/2023 Bitcoin                              0.00091709 Customer Transfer
 Confidential Customer Coin Transferee #917     [Address on File]     6/9/2023 Bitcoin                              0.00119681 Customer Transfer
 Confidential Customer Coin Transferee #917     [Address on File]    5/22/2023 Bitcoin                              0.00065525 Customer Transfer
 Confidential Customer Coin Transferee #917     [Address on File]    6/20/2023 Bitcoin                               0.0003499 Customer Transfer
 Confidential Customer Coin Transferee #918     [Address on File]    6/20/2023 Bitcoin                              0.00578008 Customer Transfer
 Confidential Customer Coin Transferee #919     [Address on File]    5/18/2023 USDC Avalanche)                      297.381047 Customer Transfer
 Confidential Customer Coin Transferee #919     [Address on File]    5/26/2023 USDC Avalanche)                      297.291895 Customer Transfer
 Confidential Customer Coin Transferee #920     [Address on File]    6/19/2023 Bitcoin                              0.01551768 Customer Transfer
 Confidential Customer Coin Transferee #921     [Address on File]    6/20/2023 Bitcoin                              0.00428185 Customer Transfer
 Confidential Customer Coin Transferee #922     [Address on File]    6/12/2023 Bitcoin                              0.02570901 Customer Transfer
 Confidential Customer Coin Transferee #922     [Address on File]    6/19/2023 Bitcoin                              0.00386212 Customer Transfer
 Confidential Customer Coin Transferee #923     [Address on File]    6/19/2023 Bitcoin                              0.00351418 Customer Transfer
 Confidential Customer Coin Transferee #924     [Address on File]    6/19/2023 Bitcoin                              0.00560028 Customer Transfer
 Confidential Customer Coin Transferee #925     [Address on File]    5/20/2023 Bitcoin                              0.02395527 Customer Transfer
 Confidential Customer Coin Transferee #925     [Address on File]    5/22/2023 Bitcoin                               0.0103896 Customer Transfer
 Confidential Customer Coin Transferee #926     [Address on File]    5/22/2023 Bitcoin                              0.01063555 Customer Transfer
 Confidential Customer Coin Transferee #927     [Address on File]    5/26/2023 Bitcoin                              0.00183868 Customer Transfer
 Confidential Customer Coin Transferee #927     [Address on File]    5/19/2023 Bitcoin                              0.00173672 Customer Transfer
 Confidential Customer Coin Transferee #928     [Address on File]    5/18/2023 Bitcoin                              0.03191099 Customer Transfer
 Confidential Customer Coin Transferee #929     [Address on File]    5/29/2023 Bitcoin                              0.01067714 Customer Transfer
 Confidential Customer Coin Transferee #929     [Address on File]    5/21/2023 Bitcoin                              0.01010701 Customer Transfer
 Confidential Customer Coin Transferee #930     [Address on File]    5/23/2023 Bitcoin                              0.00186118 Customer Transfer
 Confidential Customer Coin Transferee #930     [Address on File]    5/26/2023 Bitcoin                              0.00145742 Customer Transfer
 Confidential Customer Coin Transferee #931     [Address on File]    6/19/2023 Bitcoin                              0.00711904 Customer Transfer
 Confidential Customer Coin Transferee #932     [Address on File]    5/28/2023 Solana                                 9.647804 Customer Transfer
 Confidential Customer Coin Transferee #932     [Address on File]    6/16/2023 Ether                                    0.41537 Customer Transfer
 Confidential Customer Coin Transferee #933     [Address on File]    6/20/2023 Bitcoin                              0.00029267 Customer Transfer
 Confidential Customer Coin Transferee #934     [Address on File]    6/20/2023 Bitcoin                              0.00005825 Customer Transfer
 Confidential Customer Coin Transferee #935     [Address on File]    6/20/2023 Bitcoin                              0.00023751 Customer Transfer
 Confidential Customer Coin Transferee #936     [Address on File]    6/19/2023 Bitcoin                              0.00059101 Customer Transfer
 Confidential Customer Coin Transferee #937     [Address on File]    6/20/2023 Bitcoin                              0.00046798 Customer Transfer
 Confidential Customer Coin Transferee #938     [Address on File]    6/19/2023 Bitcoin                              0.05238741 Customer Transfer
 Confidential Customer Coin Transferee #939     [Address on File]    5/26/2023 Bitcoin                              0.00645793 Customer Transfer
 Confidential Customer Coin Transferee #939     [Address on File]    5/19/2023 Bitcoin                              0.00610801 Customer Transfer
 Confidential Customer Coin Transferee #940     [Address on File]    5/21/2023 Bitcoin                              0.01040738 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #941     [Address on File]    5/25/2023 Bitcoin                              0.01013933 Customer Transfer
 Confidential Customer Coin Transferee #942     [Address on File]    6/19/2023 Bitcoin                              0.00504669 Customer Transfer
 Confidential Customer Coin Transferee #943     [Address on File]    5/16/2023 Bitcoin                              0.00842621 Customer Transfer
 Confidential Customer Coin Transferee #944     [Address on File]    5/17/2023 Bitcoin                              0.07277719 Customer Transfer
 Confidential Customer Coin Transferee #944     [Address on File]    5/22/2023 Bitcoin                              0.00545251 Customer Transfer
 Confidential Customer Coin Transferee #945     [Address on File]     6/9/2023 Bitcoin                              0.00544923 Customer Transfer
 Confidential Customer Coin Transferee #945     [Address on File]    5/26/2023 Bitcoin                                 0.002588 Customer Transfer
 Confidential Customer Coin Transferee #945     [Address on File]    6/20/2023 Bitcoin                              0.00197655 Customer Transfer
 Confidential Customer Coin Transferee #946     [Address on File]     6/3/2023 Bitcoin                              0.02422796 Customer Transfer

 Confidential Customer Coin Transferee #947     [Address on File]    5/24/2023 Bitcoin                                 0.00098509 Customer Transfer
 Confidential Customer Coin Transferee #948     [Address on File]    5/24/2023 Bitcoin                                 0.02159939 Customer Transfer
 Confidential Customer Coin Transferee #948     [Address on File]    5/17/2023 Bitcoin                                 0.00346488 Customer Transfer
 Confidential Customer Coin Transferee #949     [Address on File]    6/19/2023 Bitcoin                                 0.00143917 Customer Transfer
 Confidential Customer Coin Transferee #950     [Address on File]    6/20/2023 Bitcoin                                 0.00006801 Customer Transfer
 Confidential Customer Coin Transferee #951     [Address on File]    6/20/2023 Bitcoin                                 0.00454772 Customer Transfer
 Confidential Customer Coin Transferee #952     [Address on File]    5/25/2023 Bitcoin                                 0.02613271 Customer Transfer
 Confidential Customer Coin Transferee #952     [Address on File]    6/19/2023 Bitcoin                                 0.00394034 Customer Transfer
 Confidential Customer Coin Transferee #953     [Address on File]    5/17/2023 Bitcoin                                 0.00380121 Customer Transfer
 Confidential Customer Coin Transferee #954     [Address on File]    5/24/2023 Bitcoin                                 0.00361008 Customer Transfer
 Confidential Customer Coin Transferee #954     [Address on File]    5/17/2023 Bitcoin                                 0.00349668 Customer Transfer
 Confidential Customer Coin Transferee #955     [Address on File]    6/19/2023 Bitcoin                                 0.00036219 Customer Transfer
 Confidential Customer Coin Transferee #956     [Address on File]    6/19/2023 Bitcoin                                 0.00157042 Customer Transfer
 Confidential Customer Coin Transferee #957     [Address on File]     6/5/2023 Bitcoin                                 0.02001805 Customer Transfer
 Confidential Customer Coin Transferee #957     [Address on File]    5/31/2023 Bitcoin                                 0.01034456 Customer Transfer
 Confidential Customer Coin Transferee #957     [Address on File]    5/31/2023 Bitcoin                                 0.00498673 Customer Transfer
 Confidential Customer Coin Transferee #958     [Address on File]    6/20/2023 Bitcoin                                 0.00364291 Customer Transfer
 Confidential Customer Coin Transferee #958     [Address on File]    5/20/2023 Bitcoin                                 0.00327236 Customer Transfer
 Confidential Customer Coin Transferee #959     [Address on File]    6/20/2023 Bitcoin                                 0.00005816 Customer Transfer
 Confidential Customer Coin Transferee #960     [Address on File]    6/20/2023 Bitcoin                                 0.00527738 Customer Transfer
 Confidential Customer Coin Transferee #961     [Address on File]     6/6/2023 Bitcoin                                 0.01122423 Customer Transfer
 Confidential Customer Coin Transferee #962     [Address on File]    5/17/2023 Bitcoin                                 0.01070986 Customer Transfer
 Confidential Customer Coin Transferee #962     [Address on File]    5/24/2023 Bitcoin                                     0.00409 Customer Transfer
 Confidential Customer Coin Transferee #963     [Address on File]    5/16/2023 Bitcoin                                 0.01024141 Customer Transfer
 Confidential Customer Coin Transferee #964     [Address on File]    5/19/2023 Bitcoin                                 0.03579561 Customer Transfer
 Confidential Customer Coin Transferee #965     [Address on File]    6/20/2023 Bitcoin                                 0.00115827 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #966     [Address on File]    6/20/2023 Bitcoin                              0.00476154 Customer Transfer
 Confidential Customer Coin Transferee #967     [Address on File]    6/19/2023 Bitcoin                              0.00413496 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/28/2023 Bitcoin                                     0.003 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/28/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/28/2023 Bitcoin                                    0.0007 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/22/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/28/2023 Bitcoin                                    0.0004 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/29/2023 Bitcoin                              0.00038974 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/26/2023 Bitcoin                              0.00021366 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/28/2023 Bitcoin                              0.00020191 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/20/2023 Bitcoin                               0.0001272 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/31/2023 Bitcoin                              0.00009853 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/31/2023 Bitcoin                              0.00007045 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/22/2023 Bitcoin                               0.0000475 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/28/2023 Bitcoin                              0.00003635 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/18/2023 Bitcoin                                  0.00003 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/16/2023 Bitcoin                                 0.000025 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/18/2023 Bitcoin                                 0.000025 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/22/2023 Bitcoin                                 0.000025 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/19/2023 Bitcoin                              0.00001999 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/16/2023 Bitcoin                              0.00001974 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/29/2023 Bitcoin                              0.00001888 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/16/2023 Bitcoin                              0.00001693 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/16/2023 Bitcoin                              0.00001656 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                                 0.000016 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                                 0.000016 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/18/2023 Bitcoin                              0.00001539 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/16/2023 Bitcoin                                 0.000015 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                                 0.000015 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/18/2023 Bitcoin                                 0.000015 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/20/2023 Bitcoin                                 0.000015 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/18/2023 Bitcoin                                 0.000014 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/22/2023 Bitcoin                                 0.000013 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/18/2023 Bitcoin                               0.0000125 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/18/2023 Bitcoin                               0.0000125 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/20/2023 Bitcoin                              0.00001201 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                                 0.000012 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/16/2023 Bitcoin                               0.0000116 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/18/2023 Bitcoin                                 0.000011 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/20/2023 Bitcoin                                 0.000011 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/20/2023 Bitcoin                                 0.000011 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/20/2023 Bitcoin                                 0.000011 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/20/2023 Bitcoin                                 0.000011 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/20/2023 Bitcoin                                 0.000011 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/20/2023 Bitcoin                                 0.000011 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/22/2023 Bitcoin                                 0.000011 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                              0.00001094 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                              0.00001069 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/22/2023 Bitcoin                              0.00001059 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/20/2023 Bitcoin                              0.00001052 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                              0.00001046 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/22/2023 Bitcoin                              0.00001041 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                              0.00001029 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/18/2023 Bitcoin                              0.00001029 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/22/2023 Bitcoin                              0.00001023 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/16/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/16/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/16/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/17/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #968     [Address on File]    5/22/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #969     [Address on File]    5/18/2023 Bitcoin                              0.00109924 Customer Transfer
 Confidential Customer Coin Transferee #970     [Address on File]    6/19/2023 Bitcoin                              0.00925664 Customer Transfer
 Confidential Customer Coin Transferee #971     [Address on File]    5/17/2023 Bitcoin                              0.01316132 Customer Transfer
 Confidential Customer Coin Transferee #972     [Address on File]    5/21/2023 Bitcoin                              0.01041549 Customer Transfer
 Confidential Customer Coin Transferee #973     [Address on File]    5/24/2023 Bitcoin                              0.02048782 Customer Transfer
 Confidential Customer Coin Transferee #974     [Address on File]    6/19/2023 Bitcoin                              0.00226454 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #975     [Address on File]    5/16/2023 Bitcoin                                  0.11148 Customer Transfer
 Confidential Customer Coin Transferee #976     [Address on File]    5/31/2023 Bitcoin                              0.07533525 Customer Transfer
 Confidential Customer Coin Transferee #977     [Address on File]    5/22/2023 Bitcoin                              0.00036229 Customer Transfer
 Confidential Customer Coin Transferee #977     [Address on File]    5/22/2023 Bitcoin                              0.00035371 Customer Transfer
 Confidential Customer Coin Transferee #977     [Address on File]    5/22/2023 Bitcoin                              0.00035365 Customer Transfer
 Confidential Customer Coin Transferee #977     [Address on File]    5/20/2023 Bitcoin                              0.00031611 Customer Transfer
 Confidential Customer Coin Transferee #977     [Address on File]    5/31/2023 Bitcoin                              0.00017035 Customer Transfer
 Confidential Customer Coin Transferee #977     [Address on File]    5/16/2023 Bitcoin                              0.00016983 Customer Transfer
 Confidential Customer Coin Transferee #977     [Address on File]    5/20/2023 Bitcoin                              0.00013515 Customer Transfer
 Confidential Customer Coin Transferee #977     [Address on File]    5/23/2023 Bitcoin                              0.00012404 Customer Transfer
 Confidential Customer Coin Transferee #977     [Address on File]    5/17/2023 Bitcoin                              0.00007991 Customer Transfer
 Confidential Customer Coin Transferee #977     [Address on File]    5/26/2023 Bitcoin                              0.00007768 Customer Transfer
 Confidential Customer Coin Transferee #977     [Address on File]    5/16/2023 Bitcoin                              0.00006244 Customer Transfer
 Confidential Customer Coin Transferee #978     [Address on File]    5/30/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #979     [Address on File]     6/5/2023 Bitcoin                              0.00410432 Customer Transfer
 Confidential Customer Coin Transferee #979     [Address on File]    5/22/2023 Bitcoin                              0.00312328 Customer Transfer
 Confidential Customer Coin Transferee #979     [Address on File]    6/12/2023 Bitcoin                              0.00303356 Customer Transfer
 Confidential Customer Coin Transferee #979     [Address on File]    6/19/2023 Bitcoin                              0.00269626 Customer Transfer
 Confidential Customer Coin Transferee #979     [Address on File]    5/29/2023 Bitcoin                              0.00220919 Customer Transfer

 Confidential Customer Coin Transferee #980     [Address on File]      6/9/2023 Tether USD                             509.058332 Customer Transfer

 Confidential Customer Coin Transferee #980     [Address on File]    6/12/2023 Bitcoin                                 0.00511566 Customer Transfer
 Confidential Customer Coin Transferee #981     [Address on File]     6/9/2023 Bitcoin                                 0.01094872 Customer Transfer
 Confidential Customer Coin Transferee #982     [Address on File]    5/23/2023 Bitcoin                                 0.00185999 Customer Transfer
 Confidential Customer Coin Transferee #982     [Address on File]    5/16/2023 Bitcoin                                 0.00168032 Customer Transfer
 Confidential Customer Coin Transferee #983     [Address on File]     6/7/2023 Bitcoin                                 0.00020607 Customer Transfer
 Confidential Customer Coin Transferee #984     [Address on File]    6/20/2023 Bitcoin                                 0.00110205 Customer Transfer
 Confidential Customer Coin Transferee #985     [Address on File]    5/29/2023 Bitcoin                                 0.04746102 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/22/2023 Bitcoin                                 0.00539895 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/22/2023 Bitcoin                                 0.00535712 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/28/2023 Bitcoin                                  0.0048036 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/22/2023 Bitcoin                                 0.00469803 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/19/2023 Bitcoin                                 0.00358503 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/24/2023 Bitcoin                                     0.00347 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/25/2023 Bitcoin                                 0.00287917 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/23/2023 Bitcoin                              0.00287202 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/22/2023 Bitcoin                              0.00250306 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/22/2023 Bitcoin                              0.00215886 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/22/2023 Bitcoin                              0.00214457 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/18/2023 Bitcoin                              0.00176459 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/20/2023 Bitcoin                              0.00141575 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/31/2023 Bitcoin                              0.00102816 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/20/2023 Bitcoin                              0.00067748 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/17/2023 Bitcoin                              0.00053442 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/16/2023 Bitcoin                              0.00053272 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/25/2023 Bitcoin                              0.00041823 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/25/2023 Bitcoin                              0.00033103 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/24/2023 Bitcoin                              0.00027397 Customer Transfer
 Confidential Customer Coin Transferee #986     [Address on File]    5/24/2023 Bitcoin                              0.00010076 Customer Transfer
 Confidential Customer Coin Transferee #987     [Address on File]    5/26/2023 Bitcoin                              0.03574648 Customer Transfer
 Confidential Customer Coin Transferee #987     [Address on File]    5/27/2023 Bitcoin                              0.01859895 Customer Transfer
 Confidential Customer Coin Transferee #987     [Address on File]    5/19/2023 Bitcoin                              0.01852106 Customer Transfer
 Confidential Customer Coin Transferee #987     [Address on File]    5/31/2023 Bitcoin                               0.0014693 Customer Transfer
 Confidential Customer Coin Transferee #987     [Address on File]    5/18/2023 Bitcoin                              0.00037316 Customer Transfer
 Confidential Customer Coin Transferee #988     [Address on File]    5/24/2023 Bitcoin                              0.06112413 Customer Transfer
 Confidential Customer Coin Transferee #989     [Address on File]    5/22/2023 Bitcoin                               0.0258302 Customer Transfer
 Confidential Customer Coin Transferee #989     [Address on File]    5/31/2023 Bitcoin                                 0.007392 Customer Transfer

 Confidential Customer Coin Transferee #990     [Address on File]    5/25/2023 Tether USD                                1900.805 Customer Transfer

 Confidential Customer Coin Transferee #990     [Address on File]    5/25/2023 Avalanche CChain)                       94.5954107 Customer Transfer
 Confidential Customer Coin Transferee #991     [Address on File]    5/22/2023 Bitcoin                                 0.09936279 Customer Transfer
 Confidential Customer Coin Transferee #992     [Address on File]    5/19/2023 Bitcoin                                 0.01636579 Customer Transfer
 Confidential Customer Coin Transferee #993     [Address on File]    6/14/2023 USDC Avalanche)                         700.749625 Customer Transfer
 Confidential Customer Coin Transferee #993     [Address on File]    5/19/2023 USDC Avalanche)                         496.281859 Customer Transfer
 Confidential Customer Coin Transferee #993     [Address on File]    5/30/2023 USDC Avalanche)                          222.71637 Customer Transfer
 Confidential Customer Coin Transferee #993     [Address on File]    6/13/2023 USDC Avalanche)                         207.506997 Customer Transfer
 Confidential Customer Coin Transferee #994     [Address on File]    6/20/2023 Bitcoin                                 0.00692635 Customer Transfer
 Confidential Customer Coin Transferee #995     [Address on File]    5/30/2023 Bitcoin                                       0.025 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    6/15/2023 Tether USD                                    2500 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    6/22/2023 Tether USD                                      800 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    5/17/2023 Tether USD                                   500 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    5/16/2023 Tether USD                                   499 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]     6/8/2023 Tether USD                                   498 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]     6/9/2023 Tether USD                                   498 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    6/19/2023 Tether USD                                   400 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    6/20/2023 Tether USD                                   400 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]     6/7/2023 Tether USD                                   349 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    5/19/2023 Tether USD                                   300 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    6/20/2023 Tether USD                                   300 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    6/16/2023 Tether USD                                   200 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    5/18/2023 Tether USD                                   125 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    5/24/2023 Tether USD                                   117 Customer Transfer
 Confidential Customer Coin Transferee #996     [Address on File]    6/15/2023 Tether USD                                   100 Customer Transfer
 Confidential Customer Coin Transferee #997     [Address on File]    5/23/2023 Bitcoin                              0.00275707 Customer Transfer
 Confidential Customer Coin Transferee #997     [Address on File]    5/16/2023 Bitcoin                              0.00266366 Customer Transfer
 Confidential Customer Coin Transferee #998     [Address on File]    5/29/2023 Bitcoin                              0.01104426 Customer Transfer
 Confidential Customer Coin Transferee #999     [Address on File]    5/23/2023 Bitcoin                               0.0025254 Customer Transfer
 Confidential Customer Coin Transferee #999     [Address on File]    5/19/2023 Bitcoin                                 0.002238 Customer Transfer
 Confidential Customer Coin Transferee #999     [Address on File]    5/21/2023 Bitcoin                              0.00221399 Customer Transfer
 Confidential Customer Coin Transferee #999     [Address on File]    5/17/2023 Bitcoin                               0.0018235 Customer Transfer
 Confidential Customer Coin Transferee #999     [Address on File]    5/24/2023 Bitcoin                              0.00179232 Customer Transfer
 Confidential Customer Coin Transferee #999     [Address on File]    5/24/2023 Bitcoin                              0.00161305 Customer Transfer
 Confidential Customer Coin Transferee #999     [Address on File]    5/20/2023 Bitcoin                               0.0014787 Customer Transfer
 Confidential Customer Coin Transferee #999     [Address on File]    5/16/2023 Bitcoin                              0.00121902 Customer Transfer
 Confidential Customer Coin Transferee #999     [Address on File]    5/17/2023 Bitcoin                               0.0010944 Customer Transfer
 Confidential Customer Coin Transferee #999     [Address on File]    5/20/2023 Bitcoin                              0.00100305 Customer Transfer
 Confidential Customer Coin Transferee #1000    [Address on File]    5/20/2023 Bitcoin                              0.00554983 Customer Transfer
 Confidential Customer Coin Transferee #1001    [Address on File]    5/29/2023 Bitcoin                              0.01039175 Customer Transfer
 Confidential Customer Coin Transferee #1002    [Address on File]    5/19/2023 Bitcoin                              0.00365202 Customer Transfer
 Confidential Customer Coin Transferee #1003    [Address on File]    6/20/2023 Bitcoin                              0.00008309 Customer Transfer
 Confidential Customer Coin Transferee #1004    [Address on File]    6/20/2023 Bitcoin                              0.00057655 Customer Transfer

 Confidential Customer Coin Transferee #1005    [Address on File]     6/7/2023 Bitcoin                                 0.01049526 Customer Transfer
 Confidential Customer Coin Transferee #1006    [Address on File]    6/19/2023 Bitcoin                                 0.00075576 Customer Transfer
 Confidential Customer Coin Transferee #1007    [Address on File]    5/29/2023 Bitcoin                                 0.01132842 Customer Transfer
 Confidential Customer Coin Transferee #1008    [Address on File]    6/20/2023 Bitcoin                                 0.00060079 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #1009    [Address on File]    5/17/2023 Bitcoin                              0.03660609 Customer Transfer
 Confidential Customer Coin Transferee #1009    [Address on File]    5/20/2023 Bitcoin                              0.02608164 Customer Transfer
 Confidential Customer Coin Transferee #1010    [Address on File]    5/20/2023 Bitcoin                              0.01002254 Customer Transfer
 Confidential Customer Coin Transferee #1011    [Address on File]    6/20/2023 Bitcoin                              0.00151469 Customer Transfer
 Confidential Customer Coin Transferee #1012    [Address on File]    6/20/2023 Bitcoin                              0.00060569 Customer Transfer
 Confidential Customer Coin Transferee #1013    [Address on File]    6/20/2023 Bitcoin                              0.00385767 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/17/2023 Bitcoin                              0.00048349 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/17/2023 Bitcoin                               0.0003716 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/18/2023 Bitcoin                              0.00031799 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/20/2023 Bitcoin                              0.00027357 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/19/2023 Bitcoin                              0.00025949 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/16/2023 Bitcoin                              0.00022127 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/21/2023 Bitcoin                              0.00021981 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/19/2023 Bitcoin                              0.00020881 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/20/2023 Bitcoin                               0.0002048 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/20/2023 Bitcoin                              0.00020386 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/16/2023 Bitcoin                               0.0001952 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/25/2023 Bitcoin                               0.0001889 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/21/2023 Bitcoin                              0.00018672 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/19/2023 Bitcoin                              0.00018469 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/21/2023 Bitcoin                              0.00018304 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/20/2023 Bitcoin                              0.00017838 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/21/2023 Bitcoin                               0.0001782 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/19/2023 Bitcoin                              0.00017792 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/25/2023 Bitcoin                              0.00017746 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/23/2023 Bitcoin                              0.00017562 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/23/2023 Bitcoin                              0.00017279 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/24/2023 Bitcoin                              0.00016976 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/18/2023 Bitcoin                               0.0001689 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/23/2023 Bitcoin                              0.00016204 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/19/2023 Bitcoin                              0.00016096 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/24/2023 Bitcoin                              0.00014571 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/23/2023 Bitcoin                              0.00014553 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/20/2023 Bitcoin                              0.00014143 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/23/2023 Bitcoin                               0.0001396 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/22/2023 Bitcoin                              0.00013846 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/22/2023 Bitcoin                              0.00013716 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/25/2023 Bitcoin                              0.00012529 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/25/2023 Bitcoin                              0.00012338 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/22/2023 Bitcoin                              0.00011114 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/22/2023 Bitcoin                                 0.000111 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/22/2023 Bitcoin                              0.00011098 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/19/2023 Bitcoin                              0.00010013 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/24/2023 Bitcoin                              0.00007482 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/21/2023 Bitcoin                              0.00007193 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/16/2023 Bitcoin                              0.00007141 Customer Transfer
 Confidential Customer Coin Transferee #1014    [Address on File]    5/19/2023 Bitcoin                              0.00006716 Customer Transfer
 Confidential Customer Coin Transferee #1015    [Address on File]    5/30/2023 Bitcoin                              0.02678196 Customer Transfer
 Confidential Customer Coin Transferee #1016    [Address on File]    6/20/2023 Bitcoin                              0.00093319 Customer Transfer
 Confidential Customer Coin Transferee #1017    [Address on File]    5/23/2023 Bitcoin                              0.00088984 Customer Transfer
 Confidential Customer Coin Transferee #1018    [Address on File]    5/25/2023 Bitcoin                              0.02835862 Customer Transfer
 Confidential Customer Coin Transferee #1018    [Address on File]    5/19/2023 Bitcoin                              0.01456602 Customer Transfer
 Confidential Customer Coin Transferee #1019    [Address on File]     6/6/2023 Bitcoin                              0.00003854 Customer Transfer
 Confidential Customer Coin Transferee #1020    [Address on File]    5/16/2023 Bitcoin                              0.07817884 Customer Transfer
 Confidential Customer Coin Transferee #1021    [Address on File]    6/19/2023 Bitcoin                              0.00102975 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/31/2023 Bitcoin                              0.00278416 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/17/2023 Bitcoin                              0.00240288 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/19/2023 Bitcoin                              0.00147784 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/25/2023 Bitcoin                              0.00147123 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/23/2023 Bitcoin                              0.00142028 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/20/2023 Bitcoin                              0.00140426 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/21/2023 Bitcoin                              0.00113784 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/25/2023 Bitcoin                              0.00106052 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/21/2023 Bitcoin                              0.00099572 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/16/2023 Bitcoin                              0.00084633 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/28/2023 Bitcoin                              0.00072911 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/27/2023 Bitcoin                              0.00067826 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/28/2023 Bitcoin                              0.00065892 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/23/2023 Bitcoin                              0.00065758 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/17/2023 Bitcoin                              0.00049587 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/16/2023 Bitcoin                              0.00047653 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/27/2023 Bitcoin                              0.00034568 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/31/2023 Bitcoin                              0.00032213 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/28/2023 Bitcoin                              0.00018305 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/28/2023 Bitcoin                              0.00018286 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/30/2023 Bitcoin                              0.00012803 Customer Transfer
 Confidential Customer Coin Transferee #1022    [Address on File]    5/21/2023 Bitcoin                              0.00003719 Customer Transfer
 Confidential Customer Coin Transferee #1023    [Address on File]    5/28/2023 Bitcoin                                 0.000372 Customer Transfer
 Confidential Customer Coin Transferee #1024    [Address on File]    5/23/2023 Bitcoin                              0.00183657 Customer Transfer
 Confidential Customer Coin Transferee #1025    [Address on File]    5/22/2023 Bitcoin                              0.01074103 Customer Transfer
 Confidential Customer Coin Transferee #1026    [Address on File]    5/24/2023 Bitcoin                              0.00451468 Customer Transfer
 Confidential Customer Coin Transferee #1027    [Address on File]    5/20/2023 Bitcoin                              0.00036422 Customer Transfer
 Confidential Customer Coin Transferee #1028    [Address on File]    5/22/2023 Bitcoin                              0.01323137 Customer Transfer
 Confidential Customer Coin Transferee #1029    [Address on File]    6/20/2023 Bitcoin                              0.00054785 Customer Transfer
 Confidential Customer Coin Transferee #1030    [Address on File]    5/19/2023 Bitcoin                                  0.01853 Customer Transfer
 Confidential Customer Coin Transferee #1030    [Address on File]    5/21/2023 Bitcoin                                    0.0111 Customer Transfer
 Confidential Customer Coin Transferee #1030    [Address on File]    5/27/2023 Bitcoin                                 0.009314 Customer Transfer
 Confidential Customer Coin Transferee #1030    [Address on File]    5/25/2023 Bitcoin                                 0.007544 Customer Transfer
 Confidential Customer Coin Transferee #1030    [Address on File]    5/16/2023 Bitcoin                                  0.00735 Customer Transfer
 Confidential Customer Coin Transferee #1031    [Address on File]    5/21/2023 Bitcoin                                     0.007 Customer Transfer
 Confidential Customer Coin Transferee #1032    [Address on File]    5/18/2023 Bitcoin                              0.00254181 Customer Transfer
 Confidential Customer Coin Transferee #1032    [Address on File]    5/31/2023 Bitcoin                              0.00043962 Customer Transfer
 Confidential Customer Coin Transferee #1033    [Address on File]    6/20/2023 Bitcoin                              0.02177334 Customer Transfer
 Confidential Customer Coin Transferee #1034    [Address on File]    5/25/2023 Bitcoin                              0.03088764 Customer Transfer
 Confidential Customer Coin Transferee #1035    [Address on File]    5/26/2023 Bitcoin                              0.13430912 Customer Transfer
 Confidential Customer Coin Transferee #1036    [Address on File]    5/27/2023 Bitcoin                              0.17737346 Customer Transfer
 Confidential Customer Coin Transferee #1037    [Address on File]    6/19/2023 Bitcoin                              0.00038817 Customer Transfer
 Confidential Customer Coin Transferee #1038    [Address on File]    5/24/2023 Bitcoin                              0.01434051 Customer Transfer
 Confidential Customer Coin Transferee #1039    [Address on File]    5/22/2023 Bitcoin                              0.00102759 Customer Transfer
 Confidential Customer Coin Transferee #1039    [Address on File]    5/29/2023 Bitcoin                              0.00055513 Customer Transfer
 Confidential Customer Coin Transferee #1040    [Address on File]    5/24/2023 Bitcoin                              0.01476522 Customer Transfer
 Confidential Customer Coin Transferee #1040    [Address on File]    5/19/2023 Bitcoin                              0.01065204 Customer Transfer
 Confidential Customer Coin Transferee #1041    [Address on File]     6/9/2023 USDC Solana)                                  654 Customer Transfer
 Confidential Customer Coin Transferee #1041    [Address on File]    6/15/2023 USDC Solana)                               278.03 Customer Transfer
 Confidential Customer Coin Transferee #1041    [Address on File]    5/31/2023 USDC Solana)                                225.2 Customer Transfer
 Confidential Customer Coin Transferee #1042    [Address on File]    6/20/2023 Bitcoin                              0.00007004 Customer Transfer
 Confidential Customer Coin Transferee #1043    [Address on File]    5/19/2023 Bitcoin                              0.00502171 Customer Transfer
 Confidential Customer Coin Transferee #1044    [Address on File]    6/20/2023 Bitcoin                              0.01591867 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #1045    [Address on File]    6/19/2023 Bitcoin                                 0.000041 Customer Transfer
 Confidential Customer Coin Transferee #1046    [Address on File]    5/31/2023 Bitcoin                              0.10970143 Customer Transfer
 Confidential Customer Coin Transferee #1047    [Address on File]    5/19/2023 Bitcoin                              0.01086701 Customer Transfer
 Confidential Customer Coin Transferee #1047    [Address on File]    5/23/2023 Bitcoin                               0.0070914 Customer Transfer
 Confidential Customer Coin Transferee #1047    [Address on File]    5/16/2023 Bitcoin                              0.00361692 Customer Transfer
 Confidential Customer Coin Transferee #1047    [Address on File]    5/18/2023 Bitcoin                              0.00355817 Customer Transfer
 Confidential Customer Coin Transferee #1047    [Address on File]    5/23/2023 Bitcoin                              0.00069483 Customer Transfer
 Confidential Customer Coin Transferee #1048    [Address on File]    5/21/2023 Bitcoin                              0.00366028 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/19/2023 Bitcoin                              0.00628479 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/19/2023 Bitcoin                               0.0062594 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/24/2023 Bitcoin                              0.00380087 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/19/2023 Bitcoin                              0.00368996 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]     6/2/2023 Bitcoin                              0.00366904 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]     6/2/2023 Bitcoin                              0.00366279 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/20/2023 Bitcoin                              0.00361963 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/19/2023 Bitcoin                              0.00358976 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/26/2023 Bitcoin                              0.00305182 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/24/2023 Bitcoin                              0.00264865 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/20/2023 Bitcoin                              0.00236531 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/24/2023 Bitcoin                              0.00170605 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/21/2023 Bitcoin                              0.00136694 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/20/2023 Bitcoin                              0.00066296 Customer Transfer
 Confidential Customer Coin Transferee #1049    [Address on File]    5/31/2023 Bitcoin                              0.00013928 Customer Transfer
 Confidential Customer Coin Transferee #1050    [Address on File]    5/30/2023 Bitcoin                                    0.0035 Customer Transfer
 Confidential Customer Coin Transferee #1051    [Address on File]    6/20/2023 Bitcoin                              0.00006043 Customer Transfer
 Confidential Customer Coin Transferee #1052    [Address on File]    5/27/2023 Bitcoin                               0.0036461 Customer Transfer
 Confidential Customer Coin Transferee #1052    [Address on File]    5/22/2023 Bitcoin                              0.00181492 Customer Transfer
 Confidential Customer Coin Transferee #1052    [Address on File]    5/28/2023 Bitcoin                              0.00145141 Customer Transfer
 Confidential Customer Coin Transferee #1052    [Address on File]    5/28/2023 Bitcoin                                    0.0014 Customer Transfer
 Confidential Customer Coin Transferee #1052    [Address on File]    5/24/2023 Bitcoin                              0.00132693 Customer Transfer
 Confidential Customer Coin Transferee #1053    [Address on File]    5/16/2023 Bitcoin                              0.01105541 Customer Transfer
 Confidential Customer Coin Transferee #1053    [Address on File]    5/16/2023 Bitcoin                              0.00918614 Customer Transfer
 Confidential Customer Coin Transferee #1053    [Address on File]    5/17/2023 Bitcoin                              0.00917036 Customer Transfer
 Confidential Customer Coin Transferee #1053    [Address on File]    5/17/2023 Bitcoin                              0.00853862 Customer Transfer
 Confidential Customer Coin Transferee #1053    [Address on File]    5/16/2023 Bitcoin                               0.0084775 Customer Transfer
 Confidential Customer Coin Transferee #1054    [Address on File]    5/26/2023 Bitcoin                              0.01831776 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1055    [Address on File]    5/21/2023 Bitcoin                              0.00053773 Customer Transfer
 Confidential Customer Coin Transferee #1055    [Address on File]    5/17/2023 Bitcoin                              0.00015094 Customer Transfer
 Confidential Customer Coin Transferee #1055    [Address on File]    5/29/2023 Bitcoin                              0.00014129 Customer Transfer
 Confidential Customer Coin Transferee #1055    [Address on File]    5/22/2023 Bitcoin                              0.00010143 Customer Transfer
 Confidential Customer Coin Transferee #1056    [Address on File]    6/19/2023 Bitcoin                              0.00139361 Customer Transfer
 Confidential Customer Coin Transferee #1057    [Address on File]    5/26/2023 Bitcoin                              0.01128833 Customer Transfer
 Confidential Customer Coin Transferee #1058    [Address on File]    5/16/2023 Bitcoin                              0.00147294 Customer Transfer
 Confidential Customer Coin Transferee #1059    [Address on File]    5/25/2023 Bitcoin                              0.00049304 Customer Transfer
 Confidential Customer Coin Transferee #1060    [Address on File]    5/24/2023 Bitcoin                              0.10059353 Customer Transfer
 Confidential Customer Coin Transferee #1060    [Address on File]    5/26/2023 Bitcoin                              0.05311025 Customer Transfer
 Confidential Customer Coin Transferee #1060    [Address on File]    5/31/2023 Bitcoin                              0.01421291 Customer Transfer
 Confidential Customer Coin Transferee #1060    [Address on File]    5/27/2023 Bitcoin                              0.00708265 Customer Transfer
 Confidential Customer Coin Transferee #1061    [Address on File]    5/31/2023 Bitcoin                               0.0263763 Customer Transfer
 Confidential Customer Coin Transferee #1062    [Address on File]    5/23/2023 Bitcoin                               0.0011051 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/25/2023 Bitcoin                              0.00227652 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/26/2023 Bitcoin                              0.00187744 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/25/2023 Bitcoin                              0.00158973 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/25/2023 Bitcoin                              0.00151659 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/25/2023 Bitcoin                              0.00151568 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/28/2023 Bitcoin                               0.0012798 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/27/2023 Bitcoin                              0.00087148 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/28/2023 Bitcoin                              0.00075103 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/28/2023 Bitcoin                              0.00074964 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/28/2023 Bitcoin                              0.00074959 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/28/2023 Bitcoin                              0.00074918 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/28/2023 Bitcoin                              0.00074879 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/28/2023 Bitcoin                              0.00065646 Customer Transfer
 Confidential Customer Coin Transferee #1063    [Address on File]    5/30/2023 Bitcoin                              0.00017853 Customer Transfer
 Confidential Customer Coin Transferee #1064    [Address on File]    5/17/2023 Bitcoin                               0.0037099 Customer Transfer
 Confidential Customer Coin Transferee #1064    [Address on File]    5/17/2023 Bitcoin                              0.00368321 Customer Transfer
 Confidential Customer Coin Transferee #1064    [Address on File]    5/16/2023 Bitcoin                              0.00365473 Customer Transfer
 Confidential Customer Coin Transferee #1064    [Address on File]    5/16/2023 Bitcoin                              0.00183933 Customer Transfer
 Confidential Customer Coin Transferee #1064    [Address on File]    5/16/2023 Bitcoin                              0.00112593 Customer Transfer
 Confidential Customer Coin Transferee #1065    [Address on File]    5/27/2023 Bitcoin                              0.00371933 Customer Transfer
 Confidential Customer Coin Transferee #1066    [Address on File]    5/25/2023 Bitcoin                              0.07574347 Customer Transfer
 Confidential Customer Coin Transferee #1067    [Address on File]    5/27/2023 Bitcoin                                  0.00056 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #1067    [Address on File]    5/27/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #1068    [Address on File]    5/27/2023 Bitcoin                              0.00037086 Customer Transfer
 Confidential Customer Coin Transferee #1068    [Address on File]    5/16/2023 Bitcoin                              0.00018567 Customer Transfer
 Confidential Customer Coin Transferee #1069    [Address on File]    5/22/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #1070    [Address on File]    5/17/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #1070    [Address on File]    5/17/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #1071    [Address on File]    5/25/2023 Bitcoin                              0.00188595 Customer Transfer
 Confidential Customer Coin Transferee #1071    [Address on File]    5/20/2023 Bitcoin                              0.00183718 Customer Transfer
 Confidential Customer Coin Transferee #1072    [Address on File]    5/17/2023 Bitcoin                                  0.00493 Customer Transfer
 Confidential Customer Coin Transferee #1072    [Address on File]    5/23/2023 Bitcoin                              0.00328303 Customer Transfer
 Confidential Customer Coin Transferee #1072    [Address on File]    5/23/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #1072    [Address on File]    5/23/2023 Bitcoin                                  0.00036 Customer Transfer
 Confidential Customer Coin Transferee #1072    [Address on File]    5/17/2023 Bitcoin                              0.00033521 Customer Transfer
 Confidential Customer Coin Transferee #1073    [Address on File]    5/29/2023 Bitcoin                              0.00719158 Customer Transfer
 Confidential Customer Coin Transferee #1073    [Address on File]    5/31/2023 Bitcoin                              0.00369443 Customer Transfer
 Confidential Customer Coin Transferee #1073    [Address on File]    5/30/2023 Bitcoin                              0.00359156 Customer Transfer
 Confidential Customer Coin Transferee #1074    [Address on File]    6/19/2023 Bitcoin                              0.00140306 Customer Transfer
 Confidential Customer Coin Transferee #1075    [Address on File]    5/21/2023 Bitcoin                              0.02186673 Customer Transfer
 Confidential Customer Coin Transferee #1076    [Address on File]    5/17/2023 Bitcoin                                  0.00185 Customer Transfer
 Confidential Customer Coin Transferee #1077    [Address on File]    5/18/2023 Bitcoin                              0.05467012 Customer Transfer
 Confidential Customer Coin Transferee #1077    [Address on File]    5/17/2023 Bitcoin                                   0.0302 Customer Transfer
 Confidential Customer Coin Transferee #1077    [Address on File]    5/17/2023 Bitcoin                              0.00636109 Customer Transfer
 Confidential Customer Coin Transferee #1078    [Address on File]    5/26/2023 Bitcoin                              0.01891261 Customer Transfer
 Confidential Customer Coin Transferee #1079    [Address on File]    5/18/2023 Bitcoin                              0.00632425 Customer Transfer
 Confidential Customer Coin Transferee #1079    [Address on File]    5/29/2023 Bitcoin                              0.00509756 Customer Transfer
 Confidential Customer Coin Transferee #1079    [Address on File]    5/20/2023 Bitcoin                              0.00441705 Customer Transfer
 Confidential Customer Coin Transferee #1079    [Address on File]    5/28/2023 Bitcoin                              0.00365175 Customer Transfer
 Confidential Customer Coin Transferee #1079    [Address on File]    5/19/2023 Bitcoin                              0.00277791 Customer Transfer
 Confidential Customer Coin Transferee #1079    [Address on File]    5/22/2023 Bitcoin                              0.00269909 Customer Transfer
 Confidential Customer Coin Transferee #1079    [Address on File]    5/24/2023 Bitcoin                              0.00260302 Customer Transfer
 Confidential Customer Coin Transferee #1079    [Address on File]    5/24/2023 Bitcoin                              0.00163193 Customer Transfer
 Confidential Customer Coin Transferee #1080    [Address on File]    6/20/2023 Bitcoin                              0.00042668 Customer Transfer
 Confidential Customer Coin Transferee #1081    [Address on File]     6/2/2023 Bitcoin                              0.00074813 Customer Transfer

 Confidential Customer Coin Transferee #1082    [Address on File]    6/15/2023 Bitcoin                                     0.02145 Customer Transfer
 Confidential Customer Coin Transferee #1083    [Address on File]    6/20/2023 Bitcoin                                 0.00174383 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1084    [Address on File]    5/25/2023 Bitcoin                              0.00109435 Customer Transfer
 Confidential Customer Coin Transferee #1085    [Address on File]    6/20/2023 Bitcoin                              0.00057069 Customer Transfer
 Confidential Customer Coin Transferee #1086    [Address on File]    5/24/2023 Bitcoin                              0.05005367 Customer Transfer
 Confidential Customer Coin Transferee #1087    [Address on File]    5/21/2023 Bitcoin                              0.06982616 Customer Transfer
 Confidential Customer Coin Transferee #1088    [Address on File]    6/19/2023 Bitcoin                              0.00139521 Customer Transfer
 Confidential Customer Coin Transferee #1089    [Address on File]     6/1/2023 Bitcoin                              0.00036424 Customer Transfer
 Confidential Customer Coin Transferee #1090    [Address on File]    5/22/2023 Bitcoin                              0.28541964 Customer Transfer
 Confidential Customer Coin Transferee #1091    [Address on File]    5/19/2023 Bitcoin                              0.02566221 Customer Transfer
 Confidential Customer Coin Transferee #1092    [Address on File]    6/20/2023 Bitcoin                              0.00074564 Customer Transfer
 Confidential Customer Coin Transferee #1093    [Address on File]    6/18/2023 Bitcoin                              0.00289382 Customer Transfer
 Confidential Customer Coin Transferee #1094    [Address on File]    6/20/2023 Bitcoin                              0.00011218 Customer Transfer
 Confidential Customer Coin Transferee #1095    [Address on File]    6/19/2023 Bitcoin                              0.00057909 Customer Transfer
 Confidential Customer Coin Transferee #1096    [Address on File]    5/22/2023 Bitcoin                              0.01774587 Customer Transfer
 Confidential Customer Coin Transferee #1096    [Address on File]    5/22/2023 Bitcoin                              0.01378954 Customer Transfer
 Confidential Customer Coin Transferee #1096    [Address on File]    5/22/2023 Bitcoin                              0.00733639 Customer Transfer
 Confidential Customer Coin Transferee #1097    [Address on File]    5/25/2023 Bitcoin                              0.00182283 Customer Transfer
 Confidential Customer Coin Transferee #1098    [Address on File]    6/20/2023 Bitcoin                              0.00005603 Customer Transfer
 Confidential Customer Coin Transferee #1099    [Address on File]    5/26/2023 Bitcoin                              0.01014591 Customer Transfer
 Confidential Customer Coin Transferee #1100    [Address on File]    6/19/2023 Bitcoin                              0.04019451 Customer Transfer
 Confidential Customer Coin Transferee #1100    [Address on File]    5/18/2023 Bitcoin                                 0.024835 Customer Transfer
 Confidential Customer Coin Transferee #1101    [Address on File]    5/25/2023 Bitcoin                              0.06831383 Customer Transfer
 Confidential Customer Coin Transferee #1102    [Address on File]    6/20/2023 Bitcoin                              0.00057893 Customer Transfer
 Confidential Customer Coin Transferee #1103    [Address on File]    5/23/2023 Ether                               0.002672975 Customer Transfer
 Confidential Customer Coin Transferee #1104    [Address on File]    6/14/2023 Bitcoin                              0.00045554 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]     6/7/2023 Bitcoin                              0.03806607 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/29/2023 Bitcoin                              0.02714689 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    6/21/2023 Bitcoin                              0.02617104 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    6/12/2023 Bitcoin                              0.02602852 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/22/2023 Bitcoin                              0.01841849 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/31/2023 Bitcoin                              0.01718794 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]     6/6/2023 Bitcoin                              0.01661761 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/17/2023 Bitcoin                              0.01514032 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]     6/1/2023 Bitcoin                              0.01329396 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]     6/7/2023 Bitcoin                              0.01286576 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/26/2023 Bitcoin                               0.0125965 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]     6/2/2023 Bitcoin                              0.00994143 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]     6/9/2023 Bitcoin                              0.00971058 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/16/2023 Bitcoin                              0.00806478 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/19/2023 Bitcoin                              0.00698443 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    6/12/2023 Bitcoin                              0.00662308 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/30/2023 Bitcoin                              0.00656056 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/17/2023 Bitcoin                              0.00632811 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]     6/1/2023 Bitcoin                              0.00615147 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/22/2023 Bitcoin                              0.00589673 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    6/21/2023 Bitcoin                              0.00573653 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/25/2023 Bitcoin                              0.00545846 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]     6/8/2023 Bitcoin                              0.00414087 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/24/2023 Bitcoin                              0.00411004 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    6/13/2023 Bitcoin                              0.00402687 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]     6/2/2023 Bitcoin                              0.00384447 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/24/2023 Bitcoin                               0.0037822 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/25/2023 Bitcoin                               0.0037427 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    6/14/2023 Bitcoin                              0.00363697 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/30/2023 Bitcoin                              0.00357591 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/26/2023 Bitcoin                              0.00345038 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/24/2023 Bitcoin                              0.00253247 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/31/2023 Bitcoin                               0.0018496 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]     6/5/2023 Bitcoin                              0.00182393 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/24/2023 Bitcoin                              0.00168844 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]     6/2/2023 Bitcoin                              0.00120875 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/29/2023 Bitcoin                              0.00103142 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/23/2023 Bitcoin                              0.00088168 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/25/2023 Bitcoin                              0.00075089 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/18/2023 Bitcoin                              0.00036306 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/30/2023 Bitcoin                              0.00035612 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/22/2023 Bitcoin                              0.00025461 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/26/2023 Bitcoin                              0.00018553 Customer Transfer
 Confidential Customer Coin Transferee #1105    [Address on File]    5/30/2023 Bitcoin                              0.00007229 Customer Transfer
 Confidential Customer Coin Transferee #1106    [Address on File]    6/14/2023 Bitcoin                              0.00145603 Customer Transfer
 Confidential Customer Coin Transferee #1107    [Address on File]    5/31/2023 Bitcoin                                    0.184 Customer Transfer
 Confidential Customer Coin Transferee #1107    [Address on File]    5/16/2023 Bitcoin                              0.16440839 Customer Transfer
 Confidential Customer Coin Transferee #1108    [Address on File]    6/20/2023 Bitcoin                              0.00215631 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #1109    [Address on File]    5/29/2023 Bitcoin                              0.02605753 Customer Transfer
 Confidential Customer Coin Transferee #1110    [Address on File]    5/17/2023 Bitcoin                              0.02102754 Customer Transfer
 Confidential Customer Coin Transferee #1110    [Address on File]    5/22/2023 Bitcoin                              0.01478384 Customer Transfer
 Confidential Customer Coin Transferee #1110    [Address on File]    5/20/2023 Bitcoin                              0.01090518 Customer Transfer
 Confidential Customer Coin Transferee #1111    [Address on File]    6/20/2023 Bitcoin                              0.00744053 Customer Transfer
 Confidential Customer Coin Transferee #1112    [Address on File]    6/14/2023 Bitcoin                                 0.018494 Customer Transfer
 Confidential Customer Coin Transferee #1113    [Address on File]    5/30/2023 Bitcoin                              0.05025248 Customer Transfer
 Confidential Customer Coin Transferee #1114    [Address on File]    6/19/2023 Bitcoin                              0.00003273 Customer Transfer
 Confidential Customer Coin Transferee #1115    [Address on File]    6/19/2023 Bitcoin                              0.00074994 Customer Transfer
 Confidential Customer Coin Transferee #1116    [Address on File]    6/20/2023 Bitcoin                              0.00109509 Customer Transfer
 Confidential Customer Coin Transferee #1117    [Address on File]    5/25/2023 Bitcoin                              0.02054839 Customer Transfer
 Confidential Customer Coin Transferee #1117    [Address on File]    5/16/2023 Bitcoin                              0.00740692 Customer Transfer
 Confidential Customer Coin Transferee #1117    [Address on File]    6/19/2023 Bitcoin                              0.00395619 Customer Transfer
 Confidential Customer Coin Transferee #1118    [Address on File]    5/19/2023 Bitcoin                              0.02610458 Customer Transfer
 Confidential Customer Coin Transferee #1119    [Address on File]    5/16/2023 Bitcoin                              0.01821219 Customer Transfer
 Confidential Customer Coin Transferee #1120    [Address on File]    5/19/2023 Bitcoin                                    0.0001 Customer Transfer
 Confidential Customer Coin Transferee #1121    [Address on File]    6/12/2023 Bitcoin                              0.00190772 Customer Transfer
 Confidential Customer Coin Transferee #1122    [Address on File]    6/19/2023 Bitcoin                              0.00017149 Customer Transfer
 Confidential Customer Coin Transferee #1123    [Address on File]    5/17/2023 Bitcoin                              0.01571987 Customer Transfer
 Confidential Customer Coin Transferee #1123    [Address on File]    5/24/2023 Bitcoin                              0.01459477 Customer Transfer
 Confidential Customer Coin Transferee #1124    [Address on File]     6/9/2023 Bitcoin                              0.00288288 Customer Transfer
 Confidential Customer Coin Transferee #1125    [Address on File]    5/29/2023 Bitcoin                              0.04836511 Customer Transfer
 Confidential Customer Coin Transferee #1126    [Address on File]    6/19/2023 Bitcoin                              0.00065175 Customer Transfer
 Confidential Customer Coin Transferee #1127    [Address on File]    6/19/2023 Bitcoin                              0.00057839 Customer Transfer
 Confidential Customer Coin Transferee #1128    [Address on File]    6/12/2023 Bitcoin                              0.00406951 Customer Transfer
 Confidential Customer Coin Transferee #1129    [Address on File]    6/20/2023 Bitcoin                              0.00054346 Customer Transfer
 Confidential Customer Coin Transferee #1130    [Address on File]    5/20/2023 Bitcoin                              0.03499636 Customer Transfer
 Confidential Customer Coin Transferee #1131    [Address on File]    6/20/2023 Bitcoin                              0.00005835 Customer Transfer
 Confidential Customer Coin Transferee #1132    [Address on File]     6/8/2023 Bitcoin                              0.00598583 Customer Transfer
 Confidential Customer Coin Transferee #1133    [Address on File]    6/20/2023 Bitcoin                              0.00453809 Customer Transfer
 Confidential Customer Coin Transferee #1134    [Address on File]    6/20/2023 Bitcoin                              0.00009854 Customer Transfer
 Confidential Customer Coin Transferee #1135    [Address on File]    5/18/2023 Bitcoin                              0.01922469 Customer Transfer
 Confidential Customer Coin Transferee #1135    [Address on File]    5/25/2023 Bitcoin                              0.01758414 Customer Transfer
 Confidential Customer Coin Transferee #1136    [Address on File]    6/20/2023 Bitcoin                              0.00003575 Customer Transfer
 Confidential Customer Coin Transferee #1137    [Address on File]    5/20/2023 Bitcoin                               0.0105341 Customer Transfer
 Confidential Customer Coin Transferee #1138    [Address on File]    5/26/2023 Bitcoin                               0.0018681 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1138    [Address on File]    5/19/2023 Bitcoin                                 0.001687 Customer Transfer
 Confidential Customer Coin Transferee #1139    [Address on File]    6/20/2023 Bitcoin                              0.00069498 Customer Transfer
 Confidential Customer Coin Transferee #1140    [Address on File]    6/19/2023 Bitcoin                              0.00184581 Customer Transfer
 Confidential Customer Coin Transferee #1141    [Address on File]     6/6/2023 Bitcoin                              0.01688225 Customer Transfer
 Confidential Customer Coin Transferee #1142    [Address on File]    5/16/2023 Bitcoin                              0.00068454 Customer Transfer
 Confidential Customer Coin Transferee #1143    [Address on File]    5/26/2023 Bitcoin                              0.00184519 Customer Transfer

 Confidential Customer Coin Transferee #1144    [Address on File]     6/8/2023 Bitcoin                                 0.00119606 Customer Transfer
 Confidential Customer Coin Transferee #1145    [Address on File]    5/22/2023 Bitcoin                                 0.00203005 Customer Transfer
 Confidential Customer Coin Transferee #1145    [Address on File]    5/16/2023 Bitcoin                                 0.00145777 Customer Transfer
 Confidential Customer Coin Transferee #1145    [Address on File]    5/24/2023 Bitcoin                                 0.00111087 Customer Transfer
 Confidential Customer Coin Transferee #1145    [Address on File]    5/22/2023 Bitcoin                                 0.00092317 Customer Transfer
 Confidential Customer Coin Transferee #1145    [Address on File]    5/17/2023 Bitcoin                                 0.00092227 Customer Transfer
 Confidential Customer Coin Transferee #1145    [Address on File]    5/23/2023 Bitcoin                                 0.00073451 Customer Transfer
 Confidential Customer Coin Transferee #1145    [Address on File]    5/18/2023 Bitcoin                                 0.00054911 Customer Transfer
 Confidential Customer Coin Transferee #1145    [Address on File]    5/25/2023 Bitcoin                                  0.0004534 Customer Transfer
 Confidential Customer Coin Transferee #1146    [Address on File]    5/23/2023 Bitcoin                                  0.0035858 Customer Transfer
 Confidential Customer Coin Transferee #1147    [Address on File]     6/1/2023 Bitcoin                                 0.00614106 Customer Transfer
 Confidential Customer Coin Transferee #1148    [Address on File]    6/20/2023 Bitcoin                                 0.00532334 Customer Transfer
 Confidential Customer Coin Transferee #1149    [Address on File]    5/25/2023 Bitcoin                                       0.001 Customer Transfer

 Confidential Customer Coin Transferee #1150    [Address on File]    6/12/2023 Tether USD                               693.57091 Customer Transfer

 Confidential Customer Coin Transferee #1150    [Address on File]     6/8/2023 Bitcoin                                 0.06167927 Customer Transfer
 Confidential Customer Coin Transferee #1151    [Address on File]    5/24/2023 Bitcoin                                 0.01064596 Customer Transfer
 Confidential Customer Coin Transferee #1152    [Address on File]    6/20/2023 Bitcoin                                 0.00700174 Customer Transfer
 Confidential Customer Coin Transferee #1153    [Address on File]    5/19/2023 Bitcoin                                 0.00091431 Customer Transfer
 Confidential Customer Coin Transferee #1153    [Address on File]    5/26/2023 Bitcoin                                 0.00037881 Customer Transfer
 Confidential Customer Coin Transferee #1154    [Address on File]     6/8/2023 Cardano                                 950.993953 Customer Transfer
 Confidential Customer Coin Transferee #1155    [Address on File]    6/20/2023 Bitcoin                                 0.00029769 Customer Transfer
 Confidential Customer Coin Transferee #1156    [Address on File]    5/16/2023 Bitcoin                                  0.1163004 Customer Transfer
 Confidential Customer Coin Transferee #1156    [Address on File]    5/26/2023 Bitcoin                                        0.002 Customer Transfer
 Confidential Customer Coin Transferee #1157    [Address on File]    6/20/2023 CFV                                           76.31 Customer Transfer
 Confidential Customer Coin Transferee #1157    [Address on File]    6/20/2023 Recover Value USD                           40.0694 Customer Transfer
 Confidential Customer Coin Transferee #1157    [Address on File]    6/20/2023 USD Coin                                13.5302999 Customer Transfer
 Confidential Customer Coin Transferee #1158    [Address on File]    5/25/2023 Bitcoin                                    0.010435 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1158    [Address on File]    5/25/2023 Bitcoin                              0.01011375 Customer Transfer
 Confidential Customer Coin Transferee #1159    [Address on File]    6/20/2023 Bitcoin                              0.00375019 Customer Transfer
 Confidential Customer Coin Transferee #1159    [Address on File]     6/5/2023 Bitcoin                              0.00261788 Customer Transfer
 Confidential Customer Coin Transferee #1159    [Address on File]    5/22/2023 Bitcoin                              0.00231716 Customer Transfer
 Confidential Customer Coin Transferee #1159    [Address on File]    5/29/2023 Bitcoin                               0.0020002 Customer Transfer
 Confidential Customer Coin Transferee #1160    [Address on File]    5/17/2023 Bitcoin                              0.01046737 Customer Transfer
 Confidential Customer Coin Transferee #1161    [Address on File]    5/31/2023 Bitcoin                              0.01486689 Customer Transfer
 Confidential Customer Coin Transferee #1162    [Address on File]    5/30/2023 Bitcoin                              0.01639041 Customer Transfer
 Confidential Customer Coin Transferee #1163    [Address on File]    5/16/2023 Bitcoin                              0.14716311 Customer Transfer
 Confidential Customer Coin Transferee #1164    [Address on File]    5/24/2023 Bitcoin                              0.03720424 Customer Transfer
 Confidential Customer Coin Transferee #1165    [Address on File]    5/19/2023 Bitcoin                              0.00797059 Customer Transfer
 Confidential Customer Coin Transferee #1165    [Address on File]    5/29/2023 Bitcoin                              0.00534785 Customer Transfer
 Confidential Customer Coin Transferee #1165    [Address on File]    5/19/2023 Bitcoin                              0.00110784 Customer Transfer
 Confidential Customer Coin Transferee #1166    [Address on File]    5/31/2023 Bitcoin                               0.0010267 Customer Transfer
 Confidential Customer Coin Transferee #1166    [Address on File]    5/18/2023 Bitcoin                              0.00032772 Customer Transfer
 Confidential Customer Coin Transferee #1167    [Address on File]    5/23/2023 Bitcoin                              0.00346777 Customer Transfer
 Confidential Customer Coin Transferee #1168    [Address on File]    5/24/2023 USDC Avalanche)                     1994.202319 Customer Transfer
 Confidential Customer Coin Transferee #1168    [Address on File]    5/22/2023 USD Coin                            1492.433026 Customer Transfer
 Confidential Customer Coin Transferee #1168    [Address on File]    5/23/2023 USDC Avalanche)                     1459.936025 Customer Transfer
 Confidential Customer Coin Transferee #1168    [Address on File]    5/24/2023 USDC Avalanche)                      995.542228 Customer Transfer
 Confidential Customer Coin Transferee #1168    [Address on File]    5/23/2023 Ether                                   0.016406 Customer Transfer
 Confidential Customer Coin Transferee #1169    [Address on File]    6/20/2023 Bitcoin                              0.00059588 Customer Transfer
 Confidential Customer Coin Transferee #1170    [Address on File]     6/8/2023 Recover Value USD                     3331.5895 Customer Transfer
 Confidential Customer Coin Transferee #1170    [Address on File]     6/8/2023 USD Coin                               411.2782 Customer Transfer
 Confidential Customer Coin Transferee #1170    [Address on File]     6/8/2023 USD Coin                                      10 Customer Transfer
 Confidential Customer Coin Transferee #1170    [Address on File]     6/8/2023 Recover Value USD                             10 Customer Transfer
 Confidential Customer Coin Transferee #1171    [Address on File]    6/20/2023 Bitcoin                              0.00029696 Customer Transfer
 Confidential Customer Coin Transferee #1172    [Address on File]    6/20/2023 Bitcoin                              0.00011772 Customer Transfer
 Confidential Customer Coin Transferee #1173    [Address on File]    5/24/2023 Bitcoin                               0.0258229 Customer Transfer
 Confidential Customer Coin Transferee #1173    [Address on File]    5/19/2023 Bitcoin                              0.01468794 Customer Transfer
 Confidential Customer Coin Transferee #1174    [Address on File]    5/24/2023 Bitcoin                              0.07721289 Customer Transfer
 Confidential Customer Coin Transferee #1175    [Address on File]    5/16/2023 Bitcoin                              0.00528487 Customer Transfer

 Confidential Customer Coin Transferee #1176    [Address on File]    5/18/2023 Bitcoin                                 0.03899665 Customer Transfer

 Confidential Customer Coin Transferee #1176    [Address on File]    5/18/2023 Bitcoin                                    0.01575 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #1177    [Address on File]    6/20/2023 Bitcoin                              0.00148164 Customer Transfer
 Confidential Customer Coin Transferee #1178    [Address on File]    5/17/2023 Bitcoin                               0.2046269 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/17/2023 Bitcoin                              0.00129618 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/22/2023 Bitcoin                              0.00129224 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/19/2023 Bitcoin                              0.00111153 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/27/2023 Bitcoin                               0.0010043 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/27/2023 Bitcoin                              0.00100364 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/26/2023 Bitcoin                              0.00094104 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/18/2023 Bitcoin                              0.00092646 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/19/2023 Bitcoin                              0.00092394 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/16/2023 Bitcoin                               0.0009215 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/20/2023 Bitcoin                              0.00092017 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/16/2023 Bitcoin                              0.00091986 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/18/2023 Bitcoin                              0.00091297 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/18/2023 Bitcoin                              0.00090764 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/26/2023 Bitcoin                              0.00088941 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/21/2023 Bitcoin                              0.00074312 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/23/2023 Bitcoin                              0.00073535 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/21/2023 Bitcoin                              0.00073482 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/20/2023 Bitcoin                              0.00073274 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/23/2023 Bitcoin                              0.00072991 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/28/2023 Bitcoin                              0.00065925 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/19/2023 Bitcoin                              0.00062876 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/22/2023 Bitcoin                              0.00062534 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/20/2023 Bitcoin                              0.00059145 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/27/2023 Bitcoin                              0.00055932 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/27/2023 Bitcoin                               0.0005576 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/16/2023 Bitcoin                              0.00055224 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/16/2023 Bitcoin                              0.00055202 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/21/2023 Bitcoin                              0.00054812 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/20/2023 Bitcoin                              0.00051658 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/24/2023 Bitcoin                               0.0004912 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/27/2023 Bitcoin                              0.00037272 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/21/2023 Bitcoin                              0.00036976 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/29/2023 Bitcoin                              0.00035642 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/28/2023 Bitcoin                              0.00035572 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/28/2023 Bitcoin                              0.00035563 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/20/2023 Bitcoin                              0.00033295 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/28/2023 Bitcoin                              0.00031827 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/27/2023 Bitcoin                              0.00029655 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/29/2023 Bitcoin                              0.00025149 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/28/2023 Bitcoin                              0.00024986 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/22/2023 Bitcoin                              0.00018663 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/22/2023 Bitcoin                              0.00018501 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/22/2023 Bitcoin                              0.00011208 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/22/2023 Bitcoin                              0.00011199 Customer Transfer
 Confidential Customer Coin Transferee #1179    [Address on File]    5/21/2023 Bitcoin                              0.00009246 Customer Transfer

 Confidential Customer Coin Transferee #1180    [Address on File]    5/30/2023 Litecoin                                 0.0907722 Customer Transfer
 Confidential Customer Coin Transferee #1181    [Address on File]    6/15/2023 Solana                                   69.648951 Customer Transfer
 Confidential Customer Coin Transferee #1181    [Address on File]    5/19/2023 USD Coin                                 36.378173 Customer Transfer
 Confidential Customer Coin Transferee #1181    [Address on File]    5/19/2023 USD Coin                                 30.981411 Customer Transfer
 Confidential Customer Coin Transferee #1181    [Address on File]    6/18/2023 Solana                                   30.289102 Customer Transfer
 Confidential Customer Coin Transferee #1181    [Address on File]    6/19/2023 Solana                                    7.936692 Customer Transfer
 Confidential Customer Coin Transferee #1181    [Address on File]    6/21/2023 Ether                                      0.030113 Customer Transfer
 Confidential Customer Coin Transferee #1181    [Address on File]    6/21/2023 Ether                                      0.030066 Customer Transfer
 Confidential Customer Coin Transferee #1181    [Address on File]    6/21/2023 Ether                                      0.030029 Customer Transfer
 Confidential Customer Coin Transferee #1182    [Address on File]    6/19/2023 Bitcoin                                 0.00292074 Customer Transfer
 Confidential Customer Coin Transferee #1183    [Address on File]    5/21/2023 Bitcoin                                 0.19873585 Customer Transfer
 Confidential Customer Coin Transferee #1184    [Address on File]    5/23/2023 Bitcoin                                 0.01832129 Customer Transfer
 Confidential Customer Coin Transferee #1184    [Address on File]    5/29/2023 Bitcoin                                 0.01779915 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/20/2023 Bitcoin                                 0.00047714 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/16/2023 Bitcoin                                 0.00047669 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/16/2023 Bitcoin                                 0.00040271 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/16/2023 Bitcoin                                 0.00040255 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/16/2023 Bitcoin                                 0.00019786 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/19/2023 Bitcoin                                 0.00016982 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/16/2023 Bitcoin                                 0.00016499 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/16/2023 Bitcoin                                 0.00012542 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/19/2023 Bitcoin                                 0.00011093 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/16/2023 Bitcoin                                 0.00010976 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/16/2023 Bitcoin                                 0.00010686 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/20/2023 Bitcoin                              0.00007329 Customer Transfer
 Confidential Customer Coin Transferee #1185    [Address on File]    5/21/2023 Bitcoin                               0.0000121 Customer Transfer
 Confidential Customer Coin Transferee #1186    [Address on File]    5/27/2023 Bitcoin                              0.01859827 Customer Transfer
 Confidential Customer Coin Transferee #1186    [Address on File]    5/25/2023 Bitcoin                              0.00750864 Customer Transfer
 Confidential Customer Coin Transferee #1186    [Address on File]    5/25/2023 Bitcoin                              0.00733807 Customer Transfer
 Confidential Customer Coin Transferee #1186    [Address on File]    5/25/2023 Bitcoin                              0.00055596 Customer Transfer
 Confidential Customer Coin Transferee #1187    [Address on File]    6/20/2023 Bitcoin                              0.00005824 Customer Transfer
 Confidential Customer Coin Transferee #1188    [Address on File]    5/19/2023 Bitcoin                              0.08783525 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/16/2023 Bitcoin                               0.0007374 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/16/2023 Bitcoin                                  0.00037 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/16/2023 Bitcoin                                  0.00033 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/17/2023 Bitcoin                                  0.00033 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/18/2023 Bitcoin                                  0.00033 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/16/2023 Bitcoin                                  0.00022 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/24/2023 Bitcoin                                    0.0002 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/27/2023 Bitcoin                                    0.0002 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/27/2023 Bitcoin                                    0.0002 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/28/2023 Bitcoin                                    0.0002 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/28/2023 Bitcoin                                    0.0002 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/16/2023 Bitcoin                               0.0001738 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/24/2023 Bitcoin                                 0.000165 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/17/2023 Bitcoin                                  0.00015 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/18/2023 Bitcoin                                  0.00015 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/28/2023 Bitcoin                              0.00013893 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/24/2023 Bitcoin                                  0.00013 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/27/2023 Bitcoin                                  0.00013 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/28/2023 Bitcoin                                  0.00013 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/27/2023 Bitcoin                              0.00012649 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/28/2023 Bitcoin                              0.00012285 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/17/2023 Bitcoin                                  0.00012 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/24/2023 Bitcoin                                  0.00012 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/24/2023 Bitcoin                              0.00011569 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/28/2023 Bitcoin                                  0.00011 Customer Transfer
 Confidential Customer Coin Transferee #1189    [Address on File]    5/18/2023 Bitcoin                              0.00010284 Customer Transfer
 Confidential Customer Coin Transferee #1190    [Address on File]    5/29/2023 Bitcoin                               0.0001795 Customer Transfer
 Confidential Customer Coin Transferee #1191    [Address on File]    5/18/2023 Bitcoin                                     0.002 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1192    [Address on File]    5/19/2023 Bitcoin                              0.01055418 Customer Transfer
 Confidential Customer Coin Transferee #1193    [Address on File]    5/20/2023 Bitcoin                                  0.00875 Customer Transfer
 Confidential Customer Coin Transferee #1193    [Address on File]    5/29/2023 Bitcoin                                   0.0075 Customer Transfer

 Confidential Customer Coin Transferee #1194    [Address on File]    5/24/2023 Bitcoin                                    0.00375 Customer Transfer

 Confidential Customer Coin Transferee #1194    [Address on File]    5/21/2023 Bitcoin                                       0.0037 Customer Transfer
 Confidential Customer Coin Transferee #1195    [Address on File]    5/22/2023 Bitcoin                                 0.00372796 Customer Transfer
 Confidential Customer Coin Transferee #1195    [Address on File]    6/20/2023 Bitcoin                                 0.00270331 Customer Transfer
 Confidential Customer Coin Transferee #1196    [Address on File]    5/27/2023 Bitcoin                                 0.00346074 Customer Transfer
 Confidential Customer Coin Transferee #1196    [Address on File]    5/20/2023 Bitcoin                                 0.00053583 Customer Transfer
 Confidential Customer Coin Transferee #1197    [Address on File]    5/25/2023 Bitcoin                                 0.01066883 Customer Transfer
 Confidential Customer Coin Transferee #1198    [Address on File]    6/20/2023 Bitcoin                                 0.00028857 Customer Transfer
 Confidential Customer Coin Transferee #1199    [Address on File]    5/17/2023 Bitcoin                                 0.00112663 Customer Transfer
 Confidential Customer Coin Transferee #1200    [Address on File]    6/20/2023 Bitcoin                                 0.16257998 Customer Transfer
 Confidential Customer Coin Transferee #1201    [Address on File]    5/16/2023 Bitcoin                                 0.00153454 Customer Transfer
 Confidential Customer Coin Transferee #1201    [Address on File]    5/23/2023 Bitcoin                                 0.00149446 Customer Transfer
 Confidential Customer Coin Transferee #1201    [Address on File]    5/21/2023 Bitcoin                                  0.0012654 Customer Transfer
 Confidential Customer Coin Transferee #1201    [Address on File]    5/19/2023 Bitcoin                                 0.00090858 Customer Transfer
 Confidential Customer Coin Transferee #1201    [Address on File]    5/25/2023 Bitcoin                                 0.00037102 Customer Transfer
 Confidential Customer Coin Transferee #1201    [Address on File]    5/19/2023 Bitcoin                                 0.00036133 Customer Transfer
 Confidential Customer Coin Transferee #1201    [Address on File]    5/18/2023 Bitcoin                                 0.00034587 Customer Transfer
 Confidential Customer Coin Transferee #1202    [Address on File]    6/20/2023 Bitcoin                                 0.00040988 Customer Transfer
 Confidential Customer Coin Transferee #1203    [Address on File]    6/19/2023 Bitcoin                                 0.00005349 Customer Transfer
 Confidential Customer Coin Transferee #1204    [Address on File]    5/26/2023 Bitcoin                                 0.00183347 Customer Transfer
 Confidential Customer Coin Transferee #1205    [Address on File]    6/20/2023 Bitcoin                                  0.0030118 Customer Transfer
 Confidential Customer Coin Transferee #1206    [Address on File]    6/20/2023 Bitcoin                                 0.00077422 Customer Transfer
 Confidential Customer Coin Transferee #1207    [Address on File]    5/30/2023 Bitcoin                                 0.01133922 Customer Transfer
 Confidential Customer Coin Transferee #1207    [Address on File]    5/23/2023 Bitcoin                                 0.01132864 Customer Transfer
 Confidential Customer Coin Transferee #1207    [Address on File]    5/16/2023 Bitcoin                                 0.01130926 Customer Transfer
 Confidential Customer Coin Transferee #1208    [Address on File]    5/22/2023 Bitcoin                                 0.03687114 Customer Transfer
 Confidential Customer Coin Transferee #1208    [Address on File]    6/21/2023 Bitcoin                                 0.01971661 Customer Transfer
 Confidential Customer Coin Transferee #1208    [Address on File]     6/6/2023 Bitcoin                                    0.019207 Customer Transfer
 Confidential Customer Coin Transferee #1208    [Address on File]    6/21/2023 Bitcoin                                 0.01914967 Customer Transfer
 Confidential Customer Coin Transferee #1208    [Address on File]    5/25/2023 Bitcoin                                 0.01880565 Customer Transfer
 Confidential Customer Coin Transferee #1208    [Address on File]     6/2/2023 Bitcoin                                 0.01841928 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #1208    [Address on File]     6/1/2023 Bitcoin                              0.01829661 Customer Transfer
 Confidential Customer Coin Transferee #1208    [Address on File]    5/23/2023 Bitcoin                              0.01817517 Customer Transfer
 Confidential Customer Coin Transferee #1209    [Address on File]    6/14/2023 Tether USD                            2761.9265 Customer Transfer
 Confidential Customer Coin Transferee #1210    [Address on File]    6/19/2023 Bitcoin                              0.00208276 Customer Transfer
 Confidential Customer Coin Transferee #1211    [Address on File]    6/20/2023 Bitcoin                               0.0004504 Customer Transfer
 Confidential Customer Coin Transferee #1212    [Address on File]    5/20/2023 Bitcoin                              0.00090141 Customer Transfer
 Confidential Customer Coin Transferee #1213    [Address on File]    5/27/2023 Bitcoin                              0.03688204 Customer Transfer
 Confidential Customer Coin Transferee #1213    [Address on File]    5/27/2023 Bitcoin                              0.03655945 Customer Transfer
 Confidential Customer Coin Transferee #1213    [Address on File]    5/27/2023 Bitcoin                               0.0165281 Customer Transfer
 Confidential Customer Coin Transferee #1213    [Address on File]    5/27/2023 Bitcoin                              0.01240856 Customer Transfer
 Confidential Customer Coin Transferee #1214    [Address on File]    5/26/2023 Bitcoin                              0.00187789 Customer Transfer
 Confidential Customer Coin Transferee #1215    [Address on File]    5/19/2023 Bitcoin                              0.03249068 Customer Transfer

 Confidential Customer Coin Transferee #1216    [Address on File]    6/20/2023 Bitcoin                                 0.01818106 Customer Transfer

 Confidential Customer Coin Transferee #1216    [Address on File]     6/2/2023 Bitcoin                                    0.013613 Customer Transfer
 Confidential Customer Coin Transferee #1217    [Address on File]    6/19/2023 Bitcoin                                 0.00005816 Customer Transfer
 Confidential Customer Coin Transferee #1218    [Address on File]    5/25/2023 Bitcoin                                 0.00285083 Customer Transfer
 Confidential Customer Coin Transferee #1219    [Address on File]    6/20/2023 Bitcoin                                 0.00036443 Customer Transfer
 Confidential Customer Coin Transferee #1220    [Address on File]    5/24/2023 Bitcoin                                 0.07560445 Customer Transfer
 Confidential Customer Coin Transferee #1220    [Address on File]    5/30/2023 Bitcoin                                 0.07418818 Customer Transfer
 Confidential Customer Coin Transferee #1220    [Address on File]    5/17/2023 Bitcoin                                 0.07177916 Customer Transfer
 Confidential Customer Coin Transferee #1220    [Address on File]    5/30/2023 Bitcoin                                    0.070756 Customer Transfer
 Confidential Customer Coin Transferee #1221    [Address on File]    5/16/2023 Bitcoin                                 0.00159088 Customer Transfer
 Confidential Customer Coin Transferee #1222    [Address on File]    5/21/2023 Bitcoin                                 0.00016641 Customer Transfer
 Confidential Customer Coin Transferee #1223    [Address on File]    6/12/2023 Bitcoin                                 0.00760106 Customer Transfer
 Confidential Customer Coin Transferee #1223    [Address on File]    6/20/2023 Bitcoin                                 0.00118819 Customer Transfer
 Confidential Customer Coin Transferee #1224    [Address on File]    5/23/2023 Bitcoin                                 0.16235008 Customer Transfer
 Confidential Customer Coin Transferee #1225    [Address on File]    6/20/2023 Bitcoin                                 0.00174063 Customer Transfer
 Confidential Customer Coin Transferee #1226    [Address on File]    6/20/2023 Bitcoin                                 0.00471937 Customer Transfer
 Confidential Customer Coin Transferee #1227    [Address on File]    5/30/2023 Bitcoin                                 0.00139329 Customer Transfer
 Confidential Customer Coin Transferee #1227    [Address on File]    5/26/2023 Bitcoin                                 0.00109238 Customer Transfer
 Confidential Customer Coin Transferee #1227    [Address on File]    5/30/2023 Bitcoin                                 0.00073059 Customer Transfer
 Confidential Customer Coin Transferee #1228    [Address on File]    5/24/2023 Bitcoin                                 0.06149256 Customer Transfer
 Confidential Customer Coin Transferee #1228    [Address on File]    5/17/2023 Bitcoin                                        0.026 Customer Transfer
 Confidential Customer Coin Transferee #1228    [Address on File]    5/17/2023 Bitcoin                                    0.025698 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #1228    [Address on File]    5/17/2023 Bitcoin                              0.02451664 Customer Transfer
 Confidential Customer Coin Transferee #1229    [Address on File]    5/16/2023 Ether                                      0.1674 Customer Transfer
 Confidential Customer Coin Transferee #1229    [Address on File]    5/16/2023 Bitcoin                                    0.0126 Customer Transfer
 Confidential Customer Coin Transferee #1230    [Address on File]    5/16/2023 Bitcoin                              0.00183391 Customer Transfer
 Confidential Customer Coin Transferee #1230    [Address on File]    5/23/2023 Bitcoin                              0.00182138 Customer Transfer
 Confidential Customer Coin Transferee #1230    [Address on File]    5/31/2023 Bitcoin                              0.00179067 Customer Transfer
 Confidential Customer Coin Transferee #1231    [Address on File]    6/15/2023 Bitcoin                                 0.012556 Customer Transfer
 Confidential Customer Coin Transferee #1231    [Address on File]     6/5/2023 Bitcoin                                  0.00979 Customer Transfer
 Confidential Customer Coin Transferee #1232    [Address on File]    5/19/2023 Bitcoin                              0.00366975 Customer Transfer
 Confidential Customer Coin Transferee #1233    [Address on File]    5/27/2023 Bitcoin                               0.0185773 Customer Transfer
 Confidential Customer Coin Transferee #1234    [Address on File]    6/20/2023 Bitcoin                              0.00173028 Customer Transfer
 Confidential Customer Coin Transferee #1235    [Address on File]    6/19/2023 Bitcoin                              0.00180969 Customer Transfer
 Confidential Customer Coin Transferee #1236    [Address on File]    5/31/2023 USDC Avalanche)                      546.136931 Customer Transfer
 Confidential Customer Coin Transferee #1237    [Address on File]    6/20/2023 Bitcoin                              0.00093556 Customer Transfer
 Confidential Customer Coin Transferee #1238    [Address on File]    5/24/2023 Bitcoin                               0.0002783 Customer Transfer
 Confidential Customer Coin Transferee #1238    [Address on File]    5/24/2023 Bitcoin                              0.00009836 Customer Transfer
 Confidential Customer Coin Transferee #1239    [Address on File]    5/16/2023 Bitcoin                              0.00606733 Customer Transfer
 Confidential Customer Coin Transferee #1239    [Address on File]    5/29/2023 Bitcoin                              0.00577024 Customer Transfer
 Confidential Customer Coin Transferee #1239    [Address on File]    5/29/2023 Bitcoin                              0.00395414 Customer Transfer
 Confidential Customer Coin Transferee #1239    [Address on File]    5/29/2023 Bitcoin                               0.0039506 Customer Transfer
 Confidential Customer Coin Transferee #1240    [Address on File]    5/27/2023 Bitcoin                              0.00092998 Customer Transfer
 Confidential Customer Coin Transferee #1240    [Address on File]    5/27/2023 Bitcoin                              0.00078231 Customer Transfer
 Confidential Customer Coin Transferee #1241    [Address on File]    5/20/2023 Bitcoin                              0.00036986 Customer Transfer
 Confidential Customer Coin Transferee #1242    [Address on File]    5/17/2023 Bitcoin                                    0.1828 Customer Transfer
 Confidential Customer Coin Transferee #1242    [Address on File]    5/24/2023 Bitcoin                                       0.18 Customer Transfer
 Confidential Customer Coin Transferee #1242    [Address on File]    5/23/2023 Bitcoin                                 0.004258 Customer Transfer
 Confidential Customer Coin Transferee #1243    [Address on File]     6/1/2023 Bitcoin                              0.00218422 Customer Transfer
 Confidential Customer Coin Transferee #1243    [Address on File]    6/20/2023 Bitcoin                               0.0011571 Customer Transfer
 Confidential Customer Coin Transferee #1244    [Address on File]    5/25/2023 Bitcoin                              0.00717514 Customer Transfer
 Confidential Customer Coin Transferee #1245    [Address on File]    5/28/2023 Bitcoin                              0.03695653 Customer Transfer
 Confidential Customer Coin Transferee #1245    [Address on File]    5/17/2023 Bitcoin                              0.03658577 Customer Transfer
 Confidential Customer Coin Transferee #1246    [Address on File]    5/25/2023 Bitcoin                              0.00036066 Customer Transfer
 Confidential Customer Coin Transferee #1246    [Address on File]    5/18/2023 Bitcoin                               0.0003432 Customer Transfer
 Confidential Customer Coin Transferee #1247    [Address on File]    5/31/2023 Bitcoin                              0.01497228 Customer Transfer
 Confidential Customer Coin Transferee #1247    [Address on File]    5/24/2023 Bitcoin                               0.0084853 Customer Transfer
 Confidential Customer Coin Transferee #1247    [Address on File]    6/15/2023 Bitcoin                              0.00676027 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #1247    [Address on File]    5/19/2023 Bitcoin                              0.00177894 Customer Transfer
 Confidential Customer Coin Transferee #1248    [Address on File]    5/29/2023 Bitcoin                              0.30525477 Customer Transfer
 Confidential Customer Coin Transferee #1249    [Address on File]    6/19/2023 Bitcoin                              0.00058869 Customer Transfer
 Confidential Customer Coin Transferee #1250    [Address on File]    6/17/2023 Bitcoin                              0.00140772 Customer Transfer
 Confidential Customer Coin Transferee #1250    [Address on File]    6/12/2023 Bitcoin                              0.00077017 Customer Transfer
 Confidential Customer Coin Transferee #1251    [Address on File]    5/21/2023 Bitcoin                              0.00556939 Customer Transfer
 Confidential Customer Coin Transferee #1251    [Address on File]    5/22/2023 Bitcoin                              0.00369371 Customer Transfer
 Confidential Customer Coin Transferee #1251    [Address on File]    5/19/2023 Bitcoin                              0.00222552 Customer Transfer
 Confidential Customer Coin Transferee #1252    [Address on File]    5/31/2023 Bitcoin                              0.05004498 Customer Transfer
 Confidential Customer Coin Transferee #1253    [Address on File]    5/26/2023 Bitcoin                              0.01008525 Customer Transfer
 Confidential Customer Coin Transferee #1254    [Address on File]    6/19/2023 Bitcoin                              0.00031644 Customer Transfer
 Confidential Customer Coin Transferee #1255    [Address on File]    5/25/2023 Bitcoin                                     0.025 Customer Transfer
 Confidential Customer Coin Transferee #1256    [Address on File]    5/22/2023 Bitcoin                                       0.2 Customer Transfer
 Confidential Customer Coin Transferee #1256    [Address on File]    5/24/2023 Bitcoin                              0.15254918 Customer Transfer
 Confidential Customer Coin Transferee #1256    [Address on File]    5/19/2023 Bitcoin                                      0.12 Customer Transfer
 Confidential Customer Coin Transferee #1256    [Address on File]    5/23/2023 Bitcoin                              0.05262641 Customer Transfer
 Confidential Customer Coin Transferee #1256    [Address on File]    5/26/2023 Bitcoin                               0.0413034 Customer Transfer
 Confidential Customer Coin Transferee #1257    [Address on File]    5/18/2023 Bitcoin                                 0.005075 Customer Transfer
 Confidential Customer Coin Transferee #1258    [Address on File]    5/30/2023 Bitcoin                              0.00558933 Customer Transfer
 Confidential Customer Coin Transferee #1258    [Address on File]    6/17/2023 Bitcoin                              0.00529183 Customer Transfer
 Confidential Customer Coin Transferee #1259    [Address on File]    5/16/2023 Bitcoin                                  0.03975 Customer Transfer
 Confidential Customer Coin Transferee #1260    [Address on File]     6/7/2023 Ether                                   0.102383 Customer Transfer
 Confidential Customer Coin Transferee #1261    [Address on File]    6/19/2023 Bitcoin                              0.00118045 Customer Transfer
 Confidential Customer Coin Transferee #1262    [Address on File]    6/16/2023 USDC Solana)                          14.917787 Customer Transfer
 Confidential Customer Coin Transferee #1262    [Address on File]    6/16/2023 Solana                                 0.653342 Customer Transfer
 Confidential Customer Coin Transferee #1262    [Address on File]    5/19/2023 Bitcoin                                 0.001702 Customer Transfer
 Confidential Customer Coin Transferee #1262    [Address on File]    6/14/2023 Bitcoin                                 0.000966 Customer Transfer
 Confidential Customer Coin Transferee #1263    [Address on File]    6/20/2023 Bitcoin                              0.00108061 Customer Transfer
 Confidential Customer Coin Transferee #1264    [Address on File]    6/20/2023 Bitcoin                              0.00059665 Customer Transfer
 Confidential Customer Coin Transferee #1265    [Address on File]    5/17/2023 Bitcoin                              0.00179503 Customer Transfer
 Confidential Customer Coin Transferee #1265    [Address on File]    6/17/2023 Bitcoin                              0.00069688 Customer Transfer
 Confidential Customer Coin Transferee #1266    [Address on File]    5/20/2023 Bitcoin                              0.07291282 Customer Transfer

 Confidential Customer Coin Transferee #1267    [Address on File]    5/22/2023 Ether                                   0.00826137 Customer Transfer
 Confidential Customer Coin Transferee #1268    [Address on File]    6/20/2023 Bitcoin                                 0.00057895 Customer Transfer
 Confidential Customer Coin Transferee #1269    [Address on File]    5/26/2023 Bitcoin                                 0.00036634 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1269    [Address on File]    5/19/2023 Bitcoin                              0.00035492 Customer Transfer
 Confidential Customer Coin Transferee #1270    [Address on File]    6/20/2023 Bitcoin                              0.00097487 Customer Transfer
 Confidential Customer Coin Transferee #1271    [Address on File]     6/3/2023 USD Coin                              5543.8215 Customer Transfer
 Confidential Customer Coin Transferee #1272    [Address on File]    5/29/2023 Bitcoin                              0.00507191 Customer Transfer
 Confidential Customer Coin Transferee #1273    [Address on File]    5/25/2023 Bitcoin                              0.05272228 Customer Transfer
 Confidential Customer Coin Transferee #1274    [Address on File]    5/25/2023 Bitcoin                              0.01484066 Customer Transfer
 Confidential Customer Coin Transferee #1274    [Address on File]    5/17/2023 Bitcoin                              0.01372666 Customer Transfer
 Confidential Customer Coin Transferee #1274    [Address on File]    5/20/2023 Bitcoin                               0.0087763 Customer Transfer
 Confidential Customer Coin Transferee #1275    [Address on File]    5/26/2023 Bitcoin                              0.02277785 Customer Transfer
 Confidential Customer Coin Transferee #1275    [Address on File]     6/9/2023 Bitcoin                              0.00932025 Customer Transfer
 Confidential Customer Coin Transferee #1276    [Address on File]    6/20/2023 Bitcoin                              0.02310472 Customer Transfer
 Confidential Customer Coin Transferee #1277    [Address on File]    6/19/2023 Bitcoin                              0.00105176 Customer Transfer
 Confidential Customer Coin Transferee #1278    [Address on File]    6/20/2023 Bitcoin                              0.00012635 Customer Transfer
 Confidential Customer Coin Transferee #1279    [Address on File]    5/21/2023 Bitcoin                              0.00271844 Customer Transfer
 Confidential Customer Coin Transferee #1280    [Address on File]    6/19/2023 Bitcoin                              0.00943898 Customer Transfer
 Confidential Customer Coin Transferee #1281    [Address on File]    5/19/2023 Bitcoin                              0.05319837 Customer Transfer
 Confidential Customer Coin Transferee #1282    [Address on File]    6/20/2023 Bitcoin                              0.00041057 Customer Transfer
 Confidential Customer Coin Transferee #1283    [Address on File]    6/19/2023 Bitcoin                              0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #1284    [Address on File]    5/19/2023 Bitcoin                              0.01117065 Customer Transfer
 Confidential Customer Coin Transferee #1285    [Address on File]    5/25/2023 Bitcoin                              0.01447874 Customer Transfer
 Confidential Customer Coin Transferee #1286    [Address on File]    5/30/2023 Bitcoin                              0.04037485 Customer Transfer
 Confidential Customer Coin Transferee #1287    [Address on File]    5/19/2023 Bitcoin                              0.00741554 Customer Transfer
 Confidential Customer Coin Transferee #1287    [Address on File]    5/19/2023 Bitcoin                              0.00122271 Customer Transfer
 Confidential Customer Coin Transferee #1287    [Address on File]    5/20/2023 Bitcoin                                 0.000738 Customer Transfer
 Confidential Customer Coin Transferee #1287    [Address on File]    5/18/2023 Bitcoin                              0.00073461 Customer Transfer
 Confidential Customer Coin Transferee #1287    [Address on File]    5/20/2023 Bitcoin                              0.00073361 Customer Transfer
 Confidential Customer Coin Transferee #1287    [Address on File]    5/18/2023 Bitcoin                              0.00055164 Customer Transfer
 Confidential Customer Coin Transferee #1287    [Address on File]    5/19/2023 Bitcoin                              0.00036928 Customer Transfer
 Confidential Customer Coin Transferee #1287    [Address on File]    5/21/2023 Bitcoin                              0.00036681 Customer Transfer
 Confidential Customer Coin Transferee #1288    [Address on File]    5/26/2023 Bitcoin                              0.00180717 Customer Transfer
 Confidential Customer Coin Transferee #1288    [Address on File]    5/19/2023 Bitcoin                              0.00175309 Customer Transfer
 Confidential Customer Coin Transferee #1289    [Address on File]    5/17/2023 Bitcoin                              0.00209923 Customer Transfer

 Confidential Customer Coin Transferee #1290    [Address on File]    6/20/2023 Bitcoin                                 0.02818403 Customer Transfer
 Confidential Customer Coin Transferee #1291    [Address on File]    5/16/2023 Bitcoin                                     0.00111 Customer Transfer
 Confidential Customer Coin Transferee #1291    [Address on File]    5/24/2023 Bitcoin                                      0.0011 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1291    [Address on File]    5/29/2023 Bitcoin                                 0.000752 Customer Transfer
 Confidential Customer Coin Transferee #1291    [Address on File]    5/30/2023 Bitcoin                               0.0002862 Customer Transfer
 Confidential Customer Coin Transferee #1291    [Address on File]    5/24/2023 Bitcoin                               0.0001893 Customer Transfer
 Confidential Customer Coin Transferee #1292    [Address on File]    5/22/2023 Bitcoin                              0.00018107 Customer Transfer
 Confidential Customer Coin Transferee #1292    [Address on File]    5/20/2023 Bitcoin                              0.00007395 Customer Transfer
 Confidential Customer Coin Transferee #1293    [Address on File]    5/26/2023 Bitcoin                              0.09385584 Customer Transfer
 Confidential Customer Coin Transferee #1293    [Address on File]    5/19/2023 Bitcoin                               0.0670389 Customer Transfer
 Confidential Customer Coin Transferee #1294    [Address on File]    5/16/2023 Bitcoin                              0.01999976 Customer Transfer
 Confidential Customer Coin Transferee #1295    [Address on File]    5/17/2023 Bitcoin                                 0.002827 Customer Transfer
 Confidential Customer Coin Transferee #1295    [Address on File]    5/17/2023 Bitcoin                              0.00282564 Customer Transfer
 Confidential Customer Coin Transferee #1295    [Address on File]    5/25/2023 Bitcoin                              0.00143985 Customer Transfer
 Confidential Customer Coin Transferee #1295    [Address on File]    5/20/2023 Bitcoin                              0.00139207 Customer Transfer
 Confidential Customer Coin Transferee #1295    [Address on File]    5/18/2023 Bitcoin                              0.00065358 Customer Transfer
 Confidential Customer Coin Transferee #1296    [Address on File]    6/20/2023 Bitcoin                              0.00093649 Customer Transfer

 Confidential Customer Coin Transferee #1297    [Address on File]    6/19/2023 Bitcoin                                 0.00075873 Customer Transfer
 Confidential Customer Coin Transferee #1298    [Address on File]    5/25/2023 Bitcoin                                 0.00178706 Customer Transfer
 Confidential Customer Coin Transferee #1298    [Address on File]    5/26/2023 Bitcoin                                    0.001595 Customer Transfer
 Confidential Customer Coin Transferee #1298    [Address on File]    5/25/2023 Bitcoin                                 0.00157772 Customer Transfer
 Confidential Customer Coin Transferee #1298    [Address on File]     6/2/2023 Bitcoin                                  0.0011063 Customer Transfer
 Confidential Customer Coin Transferee #1299    [Address on File]    5/30/2023 Bitcoin                                 0.03241276 Customer Transfer
 Confidential Customer Coin Transferee #1299    [Address on File]    6/16/2023 Bitcoin                                 0.02317816 Customer Transfer
 Confidential Customer Coin Transferee #1299    [Address on File]     6/6/2023 Bitcoin                                    0.014954 Customer Transfer
 Confidential Customer Coin Transferee #1299    [Address on File]     6/2/2023 Bitcoin                                 0.01474926 Customer Transfer
 Confidential Customer Coin Transferee #1300    [Address on File]    6/20/2023 Bitcoin                                 0.00189845 Customer Transfer
 Confidential Customer Coin Transferee #1301    [Address on File]    6/20/2023 Bitcoin                                 0.00074991 Customer Transfer
 Confidential Customer Coin Transferee #1301    [Address on File]     6/8/2023 Bitcoin                                  0.0003553 Customer Transfer
 Confidential Customer Coin Transferee #1302    [Address on File]    6/20/2023 Bitcoin                                 0.02652274 Customer Transfer
 Confidential Customer Coin Transferee #1303    [Address on File]     6/1/2023 Bitcoin                                 0.00033989 Customer Transfer
 Confidential Customer Coin Transferee #1304    [Address on File]    5/16/2023 USDC Avalanche)                         197.560487 Customer Transfer
 Confidential Customer Coin Transferee #1304    [Address on File]    5/16/2023 USDC Avalanche)                         197.560487 Customer Transfer
 Confidential Customer Coin Transferee #1305    [Address on File]    5/26/2023 Bitcoin                                 0.02156514 Customer Transfer
 Confidential Customer Coin Transferee #1305    [Address on File]    5/20/2023 Bitcoin                                 0.01256442 Customer Transfer
 Confidential Customer Coin Transferee #1305    [Address on File]    5/26/2023 Bitcoin                                  0.0094307 Customer Transfer
 Confidential Customer Coin Transferee #1305    [Address on File]    5/25/2023 Bitcoin                                 0.00538761 Customer Transfer
 Confidential Customer Coin Transferee #1305    [Address on File]    5/27/2023 Bitcoin                                 0.00450963 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1305    [Address on File]    5/29/2023 Bitcoin                              0.00431307 Customer Transfer
 Confidential Customer Coin Transferee #1305    [Address on File]    5/26/2023 Bitcoin                              0.00373266 Customer Transfer
 Confidential Customer Coin Transferee #1305    [Address on File]    5/29/2023 Bitcoin                               0.0018224 Customer Transfer
 Confidential Customer Coin Transferee #1305    [Address on File]    5/28/2023 Bitcoin                              0.00149137 Customer Transfer
 Confidential Customer Coin Transferee #1305    [Address on File]    5/26/2023 Bitcoin                              0.00018522 Customer Transfer
 Confidential Customer Coin Transferee #1306    [Address on File]    6/10/2023 Bitcoin                              0.00094825 Customer Transfer
 Confidential Customer Coin Transferee #1306    [Address on File]    5/31/2023 Bitcoin                              0.00092778 Customer Transfer
 Confidential Customer Coin Transferee #1306    [Address on File]     6/6/2023 Bitcoin                              0.00092437 Customer Transfer
 Confidential Customer Coin Transferee #1306    [Address on File]    6/16/2023 Bitcoin                               0.0009138 Customer Transfer
 Confidential Customer Coin Transferee #1306    [Address on File]    6/21/2023 Bitcoin                              0.00091162 Customer Transfer
 Confidential Customer Coin Transferee #1306    [Address on File]     6/2/2023 Bitcoin                              0.00090744 Customer Transfer
 Confidential Customer Coin Transferee #1306    [Address on File]    5/19/2023 Bitcoin                              0.00087671 Customer Transfer
 Confidential Customer Coin Transferee #1306    [Address on File]    5/17/2023 Bitcoin                              0.00084492 Customer Transfer
 Confidential Customer Coin Transferee #1306    [Address on File]    6/17/2023 Bitcoin                              0.00081782 Customer Transfer
 Confidential Customer Coin Transferee #1306    [Address on File]    5/16/2023 Bitcoin                              0.00072412 Customer Transfer
 Confidential Customer Coin Transferee #1307    [Address on File]    5/17/2023 Bitcoin                                     0.22 Customer Transfer
 Confidential Customer Coin Transferee #1307    [Address on File]    5/23/2023 Bitcoin                               0.1600842 Customer Transfer
 Confidential Customer Coin Transferee #1307    [Address on File]    5/28/2023 Bitcoin                              0.09286382 Customer Transfer
 Confidential Customer Coin Transferee #1308    [Address on File]    6/20/2023 Bitcoin                              0.00017551 Customer Transfer

 Confidential Customer Coin Transferee #1309    [Address on File]    5/24/2023 USDC Avalanche)                         193.330666 Customer Transfer
 Confidential Customer Coin Transferee #1310    [Address on File]    5/19/2023 Bitcoin                                 0.01673963 Customer Transfer
 Confidential Customer Coin Transferee #1310    [Address on File]    5/29/2023 Bitcoin                                 0.01208136 Customer Transfer
 Confidential Customer Coin Transferee #1311    [Address on File]    6/20/2023 Bitcoin                                 0.00011622 Customer Transfer
 Confidential Customer Coin Transferee #1312    [Address on File]    5/23/2023 Bitcoin                                         0.03 Customer Transfer
 Confidential Customer Coin Transferee #1312    [Address on File]    5/23/2023 Bitcoin                                      0.0295 Customer Transfer
 Confidential Customer Coin Transferee #1312    [Address on File]    5/23/2023 Bitcoin                                         0.02 Customer Transfer
 Confidential Customer Coin Transferee #1312    [Address on File]    5/23/2023 Bitcoin                                       0.009 Customer Transfer
 Confidential Customer Coin Transferee #1312    [Address on File]    5/23/2023 Bitcoin                                      0.0079 Customer Transfer
 Confidential Customer Coin Transferee #1312    [Address on File]    5/23/2023 Bitcoin                                       0.005 Customer Transfer
 Confidential Customer Coin Transferee #1312    [Address on File]    5/23/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #1312    [Address on File]    5/23/2023 Bitcoin                                      0.0009 Customer Transfer
 Confidential Customer Coin Transferee #1313    [Address on File]    5/29/2023 Bitcoin                                       0.009 Customer Transfer
 Confidential Customer Coin Transferee #1313    [Address on File]    5/29/2023 Bitcoin                                  0.0066575 Customer Transfer
 Confidential Customer Coin Transferee #1313    [Address on File]    5/27/2023 Bitcoin                                       0.003 Customer Transfer
 Confidential Customer Coin Transferee #1314    [Address on File]    5/21/2023 Bitcoin                                 0.00131625 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1314    [Address on File]    5/17/2023 Bitcoin                               0.0009569 Customer Transfer
 Confidential Customer Coin Transferee #1314    [Address on File]    5/29/2023 Bitcoin                              0.00039534 Customer Transfer
 Confidential Customer Coin Transferee #1315    [Address on File]    5/19/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #1316    [Address on File]    5/23/2023 Bitcoin                              0.00386428 Customer Transfer
 Confidential Customer Coin Transferee #1317    [Address on File]    5/26/2023 Bitcoin                              0.00182412 Customer Transfer
 Confidential Customer Coin Transferee #1317    [Address on File]    5/19/2023 Bitcoin                              0.00176432 Customer Transfer
 Confidential Customer Coin Transferee #1318    [Address on File]    5/26/2023 Ether                               0.000407792 Customer Transfer
 Confidential Customer Coin Transferee #1318    [Address on File]    5/26/2023 Bitcoin                              0.00007637 Customer Transfer
 Confidential Customer Coin Transferee #1319    [Address on File]    5/20/2023 Bitcoin                              0.00036981 Customer Transfer
 Confidential Customer Coin Transferee #1320    [Address on File]    5/24/2023 Bitcoin                              0.00449817 Customer Transfer
 Confidential Customer Coin Transferee #1320    [Address on File]    5/24/2023 Bitcoin                              0.00440017 Customer Transfer
 Confidential Customer Coin Transferee #1321    [Address on File]    5/30/2023 Bitcoin                              0.05055447 Customer Transfer
 Confidential Customer Coin Transferee #1322    [Address on File]    5/19/2023 Bitcoin                              0.00103026 Customer Transfer
 Confidential Customer Coin Transferee #1323    [Address on File]    5/24/2023 Bitcoin                              1.48604854 Customer Transfer
 Confidential Customer Coin Transferee #1324    [Address on File]    5/20/2023 Tether USD                           251.808191 Customer Transfer
 Confidential Customer Coin Transferee #1324    [Address on File]    5/24/2023 USD Coin                             100.429828 Customer Transfer
 Confidential Customer Coin Transferee #1324    [Address on File]    5/23/2023 USD Coin                              99.250299 Customer Transfer
 Confidential Customer Coin Transferee #1325    [Address on File]    5/19/2023 Bitcoin                              0.00277688 Customer Transfer
 Confidential Customer Coin Transferee #1325    [Address on File]    5/23/2023 Bitcoin                              0.00274341 Customer Transfer
 Confidential Customer Coin Transferee #1325    [Address on File]    5/16/2023 Bitcoin                              0.00239629 Customer Transfer
 Confidential Customer Coin Transferee #1325    [Address on File]    5/28/2023 Bitcoin                              0.00185058 Customer Transfer
 Confidential Customer Coin Transferee #1326    [Address on File]    5/24/2023 Bitcoin                              0.00075613 Customer Transfer
 Confidential Customer Coin Transferee #1326    [Address on File]    5/21/2023 Bitcoin                              0.00074199 Customer Transfer
 Confidential Customer Coin Transferee #1326    [Address on File]    5/28/2023 Bitcoin                              0.00073062 Customer Transfer
 Confidential Customer Coin Transferee #1326    [Address on File]    5/18/2023 Bitcoin                              0.00072728 Customer Transfer
 Confidential Customer Coin Transferee #1326    [Address on File]    5/30/2023 Bitcoin                              0.00071757 Customer Transfer
 Confidential Customer Coin Transferee #1326    [Address on File]    5/29/2023 Bitcoin                              0.00070336 Customer Transfer

 Confidential Customer Coin Transferee #1327    [Address on File]    5/27/2023 Bitcoin                                        0.01 Customer Transfer
 Confidential Customer Coin Transferee #1328    [Address on File]    5/22/2023 Bitcoin                                 0.02226592 Customer Transfer
 Confidential Customer Coin Transferee #1328    [Address on File]    5/30/2023 Bitcoin                                 0.01117467 Customer Transfer

 Confidential Customer Coin Transferee #1329    [Address on File]    6/16/2023 Bitcoin                                 0.01028053 Customer Transfer
 Confidential Customer Coin Transferee #1330    [Address on File]    5/19/2023 Bitcoin                                 0.05001362 Customer Transfer
 Confidential Customer Coin Transferee #1331    [Address on File]     6/1/2023 Bitcoin                                 0.05005463 Customer Transfer
 Confidential Customer Coin Transferee #1332    [Address on File]    5/26/2023 Bitcoin                                 0.01086388 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #1333    [Address on File]    5/19/2023 Bitcoin                              0.00499701 Customer Transfer
 Confidential Customer Coin Transferee #1334    [Address on File]    5/29/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #1335    [Address on File]    5/22/2023 Bitcoin                                 0.006914 Customer Transfer
 Confidential Customer Coin Transferee #1336    [Address on File]    5/22/2023 Bitcoin                              0.02025611 Customer Transfer
 Confidential Customer Coin Transferee #1336    [Address on File]    5/30/2023 Bitcoin                              0.00365218 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/17/2023 Bitcoin                                 0.00366272 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/28/2023 Bitcoin                                 0.00342812 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/17/2023 Bitcoin                                 0.00285152 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/16/2023 Bitcoin                                 0.00213279 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/24/2023 Bitcoin                                 0.00212928 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/28/2023 Bitcoin                                 0.00202052 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/18/2023 Bitcoin                                 0.00179099 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/17/2023 Bitcoin                                 0.00178277 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/17/2023 Bitcoin                                  0.0017493 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/17/2023 Bitcoin                                 0.00166978 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/25/2023 Bitcoin                                 0.00109754 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/23/2023 Bitcoin                                 0.00104703 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/29/2023 Bitcoin                                 0.00084966 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/24/2023 Bitcoin                                 0.00071563 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/23/2023 Bitcoin                                 0.00019225 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date             Crypto Currency           Unit Count          or Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/17/2023 Bitcoin                                 0.00017849 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/24/2023 Bitcoin                                 0.00012801 Customer Transfer

 Confidential Customer Coin Transferee #1337    [Address on File]    5/16/2023 Bitcoin                                 0.00001095 Customer Transfer
 Confidential Customer Coin Transferee #1338    [Address on File]    5/29/2023 Bitcoin                                  0.0181512 Customer Transfer
 Confidential Customer Coin Transferee #1339    [Address on File]    5/27/2023 Bitcoin                                 0.01776922 Customer Transfer
 Confidential Customer Coin Transferee #1340    [Address on File]    5/17/2023 Bitcoin                                  0.0007476 Customer Transfer
 Confidential Customer Coin Transferee #1341    [Address on File]    5/20/2023 Bitcoin                                 0.00524988 Customer Transfer
 Confidential Customer Coin Transferee #1341    [Address on File]    5/26/2023 Bitcoin                                 0.00496794 Customer Transfer
 Confidential Customer Coin Transferee #1342    [Address on File]    5/23/2023 Bitcoin                                 0.00174307 Customer Transfer
 Confidential Customer Coin Transferee #1342    [Address on File]    5/25/2023 Bitcoin                                 0.00113953 Customer Transfer
 Confidential Customer Coin Transferee #1342    [Address on File]    5/20/2023 Bitcoin                                 0.00073858 Customer Transfer
 Confidential Customer Coin Transferee #1342    [Address on File]    5/31/2023 Bitcoin                                 0.00073171 Customer Transfer
 Confidential Customer Coin Transferee #1342    [Address on File]    5/18/2023 Bitcoin                                 0.00054529 Customer Transfer
 Confidential Customer Coin Transferee #1342    [Address on File]    5/20/2023 Bitcoin                                 0.00037014 Customer Transfer
 Confidential Customer Coin Transferee #1342    [Address on File]    5/21/2023 Bitcoin                                 0.00011016 Customer Transfer
 Confidential Customer Coin Transferee #1343    [Address on File]    5/27/2023 Bitcoin                                 0.00557366 Customer Transfer
 Confidential Customer Coin Transferee #1343    [Address on File]    5/22/2023 Bitcoin                                 0.00553543 Customer Transfer
 Confidential Customer Coin Transferee #1344    [Address on File]    5/25/2023 Bitcoin                                 0.00095289 Customer Transfer
 Confidential Customer Coin Transferee #1344    [Address on File]    5/27/2023 Bitcoin                                 0.00092934 Customer Transfer
 Confidential Customer Coin Transferee #1344    [Address on File]    5/24/2023 Bitcoin                                 0.00048451 Customer Transfer
 Confidential Customer Coin Transferee #1344    [Address on File]    5/22/2023 Bitcoin                                 0.00037097 Customer Transfer
 Confidential Customer Coin Transferee #1344    [Address on File]    5/20/2023 Bitcoin                                 0.00036995 Customer Transfer
 Confidential Customer Coin Transferee #1345    [Address on File]    5/20/2023 Bitcoin                                 0.02024063 Customer Transfer
 Confidential Customer Coin Transferee #1346    [Address on File]    5/30/2023 Bitcoin                                       0.012 Customer Transfer
 Confidential Customer Coin Transferee #1346    [Address on File]    5/30/2023 Bitcoin                                 0.00555555 Customer Transfer
 Confidential Customer Coin Transferee #1346    [Address on File]    5/30/2023 Bitcoin                                      0.0019 Customer Transfer
 Confidential Customer Coin Transferee #1346    [Address on File]    5/30/2023 Bitcoin                                      0.0004 Customer Transfer
 Confidential Customer Coin Transferee #1346    [Address on File]    5/30/2023 Bitcoin                                      0.0001 Customer Transfer
 Confidential Customer Coin Transferee #1347    [Address on File]    5/26/2023 Bitcoin                                         0.2 Customer Transfer
 Confidential Customer Coin Transferee #1347    [Address on File]    5/30/2023 Bitcoin                                         0.1 Customer Transfer
 Confidential Customer Coin Transferee #1347    [Address on File]    5/30/2023 Bitcoin                                         0.1 Customer Transfer
 Confidential Customer Coin Transferee #1347    [Address on File]    5/30/2023 Bitcoin                                 0.04797043 Customer Transfer
 Confidential Customer Coin Transferee #1347    [Address on File]    5/30/2023 Bitcoin                                 0.02531441 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #1347    [Address on File]    5/26/2023 Bitcoin                                     0.023 Customer Transfer
 Confidential Customer Coin Transferee #1348    [Address on File]    5/25/2023 Bitcoin                              0.03677081 Customer Transfer
 Confidential Customer Coin Transferee #1349    [Address on File]    5/19/2023 Bitcoin                              0.00240666 Customer Transfer
 Confidential Customer Coin Transferee #1349    [Address on File]    5/19/2023 Bitcoin                              0.00051759 Customer Transfer
 Confidential Customer Coin Transferee #1349    [Address on File]    5/25/2023 Bitcoin                              0.00017543 Customer Transfer
 Confidential Customer Coin Transferee #1349    [Address on File]    5/19/2023 Bitcoin                              0.00014008 Customer Transfer
 Confidential Customer Coin Transferee #1349    [Address on File]    5/19/2023 Bitcoin                              0.00005966 Customer Transfer
 Confidential Customer Coin Transferee #1349    [Address on File]    5/30/2023 Bitcoin                              0.00003146 Customer Transfer
 Confidential Customer Coin Transferee #1350    [Address on File]    5/19/2023 Bitcoin                              0.00111283 Customer Transfer
 Confidential Customer Coin Transferee #1350    [Address on File]    5/28/2023 Bitcoin                              0.00072691 Customer Transfer
 Confidential Customer Coin Transferee #1351    [Address on File]    5/20/2023 Bitcoin                              0.00091865 Customer Transfer
 Confidential Customer Coin Transferee #1352    [Address on File]    5/17/2023 Bitcoin                              0.03508254 Customer Transfer
 Confidential Customer Coin Transferee #1353    [Address on File]    6/19/2023 Bitcoin                              0.00010199 Customer Transfer
 Confidential Customer Coin Transferee #1354    [Address on File]    6/20/2023 Bitcoin                              0.00426847 Customer Transfer
 Confidential Customer Coin Transferee #1355    [Address on File]    5/23/2023 Bitcoin                                 0.000173 Customer Transfer
 Confidential Customer Coin Transferee #1356    [Address on File]    5/26/2023 Bitcoin                              0.00111232 Customer Transfer
 Confidential Customer Coin Transferee #1357    [Address on File]    5/30/2023 Bitcoin                              0.02256368 Customer Transfer
 Confidential Customer Coin Transferee #1358    [Address on File]     6/6/2023 Bitcoin                              0.00156072 Customer Transfer
 Confidential Customer Coin Transferee #1359    [Address on File]    5/20/2023 Bitcoin                              0.00529554 Customer Transfer
 Confidential Customer Coin Transferee #1360    [Address on File]    6/20/2023 Bitcoin                              0.01769105 Customer Transfer
 Confidential Customer Coin Transferee #1361    [Address on File]    6/19/2023 Bitcoin                              0.00027122 Customer Transfer
 Confidential Customer Coin Transferee #1362    [Address on File]     6/9/2023 Bitcoin                              0.04534971 Customer Transfer
 Confidential Customer Coin Transferee #1363    [Address on File]    5/22/2023 Bitcoin                              0.01474007 Customer Transfer
 Confidential Customer Coin Transferee #1364    [Address on File]    6/20/2023 Bitcoin                               0.0021102 Customer Transfer
 Confidential Customer Coin Transferee #1365    [Address on File]    5/29/2023 Bitcoin                               0.0036584 Customer Transfer
 Confidential Customer Coin Transferee #1366    [Address on File]    5/29/2023 Bitcoin                              0.01854265 Customer Transfer
 Confidential Customer Coin Transferee #1367    [Address on File]    5/25/2023 Bitcoin                              0.01071113 Customer Transfer
 Confidential Customer Coin Transferee #1368    [Address on File]    6/12/2023 Bitcoin                              0.01105412 Customer Transfer
 Confidential Customer Coin Transferee #1369    [Address on File]    6/20/2023 Bitcoin                              0.00015147 Customer Transfer
 Confidential Customer Coin Transferee #1370    [Address on File]    5/18/2023 Bitcoin                              0.00116702 Customer Transfer
 Confidential Customer Coin Transferee #1370    [Address on File]    5/18/2023 Bitcoin                              0.00059314 Customer Transfer
 Confidential Customer Coin Transferee #1370    [Address on File]    5/18/2023 Bitcoin                              0.00056228 Customer Transfer
 Confidential Customer Coin Transferee #1370    [Address on File]     6/1/2023 Bitcoin                              0.00054351 Customer Transfer
 Confidential Customer Coin Transferee #1370    [Address on File]    5/18/2023 Bitcoin                              0.00051525 Customer Transfer
 Confidential Customer Coin Transferee #1370    [Address on File]    5/18/2023 Bitcoin                               0.0004699 Customer Transfer
 Confidential Customer Coin Transferee #1371    [Address on File]    6/19/2023 Bitcoin                              0.00005802 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #1372    [Address on File]    6/19/2023 Bitcoin                              0.00352461 Customer Transfer

 Confidential Customer Coin Transferee #1373    [Address on File]    5/16/2023 Bitcoin                                     0.00502 Customer Transfer
 Confidential Customer Coin Transferee #1374    [Address on File]    5/25/2023 Bitcoin                                 0.00800269 Customer Transfer
 Confidential Customer Coin Transferee #1374    [Address on File]    5/22/2023 Bitcoin                                 0.00216637 Customer Transfer
 Confidential Customer Coin Transferee #1375    [Address on File]    5/19/2023 Bitcoin                                 0.07414488 Customer Transfer
 Confidential Customer Coin Transferee #1376    [Address on File]    5/21/2023 Bitcoin                                 0.03655232 Customer Transfer
 Confidential Customer Coin Transferee #1377    [Address on File]    6/19/2023 Bitcoin                                 0.00152766 Customer Transfer
 Confidential Customer Coin Transferee #1378    [Address on File]    6/16/2023 Bitcoin                                 0.03021156 Customer Transfer
 Confidential Customer Coin Transferee #1379    [Address on File]    5/21/2023 Bitcoin                                 0.00255925 Customer Transfer
 Confidential Customer Coin Transferee #1380    [Address on File]    6/19/2023 Bitcoin                                 0.00277872 Customer Transfer
 Confidential Customer Coin Transferee #1381    [Address on File]    5/19/2023 Bitcoin                                 0.43727946 Customer Transfer
 Confidential Customer Coin Transferee #1381    [Address on File]    5/18/2023 Bitcoin                                          0.1 Customer Transfer
 Confidential Customer Coin Transferee #1381    [Address on File]    5/16/2023 Bitcoin                                     0.00025 Customer Transfer
 Confidential Customer Coin Transferee #1382    [Address on File]    6/20/2023 Bitcoin                                 0.00018033 Customer Transfer
 Confidential Customer Coin Transferee #1383    [Address on File]    5/29/2023 Bitcoin                                 0.01019367 Customer Transfer
 Confidential Customer Coin Transferee #1384    [Address on File]    5/20/2023 Bitcoin                                        0.045 Customer Transfer

 Confidential Customer Coin Transferee #1385    [Address on File]    5/27/2023 Bitcoin                                 0.00278817 Customer Transfer

 Confidential Customer Coin Transferee #1385    [Address on File]    5/21/2023 Bitcoin                                 0.00110767 Customer Transfer
 Confidential Customer Coin Transferee #1386    [Address on File]    6/21/2023 Tether USD                                   440.83 Customer Transfer

 Confidential Customer Coin Transferee #1387    [Address on File]    6/19/2023 Bitcoin                                 0.00380073 Customer Transfer

 Confidential Customer Coin Transferee #1387    [Address on File]    6/19/2023 Bitcoin                                 0.00188487 Customer Transfer
 Confidential Customer Coin Transferee #1388    [Address on File]    6/19/2023 Bitcoin                                 0.00218705 Customer Transfer
 Confidential Customer Coin Transferee #1389    [Address on File]    5/26/2023 Bitcoin                                 0.01014833 Customer Transfer
 Confidential Customer Coin Transferee #1390    [Address on File]     6/3/2023 Bitcoin                                  0.0444614 Customer Transfer
 Confidential Customer Coin Transferee #1391    [Address on File]    5/24/2023 Bitcoin                                 0.00372993 Customer Transfer
 Confidential Customer Coin Transferee #1391    [Address on File]    5/24/2023 Bitcoin                                 0.00364968 Customer Transfer
 Confidential Customer Coin Transferee #1391    [Address on File]    5/24/2023 Bitcoin                                  0.0033979 Customer Transfer
 Confidential Customer Coin Transferee #1391    [Address on File]    5/24/2023 Bitcoin                                 0.00339569 Customer Transfer
 Confidential Customer Coin Transferee #1392    [Address on File]    5/27/2023 Bitcoin                                 0.00941483 Customer Transfer
 Confidential Customer Coin Transferee #1393    [Address on File]    6/17/2023 Bitcoin                                  0.0001034 Customer Transfer
 Confidential Customer Coin Transferee #1394    [Address on File]    5/25/2023 Bitcoin                                 0.00018882 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #1395    [Address on File]    6/20/2023 Bitcoin                              0.00285874 Customer Transfer
 Confidential Customer Coin Transferee #1396    [Address on File]    5/17/2023 Bitcoin                              0.01036745 Customer Transfer
 Confidential Customer Coin Transferee #1397    [Address on File]    6/19/2023 Bitcoin                              0.00096837 Customer Transfer
 Confidential Customer Coin Transferee #1398    [Address on File]    6/19/2023 Bitcoin                              0.00176944 Customer Transfer
 Confidential Customer Coin Transferee #1399    [Address on File]    5/19/2023 USDC Avalanche)                      496.851259 Customer Transfer
 Confidential Customer Coin Transferee #1400    [Address on File]    6/19/2023 Bitcoin                              0.03050785 Customer Transfer
 Confidential Customer Coin Transferee #1401    [Address on File]    5/26/2023 Bitcoin                              0.05564252 Customer Transfer
 Confidential Customer Coin Transferee #1401    [Address on File]    5/19/2023 Bitcoin                               0.0366779 Customer Transfer
 Confidential Customer Coin Transferee #1402    [Address on File]    5/19/2023 Bitcoin                              0.01920645 Customer Transfer
 Confidential Customer Coin Transferee #1403    [Address on File]    5/31/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #1404    [Address on File]    5/25/2023 Bitcoin                              0.01317746 Customer Transfer

 Confidential Customer Coin Transferee #1405    [Address on File]     6/1/2023 Tether USD                                 489.0396 Customer Transfer
 Confidential Customer Coin Transferee #1406    [Address on File]    5/23/2023 Bitcoin                                 0.01116499 Customer Transfer
 Confidential Customer Coin Transferee #1407    [Address on File]    5/18/2023 Bitcoin                                 0.00505526 Customer Transfer
 Confidential Customer Coin Transferee #1408    [Address on File]    5/25/2023 Bitcoin                                 0.05145647 Customer Transfer
 Confidential Customer Coin Transferee #1409    [Address on File]    5/16/2023 Bitcoin                                 0.01113701 Customer Transfer
 Confidential Customer Coin Transferee #1409    [Address on File]    5/28/2023 Bitcoin                                 0.01106105 Customer Transfer
 Confidential Customer Coin Transferee #1409    [Address on File]    5/30/2023 Bitcoin                                 0.00724743 Customer Transfer
 Confidential Customer Coin Transferee #1410    [Address on File]    6/19/2023 Bitcoin                                 0.00004277 Customer Transfer
 Confidential Customer Coin Transferee #1411    [Address on File]    6/19/2023 Bitcoin                                 0.00004142 Customer Transfer
 Confidential Customer Coin Transferee #1412    [Address on File]    5/16/2023 Bitcoin                                 0.00208254 Customer Transfer
 Confidential Customer Coin Transferee #1412    [Address on File]    5/23/2023 Bitcoin                                 0.00140059 Customer Transfer

 Confidential Customer Coin Transferee #1413    [Address on File]    5/29/2023 Ether                                   0.07591862 Customer Transfer

 Confidential Customer Coin Transferee #1413    [Address on File]      6/6/2023 Ether                                  0.05518033 Customer Transfer

 Confidential Customer Coin Transferee #1413    [Address on File]     6/5/2023 Ether                                   0.04195071 Customer Transfer
 Confidential Customer Coin Transferee #1414    [Address on File]    5/23/2023 Bitcoin                                 0.00183729 Customer Transfer
 Confidential Customer Coin Transferee #1415    [Address on File]    6/20/2023 Bitcoin                                 0.00005822 Customer Transfer
 Confidential Customer Coin Transferee #1416    [Address on File]    6/19/2023 Bitcoin                                 0.02712379 Customer Transfer
 Confidential Customer Coin Transferee #1417    [Address on File]    6/20/2023 Bitcoin                                 0.00020508 Customer Transfer
 Confidential Customer Coin Transferee #1418    [Address on File]    5/17/2023 Bitcoin                                 0.01054248 Customer Transfer
 Confidential Customer Coin Transferee #1419    [Address on File]    5/31/2023 Bitcoin                                  0.0051366 Customer Transfer
 Confidential Customer Coin Transferee #1419    [Address on File]    5/19/2023 Bitcoin                                 0.00488331 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1           Date         Crypto Currency                Unit Count      or Transfer
 Confidential Customer Coin Transferee #1420    [Address on File]    5/20/2023 USDC Avalanche)                      34.876049 Customer Transfer

 Confidential Customer Coin Transferee #1421    [Address on File]    6/21/2023 Bitcoin                                 0.03764569 Customer Transfer
 Confidential Customer Coin Transferee #1422    [Address on File]    5/26/2023 Bitcoin                                  0.0064232 Customer Transfer
 Confidential Customer Coin Transferee #1422    [Address on File]    5/22/2023 Bitcoin                                 0.00610932 Customer Transfer
 Confidential Customer Coin Transferee #1423    [Address on File]    6/19/2023 Bitcoin                                 0.00108577 Customer Transfer
 Confidential Customer Coin Transferee #1424    [Address on File]    5/16/2023 Bitcoin                                 0.00123099 Customer Transfer

 Confidential Customer Coin Transferee #1425    [Address on File]    6/13/2023 Bitcoin                                       0.065 Customer Transfer
 Confidential Customer Coin Transferee #1426    [Address on File]    5/26/2023 Bitcoin                                  0.0037837 Customer Transfer
 Confidential Customer Coin Transferee #1427    [Address on File]    5/18/2023 Bitcoin                                 0.00037189 Customer Transfer
 Confidential Customer Coin Transferee #1428    [Address on File]    5/16/2023 Bitcoin                                 0.02653717 Customer Transfer
 Confidential Customer Coin Transferee #1428    [Address on File]    5/23/2023 Bitcoin                                 0.00373562 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/31/2023 Bitcoin                                 0.02406884 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/23/2023 Bitcoin                                 0.02077256 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/31/2023 Bitcoin                                 0.01687318 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/30/2023 Bitcoin                                 0.01647171 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/23/2023 Bitcoin                                  0.0158308 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/24/2023 Bitcoin                                 0.00681076 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/31/2023 Bitcoin                                 0.00431446 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/22/2023 Bitcoin                                  0.0035187 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/25/2023 Bitcoin                                 0.00222158 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/29/2023 Bitcoin                                 0.00203296 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/26/2023 Bitcoin                                 0.00185506 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/28/2023 Bitcoin                                 0.00178984 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/19/2023 Bitcoin                                 0.00077792 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/30/2023 Bitcoin                                 0.00071949 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/16/2023 Bitcoin                                 0.00025587 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/26/2023 Bitcoin                                 0.00018214 Customer Transfer
 Confidential Customer Coin Transferee #1429    [Address on File]    5/22/2023 Bitcoin                                 0.00014839 Customer Transfer
 Confidential Customer Coin Transferee #1430    [Address on File]    5/27/2023 Bitcoin                                 0.00189279 Customer Transfer
 Confidential Customer Coin Transferee #1431    [Address on File]    6/20/2023 Bitcoin                                 0.00119678 Customer Transfer
 Confidential Customer Coin Transferee #1432    [Address on File]    5/24/2023 Bitcoin                                 0.02360113 Customer Transfer
 Confidential Customer Coin Transferee #1433    [Address on File]    6/19/2023 Bitcoin                                 0.00115645 Customer Transfer
 Confidential Customer Coin Transferee #1434    [Address on File]    6/15/2023 Bitcoin                                 0.00753971 Customer Transfer
 Confidential Customer Coin Transferee #1435    [Address on File]    5/24/2023 Bitcoin                                 0.01848885 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #1435    [Address on File]    5/17/2023 Bitcoin                              0.01670126 Customer Transfer
 Confidential Customer Coin Transferee #1436    [Address on File]    5/21/2023 Bitcoin                              0.01101652 Customer Transfer
 Confidential Customer Coin Transferee #1437    [Address on File]    6/20/2023 Bitcoin                              0.00011983 Customer Transfer
 Confidential Customer Coin Transferee #1438    [Address on File]    5/16/2023 Bitcoin                              0.03332655 Customer Transfer
 Confidential Customer Coin Transferee #1439    [Address on File]    5/28/2023 Bitcoin                              0.14364171 Customer Transfer
 Confidential Customer Coin Transferee #1440    [Address on File]    5/23/2023 Bitcoin                              0.21606201 Customer Transfer
 Confidential Customer Coin Transferee #1441    [Address on File]    6/20/2023 Bitcoin                              0.00004519 Customer Transfer
 Confidential Customer Coin Transferee #1442    [Address on File]    5/23/2023 Bitcoin                              0.01128292 Customer Transfer

 Confidential Customer Coin Transferee #1443    [Address on File]    6/21/2023 Bitcoin                                 0.15072801 Customer Transfer
 Confidential Customer Coin Transferee #1444    [Address on File]    5/26/2023 Bitcoin                                  0.0110497 Customer Transfer
 Confidential Customer Coin Transferee #1444    [Address on File]    5/18/2023 Bitcoin                                 0.01096603 Customer Transfer
 Confidential Customer Coin Transferee #1445    [Address on File]    5/19/2023 Bitcoin                                 0.03917868 Customer Transfer
 Confidential Customer Coin Transferee #1445    [Address on File]    5/19/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #1446    [Address on File]    5/24/2023 Bitcoin                                 0.01523013 Customer Transfer
 Confidential Customer Coin Transferee #1446    [Address on File]    5/19/2023 Bitcoin                                 0.00370179 Customer Transfer
 Confidential Customer Coin Transferee #1447    [Address on File]    5/22/2023 Bitcoin                                 0.06933253 Customer Transfer
 Confidential Customer Coin Transferee #1448    [Address on File]    5/22/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #1448    [Address on File]    5/26/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #1449    [Address on File]    5/25/2023 Bitcoin                                 0.05843806 Customer Transfer
 Confidential Customer Coin Transferee #1449    [Address on File]    5/25/2023 Bitcoin                                         0.02 Customer Transfer
 Confidential Customer Coin Transferee #1449    [Address on File]    5/16/2023 Bitcoin                                      0.0001 Customer Transfer
 Confidential Customer Coin Transferee #1449    [Address on File]    5/16/2023 Bitcoin                                      0.0001 Customer Transfer
 Confidential Customer Coin Transferee #1450    [Address on File]     6/2/2023 Bitcoin                                  0.0264198 Customer Transfer
 Confidential Customer Coin Transferee #1451    [Address on File]    5/19/2023 Bitcoin                                 0.00555529 Customer Transfer
 Confidential Customer Coin Transferee #1452    [Address on File]    6/19/2023 Bitcoin                                 0.00063723 Customer Transfer
 Confidential Customer Coin Transferee #1453    [Address on File]    5/19/2023 Bitcoin                                 0.01055469 Customer Transfer
 Confidential Customer Coin Transferee #1454    [Address on File]    5/18/2023 Bitcoin                                 0.01064415 Customer Transfer
 Confidential Customer Coin Transferee #1455    [Address on File]    5/19/2023 Bitcoin                                 0.01719494 Customer Transfer
 Confidential Customer Coin Transferee #1455    [Address on File]    5/26/2023 Bitcoin                                 0.01458257 Customer Transfer
 Confidential Customer Coin Transferee #1456    [Address on File]    6/19/2023 Bitcoin                                 0.00369585 Customer Transfer
 Confidential Customer Coin Transferee #1457    [Address on File]    6/20/2023 Bitcoin                                  0.0002856 Customer Transfer
 Confidential Customer Coin Transferee #1458    [Address on File]    6/19/2023 Bitcoin                                 0.00040849 Customer Transfer
 Confidential Customer Coin Transferee #1459    [Address on File]    6/20/2023 Bitcoin                                 0.00268871 Customer Transfer
 Confidential Customer Coin Transferee #1460    [Address on File]    6/19/2023 Bitcoin                                 0.00343475 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/31/2023 Bitcoin                                 0.00385305 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/30/2023 Bitcoin                              0.00353948 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/27/2023 Bitcoin                               0.0029015 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/28/2023 Bitcoin                              0.00288983 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/19/2023 Bitcoin                              0.00258654 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/26/2023 Bitcoin                              0.00233353 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/20/2023 Bitcoin                               0.0021478 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/19/2023 Bitcoin                              0.00210788 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/29/2023 Bitcoin                              0.00183846 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/27/2023 Bitcoin                              0.00167828 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/28/2023 Bitcoin                              0.00142597 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/19/2023 Bitcoin                               0.0013708 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/17/2023 Bitcoin                              0.00122394 Customer Transfer
 Confidential Customer Coin Transferee #1461    [Address on File]    5/26/2023 Bitcoin                              0.00002378 Customer Transfer
 Confidential Customer Coin Transferee #1462    [Address on File]    5/22/2023 Bitcoin                              0.01116656 Customer Transfer
 Confidential Customer Coin Transferee #1463    [Address on File]    5/27/2023 Bitcoin                              0.00389942 Customer Transfer
 Confidential Customer Coin Transferee #1464    [Address on File]    5/16/2023 Bitcoin                                       0.22 Customer Transfer
 Confidential Customer Coin Transferee #1464    [Address on File]    5/17/2023 Bitcoin                                       0.22 Customer Transfer
 Confidential Customer Coin Transferee #1464    [Address on File]    5/23/2023 Bitcoin                              0.10002081 Customer Transfer
 Confidential Customer Coin Transferee #1464    [Address on File]    5/25/2023 Bitcoin                              0.03612199 Customer Transfer
 Confidential Customer Coin Transferee #1465    [Address on File]    5/18/2023 Bitcoin                              0.00073297 Customer Transfer
 Confidential Customer Coin Transferee #1466    [Address on File]    5/26/2023 Bitcoin                              0.00184032 Customer Transfer
 Confidential Customer Coin Transferee #1466    [Address on File]    5/19/2023 Bitcoin                              0.00180447 Customer Transfer
 Confidential Customer Coin Transferee #1467    [Address on File]    5/18/2023 Bitcoin                              0.01014084 Customer Transfer
 Confidential Customer Coin Transferee #1468    [Address on File]    5/21/2023 Bitcoin                                     0.015 Customer Transfer
 Confidential Customer Coin Transferee #1468    [Address on File]    5/16/2023 Bitcoin                                     0.011 Customer Transfer
 Confidential Customer Coin Transferee #1468    [Address on File]    5/27/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #1468    [Address on File]    5/23/2023 Bitcoin                                    0.0033 Customer Transfer
 Confidential Customer Coin Transferee #1468    [Address on File]    5/23/2023 Bitcoin                                    0.0033 Customer Transfer
 Confidential Customer Coin Transferee #1468    [Address on File]    5/20/2023 Bitcoin                              0.00006108 Customer Transfer
 Confidential Customer Coin Transferee #1468    [Address on File]    5/17/2023 Bitcoin                              0.00003054 Customer Transfer
 Confidential Customer Coin Transferee #1469    [Address on File]    5/29/2023 Bitcoin                                 0.028591 Customer Transfer
 Confidential Customer Coin Transferee #1470    [Address on File]    5/26/2023 Bitcoin                              0.01616534 Customer Transfer
 Confidential Customer Coin Transferee #1471    [Address on File]    5/28/2023 Bitcoin                              0.00176417 Customer Transfer
 Confidential Customer Coin Transferee #1472    [Address on File]    5/17/2023 Bitcoin                              0.00182227 Customer Transfer
 Confidential Customer Coin Transferee #1472    [Address on File]    5/19/2023 Bitcoin                              0.00074073 Customer Transfer
 Confidential Customer Coin Transferee #1473    [Address on File]    5/20/2023 Bitcoin                               0.0033682 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #1474    [Address on File]    5/30/2023 Bitcoin                              0.02771935 Customer Transfer
 Confidential Customer Coin Transferee #1475    [Address on File]    5/21/2023 Bitcoin                              0.00365582 Customer Transfer
 Confidential Customer Coin Transferee #1476    [Address on File]    5/24/2023 Bitcoin                              0.01655339 Customer Transfer
 Confidential Customer Coin Transferee #1477    [Address on File]    5/17/2023 Bitcoin                              0.01118413 Customer Transfer
 Confidential Customer Coin Transferee #1478    [Address on File]    5/30/2023 Bitcoin                              0.00983603 Customer Transfer
 Confidential Customer Coin Transferee #1478    [Address on File]    5/21/2023 Bitcoin                              0.00369892 Customer Transfer
 Confidential Customer Coin Transferee #1479    [Address on File]    6/20/2023 Bitcoin                              0.00042763 Customer Transfer
 Confidential Customer Coin Transferee #1480    [Address on File]    5/25/2023 Bitcoin                              0.02326097 Customer Transfer
 Confidential Customer Coin Transferee #1480    [Address on File]    5/31/2023 Bitcoin                              0.01041358 Customer Transfer
 Confidential Customer Coin Transferee #1481    [Address on File]    5/25/2023 Bitcoin                              0.00189897 Customer Transfer
 Confidential Customer Coin Transferee #1481    [Address on File]    5/24/2023 Bitcoin                              0.00189091 Customer Transfer
 Confidential Customer Coin Transferee #1481    [Address on File]    5/24/2023 Bitcoin                              0.00185827 Customer Transfer
 Confidential Customer Coin Transferee #1482    [Address on File]    5/24/2023 Bitcoin                              0.00128957 Customer Transfer
 Confidential Customer Coin Transferee #1483    [Address on File]    5/16/2023 Bitcoin                              0.04214754 Customer Transfer
 Confidential Customer Coin Transferee #1484    [Address on File]    5/22/2023 Bitcoin                                     0.006 Customer Transfer
 Confidential Customer Coin Transferee #1484    [Address on File]    5/22/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #1485    [Address on File]    5/28/2023 Bitcoin                              0.05424909 Customer Transfer
 Confidential Customer Coin Transferee #1485    [Address on File]    5/18/2023 Bitcoin                              0.04321316 Customer Transfer
 Confidential Customer Coin Transferee #1485    [Address on File]    5/22/2023 Bitcoin                              0.03289984 Customer Transfer
 Confidential Customer Coin Transferee #1486    [Address on File]    5/20/2023 Bitcoin                              0.01030164 Customer Transfer
 Confidential Customer Coin Transferee #1487    [Address on File]    5/19/2023 Bitcoin                              0.00184719 Customer Transfer
 Confidential Customer Coin Transferee #1488    [Address on File]    5/25/2023 Bitcoin                              0.00646549 Customer Transfer
 Confidential Customer Coin Transferee #1488    [Address on File]    5/18/2023 Bitcoin                              0.00459986 Customer Transfer
 Confidential Customer Coin Transferee #1488    [Address on File]    5/29/2023 Bitcoin                              0.00372075 Customer Transfer
 Confidential Customer Coin Transferee #1489    [Address on File]    6/10/2023 Bitcoin                              0.00267351 Customer Transfer
 Confidential Customer Coin Transferee #1490    [Address on File]    6/20/2023 Bitcoin                              0.00085764 Customer Transfer
 Confidential Customer Coin Transferee #1491    [Address on File]    5/27/2023 Bitcoin                                   0.0145 Customer Transfer
 Confidential Customer Coin Transferee #1491    [Address on File]    5/27/2023 Bitcoin                                   0.0135 Customer Transfer
 Confidential Customer Coin Transferee #1491    [Address on File]    5/21/2023 Bitcoin                                     0.013 Customer Transfer
 Confidential Customer Coin Transferee #1491    [Address on File]    5/21/2023 Bitcoin                                     0.012 Customer Transfer
 Confidential Customer Coin Transferee #1492    [Address on File]    6/20/2023 Bitcoin                               0.0011031 Customer Transfer
 Confidential Customer Coin Transferee #1493    [Address on File]    6/19/2023 Bitcoin                               0.0058872 Customer Transfer
 Confidential Customer Coin Transferee #1494    [Address on File]    5/31/2023 Bitcoin                              0.01180142 Customer Transfer
 Confidential Customer Coin Transferee #1495    [Address on File]    5/26/2023 Bitcoin                              0.00565143 Customer Transfer
 Confidential Customer Coin Transferee #1496    [Address on File]    5/24/2023 Bitcoin                              0.00376517 Customer Transfer
 Confidential Customer Coin Transferee #1497    [Address on File]    5/21/2023 Bitcoin                              0.00256034 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #1497    [Address on File]     5/20/2023 Bitcoin                             0.00092358 Customer Transfer
 Confidential Customer Coin Transferee #1497    [Address on File]     5/20/2023 Bitcoin                             0.00091856 Customer Transfer
 Confidential Customer Coin Transferee #1497    [Address on File]     5/23/2023 Bitcoin                             0.00074591 Customer Transfer
 Confidential Customer Coin Transferee #1497    [Address on File]     5/23/2023 Bitcoin                             0.00074528 Customer Transfer
 Confidential Customer Coin Transferee #1497    [Address on File]     5/22/2023 Bitcoin                              0.0007405 Customer Transfer
 Confidential Customer Coin Transferee #1497    [Address on File]     5/22/2023 Bitcoin                             0.00037706 Customer Transfer
 Confidential Customer Coin Transferee #1497    [Address on File]     5/21/2023 Bitcoin                             0.00036963 Customer Transfer
 Confidential Customer Coin Transferee #1498    [Address on File]     5/18/2023 Bitcoin                             0.00029086 Customer Transfer
 Confidential Customer Coin Transferee #1499    [Address on File]     5/17/2023 Bitcoin                             0.00106151 Customer Transfer
 Confidential Customer Coin Transferee #1500    [Address on File]     6/19/2023 Bitcoin                             0.05164655 Customer Transfer
 Confidential Customer Coin Transferee #1501    [Address on File]     6/18/2023 Bitcoin                             0.01014037 Customer Transfer
 Confidential Customer Coin Transferee #1502    [Address on File]     6/20/2023 Bitcoin                             0.00006008 Customer Transfer
 Confidential Customer Coin Transferee #1503    [Address on File]     5/25/2023 Bitcoin                             0.01353938 Customer Transfer
 Confidential Customer Coin Transferee #1504    [Address on File]     5/26/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #1504    [Address on File]     5/31/2023 Bitcoin                                 0.00125 Customer Transfer
 Confidential Customer Coin Transferee #1504    [Address on File]     5/26/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #1504    [Address on File]     5/29/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #1504    [Address on File]     5/31/2023 Bitcoin                                  0.0008 Customer Transfer
 Confidential Customer Coin Transferee #1504    [Address on File]     5/26/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #1504    [Address on File]     5/30/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #1504    [Address on File]     5/31/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #1504    [Address on File]     5/31/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #1505    [Address on File]     5/27/2023 Bitcoin                             0.03572079 Customer Transfer
 Confidential Customer Coin Transferee #1505    [Address on File]     5/19/2023 Bitcoin                             0.03307396 Customer Transfer
 Confidential Customer Coin Transferee #1505    [Address on File]     5/22/2023 Bitcoin                             0.02950591 Customer Transfer
 Confidential Customer Coin Transferee #1505    [Address on File]     5/31/2023 Bitcoin                             0.02899107 Customer Transfer
 Confidential Customer Coin Transferee #1505    [Address on File]     5/27/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #1506    [Address on File]     5/25/2023 Bitcoin                             0.00323906 Customer Transfer
 Confidential Customer Coin Transferee #1506    [Address on File]     5/27/2023 Bitcoin                             0.00020237 Customer Transfer
 Confidential Customer Coin Transferee #1507    [Address on File]     5/20/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #1508    [Address on File]     5/16/2023 Bitcoin                             0.00942361 Customer Transfer
 Confidential Customer Coin Transferee #1508    [Address on File]      6/6/2023 Bitcoin                             0.00767635 Customer Transfer
 Confidential Customer Coin Transferee #1508    [Address on File]      6/1/2023 Bitcoin                             0.00716379 Customer Transfer
 Confidential Customer Coin Transferee #1508    [Address on File]     5/30/2023 Bitcoin                              0.0057264 Customer Transfer
 Confidential Customer Coin Transferee #1508    [Address on File]     5/25/2023 Bitcoin                             0.00303551 Customer Transfer
 Confidential Customer Coin Transferee #1508    [Address on File]     5/24/2023 Bitcoin                             0.00302447 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #1508    [Address on File]     5/24/2023 Bitcoin                             0.00302356 Customer Transfer
 Confidential Customer Coin Transferee #1508    [Address on File]     5/25/2023 Bitcoin                             0.00300763 Customer Transfer
 Confidential Customer Coin Transferee #1509    [Address on File]     5/25/2023 Bitcoin                             0.06131246 Customer Transfer
 Confidential Customer Coin Transferee #1510    [Address on File]     6/19/2023 Bitcoin                             0.00011307 Customer Transfer
 Confidential Customer Coin Transferee #1511    [Address on File]     6/12/2023 USDC Solana)                                10 Customer Transfer
 Confidential Customer Coin Transferee #1512    [Address on File]     6/20/2023 Bitcoin                             0.00183386 Customer Transfer
 Confidential Customer Coin Transferee #1513    [Address on File]     6/19/2023 Bitcoin                             0.00005944 Customer Transfer
 Confidential Customer Coin Transferee #1514    [Address on File]      6/6/2023 Bitcoin                             0.02282703 Customer Transfer
 Confidential Customer Coin Transferee #1515    [Address on File]     6/20/2023 Bitcoin                              0.0001362 Customer Transfer
 Confidential Customer Coin Transferee #1516    [Address on File]     6/20/2023 Bitcoin                              0.0000902 Customer Transfer
 Confidential Customer Coin Transferee #1517    [Address on File]     5/28/2023 Bitcoin                             0.02981497 Customer Transfer
 Confidential Customer Coin Transferee #1517    [Address on File]     5/21/2023 Bitcoin                             0.02829896 Customer Transfer
 Confidential Customer Coin Transferee #1518    [Address on File]     6/20/2023 Bitcoin                             0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #1519    [Address on File]     6/20/2023 Bitcoin                             0.00102577 Customer Transfer
 Confidential Customer Coin Transferee #1520    [Address on File]     6/19/2023 Bitcoin                              0.0055631 Customer Transfer
 Confidential Customer Coin Transferee #1521    [Address on File]     5/20/2023 Bitcoin                             0.06122853 Customer Transfer
 Confidential Customer Coin Transferee #1522    [Address on File]     6/21/2023 Bitcoin                             0.01754038 Customer Transfer
 Confidential Customer Coin Transferee #1522    [Address on File]     5/18/2023 Bitcoin                             0.01722463 Customer Transfer
 Confidential Customer Coin Transferee #1522    [Address on File]      6/4/2023 Bitcoin                             0.01718725 Customer Transfer
 Confidential Customer Coin Transferee #1523    [Address on File]     6/19/2023 Bitcoin                             0.00283174 Customer Transfer
 Confidential Customer Coin Transferee #1524    [Address on File]      6/9/2023 Bitcoin                             0.04698781 Customer Transfer
 Confidential Customer Coin Transferee #1525    [Address on File]     5/24/2023 Bitcoin                             0.00185898 Customer Transfer
 Confidential Customer Coin Transferee #1525    [Address on File]     5/17/2023 Bitcoin                             0.00172903 Customer Transfer
 Confidential Customer Coin Transferee #1526    [Address on File]     6/20/2023 Bitcoin                             0.00142789 Customer Transfer
 Confidential Customer Coin Transferee #1527    [Address on File]     5/19/2023 Bitcoin                             0.01495954 Customer Transfer
 Confidential Customer Coin Transferee #1528    [Address on File]     5/27/2023 Bitcoin                             0.00369441 Customer Transfer
 Confidential Customer Coin Transferee #1528    [Address on File]     5/20/2023 Bitcoin                             0.00361298 Customer Transfer
 Confidential Customer Coin Transferee #1529    [Address on File]     5/23/2023 Bitcoin                             0.02950954 Customer Transfer
 Confidential Customer Coin Transferee #1530    [Address on File]     6/20/2023 Bitcoin                             0.00332445 Customer Transfer
 Confidential Customer Coin Transferee #1531    [Address on File]     5/23/2023 Bitcoin                             0.01058927 Customer Transfer
 Confidential Customer Coin Transferee #1532    [Address on File]     5/22/2023 Bitcoin                             0.01186158 Customer Transfer
 Confidential Customer Coin Transferee #1533    [Address on File]     6/20/2023 Bitcoin                             0.00039295 Customer Transfer
 Confidential Customer Coin Transferee #1534    [Address on File]     5/29/2023 Bitcoin                             0.02831163 Customer Transfer

 Confidential Customer Coin Transferee #1535    [Address on File]     6/19/2023 Bitcoin                                0.00081365 Customer Transfer
 Confidential Customer Coin Transferee #1536    [Address on File]      6/6/2023 Bitcoin                                0.00383486 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #1536    [Address on File]     5/16/2023 Bitcoin                             0.00036658 Customer Transfer

 Confidential Customer Coin Transferee #1537    [Address on File]     5/17/2023 Bitcoin                                 0.1303398 Customer Transfer
 Confidential Customer Coin Transferee #1538    [Address on File]     5/17/2023 Bitcoin                                0.08586785 Customer Transfer
 Confidential Customer Coin Transferee #1539    [Address on File]     5/22/2023 Bitcoin                                0.00540607 Customer Transfer
 Confidential Customer Coin Transferee #1540    [Address on File]     5/22/2023 Bitcoin                                0.01046198 Customer Transfer
 Confidential Customer Coin Transferee #1541    [Address on File]     5/26/2023 Bitcoin                                0.04069109 Customer Transfer
 Confidential Customer Coin Transferee #1542    [Address on File]     5/24/2023 Bitcoin                                0.02576773 Customer Transfer
 Confidential Customer Coin Transferee #1543    [Address on File]     5/26/2023 Bitcoin                                0.00185941 Customer Transfer
 Confidential Customer Coin Transferee #1543    [Address on File]     5/19/2023 Bitcoin                                0.00172608 Customer Transfer
 Confidential Customer Coin Transferee #1544    [Address on File]     5/22/2023 Bitcoin                                1.14713709 Customer Transfer
 Confidential Customer Coin Transferee #1545    [Address on File]     5/24/2023 Bitcoin                                0.03560625 Customer Transfer
 Confidential Customer Coin Transferee #1545    [Address on File]     5/17/2023 Bitcoin                                 0.0268739 Customer Transfer
 Confidential Customer Coin Transferee #1546    [Address on File]     6/19/2023 Bitcoin                                0.00339548 Customer Transfer
 Confidential Customer Coin Transferee #1547    [Address on File]     6/12/2023 Bitcoin                                0.00244299 Customer Transfer
 Confidential Customer Coin Transferee #1547    [Address on File]      6/7/2023 Bitcoin                                0.00040905 Customer Transfer
 Confidential Customer Coin Transferee #1548    [Address on File]     5/29/2023 Bitcoin                                 0.0093739 Customer Transfer
 Confidential Customer Coin Transferee #1548    [Address on File]     6/20/2023 Bitcoin                                0.00527671 Customer Transfer
 Confidential Customer Coin Transferee #1549    [Address on File]     5/25/2023 Bitcoin                                0.01022368 Customer Transfer
 Confidential Customer Coin Transferee #1550    [Address on File]     5/18/2023 Bitcoin                                0.01000217 Customer Transfer
 Confidential Customer Coin Transferee #1551    [Address on File]      6/2/2023 Bitcoin                                0.00073812 Customer Transfer
 Confidential Customer Coin Transferee #1551    [Address on File]      6/1/2023 Bitcoin                                0.00073172 Customer Transfer
 Confidential Customer Coin Transferee #1551    [Address on File]     6/13/2023 Bitcoin                                 0.0003846 Customer Transfer
 Confidential Customer Coin Transferee #1551    [Address on File]     5/22/2023 Bitcoin                                0.00036805 Customer Transfer
 Confidential Customer Coin Transferee #1552    [Address on File]     5/21/2023 Bitcoin                                0.01036762 Customer Transfer
 Confidential Customer Coin Transferee #1553    [Address on File]     6/20/2023 Bitcoin                                0.00035048 Customer Transfer
 Confidential Customer Coin Transferee #1554    [Address on File]      6/8/2023 Bitcoin                                0.03047937 Customer Transfer
 Confidential Customer Coin Transferee #1554    [Address on File]     6/19/2023 Bitcoin                                0.00386283 Customer Transfer
 Confidential Customer Coin Transferee #1555    [Address on File]     6/19/2023 Bitcoin                                0.00005798 Customer Transfer
 Confidential Customer Coin Transferee #1556    [Address on File]     5/22/2023 Bitcoin                                0.00558387 Customer Transfer
 Confidential Customer Coin Transferee #1556    [Address on File]     6/12/2023 Bitcoin                                0.00369526 Customer Transfer
 Confidential Customer Coin Transferee #1557    [Address on File]     6/20/2023 Bitcoin                                0.00898119 Customer Transfer
 Confidential Customer Coin Transferee #1558    [Address on File]     5/23/2023 Bitcoin                                       0.03 Customer Transfer
 Confidential Customer Coin Transferee #1559    [Address on File]     6/20/2023 Bitcoin                                0.00011632 Customer Transfer
 Confidential Customer Coin Transferee #1560    [Address on File]     5/26/2023 Bitcoin                                0.00055281 Customer Transfer
 Confidential Customer Coin Transferee #1560    [Address on File]     5/19/2023 Bitcoin                                0.00054297 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #1561    [Address on File]     6/16/2023 Bitcoin                             0.00076177 Customer Transfer
 Confidential Customer Coin Transferee #1561    [Address on File]     6/13/2023 Bitcoin                             0.00074837 Customer Transfer
 Confidential Customer Coin Transferee #1562    [Address on File]     5/23/2023 Bitcoin                             0.01098758 Customer Transfer
 Confidential Customer Coin Transferee #1563    [Address on File]     6/20/2023 Bitcoin                             0.00081352 Customer Transfer
 Confidential Customer Coin Transferee #1564    [Address on File]     6/18/2023 Bitcoin                             0.00117066 Customer Transfer
 Confidential Customer Coin Transferee #1565    [Address on File]     6/19/2023 Bitcoin                             0.00016887 Customer Transfer
 Confidential Customer Coin Transferee #1566    [Address on File]     5/27/2023 Bitcoin                             0.01810827 Customer Transfer
 Confidential Customer Coin Transferee #1567    [Address on File]     6/14/2023 USDC Avalanche)                     197.301349 Customer Transfer
 Confidential Customer Coin Transferee #1567    [Address on File]     6/20/2023 USDC Avalanche)                     196.721148 Customer Transfer
 Confidential Customer Coin Transferee #1568    [Address on File]     5/26/2023 Bitcoin                              0.0101604 Customer Transfer
 Confidential Customer Coin Transferee #1569    [Address on File]     6/13/2023 Bitcoin                             0.00379033 Customer Transfer
 Confidential Customer Coin Transferee #1569    [Address on File]     6/16/2023 Bitcoin                             0.00307877 Customer Transfer
 Confidential Customer Coin Transferee #1569    [Address on File]     5/24/2023 Bitcoin                             0.00063034 Customer Transfer
 Confidential Customer Coin Transferee #1569    [Address on File]      6/9/2023 Bitcoin                             0.00061237 Customer Transfer
 Confidential Customer Coin Transferee #1569    [Address on File]     5/31/2023 Bitcoin                             0.00036979 Customer Transfer
 Confidential Customer Coin Transferee #1570    [Address on File]     5/22/2023 Bitcoin                             0.01114981 Customer Transfer
 Confidential Customer Coin Transferee #1571    [Address on File]     6/20/2023 Bitcoin                             0.00020557 Customer Transfer
 Confidential Customer Coin Transferee #1572    [Address on File]     5/16/2023 Bitcoin                              0.0256415 Customer Transfer
 Confidential Customer Coin Transferee #1573    [Address on File]     5/26/2023 Bitcoin                             0.01262591 Customer Transfer
 Confidential Customer Coin Transferee #1573    [Address on File]     5/19/2023 Bitcoin                             0.00245546 Customer Transfer
 Confidential Customer Coin Transferee #1573    [Address on File]     5/23/2023 Bitcoin                             0.00251873 Customer Transfer
 Confidential Customer Coin Transferee #1573    [Address on File]     5/16/2023 Bitcoin                             0.00242046 Customer Transfer
 Confidential Customer Coin Transferee #1574    [Address on File]      6/7/2023 Bitcoin                             0.01246873 Customer Transfer
 Confidential Customer Coin Transferee #1575    [Address on File]     5/16/2023 Bitcoin                                  0.0185 Customer Transfer
 Confidential Customer Coin Transferee #1576    [Address on File]     5/18/2023 Bitcoin                             0.10744675 Customer Transfer
 Confidential Customer Coin Transferee #1577    [Address on File]     5/16/2023 Bitcoin                              0.0188393 Customer Transfer
 Confidential Customer Coin Transferee #1577    [Address on File]     5/24/2023 Bitcoin                             0.01568881 Customer Transfer
 Confidential Customer Coin Transferee #1578    [Address on File]     6/20/2023 Bitcoin                             0.00580332 Customer Transfer
 Confidential Customer Coin Transferee #1579    [Address on File]     5/28/2023 Bitcoin                             0.10379926 Customer Transfer
 Confidential Customer Coin Transferee #1580    [Address on File]     6/20/2023 Bitcoin                             0.00060303 Customer Transfer
 Confidential Customer Coin Transferee #1581    [Address on File]     6/19/2023 Bitcoin                              0.0031176 Customer Transfer
 Confidential Customer Coin Transferee #1582    [Address on File]     6/20/2023 Bitcoin                             0.00159749 Customer Transfer
 Confidential Customer Coin Transferee #1583    [Address on File]     5/26/2023 Bitcoin                             0.00751859 Customer Transfer
 Confidential Customer Coin Transferee #1583    [Address on File]     5/19/2023 Bitcoin                             0.00369641 Customer Transfer
 Confidential Customer Coin Transferee #1584    [Address on File]     5/24/2023 Bitcoin                             0.00320654 Customer Transfer
 Confidential Customer Coin Transferee #1584    [Address on File]     5/19/2023 Bitcoin                             0.00259295 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #1584    [Address on File]     5/26/2023 Bitcoin                             0.00206733 Customer Transfer
 Confidential Customer Coin Transferee #1584    [Address on File]     5/22/2023 Bitcoin                             0.00205217 Customer Transfer
 Confidential Customer Coin Transferee #1584    [Address on File]     5/31/2023 Bitcoin                             0.00183995 Customer Transfer
 Confidential Customer Coin Transferee #1585    [Address on File]     5/28/2023 Bitcoin                             0.01296307 Customer Transfer
 Confidential Customer Coin Transferee #1585    [Address on File]     5/21/2023 Bitcoin                             0.01226915 Customer Transfer
 Confidential Customer Coin Transferee #1586    [Address on File]     6/20/2023 Bitcoin                             0.00025194 Customer Transfer
 Confidential Customer Coin Transferee #1587    [Address on File]     5/18/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #1588    [Address on File]     5/29/2023 Bitcoin                             0.01097007 Customer Transfer
 Confidential Customer Coin Transferee #1588    [Address on File]     5/26/2023 Bitcoin                             0.01041195 Customer Transfer
 Confidential Customer Coin Transferee #1589    [Address on File]     5/24/2023 Bitcoin                             0.00186088 Customer Transfer
 Confidential Customer Coin Transferee #1590    [Address on File]      6/3/2023 Bitcoin                             0.00388512 Customer Transfer
 Confidential Customer Coin Transferee #1591    [Address on File]     6/20/2023 Bitcoin                             0.00005894 Customer Transfer
 Confidential Customer Coin Transferee #1592    [Address on File]     6/19/2023 Bitcoin                             0.00040689 Customer Transfer
 Confidential Customer Coin Transferee #1593    [Address on File]     5/22/2023 Bitcoin                             0.11808062 Customer Transfer
 Confidential Customer Coin Transferee #1593    [Address on File]     5/26/2023 Bitcoin                             0.11801847 Customer Transfer
 Confidential Customer Coin Transferee #1593    [Address on File]     5/18/2023 Bitcoin                             0.04448665 Customer Transfer
 Confidential Customer Coin Transferee #1594    [Address on File]     6/19/2023 Bitcoin                             0.00043273 Customer Transfer
 Confidential Customer Coin Transferee #1595    [Address on File]     6/15/2023 Bitcoin                             0.00391482 Customer Transfer
 Confidential Customer Coin Transferee #1595    [Address on File]     6/12/2023 Bitcoin                             0.00076166 Customer Transfer
 Confidential Customer Coin Transferee #1596    [Address on File]     5/19/2023 Bitcoin                              0.4502689 Customer Transfer
 Confidential Customer Coin Transferee #1597    [Address on File]     5/23/2023 Bitcoin                             0.00409709 Customer Transfer
 Confidential Customer Coin Transferee #1598    [Address on File]     5/17/2023 Bitcoin                             0.01040415 Customer Transfer
 Confidential Customer Coin Transferee #1598    [Address on File]     5/17/2023 Bitcoin                              0.0017323 Customer Transfer
 Confidential Customer Coin Transferee #1599    [Address on File]     5/24/2023 Bitcoin                             0.03780101 Customer Transfer
 Confidential Customer Coin Transferee #1600    [Address on File]     5/20/2023 Bitcoin                             0.00239099 Customer Transfer
 Confidential Customer Coin Transferee #1601    [Address on File]      6/5/2023 Bitcoin                                 0.01876 Customer Transfer
 Confidential Customer Coin Transferee #1602    [Address on File]     6/20/2023 Bitcoin                             0.00060831 Customer Transfer
 Confidential Customer Coin Transferee #1603    [Address on File]     5/29/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #1604    [Address on File]     6/19/2023 Bitcoin                             0.00003629 Customer Transfer
 Confidential Customer Coin Transferee #1605    [Address on File]      6/1/2023 Bitcoin                             0.00354208 Customer Transfer
 Confidential Customer Coin Transferee #1605    [Address on File]     5/29/2023 Bitcoin                             0.00334103 Customer Transfer
 Confidential Customer Coin Transferee #1606    [Address on File]      6/5/2023 Bitcoin                             0.00175909 Customer Transfer
 Confidential Customer Coin Transferee #1607    [Address on File]     6/19/2023 Bitcoin                             0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #1608    [Address on File]     5/18/2023 Bitcoin                             0.03631506 Customer Transfer
 Confidential Customer Coin Transferee #1609    [Address on File]     6/20/2023 Bitcoin                             0.00070375 Customer Transfer
 Confidential Customer Coin Transferee #1610    [Address on File]     6/19/2023 Bitcoin                             0.00057754 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #1611    [Address on File]     6/20/2023 Bitcoin                             0.00118121 Customer Transfer
 Confidential Customer Coin Transferee #1612    [Address on File]     6/20/2023 Bitcoin                             0.00357859 Customer Transfer
 Confidential Customer Coin Transferee #1613    [Address on File]     6/20/2023 Bitcoin                             0.00004203 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]     5/26/2023 Tether USD                               71178.98 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]     5/22/2023 USD Coin                           44951.53546 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]     5/16/2023 USD Coin                           24669.15383 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]      6/1/2023 USD Coin                           16483.65673 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]      6/1/2023 Tether USD                               16478.87 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]     5/22/2023 USD Coin                           14983.51835 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]     5/26/2023 USD Coin                                 14982.51 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]     5/22/2023 USD Coin                                13985.007 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]     5/26/2023 USD Coin                                 12485.02 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]     5/22/2023 Tether USD                               10631.21 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]     5/25/2023 USD Coin                           9868.636864 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]     5/22/2023 USD Coin                                7492.4985 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]     5/22/2023 USD Coin                                6992.9993 Customer Transfer

 Confidential Customer Coin Transferee #1614    [Address on File]      6/1/2023 Tether USD                                 6497.72 Customer Transfer
 Confidential Customer Coin Transferee #1615    [Address on File]     6/12/2023 Bitcoin                                0.00075172 Customer Transfer
 Confidential Customer Coin Transferee #1615    [Address on File]     5/25/2023 Bitcoin                                0.00034675 Customer Transfer
 Confidential Customer Coin Transferee #1616    [Address on File]     5/30/2023 Bitcoin                                0.01077282 Customer Transfer
 Confidential Customer Coin Transferee #1616    [Address on File]     5/22/2023 Bitcoin                                 0.0092555 Customer Transfer
 Confidential Customer Coin Transferee #1616    [Address on File]     5/17/2023 Bitcoin                                0.00906065 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #1617    [Address on File]     6/19/2023 Bitcoin                             0.00040713 Customer Transfer
 Confidential Customer Coin Transferee #1618    [Address on File]     6/19/2023 Tether USD                                27600 Customer Transfer
 Confidential Customer Coin Transferee #1618    [Address on File]     6/20/2023 Bitcoin                                0.566294 Customer Transfer

 Confidential Customer Coin Transferee #1619    [Address on File]     6/21/2023 Bitcoin                                0.00730138 Customer Transfer
 Confidential Customer Coin Transferee #1620    [Address on File]     5/23/2023 Bitcoin                                0.02062051 Customer Transfer
 Confidential Customer Coin Transferee #1621    [Address on File]     5/22/2023 Bitcoin                                0.20569439 Customer Transfer
 Confidential Customer Coin Transferee #1622    [Address on File]     6/19/2023 Bitcoin                                0.00462415 Customer Transfer
 Confidential Customer Coin Transferee #1623    [Address on File]     6/13/2023 Bitcoin                                0.00193257 Customer Transfer
 Confidential Customer Coin Transferee #1624    [Address on File]     5/31/2023 Bitcoin                                0.10661586 Customer Transfer
 Confidential Customer Coin Transferee #1624    [Address on File]     5/31/2023 Bitcoin                                         0.1 Customer Transfer
 Confidential Customer Coin Transferee #1624    [Address on File]     5/26/2023 Bitcoin                                0.03563425 Customer Transfer
 Confidential Customer Coin Transferee #1625    [Address on File]     5/23/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #1625    [Address on File]     5/26/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #1626    [Address on File]     5/18/2023 Bitcoin                                0.07456868 Customer Transfer
 Confidential Customer Coin Transferee #1626    [Address on File]     5/22/2023 Bitcoin                                0.07418204 Customer Transfer
 Confidential Customer Coin Transferee #1626    [Address on File]     5/19/2023 Bitcoin                                 0.0741135 Customer Transfer
 Confidential Customer Coin Transferee #1626    [Address on File]     5/17/2023 Bitcoin                                0.07399658 Customer Transfer
 Confidential Customer Coin Transferee #1626    [Address on File]     5/25/2023 Bitcoin                                0.07331413 Customer Transfer
 Confidential Customer Coin Transferee #1626    [Address on File]     5/19/2023 Bitcoin                                 0.0731443 Customer Transfer
 Confidential Customer Coin Transferee #1626    [Address on File]     5/16/2023 Bitcoin                                 0.0730196 Customer Transfer
 Confidential Customer Coin Transferee #1627    [Address on File]     5/20/2023 Bitcoin                                0.00369393 Customer Transfer
 Confidential Customer Coin Transferee #1628    [Address on File]     5/27/2023 Bitcoin                                   0.013545 Customer Transfer
 Confidential Customer Coin Transferee #1629    [Address on File]     5/20/2023 Bitcoin                                0.00030697 Customer Transfer
 Confidential Customer Coin Transferee #1630    [Address on File]     5/16/2023 Bitcoin                                 0.1827361 Customer Transfer
 Confidential Customer Coin Transferee #1630    [Address on File]     5/16/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #1631    [Address on File]     5/23/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #1632    [Address on File]     5/24/2023 Bitcoin                                0.00371118 Customer Transfer
 Confidential Customer Coin Transferee #1632    [Address on File]     5/24/2023 Bitcoin                                0.00369599 Customer Transfer
 Confidential Customer Coin Transferee #1632    [Address on File]     5/24/2023 Bitcoin                                0.00366105 Customer Transfer
 Confidential Customer Coin Transferee #1632    [Address on File]     5/24/2023 Bitcoin                                0.00365941 Customer Transfer
 Confidential Customer Coin Transferee #1633    [Address on File]     5/17/2023 Bitcoin                                 0.0016839 Customer Transfer
 Confidential Customer Coin Transferee #1633    [Address on File]     5/19/2023 Bitcoin                                 0.0003733 Customer Transfer
 Confidential Customer Coin Transferee #1634    [Address on File]     5/23/2023 Bitcoin                                1.83669067 Customer Transfer
 Confidential Customer Coin Transferee #1634    [Address on File]     5/16/2023 Bitcoin                                1.23737711 Customer Transfer
 Confidential Customer Coin Transferee #1635    [Address on File]     5/24/2023 Bitcoin                                0.09555381 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #1635    [Address on File]     5/19/2023 Bitcoin                                   0.088 Customer Transfer
 Confidential Customer Coin Transferee #1635    [Address on File]     5/16/2023 Bitcoin                             0.00607289 Customer Transfer
 Confidential Customer Coin Transferee #1636    [Address on File]     6/20/2023 Bitcoin                             0.00289004 Customer Transfer
 Confidential Customer Coin Transferee #1637    [Address on File]     5/22/2023 Bitcoin                             0.00944301 Customer Transfer
 Confidential Customer Coin Transferee #1638    [Address on File]     5/24/2023 Bitcoin                             0.02355782 Customer Transfer
 Confidential Customer Coin Transferee #1639    [Address on File]     6/20/2023 Bitcoin                             0.03004815 Customer Transfer
 Confidential Customer Coin Transferee #1640    [Address on File]     6/20/2023 Bitcoin                              0.0000422 Customer Transfer
 Confidential Customer Coin Transferee #1641    [Address on File]     5/21/2023 Bitcoin                             0.02598376 Customer Transfer
 Confidential Customer Coin Transferee #1642    [Address on File]     6/20/2023 Bitcoin                             0.00011606 Customer Transfer
 Confidential Customer Coin Transferee #1643    [Address on File]     5/19/2023 Bitcoin                                   0.047 Customer Transfer
 Confidential Customer Coin Transferee #1643    [Address on File]     5/19/2023 Bitcoin                                   0.045 Customer Transfer
 Confidential Customer Coin Transferee #1643    [Address on File]     5/18/2023 Bitcoin                                   0.043 Customer Transfer
 Confidential Customer Coin Transferee #1643    [Address on File]     5/18/2023 Bitcoin                                    0.04 Customer Transfer
 Confidential Customer Coin Transferee #1643    [Address on File]     5/28/2023 Bitcoin                                    0.03 Customer Transfer
 Confidential Customer Coin Transferee #1643    [Address on File]     5/31/2023 Bitcoin                              0.0168134 Customer Transfer
 Confidential Customer Coin Transferee #1644    [Address on File]     5/19/2023 Bitcoin                             0.00184474 Customer Transfer
 Confidential Customer Coin Transferee #1645    [Address on File]     5/26/2023 Bitcoin                             1.45205889 Customer Transfer
 Confidential Customer Coin Transferee #1646    [Address on File]     5/23/2023 Bitcoin                             0.00349849 Customer Transfer
 Confidential Customer Coin Transferee #1647    [Address on File]     5/17/2023 Bitcoin                             0.01046327 Customer Transfer
 Confidential Customer Coin Transferee #1648    [Address on File]     5/17/2023 Bitcoin                             0.00069659 Customer Transfer
 Confidential Customer Coin Transferee #1649    [Address on File]     5/18/2023 Bitcoin                             0.00430207 Customer Transfer
 Confidential Customer Coin Transferee #1649    [Address on File]     5/17/2023 Bitcoin                             0.00236348 Customer Transfer
 Confidential Customer Coin Transferee #1649    [Address on File]     5/21/2023 Bitcoin                             0.00230876 Customer Transfer
 Confidential Customer Coin Transferee #1649    [Address on File]     5/19/2023 Bitcoin                             0.00222736 Customer Transfer
 Confidential Customer Coin Transferee #1649    [Address on File]     5/21/2023 Bitcoin                             0.00213888 Customer Transfer
 Confidential Customer Coin Transferee #1649    [Address on File]     5/21/2023 Bitcoin                             0.00176223 Customer Transfer
 Confidential Customer Coin Transferee #1649    [Address on File]     5/21/2023 Bitcoin                             0.00114489 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/20/2023 Bitcoin                             0.06689889 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/30/2023 Bitcoin                             0.06337706 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/25/2023 Bitcoin                             0.05326166 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/16/2023 Bitcoin                             0.04770253 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/24/2023 Bitcoin                             0.04751913 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/26/2023 Bitcoin                             0.04483346 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/25/2023 Bitcoin                             0.03791535 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/16/2023 Bitcoin                             0.03788869 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/28/2023 Bitcoin                             0.02693517 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/18/2023 Bitcoin                             0.01599632 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/18/2023 Bitcoin                             0.01321979 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/28/2023 Bitcoin                             0.00971118 Customer Transfer
 Confidential Customer Coin Transferee #1650    [Address on File]     5/24/2023 Bitcoin                                0.001695 Customer Transfer

 Confidential Customer Coin Transferee #1651    [Address on File]     5/29/2023 Tether USD                               640.1625 Customer Transfer
 Confidential Customer Coin Transferee #1652    [Address on File]     5/20/2023 Bitcoin                                0.08769494 Customer Transfer
 Confidential Customer Coin Transferee #1653    [Address on File]      6/2/2023 Bitcoin                                0.01072892 Customer Transfer
 Confidential Customer Coin Transferee #1654    [Address on File]     5/25/2023 Bitcoin                                   0.004476 Customer Transfer
 Confidential Customer Coin Transferee #1655    [Address on File]     5/26/2023 Bitcoin                                0.01842411 Customer Transfer
 Confidential Customer Coin Transferee #1655    [Address on File]     5/27/2023 Bitcoin                                0.01825695 Customer Transfer
 Confidential Customer Coin Transferee #1655    [Address on File]     5/18/2023 Bitcoin                                0.00743304 Customer Transfer
 Confidential Customer Coin Transferee #1655    [Address on File]     5/18/2023 Bitcoin                                0.00558022 Customer Transfer
 Confidential Customer Coin Transferee #1655    [Address on File]     5/19/2023 Bitcoin                                0.00370418 Customer Transfer
 Confidential Customer Coin Transferee #1656    [Address on File]     6/20/2023 Bitcoin                                0.00497044 Customer Transfer

 Confidential Customer Coin Transferee #1657    [Address on File]     5/17/2023 Bitcoin                                0.02812768 Customer Transfer
 Confidential Customer Coin Transferee #1658    [Address on File]      6/2/2023 Bitcoin                                0.00018518 Customer Transfer
 Confidential Customer Coin Transferee #1659    [Address on File]     6/20/2023 Bitcoin                                 0.0000604 Customer Transfer
 Confidential Customer Coin Transferee #1660    [Address on File]     5/29/2023 USD Coin                                 480.1695 Customer Transfer
 Confidential Customer Coin Transferee #1661    [Address on File]     5/22/2023 Bitcoin                                 0.0003719 Customer Transfer
 Confidential Customer Coin Transferee #1661    [Address on File]     5/26/2023 Bitcoin                                0.00021612 Customer Transfer
 Confidential Customer Coin Transferee #1662    [Address on File]     5/24/2023 Bitcoin                                0.01838124 Customer Transfer
 Confidential Customer Coin Transferee #1662    [Address on File]     5/19/2023 Bitcoin                                0.01833461 Customer Transfer
 Confidential Customer Coin Transferee #1662    [Address on File]     5/31/2023 Bitcoin                                0.01826906 Customer Transfer
 Confidential Customer Coin Transferee #1662    [Address on File]     5/30/2023 Bitcoin                                0.01779123 Customer Transfer
 Confidential Customer Coin Transferee #1662    [Address on File]     5/18/2023 Bitcoin                                0.01124463 Customer Transfer
 Confidential Customer Coin Transferee #1663    [Address on File]     6/19/2023 Bitcoin                                 0.0002657 Customer Transfer
 Confidential Customer Coin Transferee #1664    [Address on File]     6/19/2023 Bitcoin                                0.00021472 Customer Transfer
 Confidential Customer Coin Transferee #1665    [Address on File]     6/20/2023 Bitcoin                                0.00006004 Customer Transfer
 Confidential Customer Coin Transferee #1666    [Address on File]     5/23/2023 Bitcoin                                0.01017517 Customer Transfer
 Confidential Customer Coin Transferee #1667    [Address on File]     6/20/2023 Bitcoin                                0.00126321 Customer Transfer
 Confidential Customer Coin Transferee #1668    [Address on File]      6/9/2023 Solana                                   3.199449 Customer Transfer

 Confidential Customer Coin Transferee #1669    [Address on File]     5/17/2023 Ether                                  0.35950641 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date            Crypto Currency            Unit Count           or Transfer

 Confidential Customer Coin Transferee #1669    [Address on File]     6/21/2023 Ether                                  0.22471822 Customer Transfer

 Confidential Customer Coin Transferee #1669    [Address on File]     5/22/2023 Ether                                  0.17540036 Customer Transfer

 Confidential Customer Coin Transferee #1669    [Address on File]     5/26/2023 Ether                                  0.12533672 Customer Transfer
 Confidential Customer Coin Transferee #1670    [Address on File]     5/28/2023 Bitcoin                                0.01378949 Customer Transfer
 Confidential Customer Coin Transferee #1670    [Address on File]     5/24/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #1671    [Address on File]     5/20/2023 Bitcoin                                0.00741939 Customer Transfer
 Confidential Customer Coin Transferee #1672    [Address on File]     6/20/2023 Bitcoin                                0.00356967 Customer Transfer
 Confidential Customer Coin Transferee #1673    [Address on File]     6/19/2023 Bitcoin                                0.00131047 Customer Transfer
 Confidential Customer Coin Transferee #1674    [Address on File]     6/20/2023 Bitcoin                                 0.0000421 Customer Transfer
 Confidential Customer Coin Transferee #1675    [Address on File]     5/22/2023 Bitcoin                                0.00037803 Customer Transfer
 Confidential Customer Coin Transferee #1675    [Address on File]     5/29/2023 Bitcoin                                0.00037092 Customer Transfer
 Confidential Customer Coin Transferee #1676    [Address on File]     6/20/2023 Bitcoin                                0.00005889 Customer Transfer
 Confidential Customer Coin Transferee #1677    [Address on File]     6/20/2023 Bitcoin                                0.03224525 Customer Transfer
 Confidential Customer Coin Transferee #1678    [Address on File]     5/26/2023 USDC Avalanche)                        996.061969 Customer Transfer
 Confidential Customer Coin Transferee #1678    [Address on File]     5/26/2023 USDC Avalanche)                        995.962422 Customer Transfer
 Confidential Customer Coin Transferee #1678    [Address on File]     5/29/2023 USDC Avalanche)                        496.751948 Customer Transfer
 Confidential Customer Coin Transferee #1678    [Address on File]     5/26/2023 USDC Avalanche)                        496.712301 Customer Transfer
 Confidential Customer Coin Transferee #1678    [Address on File]     5/16/2023 USDC Avalanche)                        193.302009 Customer Transfer
 Confidential Customer Coin Transferee #1679    [Address on File]     5/18/2023 Bitcoin                                0.00187996 Customer Transfer
 Confidential Customer Coin Transferee #1679    [Address on File]     5/19/2023 Bitcoin                                0.00106521 Customer Transfer
 Confidential Customer Coin Transferee #1680    [Address on File]     5/26/2023 Bitcoin                                0.03654459 Customer Transfer
 Confidential Customer Coin Transferee #1681    [Address on File]     5/22/2023 Bitcoin                                        0.05 Customer Transfer
 Confidential Customer Coin Transferee #1681    [Address on File]     5/22/2023 Bitcoin                                        0.03 Customer Transfer
 Confidential Customer Coin Transferee #1681    [Address on File]     5/22/2023 Bitcoin                                      0.004 Customer Transfer
 Confidential Customer Coin Transferee #1682    [Address on File]     6/20/2023 Bitcoin                                0.00371177 Customer Transfer
 Confidential Customer Coin Transferee #1683    [Address on File]     6/20/2023 Bitcoin                                0.00047583 Customer Transfer
 Confidential Customer Coin Transferee #1684    [Address on File]     5/16/2023 Bitcoin                                 0.3541671 Customer Transfer
 Confidential Customer Coin Transferee #1685    [Address on File]     5/27/2023 Bitcoin                                0.00364876 Customer Transfer
 Confidential Customer Coin Transferee #1685    [Address on File]     5/25/2023 Bitcoin                                0.00331964 Customer Transfer
 Confidential Customer Coin Transferee #1686    [Address on File]     5/26/2023 Bitcoin                                0.00942537 Customer Transfer
 Confidential Customer Coin Transferee #1687    [Address on File]     5/20/2023 Bitcoin                                     0.0005 Customer Transfer
 Confidential Customer Coin Transferee #1688    [Address on File]     5/18/2023 Bitcoin                                0.02637709 Customer Transfer
 Confidential Customer Coin Transferee #1688    [Address on File]      6/1/2023 Bitcoin                                0.01295209 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #1688    [Address on File]      6/2/2023 Bitcoin                             0.00403206 Customer Transfer
 Confidential Customer Coin Transferee #1688    [Address on File]      6/2/2023 Bitcoin                             0.00096417 Customer Transfer
 Confidential Customer Coin Transferee #1689    [Address on File]     5/24/2023 Bitcoin                             0.01207681 Customer Transfer
 Confidential Customer Coin Transferee #1690    [Address on File]     5/17/2023 Bitcoin                             0.00724491 Customer Transfer
 Confidential Customer Coin Transferee #1691    [Address on File]     5/25/2023 Bitcoin                             0.06785521 Customer Transfer
 Confidential Customer Coin Transferee #1692    [Address on File]     5/19/2023 Bitcoin                             0.03692747 Customer Transfer
 Confidential Customer Coin Transferee #1692    [Address on File]     5/16/2023 Bitcoin                             0.01468854 Customer Transfer
 Confidential Customer Coin Transferee #1693    [Address on File]     5/21/2023 Bitcoin                             0.01383286 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/25/2023 Bitcoin                             0.00282714 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/26/2023 Bitcoin                             0.00281995 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/24/2023 Bitcoin                              0.0027927 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/27/2023 Bitcoin                             0.00279043 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/22/2023 Bitcoin                             0.00277866 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/21/2023 Bitcoin                             0.00277621 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/19/2023 Bitcoin                             0.00277467 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/17/2023 Bitcoin                             0.00275923 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/20/2023 Bitcoin                             0.00275884 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/18/2023 Bitcoin                             0.00275558 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/16/2023 Bitcoin                             0.00275473 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/28/2023 Bitcoin                             0.00274748 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/23/2023 Bitcoin                              0.0027217 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/29/2023 Bitcoin                             0.00269848 Customer Transfer
 Confidential Customer Coin Transferee #1694    [Address on File]     5/30/2023 Bitcoin                             0.00267072 Customer Transfer
 Confidential Customer Coin Transferee #1695    [Address on File]     5/26/2023 Bitcoin                             0.22080151 Customer Transfer
 Confidential Customer Coin Transferee #1696    [Address on File]     5/26/2023 Bitcoin                             0.00176241 Customer Transfer
 Confidential Customer Coin Transferee #1697    [Address on File]     5/22/2023 Bitcoin                             0.00197504 Customer Transfer
 Confidential Customer Coin Transferee #1698    [Address on File]      6/1/2023 Bitcoin                             0.00161234 Customer Transfer
 Confidential Customer Coin Transferee #1699    [Address on File]      6/2/2023 Bitcoin                             0.00289867 Customer Transfer
 Confidential Customer Coin Transferee #1699    [Address on File]      6/6/2023 Bitcoin                             0.00256986 Customer Transfer
 Confidential Customer Coin Transferee #1700    [Address on File]     6/19/2023 Bitcoin                             0.00094672 Customer Transfer
 Confidential Customer Coin Transferee #1700    [Address on File]      6/7/2023 Bitcoin                             0.00092245 Customer Transfer
 Confidential Customer Coin Transferee #1700    [Address on File]     5/24/2023 Bitcoin                             0.00091757 Customer Transfer
 Confidential Customer Coin Transferee #1700    [Address on File]      6/1/2023 Bitcoin                             0.00091569 Customer Transfer
 Confidential Customer Coin Transferee #1700    [Address on File]     5/18/2023 Bitcoin                             0.00091478 Customer Transfer
 Confidential Customer Coin Transferee #1701    [Address on File]     5/20/2023 Bitcoin                             0.01076513 Customer Transfer
 Confidential Customer Coin Transferee #1701    [Address on File]     5/22/2023 Bitcoin                             0.00627275 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #1701    [Address on File]     5/17/2023 Bitcoin                             0.00555972 Customer Transfer
 Confidential Customer Coin Transferee #1701    [Address on File]     5/16/2023 Bitcoin                             0.00406359 Customer Transfer
 Confidential Customer Coin Transferee #1701    [Address on File]     5/24/2023 Bitcoin                             0.00404709 Customer Transfer
 Confidential Customer Coin Transferee #1701    [Address on File]     5/18/2023 Bitcoin                             0.00149046 Customer Transfer
 Confidential Customer Coin Transferee #1702    [Address on File]     6/20/2023 Bitcoin                             0.00043417 Customer Transfer
 Confidential Customer Coin Transferee #1703    [Address on File]     5/20/2023 Bitcoin                             0.02785145 Customer Transfer
 Confidential Customer Coin Transferee #1704    [Address on File]     6/20/2023 Bitcoin                             0.00005236 Customer Transfer
 Confidential Customer Coin Transferee #1705    [Address on File]      6/3/2023 Bitcoin                             0.00105339 Customer Transfer
 Confidential Customer Coin Transferee #1705    [Address on File]     5/26/2023 Bitcoin                             0.00055305 Customer Transfer
 Confidential Customer Coin Transferee #1705    [Address on File]     5/19/2023 Bitcoin                             0.00054267 Customer Transfer
 Confidential Customer Coin Transferee #1706    [Address on File]      6/6/2023 Bitcoin                             0.00190797 Customer Transfer
 Confidential Customer Coin Transferee #1706    [Address on File]     6/15/2023 Bitcoin                             0.00079217 Customer Transfer
 Confidential Customer Coin Transferee #1706    [Address on File]     6/12/2023 Bitcoin                             0.00077341 Customer Transfer
 Confidential Customer Coin Transferee #1706    [Address on File]     5/26/2023 Bitcoin                             0.00075759 Customer Transfer
 Confidential Customer Coin Transferee #1706    [Address on File]     6/13/2023 Bitcoin                             0.00038457 Customer Transfer
 Confidential Customer Coin Transferee #1706    [Address on File]      6/1/2023 Bitcoin                             0.00036807 Customer Transfer
 Confidential Customer Coin Transferee #1706    [Address on File]     5/30/2023 Bitcoin                              0.0003226 Customer Transfer
 Confidential Customer Coin Transferee #1706    [Address on File]      6/9/2023 Bitcoin                             0.00018843 Customer Transfer
 Confidential Customer Coin Transferee #1707    [Address on File]     5/27/2023 Bitcoin                             0.00257779 Customer Transfer
 Confidential Customer Coin Transferee #1707    [Address on File]     5/19/2023 Bitcoin                              0.0024333 Customer Transfer
 Confidential Customer Coin Transferee #1708    [Address on File]     5/19/2023 Bitcoin                             0.01845785 Customer Transfer
 Confidential Customer Coin Transferee #1708    [Address on File]     5/22/2023 Bitcoin                             0.00589081 Customer Transfer
 Confidential Customer Coin Transferee #1708    [Address on File]     5/19/2023 Bitcoin                             0.00507851 Customer Transfer
 Confidential Customer Coin Transferee #1709    [Address on File]     6/20/2023 Bitcoin                             0.00055844 Customer Transfer
 Confidential Customer Coin Transferee #1710    [Address on File]     6/20/2023 Bitcoin                             0.00177541 Customer Transfer
 Confidential Customer Coin Transferee #1711    [Address on File]     6/19/2023 Bitcoin                             0.00057925 Customer Transfer
 Confidential Customer Coin Transferee #1712    [Address on File]     5/25/2023 Bitcoin                             0.00707092 Customer Transfer
 Confidential Customer Coin Transferee #1713    [Address on File]     6/20/2023 Bitcoin                             0.01875932 Customer Transfer
 Confidential Customer Coin Transferee #1714    [Address on File]     6/20/2023 Bitcoin                             0.00291813 Customer Transfer
 Confidential Customer Coin Transferee #1715    [Address on File]     6/20/2023 Bitcoin                             0.00457288 Customer Transfer
 Confidential Customer Coin Transferee #1716    [Address on File]     5/20/2023 Bitcoin                             0.01748995 Customer Transfer
 Confidential Customer Coin Transferee #1717    [Address on File]     5/18/2023 Bitcoin                             0.01718189 Customer Transfer
 Confidential Customer Coin Transferee #1718    [Address on File]     6/19/2023 Bitcoin                              0.0051553 Customer Transfer
 Confidential Customer Coin Transferee #1719    [Address on File]     6/20/2023 Bitcoin                             0.00005827 Customer Transfer
 Confidential Customer Coin Transferee #1720    [Address on File]      6/1/2023 Bitcoin                             0.00503976 Customer Transfer
 Confidential Customer Coin Transferee #1720    [Address on File]     6/15/2023 Bitcoin                             0.00056633 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #1721    [Address on File]     6/20/2023 Bitcoin                             0.00147463 Customer Transfer
 Confidential Customer Coin Transferee #1722    [Address on File]      6/7/2023 Bitcoin                             0.00040244 Customer Transfer
 Confidential Customer Coin Transferee #1723    [Address on File]     6/20/2023 USD Coin                              4.931752 Customer Transfer
 Confidential Customer Coin Transferee #1724    [Address on File]     5/26/2023 Bitcoin                             0.02547363 Customer Transfer
 Confidential Customer Coin Transferee #1725    [Address on File]     6/12/2023 Bitcoin                              0.0038647 Customer Transfer
 Confidential Customer Coin Transferee #1725    [Address on File]      6/6/2023 Bitcoin                             0.00384597 Customer Transfer
 Confidential Customer Coin Transferee #1725    [Address on File]      6/1/2023 Bitcoin                             0.00369629 Customer Transfer
 Confidential Customer Coin Transferee #1726    [Address on File]     6/20/2023 Bitcoin                             0.00043131 Customer Transfer
 Confidential Customer Coin Transferee #1727    [Address on File]     5/22/2023 Bitcoin                             0.02591031 Customer Transfer
 Confidential Customer Coin Transferee #1728    [Address on File]     6/20/2023 Bitcoin                             0.00705271 Customer Transfer
 Confidential Customer Coin Transferee #1729    [Address on File]     6/20/2023 Bitcoin                             0.00415059 Customer Transfer
 Confidential Customer Coin Transferee #1730    [Address on File]     5/20/2023 Bitcoin                             0.07015187 Customer Transfer

 Confidential Customer Coin Transferee #1731    [Address on File]      6/1/2023 Bitcoin                                0.00334613 Customer Transfer
 Confidential Customer Coin Transferee #1732    [Address on File]     6/19/2023 Bitcoin                                 0.0000411 Customer Transfer
 Confidential Customer Coin Transferee #1733    [Address on File]     5/21/2023 Bitcoin                                0.00365711 Customer Transfer
 Confidential Customer Coin Transferee #1734    [Address on File]     5/21/2023 Bitcoin                                0.00682495 Customer Transfer
 Confidential Customer Coin Transferee #1735    [Address on File]     5/21/2023 Bitcoin                                0.00146986 Customer Transfer
 Confidential Customer Coin Transferee #1735    [Address on File]     5/24/2023 Bitcoin                                0.00111644 Customer Transfer
 Confidential Customer Coin Transferee #1735    [Address on File]     5/22/2023 Bitcoin                                0.00111074 Customer Transfer
 Confidential Customer Coin Transferee #1735    [Address on File]     5/22/2023 Bitcoin                                 0.0011075 Customer Transfer
 Confidential Customer Coin Transferee #1735    [Address on File]     5/21/2023 Bitcoin                                0.00091927 Customer Transfer
 Confidential Customer Coin Transferee #1735    [Address on File]     5/17/2023 Bitcoin                                0.00091702 Customer Transfer
 Confidential Customer Coin Transferee #1735    [Address on File]     5/17/2023 Bitcoin                                0.00073226 Customer Transfer
 Confidential Customer Coin Transferee #1735    [Address on File]     5/17/2023 Bitcoin                                0.00073157 Customer Transfer
 Confidential Customer Coin Transferee #1736    [Address on File]     5/24/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #1737    [Address on File]     5/19/2023 Bitcoin                                0.01017709 Customer Transfer
 Confidential Customer Coin Transferee #1738    [Address on File]     6/20/2023 Bitcoin                                0.00308927 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/17/2023 Bitcoin                                0.00533113 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/19/2023 Bitcoin                                0.00443412 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/25/2023 Bitcoin                                0.00437471 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/21/2023 Bitcoin                                0.00436655 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/25/2023 Bitcoin                                0.00431713 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/19/2023 Bitcoin                                0.00429137 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/25/2023 Bitcoin                                0.00363843 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/20/2023 Bitcoin                                0.00362638 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/27/2023 Bitcoin                             0.00360231 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/21/2023 Bitcoin                             0.00356523 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/29/2023 Bitcoin                             0.00356236 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/19/2023 Bitcoin                             0.00355464 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/18/2023 Bitcoin                             0.00354651 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/17/2023 Bitcoin                             0.00352695 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/19/2023 Bitcoin                             0.00351841 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/18/2023 Bitcoin                             0.00350975 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/29/2023 Bitcoin                             0.00331697 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/28/2023 Bitcoin                             0.00281301 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/19/2023 Bitcoin                             0.00251566 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/16/2023 Bitcoin                             0.00228027 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/28/2023 Bitcoin                             0.00206305 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/20/2023 Bitcoin                             0.00177762 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/26/2023 Bitcoin                             0.00176697 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/17/2023 Bitcoin                             0.00164869 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/24/2023 Bitcoin                             0.00105858 Customer Transfer
 Confidential Customer Coin Transferee #1739    [Address on File]     5/18/2023 Bitcoin                             0.00068987 Customer Transfer
 Confidential Customer Coin Transferee #1740    [Address on File]     5/30/2023 Bitcoin                             0.00056275 Customer Transfer
 Confidential Customer Coin Transferee #1741    [Address on File]      6/1/2023 Tether USD                           4325.4103 Customer Transfer
 Confidential Customer Coin Transferee #1742    [Address on File]     5/24/2023 Tether USD                           7169.5745 Customer Transfer
 Confidential Customer Coin Transferee #1742    [Address on File]      6/8/2023 Tether USD                              3947.96 Customer Transfer
 Confidential Customer Coin Transferee #1742    [Address on File]     5/23/2023 Tether USD                           1966.7369 Customer Transfer
 Confidential Customer Coin Transferee #1742    [Address on File]     5/23/2023 Tether USD                              49.5372 Customer Transfer
 Confidential Customer Coin Transferee #1743    [Address on File]     5/25/2023 Bitcoin                             0.00364755 Customer Transfer
 Confidential Customer Coin Transferee #1744    [Address on File]     5/19/2023 Bitcoin                             0.00122022 Customer Transfer
 Confidential Customer Coin Transferee #1744    [Address on File]     5/29/2023 Bitcoin                             0.00035323 Customer Transfer
 Confidential Customer Coin Transferee #1744    [Address on File]     5/25/2023 Bitcoin                             0.00009585 Customer Transfer
 Confidential Customer Coin Transferee #1744    [Address on File]     5/25/2023 Bitcoin                             0.00009396 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/26/2023 Bitcoin                             0.00101484 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/26/2023 Bitcoin                             0.00075264 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/26/2023 Bitcoin                             0.00075122 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/26/2023 Bitcoin                             0.00060099 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/30/2023 Bitcoin                             0.00053854 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/26/2023 Bitcoin                             0.00044942 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/27/2023 Bitcoin                             0.00037231 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/27/2023 Bitcoin                             0.00037211 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/24/2023 Bitcoin                             0.00037187 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/27/2023 Bitcoin                             0.00037183 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/24/2023 Bitcoin                             0.00037174 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/31/2023 Bitcoin                             0.00037125 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/31/2023 Bitcoin                                 0.00037 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/31/2023 Bitcoin                                 0.00037 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/31/2023 Bitcoin                             0.00036639 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/27/2023 Bitcoin                             0.00036458 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/26/2023 Bitcoin                             0.00036438 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/31/2023 Bitcoin                             0.00036368 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/23/2023 Bitcoin                              0.0003627 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/31/2023 Bitcoin                             0.00036168 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/30/2023 Bitcoin                             0.00035901 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/23/2023 Bitcoin                             0.00033623 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/27/2023 Bitcoin                              0.0003347 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/31/2023 Bitcoin                             0.00026428 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/31/2023 Bitcoin                             0.00025737 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/24/2023 Bitcoin                             0.00025356 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/24/2023 Bitcoin                              0.0002496 Customer Transfer
 Confidential Customer Coin Transferee #1745    [Address on File]     5/31/2023 Bitcoin                             0.00017954 Customer Transfer

 Confidential Customer Coin Transferee #1746    [Address on File]     6/19/2023 Bitcoin                                0.00738206 Customer Transfer
 Confidential Customer Coin Transferee #1747    [Address on File]     6/20/2023 Bitcoin                                 0.0093748 Customer Transfer
 Confidential Customer Coin Transferee #1748    [Address on File]     5/24/2023 Bitcoin                                 0.0067402 Customer Transfer
 Confidential Customer Coin Transferee #1749    [Address on File]     6/20/2023 Bitcoin                                0.00952593 Customer Transfer
 Confidential Customer Coin Transferee #1750    [Address on File]     5/16/2023 Bitcoin                                 0.0009197 Customer Transfer
 Confidential Customer Coin Transferee #1750    [Address on File]     5/21/2023 Bitcoin                                0.00091765 Customer Transfer
 Confidential Customer Coin Transferee #1750    [Address on File]     5/29/2023 Bitcoin                                0.00089772 Customer Transfer
 Confidential Customer Coin Transferee #1751    [Address on File]     5/30/2023 Bitcoin                                0.00179935 Customer Transfer
 Confidential Customer Coin Transferee #1752    [Address on File]     5/18/2023 Bitcoin                                      0.004 Customer Transfer
 Confidential Customer Coin Transferee #1753    [Address on File]     5/31/2023 Bitcoin                                0.00092351 Customer Transfer
 Confidential Customer Coin Transferee #1754    [Address on File]     5/24/2023 Bitcoin                                0.01088691 Customer Transfer
 Confidential Customer Coin Transferee #1754    [Address on File]     5/24/2023 Bitcoin                                0.00094225 Customer Transfer
 Confidential Customer Coin Transferee #1755    [Address on File]     5/30/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #1756    [Address on File]     5/19/2023 Bitcoin                                0.01292693 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #1756    [Address on File]     5/29/2023 Bitcoin                             0.01007578 Customer Transfer
 Confidential Customer Coin Transferee #1756    [Address on File]     5/29/2023 Bitcoin                             0.01006915 Customer Transfer
 Confidential Customer Coin Transferee #1756    [Address on File]     5/29/2023 Bitcoin                             0.01005715 Customer Transfer
 Confidential Customer Coin Transferee #1757    [Address on File]     5/26/2023 Bitcoin                             0.00075342 Customer Transfer
 Confidential Customer Coin Transferee #1757    [Address on File]     5/30/2023 Bitcoin                             0.00062536 Customer Transfer
 Confidential Customer Coin Transferee #1757    [Address on File]     5/24/2023 Bitcoin                             0.00035094 Customer Transfer
 Confidential Customer Coin Transferee #1757    [Address on File]     5/24/2023 Bitcoin                             0.00017936 Customer Transfer
 Confidential Customer Coin Transferee #1757    [Address on File]     5/29/2023 Bitcoin                              0.0001739 Customer Transfer
 Confidential Customer Coin Transferee #1757    [Address on File]     5/29/2023 Bitcoin                             0.00014237 Customer Transfer
 Confidential Customer Coin Transferee #1757    [Address on File]     5/27/2023 Bitcoin                             0.00011184 Customer Transfer
 Confidential Customer Coin Transferee #1757    [Address on File]     5/30/2023 Bitcoin                             0.00010353 Customer Transfer
 Confidential Customer Coin Transferee #1757    [Address on File]     5/29/2023 Bitcoin                             0.00007902 Customer Transfer
 Confidential Customer Coin Transferee #1758    [Address on File]     5/19/2023 Bitcoin                             0.00303215 Customer Transfer
 Confidential Customer Coin Transferee #1759    [Address on File]     5/24/2023 Bitcoin                              0.0005267 Customer Transfer
 Confidential Customer Coin Transferee #1759    [Address on File]     5/23/2023 Bitcoin                             0.00036598 Customer Transfer
 Confidential Customer Coin Transferee #1759    [Address on File]     5/26/2023 Bitcoin                             0.00029707 Customer Transfer
 Confidential Customer Coin Transferee #1759    [Address on File]     5/27/2023 Bitcoin                             0.00026971 Customer Transfer
 Confidential Customer Coin Transferee #1760    [Address on File]     5/22/2023 Bitcoin                             0.01229493 Customer Transfer
 Confidential Customer Coin Transferee #1760    [Address on File]     5/19/2023 Bitcoin                             0.00791936 Customer Transfer
 Confidential Customer Coin Transferee #1761    [Address on File]     5/27/2023 Bitcoin                             0.01484085 Customer Transfer
 Confidential Customer Coin Transferee #1761    [Address on File]     5/18/2023 Bitcoin                             0.00720949 Customer Transfer
 Confidential Customer Coin Transferee #1762    [Address on File]     5/26/2023 Bitcoin                             0.05633266 Customer Transfer
 Confidential Customer Coin Transferee #1763    [Address on File]     5/16/2023 Bitcoin                              0.0264962 Customer Transfer
 Confidential Customer Coin Transferee #1763    [Address on File]     5/16/2023 Bitcoin                             0.01839857 Customer Transfer
 Confidential Customer Coin Transferee #1763    [Address on File]     5/16/2023 Bitcoin                              0.0165753 Customer Transfer
 Confidential Customer Coin Transferee #1763    [Address on File]     5/17/2023 Bitcoin                             0.00488688 Customer Transfer
 Confidential Customer Coin Transferee #1763    [Address on File]     5/17/2023 Bitcoin                             0.00453327 Customer Transfer
 Confidential Customer Coin Transferee #1763    [Address on File]     5/17/2023 Bitcoin                             0.00422142 Customer Transfer
 Confidential Customer Coin Transferee #1763    [Address on File]     5/17/2023 Bitcoin                             0.00397715 Customer Transfer
 Confidential Customer Coin Transferee #1763    [Address on File]     5/16/2023 Bitcoin                              0.0035059 Customer Transfer
 Confidential Customer Coin Transferee #1763    [Address on File]     5/17/2023 Bitcoin                              0.0032724 Customer Transfer
 Confidential Customer Coin Transferee #1763    [Address on File]     5/17/2023 Bitcoin                             0.00146871 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/26/2023 Bitcoin                             0.00489644 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/18/2023 Bitcoin                             0.00363338 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/24/2023 Bitcoin                             0.00293449 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/19/2023 Bitcoin                             0.00285289 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/20/2023 Bitcoin                             0.00277499 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/26/2023 Bitcoin                             0.00188709 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/23/2023 Bitcoin                             0.00182831 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/17/2023 Bitcoin                             0.00180039 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/30/2023 Bitcoin                             0.00169404 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/20/2023 Bitcoin                             0.00151799 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/25/2023 Bitcoin                             0.00106271 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/23/2023 Bitcoin                             0.00102125 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/29/2023 Bitcoin                             0.00076111 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/29/2023 Bitcoin                             0.00072056 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/25/2023 Bitcoin                             0.00068827 Customer Transfer
 Confidential Customer Coin Transferee #1764    [Address on File]     5/30/2023 Bitcoin                             0.00040242 Customer Transfer
 Confidential Customer Coin Transferee #1765    [Address on File]     5/19/2023 Bitcoin                             0.00314565 Customer Transfer
 Confidential Customer Coin Transferee #1766    [Address on File]     5/27/2023 Bitcoin                              0.0007824 Customer Transfer
 Confidential Customer Coin Transferee #1767    [Address on File]     5/22/2023 Bitcoin                             0.00518178 Customer Transfer
 Confidential Customer Coin Transferee #1767    [Address on File]     5/22/2023 Bitcoin                             0.00271817 Customer Transfer
 Confidential Customer Coin Transferee #1768    [Address on File]     5/26/2023 Bitcoin                             0.03707713 Customer Transfer
 Confidential Customer Coin Transferee #1768    [Address on File]     5/17/2023 Bitcoin                             0.00696669 Customer Transfer
 Confidential Customer Coin Transferee #1768    [Address on File]     5/27/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #1768    [Address on File]     5/28/2023 Bitcoin                                  0.0011 Customer Transfer
 Confidential Customer Coin Transferee #1768    [Address on File]     5/20/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #1769    [Address on File]     5/21/2023 Bitcoin                             0.00185156 Customer Transfer
 Confidential Customer Coin Transferee #1769    [Address on File]     5/21/2023 Bitcoin                             0.00092578 Customer Transfer
 Confidential Customer Coin Transferee #1769    [Address on File]     5/21/2023 Bitcoin                             0.00092578 Customer Transfer
 Confidential Customer Coin Transferee #1770    [Address on File]     5/17/2023 Bitcoin                             0.03701615 Customer Transfer
 Confidential Customer Coin Transferee #1771    [Address on File]     5/16/2023 Bitcoin                             0.00368757 Customer Transfer
 Confidential Customer Coin Transferee #1772    [Address on File]     5/18/2023 Bitcoin                             0.04135915 Customer Transfer
 Confidential Customer Coin Transferee #1773    [Address on File]     5/31/2023 Bitcoin                                 0.00187 Customer Transfer
 Confidential Customer Coin Transferee #1773    [Address on File]     5/26/2023 Bitcoin                             0.00180045 Customer Transfer
 Confidential Customer Coin Transferee #1773    [Address on File]     5/31/2023 Bitcoin                             0.00088728 Customer Transfer
 Confidential Customer Coin Transferee #1773    [Address on File]     5/18/2023 Bitcoin                             0.00071416 Customer Transfer
 Confidential Customer Coin Transferee #1774    [Address on File]     5/29/2023 Bitcoin                             0.04800426 Customer Transfer
 Confidential Customer Coin Transferee #1774    [Address on File]     5/17/2023 Bitcoin                              0.0370057 Customer Transfer
 Confidential Customer Coin Transferee #1775    [Address on File]     5/19/2023 Bitcoin                             0.00364819 Customer Transfer
 Confidential Customer Coin Transferee #1775    [Address on File]     5/22/2023 Bitcoin                                  0.0018 Customer Transfer
 Confidential Customer Coin Transferee #1775    [Address on File]     5/24/2023 Bitcoin                                 0.00073 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #1776    [Address on File]     5/16/2023 Bitcoin                                 0.00925 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/20/2023 Bitcoin                             0.00369962 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/28/2023 Bitcoin                             0.00348701 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/25/2023 Bitcoin                              0.0034225 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/20/2023 Bitcoin                             0.00296041 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/28/2023 Bitcoin                             0.00282476 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/20/2023 Bitcoin                             0.00259116 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/25/2023 Bitcoin                             0.00241252 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/16/2023 Bitcoin                             0.00227111 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/20/2023 Bitcoin                              0.0022206 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/28/2023 Bitcoin                             0.00176227 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/30/2023 Bitcoin                              0.0017181 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/25/2023 Bitcoin                                0.001691 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/30/2023 Bitcoin                             0.00085835 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/30/2023 Bitcoin                             0.00085713 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/30/2023 Bitcoin                             0.00085677 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/27/2023 Bitcoin                             0.00070883 Customer Transfer
 Confidential Customer Coin Transferee #1777    [Address on File]     5/25/2023 Bitcoin                              0.0005682 Customer Transfer
 Confidential Customer Coin Transferee #1778    [Address on File]     6/20/2023 Bitcoin                             0.00057804 Customer Transfer
 Confidential Customer Coin Transferee #1779    [Address on File]     5/28/2023 Bitcoin                             0.02186077 Customer Transfer
 Confidential Customer Coin Transferee #1780    [Address on File]     5/20/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #1780    [Address on File]     5/23/2023 Bitcoin                                 0.00074 Customer Transfer
 Confidential Customer Coin Transferee #1781    [Address on File]     5/28/2023 Bitcoin                             0.00186707 Customer Transfer
 Confidential Customer Coin Transferee #1782    [Address on File]     5/19/2023 Bitcoin                             0.01903276 Customer Transfer
 Confidential Customer Coin Transferee #1783    [Address on File]     5/18/2023 Bitcoin                                       0.1 Customer Transfer
 Confidential Customer Coin Transferee #1783    [Address on File]     5/18/2023 Bitcoin                                       0.1 Customer Transfer
 Confidential Customer Coin Transferee #1783    [Address on File]     5/18/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #1784    [Address on File]     5/20/2023 Bitcoin                             0.00011081 Customer Transfer
 Confidential Customer Coin Transferee #1785    [Address on File]     6/19/2023 Bitcoin                             0.02323291 Customer Transfer
 Confidential Customer Coin Transferee #1786    [Address on File]     6/19/2023 Bitcoin                              0.0003509 Customer Transfer
 Confidential Customer Coin Transferee #1787    [Address on File]     5/31/2023 Bitcoin                             0.00157231 Customer Transfer
 Confidential Customer Coin Transferee #1787    [Address on File]     5/30/2023 Bitcoin                                   0.0014 Customer Transfer
 Confidential Customer Coin Transferee #1787    [Address on File]     5/29/2023 Bitcoin                                 0.00085 Customer Transfer
 Confidential Customer Coin Transferee #1787    [Address on File]     5/20/2023 Bitcoin                             0.00084914 Customer Transfer
 Confidential Customer Coin Transferee #1787    [Address on File]     5/28/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #1787    [Address on File]     5/29/2023 Bitcoin                                 0.00026 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #1787    [Address on File]     5/29/2023 Bitcoin                                0.000105 Customer Transfer
 Confidential Customer Coin Transferee #1788    [Address on File]     5/31/2023 Bitcoin                             0.03670253 Customer Transfer
 Confidential Customer Coin Transferee #1789    [Address on File]     5/18/2023 Bitcoin                             0.00281395 Customer Transfer
 Confidential Customer Coin Transferee #1789    [Address on File]     5/24/2023 Bitcoin                             0.00188842 Customer Transfer
 Confidential Customer Coin Transferee #1789    [Address on File]     5/31/2023 Bitcoin                             0.00183579 Customer Transfer
 Confidential Customer Coin Transferee #1789    [Address on File]     5/29/2023 Bitcoin                              0.0017953 Customer Transfer
 Confidential Customer Coin Transferee #1789    [Address on File]     5/29/2023 Bitcoin                             0.00095472 Customer Transfer
 Confidential Customer Coin Transferee #1789    [Address on File]     5/22/2023 Bitcoin                             0.00093416 Customer Transfer
 Confidential Customer Coin Transferee #1789    [Address on File]     5/24/2023 Bitcoin                             0.00093007 Customer Transfer
 Confidential Customer Coin Transferee #1789    [Address on File]     5/17/2023 Bitcoin                             0.00092566 Customer Transfer
 Confidential Customer Coin Transferee #1790    [Address on File]      6/9/2023 Bitcoin                             0.00228723 Customer Transfer
 Confidential Customer Coin Transferee #1790    [Address on File]     6/18/2023 Bitcoin                              0.0015072 Customer Transfer
 Confidential Customer Coin Transferee #1791    [Address on File]     5/17/2023 Bitcoin                             0.00071397 Customer Transfer
 Confidential Customer Coin Transferee #1792    [Address on File]     5/17/2023 Bitcoin                             0.00586699 Customer Transfer
 Confidential Customer Coin Transferee #1793    [Address on File]     6/20/2023 Bitcoin                             0.00078934 Customer Transfer
 Confidential Customer Coin Transferee #1794    [Address on File]     5/22/2023 Bitcoin                             0.01088646 Customer Transfer
 Confidential Customer Coin Transferee #1795    [Address on File]     6/20/2023 Bitcoin                             0.00040687 Customer Transfer
 Confidential Customer Coin Transferee #1796    [Address on File]     5/22/2023 Bitcoin                             0.00170249 Customer Transfer
 Confidential Customer Coin Transferee #1797    [Address on File]     5/22/2023 Bitcoin                             0.02502339 Customer Transfer
 Confidential Customer Coin Transferee #1798    [Address on File]     6/19/2023 Bitcoin                             0.00004351 Customer Transfer
 Confidential Customer Coin Transferee #1799    [Address on File]     5/24/2023 Bitcoin                             0.00144023 Customer Transfer
 Confidential Customer Coin Transferee #1799    [Address on File]     5/17/2023 Bitcoin                             0.00142372 Customer Transfer
 Confidential Customer Coin Transferee #1800    [Address on File]     6/20/2023 Bitcoin                             0.00776791 Customer Transfer
 Confidential Customer Coin Transferee #1800    [Address on File]     5/26/2023 Bitcoin                              0.0036951 Customer Transfer
 Confidential Customer Coin Transferee #1801    [Address on File]     6/20/2023 Bitcoin                             0.00046966 Customer Transfer
 Confidential Customer Coin Transferee #1802    [Address on File]     6/20/2023 Bitcoin                              0.0009001 Customer Transfer
 Confidential Customer Coin Transferee #1803    [Address on File]     5/21/2023 Bitcoin                             0.01764155 Customer Transfer
 Confidential Customer Coin Transferee #1804    [Address on File]     6/19/2023 Bitcoin                             0.00587459 Customer Transfer
 Confidential Customer Coin Transferee #1805    [Address on File]     5/21/2023 Bitcoin                              0.0108285 Customer Transfer
 Confidential Customer Coin Transferee #1806    [Address on File]     5/26/2023 Bitcoin                             0.01025523 Customer Transfer
 Confidential Customer Coin Transferee #1807    [Address on File]     5/19/2023 Bitcoin                             0.00072852 Customer Transfer
 Confidential Customer Coin Transferee #1807    [Address on File]     5/25/2023 Bitcoin                             0.00072789 Customer Transfer
 Confidential Customer Coin Transferee #1808    [Address on File]     5/16/2023 Bitcoin                             0.03541243 Customer Transfer
 Confidential Customer Coin Transferee #1809    [Address on File]     6/20/2023 Bitcoin                             0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #1810    [Address on File]     6/19/2023 Bitcoin                             0.00005802 Customer Transfer
 Confidential Customer Coin Transferee #1811    [Address on File]     6/19/2023 Bitcoin                             0.00028916 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #1812    [Address on File]     6/19/2023 Bitcoin                             0.00058043 Customer Transfer
 Confidential Customer Coin Transferee #1813    [Address on File]     6/20/2023 Bitcoin                             0.02433758 Customer Transfer
 Confidential Customer Coin Transferee #1814    [Address on File]     6/20/2023 Bitcoin                             0.02650928 Customer Transfer
 Confidential Customer Coin Transferee #1815    [Address on File]     6/19/2023 Bitcoin                             0.00138572 Customer Transfer
 Confidential Customer Coin Transferee #1816    [Address on File]     5/17/2023 Bitcoin                             0.00110037 Customer Transfer
 Confidential Customer Coin Transferee #1817    [Address on File]     6/20/2023 Bitcoin                             0.00098445 Customer Transfer
 Confidential Customer Coin Transferee #1818    [Address on File]     5/18/2023 Bitcoin                             0.01012663 Customer Transfer
 Confidential Customer Coin Transferee #1819    [Address on File]     5/29/2023 Bitcoin                             0.02525221 Customer Transfer
 Confidential Customer Coin Transferee #1820    [Address on File]     5/29/2023 Bitcoin                             0.00258421 Customer Transfer
 Confidential Customer Coin Transferee #1820    [Address on File]     6/17/2023 Bitcoin                             0.00233711 Customer Transfer
 Confidential Customer Coin Transferee #1820    [Address on File]     5/17/2023 Bitcoin                             0.00182807 Customer Transfer
 Confidential Customer Coin Transferee #1820    [Address on File]      6/6/2023 Bitcoin                             0.00073707 Customer Transfer
 Confidential Customer Coin Transferee #1820    [Address on File]     5/22/2023 Bitcoin                             0.00073337 Customer Transfer
 Confidential Customer Coin Transferee #1820    [Address on File]     5/31/2023 Bitcoin                             0.00071136 Customer Transfer
 Confidential Customer Coin Transferee #1821    [Address on File]     6/19/2023 Bitcoin                             0.00577053 Customer Transfer
 Confidential Customer Coin Transferee #1822    [Address on File]      6/9/2023 Bitcoin                              0.0114261 Customer Transfer
 Confidential Customer Coin Transferee #1823    [Address on File]     6/20/2023 Bitcoin                             0.01136402 Customer Transfer
 Confidential Customer Coin Transferee #1824    [Address on File]     5/20/2023 Bitcoin                             0.00091215 Customer Transfer
 Confidential Customer Coin Transferee #1825    [Address on File]     5/16/2023 USD Coin                            245.491803 Customer Transfer
 Confidential Customer Coin Transferee #1825    [Address on File]      6/9/2023 Cosmos Hub ATOM)                     70.046493 Customer Transfer
 Confidential Customer Coin Transferee #1825    [Address on File]      6/6/2023 Cosmos Hub ATOM)                     51.333281 Customer Transfer
 Confidential Customer Coin Transferee #1825    [Address on File]     5/31/2023 Cosmos Hub ATOM)                     42.591358 Customer Transfer
 Confidential Customer Coin Transferee #1825    [Address on File]     5/25/2023 Cosmos Hub ATOM)                     28.103995 Customer Transfer
 Confidential Customer Coin Transferee #1825    [Address on File]     6/14/2023 Cosmos Hub ATOM)                     28.042831 Customer Transfer
 Confidential Customer Coin Transferee #1825    [Address on File]     5/16/2023 Cosmos Hub ATOM)                     24.164666 Customer Transfer
 Confidential Customer Coin Transferee #1825    [Address on File]      6/1/2023 Cosmos Hub ATOM)                     19.064692 Customer Transfer
 Confidential Customer Coin Transferee #1825    [Address on File]     5/29/2023 Cosmos Hub ATOM)                      2.865151 Customer Transfer
 Confidential Customer Coin Transferee #1825    [Address on File]     5/16/2023 Ether                                  0.024812 Customer Transfer
 Confidential Customer Coin Transferee #1826    [Address on File]     5/22/2023 Bitcoin                             0.00250012 Customer Transfer
 Confidential Customer Coin Transferee #1827    [Address on File]     6/20/2023 Bitcoin                             0.00032558 Customer Transfer
 Confidential Customer Coin Transferee #1828    [Address on File]     5/16/2023 Litecoin                                   1.88 Customer Transfer
 Confidential Customer Coin Transferee #1828    [Address on File]      6/5/2023 Litecoin                                   1.68 Customer Transfer
 Confidential Customer Coin Transferee #1829    [Address on File]     6/20/2023 Bitcoin                             0.00132426 Customer Transfer
 Confidential Customer Coin Transferee #1830    [Address on File]     5/21/2023 Bitcoin                             0.02697178 Customer Transfer
 Confidential Customer Coin Transferee #1830    [Address on File]     5/18/2023 Bitcoin                             0.00361058 Customer Transfer
 Confidential Customer Coin Transferee #1831    [Address on File]     6/19/2023 Bitcoin                             0.00058146 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #1832    [Address on File]     5/22/2023 Bitcoin                              0.0272699 Customer Transfer
 Confidential Customer Coin Transferee #1833    [Address on File]     5/23/2023 Bitcoin                             0.11633511 Customer Transfer
 Confidential Customer Coin Transferee #1834    [Address on File]     6/19/2023 Bitcoin                             0.04471935 Customer Transfer

 Confidential Customer Coin Transferee #1835    [Address on File]     6/12/2023 Bitcoin                                0.01398649 Customer Transfer
 Confidential Customer Coin Transferee #1836    [Address on File]     6/19/2023 Bitcoin                                0.00026909 Customer Transfer
 Confidential Customer Coin Transferee #1837    [Address on File]     6/19/2023 Bitcoin                                0.00289141 Customer Transfer
 Confidential Customer Coin Transferee #1838    [Address on File]     6/20/2023 Bitcoin                                0.00060445 Customer Transfer
 Confidential Customer Coin Transferee #1839    [Address on File]     6/19/2023 Bitcoin                                0.00389887 Customer Transfer
 Confidential Customer Coin Transferee #1840    [Address on File]     5/20/2023 Bitcoin                                0.01357749 Customer Transfer
 Confidential Customer Coin Transferee #1841    [Address on File]      6/6/2023 Bitcoin                                0.00498173 Customer Transfer
 Confidential Customer Coin Transferee #1841    [Address on File]     5/21/2023 Bitcoin                                0.00458869 Customer Transfer
 Confidential Customer Coin Transferee #1842    [Address on File]     6/20/2023 Bitcoin                                0.00041152 Customer Transfer
 Confidential Customer Coin Transferee #1843    [Address on File]     5/20/2023 Bitcoin                                0.00738942 Customer Transfer
 Confidential Customer Coin Transferee #1844    [Address on File]     5/24/2023 Bitcoin                                0.11036861 Customer Transfer
 Confidential Customer Coin Transferee #1845    [Address on File]     6/20/2023 Bitcoin                                0.00005418 Customer Transfer
 Confidential Customer Coin Transferee #1846    [Address on File]     5/28/2023 Bitcoin                                0.02778306 Customer Transfer
 Confidential Customer Coin Transferee #1847    [Address on File]     5/26/2023 Bitcoin                                0.00092069 Customer Transfer
 Confidential Customer Coin Transferee #1847    [Address on File]     5/19/2023 Bitcoin                                0.00090452 Customer Transfer
 Confidential Customer Coin Transferee #1848    [Address on File]     6/19/2023 Bitcoin                                0.00006008 Customer Transfer
 Confidential Customer Coin Transferee #1849    [Address on File]      6/8/2023 Bitcoin                                 0.0104291 Customer Transfer
 Confidential Customer Coin Transferee #1849    [Address on File]      6/9/2023 Bitcoin                                0.00303817 Customer Transfer
 Confidential Customer Coin Transferee #1850    [Address on File]     6/20/2023 Bitcoin                                0.00242417 Customer Transfer
 Confidential Customer Coin Transferee #1851    [Address on File]     5/29/2023 Bitcoin                                0.00513215 Customer Transfer
 Confidential Customer Coin Transferee #1852    [Address on File]     6/19/2023 Bitcoin                                0.00362243 Customer Transfer
 Confidential Customer Coin Transferee #1853    [Address on File]      6/7/2023 Bitcoin                                   0.002503 Customer Transfer
 Confidential Customer Coin Transferee #1854    [Address on File]     5/20/2023 Bitcoin                                0.00018503 Customer Transfer
 Confidential Customer Coin Transferee #1854    [Address on File]     5/20/2023 Bitcoin                                   0.000185 Customer Transfer
 Confidential Customer Coin Transferee #1854    [Address on File]     5/20/2023 Bitcoin                                    0.00015 Customer Transfer
 Confidential Customer Coin Transferee #1854    [Address on File]     5/20/2023 Bitcoin                                   0.000125 Customer Transfer
 Confidential Customer Coin Transferee #1854    [Address on File]     5/23/2023 Bitcoin                                0.00009437 Customer Transfer
 Confidential Customer Coin Transferee #1855    [Address on File]     6/19/2023 Bitcoin                                0.00005931 Customer Transfer
 Confidential Customer Coin Transferee #1856    [Address on File]     5/18/2023 Bitcoin                                0.02543679 Customer Transfer
 Confidential Customer Coin Transferee #1857    [Address on File]     5/25/2023 Bitcoin                                0.00094682 Customer Transfer
 Confidential Customer Coin Transferee #1858    [Address on File]     5/22/2023 Bitcoin                                       0.112 Customer Transfer
 Confidential Customer Coin Transferee #1858    [Address on File]     5/22/2023 Bitcoin                                0.11095103 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
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                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #1858    [Address on File]     5/23/2023 Bitcoin                             0.07297313 Customer Transfer
 Confidential Customer Coin Transferee #1858    [Address on File]     5/30/2023 Bitcoin                             0.01785336 Customer Transfer
 Confidential Customer Coin Transferee #1859    [Address on File]     5/19/2023 Bitcoin                             0.00370072 Customer Transfer
 Confidential Customer Coin Transferee #1859    [Address on File]     5/23/2023 Bitcoin                             0.00366261 Customer Transfer
 Confidential Customer Coin Transferee #1859    [Address on File]     5/23/2023 Bitcoin                             0.00364246 Customer Transfer
 Confidential Customer Coin Transferee #1859    [Address on File]     5/18/2023 Bitcoin                             0.00363057 Customer Transfer
 Confidential Customer Coin Transferee #1859    [Address on File]     5/25/2023 Bitcoin                             0.00188647 Customer Transfer
 Confidential Customer Coin Transferee #1859    [Address on File]     5/19/2023 Bitcoin                             0.00184896 Customer Transfer
 Confidential Customer Coin Transferee #1859    [Address on File]     5/20/2023 Bitcoin                             0.00184543 Customer Transfer
 Confidential Customer Coin Transferee #1859    [Address on File]     5/23/2023 Bitcoin                                0.001827 Customer Transfer
 Confidential Customer Coin Transferee #1859    [Address on File]     5/23/2023 Bitcoin                              0.0018199 Customer Transfer
 Confidential Customer Coin Transferee #1859    [Address on File]     5/19/2023 Bitcoin                             0.00166161 Customer Transfer
 Confidential Customer Coin Transferee #1860    [Address on File]     5/26/2023 Bitcoin                             0.00092355 Customer Transfer
 Confidential Customer Coin Transferee #1860    [Address on File]     5/19/2023 Bitcoin                             0.00091195 Customer Transfer
 Confidential Customer Coin Transferee #1861    [Address on File]     5/19/2023 Bitcoin                             0.07229261 Customer Transfer
 Confidential Customer Coin Transferee #1861    [Address on File]     5/18/2023 Bitcoin                             0.07145455 Customer Transfer
 Confidential Customer Coin Transferee #1861    [Address on File]     5/16/2023 Bitcoin                              0.0693431 Customer Transfer
 Confidential Customer Coin Transferee #1861    [Address on File]     5/17/2023 Bitcoin                             0.06898878 Customer Transfer
 Confidential Customer Coin Transferee #1862    [Address on File]     6/20/2023 Bitcoin                              0.0536163 Customer Transfer
 Confidential Customer Coin Transferee #1863    [Address on File]     5/17/2023 Bitcoin                                0.000192 Customer Transfer
 Confidential Customer Coin Transferee #1864    [Address on File]     5/19/2023 Bitcoin                             0.01253295 Customer Transfer
 Confidential Customer Coin Transferee #1865    [Address on File]     5/19/2023 Bitcoin                             0.01234206 Customer Transfer
 Confidential Customer Coin Transferee #1865    [Address on File]     5/27/2023 Bitcoin                             0.00510977 Customer Transfer
 Confidential Customer Coin Transferee #1865    [Address on File]     5/29/2023 Bitcoin                             0.00352997 Customer Transfer
 Confidential Customer Coin Transferee #1866    [Address on File]     5/17/2023 Bitcoin                             0.05154346 Customer Transfer
 Confidential Customer Coin Transferee #1867    [Address on File]     5/25/2023 Bitcoin                             0.01139523 Customer Transfer
 Confidential Customer Coin Transferee #1868    [Address on File]     6/20/2023 Bitcoin                             0.00880807 Customer Transfer
 Confidential Customer Coin Transferee #1869    [Address on File]     6/20/2023 Bitcoin                             0.00005975 Customer Transfer
 Confidential Customer Coin Transferee #1870    [Address on File]     5/25/2023 Bitcoin                             0.00845918 Customer Transfer
 Confidential Customer Coin Transferee #1870    [Address on File]     5/18/2023 Bitcoin                             0.00802842 Customer Transfer
 Confidential Customer Coin Transferee #1871    [Address on File]     6/20/2023 Bitcoin                             0.00009002 Customer Transfer
 Confidential Customer Coin Transferee #1872    [Address on File]      6/6/2023 USDC Avalanche)                    2992.774335 Customer Transfer
 Confidential Customer Coin Transferee #1873    [Address on File]     6/21/2023 Bitcoin                             0.00063776 Customer Transfer
 Confidential Customer Coin Transferee #1874    [Address on File]     6/19/2023 Bitcoin                             0.00430617 Customer Transfer
 Confidential Customer Coin Transferee #1875    [Address on File]     5/27/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #1875    [Address on File]     5/27/2023 Bitcoin                                   0.0005 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #1876    [Address on File]     6/17/2023 Ether                                  0.713348 Customer Transfer
 Confidential Customer Coin Transferee #1876    [Address on File]      6/7/2023 Ether                                  0.541969 Customer Transfer
 Confidential Customer Coin Transferee #1876    [Address on File]     5/21/2023 Ether                                  0.438212 Customer Transfer
 Confidential Customer Coin Transferee #1877    [Address on File]     6/19/2023 Bitcoin                             0.01769284 Customer Transfer
 Confidential Customer Coin Transferee #1878    [Address on File]     6/19/2023 Bitcoin                             0.00003548 Customer Transfer
 Confidential Customer Coin Transferee #1879    [Address on File]     6/20/2023 Bitcoin                             0.01008361 Customer Transfer
 Confidential Customer Coin Transferee #1880    [Address on File]     5/17/2023 Bitcoin                             0.02833766 Customer Transfer
 Confidential Customer Coin Transferee #1881    [Address on File]     6/20/2023 Bitcoin                             0.05427246 Customer Transfer
 Confidential Customer Coin Transferee #1882    [Address on File]     6/20/2023 Bitcoin                             0.00053967 Customer Transfer
 Confidential Customer Coin Transferee #1883    [Address on File]     5/28/2023 Bitcoin                             0.21187806 Customer Transfer
 Confidential Customer Coin Transferee #1883    [Address on File]     5/30/2023 Bitcoin                             0.14017254 Customer Transfer
 Confidential Customer Coin Transferee #1883    [Address on File]     5/28/2023 Bitcoin                                   0.0012 Customer Transfer
 Confidential Customer Coin Transferee #1883    [Address on File]     5/28/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #1884    [Address on File]     5/26/2023 Bitcoin                             0.00371951 Customer Transfer
 Confidential Customer Coin Transferee #1884    [Address on File]     5/27/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #1885    [Address on File]     5/24/2023 Bitcoin                             0.06052902 Customer Transfer
 Confidential Customer Coin Transferee #1886    [Address on File]     5/18/2023 Bitcoin                             0.00010876 Customer Transfer
 Confidential Customer Coin Transferee #1887    [Address on File]     5/16/2023 Bitcoin                             0.00811699 Customer Transfer
 Confidential Customer Coin Transferee #1887    [Address on File]     5/26/2023 Bitcoin                             0.00579643 Customer Transfer
 Confidential Customer Coin Transferee #1888    [Address on File]     6/20/2023 Bitcoin                                0.000411 Customer Transfer
 Confidential Customer Coin Transferee #1889    [Address on File]      6/9/2023 Bitcoin                             0.00134347 Customer Transfer
 Confidential Customer Coin Transferee #1890    [Address on File]     5/29/2023 Bitcoin                             0.01029669 Customer Transfer
 Confidential Customer Coin Transferee #1891    [Address on File]     5/19/2023 Bitcoin                             0.02595622 Customer Transfer
 Confidential Customer Coin Transferee #1892    [Address on File]     5/24/2023 Bitcoin                             0.01887744 Customer Transfer
 Confidential Customer Coin Transferee #1893    [Address on File]     6/19/2023 Bitcoin                             0.00029894 Customer Transfer
 Confidential Customer Coin Transferee #1894    [Address on File]     6/19/2023 Bitcoin                             0.00046655 Customer Transfer
 Confidential Customer Coin Transferee #1895    [Address on File]     6/20/2023 Bitcoin                              0.0382466 Customer Transfer
 Confidential Customer Coin Transferee #1896    [Address on File]     5/30/2023 Bitcoin                                0.036672 Customer Transfer
 Confidential Customer Coin Transferee #1896    [Address on File]     5/20/2023 Bitcoin                             0.03215058 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/29/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/19/2023 Bitcoin                             0.00593674 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/29/2023 Bitcoin                             0.00386268 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/17/2023 Bitcoin                             0.00346124 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/17/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/19/2023 Bitcoin                                 0.00175 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/17/2023 Bitcoin                                   0.0015 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/17/2023 Bitcoin                                  0.0015 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/22/2023 Bitcoin                             0.00146046 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/19/2023 Bitcoin                                 0.00125 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/19/2023 Bitcoin                                 0.00125 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/29/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #1897    [Address on File]     5/29/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #1898    [Address on File]     5/28/2023 Bitcoin                                     0.22 Customer Transfer
 Confidential Customer Coin Transferee #1899    [Address on File]     5/31/2023 Bitcoin                             0.04417409 Customer Transfer
 Confidential Customer Coin Transferee #1899    [Address on File]     5/23/2023 Bitcoin                             0.03966173 Customer Transfer
 Confidential Customer Coin Transferee #1899    [Address on File]     5/19/2023 Bitcoin                                    0.027 Customer Transfer
 Confidential Customer Coin Transferee #1899    [Address on File]     5/16/2023 Bitcoin                                  0.0215 Customer Transfer
 Confidential Customer Coin Transferee #1899    [Address on File]     5/17/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #1899    [Address on File]     5/25/2023 Bitcoin                             0.01877983 Customer Transfer
 Confidential Customer Coin Transferee #1899    [Address on File]     5/16/2023 Bitcoin                                  0.0185 Customer Transfer
 Confidential Customer Coin Transferee #1900    [Address on File]     5/19/2023 Bitcoin                              0.1094136 Customer Transfer
 Confidential Customer Coin Transferee #1901    [Address on File]     6/20/2023 Bitcoin                             0.00064768 Customer Transfer
 Confidential Customer Coin Transferee #1902    [Address on File]     5/23/2023 Bitcoin                             0.00924759 Customer Transfer
 Confidential Customer Coin Transferee #1903    [Address on File]     5/22/2023 Bitcoin                             0.00556894 Customer Transfer
 Confidential Customer Coin Transferee #1904    [Address on File]     5/27/2023 Bitcoin                             0.02371477 Customer Transfer
 Confidential Customer Coin Transferee #1905    [Address on File]     5/24/2023 Bitcoin                             0.00388621 Customer Transfer
 Confidential Customer Coin Transferee #1906    [Address on File]     5/24/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #1907    [Address on File]     5/19/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #1907    [Address on File]     5/21/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #1907    [Address on File]     5/23/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #1907    [Address on File]     5/26/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #1907    [Address on File]     5/16/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #1907    [Address on File]     5/25/2023 Bitcoin                             0.00081069 Customer Transfer
 Confidential Customer Coin Transferee #1908    [Address on File]     5/25/2023 Bitcoin                             0.00203831 Customer Transfer
 Confidential Customer Coin Transferee #1909    [Address on File]     5/28/2023 Bitcoin                             0.04226081 Customer Transfer
 Confidential Customer Coin Transferee #1910    [Address on File]     5/18/2023 Bitcoin                             0.01085856 Customer Transfer
 Confidential Customer Coin Transferee #1910    [Address on File]     5/30/2023 Bitcoin                             0.01054963 Customer Transfer
 Confidential Customer Coin Transferee #1910    [Address on File]     5/28/2023 Bitcoin                             0.00731415 Customer Transfer
 Confidential Customer Coin Transferee #1910    [Address on File]     5/28/2023 Bitcoin                             0.00352101 Customer Transfer
 Confidential Customer Coin Transferee #1910    [Address on File]     5/22/2023 Bitcoin                             0.00337069 Customer Transfer
 Confidential Customer Coin Transferee #1910    [Address on File]     5/24/2023 Bitcoin                             0.00188728 Customer Transfer
 Confidential Customer Coin Transferee #1910    [Address on File]     5/29/2023 Bitcoin                             0.00103469 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #1910    [Address on File]     5/29/2023 Bitcoin                             0.00103443 Customer Transfer
 Confidential Customer Coin Transferee #1910    [Address on File]     5/20/2023 Bitcoin                             0.00066454 Customer Transfer
 Confidential Customer Coin Transferee #1911    [Address on File]     5/16/2023 Bitcoin                             0.00365552 Customer Transfer
 Confidential Customer Coin Transferee #1911    [Address on File]     5/18/2023 Bitcoin                             0.00185848 Customer Transfer
 Confidential Customer Coin Transferee #1911    [Address on File]     5/25/2023 Bitcoin                             0.00094744 Customer Transfer
 Confidential Customer Coin Transferee #1911    [Address on File]     5/31/2023 Bitcoin                             0.00091868 Customer Transfer
 Confidential Customer Coin Transferee #1911    [Address on File]     5/28/2023 Bitcoin                             0.00090968 Customer Transfer
 Confidential Customer Coin Transferee #1911    [Address on File]     5/23/2023 Bitcoin                             0.00090927 Customer Transfer
 Confidential Customer Coin Transferee #1912    [Address on File]     6/20/2023 Bitcoin                             0.00008617 Customer Transfer
 Confidential Customer Coin Transferee #1913    [Address on File]     5/22/2023 Bitcoin                             0.01096636 Customer Transfer
 Confidential Customer Coin Transferee #1913    [Address on File]     5/18/2023 Bitcoin                             0.00345726 Customer Transfer
 Confidential Customer Coin Transferee #1914    [Address on File]     5/23/2023 Bitcoin                             0.00035324 Customer Transfer

 Confidential Customer Coin Transferee #1915    [Address on File]     5/27/2023 Bitcoin                                0.00589133 Customer Transfer

 Confidential Customer Coin Transferee #1915    [Address on File]     5/20/2023 Bitcoin                                0.00491033 Customer Transfer
 Confidential Customer Coin Transferee #1916    [Address on File]     6/20/2023 Bitcoin                                0.00149896 Customer Transfer
 Confidential Customer Coin Transferee #1917    [Address on File]     6/19/2023 Bitcoin                                0.00570643 Customer Transfer
 Confidential Customer Coin Transferee #1918    [Address on File]     5/29/2023 Bitcoin                                0.00040724 Customer Transfer
 Confidential Customer Coin Transferee #1919    [Address on File]     6/20/2023 Bitcoin                                0.00635555 Customer Transfer
 Confidential Customer Coin Transferee #1920    [Address on File]     6/20/2023 Bitcoin                                0.00057874 Customer Transfer
 Confidential Customer Coin Transferee #1921    [Address on File]     6/20/2023 Bitcoin                                0.00028912 Customer Transfer
 Confidential Customer Coin Transferee #1922    [Address on File]     6/19/2023 Bitcoin                                0.00005825 Customer Transfer
 Confidential Customer Coin Transferee #1923    [Address on File]     5/29/2023 Bitcoin                                 0.0103708 Customer Transfer
 Confidential Customer Coin Transferee #1924    [Address on File]     5/19/2023 Bitcoin                                0.00876518 Customer Transfer
 Confidential Customer Coin Transferee #1925    [Address on File]     6/19/2023 Bitcoin                                0.00193628 Customer Transfer
 Confidential Customer Coin Transferee #1926    [Address on File]     5/25/2023 Bitcoin                                0.00692456 Customer Transfer
 Confidential Customer Coin Transferee #1926    [Address on File]     6/20/2023 Bitcoin                                0.00423634 Customer Transfer
 Confidential Customer Coin Transferee #1927    [Address on File]     6/19/2023 Bitcoin                                0.00029755 Customer Transfer
 Confidential Customer Coin Transferee #1928    [Address on File]     6/15/2023 USD Coin                                 23.96562 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/22/2023 Bitcoin                                0.04030395 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/21/2023 Bitcoin                                0.03700566 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/20/2023 Bitcoin                                0.03201267 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/25/2023 Bitcoin                                0.03119353 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/22/2023 Bitcoin                                0.02404756 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/18/2023 Bitcoin                                0.02138004 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/24/2023 Bitcoin                                0.018662 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/28/2023 Bitcoin                             0.01647642 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/27/2023 Bitcoin                             0.01598722 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/17/2023 Bitcoin                             0.01586495 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/25/2023 Bitcoin                              0.0135813 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/23/2023 Bitcoin                             0.01169889 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/26/2023 Bitcoin                             0.01032178 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/28/2023 Bitcoin                             0.00999872 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/24/2023 Bitcoin                             0.00939296 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/22/2023 Bitcoin                             0.00861404 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/24/2023 Bitcoin                              0.0081442 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/23/2023 Bitcoin                             0.00796722 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/24/2023 Bitcoin                             0.00777497 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/24/2023 Bitcoin                             0.00668062 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/21/2023 Bitcoin                             0.00654368 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/22/2023 Bitcoin                              0.0040548 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/22/2023 Bitcoin                             0.00330237 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/20/2023 Bitcoin                             0.00327712 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/24/2023 Bitcoin                             0.00324016 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/24/2023 Bitcoin                              0.0030344 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/23/2023 Bitcoin                             0.00302908 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/21/2023 Bitcoin                              0.0029736 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/22/2023 Bitcoin                             0.00296645 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/22/2023 Bitcoin                             0.00270069 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/23/2023 Bitcoin                              0.0022661 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/22/2023 Bitcoin                                0.001859 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/17/2023 Bitcoin                              0.0014776 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/26/2023 Bitcoin                             0.00082148 Customer Transfer
 Confidential Customer Coin Transferee #1929    [Address on File]     5/22/2023 Bitcoin                             0.00063257 Customer Transfer
 Confidential Customer Coin Transferee #1930    [Address on File]     5/18/2023 Bitcoin                             0.01078233 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/29/2023 Bitcoin                             0.00915752 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/28/2023 Bitcoin                             0.00084023 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/27/2023 Bitcoin                             0.00060132 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/28/2023 Bitcoin                             0.00058209 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/31/2023 Bitcoin                             0.00058027 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/28/2023 Bitcoin                                 0.00058 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/30/2023 Bitcoin                             0.00019438 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/27/2023 Bitcoin                             0.00019303 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/29/2023 Bitcoin                             0.00015862 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/31/2023 Bitcoin                             0.00011717 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/27/2023 Bitcoin                             0.00010758 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/28/2023 Bitcoin                                0.000106 Customer Transfer
 Confidential Customer Coin Transferee #1931    [Address on File]     5/28/2023 Bitcoin                             0.00010506 Customer Transfer
 Confidential Customer Coin Transferee #1932    [Address on File]     5/28/2023 Bitcoin                                0.016622 Customer Transfer
 Confidential Customer Coin Transferee #1933    [Address on File]     5/23/2023 Bitcoin                             0.02850226 Customer Transfer
 Confidential Customer Coin Transferee #1934    [Address on File]     5/17/2023 Bitcoin                             0.09309297 Customer Transfer
 Confidential Customer Coin Transferee #1935    [Address on File]     5/22/2023 Bitcoin                                 0.02285 Customer Transfer
 Confidential Customer Coin Transferee #1936    [Address on File]     5/17/2023 Bitcoin                             0.07190771 Customer Transfer
 Confidential Customer Coin Transferee #1936    [Address on File]     5/18/2023 Bitcoin                              0.0001819 Customer Transfer
 Confidential Customer Coin Transferee #1936    [Address on File]     5/18/2023 Bitcoin                             0.00007322 Customer Transfer
 Confidential Customer Coin Transferee #1937    [Address on File]     5/20/2023 Bitcoin                                0.011465 Customer Transfer
 Confidential Customer Coin Transferee #1937    [Address on File]     5/26/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #1938    [Address on File]     5/21/2023 Bitcoin                             0.00738386 Customer Transfer
 Confidential Customer Coin Transferee #1939    [Address on File]     5/22/2023 Bitcoin                             0.01751091 Customer Transfer
 Confidential Customer Coin Transferee #1940    [Address on File]     6/20/2023 Bitcoin                             0.00005162 Customer Transfer
 Confidential Customer Coin Transferee #1941    [Address on File]     5/30/2023 Bitcoin                             0.01047452 Customer Transfer
 Confidential Customer Coin Transferee #1942    [Address on File]     5/22/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #1942    [Address on File]     5/23/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #1943    [Address on File]     5/31/2023 Bitcoin                             0.01608452 Customer Transfer
 Confidential Customer Coin Transferee #1944    [Address on File]     5/26/2023 Bitcoin                             0.00376918 Customer Transfer
 Confidential Customer Coin Transferee #1945    [Address on File]     5/27/2023 Bitcoin                             0.00746228 Customer Transfer
 Confidential Customer Coin Transferee #1945    [Address on File]     5/17/2023 Bitcoin                              0.0074476 Customer Transfer
 Confidential Customer Coin Transferee #1946    [Address on File]     5/19/2023 Bitcoin                             0.00293784 Customer Transfer
 Confidential Customer Coin Transferee #1946    [Address on File]     5/24/2023 Bitcoin                             0.00147756 Customer Transfer
 Confidential Customer Coin Transferee #1946    [Address on File]     5/26/2023 Bitcoin                             0.00060304 Customer Transfer
 Confidential Customer Coin Transferee #1947    [Address on File]     6/20/2023 Bitcoin                             0.00040188 Customer Transfer
 Confidential Customer Coin Transferee #1948    [Address on File]     5/26/2023 Bitcoin                             0.00036909 Customer Transfer
 Confidential Customer Coin Transferee #1948    [Address on File]     5/19/2023 Bitcoin                             0.00036135 Customer Transfer
 Confidential Customer Coin Transferee #1949    [Address on File]     5/21/2023 Bitcoin                             0.01053493 Customer Transfer
 Confidential Customer Coin Transferee #1950    [Address on File]     6/19/2023 Bitcoin                             0.00089842 Customer Transfer
 Confidential Customer Coin Transferee #1951    [Address on File]     5/30/2023 Bitcoin                             0.00084606 Customer Transfer
 Confidential Customer Coin Transferee #1952    [Address on File]     6/20/2023 Bitcoin                             0.00384956 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #1952    [Address on File]     5/31/2023 Bitcoin                             0.00294532 Customer Transfer
 Confidential Customer Coin Transferee #1953    [Address on File]     5/17/2023 Bitcoin                              0.0141335 Customer Transfer
 Confidential Customer Coin Transferee #1954    [Address on File]     6/16/2023 Bitcoin                             0.02637449 Customer Transfer
 Confidential Customer Coin Transferee #1955    [Address on File]     5/23/2023 Bitcoin                             0.01253474 Customer Transfer
 Confidential Customer Coin Transferee #1955    [Address on File]     5/16/2023 Bitcoin                             0.01211191 Customer Transfer
 Confidential Customer Coin Transferee #1956    [Address on File]     6/19/2023 Bitcoin                             0.00011641 Customer Transfer
 Confidential Customer Coin Transferee #1957    [Address on File]      6/2/2023 Bitcoin                             0.00245216 Customer Transfer
 Confidential Customer Coin Transferee #1958    [Address on File]     5/19/2023 Bitcoin                             0.01121058 Customer Transfer
 Confidential Customer Coin Transferee #1959    [Address on File]     6/20/2023 Bitcoin                             0.00045045 Customer Transfer
 Confidential Customer Coin Transferee #1960    [Address on File]     6/20/2023 Bitcoin                             0.00051922 Customer Transfer
 Confidential Customer Coin Transferee #1961    [Address on File]     6/16/2023 Bitcoin                             0.06176171 Customer Transfer
 Confidential Customer Coin Transferee #1961    [Address on File]     5/19/2023 Bitcoin                                0.037595 Customer Transfer
 Confidential Customer Coin Transferee #1961    [Address on File]      6/7/2023 Bitcoin                             0.03629404 Customer Transfer
 Confidential Customer Coin Transferee #1962    [Address on File]     5/30/2023 Bitcoin                             0.03484257 Customer Transfer
 Confidential Customer Coin Transferee #1963    [Address on File]     6/19/2023 Bitcoin                             0.00034743 Customer Transfer
 Confidential Customer Coin Transferee #1964    [Address on File]     5/19/2023 Bitcoin                             0.01820651 Customer Transfer
 Confidential Customer Coin Transferee #1964    [Address on File]     6/14/2023 Bitcoin                             0.01143606 Customer Transfer
 Confidential Customer Coin Transferee #1964    [Address on File]     6/12/2023 Bitcoin                             0.01143097 Customer Transfer
 Confidential Customer Coin Transferee #1964    [Address on File]      6/9/2023 Bitcoin                             0.01132463 Customer Transfer
 Confidential Customer Coin Transferee #1964    [Address on File]     5/29/2023 Bitcoin                             0.01120575 Customer Transfer
 Confidential Customer Coin Transferee #1964    [Address on File]     5/22/2023 Bitcoin                             0.01103769 Customer Transfer
 Confidential Customer Coin Transferee #1964    [Address on File]     5/24/2023 Bitcoin                             0.01102458 Customer Transfer
 Confidential Customer Coin Transferee #1964    [Address on File]      6/2/2023 Bitcoin                             0.01101164 Customer Transfer
 Confidential Customer Coin Transferee #1964    [Address on File]      6/6/2023 Bitcoin                             0.01099514 Customer Transfer
 Confidential Customer Coin Transferee #1964    [Address on File]     5/30/2023 Bitcoin                             0.01074614 Customer Transfer
 Confidential Customer Coin Transferee #1964    [Address on File]     6/19/2023 Bitcoin                             0.00785385 Customer Transfer
 Confidential Customer Coin Transferee #1965    [Address on File]     6/20/2023 Bitcoin                             0.07892367 Customer Transfer
 Confidential Customer Coin Transferee #1966    [Address on File]     5/22/2023 Bitcoin                             0.05646816 Customer Transfer
 Confidential Customer Coin Transferee #1967    [Address on File]     5/19/2023 Bitcoin                              0.0011405 Customer Transfer
 Confidential Customer Coin Transferee #1968    [Address on File]     5/25/2023 Bitcoin                             0.00181657 Customer Transfer
 Confidential Customer Coin Transferee #1968    [Address on File]     5/18/2023 Bitcoin                             0.00179332 Customer Transfer
 Confidential Customer Coin Transferee #1969    [Address on File]     6/20/2023 Bitcoin                             0.00094723 Customer Transfer
 Confidential Customer Coin Transferee #1970    [Address on File]     5/24/2023 Bitcoin                             0.10531288 Customer Transfer
 Confidential Customer Coin Transferee #1971    [Address on File]     5/19/2023 Bitcoin                             0.18434669 Customer Transfer
 Confidential Customer Coin Transferee #1971    [Address on File]     5/28/2023 Bitcoin                                     0.07 Customer Transfer
 Confidential Customer Coin Transferee #1972    [Address on File]     5/19/2023 Bitcoin                                     0.22 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #1973    [Address on File]     5/19/2023 Bitcoin                              0.0040607 Customer Transfer
 Confidential Customer Coin Transferee #1974    [Address on File]     5/22/2023 Bitcoin                             0.00540208 Customer Transfer
 Confidential Customer Coin Transferee #1974    [Address on File]     5/29/2023 Bitcoin                             0.00083824 Customer Transfer
 Confidential Customer Coin Transferee #1975    [Address on File]     5/24/2023 Bitcoin                             0.01093552 Customer Transfer
 Confidential Customer Coin Transferee #1976    [Address on File]     5/20/2023 Bitcoin                             0.00183379 Customer Transfer
 Confidential Customer Coin Transferee #1977    [Address on File]     5/23/2023 Bitcoin                             0.00355274 Customer Transfer
 Confidential Customer Coin Transferee #1978    [Address on File]     5/22/2023 Bitcoin                             0.00370158 Customer Transfer
 Confidential Customer Coin Transferee #1978    [Address on File]     5/21/2023 Bitcoin                              0.0011436 Customer Transfer
 Confidential Customer Coin Transferee #1979    [Address on File]     5/22/2023 Bitcoin                              0.0263884 Customer Transfer
 Confidential Customer Coin Transferee #1980    [Address on File]     5/26/2023 Bitcoin                             0.08993376 Customer Transfer
 Confidential Customer Coin Transferee #1980    [Address on File]     5/30/2023 Bitcoin                             0.00111614 Customer Transfer
 Confidential Customer Coin Transferee #1981    [Address on File]     5/16/2023 Bitcoin                             0.00492258 Customer Transfer
 Confidential Customer Coin Transferee #1981    [Address on File]     5/21/2023 Bitcoin                             0.00378443 Customer Transfer
 Confidential Customer Coin Transferee #1981    [Address on File]     5/27/2023 Bitcoin                             0.00114225 Customer Transfer
 Confidential Customer Coin Transferee #1981    [Address on File]     5/30/2023 Bitcoin                             0.00109216 Customer Transfer
 Confidential Customer Coin Transferee #1981    [Address on File]     5/29/2023 Bitcoin                             0.00105895 Customer Transfer
 Confidential Customer Coin Transferee #1981    [Address on File]     5/26/2023 Bitcoin                             0.00102729 Customer Transfer
 Confidential Customer Coin Transferee #1981    [Address on File]     5/24/2023 Bitcoin                             0.00101719 Customer Transfer
 Confidential Customer Coin Transferee #1981    [Address on File]     5/22/2023 Bitcoin                              0.0008766 Customer Transfer
 Confidential Customer Coin Transferee #1981    [Address on File]     5/23/2023 Bitcoin                             0.00043518 Customer Transfer
 Confidential Customer Coin Transferee #1981    [Address on File]     5/19/2023 Bitcoin                             0.00037635 Customer Transfer
 Confidential Customer Coin Transferee #1981    [Address on File]     5/22/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #1982    [Address on File]     6/19/2023 Bitcoin                             0.00030138 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/22/2023 Bitcoin                             0.00166628 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/29/2023 Bitcoin                             0.00161749 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/31/2023 Bitcoin                             0.00149084 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/22/2023 Bitcoin                             0.00148017 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/22/2023 Bitcoin                             0.00111264 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/30/2023 Bitcoin                             0.00107434 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/30/2023 Bitcoin                             0.00106231 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/29/2023 Bitcoin                             0.00089662 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/30/2023 Bitcoin                             0.00089426 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/31/2023 Bitcoin                              0.0007193 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/22/2023 Bitcoin                             0.00066618 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/29/2023 Bitcoin                             0.00060048 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/22/2023 Bitcoin                             0.00044384 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/30/2023 Bitcoin                                 0.00041 Customer Transfer
 Confidential Customer Coin Transferee #1983    [Address on File]     5/30/2023 Bitcoin                             0.00021475 Customer Transfer
 Confidential Customer Coin Transferee #1984    [Address on File]     5/26/2023 Bitcoin                             0.00041523 Customer Transfer
 Confidential Customer Coin Transferee #1985    [Address on File]     5/19/2023 Bitcoin                             0.00092623 Customer Transfer
 Confidential Customer Coin Transferee #1985    [Address on File]     5/19/2023 Bitcoin                             0.00018507 Customer Transfer
 Confidential Customer Coin Transferee #1985    [Address on File]     5/18/2023 Bitcoin                             0.00014709 Customer Transfer
 Confidential Customer Coin Transferee #1986    [Address on File]     5/24/2023 Bitcoin                             0.02912762 Customer Transfer
 Confidential Customer Coin Transferee #1987    [Address on File]     5/29/2023 Bitcoin                             0.00096655 Customer Transfer
 Confidential Customer Coin Transferee #1988    [Address on File]     5/16/2023 Bitcoin                                    0.023 Customer Transfer
 Confidential Customer Coin Transferee #1989    [Address on File]     5/20/2023 Bitcoin                             0.00555101 Customer Transfer
 Confidential Customer Coin Transferee #1989    [Address on File]     5/24/2023 Bitcoin                             0.00553966 Customer Transfer
 Confidential Customer Coin Transferee #1989    [Address on File]     5/25/2023 Bitcoin                             0.00547369 Customer Transfer
 Confidential Customer Coin Transferee #1989    [Address on File]     5/27/2023 Bitcoin                             0.00476854 Customer Transfer
 Confidential Customer Coin Transferee #1989    [Address on File]     5/16/2023 Bitcoin                             0.00421561 Customer Transfer
 Confidential Customer Coin Transferee #1989    [Address on File]     5/21/2023 Bitcoin                              0.0041334 Customer Transfer
 Confidential Customer Coin Transferee #1989    [Address on File]     5/18/2023 Bitcoin                             0.00411844 Customer Transfer
 Confidential Customer Coin Transferee #1989    [Address on File]     5/26/2023 Bitcoin                             0.00368858 Customer Transfer
 Confidential Customer Coin Transferee #1990    [Address on File]     5/18/2023 Bitcoin                             0.00929887 Customer Transfer
 Confidential Customer Coin Transferee #1991    [Address on File]     5/26/2023 Bitcoin                             0.01647008 Customer Transfer
 Confidential Customer Coin Transferee #1991    [Address on File]     5/19/2023 Bitcoin                             0.01508669 Customer Transfer
 Confidential Customer Coin Transferee #1992    [Address on File]     5/17/2023 Bitcoin                             0.01949496 Customer Transfer
 Confidential Customer Coin Transferee #1993    [Address on File]     5/30/2023 Bitcoin                             0.00466364 Customer Transfer
 Confidential Customer Coin Transferee #1993    [Address on File]     5/30/2023 Bitcoin                                  0.0045 Customer Transfer
 Confidential Customer Coin Transferee #1994    [Address on File]     5/28/2023 Bitcoin                                    0.015 Customer Transfer
 Confidential Customer Coin Transferee #1995    [Address on File]     5/19/2023 Bitcoin                             0.00184684 Customer Transfer
 Confidential Customer Coin Transferee #1996    [Address on File]     5/20/2023 Bitcoin                             0.09551412 Customer Transfer
 Confidential Customer Coin Transferee #1997    [Address on File]     5/30/2023 Bitcoin                             0.02078805 Customer Transfer
 Confidential Customer Coin Transferee #1997    [Address on File]     5/20/2023 Bitcoin                             0.01105181 Customer Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/23/2023 Bitcoin                              0.1510001 Customer Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/21/2023 Bitcoin                             0.11560697 Customer Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/21/2023 Bitcoin                             0.06656418 Customer Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/28/2023 Bitcoin                             0.05485177 Customer Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/28/2023 Bitcoin                             0.05483103 Customer Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/16/2023 Bitcoin                             0.05257181 Customer Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/16/2023 Bitcoin                             0.04865686 Customer Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/24/2023 Bitcoin                             0.04029157 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/16/2023 Bitcoin                                   0.025 Customer Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/17/2023 Bitcoin                                   0.025 Customer Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/17/2023 Bitcoin                                   0.008 Customer Transfer
 Confidential Customer Coin Transferee #1998    [Address on File]     5/17/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #1999    [Address on File]     5/25/2023 Bitcoin                             0.01884402 Customer Transfer
 Confidential Customer Coin Transferee #1999    [Address on File]     5/19/2023 Bitcoin                              0.0185226 Customer Transfer
 Confidential Customer Coin Transferee #1999    [Address on File]     5/20/2023 Bitcoin                             0.01848223 Customer Transfer
 Confidential Customer Coin Transferee #1999    [Address on File]     5/24/2023 Bitcoin                             0.01828565 Customer Transfer
 Confidential Customer Coin Transferee #1999    [Address on File]     5/23/2023 Bitcoin                             0.01828536 Customer Transfer
 Confidential Customer Coin Transferee #1999    [Address on File]     5/18/2023 Bitcoin                             0.01816736 Customer Transfer
 Confidential Customer Coin Transferee #1999    [Address on File]     5/18/2023 Bitcoin                             0.00855452 Customer Transfer
 Confidential Customer Coin Transferee #1999    [Address on File]     5/31/2023 Bitcoin                             0.00184619 Customer Transfer
 Confidential Customer Coin Transferee #2000    [Address on File]     5/27/2023 Bitcoin                             0.00037012 Customer Transfer
 Confidential Customer Coin Transferee #2001    [Address on File]     5/30/2023 Bitcoin                             0.00713717 Customer Transfer
 Confidential Customer Coin Transferee #2001    [Address on File]     5/31/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #2001    [Address on File]     5/31/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #2001    [Address on File]     5/24/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #2002    [Address on File]     5/19/2023 Bitcoin                             0.00314829 Customer Transfer
 Confidential Customer Coin Transferee #2003    [Address on File]     5/19/2023 Bitcoin                             0.01852594 Customer Transfer
 Confidential Customer Coin Transferee #2004    [Address on File]     5/20/2023 Bitcoin                             0.00552581 Customer Transfer
 Confidential Customer Coin Transferee #2004    [Address on File]     5/28/2023 Bitcoin                             0.00219444 Customer Transfer
 Confidential Customer Coin Transferee #2004    [Address on File]     5/21/2023 Bitcoin                             0.00183676 Customer Transfer
 Confidential Customer Coin Transferee #2004    [Address on File]     5/28/2023 Bitcoin                             0.00146222 Customer Transfer
 Confidential Customer Coin Transferee #2004    [Address on File]     5/19/2023 Bitcoin                             0.00129438 Customer Transfer
 Confidential Customer Coin Transferee #2004    [Address on File]     5/18/2023 Bitcoin                             0.00090743 Customer Transfer
 Confidential Customer Coin Transferee #2004    [Address on File]     5/24/2023 Bitcoin                             0.00083099 Customer Transfer
 Confidential Customer Coin Transferee #2005    [Address on File]     5/27/2023 Bitcoin                             0.02615858 Customer Transfer
 Confidential Customer Coin Transferee #2005    [Address on File]     5/19/2023 Bitcoin                             0.00737673 Customer Transfer
 Confidential Customer Coin Transferee #2005    [Address on File]     5/30/2023 Bitcoin                             0.00718414 Customer Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]     5/30/2023 Bitcoin                             0.03194779 Customer Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]      6/1/2023 Bitcoin                             0.02291663 Customer Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]     5/28/2023 Bitcoin                             0.02019732 Customer Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]     5/29/2023 Bitcoin                             0.01673523 Customer Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]     5/29/2023 Bitcoin                             0.01023733 Customer Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]     5/16/2023 Bitcoin                             0.00736337 Customer Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]     5/21/2023 Bitcoin                             0.00533018 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]     5/22/2023 Bitcoin                             0.00426232 Customer Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]     5/28/2023 Bitcoin                             0.00382851 Customer Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]     5/24/2023 Bitcoin                             0.00183041 Customer Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]     5/18/2023 Bitcoin                             0.00175552 Customer Transfer
 Confidential Customer Coin Transferee #2006    [Address on File]     5/16/2023 Bitcoin                             0.00095789 Customer Transfer
 Confidential Customer Coin Transferee #2007    [Address on File]     5/19/2023 Bitcoin                             0.01152014 Customer Transfer
 Confidential Customer Coin Transferee #2008    [Address on File]     5/16/2023 Bitcoin                             0.00196455 Customer Transfer
 Confidential Customer Coin Transferee #2009    [Address on File]     5/20/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #2009    [Address on File]     5/19/2023 Bitcoin                             0.00285043 Customer Transfer
 Confidential Customer Coin Transferee #2009    [Address on File]     5/24/2023 Bitcoin                             0.00197128 Customer Transfer
 Confidential Customer Coin Transferee #2009    [Address on File]     5/26/2023 Bitcoin                             0.00128194 Customer Transfer
 Confidential Customer Coin Transferee #2009    [Address on File]     5/16/2023 Bitcoin                             0.00125138 Customer Transfer
 Confidential Customer Coin Transferee #2009    [Address on File]     5/16/2023 Bitcoin                             0.00023806 Customer Transfer
 Confidential Customer Coin Transferee #2009    [Address on File]     5/25/2023 Bitcoin                             0.00004933 Customer Transfer
 Confidential Customer Coin Transferee #2009    [Address on File]     5/18/2023 Bitcoin                             0.00003543 Customer Transfer
 Confidential Customer Coin Transferee #2010    [Address on File]     5/29/2023 Bitcoin                             0.01441568 Customer Transfer
 Confidential Customer Coin Transferee #2011    [Address on File]     5/30/2023 Bitcoin                             0.10808064 Customer Transfer
 Confidential Customer Coin Transferee #2012    [Address on File]     5/22/2023 Bitcoin                             0.00515465 Customer Transfer
 Confidential Customer Coin Transferee #2012    [Address on File]     5/26/2023 Bitcoin                             0.00222148 Customer Transfer
 Confidential Customer Coin Transferee #2013    [Address on File]     5/18/2023 Bitcoin                             0.01482384 Customer Transfer
 Confidential Customer Coin Transferee #2013    [Address on File]     5/27/2023 Bitcoin                             0.01091835 Customer Transfer
 Confidential Customer Coin Transferee #2013    [Address on File]     5/20/2023 Bitcoin                             0.00461567 Customer Transfer
 Confidential Customer Coin Transferee #2014    [Address on File]     5/29/2023 Bitcoin                                0.007118 Customer Transfer
 Confidential Customer Coin Transferee #2015    [Address on File]     5/26/2023 Bitcoin                             0.00131597 Customer Transfer
 Confidential Customer Coin Transferee #2015    [Address on File]     5/26/2023 Bitcoin                             0.00130124 Customer Transfer
 Confidential Customer Coin Transferee #2015    [Address on File]     5/19/2023 Bitcoin                             0.00129433 Customer Transfer
 Confidential Customer Coin Transferee #2016    [Address on File]     5/19/2023 Bitcoin                             0.05014334 Customer Transfer
 Confidential Customer Coin Transferee #2017    [Address on File]     6/20/2023 Bitcoin                             0.00040713 Customer Transfer
 Confidential Customer Coin Transferee #2018    [Address on File]     6/15/2023 USDC Solana)                                  10 Customer Transfer
 Confidential Customer Coin Transferee #2019    [Address on File]      6/6/2023 Bitcoin                             0.00009494 Customer Transfer
 Confidential Customer Coin Transferee #2019    [Address on File]      6/2/2023 Bitcoin                             0.00007261 Customer Transfer
 Confidential Customer Coin Transferee #2020    [Address on File]     5/27/2023 Recover Value USD                      664.2905 Customer Transfer
 Confidential Customer Coin Transferee #2021    [Address on File]     5/22/2023 Bitcoin                             0.00479254 Customer Transfer
 Confidential Customer Coin Transferee #2021    [Address on File]     6/16/2023 Bitcoin                             0.00388407 Customer Transfer
 Confidential Customer Coin Transferee #2021    [Address on File]     5/23/2023 Bitcoin                             0.00365775 Customer Transfer
 Confidential Customer Coin Transferee #2022    [Address on File]     5/19/2023 Bitcoin                             0.00541377 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2023    [Address on File]     6/20/2023 Bitcoin                             0.01509993 Customer Transfer
 Confidential Customer Coin Transferee #2024    [Address on File]     6/17/2023 Bitcoin                             0.06553168 Customer Transfer
 Confidential Customer Coin Transferee #2025    [Address on File]     5/25/2023 Bitcoin                             0.01287563 Customer Transfer
 Confidential Customer Coin Transferee #2025    [Address on File]     5/18/2023 Bitcoin                             0.01177146 Customer Transfer
 Confidential Customer Coin Transferee #2026    [Address on File]     5/26/2023 Bitcoin                             0.00036972 Customer Transfer
 Confidential Customer Coin Transferee #2027    [Address on File]     6/20/2023 Bitcoin                             0.00382679 Customer Transfer
 Confidential Customer Coin Transferee #2028    [Address on File]     6/20/2023 Bitcoin                             0.01157802 Customer Transfer
 Confidential Customer Coin Transferee #2029    [Address on File]     6/19/2023 Bitcoin                             0.11145629 Customer Transfer
 Confidential Customer Coin Transferee #2030    [Address on File]     6/20/2023 Bitcoin                             0.00005799 Customer Transfer
 Confidential Customer Coin Transferee #2031    [Address on File]     6/20/2023 Bitcoin                             0.00057732 Customer Transfer
 Confidential Customer Coin Transferee #2032    [Address on File]     6/20/2023 Bitcoin                             0.00137601 Customer Transfer
 Confidential Customer Coin Transferee #2033    [Address on File]      6/8/2023 Bitcoin                             0.00081817 Customer Transfer
 Confidential Customer Coin Transferee #2034    [Address on File]     5/22/2023 Bitcoin                             1.42922962 Customer Transfer
 Confidential Customer Coin Transferee #2035    [Address on File]     6/15/2023 Bitcoin                             0.00475207 Customer Transfer
 Confidential Customer Coin Transferee #2035    [Address on File]     5/30/2023 Bitcoin                             0.00427828 Customer Transfer
 Confidential Customer Coin Transferee #2036    [Address on File]     6/19/2023 Bitcoin                             0.00157592 Customer Transfer
 Confidential Customer Coin Transferee #2037    [Address on File]     6/20/2023 Bitcoin                             0.00672839 Customer Transfer
 Confidential Customer Coin Transferee #2038    [Address on File]     6/19/2023 Bitcoin                             0.00034632 Customer Transfer
 Confidential Customer Coin Transferee #2039    [Address on File]     6/20/2023 Bitcoin                             0.00296364 Customer Transfer
 Confidential Customer Coin Transferee #2040    [Address on File]     5/25/2023 Bitcoin                             0.00360077 Customer Transfer
 Confidential Customer Coin Transferee #2041    [Address on File]     6/19/2023 Bitcoin                             0.00075194 Customer Transfer
 Confidential Customer Coin Transferee #2042    [Address on File]     5/26/2023 Bitcoin                             0.01026971 Customer Transfer
 Confidential Customer Coin Transferee #2042    [Address on File]     5/19/2023 Bitcoin                             0.00970177 Customer Transfer
 Confidential Customer Coin Transferee #2043    [Address on File]     5/22/2023 Bitcoin                              0.0109409 Customer Transfer
 Confidential Customer Coin Transferee #2044    [Address on File]     6/12/2023 Bitcoin                             0.01543876 Customer Transfer
 Confidential Customer Coin Transferee #2044    [Address on File]     6/12/2023 Bitcoin                             0.01534906 Customer Transfer
 Confidential Customer Coin Transferee #2044    [Address on File]      6/8/2023 Bitcoin                             0.00576788 Customer Transfer
 Confidential Customer Coin Transferee #2045    [Address on File]     6/19/2023 Bitcoin                             0.00040004 Customer Transfer
 Confidential Customer Coin Transferee #2046    [Address on File]     6/19/2023 Bitcoin                             0.00005813 Customer Transfer
 Confidential Customer Coin Transferee #2047    [Address on File]     6/14/2023 Bitcoin                             0.00377426 Customer Transfer
 Confidential Customer Coin Transferee #2047    [Address on File]     5/31/2023 Bitcoin                             0.00369463 Customer Transfer
 Confidential Customer Coin Transferee #2047    [Address on File]     5/17/2023 Bitcoin                             0.00282098 Customer Transfer
 Confidential Customer Coin Transferee #2047    [Address on File]     6/16/2023 Bitcoin                              0.0009639 Customer Transfer
 Confidential Customer Coin Transferee #2048    [Address on File]     5/21/2023 Bitcoin                             0.00858376 Customer Transfer
 Confidential Customer Coin Transferee #2049    [Address on File]     5/22/2023 Bitcoin                             0.01026085 Customer Transfer
 Confidential Customer Coin Transferee #2050    [Address on File]     6/19/2023 Bitcoin                             0.00376317 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2051    [Address on File]     5/28/2023 Bitcoin                             0.03649346 Customer Transfer
 Confidential Customer Coin Transferee #2052    [Address on File]     5/21/2023 Bitcoin                             0.01807223 Customer Transfer
 Confidential Customer Coin Transferee #2052    [Address on File]     5/26/2023 Bitcoin                             0.00189413 Customer Transfer
 Confidential Customer Coin Transferee #2052    [Address on File]     5/29/2023 Bitcoin                              0.0018553 Customer Transfer
 Confidential Customer Coin Transferee #2052    [Address on File]     5/16/2023 Bitcoin                              0.0017069 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]     5/22/2023 Bitcoin                             0.00817724 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]     5/16/2023 Bitcoin                             0.00402497 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]      6/1/2023 Bitcoin                             0.00166848 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]     5/24/2023 Bitcoin                              0.0015751 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]     5/29/2023 Bitcoin                             0.00121122 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]     6/15/2023 Bitcoin                             0.00119429 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]      6/7/2023 Bitcoin                             0.00116667 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]      6/6/2023 Bitcoin                             0.00115857 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]     5/22/2023 Bitcoin                             0.00112468 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]      6/5/2023 Bitcoin                              0.0011049 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]      6/9/2023 Bitcoin                              0.0010534 Customer Transfer
 Confidential Customer Coin Transferee #2053    [Address on File]     6/13/2023 Bitcoin                             0.00104256 Customer Transfer
 Confidential Customer Coin Transferee #2054    [Address on File]     6/20/2023 Bitcoin                             0.00650761 Customer Transfer
 Confidential Customer Coin Transferee #2055    [Address on File]     6/19/2023 Bitcoin                             0.00046905 Customer Transfer
 Confidential Customer Coin Transferee #2056    [Address on File]     5/20/2023 Bitcoin                             0.00179738 Customer Transfer
 Confidential Customer Coin Transferee #2057    [Address on File]     5/18/2023 Tether USD                          214.579794 Customer Transfer
 Confidential Customer Coin Transferee #2057    [Address on File]     5/25/2023 USD Coin                            100.589823 Customer Transfer
 Confidential Customer Coin Transferee #2057    [Address on File]      6/9/2023 Ether                                  0.059318 Customer Transfer
 Confidential Customer Coin Transferee #2057    [Address on File]     6/20/2023 Ether                                  0.055394 Customer Transfer
 Confidential Customer Coin Transferee #2058    [Address on File]     5/28/2023 Bitcoin                             0.00259204 Customer Transfer
 Confidential Customer Coin Transferee #2058    [Address on File]     5/21/2023 Bitcoin                             0.00245495 Customer Transfer
 Confidential Customer Coin Transferee #2059    [Address on File]     5/20/2023 Bitcoin                             0.10172251 Customer Transfer
 Confidential Customer Coin Transferee #2060    [Address on File]     6/20/2023 Bitcoin                             0.00181899 Customer Transfer
 Confidential Customer Coin Transferee #2061    [Address on File]     6/20/2023 Bitcoin                             0.00005822 Customer Transfer
 Confidential Customer Coin Transferee #2062    [Address on File]     6/20/2023 Bitcoin                             0.00518763 Customer Transfer
 Confidential Customer Coin Transferee #2063    [Address on File]     5/20/2023 Bitcoin                             0.05584768 Customer Transfer
 Confidential Customer Coin Transferee #2064    [Address on File]     6/19/2023 Bitcoin                             0.00583441 Customer Transfer
 Confidential Customer Coin Transferee #2065    [Address on File]     5/23/2023 Bitcoin                             0.01062068 Customer Transfer
 Confidential Customer Coin Transferee #2066    [Address on File]      6/8/2023 Bitcoin                             0.08625467 Customer Transfer
 Confidential Customer Coin Transferee #2066    [Address on File]     6/19/2023 Bitcoin                             0.02692066 Customer Transfer
 Confidential Customer Coin Transferee #2067    [Address on File]     6/20/2023 Bitcoin                             0.00878685 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2068    [Address on File]     6/19/2023 Bitcoin                               0.0000474 Customer Transfer
 Confidential Customer Coin Transferee #2069    [Address on File]     6/19/2023 Bitcoin                               0.0011825 Customer Transfer
 Confidential Customer Coin Transferee #2070    [Address on File]     5/22/2023 Bitcoin                             0.00289937 Customer Transfer
 Confidential Customer Coin Transferee #2070    [Address on File]     5/18/2023 Bitcoin                               0.0027568 Customer Transfer
 Confidential Customer Coin Transferee #2071    [Address on File]     5/16/2023 Bitcoin                             0.01398354 Customer Transfer
 Confidential Customer Coin Transferee #2071    [Address on File]     5/28/2023 Bitcoin                             0.00655905 Customer Transfer
 Confidential Customer Coin Transferee #2072    [Address on File]     6/19/2023 Bitcoin                             0.01194077 Customer Transfer
 Confidential Customer Coin Transferee #2073    [Address on File]     5/30/2023 Bitcoin                             1.84376629 Customer Transfer
 Confidential Customer Coin Transferee #2074    [Address on File]     5/24/2023 Bitcoin                             0.01818269 Customer Transfer
 Confidential Customer Coin Transferee #2074    [Address on File]     5/17/2023 Bitcoin                             0.01717216 Customer Transfer
 Confidential Customer Coin Transferee #2075    [Address on File]     5/16/2023 Bitcoin                             0.01038947 Customer Transfer
 Confidential Customer Coin Transferee #2076    [Address on File]     6/19/2023 Bitcoin                             0.00036064 Customer Transfer
 Confidential Customer Coin Transferee #2077    [Address on File]     6/19/2023 Bitcoin                             0.00484995 Customer Transfer
 Confidential Customer Coin Transferee #2078    [Address on File]     5/19/2023 Bitcoin                             0.25686359 Customer Transfer
 Confidential Customer Coin Transferee #2079    [Address on File]     5/21/2023 Bitcoin                             0.01001668 Customer Transfer
 Confidential Customer Coin Transferee #2080    [Address on File]     5/16/2023 Bitcoin                             0.01816461 Customer Transfer
 Confidential Customer Coin Transferee #2081    [Address on File]     5/23/2023 Bitcoin                             0.00627788 Customer Transfer
 Confidential Customer Coin Transferee #2082    [Address on File]     6/19/2023 Bitcoin                             0.01132236 Customer Transfer
 Confidential Customer Coin Transferee #2083    [Address on File]     5/25/2023 Solana                             1.201044386 Customer Transfer
 Confidential Customer Coin Transferee #2084    [Address on File]     6/19/2023 Bitcoin                             0.00583477 Customer Transfer
 Confidential Customer Coin Transferee #2085    [Address on File]     6/17/2023 Bitcoin                             0.00311751 Customer Transfer
 Confidential Customer Coin Transferee #2086    [Address on File]     5/19/2023 Bitcoin                             0.02608909 Customer Transfer
 Confidential Customer Coin Transferee #2087    [Address on File]     5/17/2023 Bitcoin                             0.01319826 Customer Transfer
 Confidential Customer Coin Transferee #2088    [Address on File]     6/20/2023 Bitcoin                             0.00157237 Customer Transfer
 Confidential Customer Coin Transferee #2089    [Address on File]     5/18/2023 Bitcoin                             0.01075465 Customer Transfer
 Confidential Customer Coin Transferee #2090    [Address on File]     6/20/2023 Bitcoin                             0.00017879 Customer Transfer
 Confidential Customer Coin Transferee #2091    [Address on File]     5/24/2023 Bitcoin                             0.03244693 Customer Transfer
 Confidential Customer Coin Transferee #2092    [Address on File]     6/20/2023 Bitcoin                             0.00005806 Customer Transfer
 Confidential Customer Coin Transferee #2093    [Address on File]     5/21/2023 Bitcoin                             0.01049562 Customer Transfer
 Confidential Customer Coin Transferee #2094    [Address on File]     6/19/2023 Bitcoin                             0.00173635 Customer Transfer
 Confidential Customer Coin Transferee #2095    [Address on File]     6/20/2023 Bitcoin                             0.00382289 Customer Transfer
 Confidential Customer Coin Transferee #2096    [Address on File]     6/20/2023 Bitcoin                               0.0002506 Customer Transfer
 Confidential Customer Coin Transferee #2097    [Address on File]     6/20/2023 Bitcoin                             0.00673779 Customer Transfer
 Confidential Customer Coin Transferee #2098    [Address on File]     6/20/2023 Bitcoin                             0.00041002 Customer Transfer
 Confidential Customer Coin Transferee #2099    [Address on File]     5/23/2023 Bitcoin                             2.04341236 Customer Transfer
 Confidential Customer Coin Transferee #2100    [Address on File]     6/19/2023 Bitcoin                               0.0022088 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2101    [Address on File]     6/19/2023 Bitcoin                             0.00057756 Customer Transfer
 Confidential Customer Coin Transferee #2102    [Address on File]     5/20/2023 Bitcoin                             0.05151909 Customer Transfer
 Confidential Customer Coin Transferee #2102    [Address on File]     5/30/2023 Bitcoin                             0.05011374 Customer Transfer
 Confidential Customer Coin Transferee #2103    [Address on File]     6/19/2023 Bitcoin                             0.00252657 Customer Transfer
 Confidential Customer Coin Transferee #2104    [Address on File]     5/17/2023 Bitcoin                             0.01049186 Customer Transfer
 Confidential Customer Coin Transferee #2105    [Address on File]      6/6/2023 USD Coin                             70.984507 Customer Transfer
 Confidential Customer Coin Transferee #2105    [Address on File]     6/10/2023 USDC Avalanche)                      31.584207 Customer Transfer
 Confidential Customer Coin Transferee #2105    [Address on File]     5/19/2023 Ether                                  0.057967 Customer Transfer
 Confidential Customer Coin Transferee #2105    [Address on File]     5/16/2023 Ether                                  0.057957 Customer Transfer
 Confidential Customer Coin Transferee #2105    [Address on File]     5/31/2023 Ether                                  0.037203 Customer Transfer
 Confidential Customer Coin Transferee #2105    [Address on File]     5/29/2023 Ether                                  0.036733 Customer Transfer
 Confidential Customer Coin Transferee #2105    [Address on File]     6/13/2023 Ether                                   0.02471 Customer Transfer
 Confidential Customer Coin Transferee #2105    [Address on File]      6/6/2023 Ether                                  0.016812 Customer Transfer
 Confidential Customer Coin Transferee #2106    [Address on File]     6/20/2023 Bitcoin                             0.00038836 Customer Transfer
 Confidential Customer Coin Transferee #2107    [Address on File]     6/19/2023 Bitcoin                              0.1173865 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]      6/1/2023 USDC Avalanche)                    1994.032983 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]     5/19/2023 USDC Avalanche)                    1270.134932 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]      6/7/2023 USDC Avalanche)                     1195.88247 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]      6/5/2023 USDC Avalanche)                    1195.371851 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]     5/25/2023 USDC Avalanche)                     596.141929 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]     5/30/2023 USDC Avalanche)                     496.291854 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]     5/19/2023 USD Coin                            345.097451 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]     5/30/2023 USDC Avalanche)                      321.55922 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]     6/15/2023 USDC Avalanche)                     256.747301 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]     6/10/2023 USDC Avalanche)                     222.468765 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]      6/6/2023 USDC Avalanche)                     207.486256 Customer Transfer
 Confidential Customer Coin Transferee #2108    [Address on File]     5/19/2023 Ether                                  0.019629 Customer Transfer

 Confidential Customer Coin Transferee #2109    [Address on File]     5/25/2023 Bitcoin                                0.01136732 Customer Transfer

 Confidential Customer Coin Transferee #2109    [Address on File]     5/17/2023 Bitcoin                                0.00371357 Customer Transfer
 Confidential Customer Coin Transferee #2110    [Address on File]     5/22/2023 Bitcoin                                0.01015346 Customer Transfer
 Confidential Customer Coin Transferee #2111    [Address on File]     6/20/2023 Bitcoin                                 0.0004346 Customer Transfer
 Confidential Customer Coin Transferee #2112    [Address on File]     5/24/2023 Bitcoin                                0.02747677 Customer Transfer
 Confidential Customer Coin Transferee #2113    [Address on File]     6/19/2023 Bitcoin                                0.00032142 Customer Transfer
 Confidential Customer Coin Transferee #2114    [Address on File]     6/20/2023 Bitcoin                                0.00382601 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2115    [Address on File]     5/27/2023 Bitcoin                             0.00517998 Customer Transfer
 Confidential Customer Coin Transferee #2115    [Address on File]     5/20/2023 Bitcoin                             0.00490643 Customer Transfer
 Confidential Customer Coin Transferee #2116    [Address on File]     6/19/2023 Bitcoin                              0.0004091 Customer Transfer
 Confidential Customer Coin Transferee #2117    [Address on File]     6/20/2023 Bitcoin                             0.00021173 Customer Transfer
 Confidential Customer Coin Transferee #2118    [Address on File]     6/20/2023 Bitcoin                             0.01172152 Customer Transfer
 Confidential Customer Coin Transferee #2119    [Address on File]     5/23/2023 Bitcoin                             0.00802498 Customer Transfer
 Confidential Customer Coin Transferee #2120    [Address on File]     5/29/2023 Bitcoin                             0.02543466 Customer Transfer
 Confidential Customer Coin Transferee #2121    [Address on File]     6/19/2023 Bitcoin                             0.01179029 Customer Transfer
 Confidential Customer Coin Transferee #2122    [Address on File]     5/30/2023 Bitcoin                             0.00350254 Customer Transfer
 Confidential Customer Coin Transferee #2122    [Address on File]     6/17/2023 Bitcoin                             0.00285215 Customer Transfer
 Confidential Customer Coin Transferee #2123    [Address on File]     5/20/2023 Bitcoin                             0.02787186 Customer Transfer
 Confidential Customer Coin Transferee #2124    [Address on File]     6/19/2023 Bitcoin                             0.00006002 Customer Transfer
 Confidential Customer Coin Transferee #2125    [Address on File]     6/20/2023 Bitcoin                             0.00998729 Customer Transfer
 Confidential Customer Coin Transferee #2126    [Address on File]     6/19/2023 Bitcoin                             0.00006006 Customer Transfer
 Confidential Customer Coin Transferee #2127    [Address on File]     5/18/2023 Bitcoin                             0.05190826 Customer Transfer
 Confidential Customer Coin Transferee #2128    [Address on File]     5/17/2023 Bitcoin                             0.50430988 Customer Transfer
 Confidential Customer Coin Transferee #2129    [Address on File]     6/20/2023 Bitcoin                             0.00023525 Customer Transfer
 Confidential Customer Coin Transferee #2130    [Address on File]     5/28/2023 USDC Avalanche)                     996.061969 Customer Transfer
 Confidential Customer Coin Transferee #2131    [Address on File]     5/17/2023 Bitcoin                             0.00347936 Customer Transfer
 Confidential Customer Coin Transferee #2132    [Address on File]     6/20/2023 Bitcoin                             0.00060206 Customer Transfer
 Confidential Customer Coin Transferee #2133    [Address on File]     5/31/2023 Bitcoin                             0.00895662 Customer Transfer
 Confidential Customer Coin Transferee #2133    [Address on File]     5/23/2023 Bitcoin                             0.00371288 Customer Transfer
 Confidential Customer Coin Transferee #2134    [Address on File]     6/19/2023 Bitcoin                             0.00321848 Customer Transfer
 Confidential Customer Coin Transferee #2135    [Address on File]     5/27/2023 Bitcoin                             0.07595788 Customer Transfer
 Confidential Customer Coin Transferee #2136    [Address on File]     5/17/2023 Bitcoin                             0.00178351 Customer Transfer
 Confidential Customer Coin Transferee #2137    [Address on File]     6/19/2023 Bitcoin                              0.0000581 Customer Transfer
 Confidential Customer Coin Transferee #2138    [Address on File]     5/17/2023 USDC Avalanche)                     217.514745 Customer Transfer
 Confidential Customer Coin Transferee #2138    [Address on File]      6/4/2023 USDC Avalanche)                     193.263368 Customer Transfer

 Confidential Customer Coin Transferee #2139    [Address on File]      6/1/2023 Ether                                  0.02144025 Customer Transfer

 Confidential Customer Coin Transferee #2139    [Address on File]     5/26/2023 Ether                                  0.01106335 Customer Transfer

 Confidential Customer Coin Transferee #2139    [Address on File]      6/2/2023 Ether                                  0.00794639 Customer Transfer
 Confidential Customer Coin Transferee #2140    [Address on File]     5/29/2023 Bitcoin                                0.00082118 Customer Transfer
 Confidential Customer Coin Transferee #2140    [Address on File]     5/26/2023 Bitcoin                                    0.00075 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2140    [Address on File]     5/21/2023 Bitcoin                             0.00012861 Customer Transfer
 Confidential Customer Coin Transferee #2141    [Address on File]     5/25/2023 Bitcoin                              0.0007581 Customer Transfer
 Confidential Customer Coin Transferee #2142    [Address on File]     6/20/2023 Bitcoin                             0.00016852 Customer Transfer
 Confidential Customer Coin Transferee #2143    [Address on File]     5/16/2023 Bitcoin                             0.00036738 Customer Transfer
 Confidential Customer Coin Transferee #2144    [Address on File]     5/20/2023 Bitcoin                             0.00183771 Customer Transfer
 Confidential Customer Coin Transferee #2144    [Address on File]     5/20/2023 Bitcoin                             0.00183761 Customer Transfer
 Confidential Customer Coin Transferee #2144    [Address on File]     5/28/2023 Bitcoin                             0.00182661 Customer Transfer
 Confidential Customer Coin Transferee #2144    [Address on File]     5/21/2023 Bitcoin                             0.00025838 Customer Transfer
 Confidential Customer Coin Transferee #2145    [Address on File]     5/21/2023 Bitcoin                              0.0373614 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/30/2023 Bitcoin                                   0.0021 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/28/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/18/2023 Bitcoin                                0.001449 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/22/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/28/2023 Bitcoin                                0.000854 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/21/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/23/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/27/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/19/2023 Bitcoin                                   0.0007 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/24/2023 Bitcoin                                0.000675 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/26/2023 Bitcoin                                 0.00065 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/21/2023 Bitcoin                                 0.00056 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/23/2023 Bitcoin                                 0.00056 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/22/2023 Bitcoin                                 0.00054 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/29/2023 Bitcoin                                0.000505 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/22/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/24/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/24/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/25/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/26/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/28/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/30/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/23/2023 Bitcoin                                 0.00045 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/21/2023 Bitcoin                              0.0003546 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/17/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #2146    [Address on File]     5/26/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #2147    [Address on File]      6/9/2023 Bitcoin                             0.01788641 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2148    [Address on File]     6/20/2023 Bitcoin                             0.00119198 Customer Transfer
 Confidential Customer Coin Transferee #2149    [Address on File]     5/18/2023 Bitcoin                             0.12411827 Customer Transfer
 Confidential Customer Coin Transferee #2150    [Address on File]     6/20/2023 Bitcoin                              0.0000583 Customer Transfer
 Confidential Customer Coin Transferee #2151    [Address on File]     5/26/2023 Bitcoin                             0.00360524 Customer Transfer
 Confidential Customer Coin Transferee #2152    [Address on File]     5/18/2023 Bitcoin                             0.00010914 Customer Transfer
 Confidential Customer Coin Transferee #2153    [Address on File]     5/23/2023 Bitcoin                                  0.0037 Customer Transfer
 Confidential Customer Coin Transferee #2154    [Address on File]     5/26/2023 Bitcoin                             0.02625564 Customer Transfer
 Confidential Customer Coin Transferee #2154    [Address on File]     5/28/2023 Bitcoin                             0.00267565 Customer Transfer
 Confidential Customer Coin Transferee #2154    [Address on File]     5/28/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #2155    [Address on File]     5/28/2023 Bitcoin                                 0.07355 Customer Transfer
 Confidential Customer Coin Transferee #2156    [Address on File]     5/16/2023 Bitcoin                             0.00736598 Customer Transfer
 Confidential Customer Coin Transferee #2157    [Address on File]     5/16/2023 Bitcoin                             0.05196303 Customer Transfer
 Confidential Customer Coin Transferee #2157    [Address on File]     5/26/2023 Bitcoin                             0.04424916 Customer Transfer
 Confidential Customer Coin Transferee #2158    [Address on File]     5/20/2023 Bitcoin                             0.07350658 Customer Transfer
 Confidential Customer Coin Transferee #2158    [Address on File]     5/28/2023 Bitcoin                              0.0733169 Customer Transfer
 Confidential Customer Coin Transferee #2159    [Address on File]     5/22/2023 Bitcoin                             0.00110833 Customer Transfer
 Confidential Customer Coin Transferee #2160    [Address on File]     5/18/2023 Bitcoin                             0.00972866 Customer Transfer
 Confidential Customer Coin Transferee #2161    [Address on File]     6/19/2023 Bitcoin                             0.00046524 Customer Transfer
 Confidential Customer Coin Transferee #2162    [Address on File]     5/19/2023 Bitcoin                             0.00554882 Customer Transfer
 Confidential Customer Coin Transferee #2163    [Address on File]     6/19/2023 Bitcoin                             0.00005824 Customer Transfer
 Confidential Customer Coin Transferee #2164    [Address on File]     6/20/2023 Bitcoin                             0.00005812 Customer Transfer
 Confidential Customer Coin Transferee #2165    [Address on File]     5/29/2023 Bitcoin                             0.03761151 Customer Transfer
 Confidential Customer Coin Transferee #2166    [Address on File]      6/1/2023 Bitcoin                             0.00765066 Customer Transfer
 Confidential Customer Coin Transferee #2167    [Address on File]     6/19/2023 Bitcoin                             0.00011637 Customer Transfer
 Confidential Customer Coin Transferee #2168    [Address on File]     5/18/2023 Bitcoin                             0.00185891 Customer Transfer
 Confidential Customer Coin Transferee #2169    [Address on File]     5/26/2023 Bitcoin                             0.00752583 Customer Transfer
 Confidential Customer Coin Transferee #2169    [Address on File]     5/19/2023 Bitcoin                             0.00740583 Customer Transfer
 Confidential Customer Coin Transferee #2170    [Address on File]     5/20/2023 Bitcoin                             0.00361624 Customer Transfer
 Confidential Customer Coin Transferee #2171    [Address on File]     5/20/2023 Bitcoin                             0.03549796 Customer Transfer
 Confidential Customer Coin Transferee #2172    [Address on File]     5/30/2023 Bitcoin                             0.13553171 Customer Transfer
 Confidential Customer Coin Transferee #2172    [Address on File]     6/20/2023 Bitcoin                             0.03698275 Customer Transfer
 Confidential Customer Coin Transferee #2173    [Address on File]     5/23/2023 Bitcoin                             0.00377526 Customer Transfer
 Confidential Customer Coin Transferee #2173    [Address on File]     5/16/2023 Bitcoin                             0.00371761 Customer Transfer
 Confidential Customer Coin Transferee #2173    [Address on File]     5/23/2023 Bitcoin                             0.00365199 Customer Transfer
 Confidential Customer Coin Transferee #2174    [Address on File]     5/22/2023 Bitcoin                             0.02577773 Customer Transfer
 Confidential Customer Coin Transferee #2174    [Address on File]     5/16/2023 Bitcoin                             0.01198664 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #2175    [Address on File]      6/8/2023 Bitcoin                                      94.293 Customer Transfer
 Confidential Customer Coin Transferee #2176    [Address on File]     5/17/2023 Bitcoin                                0.00332434 Customer Transfer
 Confidential Customer Coin Transferee #2177    [Address on File]     6/20/2023 Bitcoin                                0.00079863 Customer Transfer
 Confidential Customer Coin Transferee #2178    [Address on File]     5/22/2023 Bitcoin                                0.00170401 Customer Transfer
 Confidential Customer Coin Transferee #2179    [Address on File]     5/25/2023 Bitcoin                                0.00255662 Customer Transfer
 Confidential Customer Coin Transferee #2180    [Address on File]     5/21/2023 Bitcoin                                0.07419887 Customer Transfer
 Confidential Customer Coin Transferee #2181    [Address on File]     5/19/2023 Bitcoin                                0.00923806 Customer Transfer
 Confidential Customer Coin Transferee #2181    [Address on File]     5/28/2023 Bitcoin                                 0.0035957 Customer Transfer
 Confidential Customer Coin Transferee #2182    [Address on File]     5/16/2023 Bitcoin                                0.05484376 Customer Transfer
 Confidential Customer Coin Transferee #2182    [Address on File]     5/22/2023 Bitcoin                                0.04097857 Customer Transfer
 Confidential Customer Coin Transferee #2182    [Address on File]     5/22/2023 Bitcoin                                0.01669014 Customer Transfer
 Confidential Customer Coin Transferee #2183    [Address on File]     5/24/2023 Bitcoin                                0.01326817 Customer Transfer
 Confidential Customer Coin Transferee #2184    [Address on File]     5/25/2023 Bitcoin                                         0.01 Customer Transfer
 Confidential Customer Coin Transferee #2184    [Address on File]     5/25/2023 Bitcoin                                      0.0002 Customer Transfer
 Confidential Customer Coin Transferee #2184    [Address on File]     5/25/2023 Bitcoin                                      0.0002 Customer Transfer
 Confidential Customer Coin Transferee #2185    [Address on File]     5/26/2023 Bitcoin                                0.00407981 Customer Transfer
 Confidential Customer Coin Transferee #2186    [Address on File]     5/17/2023 Bitcoin                                0.03810936 Customer Transfer
 Confidential Customer Coin Transferee #2186    [Address on File]     5/25/2023 Bitcoin                                0.03620363 Customer Transfer
 Confidential Customer Coin Transferee #2187    [Address on File]     5/18/2023 Bitcoin                                0.01821573 Customer Transfer
 Confidential Customer Coin Transferee #2187    [Address on File]      6/2/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #2188    [Address on File]     5/25/2023 Bitcoin                                0.00188465 Customer Transfer
 Confidential Customer Coin Transferee #2189    [Address on File]     5/23/2023 Bitcoin                                         0.21 Customer Transfer
 Confidential Customer Coin Transferee #2190    [Address on File]     5/25/2023 Bitcoin                                0.01115127 Customer Transfer
 Confidential Customer Coin Transferee #2191    [Address on File]     5/25/2023 Bitcoin                                 0.0023388 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/26/2023 Bitcoin                                0.00147958 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/30/2023 Bitcoin                                   0.001255 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/24/2023 Bitcoin                                0.00094587 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/23/2023 Bitcoin                                0.00090993 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/26/2023 Bitcoin                                0.00083646 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/22/2023 Bitcoin                                0.00080387 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/17/2023 Bitcoin                                0.00080103 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/22/2023 Bitcoin                                0.00079808 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/26/2023 Bitcoin                                0.00078535 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/24/2023 Bitcoin                                0.00077777 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/25/2023 Bitcoin                                0.00075154 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/27/2023 Bitcoin                             0.00074223 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/22/2023 Bitcoin                             0.00050265 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/17/2023 Bitcoin                             0.00040734 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/30/2023 Bitcoin                             0.00034976 Customer Transfer
 Confidential Customer Coin Transferee #2192    [Address on File]     5/23/2023 Bitcoin                             0.00032099 Customer Transfer
 Confidential Customer Coin Transferee #2193    [Address on File]     5/19/2023 Bitcoin                             0.00739832 Customer Transfer
 Confidential Customer Coin Transferee #2194    [Address on File]     6/20/2023 Bitcoin                             0.01291053 Customer Transfer
 Confidential Customer Coin Transferee #2195    [Address on File]     6/19/2023 Bitcoin                             0.00055835 Customer Transfer
 Confidential Customer Coin Transferee #2196    [Address on File]      6/8/2023 Bitcoin                             0.00377199 Customer Transfer
 Confidential Customer Coin Transferee #2196    [Address on File]     5/22/2023 Bitcoin                             0.00368367 Customer Transfer
 Confidential Customer Coin Transferee #2197    [Address on File]     5/27/2023 Bitcoin                                0.058887 Customer Transfer
 Confidential Customer Coin Transferee #2197    [Address on File]     5/29/2023 Bitcoin                             0.02831652 Customer Transfer
 Confidential Customer Coin Transferee #2198    [Address on File]     6/19/2023 Bitcoin                             0.00120109 Customer Transfer
 Confidential Customer Coin Transferee #2199    [Address on File]     5/22/2023 Bitcoin                             0.00110726 Customer Transfer
 Confidential Customer Coin Transferee #2199    [Address on File]     6/12/2023 Bitcoin                             0.00038633 Customer Transfer
 Confidential Customer Coin Transferee #2200    [Address on File]     5/29/2023 Bitcoin                             0.00358566 Customer Transfer
 Confidential Customer Coin Transferee #2200    [Address on File]      6/8/2023 Bitcoin                              0.0018766 Customer Transfer
 Confidential Customer Coin Transferee #2201    [Address on File]     5/24/2023 Bitcoin                             0.05172644 Customer Transfer
 Confidential Customer Coin Transferee #2202    [Address on File]     5/16/2023 Bitcoin                             0.04104631 Customer Transfer
 Confidential Customer Coin Transferee #2203    [Address on File]     6/20/2023 Bitcoin                             0.00003315 Customer Transfer
 Confidential Customer Coin Transferee #2204    [Address on File]     5/29/2023 Bitcoin                             0.00371256 Customer Transfer
 Confidential Customer Coin Transferee #2204    [Address on File]     5/24/2023 Bitcoin                             0.00369173 Customer Transfer
 Confidential Customer Coin Transferee #2204    [Address on File]     5/16/2023 Bitcoin                             0.00344709 Customer Transfer
 Confidential Customer Coin Transferee #2205    [Address on File]     6/20/2023 Bitcoin                             0.00405891 Customer Transfer
 Confidential Customer Coin Transferee #2206    [Address on File]     6/19/2023 Bitcoin                             0.00162761 Customer Transfer
 Confidential Customer Coin Transferee #2207    [Address on File]     5/18/2023 Bitcoin                             0.00282271 Customer Transfer
 Confidential Customer Coin Transferee #2208    [Address on File]     6/20/2023 Bitcoin                              0.0029233 Customer Transfer
 Confidential Customer Coin Transferee #2209    [Address on File]      6/8/2023 Bitcoin                             0.04357144 Customer Transfer
 Confidential Customer Coin Transferee #2210    [Address on File]     5/18/2023 Bitcoin                             0.01216561 Customer Transfer
 Confidential Customer Coin Transferee #2211    [Address on File]     6/20/2023 Bitcoin                             0.00036976 Customer Transfer
 Confidential Customer Coin Transferee #2212    [Address on File]     5/27/2023 Bitcoin                             0.16465113 Customer Transfer
 Confidential Customer Coin Transferee #2213    [Address on File]     5/20/2023 Bitcoin                             0.00089804 Customer Transfer
 Confidential Customer Coin Transferee #2214    [Address on File]     6/19/2023 Bitcoin                              0.0128666 Customer Transfer
 Confidential Customer Coin Transferee #2215    [Address on File]     5/21/2023 Bitcoin                             0.01005148 Customer Transfer
 Confidential Customer Coin Transferee #2216    [Address on File]     5/23/2023 Bitcoin                             0.08039146 Customer Transfer
 Confidential Customer Coin Transferee #2217    [Address on File]     5/19/2023 Bitcoin                             0.00034426 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2218    [Address on File]     6/16/2023 Bitcoin                             0.02158476 Customer Transfer
 Confidential Customer Coin Transferee #2219    [Address on File]     6/13/2023 Bitcoin                             0.00076453 Customer Transfer
 Confidential Customer Coin Transferee #2219    [Address on File]     6/12/2023 Bitcoin                             0.00034228 Customer Transfer
 Confidential Customer Coin Transferee #2220    [Address on File]     6/20/2023 Bitcoin                             0.00278672 Customer Transfer
 Confidential Customer Coin Transferee #2221    [Address on File]     6/15/2023 Bitcoin                             0.00007102 Customer Transfer
 Confidential Customer Coin Transferee #2222    [Address on File]     6/20/2023 Bitcoin                             0.00005819 Customer Transfer
 Confidential Customer Coin Transferee #2223    [Address on File]     6/20/2023 Bitcoin                             0.00332455 Customer Transfer
 Confidential Customer Coin Transferee #2224    [Address on File]     5/23/2023 Bitcoin                             0.07159968 Customer Transfer
 Confidential Customer Coin Transferee #2225    [Address on File]     5/22/2023 Bitcoin                             0.00110513 Customer Transfer
 Confidential Customer Coin Transferee #2226    [Address on File]     5/24/2023 Bitcoin                             0.00447782 Customer Transfer
 Confidential Customer Coin Transferee #2226    [Address on File]      6/7/2023 Bitcoin                             0.00414409 Customer Transfer
 Confidential Customer Coin Transferee #2227    [Address on File]     6/20/2023 Bitcoin                             0.00012255 Customer Transfer
 Confidential Customer Coin Transferee #2228    [Address on File]     5/23/2023 Bitcoin                             0.00341385 Customer Transfer
 Confidential Customer Coin Transferee #2229    [Address on File]     5/19/2023 Bitcoin                             0.02517603 Customer Transfer
 Confidential Customer Coin Transferee #2230    [Address on File]     6/20/2023 Bitcoin                              0.0018678 Customer Transfer
 Confidential Customer Coin Transferee #2231    [Address on File]      6/6/2023 Bitcoin                             0.01153956 Customer Transfer

 Confidential Customer Coin Transferee #2232    [Address on File]     5/19/2023 Bitcoin                                0.00365114 Customer Transfer
 Confidential Customer Coin Transferee #2233    [Address on File]     5/25/2023 Bitcoin                                0.00144656 Customer Transfer
 Confidential Customer Coin Transferee #2233    [Address on File]     5/23/2023 Bitcoin                                0.00131627 Customer Transfer
 Confidential Customer Coin Transferee #2233    [Address on File]     5/23/2023 Bitcoin                                0.00053442 Customer Transfer
 Confidential Customer Coin Transferee #2234    [Address on File]     6/20/2023 Bitcoin                                0.00018986 Customer Transfer
 Confidential Customer Coin Transferee #2235    [Address on File]     5/24/2023 Bitcoin                                0.11645275 Customer Transfer
 Confidential Customer Coin Transferee #2236    [Address on File]     5/26/2023 Bitcoin                                0.00203969 Customer Transfer
 Confidential Customer Coin Transferee #2237    [Address on File]     5/26/2023 Bitcoin                                0.00093266 Customer Transfer
 Confidential Customer Coin Transferee #2237    [Address on File]     5/21/2023 Bitcoin                                0.00055423 Customer Transfer
 Confidential Customer Coin Transferee #2237    [Address on File]     5/24/2023 Bitcoin                                0.00054916 Customer Transfer
 Confidential Customer Coin Transferee #2237    [Address on File]     5/23/2023 Bitcoin                                0.00054571 Customer Transfer
 Confidential Customer Coin Transferee #2237    [Address on File]     5/23/2023 Bitcoin                                0.00054503 Customer Transfer
 Confidential Customer Coin Transferee #2237    [Address on File]     5/20/2023 Bitcoin                                0.00018356 Customer Transfer
 Confidential Customer Coin Transferee #2238    [Address on File]     5/27/2023 Bitcoin                                        0.02 Customer Transfer
 Confidential Customer Coin Transferee #2239    [Address on File]     5/27/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #2240    [Address on File]     5/26/2023 Bitcoin                                0.00892711 Customer Transfer
 Confidential Customer Coin Transferee #2241    [Address on File]     5/27/2023 Bitcoin                                0.01008856 Customer Transfer
 Confidential Customer Coin Transferee #2242    [Address on File]     6/20/2023 Bitcoin                                0.00005819 Customer Transfer
 Confidential Customer Coin Transferee #2243    [Address on File]     5/16/2023 Bitcoin                                0.01141916 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2244    [Address on File]     6/19/2023 Bitcoin                             0.00046472 Customer Transfer
 Confidential Customer Coin Transferee #2245    [Address on File]     5/16/2023 Bitcoin                             0.00588054 Customer Transfer
 Confidential Customer Coin Transferee #2245    [Address on File]     5/22/2023 Bitcoin                             0.00174204 Customer Transfer
 Confidential Customer Coin Transferee #2246    [Address on File]     6/20/2023 Bitcoin                             0.00009332 Customer Transfer
 Confidential Customer Coin Transferee #2247    [Address on File]     5/29/2023 Bitcoin                              0.0018558 Customer Transfer
 Confidential Customer Coin Transferee #2248    [Address on File]     5/22/2023 Bitcoin                             0.00184534 Customer Transfer
 Confidential Customer Coin Transferee #2248    [Address on File]     5/30/2023 Bitcoin                             0.00179691 Customer Transfer
 Confidential Customer Coin Transferee #2248    [Address on File]     5/16/2023 Bitcoin                             0.00179225 Customer Transfer
 Confidential Customer Coin Transferee #2249    [Address on File]     6/12/2023 Bitcoin                             0.00077206 Customer Transfer
 Confidential Customer Coin Transferee #2250    [Address on File]     5/21/2023 Bitcoin                             0.17129562 Customer Transfer
 Confidential Customer Coin Transferee #2251    [Address on File]     5/25/2023 Bitcoin                             0.01205836 Customer Transfer
 Confidential Customer Coin Transferee #2251    [Address on File]     5/29/2023 Bitcoin                             0.00449578 Customer Transfer
 Confidential Customer Coin Transferee #2252    [Address on File]     5/19/2023 Bitcoin                                 0.00019 Customer Transfer
 Confidential Customer Coin Transferee #2253    [Address on File]     5/26/2023 Bitcoin                             0.00376974 Customer Transfer
 Confidential Customer Coin Transferee #2254    [Address on File]     6/20/2023 Bitcoin                             0.00270331 Customer Transfer
 Confidential Customer Coin Transferee #2255    [Address on File]     6/19/2023 Bitcoin                             0.00004334 Customer Transfer
 Confidential Customer Coin Transferee #2256    [Address on File]     5/23/2023 Bitcoin                             0.00910351 Customer Transfer
 Confidential Customer Coin Transferee #2257    [Address on File]     5/22/2023 Bitcoin                             0.00794022 Customer Transfer
 Confidential Customer Coin Transferee #2257    [Address on File]     6/12/2023 Bitcoin                             0.00660058 Customer Transfer
 Confidential Customer Coin Transferee #2257    [Address on File]     5/29/2023 Bitcoin                             0.00646531 Customer Transfer
 Confidential Customer Coin Transferee #2257    [Address on File]     6/20/2023 Bitcoin                             0.00283207 Customer Transfer
 Confidential Customer Coin Transferee #2257    [Address on File]      6/2/2023 Bitcoin                             0.00264849 Customer Transfer
 Confidential Customer Coin Transferee #2258    [Address on File]     5/28/2023 Bitcoin                                 0.00183 Customer Transfer
 Confidential Customer Coin Transferee #2258    [Address on File]     5/20/2023 Bitcoin                                 0.00148 Customer Transfer
 Confidential Customer Coin Transferee #2259    [Address on File]     5/19/2023 Bitcoin                             0.01111482 Customer Transfer
 Confidential Customer Coin Transferee #2260    [Address on File]      6/2/2023 USD Coin                                 130.08 Customer Transfer
 Confidential Customer Coin Transferee #2261    [Address on File]     6/14/2023 Bitcoin                             0.00765937 Customer Transfer
 Confidential Customer Coin Transferee #2261    [Address on File]      6/6/2023 Bitcoin                             0.00735621 Customer Transfer
 Confidential Customer Coin Transferee #2261    [Address on File]     6/19/2023 Bitcoin                             0.00394399 Customer Transfer
 Confidential Customer Coin Transferee #2262    [Address on File]     5/29/2023 Bitcoin                             0.03437611 Customer Transfer
 Confidential Customer Coin Transferee #2263    [Address on File]     5/22/2023 Bitcoin                             0.00675448 Customer Transfer
 Confidential Customer Coin Transferee #2263    [Address on File]     5/22/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/24/2023 Bitcoin                             0.00173727 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]      6/1/2023 Bitcoin                             0.00122158 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/24/2023 Bitcoin                             0.00120765 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/17/2023 Bitcoin                             0.00097348 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/19/2023 Bitcoin                             0.00096457 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/28/2023 Bitcoin                             0.00095158 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/19/2023 Bitcoin                             0.00094317 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/21/2023 Bitcoin                             0.00094157 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/27/2023 Bitcoin                             0.00092877 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/29/2023 Bitcoin                             0.00092124 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/23/2023 Bitcoin                             0.00087935 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/24/2023 Bitcoin                                 0.00086 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/24/2023 Bitcoin                             0.00085566 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/28/2023 Bitcoin                                 0.00085 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/18/2023 Bitcoin                             0.00046521 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/20/2023 Bitcoin                             0.00043201 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/20/2023 Bitcoin                                 0.00041 Customer Transfer
 Confidential Customer Coin Transferee #2264    [Address on File]     5/29/2023 Bitcoin                             0.00026067 Customer Transfer
 Confidential Customer Coin Transferee #2265    [Address on File]     5/28/2023 Bitcoin                             0.00085282 Customer Transfer
 Confidential Customer Coin Transferee #2266    [Address on File]      6/8/2023 USDC Solana)                                 10 Customer Transfer
 Confidential Customer Coin Transferee #2267    [Address on File]     5/23/2023 Bitcoin                             0.02745377 Customer Transfer
 Confidential Customer Coin Transferee #2268    [Address on File]     5/26/2023 Bitcoin                             0.00773266 Customer Transfer
 Confidential Customer Coin Transferee #2268    [Address on File]      6/9/2023 Bitcoin                             0.00533624 Customer Transfer
 Confidential Customer Coin Transferee #2268    [Address on File]     6/15/2023 Bitcoin                              0.0051305 Customer Transfer
 Confidential Customer Coin Transferee #2268    [Address on File]     5/30/2023 Bitcoin                             0.00269003 Customer Transfer
 Confidential Customer Coin Transferee #2269    [Address on File]     6/20/2023 Bitcoin                             0.00297264 Customer Transfer
 Confidential Customer Coin Transferee #2270    [Address on File]     5/26/2023 Bitcoin                              0.0009234 Customer Transfer
 Confidential Customer Coin Transferee #2270    [Address on File]     5/19/2023 Bitcoin                             0.00090347 Customer Transfer
 Confidential Customer Coin Transferee #2271    [Address on File]     5/18/2023 Bitcoin                             0.10608526 Customer Transfer
 Confidential Customer Coin Transferee #2272    [Address on File]     5/23/2023 Bitcoin                             0.00298929 Customer Transfer
 Confidential Customer Coin Transferee #2272    [Address on File]     5/30/2023 Bitcoin                             0.00252987 Customer Transfer
 Confidential Customer Coin Transferee #2273    [Address on File]     5/30/2023 Bitcoin                             0.00012982 Customer Transfer
 Confidential Customer Coin Transferee #2274    [Address on File]     5/30/2023 Bitcoin                             0.03365842 Customer Transfer
 Confidential Customer Coin Transferee #2275    [Address on File]     5/31/2023 Bitcoin                              0.0001667 Customer Transfer
 Confidential Customer Coin Transferee #2276    [Address on File]     5/18/2023 Bitcoin                             0.00642768 Customer Transfer
 Confidential Customer Coin Transferee #2277    [Address on File]     5/25/2023 Bitcoin                             0.11333944 Customer Transfer
 Confidential Customer Coin Transferee #2277    [Address on File]     5/21/2023 Bitcoin                             0.11094253 Customer Transfer
 Confidential Customer Coin Transferee #2277    [Address on File]     5/28/2023 Bitcoin                             0.10609651 Customer Transfer
 Confidential Customer Coin Transferee #2277    [Address on File]     5/26/2023 Bitcoin                             0.07523266 Customer Transfer
 Confidential Customer Coin Transferee #2277    [Address on File]     5/19/2023 Bitcoin                             0.07387114 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2277    [Address on File]     5/28/2023 Bitcoin                             0.07308036 Customer Transfer
 Confidential Customer Coin Transferee #2278    [Address on File]     6/20/2023 Bitcoin                             0.00289359 Customer Transfer
 Confidential Customer Coin Transferee #2279    [Address on File]     5/22/2023 Bitcoin                             0.01071683 Customer Transfer
 Confidential Customer Coin Transferee #2280    [Address on File]     6/20/2023 Bitcoin                             0.00006021 Customer Transfer
 Confidential Customer Coin Transferee #2281    [Address on File]     6/20/2023 Bitcoin                             0.00066045 Customer Transfer
 Confidential Customer Coin Transferee #2282    [Address on File]     5/28/2023 Bitcoin                             0.01298636 Customer Transfer
 Confidential Customer Coin Transferee #2283    [Address on File]     5/20/2023 Bitcoin                             0.00090147 Customer Transfer
 Confidential Customer Coin Transferee #2284    [Address on File]     6/19/2023 Bitcoin                             0.00005603 Customer Transfer
 Confidential Customer Coin Transferee #2285    [Address on File]      6/8/2023 Bitcoin                             0.01791506 Customer Transfer
 Confidential Customer Coin Transferee #2286    [Address on File]     6/18/2023 Bitcoin                              0.0009489 Customer Transfer
 Confidential Customer Coin Transferee #2287    [Address on File]     5/19/2023 Bitcoin                             0.01847272 Customer Transfer
 Confidential Customer Coin Transferee #2287    [Address on File]     5/19/2023 Bitcoin                             0.01625469 Customer Transfer
 Confidential Customer Coin Transferee #2287    [Address on File]     5/19/2023 Bitcoin                             0.00923394 Customer Transfer
 Confidential Customer Coin Transferee #2288    [Address on File]     5/22/2023 Bitcoin                              0.0032594 Customer Transfer
 Confidential Customer Coin Transferee #2289    [Address on File]     5/20/2023 Bitcoin                             0.19073589 Customer Transfer
 Confidential Customer Coin Transferee #2290    [Address on File]     5/22/2023 Bitcoin                             0.00370248 Customer Transfer
 Confidential Customer Coin Transferee #2291    [Address on File]     5/19/2023 Bitcoin                             0.00580765 Customer Transfer
 Confidential Customer Coin Transferee #2292    [Address on File]     5/18/2023 Bitcoin                             0.00272904 Customer Transfer
 Confidential Customer Coin Transferee #2292    [Address on File]     5/16/2023 Bitcoin                             0.00090251 Customer Transfer
 Confidential Customer Coin Transferee #2293    [Address on File]     5/18/2023 Bitcoin                             0.03525466 Customer Transfer
 Confidential Customer Coin Transferee #2294    [Address on File]     6/20/2023 Bitcoin                             0.00057039 Customer Transfer
 Confidential Customer Coin Transferee #2295    [Address on File]     6/20/2023 Bitcoin                             0.00589002 Customer Transfer
 Confidential Customer Coin Transferee #2296    [Address on File]     5/23/2023 Bitcoin                             0.02044501 Customer Transfer
 Confidential Customer Coin Transferee #2296    [Address on File]     5/30/2023 Bitcoin                             0.00372605 Customer Transfer
 Confidential Customer Coin Transferee #2296    [Address on File]     5/16/2023 Bitcoin                             0.00168526 Customer Transfer

 Confidential Customer Coin Transferee #2297    [Address on File]     6/16/2023 Bitcoin                                0.00280382 Customer Transfer
 Confidential Customer Coin Transferee #2298    [Address on File]     5/26/2023 Bitcoin                                0.00419786 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/25/2023 Bitcoin                                 0.0038135 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/25/2023 Bitcoin                                0.00378118 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/25/2023 Bitcoin                                0.00376303 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/24/2023 Bitcoin                                0.00365461 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/25/2023 Bitcoin                                0.00298104 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/17/2023 Bitcoin                                0.00112303 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/18/2023 Bitcoin                                   0.000584 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/27/2023 Bitcoin                                0.00035487 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/27/2023 Bitcoin                             0.00035417 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/27/2023 Bitcoin                             0.00035283 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/29/2023 Bitcoin                             0.00033733 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/20/2023 Bitcoin                             0.00031628 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/28/2023 Bitcoin                             0.00028527 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/27/2023 Bitcoin                             0.00017227 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/21/2023 Bitcoin                             0.00017044 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/28/2023 Bitcoin                             0.00014848 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/29/2023 Bitcoin                             0.00009592 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/29/2023 Bitcoin                             0.00008262 Customer Transfer
 Confidential Customer Coin Transferee #2299    [Address on File]     5/20/2023 Bitcoin                             0.00003874 Customer Transfer
 Confidential Customer Coin Transferee #2300    [Address on File]     6/20/2023 Bitcoin                             0.00098816 Customer Transfer
 Confidential Customer Coin Transferee #2301    [Address on File]     5/20/2023 Bitcoin                             0.01851091 Customer Transfer
 Confidential Customer Coin Transferee #2302    [Address on File]     5/19/2023 Bitcoin                             0.00556828 Customer Transfer
 Confidential Customer Coin Transferee #2302    [Address on File]     5/22/2023 Bitcoin                              0.0027805 Customer Transfer
 Confidential Customer Coin Transferee #2302    [Address on File]     5/22/2023 Bitcoin                             0.00184988 Customer Transfer
 Confidential Customer Coin Transferee #2302    [Address on File]     5/28/2023 Bitcoin                             0.00183205 Customer Transfer
 Confidential Customer Coin Transferee #2302    [Address on File]     5/18/2023 Bitcoin                                0.001817 Customer Transfer
 Confidential Customer Coin Transferee #2303    [Address on File]     5/21/2023 Bitcoin                              0.0128137 Customer Transfer
 Confidential Customer Coin Transferee #2304    [Address on File]     5/26/2023 Bitcoin                             0.06674457 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/18/2023 Bitcoin                                   0.0038 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/18/2023 Bitcoin                                   0.0038 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/18/2023 Bitcoin                             0.00373457 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/19/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/24/2023 Bitcoin                             0.00188367 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/25/2023 Bitcoin                             0.00074351 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/22/2023 Bitcoin                             0.00073988 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/18/2023 Bitcoin                             0.00073084 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/18/2023 Bitcoin                             0.00073036 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/21/2023 Bitcoin                             0.00040672 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/24/2023 Bitcoin                             0.00018489 Customer Transfer
 Confidential Customer Coin Transferee #2305    [Address on File]     5/16/2023 Bitcoin                             0.00003642 Customer Transfer
 Confidential Customer Coin Transferee #2306    [Address on File]     5/17/2023 Bitcoin                             0.00110997 Customer Transfer
 Confidential Customer Coin Transferee #2307    [Address on File]     5/23/2023 Bitcoin                             0.03361372 Customer Transfer
 Confidential Customer Coin Transferee #2308    [Address on File]     5/28/2023 Bitcoin                             0.03291281 Customer Transfer
 Confidential Customer Coin Transferee #2309    [Address on File]     5/26/2023 Bitcoin                                    0.223 Customer Transfer


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                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2309    [Address on File]     5/19/2023 Bitcoin                                     0.06 Customer Transfer
 Confidential Customer Coin Transferee #2310    [Address on File]     5/25/2023 Bitcoin                             0.00112706 Customer Transfer
 Confidential Customer Coin Transferee #2310    [Address on File]     5/25/2023 Bitcoin                             0.00074794 Customer Transfer
 Confidential Customer Coin Transferee #2310    [Address on File]     5/20/2023 Bitcoin                             0.00036922 Customer Transfer
 Confidential Customer Coin Transferee #2311    [Address on File]     5/29/2023 Bitcoin                             0.02846952 Customer Transfer
 Confidential Customer Coin Transferee #2312    [Address on File]     6/20/2023 Bitcoin                             0.00023388 Customer Transfer
 Confidential Customer Coin Transferee #2313    [Address on File]     5/19/2023 Bitcoin                             0.01047468 Customer Transfer
 Confidential Customer Coin Transferee #2314    [Address on File]     6/20/2023 Bitcoin                             0.00077124 Customer Transfer
 Confidential Customer Coin Transferee #2315    [Address on File]     5/29/2023 Bitcoin                             0.00258991 Customer Transfer
 Confidential Customer Coin Transferee #2315    [Address on File]     5/22/2023 Bitcoin                             0.00252655 Customer Transfer
 Confidential Customer Coin Transferee #2316    [Address on File]     6/19/2023 Bitcoin                             0.00005907 Customer Transfer
 Confidential Customer Coin Transferee #2317    [Address on File]     5/19/2023 Bitcoin                             0.04335498 Customer Transfer
 Confidential Customer Coin Transferee #2318    [Address on File]     5/26/2023 Bitcoin                             0.00257564 Customer Transfer
 Confidential Customer Coin Transferee #2318    [Address on File]     5/19/2023 Bitcoin                             0.00242802 Customer Transfer
 Confidential Customer Coin Transferee #2319    [Address on File]     6/20/2023 Bitcoin                             0.00045098 Customer Transfer
 Confidential Customer Coin Transferee #2320    [Address on File]     5/31/2023 USD Coin                            200.579652 Customer Transfer
 Confidential Customer Coin Transferee #2321    [Address on File]     6/19/2023 Bitcoin                              0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #2322    [Address on File]     5/26/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #2323    [Address on File]     5/17/2023 Bitcoin                             0.05193426 Customer Transfer
 Confidential Customer Coin Transferee #2323    [Address on File]     5/24/2023 Bitcoin                             0.03698882 Customer Transfer
 Confidential Customer Coin Transferee #2324    [Address on File]     6/20/2023 Bitcoin                             0.00032158 Customer Transfer
 Confidential Customer Coin Transferee #2325    [Address on File]     6/19/2023 Bitcoin                             0.00099674 Customer Transfer
 Confidential Customer Coin Transferee #2326    [Address on File]     6/20/2023 Bitcoin                             0.00087125 Customer Transfer

 Confidential Customer Coin Transferee #2327    [Address on File]     6/21/2023 Tether USD                                  34995 Customer Transfer

 Confidential Customer Coin Transferee #2327    [Address on File]     6/20/2023 Tether USD                                  30075 Customer Transfer
 Confidential Customer Coin Transferee #2328    [Address on File]     6/20/2023 Bitcoin                                0.00037276 Customer Transfer
 Confidential Customer Coin Transferee #2329    [Address on File]     5/23/2023 Bitcoin                                0.00151442 Customer Transfer
 Confidential Customer Coin Transferee #2329    [Address on File]     5/30/2023 Bitcoin                                0.00148749 Customer Transfer
 Confidential Customer Coin Transferee #2329    [Address on File]     5/16/2023 Bitcoin                                 0.0013682 Customer Transfer
 Confidential Customer Coin Transferee #2330    [Address on File]     5/21/2023 Bitcoin                                      0.214 Customer Transfer
 Confidential Customer Coin Transferee #2330    [Address on File]     5/21/2023 Bitcoin                                0.00056651 Customer Transfer
 Confidential Customer Coin Transferee #2331    [Address on File]     5/22/2023 Bitcoin                                0.00040804 Customer Transfer
 Confidential Customer Coin Transferee #2332    [Address on File]     6/20/2023 Bitcoin                                0.00038474 Customer Transfer
 Confidential Customer Coin Transferee #2333    [Address on File]     5/24/2023 Bitcoin                                0.00069967 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2333    [Address on File]      6/6/2023 Bitcoin                                0.000379 Customer Transfer
 Confidential Customer Coin Transferee #2333    [Address on File]     6/14/2023 Bitcoin                             0.00033967 Customer Transfer
 Confidential Customer Coin Transferee #2333    [Address on File]      6/2/2023 Bitcoin                              0.0002241 Customer Transfer
 Confidential Customer Coin Transferee #2334    [Address on File]     5/17/2023 Bitcoin                             0.00036755 Customer Transfer
 Confidential Customer Coin Transferee #2335    [Address on File]     5/25/2023 Bitcoin                             0.00757882 Customer Transfer
 Confidential Customer Coin Transferee #2335    [Address on File]     5/16/2023 Bitcoin                             0.00367794 Customer Transfer
 Confidential Customer Coin Transferee #2335    [Address on File]     5/28/2023 Bitcoin                             0.00363833 Customer Transfer
 Confidential Customer Coin Transferee #2335    [Address on File]     5/23/2023 Bitcoin                             0.00096288 Customer Transfer
 Confidential Customer Coin Transferee #2336    [Address on File]     5/19/2023 Bitcoin                             0.00462791 Customer Transfer
 Confidential Customer Coin Transferee #2336    [Address on File]     5/18/2023 Bitcoin                             0.00376647 Customer Transfer
 Confidential Customer Coin Transferee #2336    [Address on File]     5/19/2023 Bitcoin                             0.00277612 Customer Transfer
 Confidential Customer Coin Transferee #2336    [Address on File]     5/19/2023 Bitcoin                              0.0015931 Customer Transfer
 Confidential Customer Coin Transferee #2336    [Address on File]     5/17/2023 Bitcoin                             0.00092828 Customer Transfer
 Confidential Customer Coin Transferee #2336    [Address on File]     5/19/2023 Bitcoin                             0.00036929 Customer Transfer
 Confidential Customer Coin Transferee #2336    [Address on File]     5/19/2023 Bitcoin                             0.00018553 Customer Transfer
 Confidential Customer Coin Transferee #2336    [Address on File]     5/16/2023 Bitcoin                             0.00010119 Customer Transfer
 Confidential Customer Coin Transferee #2337    [Address on File]     5/18/2023 Bitcoin                              0.0104992 Customer Transfer
 Confidential Customer Coin Transferee #2338    [Address on File]     5/20/2023 Bitcoin                                 0.00145 Customer Transfer
 Confidential Customer Coin Transferee #2338    [Address on File]     5/28/2023 Bitcoin                                 0.00139 Customer Transfer
 Confidential Customer Coin Transferee #2339    [Address on File]     5/27/2023 Bitcoin                             0.01691012 Customer Transfer
 Confidential Customer Coin Transferee #2339    [Address on File]     5/25/2023 Bitcoin                             0.00199429 Customer Transfer
 Confidential Customer Coin Transferee #2339    [Address on File]     5/20/2023 Bitcoin                             0.00110994 Customer Transfer
 Confidential Customer Coin Transferee #2340    [Address on File]     5/20/2023 Bitcoin                             0.00370199 Customer Transfer
 Confidential Customer Coin Transferee #2341    [Address on File]     6/20/2023 Bitcoin                             0.01398634 Customer Transfer
 Confidential Customer Coin Transferee #2342    [Address on File]     6/19/2023 Bitcoin                             0.00081415 Customer Transfer
 Confidential Customer Coin Transferee #2343    [Address on File]     6/20/2023 Bitcoin                             0.00019171 Customer Transfer
 Confidential Customer Coin Transferee #2344    [Address on File]     5/18/2023 Bitcoin                             0.01943476 Customer Transfer
 Confidential Customer Coin Transferee #2345    [Address on File]      6/1/2023 Bitcoin                             0.12306005 Customer Transfer
 Confidential Customer Coin Transferee #2346    [Address on File]     5/20/2023 Bitcoin                                   0.1107 Customer Transfer
 Confidential Customer Coin Transferee #2346    [Address on File]     5/18/2023 Bitcoin                             0.03527708 Customer Transfer
 Confidential Customer Coin Transferee #2347    [Address on File]     5/29/2023 Bitcoin                             0.00390125 Customer Transfer
 Confidential Customer Coin Transferee #2347    [Address on File]     5/22/2023 Bitcoin                             0.00371437 Customer Transfer
 Confidential Customer Coin Transferee #2348    [Address on File]     6/19/2023 Bitcoin                             0.00682952 Customer Transfer
 Confidential Customer Coin Transferee #2349    [Address on File]      6/5/2023 Bitcoin                             0.00243627 Customer Transfer
 Confidential Customer Coin Transferee #2349    [Address on File]     6/16/2023 Bitcoin                             0.00192996 Customer Transfer
 Confidential Customer Coin Transferee #2350    [Address on File]     5/28/2023 Bitcoin                             0.01965628 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2350    [Address on File]     5/28/2023 Bitcoin                              0.0016434 Customer Transfer
 Confidential Customer Coin Transferee #2350    [Address on File]     5/28/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #2351    [Address on File]     5/25/2023 Bitcoin                             0.08443452 Customer Transfer
 Confidential Customer Coin Transferee #2352    [Address on File]     5/16/2023 Bitcoin                                0.088058 Customer Transfer
 Confidential Customer Coin Transferee #2353    [Address on File]     6/19/2023 Bitcoin                             0.00074331 Customer Transfer
 Confidential Customer Coin Transferee #2354    [Address on File]     5/18/2023 Bitcoin                             0.01004252 Customer Transfer
 Confidential Customer Coin Transferee #2355    [Address on File]     5/26/2023 Bitcoin                             0.00881504 Customer Transfer
 Confidential Customer Coin Transferee #2356    [Address on File]     6/14/2023 Bitcoin                              0.0002448 Customer Transfer
 Confidential Customer Coin Transferee #2357    [Address on File]     5/29/2023 Bitcoin                                 0.00111 Customer Transfer
 Confidential Customer Coin Transferee #2357    [Address on File]     5/26/2023 Bitcoin                                 0.00076 Customer Transfer
 Confidential Customer Coin Transferee #2357    [Address on File]     5/27/2023 Bitcoin                             0.00056179 Customer Transfer
 Confidential Customer Coin Transferee #2357    [Address on File]     5/26/2023 Bitcoin                             0.00038583 Customer Transfer
 Confidential Customer Coin Transferee #2357    [Address on File]     5/26/2023 Bitcoin                             0.00034686 Customer Transfer
 Confidential Customer Coin Transferee #2357    [Address on File]     5/26/2023 Bitcoin                                 0.00019 Customer Transfer
 Confidential Customer Coin Transferee #2357    [Address on File]     5/26/2023 Bitcoin                                 0.00019 Customer Transfer
 Confidential Customer Coin Transferee #2358    [Address on File]     5/23/2023 Bitcoin                             0.01062933 Customer Transfer
 Confidential Customer Coin Transferee #2359    [Address on File]     5/17/2023 Bitcoin                                   0.0034 Customer Transfer
 Confidential Customer Coin Transferee #2359    [Address on File]     5/28/2023 Bitcoin                             0.00110661 Customer Transfer
 Confidential Customer Coin Transferee #2360    [Address on File]     5/29/2023 Bitcoin                                0.005749 Customer Transfer
 Confidential Customer Coin Transferee #2361    [Address on File]     5/21/2023 Bitcoin                                0.001689 Customer Transfer
 Confidential Customer Coin Transferee #2361    [Address on File]     5/21/2023 Bitcoin                             0.00015927 Customer Transfer
 Confidential Customer Coin Transferee #2362    [Address on File]     5/29/2023 Bitcoin                             0.00034546 Customer Transfer
 Confidential Customer Coin Transferee #2363    [Address on File]     5/26/2023 Bitcoin                             0.01880295 Customer Transfer
 Confidential Customer Coin Transferee #2363    [Address on File]     5/19/2023 Bitcoin                             0.00924142 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/30/2023 Bitcoin                              0.0008975 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/30/2023 Bitcoin                             0.00089747 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/25/2023 Bitcoin                             0.00075809 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/31/2023 Bitcoin                             0.00073377 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/31/2023 Bitcoin                              0.0007333 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/17/2023 Bitcoin                             0.00055916 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/24/2023 Bitcoin                             0.00037611 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/24/2023 Bitcoin                             0.00037606 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/22/2023 Bitcoin                             0.00037126 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/22/2023 Bitcoin                             0.00037114 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/21/2023 Bitcoin                             0.00036701 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/26/2023 Bitcoin                             0.00018727 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/19/2023 Bitcoin                             0.00018513 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/16/2023 Bitcoin                              0.0001837 Customer Transfer
 Confidential Customer Coin Transferee #2364    [Address on File]     5/31/2023 Bitcoin                             0.00018333 Customer Transfer
 Confidential Customer Coin Transferee #2365    [Address on File]     5/27/2023 Bitcoin                              0.0003713 Customer Transfer
 Confidential Customer Coin Transferee #2366    [Address on File]     6/20/2023 Bitcoin                             0.00019539 Customer Transfer
 Confidential Customer Coin Transferee #2367    [Address on File]     5/16/2023 Bitcoin                             0.15693998 Customer Transfer
 Confidential Customer Coin Transferee #2367    [Address on File]     5/20/2023 Bitcoin                             0.00647442 Customer Transfer
 Confidential Customer Coin Transferee #2368    [Address on File]     5/19/2023 Bitcoin                             0.01090875 Customer Transfer
 Confidential Customer Coin Transferee #2369    [Address on File]     5/27/2023 Bitcoin                              0.0033394 Customer Transfer
 Confidential Customer Coin Transferee #2369    [Address on File]     5/18/2023 Bitcoin                             0.00183431 Customer Transfer
 Confidential Customer Coin Transferee #2370    [Address on File]     5/28/2023 Bitcoin                             0.00291841 Customer Transfer
 Confidential Customer Coin Transferee #2370    [Address on File]     5/23/2023 Bitcoin                             0.00186518 Customer Transfer
 Confidential Customer Coin Transferee #2370    [Address on File]     5/19/2023 Bitcoin                             0.00092604 Customer Transfer
 Confidential Customer Coin Transferee #2370    [Address on File]     5/19/2023 Bitcoin                             0.00014799 Customer Transfer
 Confidential Customer Coin Transferee #2371    [Address on File]     5/16/2023 Bitcoin                             0.00018295 Customer Transfer
 Confidential Customer Coin Transferee #2371    [Address on File]     5/17/2023 Bitcoin                             0.00018246 Customer Transfer
 Confidential Customer Coin Transferee #2371    [Address on File]      6/6/2023 Bitcoin                             0.00007682 Customer Transfer
 Confidential Customer Coin Transferee #2371    [Address on File]     5/24/2023 Bitcoin                             0.00007544 Customer Transfer
 Confidential Customer Coin Transferee #2371    [Address on File]     5/26/2023 Bitcoin                             0.00007474 Customer Transfer
 Confidential Customer Coin Transferee #2372    [Address on File]     5/21/2023 Bitcoin                             0.00044106 Customer Transfer
 Confidential Customer Coin Transferee #2372    [Address on File]     5/21/2023 Bitcoin                             0.00040371 Customer Transfer
 Confidential Customer Coin Transferee #2372    [Address on File]     5/19/2023 Bitcoin                             0.00037039 Customer Transfer
 Confidential Customer Coin Transferee #2372    [Address on File]     5/21/2023 Bitcoin                             0.00036931 Customer Transfer
 Confidential Customer Coin Transferee #2372    [Address on File]     5/17/2023 Bitcoin                             0.00036255 Customer Transfer
 Confidential Customer Coin Transferee #2372    [Address on File]     5/30/2023 Bitcoin                             0.00024906 Customer Transfer
 Confidential Customer Coin Transferee #2372    [Address on File]     5/19/2023 Bitcoin                             0.00022227 Customer Transfer
 Confidential Customer Coin Transferee #2372    [Address on File]     5/29/2023 Bitcoin                             0.00017897 Customer Transfer
 Confidential Customer Coin Transferee #2372    [Address on File]     5/16/2023 Bitcoin                             0.00007325 Customer Transfer

 Confidential Customer Coin Transferee #2373    [Address on File]      6/8/2023 Bitcoin                                0.00467738 Customer Transfer
 Confidential Customer Coin Transferee #2374    [Address on File]     5/26/2023 Bitcoin                                0.01882125 Customer Transfer
 Confidential Customer Coin Transferee #2374    [Address on File]     5/23/2023 Bitcoin                                0.00184914 Customer Transfer
 Confidential Customer Coin Transferee #2374    [Address on File]     5/16/2023 Bitcoin                                0.00075359 Customer Transfer
 Confidential Customer Coin Transferee #2375    [Address on File]     5/23/2023 USD Coin Stellar)                             89.9 Customer Transfer
 Confidential Customer Coin Transferee #2375    [Address on File]     5/23/2023 Tether USD                                  79.879 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #2376    [Address on File]      6/8/2023 USDC Avalanche)                        496.871251 Customer Transfer
 Confidential Customer Coin Transferee #2377    [Address on File]     6/20/2023 Bitcoin                                0.00011429 Customer Transfer
 Confidential Customer Coin Transferee #2378    [Address on File]     6/20/2023 Bitcoin                                0.00003992 Customer Transfer
 Confidential Customer Coin Transferee #2379    [Address on File]     5/31/2023 Tether USD                              3222.9453 Customer Transfer
 Confidential Customer Coin Transferee #2380    [Address on File]      6/9/2023 Tether USD                              1783.1371 Customer Transfer
 Confidential Customer Coin Transferee #2381    [Address on File]     5/18/2023 Bitcoin                                0.01023288 Customer Transfer
 Confidential Customer Coin Transferee #2382    [Address on File]     6/20/2023 Bitcoin                                0.00044676 Customer Transfer
 Confidential Customer Coin Transferee #2383    [Address on File]     5/21/2023 Bitcoin                                0.01001337 Customer Transfer
 Confidential Customer Coin Transferee #2384    [Address on File]     5/21/2023 Bitcoin                                0.00244628 Customer Transfer
 Confidential Customer Coin Transferee #2385    [Address on File]     6/20/2023 Bitcoin                                0.00737849 Customer Transfer
 Confidential Customer Coin Transferee #2386    [Address on File]     5/23/2023 Bitcoin                                0.00215619 Customer Transfer
 Confidential Customer Coin Transferee #2386    [Address on File]     5/16/2023 Bitcoin                                0.00196947 Customer Transfer
 Confidential Customer Coin Transferee #2387    [Address on File]     6/20/2023 Bitcoin                                0.00004301 Customer Transfer
 Confidential Customer Coin Transferee #2388    [Address on File]     5/22/2023 Bitcoin                                 0.0003694 Customer Transfer
 Confidential Customer Coin Transferee #2389    [Address on File]     5/23/2023 Bitcoin                                0.02697785 Customer Transfer
 Confidential Customer Coin Transferee #2390    [Address on File]     6/19/2023 Bitcoin                                0.00172344 Customer Transfer
 Confidential Customer Coin Transferee #2391    [Address on File]     6/19/2023 Bitcoin                                0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #2392    [Address on File]     5/26/2023 Bitcoin                                0.00364057 Customer Transfer
 Confidential Customer Coin Transferee #2392    [Address on File]     5/19/2023 Bitcoin                                0.00353213 Customer Transfer
 Confidential Customer Coin Transferee #2393    [Address on File]     5/18/2023 Bitcoin                                0.00222778 Customer Transfer
 Confidential Customer Coin Transferee #2393    [Address on File]     5/21/2023 Bitcoin                                0.00055408 Customer Transfer
 Confidential Customer Coin Transferee #2394    [Address on File]      6/2/2023 Bitcoin                                0.04407843 Customer Transfer
 Confidential Customer Coin Transferee #2394    [Address on File]     5/18/2023 Bitcoin                                0.04355424 Customer Transfer
 Confidential Customer Coin Transferee #2394    [Address on File]     5/25/2023 Bitcoin                                0.00787846 Customer Transfer
 Confidential Customer Coin Transferee #2395    [Address on File]     5/20/2023 Bitcoin                                0.01068641 Customer Transfer
 Confidential Customer Coin Transferee #2396    [Address on File]     6/20/2023 Bitcoin                                0.00299822 Customer Transfer
 Confidential Customer Coin Transferee #2397    [Address on File]     6/19/2023 Bitcoin                                0.00042923 Customer Transfer
 Confidential Customer Coin Transferee #2398    [Address on File]     6/19/2023 Bitcoin                                0.00541028 Customer Transfer
 Confidential Customer Coin Transferee #2399    [Address on File]     5/22/2023 Bitcoin                                0.00046183 Customer Transfer
 Confidential Customer Coin Transferee #2400    [Address on File]     6/20/2023 Bitcoin                                0.00672186 Customer Transfer
 Confidential Customer Coin Transferee #2401    [Address on File]     6/20/2023 Bitcoin                                0.00307646 Customer Transfer

 Confidential Customer Coin Transferee #2402    [Address on File]     6/20/2023 Bitcoin                                0.00040845 Customer Transfer
 Confidential Customer Coin Transferee #2403    [Address on File]     6/19/2023 Bitcoin                                0.00211779 Customer Transfer
 Confidential Customer Coin Transferee #2404    [Address on File]     6/19/2023 Bitcoin                                0.00005816 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/7/2023 USD Coin                            208.924645 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                            158.105136 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                            146.816591 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                            123.088455 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                             122.96622 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                            117.389566 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                            116.271864 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                            111.804097 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                            111.792924 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                            107.735358 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                             98.140929 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/7/2023 USD Coin                             98.131121 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/7/2023 USD Coin                             91.854887 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                             73.405956 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                             69.995002 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                             67.059764 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/7/2023 USD Coin                             62.112732 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/7/2023 USD Coin                             62.112732 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/6/2023 USD Coin                             56.471764 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/3/2023 USD Coin                              9.985007 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]     5/24/2023 USD Coin                               1.09978 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/3/2023 USD Coin                               1.09945 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/5/2023 USD Coin                               1.09934 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/2/2023 USD Coin                                      1 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]     5/24/2023 USD Coin                                 0.9999 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]     5/23/2023 USD Coin                                 0.9996 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]     5/24/2023 USD Coin                                 0.9996 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/5/2023 USD Coin                                 0.9996 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/5/2023 USD Coin                                 0.9996 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/5/2023 USD Coin                                 0.9996 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/2/2023 USD Coin                                 0.9995 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/3/2023 USD Coin                                 0.9995 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/5/2023 USD Coin                                 0.9995 Customer Transfer
 Confidential Customer Coin Transferee #2405    [Address on File]      6/7/2023 USD Coin                                 0.9994 Customer Transfer
 Confidential Customer Coin Transferee #2406    [Address on File]     5/29/2023 Bitcoin                             0.01069508 Customer Transfer
 Confidential Customer Coin Transferee #2407    [Address on File]     6/20/2023 Bitcoin                             0.00005818 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2408    [Address on File]     5/29/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #2409    [Address on File]     5/19/2023 Bitcoin                             0.00122513 Customer Transfer
 Confidential Customer Coin Transferee #2410    [Address on File]     5/30/2023 Bitcoin                             0.00125477 Customer Transfer
 Confidential Customer Coin Transferee #2411    [Address on File]     5/19/2023 Bitcoin                             0.02067788 Customer Transfer
 Confidential Customer Coin Transferee #2411    [Address on File]     5/25/2023 Bitcoin                                   0.019 Customer Transfer
 Confidential Customer Coin Transferee #2411    [Address on File]     5/25/2023 Bitcoin                             0.01101364 Customer Transfer
 Confidential Customer Coin Transferee #2411    [Address on File]     5/19/2023 Bitcoin                             0.00266192 Customer Transfer
 Confidential Customer Coin Transferee #2411    [Address on File]     5/19/2023 Bitcoin                              0.0018857 Customer Transfer
 Confidential Customer Coin Transferee #2412    [Address on File]     5/31/2023 Bitcoin                             0.00035249 Customer Transfer
 Confidential Customer Coin Transferee #2413    [Address on File]     5/19/2023 Bitcoin                             0.00734713 Customer Transfer
 Confidential Customer Coin Transferee #2414    [Address on File]     5/27/2023 Bitcoin                             0.00547003 Customer Transfer
 Confidential Customer Coin Transferee #2414    [Address on File]     5/27/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #2415    [Address on File]     6/20/2023 Bitcoin                             0.00695803 Customer Transfer
 Confidential Customer Coin Transferee #2416    [Address on File]     5/25/2023 Bitcoin                             0.06421873 Customer Transfer
 Confidential Customer Coin Transferee #2417    [Address on File]     5/24/2023 Bitcoin                                   0.013 Customer Transfer
 Confidential Customer Coin Transferee #2417    [Address on File]     5/23/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #2418    [Address on File]     6/20/2023 Bitcoin                             0.00299551 Customer Transfer
 Confidential Customer Coin Transferee #2419    [Address on File]     5/16/2023 Bitcoin                             0.02305637 Customer Transfer
 Confidential Customer Coin Transferee #2420    [Address on File]     5/27/2023 Bitcoin                             0.00371563 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/25/2023 Bitcoin                             0.00186177 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/25/2023 Bitcoin                             0.00178311 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/27/2023 Bitcoin                             0.00093006 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/25/2023 Bitcoin                             0.00092842 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/26/2023 Bitcoin                             0.00090296 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/26/2023 Bitcoin                             0.00090257 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/25/2023 Bitcoin                             0.00090149 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/27/2023 Bitcoin                             0.00089375 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/27/2023 Bitcoin                             0.00089233 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]      6/2/2023 Bitcoin                             0.00088152 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/28/2023 Bitcoin                             0.00087784 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/25/2023 Bitcoin                             0.00087253 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/25/2023 Bitcoin                             0.00072002 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/29/2023 Bitcoin                             0.00065069 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]      6/2/2023 Bitcoin                             0.00053096 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]      6/2/2023 Bitcoin                             0.00053025 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]      6/2/2023 Bitcoin                             0.00049759 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/31/2023 Bitcoin                             0.00049092 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/28/2023 Bitcoin                             0.00037447 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/29/2023 Bitcoin                             0.00037097 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]      6/2/2023 Bitcoin                             0.00036014 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/28/2023 Bitcoin                             0.00034727 Customer Transfer
 Confidential Customer Coin Transferee #2421    [Address on File]     5/26/2023 Bitcoin                             0.00033407 Customer Transfer
 Confidential Customer Coin Transferee #2422    [Address on File]     5/20/2023 Bitcoin                                 0.03733 Customer Transfer
 Confidential Customer Coin Transferee #2422    [Address on File]     5/30/2023 Bitcoin                                 0.01818 Customer Transfer
 Confidential Customer Coin Transferee #2423    [Address on File]     5/22/2023 Bitcoin                             0.01535749 Customer Transfer
 Confidential Customer Coin Transferee #2423    [Address on File]     5/25/2023 Bitcoin                             0.00095056 Customer Transfer
 Confidential Customer Coin Transferee #2423    [Address on File]     5/26/2023 Bitcoin                             0.00048291 Customer Transfer
 Confidential Customer Coin Transferee #2424    [Address on File]     5/26/2023 Bitcoin                             0.00753172 Customer Transfer
 Confidential Customer Coin Transferee #2424    [Address on File]     5/20/2023 Bitcoin                             0.00369113 Customer Transfer
 Confidential Customer Coin Transferee #2424    [Address on File]     5/19/2023 Bitcoin                             0.00325728 Customer Transfer
 Confidential Customer Coin Transferee #2425    [Address on File]     5/18/2023 Bitcoin                             0.00108868 Customer Transfer
 Confidential Customer Coin Transferee #2425    [Address on File]     5/16/2023 Bitcoin                             0.00088043 Customer Transfer
 Confidential Customer Coin Transferee #2426    [Address on File]     5/25/2023 Bitcoin                             0.00377813 Customer Transfer
 Confidential Customer Coin Transferee #2427    [Address on File]     5/29/2023 Bitcoin                             0.00710106 Customer Transfer
 Confidential Customer Coin Transferee #2428    [Address on File]     5/19/2023 Bitcoin                             0.10002327 Customer Transfer
 Confidential Customer Coin Transferee #2428    [Address on File]     5/29/2023 Bitcoin                             0.09603312 Customer Transfer
 Confidential Customer Coin Transferee #2429    [Address on File]     5/16/2023 Bitcoin                             0.00077751 Customer Transfer
 Confidential Customer Coin Transferee #2429    [Address on File]     5/16/2023 Bitcoin                             0.00070404 Customer Transfer
 Confidential Customer Coin Transferee #2429    [Address on File]     5/16/2023 Bitcoin                             0.00070166 Customer Transfer
 Confidential Customer Coin Transferee #2429    [Address on File]     5/19/2023 Bitcoin                             0.00016982 Customer Transfer
 Confidential Customer Coin Transferee #2429    [Address on File]     5/17/2023 Bitcoin                             0.00016868 Customer Transfer
 Confidential Customer Coin Transferee #2429    [Address on File]     5/17/2023 Bitcoin                              0.0000899 Customer Transfer
 Confidential Customer Coin Transferee #2430    [Address on File]     5/21/2023 Bitcoin                             0.00054705 Customer Transfer
 Confidential Customer Coin Transferee #2431    [Address on File]     5/23/2023 Bitcoin                             0.02613256 Customer Transfer
 Confidential Customer Coin Transferee #2432    [Address on File]     5/17/2023 Bitcoin                              0.1382036 Customer Transfer
 Confidential Customer Coin Transferee #2433    [Address on File]     5/25/2023 Bitcoin                              0.0010774 Customer Transfer
 Confidential Customer Coin Transferee #2433    [Address on File]     5/18/2023 Bitcoin                             0.00104555 Customer Transfer
 Confidential Customer Coin Transferee #2434    [Address on File]     6/20/2023 Bitcoin                             0.03419215 Customer Transfer
 Confidential Customer Coin Transferee #2435    [Address on File]     6/19/2023 Bitcoin                             0.00618226 Customer Transfer
 Confidential Customer Coin Transferee #2436    [Address on File]     6/20/2023 Bitcoin                             0.03452158 Customer Transfer
 Confidential Customer Coin Transferee #2437    [Address on File]     6/20/2023 Bitcoin                             0.00003436 Customer Transfer
 Confidential Customer Coin Transferee #2438    [Address on File]     6/20/2023 Bitcoin                             0.00467275 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2439    [Address on File]     5/19/2023 Bitcoin                             0.01035993 Customer Transfer
 Confidential Customer Coin Transferee #2440    [Address on File]     6/14/2023 Bitcoin                             0.00645038 Customer Transfer
 Confidential Customer Coin Transferee #2440    [Address on File]      6/7/2023 Bitcoin                             0.00369381 Customer Transfer
 Confidential Customer Coin Transferee #2441    [Address on File]     6/20/2023 Bitcoin                             0.00005814 Customer Transfer
 Confidential Customer Coin Transferee #2442    [Address on File]     5/20/2023 Bitcoin                             0.03708039 Customer Transfer
 Confidential Customer Coin Transferee #2442    [Address on File]     5/26/2023 Bitcoin                             0.00373236 Customer Transfer
 Confidential Customer Coin Transferee #2443    [Address on File]     5/16/2023 Bitcoin                              0.0025696 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/18/2023 Bitcoin                             0.02833971 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/16/2023 Bitcoin                             0.02569603 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/22/2023 Bitcoin                             0.02479889 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/18/2023 Bitcoin                             0.01865979 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]      6/1/2023 Bitcoin                              0.0166697 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/26/2023 Bitcoin                             0.01205989 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/24/2023 Bitcoin                             0.01116918 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/19/2023 Bitcoin                             0.01112562 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/23/2023 Bitcoin                             0.00767762 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/16/2023 Bitcoin                             0.00478549 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/18/2023 Bitcoin                             0.00441069 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/30/2023 Bitcoin                             0.00372293 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/31/2023 Bitcoin                             0.00297159 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/31/2023 Bitcoin                             0.00258252 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/25/2023 Bitcoin                             0.00150949 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/22/2023 Bitcoin                             0.00148708 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/18/2023 Bitcoin                             0.00145739 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/19/2023 Bitcoin                             0.00129951 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/22/2023 Bitcoin                             0.00122226 Customer Transfer
 Confidential Customer Coin Transferee #2444    [Address on File]     5/20/2023 Bitcoin                             0.00093116 Customer Transfer
 Confidential Customer Coin Transferee #2445    [Address on File]     6/20/2023 Bitcoin                             0.00057755 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/25/2023 Bitcoin                             0.00187856 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/23/2023 Bitcoin                             0.00182039 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/23/2023 Bitcoin                              0.0018161 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/23/2023 Bitcoin                             0.00181536 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/23/2023 Bitcoin                             0.00174816 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/26/2023 Bitcoin                             0.00158177 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/23/2023 Bitcoin                             0.00127179 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/23/2023 Bitcoin                             0.00126192 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/17/2023 Bitcoin                              0.0007896 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/29/2023 Bitcoin                             0.00070575 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/23/2023 Bitcoin                             0.00065833 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/31/2023 Bitcoin                             0.00058172 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/19/2023 Bitcoin                             0.00037928 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/17/2023 Bitcoin                              0.0003664 Customer Transfer
 Confidential Customer Coin Transferee #2446    [Address on File]     5/22/2023 Bitcoin                             0.00027358 Customer Transfer
 Confidential Customer Coin Transferee #2447    [Address on File]     6/20/2023 Bitcoin                             0.00307657 Customer Transfer
 Confidential Customer Coin Transferee #2448    [Address on File]     6/19/2023 Bitcoin                             0.01726222 Customer Transfer
 Confidential Customer Coin Transferee #2449    [Address on File]     5/23/2023 Bitcoin                             0.01450784 Customer Transfer
 Confidential Customer Coin Transferee #2450    [Address on File]     5/24/2023 Bitcoin                             0.03089263 Customer Transfer
 Confidential Customer Coin Transferee #2451    [Address on File]     5/24/2023 Bitcoin                             0.02786638 Customer Transfer
 Confidential Customer Coin Transferee #2452    [Address on File]     6/20/2023 Bitcoin                             0.00187841 Customer Transfer
 Confidential Customer Coin Transferee #2453    [Address on File]     5/20/2023 Bitcoin                             0.02572808 Customer Transfer
 Confidential Customer Coin Transferee #2454    [Address on File]     5/30/2023 Bitcoin                              0.0017521 Customer Transfer
 Confidential Customer Coin Transferee #2455    [Address on File]     6/20/2023 Bitcoin                             0.00577964 Customer Transfer
 Confidential Customer Coin Transferee #2456    [Address on File]     6/20/2023 Bitcoin                             0.00047812 Customer Transfer
 Confidential Customer Coin Transferee #2457    [Address on File]     5/23/2023 Bitcoin                             0.02963718 Customer Transfer
 Confidential Customer Coin Transferee #2458    [Address on File]     6/19/2023 Bitcoin                             0.00111712 Customer Transfer
 Confidential Customer Coin Transferee #2459    [Address on File]     5/20/2023 Bitcoin                              0.0177371 Customer Transfer
 Confidential Customer Coin Transferee #2460    [Address on File]     5/31/2023 Bitcoin                             0.02709298 Customer Transfer
 Confidential Customer Coin Transferee #2461    [Address on File]      6/2/2023 Tether USD                               397.22 Customer Transfer
 Confidential Customer Coin Transferee #2461    [Address on File]     6/16/2023 Tether USD                               188.35 Customer Transfer
 Confidential Customer Coin Transferee #2462    [Address on File]     5/22/2023 Bitcoin                             0.42564248 Customer Transfer
 Confidential Customer Coin Transferee #2463    [Address on File]     5/16/2023 Bitcoin                             0.03687109 Customer Transfer
 Confidential Customer Coin Transferee #2463    [Address on File]     5/20/2023 Bitcoin                             0.03673832 Customer Transfer
 Confidential Customer Coin Transferee #2463    [Address on File]     5/18/2023 Bitcoin                             0.03652976 Customer Transfer
 Confidential Customer Coin Transferee #2463    [Address on File]     5/23/2023 Bitcoin                             0.03650938 Customer Transfer
 Confidential Customer Coin Transferee #2463    [Address on File]     5/23/2023 Bitcoin                             0.03650665 Customer Transfer
 Confidential Customer Coin Transferee #2463    [Address on File]     5/23/2023 Bitcoin                             0.03648359 Customer Transfer
 Confidential Customer Coin Transferee #2463    [Address on File]     5/17/2023 Bitcoin                             0.03642206 Customer Transfer
 Confidential Customer Coin Transferee #2463    [Address on File]     5/20/2023 Bitcoin                             0.03273613 Customer Transfer
 Confidential Customer Coin Transferee #2463    [Address on File]     5/22/2023 Bitcoin                             0.01627629 Customer Transfer
 Confidential Customer Coin Transferee #2464    [Address on File]     5/20/2023 Bitcoin                              0.0054087 Customer Transfer
 Confidential Customer Coin Transferee #2465    [Address on File]     5/19/2023 Bitcoin                             0.00244125 Customer Transfer
 Confidential Customer Coin Transferee #2466    [Address on File]     6/20/2023 Bitcoin                             0.02545683 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2467    [Address on File]     5/22/2023 Bitcoin                             0.02637089 Customer Transfer
 Confidential Customer Coin Transferee #2468    [Address on File]     6/20/2023 Bitcoin                             0.03318408 Customer Transfer
 Confidential Customer Coin Transferee #2469    [Address on File]     5/22/2023 Bitcoin                             0.13706935 Customer Transfer
 Confidential Customer Coin Transferee #2470    [Address on File]     5/23/2023 Bitcoin                             0.00619391 Customer Transfer

 Confidential Customer Coin Transferee #2471    [Address on File]     6/13/2023 Tether USD                                    2594 Customer Transfer
 Confidential Customer Coin Transferee #2472    [Address on File]     6/20/2023 Bitcoin                                 0.0276049 Customer Transfer
 Confidential Customer Coin Transferee #2473    [Address on File]     5/18/2023 Bitcoin                                0.02572354 Customer Transfer
 Confidential Customer Coin Transferee #2473    [Address on File]     5/31/2023 Bitcoin                                 0.0073666 Customer Transfer
 Confidential Customer Coin Transferee #2473    [Address on File]     5/22/2023 Bitcoin                                0.00370583 Customer Transfer
 Confidential Customer Coin Transferee #2473    [Address on File]     5/30/2023 Bitcoin                                0.00356888 Customer Transfer
 Confidential Customer Coin Transferee #2473    [Address on File]     5/18/2023 Bitcoin                                 0.0003719 Customer Transfer
 Confidential Customer Coin Transferee #2473    [Address on File]     5/26/2023 Bitcoin                                0.00018955 Customer Transfer
 Confidential Customer Coin Transferee #2474    [Address on File]     5/23/2023 Bitcoin                                0.03574396 Customer Transfer
 Confidential Customer Coin Transferee #2475    [Address on File]     5/17/2023 Bitcoin                                0.02645935 Customer Transfer
 Confidential Customer Coin Transferee #2476    [Address on File]     5/24/2023 Bitcoin                                0.11116122 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/28/2023 Bitcoin                                    0.02054 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/26/2023 Bitcoin                                0.00839846 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/21/2023 Bitcoin                                0.00837532 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/24/2023 Bitcoin                                0.00742116 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/22/2023 Bitcoin                                0.00739272 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/20/2023 Bitcoin                                0.00733585 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/28/2023 Bitcoin                                0.00726224 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/22/2023 Bitcoin                                0.00719779 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/29/2023 Bitcoin                                0.00707856 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/23/2023 Bitcoin                                0.00670129 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/20/2023 Bitcoin                                0.00667603 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/28/2023 Bitcoin                                0.00663504 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/23/2023 Bitcoin                                0.00659008 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/17/2023 Bitcoin                                0.00658976 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/17/2023 Bitcoin                                0.00657499 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/21/2023 Bitcoin                                 0.0058754 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/16/2023 Bitcoin                                0.00450859 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/17/2023 Bitcoin                                0.00412972 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/16/2023 Bitcoin                                0.00380407 Customer Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/19/2023 Bitcoin                                0.00192653 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2477    [Address on File]     5/28/2023 Bitcoin                             0.00158882 Customer Transfer

 Confidential Customer Coin Transferee #2478    [Address on File]     5/29/2023 Bitcoin                                0.00971424 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/25/2023 Bitcoin                                0.00037894 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/26/2023 Bitcoin                                0.00037624 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/27/2023 Bitcoin                                0.00037264 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/24/2023 Bitcoin                                0.00037198 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/22/2023 Bitcoin                                0.00037069 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/19/2023 Bitcoin                                 0.0003704 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/20/2023 Bitcoin                                0.00036977 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/17/2023 Bitcoin                                0.00036957 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/16/2023 Bitcoin                                0.00036763 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/31/2023 Bitcoin                                 0.0003672 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/28/2023 Bitcoin                                   0.000366 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/23/2023 Bitcoin                                0.00036403 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/18/2023 Bitcoin                                 0.0003631 Customer Transfer
 Confidential Customer Coin Transferee #2479    [Address on File]     5/30/2023 Bitcoin                                0.00035656 Customer Transfer
 Confidential Customer Coin Transferee #2480    [Address on File]     5/17/2023 Bitcoin                                0.03587368 Customer Transfer
 Confidential Customer Coin Transferee #2481    [Address on File]     5/30/2023 Bitcoin                                0.04168884 Customer Transfer
 Confidential Customer Coin Transferee #2481    [Address on File]     5/19/2023 Bitcoin                                0.03668443 Customer Transfer
 Confidential Customer Coin Transferee #2482    [Address on File]     5/19/2023 Bitcoin                                0.03702402 Customer Transfer
 Confidential Customer Coin Transferee #2482    [Address on File]     5/17/2023 Bitcoin                                 0.0183924 Customer Transfer
 Confidential Customer Coin Transferee #2483    [Address on File]      6/1/2023 Bitcoin                                0.00241157 Customer Transfer
 Confidential Customer Coin Transferee #2484    [Address on File]     5/23/2023 Bitcoin                                0.01624571 Customer Transfer
 Confidential Customer Coin Transferee #2485    [Address on File]     5/18/2023 Bitcoin                                0.00402241 Customer Transfer
 Confidential Customer Coin Transferee #2486    [Address on File]     5/24/2023 Bitcoin                                        0.01 Customer Transfer
 Confidential Customer Coin Transferee #2487    [Address on File]     5/16/2023 Bitcoin                                0.00177172 Customer Transfer
 Confidential Customer Coin Transferee #2488    [Address on File]     5/27/2023 Bitcoin                                0.01416731 Customer Transfer
 Confidential Customer Coin Transferee #2489    [Address on File]     5/20/2023 Bitcoin                                0.04847795 Customer Transfer
 Confidential Customer Coin Transferee #2490    [Address on File]     5/23/2023 Bitcoin                                0.03933368 Customer Transfer
 Confidential Customer Coin Transferee #2490    [Address on File]     5/16/2023 Bitcoin                                0.02953568 Customer Transfer
 Confidential Customer Coin Transferee #2491    [Address on File]     6/19/2023 USD Coin                                19.116914 Customer Transfer
 Confidential Customer Coin Transferee #2492    [Address on File]     6/19/2023 Bitcoin                                0.00191142 Customer Transfer
 Confidential Customer Coin Transferee #2493    [Address on File]     5/21/2023 Bitcoin                                0.00126968 Customer Transfer
 Confidential Customer Coin Transferee #2494    [Address on File]      6/9/2023 Bitcoin                                0.00153924 Customer Transfer
 Confidential Customer Coin Transferee #2495    [Address on File]     5/25/2023 Bitcoin                                0.00184544 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2495    [Address on File]     5/18/2023 Bitcoin                             0.00172477 Customer Transfer
 Confidential Customer Coin Transferee #2496    [Address on File]     6/20/2023 Bitcoin                             0.00065884 Customer Transfer
 Confidential Customer Coin Transferee #2497    [Address on File]     5/28/2023 Bitcoin                             0.01048894 Customer Transfer
 Confidential Customer Coin Transferee #2498    [Address on File]     6/20/2023 Bitcoin                             0.00044562 Customer Transfer
 Confidential Customer Coin Transferee #2499    [Address on File]     5/24/2023 Bitcoin                              0.0904512 Customer Transfer
 Confidential Customer Coin Transferee #2500    [Address on File]     6/19/2023 Bitcoin                             0.00184911 Customer Transfer
 Confidential Customer Coin Transferee #2501    [Address on File]     5/31/2023 USDC Avalanche)                     157.331334 Customer Transfer
 Confidential Customer Coin Transferee #2501    [Address on File]     5/25/2023 USDC Avalanche)                     147.346326 Customer Transfer
 Confidential Customer Coin Transferee #2502    [Address on File]     6/20/2023 Bitcoin                             0.00064234 Customer Transfer
 Confidential Customer Coin Transferee #2503    [Address on File]     5/20/2023 Bitcoin                             0.00180419 Customer Transfer
 Confidential Customer Coin Transferee #2504    [Address on File]     5/24/2023 Bitcoin                             0.05833279 Customer Transfer
 Confidential Customer Coin Transferee #2505    [Address on File]     5/17/2023 Bitcoin                             0.00039977 Customer Transfer
 Confidential Customer Coin Transferee #2506    [Address on File]     5/30/2023 Bitcoin                             0.01126314 Customer Transfer
 Confidential Customer Coin Transferee #2507    [Address on File]     6/19/2023 Bitcoin                             0.00207857 Customer Transfer
 Confidential Customer Coin Transferee #2508    [Address on File]     6/20/2023 Bitcoin                             0.00111497 Customer Transfer
 Confidential Customer Coin Transferee #2509    [Address on File]     5/22/2023 Bitcoin                             0.01048197 Customer Transfer
 Confidential Customer Coin Transferee #2510    [Address on File]     6/20/2023 Bitcoin                             0.00433024 Customer Transfer
 Confidential Customer Coin Transferee #2511    [Address on File]     6/20/2023 Bitcoin                             0.00035656 Customer Transfer
 Confidential Customer Coin Transferee #2512    [Address on File]     6/20/2023 Bitcoin                             0.01118029 Customer Transfer
 Confidential Customer Coin Transferee #2513    [Address on File]      6/8/2023 Recover Value USD                       50.9374 Customer Transfer
 Confidential Customer Coin Transferee #2513    [Address on File]     5/26/2023 USD Coin                                  10.77 Customer Transfer
 Confidential Customer Coin Transferee #2513    [Address on File]     5/27/2023 USD Coin                                 6.4217 Customer Transfer
 Confidential Customer Coin Transferee #2514    [Address on File]     5/22/2023 Bitcoin                             0.02427487 Customer Transfer
 Confidential Customer Coin Transferee #2514    [Address on File]      6/9/2023 Bitcoin                             0.01760721 Customer Transfer
 Confidential Customer Coin Transferee #2514    [Address on File]     6/20/2023 Bitcoin                             0.01446115 Customer Transfer
 Confidential Customer Coin Transferee #2515    [Address on File]     5/26/2023 Bitcoin                             0.01286725 Customer Transfer
 Confidential Customer Coin Transferee #2515    [Address on File]     5/19/2023 Bitcoin                             0.01213815 Customer Transfer
 Confidential Customer Coin Transferee #2516    [Address on File]     6/20/2023 Bitcoin                             0.00089558 Customer Transfer
 Confidential Customer Coin Transferee #2517    [Address on File]     5/21/2023 Bitcoin                             0.00036418 Customer Transfer
 Confidential Customer Coin Transferee #2518    [Address on File]     5/22/2023 Bitcoin                             0.01046367 Customer Transfer
 Confidential Customer Coin Transferee #2519    [Address on File]     6/20/2023 Bitcoin                             0.01166073 Customer Transfer
 Confidential Customer Coin Transferee #2520    [Address on File]     5/25/2023 Bitcoin                              0.0364209 Customer Transfer
 Confidential Customer Coin Transferee #2521    [Address on File]     6/21/2023 USDC Avalanche)                     495.025917 Customer Transfer
 Confidential Customer Coin Transferee #2522    [Address on File]     5/22/2023 Bitcoin                             0.14313651 Customer Transfer
 Confidential Customer Coin Transferee #2522    [Address on File]     5/30/2023 Bitcoin                                  0.1082 Customer Transfer
 Confidential Customer Coin Transferee #2522    [Address on File]     5/30/2023 Bitcoin                             0.01057984 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2523    [Address on File]     5/20/2023 Bitcoin                             0.00317952 Customer Transfer
 Confidential Customer Coin Transferee #2524    [Address on File]     5/20/2023 Bitcoin                             0.00180446 Customer Transfer
 Confidential Customer Coin Transferee #2525    [Address on File]     5/16/2023 Bitcoin                             0.00178131 Customer Transfer
 Confidential Customer Coin Transferee #2526    [Address on File]     6/20/2023 Bitcoin                              0.0007125 Customer Transfer
 Confidential Customer Coin Transferee #2527    [Address on File]     5/26/2023 Bitcoin                             0.02032634 Customer Transfer
 Confidential Customer Coin Transferee #2527    [Address on File]     5/16/2023 Bitcoin                             0.01464752 Customer Transfer
 Confidential Customer Coin Transferee #2527    [Address on File]      6/9/2023 Bitcoin                             0.01111487 Customer Transfer
 Confidential Customer Coin Transferee #2527    [Address on File]     6/17/2023 Bitcoin                             0.00380319 Customer Transfer
 Confidential Customer Coin Transferee #2528    [Address on File]     5/23/2023 Tether USD                          294.823106 Customer Transfer
 Confidential Customer Coin Transferee #2528    [Address on File]     5/30/2023 Ether                                  0.284768 Customer Transfer
 Confidential Customer Coin Transferee #2528    [Address on File]     6/17/2023 Ether                                  0.113455 Customer Transfer
 Confidential Customer Coin Transferee #2529    [Address on File]     5/17/2023 Bitcoin                             0.01205458 Customer Transfer
 Confidential Customer Coin Transferee #2529    [Address on File]     5/25/2023 Bitcoin                             0.01186709 Customer Transfer
 Confidential Customer Coin Transferee #2529    [Address on File]     5/21/2023 Bitcoin                             0.01154022 Customer Transfer
 Confidential Customer Coin Transferee #2530    [Address on File]     5/27/2023 Bitcoin                                0.022073 Customer Transfer
 Confidential Customer Coin Transferee #2530    [Address on File]     5/20/2023 Bitcoin                             0.01840672 Customer Transfer
 Confidential Customer Coin Transferee #2531    [Address on File]     6/19/2023 Bitcoin                             0.00212008 Customer Transfer
 Confidential Customer Coin Transferee #2532    [Address on File]     5/26/2023 Bitcoin                                 0.00043 Customer Transfer
 Confidential Customer Coin Transferee #2532    [Address on File]     5/23/2023 Bitcoin                             0.00039931 Customer Transfer
 Confidential Customer Coin Transferee #2532    [Address on File]     5/26/2023 Bitcoin                              0.0003713 Customer Transfer
 Confidential Customer Coin Transferee #2532    [Address on File]     5/31/2023 Bitcoin                             0.00036683 Customer Transfer
 Confidential Customer Coin Transferee #2532    [Address on File]     5/22/2023 Bitcoin                             0.00018159 Customer Transfer
 Confidential Customer Coin Transferee #2532    [Address on File]     5/24/2023 Bitcoin                             0.00009398 Customer Transfer
 Confidential Customer Coin Transferee #2532    [Address on File]     5/20/2023 Bitcoin                             0.00009187 Customer Transfer
 Confidential Customer Coin Transferee #2533    [Address on File]     5/26/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #2533    [Address on File]     5/30/2023 Bitcoin                              0.0005545 Customer Transfer
 Confidential Customer Coin Transferee #2533    [Address on File]     5/30/2023 Bitcoin                                 0.00052 Customer Transfer
 Confidential Customer Coin Transferee #2533    [Address on File]     5/26/2023 Bitcoin                             0.00039556 Customer Transfer
 Confidential Customer Coin Transferee #2533    [Address on File]     5/26/2023 Bitcoin                             0.00037127 Customer Transfer
 Confidential Customer Coin Transferee #2533    [Address on File]     5/26/2023 Bitcoin                             0.00037097 Customer Transfer
 Confidential Customer Coin Transferee #2533    [Address on File]     5/30/2023 Bitcoin                                 0.00036 Customer Transfer
 Confidential Customer Coin Transferee #2533    [Address on File]     5/30/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #2533    [Address on File]     5/30/2023 Bitcoin                                 0.00022 Customer Transfer
 Confidential Customer Coin Transferee #2533    [Address on File]     5/30/2023 Bitcoin                                0.000214 Customer Transfer
 Confidential Customer Coin Transferee #2534    [Address on File]     5/27/2023 Bitcoin                             0.01119165 Customer Transfer
 Confidential Customer Coin Transferee #2535    [Address on File]      6/5/2023 Bitcoin                             0.00064498 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2536    [Address on File]     6/20/2023 Bitcoin                             0.00346785 Customer Transfer
 Confidential Customer Coin Transferee #2537    [Address on File]     5/25/2023 Bitcoin                             0.00379299 Customer Transfer
 Confidential Customer Coin Transferee #2537    [Address on File]     5/22/2023 Bitcoin                             0.00370894 Customer Transfer
 Confidential Customer Coin Transferee #2537    [Address on File]     5/22/2023 Bitcoin                             0.00369632 Customer Transfer
 Confidential Customer Coin Transferee #2537    [Address on File]     5/29/2023 Bitcoin                             0.00356099 Customer Transfer
 Confidential Customer Coin Transferee #2538    [Address on File]     6/19/2023 Bitcoin                             0.03074953 Customer Transfer
 Confidential Customer Coin Transferee #2539    [Address on File]     5/27/2023 Bitcoin                             0.03714604 Customer Transfer
 Confidential Customer Coin Transferee #2540    [Address on File]     5/19/2023 Bitcoin                              0.0353562 Customer Transfer
 Confidential Customer Coin Transferee #2541    [Address on File]     5/31/2023 Bitcoin                             0.11010453 Customer Transfer
 Confidential Customer Coin Transferee #2542    [Address on File]     5/22/2023 Bitcoin                              0.0074548 Customer Transfer
 Confidential Customer Coin Transferee #2542    [Address on File]     5/27/2023 Bitcoin                             0.00376119 Customer Transfer
 Confidential Customer Coin Transferee #2543    [Address on File]     5/30/2023 Bitcoin                             0.10814469 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/22/2023 Bitcoin                              0.0029601 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/16/2023 Bitcoin                             0.00146611 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/25/2023 Bitcoin                             0.00075789 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/26/2023 Bitcoin                             0.00075186 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/28/2023 Bitcoin                             0.00074525 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/24/2023 Bitcoin                             0.00074429 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/17/2023 Bitcoin                             0.00074042 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/17/2023 Bitcoin                             0.00073584 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/31/2023 Bitcoin                              0.0007349 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/28/2023 Bitcoin                             0.00073052 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/24/2023 Bitcoin                             0.00072749 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/18/2023 Bitcoin                             0.00072711 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/29/2023 Bitcoin                             0.00071334 Customer Transfer
 Confidential Customer Coin Transferee #2544    [Address on File]     5/30/2023 Bitcoin                              0.0007132 Customer Transfer
 Confidential Customer Coin Transferee #2545    [Address on File]     5/20/2023 Bitcoin                             0.00107731 Customer Transfer
 Confidential Customer Coin Transferee #2545    [Address on File]     5/18/2023 Bitcoin                             0.00088222 Customer Transfer
 Confidential Customer Coin Transferee #2546    [Address on File]     5/24/2023 Bitcoin                              0.0028395 Customer Transfer
 Confidential Customer Coin Transferee #2546    [Address on File]     5/17/2023 Bitcoin                             0.00181844 Customer Transfer
 Confidential Customer Coin Transferee #2547    [Address on File]     5/27/2023 Bitcoin                             0.03728334 Customer Transfer
 Confidential Customer Coin Transferee #2548    [Address on File]     5/31/2023 Bitcoin                                   0.265 Customer Transfer
 Confidential Customer Coin Transferee #2548    [Address on File]     5/30/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #2549    [Address on File]     5/26/2023 Bitcoin                              0.0052757 Customer Transfer
 Confidential Customer Coin Transferee #2550    [Address on File]     5/16/2023 Bitcoin                             0.00036731 Customer Transfer
 Confidential Customer Coin Transferee #2551    [Address on File]     5/25/2023 Bitcoin                             0.01103686 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2552    [Address on File]     5/25/2023 Bitcoin                             0.01022047 Customer Transfer
 Confidential Customer Coin Transferee #2553    [Address on File]     5/19/2023 Bitcoin                             0.00249301 Customer Transfer
 Confidential Customer Coin Transferee #2553    [Address on File]     5/23/2023 Bitcoin                             0.00221256 Customer Transfer
 Confidential Customer Coin Transferee #2554    [Address on File]     6/12/2023 Bitcoin                             0.00189812 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/25/2023 Bitcoin                                   0.0075 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/24/2023 Bitcoin                             0.00556716 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/30/2023 Bitcoin                             0.00538071 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/30/2023 Bitcoin                              0.0053712 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/22/2023 Bitcoin                             0.00388446 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/26/2023 Bitcoin                             0.00376197 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/20/2023 Bitcoin                             0.00369924 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/28/2023 Bitcoin                                0.003686 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/26/2023 Bitcoin                             0.00204121 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/25/2023 Bitcoin                             0.00198346 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/23/2023 Bitcoin                                 0.00184 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/28/2023 Bitcoin                              0.0018108 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/23/2023 Bitcoin                             0.00163403 Customer Transfer
 Confidential Customer Coin Transferee #2555    [Address on File]     5/29/2023 Bitcoin                             0.00141933 Customer Transfer
 Confidential Customer Coin Transferee #2556    [Address on File]     5/19/2023 Bitcoin                             0.01002892 Customer Transfer
 Confidential Customer Coin Transferee #2556    [Address on File]     5/28/2023 Bitcoin                             0.00919164 Customer Transfer
 Confidential Customer Coin Transferee #2557    [Address on File]     5/22/2023 Bitcoin                                    0.025 Customer Transfer
 Confidential Customer Coin Transferee #2558    [Address on File]     5/17/2023 Bitcoin                             0.10138568 Customer Transfer
 Confidential Customer Coin Transferee #2559    [Address on File]     5/19/2023 Bitcoin                             0.00147735 Customer Transfer
 Confidential Customer Coin Transferee #2560    [Address on File]     5/20/2023 Bitcoin                                 0.00735 Customer Transfer
 Confidential Customer Coin Transferee #2560    [Address on File]     5/28/2023 Bitcoin                                0.005862 Customer Transfer
 Confidential Customer Coin Transferee #2560    [Address on File]     5/16/2023 Bitcoin                                 0.00096 Customer Transfer
 Confidential Customer Coin Transferee #2560    [Address on File]     5/25/2023 Bitcoin                                0.000377 Customer Transfer
 Confidential Customer Coin Transferee #2561    [Address on File]     5/31/2023 Bitcoin                             0.07937356 Customer Transfer
 Confidential Customer Coin Transferee #2562    [Address on File]     5/25/2023 Bitcoin                             0.01197433 Customer Transfer
 Confidential Customer Coin Transferee #2562    [Address on File]     5/17/2023 Bitcoin                             0.01195872 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                                   0.0075 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/28/2023 Bitcoin                                    0.007 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/18/2023 Bitcoin                             0.00679751 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/18/2023 Bitcoin                                    0.006 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                                    0.006 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/18/2023 Bitcoin                                   0.0056 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                             0.00536096 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/18/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                             0.00395059 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/28/2023 Bitcoin                             0.00359523 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                              0.0035916 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                             0.00355899 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                                  0.0035 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                                  0.0035 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                                  0.0035 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                                  0.0035 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                             0.00348879 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/30/2023 Bitcoin                             0.00344457 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                             0.00342547 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/18/2023 Bitcoin                             0.00295111 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                             0.00291446 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/29/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #2563    [Address on File]     5/22/2023 Bitcoin                             0.00041053 Customer Transfer
 Confidential Customer Coin Transferee #2564    [Address on File]     5/18/2023 Bitcoin                             0.00501262 Customer Transfer
 Confidential Customer Coin Transferee #2565    [Address on File]     5/20/2023 Bitcoin                             0.00073487 Customer Transfer
 Confidential Customer Coin Transferee #2566    [Address on File]     5/19/2023 Bitcoin                             0.00200349 Customer Transfer
 Confidential Customer Coin Transferee #2566    [Address on File]     5/20/2023 Bitcoin                             0.00100892 Customer Transfer
 Confidential Customer Coin Transferee #2566    [Address on File]     5/22/2023 Bitcoin                             0.00083873 Customer Transfer
 Confidential Customer Coin Transferee #2566    [Address on File]     5/25/2023 Bitcoin                              0.0006872 Customer Transfer
 Confidential Customer Coin Transferee #2566    [Address on File]     5/25/2023 Bitcoin                             0.00050643 Customer Transfer
 Confidential Customer Coin Transferee #2567    [Address on File]     5/17/2023 Bitcoin                             0.00184792 Customer Transfer
 Confidential Customer Coin Transferee #2567    [Address on File]     5/24/2023 Bitcoin                                 0.00018 Customer Transfer
 Confidential Customer Coin Transferee #2568    [Address on File]     5/28/2023 Bitcoin                             0.02897787 Customer Transfer
 Confidential Customer Coin Transferee #2568    [Address on File]     5/21/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #2569    [Address on File]     5/23/2023 Bitcoin                             0.00106028 Customer Transfer
 Confidential Customer Coin Transferee #2569    [Address on File]     5/28/2023 Bitcoin                             0.00102366 Customer Transfer
 Confidential Customer Coin Transferee #2569    [Address on File]     5/22/2023 Bitcoin                             0.00074631 Customer Transfer
 Confidential Customer Coin Transferee #2569    [Address on File]     5/22/2023 Bitcoin                             0.00074113 Customer Transfer
 Confidential Customer Coin Transferee #2569    [Address on File]     5/22/2023 Bitcoin                             0.00069643 Customer Transfer
 Confidential Customer Coin Transferee #2569    [Address on File]     5/21/2023 Bitcoin                             0.00055965 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2569    [Address on File]     5/25/2023 Bitcoin                             0.00055188 Customer Transfer
 Confidential Customer Coin Transferee #2569    [Address on File]     5/18/2023 Bitcoin                             0.00054728 Customer Transfer
 Confidential Customer Coin Transferee #2570    [Address on File]     6/19/2023 Bitcoin                             0.00467585 Customer Transfer
 Confidential Customer Coin Transferee #2571    [Address on File]     5/31/2023 Bitcoin                             0.00011238 Customer Transfer
 Confidential Customer Coin Transferee #2572    [Address on File]     5/24/2023 Bitcoin                             1.55315534 Customer Transfer
 Confidential Customer Coin Transferee #2573    [Address on File]     6/19/2023 Bitcoin                              0.0004047 Customer Transfer
 Confidential Customer Coin Transferee #2574    [Address on File]     6/20/2023 Bitcoin                             0.00005829 Customer Transfer
 Confidential Customer Coin Transferee #2575    [Address on File]     5/21/2023 Bitcoin                             0.00591519 Customer Transfer
 Confidential Customer Coin Transferee #2576    [Address on File]     5/17/2023 Bitcoin                              0.0962646 Customer Transfer

 Confidential Customer Coin Transferee #2577    [Address on File]     5/26/2023 Bitcoin                                0.01065569 Customer Transfer
 Confidential Customer Coin Transferee #2578    [Address on File]     5/28/2023 Bitcoin                                0.01542445 Customer Transfer
 Confidential Customer Coin Transferee #2579    [Address on File]     5/21/2023 Bitcoin                                0.01837396 Customer Transfer
 Confidential Customer Coin Transferee #2579    [Address on File]     5/26/2023 Bitcoin                                 0.0182082 Customer Transfer
 Confidential Customer Coin Transferee #2580    [Address on File]     6/19/2023 Bitcoin                                0.00040971 Customer Transfer
 Confidential Customer Coin Transferee #2581    [Address on File]     5/29/2023 Bitcoin                                0.01295245 Customer Transfer
 Confidential Customer Coin Transferee #2581    [Address on File]     5/21/2023 Bitcoin                                0.01227337 Customer Transfer
 Confidential Customer Coin Transferee #2582    [Address on File]     6/19/2023 Bitcoin                                0.00006003 Customer Transfer

 Confidential Customer Coin Transferee #2583    [Address on File]      6/9/2023 Bitcoin                                0.01059886 Customer Transfer
 Confidential Customer Coin Transferee #2584    [Address on File]     6/19/2023 Bitcoin                                0.00015135 Customer Transfer
 Confidential Customer Coin Transferee #2585    [Address on File]     5/16/2023 Bitcoin                                0.01050254 Customer Transfer
 Confidential Customer Coin Transferee #2586    [Address on File]     6/19/2023 Bitcoin                                0.00039138 Customer Transfer
 Confidential Customer Coin Transferee #2587    [Address on File]     5/17/2023 Bitcoin                                0.01206055 Customer Transfer

 Confidential Customer Coin Transferee #2588    [Address on File]     5/26/2023 Bitcoin                                0.01024041 Customer Transfer

 Confidential Customer Coin Transferee #2588    [Address on File]     5/16/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #2589    [Address on File]     5/31/2023 Bitcoin                                 0.0100709 Customer Transfer
 Confidential Customer Coin Transferee #2589    [Address on File]     5/16/2023 Bitcoin                                0.00963384 Customer Transfer
 Confidential Customer Coin Transferee #2590    [Address on File]     6/19/2023 Bitcoin                                 0.0157159 Customer Transfer
 Confidential Customer Coin Transferee #2591    [Address on File]     5/25/2023 Bitcoin                                0.00256797 Customer Transfer
 Confidential Customer Coin Transferee #2591    [Address on File]     5/18/2023 Bitcoin                                0.00035446 Customer Transfer
 Confidential Customer Coin Transferee #2592    [Address on File]     5/22/2023 Bitcoin                                0.00485283 Customer Transfer
 Confidential Customer Coin Transferee #2593    [Address on File]     5/17/2023 Bitcoin                                0.01048403 Customer Transfer
 Confidential Customer Coin Transferee #2594    [Address on File]     6/19/2023 Bitcoin                                0.00067493 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2595    [Address on File]     6/20/2023 Bitcoin                             0.00005871 Customer Transfer
 Confidential Customer Coin Transferee #2596    [Address on File]     6/17/2023 Bitcoin                             0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #2597    [Address on File]     5/31/2023 Bitcoin                             0.33213624 Customer Transfer
 Confidential Customer Coin Transferee #2598    [Address on File]     5/17/2023 Bitcoin                             0.01054223 Customer Transfer
 Confidential Customer Coin Transferee #2599    [Address on File]     5/18/2023 Bitcoin                             0.00911315 Customer Transfer
 Confidential Customer Coin Transferee #2599    [Address on File]     5/25/2023 Bitcoin                             0.00910505 Customer Transfer
 Confidential Customer Coin Transferee #2600    [Address on File]     5/17/2023 Bitcoin                             0.03790464 Customer Transfer
 Confidential Customer Coin Transferee #2600    [Address on File]     5/31/2023 Bitcoin                             0.02838145 Customer Transfer
 Confidential Customer Coin Transferee #2601    [Address on File]     6/20/2023 Bitcoin                             0.00032362 Customer Transfer
 Confidential Customer Coin Transferee #2602    [Address on File]     6/20/2023 Bitcoin                             0.00028591 Customer Transfer
 Confidential Customer Coin Transferee #2603    [Address on File]     6/20/2023 Bitcoin                             0.00005799 Customer Transfer
 Confidential Customer Coin Transferee #2604    [Address on File]     5/19/2023 Bitcoin                             0.02940463 Customer Transfer
 Confidential Customer Coin Transferee #2604    [Address on File]     5/26/2023 Bitcoin                             0.00127486 Customer Transfer
 Confidential Customer Coin Transferee #2605    [Address on File]     6/12/2023 Bitcoin                             0.00348567 Customer Transfer
 Confidential Customer Coin Transferee #2605    [Address on File]     5/29/2023 Bitcoin                             0.00156076 Customer Transfer
 Confidential Customer Coin Transferee #2605    [Address on File]     5/16/2023 Bitcoin                             0.00036597 Customer Transfer
 Confidential Customer Coin Transferee #2606    [Address on File]     6/20/2023 Bitcoin                             0.00041083 Customer Transfer
 Confidential Customer Coin Transferee #2607    [Address on File]     6/19/2023 Bitcoin                             0.00296621 Customer Transfer
 Confidential Customer Coin Transferee #2608    [Address on File]      6/1/2023 Bitcoin                             0.00448033 Customer Transfer
 Confidential Customer Coin Transferee #2609    [Address on File]      6/8/2023 Bitcoin                             0.00795555 Customer Transfer
 Confidential Customer Coin Transferee #2609    [Address on File]     6/19/2023 Bitcoin                             0.00214989 Customer Transfer
 Confidential Customer Coin Transferee #2610    [Address on File]     6/21/2023 USD Coin                            2178.76644 Customer Transfer
 Confidential Customer Coin Transferee #2610    [Address on File]     6/16/2023 USD Coin                            1386.03608 Customer Transfer
 Confidential Customer Coin Transferee #2610    [Address on File]     6/16/2023 USD Coin                           1338.110424 Customer Transfer
 Confidential Customer Coin Transferee #2610    [Address on File]     6/16/2023 USD Coin                              47.78276 Customer Transfer
 Confidential Customer Coin Transferee #2610    [Address on File]     6/16/2023 USD Coin                             47.777999 Customer Transfer
 Confidential Customer Coin Transferee #2611    [Address on File]     6/20/2023 Bitcoin                              0.0004286 Customer Transfer
 Confidential Customer Coin Transferee #2612    [Address on File]     5/21/2023 Bitcoin                             0.02257175 Customer Transfer
 Confidential Customer Coin Transferee #2613    [Address on File]     5/23/2023 Bitcoin                             0.00185338 Customer Transfer
 Confidential Customer Coin Transferee #2614    [Address on File]     5/19/2023 Bitcoin                             0.05174587 Customer Transfer
 Confidential Customer Coin Transferee #2615    [Address on File]      6/8/2023 Bitcoin                             0.00494008 Customer Transfer

 Confidential Customer Coin Transferee #2616    [Address on File]      6/5/2023 Bitcoin                                0.00523469 Customer Transfer

 Confidential Customer Coin Transferee #2616    [Address on File]      6/2/2023 Bitcoin                                0.00497844 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #2616    [Address on File]     5/29/2023 Bitcoin                                    0.00475 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/22/2023 Bitcoin                                0.00245006 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/29/2023 Bitcoin                                0.00148958 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/21/2023 Bitcoin                                0.00142673 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/18/2023 Bitcoin                                0.00142397 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/17/2023 Bitcoin                                0.00103511 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/23/2023 Bitcoin                                0.00055937 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/24/2023 Bitcoin                                0.00055782 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/30/2023 Bitcoin                                0.00055773 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/27/2023 Bitcoin                                0.00055569 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/26/2023 Bitcoin                                0.00055369 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/28/2023 Bitcoin                                0.00055041 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/25/2023 Bitcoin                                0.00054526 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/21/2023 Bitcoin                                0.00054469 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/19/2023 Bitcoin                                0.00054462 Customer Transfer
 Confidential Customer Coin Transferee #2617    [Address on File]     5/16/2023 Bitcoin                                0.00050945 Customer Transfer
 Confidential Customer Coin Transferee #2618    [Address on File]     6/19/2023 Bitcoin                                 0.0001504 Customer Transfer
 Confidential Customer Coin Transferee #2619    [Address on File]      6/7/2023 Bitcoin                                0.00749618 Customer Transfer
 Confidential Customer Coin Transferee #2619    [Address on File]      6/6/2023 Bitcoin                                0.00385111 Customer Transfer
 Confidential Customer Coin Transferee #2619    [Address on File]     6/13/2023 Bitcoin                                0.00383696 Customer Transfer
 Confidential Customer Coin Transferee #2620    [Address on File]     5/18/2023 Bitcoin                                0.01090267 Customer Transfer
 Confidential Customer Coin Transferee #2620    [Address on File]     5/27/2023 Bitcoin                                0.00446298 Customer Transfer
 Confidential Customer Coin Transferee #2620    [Address on File]     5/28/2023 Bitcoin                                 0.0010604 Customer Transfer
 Confidential Customer Coin Transferee #2621    [Address on File]      6/8/2023 Bitcoin                                0.04209078 Customer Transfer
 Confidential Customer Coin Transferee #2622    [Address on File]     5/16/2023 Bitcoin                                 0.0261291 Customer Transfer
 Confidential Customer Coin Transferee #2623    [Address on File]     5/25/2023 Bitcoin                                0.03993554 Customer Transfer
 Confidential Customer Coin Transferee #2623    [Address on File]     5/19/2023 Bitcoin                                0.03825755 Customer Transfer
 Confidential Customer Coin Transferee #2624    [Address on File]     6/20/2023 Bitcoin                                 0.0005786 Customer Transfer
 Confidential Customer Coin Transferee #2625    [Address on File]     6/19/2023 Bitcoin                                0.00038408 Customer Transfer
 Confidential Customer Coin Transferee #2626    [Address on File]     5/30/2023 Bitcoin                                0.01002326 Customer Transfer

 Confidential Customer Coin Transferee #2627    [Address on File]     6/12/2023 Bitcoin                                0.74951472 Customer Transfer
 Confidential Customer Coin Transferee #2628    [Address on File]     5/27/2023 Bitcoin                                0.01025983 Customer Transfer
 Confidential Customer Coin Transferee #2629    [Address on File]     5/21/2023 Bitcoin                                 0.0069208 Customer Transfer
 Confidential Customer Coin Transferee #2629    [Address on File]     5/26/2023 Bitcoin                                0.00689196 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2629    [Address on File]     5/22/2023 Bitcoin                             0.00666422 Customer Transfer
 Confidential Customer Coin Transferee #2629    [Address on File]     5/16/2023 Bitcoin                             0.00658772 Customer Transfer
 Confidential Customer Coin Transferee #2629    [Address on File]     5/26/2023 Bitcoin                              0.0065033 Customer Transfer
 Confidential Customer Coin Transferee #2630    [Address on File]     5/16/2023 Bitcoin                             0.25108898 Customer Transfer
 Confidential Customer Coin Transferee #2631    [Address on File]     5/23/2023 Bitcoin                             0.00092596 Customer Transfer
 Confidential Customer Coin Transferee #2631    [Address on File]     5/28/2023 Bitcoin                             0.00091712 Customer Transfer
 Confidential Customer Coin Transferee #2632    [Address on File]     5/26/2023 Bitcoin                                   0.037 Customer Transfer
 Confidential Customer Coin Transferee #2632    [Address on File]     5/26/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/26/2023 Bitcoin                             0.01879358 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/25/2023 Bitcoin                             0.01133141 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/25/2023 Bitcoin                             0.01132575 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/27/2023 Bitcoin                             0.01118252 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/23/2023 Bitcoin                             0.01116897 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/27/2023 Bitcoin                              0.0111681 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/19/2023 Bitcoin                                  0.0111 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/20/2023 Bitcoin                             0.01109864 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/17/2023 Bitcoin                             0.01109283 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/20/2023 Bitcoin                             0.01109157 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/18/2023 Bitcoin                             0.01101215 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/23/2023 Bitcoin                             0.01095884 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/29/2023 Bitcoin                             0.01092908 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/16/2023 Bitcoin                             0.01091051 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/29/2023 Bitcoin                             0.01071645 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/22/2023 Bitcoin                              0.0092061 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/16/2023 Bitcoin                             0.00919281 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/24/2023 Bitcoin                              0.0073726 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/21/2023 Bitcoin                             0.00733318 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/20/2023 Bitcoin                             0.00368645 Customer Transfer
 Confidential Customer Coin Transferee #2633    [Address on File]     5/16/2023 Bitcoin                             0.00183454 Customer Transfer
 Confidential Customer Coin Transferee #2634    [Address on File]     5/20/2023 Bitcoin                             0.00627408 Customer Transfer
 Confidential Customer Coin Transferee #2634    [Address on File]     5/20/2023 Bitcoin                             0.00511107 Customer Transfer
 Confidential Customer Coin Transferee #2634    [Address on File]     5/18/2023 Bitcoin                             0.00356735 Customer Transfer
 Confidential Customer Coin Transferee #2634    [Address on File]     5/19/2023 Bitcoin                             0.00188612 Customer Transfer
 Confidential Customer Coin Transferee #2634    [Address on File]     5/24/2023 Bitcoin                             0.00105687 Customer Transfer
 Confidential Customer Coin Transferee #2634    [Address on File]     5/25/2023 Bitcoin                             0.00102508 Customer Transfer
 Confidential Customer Coin Transferee #2634    [Address on File]     5/25/2023 Bitcoin                             0.00098296 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2634    [Address on File]     5/28/2023 Bitcoin                             0.00089788 Customer Transfer
 Confidential Customer Coin Transferee #2634    [Address on File]     5/25/2023 Bitcoin                             0.00035854 Customer Transfer
 Confidential Customer Coin Transferee #2635    [Address on File]     5/27/2023 Bitcoin                             0.05890985 Customer Transfer
 Confidential Customer Coin Transferee #2635    [Address on File]     5/22/2023 Bitcoin                             0.03175089 Customer Transfer
 Confidential Customer Coin Transferee #2635    [Address on File]     5/18/2023 Bitcoin                             0.02864884 Customer Transfer
 Confidential Customer Coin Transferee #2635    [Address on File]     5/25/2023 Bitcoin                                 0.00075 Customer Transfer
 Confidential Customer Coin Transferee #2635    [Address on File]     5/25/2023 Bitcoin                                 0.00075 Customer Transfer
 Confidential Customer Coin Transferee #2636    [Address on File]     5/16/2023 Bitcoin                             0.00304638 Customer Transfer
 Confidential Customer Coin Transferee #2637    [Address on File]      6/1/2023 Bitcoin                             0.33681973 Customer Transfer
 Confidential Customer Coin Transferee #2638    [Address on File]     6/19/2023 Bitcoin                             0.00033629 Customer Transfer
 Confidential Customer Coin Transferee #2639    [Address on File]     5/22/2023 Bitcoin                              0.0019017 Customer Transfer
 Confidential Customer Coin Transferee #2639    [Address on File]     5/29/2023 Bitcoin                             0.00185762 Customer Transfer
 Confidential Customer Coin Transferee #2640    [Address on File]     5/30/2023 Bitcoin                             0.01197784 Customer Transfer
 Confidential Customer Coin Transferee #2640    [Address on File]     5/30/2023 Bitcoin                             0.01068251 Customer Transfer
 Confidential Customer Coin Transferee #2641    [Address on File]      6/1/2023 Bitcoin                             0.01776998 Customer Transfer
 Confidential Customer Coin Transferee #2641    [Address on File]     5/17/2023 Bitcoin                             0.01385187 Customer Transfer
 Confidential Customer Coin Transferee #2642    [Address on File]     6/19/2023 Bitcoin                             0.00078681 Customer Transfer
 Confidential Customer Coin Transferee #2643    [Address on File]     5/19/2023 Bitcoin                             0.01979367 Customer Transfer
 Confidential Customer Coin Transferee #2644    [Address on File]     5/22/2023 Bitcoin                             0.01076911 Customer Transfer
 Confidential Customer Coin Transferee #2644    [Address on File]     5/21/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #2644    [Address on File]     5/20/2023 Bitcoin                                    0.008 Customer Transfer
 Confidential Customer Coin Transferee #2645    [Address on File]     5/31/2023 Bitcoin                             0.01882879 Customer Transfer
 Confidential Customer Coin Transferee #2646    [Address on File]     6/20/2023 Bitcoin                             0.00443975 Customer Transfer
 Confidential Customer Coin Transferee #2647    [Address on File]      6/6/2023 Bitcoin                             0.00076953 Customer Transfer
 Confidential Customer Coin Transferee #2648    [Address on File]     6/20/2023 Bitcoin                             0.00006005 Customer Transfer
 Confidential Customer Coin Transferee #2649    [Address on File]     5/31/2023 Bitcoin                             0.00825876 Customer Transfer
 Confidential Customer Coin Transferee #2649    [Address on File]     5/23/2023 Bitcoin                             0.00745033 Customer Transfer
 Confidential Customer Coin Transferee #2649    [Address on File]     5/20/2023 Bitcoin                              0.0073379 Customer Transfer
 Confidential Customer Coin Transferee #2649    [Address on File]     5/27/2023 Bitcoin                             0.00700848 Customer Transfer
 Confidential Customer Coin Transferee #2649    [Address on File]     5/16/2023 Bitcoin                             0.00675119 Customer Transfer
 Confidential Customer Coin Transferee #2649    [Address on File]     5/29/2023 Bitcoin                             0.00664792 Customer Transfer
 Confidential Customer Coin Transferee #2649    [Address on File]     5/24/2023 Bitcoin                             0.00663535 Customer Transfer
 Confidential Customer Coin Transferee #2649    [Address on File]     5/25/2023 Bitcoin                             0.00643855 Customer Transfer
 Confidential Customer Coin Transferee #2649    [Address on File]     5/28/2023 Bitcoin                             0.00640088 Customer Transfer
 Confidential Customer Coin Transferee #2649    [Address on File]     5/30/2023 Bitcoin                             0.00637365 Customer Transfer
 Confidential Customer Coin Transferee #2649    [Address on File]     5/29/2023 Bitcoin                             0.00636177 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2650    [Address on File]     6/20/2023 Bitcoin                             0.00057901 Customer Transfer
 Confidential Customer Coin Transferee #2651    [Address on File]     5/23/2023 Bitcoin                             0.00036808 Customer Transfer
 Confidential Customer Coin Transferee #2651    [Address on File]     5/23/2023 Bitcoin                             0.00036504 Customer Transfer
 Confidential Customer Coin Transferee #2651    [Address on File]     5/23/2023 Bitcoin                                 0.00007 Customer Transfer
 Confidential Customer Coin Transferee #2652    [Address on File]     6/19/2023 Bitcoin                             0.00004349 Customer Transfer
 Confidential Customer Coin Transferee #2653    [Address on File]     6/20/2023 Bitcoin                             0.00213523 Customer Transfer
 Confidential Customer Coin Transferee #2654    [Address on File]      6/6/2023 Bitcoin                             0.00146967 Customer Transfer
 Confidential Customer Coin Transferee #2655    [Address on File]     5/26/2023 Bitcoin                              0.0183519 Customer Transfer
 Confidential Customer Coin Transferee #2656    [Address on File]     5/20/2023 Bitcoin                             0.00507057 Customer Transfer
 Confidential Customer Coin Transferee #2657    [Address on File]     6/15/2023 USDC Solana)                                500 Customer Transfer
 Confidential Customer Coin Transferee #2657    [Address on File]     5/23/2023 USDC Solana)                                200 Customer Transfer
 Confidential Customer Coin Transferee #2657    [Address on File]      6/6/2023 USDC Solana)                                 15 Customer Transfer
 Confidential Customer Coin Transferee #2658    [Address on File]     6/19/2023 Bitcoin                             0.00068081 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/26/2023 Bitcoin                             0.00751993 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/18/2023 Bitcoin                             0.00294391 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/21/2023 Bitcoin                             0.00036974 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/30/2023 Bitcoin                                0.000144 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2659    [Address on File]     5/28/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2660    [Address on File]      6/8/2023 Bitcoin                             0.00763775 Customer Transfer
 Confidential Customer Coin Transferee #2661    [Address on File]      6/1/2023 Bitcoin                             0.00185059 Customer Transfer
 Confidential Customer Coin Transferee #2662    [Address on File]      6/1/2023 Bitcoin                             0.00290419 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/23/2023 Bitcoin                             0.00245542 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/19/2023 Bitcoin                             0.00195783 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/21/2023 Bitcoin                             0.00180816 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/24/2023 Bitcoin                             0.00180103 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/23/2023 Bitcoin                             0.00176166 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/20/2023 Bitcoin                             0.00165532 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/21/2023 Bitcoin                             0.00163022 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/16/2023 Bitcoin                             0.00152079 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/19/2023 Bitcoin                             0.00143992 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/22/2023 Bitcoin                             0.00117168 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/18/2023 Bitcoin                             0.00112327 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/30/2023 Bitcoin                             0.00108979 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/27/2023 Bitcoin                             0.00093073 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/23/2023 Bitcoin                             0.00053844 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/30/2023 Bitcoin                             0.00035102 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/28/2023 Bitcoin                             0.00032376 Customer Transfer
 Confidential Customer Coin Transferee #2663    [Address on File]     5/27/2023 Bitcoin                             0.00025078 Customer Transfer
 Confidential Customer Coin Transferee #2664    [Address on File]     5/22/2023 Bitcoin                              0.0014599 Customer Transfer
 Confidential Customer Coin Transferee #2664    [Address on File]      6/8/2023 Bitcoin                             0.00145594 Customer Transfer
 Confidential Customer Coin Transferee #2665    [Address on File]      6/1/2023 Bitcoin                             0.00007395 Customer Transfer
 Confidential Customer Coin Transferee #2666    [Address on File]     5/22/2023 Bitcoin                                 0.00078 Customer Transfer
 Confidential Customer Coin Transferee #2666    [Address on File]     5/25/2023 Bitcoin                             0.00075789 Customer Transfer
 Confidential Customer Coin Transferee #2666    [Address on File]     5/17/2023 Bitcoin                                 0.00051 Customer Transfer
 Confidential Customer Coin Transferee #2666    [Address on File]     5/24/2023 Bitcoin                             0.00005007 Customer Transfer
 Confidential Customer Coin Transferee #2667    [Address on File]     5/16/2023 Bitcoin                             0.00736924 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/18/2023 Bitcoin                             0.03645407 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/18/2023 Bitcoin                             0.03240275 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/17/2023 Bitcoin                             0.01816797 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/29/2023 Bitcoin                             0.01799252 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/30/2023 Bitcoin                             0.01788808 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/26/2023 Bitcoin                             0.01278582 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/24/2023 Bitcoin                             0.00537481 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/24/2023 Bitcoin                             0.00474036 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/24/2023 Bitcoin                             0.00378989 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/25/2023 Bitcoin                             0.00378979 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/27/2023 Bitcoin                             0.00371341 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/19/2023 Bitcoin                             0.00370404 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/16/2023 Bitcoin                             0.00368632 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/28/2023 Bitcoin                             0.00366299 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/27/2023 Bitcoin                             0.00352036 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/31/2023 Bitcoin                             0.00328913 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/23/2023 Bitcoin                             0.00272965 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/16/2023 Bitcoin                             0.00256147 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/16/2023 Bitcoin                             0.00256069 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/31/2023 Bitcoin                             0.00190987 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/31/2023 Bitcoin                             0.00183701 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/17/2023 Bitcoin                             0.00182248 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/17/2023 Bitcoin                              0.0012881 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/17/2023 Bitcoin                             0.00124698 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/23/2023 Bitcoin                             0.00109839 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/17/2023 Bitcoin                             0.00096267 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/16/2023 Bitcoin                             0.00095552 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/25/2023 Bitcoin                             0.00094952 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/22/2023 Bitcoin                             0.00093253 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/18/2023 Bitcoin                             0.00093152 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/27/2023 Bitcoin                             0.00092911 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/21/2023 Bitcoin                             0.00092816 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/19/2023 Bitcoin                              0.0009281 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/19/2023 Bitcoin                             0.00092468 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/21/2023 Bitcoin                             0.00092461 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/22/2023 Bitcoin                             0.00092452 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/20/2023 Bitcoin                             0.00091881 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/28/2023 Bitcoin                             0.00091232 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/29/2023 Bitcoin                             0.00089918 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/18/2023 Bitcoin                             0.00087209 Customer Transfer
 Confidential Customer Coin Transferee #2668    [Address on File]     5/18/2023 Bitcoin                             0.00080279 Customer Transfer
 Confidential Customer Coin Transferee #2669    [Address on File]     5/16/2023 Bitcoin                             0.00036763 Customer Transfer
 Confidential Customer Coin Transferee #2669    [Address on File]     5/16/2023 Bitcoin                             0.00029393 Customer Transfer
 Confidential Customer Coin Transferee #2670    [Address on File]     5/28/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #2671    [Address on File]     5/24/2023 Bitcoin                             0.00511669 Customer Transfer
 Confidential Customer Coin Transferee #2672    [Address on File]     5/27/2023 Bitcoin                             0.01080655 Customer Transfer
 Confidential Customer Coin Transferee #2673    [Address on File]     6/14/2023 USD Coin                                   2151 Customer Transfer
 Confidential Customer Coin Transferee #2673    [Address on File]     6/14/2023 Bitcoin                             0.95189728 Customer Transfer
 Confidential Customer Coin Transferee #2673    [Address on File]     6/14/2023 Ether                                  0.761196 Customer Transfer
 Confidential Customer Coin Transferee #2674    [Address on File]     5/19/2023 Bitcoin                             0.05877019 Customer Transfer
 Confidential Customer Coin Transferee #2675    [Address on File]     6/19/2023 Bitcoin                             0.00005839 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date           Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #2676    [Address on File]     5/30/2023 Audius                                   60000 Customer Transfer

 Confidential Customer Coin Transferee #2677    [Address on File]     6/14/2023 Bitcoin                                0.18659412 Customer Transfer
 Confidential Customer Coin Transferee #2678    [Address on File]     5/24/2023 Bitcoin                                0.03144528 Customer Transfer
 Confidential Customer Coin Transferee #2678    [Address on File]     5/19/2023 Bitcoin                                0.02612865 Customer Transfer
 Confidential Customer Coin Transferee #2679    [Address on File]     5/29/2023 Bitcoin                                0.02224827 Customer Transfer
 Confidential Customer Coin Transferee #2679    [Address on File]     5/18/2023 Bitcoin                                0.01446404 Customer Transfer
 Confidential Customer Coin Transferee #2680    [Address on File]     5/27/2023 Bitcoin                                0.18580531 Customer Transfer
 Confidential Customer Coin Transferee #2680    [Address on File]     5/21/2023 Bitcoin                                     0.1619 Customer Transfer
 Confidential Customer Coin Transferee #2680    [Address on File]     5/17/2023 Bitcoin                                     0.1578 Customer Transfer
 Confidential Customer Coin Transferee #2680    [Address on File]     5/20/2023 Bitcoin                                0.06065588 Customer Transfer
 Confidential Customer Coin Transferee #2680    [Address on File]     5/26/2023 Bitcoin                                0.02289984 Customer Transfer
 Confidential Customer Coin Transferee #2681    [Address on File]     5/25/2023 Bitcoin                                0.04120411 Customer Transfer

 Confidential Customer Coin Transferee #2682    [Address on File]     5/19/2023 Bitcoin                                0.00101546 Customer Transfer

 Confidential Customer Coin Transferee #2682    [Address on File]     5/26/2023 Bitcoin                                0.00094024 Customer Transfer

 Confidential Customer Coin Transferee #2682    [Address on File]     5/20/2023 Bitcoin                                0.00091865 Customer Transfer

 Confidential Customer Coin Transferee #2682    [Address on File]     5/18/2023 Bitcoin                                 0.0000937 Customer Transfer
 Confidential Customer Coin Transferee #2683    [Address on File]     5/19/2023 Bitcoin                                      0.002 Customer Transfer
 Confidential Customer Coin Transferee #2684    [Address on File]     5/23/2023 Bitcoin                                0.00884819 Customer Transfer
 Confidential Customer Coin Transferee #2685    [Address on File]     5/28/2023 Bitcoin                                0.00036427 Customer Transfer
 Confidential Customer Coin Transferee #2685    [Address on File]     5/30/2023 Bitcoin                                0.00035844 Customer Transfer
 Confidential Customer Coin Transferee #2685    [Address on File]     5/16/2023 Bitcoin                                0.00035656 Customer Transfer
 Confidential Customer Coin Transferee #2685    [Address on File]     5/29/2023 Bitcoin                                0.00009514 Customer Transfer
 Confidential Customer Coin Transferee #2685    [Address on File]     5/20/2023 Bitcoin                                0.00008687 Customer Transfer
 Confidential Customer Coin Transferee #2685    [Address on File]     5/22/2023 Bitcoin                                0.00006843 Customer Transfer
 Confidential Customer Coin Transferee #2686    [Address on File]     5/31/2023 Bitcoin                                 0.0008007 Customer Transfer
 Confidential Customer Coin Transferee #2686    [Address on File]     5/22/2023 Bitcoin                                0.00036996 Customer Transfer
 Confidential Customer Coin Transferee #2686    [Address on File]     5/26/2023 Bitcoin                                0.00036455 Customer Transfer
 Confidential Customer Coin Transferee #2686    [Address on File]     5/27/2023 Bitcoin                                0.00033452 Customer Transfer
 Confidential Customer Coin Transferee #2686    [Address on File]     5/23/2023 Bitcoin                                0.00032897 Customer Transfer
 Confidential Customer Coin Transferee #2686    [Address on File]     5/24/2023 Bitcoin                                0.00029244 Customer Transfer
 Confidential Customer Coin Transferee #2686    [Address on File]     5/23/2023 Bitcoin                                0.00018204 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2686    [Address on File]     5/20/2023 Bitcoin                             0.00011095 Customer Transfer
 Confidential Customer Coin Transferee #2686    [Address on File]     5/20/2023 Bitcoin                             0.00003672 Customer Transfer
 Confidential Customer Coin Transferee #2687    [Address on File]     5/31/2023 Bitcoin                             0.03337218 Customer Transfer
 Confidential Customer Coin Transferee #2688    [Address on File]     6/20/2023 Bitcoin                              0.0019573 Customer Transfer
 Confidential Customer Coin Transferee #2688    [Address on File]     5/17/2023 Bitcoin                             0.00192577 Customer Transfer
 Confidential Customer Coin Transferee #2688    [Address on File]     6/12/2023 Bitcoin                             0.00058263 Customer Transfer
 Confidential Customer Coin Transferee #2689    [Address on File]     5/21/2023 Bitcoin                             0.00621031 Customer Transfer
 Confidential Customer Coin Transferee #2689    [Address on File]     5/21/2023 Bitcoin                             0.00103341 Customer Transfer
 Confidential Customer Coin Transferee #2690    [Address on File]     5/18/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #2691    [Address on File]     6/19/2023 Bitcoin                             0.04262151 Customer Transfer
 Confidential Customer Coin Transferee #2692    [Address on File]     5/31/2023 CFV                                     1156.71 Customer Transfer
 Confidential Customer Coin Transferee #2692    [Address on File]      6/8/2023 Recover Value USD                      607.3871 Customer Transfer
 Confidential Customer Coin Transferee #2692    [Address on File]      6/8/2023 USD Coin                                 76.574 Customer Transfer
 Confidential Customer Coin Transferee #2693    [Address on File]     5/29/2023 Recover Value USD                    1534.8488 Customer Transfer
 Confidential Customer Coin Transferee #2694    [Address on File]     5/29/2023 Bitcoin                             0.00035048 Customer Transfer
 Confidential Customer Coin Transferee #2695    [Address on File]     5/22/2023 Bitcoin                             0.01025211 Customer Transfer
 Confidential Customer Coin Transferee #2696    [Address on File]     5/22/2023 Bitcoin                              0.0002389 Customer Transfer
 Confidential Customer Coin Transferee #2697    [Address on File]      6/1/2023 Bitcoin                             0.00481224 Customer Transfer
 Confidential Customer Coin Transferee #2698    [Address on File]     6/20/2023 Bitcoin                             0.00005834 Customer Transfer

 Confidential Customer Coin Transferee #2699    [Address on File]     6/12/2023 Bitcoin                                    0.04375 Customer Transfer
 Confidential Customer Coin Transferee #2700    [Address on File]     6/19/2023 Bitcoin                                0.00543484 Customer Transfer
 Confidential Customer Coin Transferee #2701    [Address on File]     5/27/2023 Bitcoin                                0.00425734 Customer Transfer
 Confidential Customer Coin Transferee #2702    [Address on File]     5/24/2023 Bitcoin                                0.00901916 Customer Transfer
 Confidential Customer Coin Transferee #2702    [Address on File]     5/17/2023 Bitcoin                                0.00874252 Customer Transfer
 Confidential Customer Coin Transferee #2703    [Address on File]      6/7/2023 Bitcoin                                0.00194261 Customer Transfer
 Confidential Customer Coin Transferee #2704    [Address on File]     6/20/2023 Bitcoin                                0.01949854 Customer Transfer
 Confidential Customer Coin Transferee #2705    [Address on File]     6/19/2023 Bitcoin                                0.01067574 Customer Transfer
 Confidential Customer Coin Transferee #2706    [Address on File]     6/19/2023 Bitcoin                                0.00011592 Customer Transfer
 Confidential Customer Coin Transferee #2707    [Address on File]     6/19/2023 Bitcoin                                0.00005819 Customer Transfer

 Confidential Customer Coin Transferee #2708    [Address on File]     5/19/2023 Ether                                          87 Customer Transfer

 Confidential Customer Coin Transferee #2708    [Address on File]     5/19/2023 Ether                                          10 Customer Transfer
 Confidential Customer Coin Transferee #2709    [Address on File]     5/19/2023 Bitcoin                                0.00209108 Customer Transfer
 Confidential Customer Coin Transferee #2710    [Address on File]     5/26/2023 Bitcoin                                0.01005104 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2711    [Address on File]     5/23/2023 Bitcoin                             0.00362382 Customer Transfer
 Confidential Customer Coin Transferee #2712    [Address on File]     5/31/2023 Bitcoin                             0.02921042 Customer Transfer
 Confidential Customer Coin Transferee #2713    [Address on File]     5/19/2023 Bitcoin                             0.04274637 Customer Transfer
 Confidential Customer Coin Transferee #2714    [Address on File]     5/28/2023 Bitcoin                             0.01861625 Customer Transfer
 Confidential Customer Coin Transferee #2715    [Address on File]     6/20/2023 Bitcoin                             0.00211222 Customer Transfer

 Confidential Customer Coin Transferee #2716    [Address on File]     5/26/2023 Bitcoin                                0.00840022 Customer Transfer

 Confidential Customer Coin Transferee #2716    [Address on File]     5/18/2023 Bitcoin                                      0.002 Customer Transfer
 Confidential Customer Coin Transferee #2717    [Address on File]     5/20/2023 Bitcoin                                0.01055653 Customer Transfer
 Confidential Customer Coin Transferee #2718    [Address on File]     5/27/2023 Bitcoin                                 0.0937666 Customer Transfer
 Confidential Customer Coin Transferee #2719    [Address on File]     5/28/2023 Bitcoin                                 0.0002527 Customer Transfer
 Confidential Customer Coin Transferee #2720    [Address on File]     6/19/2023 Bitcoin                                0.00021408 Customer Transfer
 Confidential Customer Coin Transferee #2721    [Address on File]     5/26/2023 Bitcoin                                0.01262446 Customer Transfer
 Confidential Customer Coin Transferee #2721    [Address on File]      6/1/2023 Bitcoin                                 0.0037157 Customer Transfer
 Confidential Customer Coin Transferee #2722    [Address on File]     6/15/2023 Bitcoin                                0.00395642 Customer Transfer
 Confidential Customer Coin Transferee #2722    [Address on File]     5/17/2023 Bitcoin                                 0.0036545 Customer Transfer
 Confidential Customer Coin Transferee #2722    [Address on File]      6/2/2023 Bitcoin                                0.00295375 Customer Transfer
 Confidential Customer Coin Transferee #2723    [Address on File]     5/22/2023 Bitcoin                                0.03717784 Customer Transfer
 Confidential Customer Coin Transferee #2724    [Address on File]     6/19/2023 Bitcoin                                0.00037464 Customer Transfer
 Confidential Customer Coin Transferee #2725    [Address on File]     6/19/2023 Bitcoin                                0.00631489 Customer Transfer

 Confidential Customer Coin Transferee #2726    [Address on File]     5/23/2023 Ether                                  0.05146116 Customer Transfer
 Confidential Customer Coin Transferee #2727    [Address on File]      6/9/2023 Bitcoin                                0.01732517 Customer Transfer
 Confidential Customer Coin Transferee #2727    [Address on File]     6/19/2023 Bitcoin                                0.00116907 Customer Transfer
 Confidential Customer Coin Transferee #2728    [Address on File]     6/19/2023 Bitcoin                                0.00058458 Customer Transfer
 Confidential Customer Coin Transferee #2729    [Address on File]     6/19/2023 Bitcoin                                0.00017688 Customer Transfer
 Confidential Customer Coin Transferee #2730    [Address on File]     5/23/2023 Bitcoin                                0.00253985 Customer Transfer
 Confidential Customer Coin Transferee #2730    [Address on File]     5/16/2023 Bitcoin                                0.00242175 Customer Transfer
 Confidential Customer Coin Transferee #2731    [Address on File]     6/19/2023 Bitcoin                                0.00005947 Customer Transfer
 Confidential Customer Coin Transferee #2732    [Address on File]     5/24/2023 Bitcoin                                 0.0071461 Customer Transfer
 Confidential Customer Coin Transferee #2733    [Address on File]     5/23/2023 Bitcoin                                0.00074943 Customer Transfer
 Confidential Customer Coin Transferee #2734    [Address on File]     5/22/2023 Bitcoin                                0.00346377 Customer Transfer
 Confidential Customer Coin Transferee #2735    [Address on File]     5/23/2023 Bitcoin                                0.01033549 Customer Transfer

 Confidential Customer Coin Transferee #2736    [Address on File]      6/9/2023 Bitcoin                                2.31871123 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2737    [Address on File]     6/20/2023 Bitcoin                             0.00126355 Customer Transfer
 Confidential Customer Coin Transferee #2738    [Address on File]     5/16/2023 Bitcoin                             0.01032907 Customer Transfer

 Confidential Customer Coin Transferee #2739    [Address on File]     6/15/2023 Bitcoin                                   0.05875 Customer Transfer

 Confidential Customer Coin Transferee #2739    [Address on File]     6/14/2023 Bitcoin                                     0.0002 Customer Transfer
 Confidential Customer Coin Transferee #2740    [Address on File]      6/9/2023 Bitcoin                                0.05134073 Customer Transfer
 Confidential Customer Coin Transferee #2741    [Address on File]     6/19/2023 Bitcoin                                0.00014336 Customer Transfer

 Confidential Customer Coin Transferee #2742    [Address on File]     6/21/2023 Ether                                  0.01608457 Customer Transfer
 Confidential Customer Coin Transferee #2743    [Address on File]     6/14/2023 Bitcoin                                0.00391209 Customer Transfer
 Confidential Customer Coin Transferee #2744    [Address on File]     5/16/2023 Bitcoin                                0.00862335 Customer Transfer
 Confidential Customer Coin Transferee #2745    [Address on File]     6/12/2023 USDC Solana)                                   100 Customer Transfer
 Confidential Customer Coin Transferee #2746    [Address on File]     6/12/2023 Bitcoin                                0.00069343 Customer Transfer
 Confidential Customer Coin Transferee #2747    [Address on File]     5/25/2023 Bitcoin                                0.01066504 Customer Transfer
 Confidential Customer Coin Transferee #2748    [Address on File]     5/19/2023 Bitcoin                                0.03528878 Customer Transfer
 Confidential Customer Coin Transferee #2749    [Address on File]     5/24/2023 Bitcoin                                0.00037847 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/17/2023 Bitcoin                                0.00147375 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/19/2023 Bitcoin                                0.00122043 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/17/2023 Bitcoin                                0.00105592 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/20/2023 Bitcoin                                0.00096247 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/19/2023 Bitcoin                                0.00066566 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/29/2023 Bitcoin                                0.00060549 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/20/2023 Bitcoin                                0.00053972 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/19/2023 Bitcoin                                0.00052693 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/29/2023 Bitcoin                                0.00052023 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/19/2023 Bitcoin                                    0.00052 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/29/2023 Bitcoin                                0.00050535 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/26/2023 Bitcoin                                0.00038671 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/20/2023 Bitcoin                                0.00036272 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/17/2023 Bitcoin                                0.00034118 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/24/2023 Bitcoin                                0.00028441 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/17/2023 Bitcoin                                0.00027617 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/22/2023 Bitcoin                                0.00023405 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/18/2023 Bitcoin                                0.00020143 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/19/2023 Bitcoin                                0.00019358 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/25/2023 Bitcoin                             0.00018557 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/17/2023 Bitcoin                              0.0001851 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/31/2023 Bitcoin                             0.00018084 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/29/2023 Bitcoin                             0.00017747 Customer Transfer
 Confidential Customer Coin Transferee #2750    [Address on File]     5/29/2023 Bitcoin                              0.0001747 Customer Transfer
 Confidential Customer Coin Transferee #2751    [Address on File]     5/29/2023 Bitcoin                                     0.21 Customer Transfer
 Confidential Customer Coin Transferee #2752    [Address on File]     5/23/2023 Bitcoin                                  0.0007 Customer Transfer
 Confidential Customer Coin Transferee #2753    [Address on File]     6/20/2023 Bitcoin                             0.00164082 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/19/2023 Bitcoin                             0.00288556 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/30/2023 Bitcoin                              0.0026163 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/18/2023 Bitcoin                             0.00256972 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/18/2023 Bitcoin                             0.00238592 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/20/2023 Bitcoin                             0.00222021 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/18/2023 Bitcoin                              0.0021847 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/18/2023 Bitcoin                             0.00181847 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/18/2023 Bitcoin                             0.00181664 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/19/2023 Bitcoin                              0.0018126 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/18/2023 Bitcoin                             0.00174782 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/19/2023 Bitcoin                             0.00170292 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/28/2023 Bitcoin                             0.00164441 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/30/2023 Bitcoin                             0.00160878 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/23/2023 Bitcoin                             0.00153371 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/26/2023 Bitcoin                             0.00150481 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/23/2023 Bitcoin                             0.00145807 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]      6/1/2023 Bitcoin                              0.0014066 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/31/2023 Bitcoin                             0.00139384 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/22/2023 Bitcoin                             0.00126274 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/23/2023 Bitcoin                              0.0012052 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]      6/2/2023 Bitcoin                             0.00110104 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/28/2023 Bitcoin                             0.00109884 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/21/2023 Bitcoin                             0.00099172 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/19/2023 Bitcoin                             0.00092593 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/31/2023 Bitcoin                             0.00082388 Customer Transfer
 Confidential Customer Coin Transferee #2754    [Address on File]     5/26/2023 Bitcoin                             0.00081793 Customer Transfer
 Confidential Customer Coin Transferee #2755    [Address on File]     5/22/2023 Bitcoin                             0.00136364 Customer Transfer
 Confidential Customer Coin Transferee #2756    [Address on File]     5/22/2023 Bitcoin                             0.03431724 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2757    [Address on File]     5/18/2023 Bitcoin                              0.0145993 Customer Transfer
 Confidential Customer Coin Transferee #2758    [Address on File]     5/22/2023 Bitcoin                             0.00036974 Customer Transfer
 Confidential Customer Coin Transferee #2759    [Address on File]     5/16/2023 Bitcoin                              0.0139398 Customer Transfer
 Confidential Customer Coin Transferee #2760    [Address on File]     5/21/2023 Bitcoin                             0.04194559 Customer Transfer
 Confidential Customer Coin Transferee #2760    [Address on File]     5/25/2023 Bitcoin                             0.00769802 Customer Transfer
 Confidential Customer Coin Transferee #2761    [Address on File]     6/20/2023 Bitcoin                             0.00058559 Customer Transfer
 Confidential Customer Coin Transferee #2762    [Address on File]     6/19/2023 Bitcoin                              0.0000436 Customer Transfer
 Confidential Customer Coin Transferee #2763    [Address on File]     5/18/2023 Bitcoin                             0.01047957 Customer Transfer
 Confidential Customer Coin Transferee #2764    [Address on File]     5/23/2023 Bitcoin                             0.00608035 Customer Transfer
 Confidential Customer Coin Transferee #2764    [Address on File]     5/22/2023 Bitcoin                             0.00446991 Customer Transfer
 Confidential Customer Coin Transferee #2764    [Address on File]     5/24/2023 Bitcoin                             0.00187944 Customer Transfer
 Confidential Customer Coin Transferee #2765    [Address on File]     5/31/2023 Bitcoin                             0.00172411 Customer Transfer
 Confidential Customer Coin Transferee #2765    [Address on File]     5/31/2023 Bitcoin                             0.00172411 Customer Transfer
 Confidential Customer Coin Transferee #2765    [Address on File]     5/20/2023 Bitcoin                             0.00054072 Customer Transfer
 Confidential Customer Coin Transferee #2765    [Address on File]     5/31/2023 Bitcoin                             0.00022026 Customer Transfer
 Confidential Customer Coin Transferee #2766    [Address on File]     5/26/2023 Bitcoin                             0.00259788 Customer Transfer
 Confidential Customer Coin Transferee #2766    [Address on File]     5/21/2023 Bitcoin                             0.00258804 Customer Transfer
 Confidential Customer Coin Transferee #2766    [Address on File]     5/19/2023 Bitcoin                             0.00258339 Customer Transfer
 Confidential Customer Coin Transferee #2766    [Address on File]     5/17/2023 Bitcoin                             0.00110092 Customer Transfer
 Confidential Customer Coin Transferee #2767    [Address on File]     5/20/2023 Bitcoin                             0.05668647 Customer Transfer
 Confidential Customer Coin Transferee #2767    [Address on File]     5/27/2023 Bitcoin                              0.0516523 Customer Transfer
 Confidential Customer Coin Transferee #2768    [Address on File]     5/25/2023 Bitcoin                             0.00193252 Customer Transfer
 Confidential Customer Coin Transferee #2768    [Address on File]     5/30/2023 Bitcoin                              0.0017833 Customer Transfer
 Confidential Customer Coin Transferee #2768    [Address on File]     5/21/2023 Bitcoin                             0.00037131 Customer Transfer
 Confidential Customer Coin Transferee #2769    [Address on File]     5/17/2023 Bitcoin                              0.0037133 Customer Transfer
 Confidential Customer Coin Transferee #2770    [Address on File]     6/20/2023 Bitcoin                              0.0016834 Customer Transfer
 Confidential Customer Coin Transferee #2771    [Address on File]      6/1/2023 Bitcoin                             0.00054179 Customer Transfer
 Confidential Customer Coin Transferee #2771    [Address on File]      6/1/2023 Bitcoin                             0.00011436 Customer Transfer
 Confidential Customer Coin Transferee #2772    [Address on File]     5/23/2023 Bitcoin                             0.00092111 Customer Transfer
 Confidential Customer Coin Transferee #2772    [Address on File]     5/26/2023 Bitcoin                             0.00056335 Customer Transfer
 Confidential Customer Coin Transferee #2772    [Address on File]     5/18/2023 Bitcoin                             0.00055008 Customer Transfer
 Confidential Customer Coin Transferee #2772    [Address on File]     5/29/2023 Bitcoin                             0.00054706 Customer Transfer
 Confidential Customer Coin Transferee #2773    [Address on File]     5/31/2023 Bitcoin                             0.01249359 Customer Transfer
 Confidential Customer Coin Transferee #2774    [Address on File]     5/27/2023 Bitcoin                             0.01008682 Customer Transfer
 Confidential Customer Coin Transferee #2775    [Address on File]     5/16/2023 Bitcoin                             0.01064539 Customer Transfer
 Confidential Customer Coin Transferee #2776    [Address on File]     6/20/2023 Bitcoin                              0.0016583 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2777    [Address on File]     6/20/2023 Bitcoin                              0.0074893 Customer Transfer
 Confidential Customer Coin Transferee #2778    [Address on File]     5/26/2023 Bitcoin                             0.07046372 Customer Transfer
 Confidential Customer Coin Transferee #2779    [Address on File]     6/19/2023 Bitcoin                             0.01691812 Customer Transfer
 Confidential Customer Coin Transferee #2780    [Address on File]     5/25/2023 Bitcoin                             0.07770968 Customer Transfer
 Confidential Customer Coin Transferee #2781    [Address on File]     5/18/2023 Bitcoin                             0.00368028 Customer Transfer
 Confidential Customer Coin Transferee #2781    [Address on File]     5/21/2023 Bitcoin                             0.00295881 Customer Transfer
 Confidential Customer Coin Transferee #2781    [Address on File]     5/19/2023 Bitcoin                             0.00277342 Customer Transfer
 Confidential Customer Coin Transferee #2781    [Address on File]     5/18/2023 Bitcoin                             0.00275708 Customer Transfer
 Confidential Customer Coin Transferee #2781    [Address on File]     5/22/2023 Bitcoin                             0.00240143 Customer Transfer
 Confidential Customer Coin Transferee #2781    [Address on File]     5/27/2023 Bitcoin                             0.00223253 Customer Transfer
 Confidential Customer Coin Transferee #2781    [Address on File]     5/26/2023 Bitcoin                             0.00222963 Customer Transfer
 Confidential Customer Coin Transferee #2781    [Address on File]     5/27/2023 Bitcoin                             0.00186265 Customer Transfer
 Confidential Customer Coin Transferee #2781    [Address on File]     5/26/2023 Bitcoin                             0.00185528 Customer Transfer
 Confidential Customer Coin Transferee #2781    [Address on File]     5/22/2023 Bitcoin                             0.00125572 Customer Transfer
 Confidential Customer Coin Transferee #2781    [Address on File]     5/17/2023 Bitcoin                              0.0007318 Customer Transfer
 Confidential Customer Coin Transferee #2782    [Address on File]     6/20/2023 Bitcoin                              0.0017595 Customer Transfer
 Confidential Customer Coin Transferee #2783    [Address on File]     5/29/2023 Bitcoin                             0.00225566 Customer Transfer
 Confidential Customer Coin Transferee #2783    [Address on File]     5/30/2023 Bitcoin                              0.0001073 Customer Transfer
 Confidential Customer Coin Transferee #2784    [Address on File]     5/24/2023 Bitcoin                              0.0024808 Customer Transfer
 Confidential Customer Coin Transferee #2784    [Address on File]     5/24/2023 Bitcoin                             0.00243814 Customer Transfer
 Confidential Customer Coin Transferee #2784    [Address on File]     5/25/2023 Bitcoin                             0.00195546 Customer Transfer
 Confidential Customer Coin Transferee #2784    [Address on File]     5/25/2023 Bitcoin                             0.00168634 Customer Transfer
 Confidential Customer Coin Transferee #2784    [Address on File]     5/24/2023 Bitcoin                             0.00165121 Customer Transfer
 Confidential Customer Coin Transferee #2784    [Address on File]     5/25/2023 Bitcoin                             0.00164084 Customer Transfer
 Confidential Customer Coin Transferee #2784    [Address on File]     5/23/2023 Bitcoin                             0.00145305 Customer Transfer
 Confidential Customer Coin Transferee #2784    [Address on File]     5/23/2023 Bitcoin                             0.00137353 Customer Transfer
 Confidential Customer Coin Transferee #2784    [Address on File]     5/24/2023 Bitcoin                             0.00136536 Customer Transfer
 Confidential Customer Coin Transferee #2784    [Address on File]     5/24/2023 Bitcoin                             0.00123709 Customer Transfer
 Confidential Customer Coin Transferee #2785    [Address on File]     5/21/2023 Bitcoin                             0.00070952 Customer Transfer
 Confidential Customer Coin Transferee #2786    [Address on File]     5/29/2023 Bitcoin                             0.00106488 Customer Transfer
 Confidential Customer Coin Transferee #2787    [Address on File]     5/17/2023 Bitcoin                             0.01121774 Customer Transfer
 Confidential Customer Coin Transferee #2788    [Address on File]     6/19/2023 Bitcoin                             0.00014765 Customer Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/26/2023 Bitcoin                                0.000162 Customer Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/25/2023 Bitcoin                             0.00014889 Customer Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/26/2023 Bitcoin                             0.00013201 Customer Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/25/2023 Bitcoin                             0.00012064 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/25/2023 Bitcoin                             0.00011005 Customer Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/23/2023 Bitcoin                             0.00007383 Customer Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/25/2023 Bitcoin                                0.000048 Customer Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/26/2023 Bitcoin                                0.000044 Customer Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/25/2023 Bitcoin                             0.00002409 Customer Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/26/2023 Bitcoin                             0.00002127 Customer Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/26/2023 Bitcoin                             0.00002008 Customer Transfer
 Confidential Customer Coin Transferee #2789    [Address on File]     5/23/2023 Bitcoin                             0.00001415 Customer Transfer
 Confidential Customer Coin Transferee #2790    [Address on File]     5/29/2023 Bitcoin                              0.0019132 Customer Transfer
 Confidential Customer Coin Transferee #2791    [Address on File]     6/19/2023 Bitcoin                              0.0002977 Customer Transfer
 Confidential Customer Coin Transferee #2792    [Address on File]     6/20/2023 Bitcoin                              0.0037807 Customer Transfer
 Confidential Customer Coin Transferee #2793    [Address on File]     5/23/2023 Bitcoin                                0.005438 Customer Transfer
 Confidential Customer Coin Transferee #2794    [Address on File]     5/27/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #2794    [Address on File]     5/28/2023 Bitcoin                             0.11511711 Customer Transfer
 Confidential Customer Coin Transferee #2795    [Address on File]     5/20/2023 Bitcoin                             0.05174306 Customer Transfer
 Confidential Customer Coin Transferee #2796    [Address on File]     5/23/2023 Bitcoin                             0.01407603 Customer Transfer
 Confidential Customer Coin Transferee #2797    [Address on File]     5/26/2023 Bitcoin                             0.00565089 Customer Transfer
 Confidential Customer Coin Transferee #2797    [Address on File]     5/28/2023 Bitcoin                             0.00073345 Customer Transfer
 Confidential Customer Coin Transferee #2798    [Address on File]     5/31/2023 Bitcoin                             0.00756527 Customer Transfer
 Confidential Customer Coin Transferee #2799    [Address on File]     5/27/2023 Bitcoin                             0.00085485 Customer Transfer
 Confidential Customer Coin Transferee #2800    [Address on File]     5/22/2023 Bitcoin                             0.00074004 Customer Transfer
 Confidential Customer Coin Transferee #2800    [Address on File]     5/20/2023 Bitcoin                             0.00033301 Customer Transfer
 Confidential Customer Coin Transferee #2801    [Address on File]     5/25/2023 Bitcoin                             0.00187861 Customer Transfer
 Confidential Customer Coin Transferee #2802    [Address on File]     6/19/2023 Bitcoin                             0.00116198 Customer Transfer
 Confidential Customer Coin Transferee #2803    [Address on File]     5/23/2023 Bitcoin                             0.02938079 Customer Transfer
 Confidential Customer Coin Transferee #2804    [Address on File]      6/6/2023 Bitcoin                             0.08202359 Customer Transfer
 Confidential Customer Coin Transferee #2804    [Address on File]     6/20/2023 Bitcoin                             0.02816395 Customer Transfer
 Confidential Customer Coin Transferee #2804    [Address on File]     6/12/2023 Bitcoin                             0.01153119 Customer Transfer
 Confidential Customer Coin Transferee #2804    [Address on File]     6/12/2023 Bitcoin                             0.01037972 Customer Transfer
 Confidential Customer Coin Transferee #2805    [Address on File]     5/28/2023 Bitcoin                              0.0003725 Customer Transfer
 Confidential Customer Coin Transferee #2806    [Address on File]     6/20/2023 Bitcoin                             0.00011753 Customer Transfer
 Confidential Customer Coin Transferee #2807    [Address on File]     5/31/2023 Bitcoin                             0.10066493 Customer Transfer
 Confidential Customer Coin Transferee #2808    [Address on File]      6/1/2023 Bitcoin                             0.01075247 Customer Transfer
 Confidential Customer Coin Transferee #2809    [Address on File]     5/26/2023 Bitcoin                             0.00742326 Customer Transfer
 Confidential Customer Coin Transferee #2810    [Address on File]     5/19/2023 Bitcoin                             0.02838598 Customer Transfer
 Confidential Customer Coin Transferee #2811    [Address on File]     5/28/2023 Bitcoin                             0.02215821 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2812    [Address on File]     5/20/2023 Bitcoin                             0.01131784 Customer Transfer
 Confidential Customer Coin Transferee #2812    [Address on File]     5/27/2023 Bitcoin                             0.01118613 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/29/2023 Bitcoin                             0.01114693 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/19/2023 Bitcoin                             0.00279482 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/22/2023 Bitcoin                             0.00277819 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/27/2023 Bitcoin                             0.00188394 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/17/2023 Bitcoin                             0.00093284 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/27/2023 Bitcoin                              0.0009309 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/24/2023 Bitcoin                             0.00093009 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/16/2023 Bitcoin                             0.00091861 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/28/2023 Bitcoin                             0.00091494 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/23/2023 Bitcoin                             0.00090974 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/18/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/29/2023 Bitcoin                              0.0008903 Customer Transfer
 Confidential Customer Coin Transferee #2813    [Address on File]     5/30/2023 Bitcoin                             0.00088712 Customer Transfer
 Confidential Customer Coin Transferee #2814    [Address on File]     5/16/2023 Bitcoin                             0.02047998 Customer Transfer
 Confidential Customer Coin Transferee #2815    [Address on File]     5/31/2023 Bitcoin                             0.02844595 Customer Transfer
 Confidential Customer Coin Transferee #2816    [Address on File]     5/27/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #2816    [Address on File]     5/28/2023 Bitcoin                                    0.168 Customer Transfer
 Confidential Customer Coin Transferee #2816    [Address on File]     5/19/2023 Bitcoin                             0.11094595 Customer Transfer
 Confidential Customer Coin Transferee #2816    [Address on File]     5/27/2023 Bitcoin                             0.00289033 Customer Transfer
 Confidential Customer Coin Transferee #2816    [Address on File]     5/28/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #2816    [Address on File]     5/27/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #2817    [Address on File]     5/26/2023 Bitcoin                                0.011315 Customer Transfer
 Confidential Customer Coin Transferee #2818    [Address on File]     6/20/2023 Bitcoin                             0.00579182 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/25/2023 Bitcoin                             0.00188727 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/25/2023 Bitcoin                             0.00109995 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/30/2023 Bitcoin                             0.00104159 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/23/2023 Bitcoin                             0.00102306 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/25/2023 Bitcoin                             0.00091612 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/25/2023 Bitcoin                             0.00090713 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/30/2023 Bitcoin                             0.00083575 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/19/2023 Bitcoin                             0.00082306 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/26/2023 Bitcoin                             0.00080215 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/27/2023 Bitcoin                             0.00072548 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/22/2023 Bitcoin                             0.00071583 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/19/2023 Bitcoin                             0.00071526 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/26/2023 Bitcoin                             0.00071458 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/30/2023 Bitcoin                             0.00069318 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/25/2023 Bitcoin                             0.00067685 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/31/2023 Bitcoin                             0.00066053 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/26/2023 Bitcoin                             0.00064597 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/27/2023 Bitcoin                             0.00057704 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/19/2023 Bitcoin                             0.00036072 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/30/2023 Bitcoin                             0.00034921 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/20/2023 Bitcoin                             0.00032208 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/24/2023 Bitcoin                             0.00031523 Customer Transfer
 Confidential Customer Coin Transferee #2819    [Address on File]     5/30/2023 Bitcoin                             0.00017014 Customer Transfer
 Confidential Customer Coin Transferee #2820    [Address on File]     5/16/2023 Bitcoin                             0.01736236 Customer Transfer
 Confidential Customer Coin Transferee #2821    [Address on File]     5/31/2023 Bitcoin                              0.0072818 Customer Transfer
 Confidential Customer Coin Transferee #2821    [Address on File]     5/17/2023 Bitcoin                             0.00373512 Customer Transfer
 Confidential Customer Coin Transferee #2821    [Address on File]     5/24/2023 Bitcoin                             0.00371169 Customer Transfer
 Confidential Customer Coin Transferee #2822    [Address on File]     5/25/2023 Bitcoin                             0.00538704 Customer Transfer
 Confidential Customer Coin Transferee #2822    [Address on File]     5/26/2023 Bitcoin                             0.00218509 Customer Transfer
 Confidential Customer Coin Transferee #2823    [Address on File]     5/24/2023 Bitcoin                             0.00942887 Customer Transfer
 Confidential Customer Coin Transferee #2824    [Address on File]     5/24/2023 Bitcoin                                0.002761 Customer Transfer
 Confidential Customer Coin Transferee #2824    [Address on File]     5/30/2023 Bitcoin                                 0.00271 Customer Transfer
 Confidential Customer Coin Transferee #2824    [Address on File]     5/16/2023 Bitcoin                             0.00237585 Customer Transfer
 Confidential Customer Coin Transferee #2825    [Address on File]     5/17/2023 Bitcoin                                 0.01857 Customer Transfer
 Confidential Customer Coin Transferee #2825    [Address on File]     5/23/2023 Bitcoin                                   0.0184 Customer Transfer
 Confidential Customer Coin Transferee #2826    [Address on File]     5/18/2023 Bitcoin                             0.00871901 Customer Transfer
 Confidential Customer Coin Transferee #2827    [Address on File]     5/24/2023 Bitcoin                                    0.038 Customer Transfer
 Confidential Customer Coin Transferee #2828    [Address on File]     5/19/2023 Bitcoin                             0.01215666 Customer Transfer
 Confidential Customer Coin Transferee #2829    [Address on File]     5/22/2023 Bitcoin                             0.13021038 Customer Transfer
 Confidential Customer Coin Transferee #2830    [Address on File]     5/26/2023 Bitcoin                             0.01998867 Customer Transfer
 Confidential Customer Coin Transferee #2831    [Address on File]     5/24/2023 Bitcoin                             0.01461141 Customer Transfer
 Confidential Customer Coin Transferee #2831    [Address on File]     5/19/2023 Bitcoin                             0.00370526 Customer Transfer
 Confidential Customer Coin Transferee #2832    [Address on File]     6/20/2023 Bitcoin                              0.0004737 Customer Transfer
 Confidential Customer Coin Transferee #2833    [Address on File]     5/22/2023 Bitcoin                             0.00480772 Customer Transfer
 Confidential Customer Coin Transferee #2834    [Address on File]     5/19/2023 Bitcoin                             0.00409196 Customer Transfer
 Confidential Customer Coin Transferee #2834    [Address on File]     5/20/2023 Bitcoin                                 0.00202 Customer Transfer
 Confidential Customer Coin Transferee #2835    [Address on File]     5/23/2023 Bitcoin                                0.009137 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2835    [Address on File]     5/23/2023 Bitcoin                                0.001824 Customer Transfer
 Confidential Customer Coin Transferee #2836    [Address on File]     5/27/2023 Bitcoin                             0.00200921 Customer Transfer
 Confidential Customer Coin Transferee #2836    [Address on File]     5/21/2023 Bitcoin                             0.00198942 Customer Transfer
 Confidential Customer Coin Transferee #2837    [Address on File]     5/21/2023 Bitcoin                             0.19123348 Customer Transfer
 Confidential Customer Coin Transferee #2838    [Address on File]     5/19/2023 Bitcoin                              0.0007413 Customer Transfer
 Confidential Customer Coin Transferee #2839    [Address on File]     5/19/2023 Bitcoin                             0.01444866 Customer Transfer
 Confidential Customer Coin Transferee #2839    [Address on File]     5/26/2023 Bitcoin                             0.00022286 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/16/2023 Bitcoin                             0.00056198 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/20/2023 Bitcoin                             0.00053671 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/31/2023 Bitcoin                             0.00036818 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/17/2023 Bitcoin                             0.00036392 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/18/2023 Bitcoin                             0.00035218 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/27/2023 Bitcoin                             0.00018629 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/21/2023 Bitcoin                             0.00018517 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/26/2023 Bitcoin                             0.00017799 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/23/2023 Bitcoin                             0.00017554 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/21/2023 Bitcoin                             0.00013588 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/26/2023 Bitcoin                             0.00008734 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/27/2023 Bitcoin                             0.00008011 Customer Transfer
 Confidential Customer Coin Transferee #2840    [Address on File]     5/24/2023 Bitcoin                              0.0000757 Customer Transfer
 Confidential Customer Coin Transferee #2841    [Address on File]     5/28/2023 Bitcoin                             0.00272625 Customer Transfer
 Confidential Customer Coin Transferee #2841    [Address on File]     5/28/2023 Bitcoin                             0.00093028 Customer Transfer
 Confidential Customer Coin Transferee #2842    [Address on File]     5/22/2023 Bitcoin                              0.0003622 Customer Transfer
 Confidential Customer Coin Transferee #2843    [Address on File]     5/23/2023 Bitcoin                             0.00184492 Customer Transfer
 Confidential Customer Coin Transferee #2844    [Address on File]     5/27/2023 Bitcoin                             0.00185745 Customer Transfer
 Confidential Customer Coin Transferee #2844    [Address on File]     5/18/2023 Bitcoin                             0.00181808 Customer Transfer
 Confidential Customer Coin Transferee #2844    [Address on File]     5/21/2023 Bitcoin                             0.00110686 Customer Transfer
 Confidential Customer Coin Transferee #2844    [Address on File]     5/21/2023 Bitcoin                              0.0003698 Customer Transfer
 Confidential Customer Coin Transferee #2845    [Address on File]     5/17/2023 Bitcoin                             0.01052732 Customer Transfer
 Confidential Customer Coin Transferee #2846    [Address on File]     5/17/2023 Bitcoin                              0.0462141 Customer Transfer
 Confidential Customer Coin Transferee #2846    [Address on File]     5/26/2023 Bitcoin                             0.03156961 Customer Transfer
 Confidential Customer Coin Transferee #2846    [Address on File]     5/26/2023 Bitcoin                                 0.00745 Customer Transfer
 Confidential Customer Coin Transferee #2847    [Address on File]     6/20/2023 Bitcoin                             0.00123035 Customer Transfer
 Confidential Customer Coin Transferee #2848    [Address on File]     5/26/2023 Bitcoin                             0.01122658 Customer Transfer
 Confidential Customer Coin Transferee #2849    [Address on File]     5/24/2023 Bitcoin                              0.0007224 Customer Transfer
 Confidential Customer Coin Transferee #2849    [Address on File]     5/18/2023 Bitcoin                             0.00018233 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #2850    [Address on File]     5/16/2023 Bitcoin                             0.02741337 Customer Transfer
 Confidential Customer Coin Transferee #2850    [Address on File]     5/26/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #2850    [Address on File]     5/22/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #2850    [Address on File]     5/22/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #2850    [Address on File]     5/22/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #2850    [Address on File]     5/22/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #2851    [Address on File]     6/19/2023 Bitcoin                             0.00128693 Customer Transfer
 Confidential Customer Coin Transferee #2852    [Address on File]     5/19/2023 Bitcoin                             0.00511515 Customer Transfer
 Confidential Customer Coin Transferee #2853    [Address on File]     5/23/2023 Bitcoin                             0.00589267 Customer Transfer
 Confidential Customer Coin Transferee #2853    [Address on File]     5/28/2023 Bitcoin                             0.00368409 Customer Transfer
 Confidential Customer Coin Transferee #2854    [Address on File]     6/20/2023 Bitcoin                              0.0338157 Customer Transfer
 Confidential Customer Coin Transferee #2855    [Address on File]     5/26/2023 Bitcoin                             0.00753158 Customer Transfer
 Confidential Customer Coin Transferee #2855    [Address on File]     5/16/2023 Bitcoin                              0.0036742 Customer Transfer
 Confidential Customer Coin Transferee #2855    [Address on File]     5/23/2023 Bitcoin                             0.00364396 Customer Transfer
 Confidential Customer Coin Transferee #2855    [Address on File]     5/30/2023 Bitcoin                             0.00356403 Customer Transfer
 Confidential Customer Coin Transferee #2856    [Address on File]     5/22/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #2856    [Address on File]     5/22/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #2857    [Address on File]     5/24/2023 Bitcoin                             0.00717072 Customer Transfer
 Confidential Customer Coin Transferee #2858    [Address on File]     5/20/2023 Bitcoin                             0.00016649 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/25/2023 Bitcoin                             0.00175539 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/27/2023 Bitcoin                             0.00160988 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/31/2023 Bitcoin                             0.00101889 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/30/2023 Bitcoin                             0.00100264 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/20/2023 Bitcoin                                0.000972 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/28/2023 Bitcoin                              0.0009576 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/19/2023 Bitcoin                             0.00092427 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/17/2023 Bitcoin                             0.00092212 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/23/2023 Bitcoin                             0.00091751 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/16/2023 Bitcoin                             0.00091307 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/22/2023 Bitcoin                             0.00085308 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/18/2023 Bitcoin                             0.00080185 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/29/2023 Bitcoin                             0.00078517 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/21/2023 Bitcoin                             0.00069798 Customer Transfer
 Confidential Customer Coin Transferee #2859    [Address on File]     5/20/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #2860    [Address on File]     6/19/2023 Bitcoin                             0.00005799 Customer Transfer
 Confidential Customer Coin Transferee #2861    [Address on File]     5/17/2023 Bitcoin                             0.00064677 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #2861    [Address on File]     5/17/2023 Bitcoin                             0.00036978 Customer Transfer
 Confidential Customer Coin Transferee #2862    [Address on File]     5/29/2023 Bitcoin                                   0.0156 Customer Transfer
 Confidential Customer Coin Transferee #2862    [Address on File]     5/21/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #2863    [Address on File]     6/20/2023 Bitcoin                             0.00006228 Customer Transfer
 Confidential Customer Coin Transferee #2864    [Address on File]     5/20/2023 Bitcoin                             0.00085179 Customer Transfer
 Confidential Customer Coin Transferee #2865    [Address on File]     5/19/2023 Bitcoin                                0.007337 Customer Transfer
 Confidential Customer Coin Transferee #2865    [Address on File]     5/19/2023 Bitcoin                             0.00099567 Customer Transfer
 Confidential Customer Coin Transferee #2865    [Address on File]     5/22/2023 Bitcoin                             0.00051645 Customer Transfer
 Confidential Customer Coin Transferee #2866    [Address on File]     5/22/2023 Bitcoin                             0.00110787 Customer Transfer
 Confidential Customer Coin Transferee #2867    [Address on File]     5/18/2023 Bitcoin                             0.02143909 Customer Transfer
 Confidential Customer Coin Transferee #2867    [Address on File]     5/24/2023 Bitcoin                             0.01122157 Customer Transfer
 Confidential Customer Coin Transferee #2867    [Address on File]     5/21/2023 Bitcoin                             0.00923683 Customer Transfer
 Confidential Customer Coin Transferee #2867    [Address on File]     5/18/2023 Bitcoin                             0.00372811 Customer Transfer
 Confidential Customer Coin Transferee #2868    [Address on File]     5/24/2023 Bitcoin                             0.01219741 Customer Transfer
 Confidential Customer Coin Transferee #2869    [Address on File]     5/22/2023 Bitcoin                             0.01336224 Customer Transfer
 Confidential Customer Coin Transferee #2870    [Address on File]     5/21/2023 Bitcoin                              0.0102048 Customer Transfer
 Confidential Customer Coin Transferee #2871    [Address on File]     6/21/2023 USDC Solana)                       2984.246711 Customer Transfer
 Confidential Customer Coin Transferee #2871    [Address on File]     5/24/2023 USDC Solana)                        996.780643 Customer Transfer
 Confidential Customer Coin Transferee #2871    [Address on File]     6/15/2023 USDC Solana)                        996.581367 Customer Transfer
 Confidential Customer Coin Transferee #2871    [Address on File]     5/17/2023 USDC Solana)                        499.280287 Customer Transfer
 Confidential Customer Coin Transferee #2871    [Address on File]     5/18/2023 USDC Solana)                        499.180491 Customer Transfer
 Confidential Customer Coin Transferee #2871    [Address on File]     5/24/2023 USDC Solana)                        497.380523 Customer Transfer
 Confidential Customer Coin Transferee #2871    [Address on File]     5/22/2023 USDC Solana)                        497.281087 Customer Transfer
 Confidential Customer Coin Transferee #2872    [Address on File]     5/26/2023 Bitcoin                             0.00250824 Customer Transfer
 Confidential Customer Coin Transferee #2873    [Address on File]     5/25/2023 Bitcoin                              0.0018201 Customer Transfer
 Confidential Customer Coin Transferee #2873    [Address on File]     5/17/2023 Bitcoin                             0.00171685 Customer Transfer
 Confidential Customer Coin Transferee #2874    [Address on File]     5/16/2023 Bitcoin                                0.011535 Customer Transfer
 Confidential Customer Coin Transferee #2875    [Address on File]     5/31/2023 Bitcoin                             0.00118454 Customer Transfer
 Confidential Customer Coin Transferee #2876    [Address on File]     5/23/2023 Bitcoin                             0.01022134 Customer Transfer
 Confidential Customer Coin Transferee #2877    [Address on File]     6/20/2023 Bitcoin                             0.00164892 Customer Transfer
 Confidential Customer Coin Transferee #2878    [Address on File]     5/23/2023 Bitcoin                             0.00929307 Customer Transfer
 Confidential Customer Coin Transferee #2878    [Address on File]     5/19/2023 Bitcoin                             0.00902587 Customer Transfer
 Confidential Customer Coin Transferee #2879    [Address on File]     6/19/2023 Bitcoin                             0.00058107 Customer Transfer
 Confidential Customer Coin Transferee #2880    [Address on File]     6/14/2023 Bitcoin                             0.03095969 Customer Transfer
 Confidential Customer Coin Transferee #2880    [Address on File]     6/19/2023 Bitcoin                             0.00156935 Customer Transfer
 Confidential Customer Coin Transferee #2881    [Address on File]     5/27/2023 Bitcoin                              0.0257721 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2882    [Address on File]     5/17/2023 Bitcoin                             0.05302753 Customer Transfer
 Confidential Customer Coin Transferee #2882    [Address on File]     5/26/2023 Bitcoin                             0.05158742 Customer Transfer

 Confidential Customer Coin Transferee #2883    [Address on File]     5/19/2023 Bitcoin                                0.09196549 Customer Transfer

 Confidential Customer Coin Transferee #2884    [Address on File]     5/21/2023 Bitcoin                                 0.0101788 Customer Transfer
 Confidential Customer Coin Transferee #2885    [Address on File]     5/18/2023 Bitcoin                                0.09585303 Customer Transfer
 Confidential Customer Coin Transferee #2886    [Address on File]     6/19/2023 Bitcoin                                0.00046524 Customer Transfer
 Confidential Customer Coin Transferee #2887    [Address on File]     6/20/2023 Bitcoin                                 0.0041092 Customer Transfer
 Confidential Customer Coin Transferee #2888    [Address on File]     5/19/2023 Bitcoin                                0.00036162 Customer Transfer
 Confidential Customer Coin Transferee #2889    [Address on File]     5/19/2023 Bitcoin                                1.30681735 Customer Transfer
 Confidential Customer Coin Transferee #2890    [Address on File]     6/20/2023 Bitcoin                                0.00036545 Customer Transfer
 Confidential Customer Coin Transferee #2891    [Address on File]     6/20/2023 Bitcoin                                 0.0031512 Customer Transfer
 Confidential Customer Coin Transferee #2892    [Address on File]     5/22/2023 Bitcoin                                0.10766808 Customer Transfer
 Confidential Customer Coin Transferee #2893    [Address on File]     6/14/2023 Tether USD                             483.736505 Customer Transfer
 Confidential Customer Coin Transferee #2893    [Address on File]     6/11/2023 Tether USD                             483.328338 Customer Transfer
 Confidential Customer Coin Transferee #2893    [Address on File]     6/10/2023 Tether USD                              385.73284 Customer Transfer
 Confidential Customer Coin Transferee #2893    [Address on File]      6/1/2023 Tether USD                             385.581534 Customer Transfer
 Confidential Customer Coin Transferee #2893    [Address on File]     5/24/2023 Tether USD                             191.283486 Customer Transfer
 Confidential Customer Coin Transferee #2893    [Address on File]     5/23/2023 USD Coin                               190.404797 Customer Transfer
 Confidential Customer Coin Transferee #2893    [Address on File]     6/10/2023 Tether USD                              95.994406 Customer Transfer
 Confidential Customer Coin Transferee #2894    [Address on File]     5/29/2023 Bitcoin                                0.00927118 Customer Transfer
 Confidential Customer Coin Transferee #2895    [Address on File]     5/26/2023 Bitcoin                                0.09499716 Customer Transfer
 Confidential Customer Coin Transferee #2896    [Address on File]     5/26/2023 Bitcoin                                0.00185296 Customer Transfer
 Confidential Customer Coin Transferee #2897    [Address on File]     5/26/2023 Bitcoin                                0.01033653 Customer Transfer
 Confidential Customer Coin Transferee #2898    [Address on File]     6/20/2023 Bitcoin                                0.00182386 Customer Transfer

 Confidential Customer Coin Transferee #2899    [Address on File]     5/23/2023 Bitcoin                                0.02122898 Customer Transfer
 Confidential Customer Coin Transferee #2900    [Address on File]     5/30/2023 Bitcoin                                0.07795417 Customer Transfer
 Confidential Customer Coin Transferee #2901    [Address on File]     6/19/2023 Bitcoin                                0.00407619 Customer Transfer
 Confidential Customer Coin Transferee #2902    [Address on File]     5/16/2023 Bitcoin                                0.05147882 Customer Transfer
 Confidential Customer Coin Transferee #2902    [Address on File]      6/6/2023 Bitcoin                                0.01822494 Customer Transfer
 Confidential Customer Coin Transferee #2903    [Address on File]     6/15/2023 Bitcoin                                0.00198622 Customer Transfer
 Confidential Customer Coin Transferee #2904    [Address on File]     5/22/2023 Bitcoin                                0.00185625 Customer Transfer
 Confidential Customer Coin Transferee #2904    [Address on File]     5/22/2023 Bitcoin                                0.00185625 Customer Transfer
 Confidential Customer Coin Transferee #2905    [Address on File]     6/19/2023 Bitcoin                                0.00036062 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date            Crypto Currency            Unit Count          or Transfer

 Confidential Customer Coin Transferee #2906    [Address on File]     5/19/2023 Terra Classic USD                        70317.13 Customer Transfer
 Confidential Customer Coin Transferee #2907    [Address on File]     6/19/2023 Bitcoin                                0.00026158 Customer Transfer
 Confidential Customer Coin Transferee #2908    [Address on File]     5/19/2023 Bitcoin                                0.00338644 Customer Transfer
 Confidential Customer Coin Transferee #2909    [Address on File]     5/25/2023 Bitcoin                                0.22467993 Customer Transfer
 Confidential Customer Coin Transferee #2909    [Address on File]     5/19/2023 Bitcoin                                0.05271144 Customer Transfer
 Confidential Customer Coin Transferee #2910    [Address on File]     6/19/2023 Bitcoin                                0.00119104 Customer Transfer
 Confidential Customer Coin Transferee #2911    [Address on File]     5/20/2023 Bitcoin                                0.01327429 Customer Transfer
 Confidential Customer Coin Transferee #2912    [Address on File]     5/19/2023 Bitcoin                                0.01035953 Customer Transfer
 Confidential Customer Coin Transferee #2913    [Address on File]     6/20/2023 Bitcoin                                0.00005966 Customer Transfer
 Confidential Customer Coin Transferee #2914    [Address on File]     5/24/2023 Bitcoin                                 0.0657604 Customer Transfer
 Confidential Customer Coin Transferee #2915    [Address on File]     5/22/2023 Bitcoin                                0.01142252 Customer Transfer
 Confidential Customer Coin Transferee #2915    [Address on File]     5/29/2023 Bitcoin                                 0.0103637 Customer Transfer
 Confidential Customer Coin Transferee #2916    [Address on File]     6/20/2023 Bitcoin                                0.01695243 Customer Transfer
 Confidential Customer Coin Transferee #2917    [Address on File]     6/20/2023 Bitcoin                                0.00040663 Customer Transfer
 Confidential Customer Coin Transferee #2918    [Address on File]     6/20/2023 Bitcoin                                 0.0014986 Customer Transfer
 Confidential Customer Coin Transferee #2919    [Address on File]      6/1/2023 USDC Avalanche)                         96.871876 Customer Transfer
 Confidential Customer Coin Transferee #2919    [Address on File]     5/26/2023 USDC Avalanche)                         46.937143 Customer Transfer
 Confidential Customer Coin Transferee #2920    [Address on File]     6/19/2023 Bitcoin                                0.00034094 Customer Transfer
 Confidential Customer Coin Transferee #2921    [Address on File]     5/26/2023 Bitcoin                                0.00564153 Customer Transfer
 Confidential Customer Coin Transferee #2921    [Address on File]     5/19/2023 Bitcoin                                0.00554705 Customer Transfer
 Confidential Customer Coin Transferee #2922    [Address on File]     6/13/2023 Bitcoin                                0.00651442 Customer Transfer
 Confidential Customer Coin Transferee #2922    [Address on File]     6/19/2023 Bitcoin                                0.00117248 Customer Transfer
 Confidential Customer Coin Transferee #2923    [Address on File]     6/19/2023 Bitcoin                                0.00045164 Customer Transfer
 Confidential Customer Coin Transferee #2924    [Address on File]     6/20/2023 Bitcoin                                0.01330152 Customer Transfer
 Confidential Customer Coin Transferee #2925    [Address on File]      6/1/2023 Bitcoin                                0.00103241 Customer Transfer
 Confidential Customer Coin Transferee #2925    [Address on File]     6/15/2023 Bitcoin                                0.00087235 Customer Transfer
 Confidential Customer Coin Transferee #2925    [Address on File]     6/19/2023 Bitcoin                                0.00011914 Customer Transfer
 Confidential Customer Coin Transferee #2926    [Address on File]     6/14/2023 Bitcoin                                0.01669733 Customer Transfer
 Confidential Customer Coin Transferee #2927    [Address on File]     5/23/2023 Bitcoin                                0.02628799 Customer Transfer
 Confidential Customer Coin Transferee #2928    [Address on File]     5/25/2023 Bitcoin                                0.01855915 Customer Transfer
 Confidential Customer Coin Transferee #2929    [Address on File]     6/20/2023 Bitcoin                                0.00005514 Customer Transfer

 Confidential Customer Coin Transferee #2930    [Address on File]      6/2/2023 Ether                                   0.0315189 Customer Transfer

 Confidential Customer Coin Transferee #2931    [Address on File]      6/9/2023 USD Coin                               63.3003009 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #2932    [Address on File]     5/30/2023 Bitcoin                             0.02676852 Customer Transfer
 Confidential Customer Coin Transferee #2932    [Address on File]     5/23/2023 Bitcoin                             0.02639564 Customer Transfer
 Confidential Customer Coin Transferee #2932    [Address on File]     5/16/2023 Bitcoin                              0.0161702 Customer Transfer
 Confidential Customer Coin Transferee #2933    [Address on File]     5/22/2023 Bitcoin                             0.00558232 Customer Transfer
 Confidential Customer Coin Transferee #2934    [Address on File]     5/29/2023 Bitcoin                             2.50125209 Customer Transfer
 Confidential Customer Coin Transferee #2934    [Address on File]     5/19/2023 Bitcoin                             1.11132808 Customer Transfer
 Confidential Customer Coin Transferee #2935    [Address on File]     5/24/2023 Bitcoin                             0.00037376 Customer Transfer
 Confidential Customer Coin Transferee #2936    [Address on File]     5/22/2023 Bitcoin                             0.00064706 Customer Transfer
 Confidential Customer Coin Transferee #2936    [Address on File]     5/29/2023 Bitcoin                             0.00063043 Customer Transfer
 Confidential Customer Coin Transferee #2937    [Address on File]     5/24/2023 Bitcoin                             0.00040127 Customer Transfer
 Confidential Customer Coin Transferee #2938    [Address on File]     6/19/2023 Bitcoin                             0.00004277 Customer Transfer
 Confidential Customer Coin Transferee #2939    [Address on File]     6/19/2023 Bitcoin                             0.00352482 Customer Transfer
 Confidential Customer Coin Transferee #2940    [Address on File]     6/19/2023 Bitcoin                             0.00593637 Customer Transfer
 Confidential Customer Coin Transferee #2941    [Address on File]     5/19/2023 Bitcoin                              0.0003556 Customer Transfer
 Confidential Customer Coin Transferee #2942    [Address on File]     5/26/2023 Bitcoin                             0.00073624 Customer Transfer
 Confidential Customer Coin Transferee #2942    [Address on File]     5/19/2023 Bitcoin                             0.00072422 Customer Transfer
 Confidential Customer Coin Transferee #2943    [Address on File]     5/16/2023 Bitcoin                             0.00034196 Customer Transfer
 Confidential Customer Coin Transferee #2944    [Address on File]     6/19/2023 Bitcoin                             0.00171669 Customer Transfer
 Confidential Customer Coin Transferee #2945    [Address on File]     5/22/2023 Bitcoin                             0.00359587 Customer Transfer
 Confidential Customer Coin Transferee #2945    [Address on File]     5/18/2023 Bitcoin                             0.00349216 Customer Transfer
 Confidential Customer Coin Transferee #2946    [Address on File]     5/25/2023 Bitcoin                             0.01060463 Customer Transfer
 Confidential Customer Coin Transferee #2947    [Address on File]     6/20/2023 Bitcoin                              0.0392136 Customer Transfer
 Confidential Customer Coin Transferee #2948    [Address on File]     5/29/2023 Bitcoin                             0.00259948 Customer Transfer
 Confidential Customer Coin Transferee #2948    [Address on File]     5/22/2023 Bitcoin                             0.00247525 Customer Transfer
 Confidential Customer Coin Transferee #2949    [Address on File]     6/19/2023 Bitcoin                             0.00205315 Customer Transfer
 Confidential Customer Coin Transferee #2950    [Address on File]     6/14/2023 Bitcoin                             0.17276806 Customer Transfer
 Confidential Customer Coin Transferee #2951    [Address on File]     5/29/2023 Bitcoin                                    0.12 Customer Transfer
 Confidential Customer Coin Transferee #2952    [Address on File]      6/8/2023 Bitcoin                             0.00384211 Customer Transfer
 Confidential Customer Coin Transferee #2953    [Address on File]     6/19/2023 Bitcoin                             0.01046829 Customer Transfer
 Confidential Customer Coin Transferee #2954    [Address on File]     5/22/2023 Bitcoin                             0.00010508 Customer Transfer
 Confidential Customer Coin Transferee #2954    [Address on File]      6/1/2023 Bitcoin                             0.00004957 Customer Transfer
 Confidential Customer Coin Transferee #2954    [Address on File]      6/1/2023 Bitcoin                             0.00004535 Customer Transfer
 Confidential Customer Coin Transferee #2955    [Address on File]     5/16/2023 Bitcoin                             0.00109231 Customer Transfer
 Confidential Customer Coin Transferee #2955    [Address on File]     6/13/2023 Bitcoin                             0.00089102 Customer Transfer
 Confidential Customer Coin Transferee #2955    [Address on File]     5/29/2023 Bitcoin                             0.00069923 Customer Transfer
 Confidential Customer Coin Transferee #2955    [Address on File]      6/7/2023 Bitcoin                              0.0005149 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #2956    [Address on File]     6/21/2023 USD Coin                            1147.29339 Customer Transfer
 Confidential Customer Coin Transferee #2956    [Address on File]     6/16/2023 USD Coin                            958.464921 Customer Transfer
 Confidential Customer Coin Transferee #2957    [Address on File]     5/23/2023 Bitcoin                             0.00094555 Customer Transfer
 Confidential Customer Coin Transferee #2957    [Address on File]     5/29/2023 Bitcoin                             0.00092751 Customer Transfer
 Confidential Customer Coin Transferee #2958    [Address on File]     5/22/2023 Bitcoin                              0.0013295 Customer Transfer
 Confidential Customer Coin Transferee #2959    [Address on File]     6/15/2023 Bitcoin                             0.00396387 Customer Transfer
 Confidential Customer Coin Transferee #2959    [Address on File]     5/17/2023 Bitcoin                             0.00372116 Customer Transfer
 Confidential Customer Coin Transferee #2959    [Address on File]     6/12/2023 Bitcoin                             0.00371757 Customer Transfer
 Confidential Customer Coin Transferee #2959    [Address on File]     5/24/2023 Bitcoin                             0.00370057 Customer Transfer
 Confidential Customer Coin Transferee #2959    [Address on File]      6/2/2023 Bitcoin                             0.00365897 Customer Transfer
 Confidential Customer Coin Transferee #2960    [Address on File]     5/22/2023 Bitcoin                             0.01052843 Customer Transfer

 Confidential Customer Coin Transferee #2961    [Address on File]     5/21/2023 Bitcoin                                0.05578448 Customer Transfer

 Confidential Customer Coin Transferee #2961    [Address on File]     5/16/2023 Bitcoin                                0.00439721 Customer Transfer
 Confidential Customer Coin Transferee #2962    [Address on File]     5/25/2023 Bitcoin                                0.05287168 Customer Transfer
 Confidential Customer Coin Transferee #2963    [Address on File]     6/20/2023 Bitcoin                                 0.0028972 Customer Transfer
 Confidential Customer Coin Transferee #2964    [Address on File]     6/19/2023 Bitcoin                                0.02952738 Customer Transfer
 Confidential Customer Coin Transferee #2965    [Address on File]     6/20/2023 Bitcoin                                0.00168202 Customer Transfer
 Confidential Customer Coin Transferee #2966    [Address on File]     5/17/2023 Bitcoin                                       0.08 Customer Transfer
 Confidential Customer Coin Transferee #2967    [Address on File]     5/23/2023 Bitcoin                                0.05912505 Customer Transfer
 Confidential Customer Coin Transferee #2967    [Address on File]     5/23/2023 Bitcoin                                0.05127152 Customer Transfer
 Confidential Customer Coin Transferee #2967    [Address on File]     5/23/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #2968    [Address on File]     6/12/2023 Bitcoin                                0.00911814 Customer Transfer
 Confidential Customer Coin Transferee #2968    [Address on File]     5/19/2023 Bitcoin                                0.00757456 Customer Transfer
 Confidential Customer Coin Transferee #2968    [Address on File]      6/6/2023 Bitcoin                                0.00734747 Customer Transfer
 Confidential Customer Coin Transferee #2968    [Address on File]     6/18/2023 Bitcoin                                0.00314353 Customer Transfer
 Confidential Customer Coin Transferee #2969    [Address on File]      6/1/2023 Bitcoin                                0.00369417 Customer Transfer
 Confidential Customer Coin Transferee #2969    [Address on File]     5/19/2023 Bitcoin                                0.00360654 Customer Transfer
 Confidential Customer Coin Transferee #2970    [Address on File]     5/23/2023 Bitcoin                                0.00541921 Customer Transfer
 Confidential Customer Coin Transferee #2971    [Address on File]     5/18/2023 Litecoin                               0.10169128 Customer Transfer
 Confidential Customer Coin Transferee #2971    [Address on File]     5/20/2023 Bitcoin                                0.00088152 Customer Transfer
 Confidential Customer Coin Transferee #2971    [Address on File]     5/18/2023 Bitcoin                                0.00086851 Customer Transfer
 Confidential Customer Coin Transferee #2972    [Address on File]     6/19/2023 Bitcoin                                 0.0001272 Customer Transfer
 Confidential Customer Coin Transferee #2973    [Address on File]     5/26/2023 Bitcoin                                0.01950007 Customer Transfer
 Confidential Customer Coin Transferee #2974    [Address on File]     6/19/2023 Bitcoin                                0.00070857 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #2975    [Address on File]     5/26/2023 Ether                                  0.35658447 Customer Transfer

 Confidential Customer Coin Transferee #2975    [Address on File]     5/22/2023 Ether                                  0.30589228 Customer Transfer

 Confidential Customer Coin Transferee #2975    [Address on File]     5/19/2023 Ether                                  0.24725546 Customer Transfer

 Confidential Customer Coin Transferee #2975    [Address on File]     5/26/2023 Ether                                  0.17248761 Customer Transfer
 Confidential Customer Coin Transferee #2976    [Address on File]     5/19/2023 Bitcoin                                0.00108232 Customer Transfer
 Confidential Customer Coin Transferee #2977    [Address on File]     6/20/2023 Bitcoin                                0.00057847 Customer Transfer
 Confidential Customer Coin Transferee #2978    [Address on File]     5/19/2023 Bitcoin                                0.00430359 Customer Transfer
 Confidential Customer Coin Transferee #2979    [Address on File]      6/7/2023 Bitcoin                                0.00054371 Customer Transfer
 Confidential Customer Coin Transferee #2980    [Address on File]     6/20/2023 Bitcoin                                0.00376132 Customer Transfer
 Confidential Customer Coin Transferee #2981    [Address on File]     6/20/2023 Bitcoin                                0.01863504 Customer Transfer

 Confidential Customer Coin Transferee #2982    [Address on File]     6/15/2023 USDC Avalanche)                         38.346991 Customer Transfer
 Confidential Customer Coin Transferee #2983    [Address on File]     5/24/2023 Bitcoin                                0.00185981 Customer Transfer
 Confidential Customer Coin Transferee #2984    [Address on File]     5/21/2023 Bitcoin                                0.10922168 Customer Transfer
 Confidential Customer Coin Transferee #2985    [Address on File]     6/20/2023 Bitcoin                                0.00135367 Customer Transfer
 Confidential Customer Coin Transferee #2986    [Address on File]     6/20/2023 Bitcoin                                0.00058326 Customer Transfer
 Confidential Customer Coin Transferee #2987    [Address on File]     5/31/2023 Bitcoin                                0.01017403 Customer Transfer
 Confidential Customer Coin Transferee #2988    [Address on File]     6/20/2023 USDC Avalanche)                        245.900169 Customer Transfer
 Confidential Customer Coin Transferee #2988    [Address on File]     6/21/2023 Bitcoin                                   0.008229 Customer Transfer
 Confidential Customer Coin Transferee #2989    [Address on File]     5/27/2023 Bitcoin                                 0.0103852 Customer Transfer
 Confidential Customer Coin Transferee #2990    [Address on File]     6/20/2023 Bitcoin                                0.00595796 Customer Transfer
 Confidential Customer Coin Transferee #2991    [Address on File]      6/6/2023 Bitcoin                                0.04581582 Customer Transfer
 Confidential Customer Coin Transferee #2991    [Address on File]     5/18/2023 Bitcoin                                0.00720738 Customer Transfer
 Confidential Customer Coin Transferee #2991    [Address on File]     5/19/2023 Bitcoin                                0.00719411 Customer Transfer
 Confidential Customer Coin Transferee #2992    [Address on File]     5/29/2023 Bitcoin                                0.05464987 Customer Transfer
 Confidential Customer Coin Transferee #2993    [Address on File]     6/20/2023 Bitcoin                                0.00041197 Customer Transfer
 Confidential Customer Coin Transferee #2994    [Address on File]     5/22/2023 Bitcoin                                0.36610476 Customer Transfer
 Confidential Customer Coin Transferee #2994    [Address on File]     5/29/2023 Bitcoin                                0.20050338 Customer Transfer
 Confidential Customer Coin Transferee #2995    [Address on File]     6/20/2023 Bitcoin                                0.00004823 Customer Transfer
 Confidential Customer Coin Transferee #2996    [Address on File]     6/20/2023 Bitcoin                                0.00040131 Customer Transfer
 Confidential Customer Coin Transferee #2997    [Address on File]     5/22/2023 Bitcoin                                0.00036309 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count          or Transfer

 Confidential Customer Coin Transferee #2998    [Address on File]     6/19/2023 Bitcoin                                0.00036843 Customer Transfer
 Confidential Customer Coin Transferee #2999    [Address on File]     6/20/2023 Bitcoin                                0.01424692 Customer Transfer
 Confidential Customer Coin Transferee #3000    [Address on File]     6/20/2023 Bitcoin                                0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #3001    [Address on File]     5/22/2023 Tether USD                             495.454091 Customer Transfer
 Confidential Customer Coin Transferee #3001    [Address on File]     5/17/2023 Tether USD                             495.123413 Customer Transfer
 Confidential Customer Coin Transferee #3001    [Address on File]     6/13/2023 USDC Avalanche)                        297.181127 Customer Transfer
 Confidential Customer Coin Transferee #3001    [Address on File]     5/27/2023 USDC Avalanche)                        197.202238 Customer Transfer
 Confidential Customer Coin Transferee #3001    [Address on File]     5/20/2023 USDC Avalanche)                        196.761295 Customer Transfer
 Confidential Customer Coin Transferee #3001    [Address on File]      6/8/2023 USDC Avalanche)                         97.421289 Customer Transfer
 Confidential Customer Coin Transferee #3001    [Address on File]     6/19/2023 USDC Avalanche)                         97.198963 Customer Transfer
 Confidential Customer Coin Transferee #3002    [Address on File]     5/26/2023 Bitcoin                                0.07135316 Customer Transfer
 Confidential Customer Coin Transferee #3002    [Address on File]     5/23/2023 Bitcoin                                   0.002416 Customer Transfer
 Confidential Customer Coin Transferee #3003    [Address on File]     6/20/2023 Bitcoin                                0.00022275 Customer Transfer
 Confidential Customer Coin Transferee #3004    [Address on File]     6/19/2023 Bitcoin                                0.00313541 Customer Transfer
 Confidential Customer Coin Transferee #3005    [Address on File]      6/7/2023 Bitcoin                                0.30071922 Customer Transfer
 Confidential Customer Coin Transferee #3005    [Address on File]     6/20/2023 Bitcoin                                0.07788781 Customer Transfer
 Confidential Customer Coin Transferee #3006    [Address on File]     5/17/2023 Bitcoin                                0.01755775 Customer Transfer
 Confidential Customer Coin Transferee #3007    [Address on File]     6/20/2023 Bitcoin                                0.00361008 Customer Transfer
 Confidential Customer Coin Transferee #3008    [Address on File]     6/20/2023 Bitcoin                                 0.0002298 Customer Transfer
 Confidential Customer Coin Transferee #3009    [Address on File]     5/17/2023 Bitcoin                                0.00204988 Customer Transfer
 Confidential Customer Coin Transferee #3010    [Address on File]     6/20/2023 Bitcoin                                0.00263672 Customer Transfer
 Confidential Customer Coin Transferee #3011    [Address on File]     6/20/2023 Bitcoin                                0.00005816 Customer Transfer
 Confidential Customer Coin Transferee #3012    [Address on File]     6/20/2023 Bitcoin                                0.00057886 Customer Transfer
 Confidential Customer Coin Transferee #3013    [Address on File]     6/19/2023 Bitcoin                                0.00003504 Customer Transfer
 Confidential Customer Coin Transferee #3014    [Address on File]     6/20/2023 Bitcoin                                0.00404678 Customer Transfer
 Confidential Customer Coin Transferee #3015    [Address on File]     6/20/2023 Bitcoin                                0.00070576 Customer Transfer
 Confidential Customer Coin Transferee #3016    [Address on File]     6/20/2023 Bitcoin                                0.00216413 Customer Transfer
 Confidential Customer Coin Transferee #3017    [Address on File]     5/25/2023 Bitcoin                                0.00088804 Customer Transfer
 Confidential Customer Coin Transferee #3018    [Address on File]     5/25/2023 Bitcoin                                0.01086156 Customer Transfer
 Confidential Customer Coin Transferee #3019    [Address on File]     6/19/2023 Bitcoin                                0.00939513 Customer Transfer
 Confidential Customer Coin Transferee #3020    [Address on File]     5/25/2023 Bitcoin                                 0.0107865 Customer Transfer
 Confidential Customer Coin Transferee #3021    [Address on File]     6/21/2023 USD Coin                               955.980861 Customer Transfer
 Confidential Customer Coin Transferee #3022    [Address on File]     6/20/2023 Bitcoin                                0.00006003 Customer Transfer
 Confidential Customer Coin Transferee #3023    [Address on File]     5/20/2023 Bitcoin                                0.05092976 Customer Transfer
 Confidential Customer Coin Transferee #3024    [Address on File]      6/7/2023 USDC Avalanche)                        871.494252 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3024    [Address on File]     6/12/2023 USD Coin                             561.25937 Customer Transfer
 Confidential Customer Coin Transferee #3024    [Address on File]      6/7/2023 USDC Avalanche)                     522.808594 Customer Transfer
 Confidential Customer Coin Transferee #3025    [Address on File]     5/24/2023 Bitcoin                             0.01088173 Customer Transfer
 Confidential Customer Coin Transferee #3025    [Address on File]     5/17/2023 Bitcoin                             0.01037691 Customer Transfer
 Confidential Customer Coin Transferee #3026    [Address on File]     5/21/2023 Bitcoin                             0.09146682 Customer Transfer
 Confidential Customer Coin Transferee #3027    [Address on File]     5/17/2023 Bitcoin                             0.02541192 Customer Transfer
 Confidential Customer Coin Transferee #3028    [Address on File]     6/20/2023 Bitcoin                             0.00289729 Customer Transfer
 Confidential Customer Coin Transferee #3029    [Address on File]     5/17/2023 Bitcoin                                    0.02 Customer Transfer
 Confidential Customer Coin Transferee #3029    [Address on File]     5/17/2023 Bitcoin                             0.00584034 Customer Transfer
 Confidential Customer Coin Transferee #3029    [Address on File]     5/31/2023 Bitcoin                             0.00103369 Customer Transfer
 Confidential Customer Coin Transferee #3029    [Address on File]     5/20/2023 Bitcoin                             0.00036962 Customer Transfer
 Confidential Customer Coin Transferee #3030    [Address on File]     6/20/2023 Bitcoin                             0.03897079 Customer Transfer
 Confidential Customer Coin Transferee #3031    [Address on File]     5/16/2023 Bitcoin                                    0.15 Customer Transfer
 Confidential Customer Coin Transferee #3031    [Address on File]     5/23/2023 Bitcoin                                    0.12 Customer Transfer
 Confidential Customer Coin Transferee #3031    [Address on File]     5/31/2023 Bitcoin                                    0.08 Customer Transfer
 Confidential Customer Coin Transferee #3032    [Address on File]     5/18/2023 USDC Avalanche)                     298.880447 Customer Transfer
 Confidential Customer Coin Transferee #3032    [Address on File]     5/18/2023 USDC Avalanche)                     197.241655 Customer Transfer
 Confidential Customer Coin Transferee #3033    [Address on File]     5/25/2023 Bitcoin                             0.00112778 Customer Transfer
 Confidential Customer Coin Transferee #3034    [Address on File]     5/18/2023 Bitcoin                             0.01260685 Customer Transfer
 Confidential Customer Coin Transferee #3034    [Address on File]     5/25/2023 Bitcoin                             0.00185638 Customer Transfer
 Confidential Customer Coin Transferee #3034    [Address on File]     5/22/2023 Bitcoin                             0.00110936 Customer Transfer
 Confidential Customer Coin Transferee #3034    [Address on File]     5/17/2023 Bitcoin                             0.00092795 Customer Transfer
 Confidential Customer Coin Transferee #3034    [Address on File]     5/19/2023 Bitcoin                             0.00092555 Customer Transfer
 Confidential Customer Coin Transferee #3034    [Address on File]     5/30/2023 Bitcoin                             0.00088868 Customer Transfer
 Confidential Customer Coin Transferee #3034    [Address on File]     5/26/2023 Bitcoin                             0.00074306 Customer Transfer
 Confidential Customer Coin Transferee #3034    [Address on File]     5/28/2023 Bitcoin                             0.00054927 Customer Transfer
 Confidential Customer Coin Transferee #3035    [Address on File]     6/10/2023 USDC Avalanche)                     483.839696 Customer Transfer
 Confidential Customer Coin Transferee #3035    [Address on File]      6/2/2023 USDC Avalanche)                      483.83808 Customer Transfer
 Confidential Customer Coin Transferee #3035    [Address on File]     5/25/2023 USDC Avalanche)                     193.273363 Customer Transfer
 Confidential Customer Coin Transferee #3036    [Address on File]     6/19/2023 Bitcoin                             0.00187005 Customer Transfer
 Confidential Customer Coin Transferee #3037    [Address on File]     6/19/2023 Bitcoin                             0.00320875 Customer Transfer
 Confidential Customer Coin Transferee #3038    [Address on File]     6/19/2023 Bitcoin                              0.0011141 Customer Transfer
 Confidential Customer Coin Transferee #3039    [Address on File]     6/19/2023 Bitcoin                             0.03550734 Customer Transfer
 Confidential Customer Coin Transferee #3040    [Address on File]     5/16/2023 Bitcoin                             0.00102048 Customer Transfer
 Confidential Customer Coin Transferee #3041    [Address on File]     5/22/2023 Bitcoin                             0.01333148 Customer Transfer
 Confidential Customer Coin Transferee #3042    [Address on File]     6/20/2023 Bitcoin                             0.00940438 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3043    [Address on File]     5/26/2023 Bitcoin                             0.00185425 Customer Transfer
 Confidential Customer Coin Transferee #3043    [Address on File]     5/19/2023 Bitcoin                             0.00168423 Customer Transfer
 Confidential Customer Coin Transferee #3044    [Address on File]     5/29/2023 Bitcoin                             0.00371007 Customer Transfer
 Confidential Customer Coin Transferee #3044    [Address on File]     5/19/2023 Bitcoin                             0.00368794 Customer Transfer
 Confidential Customer Coin Transferee #3044    [Address on File]     6/12/2023 Bitcoin                             0.00192524 Customer Transfer
 Confidential Customer Coin Transferee #3044    [Address on File]      6/6/2023 Bitcoin                             0.00185436 Customer Transfer
 Confidential Customer Coin Transferee #3045    [Address on File]     5/22/2023 Bitcoin                             0.00093691 Customer Transfer
 Confidential Customer Coin Transferee #3045    [Address on File]     5/29/2023 Bitcoin                             0.00092904 Customer Transfer
 Confidential Customer Coin Transferee #3046    [Address on File]     6/20/2023 Bitcoin                             0.00884425 Customer Transfer
 Confidential Customer Coin Transferee #3047    [Address on File]     6/19/2023 Bitcoin                             0.00072885 Customer Transfer
 Confidential Customer Coin Transferee #3048    [Address on File]     5/25/2023 Bitcoin                                 0.00012 Customer Transfer
 Confidential Customer Coin Transferee #3049    [Address on File]     6/19/2023 Bitcoin                              0.0035251 Customer Transfer
 Confidential Customer Coin Transferee #3050    [Address on File]     5/27/2023 Bitcoin                             0.05691048 Customer Transfer
 Confidential Customer Coin Transferee #3051    [Address on File]     5/19/2023 Bitcoin                             0.13912312 Customer Transfer
 Confidential Customer Coin Transferee #3051    [Address on File]     5/17/2023 Bitcoin                                     0.13 Customer Transfer
 Confidential Customer Coin Transferee #3051    [Address on File]     5/26/2023 Bitcoin                             0.07415908 Customer Transfer
 Confidential Customer Coin Transferee #3052    [Address on File]     5/17/2023 Bitcoin                             0.02169285 Customer Transfer
 Confidential Customer Coin Transferee #3052    [Address on File]     5/29/2023 Bitcoin                             0.02145031 Customer Transfer
 Confidential Customer Coin Transferee #3052    [Address on File]     5/23/2023 Bitcoin                             0.02061017 Customer Transfer
 Confidential Customer Coin Transferee #3053    [Address on File]     5/22/2023 Bitcoin                             0.00414842 Customer Transfer
 Confidential Customer Coin Transferee #3054    [Address on File]     5/25/2023 Bitcoin                             0.01285338 Customer Transfer
 Confidential Customer Coin Transferee #3055    [Address on File]     6/12/2023 Bitcoin                             0.00114837 Customer Transfer
 Confidential Customer Coin Transferee #3056    [Address on File]     5/29/2023 Bitcoin                             0.00327027 Customer Transfer
 Confidential Customer Coin Transferee #3057    [Address on File]     5/25/2023 Bitcoin                             0.02066107 Customer Transfer
 Confidential Customer Coin Transferee #3058    [Address on File]     6/19/2023 Bitcoin                             0.00579375 Customer Transfer
 Confidential Customer Coin Transferee #3059    [Address on File]     6/19/2023 Bitcoin                             0.00036561 Customer Transfer
 Confidential Customer Coin Transferee #3060    [Address on File]     6/19/2023 Bitcoin                             0.00120008 Customer Transfer
 Confidential Customer Coin Transferee #3061    [Address on File]     5/21/2023 Bitcoin                             0.05311108 Customer Transfer
 Confidential Customer Coin Transferee #3062    [Address on File]     5/29/2023 Bitcoin                             0.01496346 Customer Transfer
 Confidential Customer Coin Transferee #3062    [Address on File]      6/8/2023 Bitcoin                             0.00750965 Customer Transfer
 Confidential Customer Coin Transferee #3063    [Address on File]     6/20/2023 Bitcoin                             0.00456528 Customer Transfer
 Confidential Customer Coin Transferee #3064    [Address on File]     5/25/2023 Bitcoin                              0.0371742 Customer Transfer
 Confidential Customer Coin Transferee #3064    [Address on File]      6/6/2023 Bitcoin                             0.02513795 Customer Transfer
 Confidential Customer Coin Transferee #3064    [Address on File]     6/21/2023 Bitcoin                              0.0123974 Customer Transfer
 Confidential Customer Coin Transferee #3064    [Address on File]     6/21/2023 Bitcoin                                 0.00531 Customer Transfer
 Confidential Customer Coin Transferee #3065    [Address on File]     5/25/2023 Bitcoin                             0.01051155 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count       or Transfer

 Confidential Customer Coin Transferee #3066    [Address on File]     5/26/2023 Litecoin                           11.74767748 Customer Transfer

 Confidential Customer Coin Transferee #3066    [Address on File]      6/9/2023 Litecoin                           11.63954545 Customer Transfer
 Confidential Customer Coin Transferee #3067    [Address on File]     6/20/2023 Bitcoin                             0.00267586 Customer Transfer
 Confidential Customer Coin Transferee #3068    [Address on File]     5/16/2023 Bitcoin                             0.01252644 Customer Transfer
 Confidential Customer Coin Transferee #3069    [Address on File]     5/24/2023 Bitcoin                             0.01809172 Customer Transfer
 Confidential Customer Coin Transferee #3069    [Address on File]     5/17/2023 Bitcoin                             0.01779026 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/26/2023 Bitcoin                             0.00376015 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/29/2023 Bitcoin                             0.00259486 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00238593 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/31/2023 Bitcoin                             0.00236395 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/23/2023 Bitcoin                             0.00226615 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00222673 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/22/2023 Bitcoin                             0.00218397 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00215702 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/29/2023 Bitcoin                             0.00213732 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/31/2023 Bitcoin                             0.00194717 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/29/2023 Bitcoin                             0.00190473 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00189328 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/26/2023 Bitcoin                             0.00188171 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/30/2023 Bitcoin                             0.00186201 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/26/2023 Bitcoin                             0.00185753 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/22/2023 Bitcoin                             0.00185104 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/21/2023 Bitcoin                             0.00184763 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/21/2023 Bitcoin                             0.00184706 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/31/2023 Bitcoin                             0.00184454 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/31/2023 Bitcoin                             0.00183844 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/30/2023 Bitcoin                             0.00179427 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/30/2023 Bitcoin                             0.00179182 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/30/2023 Bitcoin                             0.00179149 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/22/2023 Bitcoin                             0.00167506 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/23/2023 Bitcoin                             0.00166547 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/21/2023 Bitcoin                             0.00165421 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/31/2023 Bitcoin                             0.00161832 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/26/2023 Bitcoin                             0.00161425 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/30/2023 Bitcoin                             0.00161045 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/25/2023 Bitcoin                             0.00160045 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/21/2023 Bitcoin                             0.00158978 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/31/2023 Bitcoin                             0.00153763 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00148348 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/22/2023 Bitcoin                             0.00147924 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/23/2023 Bitcoin                             0.00146215 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/26/2023 Bitcoin                             0.00146208 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00144055 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/29/2023 Bitcoin                             0.00143781 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/29/2023 Bitcoin                             0.00143681 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/22/2023 Bitcoin                             0.00140869 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/29/2023 Bitcoin                             0.00133052 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/25/2023 Bitcoin                             0.00132954 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00132604 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/31/2023 Bitcoin                             0.00132354 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00130031 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/23/2023 Bitcoin                             0.00129554 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/30/2023 Bitcoin                             0.00125256 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/25/2023 Bitcoin                             0.00125217 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/26/2023 Bitcoin                             0.00122849 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/22/2023 Bitcoin                             0.00122784 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/26/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/23/2023 Bitcoin                             0.00119918 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00118762 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/22/2023 Bitcoin                             0.00118612 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/29/2023 Bitcoin                             0.00117562 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/29/2023 Bitcoin                             0.00115033 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/29/2023 Bitcoin                             0.00113998 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/25/2023 Bitcoin                             0.00113985 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/25/2023 Bitcoin                             0.00113899 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00113224 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/26/2023 Bitcoin                             0.00113066 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/26/2023 Bitcoin                              0.0011251 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00111711 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/22/2023 Bitcoin                             0.00110987 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/31/2023 Bitcoin                             0.00109706 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00109586 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/29/2023 Bitcoin                              0.0009702 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/25/2023 Bitcoin                             0.00094698 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/26/2023 Bitcoin                             0.00094115 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00093931 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/23/2023 Bitcoin                             0.00088602 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/26/2023 Bitcoin                             0.00086766 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/28/2023 Bitcoin                             0.00080026 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/22/2023 Bitcoin                              0.0006659 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00066562 Customer Transfer
 Confidential Customer Coin Transferee #3070    [Address on File]     5/24/2023 Bitcoin                             0.00060382 Customer Transfer
 Confidential Customer Coin Transferee #3071    [Address on File]     6/19/2023 Bitcoin                             0.00408658 Customer Transfer

 Confidential Customer Coin Transferee #3072    [Address on File]     6/19/2023 Bitcoin                                0.00437631 Customer Transfer
 Confidential Customer Coin Transferee #3073    [Address on File]     5/16/2023 Bitcoin                                        0.03 Customer Transfer
 Confidential Customer Coin Transferee #3073    [Address on File]     5/17/2023 Bitcoin                                0.00246507 Customer Transfer
 Confidential Customer Coin Transferee #3074    [Address on File]     5/19/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #3074    [Address on File]     5/25/2023 Bitcoin                                    0.00191 Customer Transfer
 Confidential Customer Coin Transferee #3074    [Address on File]     5/22/2023 Bitcoin                                    0.00188 Customer Transfer
 Confidential Customer Coin Transferee #3074    [Address on File]     5/31/2023 Bitcoin                                   0.001816 Customer Transfer
 Confidential Customer Coin Transferee #3074    [Address on File]     5/29/2023 Bitcoin                                   0.001795 Customer Transfer
 Confidential Customer Coin Transferee #3074    [Address on File]     5/31/2023 Bitcoin                                0.00175392 Customer Transfer
 Confidential Customer Coin Transferee #3075    [Address on File]     6/19/2023 Bitcoin                                0.00004728 Customer Transfer
 Confidential Customer Coin Transferee #3076    [Address on File]     5/17/2023 Bitcoin                                0.01546418 Customer Transfer
 Confidential Customer Coin Transferee #3076    [Address on File]     5/21/2023 Bitcoin                                0.01226601 Customer Transfer
 Confidential Customer Coin Transferee #3076    [Address on File]     5/24/2023 Bitcoin                                0.00773465 Customer Transfer
 Confidential Customer Coin Transferee #3077    [Address on File]     5/19/2023 Bitcoin                                0.00741265 Customer Transfer
 Confidential Customer Coin Transferee #3078    [Address on File]     5/16/2023 Bitcoin                                0.00171737 Customer Transfer
 Confidential Customer Coin Transferee #3079    [Address on File]     6/19/2023 Bitcoin                                0.00069872 Customer Transfer
 Confidential Customer Coin Transferee #3080    [Address on File]     5/20/2023 Bitcoin                                0.00185181 Customer Transfer
 Confidential Customer Coin Transferee #3081    [Address on File]     5/26/2023 Bitcoin                                0.00112937 Customer Transfer
 Confidential Customer Coin Transferee #3082    [Address on File]     5/30/2023 Bitcoin                                0.01251826 Customer Transfer
 Confidential Customer Coin Transferee #3083    [Address on File]     6/20/2023 Bitcoin                                0.00631743 Customer Transfer
 Confidential Customer Coin Transferee #3084    [Address on File]     5/26/2023 Bitcoin                                0.02034659 Customer Transfer
 Confidential Customer Coin Transferee #3084    [Address on File]     5/19/2023 Bitcoin                                0.02005066 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3084    [Address on File]     5/26/2023 Bitcoin                             0.02002002 Customer Transfer
 Confidential Customer Coin Transferee #3084    [Address on File]     5/19/2023 Bitcoin                             0.01984933 Customer Transfer
 Confidential Customer Coin Transferee #3085    [Address on File]     5/24/2023 Bitcoin                             0.13647086 Customer Transfer
 Confidential Customer Coin Transferee #3086    [Address on File]     5/29/2023 Tether USD                           9415.6462 Customer Transfer
 Confidential Customer Coin Transferee #3087    [Address on File]     5/20/2023 Bitcoin                             0.00036999 Customer Transfer
 Confidential Customer Coin Transferee #3088    [Address on File]     5/19/2023 Bitcoin                             0.00269975 Customer Transfer
 Confidential Customer Coin Transferee #3088    [Address on File]     5/26/2023 Bitcoin                             0.00259026 Customer Transfer
 Confidential Customer Coin Transferee #3089    [Address on File]     5/27/2023 Bitcoin                             0.07006209 Customer Transfer
 Confidential Customer Coin Transferee #3090    [Address on File]     5/19/2023 Bitcoin                             0.00173468 Customer Transfer
 Confidential Customer Coin Transferee #3091    [Address on File]     5/24/2023 Bitcoin                             0.00283605 Customer Transfer
 Confidential Customer Coin Transferee #3092    [Address on File]     5/26/2023 Bitcoin                             0.00096193 Customer Transfer
 Confidential Customer Coin Transferee #3092    [Address on File]     5/25/2023 Bitcoin                             0.00080328 Customer Transfer
 Confidential Customer Coin Transferee #3092    [Address on File]     5/24/2023 Bitcoin                             0.00074429 Customer Transfer
 Confidential Customer Coin Transferee #3092    [Address on File]     5/30/2023 Bitcoin                             0.00053731 Customer Transfer
 Confidential Customer Coin Transferee #3092    [Address on File]     5/19/2023 Bitcoin                             0.00052635 Customer Transfer
 Confidential Customer Coin Transferee #3092    [Address on File]     5/19/2023 Bitcoin                             0.00041802 Customer Transfer
 Confidential Customer Coin Transferee #3092    [Address on File]     5/28/2023 Bitcoin                             0.00041474 Customer Transfer
 Confidential Customer Coin Transferee #3092    [Address on File]     5/25/2023 Bitcoin                             0.00036816 Customer Transfer
 Confidential Customer Coin Transferee #3092    [Address on File]     5/29/2023 Bitcoin                             0.00015934 Customer Transfer
 Confidential Customer Coin Transferee #3092    [Address on File]     5/29/2023 Bitcoin                             0.00008291 Customer Transfer
 Confidential Customer Coin Transferee #3093    [Address on File]     5/31/2023 Bitcoin                             0.01100037 Customer Transfer
 Confidential Customer Coin Transferee #3093    [Address on File]     5/31/2023 Bitcoin                             0.00989346 Customer Transfer
 Confidential Customer Coin Transferee #3093    [Address on File]     5/31/2023 Bitcoin                             0.00806238 Customer Transfer
 Confidential Customer Coin Transferee #3093    [Address on File]     5/31/2023 Bitcoin                             0.00575907 Customer Transfer
 Confidential Customer Coin Transferee #3093    [Address on File]     5/30/2023 Bitcoin                             0.00549534 Customer Transfer
 Confidential Customer Coin Transferee #3093    [Address on File]     5/31/2023 Bitcoin                             0.00539727 Customer Transfer
 Confidential Customer Coin Transferee #3094    [Address on File]     5/16/2023 Bitcoin                             0.00401673 Customer Transfer
 Confidential Customer Coin Transferee #3095    [Address on File]     5/26/2023 Bitcoin                             0.00185815 Customer Transfer
 Confidential Customer Coin Transferee #3095    [Address on File]     5/19/2023 Bitcoin                             0.00184823 Customer Transfer
 Confidential Customer Coin Transferee #3096    [Address on File]     5/17/2023 Bitcoin                             0.00048324 Customer Transfer
 Confidential Customer Coin Transferee #3097    [Address on File]     5/16/2023 Bitcoin                              0.0021625 Customer Transfer
 Confidential Customer Coin Transferee #3097    [Address on File]     5/20/2023 Bitcoin                              0.0010171 Customer Transfer
 Confidential Customer Coin Transferee #3098    [Address on File]     5/20/2023 Bitcoin                             0.01554464 Customer Transfer
 Confidential Customer Coin Transferee #3099    [Address on File]     6/20/2023 Bitcoin                             0.00003806 Customer Transfer
 Confidential Customer Coin Transferee #3100    [Address on File]     5/18/2023 Bitcoin                             0.01051112 Customer Transfer
 Confidential Customer Coin Transferee #3101    [Address on File]     6/20/2023 Bitcoin                             0.00070203 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3102    [Address on File]     5/26/2023 Bitcoin                             0.01075948 Customer Transfer
 Confidential Customer Coin Transferee #3102    [Address on File]     5/26/2023 Bitcoin                             0.01065569 Customer Transfer
 Confidential Customer Coin Transferee #3102    [Address on File]     5/26/2023 Bitcoin                             0.01040553 Customer Transfer
 Confidential Customer Coin Transferee #3102    [Address on File]     5/26/2023 Bitcoin                             0.01016663 Customer Transfer
 Confidential Customer Coin Transferee #3103    [Address on File]     6/20/2023 Bitcoin                             0.00060748 Customer Transfer
 Confidential Customer Coin Transferee #3104    [Address on File]     6/19/2023 Bitcoin                             0.00047202 Customer Transfer
 Confidential Customer Coin Transferee #3105    [Address on File]     6/19/2023 Bitcoin                             0.00599599 Customer Transfer
 Confidential Customer Coin Transferee #3106    [Address on File]     6/19/2023 Bitcoin                             0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #3107    [Address on File]      6/7/2023 Bitcoin                             0.00382722 Customer Transfer
 Confidential Customer Coin Transferee #3108    [Address on File]     5/24/2023 Bitcoin                             0.01150037 Customer Transfer
 Confidential Customer Coin Transferee #3109    [Address on File]     5/29/2023 Bitcoin                             0.01015189 Customer Transfer
 Confidential Customer Coin Transferee #3110    [Address on File]     5/31/2023 Bitcoin                             0.00366737 Customer Transfer
 Confidential Customer Coin Transferee #3111    [Address on File]     6/19/2023 Bitcoin                             0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #3112    [Address on File]     6/20/2023 Bitcoin                             0.00088213 Customer Transfer
 Confidential Customer Coin Transferee #3113    [Address on File]      6/5/2023 Bitcoin                             0.00079559 Customer Transfer
 Confidential Customer Coin Transferee #3114    [Address on File]     5/25/2023 Bitcoin                             0.00184809 Customer Transfer
 Confidential Customer Coin Transferee #3114    [Address on File]     5/18/2023 Bitcoin                             0.00181827 Customer Transfer
 Confidential Customer Coin Transferee #3115    [Address on File]     5/26/2023 Bitcoin                             0.00037128 Customer Transfer
 Confidential Customer Coin Transferee #3115    [Address on File]     5/19/2023 Bitcoin                             0.00033685 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                            994.119405 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                            497.906698 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                            497.906698 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                            497.906698 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                            497.906698 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                            497.906698 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                            497.906698 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                            497.906698 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                            497.906698 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                            497.906698 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                            390.360845 Customer Transfer
 Confidential Customer Coin Transferee #3116    [Address on File]     6/21/2023 USD Coin                             99.581339 Customer Transfer
 Confidential Customer Coin Transferee #3117    [Address on File]     5/16/2023 Bitcoin                             0.01652508 Customer Transfer
 Confidential Customer Coin Transferee #3118    [Address on File]     6/19/2023 Bitcoin                             0.00005601 Customer Transfer
 Confidential Customer Coin Transferee #3119    [Address on File]     6/12/2023 Bitcoin                             0.00046969 Customer Transfer
 Confidential Customer Coin Transferee #3120    [Address on File]     5/24/2023 Bitcoin                             0.01228637 Customer Transfer
 Confidential Customer Coin Transferee #3121    [Address on File]     6/20/2023 Bitcoin                             0.02033169 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3122    [Address on File]     6/19/2023 Bitcoin                             0.00058638 Customer Transfer
 Confidential Customer Coin Transferee #3123    [Address on File]      6/8/2023 Bitcoin                                        2 Customer Transfer
 Confidential Customer Coin Transferee #3124    [Address on File]      6/8/2023 FLEX Coin                           31000.0001 Customer Transfer
 Confidential Customer Coin Transferee #3124    [Address on File]      6/8/2023 FLEX Coin                                 15000 Customer Transfer
 Confidential Customer Coin Transferee #3124    [Address on File]      6/8/2023 Recover Value USD                         10000 Customer Transfer
 Confidential Customer Coin Transferee #3124    [Address on File]      6/8/2023 FLEX Coin                                  9000 Customer Transfer
 Confidential Customer Coin Transferee #3124    [Address on File]      6/8/2023 Bitcoin Cash                              317.33 Customer Transfer
 Confidential Customer Coin Transferee #3124    [Address on File]      6/8/2023 Tether USD                             108.0642 Customer Transfer
 Confidential Customer Coin Transferee #3124    [Address on File]      6/8/2023 Bitcoin                             3.67714423 Customer Transfer
 Confidential Customer Coin Transferee #3124    [Address on File]      6/8/2023 Bitcoin                                      0.5 Customer Transfer
 Confidential Customer Coin Transferee #3124    [Address on File]      6/8/2023 Bitcoin                                      0.3 Customer Transfer
 Confidential Customer Coin Transferee #3125    [Address on File]      6/8/2023 Recover Value USD                  252865.3181 Customer Transfer
 Confidential Customer Coin Transferee #3125    [Address on File]      6/8/2023 Recover Value USD                        100000 Customer Transfer
 Confidential Customer Coin Transferee #3125    [Address on File]      6/8/2023 Bitcoin Cash                                  20 Customer Transfer
 Confidential Customer Coin Transferee #3125    [Address on File]      6/8/2023 Ether                                          1 Customer Transfer
 Confidential Customer Coin Transferee #3125    [Address on File]      6/8/2023 Bitcoin                                        1 Customer Transfer
 Confidential Customer Coin Transferee #3125    [Address on File]      6/8/2023 Bitcoin                                      0.3 Customer Transfer
 Confidential Customer Coin Transferee #3125    [Address on File]      6/8/2023 Bitcoin                                     0.15 Customer Transfer

 Confidential Customer Coin Transferee #3126    [Address on File]      6/8/2023 USD Coin                           122529.1424 Customer Transfer

 Confidential Customer Coin Transferee #3126    [Address on File]      6/5/2023 USD Coin                           5195.651756 Customer Transfer

 Confidential Customer Coin Transferee #3126    [Address on File]      6/8/2023 FLEX Coin                                    5000 Customer Transfer

 Confidential Customer Coin Transferee #3126    [Address on File]      6/8/2023 Ether                                  3.00203304 Customer Transfer

 Confidential Customer Coin Transferee #3126    [Address on File]      6/8/2023 Bitcoin                                        0.3 Customer Transfer

 Confidential Customer Coin Transferee #3126    [Address on File]      6/8/2023 Bitcoin                                      0.15 Customer Transfer

 Confidential Customer Coin Transferee #3126    [Address on File]      6/8/2023 Bitcoin                                       0.15 Customer Transfer
 Confidential Customer Coin Transferee #3127    [Address on File]     5/22/2023 Bitcoin                                 0.0516342 Customer Transfer
 Confidential Customer Coin Transferee #3128    [Address on File]     6/20/2023 Bitcoin                                0.00246833 Customer Transfer
 Confidential Customer Coin Transferee #3129    [Address on File]     6/21/2023 USDC Avalanche)                        244.786682 Customer Transfer
 Confidential Customer Coin Transferee #3130    [Address on File]     5/26/2023 Bitcoin                                0.01829724 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/29/2023 Bitcoin                             0.00524828 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/29/2023 Bitcoin                              0.0035148 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/27/2023 Bitcoin                             0.00260195 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/16/2023 Bitcoin                             0.00182344 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/18/2023 Bitcoin                                0.001818 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/30/2023 Bitcoin                             0.00179039 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/30/2023 Bitcoin                             0.00178676 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/29/2023 Bitcoin                             0.00176481 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/19/2023 Bitcoin                             0.00166319 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/17/2023 Bitcoin                              0.0014717 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/20/2023 Bitcoin                             0.00146906 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/27/2023 Bitcoin                             0.00111858 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/19/2023 Bitcoin                             0.00111151 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/20/2023 Bitcoin                             0.00111042 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/20/2023 Bitcoin                             0.00110797 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/27/2023 Bitcoin                             0.00092856 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/20/2023 Bitcoin                             0.00092549 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/28/2023 Bitcoin                             0.00090124 Customer Transfer
 Confidential Customer Coin Transferee #3131    [Address on File]     5/26/2023 Bitcoin                             0.00074977 Customer Transfer
 Confidential Customer Coin Transferee #3132    [Address on File]     5/18/2023 Bitcoin                             0.02470508 Customer Transfer
 Confidential Customer Coin Transferee #3132    [Address on File]     5/31/2023 Bitcoin                             0.01837508 Customer Transfer
 Confidential Customer Coin Transferee #3132    [Address on File]     5/31/2023 Bitcoin                             0.00747501 Customer Transfer
 Confidential Customer Coin Transferee #3133    [Address on File]     5/26/2023 Bitcoin                             0.08225675 Customer Transfer
 Confidential Customer Coin Transferee #3134    [Address on File]     5/23/2023 Bitcoin                             0.00707739 Customer Transfer
 Confidential Customer Coin Transferee #3135    [Address on File]      6/7/2023 Bitcoin                             0.00583151 Customer Transfer
 Confidential Customer Coin Transferee #3136    [Address on File]     6/19/2023 Bitcoin                             0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #3137    [Address on File]     5/22/2023 Bitcoin                             0.00377973 Customer Transfer
 Confidential Customer Coin Transferee #3137    [Address on File]     5/29/2023 Bitcoin                             0.00370872 Customer Transfer
 Confidential Customer Coin Transferee #3138    [Address on File]     5/21/2023 Bitcoin                             0.01169257 Customer Transfer
 Confidential Customer Coin Transferee #3138    [Address on File]     5/18/2023 Bitcoin                             0.01144223 Customer Transfer
 Confidential Customer Coin Transferee #3138    [Address on File]     5/27/2023 Bitcoin                             0.01121625 Customer Transfer
 Confidential Customer Coin Transferee #3138    [Address on File]     5/24/2023 Bitcoin                             0.01112021 Customer Transfer
 Confidential Customer Coin Transferee #3138    [Address on File]     5/17/2023 Bitcoin                                0.005381 Customer Transfer
 Confidential Customer Coin Transferee #3139    [Address on File]     5/17/2023 Bitcoin                              0.0102767 Customer Transfer
 Confidential Customer Coin Transferee #3140    [Address on File]     6/19/2023 Bitcoin                              0.0003707 Customer Transfer
 Confidential Customer Coin Transferee #3141    [Address on File]     5/21/2023 Bitcoin                             0.00092826 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3141    [Address on File]     5/21/2023 Bitcoin                             0.00074259 Customer Transfer
 Confidential Customer Coin Transferee #3142    [Address on File]     6/15/2023 Bitcoin                             0.00312658 Customer Transfer
 Confidential Customer Coin Transferee #3143    [Address on File]     5/18/2023 Bitcoin                             0.00044968 Customer Transfer
 Confidential Customer Coin Transferee #3143    [Address on File]     5/19/2023 Bitcoin                             0.00016332 Customer Transfer
 Confidential Customer Coin Transferee #3144    [Address on File]     5/31/2023 Bitcoin                             0.02619394 Customer Transfer
 Confidential Customer Coin Transferee #3145    [Address on File]     5/28/2023 Bitcoin                                0.000875 Customer Transfer
 Confidential Customer Coin Transferee #3146    [Address on File]     5/25/2023 Bitcoin                             0.17078676 Customer Transfer
 Confidential Customer Coin Transferee #3147    [Address on File]     5/28/2023 Bitcoin                                     0.11 Customer Transfer
 Confidential Customer Coin Transferee #3148    [Address on File]     5/16/2023 Bitcoin                             0.03227263 Customer Transfer
 Confidential Customer Coin Transferee #3149    [Address on File]     5/28/2023 Bitcoin                             0.00922727 Customer Transfer
 Confidential Customer Coin Transferee #3150    [Address on File]     5/27/2023 Bitcoin                             0.00185553 Customer Transfer
 Confidential Customer Coin Transferee #3151    [Address on File]     6/19/2023 Bitcoin                             0.00005819 Customer Transfer
 Confidential Customer Coin Transferee #3152    [Address on File]     6/19/2023 Bitcoin                             0.00346927 Customer Transfer
 Confidential Customer Coin Transferee #3153    [Address on File]     5/26/2023 Bitcoin                             0.00186118 Customer Transfer
 Confidential Customer Coin Transferee #3153    [Address on File]     5/19/2023 Bitcoin                             0.00169805 Customer Transfer
 Confidential Customer Coin Transferee #3154    [Address on File]     5/25/2023 Bitcoin                             0.00461787 Customer Transfer
 Confidential Customer Coin Transferee #3154    [Address on File]     5/16/2023 Bitcoin                             0.00442871 Customer Transfer
 Confidential Customer Coin Transferee #3155    [Address on File]     6/20/2023 Bitcoin                             0.00064978 Customer Transfer
 Confidential Customer Coin Transferee #3156    [Address on File]     6/20/2023 Bitcoin                              0.0017423 Customer Transfer
 Confidential Customer Coin Transferee #3157    [Address on File]     5/20/2023 Bitcoin                             0.10026348 Customer Transfer
 Confidential Customer Coin Transferee #3158    [Address on File]     6/19/2023 Bitcoin                             0.01654377 Customer Transfer
 Confidential Customer Coin Transferee #3159    [Address on File]     5/23/2023 Bitcoin                             0.03580888 Customer Transfer
 Confidential Customer Coin Transferee #3160    [Address on File]     6/17/2023 Bitcoin                             0.04629955 Customer Transfer
 Confidential Customer Coin Transferee #3161    [Address on File]     5/22/2023 Bitcoin                             0.00014423 Customer Transfer

 Confidential Customer Coin Transferee #3162    [Address on File]      6/9/2023 Bitcoin                                2.00140612 Customer Transfer
 Confidential Customer Coin Transferee #3163    [Address on File]     5/20/2023 Bitcoin                                 0.0018066 Customer Transfer
 Confidential Customer Coin Transferee #3164    [Address on File]     5/26/2023 Bitcoin                                0.00903818 Customer Transfer
 Confidential Customer Coin Transferee #3164    [Address on File]     5/19/2023 Bitcoin                                0.00444569 Customer Transfer
 Confidential Customer Coin Transferee #3165    [Address on File]     5/29/2023 Bitcoin                                0.01444069 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/27/2023 Bitcoin                                0.02232373 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/21/2023 Bitcoin                                0.02200659 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/23/2023 Bitcoin                                0.02192748 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/25/2023 Bitcoin                                0.01901966 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/27/2023 Bitcoin                                 0.0185755 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/21/2023 Bitcoin                                0.01828302 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/28/2023 Bitcoin                              0.0182704 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/30/2023 Bitcoin                             0.01794262 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/30/2023 Bitcoin                             0.01787467 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/23/2023 Bitcoin                             0.01571801 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/25/2023 Bitcoin                             0.01523357 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/27/2023 Bitcoin                             0.01489758 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/19/2023 Bitcoin                             0.01487636 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/27/2023 Bitcoin                             0.01487494 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/27/2023 Bitcoin                              0.0148632 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/17/2023 Bitcoin                             0.01486073 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/24/2023 Bitcoin                             0.01485483 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/20/2023 Bitcoin                             0.01481673 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/18/2023 Bitcoin                             0.01451126 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/28/2023 Bitcoin                             0.01443853 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/29/2023 Bitcoin                             0.01412384 Customer Transfer
 Confidential Customer Coin Transferee #3166    [Address on File]     5/21/2023 Bitcoin                             0.01101488 Customer Transfer
 Confidential Customer Coin Transferee #3167    [Address on File]     6/19/2023 Bitcoin                             0.00057986 Customer Transfer
 Confidential Customer Coin Transferee #3168    [Address on File]      6/1/2023 Bitcoin                              0.1099275 Customer Transfer
 Confidential Customer Coin Transferee #3169    [Address on File]     6/20/2023 Bitcoin                             0.00005506 Customer Transfer
 Confidential Customer Coin Transferee #3170    [Address on File]     6/15/2023 Bitcoin                              0.0019617 Customer Transfer
 Confidential Customer Coin Transferee #3170    [Address on File]     6/12/2023 Bitcoin                             0.00185691 Customer Transfer
 Confidential Customer Coin Transferee #3170    [Address on File]     5/24/2023 Bitcoin                             0.00074691 Customer Transfer
 Confidential Customer Coin Transferee #3170    [Address on File]     5/17/2023 Bitcoin                             0.00073438 Customer Transfer
 Confidential Customer Coin Transferee #3171    [Address on File]     5/22/2023 Bitcoin                             0.01062717 Customer Transfer
 Confidential Customer Coin Transferee #3172    [Address on File]     6/16/2023 Ether                                  0.117893 Customer Transfer
 Confidential Customer Coin Transferee #3172    [Address on File]     6/16/2023 Ether                                   0.11769 Customer Transfer
 Confidential Customer Coin Transferee #3172    [Address on File]     6/16/2023 Ether                                  0.057868 Customer Transfer
 Confidential Customer Coin Transferee #3173    [Address on File]     6/20/2023 Bitcoin                             0.00004451 Customer Transfer
 Confidential Customer Coin Transferee #3174    [Address on File]     5/24/2023 Bitcoin                             0.00092944 Customer Transfer
 Confidential Customer Coin Transferee #3174    [Address on File]     5/17/2023 Bitcoin                             0.00086137 Customer Transfer
 Confidential Customer Coin Transferee #3175    [Address on File]     6/19/2023 Bitcoin                             0.00128167 Customer Transfer
 Confidential Customer Coin Transferee #3176    [Address on File]     5/26/2023 Bitcoin                             0.02714452 Customer Transfer
 Confidential Customer Coin Transferee #3176    [Address on File]     5/23/2023 Bitcoin                             0.02611595 Customer Transfer
 Confidential Customer Coin Transferee #3177    [Address on File]     5/31/2023 Bitcoin                             0.00107641 Customer Transfer
 Confidential Customer Coin Transferee #3178    [Address on File]     5/17/2023 Bitcoin                             0.00049589 Customer Transfer
 Confidential Customer Coin Transferee #3179    [Address on File]     5/31/2023 Bitcoin                              0.0027993 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3180    [Address on File]     6/20/2023 Bitcoin                             0.03947354 Customer Transfer
 Confidential Customer Coin Transferee #3181    [Address on File]     5/18/2023 Bitcoin                             0.00530868 Customer Transfer
 Confidential Customer Coin Transferee #3181    [Address on File]     5/18/2023 Bitcoin                             0.00530867 Customer Transfer
 Confidential Customer Coin Transferee #3182    [Address on File]     5/17/2023 Bitcoin                             0.00364584 Customer Transfer
 Confidential Customer Coin Transferee #3182    [Address on File]     5/22/2023 Bitcoin                             0.00090195 Customer Transfer

 Confidential Customer Coin Transferee #3183    [Address on File]     5/20/2023 Tether USD                                 3680.37 Customer Transfer
 Confidential Customer Coin Transferee #3184    [Address on File]     5/20/2023 Bitcoin                                0.00343507 Customer Transfer

 Confidential Customer Coin Transferee #3185    [Address on File]     5/26/2023 Bitcoin                                  0.001241 Customer Transfer

 Confidential Customer Coin Transferee #3185    [Address on File]     6/20/2023 Bitcoin                                     0.001 Customer Transfer

 Confidential Customer Coin Transferee #3186    [Address on File]     5/29/2023 Bitcoin                                     0.183 Customer Transfer

 Confidential Customer Coin Transferee #3186    [Address on File]     6/21/2023 Bitcoin                                  0.075644 Customer Transfer

 Confidential Customer Coin Transferee #3187    [Address on File]     5/26/2023 Bitcoin                                0.02713535 Customer Transfer
 Confidential Customer Coin Transferee #3188    [Address on File]     5/22/2023 Bitcoin                                0.09891086 Customer Transfer
 Confidential Customer Coin Transferee #3188    [Address on File]     5/22/2023 Bitcoin                                      0.0001 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/25/2023 Bitcoin                                0.00046222 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/22/2023 Bitcoin                                0.00040345 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/24/2023 Bitcoin                                0.00037935 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/23/2023 Bitcoin                                0.00037888 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/27/2023 Bitcoin                                0.00037188 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/29/2023 Bitcoin                                0.00024726 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/22/2023 Bitcoin                                0.00024412 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/21/2023 Bitcoin                                0.00024025 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/28/2023 Bitcoin                                0.00021908 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/18/2023 Bitcoin                                0.00019257 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/31/2023 Bitcoin                                 0.0001493 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/31/2023 Bitcoin                                 0.0000824 Customer Transfer
 Confidential Customer Coin Transferee #3189    [Address on File]     5/31/2023 Bitcoin                                0.00005028 Customer Transfer
 Confidential Customer Coin Transferee #3190    [Address on File]     5/24/2023 Bitcoin                                   0.001625 Customer Transfer
 Confidential Customer Coin Transferee #3190    [Address on File]     5/17/2023 Bitcoin                                0.00157284 Customer Transfer
 Confidential Customer Coin Transferee #3191    [Address on File]     5/16/2023 Bitcoin                                0.00091755 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3192    [Address on File]     5/29/2023 Bitcoin                             0.05527143 Customer Transfer
 Confidential Customer Coin Transferee #3192    [Address on File]     5/19/2023 Bitcoin                             0.05066936 Customer Transfer
 Confidential Customer Coin Transferee #3192    [Address on File]     5/24/2023 Bitcoin                             0.04535776 Customer Transfer
 Confidential Customer Coin Transferee #3193    [Address on File]     5/27/2023 Bitcoin                             0.00185876 Customer Transfer
 Confidential Customer Coin Transferee #3194    [Address on File]     6/19/2023 Bitcoin                             0.00005537 Customer Transfer
 Confidential Customer Coin Transferee #3195    [Address on File]     5/19/2023 Bitcoin                             0.00608791 Customer Transfer
 Confidential Customer Coin Transferee #3196    [Address on File]     5/24/2023 Bitcoin                             0.00184925 Customer Transfer
 Confidential Customer Coin Transferee #3196    [Address on File]     5/29/2023 Bitcoin                             0.00179876 Customer Transfer

 Confidential Customer Coin Transferee #3197    [Address on File]     5/24/2023 Bitcoin                                        0.2 Customer Transfer

 Confidential Customer Coin Transferee #3197    [Address on File]     5/17/2023 Bitcoin                                     0.155 Customer Transfer

 Confidential Customer Coin Transferee #3197    [Address on File]     5/17/2023 Bitcoin                                        0.05 Customer Transfer
 Confidential Customer Coin Transferee #3198    [Address on File]     5/18/2023 Bitcoin                                0.00576141 Customer Transfer
 Confidential Customer Coin Transferee #3198    [Address on File]     5/23/2023 Bitcoin                                0.00473781 Customer Transfer
 Confidential Customer Coin Transferee #3198    [Address on File]     5/22/2023 Bitcoin                                 0.0042995 Customer Transfer
 Confidential Customer Coin Transferee #3198    [Address on File]     5/16/2023 Bitcoin                                 0.0029932 Customer Transfer
 Confidential Customer Coin Transferee #3198    [Address on File]     5/24/2023 Bitcoin                                0.00180104 Customer Transfer
 Confidential Customer Coin Transferee #3198    [Address on File]     5/23/2023 Bitcoin                                0.00170027 Customer Transfer
 Confidential Customer Coin Transferee #3198    [Address on File]     5/19/2023 Bitcoin                                0.00091375 Customer Transfer
 Confidential Customer Coin Transferee #3198    [Address on File]     5/31/2023 Bitcoin                                0.00031111 Customer Transfer
 Confidential Customer Coin Transferee #3199    [Address on File]     5/17/2023 Bitcoin                                0.00521223 Customer Transfer
 Confidential Customer Coin Transferee #3199    [Address on File]     5/19/2023 Bitcoin                                0.00310921 Customer Transfer
 Confidential Customer Coin Transferee #3199    [Address on File]     5/19/2023 Bitcoin                                0.00081485 Customer Transfer
 Confidential Customer Coin Transferee #3199    [Address on File]     5/17/2023 Bitcoin                                    0.00056 Customer Transfer
 Confidential Customer Coin Transferee #3200    [Address on File]     5/18/2023 Bitcoin                                0.02829775 Customer Transfer
 Confidential Customer Coin Transferee #3201    [Address on File]     6/19/2023 Bitcoin                                0.00006004 Customer Transfer
 Confidential Customer Coin Transferee #3202    [Address on File]     6/20/2023 Bitcoin                                0.00070065 Customer Transfer
 Confidential Customer Coin Transferee #3203    [Address on File]     6/19/2023 Bitcoin                                0.00005949 Customer Transfer
 Confidential Customer Coin Transferee #3204    [Address on File]     6/19/2023 Bitcoin                                0.01036517 Customer Transfer
 Confidential Customer Coin Transferee #3205    [Address on File]     6/19/2023 Bitcoin                                0.00656422 Customer Transfer
 Confidential Customer Coin Transferee #3206    [Address on File]     5/17/2023 Bitcoin                                0.00407981 Customer Transfer
 Confidential Customer Coin Transferee #3206    [Address on File]     5/17/2023 Bitcoin                                0.00106537 Customer Transfer
 Confidential Customer Coin Transferee #3207    [Address on File]      6/7/2023 Bitcoin                                0.00082321 Customer Transfer
 Confidential Customer Coin Transferee #3208    [Address on File]     5/27/2023 Bitcoin                                0.00168411 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3209    [Address on File]     5/29/2023 Bitcoin                             0.00781812 Customer Transfer
 Confidential Customer Coin Transferee #3209    [Address on File]     5/22/2023 Bitcoin                             0.00647916 Customer Transfer
 Confidential Customer Coin Transferee #3209    [Address on File]     5/29/2023 Bitcoin                             0.00575401 Customer Transfer
 Confidential Customer Coin Transferee #3209    [Address on File]     5/22/2023 Bitcoin                             0.00203664 Customer Transfer
 Confidential Customer Coin Transferee #3209    [Address on File]     5/30/2023 Bitcoin                             0.00178994 Customer Transfer
 Confidential Customer Coin Transferee #3210    [Address on File]     6/19/2023 Bitcoin                             0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #3211    [Address on File]     6/20/2023 Bitcoin                             0.00012207 Customer Transfer
 Confidential Customer Coin Transferee #3212    [Address on File]      6/6/2023 Tether USD                           1484.8186 Customer Transfer
 Confidential Customer Coin Transferee #3213    [Address on File]     5/24/2023 Tether USD                               1800.7 Customer Transfer
 Confidential Customer Coin Transferee #3214    [Address on File]     5/19/2023 Bitcoin                              0.7095304 Customer Transfer
 Confidential Customer Coin Transferee #3214    [Address on File]     5/16/2023 Bitcoin                              0.7027473 Customer Transfer
 Confidential Customer Coin Transferee #3214    [Address on File]     5/23/2023 Bitcoin                             0.36425348 Customer Transfer
 Confidential Customer Coin Transferee #3215    [Address on File]     6/12/2023 USDC Avalanche)                     193.342662 Customer Transfer
 Confidential Customer Coin Transferee #3216    [Address on File]     5/23/2023 Bitcoin                             0.01002277 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     5/19/2023 USDC Avalanche)                    1495.162902 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     5/26/2023 USDC Avalanche)                        996.161535 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     5/22/2023 USDC Avalanche)                        996.151539 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     5/17/2023 USDC Avalanche)                        996.021989 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]      6/5/2023 USDC Avalanche)                        546.801279 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     6/14/2023 USDC Avalanche)                        496.911235 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     5/20/2023 USDC Avalanche)                        396.921846 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     6/10/2023 Cosmos Hub ATOM)                       376.928691 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     6/16/2023 USDC Avalanche)                        256.452416 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     6/19/2023 USDC Avalanche)                        206.717831 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     6/19/2023 USDC Avalanche)                        196.760689 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date             Crypto Currency           Unit Count          or Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     6/20/2023 Cosmos Hub ATOM)                       136.564882 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     6/20/2023 Cosmos Hub ATOM)                       136.247723 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     5/29/2023 Solana                                  48.209864 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     5/17/2023 Solana                                  48.163285 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     5/31/2023 Solana                                  47.049551 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     5/31/2023 Solana                                  47.027358 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     5/25/2023 Solana                                  38.656492 Customer Transfer

 Confidential Customer Coin Transferee #3217    [Address on File]     5/25/2023 Solana                                  38.656492 Customer Transfer
 Confidential Customer Coin Transferee #3218    [Address on File]     5/25/2023 Bitcoin                                0.03722341 Customer Transfer
 Confidential Customer Coin Transferee #3218    [Address on File]     5/17/2023 Bitcoin                                0.02586646 Customer Transfer
 Confidential Customer Coin Transferee #3218    [Address on File]     5/17/2023 Bitcoin                                0.02575116 Customer Transfer
 Confidential Customer Coin Transferee #3218    [Address on File]     5/19/2023 Bitcoin                                0.01849227 Customer Transfer
 Confidential Customer Coin Transferee #3219    [Address on File]     5/23/2023 Bitcoin                                0.00207194 Customer Transfer
 Confidential Customer Coin Transferee #3220    [Address on File]     5/23/2023 USDC Avalanche)                         32.500248 Customer Transfer
 Confidential Customer Coin Transferee #3221    [Address on File]     5/18/2023 Bitcoin                                0.01042066 Customer Transfer
 Confidential Customer Coin Transferee #3222    [Address on File]     5/25/2023 Bitcoin                                0.15029444 Customer Transfer
 Confidential Customer Coin Transferee #3222    [Address on File]     5/23/2023 Bitcoin                                 0.0910997 Customer Transfer
 Confidential Customer Coin Transferee #3222    [Address on File]     5/25/2023 Bitcoin                                0.01517418 Customer Transfer
 Confidential Customer Coin Transferee #3223    [Address on File]     5/19/2023 Bitcoin                                0.00926692 Customer Transfer
 Confidential Customer Coin Transferee #3223    [Address on File]     5/24/2023 Bitcoin                                0.00558238 Customer Transfer
 Confidential Customer Coin Transferee #3224    [Address on File]     5/25/2023 Bitcoin                                0.05306145 Customer Transfer
 Confidential Customer Coin Transferee #3224    [Address on File]     5/18/2023 Bitcoin                                0.00842439 Customer Transfer
 Confidential Customer Coin Transferee #3225    [Address on File]     6/19/2023 Bitcoin                                0.00046372 Customer Transfer
 Confidential Customer Coin Transferee #3226    [Address on File]     5/16/2023 Bitcoin                                   0.159287 Customer Transfer
 Confidential Customer Coin Transferee #3227    [Address on File]     5/22/2023 Bitcoin                                0.00018519 Customer Transfer
 Confidential Customer Coin Transferee #3227    [Address on File]     5/16/2023 Bitcoin                                0.00018413 Customer Transfer
 Confidential Customer Coin Transferee #3228    [Address on File]     5/23/2023 Bitcoin                                0.00044118 Customer Transfer
 Confidential Customer Coin Transferee #3228    [Address on File]     5/31/2023 Bitcoin                                0.00035177 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #3228    [Address on File]     5/27/2023 Bitcoin                                0.000212 Customer Transfer
 Confidential Customer Coin Transferee #3228    [Address on File]     5/28/2023 Bitcoin                             0.00017927 Customer Transfer
 Confidential Customer Coin Transferee #3228    [Address on File]     5/31/2023 Bitcoin                             0.00010194 Customer Transfer
 Confidential Customer Coin Transferee #3229    [Address on File]     6/12/2023 Bitcoin                             0.01904309 Customer Transfer
 Confidential Customer Coin Transferee #3229    [Address on File]     5/22/2023 Bitcoin                             0.01285318 Customer Transfer
 Confidential Customer Coin Transferee #3229    [Address on File]     6/20/2023 Bitcoin                             0.00398674 Customer Transfer
 Confidential Customer Coin Transferee #3230    [Address on File]     5/22/2023 Bitcoin                             0.00589045 Customer Transfer
 Confidential Customer Coin Transferee #3231    [Address on File]     5/16/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #3232    [Address on File]      6/8/2023 Bitcoin                             0.00344382 Customer Transfer
 Confidential Customer Coin Transferee #3233    [Address on File]     6/19/2023 Bitcoin                              0.0034743 Customer Transfer
 Confidential Customer Coin Transferee #3234    [Address on File]     6/20/2023 Bitcoin                             0.00171973 Customer Transfer
 Confidential Customer Coin Transferee #3235    [Address on File]     5/24/2023 Bitcoin                             0.00240951 Customer Transfer
 Confidential Customer Coin Transferee #3235    [Address on File]     5/19/2023 Bitcoin                             0.00224436 Customer Transfer
 Confidential Customer Coin Transferee #3235    [Address on File]     5/16/2023 Bitcoin                             0.00220738 Customer Transfer
 Confidential Customer Coin Transferee #3236    [Address on File]     6/19/2023 Bitcoin                             0.00618633 Customer Transfer
 Confidential Customer Coin Transferee #3237    [Address on File]     5/20/2023 Bitcoin                             0.01043743 Customer Transfer
 Confidential Customer Coin Transferee #3238    [Address on File]     6/19/2023 Bitcoin                             0.00057931 Customer Transfer
 Confidential Customer Coin Transferee #3239    [Address on File]     5/31/2023 Bitcoin                                   0.0148 Customer Transfer
 Confidential Customer Coin Transferee #3240    [Address on File]     6/12/2023 Bitcoin                             0.00096981 Customer Transfer
 Confidential Customer Coin Transferee #3241    [Address on File]     5/23/2023 Bitcoin                             0.00370331 Customer Transfer
 Confidential Customer Coin Transferee #3242    [Address on File]     5/30/2023 Bitcoin                             0.04458791 Customer Transfer
 Confidential Customer Coin Transferee #3243    [Address on File]     5/30/2023 Bitcoin                             0.04785674 Customer Transfer
 Confidential Customer Coin Transferee #3243    [Address on File]     5/21/2023 Bitcoin                             0.01113297 Customer Transfer
 Confidential Customer Coin Transferee #3244    [Address on File]     5/23/2023 Bitcoin                             0.04850315 Customer Transfer
 Confidential Customer Coin Transferee #3244    [Address on File]     5/23/2023 Bitcoin                             0.04695404 Customer Transfer
 Confidential Customer Coin Transferee #3244    [Address on File]     5/26/2023 Bitcoin                             0.03511117 Customer Transfer
 Confidential Customer Coin Transferee #3244    [Address on File]     5/22/2023 Bitcoin                             0.02842378 Customer Transfer
 Confidential Customer Coin Transferee #3244    [Address on File]     5/19/2023 Bitcoin                             0.02575776 Customer Transfer
 Confidential Customer Coin Transferee #3244    [Address on File]     5/17/2023 Bitcoin                             0.01263233 Customer Transfer
 Confidential Customer Coin Transferee #3244    [Address on File]     5/24/2023 Bitcoin                             0.01042604 Customer Transfer
 Confidential Customer Coin Transferee #3244    [Address on File]     5/26/2023 Bitcoin                             0.00902067 Customer Transfer
 Confidential Customer Coin Transferee #3244    [Address on File]     5/18/2023 Bitcoin                             0.00319047 Customer Transfer
 Confidential Customer Coin Transferee #3245    [Address on File]     6/21/2023 Ether                               0.00266852 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/23/2023 Bitcoin                             0.00141343 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/22/2023 Bitcoin                             0.00107401 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/22/2023 Bitcoin                             0.00107275 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/22/2023 Bitcoin                             0.00106974 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/17/2023 Bitcoin                             0.00101865 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/20/2023 Bitcoin                             0.00089553 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/30/2023 Bitcoin                             0.00086106 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/20/2023 Bitcoin                             0.00077798 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/25/2023 Bitcoin                             0.00073014 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/28/2023 Bitcoin                             0.00062031 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/31/2023 Bitcoin                             0.00052859 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/17/2023 Bitcoin                             0.00046844 Customer Transfer
 Confidential Customer Coin Transferee #3246    [Address on File]     5/23/2023 Bitcoin                             0.00035066 Customer Transfer
 Confidential Customer Coin Transferee #3247    [Address on File]     5/24/2023 Bitcoin                             0.00389882 Customer Transfer
 Confidential Customer Coin Transferee #3247    [Address on File]     5/25/2023 Bitcoin                             0.00379546 Customer Transfer
 Confidential Customer Coin Transferee #3247    [Address on File]     5/28/2023 Bitcoin                             0.00197265 Customer Transfer
 Confidential Customer Coin Transferee #3247    [Address on File]     5/21/2023 Bitcoin                             0.00166197 Customer Transfer
 Confidential Customer Coin Transferee #3247    [Address on File]     5/21/2023 Bitcoin                             0.00139769 Customer Transfer
 Confidential Customer Coin Transferee #3247    [Address on File]     5/17/2023 Bitcoin                             0.00121054 Customer Transfer
 Confidential Customer Coin Transferee #3247    [Address on File]     5/28/2023 Bitcoin                             0.00120543 Customer Transfer
 Confidential Customer Coin Transferee #3247    [Address on File]     5/17/2023 Bitcoin                             0.00093725 Customer Transfer
 Confidential Customer Coin Transferee #3247    [Address on File]     5/28/2023 Bitcoin                             0.00091483 Customer Transfer
 Confidential Customer Coin Transferee #3247    [Address on File]     5/18/2023 Bitcoin                             0.00090867 Customer Transfer
 Confidential Customer Coin Transferee #3247    [Address on File]     5/17/2023 Bitcoin                             0.00018192 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/23/2023 Bitcoin                             0.00162877 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/27/2023 Bitcoin                             0.00130475 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/23/2023 Bitcoin                             0.00109653 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/27/2023 Bitcoin                             0.00092881 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/20/2023 Bitcoin                              0.0009201 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/21/2023 Bitcoin                             0.00091935 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/21/2023 Bitcoin                             0.00091628 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/24/2023 Bitcoin                             0.00090959 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/24/2023 Bitcoin                              0.0008722 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/26/2023 Bitcoin                             0.00082628 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/17/2023 Bitcoin                             0.00080944 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/21/2023 Bitcoin                             0.00080817 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/18/2023 Bitcoin                             0.00080753 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/21/2023 Bitcoin                             0.00080745 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/23/2023 Bitcoin                             0.00080365 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/28/2023 Bitcoin                             0.00080361 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/29/2023 Bitcoin                             0.00078901 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/30/2023 Bitcoin                              0.0007881 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/25/2023 Bitcoin                             0.00075714 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/25/2023 Bitcoin                             0.00075162 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/25/2023 Bitcoin                             0.00075157 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/27/2023 Bitcoin                             0.00074415 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/21/2023 Bitcoin                             0.00074243 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/27/2023 Bitcoin                             0.00074114 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/29/2023 Bitcoin                             0.00073702 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/31/2023 Bitcoin                              0.0007318 Customer Transfer
 Confidential Customer Coin Transferee #3248    [Address on File]     5/30/2023 Bitcoin                              0.0007175 Customer Transfer
 Confidential Customer Coin Transferee #3249    [Address on File]     5/30/2023 Bitcoin                             0.03914209 Customer Transfer
 Confidential Customer Coin Transferee #3250    [Address on File]     5/30/2023 USDC Solana)                               2500 Customer Transfer
 Confidential Customer Coin Transferee #3250    [Address on File]     5/31/2023 USDC Solana)                               2500 Customer Transfer
 Confidential Customer Coin Transferee #3251    [Address on File]      6/9/2023 USD Coin                             71.986807 Customer Transfer
 Confidential Customer Coin Transferee #3251    [Address on File]     5/25/2023 USD Coin                             31.094452 Customer Transfer
 Confidential Customer Coin Transferee #3251    [Address on File]     5/25/2023 USD Coin                             31.094452 Customer Transfer
 Confidential Customer Coin Transferee #3252    [Address on File]     5/27/2023 Bitcoin                             0.01548896 Customer Transfer
 Confidential Customer Coin Transferee #3252    [Address on File]     5/19/2023 Bitcoin                             0.01114324 Customer Transfer
 Confidential Customer Coin Transferee #3253    [Address on File]     5/25/2023 Bitcoin                             0.12267392 Customer Transfer
 Confidential Customer Coin Transferee #3253    [Address on File]     6/16/2023 Bitcoin                             0.10246539 Customer Transfer
 Confidential Customer Coin Transferee #3254    [Address on File]     6/19/2023 Bitcoin                             0.00614078 Customer Transfer
 Confidential Customer Coin Transferee #3255    [Address on File]     6/20/2023 Bitcoin                             0.00289821 Customer Transfer
 Confidential Customer Coin Transferee #3256    [Address on File]     5/19/2023 Bitcoin                             0.04022676 Customer Transfer
 Confidential Customer Coin Transferee #3257    [Address on File]     6/20/2023 Bitcoin                                0.000118 Customer Transfer
 Confidential Customer Coin Transferee #3258    [Address on File]     6/19/2023 Bitcoin                             0.00351462 Customer Transfer
 Confidential Customer Coin Transferee #3259    [Address on File]     6/19/2023 Bitcoin                             0.00288875 Customer Transfer
 Confidential Customer Coin Transferee #3260    [Address on File]     6/20/2023 Bitcoin                             0.00005819 Customer Transfer
 Confidential Customer Coin Transferee #3261    [Address on File]     5/24/2023 Bitcoin                             0.00727046 Customer Transfer
 Confidential Customer Coin Transferee #3262    [Address on File]     6/19/2023 Bitcoin                             0.00412088 Customer Transfer
 Confidential Customer Coin Transferee #3263    [Address on File]     5/23/2023 Bitcoin                             0.00918793 Customer Transfer
 Confidential Customer Coin Transferee #3263    [Address on File]     6/13/2023 Bitcoin                             0.00555448 Customer Transfer
 Confidential Customer Coin Transferee #3263    [Address on File]     6/20/2023 Bitcoin                             0.00154772 Customer Transfer
 Confidential Customer Coin Transferee #3264    [Address on File]     6/19/2023 Bitcoin                             0.00005592 Customer Transfer
 Confidential Customer Coin Transferee #3265    [Address on File]     5/21/2023 Bitcoin                             0.00702586 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3265    [Address on File]     5/31/2023 Bitcoin                             0.00158819 Customer Transfer
 Confidential Customer Coin Transferee #3265    [Address on File]     5/17/2023 Bitcoin                             0.00074727 Customer Transfer
 Confidential Customer Coin Transferee #3265    [Address on File]     5/23/2023 Bitcoin                             0.00035293 Customer Transfer
 Confidential Customer Coin Transferee #3265    [Address on File]     5/30/2023 Bitcoin                             0.00030061 Customer Transfer
 Confidential Customer Coin Transferee #3265    [Address on File]     5/16/2023 Bitcoin                             0.00022042 Customer Transfer
 Confidential Customer Coin Transferee #3266    [Address on File]     5/21/2023 Bitcoin                             0.00042229 Customer Transfer
 Confidential Customer Coin Transferee #3267    [Address on File]     5/18/2023 Bitcoin                             0.01444519 Customer Transfer
 Confidential Customer Coin Transferee #3268    [Address on File]     5/16/2023 Bitcoin                             0.00158187 Customer Transfer
 Confidential Customer Coin Transferee #3268    [Address on File]     5/17/2023 Bitcoin                             0.00148565 Customer Transfer
 Confidential Customer Coin Transferee #3268    [Address on File]     5/16/2023 Bitcoin                             0.00132457 Customer Transfer
 Confidential Customer Coin Transferee #3268    [Address on File]     5/18/2023 Bitcoin                              0.0012761 Customer Transfer
 Confidential Customer Coin Transferee #3268    [Address on File]     5/19/2023 Bitcoin                             0.00103743 Customer Transfer
 Confidential Customer Coin Transferee #3268    [Address on File]     5/20/2023 Bitcoin                             0.00091858 Customer Transfer
 Confidential Customer Coin Transferee #3268    [Address on File]     5/19/2023 Bitcoin                             0.00085265 Customer Transfer
 Confidential Customer Coin Transferee #3268    [Address on File]     5/20/2023 Bitcoin                             0.00029402 Customer Transfer
 Confidential Customer Coin Transferee #3269    [Address on File]     5/24/2023 Bitcoin                             0.00377746 Customer Transfer
 Confidential Customer Coin Transferee #3269    [Address on File]     5/18/2023 Bitcoin                             0.00363557 Customer Transfer
 Confidential Customer Coin Transferee #3269    [Address on File]     5/25/2023 Bitcoin                             0.00037525 Customer Transfer
 Confidential Customer Coin Transferee #3270    [Address on File]     5/26/2023 Bitcoin                             0.00183285 Customer Transfer
 Confidential Customer Coin Transferee #3271    [Address on File]     5/26/2023 Bitcoin                             0.00002266 Customer Transfer
 Confidential Customer Coin Transferee #3272    [Address on File]     6/19/2023 Bitcoin                             0.00034957 Customer Transfer
 Confidential Customer Coin Transferee #3273    [Address on File]     5/28/2023 Bitcoin                              0.0059387 Customer Transfer
 Confidential Customer Coin Transferee #3273    [Address on File]     5/19/2023 Bitcoin                             0.00297065 Customer Transfer
 Confidential Customer Coin Transferee #3274    [Address on File]     6/20/2023 Bitcoin                             0.00035018 Customer Transfer
 Confidential Customer Coin Transferee #3275    [Address on File]      6/7/2023 Bitcoin                             0.00073853 Customer Transfer
 Confidential Customer Coin Transferee #3275    [Address on File]      6/8/2023 Bitcoin                             0.00037622 Customer Transfer
 Confidential Customer Coin Transferee #3276    [Address on File]     6/16/2023 Bitcoin                              0.0017181 Customer Transfer
 Confidential Customer Coin Transferee #3277    [Address on File]     5/25/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #3278    [Address on File]     6/20/2023 Bitcoin                             0.00057793 Customer Transfer
 Confidential Customer Coin Transferee #3279    [Address on File]     5/16/2023 Bitcoin                                0.005469 Customer Transfer
 Confidential Customer Coin Transferee #3280    [Address on File]     5/19/2023 Bitcoin                             0.00329568 Customer Transfer
 Confidential Customer Coin Transferee #3280    [Address on File]     5/26/2023 Bitcoin                             0.00136961 Customer Transfer
 Confidential Customer Coin Transferee #3281    [Address on File]     5/28/2023 Bitcoin                                     0.18 Customer Transfer
 Confidential Customer Coin Transferee #3281    [Address on File]     5/16/2023 Bitcoin                             0.12277601 Customer Transfer
 Confidential Customer Coin Transferee #3281    [Address on File]     5/30/2023 Bitcoin                                    0.033 Customer Transfer
 Confidential Customer Coin Transferee #3281    [Address on File]     5/28/2023 Bitcoin                                    0.018 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #3282    [Address on File]     5/19/2023 Bitcoin                                0.04445625 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/28/2023 Bitcoin                                0.03290443 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/27/2023 Bitcoin                                 0.0328736 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/30/2023 Bitcoin                                0.02866037 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/29/2023 Bitcoin                                0.02828159 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/18/2023 Bitcoin                                0.02181552 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/22/2023 Bitcoin                                0.02144541 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/18/2023 Bitcoin                                0.01868091 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/18/2023 Bitcoin                                0.01600285 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/22/2023 Bitcoin                                 0.0148092 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/22/2023 Bitcoin                                0.01478746 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/19/2023 Bitcoin                                0.01107378 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/22/2023 Bitcoin                                0.00923918 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/19/2023 Bitcoin                                0.00553553 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/20/2023 Bitcoin                                0.00517177 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/23/2023 Bitcoin                                 0.0045774 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/18/2023 Bitcoin                                0.00371838 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/20/2023 Bitcoin                                0.00294163 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/20/2023 Bitcoin                                0.00277068 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/25/2023 Bitcoin                                 0.0019827 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/25/2023 Bitcoin                                0.00198175 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/20/2023 Bitcoin                                0.00124595 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/26/2023 Bitcoin                                0.00093848 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/19/2023 Bitcoin                                0.00092446 Customer Transfer
 Confidential Customer Coin Transferee #3283    [Address on File]     5/23/2023 Bitcoin                                0.00031052 Customer Transfer
 Confidential Customer Coin Transferee #3284    [Address on File]     5/27/2023 Bitcoin                                0.00055619 Customer Transfer
 Confidential Customer Coin Transferee #3285    [Address on File]     5/24/2023 Bitcoin                                0.00279163 Customer Transfer
 Confidential Customer Coin Transferee #3286    [Address on File]     5/24/2023 Bitcoin                                       0.15 Customer Transfer
 Confidential Customer Coin Transferee #3286    [Address on File]     5/25/2023 Bitcoin                                0.09158609 Customer Transfer
 Confidential Customer Coin Transferee #3287    [Address on File]     5/22/2023 Bitcoin                                0.00453019 Customer Transfer
 Confidential Customer Coin Transferee #3288    [Address on File]     6/19/2023 Bitcoin                                0.00005807 Customer Transfer
 Confidential Customer Coin Transferee #3289    [Address on File]     5/26/2023 Bitcoin                                0.01386099 Customer Transfer
 Confidential Customer Coin Transferee #3290    [Address on File]     6/20/2023 Bitcoin                                0.00975408 Customer Transfer
 Confidential Customer Coin Transferee #3291    [Address on File]     6/19/2023 Bitcoin                                0.00004329 Customer Transfer
 Confidential Customer Coin Transferee #3292    [Address on File]     5/24/2023 Bitcoin                                0.00869429 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3293    [Address on File]     6/19/2023 Bitcoin                             0.00184566 Customer Transfer
 Confidential Customer Coin Transferee #3294    [Address on File]     5/22/2023 Bitcoin                             0.00176851 Customer Transfer
 Confidential Customer Coin Transferee #3295    [Address on File]     6/20/2023 Bitcoin                             0.00702479 Customer Transfer
 Confidential Customer Coin Transferee #3296    [Address on File]     5/26/2023 Bitcoin                             0.00366961 Customer Transfer
 Confidential Customer Coin Transferee #3296    [Address on File]     5/19/2023 Bitcoin                             0.00345875 Customer Transfer
 Confidential Customer Coin Transferee #3297    [Address on File]     5/25/2023 Bitcoin                             0.01090383 Customer Transfer
 Confidential Customer Coin Transferee #3298    [Address on File]     6/20/2023 Bitcoin                             0.00242457 Customer Transfer
 Confidential Customer Coin Transferee #3299    [Address on File]     6/20/2023 Bitcoin                             0.00057902 Customer Transfer
 Confidential Customer Coin Transferee #3300    [Address on File]     5/24/2023 Bitcoin                             0.01065271 Customer Transfer
 Confidential Customer Coin Transferee #3301    [Address on File]     6/20/2023 Bitcoin                             0.02721358 Customer Transfer
 Confidential Customer Coin Transferee #3302    [Address on File]     6/19/2023 Bitcoin                             0.00158203 Customer Transfer
 Confidential Customer Coin Transferee #3303    [Address on File]     5/26/2023 Bitcoin                             0.03745894 Customer Transfer
 Confidential Customer Coin Transferee #3303    [Address on File]     5/19/2023 Bitcoin                              0.0346714 Customer Transfer
 Confidential Customer Coin Transferee #3304    [Address on File]      6/1/2023 Bitcoin                             0.02757477 Customer Transfer
 Confidential Customer Coin Transferee #3305    [Address on File]     6/20/2023 Bitcoin                             0.00557237 Customer Transfer
 Confidential Customer Coin Transferee #3306    [Address on File]     6/20/2023 Bitcoin                             0.00530778 Customer Transfer
 Confidential Customer Coin Transferee #3307    [Address on File]     5/18/2023 Bitcoin                             0.02089948 Customer Transfer
 Confidential Customer Coin Transferee #3307    [Address on File]     5/23/2023 Bitcoin                             0.01526631 Customer Transfer
 Confidential Customer Coin Transferee #3307    [Address on File]     5/20/2023 Bitcoin                             0.01460621 Customer Transfer
 Confidential Customer Coin Transferee #3307    [Address on File]     5/16/2023 Bitcoin                             0.01384546 Customer Transfer
 Confidential Customer Coin Transferee #3307    [Address on File]     5/23/2023 Bitcoin                             0.00761649 Customer Transfer
 Confidential Customer Coin Transferee #3308    [Address on File]     5/18/2023 Bitcoin                             0.15736705 Customer Transfer
 Confidential Customer Coin Transferee #3309    [Address on File]     6/20/2023 Bitcoin                             0.00057947 Customer Transfer
 Confidential Customer Coin Transferee #3310    [Address on File]     5/23/2023 Bitcoin                             0.93613063 Customer Transfer
 Confidential Customer Coin Transferee #3311    [Address on File]     5/29/2023 Bitcoin                             0.09634492 Customer Transfer
 Confidential Customer Coin Transferee #3311    [Address on File]     5/23/2023 Bitcoin                             0.07285097 Customer Transfer
 Confidential Customer Coin Transferee #3312    [Address on File]     6/20/2023 Bitcoin                             0.00036104 Customer Transfer
 Confidential Customer Coin Transferee #3313    [Address on File]     5/26/2023 Bitcoin                             2.49448294 Customer Transfer
 Confidential Customer Coin Transferee #3314    [Address on File]     5/24/2023 Bitcoin                             0.02702253 Customer Transfer
 Confidential Customer Coin Transferee #3314    [Address on File]     5/17/2023 Bitcoin                             0.02672554 Customer Transfer
 Confidential Customer Coin Transferee #3315    [Address on File]     6/19/2023 Bitcoin                             0.00057744 Customer Transfer
 Confidential Customer Coin Transferee #3316    [Address on File]      6/1/2023 Tether USD                           2101.3942 Customer Transfer
 Confidential Customer Coin Transferee #3317    [Address on File]     6/19/2023 Bitcoin                             0.00061094 Customer Transfer
 Confidential Customer Coin Transferee #3318    [Address on File]     5/23/2023 Bitcoin                              0.0008887 Customer Transfer
 Confidential Customer Coin Transferee #3319    [Address on File]     5/16/2023 Bitcoin                             0.02199508 Customer Transfer
 Confidential Customer Coin Transferee #3320    [Address on File]     6/20/2023 Bitcoin                             0.00054495 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #3321    [Address on File]     5/23/2023 Tether USD                                491.7 Customer Transfer
 Confidential Customer Coin Transferee #3322    [Address on File]     5/24/2023 Tether USD                            988.4201 Customer Transfer
 Confidential Customer Coin Transferee #3323    [Address on File]     6/10/2023 USDC Avalanche)                      158.39912 Customer Transfer
 Confidential Customer Coin Transferee #3324    [Address on File]     5/19/2023 Bitcoin                             0.01505001 Customer Transfer
 Confidential Customer Coin Transferee #3325    [Address on File]     6/20/2023 Bitcoin                              0.0003506 Customer Transfer
 Confidential Customer Coin Transferee #3326    [Address on File]     5/19/2023 Bitcoin                              0.0050683 Customer Transfer
 Confidential Customer Coin Transferee #3326    [Address on File]     5/23/2023 Bitcoin                             0.00110717 Customer Transfer
 Confidential Customer Coin Transferee #3327    [Address on File]     5/25/2023 Bitcoin                             0.00947923 Customer Transfer
 Confidential Customer Coin Transferee #3327    [Address on File]     5/29/2023 Bitcoin                              0.0089926 Customer Transfer
 Confidential Customer Coin Transferee #3327    [Address on File]     5/27/2023 Bitcoin                             0.00744164 Customer Transfer
 Confidential Customer Coin Transferee #3327    [Address on File]     5/22/2023 Bitcoin                             0.00720747 Customer Transfer
 Confidential Customer Coin Transferee #3327    [Address on File]     5/19/2023 Bitcoin                             0.00719286 Customer Transfer
 Confidential Customer Coin Transferee #3327    [Address on File]     5/21/2023 Bitcoin                             0.00716006 Customer Transfer
 Confidential Customer Coin Transferee #3327    [Address on File]     5/17/2023 Bitcoin                             0.00712528 Customer Transfer
 Confidential Customer Coin Transferee #3327    [Address on File]     5/16/2023 Bitcoin                             0.00710743 Customer Transfer
 Confidential Customer Coin Transferee #3328    [Address on File]      6/8/2023 USD Coin                                    100 Customer Transfer
 Confidential Customer Coin Transferee #3328    [Address on File]      6/9/2023 Ether                                         19 Customer Transfer
 Confidential Customer Coin Transferee #3329    [Address on File]      6/8/2023 USD Coin                           266511.3924 Customer Transfer
 Confidential Customer Coin Transferee #3329    [Address on File]      6/9/2023 USD Coin                              50391.76 Customer Transfer
 Confidential Customer Coin Transferee #3329    [Address on File]      6/8/2023 Ether                                   24.5995 Customer Transfer
 Confidential Customer Coin Transferee #3329    [Address on File]      6/8/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #3330    [Address on File]     6/14/2023 USD Coin                                 20990 Customer Transfer
 Confidential Customer Coin Transferee #3331    [Address on File]      6/8/2023 Litecoin                                 132.69 Customer Transfer
 Confidential Customer Coin Transferee #3330    [Address on File]      6/8/2023 Bitcoin                                  0.8385 Customer Transfer
 Confidential Customer Coin Transferee #3331    [Address on File]      6/8/2023 Litecoin                                     0.5 Customer Transfer

 Confidential Customer Coin Transferee #3332    [Address on File]      6/6/2023 Bitcoin                                   0.24495 Customer Transfer

 Confidential Customer Coin Transferee #3332    [Address on File]      6/8/2023 Bitcoin                                    0.05835 Customer Transfer
 Confidential Customer Coin Transferee #3333    [Address on File]     6/20/2023 Bitcoin                                0.00080661 Customer Transfer
 Confidential Customer Coin Transferee #3334    [Address on File]     6/19/2023 Bitcoin                                0.00005804 Customer Transfer
 Confidential Customer Coin Transferee #3335    [Address on File]     5/24/2023 Litecoin                                      2.07 Customer Transfer
 Confidential Customer Coin Transferee #3335    [Address on File]     5/19/2023 Litecoin                               0.51793697 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/22/2023 Bitcoin                                0.00139423 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/16/2023 Bitcoin                                0.00127028 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/23/2023 Bitcoin                             0.00121046 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/20/2023 Bitcoin                             0.00117382 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/17/2023 Bitcoin                             0.00111438 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/20/2023 Bitcoin                             0.00102901 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/21/2023 Bitcoin                             0.00098781 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/23/2023 Bitcoin                             0.00096359 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/20/2023 Bitcoin                             0.00092539 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/20/2023 Bitcoin                             0.00092504 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/20/2023 Bitcoin                             0.00088828 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/24/2023 Bitcoin                             0.00081875 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/21/2023 Bitcoin                             0.00081414 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/24/2023 Bitcoin                             0.00075863 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/21/2023 Bitcoin                             0.00073153 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/23/2023 Bitcoin                             0.00072625 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/16/2023 Bitcoin                             0.00069416 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/23/2023 Bitcoin                             0.00061749 Customer Transfer
 Confidential Customer Coin Transferee #3336    [Address on File]     5/21/2023 Bitcoin                             0.00052972 Customer Transfer
 Confidential Customer Coin Transferee #3337    [Address on File]     6/22/2023 USDC Avalanche)                        224.5142 Customer Transfer
 Confidential Customer Coin Transferee #3338    [Address on File]     5/16/2023 Bitcoin                             0.00036555 Customer Transfer
 Confidential Customer Coin Transferee #3339    [Address on File]     5/20/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #3340    [Address on File]     6/19/2023 Bitcoin                             0.02504744 Customer Transfer
 Confidential Customer Coin Transferee #3341    [Address on File]     5/31/2023 Bitcoin                             0.00035691 Customer Transfer
 Confidential Customer Coin Transferee #3342    [Address on File]     5/25/2023 Bitcoin                              0.0250503 Customer Transfer
 Confidential Customer Coin Transferee #3343    [Address on File]     6/19/2023 Bitcoin                             0.01486875 Customer Transfer
 Confidential Customer Coin Transferee #3344    [Address on File]     5/27/2023 Bitcoin                             0.00374698 Customer Transfer
 Confidential Customer Coin Transferee #3345    [Address on File]     5/26/2023 Bitcoin                             0.00208136 Customer Transfer
 Confidential Customer Coin Transferee #3345    [Address on File]     5/26/2023 Bitcoin                                  0.0013 Customer Transfer
 Confidential Customer Coin Transferee #3346    [Address on File]     5/18/2023 Bitcoin                             0.01817917 Customer Transfer
 Confidential Customer Coin Transferee #3346    [Address on File]     5/27/2023 Bitcoin                             0.01115292 Customer Transfer
 Confidential Customer Coin Transferee #3346    [Address on File]     5/31/2023 Bitcoin                             0.01077874 Customer Transfer
 Confidential Customer Coin Transferee #3346    [Address on File]     5/20/2023 Bitcoin                             0.00404055 Customer Transfer
 Confidential Customer Coin Transferee #3347    [Address on File]     5/16/2023 Bitcoin                             0.01488316 Customer Transfer
 Confidential Customer Coin Transferee #3347    [Address on File]     5/18/2023 Bitcoin                             0.00539425 Customer Transfer
 Confidential Customer Coin Transferee #3347    [Address on File]     5/26/2023 Bitcoin                              0.0045266 Customer Transfer
 Confidential Customer Coin Transferee #3347    [Address on File]     5/23/2023 Bitcoin                             0.00447739 Customer Transfer
 Confidential Customer Coin Transferee #3347    [Address on File]     5/18/2023 Bitcoin                             0.00071037 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3348    [Address on File]     5/28/2023 Bitcoin                             0.01785491 Customer Transfer
 Confidential Customer Coin Transferee #3348    [Address on File]     5/28/2023 Bitcoin                             0.01248033 Customer Transfer
 Confidential Customer Coin Transferee #3348    [Address on File]     5/20/2023 Bitcoin                             0.01110154 Customer Transfer
 Confidential Customer Coin Transferee #3348    [Address on File]     5/20/2023 Bitcoin                             0.01107744 Customer Transfer
 Confidential Customer Coin Transferee #3348    [Address on File]     5/20/2023 Bitcoin                             0.01107543 Customer Transfer
 Confidential Customer Coin Transferee #3348    [Address on File]     5/26/2023 Bitcoin                             0.01012506 Customer Transfer
 Confidential Customer Coin Transferee #3348    [Address on File]     5/26/2023 Bitcoin                             0.00929966 Customer Transfer
 Confidential Customer Coin Transferee #3348    [Address on File]     5/20/2023 Bitcoin                             0.00738521 Customer Transfer
 Confidential Customer Coin Transferee #3348    [Address on File]     5/19/2023 Bitcoin                             0.00645961 Customer Transfer
 Confidential Customer Coin Transferee #3348    [Address on File]     5/26/2023 Bitcoin                             0.00473246 Customer Transfer
 Confidential Customer Coin Transferee #3348    [Address on File]     5/19/2023 Bitcoin                             0.00461853 Customer Transfer
 Confidential Customer Coin Transferee #3349    [Address on File]     5/28/2023 Bitcoin                             0.00091374 Customer Transfer
 Confidential Customer Coin Transferee #3350    [Address on File]     5/26/2023 Bitcoin                             0.00752974 Customer Transfer
 Confidential Customer Coin Transferee #3351    [Address on File]     5/17/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #3352    [Address on File]     6/19/2023 Bitcoin                              0.0256395 Customer Transfer
 Confidential Customer Coin Transferee #3353    [Address on File]     6/19/2023 Bitcoin                             0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #3354    [Address on File]     6/20/2023 Bitcoin                             0.00174525 Customer Transfer
 Confidential Customer Coin Transferee #3355    [Address on File]     5/23/2023 Bitcoin                             0.06758316 Customer Transfer
 Confidential Customer Coin Transferee #3356    [Address on File]     6/19/2023 Bitcoin                              0.0199677 Customer Transfer
 Confidential Customer Coin Transferee #3357    [Address on File]     6/19/2023 Bitcoin                             0.00227997 Customer Transfer
 Confidential Customer Coin Transferee #3358    [Address on File]     5/16/2023 Bitcoin                                0.005426 Customer Transfer
 Confidential Customer Coin Transferee #3358    [Address on File]     5/26/2023 Bitcoin                             0.00297862 Customer Transfer
 Confidential Customer Coin Transferee #3359    [Address on File]     5/30/2023 Bitcoin                             0.02679485 Customer Transfer
 Confidential Customer Coin Transferee #3360    [Address on File]     6/20/2023 Bitcoin                             0.00043387 Customer Transfer
 Confidential Customer Coin Transferee #3361    [Address on File]     5/25/2023 Bitcoin                             0.05309879 Customer Transfer
 Confidential Customer Coin Transferee #3362    [Address on File]     6/19/2023 Bitcoin                             0.00455298 Customer Transfer
 Confidential Customer Coin Transferee #3363    [Address on File]     5/27/2023 Bitcoin                             0.00003396 Customer Transfer
 Confidential Customer Coin Transferee #3363    [Address on File]     5/22/2023 Bitcoin                             0.00001704 Customer Transfer
 Confidential Customer Coin Transferee #3364    [Address on File]     6/20/2023 Bitcoin                             0.00498583 Customer Transfer
 Confidential Customer Coin Transferee #3365    [Address on File]     5/19/2023 Bitcoin                             0.00744157 Customer Transfer
 Confidential Customer Coin Transferee #3366    [Address on File]     6/15/2023 Bitcoin                             0.13055375 Customer Transfer
 Confidential Customer Coin Transferee #3366    [Address on File]     6/20/2023 Bitcoin                              0.0275862 Customer Transfer
 Confidential Customer Coin Transferee #3367    [Address on File]     6/20/2023 Bitcoin                             0.00331249 Customer Transfer
 Confidential Customer Coin Transferee #3368    [Address on File]     6/19/2023 Bitcoin                             0.00040624 Customer Transfer
 Confidential Customer Coin Transferee #3369    [Address on File]     5/18/2023 Bitcoin                             0.20064024 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #3370    [Address on File]     5/19/2023 Bitcoin                                   12.1501 Customer Transfer

 Confidential Customer Coin Transferee #3370    [Address on File]     5/22/2023 Bitcoin                                        2.5 Customer Transfer

 Confidential Customer Coin Transferee #3371    [Address on File]     5/24/2023 Bitcoin                                   15.1499 Customer Transfer

 Confidential Customer Coin Transferee #3371    [Address on File]     6/19/2023 Bitcoin                                 0.0001141 Customer Transfer
 Confidential Customer Coin Transferee #3372    [Address on File]     6/20/2023 Bitcoin                                 0.0001165 Customer Transfer
 Confidential Customer Coin Transferee #3373    [Address on File]     5/27/2023 Bitcoin                                0.00520114 Customer Transfer
 Confidential Customer Coin Transferee #3373    [Address on File]     5/16/2023 Bitcoin                                0.00438782 Customer Transfer
 Confidential Customer Coin Transferee #3373    [Address on File]     5/24/2023 Bitcoin                                 0.0037116 Customer Transfer

 Confidential Customer Coin Transferee #3374    [Address on File]     5/19/2023 Bitcoin                                0.04526005 Customer Transfer

 Confidential Customer Coin Transferee #3374    [Address on File]      6/5/2023 Bitcoin                                0.02935046 Customer Transfer
 Confidential Customer Coin Transferee #3375    [Address on File]     6/19/2023 Bitcoin                                 0.0040384 Customer Transfer
 Confidential Customer Coin Transferee #3376    [Address on File]     5/22/2023 Bitcoin                                0.00371311 Customer Transfer
 Confidential Customer Coin Transferee #3377    [Address on File]     5/18/2023 Bitcoin                                0.05212508 Customer Transfer
 Confidential Customer Coin Transferee #3378    [Address on File]     6/20/2023 Bitcoin                                0.00115672 Customer Transfer
 Confidential Customer Coin Transferee #3379    [Address on File]     5/17/2023 Bitcoin                                       0.04 Customer Transfer
 Confidential Customer Coin Transferee #3379    [Address on File]     5/17/2023 Bitcoin                                       0.04 Customer Transfer
 Confidential Customer Coin Transferee #3379    [Address on File]     5/20/2023 Bitcoin                                0.01664661 Customer Transfer
 Confidential Customer Coin Transferee #3380    [Address on File]     5/22/2023 Bitcoin                                0.01047965 Customer Transfer
 Confidential Customer Coin Transferee #3381    [Address on File]     5/27/2023 Bitcoin                                0.02098985 Customer Transfer
 Confidential Customer Coin Transferee #3382    [Address on File]     5/29/2023 Bitcoin                                0.01796051 Customer Transfer
 Confidential Customer Coin Transferee #3383    [Address on File]     5/18/2023 Bitcoin                                0.00663242 Customer Transfer
 Confidential Customer Coin Transferee #3384    [Address on File]     6/20/2023 Bitcoin                                0.00005813 Customer Transfer
 Confidential Customer Coin Transferee #3385    [Address on File]     5/22/2023 Bitcoin                                0.00149749 Customer Transfer
 Confidential Customer Coin Transferee #3386    [Address on File]     6/20/2023 Bitcoin                                0.00066263 Customer Transfer
 Confidential Customer Coin Transferee #3387    [Address on File]     5/21/2023 Bitcoin                                0.00055578 Customer Transfer
 Confidential Customer Coin Transferee #3388    [Address on File]     5/20/2023 Bitcoin                                0.20751308 Customer Transfer
 Confidential Customer Coin Transferee #3389    [Address on File]     5/16/2023 Bitcoin                                0.01040049 Customer Transfer
 Confidential Customer Coin Transferee #3390    [Address on File]     6/20/2023 Bitcoin                                 0.0000895 Customer Transfer
 Confidential Customer Coin Transferee #3391    [Address on File]     5/19/2023 Bitcoin                                0.02869409 Customer Transfer
 Confidential Customer Coin Transferee #3392    [Address on File]     5/25/2023 Bitcoin                                0.00375388 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3392    [Address on File]     5/23/2023 Bitcoin                              0.0036585 Customer Transfer
 Confidential Customer Coin Transferee #3393    [Address on File]     5/24/2023 Bitcoin                             0.01762259 Customer Transfer
 Confidential Customer Coin Transferee #3393    [Address on File]     5/24/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #3394    [Address on File]     5/26/2023 Bitcoin                             0.00578879 Customer Transfer
 Confidential Customer Coin Transferee #3394    [Address on File]     5/19/2023 Bitcoin                             0.00545994 Customer Transfer
 Confidential Customer Coin Transferee #3395    [Address on File]     6/20/2023 Bitcoin                             0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #3396    [Address on File]     5/19/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #3397    [Address on File]     6/10/2023 Avalanche CChain)                       60.4859 Customer Transfer
 Confidential Customer Coin Transferee #3397    [Address on File]     5/31/2023 Avalanche CChain)                    56.572969 Customer Transfer
 Confidential Customer Coin Transferee #3397    [Address on File]     6/10/2023 Cosmos Hub ATOM)                     37.610703 Customer Transfer
 Confidential Customer Coin Transferee #3398    [Address on File]     6/20/2023 Bitcoin                             0.00043507 Customer Transfer
 Confidential Customer Coin Transferee #3399    [Address on File]     6/20/2023 Bitcoin                             0.00285005 Customer Transfer
 Confidential Customer Coin Transferee #3400    [Address on File]     5/17/2023 USDC Avalanche)                      33.456617 Customer Transfer
 Confidential Customer Coin Transferee #3400    [Address on File]     5/17/2023 USDC Avalanche)                        7.536985 Customer Transfer
 Confidential Customer Coin Transferee #3400    [Address on File]     5/17/2023 Cosmos Hub ATOM)                      3.110956 Customer Transfer
 Confidential Customer Coin Transferee #3401    [Address on File]     5/28/2023 Bitcoin                             0.02144519 Customer Transfer
 Confidential Customer Coin Transferee #3402    [Address on File]     6/20/2023 Bitcoin                             0.00045871 Customer Transfer
 Confidential Customer Coin Transferee #3403    [Address on File]     5/21/2023 Bitcoin                             0.01845972 Customer Transfer
 Confidential Customer Coin Transferee #3403    [Address on File]     5/26/2023 Bitcoin                                 0.01305 Customer Transfer
 Confidential Customer Coin Transferee #3403    [Address on File]     5/27/2023 Bitcoin                             0.00141348 Customer Transfer
 Confidential Customer Coin Transferee #3403    [Address on File]     5/27/2023 Bitcoin                             0.00013912 Customer Transfer
 Confidential Customer Coin Transferee #3404    [Address on File]     6/19/2023 Bitcoin                             0.00005789 Customer Transfer
 Confidential Customer Coin Transferee #3405    [Address on File]     5/25/2023 Bitcoin                             0.01071143 Customer Transfer
 Confidential Customer Coin Transferee #3406    [Address on File]     6/20/2023 Bitcoin                             0.00874595 Customer Transfer
 Confidential Customer Coin Transferee #3407    [Address on File]     5/30/2023 Bitcoin                             0.03306729 Customer Transfer
 Confidential Customer Coin Transferee #3408    [Address on File]     5/26/2023 Bitcoin                             0.00116611 Customer Transfer
 Confidential Customer Coin Transferee #3408    [Address on File]      6/9/2023 Bitcoin                             0.00076884 Customer Transfer
 Confidential Customer Coin Transferee #3408    [Address on File]     6/20/2023 Bitcoin                             0.00045754 Customer Transfer
 Confidential Customer Coin Transferee #3409    [Address on File]      6/8/2023 Tether USD                           1294.3879 Customer Transfer
 Confidential Customer Coin Transferee #3410    [Address on File]     5/18/2023 Bitcoin                              0.0025791 Customer Transfer
 Confidential Customer Coin Transferee #3411    [Address on File]     6/19/2023 Bitcoin                             0.01744578 Customer Transfer
 Confidential Customer Coin Transferee #3412    [Address on File]     6/20/2023 Bitcoin                             0.00003519 Customer Transfer

 Confidential Customer Coin Transferee #3413    [Address on File]     5/18/2023 Bitcoin                                 0.0109745 Customer Transfer
 Confidential Customer Coin Transferee #3414    [Address on File]     5/26/2023 Bitcoin                                0.01234567 Customer Transfer
 Confidential Customer Coin Transferee #3415    [Address on File]     6/19/2023 Bitcoin                                 0.0003423 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3416    [Address on File]     5/24/2023 Bitcoin                             0.00186041 Customer Transfer
 Confidential Customer Coin Transferee #3416    [Address on File]     5/17/2023 Bitcoin                             0.00174199 Customer Transfer
 Confidential Customer Coin Transferee #3417    [Address on File]     6/20/2023 Bitcoin                             0.00183186 Customer Transfer
 Confidential Customer Coin Transferee #3418    [Address on File]      6/8/2023 Bitcoin                             0.06728239 Customer Transfer
 Confidential Customer Coin Transferee #3419    [Address on File]     5/19/2023 Bitcoin                              0.0505071 Customer Transfer
 Confidential Customer Coin Transferee #3420    [Address on File]     5/16/2023 Bitcoin                             0.01106778 Customer Transfer
 Confidential Customer Coin Transferee #3421    [Address on File]     5/28/2023 Bitcoin                                   0.035 Customer Transfer
 Confidential Customer Coin Transferee #3421    [Address on File]     5/23/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/20/2023 Bitcoin                             0.00215109 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/25/2023 Bitcoin                              0.0016308 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/27/2023 Bitcoin                             0.00137391 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/25/2023 Bitcoin                             0.00130777 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/29/2023 Bitcoin                             0.00106005 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/18/2023 Bitcoin                             0.00080303 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/30/2023 Bitcoin                             0.00075003 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/20/2023 Bitcoin                             0.00073536 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/18/2023 Bitcoin                             0.00072735 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/26/2023 Bitcoin                             0.00060154 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/25/2023 Bitcoin                             0.00056874 Customer Transfer
 Confidential Customer Coin Transferee #3422    [Address on File]     5/25/2023 Bitcoin                             0.00049314 Customer Transfer
 Confidential Customer Coin Transferee #3423    [Address on File]     5/25/2023 Bitcoin                             0.00283546 Customer Transfer
 Confidential Customer Coin Transferee #3424    [Address on File]     5/21/2023 Bitcoin                             0.06795053 Customer Transfer
 Confidential Customer Coin Transferee #3424    [Address on File]     5/23/2023 Bitcoin                             0.02749907 Customer Transfer
 Confidential Customer Coin Transferee #3425    [Address on File]     6/19/2023 Bitcoin                             0.00167961 Customer Transfer
 Confidential Customer Coin Transferee #3426    [Address on File]     6/20/2023 Bitcoin                             0.02429461 Customer Transfer
 Confidential Customer Coin Transferee #3427    [Address on File]     5/22/2023 Bitcoin                             0.09188369 Customer Transfer
 Confidential Customer Coin Transferee #3428    [Address on File]     5/29/2023 Bitcoin                              0.0001087 Customer Transfer
 Confidential Customer Coin Transferee #3429    [Address on File]     5/27/2023 Bitcoin                             0.00155279 Customer Transfer
 Confidential Customer Coin Transferee #3429    [Address on File]     5/30/2023 Bitcoin                             0.00074409 Customer Transfer
 Confidential Customer Coin Transferee #3430    [Address on File]     5/16/2023 Bitcoin                             0.01174485 Customer Transfer
 Confidential Customer Coin Transferee #3430    [Address on File]     5/25/2023 Bitcoin                              0.0074072 Customer Transfer
 Confidential Customer Coin Transferee #3430    [Address on File]     5/30/2023 Bitcoin                             0.00731142 Customer Transfer
 Confidential Customer Coin Transferee #3430    [Address on File]     5/20/2023 Bitcoin                             0.00589384 Customer Transfer
 Confidential Customer Coin Transferee #3431    [Address on File]     5/20/2023 Bitcoin                             0.00281766 Customer Transfer
 Confidential Customer Coin Transferee #3431    [Address on File]     5/17/2023 Bitcoin                             0.00279706 Customer Transfer
 Confidential Customer Coin Transferee #3432    [Address on File]     5/23/2023 Bitcoin                              0.0247687 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3433    [Address on File]     5/23/2023 Bitcoin                             0.00662519 Customer Transfer

 Confidential Customer Coin Transferee #3434    [Address on File]     6/19/2023 Bitcoin                                0.02353477 Customer Transfer
 Confidential Customer Coin Transferee #3435    [Address on File]     5/17/2023 Bitcoin                                0.01162147 Customer Transfer
 Confidential Customer Coin Transferee #3435    [Address on File]     5/24/2023 Bitcoin                                0.00962576 Customer Transfer
 Confidential Customer Coin Transferee #3436    [Address on File]     5/26/2023 Bitcoin                                0.02414827 Customer Transfer
 Confidential Customer Coin Transferee #3436    [Address on File]     5/27/2023 Bitcoin                                0.01462926 Customer Transfer
 Confidential Customer Coin Transferee #3437    [Address on File]     5/16/2023 Bitcoin                                0.00191596 Customer Transfer
 Confidential Customer Coin Transferee #3437    [Address on File]     5/25/2023 Bitcoin                                0.00182124 Customer Transfer
 Confidential Customer Coin Transferee #3437    [Address on File]     5/25/2023 Bitcoin                                0.00180365 Customer Transfer
 Confidential Customer Coin Transferee #3437    [Address on File]     5/16/2023 Bitcoin                                 0.0014771 Customer Transfer
 Confidential Customer Coin Transferee #3437    [Address on File]     5/16/2023 Bitcoin                                0.00105067 Customer Transfer
 Confidential Customer Coin Transferee #3437    [Address on File]     5/23/2023 Bitcoin                                0.00104149 Customer Transfer
 Confidential Customer Coin Transferee #3437    [Address on File]     5/28/2023 Bitcoin                                0.00100991 Customer Transfer
 Confidential Customer Coin Transferee #3437    [Address on File]     5/21/2023 Bitcoin                                0.00081773 Customer Transfer
 Confidential Customer Coin Transferee #3438    [Address on File]     5/17/2023 Bitcoin                                0.00371777 Customer Transfer
 Confidential Customer Coin Transferee #3438    [Address on File]     5/19/2023 Bitcoin                                0.00370921 Customer Transfer
 Confidential Customer Coin Transferee #3438    [Address on File]     5/16/2023 Bitcoin                                0.00367323 Customer Transfer
 Confidential Customer Coin Transferee #3439    [Address on File]     5/20/2023 Bitcoin                                0.00540858 Customer Transfer
 Confidential Customer Coin Transferee #3440    [Address on File]     5/31/2023 Bitcoin                                0.01536623 Customer Transfer
 Confidential Customer Coin Transferee #3440    [Address on File]     5/29/2023 Bitcoin                                0.00841522 Customer Transfer
 Confidential Customer Coin Transferee #3440    [Address on File]     5/26/2023 Bitcoin                                0.00235867 Customer Transfer
 Confidential Customer Coin Transferee #3440    [Address on File]     5/20/2023 Bitcoin                                0.00232072 Customer Transfer
 Confidential Customer Coin Transferee #3441    [Address on File]     5/25/2023 Bitcoin                                        0.04 Customer Transfer
 Confidential Customer Coin Transferee #3442    [Address on File]     5/23/2023 Bitcoin                                0.03141448 Customer Transfer
 Confidential Customer Coin Transferee #3443    [Address on File]     5/28/2023 Bitcoin                                     0.0008 Customer Transfer
 Confidential Customer Coin Transferee #3444    [Address on File]     5/18/2023 Bitcoin                                0.03085503 Customer Transfer
 Confidential Customer Coin Transferee #3445    [Address on File]     5/30/2023 Bitcoin                                 0.0042553 Customer Transfer
 Confidential Customer Coin Transferee #3445    [Address on File]     5/30/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #3446    [Address on File]     5/17/2023 Bitcoin                                0.09104714 Customer Transfer
 Confidential Customer Coin Transferee #3447    [Address on File]     5/26/2023 Bitcoin                                0.01100025 Customer Transfer
 Confidential Customer Coin Transferee #3448    [Address on File]     5/20/2023 Bitcoin                                0.00369931 Customer Transfer
 Confidential Customer Coin Transferee #3449    [Address on File]     5/21/2023 Bitcoin                                0.00258768 Customer Transfer
 Confidential Customer Coin Transferee #3449    [Address on File]     5/18/2023 Bitcoin                                0.00083752 Customer Transfer
 Confidential Customer Coin Transferee #3450    [Address on File]     5/30/2023 Bitcoin                                0.00727911 Customer Transfer
 Confidential Customer Coin Transferee #3451    [Address on File]     5/22/2023 Bitcoin                                0.00093283 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3451    [Address on File]     5/20/2023 Bitcoin                             0.00091816 Customer Transfer
 Confidential Customer Coin Transferee #3451    [Address on File]     5/18/2023 Bitcoin                              0.0003633 Customer Transfer
 Confidential Customer Coin Transferee #3452    [Address on File]     5/21/2023 Bitcoin                             0.16335582 Customer Transfer
 Confidential Customer Coin Transferee #3452    [Address on File]     5/29/2023 Bitcoin                             0.02609922 Customer Transfer
 Confidential Customer Coin Transferee #3453    [Address on File]     5/29/2023 Bitcoin                             0.03295638 Customer Transfer
 Confidential Customer Coin Transferee #3454    [Address on File]     5/20/2023 Bitcoin                             0.02922961 Customer Transfer
 Confidential Customer Coin Transferee #3455    [Address on File]     5/22/2023 Bitcoin                             0.03023615 Customer Transfer
 Confidential Customer Coin Transferee #3456    [Address on File]     6/20/2023 Bitcoin                             0.00176235 Customer Transfer
 Confidential Customer Coin Transferee #3457    [Address on File]     5/22/2023 Bitcoin                             0.00186254 Customer Transfer
 Confidential Customer Coin Transferee #3457    [Address on File]     5/18/2023 Bitcoin                             0.00134036 Customer Transfer
 Confidential Customer Coin Transferee #3458    [Address on File]     5/19/2023 Bitcoin                             0.00554792 Customer Transfer
 Confidential Customer Coin Transferee #3459    [Address on File]     5/27/2023 Bitcoin                              0.0030859 Customer Transfer
 Confidential Customer Coin Transferee #3459    [Address on File]     5/25/2023 Bitcoin                             0.00265622 Customer Transfer
 Confidential Customer Coin Transferee #3459    [Address on File]     5/28/2023 Bitcoin                             0.00171788 Customer Transfer
 Confidential Customer Coin Transferee #3459    [Address on File]     5/28/2023 Bitcoin                             0.00110466 Customer Transfer
 Confidential Customer Coin Transferee #3459    [Address on File]     5/21/2023 Bitcoin                             0.00089978 Customer Transfer
 Confidential Customer Coin Transferee #3459    [Address on File]     5/29/2023 Bitcoin                             0.00057505 Customer Transfer
 Confidential Customer Coin Transferee #3459    [Address on File]     5/25/2023 Bitcoin                             0.00026547 Customer Transfer
 Confidential Customer Coin Transferee #3459    [Address on File]     5/20/2023 Bitcoin                             0.00018518 Customer Transfer
 Confidential Customer Coin Transferee #3459    [Address on File]     5/20/2023 Bitcoin                             0.00016789 Customer Transfer
 Confidential Customer Coin Transferee #3460    [Address on File]     5/23/2023 Bitcoin                             0.00907213 Customer Transfer
 Confidential Customer Coin Transferee #3460    [Address on File]     5/23/2023 Bitcoin                             0.00725704 Customer Transfer
 Confidential Customer Coin Transferee #3460    [Address on File]     5/23/2023 Bitcoin                              0.0072553 Customer Transfer
 Confidential Customer Coin Transferee #3461    [Address on File]     5/19/2023 Bitcoin                             0.01667283 Customer Transfer
 Confidential Customer Coin Transferee #3462    [Address on File]     5/27/2023 Bitcoin                                  0.0197 Customer Transfer
 Confidential Customer Coin Transferee #3463    [Address on File]     5/22/2023 Bitcoin                             0.00147946 Customer Transfer
 Confidential Customer Coin Transferee #3464    [Address on File]     5/25/2023 Bitcoin                             0.00375251 Customer Transfer
 Confidential Customer Coin Transferee #3464    [Address on File]     5/19/2023 Bitcoin                              0.0036943 Customer Transfer
 Confidential Customer Coin Transferee #3465    [Address on File]     5/26/2023 Bitcoin                             0.01207865 Customer Transfer
 Confidential Customer Coin Transferee #3465    [Address on File]     5/26/2023 Bitcoin                             0.01114851 Customer Transfer
 Confidential Customer Coin Transferee #3466    [Address on File]     5/31/2023 Bitcoin                             0.01392893 Customer Transfer
 Confidential Customer Coin Transferee #3467    [Address on File]     5/27/2023 Bitcoin                             0.00056384 Customer Transfer
 Confidential Customer Coin Transferee #3467    [Address on File]     5/19/2023 Bitcoin                             0.00055958 Customer Transfer
 Confidential Customer Coin Transferee #3468    [Address on File]     5/26/2023 Bitcoin                             0.00257249 Customer Transfer
 Confidential Customer Coin Transferee #3469    [Address on File]     5/30/2023 Bitcoin                             0.00376622 Customer Transfer
 Confidential Customer Coin Transferee #3470    [Address on File]     5/29/2023 Bitcoin                             0.01661636 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3470    [Address on File]     5/17/2023 Bitcoin                                  0.0126 Customer Transfer
 Confidential Customer Coin Transferee #3470    [Address on File]     5/29/2023 Bitcoin                                 0.00815 Customer Transfer
 Confidential Customer Coin Transferee #3470    [Address on File]     5/16/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #3471    [Address on File]     5/23/2023 Bitcoin                             0.03000271 Customer Transfer
 Confidential Customer Coin Transferee #3472    [Address on File]     6/19/2023 Bitcoin                             0.00058541 Customer Transfer
 Confidential Customer Coin Transferee #3473    [Address on File]     5/21/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #3474    [Address on File]     5/21/2023 Bitcoin                                    0.007 Customer Transfer
 Confidential Customer Coin Transferee #3475    [Address on File]     5/25/2023 Bitcoin                             0.10151826 Customer Transfer
 Confidential Customer Coin Transferee #3476    [Address on File]     5/24/2023 Bitcoin                             0.00188198 Customer Transfer
 Confidential Customer Coin Transferee #3477    [Address on File]     5/19/2023 Bitcoin                             0.01863399 Customer Transfer
 Confidential Customer Coin Transferee #3478    [Address on File]     6/20/2023 Bitcoin                             0.00142629 Customer Transfer
 Confidential Customer Coin Transferee #3479    [Address on File]     5/30/2023 Bitcoin                             0.04304093 Customer Transfer
 Confidential Customer Coin Transferee #3479    [Address on File]     5/26/2023 Bitcoin                             0.01324085 Customer Transfer
 Confidential Customer Coin Transferee #3479    [Address on File]     5/17/2023 Bitcoin                             0.00744861 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/29/2023 Bitcoin                             0.01079751 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/31/2023 Bitcoin                             0.00359576 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/29/2023 Bitcoin                              0.0032034 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/27/2023 Bitcoin                             0.00182807 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/23/2023 Bitcoin                             0.00179039 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/29/2023 Bitcoin                             0.00135203 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/17/2023 Bitcoin                             0.00091835 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/30/2023 Bitcoin                             0.00087876 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/31/2023 Bitcoin                             0.00086071 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/21/2023 Bitcoin                             0.00081266 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/24/2023 Bitcoin                             0.00076722 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/22/2023 Bitcoin                             0.00074389 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/19/2023 Bitcoin                             0.00072585 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/30/2023 Bitcoin                             0.00072305 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/20/2023 Bitcoin                             0.00072012 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/21/2023 Bitcoin                             0.00071993 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/29/2023 Bitcoin                              0.0006937 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/27/2023 Bitcoin                              0.0004369 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/23/2023 Bitcoin                             0.00039792 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/21/2023 Bitcoin                             0.00036716 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/27/2023 Bitcoin                             0.00036315 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/22/2023 Bitcoin                             0.00036312 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/24/2023 Bitcoin                             0.00016592 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/17/2023 Bitcoin                             0.00012902 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/16/2023 Bitcoin                              0.0001034 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/28/2023 Bitcoin                             0.00009541 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/31/2023 Bitcoin                             0.00004905 Customer Transfer
 Confidential Customer Coin Transferee #3480    [Address on File]     5/24/2023 Bitcoin                             0.00003768 Customer Transfer
 Confidential Customer Coin Transferee #3481    [Address on File]     5/20/2023 Bitcoin                             0.00073554 Customer Transfer
 Confidential Customer Coin Transferee #3481    [Address on File]     5/25/2023 Bitcoin                              0.0003835 Customer Transfer
 Confidential Customer Coin Transferee #3481    [Address on File]     5/24/2023 Bitcoin                              0.0003804 Customer Transfer
 Confidential Customer Coin Transferee #3481    [Address on File]     5/26/2023 Bitcoin                              0.0003775 Customer Transfer
 Confidential Customer Coin Transferee #3481    [Address on File]     5/24/2023 Bitcoin                              0.0003674 Customer Transfer
 Confidential Customer Coin Transferee #3481    [Address on File]     5/23/2023 Bitcoin                                0.000367 Customer Transfer
 Confidential Customer Coin Transferee #3482    [Address on File]     5/20/2023 Bitcoin                             0.01043349 Customer Transfer
 Confidential Customer Coin Transferee #3482    [Address on File]     5/26/2023 Bitcoin                             0.00865738 Customer Transfer
 Confidential Customer Coin Transferee #3482    [Address on File]     5/29/2023 Bitcoin                             0.00473901 Customer Transfer
 Confidential Customer Coin Transferee #3483    [Address on File]     5/18/2023 Bitcoin                             0.00371915 Customer Transfer
 Confidential Customer Coin Transferee #3483    [Address on File]     5/24/2023 Bitcoin                             0.00367936 Customer Transfer
 Confidential Customer Coin Transferee #3483    [Address on File]     5/16/2023 Bitcoin                             0.00220713 Customer Transfer
 Confidential Customer Coin Transferee #3483    [Address on File]     5/17/2023 Bitcoin                             0.00111813 Customer Transfer
 Confidential Customer Coin Transferee #3483    [Address on File]     5/31/2023 Bitcoin                             0.00018334 Customer Transfer
 Confidential Customer Coin Transferee #3483    [Address on File]     5/29/2023 Bitcoin                              0.0001797 Customer Transfer
 Confidential Customer Coin Transferee #3483    [Address on File]     5/30/2023 Bitcoin                             0.00017876 Customer Transfer
 Confidential Customer Coin Transferee #3484    [Address on File]     5/22/2023 Bitcoin                             0.00386487 Customer Transfer
 Confidential Customer Coin Transferee #3485    [Address on File]     5/26/2023 Bitcoin                              0.0378069 Customer Transfer
 Confidential Customer Coin Transferee #3485    [Address on File]     5/29/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #3486    [Address on File]     5/30/2023 Bitcoin                             0.00051683 Customer Transfer
 Confidential Customer Coin Transferee #3487    [Address on File]     5/17/2023 Bitcoin                             0.05513522 Customer Transfer
 Confidential Customer Coin Transferee #3487    [Address on File]     5/22/2023 Bitcoin                             0.03703845 Customer Transfer
 Confidential Customer Coin Transferee #3487    [Address on File]     5/20/2023 Bitcoin                             0.01838699 Customer Transfer
 Confidential Customer Coin Transferee #3487    [Address on File]     5/31/2023 Bitcoin                             0.01796073 Customer Transfer
 Confidential Customer Coin Transferee #3488    [Address on File]     5/21/2023 Bitcoin                             0.14123725 Customer Transfer
 Confidential Customer Coin Transferee #3488    [Address on File]     5/26/2023 Bitcoin                             0.07450299 Customer Transfer
 Confidential Customer Coin Transferee #3489    [Address on File]     5/24/2023 Bitcoin                             0.00182849 Customer Transfer
 Confidential Customer Coin Transferee #3490    [Address on File]     5/20/2023 Bitcoin                             0.00110279 Customer Transfer
 Confidential Customer Coin Transferee #3490    [Address on File]     5/18/2023 Bitcoin                             0.00110049 Customer Transfer
 Confidential Customer Coin Transferee #3491    [Address on File]     5/22/2023 Bitcoin                             0.02788236 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3491    [Address on File]     5/29/2023 Bitcoin                             0.02668743 Customer Transfer
 Confidential Customer Coin Transferee #3492    [Address on File]     5/25/2023 Bitcoin                              0.0755285 Customer Transfer
 Confidential Customer Coin Transferee #3493    [Address on File]     5/21/2023 Bitcoin                             0.00198543 Customer Transfer
 Confidential Customer Coin Transferee #3494    [Address on File]     5/25/2023 Bitcoin                                   0.1893 Customer Transfer
 Confidential Customer Coin Transferee #3494    [Address on File]     5/26/2023 Bitcoin                             0.07524355 Customer Transfer
 Confidential Customer Coin Transferee #3494    [Address on File]     5/17/2023 Bitcoin                             0.03698487 Customer Transfer
 Confidential Customer Coin Transferee #3494    [Address on File]     5/20/2023 Bitcoin                             0.03691955 Customer Transfer
 Confidential Customer Coin Transferee #3494    [Address on File]     5/28/2023 Bitcoin                             0.03663582 Customer Transfer
 Confidential Customer Coin Transferee #3495    [Address on File]     6/12/2023 Bitcoin                             0.10258081 Customer Transfer
 Confidential Customer Coin Transferee #3496    [Address on File]     5/17/2023 Bitcoin                                   0.0056 Customer Transfer
 Confidential Customer Coin Transferee #3497    [Address on File]     5/20/2023 Bitcoin                              0.0002221 Customer Transfer
 Confidential Customer Coin Transferee #3498    [Address on File]     5/26/2023 Bitcoin                              0.0037406 Customer Transfer
 Confidential Customer Coin Transferee #3498    [Address on File]     5/19/2023 Bitcoin                             0.00370793 Customer Transfer
 Confidential Customer Coin Transferee #3499    [Address on File]     5/31/2023 Bitcoin                             0.02224804 Customer Transfer
 Confidential Customer Coin Transferee #3499    [Address on File]     5/29/2023 Bitcoin                             0.02132952 Customer Transfer
 Confidential Customer Coin Transferee #3499    [Address on File]     5/28/2023 Bitcoin                             0.01821514 Customer Transfer
 Confidential Customer Coin Transferee #3499    [Address on File]     5/25/2023 Bitcoin                              0.0075172 Customer Transfer
 Confidential Customer Coin Transferee #3500    [Address on File]     6/19/2023 Bitcoin                             0.00180358 Customer Transfer
 Confidential Customer Coin Transferee #3501    [Address on File]     6/19/2023 Bitcoin                             0.00022848 Customer Transfer
 Confidential Customer Coin Transferee #3502    [Address on File]     5/25/2023 Bitcoin                             0.00380907 Customer Transfer
 Confidential Customer Coin Transferee #3502    [Address on File]     5/25/2023 Bitcoin                             0.00240061 Customer Transfer
 Confidential Customer Coin Transferee #3502    [Address on File]     5/19/2023 Bitcoin                             0.00192541 Customer Transfer
 Confidential Customer Coin Transferee #3502    [Address on File]     5/23/2023 Bitcoin                              0.0018201 Customer Transfer
 Confidential Customer Coin Transferee #3502    [Address on File]     5/25/2023 Bitcoin                             0.00130776 Customer Transfer
 Confidential Customer Coin Transferee #3503    [Address on File]     6/19/2023 Bitcoin                             0.00046503 Customer Transfer
 Confidential Customer Coin Transferee #3504    [Address on File]     5/21/2023 Bitcoin                             0.00036953 Customer Transfer
 Confidential Customer Coin Transferee #3505    [Address on File]     5/20/2023 Bitcoin                             0.00018359 Customer Transfer
 Confidential Customer Coin Transferee #3506    [Address on File]     6/20/2023 Bitcoin                             0.00019769 Customer Transfer
 Confidential Customer Coin Transferee #3507    [Address on File]     5/24/2023 Bitcoin                             0.01022136 Customer Transfer
 Confidential Customer Coin Transferee #3507    [Address on File]     5/18/2023 Bitcoin                             0.01004435 Customer Transfer
 Confidential Customer Coin Transferee #3507    [Address on File]     5/25/2023 Bitcoin                             0.00004039 Customer Transfer
 Confidential Customer Coin Transferee #3508    [Address on File]     5/25/2023 Bitcoin                             0.00283731 Customer Transfer
 Confidential Customer Coin Transferee #3508    [Address on File]     5/18/2023 Bitcoin                             0.00272246 Customer Transfer
 Confidential Customer Coin Transferee #3509    [Address on File]     5/16/2023 Bitcoin                                0.012549 Customer Transfer
 Confidential Customer Coin Transferee #3510    [Address on File]     5/19/2023 Bitcoin                              0.0370583 Customer Transfer
 Confidential Customer Coin Transferee #3511    [Address on File]     5/27/2023 Bitcoin                             0.04395551 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3512    [Address on File]     5/26/2023 Bitcoin                             0.00941113 Customer Transfer
 Confidential Customer Coin Transferee #3513    [Address on File]     5/28/2023 Bitcoin                             0.00070948 Customer Transfer
 Confidential Customer Coin Transferee #3513    [Address on File]     5/19/2023 Bitcoin                                  0.0006 Customer Transfer
 Confidential Customer Coin Transferee #3513    [Address on File]     5/28/2023 Bitcoin                             0.00018134 Customer Transfer
 Confidential Customer Coin Transferee #3514    [Address on File]     5/21/2023 Bitcoin                             0.00092445 Customer Transfer
 Confidential Customer Coin Transferee #3515    [Address on File]     5/25/2023 Bitcoin                             0.00932695 Customer Transfer
 Confidential Customer Coin Transferee #3516    [Address on File]     5/18/2023 Bitcoin                              0.0109522 Customer Transfer
 Confidential Customer Coin Transferee #3517    [Address on File]     5/17/2023 Bitcoin                             0.01135939 Customer Transfer
 Confidential Customer Coin Transferee #3518    [Address on File]     5/23/2023 Bitcoin                              0.0007102 Customer Transfer
 Confidential Customer Coin Transferee #3518    [Address on File]     5/21/2023 Bitcoin                             0.00040688 Customer Transfer
 Confidential Customer Coin Transferee #3518    [Address on File]     5/19/2023 Bitcoin                             0.00039692 Customer Transfer
 Confidential Customer Coin Transferee #3518    [Address on File]     5/20/2023 Bitcoin                             0.00037003 Customer Transfer
 Confidential Customer Coin Transferee #3518    [Address on File]     5/23/2023 Bitcoin                             0.00036715 Customer Transfer

 Confidential Customer Coin Transferee #3519    [Address on File]     5/30/2023 Bitcoin                                0.00353249 Customer Transfer
 Confidential Customer Coin Transferee #3520    [Address on File]     5/30/2023 Bitcoin                                    0.00179 Customer Transfer
 Confidential Customer Coin Transferee #3521    [Address on File]     5/16/2023 Bitcoin                                        0.22 Customer Transfer
 Confidential Customer Coin Transferee #3521    [Address on File]     5/22/2023 Bitcoin                                        0.22 Customer Transfer
 Confidential Customer Coin Transferee #3521    [Address on File]     5/28/2023 Bitcoin                                         0.2 Customer Transfer
 Confidential Customer Coin Transferee #3522    [Address on File]      6/1/2023 Tether USD                                558.1064 Customer Transfer
 Confidential Customer Coin Transferee #3523    [Address on File]     5/22/2023 Bitcoin                                0.01042607 Customer Transfer
 Confidential Customer Coin Transferee #3524    [Address on File]     6/20/2023 Bitcoin                                0.00404974 Customer Transfer
 Confidential Customer Coin Transferee #3525    [Address on File]     6/20/2023 Bitcoin                                0.00128838 Customer Transfer
 Confidential Customer Coin Transferee #3526    [Address on File]     5/18/2023 Bitcoin                                0.04419074 Customer Transfer
 Confidential Customer Coin Transferee #3527    [Address on File]     6/19/2023 Bitcoin                                0.00046321 Customer Transfer
 Confidential Customer Coin Transferee #3528    [Address on File]     6/19/2023 Bitcoin                                0.00057871 Customer Transfer
 Confidential Customer Coin Transferee #3529    [Address on File]     6/20/2023 Bitcoin                                0.00057953 Customer Transfer
 Confidential Customer Coin Transferee #3530    [Address on File]     6/19/2023 Bitcoin                                0.00111594 Customer Transfer
 Confidential Customer Coin Transferee #3531    [Address on File]      6/7/2023 Recover Value USD                         5698.146 Customer Transfer
 Confidential Customer Coin Transferee #3531    [Address on File]      6/6/2023 Recover Value USD                                 1 Customer Transfer
 Confidential Customer Coin Transferee #3532    [Address on File]     6/20/2023 Bitcoin                                0.00557704 Customer Transfer
 Confidential Customer Coin Transferee #3533    [Address on File]     6/19/2023 Bitcoin                                0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #3534    [Address on File]     6/19/2023 Bitcoin                                0.00035518 Customer Transfer
 Confidential Customer Coin Transferee #3535    [Address on File]     6/19/2023 Bitcoin                                0.00235786 Customer Transfer
 Confidential Customer Coin Transferee #3536    [Address on File]     5/23/2023 Bitcoin                                0.00189442 Customer Transfer
 Confidential Customer Coin Transferee #3536    [Address on File]     5/30/2023 Bitcoin                                 0.0018544 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3536    [Address on File]     5/16/2023 Bitcoin                             0.00168626 Customer Transfer
 Confidential Customer Coin Transferee #3537    [Address on File]     5/16/2023 Bitcoin                             0.01084498 Customer Transfer
 Confidential Customer Coin Transferee #3538    [Address on File]     6/20/2023 Bitcoin                             0.00063826 Customer Transfer
 Confidential Customer Coin Transferee #3539    [Address on File]     6/19/2023 Bitcoin                             0.00110749 Customer Transfer
 Confidential Customer Coin Transferee #3540    [Address on File]     5/27/2023 Bitcoin                             0.00258015 Customer Transfer
 Confidential Customer Coin Transferee #3541    [Address on File]     6/20/2023 Bitcoin                             0.00017163 Customer Transfer
 Confidential Customer Coin Transferee #3542    [Address on File]     5/24/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #3542    [Address on File]     5/29/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #3543    [Address on File]     5/19/2023 Bitcoin                             0.00169635 Customer Transfer
 Confidential Customer Coin Transferee #3544    [Address on File]     5/24/2023 Bitcoin                             0.00879264 Customer Transfer
 Confidential Customer Coin Transferee #3544    [Address on File]     5/17/2023 Bitcoin                             0.00483441 Customer Transfer
 Confidential Customer Coin Transferee #3545    [Address on File]      6/4/2023 USDC Avalanche)                    1495.152908 Customer Transfer
 Confidential Customer Coin Transferee #3545    [Address on File]     6/10/2023 USDC Avalanche)                    1494.914068 Customer Transfer
 Confidential Customer Coin Transferee #3546    [Address on File]      6/6/2023 Bitcoin                              0.0096153 Customer Transfer
 Confidential Customer Coin Transferee #3546    [Address on File]      6/1/2023 Bitcoin                             0.00548846 Customer Transfer
 Confidential Customer Coin Transferee #3547    [Address on File]     5/22/2023 Bitcoin                             0.00361314 Customer Transfer
 Confidential Customer Coin Transferee #3548    [Address on File]     5/26/2023 Bitcoin                             0.03998507 Customer Transfer
 Confidential Customer Coin Transferee #3549    [Address on File]     5/23/2023 Bitcoin                             0.03668223 Customer Transfer
 Confidential Customer Coin Transferee #3550    [Address on File]     6/20/2023 Bitcoin                             0.00014137 Customer Transfer
 Confidential Customer Coin Transferee #3551    [Address on File]     5/22/2023 Bitcoin                             0.00129181 Customer Transfer
 Confidential Customer Coin Transferee #3552    [Address on File]     6/19/2023 Bitcoin                             0.00005819 Customer Transfer
 Confidential Customer Coin Transferee #3553    [Address on File]     5/16/2023 Bitcoin                             0.01001158 Customer Transfer
 Confidential Customer Coin Transferee #3554    [Address on File]     5/23/2023 Bitcoin                             1.00061522 Customer Transfer
 Confidential Customer Coin Transferee #3555    [Address on File]     5/19/2023 Bitcoin                             1.65734963 Customer Transfer
 Confidential Customer Coin Transferee #3555    [Address on File]     5/19/2023 Bitcoin                                     0.05 Customer Transfer
 Confidential Customer Coin Transferee #3556    [Address on File]     5/16/2023 Bitcoin                             0.00711252 Customer Transfer
 Confidential Customer Coin Transferee #3557    [Address on File]     5/23/2023 Bitcoin                             0.01052802 Customer Transfer
 Confidential Customer Coin Transferee #3558    [Address on File]     6/20/2023 Bitcoin                             0.00329945 Customer Transfer
 Confidential Customer Coin Transferee #3559    [Address on File]     6/19/2023 Bitcoin                             0.00047196 Customer Transfer
 Confidential Customer Coin Transferee #3560    [Address on File]     6/20/2023 Bitcoin                             0.00011893 Customer Transfer
 Confidential Customer Coin Transferee #3561    [Address on File]     5/18/2023 Bitcoin                             0.00372419 Customer Transfer
 Confidential Customer Coin Transferee #3562    [Address on File]     5/26/2023 Bitcoin                             0.00903975 Customer Transfer
 Confidential Customer Coin Transferee #3562    [Address on File]     5/19/2023 Bitcoin                             0.00854956 Customer Transfer
 Confidential Customer Coin Transferee #3563    [Address on File]     6/19/2023 Bitcoin                              0.0025302 Customer Transfer

 Confidential Customer Coin Transferee #3564    [Address on File]     5/29/2023 Bitcoin                                0.005423 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3565    [Address on File]     5/22/2023 Bitcoin                             0.01056215 Customer Transfer

 Confidential Customer Coin Transferee #3566    [Address on File]     6/19/2023 Bitcoin                                0.00021525 Customer Transfer
 Confidential Customer Coin Transferee #3567    [Address on File]     5/16/2023 Bitcoin                                0.00346292 Customer Transfer
 Confidential Customer Coin Transferee #3568    [Address on File]     6/20/2023 Bitcoin                                0.00058933 Customer Transfer
 Confidential Customer Coin Transferee #3569    [Address on File]     6/20/2023 Bitcoin                                0.01084061 Customer Transfer
 Confidential Customer Coin Transferee #3570    [Address on File]     6/17/2023 Bitcoin                                0.03600133 Customer Transfer
 Confidential Customer Coin Transferee #3571    [Address on File]     5/19/2023 Bitcoin                                0.02601833 Customer Transfer
 Confidential Customer Coin Transferee #3572    [Address on File]     6/19/2023 Bitcoin                                 0.0023279 Customer Transfer
 Confidential Customer Coin Transferee #3573    [Address on File]     6/20/2023 Bitcoin                                0.01392836 Customer Transfer
 Confidential Customer Coin Transferee #3574    [Address on File]     6/20/2023 Bitcoin                                0.00221863 Customer Transfer
 Confidential Customer Coin Transferee #3575    [Address on File]     6/19/2023 Bitcoin                                0.03231086 Customer Transfer
 Confidential Customer Coin Transferee #3576    [Address on File]     6/19/2023 Bitcoin                                0.00117397 Customer Transfer
 Confidential Customer Coin Transferee #3577    [Address on File]     6/20/2023 Bitcoin                                0.00216908 Customer Transfer
 Confidential Customer Coin Transferee #3578    [Address on File]     6/16/2023 Bitcoin                                0.00445084 Customer Transfer
 Confidential Customer Coin Transferee #3579    [Address on File]     6/16/2023 Bitcoin                                0.00069913 Customer Transfer
 Confidential Customer Coin Transferee #3580    [Address on File]     5/21/2023 Bitcoin                                0.00527815 Customer Transfer
 Confidential Customer Coin Transferee #3580    [Address on File]     5/25/2023 Bitcoin                                       0.004 Customer Transfer
 Confidential Customer Coin Transferee #3581    [Address on File]     6/19/2023 Bitcoin                                0.00116301 Customer Transfer
 Confidential Customer Coin Transferee #3582    [Address on File]     5/25/2023 Bitcoin                                0.02756848 Customer Transfer
 Confidential Customer Coin Transferee #3583    [Address on File]     6/20/2023 Bitcoin                                0.00619998 Customer Transfer
 Confidential Customer Coin Transferee #3584    [Address on File]     5/28/2023 Bitcoin                                 0.0004869 Customer Transfer
 Confidential Customer Coin Transferee #3585    [Address on File]     6/13/2023 Bitcoin                                0.00190069 Customer Transfer
 Confidential Customer Coin Transferee #3586    [Address on File]     5/27/2023 Bitcoin                                0.01076141 Customer Transfer
 Confidential Customer Coin Transferee #3587    [Address on File]     6/20/2023 Bitcoin                                 0.0000593 Customer Transfer
 Confidential Customer Coin Transferee #3588    [Address on File]     6/19/2023 Bitcoin                                0.00139232 Customer Transfer
 Confidential Customer Coin Transferee #3589    [Address on File]     6/12/2023 Bitcoin                                0.00510945 Customer Transfer
 Confidential Customer Coin Transferee #3589    [Address on File]     6/13/2023 Bitcoin                                0.00380337 Customer Transfer
 Confidential Customer Coin Transferee #3590    [Address on File]     6/20/2023 Bitcoin                                0.00005767 Customer Transfer
 Confidential Customer Coin Transferee #3591    [Address on File]     5/22/2023 Bitcoin                                0.00110584 Customer Transfer
 Confidential Customer Coin Transferee #3592    [Address on File]     6/20/2023 Bitcoin                                0.01483367 Customer Transfer
 Confidential Customer Coin Transferee #3593    [Address on File]     6/12/2023 Bitcoin                                0.01340738 Customer Transfer
 Confidential Customer Coin Transferee #3593    [Address on File]     6/12/2023 Bitcoin                                0.01248047 Customer Transfer
 Confidential Customer Coin Transferee #3593    [Address on File]     6/15/2023 Bitcoin                                   0.009879 Customer Transfer
 Confidential Customer Coin Transferee #3593    [Address on File]     6/14/2023 Bitcoin                                 0.0095827 Customer Transfer
 Confidential Customer Coin Transferee #3594    [Address on File]     6/20/2023 Bitcoin                                0.00035721 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3595    [Address on File]     6/20/2023 Bitcoin                             0.00177369 Customer Transfer
 Confidential Customer Coin Transferee #3596    [Address on File]     5/31/2023 Bitcoin                             0.10818149 Customer Transfer
 Confidential Customer Coin Transferee #3597    [Address on File]     6/19/2023 Bitcoin                             0.00057878 Customer Transfer
 Confidential Customer Coin Transferee #3598    [Address on File]     6/19/2023 Bitcoin                             0.00057898 Customer Transfer
 Confidential Customer Coin Transferee #3599    [Address on File]     5/26/2023 Bitcoin                             0.00658112 Customer Transfer
 Confidential Customer Coin Transferee #3599    [Address on File]     5/19/2023 Bitcoin                             0.00334931 Customer Transfer
 Confidential Customer Coin Transferee #3600    [Address on File]      6/7/2023 Bitcoin                             0.07981385 Customer Transfer
 Confidential Customer Coin Transferee #3601    [Address on File]     5/22/2023 Bitcoin                             0.00184313 Customer Transfer
 Confidential Customer Coin Transferee #3602    [Address on File]     5/26/2023 Bitcoin                             0.05438359 Customer Transfer
 Confidential Customer Coin Transferee #3603    [Address on File]     5/20/2023 Bitcoin                             0.01488565 Customer Transfer
 Confidential Customer Coin Transferee #3604    [Address on File]     6/13/2023 Bitcoin                             0.00424059 Customer Transfer
 Confidential Customer Coin Transferee #3604    [Address on File]     5/22/2023 Bitcoin                             0.00077962 Customer Transfer
 Confidential Customer Coin Transferee #3604    [Address on File]     6/16/2023 Bitcoin                             0.00077937 Customer Transfer
 Confidential Customer Coin Transferee #3605    [Address on File]      6/7/2023 Bitcoin                             0.00592481 Customer Transfer
 Confidential Customer Coin Transferee #3606    [Address on File]     5/21/2023 Bitcoin                             0.01052432 Customer Transfer
 Confidential Customer Coin Transferee #3607    [Address on File]     6/18/2023 Bitcoin                              0.0059709 Customer Transfer
 Confidential Customer Coin Transferee #3608    [Address on File]     5/25/2023 Bitcoin                                     1.1 Customer Transfer
 Confidential Customer Coin Transferee #3609    [Address on File]     5/19/2023 Bitcoin                             0.11554392 Customer Transfer
 Confidential Customer Coin Transferee #3609    [Address on File]     5/26/2023 Bitcoin                             0.10787377 Customer Transfer
 Confidential Customer Coin Transferee #3610    [Address on File]     6/19/2023 Bitcoin                             0.00036307 Customer Transfer
 Confidential Customer Coin Transferee #3611    [Address on File]     5/26/2023 Bitcoin                             0.00103297 Customer Transfer
 Confidential Customer Coin Transferee #3612    [Address on File]     6/19/2023 Bitcoin                             0.00036383 Customer Transfer
 Confidential Customer Coin Transferee #3613    [Address on File]     6/19/2023 Bitcoin                             0.01100074 Customer Transfer
 Confidential Customer Coin Transferee #3614    [Address on File]     5/24/2023 Bitcoin                             0.05971382 Customer Transfer
 Confidential Customer Coin Transferee #3615    [Address on File]     5/30/2023 Bitcoin                             0.01679629 Customer Transfer
 Confidential Customer Coin Transferee #3615    [Address on File]     6/12/2023 Bitcoin                             0.00484601 Customer Transfer
 Confidential Customer Coin Transferee #3615    [Address on File]     6/20/2023 Bitcoin                             0.00462188 Customer Transfer

 Confidential Customer Coin Transferee #3616    [Address on File]     5/26/2023 Recover Value USD                         7295.028 Customer Transfer
 Confidential Customer Coin Transferee #3617    [Address on File]     6/19/2023 Bitcoin                                0.00005618 Customer Transfer
 Confidential Customer Coin Transferee #3618    [Address on File]     6/19/2023 Bitcoin                                0.00008815 Customer Transfer
 Confidential Customer Coin Transferee #3619    [Address on File]     6/20/2023 Bitcoin                                0.00004907 Customer Transfer
 Confidential Customer Coin Transferee #3620    [Address on File]     6/19/2023 Bitcoin                                0.00045781 Customer Transfer
 Confidential Customer Coin Transferee #3621    [Address on File]     5/26/2023 Bitcoin                                0.00185694 Customer Transfer
 Confidential Customer Coin Transferee #3621    [Address on File]     5/19/2023 Bitcoin                                0.00172291 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count          or Transfer

 Confidential Customer Coin Transferee #3622    [Address on File]     6/20/2023 Bitcoin                                0.01005549 Customer Transfer
 Confidential Customer Coin Transferee #3623    [Address on File]     5/23/2023 Bitcoin                                0.05632968 Customer Transfer
 Confidential Customer Coin Transferee #3623    [Address on File]      6/1/2023 Bitcoin                                0.03664564 Customer Transfer
 Confidential Customer Coin Transferee #3623    [Address on File]     5/19/2023 Bitcoin                                0.01989015 Customer Transfer
 Confidential Customer Coin Transferee #3623    [Address on File]      6/8/2023 Bitcoin                                0.00184686 Customer Transfer
 Confidential Customer Coin Transferee #3624    [Address on File]     6/19/2023 Bitcoin                                0.00017303 Customer Transfer
 Confidential Customer Coin Transferee #3625    [Address on File]     5/18/2023 Bitcoin                                0.47298602 Customer Transfer
 Confidential Customer Coin Transferee #3626    [Address on File]     5/16/2023 Cosmos Hub ATOM)                        13.230591 Customer Transfer
 Confidential Customer Coin Transferee #3627    [Address on File]     6/20/2023 Bitcoin                                 0.0002923 Customer Transfer
 Confidential Customer Coin Transferee #3628    [Address on File]     5/26/2023 Bitcoin                                0.00036838 Customer Transfer
 Confidential Customer Coin Transferee #3628    [Address on File]     5/17/2023 Bitcoin                                0.00033656 Customer Transfer
 Confidential Customer Coin Transferee #3629    [Address on File]     5/21/2023 Bitcoin                                0.00218064 Customer Transfer
 Confidential Customer Coin Transferee #3630    [Address on File]     5/16/2023 Bitcoin                                0.01001537 Customer Transfer
 Confidential Customer Coin Transferee #3631    [Address on File]     5/23/2023 Bitcoin                                0.01490976 Customer Transfer
 Confidential Customer Coin Transferee #3631    [Address on File]     5/16/2023 Bitcoin                                 0.0103401 Customer Transfer
 Confidential Customer Coin Transferee #3632    [Address on File]     5/31/2023 Bitcoin                                0.07348184 Customer Transfer
 Confidential Customer Coin Transferee #3632    [Address on File]     5/17/2023 Bitcoin                                0.07024901 Customer Transfer
 Confidential Customer Coin Transferee #3633    [Address on File]     6/19/2023 Bitcoin                                0.00198149 Customer Transfer
 Confidential Customer Coin Transferee #3634    [Address on File]     5/23/2023 Bitcoin                                0.01050023 Customer Transfer
 Confidential Customer Coin Transferee #3635    [Address on File]     5/24/2023 Bitcoin                                0.01015982 Customer Transfer
 Confidential Customer Coin Transferee #3636    [Address on File]     6/19/2023 Bitcoin                                0.00286595 Customer Transfer
 Confidential Customer Coin Transferee #3637    [Address on File]     5/22/2023 Bitcoin                                0.01051524 Customer Transfer
 Confidential Customer Coin Transferee #3638    [Address on File]     5/26/2023 Bitcoin                                0.01420132 Customer Transfer
 Confidential Customer Coin Transferee #3638    [Address on File]     5/19/2023 Bitcoin                                0.01265035 Customer Transfer
 Confidential Customer Coin Transferee #3638    [Address on File]     5/29/2023 Bitcoin                                0.01116498 Customer Transfer
 Confidential Customer Coin Transferee #3639    [Address on File]     5/30/2023 Bitcoin                                0.00023165 Customer Transfer
 Confidential Customer Coin Transferee #3640    [Address on File]     5/25/2023 Bitcoin                                0.02796452 Customer Transfer
 Confidential Customer Coin Transferee #3641    [Address on File]     6/19/2023 Bitcoin                                0.00051898 Customer Transfer
 Confidential Customer Coin Transferee #3642    [Address on File]     5/23/2023 Bitcoin                                       0.03 Customer Transfer
 Confidential Customer Coin Transferee #3643    [Address on File]     6/19/2023 Bitcoin                                0.00579112 Customer Transfer
 Confidential Customer Coin Transferee #3644    [Address on File]     5/22/2023 Bitcoin                                0.01411089 Customer Transfer
 Confidential Customer Coin Transferee #3644    [Address on File]     5/22/2023 Bitcoin                                0.01378545 Customer Transfer
 Confidential Customer Coin Transferee #3645    [Address on File]     6/12/2023 Bitcoin                                0.03341756 Customer Transfer
 Confidential Customer Coin Transferee #3645    [Address on File]     6/19/2023 Bitcoin                                0.00362205 Customer Transfer
 Confidential Customer Coin Transferee #3646    [Address on File]     6/20/2023 Bitcoin                                 0.0004825 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3647    [Address on File]     5/17/2023 USDC Avalanche)                    1994.632147 Customer Transfer
 Confidential Customer Coin Transferee #3647    [Address on File]     5/16/2023 USDC Avalanche)                    1495.601319 Customer Transfer
 Confidential Customer Coin Transferee #3647    [Address on File]     5/16/2023 USDC Avalanche)                    1495.601319 Customer Transfer
 Confidential Customer Coin Transferee #3648    [Address on File]     6/19/2023 Bitcoin                             0.00191457 Customer Transfer
 Confidential Customer Coin Transferee #3649    [Address on File]     6/19/2023 Bitcoin                             0.00064369 Customer Transfer
 Confidential Customer Coin Transferee #3650    [Address on File]     5/24/2023 Bitcoin                             0.10370518 Customer Transfer
 Confidential Customer Coin Transferee #3651    [Address on File]     5/26/2023 Bitcoin                             0.04539076 Customer Transfer
 Confidential Customer Coin Transferee #3652    [Address on File]     6/19/2023 Bitcoin                             0.00048928 Customer Transfer
 Confidential Customer Coin Transferee #3653    [Address on File]     5/22/2023 Bitcoin                             0.00072292 Customer Transfer
 Confidential Customer Coin Transferee #3654    [Address on File]      6/9/2023 Bitcoin                             0.00125407 Customer Transfer
 Confidential Customer Coin Transferee #3655    [Address on File]     6/20/2023 Bitcoin                             0.00351285 Customer Transfer
 Confidential Customer Coin Transferee #3656    [Address on File]      6/5/2023 Bitcoin                             0.00364323 Customer Transfer
 Confidential Customer Coin Transferee #3656    [Address on File]      6/6/2023 Bitcoin                             0.00191425 Customer Transfer
 Confidential Customer Coin Transferee #3656    [Address on File]     5/22/2023 Bitcoin                             0.00184571 Customer Transfer
 Confidential Customer Coin Transferee #3657    [Address on File]     6/19/2023 Bitcoin                             0.00279302 Customer Transfer
 Confidential Customer Coin Transferee #3658    [Address on File]     5/19/2023 Bitcoin                              0.0180968 Customer Transfer
 Confidential Customer Coin Transferee #3659    [Address on File]     5/26/2023 Bitcoin                             0.00037066 Customer Transfer
 Confidential Customer Coin Transferee #3659    [Address on File]     5/19/2023 Bitcoin                             0.00034749 Customer Transfer
 Confidential Customer Coin Transferee #3660    [Address on File]     6/20/2023 Bitcoin                             0.00152361 Customer Transfer

 Confidential Customer Coin Transferee #3661    [Address on File]     6/19/2023 Bitcoin                                0.05605939 Customer Transfer
 Confidential Customer Coin Transferee #3662    [Address on File]     5/25/2023 Bitcoin                                0.00761778 Customer Transfer
 Confidential Customer Coin Transferee #3663    [Address on File]     5/20/2023 Bitcoin                                0.01438757 Customer Transfer
 Confidential Customer Coin Transferee #3664    [Address on File]     6/20/2023 Bitcoin                                0.02270292 Customer Transfer
 Confidential Customer Coin Transferee #3665    [Address on File]     5/25/2023 Bitcoin                                0.02841514 Customer Transfer
 Confidential Customer Coin Transferee #3666    [Address on File]      6/1/2023 Bitcoin                                0.00368289 Customer Transfer
 Confidential Customer Coin Transferee #3666    [Address on File]     6/17/2023 Bitcoin                                0.00038907 Customer Transfer
 Confidential Customer Coin Transferee #3666    [Address on File]     5/19/2023 Bitcoin                                0.00036944 Customer Transfer
 Confidential Customer Coin Transferee #3667    [Address on File]     5/18/2023 Bitcoin                                0.08297429 Customer Transfer
 Confidential Customer Coin Transferee #3668    [Address on File]     5/16/2023 Bitcoin                                0.00687307 Customer Transfer
 Confidential Customer Coin Transferee #3668    [Address on File]     5/22/2023 Bitcoin                                0.00300482 Customer Transfer
 Confidential Customer Coin Transferee #3669    [Address on File]     6/12/2023 Bitcoin                                0.00013344 Customer Transfer
 Confidential Customer Coin Transferee #3670    [Address on File]     6/19/2023 Bitcoin                                0.00059101 Customer Transfer
 Confidential Customer Coin Transferee #3671    [Address on File]     5/25/2023 Bitcoin                                0.18671954 Customer Transfer
 Confidential Customer Coin Transferee #3672    [Address on File]     6/20/2023 Bitcoin                                0.00116796 Customer Transfer
 Confidential Customer Coin Transferee #3673    [Address on File]     5/25/2023 Bitcoin                                0.18336632 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3674    [Address on File]     5/20/2023 Bitcoin                             0.01401319 Customer Transfer
 Confidential Customer Coin Transferee #3675    [Address on File]     5/27/2023 Bitcoin                             0.01008342 Customer Transfer
 Confidential Customer Coin Transferee #3676    [Address on File]     5/26/2023 Bitcoin                             0.01462262 Customer Transfer
 Confidential Customer Coin Transferee #3677    [Address on File]     5/17/2023 Bitcoin                             0.14610062 Customer Transfer
 Confidential Customer Coin Transferee #3678    [Address on File]     6/19/2023 Bitcoin                             0.03172843 Customer Transfer
 Confidential Customer Coin Transferee #3679    [Address on File]     6/19/2023 Bitcoin                             0.00055951 Customer Transfer
 Confidential Customer Coin Transferee #3680    [Address on File]     6/19/2023 Bitcoin                             0.00146443 Customer Transfer
 Confidential Customer Coin Transferee #3681    [Address on File]     6/19/2023 Bitcoin                             0.00023505 Customer Transfer
 Confidential Customer Coin Transferee #3682    [Address on File]     6/19/2023 Bitcoin                             0.00366918 Customer Transfer
 Confidential Customer Coin Transferee #3683    [Address on File]     5/24/2023 Bitcoin                             0.03486471 Customer Transfer
 Confidential Customer Coin Transferee #3684    [Address on File]     6/16/2023 USDC Avalanche)                      490.00299 Customer Transfer
 Confidential Customer Coin Transferee #3685    [Address on File]     6/19/2023 Bitcoin                             0.00057818 Customer Transfer
 Confidential Customer Coin Transferee #3686    [Address on File]     5/19/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #3686    [Address on File]     5/20/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #3686    [Address on File]     5/20/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #3686    [Address on File]     5/20/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #3686    [Address on File]     5/27/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #3687    [Address on File]     6/19/2023 Bitcoin                             0.18304573 Customer Transfer
 Confidential Customer Coin Transferee #3688    [Address on File]     5/24/2023 Bitcoin                             0.00257399 Customer Transfer
 Confidential Customer Coin Transferee #3688    [Address on File]     5/17/2023 Bitcoin                             0.00242517 Customer Transfer
 Confidential Customer Coin Transferee #3689    [Address on File]     6/13/2023 Bitcoin                                0.111277 Customer Transfer
 Confidential Customer Coin Transferee #3690    [Address on File]     5/18/2023 Bitcoin                             0.03689942 Customer Transfer

 Confidential Customer Coin Transferee #3691    [Address on File]      6/3/2023 Bitcoin                                0.00308886 Customer Transfer

 Confidential Customer Coin Transferee #3691    [Address on File]      6/8/2023 Bitcoin                                0.00073648 Customer Transfer
 Confidential Customer Coin Transferee #3692    [Address on File]     5/28/2023 Bitcoin                                0.02974735 Customer Transfer
 Confidential Customer Coin Transferee #3692    [Address on File]     5/21/2023 Bitcoin                                0.02720585 Customer Transfer
 Confidential Customer Coin Transferee #3693    [Address on File]     5/26/2023 Bitcoin                                0.00165647 Customer Transfer
 Confidential Customer Coin Transferee #3693    [Address on File]     5/25/2023 Bitcoin                                0.00162445 Customer Transfer
 Confidential Customer Coin Transferee #3693    [Address on File]     5/25/2023 Bitcoin                                0.00160256 Customer Transfer
 Confidential Customer Coin Transferee #3694    [Address on File]     5/22/2023 Bitcoin                                0.00293492 Customer Transfer
 Confidential Customer Coin Transferee #3695    [Address on File]     6/19/2023 Bitcoin                                0.00046332 Customer Transfer
 Confidential Customer Coin Transferee #3696    [Address on File]     6/20/2023 Bitcoin                                0.00005814 Customer Transfer
 Confidential Customer Coin Transferee #3697    [Address on File]     5/25/2023 Bitcoin                                0.00046501 Customer Transfer
 Confidential Customer Coin Transferee #3698    [Address on File]     6/19/2023 Bitcoin                                0.00151072 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3699    [Address on File]     6/20/2023 Bitcoin                             0.01568776 Customer Transfer
 Confidential Customer Coin Transferee #3700    [Address on File]     5/26/2023 Bitcoin                             0.19458306 Customer Transfer
 Confidential Customer Coin Transferee #3700    [Address on File]     5/26/2023 Bitcoin                             0.18900583 Customer Transfer
 Confidential Customer Coin Transferee #3700    [Address on File]     5/26/2023 Bitcoin                             0.01820093 Customer Transfer
 Confidential Customer Coin Transferee #3700    [Address on File]     5/26/2023 Bitcoin                             0.01818935 Customer Transfer
 Confidential Customer Coin Transferee #3700    [Address on File]     5/26/2023 Bitcoin                             0.01764722 Customer Transfer
 Confidential Customer Coin Transferee #3700    [Address on File]     5/26/2023 Bitcoin                             0.01761592 Customer Transfer
 Confidential Customer Coin Transferee #3701    [Address on File]     5/24/2023 Bitcoin                             0.01018781 Customer Transfer
 Confidential Customer Coin Transferee #3702    [Address on File]     5/26/2023 Bitcoin                             0.02993407 Customer Transfer
 Confidential Customer Coin Transferee #3702    [Address on File]      6/5/2023 Bitcoin                             0.00037055 Customer Transfer
 Confidential Customer Coin Transferee #3703    [Address on File]     6/19/2023 Bitcoin                             0.00239859 Customer Transfer
 Confidential Customer Coin Transferee #3704    [Address on File]     5/17/2023 Bitcoin                             0.04035939 Customer Transfer
 Confidential Customer Coin Transferee #3705    [Address on File]     5/29/2023 Bitcoin                             0.00616546 Customer Transfer
 Confidential Customer Coin Transferee #3705    [Address on File]     5/17/2023 Bitcoin                             0.00389602 Customer Transfer
 Confidential Customer Coin Transferee #3706    [Address on File]     6/19/2023 Bitcoin                             0.00006864 Customer Transfer
 Confidential Customer Coin Transferee #3707    [Address on File]     5/18/2023 Bitcoin                             0.02918798 Customer Transfer
 Confidential Customer Coin Transferee #3708    [Address on File]     5/24/2023 Bitcoin                             0.00355253 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]     6/14/2023 USDC Avalanche)                    2993.612554 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]     6/18/2023 USDC Avalanche)                     2983.96452 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]     6/21/2023 USDC Avalanche)                    2486.384929 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]      6/6/2023 USDC Solana)                        996.581367 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]     6/16/2023 Ether                                  1.728036 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]     6/12/2023 Bitcoin                                0.115746 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]      6/3/2023 Bitcoin                                0.110458 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]     5/30/2023 Bitcoin                                0.108071 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]     5/27/2023 Bitcoin                                0.093154 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]     5/24/2023 Bitcoin                                0.075787 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]     5/25/2023 Bitcoin                                0.056688 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]     5/26/2023 Bitcoin                                0.018222 Customer Transfer
 Confidential Customer Coin Transferee #3709    [Address on File]     6/21/2023 Bitcoin                                0.017149 Customer Transfer
 Confidential Customer Coin Transferee #3710    [Address on File]     5/28/2023 Bitcoin                             0.05196634 Customer Transfer
 Confidential Customer Coin Transferee #3711    [Address on File]     5/20/2023 Bitcoin                                    0.019 Customer Transfer
 Confidential Customer Coin Transferee #3712    [Address on File]     5/23/2023 Bitcoin                             0.00130091 Customer Transfer
 Confidential Customer Coin Transferee #3712    [Address on File]     5/16/2023 Bitcoin                             0.00119375 Customer Transfer
 Confidential Customer Coin Transferee #3713    [Address on File]     6/20/2023 USD Coin                            305.880594 Customer Transfer
 Confidential Customer Coin Transferee #3713    [Address on File]     6/19/2023 USD Coin                            246.461323 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3713    [Address on File]     6/19/2023 USD Coin                            197.149406 Customer Transfer
 Confidential Customer Coin Transferee #3714    [Address on File]     5/26/2023 Bitcoin                             0.00676771 Customer Transfer
 Confidential Customer Coin Transferee #3715    [Address on File]     5/23/2023 Bitcoin                             0.01398531 Customer Transfer
 Confidential Customer Coin Transferee #3716    [Address on File]     5/17/2023 Bitcoin                             0.01748578 Customer Transfer
 Confidential Customer Coin Transferee #3717    [Address on File]     6/18/2023 Bitcoin                             0.02906646 Customer Transfer
 Confidential Customer Coin Transferee #3718    [Address on File]     5/19/2023 Bitcoin                             0.01794774 Customer Transfer
 Confidential Customer Coin Transferee #3718    [Address on File]     5/24/2023 Bitcoin                             0.01154415 Customer Transfer
 Confidential Customer Coin Transferee #3719    [Address on File]     6/20/2023 Bitcoin                                0.013253 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/27/2023 Bitcoin                             0.00223303 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/24/2023 Bitcoin                             0.00204413 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/21/2023 Bitcoin                             0.00203278 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/16/2023 Bitcoin                                   0.0019 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/26/2023 Bitcoin                                   0.0019 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/26/2023 Bitcoin                              0.0018825 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/16/2023 Bitcoin                             0.00187864 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/17/2023 Bitcoin                             0.00186349 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/17/2023 Bitcoin                             0.00185922 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/20/2023 Bitcoin                             0.00185233 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/26/2023 Bitcoin                             0.00185072 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/19/2023 Bitcoin                              0.0018492 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/19/2023 Bitcoin                             0.00184671 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/21/2023 Bitcoin                             0.00184478 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/28/2023 Bitcoin                              0.0018236 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/23/2023 Bitcoin                             0.00181775 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/25/2023 Bitcoin                             0.00180468 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/16/2023 Bitcoin                                   0.0018 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/29/2023 Bitcoin                                   0.0018 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/29/2023 Bitcoin                             0.00179014 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/16/2023 Bitcoin                              0.0017742 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/26/2023 Bitcoin                             0.00176279 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/28/2023 Bitcoin                                   0.0017 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/28/2023 Bitcoin                                   0.0017 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/27/2023 Bitcoin                             0.00167831 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/27/2023 Bitcoin                             0.00167781 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/23/2023 Bitcoin                             0.00159817 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/23/2023 Bitcoin                             0.00156981 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/23/2023 Bitcoin                                  0.0015 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/23/2023 Bitcoin                                  0.0015 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/27/2023 Bitcoin                                  0.0015 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/24/2023 Bitcoin                                 0.00145 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/25/2023 Bitcoin                             0.00143541 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/26/2023 Bitcoin                                  0.0014 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/22/2023 Bitcoin                             0.00133336 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/28/2023 Bitcoin                             0.00130874 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/20/2023 Bitcoin                                  0.0013 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/17/2023 Bitcoin                             0.00120863 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/23/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/16/2023 Bitcoin                             0.00110475 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/16/2023 Bitcoin                             0.00108167 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/19/2023 Bitcoin                             0.00107521 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/30/2023 Bitcoin                             0.00107343 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/28/2023 Bitcoin                             0.00104673 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/30/2023 Bitcoin                             0.00096552 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/29/2023 Bitcoin                             0.00095126 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/26/2023 Bitcoin                             0.00090822 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/26/2023 Bitcoin                                  0.0009 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/28/2023 Bitcoin                             0.00086095 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/22/2023 Bitcoin                             0.00081877 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/27/2023 Bitcoin                             0.00080926 Customer Transfer
 Confidential Customer Coin Transferee #3720    [Address on File]     5/25/2023 Bitcoin                             0.00071375 Customer Transfer
 Confidential Customer Coin Transferee #3721    [Address on File]     5/24/2023 Bitcoin                             0.00814854 Customer Transfer
 Confidential Customer Coin Transferee #3722    [Address on File]     5/25/2023 Bitcoin                             0.01130933 Customer Transfer
 Confidential Customer Coin Transferee #3722    [Address on File]     5/19/2023 Bitcoin                              0.0072124 Customer Transfer
 Confidential Customer Coin Transferee #3723    [Address on File]     5/26/2023 Bitcoin                             0.01875035 Customer Transfer
 Confidential Customer Coin Transferee #3723    [Address on File]     5/20/2023 Bitcoin                             0.01851589 Customer Transfer
 Confidential Customer Coin Transferee #3724    [Address on File]      6/1/2023 Bitcoin                             0.01052788 Customer Transfer
 Confidential Customer Coin Transferee #3725    [Address on File]     5/26/2023 Bitcoin                             0.00036361 Customer Transfer
 Confidential Customer Coin Transferee #3725    [Address on File]     5/19/2023 Bitcoin                             0.00035868 Customer Transfer
 Confidential Customer Coin Transferee #3726    [Address on File]     5/25/2023 Bitcoin                             0.08830628 Customer Transfer
 Confidential Customer Coin Transferee #3727    [Address on File]      6/1/2023 Bitcoin                                4.50E-07 Customer Transfer
 Confidential Customer Coin Transferee #3728    [Address on File]     5/29/2023 Bitcoin                                  0.0009 Customer Transfer
 Confidential Customer Coin Transferee #3728    [Address on File]     5/29/2023 Bitcoin                                  0.0009 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3728    [Address on File]     5/31/2023 Bitcoin                                  0.0009 Customer Transfer
 Confidential Customer Coin Transferee #3729    [Address on File]     5/24/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #3730    [Address on File]     5/30/2023 Bitcoin                             0.02486823 Customer Transfer
 Confidential Customer Coin Transferee #3730    [Address on File]     5/22/2023 Bitcoin                              0.0237124 Customer Transfer
 Confidential Customer Coin Transferee #3731    [Address on File]      6/6/2023 Bitcoin                             0.00076627 Customer Transfer
 Confidential Customer Coin Transferee #3731    [Address on File]     5/16/2023 Bitcoin                             0.00036319 Customer Transfer

 Confidential Customer Coin Transferee #3732    [Address on File]     6/20/2023 Bitcoin                                0.00005808 Customer Transfer
 Confidential Customer Coin Transferee #3733    [Address on File]     5/30/2023 Bitcoin                                0.00599471 Customer Transfer
 Confidential Customer Coin Transferee #3734    [Address on File]     5/19/2023 Bitcoin                                0.01067876 Customer Transfer
 Confidential Customer Coin Transferee #3735    [Address on File]     6/13/2023 Bitcoin                                0.00387948 Customer Transfer
 Confidential Customer Coin Transferee #3735    [Address on File]     6/20/2023 Bitcoin                                0.00382186 Customer Transfer

 Confidential Customer Coin Transferee #3736    [Address on File]     6/14/2023 Bitcoin                                 0.0549669 Customer Transfer
 Confidential Customer Coin Transferee #3737    [Address on File]     6/20/2023 Bitcoin                                0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/24/2023 Bitcoin                                0.08598044 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/30/2023 Bitcoin                                0.06584628 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/19/2023 Bitcoin                                0.06533696 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/17/2023 Bitcoin                                0.05169786 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/22/2023 Bitcoin                                0.03883756 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/24/2023 Bitcoin                                0.03238496 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/25/2023 Bitcoin                                0.02786889 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/16/2023 Bitcoin                                0.02391393 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/20/2023 Bitcoin                                0.01851227 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/25/2023 Bitcoin                                 0.0170905 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/16/2023 Bitcoin                                0.00589277 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/26/2023 Bitcoin                                0.00488504 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/17/2023 Bitcoin                                0.00427298 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/18/2023 Bitcoin                                 0.0040115 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/24/2023 Bitcoin                                0.00344261 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/26/2023 Bitcoin                                0.00205417 Customer Transfer
 Confidential Customer Coin Transferee #3738    [Address on File]     5/17/2023 Bitcoin                                0.00138275 Customer Transfer
 Confidential Customer Coin Transferee #3739    [Address on File]     5/16/2023 Bitcoin                                0.00084878 Customer Transfer
 Confidential Customer Coin Transferee #3740    [Address on File]     6/10/2023 Bitcoin                                0.00811698 Customer Transfer
 Confidential Customer Coin Transferee #3741    [Address on File]     5/31/2023 Bitcoin                                0.00699283 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #3742    [Address on File]      6/6/2023 Tether USD                                   419.1 Customer Transfer
 Confidential Customer Coin Transferee #3743    [Address on File]     5/19/2023 Bitcoin                                0.01071973 Customer Transfer
 Confidential Customer Coin Transferee #3744    [Address on File]     6/10/2023 Cosmos Hub ATOM)                        39.539114 Customer Transfer
 Confidential Customer Coin Transferee #3745    [Address on File]     5/16/2023 Bitcoin                                0.04838698 Customer Transfer

 Confidential Customer Coin Transferee #3746    [Address on File]     5/18/2023 Ether                                  0.01655739 Customer Transfer

 Confidential Customer Coin Transferee #3746    [Address on File]     6/15/2023 Ether                                  0.00610971 Customer Transfer

 Confidential Customer Coin Transferee #3746    [Address on File]      6/1/2023 Ether                                  0.00268415 Customer Transfer

 Confidential Customer Coin Transferee #3746    [Address on File]      6/6/2023 Bitcoin                                0.00019449 Customer Transfer
 Confidential Customer Coin Transferee #3747    [Address on File]     6/20/2023 Bitcoin                                0.00038421 Customer Transfer
 Confidential Customer Coin Transferee #3748    [Address on File]     6/19/2023 Bitcoin                                0.00719731 Customer Transfer
 Confidential Customer Coin Transferee #3749    [Address on File]     5/26/2023 Bitcoin                                0.01095519 Customer Transfer
 Confidential Customer Coin Transferee #3750    [Address on File]     5/20/2023 Bitcoin                                0.03512059 Customer Transfer
 Confidential Customer Coin Transferee #3751    [Address on File]     5/22/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #3752    [Address on File]     5/24/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #3753    [Address on File]     5/18/2023 Bitcoin                                0.05748366 Customer Transfer
 Confidential Customer Coin Transferee #3754    [Address on File]     5/27/2023 Bitcoin                                0.06687831 Customer Transfer
 Confidential Customer Coin Transferee #3754    [Address on File]     5/21/2023 Bitcoin                                0.01798282 Customer Transfer
 Confidential Customer Coin Transferee #3755    [Address on File]     5/19/2023 Bitcoin                                 0.0422045 Customer Transfer
 Confidential Customer Coin Transferee #3756    [Address on File]     5/22/2023 Bitcoin                                0.01892467 Customer Transfer
 Confidential Customer Coin Transferee #3756    [Address on File]     5/21/2023 Bitcoin                                0.01832205 Customer Transfer
 Confidential Customer Coin Transferee #3757    [Address on File]     6/19/2023 Bitcoin                                0.24810628 Customer Transfer

 Confidential Customer Coin Transferee #3758    [Address on File]      6/7/2023 Tether USD                                1484.81 Customer Transfer

 Confidential Customer Coin Transferee #3759    [Address on File]     6/16/2023 USDC Avalanche)                         36.764999 Customer Transfer

 Confidential Customer Coin Transferee #3759    [Address on File]     5/29/2023 Cosmos Hub ATOM)                         6.028696 Customer Transfer
 Confidential Customer Coin Transferee #3760    [Address on File]     5/29/2023 Bitcoin                                0.00466344 Customer Transfer
 Confidential Customer Coin Transferee #3761    [Address on File]     5/20/2023 Bitcoin                                0.00092588 Customer Transfer
 Confidential Customer Coin Transferee #3762    [Address on File]     5/19/2023 Bitcoin                                0.01849873 Customer Transfer
 Confidential Customer Coin Transferee #3763    [Address on File]     5/24/2023 Bitcoin                                0.01844112 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3763    [Address on File]     6/19/2023 Bitcoin                              0.0175377 Customer Transfer
 Confidential Customer Coin Transferee #3763    [Address on File]      6/7/2023 Bitcoin                             0.00430749 Customer Transfer
 Confidential Customer Coin Transferee #3764    [Address on File]     5/22/2023 Bitcoin                             0.00173603 Customer Transfer
 Confidential Customer Coin Transferee #3765    [Address on File]     5/31/2023 Bitcoin                             0.00000191 Customer Transfer

 Confidential Customer Coin Transferee #3766    [Address on File]     5/24/2023 Bitcoin                                 0.5959084 Customer Transfer

 Confidential Customer Coin Transferee #3766    [Address on File]     5/27/2023 Bitcoin                                0.49578116 Customer Transfer

 Confidential Customer Coin Transferee #3766    [Address on File]     5/17/2023 Bitcoin                                0.36129186 Customer Transfer
 Confidential Customer Coin Transferee #3767    [Address on File]     6/20/2023 Bitcoin                                 0.0052686 Customer Transfer

 Confidential Customer Coin Transferee #3768    [Address on File]     6/19/2023 Bitcoin                                0.00324257 Customer Transfer
 Confidential Customer Coin Transferee #3769    [Address on File]     5/24/2023 Bitcoin                                 0.0107403 Customer Transfer
 Confidential Customer Coin Transferee #3770    [Address on File]     5/29/2023 Bitcoin                                0.00086414 Customer Transfer
 Confidential Customer Coin Transferee #3770    [Address on File]     5/29/2023 Bitcoin                                0.00053074 Customer Transfer
 Confidential Customer Coin Transferee #3771    [Address on File]     5/29/2023 Bitcoin                                0.02135451 Customer Transfer
 Confidential Customer Coin Transferee #3771    [Address on File]     5/22/2023 Bitcoin                                 0.0106379 Customer Transfer
 Confidential Customer Coin Transferee #3772    [Address on File]     5/16/2023 Bitcoin                                 0.0369207 Customer Transfer
 Confidential Customer Coin Transferee #3773    [Address on File]     5/18/2023 Bitcoin                                0.00014122 Customer Transfer
 Confidential Customer Coin Transferee #3774    [Address on File]     5/19/2023 Bitcoin                                 0.0002218 Customer Transfer
 Confidential Customer Coin Transferee #3774    [Address on File]     5/17/2023 Bitcoin                                0.00018169 Customer Transfer
 Confidential Customer Coin Transferee #3775    [Address on File]     5/21/2023 Bitcoin                                0.03801298 Customer Transfer
 Confidential Customer Coin Transferee #3775    [Address on File]     5/21/2023 Bitcoin                                0.00929525 Customer Transfer
 Confidential Customer Coin Transferee #3776    [Address on File]     6/19/2023 Bitcoin                                0.00005837 Customer Transfer
 Confidential Customer Coin Transferee #3777    [Address on File]     6/20/2023 Bitcoin                                0.00028958 Customer Transfer
 Confidential Customer Coin Transferee #3778    [Address on File]     6/19/2023 Bitcoin                                0.00040653 Customer Transfer
 Confidential Customer Coin Transferee #3779    [Address on File]     5/27/2023 Bitcoin                                0.01471917 Customer Transfer
 Confidential Customer Coin Transferee #3779    [Address on File]     5/20/2023 Bitcoin                                0.01227386 Customer Transfer

 Confidential Customer Coin Transferee #3780    [Address on File]     5/25/2023 Bitcoin                                 0.0053261 Customer Transfer
 Confidential Customer Coin Transferee #3781    [Address on File]     6/20/2023 Bitcoin                                 0.0040454 Customer Transfer
 Confidential Customer Coin Transferee #3782    [Address on File]     6/19/2023 Bitcoin                                0.00389545 Customer Transfer
 Confidential Customer Coin Transferee #3783    [Address on File]     5/22/2023 Bitcoin                                0.00173169 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/25/2023 Bitcoin                                0.00093998 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/27/2023 Bitcoin                                 0.0009303 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/26/2023 Bitcoin                             0.00092888 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/23/2023 Bitcoin                             0.00092561 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/29/2023 Bitcoin                             0.00089802 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/30/2023 Bitcoin                             0.00089332 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/30/2023 Bitcoin                             0.00089329 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/29/2023 Bitcoin                              0.0008889 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/30/2023 Bitcoin                             0.00082484 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/25/2023 Bitcoin                             0.00076169 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/24/2023 Bitcoin                             0.00075493 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/18/2023 Bitcoin                             0.00074947 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/22/2023 Bitcoin                             0.00074798 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/19/2023 Bitcoin                             0.00074098 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/20/2023 Bitcoin                             0.00074031 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/19/2023 Bitcoin                             0.00074021 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/16/2023 Bitcoin                             0.00073626 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/17/2023 Bitcoin                             0.00073601 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/21/2023 Bitcoin                             0.00073419 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/21/2023 Bitcoin                             0.00073392 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/18/2023 Bitcoin                             0.00072626 Customer Transfer
 Confidential Customer Coin Transferee #3784    [Address on File]     5/25/2023 Bitcoin                             0.00037939 Customer Transfer
 Confidential Customer Coin Transferee #3785    [Address on File]     5/24/2023 Bitcoin                             0.02276844 Customer Transfer
 Confidential Customer Coin Transferee #3786    [Address on File]     5/16/2023 Bitcoin                             0.00683234 Customer Transfer
 Confidential Customer Coin Transferee #3787    [Address on File]     5/25/2023 Bitcoin                             0.03052476 Customer Transfer
 Confidential Customer Coin Transferee #3788    [Address on File]     5/31/2023 Bitcoin                             0.00923178 Customer Transfer
 Confidential Customer Coin Transferee #3789    [Address on File]     6/20/2023 Bitcoin                             0.01178997 Customer Transfer
 Confidential Customer Coin Transferee #3789    [Address on File]      6/7/2023 Bitcoin                             0.01138042 Customer Transfer
 Confidential Customer Coin Transferee #3789    [Address on File]     5/22/2023 Bitcoin                              0.0072945 Customer Transfer
 Confidential Customer Coin Transferee #3790    [Address on File]     5/25/2023 Bitcoin                             0.00315636 Customer Transfer
 Confidential Customer Coin Transferee #3791    [Address on File]     6/20/2023 Bitcoin                             0.00029431 Customer Transfer
 Confidential Customer Coin Transferee #3792    [Address on File]     6/19/2023 Bitcoin                             0.00354933 Customer Transfer
 Confidential Customer Coin Transferee #3793    [Address on File]     5/24/2023 Bitcoin                             0.05978212 Customer Transfer
 Confidential Customer Coin Transferee #3793    [Address on File]     5/29/2023 Bitcoin                             0.05166232 Customer Transfer
 Confidential Customer Coin Transferee #3794    [Address on File]     5/17/2023 Bitcoin                             0.05188943 Customer Transfer
 Confidential Customer Coin Transferee #3795    [Address on File]     6/19/2023 Bitcoin                             0.00289353 Customer Transfer
 Confidential Customer Coin Transferee #3796    [Address on File]     5/25/2023 Bitcoin                             0.00379181 Customer Transfer
 Confidential Customer Coin Transferee #3796    [Address on File]     5/23/2023 Bitcoin                             0.00370041 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3797    [Address on File]     5/19/2023 Bitcoin                             0.03700789 Customer Transfer
 Confidential Customer Coin Transferee #3797    [Address on File]     5/19/2023 Bitcoin                              0.0369368 Customer Transfer
 Confidential Customer Coin Transferee #3797    [Address on File]     5/19/2023 Bitcoin                             0.03692337 Customer Transfer
 Confidential Customer Coin Transferee #3797    [Address on File]     5/16/2023 Bitcoin                             0.01843333 Customer Transfer
 Confidential Customer Coin Transferee #3797    [Address on File]     5/16/2023 Bitcoin                             0.01503994 Customer Transfer
 Confidential Customer Coin Transferee #3797    [Address on File]     5/16/2023 Bitcoin                             0.01490732 Customer Transfer
 Confidential Customer Coin Transferee #3797    [Address on File]     5/16/2023 Bitcoin                                   0.0148 Customer Transfer
 Confidential Customer Coin Transferee #3798    [Address on File]     5/22/2023 Bitcoin                             0.00541245 Customer Transfer
 Confidential Customer Coin Transferee #3799    [Address on File]     5/27/2023 Bitcoin                             0.00279435 Customer Transfer
 Confidential Customer Coin Transferee #3799    [Address on File]     5/27/2023 Bitcoin                             0.00279369 Customer Transfer
 Confidential Customer Coin Transferee #3799    [Address on File]     5/27/2023 Bitcoin                             0.00186316 Customer Transfer
 Confidential Customer Coin Transferee #3799    [Address on File]     5/28/2023 Bitcoin                             0.00185149 Customer Transfer
 Confidential Customer Coin Transferee #3800    [Address on File]     5/20/2023 Bitcoin                             0.00259026 Customer Transfer
 Confidential Customer Coin Transferee #3800    [Address on File]     5/24/2023 Bitcoin                             0.00184723 Customer Transfer
 Confidential Customer Coin Transferee #3801    [Address on File]     5/28/2023 Bitcoin                             0.01669146 Customer Transfer
 Confidential Customer Coin Transferee #3801    [Address on File]     5/19/2023 Bitcoin                             0.00828628 Customer Transfer
 Confidential Customer Coin Transferee #3802    [Address on File]     5/26/2023 Bitcoin                             0.01392204 Customer Transfer
 Confidential Customer Coin Transferee #3803    [Address on File]     5/21/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #3804    [Address on File]     5/17/2023 Bitcoin                             0.00629037 Customer Transfer
 Confidential Customer Coin Transferee #3804    [Address on File]     5/20/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #3804    [Address on File]     5/28/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #3804    [Address on File]     5/20/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/28/2023 Bitcoin                             0.00730552 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/27/2023 Bitcoin                             0.00349514 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/30/2023 Bitcoin                             0.00286875 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/30/2023 Bitcoin                             0.00286719 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/30/2023 Bitcoin                             0.00286346 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/19/2023 Bitcoin                             0.00225256 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/28/2023 Bitcoin                             0.00219525 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/30/2023 Bitcoin                             0.00214212 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/30/2023 Bitcoin                             0.00179094 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/18/2023 Bitcoin                             0.00106698 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/26/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/18/2023 Bitcoin                                0.000748 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/19/2023 Bitcoin                             0.00074308 Customer Transfer
 Confidential Customer Coin Transferee #3805    [Address on File]     5/19/2023 Bitcoin                                   0.0007 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3806    [Address on File]     5/17/2023 Bitcoin                              0.0662511 Customer Transfer
 Confidential Customer Coin Transferee #3807    [Address on File]     5/22/2023 Bitcoin                             0.00149528 Customer Transfer
 Confidential Customer Coin Transferee #3807    [Address on File]     5/22/2023 Bitcoin                             0.00037447 Customer Transfer
 Confidential Customer Coin Transferee #3807    [Address on File]     5/21/2023 Bitcoin                             0.00037369 Customer Transfer
 Confidential Customer Coin Transferee #3808    [Address on File]     5/23/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #3808    [Address on File]     5/23/2023 Bitcoin                             0.00093036 Customer Transfer
 Confidential Customer Coin Transferee #3809    [Address on File]     5/16/2023 Bitcoin                             0.16335002 Customer Transfer
 Confidential Customer Coin Transferee #3810    [Address on File]     5/16/2023 Bitcoin                             0.00919538 Customer Transfer
 Confidential Customer Coin Transferee #3811    [Address on File]     5/17/2023 Bitcoin                             0.00239999 Customer Transfer
 Confidential Customer Coin Transferee #3812    [Address on File]     5/23/2023 Bitcoin                             0.01840937 Customer Transfer
 Confidential Customer Coin Transferee #3813    [Address on File]     5/21/2023 Bitcoin                             0.04015021 Customer Transfer
 Confidential Customer Coin Transferee #3814    [Address on File]     5/22/2023 Bitcoin                             0.14180387 Customer Transfer
 Confidential Customer Coin Transferee #3815    [Address on File]     5/17/2023 Bitcoin                             0.06244633 Customer Transfer
 Confidential Customer Coin Transferee #3816    [Address on File]     5/23/2023 Bitcoin                             0.11812822 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/16/2023 Bitcoin                             0.01046258 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/22/2023 Bitcoin                             0.00722851 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/24/2023 Bitcoin                             0.00385629 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/27/2023 Bitcoin                              0.0024199 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/27/2023 Bitcoin                             0.00241911 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/17/2023 Bitcoin                             0.00241469 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/24/2023 Bitcoin                             0.00238615 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/24/2023 Bitcoin                             0.00227018 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/19/2023 Bitcoin                             0.00220653 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/18/2023 Bitcoin                             0.00219364 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/20/2023 Bitcoin                             0.00184735 Customer Transfer
 Confidential Customer Coin Transferee #3817    [Address on File]     5/29/2023 Bitcoin                             0.00106836 Customer Transfer
 Confidential Customer Coin Transferee #3818    [Address on File]     5/30/2023 Bitcoin                             0.00295387 Customer Transfer
 Confidential Customer Coin Transferee #3818    [Address on File]     5/21/2023 Bitcoin                             0.00257076 Customer Transfer
 Confidential Customer Coin Transferee #3818    [Address on File]     5/21/2023 Bitcoin                             0.00055696 Customer Transfer
 Confidential Customer Coin Transferee #3819    [Address on File]     5/31/2023 Bitcoin                             0.01115333 Customer Transfer
 Confidential Customer Coin Transferee #3819    [Address on File]     5/17/2023 Bitcoin                             0.01107023 Customer Transfer
 Confidential Customer Coin Transferee #3820    [Address on File]     5/20/2023 Bitcoin                              0.0012887 Customer Transfer
 Confidential Customer Coin Transferee #3820    [Address on File]     5/28/2023 Bitcoin                             0.00128187 Customer Transfer
 Confidential Customer Coin Transferee #3820    [Address on File]     5/23/2023 Bitcoin                             0.00120004 Customer Transfer
 Confidential Customer Coin Transferee #3820    [Address on File]     5/25/2023 Bitcoin                             0.00111624 Customer Transfer
 Confidential Customer Coin Transferee #3820    [Address on File]     5/17/2023 Bitcoin                             0.00093487 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3821    [Address on File]     5/30/2023 Bitcoin                             0.00089488 Customer Transfer
 Confidential Customer Coin Transferee #3822    [Address on File]     5/29/2023 Bitcoin                             0.06991791 Customer Transfer
 Confidential Customer Coin Transferee #3823    [Address on File]     6/20/2023 Bitcoin                             0.00029452 Customer Transfer
 Confidential Customer Coin Transferee #3824    [Address on File]     5/25/2023 Bitcoin                             0.00184599 Customer Transfer
 Confidential Customer Coin Transferee #3825    [Address on File]     5/28/2023 Bitcoin                              0.0186462 Customer Transfer
 Confidential Customer Coin Transferee #3825    [Address on File]     5/18/2023 Bitcoin                              0.0183359 Customer Transfer
 Confidential Customer Coin Transferee #3825    [Address on File]     5/20/2023 Bitcoin                             0.00740198 Customer Transfer
 Confidential Customer Coin Transferee #3825    [Address on File]     5/24/2023 Bitcoin                             0.00734269 Customer Transfer
 Confidential Customer Coin Transferee #3825    [Address on File]     5/30/2023 Bitcoin                              0.0071315 Customer Transfer
 Confidential Customer Coin Transferee #3825    [Address on File]     5/21/2023 Bitcoin                             0.00367531 Customer Transfer
 Confidential Customer Coin Transferee #3825    [Address on File]     5/31/2023 Bitcoin                             0.00367072 Customer Transfer
 Confidential Customer Coin Transferee #3826    [Address on File]     5/25/2023 Bitcoin                             0.00396511 Customer Transfer
 Confidential Customer Coin Transferee #3826    [Address on File]     5/25/2023 Bitcoin                             0.00380606 Customer Transfer
 Confidential Customer Coin Transferee #3827    [Address on File]     5/24/2023 Bitcoin                             0.00275143 Customer Transfer
 Confidential Customer Coin Transferee #3828    [Address on File]     5/22/2023 Bitcoin                             0.00462777 Customer Transfer
 Confidential Customer Coin Transferee #3829    [Address on File]     5/20/2023 Bitcoin                             0.01970207 Customer Transfer
 Confidential Customer Coin Transferee #3830    [Address on File]     5/25/2023 Bitcoin                             0.00075793 Customer Transfer
 Confidential Customer Coin Transferee #3831    [Address on File]     5/19/2023 Bitcoin                             0.10250219 Customer Transfer
 Confidential Customer Coin Transferee #3831    [Address on File]     5/16/2023 Bitcoin                             0.09190656 Customer Transfer
 Confidential Customer Coin Transferee #3831    [Address on File]     5/23/2023 Bitcoin                              0.0485222 Customer Transfer
 Confidential Customer Coin Transferee #3831    [Address on File]     5/26/2023 Bitcoin                             0.03761376 Customer Transfer
 Confidential Customer Coin Transferee #3831    [Address on File]     5/26/2023 Bitcoin                             0.03710422 Customer Transfer
 Confidential Customer Coin Transferee #3831    [Address on File]     5/31/2023 Bitcoin                             0.03658909 Customer Transfer
 Confidential Customer Coin Transferee #3831    [Address on File]     5/21/2023 Bitcoin                             0.02581647 Customer Transfer
 Confidential Customer Coin Transferee #3832    [Address on File]     5/18/2023 Bitcoin                                   0.0182 Customer Transfer
 Confidential Customer Coin Transferee #3832    [Address on File]     5/19/2023 Bitcoin                             0.00738304 Customer Transfer
 Confidential Customer Coin Transferee #3832    [Address on File]     5/18/2023 Bitcoin                             0.00722745 Customer Transfer
 Confidential Customer Coin Transferee #3832    [Address on File]     5/18/2023 Bitcoin                             0.00366569 Customer Transfer
 Confidential Customer Coin Transferee #3833    [Address on File]     5/31/2023 Bitcoin                             0.00349371 Customer Transfer
 Confidential Customer Coin Transferee #3834    [Address on File]     5/18/2023 Bitcoin                             0.00539623 Customer Transfer
 Confidential Customer Coin Transferee #3834    [Address on File]     5/27/2023 Bitcoin                             0.00255441 Customer Transfer
 Confidential Customer Coin Transferee #3834    [Address on File]     5/20/2023 Bitcoin                             0.00220444 Customer Transfer
 Confidential Customer Coin Transferee #3834    [Address on File]     5/22/2023 Bitcoin                             0.00203266 Customer Transfer
 Confidential Customer Coin Transferee #3834    [Address on File]     5/31/2023 Bitcoin                             0.00183317 Customer Transfer
 Confidential Customer Coin Transferee #3834    [Address on File]     5/25/2023 Bitcoin                                0.001132 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/28/2023 Bitcoin                             0.00823356 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/27/2023 Bitcoin                             0.00651066 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/24/2023 Bitcoin                             0.00566365 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/23/2023 Bitcoin                              0.0055547 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/16/2023 Bitcoin                             0.00552137 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/24/2023 Bitcoin                             0.00527873 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/21/2023 Bitcoin                             0.00520133 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/26/2023 Bitcoin                             0.00507944 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/18/2023 Bitcoin                             0.00453586 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/25/2023 Bitcoin                              0.0037916 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/19/2023 Bitcoin                             0.00370529 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/23/2023 Bitcoin                             0.00370473 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/26/2023 Bitcoin                             0.00369193 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/28/2023 Bitcoin                             0.00366407 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/30/2023 Bitcoin                             0.00358966 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/16/2023 Bitcoin                             0.00330373 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/29/2023 Bitcoin                             0.00302514 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/20/2023 Bitcoin                             0.00181342 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/23/2023 Bitcoin                             0.00150856 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/29/2023 Bitcoin                             0.00116858 Customer Transfer
 Confidential Customer Coin Transferee #3835    [Address on File]     5/25/2023 Bitcoin                             0.00113808 Customer Transfer
 Confidential Customer Coin Transferee #3836    [Address on File]     5/17/2023 Bitcoin                             0.03629843 Customer Transfer
 Confidential Customer Coin Transferee #3837    [Address on File]     5/19/2023 Bitcoin                             0.00149663 Customer Transfer
 Confidential Customer Coin Transferee #3837    [Address on File]     5/26/2023 Bitcoin                             0.00147393 Customer Transfer
 Confidential Customer Coin Transferee #3838    [Address on File]     5/22/2023 Bitcoin                             0.00221419 Customer Transfer
 Confidential Customer Coin Transferee #3839    [Address on File]     5/28/2023 Bitcoin                             0.01158747 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/27/2023 Bitcoin                             0.00742031 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/20/2023 Bitcoin                             0.00370767 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/25/2023 Bitcoin                             0.00056497 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/19/2023 Bitcoin                             0.00044166 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/17/2023 Bitcoin                             0.00043879 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/21/2023 Bitcoin                             0.00022288 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/23/2023 Bitcoin                             0.00022236 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/20/2023 Bitcoin                             0.00022113 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/28/2023 Bitcoin                             0.00021984 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/24/2023 Bitcoin                             0.00021921 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/29/2023 Bitcoin                             0.00021629 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/31/2023 Bitcoin                             0.00021598 Customer Transfer
 Confidential Customer Coin Transferee #3840    [Address on File]     5/29/2023 Bitcoin                             0.00021192 Customer Transfer
 Confidential Customer Coin Transferee #3841    [Address on File]     5/26/2023 Bitcoin                             0.01412413 Customer Transfer
 Confidential Customer Coin Transferee #3841    [Address on File]     5/21/2023 Bitcoin                             0.01097257 Customer Transfer
 Confidential Customer Coin Transferee #3841    [Address on File]     5/21/2023 Bitcoin                             0.01022577 Customer Transfer
 Confidential Customer Coin Transferee #3842    [Address on File]     5/18/2023 Bitcoin                             0.01388526 Customer Transfer
 Confidential Customer Coin Transferee #3843    [Address on File]     5/18/2023 Bitcoin                             0.00549605 Customer Transfer
 Confidential Customer Coin Transferee #3843    [Address on File]     5/30/2023 Bitcoin                             0.00188366 Customer Transfer
 Confidential Customer Coin Transferee #3844    [Address on File]     5/16/2023 Bitcoin                                      0.03 Customer Transfer
 Confidential Customer Coin Transferee #3844    [Address on File]     5/31/2023 Bitcoin                             0.02396778 Customer Transfer
 Confidential Customer Coin Transferee #3844    [Address on File]     5/18/2023 Bitcoin                             0.01680433 Customer Transfer
 Confidential Customer Coin Transferee #3845    [Address on File]     5/25/2023 Bitcoin                             0.03734002 Customer Transfer
 Confidential Customer Coin Transferee #3846    [Address on File]     5/27/2023 Bitcoin                             0.03218711 Customer Transfer
 Confidential Customer Coin Transferee #3847    [Address on File]     5/20/2023 Bitcoin                                   0.0899 Customer Transfer
 Confidential Customer Coin Transferee #3848    [Address on File]     5/17/2023 Bitcoin                                0.004582 Customer Transfer
 Confidential Customer Coin Transferee #3849    [Address on File]     5/28/2023 Bitcoin                             0.00328969 Customer Transfer
 Confidential Customer Coin Transferee #3849    [Address on File]     5/23/2023 Bitcoin                             0.00174822 Customer Transfer
 Confidential Customer Coin Transferee #3849    [Address on File]     5/28/2023 Bitcoin                             0.00036552 Customer Transfer
 Confidential Customer Coin Transferee #3850    [Address on File]     5/17/2023 Bitcoin                                 0.00018 Customer Transfer
 Confidential Customer Coin Transferee #3851    [Address on File]     5/31/2023 Bitcoin                             0.01103086 Customer Transfer
 Confidential Customer Coin Transferee #3852    [Address on File]     5/25/2023 Bitcoin                             0.00094407 Customer Transfer
 Confidential Customer Coin Transferee #3853    [Address on File]     6/19/2023 Bitcoin                             0.00072607 Customer Transfer
 Confidential Customer Coin Transferee #3854    [Address on File]     5/16/2023 Bitcoin                             0.03677935 Customer Transfer
 Confidential Customer Coin Transferee #3855    [Address on File]     5/22/2023 Bitcoin                             0.01105357 Customer Transfer
 Confidential Customer Coin Transferee #3855    [Address on File]     5/23/2023 Bitcoin                             0.00959162 Customer Transfer
 Confidential Customer Coin Transferee #3856    [Address on File]     5/19/2023 Bitcoin                             0.01737235 Customer Transfer
 Confidential Customer Coin Transferee #3857    [Address on File]     5/25/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #3858    [Address on File]     5/18/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #3858    [Address on File]     5/30/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/26/2023 Bitcoin                              0.0037725 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/24/2023 Bitcoin                             0.00372316 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/26/2023 Bitcoin                             0.00371777 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/24/2023 Bitcoin                              0.0036624 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/18/2023 Bitcoin                             0.00278768 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/19/2023 Bitcoin                             0.00277801 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/19/2023 Bitcoin                              0.0027709 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/23/2023 Bitcoin                                 0.00276 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/23/2023 Bitcoin                             0.00250699 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/26/2023 Bitcoin                                   0.0019 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/26/2023 Bitcoin                                   0.0019 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/27/2023 Bitcoin                                   0.0019 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/27/2023 Bitcoin                                   0.0019 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/17/2023 Bitcoin                                 0.00189 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/20/2023 Bitcoin                                 0.00189 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/28/2023 Bitcoin                                 0.00187 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/26/2023 Bitcoin                             0.00185646 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/27/2023 Bitcoin                             0.00184563 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/31/2023 Bitcoin                             0.00183278 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/31/2023 Bitcoin                                 0.00183 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/27/2023 Bitcoin                             0.00182762 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/31/2023 Bitcoin                                 0.00182 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/30/2023 Bitcoin                                0.001819 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/26/2023 Bitcoin                              0.0018126 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/27/2023 Bitcoin                             0.00180667 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/27/2023 Bitcoin                                   0.0018 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/29/2023 Bitcoin                                   0.0018 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/28/2023 Bitcoin                             0.00175532 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/20/2023 Bitcoin                             0.00167614 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/29/2023 Bitcoin                             0.00167411 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/30/2023 Bitcoin                             0.00165485 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/31/2023 Bitcoin                             0.00156032 Customer Transfer
 Confidential Customer Coin Transferee #3859    [Address on File]     5/17/2023 Bitcoin                             0.00144102 Customer Transfer
 Confidential Customer Coin Transferee #3860    [Address on File]     5/19/2023 Bitcoin                             0.00110935 Customer Transfer
 Confidential Customer Coin Transferee #3861    [Address on File]     5/22/2023 Bitcoin                                      0.04 Customer Transfer
 Confidential Customer Coin Transferee #3861    [Address on File]     5/16/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #3862    [Address on File]     5/27/2023 Bitcoin                             0.00074639 Customer Transfer
 Confidential Customer Coin Transferee #3863    [Address on File]     6/20/2023 Bitcoin                             0.01169828 Customer Transfer
 Confidential Customer Coin Transferee #3864    [Address on File]     5/30/2023 Bitcoin                             0.00089487 Customer Transfer
 Confidential Customer Coin Transferee #3864    [Address on File]     5/31/2023 Bitcoin                             0.00055174 Customer Transfer
 Confidential Customer Coin Transferee #3865    [Address on File]     5/24/2023 Bitcoin                             0.00378219 Customer Transfer
 Confidential Customer Coin Transferee #3865    [Address on File]     5/20/2023 Bitcoin                             0.00369663 Customer Transfer
 Confidential Customer Coin Transferee #3865    [Address on File]     5/16/2023 Bitcoin                             0.00367354 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #3866    [Address on File]     5/27/2023 Bitcoin                             0.00936698 Customer Transfer
 Confidential Customer Coin Transferee #3866    [Address on File]     5/19/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #3867    [Address on File]     5/21/2023 Bitcoin                             0.00207169 Customer Transfer
 Confidential Customer Coin Transferee #3868    [Address on File]     5/31/2023 Bitcoin                             0.00178822 Customer Transfer
 Confidential Customer Coin Transferee #3869    [Address on File]     5/18/2023 Bitcoin                             0.03630707 Customer Transfer
 Confidential Customer Coin Transferee #3870    [Address on File]     5/25/2023 Bitcoin                             0.00472052 Customer Transfer
 Confidential Customer Coin Transferee #3871    [Address on File]     5/18/2023 Bitcoin                             0.09750726 Customer Transfer
 Confidential Customer Coin Transferee #3872    [Address on File]     5/22/2023 Bitcoin                             0.01317818 Customer Transfer
 Confidential Customer Coin Transferee #3873    [Address on File]     5/24/2023 Bitcoin                             0.05688115 Customer Transfer
 Confidential Customer Coin Transferee #3873    [Address on File]     5/19/2023 Bitcoin                             0.05549292 Customer Transfer
 Confidential Customer Coin Transferee #3873    [Address on File]     5/26/2023 Bitcoin                             0.03012086 Customer Transfer
 Confidential Customer Coin Transferee #3874    [Address on File]     6/20/2023 Bitcoin                             0.00021235 Customer Transfer
 Confidential Customer Coin Transferee #3875    [Address on File]     5/21/2023 Bitcoin                             0.00366538 Customer Transfer
 Confidential Customer Coin Transferee #3875    [Address on File]     5/26/2023 Bitcoin                             0.00111465 Customer Transfer
 Confidential Customer Coin Transferee #3876    [Address on File]     5/20/2023 Bitcoin                              0.0066186 Customer Transfer
 Confidential Customer Coin Transferee #3876    [Address on File]     5/27/2023 Bitcoin                             0.00560657 Customer Transfer
 Confidential Customer Coin Transferee #3876    [Address on File]     5/23/2023 Bitcoin                             0.00443558 Customer Transfer
 Confidential Customer Coin Transferee #3876    [Address on File]     5/30/2023 Bitcoin                             0.00432792 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]     5/19/2023 Bitcoin                             0.00122093 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]     5/17/2023 Bitcoin                             0.00085311 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]     5/24/2023 Bitcoin                             0.00083835 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]     5/22/2023 Bitcoin                             0.00082314 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]      6/2/2023 Bitcoin                             0.00082161 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]     5/17/2023 Bitcoin                             0.00081848 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]     5/19/2023 Bitcoin                             0.00081508 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]     5/19/2023 Bitcoin                              0.0008125 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]     5/29/2023 Bitcoin                              0.0007821 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]     5/29/2023 Bitcoin                             0.00077902 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]     5/26/2023 Bitcoin                             0.00063939 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]      6/2/2023 Bitcoin                             0.00041186 Customer Transfer
 Confidential Customer Coin Transferee #3877    [Address on File]     5/22/2023 Bitcoin                             0.00040746 Customer Transfer
 Confidential Customer Coin Transferee #3878    [Address on File]     5/17/2023 Bitcoin                             0.00448859 Customer Transfer
 Confidential Customer Coin Transferee #3879    [Address on File]     5/31/2023 Bitcoin                             0.00988778 Customer Transfer
 Confidential Customer Coin Transferee #3880    [Address on File]     5/31/2023 Bitcoin                             0.00358616 Customer Transfer
 Confidential Customer Coin Transferee #3881    [Address on File]     5/25/2023 Bitcoin                             0.04632037 Customer Transfer
 Confidential Customer Coin Transferee #3881    [Address on File]     5/21/2023 Bitcoin                                 0.00039 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3882    [Address on File]     5/28/2023 Bitcoin                              0.0075712 Customer Transfer
 Confidential Customer Coin Transferee #3882    [Address on File]     5/21/2023 Bitcoin                             0.00748851 Customer Transfer
 Confidential Customer Coin Transferee #3883    [Address on File]     5/21/2023 Bitcoin                                    0.04 Customer Transfer
 Confidential Customer Coin Transferee #3884    [Address on File]     5/26/2023 Bitcoin                             0.00754699 Customer Transfer
 Confidential Customer Coin Transferee #3884    [Address on File]     5/19/2023 Bitcoin                             0.00741278 Customer Transfer
 Confidential Customer Coin Transferee #3885    [Address on File]      6/9/2023 Bitcoin                             0.01053723 Customer Transfer
 Confidential Customer Coin Transferee #3885    [Address on File]     6/19/2023 Bitcoin                             0.00194082 Customer Transfer
 Confidential Customer Coin Transferee #3886    [Address on File]     5/19/2023 Bitcoin                             0.00102791 Customer Transfer
 Confidential Customer Coin Transferee #3887    [Address on File]     6/19/2023 Bitcoin                             0.00005934 Customer Transfer

 Confidential Customer Coin Transferee #3888    [Address on File]     5/30/2023 Tether USD                                 1385.36 Customer Transfer
 Confidential Customer Coin Transferee #3889    [Address on File]     5/22/2023 Bitcoin                                0.05245206 Customer Transfer
 Confidential Customer Coin Transferee #3890    [Address on File]     6/19/2023 Bitcoin                                0.00287243 Customer Transfer
 Confidential Customer Coin Transferee #3891    [Address on File]     5/26/2023 Bitcoin                                0.02500123 Customer Transfer
 Confidential Customer Coin Transferee #3891    [Address on File]     5/20/2023 Bitcoin                                 0.0232091 Customer Transfer
 Confidential Customer Coin Transferee #3891    [Address on File]     5/27/2023 Bitcoin                                0.00344712 Customer Transfer
 Confidential Customer Coin Transferee #3892    [Address on File]     5/23/2023 Bitcoin                                0.05127489 Customer Transfer
 Confidential Customer Coin Transferee #3893    [Address on File]     5/19/2023 Bitcoin                                0.00387558 Customer Transfer
 Confidential Customer Coin Transferee #3893    [Address on File]     6/20/2023 Bitcoin                                0.00036247 Customer Transfer
 Confidential Customer Coin Transferee #3894    [Address on File]     6/20/2023 Bitcoin                                0.00241035 Customer Transfer
 Confidential Customer Coin Transferee #3895    [Address on File]     5/23/2023 Bitcoin                                 0.0094392 Customer Transfer
 Confidential Customer Coin Transferee #3895    [Address on File]     6/19/2023 Bitcoin                                0.00451009 Customer Transfer
 Confidential Customer Coin Transferee #3896    [Address on File]      6/2/2023 Bitcoin                                0.02567939 Customer Transfer
 Confidential Customer Coin Transferee #3896    [Address on File]     5/24/2023 Bitcoin                                0.01575822 Customer Transfer
 Confidential Customer Coin Transferee #3896    [Address on File]     5/26/2023 Bitcoin                                0.01109799 Customer Transfer
 Confidential Customer Coin Transferee #3896    [Address on File]     5/19/2023 Bitcoin                                0.00737896 Customer Transfer
 Confidential Customer Coin Transferee #3896    [Address on File]     6/15/2023 Bitcoin                                 0.0039498 Customer Transfer
 Confidential Customer Coin Transferee #3896    [Address on File]     5/17/2023 Bitcoin                                0.00370273 Customer Transfer
 Confidential Customer Coin Transferee #3896    [Address on File]     5/17/2023 Bitcoin                                0.00366569 Customer Transfer
 Confidential Customer Coin Transferee #3896    [Address on File]     5/18/2023 Bitcoin                                0.00366411 Customer Transfer
 Confidential Customer Coin Transferee #3896    [Address on File]     5/22/2023 Bitcoin                                0.00365305 Customer Transfer
 Confidential Customer Coin Transferee #3896    [Address on File]     6/12/2023 Bitcoin                                   0.001876 Customer Transfer
 Confidential Customer Coin Transferee #3896    [Address on File]     5/26/2023 Bitcoin                                0.00037425 Customer Transfer
 Confidential Customer Coin Transferee #3897    [Address on File]      6/5/2023 Bitcoin                                 0.0000772 Customer Transfer
 Confidential Customer Coin Transferee #3898    [Address on File]      6/5/2023 Bitcoin                                0.00370374 Customer Transfer
 Confidential Customer Coin Transferee #3898    [Address on File]      6/9/2023 Bitcoin                                0.00187755 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3899    [Address on File]     5/25/2023 Bitcoin                             0.01060234 Customer Transfer
 Confidential Customer Coin Transferee #3900    [Address on File]     5/21/2023 Bitcoin                             0.03903354 Customer Transfer
 Confidential Customer Coin Transferee #3901    [Address on File]     6/20/2023 Bitcoin                             0.00176956 Customer Transfer
 Confidential Customer Coin Transferee #3902    [Address on File]     5/25/2023 Bitcoin                             0.01035375 Customer Transfer
 Confidential Customer Coin Transferee #3902    [Address on File]     5/25/2023 Bitcoin                             0.01033809 Customer Transfer

 Confidential Customer Coin Transferee #3903    [Address on File]     6/20/2023 Bitcoin                                0.03003577 Customer Transfer
 Confidential Customer Coin Transferee #3904    [Address on File]      6/8/2023 Bitcoin                                 0.1032969 Customer Transfer
 Confidential Customer Coin Transferee #3905    [Address on File]     5/26/2023 Bitcoin                                0.00870682 Customer Transfer
 Confidential Customer Coin Transferee #3906    [Address on File]     6/20/2023 Bitcoin                                0.00180201 Customer Transfer
 Confidential Customer Coin Transferee #3907    [Address on File]     5/23/2023 Bitcoin                                0.01056936 Customer Transfer
 Confidential Customer Coin Transferee #3908    [Address on File]     5/21/2023 Bitcoin                                0.19243569 Customer Transfer
 Confidential Customer Coin Transferee #3908    [Address on File]     5/28/2023 Bitcoin                                0.18221789 Customer Transfer
 Confidential Customer Coin Transferee #3909    [Address on File]     6/20/2023 Bitcoin                                 0.0000581 Customer Transfer
 Confidential Customer Coin Transferee #3910    [Address on File]     6/20/2023 Bitcoin                                0.00289125 Customer Transfer
 Confidential Customer Coin Transferee #3911    [Address on File]     5/21/2023 Bitcoin                                0.00630485 Customer Transfer
 Confidential Customer Coin Transferee #3912    [Address on File]     6/20/2023 Bitcoin                                0.00011747 Customer Transfer
 Confidential Customer Coin Transferee #3913    [Address on File]     6/19/2023 Bitcoin                                0.00059609 Customer Transfer
 Confidential Customer Coin Transferee #3914    [Address on File]     5/18/2023 Bitcoin                                0.01723939 Customer Transfer
 Confidential Customer Coin Transferee #3914    [Address on File]     5/28/2023 Bitcoin                                0.00186058 Customer Transfer
 Confidential Customer Coin Transferee #3915    [Address on File]     5/21/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #3915    [Address on File]     5/22/2023 Bitcoin                                    0.00017 Customer Transfer
 Confidential Customer Coin Transferee #3916    [Address on File]     6/20/2023 Bitcoin                                0.00203156 Customer Transfer
 Confidential Customer Coin Transferee #3917    [Address on File]     6/19/2023 Bitcoin                                0.00326395 Customer Transfer
 Confidential Customer Coin Transferee #3918    [Address on File]     6/21/2023 Bitcoin                                0.00299528 Customer Transfer
 Confidential Customer Coin Transferee #3919    [Address on File]     5/24/2023 Bitcoin                                0.00037862 Customer Transfer
 Confidential Customer Coin Transferee #3919    [Address on File]     5/18/2023 Bitcoin                                 0.0003432 Customer Transfer
 Confidential Customer Coin Transferee #3920    [Address on File]     5/26/2023 Bitcoin                                0.00369709 Customer Transfer
 Confidential Customer Coin Transferee #3921    [Address on File]     5/24/2023 Bitcoin                                0.01113825 Customer Transfer
 Confidential Customer Coin Transferee #3922    [Address on File]     6/20/2023 Bitcoin                                0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #3923    [Address on File]     6/19/2023 Bitcoin                                 0.0069153 Customer Transfer
 Confidential Customer Coin Transferee #3924    [Address on File]     5/26/2023 Bitcoin                                0.00036845 Customer Transfer
 Confidential Customer Coin Transferee #3924    [Address on File]     5/19/2023 Bitcoin                                0.00036185 Customer Transfer
 Confidential Customer Coin Transferee #3925    [Address on File]     5/24/2023 Bitcoin                                0.18531932 Customer Transfer
 Confidential Customer Coin Transferee #3926    [Address on File]      6/8/2023 Bitcoin                                0.00576793 Customer Transfer
 Confidential Customer Coin Transferee #3927    [Address on File]     5/19/2023 Bitcoin                                0.02823866 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3928    [Address on File]     6/20/2023 Bitcoin                             0.00286114 Customer Transfer
 Confidential Customer Coin Transferee #3929    [Address on File]     6/19/2023 Bitcoin                             0.00035761 Customer Transfer
 Confidential Customer Coin Transferee #3930    [Address on File]     6/19/2023 Bitcoin                             0.00051111 Customer Transfer
 Confidential Customer Coin Transferee #3931    [Address on File]     6/20/2023 Bitcoin                             0.00011757 Customer Transfer
 Confidential Customer Coin Transferee #3932    [Address on File]     5/23/2023 Bitcoin                             0.00335156 Customer Transfer
 Confidential Customer Coin Transferee #3932    [Address on File]     6/12/2023 Bitcoin                              0.0007323 Customer Transfer
 Confidential Customer Coin Transferee #3933    [Address on File]     5/24/2023 Bitcoin                             0.04002148 Customer Transfer
 Confidential Customer Coin Transferee #3934    [Address on File]     5/19/2023 Bitcoin                             0.02111005 Customer Transfer
 Confidential Customer Coin Transferee #3935    [Address on File]     6/19/2023 Bitcoin                             0.00005612 Customer Transfer
 Confidential Customer Coin Transferee #3936    [Address on File]     6/19/2023 Bitcoin                             0.00359715 Customer Transfer
 Confidential Customer Coin Transferee #3937    [Address on File]     5/31/2023 Bitcoin                             0.01498381 Customer Transfer
 Confidential Customer Coin Transferee #3938    [Address on File]     5/20/2023 Bitcoin                             0.01201902 Customer Transfer
 Confidential Customer Coin Transferee #3939    [Address on File]     5/23/2023 Bitcoin                             0.00516488 Customer Transfer
 Confidential Customer Coin Transferee #3939    [Address on File]     6/16/2023 Bitcoin                             0.00515738 Customer Transfer
 Confidential Customer Coin Transferee #3939    [Address on File]      6/8/2023 Bitcoin                             0.00511274 Customer Transfer
 Confidential Customer Coin Transferee #3940    [Address on File]     5/20/2023 Bitcoin                             0.01424702 Customer Transfer
 Confidential Customer Coin Transferee #3941    [Address on File]      6/1/2023 Bitcoin                             0.00036643 Customer Transfer
 Confidential Customer Coin Transferee #3942    [Address on File]     6/20/2023 Bitcoin                             0.00289411 Customer Transfer
 Confidential Customer Coin Transferee #3943    [Address on File]     6/20/2023 Bitcoin                              0.0000583 Customer Transfer
 Confidential Customer Coin Transferee #3944    [Address on File]     5/26/2023 Bitcoin                             0.00108426 Customer Transfer
 Confidential Customer Coin Transferee #3945    [Address on File]     5/26/2023 Bitcoin                              0.0003719 Customer Transfer
 Confidential Customer Coin Transferee #3945    [Address on File]     5/19/2023 Bitcoin                             0.00034522 Customer Transfer
 Confidential Customer Coin Transferee #3946    [Address on File]     6/20/2023 Bitcoin                             0.00004025 Customer Transfer
 Confidential Customer Coin Transferee #3947    [Address on File]     5/19/2023 Bitcoin                             0.01026704 Customer Transfer
 Confidential Customer Coin Transferee #3948    [Address on File]     5/25/2023 Bitcoin                              0.0018161 Customer Transfer
 Confidential Customer Coin Transferee #3949    [Address on File]      6/7/2023 Bitcoin                             0.02891669 Customer Transfer
 Confidential Customer Coin Transferee #3950    [Address on File]     5/30/2023 Bitcoin                             0.01082438 Customer Transfer
 Confidential Customer Coin Transferee #3950    [Address on File]     5/19/2023 Bitcoin                             0.01033606 Customer Transfer

 Confidential Customer Coin Transferee #3951    [Address on File]      6/3/2023 USD Coin                                3457.3888 Customer Transfer
 Confidential Customer Coin Transferee #3952    [Address on File]     6/20/2023 Bitcoin                                0.00133368 Customer Transfer
 Confidential Customer Coin Transferee #3953    [Address on File]     5/19/2023 Bitcoin                                 0.0054621 Customer Transfer
 Confidential Customer Coin Transferee #3953    [Address on File]     5/26/2023 Bitcoin                                0.00545944 Customer Transfer
 Confidential Customer Coin Transferee #3954    [Address on File]     5/23/2023 Bitcoin                                0.02559966 Customer Transfer
 Confidential Customer Coin Transferee #3955    [Address on File]     6/20/2023 Bitcoin                                0.00288653 Customer Transfer
 Confidential Customer Coin Transferee #3956    [Address on File]     6/19/2023 Bitcoin                                0.00038616 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3957    [Address on File]     6/19/2023 Bitcoin                             0.00057948 Customer Transfer
 Confidential Customer Coin Transferee #3958    [Address on File]     6/20/2023 Bitcoin                             0.00115903 Customer Transfer
 Confidential Customer Coin Transferee #3959    [Address on File]     5/21/2023 Bitcoin                             0.00182081 Customer Transfer
 Confidential Customer Coin Transferee #3960    [Address on File]     6/16/2023 USD Coin                            248.903727 Customer Transfer
 Confidential Customer Coin Transferee #3961    [Address on File]     5/26/2023 Bitcoin                             0.03371394 Customer Transfer
 Confidential Customer Coin Transferee #3962    [Address on File]     6/19/2023 Bitcoin                             0.00204676 Customer Transfer
 Confidential Customer Coin Transferee #3963    [Address on File]     5/19/2023 Bitcoin                             0.00780214 Customer Transfer
 Confidential Customer Coin Transferee #3964    [Address on File]     6/20/2023 Bitcoin                             0.07286313 Customer Transfer
 Confidential Customer Coin Transferee #3965    [Address on File]     6/19/2023 Bitcoin                             0.01042737 Customer Transfer
 Confidential Customer Coin Transferee #3966    [Address on File]     5/28/2023 Bitcoin                              0.1013521 Customer Transfer
 Confidential Customer Coin Transferee #3967    [Address on File]     6/20/2023 Bitcoin                             0.00058051 Customer Transfer
 Confidential Customer Coin Transferee #3968    [Address on File]     5/29/2023 Bitcoin                             0.02666841 Customer Transfer
 Confidential Customer Coin Transferee #3969    [Address on File]     6/20/2023 Bitcoin                             0.00025858 Customer Transfer
 Confidential Customer Coin Transferee #3970    [Address on File]     5/21/2023 Bitcoin                             0.00258443 Customer Transfer
 Confidential Customer Coin Transferee #3971    [Address on File]     6/19/2023 Bitcoin                             0.00057731 Customer Transfer
 Confidential Customer Coin Transferee #3972    [Address on File]     5/25/2023 Bitcoin                             0.01001722 Customer Transfer
 Confidential Customer Coin Transferee #3973    [Address on File]     5/24/2023 Bitcoin                              0.0018064 Customer Transfer
 Confidential Customer Coin Transferee #3973    [Address on File]     5/17/2023 Bitcoin                             0.00175245 Customer Transfer
 Confidential Customer Coin Transferee #3974    [Address on File]     6/19/2023 Bitcoin                              0.0001185 Customer Transfer
 Confidential Customer Coin Transferee #3975    [Address on File]     5/19/2023 Bitcoin                             0.02509971 Customer Transfer
 Confidential Customer Coin Transferee #3976    [Address on File]     5/23/2023 Bitcoin                             0.00176479 Customer Transfer
 Confidential Customer Coin Transferee #3977    [Address on File]     5/18/2023 Bitcoin                             0.01400728 Customer Transfer
 Confidential Customer Coin Transferee #3978    [Address on File]     5/19/2023 Bitcoin                             0.00368585 Customer Transfer
 Confidential Customer Coin Transferee #3978    [Address on File]     5/18/2023 Bitcoin                             0.00187033 Customer Transfer
 Confidential Customer Coin Transferee #3978    [Address on File]     5/18/2023 Bitcoin                             0.00186331 Customer Transfer
 Confidential Customer Coin Transferee #3978    [Address on File]     5/22/2023 Bitcoin                             0.00184647 Customer Transfer
 Confidential Customer Coin Transferee #3978    [Address on File]     5/19/2023 Bitcoin                              0.0018357 Customer Transfer
 Confidential Customer Coin Transferee #3978    [Address on File]     5/29/2023 Bitcoin                             0.00141984 Customer Transfer
 Confidential Customer Coin Transferee #3978    [Address on File]     5/25/2023 Bitcoin                             0.00052791 Customer Transfer
 Confidential Customer Coin Transferee #3978    [Address on File]     6/12/2023 Bitcoin                             0.00044418 Customer Transfer
 Confidential Customer Coin Transferee #3978    [Address on File]      6/2/2023 Bitcoin                             0.00033723 Customer Transfer
 Confidential Customer Coin Transferee #3978    [Address on File]     6/16/2023 Bitcoin                             0.00025546 Customer Transfer
 Confidential Customer Coin Transferee #3979    [Address on File]      6/8/2023 Bitcoin                             0.00457717 Customer Transfer
 Confidential Customer Coin Transferee #3980    [Address on File]     6/20/2023 Bitcoin                              0.0011995 Customer Transfer
 Confidential Customer Coin Transferee #3981    [Address on File]      6/7/2023 Bitcoin                             0.00060065 Customer Transfer
 Confidential Customer Coin Transferee #3981    [Address on File]     5/30/2023 Bitcoin                             0.00035666 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #3982    [Address on File]     5/25/2023 Bitcoin                              0.0036831 Customer Transfer
 Confidential Customer Coin Transferee #3983    [Address on File]     5/17/2023 Bitcoin                             0.01037028 Customer Transfer
 Confidential Customer Coin Transferee #3983    [Address on File]     5/29/2023 Bitcoin                             0.01011047 Customer Transfer
 Confidential Customer Coin Transferee #3984    [Address on File]     6/20/2023 Bitcoin                              0.0017171 Customer Transfer
 Confidential Customer Coin Transferee #3985    [Address on File]     5/22/2023 Bitcoin                             0.02638816 Customer Transfer
 Confidential Customer Coin Transferee #3986    [Address on File]     6/20/2023 Bitcoin                              0.0035447 Customer Transfer
 Confidential Customer Coin Transferee #3987    [Address on File]     6/20/2023 Bitcoin                             0.00407065 Customer Transfer
 Confidential Customer Coin Transferee #3988    [Address on File]     5/25/2023 Bitcoin                             0.05472355 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]     6/15/2023 Bitcoin                             0.00395358 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]     5/18/2023 Bitcoin                              0.0036225 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]     5/19/2023 Bitcoin                             0.00185373 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]      6/2/2023 Bitcoin                             0.00183226 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]      6/2/2023 Bitcoin                             0.00182989 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]      6/1/2023 Bitcoin                             0.00182436 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]      6/5/2023 Bitcoin                             0.00181549 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]     5/29/2023 Bitcoin                             0.00148558 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]     6/15/2023 Bitcoin                             0.00098913 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]     5/19/2023 Bitcoin                             0.00092424 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]      6/2/2023 Bitcoin                             0.00092293 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]     5/22/2023 Bitcoin                             0.00073615 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]      6/7/2023 Bitcoin                             0.00057705 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]     5/22/2023 Bitcoin                             0.00057032 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]     6/16/2023 Bitcoin                             0.00055583 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]     5/16/2023 Bitcoin                             0.00038518 Customer Transfer
 Confidential Customer Coin Transferee #3989    [Address on File]     5/30/2023 Bitcoin                             0.00019183 Customer Transfer
 Confidential Customer Coin Transferee #3990    [Address on File]     6/20/2023 Bitcoin                             0.00120175 Customer Transfer
 Confidential Customer Coin Transferee #3991    [Address on File]     5/31/2023 Bitcoin                             0.00016537 Customer Transfer
 Confidential Customer Coin Transferee #3992    [Address on File]     5/27/2023 Bitcoin                             0.02606252 Customer Transfer
 Confidential Customer Coin Transferee #3992    [Address on File]     5/18/2023 Bitcoin                             0.00363442 Customer Transfer
 Confidential Customer Coin Transferee #3993    [Address on File]     6/20/2023 Bitcoin                             0.00034949 Customer Transfer
 Confidential Customer Coin Transferee #3994    [Address on File]     5/27/2023 Bitcoin                             0.00092295 Customer Transfer
 Confidential Customer Coin Transferee #3994    [Address on File]     5/19/2023 Bitcoin                             0.00086263 Customer Transfer
 Confidential Customer Coin Transferee #3995    [Address on File]     6/19/2023 Bitcoin                             0.00003791 Customer Transfer
 Confidential Customer Coin Transferee #3996    [Address on File]     6/17/2023 Cosmos Hub ATOM)                      68.32973 Customer Transfer
 Confidential Customer Coin Transferee #3996    [Address on File]     6/11/2023 Cosmos Hub ATOM)                     60.060603 Customer Transfer
 Confidential Customer Coin Transferee #3996    [Address on File]     5/22/2023 Cosmos Hub ATOM)                     47.490859 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #3996    [Address on File]     5/27/2023 Cosmos Hub ATOM)                     46.802826 Customer Transfer
 Confidential Customer Coin Transferee #3997    [Address on File]      6/9/2023 Bitcoin                             0.01154413 Customer Transfer
 Confidential Customer Coin Transferee #3998    [Address on File]     6/19/2023 Bitcoin                             0.00400172 Customer Transfer
 Confidential Customer Coin Transferee #3999    [Address on File]     5/27/2023 Bitcoin                             0.00386704 Customer Transfer
 Confidential Customer Coin Transferee #3999    [Address on File]     5/19/2023 Bitcoin                              0.0036464 Customer Transfer
 Confidential Customer Coin Transferee #4000    [Address on File]     5/29/2023 Bitcoin                             0.00727276 Customer Transfer
 Confidential Customer Coin Transferee #4000    [Address on File]     6/20/2023 Bitcoin                             0.00376456 Customer Transfer
 Confidential Customer Coin Transferee #4001    [Address on File]      6/7/2023 Bitcoin                             0.05546587 Customer Transfer
 Confidential Customer Coin Transferee #4002    [Address on File]     6/19/2023 Bitcoin                             0.00006005 Customer Transfer
 Confidential Customer Coin Transferee #4003    [Address on File]     6/19/2023 Bitcoin                             0.00295247 Customer Transfer
 Confidential Customer Coin Transferee #4004    [Address on File]     6/12/2023 Bitcoin                                 0.00749 Customer Transfer
 Confidential Customer Coin Transferee #4004    [Address on File]     6/12/2023 Bitcoin                                 0.00086 Customer Transfer
 Confidential Customer Coin Transferee #4005    [Address on File]     5/26/2023 Bitcoin                             0.01821408 Customer Transfer
 Confidential Customer Coin Transferee #4005    [Address on File]     5/19/2023 Bitcoin                              0.0178516 Customer Transfer
 Confidential Customer Coin Transferee #4006    [Address on File]     5/23/2023 Bitcoin                             0.01136781 Customer Transfer
 Confidential Customer Coin Transferee #4007    [Address on File]     6/19/2023 Bitcoin                              0.0249753 Customer Transfer
 Confidential Customer Coin Transferee #4008    [Address on File]     5/16/2023 Bitcoin                             0.01700995 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/24/2023 Bitcoin                             0.00012647 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/25/2023 Bitcoin                             0.00012567 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/19/2023 Bitcoin                             0.00012454 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/27/2023 Bitcoin                             0.00012409 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/26/2023 Bitcoin                             0.00012393 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/21/2023 Bitcoin                              0.0001233 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/22/2023 Bitcoin                             0.00012328 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/19/2023 Bitcoin                             0.00012325 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/20/2023 Bitcoin                             0.00012257 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/31/2023 Bitcoin                             0.00012257 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/16/2023 Bitcoin                             0.00012248 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/17/2023 Bitcoin                             0.00012229 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/24/2023 Bitcoin                             0.00012215 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/28/2023 Bitcoin                              0.0001201 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/29/2023 Bitcoin                             0.00011989 Customer Transfer
 Confidential Customer Coin Transferee #4009    [Address on File]     5/30/2023 Bitcoin                             0.00011935 Customer Transfer
 Confidential Customer Coin Transferee #4010    [Address on File]     5/18/2023 Bitcoin                             0.10163113 Customer Transfer
 Confidential Customer Coin Transferee #4011    [Address on File]     6/13/2023 Bitcoin                             0.10132942 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count          or Transfer

 Confidential Customer Coin Transferee #4012    [Address on File]     5/17/2023 Bitcoin                                0.02043654 Customer Transfer
 Confidential Customer Coin Transferee #4013    [Address on File]     5/22/2023 Bitcoin                                0.01186524 Customer Transfer
 Confidential Customer Coin Transferee #4014    [Address on File]     5/31/2023 Bitcoin                                0.00026867 Customer Transfer
 Confidential Customer Coin Transferee #4015    [Address on File]     5/18/2023 Bitcoin                                0.01046074 Customer Transfer
 Confidential Customer Coin Transferee #4016    [Address on File]      6/9/2023 Bitcoin                                0.00115662 Customer Transfer
 Confidential Customer Coin Transferee #4017    [Address on File]     6/20/2023 Bitcoin                                0.02333405 Customer Transfer
 Confidential Customer Coin Transferee #4018    [Address on File]     5/26/2023 Bitcoin                                0.02514286 Customer Transfer
 Confidential Customer Coin Transferee #4019    [Address on File]     5/18/2023 Bitcoin                                0.07257891 Customer Transfer
 Confidential Customer Coin Transferee #4019    [Address on File]     5/25/2023 Bitcoin                                0.03678383 Customer Transfer
 Confidential Customer Coin Transferee #4020    [Address on File]      6/7/2023 Bitcoin                                 0.0045288 Customer Transfer
 Confidential Customer Coin Transferee #4021    [Address on File]     6/20/2023 Bitcoin                                0.00198395 Customer Transfer
 Confidential Customer Coin Transferee #4022    [Address on File]     6/19/2023 Bitcoin                                 0.0075852 Customer Transfer
 Confidential Customer Coin Transferee #4023    [Address on File]     5/26/2023 Bitcoin                                0.00726695 Customer Transfer
 Confidential Customer Coin Transferee #4023    [Address on File]     5/29/2023 Bitcoin                                0.00371758 Customer Transfer
 Confidential Customer Coin Transferee #4023    [Address on File]     5/22/2023 Bitcoin                                0.00369091 Customer Transfer
 Confidential Customer Coin Transferee #4023    [Address on File]     5/20/2023 Bitcoin                                0.00361151 Customer Transfer
 Confidential Customer Coin Transferee #4024    [Address on File]     5/18/2023 Bitcoin                                0.02697202 Customer Transfer
 Confidential Customer Coin Transferee #4024    [Address on File]     5/18/2023 Bitcoin                                0.02660003 Customer Transfer
 Confidential Customer Coin Transferee #4024    [Address on File]     5/18/2023 Bitcoin                                0.02567162 Customer Transfer
 Confidential Customer Coin Transferee #4025    [Address on File]     6/20/2023 Bitcoin                                0.00028958 Customer Transfer
 Confidential Customer Coin Transferee #4026    [Address on File]     6/20/2023 Bitcoin                                 0.0018217 Customer Transfer
 Confidential Customer Coin Transferee #4027    [Address on File]     6/10/2023 Cosmos Hub ATOM)                         4.196305 Customer Transfer
 Confidential Customer Coin Transferee #4027    [Address on File]     5/29/2023 Cosmos Hub ATOM)                         3.108191 Customer Transfer
 Confidential Customer Coin Transferee #4027    [Address on File]      6/5/2023 Bitcoin                                   0.001249 Customer Transfer
 Confidential Customer Coin Transferee #4028    [Address on File]     5/22/2023 Bitcoin                                0.03745721 Customer Transfer
 Confidential Customer Coin Transferee #4029    [Address on File]     5/23/2023 Ether                                     0.258693 Customer Transfer
 Confidential Customer Coin Transferee #4030    [Address on File]     6/19/2023 Bitcoin                                0.00599602 Customer Transfer
 Confidential Customer Coin Transferee #4031    [Address on File]     6/20/2023 Bitcoin                                0.00295279 Customer Transfer
 Confidential Customer Coin Transferee #4032    [Address on File]     6/20/2023 Bitcoin                                0.00023642 Customer Transfer
 Confidential Customer Coin Transferee #4033    [Address on File]     5/30/2023 Bitcoin                                 0.0436363 Customer Transfer
 Confidential Customer Coin Transferee #4033    [Address on File]     5/23/2023 Bitcoin                                0.01067048 Customer Transfer
 Confidential Customer Coin Transferee #4034    [Address on File]     6/20/2023 Bitcoin                                0.00005981 Customer Transfer
 Confidential Customer Coin Transferee #4035    [Address on File]     6/19/2023 Bitcoin                                0.01354412 Customer Transfer
 Confidential Customer Coin Transferee #4036    [Address on File]     5/19/2023 Bitcoin                                0.03144667 Customer Transfer
 Confidential Customer Coin Transferee #4037    [Address on File]     6/16/2023 Bitcoin                                0.00403029 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4037    [Address on File]      6/5/2023 Bitcoin                             0.00152189 Customer Transfer
 Confidential Customer Coin Transferee #4037    [Address on File]     5/23/2023 Bitcoin                             0.00071478 Customer Transfer
 Confidential Customer Coin Transferee #4037    [Address on File]     5/17/2023 Bitcoin                             0.00070571 Customer Transfer
 Confidential Customer Coin Transferee #4037    [Address on File]     5/21/2023 Bitcoin                             0.00069956 Customer Transfer
 Confidential Customer Coin Transferee #4038    [Address on File]     6/20/2023 Bitcoin                              0.0095351 Customer Transfer
 Confidential Customer Coin Transferee #4039    [Address on File]     5/21/2023 Bitcoin                             0.00576352 Customer Transfer
 Confidential Customer Coin Transferee #4040    [Address on File]     5/19/2023 Bitcoin                             0.01004068 Customer Transfer
 Confidential Customer Coin Transferee #4040    [Address on File]     5/27/2023 Bitcoin                             0.00631144 Customer Transfer
 Confidential Customer Coin Transferee #4041    [Address on File]     6/20/2023 Bitcoin                             0.05827792 Customer Transfer
 Confidential Customer Coin Transferee #4042    [Address on File]     5/26/2023 Bitcoin                             0.01081679 Customer Transfer
 Confidential Customer Coin Transferee #4043    [Address on File]     5/21/2023 Bitcoin                             2.45560167 Customer Transfer
 Confidential Customer Coin Transferee #4043    [Address on File]     5/21/2023 Bitcoin                                0.001456 Customer Transfer
 Confidential Customer Coin Transferee #4044    [Address on File]     5/21/2023 Bitcoin                             0.01016787 Customer Transfer
 Confidential Customer Coin Transferee #4045    [Address on File]     6/20/2023 Bitcoin                              0.0004038 Customer Transfer
 Confidential Customer Coin Transferee #4046    [Address on File]     5/31/2023 Bitcoin                             0.04451223 Customer Transfer
 Confidential Customer Coin Transferee #4046    [Address on File]     5/22/2023 Bitcoin                             0.03658205 Customer Transfer
 Confidential Customer Coin Transferee #4047    [Address on File]     5/29/2023 Bitcoin                             0.01857248 Customer Transfer
 Confidential Customer Coin Transferee #4047    [Address on File]     5/19/2023 Bitcoin                             0.01804987 Customer Transfer
 Confidential Customer Coin Transferee #4048    [Address on File]     5/22/2023 Bitcoin                             0.05008718 Customer Transfer

 Confidential Customer Coin Transferee #4049    [Address on File]     6/19/2023 Bitcoin                                0.03094676 Customer Transfer
 Confidential Customer Coin Transferee #4050    [Address on File]     6/20/2023 Bitcoin                                0.01181812 Customer Transfer
 Confidential Customer Coin Transferee #4051    [Address on File]     6/20/2023 Bitcoin                                0.00115616 Customer Transfer
 Confidential Customer Coin Transferee #4052    [Address on File]     5/21/2023 Bitcoin                                0.02695709 Customer Transfer
 Confidential Customer Coin Transferee #4053    [Address on File]     5/17/2023 Bitcoin                                2.98441244 Customer Transfer
 Confidential Customer Coin Transferee #4054    [Address on File]     6/20/2023 Bitcoin                                0.04006001 Customer Transfer
 Confidential Customer Coin Transferee #4055    [Address on File]     5/22/2023 Bitcoin                                0.00514806 Customer Transfer
 Confidential Customer Coin Transferee #4055    [Address on File]     6/20/2023 Bitcoin                                0.00227301 Customer Transfer
 Confidential Customer Coin Transferee #4056    [Address on File]     5/21/2023 Bitcoin                                 0.0007344 Customer Transfer
 Confidential Customer Coin Transferee #4057    [Address on File]      6/1/2023 Avalanche CChain)                        3.361019 Customer Transfer
 Confidential Customer Coin Transferee #4058    [Address on File]     6/19/2023 Bitcoin                                0.00003515 Customer Transfer
 Confidential Customer Coin Transferee #4059    [Address on File]     6/19/2023 Bitcoin                                0.14765753 Customer Transfer
 Confidential Customer Coin Transferee #4060    [Address on File]     6/19/2023 Bitcoin                                0.00248387 Customer Transfer
 Confidential Customer Coin Transferee #4061    [Address on File]     5/26/2023 Bitcoin                                       0.35 Customer Transfer
 Confidential Customer Coin Transferee #4062    [Address on File]     5/31/2023 USDC Avalanche)                        483.886445 Customer Transfer
 Confidential Customer Coin Transferee #4063    [Address on File]     6/19/2023 Bitcoin                                0.00216946 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4064    [Address on File]     5/18/2023 Bitcoin                              0.0258707 Customer Transfer
 Confidential Customer Coin Transferee #4065    [Address on File]     6/19/2023 Bitcoin                             0.03852834 Customer Transfer
 Confidential Customer Coin Transferee #4066    [Address on File]     5/20/2023 Bitcoin                             0.57100236 Customer Transfer
 Confidential Customer Coin Transferee #4066    [Address on File]     5/20/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #4067    [Address on File]     5/27/2023 Bitcoin                             0.02848683 Customer Transfer
 Confidential Customer Coin Transferee #4067    [Address on File]     5/20/2023 Bitcoin                             0.02321468 Customer Transfer
 Confidential Customer Coin Transferee #4068    [Address on File]     5/20/2023 Bitcoin                             0.00414791 Customer Transfer
 Confidential Customer Coin Transferee #4069    [Address on File]     6/20/2023 Bitcoin                             0.00627449 Customer Transfer
 Confidential Customer Coin Transferee #4070    [Address on File]     5/25/2023 Bitcoin                             0.09963152 Customer Transfer
 Confidential Customer Coin Transferee #4070    [Address on File]     5/16/2023 Bitcoin                             0.08968521 Customer Transfer
 Confidential Customer Coin Transferee #4071    [Address on File]     6/20/2023 USD Coin                             95.555998 Customer Transfer

 Confidential Customer Coin Transferee #4072    [Address on File]     5/17/2023 Bitcoin                                0.01026069 Customer Transfer
 Confidential Customer Coin Transferee #4073    [Address on File]     6/19/2023 Bitcoin                                0.00005875 Customer Transfer
 Confidential Customer Coin Transferee #4074    [Address on File]     6/19/2023 Bitcoin                                 0.0003142 Customer Transfer
 Confidential Customer Coin Transferee #4075    [Address on File]     6/20/2023 Bitcoin                                0.00017451 Customer Transfer
 Confidential Customer Coin Transferee #4076    [Address on File]     5/19/2023 Bitcoin                                0.01055023 Customer Transfer
 Confidential Customer Coin Transferee #4077    [Address on File]     5/22/2023 Bitcoin                                0.00110557 Customer Transfer
 Confidential Customer Coin Transferee #4077    [Address on File]     6/12/2023 Bitcoin                                0.00050026 Customer Transfer
 Confidential Customer Coin Transferee #4078    [Address on File]     6/19/2023 Bitcoin                                0.00035503 Customer Transfer
 Confidential Customer Coin Transferee #4079    [Address on File]     5/21/2023 Bitcoin                                0.00073207 Customer Transfer
 Confidential Customer Coin Transferee #4080    [Address on File]     6/19/2023 Bitcoin                                0.00029887 Customer Transfer
 Confidential Customer Coin Transferee #4081    [Address on File]     5/21/2023 Bitcoin                                0.05065979 Customer Transfer
 Confidential Customer Coin Transferee #4082    [Address on File]     5/29/2023 Bitcoin                                0.00628453 Customer Transfer
 Confidential Customer Coin Transferee #4082    [Address on File]     6/12/2023 Bitcoin                                0.00038574 Customer Transfer
 Confidential Customer Coin Transferee #4083    [Address on File]     6/20/2023 Bitcoin                                0.00011303 Customer Transfer
 Confidential Customer Coin Transferee #4084    [Address on File]     6/12/2023 Bitcoin                                 0.0114133 Customer Transfer
 Confidential Customer Coin Transferee #4084    [Address on File]      6/2/2023 Bitcoin                                0.01111072 Customer Transfer
 Confidential Customer Coin Transferee #4085    [Address on File]     5/24/2023 Bitcoin                                 0.7922405 Customer Transfer
 Confidential Customer Coin Transferee #4085    [Address on File]     5/24/2023 Bitcoin                                0.36615455 Customer Transfer
 Confidential Customer Coin Transferee #4085    [Address on File]     5/24/2023 Bitcoin                                0.18736829 Customer Transfer
 Confidential Customer Coin Transferee #4085    [Address on File]     5/24/2023 Bitcoin                                 0.1868825 Customer Transfer
 Confidential Customer Coin Transferee #4085    [Address on File]     5/24/2023 Bitcoin                                0.06462583 Customer Transfer
 Confidential Customer Coin Transferee #4085    [Address on File]     5/24/2023 Bitcoin                                0.06427693 Customer Transfer
 Confidential Customer Coin Transferee #4085    [Address on File]     5/24/2023 Bitcoin                                0.03422465 Customer Transfer
 Confidential Customer Coin Transferee #4085    [Address on File]     5/24/2023 Bitcoin                                0.03309385 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4085    [Address on File]     5/24/2023 Bitcoin                             0.02632528 Customer Transfer
 Confidential Customer Coin Transferee #4086    [Address on File]     6/19/2023 Bitcoin                             0.00040637 Customer Transfer
 Confidential Customer Coin Transferee #4087    [Address on File]     5/24/2023 Bitcoin                             0.01063119 Customer Transfer

 Confidential Customer Coin Transferee #4088    [Address on File]     6/19/2023 Bitcoin                                0.00521184 Customer Transfer
 Confidential Customer Coin Transferee #4089    [Address on File]     6/19/2023 Bitcoin                                0.00047659 Customer Transfer
 Confidential Customer Coin Transferee #4090    [Address on File]     5/19/2023 Bitcoin                                0.04433826 Customer Transfer
 Confidential Customer Coin Transferee #4091    [Address on File]     6/20/2023 Bitcoin                                0.00057875 Customer Transfer
 Confidential Customer Coin Transferee #4092    [Address on File]     6/20/2023 Bitcoin                                0.00031917 Customer Transfer
 Confidential Customer Coin Transferee #4093    [Address on File]     5/30/2023 Bitcoin                                0.00295883 Customer Transfer
 Confidential Customer Coin Transferee #4094    [Address on File]     6/20/2023 Bitcoin                                0.10377674 Customer Transfer
 Confidential Customer Coin Transferee #4095    [Address on File]     5/25/2023 Bitcoin                                0.01125085 Customer Transfer
 Confidential Customer Coin Transferee #4095    [Address on File]     6/15/2023 Bitcoin                                0.00792971 Customer Transfer
 Confidential Customer Coin Transferee #4095    [Address on File]     6/16/2023 Bitcoin                                0.00790992 Customer Transfer
 Confidential Customer Coin Transferee #4095    [Address on File]      6/6/2023 Bitcoin                                0.00754932 Customer Transfer
 Confidential Customer Coin Transferee #4095    [Address on File]     5/24/2023 Bitcoin                                0.00480757 Customer Transfer
 Confidential Customer Coin Transferee #4096    [Address on File]     6/13/2023 Bitcoin                                0.00049228 Customer Transfer
 Confidential Customer Coin Transferee #4097    [Address on File]     5/24/2023 Bitcoin                                0.00104518 Customer Transfer
 Confidential Customer Coin Transferee #4097    [Address on File]     5/22/2023 Bitcoin                                0.00036487 Customer Transfer
 Confidential Customer Coin Transferee #4098    [Address on File]     6/20/2023 Bitcoin                                0.00023161 Customer Transfer
 Confidential Customer Coin Transferee #4099    [Address on File]     5/18/2023 Litecoin                                      3.13 Customer Transfer
 Confidential Customer Coin Transferee #4100    [Address on File]     5/23/2023 Bitcoin                                0.02290587 Customer Transfer
 Confidential Customer Coin Transferee #4101    [Address on File]     5/23/2023 Bitcoin                                0.01017135 Customer Transfer
 Confidential Customer Coin Transferee #4102    [Address on File]      6/7/2023 Bitcoin                                0.03817126 Customer Transfer
 Confidential Customer Coin Transferee #4103    [Address on File]     5/29/2023 Bitcoin                                0.00258292 Customer Transfer
 Confidential Customer Coin Transferee #4103    [Address on File]     5/22/2023 Bitcoin                                0.00250381 Customer Transfer
 Confidential Customer Coin Transferee #4104    [Address on File]     6/20/2023 Bitcoin                                0.00092551 Customer Transfer
 Confidential Customer Coin Transferee #4105    [Address on File]     6/20/2023 Bitcoin                                0.00017461 Customer Transfer
 Confidential Customer Coin Transferee #4106    [Address on File]     6/13/2023 Bitcoin                                0.00760641 Customer Transfer
 Confidential Customer Coin Transferee #4106    [Address on File]     6/15/2023 Bitcoin                                0.00394745 Customer Transfer
 Confidential Customer Coin Transferee #4107    [Address on File]     5/20/2023 Bitcoin                                0.01054365 Customer Transfer
 Confidential Customer Coin Transferee #4108    [Address on File]     5/20/2023 Bitcoin                                0.00516994 Customer Transfer
 Confidential Customer Coin Transferee #4108    [Address on File]     5/20/2023 Bitcoin                                      0.002 Customer Transfer
 Confidential Customer Coin Transferee #4109    [Address on File]     5/24/2023 Bitcoin                                0.08526941 Customer Transfer

 Confidential Customer Coin Transferee #4110    [Address on File]     5/24/2023 Tether USD                                   2900 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #4110    [Address on File]     6/15/2023 Ether                                  0.21596792 Customer Transfer
 Confidential Customer Coin Transferee #4111    [Address on File]     6/19/2023 Bitcoin                                0.00071428 Customer Transfer
 Confidential Customer Coin Transferee #4112    [Address on File]     6/19/2023 Bitcoin                                0.00290374 Customer Transfer

 Confidential Customer Coin Transferee #4113    [Address on File]     6/16/2023 Tether USD                             301.676814 Customer Transfer

 Confidential Customer Coin Transferee #4113    [Address on File]     5/27/2023 USDC Avalanche)                         48.221067 Customer Transfer

 Confidential Customer Coin Transferee #4113    [Address on File]     5/27/2023 Avalanche CChain)                        2.195206 Customer Transfer
 Confidential Customer Coin Transferee #4114    [Address on File]     5/19/2023 Bitcoin                                0.00163951 Customer Transfer
 Confidential Customer Coin Transferee #4114    [Address on File]     5/26/2023 Bitcoin                                0.00163908 Customer Transfer
 Confidential Customer Coin Transferee #4115    [Address on File]     6/19/2023 Bitcoin                                0.00028855 Customer Transfer
 Confidential Customer Coin Transferee #4116    [Address on File]     5/26/2023 Bitcoin                                0.05052732 Customer Transfer
 Confidential Customer Coin Transferee #4117    [Address on File]     6/19/2023 Bitcoin                                 0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #4118    [Address on File]     5/19/2023 Bitcoin                                0.01939406 Customer Transfer
 Confidential Customer Coin Transferee #4119    [Address on File]     5/21/2023 Bitcoin                                0.17895043 Customer Transfer
 Confidential Customer Coin Transferee #4119    [Address on File]     5/21/2023 Bitcoin                                      0.004 Customer Transfer
 Confidential Customer Coin Transferee #4119    [Address on File]     5/21/2023 Bitcoin                                      0.003 Customer Transfer
 Confidential Customer Coin Transferee #4120    [Address on File]     5/21/2023 Bitcoin                                0.00186086 Customer Transfer
 Confidential Customer Coin Transferee #4121    [Address on File]      6/5/2023 Bitcoin                                0.00728497 Customer Transfer
 Confidential Customer Coin Transferee #4122    [Address on File]     5/19/2023 Bitcoin                                 0.0161465 Customer Transfer
 Confidential Customer Coin Transferee #4122    [Address on File]     6/15/2023 Bitcoin                                0.01240678 Customer Transfer
 Confidential Customer Coin Transferee #4122    [Address on File]     5/29/2023 Bitcoin                                 0.0046781 Customer Transfer
 Confidential Customer Coin Transferee #4122    [Address on File]     6/16/2023 Bitcoin                                0.00434189 Customer Transfer
 Confidential Customer Coin Transferee #4123    [Address on File]     6/19/2023 Bitcoin                                0.00579465 Customer Transfer
 Confidential Customer Coin Transferee #4124    [Address on File]     5/20/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #4125    [Address on File]     5/22/2023 Bitcoin                                0.00246689 Customer Transfer
 Confidential Customer Coin Transferee #4126    [Address on File]     5/22/2023 Bitcoin                                0.01243203 Customer Transfer
 Confidential Customer Coin Transferee #4126    [Address on File]     6/19/2023 Bitcoin                                0.00376439 Customer Transfer

 Confidential Customer Coin Transferee #4127    [Address on File]     5/19/2023 Litecoin                               0.12815491 Customer Transfer

 Confidential Customer Coin Transferee #4127    [Address on File]     5/19/2023 Ether                                  0.01296757 Customer Transfer

 Confidential Customer Coin Transferee #4127    [Address on File]     5/19/2023 Bitcoin                                0.00087846 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4128    [Address on File]     6/19/2023 Bitcoin                             0.00011639 Customer Transfer
 Confidential Customer Coin Transferee #4129    [Address on File]     6/19/2023 Bitcoin                             0.00037511 Customer Transfer

 Confidential Customer Coin Transferee #4130    [Address on File]     5/17/2023 Ether                                  0.256379 Customer Transfer

 Confidential Customer Coin Transferee #4130    [Address on File]      6/6/2023 Ether                               0.24989835 Customer Transfer
 Confidential Customer Coin Transferee #4131    [Address on File]      6/9/2023 Bitcoin                             0.01112521 Customer Transfer
 Confidential Customer Coin Transferee #4132    [Address on File]     5/27/2023 Bitcoin                             0.06335568 Customer Transfer
 Confidential Customer Coin Transferee #4132    [Address on File]     5/25/2023 Bitcoin                              0.0312654 Customer Transfer
 Confidential Customer Coin Transferee #4132    [Address on File]     5/29/2023 Bitcoin                             0.01868218 Customer Transfer
 Confidential Customer Coin Transferee #4132    [Address on File]     5/27/2023 Bitcoin                             0.00372813 Customer Transfer
 Confidential Customer Coin Transferee #4132    [Address on File]     5/19/2023 Bitcoin                              0.0037023 Customer Transfer
 Confidential Customer Coin Transferee #4133    [Address on File]     6/20/2023 Bitcoin                             0.00053626 Customer Transfer
 Confidential Customer Coin Transferee #4134    [Address on File]     5/19/2023 Bitcoin                             0.01037547 Customer Transfer
 Confidential Customer Coin Transferee #4134    [Address on File]     5/30/2023 Bitcoin                             0.01013953 Customer Transfer
 Confidential Customer Coin Transferee #4135    [Address on File]     6/14/2023 Bitcoin                             0.03387138 Customer Transfer
 Confidential Customer Coin Transferee #4135    [Address on File]     5/25/2023 Bitcoin                             0.03341563 Customer Transfer
 Confidential Customer Coin Transferee #4135    [Address on File]      6/9/2023 Bitcoin                             0.03323823 Customer Transfer
 Confidential Customer Coin Transferee #4135    [Address on File]     5/17/2023 Bitcoin                             0.03292934 Customer Transfer
 Confidential Customer Coin Transferee #4135    [Address on File]     5/31/2023 Bitcoin                             0.03244055 Customer Transfer
 Confidential Customer Coin Transferee #4136    [Address on File]     5/25/2023 Bitcoin                             0.03789897 Customer Transfer
 Confidential Customer Coin Transferee #4137    [Address on File]     6/13/2023 Avalanche CChain)                  110.5272542 Customer Transfer
 Confidential Customer Coin Transferee #4138    [Address on File]     6/13/2023 USD Coin                                  23.04 Customer Transfer
 Confidential Customer Coin Transferee #4138    [Address on File]     5/16/2023 USDC Avalanche)                            18.9 Customer Transfer
 Confidential Customer Coin Transferee #4138    [Address on File]     5/25/2023 USDC Avalanche)                             8.9 Customer Transfer
 Confidential Customer Coin Transferee #4138    [Address on File]     6/10/2023 USDC Avalanche)                             8.9 Customer Transfer
 Confidential Customer Coin Transferee #4138    [Address on File]     5/31/2023 Solana                              2.19636015 Customer Transfer
 Confidential Customer Coin Transferee #4137    [Address on File]     6/13/2023 Litecoin                            1.09924438 Customer Transfer
 Confidential Customer Coin Transferee #4138    [Address on File]     6/10/2023 USDC Avalanche)                             0.9 Customer Transfer
 Confidential Customer Coin Transferee #4138    [Address on File]      6/7/2023 Avalanche CChain)                   0.20413736 Customer Transfer
 Confidential Customer Coin Transferee #4138    [Address on File]     5/18/2023 Avalanche CChain)                   0.19713852 Customer Transfer
 Confidential Customer Coin Transferee #4137    [Address on File]     6/13/2023 Solana                               0.0576705 Customer Transfer
 Confidential Customer Coin Transferee #4138    [Address on File]      6/4/2023 Solana                              0.04672897 Customer Transfer
 Confidential Customer Coin Transferee #4138    [Address on File]     5/25/2023 Bitcoin                             0.00727741 Customer Transfer
 Confidential Customer Coin Transferee #4138    [Address on File]     5/22/2023 Bitcoin                             0.00335268 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #4139    [Address on File]      6/8/2023 Bitcoin                                    0.00025 Customer Transfer
 Confidential Customer Coin Transferee #4140    [Address on File]      6/2/2023 Bitcoin                                0.00055076 Customer Transfer
 Confidential Customer Coin Transferee #4141    [Address on File]     5/18/2023 Bitcoin                                0.00185949 Customer Transfer
 Confidential Customer Coin Transferee #4142    [Address on File]     6/20/2023 Bitcoin                                0.00057878 Customer Transfer
 Confidential Customer Coin Transferee #4143    [Address on File]     5/16/2023 Bitcoin                                0.01202174 Customer Transfer
 Confidential Customer Coin Transferee #4144    [Address on File]     5/20/2023 Bitcoin                                0.01093885 Customer Transfer
 Confidential Customer Coin Transferee #4145    [Address on File]     5/26/2023 Bitcoin                                0.00867817 Customer Transfer
 Confidential Customer Coin Transferee #4146    [Address on File]     5/18/2023 Bitcoin                                0.64810042 Customer Transfer
 Confidential Customer Coin Transferee #4146    [Address on File]     5/16/2023 Bitcoin                                        0.4 Customer Transfer
 Confidential Customer Coin Transferee #4147    [Address on File]     5/31/2023 Bitcoin                                0.00605925 Customer Transfer
 Confidential Customer Coin Transferee #4148    [Address on File]     6/20/2023 Bitcoin                                 0.0020597 Customer Transfer
 Confidential Customer Coin Transferee #4149    [Address on File]     6/19/2023 Bitcoin                                0.00006995 Customer Transfer
 Confidential Customer Coin Transferee #4150    [Address on File]     6/19/2023 Bitcoin                                0.00098361 Customer Transfer
 Confidential Customer Coin Transferee #4151    [Address on File]     6/19/2023 Bitcoin                                0.04601641 Customer Transfer
 Confidential Customer Coin Transferee #4152    [Address on File]     5/21/2023 Bitcoin                                0.00090597 Customer Transfer
 Confidential Customer Coin Transferee #4153    [Address on File]     5/19/2023 Bitcoin                                 0.0003377 Customer Transfer
 Confidential Customer Coin Transferee #4154    [Address on File]     5/20/2023 Bitcoin                                0.00090419 Customer Transfer
 Confidential Customer Coin Transferee #4155    [Address on File]     5/20/2023 Bitcoin                                0.00361315 Customer Transfer
 Confidential Customer Coin Transferee #4155    [Address on File]     5/31/2023 Bitcoin                                0.00330271 Customer Transfer
 Confidential Customer Coin Transferee #4156    [Address on File]     6/20/2023 Bitcoin                                0.01032089 Customer Transfer
 Confidential Customer Coin Transferee #4157    [Address on File]     6/20/2023 Bitcoin                                0.00021331 Customer Transfer
 Confidential Customer Coin Transferee #4158    [Address on File]     5/18/2023 Bitcoin                                 0.0074776 Customer Transfer
 Confidential Customer Coin Transferee #4158    [Address on File]     5/18/2023 Bitcoin                                0.00726972 Customer Transfer
 Confidential Customer Coin Transferee #4158    [Address on File]     5/18/2023 Bitcoin                                0.00181864 Customer Transfer
 Confidential Customer Coin Transferee #4158    [Address on File]     5/19/2023 Bitcoin                                0.00103665 Customer Transfer
 Confidential Customer Coin Transferee #4158    [Address on File]     5/21/2023 Bitcoin                                0.00073989 Customer Transfer

 Confidential Customer Coin Transferee #4159    [Address on File]     6/19/2023 Bitcoin                                0.00381113 Customer Transfer

 Confidential Customer Coin Transferee #4159    [Address on File]     6/20/2023 Bitcoin                                 0.0018932 Customer Transfer
 Confidential Customer Coin Transferee #4160    [Address on File]     5/19/2023 Bitcoin                                0.00173033 Customer Transfer
 Confidential Customer Coin Transferee #4161    [Address on File]     6/20/2023 Bitcoin                                0.00221256 Customer Transfer
 Confidential Customer Coin Transferee #4162    [Address on File]     6/20/2023 Bitcoin                                0.00399838 Customer Transfer
 Confidential Customer Coin Transferee #4163    [Address on File]     5/24/2023 Bitcoin                                0.00357867 Customer Transfer
 Confidential Customer Coin Transferee #4163    [Address on File]     5/17/2023 Bitcoin                                0.00351111 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4164    [Address on File]     5/19/2023 Bitcoin                             0.05280352 Customer Transfer
 Confidential Customer Coin Transferee #4165    [Address on File]     6/19/2023 Bitcoin                             0.00059085 Customer Transfer
 Confidential Customer Coin Transferee #4166    [Address on File]     6/20/2023 Bitcoin                             0.00005557 Customer Transfer
 Confidential Customer Coin Transferee #4167    [Address on File]     5/29/2023 Bitcoin                             0.01029387 Customer Transfer
 Confidential Customer Coin Transferee #4167    [Address on File]     5/22/2023 Bitcoin                             0.00566878 Customer Transfer

 Confidential Customer Coin Transferee #4168    [Address on File]     6/19/2023 Bitcoin                                0.00612689 Customer Transfer
 Confidential Customer Coin Transferee #4169    [Address on File]     6/14/2023 Bitcoin                                0.00756198 Customer Transfer
 Confidential Customer Coin Transferee #4169    [Address on File]     5/30/2023 Bitcoin                                   0.003466 Customer Transfer
 Confidential Customer Coin Transferee #4170    [Address on File]     5/20/2023 Bitcoin                                0.00367498 Customer Transfer
 Confidential Customer Coin Transferee #4171    [Address on File]      6/8/2023 USDC Avalanche)                        196.741954 Customer Transfer
 Confidential Customer Coin Transferee #4172    [Address on File]     5/27/2023 Bitcoin                                0.00315797 Customer Transfer
 Confidential Customer Coin Transferee #4172    [Address on File]     5/20/2023 Bitcoin                                0.00307238 Customer Transfer
 Confidential Customer Coin Transferee #4173    [Address on File]     5/16/2023 Bitcoin                                0.00309975 Customer Transfer
 Confidential Customer Coin Transferee #4173    [Address on File]     5/28/2023 Bitcoin                                0.00190628 Customer Transfer
 Confidential Customer Coin Transferee #4174    [Address on File]     5/22/2023 Bitcoin                                0.00737258 Customer Transfer
 Confidential Customer Coin Transferee #4174    [Address on File]      6/5/2023 Bitcoin                                 0.0073315 Customer Transfer
 Confidential Customer Coin Transferee #4174    [Address on File]     6/17/2023 Bitcoin                                0.00389356 Customer Transfer
 Confidential Customer Coin Transferee #4175    [Address on File]     5/16/2023 Bitcoin                                 0.0017026 Customer Transfer
 Confidential Customer Coin Transferee #4176    [Address on File]     6/20/2023 Bitcoin                                 0.0003321 Customer Transfer
 Confidential Customer Coin Transferee #4177    [Address on File]     5/17/2023 Bitcoin                                0.00410211 Customer Transfer
 Confidential Customer Coin Transferee #4178    [Address on File]     6/20/2023 Bitcoin                                0.00059068 Customer Transfer
 Confidential Customer Coin Transferee #4179    [Address on File]     5/16/2023 Bitcoin                                 0.0007368 Customer Transfer

 Confidential Customer Coin Transferee #4180    [Address on File]     6/19/2023 Bitcoin                                0.01412942 Customer Transfer

 Confidential Customer Coin Transferee #4180    [Address on File]      6/5/2023 Bitcoin                                0.01290778 Customer Transfer
 Confidential Customer Coin Transferee #4181    [Address on File]     5/18/2023 Bitcoin                                0.01054074 Customer Transfer
 Confidential Customer Coin Transferee #4182    [Address on File]     5/24/2023 Bitcoin                                0.00373264 Customer Transfer
 Confidential Customer Coin Transferee #4183    [Address on File]     5/18/2023 Bitcoin                                0.01993529 Customer Transfer
 Confidential Customer Coin Transferee #4183    [Address on File]     5/24/2023 Bitcoin                                0.00733166 Customer Transfer
 Confidential Customer Coin Transferee #4184    [Address on File]     5/25/2023 Bitcoin                                0.00093936 Customer Transfer

 Confidential Customer Coin Transferee #4185    [Address on File]     6/12/2023 USDC Avalanche)                        483.330001 Customer Transfer

 Confidential Customer Coin Transferee #4185    [Address on File]     5/30/2023 USDC Avalanche)                          483.1418 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #4185    [Address on File]     5/24/2023 USDC Avalanche)                        192.821435 Customer Transfer

 Confidential Customer Coin Transferee #4185    [Address on File]     6/10/2023 Bitcoin                                   0.018698 Customer Transfer
 Confidential Customer Coin Transferee #4186    [Address on File]     5/21/2023 Bitcoin                                0.00719521 Customer Transfer
 Confidential Customer Coin Transferee #4187    [Address on File]     5/23/2023 Bitcoin                                0.00184669 Customer Transfer
 Confidential Customer Coin Transferee #4188    [Address on File]     6/20/2023 Bitcoin                                0.00040823 Customer Transfer
 Confidential Customer Coin Transferee #4189    [Address on File]     5/24/2023 Bitcoin                                0.00361383 Customer Transfer
 Confidential Customer Coin Transferee #4189    [Address on File]     5/17/2023 Bitcoin                                0.00350823 Customer Transfer
 Confidential Customer Coin Transferee #4190    [Address on File]     6/17/2023 Bitcoin                                0.00044747 Customer Transfer
 Confidential Customer Coin Transferee #4191    [Address on File]     6/19/2023 Bitcoin                                0.00205471 Customer Transfer
 Confidential Customer Coin Transferee #4192    [Address on File]     5/16/2023 Bitcoin                                0.15158998 Customer Transfer
 Confidential Customer Coin Transferee #4193    [Address on File]     6/20/2023 Bitcoin                                0.04173769 Customer Transfer
 Confidential Customer Coin Transferee #4194    [Address on File]     5/17/2023 Bitcoin                                0.00283515 Customer Transfer
 Confidential Customer Coin Transferee #4194    [Address on File]     5/17/2023 Bitcoin                                   0.001416 Customer Transfer
 Confidential Customer Coin Transferee #4195    [Address on File]     5/17/2023 Bitcoin                                      0.0005 Customer Transfer
 Confidential Customer Coin Transferee #4196    [Address on File]     5/21/2023 Bitcoin                                0.03668792 Customer Transfer
 Confidential Customer Coin Transferee #4196    [Address on File]     5/18/2023 Bitcoin                                0.03639579 Customer Transfer
 Confidential Customer Coin Transferee #4197    [Address on File]     5/22/2023 Bitcoin                                0.00495988 Customer Transfer
 Confidential Customer Coin Transferee #4198    [Address on File]     6/19/2023 Bitcoin                                0.00005802 Customer Transfer

 Confidential Customer Coin Transferee #4199    [Address on File]      6/8/2023 Bitcoin                                 0.0600193 Customer Transfer
 Confidential Customer Coin Transferee #4200    [Address on File]     5/17/2023 Bitcoin                                     0.0005 Customer Transfer
 Confidential Customer Coin Transferee #4201    [Address on File]     5/22/2023 Tether USD                                 2065.85 Customer Transfer
 Confidential Customer Coin Transferee #4202    [Address on File]     5/26/2023 Bitcoin                                0.00058706 Customer Transfer
 Confidential Customer Coin Transferee #4202    [Address on File]     6/20/2023 Bitcoin                                0.00040108 Customer Transfer
 Confidential Customer Coin Transferee #4203    [Address on File]     6/19/2023 Bitcoin                                0.00088293 Customer Transfer
 Confidential Customer Coin Transferee #4204    [Address on File]     5/29/2023 Bitcoin                                0.06624054 Customer Transfer
 Confidential Customer Coin Transferee #4205    [Address on File]     6/20/2023 Bitcoin                                0.11797948 Customer Transfer
 Confidential Customer Coin Transferee #4206    [Address on File]     5/22/2023 Bitcoin                                0.00369024 Customer Transfer
 Confidential Customer Coin Transferee #4206    [Address on File]     5/21/2023 Bitcoin                                0.00369023 Customer Transfer
 Confidential Customer Coin Transferee #4206    [Address on File]     5/16/2023 Bitcoin                                0.00270565 Customer Transfer
 Confidential Customer Coin Transferee #4206    [Address on File]     5/28/2023 Bitcoin                                0.00190838 Customer Transfer
 Confidential Customer Coin Transferee #4206    [Address on File]     5/27/2023 Bitcoin                                0.00180838 Customer Transfer
 Confidential Customer Coin Transferee #4206    [Address on File]     5/16/2023 Bitcoin                                     0.0007 Customer Transfer
 Confidential Customer Coin Transferee #4207    [Address on File]     5/27/2023 Bitcoin                                0.00271689 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4208    [Address on File]     5/23/2023 Bitcoin                             0.01283257 Customer Transfer
 Confidential Customer Coin Transferee #4209    [Address on File]     5/25/2023 Bitcoin                             0.01418335 Customer Transfer
 Confidential Customer Coin Transferee #4209    [Address on File]     5/25/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #4210    [Address on File]     5/21/2023 Bitcoin                             0.00018471 Customer Transfer
 Confidential Customer Coin Transferee #4211    [Address on File]     5/23/2023 Bitcoin                             0.00716565 Customer Transfer
 Confidential Customer Coin Transferee #4212    [Address on File]     5/26/2023 Bitcoin                             0.00300894 Customer Transfer
 Confidential Customer Coin Transferee #4213    [Address on File]     5/20/2023 Bitcoin                             0.03352759 Customer Transfer
 Confidential Customer Coin Transferee #4214    [Address on File]     5/24/2023 Bitcoin                             0.01077201 Customer Transfer
 Confidential Customer Coin Transferee #4215    [Address on File]     5/23/2023 Bitcoin                             0.01058484 Customer Transfer
 Confidential Customer Coin Transferee #4215    [Address on File]     5/23/2023 Bitcoin                             0.01040847 Customer Transfer
 Confidential Customer Coin Transferee #4215    [Address on File]     5/23/2023 Bitcoin                              0.0102138 Customer Transfer
 Confidential Customer Coin Transferee #4216    [Address on File]     5/18/2023 Bitcoin                             0.02807585 Customer Transfer

 Confidential Customer Coin Transferee #4217    [Address on File]     5/17/2023 USDC Avalanche)                    1995.001999 Customer Transfer

 Confidential Customer Coin Transferee #4217    [Address on File]     5/17/2023 USDC Avalanche)                        197.520991 Customer Transfer

 Confidential Customer Coin Transferee #4217    [Address on File]      6/8/2023 Solana                                  47.389329 Customer Transfer

 Confidential Customer Coin Transferee #4217    [Address on File]      6/8/2023 Solana                                   5.015327 Customer Transfer
 Confidential Customer Coin Transferee #4218    [Address on File]     6/20/2023 Bitcoin                                0.00205843 Customer Transfer
 Confidential Customer Coin Transferee #4219    [Address on File]     6/20/2023 Bitcoin                                 0.0003616 Customer Transfer
 Confidential Customer Coin Transferee #4220    [Address on File]     5/19/2023 Bitcoin                                0.01804397 Customer Transfer
 Confidential Customer Coin Transferee #4221    [Address on File]      6/8/2023 Bitcoin                                0.00673937 Customer Transfer
 Confidential Customer Coin Transferee #4221    [Address on File]      6/9/2023 Bitcoin                                0.00598993 Customer Transfer
 Confidential Customer Coin Transferee #4221    [Address on File]     5/31/2023 Bitcoin                                0.00422643 Customer Transfer
 Confidential Customer Coin Transferee #4222    [Address on File]     6/20/2023 USD Coin                                98.545237 Customer Transfer
 Confidential Customer Coin Transferee #4223    [Address on File]     5/22/2023 Bitcoin                                0.01101363 Customer Transfer
 Confidential Customer Coin Transferee #4223    [Address on File]      6/9/2023 Bitcoin                                0.00719649 Customer Transfer
 Confidential Customer Coin Transferee #4223    [Address on File]     6/20/2023 Bitcoin                                0.00104969 Customer Transfer
 Confidential Customer Coin Transferee #4224    [Address on File]     6/20/2023 Bitcoin                                0.02555107 Customer Transfer
 Confidential Customer Coin Transferee #4225    [Address on File]     6/20/2023 Bitcoin                                0.01202178 Customer Transfer
 Confidential Customer Coin Transferee #4226    [Address on File]     5/29/2023 Bitcoin                                0.09469909 Customer Transfer
 Confidential Customer Coin Transferee #4226    [Address on File]     6/21/2023 Bitcoin                                0.01135695 Customer Transfer
 Confidential Customer Coin Transferee #4226    [Address on File]     6/19/2023 Bitcoin                                0.00376053 Customer Transfer
 Confidential Customer Coin Transferee #4227    [Address on File]     6/20/2023 Bitcoin                                0.00159679 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4228    [Address on File]     5/31/2023 Bitcoin                             0.00288176 Customer Transfer
 Confidential Customer Coin Transferee #4229    [Address on File]     6/20/2023 Bitcoin                             0.00005631 Customer Transfer
 Confidential Customer Coin Transferee #4230    [Address on File]     6/19/2023 Bitcoin                             0.00055452 Customer Transfer
 Confidential Customer Coin Transferee #4231    [Address on File]     6/20/2023 Bitcoin                             0.00057843 Customer Transfer
 Confidential Customer Coin Transferee #4232    [Address on File]     5/20/2023 Bitcoin                             0.01007255 Customer Transfer
 Confidential Customer Coin Transferee #4233    [Address on File]     5/29/2023 Bitcoin                             0.00567887 Customer Transfer
 Confidential Customer Coin Transferee #4234    [Address on File]     5/25/2023 Bitcoin                             0.00079626 Customer Transfer
 Confidential Customer Coin Transferee #4235    [Address on File]     5/21/2023 Bitcoin                              0.0171596 Customer Transfer
 Confidential Customer Coin Transferee #4236    [Address on File]     5/16/2023 Tether USD                                  209 Customer Transfer
 Confidential Customer Coin Transferee #4236    [Address on File]     5/17/2023 Tether USD                                  102 Customer Transfer
 Confidential Customer Coin Transferee #4237    [Address on File]     5/22/2023 Bitcoin                             0.01064619 Customer Transfer
 Confidential Customer Coin Transferee #4237    [Address on File]     6/19/2023 Bitcoin                             0.00192974 Customer Transfer
 Confidential Customer Coin Transferee #4237    [Address on File]      6/2/2023 Bitcoin                             0.00157809 Customer Transfer
 Confidential Customer Coin Transferee #4238    [Address on File]     5/27/2023 Bitcoin                              0.0074182 Customer Transfer
 Confidential Customer Coin Transferee #4239    [Address on File]     5/22/2023 Bitcoin                             0.02516689 Customer Transfer
 Confidential Customer Coin Transferee #4240    [Address on File]     6/17/2023 Bitcoin                             0.00415984 Customer Transfer
 Confidential Customer Coin Transferee #4241    [Address on File]     6/19/2023 Bitcoin                             0.00055806 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/20/2023 Bitcoin                             0.00368199 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/20/2023 Bitcoin                                0.003673 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/16/2023 Bitcoin                             0.00276004 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/16/2023 Bitcoin                             0.00186647 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/24/2023 Bitcoin                             0.00186293 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/22/2023 Bitcoin                              0.0017566 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/17/2023 Bitcoin                             0.00166844 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/21/2023 Bitcoin                              0.0015162 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/21/2023 Bitcoin                             0.00110146 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/20/2023 Bitcoin                             0.00110134 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/20/2023 Bitcoin                             0.00095549 Customer Transfer
 Confidential Customer Coin Transferee #4242    [Address on File]     5/24/2023 Bitcoin                             0.00084116 Customer Transfer
 Confidential Customer Coin Transferee #4243    [Address on File]     5/19/2023 Bitcoin                             0.02844222 Customer Transfer
 Confidential Customer Coin Transferee #4243    [Address on File]     5/27/2023 Bitcoin                             0.00757566 Customer Transfer
 Confidential Customer Coin Transferee #4244    [Address on File]     5/18/2023 Bitcoin                             0.00072698 Customer Transfer
 Confidential Customer Coin Transferee #4244    [Address on File]     5/23/2023 Bitcoin                             0.00018206 Customer Transfer
 Confidential Customer Coin Transferee #4245    [Address on File]     5/26/2023 Bitcoin                             0.00816778 Customer Transfer
 Confidential Customer Coin Transferee #4246    [Address on File]     5/16/2023 Bitcoin                             0.00723626 Customer Transfer
 Confidential Customer Coin Transferee #4247    [Address on File]     5/24/2023 Bitcoin                             0.03728074 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/16/2023 Bitcoin                             0.00434349 Customer Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/17/2023 Bitcoin                             0.00299802 Customer Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/18/2023 Bitcoin                             0.00103041 Customer Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/19/2023 Bitcoin                             0.00092327 Customer Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/25/2023 Bitcoin                             0.00069535 Customer Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/23/2023 Bitcoin                             0.00060061 Customer Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/17/2023 Bitcoin                             0.00043953 Customer Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/16/2023 Bitcoin                             0.00035931 Customer Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/17/2023 Bitcoin                             0.00029476 Customer Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/17/2023 Bitcoin                             0.00028579 Customer Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/25/2023 Bitcoin                             0.00015702 Customer Transfer
 Confidential Customer Coin Transferee #4248    [Address on File]     5/18/2023 Bitcoin                             0.00015125 Customer Transfer
 Confidential Customer Coin Transferee #4249    [Address on File]     5/31/2023 Bitcoin                                  0.0045 Customer Transfer
 Confidential Customer Coin Transferee #4250    [Address on File]     5/24/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #4251    [Address on File]     5/26/2023 Bitcoin                             0.00371363 Customer Transfer
 Confidential Customer Coin Transferee #4252    [Address on File]     5/24/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #4253    [Address on File]     5/25/2023 Bitcoin                             0.00870887 Customer Transfer
 Confidential Customer Coin Transferee #4253    [Address on File]     5/25/2023 Bitcoin                                 0.00076 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/21/2023 Bitcoin                             0.01809712 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/28/2023 Bitcoin                             0.01507604 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/16/2023 Bitcoin                             0.01503405 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/27/2023 Bitcoin                             0.01484431 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/24/2023 Bitcoin                             0.01137025 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/19/2023 Bitcoin                             0.01130103 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/20/2023 Bitcoin                             0.01072295 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/28/2023 Bitcoin                             0.00997897 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/26/2023 Bitcoin                             0.00964702 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/23/2023 Bitcoin                             0.00840142 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/26/2023 Bitcoin                             0.00741897 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/21/2023 Bitcoin                             0.00646561 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/20/2023 Bitcoin                             0.00553872 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/18/2023 Bitcoin                              0.0047328 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/18/2023 Bitcoin                             0.00472734 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/18/2023 Bitcoin                             0.00225722 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/20/2023 Bitcoin                             0.00220747 Customer Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/16/2023 Bitcoin                             0.00161966 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4254    [Address on File]     5/16/2023 Bitcoin                             0.00128867 Customer Transfer
 Confidential Customer Coin Transferee #4255    [Address on File]     5/31/2023 Bitcoin                             0.00022288 Customer Transfer
 Confidential Customer Coin Transferee #4255    [Address on File]     5/27/2023 Bitcoin                             0.00013208 Customer Transfer
 Confidential Customer Coin Transferee #4256    [Address on File]     6/19/2023 Bitcoin                                0.012991 Customer Transfer
 Confidential Customer Coin Transferee #4257    [Address on File]     6/20/2023 Bitcoin                              0.0148251 Customer Transfer
 Confidential Customer Coin Transferee #4258    [Address on File]     6/19/2023 Bitcoin                             0.00034714 Customer Transfer
 Confidential Customer Coin Transferee #4259    [Address on File]     5/29/2023 Bitcoin                             0.00562753 Customer Transfer
 Confidential Customer Coin Transferee #4260    [Address on File]     6/20/2023 Bitcoin                             0.00058086 Customer Transfer
 Confidential Customer Coin Transferee #4261    [Address on File]     6/19/2023 Bitcoin                             0.00024811 Customer Transfer
 Confidential Customer Coin Transferee #4262    [Address on File]     6/20/2023 Bitcoin                             0.00273821 Customer Transfer
 Confidential Customer Coin Transferee #4263    [Address on File]     6/20/2023 Bitcoin                             0.00681809 Customer Transfer
 Confidential Customer Coin Transferee #4264    [Address on File]     6/20/2023 Bitcoin                             0.00005952 Customer Transfer
 Confidential Customer Coin Transferee #4265    [Address on File]     6/19/2023 Bitcoin                             0.00029441 Customer Transfer
 Confidential Customer Coin Transferee #4266    [Address on File]     5/29/2023 Bitcoin                             0.02540931 Customer Transfer
 Confidential Customer Coin Transferee #4267    [Address on File]     5/27/2023 USDC Avalanche)                     193.234735 Customer Transfer
 Confidential Customer Coin Transferee #4267    [Address on File]      6/9/2023 USDC Avalanche)                     193.193403 Customer Transfer
 Confidential Customer Coin Transferee #4267    [Address on File]     5/29/2023 USDC Avalanche)                     144.847576 Customer Transfer
 Confidential Customer Coin Transferee #4267    [Address on File]     6/19/2023 USDC Avalanche)                        67.21818 Customer Transfer
 Confidential Customer Coin Transferee #4268    [Address on File]     5/24/2023 Bitcoin                                   0.0011 Customer Transfer
 Confidential Customer Coin Transferee #4269    [Address on File]     6/19/2023 Bitcoin                             0.00041315 Customer Transfer
 Confidential Customer Coin Transferee #4270    [Address on File]     6/20/2023 Bitcoin                             0.00402084 Customer Transfer
 Confidential Customer Coin Transferee #4271    [Address on File]     6/12/2023 Bitcoin                              0.0056437 Customer Transfer
 Confidential Customer Coin Transferee #4272    [Address on File]     6/19/2023 Bitcoin                             0.00027874 Customer Transfer
 Confidential Customer Coin Transferee #4273    [Address on File]     6/19/2023 Bitcoin                             0.00173438 Customer Transfer
 Confidential Customer Coin Transferee #4274    [Address on File]     6/19/2023 Bitcoin                             0.00055006 Customer Transfer
 Confidential Customer Coin Transferee #4275    [Address on File]     6/20/2023 Bitcoin                             0.00004318 Customer Transfer
 Confidential Customer Coin Transferee #4276    [Address on File]     6/19/2023 Bitcoin                             0.00009695 Customer Transfer
 Confidential Customer Coin Transferee #4277    [Address on File]     6/19/2023 Bitcoin                             0.00079793 Customer Transfer
 Confidential Customer Coin Transferee #4278    [Address on File]     5/26/2023 Bitcoin                                0.052189 Customer Transfer
 Confidential Customer Coin Transferee #4279    [Address on File]     5/31/2023 Bitcoin                             0.02841376 Customer Transfer
 Confidential Customer Coin Transferee #4279    [Address on File]     5/23/2023 Bitcoin                             0.00340534 Customer Transfer
 Confidential Customer Coin Transferee #4280    [Address on File]     6/20/2023 Bitcoin                             0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #4281    [Address on File]     6/20/2023 Bitcoin                             0.00006041 Customer Transfer
 Confidential Customer Coin Transferee #4282    [Address on File]     5/16/2023 Bitcoin                             0.01829093 Customer Transfer
 Confidential Customer Coin Transferee #4282    [Address on File]     6/20/2023 Bitcoin                             0.01066072 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #4283    [Address on File]     5/26/2023 Bitcoin                                0.00092763 Customer Transfer

 Confidential Customer Coin Transferee #4283    [Address on File]     5/19/2023 Bitcoin                                0.00091427 Customer Transfer

 Confidential Customer Coin Transferee #4283    [Address on File]      6/2/2023 Bitcoin                                0.00090898 Customer Transfer
 Confidential Customer Coin Transferee #4284    [Address on File]     5/24/2023 Bitcoin                                0.00378754 Customer Transfer
 Confidential Customer Coin Transferee #4285    [Address on File]     5/30/2023 Bitcoin                                0.00161033 Customer Transfer
 Confidential Customer Coin Transferee #4286    [Address on File]     5/16/2023 Bitcoin                                0.00212004 Customer Transfer

 Confidential Customer Coin Transferee #4287    [Address on File]     6/19/2023 Bitcoin                                0.01102431 Customer Transfer
 Confidential Customer Coin Transferee #4288    [Address on File]     6/20/2023 Bitcoin                                0.00347354 Customer Transfer
 Confidential Customer Coin Transferee #4289    [Address on File]      6/8/2023 Cosmos Hub ATOM)                         20.93033 Customer Transfer
 Confidential Customer Coin Transferee #4290    [Address on File]     5/26/2023 Bitcoin                                0.01856838 Customer Transfer
 Confidential Customer Coin Transferee #4290    [Address on File]     5/19/2023 Bitcoin                                0.01851103 Customer Transfer
 Confidential Customer Coin Transferee #4291    [Address on File]     5/19/2023 Bitcoin                                   0.006291 Customer Transfer
 Confidential Customer Coin Transferee #4291    [Address on File]     5/21/2023 Bitcoin                                0.00441214 Customer Transfer
 Confidential Customer Coin Transferee #4291    [Address on File]     5/30/2023 Bitcoin                                      0.0028 Customer Transfer
 Confidential Customer Coin Transferee #4291    [Address on File]     5/30/2023 Bitcoin                                0.00178422 Customer Transfer
 Confidential Customer Coin Transferee #4291    [Address on File]     5/30/2023 Bitcoin                                0.00076384 Customer Transfer
 Confidential Customer Coin Transferee #4292    [Address on File]     5/31/2023 Bitcoin                                0.00305163 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]     6/12/2023 Bitcoin                                0.00331386 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]     6/13/2023 Bitcoin                                 0.0010311 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]     5/26/2023 Bitcoin                                0.00101124 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]      6/1/2023 Bitcoin                                   0.000909 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]      6/6/2023 Bitcoin                                 0.0009069 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]     5/31/2023 Bitcoin                                0.00071242 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]     5/29/2023 Bitcoin                                0.00069594 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]     5/30/2023 Bitcoin                                0.00036403 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]      6/9/2023 Bitcoin                                0.00011653 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]      6/5/2023 Bitcoin                                0.00011453 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]     5/29/2023 Bitcoin                                0.00010248 Customer Transfer
 Confidential Customer Coin Transferee #4293    [Address on File]     5/16/2023 Bitcoin                                0.00008088 Customer Transfer
 Confidential Customer Coin Transferee #4294    [Address on File]     5/17/2023 Bitcoin                                0.00037223 Customer Transfer
 Confidential Customer Coin Transferee #4295    [Address on File]     6/20/2023 Bitcoin                                0.00359693 Customer Transfer
 Confidential Customer Coin Transferee #4296    [Address on File]     5/24/2023 Bitcoin                                0.00661449 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4297    [Address on File]     6/20/2023 Bitcoin                             0.00216858 Customer Transfer
 Confidential Customer Coin Transferee #4298    [Address on File]     6/19/2023 Bitcoin                             0.00004441 Customer Transfer
 Confidential Customer Coin Transferee #4299    [Address on File]     6/20/2023 Bitcoin                             0.00035409 Customer Transfer
 Confidential Customer Coin Transferee #4300    [Address on File]     6/20/2023 Bitcoin                             0.00046561 Customer Transfer
 Confidential Customer Coin Transferee #4301    [Address on File]     6/19/2023 Bitcoin                             0.00043271 Customer Transfer
 Confidential Customer Coin Transferee #4302    [Address on File]     5/24/2023 Bitcoin                             0.00390231 Customer Transfer
 Confidential Customer Coin Transferee #4303    [Address on File]     6/19/2023 Bitcoin                             0.07574832 Customer Transfer
 Confidential Customer Coin Transferee #4304    [Address on File]     5/20/2023 Bitcoin                             0.00188791 Customer Transfer
 Confidential Customer Coin Transferee #4304    [Address on File]     5/18/2023 Bitcoin                             0.00113298 Customer Transfer
 Confidential Customer Coin Transferee #4304    [Address on File]     5/16/2023 Bitcoin                             0.00110113 Customer Transfer
 Confidential Customer Coin Transferee #4304    [Address on File]     5/19/2023 Bitcoin                              0.0009606 Customer Transfer
 Confidential Customer Coin Transferee #4304    [Address on File]     5/17/2023 Bitcoin                             0.00094503 Customer Transfer
 Confidential Customer Coin Transferee #4304    [Address on File]     5/17/2023 Bitcoin                             0.00093215 Customer Transfer
 Confidential Customer Coin Transferee #4305    [Address on File]     5/23/2023 Bitcoin                             0.01039843 Customer Transfer
 Confidential Customer Coin Transferee #4306    [Address on File]     5/21/2023 Bitcoin                             0.00111423 Customer Transfer
 Confidential Customer Coin Transferee #4307    [Address on File]     5/30/2023 Bitcoin                             0.00069791 Customer Transfer
 Confidential Customer Coin Transferee #4307    [Address on File]     5/22/2023 Bitcoin                             0.00042123 Customer Transfer
 Confidential Customer Coin Transferee #4307    [Address on File]     5/23/2023 Bitcoin                             0.00034601 Customer Transfer
 Confidential Customer Coin Transferee #4307    [Address on File]     5/24/2023 Bitcoin                              0.0003391 Customer Transfer
 Confidential Customer Coin Transferee #4307    [Address on File]     5/16/2023 Bitcoin                             0.00022035 Customer Transfer
 Confidential Customer Coin Transferee #4307    [Address on File]     5/19/2023 Bitcoin                             0.00009074 Customer Transfer
 Confidential Customer Coin Transferee #4307    [Address on File]     5/26/2023 Bitcoin                             0.00007361 Customer Transfer
 Confidential Customer Coin Transferee #4307    [Address on File]     5/20/2023 Bitcoin                             0.00003625 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/17/2023 Bitcoin                              0.0055147 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/26/2023 Bitcoin                             0.00469424 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/26/2023 Bitcoin                              0.0046625 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/27/2023 Bitcoin                             0.00465523 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/17/2023 Bitcoin                             0.00465511 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/17/2023 Bitcoin                              0.0045442 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/18/2023 Bitcoin                             0.00454411 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/27/2023 Bitcoin                             0.00372632 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/19/2023 Bitcoin                              0.0029579 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/18/2023 Bitcoin                             0.00217962 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/20/2023 Bitcoin                             0.00185186 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/30/2023 Bitcoin                             0.00142018 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/20/2023 Bitcoin                             0.00121513 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/16/2023 Bitcoin                             0.00090225 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/21/2023 Bitcoin                             0.00077611 Customer Transfer
 Confidential Customer Coin Transferee #4308    [Address on File]     5/21/2023 Bitcoin                             0.00069415 Customer Transfer
 Confidential Customer Coin Transferee #4309    [Address on File]     5/22/2023 Bitcoin                             0.00085162 Customer Transfer
 Confidential Customer Coin Transferee #4310    [Address on File]     5/19/2023 Bitcoin                             0.01233735 Customer Transfer
 Confidential Customer Coin Transferee #4311    [Address on File]     5/18/2023 Bitcoin                             0.00083468 Customer Transfer
 Confidential Customer Coin Transferee #4311    [Address on File]     5/26/2023 Bitcoin                             0.00071475 Customer Transfer
 Confidential Customer Coin Transferee #4311    [Address on File]     5/27/2023 Bitcoin                             0.00037209 Customer Transfer
 Confidential Customer Coin Transferee #4312    [Address on File]     5/19/2023 Bitcoin                             0.00130195 Customer Transfer
 Confidential Customer Coin Transferee #4312    [Address on File]     5/19/2023 Bitcoin                                0.001297 Customer Transfer
 Confidential Customer Coin Transferee #4312    [Address on File]     5/18/2023 Bitcoin                                0.000074 Customer Transfer
 Confidential Customer Coin Transferee #4313    [Address on File]     6/19/2023 Bitcoin                             0.00011163 Customer Transfer
 Confidential Customer Coin Transferee #4314    [Address on File]     5/21/2023 Bitcoin                             0.00184982 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/18/2023 Bitcoin                             0.00105279 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/18/2023 Bitcoin                             0.00080402 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/22/2023 Bitcoin                             0.00074603 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/17/2023 Bitcoin                             0.00073684 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/23/2023 Bitcoin                             0.00070746 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/30/2023 Bitcoin                             0.00069183 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/20/2023 Bitcoin                             0.00054637 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/22/2023 Bitcoin                             0.00053668 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/26/2023 Bitcoin                             0.00050855 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/23/2023 Bitcoin                             0.00047075 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/31/2023 Bitcoin                             0.00040424 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/24/2023 Bitcoin                              0.0003924 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/16/2023 Bitcoin                              0.0003864 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/27/2023 Bitcoin                              0.0003641 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/25/2023 Bitcoin                             0.00036258 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/24/2023 Bitcoin                             0.00036055 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/29/2023 Bitcoin                             0.00035988 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/24/2023 Bitcoin                              0.0003533 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/22/2023 Bitcoin                             0.00035169 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/23/2023 Bitcoin                             0.00034578 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/21/2023 Bitcoin                             0.00032485 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/24/2023 Bitcoin                             0.00028232 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/30/2023 Bitcoin                             0.00027615 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/25/2023 Bitcoin                             0.00027228 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/25/2023 Bitcoin                             0.00022556 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/31/2023 Bitcoin                             0.00020585 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/29/2023 Bitcoin                             0.00005014 Customer Transfer
 Confidential Customer Coin Transferee #4315    [Address on File]     5/25/2023 Bitcoin                             0.00003018 Customer Transfer
 Confidential Customer Coin Transferee #4316    [Address on File]     5/29/2023 Bitcoin                             0.01210006 Customer Transfer
 Confidential Customer Coin Transferee #4317    [Address on File]     5/16/2023 Bitcoin                             0.03816051 Customer Transfer
 Confidential Customer Coin Transferee #4318    [Address on File]     5/23/2023 Bitcoin                             0.01645407 Customer Transfer
 Confidential Customer Coin Transferee #4318    [Address on File]     5/31/2023 Bitcoin                             0.01199745 Customer Transfer
 Confidential Customer Coin Transferee #4318    [Address on File]     5/19/2023 Bitcoin                             0.00443182 Customer Transfer
 Confidential Customer Coin Transferee #4319    [Address on File]     5/23/2023 Bitcoin                             0.00368829 Customer Transfer

 Confidential Customer Coin Transferee #4320    [Address on File]     5/17/2023 Bitcoin                                0.05963472 Customer Transfer

 Confidential Customer Coin Transferee #4320    [Address on File]     5/22/2023 Bitcoin                                0.03714026 Customer Transfer

 Confidential Customer Coin Transferee #4320    [Address on File]     5/19/2023 Bitcoin                                0.01968172 Customer Transfer
 Confidential Customer Coin Transferee #4321    [Address on File]     6/20/2023 USD Coin                               492.883484 Customer Transfer
 Confidential Customer Coin Transferee #4321    [Address on File]     6/20/2023 USD Coin                               492.834363 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]     6/13/2023 Bitcoin                                0.00133959 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]      6/2/2023 Bitcoin                                0.00096308 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]     5/17/2023 Bitcoin                                0.00086538 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]     5/26/2023 Bitcoin                                0.00082773 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]      6/7/2023 Bitcoin                                0.00081399 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]     5/23/2023 Bitcoin                                0.00076101 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]     5/30/2023 Bitcoin                                0.00074305 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]     6/12/2023 Bitcoin                                0.00055186 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]     5/25/2023 Bitcoin                                0.00052427 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]     5/29/2023 Bitcoin                                0.00047359 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]     6/17/2023 Bitcoin                                0.00045069 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]      6/6/2023 Bitcoin                                0.00040816 Customer Transfer
 Confidential Customer Coin Transferee #4322    [Address on File]     5/22/2023 Bitcoin                                0.00031453 Customer Transfer
 Confidential Customer Coin Transferee #4323    [Address on File]     6/20/2023 Bitcoin                                0.00081094 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]      6/1/2023 USD Coin                                49.925037 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/30/2023 USD Coin                                34.952523 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/29/2023 USD Coin                                10.984507 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/25/2023 USD Coin                              9.986005 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/29/2023 USD Coin                              9.985007 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/30/2023 USD Coin                                1.09945 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/30/2023 USD Coin                                1.09945 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/30/2023 USD Coin                                1.09945 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/29/2023 USD Coin                                1.09934 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/29/2023 USD Coin                                1.09934 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/29/2023 USD Coin                                1.09934 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/29/2023 USD Coin                                1.09934 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]     5/30/2023 USD Coin                                 0.9995 Customer Transfer
 Confidential Customer Coin Transferee #4324    [Address on File]      6/1/2023 USD Coin                                 0.9995 Customer Transfer
 Confidential Customer Coin Transferee #4325    [Address on File]     5/23/2023 Bitcoin                             0.00926541 Customer Transfer
 Confidential Customer Coin Transferee #4326    [Address on File]     5/22/2023 Bitcoin                             0.00977857 Customer Transfer
 Confidential Customer Coin Transferee #4327    [Address on File]     6/16/2023 Bitcoin                             0.00323533 Customer Transfer
 Confidential Customer Coin Transferee #4328    [Address on File]     6/20/2023 Bitcoin                             0.00057926 Customer Transfer
 Confidential Customer Coin Transferee #4329    [Address on File]      6/1/2023 Bitcoin                             0.00717556 Customer Transfer
 Confidential Customer Coin Transferee #4330    [Address on File]     6/20/2023 Bitcoin                             0.00005613 Customer Transfer
 Confidential Customer Coin Transferee #4331    [Address on File]     6/12/2023 Bitcoin                             0.00825389 Customer Transfer
 Confidential Customer Coin Transferee #4332    [Address on File]     5/24/2023 Bitcoin                                0.005144 Customer Transfer
 Confidential Customer Coin Transferee #4332    [Address on File]     5/20/2023 Bitcoin                                0.004099 Customer Transfer
 Confidential Customer Coin Transferee #4333    [Address on File]     5/24/2023 Bitcoin                             0.02222223 Customer Transfer
 Confidential Customer Coin Transferee #4333    [Address on File]     5/20/2023 Bitcoin                              0.0111129 Customer Transfer
 Confidential Customer Coin Transferee #4334    [Address on File]     5/18/2023 Bitcoin                             0.00919772 Customer Transfer
 Confidential Customer Coin Transferee #4335    [Address on File]     5/22/2023 Bitcoin                             0.01002733 Customer Transfer
 Confidential Customer Coin Transferee #4336    [Address on File]     6/20/2023 Bitcoin                             0.00476314 Customer Transfer
 Confidential Customer Coin Transferee #4337    [Address on File]     6/19/2023 Bitcoin                             0.00614652 Customer Transfer
 Confidential Customer Coin Transferee #4338    [Address on File]     5/16/2023 Bitcoin                             0.00018387 Customer Transfer
 Confidential Customer Coin Transferee #4339    [Address on File]     5/21/2023 Bitcoin                             0.01036278 Customer Transfer
 Confidential Customer Coin Transferee #4340    [Address on File]     5/24/2023 Bitcoin                             0.01274266 Customer Transfer
 Confidential Customer Coin Transferee #4341    [Address on File]     5/20/2023 Bitcoin                             0.02401958 Customer Transfer
 Confidential Customer Coin Transferee #4341    [Address on File]     5/21/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #4342    [Address on File]     6/19/2023 Bitcoin                             0.00115459 Customer Transfer
 Confidential Customer Coin Transferee #4343    [Address on File]     5/19/2023 Bitcoin                             0.01284492 Customer Transfer

 Confidential Customer Coin Transferee #4344    [Address on File]     5/19/2023 Bitcoin                                0.00645638 Customer Transfer
 Confidential Customer Coin Transferee #4345    [Address on File]     6/20/2023 Bitcoin                                0.00057853 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4346    [Address on File]     5/31/2023 Bitcoin                                0.011776 Customer Transfer
 Confidential Customer Coin Transferee #4347    [Address on File]     5/27/2023 Bitcoin                             0.00517896 Customer Transfer
 Confidential Customer Coin Transferee #4348    [Address on File]     6/20/2023 Bitcoin                             0.00298632 Customer Transfer
 Confidential Customer Coin Transferee #4349    [Address on File]     6/19/2023 Bitcoin                              0.0010021 Customer Transfer
 Confidential Customer Coin Transferee #4350    [Address on File]     6/20/2023 Bitcoin                             0.00044264 Customer Transfer
 Confidential Customer Coin Transferee #4351    [Address on File]     5/25/2023 Bitcoin                             0.00415266 Customer Transfer
 Confidential Customer Coin Transferee #4352    [Address on File]     5/21/2023 Bitcoin                             0.01106894 Customer Transfer
 Confidential Customer Coin Transferee #4352    [Address on File]     5/26/2023 Bitcoin                             0.01088328 Customer Transfer
 Confidential Customer Coin Transferee #4352    [Address on File]     5/28/2023 Bitcoin                              0.0041883 Customer Transfer
 Confidential Customer Coin Transferee #4353    [Address on File]     5/19/2023 Bitcoin                             0.01496046 Customer Transfer
 Confidential Customer Coin Transferee #4354    [Address on File]     5/30/2023 Bitcoin                             0.00032863 Customer Transfer
 Confidential Customer Coin Transferee #4355    [Address on File]     5/21/2023 Bitcoin                             0.05725696 Customer Transfer

 Confidential Customer Coin Transferee #4356    [Address on File]     6/12/2023 Ether                                     0.02153 Customer Transfer

 Confidential Customer Coin Transferee #4356    [Address on File]     6/12/2023 Ether                                     0.021402 Customer Transfer
 Confidential Customer Coin Transferee #4357    [Address on File]     5/23/2023 Bitcoin                                0.00075427 Customer Transfer
 Confidential Customer Coin Transferee #4357    [Address on File]     5/16/2023 Bitcoin                                0.00067858 Customer Transfer
 Confidential Customer Coin Transferee #4358    [Address on File]     5/24/2023 Bitcoin                                0.06143619 Customer Transfer
 Confidential Customer Coin Transferee #4359    [Address on File]      6/8/2023 Tether USD                                148.1909 Customer Transfer
 Confidential Customer Coin Transferee #4359    [Address on File]      6/8/2023 Tether USD                                 64.5322 Customer Transfer
 Confidential Customer Coin Transferee #4360    [Address on File]     6/20/2023 Bitcoin                                0.00432242 Customer Transfer
 Confidential Customer Coin Transferee #4361    [Address on File]     5/23/2023 Bitcoin                                0.00091424 Customer Transfer
 Confidential Customer Coin Transferee #4361    [Address on File]     5/27/2023 Bitcoin                                 0.0007455 Customer Transfer
 Confidential Customer Coin Transferee #4361    [Address on File]     5/19/2023 Bitcoin                                0.00073957 Customer Transfer
 Confidential Customer Coin Transferee #4361    [Address on File]     5/17/2023 Bitcoin                                0.00073369 Customer Transfer
 Confidential Customer Coin Transferee #4361    [Address on File]     5/24/2023 Bitcoin                                0.00056081 Customer Transfer
 Confidential Customer Coin Transferee #4362    [Address on File]     5/20/2023 Bitcoin                                0.02392602 Customer Transfer
 Confidential Customer Coin Transferee #4362    [Address on File]     5/17/2023 Bitcoin                                0.00518376 Customer Transfer
 Confidential Customer Coin Transferee #4363    [Address on File]     6/20/2023 Bitcoin                                0.00147371 Customer Transfer
 Confidential Customer Coin Transferee #4363    [Address on File]     5/17/2023 Bitcoin                                0.00036173 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/17/2023 Bitcoin                                0.00220428 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/17/2023 Bitcoin                                0.00220288 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/16/2023 Bitcoin                                0.00184514 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/16/2023 Bitcoin                                0.00180367 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/17/2023 Bitcoin                                0.00146788 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/17/2023 Bitcoin                             0.00145487 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/27/2023 Bitcoin                             0.00144304 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/27/2023 Bitcoin                             0.00130184 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/17/2023 Bitcoin                             0.00127364 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/27/2023 Bitcoin                             0.00111569 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/17/2023 Bitcoin                              0.0010884 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/16/2023 Bitcoin                             0.00095671 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/27/2023 Bitcoin                             0.00093033 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/18/2023 Bitcoin                             0.00079901 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/16/2023 Bitcoin                             0.00075611 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/27/2023 Bitcoin                                  0.0007 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/17/2023 Bitcoin                             0.00062403 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/27/2023 Bitcoin                             0.00033471 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/27/2023 Bitcoin                             0.00026025 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/18/2023 Bitcoin                             0.00020051 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/16/2023 Bitcoin                             0.00011047 Customer Transfer
 Confidential Customer Coin Transferee #4364    [Address on File]     5/27/2023 Bitcoin                             0.00003345 Customer Transfer
 Confidential Customer Coin Transferee #4365    [Address on File]     5/19/2023 Bitcoin                             0.01013171 Customer Transfer
 Confidential Customer Coin Transferee #4366    [Address on File]     5/16/2023 Bitcoin                             0.01208584 Customer Transfer
 Confidential Customer Coin Transferee #4367    [Address on File]     5/21/2023 Bitcoin                             0.04083507 Customer Transfer
 Confidential Customer Coin Transferee #4367    [Address on File]     5/21/2023 Bitcoin                             0.00371524 Customer Transfer
 Confidential Customer Coin Transferee #4368    [Address on File]     5/26/2023 Bitcoin                             0.19575819 Customer Transfer
 Confidential Customer Coin Transferee #4369    [Address on File]     6/21/2023 Bitcoin                             0.00117799 Customer Transfer
 Confidential Customer Coin Transferee #4370    [Address on File]      6/6/2023 Bitcoin                             0.05790322 Customer Transfer
 Confidential Customer Coin Transferee #4370    [Address on File]     6/15/2023 Bitcoin                             0.03950498 Customer Transfer
 Confidential Customer Coin Transferee #4370    [Address on File]      6/5/2023 Bitcoin                             0.01840725 Customer Transfer

 Confidential Customer Coin Transferee #4371    [Address on File]     5/22/2023 Bitcoin                                0.01290623 Customer Transfer

 Confidential Customer Coin Transferee #4371    [Address on File]     5/29/2023 Bitcoin                                0.01218935 Customer Transfer
 Confidential Customer Coin Transferee #4372    [Address on File]     6/19/2023 Bitcoin                                0.00113266 Customer Transfer
 Confidential Customer Coin Transferee #4373    [Address on File]     5/22/2023 Bitcoin                                       0.02 Customer Transfer
 Confidential Customer Coin Transferee #4374    [Address on File]      6/8/2023 Tether USD                                   491.7 Customer Transfer
 Confidential Customer Coin Transferee #4375    [Address on File]     6/19/2023 Bitcoin                                0.01473995 Customer Transfer
 Confidential Customer Coin Transferee #4376    [Address on File]     5/25/2023 Bitcoin                                 0.0100829 Customer Transfer
 Confidential Customer Coin Transferee #4377    [Address on File]     5/19/2023 Bitcoin                                 0.0036932 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4377    [Address on File]     5/17/2023 Bitcoin                             0.00368145 Customer Transfer
 Confidential Customer Coin Transferee #4377    [Address on File]     5/16/2023 Bitcoin                             0.00367624 Customer Transfer
 Confidential Customer Coin Transferee #4377    [Address on File]     5/16/2023 Bitcoin                             0.00367047 Customer Transfer
 Confidential Customer Coin Transferee #4377    [Address on File]     5/17/2023 Bitcoin                             0.00367019 Customer Transfer
 Confidential Customer Coin Transferee #4377    [Address on File]     5/18/2023 Bitcoin                             0.00187539 Customer Transfer
 Confidential Customer Coin Transferee #4377    [Address on File]     5/20/2023 Bitcoin                             0.00185112 Customer Transfer
 Confidential Customer Coin Transferee #4377    [Address on File]     5/19/2023 Bitcoin                             0.00184932 Customer Transfer
 Confidential Customer Coin Transferee #4377    [Address on File]     5/19/2023 Bitcoin                             0.00184896 Customer Transfer
 Confidential Customer Coin Transferee #4377    [Address on File]     5/19/2023 Bitcoin                             0.00184727 Customer Transfer
 Confidential Customer Coin Transferee #4377    [Address on File]     5/20/2023 Bitcoin                             0.00184254 Customer Transfer
 Confidential Customer Coin Transferee #4378    [Address on File]     5/25/2023 Bitcoin                             0.00377185 Customer Transfer
 Confidential Customer Coin Transferee #4379    [Address on File]     5/19/2023 Bitcoin                             0.00753598 Customer Transfer
 Confidential Customer Coin Transferee #4379    [Address on File]     5/23/2023 Bitcoin                             0.00073128 Customer Transfer
 Confidential Customer Coin Transferee #4380    [Address on File]      6/8/2023 USD Coin                                   8334 Customer Transfer
 Confidential Customer Coin Transferee #4381    [Address on File]     5/18/2023 USDC Avalanche)                      33.136744 Customer Transfer
 Confidential Customer Coin Transferee #4381    [Address on File]      6/5/2023 USDC Avalanche)                        4.947526 Customer Transfer
 Confidential Customer Coin Transferee #4381    [Address on File]      6/5/2023 USDC Avalanche)                        4.947031 Customer Transfer
 Confidential Customer Coin Transferee #4381    [Address on File]      6/5/2023 USDC Avalanche)                        4.947031 Customer Transfer
 Confidential Customer Coin Transferee #4381    [Address on File]      6/5/2023 USDC Avalanche)                         4.49865 Customer Transfer
 Confidential Customer Coin Transferee #4381    [Address on File]      6/6/2023 USDC Avalanche)                        4.487756 Customer Transfer
 Confidential Customer Coin Transferee #4381    [Address on File]      6/6/2023 USDC Avalanche)                        4.487756 Customer Transfer
 Confidential Customer Coin Transferee #4381    [Address on File]      6/6/2023 USDC Avalanche)                        4.487307 Customer Transfer
 Confidential Customer Coin Transferee #4381    [Address on File]      6/6/2023 USDC Avalanche)                        4.487307 Customer Transfer
 Confidential Customer Coin Transferee #4381    [Address on File]      6/6/2023 USDC Avalanche)                        4.487307 Customer Transfer
 Confidential Customer Coin Transferee #4382    [Address on File]     5/16/2023 Bitcoin                             0.02810907 Customer Transfer

 Confidential Customer Coin Transferee #4383    [Address on File]     6/19/2023 Bitcoin                                0.05766747 Customer Transfer
 Confidential Customer Coin Transferee #4384    [Address on File]      6/6/2023 Bitcoin                                0.01119077 Customer Transfer
 Confidential Customer Coin Transferee #4384    [Address on File]     6/12/2023 Bitcoin                                0.00387765 Customer Transfer
 Confidential Customer Coin Transferee #4384    [Address on File]     5/24/2023 Bitcoin                                0.00372291 Customer Transfer
 Confidential Customer Coin Transferee #4384    [Address on File]     5/22/2023 Bitcoin                                0.00371465 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/19/2023 Bitcoin                                0.03601939 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/20/2023 Bitcoin                                0.02128393 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/22/2023 Bitcoin                                0.01941798 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/21/2023 Bitcoin                                0.01796076 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/21/2023 Bitcoin                                 0.0179295 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/30/2023 Bitcoin                              0.0178555 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/22/2023 Bitcoin                             0.01771512 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/26/2023 Bitcoin                             0.01762692 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/19/2023 Bitcoin                             0.01760682 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/20/2023 Bitcoin                             0.01757531 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/20/2023 Bitcoin                             0.01749578 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/20/2023 Bitcoin                             0.01740585 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/30/2023 Bitcoin                             0.01697717 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/23/2023 Bitcoin                             0.01667054 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/20/2023 Bitcoin                             0.01654979 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/30/2023 Bitcoin                             0.01620914 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/30/2023 Bitcoin                              0.0160608 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/30/2023 Bitcoin                             0.01605823 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/30/2023 Bitcoin                             0.01582837 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/27/2023 Bitcoin                             0.01581658 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/27/2023 Bitcoin                             0.01561658 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/26/2023 Bitcoin                             0.01559263 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/30/2023 Bitcoin                             0.01555959 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/21/2023 Bitcoin                              0.0152987 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/31/2023 Bitcoin                             0.01523882 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/30/2023 Bitcoin                             0.01521084 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/21/2023 Bitcoin                              0.0147549 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/20/2023 Bitcoin                             0.01450926 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/27/2023 Bitcoin                             0.01393545 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/26/2023 Bitcoin                              0.0139159 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/23/2023 Bitcoin                             0.01378777 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/20/2023 Bitcoin                             0.01120145 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/31/2023 Bitcoin                             0.01102941 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/31/2023 Bitcoin                             0.01100998 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/20/2023 Bitcoin                                   0.011 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/21/2023 Bitcoin                             0.01098234 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/31/2023 Bitcoin                             0.00989812 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/21/2023 Bitcoin                             0.00956672 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/22/2023 Bitcoin                             0.00929118 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/21/2023 Bitcoin                                   0.009 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/23/2023 Bitcoin                             0.00824658 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/23/2023 Bitcoin                             0.00726158 Customer Transfer
 Confidential Customer Coin Transferee #4385    [Address on File]     5/26/2023 Bitcoin                             0.00650525 Customer Transfer
 Confidential Customer Coin Transferee #4386    [Address on File]     5/27/2023 Bitcoin                             0.00345685 Customer Transfer
 Confidential Customer Coin Transferee #4387    [Address on File]      6/6/2023 Bitcoin                                      100 Customer Transfer
 Confidential Customer Coin Transferee #4387    [Address on File]      6/5/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #4388    [Address on File]     5/17/2023 Bitcoin                             0.00082596 Customer Transfer
 Confidential Customer Coin Transferee #4388    [Address on File]     5/17/2023 Bitcoin                                 0.00055 Customer Transfer
 Confidential Customer Coin Transferee #4388    [Address on File]     5/29/2023 Bitcoin                             0.00048728 Customer Transfer
 Confidential Customer Coin Transferee #4388    [Address on File]     5/23/2023 Bitcoin                             0.00035647 Customer Transfer
 Confidential Customer Coin Transferee #4388    [Address on File]     5/19/2023 Bitcoin                             0.00023112 Customer Transfer
 Confidential Customer Coin Transferee #4388    [Address on File]     5/24/2023 Bitcoin                             0.00018918 Customer Transfer
 Confidential Customer Coin Transferee #4389    [Address on File]     5/28/2023 Bitcoin                                    0.012 Customer Transfer
 Confidential Customer Coin Transferee #4389    [Address on File]     5/16/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #4389    [Address on File]     5/18/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #4389    [Address on File]     5/25/2023 Bitcoin                                    0.008 Customer Transfer
 Confidential Customer Coin Transferee #4389    [Address on File]     5/24/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #4389    [Address on File]     5/24/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #4389    [Address on File]     5/28/2023 Bitcoin                                  0.0007 Customer Transfer
 Confidential Customer Coin Transferee #4390    [Address on File]     5/19/2023 Bitcoin                             0.00922811 Customer Transfer
 Confidential Customer Coin Transferee #4390    [Address on File]     5/19/2023 Bitcoin                              0.0074137 Customer Transfer
 Confidential Customer Coin Transferee #4390    [Address on File]     5/30/2023 Bitcoin                             0.00713936 Customer Transfer
 Confidential Customer Coin Transferee #4390    [Address on File]     5/27/2023 Bitcoin                             0.00445605 Customer Transfer
 Confidential Customer Coin Transferee #4390    [Address on File]     5/24/2023 Bitcoin                             0.00283402 Customer Transfer
 Confidential Customer Coin Transferee #4390    [Address on File]     5/21/2023 Bitcoin                             0.00277183 Customer Transfer
 Confidential Customer Coin Transferee #4390    [Address on File]     5/31/2023 Bitcoin                             0.00147751 Customer Transfer
 Confidential Customer Coin Transferee #4390    [Address on File]     5/31/2023 Bitcoin                             0.00110729 Customer Transfer

 Confidential Customer Coin Transferee #4391    [Address on File]      6/9/2023 Tether USD                                    2967 Customer Transfer
 Confidential Customer Coin Transferee #4392    [Address on File]     5/19/2023 Bitcoin                                        0.13 Customer Transfer
 Confidential Customer Coin Transferee #4393    [Address on File]     6/15/2023 Cosmos Hub ATOM)                        54.952355 Customer Transfer
 Confidential Customer Coin Transferee #4394    [Address on File]     5/29/2023 Bitcoin                                     0.0815 Customer Transfer
 Confidential Customer Coin Transferee #4394    [Address on File]     5/18/2023 Bitcoin                                        0.05 Customer Transfer
 Confidential Customer Coin Transferee #4394    [Address on File]     5/24/2023 Bitcoin                                      0.039 Customer Transfer
 Confidential Customer Coin Transferee #4394    [Address on File]     5/21/2023 Bitcoin                                      0.025 Customer Transfer
 Confidential Customer Coin Transferee #4394    [Address on File]     5/28/2023 Bitcoin                                      0.002 Customer Transfer
 Confidential Customer Coin Transferee #4395    [Address on File]     5/24/2023 Bitcoin                                0.02544121 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count           or Transfer

 Confidential Customer Coin Transferee #4396    [Address on File]     5/19/2023 USDC Avalanche)                    1494.702648 Customer Transfer

 Confidential Customer Coin Transferee #4396    [Address on File]     5/22/2023 USDC Avalanche)                        995.751274 Customer Transfer

 Confidential Customer Coin Transferee #4396    [Address on File]     5/21/2023 USDC Avalanche)                        995.651739 Customer Transfer

 Confidential Customer Coin Transferee #4396    [Address on File]     5/16/2023 USDC Avalanche)                        498.300509 Customer Transfer

 Confidential Customer Coin Transferee #4396    [Address on File]     5/18/2023 USDC Avalanche)                        498.231061 Customer Transfer

 Confidential Customer Coin Transferee #4396    [Address on File]     5/17/2023 USDC Avalanche)                        497.960815 Customer Transfer
 Confidential Customer Coin Transferee #4397    [Address on File]     5/26/2023 Bitcoin                                0.01002171 Customer Transfer
 Confidential Customer Coin Transferee #4398    [Address on File]     5/22/2023 Bitcoin                                0.10901351 Customer Transfer
 Confidential Customer Coin Transferee #4399    [Address on File]     5/19/2023 Bitcoin                                0.00342012 Customer Transfer
 Confidential Customer Coin Transferee #4400    [Address on File]     5/26/2023 Bitcoin                                0.07570619 Customer Transfer
 Confidential Customer Coin Transferee #4401    [Address on File]     5/23/2023 Bitcoin                                      0.1011 Customer Transfer
 Confidential Customer Coin Transferee #4401    [Address on File]     5/24/2023 Bitcoin                                0.02077959 Customer Transfer
 Confidential Customer Coin Transferee #4402    [Address on File]     5/26/2023 Bitcoin                                0.07416605 Customer Transfer
 Confidential Customer Coin Transferee #4403    [Address on File]     5/19/2023 Bitcoin                                0.00144745 Customer Transfer
 Confidential Customer Coin Transferee #4404    [Address on File]     6/20/2023 Bitcoin                                0.00088267 Customer Transfer
 Confidential Customer Coin Transferee #4405    [Address on File]     5/21/2023 Bitcoin                                0.01122829 Customer Transfer
 Confidential Customer Coin Transferee #4406    [Address on File]     5/19/2023 Bitcoin                                0.01052186 Customer Transfer
 Confidential Customer Coin Transferee #4407    [Address on File]     6/19/2023 TUIT Polygon)                               200000 Customer Transfer
 Confidential Customer Coin Transferee #4407    [Address on File]     6/19/2023 TUIT Polygon)                                      1 Customer Transfer
 Confidential Customer Coin Transferee #4408    [Address on File]     6/20/2023 Bitcoin                                 0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #4409    [Address on File]     6/19/2023 Bitcoin                                0.00171085 Customer Transfer
 Confidential Customer Coin Transferee #4410    [Address on File]     6/19/2023 Bitcoin                                0.00076866 Customer Transfer
 Confidential Customer Coin Transferee #4411    [Address on File]     6/19/2023 Bitcoin                                0.00151603 Customer Transfer
 Confidential Customer Coin Transferee #4412    [Address on File]     5/28/2023 Bitcoin                                   0.006013 Customer Transfer
 Confidential Customer Coin Transferee #4412    [Address on File]     5/18/2023 Bitcoin                                      0.0005 Customer Transfer
 Confidential Customer Coin Transferee #4413    [Address on File]     5/20/2023 Bitcoin                                0.01019289 Customer Transfer
 Confidential Customer Coin Transferee #4414    [Address on File]     5/27/2023 Bitcoin                                         0.01 Customer Transfer
 Confidential Customer Coin Transferee #4415    [Address on File]     5/17/2023 Bitcoin                                0.01031023 Customer Transfer
 Confidential Customer Coin Transferee #4416    [Address on File]     6/19/2023 Bitcoin                                0.00005834 Customer Transfer
 Confidential Customer Coin Transferee #4417    [Address on File]     5/30/2023 Bitcoin                                0.00713793 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/21/2023 Bitcoin                             0.00698643 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/27/2023 Bitcoin                              0.0055676 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/27/2023 Bitcoin                             0.00520058 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/26/2023 Bitcoin                             0.00375996 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/27/2023 Bitcoin                             0.00372424 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/27/2023 Bitcoin                             0.00372322 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/27/2023 Bitcoin                             0.00372067 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/22/2023 Bitcoin                                0.003704 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/21/2023 Bitcoin                             0.00347584 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/25/2023 Bitcoin                             0.00300819 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/25/2023 Bitcoin                             0.00300803 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/27/2023 Bitcoin                             0.00297601 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/30/2023 Bitcoin                             0.00286353 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/29/2023 Bitcoin                             0.00247927 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/30/2023 Bitcoin                             0.00214308 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/26/2023 Bitcoin                              0.0018819 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/27/2023 Bitcoin                             0.00185983 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/21/2023 Bitcoin                             0.00182831 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/30/2023 Bitcoin                             0.00179172 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/18/2023 Bitcoin                             0.00178076 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/30/2023 Bitcoin                             0.00161262 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/23/2023 Bitcoin                             0.00145293 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/19/2023 Bitcoin                             0.00136751 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/18/2023 Bitcoin                             0.00122679 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/18/2023 Bitcoin                             0.00105583 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/18/2023 Bitcoin                             0.00091028 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/17/2023 Bitcoin                             0.00068968 Customer Transfer
 Confidential Customer Coin Transferee #4418    [Address on File]     5/18/2023 Bitcoin                              0.0003748 Customer Transfer
 Confidential Customer Coin Transferee #4419    [Address on File]     5/23/2023 Bitcoin                                    0.077 Customer Transfer
 Confidential Customer Coin Transferee #4420    [Address on File]     5/24/2023 Bitcoin                             0.00756239 Customer Transfer
 Confidential Customer Coin Transferee #4420    [Address on File]     5/18/2023 Bitcoin                             0.00747517 Customer Transfer
 Confidential Customer Coin Transferee #4420    [Address on File]     5/28/2023 Bitcoin                             0.00729446 Customer Transfer
 Confidential Customer Coin Transferee #4421    [Address on File]     5/20/2023 Bitcoin                             0.00902741 Customer Transfer
 Confidential Customer Coin Transferee #4421    [Address on File]     5/25/2023 Bitcoin                             0.00226536 Customer Transfer
 Confidential Customer Coin Transferee #4421    [Address on File]     5/20/2023 Bitcoin                             0.00217724 Customer Transfer
 Confidential Customer Coin Transferee #4421    [Address on File]     5/19/2023 Bitcoin                             0.00064235 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4421    [Address on File]     5/25/2023 Bitcoin                             0.00060304 Customer Transfer
 Confidential Customer Coin Transferee #4421    [Address on File]     5/18/2023 Bitcoin                             0.00039383 Customer Transfer
 Confidential Customer Coin Transferee #4421    [Address on File]     5/19/2023 Bitcoin                             0.00036207 Customer Transfer
 Confidential Customer Coin Transferee #4422    [Address on File]      6/2/2023 TUIT Polygon)                                200 Customer Transfer
 Confidential Customer Coin Transferee #4423    [Address on File]     6/19/2023 Bitcoin                             0.00009214 Customer Transfer
 Confidential Customer Coin Transferee #4424    [Address on File]     5/24/2023 Bitcoin                             0.16251589 Customer Transfer
 Confidential Customer Coin Transferee #4425    [Address on File]     5/25/2023 Bitcoin                             0.00123085 Customer Transfer
 Confidential Customer Coin Transferee #4425    [Address on File]     6/18/2023 Bitcoin                             0.00111423 Customer Transfer
 Confidential Customer Coin Transferee #4426    [Address on File]     6/20/2023 Bitcoin                              0.0021699 Customer Transfer
 Confidential Customer Coin Transferee #4427    [Address on File]     5/26/2023 Bitcoin                                    0.018 Customer Transfer
 Confidential Customer Coin Transferee #4427    [Address on File]     5/26/2023 Bitcoin                             0.00219754 Customer Transfer
 Confidential Customer Coin Transferee #4427    [Address on File]     5/26/2023 Bitcoin                              0.0012971 Customer Transfer
 Confidential Customer Coin Transferee #4427    [Address on File]     5/25/2023 Bitcoin                             0.00071465 Customer Transfer
 Confidential Customer Coin Transferee #4427    [Address on File]     5/17/2023 Bitcoin                                0.000688 Customer Transfer
 Confidential Customer Coin Transferee #4427    [Address on File]     5/26/2023 Bitcoin                             0.00048291 Customer Transfer
 Confidential Customer Coin Transferee #4427    [Address on File]     5/24/2023 Bitcoin                             0.00027286 Customer Transfer
 Confidential Customer Coin Transferee #4427    [Address on File]     5/18/2023 Bitcoin                             0.00013825 Customer Transfer
 Confidential Customer Coin Transferee #4428    [Address on File]     5/19/2023 Bitcoin                             0.03681629 Customer Transfer
 Confidential Customer Coin Transferee #4429    [Address on File]     5/21/2023 Bitcoin                             0.00183411 Customer Transfer
 Confidential Customer Coin Transferee #4429    [Address on File]     5/29/2023 Bitcoin                             0.00176426 Customer Transfer
 Confidential Customer Coin Transferee #4429    [Address on File]     5/27/2023 Bitcoin                             0.00111047 Customer Transfer
 Confidential Customer Coin Transferee #4430    [Address on File]     5/28/2023 Bitcoin                             0.01699285 Customer Transfer
 Confidential Customer Coin Transferee #4431    [Address on File]     5/19/2023 Bitcoin                             0.01465145 Customer Transfer
 Confidential Customer Coin Transferee #4431    [Address on File]     5/29/2023 Bitcoin                             0.00561668 Customer Transfer
 Confidential Customer Coin Transferee #4432    [Address on File]     5/18/2023 Bitcoin                             0.00036424 Customer Transfer
 Confidential Customer Coin Transferee #4433    [Address on File]     5/19/2023 Bitcoin                             0.00619332 Customer Transfer
 Confidential Customer Coin Transferee #4434    [Address on File]     5/31/2023 Bitcoin                             0.01153172 Customer Transfer
 Confidential Customer Coin Transferee #4435    [Address on File]     5/24/2023 Bitcoin                             0.00711836 Customer Transfer
 Confidential Customer Coin Transferee #4436    [Address on File]     6/20/2023 Bitcoin                             0.00084699 Customer Transfer
 Confidential Customer Coin Transferee #4437    [Address on File]      6/2/2023 Bitcoin                             0.00366386 Customer Transfer
 Confidential Customer Coin Transferee #4437    [Address on File]     6/19/2023 Bitcoin                             0.00198383 Customer Transfer

 Confidential Customer Coin Transferee #4438    [Address on File]     6/19/2023 Bitcoin                                0.07691233 Customer Transfer
 Confidential Customer Coin Transferee #4439    [Address on File]     6/12/2023 Bitcoin                                0.01853232 Customer Transfer
 Confidential Customer Coin Transferee #4440    [Address on File]     5/21/2023 Bitcoin                                0.02799149 Customer Transfer
 Confidential Customer Coin Transferee #4441    [Address on File]     5/21/2023 Bitcoin                                0.00067728 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                  Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count      or Transfer
 Confidential Customer Coin Transferee #4442    [Address on File]     5/26/2023 Bitcoin                             0.0037819 Customer Transfer

 Confidential Customer Coin Transferee #4443    [Address on File]     5/19/2023 Bitcoin                             0.05238493 Customer Transfer
 Confidential Customer Coin Transferee #4444    [Address on File]     6/19/2023 Bitcoin                             0.00127088 Customer Transfer
 Confidential Customer Coin Transferee #4445    [Address on File]     5/18/2023 Bitcoin                             0.01043058 Customer Transfer
 Confidential Customer Coin Transferee #4445    [Address on File]     5/25/2023 Bitcoin                             0.01000921 Customer Transfer
 Confidential Customer Coin Transferee #4446    [Address on File]     5/18/2023 Bitcoin                             0.00323692 Customer Transfer
 Confidential Customer Coin Transferee #4446    [Address on File]      6/6/2023 Bitcoin                             0.00265884 Customer Transfer
 Confidential Customer Coin Transferee #4446    [Address on File]     6/15/2023 Bitcoin                             0.00233275 Customer Transfer
 Confidential Customer Coin Transferee #4446    [Address on File]     5/29/2023 Bitcoin                             0.00110617 Customer Transfer
 Confidential Customer Coin Transferee #4446    [Address on File]      6/5/2023 Bitcoin                             0.00110195 Customer Transfer
 Confidential Customer Coin Transferee #4446    [Address on File]     6/12/2023 Bitcoin                             0.00074689 Customer Transfer
 Confidential Customer Coin Transferee #4446    [Address on File]      6/1/2023 Bitcoin                             0.00072281 Customer Transfer
 Confidential Customer Coin Transferee #4446    [Address on File]     5/29/2023 Bitcoin                             0.00071575 Customer Transfer
 Confidential Customer Coin Transferee #4447    [Address on File]      6/2/2023 TUIT Polygon)                              100 Customer Transfer
 Confidential Customer Coin Transferee #4447    [Address on File]      6/8/2023 Tether USD                                   15 Customer Transfer
 Confidential Customer Coin Transferee #4448    [Address on File]     5/22/2023 Bitcoin                                    0.02 Customer Transfer
 Confidential Customer Coin Transferee #4448    [Address on File]     5/28/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #4449    [Address on File]     5/19/2023 Bitcoin                             0.26294507 Customer Transfer
 Confidential Customer Coin Transferee #4450    [Address on File]     6/12/2023 Bitcoin                              0.0092988 Customer Transfer
 Confidential Customer Coin Transferee #4450    [Address on File]     6/19/2023 Bitcoin                             0.00079567 Customer Transfer
 Confidential Customer Coin Transferee #4451    [Address on File]     5/26/2023 Bitcoin                             0.00186233 Customer Transfer
 Confidential Customer Coin Transferee #4451    [Address on File]     5/19/2023 Bitcoin                             0.00169126 Customer Transfer
 Confidential Customer Coin Transferee #4452    [Address on File]     6/19/2023 Bitcoin                             0.00069223 Customer Transfer
 Confidential Customer Coin Transferee #4453    [Address on File]     5/22/2023 Bitcoin                             0.00478424 Customer Transfer
 Confidential Customer Coin Transferee #4454    [Address on File]     5/20/2023 Bitcoin                             0.02515767 Customer Transfer
 Confidential Customer Coin Transferee #4455    [Address on File]     6/20/2023 Bitcoin                             0.03062663 Customer Transfer
 Confidential Customer Coin Transferee #4456    [Address on File]     5/22/2023 Bitcoin                             0.00189306 Customer Transfer
 Confidential Customer Coin Transferee #4456    [Address on File]     5/23/2023 Bitcoin                             0.00185943 Customer Transfer
 Confidential Customer Coin Transferee #4457    [Address on File]     5/31/2023 Bitcoin                              0.0061375 Customer Transfer
 Confidential Customer Coin Transferee #4458    [Address on File]     6/20/2023 Bitcoin                             0.00042699 Customer Transfer
 Confidential Customer Coin Transferee #4459    [Address on File]     6/19/2023 Bitcoin                             0.00005943 Customer Transfer
 Confidential Customer Coin Transferee #4460    [Address on File]      6/5/2023 Tether USD                         1402.627635 Customer Transfer
 Confidential Customer Coin Transferee #4461    [Address on File]     5/25/2023 Bitcoin                             0.00947151 Customer Transfer
 Confidential Customer Coin Transferee #4461    [Address on File]     5/24/2023 Bitcoin                             0.00926985 Customer Transfer
 Confidential Customer Coin Transferee #4461    [Address on File]     5/23/2023 Bitcoin                             0.00913681 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4461    [Address on File]     5/29/2023 Bitcoin                              0.0088377 Customer Transfer
 Confidential Customer Coin Transferee #4461    [Address on File]     5/16/2023 Bitcoin                             0.00827459 Customer Transfer
 Confidential Customer Coin Transferee #4461    [Address on File]     5/18/2023 Bitcoin                             0.00649125 Customer Transfer
 Confidential Customer Coin Transferee #4461    [Address on File]     5/17/2023 Bitcoin                             0.00553541 Customer Transfer
 Confidential Customer Coin Transferee #4461    [Address on File]     5/24/2023 Bitcoin                             0.00377462 Customer Transfer
 Confidential Customer Coin Transferee #4461    [Address on File]     5/22/2023 Bitcoin                              0.0027984 Customer Transfer
 Confidential Customer Coin Transferee #4461    [Address on File]     5/21/2023 Bitcoin                              0.0018372 Customer Transfer
 Confidential Customer Coin Transferee #4461    [Address on File]     5/18/2023 Bitcoin                              0.0018185 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/25/2023 Bitcoin                             0.00495268 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/31/2023 Bitcoin                             0.00360408 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/28/2023 Bitcoin                              0.0018342 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/28/2023 Bitcoin                             0.00146805 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/25/2023 Bitcoin                             0.00113742 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/22/2023 Bitcoin                             0.00111701 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/28/2023 Bitcoin                             0.00111248 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/16/2023 Bitcoin                             0.00110406 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/16/2023 Bitcoin                             0.00110153 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/28/2023 Bitcoin                             0.00109953 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/17/2023 Bitcoin                             0.00109306 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/23/2023 Bitcoin                             0.00109189 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/30/2023 Bitcoin                             0.00106767 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/26/2023 Bitcoin                             0.00101592 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/25/2023 Bitcoin                             0.00098632 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/24/2023 Bitcoin                             0.00098281 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/27/2023 Bitcoin                             0.00096842 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/29/2023 Bitcoin                             0.00096167 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/24/2023 Bitcoin                             0.00095167 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/19/2023 Bitcoin                             0.00092566 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/19/2023 Bitcoin                             0.00077803 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/18/2023 Bitcoin                             0.00077708 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/28/2023 Bitcoin                             0.00054712 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/31/2023 Bitcoin                             0.00043954 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/31/2023 Bitcoin                             0.00042947 Customer Transfer
 Confidential Customer Coin Transferee #4462    [Address on File]     5/29/2023 Bitcoin                             0.00042629 Customer Transfer
 Confidential Customer Coin Transferee #4463    [Address on File]     6/20/2023 Bitcoin                             0.00561391 Customer Transfer
 Confidential Customer Coin Transferee #4464    [Address on File]     5/22/2023 Bitcoin                             0.18057768 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4465    [Address on File]     6/19/2023 Bitcoin                             0.00368863 Customer Transfer
 Confidential Customer Coin Transferee #4466    [Address on File]     5/26/2023 Bitcoin                             0.00184032 Customer Transfer
 Confidential Customer Coin Transferee #4466    [Address on File]     5/19/2023 Bitcoin                             0.00180445 Customer Transfer
 Confidential Customer Coin Transferee #4467    [Address on File]     5/19/2023 Bitcoin                             0.03541607 Customer Transfer
 Confidential Customer Coin Transferee #4468    [Address on File]     6/20/2023 Bitcoin                             0.00004428 Customer Transfer
 Confidential Customer Coin Transferee #4469    [Address on File]     6/20/2023 Bitcoin                             0.00005809 Customer Transfer
 Confidential Customer Coin Transferee #4470    [Address on File]     5/22/2023 Bitcoin                             0.00088633 Customer Transfer
 Confidential Customer Coin Transferee #4471    [Address on File]     6/20/2023 Bitcoin                             0.00004802 Customer Transfer
 Confidential Customer Coin Transferee #4472    [Address on File]     6/20/2023 Bitcoin                             0.00003538 Customer Transfer
 Confidential Customer Coin Transferee #4473    [Address on File]     6/20/2023 Bitcoin                             0.00005822 Customer Transfer
 Confidential Customer Coin Transferee #4474    [Address on File]     5/26/2023 Bitcoin                             0.00075256 Customer Transfer
 Confidential Customer Coin Transferee #4474    [Address on File]     5/26/2023 Bitcoin                              0.0007519 Customer Transfer
 Confidential Customer Coin Transferee #4474    [Address on File]     5/28/2023 Bitcoin                             0.00020014 Customer Transfer
 Confidential Customer Coin Transferee #4474    [Address on File]     5/20/2023 Bitcoin                             0.00018784 Customer Transfer
 Confidential Customer Coin Transferee #4474    [Address on File]     5/19/2023 Bitcoin                             0.00012945 Customer Transfer
 Confidential Customer Coin Transferee #4475    [Address on File]     6/19/2023 Bitcoin                             0.00229216 Customer Transfer
 Confidential Customer Coin Transferee #4476    [Address on File]     5/31/2023 Bitcoin                             0.00760641 Customer Transfer
 Confidential Customer Coin Transferee #4477    [Address on File]     6/16/2023 Tether USD                                 104 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/29/2023 Bitcoin                             0.00417664 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/25/2023 Bitcoin                             0.00377032 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/31/2023 Bitcoin                             0.00312833 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/24/2023 Bitcoin                             0.00279534 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/19/2023 Bitcoin                             0.00210818 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/30/2023 Bitcoin                             0.00179376 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/17/2023 Bitcoin                              0.0017444 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/17/2023 Bitcoin                             0.00174153 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/20/2023 Bitcoin                             0.00166275 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/21/2023 Bitcoin                             0.00166174 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/30/2023 Bitcoin                             0.00157358 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/19/2023 Bitcoin                             0.00129563 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/22/2023 Bitcoin                             0.00080625 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/28/2023 Bitcoin                             0.00075182 Customer Transfer
 Confidential Customer Coin Transferee #4478    [Address on File]     5/23/2023 Bitcoin                             0.00054612 Customer Transfer
 Confidential Customer Coin Transferee #4479    [Address on File]     6/20/2023 Bitcoin                             0.00040404 Customer Transfer
 Confidential Customer Coin Transferee #4480    [Address on File]     6/20/2023 Bitcoin                             0.00040732 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date            Crypto Currency            Unit Count          or Transfer

 Confidential Customer Coin Transferee #4481    [Address on File]     6/21/2023 Bitcoin                                0.01346089 Customer Transfer
 Confidential Customer Coin Transferee #4482    [Address on File]     6/20/2023 Bitcoin                                0.00800241 Customer Transfer
 Confidential Customer Coin Transferee #4483    [Address on File]      6/5/2023 Litecoin                                      2.66 Customer Transfer
 Confidential Customer Coin Transferee #4484    [Address on File]     5/17/2023 Bitcoin                                0.01048891 Customer Transfer
 Confidential Customer Coin Transferee #4484    [Address on File]     5/25/2023 Bitcoin                                0.01023004 Customer Transfer
 Confidential Customer Coin Transferee #4484    [Address on File]     5/23/2023 Bitcoin                                0.00925563 Customer Transfer
 Confidential Customer Coin Transferee #4485    [Address on File]     6/17/2023 Bitcoin                                 0.0049911 Customer Transfer
 Confidential Customer Coin Transferee #4486    [Address on File]     5/31/2023 Bitcoin                                0.00155074 Customer Transfer
 Confidential Customer Coin Transferee #4487    [Address on File]     5/27/2023 Bitcoin                                0.01110638 Customer Transfer
 Confidential Customer Coin Transferee #4488    [Address on File]     5/22/2023 Bitcoin                                0.03169528 Customer Transfer
 Confidential Customer Coin Transferee #4489    [Address on File]     5/25/2023 Bitcoin                                0.00472425 Customer Transfer
 Confidential Customer Coin Transferee #4489    [Address on File]     5/19/2023 Bitcoin                                0.00462622 Customer Transfer
 Confidential Customer Coin Transferee #4489    [Address on File]     5/16/2023 Bitcoin                                0.00458136 Customer Transfer
 Confidential Customer Coin Transferee #4489    [Address on File]     5/30/2023 Bitcoin                                0.00448681 Customer Transfer
 Confidential Customer Coin Transferee #4490    [Address on File]     5/18/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #4491    [Address on File]     5/27/2023 Bitcoin                                0.00186287 Customer Transfer
 Confidential Customer Coin Transferee #4491    [Address on File]     5/19/2023 Bitcoin                                0.00185534 Customer Transfer
 Confidential Customer Coin Transferee #4491    [Address on File]     5/16/2023 Bitcoin                                0.00183722 Customer Transfer
 Confidential Customer Coin Transferee #4492    [Address on File]     5/16/2023 Bitcoin                                0.01765042 Customer Transfer
 Confidential Customer Coin Transferee #4493    [Address on File]     5/20/2023 Bitcoin                                0.00018766 Customer Transfer
 Confidential Customer Coin Transferee #4494    [Address on File]     6/20/2023 Bitcoin                                0.00011646 Customer Transfer
 Confidential Customer Coin Transferee #4495    [Address on File]     5/30/2023 Bitcoin                                0.00012528 Customer Transfer
 Confidential Customer Coin Transferee #4496    [Address on File]     5/30/2023 Bitcoin                                0.06189676 Customer Transfer
 Confidential Customer Coin Transferee #4496    [Address on File]     5/17/2023 Bitcoin                                0.05854771 Customer Transfer
 Confidential Customer Coin Transferee #4497    [Address on File]     6/19/2023 Bitcoin                                0.00052171 Customer Transfer
 Confidential Customer Coin Transferee #4498    [Address on File]     6/20/2023 Bitcoin                                 0.0000428 Customer Transfer
 Confidential Customer Coin Transferee #4499    [Address on File]     5/30/2023 Bitcoin                                0.00356702 Customer Transfer
 Confidential Customer Coin Transferee #4500    [Address on File]     6/20/2023 Bitcoin                                0.00153076 Customer Transfer
 Confidential Customer Coin Transferee #4501    [Address on File]     6/20/2023 Bitcoin                                0.00005833 Customer Transfer

 Confidential Customer Coin Transferee #4502    [Address on File]     5/22/2023 Ether                                  0.08917197 Customer Transfer

 Confidential Customer Coin Transferee #4502    [Address on File]     5/16/2023 Ether                                  0.03261887 Customer Transfer
 Confidential Customer Coin Transferee #4503    [Address on File]     6/12/2023 Recover Value USD                      52106.8593 Customer Transfer
 Confidential Customer Coin Transferee #4503    [Address on File]     6/15/2023 USD Coin                                6569.1755 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4504    [Address on File]     5/21/2023 Bitcoin                                0.025831 Customer Transfer
 Confidential Customer Coin Transferee #4505    [Address on File]     5/24/2023 Bitcoin                             0.00225154 Customer Transfer
 Confidential Customer Coin Transferee #4505    [Address on File]     5/18/2023 Bitcoin                             0.00138314 Customer Transfer
 Confidential Customer Coin Transferee #4505    [Address on File]     5/21/2023 Bitcoin                             0.00108498 Customer Transfer
 Confidential Customer Coin Transferee #4506    [Address on File]     5/19/2023 Bitcoin                             0.01174141 Customer Transfer
 Confidential Customer Coin Transferee #4507    [Address on File]     6/16/2023 Bitcoin                             0.01344891 Customer Transfer
 Confidential Customer Coin Transferee #4508    [Address on File]     5/22/2023 Bitcoin                             0.00542336 Customer Transfer
 Confidential Customer Coin Transferee #4509    [Address on File]     5/19/2023 Bitcoin                             0.05252135 Customer Transfer
 Confidential Customer Coin Transferee #4510    [Address on File]     6/20/2023 Bitcoin                             0.00036773 Customer Transfer
 Confidential Customer Coin Transferee #4511    [Address on File]     5/30/2023 Bitcoin                             0.00110441 Customer Transfer
 Confidential Customer Coin Transferee #4511    [Address on File]     6/12/2023 Bitcoin                             0.00077428 Customer Transfer
 Confidential Customer Coin Transferee #4511    [Address on File]     5/29/2023 Bitcoin                             0.00074351 Customer Transfer
 Confidential Customer Coin Transferee #4511    [Address on File]     5/22/2023 Bitcoin                             0.00055523 Customer Transfer
 Confidential Customer Coin Transferee #4511    [Address on File]      6/1/2023 Bitcoin                             0.00036658 Customer Transfer
 Confidential Customer Coin Transferee #4511    [Address on File]     6/19/2023 Bitcoin                             0.00016411 Customer Transfer
 Confidential Customer Coin Transferee #4512    [Address on File]     5/20/2023 Bitcoin                             0.01044874 Customer Transfer
 Confidential Customer Coin Transferee #4513    [Address on File]     5/16/2023 Bitcoin                             0.03677663 Customer Transfer
 Confidential Customer Coin Transferee #4513    [Address on File]     5/29/2023 Bitcoin                             0.00357786 Customer Transfer
 Confidential Customer Coin Transferee #4514    [Address on File]     5/29/2023 Bitcoin                             0.01070614 Customer Transfer
 Confidential Customer Coin Transferee #4515    [Address on File]     6/20/2023 Bitcoin                             0.00059081 Customer Transfer
 Confidential Customer Coin Transferee #4516    [Address on File]     5/22/2023 Bitcoin                             0.01488819 Customer Transfer
 Confidential Customer Coin Transferee #4516    [Address on File]     5/29/2023 Bitcoin                              0.0021367 Customer Transfer
 Confidential Customer Coin Transferee #4517    [Address on File]     5/24/2023 Bitcoin                             0.74577722 Customer Transfer
 Confidential Customer Coin Transferee #4517    [Address on File]     5/17/2023 Bitcoin                             0.36462478 Customer Transfer
 Confidential Customer Coin Transferee #4518    [Address on File]     6/19/2023 Bitcoin                             0.00075629 Customer Transfer

 Confidential Customer Coin Transferee #4519    [Address on File]     5/19/2023 Bitcoin                                1.19050038 Customer Transfer

 Confidential Customer Coin Transferee #4519    [Address on File]     5/26/2023 Bitcoin                                0.20022078 Customer Transfer
 Confidential Customer Coin Transferee #4520    [Address on File]     5/24/2023 Bitcoin                                0.05044867 Customer Transfer
 Confidential Customer Coin Transferee #4521    [Address on File]     5/27/2023 Bitcoin                                0.00459892 Customer Transfer
 Confidential Customer Coin Transferee #4521    [Address on File]     5/19/2023 Bitcoin                                0.00451107 Customer Transfer
 Confidential Customer Coin Transferee #4522    [Address on File]     6/19/2023 Bitcoin                                0.00663186 Customer Transfer
 Confidential Customer Coin Transferee #4523    [Address on File]     6/19/2023 Bitcoin                                0.00036143 Customer Transfer
 Confidential Customer Coin Transferee #4524    [Address on File]     5/19/2023 Bitcoin                                0.00181198 Customer Transfer
 Confidential Customer Coin Transferee #4524    [Address on File]     5/17/2023 Bitcoin                                0.00121476 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4524    [Address on File]     5/22/2023 Bitcoin                             0.00081399 Customer Transfer
 Confidential Customer Coin Transferee #4525    [Address on File]     5/20/2023 Bitcoin                             0.00277577 Customer Transfer
 Confidential Customer Coin Transferee #4526    [Address on File]     5/31/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #4526    [Address on File]     5/31/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #4526    [Address on File]     5/31/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #4526    [Address on File]     5/19/2023 Bitcoin                                    0.05 Customer Transfer
 Confidential Customer Coin Transferee #4526    [Address on File]     5/24/2023 Bitcoin                                    0.05 Customer Transfer
 Confidential Customer Coin Transferee #4526    [Address on File]     5/28/2023 Bitcoin                                    0.05 Customer Transfer
 Confidential Customer Coin Transferee #4527    [Address on File]     5/26/2023 Bitcoin                             0.02539746 Customer Transfer
 Confidential Customer Coin Transferee #4528    [Address on File]     5/18/2023 Bitcoin                             0.02770004 Customer Transfer
 Confidential Customer Coin Transferee #4529    [Address on File]     6/19/2023 Bitcoin                             0.00005812 Customer Transfer
 Confidential Customer Coin Transferee #4530    [Address on File]     6/20/2023 Bitcoin                             0.00010386 Customer Transfer
 Confidential Customer Coin Transferee #4531    [Address on File]     6/20/2023 Bitcoin                             0.00135927 Customer Transfer
 Confidential Customer Coin Transferee #4532    [Address on File]     5/21/2023 Bitcoin                             0.00164072 Customer Transfer
 Confidential Customer Coin Transferee #4533    [Address on File]     5/23/2023 Bitcoin                             0.00743503 Customer Transfer
 Confidential Customer Coin Transferee #4533    [Address on File]     5/19/2023 Bitcoin                              0.0033812 Customer Transfer
 Confidential Customer Coin Transferee #4534    [Address on File]     5/22/2023 Bitcoin                             0.00182296 Customer Transfer
 Confidential Customer Coin Transferee #4535    [Address on File]     5/16/2023 Tether USD                            2960.041 Customer Transfer

 Confidential Customer Coin Transferee #4536    [Address on File]      6/6/2023 Tether USD                              4946.6548 Customer Transfer
 Confidential Customer Coin Transferee #4537    [Address on File]     5/28/2023 Bitcoin                                    0.00075 Customer Transfer
 Confidential Customer Coin Transferee #4537    [Address on File]     5/22/2023 Bitcoin                                0.00052119 Customer Transfer
 Confidential Customer Coin Transferee #4537    [Address on File]     5/20/2023 Bitcoin                                     0.0005 Customer Transfer
 Confidential Customer Coin Transferee #4537    [Address on File]     5/20/2023 Bitcoin                                     0.0005 Customer Transfer
 Confidential Customer Coin Transferee #4537    [Address on File]     5/26/2023 Bitcoin                                    0.00042 Customer Transfer
 Confidential Customer Coin Transferee #4537    [Address on File]     5/27/2023 Bitcoin                                    0.00042 Customer Transfer
 Confidential Customer Coin Transferee #4537    [Address on File]     5/21/2023 Bitcoin                                    0.00041 Customer Transfer
 Confidential Customer Coin Transferee #4537    [Address on File]     5/20/2023 Bitcoin                                     0.0004 Customer Transfer
 Confidential Customer Coin Transferee #4537    [Address on File]     5/28/2023 Bitcoin                                     0.0004 Customer Transfer
 Confidential Customer Coin Transferee #4537    [Address on File]     5/29/2023 Bitcoin                                0.00014398 Customer Transfer
 Confidential Customer Coin Transferee #4538    [Address on File]     6/12/2023 Bitcoin                                0.02908965 Customer Transfer
 Confidential Customer Coin Transferee #4539    [Address on File]     5/25/2023 Bitcoin                                       0.048 Customer Transfer
 Confidential Customer Coin Transferee #4540    [Address on File]     6/20/2023 Bitcoin                                0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #4541    [Address on File]     6/19/2023 Bitcoin                                0.00056979 Customer Transfer
 Confidential Customer Coin Transferee #4542    [Address on File]     5/22/2023 Bitcoin                                0.00180932 Customer Transfer
 Confidential Customer Coin Transferee #4543    [Address on File]     5/20/2023 Bitcoin                                0.08566581 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4544    [Address on File]     5/25/2023 Bitcoin                             0.36833208 Customer Transfer
 Confidential Customer Coin Transferee #4545    [Address on File]     5/20/2023 Bitcoin                              0.0179262 Customer Transfer
 Confidential Customer Coin Transferee #4546    [Address on File]     6/19/2023 Bitcoin                             0.00006014 Customer Transfer
 Confidential Customer Coin Transferee #4547    [Address on File]     5/27/2023 Bitcoin                             0.00745509 Customer Transfer
 Confidential Customer Coin Transferee #4548    [Address on File]     6/16/2023 USD Coin                            115.022488 Customer Transfer
 Confidential Customer Coin Transferee #4549    [Address on File]     5/27/2023 Bitcoin                             0.02553328 Customer Transfer
 Confidential Customer Coin Transferee #4549    [Address on File]     5/28/2023 Bitcoin                             0.00731954 Customer Transfer
 Confidential Customer Coin Transferee #4550    [Address on File]     6/19/2023 Bitcoin                             0.00728786 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/20/2023 Bitcoin                             0.00088797 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/31/2023 Bitcoin                             0.00086141 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/24/2023 Bitcoin                             0.00071982 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/20/2023 Bitcoin                             0.00071805 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/31/2023 Bitcoin                             0.00069682 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/31/2023 Bitcoin                             0.00065857 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/25/2023 Bitcoin                             0.00061587 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/27/2023 Bitcoin                              0.0005387 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/20/2023 Bitcoin                             0.00053658 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/20/2023 Bitcoin                             0.00051119 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/19/2023 Bitcoin                             0.00050074 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/28/2023 Bitcoin                             0.00048141 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/19/2023 Bitcoin                             0.00039172 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/21/2023 Bitcoin                             0.00038233 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/18/2023 Bitcoin                              0.0003508 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/26/2023 Bitcoin                             0.00032404 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/24/2023 Bitcoin                             0.00029749 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/20/2023 Bitcoin                             0.00028473 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/19/2023 Bitcoin                             0.00027794 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/30/2023 Bitcoin                             0.00020544 Customer Transfer
 Confidential Customer Coin Transferee #4551    [Address on File]     5/27/2023 Bitcoin                             0.00007072 Customer Transfer
 Confidential Customer Coin Transferee #4552    [Address on File]     5/22/2023 Bitcoin                             0.00296449 Customer Transfer
 Confidential Customer Coin Transferee #4552    [Address on File]     5/18/2023 Bitcoin                             0.00199689 Customer Transfer
 Confidential Customer Coin Transferee #4552    [Address on File]     5/24/2023 Bitcoin                             0.00148865 Customer Transfer
 Confidential Customer Coin Transferee #4552    [Address on File]     5/23/2023 Bitcoin                             0.00091023 Customer Transfer
 Confidential Customer Coin Transferee #4552    [Address on File]     5/31/2023 Bitcoin                              0.0007218 Customer Transfer
 Confidential Customer Coin Transferee #4552    [Address on File]     5/30/2023 Bitcoin                              0.0007182 Customer Transfer
 Confidential Customer Coin Transferee #4553    [Address on File]     5/17/2023 Bitcoin                             0.00730432 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4553    [Address on File]     5/17/2023 Bitcoin                             0.00729523 Customer Transfer
 Confidential Customer Coin Transferee #4553    [Address on File]     5/18/2023 Bitcoin                             0.00717234 Customer Transfer
 Confidential Customer Coin Transferee #4553    [Address on File]     5/17/2023 Bitcoin                                  0.0038 Customer Transfer
 Confidential Customer Coin Transferee #4553    [Address on File]     5/19/2023 Bitcoin                             0.00370414 Customer Transfer
 Confidential Customer Coin Transferee #4553    [Address on File]     5/20/2023 Bitcoin                             0.00369909 Customer Transfer
 Confidential Customer Coin Transferee #4553    [Address on File]     5/27/2023 Bitcoin                             0.00350385 Customer Transfer
 Confidential Customer Coin Transferee #4553    [Address on File]     5/17/2023 Bitcoin                             0.00350384 Customer Transfer
 Confidential Customer Coin Transferee #4553    [Address on File]     5/25/2023 Bitcoin                              0.0004172 Customer Transfer
 Confidential Customer Coin Transferee #4554    [Address on File]     5/17/2023 Bitcoin                             0.06560959 Customer Transfer
 Confidential Customer Coin Transferee #4554    [Address on File]     5/26/2023 Bitcoin                             0.02043856 Customer Transfer

 Confidential Customer Coin Transferee #4555    [Address on File]     5/30/2023 Bitcoin                                0.03252461 Customer Transfer

 Confidential Customer Coin Transferee #4555    [Address on File]     5/30/2023 Bitcoin                                0.00358058 Customer Transfer
 Confidential Customer Coin Transferee #4556    [Address on File]     5/19/2023 Bitcoin                                0.00014809 Customer Transfer
 Confidential Customer Coin Transferee #4557    [Address on File]     5/16/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #4557    [Address on File]     5/24/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #4557    [Address on File]     5/26/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #4557    [Address on File]     5/28/2023 Bitcoin                                       0.15 Customer Transfer
 Confidential Customer Coin Transferee #4557    [Address on File]     5/31/2023 Bitcoin                                      0.015 Customer Transfer
 Confidential Customer Coin Transferee #4558    [Address on File]     6/20/2023 Bitcoin                                0.00179516 Customer Transfer
 Confidential Customer Coin Transferee #4559    [Address on File]     6/20/2023 Bitcoin                                0.01170532 Customer Transfer
 Confidential Customer Coin Transferee #4560    [Address on File]     6/19/2023 Bitcoin                                0.00589067 Customer Transfer

 Confidential Customer Coin Transferee #4561    [Address on File]      6/7/2023 Recover Value USD                        217.6242 Customer Transfer

 Confidential Customer Coin Transferee #4561    [Address on File]      6/7/2023 USD Coin                                  27.4361 Customer Transfer
 Confidential Customer Coin Transferee #4562    [Address on File]     6/20/2023 Bitcoin                                 0.0040264 Customer Transfer
 Confidential Customer Coin Transferee #4563    [Address on File]      6/8/2023 Bitcoin                                0.00600608 Customer Transfer
 Confidential Customer Coin Transferee #4563    [Address on File]     6/17/2023 Bitcoin                                0.00307975 Customer Transfer
 Confidential Customer Coin Transferee #4564    [Address on File]     6/20/2023 Bitcoin                                0.00231805 Customer Transfer
 Confidential Customer Coin Transferee #4565    [Address on File]     6/20/2023 Recover Value USD                       4760.3527 Customer Transfer
 Confidential Customer Coin Transferee #4566    [Address on File]     5/27/2023 Bitcoin                                0.01715282 Customer Transfer
 Confidential Customer Coin Transferee #4566    [Address on File]     5/27/2023 Bitcoin                                0.01416262 Customer Transfer
 Confidential Customer Coin Transferee #4566    [Address on File]     5/27/2023 Bitcoin                                 0.0141473 Customer Transfer
 Confidential Customer Coin Transferee #4566    [Address on File]     5/27/2023 Bitcoin                                0.01371461 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4567    [Address on File]     6/20/2023 USDC Avalanche)                     498.514752 Customer Transfer
 Confidential Customer Coin Transferee #4567    [Address on File]     6/17/2023 USDC Avalanche)                     498.405421 Customer Transfer
 Confidential Customer Coin Transferee #4568    [Address on File]     5/25/2023 Bitcoin                                    0.05 Customer Transfer
 Confidential Customer Coin Transferee #4569    [Address on File]     6/19/2023 Bitcoin                             0.00047004 Customer Transfer
 Confidential Customer Coin Transferee #4570    [Address on File]     5/22/2023 Bitcoin                             0.01058191 Customer Transfer
 Confidential Customer Coin Transferee #4571    [Address on File]     6/20/2023 Bitcoin                             0.00039648 Customer Transfer
 Confidential Customer Coin Transferee #4572    [Address on File]     6/20/2023 Bitcoin                             0.00005613 Customer Transfer
 Confidential Customer Coin Transferee #4573    [Address on File]     6/20/2023 Bitcoin                             0.00005814 Customer Transfer
 Confidential Customer Coin Transferee #4574    [Address on File]     6/17/2023 USD Coin                             50.657763 Customer Transfer
 Confidential Customer Coin Transferee #4575    [Address on File]     6/20/2023 Bitcoin                              0.0041672 Customer Transfer
 Confidential Customer Coin Transferee #4576    [Address on File]     5/20/2023 Bitcoin                             0.00909819 Customer Transfer
 Confidential Customer Coin Transferee #4576    [Address on File]     5/30/2023 Bitcoin                              0.0034787 Customer Transfer
 Confidential Customer Coin Transferee #4577    [Address on File]     6/19/2023 Bitcoin                             0.00330636 Customer Transfer
 Confidential Customer Coin Transferee #4578    [Address on File]     6/19/2023 Bitcoin                             0.00578434 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/27/2023 Bitcoin                             0.00372305 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/24/2023 Bitcoin                             0.00371954 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/27/2023 Bitcoin                             0.00371571 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/21/2023 Bitcoin                             0.00369785 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/16/2023 Bitcoin                             0.00367476 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/27/2023 Bitcoin                             0.00364819 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/24/2023 Bitcoin                             0.00359259 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/17/2023 Bitcoin                             0.00358434 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/23/2023 Bitcoin                             0.00357684 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/17/2023 Bitcoin                             0.00357627 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/20/2023 Bitcoin                             0.00355831 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/19/2023 Bitcoin                             0.00355528 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/19/2023 Bitcoin                             0.00338638 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/24/2023 Bitcoin                             0.00335868 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/25/2023 Bitcoin                             0.00333737 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]      6/1/2023 Bitcoin                              0.0032554 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]      6/1/2023 Bitcoin                             0.00309483 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/21/2023 Bitcoin                             0.00300999 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/31/2023 Bitcoin                             0.00300707 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/27/2023 Bitcoin                             0.00297541 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/31/2023 Bitcoin                             0.00293746 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/30/2023 Bitcoin                              0.0029345 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/31/2023 Bitcoin                             0.00292587 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/29/2023 Bitcoin                             0.00285147 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/20/2023 Bitcoin                              0.0028495 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/26/2023 Bitcoin                             0.00281925 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/21/2023 Bitcoin                             0.00273095 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]      6/2/2023 Bitcoin                             0.00258451 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/28/2023 Bitcoin                             0.00231956 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/26/2023 Bitcoin                             0.00229885 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/22/2023 Bitcoin                             0.00228216 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/31/2023 Bitcoin                             0.00221648 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/31/2023 Bitcoin                             0.00220492 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/28/2023 Bitcoin                             0.00219495 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/24/2023 Bitcoin                             0.00207505 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/19/2023 Bitcoin                             0.00197085 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/16/2023 Bitcoin                             0.00188426 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/21/2023 Bitcoin                             0.00185664 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/25/2023 Bitcoin                             0.00183792 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/18/2023 Bitcoin                             0.00182522 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/22/2023 Bitcoin                             0.00181192 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/28/2023 Bitcoin                              0.0018082 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/30/2023 Bitcoin                             0.00179512 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/30/2023 Bitcoin                             0.00178368 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/30/2023 Bitcoin                             0.00175178 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/22/2023 Bitcoin                             0.00173865 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/25/2023 Bitcoin                             0.00172517 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/30/2023 Bitcoin                              0.0017167 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/21/2023 Bitcoin                             0.00170199 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/17/2023 Bitcoin                             0.00145718 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/16/2023 Bitcoin                             0.00144324 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/23/2023 Bitcoin                              0.0013977 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/19/2023 Bitcoin                              0.0011085 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/16/2023 Bitcoin                             0.00106793 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/29/2023 Bitcoin                              0.0007867 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/28/2023 Bitcoin                                0.000734 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/16/2023 Bitcoin                             0.00037106 Customer Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/20/2023 Bitcoin                             0.00029925 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4579    [Address on File]     5/19/2023 Bitcoin                             0.00020321 Customer Transfer
 Confidential Customer Coin Transferee #4580    [Address on File]     6/20/2023 Bitcoin                             0.00237025 Customer Transfer
 Confidential Customer Coin Transferee #4581    [Address on File]     5/30/2023 Bitcoin                             0.00107568 Customer Transfer
 Confidential Customer Coin Transferee #4581    [Address on File]     5/30/2023 Bitcoin                             0.00064533 Customer Transfer
 Confidential Customer Coin Transferee #4581    [Address on File]     5/18/2023 Bitcoin                                 0.00035 Customer Transfer
 Confidential Customer Coin Transferee #4581    [Address on File]     5/18/2023 Bitcoin                             0.00034165 Customer Transfer
 Confidential Customer Coin Transferee #4581    [Address on File]     5/28/2023 Bitcoin                              0.0003183 Customer Transfer

 Confidential Customer Coin Transferee #4582    [Address on File]     6/14/2023 Bitcoin                                     49.99 Customer Transfer

 Confidential Customer Coin Transferee #4583    [Address on File]      6/9/2023 Tether USD                                 500600 Customer Transfer

 Confidential Customer Coin Transferee #4583    [Address on File]     6/15/2023 Tether USD                                 500591 Customer Transfer

 Confidential Customer Coin Transferee #4583    [Address on File]     6/15/2023 Tether USD                                    111 Customer Transfer

 Confidential Customer Coin Transferee #4583    [Address on File]     6/14/2023 Bitcoin                                      0.01 Customer Transfer

 Confidential Customer Coin Transferee #4584    [Address on File]      6/8/2023 USD Coin                                   224001 Customer Transfer

 Confidential Customer Coin Transferee #4584    [Address on File]      6/6/2023 USD Coin                                   128001 Customer Transfer

 Confidential Customer Coin Transferee #4584    [Address on File]     5/26/2023 Tether USD                                 122401 Customer Transfer

 Confidential Customer Coin Transferee #4584    [Address on File]     5/26/2023 USD Coin                                   115501 Customer Transfer

 Confidential Customer Coin Transferee #4584    [Address on File]      6/8/2023 USD Coin                                    86001 Customer Transfer

 Confidential Customer Coin Transferee #4584    [Address on File]      6/8/2023 Bitcoin                                        16 Customer Transfer

 Confidential Customer Coin Transferee #4584    [Address on File]      6/8/2023 Ether                                        11.1 Customer Transfer

 Confidential Customer Coin Transferee #4584    [Address on File]      6/8/2023 Bitcoin                                      10.2 Customer Transfer

 Confidential Customer Coin Transferee #4584    [Address on File]     6/21/2023 Bitcoin                                      0.005 Customer Transfer
 Confidential Customer Coin Transferee #4585    [Address on File]     5/29/2023 Bitcoin                                0.03680889 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4585    [Address on File]     6/19/2023 Bitcoin                             0.01515215 Customer Transfer
 Confidential Customer Coin Transferee #4586    [Address on File]     6/20/2023 Bitcoin                             0.03052961 Customer Transfer
 Confidential Customer Coin Transferee #4587    [Address on File]     5/27/2023 Bitcoin                             0.00611042 Customer Transfer
 Confidential Customer Coin Transferee #4588    [Address on File]     5/25/2023 Bitcoin                                    0.052 Customer Transfer
 Confidential Customer Coin Transferee #4588    [Address on File]     5/25/2023 Bitcoin                             0.01721761 Customer Transfer
 Confidential Customer Coin Transferee #4589    [Address on File]     5/23/2023 Bitcoin                             0.02088829 Customer Transfer
 Confidential Customer Coin Transferee #4589    [Address on File]     5/23/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/17/2023 Bitcoin                             0.00702744 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/16/2023 Bitcoin                              0.0055665 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/25/2023 Bitcoin                                0.003778 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/24/2023 Bitcoin                             0.00375705 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/19/2023 Bitcoin                                0.003716 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/26/2023 Bitcoin                             0.00369765 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/23/2023 Bitcoin                                0.003677 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/30/2023 Bitcoin                             0.00358237 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/20/2023 Bitcoin                             0.00329033 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/29/2023 Bitcoin                             0.00323363 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/22/2023 Bitcoin                              0.0025737 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/18/2023 Bitcoin                             0.00205645 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/26/2023 Bitcoin                              0.0020515 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/21/2023 Bitcoin                              0.0018685 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/28/2023 Bitcoin                              0.0017785 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/16/2023 Bitcoin                              0.0014391 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/27/2023 Bitcoin                              0.0011211 Customer Transfer
 Confidential Customer Coin Transferee #4590    [Address on File]     5/20/2023 Bitcoin                             0.00107996 Customer Transfer
 Confidential Customer Coin Transferee #4591    [Address on File]     5/23/2023 Bitcoin                              0.0003738 Customer Transfer
 Confidential Customer Coin Transferee #4592    [Address on File]     5/26/2023 Bitcoin                             0.01866158 Customer Transfer
 Confidential Customer Coin Transferee #4593    [Address on File]     5/22/2023 Bitcoin                             0.03554255 Customer Transfer
 Confidential Customer Coin Transferee #4593    [Address on File]     5/19/2023 Bitcoin                             0.00730777 Customer Transfer
 Confidential Customer Coin Transferee #4594    [Address on File]     5/18/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #4594    [Address on File]     5/20/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #4595    [Address on File]     5/28/2023 Bitcoin                             0.00090125 Customer Transfer
 Confidential Customer Coin Transferee #4596    [Address on File]     5/23/2023 Bitcoin                              0.0068729 Customer Transfer
 Confidential Customer Coin Transferee #4596    [Address on File]     5/30/2023 Bitcoin                             0.00375222 Customer Transfer
 Confidential Customer Coin Transferee #4597    [Address on File]     5/19/2023 Bitcoin                                   0.0055 Customer Transfer
 Confidential Customer Coin Transferee #4598    [Address on File]     5/20/2023 Bitcoin                             0.05551928 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4598    [Address on File]     5/19/2023 Bitcoin                             0.01887493 Customer Transfer
 Confidential Customer Coin Transferee #4599    [Address on File]     5/16/2023 Bitcoin                                0.008205 Customer Transfer
 Confidential Customer Coin Transferee #4600    [Address on File]     5/19/2023 Bitcoin                             0.01107958 Customer Transfer
 Confidential Customer Coin Transferee #4601    [Address on File]     5/18/2023 Bitcoin                              0.0107994 Customer Transfer
 Confidential Customer Coin Transferee #4601    [Address on File]     5/24/2023 Bitcoin                             0.01068784 Customer Transfer
 Confidential Customer Coin Transferee #4601    [Address on File]     5/29/2023 Bitcoin                             0.00932362 Customer Transfer

 Confidential Customer Coin Transferee #4602    [Address on File]     5/27/2023 Bitcoin                                0.00938715 Customer Transfer

 Confidential Customer Coin Transferee #4602    [Address on File]     5/19/2023 Bitcoin                                0.00232093 Customer Transfer

 Confidential Customer Coin Transferee #4602    [Address on File]     5/17/2023 Bitcoin                                0.00208136 Customer Transfer
 Confidential Customer Coin Transferee #4603    [Address on File]     5/22/2023 Bitcoin                                0.00188792 Customer Transfer
 Confidential Customer Coin Transferee #4604    [Address on File]     5/23/2023 Bitcoin                                0.02192669 Customer Transfer
 Confidential Customer Coin Transferee #4604    [Address on File]     5/22/2023 Bitcoin                                0.01851019 Customer Transfer
 Confidential Customer Coin Transferee #4604    [Address on File]     5/18/2023 Bitcoin                                0.01062488 Customer Transfer
 Confidential Customer Coin Transferee #4604    [Address on File]     5/24/2023 Bitcoin                                0.00946544 Customer Transfer
 Confidential Customer Coin Transferee #4604    [Address on File]     5/25/2023 Bitcoin                                0.00945486 Customer Transfer
 Confidential Customer Coin Transferee #4604    [Address on File]     5/18/2023 Bitcoin                                0.00920885 Customer Transfer
 Confidential Customer Coin Transferee #4604    [Address on File]     5/18/2023 Bitcoin                                0.00601359 Customer Transfer
 Confidential Customer Coin Transferee #4605    [Address on File]     5/26/2023 Bitcoin                                0.00790367 Customer Transfer
 Confidential Customer Coin Transferee #4605    [Address on File]     5/26/2023 Bitcoin                                0.00749549 Customer Transfer
 Confidential Customer Coin Transferee #4605    [Address on File]     5/29/2023 Bitcoin                                0.00566558 Customer Transfer
 Confidential Customer Coin Transferee #4605    [Address on File]     5/29/2023 Bitcoin                                0.00233381 Customer Transfer
 Confidential Customer Coin Transferee #4606    [Address on File]     5/18/2023 Bitcoin                                   0.004973 Customer Transfer
 Confidential Customer Coin Transferee #4607    [Address on File]     6/20/2023 Bitcoin                                0.00035116 Customer Transfer
 Confidential Customer Coin Transferee #4608    [Address on File]     6/20/2023 Bitcoin                                   0.001166 Customer Transfer
 Confidential Customer Coin Transferee #4609    [Address on File]     6/20/2023 Bitcoin                                0.00087998 Customer Transfer
 Confidential Customer Coin Transferee #4610    [Address on File]     5/19/2023 Bitcoin                                0.01054843 Customer Transfer
 Confidential Customer Coin Transferee #4611    [Address on File]     5/26/2023 Bitcoin                                0.01112232 Customer Transfer
 Confidential Customer Coin Transferee #4611    [Address on File]     5/19/2023 Bitcoin                                0.01033426 Customer Transfer
 Confidential Customer Coin Transferee #4612    [Address on File]     6/17/2023 Bitcoin                                0.01933363 Customer Transfer
 Confidential Customer Coin Transferee #4612    [Address on File]     6/12/2023 Bitcoin                                0.01928818 Customer Transfer
 Confidential Customer Coin Transferee #4613    [Address on File]     5/16/2023 Bitcoin                                 2.8153996 Customer Transfer
 Confidential Customer Coin Transferee #4614    [Address on File]     6/19/2023 Bitcoin                                0.00280413 Customer Transfer
 Confidential Customer Coin Transferee #4615    [Address on File]     5/23/2023 Bitcoin                                0.00184962 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4615    [Address on File]     5/16/2023 Bitcoin                              0.0016874 Customer Transfer
 Confidential Customer Coin Transferee #4616    [Address on File]     6/20/2023 Bitcoin                             0.00041398 Customer Transfer
 Confidential Customer Coin Transferee #4617    [Address on File]     5/27/2023 Bitcoin                             0.02564787 Customer Transfer
 Confidential Customer Coin Transferee #4618    [Address on File]     6/20/2023 Bitcoin                              0.0011632 Customer Transfer
 Confidential Customer Coin Transferee #4619    [Address on File]     5/17/2023 Bitcoin                             0.25611859 Customer Transfer
 Confidential Customer Coin Transferee #4619    [Address on File]     5/17/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #4620    [Address on File]     5/31/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #4621    [Address on File]     5/18/2023 Bitcoin                             0.01406925 Customer Transfer
 Confidential Customer Coin Transferee #4622    [Address on File]     6/19/2023 Bitcoin                             0.00273515 Customer Transfer
 Confidential Customer Coin Transferee #4623    [Address on File]     5/23/2023 Bitcoin                             0.01219938 Customer Transfer
 Confidential Customer Coin Transferee #4624    [Address on File]     6/20/2023 Bitcoin                             0.00004322 Customer Transfer
 Confidential Customer Coin Transferee #4625    [Address on File]     5/20/2023 Bitcoin                             0.00409717 Customer Transfer
 Confidential Customer Coin Transferee #4625    [Address on File]     5/20/2023 Bitcoin                                0.002929 Customer Transfer
 Confidential Customer Coin Transferee #4625    [Address on File]     5/20/2023 Bitcoin                             0.00108775 Customer Transfer
 Confidential Customer Coin Transferee #4626    [Address on File]     5/21/2023 Bitcoin                             0.01840038 Customer Transfer
 Confidential Customer Coin Transferee #4627    [Address on File]     6/19/2023 Bitcoin                             0.00057954 Customer Transfer
 Confidential Customer Coin Transferee #4628    [Address on File]      6/8/2023 Bitcoin                             0.03857346 Customer Transfer
 Confidential Customer Coin Transferee #4629    [Address on File]     5/17/2023 Bitcoin                             0.23879264 Customer Transfer
 Confidential Customer Coin Transferee #4630    [Address on File]     5/20/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #4630    [Address on File]     5/20/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #4630    [Address on File]     5/20/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #4631    [Address on File]     5/19/2023 Bitcoin                             0.06211279 Customer Transfer
 Confidential Customer Coin Transferee #4631    [Address on File]     5/26/2023 Bitcoin                             0.05136717 Customer Transfer
 Confidential Customer Coin Transferee #4632    [Address on File]     5/28/2023 Bitcoin                             0.00535225 Customer Transfer
 Confidential Customer Coin Transferee #4633    [Address on File]     6/20/2023 Bitcoin                             0.00026563 Customer Transfer
 Confidential Customer Coin Transferee #4634    [Address on File]     5/26/2023 Bitcoin                             0.00189523 Customer Transfer
 Confidential Customer Coin Transferee #4634    [Address on File]     5/19/2023 Bitcoin                             0.00168417 Customer Transfer
 Confidential Customer Coin Transferee #4635    [Address on File]     6/19/2023 Bitcoin                             0.00106167 Customer Transfer
 Confidential Customer Coin Transferee #4636    [Address on File]     6/20/2023 Bitcoin                             0.00053119 Customer Transfer
 Confidential Customer Coin Transferee #4637    [Address on File]     5/20/2023 Bitcoin                             0.00018366 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     6/17/2023 Bitcoin                             0.00076615 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     6/15/2023 Bitcoin                             0.00056062 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     6/15/2023 Bitcoin                             0.00039749 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     6/13/2023 Bitcoin                             0.00029072 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]      6/7/2023 Bitcoin                             0.00025514 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/29/2023 Bitcoin                             0.00017985 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]      6/6/2023 Bitcoin                             0.00014482 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]      6/7/2023 Bitcoin                             0.00012572 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     6/14/2023 Bitcoin                             0.00011527 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/24/2023 Bitcoin                             0.00011195 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/19/2023 Bitcoin                             0.00011126 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     6/14/2023 Bitcoin                             0.00010024 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/26/2023 Bitcoin                             0.00009912 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     6/12/2023 Bitcoin                             0.00008853 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     6/16/2023 Bitcoin                             0.00008396 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/29/2023 Bitcoin                             0.00007616 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/24/2023 Bitcoin                             0.00007567 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/19/2023 Bitcoin                             0.00007426 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/22/2023 Bitcoin                             0.00007419 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]      6/2/2023 Bitcoin                             0.00007375 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]      6/5/2023 Bitcoin                             0.00007339 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]      6/2/2023 Bitcoin                             0.00007036 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]      6/9/2023 Bitcoin                             0.00006622 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/30/2023 Bitcoin                             0.00006568 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     6/13/2023 Bitcoin                             0.00005678 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/25/2023 Bitcoin                             0.00003786 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/26/2023 Bitcoin                             0.00003772 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/17/2023 Bitcoin                             0.00003739 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/22/2023 Bitcoin                             0.00003723 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]      6/1/2023 Bitcoin                             0.00003718 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/16/2023 Bitcoin                              0.0000369 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/31/2023 Bitcoin                             0.00003687 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/23/2023 Bitcoin                             0.00003652 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/18/2023 Bitcoin                             0.00003647 Customer Transfer
 Confidential Customer Coin Transferee #4638    [Address on File]     5/30/2023 Bitcoin                             0.00003567 Customer Transfer
 Confidential Customer Coin Transferee #4639    [Address on File]     5/21/2023 Bitcoin                             0.00521359 Customer Transfer
 Confidential Customer Coin Transferee #4640    [Address on File]     5/23/2023 Bitcoin                             0.00055797 Customer Transfer
 Confidential Customer Coin Transferee #4641    [Address on File]     5/25/2023 Basic Attention Token               6.75357505 Customer Transfer
 Confidential Customer Coin Transferee #4641    [Address on File]     5/25/2023 Cardano                               6.020558 Customer Transfer
 Confidential Customer Coin Transferee #4641    [Address on File]     5/25/2023 Polygon Matic Token ERC20)          4.67806889 Customer Transfer
 Confidential Customer Coin Transferee #4641    [Address on File]     5/25/2023 Storj                               4.60436265 Customer Transfer
 Confidential Customer Coin Transferee #4641    [Address on File]     5/25/2023 LINK                                0.36247459 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date          Crypto Currency              Unit Count       or Transfer
 Confidential Customer Coin Transferee #4641    [Address on File]     5/25/2023 Compound                            0.03770571 Customer Transfer
 Confidential Customer Coin Transferee #4642    [Address on File]     6/19/2023 Polygon Matic Token ERC20)         20.77719843 Customer Transfer

 Confidential Customer Coin Transferee #4643    [Address on File]     6/14/2023 Tether USD                                    600 Customer Transfer
 Confidential Customer Coin Transferee #4644    [Address on File]     5/29/2023 Tether USD                                  50000 Customer Transfer
 Confidential Customer Coin Transferee #4645    [Address on File]     6/20/2023 Bitcoin                                0.04770937 Customer Transfer
 Confidential Customer Coin Transferee #4646    [Address on File]     5/31/2023 Bitcoin                                0.00579595 Customer Transfer
 Confidential Customer Coin Transferee #4647    [Address on File]     5/25/2023 Bitcoin                                0.00278123 Customer Transfer
 Confidential Customer Coin Transferee #4647    [Address on File]     5/18/2023 Bitcoin                                 0.0025921 Customer Transfer
 Confidential Customer Coin Transferee #4648    [Address on File]     5/22/2023 Bitcoin                                0.00074666 Customer Transfer
 Confidential Customer Coin Transferee #4648    [Address on File]     5/17/2023 Bitcoin                                0.00074066 Customer Transfer
 Confidential Customer Coin Transferee #4648    [Address on File]     5/17/2023 Bitcoin                                 0.0007369 Customer Transfer
 Confidential Customer Coin Transferee #4648    [Address on File]     5/16/2023 Bitcoin                                0.00073215 Customer Transfer
 Confidential Customer Coin Transferee #4649    [Address on File]     5/31/2023 Bitcoin                                0.01508822 Customer Transfer
 Confidential Customer Coin Transferee #4650    [Address on File]     5/25/2023 Bitcoin                                0.03940907 Customer Transfer
 Confidential Customer Coin Transferee #4650    [Address on File]     5/25/2023 Bitcoin                                0.01620532 Customer Transfer
 Confidential Customer Coin Transferee #4651    [Address on File]     5/18/2023 Bitcoin                                 0.0066334 Customer Transfer
 Confidential Customer Coin Transferee #4652    [Address on File]     5/29/2023 Bitcoin                                 0.0003591 Customer Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/23/2023 Bitcoin                                0.01465801 Customer Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/20/2023 Bitcoin                                0.01196003 Customer Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/19/2023 Bitcoin                                0.01038741 Customer Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/24/2023 Bitcoin                                 0.0052984 Customer Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/21/2023 Bitcoin                                0.00519431 Customer Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/18/2023 Bitcoin                                0.00511211 Customer Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/23/2023 Bitcoin                                0.00509812 Customer Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/17/2023 Bitcoin                                0.00502521 Customer Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/29/2023 Bitcoin                                0.00431693 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/25/2023 Bitcoin                                 0.0037921 Customer Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/20/2023 Bitcoin                                0.00370232 Customer Transfer

 Confidential Customer Coin Transferee #4653    [Address on File]     5/21/2023 Bitcoin                                0.00277488 Customer Transfer
 Confidential Customer Coin Transferee #4654    [Address on File]     5/22/2023 Bitcoin                                0.00588279 Customer Transfer
 Confidential Customer Coin Transferee #4655    [Address on File]     5/29/2023 Bitcoin                                0.00582942 Customer Transfer
 Confidential Customer Coin Transferee #4656    [Address on File]     5/21/2023 Bitcoin                                0.00109334 Customer Transfer

 Confidential Customer Coin Transferee #4657    [Address on File]     5/19/2023 Bitcoin                              0.1050577 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     6/13/2023 Tether USD                         2992.614431 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     6/12/2023 Tether USD                         2992.544473 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     5/24/2023 Tether USD                         2992.233883 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     5/28/2023 Tether USD                         2991.855701 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     5/20/2023 Tether USD                         2991.685819 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     5/31/2023 Tether USD                         2991.396882 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]      6/4/2023 Tether USD                          2991.37776 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     5/22/2023 Tether USD                         2991.266986 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]      6/5/2023 Tether USD                         2990.986309 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     5/27/2023 Tether USD                         2990.740185 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     6/14/2023 USD Coin                            2990.63749 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]      6/1/2023 Tether USD                         2990.186869 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     6/16/2023 Tether USD                         2986.047671 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     6/19/2023 Tether USD                         2985.214356 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     6/18/2023 Tether USD                         2985.134596 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     6/20/2023 Tether USD                         2983.232041 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     5/23/2023 Tether USD                         2492.114731 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     6/21/2023 Tether USD                         2386.436117 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     6/15/2023 Tether USD                         1995.789157 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     6/15/2023 Tether USD                          996.499299 Customer Transfer
 Confidential Customer Coin Transferee #4658    [Address on File]     5/23/2023 Tether USD                          494.072963 Customer Transfer
 Confidential Customer Coin Transferee #4659    [Address on File]     5/27/2023 Bitcoin                             0.01293413 Customer Transfer
 Confidential Customer Coin Transferee #4660    [Address on File]     6/19/2023 Bitcoin                             0.00005899 Customer Transfer
 Confidential Customer Coin Transferee #4661    [Address on File]     6/20/2023 Bitcoin                             0.00070349 Customer Transfer
 Confidential Customer Coin Transferee #4662    [Address on File]      6/7/2023 Bitcoin                             0.00110544 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4663    [Address on File]     6/20/2023 Bitcoin                             0.00016523 Customer Transfer
 Confidential Customer Coin Transferee #4664    [Address on File]     5/31/2023 Bitcoin                             0.10404504 Customer Transfer
 Confidential Customer Coin Transferee #4664    [Address on File]     5/21/2023 Bitcoin                             0.00381131 Customer Transfer
 Confidential Customer Coin Transferee #4665    [Address on File]     6/12/2023 Bitcoin                             0.00044511 Customer Transfer
 Confidential Customer Coin Transferee #4666    [Address on File]     6/20/2023 Bitcoin                             0.00013219 Customer Transfer
 Confidential Customer Coin Transferee #4667    [Address on File]     6/20/2023 Bitcoin                             0.00188405 Customer Transfer
 Confidential Customer Coin Transferee #4668    [Address on File]     5/17/2023 Bitcoin                             0.10576768 Customer Transfer
 Confidential Customer Coin Transferee #4668    [Address on File]      6/5/2023 Bitcoin                             0.07276827 Customer Transfer
 Confidential Customer Coin Transferee #4669    [Address on File]     5/17/2023 Bitcoin                             0.03712809 Customer Transfer

 Confidential Customer Coin Transferee #4670    [Address on File]     6/19/2023 Bitcoin                                0.00005734 Customer Transfer
 Confidential Customer Coin Transferee #4671    [Address on File]     5/23/2023 Bitcoin                                0.10427724 Customer Transfer
 Confidential Customer Coin Transferee #4671    [Address on File]     5/18/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #4671    [Address on File]     5/19/2023 Bitcoin                                     0.0901 Customer Transfer
 Confidential Customer Coin Transferee #4671    [Address on File]     5/23/2023 Bitcoin                                0.07283268 Customer Transfer
 Confidential Customer Coin Transferee #4671    [Address on File]     5/16/2023 Bitcoin                                    0.07151 Customer Transfer
 Confidential Customer Coin Transferee #4671    [Address on File]     5/18/2023 Bitcoin                                0.05768851 Customer Transfer
 Confidential Customer Coin Transferee #4672    [Address on File]     5/22/2023 Bitcoin                                0.00370287 Customer Transfer
 Confidential Customer Coin Transferee #4672    [Address on File]     5/17/2023 Bitcoin                                0.00367309 Customer Transfer
 Confidential Customer Coin Transferee #4673    [Address on File]     5/26/2023 Bitcoin                                0.00377044 Customer Transfer
 Confidential Customer Coin Transferee #4674    [Address on File]     6/20/2023 Bitcoin                                0.00140101 Customer Transfer
 Confidential Customer Coin Transferee #4675    [Address on File]     6/19/2023 Bitcoin                                0.03590986 Customer Transfer


 Confidential Customer Coin Transferee #4676    [Address on File]     5/23/2023 Bitcoin                                0.01054045 Customer Transfer
 Confidential Customer Coin Transferee #4677    [Address on File]     6/18/2023 Bitcoin                                0.01943284 Customer Transfer
 Confidential Customer Coin Transferee #4678    [Address on File]     6/20/2023 Bitcoin                                0.00288879 Customer Transfer
 Confidential Customer Coin Transferee #4679    [Address on File]     6/15/2023 Bitcoin                                0.00395053 Customer Transfer
 Confidential Customer Coin Transferee #4679    [Address on File]     5/29/2023 Bitcoin                                0.00039065 Customer Transfer
 Confidential Customer Coin Transferee #4680    [Address on File]     6/19/2023 Bitcoin                                 0.0023094 Customer Transfer
 Confidential Customer Coin Transferee #4681    [Address on File]     5/19/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #4681    [Address on File]     5/20/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #4681    [Address on File]     5/21/2023 Bitcoin                                       0.15 Customer Transfer
 Confidential Customer Coin Transferee #4681    [Address on File]     5/30/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #4681    [Address on File]     5/31/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #4682    [Address on File]     5/27/2023 Bitcoin                                      0.224 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4682    [Address on File]     5/19/2023 Bitcoin                             0.18376133 Customer Transfer
 Confidential Customer Coin Transferee #4682    [Address on File]     5/24/2023 Bitcoin                             0.08153459 Customer Transfer
 Confidential Customer Coin Transferee #4682    [Address on File]     5/29/2023 Bitcoin                             0.07600563 Customer Transfer
 Confidential Customer Coin Transferee #4682    [Address on File]     5/19/2023 Bitcoin                                    0.01 Customer Transfer

 Confidential Customer Coin Transferee #4683    [Address on File]     5/20/2023 Bitcoin                                0.00023388 Customer Transfer
 Confidential Customer Coin Transferee #4684    [Address on File]     5/19/2023 Bitcoin                                0.01231285 Customer Transfer
 Confidential Customer Coin Transferee #4685    [Address on File]     6/19/2023 Bitcoin                                0.00005832 Customer Transfer
 Confidential Customer Coin Transferee #4686    [Address on File]     5/26/2023 Bitcoin                                0.00376399 Customer Transfer
 Confidential Customer Coin Transferee #4687    [Address on File]     6/19/2023 Bitcoin                                 0.0006142 Customer Transfer
 Confidential Customer Coin Transferee #4688    [Address on File]     5/16/2023 Bitcoin                                0.00551049 Customer Transfer
 Confidential Customer Coin Transferee #4688    [Address on File]     5/16/2023 Bitcoin                                   0.001799 Customer Transfer
 Confidential Customer Coin Transferee #4689    [Address on File]     6/20/2023 Bitcoin                                0.00221774 Customer Transfer
 Confidential Customer Coin Transferee #4690    [Address on File]     5/21/2023 Bitcoin                                0.00018519 Customer Transfer
 Confidential Customer Coin Transferee #4691    [Address on File]     6/18/2023 USD Coin                                95.603628 Customer Transfer
 Confidential Customer Coin Transferee #4692    [Address on File]     5/19/2023 Bitcoin                                0.00325582 Customer Transfer
 Confidential Customer Coin Transferee #4693    [Address on File]     5/22/2023 Bitcoin                                0.00731564 Customer Transfer

 Confidential Customer Coin Transferee #4694    [Address on File]     5/27/2023 Bitcoin                                0.02972607 Customer Transfer

 Confidential Customer Coin Transferee #4694    [Address on File]     5/23/2023 Bitcoin                                0.00370834 Customer Transfer

 Confidential Customer Coin Transferee #4694    [Address on File]     5/26/2023 Bitcoin                                0.00093939 Customer Transfer

 Confidential Customer Coin Transferee #4694    [Address on File]     5/27/2023 Bitcoin                                0.00092916 Customer Transfer
 Confidential Customer Coin Transferee #4695    [Address on File]     6/12/2023 Bitcoin                                0.00192232 Customer Transfer
 Confidential Customer Coin Transferee #4695    [Address on File]     5/24/2023 Bitcoin                                 0.0018874 Customer Transfer
 Confidential Customer Coin Transferee #4695    [Address on File]     6/12/2023 Bitcoin                                0.00188018 Customer Transfer
 Confidential Customer Coin Transferee #4695    [Address on File]     5/17/2023 Bitcoin                                0.00185475 Customer Transfer
 Confidential Customer Coin Transferee #4695    [Address on File]      6/1/2023 Bitcoin                                0.00184244 Customer Transfer
 Confidential Customer Coin Transferee #4695    [Address on File]     5/22/2023 Bitcoin                                0.00184133 Customer Transfer
 Confidential Customer Coin Transferee #4696    [Address on File]     5/29/2023 Bitcoin                                0.20203259 Customer Transfer
 Confidential Customer Coin Transferee #4697    [Address on File]     5/26/2023 Bitcoin                                0.07334368 Customer Transfer
 Confidential Customer Coin Transferee #4698    [Address on File]     5/20/2023 Bitcoin                                 0.0266435 Customer Transfer
 Confidential Customer Coin Transferee #4699    [Address on File]     5/19/2023 Bitcoin                                0.00370403 Customer Transfer
 Confidential Customer Coin Transferee #4699    [Address on File]     5/26/2023 Bitcoin                                0.00299423 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4699    [Address on File]     6/12/2023 Bitcoin                             0.00259416 Customer Transfer
 Confidential Customer Coin Transferee #4699    [Address on File]     5/29/2023 Bitcoin                             0.00185916 Customer Transfer
 Confidential Customer Coin Transferee #4699    [Address on File]     5/22/2023 Bitcoin                             0.00184191 Customer Transfer
 Confidential Customer Coin Transferee #4699    [Address on File]     5/16/2023 Bitcoin                             0.00183708 Customer Transfer
 Confidential Customer Coin Transferee #4700    [Address on File]     6/19/2023 Bitcoin                             0.00205807 Customer Transfer
 Confidential Customer Coin Transferee #4701    [Address on File]     5/23/2023 Bitcoin                              0.0105106 Customer Transfer
 Confidential Customer Coin Transferee #4702    [Address on File]     5/26/2023 Bitcoin                             0.03880617 Customer Transfer
 Confidential Customer Coin Transferee #4703    [Address on File]     6/20/2023 Bitcoin                             0.00041002 Customer Transfer
 Confidential Customer Coin Transferee #4704    [Address on File]     6/19/2023 Bitcoin                             0.00457463 Customer Transfer
 Confidential Customer Coin Transferee #4705    [Address on File]     6/20/2023 Bitcoin                             0.00060191 Customer Transfer
 Confidential Customer Coin Transferee #4706    [Address on File]     6/19/2023 Bitcoin                             0.01190152 Customer Transfer
 Confidential Customer Coin Transferee #4707    [Address on File]     5/22/2023 Bitcoin                             0.01772854 Customer Transfer

 Confidential Customer Coin Transferee #4708    [Address on File]      6/1/2023 Bitcoin                                0.02249258 Customer Transfer

 Confidential Customer Coin Transferee #4708    [Address on File]     5/31/2023 Bitcoin                                0.00003609 Customer Transfer
 Confidential Customer Coin Transferee #4709    [Address on File]     6/19/2023 Bitcoin                                0.00009334 Customer Transfer
 Confidential Customer Coin Transferee #4710    [Address on File]     6/16/2023 Bitcoin                                0.03244513 Customer Transfer
 Confidential Customer Coin Transferee #4711    [Address on File]      6/9/2023 Bitcoin                                0.00423069 Customer Transfer
 Confidential Customer Coin Transferee #4712    [Address on File]     6/20/2023 Bitcoin                                0.00073735 Customer Transfer
 Confidential Customer Coin Transferee #4713    [Address on File]     6/19/2023 Bitcoin                                0.00749457 Customer Transfer
 Confidential Customer Coin Transferee #4714    [Address on File]     6/15/2023 Bitcoin                                0.00037885 Customer Transfer
 Confidential Customer Coin Transferee #4714    [Address on File]      6/7/2023 Bitcoin                                0.00033466 Customer Transfer
 Confidential Customer Coin Transferee #4715    [Address on File]     5/19/2023 Bitcoin                                0.00168505 Customer Transfer
 Confidential Customer Coin Transferee #4716    [Address on File]     5/23/2023 Bitcoin                                0.02542497 Customer Transfer
 Confidential Customer Coin Transferee #4717    [Address on File]     6/20/2023 Bitcoin                                0.00076392 Customer Transfer
 Confidential Customer Coin Transferee #4718    [Address on File]     6/19/2023 Bitcoin                                0.01039898 Customer Transfer
 Confidential Customer Coin Transferee #4719    [Address on File]     5/16/2023 Bitcoin                                        0.12 Customer Transfer
 Confidential Customer Coin Transferee #4719    [Address on File]     5/30/2023 Bitcoin                                     0.0037 Customer Transfer
 Confidential Customer Coin Transferee #4719    [Address on File]     5/21/2023 Bitcoin                                     0.0012 Customer Transfer
 Confidential Customer Coin Transferee #4719    [Address on File]     5/30/2023 Bitcoin                                     0.0008 Customer Transfer
 Confidential Customer Coin Transferee #4719    [Address on File]     5/31/2023 Bitcoin                                     0.0007 Customer Transfer
 Confidential Customer Coin Transferee #4719    [Address on File]     5/28/2023 Bitcoin                                     0.0005 Customer Transfer
 Confidential Customer Coin Transferee #4719    [Address on File]     5/21/2023 Bitcoin                                     0.0004 Customer Transfer
 Confidential Customer Coin Transferee #4719    [Address on File]     5/20/2023 Bitcoin                                    0.00019 Customer Transfer
 Confidential Customer Coin Transferee #4719    [Address on File]     5/20/2023 Bitcoin                                    0.00019 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4720    [Address on File]     5/24/2023 Bitcoin                             0.01018932 Customer Transfer
 Confidential Customer Coin Transferee #4721    [Address on File]     6/19/2023 Bitcoin                             0.00005638 Customer Transfer
 Confidential Customer Coin Transferee #4722    [Address on File]     6/20/2023 Bitcoin                             0.01200537 Customer Transfer
 Confidential Customer Coin Transferee #4723    [Address on File]     6/20/2023 Bitcoin                             0.00046649 Customer Transfer
 Confidential Customer Coin Transferee #4724    [Address on File]     6/19/2023 Bitcoin                             0.00342992 Customer Transfer
 Confidential Customer Coin Transferee #4725    [Address on File]     6/20/2023 Bitcoin                             0.00023872 Customer Transfer
 Confidential Customer Coin Transferee #4726    [Address on File]     5/22/2023 Bitcoin                             0.00110764 Customer Transfer
 Confidential Customer Coin Transferee #4726    [Address on File]     6/14/2023 Bitcoin                             0.00038195 Customer Transfer
 Confidential Customer Coin Transferee #4726    [Address on File]      6/6/2023 Bitcoin                             0.00037697 Customer Transfer
 Confidential Customer Coin Transferee #4726    [Address on File]      6/7/2023 Bitcoin                             0.00036919 Customer Transfer
 Confidential Customer Coin Transferee #4727    [Address on File]     5/29/2023 Bitcoin                             0.07372887 Customer Transfer
 Confidential Customer Coin Transferee #4728    [Address on File]     5/26/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #4729    [Address on File]     5/27/2023 Bitcoin                             0.06549163 Customer Transfer
 Confidential Customer Coin Transferee #4730    [Address on File]     6/19/2023 Bitcoin                              0.0016863 Customer Transfer
 Confidential Customer Coin Transferee #4731    [Address on File]     6/20/2023 Bitcoin                             0.00035787 Customer Transfer
 Confidential Customer Coin Transferee #4732    [Address on File]     6/20/2023 Bitcoin                             0.00004151 Customer Transfer
 Confidential Customer Coin Transferee #4733    [Address on File]     6/20/2023 Bitcoin                             0.00004294 Customer Transfer
 Confidential Customer Coin Transferee #4734    [Address on File]     6/19/2023 Bitcoin                             0.00069355 Customer Transfer
 Confidential Customer Coin Transferee #4735    [Address on File]     5/16/2023 Bitcoin                             0.05106067 Customer Transfer
 Confidential Customer Coin Transferee #4736    [Address on File]     5/21/2023 Bitcoin                             0.00333855 Customer Transfer
 Confidential Customer Coin Transferee #4736    [Address on File]     5/27/2023 Bitcoin                             0.00112106 Customer Transfer
 Confidential Customer Coin Transferee #4736    [Address on File]     5/16/2023 Bitcoin                             0.00110035 Customer Transfer
 Confidential Customer Coin Transferee #4736    [Address on File]     5/21/2023 Bitcoin                             0.00102191 Customer Transfer
 Confidential Customer Coin Transferee #4736    [Address on File]     5/16/2023 Bitcoin                             0.00098965 Customer Transfer
 Confidential Customer Coin Transferee #4737    [Address on File]     5/25/2023 Bitcoin                             0.01883426 Customer Transfer
 Confidential Customer Coin Transferee #4737    [Address on File]     5/24/2023 Bitcoin                             0.00756426 Customer Transfer
 Confidential Customer Coin Transferee #4737    [Address on File]     5/26/2023 Bitcoin                             0.00753315 Customer Transfer
 Confidential Customer Coin Transferee #4737    [Address on File]     5/24/2023 Bitcoin                             0.00369497 Customer Transfer
 Confidential Customer Coin Transferee #4737    [Address on File]     5/29/2023 Bitcoin                             0.00179544 Customer Transfer
 Confidential Customer Coin Transferee #4738    [Address on File]     6/20/2023 Bitcoin                              0.0004895 Customer Transfer
 Confidential Customer Coin Transferee #4739    [Address on File]      6/6/2023 Bitcoin                             0.04585217 Customer Transfer
 Confidential Customer Coin Transferee #4739    [Address on File]     6/12/2023 Bitcoin                             0.03762967 Customer Transfer
 Confidential Customer Coin Transferee #4739    [Address on File]     6/20/2023 Bitcoin                             0.03474061 Customer Transfer
 Confidential Customer Coin Transferee #4740    [Address on File]     6/20/2023 Bitcoin                             0.00005618 Customer Transfer
 Confidential Customer Coin Transferee #4741    [Address on File]     6/20/2023 Bitcoin                             0.00005935 Customer Transfer
 Confidential Customer Coin Transferee #4742    [Address on File]     5/17/2023 Bitcoin                             0.01213069 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #4743    [Address on File]     5/25/2023 Bitcoin                                       0.38 Customer Transfer

 Confidential Customer Coin Transferee #4743    [Address on File]     5/24/2023 Bitcoin                                       0.36 Customer Transfer

 Confidential Customer Coin Transferee #4743    [Address on File]     5/18/2023 Bitcoin                                     0.016 Customer Transfer

 Confidential Customer Coin Transferee #4743    [Address on File]     5/18/2023 Bitcoin                                       0.004 Customer Transfer
 Confidential Customer Coin Transferee #4744    [Address on File]     5/20/2023 Bitcoin                                0.01263929 Customer Transfer
 Confidential Customer Coin Transferee #4744    [Address on File]     5/27/2023 Bitcoin                                0.00520822 Customer Transfer
 Confidential Customer Coin Transferee #4745    [Address on File]     5/30/2023 Bitcoin                                0.00117991 Customer Transfer
 Confidential Customer Coin Transferee #4746    [Address on File]     5/31/2023 Bitcoin                                0.00860916 Customer Transfer
 Confidential Customer Coin Transferee #4746    [Address on File]     5/17/2023 Bitcoin                                 0.0017942 Customer Transfer
 Confidential Customer Coin Transferee #4746    [Address on File]     5/19/2023 Bitcoin                                0.00095775 Customer Transfer
 Confidential Customer Coin Transferee #4746    [Address on File]     5/21/2023 Bitcoin                                0.00095609 Customer Transfer
 Confidential Customer Coin Transferee #4746    [Address on File]     5/20/2023 Bitcoin                                0.00085063 Customer Transfer
 Confidential Customer Coin Transferee #4746    [Address on File]     5/18/2023 Bitcoin                                0.00080654 Customer Transfer
 Confidential Customer Coin Transferee #4747    [Address on File]     5/17/2023 Bitcoin                                0.02762107 Customer Transfer
 Confidential Customer Coin Transferee #4748    [Address on File]     6/21/2023 Bitcoin                                0.03705802 Customer Transfer
 Confidential Customer Coin Transferee #4749    [Address on File]     6/19/2023 Bitcoin                                0.00430467 Customer Transfer
 Confidential Customer Coin Transferee #4750    [Address on File]     6/19/2023 Bitcoin                                0.00304654 Customer Transfer
 Confidential Customer Coin Transferee #4751    [Address on File]     5/25/2023 Bitcoin                                0.00078127 Customer Transfer
 Confidential Customer Coin Transferee #4751    [Address on File]     5/25/2023 Bitcoin                                0.00078126 Customer Transfer
 Confidential Customer Coin Transferee #4751    [Address on File]     5/25/2023 Bitcoin                                0.00078125 Customer Transfer
 Confidential Customer Coin Transferee #4751    [Address on File]     5/25/2023 Bitcoin                                0.00078125 Customer Transfer
 Confidential Customer Coin Transferee #4751    [Address on File]     5/18/2023 Bitcoin                                0.00005515 Customer Transfer
 Confidential Customer Coin Transferee #4751    [Address on File]     5/25/2023 Bitcoin                                0.00003841 Customer Transfer
 Confidential Customer Coin Transferee #4751    [Address on File]     5/25/2023 Bitcoin                                 0.0000384 Customer Transfer
 Confidential Customer Coin Transferee #4751    [Address on File]     5/25/2023 Bitcoin                                0.00003839 Customer Transfer
 Confidential Customer Coin Transferee #4751    [Address on File]     5/25/2023 Bitcoin                                0.00003838 Customer Transfer
 Confidential Customer Coin Transferee #4751    [Address on File]     5/20/2023 Bitcoin                                   0.000037 Customer Transfer
 Confidential Customer Coin Transferee #4752    [Address on File]     6/20/2023 Bitcoin                                0.00182536 Customer Transfer
 Confidential Customer Coin Transferee #4753    [Address on File]     6/19/2023 Bitcoin                                0.27999233 Customer Transfer
 Confidential Customer Coin Transferee #4754    [Address on File]     5/31/2023 Bitcoin                                0.02463853 Customer Transfer
 Confidential Customer Coin Transferee #4755    [Address on File]     5/26/2023 Bitcoin                                0.04472563 Customer Transfer
 Confidential Customer Coin Transferee #4756    [Address on File]     5/22/2023 Bitcoin                                      0.0744 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #4756    [Address on File]     5/20/2023 Bitcoin                                    0.037 Customer Transfer
 Confidential Customer Coin Transferee #4756    [Address on File]     5/21/2023 Bitcoin                                    0.019 Customer Transfer
 Confidential Customer Coin Transferee #4757    [Address on File]     5/25/2023 Bitcoin                             0.00543043 Customer Transfer
 Confidential Customer Coin Transferee #4757    [Address on File]     5/16/2023 Bitcoin                             0.00535095 Customer Transfer
 Confidential Customer Coin Transferee #4758    [Address on File]     5/16/2023 Bitcoin                             0.00010895 Customer Transfer
 Confidential Customer Coin Transferee #4759    [Address on File]      6/6/2023 Bitcoin                             0.00037126 Customer Transfer
 Confidential Customer Coin Transferee #4759    [Address on File]      6/6/2023 Bitcoin                             0.00036802 Customer Transfer
 Confidential Customer Coin Transferee #4760    [Address on File]     5/17/2023 Bitcoin                             0.01444705 Customer Transfer
 Confidential Customer Coin Transferee #4760    [Address on File]     5/30/2023 Bitcoin                             0.01127132 Customer Transfer
 Confidential Customer Coin Transferee #4761    [Address on File]     5/31/2023 Bitcoin                                0.007234 Customer Transfer
 Confidential Customer Coin Transferee #4761    [Address on File]     5/30/2023 Bitcoin                                   0.0072 Customer Transfer
 Confidential Customer Coin Transferee #4762    [Address on File]     5/28/2023 Bitcoin                             0.00355924 Customer Transfer
 Confidential Customer Coin Transferee #4762    [Address on File]     5/24/2023 Bitcoin                             0.00011224 Customer Transfer
 Confidential Customer Coin Transferee #4762    [Address on File]     5/31/2023 Bitcoin                             0.00003595 Customer Transfer
 Confidential Customer Coin Transferee #4763    [Address on File]     5/24/2023 Bitcoin                                      0.22 Customer Transfer
 Confidential Customer Coin Transferee #4763    [Address on File]     5/26/2023 Bitcoin                             0.20115778 Customer Transfer
 Confidential Customer Coin Transferee #4764    [Address on File]     5/16/2023 Bitcoin                             0.00743692 Customer Transfer
 Confidential Customer Coin Transferee #4765    [Address on File]     5/25/2023 Bitcoin                                         3 Customer Transfer
 Confidential Customer Coin Transferee #4765    [Address on File]     5/24/2023 Bitcoin                             0.08091163 Customer Transfer
 Confidential Customer Coin Transferee #4766    [Address on File]     5/22/2023 Bitcoin                             0.00647718 Customer Transfer
 Confidential Customer Coin Transferee #4767    [Address on File]     6/19/2023 Bitcoin                             0.00008414 Customer Transfer
 Confidential Customer Coin Transferee #4768    [Address on File]     5/21/2023 Bitcoin                             0.00036332 Customer Transfer
 Confidential Customer Coin Transferee #4769    [Address on File]     5/16/2023 Bitcoin                             0.06419809 Customer Transfer
 Confidential Customer Coin Transferee #4770    [Address on File]     5/25/2023 Bitcoin                             0.01070053 Customer Transfer
 Confidential Customer Coin Transferee #4771    [Address on File]     6/20/2023 CFV                                      181.91 Customer Transfer
 Confidential Customer Coin Transferee #4772    [Address on File]     6/19/2023 Bitcoin                             0.00005946 Customer Transfer

 Confidential Customer Coin Transferee #4773    [Address on File]     5/18/2023 Bitcoin                                0.00290617 Customer Transfer
 Confidential Customer Coin Transferee #4774    [Address on File]     6/19/2023 Bitcoin                                   0.002572 Customer Transfer
 Confidential Customer Coin Transferee #4775    [Address on File]     5/18/2023 Bitcoin                                0.01720166 Customer Transfer
 Confidential Customer Coin Transferee #4776    [Address on File]     6/20/2023 Bitcoin                                 0.0039876 Customer Transfer
 Confidential Customer Coin Transferee #4777    [Address on File]     6/20/2023 Bitcoin                                0.00033606 Customer Transfer
 Confidential Customer Coin Transferee #4778    [Address on File]     6/20/2023 Bitcoin                                0.00074742 Customer Transfer
 Confidential Customer Coin Transferee #4779    [Address on File]     5/28/2023 Bitcoin                                0.00093619 Customer Transfer
 Confidential Customer Coin Transferee #4780    [Address on File]     5/27/2023 Bitcoin                                0.02111459 Customer Transfer
 Confidential Customer Coin Transferee #4781    [Address on File]     6/20/2023 Bitcoin                                0.00040711 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4782    [Address on File]      6/9/2023 Bitcoin                             0.00222676 Customer Transfer
 Confidential Customer Coin Transferee #4783    [Address on File]     5/22/2023 Bitcoin                             0.02385833 Customer Transfer
 Confidential Customer Coin Transferee #4784    [Address on File]      6/7/2023 Bitcoin                             0.01943597 Customer Transfer
 Confidential Customer Coin Transferee #4785    [Address on File]     5/31/2023 Bitcoin                             0.00485548 Customer Transfer
 Confidential Customer Coin Transferee #4786    [Address on File]     5/22/2023 Bitcoin                              0.9156976 Customer Transfer
 Confidential Customer Coin Transferee #4787    [Address on File]     5/25/2023 Bitcoin                             0.02142412 Customer Transfer
 Confidential Customer Coin Transferee #4788    [Address on File]     5/26/2023 Bitcoin                             0.00094794 Customer Transfer
 Confidential Customer Coin Transferee #4788    [Address on File]     5/19/2023 Bitcoin                             0.00084254 Customer Transfer
 Confidential Customer Coin Transferee #4789    [Address on File]     5/28/2023 Bitcoin                             0.00560844 Customer Transfer
 Confidential Customer Coin Transferee #4790    [Address on File]     5/22/2023 Bitcoin                             0.03684332 Customer Transfer
 Confidential Customer Coin Transferee #4790    [Address on File]     5/16/2023 Bitcoin                             0.02175897 Customer Transfer
 Confidential Customer Coin Transferee #4790    [Address on File]     5/19/2023 Bitcoin                             0.01846882 Customer Transfer
 Confidential Customer Coin Transferee #4790    [Address on File]      6/8/2023 Bitcoin                             0.01674423 Customer Transfer
 Confidential Customer Coin Transferee #4791    [Address on File]      6/7/2023 Bitcoin                             0.00217631 Customer Transfer
 Confidential Customer Coin Transferee #4792    [Address on File]     5/20/2023 Bitcoin                             0.00059422 Customer Transfer
 Confidential Customer Coin Transferee #4793    [Address on File]     5/25/2023 Bitcoin                             0.00604156 Customer Transfer
 Confidential Customer Coin Transferee #4794    [Address on File]     5/30/2023 Bitcoin                             0.01294602 Customer Transfer
 Confidential Customer Coin Transferee #4794    [Address on File]     5/23/2023 Bitcoin                              0.0124176 Customer Transfer
 Confidential Customer Coin Transferee #4794    [Address on File]     5/16/2023 Bitcoin                             0.01210089 Customer Transfer
 Confidential Customer Coin Transferee #4795    [Address on File]     5/20/2023 Bitcoin                             0.00276038 Customer Transfer
 Confidential Customer Coin Transferee #4796    [Address on File]     5/27/2023 Bitcoin                             0.00468546 Customer Transfer
 Confidential Customer Coin Transferee #4796    [Address on File]     5/29/2023 Bitcoin                             0.00402149 Customer Transfer
 Confidential Customer Coin Transferee #4796    [Address on File]     5/23/2023 Bitcoin                             0.00118994 Customer Transfer
 Confidential Customer Coin Transferee #4796    [Address on File]     5/26/2023 Bitcoin                             0.00093371 Customer Transfer
 Confidential Customer Coin Transferee #4796    [Address on File]     5/22/2023 Bitcoin                                0.000608 Customer Transfer
 Confidential Customer Coin Transferee #4796    [Address on File]     5/22/2023 Bitcoin                                0.000418 Customer Transfer
 Confidential Customer Coin Transferee #4797    [Address on File]     5/16/2023 Bitcoin                             0.03558122 Customer Transfer
 Confidential Customer Coin Transferee #4797    [Address on File]     5/16/2023 Bitcoin                             0.01194543 Customer Transfer
 Confidential Customer Coin Transferee #4798    [Address on File]      6/7/2023 Recover Value USD                    2117.2177 Customer Transfer
 Confidential Customer Coin Transferee #4798    [Address on File]      6/7/2023 USD Coin                              266.9202 Customer Transfer
 Confidential Customer Coin Transferee #4799    [Address on File]     5/20/2023 Bitcoin                             0.02513085 Customer Transfer
 Confidential Customer Coin Transferee #4800    [Address on File]     6/20/2023 Bitcoin                             0.00005817 Customer Transfer

 Confidential Customer Coin Transferee #4801    [Address on File]     5/18/2023 Bitcoin                                0.00182316 Customer Transfer
 Confidential Customer Coin Transferee #4802    [Address on File]     5/24/2023 Bitcoin                                0.00569995 Customer Transfer
 Confidential Customer Coin Transferee #4802    [Address on File]     5/24/2023 Bitcoin                                0.00461064 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4802    [Address on File]     5/17/2023 Bitcoin                             0.00382713 Customer Transfer
 Confidential Customer Coin Transferee #4802    [Address on File]     5/17/2023 Bitcoin                             0.00365818 Customer Transfer
 Confidential Customer Coin Transferee #4802    [Address on File]     5/31/2023 Bitcoin                             0.00114571 Customer Transfer
 Confidential Customer Coin Transferee #4802    [Address on File]     5/30/2023 Bitcoin                             0.00108245 Customer Transfer
 Confidential Customer Coin Transferee #4803    [Address on File]     5/17/2023 Bitcoin                             0.01465497 Customer Transfer
 Confidential Customer Coin Transferee #4803    [Address on File]     5/24/2023 Bitcoin                             0.01459347 Customer Transfer
 Confidential Customer Coin Transferee #4803    [Address on File]     5/24/2023 Bitcoin                             0.00725254 Customer Transfer
 Confidential Customer Coin Transferee #4803    [Address on File]     5/22/2023 Bitcoin                             0.00471668 Customer Transfer
 Confidential Customer Coin Transferee #4803    [Address on File]     5/17/2023 Bitcoin                             0.00184779 Customer Transfer
 Confidential Customer Coin Transferee #4803    [Address on File]     5/17/2023 Bitcoin                             0.00183829 Customer Transfer
 Confidential Customer Coin Transferee #4803    [Address on File]     5/17/2023 Bitcoin                             0.00157544 Customer Transfer
 Confidential Customer Coin Transferee #4803    [Address on File]     5/17/2023 Bitcoin                             0.00128421 Customer Transfer
 Confidential Customer Coin Transferee #4803    [Address on File]     5/20/2023 Bitcoin                             0.00103611 Customer Transfer
 Confidential Customer Coin Transferee #4803    [Address on File]     5/31/2023 Bitcoin                             0.00080997 Customer Transfer
 Confidential Customer Coin Transferee #4803    [Address on File]     5/23/2023 Bitcoin                             0.00025482 Customer Transfer
 Confidential Customer Coin Transferee #4804    [Address on File]     5/30/2023 Bitcoin                             0.01554029 Customer Transfer
 Confidential Customer Coin Transferee #4804    [Address on File]     5/30/2023 Bitcoin                             0.01074777 Customer Transfer
 Confidential Customer Coin Transferee #4805    [Address on File]     5/22/2023 Bitcoin                             0.01035954 Customer Transfer
 Confidential Customer Coin Transferee #4806    [Address on File]     5/29/2023 Litecoin                            0.72337648 Customer Transfer
 Confidential Customer Coin Transferee #4806    [Address on File]     5/29/2023 Litecoin                            0.15572785 Customer Transfer
 Confidential Customer Coin Transferee #4807    [Address on File]     5/18/2023 Bitcoin                             0.01433755 Customer Transfer
 Confidential Customer Coin Transferee #4808    [Address on File]     6/14/2023 USD Coin                            995.672596 Customer Transfer
 Confidential Customer Coin Transferee #4808    [Address on File]     6/14/2023 USD Coin                            994.563262 Customer Transfer
 Confidential Customer Coin Transferee #4808    [Address on File]     6/16/2023 USD Coin                            297.051179 Customer Transfer
 Confidential Customer Coin Transferee #4808    [Address on File]      6/5/2023 Ether                                  0.548702 Customer Transfer
 Confidential Customer Coin Transferee #4809    [Address on File]     5/26/2023 Bitcoin                             0.03807917 Customer Transfer
 Confidential Customer Coin Transferee #4809    [Address on File]     5/19/2023 Bitcoin                                0.005766 Customer Transfer
 Confidential Customer Coin Transferee #4810    [Address on File]     5/18/2023 Bitcoin                             0.00622018 Customer Transfer
 Confidential Customer Coin Transferee #4811    [Address on File]     5/16/2023 Bitcoin                             0.02877004 Customer Transfer
 Confidential Customer Coin Transferee #4811    [Address on File]     5/22/2023 Bitcoin                             0.01587923 Customer Transfer
 Confidential Customer Coin Transferee #4811    [Address on File]     5/23/2023 Bitcoin                             0.01303655 Customer Transfer
 Confidential Customer Coin Transferee #4811    [Address on File]     5/21/2023 Bitcoin                             0.01101665 Customer Transfer
 Confidential Customer Coin Transferee #4811    [Address on File]     5/17/2023 Bitcoin                              0.0075701 Customer Transfer
 Confidential Customer Coin Transferee #4811    [Address on File]     5/17/2023 Bitcoin                             0.00742942 Customer Transfer
 Confidential Customer Coin Transferee #4811    [Address on File]     5/17/2023 Bitcoin                             0.00691061 Customer Transfer
 Confidential Customer Coin Transferee #4811    [Address on File]     5/19/2023 Bitcoin                             0.00673748 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4811    [Address on File]     5/24/2023 Bitcoin                             0.00671736 Customer Transfer
 Confidential Customer Coin Transferee #4811    [Address on File]     5/24/2023 Bitcoin                                0.006692 Customer Transfer
 Confidential Customer Coin Transferee #4811    [Address on File]     5/21/2023 Bitcoin                              0.0066365 Customer Transfer
 Confidential Customer Coin Transferee #4812    [Address on File]     5/21/2023 Bitcoin                             0.02788742 Customer Transfer
 Confidential Customer Coin Transferee #4813    [Address on File]     5/24/2023 Bitcoin                             0.02568306 Customer Transfer
 Confidential Customer Coin Transferee #4814    [Address on File]     5/24/2023 Bitcoin                             0.02805363 Customer Transfer
 Confidential Customer Coin Transferee #4815    [Address on File]     5/30/2023 Bitcoin                             0.01889625 Customer Transfer
 Confidential Customer Coin Transferee #4816    [Address on File]     5/19/2023 Bitcoin                             0.00356388 Customer Transfer
 Confidential Customer Coin Transferee #4816    [Address on File]     5/31/2023 Bitcoin                             0.00328508 Customer Transfer
 Confidential Customer Coin Transferee #4816    [Address on File]     5/26/2023 Bitcoin                             0.00308686 Customer Transfer
 Confidential Customer Coin Transferee #4816    [Address on File]     5/27/2023 Bitcoin                             0.00149316 Customer Transfer
 Confidential Customer Coin Transferee #4816    [Address on File]     5/21/2023 Bitcoin                             0.00143763 Customer Transfer
 Confidential Customer Coin Transferee #4816    [Address on File]     5/22/2023 Bitcoin                             0.00103759 Customer Transfer
 Confidential Customer Coin Transferee #4817    [Address on File]     5/26/2023 Bitcoin                             0.01017857 Customer Transfer
 Confidential Customer Coin Transferee #4818    [Address on File]     5/16/2023 Bitcoin                              0.0104497 Customer Transfer
 Confidential Customer Coin Transferee #4819    [Address on File]     5/16/2023 Bitcoin                             0.06660373 Customer Transfer
 Confidential Customer Coin Transferee #4819    [Address on File]     5/16/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #4820    [Address on File]     5/17/2023 Bitcoin                             0.00761104 Customer Transfer
 Confidential Customer Coin Transferee #4821    [Address on File]      6/2/2023 Tether USD                                   839 Customer Transfer
 Confidential Customer Coin Transferee #4821    [Address on File]      6/8/2023 Tether USD                             744.6629 Customer Transfer
 Confidential Customer Coin Transferee #4821    [Address on File]     5/19/2023 Tether USD                            451.1229 Customer Transfer
 Confidential Customer Coin Transferee #4821    [Address on File]      6/1/2023 Tether USD                                318.79 Customer Transfer
 Confidential Customer Coin Transferee #4821    [Address on File]      6/5/2023 Tether USD                                   295 Customer Transfer
 Confidential Customer Coin Transferee #4822    [Address on File]     6/19/2023 Bitcoin                             0.00042303 Customer Transfer
 Confidential Customer Coin Transferee #4823    [Address on File]     6/20/2023 Bitcoin                             0.00602244 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/25/2023 Bitcoin                             0.00228739 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/25/2023 Bitcoin                             0.00227642 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/25/2023 Bitcoin                             0.00208895 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/25/2023 Bitcoin                              0.0020819 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/26/2023 Bitcoin                             0.00200005 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/25/2023 Bitcoin                             0.00152295 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/21/2023 Bitcoin                             0.00146233 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/23/2023 Bitcoin                             0.00145095 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/25/2023 Bitcoin                              0.0014386 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/27/2023 Bitcoin                             0.00109019 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/26/2023 Bitcoin                             0.00103853 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/26/2023 Bitcoin                             0.00097664 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/27/2023 Bitcoin                             0.00081541 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/26/2023 Bitcoin                             0.00074181 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/26/2023 Bitcoin                             0.00074089 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/26/2023 Bitcoin                             0.00068693 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/21/2023 Bitcoin                             0.00068619 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/17/2023 Bitcoin                             0.00053936 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/26/2023 Bitcoin                              0.0005255 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/25/2023 Bitcoin                             0.00051787 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/25/2023 Bitcoin                             0.00049018 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/19/2023 Bitcoin                             0.00047049 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/27/2023 Bitcoin                             0.00043499 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/18/2023 Bitcoin                             0.00040912 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/20/2023 Bitcoin                             0.00040912 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/27/2023 Bitcoin                             0.00037202 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/17/2023 Bitcoin                              0.0003596 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/17/2023 Bitcoin                             0.00035915 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/21/2023 Bitcoin                             0.00035833 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/27/2023 Bitcoin                             0.00033452 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/19/2023 Bitcoin                             0.00032595 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/27/2023 Bitcoin                             0.00029753 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/22/2023 Bitcoin                              0.0002925 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/16/2023 Bitcoin                             0.00028677 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/20/2023 Bitcoin                             0.00027569 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/27/2023 Bitcoin                             0.00025379 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/19/2023 Bitcoin                             0.00025354 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/19/2023 Bitcoin                             0.00025336 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/22/2023 Bitcoin                             0.00025273 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/18/2023 Bitcoin                             0.00025252 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/31/2023 Bitcoin                             0.00025245 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/23/2023 Bitcoin                             0.00025022 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/18/2023 Bitcoin                             0.00024991 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/22/2023 Bitcoin                             0.00023708 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/24/2023 Bitcoin                             0.00022325 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/19/2023 Bitcoin                             0.00022267 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/18/2023 Bitcoin                             0.00021892 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/17/2023 Bitcoin                             0.00021821 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/16/2023 Bitcoin                             0.00021699 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/28/2023 Bitcoin                             0.00021678 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/22/2023 Bitcoin                             0.00021673 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/16/2023 Bitcoin                             0.00021566 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/19/2023 Bitcoin                             0.00021545 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/30/2023 Bitcoin                             0.00021049 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/30/2023 Bitcoin                             0.00021032 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/25/2023 Bitcoin                             0.00020667 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/28/2023 Bitcoin                             0.00018117 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/22/2023 Bitcoin                             0.00018103 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/17/2023 Bitcoin                             0.00018098 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/16/2023 Bitcoin                              0.0001804 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/23/2023 Bitcoin                             0.00017927 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/23/2023 Bitcoin                              0.0001774 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/30/2023 Bitcoin                             0.00017699 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/16/2023 Bitcoin                             0.00017666 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/30/2023 Bitcoin                             0.00017538 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/30/2023 Bitcoin                             0.00017488 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/23/2023 Bitcoin                             0.00014532 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/25/2023 Bitcoin                             0.00014392 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/17/2023 Bitcoin                             0.00014124 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/31/2023 Bitcoin                             0.00014072 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/30/2023 Bitcoin                             0.00013943 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/23/2023 Bitcoin                             0.00013294 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/16/2023 Bitcoin                                0.000132 Customer Transfer
 Confidential Customer Coin Transferee #4824    [Address on File]     5/27/2023 Bitcoin                              0.0001204 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/25/2023 Bitcoin                             0.00100646 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/24/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/28/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/28/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/28/2023 Bitcoin                             0.00047536 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/20/2023 Bitcoin                             0.00033296 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/24/2023 Bitcoin                             0.00032859 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/28/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/25/2023 Bitcoin                             0.00026504 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/31/2023 Bitcoin                             0.00025111 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/30/2023 Bitcoin                             0.00018363 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/21/2023 Bitcoin                             0.00017553 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/28/2023 Bitcoin                             0.00016083 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/30/2023 Bitcoin                                0.000156 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/29/2023 Bitcoin                             0.00014306 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/29/2023 Bitcoin                             0.00005109 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/22/2023 Bitcoin                             0.00004248 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/31/2023 Bitcoin                             0.00003293 Customer Transfer
 Confidential Customer Coin Transferee #4825    [Address on File]     5/21/2023 Bitcoin                             0.00002956 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/31/2023 Bitcoin                             0.01140097 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/20/2023 Bitcoin                             0.00720863 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/21/2023 Bitcoin                             0.00332898 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/26/2023 Bitcoin                             0.00300251 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/20/2023 Bitcoin                             0.00266349 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/18/2023 Bitcoin                             0.00262473 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/19/2023 Bitcoin                             0.00177471 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/27/2023 Bitcoin                             0.00174833 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/27/2023 Bitcoin                             0.00115146 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/29/2023 Bitcoin                              0.0009975 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/21/2023 Bitcoin                             0.00085099 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/30/2023 Bitcoin                             0.00071821 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/30/2023 Bitcoin                             0.00071528 Customer Transfer
 Confidential Customer Coin Transferee #4826    [Address on File]     5/29/2023 Bitcoin                             0.00071213 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]     5/29/2023 Bitcoin                             0.00995421 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]     5/25/2023 Bitcoin                             0.00754538 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]     5/26/2023 Bitcoin                             0.00743325 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]     5/26/2023 Bitcoin                             0.00742769 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]     5/26/2023 Bitcoin                             0.00742554 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]     5/26/2023 Bitcoin                             0.00742279 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]      6/1/2023 Bitcoin                             0.00740649 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]      6/1/2023 Bitcoin                             0.00740246 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]      6/1/2023 Bitcoin                             0.00738811 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]      6/2/2023 Bitcoin                              0.0073774 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]     5/29/2023 Bitcoin                              0.0072123 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]     5/29/2023 Bitcoin                             0.00719174 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]     5/19/2023 Bitcoin                             0.00369941 Customer Transfer
 Confidential Customer Coin Transferee #4827    [Address on File]     5/16/2023 Bitcoin                             0.00368222 Customer Transfer
 Confidential Customer Coin Transferee #4828    [Address on File]     5/20/2023 Bitcoin                             0.00722847 Customer Transfer
 Confidential Customer Coin Transferee #4828    [Address on File]     5/31/2023 Bitcoin                             0.00661244 Customer Transfer
 Confidential Customer Coin Transferee #4829    [Address on File]     5/29/2023 Bitcoin                             0.08226611 Customer Transfer
 Confidential Customer Coin Transferee #4830    [Address on File]      6/9/2023 Bitcoin                             0.01854286 Customer Transfer
 Confidential Customer Coin Transferee #4831    [Address on File]     5/25/2023 Bitcoin                             0.14784761 Customer Transfer
 Confidential Customer Coin Transferee #4832    [Address on File]     5/26/2023 Bitcoin                                0.001898 Customer Transfer
 Confidential Customer Coin Transferee #4832    [Address on File]     5/25/2023 Bitcoin                              0.0011392 Customer Transfer
 Confidential Customer Coin Transferee #4832    [Address on File]     5/20/2023 Bitcoin                                0.001007 Customer Transfer
 Confidential Customer Coin Transferee #4832    [Address on File]     5/30/2023 Bitcoin                                0.000969 Customer Transfer
 Confidential Customer Coin Transferee #4832    [Address on File]     5/29/2023 Bitcoin                                0.000955 Customer Transfer
 Confidential Customer Coin Transferee #4833    [Address on File]     6/20/2023 Bitcoin                             0.15559584 Customer Transfer
 Confidential Customer Coin Transferee #4834    [Address on File]     5/16/2023 Bitcoin                             0.01685218 Customer Transfer
 Confidential Customer Coin Transferee #4834    [Address on File]     5/21/2023 Bitcoin                             0.00363392 Customer Transfer
 Confidential Customer Coin Transferee #4835    [Address on File]      6/7/2023 USD Coin                            20.8003009 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/26/2023 Bitcoin                                0.016682 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/19/2023 Bitcoin                             0.00629708 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/24/2023 Bitcoin                             0.00441559 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/24/2023 Bitcoin                             0.00321277 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/19/2023 Bitcoin                              0.0026657 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/22/2023 Bitcoin                              0.0025145 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/17/2023 Bitcoin                             0.00233444 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/23/2023 Bitcoin                             0.00186387 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/19/2023 Bitcoin                             0.00092675 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/27/2023 Bitcoin                             0.00025917 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/31/2023 Bitcoin                             0.00025671 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/24/2023 Bitcoin                             0.00018852 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/19/2023 Bitcoin                              0.0001852 Customer Transfer
 Confidential Customer Coin Transferee #4836    [Address on File]     5/24/2023 Bitcoin                             0.00014589 Customer Transfer
 Confidential Customer Coin Transferee #4837    [Address on File]     5/26/2023 Bitcoin                             0.15374521 Customer Transfer
 Confidential Customer Coin Transferee #4837    [Address on File]     5/21/2023 Bitcoin                             0.12267239 Customer Transfer
 Confidential Customer Coin Transferee #4837    [Address on File]     5/18/2023 Bitcoin                             0.09721354 Customer Transfer
 Confidential Customer Coin Transferee #4837    [Address on File]     5/28/2023 Bitcoin                                0.081215 Customer Transfer
 Confidential Customer Coin Transferee #4837    [Address on File]     5/18/2023 Bitcoin                              0.0626076 Customer Transfer
 Confidential Customer Coin Transferee #4837    [Address on File]     5/25/2023 Bitcoin                             0.04552009 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4837    [Address on File]     5/29/2023 Bitcoin                             0.03564982 Customer Transfer
 Confidential Customer Coin Transferee #4837    [Address on File]     5/19/2023 Bitcoin                             0.03508869 Customer Transfer
 Confidential Customer Coin Transferee #4837    [Address on File]     5/22/2023 Bitcoin                                0.028336 Customer Transfer
 Confidential Customer Coin Transferee #4837    [Address on File]     5/22/2023 Bitcoin                             0.02221114 Customer Transfer
 Confidential Customer Coin Transferee #4838    [Address on File]     5/23/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #4839    [Address on File]     5/25/2023 Bitcoin                                   0.0004 Customer Transfer

 Confidential Customer Coin Transferee #4840    [Address on File]     6/20/2023 Bitcoin                                0.00066676 Customer Transfer

 Confidential Customer Coin Transferee #4841    [Address on File]     5/22/2023 Bitcoin                                0.05309784 Customer Transfer
 Confidential Customer Coin Transferee #4842    [Address on File]     5/18/2023 Bitcoin                                0.00174373 Customer Transfer
 Confidential Customer Coin Transferee #4843    [Address on File]     5/22/2023 Bitcoin                                0.00754149 Customer Transfer
 Confidential Customer Coin Transferee #4844    [Address on File]     5/25/2023 Bitcoin                                0.01002122 Customer Transfer
 Confidential Customer Coin Transferee #4844    [Address on File]     5/25/2023 Bitcoin                                0.01002122 Customer Transfer
 Confidential Customer Coin Transferee #4845    [Address on File]     5/18/2023 Bitcoin                                 0.0887719 Customer Transfer
 Confidential Customer Coin Transferee #4846    [Address on File]     6/19/2023 Bitcoin                                0.00004369 Customer Transfer
 Confidential Customer Coin Transferee #4847    [Address on File]     6/19/2023 Bitcoin                                0.00477108 Customer Transfer

 Confidential Customer Coin Transferee #4848    [Address on File]     5/19/2023 Bitcoin                                0.00111066 Customer Transfer

 Confidential Customer Coin Transferee #4848    [Address on File]     5/19/2023 Bitcoin                                0.00073969 Customer Transfer

 Confidential Customer Coin Transferee #4848    [Address on File]     5/19/2023 Bitcoin                                0.00059706 Customer Transfer

 Confidential Customer Coin Transferee #4848    [Address on File]     5/16/2023 Bitcoin                                0.00022455 Customer Transfer

 Confidential Customer Coin Transferee #4848    [Address on File]     5/18/2023 Bitcoin                                0.00022196 Customer Transfer
 Confidential Customer Coin Transferee #4849    [Address on File]     5/17/2023 Bitcoin                                0.01795453 Customer Transfer
 Confidential Customer Coin Transferee #4849    [Address on File]     5/18/2023 Bitcoin                                0.01782229 Customer Transfer
 Confidential Customer Coin Transferee #4850    [Address on File]     5/19/2023 Bitcoin                                0.00369933 Customer Transfer
 Confidential Customer Coin Transferee #4850    [Address on File]     5/25/2023 Bitcoin                                0.00037582 Customer Transfer
 Confidential Customer Coin Transferee #4850    [Address on File]     5/25/2023 Bitcoin                                 0.0001879 Customer Transfer
 Confidential Customer Coin Transferee #4850    [Address on File]     5/24/2023 Bitcoin                                0.00018464 Customer Transfer
 Confidential Customer Coin Transferee #4851    [Address on File]     5/23/2023 Bitcoin                                0.01353621 Customer Transfer
 Confidential Customer Coin Transferee #4851    [Address on File]     5/16/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #4852    [Address on File]      6/7/2023 USD Coin                                3509.4003 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #4853    [Address on File]      6/7/2023 Tether USD                          459.116794 Customer Transfer
 Confidential Customer Coin Transferee #4853    [Address on File]      6/7/2023 USD Coin                             96.002398 Customer Transfer
 Confidential Customer Coin Transferee #4854    [Address on File]     5/28/2023 Bitcoin                                0.011076 Customer Transfer
 Confidential Customer Coin Transferee #4854    [Address on File]     5/18/2023 Bitcoin                             0.01095533 Customer Transfer
 Confidential Customer Coin Transferee #4855    [Address on File]     6/20/2023 Bitcoin                             0.00005947 Customer Transfer
 Confidential Customer Coin Transferee #4856    [Address on File]     5/24/2023 Tether USD                                   200 Customer Transfer
 Confidential Customer Coin Transferee #4856    [Address on File]      6/7/2023 Tether USD                                   200 Customer Transfer
 Confidential Customer Coin Transferee #4856    [Address on File]      6/8/2023 Tether USD                                   150 Customer Transfer
 Confidential Customer Coin Transferee #4856    [Address on File]     5/24/2023 Tether USD                                   100 Customer Transfer
 Confidential Customer Coin Transferee #4856    [Address on File]     6/13/2023 Tether USD                              89.8339 Customer Transfer
 Confidential Customer Coin Transferee #4857    [Address on File]     5/29/2023 Bitcoin                             0.01036924 Customer Transfer
 Confidential Customer Coin Transferee #4858    [Address on File]     5/23/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #4858    [Address on File]     5/31/2023 Bitcoin                                    0.007 Customer Transfer
 Confidential Customer Coin Transferee #4858    [Address on File]     5/26/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #4858    [Address on File]     5/31/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #4859    [Address on File]     6/19/2023 Bitcoin                             0.00005822 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/23/2023 Bitcoin                             0.00381432 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/26/2023 Bitcoin                              0.0030433 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/27/2023 Bitcoin                             0.00279292 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/25/2023 Bitcoin                             0.00274703 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/21/2023 Bitcoin                              0.0025062 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/20/2023 Bitcoin                             0.00200153 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/25/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/26/2023 Bitcoin                                 0.00194 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/16/2023 Bitcoin                             0.00178573 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/19/2023 Bitcoin                              0.0015602 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/17/2023 Bitcoin                             0.00125452 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/25/2023 Bitcoin                             0.00094405 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/26/2023 Bitcoin                              0.0008137 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/16/2023 Bitcoin                             0.00081026 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/27/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/27/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/29/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/29/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #4860    [Address on File]     5/23/2023 Bitcoin                             0.00077164 Customer Transfer
 Confidential Customer Coin Transferee #4861    [Address on File]     6/10/2023 USDC Avalanche)                     196.272609 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #4861    [Address on File]     6/13/2023 USDC Avalanche)                      34.032983 Customer Transfer
 Confidential Customer Coin Transferee #4862    [Address on File]     5/24/2023 Bitcoin                             0.01394756 Customer Transfer
 Confidential Customer Coin Transferee #4863    [Address on File]     5/24/2023 Bitcoin                             0.03239015 Customer Transfer
 Confidential Customer Coin Transferee #4864    [Address on File]     5/24/2023 Bitcoin                             0.14622154 Customer Transfer
 Confidential Customer Coin Transferee #4865    [Address on File]     5/23/2023 Bitcoin                             0.00050836 Customer Transfer
 Confidential Customer Coin Transferee #4866    [Address on File]     5/31/2023 Bitcoin                             0.00452097 Customer Transfer
 Confidential Customer Coin Transferee #4867    [Address on File]     5/26/2023 Bitcoin                              0.0113228 Customer Transfer
 Confidential Customer Coin Transferee #4868    [Address on File]     5/31/2023 Bitcoin                             0.00616968 Customer Transfer
 Confidential Customer Coin Transferee #4869    [Address on File]     5/26/2023 Bitcoin                             0.00175553 Customer Transfer
 Confidential Customer Coin Transferee #4870    [Address on File]     5/19/2023 Bitcoin                             0.02910303 Customer Transfer
 Confidential Customer Coin Transferee #4870    [Address on File]     5/26/2023 Bitcoin                             0.01954478 Customer Transfer
 Confidential Customer Coin Transferee #4870    [Address on File]     5/17/2023 Bitcoin                             0.00542501 Customer Transfer
 Confidential Customer Coin Transferee #4870    [Address on File]     5/17/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #4870    [Address on File]     5/16/2023 Bitcoin                             0.00036784 Customer Transfer
 Confidential Customer Coin Transferee #4870    [Address on File]     5/23/2023 Bitcoin                             0.00036408 Customer Transfer
 Confidential Customer Coin Transferee #4870    [Address on File]     5/30/2023 Bitcoin                                0.000359 Customer Transfer
 Confidential Customer Coin Transferee #4871    [Address on File]     5/16/2023 Bitcoin                                   0.0901 Customer Transfer
 Confidential Customer Coin Transferee #4871    [Address on File]     5/27/2023 Bitcoin                             0.04450663 Customer Transfer
 Confidential Customer Coin Transferee #4872    [Address on File]     6/20/2023 Bitcoin                             0.00076514 Customer Transfer
 Confidential Customer Coin Transferee #4873    [Address on File]     5/17/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #4873    [Address on File]     5/17/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #4874    [Address on File]     5/22/2023 Bitcoin                             0.01109411 Customer Transfer
 Confidential Customer Coin Transferee #4874    [Address on File]     5/16/2023 Bitcoin                             0.01106797 Customer Transfer
 Confidential Customer Coin Transferee #4874    [Address on File]     5/30/2023 Bitcoin                             0.01078572 Customer Transfer
 Confidential Customer Coin Transferee #4875    [Address on File]     5/26/2023 Bitcoin                                    0.012 Customer Transfer
 Confidential Customer Coin Transferee #4875    [Address on File]     5/25/2023 Bitcoin                                    0.011 Customer Transfer
 Confidential Customer Coin Transferee #4876    [Address on File]     5/17/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #4877    [Address on File]     5/23/2023 Bitcoin                             0.00073284 Customer Transfer
 Confidential Customer Coin Transferee #4878    [Address on File]     5/31/2023 Bitcoin                             0.01469148 Customer Transfer
 Confidential Customer Coin Transferee #4878    [Address on File]     5/20/2023 Bitcoin                             0.00925303 Customer Transfer
 Confidential Customer Coin Transferee #4878    [Address on File]     5/23/2023 Bitcoin                             0.00552106 Customer Transfer
 Confidential Customer Coin Transferee #4879    [Address on File]     5/21/2023 Bitcoin                             0.00373249 Customer Transfer
 Confidential Customer Coin Transferee #4880    [Address on File]     5/30/2023 Bitcoin                             0.01792081 Customer Transfer
 Confidential Customer Coin Transferee #4880    [Address on File]     5/19/2023 Bitcoin                              0.0032868 Customer Transfer
 Confidential Customer Coin Transferee #4881    [Address on File]     5/25/2023 Bitcoin                             0.00187759 Customer Transfer
 Confidential Customer Coin Transferee #4881    [Address on File]     5/17/2023 Bitcoin                             0.00109058 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4881    [Address on File]     5/17/2023 Bitcoin                                 0.00074 Customer Transfer
 Confidential Customer Coin Transferee #4882    [Address on File]     5/25/2023 Bitcoin                             0.00379563 Customer Transfer
 Confidential Customer Coin Transferee #4882    [Address on File]     5/22/2023 Bitcoin                             0.00369962 Customer Transfer
 Confidential Customer Coin Transferee #4882    [Address on File]     5/21/2023 Bitcoin                             0.00351905 Customer Transfer
 Confidential Customer Coin Transferee #4883    [Address on File]     5/16/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #4883    [Address on File]     5/19/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #4883    [Address on File]     5/22/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #4883    [Address on File]     5/25/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #4883    [Address on File]     5/28/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #4883    [Address on File]     5/30/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #4884    [Address on File]     5/21/2023 Bitcoin                             0.00073823 Customer Transfer
 Confidential Customer Coin Transferee #4884    [Address on File]     5/23/2023 Bitcoin                             0.00073361 Customer Transfer
 Confidential Customer Coin Transferee #4884    [Address on File]     5/25/2023 Bitcoin                             0.00037824 Customer Transfer
 Confidential Customer Coin Transferee #4885    [Address on File]     5/24/2023 Bitcoin                             0.00566726 Customer Transfer
 Confidential Customer Coin Transferee #4885    [Address on File]     5/24/2023 Bitcoin                             0.00554363 Customer Transfer
 Confidential Customer Coin Transferee #4885    [Address on File]     5/18/2023 Bitcoin                             0.00358666 Customer Transfer
 Confidential Customer Coin Transferee #4886    [Address on File]     5/19/2023 Bitcoin                             0.01283562 Customer Transfer
 Confidential Customer Coin Transferee #4887    [Address on File]     5/23/2023 Bitcoin                             0.00453707 Customer Transfer
 Confidential Customer Coin Transferee #4887    [Address on File]     5/29/2023 Bitcoin                             0.00445657 Customer Transfer
 Confidential Customer Coin Transferee #4888    [Address on File]     5/20/2023 Bitcoin                             0.03562432 Customer Transfer
 Confidential Customer Coin Transferee #4889    [Address on File]     5/22/2023 Bitcoin                                0.000926 Customer Transfer
 Confidential Customer Coin Transferee #4889    [Address on File]     5/22/2023 Bitcoin                             0.00073991 Customer Transfer
 Confidential Customer Coin Transferee #4890    [Address on File]     5/17/2023 Bitcoin                             0.01104505 Customer Transfer
 Confidential Customer Coin Transferee #4890    [Address on File]     5/25/2023 Bitcoin                             0.00228615 Customer Transfer
 Confidential Customer Coin Transferee #4890    [Address on File]     5/24/2023 Bitcoin                             0.00197126 Customer Transfer
 Confidential Customer Coin Transferee #4890    [Address on File]     5/18/2023 Bitcoin                                 0.00018 Customer Transfer
 Confidential Customer Coin Transferee #4891    [Address on File]     5/17/2023 Bitcoin                                 0.00041 Customer Transfer
 Confidential Customer Coin Transferee #4892    [Address on File]     5/17/2023 Bitcoin                             0.00750266 Customer Transfer
 Confidential Customer Coin Transferee #4892    [Address on File]     5/17/2023 Bitcoin                             0.00722915 Customer Transfer
 Confidential Customer Coin Transferee #4892    [Address on File]     5/26/2023 Bitcoin                             0.00398537 Customer Transfer
 Confidential Customer Coin Transferee #4893    [Address on File]     5/22/2023 Bitcoin                             0.11082632 Customer Transfer
 Confidential Customer Coin Transferee #4894    [Address on File]     5/23/2023 Bitcoin                             0.03864933 Customer Transfer
 Confidential Customer Coin Transferee #4894    [Address on File]     5/30/2023 Bitcoin                             0.00358058 Customer Transfer
 Confidential Customer Coin Transferee #4895    [Address on File]     5/29/2023 Bitcoin                             0.00356364 Customer Transfer
 Confidential Customer Coin Transferee #4895    [Address on File]     5/29/2023 Bitcoin                             0.00144196 Customer Transfer
 Confidential Customer Coin Transferee #4895    [Address on File]     5/30/2023 Bitcoin                             0.00071768 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #4896    [Address on File]     5/24/2023 Bitcoin                             0.01876057 Customer Transfer
 Confidential Customer Coin Transferee #4897    [Address on File]     5/25/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #4898    [Address on File]     5/18/2023 Bitcoin                             0.00757408 Customer Transfer
 Confidential Customer Coin Transferee #4899    [Address on File]     5/17/2023 Bitcoin                             0.01780221 Customer Transfer
 Confidential Customer Coin Transferee #4900    [Address on File]     5/25/2023 Bitcoin                                  0.0083 Customer Transfer
 Confidential Customer Coin Transferee #4900    [Address on File]     5/24/2023 Bitcoin                             0.00732531 Customer Transfer
 Confidential Customer Coin Transferee #4900    [Address on File]     5/27/2023 Bitcoin                              0.0042716 Customer Transfer
 Confidential Customer Coin Transferee #4900    [Address on File]     5/23/2023 Bitcoin                             0.00401867 Customer Transfer
 Confidential Customer Coin Transferee #4900    [Address on File]     5/27/2023 Bitcoin                             0.00364772 Customer Transfer
 Confidential Customer Coin Transferee #4900    [Address on File]     5/31/2023 Bitcoin                             0.00354536 Customer Transfer
 Confidential Customer Coin Transferee #4900    [Address on File]     5/25/2023 Bitcoin                             0.00309662 Customer Transfer
 Confidential Customer Coin Transferee #4900    [Address on File]     5/24/2023 Bitcoin                             0.00292924 Customer Transfer
 Confidential Customer Coin Transferee #4900    [Address on File]     5/25/2023 Bitcoin                             0.00227432 Customer Transfer
 Confidential Customer Coin Transferee #4901    [Address on File]     5/20/2023 Bitcoin                             0.00006418 Customer Transfer
 Confidential Customer Coin Transferee #4902    [Address on File]     5/27/2023 Bitcoin                             0.03746688 Customer Transfer
 Confidential Customer Coin Transferee #4902    [Address on File]     5/26/2023 Bitcoin                             0.03022724 Customer Transfer
 Confidential Customer Coin Transferee #4902    [Address on File]     5/31/2023 Bitcoin                             0.02239447 Customer Transfer
 Confidential Customer Coin Transferee #4902    [Address on File]     5/17/2023 Bitcoin                             0.01929323 Customer Transfer
 Confidential Customer Coin Transferee #4902    [Address on File]     5/17/2023 Bitcoin                             0.01299889 Customer Transfer
 Confidential Customer Coin Transferee #4902    [Address on File]     5/20/2023 Bitcoin                             0.00369241 Customer Transfer
 Confidential Customer Coin Transferee #4902    [Address on File]     5/22/2023 Bitcoin                             0.00087817 Customer Transfer
 Confidential Customer Coin Transferee #4903    [Address on File]     5/29/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #4904    [Address on File]     5/29/2023 Bitcoin                             0.01028942 Customer Transfer
 Confidential Customer Coin Transferee #4905    [Address on File]     6/20/2023 Bitcoin                             0.00003927 Customer Transfer
 Confidential Customer Coin Transferee #4906    [Address on File]     6/15/2023 Bitcoin                             0.00018228 Customer Transfer
 Confidential Customer Coin Transferee #4907    [Address on File]     6/20/2023 Bitcoin                             0.00044745 Customer Transfer
 Confidential Customer Coin Transferee #4908    [Address on File]     5/30/2023 Tether USD                          496.063149 Customer Transfer
 Confidential Customer Coin Transferee #4909    [Address on File]     6/20/2023 Bitcoin                             0.00121725 Customer Transfer
 Confidential Customer Coin Transferee #4910    [Address on File]     6/20/2023 Bitcoin                             0.00005805 Customer Transfer
 Confidential Customer Coin Transferee #4911    [Address on File]     6/19/2023 Bitcoin                             0.00044396 Customer Transfer
 Confidential Customer Coin Transferee #4912    [Address on File]     5/24/2023 Bitcoin                             0.00863542 Customer Transfer
 Confidential Customer Coin Transferee #4912    [Address on File]     5/17/2023 Bitcoin                             0.00825191 Customer Transfer
 Confidential Customer Coin Transferee #4913    [Address on File]     6/20/2023 Bitcoin                             0.00924981 Customer Transfer
 Confidential Customer Coin Transferee #4914    [Address on File]     6/19/2023 Bitcoin                             0.00057862 Customer Transfer
 Confidential Customer Coin Transferee #4915    [Address on File]     6/20/2023 Bitcoin                             0.00050457 Customer Transfer
 Confidential Customer Coin Transferee #4916    [Address on File]     5/22/2023 Bitcoin                             0.02592795 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4916    [Address on File]     5/22/2023 Bitcoin                             0.02505181 Customer Transfer
 Confidential Customer Coin Transferee #4917    [Address on File]     6/16/2023 Bitcoin                             0.00119703 Customer Transfer
 Confidential Customer Coin Transferee #4918    [Address on File]     5/25/2023 Bitcoin                             0.01445093 Customer Transfer
 Confidential Customer Coin Transferee #4919    [Address on File]     5/16/2023 Bitcoin                             0.02509053 Customer Transfer
 Confidential Customer Coin Transferee #4919    [Address on File]     5/20/2023 Bitcoin                             0.01303768 Customer Transfer
 Confidential Customer Coin Transferee #4919    [Address on File]     5/27/2023 Bitcoin                             0.01302604 Customer Transfer
 Confidential Customer Coin Transferee #4920    [Address on File]     6/19/2023 Bitcoin                             0.00007765 Customer Transfer
 Confidential Customer Coin Transferee #4921    [Address on File]     5/26/2023 Bitcoin                             0.01110107 Customer Transfer
 Confidential Customer Coin Transferee #4921    [Address on File]     5/20/2023 Bitcoin                             0.01052216 Customer Transfer

 Confidential Customer Coin Transferee #4922    [Address on File]     5/16/2023 Cardano                                144.688462 Customer Transfer

 Confidential Customer Coin Transferee #4922    [Address on File]     5/16/2023 Cardano                                       120 Customer Transfer

 Confidential Customer Coin Transferee #4922    [Address on File]     5/16/2023 Solana                             6.964003001 Customer Transfer

 Confidential Customer Coin Transferee #4922    [Address on File]     5/16/2023 USD Coin                                 3.890338 Customer Transfer

 Confidential Customer Coin Transferee #4922    [Address on File]     5/16/2023 Avalanche CChain)                       1.8342926 Customer Transfer

 Confidential Customer Coin Transferee #4922    [Address on File]     5/16/2023 Litecoin                               1.78277245 Customer Transfer

 Confidential Customer Coin Transferee #4922    [Address on File]     5/16/2023 Ether                                  0.34192027 Customer Transfer

 Confidential Customer Coin Transferee #4922    [Address on File]     5/16/2023 Bitcoin                                0.00001846 Customer Transfer

 Confidential Customer Coin Transferee #4923    [Address on File]     5/16/2023 Avalanche CChain)                      2.49972317 Customer Transfer

 Confidential Customer Coin Transferee #4923    [Address on File]     5/16/2023 Ether                              0.040228317 Customer Transfer

 Confidential Customer Coin Transferee #4923    [Address on File]     5/16/2023 Bitcoin                                0.00083582 Customer Transfer

 Confidential Customer Coin Transferee #4923    [Address on File]     5/16/2023 Ether                              0.000054853 Customer Transfer
 Confidential Customer Coin Transferee #4924    [Address on File]     5/26/2023 Bitcoin                             0.02055101 Customer Transfer
 Confidential Customer Coin Transferee #4924    [Address on File]     5/19/2023 Bitcoin                             0.01954018 Customer Transfer
 Confidential Customer Coin Transferee #4925    [Address on File]     6/20/2023 Bitcoin                             0.00082139 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #4926    [Address on File]     5/26/2023 Bitcoin                             0.00003354 Customer Transfer
 Confidential Customer Coin Transferee #4927    [Address on File]     5/21/2023 Bitcoin                             0.02572407 Customer Transfer
 Confidential Customer Coin Transferee #4928    [Address on File]     6/19/2023 Bitcoin                              0.0003613 Customer Transfer
 Confidential Customer Coin Transferee #4929    [Address on File]     6/20/2023 Bitcoin                             0.00173245 Customer Transfer
 Confidential Customer Coin Transferee #4930    [Address on File]     5/22/2023 Bitcoin                             0.03528354 Customer Transfer
 Confidential Customer Coin Transferee #4931    [Address on File]     5/16/2023 Bitcoin                             0.00179411 Customer Transfer
 Confidential Customer Coin Transferee #4931    [Address on File]     6/20/2023 Bitcoin                             0.00171445 Customer Transfer
 Confidential Customer Coin Transferee #4931    [Address on File]     5/24/2023 Bitcoin                             0.00111077 Customer Transfer
 Confidential Customer Coin Transferee #4932    [Address on File]     6/19/2023 Bitcoin                             0.00117133 Customer Transfer
 Confidential Customer Coin Transferee #4933    [Address on File]     6/20/2023 Bitcoin                             0.00004322 Customer Transfer
 Confidential Customer Coin Transferee #4934    [Address on File]     6/20/2023 Bitcoin                             0.00104382 Customer Transfer
 Confidential Customer Coin Transferee #4935    [Address on File]     5/24/2023 Bitcoin                             0.06431435 Customer Transfer
 Confidential Customer Coin Transferee #4936    [Address on File]     6/19/2023 Bitcoin                             0.01834446 Customer Transfer
 Confidential Customer Coin Transferee #4937    [Address on File]     6/19/2023 Bitcoin                             0.00425856 Customer Transfer
 Confidential Customer Coin Transferee #4938    [Address on File]     6/12/2023 Bitcoin                             0.00966056 Customer Transfer
 Confidential Customer Coin Transferee #4938    [Address on File]      6/6/2023 Bitcoin                             0.00961922 Customer Transfer
 Confidential Customer Coin Transferee #4939    [Address on File]     5/25/2023 Bitcoin                             0.10971346 Customer Transfer
 Confidential Customer Coin Transferee #4940    [Address on File]     5/17/2023 Bitcoin                             0.03305991 Customer Transfer
 Confidential Customer Coin Transferee #4941    [Address on File]     5/29/2023 Bitcoin                             0.00705374 Customer Transfer
 Confidential Customer Coin Transferee #4941    [Address on File]     6/20/2023 Bitcoin                              0.0003905 Customer Transfer
 Confidential Customer Coin Transferee #4942    [Address on File]     5/25/2023 Bitcoin                             0.00304932 Customer Transfer
 Confidential Customer Coin Transferee #4942    [Address on File]      6/7/2023 Bitcoin                             0.00145778 Customer Transfer
 Confidential Customer Coin Transferee #4943    [Address on File]     5/23/2023 Bitcoin                             0.00903013 Customer Transfer
 Confidential Customer Coin Transferee #4944    [Address on File]     5/26/2023 Bitcoin                              0.0043525 Customer Transfer
 Confidential Customer Coin Transferee #4944    [Address on File]     5/19/2023 Bitcoin                             0.00427603 Customer Transfer
 Confidential Customer Coin Transferee #4945    [Address on File]     6/20/2023 Bitcoin                             0.00145266 Customer Transfer
 Confidential Customer Coin Transferee #4946    [Address on File]     5/31/2023 Bitcoin                             0.01002889 Customer Transfer
 Confidential Customer Coin Transferee #4947    [Address on File]     5/21/2023 Bitcoin                             0.01029412 Customer Transfer
 Confidential Customer Coin Transferee #4948    [Address on File]      6/6/2023 Bitcoin                             0.00009225 Customer Transfer
 Confidential Customer Coin Transferee #4949    [Address on File]     5/22/2023 Bitcoin                              0.0328945 Customer Transfer
 Confidential Customer Coin Transferee #4950    [Address on File]     6/12/2023 USD Coin                           491.2933009 Customer Transfer
 Confidential Customer Coin Transferee #4951    [Address on File]     5/24/2023 Bitcoin                              0.0025668 Customer Transfer
 Confidential Customer Coin Transferee #4951    [Address on File]     5/17/2023 Bitcoin                             0.00034637 Customer Transfer
 Confidential Customer Coin Transferee #4952    [Address on File]     5/18/2023 Bitcoin                             0.08360387 Customer Transfer
 Confidential Customer Coin Transferee #4953    [Address on File]     5/20/2023 Bitcoin                              0.0035508 Customer Transfer
 Confidential Customer Coin Transferee #4954    [Address on File]     6/19/2023 Bitcoin                             0.00032791 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4955    [Address on File]     5/27/2023 Bitcoin                              0.0132286 Customer Transfer
 Confidential Customer Coin Transferee #4955    [Address on File]     5/27/2023 Bitcoin                             0.01301735 Customer Transfer
 Confidential Customer Coin Transferee #4955    [Address on File]     5/27/2023 Bitcoin                             0.01072824 Customer Transfer
 Confidential Customer Coin Transferee #4955    [Address on File]     5/27/2023 Bitcoin                              0.0106342 Customer Transfer
 Confidential Customer Coin Transferee #4955    [Address on File]     5/27/2023 Bitcoin                             0.01054048 Customer Transfer
 Confidential Customer Coin Transferee #4956    [Address on File]     5/24/2023 Bitcoin                             0.01052866 Customer Transfer
 Confidential Customer Coin Transferee #4957    [Address on File]     6/13/2023 Bitcoin                              0.0678122 Customer Transfer
 Confidential Customer Coin Transferee #4958    [Address on File]     5/21/2023 Bitcoin                             0.00912482 Customer Transfer
 Confidential Customer Coin Transferee #4959    [Address on File]     6/19/2023 Bitcoin                             0.00948146 Customer Transfer
 Confidential Customer Coin Transferee #4960    [Address on File]     5/27/2023 Bitcoin                             0.00647799 Customer Transfer
 Confidential Customer Coin Transferee #4960    [Address on File]     5/20/2023 Bitcoin                             0.00613698 Customer Transfer
 Confidential Customer Coin Transferee #4961    [Address on File]     5/19/2023 Bitcoin                             0.01047094 Customer Transfer
 Confidential Customer Coin Transferee #4962    [Address on File]     6/20/2023 Bitcoin                             0.00268861 Customer Transfer
 Confidential Customer Coin Transferee #4963    [Address on File]     6/19/2023 Bitcoin                                0.000043 Customer Transfer
 Confidential Customer Coin Transferee #4964    [Address on File]     5/26/2023 Bitcoin                             0.09745342 Customer Transfer
 Confidential Customer Coin Transferee #4964    [Address on File]     5/26/2023 Bitcoin                             0.01063554 Customer Transfer
 Confidential Customer Coin Transferee #4965    [Address on File]     6/20/2023 Bitcoin                             0.00200247 Customer Transfer
 Confidential Customer Coin Transferee #4966    [Address on File]     5/23/2023 Bitcoin                             0.00090123 Customer Transfer
 Confidential Customer Coin Transferee #4967    [Address on File]     5/27/2023 Bitcoin                             0.00033615 Customer Transfer
 Confidential Customer Coin Transferee #4968    [Address on File]     6/20/2023 Bitcoin                             0.00023626 Customer Transfer
 Confidential Customer Coin Transferee #4969    [Address on File]     6/20/2023 Bitcoin                             0.00011636 Customer Transfer
 Confidential Customer Coin Transferee #4970    [Address on File]     5/17/2023 Bitcoin                             0.01124783 Customer Transfer
 Confidential Customer Coin Transferee #4971    [Address on File]     6/19/2023 Bitcoin                             0.00225125 Customer Transfer
 Confidential Customer Coin Transferee #4972    [Address on File]     6/16/2023 Bitcoin                             0.00300766 Customer Transfer
 Confidential Customer Coin Transferee #4973    [Address on File]     5/26/2023 Bitcoin                             0.00515546 Customer Transfer
 Confidential Customer Coin Transferee #4973    [Address on File]     5/19/2023 Bitcoin                             0.00275555 Customer Transfer
 Confidential Customer Coin Transferee #4973    [Address on File]     5/27/2023 Bitcoin                             0.00219917 Customer Transfer
 Confidential Customer Coin Transferee #4973    [Address on File]     5/29/2023 Bitcoin                             0.00075303 Customer Transfer
 Confidential Customer Coin Transferee #4974    [Address on File]     5/28/2023 Bitcoin                             0.01110274 Customer Transfer
 Confidential Customer Coin Transferee #4975    [Address on File]     5/25/2023 Bitcoin                             0.01826881 Customer Transfer
 Confidential Customer Coin Transferee #4976    [Address on File]     6/19/2023 USD Coin                             95.594098 Customer Transfer
 Confidential Customer Coin Transferee #4977    [Address on File]     5/19/2023 Bitcoin                             0.00339447 Customer Transfer
 Confidential Customer Coin Transferee #4978    [Address on File]     6/20/2023 Bitcoin                             0.00356766 Customer Transfer
 Confidential Customer Coin Transferee #4979    [Address on File]     5/24/2023 Bitcoin                             0.03599376 Customer Transfer
 Confidential Customer Coin Transferee #4979    [Address on File]     5/29/2023 Bitcoin                                 0.00358 Customer Transfer
 Confidential Customer Coin Transferee #4980    [Address on File]     6/20/2023 Bitcoin                             0.00661492 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #4981    [Address on File]     5/23/2023 Bitcoin                             0.06835317 Customer Transfer
 Confidential Customer Coin Transferee #4981    [Address on File]     5/16/2023 Bitcoin                             0.06695109 Customer Transfer
 Confidential Customer Coin Transferee #4982    [Address on File]     6/19/2023 Bitcoin                             0.00846865 Customer Transfer
 Confidential Customer Coin Transferee #4983    [Address on File]     5/23/2023 Bitcoin                             0.01050678 Customer Transfer
 Confidential Customer Coin Transferee #4984    [Address on File]     6/19/2023 Bitcoin                             0.00046502 Customer Transfer
 Confidential Customer Coin Transferee #4985    [Address on File]     5/22/2023 Bitcoin                             0.00110729 Customer Transfer
 Confidential Customer Coin Transferee #4986    [Address on File]     5/26/2023 Bitcoin                             0.00141833 Customer Transfer
 Confidential Customer Coin Transferee #4987    [Address on File]     5/26/2023 Bitcoin                             0.00779176 Customer Transfer
 Confidential Customer Coin Transferee #4987    [Address on File]     5/19/2023 Bitcoin                             0.00707525 Customer Transfer
 Confidential Customer Coin Transferee #4988    [Address on File]     5/19/2023 Bitcoin                             0.01084476 Customer Transfer
 Confidential Customer Coin Transferee #4989    [Address on File]     5/25/2023 Bitcoin                             0.00019047 Customer Transfer
 Confidential Customer Coin Transferee #4989    [Address on File]     5/19/2023 Bitcoin                             0.00017587 Customer Transfer
 Confidential Customer Coin Transferee #4989    [Address on File]     5/23/2023 Bitcoin                             0.00014774 Customer Transfer
 Confidential Customer Coin Transferee #4989    [Address on File]     5/30/2023 Bitcoin                              0.0001429 Customer Transfer
 Confidential Customer Coin Transferee #4989    [Address on File]     5/23/2023 Bitcoin                             0.00011043 Customer Transfer
 Confidential Customer Coin Transferee #4989    [Address on File]     5/17/2023 Bitcoin                             0.00010008 Customer Transfer
 Confidential Customer Coin Transferee #4989    [Address on File]     5/16/2023 Bitcoin                             0.00007337 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/24/2023 Bitcoin                             0.00185748 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/16/2023 Bitcoin                             0.00128942 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/28/2023 Bitcoin                             0.00110099 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/23/2023 Bitcoin                             0.00109373 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/26/2023 Bitcoin                             0.00094105 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/21/2023 Bitcoin                             0.00092779 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/19/2023 Bitcoin                             0.00092595 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/23/2023 Bitcoin                             0.00091829 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/21/2023 Bitcoin                              0.0009173 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/18/2023 Bitcoin                             0.00090769 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/22/2023 Bitcoin                             0.00088938 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/21/2023 Bitcoin                             0.00084133 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/16/2023 Bitcoin                                0.000735 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/31/2023 Bitcoin                             0.00071852 Customer Transfer
 Confidential Customer Coin Transferee #4990    [Address on File]     5/30/2023 Bitcoin                             0.00050148 Customer Transfer
 Confidential Customer Coin Transferee #4991    [Address on File]     5/20/2023 Bitcoin                             0.00073091 Customer Transfer

 Confidential Customer Coin Transferee #4992    [Address on File]     6/13/2023 Tether USD                             655.7556 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #4992    [Address on File]     5/19/2023 Tether USD                                  592.49 Customer Transfer
 Confidential Customer Coin Transferee #4993    [Address on File]     6/20/2023 Bitcoin                                0.00005803 Customer Transfer
 Confidential Customer Coin Transferee #4994    [Address on File]     5/17/2023 Bitcoin                                0.03883789 Customer Transfer
 Confidential Customer Coin Transferee #4995    [Address on File]     6/15/2023 Bitcoin                                0.00185445 Customer Transfer
 Confidential Customer Coin Transferee #4995    [Address on File]     5/22/2023 Bitcoin                                0.00157714 Customer Transfer
 Confidential Customer Coin Transferee #4996    [Address on File]     5/20/2023 Bitcoin                                      0.003 Customer Transfer
 Confidential Customer Coin Transferee #4997    [Address on File]     5/19/2023 Bitcoin                                0.00371065 Customer Transfer

 Confidential Customer Coin Transferee #4998    [Address on File]     5/21/2023 Bitcoin                                      0.17 Customer Transfer

 Confidential Customer Coin Transferee #4998    [Address on File]     5/21/2023 Bitcoin                                       0.05 Customer Transfer
 Confidential Customer Coin Transferee #4999    [Address on File]     5/27/2023 Bitcoin                                0.00547641 Customer Transfer
 Confidential Customer Coin Transferee #4999    [Address on File]     5/17/2023 Bitcoin                                0.00273267 Customer Transfer
 Confidential Customer Coin Transferee #5000    [Address on File]     5/17/2023 Bitcoin                                0.15423298 Customer Transfer
 Confidential Customer Coin Transferee #5000    [Address on File]     5/22/2023 Bitcoin                                0.01481539 Customer Transfer
 Confidential Customer Coin Transferee #5000    [Address on File]     5/22/2023 Bitcoin                                0.01479803 Customer Transfer
 Confidential Customer Coin Transferee #5000    [Address on File]     5/25/2023 Bitcoin                                0.01329546 Customer Transfer
 Confidential Customer Coin Transferee #5000    [Address on File]     5/28/2023 Bitcoin                                0.01095969 Customer Transfer
 Confidential Customer Coin Transferee #5000    [Address on File]     5/29/2023 Bitcoin                                0.00716959 Customer Transfer
 Confidential Customer Coin Transferee #5001    [Address on File]     5/25/2023 Bitcoin                                0.01477505 Customer Transfer
 Confidential Customer Coin Transferee #5002    [Address on File]     5/29/2023 Bitcoin                                0.02318155 Customer Transfer
 Confidential Customer Coin Transferee #5002    [Address on File]     5/20/2023 Bitcoin                                0.01707338 Customer Transfer
 Confidential Customer Coin Transferee #5002    [Address on File]     5/17/2023 Bitcoin                                0.01187175 Customer Transfer
 Confidential Customer Coin Transferee #5003    [Address on File]     5/25/2023 Bitcoin                                0.00091007 Customer Transfer
 Confidential Customer Coin Transferee #5004    [Address on File]     6/20/2023 Bitcoin                                0.00006042 Customer Transfer
 Confidential Customer Coin Transferee #5005    [Address on File]      6/9/2023 Bitcoin                                0.00250884 Customer Transfer
 Confidential Customer Coin Transferee #5005    [Address on File]      6/9/2023 Bitcoin                                0.00178205 Customer Transfer
 Confidential Customer Coin Transferee #5005    [Address on File]     6/10/2023 Bitcoin                                0.00136899 Customer Transfer

 Confidential Customer Coin Transferee #5006    [Address on File]     5/26/2023 Litecoin                               0.06241331 Customer Transfer

 Confidential Customer Coin Transferee #5006    [Address on File]     5/26/2023 Ether                                  0.00297834 Customer Transfer

 Confidential Customer Coin Transferee #5006    [Address on File]     5/26/2023 Bitcoin                                0.00163623 Customer Transfer
 Confidential Customer Coin Transferee #5007    [Address on File]     5/24/2023 Bitcoin                                0.00933959 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5007    [Address on File]     5/19/2023 Bitcoin                             0.00814618 Customer Transfer
 Confidential Customer Coin Transferee #5007    [Address on File]     5/28/2023 Bitcoin                             0.00744766 Customer Transfer
 Confidential Customer Coin Transferee #5007    [Address on File]     5/16/2023 Bitcoin                                0.006055 Customer Transfer
 Confidential Customer Coin Transferee #5008    [Address on File]     5/24/2023 Bitcoin                              0.0029725 Customer Transfer
 Confidential Customer Coin Transferee #5008    [Address on File]     5/20/2023 Bitcoin                             0.00144196 Customer Transfer
 Confidential Customer Coin Transferee #5009    [Address on File]     6/20/2023 Bitcoin                             0.00018945 Customer Transfer
 Confidential Customer Coin Transferee #5010    [Address on File]     6/19/2023 Bitcoin                             0.00365635 Customer Transfer
 Confidential Customer Coin Transferee #5011    [Address on File]     6/20/2023 Bitcoin                             0.01532234 Customer Transfer
 Confidential Customer Coin Transferee #5011    [Address on File]     5/22/2023 Bitcoin                             0.01210125 Customer Transfer
 Confidential Customer Coin Transferee #5012    [Address on File]     5/16/2023 Bitcoin                                    0.069 Customer Transfer
 Confidential Customer Coin Transferee #5012    [Address on File]     5/16/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #5013    [Address on File]     6/19/2023 Bitcoin                             0.00082753 Customer Transfer
 Confidential Customer Coin Transferee #5014    [Address on File]     6/19/2023 Bitcoin                             0.00579007 Customer Transfer
 Confidential Customer Coin Transferee #5015    [Address on File]     6/20/2023 Bitcoin                              0.0484351 Customer Transfer
 Confidential Customer Coin Transferee #5016    [Address on File]     6/20/2023 Bitcoin                             0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #5017    [Address on File]     6/20/2023 Bitcoin                             0.00474821 Customer Transfer
 Confidential Customer Coin Transferee #5018    [Address on File]     6/20/2023 Bitcoin                              0.0014828 Customer Transfer
 Confidential Customer Coin Transferee #5019    [Address on File]     6/20/2023 Bitcoin                             0.00163737 Customer Transfer
 Confidential Customer Coin Transferee #5020    [Address on File]     5/25/2023 Bitcoin                             0.02510841 Customer Transfer
 Confidential Customer Coin Transferee #5021    [Address on File]     6/20/2023 Bitcoin                             0.01703942 Customer Transfer
 Confidential Customer Coin Transferee #5022    [Address on File]     5/19/2023 Bitcoin                             0.06130487 Customer Transfer
 Confidential Customer Coin Transferee #5023    [Address on File]     5/27/2023 Bitcoin                             0.01045529 Customer Transfer
 Confidential Customer Coin Transferee #5024    [Address on File]     5/19/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #5025    [Address on File]     5/30/2023 Bitcoin                             0.00035849 Customer Transfer

 Confidential Customer Coin Transferee #5026    [Address on File]     5/24/2023 Bitcoin                                0.04457242 Customer Transfer
 Confidential Customer Coin Transferee #5027    [Address on File]     6/19/2023 Bitcoin                                0.00055755 Customer Transfer
 Confidential Customer Coin Transferee #5028    [Address on File]      6/9/2023 Bitcoin                                0.01600752 Customer Transfer
 Confidential Customer Coin Transferee #5028    [Address on File]     6/20/2023 Bitcoin                                0.00647498 Customer Transfer
 Confidential Customer Coin Transferee #5029    [Address on File]     6/19/2023 Bitcoin                                0.00048232 Customer Transfer
 Confidential Customer Coin Transferee #5030    [Address on File]     6/19/2023 Bitcoin                                 0.0000581 Customer Transfer
 Confidential Customer Coin Transferee #5031    [Address on File]     5/20/2023 Bitcoin                                0.01076931 Customer Transfer

 Confidential Customer Coin Transferee #5032    [Address on File]      6/8/2023 Bitcoin                                   0.01015 Customer Transfer

 Confidential Customer Coin Transferee #5033    [Address on File]      6/1/2023 USDC Avalanche)                         38.290854 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #5033    [Address on File]      6/1/2023 USDC Avalanche)                         33.443278 Customer Transfer
 Confidential Customer Coin Transferee #5034    [Address on File]     5/18/2023 USDC Avalanche)                        483.779732 Customer Transfer
 Confidential Customer Coin Transferee #5035    [Address on File]     5/27/2023 Bitcoin                                        0.21 Customer Transfer
 Confidential Customer Coin Transferee #5035    [Address on File]     5/28/2023 Bitcoin                                       0.045 Customer Transfer
 Confidential Customer Coin Transferee #5035    [Address on File]     5/28/2023 Bitcoin                                       0.012 Customer Transfer
 Confidential Customer Coin Transferee #5035    [Address on File]     5/30/2023 Bitcoin                                        0.01 Customer Transfer
 Confidential Customer Coin Transferee #5035    [Address on File]     5/27/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #5035    [Address on File]     5/28/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #5036    [Address on File]     5/23/2023 Bitcoin                                0.18276104 Customer Transfer
 Confidential Customer Coin Transferee #5037    [Address on File]     5/20/2023 Bitcoin                                0.07246511 Customer Transfer
 Confidential Customer Coin Transferee #5038    [Address on File]     5/30/2023 Bitcoin                                   0.001074 Customer Transfer

 Confidential Customer Coin Transferee #5039    [Address on File]     5/31/2023 Bitcoin                                0.00379249 Customer Transfer
 Confidential Customer Coin Transferee #5040    [Address on File]     5/28/2023 Bitcoin                                0.01105388 Customer Transfer
 Confidential Customer Coin Transferee #5040    [Address on File]     5/19/2023 Bitcoin                                 0.0104123 Customer Transfer
 Confidential Customer Coin Transferee #5041    [Address on File]      6/9/2023 Bitcoin                                0.00776169 Customer Transfer
 Confidential Customer Coin Transferee #5042    [Address on File]     6/20/2023 Bitcoin                                0.00061504 Customer Transfer
 Confidential Customer Coin Transferee #5043    [Address on File]     6/19/2023 Bitcoin                                0.00003637 Customer Transfer
 Confidential Customer Coin Transferee #5044    [Address on File]     5/27/2023 Bitcoin                                0.12047135 Customer Transfer
 Confidential Customer Coin Transferee #5045    [Address on File]     5/30/2023 Bitcoin                                      0.215 Customer Transfer
 Confidential Customer Coin Transferee #5046    [Address on File]     6/13/2023 Bitcoin                                0.02109733 Customer Transfer
 Confidential Customer Coin Transferee #5046    [Address on File]     6/15/2023 Bitcoin                                0.00513953 Customer Transfer
 Confidential Customer Coin Transferee #5047    [Address on File]     6/19/2023 Bitcoin                                0.00073478 Customer Transfer

 Confidential Customer Coin Transferee #5048    [Address on File]     5/18/2023 Bitcoin                                0.02562614 Customer Transfer

 Confidential Customer Coin Transferee #5048    [Address on File]     5/18/2023 Bitcoin                                0.00003677 Customer Transfer
 Confidential Customer Coin Transferee #5049    [Address on File]     6/19/2023 Bitcoin                                0.00057825 Customer Transfer
 Confidential Customer Coin Transferee #5050    [Address on File]     5/30/2023 Bitcoin                                0.06387526 Customer Transfer
 Confidential Customer Coin Transferee #5050    [Address on File]     5/27/2023 Bitcoin                                0.05593612 Customer Transfer
 Confidential Customer Coin Transferee #5050    [Address on File]     5/30/2023 Bitcoin                                0.02438051 Customer Transfer
 Confidential Customer Coin Transferee #5050    [Address on File]     5/31/2023 Bitcoin                                0.02427016 Customer Transfer
 Confidential Customer Coin Transferee #5050    [Address on File]     5/29/2023 Bitcoin                                0.02316276 Customer Transfer
 Confidential Customer Coin Transferee #5050    [Address on File]     5/20/2023 Bitcoin                                 0.0227678 Customer Transfer
 Confidential Customer Coin Transferee #5050    [Address on File]     5/16/2023 Bitcoin                                 0.0162322 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5050    [Address on File]     5/30/2023 Bitcoin                             0.00807649 Customer Transfer
 Confidential Customer Coin Transferee #5050    [Address on File]     5/27/2023 Bitcoin                             0.00299178 Customer Transfer
 Confidential Customer Coin Transferee #5050    [Address on File]     5/31/2023 Bitcoin                             0.00172763 Customer Transfer
 Confidential Customer Coin Transferee #5051    [Address on File]     5/31/2023 Bitcoin                             0.10735255 Customer Transfer
 Confidential Customer Coin Transferee #5051    [Address on File]     5/31/2023 Bitcoin                             0.10322588 Customer Transfer

 Confidential Customer Coin Transferee #5052    [Address on File]     6/10/2023 Tether USD                               367.3175 Customer Transfer
 Confidential Customer Coin Transferee #5053    [Address on File]     6/20/2023 Bitcoin                                0.00012821 Customer Transfer
 Confidential Customer Coin Transferee #5054    [Address on File]      6/7/2023 Tether USD                                 2676.67 Customer Transfer
 Confidential Customer Coin Transferee #5055    [Address on File]     5/17/2023 Bitcoin                                 0.0014624 Customer Transfer
 Confidential Customer Coin Transferee #5055    [Address on File]     5/16/2023 Bitcoin                                0.00144459 Customer Transfer
 Confidential Customer Coin Transferee #5055    [Address on File]     5/17/2023 Bitcoin                                0.00138528 Customer Transfer
 Confidential Customer Coin Transferee #5055    [Address on File]     5/18/2023 Bitcoin                                0.00099793 Customer Transfer
 Confidential Customer Coin Transferee #5056    [Address on File]     5/23/2023 Bitcoin                                0.01746668 Customer Transfer
 Confidential Customer Coin Transferee #5056    [Address on File]     5/16/2023 Bitcoin                                0.01039174 Customer Transfer
 Confidential Customer Coin Transferee #5057    [Address on File]     5/26/2023 Bitcoin                                0.00376117 Customer Transfer
 Confidential Customer Coin Transferee #5058    [Address on File]     6/19/2023 Bitcoin                                0.00037828 Customer Transfer

 Confidential Customer Coin Transferee #5059    [Address on File]     5/27/2023 Bitcoin                                0.01864512 Customer Transfer

 Confidential Customer Coin Transferee #5059    [Address on File]     5/20/2023 Bitcoin                                0.00443139 Customer Transfer

 Confidential Customer Coin Transferee #5059    [Address on File]     5/24/2023 Bitcoin                                0.00340161 Customer Transfer

 Confidential Customer Coin Transferee #5059    [Address on File]     5/22/2023 Bitcoin                                0.00203629 Customer Transfer

 Confidential Customer Coin Transferee #5059    [Address on File]     5/16/2023 Bitcoin                                0.00182302 Customer Transfer
 Confidential Customer Coin Transferee #5060    [Address on File]     5/17/2023 Bitcoin                                0.01207477 Customer Transfer
 Confidential Customer Coin Transferee #5061    [Address on File]     5/25/2023 Bitcoin                                0.00060485 Customer Transfer
 Confidential Customer Coin Transferee #5062    [Address on File]     5/19/2023 Bitcoin                                0.00398624 Customer Transfer
 Confidential Customer Coin Transferee #5063    [Address on File]     5/30/2023 Bitcoin                                0.01076989 Customer Transfer
 Confidential Customer Coin Transferee #5063    [Address on File]     5/30/2023 Bitcoin                                0.01043539 Customer Transfer
 Confidential Customer Coin Transferee #5063    [Address on File]     5/30/2023 Bitcoin                                0.01043051 Customer Transfer
 Confidential Customer Coin Transferee #5063    [Address on File]     5/30/2023 Bitcoin                                 0.0103424 Customer Transfer
 Confidential Customer Coin Transferee #5063    [Address on File]     5/30/2023 Bitcoin                                0.01031116 Customer Transfer
 Confidential Customer Coin Transferee #5063    [Address on File]     5/30/2023 Bitcoin                                0.00921731 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5064    [Address on File]     5/23/2023 Bitcoin                             0.01051252 Customer Transfer
 Confidential Customer Coin Transferee #5065    [Address on File]     6/20/2023 Bitcoin                             0.00032574 Customer Transfer
 Confidential Customer Coin Transferee #5066    [Address on File]     5/17/2023 Bitcoin                             0.00530268 Customer Transfer
 Confidential Customer Coin Transferee #5067    [Address on File]     6/20/2023 Bitcoin                             0.00591827 Customer Transfer
 Confidential Customer Coin Transferee #5068    [Address on File]     5/17/2023 Bitcoin                             0.07817104 Customer Transfer
 Confidential Customer Coin Transferee #5069    [Address on File]     6/19/2023 Bitcoin                             0.00297247 Customer Transfer
 Confidential Customer Coin Transferee #5070    [Address on File]     6/20/2023 Bitcoin                             0.00160459 Customer Transfer
 Confidential Customer Coin Transferee #5071    [Address on File]      6/5/2023 Bitcoin                             0.00147302 Customer Transfer
 Confidential Customer Coin Transferee #5072    [Address on File]     6/20/2023 Bitcoin                             0.00053841 Customer Transfer
 Confidential Customer Coin Transferee #5073    [Address on File]     5/29/2023 Bitcoin                             0.01024303 Customer Transfer
 Confidential Customer Coin Transferee #5074    [Address on File]     5/23/2023 Bitcoin                             0.01014394 Customer Transfer
 Confidential Customer Coin Transferee #5075    [Address on File]     6/20/2023 Bitcoin                             0.00277581 Customer Transfer
 Confidential Customer Coin Transferee #5076    [Address on File]     6/20/2023 Bitcoin                              0.0000769 Customer Transfer
 Confidential Customer Coin Transferee #5077    [Address on File]     5/30/2023 Bitcoin                             0.00109077 Customer Transfer
 Confidential Customer Coin Transferee #5077    [Address on File]     6/20/2023 Bitcoin                             0.00073271 Customer Transfer
 Confidential Customer Coin Transferee #5077    [Address on File]     5/16/2023 Bitcoin                             0.00036377 Customer Transfer

 Confidential Customer Coin Transferee #5078    [Address on File]     5/24/2023 Bitcoin                                0.00778775 Customer Transfer

 Confidential Customer Coin Transferee #5078    [Address on File]     5/17/2023 Bitcoin                                0.00772205 Customer Transfer
 Confidential Customer Coin Transferee #5079    [Address on File]     5/19/2023 Bitcoin                                0.03373941 Customer Transfer
 Confidential Customer Coin Transferee #5080    [Address on File]     5/17/2023 Bitcoin                                0.00148481 Customer Transfer
 Confidential Customer Coin Transferee #5080    [Address on File]     5/27/2023 Bitcoin                                0.00074606 Customer Transfer
 Confidential Customer Coin Transferee #5080    [Address on File]     5/19/2023 Bitcoin                                0.00074182 Customer Transfer
 Confidential Customer Coin Transferee #5081    [Address on File]     5/18/2023 Bitcoin                                0.00252788 Customer Transfer
 Confidential Customer Coin Transferee #5081    [Address on File]     5/27/2023 Bitcoin                                0.00252721 Customer Transfer
 Confidential Customer Coin Transferee #5081    [Address on File]     5/31/2023 Bitcoin                                0.00183328 Customer Transfer
 Confidential Customer Coin Transferee #5081    [Address on File]     5/19/2023 Bitcoin                                0.00129345 Customer Transfer
 Confidential Customer Coin Transferee #5081    [Address on File]     5/19/2023 Bitcoin                                0.00121971 Customer Transfer
 Confidential Customer Coin Transferee #5082    [Address on File]     6/12/2023 Bitcoin                                0.00075718 Customer Transfer
 Confidential Customer Coin Transferee #5083    [Address on File]     5/19/2023 Bitcoin                                 0.0036943 Customer Transfer
 Confidential Customer Coin Transferee #5084    [Address on File]     5/27/2023 Bitcoin                                0.00253324 Customer Transfer
 Confidential Customer Coin Transferee #5084    [Address on File]     5/30/2023 Bitcoin                                0.00200629 Customer Transfer
 Confidential Customer Coin Transferee #5084    [Address on File]     5/29/2023 Bitcoin                                0.00187027 Customer Transfer
 Confidential Customer Coin Transferee #5085    [Address on File]     6/20/2023 Bitcoin                                0.00026246 Customer Transfer
 Confidential Customer Coin Transferee #5086    [Address on File]     5/25/2023 Bitcoin                                0.01110068 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5087    [Address on File]     5/29/2023 Bitcoin                             0.00044805 Customer Transfer
 Confidential Customer Coin Transferee #5088    [Address on File]     6/20/2023 Bitcoin                             0.00203359 Customer Transfer
 Confidential Customer Coin Transferee #5089    [Address on File]     5/20/2023 Bitcoin                             0.01777938 Customer Transfer
 Confidential Customer Coin Transferee #5090    [Address on File]     5/17/2023 Bitcoin                             0.01373074 Customer Transfer
 Confidential Customer Coin Transferee #5091    [Address on File]     5/29/2023 Bitcoin                             0.03011655 Customer Transfer
 Confidential Customer Coin Transferee #5091    [Address on File]     6/17/2023 Bitcoin                             0.00388083 Customer Transfer
 Confidential Customer Coin Transferee #5092    [Address on File]     5/26/2023 Bitcoin                             0.11143861 Customer Transfer
 Confidential Customer Coin Transferee #5092    [Address on File]     5/19/2023 Bitcoin                             0.05410082 Customer Transfer
 Confidential Customer Coin Transferee #5093    [Address on File]     5/23/2023 Bitcoin                             0.10492441 Customer Transfer
 Confidential Customer Coin Transferee #5093    [Address on File]     5/24/2023 Bitcoin                              0.0756329 Customer Transfer
 Confidential Customer Coin Transferee #5093    [Address on File]     5/17/2023 Bitcoin                             0.05681669 Customer Transfer
 Confidential Customer Coin Transferee #5093    [Address on File]     5/21/2023 Bitcoin                             0.01328347 Customer Transfer
 Confidential Customer Coin Transferee #5093    [Address on File]     5/24/2023 Bitcoin                             0.00713675 Customer Transfer
 Confidential Customer Coin Transferee #5093    [Address on File]     5/17/2023 Bitcoin                                0.001553 Customer Transfer
 Confidential Customer Coin Transferee #5093    [Address on File]     5/23/2023 Bitcoin                             0.00120658 Customer Transfer
 Confidential Customer Coin Transferee #5093    [Address on File]     5/16/2023 Bitcoin                             0.00044165 Customer Transfer
 Confidential Customer Coin Transferee #5094    [Address on File]     5/18/2023 Bitcoin                             0.02748535 Customer Transfer
 Confidential Customer Coin Transferee #5095    [Address on File]     5/18/2023 Bitcoin                             0.00090795 Customer Transfer
 Confidential Customer Coin Transferee #5096    [Address on File]     5/21/2023 Bitcoin                             0.01513291 Customer Transfer
 Confidential Customer Coin Transferee #5096    [Address on File]     5/29/2023 Bitcoin                             0.01390775 Customer Transfer
 Confidential Customer Coin Transferee #5097    [Address on File]     5/27/2023 Bitcoin                             0.00018282 Customer Transfer
 Confidential Customer Coin Transferee #5098    [Address on File]     5/24/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #5099    [Address on File]     5/19/2023 Litecoin                                     1.3 Customer Transfer
 Confidential Customer Coin Transferee #5100    [Address on File]     5/28/2023 Bitcoin                             0.05885426 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/18/2023 Bitcoin                             0.00091319 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/18/2023 Bitcoin                             0.00089427 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/22/2023 Bitcoin                                0.000768 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/18/2023 Bitcoin                             0.00044115 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/21/2023 Bitcoin                             0.00043171 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/21/2023 Bitcoin                             0.00036759 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/23/2023 Bitcoin                             0.00036469 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/27/2023 Bitcoin                             0.00035222 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/27/2023 Bitcoin                             0.00024877 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/22/2023 Bitcoin                                 0.00021 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/23/2023 Bitcoin                             0.00020863 Customer Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/19/2023 Bitcoin                                0.000199 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5101    [Address on File]     5/22/2023 Bitcoin                              0.0001601 Customer Transfer
 Confidential Customer Coin Transferee #5102    [Address on File]     5/24/2023 Bitcoin                             0.01140154 Customer Transfer
 Confidential Customer Coin Transferee #5102    [Address on File]     5/29/2023 Bitcoin                             0.01079644 Customer Transfer
 Confidential Customer Coin Transferee #5103    [Address on File]     5/29/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #5103    [Address on File]     5/30/2023 Bitcoin                                    0.108 Customer Transfer
 Confidential Customer Coin Transferee #5103    [Address on File]     5/29/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #5104    [Address on File]     5/28/2023 Bitcoin                                 0.00036 Customer Transfer
 Confidential Customer Coin Transferee #5105    [Address on File]     5/30/2023 Bitcoin                              0.0033159 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/30/2023 Bitcoin                              0.0197532 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/17/2023 Bitcoin                             0.01816769 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/17/2023 Bitcoin                             0.01174047 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/25/2023 Bitcoin                             0.00978126 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/16/2023 Bitcoin                             0.00923902 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/26/2023 Bitcoin                              0.0074293 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/16/2023 Bitcoin                             0.00649615 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/25/2023 Bitcoin                             0.00379068 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/24/2023 Bitcoin                             0.00378744 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/24/2023 Bitcoin                             0.00377871 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/26/2023 Bitcoin                             0.00371396 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/21/2023 Bitcoin                             0.00371354 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/22/2023 Bitcoin                             0.00370232 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/16/2023 Bitcoin                             0.00368745 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/16/2023 Bitcoin                             0.00367814 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/30/2023 Bitcoin                             0.00363148 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/18/2023 Bitcoin                             0.00334554 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/31/2023 Bitcoin                             0.00330324 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/24/2023 Bitcoin                             0.00189073 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/25/2023 Bitcoin                             0.00188316 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/24/2023 Bitcoin                             0.00186257 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/16/2023 Bitcoin                             0.00183583 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/18/2023 Bitcoin                             0.00122551 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/30/2023 Bitcoin                             0.00118894 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/25/2023 Bitcoin                             0.00083747 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/24/2023 Bitcoin                             0.00078619 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/24/2023 Bitcoin                             0.00075639 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/31/2023 Bitcoin                             0.00055143 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/19/2023 Bitcoin                             0.00040835 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/18/2023 Bitcoin                             0.00037181 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/21/2023 Bitcoin                             0.00036789 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/26/2023 Bitcoin                             0.00029256 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/22/2023 Bitcoin                             0.00022759 Customer Transfer
 Confidential Customer Coin Transferee #5106    [Address on File]     5/18/2023 Bitcoin                             0.00007284 Customer Transfer
 Confidential Customer Coin Transferee #5107    [Address on File]     5/26/2023 Bitcoin                             0.00044509 Customer Transfer
 Confidential Customer Coin Transferee #5107    [Address on File]     5/19/2023 Bitcoin                             0.00041477 Customer Transfer
 Confidential Customer Coin Transferee #5108    [Address on File]     6/20/2023 Bitcoin                             0.00005952 Customer Transfer
 Confidential Customer Coin Transferee #5109    [Address on File]      6/4/2023 Solana                                5.521797 Customer Transfer
 Confidential Customer Coin Transferee #5110    [Address on File]     5/17/2023 Bitcoin                             0.02917662 Customer Transfer
 Confidential Customer Coin Transferee #5110    [Address on File]     5/21/2023 Bitcoin                             0.01295281 Customer Transfer
 Confidential Customer Coin Transferee #5110    [Address on File]     5/25/2023 Bitcoin                             0.01262645 Customer Transfer
 Confidential Customer Coin Transferee #5111    [Address on File]     6/19/2023 Bitcoin                             0.00060256 Customer Transfer
 Confidential Customer Coin Transferee #5112    [Address on File]     6/20/2023 Bitcoin                              0.0035313 Customer Transfer
 Confidential Customer Coin Transferee #5113    [Address on File]     5/27/2023 Bitcoin                             0.00069425 Customer Transfer
 Confidential Customer Coin Transferee #5114    [Address on File]      6/7/2023 USDC Avalanche)                      37.495001 Customer Transfer
 Confidential Customer Coin Transferee #5114    [Address on File]      6/6/2023 Ether                                  0.272181 Customer Transfer
 Confidential Customer Coin Transferee #5115    [Address on File]     6/19/2023 Bitcoin                             0.00065519 Customer Transfer
 Confidential Customer Coin Transferee #5116    [Address on File]     6/20/2023 Bitcoin                             0.00005835 Customer Transfer
 Confidential Customer Coin Transferee #5117    [Address on File]     6/19/2023 Bitcoin                             0.00201394 Customer Transfer
 Confidential Customer Coin Transferee #5118    [Address on File]     5/30/2023 Bitcoin                             0.02561815 Customer Transfer
 Confidential Customer Coin Transferee #5118    [Address on File]     5/17/2023 Bitcoin                             0.01553954 Customer Transfer
 Confidential Customer Coin Transferee #5119    [Address on File]     5/19/2023 Bitcoin                             0.01805402 Customer Transfer
 Confidential Customer Coin Transferee #5120    [Address on File]     5/19/2023 Bitcoin                             0.10412692 Customer Transfer
 Confidential Customer Coin Transferee #5121    [Address on File]     6/19/2023 Bitcoin                             0.00086167 Customer Transfer

 Confidential Customer Coin Transferee #5122    [Address on File]     5/22/2023 Bitcoin                                0.09198098 Customer Transfer
 Confidential Customer Coin Transferee #5123    [Address on File]     5/27/2023 Bitcoin                                0.03408652 Customer Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/17/2023 Bitcoin                                0.00145183 Customer Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/20/2023 Bitcoin                                0.00129243 Customer Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/25/2023 Bitcoin                                0.00113892 Customer Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/24/2023 Bitcoin                                0.00113095 Customer Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/26/2023 Bitcoin                                0.00112888 Customer Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/25/2023 Bitcoin                                0.00112766 Customer Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/27/2023 Bitcoin                                0.00111578 Customer Transfer


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                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/26/2023 Bitcoin                             0.00111454 Customer Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/26/2023 Bitcoin                              0.0011127 Customer Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/31/2023 Bitcoin                             0.00110077 Customer Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/30/2023 Bitcoin                             0.00107429 Customer Transfer
 Confidential Customer Coin Transferee #5124    [Address on File]     5/23/2023 Bitcoin                                0.000914 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/31/2023 Bitcoin                             0.00044818 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/31/2023 Bitcoin                             0.00044818 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/19/2023 Bitcoin                                 0.00039 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/31/2023 Bitcoin                              0.0003621 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/31/2023 Bitcoin                             0.00035243 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/19/2023 Bitcoin                                0.000336 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/31/2023 Bitcoin                             0.00032526 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/26/2023 Bitcoin                                 0.00032 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/20/2023 Bitcoin                             0.00027355 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/17/2023 Bitcoin                              0.0002304 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/20/2023 Bitcoin                             0.00021529 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/23/2023 Bitcoin                              0.0002089 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/28/2023 Bitcoin                              0.0002051 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/16/2023 Bitcoin                             0.00018364 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/17/2023 Bitcoin                             0.00016475 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/27/2023 Bitcoin                             0.00016396 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/24/2023 Bitcoin                             0.00013819 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/25/2023 Bitcoin                             0.00010904 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/26/2023 Bitcoin                             0.00010426 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/18/2023 Bitcoin                             0.00008494 Customer Transfer
 Confidential Customer Coin Transferee #5125    [Address on File]     5/16/2023 Bitcoin                             0.00007817 Customer Transfer
 Confidential Customer Coin Transferee #5126    [Address on File]     6/20/2023 Bitcoin                             0.01776061 Customer Transfer
 Confidential Customer Coin Transferee #5127    [Address on File]     5/31/2023 Bitcoin                             0.01503403 Customer Transfer
 Confidential Customer Coin Transferee #5127    [Address on File]     5/16/2023 Bitcoin                             0.00801625 Customer Transfer
 Confidential Customer Coin Transferee #5128    [Address on File]     6/20/2023 Bitcoin                             0.00036436 Customer Transfer
 Confidential Customer Coin Transferee #5129    [Address on File]     5/24/2023 Bitcoin                             0.01071767 Customer Transfer
 Confidential Customer Coin Transferee #5130    [Address on File]     5/22/2023 Bitcoin                             0.19380402 Customer Transfer
 Confidential Customer Coin Transferee #5131    [Address on File]     6/20/2023 Bitcoin                             0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #5132    [Address on File]     5/24/2023 Bitcoin                             0.02472373 Customer Transfer
 Confidential Customer Coin Transferee #5132    [Address on File]     5/17/2023 Bitcoin                             0.02309072 Customer Transfer
 Confidential Customer Coin Transferee #5133    [Address on File]     5/18/2023 Bitcoin                                   0.0022 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/22/2023 Bitcoin                             0.00388878 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/25/2023 Bitcoin                             0.00133438 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/25/2023 Bitcoin                             0.00132783 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/27/2023 Bitcoin                              0.0013037 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/26/2023 Bitcoin                             0.00130125 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/24/2023 Bitcoin                              0.0012993 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/20/2023 Bitcoin                             0.00129494 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/30/2023 Bitcoin                             0.00129199 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/31/2023 Bitcoin                             0.00125822 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/29/2023 Bitcoin                             0.00124615 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/22/2023 Bitcoin                             0.00111755 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/28/2023 Bitcoin                              0.0010846 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/29/2023 Bitcoin                             0.00105948 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/19/2023 Bitcoin                             0.00101712 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/27/2023 Bitcoin                             0.00093201 Customer Transfer
 Confidential Customer Coin Transferee #5134    [Address on File]     5/16/2023 Bitcoin                             0.00092055 Customer Transfer
 Confidential Customer Coin Transferee #5135    [Address on File]      6/8/2023 USD Coin                               2302.57 Customer Transfer
 Confidential Customer Coin Transferee #5135    [Address on File]     5/30/2023 Tether USD                                 2100 Customer Transfer
 Confidential Customer Coin Transferee #5135    [Address on File]     5/17/2023 Tether USD                              1995.48 Customer Transfer
 Confidential Customer Coin Transferee #5135    [Address on File]      6/5/2023 USD Coin                                    990 Customer Transfer
 Confidential Customer Coin Transferee #5135    [Address on File]      6/5/2023 Tether USD                               541.87 Customer Transfer
 Confidential Customer Coin Transferee #5135    [Address on File]      6/8/2023 Bitcoin                             0.54205363 Customer Transfer
 Confidential Customer Coin Transferee #5136    [Address on File]     6/20/2023 Bitcoin                             0.00047465 Customer Transfer
 Confidential Customer Coin Transferee #5137    [Address on File]     6/20/2023 Bitcoin                              0.0313477 Customer Transfer
 Confidential Customer Coin Transferee #5137    [Address on File]     5/18/2023 Bitcoin                             0.00377785 Customer Transfer

 Confidential Customer Coin Transferee #5138    [Address on File]     6/12/2023 Tether USD                               171.8538 Customer Transfer
 Confidential Customer Coin Transferee #5139    [Address on File]     5/19/2023 Bitcoin                                0.00530502 Customer Transfer
 Confidential Customer Coin Transferee #5139    [Address on File]     5/29/2023 Bitcoin                                   0.003757 Customer Transfer
 Confidential Customer Coin Transferee #5140    [Address on File]     6/10/2023 USDC Avalanche)                        638.786727 Customer Transfer
 Confidential Customer Coin Transferee #5141    [Address on File]     5/31/2023 Bitcoin                                      0.0519 Customer Transfer
 Confidential Customer Coin Transferee #5142    [Address on File]     6/10/2023 Tether USD                                    49.64 Customer Transfer
 Confidential Customer Coin Transferee #5143    [Address on File]     5/16/2023 Bitcoin                                0.14128449 Customer Transfer

 Confidential Customer Coin Transferee #5144    [Address on File]     6/15/2023 USDC Solana)                       2993.493253 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count        or Transfer

 Confidential Customer Coin Transferee #5144    [Address on File]     6/13/2023 USDC Solana)                       2993.194083 Customer Transfer

 Confidential Customer Coin Transferee #5144    [Address on File]     5/25/2023 USDC Solana)                       2992.894973 Customer Transfer

 Confidential Customer Coin Transferee #5144    [Address on File]     6/10/2023 USDC Solana)                       2992.595923 Customer Transfer
 Confidential Customer Coin Transferee #5145    [Address on File]     5/25/2023 Bitcoin                             0.01037922 Customer Transfer
 Confidential Customer Coin Transferee #5146    [Address on File]      6/1/2023 Tether USD                                  3000 Customer Transfer
 Confidential Customer Coin Transferee #5147    [Address on File]     5/31/2023 Bitcoin                              0.0007362 Customer Transfer
 Confidential Customer Coin Transferee #5147    [Address on File]      6/4/2023 Bitcoin                             0.00055335 Customer Transfer
 Confidential Customer Coin Transferee #5147    [Address on File]     6/13/2023 Bitcoin                             0.00038662 Customer Transfer
 Confidential Customer Coin Transferee #5148    [Address on File]     5/29/2023 Bitcoin                              0.0113222 Customer Transfer
 Confidential Customer Coin Transferee #5149    [Address on File]     5/24/2023 Bitcoin                             0.01115987 Customer Transfer
 Confidential Customer Coin Transferee #5149    [Address on File]     5/17/2023 Bitcoin                             0.01035579 Customer Transfer
 Confidential Customer Coin Transferee #5150    [Address on File]     5/19/2023 Bitcoin                              0.0327335 Customer Transfer
 Confidential Customer Coin Transferee #5150    [Address on File]     5/26/2023 Bitcoin                                0.020123 Customer Transfer
 Confidential Customer Coin Transferee #5150    [Address on File]     5/29/2023 Bitcoin                                0.013161 Customer Transfer
 Confidential Customer Coin Transferee #5150    [Address on File]     5/21/2023 Bitcoin                             0.01314506 Customer Transfer
 Confidential Customer Coin Transferee #5150    [Address on File]     5/24/2023 Bitcoin                             0.01313781 Customer Transfer
 Confidential Customer Coin Transferee #5151    [Address on File]     5/21/2023 Bitcoin                             0.01525882 Customer Transfer
 Confidential Customer Coin Transferee #5151    [Address on File]     5/20/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #5152    [Address on File]     6/19/2023 Bitcoin                             0.00216504 Customer Transfer
 Confidential Customer Coin Transferee #5153    [Address on File]     5/21/2023 Bitcoin                             0.01893779 Customer Transfer
 Confidential Customer Coin Transferee #5154    [Address on File]     6/12/2023 Bitcoin                             0.00259648 Customer Transfer
 Confidential Customer Coin Transferee #5154    [Address on File]     6/14/2023 Bitcoin                             0.00214438 Customer Transfer
 Confidential Customer Coin Transferee #5155    [Address on File]     5/16/2023 Bitcoin                                0.002962 Customer Transfer
 Confidential Customer Coin Transferee #5156    [Address on File]     5/30/2023 Bitcoin                             0.00225272 Customer Transfer
 Confidential Customer Coin Transferee #5157    [Address on File]     5/17/2023 Bitcoin                             2.00382858 Customer Transfer
 Confidential Customer Coin Transferee #5158    [Address on File]     6/20/2023 Bitcoin                             0.00279168 Customer Transfer
 Confidential Customer Coin Transferee #5159    [Address on File]     5/20/2023 Litecoin                              5.303383 Customer Transfer
 Confidential Customer Coin Transferee #5160    [Address on File]     5/18/2023 Bitcoin                             0.02812447 Customer Transfer
 Confidential Customer Coin Transferee #5161    [Address on File]     5/26/2023 Bitcoin                             0.03597635 Customer Transfer
 Confidential Customer Coin Transferee #5162    [Address on File]     5/26/2023 Bitcoin                              0.0283415 Customer Transfer
 Confidential Customer Coin Transferee #5162    [Address on File]     5/18/2023 Bitcoin                             0.02815623 Customer Transfer
 Confidential Customer Coin Transferee #5162    [Address on File]     5/30/2023 Bitcoin                             0.02725889 Customer Transfer
 Confidential Customer Coin Transferee #5163    [Address on File]     6/19/2023 Bitcoin                             0.03008308 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5164    [Address on File]     5/22/2023 Bitcoin                             0.02306154 Customer Transfer
 Confidential Customer Coin Transferee #5164    [Address on File]     5/22/2023 Bitcoin                             0.01038982 Customer Transfer
 Confidential Customer Coin Transferee #5165    [Address on File]      6/6/2023 Tether USD                              2215.82 Customer Transfer
 Confidential Customer Coin Transferee #5165    [Address on File]     6/14/2023 Tether USD                                  278 Customer Transfer
 Confidential Customer Coin Transferee #5165    [Address on File]     5/23/2023 Tether USD                               277.11 Customer Transfer

 Confidential Customer Coin Transferee #5166    [Address on File]      6/7/2023 Tether USD                                1782.77 Customer Transfer
 Confidential Customer Coin Transferee #5167    [Address on File]     5/21/2023 Bitcoin                                     0.002 Customer Transfer

 Confidential Customer Coin Transferee #5168    [Address on File]      6/7/2023 Tether USD                                 2478.02 Customer Transfer
 Confidential Customer Coin Transferee #5169    [Address on File]     6/20/2023 Bitcoin                                0.00071902 Customer Transfer

 Confidential Customer Coin Transferee #5170    [Address on File]     5/18/2023 Tether USD                              2001.6902 Customer Transfer

 Confidential Customer Coin Transferee #5170    [Address on File]     6/16/2023 Tether USD                              1025.9884 Customer Transfer

 Confidential Customer Coin Transferee #5170    [Address on File]     6/11/2023 Tether USD                                 789.48 Customer Transfer

 Confidential Customer Coin Transferee #5170    [Address on File]     5/17/2023 Tether USD                               193.7043 Customer Transfer
 Confidential Customer Coin Transferee #5171    [Address on File]     5/22/2023 Bitcoin                                0.02506686 Customer Transfer
 Confidential Customer Coin Transferee #5172    [Address on File]      6/1/2023 Tether USD                                 4945.67 Customer Transfer
 Confidential Customer Coin Transferee #5173    [Address on File]      6/5/2023 Tether USD                                 1226.72 Customer Transfer
 Confidential Customer Coin Transferee #5174    [Address on File]     5/21/2023 Bitcoin                                0.01034982 Customer Transfer
 Confidential Customer Coin Transferee #5175    [Address on File]      6/1/2023 Bitcoin                                1.65969297 Customer Transfer
 Confidential Customer Coin Transferee #5175    [Address on File]     5/31/2023 Bitcoin                                0.00369101 Customer Transfer
 Confidential Customer Coin Transferee #5175    [Address on File]     5/24/2023 Bitcoin                                0.00030584 Customer Transfer
 Confidential Customer Coin Transferee #5176    [Address on File]     5/16/2023 Bitcoin                                0.02571055 Customer Transfer
 Confidential Customer Coin Transferee #5176    [Address on File]     5/30/2023 Bitcoin                                0.01390721 Customer Transfer
 Confidential Customer Coin Transferee #5176    [Address on File]     5/30/2023 Bitcoin                                 0.0070046 Customer Transfer
 Confidential Customer Coin Transferee #5176    [Address on File]     5/16/2023 Bitcoin                                 0.0054753 Customer Transfer
 Confidential Customer Coin Transferee #5177    [Address on File]     6/19/2023 Bitcoin                                0.00059577 Customer Transfer
 Confidential Customer Coin Transferee #5178    [Address on File]     5/17/2023 Bitcoin                                0.17516032 Customer Transfer
 Confidential Customer Coin Transferee #5178    [Address on File]     5/17/2023 Bitcoin                                0.05069889 Customer Transfer
 Confidential Customer Coin Transferee #5178    [Address on File]     5/17/2023 Bitcoin                                0.02666267 Customer Transfer

 Confidential Customer Coin Transferee #5179    [Address on File]     6/12/2023 Bitcoin                                0.22023149 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5180    [Address on File]     5/23/2023 Bitcoin                             0.00384159 Customer Transfer
 Confidential Customer Coin Transferee #5181    [Address on File]     5/23/2023 Bitcoin                             0.13219711 Customer Transfer
 Confidential Customer Coin Transferee #5182    [Address on File]     5/23/2023 Bitcoin                             0.01272265 Customer Transfer

 Confidential Customer Coin Transferee #5183    [Address on File]     5/23/2023 Bitcoin                                0.02468695 Customer Transfer

 Confidential Customer Coin Transferee #5184    [Address on File]     5/22/2023 Bitcoin                                  0.042906 Customer Transfer

 Confidential Customer Coin Transferee #5185    [Address on File]     6/12/2023 Bitcoin                                0.24483993 Customer Transfer
 Confidential Customer Coin Transferee #5186    [Address on File]     5/18/2023 Bitcoin                                0.01311364 Customer Transfer
 Confidential Customer Coin Transferee #5186    [Address on File]     5/24/2023 Bitcoin                                0.00759374 Customer Transfer
 Confidential Customer Coin Transferee #5186    [Address on File]     5/24/2023 Bitcoin                                0.00743595 Customer Transfer
 Confidential Customer Coin Transferee #5186    [Address on File]     5/31/2023 Bitcoin                                0.00732939 Customer Transfer
 Confidential Customer Coin Transferee #5186    [Address on File]     5/22/2023 Bitcoin                                0.00372994 Customer Transfer
 Confidential Customer Coin Transferee #5187    [Address on File]     5/16/2023 Bitcoin                                0.01458233 Customer Transfer
 Confidential Customer Coin Transferee #5188    [Address on File]      6/6/2023 Bitcoin                                 0.0010703 Customer Transfer
 Confidential Customer Coin Transferee #5188    [Address on File]     6/18/2023 Bitcoin                                0.00023297 Customer Transfer
 Confidential Customer Coin Transferee #5189    [Address on File]     6/19/2023 Bitcoin                                0.01108027 Customer Transfer
 Confidential Customer Coin Transferee #5190    [Address on File]     5/25/2023 Bitcoin                                0.34105656 Customer Transfer
 Confidential Customer Coin Transferee #5191    [Address on File]     6/10/2023 Tether USD                               941.4409 Customer Transfer
 Confidential Customer Coin Transferee #5192    [Address on File]     6/19/2023 Bitcoin                                0.00090002 Customer Transfer
 Confidential Customer Coin Transferee #5193    [Address on File]     5/22/2023 Bitcoin                                0.00184203 Customer Transfer
 Confidential Customer Coin Transferee #5194    [Address on File]     5/27/2023 Tether USD                                   481.1 Customer Transfer
 Confidential Customer Coin Transferee #5195    [Address on File]     5/30/2023 Bitcoin                                0.00950092 Customer Transfer
 Confidential Customer Coin Transferee #5195    [Address on File]     6/19/2023 Bitcoin                                0.00940085 Customer Transfer
 Confidential Customer Coin Transferee #5195    [Address on File]     6/14/2023 Bitcoin                                0.00901518 Customer Transfer
 Confidential Customer Coin Transferee #5196    [Address on File]     6/20/2023 Bitcoin                                0.00012641 Customer Transfer
 Confidential Customer Coin Transferee #5197    [Address on File]     6/20/2023 USDC Avalanche)                        794.189175 Customer Transfer
 Confidential Customer Coin Transferee #5197    [Address on File]     5/23/2023 USDC Avalanche)                        496.861255 Customer Transfer
 Confidential Customer Coin Transferee #5197    [Address on File]      6/1/2023 USDC Avalanche)                        496.771936 Customer Transfer
 Confidential Customer Coin Transferee #5197    [Address on File]      6/6/2023 USDC Avalanche)                        496.771936 Customer Transfer
 Confidential Customer Coin Transferee #5198    [Address on File]     6/16/2023 Bitcoin                                0.00419082 Customer Transfer
 Confidential Customer Coin Transferee #5198    [Address on File]     6/19/2023 Bitcoin                                0.00038944 Customer Transfer

 Confidential Customer Coin Transferee #5199    [Address on File]     6/20/2023 Bitcoin                                0.00153537 Customer Transfer
 Confidential Customer Coin Transferee #5200    [Address on File]     5/30/2023 Bitcoin                                0.00290925 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5201    [Address on File]     5/23/2023 Bitcoin                             0.00739567 Customer Transfer
 Confidential Customer Coin Transferee #5201    [Address on File]     5/30/2023 Bitcoin                             0.00053567 Customer Transfer
 Confidential Customer Coin Transferee #5202    [Address on File]     5/19/2023 Bitcoin                                  0.0023 Customer Transfer
 Confidential Customer Coin Transferee #5202    [Address on File]     5/26/2023 Bitcoin                                   0.001 Customer Transfer

 Confidential Customer Coin Transferee #5203    [Address on File]     5/29/2023 Bitcoin                                 0.0111411 Customer Transfer
 Confidential Customer Coin Transferee #5204    [Address on File]     6/21/2023 Tether USD                              2836.4402 Customer Transfer

 Confidential Customer Coin Transferee #5205    [Address on File]      6/7/2023 USDC Solana)                                 2750 Customer Transfer

 Confidential Customer Coin Transferee #5205    [Address on File]     5/26/2023 USDC Solana)                                  500 Customer Transfer

 Confidential Customer Coin Transferee #5206    [Address on File]     5/22/2023 Bitcoin                                    0.0112 Customer Transfer

 Confidential Customer Coin Transferee #5206    [Address on File]     5/24/2023 Bitcoin                                  0.007551 Customer Transfer

 Confidential Customer Coin Transferee #5206    [Address on File]     5/16/2023 Bitcoin                                 0.0073575 Customer Transfer

 Confidential Customer Coin Transferee #5206    [Address on File]     5/26/2023 Bitcoin                                 0.0067272 Customer Transfer

 Confidential Customer Coin Transferee #5206    [Address on File]     5/27/2023 Bitcoin                                  0.003714 Customer Transfer

 Confidential Customer Coin Transferee #5206    [Address on File]     5/21/2023 Bitcoin                                0.00368614 Customer Transfer

 Confidential Customer Coin Transferee #5206    [Address on File]     5/30/2023 Bitcoin                                   0.003579 Customer Transfer
 Confidential Customer Coin Transferee #5207    [Address on File]     6/15/2023 Bitcoin                                0.00394912 Customer Transfer
 Confidential Customer Coin Transferee #5207    [Address on File]      6/9/2023 Bitcoin                                0.00385903 Customer Transfer
 Confidential Customer Coin Transferee #5208    [Address on File]     5/16/2023 Bitcoin                                0.01960826 Customer Transfer
 Confidential Customer Coin Transferee #5209    [Address on File]     5/26/2023 Bitcoin                                0.00185834 Customer Transfer
 Confidential Customer Coin Transferee #5210    [Address on File]     6/15/2023 Tether USD                             44443.2108 Customer Transfer
 Confidential Customer Coin Transferee #5210    [Address on File]     6/15/2023 Tether USD                                   19995 Customer Transfer
 Confidential Customer Coin Transferee #5210    [Address on File]     6/15/2023 Tether USD                                    9995 Customer Transfer
 Confidential Customer Coin Transferee #5210    [Address on File]     6/15/2023 Tether USD                                       95 Customer Transfer
 Confidential Customer Coin Transferee #5210    [Address on File]      6/8/2023 Tether USD                                 94.3304 Customer Transfer
 Confidential Customer Coin Transferee #5211    [Address on File]      6/7/2023 Tether USD                              2061.5851 Customer Transfer
 Confidential Customer Coin Transferee #5211    [Address on File]      6/8/2023 Tether USD                                   198.05 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date           Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #5211    [Address on File]      6/6/2023 Tether USD                             10.0079 Customer Transfer

 Confidential Customer Coin Transferee #5212    [Address on File]     5/16/2023 Tether USD                                2039.45 Customer Transfer

 Confidential Customer Coin Transferee #5212    [Address on File]      6/1/2023 Tether USD                                   1195 Customer Transfer

 Confidential Customer Coin Transferee #5212    [Address on File]      6/6/2023 Tether USD                                    775 Customer Transfer

 Confidential Customer Coin Transferee #5212    [Address on File]      6/6/2023 Bitcoin                                 0.0148061 Customer Transfer
 Confidential Customer Coin Transferee #5213    [Address on File]     5/20/2023 Bitcoin                                0.13021132 Customer Transfer
 Confidential Customer Coin Transferee #5214    [Address on File]     5/24/2023 USD Coin                                  2976.13 Customer Transfer
 Confidential Customer Coin Transferee #5215    [Address on File]     5/26/2023 Bitcoin                                    0.00037 Customer Transfer
 Confidential Customer Coin Transferee #5215    [Address on File]     5/26/2023 Bitcoin                                    0.00037 Customer Transfer
 Confidential Customer Coin Transferee #5216    [Address on File]     5/20/2023 Bitcoin                                0.00607733 Customer Transfer
 Confidential Customer Coin Transferee #5217    [Address on File]     5/26/2023 Bitcoin                                     0.0199 Customer Transfer
 Confidential Customer Coin Transferee #5218    [Address on File]     5/18/2023 Bitcoin                                0.00111932 Customer Transfer

 Confidential Customer Coin Transferee #5219    [Address on File]      6/7/2023 TrueUSD                            11850.63941 Customer Transfer
 Confidential Customer Coin Transferee #5220    [Address on File]     6/16/2023 Bitcoin                             0.00755912 Customer Transfer
 Confidential Customer Coin Transferee #5221    [Address on File]     5/29/2023 Bitcoin                             0.14735617 Customer Transfer
 Confidential Customer Coin Transferee #5222    [Address on File]     6/19/2023 Bitcoin                              0.0419846 Customer Transfer
 Confidential Customer Coin Transferee #5223    [Address on File]     6/19/2023 Bitcoin                             0.00096033 Customer Transfer
 Confidential Customer Coin Transferee #5224    [Address on File]      6/8/2023 Tether USD                           1107.5112 Customer Transfer
 Confidential Customer Coin Transferee #5225    [Address on File]     5/23/2023 Bitcoin                             0.00750961 Customer Transfer
 Confidential Customer Coin Transferee #5225    [Address on File]     5/21/2023 Bitcoin                                   0.005 Customer Transfer
 Confidential Customer Coin Transferee #5226    [Address on File]     6/10/2023 USDC Avalanche)                     250.709574 Customer Transfer
 Confidential Customer Coin Transferee #5227    [Address on File]     6/19/2023 Bitcoin                             0.00008476 Customer Transfer
 Confidential Customer Coin Transferee #5228    [Address on File]     6/20/2023 Bitcoin                             0.00003604 Customer Transfer
 Confidential Customer Coin Transferee #5229    [Address on File]     5/24/2023 Bitcoin                              0.0036161 Customer Transfer
 Confidential Customer Coin Transferee #5229    [Address on File]     5/17/2023 Bitcoin                             0.00356279 Customer Transfer
 Confidential Customer Coin Transferee #5230    [Address on File]     6/20/2023 Bitcoin                             0.00260135 Customer Transfer

 Confidential Customer Coin Transferee #5231    [Address on File]     6/19/2023 Bitcoin                                0.00377977 Customer Transfer

 Confidential Customer Coin Transferee #5231    [Address on File]     6/19/2023 Bitcoin                                0.00158958 Customer Transfer
 Confidential Customer Coin Transferee #5232    [Address on File]      6/7/2023 Bitcoin                                0.00148259 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5233    [Address on File]     5/25/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #5233    [Address on File]     5/25/2023 Bitcoin                                  0.0003 Customer Transfer
 Confidential Customer Coin Transferee #5234    [Address on File]     5/21/2023 Bitcoin                             0.05038833 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.16100148 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.13968818 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.10832923 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.09200773 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.08561234 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.07426794 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.07201894 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.07173455 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.06982792 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                              0.0679675 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.06330612 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.06102298 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.05615953 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.05613912 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.05318311 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.05216674 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.04938546 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.04626002 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.04534787 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                              0.0416137 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0411817 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.04048854 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.03997847 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.03961167 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.03924574 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0389048 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.03883216 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                              0.0385058 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.03771943 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0360678 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                              0.0346937 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.03419137 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.03401537 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                              0.0338185 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.03209763 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.03191225 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.03065221 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.02977092 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.02912546 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.02904955 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                              0.0289331 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.02855219 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.02854964 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.02825789 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.02822422 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.02726639 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                                0.027084 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.02614753 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.02554452 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.02517242 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.02458641 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.02355816 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.02329795 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.02314642 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.02264944 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.02259536 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.02208108 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.02186027 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.02147172 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.02134607 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.02076415 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                              0.0205657 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.02055484 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.02025887 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.02019728 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.01970378 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.01967665 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01955285 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.01845385 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01844334 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.01839985 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01774888 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01741439 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.01728202 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.01705987 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01694479 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.01689887 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.01642692 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.01631791 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.01585197 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.01560387 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.01548738 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.01533182 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.01530198 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01515434 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.01509509 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.01507183 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.01478844 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01462584 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.01440938 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.01436757 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.01433922 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                              0.0140367 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.01402311 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.01389675 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.01384388 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0138365 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.01379409 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.01349345 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.01316468 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.01274727 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01265855 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01239124 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.01235773 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.01224238 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01207441 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.01193917 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01190854 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01189092 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.01187801 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0117875 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.01170438 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.01163689 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.01163097 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.01161102 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.01151834 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.01139196 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01138809 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01130256 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.01122891 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.01118619 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.01115094 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.01112405 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01093012 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                              0.0108312 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.01075659 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01065336 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.01061871 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.01061816 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.01055924 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.01055914 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01054506 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.01040888 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.01039338 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.01035185 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.01034323 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                                 0.01028 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.01025605 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.01024819 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.01021257 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                              0.0101725 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                              0.0101695 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.01011164 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                              0.0100917 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.01007446 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.01006619 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.01005942 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                              0.0100461 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                              0.0100196 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00994878 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00994527 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00988042 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00968008 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00958393 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00953406 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00951936 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00950673 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00949132 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00947659 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00945018 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00941485 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0094026 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00938502 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00926673 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00906285 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00903847 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00901709 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0089489 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00892779 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00886656 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00886001 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00880792 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00876759 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00873252 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00871998 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00858577 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00852407 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00851925 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00848918 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00841907 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00840018 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00822979 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00819215 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00815447 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00810251 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00805659 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00802838 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00801043 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00796652 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                              0.0078872 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00788273 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00786284 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00781662 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00778792 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00776107 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00768446 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00764064 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00757357 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                              0.0074993 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00745953 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00745514 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00730672 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00729182 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00726911 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00723624 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00721982 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00715878 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00712037 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00710739 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00707824 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00707734 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                              0.0070437 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00703074 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                              0.0070158 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00695843 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00694038 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0068905 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00686401 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00685685 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00682049 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00681745 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00679171 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00675173 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00673777 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00673197 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                              0.0067042 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0066777 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                              0.0066588 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0066337 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00655663 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00653125 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00644963 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00643109 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00642331 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00639125 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00633156 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00625994 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00624271 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00616455 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00613729 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00611597 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00609763 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00605027 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00602888 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00587106 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00579741 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00575229 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00573822 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00571155 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00569756 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00566507 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00564049 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00563864 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00555271 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00553063 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                              0.0055264 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                              0.0055171 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00549543 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00549337 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00545796 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00541614 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0053659 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00535985 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                              0.0053438 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00532507 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00530196 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00529506 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00527815 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00526809 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00525642 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00524963 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00524299 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00518947 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00517995 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0051772 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00516721 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00514706 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00512575 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00511829 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00509113 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00507954 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00507507 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00505589 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                              0.0050469 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00502519 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0050208 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00500359 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                              0.0049696 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00496054 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00494038 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00494013 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00492183 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00492074 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00487072 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00484765 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00478949 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00478199 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00476473 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00469206 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00467422 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00467015 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00466947 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00465944 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00465921 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00465199 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00459228 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00458876 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00450455 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00449699 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00448915 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00445448 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00441179 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00440841 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00440786 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00435631 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00427794 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00427771 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00426767 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00425528 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00425523 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00424751 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00423324 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00421958 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00421437 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00421221 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00419856 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00418951 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00418623 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00417921 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00417478 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00415061 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00414051 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00412041 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00409906 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00409657 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00409003 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00406032 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00404432 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00404182 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00403241 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00403079 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00399677 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00397191 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00396846 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00395456 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00395434 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00392561 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00390863 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00390712 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00389265 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00388289 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00386948 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00385204 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00382248 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00381616 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00379433 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00379424 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00378818 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00378681 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00378567 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00375813 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00373876 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00372078 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00370906 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00370603 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00368458 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00368238 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00367465 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00364788 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00364785 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00363883 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00362875 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00361935 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00361085 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00359981 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00359429 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00359086 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00358953 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00357967 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00357937 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00353769 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00353706 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00353372 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00350057 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00349876 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                              0.0034826 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00347172 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00343455 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00340962 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00339215 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00339042 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00336765 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00336008 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00335602 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00334557 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00333538 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00330573 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00329594 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00329528 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00327291 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00326587 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00326343 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00325938 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00323112 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00322685 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00321985 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00320926 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00320341 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00317335 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00316699 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00316636 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00314855 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00314617 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00314357 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00313822 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00313013 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00311489 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00311099 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00310261 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00310067 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00309625 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00309438 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00308812 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00305369 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00304133 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00303952 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00301946 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00301739 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00301158 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00300322 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00300149 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00299289 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00297913 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00297839 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00297249 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00297214 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00295967 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00295303 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00295136 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00294778 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00294205 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00291471 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00289739 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00289594 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00289571 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00289025 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00288755 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                                0.002885 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                              0.0028813 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00286559 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00285972 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00284669 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00284114 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00283973 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00283653 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00282772 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00282435 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00282409 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00281375 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00280149 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00279385 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00278363 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00277611 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00276613 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00274921 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00274368 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00273722 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00273378 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00269872 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00268132 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00265299 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00265128 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00264734 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00264347 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00264018 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00263699 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00263257 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00262975 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00262966 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                                0.002629 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00259704 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0025925 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00258722 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                              0.0025835 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00258307 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00258303 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00256711 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00256235 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00256121 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00256015 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00255351 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00254224 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00253678 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00253464 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00252967 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00252643 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00252438 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00251715 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00251626 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00251551 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00251036 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00250101 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                              0.0024982 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00247247 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00246661 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00246558 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00246339 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00245402 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00244809 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00244546 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00244274 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                              0.0024419 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00243967 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                              0.0024376 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00242992 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00239804 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00238952 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00238861 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00235959 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00235901 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00234614 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                              0.0023445 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00234227 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00234046 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00233431 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00232745 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00230634 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                              0.0023056 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00229949 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00229275 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                              0.0022889 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00228887 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00228616 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00228522 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00228496 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00228165 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00227663 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00226732 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00224538 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00223985 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00223624 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00223583 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00222995 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00221625 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00221337 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00219657 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                              0.0021946 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00218648 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                              0.0021858 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00218579 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00218029 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00216875 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00216226 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00215005 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00214956 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00213653 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00212709 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00212671 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00212658 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00212623 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00212571 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00212447 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00211847 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00211585 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00211474 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00211269 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00210652 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00210522 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00210138 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00209933 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00209472 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00209201 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00209138 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00208967 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00207753 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00207244 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00206618 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00205244 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00205095 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00204389 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00204145 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00202663 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00202468 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00202445 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00202443 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00201947 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00201753 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00201255 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00201181 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00201124 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00201073 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00200728 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00200631 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00200376 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00200108 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00200022 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00199172 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00198821 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                              0.0019875 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00198571 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00198317 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00197827 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                              0.0019777 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00196999 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00196566 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00196382 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00196009 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00195609 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00194636 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00194623 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00193911 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00193755 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00192695 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00192545 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00192019 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00191844 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00191702 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00191515 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00191326 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00190917 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00190521 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00190446 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00190049 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00189911 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00189673 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00189229 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00189028 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                              0.0018879 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00187651 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00187539 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00187456 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00187351 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00187079 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00186215 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00185312 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00184906 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00184562 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00183833 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00183443 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00182678 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00182542 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00181936 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00181814 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00181786 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00181597 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00181215 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00181043 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00180672 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00180503 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00180463 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00180428 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00179515 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00179316 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00178561 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00178479 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00177497 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00177273 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00176985 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00176894 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00176833 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00176468 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00176255 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00175899 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                              0.0017587 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00175232 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00175167 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00174751 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00174717 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00174604 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00174556 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00174441 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00174304 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00173808 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00173687 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                              0.0017358 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00173218 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                              0.0017234 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                              0.0017233 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00171519 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00171266 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00171259 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00170976 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00170466 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00169427 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00169213 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00169206 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00168449 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00168348 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00167371 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00166061 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                              0.0016596 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00165905 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00165866 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                              0.0016586 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                                0.001658 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00165432 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00165217 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00165192 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00165034 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00164886 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00164547 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00164244 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00163643 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                              0.0016349 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00163322 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00163013 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00162564 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00162556 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00162373 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00162178 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00160997 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00160315 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00160298 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00159891 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00159759 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00159751 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00159456 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00159387 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00159321 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00158929 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00158792 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00158664 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                              0.0015862 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00158602 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00158201 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00158109 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                              0.0015804 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00157744 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00157687 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00157293 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00157244 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00157135 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00157014 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00156985 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00156964 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00156544 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00155541 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                              0.0015498 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00154914 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00154387 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00154317 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00153898 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00153888 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00153843 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00153789 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00153488 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00153434 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00153287 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00153244 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00153238 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00152885 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00152639 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00152508 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00152362 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00152246 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00152058 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00151842 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00151622 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00151499 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00151493 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00151305 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                              0.0015118 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                              0.0015109 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00150885 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00150841 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00150815 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00150446 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00150301 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00150235 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00149278 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00149078 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00148333 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00147971 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00147523 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00147093 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00146934 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                              0.0014621 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00146175 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00145195 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00145117 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00144856 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00144726 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00144651 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00144108 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00143804 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00143505 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00142939 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00142914 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00142457 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00141835 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00141763 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00141672 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00141148 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00141134 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00140459 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00139389 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00139024 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                              0.0013869 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00138384 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00138196 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00138021 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00136879 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00136877 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00136812 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00136454 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00136292 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00136271 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00135844 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00134593 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00134372 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00134256 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00134064 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00133969 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00133709 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00133352 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00131269 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00130557 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00130473 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                              0.0013031 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00130242 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00129966 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00129691 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00129085 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00129036 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00128784 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00128072 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00127838 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00126945 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00126711 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00126553 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00126445 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00126156 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00126127 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00125741 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00125447 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00125059 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00124827 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00124782 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00123674 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00123309 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00123104 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00123059 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00123003 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                              0.0012286 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00122659 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00122511 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00122351 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00122241 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00121617 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00121478 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00121409 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00121038 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                              0.0012062 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00120486 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00120326 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00120231 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00120048 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00119965 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00119847 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00119547 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00119536 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00119427 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00119295 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00119271 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00119016 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                              0.0011881 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00118724 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00118674 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00118656 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00118505 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00118286 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00118243 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00118219 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00118141 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00118005 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00117975 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00117945 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                              0.0011734 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00117069 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00116855 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00116484 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0011643 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00116366 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00116356 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00116071 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00115871 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00115851 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00115847 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00115609 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00115512 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00115111 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00114796 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00114436 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00114177 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00114036 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00113891 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00113839 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00113739 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00113243 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00112952 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00112716 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00112509 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00112238 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00112131 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00112034 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00111962 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00111934 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00111811 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00111527 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                              0.0011137 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00111336 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00111147 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00110725 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00110588 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00110392 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00110207 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00110093 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                              0.0011002 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                              0.0010949 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00109428 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00109205 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00108884 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00108881 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00108649 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                              0.0010837 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00108224 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00108203 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00107833 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00107537 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00107522 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00107352 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00107347 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00107161 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00107011 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00106793 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00106767 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00106326 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00106304 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00105823 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00105711 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00105558 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00105389 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00105249 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                              0.0010514 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00105011 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00105003 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00104974 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00104933 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00104282 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00104162 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00104073 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00103989 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00103866 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                              0.0010382 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00103768 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00103646 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00103426 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00103325 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00103229 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00103086 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00102955 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00102841 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00102825 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00102573 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00102462 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00102355 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00102033 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00101904 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00101873 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00101838 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00101592 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00101406 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00101321 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00101113 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                              0.0010098 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00100896 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00100817 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00100712 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00100622 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00100508 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00100461 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00100246 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00099952 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00099907 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00099508 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00099502 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00099482 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00099393 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00099188 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00099153 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00098929 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00098818 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00098781 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00098708 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                              0.0009864 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00098627 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00098348 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00098086 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00097958 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00097887 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00097676 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00097571 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00097544 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00097462 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00097437 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00097373 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00097312 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00096892 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00096591 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00096404 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00095859 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00095855 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00095442 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00095357 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00095251 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00095146 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00095098 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00094905 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00094804 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00094736 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00094358 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00093901 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0009378 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00093596 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                                0.000932 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00093115 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00093062 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00092999 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00092903 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00092887 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00092874 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00092808 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00091986 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                              0.0009188 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00091819 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00091768 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00091628 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                              0.0009162 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00091612 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00091585 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00091452 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00091365 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00091365 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00091358 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00090985 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00090666 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00090643 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00090623 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00090299 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00090264 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00090191 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00090155 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00090127 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00090078 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                              0.0009002 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00089719 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00089716 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00089681 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00089573 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00089157 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00088941 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00088928 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00088735 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                              0.0008863 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00088422 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00088233 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00088123 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                                0.000877 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00087574 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00087517 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00087448 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                              0.0008732 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00087177 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                              0.0008673 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00086632 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00086405 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00086168 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                              0.0008604 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00085786 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00085671 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00085469 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00085426 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00085376 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00085169 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                              0.0008481 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00084699 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                              0.0008465 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00084313 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00084307 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00084228 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00084197 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00084154 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00084141 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00084061 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00083992 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00083715 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00083711 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00083701 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                              0.0008354 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00083428 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00083281 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00083266 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00083032 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00083004 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00082991 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00082858 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00082769 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00082744 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00082736 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00082676 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                              0.0008259 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00082427 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00082242 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                                0.000821 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00082098 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00082066 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00081835 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00081722 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00081618 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00081531 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00081417 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00081312 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                              0.0008125 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00081174 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00080982 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                              0.0008082 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00080725 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00080648 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                              0.0008062 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00080576 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00080552 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00080408 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00080307 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00080155 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00080101 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00080093 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00079959 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00079894 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00079784 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                              0.0007974 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00079583 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00079547 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00079489 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00079076 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00079013 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00079012 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00078943 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00078899 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00078879 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00078825 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00078423 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00078371 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                              0.0007823 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00078218 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00078077 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00078032 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00077985 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00077844 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00077673 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00077462 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00077392 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                              0.0007733 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00077221 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00077189 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00076823 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00076809 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00076573 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00076443 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                              0.0007643 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00076263 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00076066 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00076046 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00076026 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00075956 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00075949 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00075901 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00075801 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00075728 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00075663 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00075632 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00075599 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00075398 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00075271 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00075218 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00075174 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00075076 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00075022 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00074944 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00074937 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00074864 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00074791 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00074772 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00074761 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00074626 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00074532 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00074482 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                              0.0007448 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00074089 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00074083 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00074075 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00073952 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00073809 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00073789 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00073731 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00073658 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00073622 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00073544 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00073367 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00073321 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00073237 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00073225 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00073101 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00073099 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00072972 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00072969 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00072896 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00072685 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                              0.0007248 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00072288 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00072282 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                              0.0007219 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00072137 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00071951 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00071934 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00071893 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00071879 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00071626 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                              0.0007159 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00071124 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00070881 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                              0.0007082 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00070709 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00070463 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                              0.0007042 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00070409 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00070383 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00070327 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00070228 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00070162 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00070152 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00069959 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                              0.0006993 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00069872 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00069676 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00069586 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00069223 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00069204 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00069158 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00069121 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00069054 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00069035 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00068867 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00068813 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00068799 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00068625 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00068614 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00068474 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                              0.0006846 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00068417 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00068366 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00068323 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00068281 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00068107 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00067951 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                              0.0006787 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00067863 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00067782 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00067752 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00067572 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00067548 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00067483 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00067333 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00067316 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00067274 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00067219 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00066982 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00066882 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00066756 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                              0.0006665 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00066616 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00066612 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                              0.0006661 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00066579 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00066566 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                              0.0006654 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00066436 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00066435 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00066429 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00066414 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00066413 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00066402 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00066176 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00066129 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00066082 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                              0.0006607 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00065987 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00065925 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                              0.0006589 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00065872 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00065813 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00065749 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00065745 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00065674 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00065588 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00065562 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00065437 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00065433 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00065377 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00065319 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00065281 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00065237 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00065222 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                              0.0006517 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00065106 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00065085 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                              0.0006484 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00064729 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00064718 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00064649 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00064612 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00064608 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00064593 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00064579 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00064544 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00064541 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00064436 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00064432 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00064398 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00064318 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                              0.0006431 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00064269 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00064213 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00064048 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00064035 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00064024 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00064019 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00063941 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00063918 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00063903 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00063902 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00063735 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00063676 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00063618 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                              0.0006355 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00063399 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00063295 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00063114 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00063031 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00063009 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00062977 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00062909 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00062829 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00062827 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00062741 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00062637 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00062563 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00062445 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00062414 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                              0.0006236 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00062326 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00062261 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00062219 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00062204 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00062145 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00062113 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00062071 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00061985 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00061833 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00061819 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00061787 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00061772 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00061742 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00061595 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00061585 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00061559 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00061521 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00061504 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00061466 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00061444 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                              0.0006141 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00061385 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                              0.0006137 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00061289 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00061262 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                              0.0006124 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00061219 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00061166 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00061138 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00061131 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00061119 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00060987 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00060893 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00060874 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00060868 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00060813 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00060774 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00060764 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00060757 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00060721 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00060718 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00060687 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00060672 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00060607 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00060578 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00060526 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00060474 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00060471 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00060399 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00060384 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00060326 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00060317 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00060312 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00060247 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00060216 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00060036 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00060014 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00059938 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00059865 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00059819 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00059762 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00059619 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00059619 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00059548 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00059546 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00059515 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00059394 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00059359 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00059281 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00059005 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00058975 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00058972 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00058928 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00058913 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00058882 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00058834 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0005881 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                              0.0005878 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00058775 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00058769 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00058748 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00058604 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00058507 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00058497 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00058483 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00058451 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00058448 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00058415 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00058404 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00058398 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                              0.0005838 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00058309 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                              0.0005827 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00058222 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00058129 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00058119 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00058081 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00058075 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00058036 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                              0.0005802 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00058004 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00057833 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00057715 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00057712 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00057697 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00057665 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00057631 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00057623 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00057603 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00057557 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00057539 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00057537 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00057533 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00057531 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00057522 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00057521 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                              0.0005752 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00057465 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00057419 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00057355 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00057322 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00057235 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00057191 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00057181 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                              0.0005717 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00057125 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00056989 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00056969 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00056948 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00056928 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00056832 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00056828 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00056825 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00056823 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                              0.0005675 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00056717 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00056696 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00056688 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00056593 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00056525 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00056476 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00056449 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00056428 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00056383 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00056364 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00056363 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00056307 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00056283 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00056155 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00056152 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00056151 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00056126 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00056065 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00056028 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00055934 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00055915 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00055915 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00055876 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00055853 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00055776 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00055745 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00055737 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00055712 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00055712 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00055681 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00055677 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00055674 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00055634 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                              0.0005563 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00055601 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                                0.000556 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00055457 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00055371 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00055358 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00055314 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00055307 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00055297 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00055283 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00055227 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                              0.0005522 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00055203 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00055194 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00055105 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00055054 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00055026 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00055024 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00055017 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00055004 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00054994 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00054946 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00054936 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00054903 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00054901 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00054897 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00054896 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00054857 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00054803 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                              0.0005479 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00054756 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00054688 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                              0.0005466 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                              0.0005459 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00054589 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00054579 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00054566 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00054519 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00054466 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00054445 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00054415 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00054387 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00054334 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00054329 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00054317 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00054312 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00054265 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00054212 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                              0.0005421 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00054171 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                              0.0005415 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                              0.0005414 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                              0.0005413 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00054123 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00054093 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00054029 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00053991 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00053951 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00053938 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00053858 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00053769 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00053749 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00053692 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00053672 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00053668 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00053646 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00053642 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                              0.0005363 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00053581 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00053562 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00053542 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00053537 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00053522 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00053522 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00053508 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00053476 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00053399 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00053395 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00053365 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00053332 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00053331 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00053299 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00053277 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00053267 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00053254 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00053239 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00053218 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                              0.0005316 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00053159 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00053115 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00053114 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00053066 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00053024 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00053015 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00052991 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00052934 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                              0.0005293 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00052924 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00052912 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00052897 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00052895 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00052893 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00052889 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00052851 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00052827 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                              0.0005282 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00052795 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00052791 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00052786 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00052779 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00052766 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00052748 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00052735 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00052731 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00052731 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00052719 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00052648 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00052648 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00052618 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00052589 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00052541 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00052473 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00052451 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00052437 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                              0.0005237 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00052302 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00052281 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00052275 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00052273 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00052265 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00052224 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00052169 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00052125 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00052106 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00052101 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00052083 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00052068 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                              0.0005206 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00051992 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00051982 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00051932 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00051898 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00051875 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00051835 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00051832 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                                0.000518 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00051793 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00051746 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00051737 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00051726 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00051719 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00051714 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00051702 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00051685 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00051681 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00051676 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00051585 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00051573 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00051562 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00051561 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00051539 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                             0.00051523 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00051508 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00051473 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00051435 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00051431 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00051426 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00051403 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/15/2023 Bitcoin                             0.00051388 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00051377 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00051336 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                             0.00051335 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                              0.0005131 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                              0.0005129 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00051273 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00051269 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00051261 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                              0.0005123 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00051228 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00051225 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00051204 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                             0.00051192 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00051132 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00051122 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                             0.00051032 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/14/2023 Bitcoin                              0.0005103 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00050991 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00050989 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                             0.00050969 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00050932 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00050882 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                             0.00050869 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                             0.00050868 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                              0.0005085 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00050832 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00050814 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/18/2023 Bitcoin                              0.0005081 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00050809 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00050805 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/6/2023 Bitcoin                             0.00050804 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/29/2023 Bitcoin                             0.00050799 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/16/2023 Bitcoin                             0.00050776 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                              0.0005074 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00050733 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/17/2023 Bitcoin                             0.00050722 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/5/2023 Bitcoin                              0.0005072 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/4/2023 Bitcoin                             0.00050705 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/25/2023 Bitcoin                             0.00050685 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/19/2023 Bitcoin                             0.00050658 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00050658 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00050623 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/10/2023 Bitcoin                              0.0005061 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00050599 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/11/2023 Bitcoin                             0.00050599 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00050596 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/9/2023 Bitcoin                             0.00050577 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/26/2023 Bitcoin                             0.00050572 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00050529 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/23/2023 Bitcoin                             0.00050527 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                              0.0005052 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/27/2023 Bitcoin                             0.00050514 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/20/2023 Bitcoin                             0.00050505 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/24/2023 Bitcoin                                0.000505 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00050431 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00050424 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00050385 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/13/2023 Bitcoin                             0.00050336 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/8/2023 Bitcoin                             0.00050324 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/30/2023 Bitcoin                             0.00050242 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00050235 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/31/2023 Bitcoin                             0.00050199 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/3/2023 Bitcoin                             0.00050181 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/1/2023 Bitcoin                             0.00050174 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/28/2023 Bitcoin                              0.0005017 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00050167 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/7/2023 Bitcoin                             0.00050142 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/21/2023 Bitcoin                              0.0005014 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]      6/2/2023 Bitcoin                             0.00050134 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/22/2023 Bitcoin                             0.00050112 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00050109 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00050107 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     6/12/2023 Bitcoin                             0.00050051 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00050024 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                              0.0005002 Customer Transfer
 Confidential Customer Coin Transferee #5235    [Address on File]     5/16/2023 Bitcoin                             0.00050012 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                            11.04674717 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.21282179 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.1898891 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.13236815 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.11258947 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.11040773 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.10048382 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.09709272 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.08465716 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.07113637 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.06405396 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.06092216 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.05925018 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.05775362 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.05735709 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.05708174 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.05459883 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.05271709 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.05267265 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.05027597 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                              0.0494618 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.04925326 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.04553652 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.04524656 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                              0.0450218 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.04490615 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.04369589 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.04337705 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.04260461 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.04111233 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.04104348 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.04032614 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.03966825 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.03853382 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.03816221 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.0370567 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.03665062 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.03588251 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.03550731 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.03511629 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.03478254 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.03311986 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.03302592 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.03263527 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.03204007 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.03141819 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.03005299 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.02945383 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.02897011 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.02798671 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0273956 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.02738503 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.02692347 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.02661337 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.02629043 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.02574722 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.02428483 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.02410865 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.02351897 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.02295472 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.02251163 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.02185751 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.02147112 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.02125774 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.02108477 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.02100335 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.02088648 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.02065265 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.02035323 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.02013375 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.02008687 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.02008188 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.02005623 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.01966431 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.01889548 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.01875075 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01828575 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.01827234 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01816947 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.01807539 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.01807526 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.01805785 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.01779746 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.01779125 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.01720318 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.01710088 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.0170385 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.01686659 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.01664117 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.01663314 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.01641845 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.01596632 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.01595976 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.01575393 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.01566115 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0153455 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.01519572 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.01506961 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.01495686 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.01455164 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01426062 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.01413254 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.01412836 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.01411624 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.01371388 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.01367376 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.01353194 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.01343113 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                              0.0132836 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01308686 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.01296561 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                                0.012859 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.01273519 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                              0.0127269 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.01260175 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.01259545 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.01258248 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.01249365 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01244425 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.01240187 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01230747 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.01226811 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.01200453 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.01192458 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01186604 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                              0.0116707 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.01145127 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.01144341 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.01135914 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.01133417 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.01130242 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.01116219 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.01105895 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.01102185 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.01101364 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01098517 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01098359 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.01097874 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.01097445 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.01094716 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.01082571 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01076217 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01074532 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.01072252 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.01068118 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01066922 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.01066471 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.01064905 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.01048357 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.01043899 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.01039674 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                              0.0103846 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.01036806 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.01035495 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.01035083 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.01034435 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.01029786 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.01025962 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01025049 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.01019891 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.01015602 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.01012909 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01006478 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.01006363 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.01003683 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.01002543 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.01000783 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                              0.0100056 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.01000325 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                              0.0099946 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00989476 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00988529 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00985678 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00982195 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00980077 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                              0.0097486 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00966125 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00949597 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00941205 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00940847 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00940043 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00935337 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00927759 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00925158 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0092331 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00922855 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00917835 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.0091499 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00906846 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00905256 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0090445 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00899971 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00896613 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00894329 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00893126 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00892943 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00884941 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00881621 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00869429 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00858521 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00847358 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00824942 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00821222 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00810381 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                              0.0080443 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                              0.0079679 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00793517 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00790238 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00786438 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00781552 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                                0.007796 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00777591 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00776805 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00772878 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00751983 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00747162 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00746482 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00737782 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00737025 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00734334 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00733396 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00723083 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0072262 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00715845 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                              0.0071475 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00713233 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00712853 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00708434 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00706101 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00705964 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00705892 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00703601 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00703072 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00703018 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00702291 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00701721 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00700281 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00691035 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00690805 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00686889 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00684349 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00680436 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00676106 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00672223 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00667119 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00663184 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00652364 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00650567 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00650485 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00649432 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00647994 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00646803 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00645547 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00644649 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00641885 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00636252 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00630417 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00624136 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00619147 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00617281 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00613585 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00612346 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00606364 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00604868 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00597677 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00597134 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00594094 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00589666 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                              0.0058109 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                              0.0057895 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                              0.0057841 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00575787 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00571301 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00565328 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00564855 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00557567 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00556858 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00556371 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00556252 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00552337 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00550857 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00546272 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                              0.0054195 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00541058 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00531216 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00530562 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00528603 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00526726 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00526421 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00520999 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00518858 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00517949 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00515636 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00514414 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00513473 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00511122 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00510943 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00508586 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00506818 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00503633 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00502732 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00500381 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00500279 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00499025 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00493894 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00491161 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00490403 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00489933 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00489007 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00480431 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00479588 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00478169 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00476317 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00474268 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00471768 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00471244 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00470682 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00470614 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00470389 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00468481 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00467036 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00466741 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00465183 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00464549 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00463824 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00459909 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00459768 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00458425 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.0045622 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00455584 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00450783 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00448823 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00445749 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                              0.0044564 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00443175 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00442792 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00442607 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00441933 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00440753 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00440019 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00439003 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00436548 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0043568 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00435529 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00434053 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00431285 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00426086 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00424279 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00419298 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00418055 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00416621 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00416207 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00415869 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00412644 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00412583 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00412427 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00411746 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00410676 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00409113 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00408111 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0040729 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00404953 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00402381 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                              0.0040177 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00398354 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                                0.003948 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00394645 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00392575 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00392206 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00389948 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00389207 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00388143 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00385277 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                              0.0038493 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00382891 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00382752 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00380042 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                              0.0037961 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                              0.0037879 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00378352 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                              0.0037662 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00376605 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00376131 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00374947 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00374834 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00373429 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00372154 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00370994 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00370109 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00370091 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00369081 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00367643 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00366112 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00366046 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00365733 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00361064 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00360684 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00360182 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00359657 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00355409 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00354569 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00353206 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00352502 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00351081 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                              0.0035049 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00345066 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                                0.003447 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00344635 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00343862 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00343762 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00343239 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00342666 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00342631 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00341759 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00341196 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00341064 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00340605 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00338792 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00338528 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00337915 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                              0.0033723 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00335407 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00333496 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00333109 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00331236 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00330557 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00330347 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00329775 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0032948 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00329287 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00326998 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00325606 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00325215 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                              0.0032374 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00323639 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00323052 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00322401 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00321347 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00320265 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00319906 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00319771 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00319479 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00319327 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                              0.0031631 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00316038 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00314603 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00314065 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00313738 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00313738 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                              0.0031276 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00312474 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.0031193 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                              0.0031118 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00311095 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00310294 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00309877 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00308793 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00307859 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00306986 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00306352 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00305274 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00305132 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00304455 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00302179 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00300487 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00299813 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00299706 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                              0.0029959 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                              0.0029805 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00295735 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00295622 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00295189 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00295187 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00294903 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00294241 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00293358 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00291576 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00291255 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00289729 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00289138 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00288586 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00288192 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                              0.0028809 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00287178 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00286353 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00285657 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00284939 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00282773 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00281129 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00280845 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00280604 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00279891 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00279587 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00278442 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00278421 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00277565 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00274034 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00273501 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00273274 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00272896 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                              0.0027254 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00271942 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00270644 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00269768 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00269695 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00269214 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00268976 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                              0.0026848 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00268446 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00267869 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00267689 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00267486 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00267221 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.0026687 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                                0.002653 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00262711 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00262001 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00261974 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00261865 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00261113 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00260035 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                              0.0025992 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00259898 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00259736 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00259567 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00259222 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00257913 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00257479 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0025714 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00256377 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                              0.0025501 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00254633 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00253693 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00253165 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                                0.002522 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00251888 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00251633 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                              0.0024885 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00248487 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00247891 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                                0.002474 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00245172 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00244661 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00244558 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00244532 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00244197 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00244108 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00244069 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00243981 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00243749 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00243611 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                                0.002431 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                              0.0024285 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00242794 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00242596 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00242532 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00242183 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00242082 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00241762 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00241693 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00241546 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00241292 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00239334 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00238488 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00235784 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00235609 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00235501 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00235409 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00233886 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00233414 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00233062 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00232783 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00232237 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00232195 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00231524 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00230081 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00228355 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00227995 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00227719 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00227512 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00226793 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00226779 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00226512 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                              0.0022647 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00225997 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00224941 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                              0.0022468 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00223638 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00223426 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00223371 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00223107 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00222503 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00221783 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00221175 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                              0.0022097 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00220095 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00219818 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00219343 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00219028 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00218845 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00218721 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00218623 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00217254 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00216327 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00216301 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00216236 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00215922 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00215636 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00215037 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00214855 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                              0.0021475 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00214401 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00213834 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00213088 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                                0.002129 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00212598 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                              0.0021225 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                              0.0021179 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                              0.0021119 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00210884 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00210868 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00210759 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00209654 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                              0.0020898 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00207607 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00206717 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                              0.0020646 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00206262 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00205669 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00205503 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00205449 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00205443 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                              0.0020489 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00203952 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00203439 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00203315 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00202732 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                              0.0020256 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00201132 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00200984 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00200388 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00197955 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00197483 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00197391 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00197175 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00196857 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00196372 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00196243 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00195186 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00194428 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00192376 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00192289 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00191623 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00191052 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00190191 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00189685 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00189682 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00189147 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00189027 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00188669 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                              0.0018811 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00188109 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00187876 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00187322 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00186093 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0018607 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00186014 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00184737 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00184129 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00183892 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00183142 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00182835 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00182432 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00182394 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00181561 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00181054 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00180798 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00180414 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00179871 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00179709 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00179662 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00179408 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00179171 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00179122 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00178483 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                              0.0017782 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00177491 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00177058 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00177015 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00176975 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00176967 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00176794 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00176362 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00175922 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00175793 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00175745 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00175105 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00173672 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                              0.0017334 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00173264 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00173079 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00172837 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00172573 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00172441 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00171725 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00171509 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00171326 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00170984 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00170782 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00169893 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00169855 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00169624 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00169605 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00168945 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00168923 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00168663 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00168583 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00167957 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00167822 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00167758 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                              0.0016767 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00167537 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                              0.0016749 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00167347 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00167306 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00167095 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00166936 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00166671 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                                0.001666 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00166508 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00166492 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00166224 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                              0.0016598 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                                0.001649 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00164817 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00163763 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                              0.0016369 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00163208 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00162517 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00161776 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00160863 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00159776 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00159692 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00159476 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00158917 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00158889 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                              0.0015878 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                              0.0015871 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00158557 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00157994 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00157796 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                              0.0015777 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00157659 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00157322 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00157205 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00156889 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                              0.0015572 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00155709 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00155177 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00154952 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00154599 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00154391 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00154193 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00153736 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00153209 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00152611 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                              0.0015233 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00152328 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00151943 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00151734 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00151476 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00151271 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00151073 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00150972 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00150756 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00150748 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00149286 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00149118 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00147928 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00147848 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00147631 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00147617 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00147616 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00147614 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00147071 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00147044 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00146986 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00146656 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                              0.0014635 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                                0.001459 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00145749 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00145032 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00144623 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00144124 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00143806 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                              0.0014375 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00143368 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00143064 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00142716 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00142611 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00142544 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00142429 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00142114 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00142099 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00141785 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00141602 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00141466 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00140097 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00139957 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00139752 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00138885 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00138724 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00138441 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00138263 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00137729 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00137446 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0013725 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00137098 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00137049 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00137009 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00136993 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00136113 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00135231 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00135158 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00134848 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00134807 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00134541 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00134465 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00133957 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00133593 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00133306 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.0013322 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00133101 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00132524 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00132419 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00132353 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00132079 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00131966 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                              0.0013185 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00131641 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00131505 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                              0.0013146 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00131456 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00130655 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00130569 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00130206 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00130134 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00130045 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00129895 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00129274 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00128848 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00128775 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00128516 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00128244 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00128219 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00128054 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00127824 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00127634 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00127449 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00127233 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                              0.0012718 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00126944 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                              0.0012657 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00126542 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00125966 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                              0.0012588 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00125358 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                              0.0012472 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00124643 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00124581 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                              0.0012434 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00124192 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00124155 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00124049 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00124031 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                              0.0012396 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00123887 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00123861 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                              0.0012381 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00123724 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00123531 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00123485 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                              0.0012342 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                              0.0012308 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00122343 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00121873 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                              0.0012184 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00121767 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00121709 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00121616 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00121356 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00121344 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00121127 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00121112 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00120962 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00120842 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00120835 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00120731 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                                0.001205 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00120355 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00120257 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00120181 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00119818 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00119498 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00119495 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                              0.0011944 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00118981 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                              0.0011894 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00118526 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00118506 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00118482 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00118352 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00117651 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00117496 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00117242 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00117085 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00116997 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00116907 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00116698 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00116682 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00116453 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00116422 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00116339 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00115817 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00115735 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00115664 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00115569 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00115506 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00115431 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                              0.0011536 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                              0.0011533 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00115161 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00114945 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00114483 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00114181 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00114181 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00114057 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00113929 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00113719 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00113493 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00113384 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00113305 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00113296 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00113176 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00113053 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00112804 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00112434 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00112314 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00112187 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00112071 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00111936 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00111788 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00111727 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00111639 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                              0.0011143 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00111369 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                              0.0011131 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00111242 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                              0.0011091 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                                0.001109 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                              0.0011089 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00110302 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00110229 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00110148 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00109987 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00109954 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00109902 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00109827 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00109491 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00108907 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00108572 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00108531 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00108354 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00108324 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00108108 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                                0.001076 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00107188 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00106856 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00106769 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                              0.0010675 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00106602 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00106158 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00106054 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00105974 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00105906 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00105745 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00105594 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00105323 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00104601 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00104391 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00104266 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00104174 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00103759 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00103577 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00103542 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00103261 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00103203 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                              0.0010312 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00102999 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00102891 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                              0.0010281 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00102622 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00102588 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00102058 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00101887 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00101537 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00101446 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00101233 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00101197 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00101043 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                              0.0010099 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00100815 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00100625 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00100398 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00100347 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00100236 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00100231 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00100092 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00100006 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00099894 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00099756 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00099689 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00099634 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00099633 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00099364 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00099343 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00099162 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00098958 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00098946 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00098753 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00098583 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00098404 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00098364 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00098289 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                              0.0009819 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00098005 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00097985 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00097942 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00097393 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00097341 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00097159 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00097009 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00096857 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00096725 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00096554 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00096485 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00096468 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00096363 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00096176 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00095938 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00095777 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00095706 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00095685 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00095638 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00095607 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00095602 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00095321 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00095257 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00095257 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00095196 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00094961 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00094943 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00094828 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00094788 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00094618 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00094611 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00094265 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00094152 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00094013 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00093821 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                              0.0009363 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                              0.0009313 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00093072 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00093067 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00092732 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00092567 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00092155 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00091865 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00091779 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00091618 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00091054 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00091023 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00090931 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00090544 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00090456 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00090206 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00090109 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00089984 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00089941 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00089846 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00089838 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00089791 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                              0.0008966 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00089389 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00089282 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00089192 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00089165 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00089128 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00089077 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00089064 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00088536 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                              0.0008838 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00088378 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00088287 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00088285 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                              0.0008827 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00088107 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00087965 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00087912 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00087785 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00087662 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00087649 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00087642 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00087288 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                              0.0008728 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                              0.0008723 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00086993 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00086834 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00086681 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00086654 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00086185 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                              0.0008612 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00085876 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                              0.0008568 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                              0.0008529 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00085136 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00085125 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00084996 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00084909 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                              0.0008489 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00084519 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00084408 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00084128 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00083883 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00083833 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00083778 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00083775 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00083765 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00083749 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00083664 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00083638 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00083365 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00083316 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00083004 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00083001 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00082961 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00082891 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00082796 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00082652 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00082625 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00082552 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00082488 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00082304 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                              0.0008216 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00082135 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00082004 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00081927 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00081852 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00081815 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00081521 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00081268 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00081225 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00081057 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00081002 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00080867 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00080787 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00080729 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00080688 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00080603 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00080551 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                              0.0008053 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00080473 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00080276 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00080244 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                              0.0008024 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00080199 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00080157 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00080135 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00079976 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00079898 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00079743 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00079677 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00079585 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00079328 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00079207 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00079083 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00078872 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00078853 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00078544 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00078533 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00078456 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00078291 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00078161 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00078154 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00078031 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                              0.0007779 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00077728 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00077618 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00077413 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00077172 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00077168 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00077051 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00076903 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                              0.0007672 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00076559 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00076485 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00076484 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00076463 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00076354 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00076217 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00076048 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                                0.000759 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00075608 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00075518 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00075488 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00075482 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00075414 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                              0.0007538 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00075304 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                              0.0007511 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00075098 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00075062 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00074861 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                              0.0007476 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00074665 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00074567 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00074561 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00074248 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00074189 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00074102 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00074075 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00074002 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00073984 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00073884 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00073833 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00073783 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00073699 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00073655 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00073581 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00073517 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00073491 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00073429 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00073364 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00073306 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00073233 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00073182 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00072961 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00072871 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00072785 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00072716 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00072646 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00072408 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00072388 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00072227 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00072073 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00072063 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00072057 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00071938 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00071871 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00071539 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00071477 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00071466 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00071461 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                              0.0007144 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00071407 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00071319 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00071303 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00071294 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00071269 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00071215 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00070984 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00070804 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00070753 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00070577 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00070527 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00070472 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00070314 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00070221 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00070178 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00070147 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00070108 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00070065 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00069896 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00069893 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00069818 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00069778 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00069732 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                              0.0006959 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00069489 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00069487 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00069464 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00069449 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00069328 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                              0.0006927 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00069145 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00069112 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00069027 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00068956 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00068881 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00068833 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00068803 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00068688 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00068667 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00068564 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00068543 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00068524 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00068517 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00068484 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                              0.0006834 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00068287 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00068239 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00068235 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00068198 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00068004 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00067975 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                              0.0006797 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00067894 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00067873 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00067849 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00067613 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00067565 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00067508 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00067492 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00067405 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00067348 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00067322 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00067236 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00067173 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00067138 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00067086 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00067074 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00067027 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00066994 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00066822 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                              0.0006671 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00066692 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00066681 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00066532 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00066389 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00066348 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00066336 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00066293 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00066244 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00066242 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00066187 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00066176 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00065976 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00065932 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00065783 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00065674 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00065596 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00065543 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0006554 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00065477 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00065391 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00065375 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00065366 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00065276 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00065245 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00065226 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00065198 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00065194 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00065105 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00065048 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00065047 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00064904 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00064805 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00064801 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00064753 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00064658 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00064619 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                              0.0006454 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00064515 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00064344 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00064332 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00064298 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00064266 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00064255 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00064172 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00064122 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00064033 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0006397 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00063908 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                              0.0006389 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00063877 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00063838 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00063624 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00063546 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00063538 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00063505 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00063339 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00063335 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00063288 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00063279 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00063093 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00063036 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00063011 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00062897 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00062865 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00062714 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00062712 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00062421 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00062393 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00062361 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00062324 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00062259 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00062223 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00062212 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00062084 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00062047 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00061946 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00061893 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00061831 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00061677 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00061598 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00061484 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00061446 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00061433 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00061418 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00061392 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00061318 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00061276 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00061243 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00061222 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                              0.0006122 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00061218 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00061116 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00061101 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00061096 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00061058 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00061056 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00060905 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00060885 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00060855 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00060851 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                              0.0006078 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00060766 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00060758 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                              0.0006064 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00060577 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00060502 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                              0.0006044 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00060429 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00060392 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00060285 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00060262 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00060083 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00060036 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00060023 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00059908 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00059906 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                              0.0005981 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00059749 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00059731 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00059693 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00059675 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00059532 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00059447 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00059283 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00059266 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00059261 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                                0.000591 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00059059 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00059029 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00058887 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00058801 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0005876 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00058725 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00058719 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00058698 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00058689 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00058678 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00058577 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00058518 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00058428 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00058328 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00058215 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00058212 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00058134 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00058088 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00058001 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00057936 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00057875 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00057871 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00057843 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                              0.0005777 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00057655 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00057648 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00057537 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00057463 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00057385 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00057212 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00057198 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00057172 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.0005716 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                                0.000571 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00057047 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00056994 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00056927 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00056905 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00056825 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00056796 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00056749 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00056744 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                                0.000566 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00056533 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00056496 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00056434 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00056408 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00056324 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00056291 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00056234 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00056223 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00056149 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00056022 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00055996 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00055975 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00055941 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00055913 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00055891 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00055888 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00055855 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00055846 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00055795 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00055775 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00055737 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00055728 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00055718 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00055716 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00055714 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00055713 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00055684 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00055629 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00055529 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00055476 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00055465 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00055415 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00055405 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                              0.0005537 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00055368 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00055311 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00055223 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00055183 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00055161 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                              0.0005509 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00055078 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00055077 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00055051 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00055037 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                             0.00055022 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00054867 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00054857 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00054855 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00054837 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00054787 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                              0.0005475 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00054729 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00054724 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00054671 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00054653 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                              0.0005465 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00054646 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00054618 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00054583 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00054561 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00054543 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00054538 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00054531 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/13/2023 Bitcoin                              0.0005439 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00054365 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00054338 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00054324 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00054322 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00054297 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00054268 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00054248 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00054239 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00054212 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00054202 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00054131 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00054098 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00054098 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00054088 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00054048 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00053998 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00053963 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00053912 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00053909 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00053888 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00053848 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00053825 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00053798 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00053755 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00053652 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00053647 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00053623 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00053603 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00053603 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00053456 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00053444 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00053373 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00053318 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00053301 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00053259 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00053229 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00053223 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00053214 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00053207 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00053199 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00053174 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00053171 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                                 0.00053 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00052932 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                              0.0005291 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00052884 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00052883 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00052824 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00052806 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00052795 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                              0.0005279 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00052774 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00052693 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00052693 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                              0.0005269 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00052689 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00052678 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00052667 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                              0.0005264 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00052639 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00052628 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00052622 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00052622 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00052577 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00052484 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00052476 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00052465 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00052403 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00052396 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00052393 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00052323 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00052316 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00052284 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00052247 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00052247 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00052223 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00052194 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00052194 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00052152 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00052146 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00052127 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00052123 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00052083 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00052011 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00051981 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00051969 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00051964 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00051964 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00051945 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00051911 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                              0.0005188 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00051855 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                             0.00051842 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00051835 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00051825 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00051822 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/21/2023 Bitcoin                             0.00051808 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00051742 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00051711 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00051695 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00051672 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00051612 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00051609 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00051575 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00051569 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00051565 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00051557 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00051532 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00051531 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00051457 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                              0.0005143 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00051401 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00051389 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00051387 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00051335 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00051331 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00051304 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00051302 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00051291 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00051282 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00051278 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00051272 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00051261 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00051237 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                              0.0005122 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00051208 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00051206 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00051199 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00051166 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00051163 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00051137 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00051113 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00051105 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00051101 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00051079 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/15/2023 Bitcoin                             0.00051045 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00051043 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                              0.0005103 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00051014 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                              0.0005099 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00050981 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00050954 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00050895 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00050845 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00050842 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/6/2023 Bitcoin                             0.00050834 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00050749 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00050725 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00050715 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00050687 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00050641 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/29/2023 Bitcoin                             0.00050622 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                             0.00050617 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                              0.0005058 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                              0.0005057 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.0005057 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00050554 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                              0.0005055 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                              0.0005055 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00050546 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00050535 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/14/2023 Bitcoin                              0.0005053 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00050525 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00050518 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00050516 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00050515 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                              0.0005051 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00050505 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00050502 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                                0.000505 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                             0.00050487 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/31/2023 Bitcoin                             0.00050454 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00050451 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00050427 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00050427 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00050426 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/24/2023 Bitcoin                             0.00050425 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00050413 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00050411 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00050386 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/2/2023 Bitcoin                             0.00050374 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00050367 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/10/2023 Bitcoin                             0.00050367 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00050342 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                              0.0005032 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                             0.00050285 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00050283 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                             0.00050282 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/18/2023 Bitcoin                              0.0005028 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/26/2023 Bitcoin                              0.0005028 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/11/2023 Bitcoin                             0.00050269 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                              0.0005026 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00050253 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.0005025 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/4/2023 Bitcoin                             0.00050228 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00050227 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                             0.00050226 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00050222 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00050209 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00050196 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00050178 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00050177 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/22/2023 Bitcoin                             0.00050167 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00050133 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/12/2023 Bitcoin                             0.00050131 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/3/2023 Bitcoin                             0.00050125 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/9/2023 Bitcoin                             0.00050114 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/30/2023 Bitcoin                             0.00050107 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     6/16/2023 Bitcoin                             0.00050102 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/17/2023 Bitcoin                             0.00050092 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/5/2023 Bitcoin                             0.00050082 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/20/2023 Bitcoin                             0.00050073 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/23/2023 Bitcoin                             0.00050073 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/7/2023 Bitcoin                              0.0005006 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/27/2023 Bitcoin                             0.00050053 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/8/2023 Bitcoin                             0.00050045 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/28/2023 Bitcoin                             0.00050039 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                             0.00050024 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/19/2023 Bitcoin                              0.0005002 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]      6/1/2023 Bitcoin                             0.00050018 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/16/2023 Bitcoin                              0.0005001 Customer Transfer
 Confidential Customer Coin Transferee #5236    [Address on File]     5/25/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #5237    [Address on File]     5/17/2023 Bitcoin                              0.0073185 Customer Transfer
 Confidential Customer Coin Transferee #5238    [Address on File]     5/25/2023 Bitcoin                             0.01337249 Customer Transfer
 Confidential Customer Coin Transferee #5239    [Address on File]     5/24/2023 Bitcoin                             0.00670461 Customer Transfer
 Confidential Customer Coin Transferee #5239    [Address on File]     5/16/2023 Bitcoin                             0.00402271 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]      6/2/2023 Audius                                14999000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]      6/6/2023 Audius                                 8000000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]     6/21/2023 Audius                                 7000000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]     5/18/2023 Audius                                 1995000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]     5/22/2023 Audius                                 1500000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]     5/19/2023 Audius                                 1000000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]     5/16/2023 Audius                                   750000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]      6/8/2023 Audius                                   750000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]     5/18/2023 Audius                                   500000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]     6/15/2023 Audius                                    12000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]     6/15/2023 Audius                                    10000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]     5/17/2023 Audius                                      5000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]      6/2/2023 Audius                                      1000 Customer Transfer
 Confidential Customer Coin Transferee #5240    [Address on File]      6/6/2023 Audius                                         50 Customer Transfer
 Confidential Customer Coin Transferee #5241    [Address on File]     6/20/2023 Bitcoin                             0.00063482 Customer Transfer
 Confidential Customer Coin Transferee #5242    [Address on File]     6/19/2023 Bitcoin                             0.00063724 Customer Transfer
 Confidential Customer Coin Transferee #5243    [Address on File]     5/22/2023 Bitcoin                              0.0042589 Customer Transfer
 Confidential Customer Coin Transferee #5244    [Address on File]     5/22/2023 Bitcoin                                      0.03 Customer Transfer
 Confidential Customer Coin Transferee #5245    [Address on File]      6/5/2023 USDC Solana)                        497.231384 Customer Transfer
 Confidential Customer Coin Transferee #5246    [Address on File]     6/19/2023 Bitcoin                             0.00036793 Customer Transfer
 Confidential Customer Coin Transferee #5247    [Address on File]     5/29/2023 Bitcoin                             0.00057808 Customer Transfer
 Confidential Customer Coin Transferee #5248    [Address on File]     6/20/2023 Bitcoin                             0.00416056 Customer Transfer
 Confidential Customer Coin Transferee #5249    [Address on File]     6/20/2023 Bitcoin                             0.00005626 Customer Transfer
 Confidential Customer Coin Transferee #5250    [Address on File]     5/25/2023 Bitcoin                             0.05805671 Customer Transfer
 Confidential Customer Coin Transferee #5251    [Address on File]     5/28/2023 Bitcoin                             0.03667808 Customer Transfer
 Confidential Customer Coin Transferee #5252    [Address on File]     5/29/2023 Bitcoin                              0.0125332 Customer Transfer
 Confidential Customer Coin Transferee #5253    [Address on File]     5/26/2023 Bitcoin                             0.00146439 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/27/2023 Bitcoin                             0.00225171 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/22/2023 Bitcoin                             0.00184994 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/19/2023 Bitcoin                                0.001659 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/19/2023 Bitcoin                             0.00147651 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/16/2023 Bitcoin                             0.00146561 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/23/2023 Bitcoin                             0.00145109 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/23/2023 Bitcoin                             0.00142723 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/21/2023 Bitcoin                                  0.0014 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/21/2023 Bitcoin                                  0.0014 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/18/2023 Bitcoin                             0.00134519 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/19/2023 Bitcoin                                  0.0013 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/22/2023 Bitcoin                             0.00121644 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/19/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/22/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/19/2023 Bitcoin                                 0.00117 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/23/2023 Bitcoin                                 0.00117 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/27/2023 Bitcoin                             0.00111679 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/20/2023 Bitcoin                             0.00111046 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/17/2023 Bitcoin                             0.00107785 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/24/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/24/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/27/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/23/2023 Bitcoin                             0.00091353 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/23/2023 Bitcoin                             0.00091017 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/23/2023 Bitcoin                             0.00090696 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/19/2023 Bitcoin                                  0.0009 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/28/2023 Bitcoin                             0.00088433 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/28/2023 Bitcoin                                 0.00087 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/24/2023 Bitcoin                             0.00086164 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/23/2023 Bitcoin                             0.00077029 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/28/2023 Bitcoin                                 0.00077 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/23/2023 Bitcoin                                 0.00075 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/19/2023 Bitcoin                             0.00074091 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/20/2023 Bitcoin                             0.00073892 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/28/2023 Bitcoin                             0.00071486 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/19/2023 Bitcoin                             0.00067843 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/18/2023 Bitcoin                             0.00067157 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/23/2023 Bitcoin                             0.00064296 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/21/2023 Bitcoin                             0.00056413 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/24/2023 Bitcoin                             0.00053609 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/27/2023 Bitcoin                             0.00052122 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/17/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/16/2023 Bitcoin                             0.00047802 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/19/2023 Bitcoin                             0.00046571 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/19/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #5254    [Address on File]     5/19/2023 Bitcoin                             0.00037023 Customer Transfer
 Confidential Customer Coin Transferee #5255    [Address on File]     5/22/2023 Bitcoin                             0.01474874 Customer Transfer
 Confidential Customer Coin Transferee #5255    [Address on File]     5/22/2023 Bitcoin                             0.01392043 Customer Transfer
 Confidential Customer Coin Transferee #5256    [Address on File]     6/19/2023 Bitcoin                             0.00057901 Customer Transfer
 Confidential Customer Coin Transferee #5257    [Address on File]     6/19/2023 Bitcoin                             0.00005831 Customer Transfer
 Confidential Customer Coin Transferee #5258    [Address on File]     6/19/2023 Bitcoin                             0.01074804 Customer Transfer

 Confidential Customer Coin Transferee #5259    [Address on File]     6/20/2023 Bitcoin                                0.00046471 Customer Transfer
 Confidential Customer Coin Transferee #5260    [Address on File]     6/19/2023 Bitcoin                                 0.0034564 Customer Transfer
 Confidential Customer Coin Transferee #5261    [Address on File]     5/26/2023 Bitcoin                                0.05073444 Customer Transfer
 Confidential Customer Coin Transferee #5262    [Address on File]     5/19/2023 Bitcoin                                0.00111784 Customer Transfer
 Confidential Customer Coin Transferee #5263    [Address on File]     5/28/2023 Bitcoin                                0.05561005 Customer Transfer
 Confidential Customer Coin Transferee #5264    [Address on File]      6/6/2023 Bitcoin                                0.02444123 Customer Transfer
 Confidential Customer Coin Transferee #5264    [Address on File]     6/19/2023 Bitcoin                                0.00350423 Customer Transfer
 Confidential Customer Coin Transferee #5265    [Address on File]     5/16/2023 Bitcoin                                0.04117411 Customer Transfer
 Confidential Customer Coin Transferee #5265    [Address on File]     5/19/2023 Bitcoin                                0.04110401 Customer Transfer
 Confidential Customer Coin Transferee #5265    [Address on File]     5/25/2023 Bitcoin                                0.03603178 Customer Transfer
 Confidential Customer Coin Transferee #5265    [Address on File]     5/16/2023 Bitcoin                                0.00349138 Customer Transfer
 Confidential Customer Coin Transferee #5266    [Address on File]     6/20/2023 Bitcoin                                0.00006193 Customer Transfer
 Confidential Customer Coin Transferee #5267    [Address on File]      6/5/2023 USDC Avalanche)                        496.301849 Customer Transfer
 Confidential Customer Coin Transferee #5267    [Address on File]     5/16/2023 USDC Avalanche)                        496.291112 Customer Transfer
 Confidential Customer Coin Transferee #5267    [Address on File]     5/17/2023 USDC Avalanche)                         495.83125 Customer Transfer
 Confidential Customer Coin Transferee #5267    [Address on File]     5/18/2023 USD Coin                               494.182327 Customer Transfer
 Confidential Customer Coin Transferee #5267    [Address on File]      6/7/2023 USDC Avalanche)                         96.921231 Customer Transfer
 Confidential Customer Coin Transferee #5267    [Address on File]      6/5/2023 Ether                                     0.051052 Customer Transfer
 Confidential Customer Coin Transferee #5267    [Address on File]     5/18/2023 Ether                                     0.024758 Customer Transfer
 Confidential Customer Coin Transferee #5268    [Address on File]     5/19/2023 Bitcoin                                0.06058637 Customer Transfer

 Confidential Customer Coin Transferee #5269    [Address on File]     5/17/2023 Bitcoin                                0.01049696 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #5270    [Address on File]     6/20/2023 Bitcoin                                0.23860066 Customer Transfer

 Confidential Customer Coin Transferee #5270    [Address on File]     6/19/2023 Bitcoin                                0.03785983 Customer Transfer

 Confidential Customer Coin Transferee #5270    [Address on File]     6/20/2023 Bitcoin                                0.02463314 Customer Transfer

 Confidential Customer Coin Transferee #5270    [Address on File]     6/19/2023 Bitcoin                                 0.0036292 Customer Transfer
 Confidential Customer Coin Transferee #5271    [Address on File]     6/20/2023 Bitcoin                                0.00292942 Customer Transfer

 Confidential Customer Coin Transferee #5272    [Address on File]     5/19/2023 Bitcoin                                0.00182808 Customer Transfer

 Confidential Customer Coin Transferee #5272    [Address on File]      6/2/2023 Bitcoin                             0.00181078 Customer Transfer
 Confidential Customer Coin Transferee #5273    [Address on File]      6/2/2023 Tether USD                              1286.05 Customer Transfer
 Confidential Customer Coin Transferee #5274    [Address on File]      6/5/2023 Tether USD                         1140.941341 Customer Transfer
 Confidential Customer Coin Transferee #5274    [Address on File]      6/1/2023 Tether USD                          289.328537 Customer Transfer
 Confidential Customer Coin Transferee #5274    [Address on File]     6/14/2023 USDC Avalanche)                     193.323338 Customer Transfer
 Confidential Customer Coin Transferee #5274    [Address on File]     6/14/2023 Bitcoin                                0.009929 Customer Transfer
 Confidential Customer Coin Transferee #5275    [Address on File]     6/20/2023 Bitcoin                                0.003639 Customer Transfer
 Confidential Customer Coin Transferee #5276    [Address on File]     5/22/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #5277    [Address on File]     5/26/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #5278    [Address on File]     5/19/2023 Bitcoin                              0.0088513 Customer Transfer
 Confidential Customer Coin Transferee #5278    [Address on File]     5/29/2023 Bitcoin                             0.00498613 Customer Transfer
 Confidential Customer Coin Transferee #5279    [Address on File]     5/28/2023 Bitcoin                             0.00189028 Customer Transfer
 Confidential Customer Coin Transferee #5280    [Address on File]     5/29/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #5281    [Address on File]     5/23/2023 Bitcoin                                     0.22 Customer Transfer
 Confidential Customer Coin Transferee #5282    [Address on File]     5/24/2023 Bitcoin                                0.006245 Customer Transfer
 Confidential Customer Coin Transferee #5283    [Address on File]     5/24/2023 Bitcoin                             0.01151499 Customer Transfer
 Confidential Customer Coin Transferee #5284    [Address on File]     5/25/2023 Bitcoin                             0.00367367 Customer Transfer
 Confidential Customer Coin Transferee #5285    [Address on File]     5/19/2023 Bitcoin                             0.03020164 Customer Transfer
 Confidential Customer Coin Transferee #5286    [Address on File]     6/20/2023 Bitcoin                             0.00065726 Customer Transfer
 Confidential Customer Coin Transferee #5287    [Address on File]     5/23/2023 Bitcoin                             0.01203196 Customer Transfer
 Confidential Customer Coin Transferee #5287    [Address on File]     5/18/2023 Bitcoin                              0.0035791 Customer Transfer
 Confidential Customer Coin Transferee #5287    [Address on File]     5/17/2023 Bitcoin                             0.00258186 Customer Transfer
 Confidential Customer Coin Transferee #5287    [Address on File]     5/20/2023 Bitcoin                             0.00181382 Customer Transfer
 Confidential Customer Coin Transferee #5288    [Address on File]     5/23/2023 Bitcoin                             0.00528662 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #5289    [Address on File]     6/20/2023 Bitcoin                                0.002939 Customer Transfer
 Confidential Customer Coin Transferee #5290    [Address on File]     6/12/2023 Bitcoin                             0.00191978 Customer Transfer
 Confidential Customer Coin Transferee #5290    [Address on File]      6/6/2023 Bitcoin                             0.00185197 Customer Transfer
 Confidential Customer Coin Transferee #5290    [Address on File]     5/22/2023 Bitcoin                             0.00183683 Customer Transfer
 Confidential Customer Coin Transferee #5290    [Address on File]     5/30/2023 Bitcoin                             0.00179158 Customer Transfer
 Confidential Customer Coin Transferee #5291    [Address on File]     5/20/2023 Bitcoin                             0.01745252 Customer Transfer
 Confidential Customer Coin Transferee #5292    [Address on File]     5/21/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #5292    [Address on File]     5/21/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #5292    [Address on File]     5/21/2023 Bitcoin                                0.014875 Customer Transfer
 Confidential Customer Coin Transferee #5292    [Address on File]     5/26/2023 Bitcoin                                0.014875 Customer Transfer
 Confidential Customer Coin Transferee #5292    [Address on File]     5/26/2023 Bitcoin                                0.014875 Customer Transfer
 Confidential Customer Coin Transferee #5292    [Address on File]     5/16/2023 Bitcoin                             0.00371906 Customer Transfer
 Confidential Customer Coin Transferee #5292    [Address on File]     5/26/2023 Bitcoin                                 0.00125 Customer Transfer
 Confidential Customer Coin Transferee #5292    [Address on File]     5/21/2023 Bitcoin                                0.000989 Customer Transfer
 Confidential Customer Coin Transferee #5292    [Address on File]     5/26/2023 Bitcoin                                0.000775 Customer Transfer
 Confidential Customer Coin Transferee #5292    [Address on File]     5/21/2023 Bitcoin                                0.000655 Customer Transfer
 Confidential Customer Coin Transferee #5292    [Address on File]     5/26/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #5293    [Address on File]      6/6/2023 Bitcoin                             0.03764311 Customer Transfer
 Confidential Customer Coin Transferee #5294    [Address on File]     6/19/2023 Bitcoin                             0.00456745 Customer Transfer
 Confidential Customer Coin Transferee #5295    [Address on File]     5/26/2023 Bitcoin                             0.01189807 Customer Transfer
 Confidential Customer Coin Transferee #5295    [Address on File]      6/9/2023 Bitcoin                             0.01027504 Customer Transfer
 Confidential Customer Coin Transferee #5296    [Address on File]     6/19/2023 Bitcoin                             0.01952717 Customer Transfer
 Confidential Customer Coin Transferee #5297    [Address on File]     6/20/2023 Bitcoin                             0.00005984 Customer Transfer
 Confidential Customer Coin Transferee #5298    [Address on File]     5/26/2023 Bitcoin                             0.00185377 Customer Transfer
 Confidential Customer Coin Transferee #5298    [Address on File]     5/19/2023 Bitcoin                             0.00173796 Customer Transfer
 Confidential Customer Coin Transferee #5299    [Address on File]     6/19/2023 Bitcoin                              0.0006164 Customer Transfer
 Confidential Customer Coin Transferee #5300    [Address on File]     5/29/2023 Bitcoin                             0.01014908 Customer Transfer
 Confidential Customer Coin Transferee #5301    [Address on File]      6/6/2023 Bitcoin                             0.00200229 Customer Transfer
 Confidential Customer Coin Transferee #5301    [Address on File]     5/24/2023 Bitcoin                             0.00169568 Customer Transfer
 Confidential Customer Coin Transferee #5302    [Address on File]     6/20/2023 Bitcoin                             0.00079997 Customer Transfer
 Confidential Customer Coin Transferee #5303    [Address on File]     5/20/2023 Bitcoin                             0.01043457 Customer Transfer
 Confidential Customer Coin Transferee #5304    [Address on File]     5/17/2023 Bitcoin                             0.01748977 Customer Transfer
 Confidential Customer Coin Transferee #5305    [Address on File]     5/18/2023 Bitcoin                             0.00867802 Customer Transfer
 Confidential Customer Coin Transferee #5306    [Address on File]      6/5/2023 Bitcoin                             0.00004298 Customer Transfer

 Confidential Customer Coin Transferee #5307    [Address on File]      6/7/2023 Bitcoin                                0.00338113 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5308    [Address on File]     6/20/2023 Bitcoin                              0.0001398 Customer Transfer
 Confidential Customer Coin Transferee #5309    [Address on File]     6/20/2023 Bitcoin                             0.00286697 Customer Transfer
 Confidential Customer Coin Transferee #5310    [Address on File]     5/16/2023 Bitcoin                             0.05462625 Customer Transfer
 Confidential Customer Coin Transferee #5311    [Address on File]     5/29/2023 Bitcoin                             0.03000004 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/20/2023 Bitcoin                             0.00367575 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/19/2023 Bitcoin                                 0.00189 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/20/2023 Bitcoin                             0.00184616 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/20/2023 Bitcoin                              0.0018381 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/19/2023 Bitcoin                             0.00180956 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/29/2023 Bitcoin                             0.00175793 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/20/2023 Bitcoin                             0.00150695 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/23/2023 Bitcoin                             0.00122717 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/23/2023 Bitcoin                             0.00121492 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/23/2023 Bitcoin                             0.00120193 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/23/2023 Bitcoin                             0.00109233 Customer Transfer
 Confidential Customer Coin Transferee #5312    [Address on File]     5/22/2023 Bitcoin                             0.00092571 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/19/2023 Bitcoin                             0.03696522 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/19/2023 Bitcoin                              0.0222071 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/31/2023 Bitcoin                             0.01006448 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/19/2023 Bitcoin                             0.00741188 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/20/2023 Bitcoin                             0.00721853 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/24/2023 Bitcoin                             0.00567769 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/17/2023 Bitcoin                             0.00493839 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/17/2023 Bitcoin                             0.00414625 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/24/2023 Bitcoin                             0.00398918 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/19/2023 Bitcoin                             0.00389019 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/17/2023 Bitcoin                             0.00374097 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/24/2023 Bitcoin                             0.00329412 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/20/2023 Bitcoin                             0.00277641 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/31/2023 Bitcoin                                0.002734 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/20/2023 Bitcoin                             0.00222175 Customer Transfer
 Confidential Customer Coin Transferee #5313    [Address on File]     5/17/2023 Bitcoin                             0.00022299 Customer Transfer
 Confidential Customer Coin Transferee #5314    [Address on File]     5/18/2023 Bitcoin                                   0.0066 Customer Transfer
 Confidential Customer Coin Transferee #5314    [Address on File]     5/16/2023 Bitcoin                                 0.00334 Customer Transfer
 Confidential Customer Coin Transferee #5315    [Address on File]     6/20/2023 Bitcoin                             0.00178991 Customer Transfer
 Confidential Customer Coin Transferee #5316    [Address on File]     5/24/2023 Bitcoin                             0.03024783 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5317    [Address on File]     6/20/2023 Bitcoin                             0.00288514 Customer Transfer
 Confidential Customer Coin Transferee #5318    [Address on File]     5/25/2023 Bitcoin                             0.03778664 Customer Transfer
 Confidential Customer Coin Transferee #5319    [Address on File]     5/25/2023 Bitcoin                             0.00075326 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/20/2023 Bitcoin                             0.02700132 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/22/2023 Bitcoin                             0.02425087 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/19/2023 Bitcoin                             0.01666263 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/16/2023 Bitcoin                             0.01195012 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/22/2023 Bitcoin                             0.00980773 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/26/2023 Bitcoin                             0.00917296 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/22/2023 Bitcoin                             0.00915313 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/23/2023 Bitcoin                             0.00873741 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/24/2023 Bitcoin                             0.00869571 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/23/2023 Bitcoin                             0.00675195 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/25/2023 Bitcoin                             0.00646973 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/20/2023 Bitcoin                             0.00642785 Customer Transfer
 Confidential Customer Coin Transferee #5320    [Address on File]     5/26/2023 Bitcoin                             0.00558257 Customer Transfer
 Confidential Customer Coin Transferee #5321    [Address on File]     5/20/2023 Bitcoin                                    0.13 Customer Transfer
 Confidential Customer Coin Transferee #5322    [Address on File]     6/21/2023 USD Coin                            995.515248 Customer Transfer
 Confidential Customer Coin Transferee #5322    [Address on File]     6/21/2023 USD Coin                            985.560538 Customer Transfer
 Confidential Customer Coin Transferee #5322    [Address on File]     6/21/2023 USD Coin                             295.72411 Customer Transfer
 Confidential Customer Coin Transferee #5322    [Address on File]     6/21/2023 USD Coin                            167.244643 Customer Transfer
 Confidential Customer Coin Transferee #5323    [Address on File]     5/16/2023 Bitcoin                             0.06336703 Customer Transfer
 Confidential Customer Coin Transferee #5324    [Address on File]     5/26/2023 Bitcoin                             0.00177333 Customer Transfer
 Confidential Customer Coin Transferee #5325    [Address on File]     6/20/2023 Bitcoin                             0.00100845 Customer Transfer
 Confidential Customer Coin Transferee #5326    [Address on File]     6/16/2023 Bitcoin                             0.01098057 Customer Transfer
 Confidential Customer Coin Transferee #5327    [Address on File]     5/22/2023 Bitcoin                             0.00744197 Customer Transfer
 Confidential Customer Coin Transferee #5328    [Address on File]     5/16/2023 Bitcoin                             0.01458802 Customer Transfer
 Confidential Customer Coin Transferee #5329    [Address on File]     6/20/2023 Bitcoin                             0.00111739 Customer Transfer
 Confidential Customer Coin Transferee #5330    [Address on File]     5/25/2023 Bitcoin                             0.00075203 Customer Transfer
 Confidential Customer Coin Transferee #5330    [Address on File]     5/18/2023 Bitcoin                             0.00067602 Customer Transfer
 Confidential Customer Coin Transferee #5331    [Address on File]     5/20/2023 Bitcoin                              0.0008994 Customer Transfer
 Confidential Customer Coin Transferee #5332    [Address on File]     5/18/2023 Bitcoin                             0.00863212 Customer Transfer
 Confidential Customer Coin Transferee #5333    [Address on File]     6/19/2023 Bitcoin                             0.00198412 Customer Transfer
 Confidential Customer Coin Transferee #5334    [Address on File]     5/20/2023 Bitcoin                             0.00072256 Customer Transfer
 Confidential Customer Coin Transferee #5335    [Address on File]      6/7/2023 Bitcoin                              0.0052825 Customer Transfer
 Confidential Customer Coin Transferee #5336    [Address on File]     5/18/2023 Bitcoin                                    0.01 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5336    [Address on File]     5/18/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #5337    [Address on File]     6/21/2023 Bitcoin                             1.20294963 Customer Transfer
 Confidential Customer Coin Transferee #5338    [Address on File]     6/20/2023 Bitcoin                             0.00982379 Customer Transfer
 Confidential Customer Coin Transferee #5339    [Address on File]     6/15/2023 Tether USD                              79.5338 Customer Transfer
 Confidential Customer Coin Transferee #5339    [Address on File]     6/20/2023 Bitcoin                             0.69982327 Customer Transfer

 Confidential Customer Coin Transferee #5340    [Address on File]      6/8/2023 Bitcoin                                1.85844046 Customer Transfer
 Confidential Customer Coin Transferee #5341    [Address on File]     6/20/2023 Bitcoin                                0.00357162 Customer Transfer
 Confidential Customer Coin Transferee #5342    [Address on File]     6/20/2023 Bitcoin                                0.00011632 Customer Transfer
 Confidential Customer Coin Transferee #5343    [Address on File]     5/20/2023 Bitcoin                                0.01598552 Customer Transfer

 Confidential Customer Coin Transferee #5344    [Address on File]     5/26/2023 Bitcoin                                0.01857016 Customer Transfer
 Confidential Customer Coin Transferee #5345    [Address on File]     5/28/2023 Bitcoin                                0.01834777 Customer Transfer
 Confidential Customer Coin Transferee #5345    [Address on File]     5/17/2023 Bitcoin                                0.00899341 Customer Transfer
 Confidential Customer Coin Transferee #5345    [Address on File]     5/25/2023 Bitcoin                                0.00376498 Customer Transfer
 Confidential Customer Coin Transferee #5346    [Address on File]     6/19/2023 Bitcoin                                0.00003419 Customer Transfer
 Confidential Customer Coin Transferee #5347    [Address on File]     5/27/2023 Bitcoin                                0.01235042 Customer Transfer
 Confidential Customer Coin Transferee #5348    [Address on File]     5/26/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #5349    [Address on File]     5/28/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #5349    [Address on File]     5/28/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #5349    [Address on File]     5/28/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #5349    [Address on File]     5/28/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #5349    [Address on File]     5/28/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #5349    [Address on File]     5/28/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #5349    [Address on File]     5/28/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #5349    [Address on File]     5/28/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #5349    [Address on File]     5/28/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #5349    [Address on File]     5/28/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #5350    [Address on File]     5/26/2023 Bitcoin                                0.00452228 Customer Transfer
 Confidential Customer Coin Transferee #5350    [Address on File]     5/21/2023 Bitcoin                                0.00442606 Customer Transfer
 Confidential Customer Coin Transferee #5351    [Address on File]     5/16/2023 Bitcoin                                0.00179841 Customer Transfer
 Confidential Customer Coin Transferee #5351    [Address on File]     5/27/2023 Bitcoin                                0.00111549 Customer Transfer
 Confidential Customer Coin Transferee #5351    [Address on File]     5/29/2023 Bitcoin                                0.00089035 Customer Transfer
 Confidential Customer Coin Transferee #5351    [Address on File]     5/30/2023 Bitcoin                                0.00071726 Customer Transfer
 Confidential Customer Coin Transferee #5351    [Address on File]     5/28/2023 Bitcoin                                0.00070739 Customer Transfer
 Confidential Customer Coin Transferee #5351    [Address on File]     5/27/2023 Bitcoin                                0.00055768 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5351    [Address on File]     5/29/2023 Bitcoin                             0.00053226 Customer Transfer
 Confidential Customer Coin Transferee #5351    [Address on File]     5/30/2023 Bitcoin                             0.00035825 Customer Transfer
 Confidential Customer Coin Transferee #5351    [Address on File]     5/29/2023 Bitcoin                             0.00032348 Customer Transfer
 Confidential Customer Coin Transferee #5351    [Address on File]     5/18/2023 Bitcoin                             0.00031003 Customer Transfer
 Confidential Customer Coin Transferee #5352    [Address on File]     5/26/2023 Bitcoin                             0.55593846 Customer Transfer
 Confidential Customer Coin Transferee #5352    [Address on File]     5/26/2023 Bitcoin                             0.00446003 Customer Transfer
 Confidential Customer Coin Transferee #5352    [Address on File]     5/20/2023 Bitcoin                             0.00415211 Customer Transfer
 Confidential Customer Coin Transferee #5353    [Address on File]     5/22/2023 Bitcoin                             0.01001371 Customer Transfer

 Confidential Customer Coin Transferee #5354    [Address on File]      6/1/2023 Ether                                    0.130297 Customer Transfer

 Confidential Customer Coin Transferee #5354    [Address on File]      6/1/2023 Ether                                    0.016826 Customer Transfer

 Confidential Customer Coin Transferee #5355    [Address on File]      6/1/2023 Tether USD                                538.9475 Customer Transfer
 Confidential Customer Coin Transferee #5356    [Address on File]     6/19/2023 Bitcoin                                0.00201266 Customer Transfer
 Confidential Customer Coin Transferee #5357    [Address on File]     5/21/2023 Bitcoin                                0.01060245 Customer Transfer
 Confidential Customer Coin Transferee #5358    [Address on File]     5/26/2023 Bitcoin                                0.00036538 Customer Transfer
 Confidential Customer Coin Transferee #5358    [Address on File]     5/19/2023 Bitcoin                                0.00035286 Customer Transfer
 Confidential Customer Coin Transferee #5359    [Address on File]     5/22/2023 USDC Avalanche)                        996.131547 Customer Transfer
 Confidential Customer Coin Transferee #5359    [Address on File]     6/11/2023 USDC Avalanche)                        496.702637 Customer Transfer
 Confidential Customer Coin Transferee #5360    [Address on File]      6/2/2023 Cosmos Hub ATOM)                        18.601239 Customer Transfer
 Confidential Customer Coin Transferee #5360    [Address on File]     5/21/2023 Cosmos Hub ATOM)                         6.392509 Customer Transfer
 Confidential Customer Coin Transferee #5360    [Address on File]      6/5/2023 Cosmos Hub ATOM)                         5.900236 Customer Transfer
 Confidential Customer Coin Transferee #5360    [Address on File]     6/10/2023 Cosmos Hub ATOM)                         5.555192 Customer Transfer
 Confidential Customer Coin Transferee #5360    [Address on File]      6/5/2023 Bitcoin                                   0.002038 Customer Transfer
 Confidential Customer Coin Transferee #5360    [Address on File]     6/10/2023 Bitcoin                                   0.001694 Customer Transfer
 Confidential Customer Coin Transferee #5361    [Address on File]     5/18/2023 Tether USD                                 1584.29 Customer Transfer
 Confidential Customer Coin Transferee #5362    [Address on File]     6/20/2023 Bitcoin                                0.00044419 Customer Transfer
 Confidential Customer Coin Transferee #5363    [Address on File]     5/22/2023 Bitcoin                                0.00560508 Customer Transfer
 Confidential Customer Coin Transferee #5364    [Address on File]      6/6/2023 Bitcoin                                0.01392156 Customer Transfer
 Confidential Customer Coin Transferee #5365    [Address on File]     5/26/2023 Bitcoin                                0.01009286 Customer Transfer
 Confidential Customer Coin Transferee #5366    [Address on File]     5/22/2023 Bitcoin                                0.00110467 Customer Transfer
 Confidential Customer Coin Transferee #5367    [Address on File]     6/20/2023 Bitcoin                                0.00063644 Customer Transfer
 Confidential Customer Coin Transferee #5368    [Address on File]     6/19/2023 Bitcoin                                0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #5369    [Address on File]     5/20/2023 Bitcoin                                 0.0166405 Customer Transfer
 Confidential Customer Coin Transferee #5369    [Address on File]     5/23/2023 Bitcoin                                0.00182777 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5370    [Address on File]     6/20/2023 Bitcoin                             0.00006502 Customer Transfer

 Confidential Customer Coin Transferee #5371    [Address on File]     5/25/2023 Tether USD                                   2495 Customer Transfer

 Confidential Customer Coin Transferee #5371    [Address on File]     5/25/2023 Tether USD                                      5 Customer Transfer
 Confidential Customer Coin Transferee #5372    [Address on File]     6/19/2023 Bitcoin                                0.02877769 Customer Transfer
 Confidential Customer Coin Transferee #5373    [Address on File]     5/25/2023 Bitcoin                                0.00081372 Customer Transfer

 Confidential Customer Coin Transferee #5374    [Address on File]     5/29/2023 Bitcoin                                0.00518535 Customer Transfer
 Confidential Customer Coin Transferee #5375    [Address on File]     6/20/2023 Bitcoin                                0.00083267 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/19/2023 Bitcoin                                0.01378871 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/29/2023 Bitcoin                                0.00968368 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/19/2023 Bitcoin                                0.00845195 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/22/2023 Bitcoin                                 0.0033315 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/18/2023 Bitcoin                                0.00250916 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/22/2023 Bitcoin                                 0.0024496 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/23/2023 Bitcoin                                 0.0022212 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/31/2023 Bitcoin                                0.00198204 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/25/2023 Bitcoin                                0.00193202 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/20/2023 Bitcoin                                0.00177684 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/26/2023 Bitcoin                                0.00169574 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/30/2023 Bitcoin                                0.00161237 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/22/2023 Bitcoin                                0.00155587 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/20/2023 Bitcoin                                0.00155445 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/16/2023 Bitcoin                                0.00150522 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/18/2023 Bitcoin                                0.00146626 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/19/2023 Bitcoin                                0.00144476 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/16/2023 Bitcoin                                0.00143141 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/16/2023 Bitcoin                                 0.0014255 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/17/2023 Bitcoin                                0.00141727 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/17/2023 Bitcoin                                0.00140669 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/19/2023 Bitcoin                                0.00140499 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/16/2023 Bitcoin                                0.00140088 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/16/2023 Bitcoin                                0.00140016 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/18/2023 Bitcoin                                0.00135961 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/19/2023 Bitcoin                                 0.0013332 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/20/2023 Bitcoin                             0.00133048 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/30/2023 Bitcoin                              0.0012898 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/20/2023 Bitcoin                             0.00121778 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/18/2023 Bitcoin                             0.00112635 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/23/2023 Bitcoin                             0.00111107 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/23/2023 Bitcoin                             0.00109384 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/22/2023 Bitcoin                             0.00100082 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/23/2023 Bitcoin                             0.00099507 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/17/2023 Bitcoin                             0.00094631 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/24/2023 Bitcoin                             0.00089109 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/21/2023 Bitcoin                              0.0008806 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/23/2023 Bitcoin                             0.00087768 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/18/2023 Bitcoin                             0.00081811 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/17/2023 Bitcoin                             0.00081681 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/16/2023 Bitcoin                              0.0008081 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/19/2023 Bitcoin                             0.00077939 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/22/2023 Bitcoin                             0.00077924 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/19/2023 Bitcoin                             0.00077784 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/22/2023 Bitcoin                             0.00077646 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/19/2023 Bitcoin                             0.00073893 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/24/2023 Bitcoin                             0.00068242 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/31/2023 Bitcoin                             0.00055258 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/21/2023 Bitcoin                             0.00055105 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/22/2023 Bitcoin                             0.00048096 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/24/2023 Bitcoin                             0.00044829 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/20/2023 Bitcoin                             0.00044348 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/16/2023 Bitcoin                             0.00044319 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/24/2023 Bitcoin                             0.00032962 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/23/2023 Bitcoin                             0.00032951 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/23/2023 Bitcoin                             0.00032852 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/23/2023 Bitcoin                             0.00032814 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/20/2023 Bitcoin                             0.00022195 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/20/2023 Bitcoin                              0.0002206 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/16/2023 Bitcoin                             0.00011047 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/20/2023 Bitcoin                             0.00011021 Customer Transfer
 Confidential Customer Coin Transferee #5376    [Address on File]     5/17/2023 Bitcoin                             0.00011007 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5377    [Address on File]     6/12/2023 Bitcoin                             0.00372306 Customer Transfer
 Confidential Customer Coin Transferee #5377    [Address on File]     5/17/2023 Bitcoin                             0.00371772 Customer Transfer
 Confidential Customer Coin Transferee #5377    [Address on File]     6/13/2023 Bitcoin                             0.00191106 Customer Transfer
 Confidential Customer Coin Transferee #5377    [Address on File]     5/31/2023 Bitcoin                             0.00189698 Customer Transfer
 Confidential Customer Coin Transferee #5377    [Address on File]     5/22/2023 Bitcoin                             0.00184386 Customer Transfer
 Confidential Customer Coin Transferee #5378    [Address on File]     6/19/2023 Bitcoin                             0.00057895 Customer Transfer

 Confidential Customer Coin Transferee #5379    [Address on File]     5/22/2023 Bitcoin                                0.27082183 Customer Transfer
 Confidential Customer Coin Transferee #5380    [Address on File]     5/19/2023 Bitcoin                                0.00938767 Customer Transfer
 Confidential Customer Coin Transferee #5380    [Address on File]     5/26/2023 Bitcoin                                0.00363062 Customer Transfer
 Confidential Customer Coin Transferee #5380    [Address on File]     5/18/2023 Bitcoin                                0.00191399 Customer Transfer

 Confidential Customer Coin Transferee #5381    [Address on File]      6/6/2023 Bitcoin                                0.36784744 Customer Transfer
 Confidential Customer Coin Transferee #5382    [Address on File]     5/19/2023 Bitcoin                                0.00222709 Customer Transfer
 Confidential Customer Coin Transferee #5383    [Address on File]     6/19/2023 Bitcoin                                0.00480275 Customer Transfer
 Confidential Customer Coin Transferee #5384    [Address on File]     5/24/2023 Bitcoin                                0.01092553 Customer Transfer
 Confidential Customer Coin Transferee #5384    [Address on File]     5/17/2023 Bitcoin                                0.01030038 Customer Transfer
 Confidential Customer Coin Transferee #5385    [Address on File]     6/20/2023 Bitcoin                                0.00800861 Customer Transfer
 Confidential Customer Coin Transferee #5386    [Address on File]     5/29/2023 Bitcoin                                0.00218713 Customer Transfer

 Confidential Customer Coin Transferee #5387    [Address on File]     6/19/2023 Bitcoin                                0.00310957 Customer Transfer
 Confidential Customer Coin Transferee #5388    [Address on File]     5/16/2023 Bitcoin                                0.09605303 Customer Transfer
 Confidential Customer Coin Transferee #5389    [Address on File]     5/26/2023 Bitcoin                                0.04820475 Customer Transfer
 Confidential Customer Coin Transferee #5390    [Address on File]     5/19/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/24/2023 Bitcoin                                0.07425835 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/21/2023 Bitcoin                                0.07389681 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/22/2023 Bitcoin                                0.05163195 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/20/2023 Bitcoin                                0.03695951 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/21/2023 Bitcoin                                0.03695015 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/19/2023 Bitcoin                                0.03692899 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]      6/1/2023 Bitcoin                                0.03692411 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/16/2023 Bitcoin                                0.03683046 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/16/2023 Bitcoin                                0.03667762 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/18/2023 Bitcoin                                0.02179836 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/31/2023 Bitcoin                                0.01252229 Customer Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/29/2023 Bitcoin                                0.01059161 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5391    [Address on File]     5/29/2023 Bitcoin                             0.00530948 Customer Transfer
 Confidential Customer Coin Transferee #5392    [Address on File]     5/19/2023 Bitcoin                             0.00370438 Customer Transfer
 Confidential Customer Coin Transferee #5392    [Address on File]     5/23/2023 Bitcoin                              0.0037028 Customer Transfer
 Confidential Customer Coin Transferee #5393    [Address on File]     5/18/2023 Bitcoin                                0.012745 Customer Transfer
 Confidential Customer Coin Transferee #5394    [Address on File]     5/27/2023 Bitcoin                             0.02087659 Customer Transfer
 Confidential Customer Coin Transferee #5395    [Address on File]     5/27/2023 Bitcoin                             0.02823741 Customer Transfer
 Confidential Customer Coin Transferee #5396    [Address on File]     5/28/2023 Bitcoin                             0.03394543 Customer Transfer
 Confidential Customer Coin Transferee #5396    [Address on File]     5/27/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #5396    [Address on File]     5/20/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5397    [Address on File]     5/19/2023 Bitcoin                             0.01111112 Customer Transfer
 Confidential Customer Coin Transferee #5398    [Address on File]     6/20/2023 Bitcoin                             0.00068588 Customer Transfer
 Confidential Customer Coin Transferee #5399    [Address on File]      6/8/2023 Bitcoin                             0.00598002 Customer Transfer
 Confidential Customer Coin Transferee #5399    [Address on File]     6/19/2023 Bitcoin                              0.0018511 Customer Transfer
 Confidential Customer Coin Transferee #5400    [Address on File]      6/9/2023 Bitcoin                             0.00112145 Customer Transfer
 Confidential Customer Coin Transferee #5400    [Address on File]      6/2/2023 Bitcoin                             0.00045632 Customer Transfer
 Confidential Customer Coin Transferee #5400    [Address on File]     6/16/2023 Bitcoin                             0.00038709 Customer Transfer
 Confidential Customer Coin Transferee #5400    [Address on File]     5/25/2023 Bitcoin                             0.00037644 Customer Transfer
 Confidential Customer Coin Transferee #5400    [Address on File]      6/1/2023 Bitcoin                             0.00016306 Customer Transfer
 Confidential Customer Coin Transferee #5400    [Address on File]     5/25/2023 Bitcoin                             0.00015162 Customer Transfer
 Confidential Customer Coin Transferee #5400    [Address on File]     5/23/2023 Bitcoin                             0.00014846 Customer Transfer
 Confidential Customer Coin Transferee #5400    [Address on File]     5/29/2023 Bitcoin                             0.00007512 Customer Transfer
 Confidential Customer Coin Transferee #5401    [Address on File]     5/29/2023 Bitcoin                             0.00927419 Customer Transfer
 Confidential Customer Coin Transferee #5401    [Address on File]     5/19/2023 Bitcoin                             0.00922784 Customer Transfer
 Confidential Customer Coin Transferee #5402    [Address on File]     6/20/2023 Bitcoin                             0.00281264 Customer Transfer
 Confidential Customer Coin Transferee #5403    [Address on File]     5/22/2023 Bitcoin                             0.00341493 Customer Transfer
 Confidential Customer Coin Transferee #5404    [Address on File]     5/29/2023 Bitcoin                             0.00396439 Customer Transfer
 Confidential Customer Coin Transferee #5404    [Address on File]      6/7/2023 Bitcoin                             0.00349872 Customer Transfer
 Confidential Customer Coin Transferee #5404    [Address on File]     5/16/2023 Bitcoin                             0.00240429 Customer Transfer
 Confidential Customer Coin Transferee #5404    [Address on File]     6/14/2023 Bitcoin                             0.00161318 Customer Transfer
 Confidential Customer Coin Transferee #5404    [Address on File]     5/17/2023 Bitcoin                             0.00109228 Customer Transfer
 Confidential Customer Coin Transferee #5404    [Address on File]     6/16/2023 Bitcoin                             0.00059232 Customer Transfer
 Confidential Customer Coin Transferee #5404    [Address on File]      6/9/2023 Bitcoin                             0.00015852 Customer Transfer
 Confidential Customer Coin Transferee #5405    [Address on File]     6/19/2023 Bitcoin                             0.00058062 Customer Transfer
 Confidential Customer Coin Transferee #5406    [Address on File]     6/20/2023 Bitcoin                             0.00005805 Customer Transfer
 Confidential Customer Coin Transferee #5407    [Address on File]     6/19/2023 Bitcoin                             0.00212084 Customer Transfer
 Confidential Customer Coin Transferee #5408    [Address on File]     5/24/2023 Bitcoin                              0.0610162 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5408    [Address on File]     5/24/2023 Bitcoin                             0.05866506 Customer Transfer
 Confidential Customer Coin Transferee #5408    [Address on File]     5/24/2023 Bitcoin                                 0.00179 Customer Transfer
 Confidential Customer Coin Transferee #5408    [Address on File]     5/24/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #5409    [Address on File]     5/23/2023 Bitcoin                             0.05137113 Customer Transfer
 Confidential Customer Coin Transferee #5410    [Address on File]     6/20/2023 Bitcoin                             0.00128635 Customer Transfer
 Confidential Customer Coin Transferee #5411    [Address on File]     5/27/2023 Bitcoin                             0.00372218 Customer Transfer
 Confidential Customer Coin Transferee #5411    [Address on File]     5/19/2023 Bitcoin                             0.00369731 Customer Transfer
 Confidential Customer Coin Transferee #5412    [Address on File]     5/31/2023 Bitcoin                             0.03174025 Customer Transfer
 Confidential Customer Coin Transferee #5413    [Address on File]     5/29/2023 Bitcoin                                 0.04528 Customer Transfer
 Confidential Customer Coin Transferee #5414    [Address on File]     5/19/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #5414    [Address on File]     5/24/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #5414    [Address on File]     5/19/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #5415    [Address on File]     5/28/2023 Bitcoin                             0.00519005 Customer Transfer
 Confidential Customer Coin Transferee #5416    [Address on File]     5/30/2023 Bitcoin                             0.00214668 Customer Transfer
 Confidential Customer Coin Transferee #5417    [Address on File]     5/16/2023 Bitcoin                             0.00276252 Customer Transfer
 Confidential Customer Coin Transferee #5417    [Address on File]     5/23/2023 Bitcoin                             0.00274015 Customer Transfer
 Confidential Customer Coin Transferee #5417    [Address on File]     5/31/2023 Bitcoin                             0.00269113 Customer Transfer
 Confidential Customer Coin Transferee #5417    [Address on File]     5/21/2023 Bitcoin                              0.0009212 Customer Transfer
 Confidential Customer Coin Transferee #5417    [Address on File]     5/29/2023 Bitcoin                             0.00088383 Customer Transfer
 Confidential Customer Coin Transferee #5418    [Address on File]     5/16/2023 Bitcoin                             0.00010776 Customer Transfer
 Confidential Customer Coin Transferee #5419    [Address on File]     6/20/2023 Bitcoin                             0.00005977 Customer Transfer
 Confidential Customer Coin Transferee #5420    [Address on File]     5/17/2023 Litecoin                            0.68281233 Customer Transfer
 Confidential Customer Coin Transferee #5421    [Address on File]     6/19/2023 Bitcoin                             0.00172623 Customer Transfer
 Confidential Customer Coin Transferee #5422    [Address on File]     5/21/2023 Bitcoin                             0.00108879 Customer Transfer
 Confidential Customer Coin Transferee #5423    [Address on File]     6/20/2023 Bitcoin                             0.01398701 Customer Transfer

 Confidential Customer Coin Transferee #5424    [Address on File]     5/19/2023 Ether                                  0.08054342 Customer Transfer
 Confidential Customer Coin Transferee #5425    [Address on File]     6/20/2023 Bitcoin                                0.00110488 Customer Transfer
 Confidential Customer Coin Transferee #5426    [Address on File]     5/21/2023 Bitcoin                                0.00455249 Customer Transfer
 Confidential Customer Coin Transferee #5427    [Address on File]      6/7/2023 Bitcoin                                0.00691892 Customer Transfer
 Confidential Customer Coin Transferee #5427    [Address on File]     5/24/2023 Bitcoin                                0.00564907 Customer Transfer
 Confidential Customer Coin Transferee #5427    [Address on File]     5/25/2023 Bitcoin                                0.00190053 Customer Transfer
 Confidential Customer Coin Transferee #5427    [Address on File]     6/12/2023 Bitcoin                                0.00018603 Customer Transfer
 Confidential Customer Coin Transferee #5428    [Address on File]     6/20/2023 Bitcoin                                   0.021655 Customer Transfer
 Confidential Customer Coin Transferee #5429    [Address on File]      6/7/2023 Bitcoin                                 0.0384792 Customer Transfer
 Confidential Customer Coin Transferee #5429    [Address on File]      6/9/2023 Bitcoin                                0.01872083 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5430    [Address on File]     5/19/2023 Bitcoin                             0.01381586 Customer Transfer
 Confidential Customer Coin Transferee #5430    [Address on File]     5/25/2023 Bitcoin                                0.011229 Customer Transfer
 Confidential Customer Coin Transferee #5430    [Address on File]     5/20/2023 Bitcoin                             0.00723881 Customer Transfer
 Confidential Customer Coin Transferee #5430    [Address on File]     5/22/2023 Bitcoin                             0.00364547 Customer Transfer
 Confidential Customer Coin Transferee #5431    [Address on File]     6/20/2023 Bitcoin                             0.01352039 Customer Transfer
 Confidential Customer Coin Transferee #5432    [Address on File]     5/19/2023 Bitcoin                                 0.00002 Customer Transfer
 Confidential Customer Coin Transferee #5432    [Address on File]     5/19/2023 Bitcoin                                 0.00002 Customer Transfer
 Confidential Customer Coin Transferee #5433    [Address on File]     5/29/2023 Bitcoin                             0.00003578 Customer Transfer

 Confidential Customer Coin Transferee #5434    [Address on File]     5/18/2023 Bitcoin                                0.01137405 Customer Transfer
 Confidential Customer Coin Transferee #5435    [Address on File]      6/2/2023 USDC Avalanche)                         55.072463 Customer Transfer
 Confidential Customer Coin Transferee #5436    [Address on File]     5/16/2023 Bitcoin                                0.00821442 Customer Transfer
 Confidential Customer Coin Transferee #5437    [Address on File]     5/17/2023 Bitcoin                                0.01011599 Customer Transfer
 Confidential Customer Coin Transferee #5438    [Address on File]     6/19/2023 Bitcoin                                0.00005997 Customer Transfer
 Confidential Customer Coin Transferee #5439    [Address on File]     5/19/2023 Bitcoin                                0.00184798 Customer Transfer
 Confidential Customer Coin Transferee #5439    [Address on File]     5/17/2023 Bitcoin                                0.00183674 Customer Transfer
 Confidential Customer Coin Transferee #5439    [Address on File]     5/25/2023 Bitcoin                                 0.0015179 Customer Transfer
 Confidential Customer Coin Transferee #5439    [Address on File]     5/17/2023 Bitcoin                                0.00148473 Customer Transfer
 Confidential Customer Coin Transferee #5439    [Address on File]     5/26/2023 Bitcoin                                 0.0012389 Customer Transfer
 Confidential Customer Coin Transferee #5439    [Address on File]     5/18/2023 Bitcoin                                0.00119754 Customer Transfer
 Confidential Customer Coin Transferee #5439    [Address on File]     5/25/2023 Bitcoin                                0.00113292 Customer Transfer
 Confidential Customer Coin Transferee #5440    [Address on File]     5/19/2023 Bitcoin                                0.00231856 Customer Transfer

 Confidential Customer Coin Transferee #5441    [Address on File]      6/8/2023 Bitcoin                                         20 Customer Transfer
 Confidential Customer Coin Transferee #5442    [Address on File]     6/16/2023 Bitcoin                                         13 Customer Transfer
 Confidential Customer Coin Transferee #5443    [Address on File]     6/15/2023 Ether                                           40 Customer Transfer
 Confidential Customer Coin Transferee #5444    [Address on File]     5/20/2023 Bitcoin                                       0.54 Customer Transfer
 Confidential Customer Coin Transferee #5445    [Address on File]     5/16/2023 Bitcoin                                0.65609421 Customer Transfer
 Confidential Customer Coin Transferee #5446    [Address on File]     5/24/2023 Bitcoin                                0.03661114 Customer Transfer
 Confidential Customer Coin Transferee #5446    [Address on File]     5/27/2023 Bitcoin                                0.02230125 Customer Transfer
 Confidential Customer Coin Transferee #5446    [Address on File]     5/17/2023 Bitcoin                                 0.0184064 Customer Transfer
 Confidential Customer Coin Transferee #5446    [Address on File]     5/24/2023 Bitcoin                                0.01834942 Customer Transfer
 Confidential Customer Coin Transferee #5446    [Address on File]     5/22/2023 Bitcoin                                0.01119733 Customer Transfer
 Confidential Customer Coin Transferee #5446    [Address on File]     5/22/2023 Bitcoin                                0.00748615 Customer Transfer
 Confidential Customer Coin Transferee #5446    [Address on File]     5/23/2023 Bitcoin                                0.00732097 Customer Transfer
 Confidential Customer Coin Transferee #5446    [Address on File]     5/29/2023 Bitcoin                                0.00718833 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5446    [Address on File]     5/25/2023 Bitcoin                             0.00381233 Customer Transfer
 Confidential Customer Coin Transferee #5446    [Address on File]     5/26/2023 Bitcoin                             0.00376035 Customer Transfer
 Confidential Customer Coin Transferee #5446    [Address on File]     5/23/2023 Bitcoin                             0.00370167 Customer Transfer
 Confidential Customer Coin Transferee #5447    [Address on File]      6/9/2023 Bitcoin                              0.0028543 Customer Transfer
 Confidential Customer Coin Transferee #5448    [Address on File]     5/16/2023 Bitcoin                             0.00430809 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/24/2023 Bitcoin                             0.01104628 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/17/2023 Bitcoin                             0.00738089 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/25/2023 Bitcoin                             0.00379056 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/26/2023 Bitcoin                             0.00375793 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/27/2023 Bitcoin                             0.00372437 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/24/2023 Bitcoin                             0.00372079 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/20/2023 Bitcoin                             0.00370533 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/28/2023 Bitcoin                             0.00365596 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/19/2023 Bitcoin                             0.00363211 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/29/2023 Bitcoin                             0.00357122 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/30/2023 Bitcoin                             0.00355106 Customer Transfer
 Confidential Customer Coin Transferee #5449    [Address on File]     5/24/2023 Bitcoin                             0.00189246 Customer Transfer
 Confidential Customer Coin Transferee #5450    [Address on File]     5/28/2023 Bitcoin                                     0.21 Customer Transfer
 Confidential Customer Coin Transferee #5451    [Address on File]     5/26/2023 Bitcoin                                  0.0035 Customer Transfer
 Confidential Customer Coin Transferee #5452    [Address on File]     6/19/2023 Bitcoin                             0.00835467 Customer Transfer
 Confidential Customer Coin Transferee #5453    [Address on File]     5/20/2023 Bitcoin                             0.00441487 Customer Transfer
 Confidential Customer Coin Transferee #5453    [Address on File]     5/20/2023 Bitcoin                             0.00123338 Customer Transfer
 Confidential Customer Coin Transferee #5454    [Address on File]     5/22/2023 Bitcoin                             0.06306688 Customer Transfer
 Confidential Customer Coin Transferee #5454    [Address on File]     5/22/2023 Bitcoin                             0.00286114 Customer Transfer
 Confidential Customer Coin Transferee #5454    [Address on File]     5/22/2023 Bitcoin                             0.00234569 Customer Transfer
 Confidential Customer Coin Transferee #5454    [Address on File]     5/22/2023 Bitcoin                             0.00216219 Customer Transfer
 Confidential Customer Coin Transferee #5454    [Address on File]     5/22/2023 Bitcoin                              0.0017813 Customer Transfer
 Confidential Customer Coin Transferee #5454    [Address on File]     5/22/2023 Bitcoin                             0.00177162 Customer Transfer
 Confidential Customer Coin Transferee #5454    [Address on File]     5/22/2023 Bitcoin                             0.00176229 Customer Transfer
 Confidential Customer Coin Transferee #5454    [Address on File]     5/22/2023 Bitcoin                             0.00173909 Customer Transfer
 Confidential Customer Coin Transferee #5454    [Address on File]     5/22/2023 Bitcoin                             0.00167474 Customer Transfer
 Confidential Customer Coin Transferee #5455    [Address on File]      6/5/2023 Bitcoin                             0.00304503 Customer Transfer
 Confidential Customer Coin Transferee #5455    [Address on File]      6/8/2023 Bitcoin                             0.00053556 Customer Transfer
 Confidential Customer Coin Transferee #5455    [Address on File]     6/19/2023 Bitcoin                             0.00053404 Customer Transfer
 Confidential Customer Coin Transferee #5456    [Address on File]     6/20/2023 Bitcoin                              0.0000597 Customer Transfer
 Confidential Customer Coin Transferee #5457    [Address on File]     5/26/2023 Bitcoin                             0.00902688 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5458    [Address on File]     5/26/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #5458    [Address on File]     5/26/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #5459    [Address on File]     6/13/2023 Bitcoin                             0.00055009 Customer Transfer
 Confidential Customer Coin Transferee #5460    [Address on File]     5/27/2023 Bitcoin                                   0.003 Customer Transfer
 Confidential Customer Coin Transferee #5461    [Address on File]     5/16/2023 Bitcoin                             0.14994101 Customer Transfer
 Confidential Customer Coin Transferee #5461    [Address on File]     5/26/2023 Bitcoin                             0.11371317 Customer Transfer
 Confidential Customer Coin Transferee #5461    [Address on File]     5/19/2023 Bitcoin                             0.11168714 Customer Transfer
 Confidential Customer Coin Transferee #5461    [Address on File]     5/21/2023 Bitcoin                             0.03691823 Customer Transfer
 Confidential Customer Coin Transferee #5462    [Address on File]     5/16/2023 Bitcoin                             0.01101787 Customer Transfer
 Confidential Customer Coin Transferee #5462    [Address on File]     5/17/2023 Bitcoin                             0.00794893 Customer Transfer
 Confidential Customer Coin Transferee #5462    [Address on File]     5/24/2023 Bitcoin                             0.00559574 Customer Transfer
 Confidential Customer Coin Transferee #5462    [Address on File]     5/20/2023 Bitcoin                             0.00557598 Customer Transfer
 Confidential Customer Coin Transferee #5462    [Address on File]     5/30/2023 Bitcoin                             0.00536219 Customer Transfer
 Confidential Customer Coin Transferee #5462    [Address on File]     5/30/2023 Bitcoin                             0.00358458 Customer Transfer
 Confidential Customer Coin Transferee #5463    [Address on File]     6/20/2023 Bitcoin                             0.00360553 Customer Transfer
 Confidential Customer Coin Transferee #5464    [Address on File]     5/16/2023 Bitcoin                             0.02608716 Customer Transfer
 Confidential Customer Coin Transferee #5465    [Address on File]     5/31/2023 Bitcoin                             0.00918963 Customer Transfer
 Confidential Customer Coin Transferee #5465    [Address on File]     5/18/2023 Bitcoin                             0.00908848 Customer Transfer
 Confidential Customer Coin Transferee #5466    [Address on File]     5/17/2023 Bitcoin                             0.01005426 Customer Transfer
 Confidential Customer Coin Transferee #5466    [Address on File]     5/28/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #5466    [Address on File]     5/27/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #5466    [Address on File]     5/28/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #5466    [Address on File]     5/28/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #5467    [Address on File]     6/20/2023 Bitcoin                             0.00168782 Customer Transfer
 Confidential Customer Coin Transferee #5468    [Address on File]     5/25/2023 Bitcoin                             0.00760515 Customer Transfer
 Confidential Customer Coin Transferee #5468    [Address on File]     5/22/2023 Bitcoin                             0.00371736 Customer Transfer
 Confidential Customer Coin Transferee #5469    [Address on File]     5/30/2023 Bitcoin                                   0.025 Customer Transfer
 Confidential Customer Coin Transferee #5470    [Address on File]     5/31/2023 Bitcoin                              0.0004394 Customer Transfer
 Confidential Customer Coin Transferee #5470    [Address on File]     5/30/2023 Bitcoin                             0.00042863 Customer Transfer
 Confidential Customer Coin Transferee #5471    [Address on File]     5/28/2023 Bitcoin                             0.00202482 Customer Transfer
 Confidential Customer Coin Transferee #5471    [Address on File]     5/19/2023 Bitcoin                             0.00110927 Customer Transfer
 Confidential Customer Coin Transferee #5471    [Address on File]      6/4/2023 Bitcoin                             0.00040176 Customer Transfer
 Confidential Customer Coin Transferee #5471    [Address on File]     5/23/2023 Bitcoin                             0.00018201 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/27/2023 Bitcoin                             0.05083566 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/20/2023 Bitcoin                             0.03510029 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/19/2023 Bitcoin                              0.0264076 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/18/2023 Bitcoin                              0.0207505 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/18/2023 Bitcoin                             0.01777954 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/16/2023 Bitcoin                             0.01747727 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/18/2023 Bitcoin                             0.01724178 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/20/2023 Bitcoin                             0.01404669 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/19/2023 Bitcoin                             0.01316572 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/18/2023 Bitcoin                                0.005832 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/19/2023 Bitcoin                             0.00351652 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/20/2023 Bitcoin                             0.00350165 Customer Transfer
 Confidential Customer Coin Transferee #5472    [Address on File]     5/18/2023 Bitcoin                             0.00344582 Customer Transfer
 Confidential Customer Coin Transferee #5473    [Address on File]     5/23/2023 Bitcoin                             0.00364017 Customer Transfer
 Confidential Customer Coin Transferee #5473    [Address on File]     5/22/2023 Bitcoin                             0.00295696 Customer Transfer
 Confidential Customer Coin Transferee #5473    [Address on File]     5/31/2023 Bitcoin                              0.0025575 Customer Transfer
 Confidential Customer Coin Transferee #5473    [Address on File]     5/16/2023 Bitcoin                             0.00246036 Customer Transfer
 Confidential Customer Coin Transferee #5474    [Address on File]     5/24/2023 Bitcoin                             0.01189905 Customer Transfer
 Confidential Customer Coin Transferee #5474    [Address on File]     5/17/2023 Bitcoin                             0.01149822 Customer Transfer
 Confidential Customer Coin Transferee #5475    [Address on File]      6/6/2023 Bitcoin                              0.0149217 Customer Transfer
 Confidential Customer Coin Transferee #5476    [Address on File]     6/20/2023 Bitcoin                             0.00007131 Customer Transfer
 Confidential Customer Coin Transferee #5477    [Address on File]     5/25/2023 Bitcoin                             0.76116069 Customer Transfer
 Confidential Customer Coin Transferee #5477    [Address on File]     5/18/2023 Bitcoin                             0.57023328 Customer Transfer
 Confidential Customer Coin Transferee #5478    [Address on File]     6/20/2023 Bitcoin                             0.00035408 Customer Transfer
 Confidential Customer Coin Transferee #5479    [Address on File]     5/27/2023 Bitcoin                             0.01087533 Customer Transfer
 Confidential Customer Coin Transferee #5480    [Address on File]     6/20/2023 Bitcoin                             0.00112002 Customer Transfer
 Confidential Customer Coin Transferee #5481    [Address on File]     5/22/2023 Bitcoin                              0.0128303 Customer Transfer
 Confidential Customer Coin Transferee #5482    [Address on File]     5/26/2023 Bitcoin                                1.70E-07 Customer Transfer
 Confidential Customer Coin Transferee #5483    [Address on File]     6/20/2023 Bitcoin                             0.01871215 Customer Transfer
 Confidential Customer Coin Transferee #5484    [Address on File]     6/20/2023 Bitcoin                             0.00016876 Customer Transfer
 Confidential Customer Coin Transferee #5485    [Address on File]     6/20/2023 Bitcoin                             0.00889144 Customer Transfer
 Confidential Customer Coin Transferee #5486    [Address on File]     5/26/2023 Bitcoin                             0.00789068 Customer Transfer
 Confidential Customer Coin Transferee #5486    [Address on File]     5/21/2023 Bitcoin                             0.00747021 Customer Transfer
 Confidential Customer Coin Transferee #5486    [Address on File]     5/21/2023 Bitcoin                              0.0054187 Customer Transfer
 Confidential Customer Coin Transferee #5487    [Address on File]     6/20/2023 Bitcoin                             0.00014176 Customer Transfer
 Confidential Customer Coin Transferee #5488    [Address on File]     5/22/2023 Bitcoin                             0.00056179 Customer Transfer
 Confidential Customer Coin Transferee #5488    [Address on File]     5/29/2023 Bitcoin                             0.00055806 Customer Transfer
 Confidential Customer Coin Transferee #5489    [Address on File]     5/19/2023 Bitcoin                             0.00498327 Customer Transfer
 Confidential Customer Coin Transferee #5490    [Address on File]     6/19/2023 Bitcoin                             0.00005806 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5491    [Address on File]     6/14/2023 Bitcoin                             0.00005825 Customer Transfer
 Confidential Customer Coin Transferee #5492    [Address on File]     5/20/2023 Bitcoin                             0.00312135 Customer Transfer
 Confidential Customer Coin Transferee #5492    [Address on File]      6/8/2023 Bitcoin                             0.00190069 Customer Transfer
 Confidential Customer Coin Transferee #5492    [Address on File]     5/27/2023 Bitcoin                             0.00108589 Customer Transfer
 Confidential Customer Coin Transferee #5493    [Address on File]     6/20/2023 Bitcoin                             0.00069508 Customer Transfer

 Confidential Customer Coin Transferee #5494    [Address on File]     6/21/2023 USDC Avalanche)                          122.5755 Customer Transfer

 Confidential Customer Coin Transferee #5494    [Address on File]     6/21/2023 USDC Avalanche)                        122.563284 Customer Transfer
 Confidential Customer Coin Transferee #5495    [Address on File]     6/20/2023 Bitcoin                                 0.0000596 Customer Transfer
 Confidential Customer Coin Transferee #5496    [Address on File]     5/29/2023 Bitcoin                                0.19639462 Customer Transfer
 Confidential Customer Coin Transferee #5497    [Address on File]     5/18/2023 Bitcoin                                0.00447219 Customer Transfer
 Confidential Customer Coin Transferee #5498    [Address on File]     5/24/2023 Bitcoin                                       0.22 Customer Transfer
 Confidential Customer Coin Transferee #5498    [Address on File]     5/25/2023 Bitcoin                                0.11617419 Customer Transfer
 Confidential Customer Coin Transferee #5498    [Address on File]     5/31/2023 Bitcoin                                0.11034887 Customer Transfer
 Confidential Customer Coin Transferee #5498    [Address on File]     5/29/2023 Bitcoin                                0.02883441 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/19/2023 Bitcoin                                0.00369414 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/19/2023 Bitcoin                                0.00185179 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/19/2023 Bitcoin                                0.00166478 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/24/2023 Bitcoin                                0.00094591 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/17/2023 Bitcoin                                0.00074429 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/20/2023 Bitcoin                                0.00073945 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/18/2023 Bitcoin                                0.00072638 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/25/2023 Bitcoin                                0.00037684 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/26/2023 Bitcoin                                0.00037553 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/22/2023 Bitcoin                                0.00037236 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/24/2023 Bitcoin                                0.00037232 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/21/2023 Bitcoin                                0.00036956 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/16/2023 Bitcoin                                0.00036684 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/23/2023 Bitcoin                                0.00036328 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/27/2023 Bitcoin                                0.00018596 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/28/2023 Bitcoin                                0.00018236 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/29/2023 Bitcoin                                0.00017813 Customer Transfer
 Confidential Customer Coin Transferee #5499    [Address on File]     5/30/2023 Bitcoin                                0.00017795 Customer Transfer
 Confidential Customer Coin Transferee #5500    [Address on File]     5/30/2023 Bitcoin                                0.00650483 Customer Transfer
 Confidential Customer Coin Transferee #5501    [Address on File]     5/29/2023 Bitcoin                                      0.002 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5502    [Address on File]     6/19/2023 Bitcoin                             0.00455562 Customer Transfer
 Confidential Customer Coin Transferee #5503    [Address on File]     6/19/2023 Bitcoin                             0.00005831 Customer Transfer
 Confidential Customer Coin Transferee #5504    [Address on File]     5/26/2023 Bitcoin                              0.0007361 Customer Transfer
 Confidential Customer Coin Transferee #5504    [Address on File]     5/26/2023 Bitcoin                             0.00072997 Customer Transfer
 Confidential Customer Coin Transferee #5504    [Address on File]     5/26/2023 Bitcoin                             0.00072244 Customer Transfer
 Confidential Customer Coin Transferee #5504    [Address on File]     5/26/2023 Bitcoin                             0.00071219 Customer Transfer

 Confidential Customer Coin Transferee #5505    [Address on File]      6/2/2023 Gala                                           20 Customer Transfer

 Confidential Customer Coin Transferee #5505    [Address on File]      6/1/2023 Gala                                           15 Customer Transfer

 Confidential Customer Coin Transferee #5505    [Address on File]      6/6/2023 Gala                                           10 Customer Transfer

 Confidential Customer Coin Transferee #5505    [Address on File]     6/13/2023 Cardano                                        10 Customer Transfer

 Confidential Customer Coin Transferee #5505    [Address on File]     6/21/2023 Gala                                           10 Customer Transfer

 Confidential Customer Coin Transferee #5505    [Address on File]     6/21/2023 Gala                                           10 Customer Transfer

 Confidential Customer Coin Transferee #5505    [Address on File]     5/16/2023 Ether                                   0.1941823 Customer Transfer

 Confidential Customer Coin Transferee #5505    [Address on File]     5/17/2023 Ether                                  0.17366437 Customer Transfer

 Confidential Customer Coin Transferee #5505    [Address on File]     5/16/2023 Ether                                  0.00555559 Customer Transfer

 Confidential Customer Coin Transferee #5506    [Address on File]     6/15/2023 Ether                               0.12026675 Customer Transfer
 Confidential Customer Coin Transferee #5507    [Address on File]     5/31/2023 USDC Avalanche)                     2992.87285 Customer Transfer
 Confidential Customer Coin Transferee #5507    [Address on File]      6/8/2023 USDC Avalanche)                    2992.274635 Customer Transfer
 Confidential Customer Coin Transferee #5507    [Address on File]     5/30/2023 USDC Avalanche)                    2992.174695 Customer Transfer
 Confidential Customer Coin Transferee #5507    [Address on File]     6/21/2023 USDC Avalanche)                    2984.242001 Customer Transfer
 Confidential Customer Coin Transferee #5507    [Address on File]      6/1/2023 USDC Avalanche)                    1994.032983 Customer Transfer
 Confidential Customer Coin Transferee #5507    [Address on File]      6/9/2023 USDC Avalanche)                    1993.863681 Customer Transfer
 Confidential Customer Coin Transferee #5507    [Address on File]      6/1/2023 USDC Avalanche)                     995.532233 Customer Transfer
 Confidential Customer Coin Transferee #5508    [Address on File]     5/21/2023 Bitcoin                             0.02805925 Customer Transfer
 Confidential Customer Coin Transferee #5509    [Address on File]     5/29/2023 Bitcoin                             0.01037609 Customer Transfer
 Confidential Customer Coin Transferee #5509    [Address on File]     5/19/2023 Bitcoin                             0.00080109 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5510    [Address on File]     6/19/2023 Bitcoin                             0.00492031 Customer Transfer
 Confidential Customer Coin Transferee #5511    [Address on File]     6/12/2023 Bitcoin                             0.00224774 Customer Transfer
 Confidential Customer Coin Transferee #5511    [Address on File]      6/2/2023 Bitcoin                             0.00204359 Customer Transfer
 Confidential Customer Coin Transferee #5511    [Address on File]      6/7/2023 Bitcoin                             0.00203211 Customer Transfer
 Confidential Customer Coin Transferee #5511    [Address on File]     6/13/2023 Bitcoin                             0.00191905 Customer Transfer
 Confidential Customer Coin Transferee #5511    [Address on File]     6/15/2023 Bitcoin                             0.00157758 Customer Transfer
 Confidential Customer Coin Transferee #5511    [Address on File]     5/18/2023 Bitcoin                             0.00108528 Customer Transfer
 Confidential Customer Coin Transferee #5512    [Address on File]     5/21/2023 Bitcoin                             0.00179599 Customer Transfer
 Confidential Customer Coin Transferee #5512    [Address on File]     5/18/2023 Bitcoin                             0.00174224 Customer Transfer
 Confidential Customer Coin Transferee #5513    [Address on File]     6/19/2023 Bitcoin                             0.00016369 Customer Transfer
 Confidential Customer Coin Transferee #5514    [Address on File]     5/17/2023 Bitcoin                             0.18642232 Customer Transfer
 Confidential Customer Coin Transferee #5514    [Address on File]     5/19/2023 Bitcoin                             0.01564709 Customer Transfer
 Confidential Customer Coin Transferee #5515    [Address on File]      6/3/2023 Bitcoin                             0.03048804 Customer Transfer
 Confidential Customer Coin Transferee #5515    [Address on File]     5/20/2023 Bitcoin                             0.02667705 Customer Transfer

 Confidential Customer Coin Transferee #5516    [Address on File]      6/7/2023 Tether USD                                   1195 Customer Transfer
 Confidential Customer Coin Transferee #5517    [Address on File]     5/19/2023 Bitcoin                                0.01449306 Customer Transfer

 Confidential Customer Coin Transferee #5518    [Address on File]     6/20/2023 Bitcoin                                0.00005951 Customer Transfer
 Confidential Customer Coin Transferee #5519    [Address on File]      6/8/2023 Tether USD                              7445.5801 Customer Transfer
 Confidential Customer Coin Transferee #5520    [Address on File]     6/20/2023 Bitcoin                                0.00029735 Customer Transfer
 Confidential Customer Coin Transferee #5521    [Address on File]      6/2/2023 Tether USD                                 4915.87 Customer Transfer
 Confidential Customer Coin Transferee #5522    [Address on File]     5/27/2023 Bitcoin                                 0.0148345 Customer Transfer
 Confidential Customer Coin Transferee #5522    [Address on File]     5/30/2023 Bitcoin                                0.00178626 Customer Transfer
 Confidential Customer Coin Transferee #5522    [Address on File]     5/21/2023 Bitcoin                                0.00066199 Customer Transfer

 Confidential Customer Coin Transferee #5523    [Address on File]     6/12/2023 Bitcoin                                0.09341731 Customer Transfer
 Confidential Customer Coin Transferee #5524    [Address on File]     5/22/2023 Bitcoin                                0.00084404 Customer Transfer
 Confidential Customer Coin Transferee #5525    [Address on File]     5/16/2023 Bitcoin                                0.00370023 Customer Transfer
 Confidential Customer Coin Transferee #5526    [Address on File]     6/20/2023 Bitcoin                                0.00005531 Customer Transfer
 Confidential Customer Coin Transferee #5527    [Address on File]     5/25/2023 Bitcoin                                0.05211589 Customer Transfer

 Confidential Customer Coin Transferee #5528    [Address on File]     5/16/2023 Cardano                                 25.527678 Customer Transfer

 Confidential Customer Coin Transferee #5528    [Address on File]     5/16/2023 USD Coin                           12.13093325 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #5528    [Address on File]     5/16/2023 USD Coin                                        2 Customer Transfer

 Confidential Customer Coin Transferee #5528    [Address on File]     5/16/2023 Avalanche CChain)                      0.53392848 Customer Transfer

 Confidential Customer Coin Transferee #5528    [Address on File]     5/16/2023 Litecoin                               0.18714885 Customer Transfer

 Confidential Customer Coin Transferee #5528    [Address on File]     5/16/2023 Litecoin                               0.06429628 Customer Transfer

 Confidential Customer Coin Transferee #5528    [Address on File]     5/16/2023 Ether                                  0.01152086 Customer Transfer

 Confidential Customer Coin Transferee #5528    [Address on File]     5/16/2023 Bitcoin                                0.00062985 Customer Transfer

 Confidential Customer Coin Transferee #5529    [Address on File]     5/16/2023 Cardano                                 45.996506 Customer Transfer

 Confidential Customer Coin Transferee #5529    [Address on File]     5/16/2023 Litecoin                               0.30949667 Customer Transfer

 Confidential Customer Coin Transferee #5529    [Address on File]     5/16/2023 Avalanche CChain)                      0.26003002 Customer Transfer

 Confidential Customer Coin Transferee #5529    [Address on File]     5/16/2023 Litecoin                               0.01604072 Customer Transfer

 Confidential Customer Coin Transferee #5529    [Address on File]     5/16/2023 Ether                                  0.01040965 Customer Transfer

 Confidential Customer Coin Transferee #5529    [Address on File]     5/16/2023 Ether                                  0.00616193 Customer Transfer

 Confidential Customer Coin Transferee #5529    [Address on File]     5/16/2023 Bitcoin                                0.00200838 Customer Transfer
 Confidential Customer Coin Transferee #5530    [Address on File]     5/18/2023 Bitcoin                                 0.0550069 Customer Transfer
 Confidential Customer Coin Transferee #5531    [Address on File]     5/29/2023 Bitcoin                                      0.049 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/29/2023 Bitcoin                                0.01135812 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/19/2023 Bitcoin                                0.00629163 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/22/2023 Bitcoin                                0.00418175 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/22/2023 Bitcoin                                0.00283694 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/20/2023 Bitcoin                                0.00255108 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/30/2023 Bitcoin                                0.00242185 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/20/2023 Bitcoin                                0.00199349 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/24/2023 Bitcoin                                0.00186063 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/26/2023 Bitcoin                             0.00184494 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/26/2023 Bitcoin                             0.00183038 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/19/2023 Bitcoin                             0.00181694 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/21/2023 Bitcoin                             0.00181364 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/25/2023 Bitcoin                             0.00164117 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/26/2023 Bitcoin                             0.00148104 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/21/2023 Bitcoin                             0.00129712 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/21/2023 Bitcoin                             0.00128529 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/23/2023 Bitcoin                             0.00111847 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/24/2023 Bitcoin                             0.00111663 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/25/2023 Bitcoin                             0.00110811 Customer Transfer
 Confidential Customer Coin Transferee #5532    [Address on File]     5/21/2023 Bitcoin                             0.00109206 Customer Transfer
 Confidential Customer Coin Transferee #5533    [Address on File]     5/23/2023 Bitcoin                             0.02852356 Customer Transfer
 Confidential Customer Coin Transferee #5534    [Address on File]     5/21/2023 Bitcoin                             0.10700622 Customer Transfer
 Confidential Customer Coin Transferee #5535    [Address on File]     5/24/2023 Bitcoin                              0.0014283 Customer Transfer
 Confidential Customer Coin Transferee #5535    [Address on File]     5/24/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #5535    [Address on File]     5/24/2023 Bitcoin                                  0.0011 Customer Transfer
 Confidential Customer Coin Transferee #5535    [Address on File]     5/18/2023 Bitcoin                             0.00072665 Customer Transfer
 Confidential Customer Coin Transferee #5536    [Address on File]     5/22/2023 Bitcoin                             0.12321398 Customer Transfer
 Confidential Customer Coin Transferee #5536    [Address on File]     5/29/2023 Bitcoin                             0.03588092 Customer Transfer
 Confidential Customer Coin Transferee #5536    [Address on File]     5/28/2023 Bitcoin                             0.00022304 Customer Transfer
 Confidential Customer Coin Transferee #5537    [Address on File]     6/20/2023 Bitcoin                             0.00003838 Customer Transfer
 Confidential Customer Coin Transferee #5538    [Address on File]     5/18/2023 Bitcoin                             0.16510121 Customer Transfer
 Confidential Customer Coin Transferee #5539    [Address on File]     5/22/2023 Bitcoin                             0.00469461 Customer Transfer
 Confidential Customer Coin Transferee #5540    [Address on File]     6/20/2023 Bitcoin                             0.00522244 Customer Transfer
 Confidential Customer Coin Transferee #5541    [Address on File]     6/20/2023 Bitcoin                              0.0041676 Customer Transfer
 Confidential Customer Coin Transferee #5542    [Address on File]     6/19/2023 Bitcoin                             0.00060061 Customer Transfer
 Confidential Customer Coin Transferee #5543    [Address on File]     6/19/2023 Bitcoin                              0.0488519 Customer Transfer
 Confidential Customer Coin Transferee #5544    [Address on File]     5/30/2023 Bitcoin                             0.00045275 Customer Transfer
 Confidential Customer Coin Transferee #5545    [Address on File]     5/19/2023 Bitcoin                             0.00185278 Customer Transfer
 Confidential Customer Coin Transferee #5545    [Address on File]     5/16/2023 Bitcoin                             0.00011045 Customer Transfer
 Confidential Customer Coin Transferee #5546    [Address on File]     5/19/2023 Bitcoin                             0.01054038 Customer Transfer
 Confidential Customer Coin Transferee #5547    [Address on File]     5/26/2023 Bitcoin                             0.00409476 Customer Transfer
 Confidential Customer Coin Transferee #5548    [Address on File]     5/23/2023 Bitcoin                             0.00188976 Customer Transfer
 Confidential Customer Coin Transferee #5548    [Address on File]     5/30/2023 Bitcoin                             0.00185445 Customer Transfer
 Confidential Customer Coin Transferee #5549    [Address on File]     6/12/2023 Bitcoin                             0.00037241 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5549    [Address on File]     5/24/2023 Bitcoin                             0.00037014 Customer Transfer
 Confidential Customer Coin Transferee #5549    [Address on File]     5/17/2023 Bitcoin                             0.00036612 Customer Transfer
 Confidential Customer Coin Transferee #5549    [Address on File]      6/6/2023 Bitcoin                             0.00011771 Customer Transfer
 Confidential Customer Coin Transferee #5550    [Address on File]     5/21/2023 Bitcoin                             0.00936853 Customer Transfer
 Confidential Customer Coin Transferee #5551    [Address on File]     6/20/2023 Bitcoin                             0.00004235 Customer Transfer
 Confidential Customer Coin Transferee #5552    [Address on File]     5/21/2023 Bitcoin                             0.01093366 Customer Transfer

 Confidential Customer Coin Transferee #5553    [Address on File]     5/17/2023 Bitcoin                                0.02425044 Customer Transfer
 Confidential Customer Coin Transferee #5554    [Address on File]     6/10/2023 Tether USD                                      450 Customer Transfer
 Confidential Customer Coin Transferee #5555    [Address on File]     6/19/2023 Bitcoin                                0.00069909 Customer Transfer
 Confidential Customer Coin Transferee #5556    [Address on File]     5/17/2023 Tether USD                                      195 Customer Transfer
 Confidential Customer Coin Transferee #5556    [Address on File]     5/23/2023 Tether USD                                       95 Customer Transfer
 Confidential Customer Coin Transferee #5557    [Address on File]     5/30/2023 Bitcoin                                0.00089656 Customer Transfer
 Confidential Customer Coin Transferee #5557    [Address on File]     5/30/2023 Bitcoin                                 0.0007265 Customer Transfer
 Confidential Customer Coin Transferee #5557    [Address on File]     5/20/2023 Bitcoin                                 0.0007209 Customer Transfer
 Confidential Customer Coin Transferee #5557    [Address on File]     5/30/2023 Bitcoin                                0.00069963 Customer Transfer
 Confidential Customer Coin Transferee #5558    [Address on File]     5/16/2023 Bitcoin                                   0.001844 Customer Transfer
 Confidential Customer Coin Transferee #5559    [Address on File]     5/24/2023 Bitcoin                                 0.0213084 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                                0.00090817 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/29/2023 Bitcoin                                0.00041301 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/29/2023 Bitcoin                                    0.00035 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/29/2023 Bitcoin                                0.00031169 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/29/2023 Bitcoin                                0.00030243 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                                      0.0003 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                                0.00029897 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                                0.00027947 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/29/2023 Bitcoin                                0.00025677 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/20/2023 Bitcoin                                0.00018288 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/20/2023 Bitcoin                                0.00015367 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                0.00012587 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00012412 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/20/2023 Bitcoin                                 0.0001232 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/29/2023 Bitcoin                                0.00011011 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/20/2023 Bitcoin                                0.00009227 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/29/2023 Bitcoin                                0.00007563 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                                0.00007489 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00007201 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                             0.00006737 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/20/2023 Bitcoin                             0.00006698 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00006447 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00005141 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                              0.0000513 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/20/2023 Bitcoin                             0.00005108 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/29/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00004856 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00004682 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00004471 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00003921 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00003918 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00003916 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/20/2023 Bitcoin                             0.00003865 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00003785 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                              0.0000376 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00003694 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00003691 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00003669 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00003659 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00003643 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00003619 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00003503 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00003007 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00002777 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00002724 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00002695 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00002644 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/20/2023 Bitcoin                             0.00002586 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                                0.000025 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00002121 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                             0.00002006 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/20/2023 Bitcoin                             0.00001909 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/20/2023 Bitcoin                             0.00001901 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001829 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001746 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001687 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001683 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00001659 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00001659 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001642 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                0.000016 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00001559 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001478 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001317 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001298 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001298 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001269 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001269 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001269 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001267 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00001264 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00001258 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001254 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001253 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001251 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                              0.0000125 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                              0.0000125 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                              0.0000125 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                              0.0000125 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                              0.0000125 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                              0.0000125 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001249 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001247 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001245 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001244 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001229 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001229 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00001226 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00001225 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001206 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001178 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                              0.0000117 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001159 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001158 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001157 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001155 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00001153 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001143 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00001143 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001139 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001107 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001102 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001101 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001101 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                0.000011 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                                0.000011 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001099 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001099 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001099 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001098 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001098 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001098 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001098 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001097 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001097 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001097 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001096 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001096 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001096 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001096 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001095 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001095 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001095 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001094 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001094 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001094 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001093 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001093 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001093 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001093 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001092 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                              0.0000109 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                              0.0000109 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                              0.0000109 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                              0.0000109 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                              0.0000109 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001089 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001089 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001089 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00001089 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001089 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001089 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001088 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001088 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001088 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001087 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001087 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00001087 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001087 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001086 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001086 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001086 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001085 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001085 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001085 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001085 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001085 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001085 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001085 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001084 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001083 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001083 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001083 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001083 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00001083 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001082 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001082 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001082 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001082 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                              0.0000108 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                              0.0000108 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                              0.0000108 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001079 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001079 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001078 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001078 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001078 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001078 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001077 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001077 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001076 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001076 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001075 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001075 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001075 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001075 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001075 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001074 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001074 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001073 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001073 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001073 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001073 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001073 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00001072 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001071 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                              0.0000107 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                              0.0000107 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001069 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001069 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001069 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001069 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001069 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001069 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001069 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001069 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00001069 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001068 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001068 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001068 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001068 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001068 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001067 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001067 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001067 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001066 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001066 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001065 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001065 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001065 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001065 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00001065 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001064 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001064 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001064 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00001064 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001063 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001062 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001062 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001062 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                              0.0000106 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                              0.0000106 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                              0.0000106 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                              0.0000106 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001059 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001059 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001059 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001059 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001059 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001058 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001058 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001058 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001058 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001057 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001056 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001056 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001056 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001056 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001056 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001055 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001055 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001055 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001055 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001055 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001055 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001054 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001054 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001054 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001054 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001054 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001053 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00001053 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001053 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001053 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001052 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001052 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001052 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001052 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001052 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001052 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001051 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                              0.0000105 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                              0.0000105 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                              0.0000105 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00001049 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00001049 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001049 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001049 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00001049 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001047 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001047 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001047 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001047 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001046 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001046 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001046 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001045 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001045 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001045 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001044 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001044 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001044 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001044 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001044 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001044 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001044 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001043 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001043 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001043 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001043 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001043 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001043 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00001043 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00001043 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001042 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00001042 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00001042 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                              0.0000104 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                              0.0000104 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                              0.0000104 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                              0.0000104 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                              0.0000104 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001039 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001039 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001039 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001038 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00001038 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001038 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001037 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00001037 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001036 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001036 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001036 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001036 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001036 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001036 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001036 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001036 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001035 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001035 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001035 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001035 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001035 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001035 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001034 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001034 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001034 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001034 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001034 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001034 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001033 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001033 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001032 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001032 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001032 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001032 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001032 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001032 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001032 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001032 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00001032 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001031 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                              0.0000103 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                              0.0000103 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                              0.0000103 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                              0.0000103 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001029 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001029 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001029 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001029 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001028 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001028 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001028 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001028 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001028 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001028 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001027 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001027 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001027 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001027 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001026 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001026 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001026 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001026 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001026 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001026 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001026 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001026 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001025 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001025 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001025 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001025 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001024 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001024 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001023 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001023 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001023 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001023 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001023 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001023 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001022 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001022 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001022 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001022 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001022 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001021 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00001021 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                              0.0000102 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                              0.0000102 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001017 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00001017 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001016 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001016 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001015 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001013 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00001013 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/30/2023 Bitcoin                             0.00001012 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001011 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                             0.00001011 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001009 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001009 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001009 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                             0.00001009 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001009 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001009 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001009 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001009 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001009 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001009 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001008 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001008 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001008 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001008 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001007 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/28/2023 Bitcoin                             0.00001007 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/29/2023 Bitcoin                             0.00001007 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/22/2023 Bitcoin                             0.00001006 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/23/2023 Bitcoin                             0.00001006 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                             0.00001006 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/21/2023 Bitcoin                             0.00001005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                             0.00001005 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001004 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001004 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/19/2023 Bitcoin                             0.00001004 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001004 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001004 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001003 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001003 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001003 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                             0.00001003 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001003 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001003 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001003 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001002 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                             0.00001002 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                             0.00001002 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                             0.00001001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/16/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/17/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                 0.00001 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/18/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/24/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/25/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/26/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/27/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/29/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                                0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                                0.00001 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5560    [Address on File]     5/31/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5561    [Address on File]     6/18/2023 Bitcoin                              0.0003796 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/16/2023 Bitcoin                             0.00039956 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/16/2023 Bitcoin                             0.00039901 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/26/2023 Bitcoin                             0.00031068 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/26/2023 Bitcoin                             0.00031059 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/26/2023 Bitcoin                             0.00031042 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/20/2023 Bitcoin                             0.00029369 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/20/2023 Bitcoin                             0.00028369 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/25/2023 Bitcoin                             0.00018996 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/27/2023 Bitcoin                             0.00016426 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/25/2023 Bitcoin                             0.00015724 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/25/2023 Bitcoin                             0.00012297 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/25/2023 Bitcoin                             0.00012289 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/25/2023 Bitcoin                             0.00012264 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/25/2023 Bitcoin                             0.00012264 Customer Transfer
 Confidential Customer Coin Transferee #5562    [Address on File]     5/20/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #5563    [Address on File]     5/23/2023 Bitcoin                             0.00717965 Customer Transfer
 Confidential Customer Coin Transferee #5564    [Address on File]     5/17/2023 Bitcoin                             0.00059553 Customer Transfer
 Confidential Customer Coin Transferee #5565    [Address on File]     5/23/2023 Bitcoin                                     0.04 Customer Transfer
 Confidential Customer Coin Transferee #5566    [Address on File]     5/24/2023 Bitcoin                             0.00756729 Customer Transfer
 Confidential Customer Coin Transferee #5566    [Address on File]     5/24/2023 Bitcoin                              0.0074393 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/18/2023 Bitcoin                             0.03264734 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/17/2023 Bitcoin                             0.02754827 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/24/2023 Bitcoin                             0.01698906 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/21/2023 Bitcoin                              0.0110713 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/24/2023 Bitcoin                             0.01061837 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/20/2023 Bitcoin                             0.00942979 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/17/2023 Bitcoin                             0.00908559 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/21/2023 Bitcoin                             0.00804857 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/22/2023 Bitcoin                             0.00709452 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/25/2023 Bitcoin                             0.00564298 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/22/2023 Bitcoin                             0.00503403 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/25/2023 Bitcoin                             0.00492465 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/23/2023 Bitcoin                              0.0043876 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/19/2023 Bitcoin                             0.00425621 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/27/2023 Bitcoin                             0.00409472 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/27/2023 Bitcoin                             0.00375415 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/26/2023 Bitcoin                             0.00374932 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/25/2023 Bitcoin                             0.00341736 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/25/2023 Bitcoin                             0.00337391 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/24/2023 Bitcoin                             0.00289949 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/27/2023 Bitcoin                             0.00238068 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/16/2023 Bitcoin                             0.00176894 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/24/2023 Bitcoin                             0.00151653 Customer Transfer
 Confidential Customer Coin Transferee #5567    [Address on File]     5/16/2023 Bitcoin                             0.00137795 Customer Transfer
 Confidential Customer Coin Transferee #5568    [Address on File]     5/19/2023 Bitcoin                             0.03727577 Customer Transfer
 Confidential Customer Coin Transferee #5568    [Address on File]     5/26/2023 Bitcoin                             0.03589405 Customer Transfer
 Confidential Customer Coin Transferee #5568    [Address on File]     5/24/2023 Bitcoin                             0.03484263 Customer Transfer
 Confidential Customer Coin Transferee #5568    [Address on File]     5/20/2023 Bitcoin                             0.00882933 Customer Transfer
 Confidential Customer Coin Transferee #5569    [Address on File]     6/10/2023 USDC Solana)                        367.389566 Customer Transfer
 Confidential Customer Coin Transferee #5569    [Address on File]      6/2/2023 USDC Solana)                         282.55872 Customer Transfer
 Confidential Customer Coin Transferee #5569    [Address on File]      6/5/2023 Solana                                  7.19831 Customer Transfer
 Confidential Customer Coin Transferee #5569    [Address on File]     6/10/2023 Solana                                3.027795 Customer Transfer
 Confidential Customer Coin Transferee #5570    [Address on File]      6/1/2023 Bitcoin                             0.01470514 Customer Transfer
 Confidential Customer Coin Transferee #5571    [Address on File]     6/20/2023 Bitcoin                             0.00004285 Customer Transfer
 Confidential Customer Coin Transferee #5572    [Address on File]     6/19/2023 Bitcoin                             0.00004317 Customer Transfer
 Confidential Customer Coin Transferee #5573    [Address on File]     5/22/2023 Bitcoin                             0.10486391 Customer Transfer
 Confidential Customer Coin Transferee #5574    [Address on File]     6/19/2023 Bitcoin                             0.00319166 Customer Transfer

 Confidential Customer Coin Transferee #5575    [Address on File]      6/2/2023 Tether USD                              585207.81 Customer Transfer

 Confidential Customer Coin Transferee #5575    [Address on File]     5/24/2023 Tether USD                                349475 Customer Transfer

 Confidential Customer Coin Transferee #5576    [Address on File]     5/31/2023 Tether USD                               1297142 Customer Transfer

 Confidential Customer Coin Transferee #5576    [Address on File]     5/19/2023 Tether USD                             1197501.19 Customer Transfer

 Confidential Customer Coin Transferee #5576    [Address on File]      6/1/2023 Tether USD                               748276.2 Customer Transfer

 Confidential Customer Coin Transferee #5576    [Address on File]     5/25/2023 Tether USD                               488873.9 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count          or Transfer

 Confidential Customer Coin Transferee #5576    [Address on File]     5/26/2023 Tether USD                              472950.67 Customer Transfer

 Confidential Customer Coin Transferee #5576    [Address on File]     5/19/2023 Tether USD                                     100 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/24/2023 Bitcoin                                 0.0018705 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/28/2023 Bitcoin                                   0.001811 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/16/2023 Bitcoin                                0.00181055 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/26/2023 Bitcoin                                 0.0014586 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/18/2023 Bitcoin                                 0.0012817 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/27/2023 Bitcoin                                 0.0011563 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/23/2023 Bitcoin                                0.00113065 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/29/2023 Bitcoin                                 0.0010839 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/30/2023 Bitcoin                                 0.0010824 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/20/2023 Bitcoin                                0.00107938 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/23/2023 Bitcoin                                0.00107706 Customer Transfer
 Confidential Customer Coin Transferee #5577    [Address on File]     5/17/2023 Bitcoin                                0.00107677 Customer Transfer
 Confidential Customer Coin Transferee #5578    [Address on File]     6/20/2023 Bitcoin                                0.00036659 Customer Transfer
 Confidential Customer Coin Transferee #5579    [Address on File]     5/19/2023 Bitcoin                                 0.0007393 Customer Transfer
 Confidential Customer Coin Transferee #5579    [Address on File]     5/24/2023 Bitcoin                                 0.0007356 Customer Transfer
 Confidential Customer Coin Transferee #5579    [Address on File]     5/31/2023 Bitcoin                                0.00073188 Customer Transfer
 Confidential Customer Coin Transferee #5580    [Address on File]     5/25/2023 Bitcoin                                0.01515266 Customer Transfer
 Confidential Customer Coin Transferee #5580    [Address on File]     5/25/2023 Bitcoin                                0.00378816 Customer Transfer


 Confidential Customer Coin Transferee #5581    [Address on File]     5/19/2023 Bitcoin                                0.03881034 Customer Transfer
 Confidential Customer Coin Transferee #5582    [Address on File]      6/8/2023 Tether USD                                  3769.2 Customer Transfer
 Confidential Customer Coin Transferee #5582    [Address on File]      6/8/2023 Tether USD                                     17 Customer Transfer
 Confidential Customer Coin Transferee #5582    [Address on File]      6/8/2023 Ether                                  0.99729502 Customer Transfer
 Confidential Customer Coin Transferee #5582    [Address on File]      6/8/2023 Bitcoin                                0.10981116 Customer Transfer
 Confidential Customer Coin Transferee #5583    [Address on File]     6/16/2023 Tether USD                             848.583117 Customer Transfer
 Confidential Customer Coin Transferee #5583    [Address on File]     5/17/2023 Tether USD                             821.395023 Customer Transfer


 Confidential Customer Coin Transferee #5584    [Address on File]      6/8/2023 Tether USD                               690.3215 Customer Transfer




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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer


 Confidential Customer Coin Transferee #5584    [Address on File]     5/29/2023 Tether USD                               491.5583 Customer Transfer
 Confidential Customer Coin Transferee #5585    [Address on File]      6/7/2023 Tether USD                                 1583.95 Customer Transfer
 Confidential Customer Coin Transferee #5586    [Address on File]     6/20/2023 Bitcoin                                0.00006001 Customer Transfer
 Confidential Customer Coin Transferee #5587    [Address on File]     5/22/2023 Bitcoin                                0.01267403 Customer Transfer
 Confidential Customer Coin Transferee #5588    [Address on File]     6/20/2023 Bitcoin                                   0.001026 Customer Transfer
 Confidential Customer Coin Transferee #5589    [Address on File]     5/26/2023 Bitcoin                                0.00189285 Customer Transfer
 Confidential Customer Coin Transferee #5589    [Address on File]     5/19/2023 Bitcoin                                0.00185995 Customer Transfer
 Confidential Customer Coin Transferee #5590    [Address on File]     6/20/2023 Bitcoin                                0.00128598 Customer Transfer
 Confidential Customer Coin Transferee #5591    [Address on File]     6/20/2023 Bitcoin                                0.01690615 Customer Transfer
 Confidential Customer Coin Transferee #5592    [Address on File]     5/26/2023 Bitcoin                                0.00184939 Customer Transfer
 Confidential Customer Coin Transferee #5592    [Address on File]     5/19/2023 Bitcoin                                0.00181005 Customer Transfer
 Confidential Customer Coin Transferee #5593    [Address on File]     6/19/2023 Bitcoin                                0.00425177 Customer Transfer
 Confidential Customer Coin Transferee #5594    [Address on File]     5/26/2023 Bitcoin                                0.01086812 Customer Transfer
 Confidential Customer Coin Transferee #5595    [Address on File]     5/21/2023 Bitcoin                                0.02644059 Customer Transfer

 Confidential Customer Coin Transferee #5596    [Address on File]     5/21/2023 Bitcoin                                0.01826971 Customer Transfer
 Confidential Customer Coin Transferee #5597    [Address on File]     6/19/2023 Bitcoin                                0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #5598    [Address on File]     5/19/2023 Bitcoin                                0.01045731 Customer Transfer
 Confidential Customer Coin Transferee #5598    [Address on File]     5/24/2023 Bitcoin                                0.01015616 Customer Transfer
 Confidential Customer Coin Transferee #5599    [Address on File]     5/24/2023 Bitcoin                                0.00378199 Customer Transfer
 Confidential Customer Coin Transferee #5599    [Address on File]     5/23/2023 Bitcoin                                 0.0036267 Customer Transfer
 Confidential Customer Coin Transferee #5600    [Address on File]     6/20/2023 Bitcoin                                0.00597764 Customer Transfer
 Confidential Customer Coin Transferee #5601    [Address on File]     5/26/2023 Bitcoin                                         0.02 Customer Transfer
 Confidential Customer Coin Transferee #5602    [Address on File]     5/25/2023 Bitcoin                                0.03524385 Customer Transfer
 Confidential Customer Coin Transferee #5603    [Address on File]     5/19/2023 Bitcoin                                0.03037893 Customer Transfer
 Confidential Customer Coin Transferee #5604    [Address on File]     5/25/2023 Bitcoin                                0.00884894 Customer Transfer
 Confidential Customer Coin Transferee #5605    [Address on File]     5/28/2023 Bitcoin                                0.06932427 Customer Transfer
 Confidential Customer Coin Transferee #5606    [Address on File]     6/20/2023 Bitcoin                                0.00628251 Customer Transfer
 Confidential Customer Coin Transferee #5607    [Address on File]     5/19/2023 Bitcoin                                0.00185467 Customer Transfer
 Confidential Customer Coin Transferee #5608    [Address on File]     5/16/2023 Bitcoin                                   0.007356 Customer Transfer
 Confidential Customer Coin Transferee #5609    [Address on File]     5/28/2023 Bitcoin                                      0.0037 Customer Transfer
 Confidential Customer Coin Transferee #5609    [Address on File]     5/30/2023 Bitcoin                                      0.0017 Customer Transfer
 Confidential Customer Coin Transferee #5610    [Address on File]     6/14/2023 Bitcoin                                0.00268429 Customer Transfer
 Confidential Customer Coin Transferee #5611    [Address on File]     5/18/2023 Bitcoin                                       0.002 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5611    [Address on File]     5/31/2023 Bitcoin                             0.00071886 Customer Transfer
 Confidential Customer Coin Transferee #5611    [Address on File]     5/16/2023 Bitcoin                             0.00070037 Customer Transfer
 Confidential Customer Coin Transferee #5611    [Address on File]     5/20/2023 Bitcoin                             0.00069835 Customer Transfer
 Confidential Customer Coin Transferee #5611    [Address on File]     5/16/2023 Bitcoin                             0.00068892 Customer Transfer
 Confidential Customer Coin Transferee #5611    [Address on File]     5/18/2023 Bitcoin                             0.00053603 Customer Transfer
 Confidential Customer Coin Transferee #5611    [Address on File]     5/20/2023 Bitcoin                             0.00051655 Customer Transfer
 Confidential Customer Coin Transferee #5611    [Address on File]     5/21/2023 Bitcoin                             0.00036724 Customer Transfer
 Confidential Customer Coin Transferee #5611    [Address on File]     5/16/2023 Bitcoin                             0.00036673 Customer Transfer
 Confidential Customer Coin Transferee #5612    [Address on File]     5/16/2023 Bitcoin                             0.02541467 Customer Transfer
 Confidential Customer Coin Transferee #5613    [Address on File]     5/29/2023 Bitcoin                             0.01810072 Customer Transfer
 Confidential Customer Coin Transferee #5614    [Address on File]     5/24/2023 Bitcoin                             0.00755237 Customer Transfer
 Confidential Customer Coin Transferee #5614    [Address on File]     5/16/2023 Bitcoin                             0.00367878 Customer Transfer
 Confidential Customer Coin Transferee #5615    [Address on File]     5/19/2023 Bitcoin                             0.00982722 Customer Transfer
 Confidential Customer Coin Transferee #5615    [Address on File]     5/19/2023 Bitcoin                             0.00571949 Customer Transfer
 Confidential Customer Coin Transferee #5615    [Address on File]     5/19/2023 Bitcoin                             0.00556249 Customer Transfer
 Confidential Customer Coin Transferee #5615    [Address on File]     5/19/2023 Bitcoin                             0.00536863 Customer Transfer
 Confidential Customer Coin Transferee #5615    [Address on File]     5/19/2023 Bitcoin                                   0.004 Customer Transfer
 Confidential Customer Coin Transferee #5615    [Address on File]     5/19/2023 Bitcoin                              0.0037291 Customer Transfer
 Confidential Customer Coin Transferee #5615    [Address on File]     5/19/2023 Bitcoin                                  0.0015 Customer Transfer
 Confidential Customer Coin Transferee #5615    [Address on File]     5/26/2023 Bitcoin                                  0.0015 Customer Transfer
 Confidential Customer Coin Transferee #5615    [Address on File]     5/20/2023 Bitcoin                             0.00146731 Customer Transfer
 Confidential Customer Coin Transferee #5615    [Address on File]     5/27/2023 Bitcoin                             0.00089833 Customer Transfer
 Confidential Customer Coin Transferee #5615    [Address on File]     5/27/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #5616    [Address on File]     5/28/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #5617    [Address on File]     5/29/2023 Bitcoin                             0.00718476 Customer Transfer
 Confidential Customer Coin Transferee #5617    [Address on File]     5/26/2023 Bitcoin                                   0.004 Customer Transfer
 Confidential Customer Coin Transferee #5617    [Address on File]     5/18/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #5617    [Address on File]     5/26/2023 Bitcoin                                  0.0018 Customer Transfer
 Confidential Customer Coin Transferee #5617    [Address on File]     5/18/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #5617    [Address on File]     5/18/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #5618    [Address on File]     5/24/2023 Bitcoin                             0.00075092 Customer Transfer
 Confidential Customer Coin Transferee #5618    [Address on File]     5/17/2023 Bitcoin                             0.00034407 Customer Transfer
 Confidential Customer Coin Transferee #5619    [Address on File]     6/19/2023 Bitcoin                             0.00042257 Customer Transfer
 Confidential Customer Coin Transferee #5620    [Address on File]     6/20/2023 Bitcoin                              0.0001153 Customer Transfer
 Confidential Customer Coin Transferee #5621    [Address on File]     6/20/2023 Bitcoin                             0.00115865 Customer Transfer
 Confidential Customer Coin Transferee #5622    [Address on File]     6/17/2023 Bitcoin                             0.00268212 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5623    [Address on File]     6/20/2023 Bitcoin                             0.00116969 Customer Transfer
 Confidential Customer Coin Transferee #5624    [Address on File]     5/18/2023 Bitcoin                             0.01588841 Customer Transfer
 Confidential Customer Coin Transferee #5624    [Address on File]     5/28/2023 Bitcoin                             0.01122414 Customer Transfer
 Confidential Customer Coin Transferee #5624    [Address on File]     5/21/2023 Bitcoin                             0.01091715 Customer Transfer
 Confidential Customer Coin Transferee #5624    [Address on File]     5/18/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #5624    [Address on File]     5/18/2023 Bitcoin                                   0.005 Customer Transfer
 Confidential Customer Coin Transferee #5624    [Address on File]     5/19/2023 Bitcoin                              0.0036143 Customer Transfer
 Confidential Customer Coin Transferee #5625    [Address on File]     5/18/2023 Bitcoin                             0.01064316 Customer Transfer
 Confidential Customer Coin Transferee #5626    [Address on File]     5/29/2023 Bitcoin                             0.00387694 Customer Transfer
 Confidential Customer Coin Transferee #5626    [Address on File]     5/23/2023 Bitcoin                             0.00267311 Customer Transfer
 Confidential Customer Coin Transferee #5626    [Address on File]     5/16/2023 Bitcoin                             0.00139552 Customer Transfer
 Confidential Customer Coin Transferee #5627    [Address on File]     5/22/2023 Bitcoin                             0.01853336 Customer Transfer
 Confidential Customer Coin Transferee #5628    [Address on File]     5/26/2023 Bitcoin                              0.0150298 Customer Transfer
 Confidential Customer Coin Transferee #5629    [Address on File]     5/26/2023 Bitcoin                              0.0373203 Customer Transfer
 Confidential Customer Coin Transferee #5630    [Address on File]     6/19/2023 Bitcoin                             0.00046978 Customer Transfer
 Confidential Customer Coin Transferee #5631    [Address on File]     5/20/2023 Bitcoin                             0.03630592 Customer Transfer
 Confidential Customer Coin Transferee #5632    [Address on File]     5/20/2023 Bitcoin                             0.01481366 Customer Transfer
 Confidential Customer Coin Transferee #5633    [Address on File]     5/21/2023 Bitcoin                             0.00173263 Customer Transfer
 Confidential Customer Coin Transferee #5633    [Address on File]     5/27/2023 Bitcoin                              0.0009303 Customer Transfer
 Confidential Customer Coin Transferee #5633    [Address on File]     5/25/2023 Bitcoin                             0.00090836 Customer Transfer
 Confidential Customer Coin Transferee #5633    [Address on File]     5/26/2023 Bitcoin                             0.00089991 Customer Transfer
 Confidential Customer Coin Transferee #5633    [Address on File]     5/24/2023 Bitcoin                             0.00089137 Customer Transfer
 Confidential Customer Coin Transferee #5633    [Address on File]     5/22/2023 Bitcoin                             0.00089034 Customer Transfer
 Confidential Customer Coin Transferee #5633    [Address on File]     5/17/2023 Bitcoin                             0.00088597 Customer Transfer
 Confidential Customer Coin Transferee #5633    [Address on File]     5/16/2023 Bitcoin                             0.00087939 Customer Transfer
 Confidential Customer Coin Transferee #5633    [Address on File]     5/23/2023 Bitcoin                             0.00087818 Customer Transfer
 Confidential Customer Coin Transferee #5633    [Address on File]     5/18/2023 Bitcoin                             0.00087578 Customer Transfer
 Confidential Customer Coin Transferee #5634    [Address on File]      6/1/2023 Bitcoin                             0.00477778 Customer Transfer
 Confidential Customer Coin Transferee #5634    [Address on File]     6/17/2023 Bitcoin                             0.00156663 Customer Transfer
 Confidential Customer Coin Transferee #5634    [Address on File]      6/8/2023 Bitcoin                             0.00152188 Customer Transfer
 Confidential Customer Coin Transferee #5634    [Address on File]     5/19/2023 Bitcoin                             0.00147062 Customer Transfer
 Confidential Customer Coin Transferee #5634    [Address on File]     5/29/2023 Bitcoin                             0.00112343 Customer Transfer
 Confidential Customer Coin Transferee #5634    [Address on File]     5/25/2023 Bitcoin                             0.00110574 Customer Transfer
 Confidential Customer Coin Transferee #5634    [Address on File]     5/16/2023 Bitcoin                             0.00110153 Customer Transfer
 Confidential Customer Coin Transferee #5634    [Address on File]      6/5/2023 Bitcoin                             0.00109473 Customer Transfer
 Confidential Customer Coin Transferee #5634    [Address on File]     5/22/2023 Bitcoin                             0.00073068 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5635    [Address on File]     5/25/2023 Bitcoin                             0.01093561 Customer Transfer
 Confidential Customer Coin Transferee #5636    [Address on File]     6/20/2023 Bitcoin                             0.00400075 Customer Transfer
 Confidential Customer Coin Transferee #5637    [Address on File]     5/30/2023 flexUSD                              19.884702 Customer Transfer
 Confidential Customer Coin Transferee #5638    [Address on File]     6/20/2023 Bitcoin                             0.00031076 Customer Transfer
 Confidential Customer Coin Transferee #5639    [Address on File]     6/20/2023 Bitcoin                             0.00902414 Customer Transfer
 Confidential Customer Coin Transferee #5640    [Address on File]     6/20/2023 Bitcoin                             0.22677704 Customer Transfer
 Confidential Customer Coin Transferee #5641    [Address on File]     5/25/2023 Bitcoin                             0.05418934 Customer Transfer
 Confidential Customer Coin Transferee #5642    [Address on File]     5/31/2023 Bitcoin                              0.0043195 Customer Transfer
 Confidential Customer Coin Transferee #5643    [Address on File]     5/17/2023 Bitcoin                                  0.0111 Customer Transfer
 Confidential Customer Coin Transferee #5644    [Address on File]     6/20/2023 Bitcoin                             0.00074141 Customer Transfer
 Confidential Customer Coin Transferee #5645    [Address on File]     6/19/2023 Bitcoin                             0.00011654 Customer Transfer
 Confidential Customer Coin Transferee #5646    [Address on File]     5/25/2023 Bitcoin                             0.00730927 Customer Transfer
 Confidential Customer Coin Transferee #5647    [Address on File]     5/29/2023 Bitcoin                             0.00386774 Customer Transfer
 Confidential Customer Coin Transferee #5647    [Address on File]     5/20/2023 Bitcoin                             0.00258985 Customer Transfer
 Confidential Customer Coin Transferee #5648    [Address on File]     5/19/2023 Bitcoin                              0.0556031 Customer Transfer
 Confidential Customer Coin Transferee #5649    [Address on File]     5/30/2023 Bitcoin                             0.00044563 Customer Transfer
 Confidential Customer Coin Transferee #5650    [Address on File]     6/19/2023 Bitcoin                             0.00005963 Customer Transfer
 Confidential Customer Coin Transferee #5651    [Address on File]     5/28/2023 Bitcoin                              0.0176758 Customer Transfer
 Confidential Customer Coin Transferee #5651    [Address on File]     5/19/2023 Bitcoin                             0.00369969 Customer Transfer
 Confidential Customer Coin Transferee #5652    [Address on File]     5/24/2023 Bitcoin                                   0.113 Customer Transfer
 Confidential Customer Coin Transferee #5652    [Address on File]     5/25/2023 Bitcoin                                   0.113 Customer Transfer
 Confidential Customer Coin Transferee #5652    [Address on File]     5/21/2023 Bitcoin                                   0.111 Customer Transfer
 Confidential Customer Coin Transferee #5652    [Address on File]     5/17/2023 Bitcoin                                     0.11 Customer Transfer
 Confidential Customer Coin Transferee #5652    [Address on File]     5/19/2023 Bitcoin                                     0.11 Customer Transfer
 Confidential Customer Coin Transferee #5652    [Address on File]     5/30/2023 Bitcoin                             0.08202806 Customer Transfer
 Confidential Customer Coin Transferee #5653    [Address on File]     6/20/2023 Bitcoin                             0.00005869 Customer Transfer
 Confidential Customer Coin Transferee #5654    [Address on File]     5/22/2023 Bitcoin                             0.00036983 Customer Transfer
 Confidential Customer Coin Transferee #5654    [Address on File]     5/16/2023 Bitcoin                             0.00036725 Customer Transfer
 Confidential Customer Coin Transferee #5655    [Address on File]     5/24/2023 Bitcoin                             0.00351469 Customer Transfer
 Confidential Customer Coin Transferee #5655    [Address on File]     5/31/2023 Bitcoin                             0.00349113 Customer Transfer
 Confidential Customer Coin Transferee #5655    [Address on File]     5/29/2023 Bitcoin                             0.00199375 Customer Transfer
 Confidential Customer Coin Transferee #5655    [Address on File]     5/25/2023 Bitcoin                             0.00091184 Customer Transfer
 Confidential Customer Coin Transferee #5655    [Address on File]     5/23/2023 Bitcoin                              0.0007697 Customer Transfer
 Confidential Customer Coin Transferee #5655    [Address on File]     5/28/2023 Bitcoin                             0.00054961 Customer Transfer
 Confidential Customer Coin Transferee #5655    [Address on File]     5/25/2023 Bitcoin                             0.00036242 Customer Transfer
 Confidential Customer Coin Transferee #5655    [Address on File]     5/20/2023 Bitcoin                             0.00032136 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5655    [Address on File]     5/23/2023 Bitcoin                             0.00018267 Customer Transfer
 Confidential Customer Coin Transferee #5656    [Address on File]     5/18/2023 Bitcoin                             0.00353027 Customer Transfer
 Confidential Customer Coin Transferee #5657    [Address on File]     5/16/2023 Bitcoin                             0.00092797 Customer Transfer
 Confidential Customer Coin Transferee #5658    [Address on File]     5/29/2023 Bitcoin                             0.00143823 Customer Transfer
 Confidential Customer Coin Transferee #5659    [Address on File]     5/20/2023 Bitcoin                                  0.0141 Customer Transfer
 Confidential Customer Coin Transferee #5659    [Address on File]     5/27/2023 Bitcoin                                  0.0045 Customer Transfer
 Confidential Customer Coin Transferee #5659    [Address on File]     5/27/2023 Bitcoin                             0.00014964 Customer Transfer
 Confidential Customer Coin Transferee #5660    [Address on File]     6/19/2023 Bitcoin                             0.00965444 Customer Transfer
 Confidential Customer Coin Transferee #5661    [Address on File]     5/29/2023 Bitcoin                             0.00732856 Customer Transfer
 Confidential Customer Coin Transferee #5662    [Address on File]     5/27/2023 Bitcoin                             0.00186237 Customer Transfer
 Confidential Customer Coin Transferee #5662    [Address on File]     5/19/2023 Bitcoin                             0.00092536 Customer Transfer
 Confidential Customer Coin Transferee #5662    [Address on File]     5/20/2023 Bitcoin                             0.00092482 Customer Transfer
 Confidential Customer Coin Transferee #5662    [Address on File]     5/31/2023 Bitcoin                             0.00072953 Customer Transfer
 Confidential Customer Coin Transferee #5663    [Address on File]     5/25/2023 Bitcoin                             0.00940056 Customer Transfer

 Confidential Customer Coin Transferee #5664    [Address on File]     6/19/2023 Bitcoin                                0.01007925 Customer Transfer
 Confidential Customer Coin Transferee #5665    [Address on File]     6/19/2023 Bitcoin                                0.00067049 Customer Transfer
 Confidential Customer Coin Transferee #5666    [Address on File]     6/19/2023 Bitcoin                                0.00786354 Customer Transfer
 Confidential Customer Coin Transferee #5667    [Address on File]     5/25/2023 Bitcoin                                0.02650248 Customer Transfer
 Confidential Customer Coin Transferee #5667    [Address on File]     5/25/2023 Bitcoin                                0.02628477 Customer Transfer
 Confidential Customer Coin Transferee #5667    [Address on File]     5/25/2023 Bitcoin                                 0.0262342 Customer Transfer
 Confidential Customer Coin Transferee #5667    [Address on File]     5/25/2023 Bitcoin                                0.02565468 Customer Transfer
 Confidential Customer Coin Transferee #5667    [Address on File]     5/25/2023 Bitcoin                                 0.0249881 Customer Transfer
 Confidential Customer Coin Transferee #5668    [Address on File]     6/20/2023 Bitcoin                                 0.0007334 Customer Transfer
 Confidential Customer Coin Transferee #5669    [Address on File]     6/20/2023 Bitcoin                                0.00636083 Customer Transfer
 Confidential Customer Coin Transferee #5670    [Address on File]     5/23/2023 Bitcoin                                 0.0105096 Customer Transfer
 Confidential Customer Coin Transferee #5671    [Address on File]     5/25/2023 Bitcoin                                0.00535638 Customer Transfer
 Confidential Customer Coin Transferee #5672    [Address on File]     5/21/2023 Bitcoin                                0.00184385 Customer Transfer
 Confidential Customer Coin Transferee #5673    [Address on File]     6/20/2023 Bitcoin                                   0.001143 Customer Transfer
 Confidential Customer Coin Transferee #5674    [Address on File]     5/21/2023 Bitcoin                                0.00103633 Customer Transfer
 Confidential Customer Coin Transferee #5675    [Address on File]     6/19/2023 Bitcoin                                0.00028936 Customer Transfer
 Confidential Customer Coin Transferee #5676    [Address on File]     6/19/2023 Bitcoin                                0.00003499 Customer Transfer
 Confidential Customer Coin Transferee #5677    [Address on File]     6/20/2023 Bitcoin                                0.00684314 Customer Transfer
 Confidential Customer Coin Transferee #5678    [Address on File]     5/19/2023 Bitcoin                                0.02711079 Customer Transfer
 Confidential Customer Coin Transferee #5679    [Address on File]      6/9/2023 Bitcoin                                0.01031982 Customer Transfer
 Confidential Customer Coin Transferee #5680    [Address on File]     5/30/2023 Bitcoin                                 0.1310635 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5680    [Address on File]     5/17/2023 Bitcoin                             0.11373348 Customer Transfer
 Confidential Customer Coin Transferee #5681    [Address on File]     6/19/2023 Bitcoin                             0.00180912 Customer Transfer
 Confidential Customer Coin Transferee #5682    [Address on File]     5/19/2023 Bitcoin                             0.07746174 Customer Transfer
 Confidential Customer Coin Transferee #5683    [Address on File]     6/20/2023 Bitcoin                             0.00057916 Customer Transfer

 Confidential Customer Coin Transferee #5684    [Address on File]     6/19/2023 Bitcoin                                0.05795132 Customer Transfer
 Confidential Customer Coin Transferee #5685    [Address on File]     6/19/2023 Bitcoin                                0.00250322 Customer Transfer
 Confidential Customer Coin Transferee #5686    [Address on File]     6/20/2023 Bitcoin                                0.00074881 Customer Transfer
 Confidential Customer Coin Transferee #5687    [Address on File]     5/20/2023 Bitcoin                                0.10831122 Customer Transfer
 Confidential Customer Coin Transferee #5688    [Address on File]     5/26/2023 Bitcoin                                0.01089687 Customer Transfer
 Confidential Customer Coin Transferee #5689    [Address on File]     6/19/2023 Bitcoin                                 0.0008588 Customer Transfer
 Confidential Customer Coin Transferee #5690    [Address on File]     6/20/2023 Bitcoin                                0.00004798 Customer Transfer
 Confidential Customer Coin Transferee #5691    [Address on File]     6/12/2023 Bitcoin                                0.00115388 Customer Transfer
 Confidential Customer Coin Transferee #5691    [Address on File]     6/13/2023 Bitcoin                                0.00115334 Customer Transfer
 Confidential Customer Coin Transferee #5691    [Address on File]      6/5/2023 Bitcoin                                0.00109233 Customer Transfer
 Confidential Customer Coin Transferee #5691    [Address on File]     5/23/2023 Bitcoin                                0.00109192 Customer Transfer
 Confidential Customer Coin Transferee #5691    [Address on File]     5/17/2023 Bitcoin                                0.00109169 Customer Transfer
 Confidential Customer Coin Transferee #5692    [Address on File]     6/19/2023 Bitcoin                                0.00598991 Customer Transfer
 Confidential Customer Coin Transferee #5693    [Address on File]     6/13/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #5694    [Address on File]     6/19/2023 Bitcoin                                 0.0065127 Customer Transfer
 Confidential Customer Coin Transferee #5695    [Address on File]     6/14/2023 USDC Avalanche)                        247.231107 Customer Transfer
 Confidential Customer Coin Transferee #5695    [Address on File]     6/14/2023 USDC Avalanche)                        247.231107 Customer Transfer
 Confidential Customer Coin Transferee #5696    [Address on File]     6/19/2023 Bitcoin                                0.00115776 Customer Transfer
 Confidential Customer Coin Transferee #5697    [Address on File]     6/19/2023 Bitcoin                                0.00222327 Customer Transfer
 Confidential Customer Coin Transferee #5698    [Address on File]     6/20/2023 Bitcoin                                0.00035876 Customer Transfer
 Confidential Customer Coin Transferee #5699    [Address on File]     5/23/2023 Bitcoin                                0.05454036 Customer Transfer
 Confidential Customer Coin Transferee #5700    [Address on File]     6/18/2023 Bitcoin                                0.00034071 Customer Transfer

 Confidential Customer Coin Transferee #5701    [Address on File]     5/19/2023 Bitcoin                                0.00794534 Customer Transfer

 Confidential Customer Coin Transferee #5701    [Address on File]      6/2/2023 Bitcoin                                0.00007878 Customer Transfer
 Confidential Customer Coin Transferee #5702    [Address on File]     6/19/2023 Bitcoin                                0.01508266 Customer Transfer
 Confidential Customer Coin Transferee #5703    [Address on File]     5/22/2023 Bitcoin                                0.03858531 Customer Transfer
 Confidential Customer Coin Transferee #5703    [Address on File]     5/24/2023 Bitcoin                                0.01906159 Customer Transfer
 Confidential Customer Coin Transferee #5703    [Address on File]     5/23/2023 Bitcoin                                0.01185895 Customer Transfer
 Confidential Customer Coin Transferee #5703    [Address on File]     5/22/2023 Bitcoin                                0.00371881 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5703    [Address on File]     5/22/2023 Bitcoin                             0.00371347 Customer Transfer
 Confidential Customer Coin Transferee #5704    [Address on File]     5/28/2023 Bitcoin                             0.01798299 Customer Transfer
 Confidential Customer Coin Transferee #5704    [Address on File]     5/20/2023 Bitcoin                             0.00773159 Customer Transfer
 Confidential Customer Coin Transferee #5705    [Address on File]     5/19/2023 Bitcoin                             0.00062891 Customer Transfer
 Confidential Customer Coin Transferee #5706    [Address on File]     5/25/2023 Bitcoin                             0.00037783 Customer Transfer
 Confidential Customer Coin Transferee #5706    [Address on File]     5/31/2023 Bitcoin                             0.00035838 Customer Transfer
 Confidential Customer Coin Transferee #5707    [Address on File]     5/25/2023 Bitcoin                             0.00130031 Customer Transfer
 Confidential Customer Coin Transferee #5708    [Address on File]     6/10/2023 Cosmos Hub ATOM)                     14.583123 Customer Transfer
 Confidential Customer Coin Transferee #5708    [Address on File]      6/5/2023 Cosmos Hub ATOM)                     13.961621 Customer Transfer
 Confidential Customer Coin Transferee #5708    [Address on File]     5/28/2023 Cosmos Hub ATOM)                     11.707037 Customer Transfer

 Confidential Customer Coin Transferee #5709    [Address on File]      6/6/2023 Tether USD                                 900000 Customer Transfer
 Confidential Customer Coin Transferee #5710    [Address on File]     5/20/2023 Bitcoin                                0.07395979 Customer Transfer
 Confidential Customer Coin Transferee #5710    [Address on File]     5/20/2023 Bitcoin                                0.00936956 Customer Transfer
 Confidential Customer Coin Transferee #5710    [Address on File]     5/22/2023 Bitcoin                                 0.0073942 Customer Transfer
 Confidential Customer Coin Transferee #5710    [Address on File]     5/22/2023 Bitcoin                                0.00462244 Customer Transfer
 Confidential Customer Coin Transferee #5710    [Address on File]     5/26/2023 Bitcoin                                0.00376294 Customer Transfer
 Confidential Customer Coin Transferee #5710    [Address on File]     5/19/2023 Bitcoin                                0.00370398 Customer Transfer
 Confidential Customer Coin Transferee #5710    [Address on File]     5/19/2023 Bitcoin                                0.00185142 Customer Transfer
 Confidential Customer Coin Transferee #5711    [Address on File]     5/23/2023 Bitcoin                                     0.0044 Customer Transfer
 Confidential Customer Coin Transferee #5711    [Address on File]     5/18/2023 Bitcoin                                     0.0018 Customer Transfer
 Confidential Customer Coin Transferee #5712    [Address on File]     5/25/2023 Bitcoin                                0.01020333 Customer Transfer
 Confidential Customer Coin Transferee #5713    [Address on File]     5/29/2023 Bitcoin                                0.03127508 Customer Transfer
 Confidential Customer Coin Transferee #5713    [Address on File]     5/29/2023 Bitcoin                                0.02729204 Customer Transfer
 Confidential Customer Coin Transferee #5714    [Address on File]      6/7/2023 Tether USD                                 2775.99 Customer Transfer

 Confidential Customer Coin Transferee #5715    [Address on File]     5/23/2023 Bitcoin                                2.65457964 Customer Transfer
 Confidential Customer Coin Transferee #5716    [Address on File]     5/20/2023 Bitcoin                                0.02610894 Customer Transfer
 Confidential Customer Coin Transferee #5717    [Address on File]     5/21/2023 Bitcoin                                0.04073311 Customer Transfer
 Confidential Customer Coin Transferee #5718    [Address on File]     6/19/2023 Bitcoin                                0.00005804 Customer Transfer
 Confidential Customer Coin Transferee #5719    [Address on File]     6/20/2023 Bitcoin                                0.00200586 Customer Transfer
 Confidential Customer Coin Transferee #5720    [Address on File]     5/29/2023 Bitcoin                                0.05082226 Customer Transfer
 Confidential Customer Coin Transferee #5721    [Address on File]      6/8/2023 USD Coin                                2365.3737 Customer Transfer
 Confidential Customer Coin Transferee #5721    [Address on File]      6/8/2023 USD Coin                                        5 Customer Transfer
 Confidential Customer Coin Transferee #5722    [Address on File]     5/23/2023 Bitcoin                                0.00574962 Customer Transfer
 Confidential Customer Coin Transferee #5723    [Address on File]     6/20/2023 Bitcoin                                0.00048728 Customer Transfer


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                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #5724    [Address on File]     5/23/2023 Bitcoin                             0.00072675 Customer Transfer
 Confidential Customer Coin Transferee #5724    [Address on File]     5/21/2023 Bitcoin                             0.00037107 Customer Transfer
 Confidential Customer Coin Transferee #5725    [Address on File]     5/22/2023 Bitcoin                             0.01259332 Customer Transfer
 Confidential Customer Coin Transferee #5725    [Address on File]     5/20/2023 Bitcoin                                   0.0093 Customer Transfer
 Confidential Customer Coin Transferee #5725    [Address on File]     5/17/2023 Bitcoin                             0.00885482 Customer Transfer
 Confidential Customer Coin Transferee #5725    [Address on File]     5/26/2023 Bitcoin                              0.0067981 Customer Transfer
 Confidential Customer Coin Transferee #5725    [Address on File]     5/26/2023 Bitcoin                                    0.006 Customer Transfer
 Confidential Customer Coin Transferee #5725    [Address on File]     5/20/2023 Bitcoin                                0.002546 Customer Transfer
 Confidential Customer Coin Transferee #5726    [Address on File]     5/30/2023 Bitcoin                                       0.1 Customer Transfer
 Confidential Customer Coin Transferee #5727    [Address on File]     5/23/2023 Bitcoin                             0.01908847 Customer Transfer
 Confidential Customer Coin Transferee #5727    [Address on File]     5/23/2023 Bitcoin                             0.00048533 Customer Transfer
 Confidential Customer Coin Transferee #5727    [Address on File]     5/23/2023 Bitcoin                             0.00012338 Customer Transfer
 Confidential Customer Coin Transferee #5727    [Address on File]     5/23/2023 Bitcoin                             0.00012245 Customer Transfer
 Confidential Customer Coin Transferee #5728    [Address on File]     5/22/2023 Bitcoin                             0.00247668 Customer Transfer
 Confidential Customer Coin Transferee #5729    [Address on File]     6/20/2023 Bitcoin                             0.00295024 Customer Transfer
 Confidential Customer Coin Transferee #5730    [Address on File]     6/21/2023 Recover Value USD                      119.6032 Customer Transfer
 Confidential Customer Coin Transferee #5730    [Address on File]     6/21/2023 USD Coin                            25.3080433 Customer Transfer
 Confidential Customer Coin Transferee #5731    [Address on File]     5/16/2023 Bitcoin                             0.00325085 Customer Transfer
 Confidential Customer Coin Transferee #5732    [Address on File]     5/24/2023 Tether USD                                  3259 Customer Transfer
 Confidential Customer Coin Transferee #5733    [Address on File]     5/22/2023 Bitcoin                             0.01021065 Customer Transfer
 Confidential Customer Coin Transferee #5734    [Address on File]     6/10/2023 Bitcoin                             0.01807627 Customer Transfer
 Confidential Customer Coin Transferee #5734    [Address on File]     6/12/2023 Bitcoin                             0.00071116 Customer Transfer


 Confidential Customer Coin Transferee #5735    [Address on File]     5/17/2023 Bitcoin                                2.12876529 Customer Transfer
 Confidential Customer Coin Transferee #5736    [Address on File]     5/25/2023 Bitcoin                                   0.064677 Customer Transfer
 Confidential Customer Coin Transferee #5736    [Address on File]     5/25/2023 Bitcoin                                       0.035 Customer Transfer
 Confidential Customer Coin Transferee #5737    [Address on File]     6/19/2023 Bitcoin                                0.00004362 Customer Transfer
 Confidential Customer Coin Transferee #5738    [Address on File]     5/20/2023 Bitcoin                                0.01040441 Customer Transfer
 Confidential Customer Coin Transferee #5739    [Address on File]     6/20/2023 Bitcoin                                0.00087977 Customer Transfer

 Confidential Customer Coin Transferee #5740    [Address on File]     6/21/2023 Bitcoin                                0.00371672 Customer Transfer

 Confidential Customer Coin Transferee #5741    [Address on File]     6/15/2023 Dogecoin                                  105.931 Customer Transfer

 Confidential Customer Coin Transferee #5741    [Address on File]     6/15/2023 Avalanche CChain)                          0.0099 Customer Transfer


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                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #5741    [Address on File]     6/15/2023 Bitcoin                                     0.0009 Customer Transfer
 Confidential Customer Coin Transferee #5742    [Address on File]     6/19/2023 Bitcoin                                0.00507435 Customer Transfer
 Confidential Customer Coin Transferee #5743    [Address on File]     5/31/2023 Bitcoin                                0.00452687 Customer Transfer
 Confidential Customer Coin Transferee #5744    [Address on File]     6/20/2023 Bitcoin                                0.00033098 Customer Transfer
 Confidential Customer Coin Transferee #5745    [Address on File]     5/26/2023 Bitcoin                                0.00184493 Customer Transfer
 Confidential Customer Coin Transferee #5745    [Address on File]     5/27/2023 Bitcoin                                    0.00182 Customer Transfer
 Confidential Customer Coin Transferee #5745    [Address on File]     5/24/2023 Bitcoin                                0.00181718 Customer Transfer
 Confidential Customer Coin Transferee #5745    [Address on File]     5/28/2023 Bitcoin                                0.00179126 Customer Transfer
 Confidential Customer Coin Transferee #5745    [Address on File]     5/29/2023 Bitcoin                                0.00176181 Customer Transfer
 Confidential Customer Coin Transferee #5746    [Address on File]     6/20/2023 Bitcoin                                0.00006088 Customer Transfer
 Confidential Customer Coin Transferee #5747    [Address on File]     5/24/2023 Bitcoin                                     0.2109 Customer Transfer
 Confidential Customer Coin Transferee #5747    [Address on File]     5/31/2023 Bitcoin                                0.01830511 Customer Transfer
 Confidential Customer Coin Transferee #5747    [Address on File]     5/23/2023 Bitcoin                                0.01275466 Customer Transfer
 Confidential Customer Coin Transferee #5747    [Address on File]     5/16/2023 Bitcoin                                0.01095652 Customer Transfer
 Confidential Customer Coin Transferee #5747    [Address on File]     5/26/2023 Bitcoin                                0.00948897 Customer Transfer
 Confidential Customer Coin Transferee #5747    [Address on File]     5/19/2023 Bitcoin                                0.00926149 Customer Transfer
 Confidential Customer Coin Transferee #5748    [Address on File]     5/21/2023 Bitcoin                                0.19902347 Customer Transfer
 Confidential Customer Coin Transferee #5749    [Address on File]     6/20/2023 Bitcoin                                0.00048907 Customer Transfer
 Confidential Customer Coin Transferee #5750    [Address on File]     5/21/2023 Bitcoin                                0.01456904 Customer Transfer
 Confidential Customer Coin Transferee #5751    [Address on File]     6/19/2023 Bitcoin                                0.00058683 Customer Transfer
 Confidential Customer Coin Transferee #5752    [Address on File]     5/26/2023 Bitcoin                                0.00073705 Customer Transfer
 Confidential Customer Coin Transferee #5752    [Address on File]     5/19/2023 Bitcoin                                 0.0006882 Customer Transfer
 Confidential Customer Coin Transferee #5753    [Address on File]     5/22/2023 Bitcoin                                0.08332586 Customer Transfer

 Confidential Customer Coin Transferee #5754    [Address on File]      6/9/2023 Tether USD                                157.8075 Customer Transfer
 Confidential Customer Coin Transferee #5755    [Address on File]     5/28/2023 Bitcoin                                0.00258633 Customer Transfer
 Confidential Customer Coin Transferee #5755    [Address on File]     5/21/2023 Bitcoin                                0.00243927 Customer Transfer
 Confidential Customer Coin Transferee #5755    [Address on File]     5/28/2023 Bitcoin                                0.00036478 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]     6/11/2023 USDC Solana)                           198.510893 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]     6/11/2023 USDC Avalanche)                        178.790604 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]      6/5/2023 Avalanche CChain)                       49.162324 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]      6/5/2023 Avalanche CChain)                       22.839431 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]      6/9/2023 Avalanche CChain)                       21.040776 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]     6/11/2023 Avalanche CChain)                       17.830891 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]      6/5/2023 Avalanche CChain)                       16.300336 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]      6/2/2023 Avalanche CChain)                     15.38908 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]      6/2/2023 Avalanche CChain)                    13.561922 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]      6/2/2023 Avalanche CChain)                    13.399543 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]     5/19/2023 Solana                                13.27998 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]     5/24/2023 Avalanche CChain)                     8.614357 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]     5/19/2023 Avalanche CChain)                     8.188096 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]     5/21/2023 Avalanche CChain)                     6.653364 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]     5/19/2023 Avalanche CChain)                     6.553266 Customer Transfer
 Confidential Customer Coin Transferee #5756    [Address on File]     6/16/2023 Avalanche CChain)                     6.314688 Customer Transfer
 Confidential Customer Coin Transferee #5757    [Address on File]     5/26/2023 Bitcoin                             0.00037085 Customer Transfer
 Confidential Customer Coin Transferee #5758    [Address on File]     6/15/2023 USDC Avalanche)                     297.161419 Customer Transfer
 Confidential Customer Coin Transferee #5758    [Address on File]      6/9/2023 USDC Avalanche)                      52.493753 Customer Transfer
 Confidential Customer Coin Transferee #5758    [Address on File]     6/15/2023 USDC Avalanche)                      36.995201 Customer Transfer
 Confidential Customer Coin Transferee #5759    [Address on File]     5/26/2023 Bitcoin                             0.01759897 Customer Transfer
 Confidential Customer Coin Transferee #5760    [Address on File]     5/21/2023 Bitcoin                             0.00018477 Customer Transfer

 Confidential Customer Coin Transferee #5761    [Address on File]     5/22/2023 Bitcoin                                 0.0150873 Customer Transfer

 Confidential Customer Coin Transferee #5761    [Address on File]     5/16/2023 Bitcoin                                0.00430941 Customer Transfer
 Confidential Customer Coin Transferee #5762    [Address on File]     6/19/2023 Bitcoin                                0.00046576 Customer Transfer
 Confidential Customer Coin Transferee #5763    [Address on File]     6/20/2023 Bitcoin                                0.00110819 Customer Transfer
 Confidential Customer Coin Transferee #5764    [Address on File]     6/14/2023 Bitcoin                                   0.119617 Customer Transfer
 Confidential Customer Coin Transferee #5764    [Address on File]     6/16/2023 Bitcoin                                   0.116866 Customer Transfer
 Confidential Customer Coin Transferee #5764    [Address on File]     6/10/2023 Bitcoin                                   0.116419 Customer Transfer
 Confidential Customer Coin Transferee #5764    [Address on File]     6/12/2023 Bitcoin                                   0.115574 Customer Transfer
 Confidential Customer Coin Transferee #5764    [Address on File]     6/13/2023 Bitcoin                                    0.11541 Customer Transfer
 Confidential Customer Coin Transferee #5764    [Address on File]     6/11/2023 Bitcoin                                   0.114497 Customer Transfer
 Confidential Customer Coin Transferee #5764    [Address on File]      6/9/2023 Bitcoin                                   0.112946 Customer Transfer
 Confidential Customer Coin Transferee #5764    [Address on File]      6/7/2023 Bitcoin                                   0.112638 Customer Transfer
 Confidential Customer Coin Transferee #5764    [Address on File]      6/8/2023 Bitcoin                                   0.112426 Customer Transfer
 Confidential Customer Coin Transferee #5764    [Address on File]      6/6/2023 Bitcoin                                   0.111636 Customer Transfer
 Confidential Customer Coin Transferee #5765    [Address on File]     6/20/2023 Bitcoin                                 0.0005792 Customer Transfer
 Confidential Customer Coin Transferee #5766    [Address on File]     6/12/2023 Bitcoin                                0.01089972 Customer Transfer
 Confidential Customer Coin Transferee #5767    [Address on File]     5/18/2023 Bitcoin                                0.00241528 Customer Transfer
 Confidential Customer Coin Transferee #5768    [Address on File]     6/20/2023 Bitcoin                                0.01921232 Customer Transfer
 Confidential Customer Coin Transferee #5769    [Address on File]      6/9/2023 Audius                                    2077502 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5770    [Address on File]     6/20/2023 Bitcoin                             0.00865901 Customer Transfer
 Confidential Customer Coin Transferee #5771    [Address on File]     5/18/2023 Bitcoin                              0.0018368 Customer Transfer
 Confidential Customer Coin Transferee #5772    [Address on File]     5/24/2023 Bitcoin                                   0.0225 Customer Transfer
 Confidential Customer Coin Transferee #5773    [Address on File]     5/29/2023 Bitcoin                             0.05164818 Customer Transfer
 Confidential Customer Coin Transferee #5774    [Address on File]     6/20/2023 Bitcoin                             0.07352258 Customer Transfer
 Confidential Customer Coin Transferee #5775    [Address on File]     6/19/2023 Bitcoin                             0.00057901 Customer Transfer
 Confidential Customer Coin Transferee #5776    [Address on File]      6/3/2023 Bitcoin                             0.03295594 Customer Transfer
 Confidential Customer Coin Transferee #5777    [Address on File]     6/20/2023 Bitcoin                              0.0121772 Customer Transfer
 Confidential Customer Coin Transferee #5778    [Address on File]     6/20/2023 Bitcoin                              0.0037026 Customer Transfer
 Confidential Customer Coin Transferee #5779    [Address on File]     5/27/2023 Bitcoin                              0.0013051 Customer Transfer
 Confidential Customer Coin Transferee #5779    [Address on File]     5/28/2023 Bitcoin                             0.00128362 Customer Transfer
 Confidential Customer Coin Transferee #5779    [Address on File]     5/31/2023 Bitcoin                             0.00128256 Customer Transfer
 Confidential Customer Coin Transferee #5779    [Address on File]     5/31/2023 Bitcoin                             0.00125501 Customer Transfer
 Confidential Customer Coin Transferee #5779    [Address on File]     5/26/2023 Bitcoin                             0.00112168 Customer Transfer
 Confidential Customer Coin Transferee #5779    [Address on File]     5/28/2023 Bitcoin                             0.00109924 Customer Transfer
 Confidential Customer Coin Transferee #5779    [Address on File]     5/25/2023 Bitcoin                             0.00102108 Customer Transfer
 Confidential Customer Coin Transferee #5780    [Address on File]     5/21/2023 Bitcoin                              0.0107901 Customer Transfer
 Confidential Customer Coin Transferee #5781    [Address on File]     6/12/2023 USDC Solana)                                  50 Customer Transfer
 Confidential Customer Coin Transferee #5782    [Address on File]     6/19/2023 Bitcoin                             0.00093502 Customer Transfer
 Confidential Customer Coin Transferee #5783    [Address on File]     5/22/2023 Bitcoin                             0.02255993 Customer Transfer
 Confidential Customer Coin Transferee #5784    [Address on File]     5/17/2023 Bitcoin                             0.00310003 Customer Transfer
 Confidential Customer Coin Transferee #5785    [Address on File]     5/26/2023 Bitcoin                             0.03791588 Customer Transfer
 Confidential Customer Coin Transferee #5785    [Address on File]     5/17/2023 Bitcoin                                0.004678 Customer Transfer
 Confidential Customer Coin Transferee #5786    [Address on File]     5/27/2023 Bitcoin                             0.01876085 Customer Transfer
 Confidential Customer Coin Transferee #5787    [Address on File]     5/21/2023 Bitcoin                             0.02945345 Customer Transfer
 Confidential Customer Coin Transferee #5788    [Address on File]     6/20/2023 Bitcoin                             0.00044411 Customer Transfer
 Confidential Customer Coin Transferee #5789    [Address on File]     6/19/2023 Bitcoin                             0.00005809 Customer Transfer
 Confidential Customer Coin Transferee #5790    [Address on File]     5/18/2023 Bitcoin                              0.0113886 Customer Transfer
 Confidential Customer Coin Transferee #5791    [Address on File]     6/21/2023 USD Coin                            477.942788 Customer Transfer
 Confidential Customer Coin Transferee #5792    [Address on File]     6/16/2023 Bitcoin                             0.10021056 Customer Transfer
 Confidential Customer Coin Transferee #5792    [Address on File]      6/9/2023 Bitcoin                             0.04658471 Customer Transfer
 Confidential Customer Coin Transferee #5792    [Address on File]      6/7/2023 Bitcoin                             0.03201289 Customer Transfer

 Confidential Customer Coin Transferee #5793    [Address on File]     6/19/2023 Bitcoin                                0.00121979 Customer Transfer
 Confidential Customer Coin Transferee #5794    [Address on File]     6/13/2023 Bitcoin                                0.00623287 Customer Transfer
 Confidential Customer Coin Transferee #5795    [Address on File]     5/31/2023 Bitcoin                                0.01279624 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5795    [Address on File]      6/1/2023 Bitcoin                             0.00739994 Customer Transfer
 Confidential Customer Coin Transferee #5796    [Address on File]     5/16/2023 Bitcoin                             0.02236196 Customer Transfer
 Confidential Customer Coin Transferee #5797    [Address on File]     6/20/2023 Bitcoin                             0.00025195 Customer Transfer
 Confidential Customer Coin Transferee #5798    [Address on File]     6/20/2023 Bitcoin                             0.12444549 Customer Transfer
 Confidential Customer Coin Transferee #5799    [Address on File]     5/23/2023 Bitcoin                             0.00071784 Customer Transfer
 Confidential Customer Coin Transferee #5800    [Address on File]     5/26/2023 Bitcoin                             0.01718222 Customer Transfer
 Confidential Customer Coin Transferee #5801    [Address on File]     5/18/2023 Bitcoin                             0.01076673 Customer Transfer
 Confidential Customer Coin Transferee #5801    [Address on File]     5/25/2023 Bitcoin                              0.0072442 Customer Transfer
 Confidential Customer Coin Transferee #5802    [Address on File]     5/19/2023 Bitcoin                             0.02945646 Customer Transfer
 Confidential Customer Coin Transferee #5803    [Address on File]     5/19/2023 Bitcoin                             0.00361304 Customer Transfer
 Confidential Customer Coin Transferee #5804    [Address on File]     5/17/2023 Bitcoin                             0.01413429 Customer Transfer

 Confidential Customer Coin Transferee #5805    [Address on File]     5/16/2023 Ether                                  0.12432935 Customer Transfer
 Confidential Customer Coin Transferee #5806    [Address on File]     5/29/2023 Bitcoin                                0.00657446 Customer Transfer
 Confidential Customer Coin Transferee #5807    [Address on File]     5/19/2023 Bitcoin                                0.00018536 Customer Transfer
 Confidential Customer Coin Transferee #5808    [Address on File]     6/19/2023 Bitcoin                                0.00057992 Customer Transfer
 Confidential Customer Coin Transferee #5809    [Address on File]     5/26/2023 Bitcoin                                0.08278687 Customer Transfer
 Confidential Customer Coin Transferee #5809    [Address on File]     5/19/2023 Bitcoin                                0.05271903 Customer Transfer
 Confidential Customer Coin Transferee #5810    [Address on File]     5/23/2023 Bitcoin                                0.02626899 Customer Transfer
 Confidential Customer Coin Transferee #5811    [Address on File]     5/23/2023 Bitcoin                                0.02851533 Customer Transfer
 Confidential Customer Coin Transferee #5812    [Address on File]     5/28/2023 Bitcoin                                0.00018664 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/18/2023 Bitcoin                                0.00090864 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/22/2023 Bitcoin                                0.00074473 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/27/2023 Bitcoin                                 0.0007441 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/26/2023 Bitcoin                                0.00074228 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/22/2023 Bitcoin                                0.00074148 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/20/2023 Bitcoin                                0.00074011 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/19/2023 Bitcoin                                0.00073934 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/16/2023 Bitcoin                                0.00073238 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/21/2023 Bitcoin                                0.00073188 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/23/2023 Bitcoin                                 0.0007273 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/19/2023 Bitcoin                                0.00059249 Customer Transfer
 Confidential Customer Coin Transferee #5813    [Address on File]     5/28/2023 Bitcoin                                0.00055211 Customer Transfer
 Confidential Customer Coin Transferee #5814    [Address on File]     5/28/2023 Bitcoin                                 0.0032945 Customer Transfer
 Confidential Customer Coin Transferee #5814    [Address on File]     5/29/2023 Bitcoin                                0.00178378 Customer Transfer
 Confidential Customer Coin Transferee #5814    [Address on File]     5/16/2023 Bitcoin                                0.00136276 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5814    [Address on File]     5/29/2023 Bitcoin                             0.00035811 Customer Transfer
 Confidential Customer Coin Transferee #5814    [Address on File]     5/17/2023 Bitcoin                             0.00002906 Customer Transfer
 Confidential Customer Coin Transferee #5815    [Address on File]     5/20/2023 Bitcoin                             0.01058053 Customer Transfer
 Confidential Customer Coin Transferee #5816    [Address on File]     5/22/2023 Bitcoin                             0.00090331 Customer Transfer
 Confidential Customer Coin Transferee #5817    [Address on File]     5/23/2023 Bitcoin                             0.30914203 Customer Transfer
 Confidential Customer Coin Transferee #5818    [Address on File]     6/20/2023 Bitcoin                             0.00057976 Customer Transfer
 Confidential Customer Coin Transferee #5819    [Address on File]     6/21/2023 USD Coin                            995.714143 Customer Transfer
 Confidential Customer Coin Transferee #5819    [Address on File]     6/21/2023 USD Coin                            896.142728 Customer Transfer
 Confidential Customer Coin Transferee #5819    [Address on File]     6/21/2023 USD Coin                            497.857071 Customer Transfer
 Confidential Customer Coin Transferee #5820    [Address on File]     6/19/2023 Bitcoin                             0.00036547 Customer Transfer
 Confidential Customer Coin Transferee #5821    [Address on File]     5/26/2023 Bitcoin                             0.00911986 Customer Transfer

 Confidential Customer Coin Transferee #5822    [Address on File]     5/18/2023 Ether                                  0.01581619 Customer Transfer
 Confidential Customer Coin Transferee #5823    [Address on File]     5/16/2023 Bitcoin                                0.01836405 Customer Transfer
 Confidential Customer Coin Transferee #5823    [Address on File]     5/16/2023 Bitcoin                                0.01835614 Customer Transfer
 Confidential Customer Coin Transferee #5823    [Address on File]     5/16/2023 Bitcoin                                      0.005 Customer Transfer
 Confidential Customer Coin Transferee #5823    [Address on File]     5/27/2023 Bitcoin                                 0.0019531 Customer Transfer
 Confidential Customer Coin Transferee #5824    [Address on File]     5/22/2023 Bitcoin                                0.00906173 Customer Transfer
 Confidential Customer Coin Transferee #5825    [Address on File]     5/25/2023 Bitcoin                                0.00056458 Customer Transfer
 Confidential Customer Coin Transferee #5825    [Address on File]     5/27/2023 Bitcoin                                0.00055835 Customer Transfer
 Confidential Customer Coin Transferee #5825    [Address on File]     5/26/2023 Bitcoin                                0.00052051 Customer Transfer
 Confidential Customer Coin Transferee #5825    [Address on File]     5/19/2023 Bitcoin                                 0.0003703 Customer Transfer
 Confidential Customer Coin Transferee #5825    [Address on File]     5/19/2023 Bitcoin                                0.00036927 Customer Transfer
 Confidential Customer Coin Transferee #5825    [Address on File]     5/21/2023 Bitcoin                                0.00036603 Customer Transfer
 Confidential Customer Coin Transferee #5825    [Address on File]     5/21/2023 Bitcoin                                0.00036598 Customer Transfer
 Confidential Customer Coin Transferee #5825    [Address on File]     5/21/2023 Bitcoin                                0.00036588 Customer Transfer
 Confidential Customer Coin Transferee #5825    [Address on File]     5/21/2023 Bitcoin                                0.00036583 Customer Transfer
 Confidential Customer Coin Transferee #5825    [Address on File]     5/19/2023 Bitcoin                                0.00018485 Customer Transfer
 Confidential Customer Coin Transferee #5825    [Address on File]     5/20/2023 Bitcoin                                0.00018478 Customer Transfer
 Confidential Customer Coin Transferee #5826    [Address on File]      6/8/2023 Bitcoin                                 0.0070528 Customer Transfer
 Confidential Customer Coin Transferee #5827    [Address on File]      6/8/2023 Bitcoin                                0.01842116 Customer Transfer
 Confidential Customer Coin Transferee #5827    [Address on File]     5/19/2023 Bitcoin                                0.01396265 Customer Transfer
 Confidential Customer Coin Transferee #5828    [Address on File]     6/20/2023 Bitcoin                                 0.0001164 Customer Transfer
 Confidential Customer Coin Transferee #5829    [Address on File]     5/20/2023 Bitcoin                                0.02566842 Customer Transfer
 Confidential Customer Coin Transferee #5830    [Address on File]     6/19/2023 Bitcoin                                0.00004267 Customer Transfer
 Confidential Customer Coin Transferee #5831    [Address on File]     5/19/2023 Bitcoin                                0.01860501 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5832    [Address on File]     6/19/2023 Bitcoin                             0.00288599 Customer Transfer
 Confidential Customer Coin Transferee #5833    [Address on File]     6/20/2023 USDC Avalanche)                    1055.098176 Customer Transfer
 Confidential Customer Coin Transferee #5833    [Address on File]     6/21/2023 USDC Avalanche)                     758.909706 Customer Transfer
 Confidential Customer Coin Transferee #5833    [Address on File]     6/21/2023 USDC Avalanche)                      632.29696 Customer Transfer
 Confidential Customer Coin Transferee #5833    [Address on File]     6/20/2023 USDC Avalanche)                     369.032193 Customer Transfer
 Confidential Customer Coin Transferee #5833    [Address on File]      6/9/2023 USDC Avalanche)                     208.055972 Customer Transfer
 Confidential Customer Coin Transferee #5834    [Address on File]     5/25/2023 Bitcoin                             0.00091016 Customer Transfer
 Confidential Customer Coin Transferee #5834    [Address on File]     5/16/2023 Bitcoin                             0.00089516 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/22/2023 Bitcoin                             0.05908374 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/29/2023 Bitcoin                                    0.054 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/29/2023 Bitcoin                             0.05300752 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/21/2023 Bitcoin                             0.03143513 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/28/2023 Bitcoin                              0.0311066 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/21/2023 Bitcoin                             0.02927125 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/28/2023 Bitcoin                             0.02874683 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/28/2023 Bitcoin                             0.02200837 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/28/2023 Bitcoin                             0.02018908 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/21/2023 Bitcoin                             0.02012153 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/29/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/21/2023 Bitcoin                             0.01845356 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/20/2023 Bitcoin                             0.01832518 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/29/2023 Bitcoin                             0.01782414 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/20/2023 Bitcoin                                    0.015 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/20/2023 Bitcoin                                    0.014 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/22/2023 Bitcoin                                  0.0075 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/22/2023 Bitcoin                             0.00710871 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/29/2023 Bitcoin                             0.00668612 Customer Transfer
 Confidential Customer Coin Transferee #5835    [Address on File]     5/29/2023 Bitcoin                             0.00385108 Customer Transfer
 Confidential Customer Coin Transferee #5836    [Address on File]     5/23/2023 Bitcoin                             0.01587903 Customer Transfer
 Confidential Customer Coin Transferee #5837    [Address on File]     6/20/2023 Bitcoin                             0.00015146 Customer Transfer
 Confidential Customer Coin Transferee #5838    [Address on File]     5/31/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #5839    [Address on File]     5/28/2023 Bitcoin                             0.00702079 Customer Transfer
 Confidential Customer Coin Transferee #5840    [Address on File]     5/17/2023 Bitcoin                             0.00033425 Customer Transfer
 Confidential Customer Coin Transferee #5840    [Address on File]     5/18/2023 Bitcoin                             0.00006583 Customer Transfer
 Confidential Customer Coin Transferee #5841    [Address on File]     5/25/2023 Bitcoin                                  0.0075 Customer Transfer
 Confidential Customer Coin Transferee #5841    [Address on File]     5/31/2023 Bitcoin                                    0.005 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5841    [Address on File]     5/17/2023 Bitcoin                             0.00439435 Customer Transfer
 Confidential Customer Coin Transferee #5842    [Address on File]     5/26/2023 Bitcoin                             0.01099973 Customer Transfer
 Confidential Customer Coin Transferee #5843    [Address on File]     5/19/2023 Bitcoin                             0.02167593 Customer Transfer
 Confidential Customer Coin Transferee #5844    [Address on File]     6/20/2023 Bitcoin                             0.00075217 Customer Transfer
 Confidential Customer Coin Transferee #5845    [Address on File]     6/19/2023 Bitcoin                             0.00131981 Customer Transfer
 Confidential Customer Coin Transferee #5846    [Address on File]      6/1/2023 Bitcoin                              0.0516685 Customer Transfer
 Confidential Customer Coin Transferee #5847    [Address on File]      6/7/2023 Bitcoin                             0.00343415 Customer Transfer
 Confidential Customer Coin Transferee #5847    [Address on File]     6/15/2023 Bitcoin                             0.00269352 Customer Transfer
 Confidential Customer Coin Transferee #5847    [Address on File]     6/19/2023 Bitcoin                             0.00022319 Customer Transfer
 Confidential Customer Coin Transferee #5848    [Address on File]     5/29/2023 Bitcoin                             0.00093234 Customer Transfer
 Confidential Customer Coin Transferee #5849    [Address on File]     5/25/2023 Bitcoin                             0.00494444 Customer Transfer
 Confidential Customer Coin Transferee #5849    [Address on File]     5/16/2023 Bitcoin                             0.00122457 Customer Transfer
 Confidential Customer Coin Transferee #5850    [Address on File]     5/24/2023 Bitcoin                             0.00607208 Customer Transfer
 Confidential Customer Coin Transferee #5850    [Address on File]     5/17/2023 Bitcoin                              0.0058852 Customer Transfer
 Confidential Customer Coin Transferee #5851    [Address on File]     5/26/2023 Bitcoin                             0.00216317 Customer Transfer
 Confidential Customer Coin Transferee #5851    [Address on File]     5/19/2023 Bitcoin                             0.00209888 Customer Transfer

 Confidential Customer Coin Transferee #5852    [Address on File]     6/19/2023 Bitcoin                                0.00075843 Customer Transfer
 Confidential Customer Coin Transferee #5853    [Address on File]     5/23/2023 Bitcoin                                0.02451529 Customer Transfer

 Confidential Customer Coin Transferee #5854    [Address on File]     5/24/2023 Bitcoin                                0.01293592 Customer Transfer
 Confidential Customer Coin Transferee #5855    [Address on File]      6/1/2023 USDC Avalanche)                         502.23888 Customer Transfer
 Confidential Customer Coin Transferee #5855    [Address on File]     6/10/2023 USDC Avalanche)                        115.774225 Customer Transfer
 Confidential Customer Coin Transferee #5856    [Address on File]     5/30/2023 Tether USD                              1981.0295 Customer Transfer
 Confidential Customer Coin Transferee #5857    [Address on File]     5/25/2023 Bitcoin                                0.02140778 Customer Transfer
 Confidential Customer Coin Transferee #5858    [Address on File]     5/27/2023 Bitcoin                                0.00447308 Customer Transfer
 Confidential Customer Coin Transferee #5858    [Address on File]     5/20/2023 Bitcoin                                   0.004437 Customer Transfer
 Confidential Customer Coin Transferee #5858    [Address on File]     5/29/2023 Bitcoin                                0.00431212 Customer Transfer
 Confidential Customer Coin Transferee #5859    [Address on File]     5/31/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #5860    [Address on File]     5/30/2023 Bitcoin                                0.05681331 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     6/16/2023 Bitcoin                                0.01137176 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]      6/5/2023 Bitcoin                                0.01102768 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]      6/7/2023 Bitcoin                                0.00977732 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     5/22/2023 Bitcoin                                0.00918124 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     5/24/2023 Bitcoin                                0.00752603 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]      6/8/2023 Bitcoin                                0.00739883 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]      6/2/2023 Bitcoin                             0.00738827 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     6/15/2023 Bitcoin                             0.00593688 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     6/12/2023 Bitcoin                             0.00576977 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     5/18/2023 Bitcoin                             0.00555957 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     5/30/2023 Bitcoin                             0.00388429 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     5/26/2023 Bitcoin                              0.0037446 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     5/22/2023 Bitcoin                             0.00369318 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     5/31/2023 Bitcoin                             0.00364651 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     6/14/2023 Bitcoin                             0.00353086 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     6/12/2023 Bitcoin                             0.00297378 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     6/13/2023 Bitcoin                             0.00222427 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]     5/16/2023 Bitcoin                             0.00182869 Customer Transfer
 Confidential Customer Coin Transferee #5861    [Address on File]      6/9/2023 Bitcoin                              0.0016208 Customer Transfer
 Confidential Customer Coin Transferee #5862    [Address on File]     5/27/2023 Bitcoin                             0.04044602 Customer Transfer
 Confidential Customer Coin Transferee #5862    [Address on File]     5/16/2023 Bitcoin                             0.00243165 Customer Transfer
 Confidential Customer Coin Transferee #5863    [Address on File]     5/25/2023 Bitcoin                             0.00284431 Customer Transfer
 Confidential Customer Coin Transferee #5864    [Address on File]     6/19/2023 Bitcoin                             0.00012182 Customer Transfer
 Confidential Customer Coin Transferee #5865    [Address on File]     5/18/2023 Bitcoin                             0.00008866 Customer Transfer
 Confidential Customer Coin Transferee #5866    [Address on File]     5/21/2023 Ether                                  0.107872 Customer Transfer
 Confidential Customer Coin Transferee #5866    [Address on File]      6/3/2023 Ether                                  0.050808 Customer Transfer
 Confidential Customer Coin Transferee #5866    [Address on File]     5/31/2023 Bitcoin                                0.007089 Customer Transfer
 Confidential Customer Coin Transferee #5867    [Address on File]     6/12/2023 Tether USD                           32.323838 Customer Transfer
 Confidential Customer Coin Transferee #5867    [Address on File]     6/12/2023 Tether USD                           32.313843 Customer Transfer
 Confidential Customer Coin Transferee #5867    [Address on File]     6/12/2023 Tether USD                           32.273863 Customer Transfer
 Confidential Customer Coin Transferee #5868    [Address on File]     5/26/2023 Bitcoin                              0.0007435 Customer Transfer
 Confidential Customer Coin Transferee #5869    [Address on File]     6/19/2023 Bitcoin                             0.00114488 Customer Transfer
 Confidential Customer Coin Transferee #5870    [Address on File]     5/25/2023 Bitcoin                             0.00412166 Customer Transfer
 Confidential Customer Coin Transferee #5871    [Address on File]     5/21/2023 Bitcoin                             0.02843704 Customer Transfer
 Confidential Customer Coin Transferee #5871    [Address on File]     5/28/2023 Bitcoin                              0.0246602 Customer Transfer
 Confidential Customer Coin Transferee #5872    [Address on File]     5/24/2023 Bitcoin                             0.04719201 Customer Transfer
 Confidential Customer Coin Transferee #5872    [Address on File]     5/27/2023 Bitcoin                              0.0391113 Customer Transfer
 Confidential Customer Coin Transferee #5872    [Address on File]     5/27/2023 Bitcoin                             0.03448997 Customer Transfer
 Confidential Customer Coin Transferee #5872    [Address on File]     5/19/2023 Bitcoin                              0.0321668 Customer Transfer
 Confidential Customer Coin Transferee #5872    [Address on File]     5/25/2023 Bitcoin                             0.02111894 Customer Transfer
 Confidential Customer Coin Transferee #5872    [Address on File]     5/16/2023 Bitcoin                              0.0036745 Customer Transfer
 Confidential Customer Coin Transferee #5873    [Address on File]     5/26/2023 Bitcoin                             0.00800001 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5873    [Address on File]     5/26/2023 Bitcoin                             0.00220001 Customer Transfer
 Confidential Customer Coin Transferee #5873    [Address on File]     5/27/2023 Bitcoin                             0.00050001 Customer Transfer
 Confidential Customer Coin Transferee #5873    [Address on File]     5/16/2023 Bitcoin                             0.00040001 Customer Transfer
 Confidential Customer Coin Transferee #5874    [Address on File]     5/27/2023 USDC Avalanche)                     197.241655 Customer Transfer
 Confidential Customer Coin Transferee #5874    [Address on File]     5/27/2023 USDC Avalanche)                     197.241655 Customer Transfer

 Confidential Customer Coin Transferee #5875    [Address on File]     5/26/2023 Bitcoin                                0.00257768 Customer Transfer

 Confidential Customer Coin Transferee #5875    [Address on File]     5/19/2023 Bitcoin                                0.00243775 Customer Transfer
 Confidential Customer Coin Transferee #5876    [Address on File]     5/26/2023 Bitcoin                                0.00634376 Customer Transfer
 Confidential Customer Coin Transferee #5876    [Address on File]     5/19/2023 Bitcoin                                0.00393553 Customer Transfer
 Confidential Customer Coin Transferee #5877    [Address on File]     5/30/2023 Bitcoin                                0.02997582 Customer Transfer
 Confidential Customer Coin Transferee #5878    [Address on File]     5/25/2023 Bitcoin                                0.00182578 Customer Transfer
 Confidential Customer Coin Transferee #5879    [Address on File]     5/31/2023 Bitcoin                                0.01158111 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/20/2023 Bitcoin                                0.01479256 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/16/2023 Bitcoin                                0.01398695 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/17/2023 Bitcoin                                0.01330861 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/24/2023 Bitcoin                                0.01131207 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/26/2023 Bitcoin                                0.01113759 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/28/2023 Bitcoin                                0.01082349 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/29/2023 Bitcoin                                0.00854956 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/19/2023 Bitcoin                                0.00630034 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/25/2023 Bitcoin                                0.00379452 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/27/2023 Bitcoin                                0.00371763 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/30/2023 Bitcoin                                 0.0021544 Customer Transfer
 Confidential Customer Coin Transferee #5880    [Address on File]     5/27/2023 Bitcoin                                0.00186121 Customer Transfer
 Confidential Customer Coin Transferee #5881    [Address on File]     6/19/2023 Bitcoin                                0.00003381 Customer Transfer
 Confidential Customer Coin Transferee #5882    [Address on File]     5/23/2023 USDC Solana)                                    6 Customer Transfer
 Confidential Customer Coin Transferee #5883    [Address on File]     5/16/2023 Bitcoin                                0.00111558 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/26/2023 Bitcoin                                0.00120451 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/22/2023 Bitcoin                                0.00116397 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/26/2023 Bitcoin                                 0.0011303 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/29/2023 Bitcoin                                0.00111388 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/30/2023 Bitcoin                                0.00082534 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/26/2023 Bitcoin                                0.00078099 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/26/2023 Bitcoin                                0.00076939 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/24/2023 Bitcoin                             0.00076718 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/23/2023 Bitcoin                             0.00076162 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/30/2023 Bitcoin                             0.00072256 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/29/2023 Bitcoin                             0.00070829 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/26/2023 Bitcoin                             0.00039612 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/27/2023 Bitcoin                              0.0003909 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/28/2023 Bitcoin                             0.00038034 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/25/2023 Bitcoin                             0.00037986 Customer Transfer
 Confidential Customer Coin Transferee #5884    [Address on File]     5/23/2023 Bitcoin                             0.00031772 Customer Transfer
 Confidential Customer Coin Transferee #5885    [Address on File]     5/28/2023 Bitcoin                                   0.003 Customer Transfer
 Confidential Customer Coin Transferee #5886    [Address on File]     5/18/2023 Bitcoin                             0.00074762 Customer Transfer
 Confidential Customer Coin Transferee #5887    [Address on File]     5/25/2023 Bitcoin                             0.00113873 Customer Transfer
 Confidential Customer Coin Transferee #5887    [Address on File]     5/25/2023 Bitcoin                             0.00094247 Customer Transfer
 Confidential Customer Coin Transferee #5887    [Address on File]     5/18/2023 Bitcoin                             0.00090797 Customer Transfer
 Confidential Customer Coin Transferee #5887    [Address on File]     5/22/2023 Bitcoin                              0.0005558 Customer Transfer
 Confidential Customer Coin Transferee #5887    [Address on File]     5/26/2023 Bitcoin                             0.00037226 Customer Transfer
 Confidential Customer Coin Transferee #5887    [Address on File]     5/21/2023 Bitcoin                             0.00018469 Customer Transfer
 Confidential Customer Coin Transferee #5888    [Address on File]     5/21/2023 Bitcoin                             0.01111692 Customer Transfer
 Confidential Customer Coin Transferee #5888    [Address on File]     5/27/2023 Bitcoin                             0.00371105 Customer Transfer
 Confidential Customer Coin Transferee #5889    [Address on File]     6/20/2023 Bitcoin                             0.00057864 Customer Transfer
 Confidential Customer Coin Transferee #5890    [Address on File]     5/21/2023 Bitcoin                             0.02596146 Customer Transfer
 Confidential Customer Coin Transferee #5891    [Address on File]     6/19/2023 Bitcoin                             0.06844939 Customer Transfer
 Confidential Customer Coin Transferee #5892    [Address on File]     5/26/2023 Bitcoin                             0.03755674 Customer Transfer
 Confidential Customer Coin Transferee #5892    [Address on File]     5/26/2023 Bitcoin                             0.00365518 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/24/2023 Bitcoin                             0.00584482 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/24/2023 Bitcoin                             0.00521458 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/31/2023 Bitcoin                             0.00513308 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/31/2023 Bitcoin                             0.00503588 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/31/2023 Bitcoin                             0.00500867 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/19/2023 Bitcoin                             0.00443977 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/22/2023 Bitcoin                             0.00443942 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/25/2023 Bitcoin                             0.00380963 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/19/2023 Bitcoin                             0.00371033 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/31/2023 Bitcoin                             0.00365992 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/31/2023 Bitcoin                             0.00357703 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/31/2023 Bitcoin                                   0.003 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/31/2023 Bitcoin                             0.00204727 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/30/2023 Bitcoin                             0.00175262 Customer Transfer
 Confidential Customer Coin Transferee #5893    [Address on File]     5/26/2023 Bitcoin                             0.00096577 Customer Transfer
 Confidential Customer Coin Transferee #5894    [Address on File]     5/30/2023 Bitcoin                             0.10472643 Customer Transfer
 Confidential Customer Coin Transferee #5895    [Address on File]     6/19/2023 Bitcoin                             0.07219568 Customer Transfer
 Confidential Customer Coin Transferee #5896    [Address on File]     6/13/2023 Bitcoin                             0.00190598 Customer Transfer
 Confidential Customer Coin Transferee #5896    [Address on File]     5/18/2023 Bitcoin                             0.00180983 Customer Transfer
 Confidential Customer Coin Transferee #5897    [Address on File]     5/22/2023 Cosmos Hub ATOM)                      7.844398 Customer Transfer
 Confidential Customer Coin Transferee #5898    [Address on File]     6/20/2023 Bitcoin                             0.00003304 Customer Transfer
 Confidential Customer Coin Transferee #5899    [Address on File]     6/20/2023 Tether USD                           1592.9138 Customer Transfer
 Confidential Customer Coin Transferee #5899    [Address on File]      6/7/2023 Tether USD                             263.1953 Customer Transfer
 Confidential Customer Coin Transferee #5900    [Address on File]     5/31/2023 Tether USD                            933.4953 Customer Transfer
 Confidential Customer Coin Transferee #5900    [Address on File]      6/4/2023 Tether USD                             797.4431 Customer Transfer
 Confidential Customer Coin Transferee #5900    [Address on File]     6/15/2023 Tether USD                            652.1767 Customer Transfer
 Confidential Customer Coin Transferee #5901    [Address on File]     5/24/2023 Bitcoin                             0.02245293 Customer Transfer
 Confidential Customer Coin Transferee #5901    [Address on File]     5/28/2023 Bitcoin                              0.0223076 Customer Transfer
 Confidential Customer Coin Transferee #5902    [Address on File]     5/24/2023 Bitcoin                             0.01860138 Customer Transfer
 Confidential Customer Coin Transferee #5903    [Address on File]     5/27/2023 Bitcoin                             0.10470381 Customer Transfer
 Confidential Customer Coin Transferee #5904    [Address on File]     5/25/2023 Bitcoin                             0.02986617 Customer Transfer
 Confidential Customer Coin Transferee #5905    [Address on File]     5/24/2023 Bitcoin                             0.02045462 Customer Transfer
 Confidential Customer Coin Transferee #5906    [Address on File]     6/20/2023 Bitcoin                             0.00069655 Customer Transfer
 Confidential Customer Coin Transferee #5907    [Address on File]     5/17/2023 Bitcoin                             0.01059823 Customer Transfer
 Confidential Customer Coin Transferee #5908    [Address on File]     5/16/2023 Bitcoin                             0.01044629 Customer Transfer
 Confidential Customer Coin Transferee #5908    [Address on File]     5/25/2023 Bitcoin                             0.00147964 Customer Transfer

 Confidential Customer Coin Transferee #5909    [Address on File]     6/17/2023 Bitcoin                                0.00389278 Customer Transfer

 Confidential Customer Coin Transferee #5909    [Address on File]      6/5/2023 Bitcoin                                0.00348759 Customer Transfer
 Confidential Customer Coin Transferee #5910    [Address on File]     5/29/2023 Bitcoin                                     0.0036 Customer Transfer
 Confidential Customer Coin Transferee #5911    [Address on File]     6/19/2023 Bitcoin                                0.00133578 Customer Transfer
 Confidential Customer Coin Transferee #5912    [Address on File]     5/24/2023 Bitcoin                                0.00379325 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                                 0.0017801 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                                0.00177942 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                                0.00170822 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                                0.00167758 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                                0.00160603 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                             0.00160178 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                             0.00159278 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/18/2023 Bitcoin                             0.00145512 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                             0.00142613 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                             0.00140431 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/19/2023 Bitcoin                             0.00110972 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                             0.00108964 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                             0.00106518 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/28/2023 Bitcoin                             0.00106219 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                             0.00106179 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                             0.00100017 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/28/2023 Bitcoin                             0.00089956 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/28/2023 Bitcoin                             0.00086493 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                             0.00086257 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/19/2023 Bitcoin                             0.00074135 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/20/2023 Bitcoin                              0.0007403 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/19/2023 Bitcoin                             0.00073904 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/27/2023 Bitcoin                             0.00072663 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/29/2023 Bitcoin                             0.00072634 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/19/2023 Bitcoin                             0.00062568 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/22/2023 Bitcoin                             0.00055437 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/26/2023 Bitcoin                             0.00051905 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/27/2023 Bitcoin                             0.00040942 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/25/2023 Bitcoin                             0.00022673 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/26/2023 Bitcoin                             0.00011138 Customer Transfer
 Confidential Customer Coin Transferee #5913    [Address on File]     5/26/2023 Bitcoin                             0.00002784 Customer Transfer
 Confidential Customer Coin Transferee #5914    [Address on File]     5/26/2023 Bitcoin                             0.00757912 Customer Transfer
 Confidential Customer Coin Transferee #5914    [Address on File]     5/21/2023 Bitcoin                             0.00744259 Customer Transfer
 Confidential Customer Coin Transferee #5915    [Address on File]     5/22/2023 Bitcoin                             0.01040733 Customer Transfer
 Confidential Customer Coin Transferee #5916    [Address on File]     5/23/2023 Bitcoin                                  0.0063 Customer Transfer
 Confidential Customer Coin Transferee #5917    [Address on File]     5/17/2023 Bitcoin                             0.00251114 Customer Transfer
 Confidential Customer Coin Transferee #5917    [Address on File]     5/27/2023 Bitcoin                             0.00124101 Customer Transfer
 Confidential Customer Coin Transferee #5917    [Address on File]     5/31/2023 Bitcoin                             0.00054016 Customer Transfer
 Confidential Customer Coin Transferee #5917    [Address on File]     5/29/2023 Bitcoin                             0.00053483 Customer Transfer
 Confidential Customer Coin Transferee #5917    [Address on File]     5/16/2023 Bitcoin                             0.00036134 Customer Transfer
 Confidential Customer Coin Transferee #5918    [Address on File]     6/19/2023 Bitcoin                             0.00059474 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5919    [Address on File]     6/20/2023 Bitcoin                             0.00222007 Customer Transfer
 Confidential Customer Coin Transferee #5920    [Address on File]     5/22/2023 Bitcoin                             0.05036418 Customer Transfer
 Confidential Customer Coin Transferee #5921    [Address on File]     5/26/2023 Bitcoin                             0.00273945 Customer Transfer
 Confidential Customer Coin Transferee #5921    [Address on File]     5/19/2023 Bitcoin                             0.00264503 Customer Transfer
 Confidential Customer Coin Transferee #5922    [Address on File]     5/22/2023 Bitcoin                             0.00739517 Customer Transfer
 Confidential Customer Coin Transferee #5922    [Address on File]     5/22/2023 Bitcoin                              0.0066543 Customer Transfer
 Confidential Customer Coin Transferee #5922    [Address on File]     5/22/2023 Bitcoin                             0.00555283 Customer Transfer
 Confidential Customer Coin Transferee #5922    [Address on File]     5/22/2023 Bitcoin                             0.00314766 Customer Transfer
 Confidential Customer Coin Transferee #5922    [Address on File]     5/31/2023 Bitcoin                             0.00143715 Customer Transfer
 Confidential Customer Coin Transferee #5922    [Address on File]     5/31/2023 Bitcoin                             0.00107988 Customer Transfer
 Confidential Customer Coin Transferee #5922    [Address on File]     5/31/2023 Bitcoin                             0.00107644 Customer Transfer
 Confidential Customer Coin Transferee #5922    [Address on File]     5/31/2023 Bitcoin                             0.00104139 Customer Transfer
 Confidential Customer Coin Transferee #5923    [Address on File]     5/18/2023 Bitcoin                             0.07325654 Customer Transfer
 Confidential Customer Coin Transferee #5924    [Address on File]     5/18/2023 Bitcoin                             0.01225982 Customer Transfer
 Confidential Customer Coin Transferee #5925    [Address on File]     5/25/2023 Bitcoin                             0.00772563 Customer Transfer
 Confidential Customer Coin Transferee #5925    [Address on File]     5/17/2023 Bitcoin                             0.00440204 Customer Transfer
 Confidential Customer Coin Transferee #5926    [Address on File]     5/21/2023 Bitcoin                             0.01851244 Customer Transfer
 Confidential Customer Coin Transferee #5927    [Address on File]     5/18/2023 Ether                                  0.051383 Customer Transfer
 Confidential Customer Coin Transferee #5928    [Address on File]     5/21/2023 Bitcoin                             0.00707409 Customer Transfer
 Confidential Customer Coin Transferee #5929    [Address on File]      6/2/2023 Tether USD                             399.2077 Customer Transfer
 Confidential Customer Coin Transferee #5930    [Address on File]     5/30/2023 Bitcoin                             0.00890717 Customer Transfer
 Confidential Customer Coin Transferee #5931    [Address on File]     5/22/2023 Bitcoin                             0.03810415 Customer Transfer
 Confidential Customer Coin Transferee #5932    [Address on File]     5/22/2023 Bitcoin                             0.00092539 Customer Transfer
 Confidential Customer Coin Transferee #5932    [Address on File]     5/29/2023 Bitcoin                             0.00091108 Customer Transfer
 Confidential Customer Coin Transferee #5933    [Address on File]     5/29/2023 Bitcoin                             0.00401963 Customer Transfer
 Confidential Customer Coin Transferee #5934    [Address on File]     5/21/2023 Bitcoin                             0.00367055 Customer Transfer
 Confidential Customer Coin Transferee #5935    [Address on File]     5/25/2023 Bitcoin                             0.00226948 Customer Transfer
 Confidential Customer Coin Transferee #5935    [Address on File]     5/28/2023 Bitcoin                             0.00212182 Customer Transfer
 Confidential Customer Coin Transferee #5935    [Address on File]     5/20/2023 Bitcoin                             0.00185001 Customer Transfer
 Confidential Customer Coin Transferee #5935    [Address on File]     5/24/2023 Bitcoin                             0.00075741 Customer Transfer
 Confidential Customer Coin Transferee #5935    [Address on File]     5/22/2023 Bitcoin                             0.00037112 Customer Transfer
 Confidential Customer Coin Transferee #5935    [Address on File]     5/20/2023 Bitcoin                             0.00036732 Customer Transfer
 Confidential Customer Coin Transferee #5936    [Address on File]     5/29/2023 Bitcoin                             0.01037614 Customer Transfer
 Confidential Customer Coin Transferee #5937    [Address on File]     5/16/2023 Bitcoin                             0.00729296 Customer Transfer
 Confidential Customer Coin Transferee #5938    [Address on File]     5/24/2023 Bitcoin                             0.00569004 Customer Transfer
 Confidential Customer Coin Transferee #5938    [Address on File]     5/17/2023 Bitcoin                             0.00560078 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #5939    [Address on File]     5/18/2023 Bitcoin                              0.0302303 Customer Transfer
 Confidential Customer Coin Transferee #5939    [Address on File]     5/25/2023 Bitcoin                             0.02767251 Customer Transfer
 Confidential Customer Coin Transferee #5939    [Address on File]     5/27/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #5939    [Address on File]     5/19/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #5940    [Address on File]     5/26/2023 Bitcoin                             0.02789295 Customer Transfer
 Confidential Customer Coin Transferee #5940    [Address on File]     5/19/2023 Bitcoin                             0.01859346 Customer Transfer
 Confidential Customer Coin Transferee #5941    [Address on File]     5/22/2023 Bitcoin                              0.0038796 Customer Transfer
 Confidential Customer Coin Transferee #5941    [Address on File]     5/18/2023 Bitcoin                                0.003803 Customer Transfer
 Confidential Customer Coin Transferee #5942    [Address on File]     6/12/2023 Bitcoin                             0.00374117 Customer Transfer
 Confidential Customer Coin Transferee #5943    [Address on File]     5/18/2023 Bitcoin                              0.0092453 Customer Transfer
 Confidential Customer Coin Transferee #5943    [Address on File]     5/21/2023 Bitcoin                              0.0064743 Customer Transfer
 Confidential Customer Coin Transferee #5943    [Address on File]     5/19/2023 Bitcoin                             0.00089201 Customer Transfer
 Confidential Customer Coin Transferee #5944    [Address on File]     6/19/2023 Bitcoin                             0.00017736 Customer Transfer
 Confidential Customer Coin Transferee #5945    [Address on File]     6/13/2023 Bitcoin                             0.01140878 Customer Transfer
 Confidential Customer Coin Transferee #5945    [Address on File]     6/14/2023 Bitcoin                              0.0057003 Customer Transfer

 Confidential Customer Coin Transferee #5946    [Address on File]     5/22/2023 Bitcoin                                0.01219283 Customer Transfer
 Confidential Customer Coin Transferee #5947    [Address on File]     5/30/2023 Bitcoin                                0.02524131 Customer Transfer
 Confidential Customer Coin Transferee #5948    [Address on File]     6/20/2023 Bitcoin                                 0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #5949    [Address on File]     5/16/2023 Bitcoin                                0.00169591 Customer Transfer
 Confidential Customer Coin Transferee #5949    [Address on File]     5/23/2023 Bitcoin                                0.00092993 Customer Transfer
 Confidential Customer Coin Transferee #5950    [Address on File]     5/23/2023 Bitcoin                                0.01313459 Customer Transfer
 Confidential Customer Coin Transferee #5951    [Address on File]     6/19/2023 Bitcoin                                0.04910304 Customer Transfer
 Confidential Customer Coin Transferee #5952    [Address on File]     5/22/2023 Bitcoin                                0.00037925 Customer Transfer
 Confidential Customer Coin Transferee #5952    [Address on File]     5/29/2023 Bitcoin                                   0.000372 Customer Transfer
 Confidential Customer Coin Transferee #5953    [Address on File]     6/19/2023 Bitcoin                                0.00525779 Customer Transfer
 Confidential Customer Coin Transferee #5954    [Address on File]     6/20/2023 Bitcoin                                0.00210381 Customer Transfer
 Confidential Customer Coin Transferee #5955    [Address on File]     6/17/2023 Bitcoin                                0.00184241 Customer Transfer
 Confidential Customer Coin Transferee #5956    [Address on File]     5/22/2023 Bitcoin                                 0.0043148 Customer Transfer
 Confidential Customer Coin Transferee #5957    [Address on File]     6/20/2023 Bitcoin                                0.00036549 Customer Transfer
 Confidential Customer Coin Transferee #5958    [Address on File]     6/19/2023 Bitcoin                                0.00035152 Customer Transfer
 Confidential Customer Coin Transferee #5959    [Address on File]      6/5/2023 Bitcoin                                0.00460981 Customer Transfer
 Confidential Customer Coin Transferee #5960    [Address on File]     6/20/2023 Bitcoin                                0.00116021 Customer Transfer
 Confidential Customer Coin Transferee #5961    [Address on File]     6/19/2023 Bitcoin                                0.01673385 Customer Transfer
 Confidential Customer Coin Transferee #5962    [Address on File]     5/19/2023 Bitcoin                                0.01496252 Customer Transfer
 Confidential Customer Coin Transferee #5963    [Address on File]     6/19/2023 Bitcoin                                 0.0000479 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5964    [Address on File]     5/29/2023 Bitcoin                                       1 Customer Transfer
 Confidential Customer Coin Transferee #5964    [Address on File]     5/29/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #5965    [Address on File]     5/19/2023 Bitcoin                             0.00518661 Customer Transfer
 Confidential Customer Coin Transferee #5965    [Address on File]     5/22/2023 Bitcoin                             0.00127461 Customer Transfer
 Confidential Customer Coin Transferee #5965    [Address on File]     5/19/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #5966    [Address on File]     6/17/2023 Bitcoin                              0.0096755 Customer Transfer
 Confidential Customer Coin Transferee #5966    [Address on File]     5/22/2023 Bitcoin                             0.00736265 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/27/2023 Bitcoin                             0.00797313 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/31/2023 Bitcoin                              0.0053902 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/30/2023 Bitcoin                             0.00455191 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/25/2023 Bitcoin                             0.00409753 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/27/2023 Bitcoin                             0.00364456 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/30/2023 Bitcoin                             0.00359337 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/20/2023 Bitcoin                             0.00329916 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/26/2023 Bitcoin                             0.00328077 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/31/2023 Bitcoin                             0.00270905 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/29/2023 Bitcoin                             0.00235224 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/22/2023 Bitcoin                              0.0018132 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/31/2023 Bitcoin                             0.00180174 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/16/2023 Bitcoin                             0.00154948 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/21/2023 Bitcoin                             0.00143749 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/24/2023 Bitcoin                             0.00108202 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/25/2023 Bitcoin                             0.00090504 Customer Transfer
 Confidential Customer Coin Transferee #5967    [Address on File]     5/27/2023 Bitcoin                             0.00078113 Customer Transfer
 Confidential Customer Coin Transferee #5968    [Address on File]      6/8/2023 Bitcoin                             0.01702266 Customer Transfer

 Confidential Customer Coin Transferee #5969    [Address on File]      6/7/2023 Tether USD                                   2478 Customer Transfer


 Confidential Customer Coin Transferee #5970    [Address on File]      6/8/2023 Tether USD                                 5955.47 Customer Transfer
 Confidential Customer Coin Transferee #5971    [Address on File]     5/16/2023 Bitcoin                                0.00924326 Customer Transfer
 Confidential Customer Coin Transferee #5971    [Address on File]     5/17/2023 Bitcoin                                   0.005299 Customer Transfer
 Confidential Customer Coin Transferee #5971    [Address on File]     5/18/2023 Bitcoin                                0.00213221 Customer Transfer
 Confidential Customer Coin Transferee #5972    [Address on File]      6/2/2023 Tether USD                                     938 Customer Transfer
 Confidential Customer Coin Transferee #5973    [Address on File]      6/7/2023 Tether USD                                    777.5 Customer Transfer
 Confidential Customer Coin Transferee #5974    [Address on File]     5/19/2023 Bitcoin                                0.02561809 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #5974    [Address on File]     5/26/2023 Bitcoin                             0.01652488 Customer Transfer
 Confidential Customer Coin Transferee #5975    [Address on File]     5/27/2023 Ether                               0.02971672 Customer Transfer
 Confidential Customer Coin Transferee #5976    [Address on File]     6/15/2023 Tether USD                           1388.8424 Customer Transfer
 Confidential Customer Coin Transferee #5977    [Address on File]     5/21/2023 Bitcoin                              0.0028975 Customer Transfer
 Confidential Customer Coin Transferee #5978    [Address on File]     6/19/2023 Bitcoin                             0.00031095 Customer Transfer

 Confidential Customer Coin Transferee #5979    [Address on File]     6/12/2023 Bitcoin                                0.00371479 Customer Transfer

 Confidential Customer Coin Transferee #5979    [Address on File]     5/29/2023 Bitcoin                                0.00189275 Customer Transfer

 Confidential Customer Coin Transferee #5979    [Address on File]     5/22/2023 Bitcoin                                0.00110641 Customer Transfer

 Confidential Customer Coin Transferee #5979    [Address on File]     6/15/2023 Bitcoin                                 0.0000385 Customer Transfer

 Confidential Customer Coin Transferee #5979    [Address on File]      6/1/2023 Bitcoin                                 0.0000371 Customer Transfer
 Confidential Customer Coin Transferee #5980    [Address on File]     5/18/2023 Bitcoin                                0.01874128 Customer Transfer
 Confidential Customer Coin Transferee #5980    [Address on File]     5/16/2023 Bitcoin                                0.01839981 Customer Transfer
 Confidential Customer Coin Transferee #5981    [Address on File]     6/19/2023 Bitcoin                                0.00006609 Customer Transfer
 Confidential Customer Coin Transferee #5982    [Address on File]     5/22/2023 Bitcoin                                0.00014169 Customer Transfer
 Confidential Customer Coin Transferee #5983    [Address on File]     5/24/2023 Bitcoin                                0.01858675 Customer Transfer
 Confidential Customer Coin Transferee #5983    [Address on File]     5/22/2023 Bitcoin                                0.01848394 Customer Transfer
 Confidential Customer Coin Transferee #5983    [Address on File]     5/27/2023 Bitcoin                                0.01844737 Customer Transfer
 Confidential Customer Coin Transferee #5983    [Address on File]     5/19/2023 Bitcoin                                 0.0180774 Customer Transfer
 Confidential Customer Coin Transferee #5984    [Address on File]      6/9/2023 Bitcoin                                1.02855987 Customer Transfer

 Confidential Customer Coin Transferee #5985    [Address on File]     6/19/2023 Bitcoin                                0.03752205 Customer Transfer
 Confidential Customer Coin Transferee #5986    [Address on File]     5/22/2023 Bitcoin                                0.00221142 Customer Transfer
 Confidential Customer Coin Transferee #5987    [Address on File]     5/26/2023 Bitcoin                                0.00185986 Customer Transfer
 Confidential Customer Coin Transferee #5988    [Address on File]     6/20/2023 Bitcoin                                0.00040159 Customer Transfer
 Confidential Customer Coin Transferee #5989    [Address on File]     5/20/2023 Bitcoin                                0.05092991 Customer Transfer
 Confidential Customer Coin Transferee #5989    [Address on File]     5/21/2023 Bitcoin                                 0.0189396 Customer Transfer
 Confidential Customer Coin Transferee #5989    [Address on File]     5/19/2023 Bitcoin                                0.00252062 Customer Transfer
 Confidential Customer Coin Transferee #5989    [Address on File]     5/16/2023 Bitcoin                                0.00184476 Customer Transfer
 Confidential Customer Coin Transferee #5990    [Address on File]     5/25/2023 Bitcoin                                0.07987207 Customer Transfer
 Confidential Customer Coin Transferee #5991    [Address on File]     6/19/2023 Bitcoin                                0.00035593 Customer Transfer
 Confidential Customer Coin Transferee #5992    [Address on File]     6/19/2023 Bitcoin                                0.00197991 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date           Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #5993    [Address on File]     6/20/2023 Tether USD                          9437.4258 Customer Transfer
 Confidential Customer Coin Transferee #5993    [Address on File]     6/20/2023 Tether USD                                8495 Customer Transfer
 Confidential Customer Coin Transferee #5993    [Address on File]     6/15/2023 Tether USD                                6095 Customer Transfer
 Confidential Customer Coin Transferee #5993    [Address on File]     6/15/2023 Tether USD                          5925.7202 Customer Transfer
 Confidential Customer Coin Transferee #5993    [Address on File]      6/8/2023 Tether USD                          4918.1761 Customer Transfer
 Confidential Customer Coin Transferee #5994    [Address on File]      6/8/2023 Tether USD                          9679.7652 Customer Transfer
 Confidential Customer Coin Transferee #5994    [Address on File]      6/5/2023 Tether USD                                   5 Customer Transfer
 Confidential Customer Coin Transferee #5995    [Address on File]     6/13/2023 Tether USD                          9116.1718 Customer Transfer
 Confidential Customer Coin Transferee #5995    [Address on File]      6/5/2023 Tether USD                            6903.715 Customer Transfer

 Confidential Customer Coin Transferee #5996    [Address on File]     6/15/2023 Tether USD                                  29384 Customer Transfer

 Confidential Customer Coin Transferee #5996    [Address on File]      6/6/2023 Tether USD                                  19995 Customer Transfer

 Confidential Customer Coin Transferee #5996    [Address on File]     5/31/2023 Tether USD                                  19992 Customer Transfer

 Confidential Customer Coin Transferee #5996    [Address on File]      6/6/2023 USD Coin                                   19973 Customer Transfer

 Confidential Customer Coin Transferee #5996    [Address on File]     5/25/2023 USD Coin                                   19968 Customer Transfer

 Confidential Customer Coin Transferee #5996    [Address on File]     6/20/2023 USD Coin                                   16480 Customer Transfer

 Confidential Customer Coin Transferee #5996    [Address on File]     5/26/2023 Tether USD                                  11973 Customer Transfer


 Confidential Customer Coin Transferee #5997    [Address on File]      6/1/2023 Tether USD                                  19992 Customer Transfer


 Confidential Customer Coin Transferee #5997    [Address on File]      6/9/2023 USD Coin                                   19971 Customer Transfer


 Confidential Customer Coin Transferee #5997    [Address on File]     6/14/2023 USD Coin                                   18581 Customer Transfer


 Confidential Customer Coin Transferee #5997    [Address on File]     5/30/2023 USD Coin                                    11571 Customer Transfer
 Confidential Customer Coin Transferee #5998    [Address on File]     5/25/2023 Bitcoin                                0.05173455 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #5999    [Address on File]     5/18/2023 Bitcoin                             0.05167982 Customer Transfer
 Confidential Customer Coin Transferee #6000    [Address on File]     5/22/2023 Bitcoin                             0.00326468 Customer Transfer
 Confidential Customer Coin Transferee #6001    [Address on File]     6/19/2023 Bitcoin                             0.01414807 Customer Transfer
 Confidential Customer Coin Transferee #6002    [Address on File]      6/8/2023 Recover Value USD                      138.5621 Customer Transfer
 Confidential Customer Coin Transferee #6002    [Address on File]      6/8/2023 USD Coin                            46.7884388 Customer Transfer
 Confidential Customer Coin Transferee #6002    [Address on File]      6/8/2023 Bitcoin                              0.0004039 Customer Transfer
 Confidential Customer Coin Transferee #6003    [Address on File]     5/29/2023 Bitcoin                             0.00373789 Customer Transfer
 Confidential Customer Coin Transferee #6003    [Address on File]     5/30/2023 Bitcoin                              0.0002152 Customer Transfer
 Confidential Customer Coin Transferee #6004    [Address on File]     5/23/2023 Bitcoin                             0.00713677 Customer Transfer
 Confidential Customer Coin Transferee #6004    [Address on File]     6/17/2023 Bitcoin                             0.00201809 Customer Transfer
 Confidential Customer Coin Transferee #6004    [Address on File]     5/26/2023 Bitcoin                             0.00026581 Customer Transfer
 Confidential Customer Coin Transferee #6005    [Address on File]     5/26/2023 Bitcoin                             0.02711891 Customer Transfer
 Confidential Customer Coin Transferee #6006    [Address on File]     5/22/2023 Bitcoin                             0.09420973 Customer Transfer
 Confidential Customer Coin Transferee #6007    [Address on File]     5/25/2023 Bitcoin                             0.00238447 Customer Transfer
 Confidential Customer Coin Transferee #6008    [Address on File]      6/1/2023 Bitcoin                             0.10503147 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/24/2023 Bitcoin                             0.00166236 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/19/2023 Bitcoin                             0.00153374 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/20/2023 Bitcoin                             0.00150631 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/19/2023 Bitcoin                             0.00149092 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/19/2023 Bitcoin                             0.00131645 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/20/2023 Bitcoin                             0.00123523 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/18/2023 Bitcoin                             0.00121193 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/19/2023 Bitcoin                             0.00120877 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/17/2023 Bitcoin                             0.00120145 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/19/2023 Bitcoin                             0.00118116 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/17/2023 Bitcoin                             0.00116256 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/19/2023 Bitcoin                             0.00114705 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/24/2023 Bitcoin                             0.00113131 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/24/2023 Bitcoin                             0.00107003 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/23/2023 Bitcoin                             0.00103601 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/24/2023 Bitcoin                             0.00100023 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/20/2023 Bitcoin                             0.00098892 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/20/2023 Bitcoin                             0.00096213 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/19/2023 Bitcoin                             0.00095435 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/20/2023 Bitcoin                                0.000939 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/26/2023 Bitcoin                             0.00088209 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/24/2023 Bitcoin                              0.0008548 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/25/2023 Bitcoin                             0.00085427 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/20/2023 Bitcoin                             0.00084438 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/20/2023 Bitcoin                             0.00083627 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/20/2023 Bitcoin                             0.00081392 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/19/2023 Bitcoin                             0.00081285 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/24/2023 Bitcoin                             0.00076582 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/25/2023 Bitcoin                             0.00074589 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/25/2023 Bitcoin                             0.00074238 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/20/2023 Bitcoin                             0.00071826 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/23/2023 Bitcoin                             0.00071303 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/20/2023 Bitcoin                             0.00069803 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/24/2023 Bitcoin                              0.0006933 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/25/2023 Bitcoin                             0.00065918 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/23/2023 Bitcoin                             0.00057888 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/17/2023 Bitcoin                             0.00055046 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/27/2023 Bitcoin                             0.00050495 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/18/2023 Bitcoin                             0.00049684 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/28/2023 Bitcoin                             0.00048009 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/16/2023 Bitcoin                             0.00044926 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/23/2023 Bitcoin                             0.00044561 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/19/2023 Bitcoin                             0.00044421 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/26/2023 Bitcoin                             0.00041669 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/23/2023 Bitcoin                             0.00041188 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/18/2023 Bitcoin                              0.0003506 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/16/2023 Bitcoin                             0.00033814 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/18/2023 Bitcoin                             0.00030209 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/28/2023 Bitcoin                             0.00025228 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/22/2023 Bitcoin                              0.0002305 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/23/2023 Bitcoin                             0.00021317 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/23/2023 Bitcoin                             0.00020406 Customer Transfer
 Confidential Customer Coin Transferee #6009    [Address on File]     5/19/2023 Bitcoin                             0.00014044 Customer Transfer
 Confidential Customer Coin Transferee #6010    [Address on File]     5/27/2023 Bitcoin                             0.03730252 Customer Transfer
 Confidential Customer Coin Transferee #6010    [Address on File]     5/19/2023 Bitcoin                             0.02034712 Customer Transfer

 Confidential Customer Coin Transferee #6011    [Address on File]     5/22/2023 Bitcoin                                0.05182891 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6012    [Address on File]     6/19/2023 Bitcoin                             0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #6013    [Address on File]     5/17/2023 Bitcoin                             0.01095325 Customer Transfer
 Confidential Customer Coin Transferee #6014    [Address on File]     5/20/2023 Bitcoin                             0.00270346 Customer Transfer
 Confidential Customer Coin Transferee #6015    [Address on File]     6/19/2023 Bitcoin                             0.35221948 Customer Transfer
 Confidential Customer Coin Transferee #6016    [Address on File]     5/25/2023 Bitcoin                             0.01102409 Customer Transfer
 Confidential Customer Coin Transferee #6017    [Address on File]     5/16/2023 Bitcoin                             0.00073142 Customer Transfer
 Confidential Customer Coin Transferee #6018    [Address on File]     5/28/2023 Bitcoin                             0.00011092 Customer Transfer
 Confidential Customer Coin Transferee #6019    [Address on File]     5/16/2023 Bitcoin                             0.06035023 Customer Transfer
 Confidential Customer Coin Transferee #6019    [Address on File]     5/16/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #6019    [Address on File]     5/16/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #6020    [Address on File]     5/26/2023 Bitcoin                                 0.01134 Customer Transfer
 Confidential Customer Coin Transferee #6020    [Address on File]     5/28/2023 Bitcoin                                  0.0076 Customer Transfer
 Confidential Customer Coin Transferee #6020    [Address on File]     5/19/2023 Bitcoin                             0.00444884 Customer Transfer
 Confidential Customer Coin Transferee #6020    [Address on File]     5/16/2023 Bitcoin                             0.00275514 Customer Transfer
 Confidential Customer Coin Transferee #6020    [Address on File]     5/21/2023 Bitcoin                             0.00221884 Customer Transfer
 Confidential Customer Coin Transferee #6020    [Address on File]     5/25/2023 Bitcoin                             0.00075785 Customer Transfer
 Confidential Customer Coin Transferee #6021    [Address on File]     5/20/2023 Bitcoin                             0.00036063 Customer Transfer
 Confidential Customer Coin Transferee #6022    [Address on File]     5/31/2023 Bitcoin                             0.00119676 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/23/2023 Bitcoin                             0.00193727 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/26/2023 Bitcoin                             0.00112612 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/21/2023 Bitcoin                             0.00110279 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/28/2023 Bitcoin                             0.00102587 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/29/2023 Bitcoin                             0.00084765 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/25/2023 Bitcoin                             0.00067778 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/18/2023 Bitcoin                             0.00043611 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/27/2023 Bitcoin                             0.00040907 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/27/2023 Bitcoin                             0.00037203 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/19/2023 Bitcoin                             0.00033278 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/29/2023 Bitcoin                             0.00025151 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/24/2023 Bitcoin                             0.00013983 Customer Transfer
 Confidential Customer Coin Transferee #6023    [Address on File]     5/30/2023 Bitcoin                             0.00010744 Customer Transfer
 Confidential Customer Coin Transferee #6024    [Address on File]     5/29/2023 Bitcoin                             0.00110136 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/19/2023 Bitcoin                             0.00214553 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/19/2023 Bitcoin                             0.00195867 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/28/2023 Bitcoin                             0.00114513 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/29/2023 Bitcoin                             0.00105443 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/19/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/26/2023 Bitcoin                             0.00090265 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/27/2023 Bitcoin                             0.00082075 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/22/2023 Bitcoin                             0.00074572 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/27/2023 Bitcoin                             0.00074342 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/19/2023 Bitcoin                             0.00073973 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/18/2023 Bitcoin                             0.00067254 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/27/2023 Bitcoin                             0.00045118 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/22/2023 Bitcoin                             0.00042518 Customer Transfer
 Confidential Customer Coin Transferee #6025    [Address on File]     5/29/2023 Bitcoin                             0.00038855 Customer Transfer
 Confidential Customer Coin Transferee #6026    [Address on File]     5/26/2023 Bitcoin                             0.00361973 Customer Transfer
 Confidential Customer Coin Transferee #6026    [Address on File]     5/19/2023 Bitcoin                             0.00352162 Customer Transfer
 Confidential Customer Coin Transferee #6027    [Address on File]     5/20/2023 Bitcoin                             0.00188141 Customer Transfer
 Confidential Customer Coin Transferee #6028    [Address on File]     5/23/2023 Bitcoin                             0.04518419 Customer Transfer
 Confidential Customer Coin Transferee #6029    [Address on File]     5/31/2023 Bitcoin                             0.00732806 Customer Transfer
 Confidential Customer Coin Transferee #6030    [Address on File]      6/2/2023 Tether USD                              2563.86 Customer Transfer
 Confidential Customer Coin Transferee #6031    [Address on File]     5/28/2023 Bitcoin                             0.02188251 Customer Transfer
 Confidential Customer Coin Transferee #6031    [Address on File]     5/17/2023 Bitcoin                             0.00416072 Customer Transfer
 Confidential Customer Coin Transferee #6031    [Address on File]     5/22/2023 Bitcoin                             0.00005911 Customer Transfer
 Confidential Customer Coin Transferee #6032    [Address on File]     5/22/2023 Bitcoin                             0.00147157 Customer Transfer
 Confidential Customer Coin Transferee #6032    [Address on File]     5/27/2023 Bitcoin                              0.0007436 Customer Transfer
 Confidential Customer Coin Transferee #6033    [Address on File]      6/9/2023 USDC Avalanche)                     497.870851 Customer Transfer
 Confidential Customer Coin Transferee #6034    [Address on File]     6/19/2023 Bitcoin                             0.00006532 Customer Transfer

 Confidential Customer Coin Transferee #6035    [Address on File]     5/26/2023 Bitcoin                                0.00058873 Customer Transfer

 Confidential Customer Coin Transferee #6035    [Address on File]     5/19/2023 Bitcoin                                 0.0005775 Customer Transfer
 Confidential Customer Coin Transferee #6036    [Address on File]     5/29/2023 Bitcoin                                0.01010039 Customer Transfer
 Confidential Customer Coin Transferee #6037    [Address on File]     5/30/2023 Bitcoin                                      0.004 Customer Transfer
 Confidential Customer Coin Transferee #6038    [Address on File]     5/19/2023 Bitcoin                                      0.125 Customer Transfer

 Confidential Customer Coin Transferee #6039    [Address on File]     6/10/2023 Tether USD                               491.4634 Customer Transfer

 Confidential Customer Coin Transferee #6039    [Address on File]     6/19/2023 Tether USD                                  292.31 Customer Transfer
 Confidential Customer Coin Transferee #6040    [Address on File]     5/31/2023 Tether USD                               9912.236 Customer Transfer
 Confidential Customer Coin Transferee #6041    [Address on File]     5/29/2023 Bitcoin                                0.00086109 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6042    [Address on File]     6/20/2023 Bitcoin                             0.00122648 Customer Transfer
 Confidential Customer Coin Transferee #6043    [Address on File]     5/21/2023 Bitcoin                             0.13875743 Customer Transfer
 Confidential Customer Coin Transferee #6044    [Address on File]     6/20/2023 Bitcoin                             0.00004387 Customer Transfer
 Confidential Customer Coin Transferee #6045    [Address on File]     6/19/2023 Bitcoin                             0.00176149 Customer Transfer
 Confidential Customer Coin Transferee #6046    [Address on File]     6/20/2023 Bitcoin                             0.00011653 Customer Transfer
 Confidential Customer Coin Transferee #6047    [Address on File]     6/20/2023 Bitcoin                             0.00005821 Customer Transfer

 Confidential Customer Coin Transferee #6048    [Address on File]     5/29/2023 USD Coin                                26.150481 Customer Transfer

 Confidential Customer Coin Transferee #6049    [Address on File]     5/29/2023 Tether USD                             112.291437 Customer Transfer
 Confidential Customer Coin Transferee #6050    [Address on File]     6/20/2023 Bitcoin                                0.00100078 Customer Transfer
 Confidential Customer Coin Transferee #6051    [Address on File]     6/19/2023 Bitcoin                                0.00507041 Customer Transfer
 Confidential Customer Coin Transferee #6052    [Address on File]     5/26/2023 Bitcoin                                0.00541834 Customer Transfer
 Confidential Customer Coin Transferee #6053    [Address on File]     5/22/2023 Bitcoin                                0.00184206 Customer Transfer
 Confidential Customer Coin Transferee #6053    [Address on File]     5/18/2023 Bitcoin                                0.00144533 Customer Transfer
 Confidential Customer Coin Transferee #6054    [Address on File]     6/20/2023 Bitcoin                                0.00293343 Customer Transfer
 Confidential Customer Coin Transferee #6055    [Address on File]     5/22/2023 Bitcoin                                0.00133445 Customer Transfer

 Confidential Customer Coin Transferee #6056    [Address on File]     5/22/2023 Bitcoin                                0.00323621 Customer Transfer
 Confidential Customer Coin Transferee #6057    [Address on File]      6/9/2023 Bitcoin                                0.06474824 Customer Transfer
 Confidential Customer Coin Transferee #6058    [Address on File]     5/29/2023 Bitcoin                                0.10816052 Customer Transfer
 Confidential Customer Coin Transferee #6059    [Address on File]     6/16/2023 Bitcoin                                0.03889925 Customer Transfer
 Confidential Customer Coin Transferee #6059    [Address on File]     6/12/2023 Bitcoin                                0.00385141 Customer Transfer
 Confidential Customer Coin Transferee #6059    [Address on File]     5/26/2023 Bitcoin                                0.00374255 Customer Transfer
 Confidential Customer Coin Transferee #6059    [Address on File]     5/26/2023 Bitcoin                                0.00372721 Customer Transfer
 Confidential Customer Coin Transferee #6060    [Address on File]     6/19/2023 Bitcoin                                0.00385808 Customer Transfer
 Confidential Customer Coin Transferee #6061    [Address on File]     5/19/2023 Bitcoin                                 0.0166532 Customer Transfer
 Confidential Customer Coin Transferee #6062    [Address on File]     6/19/2023 Bitcoin                                0.00010719 Customer Transfer
 Confidential Customer Coin Transferee #6063    [Address on File]     6/13/2023 USDC Avalanche)                        294.612693 Customer Transfer
 Confidential Customer Coin Transferee #6064    [Address on File]     5/16/2023 Bitcoin                                    0.01777 Customer Transfer
 Confidential Customer Coin Transferee #6065    [Address on File]     5/22/2023 Bitcoin                                       0.222 Customer Transfer
 Confidential Customer Coin Transferee #6065    [Address on File]     5/23/2023 Bitcoin                                0.12708443 Customer Transfer
 Confidential Customer Coin Transferee #6066    [Address on File]     5/27/2023 Bitcoin                                0.10165833 Customer Transfer
 Confidential Customer Coin Transferee #6067    [Address on File]     5/17/2023 Bitcoin                                0.20268454 Customer Transfer
 Confidential Customer Coin Transferee #6068    [Address on File]     5/28/2023 Bitcoin                                0.03711581 Customer Transfer
 Confidential Customer Coin Transferee #6069    [Address on File]     5/23/2023 Bitcoin                                0.01368829 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/27/2023 Bitcoin                                  0.0017 Customer Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/27/2023 Bitcoin                                  0.0016 Customer Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/21/2023 Bitcoin                             0.00151639 Customer Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/27/2023 Bitcoin                                  0.0015 Customer Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/21/2023 Bitcoin                                 0.00115 Customer Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/28/2023 Bitcoin                             0.00109922 Customer Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/29/2023 Bitcoin                             0.00106985 Customer Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/21/2023 Bitcoin                                 0.00105 Customer Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/21/2023 Bitcoin                                 0.00095 Customer Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/21/2023 Bitcoin                             0.00092313 Customer Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/21/2023 Bitcoin                                 0.00085 Customer Transfer
 Confidential Customer Coin Transferee #6070    [Address on File]     5/27/2023 Bitcoin                             0.00077949 Customer Transfer
 Confidential Customer Coin Transferee #6071    [Address on File]     5/20/2023 Bitcoin                             0.00091983 Customer Transfer
 Confidential Customer Coin Transferee #6072    [Address on File]     5/31/2023 Bitcoin                             0.02165741 Customer Transfer
 Confidential Customer Coin Transferee #6073    [Address on File]     6/19/2023 Bitcoin                             0.00005879 Customer Transfer
 Confidential Customer Coin Transferee #6074    [Address on File]     6/18/2023 Bitcoin                             0.02557895 Customer Transfer
 Confidential Customer Coin Transferee #6075    [Address on File]     6/15/2023 Bitcoin                              0.0003818 Customer Transfer
 Confidential Customer Coin Transferee #6076    [Address on File]     5/20/2023 Bitcoin                             0.00238597 Customer Transfer
 Confidential Customer Coin Transferee #6077    [Address on File]     6/13/2023 Bitcoin                             0.04518845 Customer Transfer
 Confidential Customer Coin Transferee #6078    [Address on File]     5/18/2023 Bitcoin                                     0.05 Customer Transfer

 Confidential Customer Coin Transferee #6079    [Address on File]     6/16/2023 USDC Avalanche)                         123.47254 Customer Transfer

 Confidential Customer Coin Transferee #6079    [Address on File]     5/16/2023 USDC Avalanche)                        120.441823 Customer Transfer
 Confidential Customer Coin Transferee #6080    [Address on File]     6/20/2023 Bitcoin                                0.00117889 Customer Transfer
 Confidential Customer Coin Transferee #6081    [Address on File]     6/19/2023 Bitcoin                                0.00193143 Customer Transfer
 Confidential Customer Coin Transferee #6082    [Address on File]     5/24/2023 Bitcoin                                0.01194602 Customer Transfer
 Confidential Customer Coin Transferee #6082    [Address on File]     5/26/2023 Bitcoin                                0.00919821 Customer Transfer
 Confidential Customer Coin Transferee #6082    [Address on File]     5/19/2023 Bitcoin                                0.00884007 Customer Transfer
 Confidential Customer Coin Transferee #6083    [Address on File]     5/26/2023 Bitcoin                                0.02526965 Customer Transfer
 Confidential Customer Coin Transferee #6084    [Address on File]      6/6/2023 Bitcoin                                 0.0234825 Customer Transfer
 Confidential Customer Coin Transferee #6084    [Address on File]     6/21/2023 Bitcoin                                0.01500392 Customer Transfer
 Confidential Customer Coin Transferee #6084    [Address on File]     6/13/2023 Bitcoin                                0.00603888 Customer Transfer
 Confidential Customer Coin Transferee #6085    [Address on File]     6/20/2023 Bitcoin                                0.00014753 Customer Transfer
 Confidential Customer Coin Transferee #6086    [Address on File]     6/19/2023 Bitcoin                                0.00011984 Customer Transfer
 Confidential Customer Coin Transferee #6087    [Address on File]     5/24/2023 Bitcoin                                0.00186555 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6088    [Address on File]     5/17/2023 Bitcoin                             0.01398207 Customer Transfer
 Confidential Customer Coin Transferee #6088    [Address on File]     5/27/2023 Bitcoin                             0.00745136 Customer Transfer
 Confidential Customer Coin Transferee #6089    [Address on File]     5/19/2023 Bitcoin                             0.01236885 Customer Transfer
 Confidential Customer Coin Transferee #6090    [Address on File]     5/24/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #6091    [Address on File]     5/20/2023 Bitcoin                             0.00354845 Customer Transfer
 Confidential Customer Coin Transferee #6092    [Address on File]     6/20/2023 Bitcoin                             0.00005814 Customer Transfer
 Confidential Customer Coin Transferee #6093    [Address on File]     6/20/2023 Bitcoin                             0.00040514 Customer Transfer
 Confidential Customer Coin Transferee #6094    [Address on File]     5/30/2023 Bitcoin                             0.00346414 Customer Transfer
 Confidential Customer Coin Transferee #6094    [Address on File]     5/25/2023 Bitcoin                             0.00231899 Customer Transfer
 Confidential Customer Coin Transferee #6095    [Address on File]     5/31/2023 Bitcoin                             0.02729565 Customer Transfer
 Confidential Customer Coin Transferee #6096    [Address on File]     5/16/2023 Bitcoin                             0.00193332 Customer Transfer
 Confidential Customer Coin Transferee #6096    [Address on File]     5/19/2023 Bitcoin                                 0.00035 Customer Transfer
 Confidential Customer Coin Transferee #6097    [Address on File]     5/17/2023 Bitcoin                             0.00577592 Customer Transfer
 Confidential Customer Coin Transferee #6098    [Address on File]     5/22/2023 Bitcoin                             0.00182855 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/23/2023 Bitcoin                             0.00835269 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/22/2023 Bitcoin                             0.00744406 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/17/2023 Bitcoin                             0.00744268 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/22/2023 Bitcoin                             0.00741447 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/22/2023 Bitcoin                             0.00740723 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/22/2023 Bitcoin                             0.00739327 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/17/2023 Bitcoin                             0.00737163 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/23/2023 Bitcoin                             0.00735037 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/17/2023 Bitcoin                             0.00734359 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/17/2023 Bitcoin                             0.00734026 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/17/2023 Bitcoin                             0.00733681 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/27/2023 Bitcoin                             0.00631999 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/27/2023 Bitcoin                             0.00559309 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/27/2023 Bitcoin                             0.00558613 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/27/2023 Bitcoin                             0.00558322 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/27/2023 Bitcoin                             0.00557626 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/26/2023 Bitcoin                              0.0040272 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/21/2023 Bitcoin                             0.00402707 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/21/2023 Bitcoin                             0.00402571 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/22/2023 Bitcoin                             0.00373076 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/22/2023 Bitcoin                              0.0037298 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/20/2023 Bitcoin                             0.00370254 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/20/2023 Bitcoin                             0.00370034 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/18/2023 Bitcoin                             0.00365364 Customer Transfer
 Confidential Customer Coin Transferee #6099    [Address on File]     5/18/2023 Bitcoin                             0.00364266 Customer Transfer
 Confidential Customer Coin Transferee #6100    [Address on File]     5/29/2023 Bitcoin                             0.00047864 Customer Transfer
 Confidential Customer Coin Transferee #6101    [Address on File]     5/22/2023 Bitcoin                             0.01111555 Customer Transfer
 Confidential Customer Coin Transferee #6102    [Address on File]     5/30/2023 Bitcoin                                 0.01688 Customer Transfer
 Confidential Customer Coin Transferee #6102    [Address on File]     5/31/2023 Bitcoin                                    0.015 Customer Transfer
 Confidential Customer Coin Transferee #6103    [Address on File]     5/16/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #6103    [Address on File]     5/20/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #6104    [Address on File]     6/20/2023 Bitcoin                             0.00771211 Customer Transfer
 Confidential Customer Coin Transferee #6105    [Address on File]     5/17/2023 Bitcoin                             0.00383364 Customer Transfer
 Confidential Customer Coin Transferee #6106    [Address on File]     5/19/2023 Bitcoin                             0.00624841 Customer Transfer
 Confidential Customer Coin Transferee #6106    [Address on File]     5/18/2023 Bitcoin                             0.00062537 Customer Transfer
 Confidential Customer Coin Transferee #6106    [Address on File]     5/16/2023 Bitcoin                              0.0005158 Customer Transfer
 Confidential Customer Coin Transferee #6107    [Address on File]     5/27/2023 Bitcoin                             0.02496225 Customer Transfer
 Confidential Customer Coin Transferee #6108    [Address on File]     5/18/2023 Bitcoin                             0.03150461 Customer Transfer
 Confidential Customer Coin Transferee #6108    [Address on File]     5/25/2023 Bitcoin                             0.02873789 Customer Transfer
 Confidential Customer Coin Transferee #6108    [Address on File]      6/1/2023 Bitcoin                             0.02594147 Customer Transfer
 Confidential Customer Coin Transferee #6109    [Address on File]     5/27/2023 Bitcoin                             0.00175654 Customer Transfer
 Confidential Customer Coin Transferee #6110    [Address on File]     5/24/2023 Bitcoin                             0.05619189 Customer Transfer
 Confidential Customer Coin Transferee #6110    [Address on File]     5/23/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #6111    [Address on File]     5/18/2023 Bitcoin                             0.03781667 Customer Transfer
 Confidential Customer Coin Transferee #6112    [Address on File]     5/24/2023 Bitcoin                             0.00891755 Customer Transfer
 Confidential Customer Coin Transferee #6113    [Address on File]     5/26/2023 Bitcoin                             0.02272559 Customer Transfer
 Confidential Customer Coin Transferee #6114    [Address on File]     5/23/2023 Bitcoin                             0.00124839 Customer Transfer
 Confidential Customer Coin Transferee #6114    [Address on File]     5/20/2023 Bitcoin                             0.00071093 Customer Transfer
 Confidential Customer Coin Transferee #6114    [Address on File]     5/29/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #6115    [Address on File]     5/20/2023 Bitcoin                             0.00118221 Customer Transfer
 Confidential Customer Coin Transferee #6115    [Address on File]     5/21/2023 Bitcoin                             0.00114441 Customer Transfer
 Confidential Customer Coin Transferee #6115    [Address on File]     5/27/2023 Bitcoin                             0.00100611 Customer Transfer
 Confidential Customer Coin Transferee #6115    [Address on File]     5/28/2023 Bitcoin                             0.00098677 Customer Transfer
 Confidential Customer Coin Transferee #6115    [Address on File]     5/26/2023 Bitcoin                             0.00097373 Customer Transfer
 Confidential Customer Coin Transferee #6115    [Address on File]     5/28/2023 Bitcoin                             0.00091327 Customer Transfer
 Confidential Customer Coin Transferee #6116    [Address on File]     5/25/2023 Bitcoin                             0.01905129 Customer Transfer
 Confidential Customer Coin Transferee #6117    [Address on File]     5/17/2023 Bitcoin                             0.11153811 Customer Transfer
 Confidential Customer Coin Transferee #6118    [Address on File]     5/21/2023 Bitcoin                             0.01888386 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6119    [Address on File]     5/18/2023 Bitcoin                             0.05253349 Customer Transfer
 Confidential Customer Coin Transferee #6119    [Address on File]     5/25/2023 Bitcoin                              0.0112102 Customer Transfer
 Confidential Customer Coin Transferee #6119    [Address on File]     5/17/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #6120    [Address on File]     6/19/2023 Bitcoin                             0.00298053 Customer Transfer
 Confidential Customer Coin Transferee #6121    [Address on File]     5/25/2023 Bitcoin                             0.00090854 Customer Transfer
 Confidential Customer Coin Transferee #6122    [Address on File]     6/18/2023 Bitcoin                             0.00198187 Customer Transfer
 Confidential Customer Coin Transferee #6123    [Address on File]      6/3/2023 Bitcoin                             0.00092122 Customer Transfer
 Confidential Customer Coin Transferee #6123    [Address on File]     5/18/2023 Bitcoin                             0.00086114 Customer Transfer
 Confidential Customer Coin Transferee #6124    [Address on File]     6/11/2023 Bitcoin                             0.00550596 Customer Transfer
 Confidential Customer Coin Transferee #6125    [Address on File]     6/14/2023 Tether USD                          796.172296 Customer Transfer
 Confidential Customer Coin Transferee #6125    [Address on File]     6/14/2023 Tether USD                          796.162302 Customer Transfer
 Confidential Customer Coin Transferee #6125    [Address on File]     6/10/2023 Tether USD                          793.837395 Customer Transfer
 Confidential Customer Coin Transferee #6125    [Address on File]     6/10/2023 Tether USD                           496.05434 Customer Transfer
 Confidential Customer Coin Transferee #6126    [Address on File]     5/21/2023 Bitcoin                             0.02589121 Customer Transfer
 Confidential Customer Coin Transferee #6127    [Address on File]     6/20/2023 Bitcoin                             0.00972089 Customer Transfer

 Confidential Customer Coin Transferee #6128    [Address on File]     5/22/2023 Ether                                  0.82634612 Customer Transfer
 Confidential Customer Coin Transferee #6129    [Address on File]     5/16/2023 Bitcoin                                 0.0100106 Customer Transfer
 Confidential Customer Coin Transferee #6130    [Address on File]     6/20/2023 Bitcoin                                0.00110711 Customer Transfer
 Confidential Customer Coin Transferee #6131    [Address on File]     5/18/2023 USDC Avalanche)                        746.416791 Customer Transfer
 Confidential Customer Coin Transferee #6131    [Address on File]     6/10/2023 USDC Avalanche)                        745.433653 Customer Transfer
 Confidential Customer Coin Transferee #6132    [Address on File]     6/18/2023 Bitcoin                                0.00309805 Customer Transfer
 Confidential Customer Coin Transferee #6133    [Address on File]     6/20/2023 Bitcoin                                0.00008932 Customer Transfer
 Confidential Customer Coin Transferee #6134    [Address on File]     6/20/2023 Bitcoin                                0.00058098 Customer Transfer
 Confidential Customer Coin Transferee #6135    [Address on File]     5/24/2023 Bitcoin                                0.01752368 Customer Transfer
 Confidential Customer Coin Transferee #6136    [Address on File]     6/19/2023 Bitcoin                                0.00023595 Customer Transfer
 Confidential Customer Coin Transferee #6137    [Address on File]     5/22/2023 Bitcoin                                0.02079133 Customer Transfer
 Confidential Customer Coin Transferee #6137    [Address on File]      6/1/2023 Bitcoin                                0.00768017 Customer Transfer
 Confidential Customer Coin Transferee #6137    [Address on File]     6/20/2023 Bitcoin                                0.00359545 Customer Transfer
 Confidential Customer Coin Transferee #6138    [Address on File]     6/20/2023 Bitcoin                                0.00116541 Customer Transfer
 Confidential Customer Coin Transferee #6139    [Address on File]     6/20/2023 Bitcoin                                0.00021315 Customer Transfer
 Confidential Customer Coin Transferee #6140    [Address on File]     5/29/2023 Bitcoin                                0.01596463 Customer Transfer
 Confidential Customer Coin Transferee #6140    [Address on File]     5/22/2023 Bitcoin                                0.01105943 Customer Transfer
 Confidential Customer Coin Transferee #6141    [Address on File]     5/26/2023 Bitcoin                                0.01257382 Customer Transfer
 Confidential Customer Coin Transferee #6142    [Address on File]     6/19/2023 Bitcoin                                 0.0037116 Customer Transfer
 Confidential Customer Coin Transferee #6143    [Address on File]     6/20/2023 Bitcoin                                0.00082496 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6144    [Address on File]     5/20/2023 Bitcoin                             0.01420697 Customer Transfer
 Confidential Customer Coin Transferee #6145    [Address on File]     6/20/2023 Bitcoin                             0.00082317 Customer Transfer
 Confidential Customer Coin Transferee #6146    [Address on File]      6/5/2023 Bitcoin                             0.00527373 Customer Transfer
 Confidential Customer Coin Transferee #6147    [Address on File]     5/29/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #6148    [Address on File]     6/19/2023 Bitcoin                             0.00005811 Customer Transfer
 Confidential Customer Coin Transferee #6149    [Address on File]     6/20/2023 Bitcoin                             0.00119828 Customer Transfer
 Confidential Customer Coin Transferee #6150    [Address on File]     5/23/2023 Bitcoin                              0.0026641 Customer Transfer
 Confidential Customer Coin Transferee #6151    [Address on File]     6/20/2023 Bitcoin                             0.00057985 Customer Transfer
 Confidential Customer Coin Transferee #6152    [Address on File]     5/22/2023 Bitcoin                              0.0003668 Customer Transfer
 Confidential Customer Coin Transferee #6153    [Address on File]     6/20/2023 Bitcoin                             0.00041184 Customer Transfer
 Confidential Customer Coin Transferee #6154    [Address on File]     6/20/2023 Bitcoin                             0.01735157 Customer Transfer
 Confidential Customer Coin Transferee #6155    [Address on File]     5/22/2023 Bitcoin                             0.17066145 Customer Transfer
 Confidential Customer Coin Transferee #6156    [Address on File]     6/20/2023 Bitcoin                             0.00011607 Customer Transfer
 Confidential Customer Coin Transferee #6157    [Address on File]     5/21/2023 Bitcoin                             0.01044176 Customer Transfer
 Confidential Customer Coin Transferee #6158    [Address on File]     6/19/2023 Bitcoin                             0.00153825 Customer Transfer
 Confidential Customer Coin Transferee #6159    [Address on File]     6/19/2023 Bitcoin                             0.00059943 Customer Transfer
 Confidential Customer Coin Transferee #6160    [Address on File]     5/23/2023 Bitcoin                             0.00037729 Customer Transfer
 Confidential Customer Coin Transferee #6160    [Address on File]     5/29/2023 Bitcoin                              0.0003717 Customer Transfer
 Confidential Customer Coin Transferee #6161    [Address on File]     6/20/2023 Bitcoin                             0.00138866 Customer Transfer
 Confidential Customer Coin Transferee #6162    [Address on File]     6/20/2023 Bitcoin                             0.00011678 Customer Transfer
 Confidential Customer Coin Transferee #6163    [Address on File]     6/12/2023 Bitcoin                             0.00093639 Customer Transfer
 Confidential Customer Coin Transferee #6164    [Address on File]      6/1/2023 Bitcoin                              0.0018309 Customer Transfer
 Confidential Customer Coin Transferee #6164    [Address on File]      6/5/2023 Bitcoin                             0.00032788 Customer Transfer
 Confidential Customer Coin Transferee #6165    [Address on File]     6/20/2023 Bitcoin                             0.00059781 Customer Transfer
 Confidential Customer Coin Transferee #6166    [Address on File]     5/21/2023 Bitcoin                             0.00183893 Customer Transfer
 Confidential Customer Coin Transferee #6167    [Address on File]     6/20/2023 Bitcoin                             0.00039689 Customer Transfer
 Confidential Customer Coin Transferee #6168    [Address on File]     5/21/2023 Bitcoin                             0.00090573 Customer Transfer
 Confidential Customer Coin Transferee #6169    [Address on File]     5/16/2023 Bitcoin                             0.02808446 Customer Transfer
 Confidential Customer Coin Transferee #6170    [Address on File]     6/20/2023 Bitcoin                             0.00270934 Customer Transfer
 Confidential Customer Coin Transferee #6171    [Address on File]     5/20/2023 Bitcoin                             0.00121923 Customer Transfer
 Confidential Customer Coin Transferee #6172    [Address on File]      6/8/2023 Bitcoin                             0.06619455 Customer Transfer
 Confidential Customer Coin Transferee #6173    [Address on File]     6/19/2023 Bitcoin                             0.00003821 Customer Transfer
 Confidential Customer Coin Transferee #6174    [Address on File]     6/20/2023 USDC Avalanche)                        364.5277 Customer Transfer
 Confidential Customer Coin Transferee #6174    [Address on File]      6/5/2023 USDC Avalanche)                     360.329835 Customer Transfer
 Confidential Customer Coin Transferee #6174    [Address on File]     5/24/2023 USDC Avalanche)                      70.818754 Customer Transfer
 Confidential Customer Coin Transferee #6174    [Address on File]     6/15/2023 USDC Avalanche)                        54.64814 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6175    [Address on File]     5/21/2023 Bitcoin                             0.00365611 Customer Transfer
 Confidential Customer Coin Transferee #6176    [Address on File]      6/7/2023 Bitcoin                             0.00187532 Customer Transfer
 Confidential Customer Coin Transferee #6176    [Address on File]     5/26/2023 Bitcoin                              0.0018623 Customer Transfer
 Confidential Customer Coin Transferee #6176    [Address on File]      6/1/2023 Bitcoin                             0.00181593 Customer Transfer
 Confidential Customer Coin Transferee #6176    [Address on File]     5/18/2023 Bitcoin                             0.00146031 Customer Transfer
 Confidential Customer Coin Transferee #6177    [Address on File]     6/20/2023 Bitcoin                                0.006335 Customer Transfer
 Confidential Customer Coin Transferee #6178    [Address on File]     5/24/2023 Bitcoin                             0.00075547 Customer Transfer
 Confidential Customer Coin Transferee #6178    [Address on File]     5/18/2023 Bitcoin                             0.00037035 Customer Transfer
 Confidential Customer Coin Transferee #6179    [Address on File]     5/30/2023 Bitcoin                             0.01001773 Customer Transfer
 Confidential Customer Coin Transferee #6180    [Address on File]     5/20/2023 Bitcoin                             0.00426916 Customer Transfer
 Confidential Customer Coin Transferee #6181    [Address on File]     5/17/2023 Bitcoin                                0.010399 Customer Transfer
 Confidential Customer Coin Transferee #6182    [Address on File]     5/21/2023 Bitcoin                             0.01305553 Customer Transfer
 Confidential Customer Coin Transferee #6183    [Address on File]     5/22/2023 Bitcoin                             0.01056481 Customer Transfer
 Confidential Customer Coin Transferee #6184    [Address on File]     5/22/2023 Bitcoin                             0.01864377 Customer Transfer
 Confidential Customer Coin Transferee #6184    [Address on File]     5/16/2023 Bitcoin                             0.01818863 Customer Transfer
 Confidential Customer Coin Transferee #6185    [Address on File]     6/20/2023 Bitcoin                             0.00305064 Customer Transfer
 Confidential Customer Coin Transferee #6186    [Address on File]     5/26/2023 Bitcoin                             0.00184685 Customer Transfer
 Confidential Customer Coin Transferee #6187    [Address on File]     5/21/2023 Bitcoin                              0.0205293 Customer Transfer
 Confidential Customer Coin Transferee #6188    [Address on File]      6/9/2023 Bitcoin                             0.00252298 Customer Transfer
 Confidential Customer Coin Transferee #6189    [Address on File]     5/21/2023 Bitcoin                             0.01496943 Customer Transfer
 Confidential Customer Coin Transferee #6190    [Address on File]     5/23/2023 Bitcoin                             0.01123828 Customer Transfer

 Confidential Customer Coin Transferee #6191    [Address on File]      6/8/2023 Bitcoin                                   0.13475 Customer Transfer

 Confidential Customer Coin Transferee #6191    [Address on File]      6/8/2023 Bitcoin                                0.03649645 Customer Transfer

 Confidential Customer Coin Transferee #6192    [Address on File]      6/8/2023 Bitcoin                                0.00557671 Customer Transfer
 Confidential Customer Coin Transferee #6193    [Address on File]     5/26/2023 Bitcoin                                0.01456022 Customer Transfer
 Confidential Customer Coin Transferee #6193    [Address on File]     5/19/2023 Bitcoin                                0.01111096 Customer Transfer
 Confidential Customer Coin Transferee #6193    [Address on File]     5/18/2023 Bitcoin                                 0.0108991 Customer Transfer
 Confidential Customer Coin Transferee #6194    [Address on File]     6/20/2023 Bitcoin                                 0.0000414 Customer Transfer
 Confidential Customer Coin Transferee #6195    [Address on File]     5/31/2023 Bitcoin                                0.03596151 Customer Transfer
 Confidential Customer Coin Transferee #6196    [Address on File]     5/20/2023 Bitcoin                                0.00278312 Customer Transfer
 Confidential Customer Coin Transferee #6197    [Address on File]     5/30/2023 Bitcoin                                0.01010217 Customer Transfer
 Confidential Customer Coin Transferee #6198    [Address on File]     5/26/2023 Bitcoin                                0.05124761 Customer Transfer
 Confidential Customer Coin Transferee #6199    [Address on File]     6/20/2023 Bitcoin                                0.00065296 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #6200    [Address on File]      6/8/2023 Ether                                   0.4589162 Customer Transfer

 Confidential Customer Coin Transferee #6200    [Address on File]      6/8/2023 Ether                                  0.01356138 Customer Transfer
 Confidential Customer Coin Transferee #6201    [Address on File]     5/26/2023 Bitcoin                                       0.041 Customer Transfer
 Confidential Customer Coin Transferee #6201    [Address on File]     5/23/2023 Bitcoin                                      0.0167 Customer Transfer
 Confidential Customer Coin Transferee #6201    [Address on File]     5/16/2023 Bitcoin                                      0.0112 Customer Transfer
 Confidential Customer Coin Transferee #6202    [Address on File]      6/7/2023 Bitcoin                                0.00489853 Customer Transfer
 Confidential Customer Coin Transferee #6203    [Address on File]     6/20/2023 Bitcoin                                0.00686798 Customer Transfer
 Confidential Customer Coin Transferee #6204    [Address on File]      6/3/2023 Bitcoin                                0.00223899 Customer Transfer
 Confidential Customer Coin Transferee #6205    [Address on File]     5/16/2023 Bitcoin                                0.00134845 Customer Transfer
 Confidential Customer Coin Transferee #6206    [Address on File]     5/23/2023 Bitcoin                                0.00377312 Customer Transfer
 Confidential Customer Coin Transferee #6207    [Address on File]     5/19/2023 Bitcoin                                0.00739695 Customer Transfer
 Confidential Customer Coin Transferee #6208    [Address on File]     5/19/2023 Bitcoin                                0.01257454 Customer Transfer
 Confidential Customer Coin Transferee #6208    [Address on File]     6/20/2023 Bitcoin                                0.00627262 Customer Transfer
 Confidential Customer Coin Transferee #6209    [Address on File]     5/29/2023 Bitcoin                                 0.0011136 Customer Transfer
 Confidential Customer Coin Transferee #6209    [Address on File]     5/22/2023 Bitcoin                                0.00110732 Customer Transfer
 Confidential Customer Coin Transferee #6210    [Address on File]     5/27/2023 Bitcoin                                0.01858973 Customer Transfer
 Confidential Customer Coin Transferee #6210    [Address on File]     5/28/2023 Bitcoin                                0.01097704 Customer Transfer
 Confidential Customer Coin Transferee #6210    [Address on File]     5/28/2023 Bitcoin                                0.01093852 Customer Transfer
 Confidential Customer Coin Transferee #6210    [Address on File]     5/30/2023 Bitcoin                                 0.0107501 Customer Transfer
 Confidential Customer Coin Transferee #6210    [Address on File]     5/28/2023 Bitcoin                                0.00733311 Customer Transfer
 Confidential Customer Coin Transferee #6210    [Address on File]     5/30/2023 Bitcoin                                   0.007158 Customer Transfer
 Confidential Customer Coin Transferee #6211    [Address on File]     5/25/2023 Bitcoin                                0.00451782 Customer Transfer
 Confidential Customer Coin Transferee #6211    [Address on File]     5/18/2023 Bitcoin                                0.00437914 Customer Transfer
 Confidential Customer Coin Transferee #6212    [Address on File]     6/19/2023 Bitcoin                                0.00071424 Customer Transfer
 Confidential Customer Coin Transferee #6213    [Address on File]     5/19/2023 Bitcoin                                0.04588738 Customer Transfer
 Confidential Customer Coin Transferee #6213    [Address on File]     5/27/2023 Bitcoin                                      0.0374 Customer Transfer
 Confidential Customer Coin Transferee #6213    [Address on File]     5/28/2023 Bitcoin                                0.03672724 Customer Transfer
 Confidential Customer Coin Transferee #6213    [Address on File]     5/27/2023 Bitcoin                                      0.0037 Customer Transfer
 Confidential Customer Coin Transferee #6213    [Address on File]     5/27/2023 Bitcoin                                0.00037455 Customer Transfer
 Confidential Customer Coin Transferee #6214    [Address on File]     5/19/2023 Bitcoin                                 0.0065554 Customer Transfer

 Confidential Customer Coin Transferee #6215    [Address on File]     5/24/2023 Bitcoin                                       0.22 Customer Transfer

 Confidential Customer Coin Transferee #6215    [Address on File]     5/25/2023 Bitcoin                                       0.22 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #6215    [Address on File]     5/19/2023 Bitcoin                                0.01020689 Customer Transfer
 Confidential Customer Coin Transferee #6216    [Address on File]     5/17/2023 Bitcoin                                0.04631615 Customer Transfer
 Confidential Customer Coin Transferee #6216    [Address on File]     5/20/2023 Bitcoin                                0.03672714 Customer Transfer
 Confidential Customer Coin Transferee #6217    [Address on File]     5/24/2023 Bitcoin                                0.11535481 Customer Transfer
 Confidential Customer Coin Transferee #6217    [Address on File]     5/20/2023 Bitcoin                                0.05223098 Customer Transfer
 Confidential Customer Coin Transferee #6218    [Address on File]     5/24/2023 Bitcoin                                0.01809581 Customer Transfer


 Confidential Customer Coin Transferee #6219    [Address on File]      6/7/2023 Tether USD                                 901000 Customer Transfer

 Confidential Customer Coin Transferee #6220    [Address on File]     5/29/2023 USD Coin Stellar)                                 6 Customer Transfer
 Confidential Customer Coin Transferee #6221    [Address on File]     5/16/2023 USDC Avalanche)                        315.135459 Customer Transfer
 Confidential Customer Coin Transferee #6222    [Address on File]     5/18/2023 Bitcoin                                0.24363667 Customer Transfer
 Confidential Customer Coin Transferee #6223    [Address on File]     6/20/2023 Bitcoin                                0.00261332 Customer Transfer
 Confidential Customer Coin Transferee #6224    [Address on File]     5/29/2023 Bitcoin                                0.00359842 Customer Transfer
 Confidential Customer Coin Transferee #6224    [Address on File]     5/28/2023 Bitcoin                                0.00219335 Customer Transfer
 Confidential Customer Coin Transferee #6224    [Address on File]     5/30/2023 Bitcoin                                    0.00212 Customer Transfer
 Confidential Customer Coin Transferee #6224    [Address on File]     5/29/2023 Bitcoin                                 0.0003925 Customer Transfer
 Confidential Customer Coin Transferee #6224    [Address on File]     5/27/2023 Bitcoin                                0.00017697 Customer Transfer
 Confidential Customer Coin Transferee #6224    [Address on File]     5/27/2023 Bitcoin                                 0.0001117 Customer Transfer
 Confidential Customer Coin Transferee #6225    [Address on File]     5/22/2023 Bitcoin                                0.00740298 Customer Transfer
 Confidential Customer Coin Transferee #6226    [Address on File]     5/22/2023 Bitcoin                                0.15638607 Customer Transfer
 Confidential Customer Coin Transferee #6226    [Address on File]     5/26/2023 Bitcoin                                0.10603498 Customer Transfer
 Confidential Customer Coin Transferee #6227    [Address on File]     5/25/2023 Bitcoin                                       0.004 Customer Transfer
 Confidential Customer Coin Transferee #6227    [Address on File]     5/27/2023 Bitcoin                                0.00195711 Customer Transfer
 Confidential Customer Coin Transferee #6228    [Address on File]     5/16/2023 Bitcoin                                0.00660385 Customer Transfer
 Confidential Customer Coin Transferee #6229    [Address on File]     5/16/2023 Bitcoin                                0.02774364 Customer Transfer
 Confidential Customer Coin Transferee #6230    [Address on File]     5/29/2023 Bitcoin                                0.03255505 Customer Transfer
 Confidential Customer Coin Transferee #6231    [Address on File]     5/25/2023 Bitcoin                                0.00731439 Customer Transfer
 Confidential Customer Coin Transferee #6231    [Address on File]     5/27/2023 Bitcoin                                0.00719912 Customer Transfer
 Confidential Customer Coin Transferee #6231    [Address on File]     5/25/2023 Bitcoin                                0.00552479 Customer Transfer
 Confidential Customer Coin Transferee #6231    [Address on File]     5/16/2023 Bitcoin                                0.00421277 Customer Transfer
 Confidential Customer Coin Transferee #6231    [Address on File]     5/21/2023 Bitcoin                                0.00395126 Customer Transfer
 Confidential Customer Coin Transferee #6231    [Address on File]     5/22/2023 Bitcoin                                0.00387805 Customer Transfer
 Confidential Customer Coin Transferee #6231    [Address on File]     5/18/2023 Bitcoin                                0.00372348 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6231    [Address on File]     5/18/2023 Bitcoin                             0.00192461 Customer Transfer
 Confidential Customer Coin Transferee #6231    [Address on File]     5/21/2023 Bitcoin                             0.00139016 Customer Transfer
 Confidential Customer Coin Transferee #6231    [Address on File]     5/16/2023 Bitcoin                             0.00117728 Customer Transfer
 Confidential Customer Coin Transferee #6231    [Address on File]     5/16/2023 Bitcoin                             0.00073421 Customer Transfer
 Confidential Customer Coin Transferee #6232    [Address on File]     5/21/2023 Bitcoin                             0.00186737 Customer Transfer
 Confidential Customer Coin Transferee #6233    [Address on File]     5/28/2023 Bitcoin                             0.02255994 Customer Transfer
 Confidential Customer Coin Transferee #6234    [Address on File]     5/26/2023 Bitcoin                             0.00142171 Customer Transfer
 Confidential Customer Coin Transferee #6234    [Address on File]     5/26/2023 Bitcoin                             0.00018045 Customer Transfer
 Confidential Customer Coin Transferee #6235    [Address on File]     6/19/2023 Bitcoin                             0.00030413 Customer Transfer
 Confidential Customer Coin Transferee #6236    [Address on File]     5/24/2023 Bitcoin                              0.0003721 Customer Transfer
 Confidential Customer Coin Transferee #6236    [Address on File]     5/29/2023 Bitcoin                             0.00034841 Customer Transfer
 Confidential Customer Coin Transferee #6236    [Address on File]     5/29/2023 Bitcoin                             0.00033984 Customer Transfer
 Confidential Customer Coin Transferee #6237    [Address on File]     5/18/2023 Bitcoin                             0.00182207 Customer Transfer
 Confidential Customer Coin Transferee #6237    [Address on File]     5/26/2023 Bitcoin                             0.00181981 Customer Transfer
 Confidential Customer Coin Transferee #6238    [Address on File]     6/20/2023 Bitcoin                             0.35653507 Customer Transfer

 Confidential Customer Coin Transferee #6239    [Address on File]     6/21/2023 Bitcoin                                0.02987442 Customer Transfer
 Confidential Customer Coin Transferee #6240    [Address on File]     6/19/2023 Bitcoin                                0.00048838 Customer Transfer
 Confidential Customer Coin Transferee #6241    [Address on File]     6/19/2023 Bitcoin                                0.00072272 Customer Transfer
 Confidential Customer Coin Transferee #6242    [Address on File]     5/20/2023 Bitcoin                                0.05183111 Customer Transfer
 Confidential Customer Coin Transferee #6243    [Address on File]     6/20/2023 Bitcoin                                0.00270152 Customer Transfer
 Confidential Customer Coin Transferee #6244    [Address on File]     5/30/2023 Bitcoin                                0.01093398 Customer Transfer
 Confidential Customer Coin Transferee #6244    [Address on File]     5/18/2023 Bitcoin                                0.00718501 Customer Transfer
 Confidential Customer Coin Transferee #6244    [Address on File]     6/20/2023 Bitcoin                                0.00384651 Customer Transfer
 Confidential Customer Coin Transferee #6244    [Address on File]     6/12/2023 Bitcoin                                0.00380969 Customer Transfer
 Confidential Customer Coin Transferee #6244    [Address on File]     6/14/2023 Bitcoin                                0.00377867 Customer Transfer
 Confidential Customer Coin Transferee #6245    [Address on File]     6/20/2023 Bitcoin                                0.00116268 Customer Transfer
 Confidential Customer Coin Transferee #6246    [Address on File]     5/16/2023 Bitcoin                                0.00133353 Customer Transfer
 Confidential Customer Coin Transferee #6247    [Address on File]     6/14/2023 Bitcoin                                0.00092313 Customer Transfer
 Confidential Customer Coin Transferee #6248    [Address on File]     6/20/2023 Bitcoin                                0.00041046 Customer Transfer

 Confidential Customer Coin Transferee #6249    [Address on File]     6/19/2023 Bitcoin                                0.00113117 Customer Transfer
 Confidential Customer Coin Transferee #6250    [Address on File]      6/2/2023 Bitcoin                                0.00652034 Customer Transfer
 Confidential Customer Coin Transferee #6250    [Address on File]     6/19/2023 Bitcoin                                0.00014259 Customer Transfer

 Confidential Customer Coin Transferee #6251    [Address on File]     6/19/2023 Bitcoin                                 0.0013239 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6252    [Address on File]     5/21/2023 Bitcoin                             0.00003658 Customer Transfer
 Confidential Customer Coin Transferee #6253    [Address on File]      6/1/2023 Bitcoin                             0.00306157 Customer Transfer
 Confidential Customer Coin Transferee #6254    [Address on File]     5/26/2023 Bitcoin                             0.00003671 Customer Transfer
 Confidential Customer Coin Transferee #6255    [Address on File]     5/16/2023 Bitcoin                             0.00183573 Customer Transfer
 Confidential Customer Coin Transferee #6255    [Address on File]     5/24/2023 Bitcoin                             0.00092997 Customer Transfer
 Confidential Customer Coin Transferee #6255    [Address on File]     5/16/2023 Bitcoin                             0.00070415 Customer Transfer

 Confidential Customer Coin Transferee #6256    [Address on File]     6/19/2023 Bitcoin                                0.01128333 Customer Transfer

 Confidential Customer Coin Transferee #6256    [Address on File]     6/19/2023 Bitcoin                                0.00075704 Customer Transfer
 Confidential Customer Coin Transferee #6257    [Address on File]     5/16/2023 Bitcoin                                0.21972346 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/18/2023 Bitcoin                                0.00121991 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/27/2023 Bitcoin                                 0.0011902 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/26/2023 Bitcoin                                0.00089087 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/18/2023 Bitcoin                                0.00072674 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/18/2023 Bitcoin                                0.00070816 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/27/2023 Bitcoin                                0.00068286 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/26/2023 Bitcoin                                0.00055876 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/19/2023 Bitcoin                                0.00025916 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/23/2023 Bitcoin                                     0.0002 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/21/2023 Bitcoin                                0.00018902 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/23/2023 Bitcoin                                0.00016333 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/21/2023 Bitcoin                                0.00016095 Customer Transfer
 Confidential Customer Coin Transferee #6258    [Address on File]     5/25/2023 Bitcoin                                0.00015058 Customer Transfer
 Confidential Customer Coin Transferee #6259    [Address on File]     6/20/2023 Bitcoin                                0.00182051 Customer Transfer
 Confidential Customer Coin Transferee #6260    [Address on File]     5/19/2023 Bitcoin                                      0.016 Customer Transfer
 Confidential Customer Coin Transferee #6261    [Address on File]     5/17/2023 Bitcoin                                      0.013 Customer Transfer
 Confidential Customer Coin Transferee #6262    [Address on File]     5/20/2023 Bitcoin                                0.00147329 Customer Transfer
 Confidential Customer Coin Transferee #6262    [Address on File]     5/26/2023 Bitcoin                                0.00112384 Customer Transfer
 Confidential Customer Coin Transferee #6262    [Address on File]     5/20/2023 Bitcoin                                0.00073961 Customer Transfer
 Confidential Customer Coin Transferee #6262    [Address on File]     5/21/2023 Bitcoin                                0.00073941 Customer Transfer
 Confidential Customer Coin Transferee #6263    [Address on File]     5/20/2023 Bitcoin                                0.04068047 Customer Transfer
 Confidential Customer Coin Transferee #6263    [Address on File]     5/29/2023 Bitcoin                                      0.012 Customer Transfer
 Confidential Customer Coin Transferee #6264    [Address on File]     5/18/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #6264    [Address on File]     5/20/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #6264    [Address on File]     5/20/2023 Bitcoin                                0.00066201 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6264    [Address on File]     5/22/2023 Bitcoin                             0.00018445 Customer Transfer
 Confidential Customer Coin Transferee #6264    [Address on File]     5/16/2023 Bitcoin                             0.00018317 Customer Transfer
 Confidential Customer Coin Transferee #6264    [Address on File]     5/23/2023 Bitcoin                              0.0001822 Customer Transfer
 Confidential Customer Coin Transferee #6264    [Address on File]     5/18/2023 Bitcoin                             0.00009994 Customer Transfer
 Confidential Customer Coin Transferee #6264    [Address on File]     5/17/2023 Bitcoin                             0.00003717 Customer Transfer
 Confidential Customer Coin Transferee #6265    [Address on File]     5/28/2023 Bitcoin                             0.00182705 Customer Transfer
 Confidential Customer Coin Transferee #6266    [Address on File]     5/18/2023 Bitcoin                             0.00181679 Customer Transfer
 Confidential Customer Coin Transferee #6267    [Address on File]     5/23/2023 Bitcoin                             0.00736609 Customer Transfer
 Confidential Customer Coin Transferee #6267    [Address on File]     5/27/2023 Bitcoin                             0.00018573 Customer Transfer
 Confidential Customer Coin Transferee #6268    [Address on File]     5/23/2023 Bitcoin                             0.00506296 Customer Transfer
 Confidential Customer Coin Transferee #6268    [Address on File]     6/20/2023 Bitcoin                             0.00133231 Customer Transfer
 Confidential Customer Coin Transferee #6269    [Address on File]     5/22/2023 Bitcoin                             0.03249975 Customer Transfer
 Confidential Customer Coin Transferee #6270    [Address on File]     5/25/2023 Bitcoin                             0.01917278 Customer Transfer
 Confidential Customer Coin Transferee #6270    [Address on File]     5/27/2023 Bitcoin                             0.01077995 Customer Transfer
 Confidential Customer Coin Transferee #6270    [Address on File]     5/24/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #6271    [Address on File]     5/16/2023 Bitcoin                             0.00922527 Customer Transfer
 Confidential Customer Coin Transferee #6271    [Address on File]     5/26/2023 Bitcoin                             0.00185694 Customer Transfer
 Confidential Customer Coin Transferee #6272    [Address on File]     5/19/2023 Bitcoin                             0.00184961 Customer Transfer
 Confidential Customer Coin Transferee #6273    [Address on File]     5/31/2023 Bitcoin                             0.01107895 Customer Transfer
 Confidential Customer Coin Transferee #6273    [Address on File]     5/24/2023 Bitcoin                             0.00093227 Customer Transfer
 Confidential Customer Coin Transferee #6274    [Address on File]     5/18/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #6274    [Address on File]     5/24/2023 Bitcoin                                    0.015 Customer Transfer
 Confidential Customer Coin Transferee #6275    [Address on File]     5/24/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #6275    [Address on File]     5/24/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #6276    [Address on File]     5/16/2023 Bitcoin                             0.00219824 Customer Transfer
 Confidential Customer Coin Transferee #6277    [Address on File]     5/25/2023 Bitcoin                             0.05618141 Customer Transfer
 Confidential Customer Coin Transferee #6278    [Address on File]     5/24/2023 Bitcoin                                     0.06 Customer Transfer
 Confidential Customer Coin Transferee #6278    [Address on File]     5/27/2023 Bitcoin                                     0.04 Customer Transfer
 Confidential Customer Coin Transferee #6278    [Address on File]     5/29/2023 Bitcoin                             0.03183403 Customer Transfer
 Confidential Customer Coin Transferee #6278    [Address on File]     5/30/2023 Bitcoin                             0.01810617 Customer Transfer
 Confidential Customer Coin Transferee #6279    [Address on File]     5/19/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #6280    [Address on File]     5/20/2023 Bitcoin                             0.00962544 Customer Transfer
 Confidential Customer Coin Transferee #6281    [Address on File]     5/19/2023 Bitcoin                                     0.05 Customer Transfer
 Confidential Customer Coin Transferee #6282    [Address on File]     5/19/2023 Bitcoin                             0.00156503 Customer Transfer
 Confidential Customer Coin Transferee #6283    [Address on File]     5/16/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #6284    [Address on File]     5/22/2023 Bitcoin                             0.17504415 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6284    [Address on File]     5/27/2023 Bitcoin                              0.1265898 Customer Transfer
 Confidential Customer Coin Transferee #6285    [Address on File]     5/26/2023 Bitcoin                             0.02797011 Customer Transfer
 Confidential Customer Coin Transferee #6285    [Address on File]     5/22/2023 Bitcoin                             0.01851915 Customer Transfer
 Confidential Customer Coin Transferee #6286    [Address on File]     5/29/2023 Bitcoin                             0.01008075 Customer Transfer
 Confidential Customer Coin Transferee #6286    [Address on File]     5/25/2023 Bitcoin                             0.00867701 Customer Transfer
 Confidential Customer Coin Transferee #6286    [Address on File]      6/1/2023 Bitcoin                             0.00725475 Customer Transfer
 Confidential Customer Coin Transferee #6286    [Address on File]     5/31/2023 Bitcoin                             0.00720122 Customer Transfer
 Confidential Customer Coin Transferee #6286    [Address on File]     5/26/2023 Bitcoin                             0.00475107 Customer Transfer
 Confidential Customer Coin Transferee #6286    [Address on File]     5/25/2023 Bitcoin                             0.00381233 Customer Transfer
 Confidential Customer Coin Transferee #6286    [Address on File]     5/25/2023 Bitcoin                              0.0022598 Customer Transfer
 Confidential Customer Coin Transferee #6286    [Address on File]     5/22/2023 Bitcoin                             0.00215362 Customer Transfer
 Confidential Customer Coin Transferee #6286    [Address on File]     5/16/2023 Bitcoin                             0.00117968 Customer Transfer
 Confidential Customer Coin Transferee #6286    [Address on File]     5/31/2023 Bitcoin                             0.00092025 Customer Transfer
 Confidential Customer Coin Transferee #6287    [Address on File]      6/1/2023 Bitcoin                             0.01850492 Customer Transfer
 Confidential Customer Coin Transferee #6287    [Address on File]     5/18/2023 Bitcoin                             0.01431205 Customer Transfer
 Confidential Customer Coin Transferee #6287    [Address on File]     5/16/2023 Bitcoin                             0.00891013 Customer Transfer
 Confidential Customer Coin Transferee #6287    [Address on File]     5/25/2023 Bitcoin                              0.0086113 Customer Transfer
 Confidential Customer Coin Transferee #6287    [Address on File]     5/18/2023 Bitcoin                             0.00594758 Customer Transfer
 Confidential Customer Coin Transferee #6287    [Address on File]     5/17/2023 Bitcoin                             0.00395602 Customer Transfer
 Confidential Customer Coin Transferee #6287    [Address on File]     5/24/2023 Bitcoin                              0.0035291 Customer Transfer
 Confidential Customer Coin Transferee #6287    [Address on File]     5/26/2023 Bitcoin                             0.00296785 Customer Transfer
 Confidential Customer Coin Transferee #6288    [Address on File]     5/26/2023 Bitcoin                             0.02117363 Customer Transfer
 Confidential Customer Coin Transferee #6289    [Address on File]     5/21/2023 Bitcoin                             0.01034281 Customer Transfer
 Confidential Customer Coin Transferee #6290    [Address on File]     5/20/2023 Bitcoin                             0.00009489 Customer Transfer
 Confidential Customer Coin Transferee #6291    [Address on File]     5/26/2023 Bitcoin                             0.00073285 Customer Transfer
 Confidential Customer Coin Transferee #6292    [Address on File]     5/20/2023 Bitcoin                             0.00369593 Customer Transfer
 Confidential Customer Coin Transferee #6293    [Address on File]     5/19/2023 Bitcoin                             0.00370866 Customer Transfer
 Confidential Customer Coin Transferee #6293    [Address on File]     5/26/2023 Bitcoin                             0.00370812 Customer Transfer
 Confidential Customer Coin Transferee #6294    [Address on File]     5/29/2023 Bitcoin                             0.01590932 Customer Transfer
 Confidential Customer Coin Transferee #6295    [Address on File]     5/26/2023 Bitcoin                             0.02341692 Customer Transfer
 Confidential Customer Coin Transferee #6296    [Address on File]     5/23/2023 Bitcoin                             0.01005508 Customer Transfer
 Confidential Customer Coin Transferee #6296    [Address on File]     5/18/2023 Bitcoin                              0.0100505 Customer Transfer
 Confidential Customer Coin Transferee #6296    [Address on File]     5/30/2023 Bitcoin                             0.00996122 Customer Transfer
 Confidential Customer Coin Transferee #6297    [Address on File]     5/25/2023 Bitcoin                                0.000758 Customer Transfer
 Confidential Customer Coin Transferee #6297    [Address on File]     5/25/2023 Bitcoin                             0.00075723 Customer Transfer
 Confidential Customer Coin Transferee #6297    [Address on File]     5/27/2023 Bitcoin                             0.00074276 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6297    [Address on File]     5/28/2023 Bitcoin                             0.00073366 Customer Transfer
 Confidential Customer Coin Transferee #6297    [Address on File]     5/31/2023 Bitcoin                             0.00073322 Customer Transfer
 Confidential Customer Coin Transferee #6297    [Address on File]     5/24/2023 Bitcoin                             0.00073205 Customer Transfer
 Confidential Customer Coin Transferee #6297    [Address on File]     5/25/2023 Bitcoin                             0.00056401 Customer Transfer
 Confidential Customer Coin Transferee #6297    [Address on File]     5/28/2023 Bitcoin                             0.00054717 Customer Transfer
 Confidential Customer Coin Transferee #6297    [Address on File]     5/29/2023 Bitcoin                             0.00052637 Customer Transfer
 Confidential Customer Coin Transferee #6298    [Address on File]     5/26/2023 Bitcoin                             0.00464688 Customer Transfer
 Confidential Customer Coin Transferee #6299    [Address on File]     5/17/2023 Bitcoin                             0.00341583 Customer Transfer
 Confidential Customer Coin Transferee #6299    [Address on File]     5/16/2023 Bitcoin                             0.00271178 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/27/2023 Bitcoin                             0.00610065 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/27/2023 Bitcoin                             0.00557529 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/20/2023 Bitcoin                             0.00370355 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/19/2023 Bitcoin                             0.00369676 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/27/2023 Bitcoin                             0.00366254 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/27/2023 Bitcoin                             0.00363266 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/17/2023 Bitcoin                             0.00359587 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/20/2023 Bitcoin                             0.00273468 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/21/2023 Bitcoin                             0.00247046 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/22/2023 Bitcoin                             0.00233437 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/18/2023 Bitcoin                             0.00210072 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/23/2023 Bitcoin                             0.00210013 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/17/2023 Bitcoin                             0.00183556 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/29/2023 Bitcoin                             0.00153159 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/17/2023 Bitcoin                             0.00147892 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/29/2023 Bitcoin                             0.00141368 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/18/2023 Bitcoin                             0.00140676 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/30/2023 Bitcoin                             0.00137798 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/19/2023 Bitcoin                             0.00135491 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/24/2023 Bitcoin                             0.00132285 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/28/2023 Bitcoin                             0.00121912 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/22/2023 Bitcoin                             0.00118738 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/29/2023 Bitcoin                             0.00109579 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/26/2023 Bitcoin                              0.0010848 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]      6/2/2023 Bitcoin                             0.00107775 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/24/2023 Bitcoin                             0.00106164 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/19/2023 Bitcoin                              0.0009226 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]      6/1/2023 Bitcoin                             0.00091245 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/23/2023 Bitcoin                             0.00089118 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/30/2023 Bitcoin                             0.00075803 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/16/2023 Bitcoin                             0.00070744 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/16/2023 Bitcoin                             0.00070715 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/30/2023 Bitcoin                              0.0006889 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/24/2023 Bitcoin                             0.00058203 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/29/2023 Bitcoin                             0.00047848 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/22/2023 Bitcoin                                 0.00043 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/29/2023 Bitcoin                             0.00039546 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/21/2023 Bitcoin                             0.00033461 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]      6/1/2023 Bitcoin                             0.00018141 Customer Transfer
 Confidential Customer Coin Transferee #6300    [Address on File]     5/25/2023 Bitcoin                              0.0001577 Customer Transfer
 Confidential Customer Coin Transferee #6301    [Address on File]     5/30/2023 Bitcoin                             0.00086307 Customer Transfer
 Confidential Customer Coin Transferee #6302    [Address on File]     5/29/2023 Bitcoin                             0.05957623 Customer Transfer
 Confidential Customer Coin Transferee #6303    [Address on File]     5/24/2023 Bitcoin                             0.14867282 Customer Transfer
 Confidential Customer Coin Transferee #6303    [Address on File]     5/24/2023 Bitcoin                             0.07428279 Customer Transfer
 Confidential Customer Coin Transferee #6303    [Address on File]     5/23/2023 Bitcoin                             0.00055087 Customer Transfer
 Confidential Customer Coin Transferee #6304    [Address on File]     6/19/2023 Bitcoin                             0.00135665 Customer Transfer
 Confidential Customer Coin Transferee #6305    [Address on File]     5/25/2023 Bitcoin                             0.50630245 Customer Transfer
 Confidential Customer Coin Transferee #6305    [Address on File]     5/16/2023 Bitcoin                             0.14732152 Customer Transfer
 Confidential Customer Coin Transferee #6305    [Address on File]     5/21/2023 Bitcoin                             0.11014126 Customer Transfer
 Confidential Customer Coin Transferee #6305    [Address on File]     5/28/2023 Bitcoin                             0.10800586 Customer Transfer
 Confidential Customer Coin Transferee #6305    [Address on File]     5/26/2023 Bitcoin                             0.04958767 Customer Transfer
 Confidential Customer Coin Transferee #6305    [Address on File]     5/23/2023 Bitcoin                             0.04598826 Customer Transfer
 Confidential Customer Coin Transferee #6305    [Address on File]     5/17/2023 Bitcoin                             0.03719333 Customer Transfer
 Confidential Customer Coin Transferee #6305    [Address on File]     5/21/2023 Bitcoin                             0.03712805 Customer Transfer
 Confidential Customer Coin Transferee #6305    [Address on File]     5/19/2023 Bitcoin                             0.03707193 Customer Transfer
 Confidential Customer Coin Transferee #6306    [Address on File]     5/22/2023 Bitcoin                             0.00092439 Customer Transfer
 Confidential Customer Coin Transferee #6307    [Address on File]     5/30/2023 Bitcoin                                    0.107 Customer Transfer
 Confidential Customer Coin Transferee #6308    [Address on File]     5/24/2023 Bitcoin                                  0.2888 Customer Transfer
 Confidential Customer Coin Transferee #6308    [Address on File]     5/16/2023 Bitcoin                                     0.22 Customer Transfer
 Confidential Customer Coin Transferee #6308    [Address on File]     5/16/2023 Bitcoin                                 0.00033 Customer Transfer
 Confidential Customer Coin Transferee #6308    [Address on File]     5/23/2023 Bitcoin                                 0.00033 Customer Transfer
 Confidential Customer Coin Transferee #6309    [Address on File]     5/29/2023 Bitcoin                             0.00541117 Customer Transfer
 Confidential Customer Coin Transferee #6310    [Address on File]     5/19/2023 Bitcoin                              0.0179414 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6311    [Address on File]     5/25/2023 Bitcoin                             0.01374956 Customer Transfer
 Confidential Customer Coin Transferee #6311    [Address on File]     5/17/2023 Bitcoin                             0.00371012 Customer Transfer
 Confidential Customer Coin Transferee #6311    [Address on File]     5/18/2023 Bitcoin                             0.00370862 Customer Transfer
 Confidential Customer Coin Transferee #6311    [Address on File]     5/19/2023 Bitcoin                             0.00366584 Customer Transfer
 Confidential Customer Coin Transferee #6311    [Address on File]     5/16/2023 Bitcoin                             0.00352209 Customer Transfer
 Confidential Customer Coin Transferee #6311    [Address on File]     5/20/2023 Bitcoin                             0.00261933 Customer Transfer
 Confidential Customer Coin Transferee #6312    [Address on File]     5/19/2023 Bitcoin                             0.04733677 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/20/2023 Bitcoin                             0.00358943 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/20/2023 Bitcoin                             0.00222063 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/22/2023 Bitcoin                              0.0012313 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/16/2023 Bitcoin                             0.00117406 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/23/2023 Bitcoin                              0.0011729 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/29/2023 Bitcoin                             0.00113861 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/26/2023 Bitcoin                             0.00090853 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/23/2023 Bitcoin                              0.0009043 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/27/2023 Bitcoin                             0.00074563 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/24/2023 Bitcoin                             0.00074277 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/21/2023 Bitcoin                             0.00055482 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/21/2023 Bitcoin                             0.00052245 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/25/2023 Bitcoin                              0.0004474 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/25/2023 Bitcoin                             0.00041785 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/23/2023 Bitcoin                             0.00040247 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/28/2023 Bitcoin                             0.00034156 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/27/2023 Bitcoin                             0.00022324 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/20/2023 Bitcoin                             0.00022035 Customer Transfer
 Confidential Customer Coin Transferee #6313    [Address on File]     5/28/2023 Bitcoin                              0.0002125 Customer Transfer
 Confidential Customer Coin Transferee #6314    [Address on File]     6/20/2023 Bitcoin                             0.00003542 Customer Transfer
 Confidential Customer Coin Transferee #6315    [Address on File]     5/25/2023 Bitcoin                             0.03747293 Customer Transfer
 Confidential Customer Coin Transferee #6315    [Address on File]     5/17/2023 Bitcoin                             0.01839443 Customer Transfer
 Confidential Customer Coin Transferee #6315    [Address on File]     5/31/2023 Bitcoin                                 0.01108 Customer Transfer
 Confidential Customer Coin Transferee #6315    [Address on File]     5/31/2023 Bitcoin                             0.00728527 Customer Transfer
 Confidential Customer Coin Transferee #6316    [Address on File]     5/20/2023 Bitcoin                             0.00369466 Customer Transfer
 Confidential Customer Coin Transferee #6316    [Address on File]     5/20/2023 Bitcoin                             0.00005776 Customer Transfer
 Confidential Customer Coin Transferee #6317    [Address on File]     5/27/2023 Bitcoin                             0.01877105 Customer Transfer
 Confidential Customer Coin Transferee #6318    [Address on File]     5/18/2023 Bitcoin                             0.00389405 Customer Transfer
 Confidential Customer Coin Transferee #6319    [Address on File]     5/20/2023 Bitcoin                              0.0014767 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6319    [Address on File]     5/20/2023 Bitcoin                             0.00129771 Customer Transfer
 Confidential Customer Coin Transferee #6320    [Address on File]     5/22/2023 Bitcoin                             0.02225933 Customer Transfer
 Confidential Customer Coin Transferee #6321    [Address on File]     5/28/2023 Bitcoin                             0.00083026 Customer Transfer
 Confidential Customer Coin Transferee #6322    [Address on File]     5/21/2023 Bitcoin                             0.00184809 Customer Transfer
 Confidential Customer Coin Transferee #6323    [Address on File]     5/16/2023 Bitcoin                             0.00588752 Customer Transfer
 Confidential Customer Coin Transferee #6323    [Address on File]     5/19/2023 Bitcoin                             0.00184754 Customer Transfer
 Confidential Customer Coin Transferee #6324    [Address on File]     5/16/2023 Bitcoin                             0.04029489 Customer Transfer
 Confidential Customer Coin Transferee #6325    [Address on File]     5/20/2023 Bitcoin                             0.00356408 Customer Transfer
 Confidential Customer Coin Transferee #6326    [Address on File]     5/23/2023 Bitcoin                             0.00366412 Customer Transfer
 Confidential Customer Coin Transferee #6327    [Address on File]     5/17/2023 Bitcoin                             0.14506962 Customer Transfer
 Confidential Customer Coin Transferee #6327    [Address on File]     5/25/2023 Bitcoin                             0.07623951 Customer Transfer
 Confidential Customer Coin Transferee #6328    [Address on File]     5/19/2023 Bitcoin                             0.01375127 Customer Transfer
 Confidential Customer Coin Transferee #6328    [Address on File]     5/30/2023 Bitcoin                              0.0018973 Customer Transfer
 Confidential Customer Coin Transferee #6329    [Address on File]     5/25/2023 Bitcoin                             0.00295075 Customer Transfer
 Confidential Customer Coin Transferee #6330    [Address on File]     5/28/2023 Bitcoin                             0.08424731 Customer Transfer
 Confidential Customer Coin Transferee #6331    [Address on File]     5/29/2023 Bitcoin                             0.00431071 Customer Transfer
 Confidential Customer Coin Transferee #6331    [Address on File]     5/25/2023 Bitcoin                             0.00379668 Customer Transfer
 Confidential Customer Coin Transferee #6331    [Address on File]     5/21/2023 Bitcoin                             0.00369033 Customer Transfer
 Confidential Customer Coin Transferee #6332    [Address on File]     5/20/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #6333    [Address on File]     5/24/2023 Bitcoin                             0.08103065 Customer Transfer
 Confidential Customer Coin Transferee #6334    [Address on File]     5/22/2023 Bitcoin                             0.05086157 Customer Transfer
 Confidential Customer Coin Transferee #6335    [Address on File]     5/26/2023 Bitcoin                             0.01002682 Customer Transfer
 Confidential Customer Coin Transferee #6336    [Address on File]     5/24/2023 Bitcoin                             0.01892901 Customer Transfer
 Confidential Customer Coin Transferee #6337    [Address on File]     5/25/2023 Bitcoin                             0.07094964 Customer Transfer
 Confidential Customer Coin Transferee #6337    [Address on File]     5/30/2023 Bitcoin                             0.01891155 Customer Transfer
 Confidential Customer Coin Transferee #6338    [Address on File]     5/30/2023 Bitcoin                             0.01421649 Customer Transfer
 Confidential Customer Coin Transferee #6339    [Address on File]     5/20/2023 Bitcoin                             0.22158444 Customer Transfer
 Confidential Customer Coin Transferee #6340    [Address on File]     5/23/2023 Bitcoin                                 0.05969 Customer Transfer
 Confidential Customer Coin Transferee #6340    [Address on File]     5/30/2023 Bitcoin                                 0.05775 Customer Transfer
 Confidential Customer Coin Transferee #6340    [Address on File]     5/18/2023 Bitcoin                                0.003304 Customer Transfer
 Confidential Customer Coin Transferee #6341    [Address on File]     5/21/2023 Bitcoin                                     0.22 Customer Transfer
 Confidential Customer Coin Transferee #6341    [Address on File]     5/23/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #6341    [Address on File]     5/24/2023 Bitcoin                                    0.135 Customer Transfer
 Confidential Customer Coin Transferee #6341    [Address on File]     5/29/2023 Bitcoin                                    0.125 Customer Transfer
 Confidential Customer Coin Transferee #6342    [Address on File]     5/18/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #6342    [Address on File]     5/18/2023 Bitcoin                                    0.082 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6343    [Address on File]     6/20/2023 Bitcoin                             0.00042787 Customer Transfer
 Confidential Customer Coin Transferee #6344    [Address on File]     6/20/2023 Bitcoin                             0.00017613 Customer Transfer
 Confidential Customer Coin Transferee #6345    [Address on File]     5/22/2023 Bitcoin                                 0.02137 Customer Transfer
 Confidential Customer Coin Transferee #6346    [Address on File]     5/24/2023 Bitcoin                             0.00074433 Customer Transfer
 Confidential Customer Coin Transferee #6346    [Address on File]     5/16/2023 Bitcoin                             0.00033817 Customer Transfer
 Confidential Customer Coin Transferee #6347    [Address on File]     5/24/2023 Bitcoin                                  0.0044 Customer Transfer
 Confidential Customer Coin Transferee #6348    [Address on File]      6/3/2023 Bitcoin                              0.0075865 Customer Transfer
 Confidential Customer Coin Transferee #6349    [Address on File]     5/23/2023 Bitcoin                             0.01053608 Customer Transfer
 Confidential Customer Coin Transferee #6350    [Address on File]     5/26/2023 Bitcoin                             0.10916088 Customer Transfer
 Confidential Customer Coin Transferee #6350    [Address on File]      6/6/2023 Bitcoin                             0.07882664 Customer Transfer
 Confidential Customer Coin Transferee #6350    [Address on File]     5/16/2023 Bitcoin                             0.07817598 Customer Transfer
 Confidential Customer Coin Transferee #6350    [Address on File]      6/9/2023 Bitcoin                             0.05617758 Customer Transfer
 Confidential Customer Coin Transferee #6350    [Address on File]     6/18/2023 Bitcoin                             0.00580422 Customer Transfer
 Confidential Customer Coin Transferee #6351    [Address on File]     6/19/2023 Bitcoin                             0.00005821 Customer Transfer
 Confidential Customer Coin Transferee #6352    [Address on File]     5/22/2023 Bitcoin                             0.50504878 Customer Transfer
 Confidential Customer Coin Transferee #6353    [Address on File]     6/19/2023 Bitcoin                             0.05958561 Customer Transfer

 Confidential Customer Coin Transferee #6354    [Address on File]     6/19/2023 Bitcoin                                0.00455118 Customer Transfer
 Confidential Customer Coin Transferee #6355    [Address on File]     5/18/2023 Bitcoin                                0.00172643 Customer Transfer
 Confidential Customer Coin Transferee #6356    [Address on File]     6/19/2023 Bitcoin                                0.00532938 Customer Transfer
 Confidential Customer Coin Transferee #6357    [Address on File]     5/16/2023 Bitcoin                                0.00281064 Customer Transfer
 Confidential Customer Coin Transferee #6357    [Address on File]     6/19/2023 Bitcoin                                0.00264047 Customer Transfer
 Confidential Customer Coin Transferee #6358    [Address on File]     6/20/2023 Bitcoin                                0.00179387 Customer Transfer
 Confidential Customer Coin Transferee #6359    [Address on File]     6/20/2023 Bitcoin                                0.00004297 Customer Transfer
 Confidential Customer Coin Transferee #6360    [Address on File]     5/21/2023 Bitcoin                                0.03518211 Customer Transfer
 Confidential Customer Coin Transferee #6361    [Address on File]     5/23/2023 Bitcoin                                0.01003904 Customer Transfer
 Confidential Customer Coin Transferee #6362    [Address on File]     6/20/2023 Bitcoin                                0.00292149 Customer Transfer
 Confidential Customer Coin Transferee #6363    [Address on File]     5/26/2023 Bitcoin                                0.00372095 Customer Transfer
 Confidential Customer Coin Transferee #6363    [Address on File]     5/19/2023 Bitcoin                                0.00339447 Customer Transfer
 Confidential Customer Coin Transferee #6364    [Address on File]     5/26/2023 Bitcoin                                 0.0422498 Customer Transfer
 Confidential Customer Coin Transferee #6364    [Address on File]     6/12/2023 Bitcoin                                0.03572382 Customer Transfer
 Confidential Customer Coin Transferee #6365    [Address on File]     5/20/2023 Bitcoin                                0.00444118 Customer Transfer
 Confidential Customer Coin Transferee #6366    [Address on File]     6/19/2023 Bitcoin                                0.00057802 Customer Transfer
 Confidential Customer Coin Transferee #6367    [Address on File]     5/24/2023 Bitcoin                                0.00369331 Customer Transfer
 Confidential Customer Coin Transferee #6368    [Address on File]     5/26/2023 Bitcoin                                0.00364401 Customer Transfer
 Confidential Customer Coin Transferee #6368    [Address on File]     5/19/2023 Bitcoin                                0.00357018 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6369    [Address on File]     6/19/2023 Bitcoin                             0.00202991 Customer Transfer
 Confidential Customer Coin Transferee #6370    [Address on File]     5/25/2023 Bitcoin                             0.01005313 Customer Transfer
 Confidential Customer Coin Transferee #6370    [Address on File]     6/14/2023 Bitcoin                             0.00219228 Customer Transfer
 Confidential Customer Coin Transferee #6370    [Address on File]      6/1/2023 Bitcoin                             0.00146483 Customer Transfer
 Confidential Customer Coin Transferee #6370    [Address on File]     5/24/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #6371    [Address on File]     6/19/2023 Bitcoin                             0.00005811 Customer Transfer

 Confidential Customer Coin Transferee #6372    [Address on File]     6/19/2023 Bitcoin                                0.10022371 Customer Transfer
 Confidential Customer Coin Transferee #6373    [Address on File]     5/18/2023 Bitcoin                                0.00898586 Customer Transfer
 Confidential Customer Coin Transferee #6374    [Address on File]     6/20/2023 Bitcoin                                 0.0002093 Customer Transfer
 Confidential Customer Coin Transferee #6375    [Address on File]     5/19/2023 Bitcoin                                0.03749341 Customer Transfer
 Confidential Customer Coin Transferee #6375    [Address on File]     5/30/2023 Bitcoin                                0.03600578 Customer Transfer
 Confidential Customer Coin Transferee #6376    [Address on File]     5/18/2023 Bitcoin                                0.00515295 Customer Transfer
 Confidential Customer Coin Transferee #6376    [Address on File]     5/16/2023 Bitcoin                                0.00361794 Customer Transfer
 Confidential Customer Coin Transferee #6377    [Address on File]     5/19/2023 Bitcoin                                        0.22 Customer Transfer
 Confidential Customer Coin Transferee #6377    [Address on File]     5/19/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #6378    [Address on File]     5/28/2023 Bitcoin                                0.01014472 Customer Transfer
 Confidential Customer Coin Transferee #6379    [Address on File]     6/20/2023 Bitcoin                                0.01125894 Customer Transfer
 Confidential Customer Coin Transferee #6380    [Address on File]     6/20/2023 Bitcoin                                0.02839518 Customer Transfer
 Confidential Customer Coin Transferee #6381    [Address on File]     5/22/2023 Bitcoin                                0.03549158 Customer Transfer
 Confidential Customer Coin Transferee #6382    [Address on File]     6/19/2023 USD Coin                                186.69391 Customer Transfer
 Confidential Customer Coin Transferee #6383    [Address on File]     5/17/2023 Bitcoin                                0.00174373 Customer Transfer
 Confidential Customer Coin Transferee #6384    [Address on File]     6/20/2023 Bitcoin                                0.00039704 Customer Transfer
 Confidential Customer Coin Transferee #6385    [Address on File]     6/20/2023 Bitcoin                                0.01066445 Customer Transfer
 Confidential Customer Coin Transferee #6386    [Address on File]     6/20/2023 Bitcoin                                0.00094339 Customer Transfer
 Confidential Customer Coin Transferee #6387    [Address on File]     6/19/2023 Bitcoin                                0.00046868 Customer Transfer

 Confidential Customer Coin Transferee #6388    [Address on File]     5/19/2023 Bitcoin                                0.03287178 Customer Transfer
 Confidential Customer Coin Transferee #6389    [Address on File]     5/22/2023 Bitcoin                                 0.0147737 Customer Transfer
 Confidential Customer Coin Transferee #6390    [Address on File]     5/22/2023 Bitcoin                                0.00352615 Customer Transfer
 Confidential Customer Coin Transferee #6391    [Address on File]     5/20/2023 Bitcoin                                0.01018466 Customer Transfer
 Confidential Customer Coin Transferee #6392    [Address on File]     5/28/2023 Bitcoin                                0.00324195 Customer Transfer
 Confidential Customer Coin Transferee #6392    [Address on File]     5/20/2023 Bitcoin                                0.00295627 Customer Transfer
 Confidential Customer Coin Transferee #6392    [Address on File]     5/25/2023 Bitcoin                                   0.001894 Customer Transfer
 Confidential Customer Coin Transferee #6392    [Address on File]     5/17/2023 Bitcoin                                 0.0007192 Customer Transfer
 Confidential Customer Coin Transferee #6393    [Address on File]     6/20/2023 Bitcoin                                0.00119956 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6394    [Address on File]     5/19/2023 Bitcoin                             0.01009428 Customer Transfer

 Confidential Customer Coin Transferee #6395    [Address on File]     5/17/2023 Bitcoin                             0.06628182 Customer Transfer
 Confidential Customer Coin Transferee #6396    [Address on File]     5/25/2023 Bitcoin                             0.02792608 Customer Transfer
 Confidential Customer Coin Transferee #6397    [Address on File]     6/20/2023 Bitcoin                             0.07036771 Customer Transfer
 Confidential Customer Coin Transferee #6398    [Address on File]      6/5/2023 USDC Avalanche)                    1452.363818 Customer Transfer
 Confidential Customer Coin Transferee #6398    [Address on File]     6/21/2023 USDC Avalanche)                    1192.108409 Customer Transfer
 Confidential Customer Coin Transferee #6398    [Address on File]      6/3/2023 USDC Avalanche)                     871.167299 Customer Transfer
 Confidential Customer Coin Transferee #6398    [Address on File]     6/13/2023 USDC Avalanche)                      483.87806 Customer Transfer
 Confidential Customer Coin Transferee #6398    [Address on File]      6/3/2023 USDC Avalanche)                     483.789726 Customer Transfer
 Confidential Customer Coin Transferee #6398    [Address on File]     6/21/2023 USDC Avalanche)                     385.821044 Customer Transfer
 Confidential Customer Coin Transferee #6398    [Address on File]     5/24/2023 USDC Avalanche)                     241.747475 Customer Transfer
 Confidential Customer Coin Transferee #6398    [Address on File]     6/21/2023 USDC Avalanche)                     196.691909 Customer Transfer
 Confidential Customer Coin Transferee #6398    [Address on File]     5/24/2023 USDC Avalanche)                     193.331333 Customer Transfer
 Confidential Customer Coin Transferee #6398    [Address on File]     6/13/2023 USDC Avalanche)                      97.461015 Customer Transfer
 Confidential Customer Coin Transferee #6398    [Address on File]     5/24/2023 USDC Avalanche)                      47.995601 Customer Transfer
 Confidential Customer Coin Transferee #6399    [Address on File]      6/2/2023 Bitcoin                             0.00555144 Customer Transfer
 Confidential Customer Coin Transferee #6400    [Address on File]     5/23/2023 Bitcoin                             0.02358519 Customer Transfer
 Confidential Customer Coin Transferee #6401    [Address on File]     5/17/2023 Bitcoin                             0.01364838 Customer Transfer
 Confidential Customer Coin Transferee #6402    [Address on File]     6/20/2023 Bitcoin                             0.00145907 Customer Transfer
 Confidential Customer Coin Transferee #6403    [Address on File]     6/20/2023 Bitcoin                             0.00058922 Customer Transfer
 Confidential Customer Coin Transferee #6404    [Address on File]     5/29/2023 Bitcoin                              0.0129886 Customer Transfer
 Confidential Customer Coin Transferee #6404    [Address on File]     5/22/2023 Bitcoin                             0.01243266 Customer Transfer
 Confidential Customer Coin Transferee #6405    [Address on File]     6/19/2023 Bitcoin                             0.00307514 Customer Transfer
 Confidential Customer Coin Transferee #6406    [Address on File]     6/20/2023 Bitcoin                             0.00289282 Customer Transfer
 Confidential Customer Coin Transferee #6407    [Address on File]     6/19/2023 Bitcoin                             0.00335888 Customer Transfer
 Confidential Customer Coin Transferee #6408    [Address on File]     6/20/2023 Bitcoin                             0.01206391 Customer Transfer
 Confidential Customer Coin Transferee #6409    [Address on File]     5/29/2023 Bitcoin                             0.00556291 Customer Transfer
 Confidential Customer Coin Transferee #6410    [Address on File]     5/19/2023 Bitcoin                             0.00176984 Customer Transfer
 Confidential Customer Coin Transferee #6411    [Address on File]     5/20/2023 Bitcoin                             0.01018323 Customer Transfer
 Confidential Customer Coin Transferee #6412    [Address on File]     6/20/2023 Bitcoin                             0.00019613 Customer Transfer
 Confidential Customer Coin Transferee #6413    [Address on File]     6/19/2023 Bitcoin                             0.00041183 Customer Transfer
 Confidential Customer Coin Transferee #6414    [Address on File]     6/20/2023 Bitcoin                             0.00013948 Customer Transfer
 Confidential Customer Coin Transferee #6415    [Address on File]      6/7/2023 Bitcoin                             0.11518906 Customer Transfer
 Confidential Customer Coin Transferee #6416    [Address on File]     5/30/2023 Bitcoin                             0.05214002 Customer Transfer
 Confidential Customer Coin Transferee #6417    [Address on File]     6/20/2023 Bitcoin                             0.00447295 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6418    [Address on File]     5/16/2023 USDC Avalanche)                     307.117153 Customer Transfer
 Confidential Customer Coin Transferee #6418    [Address on File]     5/16/2023 Cosmos Hub ATOM)                      3.028299 Customer Transfer
 Confidential Customer Coin Transferee #6419    [Address on File]     5/25/2023 Bitcoin                             0.01823129 Customer Transfer
 Confidential Customer Coin Transferee #6419    [Address on File]     5/21/2023 Bitcoin                             0.00397238 Customer Transfer
 Confidential Customer Coin Transferee #6420    [Address on File]     6/20/2023 Bitcoin                             0.00374751 Customer Transfer
 Confidential Customer Coin Transferee #6421    [Address on File]      6/6/2023 Bitcoin                             0.00034862 Customer Transfer
 Confidential Customer Coin Transferee #6422    [Address on File]     5/28/2023 Bitcoin                             0.01067878 Customer Transfer
 Confidential Customer Coin Transferee #6423    [Address on File]     6/20/2023 Bitcoin                             0.00777619 Customer Transfer
 Confidential Customer Coin Transferee #6423    [Address on File]      6/5/2023 Bitcoin                             0.00551135 Customer Transfer
 Confidential Customer Coin Transferee #6423    [Address on File]     5/24/2023 Bitcoin                             0.00369083 Customer Transfer
 Confidential Customer Coin Transferee #6424    [Address on File]     6/20/2023 Bitcoin                             0.00485098 Customer Transfer
 Confidential Customer Coin Transferee #6425    [Address on File]     6/20/2023 Bitcoin                             0.00004385 Customer Transfer
 Confidential Customer Coin Transferee #6426    [Address on File]     5/27/2023 CFV                                    2308.08 Customer Transfer
 Confidential Customer Coin Transferee #6426    [Address on File]     5/27/2023 USD Coin                             256.45336 Customer Transfer
 Confidential Customer Coin Transferee #6427    [Address on File]     5/18/2023 Bitcoin                             0.37430958 Customer Transfer
 Confidential Customer Coin Transferee #6428    [Address on File]     6/20/2023 Bitcoin                             0.00034931 Customer Transfer
 Confidential Customer Coin Transferee #6429    [Address on File]     6/20/2023 Bitcoin                             0.00216805 Customer Transfer
 Confidential Customer Coin Transferee #6430    [Address on File]     6/14/2023 Bitcoin                             0.00286073 Customer Transfer
 Confidential Customer Coin Transferee #6431    [Address on File]     6/19/2023 Bitcoin                             0.00197407 Customer Transfer
 Confidential Customer Coin Transferee #6432    [Address on File]     6/20/2023 Bitcoin                             0.00931253 Customer Transfer
 Confidential Customer Coin Transferee #6433    [Address on File]     5/19/2023 Bitcoin                             0.02755212 Customer Transfer
 Confidential Customer Coin Transferee #6433    [Address on File]     5/22/2023 Bitcoin                             0.00184489 Customer Transfer
 Confidential Customer Coin Transferee #6434    [Address on File]     6/19/2023 Bitcoin                             0.00005824 Customer Transfer
 Confidential Customer Coin Transferee #6435    [Address on File]     6/16/2023 Bitcoin                             0.03424678 Customer Transfer
 Confidential Customer Coin Transferee #6436    [Address on File]     5/19/2023 Bitcoin                             0.01589514 Customer Transfer
 Confidential Customer Coin Transferee #6437    [Address on File]     5/23/2023 Bitcoin                             0.01138903 Customer Transfer
 Confidential Customer Coin Transferee #6437    [Address on File]     5/29/2023 Bitcoin                             0.01114553 Customer Transfer
 Confidential Customer Coin Transferee #6438    [Address on File]     5/23/2023 Bitcoin                             0.01005134 Customer Transfer
 Confidential Customer Coin Transferee #6439    [Address on File]     5/23/2023 Bitcoin                              0.0093424 Customer Transfer
 Confidential Customer Coin Transferee #6439    [Address on File]     5/16/2023 Bitcoin                             0.00842051 Customer Transfer
 Confidential Customer Coin Transferee #6440    [Address on File]     6/13/2023 USDC Avalanche)                     198.320671 Customer Transfer
 Confidential Customer Coin Transferee #6441    [Address on File]     5/21/2023 Bitcoin                             0.03323543 Customer Transfer

 Confidential Customer Coin Transferee #6442    [Address on File]     5/17/2023 Bitcoin                                0.01162555 Customer Transfer

 Confidential Customer Coin Transferee #6442    [Address on File]     5/17/2023 Bitcoin                                0.01118293 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #6442    [Address on File]     5/17/2023 Bitcoin                                0.01062339 Customer Transfer
 Confidential Customer Coin Transferee #6443    [Address on File]     6/20/2023 Bitcoin                                0.00599201 Customer Transfer

 Confidential Customer Coin Transferee #6444    [Address on File]     5/18/2023 Bitcoin                                0.01109646 Customer Transfer
 Confidential Customer Coin Transferee #6445    [Address on File]      6/1/2023 USDC Avalanche)                        193.302678 Customer Transfer
 Confidential Customer Coin Transferee #6445    [Address on File]     6/10/2023 USDC Avalanche)                        193.293353 Customer Transfer
 Confidential Customer Coin Transferee #6445    [Address on File]     5/16/2023 USDC Avalanche)                         96.430713 Customer Transfer
 Confidential Customer Coin Transferee #6445    [Address on File]     6/21/2023 Cosmos Hub ATOM)                        21.754161 Customer Transfer
 Confidential Customer Coin Transferee #6446    [Address on File]     5/17/2023 Bitcoin                                0.00091217 Customer Transfer
 Confidential Customer Coin Transferee #6446    [Address on File]     5/21/2023 Bitcoin                                0.00090313 Customer Transfer
 Confidential Customer Coin Transferee #6447    [Address on File]      6/1/2023 Bitcoin                                0.00369281 Customer Transfer
 Confidential Customer Coin Transferee #6448    [Address on File]     5/23/2023 Bitcoin                                 0.0105837 Customer Transfer
 Confidential Customer Coin Transferee #6449    [Address on File]      6/1/2023 Bitcoin                                0.01058143 Customer Transfer
 Confidential Customer Coin Transferee #6450    [Address on File]     5/19/2023 Bitcoin                                0.59820241 Customer Transfer
 Confidential Customer Coin Transferee #6450    [Address on File]     5/23/2023 Bitcoin                                0.20207309 Customer Transfer
 Confidential Customer Coin Transferee #6450    [Address on File]     5/18/2023 Bitcoin                                0.02510272 Customer Transfer
 Confidential Customer Coin Transferee #6451    [Address on File]     6/17/2023 Bitcoin                                0.03816772 Customer Transfer
 Confidential Customer Coin Transferee #6452    [Address on File]     6/20/2023 Bitcoin                                0.00351745 Customer Transfer
 Confidential Customer Coin Transferee #6453    [Address on File]     5/25/2023 Bitcoin                                0.02676576 Customer Transfer
 Confidential Customer Coin Transferee #6454    [Address on File]      6/9/2023 Bitcoin                                0.01446537 Customer Transfer
 Confidential Customer Coin Transferee #6455    [Address on File]     6/20/2023 Bitcoin                                0.00072379 Customer Transfer
 Confidential Customer Coin Transferee #6456    [Address on File]     6/19/2023 Bitcoin                                0.00273761 Customer Transfer
 Confidential Customer Coin Transferee #6457    [Address on File]     5/17/2023 Bitcoin                                 0.0091415 Customer Transfer
 Confidential Customer Coin Transferee #6458    [Address on File]     5/16/2023 Bitcoin                                0.01017129 Customer Transfer
 Confidential Customer Coin Transferee #6459    [Address on File]     6/13/2023 Bitcoin                                0.00760158 Customer Transfer
 Confidential Customer Coin Transferee #6460    [Address on File]     5/22/2023 Bitcoin                                0.05683652 Customer Transfer
 Confidential Customer Coin Transferee #6461    [Address on File]     6/20/2023 Bitcoin                                0.00070523 Customer Transfer
 Confidential Customer Coin Transferee #6462    [Address on File]     6/20/2023 Bitcoin                                0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #6463    [Address on File]     5/18/2023 Bitcoin                                0.01162592 Customer Transfer
 Confidential Customer Coin Transferee #6464    [Address on File]     5/27/2023 Bitcoin                                0.00883745 Customer Transfer
 Confidential Customer Coin Transferee #6464    [Address on File]     5/20/2023 Bitcoin                                0.00735942 Customer Transfer
 Confidential Customer Coin Transferee #6465    [Address on File]     6/20/2023 Bitcoin                                 0.0004885 Customer Transfer
 Confidential Customer Coin Transferee #6466    [Address on File]     5/22/2023 Bitcoin                                 0.0103481 Customer Transfer
 Confidential Customer Coin Transferee #6467    [Address on File]     5/23/2023 Bitcoin                                0.01421768 Customer Transfer
 Confidential Customer Coin Transferee #6468    [Address on File]     6/20/2023 Bitcoin                                   0.002076 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6469    [Address on File]     5/22/2023 Bitcoin                              0.0104993 Customer Transfer
 Confidential Customer Coin Transferee #6470    [Address on File]     6/19/2023 Bitcoin                             0.00005805 Customer Transfer
 Confidential Customer Coin Transferee #6471    [Address on File]     5/24/2023 Bitcoin                             0.00750695 Customer Transfer
 Confidential Customer Coin Transferee #6471    [Address on File]     5/22/2023 Bitcoin                             0.00371435 Customer Transfer
 Confidential Customer Coin Transferee #6472    [Address on File]     5/23/2023 Bitcoin                             0.00186198 Customer Transfer
 Confidential Customer Coin Transferee #6472    [Address on File]     5/17/2023 Bitcoin                             0.00169583 Customer Transfer
 Confidential Customer Coin Transferee #6473    [Address on File]     6/20/2023 Bitcoin                             0.00128843 Customer Transfer
 Confidential Customer Coin Transferee #6474    [Address on File]     5/25/2023 Bitcoin                             0.02700238 Customer Transfer
 Confidential Customer Coin Transferee #6475    [Address on File]     5/24/2023 Bitcoin                             0.00351384 Customer Transfer
 Confidential Customer Coin Transferee #6475    [Address on File]     5/17/2023 Bitcoin                             0.00343056 Customer Transfer
 Confidential Customer Coin Transferee #6476    [Address on File]     5/18/2023 Bitcoin                             0.00067852 Customer Transfer
 Confidential Customer Coin Transferee #6477    [Address on File]      6/2/2023 USD Coin                                 0.9995 Customer Transfer
 Confidential Customer Coin Transferee #6478    [Address on File]     6/20/2023 Bitcoin                             0.00625678 Customer Transfer
 Confidential Customer Coin Transferee #6479    [Address on File]     5/23/2023 Bitcoin                             0.04159545 Customer Transfer
 Confidential Customer Coin Transferee #6480    [Address on File]     6/20/2023 Bitcoin                             0.11020854 Customer Transfer
 Confidential Customer Coin Transferee #6481    [Address on File]      6/6/2023 Bitcoin                             0.01165212 Customer Transfer
 Confidential Customer Coin Transferee #6481    [Address on File]      6/5/2023 Bitcoin                             0.01097571 Customer Transfer
 Confidential Customer Coin Transferee #6481    [Address on File]     5/22/2023 Bitcoin                             0.00368387 Customer Transfer
 Confidential Customer Coin Transferee #6482    [Address on File]     5/26/2023 Bitcoin                             0.00184165 Customer Transfer
 Confidential Customer Coin Transferee #6482    [Address on File]     5/19/2023 Bitcoin                             0.00181096 Customer Transfer
 Confidential Customer Coin Transferee #6483    [Address on File]     6/20/2023 Bitcoin                             0.00406055 Customer Transfer
 Confidential Customer Coin Transferee #6484    [Address on File]     5/16/2023 Bitcoin                             0.06466842 Customer Transfer
 Confidential Customer Coin Transferee #6485    [Address on File]     5/20/2023 Bitcoin                             0.01405932 Customer Transfer
 Confidential Customer Coin Transferee #6486    [Address on File]     6/15/2023 Bitcoin                             0.01166985 Customer Transfer
 Confidential Customer Coin Transferee #6486    [Address on File]     6/20/2023 Bitcoin                             0.00396982 Customer Transfer
 Confidential Customer Coin Transferee #6487    [Address on File]     5/25/2023 Bitcoin                             0.04877075 Customer Transfer
 Confidential Customer Coin Transferee #6488    [Address on File]     5/27/2023 Bitcoin                             0.01349584 Customer Transfer
 Confidential Customer Coin Transferee #6489    [Address on File]     6/19/2023 Bitcoin                             0.00005824 Customer Transfer
 Confidential Customer Coin Transferee #6490    [Address on File]     6/19/2023 Bitcoin                             0.00161205 Customer Transfer
 Confidential Customer Coin Transferee #6491    [Address on File]      6/9/2023 Bitcoin                             0.20467742 Customer Transfer
 Confidential Customer Coin Transferee #6491    [Address on File]     6/19/2023 Bitcoin                             0.00750729 Customer Transfer
 Confidential Customer Coin Transferee #6492    [Address on File]     6/20/2023 Bitcoin                             0.00074351 Customer Transfer
 Confidential Customer Coin Transferee #6493    [Address on File]     6/19/2023 Bitcoin                             0.00076338 Customer Transfer
 Confidential Customer Coin Transferee #6494    [Address on File]     6/20/2023 Bitcoin                             0.00041954 Customer Transfer
 Confidential Customer Coin Transferee #6495    [Address on File]     5/30/2023 Bitcoin                             0.42565804 Customer Transfer
 Confidential Customer Coin Transferee #6495    [Address on File]     5/30/2023 Bitcoin                             0.23863852 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6495    [Address on File]     5/30/2023 Bitcoin                             0.12255958 Customer Transfer
 Confidential Customer Coin Transferee #6495    [Address on File]     5/30/2023 Bitcoin                             0.06304805 Customer Transfer
 Confidential Customer Coin Transferee #6495    [Address on File]     5/30/2023 Bitcoin                             0.06027744 Customer Transfer
 Confidential Customer Coin Transferee #6495    [Address on File]     5/30/2023 Bitcoin                             0.05303102 Customer Transfer
 Confidential Customer Coin Transferee #6495    [Address on File]     5/30/2023 Bitcoin                             0.02369562 Customer Transfer
 Confidential Customer Coin Transferee #6495    [Address on File]     5/30/2023 Bitcoin                             0.01198258 Customer Transfer
 Confidential Customer Coin Transferee #6495    [Address on File]     5/30/2023 Bitcoin                             0.01055696 Customer Transfer
 Confidential Customer Coin Transferee #6495    [Address on File]     5/30/2023 Bitcoin                             0.01040848 Customer Transfer
 Confidential Customer Coin Transferee #6496    [Address on File]      6/6/2023 Bitcoin                              0.0027722 Customer Transfer
 Confidential Customer Coin Transferee #6497    [Address on File]     6/20/2023 Bitcoin                             0.00396009 Customer Transfer
 Confidential Customer Coin Transferee #6498    [Address on File]     6/19/2023 Bitcoin                             0.00032217 Customer Transfer
 Confidential Customer Coin Transferee #6499    [Address on File]     5/20/2023 Bitcoin                              0.0171236 Customer Transfer
 Confidential Customer Coin Transferee #6500    [Address on File]     6/20/2023 Bitcoin                             0.00057842 Customer Transfer
 Confidential Customer Coin Transferee #6501    [Address on File]      6/5/2023 USDC Avalanche)                      32.503748 Customer Transfer
 Confidential Customer Coin Transferee #6501    [Address on File]      6/1/2023 USDC Avalanche)                      32.490505 Customer Transfer
 Confidential Customer Coin Transferee #6501    [Address on File]     5/30/2023 Ether                                  0.018909 Customer Transfer
 Confidential Customer Coin Transferee #6501    [Address on File]     5/30/2023 Ether                                  0.016502 Customer Transfer
 Confidential Customer Coin Transferee #6502    [Address on File]     6/20/2023 Bitcoin                             0.00157126 Customer Transfer
 Confidential Customer Coin Transferee #6503    [Address on File]     5/26/2023 Bitcoin                             0.00361411 Customer Transfer
 Confidential Customer Coin Transferee #6503    [Address on File]     5/19/2023 Bitcoin                             0.00350617 Customer Transfer
 Confidential Customer Coin Transferee #6504    [Address on File]     5/26/2023 Bitcoin                             0.00372028 Customer Transfer
 Confidential Customer Coin Transferee #6505    [Address on File]     6/19/2023 Bitcoin                              0.1644377 Customer Transfer
 Confidential Customer Coin Transferee #6506    [Address on File]     6/20/2023 Bitcoin                             0.00801733 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/24/2023 Bitcoin                             0.00274722 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/18/2023 Bitcoin                             0.00161724 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/25/2023 Bitcoin                              0.0015018 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/19/2023 Bitcoin                             0.00129569 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/31/2023 Bitcoin                              0.0012842 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/19/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/27/2023 Bitcoin                             0.00115377 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/20/2023 Bitcoin                             0.00110998 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/30/2023 Bitcoin                             0.00107717 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/19/2023 Bitcoin                             0.00103619 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/22/2023 Bitcoin                             0.00103585 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/17/2023 Bitcoin                             0.00102969 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/16/2023 Bitcoin                             0.00102224 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/25/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]      6/1/2023 Bitcoin                             0.00092578 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/18/2023 Bitcoin                              0.0008926 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/19/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/25/2023 Bitcoin                             0.00058285 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/25/2023 Bitcoin                             0.00050958 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]      6/2/2023 Bitcoin                             0.00050683 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/26/2023 Bitcoin                             0.00046512 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/26/2023 Bitcoin                                 0.00044 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/16/2023 Bitcoin                             0.00041473 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/31/2023 Bitcoin                             0.00032968 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/28/2023 Bitcoin                             0.00032827 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/16/2023 Bitcoin                             0.00030698 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/19/2023 Bitcoin                             0.00022248 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/16/2023 Bitcoin                                0.000189 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/21/2023 Bitcoin                             0.00018542 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/30/2023 Bitcoin                             0.00017088 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/19/2023 Bitcoin                             0.00013879 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]      6/1/2023 Bitcoin                             0.00011668 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/23/2023 Bitcoin                             0.00004006 Customer Transfer
 Confidential Customer Coin Transferee #6507    [Address on File]     5/29/2023 Bitcoin                             0.00002479 Customer Transfer
 Confidential Customer Coin Transferee #6508    [Address on File]     5/26/2023 Bitcoin                             0.00003938 Customer Transfer
 Confidential Customer Coin Transferee #6509    [Address on File]     5/16/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #6509    [Address on File]     5/20/2023 Bitcoin                                 0.00225 Customer Transfer
 Confidential Customer Coin Transferee #6510    [Address on File]     5/20/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #6510    [Address on File]     5/23/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #6510    [Address on File]     5/26/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #6510    [Address on File]     5/19/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/22/2023 Bitcoin                             0.00083677 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/23/2023 Bitcoin                             0.00080302 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/25/2023 Bitcoin                             0.00076738 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/28/2023 Bitcoin                             0.00075132 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/21/2023 Bitcoin                             0.00074049 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/22/2023 Bitcoin                             0.00047229 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/22/2023 Bitcoin                             0.00045828 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/25/2023 Bitcoin                             0.00045407 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/22/2023 Bitcoin                             0.00045302 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/21/2023 Bitcoin                             0.00044784 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/23/2023 Bitcoin                             0.00044516 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/23/2023 Bitcoin                             0.00042816 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/21/2023 Bitcoin                             0.00042628 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/24/2023 Bitcoin                             0.00040899 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/24/2023 Bitcoin                             0.00039358 Customer Transfer
 Confidential Customer Coin Transferee #6511    [Address on File]     5/20/2023 Bitcoin                             0.00016563 Customer Transfer
 Confidential Customer Coin Transferee #6512    [Address on File]     5/21/2023 Bitcoin                             0.00051629 Customer Transfer
 Confidential Customer Coin Transferee #6513    [Address on File]     5/26/2023 Bitcoin                             0.01880022 Customer Transfer
 Confidential Customer Coin Transferee #6514    [Address on File]     5/20/2023 Bitcoin                             0.01127029 Customer Transfer
 Confidential Customer Coin Transferee #6515    [Address on File]     6/20/2023 Bitcoin                             0.00035681 Customer Transfer
 Confidential Customer Coin Transferee #6516    [Address on File]     5/23/2023 Bitcoin                             0.00892932 Customer Transfer
 Confidential Customer Coin Transferee #6516    [Address on File]     6/19/2023 Bitcoin                             0.00079483 Customer Transfer

 Confidential Customer Coin Transferee #6517    [Address on File]      6/8/2023 Recover Value USD                      23764.8378 Customer Transfer

 Confidential Customer Coin Transferee #6517    [Address on File]      6/7/2023 USD Coin                                3008.6693 Customer Transfer

 Confidential Customer Coin Transferee #6517    [Address on File]      6/8/2023 Recover Value USD                             100 Customer Transfer
 Confidential Customer Coin Transferee #6518    [Address on File]     5/22/2023 Bitcoin                                0.00246616 Customer Transfer
 Confidential Customer Coin Transferee #6519    [Address on File]     5/22/2023 Bitcoin                                0.01042912 Customer Transfer
 Confidential Customer Coin Transferee #6520    [Address on File]     5/26/2023 Bitcoin                                0.01087348 Customer Transfer
 Confidential Customer Coin Transferee #6521    [Address on File]     6/20/2023 Bitcoin                                0.00059032 Customer Transfer
 Confidential Customer Coin Transferee #6522    [Address on File]     5/26/2023 Bitcoin                                0.01050872 Customer Transfer
 Confidential Customer Coin Transferee #6523    [Address on File]     5/16/2023 Bitcoin                                 0.0010966 Customer Transfer
 Confidential Customer Coin Transferee #6524    [Address on File]     5/21/2023 Bitcoin                                0.05132171 Customer Transfer

 Confidential Customer Coin Transferee #6525    [Address on File]     5/19/2023 Bitcoin                                     0.002 Customer Transfer

 Confidential Customer Coin Transferee #6525    [Address on File]     5/19/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #6526    [Address on File]     5/30/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #6527    [Address on File]     5/17/2023 Cardano                            3007.434944 Customer Transfer
 Confidential Customer Coin Transferee #6528    [Address on File]     6/20/2023 Bitcoin                             0.00144178 Customer Transfer

 Confidential Customer Coin Transferee #6529    [Address on File]     5/29/2023 Bitcoin                                0.02552426 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6530    [Address on File]     6/10/2023 USDC Avalanche)                     193.323338 Customer Transfer
 Confidential Customer Coin Transferee #6531    [Address on File]     5/23/2023 Bitcoin                             0.01238341 Customer Transfer
 Confidential Customer Coin Transferee #6532    [Address on File]     5/23/2023 Bitcoin                             0.00189334 Customer Transfer
 Confidential Customer Coin Transferee #6532    [Address on File]     5/30/2023 Bitcoin                             0.00185362 Customer Transfer
 Confidential Customer Coin Transferee #6533    [Address on File]     5/26/2023 Bitcoin                             0.00276076 Customer Transfer
 Confidential Customer Coin Transferee #6533    [Address on File]     5/19/2023 Bitcoin                             0.00271402 Customer Transfer
 Confidential Customer Coin Transferee #6534    [Address on File]     6/19/2023 Bitcoin                             0.00005816 Customer Transfer
 Confidential Customer Coin Transferee #6535    [Address on File]     5/25/2023 Bitcoin                             0.04431855 Customer Transfer
 Confidential Customer Coin Transferee #6535    [Address on File]     5/18/2023 Bitcoin                             0.01761262 Customer Transfer
 Confidential Customer Coin Transferee #6536    [Address on File]      6/6/2023 Bitcoin                             0.01047275 Customer Transfer
 Confidential Customer Coin Transferee #6537    [Address on File]     5/19/2023 Bitcoin                             0.05071979 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/20/2023 Bitcoin                             0.00086933 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/24/2023 Bitcoin                             0.00081834 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/31/2023 Bitcoin                             0.00076956 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/25/2023 Bitcoin                             0.00075794 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/18/2023 Bitcoin                             0.00069684 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/26/2023 Bitcoin                             0.00060179 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/29/2023 Bitcoin                             0.00054588 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/23/2023 Bitcoin                              0.0004548 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/27/2023 Bitcoin                              0.0003807 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/27/2023 Bitcoin                             0.00037239 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/28/2023 Bitcoin                             0.00030333 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/25/2023 Bitcoin                             0.00030308 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/26/2023 Bitcoin                             0.00029429 Customer Transfer
 Confidential Customer Coin Transferee #6538    [Address on File]     5/19/2023 Bitcoin                             0.00015581 Customer Transfer
 Confidential Customer Coin Transferee #6539    [Address on File]     6/20/2023 Bitcoin                             0.00181486 Customer Transfer
 Confidential Customer Coin Transferee #6540    [Address on File]     6/19/2023 Bitcoin                             0.03819643 Customer Transfer
 Confidential Customer Coin Transferee #6541    [Address on File]     5/23/2023 Bitcoin                              0.7623418 Customer Transfer
 Confidential Customer Coin Transferee #6542    [Address on File]     5/24/2023 Bitcoin                             0.00185763 Customer Transfer
 Confidential Customer Coin Transferee #6542    [Address on File]     5/17/2023 Bitcoin                              0.0017264 Customer Transfer
 Confidential Customer Coin Transferee #6543    [Address on File]     5/23/2023 Bitcoin                                    0.19 Customer Transfer
 Confidential Customer Coin Transferee #6543    [Address on File]     5/22/2023 Bitcoin                                   0.004 Customer Transfer
 Confidential Customer Coin Transferee #6544    [Address on File]      6/1/2023 Bitcoin                                1.00E-08 Customer Transfer

 Confidential Customer Coin Transferee #6545    [Address on File]     6/19/2023 Bitcoin                                0.00482457 Customer Transfer
 Confidential Customer Coin Transferee #6546    [Address on File]     6/20/2023 Bitcoin                                0.00057751 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6547    [Address on File]     6/20/2023 Bitcoin                             0.00174182 Customer Transfer
 Confidential Customer Coin Transferee #6548    [Address on File]     5/27/2023 Bitcoin                             0.02155067 Customer Transfer
 Confidential Customer Coin Transferee #6548    [Address on File]     5/27/2023 Bitcoin                             0.00487255 Customer Transfer
 Confidential Customer Coin Transferee #6549    [Address on File]     6/20/2023 Bitcoin                             0.00005921 Customer Transfer
 Confidential Customer Coin Transferee #6550    [Address on File]      6/5/2023 Bitcoin                             0.01030845 Customer Transfer
 Confidential Customer Coin Transferee #6551    [Address on File]     5/18/2023 Bitcoin                             0.00205664 Customer Transfer
 Confidential Customer Coin Transferee #6551    [Address on File]     5/21/2023 Bitcoin                             0.00203457 Customer Transfer
 Confidential Customer Coin Transferee #6551    [Address on File]     5/20/2023 Bitcoin                             0.00202125 Customer Transfer
 Confidential Customer Coin Transferee #6551    [Address on File]     5/30/2023 Bitcoin                             0.00200341 Customer Transfer
 Confidential Customer Coin Transferee #6551    [Address on File]     5/22/2023 Bitcoin                             0.00200221 Customer Transfer
 Confidential Customer Coin Transferee #6551    [Address on File]     5/27/2023 Bitcoin                             0.00195161 Customer Transfer
 Confidential Customer Coin Transferee #6551    [Address on File]     5/23/2023 Bitcoin                             0.00186856 Customer Transfer
 Confidential Customer Coin Transferee #6551    [Address on File]     5/30/2023 Bitcoin                             0.00186683 Customer Transfer
 Confidential Customer Coin Transferee #6551    [Address on File]     5/20/2023 Bitcoin                             0.00184265 Customer Transfer
 Confidential Customer Coin Transferee #6551    [Address on File]     5/23/2023 Bitcoin                              0.0016471 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/21/2023 Bitcoin                             0.07286433 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/23/2023 Bitcoin                             0.04435296 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/17/2023 Bitcoin                              0.0369799 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/16/2023 Bitcoin                             0.03373126 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/29/2023 Bitcoin                             0.03189501 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/25/2023 Bitcoin                             0.01900074 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/24/2023 Bitcoin                             0.01872957 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/22/2023 Bitcoin                             0.00925917 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/30/2023 Bitcoin                             0.00711924 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/21/2023 Bitcoin                                   0.005 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/29/2023 Bitcoin                                   0.005 Customer Transfer
 Confidential Customer Coin Transferee #6552    [Address on File]     5/16/2023 Bitcoin                                   0.003 Customer Transfer
 Confidential Customer Coin Transferee #6553    [Address on File]     5/21/2023 Bitcoin                             0.05292858 Customer Transfer
 Confidential Customer Coin Transferee #6554    [Address on File]     5/17/2023 Bitcoin                             0.00926638 Customer Transfer
 Confidential Customer Coin Transferee #6555    [Address on File]     5/30/2023 Bitcoin                             0.00948452 Customer Transfer
 Confidential Customer Coin Transferee #6556    [Address on File]     5/16/2023 Bitcoin                             0.01758241 Customer Transfer
 Confidential Customer Coin Transferee #6557    [Address on File]     5/22/2023 Bitcoin                                   0.015 Customer Transfer
 Confidential Customer Coin Transferee #6558    [Address on File]     5/22/2023 Bitcoin                             0.00185144 Customer Transfer
 Confidential Customer Coin Transferee #6559    [Address on File]     5/19/2023 Bitcoin                             0.01639712 Customer Transfer
 Confidential Customer Coin Transferee #6560    [Address on File]     5/27/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #6560    [Address on File]     5/16/2023 Bitcoin                                    0.05 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #6560    [Address on File]     5/19/2023 Bitcoin                                      0.05 Customer Transfer
 Confidential Customer Coin Transferee #6561    [Address on File]     5/24/2023 Bitcoin                             0.00206398 Customer Transfer
 Confidential Customer Coin Transferee #6561    [Address on File]     5/19/2023 Bitcoin                              0.0009852 Customer Transfer
 Confidential Customer Coin Transferee #6562    [Address on File]     5/19/2023 Bitcoin                              0.0115047 Customer Transfer
 Confidential Customer Coin Transferee #6562    [Address on File]     5/29/2023 Bitcoin                             0.01014928 Customer Transfer
 Confidential Customer Coin Transferee #6562    [Address on File]     5/29/2023 Bitcoin                                0.009498 Customer Transfer
 Confidential Customer Coin Transferee #6562    [Address on File]     5/23/2023 Bitcoin                              0.0073151 Customer Transfer
 Confidential Customer Coin Transferee #6562    [Address on File]     5/27/2023 Bitcoin                             0.00715348 Customer Transfer
 Confidential Customer Coin Transferee #6562    [Address on File]     5/31/2023 Bitcoin                             0.00698944 Customer Transfer
 Confidential Customer Coin Transferee #6562    [Address on File]     5/25/2023 Bitcoin                             0.00676987 Customer Transfer
 Confidential Customer Coin Transferee #6562    [Address on File]     5/25/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #6562    [Address on File]     5/27/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #6562    [Address on File]     5/27/2023 Bitcoin                             0.00372073 Customer Transfer
 Confidential Customer Coin Transferee #6562    [Address on File]     5/31/2023 Bitcoin                             0.00146694 Customer Transfer
 Confidential Customer Coin Transferee #6563    [Address on File]     6/20/2023 Bitcoin                             0.00063927 Customer Transfer
 Confidential Customer Coin Transferee #6564    [Address on File]     5/24/2023 Bitcoin                             0.00192158 Customer Transfer
 Confidential Customer Coin Transferee #6565    [Address on File]     5/22/2023 Bitcoin                              0.0021149 Customer Transfer
 Confidential Customer Coin Transferee #6566    [Address on File]     5/27/2023 Bitcoin                              0.0185782 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/25/2023 Bitcoin                             0.00304126 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/25/2023 Bitcoin                             0.00284071 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/25/2023 Bitcoin                             0.00259882 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/18/2023 Bitcoin                             0.00200637 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/24/2023 Bitcoin                             0.00192985 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/20/2023 Bitcoin                             0.00185118 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/24/2023 Bitcoin                             0.00179302 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]      6/1/2023 Bitcoin                             0.00156568 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]      6/1/2023 Bitcoin                                   0.0014 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/20/2023 Bitcoin                             0.00129555 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/19/2023 Bitcoin                             0.00129505 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/26/2023 Bitcoin                             0.00113245 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/27/2023 Bitcoin                             0.00060773 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/22/2023 Bitcoin                             0.00039712 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/26/2023 Bitcoin                             0.00029383 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/27/2023 Bitcoin                             0.00014683 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/30/2023 Bitcoin                             0.00014151 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/21/2023 Bitcoin                             0.00007266 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/21/2023 Bitcoin                             0.00007243 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/23/2023 Bitcoin                             0.00007162 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/21/2023 Bitcoin                             0.00006561 Customer Transfer
 Confidential Customer Coin Transferee #6567    [Address on File]     5/17/2023 Bitcoin                             0.00003489 Customer Transfer
 Confidential Customer Coin Transferee #6568    [Address on File]     5/21/2023 Bitcoin                             0.01223255 Customer Transfer
 Confidential Customer Coin Transferee #6569    [Address on File]      6/8/2023 Bitcoin                             0.00206974 Customer Transfer
 Confidential Customer Coin Transferee #6570    [Address on File]     6/20/2023 Bitcoin                             0.00059329 Customer Transfer
 Confidential Customer Coin Transferee #6571    [Address on File]     6/19/2023 Bitcoin                             0.00120453 Customer Transfer
 Confidential Customer Coin Transferee #6572    [Address on File]     6/20/2023 Bitcoin                             0.00004325 Customer Transfer
 Confidential Customer Coin Transferee #6573    [Address on File]     5/16/2023 Bitcoin                             0.00235542 Customer Transfer
 Confidential Customer Coin Transferee #6573    [Address on File]     5/23/2023 Bitcoin                             0.00206178 Customer Transfer
 Confidential Customer Coin Transferee #6574    [Address on File]     5/26/2023 Bitcoin                             0.00373134 Customer Transfer
 Confidential Customer Coin Transferee #6574    [Address on File]     5/19/2023 Bitcoin                             0.00339919 Customer Transfer
 Confidential Customer Coin Transferee #6575    [Address on File]     6/20/2023 Bitcoin                             0.00169449 Customer Transfer
 Confidential Customer Coin Transferee #6576    [Address on File]     5/19/2023 Bitcoin                             0.00461559 Customer Transfer
 Confidential Customer Coin Transferee #6576    [Address on File]      6/6/2023 Bitcoin                             0.00363695 Customer Transfer
 Confidential Customer Coin Transferee #6577    [Address on File]     6/20/2023 Bitcoin                             0.00167107 Customer Transfer
 Confidential Customer Coin Transferee #6578    [Address on File]     6/19/2023 Bitcoin                             0.00283025 Customer Transfer
 Confidential Customer Coin Transferee #6579    [Address on File]     6/19/2023 Bitcoin                             0.00035233 Customer Transfer
 Confidential Customer Coin Transferee #6580    [Address on File]     6/20/2023 Bitcoin                             0.00220992 Customer Transfer
 Confidential Customer Coin Transferee #6581    [Address on File]     5/19/2023 Bitcoin                             0.90192761 Customer Transfer
 Confidential Customer Coin Transferee #6581    [Address on File]     5/18/2023 Bitcoin                                   0.0259 Customer Transfer
 Confidential Customer Coin Transferee #6581    [Address on File]     5/18/2023 Bitcoin                                 0.01179 Customer Transfer
 Confidential Customer Coin Transferee #6582    [Address on File]     6/19/2023 Bitcoin                             0.00033378 Customer Transfer
 Confidential Customer Coin Transferee #6583    [Address on File]     6/20/2023 Bitcoin                              0.0000369 Customer Transfer
 Confidential Customer Coin Transferee #6584    [Address on File]     5/25/2023 Bitcoin                             0.00263265 Customer Transfer
 Confidential Customer Coin Transferee #6584    [Address on File]     5/19/2023 Bitcoin                             0.00109112 Customer Transfer
 Confidential Customer Coin Transferee #6584    [Address on File]     5/16/2023 Bitcoin                             0.00075242 Customer Transfer
 Confidential Customer Coin Transferee #6585    [Address on File]     6/20/2023 Bitcoin                             0.00040674 Customer Transfer
 Confidential Customer Coin Transferee #6586    [Address on File]     5/17/2023 Bitcoin                             0.02615165 Customer Transfer
 Confidential Customer Coin Transferee #6587    [Address on File]     5/19/2023 Bitcoin                             0.01091933 Customer Transfer
 Confidential Customer Coin Transferee #6588    [Address on File]     6/19/2023 Bitcoin                             0.00006001 Customer Transfer
 Confidential Customer Coin Transferee #6589    [Address on File]      6/2/2023 Bitcoin                             0.00638189 Customer Transfer
 Confidential Customer Coin Transferee #6590    [Address on File]     5/24/2023 Bitcoin                             0.00037943 Customer Transfer
 Confidential Customer Coin Transferee #6590    [Address on File]     5/17/2023 Bitcoin                                0.000337 Customer Transfer
 Confidential Customer Coin Transferee #6591    [Address on File]     6/20/2023 Bitcoin                             0.00288653 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #6592    [Address on File]     5/25/2023 Bitcoin                              0.0100903 Customer Transfer
 Confidential Customer Coin Transferee #6593    [Address on File]     6/20/2023 Bitcoin                             0.00212841 Customer Transfer
 Confidential Customer Coin Transferee #6594    [Address on File]     5/27/2023 Bitcoin                             0.00092995 Customer Transfer
 Confidential Customer Coin Transferee #6595    [Address on File]     5/19/2023 Bitcoin                             0.01042471 Customer Transfer
 Confidential Customer Coin Transferee #6596    [Address on File]     6/20/2023 Bitcoin                              0.0008723 Customer Transfer
 Confidential Customer Coin Transferee #6597    [Address on File]     5/23/2023 Bitcoin                             0.03155079 Customer Transfer
 Confidential Customer Coin Transferee #6597    [Address on File]     5/16/2023 Bitcoin                             0.00363354 Customer Transfer
 Confidential Customer Coin Transferee #6598    [Address on File]      6/2/2023 Bitcoin                             0.02999871 Customer Transfer
 Confidential Customer Coin Transferee #6599    [Address on File]     6/20/2023 Bitcoin                             0.00781424 Customer Transfer
 Confidential Customer Coin Transferee #6600    [Address on File]     5/17/2023 Bitcoin                                0.036939 Customer Transfer
 Confidential Customer Coin Transferee #6600    [Address on File]     5/17/2023 Bitcoin                                 0.02217 Customer Transfer
 Confidential Customer Coin Transferee #6600    [Address on File]     5/29/2023 Bitcoin                                 0.02169 Customer Transfer
 Confidential Customer Coin Transferee #6600    [Address on File]     5/23/2023 Bitcoin                                 0.02022 Customer Transfer
 Confidential Customer Coin Transferee #6601    [Address on File]     5/24/2023 Bitcoin                                      0.04 Customer Transfer
 Confidential Customer Coin Transferee #6602    [Address on File]     5/26/2023 Bitcoin                             0.00513776 Customer Transfer
 Confidential Customer Coin Transferee #6602    [Address on File]     5/19/2023 Bitcoin                             0.00417921 Customer Transfer
 Confidential Customer Coin Transferee #6603    [Address on File]     6/19/2023 Bitcoin                             0.00011304 Customer Transfer
 Confidential Customer Coin Transferee #6604    [Address on File]     5/20/2023 Bitcoin                             0.01695606 Customer Transfer
 Confidential Customer Coin Transferee #6605    [Address on File]     5/24/2023 Bitcoin                             0.02371617 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/26/2023 Bitcoin                             0.02821668 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/19/2023 Bitcoin                             0.02767118 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/27/2023 Bitcoin                             0.01673074 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/27/2023 Bitcoin                             0.00358756 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/25/2023 Bitcoin                             0.00292353 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/21/2023 Bitcoin                                   0.0028 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/22/2023 Bitcoin                                   0.0028 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/21/2023 Bitcoin                             0.00209234 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/26/2023 Bitcoin                             0.00172609 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/21/2023 Bitcoin                             0.00114533 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/22/2023 Bitcoin                             0.00093547 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/23/2023 Bitcoin                             0.00092947 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/23/2023 Bitcoin                             0.00089614 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/20/2023 Bitcoin                             0.00075213 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/20/2023 Bitcoin                                0.000728 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/25/2023 Bitcoin                             0.00065921 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/18/2023 Bitcoin                             0.00051019 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/18/2023 Bitcoin                             0.00049457 Customer Transfer
 Confidential Customer Coin Transferee #6606    [Address on File]     5/27/2023 Bitcoin                             0.00047922 Customer Transfer
 Confidential Customer Coin Transferee #6607    [Address on File]     5/20/2023 Bitcoin                             0.00586303 Customer Transfer
 Confidential Customer Coin Transferee #6608    [Address on File]     5/22/2023 Bitcoin                             0.00185504 Customer Transfer
 Confidential Customer Coin Transferee #6609    [Address on File]     6/19/2023 Bitcoin                             0.00067715 Customer Transfer
 Confidential Customer Coin Transferee #6610    [Address on File]     6/20/2023 Bitcoin                             0.00022073 Customer Transfer
 Confidential Customer Coin Transferee #6611    [Address on File]     6/20/2023 Bitcoin                             0.00059465 Customer Transfer
 Confidential Customer Coin Transferee #6612    [Address on File]     5/22/2023 Bitcoin                             0.00425831 Customer Transfer
 Confidential Customer Coin Transferee #6613    [Address on File]     5/26/2023 Bitcoin                             0.11260219 Customer Transfer
 Confidential Customer Coin Transferee #6614    [Address on File]     5/27/2023 Bitcoin                             0.09300928 Customer Transfer
 Confidential Customer Coin Transferee #6614    [Address on File]     5/20/2023 Bitcoin                             0.07400234 Customer Transfer
 Confidential Customer Coin Transferee #6614    [Address on File]     5/24/2023 Bitcoin                             0.07299806 Customer Transfer
 Confidential Customer Coin Transferee #6615    [Address on File]     5/22/2023 Bitcoin                              0.0319634 Customer Transfer
 Confidential Customer Coin Transferee #6616    [Address on File]     5/17/2023 Bitcoin                             0.01864954 Customer Transfer
 Confidential Customer Coin Transferee #6616    [Address on File]     5/22/2023 Bitcoin                             0.01859526 Customer Transfer
 Confidential Customer Coin Transferee #6616    [Address on File]     5/19/2023 Bitcoin                             0.01848296 Customer Transfer
 Confidential Customer Coin Transferee #6616    [Address on File]     5/20/2023 Bitcoin                              0.0184744 Customer Transfer
 Confidential Customer Coin Transferee #6616    [Address on File]     5/21/2023 Bitcoin                             0.01845324 Customer Transfer
 Confidential Customer Coin Transferee #6616    [Address on File]     5/16/2023 Bitcoin                             0.01836866 Customer Transfer
 Confidential Customer Coin Transferee #6616    [Address on File]     5/18/2023 Bitcoin                             0.01824201 Customer Transfer
 Confidential Customer Coin Transferee #6616    [Address on File]     5/23/2023 Bitcoin                             0.01821896 Customer Transfer
 Confidential Customer Coin Transferee #6617    [Address on File]     5/23/2023 Bitcoin                             0.00155939 Customer Transfer
 Confidential Customer Coin Transferee #6617    [Address on File]     5/27/2023 Bitcoin                             0.00037151 Customer Transfer
 Confidential Customer Coin Transferee #6618    [Address on File]     5/21/2023 Bitcoin                             0.01029683 Customer Transfer
 Confidential Customer Coin Transferee #6619    [Address on File]     5/17/2023 Bitcoin                                   0.1125 Customer Transfer
 Confidential Customer Coin Transferee #6619    [Address on File]     5/17/2023 Bitcoin                                    0.012 Customer Transfer
 Confidential Customer Coin Transferee #6620    [Address on File]     5/19/2023 Bitcoin                             0.00047662 Customer Transfer
 Confidential Customer Coin Transferee #6621    [Address on File]     5/24/2023 Bitcoin                             0.01421495 Customer Transfer
 Confidential Customer Coin Transferee #6622    [Address on File]     5/20/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #6622    [Address on File]     5/25/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #6623    [Address on File]     5/29/2023 Bitcoin                                 0.00718 Customer Transfer
 Confidential Customer Coin Transferee #6624    [Address on File]     5/19/2023 Bitcoin                                0.007494 Customer Transfer
 Confidential Customer Coin Transferee #6625    [Address on File]     5/19/2023 Bitcoin                             0.01114333 Customer Transfer
 Confidential Customer Coin Transferee #6625    [Address on File]     5/27/2023 Bitcoin                             0.00750686 Customer Transfer
 Confidential Customer Coin Transferee #6626    [Address on File]     6/20/2023 Bitcoin                             0.00011842 Customer Transfer
 Confidential Customer Coin Transferee #6627    [Address on File]     6/20/2023 Bitcoin                             0.06318096 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6628    [Address on File]     5/19/2023 Bitcoin                             0.00007291 Customer Transfer
 Confidential Customer Coin Transferee #6629    [Address on File]     5/16/2023 Bitcoin                             0.03426957 Customer Transfer
 Confidential Customer Coin Transferee #6630    [Address on File]     5/20/2023 Bitcoin                                  0.0037 Customer Transfer
 Confidential Customer Coin Transferee #6631    [Address on File]     5/21/2023 Bitcoin                             0.00369519 Customer Transfer
 Confidential Customer Coin Transferee #6631    [Address on File]     5/28/2023 Bitcoin                             0.00365258 Customer Transfer
 Confidential Customer Coin Transferee #6632    [Address on File]     5/24/2023 Bitcoin                             0.01218235 Customer Transfer
 Confidential Customer Coin Transferee #6633    [Address on File]     5/26/2023 Bitcoin                             0.00744593 Customer Transfer
 Confidential Customer Coin Transferee #6634    [Address on File]     5/19/2023 Bitcoin                             0.00147094 Customer Transfer
 Confidential Customer Coin Transferee #6634    [Address on File]     5/21/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #6634    [Address on File]     5/26/2023 Bitcoin                                  0.0008 Customer Transfer
 Confidential Customer Coin Transferee #6634    [Address on File]     5/30/2023 Bitcoin                             0.00079131 Customer Transfer
 Confidential Customer Coin Transferee #6634    [Address on File]     5/17/2023 Bitcoin                             0.00074286 Customer Transfer
 Confidential Customer Coin Transferee #6634    [Address on File]     5/20/2023 Bitcoin                             0.00073858 Customer Transfer
 Confidential Customer Coin Transferee #6634    [Address on File]     5/22/2023 Bitcoin                             0.00073858 Customer Transfer
 Confidential Customer Coin Transferee #6634    [Address on File]     5/17/2023 Bitcoin                             0.00073687 Customer Transfer
 Confidential Customer Coin Transferee #6634    [Address on File]     5/24/2023 Bitcoin                                  0.0006 Customer Transfer
 Confidential Customer Coin Transferee #6634    [Address on File]     5/23/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #6635    [Address on File]     5/26/2023 Bitcoin                             0.03868879 Customer Transfer
 Confidential Customer Coin Transferee #6636    [Address on File]     5/21/2023 Bitcoin                             0.09232177 Customer Transfer
 Confidential Customer Coin Transferee #6636    [Address on File]     5/28/2023 Bitcoin                             0.05581086 Customer Transfer
 Confidential Customer Coin Transferee #6637    [Address on File]     5/29/2023 Bitcoin                              0.0282754 Customer Transfer
 Confidential Customer Coin Transferee #6637    [Address on File]     5/16/2023 Bitcoin                             0.00199873 Customer Transfer

 Confidential Customer Coin Transferee #6638    [Address on File]     5/22/2023 Bitcoin                                0.00654282 Customer Transfer
 Confidential Customer Coin Transferee #6639    [Address on File]     5/18/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #6639    [Address on File]     5/22/2023 Bitcoin                                    0.00085 Customer Transfer
 Confidential Customer Coin Transferee #6639    [Address on File]     5/18/2023 Bitcoin                                     0.0008 Customer Transfer
 Confidential Customer Coin Transferee #6639    [Address on File]     5/16/2023 Bitcoin                                    0.00077 Customer Transfer
 Confidential Customer Coin Transferee #6639    [Address on File]     5/17/2023 Bitcoin                                0.00069763 Customer Transfer
 Confidential Customer Coin Transferee #6639    [Address on File]     5/19/2023 Bitcoin                                0.00038936 Customer Transfer
 Confidential Customer Coin Transferee #6639    [Address on File]     5/16/2023 Bitcoin                                0.00036831 Customer Transfer
 Confidential Customer Coin Transferee #6639    [Address on File]     5/16/2023 Bitcoin                                 0.0003649 Customer Transfer
 Confidential Customer Coin Transferee #6639    [Address on File]     5/16/2023 Bitcoin                                0.00033028 Customer Transfer
 Confidential Customer Coin Transferee #6640    [Address on File]     5/19/2023 Bitcoin                                0.00369963 Customer Transfer
 Confidential Customer Coin Transferee #6641    [Address on File]     5/19/2023 Bitcoin                                0.00369499 Customer Transfer
 Confidential Customer Coin Transferee #6641    [Address on File]     5/30/2023 Bitcoin                                0.00356898 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6642    [Address on File]     5/26/2023 Bitcoin                             0.01877056 Customer Transfer
 Confidential Customer Coin Transferee #6642    [Address on File]     5/16/2023 Bitcoin                             0.01820124 Customer Transfer
 Confidential Customer Coin Transferee #6643    [Address on File]     5/17/2023 Bitcoin                             0.01829232 Customer Transfer
 Confidential Customer Coin Transferee #6643    [Address on File]     5/24/2023 Bitcoin                             0.01823307 Customer Transfer
 Confidential Customer Coin Transferee #6643    [Address on File]     5/18/2023 Bitcoin                              0.0182051 Customer Transfer
 Confidential Customer Coin Transferee #6644    [Address on File]     5/23/2023 Bitcoin                             0.01321497 Customer Transfer
 Confidential Customer Coin Transferee #6644    [Address on File]     5/26/2023 Bitcoin                             0.00188136 Customer Transfer
 Confidential Customer Coin Transferee #6645    [Address on File]     5/18/2023 Bitcoin                             0.00146929 Customer Transfer
 Confidential Customer Coin Transferee #6645    [Address on File]     5/28/2023 Bitcoin                             0.00109791 Customer Transfer
 Confidential Customer Coin Transferee #6645    [Address on File]     5/28/2023 Bitcoin                             0.00109386 Customer Transfer
 Confidential Customer Coin Transferee #6645    [Address on File]     5/17/2023 Bitcoin                             0.00054438 Customer Transfer
 Confidential Customer Coin Transferee #6646    [Address on File]     5/16/2023 Bitcoin                             0.00227688 Customer Transfer
 Confidential Customer Coin Transferee #6647    [Address on File]     5/21/2023 Bitcoin                             0.00371314 Customer Transfer
 Confidential Customer Coin Transferee #6647    [Address on File]     5/20/2023 Bitcoin                              0.0036997 Customer Transfer
 Confidential Customer Coin Transferee #6647    [Address on File]     5/20/2023 Bitcoin                             0.00369699 Customer Transfer
 Confidential Customer Coin Transferee #6647    [Address on File]     5/29/2023 Bitcoin                             0.00017967 Customer Transfer
 Confidential Customer Coin Transferee #6648    [Address on File]     5/22/2023 Bitcoin                             0.08702952 Customer Transfer
 Confidential Customer Coin Transferee #6649    [Address on File]     6/20/2023 Bitcoin                             0.00502344 Customer Transfer
 Confidential Customer Coin Transferee #6650    [Address on File]     5/18/2023 Bitcoin                             0.00002118 Customer Transfer
 Confidential Customer Coin Transferee #6651    [Address on File]     5/23/2023 Bitcoin                             0.01769432 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/24/2023 Bitcoin                                0.000756 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/24/2023 Bitcoin                                0.000755 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/18/2023 Bitcoin                              0.0007447 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/18/2023 Bitcoin                                0.000743 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/19/2023 Bitcoin                                 0.00074 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/19/2023 Bitcoin                                 0.00074 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/19/2023 Bitcoin                                 0.00074 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/19/2023 Bitcoin                                0.000739 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/18/2023 Bitcoin                                0.000736 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/23/2023 Bitcoin                                0.000735 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/21/2023 Bitcoin                                 0.00073 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/21/2023 Bitcoin                                 0.00073 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/21/2023 Bitcoin                                0.000553 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/21/2023 Bitcoin                                0.000549 Customer Transfer
 Confidential Customer Coin Transferee #6652    [Address on File]     5/28/2023 Bitcoin                                0.000541 Customer Transfer
 Confidential Customer Coin Transferee #6653    [Address on File]     6/19/2023 Bitcoin                             0.00059946 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6654    [Address on File]     5/19/2023 Bitcoin                             0.00739112 Customer Transfer
 Confidential Customer Coin Transferee #6655    [Address on File]     5/26/2023 Bitcoin                                0.044891 Customer Transfer
 Confidential Customer Coin Transferee #6656    [Address on File]     5/16/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #6657    [Address on File]     5/18/2023 Bitcoin                             0.03263562 Customer Transfer
 Confidential Customer Coin Transferee #6658    [Address on File]     5/21/2023 Bitcoin                             0.00003761 Customer Transfer
 Confidential Customer Coin Transferee #6658    [Address on File]     5/21/2023 Bitcoin                              0.0000375 Customer Transfer
 Confidential Customer Coin Transferee #6659    [Address on File]     6/20/2023 Bitcoin                             0.00247938 Customer Transfer
 Confidential Customer Coin Transferee #6660    [Address on File]     5/20/2023 Bitcoin                             0.03566174 Customer Transfer
 Confidential Customer Coin Transferee #6661    [Address on File]     5/25/2023 Bitcoin                             0.01297212 Customer Transfer
 Confidential Customer Coin Transferee #6661    [Address on File]     5/19/2023 Bitcoin                             0.01007685 Customer Transfer
 Confidential Customer Coin Transferee #6661    [Address on File]     5/16/2023 Bitcoin                                0.004304 Customer Transfer
 Confidential Customer Coin Transferee #6662    [Address on File]     5/17/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #6662    [Address on File]     5/19/2023 Bitcoin                                 0.00187 Customer Transfer
 Confidential Customer Coin Transferee #6662    [Address on File]     5/28/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #6662    [Address on File]     5/16/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #6663    [Address on File]     5/22/2023 Bitcoin                             0.03730774 Customer Transfer
 Confidential Customer Coin Transferee #6663    [Address on File]     5/22/2023 Bitcoin                             0.01866393 Customer Transfer
 Confidential Customer Coin Transferee #6663    [Address on File]     5/22/2023 Bitcoin                             0.01865277 Customer Transfer
 Confidential Customer Coin Transferee #6663    [Address on File]     5/23/2023 Bitcoin                             0.01279493 Customer Transfer
 Confidential Customer Coin Transferee #6664    [Address on File]     5/22/2023 Bitcoin                                 0.00745 Customer Transfer
 Confidential Customer Coin Transferee #6664    [Address on File]     5/25/2023 Bitcoin                                   0.0032 Customer Transfer
 Confidential Customer Coin Transferee #6665    [Address on File]     5/30/2023 Bitcoin                             0.01392951 Customer Transfer
 Confidential Customer Coin Transferee #6666    [Address on File]     6/20/2023 Bitcoin                              0.0005937 Customer Transfer
 Confidential Customer Coin Transferee #6667    [Address on File]     5/27/2023 Bitcoin                             0.00949115 Customer Transfer
 Confidential Customer Coin Transferee #6667    [Address on File]     5/28/2023 Bitcoin                             0.00704384 Customer Transfer
 Confidential Customer Coin Transferee #6667    [Address on File]     5/17/2023 Bitcoin                             0.00636722 Customer Transfer
 Confidential Customer Coin Transferee #6667    [Address on File]     5/25/2023 Bitcoin                             0.00633262 Customer Transfer
 Confidential Customer Coin Transferee #6667    [Address on File]     5/30/2023 Bitcoin                             0.00563448 Customer Transfer
 Confidential Customer Coin Transferee #6667    [Address on File]     5/26/2023 Bitcoin                              0.0042425 Customer Transfer
 Confidential Customer Coin Transferee #6667    [Address on File]     5/17/2023 Bitcoin                             0.00203426 Customer Transfer
 Confidential Customer Coin Transferee #6668    [Address on File]      6/1/2023 Bitcoin                                 0.00037 Customer Transfer
 Confidential Customer Coin Transferee #6668    [Address on File]      6/1/2023 Bitcoin                             0.00018683 Customer Transfer
 Confidential Customer Coin Transferee #6669    [Address on File]     5/25/2023 Bitcoin                             0.01892264 Customer Transfer
 Confidential Customer Coin Transferee #6670    [Address on File]     5/19/2023 Bitcoin                             0.03332093 Customer Transfer
 Confidential Customer Coin Transferee #6670    [Address on File]     5/30/2023 Bitcoin                             0.02511402 Customer Transfer
 Confidential Customer Coin Transferee #6670    [Address on File]     5/23/2023 Bitcoin                             0.00098305 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6670    [Address on File]     5/30/2023 Bitcoin                             0.00071751 Customer Transfer
 Confidential Customer Coin Transferee #6671    [Address on File]     5/18/2023 Bitcoin                             0.01038653 Customer Transfer
 Confidential Customer Coin Transferee #6672    [Address on File]     5/30/2023 Bitcoin                             0.01849895 Customer Transfer
 Confidential Customer Coin Transferee #6672    [Address on File]     5/20/2023 Bitcoin                              0.0092499 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/19/2023 Bitcoin                             0.00676832 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/18/2023 Bitcoin                             0.00363646 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/26/2023 Bitcoin                             0.00282647 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/27/2023 Bitcoin                             0.00259018 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/24/2023 Bitcoin                             0.00183005 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/16/2023 Bitcoin                             0.00091987 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/25/2023 Bitcoin                             0.00075817 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/26/2023 Bitcoin                             0.00074192 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/24/2023 Bitcoin                             0.00073225 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/26/2023 Bitcoin                             0.00037611 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/26/2023 Bitcoin                             0.00037173 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/17/2023 Bitcoin                             0.00036674 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/24/2023 Bitcoin                             0.00036617 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/16/2023 Bitcoin                             0.00036535 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/23/2023 Bitcoin                             0.00036444 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/23/2023 Bitcoin                             0.00036436 Customer Transfer
 Confidential Customer Coin Transferee #6673    [Address on File]     5/18/2023 Bitcoin                             0.00036323 Customer Transfer
 Confidential Customer Coin Transferee #6674    [Address on File]     5/28/2023 Bitcoin                                 0.00465 Customer Transfer
 Confidential Customer Coin Transferee #6675    [Address on File]     5/29/2023 Bitcoin                             0.00710134 Customer Transfer
 Confidential Customer Coin Transferee #6675    [Address on File]     5/20/2023 Bitcoin                              0.0026219 Customer Transfer
 Confidential Customer Coin Transferee #6676    [Address on File]     5/21/2023 Bitcoin                                  0.0071 Customer Transfer
 Confidential Customer Coin Transferee #6676    [Address on File]     5/26/2023 Bitcoin                                  0.0038 Customer Transfer
 Confidential Customer Coin Transferee #6676    [Address on File]      6/1/2023 Bitcoin                             0.00143594 Customer Transfer
 Confidential Customer Coin Transferee #6676    [Address on File]     5/24/2023 Bitcoin                             0.00034176 Customer Transfer
 Confidential Customer Coin Transferee #6677    [Address on File]     5/23/2023 Bitcoin                             0.00018515 Customer Transfer
 Confidential Customer Coin Transferee #6678    [Address on File]     5/23/2023 Bitcoin                             0.00194058 Customer Transfer
 Confidential Customer Coin Transferee #6678    [Address on File]     5/25/2023 Bitcoin                              0.0013336 Customer Transfer
 Confidential Customer Coin Transferee #6678    [Address on File]     5/25/2023 Bitcoin                             0.00040561 Customer Transfer
 Confidential Customer Coin Transferee #6678    [Address on File]     5/26/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #6678    [Address on File]     5/26/2023 Bitcoin                             0.00038874 Customer Transfer
 Confidential Customer Coin Transferee #6678    [Address on File]     5/26/2023 Bitcoin                             0.00038402 Customer Transfer
 Confidential Customer Coin Transferee #6679    [Address on File]     5/27/2023 Bitcoin                             0.00074345 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6680    [Address on File]     5/20/2023 Bitcoin                             0.01496375 Customer Transfer
 Confidential Customer Coin Transferee #6680    [Address on File]     5/28/2023 Bitcoin                             0.00500728 Customer Transfer
 Confidential Customer Coin Transferee #6681    [Address on File]     5/22/2023 Bitcoin                             0.00372955 Customer Transfer
 Confidential Customer Coin Transferee #6682    [Address on File]     5/27/2023 Bitcoin                             0.00018623 Customer Transfer
 Confidential Customer Coin Transferee #6683    [Address on File]     6/17/2023 USD Coin                            197.149406 Customer Transfer
 Confidential Customer Coin Transferee #6684    [Address on File]     5/24/2023 Bitcoin                             0.24078266 Customer Transfer
 Confidential Customer Coin Transferee #6685    [Address on File]     5/22/2023 Bitcoin                             0.01284113 Customer Transfer
 Confidential Customer Coin Transferee #6686    [Address on File]     6/20/2023 Bitcoin                             0.00288725 Customer Transfer
 Confidential Customer Coin Transferee #6687    [Address on File]     5/24/2023 Bitcoin                             0.01115515 Customer Transfer
 Confidential Customer Coin Transferee #6687    [Address on File]     5/17/2023 Bitcoin                              0.0103742 Customer Transfer
 Confidential Customer Coin Transferee #6688    [Address on File]     6/20/2023 Bitcoin                             0.00006627 Customer Transfer
 Confidential Customer Coin Transferee #6689    [Address on File]     5/26/2023 Bitcoin                             0.01996349 Customer Transfer
 Confidential Customer Coin Transferee #6689    [Address on File]     5/19/2023 Bitcoin                             0.01552166 Customer Transfer
 Confidential Customer Coin Transferee #6690    [Address on File]     5/17/2023 Bitcoin                             0.34743915 Customer Transfer
 Confidential Customer Coin Transferee #6690    [Address on File]     5/24/2023 Bitcoin                             0.14718329 Customer Transfer
 Confidential Customer Coin Transferee #6691    [Address on File]      6/5/2023 Bitcoin                             0.00147369 Customer Transfer
 Confidential Customer Coin Transferee #6692    [Address on File]     6/20/2023 Bitcoin                             0.00040778 Customer Transfer
 Confidential Customer Coin Transferee #6693    [Address on File]     5/21/2023 Bitcoin                             0.00722039 Customer Transfer
 Confidential Customer Coin Transferee #6694    [Address on File]     5/19/2023 Bitcoin                             0.01065671 Customer Transfer
 Confidential Customer Coin Transferee #6695    [Address on File]     6/20/2023 Bitcoin                             0.13202185 Customer Transfer
 Confidential Customer Coin Transferee #6696    [Address on File]     5/26/2023 Bitcoin                             0.00058468 Customer Transfer
 Confidential Customer Coin Transferee #6697    [Address on File]     6/15/2023 Bitcoin                             0.01397496 Customer Transfer
 Confidential Customer Coin Transferee #6697    [Address on File]     6/20/2023 Bitcoin                             0.00074045 Customer Transfer
 Confidential Customer Coin Transferee #6698    [Address on File]     5/26/2023 Bitcoin                             0.01106279 Customer Transfer
 Confidential Customer Coin Transferee #6698    [Address on File]     5/19/2023 Bitcoin                             0.01079294 Customer Transfer
 Confidential Customer Coin Transferee #6699    [Address on File]      6/7/2023 Bitcoin                             0.00384281 Customer Transfer
 Confidential Customer Coin Transferee #6699    [Address on File]     5/22/2023 Bitcoin                             0.00368663 Customer Transfer
 Confidential Customer Coin Transferee #6699    [Address on File]     5/23/2023 Bitcoin                             0.00363455 Customer Transfer
 Confidential Customer Coin Transferee #6700    [Address on File]      6/7/2023 Bitcoin                             0.03717968 Customer Transfer
 Confidential Customer Coin Transferee #6700    [Address on File]      6/2/2023 Bitcoin                             0.03660194 Customer Transfer
 Confidential Customer Coin Transferee #6700    [Address on File]     5/30/2023 Bitcoin                             0.00895039 Customer Transfer
 Confidential Customer Coin Transferee #6700    [Address on File]     6/12/2023 Bitcoin                             0.00477871 Customer Transfer
 Confidential Customer Coin Transferee #6700    [Address on File]     5/22/2023 Bitcoin                             0.00184013 Customer Transfer
 Confidential Customer Coin Transferee #6700    [Address on File]      6/8/2023 Bitcoin                             0.00093669 Customer Transfer
 Confidential Customer Coin Transferee #6701    [Address on File]     5/18/2023 Bitcoin                             0.00897442 Customer Transfer
 Confidential Customer Coin Transferee #6702    [Address on File]      6/8/2023 Bitcoin                             0.00619373 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6703    [Address on File]     6/19/2023 Bitcoin                             0.00045353 Customer Transfer
 Confidential Customer Coin Transferee #6704    [Address on File]     6/20/2023 Bitcoin                             0.00117154 Customer Transfer
 Confidential Customer Coin Transferee #6705    [Address on File]     5/17/2023 Bitcoin                             0.01145445 Customer Transfer
 Confidential Customer Coin Transferee #6705    [Address on File]     5/30/2023 Bitcoin                             0.01057165 Customer Transfer
 Confidential Customer Coin Transferee #6706    [Address on File]     6/19/2023 Cosmos Hub ATOM)                      29.48218 Customer Transfer
 Confidential Customer Coin Transferee #6706    [Address on File]     6/19/2023 Cosmos Hub ATOM)                     29.370969 Customer Transfer
 Confidential Customer Coin Transferee #6706    [Address on File]     6/15/2023 Cosmos Hub ATOM)                     28.664483 Customer Transfer
 Confidential Customer Coin Transferee #6706    [Address on File]     6/13/2023 Cosmos Hub ATOM)                     28.599628 Customer Transfer
 Confidential Customer Coin Transferee #6707    [Address on File]     6/19/2023 Bitcoin                             0.00093719 Customer Transfer
 Confidential Customer Coin Transferee #6708    [Address on File]     5/26/2023 USDC Avalanche)                     995.561775 Customer Transfer
 Confidential Customer Coin Transferee #6708    [Address on File]     5/21/2023 USDC Avalanche)                     296.461769 Customer Transfer
 Confidential Customer Coin Transferee #6708    [Address on File]      6/1/2023 USDC Avalanche)                      46.966516 Customer Transfer
 Confidential Customer Coin Transferee #6708    [Address on File]     6/10/2023 Ether                                  0.166134 Customer Transfer
 Confidential Customer Coin Transferee #6708    [Address on File]     5/16/2023 Ether                                  0.107546 Customer Transfer
 Confidential Customer Coin Transferee #6709    [Address on File]     6/20/2023 Bitcoin                             0.00352128 Customer Transfer
 Confidential Customer Coin Transferee #6710    [Address on File]     5/23/2023 Bitcoin                             0.03547059 Customer Transfer
 Confidential Customer Coin Transferee #6711    [Address on File]     6/19/2023 Bitcoin                             0.00190297 Customer Transfer
 Confidential Customer Coin Transferee #6712    [Address on File]     6/20/2023 Bitcoin                             0.00061142 Customer Transfer
 Confidential Customer Coin Transferee #6713    [Address on File]     5/17/2023 Bitcoin                             0.34600721 Customer Transfer
 Confidential Customer Coin Transferee #6714    [Address on File]     5/26/2023 Bitcoin                             0.05809983 Customer Transfer
 Confidential Customer Coin Transferee #6715    [Address on File]     6/20/2023 Bitcoin                             0.00005602 Customer Transfer
 Confidential Customer Coin Transferee #6716    [Address on File]     5/26/2023 Bitcoin                             0.01281485 Customer Transfer
 Confidential Customer Coin Transferee #6717    [Address on File]      6/8/2023 Bitcoin                             0.03587591 Customer Transfer
 Confidential Customer Coin Transferee #6718    [Address on File]     5/27/2023 Bitcoin                             0.00258894 Customer Transfer
 Confidential Customer Coin Transferee #6718    [Address on File]     5/20/2023 Bitcoin                             0.00245375 Customer Transfer
 Confidential Customer Coin Transferee #6719    [Address on File]     6/20/2023 Bitcoin                              0.0002868 Customer Transfer
 Confidential Customer Coin Transferee #6720    [Address on File]     6/19/2023 Bitcoin                             0.01893025 Customer Transfer
 Confidential Customer Coin Transferee #6721    [Address on File]     5/24/2023 Bitcoin                             0.04601855 Customer Transfer
 Confidential Customer Coin Transferee #6722    [Address on File]     6/20/2023 Bitcoin                             0.00058928 Customer Transfer
 Confidential Customer Coin Transferee #6723    [Address on File]     6/20/2023 Bitcoin                             0.00294647 Customer Transfer
 Confidential Customer Coin Transferee #6724    [Address on File]      6/2/2023 Bitcoin                             0.00119536 Customer Transfer
 Confidential Customer Coin Transferee #6724    [Address on File]     5/22/2023 Bitcoin                             0.00073137 Customer Transfer
 Confidential Customer Coin Transferee #6725    [Address on File]     6/20/2023 Bitcoin                             0.00349884 Customer Transfer
 Confidential Customer Coin Transferee #6726    [Address on File]     6/20/2023 Bitcoin                              0.0001168 Customer Transfer
 Confidential Customer Coin Transferee #6727    [Address on File]     6/20/2023 Bitcoin                             0.00057914 Customer Transfer
 Confidential Customer Coin Transferee #6728    [Address on File]     6/19/2023 Bitcoin                              0.0306788 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6729    [Address on File]     6/19/2023 Bitcoin                             0.00065208 Customer Transfer
 Confidential Customer Coin Transferee #6730    [Address on File]     6/20/2023 Bitcoin                             0.00087141 Customer Transfer

 Confidential Customer Coin Transferee #6731    [Address on File]      6/8/2023 Bitcoin                                0.15164466 Customer Transfer
 Confidential Customer Coin Transferee #6732    [Address on File]     6/20/2023 Bitcoin                                0.00021384 Customer Transfer
 Confidential Customer Coin Transferee #6733    [Address on File]     6/19/2023 Bitcoin                                0.00005479 Customer Transfer
 Confidential Customer Coin Transferee #6734    [Address on File]     6/19/2023 Bitcoin                                0.00046914 Customer Transfer
 Confidential Customer Coin Transferee #6735    [Address on File]     5/21/2023 Bitcoin                                0.01230748 Customer Transfer
 Confidential Customer Coin Transferee #6736    [Address on File]     5/28/2023 Bitcoin                                0.00406373 Customer Transfer
 Confidential Customer Coin Transferee #6737    [Address on File]     6/20/2023 Bitcoin                                0.00035997 Customer Transfer
 Confidential Customer Coin Transferee #6738    [Address on File]     6/20/2023 Bitcoin                                0.00912947 Customer Transfer
 Confidential Customer Coin Transferee #6739    [Address on File]     5/24/2023 Bitcoin                                0.00761507 Customer Transfer
 Confidential Customer Coin Transferee #6739    [Address on File]     5/17/2023 Bitcoin                                0.00737674 Customer Transfer
 Confidential Customer Coin Transferee #6740    [Address on File]     6/19/2023 Bitcoin                                0.00011325 Customer Transfer
 Confidential Customer Coin Transferee #6741    [Address on File]     6/19/2023 Bitcoin                                0.00046284 Customer Transfer
 Confidential Customer Coin Transferee #6742    [Address on File]     5/27/2023 Bitcoin                                 0.0133356 Customer Transfer
 Confidential Customer Coin Transferee #6743    [Address on File]     5/22/2023 Bitcoin                                0.00189928 Customer Transfer
 Confidential Customer Coin Transferee #6743    [Address on File]     5/29/2023 Bitcoin                                0.00185454 Customer Transfer
 Confidential Customer Coin Transferee #6744    [Address on File]     6/19/2023 Bitcoin                                0.00070366 Customer Transfer
 Confidential Customer Coin Transferee #6745    [Address on File]     6/19/2023 Bitcoin                                0.00016257 Customer Transfer
 Confidential Customer Coin Transferee #6746    [Address on File]     5/23/2023 Bitcoin                                0.00257424 Customer Transfer
 Confidential Customer Coin Transferee #6747    [Address on File]      6/2/2023 Bitcoin                                0.00320876 Customer Transfer
 Confidential Customer Coin Transferee #6748    [Address on File]     5/29/2023 Bitcoin                                       0.02 Customer Transfer
 Confidential Customer Coin Transferee #6749    [Address on File]     6/17/2023 USD Coin                                38.233828 Customer Transfer
 Confidential Customer Coin Transferee #6749    [Address on File]     6/17/2023 USD Coin                                 9.558457 Customer Transfer
 Confidential Customer Coin Transferee #6750    [Address on File]      6/9/2023 Bitcoin                                0.02578887 Customer Transfer
 Confidential Customer Coin Transferee #6751    [Address on File]     6/20/2023 Bitcoin                                0.00032487 Customer Transfer
 Confidential Customer Coin Transferee #6752    [Address on File]      6/7/2023 Bitcoin                                0.00201687 Customer Transfer
 Confidential Customer Coin Transferee #6753    [Address on File]     5/21/2023 Bitcoin                                0.01478503 Customer Transfer
 Confidential Customer Coin Transferee #6753    [Address on File]     5/16/2023 Bitcoin                                0.01407964 Customer Transfer
 Confidential Customer Coin Transferee #6754    [Address on File]     6/19/2023 Bitcoin                                0.00676699 Customer Transfer
 Confidential Customer Coin Transferee #6754    [Address on File]     5/29/2023 Bitcoin                                 0.0018452 Customer Transfer
 Confidential Customer Coin Transferee #6755    [Address on File]     6/12/2023 Bitcoin                                0.02233859 Customer Transfer
 Confidential Customer Coin Transferee #6755    [Address on File]     6/20/2023 Bitcoin                                0.00051173 Customer Transfer
 Confidential Customer Coin Transferee #6756    [Address on File]     5/19/2023 Bitcoin                                0.01157448 Customer Transfer
 Confidential Customer Coin Transferee #6757    [Address on File]     6/20/2023 Bitcoin                                0.00047676 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6758    [Address on File]     6/19/2023 Bitcoin                             0.00034904 Customer Transfer
 Confidential Customer Coin Transferee #6759    [Address on File]     5/22/2023 Bitcoin                             0.02580518 Customer Transfer
 Confidential Customer Coin Transferee #6760    [Address on File]     5/21/2023 Bitcoin                             0.01168738 Customer Transfer
 Confidential Customer Coin Transferee #6760    [Address on File]     5/21/2023 Bitcoin                             0.00510945 Customer Transfer
 Confidential Customer Coin Transferee #6761    [Address on File]     5/29/2023 Bitcoin                             0.02656673 Customer Transfer
 Confidential Customer Coin Transferee #6762    [Address on File]     5/29/2023 Bitcoin                             0.06360537 Customer Transfer
 Confidential Customer Coin Transferee #6762    [Address on File]     5/16/2023 Bitcoin                             0.04649063 Customer Transfer
 Confidential Customer Coin Transferee #6763    [Address on File]     5/27/2023 Bitcoin                             0.05137162 Customer Transfer
 Confidential Customer Coin Transferee #6764    [Address on File]     5/16/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #6765    [Address on File]     6/20/2023 Bitcoin                             0.01556568 Customer Transfer
 Confidential Customer Coin Transferee #6766    [Address on File]     6/20/2023 Bitcoin                             0.00212108 Customer Transfer
 Confidential Customer Coin Transferee #6767    [Address on File]     6/20/2023 Bitcoin                                0.000056 Customer Transfer
 Confidential Customer Coin Transferee #6768    [Address on File]     6/19/2023 Bitcoin                             0.00003624 Customer Transfer
 Confidential Customer Coin Transferee #6769    [Address on File]     6/19/2023 Bitcoin                             0.00005809 Customer Transfer
 Confidential Customer Coin Transferee #6770    [Address on File]     5/20/2023 Bitcoin                             0.05033282 Customer Transfer
 Confidential Customer Coin Transferee #6771    [Address on File]     6/20/2023 Bitcoin                             0.00056047 Customer Transfer

 Confidential Customer Coin Transferee #6772    [Address on File]     5/16/2023 Bitcoin                                0.01810559 Customer Transfer
 Confidential Customer Coin Transferee #6773    [Address on File]     6/20/2023 Bitcoin                                0.00064603 Customer Transfer
 Confidential Customer Coin Transferee #6774    [Address on File]     5/26/2023 Bitcoin                                0.00070905 Customer Transfer
 Confidential Customer Coin Transferee #6775    [Address on File]     5/22/2023 Bitcoin                                0.01046204 Customer Transfer
 Confidential Customer Coin Transferee #6776    [Address on File]     6/19/2023 Bitcoin                                0.00342721 Customer Transfer
 Confidential Customer Coin Transferee #6777    [Address on File]     6/19/2023 Bitcoin                                0.01739842 Customer Transfer
 Confidential Customer Coin Transferee #6778    [Address on File]     6/20/2023 Bitcoin                                0.00603583 Customer Transfer
 Confidential Customer Coin Transferee #6779    [Address on File]     5/17/2023 Bitcoin                                0.00860563 Customer Transfer
 Confidential Customer Coin Transferee #6780    [Address on File]     5/17/2023 Bitcoin                                 0.0100104 Customer Transfer
 Confidential Customer Coin Transferee #6781    [Address on File]     6/20/2023 Bitcoin                                0.00223902 Customer Transfer
 Confidential Customer Coin Transferee #6782    [Address on File]     6/20/2023 Bitcoin                                0.06034361 Customer Transfer
 Confidential Customer Coin Transferee #6783    [Address on File]     6/19/2023 Bitcoin                                0.01189319 Customer Transfer
 Confidential Customer Coin Transferee #6784    [Address on File]     5/29/2023 Bitcoin                                0.00435411 Customer Transfer
 Confidential Customer Coin Transferee #6784    [Address on File]      6/8/2023 Bitcoin                                 0.0033035 Customer Transfer
 Confidential Customer Coin Transferee #6784    [Address on File]     6/17/2023 Bitcoin                                0.00064623 Customer Transfer
 Confidential Customer Coin Transferee #6785    [Address on File]     6/20/2023 Bitcoin                                0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #6786    [Address on File]     5/25/2023 Bitcoin                                1.08189781 Customer Transfer
 Confidential Customer Coin Transferee #6786    [Address on File]     5/18/2023 Bitcoin                                0.39322621 Customer Transfer
 Confidential Customer Coin Transferee #6787    [Address on File]     6/20/2023 Bitcoin                                0.00264449 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6788    [Address on File]     6/20/2023 Bitcoin                             0.00058537 Customer Transfer
 Confidential Customer Coin Transferee #6789    [Address on File]     5/20/2023 Bitcoin                             0.05167854 Customer Transfer
 Confidential Customer Coin Transferee #6790    [Address on File]     6/20/2023 Bitcoin                             0.00057823 Customer Transfer
 Confidential Customer Coin Transferee #6791    [Address on File]      6/2/2023 Bitcoin                             0.00073558 Customer Transfer
 Confidential Customer Coin Transferee #6792    [Address on File]     6/19/2023 Bitcoin                             0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #6793    [Address on File]     5/23/2023 Bitcoin                             0.01051987 Customer Transfer
 Confidential Customer Coin Transferee #6794    [Address on File]     5/18/2023 USDC Avalanche)                     496.781609 Customer Transfer
 Confidential Customer Coin Transferee #6794    [Address on File]     5/16/2023 Solana                               11.819179 Customer Transfer
 Confidential Customer Coin Transferee #6795    [Address on File]     6/20/2023 Bitcoin                             0.00039902 Customer Transfer

 Confidential Customer Coin Transferee #6796    [Address on File]     6/14/2023 Bitcoin                                0.00189871 Customer Transfer
 Confidential Customer Coin Transferee #6797    [Address on File]     5/23/2023 Bitcoin                                0.02107249 Customer Transfer
 Confidential Customer Coin Transferee #6797    [Address on File]     5/28/2023 Bitcoin                                 0.0174287 Customer Transfer
 Confidential Customer Coin Transferee #6797    [Address on File]     5/17/2023 Bitcoin                                0.01604142 Customer Transfer
 Confidential Customer Coin Transferee #6798    [Address on File]     5/16/2023 Bitcoin                                0.00362699 Customer Transfer
 Confidential Customer Coin Transferee #6799    [Address on File]     5/21/2023 Bitcoin                                0.01128353 Customer Transfer
 Confidential Customer Coin Transferee #6799    [Address on File]     5/28/2023 Bitcoin                                0.01039152 Customer Transfer
 Confidential Customer Coin Transferee #6800    [Address on File]     5/23/2023 Bitcoin                                0.01040281 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/17/2023 Bitcoin                                0.00367031 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/17/2023 Bitcoin                                0.00310732 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/16/2023 Bitcoin                                0.00257232 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/17/2023 Bitcoin                                 0.0025651 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/16/2023 Bitcoin                                0.00253814 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/16/2023 Bitcoin                                0.00183575 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/20/2023 Bitcoin                                0.00117663 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/19/2023 Bitcoin                                0.00105605 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/18/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/31/2023 Bitcoin                                0.00096854 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/31/2023 Bitcoin                                0.00096785 Customer Transfer
 Confidential Customer Coin Transferee #6801    [Address on File]     5/21/2023 Bitcoin                                 0.0003696 Customer Transfer
 Confidential Customer Coin Transferee #6802    [Address on File]     5/28/2023 Bitcoin                                0.01877374 Customer Transfer
 Confidential Customer Coin Transferee #6803    [Address on File]     6/20/2023 Bitcoin                                 0.0006144 Customer Transfer
 Confidential Customer Coin Transferee #6804    [Address on File]     5/25/2023 Bitcoin                                     0.0038 Customer Transfer
 Confidential Customer Coin Transferee #6805    [Address on File]     5/23/2023 Bitcoin                                0.01094504 Customer Transfer
 Confidential Customer Coin Transferee #6805    [Address on File]     5/31/2023 Bitcoin                                0.01092691 Customer Transfer
 Confidential Customer Coin Transferee #6806    [Address on File]     5/19/2023 Bitcoin                                0.00130796 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6806    [Address on File]     5/19/2023 Bitcoin                             0.00088665 Customer Transfer
 Confidential Customer Coin Transferee #6806    [Address on File]     5/22/2023 Bitcoin                             0.00073914 Customer Transfer
 Confidential Customer Coin Transferee #6807    [Address on File]     6/20/2023 Bitcoin                             0.00057909 Customer Transfer
 Confidential Customer Coin Transferee #6808    [Address on File]     5/26/2023 Bitcoin                             0.01106427 Customer Transfer
 Confidential Customer Coin Transferee #6808    [Address on File]     5/19/2023 Bitcoin                              0.0108061 Customer Transfer
 Confidential Customer Coin Transferee #6809    [Address on File]     5/26/2023 Bitcoin                             0.10167095 Customer Transfer
 Confidential Customer Coin Transferee #6810    [Address on File]     5/18/2023 Bitcoin                             0.01033031 Customer Transfer
 Confidential Customer Coin Transferee #6811    [Address on File]     6/20/2023 Bitcoin                             0.00674353 Customer Transfer
 Confidential Customer Coin Transferee #6812    [Address on File]     6/20/2023 Bitcoin                             0.33561229 Customer Transfer
 Confidential Customer Coin Transferee #6813    [Address on File]     6/19/2023 Bitcoin                             0.00028852 Customer Transfer
 Confidential Customer Coin Transferee #6814    [Address on File]     5/23/2023 Bitcoin                             0.00113232 Customer Transfer
 Confidential Customer Coin Transferee #6814    [Address on File]     5/29/2023 Bitcoin                             0.00111518 Customer Transfer
 Confidential Customer Coin Transferee #6815    [Address on File]     6/19/2023 Bitcoin                             0.00046611 Customer Transfer
 Confidential Customer Coin Transferee #6816    [Address on File]     6/16/2023 Bitcoin                             0.01692352 Customer Transfer

 Confidential Customer Coin Transferee #6817    [Address on File]      6/1/2023 Tether USD                                     1.92 Customer Transfer
 Confidential Customer Coin Transferee #6818    [Address on File]     5/20/2023 Bitcoin                                 0.0450678 Customer Transfer
 Confidential Customer Coin Transferee #6819    [Address on File]     6/20/2023 Bitcoin                                0.00006005 Customer Transfer
 Confidential Customer Coin Transferee #6820    [Address on File]     5/18/2023 Bitcoin                                0.03282123 Customer Transfer
 Confidential Customer Coin Transferee #6820    [Address on File]     5/26/2023 Bitcoin                                0.02961881 Customer Transfer
 Confidential Customer Coin Transferee #6821    [Address on File]     6/20/2023 Bitcoin                                0.00011929 Customer Transfer
 Confidential Customer Coin Transferee #6822    [Address on File]     5/25/2023 Bitcoin                                0.00363387 Customer Transfer
 Confidential Customer Coin Transferee #6822    [Address on File]     5/18/2023 Bitcoin                                0.00358538 Customer Transfer
 Confidential Customer Coin Transferee #6823    [Address on File]     5/19/2023 Bitcoin                                         0.1 Customer Transfer
 Confidential Customer Coin Transferee #6824    [Address on File]     5/24/2023 Bitcoin                                0.00090259 Customer Transfer
 Confidential Customer Coin Transferee #6825    [Address on File]      6/7/2023 Bitcoin                                0.00384778 Customer Transfer
 Confidential Customer Coin Transferee #6825    [Address on File]     6/13/2023 Bitcoin                                0.00378953 Customer Transfer
 Confidential Customer Coin Transferee #6825    [Address on File]     5/16/2023 Bitcoin                                0.00366434 Customer Transfer
 Confidential Customer Coin Transferee #6825    [Address on File]     5/24/2023 Bitcoin                                0.00363803 Customer Transfer
 Confidential Customer Coin Transferee #6825    [Address on File]     5/31/2023 Bitcoin                                0.00357858 Customer Transfer
 Confidential Customer Coin Transferee #6825    [Address on File]     6/12/2023 Bitcoin                                0.00075107 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/21/2023 Bitcoin                                    0.00165 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/21/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/19/2023 Bitcoin                                    0.00095 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/18/2023 Bitcoin                                0.00092796 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/19/2023 Bitcoin                                 0.0008985 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/19/2023 Bitcoin                             0.00087027 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/16/2023 Bitcoin                             0.00086512 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/21/2023 Bitcoin                              0.0007706 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/16/2023 Bitcoin                             0.00070199 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/21/2023 Bitcoin                                   0.0006 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/16/2023 Bitcoin                             0.00049263 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/21/2023 Bitcoin                              0.0004769 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/18/2023 Bitcoin                             0.00035418 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/17/2023 Bitcoin                             0.00028584 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/20/2023 Bitcoin                             0.00022211 Customer Transfer
 Confidential Customer Coin Transferee #6826    [Address on File]     5/16/2023 Bitcoin                             0.00020893 Customer Transfer
 Confidential Customer Coin Transferee #6827    [Address on File]     6/19/2023 Bitcoin                             0.02218042 Customer Transfer
 Confidential Customer Coin Transferee #6828    [Address on File]     5/24/2023 Bitcoin                             0.00375332 Customer Transfer
 Confidential Customer Coin Transferee #6829    [Address on File]     5/18/2023 Bitcoin                             0.01044872 Customer Transfer
 Confidential Customer Coin Transferee #6830    [Address on File]     6/19/2023 Bitcoin                             0.00057791 Customer Transfer
 Confidential Customer Coin Transferee #6831    [Address on File]     5/17/2023 Bitcoin                                0.000372 Customer Transfer
 Confidential Customer Coin Transferee #6832    [Address on File]     5/19/2023 Bitcoin                             0.00370904 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/23/2023 Bitcoin                             0.00389677 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/23/2023 Bitcoin                             0.00366482 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/17/2023 Bitcoin                             0.00287742 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/23/2023 Bitcoin                             0.00183545 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/17/2023 Bitcoin                                 0.00112 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/20/2023 Bitcoin                                 0.00112 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/29/2023 Bitcoin                             0.00111939 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/20/2023 Bitcoin                              0.0009738 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/17/2023 Bitcoin                             0.00079949 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/16/2023 Bitcoin                             0.00079057 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/25/2023 Bitcoin                             0.00072162 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/23/2023 Bitcoin                             0.00065368 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/21/2023 Bitcoin                                0.000558 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/20/2023 Bitcoin                                0.000555 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/25/2023 Bitcoin                             0.00039802 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/25/2023 Bitcoin                             0.00038456 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/21/2023 Bitcoin                             0.00038146 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/17/2023 Bitcoin                                 0.00038 Customer Transfer
 Confidential Customer Coin Transferee #6833    [Address on File]     5/21/2023 Bitcoin                             0.00025995 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6834    [Address on File]     5/23/2023 Bitcoin                             0.01050702 Customer Transfer
 Confidential Customer Coin Transferee #6835    [Address on File]     6/20/2023 Bitcoin                             0.00006018 Customer Transfer
 Confidential Customer Coin Transferee #6836    [Address on File]      6/8/2023 Tether USD                                393.16 Customer Transfer
 Confidential Customer Coin Transferee #6837    [Address on File]     5/17/2023 Bitcoin                             0.02784163 Customer Transfer
 Confidential Customer Coin Transferee #6838    [Address on File]     6/20/2023 Bitcoin                             0.00039838 Customer Transfer
 Confidential Customer Coin Transferee #6839    [Address on File]     6/19/2023 Bitcoin                             0.00061165 Customer Transfer
 Confidential Customer Coin Transferee #6840    [Address on File]     6/20/2023 Bitcoin                             0.00105433 Customer Transfer
 Confidential Customer Coin Transferee #6841    [Address on File]     5/21/2023 Bitcoin                             0.01021479 Customer Transfer
 Confidential Customer Coin Transferee #6842    [Address on File]      6/3/2023 Bitcoin                             0.02579293 Customer Transfer
 Confidential Customer Coin Transferee #6843    [Address on File]     5/26/2023 Bitcoin                              0.0853602 Customer Transfer
 Confidential Customer Coin Transferee #6843    [Address on File]     5/26/2023 Bitcoin                             0.03129874 Customer Transfer
 Confidential Customer Coin Transferee #6844    [Address on File]     5/23/2023 Bitcoin                             0.05222551 Customer Transfer
 Confidential Customer Coin Transferee #6845    [Address on File]     5/20/2023 Bitcoin                             0.00089532 Customer Transfer
 Confidential Customer Coin Transferee #6846    [Address on File]     5/17/2023 Bitcoin                                0.004883 Customer Transfer
 Confidential Customer Coin Transferee #6847    [Address on File]     5/21/2023 Bitcoin                             0.00121724 Customer Transfer
 Confidential Customer Coin Transferee #6848    [Address on File]     5/29/2023 Bitcoin                             0.00720425 Customer Transfer
 Confidential Customer Coin Transferee #6848    [Address on File]     5/16/2023 Bitcoin                             0.00367341 Customer Transfer
 Confidential Customer Coin Transferee #6848    [Address on File]     5/29/2023 Bitcoin                              0.0035918 Customer Transfer
 Confidential Customer Coin Transferee #6849    [Address on File]     5/19/2023 Bitcoin                             0.00777273 Customer Transfer
 Confidential Customer Coin Transferee #6850    [Address on File]     5/24/2023 Bitcoin                             0.00185372 Customer Transfer
 Confidential Customer Coin Transferee #6851    [Address on File]     6/19/2023 Bitcoin                             0.00064019 Customer Transfer
 Confidential Customer Coin Transferee #6852    [Address on File]     6/20/2023 Bitcoin                             0.00005822 Customer Transfer
 Confidential Customer Coin Transferee #6853    [Address on File]     6/19/2023 Bitcoin                             0.00035344 Customer Transfer
 Confidential Customer Coin Transferee #6854    [Address on File]     5/25/2023 Bitcoin                             0.02839388 Customer Transfer
 Confidential Customer Coin Transferee #6854    [Address on File]     5/25/2023 Bitcoin                             0.00373723 Customer Transfer
 Confidential Customer Coin Transferee #6855    [Address on File]      6/7/2023 Bitcoin                              0.0010514 Customer Transfer
 Confidential Customer Coin Transferee #6856    [Address on File]     6/10/2023 Cosmos Hub ATOM)                     25.133737 Customer Transfer
 Confidential Customer Coin Transferee #6857    [Address on File]     6/20/2023 Bitcoin                             0.00005803 Customer Transfer
 Confidential Customer Coin Transferee #6858    [Address on File]     6/15/2023 USD Coin                           2957.961019 Customer Transfer
 Confidential Customer Coin Transferee #6858    [Address on File]     6/12/2023 Tether USD                            82.07896 Customer Transfer
 Confidential Customer Coin Transferee #6858    [Address on File]      6/4/2023 Tether USD                           81.906284 Customer Transfer
 Confidential Customer Coin Transferee #6858    [Address on File]     6/21/2023 USDC Avalanche)                      46.909888 Customer Transfer
 Confidential Customer Coin Transferee #6858    [Address on File]     6/14/2023 Ether                                  0.019101 Customer Transfer
 Confidential Customer Coin Transferee #6859    [Address on File]     5/16/2023 Bitcoin                             0.00439229 Customer Transfer
 Confidential Customer Coin Transferee #6860    [Address on File]     6/19/2023 Bitcoin                              0.0003622 Customer Transfer
 Confidential Customer Coin Transferee #6861    [Address on File]     5/20/2023 Bitcoin                              0.0024547 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6862    [Address on File]     6/19/2023 Bitcoin                             0.00080452 Customer Transfer
 Confidential Customer Coin Transferee #6862    [Address on File]     5/26/2023 Bitcoin                             0.00056124 Customer Transfer
 Confidential Customer Coin Transferee #6863    [Address on File]     5/28/2023 Bitcoin                              0.0103023 Customer Transfer
 Confidential Customer Coin Transferee #6864    [Address on File]     5/16/2023 Bitcoin                             0.07658266 Customer Transfer
 Confidential Customer Coin Transferee #6865    [Address on File]     6/19/2023 Bitcoin                             0.00184325 Customer Transfer
 Confidential Customer Coin Transferee #6866    [Address on File]      6/1/2023 Bitcoin                              0.0020602 Customer Transfer
 Confidential Customer Coin Transferee #6866    [Address on File]     6/15/2023 Bitcoin                             0.00198233 Customer Transfer
 Confidential Customer Coin Transferee #6866    [Address on File]     6/17/2023 Bitcoin                             0.00195271 Customer Transfer
 Confidential Customer Coin Transferee #6866    [Address on File]      6/5/2023 Bitcoin                              0.0012347 Customer Transfer
 Confidential Customer Coin Transferee #6866    [Address on File]     5/26/2023 Bitcoin                              0.0008803 Customer Transfer
 Confidential Customer Coin Transferee #6867    [Address on File]     5/30/2023 Bitcoin                             0.00142957 Customer Transfer
 Confidential Customer Coin Transferee #6868    [Address on File]     5/30/2023 Bitcoin                             0.00499481 Customer Transfer
 Confidential Customer Coin Transferee #6869    [Address on File]     5/23/2023 Bitcoin                              0.0161587 Customer Transfer
 Confidential Customer Coin Transferee #6869    [Address on File]     5/16/2023 Bitcoin                             0.01056488 Customer Transfer
 Confidential Customer Coin Transferee #6870    [Address on File]     5/26/2023 Bitcoin                              0.2509461 Customer Transfer
 Confidential Customer Coin Transferee #6870    [Address on File]     5/20/2023 Bitcoin                             0.23113073 Customer Transfer
 Confidential Customer Coin Transferee #6871    [Address on File]     5/28/2023 Bitcoin                             0.00186957 Customer Transfer
 Confidential Customer Coin Transferee #6871    [Address on File]     5/22/2023 Bitcoin                             0.00170425 Customer Transfer
 Confidential Customer Coin Transferee #6872    [Address on File]     6/20/2023 Bitcoin                             0.00049172 Customer Transfer
 Confidential Customer Coin Transferee #6873    [Address on File]      6/7/2023 Bitcoin                             0.00588404 Customer Transfer
 Confidential Customer Coin Transferee #6873    [Address on File]     6/18/2023 Bitcoin                             0.00233327 Customer Transfer
 Confidential Customer Coin Transferee #6874    [Address on File]     6/20/2023 Bitcoin                             0.00057908 Customer Transfer
 Confidential Customer Coin Transferee #6875    [Address on File]     5/25/2023 Bitcoin                             0.01074649 Customer Transfer
 Confidential Customer Coin Transferee #6875    [Address on File]     5/21/2023 Bitcoin                             0.00553284 Customer Transfer
 Confidential Customer Coin Transferee #6876    [Address on File]     5/24/2023 Bitcoin                                    0.095 Customer Transfer
 Confidential Customer Coin Transferee #6877    [Address on File]     5/27/2023 Bitcoin                                    0.015 Customer Transfer
 Confidential Customer Coin Transferee #6878    [Address on File]     5/23/2023 Bitcoin                             0.00036499 Customer Transfer
 Confidential Customer Coin Transferee #6878    [Address on File]     5/30/2023 Bitcoin                             0.00027235 Customer Transfer
 Confidential Customer Coin Transferee #6878    [Address on File]     5/24/2023 Bitcoin                             0.00018384 Customer Transfer
 Confidential Customer Coin Transferee #6879    [Address on File]     5/26/2023 Bitcoin                             0.00929007 Customer Transfer
 Confidential Customer Coin Transferee #6880    [Address on File]     6/19/2023 Bitcoin                             0.00279429 Customer Transfer
 Confidential Customer Coin Transferee #6881    [Address on File]     5/24/2023 Bitcoin                             0.00265566 Customer Transfer
 Confidential Customer Coin Transferee #6882    [Address on File]     5/31/2023 Bitcoin                                 0.02497 Customer Transfer
 Confidential Customer Coin Transferee #6882    [Address on File]     5/31/2023 Bitcoin                             0.00001115 Customer Transfer
 Confidential Customer Coin Transferee #6882    [Address on File]     5/30/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #6883    [Address on File]     5/30/2023 Bitcoin                                     0.15 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/25/2023 Bitcoin                             0.00063372 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/25/2023 Bitcoin                             0.00040598 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/25/2023 Bitcoin                             0.00039609 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/27/2023 Bitcoin                             0.00039117 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/25/2023 Bitcoin                             0.00037926 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/25/2023 Bitcoin                             0.00037729 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/25/2023 Bitcoin                             0.00037147 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/29/2023 Bitcoin                             0.00029589 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/27/2023 Bitcoin                             0.00020217 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/24/2023 Bitcoin                             0.00019107 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/24/2023 Bitcoin                              0.0001696 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/26/2023 Bitcoin                             0.00015156 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/26/2023 Bitcoin                             0.00014916 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/16/2023 Bitcoin                             0.00013461 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/29/2023 Bitcoin                              0.0000881 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/29/2023 Bitcoin                                0.000075 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/29/2023 Bitcoin                                0.000073 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/27/2023 Bitcoin                             0.00007261 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/23/2023 Bitcoin                             0.00007215 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/29/2023 Bitcoin                             0.00007153 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/26/2023 Bitcoin                             0.00006494 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/29/2023 Bitcoin                             0.00006048 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/30/2023 Bitcoin                             0.00005705 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/21/2023 Bitcoin                             0.00004205 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/21/2023 Bitcoin                             0.00004204 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/22/2023 Bitcoin                             0.00004125 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/26/2023 Bitcoin                             0.00004088 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/19/2023 Bitcoin                             0.00003735 Customer Transfer
 Confidential Customer Coin Transferee #6884    [Address on File]     5/19/2023 Bitcoin                                0.000037 Customer Transfer
 Confidential Customer Coin Transferee #6885    [Address on File]     5/30/2023 Bitcoin                             0.01539532 Customer Transfer
 Confidential Customer Coin Transferee #6885    [Address on File]     5/20/2023 Bitcoin                             0.01293972 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/19/2023 Bitcoin                             0.00799469 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00022564 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00018582 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/23/2023 Bitcoin                             0.00018456 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/31/2023 Bitcoin                             0.00017322 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/23/2023 Bitcoin                             0.00015301 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00014902 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00014222 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00013566 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/22/2023 Bitcoin                             0.00012765 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/22/2023 Bitcoin                             0.00012546 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00012543 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/19/2023 Bitcoin                             0.00012455 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00012451 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/22/2023 Bitcoin                             0.00011565 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                              0.0001152 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00011164 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/29/2023 Bitcoin                             0.00010161 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00009645 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/19/2023 Bitcoin                             0.00008995 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/26/2023 Bitcoin                             0.00008652 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/19/2023 Bitcoin                              0.0000856 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/27/2023 Bitcoin                             0.00008346 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                                 0.00008 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00007928 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00007756 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/19/2023 Bitcoin                             0.00007752 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00007542 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00007057 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00006856 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00006783 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/29/2023 Bitcoin                             0.00006679 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/22/2023 Bitcoin                             0.00006544 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/19/2023 Bitcoin                             0.00006457 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/31/2023 Bitcoin                             0.00006284 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/23/2023 Bitcoin                             0.00005684 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/23/2023 Bitcoin                             0.00005649 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00005645 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/29/2023 Bitcoin                             0.00005624 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00005555 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00005554 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00005552 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/20/2023 Bitcoin                             0.00005463 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00005436 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/27/2023 Bitcoin                             0.00005301 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/29/2023 Bitcoin                             0.00005279 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/19/2023 Bitcoin                              0.0000517 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00005151 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00004657 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00004635 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/26/2023 Bitcoin                             0.00004512 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/29/2023 Bitcoin                             0.00004372 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/27/2023 Bitcoin                             0.00004236 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00004222 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00004178 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00004155 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                              0.0000399 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/29/2023 Bitcoin                             0.00003969 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00003917 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                              0.0000384 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/27/2023 Bitcoin                             0.00003801 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00003722 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00003701 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00003679 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00003675 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/31/2023 Bitcoin                             0.00003622 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/22/2023 Bitcoin                             0.00003562 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00003542 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00003542 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/19/2023 Bitcoin                             0.00003523 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00003512 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00003452 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00003451 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/19/2023 Bitcoin                             0.00003451 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/27/2023 Bitcoin                             0.00003434 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/26/2023 Bitcoin                             0.00003395 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00003343 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00003333 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/19/2023 Bitcoin                             0.00003332 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00003266 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00003191 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/22/2023 Bitcoin                             0.00003171 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/24/2023 Bitcoin                             0.00003041 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/23/2023 Bitcoin                              0.0000301 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/23/2023 Bitcoin                             0.00003001 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/27/2023 Bitcoin                             0.00002846 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00002661 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/19/2023 Bitcoin                             0.00002633 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/22/2023 Bitcoin                             0.00002546 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/20/2023 Bitcoin                                0.000025 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/22/2023 Bitcoin                             0.00002474 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00002463 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/22/2023 Bitcoin                             0.00002456 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00002453 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00002453 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00002428 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00002358 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/23/2023 Bitcoin                              0.0000228 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00002265 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/23/2023 Bitcoin                             0.00002226 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/26/2023 Bitcoin                             0.00002221 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/22/2023 Bitcoin                             0.00002033 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00001936 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/23/2023 Bitcoin                             0.00001817 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/31/2023 Bitcoin                              0.0000176 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/27/2023 Bitcoin                             0.00001744 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00001555 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00001534 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/22/2023 Bitcoin                             0.00001534 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00001522 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/18/2023 Bitcoin                             0.00001519 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/17/2023 Bitcoin                             0.00001466 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/26/2023 Bitcoin                             0.00001312 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00001256 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/27/2023 Bitcoin                             0.00001256 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                             0.00001253 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/20/2023 Bitcoin                             0.00001147 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/27/2023 Bitcoin                             0.00001135 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/23/2023 Bitcoin                             0.00001111 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/21/2023 Bitcoin                              0.0000109 Customer Transfer
 Confidential Customer Coin Transferee #6886    [Address on File]     5/27/2023 Bitcoin                             0.00001003 Customer Transfer

 Confidential Customer Coin Transferee #6887    [Address on File]     5/17/2023 Bitcoin                                0.00745203 Customer Transfer
 Confidential Customer Coin Transferee #6888    [Address on File]     5/25/2023 Bitcoin                                0.00038083 Customer Transfer
 Confidential Customer Coin Transferee #6889    [Address on File]     5/16/2023 Bitcoin                                0.00111004 Customer Transfer
 Confidential Customer Coin Transferee #6889    [Address on File]     5/20/2023 Bitcoin                                0.00056479 Customer Transfer
 Confidential Customer Coin Transferee #6890    [Address on File]     5/26/2023 Bitcoin                                0.00092439 Customer Transfer
 Confidential Customer Coin Transferee #6891    [Address on File]     5/18/2023 Bitcoin                                         0.02 Customer Transfer
 Confidential Customer Coin Transferee #6891    [Address on File]     5/28/2023 Bitcoin                                         0.01 Customer Transfer
 Confidential Customer Coin Transferee #6892    [Address on File]     5/19/2023 Bitcoin                                0.00110899 Customer Transfer
 Confidential Customer Coin Transferee #6893    [Address on File]     5/19/2023 Bitcoin                                0.00022023 Customer Transfer
 Confidential Customer Coin Transferee #6894    [Address on File]     5/19/2023 Bitcoin                                0.00369916 Customer Transfer
 Confidential Customer Coin Transferee #6895    [Address on File]     5/16/2023 Bitcoin                                      0.0105 Customer Transfer
 Confidential Customer Coin Transferee #6895    [Address on File]     5/26/2023 Bitcoin                                       0.004 Customer Transfer
 Confidential Customer Coin Transferee #6895    [Address on File]     5/16/2023 Bitcoin                                      0.0037 Customer Transfer
 Confidential Customer Coin Transferee #6895    [Address on File]     5/26/2023 Bitcoin                                0.00353429 Customer Transfer
 Confidential Customer Coin Transferee #6895    [Address on File]     5/16/2023 Bitcoin                                 0.0034183 Customer Transfer
 Confidential Customer Coin Transferee #6895    [Address on File]     5/16/2023 Bitcoin                                   0.002801 Customer Transfer
 Confidential Customer Coin Transferee #6896    [Address on File]     5/18/2023 Bitcoin                                0.11923378 Customer Transfer
 Confidential Customer Coin Transferee #6896    [Address on File]     5/26/2023 Bitcoin                                0.03709389 Customer Transfer
 Confidential Customer Coin Transferee #6897    [Address on File]     5/19/2023 Bitcoin                                0.03431077 Customer Transfer
 Confidential Customer Coin Transferee #6897    [Address on File]     5/19/2023 Bitcoin                                         0.01 Customer Transfer
 Confidential Customer Coin Transferee #6898    [Address on File]     5/29/2023 Bitcoin                                0.07089831 Customer Transfer
 Confidential Customer Coin Transferee #6898    [Address on File]     5/27/2023 Bitcoin                                0.05050738 Customer Transfer
 Confidential Customer Coin Transferee #6898    [Address on File]     5/27/2023 Bitcoin                                    0.00007 Customer Transfer
 Confidential Customer Coin Transferee #6899    [Address on File]     5/23/2023 Bitcoin                                0.07635125 Customer Transfer
 Confidential Customer Coin Transferee #6900    [Address on File]     5/29/2023 Bitcoin                                0.01123711 Customer Transfer
 Confidential Customer Coin Transferee #6901    [Address on File]     5/22/2023 Bitcoin                                0.01765831 Customer Transfer
 Confidential Customer Coin Transferee #6901    [Address on File]     5/23/2023 Bitcoin                                0.00073543 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6901    [Address on File]     5/24/2023 Bitcoin                             0.00034906 Customer Transfer
 Confidential Customer Coin Transferee #6902    [Address on File]     5/29/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #6903    [Address on File]     5/28/2023 Bitcoin                             0.06477926 Customer Transfer
 Confidential Customer Coin Transferee #6904    [Address on File]     5/19/2023 Bitcoin                             0.00185093 Customer Transfer
 Confidential Customer Coin Transferee #6905    [Address on File]     5/23/2023 Bitcoin                             0.01096828 Customer Transfer
 Confidential Customer Coin Transferee #6906    [Address on File]     5/26/2023 Bitcoin                             0.05620834 Customer Transfer
 Confidential Customer Coin Transferee #6907    [Address on File]     5/19/2023 Bitcoin                             0.00258685 Customer Transfer
 Confidential Customer Coin Transferee #6907    [Address on File]     5/28/2023 Bitcoin                             0.00074126 Customer Transfer
 Confidential Customer Coin Transferee #6907    [Address on File]     5/24/2023 Bitcoin                             0.00042931 Customer Transfer
 Confidential Customer Coin Transferee #6907    [Address on File]     5/27/2023 Bitcoin                              0.0003723 Customer Transfer
 Confidential Customer Coin Transferee #6907    [Address on File]     5/17/2023 Bitcoin                             0.00036395 Customer Transfer
 Confidential Customer Coin Transferee #6907    [Address on File]     5/29/2023 Bitcoin                             0.00029634 Customer Transfer
 Confidential Customer Coin Transferee #6907    [Address on File]     5/17/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #6907    [Address on File]     5/27/2023 Bitcoin                             0.00018614 Customer Transfer
 Confidential Customer Coin Transferee #6907    [Address on File]     5/20/2023 Bitcoin                             0.00015628 Customer Transfer
 Confidential Customer Coin Transferee #6907    [Address on File]     5/17/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #6907    [Address on File]     5/17/2023 Bitcoin                              0.0000917 Customer Transfer
 Confidential Customer Coin Transferee #6908    [Address on File]     5/20/2023 Bitcoin                             0.03540056 Customer Transfer
 Confidential Customer Coin Transferee #6908    [Address on File]     5/28/2023 Bitcoin                             0.00915859 Customer Transfer
 Confidential Customer Coin Transferee #6909    [Address on File]     5/19/2023 Bitcoin                             0.00370402 Customer Transfer
 Confidential Customer Coin Transferee #6910    [Address on File]     5/25/2023 Bitcoin                                    0.075 Customer Transfer
 Confidential Customer Coin Transferee #6911    [Address on File]     5/28/2023 Bitcoin                             0.01103348 Customer Transfer
 Confidential Customer Coin Transferee #6912    [Address on File]     5/21/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #6913    [Address on File]     5/17/2023 Bitcoin                             0.02411156 Customer Transfer
 Confidential Customer Coin Transferee #6914    [Address on File]     5/16/2023 Bitcoin                             0.11128798 Customer Transfer
 Confidential Customer Coin Transferee #6914    [Address on File]     5/21/2023 Bitcoin                                     0.11 Customer Transfer
 Confidential Customer Coin Transferee #6914    [Address on File]     5/21/2023 Bitcoin                             0.01292419 Customer Transfer
 Confidential Customer Coin Transferee #6914    [Address on File]     5/28/2023 Bitcoin                             0.00585857 Customer Transfer
 Confidential Customer Coin Transferee #6914    [Address on File]     5/27/2023 Bitcoin                             0.00372883 Customer Transfer
 Confidential Customer Coin Transferee #6914    [Address on File]     5/30/2023 Bitcoin                             0.00143976 Customer Transfer
 Confidential Customer Coin Transferee #6914    [Address on File]     5/30/2023 Bitcoin                             0.00035925 Customer Transfer
 Confidential Customer Coin Transferee #6915    [Address on File]     5/20/2023 Bitcoin                             0.05022099 Customer Transfer
 Confidential Customer Coin Transferee #6916    [Address on File]     5/26/2023 Bitcoin                             0.05117272 Customer Transfer
 Confidential Customer Coin Transferee #6917    [Address on File]     5/26/2023 Bitcoin                             0.78462833 Customer Transfer
 Confidential Customer Coin Transferee #6918    [Address on File]     6/19/2023 Bitcoin                             0.00121704 Customer Transfer
 Confidential Customer Coin Transferee #6919    [Address on File]     5/27/2023 Bitcoin                              0.0129394 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #6919    [Address on File]     5/20/2023 Bitcoin                              0.0122643 Customer Transfer
 Confidential Customer Coin Transferee #6920    [Address on File]     6/19/2023 Bitcoin                              0.0088354 Customer Transfer
 Confidential Customer Coin Transferee #6921    [Address on File]     5/25/2023 Bitcoin                             0.54114158 Customer Transfer
 Confidential Customer Coin Transferee #6922    [Address on File]     5/22/2023 Bitcoin                             0.02801626 Customer Transfer
 Confidential Customer Coin Transferee #6922    [Address on File]     6/20/2023 Bitcoin                             0.01421565 Customer Transfer
 Confidential Customer Coin Transferee #6923    [Address on File]     5/19/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #6924    [Address on File]     5/31/2023 Bitcoin                             0.10087466 Customer Transfer
 Confidential Customer Coin Transferee #6925    [Address on File]     5/19/2023 Bitcoin                             0.00369159 Customer Transfer
 Confidential Customer Coin Transferee #6925    [Address on File]     6/15/2023 Bitcoin                              0.0019828 Customer Transfer
 Confidential Customer Coin Transferee #6925    [Address on File]     6/12/2023 Bitcoin                             0.00193177 Customer Transfer
 Confidential Customer Coin Transferee #6925    [Address on File]     5/26/2023 Bitcoin                             0.00186599 Customer Transfer
 Confidential Customer Coin Transferee #6925    [Address on File]      6/6/2023 Bitcoin                              0.0018553 Customer Transfer
 Confidential Customer Coin Transferee #6925    [Address on File]     5/22/2023 Bitcoin                             0.00184337 Customer Transfer
 Confidential Customer Coin Transferee #6925    [Address on File]     5/30/2023 Bitcoin                             0.00177706 Customer Transfer
 Confidential Customer Coin Transferee #6925    [Address on File]     5/22/2023 Bitcoin                              0.0011073 Customer Transfer
 Confidential Customer Coin Transferee #6926    [Address on File]     6/19/2023 Bitcoin                              0.0012685 Customer Transfer
 Confidential Customer Coin Transferee #6927    [Address on File]     5/26/2023 Bitcoin                             0.01009404 Customer Transfer
 Confidential Customer Coin Transferee #6928    [Address on File]     6/19/2023 Bitcoin                             0.00079912 Customer Transfer
 Confidential Customer Coin Transferee #6929    [Address on File]     6/19/2023 Bitcoin                             0.00934261 Customer Transfer
 Confidential Customer Coin Transferee #6930    [Address on File]     6/20/2023 Bitcoin                             0.00297581 Customer Transfer
 Confidential Customer Coin Transferee #6931    [Address on File]     6/20/2023 Bitcoin                             0.00007194 Customer Transfer
 Confidential Customer Coin Transferee #6932    [Address on File]     6/20/2023 Bitcoin                              0.0037497 Customer Transfer
 Confidential Customer Coin Transferee #6933    [Address on File]     5/23/2023 Bitcoin                             0.00250919 Customer Transfer
 Confidential Customer Coin Transferee #6933    [Address on File]     5/16/2023 Bitcoin                             0.00173952 Customer Transfer
 Confidential Customer Coin Transferee #6934    [Address on File]     6/20/2023 Bitcoin                             0.00165656 Customer Transfer
 Confidential Customer Coin Transferee #6935    [Address on File]     5/29/2023 Bitcoin                             0.00675839 Customer Transfer
 Confidential Customer Coin Transferee #6935    [Address on File]     6/12/2023 Bitcoin                             0.00335057 Customer Transfer
 Confidential Customer Coin Transferee #6936    [Address on File]     6/19/2023 Bitcoin                             0.00033346 Customer Transfer
 Confidential Customer Coin Transferee #6937    [Address on File]     6/14/2023 USDC Solana)                                10 Customer Transfer
 Confidential Customer Coin Transferee #6938    [Address on File]     6/20/2023 Bitcoin                             0.00037038 Customer Transfer
 Confidential Customer Coin Transferee #6939    [Address on File]     5/23/2023 Bitcoin                             0.01118326 Customer Transfer
 Confidential Customer Coin Transferee #6940    [Address on File]     6/20/2023 Bitcoin                             0.00208875 Customer Transfer
 Confidential Customer Coin Transferee #6941    [Address on File]     5/24/2023 Bitcoin                             0.01263192 Customer Transfer
 Confidential Customer Coin Transferee #6941    [Address on File]     5/16/2023 Bitcoin                             0.01222573 Customer Transfer
 Confidential Customer Coin Transferee #6942    [Address on File]      6/1/2023 Bitcoin                             0.03171044 Customer Transfer
 Confidential Customer Coin Transferee #6943    [Address on File]     5/18/2023 Bitcoin                              0.0524703 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6944    [Address on File]      6/5/2023 Bitcoin                             0.01106622 Customer Transfer
 Confidential Customer Coin Transferee #6944    [Address on File]      6/8/2023 Bitcoin                             0.00374907 Customer Transfer
 Confidential Customer Coin Transferee #6945    [Address on File]     6/20/2023 Bitcoin                             0.00003653 Customer Transfer
 Confidential Customer Coin Transferee #6946    [Address on File]     5/16/2023 Bitcoin                             0.03113675 Customer Transfer
 Confidential Customer Coin Transferee #6947    [Address on File]     5/23/2023 Bitcoin                             0.00334409 Customer Transfer
 Confidential Customer Coin Transferee #6947    [Address on File]     5/29/2023 Bitcoin                             0.00223484 Customer Transfer
 Confidential Customer Coin Transferee #6947    [Address on File]     5/25/2023 Bitcoin                             0.00222875 Customer Transfer
 Confidential Customer Coin Transferee #6947    [Address on File]     5/27/2023 Bitcoin                             0.00219468 Customer Transfer
 Confidential Customer Coin Transferee #6947    [Address on File]     5/19/2023 Bitcoin                             0.00216125 Customer Transfer
 Confidential Customer Coin Transferee #6947    [Address on File]     5/17/2023 Bitcoin                             0.00207893 Customer Transfer
 Confidential Customer Coin Transferee #6948    [Address on File]     5/16/2023 Bitcoin                             0.00898129 Customer Transfer
 Confidential Customer Coin Transferee #6948    [Address on File]     5/16/2023 Bitcoin                             0.00681442 Customer Transfer
 Confidential Customer Coin Transferee #6949    [Address on File]     5/22/2023 Bitcoin                             0.00147498 Customer Transfer
 Confidential Customer Coin Transferee #6950    [Address on File]     5/24/2023 Bitcoin                              0.0018626 Customer Transfer
 Confidential Customer Coin Transferee #6950    [Address on File]     5/17/2023 Bitcoin                             0.00172848 Customer Transfer
 Confidential Customer Coin Transferee #6951    [Address on File]     6/20/2023 Bitcoin                             0.02684271 Customer Transfer
 Confidential Customer Coin Transferee #6952    [Address on File]     5/26/2023 Bitcoin                             0.01077917 Customer Transfer
 Confidential Customer Coin Transferee #6953    [Address on File]     6/20/2023 Bitcoin                             0.00005614 Customer Transfer
 Confidential Customer Coin Transferee #6954    [Address on File]     5/22/2023 Bitcoin                             0.01102634 Customer Transfer
 Confidential Customer Coin Transferee #6955    [Address on File]     5/16/2023 Bitcoin                             0.02197209 Customer Transfer
 Confidential Customer Coin Transferee #6955    [Address on File]     5/20/2023 Bitcoin                             0.00354435 Customer Transfer
 Confidential Customer Coin Transferee #6956    [Address on File]     6/19/2023 Bitcoin                             0.00909904 Customer Transfer
 Confidential Customer Coin Transferee #6957    [Address on File]     5/26/2023 Bitcoin                             0.56103044 Customer Transfer
 Confidential Customer Coin Transferee #6958    [Address on File]     5/26/2023 Bitcoin                             0.08787728 Customer Transfer
 Confidential Customer Coin Transferee #6959    [Address on File]     5/16/2023 Bitcoin                             0.02514006 Customer Transfer
 Confidential Customer Coin Transferee #6960    [Address on File]     6/17/2023 Bitcoin                             0.00810944 Customer Transfer
 Confidential Customer Coin Transferee #6961    [Address on File]     6/19/2023 Bitcoin                             0.00058614 Customer Transfer
 Confidential Customer Coin Transferee #6962    [Address on File]     5/16/2023 Bitcoin                             0.04795441 Customer Transfer
 Confidential Customer Coin Transferee #6963    [Address on File]     5/21/2023 Bitcoin                             0.01021619 Customer Transfer
 Confidential Customer Coin Transferee #6964    [Address on File]     5/23/2023 Bitcoin                             0.03690807 Customer Transfer
 Confidential Customer Coin Transferee #6964    [Address on File]     5/25/2023 Bitcoin                              0.0129823 Customer Transfer
 Confidential Customer Coin Transferee #6965    [Address on File]      6/7/2023 Bitcoin                             0.00061058 Customer Transfer
 Confidential Customer Coin Transferee #6965    [Address on File]     6/19/2023 Bitcoin                             0.00057311 Customer Transfer
 Confidential Customer Coin Transferee #6966    [Address on File]     5/16/2023 Bitcoin                             0.01733193 Customer Transfer
 Confidential Customer Coin Transferee #6967    [Address on File]     6/20/2023 Bitcoin                             0.00086861 Customer Transfer
 Confidential Customer Coin Transferee #6968    [Address on File]     5/16/2023 Bitcoin                              0.0517023 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #6969    [Address on File]     6/19/2023 Bitcoin                             0.00017575 Customer Transfer
 Confidential Customer Coin Transferee #6970    [Address on File]     5/21/2023 Bitcoin                             0.01395092 Customer Transfer
 Confidential Customer Coin Transferee #6971    [Address on File]     5/29/2023 Bitcoin                             0.00785752 Customer Transfer
 Confidential Customer Coin Transferee #6972    [Address on File]     6/19/2023 Bitcoin                             0.00174377 Customer Transfer
 Confidential Customer Coin Transferee #6973    [Address on File]     5/25/2023 Bitcoin                             0.00820952 Customer Transfer
 Confidential Customer Coin Transferee #6974    [Address on File]     6/20/2023 Bitcoin                             0.00334493 Customer Transfer
 Confidential Customer Coin Transferee #6975    [Address on File]     5/22/2023 Bitcoin                             0.00149301 Customer Transfer
 Confidential Customer Coin Transferee #6975    [Address on File]     5/20/2023 Bitcoin                             0.00071552 Customer Transfer
 Confidential Customer Coin Transferee #6976    [Address on File]     5/16/2023 Bitcoin                             0.02291927 Customer Transfer
 Confidential Customer Coin Transferee #6977    [Address on File]     5/25/2023 Bitcoin                             0.01100328 Customer Transfer
 Confidential Customer Coin Transferee #6977    [Address on File]     5/18/2023 Bitcoin                             0.01042533 Customer Transfer
 Confidential Customer Coin Transferee #6978    [Address on File]     5/22/2023 Bitcoin                             0.02180996 Customer Transfer
 Confidential Customer Coin Transferee #6979    [Address on File]     6/20/2023 Bitcoin                             0.00279829 Customer Transfer
 Confidential Customer Coin Transferee #6980    [Address on File]     6/20/2023 Bitcoin                             0.00683099 Customer Transfer
 Confidential Customer Coin Transferee #6981    [Address on File]     6/19/2023 Bitcoin                             0.00180441 Customer Transfer
 Confidential Customer Coin Transferee #6982    [Address on File]     6/19/2023 Bitcoin                              0.0057083 Customer Transfer
 Confidential Customer Coin Transferee #6983    [Address on File]     5/17/2023 Bitcoin                             0.01621289 Customer Transfer
 Confidential Customer Coin Transferee #6983    [Address on File]     5/29/2023 Bitcoin                             0.01313345 Customer Transfer
 Confidential Customer Coin Transferee #6983    [Address on File]     5/26/2023 Bitcoin                             0.01108887 Customer Transfer
 Confidential Customer Coin Transferee #6983    [Address on File]     5/20/2023 Bitcoin                             0.00891849 Customer Transfer
 Confidential Customer Coin Transferee #6984    [Address on File]     6/20/2023 Bitcoin                             0.00012474 Customer Transfer
 Confidential Customer Coin Transferee #6985    [Address on File]     6/20/2023 Bitcoin                             0.00127836 Customer Transfer
 Confidential Customer Coin Transferee #6986    [Address on File]     6/20/2023 Bitcoin                              0.0045512 Customer Transfer
 Confidential Customer Coin Transferee #6986    [Address on File]     5/19/2023 Bitcoin                             0.00270191 Customer Transfer
 Confidential Customer Coin Transferee #6986    [Address on File]     5/22/2023 Bitcoin                             0.00109692 Customer Transfer
 Confidential Customer Coin Transferee #6987    [Address on File]     5/26/2023 Bitcoin                                   0.107 Customer Transfer
 Confidential Customer Coin Transferee #6988    [Address on File]     5/25/2023 Bitcoin                             0.06620203 Customer Transfer
 Confidential Customer Coin Transferee #6989    [Address on File]     6/20/2023 Bitcoin                             0.00004738 Customer Transfer
 Confidential Customer Coin Transferee #6990    [Address on File]     6/12/2023 Bitcoin                             0.01600203 Customer Transfer
 Confidential Customer Coin Transferee #6990    [Address on File]     6/18/2023 Bitcoin                             0.00180251 Customer Transfer
 Confidential Customer Coin Transferee #6991    [Address on File]     5/20/2023 Bitcoin                             0.01152269 Customer Transfer
 Confidential Customer Coin Transferee #6992    [Address on File]     6/20/2023 Bitcoin                             0.00080054 Customer Transfer
 Confidential Customer Coin Transferee #6993    [Address on File]     5/22/2023 Bitcoin                             0.02656989 Customer Transfer
 Confidential Customer Coin Transferee #6994    [Address on File]     5/27/2023 Bitcoin                                     0.04 Customer Transfer
 Confidential Customer Coin Transferee #6995    [Address on File]     5/24/2023 Bitcoin                             0.00755407 Customer Transfer
 Confidential Customer Coin Transferee #6996    [Address on File]     5/24/2023 Bitcoin                                  0.0001 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #6997    [Address on File]     6/20/2023 Bitcoin                             0.00004351 Customer Transfer
 Confidential Customer Coin Transferee #6998    [Address on File]     5/25/2023 Bitcoin                             0.02500062 Customer Transfer
 Confidential Customer Coin Transferee #6999    [Address on File]     6/19/2023 Bitcoin                              0.0004077 Customer Transfer
 Confidential Customer Coin Transferee #7000    [Address on File]     6/20/2023 Bitcoin                             0.02090643 Customer Transfer
 Confidential Customer Coin Transferee #7001    [Address on File]     5/16/2023 Bitcoin                              0.0200082 Customer Transfer
 Confidential Customer Coin Transferee #7001    [Address on File]     5/16/2023 Bitcoin                             0.01693656 Customer Transfer
 Confidential Customer Coin Transferee #7001    [Address on File]     5/27/2023 Bitcoin                             0.00640614 Customer Transfer
 Confidential Customer Coin Transferee #7002    [Address on File]     5/16/2023 Bitcoin                             0.19139049 Customer Transfer
 Confidential Customer Coin Transferee #7002    [Address on File]     5/21/2023 Bitcoin                             0.06625859 Customer Transfer
 Confidential Customer Coin Transferee #7002    [Address on File]     5/27/2023 Bitcoin                             0.04325724 Customer Transfer
 Confidential Customer Coin Transferee #7002    [Address on File]     5/23/2023 Bitcoin                             0.02414566 Customer Transfer
 Confidential Customer Coin Transferee #7002    [Address on File]     5/29/2023 Bitcoin                             0.02218961 Customer Transfer
 Confidential Customer Coin Transferee #7003    [Address on File]     6/20/2023 Bitcoin                             0.00006037 Customer Transfer
 Confidential Customer Coin Transferee #7004    [Address on File]     5/20/2023 Bitcoin                             0.00270774 Customer Transfer
 Confidential Customer Coin Transferee #7005    [Address on File]     5/19/2023 Bitcoin                             0.18084101 Customer Transfer
 Confidential Customer Coin Transferee #7005    [Address on File]     5/16/2023 Bitcoin                             0.15307423 Customer Transfer
 Confidential Customer Coin Transferee #7005    [Address on File]     5/20/2023 Bitcoin                             0.03327676 Customer Transfer
 Confidential Customer Coin Transferee #7006    [Address on File]     6/20/2023 Bitcoin                             0.00005799 Customer Transfer
 Confidential Customer Coin Transferee #7007    [Address on File]     6/19/2023 Bitcoin                             0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/27/2023 Bitcoin                             0.00242347 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/26/2023 Bitcoin                             0.00173473 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/23/2023 Bitcoin                             0.00148229 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/19/2023 Bitcoin                             0.00114401 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/16/2023 Bitcoin                             0.00113877 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/26/2023 Bitcoin                             0.00107629 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/30/2023 Bitcoin                             0.00104164 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/26/2023 Bitcoin                             0.00090275 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/26/2023 Bitcoin                             0.00085423 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/21/2023 Bitcoin                              0.0007701 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/23/2023 Bitcoin                             0.00076452 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/29/2023 Bitcoin                             0.00072601 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/26/2023 Bitcoin                             0.00070596 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/20/2023 Bitcoin                             0.00052445 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/23/2023 Bitcoin                             0.00051069 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/17/2023 Bitcoin                             0.00044188 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/22/2023 Bitcoin                             0.00039862 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/22/2023 Bitcoin                             0.00036311 Customer Transfer
 Confidential Customer Coin Transferee #7008    [Address on File]     5/27/2023 Bitcoin                             0.00034675 Customer Transfer
 Confidential Customer Coin Transferee #7009    [Address on File]     6/19/2023 Bitcoin                             0.00212554 Customer Transfer
 Confidential Customer Coin Transferee #7010    [Address on File]     5/29/2023 Bitcoin                              0.0008617 Customer Transfer
 Confidential Customer Coin Transferee #7011    [Address on File]     5/27/2023 Bitcoin                             0.00049174 Customer Transfer
 Confidential Customer Coin Transferee #7011    [Address on File]     5/29/2023 Bitcoin                             0.00041308 Customer Transfer
 Confidential Customer Coin Transferee #7011    [Address on File]     5/26/2023 Bitcoin                             0.00036839 Customer Transfer
 Confidential Customer Coin Transferee #7012    [Address on File]     6/20/2023 Bitcoin                             0.00003243 Customer Transfer
 Confidential Customer Coin Transferee #7013    [Address on File]     6/19/2023 Bitcoin                             0.00309776 Customer Transfer
 Confidential Customer Coin Transferee #7014    [Address on File]     6/20/2023 Bitcoin                             0.00093405 Customer Transfer
 Confidential Customer Coin Transferee #7015    [Address on File]     6/20/2023 Bitcoin                             0.00091085 Customer Transfer
 Confidential Customer Coin Transferee #7016    [Address on File]     6/19/2023 Bitcoin                             0.00225319 Customer Transfer
 Confidential Customer Coin Transferee #7017    [Address on File]     5/24/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #7018    [Address on File]     6/20/2023 Bitcoin                             0.00004303 Customer Transfer
 Confidential Customer Coin Transferee #7019    [Address on File]     6/20/2023 Bitcoin                             0.00226886 Customer Transfer
 Confidential Customer Coin Transferee #7020    [Address on File]     6/20/2023 Bitcoin                             0.00076451 Customer Transfer
 Confidential Customer Coin Transferee #7021    [Address on File]     6/16/2023 Bitcoin                             0.00420736 Customer Transfer
 Confidential Customer Coin Transferee #7022    [Address on File]     6/20/2023 Bitcoin                             0.00773271 Customer Transfer

 Confidential Customer Coin Transferee #7023    [Address on File]     5/16/2023 Bitcoin                                0.01044346 Customer Transfer
 Confidential Customer Coin Transferee #7024    [Address on File]     6/20/2023 Bitcoin                                0.01234244 Customer Transfer
 Confidential Customer Coin Transferee #7025    [Address on File]     6/20/2023 Bitcoin                                0.00578695 Customer Transfer
 Confidential Customer Coin Transferee #7026    [Address on File]     5/17/2023 Bitcoin                                0.00352338 Customer Transfer
 Confidential Customer Coin Transferee #7027    [Address on File]     6/20/2023 Bitcoin                                0.00035215 Customer Transfer
 Confidential Customer Coin Transferee #7028    [Address on File]     5/16/2023 Bitcoin                                0.07152023 Customer Transfer
 Confidential Customer Coin Transferee #7029    [Address on File]     6/20/2023 Bitcoin                                 0.0017092 Customer Transfer
 Confidential Customer Coin Transferee #7030    [Address on File]     6/20/2023 Bitcoin                                0.00084187 Customer Transfer
 Confidential Customer Coin Transferee #7031    [Address on File]      6/7/2023 Bitcoin                                0.00043418 Customer Transfer
 Confidential Customer Coin Transferee #7032    [Address on File]     6/20/2023 Bitcoin                                0.00058642 Customer Transfer
 Confidential Customer Coin Transferee #7033    [Address on File]     5/28/2023 Bitcoin                                0.00053598 Customer Transfer
 Confidential Customer Coin Transferee #7033    [Address on File]     5/30/2023 Bitcoin                                 0.0005273 Customer Transfer
 Confidential Customer Coin Transferee #7034    [Address on File]     5/23/2023 Bitcoin                                0.00371445 Customer Transfer
 Confidential Customer Coin Transferee #7035    [Address on File]     5/28/2023 USDC Avalanche)                        1195.51314 Customer Transfer
 Confidential Customer Coin Transferee #7035    [Address on File]     5/21/2023 USDC Avalanche)                        996.161535 Customer Transfer
 Confidential Customer Coin Transferee #7035    [Address on File]     5/26/2023 USDC Avalanche)                        995.962422 Customer Transfer
 Confidential Customer Coin Transferee #7035    [Address on File]     5/24/2023 USDC Avalanche)                        496.860627 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #7035    [Address on File]      6/4/2023 USDC Avalanche)                     496.801599 Customer Transfer
 Confidential Customer Coin Transferee #7035    [Address on File]     5/28/2023 USD Coin                            495.683453 Customer Transfer
 Confidential Customer Coin Transferee #7035    [Address on File]     5/31/2023 USDC Avalanche)                     396.921846 Customer Transfer
 Confidential Customer Coin Transferee #7035    [Address on File]     6/13/2023 USDC Avalanche)                     247.226386 Customer Transfer
 Confidential Customer Coin Transferee #7035    [Address on File]     5/28/2023 USDC Avalanche)                     247.102318 Customer Transfer
 Confidential Customer Coin Transferee #7035    [Address on File]      6/9/2023 USDC Avalanche)                      47.496251 Customer Transfer
 Confidential Customer Coin Transferee #7036    [Address on File]     5/22/2023 Bitcoin                             0.01029109 Customer Transfer
 Confidential Customer Coin Transferee #7036    [Address on File]     5/31/2023 Bitcoin                             0.00440372 Customer Transfer
 Confidential Customer Coin Transferee #7037    [Address on File]     5/25/2023 Bitcoin                             0.51401745 Customer Transfer
 Confidential Customer Coin Transferee #7038    [Address on File]     6/20/2023 Bitcoin                             0.00695651 Customer Transfer
 Confidential Customer Coin Transferee #7039    [Address on File]     5/27/2023 Bitcoin                                   0.0156 Customer Transfer
 Confidential Customer Coin Transferee #7039    [Address on File]     5/27/2023 Bitcoin                             0.00189422 Customer Transfer
 Confidential Customer Coin Transferee #7039    [Address on File]     5/30/2023 Bitcoin                             0.00136007 Customer Transfer
 Confidential Customer Coin Transferee #7039    [Address on File]     5/29/2023 Bitcoin                              0.0010419 Customer Transfer
 Confidential Customer Coin Transferee #7039    [Address on File]     5/21/2023 Bitcoin                             0.00047806 Customer Transfer
 Confidential Customer Coin Transferee #7040    [Address on File]     5/24/2023 Bitcoin                             0.01833434 Customer Transfer
 Confidential Customer Coin Transferee #7041    [Address on File]     6/18/2023 Bitcoin                             0.00143588 Customer Transfer
 Confidential Customer Coin Transferee #7042    [Address on File]     5/24/2023 Bitcoin                             0.00810976 Customer Transfer
 Confidential Customer Coin Transferee #7043    [Address on File]     5/30/2023 Bitcoin                             0.01757805 Customer Transfer
 Confidential Customer Coin Transferee #7044    [Address on File]     5/27/2023 Bitcoin                                      0.22 Customer Transfer
 Confidential Customer Coin Transferee #7045    [Address on File]     6/20/2023 Bitcoin                              0.0003959 Customer Transfer
 Confidential Customer Coin Transferee #7046    [Address on File]     6/12/2023 Bitcoin                             0.00118448 Customer Transfer
 Confidential Customer Coin Transferee #7047    [Address on File]     5/16/2023 Bitcoin                             0.00174034 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]      6/2/2023 USDC Avalanche)                    1495.162902 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]     5/22/2023 USDC Avalanche)                     996.151539 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]     6/15/2023 Tether USD                          996.061575 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]     5/27/2023 USDC Avalanche)                     995.862895 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]      6/7/2023 Tether USD                           995.51314 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]      6/6/2023 Tether USD                          994.733686 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]      6/1/2023 Ether                                  0.263697 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]     5/19/2023 Ether                                  0.108391 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]      6/7/2023 Bitcoin                                0.074932 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]      6/8/2023 Bitcoin                                0.074861 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]     6/19/2023 Bitcoin                                0.037285 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]      6/6/2023 Bitcoin                                0.036956 Customer Transfer
 Confidential Customer Coin Transferee #7048    [Address on File]     5/23/2023 Ether                                  0.023838 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7049    [Address on File]     6/19/2023 Bitcoin                             0.00525042 Customer Transfer
 Confidential Customer Coin Transferee #7050    [Address on File]     6/20/2023 Bitcoin                             0.00382507 Customer Transfer
 Confidential Customer Coin Transferee #7051    [Address on File]     6/12/2023 Bitcoin                             0.00076987 Customer Transfer
 Confidential Customer Coin Transferee #7051    [Address on File]     5/16/2023 Bitcoin                             0.00072728 Customer Transfer
 Confidential Customer Coin Transferee #7052    [Address on File]      6/1/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #7053    [Address on File]     5/24/2023 Bitcoin                             0.00632409 Customer Transfer
 Confidential Customer Coin Transferee #7054    [Address on File]     5/21/2023 Bitcoin                             0.02713893 Customer Transfer
 Confidential Customer Coin Transferee #7054    [Address on File]     5/21/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #7055    [Address on File]     5/29/2023 Bitcoin                             0.00021555 Customer Transfer
 Confidential Customer Coin Transferee #7056    [Address on File]     5/20/2023 Bitcoin                             0.06765081 Customer Transfer
 Confidential Customer Coin Transferee #7057    [Address on File]     5/19/2023 Bitcoin                             0.10363878 Customer Transfer
 Confidential Customer Coin Transferee #7058    [Address on File]     5/25/2023 Bitcoin                             0.00377044 Customer Transfer
 Confidential Customer Coin Transferee #7059    [Address on File]     5/20/2023 Bitcoin                             0.00037002 Customer Transfer
 Confidential Customer Coin Transferee #7059    [Address on File]     5/26/2023 Bitcoin                             0.00007556 Customer Transfer
 Confidential Customer Coin Transferee #7059    [Address on File]     5/26/2023 Bitcoin                             0.00007556 Customer Transfer
 Confidential Customer Coin Transferee #7060    [Address on File]     5/22/2023 Bitcoin                             0.01551788 Customer Transfer
 Confidential Customer Coin Transferee #7060    [Address on File]     5/18/2023 Bitcoin                             0.01496894 Customer Transfer
 Confidential Customer Coin Transferee #7061    [Address on File]     5/27/2023 Bitcoin                             0.01035034 Customer Transfer
 Confidential Customer Coin Transferee #7062    [Address on File]     5/24/2023 Bitcoin                              0.0040203 Customer Transfer
 Confidential Customer Coin Transferee #7063    [Address on File]     5/19/2023 Bitcoin                             0.01045895 Customer Transfer
 Confidential Customer Coin Transferee #7064    [Address on File]     5/23/2023 Bitcoin                             0.01105097 Customer Transfer
 Confidential Customer Coin Transferee #7065    [Address on File]     5/25/2023 Bitcoin                             0.00110758 Customer Transfer
 Confidential Customer Coin Transferee #7066    [Address on File]     5/31/2023 Bitcoin                             0.00359455 Customer Transfer
 Confidential Customer Coin Transferee #7067    [Address on File]     5/19/2023 Bitcoin                             0.00037024 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/17/2023 Bitcoin                                 0.00236 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/16/2023 Bitcoin                                   0.0023 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/17/2023 Bitcoin                             0.00182015 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/16/2023 Bitcoin                                   0.0013 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/23/2023 Bitcoin                              0.0012799 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/18/2023 Bitcoin                                 0.00127 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/19/2023 Bitcoin                                0.001254 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/19/2023 Bitcoin                              0.0010768 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/16/2023 Bitcoin                             0.00100795 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/24/2023 Bitcoin                                 0.00091 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/22/2023 Bitcoin                             0.00082019 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/28/2023 Bitcoin                             0.00072121 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/27/2023 Bitcoin                             0.00070845 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/27/2023 Bitcoin                             0.00070458 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/23/2023 Bitcoin                             0.00065862 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/17/2023 Bitcoin                             0.00059037 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/26/2023 Bitcoin                                0.000569 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/23/2023 Bitcoin                              0.0005487 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/31/2023 Bitcoin                             0.00053661 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/23/2023 Bitcoin                             0.00044077 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/30/2023 Bitcoin                              0.0004265 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/22/2023 Bitcoin                             0.00037363 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/28/2023 Bitcoin                             0.00036877 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/19/2023 Bitcoin                             0.00035983 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/23/2023 Bitcoin                             0.00009495 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/26/2023 Bitcoin                             0.00009439 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/28/2023 Bitcoin                             0.00007762 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/22/2023 Bitcoin                              0.0000554 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/17/2023 Bitcoin                             0.00004989 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/30/2023 Bitcoin                             0.00003888 Customer Transfer
 Confidential Customer Coin Transferee #7068    [Address on File]     5/27/2023 Bitcoin                             0.00003725 Customer Transfer
 Confidential Customer Coin Transferee #7069    [Address on File]     5/22/2023 Bitcoin                             0.00615742 Customer Transfer
 Confidential Customer Coin Transferee #7070    [Address on File]     5/31/2023 Bitcoin                             0.03590217 Customer Transfer
 Confidential Customer Coin Transferee #7070    [Address on File]     5/31/2023 Bitcoin                             0.03506537 Customer Transfer
 Confidential Customer Coin Transferee #7071    [Address on File]     5/24/2023 Bitcoin                             0.01202865 Customer Transfer
 Confidential Customer Coin Transferee #7072    [Address on File]     5/22/2023 Bitcoin                             0.09467083 Customer Transfer
 Confidential Customer Coin Transferee #7072    [Address on File]     5/22/2023 Bitcoin                             0.00126075 Customer Transfer
 Confidential Customer Coin Transferee #7073    [Address on File]     5/21/2023 Bitcoin                             0.00921302 Customer Transfer
 Confidential Customer Coin Transferee #7074    [Address on File]     6/19/2023 Bitcoin                             0.00035376 Customer Transfer
 Confidential Customer Coin Transferee #7075    [Address on File]     5/21/2023 Bitcoin                             0.05616919 Customer Transfer
 Confidential Customer Coin Transferee #7076    [Address on File]     5/16/2023 Bitcoin                              0.0038352 Customer Transfer
 Confidential Customer Coin Transferee #7077    [Address on File]     5/24/2023 Bitcoin                             0.00371518 Customer Transfer
 Confidential Customer Coin Transferee #7078    [Address on File]     5/19/2023 Bitcoin                             0.01479801 Customer Transfer
 Confidential Customer Coin Transferee #7078    [Address on File]     5/27/2023 Bitcoin                             0.00742662 Customer Transfer
 Confidential Customer Coin Transferee #7078    [Address on File]     5/30/2023 Bitcoin                             0.00179113 Customer Transfer
 Confidential Customer Coin Transferee #7079    [Address on File]     5/24/2023 Bitcoin                             0.00121668 Customer Transfer
 Confidential Customer Coin Transferee #7080    [Address on File]     5/16/2023 Bitcoin                             0.00164719 Customer Transfer
 Confidential Customer Coin Transferee #7080    [Address on File]     5/24/2023 Bitcoin                             0.00022201 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7081    [Address on File]     5/27/2023 Bitcoin                             0.01881374 Customer Transfer
 Confidential Customer Coin Transferee #7081    [Address on File]     5/22/2023 Bitcoin                             0.00369635 Customer Transfer
 Confidential Customer Coin Transferee #7082    [Address on File]     6/15/2023 Bitcoin                             0.01299206 Customer Transfer
 Confidential Customer Coin Transferee #7083    [Address on File]     6/20/2023 Bitcoin                             0.00144667 Customer Transfer

 Confidential Customer Coin Transferee #7084    [Address on File]     5/30/2023 Ether                                  0.07716645 Customer Transfer

 Confidential Customer Coin Transferee #7084    [Address on File]     5/30/2023 Bitcoin                                0.00529337 Customer Transfer
 Confidential Customer Coin Transferee #7085    [Address on File]     5/22/2023 Bitcoin                                       0.02 Customer Transfer
 Confidential Customer Coin Transferee #7086    [Address on File]     5/23/2023 Bitcoin                                0.11035936 Customer Transfer
 Confidential Customer Coin Transferee #7087    [Address on File]     5/22/2023 Bitcoin                                0.03538195 Customer Transfer
 Confidential Customer Coin Transferee #7088    [Address on File]     6/20/2023 Bitcoin                                 0.0049617 Customer Transfer
 Confidential Customer Coin Transferee #7089    [Address on File]     6/20/2023 Bitcoin                                0.04548979 Customer Transfer
 Confidential Customer Coin Transferee #7090    [Address on File]     5/16/2023 Bitcoin                                0.02740957 Customer Transfer
 Confidential Customer Coin Transferee #7091    [Address on File]     6/12/2023 Bitcoin                                0.01221796 Customer Transfer
 Confidential Customer Coin Transferee #7091    [Address on File]     6/20/2023 Bitcoin                                0.00037817 Customer Transfer
 Confidential Customer Coin Transferee #7092    [Address on File]     6/20/2023 Bitcoin                                0.00534758 Customer Transfer
 Confidential Customer Coin Transferee #7093    [Address on File]     6/20/2023 Bitcoin                                0.00290666 Customer Transfer
 Confidential Customer Coin Transferee #7094    [Address on File]     5/29/2023 Bitcoin                                0.00101225 Customer Transfer
 Confidential Customer Coin Transferee #7095    [Address on File]     5/19/2023 Bitcoin                                0.00846732 Customer Transfer
 Confidential Customer Coin Transferee #7096    [Address on File]     5/21/2023 Bitcoin                                0.00195407 Customer Transfer
 Confidential Customer Coin Transferee #7097    [Address on File]     6/20/2023 Bitcoin                                0.00057886 Customer Transfer
 Confidential Customer Coin Transferee #7098    [Address on File]     6/20/2023 Bitcoin                                0.00877441 Customer Transfer
 Confidential Customer Coin Transferee #7099    [Address on File]     5/25/2023 Bitcoin                                0.00433942 Customer Transfer
 Confidential Customer Coin Transferee #7099    [Address on File]     5/24/2023 Bitcoin                                 0.0038191 Customer Transfer
 Confidential Customer Coin Transferee #7099    [Address on File]     5/17/2023 Bitcoin                                0.00247546 Customer Transfer
 Confidential Customer Coin Transferee #7099    [Address on File]      6/6/2023 Bitcoin                                0.00206455 Customer Transfer
 Confidential Customer Coin Transferee #7099    [Address on File]     6/20/2023 Bitcoin                                0.00166602 Customer Transfer
 Confidential Customer Coin Transferee #7099    [Address on File]      6/9/2023 Bitcoin                                0.00111936 Customer Transfer
 Confidential Customer Coin Transferee #7099    [Address on File]     5/23/2023 Bitcoin                                0.00094076 Customer Transfer
 Confidential Customer Coin Transferee #7099    [Address on File]     5/19/2023 Bitcoin                                0.00090719 Customer Transfer
 Confidential Customer Coin Transferee #7099    [Address on File]      6/1/2023 Bitcoin                                0.00089213 Customer Transfer
 Confidential Customer Coin Transferee #7100    [Address on File]      6/9/2023 Bitcoin                                0.01863984 Customer Transfer
 Confidential Customer Coin Transferee #7100    [Address on File]     5/18/2023 Bitcoin                                0.00578217 Customer Transfer
 Confidential Customer Coin Transferee #7100    [Address on File]     5/25/2023 Bitcoin                                0.00377053 Customer Transfer
 Confidential Customer Coin Transferee #7100    [Address on File]     6/12/2023 Bitcoin                                0.00191325 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7100    [Address on File]     6/17/2023 Bitcoin                             0.00038383 Customer Transfer
 Confidential Customer Coin Transferee #7100    [Address on File]     6/12/2023 Bitcoin                             0.00003778 Customer Transfer
 Confidential Customer Coin Transferee #7101    [Address on File]     5/25/2023 Bitcoin                                 0.00385 Customer Transfer
 Confidential Customer Coin Transferee #7102    [Address on File]     6/20/2023 Bitcoin                             0.00117204 Customer Transfer
 Confidential Customer Coin Transferee #7103    [Address on File]     6/19/2023 Bitcoin                             0.00896363 Customer Transfer
 Confidential Customer Coin Transferee #7104    [Address on File]     6/15/2023 Bitcoin                              0.0005036 Customer Transfer
 Confidential Customer Coin Transferee #7105    [Address on File]     6/19/2023 Bitcoin                             0.01974419 Customer Transfer
 Confidential Customer Coin Transferee #7105    [Address on File]     5/17/2023 Bitcoin                             0.01192687 Customer Transfer
 Confidential Customer Coin Transferee #7106    [Address on File]      6/8/2023 Bitcoin                             0.02939513 Customer Transfer
 Confidential Customer Coin Transferee #7107    [Address on File]     5/26/2023 Bitcoin                             0.00551871 Customer Transfer
 Confidential Customer Coin Transferee #7107    [Address on File]     5/19/2023 Bitcoin                             0.00541644 Customer Transfer
 Confidential Customer Coin Transferee #7108    [Address on File]      6/6/2023 Bitcoin                                0.014251 Customer Transfer
 Confidential Customer Coin Transferee #7109    [Address on File]     6/18/2023 USD Coin                             95.594098 Customer Transfer
 Confidential Customer Coin Transferee #7110    [Address on File]     6/19/2023 Bitcoin                             0.00006978 Customer Transfer
 Confidential Customer Coin Transferee #7111    [Address on File]     6/19/2023 Bitcoin                             0.01925237 Customer Transfer
 Confidential Customer Coin Transferee #7112    [Address on File]     6/19/2023 Bitcoin                             0.07102949 Customer Transfer
 Confidential Customer Coin Transferee #7113    [Address on File]     6/19/2023 Bitcoin                             0.00091093 Customer Transfer
 Confidential Customer Coin Transferee #7114    [Address on File]     5/30/2023 Litecoin                            0.51748556 Customer Transfer
 Confidential Customer Coin Transferee #7115    [Address on File]     5/26/2023 Bitcoin                             0.00036796 Customer Transfer
 Confidential Customer Coin Transferee #7115    [Address on File]     5/19/2023 Bitcoin                             0.00036087 Customer Transfer
 Confidential Customer Coin Transferee #7116    [Address on File]     5/19/2023 Bitcoin                             0.01069986 Customer Transfer
 Confidential Customer Coin Transferee #7117    [Address on File]     6/20/2023 Bitcoin                             0.00087498 Customer Transfer
 Confidential Customer Coin Transferee #7117    [Address on File]     5/23/2023 Bitcoin                             0.00033563 Customer Transfer
 Confidential Customer Coin Transferee #7118    [Address on File]     6/20/2023 Bitcoin                             0.00087331 Customer Transfer
 Confidential Customer Coin Transferee #7119    [Address on File]     6/20/2023 Bitcoin                             0.00035845 Customer Transfer
 Confidential Customer Coin Transferee #7120    [Address on File]     6/19/2023 Bitcoin                             0.00069588 Customer Transfer
 Confidential Customer Coin Transferee #7121    [Address on File]     5/22/2023 Bitcoin                             0.02445846 Customer Transfer
 Confidential Customer Coin Transferee #7122    [Address on File]      6/8/2023 Bitcoin                             0.00105172 Customer Transfer
 Confidential Customer Coin Transferee #7123    [Address on File]     6/19/2023 Bitcoin                              0.0001162 Customer Transfer
 Confidential Customer Coin Transferee #7124    [Address on File]     6/20/2023 Bitcoin                             0.00149597 Customer Transfer
 Confidential Customer Coin Transferee #7125    [Address on File]     5/23/2023 Bitcoin                                      3.9 Customer Transfer
 Confidential Customer Coin Transferee #7125    [Address on File]     5/23/2023 Bitcoin                                        3 Customer Transfer
 Confidential Customer Coin Transferee #7125    [Address on File]     5/23/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #7126    [Address on File]     6/20/2023 Bitcoin                             0.00059685 Customer Transfer
 Confidential Customer Coin Transferee #7127    [Address on File]     5/17/2023 Bitcoin                             0.01555245 Customer Transfer
 Confidential Customer Coin Transferee #7127    [Address on File]     6/20/2023 Bitcoin                             0.01244052 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7128    [Address on File]     6/19/2023 Bitcoin                             0.00387398 Customer Transfer
 Confidential Customer Coin Transferee #7129    [Address on File]     5/24/2023 Bitcoin                             0.00254795 Customer Transfer
 Confidential Customer Coin Transferee #7129    [Address on File]     5/17/2023 Bitcoin                             0.00241392 Customer Transfer
 Confidential Customer Coin Transferee #7130    [Address on File]     6/19/2023 Bitcoin                             0.00593533 Customer Transfer
 Confidential Customer Coin Transferee #7131    [Address on File]     6/19/2023 Bitcoin                             0.00196634 Customer Transfer
 Confidential Customer Coin Transferee #7132    [Address on File]     6/20/2023 Bitcoin                             0.00005809 Customer Transfer
 Confidential Customer Coin Transferee #7133    [Address on File]      6/6/2023 Bitcoin                             0.00172766 Customer Transfer
 Confidential Customer Coin Transferee #7134    [Address on File]     6/20/2023 Bitcoin                             0.00005805 Customer Transfer

 Confidential Customer Coin Transferee #7135    [Address on File]     5/24/2023 Bitcoin                                0.00864216 Customer Transfer
 Confidential Customer Coin Transferee #7136    [Address on File]     5/17/2023 Bitcoin                                0.00088089 Customer Transfer
 Confidential Customer Coin Transferee #7137    [Address on File]     6/19/2023 Bitcoin                                0.00003352 Customer Transfer
 Confidential Customer Coin Transferee #7138    [Address on File]     5/26/2023 Bitcoin                                0.00075763 Customer Transfer

 Confidential Customer Coin Transferee #7139    [Address on File]      6/6/2023 Bitcoin                                0.03924033 Customer Transfer

 Confidential Customer Coin Transferee #7139    [Address on File]     5/25/2023 Bitcoin                                0.03774236 Customer Transfer

 Confidential Customer Coin Transferee #7139    [Address on File]     5/25/2023 Bitcoin                                0.01876203 Customer Transfer

 Confidential Customer Coin Transferee #7139    [Address on File]     5/22/2023 Bitcoin                                0.01180914 Customer Transfer

 Confidential Customer Coin Transferee #7139    [Address on File]     5/19/2023 Bitcoin                                0.01033722 Customer Transfer

 Confidential Customer Coin Transferee #7139    [Address on File]     6/12/2023 Bitcoin                                0.00997879 Customer Transfer

 Confidential Customer Coin Transferee #7139    [Address on File]     5/19/2023 Bitcoin                                 0.0092581 Customer Transfer

 Confidential Customer Coin Transferee #7139    [Address on File]     5/17/2023 Bitcoin                                0.00918966 Customer Transfer
 Confidential Customer Coin Transferee #7140    [Address on File]     6/19/2023 Bitcoin                                0.00085961 Customer Transfer
 Confidential Customer Coin Transferee #7141    [Address on File]     6/19/2023 Bitcoin                                0.00148152 Customer Transfer
 Confidential Customer Coin Transferee #7142    [Address on File]     5/31/2023 Bitcoin                                0.00456249 Customer Transfer
 Confidential Customer Coin Transferee #7142    [Address on File]     5/26/2023 Bitcoin                                0.00437131 Customer Transfer
 Confidential Customer Coin Transferee #7142    [Address on File]     6/18/2023 Bitcoin                                0.00151691 Customer Transfer
 Confidential Customer Coin Transferee #7142    [Address on File]     6/10/2023 Bitcoin                                0.00083706 Customer Transfer
 Confidential Customer Coin Transferee #7142    [Address on File]     5/19/2023 Bitcoin                                0.00077608 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7142    [Address on File]     5/20/2023 Bitcoin                             0.00073781 Customer Transfer
 Confidential Customer Coin Transferee #7142    [Address on File]      6/2/2023 Bitcoin                             0.00072833 Customer Transfer
 Confidential Customer Coin Transferee #7143    [Address on File]     6/20/2023 Bitcoin                             0.00024409 Customer Transfer
 Confidential Customer Coin Transferee #7144    [Address on File]     6/19/2023 Bitcoin                             0.00084742 Customer Transfer
 Confidential Customer Coin Transferee #7145    [Address on File]      6/3/2023 Tether USD                               527.02 Customer Transfer
 Confidential Customer Coin Transferee #7145    [Address on File]     6/14/2023 Tether USD                                327.9 Customer Transfer
 Confidential Customer Coin Transferee #7146    [Address on File]     5/30/2023 Bitcoin                             0.00545145 Customer Transfer
 Confidential Customer Coin Transferee #7147    [Address on File]     6/12/2023 Bitcoin                             0.00298831 Customer Transfer
 Confidential Customer Coin Transferee #7147    [Address on File]      6/1/2023 Bitcoin                             0.00183078 Customer Transfer
 Confidential Customer Coin Transferee #7147    [Address on File]     6/14/2023 Bitcoin                             0.00171815 Customer Transfer
 Confidential Customer Coin Transferee #7147    [Address on File]     5/26/2023 Bitcoin                             0.00149953 Customer Transfer
 Confidential Customer Coin Transferee #7147    [Address on File]     5/23/2023 Bitcoin                             0.00146696 Customer Transfer
 Confidential Customer Coin Transferee #7147    [Address on File]     5/24/2023 Bitcoin                             0.00112213 Customer Transfer
 Confidential Customer Coin Transferee #7147    [Address on File]     5/16/2023 Bitcoin                             0.00109734 Customer Transfer
 Confidential Customer Coin Transferee #7147    [Address on File]     5/18/2023 Bitcoin                             0.00103259 Customer Transfer
 Confidential Customer Coin Transferee #7147    [Address on File]     6/19/2023 Bitcoin                             0.00059441 Customer Transfer
 Confidential Customer Coin Transferee #7148    [Address on File]     6/20/2023 Bitcoin                             0.00035814 Customer Transfer
 Confidential Customer Coin Transferee #7149    [Address on File]     5/22/2023 Bitcoin                              0.0407133 Customer Transfer
 Confidential Customer Coin Transferee #7150    [Address on File]     6/20/2023 Bitcoin                             0.00366628 Customer Transfer
 Confidential Customer Coin Transferee #7151    [Address on File]     5/20/2023 Bitcoin                             0.01009811 Customer Transfer
 Confidential Customer Coin Transferee #7152    [Address on File]     5/26/2023 Bitcoin                             0.01057948 Customer Transfer
 Confidential Customer Coin Transferee #7153    [Address on File]     5/21/2023 Bitcoin                                  0.0031 Customer Transfer
 Confidential Customer Coin Transferee #7154    [Address on File]     6/19/2023 Bitcoin                             0.00298743 Customer Transfer
 Confidential Customer Coin Transferee #7155    [Address on File]     5/26/2023 Bitcoin                             0.00185223 Customer Transfer
 Confidential Customer Coin Transferee #7156    [Address on File]     6/20/2023 Bitcoin                              0.0007965 Customer Transfer
 Confidential Customer Coin Transferee #7157    [Address on File]     5/31/2023 Bitcoin                             0.00071547 Customer Transfer
 Confidential Customer Coin Transferee #7158    [Address on File]     5/27/2023 Bitcoin                             0.00147821 Customer Transfer
 Confidential Customer Coin Transferee #7159    [Address on File]     5/20/2023 Bitcoin                             0.00369979 Customer Transfer
 Confidential Customer Coin Transferee #7159    [Address on File]     5/20/2023 Bitcoin                             0.00355451 Customer Transfer
 Confidential Customer Coin Transferee #7159    [Address on File]     5/21/2023 Bitcoin                             0.00351852 Customer Transfer
 Confidential Customer Coin Transferee #7159    [Address on File]     5/20/2023 Bitcoin                             0.00351431 Customer Transfer
 Confidential Customer Coin Transferee #7159    [Address on File]     5/20/2023 Bitcoin                             0.00330673 Customer Transfer
 Confidential Customer Coin Transferee #7159    [Address on File]     5/22/2023 Bitcoin                             0.00163114 Customer Transfer
 Confidential Customer Coin Transferee #7159    [Address on File]     5/23/2023 Bitcoin                             0.00089051 Customer Transfer
 Confidential Customer Coin Transferee #7159    [Address on File]     5/23/2023 Bitcoin                              0.0006563 Customer Transfer
 Confidential Customer Coin Transferee #7159    [Address on File]     5/25/2023 Bitcoin                             0.00035075 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7159    [Address on File]     5/21/2023 Bitcoin                             0.00027378 Customer Transfer
 Confidential Customer Coin Transferee #7160    [Address on File]     5/25/2023 Bitcoin                             0.00182209 Customer Transfer
 Confidential Customer Coin Transferee #7160    [Address on File]     5/18/2023 Bitcoin                              0.0017877 Customer Transfer
 Confidential Customer Coin Transferee #7161    [Address on File]     5/16/2023 Bitcoin                             0.04532803 Customer Transfer
 Confidential Customer Coin Transferee #7162    [Address on File]     6/19/2023 Bitcoin                              0.0004875 Customer Transfer
 Confidential Customer Coin Transferee #7163    [Address on File]     5/24/2023 Bitcoin                             0.00253865 Customer Transfer
 Confidential Customer Coin Transferee #7163    [Address on File]     5/17/2023 Bitcoin                             0.00241746 Customer Transfer
 Confidential Customer Coin Transferee #7164    [Address on File]      6/2/2023 Bitcoin                             0.00036053 Customer Transfer
 Confidential Customer Coin Transferee #7165    [Address on File]     6/20/2023 Bitcoin                              0.0003845 Customer Transfer
 Confidential Customer Coin Transferee #7166    [Address on File]     6/20/2023 Bitcoin                             0.00059207 Customer Transfer
 Confidential Customer Coin Transferee #7167    [Address on File]     5/26/2023 Bitcoin                             0.00074275 Customer Transfer
 Confidential Customer Coin Transferee #7167    [Address on File]     5/26/2023 Bitcoin                             0.00072903 Customer Transfer
 Confidential Customer Coin Transferee #7167    [Address on File]     5/26/2023 Bitcoin                             0.00068135 Customer Transfer
 Confidential Customer Coin Transferee #7167    [Address on File]     5/19/2023 Bitcoin                             0.00067372 Customer Transfer
 Confidential Customer Coin Transferee #7168    [Address on File]     5/16/2023 Bitcoin                             0.01723931 Customer Transfer
 Confidential Customer Coin Transferee #7169    [Address on File]     5/26/2023 Bitcoin                             0.00934419 Customer Transfer
 Confidential Customer Coin Transferee #7170    [Address on File]     5/26/2023 Bitcoin                             0.00367993 Customer Transfer
 Confidential Customer Coin Transferee #7170    [Address on File]     5/19/2023 Bitcoin                             0.00362093 Customer Transfer
 Confidential Customer Coin Transferee #7171    [Address on File]     6/19/2023 Bitcoin                             0.00154585 Customer Transfer
 Confidential Customer Coin Transferee #7172    [Address on File]     6/11/2023 USDC Avalanche)                     152.343359 Customer Transfer
 Confidential Customer Coin Transferee #7172    [Address on File]     6/10/2023 USDC Avalanche)                     148.370977 Customer Transfer
 Confidential Customer Coin Transferee #7172    [Address on File]     6/10/2023 USDC Avalanche)                     111.434282 Customer Transfer
 Confidential Customer Coin Transferee #7173    [Address on File]     6/20/2023 Bitcoin                             0.00004674 Customer Transfer
 Confidential Customer Coin Transferee #7174    [Address on File]     6/20/2023 Bitcoin                             0.00003834 Customer Transfer
 Confidential Customer Coin Transferee #7175    [Address on File]     5/27/2023 Bitcoin                             0.00094676 Customer Transfer
 Confidential Customer Coin Transferee #7175    [Address on File]     5/21/2023 Bitcoin                             0.00084239 Customer Transfer
 Confidential Customer Coin Transferee #7176    [Address on File]     5/23/2023 Bitcoin                                 0.00564 Customer Transfer
 Confidential Customer Coin Transferee #7177    [Address on File]     5/17/2023 Bitcoin                             0.01015533 Customer Transfer
 Confidential Customer Coin Transferee #7178    [Address on File]     5/29/2023 Bitcoin                             0.12543287 Customer Transfer
 Confidential Customer Coin Transferee #7179    [Address on File]     5/16/2023 Bitcoin                             0.00033029 Customer Transfer
 Confidential Customer Coin Transferee #7179    [Address on File]     5/16/2023 Bitcoin                             0.00003671 Customer Transfer
 Confidential Customer Coin Transferee #7180    [Address on File]     5/29/2023 Bitcoin                             0.00195659 Customer Transfer
 Confidential Customer Coin Transferee #7180    [Address on File]     5/22/2023 Bitcoin                             0.00182097 Customer Transfer
 Confidential Customer Coin Transferee #7180    [Address on File]     5/29/2023 Bitcoin                             0.00174318 Customer Transfer
 Confidential Customer Coin Transferee #7181    [Address on File]     5/20/2023 Bitcoin                             0.01024422 Customer Transfer
 Confidential Customer Coin Transferee #7182    [Address on File]     5/26/2023 Bitcoin                             0.00376579 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7182    [Address on File]     5/28/2023 Bitcoin                             0.00182277 Customer Transfer
 Confidential Customer Coin Transferee #7183    [Address on File]      6/6/2023 Bitcoin                             0.01540099 Customer Transfer
 Confidential Customer Coin Transferee #7184    [Address on File]     5/18/2023 Bitcoin                             0.01815189 Customer Transfer
 Confidential Customer Coin Transferee #7184    [Address on File]     5/16/2023 Bitcoin                             0.00643902 Customer Transfer
 Confidential Customer Coin Transferee #7184    [Address on File]     5/21/2023 Bitcoin                             0.00369396 Customer Transfer
 Confidential Customer Coin Transferee #7184    [Address on File]     5/17/2023 Bitcoin                             0.00355324 Customer Transfer
 Confidential Customer Coin Transferee #7184    [Address on File]     5/17/2023 Bitcoin                             0.00109146 Customer Transfer
 Confidential Customer Coin Transferee #7184    [Address on File]     5/31/2023 Bitcoin                             0.00107415 Customer Transfer
 Confidential Customer Coin Transferee #7184    [Address on File]     5/26/2023 Bitcoin                             0.00100377 Customer Transfer
 Confidential Customer Coin Transferee #7184    [Address on File]     5/16/2023 Bitcoin                             0.00095696 Customer Transfer
 Confidential Customer Coin Transferee #7185    [Address on File]     5/18/2023 Bitcoin                             0.00090649 Customer Transfer
 Confidential Customer Coin Transferee #7185    [Address on File]     5/20/2023 Bitcoin                             0.00076877 Customer Transfer
 Confidential Customer Coin Transferee #7185    [Address on File]     5/22/2023 Bitcoin                             0.00074656 Customer Transfer
 Confidential Customer Coin Transferee #7185    [Address on File]     5/19/2023 Bitcoin                             0.00073802 Customer Transfer
 Confidential Customer Coin Transferee #7185    [Address on File]     5/21/2023 Bitcoin                             0.00073359 Customer Transfer
 Confidential Customer Coin Transferee #7185    [Address on File]     5/19/2023 Bitcoin                             0.00052626 Customer Transfer
 Confidential Customer Coin Transferee #7186    [Address on File]     5/18/2023 Bitcoin                             0.01879389 Customer Transfer
 Confidential Customer Coin Transferee #7187    [Address on File]     5/21/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #7187    [Address on File]     5/21/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #7188    [Address on File]     5/18/2023 Bitcoin                                     0.09 Customer Transfer
 Confidential Customer Coin Transferee #7188    [Address on File]     5/20/2023 Bitcoin                                  0.0073 Customer Transfer
 Confidential Customer Coin Transferee #7188    [Address on File]     5/30/2023 Bitcoin                                  0.0044 Customer Transfer
 Confidential Customer Coin Transferee #7188    [Address on File]     5/23/2023 Bitcoin                                 0.00076 Customer Transfer
 Confidential Customer Coin Transferee #7189    [Address on File]     6/20/2023 Bitcoin                             0.00006015 Customer Transfer
 Confidential Customer Coin Transferee #7190    [Address on File]     6/19/2023 Bitcoin                             0.00036797 Customer Transfer
 Confidential Customer Coin Transferee #7191    [Address on File]     6/20/2023 Bitcoin                             0.03298196 Customer Transfer
 Confidential Customer Coin Transferee #7192    [Address on File]     5/16/2023 Bitcoin                              0.0344084 Customer Transfer
 Confidential Customer Coin Transferee #7193    [Address on File]     5/26/2023 Bitcoin                             0.01013274 Customer Transfer
 Confidential Customer Coin Transferee #7194    [Address on File]     6/20/2023 Bitcoin                             0.00081412 Customer Transfer
 Confidential Customer Coin Transferee #7195    [Address on File]     5/16/2023 Bitcoin                             0.03622332 Customer Transfer
 Confidential Customer Coin Transferee #7195    [Address on File]     5/16/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #7196    [Address on File]     5/23/2023 Bitcoin                             0.01565475 Customer Transfer
 Confidential Customer Coin Transferee #7196    [Address on File]     5/29/2023 Bitcoin                             0.00222131 Customer Transfer
 Confidential Customer Coin Transferee #7197    [Address on File]     6/20/2023 Bitcoin                             0.00150999 Customer Transfer
 Confidential Customer Coin Transferee #7198    [Address on File]     5/20/2023 Bitcoin                             0.03531721 Customer Transfer
 Confidential Customer Coin Transferee #7199    [Address on File]     5/16/2023 Bitcoin                              0.0534267 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7200    [Address on File]     5/29/2023 Bitcoin                             0.00560712 Customer Transfer
 Confidential Customer Coin Transferee #7200    [Address on File]     6/15/2023 Bitcoin                              0.0039724 Customer Transfer
 Confidential Customer Coin Transferee #7200    [Address on File]     6/12/2023 Bitcoin                             0.00386688 Customer Transfer
 Confidential Customer Coin Transferee #7200    [Address on File]     5/22/2023 Bitcoin                             0.00373404 Customer Transfer
 Confidential Customer Coin Transferee #7200    [Address on File]      6/6/2023 Bitcoin                             0.00154817 Customer Transfer
 Confidential Customer Coin Transferee #7201    [Address on File]     6/19/2023 Bitcoin                             0.00035191 Customer Transfer
 Confidential Customer Coin Transferee #7202    [Address on File]     6/15/2023 Bitcoin                             0.00179176 Customer Transfer
 Confidential Customer Coin Transferee #7203    [Address on File]     6/20/2023 Bitcoin                             0.00567652 Customer Transfer
 Confidential Customer Coin Transferee #7204    [Address on File]     5/20/2023 Bitcoin                             0.00695883 Customer Transfer
 Confidential Customer Coin Transferee #7205    [Address on File]     5/31/2023 Bitcoin                             0.02901214 Customer Transfer
 Confidential Customer Coin Transferee #7206    [Address on File]     6/20/2023 Bitcoin                             0.21401753 Customer Transfer
 Confidential Customer Coin Transferee #7207    [Address on File]     6/19/2023 Bitcoin                             0.00003829 Customer Transfer
 Confidential Customer Coin Transferee #7208    [Address on File]      6/7/2023 Bitcoin                             0.00044283 Customer Transfer
 Confidential Customer Coin Transferee #7209    [Address on File]     6/19/2023 Bitcoin                             0.00355223 Customer Transfer
 Confidential Customer Coin Transferee #7210    [Address on File]     6/19/2023 Bitcoin                             0.00325168 Customer Transfer
 Confidential Customer Coin Transferee #7211    [Address on File]     5/30/2023 Bitcoin                             0.00085747 Customer Transfer
 Confidential Customer Coin Transferee #7211    [Address on File]     5/20/2023 Bitcoin                             0.00073481 Customer Transfer
 Confidential Customer Coin Transferee #7212    [Address on File]     5/22/2023 Bitcoin                             0.00251506 Customer Transfer
 Confidential Customer Coin Transferee #7212    [Address on File]     5/22/2023 Bitcoin                             0.00185881 Customer Transfer
 Confidential Customer Coin Transferee #7212    [Address on File]     5/22/2023 Bitcoin                             0.00185845 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/17/2023 Bitcoin                             0.00059056 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/18/2023 Bitcoin                             0.00051097 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/24/2023 Bitcoin                             0.00049481 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00037878 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/22/2023 Bitcoin                             0.00037367 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/22/2023 Bitcoin                             0.00037289 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/17/2023 Bitcoin                             0.00037031 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/20/2023 Bitcoin                             0.00037027 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/17/2023 Bitcoin                             0.00037026 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/19/2023 Bitcoin                             0.00037001 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00036885 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00036843 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00036811 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00036788 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/24/2023 Bitcoin                             0.00036781 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00036769 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/23/2023 Bitcoin                             0.00036761 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/31/2023 Bitcoin                             0.00036739 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/16/2023 Bitcoin                             0.00036733 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00036721 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/19/2023 Bitcoin                             0.00036684 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/31/2023 Bitcoin                             0.00036654 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00036617 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/28/2023 Bitcoin                             0.00036614 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00036605 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00036557 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/18/2023 Bitcoin                             0.00036552 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/18/2023 Bitcoin                             0.00036506 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/21/2023 Bitcoin                             0.00036503 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/18/2023 Bitcoin                             0.00036327 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/18/2023 Bitcoin                             0.00036296 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/21/2023 Bitcoin                             0.00036196 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/23/2023 Bitcoin                             0.00035974 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/31/2023 Bitcoin                             0.00035608 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/31/2023 Bitcoin                             0.00035569 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/21/2023 Bitcoin                              0.0003546 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00035406 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/22/2023 Bitcoin                             0.00035223 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/19/2023 Bitcoin                             0.00035169 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/19/2023 Bitcoin                             0.00035167 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/24/2023 Bitcoin                             0.00034999 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/30/2023 Bitcoin                             0.00034732 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/28/2023 Bitcoin                             0.00034411 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/29/2023 Bitcoin                              0.0003427 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/29/2023 Bitcoin                             0.00034253 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/21/2023 Bitcoin                             0.00033749 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/17/2023 Bitcoin                             0.00033322 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/20/2023 Bitcoin                             0.00033296 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/24/2023 Bitcoin                             0.00032931 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/28/2023 Bitcoin                             0.00032898 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/18/2023 Bitcoin                             0.00032697 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/20/2023 Bitcoin                             0.00031491 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/23/2023 Bitcoin                             0.00031469 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/19/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/23/2023 Bitcoin                             0.00029417 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                                0.000227 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/22/2023 Bitcoin                             0.00021294 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/30/2023 Bitcoin                             0.00020799 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/28/2023 Bitcoin                             0.00019573 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/27/2023 Bitcoin                             0.00019335 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/24/2023 Bitcoin                             0.00018592 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/22/2023 Bitcoin                             0.00018528 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/19/2023 Bitcoin                             0.00018496 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/20/2023 Bitcoin                             0.00018488 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00018435 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/28/2023 Bitcoin                             0.00018266 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00018198 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/23/2023 Bitcoin                             0.00018172 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/19/2023 Bitcoin                             0.00018146 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/23/2023 Bitcoin                             0.00018143 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/18/2023 Bitcoin                              0.0001814 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/26/2023 Bitcoin                             0.00018111 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/22/2023 Bitcoin                             0.00018088 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/26/2023 Bitcoin                             0.00018064 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00017904 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/22/2023 Bitcoin                             0.00017836 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/24/2023 Bitcoin                             0.00017832 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/19/2023 Bitcoin                              0.0001776 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/24/2023 Bitcoin                             0.00017754 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/28/2023 Bitcoin                             0.00017749 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/21/2023 Bitcoin                             0.00017747 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/23/2023 Bitcoin                             0.00017725 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/21/2023 Bitcoin                             0.00017651 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/21/2023 Bitcoin                             0.00017628 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/31/2023 Bitcoin                             0.00017613 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/28/2023 Bitcoin                             0.00017591 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/24/2023 Bitcoin                             0.00017565 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/28/2023 Bitcoin                              0.0001755 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/19/2023 Bitcoin                             0.00017524 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/22/2023 Bitcoin                             0.00017417 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/22/2023 Bitcoin                             0.00017414 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/30/2023 Bitcoin                             0.00017196 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/29/2023 Bitcoin                             0.00016966 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/22/2023 Bitcoin                             0.00016804 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/20/2023 Bitcoin                             0.00016655 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/31/2023 Bitcoin                             0.00016521 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/31/2023 Bitcoin                             0.00016482 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/24/2023 Bitcoin                             0.00016362 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/31/2023 Bitcoin                             0.00015554 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/25/2023 Bitcoin                             0.00014636 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/31/2023 Bitcoin                             0.00014138 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/22/2023 Bitcoin                             0.00014053 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]      6/1/2023 Bitcoin                             0.00013351 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/28/2023 Bitcoin                             0.00012269 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/31/2023 Bitcoin                             0.00012007 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/31/2023 Bitcoin                             0.00007609 Customer Transfer
 Confidential Customer Coin Transferee #7213    [Address on File]     5/17/2023 Bitcoin                             0.00006696 Customer Transfer
 Confidential Customer Coin Transferee #7214    [Address on File]     5/26/2023 Bitcoin                             0.00037157 Customer Transfer
 Confidential Customer Coin Transferee #7214    [Address on File]     5/27/2023 Bitcoin                             0.00018625 Customer Transfer
 Confidential Customer Coin Transferee #7215    [Address on File]     6/20/2023 Bitcoin                             0.00003415 Customer Transfer
 Confidential Customer Coin Transferee #7216    [Address on File]     6/20/2023 Bitcoin                             0.00033455 Customer Transfer
 Confidential Customer Coin Transferee #7217    [Address on File]     5/20/2023 Bitcoin                             0.01163929 Customer Transfer
 Confidential Customer Coin Transferee #7218    [Address on File]     5/30/2023 Bitcoin                             0.01253329 Customer Transfer
 Confidential Customer Coin Transferee #7219    [Address on File]     5/22/2023 USD Coin Stellar)                          29.08 Customer Transfer
 Confidential Customer Coin Transferee #7219    [Address on File]     5/29/2023 USD Coin Stellar)                           9.69 Customer Transfer
 Confidential Customer Coin Transferee #7219    [Address on File]     5/30/2023 USD Coin Stellar)                           9.69 Customer Transfer
 Confidential Customer Coin Transferee #7219    [Address on File]      6/5/2023 USD Coin Stellar)                           9.69 Customer Transfer
 Confidential Customer Coin Transferee #7219    [Address on File]      6/5/2023 USD Coin Stellar)                           9.69 Customer Transfer
 Confidential Customer Coin Transferee #7219    [Address on File]      6/7/2023 USD Coin Stellar)                           9.69 Customer Transfer
 Confidential Customer Coin Transferee #7219    [Address on File]     6/12/2023 USD Coin Stellar)                           9.69 Customer Transfer
 Confidential Customer Coin Transferee #7220    [Address on File]     5/18/2023 Bitcoin                                      0.5 Customer Transfer
 Confidential Customer Coin Transferee #7221    [Address on File]     6/19/2023 Bitcoin                             0.00362552 Customer Transfer
 Confidential Customer Coin Transferee #7222    [Address on File]     6/19/2023 Bitcoin                             0.00004381 Customer Transfer
 Confidential Customer Coin Transferee #7223    [Address on File]     6/20/2023 Bitcoin                                0.000058 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #7224    [Address on File]     5/25/2023 Bitcoin                                 0.0022473 Customer Transfer
 Confidential Customer Coin Transferee #7225    [Address on File]     6/20/2023 Bitcoin                                0.00359157 Customer Transfer
 Confidential Customer Coin Transferee #7226    [Address on File]     5/18/2023 Bitcoin                                0.04929201 Customer Transfer
 Confidential Customer Coin Transferee #7227    [Address on File]     5/29/2023 Bitcoin                                0.01426221 Customer Transfer
 Confidential Customer Coin Transferee #7227    [Address on File]     5/28/2023 Bitcoin                                0.00366379 Customer Transfer
 Confidential Customer Coin Transferee #7228    [Address on File]     5/30/2023 Bitcoin                                0.07124766 Customer Transfer
 Confidential Customer Coin Transferee #7229    [Address on File]     6/20/2023 Bitcoin                                0.00006003 Customer Transfer
 Confidential Customer Coin Transferee #7230    [Address on File]     5/30/2023 Bitcoin                                     0.0428 Customer Transfer
 Confidential Customer Coin Transferee #7230    [Address on File]     5/16/2023 Bitcoin                                0.03050198 Customer Transfer
 Confidential Customer Coin Transferee #7230    [Address on File]     5/24/2023 Bitcoin                                0.02771292 Customer Transfer
 Confidential Customer Coin Transferee #7230    [Address on File]     5/30/2023 Bitcoin                                0.02140812 Customer Transfer
 Confidential Customer Coin Transferee #7231    [Address on File]     6/19/2023 Bitcoin                                0.00180915 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/16/2023 Bitcoin                                0.00460914 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/18/2023 Bitcoin                                0.00438853 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/30/2023 Bitcoin                                0.00415441 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/29/2023 Bitcoin                                0.00358979 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/27/2023 Bitcoin                                0.00286784 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]      6/1/2023 Bitcoin                                0.00273317 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/30/2023 Bitcoin                                0.00232778 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/29/2023 Bitcoin                                0.00226573 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/31/2023 Bitcoin                                0.00225169 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/26/2023 Bitcoin                                0.00186937 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/30/2023 Bitcoin                                0.00179722 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/29/2023 Bitcoin                                0.00178057 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/17/2023 Bitcoin                                0.00164291 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/17/2023 Bitcoin                                0.00157915 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/20/2023 Bitcoin                                0.00147133 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/28/2023 Bitcoin                                 0.0012627 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/23/2023 Bitcoin                                0.00105503 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/29/2023 Bitcoin                                0.00096574 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/27/2023 Bitcoin                                0.00085818 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/24/2023 Bitcoin                                0.00073073 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/22/2023 Bitcoin                                0.00062982 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/19/2023 Bitcoin                                0.00062945 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/25/2023 Bitcoin                                0.00062087 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]      6/1/2023 Bitcoin                             0.00059204 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/22/2023 Bitcoin                             0.00055368 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/24/2023 Bitcoin                             0.00053805 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/29/2023 Bitcoin                             0.00052761 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/23/2023 Bitcoin                             0.00044188 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/27/2023 Bitcoin                             0.00037317 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/26/2023 Bitcoin                             0.00037135 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/23/2023 Bitcoin                             0.00034941 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/21/2023 Bitcoin                             0.00034032 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/20/2023 Bitcoin                             0.00033189 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/20/2023 Bitcoin                             0.00032296 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/25/2023 Bitcoin                             0.00023683 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/22/2023 Bitcoin                             0.00022426 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/21/2023 Bitcoin                             0.00019473 Customer Transfer
 Confidential Customer Coin Transferee #7232    [Address on File]     5/19/2023 Bitcoin                             0.00019427 Customer Transfer
 Confidential Customer Coin Transferee #7233    [Address on File]     5/26/2023 Bitcoin                             0.00386207 Customer Transfer
 Confidential Customer Coin Transferee #7233    [Address on File]     5/19/2023 Bitcoin                             0.00104881 Customer Transfer
 Confidential Customer Coin Transferee #7234    [Address on File]     6/19/2023 Bitcoin                              0.0028928 Customer Transfer


 Confidential Customer Coin Transferee #7235    [Address on File]     5/31/2023 Tether USD                               137.0273 Customer Transfer

 Confidential Customer Coin Transferee #7236    [Address on File]     5/31/2023 Tether USD                                1966.87 Customer Transfer

 Confidential Customer Coin Transferee #7236    [Address on File]     6/13/2023 Tether USD                                     711 Customer Transfer
 Confidential Customer Coin Transferee #7237    [Address on File]     5/29/2023 Bitcoin                                0.00328683 Customer Transfer
 Confidential Customer Coin Transferee #7237    [Address on File]     5/29/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #7237    [Address on File]     5/29/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #7238    [Address on File]     5/26/2023 Bitcoin                                0.08695914 Customer Transfer
 Confidential Customer Coin Transferee #7238    [Address on File]     5/19/2023 Bitcoin                                0.07021252 Customer Transfer
 Confidential Customer Coin Transferee #7239    [Address on File]     6/19/2023 Bitcoin                                0.00005825 Customer Transfer
 Confidential Customer Coin Transferee #7240    [Address on File]     6/19/2023 Bitcoin                                 0.0000583 Customer Transfer
 Confidential Customer Coin Transferee #7241    [Address on File]     6/19/2023 Bitcoin                                0.00005876 Customer Transfer
 Confidential Customer Coin Transferee #7242    [Address on File]     6/20/2023 Bitcoin                                0.00033939 Customer Transfer
 Confidential Customer Coin Transferee #7243    [Address on File]     5/21/2023 Bitcoin                                0.00037899 Customer Transfer
 Confidential Customer Coin Transferee #7244    [Address on File]     6/20/2023 Bitcoin                                0.00003644 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/18/2023 Bitcoin                             0.00013996 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/28/2023 Bitcoin                             0.00005904 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/30/2023 Bitcoin                             0.00005722 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/22/2023 Bitcoin                             0.00005233 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/28/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/30/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/25/2023 Bitcoin                             0.00004964 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/25/2023 Bitcoin                             0.00004938 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/26/2023 Bitcoin                             0.00004792 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/23/2023 Bitcoin                             0.00004619 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/23/2023 Bitcoin                                0.000045 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/25/2023 Bitcoin                                0.000045 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/25/2023 Bitcoin                                0.000045 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/26/2023 Bitcoin                                0.000045 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/31/2023 Bitcoin                             0.00004379 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/22/2023 Bitcoin                                 0.00004 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/31/2023 Bitcoin                                 0.00004 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/22/2023 Bitcoin                             0.00003695 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/29/2023 Bitcoin                             0.00003614 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/29/2023 Bitcoin                                0.000035 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/18/2023 Bitcoin                             0.00001858 Customer Transfer
 Confidential Customer Coin Transferee #7245    [Address on File]     5/22/2023 Bitcoin                             0.00001849 Customer Transfer
 Confidential Customer Coin Transferee #7246    [Address on File]      6/2/2023 Bitcoin                             0.00017173 Customer Transfer
 Confidential Customer Coin Transferee #7246    [Address on File]     6/19/2023 Bitcoin                             0.00003827 Customer Transfer
 Confidential Customer Coin Transferee #7247    [Address on File]     5/20/2023 Bitcoin                              0.0008994 Customer Transfer
 Confidential Customer Coin Transferee #7248    [Address on File]     6/19/2023 Bitcoin                             0.00058404 Customer Transfer
 Confidential Customer Coin Transferee #7249    [Address on File]      6/7/2023 Bitcoin                             0.00564257 Customer Transfer
 Confidential Customer Coin Transferee #7250    [Address on File]     5/25/2023 Bitcoin                             0.00989739 Customer Transfer
 Confidential Customer Coin Transferee #7250    [Address on File]     5/17/2023 Bitcoin                             0.00264073 Customer Transfer
 Confidential Customer Coin Transferee #7251    [Address on File]     6/20/2023 Bitcoin                             0.00018406 Customer Transfer
 Confidential Customer Coin Transferee #7252    [Address on File]     6/13/2023 USDC Avalanche)                      47.001199 Customer Transfer
 Confidential Customer Coin Transferee #7253    [Address on File]     6/20/2023 Bitcoin                             0.00763241 Customer Transfer
 Confidential Customer Coin Transferee #7254    [Address on File]     6/20/2023 Bitcoin                             0.00005685 Customer Transfer
 Confidential Customer Coin Transferee #7255    [Address on File]     6/12/2023 Bitcoin                             0.00094291 Customer Transfer
 Confidential Customer Coin Transferee #7255    [Address on File]      6/6/2023 Bitcoin                             0.00047686 Customer Transfer
 Confidential Customer Coin Transferee #7256    [Address on File]     5/27/2023 Bitcoin                             0.04037579 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7257    [Address on File]     5/28/2023 Bitcoin                             0.00302831 Customer Transfer
 Confidential Customer Coin Transferee #7257    [Address on File]     5/20/2023 Bitcoin                                 0.00204 Customer Transfer
 Confidential Customer Coin Transferee #7258    [Address on File]     5/16/2023 Bitcoin                             0.00073084 Customer Transfer
 Confidential Customer Coin Transferee #7259    [Address on File]     5/29/2023 Bitcoin                             0.00223136 Customer Transfer
 Confidential Customer Coin Transferee #7260    [Address on File]     5/17/2023 Bitcoin                             0.10385279 Customer Transfer
 Confidential Customer Coin Transferee #7261    [Address on File]     6/20/2023 Bitcoin                             0.00738567 Customer Transfer
 Confidential Customer Coin Transferee #7262    [Address on File]     5/26/2023 Bitcoin                             0.01117414 Customer Transfer
 Confidential Customer Coin Transferee #7262    [Address on File]     5/20/2023 Bitcoin                             0.01071505 Customer Transfer
 Confidential Customer Coin Transferee #7263    [Address on File]     6/20/2023 Bitcoin                             0.00579535 Customer Transfer
 Confidential Customer Coin Transferee #7264    [Address on File]     6/20/2023 Bitcoin                             0.00450785 Customer Transfer

 Confidential Customer Coin Transferee #7265    [Address on File]      6/5/2023 USDC Avalanche)                         96.411435 Customer Transfer

 Confidential Customer Coin Transferee #7265    [Address on File]     5/30/2023 USDC Avalanche)                         96.402158 Customer Transfer

 Confidential Customer Coin Transferee #7265    [Address on File]     5/29/2023 USDC Avalanche)                         57.671164 Customer Transfer
 Confidential Customer Coin Transferee #7266    [Address on File]     6/22/2023 Bitcoin                                     0.0033 Customer Transfer
 Confidential Customer Coin Transferee #7266    [Address on File]     6/21/2023 Bitcoin                                     0.0007 Customer Transfer
 Confidential Customer Coin Transferee #7267    [Address on File]     6/16/2023 Bitcoin                                 0.0008122 Customer Transfer
 Confidential Customer Coin Transferee #7268    [Address on File]     5/16/2023 Bitcoin                                0.00376027 Customer Transfer
 Confidential Customer Coin Transferee #7268    [Address on File]     5/25/2023 Bitcoin                                0.00271973 Customer Transfer
 Confidential Customer Coin Transferee #7268    [Address on File]     5/29/2023 Bitcoin                                0.00185957 Customer Transfer
 Confidential Customer Coin Transferee #7269    [Address on File]     5/20/2023 Bitcoin                                0.02477988 Customer Transfer
 Confidential Customer Coin Transferee #7270    [Address on File]     6/20/2023 Bitcoin                                0.00099333 Customer Transfer
 Confidential Customer Coin Transferee #7271    [Address on File]     6/19/2023 Bitcoin                                0.00045557 Customer Transfer
 Confidential Customer Coin Transferee #7272    [Address on File]     5/21/2023 Bitcoin                                0.02801873 Customer Transfer
 Confidential Customer Coin Transferee #7273    [Address on File]     5/16/2023 Bitcoin                                0.09479634 Customer Transfer
 Confidential Customer Coin Transferee #7273    [Address on File]     5/25/2023 Bitcoin                                0.01874294 Customer Transfer
 Confidential Customer Coin Transferee #7273    [Address on File]     5/20/2023 Bitcoin                                0.01853247 Customer Transfer
 Confidential Customer Coin Transferee #7273    [Address on File]     5/30/2023 Bitcoin                                0.01445562 Customer Transfer
 Confidential Customer Coin Transferee #7274    [Address on File]     5/23/2023 Bitcoin                                0.30250481 Customer Transfer
 Confidential Customer Coin Transferee #7275    [Address on File]     6/19/2023 Bitcoin                                0.00035885 Customer Transfer
 Confidential Customer Coin Transferee #7276    [Address on File]     5/21/2023 Bitcoin                                0.08093832 Customer Transfer
 Confidential Customer Coin Transferee #7276    [Address on File]      6/8/2023 Bitcoin                                0.04921014 Customer Transfer
 Confidential Customer Coin Transferee #7277    [Address on File]     5/19/2023 Bitcoin                                0.03706997 Customer Transfer
 Confidential Customer Coin Transferee #7277    [Address on File]     5/26/2023 Bitcoin                                0.03358851 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7277    [Address on File]     5/26/2023 Bitcoin                             0.00022516 Customer Transfer
 Confidential Customer Coin Transferee #7278    [Address on File]     5/20/2023 Bitcoin                             0.02510344 Customer Transfer
 Confidential Customer Coin Transferee #7279    [Address on File]     6/13/2023 USDC Avalanche)                      96.461415 Customer Transfer

 Confidential Customer Coin Transferee #7280    [Address on File]      6/1/2023 Tether USD                             4624.23615 Customer Transfer

 Confidential Customer Coin Transferee #7280    [Address on File]     5/30/2023 Tether USD                               3050.945 Customer Transfer

 Confidential Customer Coin Transferee #7280    [Address on File]     5/29/2023 Tether USD                                  99.25 Customer Transfer

 Confidential Customer Coin Transferee #7280    [Address on File]     5/25/2023 Bitcoin                                0.50131861 Customer Transfer

 Confidential Customer Coin Transferee #7280    [Address on File]     5/29/2023 Bitcoin                                0.17709026 Customer Transfer
 Confidential Customer Coin Transferee #7281    [Address on File]     5/23/2023 Bitcoin                                 0.0541532 Customer Transfer
 Confidential Customer Coin Transferee #7281    [Address on File]     5/19/2023 Bitcoin                                0.04301605 Customer Transfer
 Confidential Customer Coin Transferee #7281    [Address on File]     5/20/2023 Bitcoin                                0.03731065 Customer Transfer
 Confidential Customer Coin Transferee #7282    [Address on File]     6/20/2023 Bitcoin                                0.00011689 Customer Transfer
 Confidential Customer Coin Transferee #7283    [Address on File]     6/20/2023 Bitcoin                                0.00004301 Customer Transfer
 Confidential Customer Coin Transferee #7284    [Address on File]     5/23/2023 USDC Solana)                                   20 Customer Transfer
 Confidential Customer Coin Transferee #7285    [Address on File]     6/19/2023 Bitcoin                                0.00006044 Customer Transfer


 Confidential Customer Coin Transferee #7286    [Address on File]      6/1/2023 Tether USD                                 1186.74 Customer Transfer
 Confidential Customer Coin Transferee #7287    [Address on File]     5/31/2023 Tether USD                                 5701.01 Customer Transfer
 Confidential Customer Coin Transferee #7288    [Address on File]     5/31/2023 USD Coin                                  3490.95 Customer Transfer
 Confidential Customer Coin Transferee #7288    [Address on File]     5/31/2023 Tether USD                                    1570 Customer Transfer
 Confidential Customer Coin Transferee #7288    [Address on File]      6/8/2023 Tether USD                                  433.46 Customer Transfer
 Confidential Customer Coin Transferee #7288    [Address on File]     5/22/2023 Tether USD                                  217.69 Customer Transfer
 Confidential Customer Coin Transferee #7289    [Address on File]     5/23/2023 Bitcoin                                0.01056424 Customer Transfer

 Confidential Customer Coin Transferee #7290    [Address on File]     5/19/2023 Bitcoin                                0.00546893 Customer Transfer

 Confidential Customer Coin Transferee #7290    [Address on File]     5/26/2023 Bitcoin                                0.00462563 Customer Transfer
 Confidential Customer Coin Transferee #7291    [Address on File]     5/29/2023 Bitcoin                                0.00086008 Customer Transfer
 Confidential Customer Coin Transferee #7292    [Address on File]     6/19/2023 Bitcoin                                0.00246183 Customer Transfer
 Confidential Customer Coin Transferee #7293    [Address on File]      6/9/2023 Bitcoin                                0.00309927 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7294    [Address on File]     5/18/2023 Bitcoin                              0.0350905 Customer Transfer
 Confidential Customer Coin Transferee #7295    [Address on File]     5/17/2023 Bitcoin                              0.0003726 Customer Transfer
 Confidential Customer Coin Transferee #7296    [Address on File]     5/27/2023 Bitcoin                             0.01580212 Customer Transfer
 Confidential Customer Coin Transferee #7297    [Address on File]     5/24/2023 Bitcoin                             0.00075569 Customer Transfer
 Confidential Customer Coin Transferee #7297    [Address on File]     5/20/2023 Bitcoin                             0.00074202 Customer Transfer
 Confidential Customer Coin Transferee #7298    [Address on File]     6/20/2023 Bitcoin                             0.00203017 Customer Transfer
 Confidential Customer Coin Transferee #7299    [Address on File]     5/16/2023 Bitcoin                             0.01049916 Customer Transfer
 Confidential Customer Coin Transferee #7299    [Address on File]     5/30/2023 Bitcoin                              0.0102377 Customer Transfer
 Confidential Customer Coin Transferee #7300    [Address on File]     5/30/2023 Bitcoin                              0.0064767 Customer Transfer
 Confidential Customer Coin Transferee #7300    [Address on File]     5/23/2023 Bitcoin                             0.00631608 Customer Transfer
 Confidential Customer Coin Transferee #7300    [Address on File]     5/16/2023 Bitcoin                             0.00605845 Customer Transfer
 Confidential Customer Coin Transferee #7301    [Address on File]     6/20/2023 Bitcoin                             0.00118256 Customer Transfer
 Confidential Customer Coin Transferee #7302    [Address on File]      6/7/2023 Bitcoin                             0.00961575 Customer Transfer
 Confidential Customer Coin Transferee #7303    [Address on File]     6/13/2023 USDC Avalanche)                    2993.313343 Customer Transfer
 Confidential Customer Coin Transferee #7303    [Address on File]     6/15/2023 USDC Avalanche)                    1994.802598 Customer Transfer
 Confidential Customer Coin Transferee #7303    [Address on File]      6/7/2023 USDC Avalanche)                    1494.573256 Customer Transfer
 Confidential Customer Coin Transferee #7303    [Address on File]      6/8/2023 Tether USD                         1494.484412 Customer Transfer
 Confidential Customer Coin Transferee #7303    [Address on File]      6/6/2023 Tether USD                         1494.115884 Customer Transfer
 Confidential Customer Coin Transferee #7303    [Address on File]     5/31/2023 USDC Solana)                         497.18169 Customer Transfer
 Confidential Customer Coin Transferee #7303    [Address on File]      6/1/2023 USDC Solana)                        297.531234 Customer Transfer
 Confidential Customer Coin Transferee #7303    [Address on File]     5/30/2023 USDC Solana)                        197.700919 Customer Transfer
 Confidential Customer Coin Transferee #7303    [Address on File]     6/10/2023 Cosmos Hub ATOM)                     37.035654 Customer Transfer
 Confidential Customer Coin Transferee #7303    [Address on File]      6/1/2023 Cosmos Hub ATOM)                     19.081981 Customer Transfer
 Confidential Customer Coin Transferee #7303    [Address on File]      6/1/2023 Cosmos Hub ATOM)                      3.181265 Customer Transfer
 Confidential Customer Coin Transferee #7304    [Address on File]     5/21/2023 Bitcoin                             0.02223777 Customer Transfer
 Confidential Customer Coin Transferee #7304    [Address on File]     5/24/2023 Bitcoin                             0.02222391 Customer Transfer
 Confidential Customer Coin Transferee #7304    [Address on File]     5/18/2023 Bitcoin                             0.02207274 Customer Transfer

 Confidential Customer Coin Transferee #7305    [Address on File]      6/8/2023 Bitcoin                                0.03400514 Customer Transfer
 Confidential Customer Coin Transferee #7306    [Address on File]     6/20/2023 Bitcoin                                0.04080867 Customer Transfer
 Confidential Customer Coin Transferee #7307    [Address on File]     5/21/2023 Bitcoin                                0.01059394 Customer Transfer
 Confidential Customer Coin Transferee #7308    [Address on File]     6/19/2023 Bitcoin                                0.00069381 Customer Transfer
 Confidential Customer Coin Transferee #7309    [Address on File]     5/24/2023 Bitcoin                                0.03718584 Customer Transfer
 Confidential Customer Coin Transferee #7309    [Address on File]     5/16/2023 Bitcoin                                0.00069912 Customer Transfer
 Confidential Customer Coin Transferee #7309    [Address on File]     5/23/2023 Bitcoin                                0.00036064 Customer Transfer
 Confidential Customer Coin Transferee #7309    [Address on File]     5/16/2023 Bitcoin                                0.00034887 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7310    [Address on File]     6/20/2023 Bitcoin                             0.00580006 Customer Transfer
 Confidential Customer Coin Transferee #7311    [Address on File]     5/26/2023 Bitcoin                             0.00374435 Customer Transfer
 Confidential Customer Coin Transferee #7312    [Address on File]     5/24/2023 Bitcoin                             0.00863001 Customer Transfer
 Confidential Customer Coin Transferee #7312    [Address on File]     5/20/2023 Bitcoin                             0.00647545 Customer Transfer
 Confidential Customer Coin Transferee #7313    [Address on File]     5/30/2023 Bitcoin                             0.03094006 Customer Transfer
 Confidential Customer Coin Transferee #7314    [Address on File]     5/28/2023 Bitcoin                             0.00197979 Customer Transfer
 Confidential Customer Coin Transferee #7314    [Address on File]     5/24/2023 Bitcoin                             0.00197638 Customer Transfer
 Confidential Customer Coin Transferee #7314    [Address on File]     5/28/2023 Bitcoin                             0.00196477 Customer Transfer
 Confidential Customer Coin Transferee #7315    [Address on File]     5/20/2023 Bitcoin                             0.03525441 Customer Transfer
 Confidential Customer Coin Transferee #7316    [Address on File]     5/26/2023 Bitcoin                             0.00583287 Customer Transfer
 Confidential Customer Coin Transferee #7316    [Address on File]     5/19/2023 Bitcoin                             0.00542762 Customer Transfer
 Confidential Customer Coin Transferee #7317    [Address on File]     5/29/2023 Bitcoin                                  0.0072 Customer Transfer
 Confidential Customer Coin Transferee #7318    [Address on File]     5/20/2023 Bitcoin                             0.01695373 Customer Transfer
 Confidential Customer Coin Transferee #7319    [Address on File]     5/30/2023 Bitcoin                             0.02243158 Customer Transfer
 Confidential Customer Coin Transferee #7319    [Address on File]     5/29/2023 Bitcoin                             0.00219454 Customer Transfer
 Confidential Customer Coin Transferee #7320    [Address on File]     5/26/2023 Bitcoin                             0.02789908 Customer Transfer
 Confidential Customer Coin Transferee #7320    [Address on File]     5/16/2023 Bitcoin                             0.01838174 Customer Transfer
 Confidential Customer Coin Transferee #7321    [Address on File]     6/20/2023 Bitcoin                             0.00181862 Customer Transfer

 Confidential Customer Coin Transferee #7322    [Address on File]     6/20/2023 Bitcoin                                0.02137259 Customer Transfer
 Confidential Customer Coin Transferee #7323    [Address on File]     5/29/2023 Bitcoin                                0.00040423 Customer Transfer
 Confidential Customer Coin Transferee #7324    [Address on File]     6/20/2023 Bitcoin                                0.00242681 Customer Transfer
 Confidential Customer Coin Transferee #7325    [Address on File]     5/25/2023 Bitcoin                                0.01164484 Customer Transfer
 Confidential Customer Coin Transferee #7326    [Address on File]      6/1/2023 Bitcoin                                0.00639616 Customer Transfer
 Confidential Customer Coin Transferee #7326    [Address on File]     6/20/2023 Bitcoin                                0.00198799 Customer Transfer
 Confidential Customer Coin Transferee #7327    [Address on File]     6/19/2023 Bitcoin                                0.00034672 Customer Transfer
 Confidential Customer Coin Transferee #7328    [Address on File]     5/30/2023 Bitcoin                                0.01001424 Customer Transfer
 Confidential Customer Coin Transferee #7329    [Address on File]     6/19/2023 Bitcoin                                0.00102673 Customer Transfer
 Confidential Customer Coin Transferee #7330    [Address on File]     6/12/2023 Bitcoin                                0.01160845 Customer Transfer
 Confidential Customer Coin Transferee #7330    [Address on File]      6/5/2023 Bitcoin                                0.00418659 Customer Transfer
 Confidential Customer Coin Transferee #7330    [Address on File]     6/19/2023 Bitcoin                                0.00007686 Customer Transfer
 Confidential Customer Coin Transferee #7331    [Address on File]     5/22/2023 Bitcoin                                0.01056019 Customer Transfer
 Confidential Customer Coin Transferee #7332    [Address on File]     5/21/2023 Bitcoin                                0.01051328 Customer Transfer
 Confidential Customer Coin Transferee #7333    [Address on File]     6/20/2023 Bitcoin                                0.00151259 Customer Transfer
 Confidential Customer Coin Transferee #7334    [Address on File]     6/20/2023 Bitcoin                                0.00036619 Customer Transfer
 Confidential Customer Coin Transferee #7335    [Address on File]     6/20/2023 Bitcoin                                0.05522846 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7336    [Address on File]      6/9/2023 Bitcoin                             0.13026601 Customer Transfer
 Confidential Customer Coin Transferee #7337    [Address on File]     5/23/2023 Bitcoin                              0.0017141 Customer Transfer
 Confidential Customer Coin Transferee #7338    [Address on File]     5/31/2023 Bitcoin                             0.01001411 Customer Transfer
 Confidential Customer Coin Transferee #7339    [Address on File]     6/20/2023 Bitcoin                             0.00237576 Customer Transfer
 Confidential Customer Coin Transferee #7340    [Address on File]     5/28/2023 Bitcoin                              0.0020314 Customer Transfer
 Confidential Customer Coin Transferee #7341    [Address on File]     6/20/2023 Bitcoin                             0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #7342    [Address on File]     6/20/2023 Bitcoin                             0.00005815 Customer Transfer

 Confidential Customer Coin Transferee #7343    [Address on File]     5/24/2023 Bitcoin                                0.51832708 Customer Transfer

 Confidential Customer Coin Transferee #7343    [Address on File]     5/24/2023 Bitcoin                                0.01064431 Customer Transfer
 Confidential Customer Coin Transferee #7344    [Address on File]     6/20/2023 Bitcoin                                0.00059798 Customer Transfer
 Confidential Customer Coin Transferee #7345    [Address on File]     5/29/2023 Bitcoin                                 0.0741637 Customer Transfer
 Confidential Customer Coin Transferee #7346    [Address on File]     6/19/2023 Bitcoin                                0.00040437 Customer Transfer
 Confidential Customer Coin Transferee #7347    [Address on File]     6/18/2023 Cosmos Hub ATOM)                        30.099189 Customer Transfer
 Confidential Customer Coin Transferee #7348    [Address on File]     5/19/2023 Bitcoin                                       0.097 Customer Transfer
 Confidential Customer Coin Transferee #7348    [Address on File]     5/28/2023 Bitcoin                                       0.092 Customer Transfer
 Confidential Customer Coin Transferee #7348    [Address on File]     5/26/2023 Bitcoin                                       0.091 Customer Transfer
 Confidential Customer Coin Transferee #7348    [Address on File]     5/18/2023 Bitcoin                                0.04840639 Customer Transfer
 Confidential Customer Coin Transferee #7348    [Address on File]     5/19/2023 Bitcoin                                0.00015766 Customer Transfer
 Confidential Customer Coin Transferee #7349    [Address on File]     5/27/2023 Bitcoin                                0.06624726 Customer Transfer
 Confidential Customer Coin Transferee #7349    [Address on File]     5/18/2023 Bitcoin                                0.01451176 Customer Transfer
 Confidential Customer Coin Transferee #7349    [Address on File]     5/22/2023 Bitcoin                                0.00370664 Customer Transfer
 Confidential Customer Coin Transferee #7350    [Address on File]     5/22/2023 Bitcoin                                0.03582265 Customer Transfer
 Confidential Customer Coin Transferee #7350    [Address on File]     5/31/2023 Bitcoin                                0.02024599 Customer Transfer
 Confidential Customer Coin Transferee #7351    [Address on File]     5/26/2023 Bitcoin                                0.05579272 Customer Transfer
 Confidential Customer Coin Transferee #7351    [Address on File]     5/24/2023 Bitcoin                                0.00188905 Customer Transfer
 Confidential Customer Coin Transferee #7352    [Address on File]     5/31/2023 Bitcoin                                0.01213397 Customer Transfer
 Confidential Customer Coin Transferee #7353    [Address on File]     6/20/2023 Bitcoin                                0.00115453 Customer Transfer
 Confidential Customer Coin Transferee #7354    [Address on File]     5/16/2023 Bitcoin                                 0.0181402 Customer Transfer
 Confidential Customer Coin Transferee #7355    [Address on File]     5/27/2023 Bitcoin                                0.01121611 Customer Transfer
 Confidential Customer Coin Transferee #7355    [Address on File]     5/25/2023 Bitcoin                                0.00185428 Customer Transfer
 Confidential Customer Coin Transferee #7356    [Address on File]     5/26/2023 Bitcoin                                     0.0005 Customer Transfer
 Confidential Customer Coin Transferee #7357    [Address on File]     5/30/2023 Bitcoin                                    0.00725 Customer Transfer
 Confidential Customer Coin Transferee #7358    [Address on File]     5/26/2023 Bitcoin                                0.00165427 Customer Transfer
 Confidential Customer Coin Transferee #7358    [Address on File]     5/31/2023 Bitcoin                                0.00143645 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #7358    [Address on File]     5/21/2023 Bitcoin                             0.00089895 Customer Transfer
 Confidential Customer Coin Transferee #7358    [Address on File]     5/29/2023 Bitcoin                             0.00071276 Customer Transfer
 Confidential Customer Coin Transferee #7358    [Address on File]     5/25/2023 Bitcoin                             0.00020268 Customer Transfer
 Confidential Customer Coin Transferee #7359    [Address on File]     5/27/2023 Bitcoin                             0.00372524 Customer Transfer
 Confidential Customer Coin Transferee #7360    [Address on File]     5/27/2023 Bitcoin                             0.00845152 Customer Transfer
 Confidential Customer Coin Transferee #7360    [Address on File]     5/29/2023 Bitcoin                             0.00705557 Customer Transfer
 Confidential Customer Coin Transferee #7360    [Address on File]     5/26/2023 Bitcoin                             0.00079399 Customer Transfer
 Confidential Customer Coin Transferee #7361    [Address on File]     5/17/2023 Bitcoin                                0.017847 Customer Transfer
 Confidential Customer Coin Transferee #7362    [Address on File]     5/27/2023 Bitcoin                                      0.22 Customer Transfer
 Confidential Customer Coin Transferee #7362    [Address on File]     5/25/2023 Bitcoin                                    0.114 Customer Transfer
 Confidential Customer Coin Transferee #7362    [Address on File]     5/29/2023 Bitcoin                                0.113654 Customer Transfer
 Confidential Customer Coin Transferee #7362    [Address on File]     5/25/2023 Bitcoin                                       0.1 Customer Transfer
 Confidential Customer Coin Transferee #7362    [Address on File]     5/25/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #7362    [Address on File]     5/24/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #7363    [Address on File]     5/21/2023 Bitcoin                             0.00276874 Customer Transfer
 Confidential Customer Coin Transferee #7363    [Address on File]     5/23/2023 Bitcoin                              0.0025575 Customer Transfer
 Confidential Customer Coin Transferee #7363    [Address on File]     5/23/2023 Bitcoin                                0.000911 Customer Transfer
 Confidential Customer Coin Transferee #7363    [Address on File]     5/23/2023 Bitcoin                             0.00090751 Customer Transfer
 Confidential Customer Coin Transferee #7364    [Address on File]     5/25/2023 Bitcoin                             0.00325187 Customer Transfer
 Confidential Customer Coin Transferee #7365    [Address on File]     5/18/2023 Bitcoin                                0.006321 Customer Transfer
 Confidential Customer Coin Transferee #7365    [Address on File]     5/23/2023 Bitcoin                                 0.00309 Customer Transfer
 Confidential Customer Coin Transferee #7366    [Address on File]     5/20/2023 Bitcoin                             0.03587404 Customer Transfer
 Confidential Customer Coin Transferee #7366    [Address on File]     5/23/2023 Bitcoin                             0.00919672 Customer Transfer
 Confidential Customer Coin Transferee #7367    [Address on File]     5/21/2023 Bitcoin                             0.14373033 Customer Transfer
 Confidential Customer Coin Transferee #7368    [Address on File]     5/29/2023 Bitcoin                             0.07067388 Customer Transfer
 Confidential Customer Coin Transferee #7369    [Address on File]     6/19/2023 Bitcoin                             0.01091902 Customer Transfer
 Confidential Customer Coin Transferee #7370    [Address on File]     5/29/2023 Bitcoin                             0.01405986 Customer Transfer
 Confidential Customer Coin Transferee #7371    [Address on File]     5/24/2023 Bitcoin                             0.00075825 Customer Transfer
 Confidential Customer Coin Transferee #7371    [Address on File]     5/17/2023 Bitcoin                             0.00074424 Customer Transfer
 Confidential Customer Coin Transferee #7371    [Address on File]     5/27/2023 Bitcoin                             0.00074132 Customer Transfer
 Confidential Customer Coin Transferee #7371    [Address on File]     5/20/2023 Bitcoin                             0.00073845 Customer Transfer
 Confidential Customer Coin Transferee #7371    [Address on File]     5/16/2023 Bitcoin                             0.00073613 Customer Transfer
 Confidential Customer Coin Transferee #7371    [Address on File]     5/29/2023 Bitcoin                             0.00071844 Customer Transfer
 Confidential Customer Coin Transferee #7372    [Address on File]     5/26/2023 Bitcoin                             0.00191823 Customer Transfer
 Confidential Customer Coin Transferee #7373    [Address on File]     5/16/2023 Bitcoin                             0.00499393 Customer Transfer
 Confidential Customer Coin Transferee #7373    [Address on File]     5/18/2023 Bitcoin                                   0.0004 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/25/2023 Bitcoin                                 0.00193 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/25/2023 Bitcoin                                0.001858 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/28/2023 Bitcoin                             0.00142609 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/26/2023 Bitcoin                                0.001323 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/26/2023 Bitcoin                             0.00132223 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/27/2023 Bitcoin                                 0.00113 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/26/2023 Bitcoin                             0.00112444 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/27/2023 Bitcoin                                   0.0011 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/28/2023 Bitcoin                                   0.0011 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/28/2023 Bitcoin                                   0.0011 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/28/2023 Bitcoin                                   0.0011 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/31/2023 Bitcoin                                 0.00092 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/28/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/28/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/30/2023 Bitcoin                                0.000899 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/24/2023 Bitcoin                                0.000756 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/31/2023 Bitcoin                                0.000752 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/31/2023 Bitcoin                                 0.00075 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/30/2023 Bitcoin                                 0.00072 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/30/2023 Bitcoin                                 0.00072 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/31/2023 Bitcoin                                   0.0007 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/28/2023 Bitcoin                              0.0006446 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/22/2023 Bitcoin                              0.0003702 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/31/2023 Bitcoin                                 0.00032 Customer Transfer
 Confidential Customer Coin Transferee #7374    [Address on File]     5/20/2023 Bitcoin                              0.0001544 Customer Transfer
 Confidential Customer Coin Transferee #7375    [Address on File]     5/16/2023 Bitcoin                             0.02796756 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/31/2023 Bitcoin                             0.01838972 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/27/2023 Bitcoin                             0.01114586 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/20/2023 Bitcoin                             0.00739818 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/25/2023 Bitcoin                             0.00381042 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/24/2023 Bitcoin                             0.00376487 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/17/2023 Bitcoin                              0.0037354 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/27/2023 Bitcoin                             0.00372768 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/24/2023 Bitcoin                             0.00372349 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/27/2023 Bitcoin                             0.00371341 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/20/2023 Bitcoin                             0.00370016 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/20/2023 Bitcoin                             0.00369968 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/29/2023 Bitcoin                             0.00360019 Customer Transfer
 Confidential Customer Coin Transferee #7376    [Address on File]     5/30/2023 Bitcoin                             0.00358554 Customer Transfer
 Confidential Customer Coin Transferee #7377    [Address on File]     5/17/2023 Bitcoin                             0.01129091 Customer Transfer
 Confidential Customer Coin Transferee #7377    [Address on File]     5/25/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #7377    [Address on File]     5/31/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #7377    [Address on File]     5/24/2023 Bitcoin                              0.0043206 Customer Transfer
 Confidential Customer Coin Transferee #7377    [Address on File]     5/20/2023 Bitcoin                             0.00369673 Customer Transfer
 Confidential Customer Coin Transferee #7378    [Address on File]     5/31/2023 Bitcoin                                   0.005 Customer Transfer
 Confidential Customer Coin Transferee #7379    [Address on File]     5/26/2023 Bitcoin                             0.00956492 Customer Transfer
 Confidential Customer Coin Transferee #7380    [Address on File]     5/26/2023 Bitcoin                             0.00091546 Customer Transfer
 Confidential Customer Coin Transferee #7380    [Address on File]     5/19/2023 Bitcoin                             0.00070646 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/25/2023 Bitcoin                                0.00080487 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/21/2023 Bitcoin                                0.00057369 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/31/2023 Bitcoin                                 0.0004555 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/22/2023 Bitcoin                                0.00038778 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/24/2023 Bitcoin                                0.00019699 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/26/2023 Bitcoin                                0.00019588 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/18/2023 Bitcoin                                0.00019454 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/17/2023 Bitcoin                                0.00019392 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/26/2023 Bitcoin                                 0.0001932 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/19/2023 Bitcoin                                0.00019292 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/23/2023 Bitcoin                                0.00019284 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/19/2023 Bitcoin                                 0.0001927 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/28/2023 Bitcoin                                0.00019197 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/31/2023 Bitcoin                                0.00019174 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/31/2023 Bitcoin                                0.00019156 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/24/2023 Bitcoin                                0.00019113 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/24/2023 Bitcoin                                0.00019083 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/24/2023 Bitcoin                                0.00019076 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/24/2023 Bitcoin                                0.00019072 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/31/2023 Bitcoin                                0.00018713 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/16/2023 Bitcoin                                0.00018406 Customer Transfer

 Confidential Customer Coin Transferee #7381    [Address on File]     5/29/2023 Bitcoin                                0.00018397 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/19/2023 Bitcoin                                0.00369973 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/17/2023 Bitcoin                                 0.0036787 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/24/2023 Bitcoin                                0.00188612 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/20/2023 Bitcoin                                 0.0018454 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/23/2023 Bitcoin                                0.00182225 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/18/2023 Bitcoin                                0.00182119 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/25/2023 Bitcoin                                0.00150923 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/26/2023 Bitcoin                                0.00148906 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/23/2023 Bitcoin                                0.00148092 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]      6/2/2023 Bitcoin                                0.00147527 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/18/2023 Bitcoin                                0.00147076 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/30/2023 Bitcoin                                0.00143685 Customer Transfer
 Confidential Customer Coin Transferee #7382    [Address on File]     5/28/2023 Bitcoin                                0.00109301 Customer Transfer
 Confidential Customer Coin Transferee #7383    [Address on File]     5/28/2023 Bitcoin                                0.00047345 Customer Transfer
 Confidential Customer Coin Transferee #7384    [Address on File]     5/18/2023 Bitcoin                                0.00597117 Customer Transfer
 Confidential Customer Coin Transferee #7385    [Address on File]     5/23/2023 Bitcoin                                0.01091471 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7385    [Address on File]     5/16/2023 Bitcoin                             0.00737186 Customer Transfer
 Confidential Customer Coin Transferee #7385    [Address on File]     5/30/2023 Bitcoin                             0.00718394 Customer Transfer
 Confidential Customer Coin Transferee #7386    [Address on File]     5/24/2023 Bitcoin                                 0.09317 Customer Transfer
 Confidential Customer Coin Transferee #7387    [Address on File]     5/27/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #7388    [Address on File]     5/19/2023 Bitcoin                             0.08872555 Customer Transfer
 Confidential Customer Coin Transferee #7389    [Address on File]     5/29/2023 Bitcoin                             0.00811846 Customer Transfer
 Confidential Customer Coin Transferee #7389    [Address on File]     5/19/2023 Bitcoin                             0.00804346 Customer Transfer
 Confidential Customer Coin Transferee #7389    [Address on File]     5/24/2023 Bitcoin                              0.0061171 Customer Transfer
 Confidential Customer Coin Transferee #7389    [Address on File]     5/21/2023 Bitcoin                             0.00609779 Customer Transfer
 Confidential Customer Coin Transferee #7390    [Address on File]     5/19/2023 Bitcoin                             0.00259804 Customer Transfer
 Confidential Customer Coin Transferee #7390    [Address on File]     5/27/2023 Bitcoin                             0.00224699 Customer Transfer
 Confidential Customer Coin Transferee #7390    [Address on File]     5/20/2023 Bitcoin                             0.00222031 Customer Transfer
 Confidential Customer Coin Transferee #7390    [Address on File]     5/30/2023 Bitcoin                             0.00071491 Customer Transfer
 Confidential Customer Coin Transferee #7391    [Address on File]     5/28/2023 Bitcoin                             0.00616358 Customer Transfer
 Confidential Customer Coin Transferee #7391    [Address on File]     5/20/2023 Bitcoin                             0.00369989 Customer Transfer
 Confidential Customer Coin Transferee #7391    [Address on File]     5/23/2023 Bitcoin                             0.00368508 Customer Transfer
 Confidential Customer Coin Transferee #7391    [Address on File]     5/17/2023 Bitcoin                              0.0036638 Customer Transfer
 Confidential Customer Coin Transferee #7391    [Address on File]     5/30/2023 Bitcoin                              0.0023738 Customer Transfer
 Confidential Customer Coin Transferee #7392    [Address on File]     5/18/2023 Bitcoin                             0.04066825 Customer Transfer
 Confidential Customer Coin Transferee #7393    [Address on File]     5/17/2023 Bitcoin                             0.05274324 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/25/2023 Bitcoin                                 0.13146 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/24/2023 Bitcoin                             0.00993679 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/24/2023 Bitcoin                              0.0078945 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/24/2023 Bitcoin                             0.00775794 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/24/2023 Bitcoin                                    0.007 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/31/2023 Bitcoin                                  0.0058 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/24/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/24/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/30/2023 Bitcoin                                 0.00304 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/22/2023 Bitcoin                              0.0008292 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/30/2023 Bitcoin                                 0.00073 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00050179 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00049744 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00049533 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00049517 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00049424 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00049291 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00048822 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00048791 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00048776 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                              0.0004861 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00048534 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00048195 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00047344 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00047206 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00046921 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00046477 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                              0.0004623 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                             0.00045428 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00034 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00033 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00031 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00031 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00029 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00028 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00027 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00027 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00026 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00026 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00026 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00024 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00024 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00023 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00023 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00022 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00022 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00022 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00022 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00022 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00021 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00021 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00021 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00021 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00021 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00021 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00021 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00019 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00019 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00019 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00019 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00018 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00018 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00017 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00015 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00015 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00015 Customer Transfer
 Confidential Customer Coin Transferee #7394    [Address on File]     5/17/2023 Bitcoin                                 0.00013 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/21/2023 Bitcoin                             0.02037519 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/28/2023 Bitcoin                             0.01975538 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/22/2023 Bitcoin                             0.01854451 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/19/2023 Bitcoin                              0.0185431 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/17/2023 Bitcoin                             0.01849336 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/19/2023 Bitcoin                             0.01848748 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/20/2023 Bitcoin                             0.01843298 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/16/2023 Bitcoin                              0.0184111 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/31/2023 Bitcoin                             0.01836097 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/28/2023 Bitcoin                             0.01833558 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/28/2023 Bitcoin                             0.01829078 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/31/2023 Bitcoin                             0.01795133 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/30/2023 Bitcoin                             0.01782873 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/29/2023 Bitcoin                             0.01781913 Customer Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/26/2023 Bitcoin                              0.0168533 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7395    [Address on File]     5/16/2023 Bitcoin                             0.01656856 Customer Transfer
 Confidential Customer Coin Transferee #7396    [Address on File]     5/20/2023 Bitcoin                             0.03707248 Customer Transfer
 Confidential Customer Coin Transferee #7397    [Address on File]     6/12/2023 Bitcoin                             0.00116288 Customer Transfer
 Confidential Customer Coin Transferee #7398    [Address on File]     5/27/2023 Bitcoin                                0.011159 Customer Transfer
 Confidential Customer Coin Transferee #7398    [Address on File]     5/24/2023 Bitcoin                             0.00827781 Customer Transfer
 Confidential Customer Coin Transferee #7399    [Address on File]     5/20/2023 Bitcoin                             0.00477726 Customer Transfer
 Confidential Customer Coin Transferee #7400    [Address on File]     5/21/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #7400    [Address on File]     5/26/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #7400    [Address on File]     5/31/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #7401    [Address on File]     5/16/2023 Bitcoin                                    0.095 Customer Transfer
 Confidential Customer Coin Transferee #7401    [Address on File]     5/26/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #7402    [Address on File]     5/24/2023 Bitcoin                             0.11319709 Customer Transfer
 Confidential Customer Coin Transferee #7402    [Address on File]     5/17/2023 Bitcoin                             0.07397191 Customer Transfer
 Confidential Customer Coin Transferee #7402    [Address on File]     5/19/2023 Bitcoin                             0.05556993 Customer Transfer
 Confidential Customer Coin Transferee #7402    [Address on File]     5/25/2023 Bitcoin                              0.0376061 Customer Transfer
 Confidential Customer Coin Transferee #7402    [Address on File]     5/18/2023 Bitcoin                             0.03733829 Customer Transfer
 Confidential Customer Coin Transferee #7402    [Address on File]     5/17/2023 Bitcoin                             0.03711099 Customer Transfer
 Confidential Customer Coin Transferee #7402    [Address on File]     5/18/2023 Bitcoin                             0.03708971 Customer Transfer
 Confidential Customer Coin Transferee #7402    [Address on File]     5/19/2023 Bitcoin                             0.03694096 Customer Transfer
 Confidential Customer Coin Transferee #7402    [Address on File]     5/19/2023 Bitcoin                             0.03691301 Customer Transfer
 Confidential Customer Coin Transferee #7402    [Address on File]     5/24/2023 Bitcoin                             0.02776504 Customer Transfer
 Confidential Customer Coin Transferee #7402    [Address on File]     5/19/2023 Bitcoin                             0.02766957 Customer Transfer
 Confidential Customer Coin Transferee #7403    [Address on File]     5/28/2023 Bitcoin                             0.00183391 Customer Transfer
 Confidential Customer Coin Transferee #7403    [Address on File]     5/28/2023 Bitcoin                             0.00017966 Customer Transfer
 Confidential Customer Coin Transferee #7404    [Address on File]     5/16/2023 Bitcoin                             0.18248216 Customer Transfer
 Confidential Customer Coin Transferee #7404    [Address on File]     5/17/2023 Bitcoin                             0.07342885 Customer Transfer
 Confidential Customer Coin Transferee #7404    [Address on File]     5/16/2023 Bitcoin                                    0.037 Customer Transfer
 Confidential Customer Coin Transferee #7405    [Address on File]     5/26/2023 Bitcoin                             0.00744183 Customer Transfer
 Confidential Customer Coin Transferee #7406    [Address on File]     5/19/2023 Bitcoin                             0.00849397 Customer Transfer
 Confidential Customer Coin Transferee #7407    [Address on File]     5/22/2023 Bitcoin                             0.00369838 Customer Transfer
 Confidential Customer Coin Transferee #7407    [Address on File]     5/20/2023 Bitcoin                             0.00368985 Customer Transfer
 Confidential Customer Coin Transferee #7407    [Address on File]     5/28/2023 Bitcoin                             0.00364925 Customer Transfer
 Confidential Customer Coin Transferee #7408    [Address on File]     5/28/2023 Bitcoin                                     0.05 Customer Transfer
 Confidential Customer Coin Transferee #7409    [Address on File]     5/18/2023 Bitcoin                             0.03382611 Customer Transfer
 Confidential Customer Coin Transferee #7410    [Address on File]     5/18/2023 Bitcoin                             0.01860149 Customer Transfer
 Confidential Customer Coin Transferee #7410    [Address on File]     5/19/2023 Bitcoin                             0.01848545 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7410    [Address on File]     5/26/2023 Bitcoin                             0.00996413 Customer Transfer
 Confidential Customer Coin Transferee #7410    [Address on File]     5/25/2023 Bitcoin                             0.00948247 Customer Transfer
 Confidential Customer Coin Transferee #7410    [Address on File]     5/25/2023 Bitcoin                             0.00948118 Customer Transfer
 Confidential Customer Coin Transferee #7410    [Address on File]     5/27/2023 Bitcoin                             0.00372237 Customer Transfer
 Confidential Customer Coin Transferee #7410    [Address on File]     5/21/2023 Bitcoin                             0.00184852 Customer Transfer
 Confidential Customer Coin Transferee #7410    [Address on File]     5/17/2023 Bitcoin                              0.0003734 Customer Transfer
 Confidential Customer Coin Transferee #7411    [Address on File]     5/19/2023 Bitcoin                             0.00038827 Customer Transfer
 Confidential Customer Coin Transferee #7411    [Address on File]     5/25/2023 Bitcoin                             0.00037725 Customer Transfer
 Confidential Customer Coin Transferee #7412    [Address on File]     5/17/2023 Bitcoin                             0.03482072 Customer Transfer
 Confidential Customer Coin Transferee #7412    [Address on File]     5/19/2023 Bitcoin                             0.00554645 Customer Transfer
 Confidential Customer Coin Transferee #7413    [Address on File]     5/26/2023 Bitcoin                             0.00375775 Customer Transfer
 Confidential Customer Coin Transferee #7414    [Address on File]     5/22/2023 Bitcoin                             0.05939481 Customer Transfer
 Confidential Customer Coin Transferee #7415    [Address on File]     5/30/2023 Bitcoin                                   0.037 Customer Transfer
 Confidential Customer Coin Transferee #7415    [Address on File]     5/16/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #7416    [Address on File]     5/31/2023 Bitcoin                             0.01078513 Customer Transfer
 Confidential Customer Coin Transferee #7417    [Address on File]     5/19/2023 Bitcoin                             0.02073184 Customer Transfer
 Confidential Customer Coin Transferee #7417    [Address on File]     5/24/2023 Bitcoin                             0.00368286 Customer Transfer
 Confidential Customer Coin Transferee #7418    [Address on File]     5/22/2023 Bitcoin                             0.00018531 Customer Transfer
 Confidential Customer Coin Transferee #7419    [Address on File]     5/29/2023 Bitcoin                              0.0114426 Customer Transfer
 Confidential Customer Coin Transferee #7420    [Address on File]     5/26/2023 Bitcoin                             0.00094227 Customer Transfer
 Confidential Customer Coin Transferee #7420    [Address on File]     5/31/2023 Bitcoin                             0.00036611 Customer Transfer
 Confidential Customer Coin Transferee #7421    [Address on File]     5/27/2023 Bitcoin                             0.00465423 Customer Transfer
 Confidential Customer Coin Transferee #7422    [Address on File]     5/23/2023 Bitcoin                             0.00731277 Customer Transfer
 Confidential Customer Coin Transferee #7422    [Address on File]     5/20/2023 Bitcoin                             0.00370428 Customer Transfer
 Confidential Customer Coin Transferee #7422    [Address on File]     5/28/2023 Bitcoin                             0.00365978 Customer Transfer
 Confidential Customer Coin Transferee #7423    [Address on File]     5/24/2023 Bitcoin                             0.00926416 Customer Transfer
 Confidential Customer Coin Transferee #7423    [Address on File]     5/31/2023 Bitcoin                             0.00920489 Customer Transfer
 Confidential Customer Coin Transferee #7423    [Address on File]     5/18/2023 Bitcoin                             0.00918173 Customer Transfer
 Confidential Customer Coin Transferee #7423    [Address on File]     5/27/2023 Bitcoin                             0.00372905 Customer Transfer
 Confidential Customer Coin Transferee #7424    [Address on File]     5/24/2023 Bitcoin                             0.03781697 Customer Transfer
 Confidential Customer Coin Transferee #7425    [Address on File]     5/26/2023 Bitcoin                             0.00075211 Customer Transfer
 Confidential Customer Coin Transferee #7425    [Address on File]     5/29/2023 Bitcoin                             0.00071382 Customer Transfer
 Confidential Customer Coin Transferee #7425    [Address on File]     5/16/2023 Bitcoin                             0.00055261 Customer Transfer
 Confidential Customer Coin Transferee #7425    [Address on File]     5/22/2023 Bitcoin                             0.00055139 Customer Transfer
 Confidential Customer Coin Transferee #7426    [Address on File]      6/1/2023 Bitcoin                             0.07298079 Customer Transfer
 Confidential Customer Coin Transferee #7427    [Address on File]     5/20/2023 Bitcoin                             0.00516699 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7428    [Address on File]     5/20/2023 Bitcoin                             0.00554089 Customer Transfer
 Confidential Customer Coin Transferee #7428    [Address on File]     5/29/2023 Bitcoin                              0.0027814 Customer Transfer
 Confidential Customer Coin Transferee #7428    [Address on File]     5/21/2023 Bitcoin                             0.00275424 Customer Transfer
 Confidential Customer Coin Transferee #7429    [Address on File]     6/19/2023 Bitcoin                             0.01992103 Customer Transfer
 Confidential Customer Coin Transferee #7430    [Address on File]     5/26/2023 Bitcoin                             0.00977795 Customer Transfer
 Confidential Customer Coin Transferee #7430    [Address on File]     5/31/2023 Bitcoin                              0.0095501 Customer Transfer
 Confidential Customer Coin Transferee #7430    [Address on File]     5/16/2023 Bitcoin                              0.0044119 Customer Transfer
 Confidential Customer Coin Transferee #7430    [Address on File]     5/31/2023 Bitcoin                             0.00174632 Customer Transfer
 Confidential Customer Coin Transferee #7431    [Address on File]     5/18/2023 Bitcoin                             0.07281106 Customer Transfer
 Confidential Customer Coin Transferee #7432    [Address on File]     6/12/2023 Bitcoin                             0.00902417 Customer Transfer
 Confidential Customer Coin Transferee #7432    [Address on File]     5/22/2023 Bitcoin                             0.00345977 Customer Transfer
 Confidential Customer Coin Transferee #7432    [Address on File]      6/7/2023 Bitcoin                             0.00309714 Customer Transfer
 Confidential Customer Coin Transferee #7432    [Address on File]      6/1/2023 Bitcoin                             0.00270494 Customer Transfer
 Confidential Customer Coin Transferee #7432    [Address on File]     5/25/2023 Bitcoin                             0.00261913 Customer Transfer
 Confidential Customer Coin Transferee #7432    [Address on File]      6/5/2023 Bitcoin                             0.00256979 Customer Transfer
 Confidential Customer Coin Transferee #7432    [Address on File]     5/23/2023 Bitcoin                             0.00221445 Customer Transfer
 Confidential Customer Coin Transferee #7432    [Address on File]     6/12/2023 Bitcoin                             0.00186849 Customer Transfer
 Confidential Customer Coin Transferee #7432    [Address on File]     5/29/2023 Bitcoin                             0.00176234 Customer Transfer
 Confidential Customer Coin Transferee #7432    [Address on File]     5/16/2023 Bitcoin                             0.00174549 Customer Transfer
 Confidential Customer Coin Transferee #7432    [Address on File]     5/26/2023 Bitcoin                             0.00096798 Customer Transfer
 Confidential Customer Coin Transferee #7433    [Address on File]     5/18/2023 Bitcoin                             0.00179363 Customer Transfer
 Confidential Customer Coin Transferee #7434    [Address on File]     5/23/2023 Bitcoin                             0.00357874 Customer Transfer
 Confidential Customer Coin Transferee #7435    [Address on File]     5/24/2023 Bitcoin                             0.00930248 Customer Transfer
 Confidential Customer Coin Transferee #7435    [Address on File]     5/17/2023 Bitcoin                              0.0084836 Customer Transfer
 Confidential Customer Coin Transferee #7436    [Address on File]     6/12/2023 Bitcoin                             0.00746641 Customer Transfer
 Confidential Customer Coin Transferee #7436    [Address on File]     5/26/2023 Bitcoin                             0.00374666 Customer Transfer
 Confidential Customer Coin Transferee #7436    [Address on File]     6/13/2023 Bitcoin                             0.00187744 Customer Transfer
 Confidential Customer Coin Transferee #7437    [Address on File]      6/9/2023 Bitcoin                             0.04688935 Customer Transfer

 Confidential Customer Coin Transferee #7438    [Address on File]      6/2/2023 Bitcoin                                0.21631247 Customer Transfer
 Confidential Customer Coin Transferee #7439    [Address on File]      6/9/2023 Bitcoin                                0.00555333 Customer Transfer
 Confidential Customer Coin Transferee #7440    [Address on File]     6/20/2023 Bitcoin                                0.00269524 Customer Transfer
 Confidential Customer Coin Transferee #7441    [Address on File]     5/24/2023 Bitcoin                                0.01041645 Customer Transfer
 Confidential Customer Coin Transferee #7442    [Address on File]     5/19/2023 Bitcoin                                0.00381111 Customer Transfer
 Confidential Customer Coin Transferee #7442    [Address on File]      6/6/2023 Bitcoin                                0.00371714 Customer Transfer
 Confidential Customer Coin Transferee #7442    [Address on File]     5/22/2023 Bitcoin                                0.00184627 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7442    [Address on File]     5/22/2023 Bitcoin                             0.00184027 Customer Transfer
 Confidential Customer Coin Transferee #7443    [Address on File]     5/23/2023 Bitcoin                             0.06868073 Customer Transfer
 Confidential Customer Coin Transferee #7444    [Address on File]     6/12/2023 Bitcoin                             0.00391196 Customer Transfer
 Confidential Customer Coin Transferee #7444    [Address on File]     6/20/2023 Bitcoin                             0.00192817 Customer Transfer
 Confidential Customer Coin Transferee #7445    [Address on File]     6/19/2023 Bitcoin                             0.07465641 Customer Transfer
 Confidential Customer Coin Transferee #7445    [Address on File]     6/19/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #7446    [Address on File]     5/29/2023 Bitcoin                              0.1950488 Customer Transfer
 Confidential Customer Coin Transferee #7447    [Address on File]     6/20/2023 Bitcoin                             0.00172206 Customer Transfer
 Confidential Customer Coin Transferee #7448    [Address on File]     6/20/2023 Bitcoin                             0.00149848 Customer Transfer
 Confidential Customer Coin Transferee #7449    [Address on File]     5/22/2023 Bitcoin                             0.34712935 Customer Transfer
 Confidential Customer Coin Transferee #7450    [Address on File]     6/18/2023 Bitcoin                             0.00029864 Customer Transfer
 Confidential Customer Coin Transferee #7451    [Address on File]     6/20/2023 Bitcoin                             0.00005816 Customer Transfer
 Confidential Customer Coin Transferee #7452    [Address on File]     5/25/2023 Bitcoin                                  1.8247 Customer Transfer
 Confidential Customer Coin Transferee #7452    [Address on File]     5/18/2023 Bitcoin                             0.89475518 Customer Transfer
 Confidential Customer Coin Transferee #7453    [Address on File]     6/19/2023 Bitcoin                             0.00163842 Customer Transfer
 Confidential Customer Coin Transferee #7454    [Address on File]     5/29/2023 Bitcoin                             0.01737715 Customer Transfer
 Confidential Customer Coin Transferee #7455    [Address on File]     6/20/2023 Bitcoin                             0.00036404 Customer Transfer
 Confidential Customer Coin Transferee #7456    [Address on File]     5/26/2023 Bitcoin                              0.0187614 Customer Transfer
 Confidential Customer Coin Transferee #7457    [Address on File]     5/18/2023 Bitcoin                             0.00963024 Customer Transfer
 Confidential Customer Coin Transferee #7458    [Address on File]     5/30/2023 Bitcoin                             0.02460945 Customer Transfer
 Confidential Customer Coin Transferee #7458    [Address on File]     5/23/2023 Bitcoin                             0.02409555 Customer Transfer
 Confidential Customer Coin Transferee #7458    [Address on File]     5/17/2023 Bitcoin                             0.02355724 Customer Transfer
 Confidential Customer Coin Transferee #7459    [Address on File]      6/6/2023 Bitcoin                             0.00372795 Customer Transfer
 Confidential Customer Coin Transferee #7459    [Address on File]     5/26/2023 Bitcoin                             0.00346688 Customer Transfer
 Confidential Customer Coin Transferee #7459    [Address on File]     6/20/2023 Bitcoin                              0.0010493 Customer Transfer
 Confidential Customer Coin Transferee #7460    [Address on File]     6/20/2023 Bitcoin                             0.00097092 Customer Transfer
 Confidential Customer Coin Transferee #7461    [Address on File]     6/20/2023 Bitcoin                             0.00071395 Customer Transfer
 Confidential Customer Coin Transferee #7462    [Address on File]     5/17/2023 Bitcoin                             0.00175049 Customer Transfer
 Confidential Customer Coin Transferee #7463    [Address on File]     5/22/2023 Bitcoin                             0.00529599 Customer Transfer
 Confidential Customer Coin Transferee #7464    [Address on File]     6/20/2023 Bitcoin                             0.00004072 Customer Transfer
 Confidential Customer Coin Transferee #7465    [Address on File]     6/14/2023 USDC Solana)                        497.231384 Customer Transfer
 Confidential Customer Coin Transferee #7465    [Address on File]     5/27/2023 Ether                                  0.269585 Customer Transfer
 Confidential Customer Coin Transferee #7466    [Address on File]     6/20/2023 Bitcoin                             0.00098364 Customer Transfer
 Confidential Customer Coin Transferee #7467    [Address on File]     6/17/2023 Bitcoin                             0.01251461 Customer Transfer
 Confidential Customer Coin Transferee #7468    [Address on File]     5/24/2023 Bitcoin                             0.01017416 Customer Transfer
 Confidential Customer Coin Transferee #7469    [Address on File]     6/19/2023 Bitcoin                             0.00351794 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7470    [Address on File]     5/17/2023 Bitcoin                             0.08414344 Customer Transfer

 Confidential Customer Coin Transferee #7471    [Address on File]     6/12/2023 Bitcoin                                0.05460226 Customer Transfer

 Confidential Customer Coin Transferee #7471    [Address on File]     6/19/2023 Bitcoin                                  0.054352 Customer Transfer

 Confidential Customer Coin Transferee #7471    [Address on File]     6/12/2023 Bitcoin                                0.00999274 Customer Transfer
 Confidential Customer Coin Transferee #7472    [Address on File]      6/6/2023 Bitcoin                                0.00185582 Customer Transfer
 Confidential Customer Coin Transferee #7472    [Address on File]     6/14/2023 Bitcoin                                0.00076748 Customer Transfer
 Confidential Customer Coin Transferee #7473    [Address on File]     5/17/2023 Bitcoin                                0.01991044 Customer Transfer
 Confidential Customer Coin Transferee #7473    [Address on File]     5/16/2023 Bitcoin                                0.01192603 Customer Transfer
 Confidential Customer Coin Transferee #7473    [Address on File]     5/16/2023 Bitcoin                                0.01177279 Customer Transfer
 Confidential Customer Coin Transferee #7473    [Address on File]     5/16/2023 Bitcoin                                0.01159171 Customer Transfer
 Confidential Customer Coin Transferee #7473    [Address on File]     5/16/2023 Bitcoin                                 0.0111254 Customer Transfer
 Confidential Customer Coin Transferee #7474    [Address on File]     6/20/2023 Bitcoin                                0.00044904 Customer Transfer
 Confidential Customer Coin Transferee #7475    [Address on File]     5/30/2023 Bitcoin                                0.01032172 Customer Transfer
 Confidential Customer Coin Transferee #7476    [Address on File]     5/16/2023 Bitcoin                                0.01188624 Customer Transfer
 Confidential Customer Coin Transferee #7477    [Address on File]     5/29/2023 Bitcoin                                0.00653004 Customer Transfer
 Confidential Customer Coin Transferee #7477    [Address on File]     6/17/2023 Bitcoin                                 0.0041036 Customer Transfer
 Confidential Customer Coin Transferee #7477    [Address on File]      6/6/2023 Bitcoin                                0.00227166 Customer Transfer
 Confidential Customer Coin Transferee #7477    [Address on File]     5/19/2023 Bitcoin                                0.00186992 Customer Transfer
 Confidential Customer Coin Transferee #7477    [Address on File]      6/8/2023 Bitcoin                                0.00114442 Customer Transfer
 Confidential Customer Coin Transferee #7477    [Address on File]     6/12/2023 Bitcoin                                0.00113365 Customer Transfer

 Confidential Customer Coin Transferee #7478    [Address on File]     6/20/2023 Bitcoin                                0.10396333 Customer Transfer
 Confidential Customer Coin Transferee #7479    [Address on File]     6/19/2023 Bitcoin                                0.04643563 Customer Transfer
 Confidential Customer Coin Transferee #7480    [Address on File]     5/25/2023 Bitcoin                                0.01490507 Customer Transfer
 Confidential Customer Coin Transferee #7480    [Address on File]     5/17/2023 Bitcoin                                0.01488123 Customer Transfer
 Confidential Customer Coin Transferee #7481    [Address on File]     6/20/2023 Bitcoin                                0.00055744 Customer Transfer
 Confidential Customer Coin Transferee #7482    [Address on File]     6/19/2023 Bitcoin                                0.00003643 Customer Transfer
 Confidential Customer Coin Transferee #7483    [Address on File]     6/19/2023 Bitcoin                                0.00112813 Customer Transfer
 Confidential Customer Coin Transferee #7484    [Address on File]     6/19/2023 Bitcoin                                0.00045095 Customer Transfer
 Confidential Customer Coin Transferee #7485    [Address on File]     5/29/2023 Cosmos Hub ATOM)                        35.293421 Customer Transfer
 Confidential Customer Coin Transferee #7486    [Address on File]     5/28/2023 Bitcoin                                0.02516905 Customer Transfer
 Confidential Customer Coin Transferee #7487    [Address on File]     5/21/2023 Bitcoin                                0.00212435 Customer Transfer
 Confidential Customer Coin Transferee #7488    [Address on File]     5/30/2023 Bitcoin                                0.03112389 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7488    [Address on File]     5/16/2023 Bitcoin                              0.0309741 Customer Transfer
 Confidential Customer Coin Transferee #7488    [Address on File]     6/12/2023 Bitcoin                             0.02635081 Customer Transfer
 Confidential Customer Coin Transferee #7488    [Address on File]     6/15/2023 Bitcoin                             0.02326758 Customer Transfer
 Confidential Customer Coin Transferee #7488    [Address on File]      6/1/2023 Bitcoin                             0.01102261 Customer Transfer
 Confidential Customer Coin Transferee #7488    [Address on File]     6/17/2023 Bitcoin                             0.00387461 Customer Transfer
 Confidential Customer Coin Transferee #7489    [Address on File]     6/20/2023 Bitcoin                              0.0021158 Customer Transfer
 Confidential Customer Coin Transferee #7490    [Address on File]     5/22/2023 Bitcoin                             0.10517914 Customer Transfer
 Confidential Customer Coin Transferee #7491    [Address on File]     5/23/2023 Bitcoin                             0.01698334 Customer Transfer
 Confidential Customer Coin Transferee #7492    [Address on File]     6/19/2023 Bitcoin                              0.0223703 Customer Transfer
 Confidential Customer Coin Transferee #7493    [Address on File]     6/19/2023 Bitcoin                              0.0605963 Customer Transfer
 Confidential Customer Coin Transferee #7494    [Address on File]     6/17/2023 Bitcoin                             0.00466562 Customer Transfer
 Confidential Customer Coin Transferee #7495    [Address on File]     5/25/2023 Bitcoin                             0.02759916 Customer Transfer
 Confidential Customer Coin Transferee #7495    [Address on File]     5/18/2023 Bitcoin                             0.02554802 Customer Transfer
 Confidential Customer Coin Transferee #7496    [Address on File]     6/20/2023 Bitcoin                             0.00342335 Customer Transfer
 Confidential Customer Coin Transferee #7497    [Address on File]     6/20/2023 Bitcoin                             0.00489269 Customer Transfer
 Confidential Customer Coin Transferee #7498    [Address on File]     6/20/2023 Bitcoin                             0.00079483 Customer Transfer
 Confidential Customer Coin Transferee #7499    [Address on File]     5/25/2023 Bitcoin                             0.01000244 Customer Transfer
 Confidential Customer Coin Transferee #7500    [Address on File]     5/23/2023 Bitcoin                             0.00382931 Customer Transfer
 Confidential Customer Coin Transferee #7501    [Address on File]     5/17/2023 Bitcoin                             0.01407884 Customer Transfer
 Confidential Customer Coin Transferee #7502    [Address on File]     5/31/2023 Bitcoin                                  0.0997 Customer Transfer
 Confidential Customer Coin Transferee #7503    [Address on File]     6/12/2023 Bitcoin                             0.05030242 Customer Transfer
 Confidential Customer Coin Transferee #7504    [Address on File]     6/19/2023 Bitcoin                             0.04788201 Customer Transfer
 Confidential Customer Coin Transferee #7505    [Address on File]     5/30/2023 Bitcoin                             0.01876342 Customer Transfer
 Confidential Customer Coin Transferee #7506    [Address on File]     6/19/2023 Bitcoin                             0.00086124 Customer Transfer
 Confidential Customer Coin Transferee #7507    [Address on File]     6/19/2023 Bitcoin                              0.0063251 Customer Transfer
 Confidential Customer Coin Transferee #7508    [Address on File]     5/31/2023 Bitcoin                             0.00533191 Customer Transfer
 Confidential Customer Coin Transferee #7508    [Address on File]     6/19/2023 Bitcoin                             0.00228467 Customer Transfer
 Confidential Customer Coin Transferee #7509    [Address on File]     6/19/2023 Bitcoin                              0.0163852 Customer Transfer
 Confidential Customer Coin Transferee #7510    [Address on File]     6/20/2023 Bitcoin                             0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #7511    [Address on File]     6/20/2023 Bitcoin                             0.00294273 Customer Transfer
 Confidential Customer Coin Transferee #7512    [Address on File]     5/26/2023 Bitcoin                             0.02571156 Customer Transfer
 Confidential Customer Coin Transferee #7512    [Address on File]     5/19/2023 Bitcoin                             0.01399158 Customer Transfer
 Confidential Customer Coin Transferee #7513    [Address on File]     6/19/2023 Bitcoin                             0.00017368 Customer Transfer
 Confidential Customer Coin Transferee #7514    [Address on File]     6/20/2023 Bitcoin                             0.00011589 Customer Transfer
 Confidential Customer Coin Transferee #7515    [Address on File]     5/24/2023 Bitcoin                             0.00189599 Customer Transfer
 Confidential Customer Coin Transferee #7515    [Address on File]     5/19/2023 Bitcoin                             0.00168404 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7516    [Address on File]     5/29/2023 Bitcoin                             0.00730414 Customer Transfer
 Confidential Customer Coin Transferee #7517    [Address on File]     5/26/2023 Bitcoin                             0.00110438 Customer Transfer
 Confidential Customer Coin Transferee #7517    [Address on File]     5/19/2023 Bitcoin                             0.00108265 Customer Transfer
 Confidential Customer Coin Transferee #7518    [Address on File]     5/20/2023 Bitcoin                             0.05339537 Customer Transfer
 Confidential Customer Coin Transferee #7519    [Address on File]     5/22/2023 Bitcoin                              0.0007383 Customer Transfer
 Confidential Customer Coin Transferee #7520    [Address on File]     6/20/2023 Bitcoin                             0.00034635 Customer Transfer
 Confidential Customer Coin Transferee #7521    [Address on File]     5/25/2023 Bitcoin                             0.01072963 Customer Transfer
 Confidential Customer Coin Transferee #7522    [Address on File]     5/23/2023 Bitcoin                             0.02630339 Customer Transfer
 Confidential Customer Coin Transferee #7523    [Address on File]     5/22/2023 USDC Avalanche)                     496.401079 Customer Transfer
 Confidential Customer Coin Transferee #7523    [Address on File]      6/2/2023 USDC Avalanche)                     296.601699 Customer Transfer
 Confidential Customer Coin Transferee #7523    [Address on File]      6/5/2023 USDC Avalanche)                     296.601699 Customer Transfer
 Confidential Customer Coin Transferee #7523    [Address on File]     5/23/2023 USDC Avalanche)                     296.552068 Customer Transfer
 Confidential Customer Coin Transferee #7524    [Address on File]     5/19/2023 Bitcoin                             0.00273071 Customer Transfer
 Confidential Customer Coin Transferee #7524    [Address on File]     5/26/2023 Bitcoin                             0.00273009 Customer Transfer
 Confidential Customer Coin Transferee #7525    [Address on File]     5/23/2023 Bitcoin                             0.05305283 Customer Transfer
 Confidential Customer Coin Transferee #7525    [Address on File]     5/24/2023 Bitcoin                             0.01109703 Customer Transfer
 Confidential Customer Coin Transferee #7526    [Address on File]     5/18/2023 Bitcoin                             0.01050346 Customer Transfer
 Confidential Customer Coin Transferee #7527    [Address on File]     5/20/2023 Bitcoin                              0.0723862 Customer Transfer
 Confidential Customer Coin Transferee #7528    [Address on File]     5/25/2023 Bitcoin                             0.00252892 Customer Transfer
 Confidential Customer Coin Transferee #7529    [Address on File]     6/20/2023 Bitcoin                             0.00292824 Customer Transfer
 Confidential Customer Coin Transferee #7530    [Address on File]     5/19/2023 Bitcoin                             0.12330567 Customer Transfer
 Confidential Customer Coin Transferee #7531    [Address on File]     6/20/2023 Bitcoin                             0.01812491 Customer Transfer
 Confidential Customer Coin Transferee #7532    [Address on File]     5/25/2023 Bitcoin                                   0.003 Customer Transfer
 Confidential Customer Coin Transferee #7533    [Address on File]     5/16/2023 Bitcoin                             0.20093465 Customer Transfer
 Confidential Customer Coin Transferee #7533    [Address on File]     5/16/2023 Bitcoin                             0.07307908 Customer Transfer
 Confidential Customer Coin Transferee #7534    [Address on File]     5/19/2023 Bitcoin                             0.00371644 Customer Transfer
 Confidential Customer Coin Transferee #7534    [Address on File]     5/26/2023 Bitcoin                             0.00188097 Customer Transfer
 Confidential Customer Coin Transferee #7535    [Address on File]     5/21/2023 Bitcoin                             0.01664415 Customer Transfer
 Confidential Customer Coin Transferee #7536    [Address on File]     6/16/2023 Avalanche CChain)                      8.43696 Customer Transfer
 Confidential Customer Coin Transferee #7536    [Address on File]      6/9/2023 Avalanche CChain)                     7.057718 Customer Transfer
 Confidential Customer Coin Transferee #7536    [Address on File]     6/15/2023 Avalanche CChain)                     2.917834 Customer Transfer
 Confidential Customer Coin Transferee #7536    [Address on File]     6/15/2023 Avalanche CChain)                     2.663289 Customer Transfer
 Confidential Customer Coin Transferee #7536    [Address on File]     5/19/2023 Avalanche CChain)                     2.033242 Customer Transfer
 Confidential Customer Coin Transferee #7537    [Address on File]     6/20/2023 Bitcoin                             0.00226501 Customer Transfer
 Confidential Customer Coin Transferee #7538    [Address on File]     6/19/2023 Bitcoin                             0.00005608 Customer Transfer
 Confidential Customer Coin Transferee #7539    [Address on File]     5/27/2023 Bitcoin                             0.01103802 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7539    [Address on File]     5/27/2023 Bitcoin                             0.01083086 Customer Transfer
 Confidential Customer Coin Transferee #7539    [Address on File]     5/27/2023 Bitcoin                             0.01067886 Customer Transfer

 Confidential Customer Coin Transferee #7540    [Address on File]     5/23/2023 Bitcoin                             0.00147929 Customer Transfer
 Confidential Customer Coin Transferee #7541    [Address on File]     5/16/2023 Bitcoin                             0.02788889 Customer Transfer
 Confidential Customer Coin Transferee #7542    [Address on File]     6/20/2023 Bitcoin                             0.00075646 Customer Transfer
 Confidential Customer Coin Transferee #7543    [Address on File]     5/19/2023 Bitcoin                             0.67383525 Customer Transfer
 Confidential Customer Coin Transferee #7544    [Address on File]     6/19/2023 Bitcoin                             0.00349029 Customer Transfer
 Confidential Customer Coin Transferee #7545    [Address on File]     6/20/2023 Bitcoin                             0.00226689 Customer Transfer
 Confidential Customer Coin Transferee #7546    [Address on File]     5/24/2023 Bitcoin                             0.01493908 Customer Transfer
 Confidential Customer Coin Transferee #7547    [Address on File]     5/17/2023 Bitcoin                             0.05030723 Customer Transfer
 Confidential Customer Coin Transferee #7548    [Address on File]     6/20/2023 Bitcoin                             0.00005618 Customer Transfer
 Confidential Customer Coin Transferee #7549    [Address on File]     6/20/2023 Bitcoin                             0.00020264 Customer Transfer
 Confidential Customer Coin Transferee #7550    [Address on File]     5/23/2023 Bitcoin                             0.00892492 Customer Transfer
 Confidential Customer Coin Transferee #7551    [Address on File]     6/19/2023 Bitcoin                             0.00477545 Customer Transfer
 Confidential Customer Coin Transferee #7552    [Address on File]     5/22/2023 Bitcoin                             0.00189269 Customer Transfer
 Confidential Customer Coin Transferee #7552    [Address on File]     5/29/2023 Bitcoin                             0.00185847 Customer Transfer
 Confidential Customer Coin Transferee #7553    [Address on File]     6/20/2023 Bitcoin                             0.05257852 Customer Transfer
 Confidential Customer Coin Transferee #7554    [Address on File]     6/19/2023 Bitcoin                             0.00006138 Customer Transfer
 Confidential Customer Coin Transferee #7555    [Address on File]     6/21/2023 USD Coin                           1625.007475 Customer Transfer
 Confidential Customer Coin Transferee #7555    [Address on File]     6/19/2023 USD Coin                            478.038081 Customer Transfer
 Confidential Customer Coin Transferee #7556    [Address on File]     6/20/2023 Bitcoin                             0.00035024 Customer Transfer
 Confidential Customer Coin Transferee #7557    [Address on File]     5/25/2023 Bitcoin                                 0.00189 Customer Transfer
 Confidential Customer Coin Transferee #7558    [Address on File]     5/25/2023 Bitcoin                             0.01069817 Customer Transfer
 Confidential Customer Coin Transferee #7559    [Address on File]     5/23/2023 Bitcoin                             0.01425565 Customer Transfer
 Confidential Customer Coin Transferee #7560    [Address on File]     6/20/2023 Bitcoin                             0.00108459 Customer Transfer
 Confidential Customer Coin Transferee #7561    [Address on File]     6/19/2023 Bitcoin                             0.00057914 Customer Transfer
 Confidential Customer Coin Transferee #7562    [Address on File]     6/15/2023 Bitcoin                             0.00398095 Customer Transfer
 Confidential Customer Coin Transferee #7562    [Address on File]      6/5/2023 Bitcoin                             0.00025522 Customer Transfer
 Confidential Customer Coin Transferee #7563    [Address on File]     6/20/2023 Bitcoin                             0.00726645 Customer Transfer
 Confidential Customer Coin Transferee #7564    [Address on File]     5/29/2023 Bitcoin                             0.01063183 Customer Transfer
 Confidential Customer Coin Transferee #7565    [Address on File]     6/20/2023 Bitcoin                             0.01969435 Customer Transfer
 Confidential Customer Coin Transferee #7566    [Address on File]     5/17/2023 Bitcoin                             0.01045035 Customer Transfer
 Confidential Customer Coin Transferee #7567    [Address on File]     5/16/2023 Bitcoin                             0.00967906 Customer Transfer
 Confidential Customer Coin Transferee #7568    [Address on File]     5/29/2023 Bitcoin                             0.00444464 Customer Transfer
 Confidential Customer Coin Transferee #7569    [Address on File]     5/19/2023 Bitcoin                             0.01549513 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7569    [Address on File]     5/26/2023 Bitcoin                              0.0014845 Customer Transfer
 Confidential Customer Coin Transferee #7569    [Address on File]     5/29/2023 Bitcoin                             0.00055577 Customer Transfer
 Confidential Customer Coin Transferee #7570    [Address on File]      6/5/2023 Litecoin                                   6.48 Customer Transfer
 Confidential Customer Coin Transferee #7571    [Address on File]     6/20/2023 Bitcoin                             0.00220925 Customer Transfer
 Confidential Customer Coin Transferee #7572    [Address on File]     5/18/2023 Bitcoin                             0.03407973 Customer Transfer
 Confidential Customer Coin Transferee #7573    [Address on File]     6/20/2023 Bitcoin                             0.02571832 Customer Transfer
 Confidential Customer Coin Transferee #7574    [Address on File]     6/20/2023 Bitcoin                             0.00301503 Customer Transfer
 Confidential Customer Coin Transferee #7575    [Address on File]     5/24/2023 Bitcoin                             0.00581846 Customer Transfer
 Confidential Customer Coin Transferee #7576    [Address on File]     5/22/2023 Bitcoin                             0.00186003 Customer Transfer
 Confidential Customer Coin Transferee #7576    [Address on File]     6/20/2023 Bitcoin                             0.00184544 Customer Transfer
 Confidential Customer Coin Transferee #7577    [Address on File]     5/20/2023 Bitcoin                             0.02808906 Customer Transfer
 Confidential Customer Coin Transferee #7578    [Address on File]     6/20/2023 Bitcoin                             0.00461715 Customer Transfer
 Confidential Customer Coin Transferee #7579    [Address on File]     6/19/2023 Bitcoin                             0.00494258 Customer Transfer
 Confidential Customer Coin Transferee #7580    [Address on File]     5/25/2023 Bitcoin                             0.03559223 Customer Transfer
 Confidential Customer Coin Transferee #7581    [Address on File]     6/14/2023 Bitcoin                             0.01302412 Customer Transfer
 Confidential Customer Coin Transferee #7581    [Address on File]      6/7/2023 Bitcoin                             0.01237949 Customer Transfer
 Confidential Customer Coin Transferee #7581    [Address on File]     5/22/2023 Bitcoin                             0.00662375 Customer Transfer
 Confidential Customer Coin Transferee #7581    [Address on File]     5/26/2023 Bitcoin                             0.00637948 Customer Transfer
 Confidential Customer Coin Transferee #7581    [Address on File]     5/26/2023 Bitcoin                              0.0036985 Customer Transfer
 Confidential Customer Coin Transferee #7581    [Address on File]     5/22/2023 Bitcoin                             0.00291096 Customer Transfer
 Confidential Customer Coin Transferee #7581    [Address on File]      6/6/2023 Bitcoin                             0.00221659 Customer Transfer
 Confidential Customer Coin Transferee #7581    [Address on File]     5/29/2023 Bitcoin                             0.00207634 Customer Transfer
 Confidential Customer Coin Transferee #7581    [Address on File]     6/15/2023 Bitcoin                             0.00127033 Customer Transfer
 Confidential Customer Coin Transferee #7581    [Address on File]     6/14/2023 Bitcoin                             0.00061384 Customer Transfer
 Confidential Customer Coin Transferee #7581    [Address on File]      6/7/2023 Bitcoin                             0.00036812 Customer Transfer
 Confidential Customer Coin Transferee #7582    [Address on File]     5/19/2023 Bitcoin                             0.01613817 Customer Transfer
 Confidential Customer Coin Transferee #7583    [Address on File]     6/20/2023 Bitcoin                             0.00053955 Customer Transfer
 Confidential Customer Coin Transferee #7584    [Address on File]     6/19/2023 Bitcoin                             0.00106869 Customer Transfer
 Confidential Customer Coin Transferee #7585    [Address on File]     6/20/2023 Bitcoin                              0.0000581 Customer Transfer
 Confidential Customer Coin Transferee #7586    [Address on File]     5/26/2023 Bitcoin                             0.01027625 Customer Transfer
 Confidential Customer Coin Transferee #7587    [Address on File]     6/20/2023 Bitcoin                             0.00034268 Customer Transfer
 Confidential Customer Coin Transferee #7588    [Address on File]     5/26/2023 Bitcoin                                   0.015 Customer Transfer
 Confidential Customer Coin Transferee #7589    [Address on File]     6/19/2023 Bitcoin                             0.00073927 Customer Transfer
 Confidential Customer Coin Transferee #7590    [Address on File]     5/20/2023 Bitcoin                             0.05399087 Customer Transfer
 Confidential Customer Coin Transferee #7591    [Address on File]     5/19/2023 Bitcoin                             0.00361314 Customer Transfer
 Confidential Customer Coin Transferee #7592    [Address on File]     6/19/2023 Bitcoin                             0.03050572 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7593    [Address on File]     6/19/2023 Bitcoin                              0.0398009 Customer Transfer
 Confidential Customer Coin Transferee #7594    [Address on File]     5/24/2023 Bitcoin                             0.01057203 Customer Transfer
 Confidential Customer Coin Transferee #7595    [Address on File]      6/5/2023 USDC Avalanche)                     241.709145 Customer Transfer
 Confidential Customer Coin Transferee #7595    [Address on File]      6/4/2023 USDC Avalanche)                      47.976011 Customer Transfer
 Confidential Customer Coin Transferee #7596    [Address on File]     6/19/2023 Bitcoin                             0.00057852 Customer Transfer
 Confidential Customer Coin Transferee #7597    [Address on File]     5/23/2023 Ether                                  0.046548 Customer Transfer
 Confidential Customer Coin Transferee #7598    [Address on File]     6/20/2023 Bitcoin                             0.00279318 Customer Transfer
 Confidential Customer Coin Transferee #7599    [Address on File]     6/20/2023 Bitcoin                             0.00005801 Customer Transfer
 Confidential Customer Coin Transferee #7600    [Address on File]     6/19/2023 Bitcoin                             0.00145082 Customer Transfer
 Confidential Customer Coin Transferee #7601    [Address on File]     5/22/2023 Bitcoin                             0.29082587 Customer Transfer
 Confidential Customer Coin Transferee #7601    [Address on File]     5/24/2023 Bitcoin                             0.11289166 Customer Transfer
 Confidential Customer Coin Transferee #7601    [Address on File]     5/22/2023 Bitcoin                             0.01894568 Customer Transfer
 Confidential Customer Coin Transferee #7602    [Address on File]     5/22/2023 Bitcoin                                 0.04811 Customer Transfer
 Confidential Customer Coin Transferee #7603    [Address on File]     6/19/2023 Bitcoin                             0.00222728 Customer Transfer
 Confidential Customer Coin Transferee #7604    [Address on File]     5/24/2023 Bitcoin                             0.00527056 Customer Transfer
 Confidential Customer Coin Transferee #7605    [Address on File]      6/5/2023 Bitcoin                             0.00040916 Customer Transfer
 Confidential Customer Coin Transferee #7605    [Address on File]     5/29/2023 Bitcoin                             0.00037169 Customer Transfer
 Confidential Customer Coin Transferee #7605    [Address on File]      6/8/2023 Bitcoin                              0.0001949 Customer Transfer
 Confidential Customer Coin Transferee #7605    [Address on File]     6/16/2023 Bitcoin                             0.00016019 Customer Transfer
 Confidential Customer Coin Transferee #7606    [Address on File]     6/16/2023 Bitcoin                             0.02120641 Customer Transfer
 Confidential Customer Coin Transferee #7607    [Address on File]     5/20/2023 Bitcoin                             0.00180204 Customer Transfer
 Confidential Customer Coin Transferee #7608    [Address on File]     6/19/2023 Bitcoin                              0.0042317 Customer Transfer
 Confidential Customer Coin Transferee #7609    [Address on File]     6/20/2023 Bitcoin                             0.00058974 Customer Transfer
 Confidential Customer Coin Transferee #7610    [Address on File]     5/20/2023 Bitcoin                             0.01341636 Customer Transfer
 Confidential Customer Coin Transferee #7611    [Address on File]     5/24/2023 Bitcoin                             0.00037299 Customer Transfer
 Confidential Customer Coin Transferee #7612    [Address on File]     6/20/2023 Bitcoin                             0.00368106 Customer Transfer
 Confidential Customer Coin Transferee #7613    [Address on File]     6/19/2023 Bitcoin                             0.07063803 Customer Transfer
 Confidential Customer Coin Transferee #7614    [Address on File]     5/23/2023 Bitcoin                             0.00651585 Customer Transfer
 Confidential Customer Coin Transferee #7614    [Address on File]     5/20/2023 Bitcoin                             0.00268449 Customer Transfer
 Confidential Customer Coin Transferee #7614    [Address on File]     5/18/2023 Bitcoin                             0.00173124 Customer Transfer
 Confidential Customer Coin Transferee #7615    [Address on File]     5/29/2023 Bitcoin                             0.10630733 Customer Transfer
 Confidential Customer Coin Transferee #7616    [Address on File]     5/28/2023 Bitcoin                             0.01894116 Customer Transfer
 Confidential Customer Coin Transferee #7616    [Address on File]     5/20/2023 Bitcoin                             0.01714434 Customer Transfer
 Confidential Customer Coin Transferee #7617    [Address on File]      6/7/2023 Bitcoin                             0.00140465 Customer Transfer
 Confidential Customer Coin Transferee #7617    [Address on File]     5/29/2023 Bitcoin                             0.00109632 Customer Transfer
 Confidential Customer Coin Transferee #7618    [Address on File]     6/20/2023 Bitcoin                             0.19493563 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7619    [Address on File]      6/7/2023 Bitcoin                              0.1847499 Customer Transfer
 Confidential Customer Coin Transferee #7619    [Address on File]     5/23/2023 Bitcoin                             0.00184818 Customer Transfer
 Confidential Customer Coin Transferee #7620    [Address on File]     5/23/2023 Bitcoin                              0.1835632 Customer Transfer
 Confidential Customer Coin Transferee #7621    [Address on File]     5/16/2023 Bitcoin                             0.00368198 Customer Transfer
 Confidential Customer Coin Transferee #7621    [Address on File]     5/29/2023 Bitcoin                             0.00356361 Customer Transfer
 Confidential Customer Coin Transferee #7622    [Address on File]     6/19/2023 Bitcoin                             0.00264644 Customer Transfer
 Confidential Customer Coin Transferee #7623    [Address on File]     6/19/2023 Bitcoin                             0.00714327 Customer Transfer
 Confidential Customer Coin Transferee #7624    [Address on File]     5/23/2023 Bitcoin                             0.00092999 Customer Transfer
 Confidential Customer Coin Transferee #7624    [Address on File]     5/16/2023 Bitcoin                             0.00084628 Customer Transfer
 Confidential Customer Coin Transferee #7625    [Address on File]     6/19/2023 Bitcoin                             0.00005816 Customer Transfer
 Confidential Customer Coin Transferee #7626    [Address on File]     5/26/2023 Bitcoin                             0.00073995 Customer Transfer
 Confidential Customer Coin Transferee #7626    [Address on File]     5/19/2023 Bitcoin                             0.00072071 Customer Transfer
 Confidential Customer Coin Transferee #7627    [Address on File]     6/20/2023 Bitcoin                             0.00005816 Customer Transfer
 Confidential Customer Coin Transferee #7628    [Address on File]     6/20/2023 Bitcoin                             0.00058834 Customer Transfer
 Confidential Customer Coin Transferee #7629    [Address on File]      6/6/2023 USDC Solana)                        996.481759 Customer Transfer
 Confidential Customer Coin Transferee #7629    [Address on File]     6/15/2023 USDC Solana)                        796.781609 Customer Transfer
 Confidential Customer Coin Transferee #7629    [Address on File]     5/25/2023 USDC Solana)                        497.281087 Customer Transfer
 Confidential Customer Coin Transferee #7629    [Address on File]     5/17/2023 USDC Solana)                        497.231384 Customer Transfer
 Confidential Customer Coin Transferee #7629    [Address on File]     5/27/2023 USDC Solana)                         497.18169 Customer Transfer
 Confidential Customer Coin Transferee #7630    [Address on File]     6/10/2023 Bitcoin                             0.00237899 Customer Transfer
 Confidential Customer Coin Transferee #7630    [Address on File]     5/20/2023 Bitcoin                             0.00142823 Customer Transfer
 Confidential Customer Coin Transferee #7630    [Address on File]     5/29/2023 Bitcoin                             0.00084771 Customer Transfer
 Confidential Customer Coin Transferee #7631    [Address on File]     5/18/2023 Bitcoin                             0.01732733 Customer Transfer
 Confidential Customer Coin Transferee #7632    [Address on File]     5/29/2023 Bitcoin                             0.01024856 Customer Transfer
 Confidential Customer Coin Transferee #7633    [Address on File]     6/20/2023 Bitcoin                             0.00205361 Customer Transfer
 Confidential Customer Coin Transferee #7634    [Address on File]     6/20/2023 Bitcoin                             0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #7635    [Address on File]     5/24/2023 Bitcoin                             0.00370051 Customer Transfer
 Confidential Customer Coin Transferee #7635    [Address on File]     6/12/2023 Bitcoin                             0.00186707 Customer Transfer
 Confidential Customer Coin Transferee #7636    [Address on File]     5/30/2023 Bitcoin                             0.02937187 Customer Transfer
 Confidential Customer Coin Transferee #7637    [Address on File]     5/31/2023 Bitcoin                             0.01037029 Customer Transfer
 Confidential Customer Coin Transferee #7638    [Address on File]     5/20/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #7639    [Address on File]     5/28/2023 Bitcoin                             0.00022237 Customer Transfer
 Confidential Customer Coin Transferee #7640    [Address on File]     5/17/2023 Bitcoin                             0.00706984 Customer Transfer
 Confidential Customer Coin Transferee #7641    [Address on File]     5/19/2023 Bitcoin                             0.03704185 Customer Transfer
 Confidential Customer Coin Transferee #7642    [Address on File]     5/24/2023 Bitcoin                             0.22638554 Customer Transfer
 Confidential Customer Coin Transferee #7642    [Address on File]     5/17/2023 Bitcoin                             0.22130491 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7642    [Address on File]     5/16/2023 Bitcoin                             0.22127842 Customer Transfer
 Confidential Customer Coin Transferee #7642    [Address on File]     5/23/2023 Bitcoin                             0.21936499 Customer Transfer
 Confidential Customer Coin Transferee #7642    [Address on File]     5/27/2023 Bitcoin                             0.07436666 Customer Transfer
 Confidential Customer Coin Transferee #7642    [Address on File]     5/19/2023 Bitcoin                             0.07386568 Customer Transfer
 Confidential Customer Coin Transferee #7642    [Address on File]     5/22/2023 Bitcoin                             0.03702305 Customer Transfer
 Confidential Customer Coin Transferee #7643    [Address on File]     5/17/2023 Bitcoin                             0.01107512 Customer Transfer
 Confidential Customer Coin Transferee #7644    [Address on File]     5/19/2023 Bitcoin                              0.0105521 Customer Transfer
 Confidential Customer Coin Transferee #7645    [Address on File]     6/19/2023 Bitcoin                             0.00057242 Customer Transfer
 Confidential Customer Coin Transferee #7646    [Address on File]     6/19/2023 Bitcoin                             0.00210596 Customer Transfer
 Confidential Customer Coin Transferee #7647    [Address on File]     5/25/2023 Bitcoin                             0.00073718 Customer Transfer
 Confidential Customer Coin Transferee #7647    [Address on File]     5/20/2023 Bitcoin                             0.00068939 Customer Transfer
 Confidential Customer Coin Transferee #7648    [Address on File]     6/19/2023 Bitcoin                             0.00074667 Customer Transfer
 Confidential Customer Coin Transferee #7649    [Address on File]     5/25/2023 Bitcoin                             0.02898859 Customer Transfer
 Confidential Customer Coin Transferee #7650    [Address on File]     5/30/2023 Bitcoin                             0.00178925 Customer Transfer
 Confidential Customer Coin Transferee #7650    [Address on File]     5/26/2023 Bitcoin                             0.00167903 Customer Transfer
 Confidential Customer Coin Transferee #7650    [Address on File]     5/26/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #7651    [Address on File]     5/27/2023 Bitcoin                             0.09312118 Customer Transfer
 Confidential Customer Coin Transferee #7651    [Address on File]     5/27/2023 Bitcoin                              0.0746128 Customer Transfer
 Confidential Customer Coin Transferee #7651    [Address on File]     5/19/2023 Bitcoin                              0.0221527 Customer Transfer
 Confidential Customer Coin Transferee #7652    [Address on File]     6/19/2023 Bitcoin                             0.00005921 Customer Transfer
 Confidential Customer Coin Transferee #7653    [Address on File]     6/19/2023 Bitcoin                             0.00031816 Customer Transfer

 Confidential Customer Coin Transferee #7654    [Address on File]     6/19/2023 Bitcoin                                0.00123201 Customer Transfer
 Confidential Customer Coin Transferee #7655    [Address on File]     6/20/2023 Bitcoin                                0.00183502 Customer Transfer

 Confidential Customer Coin Transferee #7656    [Address on File]     6/12/2023 Bitcoin                                   0.21303 Customer Transfer

 Confidential Customer Coin Transferee #7656    [Address on File]     6/13/2023 Bitcoin                                   0.21058 Customer Transfer

 Confidential Customer Coin Transferee #7656    [Address on File]      6/8/2023 Bitcoin                                    0.20895 Customer Transfer
 Confidential Customer Coin Transferee #7657    [Address on File]     5/24/2023 Bitcoin                                0.01083258 Customer Transfer
 Confidential Customer Coin Transferee #7657    [Address on File]     5/17/2023 Bitcoin                                0.01034568 Customer Transfer
 Confidential Customer Coin Transferee #7658    [Address on File]     6/19/2023 Bitcoin                                 0.0000583 Customer Transfer
 Confidential Customer Coin Transferee #7659    [Address on File]     5/30/2023 Bitcoin                                   0.028267 Customer Transfer
 Confidential Customer Coin Transferee #7660    [Address on File]     5/16/2023 Bitcoin                                 0.0266796 Customer Transfer
 Confidential Customer Coin Transferee #7660    [Address on File]     5/31/2023 Bitcoin                                0.01635172 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7660    [Address on File]     5/28/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #7661    [Address on File]     5/19/2023 Bitcoin                             0.00110845 Customer Transfer
 Confidential Customer Coin Transferee #7662    [Address on File]     5/28/2023 Bitcoin                             0.00414911 Customer Transfer
 Confidential Customer Coin Transferee #7663    [Address on File]     5/26/2023 Bitcoin                             0.00188018 Customer Transfer
 Confidential Customer Coin Transferee #7664    [Address on File]     5/26/2023 Bitcoin                             0.02505125 Customer Transfer
 Confidential Customer Coin Transferee #7664    [Address on File]     5/20/2023 Bitcoin                             0.02316081 Customer Transfer
 Confidential Customer Coin Transferee #7665    [Address on File]     5/25/2023 Bitcoin                             0.00819483 Customer Transfer
 Confidential Customer Coin Transferee #7665    [Address on File]     5/19/2023 Bitcoin                             0.00245131 Customer Transfer
 Confidential Customer Coin Transferee #7666    [Address on File]     5/16/2023 Bitcoin                             0.00888064 Customer Transfer
 Confidential Customer Coin Transferee #7667    [Address on File]     5/20/2023 Bitcoin                             0.01065052 Customer Transfer
 Confidential Customer Coin Transferee #7668    [Address on File]     6/20/2023 Bitcoin                             0.00140118 Customer Transfer
 Confidential Customer Coin Transferee #7669    [Address on File]     5/26/2023 Bitcoin                             0.02112228 Customer Transfer
 Confidential Customer Coin Transferee #7670    [Address on File]     6/20/2023 Bitcoin                             0.00004443 Customer Transfer
 Confidential Customer Coin Transferee #7671    [Address on File]     5/22/2023 Bitcoin                             0.00131267 Customer Transfer
 Confidential Customer Coin Transferee #7671    [Address on File]     5/29/2023 Bitcoin                             0.00130217 Customer Transfer
 Confidential Customer Coin Transferee #7672    [Address on File]     6/12/2023 Bitcoin                             0.00297659 Customer Transfer
 Confidential Customer Coin Transferee #7673    [Address on File]     6/19/2023 Bitcoin                             0.00362066 Customer Transfer
 Confidential Customer Coin Transferee #7674    [Address on File]     6/20/2023 Bitcoin                             0.01461407 Customer Transfer
 Confidential Customer Coin Transferee #7675    [Address on File]     6/20/2023 Bitcoin                             0.00056064 Customer Transfer
 Confidential Customer Coin Transferee #7676    [Address on File]     6/14/2023 Bitcoin                             0.00381607 Customer Transfer
 Confidential Customer Coin Transferee #7677    [Address on File]     5/18/2023 Bitcoin                             0.01056267 Customer Transfer
 Confidential Customer Coin Transferee #7678    [Address on File]     6/20/2023 Bitcoin                             0.00034892 Customer Transfer
 Confidential Customer Coin Transferee #7679    [Address on File]     5/26/2023 Bitcoin                             0.00111636 Customer Transfer
 Confidential Customer Coin Transferee #7680    [Address on File]     6/20/2023 Bitcoin                             0.00099691 Customer Transfer
 Confidential Customer Coin Transferee #7681    [Address on File]     6/13/2023 Bitcoin                             0.00183553 Customer Transfer
 Confidential Customer Coin Transferee #7681    [Address on File]     6/14/2023 Bitcoin                             0.00091211 Customer Transfer
 Confidential Customer Coin Transferee #7682    [Address on File]     5/18/2023 Bitcoin                             0.01066818 Customer Transfer
 Confidential Customer Coin Transferee #7683    [Address on File]     6/20/2023 Bitcoin                             0.00005981 Customer Transfer
 Confidential Customer Coin Transferee #7684    [Address on File]     5/24/2023 Bitcoin                             0.00740778 Customer Transfer
 Confidential Customer Coin Transferee #7685    [Address on File]      6/5/2023 USD Coin Stellar)                           4.68 Customer Transfer
 Confidential Customer Coin Transferee #7686    [Address on File]     5/17/2023 Bitcoin                             0.02209486 Customer Transfer
 Confidential Customer Coin Transferee #7686    [Address on File]     5/30/2023 Bitcoin                             0.02186318 Customer Transfer
 Confidential Customer Coin Transferee #7687    [Address on File]     5/26/2023 Bitcoin                                  0.0028 Customer Transfer
 Confidential Customer Coin Transferee #7687    [Address on File]     5/26/2023 Bitcoin                             0.00095321 Customer Transfer
 Confidential Customer Coin Transferee #7687    [Address on File]     5/25/2023 Bitcoin                             0.00093932 Customer Transfer
 Confidential Customer Coin Transferee #7688    [Address on File]     5/22/2023 Bitcoin                             0.00343592 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7689    [Address on File]     5/16/2023 Bitcoin                             0.01763045 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/28/2023 Bitcoin                             0.01787077 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/17/2023 Bitcoin                             0.00955138 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/17/2023 Bitcoin                             0.00723575 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/16/2023 Bitcoin                             0.00368417 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/28/2023 Bitcoin                             0.00364668 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/27/2023 Bitcoin                             0.00363969 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/16/2023 Bitcoin                             0.00323972 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/18/2023 Bitcoin                             0.00316039 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/16/2023 Bitcoin                             0.00309918 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/17/2023 Bitcoin                             0.00305167 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/16/2023 Bitcoin                             0.00290258 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/29/2023 Bitcoin                             0.00177778 Customer Transfer
 Confidential Customer Coin Transferee #7690    [Address on File]     5/26/2023 Bitcoin                             0.00096498 Customer Transfer
 Confidential Customer Coin Transferee #7691    [Address on File]     5/22/2023 Bitcoin                             0.00890652 Customer Transfer
 Confidential Customer Coin Transferee #7691    [Address on File]     5/17/2023 Bitcoin                             0.00555298 Customer Transfer
 Confidential Customer Coin Transferee #7691    [Address on File]     5/27/2023 Bitcoin                             0.00333337 Customer Transfer
 Confidential Customer Coin Transferee #7691    [Address on File]     5/29/2023 Bitcoin                             0.00293688 Customer Transfer

 Confidential Customer Coin Transferee #7692    [Address on File]     5/19/2023 Bitcoin                                0.04144818 Customer Transfer
 Confidential Customer Coin Transferee #7693    [Address on File]     5/25/2023 Bitcoin                                 0.0018932 Customer Transfer
 Confidential Customer Coin Transferee #7693    [Address on File]     5/23/2023 Bitcoin                                0.00181432 Customer Transfer
 Confidential Customer Coin Transferee #7694    [Address on File]     5/19/2023 Bitcoin                                0.00473451 Customer Transfer
 Confidential Customer Coin Transferee #7695    [Address on File]     5/24/2023 Bitcoin                                0.07408692 Customer Transfer
 Confidential Customer Coin Transferee #7695    [Address on File]     5/18/2023 Bitcoin                                0.03685392 Customer Transfer
 Confidential Customer Coin Transferee #7695    [Address on File]     5/24/2023 Bitcoin                                0.01859254 Customer Transfer
 Confidential Customer Coin Transferee #7696    [Address on File]     5/29/2023 Bitcoin                                 0.0371711 Customer Transfer
 Confidential Customer Coin Transferee #7697    [Address on File]     5/30/2023 Bitcoin                                   0.096993 Customer Transfer
 Confidential Customer Coin Transferee #7698    [Address on File]     5/25/2023 Bitcoin                                0.01557023 Customer Transfer
 Confidential Customer Coin Transferee #7699    [Address on File]     5/25/2023 Bitcoin                                0.00055722 Customer Transfer
 Confidential Customer Coin Transferee #7700    [Address on File]     5/21/2023 Bitcoin                                0.00261983 Customer Transfer
 Confidential Customer Coin Transferee #7701    [Address on File]     5/16/2023 Bitcoin                                0.02413087 Customer Transfer
 Confidential Customer Coin Transferee #7701    [Address on File]     5/29/2023 Bitcoin                                0.01606649 Customer Transfer
 Confidential Customer Coin Transferee #7701    [Address on File]     5/25/2023 Bitcoin                                0.01470767 Customer Transfer
 Confidential Customer Coin Transferee #7701    [Address on File]     5/19/2023 Bitcoin                                0.01106086 Customer Transfer
 Confidential Customer Coin Transferee #7702    [Address on File]     5/22/2023 Bitcoin                                0.00369886 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7703    [Address on File]     5/16/2023 Bitcoin                             0.00018362 Customer Transfer
 Confidential Customer Coin Transferee #7704    [Address on File]     5/18/2023 Bitcoin                              0.0054728 Customer Transfer
 Confidential Customer Coin Transferee #7704    [Address on File]     5/25/2023 Bitcoin                             0.00454504 Customer Transfer
 Confidential Customer Coin Transferee #7705    [Address on File]     5/27/2023 Bitcoin                                  0.5625 Customer Transfer
 Confidential Customer Coin Transferee #7705    [Address on File]     5/16/2023 Bitcoin                                    0.554 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/25/2023 Bitcoin                             0.00022733 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/24/2023 Bitcoin                             0.00022716 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/26/2023 Bitcoin                             0.00022488 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/17/2023 Bitcoin                             0.00022386 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/27/2023 Bitcoin                              0.0002233 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/21/2023 Bitcoin                              0.0002222 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/19/2023 Bitcoin                             0.00022169 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/16/2023 Bitcoin                             0.00022106 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/22/2023 Bitcoin                             0.00022105 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/20/2023 Bitcoin                             0.00022077 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/18/2023 Bitcoin                             0.00021963 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/28/2023 Bitcoin                             0.00021903 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/23/2023 Bitcoin                             0.00021854 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/29/2023 Bitcoin                              0.0002141 Customer Transfer
 Confidential Customer Coin Transferee #7706    [Address on File]     5/30/2023 Bitcoin                             0.00021357 Customer Transfer
 Confidential Customer Coin Transferee #7707    [Address on File]     5/24/2023 Bitcoin                              0.0379526 Customer Transfer
 Confidential Customer Coin Transferee #7708    [Address on File]     5/22/2023 Bitcoin                             0.00256464 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/28/2023 Bitcoin                              0.0013169 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/20/2023 Bitcoin                             0.00129601 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/21/2023 Bitcoin                             0.00128516 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/21/2023 Bitcoin                             0.00125014 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/31/2023 Bitcoin                             0.00123167 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/28/2023 Bitcoin                             0.00121003 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/27/2023 Bitcoin                             0.00115324 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/29/2023 Bitcoin                             0.00113977 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/22/2023 Bitcoin                                 0.00113 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/22/2023 Bitcoin                             0.00112349 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/30/2023 Bitcoin                             0.00109253 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/30/2023 Bitcoin                             0.00107294 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/28/2023 Bitcoin                                 0.00106 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/25/2023 Bitcoin                             0.00099743 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/28/2023 Bitcoin                             0.00091587 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/28/2023 Bitcoin                             0.00090148 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/30/2023 Bitcoin                             0.00075045 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/20/2023 Bitcoin                              0.0007474 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/29/2023 Bitcoin                             0.00070556 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/25/2023 Bitcoin                             0.00064855 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/17/2023 Bitcoin                             0.00055833 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/16/2023 Bitcoin                             0.00055328 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/27/2023 Bitcoin                             0.00040183 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/23/2023 Bitcoin                             0.00037933 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/16/2023 Bitcoin                             0.00033535 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/21/2023 Bitcoin                             0.00030824 Customer Transfer
 Confidential Customer Coin Transferee #7709    [Address on File]     5/29/2023 Bitcoin                             0.00025954 Customer Transfer
 Confidential Customer Coin Transferee #7710    [Address on File]     5/26/2023 Bitcoin                             0.00140816 Customer Transfer
 Confidential Customer Coin Transferee #7711    [Address on File]     5/17/2023 Bitcoin                              0.0388385 Customer Transfer
 Confidential Customer Coin Transferee #7712    [Address on File]     5/22/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #7713    [Address on File]     5/23/2023 Bitcoin                             0.03636804 Customer Transfer
 Confidential Customer Coin Transferee #7714    [Address on File]     5/21/2023 Bitcoin                              0.0009782 Customer Transfer
 Confidential Customer Coin Transferee #7714    [Address on File]     5/29/2023 Bitcoin                              0.0008065 Customer Transfer
 Confidential Customer Coin Transferee #7714    [Address on File]     5/25/2023 Bitcoin                                0.000712 Customer Transfer
 Confidential Customer Coin Transferee #7714    [Address on File]     5/17/2023 Bitcoin                              0.0006861 Customer Transfer
 Confidential Customer Coin Transferee #7714    [Address on File]      6/1/2023 Bitcoin                              0.0006525 Customer Transfer
 Confidential Customer Coin Transferee #7715    [Address on File]     5/19/2023 Bitcoin                             0.00003723 Customer Transfer
 Confidential Customer Coin Transferee #7716    [Address on File]     5/19/2023 Bitcoin                             0.01183208 Customer Transfer
 Confidential Customer Coin Transferee #7717    [Address on File]     5/29/2023 Bitcoin                             0.00364151 Customer Transfer
 Confidential Customer Coin Transferee #7718    [Address on File]     5/21/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #7719    [Address on File]     5/21/2023 Bitcoin                                     0.12 Customer Transfer
 Confidential Customer Coin Transferee #7719    [Address on File]     5/21/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #7719    [Address on File]     5/25/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #7720    [Address on File]     5/16/2023 Bitcoin                             0.02069056 Customer Transfer
 Confidential Customer Coin Transferee #7721    [Address on File]     5/21/2023 Bitcoin                             0.03672702 Customer Transfer
 Confidential Customer Coin Transferee #7721    [Address on File]     5/19/2023 Bitcoin                             0.02217624 Customer Transfer
 Confidential Customer Coin Transferee #7722    [Address on File]     6/20/2023 Bitcoin                             0.00010138 Customer Transfer
 Confidential Customer Coin Transferee #7723    [Address on File]     6/20/2023 Bitcoin                             0.00003306 Customer Transfer
 Confidential Customer Coin Transferee #7724    [Address on File]     5/18/2023 Bitcoin                             0.00406363 Customer Transfer
 Confidential Customer Coin Transferee #7724    [Address on File]     5/30/2023 Bitcoin                              0.0031305 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7724    [Address on File]     5/21/2023 Bitcoin                             0.00110886 Customer Transfer
 Confidential Customer Coin Transferee #7725    [Address on File]     5/31/2023 Bitcoin                             0.00360192 Customer Transfer
 Confidential Customer Coin Transferee #7726    [Address on File]     5/31/2023 Bitcoin                             0.00697991 Customer Transfer
 Confidential Customer Coin Transferee #7726    [Address on File]     5/24/2023 Bitcoin                             0.00379168 Customer Transfer
 Confidential Customer Coin Transferee #7726    [Address on File]     5/18/2023 Bitcoin                             0.00373611 Customer Transfer
 Confidential Customer Coin Transferee #7727    [Address on File]     5/21/2023 Bitcoin                              0.0010451 Customer Transfer
 Confidential Customer Coin Transferee #7727    [Address on File]     5/24/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #7728    [Address on File]     5/22/2023 Bitcoin                             0.00092882 Customer Transfer
 Confidential Customer Coin Transferee #7728    [Address on File]     5/29/2023 Bitcoin                             0.00088292 Customer Transfer
 Confidential Customer Coin Transferee #7729    [Address on File]     5/28/2023 Bitcoin                             0.02448225 Customer Transfer
 Confidential Customer Coin Transferee #7730    [Address on File]     5/26/2023 Bitcoin                             0.02534996 Customer Transfer
 Confidential Customer Coin Transferee #7730    [Address on File]     5/26/2023 Bitcoin                             0.01115724 Customer Transfer
 Confidential Customer Coin Transferee #7730    [Address on File]     5/31/2023 Bitcoin                             0.01107026 Customer Transfer
 Confidential Customer Coin Transferee #7730    [Address on File]     5/30/2023 Bitcoin                             0.01073676 Customer Transfer
 Confidential Customer Coin Transferee #7731    [Address on File]     5/21/2023 Bitcoin                              0.0207766 Customer Transfer
 Confidential Customer Coin Transferee #7732    [Address on File]     5/16/2023 Bitcoin                             0.01410045 Customer Transfer
 Confidential Customer Coin Transferee #7732    [Address on File]     5/16/2023 Bitcoin                             0.00705022 Customer Transfer
 Confidential Customer Coin Transferee #7733    [Address on File]     5/20/2023 Bitcoin                             0.05288615 Customer Transfer
 Confidential Customer Coin Transferee #7734    [Address on File]     5/25/2023 Bitcoin                             0.00171177 Customer Transfer
 Confidential Customer Coin Transferee #7734    [Address on File]     5/20/2023 Bitcoin                             0.00148032 Customer Transfer
 Confidential Customer Coin Transferee #7734    [Address on File]     5/19/2023 Bitcoin                             0.00147779 Customer Transfer
 Confidential Customer Coin Transferee #7734    [Address on File]     5/20/2023 Bitcoin                                0.001295 Customer Transfer
 Confidential Customer Coin Transferee #7734    [Address on File]     5/25/2023 Bitcoin                             0.00114334 Customer Transfer
 Confidential Customer Coin Transferee #7734    [Address on File]     5/25/2023 Bitcoin                             0.00113803 Customer Transfer
 Confidential Customer Coin Transferee #7734    [Address on File]     5/21/2023 Bitcoin                             0.00036683 Customer Transfer
 Confidential Customer Coin Transferee #7735    [Address on File]     5/24/2023 Bitcoin                              0.0036982 Customer Transfer
 Confidential Customer Coin Transferee #7736    [Address on File]     5/20/2023 Bitcoin                             0.00105832 Customer Transfer
 Confidential Customer Coin Transferee #7736    [Address on File]     5/20/2023 Bitcoin                             0.00034273 Customer Transfer
 Confidential Customer Coin Transferee #7737    [Address on File]     5/28/2023 Bitcoin                             0.00516657 Customer Transfer
 Confidential Customer Coin Transferee #7737    [Address on File]      6/3/2023 Bitcoin                              0.0010472 Customer Transfer
 Confidential Customer Coin Transferee #7738    [Address on File]     5/16/2023 Bitcoin                             0.01096863 Customer Transfer
 Confidential Customer Coin Transferee #7738    [Address on File]     5/24/2023 Bitcoin                             0.01057984 Customer Transfer
 Confidential Customer Coin Transferee #7739    [Address on File]     6/20/2023 Bitcoin                             0.00174069 Customer Transfer
 Confidential Customer Coin Transferee #7740    [Address on File]     5/22/2023 Bitcoin                             0.01035034 Customer Transfer
 Confidential Customer Coin Transferee #7741    [Address on File]     5/28/2023 Bitcoin                                   0.0055 Customer Transfer
 Confidential Customer Coin Transferee #7742    [Address on File]     6/20/2023 Bitcoin                             0.00687107 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7743    [Address on File]     6/20/2023 Bitcoin                             0.00115872 Customer Transfer
 Confidential Customer Coin Transferee #7744    [Address on File]      6/7/2023 Bitcoin                             0.00747566 Customer Transfer
 Confidential Customer Coin Transferee #7745    [Address on File]     6/14/2023 USDC Avalanche)                      33.703148 Customer Transfer
 Confidential Customer Coin Transferee #7745    [Address on File]     5/23/2023 USDC Avalanche)                        30.04798 Customer Transfer
 Confidential Customer Coin Transferee #7745    [Address on File]     5/19/2023 USDC Avalanche)                        7.516241 Customer Transfer
 Confidential Customer Coin Transferee #7745    [Address on File]     5/18/2023 USDC Avalanche)                        6.547381 Customer Transfer
 Confidential Customer Coin Transferee #7746    [Address on File]     6/20/2023 Bitcoin                             0.00044559 Customer Transfer
 Confidential Customer Coin Transferee #7747    [Address on File]     6/15/2023 Bitcoin                             0.00290501 Customer Transfer
 Confidential Customer Coin Transferee #7747    [Address on File]     5/22/2023 Bitcoin                             0.00018449 Customer Transfer
 Confidential Customer Coin Transferee #7748    [Address on File]     5/25/2023 Bitcoin                             0.00200691 Customer Transfer
 Confidential Customer Coin Transferee #7749    [Address on File]     6/20/2023 Bitcoin                             0.00297408 Customer Transfer
 Confidential Customer Coin Transferee #7750    [Address on File]     5/22/2023 Bitcoin                             0.02631614 Customer Transfer

 Confidential Customer Coin Transferee #7751    [Address on File]     5/22/2023 USDC Solana)                       1937.265093 Customer Transfer

 Confidential Customer Coin Transferee #7751    [Address on File]     6/15/2023 USDC Solana)                       1937.265093 Customer Transfer

 Confidential Customer Coin Transferee #7751    [Address on File]      6/1/2023 USDC Solana)                       1937.071464 Customer Transfer

 Confidential Customer Coin Transferee #7751    [Address on File]     6/21/2023 USDC Solana)                       1931.665503 Customer Transfer

 Confidential Customer Coin Transferee #7751    [Address on File]     5/18/2023 USDC Solana)                           1840.21989 Customer Transfer

 Confidential Customer Coin Transferee #7751    [Address on File]      6/5/2023 USDC Solana)                           1162.23888 Customer Transfer

 Confidential Customer Coin Transferee #7751    [Address on File]     6/19/2023 USDC Solana)                           965.822784 Customer Transfer

 Confidential Customer Coin Transferee #7751    [Address on File]      6/6/2023 USDC Solana)                           774.890043 Customer Transfer

 Confidential Customer Coin Transferee #7751    [Address on File]     5/18/2023 USDC Solana)                            96.821906 Customer Transfer

 Confidential Customer Coin Transferee #7752    [Address on File]     5/16/2023 USD Coin                                84.824552 Customer Transfer

 Confidential Customer Coin Transferee #7752    [Address on File]     5/16/2023 Tether USD                              46.242254 Customer Transfer

 Confidential Customer Coin Transferee #7752    [Address on File]     5/30/2023 USD Coin                                32.463768 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #7752    [Address on File]     5/16/2023 USDC Solana)                            30.980705 Customer Transfer
 Confidential Customer Coin Transferee #7753    [Address on File]     5/19/2023 Bitcoin                                0.07472286 Customer Transfer
 Confidential Customer Coin Transferee #7754    [Address on File]     5/26/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #7755    [Address on File]     5/23/2023 Bitcoin                                0.02109322 Customer Transfer
 Confidential Customer Coin Transferee #7756    [Address on File]     5/19/2023 Bitcoin                                0.00175951 Customer Transfer
 Confidential Customer Coin Transferee #7757    [Address on File]     6/20/2023 Bitcoin                                0.00004361 Customer Transfer
 Confidential Customer Coin Transferee #7758    [Address on File]      6/2/2023 Cosmos Hub ATOM)                         4.950309 Customer Transfer
 Confidential Customer Coin Transferee #7759    [Address on File]     5/23/2023 Bitcoin                                    0.02255 Customer Transfer
 Confidential Customer Coin Transferee #7760    [Address on File]     6/20/2023 Bitcoin                                0.00160109 Customer Transfer
 Confidential Customer Coin Transferee #7761    [Address on File]     6/19/2023 Bitcoin                                 0.0012425 Customer Transfer
 Confidential Customer Coin Transferee #7762    [Address on File]     6/20/2023 Bitcoin                                0.00077032 Customer Transfer
 Confidential Customer Coin Transferee #7763    [Address on File]     6/16/2023 Bitcoin                                0.00080903 Customer Transfer
 Confidential Customer Coin Transferee #7764    [Address on File]     6/20/2023 Bitcoin                                0.00005802 Customer Transfer
 Confidential Customer Coin Transferee #7765    [Address on File]     5/23/2023 Bitcoin                                0.01032834 Customer Transfer
 Confidential Customer Coin Transferee #7765    [Address on File]     5/23/2023 Bitcoin                                0.01001935 Customer Transfer
 Confidential Customer Coin Transferee #7766    [Address on File]     5/25/2023 Bitcoin                                0.00189801 Customer Transfer
 Confidential Customer Coin Transferee #7766    [Address on File]     5/18/2023 Bitcoin                                0.00171093 Customer Transfer
 Confidential Customer Coin Transferee #7767    [Address on File]     5/26/2023 Bitcoin                                1.21721389 Customer Transfer
 Confidential Customer Coin Transferee #7768    [Address on File]     6/19/2023 Bitcoin                                0.00011404 Customer Transfer
 Confidential Customer Coin Transferee #7769    [Address on File]     6/19/2023 Bitcoin                                0.00190708 Customer Transfer
 Confidential Customer Coin Transferee #7770    [Address on File]     6/20/2023 Bitcoin                                0.00017844 Customer Transfer
 Confidential Customer Coin Transferee #7771    [Address on File]     6/19/2023 Bitcoin                                0.00117433 Customer Transfer
 Confidential Customer Coin Transferee #7772    [Address on File]     6/20/2023 Bitcoin                                0.00287289 Customer Transfer
 Confidential Customer Coin Transferee #7773    [Address on File]     6/20/2023 Bitcoin                                0.00032373 Customer Transfer

 Confidential Customer Coin Transferee #7774    [Address on File]     5/20/2023 Bitcoin                                0.00182653 Customer Transfer
 Confidential Customer Coin Transferee #7775    [Address on File]     6/20/2023 Bitcoin                                0.00063889 Customer Transfer
 Confidential Customer Coin Transferee #7776    [Address on File]     6/19/2023 Bitcoin                                0.00520201 Customer Transfer
 Confidential Customer Coin Transferee #7777    [Address on File]     5/22/2023 Bitcoin                                0.00090461 Customer Transfer
 Confidential Customer Coin Transferee #7778    [Address on File]     6/20/2023 Bitcoin                                0.00289911 Customer Transfer
 Confidential Customer Coin Transferee #7779    [Address on File]     6/19/2023 Bitcoin                                0.00120439 Customer Transfer

 Confidential Customer Coin Transferee #7780    [Address on File]     5/18/2023 Bitcoin                                0.01065252 Customer Transfer
 Confidential Customer Coin Transferee #7781    [Address on File]     5/22/2023 Bitcoin                                0.46253638 Customer Transfer
 Confidential Customer Coin Transferee #7781    [Address on File]     5/29/2023 Bitcoin                                0.11177479 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7781    [Address on File]     6/19/2023 Bitcoin                             0.01902252 Customer Transfer
 Confidential Customer Coin Transferee #7782    [Address on File]     6/19/2023 Bitcoin                             0.00057914 Customer Transfer
 Confidential Customer Coin Transferee #7783    [Address on File]     6/19/2023 Bitcoin                             0.00529519 Customer Transfer
 Confidential Customer Coin Transferee #7784    [Address on File]     5/18/2023 Bitcoin                             0.06768835 Customer Transfer
 Confidential Customer Coin Transferee #7785    [Address on File]     6/18/2023 Bitcoin                             0.00095402 Customer Transfer
 Confidential Customer Coin Transferee #7786    [Address on File]     5/31/2023 Bitcoin                             0.00361861 Customer Transfer
 Confidential Customer Coin Transferee #7787    [Address on File]     6/19/2023 Bitcoin                             0.00005826 Customer Transfer
 Confidential Customer Coin Transferee #7788    [Address on File]     6/10/2023 Bitcoin                             0.16492288 Customer Transfer
 Confidential Customer Coin Transferee #7789    [Address on File]     5/19/2023 Bitcoin                             0.01152639 Customer Transfer
 Confidential Customer Coin Transferee #7790    [Address on File]     6/20/2023 Bitcoin                             0.00005865 Customer Transfer
 Confidential Customer Coin Transferee #7791    [Address on File]      6/9/2023 Bitcoin                             0.00781403 Customer Transfer
 Confidential Customer Coin Transferee #7791    [Address on File]     6/20/2023 Bitcoin                             0.00233566 Customer Transfer
 Confidential Customer Coin Transferee #7792    [Address on File]     5/26/2023 Bitcoin                             0.00372309 Customer Transfer
 Confidential Customer Coin Transferee #7792    [Address on File]     5/19/2023 Bitcoin                             0.00348254 Customer Transfer
 Confidential Customer Coin Transferee #7793    [Address on File]     6/20/2023 Bitcoin                             0.00005806 Customer Transfer
 Confidential Customer Coin Transferee #7794    [Address on File]     5/17/2023 Bitcoin                             0.01001019 Customer Transfer
 Confidential Customer Coin Transferee #7795    [Address on File]     5/16/2023 Bitcoin                             0.00127367 Customer Transfer
 Confidential Customer Coin Transferee #7795    [Address on File]     5/16/2023 Bitcoin                             0.00123568 Customer Transfer
 Confidential Customer Coin Transferee #7795    [Address on File]     5/16/2023 Bitcoin                             0.00123329 Customer Transfer
 Confidential Customer Coin Transferee #7795    [Address on File]     5/16/2023 Bitcoin                             0.00122263 Customer Transfer
 Confidential Customer Coin Transferee #7795    [Address on File]     5/16/2023 Bitcoin                             0.00118276 Customer Transfer
 Confidential Customer Coin Transferee #7796    [Address on File]     5/26/2023 Bitcoin                                    0.06 Customer Transfer
 Confidential Customer Coin Transferee #7796    [Address on File]     5/30/2023 Bitcoin                                    0.06 Customer Transfer
 Confidential Customer Coin Transferee #7796    [Address on File]     5/23/2023 Bitcoin                                   0.055 Customer Transfer
 Confidential Customer Coin Transferee #7796    [Address on File]     5/19/2023 Bitcoin                                    0.05 Customer Transfer
 Confidential Customer Coin Transferee #7796    [Address on File]     5/22/2023 Bitcoin                                    0.05 Customer Transfer
 Confidential Customer Coin Transferee #7796    [Address on File]     5/26/2023 Bitcoin                                    0.05 Customer Transfer
 Confidential Customer Coin Transferee #7796    [Address on File]     5/17/2023 Bitcoin                                   0.045 Customer Transfer
 Confidential Customer Coin Transferee #7796    [Address on File]     5/22/2023 Bitcoin                                   0.045 Customer Transfer
 Confidential Customer Coin Transferee #7796    [Address on File]     5/17/2023 Bitcoin                                   0.042 Customer Transfer
 Confidential Customer Coin Transferee #7796    [Address on File]     5/19/2023 Bitcoin                                   0.042 Customer Transfer
 Confidential Customer Coin Transferee #7797    [Address on File]     6/20/2023 Bitcoin                             0.00035035 Customer Transfer
 Confidential Customer Coin Transferee #7798    [Address on File]     6/20/2023 Bitcoin                             0.01385948 Customer Transfer
 Confidential Customer Coin Transferee #7799    [Address on File]     6/20/2023 Bitcoin                             0.00078064 Customer Transfer
 Confidential Customer Coin Transferee #7800    [Address on File]     5/21/2023 Bitcoin                             0.00592249 Customer Transfer
 Confidential Customer Coin Transferee #7801    [Address on File]     6/19/2023 Bitcoin                             0.00138692 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7802    [Address on File]     6/19/2023 Bitcoin                             0.00289215 Customer Transfer
 Confidential Customer Coin Transferee #7803    [Address on File]     5/18/2023 Bitcoin                             0.00159147 Customer Transfer
 Confidential Customer Coin Transferee #7803    [Address on File]     5/24/2023 Bitcoin                             0.00054126 Customer Transfer
 Confidential Customer Coin Transferee #7804    [Address on File]     6/12/2023 Bitcoin                             0.00016589 Customer Transfer
 Confidential Customer Coin Transferee #7805    [Address on File]     5/18/2023 Bitcoin                              0.0051895 Customer Transfer
 Confidential Customer Coin Transferee #7805    [Address on File]     5/25/2023 Bitcoin                             0.00188977 Customer Transfer
 Confidential Customer Coin Transferee #7805    [Address on File]     5/30/2023 Bitcoin                             0.00185465 Customer Transfer
 Confidential Customer Coin Transferee #7805    [Address on File]     5/21/2023 Bitcoin                             0.00179507 Customer Transfer
 Confidential Customer Coin Transferee #7806    [Address on File]     6/19/2023 Bitcoin                             0.00034823 Customer Transfer
 Confidential Customer Coin Transferee #7807    [Address on File]     5/23/2023 Bitcoin                             0.00710277 Customer Transfer
 Confidential Customer Coin Transferee #7808    [Address on File]     6/20/2023 Bitcoin                             0.00633228 Customer Transfer
 Confidential Customer Coin Transferee #7809    [Address on File]     5/17/2023 Bitcoin                             0.00479538 Customer Transfer
 Confidential Customer Coin Transferee #7809    [Address on File]     5/24/2023 Bitcoin                             0.00217979 Customer Transfer
 Confidential Customer Coin Transferee #7810    [Address on File]     5/21/2023 Bitcoin                             0.01021636 Customer Transfer
 Confidential Customer Coin Transferee #7810    [Address on File]     5/21/2023 Bitcoin                             0.01001705 Customer Transfer
 Confidential Customer Coin Transferee #7811    [Address on File]     5/22/2023 Bitcoin                             0.00110549 Customer Transfer
 Confidential Customer Coin Transferee #7812    [Address on File]     5/30/2023 Bitcoin                             0.00388611 Customer Transfer
 Confidential Customer Coin Transferee #7812    [Address on File]     5/23/2023 Bitcoin                             0.00378979 Customer Transfer
 Confidential Customer Coin Transferee #7812    [Address on File]     5/16/2023 Bitcoin                             0.00363626 Customer Transfer
 Confidential Customer Coin Transferee #7813    [Address on File]     6/20/2023 Bitcoin                             0.00033965 Customer Transfer
 Confidential Customer Coin Transferee #7814    [Address on File]     6/20/2023 Bitcoin                             0.00034252 Customer Transfer
 Confidential Customer Coin Transferee #7815    [Address on File]     5/31/2023 Bitcoin                             0.01008191 Customer Transfer
 Confidential Customer Coin Transferee #7816    [Address on File]     5/25/2023 Bitcoin                             1.13034211 Customer Transfer
 Confidential Customer Coin Transferee #7816    [Address on File]     5/20/2023 Bitcoin                             1.07609471 Customer Transfer
 Confidential Customer Coin Transferee #7817    [Address on File]     6/20/2023 Bitcoin                             0.00694421 Customer Transfer
 Confidential Customer Coin Transferee #7818    [Address on File]     5/17/2023 Bitcoin                             0.01688273 Customer Transfer
 Confidential Customer Coin Transferee #7819    [Address on File]     6/15/2023 Bitcoin                             0.00054747 Customer Transfer
 Confidential Customer Coin Transferee #7819    [Address on File]      6/5/2023 Bitcoin                             0.00028304 Customer Transfer
 Confidential Customer Coin Transferee #7820    [Address on File]     5/21/2023 Bitcoin                              0.0017961 Customer Transfer
 Confidential Customer Coin Transferee #7821    [Address on File]      6/2/2023 Bitcoin                             0.00182966 Customer Transfer
 Confidential Customer Coin Transferee #7821    [Address on File]      6/7/2023 Bitcoin                             0.00073632 Customer Transfer
 Confidential Customer Coin Transferee #7821    [Address on File]     6/14/2023 Bitcoin                             0.00038304 Customer Transfer
 Confidential Customer Coin Transferee #7821    [Address on File]     5/26/2023 Bitcoin                             0.00037497 Customer Transfer

 Confidential Customer Coin Transferee #7822    [Address on File]     6/19/2023 Ether                                    0.359 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count           or Transfer

 Confidential Customer Coin Transferee #7822    [Address on File]     6/19/2023 Ether                                  0.10017804 Customer Transfer
 Confidential Customer Coin Transferee #7823    [Address on File]     5/21/2023 Bitcoin                                0.05082921 Customer Transfer
 Confidential Customer Coin Transferee #7824    [Address on File]     6/19/2023 Bitcoin                                0.00005816 Customer Transfer
 Confidential Customer Coin Transferee #7825    [Address on File]     5/20/2023 Bitcoin                                 0.0106377 Customer Transfer
 Confidential Customer Coin Transferee #7826    [Address on File]     5/21/2023 Bitcoin                                0.00089294 Customer Transfer
 Confidential Customer Coin Transferee #7827    [Address on File]     5/29/2023 Bitcoin                                 0.0101395 Customer Transfer
 Confidential Customer Coin Transferee #7828    [Address on File]     6/19/2023 Bitcoin                                0.00082146 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]      6/6/2023 USDC Solana)                           341.913234 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     5/31/2023 Solana                                  59.967772 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     6/20/2023 USDC Solana)                            52.740135 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]      6/4/2023 USDC Solana)                            41.629185 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]      6/4/2023 Solana                                   40.24585 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]      6/6/2023 USDC Solana)                                 29.998 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     6/17/2023 Solana                                  16.627848 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     5/26/2023 Solana                                  16.470648 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     5/18/2023 Solana                                  14.359864 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]      6/1/2023 Solana                                  12.816738 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     6/14/2023 Solana                                  12.003441 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     5/24/2023 Solana                                  11.608129 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     5/31/2023 Solana                                  10.776971 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]      6/7/2023 Solana                                   9.963496 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     5/20/2023 Solana                                   8.491891 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     6/15/2023 Solana                                   6.581521 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     6/18/2023 Solana                                   4.311746 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     5/16/2023 Solana                                   3.508662 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]      6/1/2023 Solana                                   3.495206 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]     6/18/2023 Solana                                   3.050922 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]      6/9/2023 Bitcoin                                   0.001467 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]      6/9/2023 Bitcoin                                   0.001405 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]      6/9/2023 Bitcoin                                   0.001381 Customer Transfer
 Confidential Customer Coin Transferee #7829    [Address on File]      6/7/2023 Bitcoin                                   0.001365 Customer Transfer
 Confidential Customer Coin Transferee #7830    [Address on File]     5/23/2023 Bitcoin                                0.00362071 Customer Transfer
 Confidential Customer Coin Transferee #7831    [Address on File]      6/2/2023 Bitcoin                                 0.0003692 Customer Transfer
 Confidential Customer Coin Transferee #7831    [Address on File]     6/20/2023 Bitcoin                                0.00031067 Customer Transfer
 Confidential Customer Coin Transferee #7832    [Address on File]     6/20/2023 Bitcoin                                0.00008818 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7833    [Address on File]     5/21/2023 Bitcoin                              0.0374653 Customer Transfer
 Confidential Customer Coin Transferee #7833    [Address on File]     5/20/2023 Bitcoin                             0.00748866 Customer Transfer
 Confidential Customer Coin Transferee #7833    [Address on File]     5/26/2023 Bitcoin                              0.0037647 Customer Transfer
 Confidential Customer Coin Transferee #7833    [Address on File]     5/19/2023 Bitcoin                             0.00302707 Customer Transfer
 Confidential Customer Coin Transferee #7833    [Address on File]     5/25/2023 Bitcoin                             0.00216336 Customer Transfer
 Confidential Customer Coin Transferee #7833    [Address on File]     5/28/2023 Bitcoin                             0.00213576 Customer Transfer
 Confidential Customer Coin Transferee #7833    [Address on File]     5/24/2023 Bitcoin                             0.00203306 Customer Transfer
 Confidential Customer Coin Transferee #7833    [Address on File]     5/25/2023 Bitcoin                             0.00189475 Customer Transfer
 Confidential Customer Coin Transferee #7833    [Address on File]     5/30/2023 Bitcoin                             0.00178877 Customer Transfer
 Confidential Customer Coin Transferee #7834    [Address on File]     6/19/2023 Bitcoin                             0.00005826 Customer Transfer
 Confidential Customer Coin Transferee #7835    [Address on File]     6/19/2023 Bitcoin                             0.00065735 Customer Transfer
 Confidential Customer Coin Transferee #7836    [Address on File]     6/19/2023 Bitcoin                             0.00243396 Customer Transfer
 Confidential Customer Coin Transferee #7837    [Address on File]     6/20/2023 Bitcoin                             0.00182622 Customer Transfer
 Confidential Customer Coin Transferee #7838    [Address on File]     5/17/2023 Bitcoin                             0.02629489 Customer Transfer
 Confidential Customer Coin Transferee #7839    [Address on File]     6/20/2023 Bitcoin                             0.00122345 Customer Transfer
 Confidential Customer Coin Transferee #7840    [Address on File]     5/26/2023 Bitcoin                              0.0102231 Customer Transfer
 Confidential Customer Coin Transferee #7841    [Address on File]     6/19/2023 Bitcoin                             0.00004774 Customer Transfer
 Confidential Customer Coin Transferee #7842    [Address on File]     6/20/2023 Bitcoin                             0.00140593 Customer Transfer
 Confidential Customer Coin Transferee #7843    [Address on File]     5/24/2023 Bitcoin                             0.04260672 Customer Transfer
 Confidential Customer Coin Transferee #7844    [Address on File]     5/21/2023 Bitcoin                             0.00091692 Customer Transfer
 Confidential Customer Coin Transferee #7844    [Address on File]     5/30/2023 Bitcoin                             0.00091602 Customer Transfer
 Confidential Customer Coin Transferee #7845    [Address on File]     5/26/2023 Bitcoin                             0.00545482 Customer Transfer
 Confidential Customer Coin Transferee #7846    [Address on File]     5/27/2023 Bitcoin                             0.00137816 Customer Transfer
 Confidential Customer Coin Transferee #7846    [Address on File]     5/27/2023 Bitcoin                             0.00074466 Customer Transfer
 Confidential Customer Coin Transferee #7846    [Address on File]     5/27/2023 Bitcoin                             0.00072659 Customer Transfer
 Confidential Customer Coin Transferee #7846    [Address on File]     5/28/2023 Bitcoin                             0.00068175 Customer Transfer
 Confidential Customer Coin Transferee #7847    [Address on File]     5/24/2023 Bitcoin                             0.00079899 Customer Transfer
 Confidential Customer Coin Transferee #7847    [Address on File]     5/19/2023 Bitcoin                             0.00023417 Customer Transfer
 Confidential Customer Coin Transferee #7848    [Address on File]     5/25/2023 Bitcoin                             0.00188686 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/22/2023 Bitcoin                              0.0009336 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/21/2023 Bitcoin                             0.00089078 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/31/2023 Bitcoin                             0.00077198 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/23/2023 Bitcoin                             0.00073072 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/24/2023 Bitcoin                              0.0007195 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/22/2023 Bitcoin                             0.00070523 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/18/2023 Bitcoin                             0.00069016 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/18/2023 Bitcoin                                0.000689 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/29/2023 Bitcoin                             0.00068461 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/29/2023 Bitcoin                             0.00068217 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/31/2023 Bitcoin                             0.00067998 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/30/2023 Bitcoin                                0.000679 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/23/2023 Bitcoin                             0.00065936 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/23/2023 Bitcoin                             0.00065889 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/29/2023 Bitcoin                             0.00065604 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/16/2023 Bitcoin                             0.00060639 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/25/2023 Bitcoin                             0.00059925 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/20/2023 Bitcoin                             0.00055398 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/18/2023 Bitcoin                             0.00054505 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/20/2023 Bitcoin                             0.00052862 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/30/2023 Bitcoin                             0.00051969 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/20/2023 Bitcoin                             0.00051819 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/20/2023 Bitcoin                             0.00051601 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/23/2023 Bitcoin                             0.00051223 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/29/2023 Bitcoin                             0.00050445 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/16/2023 Bitcoin                             0.00047369 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/20/2023 Bitcoin                             0.00044296 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/20/2023 Bitcoin                             0.00037004 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/27/2023 Bitcoin                              0.0003579 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/27/2023 Bitcoin                             0.00035636 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/19/2023 Bitcoin                             0.00035497 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/27/2023 Bitcoin                             0.00035414 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/29/2023 Bitcoin                             0.00033549 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/31/2023 Bitcoin                             0.00032948 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/27/2023 Bitcoin                              0.0003208 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/31/2023 Bitcoin                             0.00029539 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/25/2023 Bitcoin                             0.00025458 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/29/2023 Bitcoin                              0.0001832 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/31/2023 Bitcoin                             0.00017384 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/25/2023 Bitcoin                             0.00017036 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/30/2023 Bitcoin                              0.0001646 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/16/2023 Bitcoin                             0.00016174 Customer Transfer
 Confidential Customer Coin Transferee #7849    [Address on File]     5/22/2023 Bitcoin                             0.00011956 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7850    [Address on File]     5/19/2023 Bitcoin                             0.00365202 Customer Transfer
 Confidential Customer Coin Transferee #7851    [Address on File]     6/20/2023 Bitcoin                              0.0008917 Customer Transfer
 Confidential Customer Coin Transferee #7852    [Address on File]     5/23/2023 Bitcoin                             0.00276956 Customer Transfer
 Confidential Customer Coin Transferee #7852    [Address on File]     5/26/2023 Bitcoin                             0.00093966 Customer Transfer
 Confidential Customer Coin Transferee #7853    [Address on File]     5/29/2023 Bitcoin                                  0.0005 Customer Transfer

 Confidential Customer Coin Transferee #7854    [Address on File]     5/31/2023 Bitcoin                                0.04774251 Customer Transfer

 Confidential Customer Coin Transferee #7854    [Address on File]     5/30/2023 Bitcoin                                0.00717924 Customer Transfer

 Confidential Customer Coin Transferee #7854    [Address on File]     5/31/2023 Bitcoin                                0.00358617 Customer Transfer
 Confidential Customer Coin Transferee #7855    [Address on File]     5/17/2023 Bitcoin                                0.00011177 Customer Transfer
 Confidential Customer Coin Transferee #7856    [Address on File]     5/22/2023 Bitcoin                                0.03477873 Customer Transfer
 Confidential Customer Coin Transferee #7856    [Address on File]     5/19/2023 Bitcoin                                0.01009199 Customer Transfer
 Confidential Customer Coin Transferee #7856    [Address on File]     5/24/2023 Bitcoin                                0.00581354 Customer Transfer
 Confidential Customer Coin Transferee #7857    [Address on File]     5/22/2023 Bitcoin                                0.04346407 Customer Transfer
 Confidential Customer Coin Transferee #7858    [Address on File]     5/31/2023 Bitcoin                                0.00179411 Customer Transfer
 Confidential Customer Coin Transferee #7858    [Address on File]     5/31/2023 Bitcoin                                0.00178873 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/19/2023 Bitcoin                                   0.007429 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/26/2023 Bitcoin                                0.00209387 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/27/2023 Bitcoin                                0.00187327 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/27/2023 Bitcoin                                   0.001865 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/19/2023 Bitcoin                                0.00180491 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/26/2023 Bitcoin                                    0.00151 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/26/2023 Bitcoin                                 0.0011324 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/29/2023 Bitcoin                                0.00108249 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/27/2023 Bitcoin                                      0.0008 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/27/2023 Bitcoin                                    0.00078 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/27/2023 Bitcoin                                0.00036116 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/19/2023 Bitcoin                                0.00033311 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/26/2023 Bitcoin                                   0.000299 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/29/2023 Bitcoin                                0.00026402 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/27/2023 Bitcoin                                0.00011468 Customer Transfer
 Confidential Customer Coin Transferee #7859    [Address on File]     5/28/2023 Bitcoin                                0.00003654 Customer Transfer
 Confidential Customer Coin Transferee #7860    [Address on File]     5/22/2023 Bitcoin                                 0.1109268 Customer Transfer
 Confidential Customer Coin Transferee #7861    [Address on File]     5/26/2023 Bitcoin                                0.01084909 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7862    [Address on File]     6/19/2023 Bitcoin                             0.00057906 Customer Transfer
 Confidential Customer Coin Transferee #7863    [Address on File]     5/25/2023 Bitcoin                             0.01211239 Customer Transfer
 Confidential Customer Coin Transferee #7864    [Address on File]     6/19/2023 Bitcoin                             0.00103622 Customer Transfer
 Confidential Customer Coin Transferee #7865    [Address on File]     6/20/2023 Bitcoin                             0.00267305 Customer Transfer
 Confidential Customer Coin Transferee #7866    [Address on File]     5/24/2023 USDC Avalanche)                     496.900309 Customer Transfer
 Confidential Customer Coin Transferee #7866    [Address on File]      6/5/2023 USDC Avalanche)                     496.811594 Customer Transfer
 Confidential Customer Coin Transferee #7866    [Address on File]     5/27/2023 USDC Avalanche)                     496.712301 Customer Transfer
 Confidential Customer Coin Transferee #7866    [Address on File]     5/20/2023 USDC Avalanche)                     197.261369 Customer Transfer
 Confidential Customer Coin Transferee #7866    [Address on File]     6/12/2023 USDC Avalanche)                      97.471011 Customer Transfer
 Confidential Customer Coin Transferee #7867    [Address on File]      6/5/2023 Bitcoin                              0.0358842 Customer Transfer
 Confidential Customer Coin Transferee #7867    [Address on File]     6/13/2023 Bitcoin                             0.01450122 Customer Transfer
 Confidential Customer Coin Transferee #7867    [Address on File]     6/19/2023 Bitcoin                             0.00540335 Customer Transfer
 Confidential Customer Coin Transferee #7868    [Address on File]     6/20/2023 Bitcoin                             0.00070146 Customer Transfer
 Confidential Customer Coin Transferee #7869    [Address on File]     5/21/2023 Bitcoin                             0.00037149 Customer Transfer
 Confidential Customer Coin Transferee #7870    [Address on File]      6/4/2023 Bitcoin                             0.00143102 Customer Transfer
 Confidential Customer Coin Transferee #7871    [Address on File]     5/19/2023 Litecoin                                   2.39 Customer Transfer
 Confidential Customer Coin Transferee #7871    [Address on File]     5/30/2023 Litecoin                                   1.65 Customer Transfer
 Confidential Customer Coin Transferee #7871    [Address on File]     5/27/2023 Litecoin                                   1.18 Customer Transfer
 Confidential Customer Coin Transferee #7871    [Address on File]     5/19/2023 Litecoin                            0.31127129 Customer Transfer
 Confidential Customer Coin Transferee #7872    [Address on File]      6/7/2023 Bitcoin                              0.0176092 Customer Transfer
 Confidential Customer Coin Transferee #7872    [Address on File]     6/15/2023 Bitcoin                             0.00196231 Customer Transfer
 Confidential Customer Coin Transferee #7872    [Address on File]     6/20/2023 Bitcoin                             0.00003918 Customer Transfer
 Confidential Customer Coin Transferee #7873    [Address on File]     6/20/2023 Bitcoin                             0.00391224 Customer Transfer
 Confidential Customer Coin Transferee #7874    [Address on File]     5/26/2023 Bitcoin                             0.01074546 Customer Transfer
 Confidential Customer Coin Transferee #7875    [Address on File]     6/20/2023 Bitcoin                             0.00009538 Customer Transfer
 Confidential Customer Coin Transferee #7876    [Address on File]     6/20/2023 Bitcoin                             0.00290217 Customer Transfer
 Confidential Customer Coin Transferee #7877    [Address on File]     6/20/2023 Bitcoin                              0.0000581 Customer Transfer
 Confidential Customer Coin Transferee #7878    [Address on File]     5/23/2023 Bitcoin                             0.00140128 Customer Transfer
 Confidential Customer Coin Transferee #7878    [Address on File]     6/19/2023 Bitcoin                             0.00090511 Customer Transfer
 Confidential Customer Coin Transferee #7879    [Address on File]     5/29/2023 Bitcoin                             0.01075621 Customer Transfer
 Confidential Customer Coin Transferee #7879    [Address on File]     5/29/2023 Bitcoin                              0.0101194 Customer Transfer
 Confidential Customer Coin Transferee #7880    [Address on File]     6/19/2023 Bitcoin                              0.0030088 Customer Transfer
 Confidential Customer Coin Transferee #7881    [Address on File]     6/20/2023 Bitcoin                             0.00057975 Customer Transfer
 Confidential Customer Coin Transferee #7882    [Address on File]     6/20/2023 Bitcoin                              0.0042089 Customer Transfer
 Confidential Customer Coin Transferee #7883    [Address on File]     6/19/2023 Bitcoin                             0.00905844 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #7884    [Address on File]     6/14/2023 Bitcoin                                   0.021269 Customer Transfer
 Confidential Customer Coin Transferee #7885    [Address on File]     5/16/2023 Bitcoin                                0.01077089 Customer Transfer
 Confidential Customer Coin Transferee #7886    [Address on File]     6/19/2023 Bitcoin                                0.00070538 Customer Transfer
 Confidential Customer Coin Transferee #7887    [Address on File]     6/18/2023 Bitcoin                                0.00003342 Customer Transfer
 Confidential Customer Coin Transferee #7888    [Address on File]     6/19/2023 Bitcoin                                0.00005196 Customer Transfer
 Confidential Customer Coin Transferee #7889    [Address on File]     6/20/2023 Bitcoin                                0.00006982 Customer Transfer
 Confidential Customer Coin Transferee #7890    [Address on File]     6/20/2023 Bitcoin                                0.01175757 Customer Transfer
 Confidential Customer Coin Transferee #7891    [Address on File]     5/19/2023 Bitcoin                                0.01057766 Customer Transfer
 Confidential Customer Coin Transferee #7892    [Address on File]     5/26/2023 Bitcoin                                0.01005655 Customer Transfer
 Confidential Customer Coin Transferee #7893    [Address on File]     5/22/2023 Bitcoin                                0.00528173 Customer Transfer
 Confidential Customer Coin Transferee #7894    [Address on File]     5/22/2023 Bitcoin                                0.00147941 Customer Transfer
 Confidential Customer Coin Transferee #7894    [Address on File]     5/23/2023 Bitcoin                                0.00146214 Customer Transfer
 Confidential Customer Coin Transferee #7894    [Address on File]     5/21/2023 Bitcoin                                0.00133167 Customer Transfer
 Confidential Customer Coin Transferee #7894    [Address on File]     5/27/2023 Bitcoin                                0.00111303 Customer Transfer
 Confidential Customer Coin Transferee #7894    [Address on File]     5/16/2023 Bitcoin                                0.00092058 Customer Transfer
 Confidential Customer Coin Transferee #7894    [Address on File]     5/25/2023 Bitcoin                                 0.0007498 Customer Transfer
 Confidential Customer Coin Transferee #7894    [Address on File]     5/22/2023 Bitcoin                                0.00055555 Customer Transfer
 Confidential Customer Coin Transferee #7894    [Address on File]     5/31/2023 Bitcoin                                0.00036926 Customer Transfer
 Confidential Customer Coin Transferee #7894    [Address on File]     5/24/2023 Bitcoin                                0.00036528 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/19/2023 Bitcoin                                0.02149929 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/30/2023 Bitcoin                                 0.0149537 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/27/2023 Bitcoin                                0.01490939 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/20/2023 Bitcoin                                0.01477992 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/31/2023 Bitcoin                                0.01468934 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/31/2023 Bitcoin                                0.01468259 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/28/2023 Bitcoin                                0.01463582 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/28/2023 Bitcoin                                0.01463502 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/24/2023 Bitcoin                                0.00951556 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/24/2023 Bitcoin                                0.00761386 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/25/2023 Bitcoin                                0.00754035 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/26/2023 Bitcoin                                0.00752357 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/22/2023 Bitcoin                                0.00741856 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/20/2023 Bitcoin                                 0.0073873 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/31/2023 Bitcoin                                0.00734058 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/31/2023 Bitcoin                                0.00733678 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/23/2023 Bitcoin                             0.00511563 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/19/2023 Bitcoin                             0.00444701 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/24/2023 Bitcoin                              0.0038061 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/25/2023 Bitcoin                             0.00378969 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/25/2023 Bitcoin                             0.00375771 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/22/2023 Bitcoin                             0.00371568 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/17/2023 Bitcoin                             0.00371305 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/19/2023 Bitcoin                             0.00370605 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/22/2023 Bitcoin                              0.0037001 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/19/2023 Bitcoin                             0.00369086 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                              0.0036867 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/31/2023 Bitcoin                             0.00367346 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/31/2023 Bitcoin                              0.0036723 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/20/2023 Bitcoin                             0.00366417 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/28/2023 Bitcoin                             0.00365891 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/29/2023 Bitcoin                             0.00359621 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/29/2023 Bitcoin                             0.00355928 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/17/2023 Bitcoin                             0.00298179 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/22/2023 Bitcoin                             0.00296793 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/20/2023 Bitcoin                             0.00295638 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00295133 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                              0.0029496 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00294319 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00293999 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/31/2023 Bitcoin                             0.00293905 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/30/2023 Bitcoin                              0.0028488 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/29/2023 Bitcoin                             0.00282319 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/24/2023 Bitcoin                             0.00228594 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/24/2023 Bitcoin                             0.00228513 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/24/2023 Bitcoin                             0.00227231 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/22/2023 Bitcoin                             0.00222881 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/19/2023 Bitcoin                             0.00222294 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/22/2023 Bitcoin                             0.00222165 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/19/2023 Bitcoin                             0.00221799 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/20/2023 Bitcoin                             0.00221693 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00221401 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00221298 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00221216 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00221198 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/31/2023 Bitcoin                             0.00220304 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00220277 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/28/2023 Bitcoin                             0.00219547 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/29/2023 Bitcoin                             0.00211704 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/18/2023 Bitcoin                             0.00167189 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/24/2023 Bitcoin                              0.0015244 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/26/2023 Bitcoin                             0.00150522 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/26/2023 Bitcoin                             0.00150229 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/17/2023 Bitcoin                             0.00149251 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/22/2023 Bitcoin                              0.0014862 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/19/2023 Bitcoin                             0.00148207 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/19/2023 Bitcoin                             0.00147809 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/20/2023 Bitcoin                             0.00147797 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/29/2023 Bitcoin                             0.00147596 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                              0.0014737 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/21/2023 Bitcoin                             0.00147227 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00146989 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/31/2023 Bitcoin                             0.00146845 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/28/2023 Bitcoin                             0.00146386 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/23/2023 Bitcoin                             0.00146148 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/29/2023 Bitcoin                             0.00143096 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/29/2023 Bitcoin                             0.00142604 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/29/2023 Bitcoin                             0.00141161 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/24/2023 Bitcoin                             0.00076082 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/25/2023 Bitcoin                              0.0007586 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/25/2023 Bitcoin                             0.00075739 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/25/2023 Bitcoin                             0.00075713 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/25/2023 Bitcoin                             0.00075459 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/25/2023 Bitcoin                             0.00075236 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/25/2023 Bitcoin                             0.00075236 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/26/2023 Bitcoin                             0.00075192 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/26/2023 Bitcoin                             0.00075139 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/22/2023 Bitcoin                             0.00074307 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/22/2023 Bitcoin                             0.00074056 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/20/2023 Bitcoin                             0.00073917 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00073486 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/31/2023 Bitcoin                             0.00073453 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00073285 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00073275 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00073273 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00073136 Customer Transfer
 Confidential Customer Coin Transferee #7895    [Address on File]     5/16/2023 Bitcoin                             0.00051595 Customer Transfer
 Confidential Customer Coin Transferee #7896    [Address on File]     5/16/2023 USDC Avalanche)                    2993.313343 Customer Transfer
 Confidential Customer Coin Transferee #7896    [Address on File]     5/19/2023 USDC Avalanche)                    2992.762894 Customer Transfer
 Confidential Customer Coin Transferee #7896    [Address on File]     5/18/2023 USDC Avalanche)                    2992.233106 Customer Transfer
 Confidential Customer Coin Transferee #7896    [Address on File]     5/21/2023 USDC Avalanche)                    1795.982812 Customer Transfer
 Confidential Customer Coin Transferee #7897    [Address on File]     5/22/2023 Bitcoin                             0.00073724 Customer Transfer

 Confidential Customer Coin Transferee #7898    [Address on File]      6/7/2023 USDC Avalanche)                        503.208395 Customer Transfer

 Confidential Customer Coin Transferee #7898    [Address on File]     6/16/2023 USDC Avalanche)                        358.006797 Customer Transfer
 Confidential Customer Coin Transferee #7899    [Address on File]     5/31/2023 Bitcoin                                0.00368964 Customer Transfer
 Confidential Customer Coin Transferee #7900    [Address on File]     5/25/2023 Bitcoin                                0.01330381 Customer Transfer
 Confidential Customer Coin Transferee #7901    [Address on File]     6/20/2023 Bitcoin                                0.00085064 Customer Transfer
 Confidential Customer Coin Transferee #7902    [Address on File]     5/29/2023 Bitcoin                                0.03530678 Customer Transfer
 Confidential Customer Coin Transferee #7902    [Address on File]     5/28/2023 Bitcoin                                     0.0235 Customer Transfer
 Confidential Customer Coin Transferee #7903    [Address on File]     5/20/2023 Bitcoin                                0.00442978 Customer Transfer
 Confidential Customer Coin Transferee #7903    [Address on File]     5/29/2023 Bitcoin                                0.00424045 Customer Transfer
 Confidential Customer Coin Transferee #7904    [Address on File]     5/21/2023 Bitcoin                                0.00358796 Customer Transfer
 Confidential Customer Coin Transferee #7904    [Address on File]     5/29/2023 Bitcoin                                 0.0023928 Customer Transfer
 Confidential Customer Coin Transferee #7905    [Address on File]     6/19/2023 Bitcoin                                0.00389649 Customer Transfer
 Confidential Customer Coin Transferee #7906    [Address on File]     6/19/2023 Bitcoin                                0.00288703 Customer Transfer
 Confidential Customer Coin Transferee #7907    [Address on File]     5/29/2023 Tether USD                                  45.007 Customer Transfer
 Confidential Customer Coin Transferee #7908    [Address on File]     6/19/2023 Bitcoin                                0.00400882 Customer Transfer
 Confidential Customer Coin Transferee #7909    [Address on File]     5/29/2023 Bitcoin                                0.01093095 Customer Transfer


 Confidential Customer Coin Transferee #7910    [Address on File]      6/1/2023 Tether USD                                   2383 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer


 Confidential Customer Coin Transferee #7910    [Address on File]     5/22/2023 Tether USD                                    995 Customer Transfer


 Confidential Customer Coin Transferee #7910    [Address on File]     5/18/2023 Tether USD                                    500 Customer Transfer


 Confidential Customer Coin Transferee #7910    [Address on File]     5/17/2023 Tether USD                                    495 Customer Transfer


 Confidential Customer Coin Transferee #7910    [Address on File]      6/1/2023 Tether USD                                     95 Customer Transfer
 Confidential Customer Coin Transferee #7911    [Address on File]     6/20/2023 Bitcoin                                0.00542154 Customer Transfer
 Confidential Customer Coin Transferee #7912    [Address on File]     6/19/2023 Bitcoin                                0.00058772 Customer Transfer

 Confidential Customer Coin Transferee #7913    [Address on File]     5/20/2023 USDC Avalanche)                        483.366653 Customer Transfer

 Confidential Customer Coin Transferee #7913    [Address on File]     5/29/2023 USDC Avalanche)                        483.346661 Customer Transfer

 Confidential Customer Coin Transferee #7913    [Address on File]     5/24/2023 USDC Avalanche)                        483.296681 Customer Transfer

 Confidential Customer Coin Transferee #7913    [Address on File]     5/31/2023 USDC Avalanche)                        483.270037 Customer Transfer
 Confidential Customer Coin Transferee #7914    [Address on File]     5/18/2023 Bitcoin                                0.01050382 Customer Transfer
 Confidential Customer Coin Transferee #7915    [Address on File]     5/27/2023 Bitcoin                                0.07272696 Customer Transfer
 Confidential Customer Coin Transferee #7916    [Address on File]     5/23/2023 Bitcoin                                0.00065761 Customer Transfer
 Confidential Customer Coin Transferee #7917    [Address on File]     5/30/2023 Tether USD                               491.5627 Customer Transfer
 Confidential Customer Coin Transferee #7918    [Address on File]     6/19/2023 Bitcoin                                0.00022476 Customer Transfer

 Confidential Customer Coin Transferee #7919    [Address on File]     6/20/2023 Bitcoin                                0.00032073 Customer Transfer
 Confidential Customer Coin Transferee #7920    [Address on File]     5/25/2023 Bitcoin                                0.05742215 Customer Transfer
 Confidential Customer Coin Transferee #7921    [Address on File]     5/29/2023 Bitcoin                                0.00063935 Customer Transfer

 Confidential Customer Coin Transferee #7922    [Address on File]     5/26/2023 Bitcoin                                0.00092848 Customer Transfer

 Confidential Customer Coin Transferee #7922    [Address on File]     5/26/2023 Bitcoin                                0.00085437 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #7922    [Address on File]     5/25/2023 Bitcoin                                0.00075157 Customer Transfer

 Confidential Customer Coin Transferee #7922    [Address on File]     5/17/2023 Bitcoin                                0.00037357 Customer Transfer

 Confidential Customer Coin Transferee #7922    [Address on File]     5/25/2023 Bitcoin                                0.00033794 Customer Transfer
 Confidential Customer Coin Transferee #7923    [Address on File]     5/26/2023 Bitcoin                                0.00377424 Customer Transfer
 Confidential Customer Coin Transferee #7923    [Address on File]     5/27/2023 Bitcoin                                0.00357961 Customer Transfer
 Confidential Customer Coin Transferee #7923    [Address on File]     5/26/2023 Bitcoin                                0.00158238 Customer Transfer
 Confidential Customer Coin Transferee #7924    [Address on File]     5/16/2023 Bitcoin                                0.00840641 Customer Transfer
 Confidential Customer Coin Transferee #7925    [Address on File]     5/30/2023 Bitcoin                                0.01795558 Customer Transfer
 Confidential Customer Coin Transferee #7925    [Address on File]     5/29/2023 Bitcoin                                 0.0163544 Customer Transfer
 Confidential Customer Coin Transferee #7925    [Address on File]     5/28/2023 Bitcoin                                      0.013 Customer Transfer
 Confidential Customer Coin Transferee #7925    [Address on File]     5/25/2023 Bitcoin                                0.00651823 Customer Transfer
 Confidential Customer Coin Transferee #7925    [Address on File]     5/17/2023 Bitcoin                                0.00556854 Customer Transfer
 Confidential Customer Coin Transferee #7925    [Address on File]     5/27/2023 Bitcoin                                0.00372131 Customer Transfer
 Confidential Customer Coin Transferee #7925    [Address on File]     5/19/2023 Bitcoin                                0.00370509 Customer Transfer
 Confidential Customer Coin Transferee #7925    [Address on File]     5/18/2023 Bitcoin                                0.00274697 Customer Transfer
 Confidential Customer Coin Transferee #7925    [Address on File]     5/22/2023 Bitcoin                                0.00185562 Customer Transfer
 Confidential Customer Coin Transferee #7925    [Address on File]     5/22/2023 Bitcoin                                0.00185387 Customer Transfer
 Confidential Customer Coin Transferee #7925    [Address on File]     5/21/2023 Bitcoin                                0.00184694 Customer Transfer
 Confidential Customer Coin Transferee #7926    [Address on File]     5/31/2023 Bitcoin                                0.00183153 Customer Transfer
 Confidential Customer Coin Transferee #7926    [Address on File]     5/16/2023 Bitcoin                                0.00164783 Customer Transfer
 Confidential Customer Coin Transferee #7926    [Address on File]     5/26/2023 Bitcoin                                0.00158036 Customer Transfer
 Confidential Customer Coin Transferee #7926    [Address on File]     5/19/2023 Bitcoin                                0.00111103 Customer Transfer
 Confidential Customer Coin Transferee #7927    [Address on File]     5/18/2023 Bitcoin                                0.00363881 Customer Transfer
 Confidential Customer Coin Transferee #7927    [Address on File]     5/27/2023 Bitcoin                                0.00316801 Customer Transfer
 Confidential Customer Coin Transferee #7928    [Address on File]     5/27/2023 Bitcoin                                0.00521227 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/27/2023 Bitcoin                                0.00413486 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/23/2023 Bitcoin                                0.00403668 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/20/2023 Bitcoin                                      0.004 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/22/2023 Bitcoin                                      0.004 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/25/2023 Bitcoin                                0.00377125 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/25/2023 Bitcoin                                 0.0037688 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/31/2023 Bitcoin                                     0.0027 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/20/2023 Bitcoin                                     0.0025 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/29/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/24/2023 Bitcoin                             0.00185978 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/20/2023 Bitcoin                             0.00183613 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/19/2023 Bitcoin                                0.001797 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/19/2023 Bitcoin                                0.001797 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/19/2023 Bitcoin                                0.001797 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/19/2023 Bitcoin                                0.001796 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/29/2023 Bitcoin                             0.00171603 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/20/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/31/2023 Bitcoin                                0.000965 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/31/2023 Bitcoin                                0.000965 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/22/2023 Bitcoin                                0.000927 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/22/2023 Bitcoin                                0.000927 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/22/2023 Bitcoin                                0.000927 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/20/2023 Bitcoin                             0.00091659 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/23/2023 Bitcoin                                0.000881 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/22/2023 Bitcoin                                0.000664 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/22/2023 Bitcoin                                0.000664 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/22/2023 Bitcoin                                0.000663 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/22/2023 Bitcoin                                0.000663 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/22/2023 Bitcoin                                0.000663 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/22/2023 Bitcoin                                0.000663 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/23/2023 Bitcoin                                0.000598 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/29/2023 Bitcoin                                0.000451 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/29/2023 Bitcoin                                0.000451 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/29/2023 Bitcoin                                0.000451 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/29/2023 Bitcoin                                0.000451 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/29/2023 Bitcoin                                0.000451 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/30/2023 Bitcoin                                0.000423 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/30/2023 Bitcoin                                0.000423 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/30/2023 Bitcoin                                0.000423 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/30/2023 Bitcoin                                0.000423 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/30/2023 Bitcoin                                0.000423 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/30/2023 Bitcoin                                0.000423 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/30/2023 Bitcoin                                0.000423 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/30/2023 Bitcoin                                0.000423 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/30/2023 Bitcoin                                0.000423 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/30/2023 Bitcoin                                0.000423 Customer Transfer
 Confidential Customer Coin Transferee #7929    [Address on File]     5/31/2023 Bitcoin                              0.0001515 Customer Transfer
 Confidential Customer Coin Transferee #7930    [Address on File]     5/19/2023 Bitcoin                             0.01853411 Customer Transfer
 Confidential Customer Coin Transferee #7930    [Address on File]     5/20/2023 Bitcoin                             0.01850131 Customer Transfer
 Confidential Customer Coin Transferee #7930    [Address on File]     5/18/2023 Bitcoin                             0.01832447 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/17/2023 Bitcoin                             0.00389677 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/17/2023 Bitcoin                             0.00129929 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/17/2023 Bitcoin                             0.00120543 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/17/2023 Bitcoin                             0.00115024 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/19/2023 Bitcoin                             0.00107467 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/17/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/28/2023 Bitcoin                              0.0007334 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/28/2023 Bitcoin                             0.00069439 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/27/2023 Bitcoin                             0.00042718 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/20/2023 Bitcoin                             0.00020347 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/23/2023 Bitcoin                             0.00019212 Customer Transfer
 Confidential Customer Coin Transferee #7931    [Address on File]     5/17/2023 Bitcoin                             0.00017957 Customer Transfer
 Confidential Customer Coin Transferee #7932    [Address on File]     5/17/2023 Bitcoin                             0.00034738 Customer Transfer
 Confidential Customer Coin Transferee #7932    [Address on File]     5/29/2023 Bitcoin                             0.00033346 Customer Transfer
 Confidential Customer Coin Transferee #7932    [Address on File]     5/29/2023 Bitcoin                             0.00026377 Customer Transfer
 Confidential Customer Coin Transferee #7933    [Address on File]     5/29/2023 Bitcoin                             0.01001001 Customer Transfer
 Confidential Customer Coin Transferee #7933    [Address on File]     5/29/2023 Bitcoin                             0.00037065 Customer Transfer
 Confidential Customer Coin Transferee #7934    [Address on File]     5/27/2023 Bitcoin                             0.00527449 Customer Transfer
 Confidential Customer Coin Transferee #7934    [Address on File]     5/23/2023 Bitcoin                             0.00514707 Customer Transfer
 Confidential Customer Coin Transferee #7935    [Address on File]     5/28/2023 Bitcoin                             0.07343584 Customer Transfer
 Confidential Customer Coin Transferee #7936    [Address on File]     5/21/2023 Bitcoin                             0.00623218 Customer Transfer
 Confidential Customer Coin Transferee #7936    [Address on File]     5/17/2023 Bitcoin                              0.0003373 Customer Transfer
 Confidential Customer Coin Transferee #7937    [Address on File]      6/1/2023 Bitcoin                             0.02401446 Customer Transfer
 Confidential Customer Coin Transferee #7937    [Address on File]      6/1/2023 Bitcoin                              0.0141873 Customer Transfer
 Confidential Customer Coin Transferee #7937    [Address on File]     5/24/2023 Bitcoin                             0.00050112 Customer Transfer
 Confidential Customer Coin Transferee #7938    [Address on File]     5/30/2023 Bitcoin                                0.025262 Customer Transfer
 Confidential Customer Coin Transferee #7938    [Address on File]     5/28/2023 Bitcoin                             0.02486826 Customer Transfer
 Confidential Customer Coin Transferee #7938    [Address on File]      6/2/2023 Bitcoin                             0.02074971 Customer Transfer
 Confidential Customer Coin Transferee #7938    [Address on File]     5/26/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #7938    [Address on File]     5/27/2023 Bitcoin                                0.001129 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #7939    [Address on File]     5/26/2023 Bitcoin                                0.00093076 Customer Transfer
 Confidential Customer Coin Transferee #7940    [Address on File]     5/31/2023 Tether USD                              3277.2786 Customer Transfer

 Confidential Customer Coin Transferee #7941    [Address on File]      6/2/2023 USD Coin                                      4083 Customer Transfer
 Confidential Customer Coin Transferee #7942    [Address on File]     5/26/2023 Bitcoin                                 0.0027858 Customer Transfer
 Confidential Customer Coin Transferee #7942    [Address on File]     5/20/2023 Bitcoin                                0.00259114 Customer Transfer
 Confidential Customer Coin Transferee #7943    [Address on File]     6/14/2023 USD Coin Stellar)                             4.998 Customer Transfer
 Confidential Customer Coin Transferee #7943    [Address on File]     6/14/2023 USD Coin Stellar)                         4.947526 Customer Transfer
 Confidential Customer Coin Transferee #7943    [Address on File]     5/24/2023 USDC Avalanche)                           4.749525 Customer Transfer
 Confidential Customer Coin Transferee #7943    [Address on File]      6/6/2023 USDC Avalanche)                           4.747151 Customer Transfer
 Confidential Customer Coin Transferee #7943    [Address on File]      6/1/2023 USDC Avalanche)                           4.487756 Customer Transfer
 Confidential Customer Coin Transferee #7943    [Address on File]      6/7/2023 USDC Avalanche)                           4.487307 Customer Transfer
 Confidential Customer Coin Transferee #7943    [Address on File]      6/7/2023 USDC Avalanche)                           4.486859 Customer Transfer
 Confidential Customer Coin Transferee #7943    [Address on File]     5/18/2023 USDC Avalanche)                           4.477761 Customer Transfer
 Confidential Customer Coin Transferee #7943    [Address on File]     5/17/2023 USD Coin                                 2.578968 Customer Transfer
 Confidential Customer Coin Transferee #7944    [Address on File]     5/26/2023 Bitcoin                                0.00976428 Customer Transfer

 Confidential Customer Coin Transferee #7945    [Address on File]     6/20/2023 Bitcoin                                 0.0075834 Customer Transfer
 Confidential Customer Coin Transferee #7946    [Address on File]     5/26/2023 Bitcoin                                0.00186041 Customer Transfer
 Confidential Customer Coin Transferee #7946    [Address on File]     5/19/2023 Bitcoin                                0.00174158 Customer Transfer
 Confidential Customer Coin Transferee #7947    [Address on File]     5/20/2023 Bitcoin                                0.01456573 Customer Transfer
 Confidential Customer Coin Transferee #7947    [Address on File]     5/23/2023 Bitcoin                                0.00732929 Customer Transfer
 Confidential Customer Coin Transferee #7947    [Address on File]     5/18/2023 Bitcoin                                0.00372481 Customer Transfer
 Confidential Customer Coin Transferee #7947    [Address on File]     5/16/2023 Bitcoin                                 0.0037122 Customer Transfer
 Confidential Customer Coin Transferee #7947    [Address on File]     5/17/2023 Bitcoin                                0.00369114 Customer Transfer
 Confidential Customer Coin Transferee #7947    [Address on File]     5/16/2023 Bitcoin                                 0.0036318 Customer Transfer
 Confidential Customer Coin Transferee #7947    [Address on File]     5/22/2023 Bitcoin                                0.00184718 Customer Transfer
 Confidential Customer Coin Transferee #7948    [Address on File]     6/20/2023 Bitcoin                                 0.0001756 Customer Transfer
 Confidential Customer Coin Transferee #7949    [Address on File]     5/27/2023 Bitcoin                                0.11470259 Customer Transfer
 Confidential Customer Coin Transferee #7950    [Address on File]     5/28/2023 Bitcoin                                0.00371718 Customer Transfer
 Confidential Customer Coin Transferee #7950    [Address on File]     5/19/2023 Bitcoin                                   0.002109 Customer Transfer

 Confidential Customer Coin Transferee #7951    [Address on File]     6/15/2023 Tether USD                               127.3179 Customer Transfer
 Confidential Customer Coin Transferee #7952    [Address on File]     5/31/2023 Bitcoin                                0.01797957 Customer Transfer
 Confidential Customer Coin Transferee #7952    [Address on File]     5/20/2023 Bitcoin                                0.00184726 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7953    [Address on File]     5/23/2023 Bitcoin                             0.00372314 Customer Transfer
 Confidential Customer Coin Transferee #7953    [Address on File]     5/16/2023 Bitcoin                             0.00340883 Customer Transfer
 Confidential Customer Coin Transferee #7954    [Address on File]     6/20/2023 Bitcoin                             0.00628227 Customer Transfer
 Confidential Customer Coin Transferee #7955    [Address on File]     6/20/2023 Bitcoin                             0.00013212 Customer Transfer
 Confidential Customer Coin Transferee #7956    [Address on File]     5/24/2023 USDC Solana)                       1937.265093 Customer Transfer
 Confidential Customer Coin Transferee #7957    [Address on File]     5/22/2023 Bitcoin                             0.00578507 Customer Transfer
 Confidential Customer Coin Transferee #7957    [Address on File]     5/24/2023 Bitcoin                             0.00379253 Customer Transfer
 Confidential Customer Coin Transferee #7958    [Address on File]      6/2/2023 USD Coin                               79.4577 Customer Transfer
 Confidential Customer Coin Transferee #7959    [Address on File]     6/20/2023 Bitcoin                             0.00004381 Customer Transfer
 Confidential Customer Coin Transferee #7960    [Address on File]     6/19/2023 Bitcoin                             0.00038598 Customer Transfer
 Confidential Customer Coin Transferee #7961    [Address on File]     6/12/2023 Bitcoin                             0.00515144 Customer Transfer
 Confidential Customer Coin Transferee #7962    [Address on File]     6/20/2023 Bitcoin                             0.00005821 Customer Transfer
 Confidential Customer Coin Transferee #7963    [Address on File]     5/21/2023 Bitcoin                              0.0160407 Customer Transfer
 Confidential Customer Coin Transferee #7964    [Address on File]     5/27/2023 Bitcoin                             0.00854735 Customer Transfer
 Confidential Customer Coin Transferee #7964    [Address on File]     5/20/2023 Bitcoin                             0.00807199 Customer Transfer
 Confidential Customer Coin Transferee #7965    [Address on File]     5/26/2023 Bitcoin                                 0.01394 Customer Transfer
 Confidential Customer Coin Transferee #7965    [Address on File]     5/19/2023 Bitcoin                                 0.01392 Customer Transfer
 Confidential Customer Coin Transferee #7966    [Address on File]     5/20/2023 Bitcoin                             0.00551161 Customer Transfer
 Confidential Customer Coin Transferee #7967    [Address on File]     5/18/2023 Bitcoin                              0.0239984 Customer Transfer
 Confidential Customer Coin Transferee #7967    [Address on File]     5/26/2023 Bitcoin                             0.02115995 Customer Transfer
 Confidential Customer Coin Transferee #7967    [Address on File]     5/31/2023 Bitcoin                             0.01098943 Customer Transfer
 Confidential Customer Coin Transferee #7967    [Address on File]     5/17/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #7967    [Address on File]     5/17/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #7968    [Address on File]     5/20/2023 Bitcoin                             0.00184829 Customer Transfer
 Confidential Customer Coin Transferee #7969    [Address on File]     5/19/2023 Bitcoin                             0.00073937 Customer Transfer
 Confidential Customer Coin Transferee #7970    [Address on File]     5/19/2023 Bitcoin                             0.00370016 Customer Transfer
 Confidential Customer Coin Transferee #7970    [Address on File]     5/19/2023 Bitcoin                             0.00340118 Customer Transfer
 Confidential Customer Coin Transferee #7971    [Address on File]     5/24/2023 Bitcoin                             0.00146968 Customer Transfer
 Confidential Customer Coin Transferee #7972    [Address on File]     5/29/2023 Bitcoin                             0.00310725 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.01111085 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/29/2023 Bitcoin                             0.00856046 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/18/2023 Bitcoin                             0.00821093 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/31/2023 Bitcoin                             0.00792215 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/22/2023 Bitcoin                             0.00776805 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/26/2023 Bitcoin                             0.00751871 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/26/2023 Bitcoin                             0.00751734 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/28/2023 Bitcoin                             0.00732793 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/21/2023 Bitcoin                              0.0073176 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/16/2023 Bitcoin                             0.00731309 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/28/2023 Bitcoin                             0.00731103 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/24/2023 Bitcoin                             0.00705053 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/22/2023 Bitcoin                             0.00657023 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.00655008 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/29/2023 Bitcoin                             0.00619803 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/28/2023 Bitcoin                             0.00577371 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/26/2023 Bitcoin                             0.00564227 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/27/2023 Bitcoin                             0.00557659 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.00556798 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.00555757 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/17/2023 Bitcoin                             0.00552583 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/28/2023 Bitcoin                             0.00550126 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/28/2023 Bitcoin                             0.00547148 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/27/2023 Bitcoin                             0.00538347 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/31/2023 Bitcoin                             0.00536554 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/26/2023 Bitcoin                             0.00507989 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/22/2023 Bitcoin                             0.00500918 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/18/2023 Bitcoin                             0.00486558 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/25/2023 Bitcoin                             0.00475051 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/21/2023 Bitcoin                             0.00474915 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/25/2023 Bitcoin                             0.00471992 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/24/2023 Bitcoin                              0.0047134 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/28/2023 Bitcoin                             0.00457549 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/21/2023 Bitcoin                             0.00456801 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/25/2023 Bitcoin                             0.00454365 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/27/2023 Bitcoin                              0.0044463 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/28/2023 Bitcoin                             0.00444261 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/28/2023 Bitcoin                             0.00439874 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/25/2023 Bitcoin                             0.00434002 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.00411231 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/21/2023 Bitcoin                             0.00395052 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/20/2023 Bitcoin                             0.00370268 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/17/2023 Bitcoin                                0.003667 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/28/2023 Bitcoin                             0.00366016 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/28/2023 Bitcoin                             0.00365578 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/31/2023 Bitcoin                             0.00364207 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/17/2023 Bitcoin                              0.0036328 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.00328813 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.00326345 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.00287838 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/16/2023 Bitcoin                             0.00283848 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/24/2023 Bitcoin                             0.00281998 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/17/2023 Bitcoin                              0.0028013 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/28/2023 Bitcoin                             0.00274361 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/24/2023 Bitcoin                             0.00273932 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/18/2023 Bitcoin                             0.00272684 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/21/2023 Bitcoin                             0.00269662 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/30/2023 Bitcoin                             0.00268732 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.00259695 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/25/2023 Bitcoin                             0.00256045 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.00247154 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/27/2023 Bitcoin                             0.00240923 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/22/2023 Bitcoin                             0.00240318 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/21/2023 Bitcoin                             0.00220267 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/26/2023 Bitcoin                             0.00206708 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.00203189 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/16/2023 Bitcoin                             0.00202168 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/19/2023 Bitcoin                             0.00185382 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/27/2023 Bitcoin                             0.00185073 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/21/2023 Bitcoin                             0.00182972 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/18/2023 Bitcoin                              0.0014524 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/29/2023 Bitcoin                             0.00126183 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/29/2023 Bitcoin                             0.00107698 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/29/2023 Bitcoin                             0.00089861 Customer Transfer
 Confidential Customer Coin Transferee #7973    [Address on File]     5/30/2023 Bitcoin                             0.00089591 Customer Transfer
 Confidential Customer Coin Transferee #7974    [Address on File]     5/29/2023 Bitcoin                             0.07194651 Customer Transfer
 Confidential Customer Coin Transferee #7974    [Address on File]     5/21/2023 Bitcoin                             0.05510976 Customer Transfer
 Confidential Customer Coin Transferee #7974    [Address on File]     5/21/2023 Bitcoin                             0.03674689 Customer Transfer
 Confidential Customer Coin Transferee #7974    [Address on File]     5/21/2023 Bitcoin                             0.03673838 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7974    [Address on File]     5/21/2023 Bitcoin                             0.02938204 Customer Transfer
 Confidential Customer Coin Transferee #7974    [Address on File]     5/16/2023 Bitcoin                             0.01856538 Customer Transfer
 Confidential Customer Coin Transferee #7974    [Address on File]     5/19/2023 Bitcoin                             0.00924214 Customer Transfer
 Confidential Customer Coin Transferee #7974    [Address on File]     5/21/2023 Bitcoin                                0.008092 Customer Transfer
 Confidential Customer Coin Transferee #7974    [Address on File]     5/21/2023 Bitcoin                             0.00551099 Customer Transfer
 Confidential Customer Coin Transferee #7974    [Address on File]     5/19/2023 Bitcoin                             0.00315006 Customer Transfer
 Confidential Customer Coin Transferee #7974    [Address on File]     5/19/2023 Bitcoin                             0.00185147 Customer Transfer
 Confidential Customer Coin Transferee #7975    [Address on File]     5/28/2023 Bitcoin                             0.00701723 Customer Transfer
 Confidential Customer Coin Transferee #7975    [Address on File]     5/21/2023 Bitcoin                             0.00695223 Customer Transfer
 Confidential Customer Coin Transferee #7976    [Address on File]     6/19/2023 Bitcoin                             0.00068354 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/18/2023 Bitcoin                             0.00418439 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/30/2023 Bitcoin                             0.00319617 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/23/2023 Bitcoin                             0.00261301 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/30/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/30/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/24/2023 Bitcoin                             0.00228866 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/25/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/30/2023 Bitcoin                             0.00182654 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/25/2023 Bitcoin                             0.00176428 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/31/2023 Bitcoin                             0.00141312 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/31/2023 Bitcoin                             0.00129166 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/31/2023 Bitcoin                             0.00094037 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/31/2023 Bitcoin                             0.00088171 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/30/2023 Bitcoin                             0.00086231 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/19/2023 Bitcoin                             0.00071261 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/31/2023 Bitcoin                                0.000706 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/18/2023 Bitcoin                             0.00070253 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/17/2023 Bitcoin                             0.00069892 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/28/2023 Bitcoin                             0.00059379 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/21/2023 Bitcoin                              0.0005347 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/24/2023 Bitcoin                             0.00050274 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/28/2023 Bitcoin                             0.00048932 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/21/2023 Bitcoin                             0.00031513 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/28/2023 Bitcoin                             0.00028668 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/19/2023 Bitcoin                             0.00028105 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/23/2023 Bitcoin                             0.00027699 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/17/2023 Bitcoin                             0.00024518 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/24/2023 Bitcoin                             0.00013841 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/21/2023 Bitcoin                             0.00007149 Customer Transfer
 Confidential Customer Coin Transferee #7977    [Address on File]     5/20/2023 Bitcoin                              0.0000414 Customer Transfer
 Confidential Customer Coin Transferee #7978    [Address on File]     5/28/2023 Bitcoin                                0.014985 Customer Transfer
 Confidential Customer Coin Transferee #7979    [Address on File]     5/28/2023 Bitcoin                             0.00147301 Customer Transfer
 Confidential Customer Coin Transferee #7980    [Address on File]     5/25/2023 Bitcoin                             0.00028313 Customer Transfer
 Confidential Customer Coin Transferee #7981    [Address on File]     5/26/2023 Bitcoin                             0.01114413 Customer Transfer
 Confidential Customer Coin Transferee #7982    [Address on File]     5/22/2023 Bitcoin                             0.03721294 Customer Transfer
 Confidential Customer Coin Transferee #7983    [Address on File]     5/23/2023 Bitcoin                             0.07481795 Customer Transfer
 Confidential Customer Coin Transferee #7983    [Address on File]     5/20/2023 Bitcoin                             0.05538011 Customer Transfer
 Confidential Customer Coin Transferee #7983    [Address on File]     5/26/2023 Bitcoin                             0.04053799 Customer Transfer
 Confidential Customer Coin Transferee #7984    [Address on File]     5/24/2023 Bitcoin                              0.0110953 Customer Transfer
 Confidential Customer Coin Transferee #7985    [Address on File]     5/31/2023 Bitcoin                             0.01252304 Customer Transfer
 Confidential Customer Coin Transferee #7986    [Address on File]     5/24/2023 Bitcoin                             0.00349599 Customer Transfer
 Confidential Customer Coin Transferee #7986    [Address on File]     5/16/2023 Bitcoin                             0.00209745 Customer Transfer
 Confidential Customer Coin Transferee #7987    [Address on File]     5/24/2023 Bitcoin                              0.0001111 Customer Transfer
 Confidential Customer Coin Transferee #7987    [Address on File]     5/24/2023 Bitcoin                                 0.00011 Customer Transfer
 Confidential Customer Coin Transferee #7987    [Address on File]     5/24/2023 Bitcoin                                 0.00011 Customer Transfer
 Confidential Customer Coin Transferee #7988    [Address on File]     5/17/2023 Bitcoin                             0.00490108 Customer Transfer
 Confidential Customer Coin Transferee #7988    [Address on File]     5/17/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #7989    [Address on File]     5/16/2023 Bitcoin                             0.05833614 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/31/2023 Bitcoin                             0.02069088 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/19/2023 Bitcoin                             0.01853178 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/22/2023 Bitcoin                             0.01271389 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/29/2023 Bitcoin                             0.01153476 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/21/2023 Bitcoin                                   0.0111 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/28/2023 Bitcoin                             0.01079553 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/24/2023 Bitcoin                             0.01032892 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/20/2023 Bitcoin                             0.00943497 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/16/2023 Bitcoin                             0.00925387 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/27/2023 Bitcoin                             0.00650935 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/30/2023 Bitcoin                             0.00494257 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/23/2023 Bitcoin                             0.00381427 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/28/2023 Bitcoin                                 0.00375 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/25/2023 Bitcoin                             0.00363623 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/19/2023 Bitcoin                             0.00358591 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/27/2023 Bitcoin                             0.00296527 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/17/2023 Bitcoin                             0.00287598 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/21/2023 Bitcoin                             0.00232374 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/26/2023 Bitcoin                             0.00167346 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/23/2023 Bitcoin                              0.0009466 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/27/2023 Bitcoin                             0.00072513 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/20/2023 Bitcoin                             0.00070183 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/28/2023 Bitcoin                             0.00050993 Customer Transfer
 Confidential Customer Coin Transferee #7990    [Address on File]     5/19/2023 Bitcoin                             0.00034484 Customer Transfer
 Confidential Customer Coin Transferee #7991    [Address on File]     5/17/2023 Bitcoin                             0.02113627 Customer Transfer
 Confidential Customer Coin Transferee #7991    [Address on File]     5/30/2023 Bitcoin                             0.00957439 Customer Transfer
 Confidential Customer Coin Transferee #7992    [Address on File]     5/27/2023 Bitcoin                             0.03714758 Customer Transfer
 Confidential Customer Coin Transferee #7992    [Address on File]     5/25/2023 Bitcoin                             0.01886621 Customer Transfer
 Confidential Customer Coin Transferee #7993    [Address on File]     5/28/2023 Bitcoin                             0.00390101 Customer Transfer
 Confidential Customer Coin Transferee #7993    [Address on File]     5/21/2023 Bitcoin                             0.00386368 Customer Transfer
 Confidential Customer Coin Transferee #7994    [Address on File]     5/24/2023 Bitcoin                             0.18493837 Customer Transfer
 Confidential Customer Coin Transferee #7994    [Address on File]     5/19/2023 Bitcoin                             0.18176784 Customer Transfer
 Confidential Customer Coin Transferee #7994    [Address on File]     5/17/2023 Bitcoin                             0.18112664 Customer Transfer
 Confidential Customer Coin Transferee #7994    [Address on File]     5/25/2023 Bitcoin                             0.00706843 Customer Transfer
 Confidential Customer Coin Transferee #7995    [Address on File]     5/27/2023 Bitcoin                             0.02491222 Customer Transfer
 Confidential Customer Coin Transferee #7996    [Address on File]     5/20/2023 Bitcoin                             0.01849409 Customer Transfer
 Confidential Customer Coin Transferee #7997    [Address on File]     5/24/2023 Bitcoin                                  0.0231 Customer Transfer
 Confidential Customer Coin Transferee #7997    [Address on File]     5/25/2023 Bitcoin                                  0.0113 Customer Transfer
 Confidential Customer Coin Transferee #7997    [Address on File]     5/19/2023 Bitcoin                                  0.0111 Customer Transfer
 Confidential Customer Coin Transferee #7997    [Address on File]     5/20/2023 Bitcoin                                  0.0111 Customer Transfer
 Confidential Customer Coin Transferee #7997    [Address on File]     5/22/2023 Bitcoin                                  0.0111 Customer Transfer
 Confidential Customer Coin Transferee #7997    [Address on File]     5/30/2023 Bitcoin                                  0.0107 Customer Transfer
 Confidential Customer Coin Transferee #7997    [Address on File]     5/17/2023 Bitcoin                                  0.0075 Customer Transfer
 Confidential Customer Coin Transferee #7997    [Address on File]     5/18/2023 Bitcoin                                  0.0074 Customer Transfer
 Confidential Customer Coin Transferee #7997    [Address on File]     5/16/2023 Bitcoin                                  0.0073 Customer Transfer
 Confidential Customer Coin Transferee #7997    [Address on File]     5/27/2023 Bitcoin                                  0.0037 Customer Transfer
 Confidential Customer Coin Transferee #7997    [Address on File]     5/28/2023 Bitcoin                                  0.0036 Customer Transfer
 Confidential Customer Coin Transferee #7998    [Address on File]     5/30/2023 Bitcoin                             0.01881868 Customer Transfer
 Confidential Customer Coin Transferee #7999    [Address on File]     5/18/2023 Bitcoin                             0.01057775 Customer Transfer
 Confidential Customer Coin Transferee #8000    [Address on File]     5/20/2023 Bitcoin                                     0.06 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8000    [Address on File]     5/20/2023 Bitcoin                             0.05961944 Customer Transfer
 Confidential Customer Coin Transferee #8001    [Address on File]     5/31/2023 Bitcoin                                    0.038 Customer Transfer
 Confidential Customer Coin Transferee #8001    [Address on File]     5/18/2023 Bitcoin                                  0.0007 Customer Transfer
 Confidential Customer Coin Transferee #8002    [Address on File]     6/20/2023 Bitcoin                             0.00395595 Customer Transfer
 Confidential Customer Coin Transferee #8003    [Address on File]     6/12/2023 Bitcoin                             0.00288993 Customer Transfer
 Confidential Customer Coin Transferee #8003    [Address on File]     6/20/2023 Bitcoin                             0.00015384 Customer Transfer
 Confidential Customer Coin Transferee #8004    [Address on File]     5/24/2023 Bitcoin                             0.04416427 Customer Transfer
 Confidential Customer Coin Transferee #8004    [Address on File]     5/29/2023 Bitcoin                             0.01855744 Customer Transfer
 Confidential Customer Coin Transferee #8005    [Address on File]     5/29/2023 Bitcoin                                 0.00077 Customer Transfer
 Confidential Customer Coin Transferee #8005    [Address on File]     5/18/2023 Bitcoin                             0.00033026 Customer Transfer
 Confidential Customer Coin Transferee #8005    [Address on File]     5/30/2023 Bitcoin                              0.0002239 Customer Transfer
 Confidential Customer Coin Transferee #8005    [Address on File]     5/29/2023 Bitcoin                             0.00012941 Customer Transfer
 Confidential Customer Coin Transferee #8006    [Address on File]     5/22/2023 Bitcoin                                 0.00186 Customer Transfer
 Confidential Customer Coin Transferee #8007    [Address on File]     5/16/2023 Bitcoin                             0.00912024 Customer Transfer
 Confidential Customer Coin Transferee #8007    [Address on File]     5/31/2023 Bitcoin                             0.00898897 Customer Transfer
 Confidential Customer Coin Transferee #8008    [Address on File]     5/22/2023 Bitcoin                             0.03756192 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/28/2023 Bitcoin                             0.00480906 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/24/2023 Bitcoin                             0.00445227 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/29/2023 Bitcoin                             0.00391911 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/18/2023 Bitcoin                             0.00311689 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/19/2023 Bitcoin                             0.00277622 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/25/2023 Bitcoin                             0.00265013 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/21/2023 Bitcoin                             0.00257959 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/18/2023 Bitcoin                             0.00255764 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/23/2023 Bitcoin                             0.00254886 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/26/2023 Bitcoin                             0.00244522 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/27/2023 Bitcoin                              0.0024172 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/23/2023 Bitcoin                             0.00239871 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/21/2023 Bitcoin                             0.00238565 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/16/2023 Bitcoin                             0.00237498 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/31/2023 Bitcoin                             0.00233799 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/30/2023 Bitcoin                             0.00233242 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/26/2023 Bitcoin                             0.00224529 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/20/2023 Bitcoin                             0.00222045 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/17/2023 Bitcoin                             0.00220639 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/30/2023 Bitcoin                             0.00214594 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/22/2023 Bitcoin                             0.00204535 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/20/2023 Bitcoin                             0.00203367 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/16/2023 Bitcoin                             0.00201982 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/22/2023 Bitcoin                             0.00185138 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/25/2023 Bitcoin                             0.00170387 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/28/2023 Bitcoin                             0.00164405 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/17/2023 Bitcoin                             0.00148491 Customer Transfer
 Confidential Customer Coin Transferee #8009    [Address on File]     5/19/2023 Bitcoin                             0.00073998 Customer Transfer
 Confidential Customer Coin Transferee #8010    [Address on File]     5/16/2023 Bitcoin                              0.0187267 Customer Transfer
 Confidential Customer Coin Transferee #8010    [Address on File]     5/25/2023 Bitcoin                             0.00752006 Customer Transfer
 Confidential Customer Coin Transferee #8010    [Address on File]     5/22/2023 Bitcoin                             0.00703822 Customer Transfer
 Confidential Customer Coin Transferee #8011    [Address on File]     5/19/2023 Bitcoin                             0.01854793 Customer Transfer
 Confidential Customer Coin Transferee #8012    [Address on File]     5/22/2023 Bitcoin                                  0.2232 Customer Transfer
 Confidential Customer Coin Transferee #8013    [Address on File]     5/22/2023 Bitcoin                             0.09051701 Customer Transfer
 Confidential Customer Coin Transferee #8014    [Address on File]     5/18/2023 Bitcoin                             0.00847937 Customer Transfer
 Confidential Customer Coin Transferee #8014    [Address on File]     5/27/2023 Bitcoin                             0.00817793 Customer Transfer
 Confidential Customer Coin Transferee #8014    [Address on File]     5/17/2023 Bitcoin                             0.00739554 Customer Transfer
 Confidential Customer Coin Transferee #8015    [Address on File]     5/30/2023 Bitcoin                             0.01455713 Customer Transfer
 Confidential Customer Coin Transferee #8016    [Address on File]     5/19/2023 Bitcoin                             0.01496045 Customer Transfer
 Confidential Customer Coin Transferee #8017    [Address on File]     5/27/2023 Bitcoin                             0.00375083 Customer Transfer
 Confidential Customer Coin Transferee #8017    [Address on File]     5/19/2023 Bitcoin                             0.00369804 Customer Transfer
 Confidential Customer Coin Transferee #8018    [Address on File]     5/28/2023 Bitcoin                             0.00199957 Customer Transfer
 Confidential Customer Coin Transferee #8018    [Address on File]     5/16/2023 Bitcoin                             0.00039497 Customer Transfer
 Confidential Customer Coin Transferee #8019    [Address on File]     5/30/2023 Bitcoin                             0.00089492 Customer Transfer
 Confidential Customer Coin Transferee #8020    [Address on File]     5/25/2023 Bitcoin                             0.00089077 Customer Transfer
 Confidential Customer Coin Transferee #8020    [Address on File]     5/28/2023 Bitcoin                             0.00067454 Customer Transfer
 Confidential Customer Coin Transferee #8020    [Address on File]     5/30/2023 Bitcoin                             0.00064634 Customer Transfer
 Confidential Customer Coin Transferee #8020    [Address on File]     5/19/2023 Bitcoin                             0.00055618 Customer Transfer
 Confidential Customer Coin Transferee #8020    [Address on File]     5/17/2023 Bitcoin                             0.00033154 Customer Transfer
 Confidential Customer Coin Transferee #8021    [Address on File]     5/28/2023 Bitcoin                             0.10205798 Customer Transfer
 Confidential Customer Coin Transferee #8022    [Address on File]      6/1/2023 Bitcoin                             0.00907074 Customer Transfer
 Confidential Customer Coin Transferee #8023    [Address on File]     5/29/2023 Bitcoin                             0.03046128 Customer Transfer
 Confidential Customer Coin Transferee #8024    [Address on File]     5/21/2023 Bitcoin                                     0.15 Customer Transfer
 Confidential Customer Coin Transferee #8024    [Address on File]     5/23/2023 Bitcoin                                     0.15 Customer Transfer
 Confidential Customer Coin Transferee #8024    [Address on File]     5/28/2023 Bitcoin                                     0.15 Customer Transfer
 Confidential Customer Coin Transferee #8024    [Address on File]     5/21/2023 Bitcoin                                 0.06945 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8025    [Address on File]     5/25/2023 Bitcoin                             0.00758586 Customer Transfer
 Confidential Customer Coin Transferee #8025    [Address on File]     5/19/2023 Bitcoin                             0.00739347 Customer Transfer
 Confidential Customer Coin Transferee #8026    [Address on File]     5/27/2023 Bitcoin                             0.01828917 Customer Transfer
 Confidential Customer Coin Transferee #8027    [Address on File]     5/22/2023 Bitcoin                             0.01055383 Customer Transfer
 Confidential Customer Coin Transferee #8028    [Address on File]     6/20/2023 Bitcoin                             0.00003566 Customer Transfer
 Confidential Customer Coin Transferee #8029    [Address on File]     5/20/2023 Bitcoin                             0.00362714 Customer Transfer
 Confidential Customer Coin Transferee #8030    [Address on File]     5/25/2023 Bitcoin                             0.00074735 Customer Transfer
 Confidential Customer Coin Transferee #8030    [Address on File]     5/18/2023 Bitcoin                             0.00036808 Customer Transfer
 Confidential Customer Coin Transferee #8031    [Address on File]     5/31/2023 Bitcoin                             0.01686229 Customer Transfer
 Confidential Customer Coin Transferee #8032    [Address on File]     6/19/2023 Bitcoin                             0.00045784 Customer Transfer
 Confidential Customer Coin Transferee #8033    [Address on File]     5/22/2023 Bitcoin                             0.00922504 Customer Transfer
 Confidential Customer Coin Transferee #8034    [Address on File]     5/16/2023 USD Coin                            994.091772 Customer Transfer
 Confidential Customer Coin Transferee #8035    [Address on File]     6/20/2023 Bitcoin                              0.0038393 Customer Transfer
 Confidential Customer Coin Transferee #8036    [Address on File]     6/19/2023 Bitcoin                              0.0050032 Customer Transfer
 Confidential Customer Coin Transferee #8037    [Address on File]     5/23/2023 Bitcoin                             0.00010166 Customer Transfer
 Confidential Customer Coin Transferee #8038    [Address on File]     5/22/2023 Bitcoin                             0.01812845 Customer Transfer
 Confidential Customer Coin Transferee #8039    [Address on File]     6/19/2023 Bitcoin                             0.00016242 Customer Transfer
 Confidential Customer Coin Transferee #8040    [Address on File]     6/20/2023 Bitcoin                             0.00069719 Customer Transfer
 Confidential Customer Coin Transferee #8041    [Address on File]     5/24/2023 Bitcoin                             0.02580616 Customer Transfer
 Confidential Customer Coin Transferee #8041    [Address on File]     5/24/2023 Bitcoin                             0.02567288 Customer Transfer
 Confidential Customer Coin Transferee #8042    [Address on File]     5/22/2023 Bitcoin                             0.03052577 Customer Transfer
 Confidential Customer Coin Transferee #8043    [Address on File]      6/7/2023 Bitcoin                                   0.007 Customer Transfer
 Confidential Customer Coin Transferee #8043    [Address on File]     5/20/2023 Bitcoin                                   0.006 Customer Transfer
 Confidential Customer Coin Transferee #8043    [Address on File]     6/18/2023 Bitcoin                                   0.004 Customer Transfer
 Confidential Customer Coin Transferee #8043    [Address on File]     6/19/2023 Bitcoin                                   0.004 Customer Transfer
 Confidential Customer Coin Transferee #8044    [Address on File]     6/19/2023 Bitcoin                             0.00005978 Customer Transfer
 Confidential Customer Coin Transferee #8045    [Address on File]     5/20/2023 Bitcoin                             0.02608913 Customer Transfer
 Confidential Customer Coin Transferee #8046    [Address on File]     5/26/2023 Bitcoin                             0.01615372 Customer Transfer
 Confidential Customer Coin Transferee #8046    [Address on File]     5/19/2023 Bitcoin                             0.01115832 Customer Transfer
 Confidential Customer Coin Transferee #8047    [Address on File]     5/19/2023 Bitcoin                                   0.012 Customer Transfer
 Confidential Customer Coin Transferee #8048    [Address on File]     5/20/2023 Bitcoin                             0.01014427 Customer Transfer
 Confidential Customer Coin Transferee #8049    [Address on File]     5/28/2023 Bitcoin                             0.05028719 Customer Transfer
 Confidential Customer Coin Transferee #8050    [Address on File]     6/20/2023 Bitcoin                             0.00034948 Customer Transfer
 Confidential Customer Coin Transferee #8051    [Address on File]     5/26/2023 Bitcoin                             0.01133071 Customer Transfer
 Confidential Customer Coin Transferee #8052    [Address on File]     6/19/2023 Bitcoin                             0.00005807 Customer Transfer
 Confidential Customer Coin Transferee #8053    [Address on File]     6/19/2023 Bitcoin                             0.00299921 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8054    [Address on File]     5/25/2023 Bitcoin                             0.00040076 Customer Transfer
 Confidential Customer Coin Transferee #8054    [Address on File]     5/18/2023 Bitcoin                             0.00039549 Customer Transfer
 Confidential Customer Coin Transferee #8055    [Address on File]     6/20/2023 Bitcoin                             0.00323982 Customer Transfer
 Confidential Customer Coin Transferee #8056    [Address on File]     5/23/2023 Bitcoin                             0.00324938 Customer Transfer
 Confidential Customer Coin Transferee #8056    [Address on File]      6/7/2023 Bitcoin                             0.00248263 Customer Transfer
 Confidential Customer Coin Transferee #8056    [Address on File]     5/17/2023 Bitcoin                             0.00009458 Customer Transfer
 Confidential Customer Coin Transferee #8057    [Address on File]     5/23/2023 Bitcoin                             0.01175942 Customer Transfer
 Confidential Customer Coin Transferee #8058    [Address on File]      6/1/2023 Bitcoin                             0.00558616 Customer Transfer
 Confidential Customer Coin Transferee #8059    [Address on File]     5/26/2023 Bitcoin                             0.02699015 Customer Transfer
 Confidential Customer Coin Transferee #8060    [Address on File]      6/9/2023 Bitcoin                             0.01841184 Customer Transfer

 Confidential Customer Coin Transferee #8061    [Address on File]     5/23/2023 Bitcoin                                0.00186418 Customer Transfer

 Confidential Customer Coin Transferee #8061    [Address on File]     5/16/2023 Bitcoin                                0.00169686 Customer Transfer
 Confidential Customer Coin Transferee #8062    [Address on File]     5/30/2023 Bitcoin                                0.01014962 Customer Transfer
 Confidential Customer Coin Transferee #8063    [Address on File]     6/19/2023 Bitcoin                                0.01517188 Customer Transfer
 Confidential Customer Coin Transferee #8063    [Address on File]     5/22/2023 Bitcoin                                0.00361753 Customer Transfer
 Confidential Customer Coin Transferee #8064    [Address on File]      6/5/2023 Bitcoin                                0.01845261 Customer Transfer
 Confidential Customer Coin Transferee #8064    [Address on File]     5/19/2023 Bitcoin                                0.01018513 Customer Transfer
 Confidential Customer Coin Transferee #8064    [Address on File]     5/22/2023 Bitcoin                                0.01013706 Customer Transfer
 Confidential Customer Coin Transferee #8064    [Address on File]     5/22/2023 Bitcoin                                0.01012676 Customer Transfer
 Confidential Customer Coin Transferee #8064    [Address on File]     6/12/2023 Bitcoin                                0.00962499 Customer Transfer
 Confidential Customer Coin Transferee #8064    [Address on File]     5/26/2023 Bitcoin                                0.00936453 Customer Transfer
 Confidential Customer Coin Transferee #8064    [Address on File]     5/29/2023 Bitcoin                                0.00703661 Customer Transfer
 Confidential Customer Coin Transferee #8064    [Address on File]     6/13/2023 Bitcoin                                 0.0057352 Customer Transfer
 Confidential Customer Coin Transferee #8064    [Address on File]      6/9/2023 Bitcoin                                0.00374503 Customer Transfer
 Confidential Customer Coin Transferee #8065    [Address on File]     5/31/2023 Bitcoin                                0.02157936 Customer Transfer
 Confidential Customer Coin Transferee #8066    [Address on File]     5/26/2023 Bitcoin                                0.00903777 Customer Transfer
 Confidential Customer Coin Transferee #8066    [Address on File]     6/20/2023 Bitcoin                                0.00568054 Customer Transfer
 Confidential Customer Coin Transferee #8067    [Address on File]     6/19/2023 Bitcoin                                0.00304359 Customer Transfer
 Confidential Customer Coin Transferee #8068    [Address on File]     5/26/2023 Bitcoin                                0.00644181 Customer Transfer
 Confidential Customer Coin Transferee #8068    [Address on File]     5/19/2023 Bitcoin                                0.00607505 Customer Transfer
 Confidential Customer Coin Transferee #8069    [Address on File]     5/22/2023 Bitcoin                                0.00109487 Customer Transfer
 Confidential Customer Coin Transferee #8069    [Address on File]     5/16/2023 Bitcoin                                0.00109105 Customer Transfer
 Confidential Customer Coin Transferee #8069    [Address on File]     5/16/2023 Bitcoin                                0.00105903 Customer Transfer
 Confidential Customer Coin Transferee #8069    [Address on File]     5/25/2023 Bitcoin                                0.00094315 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8069    [Address on File]     6/20/2023 Bitcoin                              0.0000532 Customer Transfer
 Confidential Customer Coin Transferee #8070    [Address on File]      6/2/2023 TUIT Polygon)                              3100 Customer Transfer
 Confidential Customer Coin Transferee #8070    [Address on File]      6/5/2023 TUIT Polygon)                                 67 Customer Transfer
 Confidential Customer Coin Transferee #8070    [Address on File]      6/2/2023 TUIT Polygon)                        15.924975 Customer Transfer
 Confidential Customer Coin Transferee #8070    [Address on File]      6/2/2023 TUIT Polygon)                                  1 Customer Transfer
 Confidential Customer Coin Transferee #8070    [Address on File]     6/21/2023 TUIT Polygon)                                  1 Customer Transfer
 Confidential Customer Coin Transferee #8071    [Address on File]     6/20/2023 Bitcoin                             0.00353889 Customer Transfer
 Confidential Customer Coin Transferee #8072    [Address on File]     6/19/2023 Bitcoin                             0.01265105 Customer Transfer
 Confidential Customer Coin Transferee #8073    [Address on File]     6/19/2023 Bitcoin                             0.00040794 Customer Transfer
 Confidential Customer Coin Transferee #8074    [Address on File]     6/19/2023 Bitcoin                             0.00059923 Customer Transfer
 Confidential Customer Coin Transferee #8075    [Address on File]     5/30/2023 Bitcoin                             0.00085618 Customer Transfer
 Confidential Customer Coin Transferee #8076    [Address on File]      6/1/2023 Bitcoin                             0.00441469 Customer Transfer
 Confidential Customer Coin Transferee #8077    [Address on File]     5/22/2023 Bitcoin                                     0.05 Customer Transfer
 Confidential Customer Coin Transferee #8078    [Address on File]     6/19/2023 Bitcoin                             0.00041137 Customer Transfer
 Confidential Customer Coin Transferee #8079    [Address on File]     5/26/2023 Bitcoin                             0.01460633 Customer Transfer
 Confidential Customer Coin Transferee #8079    [Address on File]     5/16/2023 Bitcoin                             0.01442752 Customer Transfer
 Confidential Customer Coin Transferee #8080    [Address on File]     6/19/2023 Bitcoin                             0.00350927 Customer Transfer
 Confidential Customer Coin Transferee #8081    [Address on File]     5/21/2023 Bitcoin                              0.0005934 Customer Transfer
 Confidential Customer Coin Transferee #8082    [Address on File]     6/12/2023 Tether USD                              6354.26 Customer Transfer
 Confidential Customer Coin Transferee #8083    [Address on File]     6/12/2023 Bitcoin                             0.00190084 Customer Transfer
 Confidential Customer Coin Transferee #8083    [Address on File]     6/12/2023 Bitcoin                             0.00184376 Customer Transfer
 Confidential Customer Coin Transferee #8083    [Address on File]     5/24/2023 Bitcoin                             0.00067224 Customer Transfer
 Confidential Customer Coin Transferee #8083    [Address on File]     5/25/2023 Bitcoin                             0.00018669 Customer Transfer
 Confidential Customer Coin Transferee #8084    [Address on File]     6/19/2023 USDC Avalanche)                     694.019734 Customer Transfer
 Confidential Customer Coin Transferee #8084    [Address on File]      6/7/2023 USDC Avalanche)                     396.412152 Customer Transfer
 Confidential Customer Coin Transferee #8084    [Address on File]      6/7/2023 USDC Avalanche)                        396.3322 Customer Transfer
 Confidential Customer Coin Transferee #8084    [Address on File]      6/7/2023 USDC Avalanche)                        396.3322 Customer Transfer
 Confidential Customer Coin Transferee #8084    [Address on File]     5/17/2023 Ether                                  1.357693 Customer Transfer
 Confidential Customer Coin Transferee #8084    [Address on File]     5/17/2023 Ether                                  0.269555 Customer Transfer
 Confidential Customer Coin Transferee #8085    [Address on File]     6/20/2023 Bitcoin                              0.0249478 Customer Transfer
 Confidential Customer Coin Transferee #8086    [Address on File]     5/22/2023 Bitcoin                             0.00577456 Customer Transfer
 Confidential Customer Coin Transferee #8087    [Address on File]     5/25/2023 Bitcoin                                  0.0011 Customer Transfer
 Confidential Customer Coin Transferee #8088    [Address on File]     5/24/2023 Bitcoin                             0.00394313 Customer Transfer
 Confidential Customer Coin Transferee #8088    [Address on File]     5/16/2023 Bitcoin                             0.00188042 Customer Transfer
 Confidential Customer Coin Transferee #8089    [Address on File]     6/20/2023 Bitcoin                             0.00178104 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #8090    [Address on File]     5/24/2023 Bitcoin                                0.01513947 Customer Transfer
 Confidential Customer Coin Transferee #8091    [Address on File]     6/20/2023 Bitcoin                                0.00063899 Customer Transfer
 Confidential Customer Coin Transferee #8092    [Address on File]     6/16/2023 Bitcoin                                0.00384402 Customer Transfer
 Confidential Customer Coin Transferee #8093    [Address on File]     6/14/2023 Bitcoin                                0.00303271 Customer Transfer
 Confidential Customer Coin Transferee #8093    [Address on File]     5/22/2023 Bitcoin                                0.00182334 Customer Transfer
 Confidential Customer Coin Transferee #8094    [Address on File]     5/24/2023 Bitcoin                                0.13132499 Customer Transfer
 Confidential Customer Coin Transferee #8095    [Address on File]     5/30/2023 Bitcoin                                      0.0145 Customer Transfer
 Confidential Customer Coin Transferee #8095    [Address on File]     5/23/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #8096    [Address on File]     6/19/2023 Bitcoin                                0.00022619 Customer Transfer
 Confidential Customer Coin Transferee #8097    [Address on File]     6/19/2023 Bitcoin                                0.00057863 Customer Transfer
 Confidential Customer Coin Transferee #8098    [Address on File]     5/18/2023 Bitcoin                                0.00680467 Customer Transfer
 Confidential Customer Coin Transferee #8098    [Address on File]     6/19/2023 Bitcoin                                0.00333674 Customer Transfer
 Confidential Customer Coin Transferee #8099    [Address on File]     5/29/2023 Bitcoin                                0.00004015 Customer Transfer
 Confidential Customer Coin Transferee #8100    [Address on File]     6/19/2023 Bitcoin                                0.00025232 Customer Transfer
 Confidential Customer Coin Transferee #8101    [Address on File]     5/25/2023 Bitcoin                                0.00074591 Customer Transfer
 Confidential Customer Coin Transferee #8102    [Address on File]      6/7/2023 Bitcoin                                 0.0008109 Customer Transfer
 Confidential Customer Coin Transferee #8103    [Address on File]     5/27/2023 Bitcoin                                0.00351991 Customer Transfer
 Confidential Customer Coin Transferee #8103    [Address on File]     5/26/2023 Bitcoin                                    0.00171 Customer Transfer
 Confidential Customer Coin Transferee #8103    [Address on File]     5/17/2023 Bitcoin                                   0.001536 Customer Transfer
 Confidential Customer Coin Transferee #8103    [Address on File]     5/19/2023 Bitcoin                                   0.001114 Customer Transfer
 Confidential Customer Coin Transferee #8103    [Address on File]     5/19/2023 Bitcoin                                   0.000745 Customer Transfer
 Confidential Customer Coin Transferee #8103    [Address on File]     5/16/2023 Bitcoin                                    0.00054 Customer Transfer
 Confidential Customer Coin Transferee #8103    [Address on File]     5/18/2023 Bitcoin                                      0.0003 Customer Transfer
 Confidential Customer Coin Transferee #8104    [Address on File]     5/18/2023 Bitcoin                                 0.0512445 Customer Transfer
 Confidential Customer Coin Transferee #8105    [Address on File]     6/20/2023 Bitcoin                                0.00068462 Customer Transfer
 Confidential Customer Coin Transferee #8106    [Address on File]     5/18/2023 Bitcoin                                0.00118177 Customer Transfer
 Confidential Customer Coin Transferee #8106    [Address on File]     6/17/2023 Bitcoin                                0.00058654 Customer Transfer
 Confidential Customer Coin Transferee #8107    [Address on File]     5/19/2023 Bitcoin                                0.00694924 Customer Transfer
 Confidential Customer Coin Transferee #8107    [Address on File]     5/23/2023 Bitcoin                                 0.0018696 Customer Transfer
 Confidential Customer Coin Transferee #8107    [Address on File]     5/25/2023 Bitcoin                                0.00186256 Customer Transfer
 Confidential Customer Coin Transferee #8107    [Address on File]     5/24/2023 Bitcoin                                 0.0018616 Customer Transfer
 Confidential Customer Coin Transferee #8107    [Address on File]     5/22/2023 Bitcoin                                0.00185237 Customer Transfer
 Confidential Customer Coin Transferee #8107    [Address on File]     5/26/2023 Bitcoin                                0.00183453 Customer Transfer
 Confidential Customer Coin Transferee #8107    [Address on File]     5/21/2023 Bitcoin                                0.00181149 Customer Transfer
 Confidential Customer Coin Transferee #8107    [Address on File]     5/20/2023 Bitcoin                                0.00179832 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8108    [Address on File]     6/20/2023 Bitcoin                             0.00395838 Customer Transfer
 Confidential Customer Coin Transferee #8108    [Address on File]     6/12/2023 Bitcoin                             0.00386782 Customer Transfer
 Confidential Customer Coin Transferee #8108    [Address on File]      6/9/2023 Bitcoin                             0.00382929 Customer Transfer
 Confidential Customer Coin Transferee #8109    [Address on File]     5/20/2023 Bitcoin                             0.08396475 Customer Transfer
 Confidential Customer Coin Transferee #8110    [Address on File]     5/30/2023 Bitcoin                             0.02537109 Customer Transfer
 Confidential Customer Coin Transferee #8111    [Address on File]     5/21/2023 Bitcoin                             0.06775759 Customer Transfer
 Confidential Customer Coin Transferee #8112    [Address on File]     6/20/2023 Bitcoin                             0.00057885 Customer Transfer
 Confidential Customer Coin Transferee #8113    [Address on File]      6/8/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #8114    [Address on File]      6/8/2023 Bitcoin                             0.03402904 Customer Transfer
 Confidential Customer Coin Transferee #8114    [Address on File]     6/19/2023 Bitcoin                             0.00282443 Customer Transfer
 Confidential Customer Coin Transferee #8115    [Address on File]     6/19/2023 Bitcoin                             0.00201985 Customer Transfer
 Confidential Customer Coin Transferee #8116    [Address on File]     5/26/2023 Bitcoin                             0.00072943 Customer Transfer
 Confidential Customer Coin Transferee #8116    [Address on File]     5/20/2023 Bitcoin                             0.00072482 Customer Transfer
 Confidential Customer Coin Transferee #8116    [Address on File]     5/27/2023 Bitcoin                             0.00067755 Customer Transfer
 Confidential Customer Coin Transferee #8117    [Address on File]     6/20/2023 Bitcoin                             0.00145918 Customer Transfer
 Confidential Customer Coin Transferee #8118    [Address on File]     5/22/2023 Bitcoin                             0.01045076 Customer Transfer
 Confidential Customer Coin Transferee #8119    [Address on File]     6/19/2023 Bitcoin                             0.00090836 Customer Transfer
 Confidential Customer Coin Transferee #8120    [Address on File]     6/20/2023 Bitcoin                             0.00011702 Customer Transfer
 Confidential Customer Coin Transferee #8121    [Address on File]     6/20/2023 Bitcoin                             0.00207996 Customer Transfer
 Confidential Customer Coin Transferee #8122    [Address on File]     5/22/2023 Bitcoin                             0.00553525 Customer Transfer
 Confidential Customer Coin Transferee #8122    [Address on File]     5/18/2023 Bitcoin                             0.00261196 Customer Transfer
 Confidential Customer Coin Transferee #8122    [Address on File]     6/20/2023 Bitcoin                             0.00187052 Customer Transfer
 Confidential Customer Coin Transferee #8122    [Address on File]      6/8/2023 Bitcoin                              0.0018241 Customer Transfer
 Confidential Customer Coin Transferee #8123    [Address on File]     6/20/2023 Bitcoin                             0.01603895 Customer Transfer
 Confidential Customer Coin Transferee #8124    [Address on File]     6/12/2023 Bitcoin                             0.00770822 Customer Transfer
 Confidential Customer Coin Transferee #8124    [Address on File]     5/24/2023 Bitcoin                              0.0074157 Customer Transfer
 Confidential Customer Coin Transferee #8124    [Address on File]      6/7/2023 Bitcoin                             0.00386306 Customer Transfer
 Confidential Customer Coin Transferee #8124    [Address on File]     5/18/2023 Bitcoin                             0.00369438 Customer Transfer
 Confidential Customer Coin Transferee #8124    [Address on File]     5/22/2023 Bitcoin                              0.0036186 Customer Transfer
 Confidential Customer Coin Transferee #8125    [Address on File]     6/20/2023 Bitcoin                             0.00076635 Customer Transfer
 Confidential Customer Coin Transferee #8125    [Address on File]     5/31/2023 Bitcoin                             0.00075078 Customer Transfer
 Confidential Customer Coin Transferee #8126    [Address on File]     6/17/2023 Bitcoin                             0.03800389 Customer Transfer
 Confidential Customer Coin Transferee #8127    [Address on File]     6/19/2023 Bitcoin                             0.00099811 Customer Transfer
 Confidential Customer Coin Transferee #8128    [Address on File]     6/10/2023 Recover Value USD                       456.377 Customer Transfer
 Confidential Customer Coin Transferee #8128    [Address on File]     6/10/2023 USD Coin                           154.1053389 Customer Transfer
 Confidential Customer Coin Transferee #8129    [Address on File]     5/20/2023 Bitcoin                              0.0442024 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8130    [Address on File]     5/20/2023 Bitcoin                             0.01001802 Customer Transfer
 Confidential Customer Coin Transferee #8131    [Address on File]     5/24/2023 Bitcoin                             0.00184665 Customer Transfer
 Confidential Customer Coin Transferee #8131    [Address on File]     5/17/2023 Bitcoin                             0.00172646 Customer Transfer
 Confidential Customer Coin Transferee #8131    [Address on File]     5/17/2023 Bitcoin                             0.00169134 Customer Transfer
 Confidential Customer Coin Transferee #8132    [Address on File]     6/16/2023 Bitcoin                             0.01937606 Customer Transfer
 Confidential Customer Coin Transferee #8133    [Address on File]     5/19/2023 Bitcoin                             0.00362687 Customer Transfer
 Confidential Customer Coin Transferee #8134    [Address on File]     5/31/2023 Bitcoin                                   0.008 Customer Transfer
 Confidential Customer Coin Transferee #8134    [Address on File]      6/4/2023 Bitcoin                                   0.004 Customer Transfer
 Confidential Customer Coin Transferee #8135    [Address on File]     6/20/2023 Bitcoin                             0.00290067 Customer Transfer
 Confidential Customer Coin Transferee #8136    [Address on File]     5/19/2023 Bitcoin                             0.00106551 Customer Transfer
 Confidential Customer Coin Transferee #8136    [Address on File]     5/16/2023 Bitcoin                             0.00102579 Customer Transfer
 Confidential Customer Coin Transferee #8136    [Address on File]     5/21/2023 Bitcoin                              0.0003619 Customer Transfer
 Confidential Customer Coin Transferee #8137    [Address on File]      6/9/2023 Recover Value USD                      144.9226 Customer Transfer
 Confidential Customer Coin Transferee #8137    [Address on File]      6/9/2023 USD Coin                            18.2705005 Customer Transfer
 Confidential Customer Coin Transferee #8138    [Address on File]     6/19/2023 Bitcoin                             0.03181392 Customer Transfer
 Confidential Customer Coin Transferee #8139    [Address on File]     5/17/2023 Bitcoin                             0.01720492 Customer Transfer
 Confidential Customer Coin Transferee #8140    [Address on File]     6/20/2023 Bitcoin                             0.00748501 Customer Transfer
 Confidential Customer Coin Transferee #8141    [Address on File]     6/20/2023 Bitcoin                             0.00016315 Customer Transfer
 Confidential Customer Coin Transferee #8142    [Address on File]      6/9/2023 Bitcoin                             0.01116604 Customer Transfer
 Confidential Customer Coin Transferee #8143    [Address on File]     5/16/2023 Bitcoin                             0.00031074 Customer Transfer
 Confidential Customer Coin Transferee #8143    [Address on File]     5/25/2023 Bitcoin                             0.00015376 Customer Transfer
 Confidential Customer Coin Transferee #8143    [Address on File]      6/7/2023 Bitcoin                             0.00012585 Customer Transfer
 Confidential Customer Coin Transferee #8143    [Address on File]     5/22/2023 Bitcoin                             0.00011081 Customer Transfer
 Confidential Customer Coin Transferee #8143    [Address on File]     5/23/2023 Bitcoin                             0.00011039 Customer Transfer
 Confidential Customer Coin Transferee #8143    [Address on File]      6/2/2023 Bitcoin                             0.00008023 Customer Transfer
 Confidential Customer Coin Transferee #8143    [Address on File]     6/12/2023 Bitcoin                             0.00007494 Customer Transfer
 Confidential Customer Coin Transferee #8143    [Address on File]     5/29/2023 Bitcoin                             0.00007469 Customer Transfer
 Confidential Customer Coin Transferee #8143    [Address on File]      6/5/2023 Bitcoin                             0.00007318 Customer Transfer
 Confidential Customer Coin Transferee #8144    [Address on File]     5/19/2023 Bitcoin                             0.00439279 Customer Transfer
 Confidential Customer Coin Transferee #8145    [Address on File]     6/17/2023 Bitcoin                             0.00070273 Customer Transfer
 Confidential Customer Coin Transferee #8146    [Address on File]     5/20/2023 Bitcoin                             0.00736059 Customer Transfer
 Confidential Customer Coin Transferee #8146    [Address on File]     5/16/2023 Bitcoin                             0.00723572 Customer Transfer
 Confidential Customer Coin Transferee #8147    [Address on File]     6/19/2023 Bitcoin                             0.00076903 Customer Transfer
 Confidential Customer Coin Transferee #8148    [Address on File]      6/6/2023 Bitcoin                             0.00008057 Customer Transfer
 Confidential Customer Coin Transferee #8149    [Address on File]     5/29/2023 Bitcoin                             0.00091798 Customer Transfer
 Confidential Customer Coin Transferee #8150    [Address on File]     6/20/2023 Bitcoin                             0.00064877 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8151    [Address on File]     6/20/2023 Bitcoin                             0.00329248 Customer Transfer
 Confidential Customer Coin Transferee #8152    [Address on File]     6/20/2023 Bitcoin                              0.0008149 Customer Transfer
 Confidential Customer Coin Transferee #8153    [Address on File]     6/20/2023 Bitcoin                             0.00122145 Customer Transfer
 Confidential Customer Coin Transferee #8154    [Address on File]     6/19/2023 Bitcoin                             0.00036911 Customer Transfer
 Confidential Customer Coin Transferee #8155    [Address on File]     5/24/2023 Bitcoin                             0.00370513 Customer Transfer
 Confidential Customer Coin Transferee #8156    [Address on File]     5/29/2023 Bitcoin                              0.0035131 Customer Transfer
 Confidential Customer Coin Transferee #8156    [Address on File]      6/7/2023 Bitcoin                             0.00332006 Customer Transfer
 Confidential Customer Coin Transferee #8156    [Address on File]     5/25/2023 Bitcoin                             0.00301182 Customer Transfer
 Confidential Customer Coin Transferee #8156    [Address on File]      6/1/2023 Bitcoin                             0.00256742 Customer Transfer
 Confidential Customer Coin Transferee #8156    [Address on File]     6/20/2023 Bitcoin                             0.00219104 Customer Transfer
 Confidential Customer Coin Transferee #8156    [Address on File]     6/14/2023 Bitcoin                             0.00114522 Customer Transfer
 Confidential Customer Coin Transferee #8156    [Address on File]     5/30/2023 Bitcoin                             0.00108358 Customer Transfer
 Confidential Customer Coin Transferee #8156    [Address on File]      6/7/2023 Bitcoin                             0.00077795 Customer Transfer
 Confidential Customer Coin Transferee #8157    [Address on File]     5/16/2023 Bitcoin                             0.00277034 Customer Transfer
 Confidential Customer Coin Transferee #8157    [Address on File]     5/22/2023 Bitcoin                             0.00178579 Customer Transfer
 Confidential Customer Coin Transferee #8158    [Address on File]     5/21/2023 Bitcoin                             0.00203841 Customer Transfer
 Confidential Customer Coin Transferee #8159    [Address on File]     6/19/2023 Bitcoin                             0.00005759 Customer Transfer
 Confidential Customer Coin Transferee #8160    [Address on File]     5/22/2023 Bitcoin                             0.12684721 Customer Transfer
 Confidential Customer Coin Transferee #8161    [Address on File]     5/25/2023 Bitcoin                             0.03713039 Customer Transfer
 Confidential Customer Coin Transferee #8162    [Address on File]     6/19/2023 Bitcoin                             0.07211735 Customer Transfer
 Confidential Customer Coin Transferee #8163    [Address on File]      6/1/2023 Bitcoin                             0.02881153 Customer Transfer
 Confidential Customer Coin Transferee #8164    [Address on File]     5/19/2023 Bitcoin                             0.07976466 Customer Transfer
 Confidential Customer Coin Transferee #8164    [Address on File]     5/28/2023 Bitcoin                             0.06259334 Customer Transfer
 Confidential Customer Coin Transferee #8164    [Address on File]     5/30/2023 Bitcoin                              0.0286203 Customer Transfer
 Confidential Customer Coin Transferee #8165    [Address on File]     5/20/2023 Bitcoin                             0.00092387 Customer Transfer
 Confidential Customer Coin Transferee #8166    [Address on File]     5/17/2023 Bitcoin                                  0.0044 Customer Transfer
 Confidential Customer Coin Transferee #8167    [Address on File]     5/25/2023 Bitcoin                             0.00489851 Customer Transfer
 Confidential Customer Coin Transferee #8167    [Address on File]     5/30/2023 Bitcoin                             0.00180056 Customer Transfer
 Confidential Customer Coin Transferee #8167    [Address on File]     5/17/2023 Bitcoin                             0.00111831 Customer Transfer
 Confidential Customer Coin Transferee #8167    [Address on File]     5/30/2023 Bitcoin                              0.0003595 Customer Transfer
 Confidential Customer Coin Transferee #8168    [Address on File]     5/17/2023 Bitcoin                                 0.00214 Customer Transfer
 Confidential Customer Coin Transferee #8169    [Address on File]     5/26/2023 Bitcoin                             0.00112402 Customer Transfer
 Confidential Customer Coin Transferee #8170    [Address on File]     5/31/2023 Bitcoin                             0.00028655 Customer Transfer
 Confidential Customer Coin Transferee #8171    [Address on File]     6/20/2023 Bitcoin                             0.00058724 Customer Transfer
 Confidential Customer Coin Transferee #8172    [Address on File]     6/12/2023 Bitcoin                              0.1914581 Customer Transfer
 Confidential Customer Coin Transferee #8172    [Address on File]     6/13/2023 Bitcoin                             0.11517545 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8173    [Address on File]     6/16/2023 Bitcoin                             0.00421857 Customer Transfer
 Confidential Customer Coin Transferee #8173    [Address on File]     5/24/2023 Bitcoin                             0.00140809 Customer Transfer
 Confidential Customer Coin Transferee #8174    [Address on File]     6/19/2023 Bitcoin                              0.0217151 Customer Transfer
 Confidential Customer Coin Transferee #8175    [Address on File]     6/20/2023 Bitcoin                             0.00598239 Customer Transfer
 Confidential Customer Coin Transferee #8176    [Address on File]     5/24/2023 USDC Avalanche)                      48.000399 Customer Transfer
 Confidential Customer Coin Transferee #8177    [Address on File]     6/17/2023 USD Coin                            298.714242 Customer Transfer
 Confidential Customer Coin Transferee #8177    [Address on File]     6/15/2023 USD Coin                              9.583291 Customer Transfer
 Confidential Customer Coin Transferee #8178    [Address on File]     6/19/2023 Bitcoin                             0.00005808 Customer Transfer
 Confidential Customer Coin Transferee #8179    [Address on File]     5/24/2023 Bitcoin                             0.03937491 Customer Transfer
 Confidential Customer Coin Transferee #8180    [Address on File]     6/19/2023 Bitcoin                             0.00019185 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/27/2023 Bitcoin                             0.00186454 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/30/2023 Bitcoin                             0.00182965 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/27/2023 Bitcoin                             0.00178392 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/24/2023 Bitcoin                              0.0016718 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/19/2023 Bitcoin                             0.00166478 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/20/2023 Bitcoin                             0.00162859 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/22/2023 Bitcoin                             0.00090627 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/30/2023 Bitcoin                             0.00089764 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/20/2023 Bitcoin                             0.00084028 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/22/2023 Bitcoin                              0.0008272 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/29/2023 Bitcoin                              0.0007179 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/23/2023 Bitcoin                             0.00049669 Customer Transfer
 Confidential Customer Coin Transferee #8181    [Address on File]     5/26/2023 Bitcoin                             0.00036153 Customer Transfer
 Confidential Customer Coin Transferee #8182    [Address on File]     5/28/2023 Bitcoin                             0.03669656 Customer Transfer
 Confidential Customer Coin Transferee #8183    [Address on File]     5/25/2023 Bitcoin                             0.01165166 Customer Transfer
 Confidential Customer Coin Transferee #8184    [Address on File]     5/30/2023 Bitcoin                             0.00028575 Customer Transfer
 Confidential Customer Coin Transferee #8184    [Address on File]     5/30/2023 Bitcoin                             0.00024679 Customer Transfer
 Confidential Customer Coin Transferee #8185    [Address on File]     5/26/2023 Bitcoin                             0.00103577 Customer Transfer
 Confidential Customer Coin Transferee #8185    [Address on File]     5/18/2023 Bitcoin                             0.00044134 Customer Transfer
 Confidential Customer Coin Transferee #8186    [Address on File]     5/16/2023 Bitcoin                             0.00284207 Customer Transfer
 Confidential Customer Coin Transferee #8186    [Address on File]     5/31/2023 Bitcoin                              0.0027926 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/28/2023 Bitcoin                              0.0178502 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/28/2023 Bitcoin                             0.01441027 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/27/2023 Bitcoin                             0.00931755 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/19/2023 Bitcoin                             0.00919011 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/28/2023 Bitcoin                             0.00917333 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/26/2023 Bitcoin                             0.00558803 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/27/2023 Bitcoin                             0.00558058 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/19/2023 Bitcoin                             0.00555547 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/27/2023 Bitcoin                             0.00372658 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/27/2023 Bitcoin                              0.0037065 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/18/2023 Bitcoin                             0.00366589 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/25/2023 Bitcoin                             0.00325944 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/20/2023 Bitcoin                             0.00243356 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/16/2023 Bitcoin                             0.00182744 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/22/2023 Bitcoin                             0.00092329 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/25/2023 Bitcoin                             0.00065613 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/26/2023 Bitcoin                             0.00056605 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/25/2023 Bitcoin                             0.00038043 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/25/2023 Bitcoin                             0.00037556 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/25/2023 Bitcoin                             0.00037519 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/25/2023 Bitcoin                             0.00037512 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/25/2023 Bitcoin                             0.00022266 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/25/2023 Bitcoin                             0.00018756 Customer Transfer
 Confidential Customer Coin Transferee #8187    [Address on File]     5/22/2023 Bitcoin                             0.00017683 Customer Transfer
 Confidential Customer Coin Transferee #8188    [Address on File]     5/21/2023 Bitcoin                             0.00388044 Customer Transfer
 Confidential Customer Coin Transferee #8189    [Address on File]     5/16/2023 Bitcoin                             0.00668319 Customer Transfer
 Confidential Customer Coin Transferee #8189    [Address on File]     6/20/2023 Bitcoin                                0.004388 Customer Transfer
 Confidential Customer Coin Transferee #8190    [Address on File]     5/18/2023 Bitcoin                              0.0053166 Customer Transfer
 Confidential Customer Coin Transferee #8191    [Address on File]     5/16/2023 Bitcoin                             0.01826999 Customer Transfer
 Confidential Customer Coin Transferee #8192    [Address on File]     5/17/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #8193    [Address on File]     5/28/2023 Bitcoin                             0.00182848 Customer Transfer
 Confidential Customer Coin Transferee #8194    [Address on File]     5/16/2023 Bitcoin                             0.00735103 Customer Transfer
 Confidential Customer Coin Transferee #8195    [Address on File]     5/17/2023 Bitcoin                             0.00275281 Customer Transfer
 Confidential Customer Coin Transferee #8196    [Address on File]     5/22/2023 Bitcoin                             0.00129223 Customer Transfer
 Confidential Customer Coin Transferee #8196    [Address on File]     5/20/2023 Bitcoin                             0.00102728 Customer Transfer
 Confidential Customer Coin Transferee #8196    [Address on File]     5/25/2023 Bitcoin                              0.0009052 Customer Transfer
 Confidential Customer Coin Transferee #8197    [Address on File]     5/17/2023 Bitcoin                             0.00556081 Customer Transfer
 Confidential Customer Coin Transferee #8198    [Address on File]     5/20/2023 Bitcoin                             0.00151157 Customer Transfer
 Confidential Customer Coin Transferee #8199    [Address on File]     5/24/2023 Bitcoin                             0.00113349 Customer Transfer
 Confidential Customer Coin Transferee #8199    [Address on File]     5/23/2023 Bitcoin                             0.00073055 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/20/2023 Bitcoin                             0.00073604 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/27/2023 Bitcoin                             0.00020788 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/22/2023 Bitcoin                             0.00020353 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/27/2023 Bitcoin                             0.00020317 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/30/2023 Bitcoin                             0.00019345 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/25/2023 Bitcoin                             0.00018877 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/18/2023 Bitcoin                             0.00018617 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/23/2023 Bitcoin                             0.00018401 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/20/2023 Bitcoin                             0.00018376 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/26/2023 Bitcoin                             0.00018163 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/25/2023 Bitcoin                             0.00017432 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/27/2023 Bitcoin                             0.00015597 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/20/2023 Bitcoin                             0.00014681 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/28/2023 Bitcoin                             0.00013076 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/22/2023 Bitcoin                             0.00012843 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/25/2023 Bitcoin                             0.00012321 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/16/2023 Bitcoin                             0.00011779 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/16/2023 Bitcoin                             0.00011249 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/20/2023 Bitcoin                             0.00006689 Customer Transfer
 Confidential Customer Coin Transferee #8200    [Address on File]     5/24/2023 Bitcoin                             0.00003433 Customer Transfer
 Confidential Customer Coin Transferee #8201    [Address on File]     5/27/2023 Bitcoin                             0.00939474 Customer Transfer
 Confidential Customer Coin Transferee #8202    [Address on File]     5/17/2023 Bitcoin                             0.00036502 Customer Transfer
 Confidential Customer Coin Transferee #8203    [Address on File]     5/17/2023 Bitcoin                              0.0003703 Customer Transfer
 Confidential Customer Coin Transferee #8204    [Address on File]     6/16/2023 Bitcoin                             0.00388349 Customer Transfer
 Confidential Customer Coin Transferee #8204    [Address on File]     6/16/2023 Bitcoin                             0.00116931 Customer Transfer
 Confidential Customer Coin Transferee #8205    [Address on File]     5/20/2023 Bitcoin                             0.01868023 Customer Transfer
 Confidential Customer Coin Transferee #8206    [Address on File]     5/17/2023 Bitcoin                             0.01102092 Customer Transfer
 Confidential Customer Coin Transferee #8206    [Address on File]     5/24/2023 Bitcoin                             0.00590179 Customer Transfer
 Confidential Customer Coin Transferee #8207    [Address on File]     5/16/2023 Bitcoin                             0.01171403 Customer Transfer
 Confidential Customer Coin Transferee #8208    [Address on File]     5/21/2023 Bitcoin                             0.00062219 Customer Transfer
 Confidential Customer Coin Transferee #8208    [Address on File]     5/21/2023 Bitcoin                             0.00058564 Customer Transfer
 Confidential Customer Coin Transferee #8208    [Address on File]     5/21/2023 Bitcoin                             0.00055051 Customer Transfer
 Confidential Customer Coin Transferee #8208    [Address on File]     5/29/2023 Bitcoin                             0.00006403 Customer Transfer
 Confidential Customer Coin Transferee #8209    [Address on File]     5/18/2023 Bitcoin                                     0.09 Customer Transfer
 Confidential Customer Coin Transferee #8209    [Address on File]     5/22/2023 Bitcoin                                 0.01862 Customer Transfer
 Confidential Customer Coin Transferee #8210    [Address on File]     5/16/2023 Bitcoin                             0.01120004 Customer Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/25/2023 Bitcoin                             0.00204618 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/18/2023 Bitcoin                              0.0018175 Customer Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/25/2023 Bitcoin                             0.00075964 Customer Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/20/2023 Bitcoin                             0.00037003 Customer Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/19/2023 Bitcoin                             0.00036293 Customer Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/23/2023 Bitcoin                             0.00033969 Customer Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/27/2023 Bitcoin                             0.00026065 Customer Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/31/2023 Bitcoin                             0.00025524 Customer Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/27/2023 Bitcoin                             0.00018779 Customer Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/24/2023 Bitcoin                             0.00018674 Customer Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/17/2023 Bitcoin                             0.00018481 Customer Transfer
 Confidential Customer Coin Transferee #8211    [Address on File]     5/21/2023 Bitcoin                             0.00015026 Customer Transfer
 Confidential Customer Coin Transferee #8212    [Address on File]     5/26/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/24/2023 Bitcoin                                0.001515 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/23/2023 Bitcoin                                 0.00145 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/18/2023 Bitcoin                                0.001349 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/26/2023 Bitcoin                                 0.00118 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/16/2023 Bitcoin                                 0.00111 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/22/2023 Bitcoin                                0.001017 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/25/2023 Bitcoin                                 0.00099 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/23/2023 Bitcoin                                 0.00091 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/24/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/20/2023 Bitcoin                                 0.00079 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/20/2023 Bitcoin                                 0.00078 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/31/2023 Bitcoin                                 0.00072 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/24/2023 Bitcoin                                 0.00071 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/19/2023 Bitcoin                                   0.0007 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/18/2023 Bitcoin                                 0.00069 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/24/2023 Bitcoin                                 0.00068 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/23/2023 Bitcoin                                0.000678 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/22/2023 Bitcoin                                0.000668 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/21/2023 Bitcoin                                 0.00065 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/19/2023 Bitcoin                                0.000619 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/19/2023 Bitcoin                                 0.00061 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/23/2023 Bitcoin                                0.000599 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/29/2023 Bitcoin                                 0.00058 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/16/2023 Bitcoin                                 0.00055 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/17/2023 Bitcoin                                0.00055 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/19/2023 Bitcoin                                0.00055 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/31/2023 Bitcoin                                0.00055 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/27/2023 Bitcoin                               0.000543 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/26/2023 Bitcoin                               0.000494 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/19/2023 Bitcoin                                0.00043 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/20/2023 Bitcoin                                0.00037 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/25/2023 Bitcoin                               0.000355 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/16/2023 Bitcoin                                0.00035 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/17/2023 Bitcoin                                0.00035 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/31/2023 Bitcoin                               0.000339 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/16/2023 Bitcoin                                0.00033 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/18/2023 Bitcoin                                  0.0003 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/20/2023 Bitcoin                                0.00029 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/23/2023 Bitcoin                               0.000284 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/21/2023 Bitcoin                                0.00027 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/25/2023 Bitcoin                                0.00026 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/16/2023 Bitcoin                                0.00022 Customer Transfer
 Confidential Customer Coin Transferee #8213    [Address on File]     5/17/2023 Bitcoin                               0.000175 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/24/2023 Bitcoin                                0.00189178 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/26/2023 Bitcoin                                0.00185645 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/21/2023 Bitcoin                                0.00128816 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/26/2023 Bitcoin                                0.00112005 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/16/2023 Bitcoin                                0.00095913 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/22/2023 Bitcoin                                0.00092883 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/19/2023 Bitcoin                                0.00092543 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/17/2023 Bitcoin                                0.00092406 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/17/2023 Bitcoin                                0.00092369 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/23/2023 Bitcoin                                0.00072866 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/28/2023 Bitcoin                                0.00072155 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/19/2023 Bitcoin                                0.00055256 Customer Transfer

 Confidential Customer Coin Transferee #8214    [Address on File]     5/29/2023 Bitcoin                                0.00035583 Customer Transfer
 Confidential Customer Coin Transferee #8215    [Address on File]     5/24/2023 Bitcoin                                0.03019355 Customer Transfer
 Confidential Customer Coin Transferee #8216    [Address on File]     5/26/2023 Bitcoin                                 0.0740038 Customer Transfer
 Confidential Customer Coin Transferee #8217    [Address on File]     5/17/2023 Bitcoin                                0.00889659 Customer Transfer
 Confidential Customer Coin Transferee #8218    [Address on File]     5/26/2023 Bitcoin                                      0.1307 Customer Transfer
 Confidential Customer Coin Transferee #8218    [Address on File]     5/28/2023 Bitcoin                                      0.1101 Customer Transfer
 Confidential Customer Coin Transferee #8218    [Address on File]     5/27/2023 Bitcoin                                       0.102 Customer Transfer
 Confidential Customer Coin Transferee #8218    [Address on File]     5/17/2023 Bitcoin                                   0.092258 Customer Transfer
 Confidential Customer Coin Transferee #8219    [Address on File]     5/22/2023 Bitcoin                                0.00369878 Customer Transfer
 Confidential Customer Coin Transferee #8220    [Address on File]     5/16/2023 Bitcoin                                         0.22 Customer Transfer
 Confidential Customer Coin Transferee #8221    [Address on File]     6/19/2023 Bitcoin                                0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #8222    [Address on File]     5/19/2023 Bitcoin                                 0.0185769 Customer Transfer
 Confidential Customer Coin Transferee #8222    [Address on File]     5/22/2023 Bitcoin                                       0.003 Customer Transfer
 Confidential Customer Coin Transferee #8223    [Address on File]     5/31/2023 Bitcoin                                       0.108 Customer Transfer
 Confidential Customer Coin Transferee #8223    [Address on File]     5/26/2023 Bitcoin                                0.09886944 Customer Transfer
 Confidential Customer Coin Transferee #8223    [Address on File]     5/25/2023 Bitcoin                                0.07060411 Customer Transfer
 Confidential Customer Coin Transferee #8223    [Address on File]     5/22/2023 Bitcoin                                0.05563298 Customer Transfer
 Confidential Customer Coin Transferee #8223    [Address on File]     5/23/2023 Bitcoin                                0.05556192 Customer Transfer
 Confidential Customer Coin Transferee #8223    [Address on File]     5/23/2023 Bitcoin                                0.03603754 Customer Transfer
 Confidential Customer Coin Transferee #8223    [Address on File]     5/22/2023 Bitcoin                                0.03224221 Customer Transfer
 Confidential Customer Coin Transferee #8223    [Address on File]     5/27/2023 Bitcoin                                0.02234252 Customer Transfer
 Confidential Customer Coin Transferee #8223    [Address on File]     5/31/2023 Bitcoin                                0.01765584 Customer Transfer
 Confidential Customer Coin Transferee #8223    [Address on File]     5/31/2023 Bitcoin                                0.01337365 Customer Transfer
 Confidential Customer Coin Transferee #8224    [Address on File]     5/18/2023 Bitcoin                                0.00254856 Customer Transfer
 Confidential Customer Coin Transferee #8224    [Address on File]     5/25/2023 Bitcoin                                0.00132783 Customer Transfer
 Confidential Customer Coin Transferee #8225    [Address on File]     5/30/2023 Bitcoin                                0.00141752 Customer Transfer
 Confidential Customer Coin Transferee #8226    [Address on File]     5/30/2023 Bitcoin                                0.00105792 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8227    [Address on File]     5/16/2023 Bitcoin                              0.0004414 Customer Transfer
 Confidential Customer Coin Transferee #8227    [Address on File]     5/28/2023 Bitcoin                             0.00033458 Customer Transfer
 Confidential Customer Coin Transferee #8227    [Address on File]     5/25/2023 Bitcoin                             0.00033444 Customer Transfer
 Confidential Customer Coin Transferee #8227    [Address on File]     5/22/2023 Bitcoin                             0.00033223 Customer Transfer
 Confidential Customer Coin Transferee #8227    [Address on File]     5/19/2023 Bitcoin                             0.00033152 Customer Transfer
 Confidential Customer Coin Transferee #8227    [Address on File]     5/31/2023 Bitcoin                             0.00032391 Customer Transfer
 Confidential Customer Coin Transferee #8228    [Address on File]     5/31/2023 Bitcoin                             0.00366666 Customer Transfer
 Confidential Customer Coin Transferee #8229    [Address on File]     5/27/2023 Bitcoin                             0.00023397 Customer Transfer
 Confidential Customer Coin Transferee #8229    [Address on File]     5/16/2023 Bitcoin                             0.00015573 Customer Transfer
 Confidential Customer Coin Transferee #8230    [Address on File]     5/27/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #8230    [Address on File]     5/21/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #8231    [Address on File]     5/26/2023 Bitcoin                             0.08949182 Customer Transfer
 Confidential Customer Coin Transferee #8232    [Address on File]     5/25/2023 Bitcoin                             0.01062373 Customer Transfer
 Confidential Customer Coin Transferee #8233    [Address on File]     5/22/2023 Bitcoin                             0.05001325 Customer Transfer
 Confidential Customer Coin Transferee #8234    [Address on File]     6/20/2023 Bitcoin                             0.02236262 Customer Transfer
 Confidential Customer Coin Transferee #8235    [Address on File]     6/11/2023 USD Coin                            995.832083 Customer Transfer
 Confidential Customer Coin Transferee #8235    [Address on File]     6/11/2023 USDC Avalanche)                     496.311844 Customer Transfer
 Confidential Customer Coin Transferee #8235    [Address on File]     5/26/2023 USDC Avalanche)                     496.221889 Customer Transfer
 Confidential Customer Coin Transferee #8235    [Address on File]     5/25/2023 USDC Avalanche)                     496.151924 Customer Transfer
 Confidential Customer Coin Transferee #8235    [Address on File]     6/10/2023 USDC Avalanche)                        496.1427 Customer Transfer
 Confidential Customer Coin Transferee #8235    [Address on File]     5/27/2023 USDC Avalanche)                     496.052763 Customer Transfer
 Confidential Customer Coin Transferee #8236    [Address on File]     5/17/2023 Bitcoin                             0.00689163 Customer Transfer
 Confidential Customer Coin Transferee #8237    [Address on File]     5/19/2023 Bitcoin                             0.02438745 Customer Transfer
 Confidential Customer Coin Transferee #8237    [Address on File]     5/16/2023 Bitcoin                              0.0151056 Customer Transfer
 Confidential Customer Coin Transferee #8237    [Address on File]     5/25/2023 Bitcoin                             0.00873672 Customer Transfer
 Confidential Customer Coin Transferee #8238    [Address on File]     6/20/2023 Bitcoin                             0.00293171 Customer Transfer
 Confidential Customer Coin Transferee #8239    [Address on File]      6/9/2023 Bitcoin                             0.00149278 Customer Transfer
 Confidential Customer Coin Transferee #8240    [Address on File]     6/20/2023 Bitcoin                             0.00068794 Customer Transfer
 Confidential Customer Coin Transferee #8241    [Address on File]     5/20/2023 Bitcoin                             0.18684457 Customer Transfer
 Confidential Customer Coin Transferee #8241    [Address on File]     5/24/2023 Bitcoin                             0.18131053 Customer Transfer
 Confidential Customer Coin Transferee #8241    [Address on File]     5/20/2023 Bitcoin                             0.16447411 Customer Transfer
 Confidential Customer Coin Transferee #8242    [Address on File]     6/20/2023 Bitcoin                             0.00005807 Customer Transfer
 Confidential Customer Coin Transferee #8243    [Address on File]     6/14/2023 USD Coin                                  14.95 Customer Transfer
 Confidential Customer Coin Transferee #8244    [Address on File]     6/14/2023 Bitcoin                             0.00021989 Customer Transfer
 Confidential Customer Coin Transferee #8244    [Address on File]     5/16/2023 Bitcoin                             0.00019402 Customer Transfer
 Confidential Customer Coin Transferee #8244    [Address on File]      6/6/2023 Bitcoin                             0.00019214 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8244    [Address on File]     5/29/2023 Bitcoin                             0.00006333 Customer Transfer
 Confidential Customer Coin Transferee #8244    [Address on File]      6/6/2023 Bitcoin                             0.00004495 Customer Transfer
 Confidential Customer Coin Transferee #8245    [Address on File]      6/8/2023 Ether                               0.00278885 Customer Transfer
 Confidential Customer Coin Transferee #8246    [Address on File]     6/19/2023 Bitcoin                             0.00151701 Customer Transfer
 Confidential Customer Coin Transferee #8247    [Address on File]     6/20/2023 Bitcoin                             0.00005827 Customer Transfer
 Confidential Customer Coin Transferee #8248    [Address on File]     6/21/2023 Bitcoin                             0.00011619 Customer Transfer
 Confidential Customer Coin Transferee #8249    [Address on File]     5/21/2023 Bitcoin                             0.01048635 Customer Transfer
 Confidential Customer Coin Transferee #8250    [Address on File]     6/19/2023 Bitcoin                             0.00536719 Customer Transfer
 Confidential Customer Coin Transferee #8251    [Address on File]      6/7/2023 Bitcoin                             0.00240118 Customer Transfer
 Confidential Customer Coin Transferee #8251    [Address on File]     6/18/2023 Bitcoin                             0.00081201 Customer Transfer
 Confidential Customer Coin Transferee #8252    [Address on File]     5/22/2023 Bitcoin                             0.21805248 Customer Transfer
 Confidential Customer Coin Transferee #8253    [Address on File]     6/19/2023 Bitcoin                             0.00010144 Customer Transfer
 Confidential Customer Coin Transferee #8254    [Address on File]     5/16/2023 Bitcoin                             0.04493065 Customer Transfer
 Confidential Customer Coin Transferee #8254    [Address on File]     5/16/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #8255    [Address on File]     5/23/2023 Bitcoin                             0.03869718 Customer Transfer
 Confidential Customer Coin Transferee #8256    [Address on File]     6/20/2023 Bitcoin                             0.00796876 Customer Transfer
 Confidential Customer Coin Transferee #8257    [Address on File]     5/18/2023 Bitcoin                             0.18627538 Customer Transfer
 Confidential Customer Coin Transferee #8258    [Address on File]      6/6/2023 Bitcoin                             0.01000728 Customer Transfer
 Confidential Customer Coin Transferee #8258    [Address on File]     6/19/2023 Bitcoin                             0.00004645 Customer Transfer
 Confidential Customer Coin Transferee #8259    [Address on File]     6/20/2023 Bitcoin                             0.00003539 Customer Transfer
 Confidential Customer Coin Transferee #8260    [Address on File]     6/19/2023 Bitcoin                             0.00197849 Customer Transfer
 Confidential Customer Coin Transferee #8261    [Address on File]     5/30/2023 Bitcoin                             0.00136111 Customer Transfer
 Confidential Customer Coin Transferee #8262    [Address on File]     5/28/2023 USDC Avalanche)                     396.862196 Customer Transfer
 Confidential Customer Coin Transferee #8262    [Address on File]     6/10/2023 Cosmos Hub ATOM)                     43.554464 Customer Transfer
 Confidential Customer Coin Transferee #8262    [Address on File]     6/17/2023 Cosmos Hub ATOM)                     33.428029 Customer Transfer
 Confidential Customer Coin Transferee #8263    [Address on File]     6/19/2023 Bitcoin                                0.000585 Customer Transfer
 Confidential Customer Coin Transferee #8264    [Address on File]     6/20/2023 Bitcoin                             0.00694803 Customer Transfer
 Confidential Customer Coin Transferee #8265    [Address on File]     6/20/2023 Bitcoin                             0.00005957 Customer Transfer
 Confidential Customer Coin Transferee #8266    [Address on File]     6/20/2023 Bitcoin                             0.00029302 Customer Transfer
 Confidential Customer Coin Transferee #8267    [Address on File]     5/19/2023 Bitcoin                             0.01115798 Customer Transfer
 Confidential Customer Coin Transferee #8268    [Address on File]     6/19/2023 Bitcoin                             0.00869257 Customer Transfer
 Confidential Customer Coin Transferee #8269    [Address on File]     6/12/2023 Bitcoin                             0.00337508 Customer Transfer
 Confidential Customer Coin Transferee #8270    [Address on File]     5/19/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #8271    [Address on File]     5/24/2023 Bitcoin                             0.01868848 Customer Transfer
 Confidential Customer Coin Transferee #8272    [Address on File]     6/12/2023 Bitcoin                             0.01155413 Customer Transfer
 Confidential Customer Coin Transferee #8272    [Address on File]     6/19/2023 Bitcoin                             0.00776258 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8273    [Address on File]     6/12/2023 USDC Solana)                                 20 Customer Transfer
 Confidential Customer Coin Transferee #8274    [Address on File]     6/19/2023 Bitcoin                             0.00005822 Customer Transfer
 Confidential Customer Coin Transferee #8275    [Address on File]     6/19/2023 Bitcoin                             0.00005821 Customer Transfer
 Confidential Customer Coin Transferee #8276    [Address on File]     5/25/2023 Bitcoin                             0.01288887 Customer Transfer
 Confidential Customer Coin Transferee #8276    [Address on File]     5/18/2023 Bitcoin                             0.01041452 Customer Transfer
 Confidential Customer Coin Transferee #8277    [Address on File]     5/24/2023 Bitcoin                             0.00509388 Customer Transfer
 Confidential Customer Coin Transferee #8277    [Address on File]     5/18/2023 Bitcoin                             0.00483438 Customer Transfer
 Confidential Customer Coin Transferee #8278    [Address on File]     5/21/2023 Bitcoin                             0.01073797 Customer Transfer
 Confidential Customer Coin Transferee #8279    [Address on File]     5/22/2023 Bitcoin                             0.04064939 Customer Transfer
 Confidential Customer Coin Transferee #8280    [Address on File]     5/22/2023 Bitcoin                             0.00741243 Customer Transfer
 Confidential Customer Coin Transferee #8281    [Address on File]     5/16/2023 Bitcoin                             0.00139741 Customer Transfer
 Confidential Customer Coin Transferee #8282    [Address on File]     5/23/2023 Bitcoin                             0.03667799 Customer Transfer
 Confidential Customer Coin Transferee #8283    [Address on File]     5/22/2023 Bitcoin                             0.00247042 Customer Transfer
 Confidential Customer Coin Transferee #8283    [Address on File]     5/29/2023 Bitcoin                             0.00240876 Customer Transfer
 Confidential Customer Coin Transferee #8284    [Address on File]     5/28/2023 Bitcoin                             0.00730984 Customer Transfer
 Confidential Customer Coin Transferee #8285    [Address on File]     5/23/2023 Bitcoin                             0.04424444 Customer Transfer
 Confidential Customer Coin Transferee #8285    [Address on File]     6/17/2023 Bitcoin                                0.019929 Customer Transfer
 Confidential Customer Coin Transferee #8285    [Address on File]      6/7/2023 Bitcoin                             0.01838985 Customer Transfer
 Confidential Customer Coin Transferee #8286    [Address on File]     6/20/2023 Bitcoin                             0.00445651 Customer Transfer
 Confidential Customer Coin Transferee #8287    [Address on File]     6/19/2023 Bitcoin                             0.00039825 Customer Transfer
 Confidential Customer Coin Transferee #8288    [Address on File]     6/20/2023 Bitcoin                             0.00036702 Customer Transfer
 Confidential Customer Coin Transferee #8289    [Address on File]      6/6/2023 Bitcoin                             0.00366873 Customer Transfer
 Confidential Customer Coin Transferee #8289    [Address on File]     5/17/2023 Bitcoin                             0.00127935 Customer Transfer
 Confidential Customer Coin Transferee #8289    [Address on File]     5/24/2023 Bitcoin                             0.00126311 Customer Transfer
 Confidential Customer Coin Transferee #8290    [Address on File]     5/24/2023 Cosmos Hub ATOM)                     28.929595 Customer Transfer

 Confidential Customer Coin Transferee #8291    [Address on File]     6/19/2023 Ether                                  0.05816591 Customer Transfer

 Confidential Customer Coin Transferee #8291    [Address on File]      6/8/2023 Ether                                  0.05435846 Customer Transfer

 Confidential Customer Coin Transferee #8291    [Address on File]      6/2/2023 Ether                                  0.01075251 Customer Transfer

 Confidential Customer Coin Transferee #8291    [Address on File]      6/2/2023 Ether                                  0.00805668 Customer Transfer

 Confidential Customer Coin Transferee #8291    [Address on File]     5/18/2023 Ether                                  0.00274193 Customer Transfer



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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count          or Transfer

 Confidential Customer Coin Transferee #8291    [Address on File]     6/20/2023 Bitcoin                                0.00028726 Customer Transfer
 Confidential Customer Coin Transferee #8292    [Address on File]     6/19/2023 Bitcoin                                0.00396526 Customer Transfer
 Confidential Customer Coin Transferee #8293    [Address on File]     5/31/2023 Bitcoin                                 0.0146705 Customer Transfer
 Confidential Customer Coin Transferee #8294    [Address on File]     5/20/2023 Bitcoin                                0.01442027 Customer Transfer
 Confidential Customer Coin Transferee #8295    [Address on File]     6/19/2023 Bitcoin                                0.00021137 Customer Transfer
 Confidential Customer Coin Transferee #8296    [Address on File]      6/8/2023 Bitcoin                                0.00169787 Customer Transfer
 Confidential Customer Coin Transferee #8297    [Address on File]     5/25/2023 Bitcoin                                0.01340935 Customer Transfer
 Confidential Customer Coin Transferee #8298    [Address on File]     6/20/2023 Bitcoin                                0.00132135 Customer Transfer
 Confidential Customer Coin Transferee #8299    [Address on File]     6/19/2023 Bitcoin                                0.00936334 Customer Transfer
 Confidential Customer Coin Transferee #8300    [Address on File]     5/18/2023 Bitcoin                                     0.0016 Customer Transfer
 Confidential Customer Coin Transferee #8301    [Address on File]      6/8/2023 Bitcoin                                0.06942343 Customer Transfer
 Confidential Customer Coin Transferee #8302    [Address on File]     5/23/2023 Bitcoin                                 0.0741896 Customer Transfer
 Confidential Customer Coin Transferee #8303    [Address on File]     6/15/2023 Bitcoin                                0.00056537 Customer Transfer
 Confidential Customer Coin Transferee #8304    [Address on File]     6/20/2023 Bitcoin                                0.00176851 Customer Transfer
 Confidential Customer Coin Transferee #8305    [Address on File]     5/26/2023 Bitcoin                                0.00185263 Customer Transfer
 Confidential Customer Coin Transferee #8306    [Address on File]      6/6/2023 Bitcoin                                 0.0010773 Customer Transfer
 Confidential Customer Coin Transferee #8307    [Address on File]     6/19/2023 Bitcoin                                0.00470054 Customer Transfer
 Confidential Customer Coin Transferee #8308    [Address on File]     6/19/2023 Bitcoin                                0.00387624 Customer Transfer
 Confidential Customer Coin Transferee #8309    [Address on File]     5/22/2023 Bitcoin                                0.01069804 Customer Transfer
 Confidential Customer Coin Transferee #8309    [Address on File]     5/29/2023 Bitcoin                                0.01003645 Customer Transfer
 Confidential Customer Coin Transferee #8309    [Address on File]      6/7/2023 Bitcoin                                0.00569735 Customer Transfer
 Confidential Customer Coin Transferee #8309    [Address on File]     6/17/2023 Bitcoin                                0.00384784 Customer Transfer
 Confidential Customer Coin Transferee #8309    [Address on File]     5/31/2023 Bitcoin                                0.00361444 Customer Transfer
 Confidential Customer Coin Transferee #8310    [Address on File]     6/20/2023 Bitcoin                                 0.0002891 Customer Transfer
 Confidential Customer Coin Transferee #8311    [Address on File]     5/25/2023 Bitcoin                                0.00242005 Customer Transfer
 Confidential Customer Coin Transferee #8312    [Address on File]     5/19/2023 Bitcoin                                0.00819642 Customer Transfer
 Confidential Customer Coin Transferee #8313    [Address on File]     6/20/2023 USD Coin                                19.707083 Customer Transfer
 Confidential Customer Coin Transferee #8314    [Address on File]     5/16/2023 Bitcoin                                0.06972209 Customer Transfer
 Confidential Customer Coin Transferee #8314    [Address on File]     6/19/2023 Bitcoin                                0.01115772 Customer Transfer
 Confidential Customer Coin Transferee #8315    [Address on File]     5/20/2023 Bitcoin                                0.01038778 Customer Transfer
 Confidential Customer Coin Transferee #8316    [Address on File]     6/20/2023 Bitcoin                                0.00004459 Customer Transfer
 Confidential Customer Coin Transferee #8317    [Address on File]     5/29/2023 Bitcoin                                0.00037123 Customer Transfer
 Confidential Customer Coin Transferee #8317    [Address on File]     5/22/2023 Bitcoin                                0.00036911 Customer Transfer
 Confidential Customer Coin Transferee #8318    [Address on File]     6/19/2023 Bitcoin                                0.04768959 Customer Transfer
 Confidential Customer Coin Transferee #8319    [Address on File]     5/16/2023 Bitcoin                                0.04105352 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8319    [Address on File]     5/20/2023 Bitcoin                             0.01246403 Customer Transfer
 Confidential Customer Coin Transferee #8319    [Address on File]     5/25/2023 Bitcoin                             0.00560367 Customer Transfer
 Confidential Customer Coin Transferee #8320    [Address on File]     6/20/2023 Bitcoin                             0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #8321    [Address on File]     5/21/2023 Bitcoin                             0.00701841 Customer Transfer
 Confidential Customer Coin Transferee #8322    [Address on File]     6/20/2023 Bitcoin                             0.00527816 Customer Transfer
 Confidential Customer Coin Transferee #8323    [Address on File]     5/20/2023 Bitcoin                             0.00361464 Customer Transfer
 Confidential Customer Coin Transferee #8324    [Address on File]     5/27/2023 Bitcoin                             0.01472068 Customer Transfer
 Confidential Customer Coin Transferee #8324    [Address on File]     5/20/2023 Bitcoin                              0.0122685 Customer Transfer
 Confidential Customer Coin Transferee #8325    [Address on File]     5/24/2023 Bitcoin                              0.0372042 Customer Transfer
 Confidential Customer Coin Transferee #8325    [Address on File]     5/20/2023 Bitcoin                             0.01767175 Customer Transfer
 Confidential Customer Coin Transferee #8325    [Address on File]     5/24/2023 Bitcoin                             0.01746603 Customer Transfer
 Confidential Customer Coin Transferee #8325    [Address on File]     5/24/2023 Bitcoin                             0.01219923 Customer Transfer
 Confidential Customer Coin Transferee #8326    [Address on File]     6/19/2023 Bitcoin                             0.00039652 Customer Transfer
 Confidential Customer Coin Transferee #8326    [Address on File]     6/12/2023 Bitcoin                             0.00037436 Customer Transfer
 Confidential Customer Coin Transferee #8326    [Address on File]     5/19/2023 Bitcoin                             0.00036821 Customer Transfer
 Confidential Customer Coin Transferee #8327    [Address on File]     6/19/2023 Bitcoin                             0.00956675 Customer Transfer
 Confidential Customer Coin Transferee #8328    [Address on File]     5/19/2023 Bitcoin                             0.01042022 Customer Transfer
 Confidential Customer Coin Transferee #8329    [Address on File]     5/26/2023 Bitcoin                             0.00183129 Customer Transfer
 Confidential Customer Coin Transferee #8329    [Address on File]     5/19/2023 Bitcoin                             0.00177781 Customer Transfer
 Confidential Customer Coin Transferee #8330    [Address on File]     5/29/2023 Ether                                  0.260966 Customer Transfer
 Confidential Customer Coin Transferee #8331    [Address on File]     6/20/2023 Bitcoin                             0.00362128 Customer Transfer

 Confidential Customer Coin Transferee #8332    [Address on File]     5/29/2023 Bitcoin                                0.01786451 Customer Transfer
 Confidential Customer Coin Transferee #8333    [Address on File]     6/20/2023 Bitcoin                                0.00107517 Customer Transfer
 Confidential Customer Coin Transferee #8334    [Address on File]     6/19/2023 Bitcoin                                0.00045048 Customer Transfer
 Confidential Customer Coin Transferee #8335    [Address on File]     6/20/2023 Bitcoin                                0.00004303 Customer Transfer
 Confidential Customer Coin Transferee #8336    [Address on File]     6/20/2023 Bitcoin                                0.00238724 Customer Transfer
 Confidential Customer Coin Transferee #8337    [Address on File]      6/5/2023 Bitcoin                                0.06188928 Customer Transfer
 Confidential Customer Coin Transferee #8337    [Address on File]      6/8/2023 Bitcoin                                0.00905071 Customer Transfer
 Confidential Customer Coin Transferee #8337    [Address on File]     5/16/2023 Bitcoin                                0.00371601 Customer Transfer
 Confidential Customer Coin Transferee #8338    [Address on File]     6/19/2023 Bitcoin                                0.00040332 Customer Transfer
 Confidential Customer Coin Transferee #8339    [Address on File]     6/20/2023 Bitcoin                                0.02378657 Customer Transfer
 Confidential Customer Coin Transferee #8340    [Address on File]     6/19/2023 Bitcoin                                 0.0104043 Customer Transfer
 Confidential Customer Coin Transferee #8341    [Address on File]     5/18/2023 Bitcoin                                0.01040361 Customer Transfer
 Confidential Customer Coin Transferee #8341    [Address on File]     5/29/2023 Bitcoin                                0.01014205 Customer Transfer
 Confidential Customer Coin Transferee #8342    [Address on File]     6/20/2023 Bitcoin                                0.03008628 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8343    [Address on File]     5/26/2023 Bitcoin                             0.02059098 Customer Transfer
 Confidential Customer Coin Transferee #8343    [Address on File]     5/19/2023 Bitcoin                             0.01942391 Customer Transfer

 Confidential Customer Coin Transferee #8344    [Address on File]     6/20/2023 Bitcoin                                0.00120236 Customer Transfer

 Confidential Customer Coin Transferee #8345    [Address on File]     5/19/2023 USD Coin                                14.732633 Customer Transfer

 Confidential Customer Coin Transferee #8345    [Address on File]     5/26/2023 USD Coin                                14.731161 Customer Transfer
 Confidential Customer Coin Transferee #8346    [Address on File]     5/30/2023 Bitcoin                                0.07097387 Customer Transfer
 Confidential Customer Coin Transferee #8347    [Address on File]     5/30/2023 Bitcoin                                0.13360946 Customer Transfer
 Confidential Customer Coin Transferee #8348    [Address on File]     6/15/2023 USD Coin                                95.832916 Customer Transfer
 Confidential Customer Coin Transferee #8349    [Address on File]     6/20/2023 Bitcoin                                0.01333535 Customer Transfer
 Confidential Customer Coin Transferee #8350    [Address on File]     5/20/2023 Bitcoin                                0.01662261 Customer Transfer
 Confidential Customer Coin Transferee #8350    [Address on File]     5/27/2023 Bitcoin                                0.00899475 Customer Transfer
 Confidential Customer Coin Transferee #8351    [Address on File]     6/20/2023 Bitcoin                                0.00197124 Customer Transfer
 Confidential Customer Coin Transferee #8352    [Address on File]     5/20/2023 Bitcoin                                0.11165383 Customer Transfer
 Confidential Customer Coin Transferee #8353    [Address on File]     6/20/2023 Bitcoin                                0.00027538 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/22/2023 Bitcoin                                0.00953742 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/20/2023 Bitcoin                                0.00188728 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/21/2023 Bitcoin                                0.00186633 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/30/2023 Bitcoin                                0.00109243 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/29/2023 Bitcoin                                0.00106915 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/30/2023 Bitcoin                                0.00106804 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/30/2023 Bitcoin                                0.00104739 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/22/2023 Bitcoin                                0.00089293 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/25/2023 Bitcoin                                0.00073685 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/25/2023 Bitcoin                                0.00073678 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/19/2023 Bitcoin                                0.00072919 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/31/2023 Bitcoin                                0.00072057 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/28/2023 Bitcoin                                0.00071725 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/30/2023 Bitcoin                                0.00071063 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/26/2023 Bitcoin                                0.00069795 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/26/2023 Bitcoin                                 0.0006265 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/22/2023 Bitcoin                                0.00062105 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/21/2023 Bitcoin                                     0.0006 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/20/2023 Bitcoin                                0.00058116 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/27/2023 Bitcoin                             0.00054755 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/25/2023 Bitcoin                             0.00039631 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/24/2023 Bitcoin                             0.00038539 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/31/2023 Bitcoin                             0.00037635 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/26/2023 Bitcoin                             0.00036876 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/21/2023 Bitcoin                              0.0001917 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/21/2023 Bitcoin                              0.0001688 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/26/2023 Bitcoin                             0.00016232 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/19/2023 Bitcoin                             0.00015226 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/25/2023 Bitcoin                             0.00014289 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/25/2023 Bitcoin                             0.00012134 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/21/2023 Bitcoin                             0.00012101 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/26/2023 Bitcoin                             0.00012044 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/19/2023 Bitcoin                             0.00011504 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/30/2023 Bitcoin                             0.00011056 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/21/2023 Bitcoin                             0.00008989 Customer Transfer
 Confidential Customer Coin Transferee #8354    [Address on File]     5/19/2023 Bitcoin                             0.00007664 Customer Transfer
 Confidential Customer Coin Transferee #8355    [Address on File]     5/30/2023 Bitcoin                             0.01098018 Customer Transfer
 Confidential Customer Coin Transferee #8355    [Address on File]     5/21/2023 Bitcoin                             0.00799775 Customer Transfer
 Confidential Customer Coin Transferee #8356    [Address on File]     5/19/2023 Bitcoin                             0.00370057 Customer Transfer
 Confidential Customer Coin Transferee #8356    [Address on File]     5/29/2023 Bitcoin                             0.00359048 Customer Transfer
 Confidential Customer Coin Transferee #8356    [Address on File]     5/20/2023 Bitcoin                                0.003465 Customer Transfer
 Confidential Customer Coin Transferee #8356    [Address on File]     5/28/2023 Bitcoin                             0.00022965 Customer Transfer
 Confidential Customer Coin Transferee #8357    [Address on File]     5/23/2023 Bitcoin                             0.00185885 Customer Transfer
 Confidential Customer Coin Transferee #8358    [Address on File]     6/20/2023 Bitcoin                             0.00003622 Customer Transfer
 Confidential Customer Coin Transferee #8359    [Address on File]     5/27/2023 Bitcoin                             0.01068763 Customer Transfer

 Confidential Customer Coin Transferee #8360    [Address on File]      6/8/2023 Bitcoin                                0.00478965 Customer Transfer
 Confidential Customer Coin Transferee #8361    [Address on File]     5/20/2023 Bitcoin                                 0.0418028 Customer Transfer
 Confidential Customer Coin Transferee #8361    [Address on File]     5/23/2023 Bitcoin                                   0.036742 Customer Transfer
 Confidential Customer Coin Transferee #8361    [Address on File]     5/17/2023 Bitcoin                                0.00780148 Customer Transfer
 Confidential Customer Coin Transferee #8361    [Address on File]     5/22/2023 Bitcoin                                0.00092537 Customer Transfer
 Confidential Customer Coin Transferee #8362    [Address on File]     5/27/2023 Bitcoin                                 0.0223262 Customer Transfer
 Confidential Customer Coin Transferee #8363    [Address on File]     5/22/2023 Bitcoin                                0.01684747 Customer Transfer
 Confidential Customer Coin Transferee #8364    [Address on File]     5/16/2023 Bitcoin                                0.00073307 Customer Transfer
 Confidential Customer Coin Transferee #8364    [Address on File]     5/17/2023 Bitcoin                                0.00037037 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8364    [Address on File]     5/20/2023 Bitcoin                             0.00036984 Customer Transfer
 Confidential Customer Coin Transferee #8364    [Address on File]     5/21/2023 Bitcoin                             0.00036934 Customer Transfer
 Confidential Customer Coin Transferee #8364    [Address on File]     5/19/2023 Bitcoin                             0.00036918 Customer Transfer
 Confidential Customer Coin Transferee #8364    [Address on File]     5/18/2023 Bitcoin                             0.00036563 Customer Transfer
 Confidential Customer Coin Transferee #8365    [Address on File]     5/19/2023 Bitcoin                             0.00745644 Customer Transfer
 Confidential Customer Coin Transferee #8365    [Address on File]     5/20/2023 Bitcoin                             0.00730994 Customer Transfer
 Confidential Customer Coin Transferee #8366    [Address on File]     5/30/2023 Bitcoin                             0.00183165 Customer Transfer


 Confidential Customer Coin Transferee #8367    [Address on File]     5/18/2023 Tether USD                              5360.7168 Customer Transfer


 Confidential Customer Coin Transferee #8367    [Address on File]      6/8/2023 Tether USD                               845.5042 Customer Transfer


 Confidential Customer Coin Transferee #8367    [Address on File]     5/17/2023 Ether                                  0.26761754 Customer Transfer
 Confidential Customer Coin Transferee #8368    [Address on File]     5/25/2023 Bitcoin                                0.01056114 Customer Transfer
 Confidential Customer Coin Transferee #8368    [Address on File]     5/26/2023 Bitcoin                                0.01039915 Customer Transfer
 Confidential Customer Coin Transferee #8369    [Address on File]     5/26/2023 Bitcoin                                0.09627742 Customer Transfer
 Confidential Customer Coin Transferee #8370    [Address on File]     6/20/2023 Bitcoin                                0.00788006 Customer Transfer
 Confidential Customer Coin Transferee #8371    [Address on File]     6/20/2023 Bitcoin                                0.00351506 Customer Transfer
 Confidential Customer Coin Transferee #8372    [Address on File]     5/28/2023 Bitcoin                                0.00442862 Customer Transfer
 Confidential Customer Coin Transferee #8373    [Address on File]     5/30/2023 Tether USD                                  546.14 Customer Transfer
 Confidential Customer Coin Transferee #8374    [Address on File]      6/1/2023 Tether USD                                990.0031 Customer Transfer
 Confidential Customer Coin Transferee #8375    [Address on File]      6/8/2023 Tether USD                                 1981.62 Customer Transfer
 Confidential Customer Coin Transferee #8376    [Address on File]     5/19/2023 Bitcoin                                0.06689856 Customer Transfer
 Confidential Customer Coin Transferee #8377    [Address on File]     5/16/2023 Bitcoin                                0.13163727 Customer Transfer
 Confidential Customer Coin Transferee #8377    [Address on File]     5/23/2023 Bitcoin                                0.07171338 Customer Transfer
 Confidential Customer Coin Transferee #8377    [Address on File]     5/27/2023 Bitcoin                                0.05917572 Customer Transfer
 Confidential Customer Coin Transferee #8377    [Address on File]     5/30/2023 Bitcoin                                0.05602176 Customer Transfer
 Confidential Customer Coin Transferee #8377    [Address on File]     5/19/2023 Bitcoin                                0.05184422 Customer Transfer
 Confidential Customer Coin Transferee #8377    [Address on File]     5/30/2023 Bitcoin                                0.01073042 Customer Transfer

 Confidential Customer Coin Transferee #8378    [Address on File]     5/19/2023 Bitcoin                                0.01094973 Customer Transfer

 Confidential Customer Coin Transferee #8378    [Address on File]      6/2/2023 Bitcoin                                0.01082717 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #8379    [Address on File]     5/29/2023 Tether USD                                  22807 Customer Transfer

 Confidential Customer Coin Transferee #8379    [Address on File]     5/26/2023 Tether USD                                   3000 Customer Transfer
 Confidential Customer Coin Transferee #8380    [Address on File]     6/20/2023 Bitcoin                                0.00116586 Customer Transfer
 Confidential Customer Coin Transferee #8381    [Address on File]     5/25/2023 Bitcoin                                0.18316802 Customer Transfer

 Confidential Customer Coin Transferee #8382    [Address on File]     5/31/2023 USDC Solana)                       1412.763618 Customer Transfer
 Confidential Customer Coin Transferee #8383    [Address on File]      6/1/2023 Tether USD                           4308.5273 Customer Transfer

 Confidential Customer Coin Transferee #8384    [Address on File]     5/28/2023 Bitcoin                                0.00267604 Customer Transfer

 Confidential Customer Coin Transferee #8384    [Address on File]     5/26/2023 Bitcoin                                0.00206745 Customer Transfer

 Confidential Customer Coin Transferee #8384    [Address on File]     5/27/2023 Bitcoin                                0.00186414 Customer Transfer

 Confidential Customer Coin Transferee #8384    [Address on File]     5/29/2023 Bitcoin                                0.00175839 Customer Transfer

 Confidential Customer Coin Transferee #8384    [Address on File]     5/20/2023 Bitcoin                                0.00111057 Customer Transfer

 Confidential Customer Coin Transferee #8384    [Address on File]     5/19/2023 Bitcoin                                0.00092322 Customer Transfer
 Confidential Customer Coin Transferee #8385    [Address on File]     6/20/2023 Bitcoin                                0.13053103 Customer Transfer
 Confidential Customer Coin Transferee #8386    [Address on File]     6/20/2023 Bitcoin                                0.00265113 Customer Transfer
 Confidential Customer Coin Transferee #8387    [Address on File]     5/22/2023 Bitcoin                                0.01123256 Customer Transfer
 Confidential Customer Coin Transferee #8387    [Address on File]     5/25/2023 Bitcoin                                0.01055596 Customer Transfer

 Confidential Customer Coin Transferee #8388    [Address on File]     5/17/2023 Bitcoin                                 0.0003292 Customer Transfer
 Confidential Customer Coin Transferee #8389    [Address on File]     6/13/2023 Tether USD                               362.4837 Customer Transfer
 Confidential Customer Coin Transferee #8389    [Address on File]     6/21/2023 Tether USD                                 98.9968 Customer Transfer
 Confidential Customer Coin Transferee #8390    [Address on File]     6/20/2023 Bitcoin                                0.00058283 Customer Transfer
 Confidential Customer Coin Transferee #8391    [Address on File]     6/19/2023 Bitcoin                                0.00377827 Customer Transfer
 Confidential Customer Coin Transferee #8392    [Address on File]     6/19/2023 Bitcoin                                 0.0000582 Customer Transfer

 Confidential Customer Coin Transferee #8393    [Address on File]     5/22/2023 Bitcoin                                  0.011862 Customer Transfer

 Confidential Customer Coin Transferee #8393    [Address on File]     5/21/2023 Bitcoin                                0.00063853 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8394    [Address on File]      6/1/2023 Bitcoin                             0.04333108 Customer Transfer
 Confidential Customer Coin Transferee #8395    [Address on File]      6/8/2023 Tether USD                                9945 Customer Transfer
 Confidential Customer Coin Transferee #8395    [Address on File]      6/8/2023 USD Coin                                  4962 Customer Transfer
 Confidential Customer Coin Transferee #8395    [Address on File]      6/8/2023 Tether USD                                1491 Customer Transfer
 Confidential Customer Coin Transferee #8395    [Address on File]      6/4/2023 USD Coin                                   989 Customer Transfer
 Confidential Customer Coin Transferee #8395    [Address on File]     5/28/2023 USD Coin                                   988 Customer Transfer
 Confidential Customer Coin Transferee #8395    [Address on File]     5/23/2023 USD Coin                                   295 Customer Transfer
 Confidential Customer Coin Transferee #8395    [Address on File]     5/17/2023 Tether USD                                  50 Customer Transfer
 Confidential Customer Coin Transferee #8396    [Address on File]     6/20/2023 Bitcoin                              0.0266856 Customer Transfer
 Confidential Customer Coin Transferee #8397    [Address on File]     6/20/2023 Bitcoin                             0.00091922 Customer Transfer
 Confidential Customer Coin Transferee #8398    [Address on File]     6/19/2023 Bitcoin                             0.00287272 Customer Transfer
 Confidential Customer Coin Transferee #8399    [Address on File]     6/19/2023 Bitcoin                             0.00115859 Customer Transfer
 Confidential Customer Coin Transferee #8400    [Address on File]     6/20/2023 Bitcoin                             0.00870171 Customer Transfer
 Confidential Customer Coin Transferee #8401    [Address on File]     6/20/2023 Bitcoin                             0.00085199 Customer Transfer

 Confidential Customer Coin Transferee #8402    [Address on File]     5/19/2023 Bitcoin                                0.01343133 Customer Transfer

 Confidential Customer Coin Transferee #8402    [Address on File]      6/2/2023 Bitcoin                                0.01327237 Customer Transfer
 Confidential Customer Coin Transferee #8403    [Address on File]      6/8/2023 Cosmos Hub ATOM)                         3.227854 Customer Transfer
 Confidential Customer Coin Transferee #8404    [Address on File]     6/19/2023 Bitcoin                                0.00058888 Customer Transfer
 Confidential Customer Coin Transferee #8405    [Address on File]     5/24/2023 Bitcoin                                0.00092341 Customer Transfer
 Confidential Customer Coin Transferee #8405    [Address on File]     5/18/2023 Bitcoin                                0.00086268 Customer Transfer
 Confidential Customer Coin Transferee #8406    [Address on File]     6/16/2023 Cosmos Hub ATOM)                        36.940749 Customer Transfer
 Confidential Customer Coin Transferee #8407    [Address on File]     5/16/2023 Bitcoin                                0.15481585 Customer Transfer
 Confidential Customer Coin Transferee #8408    [Address on File]     5/18/2023 Bitcoin                                0.00657526 Customer Transfer
 Confidential Customer Coin Transferee #8409    [Address on File]     6/20/2023 Bitcoin                                0.00578401 Customer Transfer
 Confidential Customer Coin Transferee #8410    [Address on File]     5/24/2023 Bitcoin                                0.00256523 Customer Transfer
 Confidential Customer Coin Transferee #8410    [Address on File]     5/17/2023 Bitcoin                                0.00242499 Customer Transfer
 Confidential Customer Coin Transferee #8411    [Address on File]     5/26/2023 Bitcoin                                0.01511871 Customer Transfer
 Confidential Customer Coin Transferee #8412    [Address on File]     6/20/2023 Bitcoin                                0.00034859 Customer Transfer
 Confidential Customer Coin Transferee #8413    [Address on File]     5/26/2023 Bitcoin                                0.00074333 Customer Transfer
 Confidential Customer Coin Transferee #8413    [Address on File]     5/19/2023 Bitcoin                                 0.0006925 Customer Transfer
 Confidential Customer Coin Transferee #8414    [Address on File]     6/19/2023 Bitcoin                                0.00005836 Customer Transfer
 Confidential Customer Coin Transferee #8415    [Address on File]     5/24/2023 Bitcoin                                 0.1039137 Customer Transfer
 Confidential Customer Coin Transferee #8416    [Address on File]     5/31/2023 Bitcoin                                0.01430882 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                                0.01852803 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.01849465 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.01479417 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.01111215 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.01110829 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.01109349 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/17/2023 Bitcoin                             0.00744865 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/17/2023 Bitcoin                             0.00741625 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.00738664 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.00557874 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/23/2023 Bitcoin                             0.00546257 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.00463011 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/23/2023 Bitcoin                             0.00444322 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.00370188 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.00369626 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.00277968 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/31/2023 Bitcoin                             0.00276863 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/18/2023 Bitcoin                             0.00272565 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/23/2023 Bitcoin                             0.00262364 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/17/2023 Bitcoin                             0.00259229 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/22/2023 Bitcoin                             0.00240995 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/23/2023 Bitcoin                             0.00163699 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/16/2023 Bitcoin                             0.00129207 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/23/2023 Bitcoin                             0.00091146 Customer Transfer
 Confidential Customer Coin Transferee #8417    [Address on File]     5/24/2023 Bitcoin                             0.00034188 Customer Transfer
 Confidential Customer Coin Transferee #8418    [Address on File]     5/26/2023 Bitcoin                             0.00526384 Customer Transfer
 Confidential Customer Coin Transferee #8418    [Address on File]     5/19/2023 Bitcoin                             0.00518465 Customer Transfer
 Confidential Customer Coin Transferee #8419    [Address on File]     5/26/2023 Bitcoin                             0.02063917 Customer Transfer
 Confidential Customer Coin Transferee #8420    [Address on File]     5/25/2023 Bitcoin                              0.0004425 Customer Transfer
 Confidential Customer Coin Transferee #8421    [Address on File]     5/16/2023 Bitcoin                             0.17260363 Customer Transfer
 Confidential Customer Coin Transferee #8421    [Address on File]     5/18/2023 Bitcoin                             0.15141213 Customer Transfer
 Confidential Customer Coin Transferee #8421    [Address on File]     5/25/2023 Bitcoin                             0.00753026 Customer Transfer
 Confidential Customer Coin Transferee #8422    [Address on File]     5/18/2023 Bitcoin                              0.0411331 Customer Transfer
 Confidential Customer Coin Transferee #8422    [Address on File]     5/23/2023 Bitcoin                             0.01821568 Customer Transfer
 Confidential Customer Coin Transferee #8422    [Address on File]     5/29/2023 Bitcoin                             0.01781179 Customer Transfer
 Confidential Customer Coin Transferee #8423    [Address on File]     6/20/2023 Bitcoin                             0.00036411 Customer Transfer
 Confidential Customer Coin Transferee #8424    [Address on File]     5/24/2023 Bitcoin                             0.00262128 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8425    [Address on File]     6/20/2023 Bitcoin                             0.00063868 Customer Transfer
 Confidential Customer Coin Transferee #8426    [Address on File]     6/15/2023 Tether USD                           7438.9078 Customer Transfer

 Confidential Customer Coin Transferee #8427    [Address on File]     6/10/2023 Cosmos Hub ATOM)                        24.586129 Customer Transfer

 Confidential Customer Coin Transferee #8428    [Address on File]     5/31/2023 Tether USD                             396.243005 Customer Transfer

 Confidential Customer Coin Transferee #8428    [Address on File]      6/2/2023 Tether USD                             396.233389 Customer Transfer
 Confidential Customer Coin Transferee #8429    [Address on File]     5/25/2023 Bitcoin                                 0.0254155 Customer Transfer
 Confidential Customer Coin Transferee #8430    [Address on File]     5/30/2023 Bitcoin                                0.01294966 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/17/2023 Bitcoin                                0.00579828 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/22/2023 Bitcoin                                0.00429536 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/20/2023 Bitcoin                                     0.0038 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/27/2023 Bitcoin                                0.00222929 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/20/2023 Bitcoin                                 0.0019752 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/20/2023 Bitcoin                                     0.0019 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/26/2023 Bitcoin                                0.00186068 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/17/2023 Bitcoin                                0.00153055 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/18/2023 Bitcoin                                     0.0014 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/19/2023 Bitcoin                                0.00130593 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/20/2023 Bitcoin                                     0.0013 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/30/2023 Bitcoin                                0.00121314 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/28/2023 Bitcoin                                     0.0012 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/23/2023 Bitcoin                                0.00119769 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/19/2023 Bitcoin                                0.00116034 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/30/2023 Bitcoin                                0.00068036 Customer Transfer
 Confidential Customer Coin Transferee #8431    [Address on File]     5/22/2023 Bitcoin                                    0.00038 Customer Transfer
 Confidential Customer Coin Transferee #8432    [Address on File]     5/17/2023 Bitcoin                                0.01104526 Customer Transfer
 Confidential Customer Coin Transferee #8432    [Address on File]     5/24/2023 Bitcoin                                0.00384321 Customer Transfer
 Confidential Customer Coin Transferee #8432    [Address on File]     5/31/2023 Bitcoin                                0.00297659 Customer Transfer
 Confidential Customer Coin Transferee #8432    [Address on File]     5/25/2023 Bitcoin                                0.00113695 Customer Transfer
 Confidential Customer Coin Transferee #8432    [Address on File]     5/17/2023 Bitcoin                                0.00083477 Customer Transfer
 Confidential Customer Coin Transferee #8433    [Address on File]     5/26/2023 Bitcoin                                0.01398609 Customer Transfer
 Confidential Customer Coin Transferee #8434    [Address on File]     6/19/2023 Bitcoin                                0.05723214 Customer Transfer
 Confidential Customer Coin Transferee #8435    [Address on File]     6/20/2023 Bitcoin                                0.00071181 Customer Transfer
 Confidential Customer Coin Transferee #8436    [Address on File]     6/20/2023 Bitcoin                                0.00111236 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8437    [Address on File]     6/20/2023 Bitcoin                             0.00008689 Customer Transfer
 Confidential Customer Coin Transferee #8438    [Address on File]     5/29/2023 Bitcoin                             0.01221835 Customer Transfer
 Confidential Customer Coin Transferee #8438    [Address on File]      6/1/2023 Bitcoin                             0.00924777 Customer Transfer
 Confidential Customer Coin Transferee #8438    [Address on File]      6/2/2023 Bitcoin                              0.0041154 Customer Transfer
 Confidential Customer Coin Transferee #8439    [Address on File]      6/8/2023 Bitcoin                             0.06680702 Customer Transfer
 Confidential Customer Coin Transferee #8440    [Address on File]     6/20/2023 Bitcoin                             0.00178946 Customer Transfer
 Confidential Customer Coin Transferee #8441    [Address on File]     5/30/2023 Bitcoin                                     0.15 Customer Transfer
 Confidential Customer Coin Transferee #8441    [Address on File]     5/28/2023 Bitcoin                             0.05032687 Customer Transfer
 Confidential Customer Coin Transferee #8442    [Address on File]     5/19/2023 Bitcoin                                   0.022 Customer Transfer
 Confidential Customer Coin Transferee #8442    [Address on File]     5/26/2023 Bitcoin                                  0.0215 Customer Transfer
 Confidential Customer Coin Transferee #8442    [Address on File]     5/20/2023 Bitcoin                                   0.021 Customer Transfer
 Confidential Customer Coin Transferee #8443    [Address on File]     5/30/2023 Tether USD                           6995.0014 Customer Transfer
 Confidential Customer Coin Transferee #8443    [Address on File]      6/8/2023 Tether USD                             995.6709 Customer Transfer
 Confidential Customer Coin Transferee #8444    [Address on File]     5/19/2023 Bitcoin                             0.01851016 Customer Transfer
 Confidential Customer Coin Transferee #8445    [Address on File]     5/16/2023 Bitcoin                             0.00106696 Customer Transfer
 Confidential Customer Coin Transferee #8445    [Address on File]     5/16/2023 Bitcoin                             0.00087569 Customer Transfer
 Confidential Customer Coin Transferee #8445    [Address on File]     5/16/2023 Bitcoin                             0.00051168 Customer Transfer
 Confidential Customer Coin Transferee #8445    [Address on File]     5/16/2023 Bitcoin                             0.00024733 Customer Transfer
 Confidential Customer Coin Transferee #8445    [Address on File]     5/17/2023 Bitcoin                             0.00019561 Customer Transfer
 Confidential Customer Coin Transferee #8445    [Address on File]     5/17/2023 Bitcoin                             0.00018499 Customer Transfer
 Confidential Customer Coin Transferee #8445    [Address on File]     5/19/2023 Bitcoin                             0.00017785 Customer Transfer

 Confidential Customer Coin Transferee #8446    [Address on File]     6/19/2023 Bitcoin                                0.03795174 Customer Transfer

 Confidential Customer Coin Transferee #8446    [Address on File]     6/19/2023 Bitcoin                                0.03208403 Customer Transfer
 Confidential Customer Coin Transferee #8447    [Address on File]     6/20/2023 USDC Avalanche)                        473.724591 Customer Transfer
 Confidential Customer Coin Transferee #8448    [Address on File]     5/20/2023 Bitcoin                                0.03599727 Customer Transfer
 Confidential Customer Coin Transferee #8448    [Address on File]     5/16/2023 Bitcoin                                0.00037219 Customer Transfer
 Confidential Customer Coin Transferee #8449    [Address on File]     6/16/2023 Bitcoin                                0.00645143 Customer Transfer
 Confidential Customer Coin Transferee #8449    [Address on File]     5/29/2023 Bitcoin                                 0.0037502 Customer Transfer
 Confidential Customer Coin Transferee #8450    [Address on File]     5/28/2023 Bitcoin                                       0.005 Customer Transfer
 Confidential Customer Coin Transferee #8450    [Address on File]     5/31/2023 Bitcoin                                   0.003675 Customer Transfer
 Confidential Customer Coin Transferee #8450    [Address on File]     5/25/2023 Bitcoin                                      0.0021 Customer Transfer
 Confidential Customer Coin Transferee #8451    [Address on File]     6/19/2023 Bitcoin                                0.00389146 Customer Transfer
 Confidential Customer Coin Transferee #8451    [Address on File]      6/6/2023 Bitcoin                                0.00106097 Customer Transfer
 Confidential Customer Coin Transferee #8452    [Address on File]     5/18/2023 Bitcoin                                0.00364062 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8452    [Address on File]     5/31/2023 Bitcoin                             0.00360214 Customer Transfer
 Confidential Customer Coin Transferee #8453    [Address on File]     5/26/2023 Bitcoin                             0.09169956 Customer Transfer
 Confidential Customer Coin Transferee #8454    [Address on File]     5/17/2023 Bitcoin                             0.07359455 Customer Transfer
 Confidential Customer Coin Transferee #8454    [Address on File]     5/22/2023 Bitcoin                             0.04068935 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/27/2023 Bitcoin                             0.01820261 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/29/2023 Bitcoin                              0.0172799 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/24/2023 Bitcoin                                  0.0135 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/22/2023 Bitcoin                                  0.0115 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/21/2023 Bitcoin                             0.00755162 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/21/2023 Bitcoin                                   0.007 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/23/2023 Bitcoin                             0.00548131 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/22/2023 Bitcoin                             0.00375107 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/19/2023 Bitcoin                             0.00371829 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/23/2023 Bitcoin                             0.00358501 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/27/2023 Bitcoin                             0.00357509 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/24/2023 Bitcoin                             0.00186504 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/24/2023 Bitcoin                                  0.0015 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/22/2023 Bitcoin                              0.0008739 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/22/2023 Bitcoin                             0.00059915 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/24/2023 Bitcoin                             0.00038357 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/19/2023 Bitcoin                             0.00030813 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/21/2023 Bitcoin                             0.00023364 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/23/2023 Bitcoin                             0.00020868 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/29/2023 Bitcoin                             0.00008731 Customer Transfer
 Confidential Customer Coin Transferee #8455    [Address on File]     5/25/2023 Bitcoin                             0.00007159 Customer Transfer
 Confidential Customer Coin Transferee #8456    [Address on File]     6/19/2023 Bitcoin                             0.00005839 Customer Transfer
 Confidential Customer Coin Transferee #8457    [Address on File]      6/8/2023 Bitcoin                             0.00553488 Customer Transfer
 Confidential Customer Coin Transferee #8457    [Address on File]     5/29/2023 Bitcoin                             0.00409215 Customer Transfer
 Confidential Customer Coin Transferee #8457    [Address on File]     5/22/2023 Bitcoin                             0.00402771 Customer Transfer
 Confidential Customer Coin Transferee #8457    [Address on File]     6/16/2023 Bitcoin                             0.00344742 Customer Transfer
 Confidential Customer Coin Transferee #8458    [Address on File]     5/26/2023 Bitcoin                             0.00112599 Customer Transfer
 Confidential Customer Coin Transferee #8458    [Address on File]     5/21/2023 Bitcoin                             0.00110738 Customer Transfer
 Confidential Customer Coin Transferee #8459    [Address on File]     5/29/2023 Bitcoin                             0.01013959 Customer Transfer
 Confidential Customer Coin Transferee #8460    [Address on File]     5/17/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/21/2023 Bitcoin                             0.01108443 Customer Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/26/2023 Bitcoin                              0.0092898 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/23/2023 Bitcoin                             0.00580671 Customer Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/22/2023 Bitcoin                             0.00371423 Customer Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/22/2023 Bitcoin                             0.00371189 Customer Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/20/2023 Bitcoin                             0.00366822 Customer Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/30/2023 Bitcoin                             0.00358565 Customer Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/19/2023 Bitcoin                              0.0029647 Customer Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/24/2023 Bitcoin                             0.00186285 Customer Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/26/2023 Bitcoin                             0.00185654 Customer Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/17/2023 Bitcoin                             0.00092815 Customer Transfer
 Confidential Customer Coin Transferee #8461    [Address on File]     5/19/2023 Bitcoin                             0.00074091 Customer Transfer
 Confidential Customer Coin Transferee #8462    [Address on File]     5/27/2023 Bitcoin                             0.00251508 Customer Transfer
 Confidential Customer Coin Transferee #8462    [Address on File]     5/22/2023 Bitcoin                                0.001377 Customer Transfer
 Confidential Customer Coin Transferee #8463    [Address on File]     5/19/2023 Bitcoin                                   0.1115 Customer Transfer
 Confidential Customer Coin Transferee #8464    [Address on File]     5/31/2023 Bitcoin                             0.00906027 Customer Transfer
 Confidential Customer Coin Transferee #8465    [Address on File]     5/28/2023 Bitcoin                              0.0003747 Customer Transfer
 Confidential Customer Coin Transferee #8465    [Address on File]     5/18/2023 Bitcoin                             0.00037158 Customer Transfer
 Confidential Customer Coin Transferee #8466    [Address on File]     5/31/2023 Bitcoin                             0.00125766 Customer Transfer
 Confidential Customer Coin Transferee #8466    [Address on File]     5/28/2023 Bitcoin                              0.0010369 Customer Transfer
 Confidential Customer Coin Transferee #8466    [Address on File]     5/29/2023 Bitcoin                             0.00088352 Customer Transfer
 Confidential Customer Coin Transferee #8466    [Address on File]     5/30/2023 Bitcoin                             0.00087757 Customer Transfer
 Confidential Customer Coin Transferee #8466    [Address on File]     5/28/2023 Bitcoin                             0.00076701 Customer Transfer
 Confidential Customer Coin Transferee #8466    [Address on File]     5/28/2023 Bitcoin                             0.00072052 Customer Transfer
 Confidential Customer Coin Transferee #8466    [Address on File]     5/17/2023 Bitcoin                             0.00051407 Customer Transfer
 Confidential Customer Coin Transferee #8467    [Address on File]     5/25/2023 Bitcoin                             0.00048291 Customer Transfer
 Confidential Customer Coin Transferee #8468    [Address on File]     5/16/2023 Bitcoin                                 0.00155 Customer Transfer
 Confidential Customer Coin Transferee #8468    [Address on File]     5/16/2023 Bitcoin                                 0.00152 Customer Transfer
 Confidential Customer Coin Transferee #8468    [Address on File]     5/19/2023 Bitcoin                              0.0014451 Customer Transfer
 Confidential Customer Coin Transferee #8468    [Address on File]     5/17/2023 Bitcoin                             0.00141799 Customer Transfer
 Confidential Customer Coin Transferee #8468    [Address on File]     5/19/2023 Bitcoin                             0.00092444 Customer Transfer
 Confidential Customer Coin Transferee #8468    [Address on File]     5/29/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #8468    [Address on File]     5/17/2023 Bitcoin                             0.00050763 Customer Transfer
 Confidential Customer Coin Transferee #8468    [Address on File]     5/16/2023 Bitcoin                             0.00037092 Customer Transfer
 Confidential Customer Coin Transferee #8469    [Address on File]     5/29/2023 Bitcoin                             0.00358909 Customer Transfer
 Confidential Customer Coin Transferee #8469    [Address on File]     5/25/2023 Bitcoin                             0.00114351 Customer Transfer
 Confidential Customer Coin Transferee #8469    [Address on File]     5/26/2023 Bitcoin                             0.00111361 Customer Transfer
 Confidential Customer Coin Transferee #8469    [Address on File]     5/17/2023 Bitcoin                             0.00108866 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8469    [Address on File]     5/17/2023 Bitcoin                             0.00054538 Customer Transfer
 Confidential Customer Coin Transferee #8470    [Address on File]     5/19/2023 Bitcoin                             0.00369877 Customer Transfer
 Confidential Customer Coin Transferee #8470    [Address on File]     5/30/2023 Bitcoin                             0.00357768 Customer Transfer
 Confidential Customer Coin Transferee #8471    [Address on File]     5/17/2023 Bitcoin                             0.00002224 Customer Transfer
 Confidential Customer Coin Transferee #8472    [Address on File]     5/20/2023 Bitcoin                             0.18569518 Customer Transfer
 Confidential Customer Coin Transferee #8472    [Address on File]     5/22/2023 Bitcoin                             0.18196064 Customer Transfer
 Confidential Customer Coin Transferee #8472    [Address on File]     5/22/2023 Bitcoin                             0.00319594 Customer Transfer
 Confidential Customer Coin Transferee #8473    [Address on File]     5/16/2023 Bitcoin                             0.00051388 Customer Transfer
 Confidential Customer Coin Transferee #8474    [Address on File]     5/19/2023 Bitcoin                             0.11097932 Customer Transfer
 Confidential Customer Coin Transferee #8475    [Address on File]     5/19/2023 Bitcoin                             0.00277439 Customer Transfer
 Confidential Customer Coin Transferee #8475    [Address on File]     5/28/2023 Bitcoin                             0.00180222 Customer Transfer
 Confidential Customer Coin Transferee #8475    [Address on File]     5/28/2023 Bitcoin                             0.00145933 Customer Transfer
 Confidential Customer Coin Transferee #8475    [Address on File]     5/19/2023 Bitcoin                             0.00118783 Customer Transfer
 Confidential Customer Coin Transferee #8475    [Address on File]     5/25/2023 Bitcoin                             0.00076216 Customer Transfer
 Confidential Customer Coin Transferee #8475    [Address on File]     5/16/2023 Bitcoin                             0.00068847 Customer Transfer
 Confidential Customer Coin Transferee #8476    [Address on File]     5/21/2023 Bitcoin                             0.01229429 Customer Transfer
 Confidential Customer Coin Transferee #8477    [Address on File]     5/21/2023 Bitcoin                              0.0013644 Customer Transfer
 Confidential Customer Coin Transferee #8478    [Address on File]     5/26/2023 Bitcoin                             0.11337796 Customer Transfer
 Confidential Customer Coin Transferee #8479    [Address on File]     5/20/2023 Bitcoin                             0.00074034 Customer Transfer
 Confidential Customer Coin Transferee #8480    [Address on File]     6/20/2023 Bitcoin                             0.00005944 Customer Transfer
 Confidential Customer Coin Transferee #8481    [Address on File]     6/19/2023 Bitcoin                             0.00057308 Customer Transfer
 Confidential Customer Coin Transferee #8482    [Address on File]     5/21/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #8482    [Address on File]     5/24/2023 Bitcoin                             0.09999663 Customer Transfer
 Confidential Customer Coin Transferee #8482    [Address on File]     5/16/2023 Bitcoin                                   0.019 Customer Transfer
 Confidential Customer Coin Transferee #8483    [Address on File]     5/19/2023 Bitcoin                             0.00007456 Customer Transfer
 Confidential Customer Coin Transferee #8484    [Address on File]     5/27/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #8484    [Address on File]     5/20/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #8485    [Address on File]     5/21/2023 Bitcoin                             0.00036518 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/25/2023 Bitcoin                             0.00037884 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/26/2023 Bitcoin                             0.00037606 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/27/2023 Bitcoin                             0.00037168 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/17/2023 Bitcoin                             0.00037047 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/22/2023 Bitcoin                             0.00037029 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/19/2023 Bitcoin                             0.00037019 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/20/2023 Bitcoin                             0.00037018 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/21/2023 Bitcoin                             0.00036734 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/18/2023 Bitcoin                             0.00036733 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/16/2023 Bitcoin                             0.00036687 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/28/2023 Bitcoin                             0.00036646 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/31/2023 Bitcoin                             0.00036626 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/23/2023 Bitcoin                              0.0003642 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/30/2023 Bitcoin                             0.00035775 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/28/2023 Bitcoin                             0.00035634 Customer Transfer
 Confidential Customer Coin Transferee #8486    [Address on File]     5/29/2023 Bitcoin                             0.00035507 Customer Transfer
 Confidential Customer Coin Transferee #8487    [Address on File]     5/27/2023 Bitcoin                             0.00743955 Customer Transfer
 Confidential Customer Coin Transferee #8487    [Address on File]     5/19/2023 Bitcoin                             0.00369709 Customer Transfer
 Confidential Customer Coin Transferee #8487    [Address on File]     5/21/2023 Bitcoin                             0.00368729 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]     5/24/2023 Bitcoin                             0.02073798 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]     5/25/2023 Bitcoin                             0.01878056 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]     5/19/2023 Bitcoin                             0.01848657 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]     5/17/2023 Bitcoin                             0.01836297 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]     5/31/2023 Bitcoin                             0.01835075 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]     5/29/2023 Bitcoin                             0.01800113 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]     5/29/2023 Bitcoin                             0.01792152 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]     5/25/2023 Bitcoin                             0.01710351 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]     5/16/2023 Bitcoin                             0.01657511 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]      6/2/2023 Bitcoin                             0.01115418 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]     5/24/2023 Bitcoin                             0.00913164 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]      6/1/2023 Bitcoin                              0.0074126 Customer Transfer
 Confidential Customer Coin Transferee #8488    [Address on File]      6/2/2023 Bitcoin                             0.00736989 Customer Transfer
 Confidential Customer Coin Transferee #8489    [Address on File]     5/16/2023 Bitcoin                                   0.018 Customer Transfer
 Confidential Customer Coin Transferee #8489    [Address on File]     5/16/2023 Bitcoin                                   0.018 Customer Transfer
 Confidential Customer Coin Transferee #8489    [Address on File]     5/16/2023 Bitcoin                                   0.018 Customer Transfer
 Confidential Customer Coin Transferee #8490    [Address on File]     5/22/2023 Bitcoin                             0.10484681 Customer Transfer
 Confidential Customer Coin Transferee #8491    [Address on File]     5/19/2023 Bitcoin                             0.01850106 Customer Transfer
 Confidential Customer Coin Transferee #8492    [Address on File]     5/31/2023 Bitcoin                             0.01378155 Customer Transfer
 Confidential Customer Coin Transferee #8492    [Address on File]     5/26/2023 Bitcoin                             0.00751095 Customer Transfer
 Confidential Customer Coin Transferee #8493    [Address on File]     5/29/2023 Bitcoin                             0.00752621 Customer Transfer
 Confidential Customer Coin Transferee #8494    [Address on File]     5/25/2023 Bitcoin                             0.04006204 Customer Transfer
 Confidential Customer Coin Transferee #8494    [Address on File]     5/25/2023 Bitcoin                             0.00229079 Customer Transfer
 Confidential Customer Coin Transferee #8495    [Address on File]     5/25/2023 Bitcoin                             0.00374265 Customer Transfer
 Confidential Customer Coin Transferee #8496    [Address on File]     5/24/2023 Bitcoin                             0.00566274 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8497    [Address on File]     5/21/2023 Bitcoin                             0.00109411 Customer Transfer
 Confidential Customer Coin Transferee #8497    [Address on File]     5/19/2023 Bitcoin                             0.00045352 Customer Transfer
 Confidential Customer Coin Transferee #8498    [Address on File]     5/29/2023 Bitcoin                             0.00236907 Customer Transfer
 Confidential Customer Coin Transferee #8499    [Address on File]     6/20/2023 Bitcoin                             0.00003571 Customer Transfer
 Confidential Customer Coin Transferee #8500    [Address on File]     6/20/2023 Bitcoin                             0.01127427 Customer Transfer
 Confidential Customer Coin Transferee #8501    [Address on File]     5/16/2023 Bitcoin                             0.01839733 Customer Transfer
 Confidential Customer Coin Transferee #8502    [Address on File]     5/24/2023 Bitcoin                             0.02500797 Customer Transfer
 Confidential Customer Coin Transferee #8503    [Address on File]     5/19/2023 Bitcoin                                    0.03 Customer Transfer
 Confidential Customer Coin Transferee #8504    [Address on File]     5/16/2023 Bitcoin                             0.02811816 Customer Transfer
 Confidential Customer Coin Transferee #8505    [Address on File]     5/29/2023 USDC Avalanche)                     297.071756 Customer Transfer
 Confidential Customer Coin Transferee #8505    [Address on File]     6/14/2023 USDC Avalanche)                      47.526236 Customer Transfer
 Confidential Customer Coin Transferee #8506    [Address on File]     6/20/2023 Bitcoin                             0.00010828 Customer Transfer
 Confidential Customer Coin Transferee #8507    [Address on File]     6/19/2023 Bitcoin                             0.00161106 Customer Transfer
 Confidential Customer Coin Transferee #8508    [Address on File]     6/19/2023 Bitcoin                             0.00067489 Customer Transfer
 Confidential Customer Coin Transferee #8509    [Address on File]      6/5/2023 Bitcoin                             0.00870574 Customer Transfer
 Confidential Customer Coin Transferee #8510    [Address on File]     6/16/2023 Bitcoin                             0.00580697 Customer Transfer
 Confidential Customer Coin Transferee #8511    [Address on File]     5/25/2023 Bitcoin                              0.0018151 Customer Transfer
 Confidential Customer Coin Transferee #8511    [Address on File]     5/19/2023 Bitcoin                             0.00171389 Customer Transfer
 Confidential Customer Coin Transferee #8512    [Address on File]     5/23/2023 Bitcoin                             0.01092754 Customer Transfer
 Confidential Customer Coin Transferee #8513    [Address on File]      6/7/2023 Bitcoin                             0.01278756 Customer Transfer
 Confidential Customer Coin Transferee #8513    [Address on File]      6/2/2023 Bitcoin                             0.01271612 Customer Transfer
 Confidential Customer Coin Transferee #8513    [Address on File]      6/9/2023 Bitcoin                             0.01127064 Customer Transfer
 Confidential Customer Coin Transferee #8513    [Address on File]      6/8/2023 Bitcoin                             0.00940601 Customer Transfer
 Confidential Customer Coin Transferee #8513    [Address on File]      6/7/2023 Bitcoin                             0.00411577 Customer Transfer
 Confidential Customer Coin Transferee #8514    [Address on File]     6/20/2023 Bitcoin                             0.00005828 Customer Transfer
 Confidential Customer Coin Transferee #8515    [Address on File]     5/26/2023 Bitcoin                              0.0251039 Customer Transfer
 Confidential Customer Coin Transferee #8515    [Address on File]     5/19/2023 Bitcoin                             0.02318878 Customer Transfer
 Confidential Customer Coin Transferee #8516    [Address on File]     6/20/2023 Bitcoin                             0.00006043 Customer Transfer
 Confidential Customer Coin Transferee #8517    [Address on File]     6/20/2023 Bitcoin                             0.00005872 Customer Transfer
 Confidential Customer Coin Transferee #8518    [Address on File]     5/25/2023 Bitcoin                             0.01071736 Customer Transfer
 Confidential Customer Coin Transferee #8519    [Address on File]     6/19/2023 Bitcoin                             0.00012102 Customer Transfer
 Confidential Customer Coin Transferee #8520    [Address on File]     6/20/2023 Bitcoin                             0.00035941 Customer Transfer
 Confidential Customer Coin Transferee #8521    [Address on File]     5/23/2023 Bitcoin                             0.25574435 Customer Transfer
 Confidential Customer Coin Transferee #8522    [Address on File]     5/22/2023 Bitcoin                             0.18054783 Customer Transfer
 Confidential Customer Coin Transferee #8523    [Address on File]      6/9/2023 Bitcoin                             0.00259024 Customer Transfer
 Confidential Customer Coin Transferee #8524    [Address on File]     6/20/2023 Bitcoin                             0.04461693 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8525    [Address on File]     6/19/2023 Bitcoin                             0.00017914 Customer Transfer
 Confidential Customer Coin Transferee #8526    [Address on File]     6/20/2023 Bitcoin                             0.00550378 Customer Transfer


 Confidential Customer Coin Transferee #8527    [Address on File]      6/8/2023 Bitcoin                                    0.10075 Customer Transfer
 Confidential Customer Coin Transferee #8528    [Address on File]     5/29/2023 Bitcoin                                0.01085775 Customer Transfer
 Confidential Customer Coin Transferee #8529    [Address on File]     6/20/2023 Bitcoin                                0.00074933 Customer Transfer
 Confidential Customer Coin Transferee #8530    [Address on File]     6/19/2023 Bitcoin                                0.00005922 Customer Transfer
 Confidential Customer Coin Transferee #8531    [Address on File]     5/20/2023 Bitcoin                                0.05182307 Customer Transfer
 Confidential Customer Coin Transferee #8532    [Address on File]     5/22/2023 Bitcoin                                0.00184448 Customer Transfer
 Confidential Customer Coin Transferee #8533    [Address on File]     5/26/2023 Bitcoin                                0.01087414 Customer Transfer
 Confidential Customer Coin Transferee #8534    [Address on File]      6/2/2023 Bitcoin                                0.00140708 Customer Transfer
 Confidential Customer Coin Transferee #8535    [Address on File]     5/21/2023 Bitcoin                                0.00036409 Customer Transfer
 Confidential Customer Coin Transferee #8535    [Address on File]     5/29/2023 Bitcoin                                0.00033182 Customer Transfer
 Confidential Customer Coin Transferee #8536    [Address on File]     6/19/2023 Bitcoin                                0.00008933 Customer Transfer
 Confidential Customer Coin Transferee #8537    [Address on File]     6/17/2023 Bitcoin                                   0.002558 Customer Transfer
 Confidential Customer Coin Transferee #8538    [Address on File]     5/25/2023 Bitcoin                                0.01245809 Customer Transfer
 Confidential Customer Coin Transferee #8538    [Address on File]     5/18/2023 Bitcoin                                0.01000963 Customer Transfer
 Confidential Customer Coin Transferee #8539    [Address on File]     6/20/2023 Bitcoin                                 0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #8540    [Address on File]     6/20/2023 Bitcoin                                0.02803816 Customer Transfer
 Confidential Customer Coin Transferee #8541    [Address on File]     6/20/2023 Bitcoin                                0.00368072 Customer Transfer
 Confidential Customer Coin Transferee #8542    [Address on File]     6/20/2023 Bitcoin                                0.05471232 Customer Transfer
 Confidential Customer Coin Transferee #8543    [Address on File]     6/20/2023 Bitcoin                                0.00046961 Customer Transfer
 Confidential Customer Coin Transferee #8544    [Address on File]     5/21/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #8545    [Address on File]     6/20/2023 Bitcoin                                0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #8546    [Address on File]     5/21/2023 Bitcoin                                0.05257558 Customer Transfer
 Confidential Customer Coin Transferee #8547    [Address on File]     5/25/2023 Bitcoin                                0.00053971 Customer Transfer
 Confidential Customer Coin Transferee #8547    [Address on File]     5/25/2023 Bitcoin                                0.00052679 Customer Transfer
 Confidential Customer Coin Transferee #8547    [Address on File]     5/25/2023 Bitcoin                                0.00051118 Customer Transfer
 Confidential Customer Coin Transferee #8547    [Address on File]     5/25/2023 Bitcoin                                0.00050444 Customer Transfer
 Confidential Customer Coin Transferee #8547    [Address on File]     5/25/2023 Bitcoin                                0.00049876 Customer Transfer
 Confidential Customer Coin Transferee #8548    [Address on File]     5/22/2023 Bitcoin                                0.00919425 Customer Transfer
 Confidential Customer Coin Transferee #8549    [Address on File]     5/21/2023 Bitcoin                                 0.0097295 Customer Transfer
 Confidential Customer Coin Transferee #8550    [Address on File]     6/20/2023 Bitcoin                                0.00116128 Customer Transfer
 Confidential Customer Coin Transferee #8551    [Address on File]     6/20/2023 Bitcoin                                0.00616441 Customer Transfer
 Confidential Customer Coin Transferee #8552    [Address on File]     5/18/2023 Bitcoin                                 0.0255775 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8553    [Address on File]     5/19/2023 Bitcoin                             0.01081687 Customer Transfer
 Confidential Customer Coin Transferee #8554    [Address on File]     6/20/2023 Bitcoin                             0.00144958 Customer Transfer
 Confidential Customer Coin Transferee #8555    [Address on File]     6/20/2023 Bitcoin                             0.00793323 Customer Transfer
 Confidential Customer Coin Transferee #8556    [Address on File]      6/6/2023 Bitcoin                              0.0054116 Customer Transfer
 Confidential Customer Coin Transferee #8557    [Address on File]     6/19/2023 Bitcoin                             0.00005804 Customer Transfer
 Confidential Customer Coin Transferee #8558    [Address on File]     5/26/2023 Bitcoin                             0.00564376 Customer Transfer
 Confidential Customer Coin Transferee #8559    [Address on File]     5/26/2023 Bitcoin                             0.00318514 Customer Transfer
 Confidential Customer Coin Transferee #8559    [Address on File]      6/9/2023 Bitcoin                             0.00262269 Customer Transfer
 Confidential Customer Coin Transferee #8559    [Address on File]      6/6/2023 Bitcoin                             0.00192573 Customer Transfer
 Confidential Customer Coin Transferee #8559    [Address on File]     6/12/2023 Bitcoin                             0.00191535 Customer Transfer
 Confidential Customer Coin Transferee #8559    [Address on File]     5/30/2023 Bitcoin                             0.00089265 Customer Transfer
 Confidential Customer Coin Transferee #8560    [Address on File]     6/20/2023 Bitcoin                             0.03403511 Customer Transfer
 Confidential Customer Coin Transferee #8561    [Address on File]     5/29/2023 Bitcoin                             0.01755586 Customer Transfer
 Confidential Customer Coin Transferee #8562    [Address on File]     6/20/2023 Bitcoin                             0.00057796 Customer Transfer
 Confidential Customer Coin Transferee #8563    [Address on File]     6/19/2023 Bitcoin                             0.00286182 Customer Transfer

 Confidential Customer Coin Transferee #8564    [Address on File]     6/19/2023 Bitcoin                                0.02466391 Customer Transfer
 Confidential Customer Coin Transferee #8565    [Address on File]     6/20/2023 Bitcoin                                0.00005973 Customer Transfer
 Confidential Customer Coin Transferee #8566    [Address on File]     6/19/2023 Bitcoin                                0.00341552 Customer Transfer
 Confidential Customer Coin Transferee #8567    [Address on File]     5/21/2023 Bitcoin                                0.00277547 Customer Transfer
 Confidential Customer Coin Transferee #8567    [Address on File]     5/28/2023 Bitcoin                                0.00273326 Customer Transfer
 Confidential Customer Coin Transferee #8568    [Address on File]      6/5/2023 Bitcoin                                0.00112844 Customer Transfer
 Confidential Customer Coin Transferee #8569    [Address on File]      6/9/2023 USDC Avalanche)                        253.173413 Customer Transfer
 Confidential Customer Coin Transferee #8570    [Address on File]     6/19/2023 Bitcoin                                0.00005004 Customer Transfer
 Confidential Customer Coin Transferee #8571    [Address on File]     5/25/2023 Bitcoin                                0.00363885 Customer Transfer
 Confidential Customer Coin Transferee #8572    [Address on File]     5/31/2023 USDC Avalanche)                                  15 Customer Transfer
 Confidential Customer Coin Transferee #8572    [Address on File]     6/13/2023 Avalanche CChain)                      8.46969054 Customer Transfer
 Confidential Customer Coin Transferee #8572    [Address on File]     5/30/2023 Avalanche CChain)                      6.85890834 Customer Transfer
 Confidential Customer Coin Transferee #8572    [Address on File]     5/17/2023 Lumens                                          0.1 Customer Transfer
 Confidential Customer Coin Transferee #8573    [Address on File]     6/15/2023 USDC Avalanche)                        796.391804 Customer Transfer
 Confidential Customer Coin Transferee #8573    [Address on File]     5/23/2023 USD Coin                                  2.428542 Customer Transfer
 Confidential Customer Coin Transferee #8574    [Address on File]     6/15/2023 USDC Avalanche)                         47.516241 Customer Transfer
 Confidential Customer Coin Transferee #8574    [Address on File]     5/19/2023 USD Coin                                31.270618 Customer Transfer

 Confidential Customer Coin Transferee #8575    [Address on File]     5/30/2023 Bitcoin                                0.01608658 Customer Transfer
 Confidential Customer Coin Transferee #8576    [Address on File]     5/16/2023 Bitcoin                                0.01576389 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8577    [Address on File]      6/2/2023 TUIT Polygon)                          3800000 Customer Transfer
 Confidential Customer Coin Transferee #8577    [Address on File]     6/19/2023 TUIT Polygon)                          3800000 Customer Transfer
 Confidential Customer Coin Transferee #8578    [Address on File]     5/18/2023 Bitcoin                             0.16711473 Customer Transfer
 Confidential Customer Coin Transferee #8579    [Address on File]     6/20/2023 Bitcoin                             0.00044988 Customer Transfer
 Confidential Customer Coin Transferee #8580    [Address on File]     6/19/2023 Bitcoin                             0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #8581    [Address on File]     6/20/2023 Bitcoin                             0.01233221 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/18/2023 Bitcoin                             0.00073544 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/24/2023 Bitcoin                             0.00055751 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/18/2023 Bitcoin                             0.00045977 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/19/2023 Bitcoin                             0.00044345 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/28/2023 Bitcoin                              0.0004036 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/25/2023 Bitcoin                              0.0003791 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/26/2023 Bitcoin                             0.00037557 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/27/2023 Bitcoin                             0.00037224 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/21/2023 Bitcoin                             0.00037179 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/27/2023 Bitcoin                             0.00037178 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/24/2023 Bitcoin                              0.0003716 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/19/2023 Bitcoin                             0.00037054 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/22/2023 Bitcoin                             0.00037001 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/21/2023 Bitcoin                             0.00036988 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/21/2023 Bitcoin                             0.00036982 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/22/2023 Bitcoin                             0.00036979 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/31/2023 Bitcoin                              0.0003681 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/18/2023 Bitcoin                             0.00036729 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/21/2023 Bitcoin                             0.00036701 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/21/2023 Bitcoin                             0.00036687 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/21/2023 Bitcoin                             0.00036609 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/18/2023 Bitcoin                             0.00036527 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/16/2023 Bitcoin                             0.00036004 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/30/2023 Bitcoin                             0.00035913 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/21/2023 Bitcoin                             0.00035092 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/19/2023 Bitcoin                             0.00033331 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/21/2023 Bitcoin                             0.00031584 Customer Transfer
 Confidential Customer Coin Transferee #8582    [Address on File]     5/27/2023 Bitcoin                             0.00029758 Customer Transfer
 Confidential Customer Coin Transferee #8583    [Address on File]     5/20/2023 Bitcoin                             0.01325881 Customer Transfer
 Confidential Customer Coin Transferee #8583    [Address on File]     5/20/2023 Bitcoin                                   0.005 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8583    [Address on File]     5/26/2023 Bitcoin                                 0.00015 Customer Transfer
 Confidential Customer Coin Transferee #8584    [Address on File]     6/10/2023 Cosmos Hub ATOM)                     25.020871 Customer Transfer
 Confidential Customer Coin Transferee #8585    [Address on File]     5/19/2023 Bitcoin                             0.00724961 Customer Transfer
 Confidential Customer Coin Transferee #8585    [Address on File]     5/27/2023 Bitcoin                             0.00297387 Customer Transfer
 Confidential Customer Coin Transferee #8585    [Address on File]     5/20/2023 Bitcoin                             0.00277493 Customer Transfer
 Confidential Customer Coin Transferee #8585    [Address on File]     5/20/2023 Bitcoin                             0.00172584 Customer Transfer
 Confidential Customer Coin Transferee #8585    [Address on File]     5/20/2023 Bitcoin                             0.00165571 Customer Transfer
 Confidential Customer Coin Transferee #8585    [Address on File]     5/17/2023 Bitcoin                             0.00147914 Customer Transfer
 Confidential Customer Coin Transferee #8586    [Address on File]     5/25/2023 Bitcoin                             0.01085805 Customer Transfer
 Confidential Customer Coin Transferee #8587    [Address on File]     6/20/2023 Bitcoin                             0.00105211 Customer Transfer
 Confidential Customer Coin Transferee #8588    [Address on File]     5/30/2023 Bitcoin                             0.01050704 Customer Transfer
 Confidential Customer Coin Transferee #8589    [Address on File]     6/20/2023 Bitcoin                             0.00057014 Customer Transfer
 Confidential Customer Coin Transferee #8590    [Address on File]     6/19/2023 Bitcoin                             0.00005614 Customer Transfer
 Confidential Customer Coin Transferee #8591    [Address on File]     5/23/2023 Bitcoin                             0.07227593 Customer Transfer
 Confidential Customer Coin Transferee #8591    [Address on File]     5/17/2023 Bitcoin                             0.03365965 Customer Transfer
 Confidential Customer Coin Transferee #8591    [Address on File]     5/23/2023 Bitcoin                             0.02884835 Customer Transfer
 Confidential Customer Coin Transferee #8591    [Address on File]     5/22/2023 Bitcoin                             0.02597759 Customer Transfer
 Confidential Customer Coin Transferee #8591    [Address on File]     5/17/2023 Bitcoin                             0.00329989 Customer Transfer
 Confidential Customer Coin Transferee #8591    [Address on File]     5/24/2023 Bitcoin                             0.00127928 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/26/2023 Bitcoin                             0.00362834 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/31/2023 Bitcoin                             0.00356377 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/31/2023 Bitcoin                             0.00308827 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/19/2023 Bitcoin                             0.00296783 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]      6/1/2023 Bitcoin                             0.00259178 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/23/2023 Bitcoin                             0.00251158 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/21/2023 Bitcoin                              0.0021809 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/30/2023 Bitcoin                             0.00214731 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/31/2023 Bitcoin                             0.00212859 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/26/2023 Bitcoin                              0.0019337 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/31/2023 Bitcoin                             0.00184545 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/25/2023 Bitcoin                             0.00184517 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/22/2023 Bitcoin                             0.00180981 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/30/2023 Bitcoin                             0.00179433 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/23/2023 Bitcoin                             0.00179371 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/17/2023 Bitcoin                             0.00178592 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]      6/1/2023 Bitcoin                             0.00177749 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/30/2023 Bitcoin                             0.00172596 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/24/2023 Bitcoin                             0.00158721 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/27/2023 Bitcoin                             0.00156264 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/31/2023 Bitcoin                             0.00154432 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]      6/1/2023 Bitcoin                             0.00154057 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/25/2023 Bitcoin                             0.00150986 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]      6/1/2023 Bitcoin                             0.00148068 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]      6/1/2023 Bitcoin                             0.00147892 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/25/2023 Bitcoin                              0.0014648 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/23/2023 Bitcoin                              0.0014442 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/22/2023 Bitcoin                             0.00144164 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/25/2023 Bitcoin                             0.00144088 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/21/2023 Bitcoin                             0.00143982 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/25/2023 Bitcoin                             0.00143034 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/25/2023 Bitcoin                             0.00142987 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/26/2023 Bitcoin                             0.00142662 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/27/2023 Bitcoin                             0.00141681 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/24/2023 Bitcoin                             0.00141564 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]      6/1/2023 Bitcoin                             0.00140612 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/16/2023 Bitcoin                             0.00140073 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/16/2023 Bitcoin                             0.00139875 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/29/2023 Bitcoin                             0.00136513 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/30/2023 Bitcoin                             0.00132287 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/27/2023 Bitcoin                             0.00126688 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/31/2023 Bitcoin                             0.00124861 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]      6/1/2023 Bitcoin                             0.00124726 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/25/2023 Bitcoin                             0.00120951 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/26/2023 Bitcoin                             0.00120359 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/26/2023 Bitcoin                             0.00120323 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/26/2023 Bitcoin                             0.00120277 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/26/2023 Bitcoin                             0.00120256 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/27/2023 Bitcoin                             0.00119431 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/19/2023 Bitcoin                             0.00118549 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/19/2023 Bitcoin                             0.00118483 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/19/2023 Bitcoin                             0.00118459 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/19/2023 Bitcoin                              0.0011839 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/19/2023 Bitcoin                             0.00118315 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/20/2023 Bitcoin                             0.00118283 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/19/2023 Bitcoin                             0.00118198 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/19/2023 Bitcoin                             0.00118164 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/20/2023 Bitcoin                             0.00118126 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/18/2023 Bitcoin                             0.00116248 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/20/2023 Bitcoin                             0.00110921 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/16/2023 Bitcoin                             0.00110327 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/23/2023 Bitcoin                             0.00109297 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/17/2023 Bitcoin                             0.00107685 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/20/2023 Bitcoin                             0.00107312 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/20/2023 Bitcoin                             0.00103621 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/19/2023 Bitcoin                             0.00103606 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/19/2023 Bitcoin                             0.00103574 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/20/2023 Bitcoin                             0.00103573 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/20/2023 Bitcoin                             0.00103532 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/20/2023 Bitcoin                             0.00103466 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/20/2023 Bitcoin                             0.00103391 Customer Transfer
 Confidential Customer Coin Transferee #8592    [Address on File]     5/30/2023 Bitcoin                             0.00102851 Customer Transfer
 Confidential Customer Coin Transferee #8593    [Address on File]     5/25/2023 Bitcoin                             0.05365308 Customer Transfer
 Confidential Customer Coin Transferee #8594    [Address on File]     5/24/2023 Bitcoin                                   0.006 Customer Transfer
 Confidential Customer Coin Transferee #8595    [Address on File]     5/20/2023 Bitcoin                             0.00646011 Customer Transfer
 Confidential Customer Coin Transferee #8595    [Address on File]     5/29/2023 Bitcoin                             0.00369686 Customer Transfer

 Confidential Customer Coin Transferee #8596    [Address on File]     6/20/2023 Bitcoin                                0.00006015 Customer Transfer
 Confidential Customer Coin Transferee #8597    [Address on File]     5/23/2023 Bitcoin                                0.03899749 Customer Transfer
 Confidential Customer Coin Transferee #8598    [Address on File]     6/19/2023 Bitcoin                                0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #8599    [Address on File]     5/23/2023 Bitcoin                                0.01900049 Customer Transfer
 Confidential Customer Coin Transferee #8600    [Address on File]     6/20/2023 Bitcoin                                 0.0067947 Customer Transfer
 Confidential Customer Coin Transferee #8601    [Address on File]     5/20/2023 Bitcoin                                        4.6 Customer Transfer
 Confidential Customer Coin Transferee #8601    [Address on File]     5/20/2023 Bitcoin                                      0.169 Customer Transfer
 Confidential Customer Coin Transferee #8601    [Address on File]     5/20/2023 Bitcoin                                0.03275142 Customer Transfer
 Confidential Customer Coin Transferee #8602    [Address on File]     5/30/2023 Bitcoin                                0.01105618 Customer Transfer
 Confidential Customer Coin Transferee #8603    [Address on File]     5/23/2023 Bitcoin                                0.01315084 Customer Transfer
 Confidential Customer Coin Transferee #8604    [Address on File]     5/19/2023 Bitcoin                                0.00090778 Customer Transfer
 Confidential Customer Coin Transferee #8605    [Address on File]     6/20/2023 Bitcoin                                0.00057932 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #8606    [Address on File]     5/21/2023 Bitcoin                                       0.2 Customer Transfer
 Confidential Customer Coin Transferee #8606    [Address on File]     5/22/2023 Bitcoin                             0.08695148 Customer Transfer
 Confidential Customer Coin Transferee #8607    [Address on File]     5/20/2023 Bitcoin                             0.01610012 Customer Transfer
 Confidential Customer Coin Transferee #8608    [Address on File]     5/18/2023 Bitcoin                             0.05435451 Customer Transfer
 Confidential Customer Coin Transferee #8608    [Address on File]     5/18/2023 Bitcoin                             0.03714902 Customer Transfer
 Confidential Customer Coin Transferee #8609    [Address on File]     5/17/2023 Bitcoin                             0.00371267 Customer Transfer
 Confidential Customer Coin Transferee #8610    [Address on File]     5/23/2023 Bitcoin                                   0.0037 Customer Transfer
 Confidential Customer Coin Transferee #8611    [Address on File]     5/26/2023 Bitcoin                             0.00955304 Customer Transfer
 Confidential Customer Coin Transferee #8611    [Address on File]      6/9/2023 Bitcoin                             0.00517507 Customer Transfer
 Confidential Customer Coin Transferee #8611    [Address on File]      6/2/2023 Bitcoin                             0.00515951 Customer Transfer
 Confidential Customer Coin Transferee #8611    [Address on File]     6/16/2023 Bitcoin                              0.0051142 Customer Transfer
 Confidential Customer Coin Transferee #8611    [Address on File]     5/19/2023 Bitcoin                             0.00481632 Customer Transfer
 Confidential Customer Coin Transferee #8612    [Address on File]     6/20/2023 Bitcoin                             0.00005805 Customer Transfer
 Confidential Customer Coin Transferee #8613    [Address on File]     6/20/2023 Bitcoin                             0.00041524 Customer Transfer
 Confidential Customer Coin Transferee #8614    [Address on File]     5/19/2023 Bitcoin                                      0.17 Customer Transfer
 Confidential Customer Coin Transferee #8615    [Address on File]     5/23/2023 Bitcoin                             0.03760849 Customer Transfer
 Confidential Customer Coin Transferee #8616    [Address on File]     6/19/2023 Bitcoin                             0.00005822 Customer Transfer
 Confidential Customer Coin Transferee #8617    [Address on File]     5/20/2023 Bitcoin                              0.0007786 Customer Transfer
 Confidential Customer Coin Transferee #8618    [Address on File]     5/21/2023 Bitcoin                             0.09248277 Customer Transfer
 Confidential Customer Coin Transferee #8619    [Address on File]      6/5/2023 Bitcoin                             0.01089439 Customer Transfer
 Confidential Customer Coin Transferee #8619    [Address on File]     5/18/2023 Bitcoin                             0.01032083 Customer Transfer
 Confidential Customer Coin Transferee #8620    [Address on File]     5/22/2023 Bitcoin                             0.10790374 Customer Transfer
 Confidential Customer Coin Transferee #8621    [Address on File]     5/31/2023 Bitcoin                             0.09949764 Customer Transfer
 Confidential Customer Coin Transferee #8621    [Address on File]     5/26/2023 Bitcoin                             0.03787814 Customer Transfer
 Confidential Customer Coin Transferee #8621    [Address on File]     5/17/2023 Bitcoin                             0.03716627 Customer Transfer
 Confidential Customer Coin Transferee #8622    [Address on File]     5/27/2023 USDC Avalanche)                     350.239856 Customer Transfer
 Confidential Customer Coin Transferee #8622    [Address on File]     5/27/2023 USDC Avalanche)                     350.239856 Customer Transfer
 Confidential Customer Coin Transferee #8623    [Address on File]      6/9/2023 Bitcoin                             0.00150025 Customer Transfer
 Confidential Customer Coin Transferee #8624    [Address on File]     5/24/2023 Bitcoin                             0.00253894 Customer Transfer
 Confidential Customer Coin Transferee #8625    [Address on File]     5/24/2023 Bitcoin                             0.00297711 Customer Transfer
 Confidential Customer Coin Transferee #8625    [Address on File]     5/17/2023 Bitcoin                             0.00276322 Customer Transfer
 Confidential Customer Coin Transferee #8626    [Address on File]     6/19/2023 Bitcoin                                0.000064 Customer Transfer
 Confidential Customer Coin Transferee #8627    [Address on File]     5/26/2023 Bitcoin                              0.0082125 Customer Transfer
 Confidential Customer Coin Transferee #8628    [Address on File]     5/30/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #8628    [Address on File]     5/26/2023 Bitcoin                             0.00108853 Customer Transfer
 Confidential Customer Coin Transferee #8628    [Address on File]     5/18/2023 Bitcoin                             0.00089169 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8629    [Address on File]     6/20/2023 Bitcoin                             0.00058211 Customer Transfer
 Confidential Customer Coin Transferee #8630    [Address on File]     5/30/2023 Bitcoin                             0.02794336 Customer Transfer
 Confidential Customer Coin Transferee #8630    [Address on File]     5/22/2023 Bitcoin                             0.02731887 Customer Transfer
 Confidential Customer Coin Transferee #8631    [Address on File]      6/2/2023 Tether USD                             780.3501 Customer Transfer
 Confidential Customer Coin Transferee #8632    [Address on File]     6/20/2023 Bitcoin                             0.00661623 Customer Transfer
 Confidential Customer Coin Transferee #8633    [Address on File]     5/16/2023 Bitcoin                              0.0184168 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]     6/15/2023 Bitcoin                             0.01587598 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]      6/2/2023 Bitcoin                             0.01471824 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]     5/22/2023 Bitcoin                             0.01430896 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]     5/23/2023 Bitcoin                             0.01250786 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]     6/16/2023 Bitcoin                             0.01195837 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]      6/5/2023 Bitcoin                             0.00546418 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]     5/26/2023 Bitcoin                             0.00505699 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]     5/26/2023 Bitcoin                             0.00480677 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]     5/19/2023 Bitcoin                             0.00479452 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]     5/22/2023 Bitcoin                             0.00239605 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]     5/30/2023 Bitcoin                             0.00214379 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]     5/25/2023 Bitcoin                             0.00189932 Customer Transfer
 Confidential Customer Coin Transferee #8634    [Address on File]     5/24/2023 Bitcoin                             0.00182308 Customer Transfer
 Confidential Customer Coin Transferee #8635    [Address on File]     6/20/2023 Bitcoin                              0.0046633 Customer Transfer
 Confidential Customer Coin Transferee #8636    [Address on File]     6/20/2023 Bitcoin                             0.01332961 Customer Transfer
 Confidential Customer Coin Transferee #8637    [Address on File]     6/19/2023 Bitcoin                             0.01968914 Customer Transfer
 Confidential Customer Coin Transferee #8638    [Address on File]     5/24/2023 Bitcoin                             0.02534291 Customer Transfer
 Confidential Customer Coin Transferee #8639    [Address on File]     5/23/2023 Bitcoin                             0.01862398 Customer Transfer
 Confidential Customer Coin Transferee #8640    [Address on File]     6/19/2023 Bitcoin                             0.03157616 Customer Transfer
 Confidential Customer Coin Transferee #8641    [Address on File]     5/21/2023 Bitcoin                             0.01051222 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/17/2023 Bitcoin                             0.00117961 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/16/2023 Bitcoin                             0.00081606 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/23/2023 Bitcoin                             0.00076215 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/16/2023 Bitcoin                             0.00073598 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/16/2023 Bitcoin                             0.00072832 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/18/2023 Bitcoin                             0.00072691 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/23/2023 Bitcoin                             0.00072587 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/19/2023 Bitcoin                             0.00071053 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/17/2023 Bitcoin                             0.00063027 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/17/2023 Bitcoin                                 0.00063 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/26/2023 Bitcoin                             0.00060215 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/16/2023 Bitcoin                             0.00055106 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/18/2023 Bitcoin                             0.00055094 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/17/2023 Bitcoin                                 0.00055 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/17/2023 Bitcoin                                 0.00055 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/31/2023 Bitcoin                             0.00054094 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/22/2023 Bitcoin                             0.00052547 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/21/2023 Bitcoin                             0.00051937 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/18/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/22/2023 Bitcoin                             0.00046242 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/16/2023 Bitcoin                                 0.00045 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/23/2023 Bitcoin                             0.00043461 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/22/2023 Bitcoin                              0.0004123 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/16/2023 Bitcoin                                 0.00041 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/22/2023 Bitcoin                             0.00040048 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/18/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/22/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/25/2023 Bitcoin                             0.00039468 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/31/2023 Bitcoin                             0.00039414 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/25/2023 Bitcoin                             0.00037874 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/16/2023 Bitcoin                             0.00035636 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/16/2023 Bitcoin                                 0.00035 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/16/2023 Bitcoin                             0.00034427 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/25/2023 Bitcoin                             0.00033808 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/20/2023 Bitcoin                                0.000332 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/20/2023 Bitcoin                              0.0003302 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/22/2023 Bitcoin                                0.000321 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/22/2023 Bitcoin                                0.000321 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/21/2023 Bitcoin                             0.00031416 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/30/2023 Bitcoin                             0.00026525 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/31/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/23/2023 Bitcoin                             0.00023837 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/20/2023 Bitcoin                             0.00019926 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/29/2023 Bitcoin                             0.00018509 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/18/2023 Bitcoin                             0.00018422 Customer Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/22/2023 Bitcoin                             0.00016229 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8642    [Address on File]     5/31/2023 Bitcoin                             0.00014828 Customer Transfer
 Confidential Customer Coin Transferee #8643    [Address on File]     6/20/2023 USD Coin                               58.5265 Customer Transfer
 Confidential Customer Coin Transferee #8643    [Address on File]     6/20/2023 Recover Value USD                           50 Customer Transfer
 Confidential Customer Coin Transferee #8644    [Address on File]     6/19/2023 Bitcoin                             0.00365273 Customer Transfer
 Confidential Customer Coin Transferee #8645    [Address on File]     6/19/2023 Bitcoin                             0.00014832 Customer Transfer
 Confidential Customer Coin Transferee #8646    [Address on File]     6/20/2023 Bitcoin                             0.00005607 Customer Transfer
 Confidential Customer Coin Transferee #8647    [Address on File]     6/19/2023 Bitcoin                             0.00345497 Customer Transfer
 Confidential Customer Coin Transferee #8648    [Address on File]     5/25/2023 Bitcoin                             0.00072942 Customer Transfer
 Confidential Customer Coin Transferee #8648    [Address on File]     5/19/2023 Bitcoin                             0.00072418 Customer Transfer
 Confidential Customer Coin Transferee #8649    [Address on File]     6/19/2023 Bitcoin                             0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #8650    [Address on File]     5/24/2023 Bitcoin                             0.00743138 Customer Transfer
 Confidential Customer Coin Transferee #8651    [Address on File]     5/22/2023 Bitcoin                             0.01028845 Customer Transfer
 Confidential Customer Coin Transferee #8652    [Address on File]     5/16/2023 Bitcoin                              0.0258137 Customer Transfer
 Confidential Customer Coin Transferee #8652    [Address on File]     5/24/2023 Bitcoin                             0.00902924 Customer Transfer
 Confidential Customer Coin Transferee #8653    [Address on File]     5/16/2023 Bitcoin                             0.00073943 Customer Transfer
 Confidential Customer Coin Transferee #8653    [Address on File]     6/19/2023 Bitcoin                             0.00048094 Customer Transfer
 Confidential Customer Coin Transferee #8654    [Address on File]     5/22/2023 Bitcoin                             0.01052624 Customer Transfer
 Confidential Customer Coin Transferee #8655    [Address on File]     6/20/2023 Bitcoin                              0.0000592 Customer Transfer
 Confidential Customer Coin Transferee #8656    [Address on File]     6/20/2023 Bitcoin                             0.00107154 Customer Transfer
 Confidential Customer Coin Transferee #8657    [Address on File]     6/19/2023 Bitcoin                             0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #8658    [Address on File]     6/20/2023 Bitcoin                             0.00012324 Customer Transfer
 Confidential Customer Coin Transferee #8659    [Address on File]     6/20/2023 Bitcoin                             0.00012241 Customer Transfer
 Confidential Customer Coin Transferee #8660    [Address on File]     6/20/2023 Bitcoin                             0.00005615 Customer Transfer
 Confidential Customer Coin Transferee #8661    [Address on File]     5/22/2023 USDC Avalanche)                      37.488753 Customer Transfer
 Confidential Customer Coin Transferee #8661    [Address on File]     5/22/2023 USDC Avalanche)                      37.485005 Customer Transfer
 Confidential Customer Coin Transferee #8662    [Address on File]     5/23/2023 USDC Solana)                                 5 Customer Transfer
 Confidential Customer Coin Transferee #8663    [Address on File]     5/20/2023 Bitcoin                             0.02731013 Customer Transfer
 Confidential Customer Coin Transferee #8664    [Address on File]     6/20/2023 Bitcoin                              0.0000446 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/31/2023 Bitcoin                             0.00188237 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/29/2023 Bitcoin                             0.00172298 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/22/2023 Bitcoin                             0.00151949 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/22/2023 Bitcoin                             0.00151863 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/31/2023 Bitcoin                             0.00143635 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/22/2023 Bitcoin                              0.0013703 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/24/2023 Bitcoin                             0.00127978 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/22/2023 Bitcoin                             0.00118377 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/24/2023 Bitcoin                             0.00110047 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/23/2023 Bitcoin                             0.00109901 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/27/2023 Bitcoin                             0.00103643 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/25/2023 Bitcoin                             0.00097682 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/24/2023 Bitcoin                             0.00094135 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/20/2023 Bitcoin                             0.00085059 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/28/2023 Bitcoin                              0.0008151 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/17/2023 Bitcoin                             0.00077525 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/17/2023 Bitcoin                             0.00077344 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/31/2023 Bitcoin                             0.00077062 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/18/2023 Bitcoin                             0.00076419 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/24/2023 Bitcoin                             0.00073244 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/19/2023 Bitcoin                             0.00070189 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/16/2023 Bitcoin                             0.00049144 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/22/2023 Bitcoin                             0.00040722 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/28/2023 Bitcoin                             0.00036072 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/23/2023 Bitcoin                             0.00032858 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/18/2023 Bitcoin                             0.00025471 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/17/2023 Bitcoin                             0.00022083 Customer Transfer
 Confidential Customer Coin Transferee #8665    [Address on File]     5/24/2023 Bitcoin                             0.00013009 Customer Transfer
 Confidential Customer Coin Transferee #8666    [Address on File]     6/19/2023 Bitcoin                             0.00005813 Customer Transfer
 Confidential Customer Coin Transferee #8667    [Address on File]     6/20/2023 Bitcoin                             0.00005811 Customer Transfer
 Confidential Customer Coin Transferee #8668    [Address on File]     5/29/2023 Bitcoin                             0.13974178 Customer Transfer
 Confidential Customer Coin Transferee #8669    [Address on File]     5/23/2023 Bitcoin                             0.01062355 Customer Transfer
 Confidential Customer Coin Transferee #8670    [Address on File]     5/26/2023 Bitcoin                             0.03192881 Customer Transfer
 Confidential Customer Coin Transferee #8670    [Address on File]     5/16/2023 Bitcoin                             0.00150965 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/22/2023 Bitcoin                             0.00555315 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/27/2023 Bitcoin                             0.00412817 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/24/2023 Bitcoin                             0.00392691 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/31/2023 Bitcoin                             0.00359289 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/22/2023 Bitcoin                             0.00348812 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/25/2023 Bitcoin                             0.00340577 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/31/2023 Bitcoin                             0.00286957 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/16/2023 Bitcoin                             0.00275346 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/24/2023 Bitcoin                             0.00257389 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/23/2023 Bitcoin                             0.00252843 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/22/2023 Bitcoin                             0.00225879 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/27/2023 Bitcoin                             0.00225536 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/25/2023 Bitcoin                             0.00224737 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/17/2023 Bitcoin                             0.00218024 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/24/2023 Bitcoin                             0.00210952 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/24/2023 Bitcoin                             0.00208785 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/30/2023 Bitcoin                             0.00207261 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/17/2023 Bitcoin                             0.00205062 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/19/2023 Bitcoin                             0.00203607 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/22/2023 Bitcoin                             0.00200151 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/24/2023 Bitcoin                             0.00196263 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/27/2023 Bitcoin                             0.00193832 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/24/2023 Bitcoin                                0.001868 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/22/2023 Bitcoin                             0.00185824 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/26/2023 Bitcoin                             0.00185698 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/31/2023 Bitcoin                             0.00183766 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/30/2023 Bitcoin                                 0.00172 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/19/2023 Bitcoin                             0.00170591 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/31/2023 Bitcoin                             0.00164531 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/22/2023 Bitcoin                             0.00148611 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/30/2023 Bitcoin                             0.00140046 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/16/2023 Bitcoin                             0.00132969 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/19/2023 Bitcoin                             0.00125926 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/21/2023 Bitcoin                             0.00117147 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/20/2023 Bitcoin                             0.00111007 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/25/2023 Bitcoin                                   0.0011 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/17/2023 Bitcoin                             0.00102794 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/17/2023 Bitcoin                             0.00099392 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/21/2023 Bitcoin                             0.00095512 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/16/2023 Bitcoin                             0.00092045 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/30/2023 Bitcoin                             0.00071587 Customer Transfer
 Confidential Customer Coin Transferee #8671    [Address on File]     5/31/2023 Bitcoin                             0.00069832 Customer Transfer
 Confidential Customer Coin Transferee #8672    [Address on File]     6/19/2023 Bitcoin                             0.00005809 Customer Transfer
 Confidential Customer Coin Transferee #8673    [Address on File]     6/20/2023 Bitcoin                             0.00005618 Customer Transfer
 Confidential Customer Coin Transferee #8674    [Address on File]     5/29/2023 Bitcoin                             0.05252454 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #8675    [Address on File]     5/18/2023 Bitcoin                                0.33215315 Customer Transfer

 Confidential Customer Coin Transferee #8675    [Address on File]     5/17/2023 Bitcoin                                    0.03675 Customer Transfer
 Confidential Customer Coin Transferee #8676    [Address on File]     5/18/2023 Bitcoin                                0.00937422 Customer Transfer
 Confidential Customer Coin Transferee #8676    [Address on File]     5/29/2023 Bitcoin                                0.00740504 Customer Transfer
 Confidential Customer Coin Transferee #8677    [Address on File]     6/20/2023 Bitcoin                                0.00035899 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/24/2023 Bitcoin                                0.00347729 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/24/2023 Bitcoin                                       0.003 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/24/2023 Bitcoin                                       0.003 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/24/2023 Bitcoin                                0.00291826 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/24/2023 Bitcoin                                      0.0028 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/24/2023 Bitcoin                                0.00260932 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/24/2023 Bitcoin                                      0.0025 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/26/2023 Bitcoin                                      0.0016 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/27/2023 Bitcoin                                      0.0016 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/29/2023 Bitcoin                                0.00138663 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/24/2023 Bitcoin                                0.00122429 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/25/2023 Bitcoin                                0.00110816 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/27/2023 Bitcoin                                0.00108214 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/22/2023 Bitcoin                                0.00107822 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/26/2023 Bitcoin                                   0.001002 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/24/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/26/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/27/2023 Bitcoin                                0.00084523 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/30/2023 Bitcoin                                0.00083625 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/27/2023 Bitcoin                                      0.0008 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/25/2023 Bitcoin                                0.00073006 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/26/2023 Bitcoin                                0.00072009 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/23/2023 Bitcoin                                0.00071302 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/22/2023 Bitcoin                                0.00070485 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/26/2023 Bitcoin                                      0.0007 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/26/2023 Bitcoin                                0.00067632 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/29/2023 Bitcoin                                0.00064674 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/31/2023 Bitcoin                                 0.0006337 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/31/2023 Bitcoin                                0.00059353 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/18/2023 Bitcoin                             0.00052587 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/31/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/30/2023 Bitcoin                                 0.00039 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/30/2023 Bitcoin                             0.00038201 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/24/2023 Bitcoin                             0.00036557 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/25/2023 Bitcoin                             0.00036369 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/27/2023 Bitcoin                             0.00031814 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/31/2023 Bitcoin                             0.00031436 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/31/2023 Bitcoin                                  0.0003 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/30/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #8678    [Address on File]     5/30/2023 Bitcoin                             0.00008072 Customer Transfer
 Confidential Customer Coin Transferee #8679    [Address on File]     5/30/2023 USDC Avalanche)                     496.861255 Customer Transfer
 Confidential Customer Coin Transferee #8679    [Address on File]     5/30/2023 USDC Avalanche)                     496.861255 Customer Transfer
 Confidential Customer Coin Transferee #8679    [Address on File]     6/14/2023 USDC Avalanche)                     496.811912 Customer Transfer
 Confidential Customer Coin Transferee #8679    [Address on File]     5/29/2023 USDC Avalanche)                     247.176411 Customer Transfer
 Confidential Customer Coin Transferee #8679    [Address on File]      6/6/2023 USDC Avalanche)                      97.411294 Customer Transfer
 Confidential Customer Coin Transferee #8680    [Address on File]     6/19/2023 Bitcoin                             0.00560603 Customer Transfer
 Confidential Customer Coin Transferee #8681    [Address on File]     6/19/2023 Bitcoin                             0.00013386 Customer Transfer
 Confidential Customer Coin Transferee #8682    [Address on File]     5/19/2023 Bitcoin                             0.02193344 Customer Transfer
 Confidential Customer Coin Transferee #8683    [Address on File]     5/16/2023 Bitcoin                             0.00337009 Customer Transfer
 Confidential Customer Coin Transferee #8684    [Address on File]     6/20/2023 Tether USD                            29.39418 Customer Transfer
 Confidential Customer Coin Transferee #8685    [Address on File]     6/20/2023 Bitcoin                             0.00335064 Customer Transfer
 Confidential Customer Coin Transferee #8686    [Address on File]     6/19/2023 Bitcoin                             0.00938853 Customer Transfer
 Confidential Customer Coin Transferee #8687    [Address on File]     5/24/2023 Bitcoin                              0.0020852 Customer Transfer
 Confidential Customer Coin Transferee #8688    [Address on File]     5/24/2023 Bitcoin                             0.00357978 Customer Transfer
 Confidential Customer Coin Transferee #8689    [Address on File]     5/28/2023 Bitcoin                             0.00421867 Customer Transfer

 Confidential Customer Coin Transferee #8690    [Address on File]     5/17/2023 Bitcoin                                        0.01 Customer Transfer
 Confidential Customer Coin Transferee #8691    [Address on File]     5/16/2023 Bitcoin                                0.00364333 Customer Transfer
 Confidential Customer Coin Transferee #8692    [Address on File]     5/18/2023 Bitcoin                                0.00537183 Customer Transfer
 Confidential Customer Coin Transferee #8692    [Address on File]     5/25/2023 Bitcoin                                0.00515116 Customer Transfer
 Confidential Customer Coin Transferee #8693    [Address on File]     5/25/2023 Bitcoin                                0.00193289 Customer Transfer
 Confidential Customer Coin Transferee #8693    [Address on File]     5/31/2023 Bitcoin                                0.00176228 Customer Transfer
 Confidential Customer Coin Transferee #8693    [Address on File]     5/27/2023 Bitcoin                                0.00118824 Customer Transfer
 Confidential Customer Coin Transferee #8693    [Address on File]     5/26/2023 Bitcoin                                   0.000949 Customer Transfer
 Confidential Customer Coin Transferee #8693    [Address on File]     5/19/2023 Bitcoin                                0.00053054 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8693    [Address on File]     5/21/2023 Bitcoin                             0.00036995 Customer Transfer
 Confidential Customer Coin Transferee #8694    [Address on File]     5/20/2023 Bitcoin                             0.02131177 Customer Transfer
 Confidential Customer Coin Transferee #8695    [Address on File]     5/23/2023 Bitcoin                             0.00647971 Customer Transfer
 Confidential Customer Coin Transferee #8695    [Address on File]     5/18/2023 Bitcoin                             0.00368503 Customer Transfer
 Confidential Customer Coin Transferee #8696    [Address on File]     5/19/2023 Bitcoin                             0.00737422 Customer Transfer
 Confidential Customer Coin Transferee #8696    [Address on File]     5/26/2023 Bitcoin                             0.00376398 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/21/2023 Bitcoin                             0.01098172 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/21/2023 Bitcoin                             0.00918836 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/22/2023 Bitcoin                             0.00743761 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/21/2023 Bitcoin                             0.00739781 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/30/2023 Bitcoin                                0.007196 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/30/2023 Bitcoin                             0.00718229 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/30/2023 Bitcoin                             0.00716798 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/30/2023 Bitcoin                             0.00711919 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/30/2023 Bitcoin                             0.00628262 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/26/2023 Bitcoin                             0.00578137 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/26/2023 Bitcoin                              0.0056249 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/26/2023 Bitcoin                             0.00554441 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/31/2023 Bitcoin                                 0.00442 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/23/2023 Bitcoin                             0.00437858 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/20/2023 Bitcoin                                   0.0041 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/26/2023 Bitcoin                                   0.0038 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/22/2023 Bitcoin                                 0.00375 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/26/2023 Bitcoin                             0.00371481 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/20/2023 Bitcoin                                   0.0037 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/31/2023 Bitcoin                                 0.00369 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/31/2023 Bitcoin                                 0.00369 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/31/2023 Bitcoin                                0.003615 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/31/2023 Bitcoin                                 0.00361 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/29/2023 Bitcoin                                   0.0036 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/31/2023 Bitcoin                             0.00358369 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/31/2023 Bitcoin                              0.0035646 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/21/2023 Bitcoin                             0.00323269 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/23/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/26/2023 Bitcoin                              0.0018925 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/26/2023 Bitcoin                                0.001876 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/26/2023 Bitcoin                                0.001867 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/23/2023 Bitcoin                              0.0018485 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/23/2023 Bitcoin                              0.0018403 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/23/2023 Bitcoin                              0.0018255 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/30/2023 Bitcoin                             0.00179158 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/29/2023 Bitcoin                             0.00177999 Customer Transfer
 Confidential Customer Coin Transferee #8697    [Address on File]     5/26/2023 Bitcoin                                 0.00076 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/19/2023 Bitcoin                             0.00073909 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/20/2023 Bitcoin                             0.00071705 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/19/2023 Bitcoin                             0.00070346 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/20/2023 Bitcoin                             0.00070307 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/17/2023 Bitcoin                             0.00055778 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/17/2023 Bitcoin                             0.00053605 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/31/2023 Bitcoin                              0.0001834 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/31/2023 Bitcoin                             0.00018285 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/26/2023 Bitcoin                             0.00006748 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/21/2023 Bitcoin                             0.00006233 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/16/2023 Bitcoin                             0.00003237 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/30/2023 Bitcoin                             0.00002154 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/26/2023 Bitcoin                             0.00001989 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/19/2023 Bitcoin                             0.00001961 Customer Transfer
 Confidential Customer Coin Transferee #8698    [Address on File]     5/25/2023 Bitcoin                             0.00001329 Customer Transfer
 Confidential Customer Coin Transferee #8699    [Address on File]     5/21/2023 Bitcoin                              0.0006877 Customer Transfer
 Confidential Customer Coin Transferee #8700    [Address on File]     5/19/2023 Bitcoin                             0.00681645 Customer Transfer
 Confidential Customer Coin Transferee #8701    [Address on File]     5/25/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #8702    [Address on File]     5/22/2023 Bitcoin                             0.01182685 Customer Transfer
 Confidential Customer Coin Transferee #8703    [Address on File]     5/28/2023 Bitcoin                             0.03587084 Customer Transfer
 Confidential Customer Coin Transferee #8703    [Address on File]     5/31/2023 Bitcoin                             0.03576732 Customer Transfer
 Confidential Customer Coin Transferee #8703    [Address on File]     5/27/2023 Bitcoin                              0.0256348 Customer Transfer
 Confidential Customer Coin Transferee #8703    [Address on File]     5/25/2023 Bitcoin                             0.01884332 Customer Transfer
 Confidential Customer Coin Transferee #8703    [Address on File]     5/19/2023 Bitcoin                             0.01766226 Customer Transfer
 Confidential Customer Coin Transferee #8703    [Address on File]     5/25/2023 Bitcoin                             0.00511147 Customer Transfer
 Confidential Customer Coin Transferee #8704    [Address on File]     5/29/2023 Bitcoin                                   0.0089 Customer Transfer
 Confidential Customer Coin Transferee #8704    [Address on File]     5/20/2023 Bitcoin                                    0.008 Customer Transfer
 Confidential Customer Coin Transferee #8704    [Address on File]     5/24/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #8705    [Address on File]     5/23/2023 Bitcoin                             0.04828226 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8705    [Address on File]     5/20/2023 Bitcoin                             0.04634727 Customer Transfer
 Confidential Customer Coin Transferee #8706    [Address on File]     5/31/2023 Bitcoin                             0.00359776 Customer Transfer
 Confidential Customer Coin Transferee #8707    [Address on File]     6/12/2023 Bitcoin                             0.00087092 Customer Transfer
 Confidential Customer Coin Transferee #8708    [Address on File]     6/20/2023 Bitcoin                             0.00024227 Customer Transfer
 Confidential Customer Coin Transferee #8709    [Address on File]     5/19/2023 Bitcoin                             0.00216402 Customer Transfer
 Confidential Customer Coin Transferee #8710    [Address on File]     6/20/2023 Bitcoin                             0.00630467 Customer Transfer
 Confidential Customer Coin Transferee #8711    [Address on File]     6/19/2023 Bitcoin                             0.00005814 Customer Transfer
 Confidential Customer Coin Transferee #8712    [Address on File]     5/21/2023 Bitcoin                             0.01051278 Customer Transfer
 Confidential Customer Coin Transferee #8713    [Address on File]     5/25/2023 Bitcoin                             0.00073441 Customer Transfer
 Confidential Customer Coin Transferee #8713    [Address on File]     5/18/2023 Bitcoin                             0.00069135 Customer Transfer
 Confidential Customer Coin Transferee #8714    [Address on File]     6/19/2023 Bitcoin                             0.00228881 Customer Transfer
 Confidential Customer Coin Transferee #8715    [Address on File]      6/1/2023 Bitcoin                             0.00116377 Customer Transfer
 Confidential Customer Coin Transferee #8715    [Address on File]     6/20/2023 Bitcoin                             0.00060891 Customer Transfer
 Confidential Customer Coin Transferee #8716    [Address on File]     5/27/2023 Bitcoin                             0.01810949 Customer Transfer
 Confidential Customer Coin Transferee #8717    [Address on File]     6/20/2023 Bitcoin                             0.00605303 Customer Transfer
 Confidential Customer Coin Transferee #8718    [Address on File]     5/23/2023 Bitcoin                                0.261444 Customer Transfer
 Confidential Customer Coin Transferee #8719    [Address on File]     6/15/2023 Bitcoin                             0.00156471 Customer Transfer
 Confidential Customer Coin Transferee #8719    [Address on File]      6/7/2023 Bitcoin                             0.00076532 Customer Transfer
 Confidential Customer Coin Transferee #8719    [Address on File]     5/29/2023 Bitcoin                                0.000368 Customer Transfer
 Confidential Customer Coin Transferee #8719    [Address on File]     5/18/2023 Bitcoin                             0.00035823 Customer Transfer
 Confidential Customer Coin Transferee #8720    [Address on File]     5/24/2023 Bitcoin                             0.01058944 Customer Transfer
 Confidential Customer Coin Transferee #8721    [Address on File]     6/19/2023 Bitcoin                             0.00005802 Customer Transfer
 Confidential Customer Coin Transferee #8722    [Address on File]     5/27/2023 Bitcoin                             0.01047814 Customer Transfer
 Confidential Customer Coin Transferee #8723    [Address on File]     6/19/2023 Bitcoin                              0.0029938 Customer Transfer
 Confidential Customer Coin Transferee #8724    [Address on File]     5/18/2023 Bitcoin                             0.03611502 Customer Transfer
 Confidential Customer Coin Transferee #8724    [Address on File]     5/23/2023 Bitcoin                             0.00378114 Customer Transfer

 Confidential Customer Coin Transferee #8725    [Address on File]     6/19/2023 Bitcoin                                0.01957761 Customer Transfer
 Confidential Customer Coin Transferee #8726    [Address on File]     5/25/2023 Bitcoin                                0.00185931 Customer Transfer
 Confidential Customer Coin Transferee #8726    [Address on File]     5/20/2023 Bitcoin                                 0.0017231 Customer Transfer
 Confidential Customer Coin Transferee #8727    [Address on File]     5/19/2023 Bitcoin                                0.01449175 Customer Transfer
 Confidential Customer Coin Transferee #8728    [Address on File]     5/18/2023 Bitcoin                                0.00723536 Customer Transfer
 Confidential Customer Coin Transferee #8728    [Address on File]     6/20/2023 Bitcoin                                0.00184657 Customer Transfer
 Confidential Customer Coin Transferee #8729    [Address on File]     6/19/2023 Bitcoin                                0.00004377 Customer Transfer
 Confidential Customer Coin Transferee #8730    [Address on File]     5/19/2023 Bitcoin                                0.01430129 Customer Transfer
 Confidential Customer Coin Transferee #8731    [Address on File]     5/23/2023 Bitcoin                                    0.00018 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8732    [Address on File]     5/16/2023 Bitcoin                             0.00489054 Customer Transfer
 Confidential Customer Coin Transferee #8732    [Address on File]     5/25/2023 Bitcoin                             0.00112445 Customer Transfer
 Confidential Customer Coin Transferee #8732    [Address on File]     5/30/2023 Bitcoin                             0.00107802 Customer Transfer
 Confidential Customer Coin Transferee #8733    [Address on File]     6/17/2023 Bitcoin                              0.0019194 Customer Transfer
 Confidential Customer Coin Transferee #8734    [Address on File]     5/16/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #8734    [Address on File]     5/20/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #8734    [Address on File]     5/16/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #8734    [Address on File]     5/17/2023 Bitcoin                              0.0001878 Customer Transfer
 Confidential Customer Coin Transferee #8734    [Address on File]     5/17/2023 Bitcoin                                 0.00002 Customer Transfer
 Confidential Customer Coin Transferee #8735    [Address on File]     6/19/2023 Bitcoin                             0.00746304 Customer Transfer
 Confidential Customer Coin Transferee #8736    [Address on File]     6/20/2023 Bitcoin                             0.00162711 Customer Transfer
 Confidential Customer Coin Transferee #8737    [Address on File]     6/20/2023 Bitcoin                             0.00550544 Customer Transfer
 Confidential Customer Coin Transferee #8738    [Address on File]     6/19/2023 Bitcoin                             0.02600855 Customer Transfer
 Confidential Customer Coin Transferee #8739    [Address on File]     6/20/2023 Bitcoin                             0.02374182 Customer Transfer
 Confidential Customer Coin Transferee #8740    [Address on File]     5/22/2023 Bitcoin                             0.00184369 Customer Transfer
 Confidential Customer Coin Transferee #8741    [Address on File]     5/18/2023 Bitcoin                             0.12435156 Customer Transfer
 Confidential Customer Coin Transferee #8741    [Address on File]     5/29/2023 Bitcoin                             0.01858757 Customer Transfer
 Confidential Customer Coin Transferee #8742    [Address on File]     5/29/2023 Bitcoin                             0.03647305 Customer Transfer
 Confidential Customer Coin Transferee #8742    [Address on File]     5/21/2023 Bitcoin                             0.01829476 Customer Transfer
 Confidential Customer Coin Transferee #8743    [Address on File]     5/19/2023 Bitcoin                             0.00948721 Customer Transfer
 Confidential Customer Coin Transferee #8743    [Address on File]     5/22/2023 Bitcoin                             0.00193129 Customer Transfer
 Confidential Customer Coin Transferee #8743    [Address on File]     5/20/2023 Bitcoin                             0.00003708 Customer Transfer
 Confidential Customer Coin Transferee #8744    [Address on File]     5/21/2023 Bitcoin                             0.00739298 Customer Transfer
 Confidential Customer Coin Transferee #8744    [Address on File]     5/27/2023 Bitcoin                             0.00371861 Customer Transfer
 Confidential Customer Coin Transferee #8745    [Address on File]     5/26/2023 Bitcoin                             0.02649668 Customer Transfer
 Confidential Customer Coin Transferee #8745    [Address on File]     5/21/2023 Bitcoin                             0.00599378 Customer Transfer
 Confidential Customer Coin Transferee #8746    [Address on File]     5/29/2023 Bitcoin                             0.00016745 Customer Transfer
 Confidential Customer Coin Transferee #8747    [Address on File]     5/23/2023 Bitcoin                                0.005679 Customer Transfer
 Confidential Customer Coin Transferee #8748    [Address on File]     6/20/2023 Bitcoin                             0.00005811 Customer Transfer

 Confidential Customer Coin Transferee #8749    [Address on File]     6/20/2023 Ether                                  0.03772353 Customer Transfer
 Confidential Customer Coin Transferee #8750    [Address on File]     5/27/2023 Bitcoin                                0.04634062 Customer Transfer
 Confidential Customer Coin Transferee #8750    [Address on File]     5/20/2023 Bitcoin                                0.03154207 Customer Transfer
 Confidential Customer Coin Transferee #8750    [Address on File]     5/31/2023 Bitcoin                                0.00370381 Customer Transfer
 Confidential Customer Coin Transferee #8751    [Address on File]     5/23/2023 Bitcoin                                1.11821177 Customer Transfer
 Confidential Customer Coin Transferee #8752    [Address on File]     5/22/2023 Bitcoin                                0.00076738 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8753    [Address on File]     5/22/2023 Bitcoin                             0.00722208 Customer Transfer
 Confidential Customer Coin Transferee #8753    [Address on File]     5/26/2023 Bitcoin                             0.00073734 Customer Transfer

 Confidential Customer Coin Transferee #8754    [Address on File]      6/8/2023 Bitcoin                                  0.003626 Customer Transfer

 Confidential Customer Coin Transferee #8754    [Address on File]     6/21/2023 Bitcoin                                0.00194034 Customer Transfer
 Confidential Customer Coin Transferee #8755    [Address on File]     6/20/2023 Bitcoin                                 0.0059678 Customer Transfer
 Confidential Customer Coin Transferee #8756    [Address on File]     5/23/2023 Bitcoin                                0.01016996 Customer Transfer
 Confidential Customer Coin Transferee #8757    [Address on File]     5/26/2023 Bitcoin                                0.00696047 Customer Transfer
 Confidential Customer Coin Transferee #8758    [Address on File]     5/26/2023 Bitcoin                                0.00188349 Customer Transfer
 Confidential Customer Coin Transferee #8759    [Address on File]     5/20/2023 Bitcoin                                0.22185057 Customer Transfer
 Confidential Customer Coin Transferee #8759    [Address on File]     5/26/2023 Bitcoin                                0.20724948 Customer Transfer
 Confidential Customer Coin Transferee #8759    [Address on File]     5/21/2023 Bitcoin                                0.11025684 Customer Transfer
 Confidential Customer Coin Transferee #8760    [Address on File]     6/12/2023 Bitcoin                                0.04495503 Customer Transfer
 Confidential Customer Coin Transferee #8761    [Address on File]     5/19/2023 Bitcoin                                0.01018737 Customer Transfer
 Confidential Customer Coin Transferee #8762    [Address on File]     6/20/2023 Bitcoin                                0.00075677 Customer Transfer
 Confidential Customer Coin Transferee #8763    [Address on File]     5/27/2023 Bitcoin                                0.03718466 Customer Transfer
 Confidential Customer Coin Transferee #8763    [Address on File]     5/21/2023 Bitcoin                                0.03698022 Customer Transfer
 Confidential Customer Coin Transferee #8764    [Address on File]     5/23/2023 Bitcoin                                0.00226516 Customer Transfer
 Confidential Customer Coin Transferee #8764    [Address on File]     5/29/2023 Bitcoin                                0.00223017 Customer Transfer
 Confidential Customer Coin Transferee #8765    [Address on File]     6/20/2023 Bitcoin                                 0.0001502 Customer Transfer
 Confidential Customer Coin Transferee #8766    [Address on File]     5/20/2023 Bitcoin                                0.00091126 Customer Transfer
 Confidential Customer Coin Transferee #8767    [Address on File]      6/9/2023 Bitcoin                                0.00058871 Customer Transfer
 Confidential Customer Coin Transferee #8768    [Address on File]     5/17/2023 Bitcoin                                0.01029064 Customer Transfer
 Confidential Customer Coin Transferee #8769    [Address on File]     5/26/2023 Bitcoin                                0.01185266 Customer Transfer
 Confidential Customer Coin Transferee #8769    [Address on File]     6/20/2023 Bitcoin                                0.00563978 Customer Transfer
 Confidential Customer Coin Transferee #8770    [Address on File]      6/6/2023 Bitcoin                                0.00139161 Customer Transfer
 Confidential Customer Coin Transferee #8771    [Address on File]     5/29/2023 Bitcoin                                0.02278679 Customer Transfer

 Confidential Customer Coin Transferee #8772    [Address on File]     6/19/2023 Bitcoin                                0.03024449 Customer Transfer
 Confidential Customer Coin Transferee #8773    [Address on File]     5/20/2023 Bitcoin                                0.04662626 Customer Transfer
 Confidential Customer Coin Transferee #8773    [Address on File]     5/27/2023 Bitcoin                                0.03466947 Customer Transfer
 Confidential Customer Coin Transferee #8774    [Address on File]     5/19/2023 Bitcoin                                0.00370429 Customer Transfer
 Confidential Customer Coin Transferee #8775    [Address on File]     5/29/2023 Bitcoin                                0.00018893 Customer Transfer
 Confidential Customer Coin Transferee #8776    [Address on File]     5/30/2023 Bitcoin                                0.00897299 Customer Transfer
 Confidential Customer Coin Transferee #8776    [Address on File]      6/1/2023 Bitcoin                                0.00732594 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8777    [Address on File]      6/1/2023 Bitcoin                             0.00207183 Customer Transfer
 Confidential Customer Coin Transferee #8777    [Address on File]     5/26/2023 Bitcoin                             0.00188087 Customer Transfer
 Confidential Customer Coin Transferee #8777    [Address on File]     5/22/2023 Bitcoin                             0.00185343 Customer Transfer
 Confidential Customer Coin Transferee #8778    [Address on File]     5/31/2023 Bitcoin                             0.00363741 Customer Transfer
 Confidential Customer Coin Transferee #8778    [Address on File]     5/20/2023 Bitcoin                             0.00330952 Customer Transfer
 Confidential Customer Coin Transferee #8779    [Address on File]     5/17/2023 Bitcoin                             0.00356663 Customer Transfer
 Confidential Customer Coin Transferee #8779    [Address on File]     5/23/2023 Bitcoin                             0.00249369 Customer Transfer
 Confidential Customer Coin Transferee #8779    [Address on File]     5/22/2023 Bitcoin                             0.00225614 Customer Transfer
 Confidential Customer Coin Transferee #8779    [Address on File]     5/23/2023 Bitcoin                             0.00220884 Customer Transfer
 Confidential Customer Coin Transferee #8779    [Address on File]     5/18/2023 Bitcoin                             0.00189036 Customer Transfer
 Confidential Customer Coin Transferee #8779    [Address on File]     5/16/2023 Bitcoin                             0.00180725 Customer Transfer
 Confidential Customer Coin Transferee #8779    [Address on File]     5/18/2023 Bitcoin                             0.00174302 Customer Transfer
 Confidential Customer Coin Transferee #8780    [Address on File]     5/22/2023 Bitcoin                             0.01120253 Customer Transfer
 Confidential Customer Coin Transferee #8781    [Address on File]     5/26/2023 Bitcoin                             0.04643681 Customer Transfer
 Confidential Customer Coin Transferee #8781    [Address on File]     5/19/2023 Bitcoin                             0.04576527 Customer Transfer
 Confidential Customer Coin Transferee #8782    [Address on File]     5/25/2023 Bitcoin                             0.01090542 Customer Transfer
 Confidential Customer Coin Transferee #8783    [Address on File]     5/28/2023 Bitcoin                             0.00188233 Customer Transfer
 Confidential Customer Coin Transferee #8783    [Address on File]     5/16/2023 Bitcoin                             0.00181158 Customer Transfer
 Confidential Customer Coin Transferee #8784    [Address on File]     5/23/2023 Bitcoin                             0.03920089 Customer Transfer
 Confidential Customer Coin Transferee #8785    [Address on File]     5/31/2023 Bitcoin                             0.01100983 Customer Transfer
 Confidential Customer Coin Transferee #8786    [Address on File]     5/25/2023 Bitcoin                                0.006856 Customer Transfer
 Confidential Customer Coin Transferee #8787    [Address on File]     5/21/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #8788    [Address on File]     5/23/2023 Bitcoin                                 0.03036 Customer Transfer
 Confidential Customer Coin Transferee #8789    [Address on File]     5/25/2023 Bitcoin                             0.00184731 Customer Transfer
 Confidential Customer Coin Transferee #8790    [Address on File]     5/21/2023 Bitcoin                             0.00616524 Customer Transfer
 Confidential Customer Coin Transferee #8791    [Address on File]     6/20/2023 Bitcoin                             0.00697834 Customer Transfer
 Confidential Customer Coin Transferee #8792    [Address on File]     5/26/2023 Bitcoin                             0.00093295 Customer Transfer
 Confidential Customer Coin Transferee #8793    [Address on File]     6/20/2023 Bitcoin                             0.00289653 Customer Transfer
 Confidential Customer Coin Transferee #8794    [Address on File]     6/20/2023 Bitcoin                             0.00585169 Customer Transfer
 Confidential Customer Coin Transferee #8795    [Address on File]     5/26/2023 Bitcoin                             0.00208192 Customer Transfer
 Confidential Customer Coin Transferee #8796    [Address on File]     5/17/2023 Bitcoin                             0.00366619 Customer Transfer
 Confidential Customer Coin Transferee #8796    [Address on File]      6/8/2023 Bitcoin                             0.00149451 Customer Transfer
 Confidential Customer Coin Transferee #8796    [Address on File]      6/2/2023 Bitcoin                             0.00072372 Customer Transfer
 Confidential Customer Coin Transferee #8796    [Address on File]     5/23/2023 Bitcoin                             0.00071411 Customer Transfer
 Confidential Customer Coin Transferee #8797    [Address on File]     6/11/2023 Bitcoin                             0.00403391 Customer Transfer
 Confidential Customer Coin Transferee #8798    [Address on File]     5/30/2023 Bitcoin                             0.03744879 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8799    [Address on File]     6/16/2023 Bitcoin                             0.00496344 Customer Transfer
 Confidential Customer Coin Transferee #8800    [Address on File]     5/20/2023 Bitcoin                             0.01103874 Customer Transfer
 Confidential Customer Coin Transferee #8801    [Address on File]     6/20/2023 Bitcoin                             0.00402399 Customer Transfer

 Confidential Customer Coin Transferee #8802    [Address on File]     5/20/2023 Bitcoin                                0.01091348 Customer Transfer

 Confidential Customer Coin Transferee #8802    [Address on File]     5/21/2023 Bitcoin                                0.00573978 Customer Transfer

 Confidential Customer Coin Transferee #8802    [Address on File]     5/19/2023 Bitcoin                                0.00370033 Customer Transfer

 Confidential Customer Coin Transferee #8802    [Address on File]     5/24/2023 Bitcoin                                0.00351496 Customer Transfer

 Confidential Customer Coin Transferee #8802    [Address on File]     5/23/2023 Bitcoin                                0.00277802 Customer Transfer

 Confidential Customer Coin Transferee #8802    [Address on File]     5/22/2023 Bitcoin                                0.00184925 Customer Transfer

 Confidential Customer Coin Transferee #8802    [Address on File]     5/19/2023 Bitcoin                                0.00177504 Customer Transfer

 Confidential Customer Coin Transferee #8802    [Address on File]     5/20/2023 Bitcoin                                0.00172226 Customer Transfer

 Confidential Customer Coin Transferee #8802    [Address on File]     5/21/2023 Bitcoin                                0.00166313 Customer Transfer

 Confidential Customer Coin Transferee #8802    [Address on File]     5/16/2023 Bitcoin                                0.00117458 Customer Transfer
 Confidential Customer Coin Transferee #8803    [Address on File]     5/19/2023 Bitcoin                                0.00296249 Customer Transfer
 Confidential Customer Coin Transferee #8804    [Address on File]     6/19/2023 Bitcoin                                0.00132687 Customer Transfer
 Confidential Customer Coin Transferee #8805    [Address on File]     5/22/2023 Bitcoin                                0.00036968 Customer Transfer
 Confidential Customer Coin Transferee #8806    [Address on File]     6/21/2023 Bitcoin                                0.01546469 Customer Transfer

 Confidential Customer Coin Transferee #8807    [Address on File]     5/22/2023 Ether                                  1.33347985 Customer Transfer
 Confidential Customer Coin Transferee #8808    [Address on File]     6/19/2023 Bitcoin                                0.00116812 Customer Transfer
 Confidential Customer Coin Transferee #8809    [Address on File]     5/26/2023 Bitcoin                                0.01002967 Customer Transfer
 Confidential Customer Coin Transferee #8810    [Address on File]     6/20/2023 Bitcoin                                0.00466278 Customer Transfer
 Confidential Customer Coin Transferee #8810    [Address on File]     6/12/2023 Bitcoin                                0.00147997 Customer Transfer
 Confidential Customer Coin Transferee #8811    [Address on File]     6/20/2023 Bitcoin                                0.00040326 Customer Transfer
 Confidential Customer Coin Transferee #8812    [Address on File]     6/20/2023 Bitcoin                                0.00004374 Customer Transfer
 Confidential Customer Coin Transferee #8813    [Address on File]     6/20/2023 Bitcoin                                0.00298522 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8814    [Address on File]     6/20/2023 Bitcoin                             0.01437484 Customer Transfer
 Confidential Customer Coin Transferee #8815    [Address on File]     6/19/2023 Bitcoin                             0.00372297 Customer Transfer
 Confidential Customer Coin Transferee #8816    [Address on File]     6/20/2023 Bitcoin                             0.00003417 Customer Transfer

 Confidential Customer Coin Transferee #8817    [Address on File]     6/19/2023 Bitcoin                                 0.0003906 Customer Transfer

 Confidential Customer Coin Transferee #8817    [Address on File]     6/19/2023 Bitcoin                                 0.0001173 Customer Transfer
 Confidential Customer Coin Transferee #8818    [Address on File]     6/20/2023 Bitcoin                                 0.0000367 Customer Transfer
 Confidential Customer Coin Transferee #8819    [Address on File]     6/14/2023 Bitcoin                                0.00673269 Customer Transfer
 Confidential Customer Coin Transferee #8820    [Address on File]     6/20/2023 Bitcoin                                0.00203557 Customer Transfer
 Confidential Customer Coin Transferee #8821    [Address on File]     5/25/2023 Bitcoin                                0.01180963 Customer Transfer
 Confidential Customer Coin Transferee #8822    [Address on File]     5/23/2023 Bitcoin                                0.00109091 Customer Transfer
 Confidential Customer Coin Transferee #8823    [Address on File]     5/28/2023 Bitcoin                                0.00036919 Customer Transfer
 Confidential Customer Coin Transferee #8824    [Address on File]     6/22/2023 USDC Avalanche)                        101.644409 Customer Transfer
 Confidential Customer Coin Transferee #8824    [Address on File]     6/14/2023 USDC Avalanche)                         97.451274 Customer Transfer
 Confidential Customer Coin Transferee #8824    [Address on File]     6/17/2023 USDC Avalanche)                         56.836755 Customer Transfer
 Confidential Customer Coin Transferee #8824    [Address on File]     6/10/2023 USDC Avalanche)                         51.968818 Customer Transfer
 Confidential Customer Coin Transferee #8824    [Address on File]      6/8/2023 USDC Avalanche)                         33.013492 Customer Transfer
 Confidential Customer Coin Transferee #8824    [Address on File]     6/10/2023 Solana                                   2.228687 Customer Transfer
 Confidential Customer Coin Transferee #8824    [Address on File]     6/12/2023 Solana                                   2.152941 Customer Transfer
 Confidential Customer Coin Transferee #8825    [Address on File]     5/20/2023 Bitcoin                                0.01775175 Customer Transfer
 Confidential Customer Coin Transferee #8826    [Address on File]      6/5/2023 Bitcoin                                 0.0014562 Customer Transfer
 Confidential Customer Coin Transferee #8827    [Address on File]     5/26/2023 Bitcoin                                0.00693288 Customer Transfer
 Confidential Customer Coin Transferee #8827    [Address on File]     5/19/2023 Bitcoin                                0.00658764 Customer Transfer
 Confidential Customer Coin Transferee #8828    [Address on File]     5/23/2023 Bitcoin                                0.00368356 Customer Transfer
 Confidential Customer Coin Transferee #8829    [Address on File]     6/20/2023 Bitcoin                                0.00117925 Customer Transfer
 Confidential Customer Coin Transferee #8830    [Address on File]     6/20/2023 Bitcoin                                0.00156967 Customer Transfer
 Confidential Customer Coin Transferee #8831    [Address on File]     5/21/2023 Bitcoin                                0.00181516 Customer Transfer
 Confidential Customer Coin Transferee #8832    [Address on File]     6/19/2023 Bitcoin                                0.00059224 Customer Transfer
 Confidential Customer Coin Transferee #8833    [Address on File]     5/26/2023 Bitcoin                                0.00011191 Customer Transfer
 Confidential Customer Coin Transferee #8834    [Address on File]     6/20/2023 Bitcoin                                0.01623356 Customer Transfer
 Confidential Customer Coin Transferee #8835    [Address on File]     6/20/2023 Bitcoin                                0.00035603 Customer Transfer
 Confidential Customer Coin Transferee #8836    [Address on File]     5/23/2023 Bitcoin                                   0.001828 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]     6/21/2023 Bitcoin                                0.00565172 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]      6/9/2023 Bitcoin                                0.00561111 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]     5/29/2023 Bitcoin                                0.00557336 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]      6/6/2023 Bitcoin                             0.00551386 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]      6/3/2023 Bitcoin                             0.00550749 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]     5/31/2023 Bitcoin                             0.00550525 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]     6/18/2023 Bitcoin                             0.00547939 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]     6/12/2023 Bitcoin                             0.00546179 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]     6/15/2023 Bitcoin                             0.00545027 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]     5/25/2023 Bitcoin                             0.00535314 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]     5/22/2023 Bitcoin                             0.00520303 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]     5/16/2023 Bitcoin                              0.0051955 Customer Transfer
 Confidential Customer Coin Transferee #8837    [Address on File]     5/19/2023 Bitcoin                             0.00517296 Customer Transfer
 Confidential Customer Coin Transferee #8838    [Address on File]     6/20/2023 Bitcoin                             0.00377418 Customer Transfer
 Confidential Customer Coin Transferee #8839    [Address on File]     5/22/2023 Bitcoin                             0.08490442 Customer Transfer
 Confidential Customer Coin Transferee #8839    [Address on File]     5/22/2023 Bitcoin                             0.06884616 Customer Transfer
 Confidential Customer Coin Transferee #8839    [Address on File]     5/18/2023 Bitcoin                             0.01926388 Customer Transfer
 Confidential Customer Coin Transferee #8839    [Address on File]     5/19/2023 Bitcoin                             0.01813844 Customer Transfer
 Confidential Customer Coin Transferee #8839    [Address on File]     5/30/2023 Bitcoin                             0.01328892 Customer Transfer
 Confidential Customer Coin Transferee #8839    [Address on File]     5/19/2023 Bitcoin                             0.01299912 Customer Transfer
 Confidential Customer Coin Transferee #8839    [Address on File]     5/26/2023 Bitcoin                             0.00284119 Customer Transfer
 Confidential Customer Coin Transferee #8839    [Address on File]     5/22/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #8840    [Address on File]     5/20/2023 Bitcoin                             0.00515754 Customer Transfer
 Confidential Customer Coin Transferee #8841    [Address on File]     5/25/2023 Bitcoin                             0.02020741 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/30/2023 Bitcoin                                      0.03 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/22/2023 Bitcoin                                   0.0115 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/22/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/16/2023 Bitcoin                                0.009235 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/19/2023 Bitcoin                                    0.008 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/29/2023 Bitcoin                                    0.008 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/30/2023 Bitcoin                                    0.008 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/21/2023 Bitcoin                                   0.0077 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/16/2023 Bitcoin                                   0.0075 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/20/2023 Bitcoin                                   0.0075 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/26/2023 Bitcoin                                   0.0075 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/27/2023 Bitcoin                                   0.0075 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/24/2023 Bitcoin                                 0.00735 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/26/2023 Bitcoin                                    0.007 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/26/2023 Bitcoin                                    0.007 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/30/2023 Bitcoin                             0.00601991 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/24/2023 Bitcoin                                   0.006 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/18/2023 Bitcoin                                  0.0045 Customer Transfer
 Confidential Customer Coin Transferee #8842    [Address on File]     5/27/2023 Bitcoin                                   0.004 Customer Transfer
 Confidential Customer Coin Transferee #8843    [Address on File]     5/30/2023 Bitcoin                              0.0049065 Customer Transfer
 Confidential Customer Coin Transferee #8843    [Address on File]     5/30/2023 Bitcoin                             0.00303447 Customer Transfer
 Confidential Customer Coin Transferee #8843    [Address on File]     5/21/2023 Bitcoin                             0.00109803 Customer Transfer
 Confidential Customer Coin Transferee #8844    [Address on File]     5/19/2023 Bitcoin                             0.00197534 Customer Transfer

 Confidential Customer Coin Transferee #8845    [Address on File]     5/23/2023 Bitcoin                                0.03702701 Customer Transfer
 Confidential Customer Coin Transferee #8846    [Address on File]     5/23/2023 Bitcoin                                0.00092448 Customer Transfer
 Confidential Customer Coin Transferee #8847    [Address on File]     5/27/2023 Bitcoin                                 0.0011272 Customer Transfer
 Confidential Customer Coin Transferee #8848    [Address on File]     5/25/2023 Bitcoin                                0.00831754 Customer Transfer
 Confidential Customer Coin Transferee #8849    [Address on File]     5/19/2023 Bitcoin                                0.00929483 Customer Transfer
 Confidential Customer Coin Transferee #8849    [Address on File]     5/27/2023 Bitcoin                                0.00926874 Customer Transfer
 Confidential Customer Coin Transferee #8849    [Address on File]     5/17/2023 Bitcoin                                0.00470354 Customer Transfer
 Confidential Customer Coin Transferee #8850    [Address on File]     5/31/2023 Bitcoin                                0.00176071 Customer Transfer
 Confidential Customer Coin Transferee #8850    [Address on File]     5/21/2023 Bitcoin                                 0.0009002 Customer Transfer
 Confidential Customer Coin Transferee #8850    [Address on File]     5/17/2023 Bitcoin                                0.00075347 Customer Transfer
 Confidential Customer Coin Transferee #8851    [Address on File]     5/19/2023 Bitcoin                                0.02841984 Customer Transfer
 Confidential Customer Coin Transferee #8851    [Address on File]     5/30/2023 Bitcoin                                0.00754852 Customer Transfer
 Confidential Customer Coin Transferee #8852    [Address on File]     5/31/2023 Bitcoin                                       0.011 Customer Transfer
 Confidential Customer Coin Transferee #8852    [Address on File]     5/23/2023 Bitcoin                                       0.004 Customer Transfer
 Confidential Customer Coin Transferee #8852    [Address on File]     5/18/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #8852    [Address on File]     5/31/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #8853    [Address on File]     5/24/2023 Bitcoin                                   0.000067 Customer Transfer
 Confidential Customer Coin Transferee #8853    [Address on File]     5/20/2023 Bitcoin                                    0.00002 Customer Transfer
 Confidential Customer Coin Transferee #8854    [Address on File]     5/30/2023 Bitcoin                                0.00029628 Customer Transfer
 Confidential Customer Coin Transferee #8854    [Address on File]     5/26/2023 Bitcoin                                0.00028501 Customer Transfer
 Confidential Customer Coin Transferee #8854    [Address on File]     5/29/2023 Bitcoin                                0.00023224 Customer Transfer
 Confidential Customer Coin Transferee #8854    [Address on File]     5/19/2023 Bitcoin                                0.00017281 Customer Transfer
 Confidential Customer Coin Transferee #8854    [Address on File]     5/19/2023 Bitcoin                                0.00017196 Customer Transfer
 Confidential Customer Coin Transferee #8854    [Address on File]     5/16/2023 Bitcoin                                0.00007876 Customer Transfer
 Confidential Customer Coin Transferee #8855    [Address on File]     5/31/2023 Bitcoin                                0.01186679 Customer Transfer
 Confidential Customer Coin Transferee #8855    [Address on File]     5/17/2023 Bitcoin                                0.00909921 Customer Transfer
 Confidential Customer Coin Transferee #8855    [Address on File]      6/7/2023 Bitcoin                                0.00481465 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8855    [Address on File]     5/24/2023 Bitcoin                             0.00185755 Customer Transfer
 Confidential Customer Coin Transferee #8855    [Address on File]     5/21/2023 Bitcoin                             0.00184948 Customer Transfer
 Confidential Customer Coin Transferee #8855    [Address on File]     5/24/2023 Bitcoin                             0.00094643 Customer Transfer
 Confidential Customer Coin Transferee #8856    [Address on File]     5/29/2023 Bitcoin                             0.02844502 Customer Transfer
 Confidential Customer Coin Transferee #8857    [Address on File]     5/27/2023 Bitcoin                             0.00601579 Customer Transfer
 Confidential Customer Coin Transferee #8857    [Address on File]     5/20/2023 Bitcoin                             0.00594394 Customer Transfer
 Confidential Customer Coin Transferee #8858    [Address on File]     6/19/2023 Bitcoin                             0.00005831 Customer Transfer
 Confidential Customer Coin Transferee #8859    [Address on File]     5/24/2023 Bitcoin                             0.00263893 Customer Transfer
 Confidential Customer Coin Transferee #8859    [Address on File]     5/26/2023 Bitcoin                             0.00260102 Customer Transfer
 Confidential Customer Coin Transferee #8859    [Address on File]     5/26/2023 Bitcoin                             0.00185985 Customer Transfer
 Confidential Customer Coin Transferee #8859    [Address on File]     5/26/2023 Bitcoin                             0.00185759 Customer Transfer
 Confidential Customer Coin Transferee #8859    [Address on File]     5/24/2023 Bitcoin                             0.00148742 Customer Transfer
 Confidential Customer Coin Transferee #8859    [Address on File]     5/28/2023 Bitcoin                             0.00109059 Customer Transfer
 Confidential Customer Coin Transferee #8859    [Address on File]     5/27/2023 Bitcoin                              0.0009305 Customer Transfer
 Confidential Customer Coin Transferee #8859    [Address on File]     5/21/2023 Bitcoin                              0.0003713 Customer Transfer
 Confidential Customer Coin Transferee #8859    [Address on File]     5/21/2023 Bitcoin                             0.00036925 Customer Transfer
 Confidential Customer Coin Transferee #8859    [Address on File]     5/16/2023 Bitcoin                             0.00036903 Customer Transfer
 Confidential Customer Coin Transferee #8860    [Address on File]     5/16/2023 Bitcoin                              0.0218326 Customer Transfer
 Confidential Customer Coin Transferee #8861    [Address on File]     5/27/2023 Bitcoin                             0.00929547 Customer Transfer
 Confidential Customer Coin Transferee #8862    [Address on File]     5/17/2023 Bitcoin                             0.00088778 Customer Transfer
 Confidential Customer Coin Transferee #8863    [Address on File]     5/20/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #8864    [Address on File]     5/24/2023 Bitcoin                                   0.035 Customer Transfer
 Confidential Customer Coin Transferee #8864    [Address on File]     5/25/2023 Bitcoin                             0.01876363 Customer Transfer
 Confidential Customer Coin Transferee #8864    [Address on File]     5/28/2023 Bitcoin                             0.01859881 Customer Transfer
 Confidential Customer Coin Transferee #8865    [Address on File]     5/26/2023 Bitcoin                             0.01967313 Customer Transfer
 Confidential Customer Coin Transferee #8866    [Address on File]     5/30/2023 Bitcoin                             0.00336699 Customer Transfer
 Confidential Customer Coin Transferee #8866    [Address on File]     5/23/2023 Bitcoin                              0.0026744 Customer Transfer
 Confidential Customer Coin Transferee #8866    [Address on File]     5/17/2023 Bitcoin                             0.00264985 Customer Transfer
 Confidential Customer Coin Transferee #8867    [Address on File]     5/30/2023 Bitcoin                             0.01793258 Customer Transfer
 Confidential Customer Coin Transferee #8868    [Address on File]     5/26/2023 Bitcoin                             0.01130246 Customer Transfer
 Confidential Customer Coin Transferee #8869    [Address on File]     5/16/2023 Bitcoin                                    0.05 Customer Transfer
 Confidential Customer Coin Transferee #8870    [Address on File]     5/16/2023 Bitcoin                             0.00368048 Customer Transfer
 Confidential Customer Coin Transferee #8871    [Address on File]      6/1/2023 Bitcoin                             0.01854817 Customer Transfer
 Confidential Customer Coin Transferee #8872    [Address on File]     5/20/2023 Bitcoin                             0.00096014 Customer Transfer
 Confidential Customer Coin Transferee #8873    [Address on File]     5/19/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #8873    [Address on File]     5/26/2023 Bitcoin                                    0.01 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8874    [Address on File]     5/19/2023 Bitcoin                             0.00049124 Customer Transfer
 Confidential Customer Coin Transferee #8874    [Address on File]     5/26/2023 Bitcoin                             0.00037505 Customer Transfer
 Confidential Customer Coin Transferee #8875    [Address on File]     5/23/2023 Bitcoin                             0.00062112 Customer Transfer
 Confidential Customer Coin Transferee #8875    [Address on File]     5/16/2023 Bitcoin                             0.00036791 Customer Transfer
 Confidential Customer Coin Transferee #8876    [Address on File]     5/25/2023 Bitcoin                             0.02512923 Customer Transfer
 Confidential Customer Coin Transferee #8877    [Address on File]     5/23/2023 Bitcoin                             0.01497828 Customer Transfer
 Confidential Customer Coin Transferee #8878    [Address on File]     5/24/2023 Bitcoin                             0.00089249 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/26/2023 Bitcoin                             0.00377202 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/23/2023 Bitcoin                             0.00246748 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/23/2023 Bitcoin                             0.00112854 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/23/2023 Bitcoin                             0.00108995 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/23/2023 Bitcoin                             0.00073638 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/23/2023 Bitcoin                             0.00073157 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/24/2023 Bitcoin                              0.0007303 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/23/2023 Bitcoin                             0.00069803 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/22/2023 Bitcoin                                   0.0006 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/23/2023 Bitcoin                             0.00056321 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/24/2023 Bitcoin                             0.00053158 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/22/2023 Bitcoin                             0.00047287 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/22/2023 Bitcoin                             0.00037739 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/31/2023 Bitcoin                             0.00036619 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/31/2023 Bitcoin                              0.0003546 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/22/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #8879    [Address on File]     5/22/2023 Bitcoin                                0.000294 Customer Transfer
 Confidential Customer Coin Transferee #8880    [Address on File]     5/16/2023 Bitcoin                             0.00111646 Customer Transfer
 Confidential Customer Coin Transferee #8880    [Address on File]     5/18/2023 Bitcoin                             0.00109323 Customer Transfer
 Confidential Customer Coin Transferee #8880    [Address on File]     5/24/2023 Bitcoin                             0.00093058 Customer Transfer
 Confidential Customer Coin Transferee #8880    [Address on File]     5/17/2023 Bitcoin                             0.00074391 Customer Transfer
 Confidential Customer Coin Transferee #8880    [Address on File]     5/22/2023 Bitcoin                             0.00037157 Customer Transfer
 Confidential Customer Coin Transferee #8880    [Address on File]     5/21/2023 Bitcoin                             0.00037089 Customer Transfer
 Confidential Customer Coin Transferee #8881    [Address on File]     5/31/2023 Bitcoin                             0.00178545 Customer Transfer
 Confidential Customer Coin Transferee #8881    [Address on File]     5/22/2023 Bitcoin                             0.00110549 Customer Transfer
 Confidential Customer Coin Transferee #8882    [Address on File]     5/24/2023 Bitcoin                             0.11453709 Customer Transfer
 Confidential Customer Coin Transferee #8882    [Address on File]     5/27/2023 Bitcoin                             0.11271545 Customer Transfer
 Confidential Customer Coin Transferee #8882    [Address on File]     5/18/2023 Bitcoin                                 0.10973 Customer Transfer
 Confidential Customer Coin Transferee #8883    [Address on File]     5/19/2023 Bitcoin                             0.00179531 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8883    [Address on File]      6/2/2023 Bitcoin                             0.00178886 Customer Transfer
 Confidential Customer Coin Transferee #8884    [Address on File]     5/31/2023 Bitcoin                                    0.1 Customer Transfer

 Confidential Customer Coin Transferee #8885    [Address on File]     5/26/2023 Bitcoin                                0.00161694 Customer Transfer
 Confidential Customer Coin Transferee #8886    [Address on File]     5/30/2023 Bitcoin                                0.01754152 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/25/2023 Bitcoin                                0.00065058 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/27/2023 Bitcoin                                0.00064653 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/21/2023 Bitcoin                                0.00059924 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/20/2023 Bitcoin                                0.00044945 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/19/2023 Bitcoin                                0.00044901 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/22/2023 Bitcoin                                0.00026578 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/24/2023 Bitcoin                                0.00026509 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/17/2023 Bitcoin                                0.00026194 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/16/2023 Bitcoin                                0.00026172 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/28/2023 Bitcoin                                0.00026102 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/23/2023 Bitcoin                                0.00025935 Customer Transfer
 Confidential Customer Coin Transferee #8887    [Address on File]     5/29/2023 Bitcoin                                0.00025453 Customer Transfer
 Confidential Customer Coin Transferee #8888    [Address on File]     5/23/2023 Bitcoin                                0.00363175 Customer Transfer
 Confidential Customer Coin Transferee #8889    [Address on File]     5/20/2023 Bitcoin                                        0.17 Customer Transfer
 Confidential Customer Coin Transferee #8889    [Address on File]     5/31/2023 Bitcoin                                0.03680498 Customer Transfer
 Confidential Customer Coin Transferee #8889    [Address on File]     5/27/2023 Bitcoin                                0.00973228 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/16/2023 Bitcoin                                 0.0079869 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/16/2023 Bitcoin                                0.00729018 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/17/2023 Bitcoin                                0.00553754 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/16/2023 Bitcoin                                0.00371934 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/16/2023 Bitcoin                                0.00366878 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/27/2023 Bitcoin                                0.00259416 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/27/2023 Bitcoin                                0.00193299 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/29/2023 Bitcoin                                0.00143641 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/19/2023 Bitcoin                                0.00092532 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/26/2023 Bitcoin                                0.00079052 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/19/2023 Bitcoin                                0.00068383 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/25/2023 Bitcoin                                 0.0005759 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/31/2023 Bitcoin                                0.00053912 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/31/2023 Bitcoin                                   0.000477 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/30/2023 Bitcoin                                0.00035692 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/27/2023 Bitcoin                             0.00021032 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/23/2023 Bitcoin                             0.00018891 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/19/2023 Bitcoin                             0.00013155 Customer Transfer
 Confidential Customer Coin Transferee #8890    [Address on File]     5/31/2023 Bitcoin                             0.00008814 Customer Transfer
 Confidential Customer Coin Transferee #8891    [Address on File]     5/27/2023 Bitcoin                             0.02845771 Customer Transfer
 Confidential Customer Coin Transferee #8891    [Address on File]     5/20/2023 Bitcoin                              0.0232128 Customer Transfer
 Confidential Customer Coin Transferee #8892    [Address on File]     5/27/2023 Bitcoin                             0.02557748 Customer Transfer
 Confidential Customer Coin Transferee #8892    [Address on File]     5/27/2023 Bitcoin                             0.02517323 Customer Transfer
 Confidential Customer Coin Transferee #8892    [Address on File]     5/27/2023 Bitcoin                             0.02516589 Customer Transfer
 Confidential Customer Coin Transferee #8893    [Address on File]     5/19/2023 Bitcoin                                     0.15 Customer Transfer
 Confidential Customer Coin Transferee #8893    [Address on File]     5/19/2023 Bitcoin                             0.00070398 Customer Transfer
 Confidential Customer Coin Transferee #8893    [Address on File]     5/19/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #8894    [Address on File]      6/7/2023 Bitcoin                             0.00387286 Customer Transfer
 Confidential Customer Coin Transferee #8894    [Address on File]     5/22/2023 Bitcoin                              0.0018452 Customer Transfer
 Confidential Customer Coin Transferee #8894    [Address on File]      6/6/2023 Bitcoin                             0.00038468 Customer Transfer
 Confidential Customer Coin Transferee #8894    [Address on File]     5/17/2023 Bitcoin                             0.00037115 Customer Transfer
 Confidential Customer Coin Transferee #8894    [Address on File]      6/2/2023 Bitcoin                             0.00036825 Customer Transfer
 Confidential Customer Coin Transferee #8894    [Address on File]     5/23/2023 Bitcoin                             0.00036511 Customer Transfer
 Confidential Customer Coin Transferee #8894    [Address on File]     5/30/2023 Bitcoin                             0.00035697 Customer Transfer
 Confidential Customer Coin Transferee #8895    [Address on File]     5/24/2023 Bitcoin                             0.00240835 Customer Transfer
 Confidential Customer Coin Transferee #8896    [Address on File]     6/20/2023 Bitcoin                             0.00032929 Customer Transfer
 Confidential Customer Coin Transferee #8897    [Address on File]     5/20/2023 Bitcoin                             0.00363911 Customer Transfer
 Confidential Customer Coin Transferee #8898    [Address on File]     5/16/2023 Bitcoin                             0.00360457 Customer Transfer
 Confidential Customer Coin Transferee #8898    [Address on File]     5/18/2023 Bitcoin                              0.0007158 Customer Transfer
 Confidential Customer Coin Transferee #8899    [Address on File]     5/19/2023 Bitcoin                             0.03627182 Customer Transfer
 Confidential Customer Coin Transferee #8900    [Address on File]     6/17/2023 Bitcoin                              0.0008959 Customer Transfer
 Confidential Customer Coin Transferee #8901    [Address on File]      6/7/2023 Bitcoin                              0.0115027 Customer Transfer
 Confidential Customer Coin Transferee #8901    [Address on File]     6/16/2023 Bitcoin                             0.01120835 Customer Transfer
 Confidential Customer Coin Transferee #8902    [Address on File]     5/21/2023 Bitcoin                             0.02109565 Customer Transfer
 Confidential Customer Coin Transferee #8903    [Address on File]     5/18/2023 Bitcoin                             0.05688257 Customer Transfer
 Confidential Customer Coin Transferee #8904    [Address on File]     5/23/2023 Bitcoin                             0.00947347 Customer Transfer
 Confidential Customer Coin Transferee #8905    [Address on File]     6/13/2023 Bitcoin                             0.00184549 Customer Transfer
 Confidential Customer Coin Transferee #8906    [Address on File]     5/29/2023 Bitcoin                             0.02860835 Customer Transfer
 Confidential Customer Coin Transferee #8907    [Address on File]     5/22/2023 Bitcoin                             0.00184038 Customer Transfer
 Confidential Customer Coin Transferee #8908    [Address on File]     6/20/2023 Bitcoin                             0.00040806 Customer Transfer
 Confidential Customer Coin Transferee #8909    [Address on File]     6/20/2023 Bitcoin                              0.0000582 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8910    [Address on File]     5/23/2023 Bitcoin                             0.01128454 Customer Transfer
 Confidential Customer Coin Transferee #8911    [Address on File]     6/20/2023 Bitcoin                             0.00004336 Customer Transfer
 Confidential Customer Coin Transferee #8912    [Address on File]     6/19/2023 Bitcoin                              0.0003519 Customer Transfer
 Confidential Customer Coin Transferee #8913    [Address on File]      6/2/2023 Bitcoin                             0.02095502 Customer Transfer
 Confidential Customer Coin Transferee #8914    [Address on File]     6/21/2023 USDC Avalanche)                    2984.959633 Customer Transfer
 Confidential Customer Coin Transferee #8915    [Address on File]     6/19/2023 Bitcoin                             0.00005614 Customer Transfer
 Confidential Customer Coin Transferee #8916    [Address on File]     6/19/2023 Bitcoin                              0.0198872 Customer Transfer
 Confidential Customer Coin Transferee #8917    [Address on File]     5/30/2023 Bitcoin                              0.0091807 Customer Transfer
 Confidential Customer Coin Transferee #8917    [Address on File]     6/15/2023 Bitcoin                             0.00395588 Customer Transfer
 Confidential Customer Coin Transferee #8918    [Address on File]     6/20/2023 Bitcoin                              0.0000561 Customer Transfer
 Confidential Customer Coin Transferee #8919    [Address on File]     5/24/2023 Bitcoin                                 0.02801 Customer Transfer
 Confidential Customer Coin Transferee #8919    [Address on File]     5/16/2023 Bitcoin                             0.02686955 Customer Transfer
 Confidential Customer Coin Transferee #8920    [Address on File]     6/19/2023 Bitcoin                             0.00076815 Customer Transfer
 Confidential Customer Coin Transferee #8921    [Address on File]     6/20/2023 Bitcoin                             0.00060173 Customer Transfer
 Confidential Customer Coin Transferee #8922    [Address on File]     6/19/2023 Bitcoin                             0.00005731 Customer Transfer
 Confidential Customer Coin Transferee #8923    [Address on File]     6/19/2023 Bitcoin                              0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #8924    [Address on File]     6/20/2023 Bitcoin                             0.00805211 Customer Transfer
 Confidential Customer Coin Transferee #8925    [Address on File]     6/20/2023 Bitcoin                             0.00880316 Customer Transfer
 Confidential Customer Coin Transferee #8926    [Address on File]     6/20/2023 Bitcoin                              0.0108104 Customer Transfer

 Confidential Customer Coin Transferee #8927    [Address on File]      6/8/2023 Bitcoin                                 0.1312608 Customer Transfer
 Confidential Customer Coin Transferee #8928    [Address on File]     5/21/2023 Bitcoin                                0.00286461 Customer Transfer
 Confidential Customer Coin Transferee #8928    [Address on File]     5/27/2023 Bitcoin                                     0.0025 Customer Transfer
 Confidential Customer Coin Transferee #8928    [Address on File]     5/16/2023 Bitcoin                                0.00127935 Customer Transfer
 Confidential Customer Coin Transferee #8929    [Address on File]     6/19/2023 Bitcoin                                 0.0000593 Customer Transfer
 Confidential Customer Coin Transferee #8930    [Address on File]     6/20/2023 Bitcoin                                 0.0030098 Customer Transfer
 Confidential Customer Coin Transferee #8931    [Address on File]     6/20/2023 Bitcoin                                0.00011863 Customer Transfer
 Confidential Customer Coin Transferee #8932    [Address on File]      6/9/2023 Bitcoin                                0.00287522 Customer Transfer
 Confidential Customer Coin Transferee #8933    [Address on File]     6/20/2023 Bitcoin                                0.00034947 Customer Transfer
 Confidential Customer Coin Transferee #8934    [Address on File]     5/19/2023 Bitcoin                                0.00147499 Customer Transfer
 Confidential Customer Coin Transferee #8934    [Address on File]     5/19/2023 Bitcoin                                0.00145639 Customer Transfer
 Confidential Customer Coin Transferee #8934    [Address on File]     5/19/2023 Bitcoin                                0.00143427 Customer Transfer
 Confidential Customer Coin Transferee #8934    [Address on File]     5/19/2023 Bitcoin                                0.00142828 Customer Transfer
 Confidential Customer Coin Transferee #8934    [Address on File]     5/19/2023 Bitcoin                                0.00135802 Customer Transfer
 Confidential Customer Coin Transferee #8934    [Address on File]     5/19/2023 Bitcoin                                0.00132615 Customer Transfer
 Confidential Customer Coin Transferee #8935    [Address on File]     6/20/2023 Bitcoin                                0.01560578 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8936    [Address on File]     6/20/2023 Bitcoin                             0.01400216 Customer Transfer
 Confidential Customer Coin Transferee #8937    [Address on File]     5/21/2023 Bitcoin                             0.00364078 Customer Transfer
 Confidential Customer Coin Transferee #8938    [Address on File]     6/20/2023 Bitcoin                             0.00044227 Customer Transfer
 Confidential Customer Coin Transferee #8939    [Address on File]     5/16/2023 Bitcoin                             0.06801531 Customer Transfer
 Confidential Customer Coin Transferee #8939    [Address on File]     5/22/2023 Bitcoin                             0.03672714 Customer Transfer
 Confidential Customer Coin Transferee #8939    [Address on File]     5/19/2023 Bitcoin                             0.03624223 Customer Transfer
 Confidential Customer Coin Transferee #8939    [Address on File]     5/19/2023 Bitcoin                             0.03612156 Customer Transfer
 Confidential Customer Coin Transferee #8939    [Address on File]     5/20/2023 Bitcoin                             0.03530741 Customer Transfer
 Confidential Customer Coin Transferee #8940    [Address on File]     6/20/2023 Bitcoin                                 0.00028 Customer Transfer
 Confidential Customer Coin Transferee #8941    [Address on File]     6/19/2023 Bitcoin                             0.01354769 Customer Transfer
 Confidential Customer Coin Transferee #8942    [Address on File]     6/20/2023 Bitcoin                             0.00035388 Customer Transfer
 Confidential Customer Coin Transferee #8943    [Address on File]     6/20/2023 Bitcoin                              0.0000583 Customer Transfer
 Confidential Customer Coin Transferee #8944    [Address on File]     6/20/2023 Bitcoin                             0.00115794 Customer Transfer
 Confidential Customer Coin Transferee #8945    [Address on File]     5/18/2023 Bitcoin                             0.01020039 Customer Transfer
 Confidential Customer Coin Transferee #8946    [Address on File]     5/20/2023 Bitcoin                             0.01734904 Customer Transfer
 Confidential Customer Coin Transferee #8947    [Address on File]     5/17/2023 Bitcoin                             0.01028335 Customer Transfer
 Confidential Customer Coin Transferee #8948    [Address on File]     6/20/2023 Bitcoin                             0.04302934 Customer Transfer
 Confidential Customer Coin Transferee #8949    [Address on File]     5/18/2023 Bitcoin                             0.00184163 Customer Transfer
 Confidential Customer Coin Transferee #8949    [Address on File]     5/25/2023 Bitcoin                             0.00183848 Customer Transfer
 Confidential Customer Coin Transferee #8950    [Address on File]     5/23/2023 Bitcoin                             0.04257009 Customer Transfer
 Confidential Customer Coin Transferee #8951    [Address on File]      6/1/2023 Bitcoin                             0.00288999 Customer Transfer
 Confidential Customer Coin Transferee #8952    [Address on File]     5/27/2023 Bitcoin                             0.01698087 Customer Transfer
 Confidential Customer Coin Transferee #8953    [Address on File]     6/13/2023 Bitcoin                              0.0006131 Customer Transfer
 Confidential Customer Coin Transferee #8953    [Address on File]      6/5/2023 Bitcoin                             0.00051341 Customer Transfer
 Confidential Customer Coin Transferee #8953    [Address on File]     6/17/2023 Bitcoin                              0.0005016 Customer Transfer
 Confidential Customer Coin Transferee #8953    [Address on File]      6/1/2023 Bitcoin                             0.00048445 Customer Transfer
 Confidential Customer Coin Transferee #8953    [Address on File]     5/22/2023 Bitcoin                             0.00048153 Customer Transfer
 Confidential Customer Coin Transferee #8953    [Address on File]     5/16/2023 Bitcoin                             0.00047549 Customer Transfer
 Confidential Customer Coin Transferee #8953    [Address on File]     5/26/2023 Bitcoin                             0.00047471 Customer Transfer
 Confidential Customer Coin Transferee #8953    [Address on File]     5/23/2023 Bitcoin                             0.00043716 Customer Transfer
 Confidential Customer Coin Transferee #8953    [Address on File]      6/9/2023 Bitcoin                             0.00042881 Customer Transfer
 Confidential Customer Coin Transferee #8953    [Address on File]     5/25/2023 Bitcoin                             0.00030143 Customer Transfer
 Confidential Customer Coin Transferee #8954    [Address on File]     6/19/2023 Bitcoin                             0.00063817 Customer Transfer

 Confidential Customer Coin Transferee #8955    [Address on File]     5/21/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #8956    [Address on File]     5/25/2023 Bitcoin                                0.01056023 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #8957    [Address on File]     5/19/2023 Bitcoin                             0.03013741 Customer Transfer
 Confidential Customer Coin Transferee #8957    [Address on File]     5/22/2023 Bitcoin                             0.01103904 Customer Transfer
 Confidential Customer Coin Transferee #8957    [Address on File]     5/29/2023 Bitcoin                             0.00517263 Customer Transfer
 Confidential Customer Coin Transferee #8958    [Address on File]     6/19/2023 Bitcoin                             0.00058091 Customer Transfer
 Confidential Customer Coin Transferee #8959    [Address on File]     6/20/2023 Bitcoin                             0.00005639 Customer Transfer
 Confidential Customer Coin Transferee #8960    [Address on File]     5/17/2023 Bitcoin                              0.0100069 Customer Transfer
 Confidential Customer Coin Transferee #8961    [Address on File]     6/19/2023 Bitcoin                             0.00183941 Customer Transfer
 Confidential Customer Coin Transferee #8962    [Address on File]     6/20/2023 Bitcoin                             0.00005824 Customer Transfer
 Confidential Customer Coin Transferee #8963    [Address on File]     6/20/2023 Bitcoin                             0.01749535 Customer Transfer
 Confidential Customer Coin Transferee #8964    [Address on File]     5/19/2023 Bitcoin                             0.01086867 Customer Transfer
 Confidential Customer Coin Transferee #8965    [Address on File]     6/19/2023 Bitcoin                             0.00086674 Customer Transfer
 Confidential Customer Coin Transferee #8966    [Address on File]     6/20/2023 Bitcoin                             0.00041143 Customer Transfer
 Confidential Customer Coin Transferee #8967    [Address on File]     6/20/2023 Bitcoin                             0.00038957 Customer Transfer
 Confidential Customer Coin Transferee #8968    [Address on File]     5/18/2023 Bitcoin                             0.06970078 Customer Transfer
 Confidential Customer Coin Transferee #8969    [Address on File]     6/19/2023 Ether                               0.00255061 Customer Transfer
 Confidential Customer Coin Transferee #8970    [Address on File]     5/22/2023 Bitcoin                             0.00174058 Customer Transfer

 Confidential Customer Coin Transferee #8971    [Address on File]     5/19/2023 Bitcoin                                0.05114306 Customer Transfer
 Confidential Customer Coin Transferee #8972    [Address on File]     5/22/2023 Bitcoin                                0.01234567 Customer Transfer

 Confidential Customer Coin Transferee #8973    [Address on File]     6/12/2023 Bitcoin                                 0.0939221 Customer Transfer

 Confidential Customer Coin Transferee #8974    [Address on File]     6/12/2023 Bitcoin                                0.46600281 Customer Transfer
 Confidential Customer Coin Transferee #8975    [Address on File]     5/22/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #8976    [Address on File]     6/20/2023 Bitcoin                                0.00040702 Customer Transfer
 Confidential Customer Coin Transferee #8977    [Address on File]     6/19/2023 Bitcoin                                0.00258098 Customer Transfer
 Confidential Customer Coin Transferee #8978    [Address on File]     5/29/2023 Bitcoin                                0.01477661 Customer Transfer
 Confidential Customer Coin Transferee #8978    [Address on File]     5/24/2023 Bitcoin                                0.01476246 Customer Transfer
 Confidential Customer Coin Transferee #8978    [Address on File]     5/19/2023 Bitcoin                                0.01468995 Customer Transfer
 Confidential Customer Coin Transferee #8979    [Address on File]     5/20/2023 Bitcoin                                0.02720268 Customer Transfer
 Confidential Customer Coin Transferee #8980    [Address on File]     5/19/2023 Bitcoin                                0.00135945 Customer Transfer
 Confidential Customer Coin Transferee #8981    [Address on File]     5/24/2023 Bitcoin                                0.00576267 Customer Transfer
 Confidential Customer Coin Transferee #8981    [Address on File]     5/17/2023 Bitcoin                                0.00570017 Customer Transfer
 Confidential Customer Coin Transferee #8982    [Address on File]     5/25/2023 Bitcoin                                0.02256349 Customer Transfer
 Confidential Customer Coin Transferee #8982    [Address on File]     6/14/2023 Bitcoin                                0.01864665 Customer Transfer
 Confidential Customer Coin Transferee #8982    [Address on File]     5/26/2023 Bitcoin                                0.01803957 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #8982    [Address on File]     5/25/2023 Bitcoin                              0.0111815 Customer Transfer
 Confidential Customer Coin Transferee #8982    [Address on File]     5/25/2023 Bitcoin                              0.0111815 Customer Transfer
 Confidential Customer Coin Transferee #8982    [Address on File]     5/26/2023 Bitcoin                             0.00710762 Customer Transfer
 Confidential Customer Coin Transferee #8982    [Address on File]      6/5/2023 Bitcoin                             0.00346707 Customer Transfer
 Confidential Customer Coin Transferee #8982    [Address on File]     5/26/2023 Bitcoin                             0.00167477 Customer Transfer
 Confidential Customer Coin Transferee #8982    [Address on File]     5/25/2023 Bitcoin                             0.00018997 Customer Transfer
 Confidential Customer Coin Transferee #8983    [Address on File]     6/20/2023 Bitcoin                             0.00042697 Customer Transfer
 Confidential Customer Coin Transferee #8984    [Address on File]     5/25/2023 Bitcoin                             0.00186568 Customer Transfer
 Confidential Customer Coin Transferee #8984    [Address on File]     5/20/2023 Bitcoin                             0.00092508 Customer Transfer
 Confidential Customer Coin Transferee #8985    [Address on File]     5/31/2023 Bitcoin                                    0.074 Customer Transfer
 Confidential Customer Coin Transferee #8986    [Address on File]     5/30/2023 Bitcoin                             0.00017921 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/24/2023 Bitcoin                             0.00219726 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/30/2023 Bitcoin                             0.00215578 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/28/2023 Bitcoin                             0.00201754 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/26/2023 Bitcoin                             0.00187465 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/25/2023 Bitcoin                             0.00186642 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/31/2023 Bitcoin                             0.00179149 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/17/2023 Bitcoin                             0.00164918 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/18/2023 Bitcoin                             0.00160186 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/23/2023 Bitcoin                             0.00110777 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/21/2023 Bitcoin                             0.00109743 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/16/2023 Bitcoin                             0.00091362 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/22/2023 Bitcoin                                0.000746 Customer Transfer
 Confidential Customer Coin Transferee #8987    [Address on File]     5/19/2023 Bitcoin                             0.00074222 Customer Transfer
 Confidential Customer Coin Transferee #8988    [Address on File]     6/19/2023 Bitcoin                             0.00017354 Customer Transfer
 Confidential Customer Coin Transferee #8989    [Address on File]     5/18/2023 Bitcoin                             0.00453488 Customer Transfer
 Confidential Customer Coin Transferee #8989    [Address on File]     5/19/2023 Bitcoin                             0.00267922 Customer Transfer
 Confidential Customer Coin Transferee #8990    [Address on File]     5/27/2023 Bitcoin                                0.006395 Customer Transfer
 Confidential Customer Coin Transferee #8991    [Address on File]     5/19/2023 Bitcoin                             0.00339554 Customer Transfer
 Confidential Customer Coin Transferee #8992    [Address on File]     6/20/2023 Bitcoin                             0.02505848 Customer Transfer
 Confidential Customer Coin Transferee #8993    [Address on File]     5/17/2023 Bitcoin                             0.00031848 Customer Transfer
 Confidential Customer Coin Transferee #8993    [Address on File]     5/20/2023 Bitcoin                             0.00015304 Customer Transfer
 Confidential Customer Coin Transferee #8994    [Address on File]     5/17/2023 Bitcoin                             0.00125151 Customer Transfer
 Confidential Customer Coin Transferee #8994    [Address on File]     5/16/2023 Bitcoin                             0.00102621 Customer Transfer
 Confidential Customer Coin Transferee #8995    [Address on File]     6/19/2023 Bitcoin                             0.00221163 Customer Transfer
 Confidential Customer Coin Transferee #8996    [Address on File]     5/26/2023 Bitcoin                             0.01116284 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #8996    [Address on File]     5/30/2023 Bitcoin                             0.01081191 Customer Transfer
 Confidential Customer Coin Transferee #8997    [Address on File]     6/20/2023 Bitcoin                             0.00057662 Customer Transfer
 Confidential Customer Coin Transferee #8998    [Address on File]     5/29/2023 Bitcoin                             0.01871529 Customer Transfer
 Confidential Customer Coin Transferee #8998    [Address on File]     5/30/2023 Bitcoin                             0.01421673 Customer Transfer
 Confidential Customer Coin Transferee #8998    [Address on File]     5/23/2023 Bitcoin                             0.01088616 Customer Transfer
 Confidential Customer Coin Transferee #8998    [Address on File]      6/7/2023 Bitcoin                             0.00751862 Customer Transfer
 Confidential Customer Coin Transferee #8998    [Address on File]     5/26/2023 Bitcoin                             0.00749672 Customer Transfer
 Confidential Customer Coin Transferee #8998    [Address on File]     6/12/2023 Bitcoin                             0.00744828 Customer Transfer
 Confidential Customer Coin Transferee #8998    [Address on File]      6/1/2023 Bitcoin                             0.00735749 Customer Transfer
 Confidential Customer Coin Transferee #8998    [Address on File]     5/30/2023 Bitcoin                             0.00178752 Customer Transfer
 Confidential Customer Coin Transferee #8999    [Address on File]     5/20/2023 Bitcoin                             0.00091157 Customer Transfer
 Confidential Customer Coin Transferee #8999    [Address on File]     5/26/2023 Bitcoin                             0.00091029 Customer Transfer
 Confidential Customer Coin Transferee #9000    [Address on File]     6/20/2023 Bitcoin                             0.00040733 Customer Transfer
 Confidential Customer Coin Transferee #9001    [Address on File]     6/20/2023 Bitcoin                             0.00042994 Customer Transfer
 Confidential Customer Coin Transferee #9002    [Address on File]     5/24/2023 Bitcoin                             0.00526264 Customer Transfer
 Confidential Customer Coin Transferee #9003    [Address on File]     5/23/2023 Bitcoin                                 0.00461 Customer Transfer
 Confidential Customer Coin Transferee #9004    [Address on File]     5/17/2023 Bitcoin                             0.00976556 Customer Transfer
 Confidential Customer Coin Transferee #9005    [Address on File]     6/19/2023 Bitcoin                             0.00029864 Customer Transfer
 Confidential Customer Coin Transferee #9006    [Address on File]     6/19/2023 Bitcoin                             0.00057926 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/24/2023 Bitcoin                             0.02851988 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/28/2023 Bitcoin                             0.02589302 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/27/2023 Bitcoin                             0.02235979 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/22/2023 Bitcoin                             0.02129379 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/24/2023 Bitcoin                             0.02094107 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/27/2023 Bitcoin                              0.0208657 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/25/2023 Bitcoin                             0.02086345 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/21/2023 Bitcoin                             0.02082342 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/17/2023 Bitcoin                             0.02078947 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/19/2023 Bitcoin                              0.0206863 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/27/2023 Bitcoin                             0.02065407 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/25/2023 Bitcoin                              0.0206452 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/27/2023 Bitcoin                             0.02063388 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/20/2023 Bitcoin                             0.02059052 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/23/2023 Bitcoin                             0.02057296 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/19/2023 Bitcoin                              0.0205577 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/19/2023 Bitcoin                             0.02051801 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/27/2023 Bitcoin                             0.02047232 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/23/2023 Bitcoin                             0.02046574 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/23/2023 Bitcoin                              0.0204035 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/23/2023 Bitcoin                             0.02035532 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/20/2023 Bitcoin                             0.02032728 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/29/2023 Bitcoin                             0.02028248 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/16/2023 Bitcoin                             0.02024525 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/16/2023 Bitcoin                             0.01954914 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/16/2023 Bitcoin                             0.01953771 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/24/2023 Bitcoin                             0.01905337 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/24/2023 Bitcoin                             0.01903627 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/21/2023 Bitcoin                             0.01447891 Customer Transfer
 Confidential Customer Coin Transferee #9007    [Address on File]     5/29/2023 Bitcoin                             0.00810318 Customer Transfer
 Confidential Customer Coin Transferee #9008    [Address on File]     5/26/2023 Bitcoin                             0.02221873 Customer Transfer
 Confidential Customer Coin Transferee #9008    [Address on File]     5/19/2023 Bitcoin                             0.02218892 Customer Transfer
 Confidential Customer Coin Transferee #9009    [Address on File]     6/20/2023 Bitcoin                             0.00059638 Customer Transfer
 Confidential Customer Coin Transferee #9010    [Address on File]     6/20/2023 Bitcoin                             0.00080586 Customer Transfer
 Confidential Customer Coin Transferee #9011    [Address on File]     6/19/2023 Bitcoin                             0.00064641 Customer Transfer
 Confidential Customer Coin Transferee #9012    [Address on File]     6/12/2023 Bitcoin                             0.00036492 Customer Transfer
 Confidential Customer Coin Transferee #9013    [Address on File]      6/2/2023 Bitcoin                             0.00036437 Customer Transfer
 Confidential Customer Coin Transferee #9014    [Address on File]     5/24/2023 Bitcoin                                  0.2199 Customer Transfer
 Confidential Customer Coin Transferee #9015    [Address on File]     6/20/2023 Bitcoin                             0.00366482 Customer Transfer
 Confidential Customer Coin Transferee #9016    [Address on File]     5/24/2023 Bitcoin                             0.00127876 Customer Transfer
 Confidential Customer Coin Transferee #9016    [Address on File]     5/16/2023 Bitcoin                             0.00121277 Customer Transfer
 Confidential Customer Coin Transferee #9016    [Address on File]     5/16/2023 Bitcoin                             0.00118144 Customer Transfer
 Confidential Customer Coin Transferee #9016    [Address on File]     5/23/2023 Bitcoin                             0.00109849 Customer Transfer
 Confidential Customer Coin Transferee #9016    [Address on File]     5/16/2023 Bitcoin                             0.00102984 Customer Transfer
 Confidential Customer Coin Transferee #9017    [Address on File]     6/20/2023 Bitcoin                             0.00057769 Customer Transfer
 Confidential Customer Coin Transferee #9018    [Address on File]     5/28/2023 Bitcoin                                   0.088 Customer Transfer
 Confidential Customer Coin Transferee #9019    [Address on File]     5/29/2023 Bitcoin                             0.01055355 Customer Transfer
 Confidential Customer Coin Transferee #9020    [Address on File]     6/19/2023 Bitcoin                             0.03427018 Customer Transfer
 Confidential Customer Coin Transferee #9021    [Address on File]     5/31/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #9022    [Address on File]     5/31/2023 USDC Solana)                               3695 Customer Transfer
 Confidential Customer Coin Transferee #9022    [Address on File]     5/23/2023 USDC Solana)                               2195 Customer Transfer
 Confidential Customer Coin Transferee #9022    [Address on File]      6/6/2023 USDC Solana)                                 30 Customer Transfer
 Confidential Customer Coin Transferee #9023    [Address on File]     5/25/2023 Bitcoin                                   0.215 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9023    [Address on File]     5/16/2023 Bitcoin                             0.03403902 Customer Transfer

 Confidential Customer Coin Transferee #9024    [Address on File]     5/21/2023 Bitcoin                                0.01036347 Customer Transfer

 Confidential Customer Coin Transferee #9024    [Address on File]     5/21/2023 Bitcoin                                       0.008 Customer Transfer
 Confidential Customer Coin Transferee #9025    [Address on File]     6/20/2023 Bitcoin                                0.00005642 Customer Transfer
 Confidential Customer Coin Transferee #9026    [Address on File]      6/2/2023 Bitcoin                                0.07432774 Customer Transfer
 Confidential Customer Coin Transferee #9026    [Address on File]     6/20/2023 Bitcoin                                0.00368212 Customer Transfer
 Confidential Customer Coin Transferee #9027    [Address on File]     5/23/2023 Bitcoin                                0.00094666 Customer Transfer
 Confidential Customer Coin Transferee #9027    [Address on File]     5/23/2023 Bitcoin                                0.00073114 Customer Transfer
 Confidential Customer Coin Transferee #9027    [Address on File]     5/26/2023 Bitcoin                                0.00059484 Customer Transfer
 Confidential Customer Coin Transferee #9027    [Address on File]     5/24/2023 Bitcoin                                0.00037817 Customer Transfer
 Confidential Customer Coin Transferee #9028    [Address on File]     5/29/2023 Bitcoin                                 0.0018015 Customer Transfer
 Confidential Customer Coin Transferee #9028    [Address on File]     5/17/2023 Bitcoin                                0.00093014 Customer Transfer
 Confidential Customer Coin Transferee #9029    [Address on File]     5/17/2023 Bitcoin                                0.03695543 Customer Transfer
 Confidential Customer Coin Transferee #9030    [Address on File]     5/20/2023 Bitcoin                                        0.01 Customer Transfer
 Confidential Customer Coin Transferee #9031    [Address on File]     5/28/2023 Bitcoin                                0.00148459 Customer Transfer
 Confidential Customer Coin Transferee #9031    [Address on File]     5/20/2023 Bitcoin                                    0.00001 Customer Transfer
 Confidential Customer Coin Transferee #9032    [Address on File]     5/28/2023 Bitcoin                                    0.00185 Customer Transfer
 Confidential Customer Coin Transferee #9033    [Address on File]     6/20/2023 Bitcoin                                0.00010481 Customer Transfer
 Confidential Customer Coin Transferee #9034    [Address on File]     5/31/2023 Bitcoin                                 0.1106942 Customer Transfer
 Confidential Customer Coin Transferee #9035    [Address on File]     5/17/2023 Bitcoin                                0.14668969 Customer Transfer
 Confidential Customer Coin Transferee #9036    [Address on File]     5/26/2023 Bitcoin                                0.11195756 Customer Transfer
 Confidential Customer Coin Transferee #9037    [Address on File]     5/19/2023 Bitcoin                                1.04558253 Customer Transfer

 Confidential Customer Coin Transferee #9038    [Address on File]     5/26/2023 Bitcoin                                0.48549074 Customer Transfer
 Confidential Customer Coin Transferee #9039    [Address on File]     6/20/2023 Bitcoin                                0.00046719 Customer Transfer
 Confidential Customer Coin Transferee #9040    [Address on File]     5/21/2023 Bitcoin                                0.02352346 Customer Transfer
 Confidential Customer Coin Transferee #9041    [Address on File]     5/21/2023 Bitcoin                                       0.03 Customer Transfer
 Confidential Customer Coin Transferee #9042    [Address on File]     6/19/2023 Bitcoin                                0.00009025 Customer Transfer
 Confidential Customer Coin Transferee #9043    [Address on File]      6/5/2023 USDC Solana)                                    50 Customer Transfer
 Confidential Customer Coin Transferee #9043    [Address on File]     6/21/2023 USDC Solana)                                    50 Customer Transfer
 Confidential Customer Coin Transferee #9044    [Address on File]     5/16/2023 Bitcoin                                0.16306555 Customer Transfer
 Confidential Customer Coin Transferee #9044    [Address on File]     5/19/2023 Bitcoin                                0.02290522 Customer Transfer
 Confidential Customer Coin Transferee #9044    [Address on File]     5/22/2023 Bitcoin                                0.01573238 Customer Transfer
 Confidential Customer Coin Transferee #9045    [Address on File]     5/29/2023 Bitcoin                                 0.0185852 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #9045    [Address on File]     5/22/2023 Bitcoin                             0.01856205 Customer Transfer
 Confidential Customer Coin Transferee #9046    [Address on File]      6/7/2023 Cosmos Hub ATOM)                      5.142584 Customer Transfer
 Confidential Customer Coin Transferee #9047    [Address on File]     5/26/2023 Bitcoin                             0.20235119 Customer Transfer
 Confidential Customer Coin Transferee #9047    [Address on File]     5/26/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #9048    [Address on File]     5/20/2023 Bitcoin                             0.00373571 Customer Transfer
 Confidential Customer Coin Transferee #9049    [Address on File]     5/25/2023 Bitcoin                             0.07352372 Customer Transfer
 Confidential Customer Coin Transferee #9049    [Address on File]     5/25/2023 Bitcoin                                   0.0011 Customer Transfer
 Confidential Customer Coin Transferee #9049    [Address on File]     5/25/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #9050    [Address on File]     5/22/2023 Bitcoin                                0.206019 Customer Transfer
 Confidential Customer Coin Transferee #9051    [Address on File]     5/24/2023 Bitcoin                             0.00754791 Customer Transfer
 Confidential Customer Coin Transferee #9051    [Address on File]     5/23/2023 Bitcoin                             0.00145474 Customer Transfer
 Confidential Customer Coin Transferee #9052    [Address on File]     6/19/2023 Bitcoin                             0.00004947 Customer Transfer
 Confidential Customer Coin Transferee #9053    [Address on File]     5/26/2023 Bitcoin                                       0.1 Customer Transfer
 Confidential Customer Coin Transferee #9054    [Address on File]     5/17/2023 Bitcoin                                      0.15 Customer Transfer
 Confidential Customer Coin Transferee #9054    [Address on File]     5/24/2023 Bitcoin                                      0.15 Customer Transfer
 Confidential Customer Coin Transferee #9054    [Address on File]     5/31/2023 Bitcoin                                       0.1 Customer Transfer
 Confidential Customer Coin Transferee #9054    [Address on File]     5/31/2023 Bitcoin                                      0.05 Customer Transfer
 Confidential Customer Coin Transferee #9055    [Address on File]     5/19/2023 Bitcoin                                   0.0336 Customer Transfer
 Confidential Customer Coin Transferee #9055    [Address on File]     5/25/2023 Bitcoin                                    0.015 Customer Transfer
 Confidential Customer Coin Transferee #9055    [Address on File]     5/28/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #9055    [Address on File]     5/28/2023 Bitcoin                                   0.0023 Customer Transfer
 Confidential Customer Coin Transferee #9056    [Address on File]     5/26/2023 Bitcoin                             0.00204858 Customer Transfer
 Confidential Customer Coin Transferee #9056    [Address on File]     6/12/2023 Bitcoin                             0.00076848 Customer Transfer
 Confidential Customer Coin Transferee #9056    [Address on File]      6/7/2023 Bitcoin                             0.00076227 Customer Transfer
 Confidential Customer Coin Transferee #9056    [Address on File]     5/22/2023 Bitcoin                             0.00073546 Customer Transfer
 Confidential Customer Coin Transferee #9057    [Address on File]     5/23/2023 Bitcoin                             0.05330408 Customer Transfer
 Confidential Customer Coin Transferee #9057    [Address on File]     5/23/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #9058    [Address on File]     5/24/2023 Bitcoin                             0.07352686 Customer Transfer
 Confidential Customer Coin Transferee #9058    [Address on File]     5/27/2023 Bitcoin                             0.01748988 Customer Transfer
 Confidential Customer Coin Transferee #9058    [Address on File]     5/24/2023 Bitcoin                             0.00370091 Customer Transfer
 Confidential Customer Coin Transferee #9058    [Address on File]     5/24/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #9059    [Address on File]     6/20/2023 Bitcoin                             0.00003578 Customer Transfer
 Confidential Customer Coin Transferee #9060    [Address on File]     5/26/2023 Bitcoin                             0.02805367 Customer Transfer
 Confidential Customer Coin Transferee #9061    [Address on File]     6/19/2023 Bitcoin                             0.15914149 Customer Transfer
 Confidential Customer Coin Transferee #9062    [Address on File]     6/20/2023 Bitcoin                              0.0438993 Customer Transfer
 Confidential Customer Coin Transferee #9063    [Address on File]     6/21/2023 USDC Avalanche)                      33.914516 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9064    [Address on File]     6/20/2023 Bitcoin                             0.00593517 Customer Transfer
 Confidential Customer Coin Transferee #9065    [Address on File]     5/16/2023 Bitcoin                             0.00123409 Customer Transfer
 Confidential Customer Coin Transferee #9065    [Address on File]     5/31/2023 Bitcoin                                 0.00114 Customer Transfer
 Confidential Customer Coin Transferee #9065    [Address on File]     5/16/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #9065    [Address on File]     5/16/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #9065    [Address on File]     5/16/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #9065    [Address on File]     5/31/2023 Bitcoin                             0.00094514 Customer Transfer
 Confidential Customer Coin Transferee #9066    [Address on File]     6/20/2023 Bitcoin                             0.00014361 Customer Transfer
 Confidential Customer Coin Transferee #9067    [Address on File]     5/19/2023 Bitcoin                             0.00092659 Customer Transfer
 Confidential Customer Coin Transferee #9068    [Address on File]     5/26/2023 Bitcoin                             0.01130462 Customer Transfer
 Confidential Customer Coin Transferee #9069    [Address on File]     5/18/2023 Bitcoin                             0.00436486 Customer Transfer
 Confidential Customer Coin Transferee #9070    [Address on File]     5/23/2023 Bitcoin                             0.00074651 Customer Transfer
 Confidential Customer Coin Transferee #9071    [Address on File]     5/26/2023 Bitcoin                             0.01058374 Customer Transfer
 Confidential Customer Coin Transferee #9072    [Address on File]     5/24/2023 Bitcoin                              0.0132174 Customer Transfer
 Confidential Customer Coin Transferee #9073    [Address on File]     5/26/2023 Bitcoin                             0.00744012 Customer Transfer
 Confidential Customer Coin Transferee #9073    [Address on File]     5/19/2023 Bitcoin                             0.00681838 Customer Transfer
 Confidential Customer Coin Transferee #9074    [Address on File]     6/19/2023 Bitcoin                             0.00632036 Customer Transfer
 Confidential Customer Coin Transferee #9075    [Address on File]     5/24/2023 Bitcoin                             0.02553443 Customer Transfer
 Confidential Customer Coin Transferee #9076    [Address on File]     5/18/2023 Bitcoin                             0.02993652 Customer Transfer
 Confidential Customer Coin Transferee #9077    [Address on File]     5/20/2023 Bitcoin                             0.00277609 Customer Transfer
 Confidential Customer Coin Transferee #9077    [Address on File]     5/20/2023 Bitcoin                              0.0024059 Customer Transfer
 Confidential Customer Coin Transferee #9077    [Address on File]     5/27/2023 Bitcoin                             0.00167655 Customer Transfer
 Confidential Customer Coin Transferee #9077    [Address on File]     5/25/2023 Bitcoin                             0.00150872 Customer Transfer
 Confidential Customer Coin Transferee #9077    [Address on File]     5/31/2023 Bitcoin                             0.00146641 Customer Transfer
 Confidential Customer Coin Transferee #9077    [Address on File]     5/16/2023 Bitcoin                             0.00110127 Customer Transfer
 Confidential Customer Coin Transferee #9077    [Address on File]     5/17/2023 Bitcoin                             0.00091854 Customer Transfer
 Confidential Customer Coin Transferee #9077    [Address on File]     5/28/2023 Bitcoin                             0.00090164 Customer Transfer
 Confidential Customer Coin Transferee #9077    [Address on File]     5/29/2023 Bitcoin                              0.0007193 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/19/2023 Bitcoin                             0.00648179 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/17/2023 Bitcoin                              0.0063622 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/17/2023 Bitcoin                             0.00615066 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/19/2023 Bitcoin                              0.0054801 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/18/2023 Bitcoin                             0.00526521 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/19/2023 Bitcoin                             0.00370664 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/19/2023 Bitcoin                             0.00285229 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/19/2023 Bitcoin                             0.00277824 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/19/2023 Bitcoin                             0.00240863 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/18/2023 Bitcoin                             0.00146203 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/19/2023 Bitcoin                             0.00140999 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/18/2023 Bitcoin                             0.00131532 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/17/2023 Bitcoin                             0.00130968 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/19/2023 Bitcoin                             0.00125873 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/17/2023 Bitcoin                             0.00111338 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/17/2023 Bitcoin                             0.00104402 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/18/2023 Bitcoin                             0.00089238 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/17/2023 Bitcoin                             0.00070825 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/19/2023 Bitcoin                             0.00037001 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/19/2023 Bitcoin                             0.00033298 Customer Transfer
 Confidential Customer Coin Transferee #9078    [Address on File]     5/18/2023 Bitcoin                             0.00023659 Customer Transfer
 Confidential Customer Coin Transferee #9079    [Address on File]     6/20/2023 Bitcoin                             0.00022057 Customer Transfer
 Confidential Customer Coin Transferee #9080    [Address on File]     6/19/2023 Bitcoin                             0.00034468 Customer Transfer
 Confidential Customer Coin Transferee #9081    [Address on File]     6/19/2023 Bitcoin                             0.00393245 Customer Transfer
 Confidential Customer Coin Transferee #9082    [Address on File]     6/20/2023 Bitcoin                             0.00018139 Customer Transfer
 Confidential Customer Coin Transferee #9083    [Address on File]     5/22/2023 Bitcoin                             0.00222556 Customer Transfer
 Confidential Customer Coin Transferee #9084    [Address on File]     5/20/2023 Bitcoin                             0.01062433 Customer Transfer
 Confidential Customer Coin Transferee #9085    [Address on File]     5/25/2023 Bitcoin                             0.01076622 Customer Transfer
 Confidential Customer Coin Transferee #9086    [Address on File]     5/21/2023 Bitcoin                             0.01047104 Customer Transfer
 Confidential Customer Coin Transferee #9087    [Address on File]     5/25/2023 Bitcoin                             0.13749133 Customer Transfer
 Confidential Customer Coin Transferee #9088    [Address on File]     5/17/2023 Bitcoin                             0.00212291 Customer Transfer
 Confidential Customer Coin Transferee #9089    [Address on File]     5/31/2023 Bitcoin                             0.00999019 Customer Transfer
 Confidential Customer Coin Transferee #9090    [Address on File]     6/19/2023 Bitcoin                              0.0001173 Customer Transfer
 Confidential Customer Coin Transferee #9091    [Address on File]     5/18/2023 Bitcoin                             0.00090191 Customer Transfer
 Confidential Customer Coin Transferee #9092    [Address on File]     6/20/2023 Bitcoin                             0.00056326 Customer Transfer
 Confidential Customer Coin Transferee #9093    [Address on File]      6/4/2023 Bitcoin                             0.00184014 Customer Transfer
 Confidential Customer Coin Transferee #9094    [Address on File]     5/17/2023 Bitcoin                             0.01382183 Customer Transfer
 Confidential Customer Coin Transferee #9095    [Address on File]     6/19/2023 Bitcoin                              0.0038808 Customer Transfer
 Confidential Customer Coin Transferee #9096    [Address on File]     5/30/2023 Bitcoin                             0.00559615 Customer Transfer
 Confidential Customer Coin Transferee #9097    [Address on File]     5/16/2023 Bitcoin                             0.02581411 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/25/2023 Bitcoin                             0.00405467 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/29/2023 Bitcoin                             0.00246739 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/24/2023 Bitcoin                             0.00173137 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/27/2023 Bitcoin                             0.00148689 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/26/2023 Bitcoin                              0.0013385 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/28/2023 Bitcoin                             0.00116312 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/27/2023 Bitcoin                             0.00111621 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/25/2023 Bitcoin                             0.00108944 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/16/2023 Bitcoin                             0.00101079 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/30/2023 Bitcoin                             0.00096478 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/18/2023 Bitcoin                             0.00094662 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/22/2023 Bitcoin                             0.00088773 Customer Transfer
 Confidential Customer Coin Transferee #9098    [Address on File]     5/20/2023 Bitcoin                              0.0006618 Customer Transfer
 Confidential Customer Coin Transferee #9099    [Address on File]     6/20/2023 Bitcoin                             0.00290128 Customer Transfer
 Confidential Customer Coin Transferee #9100    [Address on File]     5/23/2023 USDC Avalanche)                      33.000199 Customer Transfer
 Confidential Customer Coin Transferee #9101    [Address on File]     5/16/2023 Bitcoin                             0.02521983 Customer Transfer
 Confidential Customer Coin Transferee #9102    [Address on File]     5/21/2023 Bitcoin                                    0.14 Customer Transfer
 Confidential Customer Coin Transferee #9102    [Address on File]     5/22/2023 Bitcoin                                   0.072 Customer Transfer
 Confidential Customer Coin Transferee #9102    [Address on File]     5/23/2023 Bitcoin                             0.06801364 Customer Transfer
 Confidential Customer Coin Transferee #9102    [Address on File]     5/24/2023 Bitcoin                             0.01855673 Customer Transfer
 Confidential Customer Coin Transferee #9102    [Address on File]     5/23/2023 Bitcoin                             0.01817129 Customer Transfer
 Confidential Customer Coin Transferee #9102    [Address on File]     5/21/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #9103    [Address on File]     6/18/2023 Bitcoin                             0.00097795 Customer Transfer
 Confidential Customer Coin Transferee #9104    [Address on File]     6/19/2023 Bitcoin                             0.01206733 Customer Transfer
 Confidential Customer Coin Transferee #9105    [Address on File]     5/18/2023 Bitcoin                             0.06763573 Customer Transfer
 Confidential Customer Coin Transferee #9105    [Address on File]     5/18/2023 Bitcoin                             0.01018013 Customer Transfer
 Confidential Customer Coin Transferee #9106    [Address on File]     5/24/2023 Bitcoin                             0.00745033 Customer Transfer
 Confidential Customer Coin Transferee #9106    [Address on File]     5/18/2023 Bitcoin                             0.00727053 Customer Transfer
 Confidential Customer Coin Transferee #9107    [Address on File]     5/28/2023 Bitcoin                                     0.3 Customer Transfer

 Confidential Customer Coin Transferee #9108    [Address on File]     6/19/2023 Bitcoin                                0.03474676 Customer Transfer
 Confidential Customer Coin Transferee #9109    [Address on File]     5/29/2023 Bitcoin                                0.05476297 Customer Transfer
 Confidential Customer Coin Transferee #9109    [Address on File]     6/17/2023 Bitcoin                                0.01910401 Customer Transfer
 Confidential Customer Coin Transferee #9110    [Address on File]      6/8/2023 Bitcoin                                0.01589699 Customer Transfer
 Confidential Customer Coin Transferee #9111    [Address on File]     5/19/2023 Bitcoin                                0.02516022 Customer Transfer
 Confidential Customer Coin Transferee #9112    [Address on File]     6/19/2023 Bitcoin                                0.02044768 Customer Transfer
 Confidential Customer Coin Transferee #9113    [Address on File]     6/20/2023 Bitcoin                                0.00004808 Customer Transfer
 Confidential Customer Coin Transferee #9114    [Address on File]      6/8/2023 Bitcoin                                0.00187746 Customer Transfer
 Confidential Customer Coin Transferee #9115    [Address on File]     5/21/2023 Bitcoin                                0.00277203 Customer Transfer
 Confidential Customer Coin Transferee #9115    [Address on File]     5/20/2023 Bitcoin                                0.00185168 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9116    [Address on File]     5/25/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #9117    [Address on File]     6/20/2023 Bitcoin                              0.0002492 Customer Transfer
 Confidential Customer Coin Transferee #9118    [Address on File]     5/25/2023 Bitcoin                             0.23356818 Customer Transfer
 Confidential Customer Coin Transferee #9119    [Address on File]     5/30/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #9119    [Address on File]     5/31/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #9119    [Address on File]     5/31/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #9119    [Address on File]     5/31/2023 Bitcoin                                     0.06 Customer Transfer

 Confidential Customer Coin Transferee #9120    [Address on File]     6/19/2023 Bitcoin                                0.00023476 Customer Transfer
 Confidential Customer Coin Transferee #9121    [Address on File]      6/2/2023 Tether USD                                  1335.7 Customer Transfer

 Confidential Customer Coin Transferee #9122    [Address on File]     5/16/2023 Bitcoin                                0.05890027 Customer Transfer
 Confidential Customer Coin Transferee #9123    [Address on File]     5/20/2023 Bitcoin                                0.00069768 Customer Transfer
 Confidential Customer Coin Transferee #9124    [Address on File]     5/23/2023 Bitcoin                                0.00091347 Customer Transfer
 Confidential Customer Coin Transferee #9125    [Address on File]     5/21/2023 Bitcoin                                0.00318388 Customer Transfer
 Confidential Customer Coin Transferee #9126    [Address on File]     5/18/2023 Bitcoin                                   0.016342 Customer Transfer
 Confidential Customer Coin Transferee #9127    [Address on File]     6/20/2023 Bitcoin                                0.00150756 Customer Transfer
 Confidential Customer Coin Transferee #9128    [Address on File]     5/21/2023 Bitcoin                                 0.0711169 Customer Transfer
 Confidential Customer Coin Transferee #9129    [Address on File]     5/26/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #9130    [Address on File]     5/17/2023 Bitcoin                                   0.010893 Customer Transfer
 Confidential Customer Coin Transferee #9131    [Address on File]     5/17/2023 Bitcoin                                0.00330519 Customer Transfer
 Confidential Customer Coin Transferee #9131    [Address on File]     5/26/2023 Bitcoin                                0.00263166 Customer Transfer
 Confidential Customer Coin Transferee #9132    [Address on File]     5/27/2023 Bitcoin                                0.00368412 Customer Transfer
 Confidential Customer Coin Transferee #9132    [Address on File]     5/27/2023 Bitcoin                                0.00037175 Customer Transfer
 Confidential Customer Coin Transferee #9133    [Address on File]     5/17/2023 Bitcoin                                0.04424639 Customer Transfer
 Confidential Customer Coin Transferee #9134    [Address on File]     5/25/2023 Bitcoin                                    0.00016 Customer Transfer
 Confidential Customer Coin Transferee #9134    [Address on File]     5/25/2023 Bitcoin                                0.00010399 Customer Transfer
 Confidential Customer Coin Transferee #9135    [Address on File]     5/20/2023 Bitcoin                                0.08163676 Customer Transfer
 Confidential Customer Coin Transferee #9136    [Address on File]     5/31/2023 Bitcoin                                0.02261792 Customer Transfer
 Confidential Customer Coin Transferee #9136    [Address on File]     5/18/2023 Bitcoin                                   0.003682 Customer Transfer
 Confidential Customer Coin Transferee #9136    [Address on File]     5/18/2023 Bitcoin                                 0.0007284 Customer Transfer
 Confidential Customer Coin Transferee #9137    [Address on File]     5/24/2023 Bitcoin                                0.00920519 Customer Transfer
 Confidential Customer Coin Transferee #9137    [Address on File]     5/30/2023 Bitcoin                                0.00657214 Customer Transfer
 Confidential Customer Coin Transferee #9137    [Address on File]     5/18/2023 Bitcoin                                0.00555618 Customer Transfer
 Confidential Customer Coin Transferee #9138    [Address on File]     5/31/2023 Bitcoin                                0.04768138 Customer Transfer
 Confidential Customer Coin Transferee #9139    [Address on File]     5/19/2023 Bitcoin                                 0.0022679 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9139    [Address on File]     5/30/2023 Bitcoin                              0.0003156 Customer Transfer
 Confidential Customer Coin Transferee #9140    [Address on File]     6/20/2023 Bitcoin                             0.00033316 Customer Transfer
 Confidential Customer Coin Transferee #9141    [Address on File]     5/31/2023 Bitcoin                             0.01837455 Customer Transfer
 Confidential Customer Coin Transferee #9142    [Address on File]     5/27/2023 Bitcoin                             0.02409494 Customer Transfer
 Confidential Customer Coin Transferee #9143    [Address on File]     5/28/2023 Bitcoin                             0.00500407 Customer Transfer
 Confidential Customer Coin Transferee #9143    [Address on File]     5/19/2023 Bitcoin                             0.00278342 Customer Transfer
 Confidential Customer Coin Transferee #9144    [Address on File]     5/18/2023 Bitcoin                             0.00290868 Customer Transfer
 Confidential Customer Coin Transferee #9145    [Address on File]     5/29/2023 Bitcoin                             0.05070334 Customer Transfer
 Confidential Customer Coin Transferee #9146    [Address on File]     5/25/2023 Bitcoin                             0.01179533 Customer Transfer
 Confidential Customer Coin Transferee #9146    [Address on File]     5/18/2023 Bitcoin                             0.00807046 Customer Transfer
 Confidential Customer Coin Transferee #9147    [Address on File]     5/24/2023 Bitcoin                             0.00188709 Customer Transfer
 Confidential Customer Coin Transferee #9148    [Address on File]     5/30/2023 Bitcoin                             0.00740276 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/16/2023 Bitcoin                             0.00073636 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/21/2023 Bitcoin                             0.00073219 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/19/2023 Bitcoin                              0.0007208 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/30/2023 Bitcoin                             0.00070761 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/21/2023 Bitcoin                             0.00069685 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/26/2023 Bitcoin                              0.0005651 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/27/2023 Bitcoin                              0.0005593 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/21/2023 Bitcoin                             0.00055814 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/22/2023 Bitcoin                             0.00055808 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/19/2023 Bitcoin                             0.00055612 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/17/2023 Bitcoin                             0.00055459 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/21/2023 Bitcoin                             0.00055453 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/16/2023 Bitcoin                             0.00055149 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/17/2023 Bitcoin                             0.00055056 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/23/2023 Bitcoin                             0.00054802 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/23/2023 Bitcoin                             0.00054722 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/23/2023 Bitcoin                             0.00054595 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/26/2023 Bitcoin                             0.00052712 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/16/2023 Bitcoin                             0.00047917 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/16/2023 Bitcoin                             0.00043988 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/23/2023 Bitcoin                              0.0004398 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/27/2023 Bitcoin                             0.00037245 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/27/2023 Bitcoin                             0.00037204 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/27/2023 Bitcoin                             0.00037169 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/27/2023 Bitcoin                             0.00037168 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/17/2023 Bitcoin                              0.0003686 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/17/2023 Bitcoin                             0.00036686 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/23/2023 Bitcoin                             0.00036557 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/17/2023 Bitcoin                             0.00032717 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/23/2023 Bitcoin                             0.00031929 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/25/2023 Bitcoin                             0.00030491 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/21/2023 Bitcoin                             0.00028034 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/19/2023 Bitcoin                             0.00025128 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/20/2023 Bitcoin                             0.00023669 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/31/2023 Bitcoin                             0.00019786 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/18/2023 Bitcoin                             0.00019196 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/22/2023 Bitcoin                             0.00019032 Customer Transfer
 Confidential Customer Coin Transferee #9149    [Address on File]     5/24/2023 Bitcoin                             0.00018931 Customer Transfer
 Confidential Customer Coin Transferee #9150    [Address on File]     5/19/2023 Bitcoin                             0.00184595 Customer Transfer
 Confidential Customer Coin Transferee #9151    [Address on File]     5/20/2023 Bitcoin                             0.00922328 Customer Transfer
 Confidential Customer Coin Transferee #9151    [Address on File]     5/26/2023 Bitcoin                             0.00557818 Customer Transfer
 Confidential Customer Coin Transferee #9152    [Address on File]     5/19/2023 Bitcoin                                    0.223 Customer Transfer
 Confidential Customer Coin Transferee #9152    [Address on File]     5/20/2023 Bitcoin                                    0.221 Customer Transfer
 Confidential Customer Coin Transferee #9152    [Address on File]     5/28/2023 Bitcoin                                     0.22 Customer Transfer
 Confidential Customer Coin Transferee #9152    [Address on File]     5/29/2023 Bitcoin                                    0.215 Customer Transfer
 Confidential Customer Coin Transferee #9152    [Address on File]     5/23/2023 Bitcoin                                    0.109 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/22/2023 Bitcoin                             0.01479023 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/26/2023 Bitcoin                             0.01283046 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/25/2023 Bitcoin                             0.01229515 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/27/2023 Bitcoin                             0.01004631 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/20/2023 Bitcoin                              0.0099906 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/23/2023 Bitcoin                             0.00879155 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/16/2023 Bitcoin                             0.00874966 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/29/2023 Bitcoin                             0.00859062 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/17/2023 Bitcoin                             0.00847108 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/28/2023 Bitcoin                              0.0077323 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/30/2023 Bitcoin                                0.007343 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/18/2023 Bitcoin                             0.00730084 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/19/2023 Bitcoin                             0.00555486 Customer Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/17/2023 Bitcoin                             0.00515113 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9153    [Address on File]     5/21/2023 Bitcoin                              0.0044143 Customer Transfer
 Confidential Customer Coin Transferee #9154    [Address on File]     5/29/2023 Bitcoin                             0.01412153 Customer Transfer
 Confidential Customer Coin Transferee #9155    [Address on File]     5/25/2023 Bitcoin                             0.00188917 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/31/2023 Bitcoin                             0.00078775 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/19/2023 Bitcoin                             0.00072242 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/28/2023 Bitcoin                             0.00070251 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/17/2023 Bitcoin                             0.00060068 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/28/2023 Bitcoin                             0.00055575 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/29/2023 Bitcoin                             0.00045813 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/31/2023 Bitcoin                             0.00039434 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/19/2023 Bitcoin                             0.00036457 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/17/2023 Bitcoin                             0.00036184 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/19/2023 Bitcoin                             0.00027422 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/19/2023 Bitcoin                              0.0002702 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/31/2023 Bitcoin                              0.0001548 Customer Transfer
 Confidential Customer Coin Transferee #9156    [Address on File]     5/28/2023 Bitcoin                             0.00009301 Customer Transfer
 Confidential Customer Coin Transferee #9157    [Address on File]     5/28/2023 Bitcoin                             0.03899791 Customer Transfer
 Confidential Customer Coin Transferee #9158    [Address on File]     5/20/2023 Bitcoin                             0.00146967 Customer Transfer
 Confidential Customer Coin Transferee #9158    [Address on File]     5/20/2023 Bitcoin                             0.00146765 Customer Transfer
 Confidential Customer Coin Transferee #9158    [Address on File]     5/19/2023 Bitcoin                              0.0008538 Customer Transfer
 Confidential Customer Coin Transferee #9158    [Address on File]     5/16/2023 Bitcoin                             0.00080606 Customer Transfer
 Confidential Customer Coin Transferee #9158    [Address on File]     5/21/2023 Bitcoin                             0.00066069 Customer Transfer
 Confidential Customer Coin Transferee #9159    [Address on File]     5/29/2023 Bitcoin                             0.07148987 Customer Transfer
 Confidential Customer Coin Transferee #9160    [Address on File]     5/31/2023 Bitcoin                             0.10862281 Customer Transfer
 Confidential Customer Coin Transferee #9161    [Address on File]     6/19/2023 Bitcoin                             0.00274312 Customer Transfer
 Confidential Customer Coin Transferee #9162    [Address on File]     5/19/2023 Bitcoin                             0.00090392 Customer Transfer
 Confidential Customer Coin Transferee #9163    [Address on File]     5/26/2023 Bitcoin                             0.04901479 Customer Transfer
 Confidential Customer Coin Transferee #9164    [Address on File]     5/19/2023 Bitcoin                             0.00451891 Customer Transfer
 Confidential Customer Coin Transferee #9165    [Address on File]     6/20/2023 Bitcoin                             0.00359785 Customer Transfer
 Confidential Customer Coin Transferee #9166    [Address on File]     6/19/2023 Bitcoin                             0.00120929 Customer Transfer
 Confidential Customer Coin Transferee #9167    [Address on File]     5/19/2023 Bitcoin                             0.02549932 Customer Transfer
 Confidential Customer Coin Transferee #9168    [Address on File]     5/28/2023 Bitcoin                             0.01009384 Customer Transfer
 Confidential Customer Coin Transferee #9169    [Address on File]     5/26/2023 Bitcoin                             0.00092465 Customer Transfer
 Confidential Customer Coin Transferee #9169    [Address on File]     5/19/2023 Bitcoin                             0.00090194 Customer Transfer
 Confidential Customer Coin Transferee #9170    [Address on File]     5/24/2023 Bitcoin                             0.01109112 Customer Transfer
 Confidential Customer Coin Transferee #9171    [Address on File]     5/26/2023 Bitcoin                             0.05029789 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9172    [Address on File]     6/19/2023 Bitcoin                             0.01361147 Customer Transfer
 Confidential Customer Coin Transferee #9172    [Address on File]      6/6/2023 Bitcoin                             0.00743727 Customer Transfer
 Confidential Customer Coin Transferee #9173    [Address on File]      6/2/2023 Bitcoin                             0.01801779 Customer Transfer

 Confidential Customer Coin Transferee #9174    [Address on File]     5/31/2023 Bitcoin                                0.01134179 Customer Transfer
 Confidential Customer Coin Transferee #9175    [Address on File]     5/22/2023 Bitcoin                                0.00108734 Customer Transfer
 Confidential Customer Coin Transferee #9176    [Address on File]     6/19/2023 Bitcoin                                 0.0025457 Customer Transfer
 Confidential Customer Coin Transferee #9177    [Address on File]     5/26/2023 Bitcoin                                0.00109318 Customer Transfer
 Confidential Customer Coin Transferee #9177    [Address on File]     5/19/2023 Bitcoin                                0.00103002 Customer Transfer
 Confidential Customer Coin Transferee #9178    [Address on File]     5/20/2023 Bitcoin                                0.00036067 Customer Transfer
 Confidential Customer Coin Transferee #9179    [Address on File]      6/2/2023 USDC Avalanche)                        197.241379 Customer Transfer
 Confidential Customer Coin Transferee #9180    [Address on File]     6/20/2023 Bitcoin                                0.00060303 Customer Transfer
 Confidential Customer Coin Transferee #9181    [Address on File]     5/24/2023 Bitcoin                                0.00744959 Customer Transfer
 Confidential Customer Coin Transferee #9181    [Address on File]     5/16/2023 Bitcoin                                0.00596579 Customer Transfer
 Confidential Customer Coin Transferee #9182    [Address on File]     6/19/2023 Bitcoin                                0.01197045 Customer Transfer
 Confidential Customer Coin Transferee #9183    [Address on File]     6/19/2023 Bitcoin                                0.00005829 Customer Transfer
 Confidential Customer Coin Transferee #9184    [Address on File]     6/19/2023 Bitcoin                                0.00005829 Customer Transfer
 Confidential Customer Coin Transferee #9185    [Address on File]     6/21/2023 Bitcoin                                0.01037113 Customer Transfer
 Confidential Customer Coin Transferee #9186    [Address on File]     6/20/2023 Bitcoin                                0.00005826 Customer Transfer
 Confidential Customer Coin Transferee #9187    [Address on File]     6/16/2023 Bitcoin                                   0.010054 Customer Transfer
 Confidential Customer Coin Transferee #9188    [Address on File]     6/19/2023 Bitcoin                                0.02297064 Customer Transfer
 Confidential Customer Coin Transferee #9189    [Address on File]     6/20/2023 Bitcoin                                0.00021327 Customer Transfer
 Confidential Customer Coin Transferee #9190    [Address on File]     6/20/2023 Bitcoin                                0.00046787 Customer Transfer
 Confidential Customer Coin Transferee #9191    [Address on File]     6/13/2023 Bitcoin                                0.00216277 Customer Transfer
 Confidential Customer Coin Transferee #9192    [Address on File]      6/7/2023 Bitcoin                                 0.0056204 Customer Transfer
 Confidential Customer Coin Transferee #9193    [Address on File]     5/26/2023 Bitcoin                                0.09833001 Customer Transfer
 Confidential Customer Coin Transferee #9194    [Address on File]     6/20/2023 Bitcoin                                0.01105782 Customer Transfer
 Confidential Customer Coin Transferee #9195    [Address on File]     5/18/2023 Bitcoin                                 0.0107161 Customer Transfer
 Confidential Customer Coin Transferee #9196    [Address on File]     5/22/2023 Bitcoin                                0.00110794 Customer Transfer
 Confidential Customer Coin Transferee #9197    [Address on File]     6/20/2023 Bitcoin                                0.02569285 Customer Transfer
 Confidential Customer Coin Transferee #9198    [Address on File]     6/20/2023 Bitcoin                                0.00057802 Customer Transfer
 Confidential Customer Coin Transferee #9199    [Address on File]     6/19/2023 Bitcoin                                 0.0005715 Customer Transfer
 Confidential Customer Coin Transferee #9200    [Address on File]     6/20/2023 Bitcoin                                0.00007011 Customer Transfer
 Confidential Customer Coin Transferee #9201    [Address on File]     5/20/2023 Bitcoin                                0.00244637 Customer Transfer
 Confidential Customer Coin Transferee #9201    [Address on File]     5/23/2023 Bitcoin                                0.00110889 Customer Transfer
 Confidential Customer Coin Transferee #9202    [Address on File]     6/19/2023 Bitcoin                                0.00033793 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9203    [Address on File]     5/22/2023 Bitcoin                             0.00388242 Customer Transfer
 Confidential Customer Coin Transferee #9204    [Address on File]     5/16/2023 Bitcoin                             0.06831058 Customer Transfer
 Confidential Customer Coin Transferee #9205    [Address on File]     5/24/2023 Bitcoin                             0.31075314 Customer Transfer
 Confidential Customer Coin Transferee #9205    [Address on File]     5/18/2023 Bitcoin                             0.07206759 Customer Transfer
 Confidential Customer Coin Transferee #9205    [Address on File]     5/18/2023 Bitcoin                             0.06738903 Customer Transfer
 Confidential Customer Coin Transferee #9206    [Address on File]     5/25/2023 Bitcoin                             0.00182214 Customer Transfer
 Confidential Customer Coin Transferee #9206    [Address on File]     5/18/2023 Bitcoin                             0.00171793 Customer Transfer
 Confidential Customer Coin Transferee #9207    [Address on File]     6/19/2023 Bitcoin                             0.00039452 Customer Transfer
 Confidential Customer Coin Transferee #9208    [Address on File]     6/20/2023 Bitcoin                             0.00041089 Customer Transfer
 Confidential Customer Coin Transferee #9209    [Address on File]     5/26/2023 Bitcoin                              0.0036484 Customer Transfer
 Confidential Customer Coin Transferee #9209    [Address on File]     5/19/2023 Bitcoin                             0.00362086 Customer Transfer
 Confidential Customer Coin Transferee #9210    [Address on File]     6/20/2023 Bitcoin                             0.00048507 Customer Transfer
 Confidential Customer Coin Transferee #9211    [Address on File]     6/20/2023 Bitcoin                             0.00501656 Customer Transfer
 Confidential Customer Coin Transferee #9212    [Address on File]     6/19/2023 Bitcoin                             0.00218648 Customer Transfer
 Confidential Customer Coin Transferee #9213    [Address on File]     6/20/2023 Bitcoin                             0.01173273 Customer Transfer
 Confidential Customer Coin Transferee #9214    [Address on File]     6/20/2023 Bitcoin                             0.00595547 Customer Transfer
 Confidential Customer Coin Transferee #9215    [Address on File]     6/12/2023 Bitcoin                             0.01202137 Customer Transfer

 Confidential Customer Coin Transferee #9216    [Address on File]     5/26/2023 Litecoin                               7.27374108 Customer Transfer

 Confidential Customer Coin Transferee #9216    [Address on File]      6/1/2023 Ether                                  0.07739989 Customer Transfer

 Confidential Customer Coin Transferee #9216    [Address on File]     5/29/2023 Ether                                       0.025 Customer Transfer

 Confidential Customer Coin Transferee #9216    [Address on File]     5/26/2023 Bitcoin                                0.02390299 Customer Transfer
 Confidential Customer Coin Transferee #9217    [Address on File]     5/22/2023 Bitcoin                                0.00057023 Customer Transfer
 Confidential Customer Coin Transferee #9218    [Address on File]      6/6/2023 Bitcoin                                0.00107751 Customer Transfer
 Confidential Customer Coin Transferee #9219    [Address on File]     5/26/2023 Bitcoin                                0.00040833 Customer Transfer
 Confidential Customer Coin Transferee #9220    [Address on File]     5/16/2023 Bitcoin                                0.01418749 Customer Transfer
 Confidential Customer Coin Transferee #9221    [Address on File]     5/17/2023 Bitcoin                                0.04899814 Customer Transfer
 Confidential Customer Coin Transferee #9221    [Address on File]     5/20/2023 Bitcoin                                0.01222256 Customer Transfer

 Confidential Customer Coin Transferee #9222    [Address on File]     6/19/2023 Bitcoin                                0.00391926 Customer Transfer
 Confidential Customer Coin Transferee #9223    [Address on File]     5/16/2023 Bitcoin                                0.00008304 Customer Transfer
 Confidential Customer Coin Transferee #9223    [Address on File]     5/17/2023 Bitcoin                                0.00003633 Customer Transfer
 Confidential Customer Coin Transferee #9224    [Address on File]     5/19/2023 Bitcoin                                0.14349858 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/18/2023 Bitcoin                             0.00072583 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/21/2023 Bitcoin                             0.00043179 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/20/2023 Bitcoin                             0.00037015 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/20/2023 Bitcoin                             0.00037009 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/21/2023 Bitcoin                             0.00036728 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/21/2023 Bitcoin                             0.00036579 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/21/2023 Bitcoin                             0.00036419 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/22/2023 Bitcoin                             0.00035114 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/22/2023 Bitcoin                             0.00034732 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/22/2023 Bitcoin                             0.00034732 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/21/2023 Bitcoin                             0.00025654 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/17/2023 Bitcoin                              0.0002364 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/17/2023 Bitcoin                             0.00020184 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/17/2023 Bitcoin                             0.00018552 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/28/2023 Bitcoin                              0.0001854 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/28/2023 Bitcoin                             0.00018412 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/16/2023 Bitcoin                             0.00018392 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/28/2023 Bitcoin                             0.00018185 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/20/2023 Bitcoin                              0.0001811 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/27/2023 Bitcoin                              0.0001767 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/29/2023 Bitcoin                             0.00017288 Customer Transfer
 Confidential Customer Coin Transferee #9225    [Address on File]     5/17/2023 Bitcoin                             0.00015734 Customer Transfer
 Confidential Customer Coin Transferee #9226    [Address on File]     5/26/2023 Bitcoin                             0.00527608 Customer Transfer
 Confidential Customer Coin Transferee #9226    [Address on File]     5/17/2023 Bitcoin                             0.00381067 Customer Transfer
 Confidential Customer Coin Transferee #9226    [Address on File]     5/18/2023 Bitcoin                             0.00186939 Customer Transfer
 Confidential Customer Coin Transferee #9226    [Address on File]     5/24/2023 Bitcoin                              0.0018588 Customer Transfer
 Confidential Customer Coin Transferee #9227    [Address on File]     5/21/2023 Bitcoin                             0.00005126 Customer Transfer
 Confidential Customer Coin Transferee #9228    [Address on File]     5/21/2023 Bitcoin                             0.00373684 Customer Transfer
 Confidential Customer Coin Transferee #9229    [Address on File]     6/19/2023 Bitcoin                             0.00011439 Customer Transfer
 Confidential Customer Coin Transferee #9230    [Address on File]     5/26/2023 Bitcoin                             0.08057579 Customer Transfer

 Confidential Customer Coin Transferee #9231    [Address on File]     6/19/2023 Bitcoin                                0.00376111 Customer Transfer

 Confidential Customer Coin Transferee #9232    [Address on File]     6/19/2023 Bitcoin                                   0.020969 Customer Transfer
 Confidential Customer Coin Transferee #9233    [Address on File]     5/17/2023 Bitcoin                                0.06492169 Customer Transfer
 Confidential Customer Coin Transferee #9233    [Address on File]     5/17/2023 Bitcoin                                       0.001 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9234    [Address on File]     6/20/2023 Bitcoin                             0.00064801 Customer Transfer
 Confidential Customer Coin Transferee #9235    [Address on File]     5/17/2023 Bitcoin                             0.00257116 Customer Transfer
 Confidential Customer Coin Transferee #9235    [Address on File]     5/21/2023 Bitcoin                              0.0018403 Customer Transfer
 Confidential Customer Coin Transferee #9236    [Address on File]     5/21/2023 Bitcoin                             0.00169214 Customer Transfer
 Confidential Customer Coin Transferee #9237    [Address on File]     5/25/2023 Bitcoin                                  0.2285 Customer Transfer
 Confidential Customer Coin Transferee #9237    [Address on File]     5/24/2023 Bitcoin                                  0.2203 Customer Transfer
 Confidential Customer Coin Transferee #9237    [Address on File]     5/26/2023 Bitcoin                                   0.113 Customer Transfer
 Confidential Customer Coin Transferee #9238    [Address on File]     5/27/2023 Bitcoin                             0.02201867 Customer Transfer
 Confidential Customer Coin Transferee #9239    [Address on File]     5/16/2023 Bitcoin                             0.00597686 Customer Transfer
 Confidential Customer Coin Transferee #9239    [Address on File]     5/17/2023 Bitcoin                             0.00160048 Customer Transfer
 Confidential Customer Coin Transferee #9240    [Address on File]     6/20/2023 Bitcoin                             0.00037406 Customer Transfer
 Confidential Customer Coin Transferee #9241    [Address on File]     6/12/2023 Bitcoin                             0.01516691 Customer Transfer
 Confidential Customer Coin Transferee #9241    [Address on File]      6/5/2023 Bitcoin                              0.0146917 Customer Transfer
 Confidential Customer Coin Transferee #9241    [Address on File]     5/22/2023 Bitcoin                             0.01289893 Customer Transfer
 Confidential Customer Coin Transferee #9242    [Address on File]     5/17/2023 Bitcoin                             0.00744501 Customer Transfer
 Confidential Customer Coin Transferee #9242    [Address on File]      6/6/2023 Bitcoin                             0.00370996 Customer Transfer
 Confidential Customer Coin Transferee #9243    [Address on File]     6/16/2023 USD Coin                            238.971394 Customer Transfer
 Confidential Customer Coin Transferee #9244    [Address on File]     6/20/2023 Bitcoin                             0.00296354 Customer Transfer
 Confidential Customer Coin Transferee #9245    [Address on File]     5/31/2023 Bitcoin                             0.00355256 Customer Transfer
 Confidential Customer Coin Transferee #9246    [Address on File]     6/20/2023 Bitcoin                             0.00278593 Customer Transfer
 Confidential Customer Coin Transferee #9247    [Address on File]     6/20/2023 Bitcoin                             0.00175387 Customer Transfer
 Confidential Customer Coin Transferee #9248    [Address on File]     6/19/2023 Bitcoin                             0.01849302 Customer Transfer
 Confidential Customer Coin Transferee #9249    [Address on File]     5/23/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #9249    [Address on File]     5/23/2023 Bitcoin                             0.00007453 Customer Transfer
 Confidential Customer Coin Transferee #9250    [Address on File]     5/24/2023 Bitcoin                              0.0019691 Customer Transfer
 Confidential Customer Coin Transferee #9251    [Address on File]     5/16/2023 Bitcoin                             0.00735163 Customer Transfer
 Confidential Customer Coin Transferee #9251    [Address on File]     5/20/2023 Bitcoin                              0.0003799 Customer Transfer
 Confidential Customer Coin Transferee #9251    [Address on File]     5/20/2023 Bitcoin                             0.00003678 Customer Transfer
 Confidential Customer Coin Transferee #9252    [Address on File]     5/18/2023 Bitcoin                             0.07474625 Customer Transfer
 Confidential Customer Coin Transferee #9253    [Address on File]     5/21/2023 Bitcoin                             0.00183597 Customer Transfer
 Confidential Customer Coin Transferee #9254    [Address on File]     6/20/2023 Bitcoin                             0.00699073 Customer Transfer
 Confidential Customer Coin Transferee #9254    [Address on File]     5/22/2023 Bitcoin                              0.0027799 Customer Transfer
 Confidential Customer Coin Transferee #9255    [Address on File]     5/21/2023 Bitcoin                             0.03696938 Customer Transfer
 Confidential Customer Coin Transferee #9256    [Address on File]     6/20/2023 Bitcoin                              0.0168076 Customer Transfer
 Confidential Customer Coin Transferee #9257    [Address on File]     5/24/2023 Bitcoin                             0.09294404 Customer Transfer
 Confidential Customer Coin Transferee #9257    [Address on File]     5/21/2023 Bitcoin                             0.03700105 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9258    [Address on File]     5/18/2023 Bitcoin                             0.07568171 Customer Transfer
 Confidential Customer Coin Transferee #9259    [Address on File]     5/16/2023 Bitcoin                             0.15366257 Customer Transfer
 Confidential Customer Coin Transferee #9260    [Address on File]     6/19/2023 Bitcoin                             0.00289714 Customer Transfer
 Confidential Customer Coin Transferee #9261    [Address on File]     6/15/2023 Bitcoin                             0.03856267 Customer Transfer
 Confidential Customer Coin Transferee #9261    [Address on File]      6/7/2023 Bitcoin                             0.03848485 Customer Transfer
 Confidential Customer Coin Transferee #9261    [Address on File]      6/6/2023 Bitcoin                             0.03698475 Customer Transfer
 Confidential Customer Coin Transferee #9261    [Address on File]     5/29/2023 Bitcoin                                0.001106 Customer Transfer
 Confidential Customer Coin Transferee #9262    [Address on File]     6/19/2023 Bitcoin                             0.00457247 Customer Transfer
 Confidential Customer Coin Transferee #9263    [Address on File]     5/19/2023 Bitcoin                             0.01084305 Customer Transfer
 Confidential Customer Coin Transferee #9264    [Address on File]     6/20/2023 Bitcoin                             0.01069681 Customer Transfer
 Confidential Customer Coin Transferee #9265    [Address on File]     5/18/2023 Bitcoin                             0.05543606 Customer Transfer
 Confidential Customer Coin Transferee #9266    [Address on File]     5/27/2023 Bitcoin                             0.03561109 Customer Transfer
 Confidential Customer Coin Transferee #9267    [Address on File]     5/26/2023 Bitcoin                             0.16658478 Customer Transfer
 Confidential Customer Coin Transferee #9268    [Address on File]     6/19/2023 Bitcoin                             0.00036454 Customer Transfer
 Confidential Customer Coin Transferee #9269    [Address on File]     6/19/2023 Bitcoin                             0.00043422 Customer Transfer
 Confidential Customer Coin Transferee #9270    [Address on File]     6/19/2023 Bitcoin                             0.00400301 Customer Transfer
 Confidential Customer Coin Transferee #9271    [Address on File]     5/20/2023 Bitcoin                                 0.00012 Customer Transfer
 Confidential Customer Coin Transferee #9271    [Address on File]     5/20/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #9271    [Address on File]     5/20/2023 Bitcoin                                 0.00007 Customer Transfer
 Confidential Customer Coin Transferee #9271    [Address on File]     5/20/2023 Bitcoin                                 0.00006 Customer Transfer
 Confidential Customer Coin Transferee #9271    [Address on File]     5/20/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #9271    [Address on File]     5/21/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #9271    [Address on File]     5/20/2023 Bitcoin                                 0.00004 Customer Transfer
 Confidential Customer Coin Transferee #9272    [Address on File]     5/27/2023 Bitcoin                             0.00225629 Customer Transfer
 Confidential Customer Coin Transferee #9273    [Address on File]     6/20/2023 Bitcoin                             0.00090543 Customer Transfer
 Confidential Customer Coin Transferee #9274    [Address on File]     5/21/2023 Bitcoin                             0.00919142 Customer Transfer
 Confidential Customer Coin Transferee #9275    [Address on File]     5/24/2023 Bitcoin                             0.07255917 Customer Transfer
 Confidential Customer Coin Transferee #9275    [Address on File]     5/16/2023 Bitcoin                              0.0654839 Customer Transfer
 Confidential Customer Coin Transferee #9276    [Address on File]     6/19/2023 Bitcoin                             0.00481868 Customer Transfer
 Confidential Customer Coin Transferee #9277    [Address on File]     6/19/2023 Bitcoin                             0.00115733 Customer Transfer
 Confidential Customer Coin Transferee #9278    [Address on File]     5/19/2023 Bitcoin                             0.00185609 Customer Transfer
 Confidential Customer Coin Transferee #9278    [Address on File]     5/16/2023 Bitcoin                              0.0011041 Customer Transfer
 Confidential Customer Coin Transferee #9278    [Address on File]     5/23/2023 Bitcoin                             0.00109818 Customer Transfer
 Confidential Customer Coin Transferee #9279    [Address on File]     6/20/2023 Bitcoin                             0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #9280    [Address on File]     5/24/2023 Bitcoin                             0.00390608 Customer Transfer
 Confidential Customer Coin Transferee #9280    [Address on File]     5/16/2023 Bitcoin                             0.00385285 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9280    [Address on File]     5/17/2023 Bitcoin                             0.00379974 Customer Transfer
 Confidential Customer Coin Transferee #9280    [Address on File]     5/30/2023 Bitcoin                             0.00375621 Customer Transfer
 Confidential Customer Coin Transferee #9280    [Address on File]     5/30/2023 Bitcoin                              0.0026918 Customer Transfer
 Confidential Customer Coin Transferee #9280    [Address on File]     5/23/2023 Bitcoin                             0.00182404 Customer Transfer
 Confidential Customer Coin Transferee #9280    [Address on File]     5/23/2023 Bitcoin                             0.00090976 Customer Transfer

 Confidential Customer Coin Transferee #9281    [Address on File]     6/19/2023 Bitcoin                                0.00415433 Customer Transfer
 Confidential Customer Coin Transferee #9282    [Address on File]     5/24/2023 Bitcoin                                0.00054497 Customer Transfer
 Confidential Customer Coin Transferee #9282    [Address on File]     5/26/2023 Bitcoin                                0.00022585 Customer Transfer
 Confidential Customer Coin Transferee #9282    [Address on File]     5/17/2023 Bitcoin                                0.00021606 Customer Transfer
 Confidential Customer Coin Transferee #9282    [Address on File]     5/16/2023 Bitcoin                                 0.0001877 Customer Transfer
 Confidential Customer Coin Transferee #9283    [Address on File]     5/21/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #9283    [Address on File]     5/19/2023 Bitcoin                                0.07401106 Customer Transfer
 Confidential Customer Coin Transferee #9284    [Address on File]     6/21/2023 Ether                                  0.32016778 Customer Transfer
 Confidential Customer Coin Transferee #9285    [Address on File]     6/17/2023 Tether USD                               102.2497 Customer Transfer
 Confidential Customer Coin Transferee #9286    [Address on File]     6/20/2023 Bitcoin                                0.00843795 Customer Transfer
 Confidential Customer Coin Transferee #9287    [Address on File]     5/23/2023 Bitcoin                                0.00090754 Customer Transfer
 Confidential Customer Coin Transferee #9288    [Address on File]     6/12/2023 Bitcoin                                0.00382248 Customer Transfer
 Confidential Customer Coin Transferee #9288    [Address on File]     6/20/2023 Bitcoin                                0.00378985 Customer Transfer
 Confidential Customer Coin Transferee #9289    [Address on File]      6/7/2023 Bitcoin                                0.00036734 Customer Transfer
 Confidential Customer Coin Transferee #9290    [Address on File]     6/19/2023 Bitcoin                                0.00449571 Customer Transfer
 Confidential Customer Coin Transferee #9291    [Address on File]     6/20/2023 Bitcoin                                0.00058418 Customer Transfer
 Confidential Customer Coin Transferee #9292    [Address on File]     5/17/2023 Bitcoin                                      0.035 Customer Transfer
 Confidential Customer Coin Transferee #9293    [Address on File]     6/19/2023 Bitcoin                                0.20093714 Customer Transfer
 Confidential Customer Coin Transferee #9294    [Address on File]     5/18/2023 Bitcoin                                 0.0108537 Customer Transfer
 Confidential Customer Coin Transferee #9295    [Address on File]      6/1/2023 Bitcoin                                0.02761431 Customer Transfer
 Confidential Customer Coin Transferee #9296    [Address on File]     5/31/2023 Bitcoin                                0.00073505 Customer Transfer
 Confidential Customer Coin Transferee #9297    [Address on File]      6/8/2023 Tether USD                              2165.1773 Customer Transfer
 Confidential Customer Coin Transferee #9298    [Address on File]     5/20/2023 Bitcoin                                0.00267825 Customer Transfer
 Confidential Customer Coin Transferee #9298    [Address on File]     5/19/2023 Bitcoin                                0.00222266 Customer Transfer
 Confidential Customer Coin Transferee #9298    [Address on File]     5/23/2023 Bitcoin                                0.00179425 Customer Transfer
 Confidential Customer Coin Transferee #9298    [Address on File]     5/18/2023 Bitcoin                                0.00167185 Customer Transfer
 Confidential Customer Coin Transferee #9298    [Address on File]     5/27/2023 Bitcoin                                0.00108058 Customer Transfer
 Confidential Customer Coin Transferee #9298    [Address on File]     5/17/2023 Bitcoin                                0.00049195 Customer Transfer
 Confidential Customer Coin Transferee #9298    [Address on File]     5/18/2023 Bitcoin                                0.00031363 Customer Transfer
 Confidential Customer Coin Transferee #9299    [Address on File]     5/16/2023 Bitcoin                                0.00146897 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9300    [Address on File]     6/19/2023 Bitcoin                             0.00288278 Customer Transfer
 Confidential Customer Coin Transferee #9301    [Address on File]     5/22/2023 Bitcoin                                    0.09 Customer Transfer
 Confidential Customer Coin Transferee #9302    [Address on File]     6/19/2023 Bitcoin                             0.00296011 Customer Transfer
 Confidential Customer Coin Transferee #9303    [Address on File]     5/23/2023 Bitcoin                             0.00172509 Customer Transfer
 Confidential Customer Coin Transferee #9303    [Address on File]     5/26/2023 Bitcoin                             0.00150318 Customer Transfer
 Confidential Customer Coin Transferee #9303    [Address on File]     5/26/2023 Bitcoin                             0.00086485 Customer Transfer
 Confidential Customer Coin Transferee #9303    [Address on File]     5/19/2023 Bitcoin                             0.00073895 Customer Transfer
 Confidential Customer Coin Transferee #9304    [Address on File]     5/20/2023 Bitcoin                             0.00221658 Customer Transfer
 Confidential Customer Coin Transferee #9304    [Address on File]     5/25/2023 Bitcoin                             0.00150758 Customer Transfer
 Confidential Customer Coin Transferee #9304    [Address on File]     5/24/2023 Bitcoin                             0.00147574 Customer Transfer
 Confidential Customer Coin Transferee #9304    [Address on File]     5/19/2023 Bitcoin                             0.00147247 Customer Transfer
 Confidential Customer Coin Transferee #9305    [Address on File]     5/28/2023 Bitcoin                             0.01293811 Customer Transfer
 Confidential Customer Coin Transferee #9305    [Address on File]     5/21/2023 Bitcoin                             0.01056513 Customer Transfer
 Confidential Customer Coin Transferee #9306    [Address on File]     6/20/2023 Bitcoin                             0.00278741 Customer Transfer
 Confidential Customer Coin Transferee #9307    [Address on File]     6/19/2023 Bitcoin                              0.0025321 Customer Transfer
 Confidential Customer Coin Transferee #9308    [Address on File]     6/13/2023 Bitcoin                             0.00184539 Customer Transfer
 Confidential Customer Coin Transferee #9309    [Address on File]     5/22/2023 Bitcoin                             0.00524982 Customer Transfer
 Confidential Customer Coin Transferee #9310    [Address on File]     6/19/2023 Bitcoin                              0.0017344 Customer Transfer
 Confidential Customer Coin Transferee #9311    [Address on File]     5/23/2023 USDC Avalanche)                     313.875837 Customer Transfer
 Confidential Customer Coin Transferee #9311    [Address on File]     5/26/2023 USDC Avalanche)                     301.779288 Customer Transfer
 Confidential Customer Coin Transferee #9311    [Address on File]     5/20/2023 USD Coin                            211.065573 Customer Transfer
 Confidential Customer Coin Transferee #9311    [Address on File]     5/18/2023 USDC Avalanche)                     207.225664 Customer Transfer
 Confidential Customer Coin Transferee #9312    [Address on File]     6/16/2023 USDC Solana)                              2000 Customer Transfer
 Confidential Customer Coin Transferee #9313    [Address on File]     5/30/2023 Bitcoin                             0.03785958 Customer Transfer
 Confidential Customer Coin Transferee #9314    [Address on File]     6/20/2023 Bitcoin                             0.00005821 Customer Transfer
 Confidential Customer Coin Transferee #9315    [Address on File]     5/22/2023 Bitcoin                             0.04541914 Customer Transfer

 Confidential Customer Coin Transferee #9316    [Address on File]     5/16/2023 Bitcoin                                0.02703886 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/30/2023 Bitcoin                                0.00143235 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/18/2023 Bitcoin                                0.00090752 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/27/2023 Bitcoin                                0.00074757 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/22/2023 Bitcoin                                0.00074622 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/22/2023 Bitcoin                                0.00074621 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/22/2023 Bitcoin                                0.00074619 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/27/2023 Bitcoin                                0.00074397 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/25/2023 Bitcoin                                0.00074324 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/27/2023 Bitcoin                             0.00074323 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/19/2023 Bitcoin                             0.00074083 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/20/2023 Bitcoin                             0.00074075 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/17/2023 Bitcoin                             0.00074028 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/17/2023 Bitcoin                             0.00074028 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/17/2023 Bitcoin                             0.00074018 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/20/2023 Bitcoin                             0.00074017 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/19/2023 Bitcoin                             0.00073953 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/21/2023 Bitcoin                             0.00073899 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/23/2023 Bitcoin                             0.00073866 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/31/2023 Bitcoin                             0.00073267 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/16/2023 Bitcoin                             0.00073248 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/31/2023 Bitcoin                             0.00073139 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/23/2023 Bitcoin                             0.00072677 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/23/2023 Bitcoin                             0.00072521 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/30/2023 Bitcoin                             0.00071831 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/31/2023 Bitcoin                             0.00071786 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/30/2023 Bitcoin                             0.00071523 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/21/2023 Bitcoin                             0.00070572 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/27/2023 Bitcoin                                  0.0007 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/30/2023 Bitcoin                             0.00068086 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/17/2023 Bitcoin                             0.00064797 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/27/2023 Bitcoin                                  0.0006 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/24/2023 Bitcoin                             0.00055774 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/24/2023 Bitcoin                             0.00055723 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/19/2023 Bitcoin                             0.00055554 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/20/2023 Bitcoin                             0.00055501 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/22/2023 Bitcoin                             0.00055496 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/16/2023 Bitcoin                             0.00055001 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/16/2023 Bitcoin                             0.00055001 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/16/2023 Bitcoin                             0.00054968 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/21/2023 Bitcoin                             0.00054825 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/18/2023 Bitcoin                             0.00054567 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/23/2023 Bitcoin                             0.00053875 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/19/2023 Bitcoin                             0.00051794 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/16/2023 Bitcoin                             0.00047717 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/28/2023 Bitcoin                             0.00042158 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/18/2023 Bitcoin                                 0.00038 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/24/2023 Bitcoin                             0.00037255 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/24/2023 Bitcoin                             0.00037244 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/24/2023 Bitcoin                             0.00037228 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/24/2023 Bitcoin                             0.00037218 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/24/2023 Bitcoin                             0.00037215 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/22/2023 Bitcoin                             0.00036996 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/16/2023 Bitcoin                             0.00036827 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/16/2023 Bitcoin                             0.00036551 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/28/2023 Bitcoin                              0.0003655 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/16/2023 Bitcoin                             0.00036544 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/18/2023 Bitcoin                             0.00036321 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/18/2023 Bitcoin                             0.00035392 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/24/2023 Bitcoin                              0.0003342 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/16/2023 Bitcoin                             0.00029343 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/16/2023 Bitcoin                             0.00025538 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/24/2023 Bitcoin                             0.00018695 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/24/2023 Bitcoin                             0.00018598 Customer Transfer
 Confidential Customer Coin Transferee #9317    [Address on File]     5/18/2023 Bitcoin                             0.00014499 Customer Transfer
 Confidential Customer Coin Transferee #9318    [Address on File]     5/29/2023 Bitcoin                             0.00352592 Customer Transfer
 Confidential Customer Coin Transferee #9319    [Address on File]     5/25/2023 Bitcoin                             0.02429883 Customer Transfer
 Confidential Customer Coin Transferee #9319    [Address on File]     5/18/2023 Bitcoin                             0.02360522 Customer Transfer
 Confidential Customer Coin Transferee #9319    [Address on File]     5/18/2023 Bitcoin                             0.01800539 Customer Transfer
 Confidential Customer Coin Transferee #9319    [Address on File]     5/27/2023 Bitcoin                             0.00085461 Customer Transfer
 Confidential Customer Coin Transferee #9319    [Address on File]     5/18/2023 Bitcoin                             0.00003741 Customer Transfer
 Confidential Customer Coin Transferee #9320    [Address on File]     6/19/2023 Bitcoin                             0.00019364 Customer Transfer

 Confidential Customer Coin Transferee #9321    [Address on File]     5/22/2023 Bitcoin                                0.01044474 Customer Transfer

 Confidential Customer Coin Transferee #9321    [Address on File]     5/25/2023 Bitcoin                                0.01000263 Customer Transfer
 Confidential Customer Coin Transferee #9322    [Address on File]      6/5/2023 Tether USD                                   4898 Customer Transfer
 Confidential Customer Coin Transferee #9323    [Address on File]     5/17/2023 Bitcoin                                0.00215645 Customer Transfer
 Confidential Customer Coin Transferee #9323    [Address on File]     5/28/2023 Bitcoin                                 0.0015212 Customer Transfer
 Confidential Customer Coin Transferee #9323    [Address on File]     5/26/2023 Bitcoin                                 0.0011821 Customer Transfer
 Confidential Customer Coin Transferee #9323    [Address on File]     5/25/2023 Bitcoin                                0.00110955 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9323    [Address on File]     5/26/2023 Bitcoin                             0.00110173 Customer Transfer
 Confidential Customer Coin Transferee #9323    [Address on File]     5/27/2023 Bitcoin                             0.00092304 Customer Transfer
 Confidential Customer Coin Transferee #9323    [Address on File]     5/30/2023 Bitcoin                             0.00088188 Customer Transfer
 Confidential Customer Coin Transferee #9323    [Address on File]     5/29/2023 Bitcoin                             0.00087333 Customer Transfer
 Confidential Customer Coin Transferee #9323    [Address on File]     5/25/2023 Bitcoin                             0.00074138 Customer Transfer
 Confidential Customer Coin Transferee #9323    [Address on File]     5/16/2023 Bitcoin                             0.00071144 Customer Transfer
 Confidential Customer Coin Transferee #9323    [Address on File]     5/24/2023 Bitcoin                             0.00060379 Customer Transfer
 Confidential Customer Coin Transferee #9324    [Address on File]     5/16/2023 Bitcoin                             0.00600985 Customer Transfer
 Confidential Customer Coin Transferee #9325    [Address on File]     5/17/2023 Bitcoin                             0.00175581 Customer Transfer
 Confidential Customer Coin Transferee #9325    [Address on File]     5/28/2023 Bitcoin                             0.00084098 Customer Transfer
 Confidential Customer Coin Transferee #9325    [Address on File]     5/28/2023 Bitcoin                             0.00048992 Customer Transfer
 Confidential Customer Coin Transferee #9325    [Address on File]     5/16/2023 Bitcoin                             0.00043505 Customer Transfer
 Confidential Customer Coin Transferee #9326    [Address on File]     5/19/2023 Bitcoin                             0.03897443 Customer Transfer
 Confidential Customer Coin Transferee #9327    [Address on File]     6/20/2023 Bitcoin                             0.00035154 Customer Transfer
 Confidential Customer Coin Transferee #9328    [Address on File]     5/29/2023 Bitcoin                             0.01025589 Customer Transfer
 Confidential Customer Coin Transferee #9329    [Address on File]     6/20/2023 Bitcoin                             0.00444444 Customer Transfer
 Confidential Customer Coin Transferee #9330    [Address on File]     6/19/2023 Bitcoin                             0.00288397 Customer Transfer
 Confidential Customer Coin Transferee #9331    [Address on File]     5/29/2023 Bitcoin                             0.00405254 Customer Transfer
 Confidential Customer Coin Transferee #9332    [Address on File]     6/19/2023 Bitcoin                             0.00012011 Customer Transfer
 Confidential Customer Coin Transferee #9333    [Address on File]     6/10/2023 Bitcoin                              0.0055422 Customer Transfer
 Confidential Customer Coin Transferee #9333    [Address on File]     5/27/2023 Bitcoin                             0.00536902 Customer Transfer
 Confidential Customer Coin Transferee #9333    [Address on File]      6/3/2023 Bitcoin                             0.00536188 Customer Transfer
 Confidential Customer Coin Transferee #9333    [Address on File]     5/20/2023 Bitcoin                             0.00532223 Customer Transfer
 Confidential Customer Coin Transferee #9333    [Address on File]     6/18/2023 Bitcoin                             0.00529517 Customer Transfer
 Confidential Customer Coin Transferee #9334    [Address on File]     5/26/2023 Bitcoin                             0.02444367 Customer Transfer
 Confidential Customer Coin Transferee #9334    [Address on File]     5/19/2023 Bitcoin                             0.02417748 Customer Transfer
 Confidential Customer Coin Transferee #9335    [Address on File]     5/26/2023 Bitcoin                             0.00073569 Customer Transfer
 Confidential Customer Coin Transferee #9335    [Address on File]     5/19/2023 Bitcoin                             0.00072269 Customer Transfer
 Confidential Customer Coin Transferee #9336    [Address on File]     5/17/2023 Bitcoin                              0.0055897 Customer Transfer
 Confidential Customer Coin Transferee #9337    [Address on File]     5/28/2023 Bitcoin                             0.08549002 Customer Transfer
 Confidential Customer Coin Transferee #9338    [Address on File]     5/17/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #9339    [Address on File]     6/19/2023 Bitcoin                             0.00008673 Customer Transfer
 Confidential Customer Coin Transferee #9340    [Address on File]     5/16/2023 Bitcoin                                0.001315 Customer Transfer
 Confidential Customer Coin Transferee #9341    [Address on File]     5/28/2023 Bitcoin                              0.0543348 Customer Transfer

 Confidential Customer Coin Transferee #9342    [Address on File]     6/15/2023 Ether                                  0.13517421 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #9342    [Address on File]     5/31/2023 Ether                                  0.11884927 Customer Transfer

 Confidential Customer Coin Transferee #9342    [Address on File]     6/15/2023 Bitcoin                                0.01659248 Customer Transfer

 Confidential Customer Coin Transferee #9342    [Address on File]     5/31/2023 Bitcoin                                0.01525027 Customer Transfer
 Confidential Customer Coin Transferee #9343    [Address on File]     5/18/2023 Bitcoin                                 0.0061992 Customer Transfer
 Confidential Customer Coin Transferee #9344    [Address on File]     5/19/2023 Bitcoin                                0.01063916 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/30/2023 Bitcoin                                0.00197085 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/29/2023 Bitcoin                                0.00179854 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/28/2023 Bitcoin                                0.00162188 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/27/2023 Bitcoin                                0.00096428 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/28/2023 Bitcoin                                0.00091199 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/26/2023 Bitcoin                                0.00081687 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/23/2023 Bitcoin                                0.00081462 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/21/2023 Bitcoin                                0.00080731 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/31/2023 Bitcoin                                0.00075127 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/21/2023 Bitcoin                                0.00073945 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/24/2023 Bitcoin                                0.00073071 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/17/2023 Bitcoin                                0.00061811 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/19/2023 Bitcoin                                0.00048061 Customer Transfer
 Confidential Customer Coin Transferee #9345    [Address on File]     5/27/2023 Bitcoin                                0.00037291 Customer Transfer
 Confidential Customer Coin Transferee #9346    [Address on File]     5/16/2023 Tether USD                                   15600 Customer Transfer
 Confidential Customer Coin Transferee #9347    [Address on File]     6/19/2023 Bitcoin                                0.00186966 Customer Transfer
 Confidential Customer Coin Transferee #9348    [Address on File]     6/19/2023 Bitcoin                                0.00171704 Customer Transfer
 Confidential Customer Coin Transferee #9349    [Address on File]     5/17/2023 Bitcoin                                0.01276613 Customer Transfer
 Confidential Customer Coin Transferee #9349    [Address on File]     5/16/2023 Bitcoin                                0.00620449 Customer Transfer
 Confidential Customer Coin Transferee #9349    [Address on File]     5/18/2023 Bitcoin                                0.00373628 Customer Transfer
 Confidential Customer Coin Transferee #9349    [Address on File]     5/16/2023 Bitcoin                                0.00367037 Customer Transfer
 Confidential Customer Coin Transferee #9350    [Address on File]     6/19/2023 Bitcoin                                0.00042686 Customer Transfer
 Confidential Customer Coin Transferee #9351    [Address on File]     6/20/2023 Bitcoin                                 0.0003573 Customer Transfer
 Confidential Customer Coin Transferee #9352    [Address on File]     5/28/2023 Bitcoin                                0.16666907 Customer Transfer
 Confidential Customer Coin Transferee #9353    [Address on File]      6/1/2023 Bitcoin                                   0.014576 Customer Transfer
 Confidential Customer Coin Transferee #9354    [Address on File]     5/23/2023 Bitcoin                                0.10200453 Customer Transfer
 Confidential Customer Coin Transferee #9354    [Address on File]     5/16/2023 Bitcoin                                0.00435637 Customer Transfer
 Confidential Customer Coin Transferee #9355    [Address on File]     5/21/2023 Bitcoin                                0.00067929 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9356    [Address on File]     6/12/2023 Bitcoin                             0.03862931 Customer Transfer
 Confidential Customer Coin Transferee #9357    [Address on File]     5/30/2023 Bitcoin                              0.0018765 Customer Transfer
 Confidential Customer Coin Transferee #9358    [Address on File]     5/23/2023 Bitcoin                             0.00090185 Customer Transfer
 Confidential Customer Coin Transferee #9358    [Address on File]     5/16/2023 Bitcoin                             0.00089303 Customer Transfer
 Confidential Customer Coin Transferee #9359    [Address on File]     6/19/2023 Bitcoin                             0.00297812 Customer Transfer
 Confidential Customer Coin Transferee #9360    [Address on File]     5/20/2023 Bitcoin                             0.05338603 Customer Transfer
 Confidential Customer Coin Transferee #9360    [Address on File]     5/27/2023 Bitcoin                             0.05005724 Customer Transfer
 Confidential Customer Coin Transferee #9361    [Address on File]     5/18/2023 Bitcoin                              0.0145541 Customer Transfer
 Confidential Customer Coin Transferee #9362    [Address on File]     5/26/2023 Bitcoin                             0.00372995 Customer Transfer
 Confidential Customer Coin Transferee #9363    [Address on File]     6/20/2023 Bitcoin                             0.00041071 Customer Transfer

 Confidential Customer Coin Transferee #9364    [Address on File]     5/30/2023 Bitcoin                                 0.0325328 Customer Transfer
 Confidential Customer Coin Transferee #9365    [Address on File]     5/26/2023 USDC Avalanche)                        147.316878 Customer Transfer
 Confidential Customer Coin Transferee #9366    [Address on File]     6/19/2023 Bitcoin                                0.01832217 Customer Transfer
 Confidential Customer Coin Transferee #9367    [Address on File]     6/19/2023 Bitcoin                                0.00220952 Customer Transfer
 Confidential Customer Coin Transferee #9368    [Address on File]     5/22/2023 Bitcoin                                0.01472355 Customer Transfer
 Confidential Customer Coin Transferee #9368    [Address on File]     5/28/2023 Bitcoin                                0.01115733 Customer Transfer
 Confidential Customer Coin Transferee #9369    [Address on File]     5/23/2023 Bitcoin                                0.00909612 Customer Transfer
 Confidential Customer Coin Transferee #9370    [Address on File]     5/27/2023 Bitcoin                                0.00037066 Customer Transfer
 Confidential Customer Coin Transferee #9370    [Address on File]     5/21/2023 Bitcoin                                0.00036931 Customer Transfer
 Confidential Customer Coin Transferee #9370    [Address on File]     5/18/2023 Bitcoin                                   0.000297 Customer Transfer
 Confidential Customer Coin Transferee #9370    [Address on File]     5/27/2023 Bitcoin                                0.00029647 Customer Transfer
 Confidential Customer Coin Transferee #9371    [Address on File]     5/25/2023 Bitcoin                                0.00773535 Customer Transfer
 Confidential Customer Coin Transferee #9371    [Address on File]     5/23/2023 Bitcoin                                0.00731441 Customer Transfer
 Confidential Customer Coin Transferee #9371    [Address on File]     5/28/2023 Bitcoin                                0.00720667 Customer Transfer
 Confidential Customer Coin Transferee #9372    [Address on File]     5/17/2023 Bitcoin                                0.04304025 Customer Transfer
 Confidential Customer Coin Transferee #9373    [Address on File]     5/29/2023 Bitcoin                                0.08829512 Customer Transfer
 Confidential Customer Coin Transferee #9374    [Address on File]     5/25/2023 Bitcoin                                0.00284219 Customer Transfer
 Confidential Customer Coin Transferee #9375    [Address on File]     5/17/2023 Bitcoin                                0.02220936 Customer Transfer
 Confidential Customer Coin Transferee #9375    [Address on File]     5/23/2023 Bitcoin                                0.00165059 Customer Transfer
 Confidential Customer Coin Transferee #9375    [Address on File]     5/22/2023 Bitcoin                                      0.0002 Customer Transfer
 Confidential Customer Coin Transferee #9375    [Address on File]     5/27/2023 Bitcoin                                   0.000038 Customer Transfer

 Confidential Customer Coin Transferee #9376    [Address on File]     5/24/2023 Bitcoin                                0.02597074 Customer Transfer

 Confidential Customer Coin Transferee #9376    [Address on File]     5/29/2023 Bitcoin                                0.01316207 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9377    [Address on File]     6/20/2023 Bitcoin                             0.00266044 Customer Transfer
 Confidential Customer Coin Transferee #9378    [Address on File]     5/31/2023 Bitcoin                             0.07709016 Customer Transfer
 Confidential Customer Coin Transferee #9378    [Address on File]     5/21/2023 Bitcoin                             0.07365006 Customer Transfer
 Confidential Customer Coin Transferee #9379    [Address on File]     6/19/2023 Bitcoin                             0.00302934 Customer Transfer
 Confidential Customer Coin Transferee #9379    [Address on File]     5/16/2023 Bitcoin                             0.00294555 Customer Transfer
 Confidential Customer Coin Transferee #9380    [Address on File]     5/25/2023 Bitcoin                             0.17915526 Customer Transfer
 Confidential Customer Coin Transferee #9380    [Address on File]     5/18/2023 Bitcoin                             0.00346097 Customer Transfer
 Confidential Customer Coin Transferee #9381    [Address on File]     6/19/2023 Bitcoin                             0.00598543 Customer Transfer
 Confidential Customer Coin Transferee #9382    [Address on File]     6/17/2023 Bitcoin                             0.00436932 Customer Transfer
 Confidential Customer Coin Transferee #9383    [Address on File]     5/21/2023 Bitcoin                             0.03430271 Customer Transfer
 Confidential Customer Coin Transferee #9384    [Address on File]     6/20/2023 Bitcoin                              0.0006063 Customer Transfer

 Confidential Customer Coin Transferee #9385    [Address on File]     6/19/2023 Bitcoin                                0.01045507 Customer Transfer

 Confidential Customer Coin Transferee #9386    [Address on File]     6/19/2023 Bitcoin                                0.00290361 Customer Transfer

 Confidential Customer Coin Transferee #9386    [Address on File]     5/30/2023 Bitcoin                                0.00108146 Customer Transfer
 Confidential Customer Coin Transferee #9387    [Address on File]     6/20/2023 Bitcoin                                0.00058915 Customer Transfer
 Confidential Customer Coin Transferee #9388    [Address on File]     5/25/2023 Bitcoin                                0.00093826 Customer Transfer
 Confidential Customer Coin Transferee #9389    [Address on File]     5/21/2023 Bitcoin                                0.00077779 Customer Transfer
 Confidential Customer Coin Transferee #9389    [Address on File]     5/20/2023 Bitcoin                                0.00075935 Customer Transfer
 Confidential Customer Coin Transferee #9389    [Address on File]     5/21/2023 Bitcoin                                0.00046847 Customer Transfer
 Confidential Customer Coin Transferee #9389    [Address on File]     5/28/2023 Bitcoin                                0.00039354 Customer Transfer
 Confidential Customer Coin Transferee #9389    [Address on File]     5/21/2023 Bitcoin                                0.00038529 Customer Transfer
 Confidential Customer Coin Transferee #9389    [Address on File]     5/28/2023 Bitcoin                                0.00035536 Customer Transfer
 Confidential Customer Coin Transferee #9389    [Address on File]     5/28/2023 Bitcoin                                0.00034757 Customer Transfer
 Confidential Customer Coin Transferee #9389    [Address on File]     5/28/2023 Bitcoin                                0.00027478 Customer Transfer
 Confidential Customer Coin Transferee #9389    [Address on File]     5/19/2023 Bitcoin                                0.00024021 Customer Transfer
 Confidential Customer Coin Transferee #9390    [Address on File]     6/20/2023 Bitcoin                                0.00053435 Customer Transfer
 Confidential Customer Coin Transferee #9391    [Address on File]     5/24/2023 Bitcoin                                0.00378463 Customer Transfer
 Confidential Customer Coin Transferee #9391    [Address on File]     5/26/2023 Bitcoin                                0.00376057 Customer Transfer
 Confidential Customer Coin Transferee #9391    [Address on File]     5/22/2023 Bitcoin                                0.00372013 Customer Transfer
 Confidential Customer Coin Transferee #9391    [Address on File]     5/24/2023 Bitcoin                                0.00370082 Customer Transfer
 Confidential Customer Coin Transferee #9391    [Address on File]     5/31/2023 Bitcoin                                0.00361307 Customer Transfer
 Confidential Customer Coin Transferee #9392    [Address on File]     5/28/2023 Bitcoin                                0.10385728 Customer Transfer
 Confidential Customer Coin Transferee #9393    [Address on File]     6/20/2023 Bitcoin                                0.00484152 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9394    [Address on File]     6/19/2023 Bitcoin                             0.00011915 Customer Transfer
 Confidential Customer Coin Transferee #9395    [Address on File]     6/19/2023 Bitcoin                              0.0009084 Customer Transfer

 Confidential Customer Coin Transferee #9396    [Address on File]     5/25/2023 Bitcoin                                0.01094145 Customer Transfer

 Confidential Customer Coin Transferee #9396    [Address on File]     5/19/2023 Bitcoin                                0.01086918 Customer Transfer
 Confidential Customer Coin Transferee #9397    [Address on File]     6/20/2023 Bitcoin                                0.00361878 Customer Transfer
 Confidential Customer Coin Transferee #9398    [Address on File]     6/11/2023 Bitcoin                                0.05648597 Customer Transfer
 Confidential Customer Coin Transferee #9399    [Address on File]      6/7/2023 Bitcoin                                0.00278596 Customer Transfer
 Confidential Customer Coin Transferee #9400    [Address on File]     6/19/2023 Bitcoin                                0.00040092 Customer Transfer
 Confidential Customer Coin Transferee #9401    [Address on File]     5/29/2023 Bitcoin                                0.00110987 Customer Transfer
 Confidential Customer Coin Transferee #9402    [Address on File]     6/19/2023 Bitcoin                                0.00011626 Customer Transfer
 Confidential Customer Coin Transferee #9403    [Address on File]     5/25/2023 Bitcoin                                0.00371651 Customer Transfer
 Confidential Customer Coin Transferee #9403    [Address on File]     5/18/2023 Bitcoin                                0.00344793 Customer Transfer
 Confidential Customer Coin Transferee #9404    [Address on File]     6/20/2023 Bitcoin                                0.00004606 Customer Transfer
 Confidential Customer Coin Transferee #9405    [Address on File]     5/29/2023 Bitcoin                                0.00923089 Customer Transfer
 Confidential Customer Coin Transferee #9405    [Address on File]     5/23/2023 Bitcoin                                0.00374318 Customer Transfer
 Confidential Customer Coin Transferee #9406    [Address on File]      6/5/2023 Bitcoin                                 0.0256629 Customer Transfer
 Confidential Customer Coin Transferee #9406    [Address on File]     6/12/2023 Bitcoin                                0.01869312 Customer Transfer
 Confidential Customer Coin Transferee #9407    [Address on File]     6/20/2023 Bitcoin                                0.00005538 Customer Transfer
 Confidential Customer Coin Transferee #9408    [Address on File]     5/17/2023 Bitcoin                                0.01043728 Customer Transfer
 Confidential Customer Coin Transferee #9409    [Address on File]     6/20/2023 Bitcoin                                0.00044894 Customer Transfer
 Confidential Customer Coin Transferee #9410    [Address on File]     6/19/2023 Bitcoin                                0.00004187 Customer Transfer
 Confidential Customer Coin Transferee #9411    [Address on File]     5/17/2023 Bitcoin                                 0.0075431 Customer Transfer
 Confidential Customer Coin Transferee #9412    [Address on File]     6/19/2023 Bitcoin                                0.00057964 Customer Transfer
 Confidential Customer Coin Transferee #9413    [Address on File]     5/21/2023 Bitcoin                                0.01824497 Customer Transfer
 Confidential Customer Coin Transferee #9413    [Address on File]     5/16/2023 Bitcoin                                0.01798952 Customer Transfer
 Confidential Customer Coin Transferee #9414    [Address on File]     5/18/2023 Bitcoin                                0.00453961 Customer Transfer
 Confidential Customer Coin Transferee #9414    [Address on File]     5/16/2023 Bitcoin                                0.00366837 Customer Transfer
 Confidential Customer Coin Transferee #9414    [Address on File]     5/16/2023 Bitcoin                                0.00366712 Customer Transfer
 Confidential Customer Coin Transferee #9414    [Address on File]     5/18/2023 Bitcoin                                0.00365111 Customer Transfer
 Confidential Customer Coin Transferee #9415    [Address on File]     5/28/2023 Bitcoin                                      0.215 Customer Transfer
 Confidential Customer Coin Transferee #9415    [Address on File]     5/16/2023 Bitcoin                                       0.11 Customer Transfer
 Confidential Customer Coin Transferee #9416    [Address on File]     5/24/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #9417    [Address on File]     5/19/2023 Bitcoin                                          1 Customer Transfer
 Confidential Customer Coin Transferee #9418    [Address on File]     6/19/2023 Bitcoin                                0.00036079 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9419    [Address on File]     6/20/2023 Bitcoin                             0.00152839 Customer Transfer
 Confidential Customer Coin Transferee #9420    [Address on File]     6/20/2023 Bitcoin                             0.00059542 Customer Transfer
 Confidential Customer Coin Transferee #9421    [Address on File]     5/22/2023 Bitcoin                             0.29928031 Customer Transfer

 Confidential Customer Coin Transferee #9422    [Address on File]     6/20/2023 Bitcoin                                0.00232258 Customer Transfer
 Confidential Customer Coin Transferee #9423    [Address on File]     5/23/2023 Bitcoin                                0.02517789 Customer Transfer
 Confidential Customer Coin Transferee #9424    [Address on File]     6/14/2023 Bitcoin                                0.03337639 Customer Transfer
 Confidential Customer Coin Transferee #9425    [Address on File]     5/19/2023 Bitcoin                                0.00013589 Customer Transfer
 Confidential Customer Coin Transferee #9426    [Address on File]     5/19/2023 Bitcoin                                 0.0009241 Customer Transfer
 Confidential Customer Coin Transferee #9427    [Address on File]     6/19/2023 Bitcoin                                0.00064672 Customer Transfer
 Confidential Customer Coin Transferee #9428    [Address on File]     5/22/2023 Bitcoin                                0.01458329 Customer Transfer
 Confidential Customer Coin Transferee #9429    [Address on File]     5/25/2023 Bitcoin                                      0.228 Customer Transfer
 Confidential Customer Coin Transferee #9429    [Address on File]     5/31/2023 Bitcoin                                0.08868805 Customer Transfer
 Confidential Customer Coin Transferee #9430    [Address on File]     6/20/2023 Bitcoin                                0.00293905 Customer Transfer
 Confidential Customer Coin Transferee #9431    [Address on File]     5/21/2023 Bitcoin                                0.02525593 Customer Transfer
 Confidential Customer Coin Transferee #9432    [Address on File]      6/8/2023 Bitcoin                                0.00369232 Customer Transfer
 Confidential Customer Coin Transferee #9433    [Address on File]     5/24/2023 Bitcoin                                0.00205349 Customer Transfer
 Confidential Customer Coin Transferee #9433    [Address on File]     5/28/2023 Bitcoin                                0.00091737 Customer Transfer
 Confidential Customer Coin Transferee #9434    [Address on File]     5/24/2023 Bitcoin                                0.00379157 Customer Transfer
 Confidential Customer Coin Transferee #9434    [Address on File]     5/24/2023 Bitcoin                                0.00374488 Customer Transfer
 Confidential Customer Coin Transferee #9434    [Address on File]     5/24/2023 Bitcoin                                0.00372744 Customer Transfer
 Confidential Customer Coin Transferee #9434    [Address on File]     5/27/2023 Bitcoin                                0.00372039 Customer Transfer
 Confidential Customer Coin Transferee #9434    [Address on File]     5/25/2023 Bitcoin                                0.00037874 Customer Transfer
 Confidential Customer Coin Transferee #9435    [Address on File]     5/28/2023 Bitcoin                                0.00238777 Customer Transfer
 Confidential Customer Coin Transferee #9435    [Address on File]     5/25/2023 Bitcoin                                0.00037751 Customer Transfer
 Confidential Customer Coin Transferee #9435    [Address on File]     5/19/2023 Bitcoin                                0.00014559 Customer Transfer
 Confidential Customer Coin Transferee #9435    [Address on File]     5/18/2023 Bitcoin                                0.00009829 Customer Transfer
 Confidential Customer Coin Transferee #9436    [Address on File]     6/16/2023 Bitcoin                                 0.0373902 Customer Transfer
 Confidential Customer Coin Transferee #9437    [Address on File]     5/23/2023 Bitcoin                                      0.031 Customer Transfer
 Confidential Customer Coin Transferee #9438    [Address on File]     6/19/2023 Bitcoin                                0.00527488 Customer Transfer
 Confidential Customer Coin Transferee #9439    [Address on File]     6/19/2023 Bitcoin                                0.00151212 Customer Transfer
 Confidential Customer Coin Transferee #9440    [Address on File]     6/20/2023 Bitcoin                                0.00083037 Customer Transfer
 Confidential Customer Coin Transferee #9441    [Address on File]     6/20/2023 Bitcoin                                0.01560838 Customer Transfer
 Confidential Customer Coin Transferee #9442    [Address on File]     5/26/2023 Bitcoin                                 0.0100364 Customer Transfer
 Confidential Customer Coin Transferee #9443    [Address on File]     6/20/2023 Bitcoin                                0.00024984 Customer Transfer
 Confidential Customer Coin Transferee #9444    [Address on File]     5/21/2023 Bitcoin                                0.01480983 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9445    [Address on File]     5/18/2023 Bitcoin                             0.01967111 Customer Transfer
 Confidential Customer Coin Transferee #9446    [Address on File]     6/20/2023 Bitcoin                             0.00036041 Customer Transfer

 Confidential Customer Coin Transferee #9447    [Address on File]     5/23/2023 Bitcoin                                0.00117821 Customer Transfer

 Confidential Customer Coin Transferee #9447    [Address on File]     6/12/2023 Bitcoin                                0.00112692 Customer Transfer

 Confidential Customer Coin Transferee #9447    [Address on File]     6/19/2023 Bitcoin                                0.00070006 Customer Transfer
 Confidential Customer Coin Transferee #9448    [Address on File]     5/19/2023 Bitcoin                                0.00362626 Customer Transfer
 Confidential Customer Coin Transferee #9449    [Address on File]     5/21/2023 Bitcoin                                0.00906846 Customer Transfer
 Confidential Customer Coin Transferee #9450    [Address on File]     5/27/2023 Bitcoin                                0.03725119 Customer Transfer
 Confidential Customer Coin Transferee #9450    [Address on File]     5/20/2023 Bitcoin                                0.03698586 Customer Transfer
 Confidential Customer Coin Transferee #9450    [Address on File]     5/19/2023 Bitcoin                                0.00832536 Customer Transfer
 Confidential Customer Coin Transferee #9451    [Address on File]     5/22/2023 Bitcoin                                0.00926369 Customer Transfer
 Confidential Customer Coin Transferee #9451    [Address on File]     5/30/2023 Bitcoin                                0.00895327 Customer Transfer
 Confidential Customer Coin Transferee #9452    [Address on File]     5/19/2023 Bitcoin                                0.00578707 Customer Transfer
 Confidential Customer Coin Transferee #9453    [Address on File]     6/20/2023 Bitcoin                                0.01545201 Customer Transfer
 Confidential Customer Coin Transferee #9454    [Address on File]     6/19/2023 Bitcoin                                0.00021488 Customer Transfer
 Confidential Customer Coin Transferee #9455    [Address on File]      6/2/2023 Bitcoin                                0.01076292 Customer Transfer
 Confidential Customer Coin Transferee #9456    [Address on File]     5/21/2023 Bitcoin                                0.02526789 Customer Transfer
 Confidential Customer Coin Transferee #9457    [Address on File]      6/1/2023 Cosmos Hub ATOM)                        18.988556 Customer Transfer
 Confidential Customer Coin Transferee #9458    [Address on File]     6/20/2023 Bitcoin                                0.07605395 Customer Transfer
 Confidential Customer Coin Transferee #9459    [Address on File]     5/17/2023 Bitcoin                                0.00345646 Customer Transfer
 Confidential Customer Coin Transferee #9460    [Address on File]     6/20/2023 Bitcoin                                0.00369113 Customer Transfer

 Confidential Customer Coin Transferee #9461    [Address on File]      6/1/2023 USD Coin                               145.677161 Customer Transfer

 Confidential Customer Coin Transferee #9461    [Address on File]     6/14/2023 USD Coin                               120.457725 Customer Transfer

 Confidential Customer Coin Transferee #9461    [Address on File]      6/1/2023 Ether                                  0.11733513 Customer Transfer

 Confidential Customer Coin Transferee #9461    [Address on File]     6/14/2023 Ether                                  0.10317944 Customer Transfer

 Confidential Customer Coin Transferee #9461    [Address on File]      6/1/2023 Ether                                  0.09777749 Customer Transfer

 Confidential Customer Coin Transferee #9461    [Address on File]     6/14/2023 Ether                                  0.08598382 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #9461    [Address on File]      6/1/2023 Bitcoin                                0.00679285 Customer Transfer

 Confidential Customer Coin Transferee #9461    [Address on File]     6/14/2023 Bitcoin                                0.00579235 Customer Transfer
 Confidential Customer Coin Transferee #9462    [Address on File]     5/26/2023 Bitcoin                                0.00181784 Customer Transfer
 Confidential Customer Coin Transferee #9462    [Address on File]     5/19/2023 Bitcoin                                0.00179386 Customer Transfer
 Confidential Customer Coin Transferee #9463    [Address on File]     5/28/2023 Bitcoin                                0.00189435 Customer Transfer
 Confidential Customer Coin Transferee #9463    [Address on File]     5/20/2023 Bitcoin                                0.00168518 Customer Transfer
 Confidential Customer Coin Transferee #9464    [Address on File]     5/26/2023 Bitcoin                                0.00184161 Customer Transfer
 Confidential Customer Coin Transferee #9465    [Address on File]     6/20/2023 Bitcoin                                0.00289945 Customer Transfer
 Confidential Customer Coin Transferee #9466    [Address on File]     6/20/2023 Bitcoin                                 0.0003624 Customer Transfer
 Confidential Customer Coin Transferee #9467    [Address on File]     5/28/2023 Bitcoin                                0.00043801 Customer Transfer
 Confidential Customer Coin Transferee #9467    [Address on File]     5/20/2023 Bitcoin                                 0.0004051 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/17/2023 Bitcoin                                0.00111642 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/21/2023 Bitcoin                                0.00108685 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/17/2023 Bitcoin                                0.00091534 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/20/2023 Bitcoin                                0.00090607 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/17/2023 Bitcoin                                0.00089972 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/31/2023 Bitcoin                                 0.0008996 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/23/2023 Bitcoin                                 0.0008963 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/31/2023 Bitcoin                                0.00073628 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/17/2023 Bitcoin                                0.00073496 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/24/2023 Bitcoin                                0.00073122 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/17/2023 Bitcoin                                0.00073112 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/21/2023 Bitcoin                                0.00073008 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/24/2023 Bitcoin                                0.00072977 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/21/2023 Bitcoin                                0.00072872 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/21/2023 Bitcoin                                 0.0007287 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/17/2023 Bitcoin                                0.00072768 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/19/2023 Bitcoin                                0.00072545 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/22/2023 Bitcoin                                0.00072543 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/22/2023 Bitcoin                                 0.0007251 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/22/2023 Bitcoin                                0.00072497 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/21/2023 Bitcoin                                 0.0007246 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/16/2023 Bitcoin                                0.00072293 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/21/2023 Bitcoin                                0.00072032 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/17/2023 Bitcoin                             0.00071815 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/18/2023 Bitcoin                             0.00071705 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/18/2023 Bitcoin                             0.00071667 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/18/2023 Bitcoin                             0.00071521 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/23/2023 Bitcoin                             0.00071435 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/31/2023 Bitcoin                             0.00070355 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/17/2023 Bitcoin                             0.00065917 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/24/2023 Bitcoin                             0.00065607 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/21/2023 Bitcoin                             0.00065145 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/23/2023 Bitcoin                             0.00063587 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/19/2023 Bitcoin                             0.00054297 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/31/2023 Bitcoin                             0.00052447 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/21/2023 Bitcoin                             0.00048271 Customer Transfer
 Confidential Customer Coin Transferee #9468    [Address on File]     5/22/2023 Bitcoin                             0.00039958 Customer Transfer
 Confidential Customer Coin Transferee #9469    [Address on File]     6/19/2023 Bitcoin                             0.00081632 Customer Transfer
 Confidential Customer Coin Transferee #9470    [Address on File]     6/20/2023 Bitcoin                              0.0649473 Customer Transfer
 Confidential Customer Coin Transferee #9471    [Address on File]     5/27/2023 Bitcoin                             0.13041515 Customer Transfer
 Confidential Customer Coin Transferee #9472    [Address on File]     6/20/2023 Bitcoin                              0.0095725 Customer Transfer
 Confidential Customer Coin Transferee #9473    [Address on File]     6/12/2023 Bitcoin                             0.01482949 Customer Transfer
 Confidential Customer Coin Transferee #9473    [Address on File]      6/2/2023 Bitcoin                             0.01230221 Customer Transfer
 Confidential Customer Coin Transferee #9473    [Address on File]     6/19/2023 Bitcoin                             0.00187158 Customer Transfer
 Confidential Customer Coin Transferee #9474    [Address on File]      6/7/2023 Tether USD                              2960.36 Customer Transfer
 Confidential Customer Coin Transferee #9475    [Address on File]     5/29/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/26/2023 Bitcoin                              0.0729992 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/26/2023 Bitcoin                             0.07185467 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/27/2023 Bitcoin                             0.05643665 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/25/2023 Bitcoin                             0.04732861 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/18/2023 Bitcoin                             0.04156483 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/25/2023 Bitcoin                             0.03700676 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/28/2023 Bitcoin                                0.035913 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/26/2023 Bitcoin                             0.03577417 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/25/2023 Bitcoin                             0.03496589 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/24/2023 Bitcoin                             0.03496571 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/28/2023 Bitcoin                             0.03485634 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/30/2023 Bitcoin                                    0.034 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/30/2023 Bitcoin                             0.02582814 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/28/2023 Bitcoin                             0.02156107 Customer Transfer
 Confidential Customer Coin Transferee #9476    [Address on File]     5/28/2023 Bitcoin                             0.01525834 Customer Transfer
 Confidential Customer Coin Transferee #9477    [Address on File]     5/18/2023 Bitcoin                             0.68454699 Customer Transfer
 Confidential Customer Coin Transferee #9477    [Address on File]     5/17/2023 Bitcoin                             0.07052619 Customer Transfer
 Confidential Customer Coin Transferee #9478    [Address on File]     5/16/2023 Bitcoin                             0.00056596 Customer Transfer
 Confidential Customer Coin Transferee #9479    [Address on File]     6/20/2023 Bitcoin                              0.0047559 Customer Transfer
 Confidential Customer Coin Transferee #9480    [Address on File]     6/20/2023 Bitcoin                             0.00024519 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/30/2023 Bitcoin                             0.01728602 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/30/2023 Bitcoin                             0.01391522 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/23/2023 Bitcoin                             0.00457379 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/25/2023 Bitcoin                             0.00366836 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/25/2023 Bitcoin                             0.00323447 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/26/2023 Bitcoin                             0.00313467 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/26/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/23/2023 Bitcoin                              0.0021821 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/29/2023 Bitcoin                             0.00199353 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/24/2023 Bitcoin                                 0.00187 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/26/2023 Bitcoin                             0.00160029 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/24/2023 Bitcoin                             0.00128317 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/22/2023 Bitcoin                             0.00112187 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/16/2023 Bitcoin                              0.0008346 Customer Transfer
 Confidential Customer Coin Transferee #9481    [Address on File]     5/20/2023 Bitcoin                             0.00021478 Customer Transfer
 Confidential Customer Coin Transferee #9482    [Address on File]     5/17/2023 Bitcoin                             0.02976271 Customer Transfer
 Confidential Customer Coin Transferee #9483    [Address on File]     5/19/2023 Bitcoin                             0.12926286 Customer Transfer
 Confidential Customer Coin Transferee #9483    [Address on File]     5/17/2023 Bitcoin                             0.08722958 Customer Transfer
 Confidential Customer Coin Transferee #9483    [Address on File]     5/22/2023 Bitcoin                             0.05217851 Customer Transfer
 Confidential Customer Coin Transferee #9484    [Address on File]     5/22/2023 Bitcoin                             0.02139906 Customer Transfer

 Confidential Customer Coin Transferee #9485    [Address on File]     5/26/2023 Bitcoin                                       0.25 Customer Transfer
 Confidential Customer Coin Transferee #9486    [Address on File]     5/18/2023 Bitcoin                                0.01039643 Customer Transfer
 Confidential Customer Coin Transferee #9486    [Address on File]     5/26/2023 Bitcoin                                0.00361136 Customer Transfer
 Confidential Customer Coin Transferee #9487    [Address on File]     5/31/2023 Bitcoin                                0.01797666 Customer Transfer
 Confidential Customer Coin Transferee #9488    [Address on File]     5/21/2023 Bitcoin                                0.00025723 Customer Transfer
 Confidential Customer Coin Transferee #9489    [Address on File]     6/19/2023 Bitcoin                                 0.0000564 Customer Transfer

 Confidential Customer Coin Transferee #9490    [Address on File]     5/20/2023 USDC Avalanche)                        523.718139 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count           or Transfer

 Confidential Customer Coin Transferee #9490    [Address on File]     5/24/2023 USDC Avalanche)                        521.191522 Customer Transfer

 Confidential Customer Coin Transferee #9490    [Address on File]     5/26/2023 USDC Avalanche)                        519.370314 Customer Transfer
 Confidential Customer Coin Transferee #9491    [Address on File]     6/20/2023 Bitcoin                                0.00005293 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/23/2023 Bitcoin                                0.00966694 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/25/2023 Bitcoin                                0.00944241 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/24/2023 Bitcoin                                 0.0093447 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/20/2023 Bitcoin                                0.00925087 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/19/2023 Bitcoin                                0.00922284 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/17/2023 Bitcoin                                0.00920255 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/22/2023 Bitcoin                                0.00916336 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/26/2023 Bitcoin                                0.00903942 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/16/2023 Bitcoin                                0.00875058 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/21/2023 Bitcoin                                0.00845402 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/18/2023 Bitcoin                                0.00842034 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/24/2023 Bitcoin                                 0.0081655 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/24/2023 Bitcoin                                0.00747328 Customer Transfer
 Confidential Customer Coin Transferee #9492    [Address on File]     5/27/2023 Bitcoin                                0.00521424 Customer Transfer
 Confidential Customer Coin Transferee #9493    [Address on File]     6/19/2023 Bitcoin                                0.00081427 Customer Transfer
 Confidential Customer Coin Transferee #9494    [Address on File]     5/21/2023 Bitcoin                                0.01420161 Customer Transfer
 Confidential Customer Coin Transferee #9495    [Address on File]     5/30/2023 Bitcoin                                0.03904538 Customer Transfer
 Confidential Customer Coin Transferee #9495    [Address on File]     5/26/2023 Bitcoin                                       0.038 Customer Transfer
 Confidential Customer Coin Transferee #9495    [Address on File]     5/19/2023 Bitcoin                                      0.0376 Customer Transfer
 Confidential Customer Coin Transferee #9495    [Address on File]     5/17/2023 Bitcoin                                   0.018944 Customer Transfer
 Confidential Customer Coin Transferee #9495    [Address on File]     5/17/2023 Bitcoin                                      0.0189 Customer Transfer
 Confidential Customer Coin Transferee #9495    [Address on File]     5/21/2023 Bitcoin                                    0.01879 Customer Transfer
 Confidential Customer Coin Transferee #9495    [Address on File]     5/28/2023 Bitcoin                                 0.0186389 Customer Transfer
 Confidential Customer Coin Transferee #9495    [Address on File]     5/30/2023 Bitcoin                                0.00699761 Customer Transfer
 Confidential Customer Coin Transferee #9495    [Address on File]     5/30/2023 Bitcoin                                0.00097549 Customer Transfer
 Confidential Customer Coin Transferee #9496    [Address on File]     5/26/2023 Bitcoin                                0.00374632 Customer Transfer
 Confidential Customer Coin Transferee #9497    [Address on File]     6/19/2023 Bitcoin                                0.06257038 Customer Transfer
 Confidential Customer Coin Transferee #9498    [Address on File]      6/1/2023 Ether                                  1.56932061 Customer Transfer
 Confidential Customer Coin Transferee #9498    [Address on File]     5/26/2023 Ether                                  0.98883718 Customer Transfer
 Confidential Customer Coin Transferee #9498    [Address on File]      6/5/2023 Ether                                  0.70020393 Customer Transfer
 Confidential Customer Coin Transferee #9498    [Address on File]     6/12/2023 Ether                                  0.68649513 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9498    [Address on File]     6/12/2023 Ether                               0.68369411 Customer Transfer
 Confidential Customer Coin Transferee #9499    [Address on File]      6/9/2023 Bitcoin                             0.00072325 Customer Transfer
 Confidential Customer Coin Transferee #9500    [Address on File]     6/20/2023 Bitcoin                             0.00005572 Customer Transfer
 Confidential Customer Coin Transferee #9501    [Address on File]     6/19/2023 Bitcoin                              0.0000563 Customer Transfer
 Confidential Customer Coin Transferee #9502    [Address on File]     5/22/2023 Bitcoin                                 0.00245 Customer Transfer
 Confidential Customer Coin Transferee #9503    [Address on File]     5/22/2023 Bitcoin                             0.00110756 Customer Transfer
 Confidential Customer Coin Transferee #9504    [Address on File]     5/31/2023 Bitcoin                             0.01009264 Customer Transfer
 Confidential Customer Coin Transferee #9505    [Address on File]     6/20/2023 Bitcoin                             0.01780027 Customer Transfer
 Confidential Customer Coin Transferee #9506    [Address on File]     6/19/2023 Bitcoin                             0.00057706 Customer Transfer
 Confidential Customer Coin Transferee #9507    [Address on File]     5/20/2023 Bitcoin                             0.01850251 Customer Transfer
 Confidential Customer Coin Transferee #9508    [Address on File]     6/20/2023 Bitcoin                             0.02690045 Customer Transfer
 Confidential Customer Coin Transferee #9509    [Address on File]     5/26/2023 Bitcoin                             0.00747362 Customer Transfer
 Confidential Customer Coin Transferee #9510    [Address on File]     5/21/2023 Bitcoin                             0.00728843 Customer Transfer
 Confidential Customer Coin Transferee #9511    [Address on File]     6/20/2023 Bitcoin                             0.00371338 Customer Transfer
 Confidential Customer Coin Transferee #9512    [Address on File]     6/20/2023 Bitcoin                             0.00056731 Customer Transfer
 Confidential Customer Coin Transferee #9513    [Address on File]     5/21/2023 Bitcoin                             0.01036696 Customer Transfer
 Confidential Customer Coin Transferee #9514    [Address on File]     6/21/2023 Bitcoin                             0.00280293 Customer Transfer
 Confidential Customer Coin Transferee #9515    [Address on File]     5/30/2023 Bitcoin                             0.01814355 Customer Transfer
 Confidential Customer Coin Transferee #9515    [Address on File]     5/16/2023 Bitcoin                                   0.0074 Customer Transfer
 Confidential Customer Coin Transferee #9515    [Address on File]     5/16/2023 Bitcoin                                0.006003 Customer Transfer
 Confidential Customer Coin Transferee #9516    [Address on File]     5/20/2023 Bitcoin                             0.02217814 Customer Transfer
 Confidential Customer Coin Transferee #9517    [Address on File]     5/21/2023 Bitcoin                             0.00092538 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/26/2023 Bitcoin                             0.00371786 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/16/2023 Bitcoin                             0.00368076 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/18/2023 Bitcoin                             0.00367569 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/18/2023 Bitcoin                             0.00364218 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/18/2023 Bitcoin                                 0.00364 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/18/2023 Bitcoin                             0.00363543 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/18/2023 Bitcoin                             0.00363446 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/16/2023 Bitcoin                             0.00238611 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/19/2023 Bitcoin                             0.00222474 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/27/2023 Bitcoin                             0.00186412 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/18/2023 Bitcoin                              0.0014533 Customer Transfer
 Confidential Customer Coin Transferee #9518    [Address on File]     5/28/2023 Bitcoin                             0.00141547 Customer Transfer
 Confidential Customer Coin Transferee #9519    [Address on File]     5/22/2023 Bitcoin                              0.0778305 Customer Transfer
 Confidential Customer Coin Transferee #9519    [Address on File]     5/29/2023 Bitcoin                                0.025826 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #9519    [Address on File]     5/22/2023 Bitcoin                                   0.0225 Customer Transfer
 Confidential Customer Coin Transferee #9519    [Address on File]     5/19/2023 Bitcoin                                    0.019 Customer Transfer
 Confidential Customer Coin Transferee #9519    [Address on File]     5/21/2023 Bitcoin                                    0.019 Customer Transfer
 Confidential Customer Coin Transferee #9520    [Address on File]     5/22/2023 Bitcoin                                      0.03 Customer Transfer
 Confidential Customer Coin Transferee #9520    [Address on File]     5/27/2023 Bitcoin                                      0.03 Customer Transfer
 Confidential Customer Coin Transferee #9520    [Address on File]     5/30/2023 Bitcoin                                      0.03 Customer Transfer
 Confidential Customer Coin Transferee #9520    [Address on File]     5/24/2023 Bitcoin                                0.010184 Customer Transfer
 Confidential Customer Coin Transferee #9521    [Address on File]     6/20/2023 Bitcoin                             0.00057757 Customer Transfer
 Confidential Customer Coin Transferee #9522    [Address on File]     5/29/2023 Bitcoin                             0.00142303 Customer Transfer
 Confidential Customer Coin Transferee #9523    [Address on File]     5/22/2023 Bitcoin                             0.01259728 Customer Transfer
 Confidential Customer Coin Transferee #9523    [Address on File]     5/24/2023 Bitcoin                             0.01078808 Customer Transfer

 Confidential Customer Coin Transferee #9524    [Address on File]      6/3/2023 Tether USD                                988.1229 Customer Transfer
 Confidential Customer Coin Transferee #9525    [Address on File]     5/29/2023 Bitcoin                                0.00146355 Customer Transfer
 Confidential Customer Coin Transferee #9525    [Address on File]      6/5/2023 Bitcoin                                0.00081297 Customer Transfer
 Confidential Customer Coin Transferee #9525    [Address on File]     5/22/2023 Bitcoin                                0.00053546 Customer Transfer
 Confidential Customer Coin Transferee #9525    [Address on File]     6/12/2023 Bitcoin                                0.00045892 Customer Transfer
 Confidential Customer Coin Transferee #9525    [Address on File]     5/30/2023 Bitcoin                                0.00045109 Customer Transfer
 Confidential Customer Coin Transferee #9525    [Address on File]     6/18/2023 Bitcoin                                0.00032725 Customer Transfer
 Confidential Customer Coin Transferee #9526    [Address on File]     5/29/2023 Bitcoin                                0.01228918 Customer Transfer
 Confidential Customer Coin Transferee #9526    [Address on File]     6/12/2023 Bitcoin                                0.00432837 Customer Transfer
 Confidential Customer Coin Transferee #9526    [Address on File]     6/20/2023 Bitcoin                                0.00019401 Customer Transfer


 Confidential Customer Coin Transferee #9527    [Address on File]      6/5/2023 Tether USD                               640.6542 Customer Transfer


 Confidential Customer Coin Transferee #9527    [Address on File]      6/5/2023 Tether USD                               243.3303 Customer Transfer


 Confidential Customer Coin Transferee #9527    [Address on File]     5/24/2023 Tether USD                               163.8462 Customer Transfer


 Confidential Customer Coin Transferee #9527    [Address on File]      6/6/2023 Tether USD                                114.1849 Customer Transfer
 Confidential Customer Coin Transferee #9528    [Address on File]     6/19/2023 Bitcoin                                0.00032507 Customer Transfer
 Confidential Customer Coin Transferee #9529    [Address on File]      6/7/2023 Bitcoin                                0.00070704 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9530    [Address on File]     6/20/2023 Bitcoin                             0.01050655 Customer Transfer
 Confidential Customer Coin Transferee #9531    [Address on File]     6/20/2023 Bitcoin                             0.00004356 Customer Transfer
 Confidential Customer Coin Transferee #9532    [Address on File]     6/19/2023 Bitcoin                             0.00337425 Customer Transfer
 Confidential Customer Coin Transferee #9533    [Address on File]     6/19/2023 Bitcoin                             0.01391803 Customer Transfer
 Confidential Customer Coin Transferee #9534    [Address on File]     5/24/2023 Litecoin                             0.5177676 Customer Transfer

 Confidential Customer Coin Transferee #9535    [Address on File]     5/19/2023 Bitcoin                                 0.0016441 Customer Transfer
 Confidential Customer Coin Transferee #9536    [Address on File]     5/22/2023 Bitcoin                                0.00036979 Customer Transfer
 Confidential Customer Coin Transferee #9537    [Address on File]     6/20/2023 Bitcoin                                 0.0069798 Customer Transfer
 Confidential Customer Coin Transferee #9538    [Address on File]     5/24/2023 Bitcoin                                0.00224945 Customer Transfer
 Confidential Customer Coin Transferee #9539    [Address on File]      6/5/2023 Tether USD                                613.5912 Customer Transfer
 Confidential Customer Coin Transferee #9539    [Address on File]      6/2/2023 Tether USD                                193.6217 Customer Transfer
 Confidential Customer Coin Transferee #9539    [Address on File]     6/21/2023 Tether USD                                 94.0643 Customer Transfer
 Confidential Customer Coin Transferee #9540    [Address on File]      6/1/2023 Tether USD                                 4488.84 Customer Transfer
 Confidential Customer Coin Transferee #9541    [Address on File]     5/25/2023 Bitcoin                                0.02850268 Customer Transfer
 Confidential Customer Coin Transferee #9542    [Address on File]     5/19/2023 Bitcoin                                0.05738947 Customer Transfer
 Confidential Customer Coin Transferee #9543    [Address on File]      6/7/2023 Bitcoin                                0.01595809 Customer Transfer
 Confidential Customer Coin Transferee #9543    [Address on File]     5/16/2023 Bitcoin                                      0.008 Customer Transfer
 Confidential Customer Coin Transferee #9544    [Address on File]     5/21/2023 Bitcoin                                 0.0100088 Customer Transfer
 Confidential Customer Coin Transferee #9545    [Address on File]     6/20/2023 Bitcoin                                0.00760104 Customer Transfer
 Confidential Customer Coin Transferee #9546    [Address on File]     5/31/2023 Bitcoin                                0.00187927 Customer Transfer
 Confidential Customer Coin Transferee #9547    [Address on File]     5/24/2023 Bitcoin                                 0.0037003 Customer Transfer
 Confidential Customer Coin Transferee #9548    [Address on File]     5/20/2023 Bitcoin                                0.01480657 Customer Transfer
 Confidential Customer Coin Transferee #9548    [Address on File]     5/29/2023 Bitcoin                                0.00718422 Customer Transfer

 Confidential Customer Coin Transferee #9549    [Address on File]     5/18/2023 Bitcoin                                0.00018228 Customer Transfer

 Confidential Customer Coin Transferee #9549    [Address on File]     5/18/2023 Bitcoin                                0.00018203 Customer Transfer
 Confidential Customer Coin Transferee #9550    [Address on File]     6/20/2023 Bitcoin                                0.00914905 Customer Transfer
 Confidential Customer Coin Transferee #9551    [Address on File]     5/20/2023 Bitcoin                                0.00367546 Customer Transfer
 Confidential Customer Coin Transferee #9552    [Address on File]     5/17/2023 Bitcoin                                0.00747475 Customer Transfer
 Confidential Customer Coin Transferee #9553    [Address on File]     5/18/2023 Bitcoin                                0.00546033 Customer Transfer
 Confidential Customer Coin Transferee #9553    [Address on File]     5/30/2023 Bitcoin                                0.00177556 Customer Transfer
 Confidential Customer Coin Transferee #9554    [Address on File]     5/25/2023 Bitcoin                                0.01486241 Customer Transfer
 Confidential Customer Coin Transferee #9554    [Address on File]     5/28/2023 Bitcoin                                0.01108629 Customer Transfer
 Confidential Customer Coin Transferee #9554    [Address on File]     5/21/2023 Bitcoin                                0.01103646 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9554    [Address on File]     5/17/2023 Bitcoin                             0.01101323 Customer Transfer
 Confidential Customer Coin Transferee #9554    [Address on File]     5/22/2023 Bitcoin                             0.00369759 Customer Transfer

 Confidential Customer Coin Transferee #9555    [Address on File]     5/20/2023 Bitcoin                                0.00738888 Customer Transfer

 Confidential Customer Coin Transferee #9555    [Address on File]     5/24/2023 Bitcoin                                0.00275626 Customer Transfer
 Confidential Customer Coin Transferee #9556    [Address on File]     6/16/2023 USDC Avalanche)                        193.303348 Customer Transfer
 Confidential Customer Coin Transferee #9557    [Address on File]     5/30/2023 Bitcoin                                      0.002 Customer Transfer
 Confidential Customer Coin Transferee #9558    [Address on File]     5/19/2023 Bitcoin                                0.05450539 Customer Transfer


 Confidential Customer Coin Transferee #9559    [Address on File]      6/6/2023 Bitcoin                                   0.07659 Customer Transfer


 Confidential Customer Coin Transferee #9559    [Address on File]     5/19/2023 Bitcoin                                0.02017961 Customer Transfer
 Confidential Customer Coin Transferee #9560    [Address on File]     6/20/2023 Bitcoin                                0.00057831 Customer Transfer
 Confidential Customer Coin Transferee #9561    [Address on File]     5/19/2023 Bitcoin                                0.02708667 Customer Transfer
 Confidential Customer Coin Transferee #9562    [Address on File]      6/7/2023 Bitcoin                                0.00384441 Customer Transfer
 Confidential Customer Coin Transferee #9562    [Address on File]     6/12/2023 Bitcoin                                0.00193173 Customer Transfer
 Confidential Customer Coin Transferee #9562    [Address on File]     5/29/2023 Bitcoin                                0.00189609 Customer Transfer
 Confidential Customer Coin Transferee #9562    [Address on File]     5/25/2023 Bitcoin                                0.00185464 Customer Transfer
 Confidential Customer Coin Transferee #9562    [Address on File]      6/5/2023 Bitcoin                                0.00184946 Customer Transfer
 Confidential Customer Coin Transferee #9562    [Address on File]     5/22/2023 Bitcoin                                0.00110855 Customer Transfer
 Confidential Customer Coin Transferee #9562    [Address on File]      6/2/2023 Bitcoin                                0.00073434 Customer Transfer
 Confidential Customer Coin Transferee #9562    [Address on File]     5/17/2023 Bitcoin                                 0.0007313 Customer Transfer
 Confidential Customer Coin Transferee #9563    [Address on File]     6/19/2023 Bitcoin                                0.00003537 Customer Transfer

 Confidential Customer Coin Transferee #9564    [Address on File]      6/9/2023 Tether USD                             196.931534 Customer Transfer

 Confidential Customer Coin Transferee #9564    [Address on File]     6/17/2023 USD Coin                               196.620813 Customer Transfer


 Confidential Customer Coin Transferee #9565    [Address on File]      6/7/2023 Bitcoin                                   0.043435 Customer Transfer
 Confidential Customer Coin Transferee #9566    [Address on File]     6/19/2023 Bitcoin                                0.00163474 Customer Transfer
 Confidential Customer Coin Transferee #9567    [Address on File]     5/17/2023 Bitcoin                                 0.0307882 Customer Transfer
 Confidential Customer Coin Transferee #9568    [Address on File]      6/7/2023 Tether USD                              3953.3577 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9568    [Address on File]      6/5/2023 Tether USD                           2654.0986 Customer Transfer
 Confidential Customer Coin Transferee #9568    [Address on File]      6/1/2023 Bitcoin                             0.11440391 Customer Transfer
 Confidential Customer Coin Transferee #9568    [Address on File]     5/31/2023 Bitcoin                             0.07603016 Customer Transfer
 Confidential Customer Coin Transferee #9568    [Address on File]     5/23/2023 Bitcoin                             0.05465996 Customer Transfer
 Confidential Customer Coin Transferee #9568    [Address on File]     5/24/2023 Bitcoin                             0.04194507 Customer Transfer
 Confidential Customer Coin Transferee #9568    [Address on File]      6/1/2023 Bitcoin                             0.01082043 Customer Transfer
 Confidential Customer Coin Transferee #9568    [Address on File]      6/1/2023 Bitcoin                             0.00717779 Customer Transfer
 Confidential Customer Coin Transferee #9569    [Address on File]     6/20/2023 Bitcoin                             0.05662671 Customer Transfer
 Confidential Customer Coin Transferee #9570    [Address on File]     6/19/2023 Bitcoin                             0.00091778 Customer Transfer
 Confidential Customer Coin Transferee #9571    [Address on File]     6/20/2023 Bitcoin                              0.0013017 Customer Transfer
 Confidential Customer Coin Transferee #9572    [Address on File]     5/18/2023 Bitcoin                              0.0000744 Customer Transfer
 Confidential Customer Coin Transferee #9572    [Address on File]      6/7/2023 Bitcoin                             0.00007433 Customer Transfer
 Confidential Customer Coin Transferee #9573    [Address on File]     5/22/2023 Bitcoin                             0.00297089 Customer Transfer
 Confidential Customer Coin Transferee #9573    [Address on File]     5/27/2023 Bitcoin                             0.00222466 Customer Transfer
 Confidential Customer Coin Transferee #9573    [Address on File]     5/29/2023 Bitcoin                             0.00089607 Customer Transfer
 Confidential Customer Coin Transferee #9574    [Address on File]     5/19/2023 Bitcoin                             0.01422377 Customer Transfer
 Confidential Customer Coin Transferee #9574    [Address on File]     5/26/2023 Bitcoin                             0.00368364 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]      6/1/2023 Tether USD                          795.003996 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]      6/1/2023 Tether USD                          794.944044 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]      6/1/2023 Tether USD                          794.614308 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]      6/2/2023 USD Coin                            515.792103 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]      6/8/2023 Bitcoin                             1.87464976 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     6/15/2023 Bitcoin                                0.118755 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     6/16/2023 Bitcoin                                0.117017 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     6/10/2023 Bitcoin                                0.116691 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     6/11/2023 Bitcoin                                0.116136 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]      6/5/2023 Bitcoin                                 0.11611 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     6/13/2023 Bitcoin                                0.115899 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     6/12/2023 Bitcoin                                0.115668 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     6/19/2023 Bitcoin                                0.113164 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]      6/8/2023 Bitcoin                                0.113066 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     6/18/2023 Bitcoin                                0.112778 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     6/17/2023 Bitcoin                                0.112226 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]      6/9/2023 Bitcoin                                0.112146 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]      6/7/2023 Bitcoin                                0.111396 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     6/20/2023 Bitcoin                                0.110841 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     5/19/2023 Bitcoin                                 0.11069 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]      6/3/2023 Ether                                  0.102956 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     6/21/2023 Bitcoin                                0.100099 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     5/16/2023 Bitcoin                                0.029346 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     5/16/2023 Bitcoin                                 0.02928 Customer Transfer
 Confidential Customer Coin Transferee #9575    [Address on File]     5/16/2023 Bitcoin                                0.029029 Customer Transfer
 Confidential Customer Coin Transferee #9576    [Address on File]     6/20/2023 Bitcoin                             0.14146722 Customer Transfer

 Confidential Customer Coin Transferee #9577    [Address on File]     5/16/2023 Bitcoin                                       0.11 Customer Transfer
 Confidential Customer Coin Transferee #9578    [Address on File]     5/19/2023 Bitcoin                                0.19550265 Customer Transfer
 Confidential Customer Coin Transferee #9579    [Address on File]     6/20/2023 Bitcoin                                0.00011865 Customer Transfer
 Confidential Customer Coin Transferee #9580    [Address on File]     5/16/2023 Tether USD                                   1502 Customer Transfer
 Confidential Customer Coin Transferee #9581    [Address on File]     6/19/2023 Bitcoin                                 0.0006587 Customer Transfer
 Confidential Customer Coin Transferee #9582    [Address on File]      6/2/2023 Tether USD                                 466.736 Customer Transfer
 Confidential Customer Coin Transferee #9583    [Address on File]     5/30/2023 Bitcoin                                0.21407818 Customer Transfer

 Confidential Customer Coin Transferee #9584    [Address on File]     5/17/2023 Bitcoin                                0.01661971 Customer Transfer
 Confidential Customer Coin Transferee #9585    [Address on File]     6/20/2023 Bitcoin                                0.00005836 Customer Transfer
 Confidential Customer Coin Transferee #9586    [Address on File]     5/19/2023 Bitcoin                                0.00407543 Customer Transfer
 Confidential Customer Coin Transferee #9587    [Address on File]     6/19/2023 Bitcoin                                0.00004609 Customer Transfer
 Confidential Customer Coin Transferee #9588    [Address on File]     6/19/2023 Bitcoin                                0.00005834 Customer Transfer
 Confidential Customer Coin Transferee #9589    [Address on File]     5/28/2023 Bitcoin                                0.13585629 Customer Transfer
 Confidential Customer Coin Transferee #9589    [Address on File]     5/28/2023 Bitcoin                                      0.005 Customer Transfer
 Confidential Customer Coin Transferee #9590    [Address on File]     5/24/2023 Bitcoin                                0.01856963 Customer Transfer
 Confidential Customer Coin Transferee #9590    [Address on File]     5/17/2023 Bitcoin                                0.01834139 Customer Transfer
 Confidential Customer Coin Transferee #9591    [Address on File]     5/25/2023 Bitcoin                                0.01003538 Customer Transfer
 Confidential Customer Coin Transferee #9591    [Address on File]     5/26/2023 Bitcoin                                0.00399796 Customer Transfer
 Confidential Customer Coin Transferee #9591    [Address on File]     5/25/2023 Bitcoin                                0.00259954 Customer Transfer
 Confidential Customer Coin Transferee #9591    [Address on File]     5/28/2023 Bitcoin                                0.00233059 Customer Transfer
 Confidential Customer Coin Transferee #9592    [Address on File]     5/22/2023 Bitcoin                                 0.0667298 Customer Transfer
 Confidential Customer Coin Transferee #9592    [Address on File]     5/20/2023 Bitcoin                                0.05584442 Customer Transfer
 Confidential Customer Coin Transferee #9592    [Address on File]     5/25/2023 Bitcoin                                0.04500485 Customer Transfer
 Confidential Customer Coin Transferee #9593    [Address on File]     5/17/2023 Bitcoin                                0.00037137 Customer Transfer
 Confidential Customer Coin Transferee #9594    [Address on File]     5/24/2023 Bitcoin                                0.00177639 Customer Transfer
 Confidential Customer Coin Transferee #9595    [Address on File]     5/18/2023 Bitcoin                                0.00257056 Customer Transfer
 Confidential Customer Coin Transferee #9596    [Address on File]     5/20/2023 Bitcoin                                 0.0831933 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9596    [Address on File]     5/16/2023 Bitcoin                                 0.00156 Customer Transfer
 Confidential Customer Coin Transferee #9596    [Address on File]     5/28/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #9596    [Address on File]     5/28/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #9597    [Address on File]     5/27/2023 Bitcoin                             0.00278701 Customer Transfer
 Confidential Customer Coin Transferee #9597    [Address on File]     5/24/2023 Bitcoin                              0.0009313 Customer Transfer
 Confidential Customer Coin Transferee #9597    [Address on File]     5/19/2023 Bitcoin                             0.00092841 Customer Transfer
 Confidential Customer Coin Transferee #9597    [Address on File]     5/21/2023 Bitcoin                             0.00092761 Customer Transfer
 Confidential Customer Coin Transferee #9597    [Address on File]     5/19/2023 Bitcoin                             0.00092528 Customer Transfer
 Confidential Customer Coin Transferee #9597    [Address on File]     5/17/2023 Bitcoin                             0.00073453 Customer Transfer
 Confidential Customer Coin Transferee #9598    [Address on File]     6/19/2023 Bitcoin                             0.04431645 Customer Transfer
 Confidential Customer Coin Transferee #9599    [Address on File]     5/29/2023 Bitcoin                             0.01036907 Customer Transfer
 Confidential Customer Coin Transferee #9600    [Address on File]     5/18/2023 Bitcoin                             0.02645102 Customer Transfer
 Confidential Customer Coin Transferee #9601    [Address on File]      6/2/2023 Bitcoin                             0.00187784 Customer Transfer
 Confidential Customer Coin Transferee #9602    [Address on File]     5/17/2023 Bitcoin                             0.01091629 Customer Transfer
 Confidential Customer Coin Transferee #9602    [Address on File]     5/24/2023 Bitcoin                             0.01025761 Customer Transfer
 Confidential Customer Coin Transferee #9603    [Address on File]     6/20/2023 Bitcoin                             0.00005804 Customer Transfer
 Confidential Customer Coin Transferee #9604    [Address on File]     5/20/2023 Bitcoin                             0.30746632 Customer Transfer
 Confidential Customer Coin Transferee #9605    [Address on File]     5/23/2023 Bitcoin                             0.00089294 Customer Transfer
 Confidential Customer Coin Transferee #9606    [Address on File]     5/21/2023 Bitcoin                             0.02654258 Customer Transfer
 Confidential Customer Coin Transferee #9606    [Address on File]     5/30/2023 Bitcoin                             0.02502477 Customer Transfer
 Confidential Customer Coin Transferee #9607    [Address on File]     5/22/2023 Bitcoin                             0.55186287 Customer Transfer
 Confidential Customer Coin Transferee #9607    [Address on File]     5/22/2023 Bitcoin                             0.16454232 Customer Transfer
 Confidential Customer Coin Transferee #9608    [Address on File]     6/20/2023 Bitcoin                             0.07083275 Customer Transfer
 Confidential Customer Coin Transferee #9609    [Address on File]      6/4/2023 Bitcoin                              0.0057206 Customer Transfer
 Confidential Customer Coin Transferee #9610    [Address on File]     5/19/2023 Bitcoin                             0.00034823 Customer Transfer
 Confidential Customer Coin Transferee #9611    [Address on File]     5/29/2023 Bitcoin                             0.00218413 Customer Transfer
 Confidential Customer Coin Transferee #9612    [Address on File]     6/20/2023 Bitcoin                             0.00295309 Customer Transfer
 Confidential Customer Coin Transferee #9613    [Address on File]     5/29/2023 Bitcoin                             0.01311435 Customer Transfer
 Confidential Customer Coin Transferee #9614    [Address on File]     6/19/2023 Bitcoin                             0.00114463 Customer Transfer
 Confidential Customer Coin Transferee #9615    [Address on File]     5/18/2023 Bitcoin                             0.01042567 Customer Transfer
 Confidential Customer Coin Transferee #9616    [Address on File]     5/30/2023 Bitcoin                             0.05100686 Customer Transfer
 Confidential Customer Coin Transferee #9617    [Address on File]     6/20/2023 Bitcoin                             0.00004319 Customer Transfer
 Confidential Customer Coin Transferee #9618    [Address on File]     5/31/2023 Bitcoin                             0.10208755 Customer Transfer
 Confidential Customer Coin Transferee #9618    [Address on File]      6/9/2023 Bitcoin                             0.02026288 Customer Transfer
 Confidential Customer Coin Transferee #9618    [Address on File]     6/14/2023 Bitcoin                             0.01714478 Customer Transfer
 Confidential Customer Coin Transferee #9619    [Address on File]     6/21/2023 Tether USD                           20879.331 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9619    [Address on File]     6/21/2023 Tether USD                           9901.3793 Customer Transfer
 Confidential Customer Coin Transferee #9619    [Address on File]      6/7/2023 Tether USD                                6160 Customer Transfer
 Confidential Customer Coin Transferee #9619    [Address on File]      6/3/2023 Tether USD                                3500 Customer Transfer
 Confidential Customer Coin Transferee #9619    [Address on File]      6/3/2023 Tether USD                                2160 Customer Transfer
 Confidential Customer Coin Transferee #9620    [Address on File]      6/3/2023 Tether USD                                1000 Customer Transfer
 Confidential Customer Coin Transferee #9620    [Address on File]     6/21/2023 Tether USD                                 995 Customer Transfer
 Confidential Customer Coin Transferee #9620    [Address on File]     6/13/2023 USD Coin                                   450 Customer Transfer
 Confidential Customer Coin Transferee #9621    [Address on File]     5/19/2023 Bitcoin                             0.00018499 Customer Transfer
 Confidential Customer Coin Transferee #9622    [Address on File]     6/20/2023 Bitcoin                             0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #9623    [Address on File]     5/28/2023 Bitcoin                             0.03487711 Customer Transfer
 Confidential Customer Coin Transferee #9624    [Address on File]     5/22/2023 Bitcoin                             0.00012588 Customer Transfer
 Confidential Customer Coin Transferee #9625    [Address on File]     6/20/2023 Bitcoin                             0.00083239 Customer Transfer
 Confidential Customer Coin Transferee #9626    [Address on File]     5/17/2023 Bitcoin                             0.01332901 Customer Transfer
 Confidential Customer Coin Transferee #9627    [Address on File]     5/23/2023 Bitcoin                             0.00620875 Customer Transfer
 Confidential Customer Coin Transferee #9627    [Address on File]     5/16/2023 Bitcoin                             0.00605279 Customer Transfer
 Confidential Customer Coin Transferee #9628    [Address on File]     5/25/2023 Bitcoin                             0.05985489 Customer Transfer
 Confidential Customer Coin Transferee #9629    [Address on File]     5/18/2023 Bitcoin                             0.00586321 Customer Transfer
 Confidential Customer Coin Transferee #9630    [Address on File]     5/16/2023 Bitcoin                             0.00273244 Customer Transfer
 Confidential Customer Coin Transferee #9631    [Address on File]     5/16/2023 Bitcoin                             0.05369003 Customer Transfer
 Confidential Customer Coin Transferee #9632    [Address on File]     6/20/2023 Bitcoin                             0.00305517 Customer Transfer
 Confidential Customer Coin Transferee #9633    [Address on File]     6/20/2023 Bitcoin                             0.01160691 Customer Transfer
 Confidential Customer Coin Transferee #9634    [Address on File]     5/21/2023 Bitcoin                             0.01856617 Customer Transfer
 Confidential Customer Coin Transferee #9634    [Address on File]     5/22/2023 Bitcoin                             0.00373074 Customer Transfer
 Confidential Customer Coin Transferee #9634    [Address on File]     5/22/2023 Bitcoin                             0.00186495 Customer Transfer
 Confidential Customer Coin Transferee #9634    [Address on File]     5/22/2023 Bitcoin                             0.00093264 Customer Transfer
 Confidential Customer Coin Transferee #9634    [Address on File]     5/22/2023 Bitcoin                             0.00093253 Customer Transfer

 Confidential Customer Coin Transferee #9635    [Address on File]     5/19/2023 Bitcoin                                0.03641324 Customer Transfer

 Confidential Customer Coin Transferee #9635    [Address on File]     5/26/2023 Bitcoin                                0.03639647 Customer Transfer
 Confidential Customer Coin Transferee #9636    [Address on File]     5/31/2023 Bitcoin                                0.00272727 Customer Transfer
 Confidential Customer Coin Transferee #9637    [Address on File]     6/20/2023 Bitcoin                                0.04310123 Customer Transfer

 Confidential Customer Coin Transferee #9638    [Address on File]     5/28/2023 Bitcoin                                0.00088059 Customer Transfer

 Confidential Customer Coin Transferee #9638    [Address on File]     5/28/2023 Bitcoin                                 0.0007747 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #9638    [Address on File]     5/21/2023 Bitcoin                                0.00062554 Customer Transfer

 Confidential Customer Coin Transferee #9638    [Address on File]     5/31/2023 Bitcoin                                0.00028927 Customer Transfer

 Confidential Customer Coin Transferee #9638    [Address on File]     5/22/2023 Bitcoin                                0.00018617 Customer Transfer

 Confidential Customer Coin Transferee #9638    [Address on File]     5/22/2023 Bitcoin                                0.00018605 Customer Transfer

 Confidential Customer Coin Transferee #9638    [Address on File]     5/22/2023 Bitcoin                                 0.0001114 Customer Transfer
 Confidential Customer Coin Transferee #9639    [Address on File]     5/18/2023 Bitcoin                                      0.125 Customer Transfer
 Confidential Customer Coin Transferee #9640    [Address on File]     6/19/2023 Bitcoin                                0.00005284 Customer Transfer
 Confidential Customer Coin Transferee #9641    [Address on File]     5/19/2023 Bitcoin                                0.01889981 Customer Transfer
 Confidential Customer Coin Transferee #9642    [Address on File]     6/19/2023 Bitcoin                                0.00405103 Customer Transfer
 Confidential Customer Coin Transferee #9643    [Address on File]     5/24/2023 Bitcoin                                0.00594793 Customer Transfer
 Confidential Customer Coin Transferee #9643    [Address on File]     5/24/2023 Bitcoin                                0.00445962 Customer Transfer
 Confidential Customer Coin Transferee #9643    [Address on File]     5/28/2023 Bitcoin                                0.00425793 Customer Transfer
 Confidential Customer Coin Transferee #9643    [Address on File]     5/29/2023 Bitcoin                                0.00421059 Customer Transfer
 Confidential Customer Coin Transferee #9643    [Address on File]     5/27/2023 Bitcoin                                0.00390885 Customer Transfer
 Confidential Customer Coin Transferee #9643    [Address on File]     5/21/2023 Bitcoin                                0.00385951 Customer Transfer
 Confidential Customer Coin Transferee #9643    [Address on File]     5/27/2023 Bitcoin                                0.00242343 Customer Transfer
 Confidential Customer Coin Transferee #9643    [Address on File]     5/27/2023 Bitcoin                                0.00222332 Customer Transfer
 Confidential Customer Coin Transferee #9643    [Address on File]     5/20/2023 Bitcoin                                0.00221583 Customer Transfer
 Confidential Customer Coin Transferee #9643    [Address on File]     5/19/2023 Bitcoin                                0.00185209 Customer Transfer
 Confidential Customer Coin Transferee #9643    [Address on File]     5/19/2023 Bitcoin                                0.00129533 Customer Transfer
 Confidential Customer Coin Transferee #9644    [Address on File]     6/19/2023 Bitcoin                                0.00516391 Customer Transfer

 Confidential Customer Coin Transferee #9645    [Address on File]     6/19/2023 Bitcoin                                0.00393027 Customer Transfer
 Confidential Customer Coin Transferee #9646    [Address on File]     5/16/2023 Bitcoin                                0.00027596 Customer Transfer
 Confidential Customer Coin Transferee #9647    [Address on File]     6/19/2023 Bitcoin                                 0.0000581 Customer Transfer
 Confidential Customer Coin Transferee #9648    [Address on File]     6/20/2023 Bitcoin                                0.00057765 Customer Transfer
 Confidential Customer Coin Transferee #9649    [Address on File]     6/12/2023 Tether USD                              2081.3686 Customer Transfer
 Confidential Customer Coin Transferee #9649    [Address on File]     6/12/2023 Tether USD                              1599.0367 Customer Transfer
 Confidential Customer Coin Transferee #9649    [Address on File]     6/12/2023 Tether USD                              1584.6218 Customer Transfer
 Confidential Customer Coin Transferee #9649    [Address on File]     6/16/2023 Bitcoin                                0.02831688 Customer Transfer
 Confidential Customer Coin Transferee #9649    [Address on File]      6/6/2023 Bitcoin                                0.01891391 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9650    [Address on File]     5/26/2023 Bitcoin                             0.00182196 Customer Transfer
 Confidential Customer Coin Transferee #9650    [Address on File]     5/19/2023 Bitcoin                              0.0017853 Customer Transfer
 Confidential Customer Coin Transferee #9651    [Address on File]     5/30/2023 Bitcoin                             0.02603823 Customer Transfer
 Confidential Customer Coin Transferee #9651    [Address on File]     5/25/2023 Bitcoin                             0.02585385 Customer Transfer
 Confidential Customer Coin Transferee #9652    [Address on File]     5/22/2023 Bitcoin                             0.09139835 Customer Transfer
 Confidential Customer Coin Transferee #9653    [Address on File]     5/22/2023 Bitcoin                                 0.00084 Customer Transfer
 Confidential Customer Coin Transferee #9654    [Address on File]     5/27/2023 Bitcoin                             0.01089881 Customer Transfer
 Confidential Customer Coin Transferee #9655    [Address on File]     6/12/2023 Tether USD                                 4500 Customer Transfer
 Confidential Customer Coin Transferee #9655    [Address on File]     6/21/2023 Bitcoin                                  0.0183 Customer Transfer
 Confidential Customer Coin Transferee #9655    [Address on File]     5/30/2023 Bitcoin                                  0.0055 Customer Transfer
 Confidential Customer Coin Transferee #9656    [Address on File]     5/22/2023 Bitcoin                             0.02832954 Customer Transfer
 Confidential Customer Coin Transferee #9657    [Address on File]     5/19/2023 Bitcoin                             0.00370729 Customer Transfer
 Confidential Customer Coin Transferee #9658    [Address on File]     6/19/2023 Bitcoin                             0.00429082 Customer Transfer
 Confidential Customer Coin Transferee #9659    [Address on File]     6/20/2023 Bitcoin                             0.00034734 Customer Transfer
 Confidential Customer Coin Transferee #9660    [Address on File]     5/30/2023 Ether                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #9661    [Address on File]      6/1/2023 USD Coin                                    195 Customer Transfer
 Confidential Customer Coin Transferee #9662    [Address on File]     6/19/2023 Bitcoin                             0.01828897 Customer Transfer
 Confidential Customer Coin Transferee #9662    [Address on File]     6/19/2023 Bitcoin                             0.01817868 Customer Transfer
 Confidential Customer Coin Transferee #9662    [Address on File]     6/19/2023 Bitcoin                              0.0003788 Customer Transfer
 Confidential Customer Coin Transferee #9663    [Address on File]     5/29/2023 Bitcoin                             0.00213843 Customer Transfer
 Confidential Customer Coin Transferee #9664    [Address on File]     5/24/2023 Bitcoin                             0.02749782 Customer Transfer
 Confidential Customer Coin Transferee #9664    [Address on File]     5/17/2023 Bitcoin                             0.00178311 Customer Transfer
 Confidential Customer Coin Transferee #9665    [Address on File]     5/22/2023 Bitcoin                              0.0014275 Customer Transfer
 Confidential Customer Coin Transferee #9665    [Address on File]      6/9/2023 Bitcoin                             0.00107517 Customer Transfer
 Confidential Customer Coin Transferee #9665    [Address on File]      6/5/2023 Bitcoin                             0.00063728 Customer Transfer
 Confidential Customer Coin Transferee #9665    [Address on File]     5/18/2023 Bitcoin                             0.00053599 Customer Transfer
 Confidential Customer Coin Transferee #9665    [Address on File]     5/26/2023 Bitcoin                             0.00049713 Customer Transfer
 Confidential Customer Coin Transferee #9665    [Address on File]     5/30/2023 Bitcoin                             0.00048927 Customer Transfer
 Confidential Customer Coin Transferee #9665    [Address on File]      6/2/2023 Bitcoin                             0.00048852 Customer Transfer
 Confidential Customer Coin Transferee #9666    [Address on File]     5/22/2023 Bitcoin                             0.00364904 Customer Transfer
 Confidential Customer Coin Transferee #9667    [Address on File]     6/19/2023 Bitcoin                             0.00284941 Customer Transfer
 Confidential Customer Coin Transferee #9668    [Address on File]     5/17/2023 Bitcoin                             0.05174969 Customer Transfer
 Confidential Customer Coin Transferee #9669    [Address on File]     6/20/2023 Bitcoin                             0.00016293 Customer Transfer
 Confidential Customer Coin Transferee #9670    [Address on File]     5/20/2023 Bitcoin                              0.0183949 Customer Transfer
 Confidential Customer Coin Transferee #9671    [Address on File]     5/26/2023 Bitcoin                                     0.25 Customer Transfer
 Confidential Customer Coin Transferee #9672    [Address on File]     5/30/2023 Bitcoin                                 0.01033 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9673    [Address on File]     6/12/2023 Bitcoin                             0.08419136 Customer Transfer
 Confidential Customer Coin Transferee #9673    [Address on File]      6/1/2023 Bitcoin                             0.01462734 Customer Transfer
 Confidential Customer Coin Transferee #9674    [Address on File]     5/30/2023 Bitcoin                             0.03780294 Customer Transfer
 Confidential Customer Coin Transferee #9675    [Address on File]     6/19/2023 Bitcoin                             0.01843529 Customer Transfer
 Confidential Customer Coin Transferee #9676    [Address on File]     5/30/2023 Bitcoin                              0.0299819 Customer Transfer
 Confidential Customer Coin Transferee #9677    [Address on File]     5/23/2023 Bitcoin                             0.00186539 Customer Transfer
 Confidential Customer Coin Transferee #9677    [Address on File]     5/16/2023 Bitcoin                             0.00168727 Customer Transfer
 Confidential Customer Coin Transferee #9678    [Address on File]     6/19/2023 Bitcoin                             0.00057861 Customer Transfer
 Confidential Customer Coin Transferee #9679    [Address on File]     5/30/2023 Bitcoin                              0.0001864 Customer Transfer
 Confidential Customer Coin Transferee #9679    [Address on File]     5/31/2023 Bitcoin                             0.00013865 Customer Transfer
 Confidential Customer Coin Transferee #9680    [Address on File]     5/17/2023 Bitcoin                             0.00186819 Customer Transfer
 Confidential Customer Coin Transferee #9680    [Address on File]     5/22/2023 Bitcoin                             0.00094932 Customer Transfer
 Confidential Customer Coin Transferee #9680    [Address on File]     5/18/2023 Bitcoin                             0.00055749 Customer Transfer
 Confidential Customer Coin Transferee #9681    [Address on File]     5/21/2023 Bitcoin                              0.0026769 Customer Transfer
 Confidential Customer Coin Transferee #9681    [Address on File]     5/25/2023 Bitcoin                             0.00208622 Customer Transfer
 Confidential Customer Coin Transferee #9681    [Address on File]     5/27/2023 Bitcoin                             0.00204431 Customer Transfer
 Confidential Customer Coin Transferee #9681    [Address on File]     5/30/2023 Bitcoin                             0.00196297 Customer Transfer
 Confidential Customer Coin Transferee #9681    [Address on File]     5/19/2023 Bitcoin                             0.00185271 Customer Transfer
 Confidential Customer Coin Transferee #9681    [Address on File]     5/25/2023 Bitcoin                             0.00169043 Customer Transfer
 Confidential Customer Coin Transferee #9681    [Address on File]     5/27/2023 Bitcoin                             0.00167289 Customer Transfer
 Confidential Customer Coin Transferee #9681    [Address on File]     5/29/2023 Bitcoin                             0.00154499 Customer Transfer
 Confidential Customer Coin Transferee #9682    [Address on File]     5/31/2023 Bitcoin                             0.01763137 Customer Transfer
 Confidential Customer Coin Transferee #9683    [Address on File]     5/20/2023 Bitcoin                             0.08389341 Customer Transfer
 Confidential Customer Coin Transferee #9684    [Address on File]     5/21/2023 Bitcoin                             0.00966601 Customer Transfer
 Confidential Customer Coin Transferee #9685    [Address on File]     5/20/2023 Bitcoin                                   0.0037 Customer Transfer
 Confidential Customer Coin Transferee #9685    [Address on File]     5/21/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #9685    [Address on File]     5/27/2023 Bitcoin                                   0.0006 Customer Transfer
 Confidential Customer Coin Transferee #9685    [Address on File]     5/21/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #9685    [Address on File]     5/27/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #9686    [Address on File]     5/24/2023 Bitcoin                             0.02950357 Customer Transfer
 Confidential Customer Coin Transferee #9686    [Address on File]     5/29/2023 Bitcoin                                0.011132 Customer Transfer

 Confidential Customer Coin Transferee #9687    [Address on File]     5/30/2023 Tether USD                                   491.6 Customer Transfer
 Confidential Customer Coin Transferee #9688    [Address on File]     6/20/2023 Bitcoin                                0.00011624 Customer Transfer
 Confidential Customer Coin Transferee #9689    [Address on File]     5/19/2023 Bitcoin                                0.01054821 Customer Transfer
 Confidential Customer Coin Transferee #9690    [Address on File]     6/20/2023 Bitcoin                                0.00011689 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9691    [Address on File]     5/17/2023 Bitcoin                                0.022995 Customer Transfer
 Confidential Customer Coin Transferee #9692    [Address on File]     6/20/2023 Bitcoin                             0.00979878 Customer Transfer
 Confidential Customer Coin Transferee #9693    [Address on File]     6/20/2023 Bitcoin                             0.00035047 Customer Transfer
 Confidential Customer Coin Transferee #9694    [Address on File]     6/20/2023 Bitcoin                             0.04706381 Customer Transfer

 Confidential Customer Coin Transferee #9695    [Address on File]     5/18/2023 Tether USD                                 32.4134 Customer Transfer
 Confidential Customer Coin Transferee #9696    [Address on File]     6/14/2023 Tether USD                              95.291883 Customer Transfer
 Confidential Customer Coin Transferee #9697    [Address on File]     5/21/2023 Bitcoin                                0.00371036 Customer Transfer
 Confidential Customer Coin Transferee #9697    [Address on File]     5/21/2023 Bitcoin                                0.00351479 Customer Transfer
 Confidential Customer Coin Transferee #9697    [Address on File]     5/21/2023 Bitcoin                                0.00185572 Customer Transfer
 Confidential Customer Coin Transferee #9697    [Address on File]     5/23/2023 Bitcoin                                0.00157157 Customer Transfer
 Confidential Customer Coin Transferee #9697    [Address on File]     5/18/2023 Bitcoin                                0.00101701 Customer Transfer
 Confidential Customer Coin Transferee #9697    [Address on File]     5/30/2023 Bitcoin                                0.00053644 Customer Transfer
 Confidential Customer Coin Transferee #9697    [Address on File]     5/17/2023 Bitcoin                                0.00048323 Customer Transfer
 Confidential Customer Coin Transferee #9697    [Address on File]     5/16/2023 Bitcoin                                0.00036605 Customer Transfer


 Confidential Customer Coin Transferee #9698    [Address on File]      6/1/2023 Tether USD                                 223.77 Customer Transfer


 Confidential Customer Coin Transferee #9699    [Address on File]     5/29/2023 Tether USD                                 590.86 Customer Transfer


 Confidential Customer Coin Transferee #9699    [Address on File]     5/17/2023 Tether USD                                 392.44 Customer Transfer


 Confidential Customer Coin Transferee #9699    [Address on File]      6/9/2023 Tether USD                                 293.05 Customer Transfer


 Confidential Customer Coin Transferee #9699    [Address on File]     6/18/2023 Tether USD                                 292.25 Customer Transfer


 Confidential Customer Coin Transferee #9699    [Address on File]      6/7/2023 Tether USD                                   94.32 Customer Transfer
 Confidential Customer Coin Transferee #9700    [Address on File]      6/8/2023 Tether USD                              1131.4581 Customer Transfer
 Confidential Customer Coin Transferee #9701    [Address on File]     5/24/2023 Bitcoin                                0.00003665 Customer Transfer
 Confidential Customer Coin Transferee #9702    [Address on File]     5/19/2023 Bitcoin                                0.01555637 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9703    [Address on File]     5/21/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #9704    [Address on File]     5/28/2023 Bitcoin                              0.0140501 Customer Transfer
 Confidential Customer Coin Transferee #9704    [Address on File]     5/16/2023 Bitcoin                              0.0091798 Customer Transfer
 Confidential Customer Coin Transferee #9704    [Address on File]     5/20/2023 Bitcoin                             0.00572993 Customer Transfer
 Confidential Customer Coin Transferee #9704    [Address on File]     5/30/2023 Bitcoin                             0.00089744 Customer Transfer
 Confidential Customer Coin Transferee #9704    [Address on File]     5/30/2023 Bitcoin                             0.00089743 Customer Transfer
 Confidential Customer Coin Transferee #9705    [Address on File]     5/24/2023 Bitcoin                             0.01106625 Customer Transfer
 Confidential Customer Coin Transferee #9706    [Address on File]     6/20/2023 Bitcoin                             0.00004341 Customer Transfer
 Confidential Customer Coin Transferee #9707    [Address on File]     5/21/2023 Bitcoin                             0.01011919 Customer Transfer
 Confidential Customer Coin Transferee #9708    [Address on File]     5/22/2023 Bitcoin                             0.10498733 Customer Transfer

 Confidential Customer Coin Transferee #9709    [Address on File]     5/20/2023 Bitcoin                                0.00891289 Customer Transfer

 Confidential Customer Coin Transferee #9709    [Address on File]     5/27/2023 Bitcoin                                0.00224323 Customer Transfer
 Confidential Customer Coin Transferee #9710    [Address on File]     6/20/2023 Bitcoin                                0.21947606 Customer Transfer
 Confidential Customer Coin Transferee #9711    [Address on File]     6/19/2023 Bitcoin                                0.00138459 Customer Transfer
 Confidential Customer Coin Transferee #9712    [Address on File]     5/29/2023 Bitcoin                                0.10057829 Customer Transfer
 Confidential Customer Coin Transferee #9713    [Address on File]     5/23/2023 Bitcoin                                0.01342747 Customer Transfer
 Confidential Customer Coin Transferee #9714    [Address on File]     6/19/2023 Bitcoin                                 0.0014935 Customer Transfer
 Confidential Customer Coin Transferee #9715    [Address on File]     6/20/2023 Bitcoin                                0.00035329 Customer Transfer
 Confidential Customer Coin Transferee #9716    [Address on File]     6/19/2023 Bitcoin                                0.01451293 Customer Transfer
 Confidential Customer Coin Transferee #9717    [Address on File]      6/6/2023 Ether                                     0.027978 Customer Transfer
 Confidential Customer Coin Transferee #9717    [Address on File]      6/6/2023 Bitcoin                                   0.001958 Customer Transfer
 Confidential Customer Coin Transferee #9718    [Address on File]     5/26/2023 Bitcoin                                0.00036867 Customer Transfer
 Confidential Customer Coin Transferee #9718    [Address on File]     5/19/2023 Bitcoin                                0.00036208 Customer Transfer
 Confidential Customer Coin Transferee #9719    [Address on File]     6/20/2023 Bitcoin                                0.00041362 Customer Transfer
 Confidential Customer Coin Transferee #9720    [Address on File]     5/17/2023 Bitcoin                                0.00168548 Customer Transfer
 Confidential Customer Coin Transferee #9721    [Address on File]      6/5/2023 Bitcoin                                0.00369946 Customer Transfer
 Confidential Customer Coin Transferee #9722    [Address on File]     5/28/2023 Bitcoin                                 0.0007649 Customer Transfer
 Confidential Customer Coin Transferee #9722    [Address on File]     5/22/2023 Bitcoin                                0.00037881 Customer Transfer
 Confidential Customer Coin Transferee #9722    [Address on File]     5/29/2023 Bitcoin                                 0.0003592 Customer Transfer
 Confidential Customer Coin Transferee #9722    [Address on File]     5/30/2023 Bitcoin                                0.00035903 Customer Transfer
 Confidential Customer Coin Transferee #9722    [Address on File]     5/29/2023 Bitcoin                                0.00035614 Customer Transfer
 Confidential Customer Coin Transferee #9722    [Address on File]     5/22/2023 Bitcoin                                0.00021823 Customer Transfer
 Confidential Customer Coin Transferee #9722    [Address on File]     5/26/2023 Bitcoin                                0.00003763 Customer Transfer
 Confidential Customer Coin Transferee #9722    [Address on File]     5/18/2023 Bitcoin                                0.00003649 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/23/2023 Bitcoin                             0.00076901 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/27/2023 Bitcoin                             0.00076075 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/16/2023 Bitcoin                             0.00075539 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/24/2023 Bitcoin                             0.00075166 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/27/2023 Bitcoin                             0.00074116 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/20/2023 Bitcoin                              0.0007399 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/17/2023 Bitcoin                             0.00054777 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/30/2023 Bitcoin                             0.00044807 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/31/2023 Bitcoin                             0.00044791 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/19/2023 Bitcoin                             0.00044594 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/18/2023 Bitcoin                             0.00043871 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/26/2023 Bitcoin                             0.00043245 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/20/2023 Bitcoin                             0.00042521 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/25/2023 Bitcoin                             0.00038006 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/27/2023 Bitcoin                             0.00037145 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/22/2023 Bitcoin                             0.00036577 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/25/2023 Bitcoin                             0.00035691 Customer Transfer
 Confidential Customer Coin Transferee #9723    [Address on File]     5/30/2023 Bitcoin                             0.00021515 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/23/2023 Bitcoin                             0.00037905 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/28/2023 Bitcoin                             0.00037534 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/23/2023 Bitcoin                             0.00037225 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/22/2023 Bitcoin                              0.0003715 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/29/2023 Bitcoin                             0.00037118 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/25/2023 Bitcoin                             0.00037045 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/26/2023 Bitcoin                             0.00036863 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/27/2023 Bitcoin                             0.00036843 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/20/2023 Bitcoin                             0.00036442 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/25/2023 Bitcoin                             0.00036301 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/19/2023 Bitcoin                             0.00036146 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/19/2023 Bitcoin                             0.00035903 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/17/2023 Bitcoin                             0.00034843 Customer Transfer
 Confidential Customer Coin Transferee #9724    [Address on File]     5/17/2023 Bitcoin                             0.00034434 Customer Transfer
 Confidential Customer Coin Transferee #9725    [Address on File]     5/26/2023 Bitcoin                             0.00094798 Customer Transfer
 Confidential Customer Coin Transferee #9725    [Address on File]     5/19/2023 Bitcoin                             0.00094551 Customer Transfer
 Confidential Customer Coin Transferee #9725    [Address on File]     5/24/2023 Bitcoin                             0.00040197 Customer Transfer
 Confidential Customer Coin Transferee #9725    [Address on File]     5/28/2023 Bitcoin                              0.0003822 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9725    [Address on File]     5/29/2023 Bitcoin                             0.00037756 Customer Transfer
 Confidential Customer Coin Transferee #9725    [Address on File]     5/21/2023 Bitcoin                             0.00037083 Customer Transfer
 Confidential Customer Coin Transferee #9725    [Address on File]     5/28/2023 Bitcoin                             0.00037028 Customer Transfer
 Confidential Customer Coin Transferee #9726    [Address on File]     6/19/2023 Bitcoin                             0.00055821 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/25/2023 Bitcoin                             0.00296412 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/26/2023 Bitcoin                             0.00294635 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/27/2023 Bitcoin                             0.00290855 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/24/2023 Bitcoin                             0.00290642 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/20/2023 Bitcoin                             0.00289298 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/22/2023 Bitcoin                             0.00289141 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/19/2023 Bitcoin                                0.002889 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/17/2023 Bitcoin                             0.00288217 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/16/2023 Bitcoin                             0.00287349 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/21/2023 Bitcoin                             0.00286962 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/31/2023 Bitcoin                             0.00286662 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/28/2023 Bitcoin                             0.00286057 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/18/2023 Bitcoin                             0.00286026 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/23/2023 Bitcoin                             0.00283727 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/30/2023 Bitcoin                             0.00280088 Customer Transfer
 Confidential Customer Coin Transferee #9727    [Address on File]     5/29/2023 Bitcoin                             0.00277636 Customer Transfer
 Confidential Customer Coin Transferee #9728    [Address on File]     6/19/2023 Bitcoin                             0.00040944 Customer Transfer
 Confidential Customer Coin Transferee #9729    [Address on File]     5/25/2023 Bitcoin                             0.01087913 Customer Transfer

 Confidential Customer Coin Transferee #9730    [Address on File]     5/23/2023 USDC Solana)                                   10 Customer Transfer
 Confidential Customer Coin Transferee #9731    [Address on File]     6/14/2023 Tether USD                                    630 Customer Transfer

 Confidential Customer Coin Transferee #9732    [Address on File]     5/19/2023 Litecoin                               0.10136515 Customer Transfer

 Confidential Customer Coin Transferee #9732    [Address on File]     5/19/2023 Ether                                  0.02338323 Customer Transfer

 Confidential Customer Coin Transferee #9732    [Address on File]     5/19/2023 Bitcoin                                0.00157702 Customer Transfer
 Confidential Customer Coin Transferee #9733    [Address on File]     5/21/2023 Bitcoin                                0.03022649 Customer Transfer
 Confidential Customer Coin Transferee #9734    [Address on File]     5/18/2023 Bitcoin                                0.10180819 Customer Transfer
 Confidential Customer Coin Transferee #9734    [Address on File]     5/20/2023 Bitcoin                                   0.005755 Customer Transfer
 Confidential Customer Coin Transferee #9735    [Address on File]     5/19/2023 Bitcoin                                0.00130378 Customer Transfer
 Confidential Customer Coin Transferee #9735    [Address on File]     5/26/2023 Bitcoin                                0.00113477 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9736    [Address on File]     6/19/2023 Bitcoin                             0.00577538 Customer Transfer
 Confidential Customer Coin Transferee #9737    [Address on File]     6/20/2023 Bitcoin                              0.0000938 Customer Transfer
 Confidential Customer Coin Transferee #9738    [Address on File]      6/7/2023 Tether USD                           2676.6746 Customer Transfer

 Confidential Customer Coin Transferee #9739    [Address on File]      6/5/2023 Bitcoin                                0.00006099 Customer Transfer
 Confidential Customer Coin Transferee #9740    [Address on File]     5/22/2023 Bitcoin                                0.00837809 Customer Transfer
 Confidential Customer Coin Transferee #9740    [Address on File]     5/25/2023 Bitcoin                                0.00288639 Customer Transfer
 Confidential Customer Coin Transferee #9740    [Address on File]     5/24/2023 Bitcoin                                0.00189457 Customer Transfer
 Confidential Customer Coin Transferee #9740    [Address on File]     5/26/2023 Bitcoin                                0.00189447 Customer Transfer
 Confidential Customer Coin Transferee #9740    [Address on File]     5/28/2023 Bitcoin                                0.00187282 Customer Transfer
 Confidential Customer Coin Transferee #9740    [Address on File]     5/23/2023 Bitcoin                                0.00184315 Customer Transfer
 Confidential Customer Coin Transferee #9740    [Address on File]     5/30/2023 Bitcoin                                0.00182112 Customer Transfer
 Confidential Customer Coin Transferee #9740    [Address on File]     5/29/2023 Bitcoin                                0.00182037 Customer Transfer
 Confidential Customer Coin Transferee #9741    [Address on File]     5/21/2023 Bitcoin                                0.00178465 Customer Transfer
 Confidential Customer Coin Transferee #9742    [Address on File]     6/13/2023 Bitcoin                                0.00083817 Customer Transfer
 Confidential Customer Coin Transferee #9742    [Address on File]     5/16/2023 Bitcoin                                0.00083472 Customer Transfer
 Confidential Customer Coin Transferee #9742    [Address on File]      6/1/2023 Bitcoin                                0.00067234 Customer Transfer
 Confidential Customer Coin Transferee #9742    [Address on File]      6/6/2023 Bitcoin                                0.00056077 Customer Transfer
 Confidential Customer Coin Transferee #9742    [Address on File]     6/19/2023 Bitcoin                                0.00031618 Customer Transfer
 Confidential Customer Coin Transferee #9743    [Address on File]     6/19/2023 Bitcoin                                0.00244403 Customer Transfer
 Confidential Customer Coin Transferee #9744    [Address on File]     5/30/2023 Bitcoin                                0.02492642 Customer Transfer
 Confidential Customer Coin Transferee #9744    [Address on File]     6/19/2023 Bitcoin                                0.00215336 Customer Transfer
 Confidential Customer Coin Transferee #9745    [Address on File]     6/20/2023 Bitcoin                                0.00609141 Customer Transfer
 Confidential Customer Coin Transferee #9746    [Address on File]     5/20/2023 Bitcoin                                0.00357465 Customer Transfer

 Confidential Customer Coin Transferee #9747    [Address on File]     6/21/2023 Bitcoin                                0.06932303 Customer Transfer

 Confidential Customer Coin Transferee #9747    [Address on File]     6/20/2023 Bitcoin                                0.03712056 Customer Transfer
 Confidential Customer Coin Transferee #9748    [Address on File]     6/19/2023 Bitcoin                                0.00030196 Customer Transfer
 Confidential Customer Coin Transferee #9749    [Address on File]     6/19/2023 Bitcoin                                0.00005806 Customer Transfer
 Confidential Customer Coin Transferee #9750    [Address on File]     5/20/2023 Bitcoin                                     0.0023 Customer Transfer
 Confidential Customer Coin Transferee #9751    [Address on File]     5/17/2023 Bitcoin                                0.01029182 Customer Transfer
 Confidential Customer Coin Transferee #9752    [Address on File]     6/19/2023 Bitcoin                                0.00088984 Customer Transfer
 Confidential Customer Coin Transferee #9753    [Address on File]     5/23/2023 Bitcoin                                0.00093288 Customer Transfer
 Confidential Customer Coin Transferee #9753    [Address on File]     5/16/2023 Bitcoin                                0.00084363 Customer Transfer
 Confidential Customer Coin Transferee #9754    [Address on File]      6/1/2023 Bitcoin                                 0.0151346 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9755    [Address on File]     6/19/2023 Bitcoin                             0.00807777 Customer Transfer
 Confidential Customer Coin Transferee #9756    [Address on File]     5/21/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #9756    [Address on File]     5/26/2023 Bitcoin                                     0.06 Customer Transfer
 Confidential Customer Coin Transferee #9756    [Address on File]     5/16/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #9757    [Address on File]     6/20/2023 Bitcoin                             0.00046283 Customer Transfer
 Confidential Customer Coin Transferee #9758    [Address on File]     5/25/2023 Bitcoin                             0.00618333 Customer Transfer
 Confidential Customer Coin Transferee #9758    [Address on File]     6/20/2023 Bitcoin                             0.00227126 Customer Transfer
 Confidential Customer Coin Transferee #9759    [Address on File]     5/18/2023 Bitcoin                             0.00138824 Customer Transfer
 Confidential Customer Coin Transferee #9760    [Address on File]     5/18/2023 Bitcoin                             0.00374771 Customer Transfer
 Confidential Customer Coin Transferee #9761    [Address on File]     5/27/2023 Bitcoin                             0.01074061 Customer Transfer
 Confidential Customer Coin Transferee #9761    [Address on File]     5/21/2023 Bitcoin                             0.01034998 Customer Transfer
 Confidential Customer Coin Transferee #9762    [Address on File]     5/18/2023 Bitcoin                                  0.0109 Customer Transfer
 Confidential Customer Coin Transferee #9763    [Address on File]     5/18/2023 Bitcoin                             0.00546122 Customer Transfer
 Confidential Customer Coin Transferee #9764    [Address on File]     5/27/2023 Bitcoin                             0.01472585 Customer Transfer
 Confidential Customer Coin Transferee #9764    [Address on File]     5/20/2023 Bitcoin                             0.01226388 Customer Transfer
 Confidential Customer Coin Transferee #9765    [Address on File]     5/26/2023 Bitcoin                             0.00036809 Customer Transfer
 Confidential Customer Coin Transferee #9765    [Address on File]     5/19/2023 Bitcoin                             0.00035024 Customer Transfer
 Confidential Customer Coin Transferee #9766    [Address on File]     5/18/2023 Bitcoin                             0.01747425 Customer Transfer
 Confidential Customer Coin Transferee #9767    [Address on File]     5/27/2023 Bitcoin                             0.01049749 Customer Transfer
 Confidential Customer Coin Transferee #9768    [Address on File]     6/20/2023 Bitcoin                              0.0003193 Customer Transfer
 Confidential Customer Coin Transferee #9769    [Address on File]     5/31/2023 Bitcoin                             0.00362049 Customer Transfer
 Confidential Customer Coin Transferee #9770    [Address on File]     5/24/2023 Bitcoin                             0.00834719 Customer Transfer
 Confidential Customer Coin Transferee #9770    [Address on File]     5/26/2023 Bitcoin                             0.00255374 Customer Transfer
 Confidential Customer Coin Transferee #9770    [Address on File]     5/30/2023 Bitcoin                             0.00182232 Customer Transfer
 Confidential Customer Coin Transferee #9770    [Address on File]     5/28/2023 Bitcoin                             0.00166292 Customer Transfer
 Confidential Customer Coin Transferee #9771    [Address on File]     5/18/2023 Bitcoin                             0.00872305 Customer Transfer

 Confidential Customer Coin Transferee #9772    [Address on File]     6/20/2023 Tether USD                                  29995 Customer Transfer
 Confidential Customer Coin Transferee #9773    [Address on File]      6/8/2023 Tether USD                                   2000 Customer Transfer
 Confidential Customer Coin Transferee #9773    [Address on File]      6/1/2023 Tether USD                                   1000 Customer Transfer
 Confidential Customer Coin Transferee #9773    [Address on File]     6/10/2023 Tether USD                                    495 Customer Transfer
 Confidential Customer Coin Transferee #9773    [Address on File]     5/16/2023 Tether USD                                    480 Customer Transfer
 Confidential Customer Coin Transferee #9773    [Address on File]     5/16/2023 Tether USD                                    450 Customer Transfer
 Confidential Customer Coin Transferee #9774    [Address on File]     5/18/2023 Tether USD                              5956.0594 Customer Transfer
 Confidential Customer Coin Transferee #9775    [Address on File]     6/20/2023 Bitcoin                                0.00315494 Customer Transfer
 Confidential Customer Coin Transferee #9776    [Address on File]     6/20/2023 Bitcoin                                0.09546208 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9777    [Address on File]      6/9/2023 Bitcoin                             0.00012994 Customer Transfer
 Confidential Customer Coin Transferee #9778    [Address on File]      6/8/2023 USD Coin                            52907.7307 Customer Transfer
 Confidential Customer Coin Transferee #9778    [Address on File]      6/8/2023 Tether USD                          10027.4372 Customer Transfer
 Confidential Customer Coin Transferee #9779    [Address on File]     6/20/2023 Bitcoin                             0.00057882 Customer Transfer
 Confidential Customer Coin Transferee #9780    [Address on File]     5/16/2023 Bitcoin                             0.49952148 Customer Transfer
 Confidential Customer Coin Transferee #9781    [Address on File]     5/23/2023 Bitcoin                             0.05108621 Customer Transfer

 Confidential Customer Coin Transferee #9782    [Address on File]     5/16/2023 Tether USD                                   1595 Customer Transfer

 Confidential Customer Coin Transferee #9782    [Address on File]     6/15/2023 Tether USD                               493.0455 Customer Transfer
 Confidential Customer Coin Transferee #9783    [Address on File]     5/19/2023 Bitcoin                                0.00048314 Customer Transfer
 Confidential Customer Coin Transferee #9783    [Address on File]     5/19/2023 Bitcoin                                0.00048081 Customer Transfer
 Confidential Customer Coin Transferee #9784    [Address on File]     5/25/2023 Bitcoin                                0.03801645 Customer Transfer
 Confidential Customer Coin Transferee #9785    [Address on File]     6/19/2023 Bitcoin                                0.00005816 Customer Transfer
 Confidential Customer Coin Transferee #9786    [Address on File]     6/19/2023 Bitcoin                                0.00005813 Customer Transfer
 Confidential Customer Coin Transferee #9787    [Address on File]     6/20/2023 Bitcoin                                0.00040536 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/17/2023 Bitcoin                                      0.0007 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/19/2023 Bitcoin                                0.00051701 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/26/2023 Bitcoin                                0.00041568 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/28/2023 Bitcoin                                0.00040761 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/27/2023 Bitcoin                                0.00040315 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/22/2023 Bitcoin                                      0.0004 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/18/2023 Bitcoin                                0.00037705 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/19/2023 Bitcoin                                   0.000365 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/24/2023 Bitcoin                                    0.00036 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/24/2023 Bitcoin                                0.00035559 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/17/2023 Bitcoin                                    0.00035 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/18/2023 Bitcoin                                    0.00035 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/18/2023 Bitcoin                                    0.00035 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/26/2023 Bitcoin                                    0.00035 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/26/2023 Bitcoin                                    0.00035 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/26/2023 Bitcoin                                    0.00035 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/30/2023 Bitcoin                                    0.00035 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/17/2023 Bitcoin                                0.00034689 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/17/2023 Bitcoin                                0.00034499 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/28/2023 Bitcoin                                    0.00034 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/28/2023 Bitcoin                                 0.00034 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/22/2023 Bitcoin                             0.00032519 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/29/2023 Bitcoin                             0.00032056 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/24/2023 Bitcoin                                 0.00031 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/18/2023 Bitcoin                             0.00030945 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/18/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/28/2023 Bitcoin                                0.000295 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/18/2023 Bitcoin                             0.00025906 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/18/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/29/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/30/2023 Bitcoin                             0.00019152 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/29/2023 Bitcoin                                 0.00018 Customer Transfer
 Confidential Customer Coin Transferee #9788    [Address on File]     5/30/2023 Bitcoin                                0.000175 Customer Transfer

 Confidential Customer Coin Transferee #9789    [Address on File]      6/8/2023 Tether USD                              1485.1186 Customer Transfer
 Confidential Customer Coin Transferee #9790    [Address on File]     5/17/2023 Bitcoin                                 0.0033947 Customer Transfer


 Confidential Customer Coin Transferee #9791    [Address on File]     6/13/2023 Tether USD                                 1480.27 Customer Transfer
 Confidential Customer Coin Transferee #9792    [Address on File]     5/23/2023 Bitcoin                                0.27472278 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/27/2023 Bitcoin                                0.00185864 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/16/2023 Bitcoin                                0.00183317 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/16/2023 Bitcoin                                0.00182792 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/27/2023 Bitcoin                                0.00167354 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/23/2023 Bitcoin                                0.00164585 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/27/2023 Bitcoin                                0.00148866 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/27/2023 Bitcoin                                0.00148557 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/26/2023 Bitcoin                                 0.0014849 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/16/2023 Bitcoin                                0.00147242 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/16/2023 Bitcoin                                0.00147125 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/16/2023 Bitcoin                                0.00147102 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/27/2023 Bitcoin                                0.00130561 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/27/2023 Bitcoin                                0.00130079 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/27/2023 Bitcoin                                0.00130017 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/17/2023 Bitcoin                                0.00128302 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/27/2023 Bitcoin                                 0.0011156 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/26/2023 Bitcoin                             0.00111534 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/26/2023 Bitcoin                             0.00111401 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/16/2023 Bitcoin                              0.0011071 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/16/2023 Bitcoin                             0.00110383 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/17/2023 Bitcoin                             0.00110311 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/17/2023 Bitcoin                             0.00110209 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/23/2023 Bitcoin                             0.00109796 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/22/2023 Bitcoin                             0.00088739 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/17/2023 Bitcoin                             0.00085307 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/28/2023 Bitcoin                             0.00070322 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/28/2023 Bitcoin                              0.0006858 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/18/2023 Bitcoin                             0.00065549 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/28/2023 Bitcoin                             0.00051155 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/27/2023 Bitcoin                              0.0004173 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/20/2023 Bitcoin                             0.00034242 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/23/2023 Bitcoin                             0.00027411 Customer Transfer
 Confidential Customer Coin Transferee #9793    [Address on File]     5/27/2023 Bitcoin                                0.000093 Customer Transfer
 Confidential Customer Coin Transferee #9794    [Address on File]     5/19/2023 Bitcoin                             0.22235221 Customer Transfer
 Confidential Customer Coin Transferee #9794    [Address on File]     5/25/2023 Bitcoin                                 0.19223 Customer Transfer
 Confidential Customer Coin Transferee #9794    [Address on File]     5/27/2023 Bitcoin                              0.1830349 Customer Transfer
 Confidential Customer Coin Transferee #9794    [Address on File]     5/22/2023 Bitcoin                             0.14780143 Customer Transfer
 Confidential Customer Coin Transferee #9795    [Address on File]     5/24/2023 Bitcoin                             0.01362975 Customer Transfer

 Confidential Customer Coin Transferee #9796    [Address on File]     6/19/2023 Bitcoin                                0.00511049 Customer Transfer
 Confidential Customer Coin Transferee #9797    [Address on File]     6/15/2023 Bitcoin                                0.03943979 Customer Transfer
 Confidential Customer Coin Transferee #9798    [Address on File]     5/22/2023 Bitcoin                                0.04144766 Customer Transfer
 Confidential Customer Coin Transferee #9799    [Address on File]      6/9/2023 Bitcoin                                0.00044739 Customer Transfer
 Confidential Customer Coin Transferee #9800    [Address on File]     5/18/2023 Bitcoin                                0.51181695 Customer Transfer
 Confidential Customer Coin Transferee #9800    [Address on File]     5/31/2023 Bitcoin                                0.08974972 Customer Transfer
 Confidential Customer Coin Transferee #9801    [Address on File]     5/17/2023 Bitcoin                                0.00087621 Customer Transfer
 Confidential Customer Coin Transferee #9802    [Address on File]     5/17/2023 Bitcoin                                0.01296875 Customer Transfer
 Confidential Customer Coin Transferee #9803    [Address on File]     5/22/2023 Bitcoin                                0.00370214 Customer Transfer
 Confidential Customer Coin Transferee #9803    [Address on File]     5/30/2023 Bitcoin                                0.00100468 Customer Transfer
 Confidential Customer Coin Transferee #9803    [Address on File]     5/20/2023 Bitcoin                                0.00074072 Customer Transfer
 Confidential Customer Coin Transferee #9804    [Address on File]     5/24/2023 Bitcoin                                0.04002128 Customer Transfer
 Confidential Customer Coin Transferee #9805    [Address on File]     5/19/2023 Bitcoin                                0.01108223 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #9805    [Address on File]     5/18/2023 Bitcoin                             0.00934666 Customer Transfer
 Confidential Customer Coin Transferee #9806    [Address on File]     5/26/2023 Bitcoin                             0.03740874 Customer Transfer
 Confidential Customer Coin Transferee #9806    [Address on File]     5/17/2023 Bitcoin                             0.03699993 Customer Transfer
 Confidential Customer Coin Transferee #9806    [Address on File]     5/31/2023 Bitcoin                             0.03691175 Customer Transfer

 Confidential Customer Coin Transferee #9807    [Address on File]     5/19/2023 Bitcoin                                0.97909942 Customer Transfer
 Confidential Customer Coin Transferee #9808    [Address on File]     6/20/2023 Cosmos Hub ATOM)                        23.090482 Customer Transfer
 Confidential Customer Coin Transferee #9808    [Address on File]     6/12/2023 Solana                                  12.994743 Customer Transfer
 Confidential Customer Coin Transferee #9808    [Address on File]      6/5/2023 Cosmos Hub ATOM)                         7.264252 Customer Transfer
 Confidential Customer Coin Transferee #9808    [Address on File]     6/10/2023 Cosmos Hub ATOM)                          6.08912 Customer Transfer
 Confidential Customer Coin Transferee #9809    [Address on File]     6/20/2023 Bitcoin                                0.00057939 Customer Transfer
 Confidential Customer Coin Transferee #9810    [Address on File]     6/19/2023 Bitcoin                                 0.0010298 Customer Transfer
 Confidential Customer Coin Transferee #9811    [Address on File]     6/20/2023 Bitcoin                                0.00069657 Customer Transfer
 Confidential Customer Coin Transferee #9812    [Address on File]     5/29/2023 Bitcoin                                0.01009378 Customer Transfer
 Confidential Customer Coin Transferee #9813    [Address on File]     5/23/2023 Bitcoin                                0.01050774 Customer Transfer
 Confidential Customer Coin Transferee #9814    [Address on File]     5/22/2023 Bitcoin                                0.00031503 Customer Transfer
 Confidential Customer Coin Transferee #9815    [Address on File]     6/19/2023 Bitcoin                                0.00015293 Customer Transfer
 Confidential Customer Coin Transferee #9816    [Address on File]     5/25/2023 Bitcoin                                0.00185333 Customer Transfer
 Confidential Customer Coin Transferee #9816    [Address on File]     5/18/2023 Bitcoin                                0.00173791 Customer Transfer
 Confidential Customer Coin Transferee #9817    [Address on File]     5/16/2023 Bitcoin                                0.00424132 Customer Transfer
 Confidential Customer Coin Transferee #9818    [Address on File]     5/16/2023 Bitcoin                                0.27511005 Customer Transfer
 Confidential Customer Coin Transferee #9818    [Address on File]     5/23/2023 Bitcoin                                0.22386101 Customer Transfer
 Confidential Customer Coin Transferee #9818    [Address on File]     5/21/2023 Bitcoin                                0.21291436 Customer Transfer
 Confidential Customer Coin Transferee #9819    [Address on File]     6/20/2023 Bitcoin                                0.00145639 Customer Transfer
 Confidential Customer Coin Transferee #9820    [Address on File]     6/20/2023 Bitcoin                                0.00281117 Customer Transfer
 Confidential Customer Coin Transferee #9821    [Address on File]     5/25/2023 Bitcoin                                0.00393573 Customer Transfer
 Confidential Customer Coin Transferee #9821    [Address on File]     5/30/2023 Bitcoin                                 0.0007475 Customer Transfer
 Confidential Customer Coin Transferee #9821    [Address on File]     5/26/2023 Bitcoin                                0.00037038 Customer Transfer
 Confidential Customer Coin Transferee #9822    [Address on File]     5/24/2023 Bitcoin                                0.01052036 Customer Transfer

 Confidential Customer Coin Transferee #9823    [Address on File]     6/21/2023 Bitcoin                                0.02673969 Customer Transfer

 Confidential Customer Coin Transferee #9823    [Address on File]     6/19/2023 Bitcoin                                0.00379346 Customer Transfer

 Confidential Customer Coin Transferee #9823    [Address on File]     6/14/2023 Bitcoin                                 0.0000361 Customer Transfer
 Confidential Customer Coin Transferee #9824    [Address on File]     6/19/2023 Bitcoin                                0.00366875 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #9825    [Address on File]      6/1/2023 USD Coin                                     491 Customer Transfer
 Confidential Customer Coin Transferee #9825    [Address on File]     6/13/2023 Tether USD                               144.39 Customer Transfer
 Confidential Customer Coin Transferee #9825    [Address on File]     6/12/2023 Tether USD                                   144 Customer Transfer
 Confidential Customer Coin Transferee #9826    [Address on File]     6/20/2023 Bitcoin                             0.00039225 Customer Transfer
 Confidential Customer Coin Transferee #9827    [Address on File]     5/16/2023 Bitcoin                              0.0027104 Customer Transfer
 Confidential Customer Coin Transferee #9828    [Address on File]     6/15/2023 USDC Avalanche)                     193.331333 Customer Transfer
 Confidential Customer Coin Transferee #9828    [Address on File]     6/12/2023 USDC Avalanche)                     123.588205 Customer Transfer
 Confidential Customer Coin Transferee #9829    [Address on File]     5/27/2023 Bitcoin                             0.00596296 Customer Transfer
 Confidential Customer Coin Transferee #9830    [Address on File]     5/20/2023 Bitcoin                                   0.0066 Customer Transfer
 Confidential Customer Coin Transferee #9831    [Address on File]     5/21/2023 Bitcoin                             0.00074365 Customer Transfer
 Confidential Customer Coin Transferee #9831    [Address on File]     5/20/2023 Bitcoin                                0.000741 Customer Transfer
 Confidential Customer Coin Transferee #9832    [Address on File]     5/24/2023 Bitcoin                             0.00378191 Customer Transfer
 Confidential Customer Coin Transferee #9833    [Address on File]     5/25/2023 Bitcoin                             0.01340462 Customer Transfer
 Confidential Customer Coin Transferee #9833    [Address on File]     5/23/2023 Bitcoin                             0.01279626 Customer Transfer
 Confidential Customer Coin Transferee #9833    [Address on File]     5/27/2023 Bitcoin                             0.00825514 Customer Transfer
 Confidential Customer Coin Transferee #9833    [Address on File]     5/28/2023 Bitcoin                             0.00784387 Customer Transfer
 Confidential Customer Coin Transferee #9834    [Address on File]     5/18/2023 Bitcoin                             0.00182955 Customer Transfer
 Confidential Customer Coin Transferee #9834    [Address on File]     5/21/2023 Bitcoin                             0.00036958 Customer Transfer
 Confidential Customer Coin Transferee #9834    [Address on File]     5/22/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #9834    [Address on File]     5/22/2023 Bitcoin                             0.00015492 Customer Transfer
 Confidential Customer Coin Transferee #9834    [Address on File]     5/22/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #9834    [Address on File]     5/22/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #9835    [Address on File]     5/20/2023 Bitcoin                             0.00369631 Customer Transfer
 Confidential Customer Coin Transferee #9835    [Address on File]     5/17/2023 Bitcoin                             0.00367001 Customer Transfer
 Confidential Customer Coin Transferee #9836    [Address on File]     5/24/2023 Bitcoin                             0.00277736 Customer Transfer
 Confidential Customer Coin Transferee #9837    [Address on File]     5/23/2023 Bitcoin                              0.0057336 Customer Transfer
 Confidential Customer Coin Transferee #9838    [Address on File]     5/19/2023 Bitcoin                             0.01849791 Customer Transfer
 Confidential Customer Coin Transferee #9838    [Address on File]     5/22/2023 Bitcoin                             0.01113464 Customer Transfer
 Confidential Customer Coin Transferee #9838    [Address on File]     5/26/2023 Bitcoin                              0.0087296 Customer Transfer
 Confidential Customer Coin Transferee #9838    [Address on File]     5/20/2023 Bitcoin                             0.00735631 Customer Transfer
 Confidential Customer Coin Transferee #9839    [Address on File]     6/19/2023 Bitcoin                             0.00057811 Customer Transfer
 Confidential Customer Coin Transferee #9840    [Address on File]     5/26/2023 Bitcoin                                    0.226 Customer Transfer
 Confidential Customer Coin Transferee #9840    [Address on File]     5/24/2023 Bitcoin                                      0.19 Customer Transfer
 Confidential Customer Coin Transferee #9841    [Address on File]     5/24/2023 Bitcoin                             0.04254225 Customer Transfer
 Confidential Customer Coin Transferee #9842    [Address on File]     5/24/2023 Bitcoin                             0.00366257 Customer Transfer
 Confidential Customer Coin Transferee #9842    [Address on File]     5/30/2023 Bitcoin                             0.00355896 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9843    [Address on File]     5/17/2023 Bitcoin                             0.00446006 Customer Transfer
 Confidential Customer Coin Transferee #9844    [Address on File]     5/29/2023 Bitcoin                             0.03043572 Customer Transfer
 Confidential Customer Coin Transferee #9844    [Address on File]     5/29/2023 Bitcoin                             0.02327164 Customer Transfer
 Confidential Customer Coin Transferee #9844    [Address on File]     5/30/2023 Bitcoin                             0.01038462 Customer Transfer
 Confidential Customer Coin Transferee #9844    [Address on File]     5/29/2023 Bitcoin                              0.0103043 Customer Transfer
 Confidential Customer Coin Transferee #9845    [Address on File]     5/20/2023 Bitcoin                             0.00553794 Customer Transfer
 Confidential Customer Coin Transferee #9846    [Address on File]     6/20/2023 Bitcoin                             0.00331244 Customer Transfer
 Confidential Customer Coin Transferee #9847    [Address on File]     5/29/2023 Bitcoin                             0.01051758 Customer Transfer
 Confidential Customer Coin Transferee #9848    [Address on File]     5/17/2023 Bitcoin                             0.00140822 Customer Transfer
 Confidential Customer Coin Transferee #9849    [Address on File]     5/23/2023 Bitcoin                             0.01652843 Customer Transfer
 Confidential Customer Coin Transferee #9849    [Address on File]     5/29/2023 Bitcoin                                0.011137 Customer Transfer
 Confidential Customer Coin Transferee #9849    [Address on File]     5/18/2023 Bitcoin                             0.01102389 Customer Transfer
 Confidential Customer Coin Transferee #9849    [Address on File]     5/26/2023 Bitcoin                             0.00931822 Customer Transfer
 Confidential Customer Coin Transferee #9850    [Address on File]     5/16/2023 Bitcoin                             0.01839804 Customer Transfer
 Confidential Customer Coin Transferee #9851    [Address on File]     5/23/2023 Bitcoin                             0.03810975 Customer Transfer
 Confidential Customer Coin Transferee #9852    [Address on File]     5/16/2023 Bitcoin                             0.11021173 Customer Transfer
 Confidential Customer Coin Transferee #9852    [Address on File]     5/19/2023 Bitcoin                             0.03706756 Customer Transfer
 Confidential Customer Coin Transferee #9853    [Address on File]     5/30/2023 Bitcoin                              0.0556325 Customer Transfer
 Confidential Customer Coin Transferee #9854    [Address on File]     6/19/2023 Bitcoin                             0.00203545 Customer Transfer
 Confidential Customer Coin Transferee #9855    [Address on File]     5/20/2023 Bitcoin                             0.02386612 Customer Transfer
 Confidential Customer Coin Transferee #9856    [Address on File]     5/25/2023 Bitcoin                             0.00393614 Customer Transfer
 Confidential Customer Coin Transferee #9857    [Address on File]     5/18/2023 Bitcoin                             0.02066495 Customer Transfer
 Confidential Customer Coin Transferee #9858    [Address on File]     5/21/2023 Bitcoin                             0.05974506 Customer Transfer
 Confidential Customer Coin Transferee #9859    [Address on File]     5/29/2023 Bitcoin                             0.00114907 Customer Transfer
 Confidential Customer Coin Transferee #9859    [Address on File]     6/13/2023 Bitcoin                             0.00038413 Customer Transfer
 Confidential Customer Coin Transferee #9860    [Address on File]     5/19/2023 Bitcoin                             0.01929967 Customer Transfer
 Confidential Customer Coin Transferee #9861    [Address on File]     5/18/2023 Bitcoin                             0.00371368 Customer Transfer
 Confidential Customer Coin Transferee #9862    [Address on File]     5/31/2023 Bitcoin                             0.01080402 Customer Transfer
 Confidential Customer Coin Transferee #9863    [Address on File]     5/24/2023 Bitcoin                             0.02242002 Customer Transfer
 Confidential Customer Coin Transferee #9864    [Address on File]     5/18/2023 Bitcoin                              0.0138829 Customer Transfer
 Confidential Customer Coin Transferee #9865    [Address on File]     5/25/2023 Bitcoin                                    0.009 Customer Transfer
 Confidential Customer Coin Transferee #9866    [Address on File]     5/24/2023 Bitcoin                             0.03762815 Customer Transfer
 Confidential Customer Coin Transferee #9866    [Address on File]     5/18/2023 Bitcoin                             0.03636666 Customer Transfer
 Confidential Customer Coin Transferee #9867    [Address on File]     5/29/2023 Bitcoin                                     0.09 Customer Transfer
 Confidential Customer Coin Transferee #9868    [Address on File]      6/5/2023 Bitcoin                             0.00996005 Customer Transfer
 Confidential Customer Coin Transferee #9869    [Address on File]     6/19/2023 Bitcoin                             0.03631599 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9870    [Address on File]     6/16/2023 Bitcoin                             0.00051107 Customer Transfer
 Confidential Customer Coin Transferee #9871    [Address on File]     6/20/2023 Bitcoin                             0.00048416 Customer Transfer
 Confidential Customer Coin Transferee #9872    [Address on File]     5/20/2023 Bitcoin                             0.01953277 Customer Transfer
 Confidential Customer Coin Transferee #9873    [Address on File]     6/20/2023 Bitcoin                             0.00055857 Customer Transfer
 Confidential Customer Coin Transferee #9874    [Address on File]     5/22/2023 Bitcoin                              0.3749211 Customer Transfer
 Confidential Customer Coin Transferee #9875    [Address on File]     5/18/2023 Bitcoin                                   0.003 Customer Transfer
 Confidential Customer Coin Transferee #9875    [Address on File]     5/19/2023 Bitcoin                             0.00289729 Customer Transfer
 Confidential Customer Coin Transferee #9876    [Address on File]     6/19/2023 Bitcoin                             0.00240728 Customer Transfer
 Confidential Customer Coin Transferee #9877    [Address on File]     5/24/2023 Bitcoin                             0.00072681 Customer Transfer
 Confidential Customer Coin Transferee #9877    [Address on File]     5/25/2023 Bitcoin                             0.00036761 Customer Transfer
 Confidential Customer Coin Transferee #9878    [Address on File]     6/20/2023 Bitcoin                              0.0028884 Customer Transfer
 Confidential Customer Coin Transferee #9879    [Address on File]     6/19/2023 Bitcoin                             0.00058113 Customer Transfer
 Confidential Customer Coin Transferee #9879    [Address on File]     5/16/2023 Bitcoin                             0.00040898 Customer Transfer
 Confidential Customer Coin Transferee #9879    [Address on File]      6/5/2023 Bitcoin                             0.00033649 Customer Transfer
 Confidential Customer Coin Transferee #9880    [Address on File]     6/19/2023 Bitcoin                             0.00035249 Customer Transfer
 Confidential Customer Coin Transferee #9881    [Address on File]      6/8/2023 USDC Solana)                                 10 Customer Transfer
 Confidential Customer Coin Transferee #9882    [Address on File]     5/25/2023 Bitcoin                             0.01793483 Customer Transfer
 Confidential Customer Coin Transferee #9882    [Address on File]     5/18/2023 Bitcoin                             0.01704009 Customer Transfer
 Confidential Customer Coin Transferee #9883    [Address on File]     5/26/2023 Bitcoin                             0.00222126 Customer Transfer
 Confidential Customer Coin Transferee #9883    [Address on File]     5/19/2023 Bitcoin                             0.00207531 Customer Transfer
 Confidential Customer Coin Transferee #9884    [Address on File]     5/23/2023 Bitcoin                             0.01857923 Customer Transfer
 Confidential Customer Coin Transferee #9885    [Address on File]     6/20/2023 Bitcoin                             0.01937967 Customer Transfer
 Confidential Customer Coin Transferee #9886    [Address on File]     6/20/2023 Bitcoin                             0.00073989 Customer Transfer
 Confidential Customer Coin Transferee #9887    [Address on File]     5/23/2023 Bitcoin                             0.01015664 Customer Transfer
 Confidential Customer Coin Transferee #9888    [Address on File]      6/9/2023 Bitcoin                             0.00629076 Customer Transfer
 Confidential Customer Coin Transferee #9889    [Address on File]     6/19/2023 Bitcoin                             0.00035276 Customer Transfer
 Confidential Customer Coin Transferee #9890    [Address on File]     5/19/2023 Bitcoin                             0.02336972 Customer Transfer
 Confidential Customer Coin Transferee #9890    [Address on File]     6/20/2023 Bitcoin                             0.00036759 Customer Transfer
 Confidential Customer Coin Transferee #9891    [Address on File]     6/17/2023 USD Coin                            382.320111 Customer Transfer
 Confidential Customer Coin Transferee #9891    [Address on File]     6/18/2023 USD Coin                            191.198165 Customer Transfer
 Confidential Customer Coin Transferee #9892    [Address on File]     6/19/2023 Bitcoin                             0.00005826 Customer Transfer
 Confidential Customer Coin Transferee #9893    [Address on File]     5/23/2023 Bitcoin                             0.01005633 Customer Transfer
 Confidential Customer Coin Transferee #9894    [Address on File]     5/24/2023 Bitcoin                             0.00433043 Customer Transfer
 Confidential Customer Coin Transferee #9895    [Address on File]     5/24/2023 Bitcoin                             0.01210845 Customer Transfer
 Confidential Customer Coin Transferee #9896    [Address on File]     6/19/2023 Bitcoin                             0.00087881 Customer Transfer
 Confidential Customer Coin Transferee #9897    [Address on File]     5/24/2023 Bitcoin                             0.01316261 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9898    [Address on File]     5/25/2023 Bitcoin                             0.00357538 Customer Transfer
 Confidential Customer Coin Transferee #9899    [Address on File]     5/28/2023 Bitcoin                              0.0129427 Customer Transfer
 Confidential Customer Coin Transferee #9899    [Address on File]     5/20/2023 Bitcoin                             0.01055262 Customer Transfer
 Confidential Customer Coin Transferee #9900    [Address on File]     6/20/2023 Bitcoin                             0.02261378 Customer Transfer
 Confidential Customer Coin Transferee #9901    [Address on File]     5/25/2023 Bitcoin                             0.00257705 Customer Transfer
 Confidential Customer Coin Transferee #9901    [Address on File]     6/15/2023 Bitcoin                                0.000794 Customer Transfer
 Confidential Customer Coin Transferee #9901    [Address on File]      6/6/2023 Bitcoin                              0.0007745 Customer Transfer
 Confidential Customer Coin Transferee #9901    [Address on File]     6/13/2023 Bitcoin                             0.00075899 Customer Transfer
 Confidential Customer Coin Transferee #9901    [Address on File]      6/2/2023 Bitcoin                             0.00073719 Customer Transfer
 Confidential Customer Coin Transferee #9902    [Address on File]     6/19/2023 Bitcoin                             0.01359843 Customer Transfer
 Confidential Customer Coin Transferee #9903    [Address on File]      6/7/2023 Lumens                                       22 Customer Transfer
 Confidential Customer Coin Transferee #9904    [Address on File]     6/20/2023 Bitcoin                             0.00500207 Customer Transfer
 Confidential Customer Coin Transferee #9905    [Address on File]     5/20/2023 Bitcoin                             0.00180653 Customer Transfer
 Confidential Customer Coin Transferee #9906    [Address on File]     6/20/2023 Bitcoin                             0.03033155 Customer Transfer
 Confidential Customer Coin Transferee #9907    [Address on File]     6/19/2023 Bitcoin                             0.01659469 Customer Transfer
 Confidential Customer Coin Transferee #9908    [Address on File]      6/1/2023 Bitcoin                             0.01073039 Customer Transfer
 Confidential Customer Coin Transferee #9908    [Address on File]     6/19/2023 Bitcoin                              0.0070537 Customer Transfer
 Confidential Customer Coin Transferee #9909    [Address on File]     5/17/2023 Bitcoin                             0.02622651 Customer Transfer
 Confidential Customer Coin Transferee #9909    [Address on File]     5/30/2023 Bitcoin                             0.02563221 Customer Transfer
 Confidential Customer Coin Transferee #9910    [Address on File]     6/20/2023 Bitcoin                             0.00005831 Customer Transfer
 Confidential Customer Coin Transferee #9911    [Address on File]     5/29/2023 Bitcoin                             0.00230344 Customer Transfer
 Confidential Customer Coin Transferee #9911    [Address on File]     5/29/2023 Bitcoin                             0.00123946 Customer Transfer
 Confidential Customer Coin Transferee #9911    [Address on File]     5/29/2023 Bitcoin                             0.00048507 Customer Transfer
 Confidential Customer Coin Transferee #9911    [Address on File]     5/29/2023 Bitcoin                             0.00042682 Customer Transfer
 Confidential Customer Coin Transferee #9911    [Address on File]     5/29/2023 Bitcoin                             0.00035957 Customer Transfer
 Confidential Customer Coin Transferee #9911    [Address on File]     5/29/2023 Bitcoin                             0.00020559 Customer Transfer
 Confidential Customer Coin Transferee #9911    [Address on File]     5/29/2023 Bitcoin                             0.00019252 Customer Transfer
 Confidential Customer Coin Transferee #9911    [Address on File]     5/29/2023 Bitcoin                             0.00017505 Customer Transfer
 Confidential Customer Coin Transferee #9912    [Address on File]     6/19/2023 Bitcoin                             0.00029442 Customer Transfer
 Confidential Customer Coin Transferee #9913    [Address on File]     6/20/2023 Bitcoin                             0.00004296 Customer Transfer
 Confidential Customer Coin Transferee #9914    [Address on File]     5/16/2023 Bitcoin                             0.02803407 Customer Transfer
 Confidential Customer Coin Transferee #9915    [Address on File]     6/19/2023 Bitcoin                             0.00641884 Customer Transfer
 Confidential Customer Coin Transferee #9916    [Address on File]     6/19/2023 Bitcoin                             0.00093381 Customer Transfer
 Confidential Customer Coin Transferee #9917    [Address on File]     6/19/2023 Bitcoin                              0.0243017 Customer Transfer
 Confidential Customer Coin Transferee #9918    [Address on File]      6/9/2023 Bitcoin                             0.00074399 Customer Transfer
 Confidential Customer Coin Transferee #9919    [Address on File]     5/16/2023 USDC Solana)                                100 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9919    [Address on File]     5/22/2023 USDC Solana)                                100 Customer Transfer
 Confidential Customer Coin Transferee #9919    [Address on File]     5/23/2023 USDC Solana)                                100 Customer Transfer
 Confidential Customer Coin Transferee #9920    [Address on File]     6/15/2023 USD Coin                           2246.177675 Customer Transfer
 Confidential Customer Coin Transferee #9921    [Address on File]     6/20/2023 Bitcoin                             0.00017434 Customer Transfer
 Confidential Customer Coin Transferee #9922    [Address on File]      6/8/2023 USD Coin                           1354.377373 Customer Transfer
 Confidential Customer Coin Transferee #9922    [Address on File]     6/16/2023 USD Coin                            948.430941 Customer Transfer
 Confidential Customer Coin Transferee #9922    [Address on File]     6/10/2023 USD Coin                            483.679792 Customer Transfer
 Confidential Customer Coin Transferee #9922    [Address on File]     6/10/2023 USD Coin                              483.4999 Customer Transfer
 Confidential Customer Coin Transferee #9923    [Address on File]     6/20/2023 Bitcoin                             0.00153883 Customer Transfer
 Confidential Customer Coin Transferee #9924    [Address on File]     6/19/2023 Bitcoin                                0.003541 Customer Transfer
 Confidential Customer Coin Transferee #9925    [Address on File]     5/24/2023 Bitcoin                              0.1072158 Customer Transfer
 Confidential Customer Coin Transferee #9926    [Address on File]     5/23/2023 Bitcoin                             0.00433722 Customer Transfer
 Confidential Customer Coin Transferee #9926    [Address on File]     5/16/2023 Bitcoin                             0.00412693 Customer Transfer
 Confidential Customer Coin Transferee #9927    [Address on File]      6/4/2023 Bitcoin                             0.02397399 Customer Transfer
 Confidential Customer Coin Transferee #9928    [Address on File]      6/5/2023 Bitcoin                             0.02602576 Customer Transfer
 Confidential Customer Coin Transferee #9928    [Address on File]      6/7/2023 Bitcoin                             0.00767066 Customer Transfer
 Confidential Customer Coin Transferee #9929    [Address on File]     5/26/2023 Bitcoin                              0.0515874 Customer Transfer
 Confidential Customer Coin Transferee #9930    [Address on File]     6/19/2023 Bitcoin                             0.00441165 Customer Transfer
 Confidential Customer Coin Transferee #9931    [Address on File]     5/23/2023 Bitcoin                              0.0364922 Customer Transfer
 Confidential Customer Coin Transferee #9932    [Address on File]     5/25/2023 Bitcoin                             0.05611886 Customer Transfer
 Confidential Customer Coin Transferee #9933    [Address on File]     5/16/2023 Bitcoin                             0.00399249 Customer Transfer
 Confidential Customer Coin Transferee #9933    [Address on File]     6/20/2023 Bitcoin                             0.00154821 Customer Transfer
 Confidential Customer Coin Transferee #9934    [Address on File]     5/22/2023 Bitcoin                             0.00375811 Customer Transfer
 Confidential Customer Coin Transferee #9935    [Address on File]     6/19/2023 Bitcoin                             0.00087652 Customer Transfer
 Confidential Customer Coin Transferee #9936    [Address on File]     5/16/2023 Bitcoin                             0.01031058 Customer Transfer
 Confidential Customer Coin Transferee #9937    [Address on File]     5/22/2023 Bitcoin                             0.00068394 Customer Transfer
 Confidential Customer Coin Transferee #9938    [Address on File]     5/27/2023 Bitcoin                             0.00353394 Customer Transfer
 Confidential Customer Coin Transferee #9939    [Address on File]     5/29/2023 Bitcoin                             0.00044436 Customer Transfer
 Confidential Customer Coin Transferee #9939    [Address on File]     6/14/2023 Bitcoin                             0.00038155 Customer Transfer
 Confidential Customer Coin Transferee #9939    [Address on File]      6/6/2023 Bitcoin                             0.00037739 Customer Transfer
 Confidential Customer Coin Transferee #9940    [Address on File]     5/19/2023 Bitcoin                             0.00270516 Customer Transfer
 Confidential Customer Coin Transferee #9941    [Address on File]     5/22/2023 Bitcoin                             0.01857247 Customer Transfer
 Confidential Customer Coin Transferee #9941    [Address on File]     6/20/2023 Bitcoin                             0.01555301 Customer Transfer
 Confidential Customer Coin Transferee #9942    [Address on File]     5/19/2023 Bitcoin                             0.07140241 Customer Transfer
 Confidential Customer Coin Transferee #9943    [Address on File]     5/25/2023 Bitcoin                             0.00556027 Customer Transfer
 Confidential Customer Coin Transferee #9943    [Address on File]     5/18/2023 Bitcoin                             0.00518437 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9944    [Address on File]     6/20/2023 Bitcoin                             0.00166737 Customer Transfer
 Confidential Customer Coin Transferee #9945    [Address on File]     5/21/2023 Bitcoin                             0.00613759 Customer Transfer
 Confidential Customer Coin Transferee #9946    [Address on File]     6/20/2023 Bitcoin                             0.01607164 Customer Transfer
 Confidential Customer Coin Transferee #9947    [Address on File]     5/25/2023 Bitcoin                                   0.018 Customer Transfer
 Confidential Customer Coin Transferee #9948    [Address on File]     6/19/2023 Bitcoin                             0.00005937 Customer Transfer
 Confidential Customer Coin Transferee #9949    [Address on File]     6/20/2023 Bitcoin                             0.00289656 Customer Transfer
 Confidential Customer Coin Transferee #9950    [Address on File]     5/25/2023 Bitcoin                             0.01022244 Customer Transfer
 Confidential Customer Coin Transferee #9950    [Address on File]     5/17/2023 Bitcoin                             0.00971045 Customer Transfer
 Confidential Customer Coin Transferee #9951    [Address on File]     5/31/2023 Bitcoin                             0.01080127 Customer Transfer
 Confidential Customer Coin Transferee #9952    [Address on File]     5/27/2023 Bitcoin                             0.01261796 Customer Transfer
 Confidential Customer Coin Transferee #9953    [Address on File]     5/23/2023 Bitcoin                             0.20915716 Customer Transfer
 Confidential Customer Coin Transferee #9953    [Address on File]     5/26/2023 Bitcoin                             0.07392404 Customer Transfer
 Confidential Customer Coin Transferee #9953    [Address on File]     5/23/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #9954    [Address on File]     6/20/2023 Bitcoin                             0.00089613 Customer Transfer
 Confidential Customer Coin Transferee #9955    [Address on File]     6/20/2023 Bitcoin                             0.00057806 Customer Transfer
 Confidential Customer Coin Transferee #9956    [Address on File]      6/2/2023 Bitcoin                             0.02654657 Customer Transfer
 Confidential Customer Coin Transferee #9956    [Address on File]      6/9/2023 Bitcoin                             0.00529312 Customer Transfer
 Confidential Customer Coin Transferee #9956    [Address on File]     6/19/2023 Bitcoin                             0.00269644 Customer Transfer
 Confidential Customer Coin Transferee #9957    [Address on File]     6/15/2023 Bitcoin                             0.00468816 Customer Transfer
 Confidential Customer Coin Transferee #9958    [Address on File]     5/28/2023 Bitcoin                             0.01823522 Customer Transfer

 Confidential Customer Coin Transferee #9959    [Address on File]     5/23/2023 Bitcoin                                0.00092987 Customer Transfer

 Confidential Customer Coin Transferee #9959    [Address on File]     5/16/2023 Bitcoin                                0.00084408 Customer Transfer
 Confidential Customer Coin Transferee #9960    [Address on File]     6/19/2023 Bitcoin                                 0.0189894 Customer Transfer
 Confidential Customer Coin Transferee #9961    [Address on File]     6/14/2023 Bitcoin                                0.00393082 Customer Transfer
 Confidential Customer Coin Transferee #9961    [Address on File]      6/7/2023 Bitcoin                                0.00386584 Customer Transfer
 Confidential Customer Coin Transferee #9961    [Address on File]     5/18/2023 Bitcoin                                0.00182533 Customer Transfer
 Confidential Customer Coin Transferee #9961    [Address on File]     5/29/2023 Bitcoin                                0.00176042 Customer Transfer
 Confidential Customer Coin Transferee #9962    [Address on File]     6/19/2023 Bitcoin                                0.00596051 Customer Transfer
 Confidential Customer Coin Transferee #9963    [Address on File]     6/19/2023 Bitcoin                                0.00545815 Customer Transfer
 Confidential Customer Coin Transferee #9964    [Address on File]     5/26/2023 Bitcoin                                0.02704542 Customer Transfer
 Confidential Customer Coin Transferee #9965    [Address on File]     5/22/2023 Bitcoin                                0.12524696 Customer Transfer
 Confidential Customer Coin Transferee #9966    [Address on File]     5/20/2023 Bitcoin                                0.08328521 Customer Transfer
 Confidential Customer Coin Transferee #9966    [Address on File]     5/24/2023 Bitcoin                                0.04546918 Customer Transfer
 Confidential Customer Coin Transferee #9966    [Address on File]     5/16/2023 Bitcoin                                0.03513992 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #9967    [Address on File]     6/20/2023 Bitcoin                             0.00005806 Customer Transfer
 Confidential Customer Coin Transferee #9968    [Address on File]     5/19/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #9969    [Address on File]     5/16/2023 Bitcoin                              0.0058817 Customer Transfer
 Confidential Customer Coin Transferee #9970    [Address on File]     6/19/2023 Bitcoin                             0.00018451 Customer Transfer
 Confidential Customer Coin Transferee #9971    [Address on File]     5/19/2023 Bitcoin                             0.00185086 Customer Transfer
 Confidential Customer Coin Transferee #9971    [Address on File]     5/28/2023 Bitcoin                             0.00182411 Customer Transfer
 Confidential Customer Coin Transferee #9972    [Address on File]     5/16/2023 Bitcoin                             0.06624246 Customer Transfer
 Confidential Customer Coin Transferee #9972    [Address on File]     5/16/2023 Bitcoin                             0.04421101 Customer Transfer
 Confidential Customer Coin Transferee #9972    [Address on File]     5/16/2023 Bitcoin                              0.0110548 Customer Transfer
 Confidential Customer Coin Transferee #9972    [Address on File]     5/16/2023 Bitcoin                             0.00247617 Customer Transfer
 Confidential Customer Coin Transferee #9972    [Address on File]     5/16/2023 Bitcoin                             0.00218962 Customer Transfer
 Confidential Customer Coin Transferee #9973    [Address on File]     5/19/2023 Bitcoin                             0.00185153 Customer Transfer
 Confidential Customer Coin Transferee #9973    [Address on File]     5/26/2023 Bitcoin                             0.00092846 Customer Transfer
 Confidential Customer Coin Transferee #9974    [Address on File]     6/20/2023 Bitcoin                             0.00070523 Customer Transfer
 Confidential Customer Coin Transferee #9975    [Address on File]     5/29/2023 Bitcoin                             0.03104785 Customer Transfer
 Confidential Customer Coin Transferee #9975    [Address on File]     5/17/2023 Bitcoin                                0.025912 Customer Transfer
 Confidential Customer Coin Transferee #9976    [Address on File]     5/20/2023 Bitcoin                             0.01507316 Customer Transfer
 Confidential Customer Coin Transferee #9977    [Address on File]     5/19/2023 Bitcoin                             0.01223502 Customer Transfer
 Confidential Customer Coin Transferee #9978    [Address on File]     5/20/2023 Bitcoin                                    0.015 Customer Transfer
 Confidential Customer Coin Transferee #9979    [Address on File]     5/22/2023 Bitcoin                             0.00313519 Customer Transfer
 Confidential Customer Coin Transferee #9980    [Address on File]     6/16/2023 Bitcoin                             0.00255095 Customer Transfer
 Confidential Customer Coin Transferee #9980    [Address on File]     6/14/2023 Bitcoin                             0.00203295 Customer Transfer
 Confidential Customer Coin Transferee #9980    [Address on File]     5/16/2023 Bitcoin                             0.00169981 Customer Transfer
 Confidential Customer Coin Transferee #9980    [Address on File]     5/23/2023 Bitcoin                             0.00137374 Customer Transfer
 Confidential Customer Coin Transferee #9980    [Address on File]      6/7/2023 Bitcoin                             0.00114239 Customer Transfer
 Confidential Customer Coin Transferee #9980    [Address on File]     5/24/2023 Bitcoin                             0.00112225 Customer Transfer
 Confidential Customer Coin Transferee #9980    [Address on File]      6/6/2023 Bitcoin                             0.00041622 Customer Transfer
 Confidential Customer Coin Transferee #9980    [Address on File]      6/2/2023 Bitcoin                             0.00039855 Customer Transfer
 Confidential Customer Coin Transferee #9981    [Address on File]     5/28/2023 Bitcoin                             0.01364416 Customer Transfer
 Confidential Customer Coin Transferee #9982    [Address on File]     5/26/2023 Bitcoin                             0.00553404 Customer Transfer

 Confidential Customer Coin Transferee #9983    [Address on File]     6/19/2023 Bitcoin                                0.02265858 Customer Transfer
 Confidential Customer Coin Transferee #9984    [Address on File]     6/19/2023 Bitcoin                                0.00099341 Customer Transfer
 Confidential Customer Coin Transferee #9985    [Address on File]     5/24/2023 Bitcoin                                0.00790942 Customer Transfer

 Confidential Customer Coin Transferee #9986    [Address on File]     6/19/2023 Bitcoin                                0.01131125 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #9987    [Address on File]     5/23/2023 Bitcoin                             0.00042716 Customer Transfer
 Confidential Customer Coin Transferee #9988    [Address on File]     5/27/2023 Bitcoin                             0.01028569 Customer Transfer
 Confidential Customer Coin Transferee #9989    [Address on File]     6/19/2023 Bitcoin                             0.00005805 Customer Transfer
 Confidential Customer Coin Transferee #9990    [Address on File]     5/20/2023 Bitcoin                             0.01039941 Customer Transfer
 Confidential Customer Coin Transferee #9991    [Address on File]     5/24/2023 Bitcoin                             0.00628561 Customer Transfer
 Confidential Customer Coin Transferee #9991    [Address on File]     5/25/2023 Bitcoin                              0.0015096 Customer Transfer
 Confidential Customer Coin Transferee #9992    [Address on File]      6/1/2023 Bitcoin                             0.00939461 Customer Transfer
 Confidential Customer Coin Transferee #9993    [Address on File]     5/27/2023 Bitcoin                             0.04840147 Customer Transfer
 Confidential Customer Coin Transferee #9993    [Address on File]     5/29/2023 Bitcoin                             0.03506057 Customer Transfer
 Confidential Customer Coin Transferee #9993    [Address on File]     5/26/2023 Bitcoin                             0.01817696 Customer Transfer
 Confidential Customer Coin Transferee #9993    [Address on File]     5/29/2023 Bitcoin                             0.00706113 Customer Transfer
 Confidential Customer Coin Transferee #9993    [Address on File]     5/25/2023 Bitcoin                             0.00390242 Customer Transfer
 Confidential Customer Coin Transferee #9994    [Address on File]     5/17/2023 Bitcoin                             0.01039798 Customer Transfer
 Confidential Customer Coin Transferee #9994    [Address on File]     5/16/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #9995    [Address on File]     5/26/2023 Bitcoin                             0.01056754 Customer Transfer
 Confidential Customer Coin Transferee #9996    [Address on File]     5/25/2023 Bitcoin                              0.0000867 Customer Transfer
 Confidential Customer Coin Transferee #9996    [Address on File]     5/16/2023 Bitcoin                             0.00008394 Customer Transfer
 Confidential Customer Coin Transferee #9996    [Address on File]     5/18/2023 Bitcoin                             0.00008325 Customer Transfer
 Confidential Customer Coin Transferee #9997    [Address on File]     5/25/2023 Bitcoin                             0.02597098 Customer Transfer
 Confidential Customer Coin Transferee #9998    [Address on File]     5/17/2023 Bitcoin                             0.00466105 Customer Transfer
 Confidential Customer Coin Transferee #9998    [Address on File]     5/22/2023 Bitcoin                             0.00270034 Customer Transfer
 Confidential Customer Coin Transferee #9998    [Address on File]     5/26/2023 Bitcoin                             0.00222905 Customer Transfer
 Confidential Customer Coin Transferee #9999    [Address on File]     6/12/2023 Bitcoin                             0.11466191 Customer Transfer
 Confidential Customer Coin Transferee #10000   [Address on File]     5/26/2023 Bitcoin                             0.07337467 Customer Transfer

 Confidential Customer Coin Transferee #10001   [Address on File]     6/15/2023 Tether USD                         2995.238571 Customer Transfer

 Confidential Customer Coin Transferee #10001   [Address on File]      6/9/2023 Tether USD                         2992.493753 Customer Transfer

 Confidential Customer Coin Transferee #10001   [Address on File]      6/3/2023 Tether USD                         2991.457688 Customer Transfer

 Confidential Customer Coin Transferee #10001   [Address on File]      6/5/2023 Tether USD                         2990.498551 Customer Transfer

 Confidential Customer Coin Transferee #10001   [Address on File]     5/30/2023 Tether USD                         2990.117905 Customer Transfer

 Confidential Customer Coin Transferee #10001   [Address on File]     6/21/2023 Tether USD                         2984.021132 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10002   [Address on File]      6/5/2023 Bitcoin                             0.01025305 Customer Transfer
 Confidential Customer Coin Transferee #10002   [Address on File]     6/17/2023 Bitcoin                             0.00379609 Customer Transfer
 Confidential Customer Coin Transferee #10003   [Address on File]     6/19/2023 Bitcoin                             0.00036905 Customer Transfer
 Confidential Customer Coin Transferee #10004   [Address on File]     5/19/2023 Bitcoin                             0.00036464 Customer Transfer
 Confidential Customer Coin Transferee #10005   [Address on File]     5/18/2023 Bitcoin                             0.10990068 Customer Transfer


 Confidential Customer Coin Transferee #10006   [Address on File]      6/8/2023 Tether USD                                  4464.9 Customer Transfer
 Confidential Customer Coin Transferee #10007   [Address on File]     6/19/2023 Bitcoin                                0.01244138 Customer Transfer
 Confidential Customer Coin Transferee #10008   [Address on File]     6/20/2023 Bitcoin                                0.00296164 Customer Transfer
 Confidential Customer Coin Transferee #10009   [Address on File]     6/19/2023 Bitcoin                                0.01084222 Customer Transfer
 Confidential Customer Coin Transferee #10010   [Address on File]      6/7/2023 USD Coin                                 300.2679 Customer Transfer
 Confidential Customer Coin Transferee #10011   [Address on File]     6/20/2023 Bitcoin                                0.00594819 Customer Transfer
 Confidential Customer Coin Transferee #10012   [Address on File]     5/28/2023 Bitcoin                                1.62812193 Customer Transfer
 Confidential Customer Coin Transferee #10012   [Address on File]     5/23/2023 Bitcoin                                0.05521647 Customer Transfer
 Confidential Customer Coin Transferee #10012   [Address on File]     5/23/2023 Bitcoin                                0.05315984 Customer Transfer
 Confidential Customer Coin Transferee #10012   [Address on File]     5/23/2023 Bitcoin                                0.05289582 Customer Transfer
 Confidential Customer Coin Transferee #10012   [Address on File]     5/23/2023 Bitcoin                                0.02222937 Customer Transfer
 Confidential Customer Coin Transferee #10013   [Address on File]     6/20/2023 Bitcoin                                0.05543311 Customer Transfer
 Confidential Customer Coin Transferee #10014   [Address on File]     6/20/2023 Bitcoin                                0.00005816 Customer Transfer
 Confidential Customer Coin Transferee #10015   [Address on File]     5/22/2023 Bitcoin                                 0.0018339 Customer Transfer
 Confidential Customer Coin Transferee #10015   [Address on File]     5/22/2023 Bitcoin                                0.00181533 Customer Transfer
 Confidential Customer Coin Transferee #10015   [Address on File]     5/22/2023 Bitcoin                                0.00181142 Customer Transfer
 Confidential Customer Coin Transferee #10015   [Address on File]     5/22/2023 Bitcoin                                0.00178638 Customer Transfer
 Confidential Customer Coin Transferee #10015   [Address on File]     5/22/2023 Bitcoin                                0.00175283 Customer Transfer
 Confidential Customer Coin Transferee #10015   [Address on File]     5/22/2023 Bitcoin                                0.00170333 Customer Transfer
 Confidential Customer Coin Transferee #10015   [Address on File]     5/22/2023 Bitcoin                                 0.0016843 Customer Transfer
 Confidential Customer Coin Transferee #10015   [Address on File]     5/22/2023 Bitcoin                                0.00164291 Customer Transfer
 Confidential Customer Coin Transferee #10016   [Address on File]     5/16/2023 Bitcoin                                0.00108174 Customer Transfer
 Confidential Customer Coin Transferee #10016   [Address on File]     6/19/2023 Bitcoin                                0.00036054 Customer Transfer
 Confidential Customer Coin Transferee #10017   [Address on File]      6/6/2023 Bitcoin                                0.00191963 Customer Transfer
 Confidential Customer Coin Transferee #10018   [Address on File]     5/19/2023 Bitcoin                                0.01035159 Customer Transfer
 Confidential Customer Coin Transferee #10019   [Address on File]     5/25/2023 Bitcoin                                0.00182193 Customer Transfer
 Confidential Customer Coin Transferee #10019   [Address on File]     5/18/2023 Bitcoin                                0.00178513 Customer Transfer
 Confidential Customer Coin Transferee #10020   [Address on File]     5/16/2023 Bitcoin                                0.07338148 Customer Transfer
 Confidential Customer Coin Transferee #10020   [Address on File]     5/24/2023 Bitcoin                                0.04152084 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10020   [Address on File]     5/26/2023 Bitcoin                             0.03745169 Customer Transfer
 Confidential Customer Coin Transferee #10020   [Address on File]     5/22/2023 Bitcoin                             0.03335677 Customer Transfer
 Confidential Customer Coin Transferee #10020   [Address on File]     5/30/2023 Bitcoin                             0.01780634 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     6/12/2023 Bitcoin                             0.00563561 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     6/15/2023 Bitcoin                             0.00398203 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     6/17/2023 Bitcoin                             0.00387376 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     6/13/2023 Bitcoin                              0.0038412 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     5/26/2023 Bitcoin                             0.00373346 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     6/12/2023 Bitcoin                              0.0037281 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     5/22/2023 Bitcoin                             0.00369167 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     5/17/2023 Bitcoin                                0.003688 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     5/19/2023 Bitcoin                             0.00368225 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]      6/1/2023 Bitcoin                             0.00367645 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]      6/2/2023 Bitcoin                             0.00366015 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     5/29/2023 Bitcoin                             0.00359244 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]      6/7/2023 Bitcoin                             0.00194235 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     5/26/2023 Bitcoin                             0.00187156 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     5/23/2023 Bitcoin                             0.00184321 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     5/22/2023 Bitcoin                             0.00183847 Customer Transfer
 Confidential Customer Coin Transferee #10021   [Address on File]     5/18/2023 Bitcoin                              0.0018185 Customer Transfer
 Confidential Customer Coin Transferee #10022   [Address on File]     5/19/2023 Bitcoin                             0.00778596 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/16/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/21/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/27/2023 Bitcoin                                 0.00035 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/25/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/17/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/17/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/18/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/18/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/19/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/20/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/22/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/22/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/23/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/23/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/24/2023 Bitcoin                                 0.00025 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/26/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/26/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/28/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/28/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/29/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/29/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/30/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/31/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10023   [Address on File]     5/31/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #10024   [Address on File]      6/4/2023 Bitcoin                             0.00145014 Customer Transfer
 Confidential Customer Coin Transferee #10024   [Address on File]     5/22/2023 Bitcoin                             0.00137044 Customer Transfer
 Confidential Customer Coin Transferee #10025   [Address on File]     6/20/2023 Bitcoin                             0.05221936 Customer Transfer
 Confidential Customer Coin Transferee #10026   [Address on File]     6/20/2023 Bitcoin                             0.00057914 Customer Transfer

 Confidential Customer Coin Transferee #10027   [Address on File]     6/19/2023 Bitcoin                                 0.0004013 Customer Transfer
 Confidential Customer Coin Transferee #10028   [Address on File]     5/22/2023 Bitcoin                                0.38997311 Customer Transfer
 Confidential Customer Coin Transferee #10029   [Address on File]     5/18/2023 Bitcoin                                0.00910082 Customer Transfer
 Confidential Customer Coin Transferee #10030   [Address on File]     5/30/2023 Bitcoin                                0.00017961 Customer Transfer
 Confidential Customer Coin Transferee #10031   [Address on File]     5/24/2023 Bitcoin                                0.01895836 Customer Transfer
 Confidential Customer Coin Transferee #10031   [Address on File]     5/18/2023 Bitcoin                                0.01860847 Customer Transfer
 Confidential Customer Coin Transferee #10032   [Address on File]     5/22/2023 Bitcoin                                0.01503265 Customer Transfer
 Confidential Customer Coin Transferee #10033   [Address on File]     5/28/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #10034   [Address on File]     5/28/2023 Bitcoin                                0.01295358 Customer Transfer
 Confidential Customer Coin Transferee #10034   [Address on File]     5/21/2023 Bitcoin                                0.01227125 Customer Transfer
 Confidential Customer Coin Transferee #10035   [Address on File]     6/19/2023 Bitcoin                                0.00876185 Customer Transfer
 Confidential Customer Coin Transferee #10036   [Address on File]     5/24/2023 Bitcoin                                0.00757848 Customer Transfer
 Confidential Customer Coin Transferee #10036   [Address on File]     5/29/2023 Bitcoin                                0.00741991 Customer Transfer
 Confidential Customer Coin Transferee #10036   [Address on File]     5/16/2023 Bitcoin                                0.00674638 Customer Transfer
 Confidential Customer Coin Transferee #10037   [Address on File]     5/26/2023 Bitcoin                                      0.006 Customer Transfer
 Confidential Customer Coin Transferee #10038   [Address on File]     6/20/2023 Bitcoin                                0.00044671 Customer Transfer
 Confidential Customer Coin Transferee #10039   [Address on File]     5/25/2023 Bitcoin                                0.00037966 Customer Transfer
 Confidential Customer Coin Transferee #10039   [Address on File]     5/25/2023 Bitcoin                                0.00037676 Customer Transfer
 Confidential Customer Coin Transferee #10040   [Address on File]     6/20/2023 Bitcoin                                0.00027933 Customer Transfer
 Confidential Customer Coin Transferee #10041   [Address on File]     6/20/2023 Bitcoin                                0.00107401 Customer Transfer

 Confidential Customer Coin Transferee #10042   [Address on File]     6/19/2023 Bitcoin                                0.03768386 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10043   [Address on File]     5/25/2023 Bitcoin                             0.07249156 Customer Transfer
 Confidential Customer Coin Transferee #10044   [Address on File]     6/19/2023 Bitcoin                             0.00636797 Customer Transfer
 Confidential Customer Coin Transferee #10045   [Address on File]     5/27/2023 Bitcoin                             0.07871394 Customer Transfer
 Confidential Customer Coin Transferee #10046   [Address on File]     5/24/2023 Bitcoin                             0.00346303 Customer Transfer
 Confidential Customer Coin Transferee #10046   [Address on File]     5/17/2023 Bitcoin                             0.00341931 Customer Transfer
 Confidential Customer Coin Transferee #10047   [Address on File]     5/17/2023 Bitcoin                             0.26363409 Customer Transfer
 Confidential Customer Coin Transferee #10048   [Address on File]     5/20/2023 Bitcoin                              1.5563767 Customer Transfer
 Confidential Customer Coin Transferee #10048   [Address on File]     5/20/2023 Bitcoin                                0.565959 Customer Transfer
 Confidential Customer Coin Transferee #10049   [Address on File]     5/24/2023 Bitcoin                             0.00255856 Customer Transfer
 Confidential Customer Coin Transferee #10050   [Address on File]     5/26/2023 Bitcoin                             0.00222078 Customer Transfer
 Confidential Customer Coin Transferee #10050   [Address on File]     5/19/2023 Bitcoin                              0.0021693 Customer Transfer
 Confidential Customer Coin Transferee #10051   [Address on File]     6/19/2023 Bitcoin                             0.00324723 Customer Transfer
 Confidential Customer Coin Transferee #10052   [Address on File]     6/20/2023 Bitcoin                             0.01462127 Customer Transfer
 Confidential Customer Coin Transferee #10053   [Address on File]     5/20/2023 Bitcoin                             0.00363667 Customer Transfer
 Confidential Customer Coin Transferee #10054   [Address on File]     5/26/2023 Bitcoin                             0.01130746 Customer Transfer
 Confidential Customer Coin Transferee #10054   [Address on File]     5/19/2023 Bitcoin                             0.01111484 Customer Transfer
 Confidential Customer Coin Transferee #10055   [Address on File]     6/20/2023 Bitcoin                             0.00005801 Customer Transfer
 Confidential Customer Coin Transferee #10056   [Address on File]     5/16/2023 Bitcoin                             0.02593834 Customer Transfer
 Confidential Customer Coin Transferee #10057   [Address on File]     5/21/2023 Bitcoin                             0.13760986 Customer Transfer
 Confidential Customer Coin Transferee #10058   [Address on File]     5/25/2023 Bitcoin                             0.00037974 Customer Transfer
 Confidential Customer Coin Transferee #10058   [Address on File]     5/24/2023 Bitcoin                             0.00037258 Customer Transfer
 Confidential Customer Coin Transferee #10058   [Address on File]     5/26/2023 Bitcoin                             0.00037194 Customer Transfer
 Confidential Customer Coin Transferee #10058   [Address on File]     5/28/2023 Bitcoin                              0.0003663 Customer Transfer
 Confidential Customer Coin Transferee #10059   [Address on File]     5/21/2023 Bitcoin                              0.0029752 Customer Transfer
 Confidential Customer Coin Transferee #10059   [Address on File]     5/21/2023 Bitcoin                             0.00293809 Customer Transfer
 Confidential Customer Coin Transferee #10059   [Address on File]     5/19/2023 Bitcoin                              0.0028889 Customer Transfer
 Confidential Customer Coin Transferee #10059   [Address on File]     5/17/2023 Bitcoin                             0.00272575 Customer Transfer
 Confidential Customer Coin Transferee #10059   [Address on File]     5/25/2023 Bitcoin                             0.00270477 Customer Transfer
 Confidential Customer Coin Transferee #10059   [Address on File]     5/25/2023 Bitcoin                             0.00265144 Customer Transfer
 Confidential Customer Coin Transferee #10059   [Address on File]     5/20/2023 Bitcoin                             0.00225816 Customer Transfer
 Confidential Customer Coin Transferee #10059   [Address on File]     5/21/2023 Bitcoin                             0.00220447 Customer Transfer
 Confidential Customer Coin Transferee #10059   [Address on File]     5/25/2023 Bitcoin                             0.00189464 Customer Transfer
 Confidential Customer Coin Transferee #10059   [Address on File]     5/23/2023 Bitcoin                             0.00185225 Customer Transfer
 Confidential Customer Coin Transferee #10059   [Address on File]     5/25/2023 Bitcoin                             0.00169744 Customer Transfer
 Confidential Customer Coin Transferee #10060   [Address on File]     5/24/2023 Bitcoin                             0.00082835 Customer Transfer
 Confidential Customer Coin Transferee #10060   [Address on File]     5/21/2023 Bitcoin                             0.00075471 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10061   [Address on File]     5/17/2023 Bitcoin                             0.00801397 Customer Transfer
 Confidential Customer Coin Transferee #10062   [Address on File]     5/22/2023 Bitcoin                             0.09256188 Customer Transfer
 Confidential Customer Coin Transferee #10062   [Address on File]     5/22/2023 Bitcoin                             0.05549726 Customer Transfer
 Confidential Customer Coin Transferee #10062   [Address on File]     5/22/2023 Bitcoin                             0.03704649 Customer Transfer
 Confidential Customer Coin Transferee #10062   [Address on File]     5/29/2023 Bitcoin                             0.03592006 Customer Transfer
 Confidential Customer Coin Transferee #10062   [Address on File]     5/19/2023 Bitcoin                             0.01852952 Customer Transfer
 Confidential Customer Coin Transferee #10062   [Address on File]     5/29/2023 Bitcoin                             0.01794468 Customer Transfer
 Confidential Customer Coin Transferee #10062   [Address on File]     5/19/2023 Bitcoin                             0.00147667 Customer Transfer
 Confidential Customer Coin Transferee #10063   [Address on File]     5/25/2023 Bitcoin                              0.0072339 Customer Transfer
 Confidential Customer Coin Transferee #10064   [Address on File]     6/17/2023 Bitcoin                             0.00287113 Customer Transfer
 Confidential Customer Coin Transferee #10065   [Address on File]     6/20/2023 Bitcoin                             0.00039836 Customer Transfer
 Confidential Customer Coin Transferee #10066   [Address on File]     5/19/2023 USDC Avalanche)                      47.966016 Customer Transfer
 Confidential Customer Coin Transferee #10066   [Address on File]     5/19/2023 USDC Avalanche)                      47.961223 Customer Transfer
 Confidential Customer Coin Transferee #10067   [Address on File]     6/20/2023 Bitcoin                             0.00035857 Customer Transfer
 Confidential Customer Coin Transferee #10068   [Address on File]     6/19/2023 Bitcoin                             0.00119974 Customer Transfer
 Confidential Customer Coin Transferee #10069   [Address on File]      6/1/2023 Tether USD                              24.7961 Customer Transfer
 Confidential Customer Coin Transferee #10070   [Address on File]     5/24/2023 Bitcoin                             0.00254809 Customer Transfer
 Confidential Customer Coin Transferee #10070   [Address on File]     5/17/2023 Bitcoin                             0.00241704 Customer Transfer
 Confidential Customer Coin Transferee #10071   [Address on File]     5/17/2023 Bitcoin                             0.03102052 Customer Transfer
 Confidential Customer Coin Transferee #10072   [Address on File]     5/24/2023 Bitcoin                             0.04964831 Customer Transfer
 Confidential Customer Coin Transferee #10073   [Address on File]     6/19/2023 Bitcoin                             0.01462095 Customer Transfer
 Confidential Customer Coin Transferee #10074   [Address on File]      6/7/2023 USDC Avalanche)                        144.8331 Customer Transfer
 Confidential Customer Coin Transferee #10074   [Address on File]      6/3/2023 USDC Avalanche)                      96.411794 Customer Transfer
 Confidential Customer Coin Transferee #10074   [Address on File]      6/7/2023 USDC Avalanche)                      96.402158 Customer Transfer
 Confidential Customer Coin Transferee #10074   [Address on File]     6/22/2023 Solana                               15.934795 Customer Transfer
 Confidential Customer Coin Transferee #10075   [Address on File]     5/28/2023 Bitcoin                             0.00518302 Customer Transfer
 Confidential Customer Coin Transferee #10075   [Address on File]     5/21/2023 Bitcoin                             0.00491979 Customer Transfer
 Confidential Customer Coin Transferee #10076   [Address on File]     6/19/2023 Bitcoin                             0.00030252 Customer Transfer
 Confidential Customer Coin Transferee #10077   [Address on File]      6/8/2023 Bitcoin                             0.01442668 Customer Transfer
 Confidential Customer Coin Transferee #10077   [Address on File]     6/16/2023 Bitcoin                             0.00085424 Customer Transfer
 Confidential Customer Coin Transferee #10078   [Address on File]     5/16/2023 Bitcoin                             0.09080236 Customer Transfer
 Confidential Customer Coin Transferee #10079   [Address on File]      6/7/2023 Tether USD                           5014.2903 Customer Transfer

 Confidential Customer Coin Transferee #10080   [Address on File]     6/13/2023 Tether USD                               94.27 Customer Transfer
 Confidential Customer Coin Transferee #10081   [Address on File]     6/13/2023 Tether USD                              759.85 Customer Transfer
 Confidential Customer Coin Transferee #10081   [Address on File]     5/24/2023 Tether USD                              596.97 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10081   [Address on File]      6/2/2023 Tether USD                                 588.7 Customer Transfer
 Confidential Customer Coin Transferee #10081   [Address on File]     6/14/2023 Tether USD                               555.75 Customer Transfer
 Confidential Customer Coin Transferee #10081   [Address on File]      6/7/2023 Tether USD                                 523.4 Customer Transfer
 Confidential Customer Coin Transferee #10081   [Address on File]     6/12/2023 Tether USD                               468.97 Customer Transfer
 Confidential Customer Coin Transferee #10081   [Address on File]     5/25/2023 Tether USD                               463.93 Customer Transfer
 Confidential Customer Coin Transferee #10081   [Address on File]      6/6/2023 Tether USD                                432.32 Customer Transfer
 Confidential Customer Coin Transferee #10081   [Address on File]     5/18/2023 Tether USD                               415.08 Customer Transfer
 Confidential Customer Coin Transferee #10081   [Address on File]      6/7/2023 Tether USD                                   392 Customer Transfer
 Confidential Customer Coin Transferee #10082   [Address on File]     5/24/2023 Bitcoin                             0.00075361 Customer Transfer
 Confidential Customer Coin Transferee #10083   [Address on File]     5/21/2023 Bitcoin                             0.01765205 Customer Transfer
 Confidential Customer Coin Transferee #10083   [Address on File]     5/27/2023 Bitcoin                             0.01118234 Customer Transfer
 Confidential Customer Coin Transferee #10083   [Address on File]     5/20/2023 Bitcoin                                0.003039 Customer Transfer
 Confidential Customer Coin Transferee #10084   [Address on File]     5/31/2023 Bitcoin                             0.00290163 Customer Transfer
 Confidential Customer Coin Transferee #10084   [Address on File]     5/26/2023 Bitcoin                              0.0000755 Customer Transfer
 Confidential Customer Coin Transferee #10085   [Address on File]     5/19/2023 Bitcoin                             0.00003997 Customer Transfer
 Confidential Customer Coin Transferee #10086   [Address on File]     5/27/2023 Bitcoin                                0.112326 Customer Transfer
 Confidential Customer Coin Transferee #10086   [Address on File]     5/16/2023 Bitcoin                             0.11196716 Customer Transfer
 Confidential Customer Coin Transferee #10086   [Address on File]     5/28/2023 Bitcoin                                0.109897 Customer Transfer
 Confidential Customer Coin Transferee #10086   [Address on File]     5/29/2023 Bitcoin                             0.08271259 Customer Transfer
 Confidential Customer Coin Transferee #10087   [Address on File]     5/27/2023 Bitcoin                             0.07438311 Customer Transfer
 Confidential Customer Coin Transferee #10087   [Address on File]     5/20/2023 Bitcoin                             0.07390461 Customer Transfer
 Confidential Customer Coin Transferee #10088   [Address on File]     5/18/2023 Bitcoin                             0.00218144 Customer Transfer
 Confidential Customer Coin Transferee #10089   [Address on File]     5/16/2023 Bitcoin                             0.00129673 Customer Transfer
 Confidential Customer Coin Transferee #10090   [Address on File]     6/19/2023 Bitcoin                             0.00346267 Customer Transfer
 Confidential Customer Coin Transferee #10091   [Address on File]      6/6/2023 Bitcoin                             0.00025182 Customer Transfer
 Confidential Customer Coin Transferee #10092   [Address on File]     6/20/2023 Bitcoin                             0.10029927 Customer Transfer
 Confidential Customer Coin Transferee #10092   [Address on File]     5/23/2023 Bitcoin                             0.01029181 Customer Transfer
 Confidential Customer Coin Transferee #10092   [Address on File]     5/18/2023 Bitcoin                             0.00621543 Customer Transfer
 Confidential Customer Coin Transferee #10092   [Address on File]     5/16/2023 Bitcoin                             0.00399748 Customer Transfer
 Confidential Customer Coin Transferee #10092   [Address on File]     5/19/2023 Bitcoin                             0.00294967 Customer Transfer
 Confidential Customer Coin Transferee #10093   [Address on File]     5/22/2023 Bitcoin                              0.0259151 Customer Transfer
 Confidential Customer Coin Transferee #10094   [Address on File]     6/19/2023 Bitcoin                             0.00057749 Customer Transfer
 Confidential Customer Coin Transferee #10095   [Address on File]     6/20/2023 Bitcoin                             0.00065552 Customer Transfer
 Confidential Customer Coin Transferee #10096   [Address on File]     5/31/2023 USD Coin                                16.1695 Customer Transfer
 Confidential Customer Coin Transferee #10097   [Address on File]     6/16/2023 USD Coin                             95.852073 Customer Transfer
 Confidential Customer Coin Transferee #10097   [Address on File]     6/16/2023 USD Coin                              95.56552 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10098   [Address on File]     5/25/2023 Bitcoin                             0.00547024 Customer Transfer

 Confidential Customer Coin Transferee #10099   [Address on File]     5/24/2023 USDC Avalanche)                        119.328067 Customer Transfer
 Confidential Customer Coin Transferee #10100   [Address on File]     6/20/2023 Bitcoin                                0.00060696 Customer Transfer
 Confidential Customer Coin Transferee #10101   [Address on File]     5/24/2023 Bitcoin                                0.01034028 Customer Transfer
 Confidential Customer Coin Transferee #10102   [Address on File]     5/26/2023 Bitcoin                                    0.00188 Customer Transfer
 Confidential Customer Coin Transferee #10102   [Address on File]     5/25/2023 Bitcoin                                0.00187864 Customer Transfer
 Confidential Customer Coin Transferee #10102   [Address on File]     5/18/2023 Bitcoin                                0.00093023 Customer Transfer
 Confidential Customer Coin Transferee #10103   [Address on File]     5/29/2023 Bitcoin                                0.00169801 Customer Transfer
 Confidential Customer Coin Transferee #10103   [Address on File]     5/21/2023 Bitcoin                                0.00163723 Customer Transfer
 Confidential Customer Coin Transferee #10103   [Address on File]     5/18/2023 Bitcoin                                    0.00019 Customer Transfer
 Confidential Customer Coin Transferee #10103   [Address on File]     5/17/2023 Bitcoin                                    0.00001 Customer Transfer
 Confidential Customer Coin Transferee #10103   [Address on File]     5/21/2023 Bitcoin                                    0.00001 Customer Transfer
 Confidential Customer Coin Transferee #10103   [Address on File]     5/29/2023 Bitcoin                                    0.00001 Customer Transfer
 Confidential Customer Coin Transferee #10104   [Address on File]     5/27/2023 Bitcoin                                0.00758014 Customer Transfer
 Confidential Customer Coin Transferee #10105   [Address on File]     5/24/2023 Bitcoin                                0.00927596 Customer Transfer
 Confidential Customer Coin Transferee #10105   [Address on File]     5/24/2023 Bitcoin                                0.00473554 Customer Transfer
 Confidential Customer Coin Transferee #10105   [Address on File]     5/19/2023 Bitcoin                                0.00369472 Customer Transfer
 Confidential Customer Coin Transferee #10106   [Address on File]     5/30/2023 Bitcoin                                0.00501596 Customer Transfer
 Confidential Customer Coin Transferee #10106   [Address on File]     5/20/2023 Bitcoin                                0.00484688 Customer Transfer
 Confidential Customer Coin Transferee #10106   [Address on File]     5/23/2023 Bitcoin                                0.00403467 Customer Transfer
 Confidential Customer Coin Transferee #10107   [Address on File]     5/27/2023 Bitcoin                                0.01316293 Customer Transfer
 Confidential Customer Coin Transferee #10107   [Address on File]     5/22/2023 Bitcoin                                0.00753998 Customer Transfer
 Confidential Customer Coin Transferee #10107   [Address on File]     5/22/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #10108   [Address on File]     5/17/2023 Bitcoin                                0.19931246 Customer Transfer
 Confidential Customer Coin Transferee #10109   [Address on File]     5/17/2023 Bitcoin                                0.01876405 Customer Transfer
 Confidential Customer Coin Transferee #10110   [Address on File]     5/21/2023 Bitcoin                                 0.0037005 Customer Transfer
 Confidential Customer Coin Transferee #10111   [Address on File]     5/16/2023 Bitcoin                                 0.0180513 Customer Transfer
 Confidential Customer Coin Transferee #10112   [Address on File]     5/26/2023 Bitcoin                                 0.0004114 Customer Transfer
 Confidential Customer Coin Transferee #10113   [Address on File]     5/16/2023 Bitcoin                                0.06653694 Customer Transfer
 Confidential Customer Coin Transferee #10113   [Address on File]     5/20/2023 Bitcoin                                0.04780847 Customer Transfer
 Confidential Customer Coin Transferee #10113   [Address on File]     5/18/2023 Bitcoin                                 0.0149219 Customer Transfer
 Confidential Customer Coin Transferee #10114   [Address on File]     5/24/2023 Bitcoin                                0.05169855 Customer Transfer
 Confidential Customer Coin Transferee #10115   [Address on File]     5/19/2023 Bitcoin                                0.01052513 Customer Transfer
 Confidential Customer Coin Transferee #10115   [Address on File]     5/26/2023 Bitcoin                                0.00667066 Customer Transfer
 Confidential Customer Coin Transferee #10115   [Address on File]     5/22/2023 Bitcoin                                0.00037056 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10116   [Address on File]     5/29/2023 Bitcoin                             0.07148423 Customer Transfer
 Confidential Customer Coin Transferee #10117   [Address on File]     5/17/2023 Bitcoin                             0.00278863 Customer Transfer
 Confidential Customer Coin Transferee #10117   [Address on File]     5/24/2023 Bitcoin                             0.00094695 Customer Transfer
 Confidential Customer Coin Transferee #10118   [Address on File]     5/23/2023 Bitcoin                             0.00803703 Customer Transfer
 Confidential Customer Coin Transferee #10118   [Address on File]     5/25/2023 Bitcoin                             0.00378554 Customer Transfer
 Confidential Customer Coin Transferee #10118   [Address on File]     5/30/2023 Bitcoin                             0.00358705 Customer Transfer
 Confidential Customer Coin Transferee #10118   [Address on File]     5/30/2023 Bitcoin                             0.00142864 Customer Transfer
 Confidential Customer Coin Transferee #10119   [Address on File]     5/30/2023 Bitcoin                             0.03420306 Customer Transfer
 Confidential Customer Coin Transferee #10119   [Address on File]     5/25/2023 Bitcoin                                   0.019 Customer Transfer
 Confidential Customer Coin Transferee #10120   [Address on File]     5/28/2023 Bitcoin                             0.00366999 Customer Transfer
 Confidential Customer Coin Transferee #10120   [Address on File]     5/16/2023 Bitcoin                             0.00131355 Customer Transfer
 Confidential Customer Coin Transferee #10120   [Address on File]     5/28/2023 Bitcoin                             0.00125334 Customer Transfer
 Confidential Customer Coin Transferee #10121   [Address on File]     5/26/2023 Bitcoin                             0.01850554 Customer Transfer
 Confidential Customer Coin Transferee #10122   [Address on File]     5/23/2023 Bitcoin                             0.00384236 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/30/2023 Bitcoin                             0.02282965 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/24/2023 Bitcoin                             0.02065096 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/27/2023 Bitcoin                             0.01877572 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/21/2023 Bitcoin                             0.01065999 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/18/2023 Bitcoin                             0.01020048 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/24/2023 Bitcoin                             0.00765659 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/22/2023 Bitcoin                             0.00145986 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/21/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/21/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/21/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/21/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #10123   [Address on File]     5/21/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #10124   [Address on File]     5/23/2023 Bitcoin                             0.01254042 Customer Transfer
 Confidential Customer Coin Transferee #10125   [Address on File]     5/29/2023 Bitcoin                             0.00374976 Customer Transfer
 Confidential Customer Coin Transferee #10126   [Address on File]     5/21/2023 Bitcoin                             0.00386106 Customer Transfer
 Confidential Customer Coin Transferee #10127   [Address on File]     5/20/2023 Bitcoin                             0.00419155 Customer Transfer
 Confidential Customer Coin Transferee #10127   [Address on File]     5/28/2023 Bitcoin                             0.00330134 Customer Transfer
 Confidential Customer Coin Transferee #10128   [Address on File]     5/25/2023 Bitcoin                             0.01113108 Customer Transfer
 Confidential Customer Coin Transferee #10128   [Address on File]     5/17/2023 Bitcoin                             0.01103048 Customer Transfer
 Confidential Customer Coin Transferee #10128   [Address on File]     5/20/2023 Bitcoin                             0.01102728 Customer Transfer
 Confidential Customer Coin Transferee #10128   [Address on File]     5/30/2023 Bitcoin                             0.01084889 Customer Transfer
 Confidential Customer Coin Transferee #10128   [Address on File]     5/26/2023 Bitcoin                             0.00281718 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10128   [Address on File]     5/27/2023 Bitcoin                             0.00278961 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/30/2023 Bitcoin                             0.00215331 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/26/2023 Bitcoin                             0.00138954 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/26/2023 Bitcoin                             0.00112631 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/31/2023 Bitcoin                              0.0010821 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/20/2023 Bitcoin                             0.00079732 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/19/2023 Bitcoin                             0.00072476 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/31/2023 Bitcoin                             0.00071033 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/27/2023 Bitcoin                             0.00045937 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/20/2023 Bitcoin                             0.00035112 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/22/2023 Bitcoin                             0.00030139 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/16/2023 Bitcoin                             0.00025725 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/22/2023 Bitcoin                             0.00025318 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/18/2023 Bitcoin                              0.0002511 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/22/2023 Bitcoin                             0.00020353 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/26/2023 Bitcoin                             0.00018569 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/27/2023 Bitcoin                             0.00018227 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/18/2023 Bitcoin                             0.00018182 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/25/2023 Bitcoin                             0.00014836 Customer Transfer
 Confidential Customer Coin Transferee #10129   [Address on File]     5/29/2023 Bitcoin                             0.00006918 Customer Transfer
 Confidential Customer Coin Transferee #10130   [Address on File]     5/25/2023 Bitcoin                                0.006625 Customer Transfer
 Confidential Customer Coin Transferee #10131   [Address on File]     5/19/2023 Bitcoin                             0.01189336 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/21/2023 Bitcoin                              0.0014055 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/22/2023 Bitcoin                              0.0011121 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/22/2023 Bitcoin                             0.00096345 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/25/2023 Bitcoin                             0.00090153 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/28/2023 Bitcoin                                0.000807 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/31/2023 Bitcoin                             0.00076174 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/22/2023 Bitcoin                             0.00074247 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/22/2023 Bitcoin                              0.0007411 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/22/2023 Bitcoin                             0.00074016 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/23/2023 Bitcoin                             0.00073094 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/31/2023 Bitcoin                             0.00070705 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/29/2023 Bitcoin                             0.00068438 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/25/2023 Bitcoin                             0.00060824 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/28/2023 Bitcoin                             0.00058733 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/22/2023 Bitcoin                             0.00051329 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/25/2023 Bitcoin                             0.00045048 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/21/2023 Bitcoin                             0.00041693 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/28/2023 Bitcoin                             0.00034739 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/30/2023 Bitcoin                             0.00034102 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/31/2023 Bitcoin                             0.00026601 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/24/2023 Bitcoin                             0.00023727 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/23/2023 Bitcoin                             0.00020607 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/28/2023 Bitcoin                             0.00018264 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/25/2023 Bitcoin                             0.00018016 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/25/2023 Bitcoin                             0.00018006 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/24/2023 Bitcoin                             0.00017173 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/23/2023 Bitcoin                             0.00015721 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/26/2023 Bitcoin                             0.00008817 Customer Transfer
 Confidential Customer Coin Transferee #10132   [Address on File]     5/29/2023 Bitcoin                             0.00008816 Customer Transfer
 Confidential Customer Coin Transferee #10133   [Address on File]     5/23/2023 Bitcoin                             0.07394601 Customer Transfer
 Confidential Customer Coin Transferee #10134   [Address on File]     5/25/2023 Bitcoin                             0.01141668 Customer Transfer
 Confidential Customer Coin Transferee #10134   [Address on File]     5/28/2023 Bitcoin                             0.01096563 Customer Transfer
 Confidential Customer Coin Transferee #10134   [Address on File]     5/20/2023 Bitcoin                             0.00738843 Customer Transfer
 Confidential Customer Coin Transferee #10135   [Address on File]     5/17/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #10135   [Address on File]     5/27/2023 Bitcoin                                   0.009 Customer Transfer
 Confidential Customer Coin Transferee #10136   [Address on File]     5/24/2023 Bitcoin                                   0.009 Customer Transfer
 Confidential Customer Coin Transferee #10136   [Address on File]     5/24/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #10137   [Address on File]     5/23/2023 Bitcoin                              0.0031559 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/28/2023 Bitcoin                             0.00146528 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/29/2023 Bitcoin                             0.00142513 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/27/2023 Bitcoin                             0.00111912 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/27/2023 Bitcoin                              0.0011175 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/27/2023 Bitcoin                             0.00111556 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/27/2023 Bitcoin                             0.00111492 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/27/2023 Bitcoin                             0.00111455 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/20/2023 Bitcoin                             0.00111087 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/28/2023 Bitcoin                             0.00109731 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/24/2023 Bitcoin                             0.00105695 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/25/2023 Bitcoin                             0.00094389 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/19/2023 Bitcoin                             0.00092776 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/16/2023 Bitcoin                             0.00092059 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/29/2023 Bitcoin                             0.00089143 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/29/2023 Bitcoin                             0.00088422 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/28/2023 Bitcoin                             0.00072774 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/16/2023 Bitcoin                             0.00069878 Customer Transfer
 Confidential Customer Coin Transferee #10138   [Address on File]     5/21/2023 Bitcoin                             0.00069513 Customer Transfer
 Confidential Customer Coin Transferee #10139   [Address on File]     5/16/2023 Bitcoin                             0.00736146 Customer Transfer
 Confidential Customer Coin Transferee #10140   [Address on File]     5/18/2023 Bitcoin                             0.00105373 Customer Transfer
 Confidential Customer Coin Transferee #10141   [Address on File]     5/26/2023 Bitcoin                             0.04620367 Customer Transfer
 Confidential Customer Coin Transferee #10142   [Address on File]     5/17/2023 Bitcoin                             0.00520251 Customer Transfer
 Confidential Customer Coin Transferee #10142   [Address on File]     5/18/2023 Bitcoin                             0.00472649 Customer Transfer
 Confidential Customer Coin Transferee #10143   [Address on File]     5/21/2023 Bitcoin                             0.06515227 Customer Transfer
 Confidential Customer Coin Transferee #10144   [Address on File]     5/30/2023 Bitcoin                                   0.105 Customer Transfer
 Confidential Customer Coin Transferee #10145   [Address on File]     5/16/2023 Bitcoin                             0.03784069 Customer Transfer
 Confidential Customer Coin Transferee #10145   [Address on File]     5/26/2023 Bitcoin                             0.03764115 Customer Transfer
 Confidential Customer Coin Transferee #10146   [Address on File]     5/20/2023 Bitcoin                             0.00370662 Customer Transfer
 Confidential Customer Coin Transferee #10147   [Address on File]     6/20/2023 Bitcoin                             0.03466687 Customer Transfer
 Confidential Customer Coin Transferee #10148   [Address on File]     5/29/2023 Bitcoin                             0.01836241 Customer Transfer
 Confidential Customer Coin Transferee #10148   [Address on File]     5/31/2023 Bitcoin                             0.01057381 Customer Transfer
 Confidential Customer Coin Transferee #10149   [Address on File]     5/28/2023 Bitcoin                             0.00037495 Customer Transfer
 Confidential Customer Coin Transferee #10150   [Address on File]     5/19/2023 Bitcoin                             0.01822134 Customer Transfer
 Confidential Customer Coin Transferee #10151   [Address on File]     5/21/2023 Bitcoin                              0.0369444 Customer Transfer
 Confidential Customer Coin Transferee #10152   [Address on File]     5/26/2023 Bitcoin                             0.02809268 Customer Transfer
 Confidential Customer Coin Transferee #10152   [Address on File]     5/19/2023 Bitcoin                             0.02775557 Customer Transfer
 Confidential Customer Coin Transferee #10153   [Address on File]     5/18/2023 Bitcoin                             0.00054685 Customer Transfer
 Confidential Customer Coin Transferee #10154   [Address on File]     5/19/2023 Bitcoin                             0.06611042 Customer Transfer
 Confidential Customer Coin Transferee #10155   [Address on File]     5/21/2023 Bitcoin                             0.00165083 Customer Transfer
 Confidential Customer Coin Transferee #10155   [Address on File]     5/21/2023 Bitcoin                             0.00135352 Customer Transfer
 Confidential Customer Coin Transferee #10155   [Address on File]     5/21/2023 Bitcoin                             0.00130202 Customer Transfer
 Confidential Customer Coin Transferee #10155   [Address on File]     5/19/2023 Bitcoin                             0.00129528 Customer Transfer
 Confidential Customer Coin Transferee #10155   [Address on File]     5/21/2023 Bitcoin                             0.00127763 Customer Transfer
 Confidential Customer Coin Transferee #10155   [Address on File]     5/20/2023 Bitcoin                             0.00111017 Customer Transfer
 Confidential Customer Coin Transferee #10155   [Address on File]     5/22/2023 Bitcoin                              0.0009971 Customer Transfer
 Confidential Customer Coin Transferee #10155   [Address on File]     5/20/2023 Bitcoin                             0.00092523 Customer Transfer
 Confidential Customer Coin Transferee #10155   [Address on File]     5/21/2023 Bitcoin                             0.00087735 Customer Transfer
 Confidential Customer Coin Transferee #10155   [Address on File]     5/16/2023 Bitcoin                             0.00073613 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10155   [Address on File]     5/21/2023 Bitcoin                             0.00061509 Customer Transfer
 Confidential Customer Coin Transferee #10156   [Address on File]     5/30/2023 Bitcoin                             0.00447141 Customer Transfer
 Confidential Customer Coin Transferee #10156   [Address on File]     5/31/2023 Bitcoin                             0.00391492 Customer Transfer
 Confidential Customer Coin Transferee #10156   [Address on File]     5/20/2023 Bitcoin                              0.0022945 Customer Transfer
 Confidential Customer Coin Transferee #10156   [Address on File]     5/31/2023 Bitcoin                             0.00100602 Customer Transfer
 Confidential Customer Coin Transferee #10156   [Address on File]     5/16/2023 Bitcoin                             0.00091662 Customer Transfer
 Confidential Customer Coin Transferee #10156   [Address on File]     5/19/2023 Bitcoin                             0.00039202 Customer Transfer
 Confidential Customer Coin Transferee #10157   [Address on File]     5/20/2023 Bitcoin                             0.00553753 Customer Transfer
 Confidential Customer Coin Transferee #10158   [Address on File]     5/25/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #10159   [Address on File]     5/28/2023 Bitcoin                             0.00018502 Customer Transfer
 Confidential Customer Coin Transferee #10160   [Address on File]     5/16/2023 Bitcoin                             0.02769556 Customer Transfer
 Confidential Customer Coin Transferee #10160   [Address on File]     5/22/2023 Bitcoin                             0.00884568 Customer Transfer
 Confidential Customer Coin Transferee #10160   [Address on File]     5/27/2023 Bitcoin                             0.00744284 Customer Transfer
 Confidential Customer Coin Transferee #10161   [Address on File]     5/20/2023 Bitcoin                             0.00423237 Customer Transfer
 Confidential Customer Coin Transferee #10162   [Address on File]     5/16/2023 Bitcoin                             0.09195314 Customer Transfer
 Confidential Customer Coin Transferee #10162   [Address on File]     5/16/2023 Bitcoin                             0.09163129 Customer Transfer
 Confidential Customer Coin Transferee #10162   [Address on File]     5/16/2023 Bitcoin                                    0.035 Customer Transfer
 Confidential Customer Coin Transferee #10162   [Address on File]     5/16/2023 Bitcoin                             0.00116932 Customer Transfer
 Confidential Customer Coin Transferee #10163   [Address on File]     5/26/2023 Bitcoin                             0.04973065 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/29/2023 Bitcoin                                0.004149 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/24/2023 Bitcoin                              0.0037006 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/25/2023 Bitcoin                             0.00366411 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/31/2023 Bitcoin                             0.00362285 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/28/2023 Bitcoin                             0.00359237 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/29/2023 Bitcoin                             0.00347433 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/30/2023 Bitcoin                             0.00346841 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/29/2023 Bitcoin                              0.0028148 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/31/2023 Bitcoin                                   0.0028 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/29/2023 Bitcoin                             0.00271906 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/20/2023 Bitcoin                                 0.00262 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/28/2023 Bitcoin                             0.00255587 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/16/2023 Bitcoin                             0.00214497 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/25/2023 Bitcoin                             0.00187397 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/26/2023 Bitcoin                             0.00185685 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/22/2023 Bitcoin                             0.00182958 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/18/2023 Bitcoin                             0.00180353 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/20/2023 Bitcoin                             0.00177813 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/28/2023 Bitcoin                             0.00177428 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/30/2023 Bitcoin                             0.00175714 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/21/2023 Bitcoin                             0.00167416 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/16/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/17/2023 Bitcoin                             0.00143046 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/20/2023 Bitcoin                              0.0014181 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/16/2023 Bitcoin                             0.00141421 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/21/2023 Bitcoin                             0.00126575 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/19/2023 Bitcoin                             0.00122008 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/31/2023 Bitcoin                             0.00121888 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/21/2023 Bitcoin                             0.00108654 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/20/2023 Bitcoin                             0.00100938 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/16/2023 Bitcoin                             0.00097161 Customer Transfer
 Confidential Customer Coin Transferee #10164   [Address on File]     5/31/2023 Bitcoin                              0.0009045 Customer Transfer
 Confidential Customer Coin Transferee #10165   [Address on File]     5/18/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #10166   [Address on File]     5/31/2023 Bitcoin                             0.00019114 Customer Transfer
 Confidential Customer Coin Transferee #10167   [Address on File]     6/19/2023 Bitcoin                             0.00006014 Customer Transfer
 Confidential Customer Coin Transferee #10168   [Address on File]     5/19/2023 Bitcoin                             0.00380963 Customer Transfer
 Confidential Customer Coin Transferee #10168   [Address on File]     5/26/2023 Bitcoin                             0.00191641 Customer Transfer
 Confidential Customer Coin Transferee #10168   [Address on File]     5/27/2023 Bitcoin                             0.00190044 Customer Transfer
 Confidential Customer Coin Transferee #10168   [Address on File]     5/27/2023 Bitcoin                             0.00189499 Customer Transfer
 Confidential Customer Coin Transferee #10168   [Address on File]     5/27/2023 Bitcoin                             0.00189166 Customer Transfer
 Confidential Customer Coin Transferee #10168   [Address on File]     5/27/2023 Bitcoin                             0.00189003 Customer Transfer
 Confidential Customer Coin Transferee #10168   [Address on File]     5/30/2023 Bitcoin                             0.00182803 Customer Transfer
 Confidential Customer Coin Transferee #10168   [Address on File]     5/30/2023 Bitcoin                             0.00182618 Customer Transfer
 Confidential Customer Coin Transferee #10168   [Address on File]     5/17/2023 Bitcoin                                 0.00092 Customer Transfer
 Confidential Customer Coin Transferee #10168   [Address on File]     5/16/2023 Bitcoin                             0.00091995 Customer Transfer
 Confidential Customer Coin Transferee #10169   [Address on File]     5/20/2023 Bitcoin                             0.00462645 Customer Transfer
 Confidential Customer Coin Transferee #10169   [Address on File]     5/23/2023 Bitcoin                             0.00420877 Customer Transfer
 Confidential Customer Coin Transferee #10169   [Address on File]     5/22/2023 Bitcoin                              0.0018608 Customer Transfer
 Confidential Customer Coin Transferee #10169   [Address on File]     5/20/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #10169   [Address on File]     5/23/2023 Bitcoin                             0.00035778 Customer Transfer
 Confidential Customer Coin Transferee #10169   [Address on File]     5/22/2023 Bitcoin                                0.000186 Customer Transfer
 Confidential Customer Coin Transferee #10169   [Address on File]     5/21/2023 Bitcoin                             0.00011013 Customer Transfer
 Confidential Customer Coin Transferee #10170   [Address on File]     5/22/2023 Bitcoin                             0.01556582 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10171   [Address on File]     5/27/2023 Bitcoin                                   0.0037 Customer Transfer
 Confidential Customer Coin Transferee #10172   [Address on File]     5/29/2023 Bitcoin                             0.02766328 Customer Transfer
 Confidential Customer Coin Transferee #10172   [Address on File]     5/25/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #10173   [Address on File]     5/31/2023 Bitcoin                             0.00121569 Customer Transfer
 Confidential Customer Coin Transferee #10173   [Address on File]     5/31/2023 Bitcoin                                 0.00092 Customer Transfer
 Confidential Customer Coin Transferee #10174   [Address on File]     5/29/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #10175   [Address on File]     5/17/2023 Bitcoin                              0.0450471 Customer Transfer
 Confidential Customer Coin Transferee #10175   [Address on File]     5/17/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #10176   [Address on File]     5/26/2023 Bitcoin                             0.00933822 Customer Transfer
 Confidential Customer Coin Transferee #10176   [Address on File]     5/26/2023 Bitcoin                              0.0092932 Customer Transfer
 Confidential Customer Coin Transferee #10177   [Address on File]     5/22/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #10178   [Address on File]     5/16/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #10178   [Address on File]     5/26/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #10179   [Address on File]     5/27/2023 Bitcoin                             0.02686382 Customer Transfer
 Confidential Customer Coin Transferee #10180   [Address on File]     5/17/2023 Bitcoin                                    0.038 Customer Transfer
 Confidential Customer Coin Transferee #10180   [Address on File]     5/17/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #10181   [Address on File]     5/25/2023 Bitcoin                             0.03692548 Customer Transfer
 Confidential Customer Coin Transferee #10182   [Address on File]     5/30/2023 Bitcoin                             0.00922243 Customer Transfer
 Confidential Customer Coin Transferee #10182   [Address on File]     5/17/2023 Bitcoin                             0.00092402 Customer Transfer
 Confidential Customer Coin Transferee #10182   [Address on File]     5/19/2023 Bitcoin                             0.00018517 Customer Transfer
 Confidential Customer Coin Transferee #10183   [Address on File]     5/26/2023 Bitcoin                             0.01172158 Customer Transfer
 Confidential Customer Coin Transferee #10183   [Address on File]     5/18/2023 Bitcoin                             0.01165218 Customer Transfer
 Confidential Customer Coin Transferee #10183   [Address on File]     5/29/2023 Bitcoin                                0.007223 Customer Transfer
 Confidential Customer Coin Transferee #10184   [Address on File]     5/30/2023 Bitcoin                                   0.0055 Customer Transfer
 Confidential Customer Coin Transferee #10184   [Address on File]     5/30/2023 Bitcoin                                   0.0044 Customer Transfer
 Confidential Customer Coin Transferee #10184   [Address on File]     5/30/2023 Bitcoin                                   0.0027 Customer Transfer
 Confidential Customer Coin Transferee #10184   [Address on File]     5/30/2023 Bitcoin                                   0.0027 Customer Transfer
 Confidential Customer Coin Transferee #10185   [Address on File]     5/28/2023 Bitcoin                             0.00869747 Customer Transfer
 Confidential Customer Coin Transferee #10186   [Address on File]     5/21/2023 Bitcoin                             0.01256416 Customer Transfer
 Confidential Customer Coin Transferee #10187   [Address on File]     5/19/2023 Bitcoin                             0.04117431 Customer Transfer
 Confidential Customer Coin Transferee #10188   [Address on File]     6/19/2023 Bitcoin                             0.00037935 Customer Transfer
 Confidential Customer Coin Transferee #10189   [Address on File]     5/27/2023 Bitcoin                             0.02235221 Customer Transfer
 Confidential Customer Coin Transferee #10190   [Address on File]     5/31/2023 Bitcoin                             0.01850153 Customer Transfer
 Confidential Customer Coin Transferee #10190   [Address on File]     5/29/2023 Bitcoin                             0.00046171 Customer Transfer
 Confidential Customer Coin Transferee #10190   [Address on File]     5/30/2023 Bitcoin                             0.00017795 Customer Transfer
 Confidential Customer Coin Transferee #10190   [Address on File]     5/30/2023 Bitcoin                             0.00003588 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10191   [Address on File]     5/25/2023 Bitcoin                             0.00416804 Customer Transfer
 Confidential Customer Coin Transferee #10191   [Address on File]     5/25/2023 Bitcoin                             0.00181126 Customer Transfer
 Confidential Customer Coin Transferee #10191   [Address on File]     5/18/2023 Bitcoin                             0.00079894 Customer Transfer
 Confidential Customer Coin Transferee #10191   [Address on File]     5/20/2023 Bitcoin                             0.00004628 Customer Transfer
 Confidential Customer Coin Transferee #10191   [Address on File]     5/20/2023 Bitcoin                             0.00003701 Customer Transfer
 Confidential Customer Coin Transferee #10191   [Address on File]     5/23/2023 Bitcoin                              0.0000364 Customer Transfer
 Confidential Customer Coin Transferee #10191   [Address on File]     5/18/2023 Bitcoin                             0.00001054 Customer Transfer
 Confidential Customer Coin Transferee #10192   [Address on File]     6/19/2023 Bitcoin                             0.00080661 Customer Transfer
 Confidential Customer Coin Transferee #10193   [Address on File]     5/18/2023 Bitcoin                             0.08488849 Customer Transfer
 Confidential Customer Coin Transferee #10193   [Address on File]     5/29/2023 Bitcoin                             0.05165925 Customer Transfer
 Confidential Customer Coin Transferee #10194   [Address on File]     6/19/2023 Bitcoin                              0.0004757 Customer Transfer
 Confidential Customer Coin Transferee #10195   [Address on File]     5/28/2023 Bitcoin                             0.00241429 Customer Transfer
 Confidential Customer Coin Transferee #10195   [Address on File]     5/28/2023 Bitcoin                             0.00229445 Customer Transfer
 Confidential Customer Coin Transferee #10195   [Address on File]     5/26/2023 Bitcoin                              0.0016174 Customer Transfer
 Confidential Customer Coin Transferee #10195   [Address on File]     5/28/2023 Bitcoin                             0.00115067 Customer Transfer
 Confidential Customer Coin Transferee #10195   [Address on File]     5/24/2023 Bitcoin                             0.00063302 Customer Transfer
 Confidential Customer Coin Transferee #10195   [Address on File]     5/25/2023 Bitcoin                             0.00045977 Customer Transfer
 Confidential Customer Coin Transferee #10195   [Address on File]     5/27/2023 Bitcoin                             0.00026106 Customer Transfer
 Confidential Customer Coin Transferee #10196   [Address on File]     5/16/2023 Bitcoin                             0.00413711 Customer Transfer
 Confidential Customer Coin Transferee #10197   [Address on File]     5/21/2023 Bitcoin                             0.00368085 Customer Transfer
 Confidential Customer Coin Transferee #10197   [Address on File]     5/17/2023 Bitcoin                             0.00284104 Customer Transfer
 Confidential Customer Coin Transferee #10197   [Address on File]     5/23/2023 Bitcoin                                0.002765 Customer Transfer
 Confidential Customer Coin Transferee #10197   [Address on File]     5/25/2023 Bitcoin                             0.00257309 Customer Transfer
 Confidential Customer Coin Transferee #10197   [Address on File]     5/28/2023 Bitcoin                             0.00237767 Customer Transfer
 Confidential Customer Coin Transferee #10197   [Address on File]     5/30/2023 Bitcoin                             0.00215932 Customer Transfer
 Confidential Customer Coin Transferee #10197   [Address on File]     5/31/2023 Bitcoin                             0.00120823 Customer Transfer
 Confidential Customer Coin Transferee #10198   [Address on File]     5/20/2023 Bitcoin                             0.01116531 Customer Transfer
 Confidential Customer Coin Transferee #10198   [Address on File]     5/30/2023 Bitcoin                             0.00891126 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/23/2023 Bitcoin                             0.00126842 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/25/2023 Bitcoin                             0.00113027 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/27/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/26/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/28/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/24/2023 Bitcoin                              0.0004848 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/16/2023 Bitcoin                             0.00026486 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/28/2023 Bitcoin                             0.00026458 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/17/2023 Bitcoin                             0.00024837 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/29/2023 Bitcoin                             0.00023614 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/26/2023 Bitcoin                             0.00023093 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/26/2023 Bitcoin                             0.00022462 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/31/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/31/2023 Bitcoin                              0.0001934 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/24/2023 Bitcoin                             0.00016251 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/24/2023 Bitcoin                             0.00014617 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/17/2023 Bitcoin                                 0.00012 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/24/2023 Bitcoin                             0.00011145 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/24/2023 Bitcoin                             0.00010983 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/29/2023 Bitcoin                             0.00010898 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/16/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/21/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/22/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/24/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/26/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/27/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/27/2023 Bitcoin                                0.000075 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/26/2023 Bitcoin                                 0.00006 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/21/2023 Bitcoin                             0.00005007 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/27/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #10199   [Address on File]     5/29/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #10200   [Address on File]     5/25/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #10201   [Address on File]     5/27/2023 Bitcoin                             0.00370699 Customer Transfer
 Confidential Customer Coin Transferee #10201   [Address on File]     5/17/2023 Bitcoin                             0.00366039 Customer Transfer
 Confidential Customer Coin Transferee #10202   [Address on File]     5/24/2023 Bitcoin                             0.00953903 Customer Transfer
 Confidential Customer Coin Transferee #10203   [Address on File]     5/27/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #10204   [Address on File]     5/28/2023 Bitcoin                             0.00190314 Customer Transfer
 Confidential Customer Coin Transferee #10205   [Address on File]     5/23/2023 Bitcoin                                   0.2203 Customer Transfer
 Confidential Customer Coin Transferee #10206   [Address on File]     5/27/2023 Bitcoin                             0.00693971 Customer Transfer
 Confidential Customer Coin Transferee #10207   [Address on File]     5/28/2023 Bitcoin                             0.01100884 Customer Transfer
 Confidential Customer Coin Transferee #10207   [Address on File]     5/23/2023 Bitcoin                             0.00462903 Customer Transfer
 Confidential Customer Coin Transferee #10207   [Address on File]     5/18/2023 Bitcoin                             0.00462536 Customer Transfer
 Confidential Customer Coin Transferee #10207   [Address on File]     5/31/2023 Bitcoin                                 0.00357 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10207   [Address on File]     5/25/2023 Bitcoin                              0.0031537 Customer Transfer
 Confidential Customer Coin Transferee #10207   [Address on File]     5/27/2023 Bitcoin                             0.00314245 Customer Transfer
 Confidential Customer Coin Transferee #10207   [Address on File]     5/29/2023 Bitcoin                             0.00303343 Customer Transfer
 Confidential Customer Coin Transferee #10207   [Address on File]     5/19/2023 Bitcoin                              0.0015544 Customer Transfer
 Confidential Customer Coin Transferee #10207   [Address on File]     5/21/2023 Bitcoin                             0.00155271 Customer Transfer
 Confidential Customer Coin Transferee #10208   [Address on File]     6/20/2023 Bitcoin                             0.00035238 Customer Transfer
 Confidential Customer Coin Transferee #10209   [Address on File]     6/17/2023 Bitcoin                             0.00182797 Customer Transfer
 Confidential Customer Coin Transferee #10210   [Address on File]     5/27/2023 Bitcoin                              0.0675581 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/22/2023 Bitcoin                             0.03698105 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/23/2023 Bitcoin                             0.03697323 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/23/2023 Bitcoin                              0.0369328 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/30/2023 Bitcoin                             0.02688512 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/30/2023 Bitcoin                                 0.02675 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/30/2023 Bitcoin                             0.02481142 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/25/2023 Bitcoin                             0.01899856 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/25/2023 Bitcoin                              0.0189923 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/25/2023 Bitcoin                              0.0189673 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/25/2023 Bitcoin                             0.01893945 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/24/2023 Bitcoin                             0.01888484 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/26/2023 Bitcoin                             0.01881429 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/26/2023 Bitcoin                             0.01878553 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/27/2023 Bitcoin                             0.01859489 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/27/2023 Bitcoin                             0.01859455 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/27/2023 Bitcoin                             0.01857469 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/19/2023 Bitcoin                             0.01853188 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/19/2023 Bitcoin                             0.01850869 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/22/2023 Bitcoin                             0.01850042 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/22/2023 Bitcoin                             0.01849986 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/19/2023 Bitcoin                             0.01847417 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/20/2023 Bitcoin                             0.01847303 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/19/2023 Bitcoin                             0.01846807 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/30/2023 Bitcoin                             0.01789561 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/30/2023 Bitcoin                             0.01784079 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/30/2023 Bitcoin                                 0.01394 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/27/2023 Bitcoin                             0.01209223 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/26/2023 Bitcoin                                  0.0105 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/30/2023 Bitcoin                                   0.009 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/16/2023 Bitcoin                             0.00824624 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/27/2023 Bitcoin                             0.00807217 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/16/2023 Bitcoin                              0.0079221 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/16/2023 Bitcoin                             0.00642271 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/28/2023 Bitcoin                             0.00624891 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/16/2023 Bitcoin                             0.00422218 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/30/2023 Bitcoin                                   0.004 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/16/2023 Bitcoin                              0.0038494 Customer Transfer
 Confidential Customer Coin Transferee #10211   [Address on File]     5/30/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #10212   [Address on File]     5/26/2023 Bitcoin                             0.00752204 Customer Transfer
 Confidential Customer Coin Transferee #10213   [Address on File]     5/16/2023 Bitcoin                             0.07349701 Customer Transfer
 Confidential Customer Coin Transferee #10214   [Address on File]     5/19/2023 Bitcoin                             0.01108856 Customer Transfer
 Confidential Customer Coin Transferee #10215   [Address on File]     6/16/2023 Bitcoin                             0.00402374 Customer Transfer
 Confidential Customer Coin Transferee #10216   [Address on File]     6/19/2023 Bitcoin                             0.00057955 Customer Transfer
 Confidential Customer Coin Transferee #10217   [Address on File]     5/21/2023 Bitcoin                             0.05065196 Customer Transfer
 Confidential Customer Coin Transferee #10218   [Address on File]     6/20/2023 Bitcoin                             0.00071211 Customer Transfer
 Confidential Customer Coin Transferee #10219   [Address on File]     6/19/2023 Bitcoin                             0.00191887 Customer Transfer
 Confidential Customer Coin Transferee #10220   [Address on File]     5/17/2023 Bitcoin                             0.00376338 Customer Transfer
 Confidential Customer Coin Transferee #10221   [Address on File]     6/20/2023 Bitcoin                             0.00183238 Customer Transfer
 Confidential Customer Coin Transferee #10222   [Address on File]     5/19/2023 Bitcoin                             0.01579524 Customer Transfer
 Confidential Customer Coin Transferee #10222   [Address on File]      6/8/2023 Bitcoin                             0.00502863 Customer Transfer
 Confidential Customer Coin Transferee #10223   [Address on File]     6/20/2023 Bitcoin                             0.00062685 Customer Transfer
 Confidential Customer Coin Transferee #10224   [Address on File]     6/20/2023 Bitcoin                              0.0005782 Customer Transfer
 Confidential Customer Coin Transferee #10225   [Address on File]     6/20/2023 Bitcoin                             0.00291417 Customer Transfer
 Confidential Customer Coin Transferee #10226   [Address on File]     6/19/2023 Bitcoin                             0.00057915 Customer Transfer
 Confidential Customer Coin Transferee #10227   [Address on File]     6/19/2023 Bitcoin                             0.00064585 Customer Transfer
 Confidential Customer Coin Transferee #10228   [Address on File]     6/20/2023 Bitcoin                             0.00063627 Customer Transfer
 Confidential Customer Coin Transferee #10229   [Address on File]     6/20/2023 Bitcoin                             0.00215682 Customer Transfer
 Confidential Customer Coin Transferee #10230   [Address on File]     6/19/2023 Bitcoin                             0.00021069 Customer Transfer
 Confidential Customer Coin Transferee #10231   [Address on File]     5/23/2023 Bitcoin                             0.14606384 Customer Transfer
 Confidential Customer Coin Transferee #10232   [Address on File]     6/19/2023 Bitcoin                             0.02607013 Customer Transfer
 Confidential Customer Coin Transferee #10233   [Address on File]     5/23/2023 Bitcoin                             0.01054353 Customer Transfer

 Confidential Customer Coin Transferee #10234   [Address on File]      6/1/2023 Tether USD                             2226.4554 Customer Transfer
 Confidential Customer Coin Transferee #10235   [Address on File]     6/20/2023 Bitcoin                                0.0007147 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #10236   [Address on File]     5/25/2023 Bitcoin                                0.01921293 Customer Transfer

 Confidential Customer Coin Transferee #10236   [Address on File]     5/18/2023 Bitcoin                                0.00765216 Customer Transfer
 Confidential Customer Coin Transferee #10237   [Address on File]     6/20/2023 Bitcoin                                0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #10238   [Address on File]     5/26/2023 Bitcoin                                0.01078964 Customer Transfer
 Confidential Customer Coin Transferee #10239   [Address on File]     5/23/2023 USDC Avalanche)                        996.161535 Customer Transfer
 Confidential Customer Coin Transferee #10239   [Address on File]     5/29/2023 Ether                                     0.258728 Customer Transfer
 Confidential Customer Coin Transferee #10240   [Address on File]     5/24/2023 Bitcoin                                0.00036458 Customer Transfer
 Confidential Customer Coin Transferee #10241   [Address on File]     5/21/2023 Bitcoin                                 0.0417388 Customer Transfer
 Confidential Customer Coin Transferee #10242   [Address on File]     5/20/2023 Bitcoin                                0.01062496 Customer Transfer
 Confidential Customer Coin Transferee #10243   [Address on File]     5/23/2023 Bitcoin                                0.09597776 Customer Transfer
 Confidential Customer Coin Transferee #10243   [Address on File]     5/21/2023 Bitcoin                                      0.0001 Customer Transfer
 Confidential Customer Coin Transferee #10244   [Address on File]     6/20/2023 Bitcoin                                0.00070692 Customer Transfer
 Confidential Customer Coin Transferee #10245   [Address on File]     5/25/2023 Bitcoin                                0.00078857 Customer Transfer
 Confidential Customer Coin Transferee #10245   [Address on File]     6/18/2023 Bitcoin                                0.00077553 Customer Transfer
 Confidential Customer Coin Transferee #10245   [Address on File]      6/8/2023 Bitcoin                                0.00077525 Customer Transfer
 Confidential Customer Coin Transferee #10245   [Address on File]      6/2/2023 Bitcoin                                0.00076758 Customer Transfer
 Confidential Customer Coin Transferee #10245   [Address on File]     5/31/2023 Bitcoin                                0.00073372 Customer Transfer
 Confidential Customer Coin Transferee #10245   [Address on File]     5/18/2023 Bitcoin                                0.00070574 Customer Transfer
 Confidential Customer Coin Transferee #10246   [Address on File]      6/7/2023 Bitcoin                                0.00096219 Customer Transfer
 Confidential Customer Coin Transferee #10246   [Address on File]     6/15/2023 Bitcoin                                0.00045478 Customer Transfer
 Confidential Customer Coin Transferee #10247   [Address on File]     6/13/2023 Bitcoin                                0.00041864 Customer Transfer
 Confidential Customer Coin Transferee #10248   [Address on File]     5/20/2023 Bitcoin                                   0.018239 Customer Transfer
 Confidential Customer Coin Transferee #10249   [Address on File]     6/19/2023 Bitcoin                                0.00005819 Customer Transfer
 Confidential Customer Coin Transferee #10250   [Address on File]     5/24/2023 Bitcoin                                0.23330841 Customer Transfer
 Confidential Customer Coin Transferee #10251   [Address on File]     5/17/2023 USDC Avalanche)                        496.491754 Customer Transfer
 Confidential Customer Coin Transferee #10252   [Address on File]     6/20/2023 Bitcoin                                 0.0051618 Customer Transfer
 Confidential Customer Coin Transferee #10253   [Address on File]     5/17/2023 Bitcoin                                0.10788152 Customer Transfer
 Confidential Customer Coin Transferee #10253   [Address on File]     5/16/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #10254   [Address on File]     5/18/2023 Bitcoin                                          0.2 Customer Transfer
 Confidential Customer Coin Transferee #10254   [Address on File]     5/16/2023 Bitcoin                                         0.12 Customer Transfer
 Confidential Customer Coin Transferee #10254   [Address on File]     5/19/2023 Bitcoin                                0.08443696 Customer Transfer
 Confidential Customer Coin Transferee #10254   [Address on File]     5/16/2023 Bitcoin                                         0.05 Customer Transfer
 Confidential Customer Coin Transferee #10254   [Address on File]     5/17/2023 Bitcoin                                         0.05 Customer Transfer
 Confidential Customer Coin Transferee #10254   [Address on File]     5/16/2023 Bitcoin                                         0.04 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10254   [Address on File]     5/16/2023 Bitcoin                                   0.004 Customer Transfer
 Confidential Customer Coin Transferee #10255   [Address on File]     5/18/2023 Bitcoin                              0.0012443 Customer Transfer
 Confidential Customer Coin Transferee #10255   [Address on File]     6/19/2023 Bitcoin                             0.00026016 Customer Transfer
 Confidential Customer Coin Transferee #10256   [Address on File]     6/19/2023 Bitcoin                             0.00249755 Customer Transfer
 Confidential Customer Coin Transferee #10257   [Address on File]     5/26/2023 Bitcoin                             0.05703344 Customer Transfer
 Confidential Customer Coin Transferee #10258   [Address on File]     5/31/2023 Bitcoin                             0.00090815 Customer Transfer
 Confidential Customer Coin Transferee #10258   [Address on File]     5/17/2023 Bitcoin                             0.00086166 Customer Transfer

 Confidential Customer Coin Transferee #10259   [Address on File]     6/19/2023 Bitcoin                                 0.0019945 Customer Transfer
 Confidential Customer Coin Transferee #10260   [Address on File]     5/16/2023 Bitcoin                                0.01145416 Customer Transfer
 Confidential Customer Coin Transferee #10261   [Address on File]     6/19/2023 Bitcoin                                0.00813605 Customer Transfer
 Confidential Customer Coin Transferee #10262   [Address on File]     6/20/2023 Bitcoin                                0.00513918 Customer Transfer
 Confidential Customer Coin Transferee #10263   [Address on File]     5/22/2023 Bitcoin                                0.00109963 Customer Transfer
 Confidential Customer Coin Transferee #10263   [Address on File]     6/14/2023 Bitcoin                                0.00072662 Customer Transfer
 Confidential Customer Coin Transferee #10264   [Address on File]     5/24/2023 Bitcoin                                0.00517118 Customer Transfer
 Confidential Customer Coin Transferee #10265   [Address on File]     5/19/2023 Bitcoin                                0.01055354 Customer Transfer
 Confidential Customer Coin Transferee #10266   [Address on File]     5/25/2023 Bitcoin                                0.01054296 Customer Transfer
 Confidential Customer Coin Transferee #10267   [Address on File]     6/19/2023 Bitcoin                                0.00003772 Customer Transfer
 Confidential Customer Coin Transferee #10268   [Address on File]      6/9/2023 Bitcoin                                0.01256369 Customer Transfer
 Confidential Customer Coin Transferee #10268   [Address on File]     5/17/2023 Bitcoin                                0.00767623 Customer Transfer
 Confidential Customer Coin Transferee #10268   [Address on File]     5/24/2023 Bitcoin                                0.00556703 Customer Transfer
 Confidential Customer Coin Transferee #10269   [Address on File]     5/17/2023 Bitcoin                                0.02583181 Customer Transfer
 Confidential Customer Coin Transferee #10270   [Address on File]      6/9/2023 Bitcoin                                0.00514138 Customer Transfer
 Confidential Customer Coin Transferee #10270   [Address on File]     6/20/2023 Bitcoin                                0.00078844 Customer Transfer
 Confidential Customer Coin Transferee #10271   [Address on File]     6/19/2023 Bitcoin                                0.00200467 Customer Transfer
 Confidential Customer Coin Transferee #10272   [Address on File]      6/7/2023 Bitcoin                                0.01434057 Customer Transfer
 Confidential Customer Coin Transferee #10272   [Address on File]     6/15/2023 Bitcoin                                0.00113866 Customer Transfer
 Confidential Customer Coin Transferee #10273   [Address on File]     6/20/2023 Bitcoin                                 0.0000562 Customer Transfer
 Confidential Customer Coin Transferee #10274   [Address on File]     5/23/2023 Bitcoin                                0.01249951 Customer Transfer
 Confidential Customer Coin Transferee #10274   [Address on File]     5/16/2023 Bitcoin                                0.01211741 Customer Transfer
 Confidential Customer Coin Transferee #10275   [Address on File]      6/2/2023 USDC Avalanche)                        496.761942 Customer Transfer
 Confidential Customer Coin Transferee #10276   [Address on File]     6/20/2023 Bitcoin                                0.00541157 Customer Transfer
 Confidential Customer Coin Transferee #10277   [Address on File]     5/30/2023 Bitcoin                                0.00079593 Customer Transfer
 Confidential Customer Coin Transferee #10277   [Address on File]      6/7/2023 Bitcoin                                0.00068961 Customer Transfer
 Confidential Customer Coin Transferee #10277   [Address on File]      6/2/2023 Bitcoin                                0.00030962 Customer Transfer
 Confidential Customer Coin Transferee #10277   [Address on File]     5/16/2023 Bitcoin                                0.00028109 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10277   [Address on File]     5/16/2023 Bitcoin                                0.000224 Customer Transfer
 Confidential Customer Coin Transferee #10277   [Address on File]     5/31/2023 Bitcoin                             0.00021428 Customer Transfer
 Confidential Customer Coin Transferee #10277   [Address on File]     5/16/2023 Bitcoin                             0.00020716 Customer Transfer
 Confidential Customer Coin Transferee #10277   [Address on File]     6/16/2023 Bitcoin                             0.00004266 Customer Transfer
 Confidential Customer Coin Transferee #10278   [Address on File]     6/19/2023 Bitcoin                                0.000352 Customer Transfer
 Confidential Customer Coin Transferee #10279   [Address on File]     5/26/2023 Bitcoin                             0.00967375 Customer Transfer
 Confidential Customer Coin Transferee #10280   [Address on File]     6/19/2023 Bitcoin                             0.00117393 Customer Transfer
 Confidential Customer Coin Transferee #10281   [Address on File]     5/25/2023 Bitcoin                             0.02648831 Customer Transfer
 Confidential Customer Coin Transferee #10282   [Address on File]     5/29/2023 Bitcoin                             0.04118165 Customer Transfer
 Confidential Customer Coin Transferee #10283   [Address on File]     5/19/2023 Bitcoin                             0.00485528 Customer Transfer
 Confidential Customer Coin Transferee #10283   [Address on File]     5/26/2023 Bitcoin                             0.00297546 Customer Transfer
 Confidential Customer Coin Transferee #10283   [Address on File]     5/21/2023 Bitcoin                              0.0021719 Customer Transfer
 Confidential Customer Coin Transferee #10284   [Address on File]     5/23/2023 Bitcoin                             0.08934332 Customer Transfer
 Confidential Customer Coin Transferee #10285   [Address on File]     5/24/2023 Bitcoin                             0.04739745 Customer Transfer

 Confidential Customer Coin Transferee #10286   [Address on File]     5/26/2023 Bitcoin                                0.23161852 Customer Transfer

 Confidential Customer Coin Transferee #10286   [Address on File]     5/19/2023 Bitcoin                                0.13653534 Customer Transfer

 Confidential Customer Coin Transferee #10286   [Address on File]     5/29/2023 Bitcoin                                0.05587597 Customer Transfer
 Confidential Customer Coin Transferee #10287   [Address on File]     6/19/2023 Bitcoin                                0.00011757 Customer Transfer
 Confidential Customer Coin Transferee #10288   [Address on File]     6/12/2023 Bitcoin                                0.00188798 Customer Transfer
 Confidential Customer Coin Transferee #10288   [Address on File]      6/6/2023 Bitcoin                                0.00183484 Customer Transfer
 Confidential Customer Coin Transferee #10289   [Address on File]     6/20/2023 Bitcoin                                 0.0014901 Customer Transfer
 Confidential Customer Coin Transferee #10290   [Address on File]     6/19/2023 Bitcoin                                0.00377426 Customer Transfer
 Confidential Customer Coin Transferee #10291   [Address on File]      6/8/2023 Bitcoin                                0.00144877 Customer Transfer
 Confidential Customer Coin Transferee #10291   [Address on File]     6/20/2023 Bitcoin                                0.00038959 Customer Transfer
 Confidential Customer Coin Transferee #10292   [Address on File]     6/20/2023 Bitcoin                                 0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #10293   [Address on File]     6/19/2023 Bitcoin                                0.00194105 Customer Transfer
 Confidential Customer Coin Transferee #10294   [Address on File]     5/20/2023 Bitcoin                                0.01099743 Customer Transfer
 Confidential Customer Coin Transferee #10295   [Address on File]      6/8/2023 Bitcoin                                0.01003334 Customer Transfer
 Confidential Customer Coin Transferee #10296   [Address on File]     5/27/2023 Bitcoin                                0.01002388 Customer Transfer
 Confidential Customer Coin Transferee #10297   [Address on File]     6/20/2023 Bitcoin                                0.00807187 Customer Transfer
 Confidential Customer Coin Transferee #10298   [Address on File]     5/18/2023 Bitcoin                                0.01049152 Customer Transfer
 Confidential Customer Coin Transferee #10299   [Address on File]     5/20/2023 Bitcoin                                 0.0206714 Customer Transfer
 Confidential Customer Coin Transferee #10300   [Address on File]     6/20/2023 Bitcoin                                0.00263223 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10301   [Address on File]     6/19/2023 Bitcoin                              0.0000851 Customer Transfer
 Confidential Customer Coin Transferee #10302   [Address on File]     6/20/2023 Bitcoin                             0.00417156 Customer Transfer
 Confidential Customer Coin Transferee #10303   [Address on File]     6/20/2023 Bitcoin                             0.07717908 Customer Transfer
 Confidential Customer Coin Transferee #10304   [Address on File]     6/20/2023 Bitcoin                             0.00059926 Customer Transfer
 Confidential Customer Coin Transferee #10305   [Address on File]     6/20/2023 Bitcoin                             0.00058017 Customer Transfer
 Confidential Customer Coin Transferee #10306   [Address on File]      6/5/2023 Bitcoin                             0.01060537 Customer Transfer
 Confidential Customer Coin Transferee #10307   [Address on File]     5/21/2023 Bitcoin                             0.00860553 Customer Transfer
 Confidential Customer Coin Transferee #10308   [Address on File]     5/18/2023 Bitcoin                             0.30361815 Customer Transfer
 Confidential Customer Coin Transferee #10308   [Address on File]     5/18/2023 Bitcoin                             0.07565995 Customer Transfer
 Confidential Customer Coin Transferee #10309   [Address on File]     5/26/2023 Bitcoin                              0.0001408 Customer Transfer
 Confidential Customer Coin Transferee #10310   [Address on File]     6/19/2023 Bitcoin                             0.00006015 Customer Transfer
 Confidential Customer Coin Transferee #10311   [Address on File]     5/22/2023 Bitcoin                             0.01110444 Customer Transfer
 Confidential Customer Coin Transferee #10312   [Address on File]     6/20/2023 Bitcoin                              0.0029109 Customer Transfer
 Confidential Customer Coin Transferee #10313   [Address on File]     5/23/2023 Bitcoin                             0.01017562 Customer Transfer
 Confidential Customer Coin Transferee #10314   [Address on File]     6/19/2023 Bitcoin                              0.0005197 Customer Transfer
 Confidential Customer Coin Transferee #10315   [Address on File]     6/19/2023 Bitcoin                             0.00035465 Customer Transfer
 Confidential Customer Coin Transferee #10316   [Address on File]     6/20/2023 Bitcoin                              0.0003489 Customer Transfer
 Confidential Customer Coin Transferee #10317   [Address on File]     6/19/2023 Bitcoin                             0.00011632 Customer Transfer
 Confidential Customer Coin Transferee #10318   [Address on File]     6/14/2023 Bitcoin                             0.00673049 Customer Transfer
 Confidential Customer Coin Transferee #10319   [Address on File]     6/20/2023 Bitcoin                             0.00042085 Customer Transfer
 Confidential Customer Coin Transferee #10320   [Address on File]     6/19/2023 Bitcoin                             0.07539072 Customer Transfer
 Confidential Customer Coin Transferee #10321   [Address on File]     5/23/2023 Bitcoin                             0.01761391 Customer Transfer
 Confidential Customer Coin Transferee #10321   [Address on File]     5/25/2023 Bitcoin                              0.0036383 Customer Transfer
 Confidential Customer Coin Transferee #10321   [Address on File]     5/18/2023 Bitcoin                             0.00335648 Customer Transfer
 Confidential Customer Coin Transferee #10322   [Address on File]     6/20/2023 Bitcoin                             0.00009539 Customer Transfer
 Confidential Customer Coin Transferee #10323   [Address on File]     6/20/2023 Bitcoin                             0.00416814 Customer Transfer
 Confidential Customer Coin Transferee #10324   [Address on File]     5/16/2023 Bitcoin                             0.02503203 Customer Transfer
 Confidential Customer Coin Transferee #10325   [Address on File]     5/23/2023 Bitcoin                              0.0525437 Customer Transfer
 Confidential Customer Coin Transferee #10326   [Address on File]     6/19/2023 Bitcoin                             0.00029731 Customer Transfer
 Confidential Customer Coin Transferee #10327   [Address on File]     6/13/2023 Bitcoin                             0.01924429 Customer Transfer
 Confidential Customer Coin Transferee #10328   [Address on File]     6/12/2023 Bitcoin                             0.01490766 Customer Transfer
 Confidential Customer Coin Transferee #10329   [Address on File]     6/20/2023 Bitcoin                             0.00003661 Customer Transfer
 Confidential Customer Coin Transferee #10330   [Address on File]     6/19/2023 Bitcoin                             0.01192967 Customer Transfer
 Confidential Customer Coin Transferee #10331   [Address on File]     5/19/2023 Bitcoin                             0.00182142 Customer Transfer
 Confidential Customer Coin Transferee #10331   [Address on File]     5/26/2023 Bitcoin                             0.00182007 Customer Transfer
 Confidential Customer Coin Transferee #10332   [Address on File]     6/17/2023 Bitcoin                             0.00003739 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10333   [Address on File]     6/20/2023 Bitcoin                             0.00205508 Customer Transfer
 Confidential Customer Coin Transferee #10334   [Address on File]      6/9/2023 Bitcoin                             0.00306926 Customer Transfer
 Confidential Customer Coin Transferee #10335   [Address on File]     5/29/2023 Bitcoin                             0.01106054 Customer Transfer
 Confidential Customer Coin Transferee #10336   [Address on File]     5/26/2023 Bitcoin                             0.08409803 Customer Transfer
 Confidential Customer Coin Transferee #10336   [Address on File]     5/19/2023 Bitcoin                             0.01737988 Customer Transfer
 Confidential Customer Coin Transferee #10337   [Address on File]     5/19/2023 Bitcoin                              0.0179516 Customer Transfer
 Confidential Customer Coin Transferee #10338   [Address on File]     6/19/2023 Bitcoin                             0.00131629 Customer Transfer
 Confidential Customer Coin Transferee #10339   [Address on File]     6/20/2023 Bitcoin                             0.00176754 Customer Transfer
 Confidential Customer Coin Transferee #10340   [Address on File]     6/14/2023 Bitcoin                             0.00059552 Customer Transfer
 Confidential Customer Coin Transferee #10341   [Address on File]     6/15/2023 USDC Avalanche)                    2993.412634 Customer Transfer
 Confidential Customer Coin Transferee #10341   [Address on File]     6/16/2023 USDC Avalanche)                    2158.102451 Customer Transfer
 Confidential Customer Coin Transferee #10341   [Address on File]      6/6/2023 USDC Avalanche)                    1002.159136 Customer Transfer
 Confidential Customer Coin Transferee #10341   [Address on File]     6/13/2023 Cosmos Hub ATOM)                    173.456968 Customer Transfer
 Confidential Customer Coin Transferee #10342   [Address on File]     5/28/2023 Bitcoin                             0.01911139 Customer Transfer
 Confidential Customer Coin Transferee #10342   [Address on File]      6/8/2023 Bitcoin                             0.00919748 Customer Transfer
 Confidential Customer Coin Transferee #10343   [Address on File]     5/29/2023 Bitcoin                             0.01746668 Customer Transfer
 Confidential Customer Coin Transferee #10343   [Address on File]      6/8/2023 Bitcoin                             0.00359962 Customer Transfer
 Confidential Customer Coin Transferee #10344   [Address on File]     6/19/2023 Bitcoin                             0.00004316 Customer Transfer
 Confidential Customer Coin Transferee #10345   [Address on File]     5/21/2023 Bitcoin                             0.03933611 Customer Transfer
 Confidential Customer Coin Transferee #10346   [Address on File]     6/19/2023 Bitcoin                             0.00214613 Customer Transfer
 Confidential Customer Coin Transferee #10347   [Address on File]     5/18/2023 Bitcoin                             0.01111396 Customer Transfer
 Confidential Customer Coin Transferee #10347   [Address on File]     5/27/2023 Bitcoin                             0.01058994 Customer Transfer
 Confidential Customer Coin Transferee #10348   [Address on File]     6/20/2023 Bitcoin                             0.00104048 Customer Transfer
 Confidential Customer Coin Transferee #10349   [Address on File]     6/17/2023 Bitcoin                                0.003325 Customer Transfer
 Confidential Customer Coin Transferee #10350   [Address on File]     5/29/2023 Bitcoin                             0.01874493 Customer Transfer
 Confidential Customer Coin Transferee #10351   [Address on File]     5/18/2023 Bitcoin                             0.05168801 Customer Transfer
 Confidential Customer Coin Transferee #10352   [Address on File]     5/25/2023 Bitcoin                              0.0018932 Customer Transfer
 Confidential Customer Coin Transferee #10353   [Address on File]     5/27/2023 Bitcoin                             0.00189006 Customer Transfer
 Confidential Customer Coin Transferee #10353   [Address on File]     5/16/2023 Bitcoin                             0.00172034 Customer Transfer
 Confidential Customer Coin Transferee #10354   [Address on File]     5/25/2023 Bitcoin                             0.00943794 Customer Transfer
 Confidential Customer Coin Transferee #10354   [Address on File]      6/8/2023 Bitcoin                              0.0093956 Customer Transfer
 Confidential Customer Coin Transferee #10355   [Address on File]     6/17/2023 Bitcoin                             0.16507908 Customer Transfer
 Confidential Customer Coin Transferee #10356   [Address on File]     5/23/2023 Bitcoin                             0.00090376 Customer Transfer
 Confidential Customer Coin Transferee #10357   [Address on File]     5/27/2023 USDC Avalanche)                     496.662669 Customer Transfer
 Confidential Customer Coin Transferee #10357   [Address on File]     5/26/2023 USDC Avalanche)                     496.652677 Customer Transfer
 Confidential Customer Coin Transferee #10358   [Address on File]     5/17/2023 Bitcoin                              0.0157788 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10359   [Address on File]     5/24/2023 Bitcoin                             0.01071393 Customer Transfer
 Confidential Customer Coin Transferee #10360   [Address on File]     5/27/2023 Bitcoin                              0.0014064 Customer Transfer
 Confidential Customer Coin Transferee #10361   [Address on File]     5/31/2023 Bitcoin                             0.03425691 Customer Transfer
 Confidential Customer Coin Transferee #10362   [Address on File]     5/18/2023 Bitcoin                             0.00312497 Customer Transfer
 Confidential Customer Coin Transferee #10362   [Address on File]     6/15/2023 Bitcoin                             0.00298671 Customer Transfer
 Confidential Customer Coin Transferee #10362   [Address on File]     6/12/2023 Bitcoin                             0.00273993 Customer Transfer
 Confidential Customer Coin Transferee #10363   [Address on File]      6/9/2023 Bitcoin                             0.18319167 Customer Transfer
 Confidential Customer Coin Transferee #10363   [Address on File]     6/20/2023 Bitcoin                             0.07725984 Customer Transfer
 Confidential Customer Coin Transferee #10364   [Address on File]     6/19/2023 Bitcoin                             0.00006688 Customer Transfer
 Confidential Customer Coin Transferee #10365   [Address on File]     6/19/2023 Bitcoin                              0.0016733 Customer Transfer
 Confidential Customer Coin Transferee #10366   [Address on File]     5/21/2023 Bitcoin                             0.00288479 Customer Transfer
 Confidential Customer Coin Transferee #10367   [Address on File]     5/29/2023 Bitcoin                                0.011208 Customer Transfer
 Confidential Customer Coin Transferee #10368   [Address on File]     5/19/2023 Bitcoin                             0.05062279 Customer Transfer
 Confidential Customer Coin Transferee #10369   [Address on File]     5/24/2023 Bitcoin                             0.00380929 Customer Transfer
 Confidential Customer Coin Transferee #10370   [Address on File]     6/20/2023 Bitcoin                             0.00081549 Customer Transfer
 Confidential Customer Coin Transferee #10371   [Address on File]     6/20/2023 Bitcoin                             0.00056523 Customer Transfer
 Confidential Customer Coin Transferee #10372   [Address on File]     6/20/2023 Bitcoin                             0.07597082 Customer Transfer
 Confidential Customer Coin Transferee #10373   [Address on File]     6/20/2023 Bitcoin                             0.00056829 Customer Transfer
 Confidential Customer Coin Transferee #10374   [Address on File]     6/19/2023 Bitcoin                             0.00015562 Customer Transfer
 Confidential Customer Coin Transferee #10375   [Address on File]     5/20/2023 Bitcoin                             0.00180506 Customer Transfer
 Confidential Customer Coin Transferee #10376   [Address on File]     5/16/2023 Bitcoin                             0.02049444 Customer Transfer
 Confidential Customer Coin Transferee #10377   [Address on File]     6/20/2023 Bitcoin                             0.00475951 Customer Transfer
 Confidential Customer Coin Transferee #10378   [Address on File]     5/25/2023 Bitcoin                             0.06331988 Customer Transfer
 Confidential Customer Coin Transferee #10379   [Address on File]     5/24/2023 USDC Avalanche)                     297.190561 Customer Transfer
 Confidential Customer Coin Transferee #10379   [Address on File]     5/21/2023 USDC Avalanche)                      32.473763 Customer Transfer
 Confidential Customer Coin Transferee #10379   [Address on File]     5/24/2023 Cosmos Hub ATOM)                      3.651207 Customer Transfer
 Confidential Customer Coin Transferee #10379   [Address on File]     6/13/2023 Avalanche CChain)                     2.710216 Customer Transfer
 Confidential Customer Coin Transferee #10380   [Address on File]     6/20/2023 Bitcoin                             0.00102485 Customer Transfer
 Confidential Customer Coin Transferee #10381   [Address on File]     6/20/2023 Bitcoin                             0.01516627 Customer Transfer
 Confidential Customer Coin Transferee #10382   [Address on File]     5/23/2023 Bitcoin                              0.0248629 Customer Transfer
 Confidential Customer Coin Transferee #10383   [Address on File]     5/26/2023 Bitcoin                              0.0018561 Customer Transfer
 Confidential Customer Coin Transferee #10383   [Address on File]     5/19/2023 Bitcoin                             0.00170135 Customer Transfer
 Confidential Customer Coin Transferee #10384   [Address on File]     6/20/2023 Bitcoin                             0.00112647 Customer Transfer
 Confidential Customer Coin Transferee #10385   [Address on File]     5/21/2023 Bitcoin                             0.01011213 Customer Transfer
 Confidential Customer Coin Transferee #10386   [Address on File]     6/20/2023 Bitcoin                             0.00005819 Customer Transfer
 Confidential Customer Coin Transferee #10387   [Address on File]     6/20/2023 Bitcoin                             0.00007136 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10388   [Address on File]     6/20/2023 Bitcoin                             0.00005814 Customer Transfer

 Confidential Customer Coin Transferee #10389   [Address on File]     6/20/2023 Bitcoin                                0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #10390   [Address on File]     6/20/2023 Bitcoin                                0.00020105 Customer Transfer
 Confidential Customer Coin Transferee #10391   [Address on File]     5/29/2023 Bitcoin                                0.00389745 Customer Transfer
 Confidential Customer Coin Transferee #10391   [Address on File]     5/22/2023 Bitcoin                                0.00371349 Customer Transfer
 Confidential Customer Coin Transferee #10392   [Address on File]     6/20/2023 Bitcoin                                0.00036885 Customer Transfer
 Confidential Customer Coin Transferee #10393   [Address on File]     5/28/2023 Bitcoin                                0.05671497 Customer Transfer
 Confidential Customer Coin Transferee #10393   [Address on File]     5/24/2023 Bitcoin                                0.05586138 Customer Transfer
 Confidential Customer Coin Transferee #10393   [Address on File]     5/16/2023 Bitcoin                                 0.0537222 Customer Transfer
 Confidential Customer Coin Transferee #10394   [Address on File]     6/20/2023 Bitcoin                                0.00041319 Customer Transfer
 Confidential Customer Coin Transferee #10395   [Address on File]     6/20/2023 Bitcoin                                0.00045485 Customer Transfer
 Confidential Customer Coin Transferee #10396   [Address on File]     6/20/2023 Bitcoin                                0.00292627 Customer Transfer
 Confidential Customer Coin Transferee #10397   [Address on File]      6/7/2023 Bitcoin                                0.00145221 Customer Transfer
 Confidential Customer Coin Transferee #10398   [Address on File]     5/24/2023 Tether USD                             495.661735 Customer Transfer
 Confidential Customer Coin Transferee #10398   [Address on File]     5/23/2023 USDC Avalanche)                         46.985904 Customer Transfer
 Confidential Customer Coin Transferee #10398   [Address on File]     5/25/2023 Ether                                     0.025783 Customer Transfer
 Confidential Customer Coin Transferee #10398   [Address on File]     5/26/2023 Ether                                     0.017512 Customer Transfer
 Confidential Customer Coin Transferee #10399   [Address on File]     6/19/2023 Bitcoin                                0.00108575 Customer Transfer

 Confidential Customer Coin Transferee #10400   [Address on File]      6/7/2023 Bitcoin                                0.00721295 Customer Transfer

 Confidential Customer Coin Transferee #10400   [Address on File]     6/12/2023 Bitcoin                                0.00370835 Customer Transfer
 Confidential Customer Coin Transferee #10401   [Address on File]     5/22/2023 Bitcoin                                0.00374424 Customer Transfer
 Confidential Customer Coin Transferee #10401   [Address on File]     5/18/2023 Bitcoin                                0.00354303 Customer Transfer

 Confidential Customer Coin Transferee #10402   [Address on File]     5/19/2023 Ether                                  0.10848324 Customer Transfer
 Confidential Customer Coin Transferee #10403   [Address on File]     5/18/2023 Cardano                                270.657648 Customer Transfer
 Confidential Customer Coin Transferee #10404   [Address on File]     5/29/2023 Bitcoin                                0.00878383 Customer Transfer
 Confidential Customer Coin Transferee #10405   [Address on File]     5/26/2023 Bitcoin                                0.00461898 Customer Transfer
 Confidential Customer Coin Transferee #10405   [Address on File]     5/19/2023 Bitcoin                                0.00450914 Customer Transfer
 Confidential Customer Coin Transferee #10406   [Address on File]     5/20/2023 Bitcoin                                    0.00012 Customer Transfer
 Confidential Customer Coin Transferee #10407   [Address on File]     6/19/2023 Bitcoin                                0.00152445 Customer Transfer
 Confidential Customer Coin Transferee #10408   [Address on File]     5/27/2023 Bitcoin                                0.00063311 Customer Transfer
 Confidential Customer Coin Transferee #10409   [Address on File]     5/27/2023 Bitcoin                                0.05172065 Customer Transfer
 Confidential Customer Coin Transferee #10410   [Address on File]     5/19/2023 Bitcoin                                0.13224849 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count           or Transfer


 Confidential Customer Coin Transferee #10411   [Address on File]      6/1/2023 Tether USD                                     37 Customer Transfer
 Confidential Customer Coin Transferee #10412   [Address on File]     6/15/2023 Tether USD                             11011.1107 Customer Transfer
 Confidential Customer Coin Transferee #10412   [Address on File]     6/21/2023 Tether USD                             11003.9783 Customer Transfer
 Confidential Customer Coin Transferee #10412   [Address on File]     6/15/2023 Tether USD                                79.5507 Customer Transfer

 Confidential Customer Coin Transferee #10413   [Address on File]     5/16/2023 Bitcoin                                0.00219537 Customer Transfer
 Confidential Customer Coin Transferee #10414   [Address on File]     5/30/2023 Bitcoin                                0.06874738 Customer Transfer
 Confidential Customer Coin Transferee #10414   [Address on File]     5/21/2023 Bitcoin                                0.00343992 Customer Transfer
 Confidential Customer Coin Transferee #10415   [Address on File]     6/12/2023 Tether USD                                 3968.24 Customer Transfer
 Confidential Customer Coin Transferee #10415   [Address on File]      6/9/2023 Tether USD                                  988.61 Customer Transfer
 Confidential Customer Coin Transferee #10415   [Address on File]      6/9/2023 Tether USD                                    94.36 Customer Transfer
 Confidential Customer Coin Transferee #10416   [Address on File]     5/25/2023 Bitcoin                                0.08146491 Customer Transfer
 Confidential Customer Coin Transferee #10417   [Address on File]     5/30/2023 Tether USD                                    1095 Customer Transfer
 Confidential Customer Coin Transferee #10417   [Address on File]      6/1/2023 Tether USD                                      870 Customer Transfer
 Confidential Customer Coin Transferee #10417   [Address on File]      6/8/2023 Tether USD                                    352.1 Customer Transfer
 Confidential Customer Coin Transferee #10418   [Address on File]     5/27/2023 Bitcoin                                0.00308525 Customer Transfer
 Confidential Customer Coin Transferee #10418   [Address on File]     5/27/2023 Bitcoin                                0.00111319 Customer Transfer
 Confidential Customer Coin Transferee #10419   [Address on File]     5/26/2023 Bitcoin                                0.00263779 Customer Transfer
 Confidential Customer Coin Transferee #10419   [Address on File]     5/19/2023 Bitcoin                                0.00259168 Customer Transfer
 Confidential Customer Coin Transferee #10420   [Address on File]     5/23/2023 Bitcoin                                0.03619033 Customer Transfer
 Confidential Customer Coin Transferee #10421   [Address on File]     5/21/2023 Bitcoin                                     0.0012 Customer Transfer
 Confidential Customer Coin Transferee #10421   [Address on File]     5/21/2023 Bitcoin                                    0.00112 Customer Transfer
 Confidential Customer Coin Transferee #10421   [Address on File]     5/30/2023 Bitcoin                                     0.0011 Customer Transfer
 Confidential Customer Coin Transferee #10421   [Address on File]     5/19/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #10421   [Address on File]     5/19/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #10422   [Address on File]     5/22/2023 Bitcoin                                0.07266354 Customer Transfer
 Confidential Customer Coin Transferee #10423   [Address on File]     5/16/2023 Bitcoin                                0.04380993 Customer Transfer
 Confidential Customer Coin Transferee #10424   [Address on File]     5/17/2023 Bitcoin                                0.00023987 Customer Transfer
 Confidential Customer Coin Transferee #10424   [Address on File]     5/17/2023 Bitcoin                                0.00022394 Customer Transfer
 Confidential Customer Coin Transferee #10425   [Address on File]     5/23/2023 Bitcoin                                    0.21978 Customer Transfer
 Confidential Customer Coin Transferee #10425   [Address on File]     5/16/2023 Bitcoin                                    0.00001 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/26/2023 USD Coin Stellar)                      197.661636 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/30/2023 Lumens                                  54.558079 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     6/12/2023 USDC Avalanche)                         49.015492 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date         Crypto Currency               Unit Count       or Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/1/2023 USDC Avalanche)                     28.755622 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/7/2023 USDC Avalanche)                     23.828085 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/1/2023 USDC Avalanche)                       23.75812 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/7/2023 USDC Avalanche)                     19.770114 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/24/2023 USDC Avalanche)                     18.816236 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/16/2023 USDC Avalanche)                     18.734379 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/22/2023 USDC Avalanche)                     14.914034 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/1/2023 USDC Avalanche)                     13.873063 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     6/13/2023 USDC Avalanche)                       9.475262 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     6/13/2023 USDC Avalanche)                       9.465267 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     6/16/2023 USDC Avalanche)                        9.44976 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/7/2023 USDC Avalanche)                       9.434339 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     6/21/2023 USDC Avalanche)                       9.427944 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     6/21/2023 USDC Avalanche)                       9.427005 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/31/2023 USDC Avalanche)                       8.535732 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/1/2023 USDC Avalanche)                       5.467266 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/1/2023 USD Coin Stellar)                      4.94802 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/1/2023 USD Coin Stellar)                      4.94802 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/26/2023 USD Coin Stellar)                     4.947031 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/26/2023 USD Coin Stellar)                     4.947031 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/30/2023 USD Coin Stellar)                     4.947031 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/30/2023 USD Coin Stellar)                     4.947031 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/30/2023 USD Coin Stellar)                     4.947031 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/26/2023 USD Coin Stellar)                     4.946537 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/26/2023 USD Coin Stellar)                     4.946537 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     6/13/2023 USDC Avalanche)                       4.538184 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     6/14/2023 USDC Avalanche)                       4.528188 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/7/2023 USDC Avalanche)                       4.517289 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/1/2023 USDC Avalanche)                       4.507746 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     6/21/2023 USDC Avalanche)                       4.505133 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/16/2023 USDC Avalanche)                        4.49865 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/30/2023 USDC Avalanche)                       4.488204 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/19/2023 USDC Avalanche)                       4.487756 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/30/2023 USDC Avalanche)                       4.487756 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/2/2023 USDC Avalanche)                       4.487756 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/3/2023 USDC Avalanche)                       4.487307 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/3/2023 USDC Avalanche)                        4.487307 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/31/2023 USDC Avalanche)                        3.568215 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/31/2023 USDC Avalanche)                        3.567859 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/18/2023 USD Coin Stellar)                       1.97901 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/25/2023 USD Coin Stellar)                       1.97901 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/25/2023 USD Coin Stellar)                      1.479112 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/25/2023 USD Coin Stellar)                       1.17941 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/18/2023 Lumens                                        1 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/23/2023 Lumens                                        1 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/23/2023 Lumens                                        1 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/26/2023 USD Coin Stellar)                             1 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/1/2023 Avalanche CChain)                     0.332633 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]     5/30/2023 Avalanche CChain)                     0.327428 Customer Transfer
 Confidential Customer Coin Transferee #10426   [Address on File]      6/1/2023 Solana                                0.236224 Customer Transfer
 Confidential Customer Coin Transferee #10427   [Address on File]      6/6/2023 Lumens                              339.427357 Customer Transfer
 Confidential Customer Coin Transferee #10427   [Address on File]      6/6/2023 USD Coin Stellar)                    31.964017 Customer Transfer
 Confidential Customer Coin Transferee #10427   [Address on File]      6/6/2023 USD Coin Stellar)                    31.964017 Customer Transfer
 Confidential Customer Coin Transferee #10427   [Address on File]      6/6/2023 USD Coin Stellar)                    31.960823 Customer Transfer
 Confidential Customer Coin Transferee #10428   [Address on File]     6/20/2023 Bitcoin                             0.00269513 Customer Transfer
 Confidential Customer Coin Transferee #10429   [Address on File]     6/19/2023 Bitcoin                              0.0000593 Customer Transfer
 Confidential Customer Coin Transferee #10430   [Address on File]     6/19/2023 Bitcoin                              0.0005789 Customer Transfer
 Confidential Customer Coin Transferee #10431   [Address on File]     5/26/2023 Bitcoin                             0.35536908 Customer Transfer
 Confidential Customer Coin Transferee #10431   [Address on File]     5/23/2023 Bitcoin                             0.00010123 Customer Transfer
 Confidential Customer Coin Transferee #10432   [Address on File]     5/23/2023 Bitcoin                             0.03803608 Customer Transfer
 Confidential Customer Coin Transferee #10433   [Address on File]     6/20/2023 Bitcoin                             0.00545639 Customer Transfer
 Confidential Customer Coin Transferee #10434   [Address on File]     5/30/2023 Bitcoin                             0.01830909 Customer Transfer
 Confidential Customer Coin Transferee #10435   [Address on File]      6/3/2023 USDC Avalanche)                        96.38217 Customer Transfer
 Confidential Customer Coin Transferee #10436   [Address on File]     5/24/2023 Bitcoin                             0.01984651 Customer Transfer
 Confidential Customer Coin Transferee #10436   [Address on File]     5/28/2023 Bitcoin                             0.00406841 Customer Transfer
 Confidential Customer Coin Transferee #10436   [Address on File]     5/27/2023 Bitcoin                             0.00279487 Customer Transfer
 Confidential Customer Coin Transferee #10436   [Address on File]     5/31/2023 Bitcoin                             0.00036112 Customer Transfer
 Confidential Customer Coin Transferee #10437   [Address on File]     5/26/2023 Bitcoin                             0.00094049 Customer Transfer
 Confidential Customer Coin Transferee #10438   [Address on File]     5/25/2023 Bitcoin                             0.01218293 Customer Transfer
 Confidential Customer Coin Transferee #10439   [Address on File]     5/21/2023 Tether USD                              3455.31 Customer Transfer
 Confidential Customer Coin Transferee #10440   [Address on File]      6/9/2023 Tether USD                           7387.3787 Customer Transfer
 Confidential Customer Coin Transferee #10440   [Address on File]      6/9/2023 Tether USD                                    5 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10441   [Address on File]     6/20/2023 Bitcoin                             0.00080498 Customer Transfer
 Confidential Customer Coin Transferee #10442   [Address on File]     5/28/2023 Bitcoin                             0.01108448 Customer Transfer
 Confidential Customer Coin Transferee #10442   [Address on File]     5/21/2023 Bitcoin                             0.01084894 Customer Transfer
 Confidential Customer Coin Transferee #10443   [Address on File]     5/22/2023 Bitcoin                             0.00747142 Customer Transfer
 Confidential Customer Coin Transferee #10444   [Address on File]     5/20/2023 Bitcoin                             0.00370092 Customer Transfer
 Confidential Customer Coin Transferee #10445   [Address on File]     5/19/2023 Bitcoin                             0.00364457 Customer Transfer
 Confidential Customer Coin Transferee #10445   [Address on File]     5/26/2023 Bitcoin                             0.00363941 Customer Transfer
 Confidential Customer Coin Transferee #10446   [Address on File]     5/26/2023 USDC Solana)                                 20 Customer Transfer
 Confidential Customer Coin Transferee #10447   [Address on File]     5/31/2023 USDC Solana)                                  1 Customer Transfer
 Confidential Customer Coin Transferee #10448   [Address on File]     5/24/2023 Bitcoin                             0.02369347 Customer Transfer
 Confidential Customer Coin Transferee #10448   [Address on File]     5/24/2023 Bitcoin                                   0.001 Customer Transfer

 Confidential Customer Coin Transferee #10449   [Address on File]     5/20/2023 Bitcoin                                0.00739925 Customer Transfer

 Confidential Customer Coin Transferee #10449   [Address on File]     5/19/2023 Bitcoin                                0.00450442 Customer Transfer
 Confidential Customer Coin Transferee #10450   [Address on File]     5/16/2023 Bitcoin                                0.01002605 Customer Transfer

 Confidential Customer Coin Transferee #10451   [Address on File]      6/8/2023 Tether USD                              2674.6435 Customer Transfer

 Confidential Customer Coin Transferee #10451   [Address on File]     5/31/2023 Tether USD                                  988.21 Customer Transfer
 Confidential Customer Coin Transferee #10452   [Address on File]     5/23/2023 Bitcoin                                0.02839271 Customer Transfer
 Confidential Customer Coin Transferee #10453   [Address on File]     5/27/2023 Bitcoin                                 0.0004335 Customer Transfer
 Confidential Customer Coin Transferee #10453   [Address on File]     5/25/2023 Bitcoin                                    0.00009 Customer Transfer
 Confidential Customer Coin Transferee #10454   [Address on File]     6/20/2023 Bitcoin                                0.00005805 Customer Transfer
 Confidential Customer Coin Transferee #10455   [Address on File]     5/28/2023 Bitcoin                                0.00074371 Customer Transfer
 Confidential Customer Coin Transferee #10456   [Address on File]     5/19/2023 Bitcoin                                0.00340317 Customer Transfer
 Confidential Customer Coin Transferee #10457   [Address on File]     6/14/2023 Cosmos Hub ATOM)                        16.747321 Customer Transfer
 Confidential Customer Coin Transferee #10457   [Address on File]     5/30/2023 Cosmos Hub ATOM)                        13.796524 Customer Transfer
 Confidential Customer Coin Transferee #10457   [Address on File]     5/27/2023 Cosmos Hub ATOM)                         3.006232 Customer Transfer

 Confidential Customer Coin Transferee #10458   [Address on File]      6/8/2023 Bitcoin                                    0.07975 Customer Transfer
 Confidential Customer Coin Transferee #10459   [Address on File]     6/19/2023 Bitcoin                                0.00005801 Customer Transfer
 Confidential Customer Coin Transferee #10460   [Address on File]     6/20/2023 USDC Solana)                                    50 Customer Transfer
 Confidential Customer Coin Transferee #10461   [Address on File]     5/21/2023 Bitcoin                                0.00424351 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/24/2023 Bitcoin                                0.00171381 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/19/2023 Bitcoin                                0.00148148 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/27/2023 Bitcoin                                 0.00108 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/31/2023 Bitcoin                             0.00107189 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/18/2023 Bitcoin                             0.00099507 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/19/2023 Bitcoin                              0.0008256 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/21/2023 Bitcoin                                 0.00078 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/19/2023 Bitcoin                              0.0007111 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/19/2023 Bitcoin                             0.00067813 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/23/2023 Bitcoin                             0.00063121 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/29/2023 Bitcoin                             0.00056974 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/30/2023 Bitcoin                                0.000558 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/24/2023 Bitcoin                                0.000549 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/23/2023 Bitcoin                             0.00052969 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/21/2023 Bitcoin                             0.00051616 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/20/2023 Bitcoin                                 0.00049 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/27/2023 Bitcoin                             0.00047425 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/30/2023 Bitcoin                             0.00045441 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/27/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/25/2023 Bitcoin                             0.00037953 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/20/2023 Bitcoin                                 0.00037 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/18/2023 Bitcoin                             0.00035569 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/18/2023 Bitcoin                             0.00027594 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/20/2023 Bitcoin                             0.00020672 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/24/2023 Bitcoin                             0.00017473 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/21/2023 Bitcoin                             0.00011874 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/30/2023 Bitcoin                             0.00009937 Customer Transfer
 Confidential Customer Coin Transferee #10462   [Address on File]     5/27/2023 Bitcoin                             0.00003587 Customer Transfer
 Confidential Customer Coin Transferee #10463   [Address on File]     5/22/2023 Bitcoin                             0.00052812 Customer Transfer
 Confidential Customer Coin Transferee #10463   [Address on File]     5/31/2023 Bitcoin                             0.00042236 Customer Transfer
 Confidential Customer Coin Transferee #10463   [Address on File]     5/19/2023 Bitcoin                             0.00037017 Customer Transfer
 Confidential Customer Coin Transferee #10463   [Address on File]     5/19/2023 Bitcoin                             0.00036988 Customer Transfer
 Confidential Customer Coin Transferee #10463   [Address on File]     5/20/2023 Bitcoin                             0.00035122 Customer Transfer
 Confidential Customer Coin Transferee #10463   [Address on File]     5/29/2023 Bitcoin                             0.00003194 Customer Transfer
 Confidential Customer Coin Transferee #10464   [Address on File]     6/20/2023 Bitcoin                             0.00057902 Customer Transfer
 Confidential Customer Coin Transferee #10465   [Address on File]     6/20/2023 Bitcoin                             0.00046608 Customer Transfer
 Confidential Customer Coin Transferee #10466   [Address on File]     5/30/2023 USD Coin                             69.652139 Customer Transfer
 Confidential Customer Coin Transferee #10466   [Address on File]     5/30/2023 Ether                                  0.024047 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10467   [Address on File]     6/20/2023 Bitcoin                             0.00040672 Customer Transfer
 Confidential Customer Coin Transferee #10468   [Address on File]     6/20/2023 Bitcoin                             0.00117771 Customer Transfer
 Confidential Customer Coin Transferee #10469   [Address on File]     6/19/2023 Bitcoin                             0.07234961 Customer Transfer
 Confidential Customer Coin Transferee #10470   [Address on File]      6/1/2023 Bitcoin                             0.01038951 Customer Transfer
 Confidential Customer Coin Transferee #10470   [Address on File]     5/22/2023 Bitcoin                             0.01024729 Customer Transfer
 Confidential Customer Coin Transferee #10471   [Address on File]     5/31/2023 Bitcoin                             0.03551625 Customer Transfer
 Confidential Customer Coin Transferee #10472   [Address on File]     5/25/2023 Bitcoin                             0.11364079 Customer Transfer
 Confidential Customer Coin Transferee #10472   [Address on File]     5/25/2023 Bitcoin                             0.11337577 Customer Transfer
 Confidential Customer Coin Transferee #10473   [Address on File]     5/29/2023 Bitcoin                             0.00031926 Customer Transfer
 Confidential Customer Coin Transferee #10474   [Address on File]     5/30/2023 Bitcoin                             0.00088817 Customer Transfer
 Confidential Customer Coin Transferee #10474   [Address on File]     5/26/2023 Bitcoin                             0.00056296 Customer Transfer
 Confidential Customer Coin Transferee #10475   [Address on File]     5/25/2023 Bitcoin                             0.00046323 Customer Transfer
 Confidential Customer Coin Transferee #10475   [Address on File]     5/25/2023 Bitcoin                             0.00032262 Customer Transfer
 Confidential Customer Coin Transferee #10475   [Address on File]     5/16/2023 Bitcoin                             0.00025076 Customer Transfer
 Confidential Customer Coin Transferee #10475   [Address on File]     5/30/2023 Bitcoin                             0.00020705 Customer Transfer
 Confidential Customer Coin Transferee #10476   [Address on File]     6/20/2023 Bitcoin                             0.00004692 Customer Transfer
 Confidential Customer Coin Transferee #10477   [Address on File]     5/30/2023 Bitcoin                             0.00303191 Customer Transfer
 Confidential Customer Coin Transferee #10477   [Address on File]     5/30/2023 Bitcoin                             0.00251174 Customer Transfer
 Confidential Customer Coin Transferee #10477   [Address on File]     5/28/2023 Bitcoin                             0.00194403 Customer Transfer
 Confidential Customer Coin Transferee #10477   [Address on File]     5/23/2023 Bitcoin                             0.00153989 Customer Transfer
 Confidential Customer Coin Transferee #10478   [Address on File]     5/25/2023 Bitcoin                             0.00261149 Customer Transfer
 Confidential Customer Coin Transferee #10478   [Address on File]     5/31/2023 Bitcoin                             0.00222307 Customer Transfer
 Confidential Customer Coin Transferee #10479   [Address on File]     6/19/2023 Bitcoin                             0.00057953 Customer Transfer
 Confidential Customer Coin Transferee #10480   [Address on File]     6/19/2023 Bitcoin                             0.01235161 Customer Transfer
 Confidential Customer Coin Transferee #10481   [Address on File]     6/19/2023 Bitcoin                             0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #10482   [Address on File]     5/17/2023 Bitcoin                                     0.22 Customer Transfer
 Confidential Customer Coin Transferee #10482   [Address on File]     5/23/2023 Bitcoin                              0.1539022 Customer Transfer
 Confidential Customer Coin Transferee #10483   [Address on File]     5/31/2023 Bitcoin                             0.00236346 Customer Transfer
 Confidential Customer Coin Transferee #10483   [Address on File]     5/31/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #10484   [Address on File]     5/17/2023 Bitcoin                             0.03628409 Customer Transfer
 Confidential Customer Coin Transferee #10485   [Address on File]     6/20/2023 Bitcoin                             0.00043921 Customer Transfer
 Confidential Customer Coin Transferee #10486   [Address on File]     5/23/2023 Bitcoin                             0.00373257 Customer Transfer
 Confidential Customer Coin Transferee #10486   [Address on File]     5/16/2023 Bitcoin                             0.00339575 Customer Transfer
 Confidential Customer Coin Transferee #10487   [Address on File]     6/20/2023 Bitcoin                             0.00036955 Customer Transfer
 Confidential Customer Coin Transferee #10488   [Address on File]     6/20/2023 Bitcoin                             0.00020591 Customer Transfer
 Confidential Customer Coin Transferee #10489   [Address on File]     5/17/2023 Bitcoin                             0.00904925 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10490   [Address on File]     5/20/2023 Bitcoin                             0.04641671 Customer Transfer
 Confidential Customer Coin Transferee #10491   [Address on File]      6/6/2023 Bitcoin                             0.00038498 Customer Transfer
 Confidential Customer Coin Transferee #10492   [Address on File]     6/15/2023 Tether USD                           4953.0979 Customer Transfer
 Confidential Customer Coin Transferee #10492   [Address on File]     5/30/2023 Tether USD                           3558.2853 Customer Transfer
 Confidential Customer Coin Transferee #10492   [Address on File]     5/22/2023 Tether USD                           1655.0023 Customer Transfer
 Confidential Customer Coin Transferee #10493   [Address on File]      6/4/2023 Tether USD                           4324.9783 Customer Transfer
 Confidential Customer Coin Transferee #10493   [Address on File]      6/7/2023 Tether USD                           3802.3731 Customer Transfer
 Confidential Customer Coin Transferee #10494   [Address on File]     6/16/2023 Tether USD                            4377.011 Customer Transfer
 Confidential Customer Coin Transferee #10494   [Address on File]     5/18/2023 Tether USD                           2366.2783 Customer Transfer
 Confidential Customer Coin Transferee #10495   [Address on File]     6/20/2023 Bitcoin                             0.00169584 Customer Transfer
 Confidential Customer Coin Transferee #10496   [Address on File]     5/16/2023 Bitcoin                              0.0017135 Customer Transfer
 Confidential Customer Coin Transferee #10497   [Address on File]     5/26/2023 Bitcoin                             0.00185876 Customer Transfer

 Confidential Customer Coin Transferee #10498   [Address on File]     5/24/2023 USD Coin Stellar)                             9.98 Customer Transfer
 Confidential Customer Coin Transferee #10499   [Address on File]     5/25/2023 Bitcoin                                0.00004283 Customer Transfer
 Confidential Customer Coin Transferee #10500   [Address on File]     6/20/2023 Bitcoin                                0.00040165 Customer Transfer
 Confidential Customer Coin Transferee #10501   [Address on File]     5/25/2023 Bitcoin                                0.00094932 Customer Transfer
 Confidential Customer Coin Transferee #10502   [Address on File]     5/18/2023 Bitcoin                                0.00551278 Customer Transfer
 Confidential Customer Coin Transferee #10503   [Address on File]     6/20/2023 Bitcoin                                0.00058024 Customer Transfer
 Confidential Customer Coin Transferee #10504   [Address on File]     5/25/2023 Bitcoin                                      0.015 Customer Transfer
 Confidential Customer Coin Transferee #10505   [Address on File]     5/16/2023 Bitcoin                                0.00547433 Customer Transfer
 Confidential Customer Coin Transferee #10506   [Address on File]     5/20/2023 Bitcoin                                0.00074079 Customer Transfer
 Confidential Customer Coin Transferee #10506   [Address on File]     5/18/2023 Bitcoin                                0.00072848 Customer Transfer
 Confidential Customer Coin Transferee #10506   [Address on File]     5/21/2023 Bitcoin                                 0.0003695 Customer Transfer
 Confidential Customer Coin Transferee #10506   [Address on File]     5/23/2023 Bitcoin                                0.00018236 Customer Transfer
 Confidential Customer Coin Transferee #10506   [Address on File]     5/23/2023 Bitcoin                                0.00018195 Customer Transfer
 Confidential Customer Coin Transferee #10507   [Address on File]     6/19/2023 Bitcoin                                0.00229336 Customer Transfer
 Confidential Customer Coin Transferee #10508   [Address on File]     6/19/2023 Bitcoin                                0.00006035 Customer Transfer
 Confidential Customer Coin Transferee #10509   [Address on File]     5/17/2023 Bitcoin                                0.01007598 Customer Transfer
 Confidential Customer Coin Transferee #10510   [Address on File]     6/20/2023 Bitcoin                                0.02993325 Customer Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]     6/16/2023 Bitcoin                                0.00584326 Customer Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]     6/12/2023 Bitcoin                                0.00574495 Customer Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]      6/6/2023 Bitcoin                                0.00574372 Customer Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]     5/24/2023 Bitcoin                                0.00566405 Customer Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]     5/17/2023 Bitcoin                                0.00554918 Customer Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]     5/19/2023 Bitcoin                                0.00553359 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]     5/22/2023 Bitcoin                             0.00553139 Customer Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]     5/31/2023 Bitcoin                             0.00533682 Customer Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]     6/14/2023 Bitcoin                             0.00476238 Customer Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]      6/8/2023 Bitcoin                             0.00375429 Customer Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]      6/9/2023 Bitcoin                             0.00374356 Customer Transfer
 Confidential Customer Coin Transferee #10511   [Address on File]     5/29/2023 Bitcoin                             0.00354907 Customer Transfer
 Confidential Customer Coin Transferee #10512   [Address on File]     5/22/2023 Bitcoin                             0.01965142 Customer Transfer
 Confidential Customer Coin Transferee #10513   [Address on File]     5/22/2023 Bitcoin                             0.11701374 Customer Transfer
 Confidential Customer Coin Transferee #10513   [Address on File]     5/22/2023 Bitcoin                             0.09143868 Customer Transfer
 Confidential Customer Coin Transferee #10513   [Address on File]     5/18/2023 Bitcoin                                0.036868 Customer Transfer
 Confidential Customer Coin Transferee #10514   [Address on File]     5/17/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #10515   [Address on File]     5/28/2023 Bitcoin                             0.00186241 Customer Transfer
 Confidential Customer Coin Transferee #10515   [Address on File]     5/20/2023 Bitcoin                             0.00184896 Customer Transfer
 Confidential Customer Coin Transferee #10516   [Address on File]     5/31/2023 Bitcoin                             0.00183708 Customer Transfer
 Confidential Customer Coin Transferee #10516   [Address on File]     5/29/2023 Bitcoin                             0.00096177 Customer Transfer
 Confidential Customer Coin Transferee #10516   [Address on File]     5/30/2023 Bitcoin                             0.00071599 Customer Transfer
 Confidential Customer Coin Transferee #10516   [Address on File]     5/31/2023 Bitcoin                              0.0006812 Customer Transfer
 Confidential Customer Coin Transferee #10516   [Address on File]     5/31/2023 Bitcoin                             0.00061205 Customer Transfer
 Confidential Customer Coin Transferee #10516   [Address on File]     5/31/2023 Bitcoin                              0.0004883 Customer Transfer
 Confidential Customer Coin Transferee #10516   [Address on File]     5/29/2023 Bitcoin                             0.00038845 Customer Transfer
 Confidential Customer Coin Transferee #10516   [Address on File]     5/31/2023 Bitcoin                             0.00017962 Customer Transfer
 Confidential Customer Coin Transferee #10517   [Address on File]     5/17/2023 Bitcoin                             0.21132386 Customer Transfer
 Confidential Customer Coin Transferee #10518   [Address on File]     5/21/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #10519   [Address on File]     5/28/2023 Bitcoin                             0.03143279 Customer Transfer
 Confidential Customer Coin Transferee #10519   [Address on File]     5/23/2023 Bitcoin                             0.02027787 Customer Transfer
 Confidential Customer Coin Transferee #10519   [Address on File]     5/18/2023 Bitcoin                              0.0147858 Customer Transfer
 Confidential Customer Coin Transferee #10520   [Address on File]     5/25/2023 Bitcoin                             0.00094574 Customer Transfer
 Confidential Customer Coin Transferee #10520   [Address on File]     5/19/2023 Bitcoin                             0.00092666 Customer Transfer
 Confidential Customer Coin Transferee #10521   [Address on File]     5/20/2023 Bitcoin                             0.00036748 Customer Transfer
 Confidential Customer Coin Transferee #10521   [Address on File]     5/20/2023 Bitcoin                             0.00036718 Customer Transfer
 Confidential Customer Coin Transferee #10522   [Address on File]     5/30/2023 Bitcoin                             0.01172328 Customer Transfer
 Confidential Customer Coin Transferee #10522   [Address on File]     5/17/2023 Bitcoin                             0.00666347 Customer Transfer
 Confidential Customer Coin Transferee #10523   [Address on File]     5/18/2023 Bitcoin                                    0.035 Customer Transfer
 Confidential Customer Coin Transferee #10524   [Address on File]     6/20/2023 Bitcoin                             0.00063897 Customer Transfer
 Confidential Customer Coin Transferee #10525   [Address on File]     5/23/2023 Bitcoin                             0.00092548 Customer Transfer
 Confidential Customer Coin Transferee #10526   [Address on File]     5/19/2023 Bitcoin                             0.02196576 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10527   [Address on File]     5/22/2023 Bitcoin                             0.00478087 Customer Transfer
 Confidential Customer Coin Transferee #10528   [Address on File]     5/24/2023 Bitcoin                             0.01078598 Customer Transfer
 Confidential Customer Coin Transferee #10529   [Address on File]     5/16/2023 Bitcoin                             0.00088196 Customer Transfer
 Confidential Customer Coin Transferee #10530   [Address on File]     5/19/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #10530   [Address on File]     5/27/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #10530   [Address on File]     5/31/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #10530   [Address on File]     5/17/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #10530   [Address on File]     5/21/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #10530   [Address on File]     5/22/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #10530   [Address on File]     5/23/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #10530   [Address on File]     5/25/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #10530   [Address on File]     5/25/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #10531   [Address on File]     5/26/2023 Bitcoin                                    0.048 Customer Transfer
 Confidential Customer Coin Transferee #10532   [Address on File]     5/26/2023 Bitcoin                                     0.17 Customer Transfer
 Confidential Customer Coin Transferee #10533   [Address on File]     5/24/2023 Bitcoin                             0.03790199 Customer Transfer
 Confidential Customer Coin Transferee #10533   [Address on File]     5/22/2023 Bitcoin                             0.03719515 Customer Transfer
 Confidential Customer Coin Transferee #10533   [Address on File]     5/19/2023 Bitcoin                             0.03698956 Customer Transfer
 Confidential Customer Coin Transferee #10534   [Address on File]     5/19/2023 Bitcoin                             0.01102736 Customer Transfer
 Confidential Customer Coin Transferee #10535   [Address on File]     5/20/2023 Bitcoin                                0.002817 Customer Transfer
 Confidential Customer Coin Transferee #10535   [Address on File]     5/30/2023 Bitcoin                                0.002224 Customer Transfer
 Confidential Customer Coin Transferee #10535   [Address on File]     5/16/2023 Bitcoin                                0.001119 Customer Transfer
 Confidential Customer Coin Transferee #10536   [Address on File]     5/23/2023 Bitcoin                                0.120392 Customer Transfer
 Confidential Customer Coin Transferee #10537   [Address on File]     5/24/2023 Bitcoin                             0.00431845 Customer Transfer
 Confidential Customer Coin Transferee #10537   [Address on File]     5/29/2023 Bitcoin                             0.00119398 Customer Transfer
 Confidential Customer Coin Transferee #10537   [Address on File]     5/19/2023 Bitcoin                             0.00090158 Customer Transfer
 Confidential Customer Coin Transferee #10537   [Address on File]     5/20/2023 Bitcoin                                0.000814 Customer Transfer
 Confidential Customer Coin Transferee #10537   [Address on File]     5/26/2023 Bitcoin                                 0.00075 Customer Transfer
 Confidential Customer Coin Transferee #10538   [Address on File]     5/24/2023 Bitcoin                             0.00546308 Customer Transfer
 Confidential Customer Coin Transferee #10538   [Address on File]     5/17/2023 Bitcoin                             0.00176059 Customer Transfer
 Confidential Customer Coin Transferee #10539   [Address on File]     5/20/2023 Bitcoin                             0.01868958 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/26/2023 Bitcoin                             0.00556956 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/27/2023 Bitcoin                             0.00547741 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/26/2023 Bitcoin                             0.00452176 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/26/2023 Bitcoin                             0.00439494 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/20/2023 Bitcoin                             0.00433088 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/16/2023 Bitcoin                             0.00360745 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/17/2023 Bitcoin                             0.00355699 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/23/2023 Bitcoin                              0.0029857 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/18/2023 Bitcoin                              0.0026528 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/30/2023 Bitcoin                             0.00214402 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/16/2023 Bitcoin                             0.00180271 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/17/2023 Bitcoin                             0.00178295 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/27/2023 Bitcoin                             0.00163555 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/17/2023 Bitcoin                             0.00108243 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/21/2023 Bitcoin                             0.00107651 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/16/2023 Bitcoin                             0.00079833 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/24/2023 Bitcoin                             0.00074417 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/22/2023 Bitcoin                             0.00070627 Customer Transfer
 Confidential Customer Coin Transferee #10540   [Address on File]     5/19/2023 Bitcoin                             0.00040882 Customer Transfer
 Confidential Customer Coin Transferee #10541   [Address on File]     6/19/2023 Bitcoin                              0.0052991 Customer Transfer
 Confidential Customer Coin Transferee #10542   [Address on File]     5/25/2023 Bitcoin                             0.00200225 Customer Transfer
 Confidential Customer Coin Transferee #10543   [Address on File]     5/19/2023 Bitcoin                             0.00370018 Customer Transfer
 Confidential Customer Coin Transferee #10544   [Address on File]     6/20/2023 Bitcoin                             0.00590723 Customer Transfer
 Confidential Customer Coin Transferee #10545   [Address on File]     5/20/2023 Bitcoin                              0.0054658 Customer Transfer
 Confidential Customer Coin Transferee #10545   [Address on File]     5/30/2023 Bitcoin                             0.00332254 Customer Transfer
 Confidential Customer Coin Transferee #10546   [Address on File]     5/31/2023 Bitcoin                             0.01839987 Customer Transfer
 Confidential Customer Coin Transferee #10547   [Address on File]     5/30/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #10548   [Address on File]     5/30/2023 Bitcoin                             0.00759542 Customer Transfer
 Confidential Customer Coin Transferee #10549   [Address on File]     5/20/2023 Bitcoin                              0.0008916 Customer Transfer
 Confidential Customer Coin Transferee #10549   [Address on File]     5/20/2023 Bitcoin                             0.00071514 Customer Transfer
 Confidential Customer Coin Transferee #10549   [Address on File]     5/20/2023 Bitcoin                             0.00071458 Customer Transfer
 Confidential Customer Coin Transferee #10549   [Address on File]     5/18/2023 Bitcoin                             0.00059261 Customer Transfer
 Confidential Customer Coin Transferee #10550   [Address on File]     6/20/2023 Bitcoin                             0.00347772 Customer Transfer
 Confidential Customer Coin Transferee #10551   [Address on File]     5/31/2023 Bitcoin                             0.00843502 Customer Transfer
 Confidential Customer Coin Transferee #10552   [Address on File]     5/17/2023 Bitcoin                             0.00816681 Customer Transfer
 Confidential Customer Coin Transferee #10553   [Address on File]     5/27/2023 Bitcoin                             0.01305007 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/17/2023 Bitcoin                                  0.0029 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/28/2023 Bitcoin                              0.0020126 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/21/2023 Bitcoin                             0.00190654 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/17/2023 Bitcoin                             0.00182919 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/18/2023 Bitcoin                             0.00182892 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/18/2023 Bitcoin                             0.00181704 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/25/2023 Bitcoin                             0.00178017 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/25/2023 Bitcoin                             0.00151516 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/27/2023 Bitcoin                             0.00148848 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/25/2023 Bitcoin                             0.00140216 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/16/2023 Bitcoin                              0.0013888 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/26/2023 Bitcoin                             0.00120715 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/16/2023 Bitcoin                             0.00118402 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/17/2023 Bitcoin                             0.00095723 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/17/2023 Bitcoin                             0.00076687 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/18/2023 Bitcoin                             0.00072726 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/18/2023 Bitcoin                             0.00072698 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/16/2023 Bitcoin                             0.00040226 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/28/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/16/2023 Bitcoin                             0.00036546 Customer Transfer
 Confidential Customer Coin Transferee #10554   [Address on File]     5/25/2023 Bitcoin                             0.00023499 Customer Transfer
 Confidential Customer Coin Transferee #10555   [Address on File]     6/19/2023 Bitcoin                             0.00004892 Customer Transfer
 Confidential Customer Coin Transferee #10556   [Address on File]     5/26/2023 Bitcoin                             0.06292313 Customer Transfer
 Confidential Customer Coin Transferee #10557   [Address on File]     5/16/2023 Bitcoin                              0.0022124 Customer Transfer
 Confidential Customer Coin Transferee #10558   [Address on File]     5/19/2023 Bitcoin                             0.08344198 Customer Transfer
 Confidential Customer Coin Transferee #10559   [Address on File]     5/23/2023 Bitcoin                             0.01851508 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/24/2023 Bitcoin                             0.00260739 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/25/2023 Bitcoin                             0.00257869 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/25/2023 Bitcoin                             0.00251887 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/22/2023 Bitcoin                             0.00251695 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/23/2023 Bitcoin                             0.00244972 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/27/2023 Bitcoin                             0.00242588 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/20/2023 Bitcoin                             0.00240214 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/23/2023 Bitcoin                             0.00240206 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/16/2023 Bitcoin                              0.0023141 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/30/2023 Bitcoin                             0.00197331 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/17/2023 Bitcoin                             0.00185106 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/18/2023 Bitcoin                             0.00177454 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/17/2023 Bitcoin                             0.00146816 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/19/2023 Bitcoin                             0.00125709 Customer Transfer
 Confidential Customer Coin Transferee #10560   [Address on File]     5/19/2023 Bitcoin                              0.0009242 Customer Transfer
 Confidential Customer Coin Transferee #10561   [Address on File]     5/23/2023 Bitcoin                             0.00036575 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10562   [Address on File]     5/30/2023 Bitcoin                             0.04314345 Customer Transfer
 Confidential Customer Coin Transferee #10562   [Address on File]     5/27/2023 Bitcoin                             0.00093016 Customer Transfer
 Confidential Customer Coin Transferee #10563   [Address on File]     5/19/2023 Bitcoin                                    0.025 Customer Transfer
 Confidential Customer Coin Transferee #10564   [Address on File]     5/17/2023 Bitcoin                             0.01219742 Customer Transfer
 Confidential Customer Coin Transferee #10565   [Address on File]     5/21/2023 Bitcoin                             0.00338187 Customer Transfer
 Confidential Customer Coin Transferee #10566   [Address on File]     5/19/2023 Bitcoin                                    0.013 Customer Transfer
 Confidential Customer Coin Transferee #10566   [Address on File]     5/30/2023 Bitcoin                             0.00597159 Customer Transfer
 Confidential Customer Coin Transferee #10566   [Address on File]     5/30/2023 Bitcoin                                 0.00126 Customer Transfer
 Confidential Customer Coin Transferee #10566   [Address on File]     5/19/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #10566   [Address on File]     5/26/2023 Bitcoin                             0.00048291 Customer Transfer
 Confidential Customer Coin Transferee #10567   [Address on File]     5/31/2023 Bitcoin                             0.00358256 Customer Transfer
 Confidential Customer Coin Transferee #10568   [Address on File]     5/26/2023 Bitcoin                                     0.15 Customer Transfer
 Confidential Customer Coin Transferee #10568   [Address on File]     5/28/2023 Bitcoin                                    0.121 Customer Transfer
 Confidential Customer Coin Transferee #10568   [Address on File]     5/28/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #10568   [Address on File]     5/26/2023 Bitcoin                                    0.069 Customer Transfer
 Confidential Customer Coin Transferee #10569   [Address on File]     5/26/2023 Bitcoin                             0.00726087 Customer Transfer

 Confidential Customer Coin Transferee #10570   [Address on File]     5/24/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #10571   [Address on File]     5/31/2023 Bitcoin                                0.01462254 Customer Transfer
 Confidential Customer Coin Transferee #10572   [Address on File]     6/19/2023 Bitcoin                                0.00065923 Customer Transfer
 Confidential Customer Coin Transferee #10573   [Address on File]     5/22/2023 Bitcoin                                0.00055498 Customer Transfer
 Confidential Customer Coin Transferee #10573   [Address on File]     5/17/2023 Bitcoin                                0.00054429 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/21/2023 Bitcoin                                0.07182075 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/16/2023 Bitcoin                                 0.0453615 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/23/2023 Bitcoin                                0.04112821 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/19/2023 Bitcoin                                 0.0354367 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/17/2023 Bitcoin                                0.03451528 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/22/2023 Bitcoin                                0.03118103 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/24/2023 Bitcoin                                0.03013244 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/25/2023 Bitcoin                                0.02060797 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/27/2023 Bitcoin                                0.02058344 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/24/2023 Bitcoin                                0.02058068 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/18/2023 Bitcoin                                0.02057615 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/21/2023 Bitcoin                                0.02053436 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/26/2023 Bitcoin                                0.02049783 Customer Transfer
 Confidential Customer Coin Transferee #10574   [Address on File]     5/20/2023 Bitcoin                                0.01548887 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10575   [Address on File]     5/16/2023 Bitcoin                             0.00671555 Customer Transfer
 Confidential Customer Coin Transferee #10575   [Address on File]     5/27/2023 Bitcoin                              0.0046493 Customer Transfer
 Confidential Customer Coin Transferee #10575   [Address on File]     5/25/2023 Bitcoin                             0.00443188 Customer Transfer
 Confidential Customer Coin Transferee #10575   [Address on File]     5/30/2023 Bitcoin                             0.00359618 Customer Transfer
 Confidential Customer Coin Transferee #10576   [Address on File]     6/19/2023 Bitcoin                             0.00041598 Customer Transfer
 Confidential Customer Coin Transferee #10577   [Address on File]     5/21/2023 Bitcoin                             0.00166252 Customer Transfer
 Confidential Customer Coin Transferee #10577   [Address on File]     5/17/2023 Bitcoin                             0.00132159 Customer Transfer
 Confidential Customer Coin Transferee #10577   [Address on File]     5/28/2023 Bitcoin                                0.000913 Customer Transfer
 Confidential Customer Coin Transferee #10578   [Address on File]     5/23/2023 Bitcoin                             0.00184654 Customer Transfer
 Confidential Customer Coin Transferee #10578   [Address on File]     5/26/2023 Bitcoin                             0.00130503 Customer Transfer
 Confidential Customer Coin Transferee #10578   [Address on File]     5/23/2023 Bitcoin                             0.00092727 Customer Transfer
 Confidential Customer Coin Transferee #10579   [Address on File]     5/16/2023 Bitcoin                             0.22075255 Customer Transfer
 Confidential Customer Coin Transferee #10580   [Address on File]     5/16/2023 Bitcoin                             0.23222228 Customer Transfer
 Confidential Customer Coin Transferee #10580   [Address on File]     5/22/2023 Bitcoin                             0.15464123 Customer Transfer
 Confidential Customer Coin Transferee #10580   [Address on File]     6/12/2023 Bitcoin                             0.01418086 Customer Transfer
 Confidential Customer Coin Transferee #10581   [Address on File]     5/30/2023 Bitcoin                             0.03895864 Customer Transfer
 Confidential Customer Coin Transferee #10582   [Address on File]     5/16/2023 Bitcoin                             0.00456749 Customer Transfer
 Confidential Customer Coin Transferee #10583   [Address on File]     5/26/2023 Bitcoin                             0.03785426 Customer Transfer
 Confidential Customer Coin Transferee #10583   [Address on File]     5/20/2023 Bitcoin                             0.00356118 Customer Transfer
 Confidential Customer Coin Transferee #10584   [Address on File]     5/21/2023 Bitcoin                                0.019292 Customer Transfer
 Confidential Customer Coin Transferee #10585   [Address on File]     5/18/2023 Bitcoin                                 0.00373 Customer Transfer
 Confidential Customer Coin Transferee #10586   [Address on File]     5/30/2023 Bitcoin                             0.03279166 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/28/2023 Bitcoin                             0.00385233 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/26/2023 Bitcoin                             0.00362591 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/21/2023 Bitcoin                             0.00358525 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/26/2023 Bitcoin                             0.00354469 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/26/2023 Bitcoin                             0.00352855 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/23/2023 Bitcoin                             0.00340728 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00324425 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00296921 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/26/2023 Bitcoin                             0.00289934 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00288394 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/23/2023 Bitcoin                             0.00285222 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00273671 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00273436 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                              0.0027307 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/23/2023 Bitcoin                             0.00268046 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/31/2023 Bitcoin                             0.00264561 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/31/2023 Bitcoin                             0.00264207 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00260261 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00254559 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/23/2023 Bitcoin                             0.00247452 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00236088 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/23/2023 Bitcoin                              0.0023209 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/24/2023 Bitcoin                             0.00227594 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/31/2023 Bitcoin                              0.0021035 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/22/2023 Bitcoin                             0.00204855 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00198712 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/23/2023 Bitcoin                             0.00197341 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/23/2023 Bitcoin                             0.00196877 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/30/2023 Bitcoin                             0.00196298 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/23/2023 Bitcoin                             0.00190661 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/25/2023 Bitcoin                             0.00186158 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/25/2023 Bitcoin                             0.00185483 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/25/2023 Bitcoin                             0.00185318 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/24/2023 Bitcoin                             0.00184345 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/24/2023 Bitcoin                             0.00184191 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/31/2023 Bitcoin                             0.00182898 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/24/2023 Bitcoin                             0.00182474 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/24/2023 Bitcoin                             0.00182285 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/24/2023 Bitcoin                             0.00182001 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00180378 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00180278 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/31/2023 Bitcoin                             0.00177049 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/23/2023 Bitcoin                             0.00176616 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00176541 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/31/2023 Bitcoin                             0.00174399 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/25/2023 Bitcoin                             0.00168054 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00148237 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/19/2023 Bitcoin                             0.00127032 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/19/2023 Bitcoin                             0.00108817 Customer Transfer
 Confidential Customer Coin Transferee #10587   [Address on File]     5/27/2023 Bitcoin                             0.00008561 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10588   [Address on File]     5/20/2023 Bitcoin                             0.01016911 Customer Transfer
 Confidential Customer Coin Transferee #10589   [Address on File]     5/22/2023 Bitcoin                             0.00371105 Customer Transfer
 Confidential Customer Coin Transferee #10589   [Address on File]     5/28/2023 Bitcoin                              0.0029804 Customer Transfer
 Confidential Customer Coin Transferee #10589   [Address on File]     5/17/2023 Bitcoin                             0.00220831 Customer Transfer
 Confidential Customer Coin Transferee #10589   [Address on File]     5/31/2023 Bitcoin                             0.00216456 Customer Transfer
 Confidential Customer Coin Transferee #10589   [Address on File]     5/18/2023 Bitcoin                             0.00093404 Customer Transfer
 Confidential Customer Coin Transferee #10589   [Address on File]     5/20/2023 Bitcoin                             0.00073966 Customer Transfer
 Confidential Customer Coin Transferee #10589   [Address on File]     5/24/2023 Bitcoin                             0.00044966 Customer Transfer

 Confidential Customer Coin Transferee #10590   [Address on File]     5/25/2023 Bitcoin                                0.07234894 Customer Transfer
 Confidential Customer Coin Transferee #10591   [Address on File]     5/21/2023 Bitcoin                                0.00926139 Customer Transfer
 Confidential Customer Coin Transferee #10592   [Address on File]     5/16/2023 Bitcoin                                0.00352709 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/20/2023 Bitcoin                                0.00213851 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/17/2023 Bitcoin                                0.00124724 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/17/2023 Bitcoin                                0.00093294 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/24/2023 Bitcoin                                0.00091575 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/17/2023 Bitcoin                                0.00088768 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/20/2023 Bitcoin                                0.00088564 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/20/2023 Bitcoin                                0.00080416 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/20/2023 Bitcoin                                0.00080393 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/25/2023 Bitcoin                                0.00072803 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/19/2023 Bitcoin                                 0.0005469 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/19/2023 Bitcoin                                0.00053476 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/19/2023 Bitcoin                                0.00053438 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/21/2023 Bitcoin                                 0.0005311 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/20/2023 Bitcoin                                0.00053106 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/18/2023 Bitcoin                                0.00052657 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/18/2023 Bitcoin                                0.00052501 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/18/2023 Bitcoin                                0.00049144 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/17/2023 Bitcoin                                0.00043635 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/24/2023 Bitcoin                                0.00039651 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/21/2023 Bitcoin                                0.00038265 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/24/2023 Bitcoin                                0.00035565 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/18/2023 Bitcoin                                0.00035436 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/19/2023 Bitcoin                                   0.000354 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/19/2023 Bitcoin                                 0.0003536 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/31/2023 Bitcoin                             0.00035033 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/24/2023 Bitcoin                             0.00034992 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/18/2023 Bitcoin                             0.00034719 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/23/2023 Bitcoin                             0.00031417 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/29/2023 Bitcoin                              0.0002473 Customer Transfer
 Confidential Customer Coin Transferee #10593   [Address on File]     5/31/2023 Bitcoin                             0.00016797 Customer Transfer
 Confidential Customer Coin Transferee #10594   [Address on File]     6/19/2023 Bitcoin                             0.00490185 Customer Transfer
 Confidential Customer Coin Transferee #10595   [Address on File]     5/27/2023 Bitcoin                              0.0169815 Customer Transfer
 Confidential Customer Coin Transferee #10596   [Address on File]     5/29/2023 Bitcoin                             0.00075367 Customer Transfer
 Confidential Customer Coin Transferee #10597   [Address on File]     5/28/2023 Bitcoin                             0.01782038 Customer Transfer
 Confidential Customer Coin Transferee #10598   [Address on File]     5/22/2023 Bitcoin                             0.02764743 Customer Transfer
 Confidential Customer Coin Transferee #10599   [Address on File]     5/16/2023 Bitcoin                                0.215026 Customer Transfer
 Confidential Customer Coin Transferee #10599   [Address on File]     5/31/2023 Bitcoin                                      0.04 Customer Transfer
 Confidential Customer Coin Transferee #10599   [Address on File]     5/27/2023 Bitcoin                                    0.039 Customer Transfer
 Confidential Customer Coin Transferee #10599   [Address on File]     5/27/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #10600   [Address on File]     5/30/2023 Bitcoin                             0.02590437 Customer Transfer
 Confidential Customer Coin Transferee #10601   [Address on File]     5/29/2023 Bitcoin                             0.00285994 Customer Transfer
 Confidential Customer Coin Transferee #10602   [Address on File]     5/19/2023 Bitcoin                                   0.0007 Customer Transfer
 Confidential Customer Coin Transferee #10603   [Address on File]     5/27/2023 Bitcoin                             0.02412048 Customer Transfer
 Confidential Customer Coin Transferee #10604   [Address on File]     5/21/2023 Bitcoin                             0.00537378 Customer Transfer
 Confidential Customer Coin Transferee #10604   [Address on File]     5/28/2023 Bitcoin                             0.00148345 Customer Transfer
 Confidential Customer Coin Transferee #10605   [Address on File]     5/28/2023 Bitcoin                              0.0155191 Customer Transfer
 Confidential Customer Coin Transferee #10606   [Address on File]     5/26/2023 Bitcoin                                0.002064 Customer Transfer
 Confidential Customer Coin Transferee #10606   [Address on File]     5/26/2023 Bitcoin                             0.00131688 Customer Transfer
 Confidential Customer Coin Transferee #10606   [Address on File]     5/26/2023 Bitcoin                             0.00090259 Customer Transfer
 Confidential Customer Coin Transferee #10606   [Address on File]     5/26/2023 Bitcoin                             0.00026303 Customer Transfer
 Confidential Customer Coin Transferee #10607   [Address on File]     5/22/2023 Bitcoin                             0.01115812 Customer Transfer
 Confidential Customer Coin Transferee #10607   [Address on File]     5/31/2023 Bitcoin                             0.01099491 Customer Transfer
 Confidential Customer Coin Transferee #10607   [Address on File]     5/25/2023 Bitcoin                             0.00565905 Customer Transfer
 Confidential Customer Coin Transferee #10607   [Address on File]     5/27/2023 Bitcoin                              0.0055813 Customer Transfer
 Confidential Customer Coin Transferee #10607   [Address on File]     5/24/2023 Bitcoin                             0.00185613 Customer Transfer
 Confidential Customer Coin Transferee #10607   [Address on File]     5/19/2023 Bitcoin                             0.00185382 Customer Transfer
 Confidential Customer Coin Transferee #10607   [Address on File]     5/21/2023 Bitcoin                             0.00092515 Customer Transfer
 Confidential Customer Coin Transferee #10608   [Address on File]     5/26/2023 Bitcoin                             0.03947322 Customer Transfer
 Confidential Customer Coin Transferee #10608   [Address on File]     5/19/2023 Bitcoin                             0.02748288 Customer Transfer
 Confidential Customer Coin Transferee #10609   [Address on File]     5/23/2023 Bitcoin                             0.04878304 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #10609   [Address on File]     5/23/2023 Bitcoin                                0.011623 Customer Transfer
 Confidential Customer Coin Transferee #10610   [Address on File]     5/24/2023 Bitcoin                             0.00744466 Customer Transfer
 Confidential Customer Coin Transferee #10610   [Address on File]     5/19/2023 Bitcoin                              0.0074021 Customer Transfer
 Confidential Customer Coin Transferee #10610   [Address on File]     5/31/2023 Bitcoin                             0.00733592 Customer Transfer
 Confidential Customer Coin Transferee #10611   [Address on File]     6/20/2023 Bitcoin                             0.00689816 Customer Transfer
 Confidential Customer Coin Transferee #10612   [Address on File]     5/24/2023 Bitcoin                             0.00299754 Customer Transfer
 Confidential Customer Coin Transferee #10613   [Address on File]     6/20/2023 Bitcoin                             0.00005941 Customer Transfer
 Confidential Customer Coin Transferee #10614   [Address on File]     5/25/2023 Bitcoin                             0.03231536 Customer Transfer
 Confidential Customer Coin Transferee #10614   [Address on File]     5/25/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #10615   [Address on File]     5/18/2023 Bitcoin                             0.00346794 Customer Transfer
 Confidential Customer Coin Transferee #10615   [Address on File]     5/16/2023 Bitcoin                             0.00315102 Customer Transfer
 Confidential Customer Coin Transferee #10615   [Address on File]     5/19/2023 Bitcoin                             0.00287887 Customer Transfer
 Confidential Customer Coin Transferee #10615   [Address on File]     5/16/2023 Bitcoin                              0.0023768 Customer Transfer
 Confidential Customer Coin Transferee #10615   [Address on File]     5/18/2023 Bitcoin                             0.00143746 Customer Transfer
 Confidential Customer Coin Transferee #10615   [Address on File]     5/27/2023 Bitcoin                             0.00074556 Customer Transfer
 Confidential Customer Coin Transferee #10615   [Address on File]     5/17/2023 Bitcoin                             0.00059673 Customer Transfer
 Confidential Customer Coin Transferee #10616   [Address on File]     5/20/2023 Bitcoin                              0.0009594 Customer Transfer
 Confidential Customer Coin Transferee #10616   [Address on File]     5/27/2023 Bitcoin                              0.0007498 Customer Transfer
 Confidential Customer Coin Transferee #10617   [Address on File]     5/16/2023 Bitcoin                             0.02157003 Customer Transfer
 Confidential Customer Coin Transferee #10618   [Address on File]     5/19/2023 Bitcoin                             0.00206113 Customer Transfer
 Confidential Customer Coin Transferee #10619   [Address on File]     5/22/2023 Bitcoin                             0.00259433 Customer Transfer
 Confidential Customer Coin Transferee #10620   [Address on File]     5/24/2023 Bitcoin                             0.00174753 Customer Transfer
 Confidential Customer Coin Transferee #10620   [Address on File]     5/23/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #10621   [Address on File]     5/21/2023 Bitcoin                             0.00092539 Customer Transfer
 Confidential Customer Coin Transferee #10621   [Address on File]     5/29/2023 Bitcoin                             0.00091183 Customer Transfer
 Confidential Customer Coin Transferee #10622   [Address on File]     5/23/2023 Bitcoin                                    0.021 Customer Transfer
 Confidential Customer Coin Transferee #10623   [Address on File]     5/25/2023 Bitcoin                             0.01415936 Customer Transfer
 Confidential Customer Coin Transferee #10624   [Address on File]     5/19/2023 Bitcoin                             0.01109955 Customer Transfer
 Confidential Customer Coin Transferee #10625   [Address on File]     5/19/2023 Bitcoin                                       0.2 Customer Transfer
 Confidential Customer Coin Transferee #10626   [Address on File]     5/29/2023 Bitcoin                             0.01519767 Customer Transfer
 Confidential Customer Coin Transferee #10627   [Address on File]     5/26/2023 Bitcoin                             0.00727631 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/17/2023 Bitcoin                                   0.1074 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/17/2023 Bitcoin                                   0.0715 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/23/2023 Bitcoin                                 0.04387 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/24/2023 Bitcoin                                   0.0366 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/26/2023 Bitcoin                                   0.0341 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/27/2023 Bitcoin                                 0.01793 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/26/2023 Bitcoin                                 0.01691 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/25/2023 Bitcoin                                 0.01627 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/26/2023 Bitcoin                                   0.0129 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/30/2023 Bitcoin                                 0.01085 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/18/2023 Bitcoin                                   0.0106 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/21/2023 Bitcoin                             0.01035854 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/27/2023 Bitcoin                                   0.0103 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/24/2023 Bitcoin                                   0.0098 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/20/2023 Bitcoin                                    0.009 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/29/2023 Bitcoin                                 0.00848 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/25/2023 Bitcoin                                 0.00677 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/16/2023 Bitcoin                                0.006749 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/27/2023 Bitcoin                                 0.00565 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/20/2023 Bitcoin                                 0.00533 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/19/2023 Bitcoin                                   0.0036 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/27/2023 Bitcoin                                 0.00356 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/20/2023 Bitcoin                                 0.00355 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/24/2023 Bitcoin                                 0.00334 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/23/2023 Bitcoin                             0.00328206 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/19/2023 Bitcoin                                 0.00268 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/25/2023 Bitcoin                                 0.00243 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/26/2023 Bitcoin                                   0.0021 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/19/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/25/2023 Bitcoin                                   0.0012 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/26/2023 Bitcoin                                 0.00115 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/19/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/19/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/17/2023 Bitcoin                             0.00088134 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/26/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/27/2023 Bitcoin                                 0.00078 Customer Transfer
 Confidential Customer Coin Transferee #10628   [Address on File]     5/26/2023 Bitcoin                                   0.0006 Customer Transfer
 Confidential Customer Coin Transferee #10629   [Address on File]     5/26/2023 Bitcoin                             0.00075162 Customer Transfer
 Confidential Customer Coin Transferee #10630   [Address on File]     5/26/2023 Bitcoin                             0.10275587 Customer Transfer
 Confidential Customer Coin Transferee #10630   [Address on File]     5/19/2023 Bitcoin                             0.04166873 Customer Transfer
 Confidential Customer Coin Transferee #10630   [Address on File]     5/21/2023 Bitcoin                             0.03714195 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10630   [Address on File]     5/18/2023 Bitcoin                             0.03646673 Customer Transfer
 Confidential Customer Coin Transferee #10630   [Address on File]     5/26/2023 Bitcoin                             0.02077214 Customer Transfer
 Confidential Customer Coin Transferee #10630   [Address on File]     5/25/2023 Bitcoin                             0.00206904 Customer Transfer
 Confidential Customer Coin Transferee #10630   [Address on File]     5/26/2023 Bitcoin                             0.00094437 Customer Transfer
 Confidential Customer Coin Transferee #10630   [Address on File]     5/26/2023 Bitcoin                             0.00094427 Customer Transfer
 Confidential Customer Coin Transferee #10631   [Address on File]     6/19/2023 Bitcoin                             0.00213378 Customer Transfer
 Confidential Customer Coin Transferee #10631   [Address on File]     5/19/2023 Bitcoin                             0.00163336 Customer Transfer
 Confidential Customer Coin Transferee #10632   [Address on File]     5/26/2023 Bitcoin                             0.08057824 Customer Transfer
 Confidential Customer Coin Transferee #10633   [Address on File]     5/25/2023 Bitcoin                             0.03191538 Customer Transfer
 Confidential Customer Coin Transferee #10633   [Address on File]     5/22/2023 Bitcoin                              0.0186499 Customer Transfer
 Confidential Customer Coin Transferee #10634   [Address on File]     5/22/2023 Bitcoin                             0.00932972 Customer Transfer
 Confidential Customer Coin Transferee #10634   [Address on File]     5/19/2023 Bitcoin                             0.00925266 Customer Transfer
 Confidential Customer Coin Transferee #10635   [Address on File]     5/26/2023 Bitcoin                             0.01212443 Customer Transfer
 Confidential Customer Coin Transferee #10636   [Address on File]     5/17/2023 Bitcoin                                    0.07 Customer Transfer
 Confidential Customer Coin Transferee #10636   [Address on File]     5/25/2023 Bitcoin                             0.06944335 Customer Transfer
 Confidential Customer Coin Transferee #10637   [Address on File]     5/29/2023 Bitcoin                             0.00084369 Customer Transfer
 Confidential Customer Coin Transferee #10638   [Address on File]     5/19/2023 Bitcoin                             0.03719233 Customer Transfer
 Confidential Customer Coin Transferee #10638   [Address on File]     5/19/2023 Bitcoin                             0.02092968 Customer Transfer
 Confidential Customer Coin Transferee #10638   [Address on File]     5/21/2023 Bitcoin                             0.01526493 Customer Transfer
 Confidential Customer Coin Transferee #10638   [Address on File]     5/30/2023 Bitcoin                             0.00322108 Customer Transfer

 Confidential Customer Coin Transferee #10639   [Address on File]     5/18/2023 Bitcoin                                0.01836519 Customer Transfer

 Confidential Customer Coin Transferee #10639   [Address on File]     5/30/2023 Bitcoin                                0.01795791 Customer Transfer
 Confidential Customer Coin Transferee #10640   [Address on File]     5/20/2023 Bitcoin                                0.04767404 Customer Transfer
 Confidential Customer Coin Transferee #10640   [Address on File]     5/20/2023 Bitcoin                                        0.03 Customer Transfer
 Confidential Customer Coin Transferee #10641   [Address on File]     5/19/2023 Bitcoin                                        0.08 Customer Transfer
 Confidential Customer Coin Transferee #10641   [Address on File]     5/19/2023 Bitcoin                                      0.025 Customer Transfer
 Confidential Customer Coin Transferee #10641   [Address on File]     5/20/2023 Bitcoin                                0.00185923 Customer Transfer
 Confidential Customer Coin Transferee #10642   [Address on File]     5/20/2023 Bitcoin                                0.03078849 Customer Transfer
 Confidential Customer Coin Transferee #10642   [Address on File]     5/16/2023 Bitcoin                                        0.01 Customer Transfer
 Confidential Customer Coin Transferee #10642   [Address on File]     5/16/2023 Bitcoin                                     0.0019 Customer Transfer
 Confidential Customer Coin Transferee #10643   [Address on File]     5/27/2023 Bitcoin                                0.03551836 Customer Transfer
 Confidential Customer Coin Transferee #10644   [Address on File]     5/17/2023 Bitcoin                                         0.2 Customer Transfer
 Confidential Customer Coin Transferee #10644   [Address on File]     5/22/2023 Bitcoin                                        0.15 Customer Transfer
 Confidential Customer Coin Transferee #10644   [Address on File]     5/27/2023 Bitcoin                                0.11030425 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10645   [Address on File]     5/28/2023 Bitcoin                             0.02235618 Customer Transfer
 Confidential Customer Coin Transferee #10645   [Address on File]     5/17/2023 Bitcoin                             0.01732028 Customer Transfer
 Confidential Customer Coin Transferee #10645   [Address on File]     5/22/2023 Bitcoin                              0.0101618 Customer Transfer
 Confidential Customer Coin Transferee #10645   [Address on File]     5/16/2023 Bitcoin                                   0.005 Customer Transfer
 Confidential Customer Coin Transferee #10646   [Address on File]     6/20/2023 Bitcoin                             0.00577696 Customer Transfer
 Confidential Customer Coin Transferee #10647   [Address on File]     5/25/2023 Bitcoin                             0.00094804 Customer Transfer
 Confidential Customer Coin Transferee #10647   [Address on File]     5/20/2023 Bitcoin                             0.00088793 Customer Transfer
 Confidential Customer Coin Transferee #10647   [Address on File]     5/27/2023 Bitcoin                             0.00074311 Customer Transfer
 Confidential Customer Coin Transferee #10647   [Address on File]     5/21/2023 Bitcoin                              0.0007347 Customer Transfer
 Confidential Customer Coin Transferee #10647   [Address on File]     5/24/2023 Bitcoin                             0.00072558 Customer Transfer
 Confidential Customer Coin Transferee #10647   [Address on File]     5/20/2023 Bitcoin                             0.00072423 Customer Transfer
 Confidential Customer Coin Transferee #10647   [Address on File]     5/25/2023 Bitcoin                             0.00037891 Customer Transfer
 Confidential Customer Coin Transferee #10647   [Address on File]     5/19/2023 Bitcoin                             0.00037017 Customer Transfer
 Confidential Customer Coin Transferee #10647   [Address on File]     5/28/2023 Bitcoin                             0.00036476 Customer Transfer
 Confidential Customer Coin Transferee #10647   [Address on File]     5/26/2023 Bitcoin                             0.00018545 Customer Transfer
 Confidential Customer Coin Transferee #10648   [Address on File]     5/20/2023 Bitcoin                              0.0099002 Customer Transfer
 Confidential Customer Coin Transferee #10648   [Address on File]     5/20/2023 Bitcoin                              0.0099002 Customer Transfer
 Confidential Customer Coin Transferee #10648   [Address on File]     5/20/2023 Bitcoin                             0.00990018 Customer Transfer
 Confidential Customer Coin Transferee #10649   [Address on File]     5/16/2023 Bitcoin                             0.01351994 Customer Transfer
 Confidential Customer Coin Transferee #10650   [Address on File]     5/22/2023 Bitcoin                              0.0458289 Customer Transfer
 Confidential Customer Coin Transferee #10650   [Address on File]     5/29/2023 Bitcoin                                  0.0279 Customer Transfer
 Confidential Customer Coin Transferee #10651   [Address on File]     5/24/2023 Bitcoin                             0.00091856 Customer Transfer
 Confidential Customer Coin Transferee #10651   [Address on File]     5/17/2023 Bitcoin                             0.00090946 Customer Transfer
 Confidential Customer Coin Transferee #10652   [Address on File]     5/20/2023 Bitcoin                                     0.08 Customer Transfer
 Confidential Customer Coin Transferee #10652   [Address on File]     5/21/2023 Bitcoin                                   0.077 Customer Transfer
 Confidential Customer Coin Transferee #10652   [Address on File]     5/20/2023 Bitcoin                                     0.07 Customer Transfer
 Confidential Customer Coin Transferee #10653   [Address on File]     5/22/2023 Bitcoin                             0.02654465 Customer Transfer
 Confidential Customer Coin Transferee #10654   [Address on File]     5/20/2023 Bitcoin                             0.00277515 Customer Transfer
 Confidential Customer Coin Transferee #10654   [Address on File]     5/21/2023 Bitcoin                             0.00129563 Customer Transfer
 Confidential Customer Coin Transferee #10654   [Address on File]     5/20/2023 Bitcoin                             0.00092564 Customer Transfer
 Confidential Customer Coin Transferee #10654   [Address on File]     5/24/2023 Bitcoin                             0.00075707 Customer Transfer
 Confidential Customer Coin Transferee #10654   [Address on File]     5/16/2023 Bitcoin                             0.00073603 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/24/2023 Bitcoin                                0.00106002 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/22/2023 Bitcoin                                0.00099212 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/25/2023 Bitcoin                                   0.00098 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/21/2023 Bitcoin                                  0.000922 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/25/2023 Bitcoin                                0.00090154 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/26/2023 Bitcoin                                0.00088415 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/21/2023 Bitcoin                                0.00087582 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/18/2023 Bitcoin                                0.00086414 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/24/2023 Bitcoin                                   0.00083 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/24/2023 Bitcoin                                   0.00082 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/25/2023 Bitcoin                                0.00080763 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/25/2023 Bitcoin                                0.00075825 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/25/2023 Bitcoin                                0.00075792 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/20/2023 Bitcoin                                0.00075777 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/24/2023 Bitcoin                                0.00075526 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/25/2023 Bitcoin                                0.00075484 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/24/2023 Bitcoin                                0.00075416 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/24/2023 Bitcoin                                0.00075226 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/26/2023 Bitcoin                                0.00075222 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/24/2023 Bitcoin                                0.00075208 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/25/2023 Bitcoin                                0.00075093 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/22/2023 Bitcoin                                0.00074583 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/23/2023 Bitcoin                                0.00072815 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/23/2023 Bitcoin                                0.00072652 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/23/2023 Bitcoin                                0.00072648 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/20/2023 Bitcoin                                0.00072362 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/20/2023 Bitcoin                                 0.0007215 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/26/2023 Bitcoin                                0.00071471 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/18/2023 Bitcoin                                0.00070564 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/23/2023 Bitcoin                                0.00069535 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/18/2023 Bitcoin                                0.00067257 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/22/2023 Bitcoin                                0.00065553 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/22/2023 Bitcoin                                   0.00063 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/18/2023 Bitcoin                                0.00061014 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/23/2023 Bitcoin                                0.00059971 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/19/2023 Bitcoin                                   0.00059 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/16/2023 Bitcoin                                0.00055106 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/21/2023 Bitcoin                                   0.00055 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/16/2023 Bitcoin                                0.00054764 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/19/2023 Bitcoin                                0.00054523 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/25/2023 Bitcoin                                 0.0005371 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/22/2023 Bitcoin                                0.00053321 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/21/2023 Bitcoin                                0.00052008 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/16/2023 Bitcoin                                0.00051156 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/21/2023 Bitcoin                                0.00051084 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/16/2023 Bitcoin                                0.00050543 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/19/2023 Bitcoin                                0.00046615 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/22/2023 Bitcoin                                0.00043517 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/21/2023 Bitcoin                                0.00042147 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/21/2023 Bitcoin                                   0.00042 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/24/2023 Bitcoin                                0.00040959 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/23/2023 Bitcoin                                0.00040221 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/22/2023 Bitcoin                                0.00040117 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/22/2023 Bitcoin                                    0.0004 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/24/2023 Bitcoin                                0.00037896 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/19/2023 Bitcoin                                  0.000372 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/16/2023 Bitcoin                                0.00036095 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/16/2023 Bitcoin                                0.00035935 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/19/2023 Bitcoin                                0.00034768 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/16/2023 Bitcoin                                0.00032265 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/21/2023 Bitcoin                                   0.00027 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/21/2023 Bitcoin                                0.00025906 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/24/2023 Bitcoin                                0.00024313 Customer Transfer

 Confidential Customer Coin Transferee #10655   [Address on File]     5/21/2023 Bitcoin                                0.00016509 Customer Transfer
 Confidential Customer Coin Transferee #10656   [Address on File]     6/20/2023 Bitcoin                                0.00005872 Customer Transfer
 Confidential Customer Coin Transferee #10657   [Address on File]     5/23/2023 Bitcoin                                0.08304863 Customer Transfer
 Confidential Customer Coin Transferee #10657   [Address on File]     5/23/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #10658   [Address on File]     5/27/2023 Bitcoin                                     0.0042 Customer Transfer
 Confidential Customer Coin Transferee #10659   [Address on File]     5/17/2023 Bitcoin                                 0.0073381 Customer Transfer
 Confidential Customer Coin Transferee #10660   [Address on File]     5/29/2023 Bitcoin                                     0.0025 Customer Transfer
 Confidential Customer Coin Transferee #10661   [Address on File]     5/16/2023 Bitcoin                                0.00036784 Customer Transfer
 Confidential Customer Coin Transferee #10662   [Address on File]     5/16/2023 Bitcoin                                0.00715563 Customer Transfer
 Confidential Customer Coin Transferee #10662   [Address on File]     5/30/2023 Bitcoin                                0.00180535 Customer Transfer
 Confidential Customer Coin Transferee #10663   [Address on File]     5/29/2023 Bitcoin                                0.07087373 Customer Transfer
 Confidential Customer Coin Transferee #10664   [Address on File]     5/22/2023 Bitcoin                                0.05499271 Customer Transfer
 Confidential Customer Coin Transferee #10665   [Address on File]     5/30/2023 Bitcoin                                0.00268998 Customer Transfer
 Confidential Customer Coin Transferee #10666   [Address on File]     5/26/2023 Bitcoin                                0.00048291 Customer Transfer
 Confidential Customer Coin Transferee #10666   [Address on File]     5/26/2023 Bitcoin                                0.00048291 Customer Transfer
 Confidential Customer Coin Transferee #10667   [Address on File]     6/17/2023 Bitcoin                                0.00380153 Customer Transfer
 Confidential Customer Coin Transferee #10668   [Address on File]     6/20/2023 Bitcoin                                0.00004361 Customer Transfer
 Confidential Customer Coin Transferee #10669   [Address on File]     5/23/2023 Bitcoin                                 0.0024835 Customer Transfer
 Confidential Customer Coin Transferee #10669   [Address on File]     5/16/2023 Bitcoin                                0.00242059 Customer Transfer
 Confidential Customer Coin Transferee #10670   [Address on File]     6/19/2023 Bitcoin                                0.00355773 Customer Transfer
 Confidential Customer Coin Transferee #10671   [Address on File]     6/19/2023 Bitcoin                                0.00381202 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10672   [Address on File]     6/20/2023 Bitcoin                             0.00004445 Customer Transfer
 Confidential Customer Coin Transferee #10673   [Address on File]     5/22/2023 Bitcoin                             0.01413412 Customer Transfer
 Confidential Customer Coin Transferee #10674   [Address on File]     5/19/2023 Bitcoin                             0.00430592 Customer Transfer
 Confidential Customer Coin Transferee #10675   [Address on File]     5/27/2023 Bitcoin                             0.02070239 Customer Transfer
 Confidential Customer Coin Transferee #10675   [Address on File]     5/20/2023 Bitcoin                             0.01961942 Customer Transfer
 Confidential Customer Coin Transferee #10676   [Address on File]     5/18/2023 Bitcoin                                     0.25 Customer Transfer
 Confidential Customer Coin Transferee #10677   [Address on File]     5/31/2023 Bitcoin                             0.07416339 Customer Transfer
 Confidential Customer Coin Transferee #10678   [Address on File]     6/20/2023 Bitcoin                             0.00061334 Customer Transfer
 Confidential Customer Coin Transferee #10679   [Address on File]     6/20/2023 Bitcoin                             0.00057832 Customer Transfer
 Confidential Customer Coin Transferee #10680   [Address on File]      6/7/2023 Bitcoin                              0.2238589 Customer Transfer
 Confidential Customer Coin Transferee #10680   [Address on File]     5/25/2023 Bitcoin                             0.16685693 Customer Transfer
 Confidential Customer Coin Transferee #10680   [Address on File]     6/12/2023 Bitcoin                             0.09442069 Customer Transfer
 Confidential Customer Coin Transferee #10680   [Address on File]     5/26/2023 Bitcoin                             0.09316948 Customer Transfer
 Confidential Customer Coin Transferee #10680   [Address on File]     6/13/2023 Bitcoin                              0.0384169 Customer Transfer
 Confidential Customer Coin Transferee #10680   [Address on File]     5/17/2023 Bitcoin                             0.03319916 Customer Transfer
 Confidential Customer Coin Transferee #10680   [Address on File]     5/22/2023 Bitcoin                             0.02752652 Customer Transfer
 Confidential Customer Coin Transferee #10680   [Address on File]     6/19/2023 Bitcoin                             0.01943905 Customer Transfer
 Confidential Customer Coin Transferee #10680   [Address on File]     5/16/2023 Bitcoin                             0.01807043 Customer Transfer
 Confidential Customer Coin Transferee #10680   [Address on File]     5/17/2023 Bitcoin                             0.00367323 Customer Transfer
 Confidential Customer Coin Transferee #10681   [Address on File]     6/18/2023 USD Coin                            985.560538 Customer Transfer
 Confidential Customer Coin Transferee #10681   [Address on File]     6/18/2023 USD Coin                            394.338118 Customer Transfer
 Confidential Customer Coin Transferee #10681   [Address on File]     6/18/2023 USD Coin                              9.957141 Customer Transfer
 Confidential Customer Coin Transferee #10682   [Address on File]     5/29/2023 Bitcoin                                0.007149 Customer Transfer
 Confidential Customer Coin Transferee #10682   [Address on File]      6/9/2023 Bitcoin                             0.00373792 Customer Transfer
 Confidential Customer Coin Transferee #10682   [Address on File]      6/1/2023 Bitcoin                             0.00364741 Customer Transfer
 Confidential Customer Coin Transferee #10683   [Address on File]     6/20/2023 Bitcoin                             0.02556758 Customer Transfer
 Confidential Customer Coin Transferee #10684   [Address on File]     5/16/2023 Bitcoin                              0.0103229 Customer Transfer
 Confidential Customer Coin Transferee #10685   [Address on File]     5/23/2023 Bitcoin                             0.05122236 Customer Transfer
 Confidential Customer Coin Transferee #10686   [Address on File]     6/17/2023 USD Coin                             39.023418 Customer Transfer
 Confidential Customer Coin Transferee #10686   [Address on File]     6/16/2023 USD Coin                             29.355322 Customer Transfer
 Confidential Customer Coin Transferee #10687   [Address on File]     5/20/2023 Bitcoin                             0.00091089 Customer Transfer
 Confidential Customer Coin Transferee #10688   [Address on File]     5/26/2023 Bitcoin                             0.00361336 Customer Transfer
 Confidential Customer Coin Transferee #10688   [Address on File]     5/19/2023 Bitcoin                             0.00342283 Customer Transfer
 Confidential Customer Coin Transferee #10689   [Address on File]     5/24/2023 Bitcoin                             0.03753773 Customer Transfer
 Confidential Customer Coin Transferee #10690   [Address on File]     6/18/2023 Bitcoin                             0.00044995 Customer Transfer
 Confidential Customer Coin Transferee #10690   [Address on File]     5/18/2023 Bitcoin                             0.00039385 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10691   [Address on File]     6/19/2023 Bitcoin                             0.00021431 Customer Transfer
 Confidential Customer Coin Transferee #10692   [Address on File]     6/20/2023 Bitcoin                              0.0005798 Customer Transfer
 Confidential Customer Coin Transferee #10693   [Address on File]     5/16/2023 Bitcoin                              0.1802311 Customer Transfer
 Confidential Customer Coin Transferee #10693   [Address on File]     5/18/2023 Bitcoin                             0.03719177 Customer Transfer
 Confidential Customer Coin Transferee #10694   [Address on File]     5/29/2023 Bitcoin                             0.00215469 Customer Transfer
 Confidential Customer Coin Transferee #10694   [Address on File]     6/19/2023 Bitcoin                             0.00169961 Customer Transfer
 Confidential Customer Coin Transferee #10695   [Address on File]     6/20/2023 Bitcoin                              0.0005673 Customer Transfer
 Confidential Customer Coin Transferee #10696   [Address on File]     6/20/2023 Bitcoin                             0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #10697   [Address on File]      6/8/2023 Bitcoin                             0.03585291 Customer Transfer
 Confidential Customer Coin Transferee #10698   [Address on File]     6/20/2023 Bitcoin                             0.00419172 Customer Transfer
 Confidential Customer Coin Transferee #10699   [Address on File]     5/17/2023 Bitcoin                             0.01021154 Customer Transfer
 Confidential Customer Coin Transferee #10700   [Address on File]     5/24/2023 Bitcoin                             0.00147805 Customer Transfer
 Confidential Customer Coin Transferee #10701   [Address on File]     5/25/2023 Bitcoin                             0.01072486 Customer Transfer
 Confidential Customer Coin Transferee #10702   [Address on File]     5/19/2023 Bitcoin                             0.02238402 Customer Transfer
 Confidential Customer Coin Transferee #10703   [Address on File]     6/20/2023 Bitcoin                              0.0003261 Customer Transfer
 Confidential Customer Coin Transferee #10704   [Address on File]     5/26/2023 Bitcoin                             0.01819949 Customer Transfer
 Confidential Customer Coin Transferee #10705   [Address on File]     5/20/2023 Bitcoin                             0.00050102 Customer Transfer
 Confidential Customer Coin Transferee #10705   [Address on File]     5/20/2023 Bitcoin                             0.00044822 Customer Transfer
 Confidential Customer Coin Transferee #10705   [Address on File]     5/20/2023 Bitcoin                             0.00036587 Customer Transfer
 Confidential Customer Coin Transferee #10705   [Address on File]     5/20/2023 Bitcoin                             0.00036578 Customer Transfer
 Confidential Customer Coin Transferee #10705   [Address on File]     5/20/2023 Bitcoin                             0.00036343 Customer Transfer
 Confidential Customer Coin Transferee #10705   [Address on File]     5/20/2023 Bitcoin                             0.00035769 Customer Transfer
 Confidential Customer Coin Transferee #10705   [Address on File]     5/20/2023 Bitcoin                             0.00034894 Customer Transfer
 Confidential Customer Coin Transferee #10705   [Address on File]     5/20/2023 Bitcoin                             0.00033746 Customer Transfer
 Confidential Customer Coin Transferee #10705   [Address on File]     5/20/2023 Bitcoin                             0.00032777 Customer Transfer
 Confidential Customer Coin Transferee #10706   [Address on File]     5/19/2023 Bitcoin                             0.02655405 Customer Transfer
 Confidential Customer Coin Transferee #10707   [Address on File]     6/14/2023 Ether                              0.016696125 Customer Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/18/2023 Bitcoin                             0.03752319 Customer Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/16/2023 Bitcoin                             0.02197673 Customer Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/25/2023 Bitcoin                              0.0201505 Customer Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/18/2023 Bitcoin                             0.01859311 Customer Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/16/2023 Bitcoin                             0.01846757 Customer Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/25/2023 Bitcoin                             0.01022025 Customer Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/19/2023 Bitcoin                             0.00925368 Customer Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/16/2023 Bitcoin                             0.00920412 Customer Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/29/2023 Bitcoin                             0.00910468 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/26/2023 Bitcoin                             0.00762213 Customer Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/16/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #10708   [Address on File]     5/29/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #10709   [Address on File]     6/16/2023 Bitcoin                             0.23249694 Customer Transfer
 Confidential Customer Coin Transferee #10710   [Address on File]     6/19/2023 Bitcoin                             0.00499653 Customer Transfer
 Confidential Customer Coin Transferee #10711   [Address on File]      6/2/2023 Bitcoin                             0.00141819 Customer Transfer
 Confidential Customer Coin Transferee #10712   [Address on File]     5/19/2023 Bitcoin                             0.03666308 Customer Transfer
 Confidential Customer Coin Transferee #10713   [Address on File]      6/8/2023 Bitcoin                             0.00293767 Customer Transfer
 Confidential Customer Coin Transferee #10713   [Address on File]     6/19/2023 Bitcoin                             0.00077684 Customer Transfer
 Confidential Customer Coin Transferee #10714   [Address on File]     5/24/2023 Bitcoin                             0.00093095 Customer Transfer
 Confidential Customer Coin Transferee #10714   [Address on File]     5/17/2023 Bitcoin                             0.00087127 Customer Transfer
 Confidential Customer Coin Transferee #10715   [Address on File]     5/18/2023 Bitcoin                             0.00372086 Customer Transfer
 Confidential Customer Coin Transferee #10716   [Address on File]     6/19/2023 Bitcoin                             0.01402872 Customer Transfer
 Confidential Customer Coin Transferee #10717   [Address on File]     6/20/2023 Bitcoin                             0.00006029 Customer Transfer
 Confidential Customer Coin Transferee #10718   [Address on File]     6/20/2023 Bitcoin                             0.00114654 Customer Transfer
 Confidential Customer Coin Transferee #10719   [Address on File]      6/6/2023 Bitcoin                             0.02689511 Customer Transfer
 Confidential Customer Coin Transferee #10720   [Address on File]     5/16/2023 Bitcoin                             0.05164873 Customer Transfer
 Confidential Customer Coin Transferee #10721   [Address on File]     5/18/2023 Bitcoin                              0.1429744 Customer Transfer
 Confidential Customer Coin Transferee #10722   [Address on File]     6/19/2023 Bitcoin                             0.00118076 Customer Transfer
 Confidential Customer Coin Transferee #10723   [Address on File]     6/20/2023 Bitcoin                             0.00099284 Customer Transfer
 Confidential Customer Coin Transferee #10724   [Address on File]     5/21/2023 Bitcoin                             0.05006076 Customer Transfer
 Confidential Customer Coin Transferee #10725   [Address on File]     5/31/2023 Bitcoin                                0.003678 Customer Transfer
 Confidential Customer Coin Transferee #10725   [Address on File]     5/22/2023 Bitcoin                              0.0015621 Customer Transfer
 Confidential Customer Coin Transferee #10725   [Address on File]     5/19/2023 Bitcoin                             0.00071244 Customer Transfer
 Confidential Customer Coin Transferee #10725   [Address on File]     5/18/2023 Bitcoin                             0.00070265 Customer Transfer
 Confidential Customer Coin Transferee #10725   [Address on File]     5/21/2023 Bitcoin                             0.00002239 Customer Transfer
 Confidential Customer Coin Transferee #10726   [Address on File]     6/19/2023 Bitcoin                              0.0047178 Customer Transfer
 Confidential Customer Coin Transferee #10727   [Address on File]     6/20/2023 Bitcoin                             0.00044635 Customer Transfer
 Confidential Customer Coin Transferee #10728   [Address on File]     5/25/2023 Bitcoin                             0.00453074 Customer Transfer
 Confidential Customer Coin Transferee #10729   [Address on File]     5/26/2023 Bitcoin                             0.01438326 Customer Transfer
 Confidential Customer Coin Transferee #10730   [Address on File]     5/18/2023 Bitcoin                             0.00092591 Customer Transfer
 Confidential Customer Coin Transferee #10731   [Address on File]     6/19/2023 Bitcoin                             0.00083062 Customer Transfer
 Confidential Customer Coin Transferee #10732   [Address on File]     5/25/2023 Bitcoin                             0.01819531 Customer Transfer
 Confidential Customer Coin Transferee #10733   [Address on File]     6/19/2023 Bitcoin                             0.00057709 Customer Transfer

 Confidential Customer Coin Transferee #10734   [Address on File]      6/7/2023 Bitcoin                                0.00492156 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10735   [Address on File]     6/20/2023 Bitcoin                             0.01454637 Customer Transfer
 Confidential Customer Coin Transferee #10736   [Address on File]     6/20/2023 Bitcoin                             0.00780161 Customer Transfer
 Confidential Customer Coin Transferee #10737   [Address on File]     6/19/2023 Bitcoin                             0.00005803 Customer Transfer
 Confidential Customer Coin Transferee #10738   [Address on File]     6/20/2023 Bitcoin                             0.00045766 Customer Transfer
 Confidential Customer Coin Transferee #10739   [Address on File]     6/20/2023 Bitcoin                             0.01009685 Customer Transfer
 Confidential Customer Coin Transferee #10739   [Address on File]     5/22/2023 Bitcoin                             0.00031695 Customer Transfer
 Confidential Customer Coin Transferee #10740   [Address on File]     5/26/2023 Bitcoin                             0.00084393 Customer Transfer
 Confidential Customer Coin Transferee #10740   [Address on File]     5/23/2023 Bitcoin                             0.00018174 Customer Transfer
 Confidential Customer Coin Transferee #10741   [Address on File]     5/25/2023 Bitcoin                             0.09434127 Customer Transfer
 Confidential Customer Coin Transferee #10741   [Address on File]     5/29/2023 Bitcoin                             0.08752009 Customer Transfer
 Confidential Customer Coin Transferee #10742   [Address on File]     6/19/2023 Bitcoin                             0.00042683 Customer Transfer
 Confidential Customer Coin Transferee #10743   [Address on File]     5/26/2023 Bitcoin                             0.01122279 Customer Transfer
 Confidential Customer Coin Transferee #10743   [Address on File]     5/19/2023 Bitcoin                              0.0101398 Customer Transfer
 Confidential Customer Coin Transferee #10744   [Address on File]     6/20/2023 Bitcoin                             0.00045497 Customer Transfer
 Confidential Customer Coin Transferee #10745   [Address on File]      6/7/2023 Bitcoin                             0.00538016 Customer Transfer
 Confidential Customer Coin Transferee #10746   [Address on File]     5/16/2023 Bitcoin                             0.01047537 Customer Transfer
 Confidential Customer Coin Transferee #10747   [Address on File]     6/20/2023 Bitcoin                             0.00070251 Customer Transfer
 Confidential Customer Coin Transferee #10748   [Address on File]     5/23/2023 Bitcoin                                    0.25 Customer Transfer
 Confidential Customer Coin Transferee #10749   [Address on File]     5/25/2023 Bitcoin                             0.36478546 Customer Transfer
 Confidential Customer Coin Transferee #10750   [Address on File]     6/19/2023 Bitcoin                             0.00018464 Customer Transfer
 Confidential Customer Coin Transferee #10751   [Address on File]     6/19/2023 Bitcoin                             0.00057697 Customer Transfer
 Confidential Customer Coin Transferee #10752   [Address on File]     6/19/2023 Bitcoin                             0.00040388 Customer Transfer
 Confidential Customer Coin Transferee #10753   [Address on File]     6/20/2023 Bitcoin                             0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #10754   [Address on File]     5/25/2023 Bitcoin                             0.35135668 Customer Transfer
 Confidential Customer Coin Transferee #10755   [Address on File]     6/20/2023 Bitcoin                             0.01577679 Customer Transfer
 Confidential Customer Coin Transferee #10755   [Address on File]     5/22/2023 Bitcoin                             0.01551224 Customer Transfer
 Confidential Customer Coin Transferee #10756   [Address on File]      6/6/2023 Bitcoin                             0.00191977 Customer Transfer
 Confidential Customer Coin Transferee #10756   [Address on File]     6/19/2023 Bitcoin                             0.00038217 Customer Transfer
 Confidential Customer Coin Transferee #10757   [Address on File]     6/20/2023 Bitcoin                             0.00011685 Customer Transfer
 Confidential Customer Coin Transferee #10758   [Address on File]     6/20/2023 Bitcoin                             0.00168597 Customer Transfer
 Confidential Customer Coin Transferee #10759   [Address on File]     5/30/2023 Bitcoin                             0.01001266 Customer Transfer
 Confidential Customer Coin Transferee #10760   [Address on File]     5/23/2023 Bitcoin                                   0.014 Customer Transfer
 Confidential Customer Coin Transferee #10761   [Address on File]     5/20/2023 Bitcoin                             0.00288713 Customer Transfer
 Confidential Customer Coin Transferee #10762   [Address on File]     6/20/2023 Bitcoin                             0.05465975 Customer Transfer
 Confidential Customer Coin Transferee #10763   [Address on File]     5/29/2023 Bitcoin                              0.0104963 Customer Transfer
 Confidential Customer Coin Transferee #10763   [Address on File]     5/29/2023 Bitcoin                             0.01042947 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10764   [Address on File]     6/20/2023 Bitcoin                             0.00011648 Customer Transfer
 Confidential Customer Coin Transferee #10765   [Address on File]     6/20/2023 Bitcoin                             0.00063908 Customer Transfer
 Confidential Customer Coin Transferee #10766   [Address on File]     6/20/2023 Bitcoin                             0.00211683 Customer Transfer
 Confidential Customer Coin Transferee #10767   [Address on File]     6/20/2023 Bitcoin                             0.00045712 Customer Transfer
 Confidential Customer Coin Transferee #10768   [Address on File]     6/16/2023 Bitcoin                             0.28484856 Customer Transfer
 Confidential Customer Coin Transferee #10769   [Address on File]     6/19/2023 Bitcoin                             0.00184521 Customer Transfer
 Confidential Customer Coin Transferee #10770   [Address on File]     5/26/2023 Bitcoin                              0.0074172 Customer Transfer
 Confidential Customer Coin Transferee #10770   [Address on File]     5/19/2023 Bitcoin                             0.00689898 Customer Transfer
 Confidential Customer Coin Transferee #10771   [Address on File]     6/19/2023 Bitcoin                              0.0004254 Customer Transfer
 Confidential Customer Coin Transferee #10772   [Address on File]     5/22/2023 Bitcoin                             0.01952649 Customer Transfer
 Confidential Customer Coin Transferee #10773   [Address on File]     6/20/2023 Bitcoin                             0.00622343 Customer Transfer
 Confidential Customer Coin Transferee #10774   [Address on File]     5/23/2023 Bitcoin                             0.00347623 Customer Transfer
 Confidential Customer Coin Transferee #10774   [Address on File]     5/23/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #10775   [Address on File]      6/7/2023 Bitcoin                             0.00020678 Customer Transfer
 Confidential Customer Coin Transferee #10776   [Address on File]     6/20/2023 Bitcoin                             0.00676291 Customer Transfer
 Confidential Customer Coin Transferee #10777   [Address on File]     5/22/2023 Bitcoin                              0.0090316 Customer Transfer
 Confidential Customer Coin Transferee #10778   [Address on File]     6/20/2023 Bitcoin                             0.00005811 Customer Transfer
 Confidential Customer Coin Transferee #10779   [Address on File]     5/19/2023 Bitcoin                             0.02153927 Customer Transfer
 Confidential Customer Coin Transferee #10779   [Address on File]     5/17/2023 Bitcoin                             0.01849859 Customer Transfer
 Confidential Customer Coin Transferee #10779   [Address on File]     5/23/2023 Bitcoin                             0.01348099 Customer Transfer
 Confidential Customer Coin Transferee #10779   [Address on File]     5/20/2023 Bitcoin                             0.01088853 Customer Transfer
 Confidential Customer Coin Transferee #10780   [Address on File]     5/21/2023 Bitcoin                             0.05251145 Customer Transfer
 Confidential Customer Coin Transferee #10780   [Address on File]     5/21/2023 Bitcoin                              0.0357379 Customer Transfer
 Confidential Customer Coin Transferee #10780   [Address on File]     5/21/2023 Bitcoin                             0.01824556 Customer Transfer
 Confidential Customer Coin Transferee #10780   [Address on File]     5/22/2023 Bitcoin                             0.01733182 Customer Transfer
 Confidential Customer Coin Transferee #10780   [Address on File]     5/22/2023 Bitcoin                             0.01727282 Customer Transfer
 Confidential Customer Coin Transferee #10781   [Address on File]     6/19/2023 Bitcoin                             0.00004423 Customer Transfer
 Confidential Customer Coin Transferee #10782   [Address on File]     6/19/2023 Bitcoin                             0.00092541 Customer Transfer
 Confidential Customer Coin Transferee #10783   [Address on File]     6/20/2023 Bitcoin                             0.01012046 Customer Transfer
 Confidential Customer Coin Transferee #10784   [Address on File]     6/20/2023 Bitcoin                             0.00052378 Customer Transfer
 Confidential Customer Coin Transferee #10785   [Address on File]     5/23/2023 Bitcoin                             0.02166117 Customer Transfer
 Confidential Customer Coin Transferee #10786   [Address on File]     6/19/2023 Bitcoin                             0.01494126 Customer Transfer
 Confidential Customer Coin Transferee #10787   [Address on File]     5/30/2023 Bitcoin                             0.02757897 Customer Transfer
 Confidential Customer Coin Transferee #10788   [Address on File]     5/16/2023 Bitcoin                             0.00074121 Customer Transfer
 Confidential Customer Coin Transferee #10789   [Address on File]     5/26/2023 Bitcoin                             0.01461351 Customer Transfer
 Confidential Customer Coin Transferee #10790   [Address on File]      6/6/2023 Bitcoin                             0.01931878 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10790   [Address on File]      6/2/2023 Bitcoin                             0.01823805 Customer Transfer
 Confidential Customer Coin Transferee #10790   [Address on File]     5/22/2023 Bitcoin                             0.00737213 Customer Transfer
 Confidential Customer Coin Transferee #10791   [Address on File]     5/22/2023 Bitcoin                             0.00360767 Customer Transfer
 Confidential Customer Coin Transferee #10792   [Address on File]     6/20/2023 Bitcoin                             0.00388583 Customer Transfer
 Confidential Customer Coin Transferee #10793   [Address on File]     5/22/2023 Bitcoin                             0.00371404 Customer Transfer
 Confidential Customer Coin Transferee #10794   [Address on File]     5/19/2023 Bitcoin                             0.00341616 Customer Transfer
 Confidential Customer Coin Transferee #10795   [Address on File]     5/25/2023 Bitcoin                             0.00114458 Customer Transfer
 Confidential Customer Coin Transferee #10796   [Address on File]     5/21/2023 Bitcoin                             0.00909237 Customer Transfer
 Confidential Customer Coin Transferee #10797   [Address on File]     5/22/2023 Bitcoin                             0.00863974 Customer Transfer
 Confidential Customer Coin Transferee #10798   [Address on File]     5/22/2023 Bitcoin                             0.00091307 Customer Transfer
 Confidential Customer Coin Transferee #10798   [Address on File]     6/20/2023 Bitcoin                             0.00058188 Customer Transfer
 Confidential Customer Coin Transferee #10798   [Address on File]      6/7/2023 Bitcoin                             0.00038608 Customer Transfer
 Confidential Customer Coin Transferee #10798   [Address on File]      6/5/2023 Bitcoin                             0.00036578 Customer Transfer
 Confidential Customer Coin Transferee #10799   [Address on File]     5/23/2023 Bitcoin                             0.01318545 Customer Transfer
 Confidential Customer Coin Transferee #10800   [Address on File]     5/30/2023 Bitcoin                             0.01069177 Customer Transfer
 Confidential Customer Coin Transferee #10800   [Address on File]     5/18/2023 Bitcoin                             0.01046052 Customer Transfer
 Confidential Customer Coin Transferee #10801   [Address on File]     5/29/2023 Bitcoin                             0.00603042 Customer Transfer
 Confidential Customer Coin Transferee #10801   [Address on File]     6/19/2023 Bitcoin                             0.00191902 Customer Transfer
 Confidential Customer Coin Transferee #10802   [Address on File]     5/25/2023 Bitcoin                             0.00740355 Customer Transfer
 Confidential Customer Coin Transferee #10803   [Address on File]     6/20/2023 Bitcoin                             0.00135885 Customer Transfer
 Confidential Customer Coin Transferee #10804   [Address on File]     6/20/2023 Bitcoin                                0.000058 Customer Transfer
 Confidential Customer Coin Transferee #10805   [Address on File]     6/19/2023 Bitcoin                             0.00061749 Customer Transfer
 Confidential Customer Coin Transferee #10806   [Address on File]     5/16/2023 Bitcoin                             0.05878026 Customer Transfer
 Confidential Customer Coin Transferee #10807   [Address on File]     5/28/2023 Bitcoin                             0.05157168 Customer Transfer
 Confidential Customer Coin Transferee #10808   [Address on File]     6/19/2023 Bitcoin                             0.00113141 Customer Transfer
 Confidential Customer Coin Transferee #10809   [Address on File]     5/19/2023 Bitcoin                             0.00174912 Customer Transfer
 Confidential Customer Coin Transferee #10810   [Address on File]     5/26/2023 Bitcoin                             0.00184988 Customer Transfer
 Confidential Customer Coin Transferee #10810   [Address on File]     5/19/2023 Bitcoin                             0.00180487 Customer Transfer
 Confidential Customer Coin Transferee #10811   [Address on File]     6/20/2023 Bitcoin                             0.00336604 Customer Transfer
 Confidential Customer Coin Transferee #10812   [Address on File]     5/21/2023 Bitcoin                             0.00909597 Customer Transfer
 Confidential Customer Coin Transferee #10813   [Address on File]     6/20/2023 Bitcoin                             0.00060879 Customer Transfer
 Confidential Customer Coin Transferee #10814   [Address on File]     6/20/2023 Bitcoin                             0.00952056 Customer Transfer
 Confidential Customer Coin Transferee #10815   [Address on File]     6/19/2023 Bitcoin                             0.00312342 Customer Transfer
 Confidential Customer Coin Transferee #10816   [Address on File]     6/20/2023 Bitcoin                              0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #10817   [Address on File]     6/17/2023 Bitcoin                             0.00193186 Customer Transfer
 Confidential Customer Coin Transferee #10817   [Address on File]     5/18/2023 Bitcoin                             0.00185956 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10817   [Address on File]      6/5/2023 Bitcoin                             0.00185054 Customer Transfer
 Confidential Customer Coin Transferee #10817   [Address on File]     5/22/2023 Bitcoin                              0.0018454 Customer Transfer
 Confidential Customer Coin Transferee #10818   [Address on File]     6/19/2023 Bitcoin                             0.00034191 Customer Transfer
 Confidential Customer Coin Transferee #10819   [Address on File]     5/18/2023 Litecoin                              0.514459 Customer Transfer
 Confidential Customer Coin Transferee #10820   [Address on File]     6/20/2023 Bitcoin                             0.06366212 Customer Transfer
 Confidential Customer Coin Transferee #10821   [Address on File]     6/13/2023 Bitcoin                             0.02040732 Customer Transfer
 Confidential Customer Coin Transferee #10821   [Address on File]     6/19/2023 Bitcoin                             0.00398343 Customer Transfer
 Confidential Customer Coin Transferee #10822   [Address on File]     6/15/2023 Bitcoin                             0.00928729 Customer Transfer
 Confidential Customer Coin Transferee #10823   [Address on File]     5/17/2023 Bitcoin                             0.01017277 Customer Transfer
 Confidential Customer Coin Transferee #10823   [Address on File]      6/8/2023 Bitcoin                             0.00225768 Customer Transfer

 Confidential Customer Coin Transferee #10824   [Address on File]     6/20/2023 Bitcoin                                 0.0027603 Customer Transfer
 Confidential Customer Coin Transferee #10825   [Address on File]     5/28/2023 Bitcoin                                0.05043154 Customer Transfer
 Confidential Customer Coin Transferee #10826   [Address on File]     5/20/2023 Bitcoin                                0.00171665 Customer Transfer
 Confidential Customer Coin Transferee #10827   [Address on File]     5/18/2023 Bitcoin                                0.01347251 Customer Transfer
 Confidential Customer Coin Transferee #10828   [Address on File]     5/22/2023 Bitcoin                                0.05499721 Customer Transfer
 Confidential Customer Coin Transferee #10828   [Address on File]     5/18/2023 Bitcoin                                0.00740215 Customer Transfer
 Confidential Customer Coin Transferee #10829   [Address on File]     5/19/2023 Bitcoin                                 0.0105948 Customer Transfer
 Confidential Customer Coin Transferee #10829   [Address on File]     5/19/2023 Bitcoin                                0.01058672 Customer Transfer
 Confidential Customer Coin Transferee #10830   [Address on File]     5/30/2023 Bitcoin                                0.01065932 Customer Transfer
 Confidential Customer Coin Transferee #10830   [Address on File]     5/22/2023 Bitcoin                                0.00730071 Customer Transfer
 Confidential Customer Coin Transferee #10831   [Address on File]     6/19/2023 Bitcoin                                0.04331228 Customer Transfer
 Confidential Customer Coin Transferee #10832   [Address on File]     5/24/2023 Bitcoin                                 0.0234203 Customer Transfer
 Confidential Customer Coin Transferee #10833   [Address on File]     5/26/2023 Bitcoin                                0.00185431 Customer Transfer
 Confidential Customer Coin Transferee #10833   [Address on File]     5/19/2023 Bitcoin                                0.00173897 Customer Transfer
 Confidential Customer Coin Transferee #10834   [Address on File]     5/26/2023 Bitcoin                                    0.11203 Customer Transfer
 Confidential Customer Coin Transferee #10835   [Address on File]     6/14/2023 Bitcoin                                0.03856029 Customer Transfer
 Confidential Customer Coin Transferee #10835   [Address on File]      6/6/2023 Bitcoin                                0.03265062 Customer Transfer
 Confidential Customer Coin Transferee #10835   [Address on File]     5/26/2023 Bitcoin                                0.01869764 Customer Transfer
 Confidential Customer Coin Transferee #10835   [Address on File]      6/7/2023 Bitcoin                                0.00452349 Customer Transfer
 Confidential Customer Coin Transferee #10836   [Address on File]     5/22/2023 Bitcoin                                 0.0009486 Customer Transfer
 Confidential Customer Coin Transferee #10836   [Address on File]     5/30/2023 Bitcoin                                0.00093011 Customer Transfer
 Confidential Customer Coin Transferee #10836   [Address on File]     5/16/2023 Bitcoin                                0.00085706 Customer Transfer
 Confidential Customer Coin Transferee #10837   [Address on File]     5/26/2023 Bitcoin                                0.01050711 Customer Transfer
 Confidential Customer Coin Transferee #10838   [Address on File]     6/11/2023 Litecoin                                      1.83 Customer Transfer
 Confidential Customer Coin Transferee #10839   [Address on File]     5/29/2023 Bitcoin                                0.03850129 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10839   [Address on File]     6/12/2023 Bitcoin                             0.02209975 Customer Transfer
 Confidential Customer Coin Transferee #10840   [Address on File]     6/19/2023 Bitcoin                             0.00011656 Customer Transfer
 Confidential Customer Coin Transferee #10841   [Address on File]     6/20/2023 Bitcoin                             0.00761184 Customer Transfer
 Confidential Customer Coin Transferee #10842   [Address on File]     6/20/2023 Bitcoin                             0.00585971 Customer Transfer

 Confidential Customer Coin Transferee #10843   [Address on File]     5/16/2023 Bitcoin                                0.00200039 Customer Transfer

 Confidential Customer Coin Transferee #10843   [Address on File]     5/16/2023 Bitcoin                                0.00051325 Customer Transfer

 Confidential Customer Coin Transferee #10843   [Address on File]     5/27/2023 Bitcoin                                 0.0004836 Customer Transfer

 Confidential Customer Coin Transferee #10843   [Address on File]     5/29/2023 Bitcoin                                0.00035928 Customer Transfer

 Confidential Customer Coin Transferee #10843   [Address on File]     5/16/2023 Bitcoin                                0.00032965 Customer Transfer

 Confidential Customer Coin Transferee #10843   [Address on File]     5/16/2023 Bitcoin                                0.00013962 Customer Transfer
 Confidential Customer Coin Transferee #10844   [Address on File]     5/23/2023 Bitcoin                                 0.0125833 Customer Transfer
 Confidential Customer Coin Transferee #10845   [Address on File]     6/19/2023 Bitcoin                                 0.0139548 Customer Transfer
 Confidential Customer Coin Transferee #10846   [Address on File]     6/20/2023 Bitcoin                                 0.0002151 Customer Transfer
 Confidential Customer Coin Transferee #10847   [Address on File]     6/20/2023 Bitcoin                                0.00062189 Customer Transfer
 Confidential Customer Coin Transferee #10848   [Address on File]     5/22/2023 Bitcoin                                0.00180673 Customer Transfer
 Confidential Customer Coin Transferee #10849   [Address on File]     6/19/2023 Bitcoin                                0.00005808 Customer Transfer
 Confidential Customer Coin Transferee #10850   [Address on File]     6/19/2023 Bitcoin                                0.00011959 Customer Transfer
 Confidential Customer Coin Transferee #10851   [Address on File]     6/20/2023 Bitcoin                                0.03450546 Customer Transfer
 Confidential Customer Coin Transferee #10852   [Address on File]      6/8/2023 Bitcoin                                       0.03 Customer Transfer
 Confidential Customer Coin Transferee #10853   [Address on File]     6/20/2023 Bitcoin                                0.00041161 Customer Transfer
 Confidential Customer Coin Transferee #10854   [Address on File]     6/20/2023 Bitcoin                                0.00058571 Customer Transfer
 Confidential Customer Coin Transferee #10855   [Address on File]     6/20/2023 Bitcoin                                0.00236254 Customer Transfer
 Confidential Customer Coin Transferee #10856   [Address on File]     5/24/2023 Bitcoin                                0.00758656 Customer Transfer
 Confidential Customer Coin Transferee #10857   [Address on File]     5/24/2023 Bitcoin                                0.11269963 Customer Transfer
 Confidential Customer Coin Transferee #10857   [Address on File]     5/24/2023 Bitcoin                                0.05853678 Customer Transfer
 Confidential Customer Coin Transferee #10858   [Address on File]     5/24/2023 Bitcoin                                0.00377472 Customer Transfer
 Confidential Customer Coin Transferee #10858   [Address on File]     5/22/2023 Bitcoin                                0.00110581 Customer Transfer
 Confidential Customer Coin Transferee #10859   [Address on File]     5/18/2023 Bitcoin                                0.00368025 Customer Transfer
 Confidential Customer Coin Transferee #10860   [Address on File]     5/19/2023 Bitcoin                                 0.0071619 Customer Transfer
 Confidential Customer Coin Transferee #10860   [Address on File]     5/26/2023 Bitcoin                                0.00369432 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #10861   [Address on File]     6/19/2023 Bitcoin                             0.00019029 Customer Transfer
 Confidential Customer Coin Transferee #10862   [Address on File]     5/24/2023 Bitcoin                              0.0106113 Customer Transfer
 Confidential Customer Coin Transferee #10863   [Address on File]     6/20/2023 Bitcoin                             0.00399516 Customer Transfer
 Confidential Customer Coin Transferee #10864   [Address on File]     6/20/2023 Bitcoin                             0.01893141 Customer Transfer
 Confidential Customer Coin Transferee #10865   [Address on File]     5/23/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #10866   [Address on File]     5/16/2023 Bitcoin                             0.00277075 Customer Transfer
 Confidential Customer Coin Transferee #10866   [Address on File]     5/23/2023 Bitcoin                             0.00153039 Customer Transfer
 Confidential Customer Coin Transferee #10866   [Address on File]     5/24/2023 Bitcoin                             0.00040917 Customer Transfer
 Confidential Customer Coin Transferee #10867   [Address on File]     6/20/2023 Bitcoin                             0.00292156 Customer Transfer
 Confidential Customer Coin Transferee #10868   [Address on File]     6/20/2023 Bitcoin                             0.00098147 Customer Transfer
 Confidential Customer Coin Transferee #10869   [Address on File]     6/20/2023 Bitcoin                             0.00059548 Customer Transfer
 Confidential Customer Coin Transferee #10870   [Address on File]     5/29/2023 Bitcoin                              0.0017383 Customer Transfer
 Confidential Customer Coin Transferee #10870   [Address on File]     6/13/2023 Bitcoin                             0.00015783 Customer Transfer
 Confidential Customer Coin Transferee #10870   [Address on File]     6/19/2023 Bitcoin                             0.00008323 Customer Transfer
 Confidential Customer Coin Transferee #10871   [Address on File]     6/20/2023 Bitcoin                             0.00036226 Customer Transfer
 Confidential Customer Coin Transferee #10872   [Address on File]     5/29/2023 Bitcoin                                    0.025 Customer Transfer
 Confidential Customer Coin Transferee #10873   [Address on File]      6/1/2023 Bitcoin                             0.00073122 Customer Transfer
 Confidential Customer Coin Transferee #10874   [Address on File]     6/20/2023 Bitcoin                             0.03822001 Customer Transfer
 Confidential Customer Coin Transferee #10875   [Address on File]     5/22/2023 Bitcoin                             0.05346854 Customer Transfer
 Confidential Customer Coin Transferee #10875   [Address on File]     6/12/2023 Bitcoin                             0.03762214 Customer Transfer
 Confidential Customer Coin Transferee #10875   [Address on File]      6/1/2023 Bitcoin                             0.03633167 Customer Transfer
 Confidential Customer Coin Transferee #10875   [Address on File]      6/7/2023 Bitcoin                              0.0183795 Customer Transfer
 Confidential Customer Coin Transferee #10875   [Address on File]     6/13/2023 Bitcoin                             0.01728041 Customer Transfer
 Confidential Customer Coin Transferee #10876   [Address on File]     6/19/2023 Bitcoin                              0.0001499 Customer Transfer
 Confidential Customer Coin Transferee #10877   [Address on File]     5/25/2023 Bitcoin                                 0.00001 Customer Transfer
 Confidential Customer Coin Transferee #10878   [Address on File]     6/20/2023 Bitcoin                             0.00219878 Customer Transfer
 Confidential Customer Coin Transferee #10879   [Address on File]     6/20/2023 Bitcoin                              0.0035064 Customer Transfer
 Confidential Customer Coin Transferee #10880   [Address on File]     6/19/2023 Bitcoin                             0.00057947 Customer Transfer
 Confidential Customer Coin Transferee #10881   [Address on File]     5/23/2023 Bitcoin                             0.00094736 Customer Transfer
 Confidential Customer Coin Transferee #10881   [Address on File]     5/30/2023 Bitcoin                             0.00092704 Customer Transfer
 Confidential Customer Coin Transferee #10881   [Address on File]     5/16/2023 Bitcoin                             0.00084312 Customer Transfer
 Confidential Customer Coin Transferee #10882   [Address on File]     6/20/2023 Bitcoin                             0.00256958 Customer Transfer
 Confidential Customer Coin Transferee #10883   [Address on File]     6/19/2023 Bitcoin                             0.00375196 Customer Transfer
 Confidential Customer Coin Transferee #10884   [Address on File]     6/16/2023 Bitcoin                             0.00577919 Customer Transfer
 Confidential Customer Coin Transferee #10884   [Address on File]     5/29/2023 Bitcoin                             0.00289419 Customer Transfer
 Confidential Customer Coin Transferee #10885   [Address on File]     6/20/2023 Bitcoin                             0.00023814 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #10886   [Address on File]     5/19/2023 Bitcoin                                 0.0024303 Customer Transfer
 Confidential Customer Coin Transferee #10887   [Address on File]     5/22/2023 Bitcoin                                0.18073457 Customer Transfer
 Confidential Customer Coin Transferee #10887   [Address on File]     5/17/2023 Bitcoin                                0.16535432 Customer Transfer
 Confidential Customer Coin Transferee #10887   [Address on File]     5/27/2023 Bitcoin                                0.08927759 Customer Transfer
 Confidential Customer Coin Transferee #10888   [Address on File]     6/20/2023 Bitcoin                                   0.028194 Customer Transfer
 Confidential Customer Coin Transferee #10889   [Address on File]     5/21/2023 Bitcoin                                0.01001855 Customer Transfer
 Confidential Customer Coin Transferee #10890   [Address on File]     5/16/2023 Bitcoin                                0.00523533 Customer Transfer
 Confidential Customer Coin Transferee #10891   [Address on File]     6/20/2023 Bitcoin                                0.00097882 Customer Transfer
 Confidential Customer Coin Transferee #10892   [Address on File]     5/16/2023 Bitcoin                                0.74981673 Customer Transfer
 Confidential Customer Coin Transferee #10893   [Address on File]     6/20/2023 Bitcoin                                0.00005807 Customer Transfer
 Confidential Customer Coin Transferee #10894   [Address on File]     5/22/2023 Bitcoin                                 0.0251658 Customer Transfer
 Confidential Customer Coin Transferee #10895   [Address on File]     5/25/2023 Bitcoin                                0.09789869 Customer Transfer
 Confidential Customer Coin Transferee #10896   [Address on File]      6/2/2023 USDC Avalanche)                        247.186406 Customer Transfer
 Confidential Customer Coin Transferee #10897   [Address on File]     6/20/2023 Bitcoin                                0.00343198 Customer Transfer
 Confidential Customer Coin Transferee #10898   [Address on File]     6/13/2023 Bitcoin                                0.00112598 Customer Transfer
 Confidential Customer Coin Transferee #10899   [Address on File]     5/21/2023 Bitcoin                                0.01019508 Customer Transfer
 Confidential Customer Coin Transferee #10899   [Address on File]     5/17/2023 Bitcoin                                0.00998626 Customer Transfer
 Confidential Customer Coin Transferee #10900   [Address on File]      6/9/2023 Bitcoin                                0.00229493 Customer Transfer
 Confidential Customer Coin Transferee #10901   [Address on File]     6/17/2023 Bitcoin                                0.00512029 Customer Transfer
 Confidential Customer Coin Transferee #10902   [Address on File]     5/22/2023 Bitcoin                                0.05619195 Customer Transfer
 Confidential Customer Coin Transferee #10903   [Address on File]     5/22/2023 Bitcoin                                0.01087891 Customer Transfer
 Confidential Customer Coin Transferee #10904   [Address on File]     6/19/2023 Bitcoin                                0.00579793 Customer Transfer
 Confidential Customer Coin Transferee #10905   [Address on File]     6/20/2023 Bitcoin                                0.00004297 Customer Transfer
 Confidential Customer Coin Transferee #10906   [Address on File]     5/19/2023 Bitcoin                                0.00704204 Customer Transfer
 Confidential Customer Coin Transferee #10907   [Address on File]     6/20/2023 Bitcoin                                0.00125009 Customer Transfer
 Confidential Customer Coin Transferee #10908   [Address on File]     6/19/2023 Bitcoin                                0.00070166 Customer Transfer
 Confidential Customer Coin Transferee #10909   [Address on File]     5/17/2023 Bitcoin                                0.11702444 Customer Transfer
 Confidential Customer Coin Transferee #10909   [Address on File]     6/19/2023 Bitcoin                                0.04488793 Customer Transfer
 Confidential Customer Coin Transferee #10910   [Address on File]     5/20/2023 Bitcoin                                0.00054221 Customer Transfer
 Confidential Customer Coin Transferee #10911   [Address on File]     6/19/2023 Bitcoin                                0.00040161 Customer Transfer

 Confidential Customer Coin Transferee #10912   [Address on File]     5/24/2023 Bitcoin                                 0.0328024 Customer Transfer
 Confidential Customer Coin Transferee #10913   [Address on File]     6/20/2023 Bitcoin                                0.00120481 Customer Transfer
 Confidential Customer Coin Transferee #10914   [Address on File]     5/16/2023 Bitcoin                                0.02558592 Customer Transfer
 Confidential Customer Coin Transferee #10915   [Address on File]     6/19/2023 Bitcoin                                0.01040518 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10916   [Address on File]     6/20/2023 Bitcoin                             0.01322668 Customer Transfer
 Confidential Customer Coin Transferee #10917   [Address on File]     5/24/2023 Bitcoin                             0.00565535 Customer Transfer
 Confidential Customer Coin Transferee #10917   [Address on File]      6/1/2023 Bitcoin                             0.00552839 Customer Transfer
 Confidential Customer Coin Transferee #10917   [Address on File]      6/1/2023 Bitcoin                             0.00551262 Customer Transfer
 Confidential Customer Coin Transferee #10917   [Address on File]     6/16/2023 Bitcoin                             0.00514258 Customer Transfer
 Confidential Customer Coin Transferee #10918   [Address on File]     5/20/2023 Bitcoin                              0.0177678 Customer Transfer
 Confidential Customer Coin Transferee #10919   [Address on File]     5/16/2023 Bitcoin                             0.01614292 Customer Transfer
 Confidential Customer Coin Transferee #10920   [Address on File]     6/19/2023 Bitcoin                             0.00008476 Customer Transfer
 Confidential Customer Coin Transferee #10921   [Address on File]     6/19/2023 Bitcoin                             0.00018243 Customer Transfer
 Confidential Customer Coin Transferee #10922   [Address on File]     6/16/2023 Bitcoin                             0.01186977 Customer Transfer
 Confidential Customer Coin Transferee #10922   [Address on File]     6/12/2023 Bitcoin                             0.00774882 Customer Transfer
 Confidential Customer Coin Transferee #10923   [Address on File]     5/23/2023 Bitcoin                             0.01173021 Customer Transfer
 Confidential Customer Coin Transferee #10924   [Address on File]     6/20/2023 Bitcoin                             0.00111548 Customer Transfer
 Confidential Customer Coin Transferee #10925   [Address on File]     5/22/2023 Bitcoin                             0.01832117 Customer Transfer
 Confidential Customer Coin Transferee #10925   [Address on File]     5/25/2023 Bitcoin                             0.01019045 Customer Transfer
 Confidential Customer Coin Transferee #10926   [Address on File]     6/20/2023 Bitcoin                             0.00005933 Customer Transfer
 Confidential Customer Coin Transferee #10927   [Address on File]     5/18/2023 Bitcoin                             0.00109011 Customer Transfer
 Confidential Customer Coin Transferee #10928   [Address on File]     5/22/2023 Bitcoin                             0.01047247 Customer Transfer
 Confidential Customer Coin Transferee #10929   [Address on File]     6/20/2023 Bitcoin                             0.00036153 Customer Transfer
 Confidential Customer Coin Transferee #10930   [Address on File]     5/26/2023 Bitcoin                             0.01839695 Customer Transfer
 Confidential Customer Coin Transferee #10931   [Address on File]     6/12/2023 Bitcoin                             0.00076654 Customer Transfer
 Confidential Customer Coin Transferee #10932   [Address on File]     6/19/2023 Bitcoin                              0.0005786 Customer Transfer
 Confidential Customer Coin Transferee #10933   [Address on File]     6/20/2023 Bitcoin                             0.01614692 Customer Transfer
 Confidential Customer Coin Transferee #10934   [Address on File]     6/11/2023 USDC Avalanche)                      97.451274 Customer Transfer
 Confidential Customer Coin Transferee #10934   [Address on File]     6/11/2023 USDC Avalanche)                      97.451274 Customer Transfer
 Confidential Customer Coin Transferee #10934   [Address on File]     6/11/2023 USDC Avalanche)                      97.451274 Customer Transfer
 Confidential Customer Coin Transferee #10935   [Address on File]     6/20/2023 Bitcoin                              0.0006551 Customer Transfer
 Confidential Customer Coin Transferee #10936   [Address on File]     5/16/2023 Bitcoin                              0.0868595 Customer Transfer
 Confidential Customer Coin Transferee #10937   [Address on File]     6/19/2023 Bitcoin                              0.0020161 Customer Transfer

 Confidential Customer Coin Transferee #10938   [Address on File]     5/30/2023 Bitcoin                                0.00286488 Customer Transfer
 Confidential Customer Coin Transferee #10939   [Address on File]      6/8/2023 Ether                                      0.22395 Customer Transfer
 Confidential Customer Coin Transferee #10940   [Address on File]     5/21/2023 Bitcoin                                0.00734567 Customer Transfer
 Confidential Customer Coin Transferee #10941   [Address on File]     5/17/2023 Bitcoin                                0.10389079 Customer Transfer
 Confidential Customer Coin Transferee #10942   [Address on File]     5/22/2023 Bitcoin                                0.00189334 Customer Transfer
 Confidential Customer Coin Transferee #10942   [Address on File]     5/29/2023 Bitcoin                                0.00185387 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #10943   [Address on File]      6/7/2023 Bitcoin                             0.02230339 Customer Transfer
 Confidential Customer Coin Transferee #10943   [Address on File]     6/20/2023 Bitcoin                             0.01171242 Customer Transfer
 Confidential Customer Coin Transferee #10944   [Address on File]     6/20/2023 Bitcoin                             0.00005828 Customer Transfer
 Confidential Customer Coin Transferee #10945   [Address on File]     5/26/2023 Bitcoin                             0.00056208 Customer Transfer
 Confidential Customer Coin Transferee #10946   [Address on File]     6/20/2023 Bitcoin                              0.0052551 Customer Transfer
 Confidential Customer Coin Transferee #10947   [Address on File]     5/26/2023 Bitcoin                             0.01848412 Customer Transfer
 Confidential Customer Coin Transferee #10947   [Address on File]     5/19/2023 Bitcoin                             0.01759096 Customer Transfer
 Confidential Customer Coin Transferee #10948   [Address on File]     6/20/2023 Bitcoin                             0.00005603 Customer Transfer
 Confidential Customer Coin Transferee #10949   [Address on File]     6/20/2023 Bitcoin                             0.00023455 Customer Transfer
 Confidential Customer Coin Transferee #10950   [Address on File]     5/26/2023 Bitcoin                             0.00202822 Customer Transfer
 Confidential Customer Coin Transferee #10951   [Address on File]     5/27/2023 Bitcoin                             0.00081986 Customer Transfer
 Confidential Customer Coin Transferee #10952   [Address on File]     6/19/2023 Bitcoin                             0.00121772 Customer Transfer
 Confidential Customer Coin Transferee #10953   [Address on File]     6/20/2023 Bitcoin                             0.00004345 Customer Transfer
 Confidential Customer Coin Transferee #10954   [Address on File]     6/20/2023 Bitcoin                             0.00227794 Customer Transfer
 Confidential Customer Coin Transferee #10955   [Address on File]     5/26/2023 Bitcoin                             0.00257686 Customer Transfer
 Confidential Customer Coin Transferee #10955   [Address on File]     5/19/2023 Bitcoin                             0.00242898 Customer Transfer
 Confidential Customer Coin Transferee #10956   [Address on File]     6/13/2023 Ether                                  1.719913 Customer Transfer
 Confidential Customer Coin Transferee #10956   [Address on File]      6/1/2023 Ether                                  1.602654 Customer Transfer
 Confidential Customer Coin Transferee #10956   [Address on File]     5/19/2023 Ether                                  0.821512 Customer Transfer
 Confidential Customer Coin Transferee #10956   [Address on File]     5/17/2023 Ether                                  0.812065 Customer Transfer
 Confidential Customer Coin Transferee #10956   [Address on File]     6/20/2023 Ether                                  0.278003 Customer Transfer
 Confidential Customer Coin Transferee #10956   [Address on File]     5/22/2023 Ether                                  0.270644 Customer Transfer
 Confidential Customer Coin Transferee #10956   [Address on File]     6/16/2023 Bitcoin                                0.116598 Customer Transfer
 Confidential Customer Coin Transferee #10956   [Address on File]      6/2/2023 Bitcoin                                0.073945 Customer Transfer
 Confidential Customer Coin Transferee #10956   [Address on File]     5/17/2023 Bitcoin                                0.054224 Customer Transfer
 Confidential Customer Coin Transferee #10956   [Address on File]      6/2/2023 Bitcoin                                0.007081 Customer Transfer
 Confidential Customer Coin Transferee #10957   [Address on File]     5/25/2023 Bitcoin                             0.02493001 Customer Transfer
 Confidential Customer Coin Transferee #10958   [Address on File]     5/26/2023 Bitcoin                                     0.3 Customer Transfer
 Confidential Customer Coin Transferee #10959   [Address on File]     6/19/2023 Bitcoin                             0.00027712 Customer Transfer
 Confidential Customer Coin Transferee #10960   [Address on File]     6/20/2023 Bitcoin                             0.00157714 Customer Transfer
 Confidential Customer Coin Transferee #10961   [Address on File]     6/19/2023 Bitcoin                             0.01169676 Customer Transfer

 Confidential Customer Coin Transferee #10962   [Address on File]     6/19/2023 USD Coin                                  1032.71 Customer Transfer
 Confidential Customer Coin Transferee #10963   [Address on File]     6/20/2023 Bitcoin                                0.00106518 Customer Transfer
 Confidential Customer Coin Transferee #10964   [Address on File]     6/20/2023 Bitcoin                                0.00164473 Customer Transfer
 Confidential Customer Coin Transferee #10965   [Address on File]     5/21/2023 Bitcoin                                0.05575653 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10966   [Address on File]     5/17/2023 Bitcoin                             0.01034982 Customer Transfer

 Confidential Customer Coin Transferee #10967   [Address on File]     5/24/2023 Bitcoin                             0.00365713 Customer Transfer
 Confidential Customer Coin Transferee #10968   [Address on File]     5/18/2023 Bitcoin                             0.15480577 Customer Transfer
 Confidential Customer Coin Transferee #10969   [Address on File]     5/16/2023 Bitcoin                             0.00084615 Customer Transfer
 Confidential Customer Coin Transferee #10969   [Address on File]     5/23/2023 Bitcoin                             0.00036476 Customer Transfer
 Confidential Customer Coin Transferee #10970   [Address on File]     5/17/2023 Bitcoin                             0.00185321 Customer Transfer
 Confidential Customer Coin Transferee #10970   [Address on File]     5/30/2023 Bitcoin                             0.00179917 Customer Transfer
 Confidential Customer Coin Transferee #10971   [Address on File]     5/19/2023 Bitcoin                             0.00035843 Customer Transfer
 Confidential Customer Coin Transferee #10972   [Address on File]     6/19/2023 Bitcoin                             0.00046423 Customer Transfer
 Confidential Customer Coin Transferee #10973   [Address on File]     5/29/2023 Bitcoin                             0.00291489 Customer Transfer
 Confidential Customer Coin Transferee #10974   [Address on File]     5/29/2023 Bitcoin                             0.03769924 Customer Transfer
 Confidential Customer Coin Transferee #10975   [Address on File]     5/17/2023 Bitcoin                             0.00201945 Customer Transfer
 Confidential Customer Coin Transferee #10975   [Address on File]     5/18/2023 Bitcoin                             0.00090953 Customer Transfer
 Confidential Customer Coin Transferee #10975   [Address on File]     5/21/2023 Bitcoin                             0.00084706 Customer Transfer
 Confidential Customer Coin Transferee #10975   [Address on File]     5/17/2023 Bitcoin                             0.00075197 Customer Transfer
 Confidential Customer Coin Transferee #10975   [Address on File]     5/16/2023 Bitcoin                             0.00039688 Customer Transfer
 Confidential Customer Coin Transferee #10975   [Address on File]     5/17/2023 Bitcoin                             0.00035852 Customer Transfer
 Confidential Customer Coin Transferee #10975   [Address on File]     5/16/2023 Bitcoin                             0.00034108 Customer Transfer
 Confidential Customer Coin Transferee #10976   [Address on File]     5/16/2023 Bitcoin                             0.00364724 Customer Transfer
 Confidential Customer Coin Transferee #10977   [Address on File]     6/12/2023 Ether                              0.391274577 Customer Transfer
 Confidential Customer Coin Transferee #10977   [Address on File]     6/13/2023 Ether                                      0.24 Customer Transfer
 Confidential Customer Coin Transferee #10978   [Address on File]     6/20/2023 Bitcoin                             0.00119938 Customer Transfer
 Confidential Customer Coin Transferee #10979   [Address on File]     5/21/2023 Bitcoin                             0.03739244 Customer Transfer
 Confidential Customer Coin Transferee #10980   [Address on File]     6/20/2023 Bitcoin                             0.00011027 Customer Transfer
 Confidential Customer Coin Transferee #10981   [Address on File]     6/19/2023 Bitcoin                             0.00185586 Customer Transfer
 Confidential Customer Coin Transferee #10982   [Address on File]     6/20/2023 Bitcoin                             0.00169505 Customer Transfer
 Confidential Customer Coin Transferee #10983   [Address on File]     6/20/2023 Bitcoin                             0.00005821 Customer Transfer
 Confidential Customer Coin Transferee #10984   [Address on File]     6/19/2023 Bitcoin                             0.00922456 Customer Transfer
 Confidential Customer Coin Transferee #10985   [Address on File]     6/20/2023 Bitcoin                             0.00040634 Customer Transfer
 Confidential Customer Coin Transferee #10986   [Address on File]     5/22/2023 Bitcoin                             0.05826956 Customer Transfer
 Confidential Customer Coin Transferee #10986   [Address on File]     5/29/2023 Bitcoin                             0.02969415 Customer Transfer
 Confidential Customer Coin Transferee #10987   [Address on File]      6/5/2023 Bitcoin                             0.00011255 Customer Transfer
 Confidential Customer Coin Transferee #10988   [Address on File]     5/24/2023 Bitcoin                             0.01480121 Customer Transfer
 Confidential Customer Coin Transferee #10989   [Address on File]     6/20/2023 Bitcoin                              0.0003596 Customer Transfer
 Confidential Customer Coin Transferee #10990   [Address on File]     5/21/2023 Bitcoin                             0.05896998 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #10991   [Address on File]     5/19/2023 Bitcoin                              0.0083302 Customer Transfer
 Confidential Customer Coin Transferee #10991   [Address on File]     5/25/2023 Bitcoin                             0.00284368 Customer Transfer
 Confidential Customer Coin Transferee #10992   [Address on File]     5/26/2023 Bitcoin                             0.00730287 Customer Transfer
 Confidential Customer Coin Transferee #10993   [Address on File]     5/26/2023 Bitcoin                             0.00332504 Customer Transfer
 Confidential Customer Coin Transferee #10994   [Address on File]     5/26/2023 Bitcoin                             0.00366267 Customer Transfer
 Confidential Customer Coin Transferee #10994   [Address on File]     5/19/2023 Bitcoin                             0.00355131 Customer Transfer

 Confidential Customer Coin Transferee #10995   [Address on File]     6/21/2023 Tether USD                                14995.8 Customer Transfer

 Confidential Customer Coin Transferee #10995   [Address on File]      6/9/2023 Tether USD                                 2995.36 Customer Transfer
 Confidential Customer Coin Transferee #10996   [Address on File]     5/22/2023 Bitcoin                                0.05564872 Customer Transfer
 Confidential Customer Coin Transferee #10997   [Address on File]     5/23/2023 Bitcoin                                0.03683861 Customer Transfer
 Confidential Customer Coin Transferee #10997   [Address on File]     5/29/2023 Bitcoin                                0.00371236 Customer Transfer
 Confidential Customer Coin Transferee #10998   [Address on File]     6/20/2023 Bitcoin                                0.00006007 Customer Transfer
 Confidential Customer Coin Transferee #10999   [Address on File]     6/19/2023 Bitcoin                                0.16741194 Customer Transfer
 Confidential Customer Coin Transferee #11000   [Address on File]     5/26/2023 Bitcoin                                0.00941071 Customer Transfer
 Confidential Customer Coin Transferee #11000   [Address on File]     5/19/2023 Bitcoin                                0.00927323 Customer Transfer
 Confidential Customer Coin Transferee #11001   [Address on File]     5/31/2023 Bitcoin                                0.07898611 Customer Transfer
 Confidential Customer Coin Transferee #11001   [Address on File]     5/31/2023 Bitcoin                                      0.0002 Customer Transfer
 Confidential Customer Coin Transferee #11002   [Address on File]     6/19/2023 Bitcoin                                0.00173293 Customer Transfer
 Confidential Customer Coin Transferee #11003   [Address on File]     6/18/2023 Bitcoin                                0.00018135 Customer Transfer
 Confidential Customer Coin Transferee #11004   [Address on File]     6/19/2023 Bitcoin                                0.00003279 Customer Transfer
 Confidential Customer Coin Transferee #11005   [Address on File]     5/17/2023 Bitcoin                                0.08649601 Customer Transfer
 Confidential Customer Coin Transferee #11006   [Address on File]     5/24/2023 Bitcoin                                   0.005649 Customer Transfer
 Confidential Customer Coin Transferee #11007   [Address on File]     5/18/2023 Bitcoin                                0.00345531 Customer Transfer
 Confidential Customer Coin Transferee #11008   [Address on File]     5/26/2023 Bitcoin                                      0.0055 Customer Transfer
 Confidential Customer Coin Transferee #11008   [Address on File]     5/27/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #11008   [Address on File]     5/27/2023 Bitcoin                                      0.0004 Customer Transfer
 Confidential Customer Coin Transferee #11009   [Address on File]     6/20/2023 Bitcoin                                0.00037997 Customer Transfer
 Confidential Customer Coin Transferee #11010   [Address on File]     5/29/2023 Bitcoin                                0.01188129 Customer Transfer
 Confidential Customer Coin Transferee #11011   [Address on File]     6/20/2023 Bitcoin                                0.00021958 Customer Transfer
 Confidential Customer Coin Transferee #11012   [Address on File]     5/31/2023 Bitcoin                                0.02532017 Customer Transfer
 Confidential Customer Coin Transferee #11013   [Address on File]     5/23/2023 Bitcoin                                0.00182289 Customer Transfer
 Confidential Customer Coin Transferee #11014   [Address on File]     6/20/2023 Bitcoin                                 0.0000434 Customer Transfer
 Confidential Customer Coin Transferee #11015   [Address on File]     5/17/2023 Bitcoin                                0.00161262 Customer Transfer
 Confidential Customer Coin Transferee #11016   [Address on File]     6/20/2023 Bitcoin                                0.07809069 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11017   [Address on File]     5/17/2023 Bitcoin                             0.00702273 Customer Transfer

 Confidential Customer Coin Transferee #11018   [Address on File]     6/19/2023 Bitcoin                                0.04884984 Customer Transfer
 Confidential Customer Coin Transferee #11019   [Address on File]     5/30/2023 Bitcoin                                0.00471452 Customer Transfer
 Confidential Customer Coin Transferee #11020   [Address on File]      6/8/2023 Bitcoin                                0.00820999 Customer Transfer
 Confidential Customer Coin Transferee #11020   [Address on File]     6/19/2023 Bitcoin                                0.00276295 Customer Transfer
 Confidential Customer Coin Transferee #11021   [Address on File]     5/28/2023 Bitcoin                                0.00388731 Customer Transfer
 Confidential Customer Coin Transferee #11021   [Address on File]     5/21/2023 Bitcoin                                0.00368123 Customer Transfer
 Confidential Customer Coin Transferee #11022   [Address on File]     5/20/2023 Bitcoin                                0.00926539 Customer Transfer
 Confidential Customer Coin Transferee #11023   [Address on File]     5/16/2023 Bitcoin                                0.01029392 Customer Transfer
 Confidential Customer Coin Transferee #11024   [Address on File]     6/19/2023 Bitcoin                                0.00111295 Customer Transfer
 Confidential Customer Coin Transferee #11025   [Address on File]      6/8/2023 Bitcoin                                0.00223783 Customer Transfer
 Confidential Customer Coin Transferee #11025   [Address on File]     5/18/2023 Bitcoin                                0.00146473 Customer Transfer
 Confidential Customer Coin Transferee #11025   [Address on File]     6/20/2023 Bitcoin                                0.00081616 Customer Transfer
 Confidential Customer Coin Transferee #11025   [Address on File]     6/16/2023 Bitcoin                                0.00081226 Customer Transfer
 Confidential Customer Coin Transferee #11026   [Address on File]     6/20/2023 Bitcoin                                0.00522702 Customer Transfer

 Confidential Customer Coin Transferee #11027   [Address on File]     6/21/2023 USD Coin                                49.928082 Customer Transfer

 Confidential Customer Coin Transferee #11028   [Address on File]     5/28/2023 Bitcoin                                0.17443162 Customer Transfer
 Confidential Customer Coin Transferee #11029   [Address on File]     6/20/2023 Bitcoin                                0.00005831 Customer Transfer

 Confidential Customer Coin Transferee #11030   [Address on File]     6/21/2023 Bitcoin                                0.00503356 Customer Transfer
 Confidential Customer Coin Transferee #11031   [Address on File]     5/22/2023 Bitcoin                                0.02602691 Customer Transfer
 Confidential Customer Coin Transferee #11031   [Address on File]     5/23/2023 Bitcoin                                0.01134685 Customer Transfer
 Confidential Customer Coin Transferee #11031   [Address on File]     5/24/2023 Bitcoin                                0.00929226 Customer Transfer
 Confidential Customer Coin Transferee #11032   [Address on File]     5/31/2023 Bitcoin                                0.00365557 Customer Transfer
 Confidential Customer Coin Transferee #11033   [Address on File]     6/12/2023 USD Coin Stellar)                             9.69 Customer Transfer
 Confidential Customer Coin Transferee #11033   [Address on File]     6/21/2023 USD Coin Stellar)                             9.66 Customer Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/30/2023 Bitcoin                                0.03217303 Customer Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/31/2023 Bitcoin                                0.02567799 Customer Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/30/2023 Bitcoin                                0.02498322 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/31/2023 Bitcoin                                0.02202815 Customer Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/30/2023 Bitcoin                                0.01798105 Customer Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/27/2023 Bitcoin                                     0.009 Customer Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/27/2023 Bitcoin                                 0.0089996 Customer Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/27/2023 Bitcoin                                0.00855065 Customer Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/27/2023 Bitcoin                                0.00372916 Customer Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/17/2023 Bitcoin                                 0.0031583 Customer Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/31/2023 Bitcoin                                0.00158112 Customer Transfer

 Confidential Customer Coin Transferee #11034   [Address on File]     5/27/2023 Bitcoin                                0.00148705 Customer Transfer
 Confidential Customer Coin Transferee #11035   [Address on File]     5/19/2023 Bitcoin                                0.02566162 Customer Transfer
 Confidential Customer Coin Transferee #11035   [Address on File]     5/19/2023 Bitcoin                                0.02505794 Customer Transfer
 Confidential Customer Coin Transferee #11036   [Address on File]     5/22/2023 Bitcoin                                0.20345785 Customer Transfer
 Confidential Customer Coin Transferee #11037   [Address on File]      6/5/2023 Litecoin                                      4.32 Customer Transfer
 Confidential Customer Coin Transferee #11038   [Address on File]     5/23/2023 Bitcoin                                0.00928847 Customer Transfer
 Confidential Customer Coin Transferee #11038   [Address on File]     5/26/2023 Bitcoin                                0.00296127 Customer Transfer
 Confidential Customer Coin Transferee #11038   [Address on File]     5/16/2023 Bitcoin                                0.00180657 Customer Transfer
 Confidential Customer Coin Transferee #11038   [Address on File]     5/28/2023 Bitcoin                                0.00147164 Customer Transfer
 Confidential Customer Coin Transferee #11038   [Address on File]     5/27/2023 Bitcoin                                0.00111898 Customer Transfer
 Confidential Customer Coin Transferee #11038   [Address on File]     5/17/2023 Bitcoin                                0.00086372 Customer Transfer
 Confidential Customer Coin Transferee #11039   [Address on File]     5/20/2023 Bitcoin                                     0.0003 Customer Transfer
 Confidential Customer Coin Transferee #11039   [Address on File]     5/20/2023 Bitcoin                                     0.0003 Customer Transfer
 Confidential Customer Coin Transferee #11039   [Address on File]     5/21/2023 Bitcoin                                     0.0003 Customer Transfer
 Confidential Customer Coin Transferee #11040   [Address on File]     5/22/2023 Bitcoin                                0.03054307 Customer Transfer
 Confidential Customer Coin Transferee #11040   [Address on File]     5/22/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #11041   [Address on File]     6/17/2023 Bitcoin                                0.01137464 Customer Transfer
 Confidential Customer Coin Transferee #11041   [Address on File]      6/1/2023 Bitcoin                                0.00775606 Customer Transfer
 Confidential Customer Coin Transferee #11041   [Address on File]     6/12/2023 Bitcoin                                0.00396503 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #11042   [Address on File]     6/19/2023 Bitcoin                                0.00259644 Customer Transfer
 Confidential Customer Coin Transferee #11043   [Address on File]     6/20/2023 Bitcoin                                0.00005949 Customer Transfer

 Confidential Customer Coin Transferee #11044   [Address on File]      6/5/2023 USDC Avalanche)                         92.962814 Customer Transfer
 Confidential Customer Coin Transferee #11045   [Address on File]     6/20/2023 Bitcoin                                0.00368268 Customer Transfer
 Confidential Customer Coin Transferee #11046   [Address on File]     5/16/2023 Bitcoin                                0.00764337 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                0.00463617 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/19/2023 Bitcoin                                0.00442958 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/19/2023 Bitcoin                                0.00442683 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/19/2023 Bitcoin                                0.00311863 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/19/2023 Bitcoin                                       0.003 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                0.00269202 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                      0.0026 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                                0.00252023 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/16/2023 Bitcoin                                      0.0025 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                                0.00209815 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/16/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                      0.0019 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                    0.00188 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                0.00187501 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                                   0.001844 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                                      0.0018 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/31/2023 Bitcoin                                0.00173533 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                    0.00165 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/16/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/19/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/27/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/27/2023 Bitcoin                                0.00130929 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                      0.0013 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                  0.0013 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/27/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/31/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                                 0.00111 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                                 0.00111 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/31/2023 Bitcoin                                 0.00111 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                  0.0011 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/19/2023 Bitcoin                                  0.0011 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/19/2023 Bitcoin                                  0.0011 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                                  0.0011 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/29/2023 Bitcoin                                  0.0011 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/30/2023 Bitcoin                             0.00100937 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/27/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/27/2023 Bitcoin                                 0.00088 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/31/2023 Bitcoin                                 0.00088 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                             0.00087792 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                                  0.0008 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/22/2023 Bitcoin                             0.00077834 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/17/2023 Bitcoin                             0.00075276 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/26/2023 Bitcoin                             0.00067832 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/20/2023 Bitcoin                             0.00066604 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/31/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/31/2023 Bitcoin                             0.00049718 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/28/2023 Bitcoin                             0.00048756 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/27/2023 Bitcoin                             0.00040845 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/20/2023 Bitcoin                             0.00040417 Customer Transfer
 Confidential Customer Coin Transferee #11047   [Address on File]     5/29/2023 Bitcoin                             0.00031913 Customer Transfer
 Confidential Customer Coin Transferee #11048   [Address on File]     5/22/2023 Bitcoin                             0.00718551 Customer Transfer
 Confidential Customer Coin Transferee #11048   [Address on File]     6/16/2023 Bitcoin                             0.00265938 Customer Transfer
 Confidential Customer Coin Transferee #11049   [Address on File]      6/9/2023 Bitcoin                             0.02004071 Customer Transfer
 Confidential Customer Coin Transferee #11050   [Address on File]     5/25/2023 Bitcoin                             0.00760376 Customer Transfer
 Confidential Customer Coin Transferee #11050   [Address on File]     5/30/2023 Bitcoin                             0.00717827 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11051   [Address on File]     5/26/2023 Bitcoin                             0.01137666 Customer Transfer
 Confidential Customer Coin Transferee #11052   [Address on File]     6/19/2023 Bitcoin                             0.00115286 Customer Transfer
 Confidential Customer Coin Transferee #11053   [Address on File]     6/19/2023 Bitcoin                             0.00036207 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/31/2023 Bitcoin                              0.0018188 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/17/2023 Bitcoin                             0.00110476 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/24/2023 Bitcoin                             0.00094362 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/25/2023 Bitcoin                             0.00093868 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/22/2023 Bitcoin                             0.00093257 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/24/2023 Bitcoin                             0.00092951 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/26/2023 Bitcoin                             0.00092866 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/16/2023 Bitcoin                             0.00091933 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/21/2023 Bitcoin                             0.00091407 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/23/2023 Bitcoin                             0.00090841 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/22/2023 Bitcoin                             0.00074075 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/20/2023 Bitcoin                             0.00073981 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/19/2023 Bitcoin                             0.00073945 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/17/2023 Bitcoin                             0.00073436 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/18/2023 Bitcoin                              0.0005893 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/17/2023 Bitcoin                             0.00055743 Customer Transfer
 Confidential Customer Coin Transferee #11054   [Address on File]     5/17/2023 Bitcoin                             0.00054341 Customer Transfer
 Confidential Customer Coin Transferee #11055   [Address on File]     5/30/2023 Bitcoin                             0.01126995 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/23/2023 Bitcoin                             0.00120272 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/23/2023 Bitcoin                             0.00080189 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/16/2023 Bitcoin                             0.00073484 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/23/2023 Bitcoin                             0.00072873 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/24/2023 Bitcoin                             0.00036533 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/19/2023 Bitcoin                             0.00031169 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/19/2023 Bitcoin                             0.00028995 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/20/2023 Bitcoin                             0.00022236 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/29/2023 Bitcoin                             0.00017594 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/30/2023 Bitcoin                             0.00017582 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/30/2023 Bitcoin                                0.000161 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/26/2023 Bitcoin                             0.00013568 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/30/2023 Bitcoin                             0.00011662 Customer Transfer
 Confidential Customer Coin Transferee #11056   [Address on File]     5/26/2023 Bitcoin                             0.00009207 Customer Transfer
 Confidential Customer Coin Transferee #11057   [Address on File]     5/27/2023 Bitcoin                                    0.021 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11058   [Address on File]     6/20/2023 Bitcoin                             0.00093843 Customer Transfer
 Confidential Customer Coin Transferee #11059   [Address on File]     5/17/2023 Bitcoin                             0.02551089 Customer Transfer
 Confidential Customer Coin Transferee #11059   [Address on File]     5/17/2023 Bitcoin                             0.02535633 Customer Transfer
 Confidential Customer Coin Transferee #11060   [Address on File]     5/25/2023 Bitcoin                              0.0105825 Customer Transfer
 Confidential Customer Coin Transferee #11061   [Address on File]     6/19/2023 Bitcoin                             0.00004415 Customer Transfer
 Confidential Customer Coin Transferee #11062   [Address on File]      6/3/2023 USDC Avalanche)                     496.811594 Customer Transfer
 Confidential Customer Coin Transferee #11062   [Address on File]     6/14/2023 USDC Avalanche)                     197.291625 Customer Transfer
 Confidential Customer Coin Transferee #11063   [Address on File]     6/12/2023 Bitcoin                             0.02585751 Customer Transfer
 Confidential Customer Coin Transferee #11064   [Address on File]     5/24/2023 Bitcoin                             0.03614359 Customer Transfer
 Confidential Customer Coin Transferee #11064   [Address on File]     5/19/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #11065   [Address on File]     6/20/2023 Bitcoin                             0.00230843 Customer Transfer
 Confidential Customer Coin Transferee #11066   [Address on File]     6/19/2023 Bitcoin                             0.00004351 Customer Transfer
 Confidential Customer Coin Transferee #11067   [Address on File]     5/22/2023 Bitcoin                             0.01479161 Customer Transfer
 Confidential Customer Coin Transferee #11067   [Address on File]     5/30/2023 Bitcoin                             0.00931001 Customer Transfer
 Confidential Customer Coin Transferee #11067   [Address on File]     5/19/2023 Bitcoin                             0.00363898 Customer Transfer

 Confidential Customer Coin Transferee #11068   [Address on File]     5/26/2023 Bitcoin                                   0.03735 Customer Transfer

 Confidential Customer Coin Transferee #11068   [Address on File]     5/26/2023 Bitcoin                                     0.0002 Customer Transfer
 Confidential Customer Coin Transferee #11069   [Address on File]     5/20/2023 Bitcoin                                0.00079545 Customer Transfer
 Confidential Customer Coin Transferee #11069   [Address on File]     5/22/2023 Bitcoin                                0.00053524 Customer Transfer
 Confidential Customer Coin Transferee #11069   [Address on File]     5/20/2023 Bitcoin                                0.00039951 Customer Transfer
 Confidential Customer Coin Transferee #11069   [Address on File]     5/20/2023 Bitcoin                                0.00038737 Customer Transfer
 Confidential Customer Coin Transferee #11069   [Address on File]     5/20/2023 Bitcoin                                0.00035224 Customer Transfer
 Confidential Customer Coin Transferee #11069   [Address on File]     5/22/2023 Bitcoin                                0.00030768 Customer Transfer
 Confidential Customer Coin Transferee #11069   [Address on File]     5/23/2023 Bitcoin                                0.00027398 Customer Transfer
 Confidential Customer Coin Transferee #11069   [Address on File]     5/22/2023 Bitcoin                                0.00026653 Customer Transfer
 Confidential Customer Coin Transferee #11069   [Address on File]     5/20/2023 Bitcoin                                0.00018916 Customer Transfer
 Confidential Customer Coin Transferee #11069   [Address on File]     5/21/2023 Bitcoin                                0.00018054 Customer Transfer
 Confidential Customer Coin Transferee #11069   [Address on File]     5/20/2023 Bitcoin                                0.00011032 Customer Transfer

 Confidential Customer Coin Transferee #11070   [Address on File]     5/25/2023 Bitcoin                                0.02159125 Customer Transfer
 Confidential Customer Coin Transferee #11071   [Address on File]     5/31/2023 Bitcoin                                     0.1079 Customer Transfer
 Confidential Customer Coin Transferee #11071   [Address on File]     5/30/2023 Bitcoin                                0.04666853 Customer Transfer
 Confidential Customer Coin Transferee #11071   [Address on File]     5/31/2023 Bitcoin                                 0.0453135 Customer Transfer
 Confidential Customer Coin Transferee #11071   [Address on File]     5/19/2023 Bitcoin                                      0.003 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11072   [Address on File]     6/20/2023 Bitcoin                             0.00203876 Customer Transfer
 Confidential Customer Coin Transferee #11073   [Address on File]     5/18/2023 Bitcoin                             0.01051142 Customer Transfer
 Confidential Customer Coin Transferee #11074   [Address on File]     5/21/2023 Bitcoin                             0.00018376 Customer Transfer
 Confidential Customer Coin Transferee #11075   [Address on File]     6/20/2023 Bitcoin                             0.00136132 Customer Transfer
 Confidential Customer Coin Transferee #11076   [Address on File]     5/19/2023 Bitcoin                              0.0185226 Customer Transfer
 Confidential Customer Coin Transferee #11077   [Address on File]     5/21/2023 Bitcoin                             0.04424911 Customer Transfer
 Confidential Customer Coin Transferee #11078   [Address on File]     5/22/2023 Bitcoin                              0.0033418 Customer Transfer
 Confidential Customer Coin Transferee #11078   [Address on File]     5/31/2023 Bitcoin                             0.00215363 Customer Transfer
 Confidential Customer Coin Transferee #11078   [Address on File]     5/22/2023 Bitcoin                             0.00184995 Customer Transfer
 Confidential Customer Coin Transferee #11078   [Address on File]     5/22/2023 Bitcoin                             0.00148776 Customer Transfer
 Confidential Customer Coin Transferee #11078   [Address on File]     5/20/2023 Bitcoin                              0.0011099 Customer Transfer
 Confidential Customer Coin Transferee #11078   [Address on File]     5/23/2023 Bitcoin                             0.00109776 Customer Transfer
 Confidential Customer Coin Transferee #11078   [Address on File]     5/21/2023 Bitcoin                              0.0010963 Customer Transfer
 Confidential Customer Coin Transferee #11078   [Address on File]     5/25/2023 Bitcoin                             0.00067718 Customer Transfer

 Confidential Customer Coin Transferee #11079   [Address on File]     6/20/2023 Bitcoin                             0.01220041 Customer Transfer
 Confidential Customer Coin Transferee #11080   [Address on File]     6/19/2023 Bitcoin                             0.00092122 Customer Transfer
 Confidential Customer Coin Transferee #11081   [Address on File]     6/19/2023 Bitcoin                              0.0036597 Customer Transfer
 Confidential Customer Coin Transferee #11082   [Address on File]     5/19/2023 USDC Avalanche)                    2992.764341 Customer Transfer
 Confidential Customer Coin Transferee #11082   [Address on File]     5/25/2023 USDC Avalanche)                     501.668665 Customer Transfer
 Confidential Customer Coin Transferee #11082   [Address on File]     6/16/2023 USDC Avalanche)                     501.505183 Customer Transfer
 Confidential Customer Coin Transferee #11082   [Address on File]     6/13/2023 USDC Avalanche)                     496.901239 Customer Transfer
 Confidential Customer Coin Transferee #11082   [Address on File]     5/21/2023 USDC Avalanche)                     101.888866 Customer Transfer
 Confidential Customer Coin Transferee #11082   [Address on File]     5/29/2023 Ether                                  1.051972 Customer Transfer
 Confidential Customer Coin Transferee #11082   [Address on File]     5/28/2023 Ether                                  0.509971 Customer Transfer
 Confidential Customer Coin Transferee #11083   [Address on File]     5/23/2023 Bitcoin                             6.38119282 Customer Transfer
 Confidential Customer Coin Transferee #11084   [Address on File]     5/27/2023 Bitcoin                              0.0018604 Customer Transfer
 Confidential Customer Coin Transferee #11084   [Address on File]     5/22/2023 Bitcoin                             0.00184261 Customer Transfer
 Confidential Customer Coin Transferee #11085   [Address on File]     6/20/2023 Bitcoin                             0.00108304 Customer Transfer
 Confidential Customer Coin Transferee #11085   [Address on File]     5/22/2023 Bitcoin                             0.00048661 Customer Transfer
 Confidential Customer Coin Transferee #11086   [Address on File]     6/20/2023 Bitcoin                             0.01114431 Customer Transfer

 Confidential Customer Coin Transferee #11087   [Address on File]     5/25/2023 Tether USD                                    151 Customer Transfer
 Confidential Customer Coin Transferee #11088   [Address on File]     5/16/2023 Bitcoin                                0.03282769 Customer Transfer
 Confidential Customer Coin Transferee #11089   [Address on File]     5/25/2023 Bitcoin                                0.00604436 Customer Transfer
 Confidential Customer Coin Transferee #11089   [Address on File]     5/25/2023 Bitcoin                                0.00244039 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11089   [Address on File]     5/27/2023 Bitcoin                             0.00111526 Customer Transfer
 Confidential Customer Coin Transferee #11089   [Address on File]     5/23/2023 Bitcoin                             0.00095057 Customer Transfer
 Confidential Customer Coin Transferee #11090   [Address on File]     5/19/2023 Bitcoin                              0.0010444 Customer Transfer
 Confidential Customer Coin Transferee #11091   [Address on File]     5/17/2023 Bitcoin                                 0.00914 Customer Transfer
 Confidential Customer Coin Transferee #11091   [Address on File]     5/18/2023 Bitcoin                              0.0001274 Customer Transfer
 Confidential Customer Coin Transferee #11092   [Address on File]     6/19/2023 Bitcoin                             0.00264068 Customer Transfer
 Confidential Customer Coin Transferee #11093   [Address on File]      6/8/2023 Tether USD                                10000 Customer Transfer
 Confidential Customer Coin Transferee #11093   [Address on File]     6/13/2023 Tether USD                                10000 Customer Transfer
 Confidential Customer Coin Transferee #11094   [Address on File]      6/4/2023 Tether USD                          14396.5735 Customer Transfer
 Confidential Customer Coin Transferee #11094   [Address on File]     6/21/2023 Tether USD                                10000 Customer Transfer
 Confidential Customer Coin Transferee #11095   [Address on File]     5/27/2023 Bitcoin                             0.03701803 Customer Transfer
 Confidential Customer Coin Transferee #11096   [Address on File]     5/24/2023 Bitcoin                             0.00074479 Customer Transfer
 Confidential Customer Coin Transferee #11096   [Address on File]     5/17/2023 Bitcoin                             0.00069685 Customer Transfer
 Confidential Customer Coin Transferee #11097   [Address on File]     5/20/2023 Bitcoin                                  0.0017 Customer Transfer
 Confidential Customer Coin Transferee #11098   [Address on File]     5/17/2023 Bitcoin                             0.01107665 Customer Transfer
 Confidential Customer Coin Transferee #11099   [Address on File]     5/22/2023 Bitcoin                             0.06783166 Customer Transfer
 Confidential Customer Coin Transferee #11100   [Address on File]     5/20/2023 Bitcoin                             0.00055381 Customer Transfer
 Confidential Customer Coin Transferee #11101   [Address on File]     5/22/2023 Bitcoin                             0.03683136 Customer Transfer
 Confidential Customer Coin Transferee #11102   [Address on File]     6/20/2023 Bitcoin                             0.00054383 Customer Transfer
 Confidential Customer Coin Transferee #11103   [Address on File]     5/28/2023 Bitcoin                             0.08808369 Customer Transfer
 Confidential Customer Coin Transferee #11104   [Address on File]     5/24/2023 Bitcoin                             0.13297476 Customer Transfer
 Confidential Customer Coin Transferee #11104   [Address on File]     5/24/2023 Bitcoin                             0.05270742 Customer Transfer
 Confidential Customer Coin Transferee #11105   [Address on File]     6/20/2023 Bitcoin                             0.31341927 Customer Transfer
 Confidential Customer Coin Transferee #11106   [Address on File]     5/26/2023 Bitcoin                             0.01321586 Customer Transfer
 Confidential Customer Coin Transferee #11106   [Address on File]     5/17/2023 Bitcoin                              0.0086781 Customer Transfer
 Confidential Customer Coin Transferee #11106   [Address on File]     5/26/2023 Bitcoin                             0.00333247 Customer Transfer
 Confidential Customer Coin Transferee #11107   [Address on File]     6/20/2023 Bitcoin                             0.00005614 Customer Transfer
 Confidential Customer Coin Transferee #11108   [Address on File]     5/26/2023 Bitcoin                             0.03717649 Customer Transfer
 Confidential Customer Coin Transferee #11108   [Address on File]      6/1/2023 Bitcoin                             0.01499563 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/24/2023 Bitcoin                             0.00197878 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/24/2023 Bitcoin                             0.00188661 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/25/2023 Bitcoin                             0.00188436 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/24/2023 Bitcoin                              0.0018838 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/25/2023 Bitcoin                             0.00187854 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/26/2023 Bitcoin                             0.00185826 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/26/2023 Bitcoin                             0.00185731 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/27/2023 Bitcoin                              0.0018563 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/16/2023 Bitcoin                             0.00183256 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/21/2023 Bitcoin                             0.00182996 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/23/2023 Bitcoin                             0.00182961 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/18/2023 Bitcoin                             0.00182403 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/24/2023 Bitcoin                                   0.0018 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/30/2023 Bitcoin                             0.00179758 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/29/2023 Bitcoin                             0.00179554 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/29/2023 Bitcoin                             0.00179542 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/30/2023 Bitcoin                             0.00179521 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/29/2023 Bitcoin                             0.00179462 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/30/2023 Bitcoin                             0.00179367 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/30/2023 Bitcoin                             0.00178931 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/29/2023 Bitcoin                              0.0017704 Customer Transfer
 Confidential Customer Coin Transferee #11109   [Address on File]     5/29/2023 Bitcoin                             0.00176677 Customer Transfer
 Confidential Customer Coin Transferee #11110   [Address on File]     5/22/2023 Bitcoin                             0.00370348 Customer Transfer
 Confidential Customer Coin Transferee #11110   [Address on File]     5/18/2023 Bitcoin                             0.00186754 Customer Transfer
 Confidential Customer Coin Transferee #11110   [Address on File]     5/27/2023 Bitcoin                             0.00185955 Customer Transfer
 Confidential Customer Coin Transferee #11110   [Address on File]     5/29/2023 Bitcoin                             0.00088545 Customer Transfer
 Confidential Customer Coin Transferee #11110   [Address on File]     5/25/2023 Bitcoin                             0.00076285 Customer Transfer
 Confidential Customer Coin Transferee #11110   [Address on File]     5/19/2023 Bitcoin                             0.00073959 Customer Transfer
 Confidential Customer Coin Transferee #11110   [Address on File]     5/29/2023 Bitcoin                             0.00035816 Customer Transfer
 Confidential Customer Coin Transferee #11111   [Address on File]     5/23/2023 Bitcoin                                0.073353 Customer Transfer
 Confidential Customer Coin Transferee #11112   [Address on File]     5/20/2023 Bitcoin                             0.01089029 Customer Transfer
 Confidential Customer Coin Transferee #11113   [Address on File]     5/26/2023 Bitcoin                             0.00727987 Customer Transfer
 Confidential Customer Coin Transferee #11114   [Address on File]     5/27/2023 Bitcoin                             0.00331213 Customer Transfer
 Confidential Customer Coin Transferee #11114   [Address on File]     5/24/2023 Bitcoin                             0.00186102 Customer Transfer
 Confidential Customer Coin Transferee #11115   [Address on File]     5/22/2023 Bitcoin                             0.01295609 Customer Transfer
 Confidential Customer Coin Transferee #11115   [Address on File]     5/17/2023 Bitcoin                             0.01091326 Customer Transfer
 Confidential Customer Coin Transferee #11115   [Address on File]     5/16/2023 Bitcoin                             0.00852739 Customer Transfer
 Confidential Customer Coin Transferee #11115   [Address on File]     5/31/2023 Bitcoin                                 0.00737 Customer Transfer
 Confidential Customer Coin Transferee #11115   [Address on File]     5/23/2023 Bitcoin                             0.00053926 Customer Transfer
 Confidential Customer Coin Transferee #11115   [Address on File]     5/20/2023 Bitcoin                              0.0004156 Customer Transfer
 Confidential Customer Coin Transferee #11115   [Address on File]     5/16/2023 Bitcoin                                0.000303 Customer Transfer
 Confidential Customer Coin Transferee #11115   [Address on File]     5/17/2023 Bitcoin                             0.00029081 Customer Transfer
 Confidential Customer Coin Transferee #11115   [Address on File]     5/20/2023 Bitcoin                             0.00025842 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11115   [Address on File]     5/27/2023 Bitcoin                                 0.00025 Customer Transfer
 Confidential Customer Coin Transferee #11115   [Address on File]     5/22/2023 Bitcoin                                0.000242 Customer Transfer
 Confidential Customer Coin Transferee #11116   [Address on File]     5/22/2023 Bitcoin                             0.02013033 Customer Transfer
 Confidential Customer Coin Transferee #11116   [Address on File]     5/31/2023 Bitcoin                             0.01021108 Customer Transfer
 Confidential Customer Coin Transferee #11117   [Address on File]     5/28/2023 Bitcoin                             0.02486962 Customer Transfer

 Confidential Customer Coin Transferee #11118   [Address on File]     5/25/2023 Bitcoin                                0.01000599 Customer Transfer

 Confidential Customer Coin Transferee #11119   [Address on File]     5/18/2023 Bitcoin                                0.02503867 Customer Transfer

 Confidential Customer Coin Transferee #11120   [Address on File]     5/23/2023 Bitcoin                                0.05216758 Customer Transfer

 Confidential Customer Coin Transferee #11121   [Address on File]     6/10/2023 USDC Avalanche)                        483.888055 Customer Transfer

 Confidential Customer Coin Transferee #11121   [Address on File]     6/13/2023 USDC Avalanche)                         483.87806 Customer Transfer

 Confidential Customer Coin Transferee #11121   [Address on File]      6/8/2023 USDC Avalanche)                         483.79972 Customer Transfer

 Confidential Customer Coin Transferee #11121   [Address on File]     5/16/2023 USDC Avalanche)                        483.788105 Customer Transfer

 Confidential Customer Coin Transferee #11121   [Address on File]     6/20/2023 USDC Avalanche)                         482.29727 Customer Transfer

 Confidential Customer Coin Transferee #11122   [Address on File]     5/23/2023 Bitcoin                                0.33363087 Customer Transfer

 Confidential Customer Coin Transferee #11123   [Address on File]     5/21/2023 Bitcoin                                      0.09 Customer Transfer

 Confidential Customer Coin Transferee #11123   [Address on File]     5/17/2023 Bitcoin                                 0.0001044 Customer Transfer
 Confidential Customer Coin Transferee #11124   [Address on File]     5/30/2023 Bitcoin                                0.00114521 Customer Transfer
 Confidential Customer Coin Transferee #11124   [Address on File]     5/31/2023 Bitcoin                                0.00025469 Customer Transfer
 Confidential Customer Coin Transferee #11124   [Address on File]     5/20/2023 Bitcoin                                0.00019999 Customer Transfer
 Confidential Customer Coin Transferee #11124   [Address on File]     5/28/2023 Bitcoin                                 0.0001979 Customer Transfer
 Confidential Customer Coin Transferee #11124   [Address on File]     5/27/2023 Bitcoin                                0.00015027 Customer Transfer
 Confidential Customer Coin Transferee #11124   [Address on File]     5/19/2023 Bitcoin                                0.00015008 Customer Transfer
 Confidential Customer Coin Transferee #11124   [Address on File]     5/19/2023 Bitcoin                                0.00015001 Customer Transfer
 Confidential Customer Coin Transferee #11124   [Address on File]     5/28/2023 Bitcoin                                0.00015001 Customer Transfer
 Confidential Customer Coin Transferee #11124   [Address on File]     5/29/2023 Bitcoin                                0.00005175 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11124   [Address on File]     5/28/2023 Bitcoin                             0.00005064 Customer Transfer
 Confidential Customer Coin Transferee #11125   [Address on File]     5/27/2023 Bitcoin                                0.007486 Customer Transfer
 Confidential Customer Coin Transferee #11125   [Address on File]     5/26/2023 Bitcoin                                0.003739 Customer Transfer
 Confidential Customer Coin Transferee #11125   [Address on File]     5/27/2023 Bitcoin                                0.003738 Customer Transfer
 Confidential Customer Coin Transferee #11126   [Address on File]     5/27/2023 Bitcoin                             0.06777287 Customer Transfer
 Confidential Customer Coin Transferee #11127   [Address on File]     5/23/2023 Bitcoin                             0.00060331 Customer Transfer
 Confidential Customer Coin Transferee #11128   [Address on File]     5/22/2023 Bitcoin                             0.03194992 Customer Transfer
 Confidential Customer Coin Transferee #11129   [Address on File]      6/2/2023 Bitcoin                             0.02564581 Customer Transfer
 Confidential Customer Coin Transferee #11129   [Address on File]     6/20/2023 Bitcoin                             0.00317078 Customer Transfer
 Confidential Customer Coin Transferee #11130   [Address on File]     5/20/2023 Bitcoin                             0.10258951 Customer Transfer
 Confidential Customer Coin Transferee #11131   [Address on File]      6/6/2023 Bitcoin                             0.00364706 Customer Transfer
 Confidential Customer Coin Transferee #11131   [Address on File]      6/5/2023 Bitcoin                             0.00363667 Customer Transfer
 Confidential Customer Coin Transferee #11131   [Address on File]     5/19/2023 Bitcoin                             0.00361702 Customer Transfer
 Confidential Customer Coin Transferee #11131   [Address on File]     5/18/2023 Bitcoin                             0.00361432 Customer Transfer
 Confidential Customer Coin Transferee #11132   [Address on File]     6/15/2023 Bitcoin                             0.03849811 Customer Transfer
 Confidential Customer Coin Transferee #11133   [Address on File]     6/19/2023 Bitcoin                             0.00035074 Customer Transfer
 Confidential Customer Coin Transferee #11134   [Address on File]     5/23/2023 Bitcoin                             0.10932024 Customer Transfer
 Confidential Customer Coin Transferee #11135   [Address on File]     5/26/2023 Bitcoin                             0.86994427 Customer Transfer
 Confidential Customer Coin Transferee #11136   [Address on File]     5/30/2023 Bitcoin                                0.002191 Customer Transfer
 Confidential Customer Coin Transferee #11137   [Address on File]     6/20/2023 Bitcoin                             0.00073798 Customer Transfer
 Confidential Customer Coin Transferee #11138   [Address on File]     5/29/2023 Bitcoin                             0.01066395 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/30/2023 Bitcoin                             0.02010598 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/17/2023 Bitcoin                             0.00727218 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/27/2023 Bitcoin                              0.0063342 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/18/2023 Bitcoin                              0.0051279 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/17/2023 Bitcoin                             0.00454915 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/18/2023 Bitcoin                             0.00450738 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/24/2023 Bitcoin                             0.00365781 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/27/2023 Bitcoin                              0.0034111 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/22/2023 Bitcoin                             0.00277519 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/16/2023 Bitcoin                             0.00264658 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/17/2023 Bitcoin                             0.00080927 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/20/2023 Bitcoin                             0.00076256 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/25/2023 Bitcoin                             0.00075818 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/16/2023 Bitcoin                             0.00073436 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/21/2023 Bitcoin                             0.00064214 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/21/2023 Bitcoin                             0.00044608 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/29/2023 Bitcoin                             0.00034592 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/27/2023 Bitcoin                             0.00029922 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/30/2023 Bitcoin                             0.00023277 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/22/2023 Bitcoin                              0.0002165 Customer Transfer
 Confidential Customer Coin Transferee #11139   [Address on File]     5/17/2023 Bitcoin                             0.00015035 Customer Transfer
 Confidential Customer Coin Transferee #11140   [Address on File]     5/21/2023 Bitcoin                             0.00733729 Customer Transfer
 Confidential Customer Coin Transferee #11141   [Address on File]     5/22/2023 Bitcoin                             0.01762102 Customer Transfer
 Confidential Customer Coin Transferee #11142   [Address on File]     5/19/2023 Bitcoin                             0.20356438 Customer Transfer
 Confidential Customer Coin Transferee #11143   [Address on File]     5/21/2023 Bitcoin                             0.00202428 Customer Transfer
 Confidential Customer Coin Transferee #11144   [Address on File]      6/8/2023 Ether                               0.04880974 Customer Transfer
 Confidential Customer Coin Transferee #11145   [Address on File]     5/22/2023 Bitcoin                             0.00078992 Customer Transfer
 Confidential Customer Coin Transferee #11146   [Address on File]     6/20/2023 Bitcoin                             0.03175774 Customer Transfer
 Confidential Customer Coin Transferee #11147   [Address on File]     6/20/2023 Bitcoin                             0.00086014 Customer Transfer
 Confidential Customer Coin Transferee #11148   [Address on File]     6/20/2023 Bitcoin                             0.00352829 Customer Transfer
 Confidential Customer Coin Transferee #11149   [Address on File]     6/20/2023 Bitcoin                             0.00013204 Customer Transfer
 Confidential Customer Coin Transferee #11150   [Address on File]      6/6/2023 Bitcoin                             0.02013104 Customer Transfer
 Confidential Customer Coin Transferee #11150   [Address on File]     6/20/2023 Bitcoin                             0.00419723 Customer Transfer

 Confidential Customer Coin Transferee #11151   [Address on File]      6/8/2023 Tether USD                                  148.99 Customer Transfer
 Confidential Customer Coin Transferee #11152   [Address on File]     5/24/2023 Bitcoin                                0.00036374 Customer Transfer
 Confidential Customer Coin Transferee #11152   [Address on File]     5/17/2023 Bitcoin                                0.00034298 Customer Transfer
 Confidential Customer Coin Transferee #11153   [Address on File]     5/26/2023 Bitcoin                                0.00522731 Customer Transfer
 Confidential Customer Coin Transferee #11153   [Address on File]     5/22/2023 Bitcoin                                0.00504593 Customer Transfer

 Confidential Customer Coin Transferee #11154   [Address on File]     5/22/2023 Bitcoin                                0.25141616 Customer Transfer

 Confidential Customer Coin Transferee #11154   [Address on File]     5/23/2023 Bitcoin                                0.06034762 Customer Transfer
 Confidential Customer Coin Transferee #11155   [Address on File]     6/20/2023 Bitcoin                                0.00080652 Customer Transfer
 Confidential Customer Coin Transferee #11156   [Address on File]     6/13/2023 Tether USD                                 1819.14 Customer Transfer
 Confidential Customer Coin Transferee #11157   [Address on File]     5/24/2023 Bitcoin                                0.00381289 Customer Transfer
 Confidential Customer Coin Transferee #11158   [Address on File]      6/1/2023 Bitcoin                                 0.0000122 Customer Transfer
 Confidential Customer Coin Transferee #11159   [Address on File]      6/6/2023 Bitcoin                                 0.0112592 Customer Transfer
 Confidential Customer Coin Transferee #11159   [Address on File]     5/17/2023 Bitcoin                                0.00589954 Customer Transfer
 Confidential Customer Coin Transferee #11159   [Address on File]     5/23/2023 Bitcoin                                0.00314465 Customer Transfer
 Confidential Customer Coin Transferee #11159   [Address on File]     5/22/2023 Bitcoin                                0.00291863 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11159   [Address on File]     5/18/2023 Bitcoin                             0.00184343 Customer Transfer
 Confidential Customer Coin Transferee #11159   [Address on File]      6/8/2023 Bitcoin                             0.00136816 Customer Transfer
 Confidential Customer Coin Transferee #11159   [Address on File]     6/19/2023 Bitcoin                             0.00119117 Customer Transfer
 Confidential Customer Coin Transferee #11159   [Address on File]      6/9/2023 Bitcoin                             0.00037745 Customer Transfer
 Confidential Customer Coin Transferee #11160   [Address on File]     6/19/2023 Bitcoin                             0.01350771 Customer Transfer
 Confidential Customer Coin Transferee #11161   [Address on File]     6/20/2023 Bitcoin                              0.0170579 Customer Transfer
 Confidential Customer Coin Transferee #11162   [Address on File]     5/22/2023 Bitcoin                             0.03272502 Customer Transfer
 Confidential Customer Coin Transferee #11163   [Address on File]     6/20/2023 Bitcoin                             0.00203606 Customer Transfer

 Confidential Customer Coin Transferee #11164   [Address on File]      6/9/2023 Bitcoin                                0.01926695 Customer Transfer
 Confidential Customer Coin Transferee #11165   [Address on File]     6/20/2023 Bitcoin                                0.00129369 Customer Transfer
 Confidential Customer Coin Transferee #11166   [Address on File]     5/22/2023 Bitcoin                                    0.01798 Customer Transfer
 Confidential Customer Coin Transferee #11167   [Address on File]     5/20/2023 Bitcoin                                0.02668012 Customer Transfer
 Confidential Customer Coin Transferee #11167   [Address on File]     5/27/2023 Bitcoin                                0.02501767 Customer Transfer
 Confidential Customer Coin Transferee #11168   [Address on File]     5/27/2023 Bitcoin                                0.00056326 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/30/2023 Bitcoin                                0.00492156 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/27/2023 Bitcoin                                 0.0047332 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/24/2023 Bitcoin                                0.00462157 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/28/2023 Bitcoin                                0.00433973 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/20/2023 Bitcoin                                0.00433679 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/18/2023 Bitcoin                                0.00391597 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/24/2023 Bitcoin                                0.00376099 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/31/2023 Bitcoin                                0.00372888 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/30/2023 Bitcoin                                0.00349816 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/22/2023 Bitcoin                                 0.0023781 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/27/2023 Bitcoin                                0.00227448 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/26/2023 Bitcoin                                0.00204075 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/26/2023 Bitcoin                                0.00202035 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/29/2023 Bitcoin                                0.00183286 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/22/2023 Bitcoin                                0.00177876 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/27/2023 Bitcoin                                0.00167329 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/30/2023 Bitcoin                                0.00107368 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/28/2023 Bitcoin                                   0.000973 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/20/2023 Bitcoin                                0.00091304 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/25/2023 Bitcoin                                0.00090911 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/18/2023 Bitcoin                                0.00089103 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/29/2023 Bitcoin                                0.000759 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/21/2023 Bitcoin                             0.00075802 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/24/2023 Bitcoin                             0.00075586 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/17/2023 Bitcoin                             0.00072869 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/20/2023 Bitcoin                             0.00062964 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/26/2023 Bitcoin                              0.0006084 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/27/2023 Bitcoin                                0.000563 Customer Transfer
 Confidential Customer Coin Transferee #11169   [Address on File]     5/18/2023 Bitcoin                             0.00054347 Customer Transfer
 Confidential Customer Coin Transferee #11170   [Address on File]     5/25/2023 Bitcoin                             0.01884262 Customer Transfer
 Confidential Customer Coin Transferee #11170   [Address on File]     5/28/2023 Bitcoin                              0.0182405 Customer Transfer
 Confidential Customer Coin Transferee #11170   [Address on File]     5/28/2023 Bitcoin                             0.01822047 Customer Transfer
 Confidential Customer Coin Transferee #11170   [Address on File]     5/24/2023 Bitcoin                             0.00188317 Customer Transfer
 Confidential Customer Coin Transferee #11170   [Address on File]     5/20/2023 Bitcoin                             0.00033002 Customer Transfer
 Confidential Customer Coin Transferee #11170   [Address on File]     5/20/2023 Bitcoin                             0.00018354 Customer Transfer

 Confidential Customer Coin Transferee #11171   [Address on File]     6/19/2023 Bitcoin                                0.04207245 Customer Transfer
 Confidential Customer Coin Transferee #11172   [Address on File]     6/18/2023 Bitcoin                                0.00044551 Customer Transfer
 Confidential Customer Coin Transferee #11173   [Address on File]     5/22/2023 Bitcoin                                         0.5 Customer Transfer
 Confidential Customer Coin Transferee #11174   [Address on File]     6/19/2023 Bitcoin                                0.00007672 Customer Transfer
 Confidential Customer Coin Transferee #11175   [Address on File]     6/20/2023 Bitcoin                                0.00329942 Customer Transfer
 Confidential Customer Coin Transferee #11176   [Address on File]     6/20/2023 Bitcoin                                0.00058558 Customer Transfer
 Confidential Customer Coin Transferee #11177   [Address on File]     6/19/2023 Bitcoin                                0.00005838 Customer Transfer
 Confidential Customer Coin Transferee #11178   [Address on File]     5/24/2023 Bitcoin                                0.00054147 Customer Transfer
 Confidential Customer Coin Transferee #11179   [Address on File]     5/21/2023 Bitcoin                                 0.0170503 Customer Transfer
 Confidential Customer Coin Transferee #11179   [Address on File]     5/23/2023 Bitcoin                                0.00925069 Customer Transfer
 Confidential Customer Coin Transferee #11180   [Address on File]     6/19/2023 Bitcoin                                 0.0123065 Customer Transfer
 Confidential Customer Coin Transferee #11181   [Address on File]     6/20/2023 Bitcoin                                0.00048211 Customer Transfer
 Confidential Customer Coin Transferee #11182   [Address on File]     6/19/2023 Bitcoin                                0.00686316 Customer Transfer
 Confidential Customer Coin Transferee #11183   [Address on File]     5/30/2023 Bitcoin                                0.00037538 Customer Transfer
 Confidential Customer Coin Transferee #11184   [Address on File]     5/29/2023 Bitcoin                                     0.0025 Customer Transfer
 Confidential Customer Coin Transferee #11184   [Address on File]     5/30/2023 Bitcoin                                    0.00052 Customer Transfer
 Confidential Customer Coin Transferee #11185   [Address on File]     5/19/2023 Bitcoin                                0.00003696 Customer Transfer
 Confidential Customer Coin Transferee #11186   [Address on File]     5/24/2023 Bitcoin                                       0.013 Customer Transfer
 Confidential Customer Coin Transferee #11187   [Address on File]     5/19/2023 Bitcoin                                0.00185319 Customer Transfer
 Confidential Customer Coin Transferee #11188   [Address on File]     5/18/2023 Bitcoin                                0.00161387 Customer Transfer
 Confidential Customer Coin Transferee #11188   [Address on File]     5/26/2023 Bitcoin                                0.00139348 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11188   [Address on File]     5/21/2023 Bitcoin                             0.00037005 Customer Transfer
 Confidential Customer Coin Transferee #11188   [Address on File]     5/31/2023 Bitcoin                             0.00036067 Customer Transfer
 Confidential Customer Coin Transferee #11189   [Address on File]     5/22/2023 Bitcoin                             0.00184967 Customer Transfer
 Confidential Customer Coin Transferee #11190   [Address on File]     5/27/2023 Bitcoin                                    0.025 Customer Transfer
 Confidential Customer Coin Transferee #11191   [Address on File]     5/20/2023 Bitcoin                              0.0369461 Customer Transfer
 Confidential Customer Coin Transferee #11191   [Address on File]     5/28/2023 Bitcoin                             0.03662826 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/25/2023 Bitcoin                             0.00939957 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/27/2023 Bitcoin                             0.00745113 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/16/2023 Bitcoin                             0.00734596 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/24/2023 Bitcoin                             0.00568811 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/25/2023 Bitcoin                             0.00472402 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/18/2023 Bitcoin                             0.00464357 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/19/2023 Bitcoin                             0.00461777 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/18/2023 Bitcoin                             0.00454622 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/22/2023 Bitcoin                             0.00370179 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/22/2023 Bitcoin                             0.00369348 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/31/2023 Bitcoin                             0.00367651 Customer Transfer
 Confidential Customer Coin Transferee #11192   [Address on File]     5/29/2023 Bitcoin                             0.00349842 Customer Transfer
 Confidential Customer Coin Transferee #11193   [Address on File]     5/31/2023 Bitcoin                             0.05473339 Customer Transfer
 Confidential Customer Coin Transferee #11194   [Address on File]     5/19/2023 Bitcoin                             0.02249776 Customer Transfer
 Confidential Customer Coin Transferee #11195   [Address on File]     5/26/2023 Bitcoin                             0.00037304 Customer Transfer
 Confidential Customer Coin Transferee #11196   [Address on File]     5/22/2023 Bitcoin                                  0.0056 Customer Transfer
 Confidential Customer Coin Transferee #11196   [Address on File]     5/24/2023 Bitcoin                                 0.00439 Customer Transfer
 Confidential Customer Coin Transferee #11196   [Address on File]     5/25/2023 Bitcoin                                 0.00305 Customer Transfer
 Confidential Customer Coin Transferee #11196   [Address on File]     5/26/2023 Bitcoin                                  0.0008 Customer Transfer
 Confidential Customer Coin Transferee #11196   [Address on File]     5/28/2023 Bitcoin                              0.0001839 Customer Transfer
 Confidential Customer Coin Transferee #11197   [Address on File]     5/17/2023 Bitcoin                             0.02080331 Customer Transfer
 Confidential Customer Coin Transferee #11198   [Address on File]     5/25/2023 Bitcoin                             0.00044235 Customer Transfer
 Confidential Customer Coin Transferee #11199   [Address on File]     5/29/2023 Bitcoin                             0.00247804 Customer Transfer
 Confidential Customer Coin Transferee #11200   [Address on File]      6/2/2023 Bitcoin                             0.03904791 Customer Transfer
 Confidential Customer Coin Transferee #11200   [Address on File]     5/17/2023 Bitcoin                             0.03854696 Customer Transfer
 Confidential Customer Coin Transferee #11200   [Address on File]     5/26/2023 Bitcoin                             0.00371216 Customer Transfer
 Confidential Customer Coin Transferee #11200   [Address on File]     5/22/2023 Bitcoin                             0.00370493 Customer Transfer
 Confidential Customer Coin Transferee #11200   [Address on File]     5/31/2023 Bitcoin                             0.00358646 Customer Transfer
 Confidential Customer Coin Transferee #11200   [Address on File]     5/30/2023 Bitcoin                             0.00355574 Customer Transfer
 Confidential Customer Coin Transferee #11201   [Address on File]     5/30/2023 Bitcoin                             0.01019029 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11201   [Address on File]     5/26/2023 Bitcoin                             0.00311711 Customer Transfer
 Confidential Customer Coin Transferee #11201   [Address on File]     5/19/2023 Bitcoin                             0.00309491 Customer Transfer
 Confidential Customer Coin Transferee #11202   [Address on File]     5/18/2023 Bitcoin                              0.0049425 Customer Transfer
 Confidential Customer Coin Transferee #11203   [Address on File]     5/25/2023 Bitcoin                             0.07765671 Customer Transfer
 Confidential Customer Coin Transferee #11204   [Address on File]     5/19/2023 Bitcoin                             0.01109565 Customer Transfer
 Confidential Customer Coin Transferee #11205   [Address on File]     5/21/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #11206   [Address on File]     5/29/2023 Bitcoin                                    0.02 Customer Transfer
 Confidential Customer Coin Transferee #11207   [Address on File]     5/25/2023 Bitcoin                             0.01319195 Customer Transfer
 Confidential Customer Coin Transferee #11208   [Address on File]     6/19/2023 Bitcoin                             0.00289221 Customer Transfer
 Confidential Customer Coin Transferee #11209   [Address on File]     6/20/2023 Bitcoin                             0.00044264 Customer Transfer
 Confidential Customer Coin Transferee #11210   [Address on File]     5/19/2023 Bitcoin                             0.00038784 Customer Transfer
 Confidential Customer Coin Transferee #11211   [Address on File]     6/20/2023 Bitcoin                             0.00671077 Customer Transfer
 Confidential Customer Coin Transferee #11212   [Address on File]     6/20/2023 Bitcoin                             0.03698663 Customer Transfer
 Confidential Customer Coin Transferee #11213   [Address on File]     6/20/2023 Bitcoin                             0.00011497 Customer Transfer
 Confidential Customer Coin Transferee #11214   [Address on File]     5/20/2023 Bitcoin                             0.02731772 Customer Transfer
 Confidential Customer Coin Transferee #11215   [Address on File]     5/28/2023 Tether USD                          482.785493 Customer Transfer
 Confidential Customer Coin Transferee #11216   [Address on File]     6/19/2023 Bitcoin                              0.0003517 Customer Transfer
 Confidential Customer Coin Transferee #11217   [Address on File]     6/19/2023 Bitcoin                             0.00036088 Customer Transfer
 Confidential Customer Coin Transferee #11218   [Address on File]     5/21/2023 Bitcoin                             0.01012289 Customer Transfer
 Confidential Customer Coin Transferee #11219   [Address on File]     5/23/2023 Bitcoin                             0.05254466 Customer Transfer
 Confidential Customer Coin Transferee #11220   [Address on File]     5/19/2023 Bitcoin                             0.00440209 Customer Transfer

 Confidential Customer Coin Transferee #11221   [Address on File]      6/8/2023 Bitcoin                                0.05908919 Customer Transfer
 Confidential Customer Coin Transferee #11222   [Address on File]     6/20/2023 Bitcoin                                0.00033911 Customer Transfer
 Confidential Customer Coin Transferee #11223   [Address on File]     6/20/2023 Bitcoin                                0.00005812 Customer Transfer
 Confidential Customer Coin Transferee #11224   [Address on File]      6/7/2023 Bitcoin                                0.00375819 Customer Transfer
 Confidential Customer Coin Transferee #11224   [Address on File]     5/22/2023 Bitcoin                                0.00019991 Customer Transfer
 Confidential Customer Coin Transferee #11225   [Address on File]     6/20/2023 Bitcoin                                0.00099115 Customer Transfer
 Confidential Customer Coin Transferee #11226   [Address on File]     5/19/2023 Bitcoin                                   0.001745 Customer Transfer
 Confidential Customer Coin Transferee #11227   [Address on File]     6/19/2023 Bitcoin                                0.00162447 Customer Transfer
 Confidential Customer Coin Transferee #11228   [Address on File]     6/20/2023 Bitcoin                                0.00064509 Customer Transfer
 Confidential Customer Coin Transferee #11229   [Address on File]     6/19/2023 Bitcoin                                0.00023836 Customer Transfer

 Confidential Customer Coin Transferee #11230   [Address on File]     6/20/2023 Bitcoin                                0.00268834 Customer Transfer
 Confidential Customer Coin Transferee #11231   [Address on File]     5/22/2023 Bitcoin                                 0.0014209 Customer Transfer
 Confidential Customer Coin Transferee #11232   [Address on File]     5/23/2023 Bitcoin                                      0.002 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11233   [Address on File]     6/16/2023 Bitcoin                             0.01099761 Customer Transfer
 Confidential Customer Coin Transferee #11233   [Address on File]      6/7/2023 Bitcoin                             0.00193314 Customer Transfer
 Confidential Customer Coin Transferee #11234   [Address on File]     5/16/2023 Bitcoin                             0.05063365 Customer Transfer
 Confidential Customer Coin Transferee #11235   [Address on File]     6/20/2023 Bitcoin                             0.00017294 Customer Transfer
 Confidential Customer Coin Transferee #11236   [Address on File]     6/19/2023 Bitcoin                             0.00030496 Customer Transfer
 Confidential Customer Coin Transferee #11237   [Address on File]     6/19/2023 Bitcoin                             0.00137556 Customer Transfer
 Confidential Customer Coin Transferee #11238   [Address on File]     6/19/2023 Bitcoin                             0.01718298 Customer Transfer
 Confidential Customer Coin Transferee #11239   [Address on File]     5/20/2023 Bitcoin                             0.01062066 Customer Transfer
 Confidential Customer Coin Transferee #11240   [Address on File]     5/25/2023 Bitcoin                             0.05428125 Customer Transfer
 Confidential Customer Coin Transferee #11241   [Address on File]     6/12/2023 Bitcoin                             0.01157443 Customer Transfer
 Confidential Customer Coin Transferee #11241   [Address on File]     6/12/2023 Bitcoin                             0.00151675 Customer Transfer
 Confidential Customer Coin Transferee #11242   [Address on File]     6/19/2023 Bitcoin                             0.00020299 Customer Transfer
 Confidential Customer Coin Transferee #11243   [Address on File]     5/24/2023 Bitcoin                             0.00257264 Customer Transfer
 Confidential Customer Coin Transferee #11243   [Address on File]     6/12/2023 Bitcoin                             0.00228093 Customer Transfer
 Confidential Customer Coin Transferee #11243   [Address on File]     5/30/2023 Bitcoin                             0.00220024 Customer Transfer
 Confidential Customer Coin Transferee #11243   [Address on File]      6/7/2023 Bitcoin                             0.00220009 Customer Transfer
 Confidential Customer Coin Transferee #11243   [Address on File]     6/20/2023 Bitcoin                              0.0015365 Customer Transfer
 Confidential Customer Coin Transferee #11243   [Address on File]     5/18/2023 Bitcoin                             0.00109475 Customer Transfer
 Confidential Customer Coin Transferee #11243   [Address on File]     5/16/2023 Bitcoin                             0.00109434 Customer Transfer
 Confidential Customer Coin Transferee #11244   [Address on File]     6/19/2023 Bitcoin                             0.00007693 Customer Transfer
 Confidential Customer Coin Transferee #11245   [Address on File]     5/27/2023 Bitcoin                             0.04293981 Customer Transfer
 Confidential Customer Coin Transferee #11246   [Address on File]     6/20/2023 Bitcoin                             0.00058072 Customer Transfer
 Confidential Customer Coin Transferee #11247   [Address on File]     6/20/2023 Bitcoin                             0.00143928 Customer Transfer
 Confidential Customer Coin Transferee #11248   [Address on File]     6/20/2023 Bitcoin                                 0.00646 Customer Transfer
 Confidential Customer Coin Transferee #11249   [Address on File]     5/23/2023 Bitcoin                             0.00566529 Customer Transfer
 Confidential Customer Coin Transferee #11249   [Address on File]     5/30/2023 Bitcoin                             0.00558041 Customer Transfer
 Confidential Customer Coin Transferee #11249   [Address on File]     5/16/2023 Bitcoin                             0.00507537 Customer Transfer
 Confidential Customer Coin Transferee #11250   [Address on File]     6/20/2023 Bitcoin                             0.00662579 Customer Transfer
 Confidential Customer Coin Transferee #11251   [Address on File]      6/2/2023 Bitcoin                             0.00432581 Customer Transfer
 Confidential Customer Coin Transferee #11252   [Address on File]     6/20/2023 Bitcoin                             0.00112209 Customer Transfer
 Confidential Customer Coin Transferee #11253   [Address on File]     5/20/2023 Bitcoin                             0.01001974 Customer Transfer
 Confidential Customer Coin Transferee #11254   [Address on File]     6/19/2023 Bitcoin                             0.00003374 Customer Transfer
 Confidential Customer Coin Transferee #11255   [Address on File]     5/27/2023 Bitcoin                             0.00488744 Customer Transfer
 Confidential Customer Coin Transferee #11256   [Address on File]     5/20/2023 Bitcoin                             0.00166767 Customer Transfer
 Confidential Customer Coin Transferee #11257   [Address on File]     5/25/2023 Bitcoin                             0.00735228 Customer Transfer
 Confidential Customer Coin Transferee #11258   [Address on File]     5/18/2023 Bitcoin                             0.00907498 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11258   [Address on File]     5/18/2023 Bitcoin                             0.00889631 Customer Transfer
 Confidential Customer Coin Transferee #11258   [Address on File]     5/23/2023 Bitcoin                             0.00741405 Customer Transfer
 Confidential Customer Coin Transferee #11258   [Address on File]     5/23/2023 Bitcoin                             0.00739319 Customer Transfer
 Confidential Customer Coin Transferee #11258   [Address on File]     5/23/2023 Bitcoin                             0.00181801 Customer Transfer
 Confidential Customer Coin Transferee #11259   [Address on File]     5/29/2023 Bitcoin                             0.00278096 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/17/2023 Bitcoin                             0.01701869 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/30/2023 Bitcoin                             0.01433947 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/24/2023 Bitcoin                             0.01135664 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/18/2023 Bitcoin                             0.01134104 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/24/2023 Bitcoin                             0.01116533 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/28/2023 Bitcoin                             0.01114071 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/26/2023 Bitcoin                             0.01112454 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/29/2023 Bitcoin                             0.01071896 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/29/2023 Bitcoin                             0.01060281 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/26/2023 Bitcoin                             0.01055802 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/27/2023 Bitcoin                             0.00930097 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/28/2023 Bitcoin                             0.00919759 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/16/2023 Bitcoin                             0.00916742 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/19/2023 Bitcoin                             0.00739729 Customer Transfer
 Confidential Customer Coin Transferee #11260   [Address on File]     5/30/2023 Bitcoin                             0.00713888 Customer Transfer
 Confidential Customer Coin Transferee #11261   [Address on File]     5/23/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #11262   [Address on File]     5/22/2023 Bitcoin                              0.0068787 Customer Transfer
 Confidential Customer Coin Transferee #11263   [Address on File]     5/22/2023 Bitcoin                             0.00093164 Customer Transfer
 Confidential Customer Coin Transferee #11263   [Address on File]     5/21/2023 Bitcoin                              0.0009245 Customer Transfer
 Confidential Customer Coin Transferee #11263   [Address on File]     5/19/2023 Bitcoin                             0.00074079 Customer Transfer
 Confidential Customer Coin Transferee #11263   [Address on File]     5/24/2023 Bitcoin                             0.00038086 Customer Transfer
 Confidential Customer Coin Transferee #11263   [Address on File]     5/21/2023 Bitcoin                             0.00037137 Customer Transfer
 Confidential Customer Coin Transferee #11263   [Address on File]     5/24/2023 Bitcoin                              0.0003711 Customer Transfer
 Confidential Customer Coin Transferee #11264   [Address on File]     5/25/2023 Bitcoin                              0.0350591 Customer Transfer
 Confidential Customer Coin Transferee #11265   [Address on File]     6/20/2023 Bitcoin                             0.00373762 Customer Transfer
 Confidential Customer Coin Transferee #11266   [Address on File]     6/19/2023 Bitcoin                             0.00005807 Customer Transfer
 Confidential Customer Coin Transferee #11267   [Address on File]     6/19/2023 Bitcoin                              0.0000591 Customer Transfer
 Confidential Customer Coin Transferee #11268   [Address on File]     6/17/2023 Bitcoin                             0.00645838 Customer Transfer
 Confidential Customer Coin Transferee #11268   [Address on File]      6/7/2023 Bitcoin                              0.0035982 Customer Transfer
 Confidential Customer Coin Transferee #11269   [Address on File]     6/19/2023 Bitcoin                             0.00003527 Customer Transfer
 Confidential Customer Coin Transferee #11270   [Address on File]     5/22/2023 Bitcoin                             0.00616403 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11271   [Address on File]      6/9/2023 Bitcoin                             0.00223797 Customer Transfer
 Confidential Customer Coin Transferee #11272   [Address on File]     6/19/2023 Bitcoin                             0.00057816 Customer Transfer
 Confidential Customer Coin Transferee #11273   [Address on File]     6/19/2023 Bitcoin                              0.0029257 Customer Transfer
 Confidential Customer Coin Transferee #11274   [Address on File]     6/20/2023 Bitcoin                             0.00040672 Customer Transfer
 Confidential Customer Coin Transferee #11275   [Address on File]     6/19/2023 Bitcoin                             0.00045845 Customer Transfer
 Confidential Customer Coin Transferee #11276   [Address on File]     6/19/2023 Bitcoin                             0.00635302 Customer Transfer
 Confidential Customer Coin Transferee #11277   [Address on File]     5/23/2023 Bitcoin                             0.00541935 Customer Transfer
 Confidential Customer Coin Transferee #11277   [Address on File]     5/18/2023 Bitcoin                             0.00168787 Customer Transfer
 Confidential Customer Coin Transferee #11278   [Address on File]     6/19/2023 Bitcoin                             0.00454803 Customer Transfer
 Confidential Customer Coin Transferee #11279   [Address on File]     6/19/2023 Bitcoin                             0.00006777 Customer Transfer
 Confidential Customer Coin Transferee #11280   [Address on File]     5/25/2023 Bitcoin                             0.00292976 Customer Transfer
 Confidential Customer Coin Transferee #11280   [Address on File]     5/18/2023 Bitcoin                             0.00242492 Customer Transfer
 Confidential Customer Coin Transferee #11281   [Address on File]     5/29/2023 Bitcoin                             0.03536451 Customer Transfer
 Confidential Customer Coin Transferee #11282   [Address on File]     5/18/2023 Bitcoin                             0.00932906 Customer Transfer
 Confidential Customer Coin Transferee #11282   [Address on File]     5/20/2023 Bitcoin                             0.00257308 Customer Transfer
 Confidential Customer Coin Transferee #11283   [Address on File]     6/20/2023 Bitcoin                              0.0157149 Customer Transfer

 Confidential Customer Coin Transferee #11284   [Address on File]     6/15/2023 Bitcoin                                0.00794625 Customer Transfer
 Confidential Customer Coin Transferee #11285   [Address on File]     5/25/2023 Bitcoin                                0.01069375 Customer Transfer

 Confidential Customer Coin Transferee #11286   [Address on File]     5/26/2023 Bitcoin                                0.20632348 Customer Transfer

 Confidential Customer Coin Transferee #11286   [Address on File]     6/20/2023 Bitcoin                                0.10922428 Customer Transfer
 Confidential Customer Coin Transferee #11287   [Address on File]     5/28/2023 Bitcoin                                    0.01812 Customer Transfer
 Confidential Customer Coin Transferee #11287   [Address on File]     5/28/2023 Bitcoin                                      0.0075 Customer Transfer
 Confidential Customer Coin Transferee #11287   [Address on File]     5/22/2023 Bitcoin                                   0.001802 Customer Transfer
 Confidential Customer Coin Transferee #11288   [Address on File]     5/21/2023 Bitcoin                                0.00110904 Customer Transfer
 Confidential Customer Coin Transferee #11289   [Address on File]     6/20/2023 Bitcoin                                0.00034867 Customer Transfer
 Confidential Customer Coin Transferee #11290   [Address on File]     5/31/2023 USDC Avalanche)                         57.471264 Customer Transfer
 Confidential Customer Coin Transferee #11290   [Address on File]     6/20/2023 Cosmos Hub ATOM)                         6.715578 Customer Transfer
 Confidential Customer Coin Transferee #11290   [Address on File]     6/20/2023 Cosmos Hub ATOM)                         6.592556 Customer Transfer
 Confidential Customer Coin Transferee #11290   [Address on File]     5/27/2023 Cosmos Hub ATOM)                         5.476732 Customer Transfer
 Confidential Customer Coin Transferee #11290   [Address on File]     5/19/2023 Cosmos Hub ATOM)                         5.450867 Customer Transfer
 Confidential Customer Coin Transferee #11290   [Address on File]     5/30/2023 Cosmos Hub ATOM)                         5.319549 Customer Transfer
 Confidential Customer Coin Transferee #11290   [Address on File]     6/16/2023 Cosmos Hub ATOM)                         4.533182 Customer Transfer
 Confidential Customer Coin Transferee #11290   [Address on File]     6/14/2023 Cosmos Hub ATOM)                           4.48006 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11290   [Address on File]     6/20/2023 Cosmos Hub ATOM)                      3.461298 Customer Transfer
 Confidential Customer Coin Transferee #11291   [Address on File]     5/24/2023 Tether USD                         2990.983606 Customer Transfer
 Confidential Customer Coin Transferee #11291   [Address on File]     6/15/2023 Tether USD                         1007.972756 Customer Transfer
 Confidential Customer Coin Transferee #11291   [Address on File]     5/25/2023 Tether USD                          1003.95802 Customer Transfer
 Confidential Customer Coin Transferee #11291   [Address on File]      6/5/2023 Ether                                  0.105711 Customer Transfer
 Confidential Customer Coin Transferee #11291   [Address on File]     5/29/2023 Ether                                  0.102985 Customer Transfer
 Confidential Customer Coin Transferee #11292   [Address on File]     5/20/2023 Bitcoin                             0.00073346 Customer Transfer
 Confidential Customer Coin Transferee #11293   [Address on File]     6/21/2023 Litecoin                           13.57175678 Customer Transfer
 Confidential Customer Coin Transferee #11293   [Address on File]     6/21/2023 Dogecoin                                     10 Customer Transfer
 Confidential Customer Coin Transferee #11293   [Address on File]     6/21/2023 USD Coin                              9.835082 Customer Transfer
 Confidential Customer Coin Transferee #11293   [Address on File]     6/21/2023 Ether                                1.0221309 Customer Transfer
 Confidential Customer Coin Transferee #11293   [Address on File]     6/21/2023 USD Coin                              0.269031 Customer Transfer
 Confidential Customer Coin Transferee #11293   [Address on File]     6/21/2023 Ether                               0.26244592 Customer Transfer
 Confidential Customer Coin Transferee #11293   [Address on File]     6/21/2023 Bitcoin                             0.02592366 Customer Transfer
 Confidential Customer Coin Transferee #11293   [Address on File]     6/21/2023 Bitcoin                              0.0059885 Customer Transfer
 Confidential Customer Coin Transferee #11293   [Address on File]     6/21/2023 Bitcoin                              0.0040115 Customer Transfer
 Confidential Customer Coin Transferee #11294   [Address on File]     6/19/2023 Bitcoin                             0.00596544 Customer Transfer
 Confidential Customer Coin Transferee #11295   [Address on File]     5/28/2023 Bitcoin                              0.0747676 Customer Transfer
 Confidential Customer Coin Transferee #11295   [Address on File]     5/19/2023 Bitcoin                             0.03706582 Customer Transfer
 Confidential Customer Coin Transferee #11296   [Address on File]     5/28/2023 Bitcoin                             0.02559386 Customer Transfer
 Confidential Customer Coin Transferee #11296   [Address on File]     5/16/2023 Bitcoin                             0.02187102 Customer Transfer
 Confidential Customer Coin Transferee #11296   [Address on File]     5/24/2023 Bitcoin                             0.01509358 Customer Transfer
 Confidential Customer Coin Transferee #11296   [Address on File]     5/16/2023 Bitcoin                             0.01470247 Customer Transfer
 Confidential Customer Coin Transferee #11296   [Address on File]     5/22/2023 Bitcoin                             0.01120142 Customer Transfer
 Confidential Customer Coin Transferee #11296   [Address on File]     5/20/2023 Bitcoin                             0.01103327 Customer Transfer
 Confidential Customer Coin Transferee #11296   [Address on File]     5/24/2023 Bitcoin                             0.00760617 Customer Transfer
 Confidential Customer Coin Transferee #11296   [Address on File]     5/19/2023 Bitcoin                             0.00740461 Customer Transfer
 Confidential Customer Coin Transferee #11297   [Address on File]     5/19/2023 Bitcoin                             0.01634716 Customer Transfer
 Confidential Customer Coin Transferee #11298   [Address on File]     5/26/2023 Bitcoin                             0.00033908 Customer Transfer
 Confidential Customer Coin Transferee #11299   [Address on File]     5/21/2023 Bitcoin                             0.02435352 Customer Transfer
 Confidential Customer Coin Transferee #11299   [Address on File]     5/24/2023 Bitcoin                             0.00207344 Customer Transfer
 Confidential Customer Coin Transferee #11300   [Address on File]     6/19/2023 Bitcoin                             0.00122205 Customer Transfer
 Confidential Customer Coin Transferee #11301   [Address on File]     5/19/2023 Bitcoin                                   0.028 Customer Transfer
 Confidential Customer Coin Transferee #11302   [Address on File]     5/30/2023 Bitcoin                             0.00059926 Customer Transfer
 Confidential Customer Coin Transferee #11303   [Address on File]     6/19/2023 Bitcoin                             0.00005979 Customer Transfer
 Confidential Customer Coin Transferee #11304   [Address on File]     6/20/2023 Bitcoin                             0.00126239 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11305   [Address on File]     6/19/2023 Bitcoin                             0.00190999 Customer Transfer
 Confidential Customer Coin Transferee #11306   [Address on File]     6/16/2023 Bitcoin                             0.02749201 Customer Transfer
 Confidential Customer Coin Transferee #11306   [Address on File]      6/1/2023 Bitcoin                             0.02553734 Customer Transfer
 Confidential Customer Coin Transferee #11307   [Address on File]      6/1/2023 Bitcoin                             0.00485998 Customer Transfer
 Confidential Customer Coin Transferee #11308   [Address on File]     5/16/2023 Bitcoin                             0.00965629 Customer Transfer
 Confidential Customer Coin Transferee #11308   [Address on File]     5/25/2023 Bitcoin                             0.00465517 Customer Transfer
 Confidential Customer Coin Transferee #11309   [Address on File]     5/24/2023 Bitcoin                             0.00086349 Customer Transfer
 Confidential Customer Coin Transferee #11310   [Address on File]     5/16/2023 Bitcoin                             0.02755783 Customer Transfer
 Confidential Customer Coin Transferee #11311   [Address on File]     5/24/2023 Bitcoin                              0.0439222 Customer Transfer
 Confidential Customer Coin Transferee #11312   [Address on File]     5/19/2023 Bitcoin                             0.00054259 Customer Transfer
 Confidential Customer Coin Transferee #11313   [Address on File]     5/24/2023 Bitcoin                             0.02459963 Customer Transfer
 Confidential Customer Coin Transferee #11313   [Address on File]     5/17/2023 Bitcoin                              0.0231024 Customer Transfer
 Confidential Customer Coin Transferee #11314   [Address on File]     5/19/2023 Bitcoin                             0.00708755 Customer Transfer
 Confidential Customer Coin Transferee #11314   [Address on File]     5/21/2023 Bitcoin                              0.0036276 Customer Transfer
 Confidential Customer Coin Transferee #11315   [Address on File]     6/20/2023 Bitcoin                             0.00046919 Customer Transfer
 Confidential Customer Coin Transferee #11316   [Address on File]     5/30/2023 Bitcoin                             0.00205239 Customer Transfer

 Confidential Customer Coin Transferee #11317   [Address on File]     6/12/2023 Bitcoin                                    0.04675 Customer Transfer
 Confidential Customer Coin Transferee #11318   [Address on File]     5/19/2023 Bitcoin                                0.02135667 Customer Transfer
 Confidential Customer Coin Transferee #11319   [Address on File]     5/29/2023 Bitcoin                                0.08750381 Customer Transfer
 Confidential Customer Coin Transferee #11319   [Address on File]     5/26/2023 Bitcoin                                   0.007458 Customer Transfer

 Confidential Customer Coin Transferee #11320   [Address on File]     6/21/2023 Bitcoin                                0.00015727 Customer Transfer
 Confidential Customer Coin Transferee #11321   [Address on File]     6/20/2023 Bitcoin                                0.00086535 Customer Transfer
 Confidential Customer Coin Transferee #11322   [Address on File]      6/8/2023 Bitcoin                                0.03645913 Customer Transfer
 Confidential Customer Coin Transferee #11323   [Address on File]     5/21/2023 Bitcoin                                0.00939661 Customer Transfer
 Confidential Customer Coin Transferee #11324   [Address on File]      6/5/2023 USD Coin                                    1801.6 Customer Transfer
 Confidential Customer Coin Transferee #11324   [Address on File]      6/5/2023 Tether USD                                   1665 Customer Transfer
 Confidential Customer Coin Transferee #11325   [Address on File]     6/19/2023 Bitcoin                                0.00005873 Customer Transfer
 Confidential Customer Coin Transferee #11326   [Address on File]     5/16/2023 Bitcoin                                0.00312567 Customer Transfer
 Confidential Customer Coin Transferee #11327   [Address on File]     5/20/2023 Bitcoin                                0.00035151 Customer Transfer
 Confidential Customer Coin Transferee #11328   [Address on File]     5/23/2023 Bitcoin                                0.01042504 Customer Transfer
 Confidential Customer Coin Transferee #11329   [Address on File]     5/17/2023 Bitcoin                                0.00747262 Customer Transfer
 Confidential Customer Coin Transferee #11330   [Address on File]     5/19/2023 Bitcoin                                0.00688343 Customer Transfer
 Confidential Customer Coin Transferee #11331   [Address on File]     5/16/2023 Bitcoin                                0.01313446 Customer Transfer
 Confidential Customer Coin Transferee #11332   [Address on File]     5/29/2023 Bitcoin                                 0.0535471 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11333   [Address on File]     5/21/2023 Bitcoin                             0.13787962 Customer Transfer

 Confidential Customer Coin Transferee #11334   [Address on File]     6/15/2023 Tether USD                              94995 Customer Transfer

 Confidential Customer Coin Transferee #11334   [Address on File]     6/14/2023 Tether USD                              62000 Customer Transfer

 Confidential Customer Coin Transferee #11334   [Address on File]      6/2/2023 Tether USD                              53222 Customer Transfer

 Confidential Customer Coin Transferee #11334   [Address on File]     6/15/2023 Tether USD                              29995 Customer Transfer

 Confidential Customer Coin Transferee #11334   [Address on File]     5/30/2023 Tether USD                              12080 Customer Transfer

 Confidential Customer Coin Transferee #11334   [Address on File]     6/22/2023 Tether USD                               4354 Customer Transfer

 Confidential Customer Coin Transferee #11334   [Address on File]     5/29/2023 Tether USD                                400 Customer Transfer

 Confidential Customer Coin Transferee #11334   [Address on File]     5/25/2023 Tether USD                                  1 Customer Transfer

 Confidential Customer Coin Transferee #11335   [Address on File]     6/15/2023 Tether USD                              94995 Customer Transfer

 Confidential Customer Coin Transferee #11335   [Address on File]      6/6/2023 Tether USD                              69996 Customer Transfer

 Confidential Customer Coin Transferee #11335   [Address on File]     6/13/2023 Tether USD                              69547 Customer Transfer

 Confidential Customer Coin Transferee #11336   [Address on File]     6/20/2023 Tether USD                              64995 Customer Transfer

 Confidential Customer Coin Transferee #11336   [Address on File]      6/7/2023 Tether USD                              61995 Customer Transfer

 Confidential Customer Coin Transferee #11336   [Address on File]      6/6/2023 Tether USD                              59060 Customer Transfer

 Confidential Customer Coin Transferee #11336   [Address on File]     6/20/2023 Tether USD                              53332 Customer Transfer

 Confidential Customer Coin Transferee #11335   [Address on File]     5/31/2023 Tether USD                              48192 Customer Transfer

 Confidential Customer Coin Transferee #11336   [Address on File]     5/30/2023 Tether USD                              34798 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count           or Transfer

 Confidential Customer Coin Transferee #11336   [Address on File]     6/20/2023 Tether USD                                  12335 Customer Transfer

 Confidential Customer Coin Transferee #11336   [Address on File]      6/7/2023 Tether USD                                   9995 Customer Transfer

 Confidential Customer Coin Transferee #11336   [Address on File]      6/2/2023 Tether USD                                   2100 Customer Transfer

 Confidential Customer Coin Transferee #11335   [Address on File]      6/8/2023 Tether USD                                   1500 Customer Transfer

 Confidential Customer Coin Transferee #11335   [Address on File]      6/1/2023 USD Coin                                      795 Customer Transfer

 Confidential Customer Coin Transferee #11336   [Address on File]     5/30/2023 Tether USD                                    500 Customer Transfer

 Confidential Customer Coin Transferee #11336   [Address on File]     6/22/2023 Tether USD                                      500 Customer Transfer
 Confidential Customer Coin Transferee #11337   [Address on File]     5/19/2023 Bitcoin                                0.01357963 Customer Transfer
 Confidential Customer Coin Transferee #11337   [Address on File]     5/24/2023 Bitcoin                                0.00706078 Customer Transfer
 Confidential Customer Coin Transferee #11337   [Address on File]     5/31/2023 Bitcoin                                0.00368154 Customer Transfer
 Confidential Customer Coin Transferee #11337   [Address on File]     5/25/2023 Bitcoin                                0.00201794 Customer Transfer
 Confidential Customer Coin Transferee #11337   [Address on File]     5/21/2023 Bitcoin                                0.00197692 Customer Transfer
 Confidential Customer Coin Transferee #11337   [Address on File]     5/27/2023 Bitcoin                                0.00154326 Customer Transfer
 Confidential Customer Coin Transferee #11337   [Address on File]     5/23/2023 Bitcoin                                0.00123734 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/25/2023 Bitcoin                                0.00418836 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/25/2023 Bitcoin                                 0.0011519 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/24/2023 Bitcoin                                      0.0011 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/24/2023 Bitcoin                                0.00087703 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/25/2023 Bitcoin                                   0.000762 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/25/2023 Bitcoin                                0.00058742 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/21/2023 Bitcoin                                0.00038859 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/25/2023 Bitcoin                                0.00037749 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/26/2023 Bitcoin                                0.00037686 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/25/2023 Bitcoin                                0.00037561 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/23/2023 Bitcoin                                   0.000365 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/27/2023 Bitcoin                                0.00029765 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/23/2023 Bitcoin                                 0.0002378 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/27/2023 Bitcoin                                0.00020378 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/28/2023 Bitcoin                                0.00019635 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/28/2023 Bitcoin                             0.00019454 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/28/2023 Bitcoin                             0.00019403 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/28/2023 Bitcoin                             0.00019115 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/25/2023 Bitcoin                              0.0001894 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/25/2023 Bitcoin                             0.00018869 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/28/2023 Bitcoin                              0.0001875 Customer Transfer
 Confidential Customer Coin Transferee #11338   [Address on File]     5/28/2023 Bitcoin                             0.00018726 Customer Transfer
 Confidential Customer Coin Transferee #11339   [Address on File]     6/20/2023 Bitcoin                              0.0074994 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/7/2023 Bitcoin                             0.00811763 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     6/21/2023 Bitcoin                             0.00786087 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     6/12/2023 Bitcoin                             0.00767494 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/7/2023 Bitcoin                             0.00410517 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/22/2023 Bitcoin                             0.00407107 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/30/2023 Bitcoin                             0.00257879 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/5/2023 Bitcoin                             0.00252531 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     6/12/2023 Bitcoin                             0.00243505 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/25/2023 Bitcoin                             0.00227068 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/31/2023 Bitcoin                              0.0021668 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/6/2023 Bitcoin                             0.00213237 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/8/2023 Bitcoin                             0.00189283 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/1/2023 Bitcoin                             0.00147505 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/18/2023 Bitcoin                              0.0014749 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/24/2023 Bitcoin                             0.00113144 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/26/2023 Bitcoin                             0.00112305 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/2/2023 Bitcoin                             0.00111404 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/24/2023 Bitcoin                             0.00111224 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/17/2023 Bitcoin                             0.00110797 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/1/2023 Bitcoin                             0.00110536 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/16/2023 Bitcoin                              0.0010981 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/30/2023 Bitcoin                             0.00107219 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/9/2023 Bitcoin                             0.00092698 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     6/13/2023 Bitcoin                             0.00077084 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     6/21/2023 Bitcoin                             0.00076644 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/25/2023 Bitcoin                             0.00076433 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/25/2023 Bitcoin                                0.000756 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/26/2023 Bitcoin                              0.0007434 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/2/2023 Bitcoin                             0.00074233 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/1/2023 Bitcoin                             0.00073794 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/23/2023 Bitcoin                             0.00073657 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/23/2023 Bitcoin                             0.00073222 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/18/2023 Bitcoin                             0.00073018 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/30/2023 Bitcoin                             0.00071646 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/31/2023 Bitcoin                             0.00071236 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/24/2023 Bitcoin                             0.00037942 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/24/2023 Bitcoin                             0.00037828 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/26/2023 Bitcoin                             0.00037531 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/23/2023 Bitcoin                             0.00037301 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/17/2023 Bitcoin                              0.0003723 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/29/2023 Bitcoin                             0.00037102 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/19/2023 Bitcoin                             0.00036979 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/19/2023 Bitcoin                             0.00036968 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/19/2023 Bitcoin                             0.00036903 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/19/2023 Bitcoin                             0.00036865 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/22/2023 Bitcoin                             0.00036836 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/16/2023 Bitcoin                             0.00036755 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/17/2023 Bitcoin                             0.00036664 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]      6/2/2023 Bitcoin                             0.00036649 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/24/2023 Bitcoin                             0.00036546 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/23/2023 Bitcoin                             0.00036492 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/23/2023 Bitcoin                             0.00036438 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/16/2023 Bitcoin                             0.00036309 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/18/2023 Bitcoin                             0.00036162 Customer Transfer
 Confidential Customer Coin Transferee #11340   [Address on File]     5/30/2023 Bitcoin                             0.00035608 Customer Transfer
 Confidential Customer Coin Transferee #11341   [Address on File]     5/17/2023 Bitcoin                             0.03741905 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/27/2023 Bitcoin                             0.01516791 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/19/2023 Bitcoin                             0.01336745 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/27/2023 Bitcoin                             0.01239947 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/27/2023 Bitcoin                             0.01239203 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/27/2023 Bitcoin                             0.01237941 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/20/2023 Bitcoin                             0.01231303 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/20/2023 Bitcoin                             0.01061733 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/19/2023 Bitcoin                             0.01055296 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/19/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/27/2023 Bitcoin                             0.00823142 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/19/2023 Bitcoin                                 0.00717 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/23/2023 Bitcoin                                 0.00717 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/26/2023 Bitcoin                             0.00706603 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/23/2023 Bitcoin                             0.00633027 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/27/2023 Bitcoin                                  0.0055 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/20/2023 Bitcoin                             0.00410384 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/25/2023 Bitcoin                             0.00383144 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/17/2023 Bitcoin                             0.00122812 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/16/2023 Bitcoin                             0.00121423 Customer Transfer
 Confidential Customer Coin Transferee #11342   [Address on File]     5/30/2023 Bitcoin                             0.00072114 Customer Transfer
 Confidential Customer Coin Transferee #11343   [Address on File]     5/24/2023 Bitcoin                             0.00189524 Customer Transfer
 Confidential Customer Coin Transferee #11343   [Address on File]     5/24/2023 Bitcoin                             0.00168709 Customer Transfer
 Confidential Customer Coin Transferee #11343   [Address on File]     5/18/2023 Bitcoin                             0.00036347 Customer Transfer
 Confidential Customer Coin Transferee #11344   [Address on File]     6/20/2023 Bitcoin                             0.00095489 Customer Transfer
 Confidential Customer Coin Transferee #11345   [Address on File]     5/27/2023 Bitcoin                             0.00146306 Customer Transfer
 Confidential Customer Coin Transferee #11345   [Address on File]     5/30/2023 Bitcoin                             0.00146121 Customer Transfer
 Confidential Customer Coin Transferee #11346   [Address on File]     5/28/2023 Bitcoin                              0.0026883 Customer Transfer
 Confidential Customer Coin Transferee #11347   [Address on File]     5/16/2023 Bitcoin                                    0.109 Customer Transfer
 Confidential Customer Coin Transferee #11348   [Address on File]     5/18/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #11348   [Address on File]     5/19/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #11348   [Address on File]     5/23/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #11348   [Address on File]     5/18/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #11349   [Address on File]     5/19/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #11350   [Address on File]     5/20/2023 Bitcoin                             0.01767688 Customer Transfer
 Confidential Customer Coin Transferee #11351   [Address on File]     5/20/2023 Bitcoin                             0.01135439 Customer Transfer
 Confidential Customer Coin Transferee #11352   [Address on File]     5/16/2023 Bitcoin                             0.01911109 Customer Transfer
 Confidential Customer Coin Transferee #11353   [Address on File]     5/22/2023 Bitcoin                             0.01856808 Customer Transfer
 Confidential Customer Coin Transferee #11353   [Address on File]     5/28/2023 Bitcoin                             0.01851517 Customer Transfer
 Confidential Customer Coin Transferee #11354   [Address on File]     5/22/2023 Bitcoin                             0.00089791 Customer Transfer
 Confidential Customer Coin Transferee #11354   [Address on File]     5/16/2023 Bitcoin                             0.00031275 Customer Transfer
 Confidential Customer Coin Transferee #11355   [Address on File]     5/16/2023 Bitcoin                             0.01056243 Customer Transfer
 Confidential Customer Coin Transferee #11356   [Address on File]     5/20/2023 Bitcoin                             0.00244318 Customer Transfer
 Confidential Customer Coin Transferee #11356   [Address on File]     5/18/2023 Bitcoin                             0.00124256 Customer Transfer
 Confidential Customer Coin Transferee #11357   [Address on File]     5/23/2023 Bitcoin                              0.0046237 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #11357   [Address on File]     5/22/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #11358   [Address on File]     5/18/2023 Bitcoin                             0.01116412 Customer Transfer
 Confidential Customer Coin Transferee #11358   [Address on File]     5/21/2023 Bitcoin                             0.00531306 Customer Transfer
 Confidential Customer Coin Transferee #11359   [Address on File]     5/23/2023 Bitcoin                             0.01011575 Customer Transfer
 Confidential Customer Coin Transferee #11360   [Address on File]     5/28/2023 Bitcoin                             0.04442194 Customer Transfer
 Confidential Customer Coin Transferee #11360   [Address on File]     5/30/2023 Bitcoin                             0.01076977 Customer Transfer
 Confidential Customer Coin Transferee #11361   [Address on File]     6/19/2023 Bitcoin                             0.00474587 Customer Transfer
 Confidential Customer Coin Transferee #11362   [Address on File]     6/19/2023 Bitcoin                             0.00058582 Customer Transfer
 Confidential Customer Coin Transferee #11363   [Address on File]     5/18/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #11363   [Address on File]     5/17/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #11364   [Address on File]     5/26/2023 Bitcoin                             0.00381005 Customer Transfer
 Confidential Customer Coin Transferee #11364   [Address on File]     5/21/2023 Bitcoin                             0.00369916 Customer Transfer
 Confidential Customer Coin Transferee #11365   [Address on File]     5/16/2023 Bitcoin                             0.18068399 Customer Transfer
 Confidential Customer Coin Transferee #11366   [Address on File]     5/25/2023 Bitcoin                             0.11689931 Customer Transfer
 Confidential Customer Coin Transferee #11367   [Address on File]     6/20/2023 Bitcoin                             0.00090071 Customer Transfer
 Confidential Customer Coin Transferee #11368   [Address on File]     5/28/2023 Bitcoin                             0.03801582 Customer Transfer
 Confidential Customer Coin Transferee #11369   [Address on File]     5/30/2023 Bitcoin                                   0.0058 Customer Transfer
 Confidential Customer Coin Transferee #11369   [Address on File]     5/30/2023 Bitcoin                             0.00314814 Customer Transfer
 Confidential Customer Coin Transferee #11370   [Address on File]     5/19/2023 Bitcoin                              0.0217935 Customer Transfer
 Confidential Customer Coin Transferee #11371   [Address on File]     5/19/2023 Bitcoin                             0.00092678 Customer Transfer
 Confidential Customer Coin Transferee #11372   [Address on File]     5/22/2023 Bitcoin                                0.008687 Customer Transfer
 Confidential Customer Coin Transferee #11373   [Address on File]     5/23/2023 Bitcoin                             0.00001457 Customer Transfer
 Confidential Customer Coin Transferee #11374   [Address on File]     5/16/2023 Bitcoin                                0.005461 Customer Transfer
 Confidential Customer Coin Transferee #11374   [Address on File]     5/19/2023 Bitcoin                             0.00234185 Customer Transfer
 Confidential Customer Coin Transferee #11374   [Address on File]     5/19/2023 Bitcoin                                0.000575 Customer Transfer
 Confidential Customer Coin Transferee #11375   [Address on File]     5/24/2023 Bitcoin                             0.00985502 Customer Transfer
 Confidential Customer Coin Transferee #11376   [Address on File]     5/23/2023 Bitcoin                             0.00007123 Customer Transfer
 Confidential Customer Coin Transferee #11377   [Address on File]     5/26/2023 Bitcoin                             0.03755932 Customer Transfer
 Confidential Customer Coin Transferee #11378   [Address on File]     5/21/2023 Bitcoin                             0.00018104 Customer Transfer
 Confidential Customer Coin Transferee #11379   [Address on File]     5/26/2023 Bitcoin                                   0.0159 Customer Transfer
 Confidential Customer Coin Transferee #11379   [Address on File]     5/30/2023 Bitcoin                                   0.0145 Customer Transfer
 Confidential Customer Coin Transferee #11379   [Address on File]     5/24/2023 Bitcoin                                    0.007 Customer Transfer
 Confidential Customer Coin Transferee #11380   [Address on File]     5/22/2023 Bitcoin                             0.01114096 Customer Transfer
 Confidential Customer Coin Transferee #11380   [Address on File]     5/24/2023 Bitcoin                             0.00744519 Customer Transfer
 Confidential Customer Coin Transferee #11381   [Address on File]     5/31/2023 Bitcoin                             0.04541756 Customer Transfer
 Confidential Customer Coin Transferee #11382   [Address on File]     5/31/2023 Bitcoin                             0.07249119 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11383   [Address on File]     6/19/2023 Bitcoin                             0.01669716 Customer Transfer
 Confidential Customer Coin Transferee #11384   [Address on File]     5/19/2023 Bitcoin                             0.00739988 Customer Transfer
 Confidential Customer Coin Transferee #11384   [Address on File]     5/21/2023 Bitcoin                             0.00739764 Customer Transfer
 Confidential Customer Coin Transferee #11384   [Address on File]     5/16/2023 Bitcoin                             0.00737342 Customer Transfer
 Confidential Customer Coin Transferee #11385   [Address on File]     5/17/2023 Bitcoin                             0.01166129 Customer Transfer
 Confidential Customer Coin Transferee #11386   [Address on File]     5/28/2023 Bitcoin                             0.03011704 Customer Transfer
 Confidential Customer Coin Transferee #11386   [Address on File]     5/19/2023 Bitcoin                             0.02716277 Customer Transfer
 Confidential Customer Coin Transferee #11387   [Address on File]     5/29/2023 Bitcoin                             0.01210088 Customer Transfer
 Confidential Customer Coin Transferee #11387   [Address on File]     5/30/2023 Bitcoin                             0.00360031 Customer Transfer
 Confidential Customer Coin Transferee #11388   [Address on File]     5/22/2023 Bitcoin                             0.00131096 Customer Transfer
 Confidential Customer Coin Transferee #11389   [Address on File]     6/20/2023 Bitcoin                             0.01537923 Customer Transfer
 Confidential Customer Coin Transferee #11390   [Address on File]     5/22/2023 Bitcoin                             0.00040678 Customer Transfer
 Confidential Customer Coin Transferee #11390   [Address on File]     5/28/2023 Bitcoin                             0.00040231 Customer Transfer
 Confidential Customer Coin Transferee #11391   [Address on File]     5/18/2023 Bitcoin                             0.00373782 Customer Transfer
 Confidential Customer Coin Transferee #11391   [Address on File]     5/16/2023 Bitcoin                             0.00367305 Customer Transfer
 Confidential Customer Coin Transferee #11391   [Address on File]     5/20/2023 Bitcoin                             0.00367126 Customer Transfer
 Confidential Customer Coin Transferee #11392   [Address on File]     6/20/2023 Bitcoin                             0.01502773 Customer Transfer

 Confidential Customer Coin Transferee #11393   [Address on File]     5/26/2023 Bitcoin                                0.00599702 Customer Transfer
 Confidential Customer Coin Transferee #11394   [Address on File]     5/24/2023 Bitcoin                                0.00552662 Customer Transfer
 Confidential Customer Coin Transferee #11394   [Address on File]     5/29/2023 Bitcoin                                0.00357956 Customer Transfer
 Confidential Customer Coin Transferee #11394   [Address on File]     5/24/2023 Bitcoin                                0.00188279 Customer Transfer
 Confidential Customer Coin Transferee #11394   [Address on File]     5/25/2023 Bitcoin                                0.00188237 Customer Transfer
 Confidential Customer Coin Transferee #11394   [Address on File]     5/26/2023 Bitcoin                                0.00187785 Customer Transfer
 Confidential Customer Coin Transferee #11394   [Address on File]     5/27/2023 Bitcoin                                0.00186039 Customer Transfer
 Confidential Customer Coin Transferee #11394   [Address on File]     5/26/2023 Bitcoin                                0.00185762 Customer Transfer
 Confidential Customer Coin Transferee #11394   [Address on File]     5/20/2023 Bitcoin                                0.00185006 Customer Transfer
 Confidential Customer Coin Transferee #11395   [Address on File]     5/22/2023 Bitcoin                                0.03674487 Customer Transfer
 Confidential Customer Coin Transferee #11395   [Address on File]     5/29/2023 Bitcoin                                0.01797101 Customer Transfer
 Confidential Customer Coin Transferee #11395   [Address on File]     5/28/2023 Bitcoin                                0.01081977 Customer Transfer
 Confidential Customer Coin Transferee #11395   [Address on File]     5/24/2023 Bitcoin                                0.00945428 Customer Transfer
 Confidential Customer Coin Transferee #11395   [Address on File]     5/22/2023 Bitcoin                                0.00923629 Customer Transfer
 Confidential Customer Coin Transferee #11396   [Address on File]     5/22/2023 Bitcoin                                 0.0037169 Customer Transfer
 Confidential Customer Coin Transferee #11396   [Address on File]     5/31/2023 Bitcoin                                0.00357453 Customer Transfer
 Confidential Customer Coin Transferee #11396   [Address on File]     5/29/2023 Bitcoin                                0.00354406 Customer Transfer
 Confidential Customer Coin Transferee #11397   [Address on File]     5/16/2023 Bitcoin                                0.05479045 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11398   [Address on File]     5/19/2023 Bitcoin                             0.00195782 Customer Transfer
 Confidential Customer Coin Transferee #11399   [Address on File]     5/16/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #11400   [Address on File]     5/18/2023 Bitcoin                             0.01035377 Customer Transfer
 Confidential Customer Coin Transferee #11401   [Address on File]     5/24/2023 Bitcoin                             0.00036312 Customer Transfer
 Confidential Customer Coin Transferee #11401   [Address on File]     5/18/2023 Bitcoin                             0.00018177 Customer Transfer
 Confidential Customer Coin Transferee #11402   [Address on File]     6/19/2023 Bitcoin                             0.00085325 Customer Transfer
 Confidential Customer Coin Transferee #11403   [Address on File]     6/20/2023 Bitcoin                             0.00328709 Customer Transfer
 Confidential Customer Coin Transferee #11404   [Address on File]     6/19/2023 Bitcoin                              0.0009422 Customer Transfer
 Confidential Customer Coin Transferee #11405   [Address on File]     6/19/2023 Bitcoin                             0.00003771 Customer Transfer
 Confidential Customer Coin Transferee #11406   [Address on File]     6/20/2023 Bitcoin                             0.00034948 Customer Transfer
 Confidential Customer Coin Transferee #11407   [Address on File]     6/20/2023 Bitcoin                              0.0028869 Customer Transfer
 Confidential Customer Coin Transferee #11408   [Address on File]     5/29/2023 Bitcoin                             0.00442254 Customer Transfer
 Confidential Customer Coin Transferee #11408   [Address on File]     5/30/2023 Bitcoin                             0.00286423 Customer Transfer
 Confidential Customer Coin Transferee #11408   [Address on File]     6/12/2023 Bitcoin                             0.00191621 Customer Transfer
 Confidential Customer Coin Transferee #11409   [Address on File]      6/3/2023 Bitcoin                             0.02596884 Customer Transfer
 Confidential Customer Coin Transferee #11410   [Address on File]     6/19/2023 Bitcoin                             0.00630053 Customer Transfer
 Confidential Customer Coin Transferee #11411   [Address on File]     6/17/2023 Bitcoin                             0.12080858 Customer Transfer
 Confidential Customer Coin Transferee #11412   [Address on File]     6/20/2023 Bitcoin                             0.00758177 Customer Transfer
 Confidential Customer Coin Transferee #11413   [Address on File]     6/20/2023 Bitcoin                             0.00161153 Customer Transfer
 Confidential Customer Coin Transferee #11414   [Address on File]     5/20/2023 Bitcoin                             0.01035563 Customer Transfer
 Confidential Customer Coin Transferee #11415   [Address on File]      6/1/2023 Bitcoin                             0.01358849 Customer Transfer
 Confidential Customer Coin Transferee #11416   [Address on File]     5/16/2023 Bitcoin                             0.02566245 Customer Transfer
 Confidential Customer Coin Transferee #11417   [Address on File]     6/19/2023 Bitcoin                             0.00011637 Customer Transfer
 Confidential Customer Coin Transferee #11418   [Address on File]     6/20/2023 Bitcoin                             0.01423037 Customer Transfer
 Confidential Customer Coin Transferee #11419   [Address on File]     6/14/2023 Bitcoin                             0.00315482 Customer Transfer
 Confidential Customer Coin Transferee #11420   [Address on File]      6/7/2023 Bitcoin                             0.05302926 Customer Transfer
 Confidential Customer Coin Transferee #11421   [Address on File]     5/18/2023 Bitcoin                             0.01056518 Customer Transfer
 Confidential Customer Coin Transferee #11422   [Address on File]     5/24/2023 Bitcoin                             0.01361277 Customer Transfer
 Confidential Customer Coin Transferee #11423   [Address on File]     5/22/2023 Ether                              0.344510903 Customer Transfer
 Confidential Customer Coin Transferee #11423   [Address on File]      6/8/2023 Ether                              0.169602091 Customer Transfer
 Confidential Customer Coin Transferee #11424   [Address on File]     6/19/2023 Bitcoin                             0.00016157 Customer Transfer
 Confidential Customer Coin Transferee #11425   [Address on File]     6/20/2023 Bitcoin                             0.00041064 Customer Transfer
 Confidential Customer Coin Transferee #11426   [Address on File]     5/26/2023 Bitcoin                             0.00372965 Customer Transfer
 Confidential Customer Coin Transferee #11427   [Address on File]     6/20/2023 Bitcoin                             0.00505403 Customer Transfer
 Confidential Customer Coin Transferee #11428   [Address on File]     6/16/2023 Bitcoin                             0.01068615 Customer Transfer
 Confidential Customer Coin Transferee #11429   [Address on File]     6/19/2023 Bitcoin                             0.00005819 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11430   [Address on File]     5/19/2023 Bitcoin                             0.00423787 Customer Transfer
 Confidential Customer Coin Transferee #11430   [Address on File]     6/17/2023 Bitcoin                             0.00259378 Customer Transfer
 Confidential Customer Coin Transferee #11431   [Address on File]     6/20/2023 Bitcoin                             0.00105241 Customer Transfer
 Confidential Customer Coin Transferee #11432   [Address on File]     6/19/2023 Bitcoin                             0.00065543 Customer Transfer
 Confidential Customer Coin Transferee #11433   [Address on File]     6/20/2023 Bitcoin                             0.00025069 Customer Transfer
 Confidential Customer Coin Transferee #11434   [Address on File]     5/30/2023 USD Coin                            115.800519 Customer Transfer
 Confidential Customer Coin Transferee #11435   [Address on File]     6/20/2023 Bitcoin                             0.00005632 Customer Transfer
 Confidential Customer Coin Transferee #11436   [Address on File]     6/20/2023 Bitcoin                             0.00011557 Customer Transfer
 Confidential Customer Coin Transferee #11437   [Address on File]     6/14/2023 Bitcoin                              0.0096788 Customer Transfer
 Confidential Customer Coin Transferee #11437   [Address on File]     5/19/2023 Bitcoin                             0.00934935 Customer Transfer
 Confidential Customer Coin Transferee #11437   [Address on File]     6/12/2023 Bitcoin                              0.0073541 Customer Transfer
 Confidential Customer Coin Transferee #11438   [Address on File]     6/19/2023 Bitcoin                             0.00215578 Customer Transfer
 Confidential Customer Coin Transferee #11439   [Address on File]     5/24/2023 Bitcoin                              0.0750311 Customer Transfer
 Confidential Customer Coin Transferee #11439   [Address on File]     5/19/2023 Bitcoin                             0.05359278 Customer Transfer
 Confidential Customer Coin Transferee #11439   [Address on File]     5/26/2023 Bitcoin                             0.01835198 Customer Transfer
 Confidential Customer Coin Transferee #11440   [Address on File]     6/19/2023 Bitcoin                             0.00384249 Customer Transfer
 Confidential Customer Coin Transferee #11441   [Address on File]     5/26/2023 Bitcoin                             0.08277028 Customer Transfer
 Confidential Customer Coin Transferee #11441   [Address on File]     6/20/2023 Bitcoin                             0.02750678 Customer Transfer
 Confidential Customer Coin Transferee #11442   [Address on File]     5/21/2023 Bitcoin                             0.01055018 Customer Transfer
 Confidential Customer Coin Transferee #11443   [Address on File]     6/20/2023 Bitcoin                             0.00101792 Customer Transfer
 Confidential Customer Coin Transferee #11444   [Address on File]     5/21/2023 Bitcoin                                0.001436 Customer Transfer
 Confidential Customer Coin Transferee #11445   [Address on File]     6/20/2023 Bitcoin                             0.01058743 Customer Transfer
 Confidential Customer Coin Transferee #11446   [Address on File]     5/16/2023 Bitcoin                             0.01024377 Customer Transfer
 Confidential Customer Coin Transferee #11447   [Address on File]     6/20/2023 Bitcoin                             0.00049084 Customer Transfer
 Confidential Customer Coin Transferee #11448   [Address on File]     6/20/2023 Bitcoin                             0.00365971 Customer Transfer
 Confidential Customer Coin Transferee #11449   [Address on File]     5/24/2023 Bitcoin                             0.02436135 Customer Transfer
 Confidential Customer Coin Transferee #11449   [Address on File]     5/17/2023 Bitcoin                             0.01975926 Customer Transfer
 Confidential Customer Coin Transferee #11450   [Address on File]     5/26/2023 Bitcoin                             0.30794784 Customer Transfer
 Confidential Customer Coin Transferee #11451   [Address on File]     5/26/2023 Bitcoin                             0.00513782 Customer Transfer
 Confidential Customer Coin Transferee #11452   [Address on File]     5/25/2023 Bitcoin                             0.01133441 Customer Transfer
 Confidential Customer Coin Transferee #11452   [Address on File]     5/23/2023 Bitcoin                             0.00015222 Customer Transfer
 Confidential Customer Coin Transferee #11453   [Address on File]     5/26/2023 Bitcoin                             0.00372123 Customer Transfer
 Confidential Customer Coin Transferee #11453   [Address on File]     5/19/2023 Bitcoin                             0.00345935 Customer Transfer
 Confidential Customer Coin Transferee #11454   [Address on File]     6/13/2023 Bitcoin                             0.07432662 Customer Transfer
 Confidential Customer Coin Transferee #11455   [Address on File]     6/19/2023 Bitcoin                             0.00356879 Customer Transfer
 Confidential Customer Coin Transferee #11456   [Address on File]     6/20/2023 Bitcoin                             0.00057833 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11457   [Address on File]     5/25/2023 Bitcoin                             0.00109005 Customer Transfer
 Confidential Customer Coin Transferee #11457   [Address on File]     5/18/2023 Bitcoin                             0.00106146 Customer Transfer
 Confidential Customer Coin Transferee #11458   [Address on File]     6/18/2023 Bitcoin                             0.00077136 Customer Transfer
 Confidential Customer Coin Transferee #11459   [Address on File]     5/26/2023 Bitcoin                             0.01169211 Customer Transfer
 Confidential Customer Coin Transferee #11460   [Address on File]     5/22/2023 Bitcoin                             0.01068502 Customer Transfer
 Confidential Customer Coin Transferee #11461   [Address on File]      6/9/2023 Bitcoin                             0.00351683 Customer Transfer
 Confidential Customer Coin Transferee #11461   [Address on File]     6/20/2023 Bitcoin                             0.00161159 Customer Transfer
 Confidential Customer Coin Transferee #11462   [Address on File]     6/19/2023 Bitcoin                             0.00006036 Customer Transfer
 Confidential Customer Coin Transferee #11463   [Address on File]      6/6/2023 Bitcoin                             0.00361416 Customer Transfer
 Confidential Customer Coin Transferee #11464   [Address on File]     6/20/2023 Bitcoin                             0.00011655 Customer Transfer
 Confidential Customer Coin Transferee #11465   [Address on File]     5/20/2023 Bitcoin                             0.01043235 Customer Transfer
 Confidential Customer Coin Transferee #11466   [Address on File]     5/31/2023 Bitcoin                             0.01706971 Customer Transfer
 Confidential Customer Coin Transferee #11466   [Address on File]     5/31/2023 Bitcoin                             0.01405563 Customer Transfer
 Confidential Customer Coin Transferee #11467   [Address on File]     5/19/2023 Bitcoin                                0.010483 Customer Transfer
 Confidential Customer Coin Transferee #11468   [Address on File]     5/19/2023 Bitcoin                             0.03331599 Customer Transfer
 Confidential Customer Coin Transferee #11469   [Address on File]     6/17/2023 Bitcoin                             0.00618688 Customer Transfer
 Confidential Customer Coin Transferee #11470   [Address on File]     5/16/2023 Bitcoin                             0.05004031 Customer Transfer
 Confidential Customer Coin Transferee #11471   [Address on File]     5/20/2023 Bitcoin                             0.00532007 Customer Transfer
 Confidential Customer Coin Transferee #11472   [Address on File]     5/19/2023 Bitcoin                             0.00903573 Customer Transfer

 Confidential Customer Coin Transferee #11473   [Address on File]     6/19/2023 Bitcoin                                0.00189742 Customer Transfer
 Confidential Customer Coin Transferee #11474   [Address on File]     6/16/2023 USD Coin                                95.852073 Customer Transfer
 Confidential Customer Coin Transferee #11475   [Address on File]     5/22/2023 Bitcoin                                0.02521313 Customer Transfer

 Confidential Customer Coin Transferee #11476   [Address on File]     5/31/2023 USDC Solana)                                  600 Customer Transfer

 Confidential Customer Coin Transferee #11476   [Address on File]     6/20/2023 USDC Solana)                                  500 Customer Transfer
 Confidential Customer Coin Transferee #11477   [Address on File]     6/19/2023 USDC Avalanche)                         97.169341 Customer Transfer
 Confidential Customer Coin Transferee #11478   [Address on File]     6/19/2023 Bitcoin                                0.00006013 Customer Transfer
 Confidential Customer Coin Transferee #11479   [Address on File]     6/20/2023 Bitcoin                                0.00423646 Customer Transfer
 Confidential Customer Coin Transferee #11480   [Address on File]     5/22/2023 Bitcoin                                0.01352758 Customer Transfer
 Confidential Customer Coin Transferee #11481   [Address on File]     6/20/2023 Bitcoin                                0.01123345 Customer Transfer
 Confidential Customer Coin Transferee #11482   [Address on File]     6/20/2023 Bitcoin                                0.00368129 Customer Transfer
 Confidential Customer Coin Transferee #11483   [Address on File]     6/19/2023 Bitcoin                                0.00005797 Customer Transfer
 Confidential Customer Coin Transferee #11484   [Address on File]     6/19/2023 Bitcoin                                0.00471011 Customer Transfer
 Confidential Customer Coin Transferee #11485   [Address on File]     5/18/2023 Bitcoin                                0.00704713 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11486   [Address on File]     6/19/2023 Bitcoin                             0.00005805 Customer Transfer
 Confidential Customer Coin Transferee #11487   [Address on File]     6/20/2023 Bitcoin                             0.00072192 Customer Transfer
 Confidential Customer Coin Transferee #11488   [Address on File]     6/20/2023 Bitcoin                              0.0000561 Customer Transfer
 Confidential Customer Coin Transferee #11489   [Address on File]     5/21/2023 Bitcoin                             11.2216155 Customer Transfer
 Confidential Customer Coin Transferee #11490   [Address on File]     6/19/2023 Bitcoin                             0.00017444 Customer Transfer
 Confidential Customer Coin Transferee #11491   [Address on File]     6/20/2023 Bitcoin                             0.00038821 Customer Transfer
 Confidential Customer Coin Transferee #11492   [Address on File]     6/20/2023 Bitcoin                             0.00005941 Customer Transfer
 Confidential Customer Coin Transferee #11493   [Address on File]     5/19/2023 Bitcoin                             0.01017959 Customer Transfer
 Confidential Customer Coin Transferee #11494   [Address on File]     5/21/2023 Bitcoin                             0.00157817 Customer Transfer
 Confidential Customer Coin Transferee #11494   [Address on File]     5/25/2023 Bitcoin                             0.00079554 Customer Transfer
 Confidential Customer Coin Transferee #11495   [Address on File]     5/30/2023 Bitcoin                                     0.05 Customer Transfer
 Confidential Customer Coin Transferee #11496   [Address on File]     5/21/2023 Bitcoin                             0.00785103 Customer Transfer
 Confidential Customer Coin Transferee #11496   [Address on File]     5/26/2023 Bitcoin                             0.00131425 Customer Transfer
 Confidential Customer Coin Transferee #11497   [Address on File]     5/31/2023 Bitcoin                             0.00086143 Customer Transfer
 Confidential Customer Coin Transferee #11498   [Address on File]     5/17/2023 Bitcoin                                0.004592 Customer Transfer
 Confidential Customer Coin Transferee #11499   [Address on File]     5/28/2023 Bitcoin                                    0.012 Customer Transfer
 Confidential Customer Coin Transferee #11500   [Address on File]     5/16/2023 Bitcoin                             0.00566911 Customer Transfer
 Confidential Customer Coin Transferee #11501   [Address on File]     5/18/2023 Bitcoin                             0.00912875 Customer Transfer
 Confidential Customer Coin Transferee #11501   [Address on File]     5/18/2023 Bitcoin                             0.00561985 Customer Transfer
 Confidential Customer Coin Transferee #11502   [Address on File]     6/19/2023 Bitcoin                             0.00035097 Customer Transfer
 Confidential Customer Coin Transferee #11503   [Address on File]     6/20/2023 Bitcoin                             0.00035314 Customer Transfer
 Confidential Customer Coin Transferee #11504   [Address on File]     6/13/2023 Bitcoin                             0.00007797 Customer Transfer

 Confidential Customer Coin Transferee #11505   [Address on File]     6/14/2023 Bitcoin                                    0.04855 Customer Transfer
 Confidential Customer Coin Transferee #11506   [Address on File]     6/20/2023 Bitcoin                                0.00503841 Customer Transfer
 Confidential Customer Coin Transferee #11507   [Address on File]     6/19/2023 Bitcoin                                0.00044515 Customer Transfer
 Confidential Customer Coin Transferee #11508   [Address on File]     5/16/2023 Bitcoin                                0.00274901 Customer Transfer
 Confidential Customer Coin Transferee #11509   [Address on File]     6/19/2023 Bitcoin                                0.01245796 Customer Transfer
 Confidential Customer Coin Transferee #11510   [Address on File]     5/18/2023 Bitcoin                                0.00179297 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/31/2023 Bitcoin                                0.00078636 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                                0.00053557 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                                0.00053436 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                                0.00052812 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/29/2023 Bitcoin                                0.00049784 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/19/2023 Bitcoin                                0.00040834 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                                     0.0004 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/31/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/30/2023 Bitcoin                             0.00039232 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                             0.00039229 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                                 0.00039 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                                 0.00038 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/19/2023 Bitcoin                             0.00037265 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/31/2023 Bitcoin                             0.00036923 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/17/2023 Bitcoin                             0.00036827 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/18/2023 Bitcoin                                0.000368 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/31/2023 Bitcoin                             0.00036785 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/17/2023 Bitcoin                             0.00036655 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                             0.00036558 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                             0.00036085 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                             0.00036052 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/16/2023 Bitcoin                             0.00035952 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/29/2023 Bitcoin                              0.0003593 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                             0.00035884 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/30/2023 Bitcoin                             0.00035813 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/30/2023 Bitcoin                             0.00035756 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                             0.00035157 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                             0.00035066 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/17/2023 Bitcoin                                 0.00035 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/19/2023 Bitcoin                                 0.00035 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                             0.00034933 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                             0.00034121 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/20/2023 Bitcoin                             0.00032561 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                             0.00032427 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/25/2023 Bitcoin                                 0.00032 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                             0.00030961 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                             0.00030003 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/19/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/29/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/29/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/25/2023 Bitcoin                             0.00028407 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/29/2023 Bitcoin                             0.00028091 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/25/2023 Bitcoin                                 0.00027 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                             0.00026411 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                             0.00026058 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                                0.000259 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/20/2023 Bitcoin                              0.0002585 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                             0.00025607 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/31/2023 Bitcoin                             0.00025539 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                             0.00025431 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/25/2023 Bitcoin                             0.00024908 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                             0.00023839 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                             0.00022226 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/19/2023 Bitcoin                              0.0002156 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/29/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/29/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/25/2023 Bitcoin                              0.0001911 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/25/2023 Bitcoin                                0.000189 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                             0.00018517 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/30/2023 Bitcoin                             0.00018495 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/20/2023 Bitcoin                             0.00018386 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/19/2023 Bitcoin                             0.00018377 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/17/2023 Bitcoin                             0.00018343 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/20/2023 Bitcoin                                 0.00018 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/29/2023 Bitcoin                                 0.00018 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/29/2023 Bitcoin                             0.00017978 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/30/2023 Bitcoin                             0.00017938 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/30/2023 Bitcoin                             0.00017918 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/29/2023 Bitcoin                             0.00017656 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/25/2023 Bitcoin                             0.00017245 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/31/2023 Bitcoin                             0.00016693 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/19/2023 Bitcoin                             0.00016657 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                             0.00016483 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/28/2023 Bitcoin                             0.00015943 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/16/2023 Bitcoin                             0.00015124 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/19/2023 Bitcoin                                 0.00015 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/19/2023 Bitcoin                                 0.00015 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                                 0.00015 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/22/2023 Bitcoin                                 0.00015 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/21/2023 Bitcoin                              0.0001467 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/26/2023 Bitcoin                                 0.00014 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/21/2023 Bitcoin                              0.0001312 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/17/2023 Bitcoin                             0.00012881 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/26/2023 Bitcoin                             0.00012421 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                              0.0001235 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/26/2023 Bitcoin                             0.00012278 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                              0.0001138 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/21/2023 Bitcoin                                0.000112 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/26/2023 Bitcoin                                0.000111 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/19/2023 Bitcoin                             0.00010911 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/25/2023 Bitcoin                             0.00010625 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/21/2023 Bitcoin                             0.00010348 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/25/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/31/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/26/2023 Bitcoin                             0.00009882 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                             0.00009476 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/18/2023 Bitcoin                             0.00009297 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                             0.00009092 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/28/2023 Bitcoin                             0.00008274 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/26/2023 Bitcoin                             0.00007548 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/27/2023 Bitcoin                             0.00007439 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/28/2023 Bitcoin                             0.00007286 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/16/2023 Bitcoin                             0.00007174 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/18/2023 Bitcoin                              0.0000668 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                                0.000063 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                             0.00005711 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/20/2023 Bitcoin                             0.00005423 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/26/2023 Bitcoin                             0.00004181 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/24/2023 Bitcoin                                 0.00004 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/21/2023 Bitcoin                             0.00003678 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/18/2023 Bitcoin                             0.00003638 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/17/2023 Bitcoin                             0.00003636 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/21/2023 Bitcoin                             0.00003519 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/29/2023 Bitcoin                             0.00003388 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/25/2023 Bitcoin                             0.00003111 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/17/2023 Bitcoin                             0.00002875 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/23/2023 Bitcoin                             0.00002814 Customer Transfer
 Confidential Customer Coin Transferee #11511   [Address on File]     5/21/2023 Bitcoin                              0.0000158 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/21/2023 Bitcoin                             0.00440543 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/18/2023 Bitcoin                             0.00420482 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/26/2023 Bitcoin                             0.00382533 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/26/2023 Bitcoin                             0.00359972 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/18/2023 Bitcoin                             0.00359052 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/19/2023 Bitcoin                             0.00358423 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/26/2023 Bitcoin                             0.00356327 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/18/2023 Bitcoin                             0.00355664 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/18/2023 Bitcoin                             0.00348868 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/28/2023 Bitcoin                             0.00266902 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/26/2023 Bitcoin                             0.00241275 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/26/2023 Bitcoin                             0.00222605 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/18/2023 Bitcoin                             0.00185407 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/23/2023 Bitcoin                             0.00182892 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/19/2023 Bitcoin                             0.00177662 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/20/2023 Bitcoin                             0.00176525 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/20/2023 Bitcoin                             0.00103485 Customer Transfer
 Confidential Customer Coin Transferee #11512   [Address on File]     5/24/2023 Bitcoin                             0.00040789 Customer Transfer
 Confidential Customer Coin Transferee #11513   [Address on File]     5/24/2023 Bitcoin                             0.00814537 Customer Transfer
 Confidential Customer Coin Transferee #11513   [Address on File]     5/30/2023 Bitcoin                             0.00482951 Customer Transfer
 Confidential Customer Coin Transferee #11513   [Address on File]     5/28/2023 Bitcoin                             0.00456922 Customer Transfer
 Confidential Customer Coin Transferee #11513   [Address on File]     5/21/2023 Bitcoin                             0.00354651 Customer Transfer
 Confidential Customer Coin Transferee #11513   [Address on File]     5/17/2023 Bitcoin                              0.0034945 Customer Transfer
 Confidential Customer Coin Transferee #11513   [Address on File]     5/19/2023 Bitcoin                             0.00170054 Customer Transfer
 Confidential Customer Coin Transferee #11514   [Address on File]     6/20/2023 Bitcoin                             0.00040583 Customer Transfer
 Confidential Customer Coin Transferee #11515   [Address on File]     5/16/2023 Bitcoin                             0.00087623 Customer Transfer
 Confidential Customer Coin Transferee #11516   [Address on File]     6/19/2023 Bitcoin                             0.00005959 Customer Transfer
 Confidential Customer Coin Transferee #11517   [Address on File]     5/22/2023 Bitcoin                             0.00088629 Customer Transfer
 Confidential Customer Coin Transferee #11518   [Address on File]     6/20/2023 USDC Avalanche)                            17.8 Customer Transfer
 Confidential Customer Coin Transferee #11519   [Address on File]     5/28/2023 Bitcoin                             0.01303745 Customer Transfer
 Confidential Customer Coin Transferee #11519   [Address on File]     5/18/2023 Bitcoin                             0.00713781 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11519   [Address on File]     5/17/2023 Bitcoin                             0.00620725 Customer Transfer
 Confidential Customer Coin Transferee #11519   [Address on File]     5/16/2023 Bitcoin                             0.00359786 Customer Transfer
 Confidential Customer Coin Transferee #11520   [Address on File]     5/16/2023 Bitcoin                             0.00968005 Customer Transfer
 Confidential Customer Coin Transferee #11521   [Address on File]     5/22/2023 Bitcoin                              0.0243748 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/23/2023 Bitcoin                             0.00088793 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/23/2023 Bitcoin                             0.00087696 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/25/2023 Bitcoin                              0.0003812 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/17/2023 Bitcoin                             0.00036559 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/22/2023 Bitcoin                             0.00030105 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/17/2023 Bitcoin                             0.00029268 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/26/2023 Bitcoin                             0.00023626 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/17/2023 Bitcoin                             0.00021946 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/23/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/16/2023 Bitcoin                             0.00018704 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/23/2023 Bitcoin                             0.00018658 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/17/2023 Bitcoin                             0.00018292 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/17/2023 Bitcoin                             0.00013724 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/17/2023 Bitcoin                             0.00010967 Customer Transfer
 Confidential Customer Coin Transferee #11522   [Address on File]     5/17/2023 Bitcoin                             0.00009054 Customer Transfer
 Confidential Customer Coin Transferee #11523   [Address on File]      6/2/2023 USD Coin                                16387.9 Customer Transfer
 Confidential Customer Coin Transferee #11523   [Address on File]      6/2/2023 Tether USD                              9927.32 Customer Transfer
 Confidential Customer Coin Transferee #11523   [Address on File]      6/2/2023 Tether USD                                  973 Customer Transfer
 Confidential Customer Coin Transferee #11524   [Address on File]     5/29/2023 Tether USD                                  395 Customer Transfer
 Confidential Customer Coin Transferee #11524   [Address on File]     5/24/2023 Tether USD                                  295 Customer Transfer
 Confidential Customer Coin Transferee #11524   [Address on File]     5/25/2023 Tether USD                                  295 Customer Transfer
 Confidential Customer Coin Transferee #11524   [Address on File]     5/29/2023 Tether USD                            172.4332 Customer Transfer
 Confidential Customer Coin Transferee #11525   [Address on File]     5/19/2023 Bitcoin                             0.00922694 Customer Transfer
 Confidential Customer Coin Transferee #11525   [Address on File]     5/19/2023 Bitcoin                             0.00370461 Customer Transfer
 Confidential Customer Coin Transferee #11526   [Address on File]      6/9/2023 Tether USD                           2180.7171 Customer Transfer
 Confidential Customer Coin Transferee #11527   [Address on File]      6/2/2023 Tether USD                              2030.87 Customer Transfer
 Confidential Customer Coin Transferee #11527   [Address on File]     6/16/2023 Tether USD                               827.64 Customer Transfer
 Confidential Customer Coin Transferee #11528   [Address on File]     6/19/2023 Bitcoin                             0.00057867 Customer Transfer
 Confidential Customer Coin Transferee #11529   [Address on File]     5/21/2023 Bitcoin                             0.00630828 Customer Transfer
 Confidential Customer Coin Transferee #11530   [Address on File]     5/31/2023 Bitcoin                             0.00369125 Customer Transfer
 Confidential Customer Coin Transferee #11531   [Address on File]     5/28/2023 Bitcoin                             0.03669499 Customer Transfer
 Confidential Customer Coin Transferee #11532   [Address on File]     5/22/2023 Bitcoin                                 0.00112 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/30/2023 Bitcoin                              0.0020404 Customer Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/30/2023 Bitcoin                             0.00168267 Customer Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/30/2023 Bitcoin                             0.00164398 Customer Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/30/2023 Bitcoin                             0.00161803 Customer Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/31/2023 Bitcoin                             0.00116747 Customer Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/31/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/18/2023 Bitcoin                             0.00080449 Customer Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/17/2023 Bitcoin                             0.00074431 Customer Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/17/2023 Bitcoin                              0.0007443 Customer Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/18/2023 Bitcoin                             0.00068826 Customer Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/17/2023 Bitcoin                              0.0006169 Customer Transfer
 Confidential Customer Coin Transferee #11533   [Address on File]     5/17/2023 Bitcoin                             0.00044555 Customer Transfer
 Confidential Customer Coin Transferee #11534   [Address on File]     5/24/2023 Ether                                  0.326845 Customer Transfer
 Confidential Customer Coin Transferee #11535   [Address on File]     6/20/2023 Bitcoin                              0.0009271 Customer Transfer
 Confidential Customer Coin Transferee #11536   [Address on File]     6/20/2023 Bitcoin                              0.0000581 Customer Transfer
 Confidential Customer Coin Transferee #11537   [Address on File]     6/19/2023 Bitcoin                             0.00113145 Customer Transfer
 Confidential Customer Coin Transferee #11538   [Address on File]     6/18/2023 Bitcoin                             0.00235258 Customer Transfer
 Confidential Customer Coin Transferee #11539   [Address on File]     6/19/2023 Bitcoin                             0.00006012 Customer Transfer
 Confidential Customer Coin Transferee #11540   [Address on File]     5/29/2023 Bitcoin                                 0.00138 Customer Transfer
 Confidential Customer Coin Transferee #11540   [Address on File]     5/29/2023 Bitcoin                              0.0002204 Customer Transfer
 Confidential Customer Coin Transferee #11540   [Address on File]     5/24/2023 Bitcoin                             0.00003785 Customer Transfer
 Confidential Customer Coin Transferee #11541   [Address on File]     6/20/2023 Bitcoin                             0.00683898 Customer Transfer
 Confidential Customer Coin Transferee #11542   [Address on File]      6/2/2023 Ether                                  0.050537 Customer Transfer
 Confidential Customer Coin Transferee #11543   [Address on File]     5/23/2023 Bitcoin                             0.04749145 Customer Transfer
 Confidential Customer Coin Transferee #11543   [Address on File]     5/18/2023 Bitcoin                             0.03721451 Customer Transfer
 Confidential Customer Coin Transferee #11543   [Address on File]     5/27/2023 Bitcoin                             0.02556129 Customer Transfer
 Confidential Customer Coin Transferee #11544   [Address on File]     5/22/2023 Bitcoin                              0.0146468 Customer Transfer
 Confidential Customer Coin Transferee #11544   [Address on File]     5/26/2023 Bitcoin                             0.01133948 Customer Transfer
 Confidential Customer Coin Transferee #11545   [Address on File]     5/31/2023 Ether                                  0.018406 Customer Transfer
 Confidential Customer Coin Transferee #11545   [Address on File]      6/5/2023 Ether                                  0.017987 Customer Transfer
 Confidential Customer Coin Transferee #11545   [Address on File]     5/31/2023 Ether                                  0.017952 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/25/2023 Bitcoin                              0.0018968 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/19/2023 Bitcoin                             0.00185486 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/19/2023 Bitcoin                             0.00185305 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/19/2023 Bitcoin                              0.0018508 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/20/2023 Bitcoin                              0.0018505 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/24/2023 Bitcoin                             0.00185005 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/19/2023 Bitcoin                             0.00184879 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/19/2023 Bitcoin                             0.00184754 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/19/2023 Bitcoin                             0.00184744 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/31/2023 Bitcoin                              0.0017955 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/26/2023 Bitcoin                             0.00169424 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/23/2023 Bitcoin                             0.00143412 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/19/2023 Bitcoin                             0.00130114 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/20/2023 Bitcoin                             0.00129236 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/16/2023 Bitcoin                             0.00128881 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/28/2023 Bitcoin                             0.00128221 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/18/2023 Bitcoin                             0.00127383 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/18/2023 Bitcoin                             0.00127148 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/18/2023 Bitcoin                             0.00126909 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/29/2023 Bitcoin                             0.00123664 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/31/2023 Bitcoin                             0.00097025 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/22/2023 Bitcoin                             0.00092632 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/22/2023 Bitcoin                             0.00089689 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/30/2023 Bitcoin                             0.00085824 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/26/2023 Bitcoin                             0.00085577 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/21/2023 Bitcoin                             0.00085447 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/24/2023 Bitcoin                              0.0008402 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/27/2023 Bitcoin                             0.00074302 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/17/2023 Bitcoin                                0.000733 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/26/2023 Bitcoin                             0.00067581 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/27/2023 Bitcoin                             0.00066934 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/30/2023 Bitcoin                             0.00064667 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/27/2023 Bitcoin                             0.00051834 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/25/2023 Bitcoin                             0.00048769 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/30/2023 Bitcoin                             0.00046546 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/30/2023 Bitcoin                             0.00035827 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/28/2023 Bitcoin                             0.00033016 Customer Transfer
 Confidential Customer Coin Transferee #11546   [Address on File]     5/20/2023 Bitcoin                             0.00029531 Customer Transfer
 Confidential Customer Coin Transferee #11547   [Address on File]     6/19/2023 Bitcoin                             0.00456383 Customer Transfer
 Confidential Customer Coin Transferee #11548   [Address on File]     5/26/2023 Bitcoin                              0.0463385 Customer Transfer
 Confidential Customer Coin Transferee #11548   [Address on File]     5/26/2023 Bitcoin                                     0.01 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11549   [Address on File]     5/17/2023 Bitcoin                             0.12838613 Customer Transfer
 Confidential Customer Coin Transferee #11549   [Address on File]     5/21/2023 Bitcoin                             0.12807281 Customer Transfer
 Confidential Customer Coin Transferee #11550   [Address on File]     5/16/2023 Bitcoin                             0.00171128 Customer Transfer
 Confidential Customer Coin Transferee #11550   [Address on File]     5/24/2023 Bitcoin                             0.00094637 Customer Transfer
 Confidential Customer Coin Transferee #11551   [Address on File]      6/6/2023 USDC Avalanche)                      220.93953 Customer Transfer
 Confidential Customer Coin Transferee #11551   [Address on File]     5/27/2023 USDC Avalanche)                     198.091145 Customer Transfer
 Confidential Customer Coin Transferee #11551   [Address on File]      6/3/2023 USDC Avalanche)                      64.431341 Customer Transfer
 Confidential Customer Coin Transferee #11551   [Address on File]      6/5/2023 USDC Avalanche)                      63.948025 Customer Transfer
 Confidential Customer Coin Transferee #11551   [Address on File]      6/3/2023 USDC Avalanche)                      63.941635 Customer Transfer
 Confidential Customer Coin Transferee #11552   [Address on File]     5/23/2023 Bitcoin                             0.01017973 Customer Transfer
 Confidential Customer Coin Transferee #11553   [Address on File]     5/25/2023 Bitcoin                             0.03757907 Customer Transfer
 Confidential Customer Coin Transferee #11554   [Address on File]     5/22/2023 Bitcoin                             0.18527299 Customer Transfer
 Confidential Customer Coin Transferee #11554   [Address on File]     5/28/2023 Bitcoin                             0.18205068 Customer Transfer
 Confidential Customer Coin Transferee #11555   [Address on File]     5/19/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #11555   [Address on File]     5/26/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #11555   [Address on File]     5/24/2023 Bitcoin                                  0.0182 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/17/2023 Bitcoin                             0.00220114 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/24/2023 Bitcoin                             0.00113182 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/22/2023 Bitcoin                             0.00111072 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/20/2023 Bitcoin                             0.00110974 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/21/2023 Bitcoin                             0.00109797 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/23/2023 Bitcoin                             0.00109748 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/23/2023 Bitcoin                             0.00109703 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/17/2023 Bitcoin                             0.00108776 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/26/2023 Bitcoin                             0.00094108 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/20/2023 Bitcoin                             0.00091863 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/20/2023 Bitcoin                             0.00091855 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/23/2023 Bitcoin                             0.00091418 Customer Transfer
 Confidential Customer Coin Transferee #11556   [Address on File]     5/20/2023 Bitcoin                             0.00090033 Customer Transfer
 Confidential Customer Coin Transferee #11557   [Address on File]     5/25/2023 USDC Avalanche)                     103.488953 Customer Transfer
 Confidential Customer Coin Transferee #11557   [Address on File]     5/21/2023 Ether                                  0.114576 Customer Transfer
 Confidential Customer Coin Transferee #11558   [Address on File]     5/30/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #11558   [Address on File]     5/30/2023 Bitcoin                              0.0057428 Customer Transfer
 Confidential Customer Coin Transferee #11558   [Address on File]     5/27/2023 Bitcoin                             0.00412209 Customer Transfer
 Confidential Customer Coin Transferee #11558   [Address on File]     5/29/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #11558   [Address on File]     5/21/2023 Bitcoin                                 0.00116 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11558   [Address on File]     5/23/2023 Bitcoin                                  0.0011 Customer Transfer
 Confidential Customer Coin Transferee #11558   [Address on File]     5/25/2023 Bitcoin                                 0.00101 Customer Transfer
 Confidential Customer Coin Transferee #11559   [Address on File]     5/22/2023 Bitcoin                             0.15781571 Customer Transfer

 Confidential Customer Coin Transferee #11560   [Address on File]     6/19/2023 Bitcoin                                0.00907688 Customer Transfer
 Confidential Customer Coin Transferee #11561   [Address on File]     5/16/2023 Bitcoin                                0.01313331 Customer Transfer
 Confidential Customer Coin Transferee #11561   [Address on File]     5/23/2023 Bitcoin                                0.01255945 Customer Transfer
 Confidential Customer Coin Transferee #11561   [Address on File]     5/30/2023 Bitcoin                                0.01212833 Customer Transfer
 Confidential Customer Coin Transferee #11561   [Address on File]     5/22/2023 Bitcoin                                0.01180092 Customer Transfer
 Confidential Customer Coin Transferee #11561   [Address on File]     5/23/2023 Bitcoin                                0.00966217 Customer Transfer
 Confidential Customer Coin Transferee #11562   [Address on File]     5/18/2023 Bitcoin                                    0.00188 Customer Transfer
 Confidential Customer Coin Transferee #11563   [Address on File]     5/29/2023 USDC Avalanche)                        207.276361 Customer Transfer
 Confidential Customer Coin Transferee #11563   [Address on File]      6/8/2023 Solana                                   8.241033 Customer Transfer
 Confidential Customer Coin Transferee #11563   [Address on File]     5/22/2023 Solana                                   7.934343 Customer Transfer
 Confidential Customer Coin Transferee #11563   [Address on File]     5/19/2023 Solana                                   7.630043 Customer Transfer
 Confidential Customer Coin Transferee #11563   [Address on File]      6/8/2023 Ether                                     0.195751 Customer Transfer
 Confidential Customer Coin Transferee #11563   [Address on File]     5/19/2023 Ether                                     0.142457 Customer Transfer
 Confidential Customer Coin Transferee #11564   [Address on File]     5/24/2023 Bitcoin                                0.01066985 Customer Transfer
 Confidential Customer Coin Transferee #11565   [Address on File]     5/18/2023 Bitcoin                                0.08891795 Customer Transfer
 Confidential Customer Coin Transferee #11566   [Address on File]     5/25/2023 Bitcoin                                0.00075722 Customer Transfer
 Confidential Customer Coin Transferee #11567   [Address on File]     5/16/2023 Bitcoin                                0.02418234 Customer Transfer
 Confidential Customer Coin Transferee #11568   [Address on File]     5/20/2023 Bitcoin                                     0.0009 Customer Transfer
 Confidential Customer Coin Transferee #11568   [Address on File]     5/20/2023 Bitcoin                                0.00050306 Customer Transfer
 Confidential Customer Coin Transferee #11568   [Address on File]     5/27/2023 Bitcoin                                0.00003533 Customer Transfer
 Confidential Customer Coin Transferee #11569   [Address on File]     6/12/2023 Bitcoin                                0.00167891 Customer Transfer
 Confidential Customer Coin Transferee #11570   [Address on File]     5/24/2023 Bitcoin                                0.00079541 Customer Transfer
 Confidential Customer Coin Transferee #11570   [Address on File]     5/19/2023 Bitcoin                                0.00077665 Customer Transfer
 Confidential Customer Coin Transferee #11571   [Address on File]     6/20/2023 Bitcoin                                0.00005831 Customer Transfer
 Confidential Customer Coin Transferee #11572   [Address on File]     5/17/2023 Bitcoin                                0.00919461 Customer Transfer
 Confidential Customer Coin Transferee #11573   [Address on File]     5/17/2023 Bitcoin                                0.13706477 Customer Transfer
 Confidential Customer Coin Transferee #11573   [Address on File]     5/24/2023 Bitcoin                                0.08402722 Customer Transfer
 Confidential Customer Coin Transferee #11574   [Address on File]     6/14/2023 Ether                                  0.20553651 Customer Transfer
 Confidential Customer Coin Transferee #11575   [Address on File]     5/25/2023 Bitcoin                                0.06610063 Customer Transfer
 Confidential Customer Coin Transferee #11576   [Address on File]     5/19/2023 Bitcoin                                0.07470035 Customer Transfer
 Confidential Customer Coin Transferee #11577   [Address on File]     5/23/2023 Bitcoin                                 0.0105047 Customer Transfer
 Confidential Customer Coin Transferee #11578   [Address on File]     5/17/2023 Bitcoin                                0.08481141 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11579   [Address on File]     6/20/2023 Bitcoin                             0.00727728 Customer Transfer

 Confidential Customer Coin Transferee #11580   [Address on File]     5/28/2023 USDC Avalanche)                        173.875674 Customer Transfer
 Confidential Customer Coin Transferee #11581   [Address on File]     5/18/2023 Bitcoin                                0.02211385 Customer Transfer
 Confidential Customer Coin Transferee #11582   [Address on File]     5/19/2023 Bitcoin                                       0.223 Customer Transfer
 Confidential Customer Coin Transferee #11582   [Address on File]     5/18/2023 Bitcoin                                      0.2192 Customer Transfer
 Confidential Customer Coin Transferee #11583   [Address on File]     5/28/2023 Bitcoin                                0.01832021 Customer Transfer
 Confidential Customer Coin Transferee #11583   [Address on File]     5/28/2023 Bitcoin                                0.00182839 Customer Transfer
 Confidential Customer Coin Transferee #11584   [Address on File]     6/20/2023 Bitcoin                                0.00070103 Customer Transfer
 Confidential Customer Coin Transferee #11585   [Address on File]     6/20/2023 Bitcoin                                0.00052544 Customer Transfer
 Confidential Customer Coin Transferee #11586   [Address on File]     5/18/2023 Bitcoin                                0.00433409 Customer Transfer
 Confidential Customer Coin Transferee #11587   [Address on File]     6/12/2023 Bitcoin                                0.00927539 Customer Transfer
 Confidential Customer Coin Transferee #11588   [Address on File]     6/19/2023 Bitcoin                                0.00058163 Customer Transfer
 Confidential Customer Coin Transferee #11589   [Address on File]     5/25/2023 Bitcoin                                0.00182082 Customer Transfer
 Confidential Customer Coin Transferee #11589   [Address on File]     5/18/2023 Bitcoin                                0.00179652 Customer Transfer
 Confidential Customer Coin Transferee #11590   [Address on File]     6/19/2023 Bitcoin                                0.00136107 Customer Transfer
 Confidential Customer Coin Transferee #11591   [Address on File]      6/7/2023 Litecoin                                       1.05 Customer Transfer
 Confidential Customer Coin Transferee #11592   [Address on File]     5/26/2023 Bitcoin                                0.18314258 Customer Transfer
 Confidential Customer Coin Transferee #11593   [Address on File]     5/23/2023 Bitcoin                                   0.018385 Customer Transfer
 Confidential Customer Coin Transferee #11593   [Address on File]     5/23/2023 Bitcoin                                0.00051112 Customer Transfer
 Confidential Customer Coin Transferee #11594   [Address on File]     6/20/2023 Bitcoin                                0.00102321 Customer Transfer
 Confidential Customer Coin Transferee #11595   [Address on File]     5/22/2023 Bitcoin                                0.01122621 Customer Transfer
 Confidential Customer Coin Transferee #11596   [Address on File]     6/20/2023 Bitcoin                                0.00392118 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/24/2023 Bitcoin                                0.00463898 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/28/2023 Bitcoin                                0.00425529 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/16/2023 Bitcoin                                0.00376734 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/22/2023 Bitcoin                                0.00351765 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/28/2023 Bitcoin                                0.00345186 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/17/2023 Bitcoin                                0.00323945 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/25/2023 Bitcoin                                0.00314491 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/26/2023 Bitcoin                                0.00312673 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/18/2023 Bitcoin                                0.00295778 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/16/2023 Bitcoin                                0.00289087 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/28/2023 Bitcoin                                0.00256528 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/24/2023 Bitcoin                                0.00244604 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/23/2023 Bitcoin                                0.00213094 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/25/2023 Bitcoin                             0.00202992 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/24/2023 Bitcoin                             0.00200474 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/19/2023 Bitcoin                             0.00199643 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/26/2023 Bitcoin                              0.0018617 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/28/2023 Bitcoin                             0.00186005 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/20/2023 Bitcoin                             0.00181166 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/20/2023 Bitcoin                              0.0018114 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/20/2023 Bitcoin                             0.00179529 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/22/2023 Bitcoin                             0.00144831 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/22/2023 Bitcoin                             0.00144706 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/16/2023 Bitcoin                             0.00143467 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/19/2023 Bitcoin                             0.00140912 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/22/2023 Bitcoin                             0.00128327 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/24/2023 Bitcoin                                 0.00125 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/22/2023 Bitcoin                             0.00122993 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/30/2023 Bitcoin                             0.00122011 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/19/2023 Bitcoin                             0.00108593 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/21/2023 Bitcoin                                0.001072 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/28/2023 Bitcoin                             0.00106816 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/18/2023 Bitcoin                             0.00105199 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/21/2023 Bitcoin                             0.00095536 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/17/2023 Bitcoin                             0.00092837 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/18/2023 Bitcoin                             0.00090344 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/22/2023 Bitcoin                             0.00089818 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/16/2023 Bitcoin                             0.00087034 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/29/2023 Bitcoin                             0.00086202 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/28/2023 Bitcoin                             0.00081528 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/26/2023 Bitcoin                              0.0007218 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/31/2023 Bitcoin                             0.00071542 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/30/2023 Bitcoin                              0.0005616 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/19/2023 Bitcoin                             0.00051659 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/30/2023 Bitcoin                             0.00050828 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/30/2023 Bitcoin                              0.0004035 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/28/2023 Bitcoin                             0.00036635 Customer Transfer
 Confidential Customer Coin Transferee #11597   [Address on File]     5/21/2023 Bitcoin                             0.00035983 Customer Transfer
 Confidential Customer Coin Transferee #11598   [Address on File]     5/25/2023 Bitcoin                             0.00162788 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11599   [Address on File]     5/26/2023 Bitcoin                             0.00149669 Customer Transfer
 Confidential Customer Coin Transferee #11599   [Address on File]      6/1/2023 Bitcoin                             0.00074118 Customer Transfer
 Confidential Customer Coin Transferee #11599   [Address on File]      6/7/2023 Bitcoin                             0.00073259 Customer Transfer
 Confidential Customer Coin Transferee #11600   [Address on File]     6/20/2023 Bitcoin                             0.00057257 Customer Transfer
 Confidential Customer Coin Transferee #11601   [Address on File]     5/18/2023 Bitcoin                             0.00172209 Customer Transfer
 Confidential Customer Coin Transferee #11602   [Address on File]     6/20/2023 Bitcoin                             0.01386466 Customer Transfer
 Confidential Customer Coin Transferee #11603   [Address on File]     5/26/2023 Bitcoin                             0.00115146 Customer Transfer
 Confidential Customer Coin Transferee #11603   [Address on File]     5/25/2023 Bitcoin                             0.00098953 Customer Transfer
 Confidential Customer Coin Transferee #11603   [Address on File]     5/26/2023 Bitcoin                              0.0009661 Customer Transfer
 Confidential Customer Coin Transferee #11603   [Address on File]     5/19/2023 Bitcoin                              0.0009621 Customer Transfer
 Confidential Customer Coin Transferee #11603   [Address on File]     5/23/2023 Bitcoin                             0.00095035 Customer Transfer
 Confidential Customer Coin Transferee #11603   [Address on File]     5/18/2023 Bitcoin                              0.0009451 Customer Transfer
 Confidential Customer Coin Transferee #11603   [Address on File]     5/31/2023 Bitcoin                             0.00093516 Customer Transfer
 Confidential Customer Coin Transferee #11604   [Address on File]     5/26/2023 Bitcoin                             0.00184836 Customer Transfer
 Confidential Customer Coin Transferee #11604   [Address on File]     5/19/2023 Bitcoin                             0.00180238 Customer Transfer
 Confidential Customer Coin Transferee #11605   [Address on File]     5/22/2023 Bitcoin                             0.00114301 Customer Transfer
 Confidential Customer Coin Transferee #11606   [Address on File]     6/20/2023 Bitcoin                             0.00028937 Customer Transfer
 Confidential Customer Coin Transferee #11607   [Address on File]     6/20/2023 Bitcoin                              0.0016528 Customer Transfer
 Confidential Customer Coin Transferee #11608   [Address on File]     5/19/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #11608   [Address on File]     5/19/2023 Bitcoin                                  0.0129 Customer Transfer
 Confidential Customer Coin Transferee #11609   [Address on File]     6/19/2023 Bitcoin                             0.00635567 Customer Transfer
 Confidential Customer Coin Transferee #11610   [Address on File]     5/17/2023 Bitcoin                             0.00093044 Customer Transfer
 Confidential Customer Coin Transferee #11611   [Address on File]     6/19/2023 Bitcoin                              0.0005783 Customer Transfer
 Confidential Customer Coin Transferee #11612   [Address on File]     5/25/2023 Bitcoin                             0.00144774 Customer Transfer
 Confidential Customer Coin Transferee #11612   [Address on File]     5/20/2023 Bitcoin                             0.00105266 Customer Transfer
 Confidential Customer Coin Transferee #11612   [Address on File]      6/1/2023 Bitcoin                             0.00070597 Customer Transfer
 Confidential Customer Coin Transferee #11612   [Address on File]     5/22/2023 Bitcoin                             0.00052998 Customer Transfer
 Confidential Customer Coin Transferee #11613   [Address on File]     5/25/2023 Bitcoin                             0.00043384 Customer Transfer
 Confidential Customer Coin Transferee #11614   [Address on File]     5/30/2023 Tether USD                           2775.4483 Customer Transfer

 Confidential Customer Coin Transferee #11615   [Address on File]     5/16/2023 Bitcoin                                  0.001143 Customer Transfer

 Confidential Customer Coin Transferee #11615   [Address on File]     5/19/2023 Bitcoin                                   0.000168 Customer Transfer
 Confidential Customer Coin Transferee #11616   [Address on File]     6/19/2023 Bitcoin                                0.00085095 Customer Transfer
 Confidential Customer Coin Transferee #11617   [Address on File]     5/22/2023 Bitcoin                                0.00246651 Customer Transfer
 Confidential Customer Coin Transferee #11617   [Address on File]      6/5/2023 Bitcoin                                0.00146608 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11617   [Address on File]     6/20/2023 Bitcoin                             0.00077191 Customer Transfer
 Confidential Customer Coin Transferee #11618   [Address on File]     6/19/2023 Bitcoin                             0.00034378 Customer Transfer

 Confidential Customer Coin Transferee #11619   [Address on File]     6/19/2023 Bitcoin                                0.00091017 Customer Transfer
 Confidential Customer Coin Transferee #11620   [Address on File]     5/25/2023 Bitcoin                                0.05131358 Customer Transfer
 Confidential Customer Coin Transferee #11621   [Address on File]     5/25/2023 Bitcoin                                      0.005 Customer Transfer

 Confidential Customer Coin Transferee #11622   [Address on File]     5/26/2023 Bitcoin                                0.00375853 Customer Transfer
 Confidential Customer Coin Transferee #11623   [Address on File]     5/21/2023 Bitcoin                                0.01286424 Customer Transfer
 Confidential Customer Coin Transferee #11624   [Address on File]     5/29/2023 Bitcoin                                0.01574892 Customer Transfer
 Confidential Customer Coin Transferee #11624   [Address on File]     6/19/2023 Bitcoin                                0.00390207 Customer Transfer
 Confidential Customer Coin Transferee #11625   [Address on File]     5/19/2023 Bitcoin                                0.00369313 Customer Transfer
 Confidential Customer Coin Transferee #11625   [Address on File]     5/26/2023 Bitcoin                                0.00145538 Customer Transfer
 Confidential Customer Coin Transferee #11626   [Address on File]     5/19/2023 Bitcoin                                0.00111191 Customer Transfer
 Confidential Customer Coin Transferee #11626   [Address on File]     5/20/2023 Bitcoin                                0.00092455 Customer Transfer
 Confidential Customer Coin Transferee #11626   [Address on File]     5/22/2023 Bitcoin                                0.00092396 Customer Transfer
 Confidential Customer Coin Transferee #11626   [Address on File]     5/18/2023 Bitcoin                                0.00072647 Customer Transfer
 Confidential Customer Coin Transferee #11627   [Address on File]     6/19/2023 Bitcoin                                0.00005639 Customer Transfer
 Confidential Customer Coin Transferee #11628   [Address on File]     6/20/2023 Bitcoin                                0.00119248 Customer Transfer
 Confidential Customer Coin Transferee #11629   [Address on File]     6/19/2023 Bitcoin                                0.00004307 Customer Transfer
 Confidential Customer Coin Transferee #11630   [Address on File]     5/18/2023 Bitcoin                                 0.0288132 Customer Transfer
 Confidential Customer Coin Transferee #11631   [Address on File]     5/22/2023 Bitcoin                                0.08133471 Customer Transfer
 Confidential Customer Coin Transferee #11632   [Address on File]     5/16/2023 Bitcoin                                0.05184633 Customer Transfer
 Confidential Customer Coin Transferee #11633   [Address on File]     5/26/2023 Bitcoin                                0.00919783 Customer Transfer
 Confidential Customer Coin Transferee #11633   [Address on File]     5/19/2023 Bitcoin                                 0.0090325 Customer Transfer
 Confidential Customer Coin Transferee #11634   [Address on File]     6/20/2023 Bitcoin                                0.00609948 Customer Transfer
 Confidential Customer Coin Transferee #11635   [Address on File]     5/17/2023 Bitcoin                                0.00369838 Customer Transfer
 Confidential Customer Coin Transferee #11635   [Address on File]     5/20/2023 Bitcoin                                0.00277537 Customer Transfer
 Confidential Customer Coin Transferee #11635   [Address on File]     5/20/2023 Bitcoin                                0.00259067 Customer Transfer
 Confidential Customer Coin Transferee #11635   [Address on File]     5/19/2023 Bitcoin                                0.00221948 Customer Transfer
 Confidential Customer Coin Transferee #11635   [Address on File]     5/17/2023 Bitcoin                                0.00185122 Customer Transfer
 Confidential Customer Coin Transferee #11635   [Address on File]     5/30/2023 Bitcoin                                0.00174173 Customer Transfer
 Confidential Customer Coin Transferee #11635   [Address on File]     5/30/2023 Bitcoin                                   0.001697 Customer Transfer
 Confidential Customer Coin Transferee #11635   [Address on File]     5/20/2023 Bitcoin                                0.00162773 Customer Transfer
 Confidential Customer Coin Transferee #11635   [Address on File]     5/29/2023 Bitcoin                                0.00105081 Customer Transfer
 Confidential Customer Coin Transferee #11635   [Address on File]     5/17/2023 Bitcoin                                0.00090998 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11636   [Address on File]     6/20/2023 Bitcoin                             0.04710774 Customer Transfer
 Confidential Customer Coin Transferee #11637   [Address on File]     5/17/2023 Bitcoin                             0.03733795 Customer Transfer
 Confidential Customer Coin Transferee #11637   [Address on File]     5/22/2023 Bitcoin                             0.03728379 Customer Transfer
 Confidential Customer Coin Transferee #11637   [Address on File]     5/18/2023 Bitcoin                             0.03727954 Customer Transfer
 Confidential Customer Coin Transferee #11637   [Address on File]     5/25/2023 Bitcoin                                0.037186 Customer Transfer
 Confidential Customer Coin Transferee #11637   [Address on File]     5/19/2023 Bitcoin                             0.03702407 Customer Transfer
 Confidential Customer Coin Transferee #11637   [Address on File]     5/21/2023 Bitcoin                             0.03695709 Customer Transfer
 Confidential Customer Coin Transferee #11638   [Address on File]     5/17/2023 Bitcoin                             0.00267864 Customer Transfer
 Confidential Customer Coin Transferee #11639   [Address on File]     6/19/2023 Bitcoin                             0.00005834 Customer Transfer
 Confidential Customer Coin Transferee #11640   [Address on File]     6/19/2023 Bitcoin                             0.00011648 Customer Transfer
 Confidential Customer Coin Transferee #11641   [Address on File]     5/21/2023 Bitcoin                             0.03628582 Customer Transfer
 Confidential Customer Coin Transferee #11642   [Address on File]     5/27/2023 Bitcoin                                    0.101 Customer Transfer
 Confidential Customer Coin Transferee #11643   [Address on File]     5/28/2023 Bitcoin                             0.02871072 Customer Transfer
 Confidential Customer Coin Transferee #11644   [Address on File]     5/27/2023 Bitcoin                             0.00185854 Customer Transfer

 Confidential Customer Coin Transferee #11645   [Address on File]     5/28/2023 Bitcoin                                0.01955784 Customer Transfer

 Confidential Customer Coin Transferee #11645   [Address on File]     5/25/2023 Bitcoin                                0.01461564 Customer Transfer

 Confidential Customer Coin Transferee #11646   [Address on File]     6/19/2023 Bitcoin                                0.00116442 Customer Transfer

 Confidential Customer Coin Transferee #11646   [Address on File]     6/19/2023 Bitcoin                                0.00019391 Customer Transfer
 Confidential Customer Coin Transferee #11647   [Address on File]     5/16/2023 Bitcoin                                   0.061576 Customer Transfer

 Confidential Customer Coin Transferee #11648   [Address on File]     5/19/2023 Bitcoin                                0.00039832 Customer Transfer
 Confidential Customer Coin Transferee #11649   [Address on File]     6/19/2023 Bitcoin                                0.00280633 Customer Transfer
 Confidential Customer Coin Transferee #11650   [Address on File]     5/26/2023 Bitcoin                                 0.0145765 Customer Transfer
 Confidential Customer Coin Transferee #11651   [Address on File]     5/17/2023 Bitcoin                                0.00347363 Customer Transfer
 Confidential Customer Coin Transferee #11652   [Address on File]     5/24/2023 Bitcoin                                0.33938221 Customer Transfer
 Confidential Customer Coin Transferee #11652   [Address on File]     5/27/2023 Bitcoin                                0.01887505 Customer Transfer
 Confidential Customer Coin Transferee #11653   [Address on File]     5/24/2023 Bitcoin                                0.00037361 Customer Transfer
 Confidential Customer Coin Transferee #11653   [Address on File]     5/17/2023 Bitcoin                                0.00034576 Customer Transfer
 Confidential Customer Coin Transferee #11654   [Address on File]     5/26/2023 Bitcoin                                0.03881087 Customer Transfer
 Confidential Customer Coin Transferee #11655   [Address on File]     5/19/2023 Bitcoin                                0.01033193 Customer Transfer
 Confidential Customer Coin Transferee #11656   [Address on File]      6/5/2023 USDC Avalanche)                        192.763618 Customer Transfer
 Confidential Customer Coin Transferee #11656   [Address on File]     6/10/2023 USDC Avalanche)                        192.754347 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #11657   [Address on File]     5/23/2023 Bitcoin                                0.02082494 Customer Transfer
 Confidential Customer Coin Transferee #11658   [Address on File]     5/24/2023 Bitcoin                                0.00223314 Customer Transfer
 Confidential Customer Coin Transferee #11659   [Address on File]     5/24/2023 Bitcoin                                      0.185 Customer Transfer
 Confidential Customer Coin Transferee #11659   [Address on File]     5/16/2023 Bitcoin                                      0.015 Customer Transfer
 Confidential Customer Coin Transferee #11659   [Address on File]     5/18/2023 Bitcoin                                      0.004 Customer Transfer
 Confidential Customer Coin Transferee #11659   [Address on File]     5/18/2023 Bitcoin                                      0.004 Customer Transfer
 Confidential Customer Coin Transferee #11660   [Address on File]     5/19/2023 Bitcoin                                0.00254798 Customer Transfer
 Confidential Customer Coin Transferee #11660   [Address on File]     5/16/2023 Bitcoin                                 0.0020254 Customer Transfer
 Confidential Customer Coin Transferee #11660   [Address on File]     5/25/2023 Bitcoin                                0.00109298 Customer Transfer
 Confidential Customer Coin Transferee #11661   [Address on File]     5/26/2023 Bitcoin                                0.00191774 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     6/12/2023 Bitcoin                                0.01208999 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/30/2023 Bitcoin                                0.00249089 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/22/2023 Bitcoin                                0.00219779 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]      6/6/2023 Bitcoin                                0.00182511 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/22/2023 Bitcoin                                 0.0013766 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     6/13/2023 Bitcoin                                0.00115188 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     6/16/2023 Bitcoin                                0.00106888 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     6/12/2023 Bitcoin                                0.00095412 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/30/2023 Bitcoin                                0.00093312 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     6/14/2023 Bitcoin                                0.00087205 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/22/2023 Bitcoin                                0.00075915 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/19/2023 Bitcoin                                 0.0007367 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]      6/2/2023 Bitcoin                                0.00073643 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/31/2023 Bitcoin                                0.00071666 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]      6/9/2023 Bitcoin                                0.00071404 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/23/2023 Bitcoin                                0.00069915 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]      6/8/2023 Bitcoin                                0.00062845 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]      6/7/2023 Bitcoin                                0.00062045 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/16/2023 Bitcoin                                0.00051719 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/24/2023 Bitcoin                                0.00042881 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]      6/7/2023 Bitcoin                                0.00042193 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/24/2023 Bitcoin                                0.00037617 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/19/2023 Bitcoin                                0.00036675 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]      6/1/2023 Bitcoin                                0.00036664 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/16/2023 Bitcoin                                0.00036646 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/16/2023 Bitcoin                             0.00036623 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/17/2023 Bitcoin                             0.00036612 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/18/2023 Bitcoin                             0.00036222 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/29/2023 Bitcoin                             0.00035875 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/24/2023 Bitcoin                             0.00031801 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]      6/2/2023 Bitcoin                             0.00026388 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/16/2023 Bitcoin                             0.00025388 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     6/17/2023 Bitcoin                             0.00023221 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/25/2023 Bitcoin                             0.00018894 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     5/26/2023 Bitcoin                             0.00015056 Customer Transfer
 Confidential Customer Coin Transferee #11662   [Address on File]     6/15/2023 Bitcoin                             0.00011536 Customer Transfer
 Confidential Customer Coin Transferee #11663   [Address on File]     5/30/2023 Bitcoin                             0.00357072 Customer Transfer
 Confidential Customer Coin Transferee #11664   [Address on File]     6/12/2023 Bitcoin                             0.00077113 Customer Transfer
 Confidential Customer Coin Transferee #11665   [Address on File]      6/6/2023 USDC Avalanche)                      52.818872 Customer Transfer
 Confidential Customer Coin Transferee #11666   [Address on File]      6/1/2023 USDC Avalanche)                      41.969015 Customer Transfer
 Confidential Customer Coin Transferee #11667   [Address on File]     5/17/2023 USDC Avalanche)                     496.880935 Customer Transfer
 Confidential Customer Coin Transferee #11667   [Address on File]     5/30/2023 USDC Avalanche)                     496.791604 Customer Transfer
 Confidential Customer Coin Transferee #11667   [Address on File]     5/18/2023 USDC Avalanche)                     496.781609 Customer Transfer
 Confidential Customer Coin Transferee #11667   [Address on File]     5/26/2023 USDC Avalanche)                     421.951219 Customer Transfer
 Confidential Customer Coin Transferee #11667   [Address on File]     5/23/2023 USDC Avalanche)                     247.156421 Customer Transfer
 Confidential Customer Coin Transferee #11667   [Address on File]     5/24/2023 USDC Avalanche)                     247.120575 Customer Transfer
 Confidential Customer Coin Transferee #11667   [Address on File]      6/5/2023 USDC Avalanche)                      222.21889 Customer Transfer
 Confidential Customer Coin Transferee #11667   [Address on File]     5/24/2023 USDC Avalanche)                     197.271091 Customer Transfer
 Confidential Customer Coin Transferee #11667   [Address on File]     5/19/2023 USDC Avalanche)                     197.231384 Customer Transfer
 Confidential Customer Coin Transferee #11667   [Address on File]     5/19/2023 USDC Avalanche)                     197.231384 Customer Transfer
 Confidential Customer Coin Transferee #11667   [Address on File]      6/1/2023 USDC Avalanche)                      97.381309 Customer Transfer
 Confidential Customer Coin Transferee #11668   [Address on File]     5/16/2023 Bitcoin                             0.04144917 Customer Transfer

 Confidential Customer Coin Transferee #11669   [Address on File]     5/27/2023 Bitcoin                                      0.02 Customer Transfer

 Confidential Customer Coin Transferee #11669   [Address on File]     5/18/2023 Bitcoin                                      0.01 Customer Transfer

 Confidential Customer Coin Transferee #11669   [Address on File]     5/22/2023 Bitcoin                                      0.01 Customer Transfer

 Confidential Customer Coin Transferee #11669   [Address on File]     5/19/2023 Bitcoin                                      0.005 Customer Transfer
 Confidential Customer Coin Transferee #11670   [Address on File]     6/12/2023 Bitcoin                                0.06447695 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11671   [Address on File]     5/22/2023 Bitcoin                             0.01124134 Customer Transfer
 Confidential Customer Coin Transferee #11671   [Address on File]     5/29/2023 Bitcoin                             0.01115362 Customer Transfer
 Confidential Customer Coin Transferee #11672   [Address on File]     6/20/2023 Bitcoin                             0.00146814 Customer Transfer
 Confidential Customer Coin Transferee #11673   [Address on File]     6/20/2023 Bitcoin                             0.00369251 Customer Transfer
 Confidential Customer Coin Transferee #11674   [Address on File]      6/9/2023 Bitcoin                             0.00900637 Customer Transfer
 Confidential Customer Coin Transferee #11675   [Address on File]     5/20/2023 Bitcoin                                0.001806 Customer Transfer
 Confidential Customer Coin Transferee #11676   [Address on File]     5/21/2023 Bitcoin                             0.00738929 Customer Transfer
 Confidential Customer Coin Transferee #11676   [Address on File]     5/19/2023 Bitcoin                              0.0055451 Customer Transfer
 Confidential Customer Coin Transferee #11676   [Address on File]     5/25/2023 Bitcoin                             0.00378868 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                     308.389796 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            297.021191 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     272.144707 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                            248.885557 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     243.488255 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                             223.56586 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                             223.56586 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            216.503398 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     209.349147 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     209.327354 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                      208.82177 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                            195.391843 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                            190.883646 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            190.836414 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            185.151878 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                              178.8327 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                            178.5 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                            175.1 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                            169.138516 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     168.653443 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     164.827586 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            162.602438 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            162.348825 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            160.253847 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                      158.83235 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     155.826504 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                            155.3 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date         Crypto Currency               Unit Count        or Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                            150 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            147.836081 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            147.696151 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            146.831267 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                            146.801918 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                            146.801918 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     146.377678 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/19/2023 USDC Avalanche)                           146.3 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                             143.89805 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     141.195814 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            141.169415 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     140.542156 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                             140.03998 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                      139.63524 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                           139.2 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            138.320839 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                     138.320839 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            138.307015 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            136.665333 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USD Coin                            136.651674 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                      135.11709 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                           135.1 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            134.389366 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                           133.8 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                             130.43174 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            129.885057 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            128.581425 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            128.555722 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                     126.898544 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            124.237881 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            124.237881 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            123.368315 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            122.988505 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            122.988505 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                             122.97851 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                             122.97851 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date         Crypto Currency               Unit Count        or Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USD Coin                            122.968515 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            122.956226 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            122.956226 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                            122.953932 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     122.625336 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/19/2023 USDC Avalanche)                           122.6 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/19/2023 USDC Avalanche)                           122.6 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                     121.966819 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USD Coin                            121.966819 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/7/2023 USD Coin                            121.871251 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                           121.4 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                           120.3 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            120.167899 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            119.700149 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USD Coin                            118.590704 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            118.580709 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            118.580709 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     118.247956 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                           117.8 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     117.669922 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                            117.401299 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            117.391304 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            117.391304 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/18/2023 USDC Avalanche)                     117.075358 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     117.020428 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                           116.9 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            116.891554 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     115.924265 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                           114.8 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                            114.451329 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                     111.825269 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            111.815273 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                            111.814092 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            111.805277 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            111.805277 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                            111.804097 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date         Crypto Currency               Unit Count        or Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            111.804097 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            111.804097 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/7/2023 USD Coin                            111.794102 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            111.794102 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            111.792924 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                             111.78293 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            111.772936 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                     111.772936 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                            111.771759 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            111.760591 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                     111.513157 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     111.503189 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     111.503189 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     111.493221 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/18/2023 USDC Avalanche)                     111.470998 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                           111.4 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/19/2023 USDC Avalanche)                            104 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USD Coin                              102.5987 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     101.659336 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                            101.639016 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            101.309476 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                      98.150739 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                      97.867038 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                      97.857285 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                      97.857285 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                      97.847533 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                       96.07335 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                             96 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/19/2023 USDC Avalanche)                            91.6 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                            91.6 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                              90.91545 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                       90.66175 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                             90.345792 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/19/2023 USDC Avalanche)                            89.6 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                              89.22431 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                             89.215392 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date         Crypto Currency               Unit Count        or Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            89.215392 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            89.215392 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            89.215392 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            89.215392 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     89.215392 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                            89.206476 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                            89.206476 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                            89.206476 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            89.206476 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     89.206476 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                       88.96641 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/18/2023 USDC Avalanche)                       88.96641 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                       88.96641 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     88.930955 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/19/2023 USDC Avalanche)                            88.9 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                            88.9 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                            88.9 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                            88.9 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                            86.966516 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            86.396801 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USD Coin                            85.538676 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     85.109139 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USD Coin                            84.724582 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            84.707646 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     84.597701 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/7/2023 USD Coin                            84.436225 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     84.436225 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                     84.419348 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                            83.3 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            80.757696 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            80.749625 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            80.741555 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            80.733486 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            80.521686 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                            80.027988 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            79.952028 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date         Crypto Currency               Unit Count       or Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            79.280359 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     79.060469 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                     79.051225 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                            79.044668 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/19/2023 USDC Avalanche)                             79 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                            78.550724 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     78.189792 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     76.400239 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            74.452773 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            73.413293 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                     73.413293 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                     73.413293 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     73.413293 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                            73.405956 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            73.405956 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            73.405956 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                            73.405956 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                            73.405956 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            73.405956 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            73.405956 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     73.215709 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/18/2023 USDC Avalanche)                     73.208412 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/22/2023 USDC Avalanche)                     73.208412 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     73.201116 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                           73.2 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     73.193821 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     73.193821 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                           73.1 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                           73.1 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     71.227825 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            69.988007 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     69.785749 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                     69.228462 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            68.718768 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/22/2023 USDC Avalanche)                     68.520179 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                           68.5 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date         Crypto Currency               Unit Count        or Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/11/2023 USD Coin                            68.319008 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/22/2023 USDC Avalanche)                     67.882411 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            67.153138 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                     66.895933 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            66.626686 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                     65.347817 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     65.035383 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                            64.947526 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                            64.761143 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            64.277861 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/7/2023 USD Coin                            63.644542 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     63.644542 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/7/2023 USD Coin                              63.63818 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                              63.63818 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                              63.63818 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                              63.63818 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                              63.63818 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                       63.63818 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                              63.63182 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/8/2023 USD Coin                              63.63182 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     63.473232 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     63.466905 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                       63.46058 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     63.454255 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/17/2023 USDC Avalanche)                     63.454255 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     63.447932 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                     63.447932 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                            63.4 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/20/2023 USDC Avalanche)                            63.4 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/21/2023 USDC Avalanche)                            63.4 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]      6/9/2023 USD Coin                            62.822306 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/12/2023 USD Coin                            62.125149 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/10/2023 USD Coin                              62.11894 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/13/2023 USD Coin                              62.11894 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USD Coin                              62.11894 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/14/2023 USD Coin                            62.112732 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                      62.106525 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/18/2023 USDC Avalanche)                      61.951754 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/18/2023 USDC Avalanche)                      61.939406 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/16/2023 USDC Avalanche)                      55.740482 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                      55.332333 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/19/2023 USDC Avalanche)                              50.2 Customer Transfer
 Confidential Customer Coin Transferee #11677   [Address on File]     6/15/2023 USDC Avalanche)                           0.9994 Customer Transfer
 Confidential Customer Coin Transferee #11678   [Address on File]     6/20/2023 Bitcoin                             0.00103492 Customer Transfer
 Confidential Customer Coin Transferee #11679   [Address on File]     5/25/2023 Bitcoin                             0.00272614 Customer Transfer
 Confidential Customer Coin Transferee #11680   [Address on File]     5/22/2023 Bitcoin                              0.0018498 Customer Transfer
 Confidential Customer Coin Transferee #11681   [Address on File]     6/20/2023 Bitcoin                             0.03055997 Customer Transfer
 Confidential Customer Coin Transferee #11682   [Address on File]     6/14/2023 Tether USD                          717.521132 Customer Transfer
 Confidential Customer Coin Transferee #11683   [Address on File]     6/14/2023 Litecoin                               219.3274 Customer Transfer
 Confidential Customer Coin Transferee #11683   [Address on File]     6/14/2023 Ether                                   8.48958 Customer Transfer
 Confidential Customer Coin Transferee #11684   [Address on File]     6/12/2023 Tether USD                          10189.2045 Customer Transfer
 Confidential Customer Coin Transferee #11684   [Address on File]     6/12/2023 Ether                               4.27739315 Customer Transfer
 Confidential Customer Coin Transferee #11685   [Address on File]     6/12/2023 Litecoin                            7.27223548 Customer Transfer
 Confidential Customer Coin Transferee #11685   [Address on File]     6/12/2023 Bitcoin                             0.33131823 Customer Transfer
 Confidential Customer Coin Transferee #11686   [Address on File]     5/26/2023 Bitcoin                             0.02769943 Customer Transfer
 Confidential Customer Coin Transferee #11687   [Address on File]     6/20/2023 Bitcoin                             0.00041122 Customer Transfer
 Confidential Customer Coin Transferee #11688   [Address on File]      6/7/2023 Bitcoin                             2.00624538 Customer Transfer
 Confidential Customer Coin Transferee #11689   [Address on File]     6/19/2023 Bitcoin                              0.0019028 Customer Transfer
 Confidential Customer Coin Transferee #11690   [Address on File]     6/20/2023 Bitcoin                             0.00326406 Customer Transfer
 Confidential Customer Coin Transferee #11691   [Address on File]     5/19/2023 Bitcoin                              0.0073947 Customer Transfer
 Confidential Customer Coin Transferee #11691   [Address on File]     5/20/2023 Bitcoin                             0.00368371 Customer Transfer
 Confidential Customer Coin Transferee #11691   [Address on File]     5/27/2023 Bitcoin                             0.00186303 Customer Transfer
 Confidential Customer Coin Transferee #11692   [Address on File]     5/18/2023 Bitcoin                                0.014693 Customer Transfer
 Confidential Customer Coin Transferee #11692   [Address on File]     5/28/2023 Bitcoin                             0.01112927 Customer Transfer
 Confidential Customer Coin Transferee #11692   [Address on File]     5/24/2023 Bitcoin                             0.01108053 Customer Transfer
 Confidential Customer Coin Transferee #11692   [Address on File]     5/30/2023 Bitcoin                             0.00752415 Customer Transfer
 Confidential Customer Coin Transferee #11692   [Address on File]     5/20/2023 Bitcoin                              0.0018242 Customer Transfer
 Confidential Customer Coin Transferee #11693   [Address on File]     6/20/2023 Bitcoin                             0.00119337 Customer Transfer
 Confidential Customer Coin Transferee #11694   [Address on File]     6/19/2023 Bitcoin                             0.00004468 Customer Transfer
 Confidential Customer Coin Transferee #11695   [Address on File]     5/26/2023 Bitcoin                             0.01839894 Customer Transfer
 Confidential Customer Coin Transferee #11695   [Address on File]     5/19/2023 Bitcoin                             0.01085597 Customer Transfer
 Confidential Customer Coin Transferee #11696   [Address on File]     5/17/2023 Bitcoin                             0.02559028 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11697   [Address on File]     5/23/2023 Bitcoin                             0.00732795 Customer Transfer
 Confidential Customer Coin Transferee #11698   [Address on File]     5/23/2023 Bitcoin                             0.00073126 Customer Transfer

 Confidential Customer Coin Transferee #11699   [Address on File]     6/19/2023 Bitcoin                                0.01485365 Customer Transfer
 Confidential Customer Coin Transferee #11700   [Address on File]     5/21/2023 Bitcoin                                0.01128869 Customer Transfer
 Confidential Customer Coin Transferee #11700   [Address on File]     5/28/2023 Bitcoin                                0.01039471 Customer Transfer
 Confidential Customer Coin Transferee #11701   [Address on File]     6/20/2023 Bitcoin                                0.00055497 Customer Transfer
 Confidential Customer Coin Transferee #11702   [Address on File]     6/20/2023 Bitcoin                                0.00248511 Customer Transfer

 Confidential Customer Coin Transferee #11703   [Address on File]     6/21/2023 Tether USD                                  34994 Customer Transfer

 Confidential Customer Coin Transferee #11703   [Address on File]     6/15/2023 Tether USD                                   9995 Customer Transfer

 Confidential Customer Coin Transferee #11703   [Address on File]     6/15/2023 Tether USD                                    9945 Customer Transfer
 Confidential Customer Coin Transferee #11704   [Address on File]     6/20/2023 Bitcoin                                0.00109585 Customer Transfer
 Confidential Customer Coin Transferee #11705   [Address on File]     5/24/2023 Bitcoin                                0.00633163 Customer Transfer
 Confidential Customer Coin Transferee #11706   [Address on File]     6/20/2023 Bitcoin                                0.00017914 Customer Transfer
 Confidential Customer Coin Transferee #11707   [Address on File]     6/20/2023 Bitcoin                                0.00181715 Customer Transfer
 Confidential Customer Coin Transferee #11708   [Address on File]      6/5/2023 Avalanche CChain)                        3.703969 Customer Transfer
 Confidential Customer Coin Transferee #11709   [Address on File]     5/19/2023 Bitcoin                                0.00708307 Customer Transfer
 Confidential Customer Coin Transferee #11710   [Address on File]      6/1/2023 Tether USD                              1186.8568 Customer Transfer
 Confidential Customer Coin Transferee #11710   [Address on File]     6/21/2023 Tether USD                                 94.0996 Customer Transfer
 Confidential Customer Coin Transferee #11711   [Address on File]     6/10/2023 Tether USD                              502.40663 Customer Transfer
 Confidential Customer Coin Transferee #11712   [Address on File]     5/22/2023 Bitcoin                                 0.0501314 Customer Transfer
 Confidential Customer Coin Transferee #11713   [Address on File]     5/18/2023 Bitcoin                                0.00090725 Customer Transfer
 Confidential Customer Coin Transferee #11714   [Address on File]     5/20/2023 Bitcoin                                0.00184773 Customer Transfer
 Confidential Customer Coin Transferee #11715   [Address on File]     5/26/2023 Bitcoin                                0.06109887 Customer Transfer
 Confidential Customer Coin Transferee #11716   [Address on File]     6/20/2023 Bitcoin                                0.00010982 Customer Transfer
 Confidential Customer Coin Transferee #11717   [Address on File]     6/19/2023 Bitcoin                                 0.0003842 Customer Transfer
 Confidential Customer Coin Transferee #11718   [Address on File]     6/12/2023 Bitcoin                                0.00204012 Customer Transfer
 Confidential Customer Coin Transferee #11719   [Address on File]     5/29/2023 Bitcoin                                0.01874528 Customer Transfer
 Confidential Customer Coin Transferee #11720   [Address on File]     5/23/2023 Bitcoin                                0.08607658 Customer Transfer
 Confidential Customer Coin Transferee #11721   [Address on File]     5/19/2023 Bitcoin                                0.00091158 Customer Transfer
 Confidential Customer Coin Transferee #11721   [Address on File]     5/26/2023 Bitcoin                                0.00090996 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/17/2023 USDC Solana)                                  1000 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/31/2023 USDC Solana)                                832.14 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     6/15/2023 USDC Solana)                              832.14 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/17/2023 USDC Solana)                                  25 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/18/2023 USDC Solana)                                  10 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/26/2023 USDC Solana)                                  10 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/26/2023 USDC Solana)                                  10 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     6/13/2023 USDC Solana)                                  10 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/18/2023 USDC Solana)                                   7 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/31/2023 USDC Solana)                                   5 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]      6/1/2023 USDC Solana)                                   5 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     6/13/2023 USDC Solana)                                   5 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/19/2023 USDC Solana)                                   3 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/16/2023 USDC Solana)                                   2 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/30/2023 USDC Solana)                                   2 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/23/2023 USDC Solana)                                   1 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/23/2023 USDC Solana)                                   1 Customer Transfer
 Confidential Customer Coin Transferee #11722   [Address on File]     5/25/2023 USDC Solana)                                   1 Customer Transfer
 Confidential Customer Coin Transferee #11723   [Address on File]     5/21/2023 Bitcoin                             0.00074263 Customer Transfer
 Confidential Customer Coin Transferee #11723   [Address on File]     5/21/2023 Bitcoin                                0.000559 Customer Transfer
 Confidential Customer Coin Transferee #11724   [Address on File]     5/29/2023 Bitcoin                             0.00359175 Customer Transfer
 Confidential Customer Coin Transferee #11725   [Address on File]     5/26/2023 Bitcoin                             0.00597823 Customer Transfer
 Confidential Customer Coin Transferee #11725   [Address on File]     5/20/2023 Bitcoin                             0.00367282 Customer Transfer
 Confidential Customer Coin Transferee #11726   [Address on File]     5/26/2023 Bitcoin                             0.18698188 Customer Transfer
 Confidential Customer Coin Transferee #11727   [Address on File]     6/20/2023 Bitcoin                             0.01030481 Customer Transfer
 Confidential Customer Coin Transferee #11728   [Address on File]     6/16/2023 Bitcoin                             0.01730332 Customer Transfer
 Confidential Customer Coin Transferee #11728   [Address on File]      6/7/2023 Bitcoin                             0.00599918 Customer Transfer
 Confidential Customer Coin Transferee #11728   [Address on File]     6/12/2023 Bitcoin                             0.00371783 Customer Transfer
 Confidential Customer Coin Transferee #11729   [Address on File]     5/26/2023 Bitcoin                             0.01081607 Customer Transfer
 Confidential Customer Coin Transferee #11729   [Address on File]     5/16/2023 Bitcoin                             0.00528065 Customer Transfer
 Confidential Customer Coin Transferee #11730   [Address on File]     5/16/2023 Bitcoin                             0.00070795 Customer Transfer
 Confidential Customer Coin Transferee #11731   [Address on File]     6/16/2023 Litecoin                           11.25781077 Customer Transfer
 Confidential Customer Coin Transferee #11731   [Address on File]     6/16/2023 Bitcoin                             0.44088636 Customer Transfer
 Confidential Customer Coin Transferee #11732   [Address on File]     5/30/2023 Bitcoin                             0.00258946 Customer Transfer
 Confidential Customer Coin Transferee #11732   [Address on File]     5/23/2023 Bitcoin                             0.00252921 Customer Transfer
 Confidential Customer Coin Transferee #11733   [Address on File]     5/22/2023 Bitcoin                             0.00092799 Customer Transfer
 Confidential Customer Coin Transferee #11733   [Address on File]     5/22/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #11733   [Address on File]     5/20/2023 Bitcoin                             0.00069852 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11733   [Address on File]     5/25/2023 Bitcoin                                 0.00047 Customer Transfer
 Confidential Customer Coin Transferee #11733   [Address on File]     5/25/2023 Bitcoin                             0.00040338 Customer Transfer
 Confidential Customer Coin Transferee #11733   [Address on File]     5/16/2023 Bitcoin                             0.00003675 Customer Transfer
 Confidential Customer Coin Transferee #11734   [Address on File]     5/19/2023 Bitcoin                             0.00185312 Customer Transfer
 Confidential Customer Coin Transferee #11734   [Address on File]     5/25/2023 Bitcoin                             0.00094359 Customer Transfer
 Confidential Customer Coin Transferee #11734   [Address on File]     5/25/2023 Bitcoin                             0.00094331 Customer Transfer
 Confidential Customer Coin Transferee #11734   [Address on File]     5/26/2023 Bitcoin                             0.00092742 Customer Transfer
 Confidential Customer Coin Transferee #11734   [Address on File]     5/22/2023 Bitcoin                             0.00092448 Customer Transfer
 Confidential Customer Coin Transferee #11734   [Address on File]     5/24/2023 Bitcoin                             0.00091478 Customer Transfer
 Confidential Customer Coin Transferee #11734   [Address on File]     5/26/2023 Bitcoin                             0.00074285 Customer Transfer
 Confidential Customer Coin Transferee #11734   [Address on File]     5/26/2023 Bitcoin                             0.00074262 Customer Transfer
 Confidential Customer Coin Transferee #11734   [Address on File]     5/17/2023 Bitcoin                             0.00036379 Customer Transfer
 Confidential Customer Coin Transferee #11734   [Address on File]     5/16/2023 Bitcoin                             0.00018443 Customer Transfer
 Confidential Customer Coin Transferee #11734   [Address on File]     5/20/2023 Bitcoin                             0.00018428 Customer Transfer
 Confidential Customer Coin Transferee #11735   [Address on File]     5/27/2023 Bitcoin                             0.00018597 Customer Transfer
 Confidential Customer Coin Transferee #11736   [Address on File]     5/20/2023 Bitcoin                             0.00791663 Customer Transfer
 Confidential Customer Coin Transferee #11737   [Address on File]     5/17/2023 Bitcoin                             0.00620576 Customer Transfer
 Confidential Customer Coin Transferee #11738   [Address on File]      6/7/2023 Tether USD                                 1880 Customer Transfer
 Confidential Customer Coin Transferee #11739   [Address on File]      6/6/2023 Tether USD                                 1495 Customer Transfer
 Confidential Customer Coin Transferee #11740   [Address on File]     6/20/2023 Bitcoin                             0.00019984 Customer Transfer

 Confidential Customer Coin Transferee #11741   [Address on File]     5/22/2023 Bitcoin                                0.00248393 Customer Transfer

 Confidential Customer Coin Transferee #11741   [Address on File]      6/8/2023 Bitcoin                                0.00075099 Customer Transfer


 Confidential Customer Coin Transferee #11742   [Address on File]      6/6/2023 Tether USD                              2446.7582 Customer Transfer
 Confidential Customer Coin Transferee #11743   [Address on File]     5/30/2023 Tether USD                                   1569.1 Customer Transfer
 Confidential Customer Coin Transferee #11744   [Address on File]     5/28/2023 Bitcoin                                0.02536584 Customer Transfer
 Confidential Customer Coin Transferee #11745   [Address on File]      6/1/2023 Bitcoin                                   0.032865 Customer Transfer
 Confidential Customer Coin Transferee #11746   [Address on File]     5/16/2023 Bitcoin                                    0.01642 Customer Transfer
 Confidential Customer Coin Transferee #11747   [Address on File]     5/24/2023 Bitcoin                                 0.0018568 Customer Transfer
 Confidential Customer Coin Transferee #11748   [Address on File]     5/30/2023 Bitcoin                                0.01015223 Customer Transfer
 Confidential Customer Coin Transferee #11749   [Address on File]     5/17/2023 Bitcoin                                0.02125692 Customer Transfer
 Confidential Customer Coin Transferee #11750   [Address on File]     6/20/2023 Bitcoin                                0.00003962 Customer Transfer
 Confidential Customer Coin Transferee #11751   [Address on File]     6/19/2023 Bitcoin                                0.00299003 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11752   [Address on File]     5/28/2023 Bitcoin                              0.0101578 Customer Transfer
 Confidential Customer Coin Transferee #11753   [Address on File]     5/27/2023 Bitcoin                             0.00094629 Customer Transfer
 Confidential Customer Coin Transferee #11754   [Address on File]     6/19/2023 Bitcoin                             0.00097431 Customer Transfer
 Confidential Customer Coin Transferee #11755   [Address on File]     6/19/2023 Bitcoin                             0.07222733 Customer Transfer
 Confidential Customer Coin Transferee #11756   [Address on File]     5/17/2023 Bitcoin                             0.01712485 Customer Transfer

 Confidential Customer Coin Transferee #11757   [Address on File]     6/20/2023 Bitcoin                                 0.0011945 Customer Transfer
 Confidential Customer Coin Transferee #11758   [Address on File]     5/27/2023 Bitcoin                                 0.0018227 Customer Transfer
 Confidential Customer Coin Transferee #11758   [Address on File]     5/27/2023 Bitcoin                                0.00111632 Customer Transfer
 Confidential Customer Coin Transferee #11758   [Address on File]     5/29/2023 Bitcoin                                0.00099665 Customer Transfer
 Confidential Customer Coin Transferee #11758   [Address on File]     5/29/2023 Bitcoin                                0.00067458 Customer Transfer
 Confidential Customer Coin Transferee #11759   [Address on File]     5/19/2023 Bitcoin                                0.00070384 Customer Transfer
 Confidential Customer Coin Transferee #11760   [Address on File]     5/21/2023 Bitcoin                                0.03608622 Customer Transfer
 Confidential Customer Coin Transferee #11760   [Address on File]     5/16/2023 Bitcoin                                0.03471488 Customer Transfer
 Confidential Customer Coin Transferee #11760   [Address on File]     5/26/2023 Bitcoin                                 0.0189173 Customer Transfer
 Confidential Customer Coin Transferee #11761   [Address on File]      6/1/2023 USDC Avalanche)                        102.808595 Customer Transfer
 Confidential Customer Coin Transferee #11762   [Address on File]     5/19/2023 Bitcoin                                 0.0055561 Customer Transfer
 Confidential Customer Coin Transferee #11762   [Address on File]     5/24/2023 Bitcoin                                0.00378774 Customer Transfer
 Confidential Customer Coin Transferee #11762   [Address on File]     5/27/2023 Bitcoin                                0.00372396 Customer Transfer
 Confidential Customer Coin Transferee #11762   [Address on File]     5/22/2023 Bitcoin                                0.00370467 Customer Transfer
 Confidential Customer Coin Transferee #11762   [Address on File]     5/28/2023 Bitcoin                                0.00365429 Customer Transfer
 Confidential Customer Coin Transferee #11762   [Address on File]     5/20/2023 Bitcoin                                 0.0020213 Customer Transfer
 Confidential Customer Coin Transferee #11762   [Address on File]     5/24/2023 Bitcoin                                0.00186342 Customer Transfer
 Confidential Customer Coin Transferee #11762   [Address on File]     5/22/2023 Bitcoin                                 0.0018545 Customer Transfer
 Confidential Customer Coin Transferee #11762   [Address on File]     5/21/2023 Bitcoin                                0.00167987 Customer Transfer
 Confidential Customer Coin Transferee #11762   [Address on File]     5/21/2023 Bitcoin                                0.00166213 Customer Transfer
 Confidential Customer Coin Transferee #11763   [Address on File]     6/19/2023 Bitcoin                                0.00005453 Customer Transfer
 Confidential Customer Coin Transferee #11764   [Address on File]     6/20/2023 Bitcoin                                0.00005877 Customer Transfer
 Confidential Customer Coin Transferee #11765   [Address on File]     5/31/2023 Bitcoin                                      0.022 Customer Transfer
 Confidential Customer Coin Transferee #11766   [Address on File]     5/26/2023 Bitcoin                                0.00376842 Customer Transfer
 Confidential Customer Coin Transferee #11767   [Address on File]     5/26/2023 Bitcoin                                0.00148709 Customer Transfer
 Confidential Customer Coin Transferee #11767   [Address on File]     5/27/2023 Bitcoin                                0.00111707 Customer Transfer
 Confidential Customer Coin Transferee #11767   [Address on File]     5/27/2023 Bitcoin                                0.00074582 Customer Transfer
 Confidential Customer Coin Transferee #11768   [Address on File]     6/20/2023 Bitcoin                                0.00011639 Customer Transfer
 Confidential Customer Coin Transferee #11769   [Address on File]     6/20/2023 Bitcoin                                0.00005633 Customer Transfer
 Confidential Customer Coin Transferee #11770   [Address on File]     5/30/2023 USDC Solana)                                   100 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11771   [Address on File]     5/29/2023 Bitcoin                             0.00548063 Customer Transfer
 Confidential Customer Coin Transferee #11771   [Address on File]     5/20/2023 Bitcoin                             0.00531563 Customer Transfer
 Confidential Customer Coin Transferee #11772   [Address on File]     5/24/2023 Bitcoin                              0.0057393 Customer Transfer
 Confidential Customer Coin Transferee #11773   [Address on File]     5/20/2023 Bitcoin                              0.0258998 Customer Transfer
 Confidential Customer Coin Transferee #11774   [Address on File]     5/30/2023 Bitcoin                             0.01006346 Customer Transfer
 Confidential Customer Coin Transferee #11775   [Address on File]     5/22/2023 Bitcoin                             0.01009835 Customer Transfer
 Confidential Customer Coin Transferee #11776   [Address on File]     6/20/2023 Bitcoin                              0.0016015 Customer Transfer
 Confidential Customer Coin Transferee #11777   [Address on File]     5/21/2023 Bitcoin                             0.00143922 Customer Transfer
 Confidential Customer Coin Transferee #11777   [Address on File]     5/16/2023 Bitcoin                              0.0003321 Customer Transfer
 Confidential Customer Coin Transferee #11778   [Address on File]     5/21/2023 Bitcoin                             0.00619827 Customer Transfer
 Confidential Customer Coin Transferee #11778   [Address on File]     5/30/2023 Bitcoin                                 0.00035 Customer Transfer
 Confidential Customer Coin Transferee #11778   [Address on File]     5/30/2023 Bitcoin                                0.000015 Customer Transfer
 Confidential Customer Coin Transferee #11779   [Address on File]     6/20/2023 Bitcoin                              0.0058967 Customer Transfer
 Confidential Customer Coin Transferee #11780   [Address on File]     5/19/2023 Bitcoin                             0.00370832 Customer Transfer
 Confidential Customer Coin Transferee #11780   [Address on File]     5/28/2023 Bitcoin                             0.00365304 Customer Transfer
 Confidential Customer Coin Transferee #11780   [Address on File]     5/17/2023 Bitcoin                              0.0036299 Customer Transfer
 Confidential Customer Coin Transferee #11780   [Address on File]     5/31/2023 Bitcoin                             0.00219579 Customer Transfer
 Confidential Customer Coin Transferee #11780   [Address on File]     5/28/2023 Bitcoin                             0.00182687 Customer Transfer
 Confidential Customer Coin Transferee #11780   [Address on File]     5/28/2023 Bitcoin                             0.00182612 Customer Transfer
 Confidential Customer Coin Transferee #11780   [Address on File]     5/31/2023 Bitcoin                             0.00128136 Customer Transfer
 Confidential Customer Coin Transferee #11781   [Address on File]     5/25/2023 Bitcoin                             0.00371294 Customer Transfer
 Confidential Customer Coin Transferee #11782   [Address on File]     5/19/2023 Bitcoin                             0.00610639 Customer Transfer
 Confidential Customer Coin Transferee #11783   [Address on File]     5/24/2023 Bitcoin                             0.01861496 Customer Transfer
 Confidential Customer Coin Transferee #11784   [Address on File]     5/16/2023 Bitcoin                             0.01146575 Customer Transfer
 Confidential Customer Coin Transferee #11785   [Address on File]     6/19/2023 Bitcoin                             0.00416199 Customer Transfer
 Confidential Customer Coin Transferee #11786   [Address on File]     6/19/2023 Bitcoin                             0.00036433 Customer Transfer
 Confidential Customer Coin Transferee #11787   [Address on File]     5/29/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #11788   [Address on File]     5/25/2023 Bitcoin                             0.12088998 Customer Transfer
 Confidential Customer Coin Transferee #11789   [Address on File]     5/31/2023 Bitcoin                              0.0220649 Customer Transfer
 Confidential Customer Coin Transferee #11789   [Address on File]     5/28/2023 Bitcoin                             0.02192467 Customer Transfer
 Confidential Customer Coin Transferee #11789   [Address on File]     5/22/2023 Bitcoin                             0.01482277 Customer Transfer
 Confidential Customer Coin Transferee #11789   [Address on File]     5/17/2023 Bitcoin                             0.01289212 Customer Transfer
 Confidential Customer Coin Transferee #11789   [Address on File]     5/28/2023 Bitcoin                             0.01276699 Customer Transfer
 Confidential Customer Coin Transferee #11790   [Address on File]     5/27/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #11791   [Address on File]     5/24/2023 Bitcoin                              0.0060535 Customer Transfer
 Confidential Customer Coin Transferee #11792   [Address on File]     5/19/2023 Bitcoin                             0.00738314 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11793   [Address on File]     5/24/2023 Bitcoin                             0.01006245 Customer Transfer
 Confidential Customer Coin Transferee #11793   [Address on File]     5/20/2023 Bitcoin                                 0.00092 Customer Transfer
 Confidential Customer Coin Transferee #11794   [Address on File]     6/19/2023 Bitcoin                             0.00385503 Customer Transfer
 Confidential Customer Coin Transferee #11795   [Address on File]     5/25/2023 Bitcoin                             0.00361627 Customer Transfer
 Confidential Customer Coin Transferee #11795   [Address on File]     5/25/2023 Bitcoin                             0.00108023 Customer Transfer
 Confidential Customer Coin Transferee #11795   [Address on File]     5/26/2023 Bitcoin                              0.0010639 Customer Transfer
 Confidential Customer Coin Transferee #11796   [Address on File]     5/22/2023 Bitcoin                             0.01095463 Customer Transfer
 Confidential Customer Coin Transferee #11796   [Address on File]     5/24/2023 Bitcoin                             0.00183069 Customer Transfer
 Confidential Customer Coin Transferee #11797   [Address on File]     6/20/2023 Bitcoin                             0.00942885 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/25/2023 Bitcoin                              0.1942749 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/19/2023 Bitcoin                             0.07404675 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/19/2023 Bitcoin                                  0.0404 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/20/2023 Bitcoin                             0.03696941 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/20/2023 Bitcoin                             0.03696938 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/19/2023 Bitcoin                             0.03519866 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/20/2023 Bitcoin                             0.03364612 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/27/2023 Bitcoin                             0.03306974 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/20/2023 Bitcoin                             0.01848866 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/20/2023 Bitcoin                             0.01848561 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/20/2023 Bitcoin                              0.0184793 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/20/2023 Bitcoin                              0.0184793 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/20/2023 Bitcoin                             0.01847858 Customer Transfer
 Confidential Customer Coin Transferee #11798   [Address on File]     5/20/2023 Bitcoin                             0.01847696 Customer Transfer
 Confidential Customer Coin Transferee #11799   [Address on File]     6/20/2023 Bitcoin                              0.0000401 Customer Transfer
 Confidential Customer Coin Transferee #11800   [Address on File]     5/26/2023 Bitcoin                             0.00075124 Customer Transfer
 Confidential Customer Coin Transferee #11800   [Address on File]     5/22/2023 Bitcoin                             0.00074775 Customer Transfer
 Confidential Customer Coin Transferee #11800   [Address on File]     5/16/2023 Bitcoin                             0.00056416 Customer Transfer
 Confidential Customer Coin Transferee #11800   [Address on File]     5/17/2023 Bitcoin                             0.00055087 Customer Transfer
 Confidential Customer Coin Transferee #11800   [Address on File]     5/28/2023 Bitcoin                             0.00037308 Customer Transfer
 Confidential Customer Coin Transferee #11800   [Address on File]     5/18/2023 Bitcoin                             0.00036385 Customer Transfer
 Confidential Customer Coin Transferee #11801   [Address on File]     5/25/2023 Bitcoin                             0.01516153 Customer Transfer
 Confidential Customer Coin Transferee #11802   [Address on File]     5/23/2023 Bitcoin                             0.00444572 Customer Transfer
 Confidential Customer Coin Transferee #11803   [Address on File]     6/19/2023 Bitcoin                             0.00170877 Customer Transfer
 Confidential Customer Coin Transferee #11804   [Address on File]     5/17/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #11804   [Address on File]     5/29/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #11805   [Address on File]     5/25/2023 Bitcoin                             0.00377775 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11806   [Address on File]     5/17/2023 Bitcoin                                0.015273 Customer Transfer
 Confidential Customer Coin Transferee #11807   [Address on File]     5/30/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #11807   [Address on File]     5/26/2023 Bitcoin                                 0.00275 Customer Transfer
 Confidential Customer Coin Transferee #11807   [Address on File]     5/26/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #11807   [Address on File]     5/28/2023 Bitcoin                                 0.00159 Customer Transfer
 Confidential Customer Coin Transferee #11807   [Address on File]     5/24/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #11807   [Address on File]     5/25/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #11807   [Address on File]     5/26/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #11807   [Address on File]     5/28/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #11807   [Address on File]     5/21/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #11808   [Address on File]     5/29/2023 Bitcoin                                   0.2135 Customer Transfer
 Confidential Customer Coin Transferee #11808   [Address on File]     5/29/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #11809   [Address on File]     5/19/2023 Bitcoin                             0.01852385 Customer Transfer
 Confidential Customer Coin Transferee #11809   [Address on File]     5/25/2023 Bitcoin                             0.00947714 Customer Transfer
 Confidential Customer Coin Transferee #11809   [Address on File]     5/21/2023 Bitcoin                             0.00928614 Customer Transfer
 Confidential Customer Coin Transferee #11810   [Address on File]     6/19/2023 Bitcoin                             0.04771922 Customer Transfer
 Confidential Customer Coin Transferee #11811   [Address on File]     5/19/2023 Bitcoin                             0.04207099 Customer Transfer
 Confidential Customer Coin Transferee #11811   [Address on File]     5/29/2023 Bitcoin                                 0.00035 Customer Transfer
 Confidential Customer Coin Transferee #11812   [Address on File]     5/17/2023 Bitcoin                             0.00145235 Customer Transfer
 Confidential Customer Coin Transferee #11813   [Address on File]     5/16/2023 Bitcoin                             0.00036818 Customer Transfer
 Confidential Customer Coin Transferee #11814   [Address on File]     5/23/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #11815   [Address on File]     5/21/2023 Bitcoin                              0.1850895 Customer Transfer
 Confidential Customer Coin Transferee #11815   [Address on File]     5/26/2023 Bitcoin                             0.18398998 Customer Transfer
 Confidential Customer Coin Transferee #11815   [Address on File]     5/16/2023 Bitcoin                             0.11116949 Customer Transfer
 Confidential Customer Coin Transferee #11816   [Address on File]     6/19/2023 Bitcoin                             0.00040994 Customer Transfer
 Confidential Customer Coin Transferee #11817   [Address on File]     5/21/2023 Bitcoin                              0.0007179 Customer Transfer
 Confidential Customer Coin Transferee #11818   [Address on File]     6/19/2023 Bitcoin                             0.02031811 Customer Transfer
 Confidential Customer Coin Transferee #11819   [Address on File]     5/18/2023 Bitcoin                             0.26939013 Customer Transfer
 Confidential Customer Coin Transferee #11820   [Address on File]     6/19/2023 Bitcoin                             0.00035464 Customer Transfer
 Confidential Customer Coin Transferee #11821   [Address on File]     5/22/2023 Bitcoin                             0.01565526 Customer Transfer
 Confidential Customer Coin Transferee #11822   [Address on File]     6/20/2023 Bitcoin                             0.00079606 Customer Transfer
 Confidential Customer Coin Transferee #11823   [Address on File]     6/20/2023 Bitcoin                             0.00057933 Customer Transfer
 Confidential Customer Coin Transferee #11824   [Address on File]     6/19/2023 Bitcoin                             0.01859537 Customer Transfer
 Confidential Customer Coin Transferee #11825   [Address on File]     5/29/2023 Bitcoin                             0.00262838 Customer Transfer
 Confidential Customer Coin Transferee #11825   [Address on File]     6/20/2023 Bitcoin                             0.00129123 Customer Transfer
 Confidential Customer Coin Transferee #11826   [Address on File]     6/20/2023 Bitcoin                             0.00005953 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11827   [Address on File]     5/26/2023 Bitcoin                             0.00188424 Customer Transfer
 Confidential Customer Coin Transferee #11827   [Address on File]     5/19/2023 Bitcoin                             0.00185867 Customer Transfer
 Confidential Customer Coin Transferee #11828   [Address on File]      6/9/2023 Bitcoin                             0.00545224 Customer Transfer
 Confidential Customer Coin Transferee #11828   [Address on File]     6/19/2023 Bitcoin                             0.00106979 Customer Transfer
 Confidential Customer Coin Transferee #11829   [Address on File]     6/20/2023 Bitcoin                              0.0004131 Customer Transfer
 Confidential Customer Coin Transferee #11830   [Address on File]     5/19/2023 Bitcoin                              0.0103618 Customer Transfer
 Confidential Customer Coin Transferee #11831   [Address on File]     5/16/2023 Bitcoin                             0.00803077 Customer Transfer
 Confidential Customer Coin Transferee #11832   [Address on File]     5/29/2023 Bitcoin                                0.010927 Customer Transfer
 Confidential Customer Coin Transferee #11833   [Address on File]     6/13/2023 Bitcoin                             0.00863074 Customer Transfer
 Confidential Customer Coin Transferee #11834   [Address on File]     6/20/2023 Bitcoin                             0.00004702 Customer Transfer
 Confidential Customer Coin Transferee #11835   [Address on File]     5/26/2023 Bitcoin                             0.00036402 Customer Transfer
 Confidential Customer Coin Transferee #11835   [Address on File]     5/29/2023 Bitcoin                             0.00035954 Customer Transfer
 Confidential Customer Coin Transferee #11836   [Address on File]     6/19/2023 Bitcoin                             0.00618979 Customer Transfer
 Confidential Customer Coin Transferee #11837   [Address on File]     5/16/2023 Bitcoin                              0.0206937 Customer Transfer
 Confidential Customer Coin Transferee #11837   [Address on File]     5/22/2023 Bitcoin                             0.01103779 Customer Transfer
 Confidential Customer Coin Transferee #11838   [Address on File]     5/29/2023 Bitcoin                             0.01480159 Customer Transfer
 Confidential Customer Coin Transferee #11839   [Address on File]     5/19/2023 Bitcoin                             0.01043904 Customer Transfer
 Confidential Customer Coin Transferee #11840   [Address on File]     5/27/2023 Bitcoin                             0.01484403 Customer Transfer
 Confidential Customer Coin Transferee #11840   [Address on File]     5/21/2023 Bitcoin                             0.01432434 Customer Transfer
 Confidential Customer Coin Transferee #11841   [Address on File]     6/19/2023 Bitcoin                             0.00040646 Customer Transfer

 Confidential Customer Coin Transferee #11842   [Address on File]     5/24/2023 Ether                                  0.00847823 Customer Transfer
 Confidential Customer Coin Transferee #11843   [Address on File]     6/19/2023 Bitcoin                                0.00014605 Customer Transfer
 Confidential Customer Coin Transferee #11844   [Address on File]     5/30/2023 Bitcoin                                0.02549802 Customer Transfer
 Confidential Customer Coin Transferee #11845   [Address on File]     6/20/2023 Bitcoin                                0.00123689 Customer Transfer
 Confidential Customer Coin Transferee #11846   [Address on File]      6/2/2023 Bitcoin                                0.00333084 Customer Transfer
 Confidential Customer Coin Transferee #11846   [Address on File]     5/22/2023 Bitcoin                                0.00182894 Customer Transfer
 Confidential Customer Coin Transferee #11847   [Address on File]     6/20/2023 Bitcoin                                0.00145626 Customer Transfer
 Confidential Customer Coin Transferee #11848   [Address on File]     6/19/2023 Bitcoin                                0.01061464 Customer Transfer
 Confidential Customer Coin Transferee #11849   [Address on File]     6/19/2023 Bitcoin                                 0.0039098 Customer Transfer
 Confidential Customer Coin Transferee #11850   [Address on File]     5/24/2023 Bitcoin                                0.01217405 Customer Transfer
 Confidential Customer Coin Transferee #11851   [Address on File]     6/19/2023 Bitcoin                                0.00358686 Customer Transfer
 Confidential Customer Coin Transferee #11852   [Address on File]     5/29/2023 Bitcoin                                 0.0784582 Customer Transfer
 Confidential Customer Coin Transferee #11853   [Address on File]      6/7/2023 Bitcoin                                0.00962722 Customer Transfer
 Confidential Customer Coin Transferee #11853   [Address on File]     6/17/2023 Bitcoin                                0.00393394 Customer Transfer
 Confidential Customer Coin Transferee #11853   [Address on File]     5/22/2023 Bitcoin                                0.00184537 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #11854   [Address on File]     5/22/2023 Bitcoin                             0.01124366 Customer Transfer
 Confidential Customer Coin Transferee #11854   [Address on File]     5/30/2023 Bitcoin                             0.00194026 Customer Transfer
 Confidential Customer Coin Transferee #11855   [Address on File]     5/21/2023 Bitcoin                             0.00087072 Customer Transfer
 Confidential Customer Coin Transferee #11856   [Address on File]     6/19/2023 Bitcoin                             0.00080133 Customer Transfer
 Confidential Customer Coin Transferee #11857   [Address on File]     6/19/2023 Bitcoin                             0.00008287 Customer Transfer
 Confidential Customer Coin Transferee #11858   [Address on File]     6/20/2023 Bitcoin                             0.00745008 Customer Transfer
 Confidential Customer Coin Transferee #11859   [Address on File]      6/1/2023 Bitcoin                             0.06959198 Customer Transfer
 Confidential Customer Coin Transferee #11859   [Address on File]     6/20/2023 Bitcoin                                0.019088 Customer Transfer
 Confidential Customer Coin Transferee #11860   [Address on File]     5/26/2023 Bitcoin                             0.00035928 Customer Transfer
 Confidential Customer Coin Transferee #11861   [Address on File]     6/19/2023 Bitcoin                             0.00677469 Customer Transfer
 Confidential Customer Coin Transferee #11862   [Address on File]     5/22/2023 Bitcoin                             0.14038962 Customer Transfer
 Confidential Customer Coin Transferee #11863   [Address on File]     6/20/2023 Bitcoin                             0.00004244 Customer Transfer
 Confidential Customer Coin Transferee #11864   [Address on File]      6/5/2023 Recover Value USD                       71.6644 Customer Transfer
 Confidential Customer Coin Transferee #11865   [Address on File]      6/1/2023 Ether                                  0.059412 Customer Transfer
 Confidential Customer Coin Transferee #11866   [Address on File]     6/19/2023 Bitcoin                             0.00110652 Customer Transfer
 Confidential Customer Coin Transferee #11867   [Address on File]     5/29/2023 Bitcoin                             0.02013886 Customer Transfer
 Confidential Customer Coin Transferee #11868   [Address on File]     5/24/2023 Bitcoin                             0.02556366 Customer Transfer
 Confidential Customer Coin Transferee #11869   [Address on File]     5/16/2023 Bitcoin                             0.10159326 Customer Transfer
 Confidential Customer Coin Transferee #11869   [Address on File]     5/30/2023 Bitcoin                             0.02027131 Customer Transfer
 Confidential Customer Coin Transferee #11870   [Address on File]     5/25/2023 Bitcoin                             0.00185406 Customer Transfer
 Confidential Customer Coin Transferee #11871   [Address on File]     5/21/2023 Bitcoin                                      0.05 Customer Transfer
 Confidential Customer Coin Transferee #11871   [Address on File]     5/20/2023 Bitcoin                                   0.0125 Customer Transfer
 Confidential Customer Coin Transferee #11872   [Address on File]     5/19/2023 Bitcoin                             0.03710945 Customer Transfer
 Confidential Customer Coin Transferee #11873   [Address on File]     5/25/2023 Bitcoin                             0.00075975 Customer Transfer
 Confidential Customer Coin Transferee #11874   [Address on File]     5/18/2023 Bitcoin                                0.009848 Customer Transfer
 Confidential Customer Coin Transferee #11875   [Address on File]     5/21/2023 Bitcoin                             0.00736079 Customer Transfer
 Confidential Customer Coin Transferee #11876   [Address on File]     5/30/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #11877   [Address on File]     5/25/2023 Bitcoin                             0.00189017 Customer Transfer
 Confidential Customer Coin Transferee #11877   [Address on File]     5/18/2023 Bitcoin                             0.00182463 Customer Transfer
 Confidential Customer Coin Transferee #11878   [Address on File]      6/1/2023 Bitcoin                             0.05862685 Customer Transfer
 Confidential Customer Coin Transferee #11879   [Address on File]     5/28/2023 Bitcoin                             0.03228078 Customer Transfer
 Confidential Customer Coin Transferee #11880   [Address on File]     5/19/2023 Bitcoin                             0.00740795 Customer Transfer
 Confidential Customer Coin Transferee #11880   [Address on File]     5/27/2023 Bitcoin                             0.00185854 Customer Transfer
 Confidential Customer Coin Transferee #11880   [Address on File]     5/27/2023 Bitcoin                                 0.00185 Customer Transfer
 Confidential Customer Coin Transferee #11881   [Address on File]     5/22/2023 Bitcoin                             0.00295767 Customer Transfer
 Confidential Customer Coin Transferee #11882   [Address on File]     5/21/2023 Bitcoin                             0.01479996 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11883   [Address on File]     5/16/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #11884   [Address on File]     5/31/2023 Bitcoin                             0.04881742 Customer Transfer
 Confidential Customer Coin Transferee #11885   [Address on File]     5/16/2023 Bitcoin                             0.00181034 Customer Transfer
 Confidential Customer Coin Transferee #11886   [Address on File]     5/21/2023 Bitcoin                             0.01164183 Customer Transfer
 Confidential Customer Coin Transferee #11886   [Address on File]     5/16/2023 Bitcoin                              0.0066427 Customer Transfer
 Confidential Customer Coin Transferee #11887   [Address on File]     5/16/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #11887   [Address on File]     5/17/2023 Bitcoin                                   0.043 Customer Transfer
 Confidential Customer Coin Transferee #11887   [Address on File]     5/16/2023 Bitcoin                                    0.02 Customer Transfer
 Confidential Customer Coin Transferee #11888   [Address on File]     5/24/2023 Bitcoin                             0.03668992 Customer Transfer
 Confidential Customer Coin Transferee #11889   [Address on File]     5/23/2023 Bitcoin                             0.02239136 Customer Transfer
 Confidential Customer Coin Transferee #11890   [Address on File]     5/18/2023 Bitcoin                             0.00492767 Customer Transfer
 Confidential Customer Coin Transferee #11891   [Address on File]     6/20/2023 Bitcoin                             0.02585269 Customer Transfer
 Confidential Customer Coin Transferee #11892   [Address on File]     5/31/2023 Bitcoin                             0.00458777 Customer Transfer
 Confidential Customer Coin Transferee #11893   [Address on File]     5/16/2023 Bitcoin                             0.00557583 Customer Transfer
 Confidential Customer Coin Transferee #11893   [Address on File]     5/17/2023 Bitcoin                              0.0043027 Customer Transfer
 Confidential Customer Coin Transferee #11893   [Address on File]     5/16/2023 Bitcoin                             0.00371564 Customer Transfer
 Confidential Customer Coin Transferee #11893   [Address on File]     5/17/2023 Bitcoin                             0.00370743 Customer Transfer
 Confidential Customer Coin Transferee #11893   [Address on File]     5/16/2023 Bitcoin                             0.00364972 Customer Transfer
 Confidential Customer Coin Transferee #11893   [Address on File]     5/16/2023 Bitcoin                             0.00186977 Customer Transfer
 Confidential Customer Coin Transferee #11893   [Address on File]     5/20/2023 Bitcoin                             0.00184868 Customer Transfer
 Confidential Customer Coin Transferee #11893   [Address on File]     5/17/2023 Bitcoin                             0.00183632 Customer Transfer
 Confidential Customer Coin Transferee #11893   [Address on File]     5/20/2023 Bitcoin                             0.00071767 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]      6/2/2023 Bitcoin                             0.00183595 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/23/2023 Bitcoin                             0.00146248 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/23/2023 Bitcoin                             0.00109417 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/23/2023 Bitcoin                             0.00109208 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/18/2023 Bitcoin                             0.00079939 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/26/2023 Bitcoin                             0.00075691 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/17/2023 Bitcoin                             0.00073475 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/23/2023 Bitcoin                             0.00073018 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/28/2023 Bitcoin                             0.00072698 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/27/2023 Bitcoin                             0.00071676 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/31/2023 Bitcoin                             0.00069231 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/30/2023 Bitcoin                             0.00063889 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/28/2023 Bitcoin                             0.00061129 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/20/2023 Bitcoin                             0.00049749 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]      6/2/2023 Bitcoin                             0.00045695 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/16/2023 Bitcoin                             0.00038857 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]      6/1/2023 Bitcoin                             0.00035117 Customer Transfer
 Confidential Customer Coin Transferee #11894   [Address on File]     5/26/2023 Bitcoin                             0.00026408 Customer Transfer
 Confidential Customer Coin Transferee #11895   [Address on File]     5/23/2023 Bitcoin                                0.005827 Customer Transfer
 Confidential Customer Coin Transferee #11895   [Address on File]     5/19/2023 Bitcoin                             0.00515879 Customer Transfer
 Confidential Customer Coin Transferee #11896   [Address on File]     5/30/2023 Bitcoin                                   0.0117 Customer Transfer
 Confidential Customer Coin Transferee #11896   [Address on File]     5/21/2023 Bitcoin                                 0.00563 Customer Transfer
 Confidential Customer Coin Transferee #11896   [Address on File]     5/21/2023 Bitcoin                                 0.00412 Customer Transfer
 Confidential Customer Coin Transferee #11897   [Address on File]     5/16/2023 Bitcoin                             0.00221524 Customer Transfer
 Confidential Customer Coin Transferee #11897   [Address on File]     5/22/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #11897   [Address on File]     5/31/2023 Bitcoin                             0.00042069 Customer Transfer
 Confidential Customer Coin Transferee #11897   [Address on File]     5/17/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #11898   [Address on File]     5/30/2023 Bitcoin                             0.00926757 Customer Transfer
 Confidential Customer Coin Transferee #11899   [Address on File]     5/19/2023 Bitcoin                             0.00740612 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/25/2023 Bitcoin                                0.000038 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/25/2023 Bitcoin                                0.000038 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/25/2023 Bitcoin                                0.000038 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/26/2023 Bitcoin                              0.0000379 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/17/2023 Bitcoin                              0.0000377 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/17/2023 Bitcoin                              0.0000377 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/17/2023 Bitcoin                              0.0000377 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/24/2023 Bitcoin                              0.0000376 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/24/2023 Bitcoin                              0.0000376 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/27/2023 Bitcoin                              0.0000376 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/27/2023 Bitcoin                              0.0000376 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/27/2023 Bitcoin                              0.0000376 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/24/2023 Bitcoin                              0.0000375 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/19/2023 Bitcoin                              0.0000374 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/19/2023 Bitcoin                              0.0000374 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/19/2023 Bitcoin                              0.0000374 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/22/2023 Bitcoin                              0.0000373 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/20/2023 Bitcoin                                0.000037 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/20/2023 Bitcoin                                0.000037 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/20/2023 Bitcoin                                0.000037 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/21/2023 Bitcoin                                0.000037 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/21/2023 Bitcoin                                0.000037 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/21/2023 Bitcoin                                0.000037 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/31/2023 Bitcoin                                0.000037 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/31/2023 Bitcoin                                0.000037 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/31/2023 Bitcoin                                0.000037 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/16/2023 Bitcoin                              0.0000369 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/23/2023 Bitcoin                              0.0000368 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/28/2023 Bitcoin                              0.0000367 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/18/2023 Bitcoin                              0.0000366 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/29/2023 Bitcoin                              0.0000364 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/31/2023 Bitcoin                              0.0000362 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/31/2023 Bitcoin                                0.000036 Customer Transfer
 Confidential Customer Coin Transferee #11900   [Address on File]     5/31/2023 Bitcoin                                0.000036 Customer Transfer
 Confidential Customer Coin Transferee #11901   [Address on File]     5/19/2023 Bitcoin                             0.00146439 Customer Transfer
 Confidential Customer Coin Transferee #11901   [Address on File]     5/26/2023 Bitcoin                             0.00125192 Customer Transfer
 Confidential Customer Coin Transferee #11901   [Address on File]     5/22/2023 Bitcoin                             0.00074941 Customer Transfer
 Confidential Customer Coin Transferee #11902   [Address on File]     5/17/2023 Bitcoin                             0.01119733 Customer Transfer
 Confidential Customer Coin Transferee #11903   [Address on File]     5/23/2023 Bitcoin                             0.00417979 Customer Transfer
 Confidential Customer Coin Transferee #11903   [Address on File]     5/29/2023 Bitcoin                             0.00297434 Customer Transfer
 Confidential Customer Coin Transferee #11903   [Address on File]     5/16/2023 Bitcoin                             0.00098227 Customer Transfer
 Confidential Customer Coin Transferee #11904   [Address on File]     5/20/2023 Bitcoin                             0.00918393 Customer Transfer

 Confidential Customer Coin Transferee #11905   [Address on File]     5/26/2023 USDC Avalanche)                         59.344393 Customer Transfer
 Confidential Customer Coin Transferee #11906   [Address on File]     5/20/2023 Bitcoin                                0.00330273 Customer Transfer
 Confidential Customer Coin Transferee #11907   [Address on File]     5/20/2023 Bitcoin                                0.01232886 Customer Transfer
 Confidential Customer Coin Transferee #11908   [Address on File]     6/19/2023 Bitcoin                                0.00011625 Customer Transfer
 Confidential Customer Coin Transferee #11909   [Address on File]     5/25/2023 Bitcoin                                0.00186972 Customer Transfer
 Confidential Customer Coin Transferee #11909   [Address on File]      6/7/2023 Bitcoin                                0.00182402 Customer Transfer
 Confidential Customer Coin Transferee #11910   [Address on File]     5/17/2023 Bitcoin                                 0.0049444 Customer Transfer
 Confidential Customer Coin Transferee #11911   [Address on File]     5/29/2023 Bitcoin                                0.01023293 Customer Transfer
 Confidential Customer Coin Transferee #11912   [Address on File]     5/16/2023 Bitcoin                                0.02557781 Customer Transfer
 Confidential Customer Coin Transferee #11913   [Address on File]     6/17/2023 Bitcoin                                0.00255496 Customer Transfer
 Confidential Customer Coin Transferee #11914   [Address on File]     5/20/2023 Bitcoin                                0.00245381 Customer Transfer

 Confidential Customer Coin Transferee #11915   [Address on File]     6/12/2023 Bitcoin                                0.03737928 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count          or Transfer

 Confidential Customer Coin Transferee #11915   [Address on File]      6/8/2023 Bitcoin                                0.00393103 Customer Transfer
 Confidential Customer Coin Transferee #11916   [Address on File]     5/27/2023 USDC Avalanche)                        197.261369 Customer Transfer
 Confidential Customer Coin Transferee #11916   [Address on File]      6/2/2023 USDC Avalanche)                         97.411553 Customer Transfer
 Confidential Customer Coin Transferee #11916   [Address on File]      6/5/2023 USDC Avalanche)                         97.411553 Customer Transfer
 Confidential Customer Coin Transferee #11917   [Address on File]     5/27/2023 Bitcoin                                0.01472152 Customer Transfer
 Confidential Customer Coin Transferee #11917   [Address on File]     5/20/2023 Bitcoin                                0.01227261 Customer Transfer
 Confidential Customer Coin Transferee #11918   [Address on File]     6/20/2023 Bitcoin                                0.00005798 Customer Transfer
 Confidential Customer Coin Transferee #11919   [Address on File]     5/19/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #11920   [Address on File]     6/20/2023 Bitcoin                                0.00005611 Customer Transfer
 Confidential Customer Coin Transferee #11921   [Address on File]     6/20/2023 Bitcoin                                0.00183038 Customer Transfer
 Confidential Customer Coin Transferee #11922   [Address on File]     6/20/2023 Bitcoin                                0.00005873 Customer Transfer
 Confidential Customer Coin Transferee #11923   [Address on File]     5/19/2023 Bitcoin                                0.02613234 Customer Transfer
 Confidential Customer Coin Transferee #11924   [Address on File]     5/20/2023 Bitcoin                                0.00072195 Customer Transfer
 Confidential Customer Coin Transferee #11925   [Address on File]     5/28/2023 Bitcoin                                0.01327582 Customer Transfer
 Confidential Customer Coin Transferee #11925   [Address on File]     5/22/2023 Bitcoin                                0.01200123 Customer Transfer
 Confidential Customer Coin Transferee #11926   [Address on File]     6/20/2023 Bitcoin                                 0.0005791 Customer Transfer
 Confidential Customer Coin Transferee #11927   [Address on File]      6/9/2023 Bitcoin                                0.00442083 Customer Transfer
 Confidential Customer Coin Transferee #11927   [Address on File]     6/20/2023 Bitcoin                                0.00077351 Customer Transfer
 Confidential Customer Coin Transferee #11928   [Address on File]     5/22/2023 Bitcoin                                0.01009481 Customer Transfer
 Confidential Customer Coin Transferee #11929   [Address on File]     6/15/2023 Bitcoin                                0.00698558 Customer Transfer
 Confidential Customer Coin Transferee #11930   [Address on File]     5/26/2023 Bitcoin                                0.00379174 Customer Transfer
 Confidential Customer Coin Transferee #11930   [Address on File]     5/19/2023 Bitcoin                                0.00337285 Customer Transfer
 Confidential Customer Coin Transferee #11931   [Address on File]     5/16/2023 Bitcoin                                0.00221207 Customer Transfer
 Confidential Customer Coin Transferee #11932   [Address on File]     5/21/2023 Bitcoin                                0.05040493 Customer Transfer
 Confidential Customer Coin Transferee #11933   [Address on File]     6/16/2023 Bitcoin                                0.01400775 Customer Transfer
 Confidential Customer Coin Transferee #11934   [Address on File]     6/19/2023 Bitcoin                                0.01755772 Customer Transfer
 Confidential Customer Coin Transferee #11935   [Address on File]     6/20/2023 Bitcoin                                0.00093091 Customer Transfer
 Confidential Customer Coin Transferee #11936   [Address on File]     5/22/2023 Bitcoin                                0.01399184 Customer Transfer
 Confidential Customer Coin Transferee #11937   [Address on File]     6/20/2023 Bitcoin                                0.00059083 Customer Transfer
 Confidential Customer Coin Transferee #11938   [Address on File]     6/20/2023 Bitcoin                                0.00374634 Customer Transfer
 Confidential Customer Coin Transferee #11939   [Address on File]     6/16/2023 USD Coin                                95.546478 Customer Transfer
 Confidential Customer Coin Transferee #11940   [Address on File]     5/29/2023 Bitcoin                                0.08796084 Customer Transfer
 Confidential Customer Coin Transferee #11941   [Address on File]     5/23/2023 Bitcoin                                0.00801143 Customer Transfer
 Confidential Customer Coin Transferee #11942   [Address on File]     6/13/2023 Bitcoin                                 0.0095199 Customer Transfer
 Confidential Customer Coin Transferee #11943   [Address on File]     6/20/2023 Bitcoin                                0.00005833 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11944   [Address on File]     5/20/2023 Bitcoin                              0.0205658 Customer Transfer
 Confidential Customer Coin Transferee #11945   [Address on File]     5/20/2023 Bitcoin                             0.01086993 Customer Transfer
 Confidential Customer Coin Transferee #11946   [Address on File]      6/2/2023 Bitcoin                             0.00183916 Customer Transfer
 Confidential Customer Coin Transferee #11947   [Address on File]     5/20/2023 Bitcoin                             0.14327705 Customer Transfer
 Confidential Customer Coin Transferee #11948   [Address on File]     5/26/2023 Bitcoin                             0.00111007 Customer Transfer
 Confidential Customer Coin Transferee #11948   [Address on File]     5/19/2023 Bitcoin                             0.00108133 Customer Transfer
 Confidential Customer Coin Transferee #11949   [Address on File]     6/16/2023 Bitcoin                             0.00385868 Customer Transfer
 Confidential Customer Coin Transferee #11950   [Address on File]     6/15/2023 Tether USD                            54913.49 Customer Transfer
 Confidential Customer Coin Transferee #11950   [Address on File]      6/8/2023 Tether USD                                20378 Customer Transfer
 Confidential Customer Coin Transferee #11950   [Address on File]     6/16/2023 Tether USD                                19954 Customer Transfer
 Confidential Customer Coin Transferee #11950   [Address on File]     5/29/2023 Tether USD                            19918.27 Customer Transfer
 Confidential Customer Coin Transferee #11951   [Address on File]     6/19/2023 Bitcoin                             0.00010508 Customer Transfer
 Confidential Customer Coin Transferee #11952   [Address on File]     5/16/2023 Bitcoin                                0.009395 Customer Transfer
 Confidential Customer Coin Transferee #11953   [Address on File]     6/20/2023 Bitcoin                             0.01629661 Customer Transfer
 Confidential Customer Coin Transferee #11954   [Address on File]      6/7/2023 Bitcoin                             0.03057962 Customer Transfer
 Confidential Customer Coin Transferee #11955   [Address on File]     6/20/2023 Bitcoin                             0.00647969 Customer Transfer
 Confidential Customer Coin Transferee #11956   [Address on File]     5/29/2023 Bitcoin                             0.01084841 Customer Transfer
 Confidential Customer Coin Transferee #11957   [Address on File]     6/20/2023 Bitcoin                             0.00218566 Customer Transfer

 Confidential Customer Coin Transferee #11958   [Address on File]     5/26/2023 Bitcoin                                0.01181437 Customer Transfer

 Confidential Customer Coin Transferee #11959   [Address on File]     5/29/2023 Bitcoin                                0.00440235 Customer Transfer
 Confidential Customer Coin Transferee #11960   [Address on File]     5/22/2023 Bitcoin                                0.00280823 Customer Transfer
 Confidential Customer Coin Transferee #11960   [Address on File]     5/29/2023 Bitcoin                                0.00278978 Customer Transfer
 Confidential Customer Coin Transferee #11961   [Address on File]     5/26/2023 Bitcoin                                0.00926107 Customer Transfer

 Confidential Customer Coin Transferee #11962   [Address on File]     5/25/2023 Bitcoin                                0.01042461 Customer Transfer
 Confidential Customer Coin Transferee #11963   [Address on File]     5/23/2023 Bitcoin                                0.02357969 Customer Transfer
 Confidential Customer Coin Transferee #11963   [Address on File]     5/18/2023 Bitcoin                                0.02066468 Customer Transfer
 Confidential Customer Coin Transferee #11964   [Address on File]     6/12/2023 Bitcoin                                0.02763638 Customer Transfer
 Confidential Customer Coin Transferee #11964   [Address on File]     6/19/2023 Bitcoin                                0.00153117 Customer Transfer
 Confidential Customer Coin Transferee #11965   [Address on File]     5/21/2023 Bitcoin                                0.02571387 Customer Transfer
 Confidential Customer Coin Transferee #11966   [Address on File]     6/19/2023 Bitcoin                                0.00579729 Customer Transfer
 Confidential Customer Coin Transferee #11967   [Address on File]     6/20/2023 Bitcoin                                0.00112691 Customer Transfer
 Confidential Customer Coin Transferee #11968   [Address on File]     5/24/2023 Bitcoin                                0.00675205 Customer Transfer
 Confidential Customer Coin Transferee #11969   [Address on File]     5/31/2023 Bitcoin                                0.00212798 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #11970   [Address on File]     6/20/2023 Bitcoin                             0.00204046 Customer Transfer
 Confidential Customer Coin Transferee #11971   [Address on File]     5/24/2023 Bitcoin                             0.00037898 Customer Transfer
 Confidential Customer Coin Transferee #11971   [Address on File]     5/17/2023 Bitcoin                             0.00033684 Customer Transfer
 Confidential Customer Coin Transferee #11972   [Address on File]      6/6/2023 Bitcoin                             0.00070174 Customer Transfer
 Confidential Customer Coin Transferee #11973   [Address on File]     6/19/2023 Bitcoin                             0.00870708 Customer Transfer

 Confidential Customer Coin Transferee #11974   [Address on File]      6/4/2023 USD Coin                                     38 Customer Transfer

 Confidential Customer Coin Transferee #11975   [Address on File]      6/2/2023 Litecoin                            0.21565287 Customer Transfer
 Confidential Customer Coin Transferee #11976   [Address on File]     5/16/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #11977   [Address on File]     5/31/2023 Cosmos Hub ATOM)                     47.157739 Customer Transfer
 Confidential Customer Coin Transferee #11977   [Address on File]      6/2/2023 Cosmos Hub ATOM)                     12.041283 Customer Transfer
 Confidential Customer Coin Transferee #11977   [Address on File]      6/1/2023 Ether                                  0.264518 Customer Transfer
 Confidential Customer Coin Transferee #11977   [Address on File]      6/2/2023 Ether                                  0.066668 Customer Transfer
 Confidential Customer Coin Transferee #11977   [Address on File]      6/2/2023 Bitcoin                                0.018244 Customer Transfer
 Confidential Customer Coin Transferee #11977   [Address on File]     5/31/2023 Bitcoin                                 0.01821 Customer Transfer
 Confidential Customer Coin Transferee #11978   [Address on File]     5/25/2023 Bitcoin                             0.01554405 Customer Transfer
 Confidential Customer Coin Transferee #11979   [Address on File]     6/19/2023 Bitcoin                             0.00147139 Customer Transfer
 Confidential Customer Coin Transferee #11980   [Address on File]     5/16/2023 Bitcoin                             1.56355527 Customer Transfer
 Confidential Customer Coin Transferee #11981   [Address on File]     5/20/2023 USDC Solana)                                 96.6 Customer Transfer
 Confidential Customer Coin Transferee #11982   [Address on File]     5/24/2023 Bitcoin                                    0.225 Customer Transfer
 Confidential Customer Coin Transferee #11982   [Address on File]     5/25/2023 Bitcoin                                    0.225 Customer Transfer
 Confidential Customer Coin Transferee #11982   [Address on File]     5/27/2023 Bitcoin                                   0.0905 Customer Transfer
 Confidential Customer Coin Transferee #11983   [Address on File]     5/24/2023 Bitcoin                             0.04748617 Customer Transfer
 Confidential Customer Coin Transferee #11984   [Address on File]     5/17/2023 Bitcoin                             0.20897564 Customer Transfer
 Confidential Customer Coin Transferee #11984   [Address on File]     5/23/2023 Bitcoin                                       0.2 Customer Transfer
 Confidential Customer Coin Transferee #11984   [Address on File]     5/25/2023 Bitcoin                              0.0321192 Customer Transfer
 Confidential Customer Coin Transferee #11984   [Address on File]     5/24/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #11984   [Address on File]     5/16/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #11985   [Address on File]     5/21/2023 Bitcoin                                      0.04 Customer Transfer
 Confidential Customer Coin Transferee #11986   [Address on File]     6/20/2023 Bitcoin                             0.00005987 Customer Transfer
 Confidential Customer Coin Transferee #11987   [Address on File]     6/19/2023 Bitcoin                             0.00008647 Customer Transfer
 Confidential Customer Coin Transferee #11988   [Address on File]      6/9/2023 Bitcoin                             0.00889746 Customer Transfer
 Confidential Customer Coin Transferee #11989   [Address on File]     6/20/2023 Bitcoin                              0.0009967 Customer Transfer
 Confidential Customer Coin Transferee #11990   [Address on File]      6/1/2023 USDC Solana)                       2693.663801 Customer Transfer
 Confidential Customer Coin Transferee #11990   [Address on File]     6/13/2023 USDC Solana)                        796.861255 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #11990   [Address on File]     5/17/2023 USDC Solana)                        477.261369 Customer Transfer
 Confidential Customer Coin Transferee #11990   [Address on File]      6/2/2023 USDC Solana)                        414.362818 Customer Transfer
 Confidential Customer Coin Transferee #11990   [Address on File]      6/9/2023 USDC Solana)                        167.709374 Customer Transfer
 Confidential Customer Coin Transferee #11990   [Address on File]     5/19/2023 USDC Solana)                         67.882846 Customer Transfer
 Confidential Customer Coin Transferee #11990   [Address on File]      6/5/2023 Solana                                9.328862 Customer Transfer
 Confidential Customer Coin Transferee #11990   [Address on File]      6/4/2023 Solana                                2.958157 Customer Transfer
 Confidential Customer Coin Transferee #11990   [Address on File]      6/4/2023 Ether                                  0.625277 Customer Transfer
 Confidential Customer Coin Transferee #11991   [Address on File]     6/20/2023 Bitcoin                                 0.00006 Customer Transfer
 Confidential Customer Coin Transferee #11992   [Address on File]     5/20/2023 Bitcoin                             2.03717429 Customer Transfer
 Confidential Customer Coin Transferee #11992   [Address on File]     5/20/2023 Bitcoin                                       1 Customer Transfer

 Confidential Customer Coin Transferee #11993   [Address on File]     5/19/2023 Bitcoin                                0.00547509 Customer Transfer

 Confidential Customer Coin Transferee #11993   [Address on File]      6/2/2023 Bitcoin                                0.00542993 Customer Transfer

 Confidential Customer Coin Transferee #11993   [Address on File]     6/19/2023 Bitcoin                                0.00192237 Customer Transfer
 Confidential Customer Coin Transferee #11994   [Address on File]     5/18/2023 Bitcoin                                0.07637814 Customer Transfer
 Confidential Customer Coin Transferee #11995   [Address on File]     6/20/2023 Bitcoin                                 0.0004697 Customer Transfer
 Confidential Customer Coin Transferee #11996   [Address on File]     5/26/2023 Bitcoin                                0.03732918 Customer Transfer

 Confidential Customer Coin Transferee #11997   [Address on File]     6/20/2023 Bitcoin                             0.00003984 Customer Transfer
 Confidential Customer Coin Transferee #11998   [Address on File]      6/3/2023 Tether USD                         2491.788211 Customer Transfer
 Confidential Customer Coin Transferee #11999   [Address on File]     5/25/2023 Bitcoin                             0.01088863 Customer Transfer
 Confidential Customer Coin Transferee #12000   [Address on File]     6/19/2023 Bitcoin                             0.00586261 Customer Transfer
 Confidential Customer Coin Transferee #12001   [Address on File]     6/19/2023 Bitcoin                             0.00026968 Customer Transfer
 Confidential Customer Coin Transferee #12002   [Address on File]     5/26/2023 Bitcoin                             0.01926572 Customer Transfer
 Confidential Customer Coin Transferee #12002   [Address on File]     5/18/2023 Bitcoin                             0.01829821 Customer Transfer
 Confidential Customer Coin Transferee #12003   [Address on File]     5/18/2023 Bitcoin                             0.00547161 Customer Transfer
 Confidential Customer Coin Transferee #12003   [Address on File]     5/31/2023 Bitcoin                             0.00537768 Customer Transfer
 Confidential Customer Coin Transferee #12004   [Address on File]     5/26/2023 Bitcoin                             0.01880465 Customer Transfer
 Confidential Customer Coin Transferee #12004   [Address on File]     5/24/2023 Bitcoin                             0.01864421 Customer Transfer
 Confidential Customer Coin Transferee #12004   [Address on File]     5/22/2023 Bitcoin                             0.00744673 Customer Transfer
 Confidential Customer Coin Transferee #12005   [Address on File]     6/20/2023 Bitcoin                             0.00027407 Customer Transfer
 Confidential Customer Coin Transferee #12006   [Address on File]     5/23/2023 Bitcoin                             0.01136945 Customer Transfer
 Confidential Customer Coin Transferee #12007   [Address on File]     6/19/2023 Bitcoin                             0.00017454 Customer Transfer
 Confidential Customer Coin Transferee #12008   [Address on File]     6/20/2023 Bitcoin                              0.0032958 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12009   [Address on File]     5/17/2023 Bitcoin                             0.03704966 Customer Transfer
 Confidential Customer Coin Transferee #12010   [Address on File]     5/29/2023 Bitcoin                             0.00114059 Customer Transfer
 Confidential Customer Coin Transferee #12011   [Address on File]     6/16/2023 Bitcoin                              0.0286478 Customer Transfer
 Confidential Customer Coin Transferee #12012   [Address on File]     5/22/2023 Bitcoin                             0.01162177 Customer Transfer
 Confidential Customer Coin Transferee #12012   [Address on File]     5/24/2023 Bitcoin                             0.00175298 Customer Transfer
 Confidential Customer Coin Transferee #12013   [Address on File]     5/17/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #12013   [Address on File]     5/28/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #12014   [Address on File]     5/25/2023 Bitcoin                             0.00007791 Customer Transfer
 Confidential Customer Coin Transferee #12015   [Address on File]     5/17/2023 Bitcoin                             0.01420222 Customer Transfer
 Confidential Customer Coin Transferee #12015   [Address on File]     5/31/2023 Bitcoin                             0.00757488 Customer Transfer
 Confidential Customer Coin Transferee #12016   [Address on File]     5/31/2023 Bitcoin                             0.02596606 Customer Transfer
 Confidential Customer Coin Transferee #12016   [Address on File]     5/31/2023 Bitcoin                             0.00549709 Customer Transfer
 Confidential Customer Coin Transferee #12017   [Address on File]     5/26/2023 Bitcoin                             0.19752812 Customer Transfer
 Confidential Customer Coin Transferee #12018   [Address on File]     5/18/2023 Bitcoin                             0.18824515 Customer Transfer
 Confidential Customer Coin Transferee #12018   [Address on File]     5/17/2023 Bitcoin                             0.03444491 Customer Transfer
 Confidential Customer Coin Transferee #12019   [Address on File]     5/27/2023 Bitcoin                             0.01854731 Customer Transfer
 Confidential Customer Coin Transferee #12019   [Address on File]     5/22/2023 Bitcoin                             0.01500152 Customer Transfer
 Confidential Customer Coin Transferee #12020   [Address on File]     5/28/2023 Bitcoin                             0.00847757 Customer Transfer
 Confidential Customer Coin Transferee #12021   [Address on File]     5/22/2023 Bitcoin                             0.00738487 Customer Transfer
 Confidential Customer Coin Transferee #12022   [Address on File]     5/29/2023 Bitcoin                             0.03784695 Customer Transfer
 Confidential Customer Coin Transferee #12023   [Address on File]     5/31/2023 Bitcoin                                    0.02 Customer Transfer
 Confidential Customer Coin Transferee #12024   [Address on File]     5/30/2023 Bitcoin                              0.0035804 Customer Transfer
 Confidential Customer Coin Transferee #12024   [Address on File]     5/25/2023 Bitcoin                              0.0018419 Customer Transfer
 Confidential Customer Coin Transferee #12024   [Address on File]     5/30/2023 Bitcoin                             0.00178529 Customer Transfer
 Confidential Customer Coin Transferee #12024   [Address on File]     5/25/2023 Bitcoin                             0.00060188 Customer Transfer
 Confidential Customer Coin Transferee #12024   [Address on File]     5/26/2023 Bitcoin                             0.00021361 Customer Transfer
 Confidential Customer Coin Transferee #12024   [Address on File]     5/26/2023 Bitcoin                             0.00018027 Customer Transfer
 Confidential Customer Coin Transferee #12024   [Address on File]     5/26/2023 Bitcoin                             0.00008269 Customer Transfer
 Confidential Customer Coin Transferee #12025   [Address on File]     5/22/2023 Bitcoin                             0.00342733 Customer Transfer
 Confidential Customer Coin Transferee #12026   [Address on File]     6/20/2023 Bitcoin                             0.00457389 Customer Transfer
 Confidential Customer Coin Transferee #12027   [Address on File]     5/28/2023 Bitcoin                             0.01602319 Customer Transfer
 Confidential Customer Coin Transferee #12028   [Address on File]     5/23/2023 Bitcoin                             0.01849412 Customer Transfer
 Confidential Customer Coin Transferee #12029   [Address on File]     5/21/2023 Bitcoin                             0.00389674 Customer Transfer
 Confidential Customer Coin Transferee #12030   [Address on File]     5/26/2023 Bitcoin                             0.00922319 Customer Transfer
 Confidential Customer Coin Transferee #12030   [Address on File]     5/26/2023 Bitcoin                             0.00736434 Customer Transfer
 Confidential Customer Coin Transferee #12030   [Address on File]     5/27/2023 Bitcoin                             0.00367875 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12030   [Address on File]     5/27/2023 Bitcoin                             0.00363835 Customer Transfer
 Confidential Customer Coin Transferee #12030   [Address on File]     5/19/2023 Bitcoin                             0.00363401 Customer Transfer
 Confidential Customer Coin Transferee #12030   [Address on File]     5/22/2023 Bitcoin                             0.00271002 Customer Transfer
 Confidential Customer Coin Transferee #12030   [Address on File]     5/30/2023 Bitcoin                             0.00204035 Customer Transfer
 Confidential Customer Coin Transferee #12030   [Address on File]     5/19/2023 Bitcoin                             0.00185266 Customer Transfer
 Confidential Customer Coin Transferee #12030   [Address on File]     5/26/2023 Bitcoin                             0.00181961 Customer Transfer
 Confidential Customer Coin Transferee #12031   [Address on File]     5/17/2023 Bitcoin                                    0.04 Customer Transfer
 Confidential Customer Coin Transferee #12032   [Address on File]     5/26/2023 Bitcoin                             0.00376117 Customer Transfer
 Confidential Customer Coin Transferee #12033   [Address on File]     5/20/2023 Bitcoin                                    0.02 Customer Transfer
 Confidential Customer Coin Transferee #12033   [Address on File]     5/19/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #12033   [Address on File]     5/19/2023 Bitcoin                             0.00566721 Customer Transfer
 Confidential Customer Coin Transferee #12033   [Address on File]     5/19/2023 Bitcoin                             0.00557349 Customer Transfer
 Confidential Customer Coin Transferee #12033   [Address on File]     5/19/2023 Bitcoin                             0.00499981 Customer Transfer
 Confidential Customer Coin Transferee #12033   [Address on File]     5/19/2023 Bitcoin                             0.00499838 Customer Transfer
 Confidential Customer Coin Transferee #12033   [Address on File]     5/20/2023 Bitcoin                             0.00442651 Customer Transfer
 Confidential Customer Coin Transferee #12034   [Address on File]     5/26/2023 Bitcoin                             0.00593891 Customer Transfer
 Confidential Customer Coin Transferee #12035   [Address on File]     5/22/2023 Bitcoin                             0.02648888 Customer Transfer
 Confidential Customer Coin Transferee #12036   [Address on File]     6/20/2023 Bitcoin                             0.00466277 Customer Transfer
 Confidential Customer Coin Transferee #12037   [Address on File]     5/31/2023 Tether USD                         2991.197921 Customer Transfer
 Confidential Customer Coin Transferee #12037   [Address on File]     5/30/2023 Tether USD                         2991.157074 Customer Transfer
 Confidential Customer Coin Transferee #12038   [Address on File]     5/22/2023 Bitcoin                             0.03281967 Customer Transfer
 Confidential Customer Coin Transferee #12038   [Address on File]     5/22/2023 Bitcoin                              0.0018635 Customer Transfer
 Confidential Customer Coin Transferee #12039   [Address on File]     6/20/2023 Bitcoin                             0.00058103 Customer Transfer
 Confidential Customer Coin Transferee #12040   [Address on File]     5/18/2023 Bitcoin                             0.01709198 Customer Transfer
 Confidential Customer Coin Transferee #12040   [Address on File]     5/29/2023 Bitcoin                             0.01661721 Customer Transfer
 Confidential Customer Coin Transferee #12041   [Address on File]     5/22/2023 Bitcoin                                   0.011 Customer Transfer
 Confidential Customer Coin Transferee #12042   [Address on File]     6/19/2023 Bitcoin                             0.00026467 Customer Transfer
 Confidential Customer Coin Transferee #12043   [Address on File]     5/21/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #12044   [Address on File]     6/20/2023 Bitcoin                             0.06040892 Customer Transfer
 Confidential Customer Coin Transferee #12045   [Address on File]     6/19/2023 Bitcoin                             0.00087786 Customer Transfer
 Confidential Customer Coin Transferee #12046   [Address on File]     6/19/2023 Bitcoin                             0.00375449 Customer Transfer
 Confidential Customer Coin Transferee #12047   [Address on File]     5/24/2023 Bitcoin                             0.01057283 Customer Transfer
 Confidential Customer Coin Transferee #12048   [Address on File]     5/16/2023 Bitcoin                             0.00717319 Customer Transfer
 Confidential Customer Coin Transferee #12048   [Address on File]     6/15/2023 Bitcoin                             0.00395455 Customer Transfer
 Confidential Customer Coin Transferee #12048   [Address on File]     5/22/2023 Bitcoin                             0.00369118 Customer Transfer
 Confidential Customer Coin Transferee #12049   [Address on File]     5/20/2023 Bitcoin                             0.01062498 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12049   [Address on File]     5/17/2023 Bitcoin                             0.01013734 Customer Transfer
 Confidential Customer Coin Transferee #12050   [Address on File]     6/19/2023 Bitcoin                             0.00115893 Customer Transfer
 Confidential Customer Coin Transferee #12051   [Address on File]     5/23/2023 Bitcoin                             0.00373067 Customer Transfer
 Confidential Customer Coin Transferee #12051   [Address on File]     5/21/2023 Bitcoin                             0.00363249 Customer Transfer
 Confidential Customer Coin Transferee #12052   [Address on File]     6/20/2023 Bitcoin                             0.00033014 Customer Transfer
 Confidential Customer Coin Transferee #12053   [Address on File]     5/16/2023 Bitcoin                             0.09160002 Customer Transfer
 Confidential Customer Coin Transferee #12053   [Address on File]      6/2/2023 Bitcoin                             0.01964178 Customer Transfer
 Confidential Customer Coin Transferee #12053   [Address on File]      6/9/2023 Bitcoin                             0.01892608 Customer Transfer
 Confidential Customer Coin Transferee #12054   [Address on File]     6/20/2023 Bitcoin                             0.01219245 Customer Transfer
 Confidential Customer Coin Transferee #12055   [Address on File]     5/20/2023 Bitcoin                             0.64438736 Customer Transfer
 Confidential Customer Coin Transferee #12056   [Address on File]     6/19/2023 Bitcoin                             0.02644003 Customer Transfer
 Confidential Customer Coin Transferee #12057   [Address on File]     5/16/2023 Bitcoin                             0.05156828 Customer Transfer
 Confidential Customer Coin Transferee #12058   [Address on File]     6/15/2023 Bitcoin                             0.00789602 Customer Transfer
 Confidential Customer Coin Transferee #12058   [Address on File]     5/25/2023 Bitcoin                             0.00759076 Customer Transfer
 Confidential Customer Coin Transferee #12058   [Address on File]     6/12/2023 Bitcoin                             0.00733683 Customer Transfer
 Confidential Customer Coin Transferee #12059   [Address on File]     5/20/2023 Bitcoin                             0.02484352 Customer Transfer
 Confidential Customer Coin Transferee #12060   [Address on File]     5/18/2023 Bitcoin                             0.01066394 Customer Transfer
 Confidential Customer Coin Transferee #12061   [Address on File]     6/12/2023 Bitcoin                             0.19236144 Customer Transfer
 Confidential Customer Coin Transferee #12061   [Address on File]      6/8/2023 Bitcoin                             0.18593003 Customer Transfer
 Confidential Customer Coin Transferee #12062   [Address on File]     6/19/2023 Bitcoin                              0.0075693 Customer Transfer

 Confidential Customer Coin Transferee #12063   [Address on File]     6/15/2023 Bitcoin                                0.04903304 Customer Transfer
 Confidential Customer Coin Transferee #12064   [Address on File]     6/19/2023 Bitcoin                                0.00005934 Customer Transfer
 Confidential Customer Coin Transferee #12065   [Address on File]     6/19/2023 Bitcoin                                0.00184436 Customer Transfer
 Confidential Customer Coin Transferee #12066   [Address on File]     6/20/2023 Bitcoin                                0.00411665 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/20/2023 Bitcoin                                0.00240134 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/20/2023 Bitcoin                                0.00224071 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/20/2023 Bitcoin                                0.00185112 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/21/2023 Bitcoin                                0.00148559 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/20/2023 Bitcoin                                 0.0011172 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/21/2023 Bitcoin                                0.00110018 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/24/2023 Bitcoin                                0.00068639 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/22/2023 Bitcoin                                0.00054705 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/16/2023 Bitcoin                                0.00040577 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/22/2023 Bitcoin                                   0.000374 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/25/2023 Bitcoin                                0.00037393 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/25/2023 Bitcoin                              0.0003637 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/22/2023 Bitcoin                             0.00036334 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/23/2023 Bitcoin                             0.00036299 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/18/2023 Bitcoin                              0.0003449 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/21/2023 Bitcoin                             0.00033007 Customer Transfer
 Confidential Customer Coin Transferee #12067   [Address on File]     5/26/2023 Bitcoin                             0.00010047 Customer Transfer
 Confidential Customer Coin Transferee #12068   [Address on File]     5/26/2023 Bitcoin                              0.0154148 Customer Transfer
 Confidential Customer Coin Transferee #12068   [Address on File]     5/19/2023 Bitcoin                             0.01464068 Customer Transfer
 Confidential Customer Coin Transferee #12069   [Address on File]     5/16/2023 Bitcoin                             0.01252814 Customer Transfer
 Confidential Customer Coin Transferee #12069   [Address on File]     5/28/2023 Bitcoin                             0.01106881 Customer Transfer
 Confidential Customer Coin Transferee #12070   [Address on File]     6/16/2023 Bitcoin                             0.02704437 Customer Transfer
 Confidential Customer Coin Transferee #12070   [Address on File]      6/6/2023 Bitcoin                             0.01865749 Customer Transfer
 Confidential Customer Coin Transferee #12071   [Address on File]     6/19/2023 Bitcoin                             0.00036134 Customer Transfer
 Confidential Customer Coin Transferee #12072   [Address on File]     5/16/2023 Bitcoin                                    0.022 Customer Transfer
 Confidential Customer Coin Transferee #12072   [Address on File]     5/16/2023 Bitcoin                             0.00476464 Customer Transfer
 Confidential Customer Coin Transferee #12072   [Address on File]     5/16/2023 Bitcoin                                    0.004 Customer Transfer
 Confidential Customer Coin Transferee #12072   [Address on File]     5/16/2023 Bitcoin                                   0.0038 Customer Transfer
 Confidential Customer Coin Transferee #12072   [Address on File]     5/16/2023 Bitcoin                                   0.0038 Customer Transfer
 Confidential Customer Coin Transferee #12072   [Address on File]     5/29/2023 Bitcoin                             0.00178288 Customer Transfer
 Confidential Customer Coin Transferee #12072   [Address on File]     5/29/2023 Bitcoin                             0.00026813 Customer Transfer
 Confidential Customer Coin Transferee #12073   [Address on File]     5/27/2023 Bitcoin                             0.00111482 Customer Transfer
 Confidential Customer Coin Transferee #12074   [Address on File]     5/26/2023 Bitcoin                             0.02389033 Customer Transfer
 Confidential Customer Coin Transferee #12075   [Address on File]     5/19/2023 Bitcoin                             0.00925663 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/27/2023 Bitcoin                             0.00204633 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/16/2023 Bitcoin                             0.00197004 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/16/2023 Bitcoin                                   0.0013 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/30/2023 Bitcoin                                0.001262 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/16/2023 Bitcoin                             0.00117566 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/21/2023 Bitcoin                             0.00113493 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/23/2023 Bitcoin                                0.001111 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/17/2023 Bitcoin                             0.00110364 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/23/2023 Bitcoin                             0.00109649 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/16/2023 Bitcoin                                 0.00092 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/23/2023 Bitcoin                             0.00083828 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/30/2023 Bitcoin                              0.0007877 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/30/2023 Bitcoin                                 0.00072 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/30/2023 Bitcoin                             0.00070724 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/23/2023 Bitcoin                             0.00069201 Customer Transfer
 Confidential Customer Coin Transferee #12076   [Address on File]     5/23/2023 Bitcoin                             0.00027788 Customer Transfer
 Confidential Customer Coin Transferee #12077   [Address on File]     5/28/2023 Bitcoin                              0.0026338 Customer Transfer
 Confidential Customer Coin Transferee #12077   [Address on File]     5/21/2023 Bitcoin                             0.00257498 Customer Transfer
 Confidential Customer Coin Transferee #12078   [Address on File]     5/18/2023 Bitcoin                             0.00091518 Customer Transfer
 Confidential Customer Coin Transferee #12078   [Address on File]     5/29/2023 Bitcoin                              0.0001971 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/18/2023 Bitcoin                             0.00201646 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/27/2023 Bitcoin                             0.00186439 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/31/2023 Bitcoin                             0.00184039 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/17/2023 Bitcoin                             0.00183092 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/28/2023 Bitcoin                             0.00182793 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/19/2023 Bitcoin                             0.00181619 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/30/2023 Bitcoin                             0.00178873 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/27/2023 Bitcoin                              0.0016782 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/26/2023 Bitcoin                             0.00167076 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/16/2023 Bitcoin                             0.00165398 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/29/2023 Bitcoin                             0.00161439 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/23/2023 Bitcoin                             0.00109604 Customer Transfer
 Confidential Customer Coin Transferee #12079   [Address on File]     5/20/2023 Bitcoin                             0.00108634 Customer Transfer
 Confidential Customer Coin Transferee #12080   [Address on File]     5/24/2023 Bitcoin                             0.01514405 Customer Transfer
 Confidential Customer Coin Transferee #12081   [Address on File]     5/19/2023 Bitcoin                             0.01310699 Customer Transfer
 Confidential Customer Coin Transferee #12082   [Address on File]     5/18/2023 Bitcoin                             0.01304982 Customer Transfer
 Confidential Customer Coin Transferee #12083   [Address on File]     6/20/2023 Bitcoin                              0.0003621 Customer Transfer

 Confidential Customer Coin Transferee #12084   [Address on File]     5/23/2023 Bitcoin                                0.01123678 Customer Transfer

 Confidential Customer Coin Transferee #12084   [Address on File]     5/16/2023 Bitcoin                                0.01111719 Customer Transfer

 Confidential Customer Coin Transferee #12084   [Address on File]     5/30/2023 Bitcoin                                0.01069529 Customer Transfer
 Confidential Customer Coin Transferee #12085   [Address on File]     5/26/2023 Bitcoin                                0.00186245 Customer Transfer
 Confidential Customer Coin Transferee #12085   [Address on File]     5/19/2023 Bitcoin                                0.00169467 Customer Transfer
 Confidential Customer Coin Transferee #12086   [Address on File]     6/20/2023 Bitcoin                                 0.0046156 Customer Transfer
 Confidential Customer Coin Transferee #12087   [Address on File]     6/12/2023 Bitcoin                                0.00078175 Customer Transfer
 Confidential Customer Coin Transferee #12088   [Address on File]     5/16/2023 Bitcoin                                0.01533661 Customer Transfer
 Confidential Customer Coin Transferee #12088   [Address on File]     5/22/2023 Bitcoin                                0.01253354 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12089   [Address on File]     5/16/2023 Bitcoin                             0.05655895 Customer Transfer
 Confidential Customer Coin Transferee #12090   [Address on File]     6/20/2023 Bitcoin                             0.00005821 Customer Transfer
 Confidential Customer Coin Transferee #12091   [Address on File]     5/23/2023 Bitcoin                             0.05011443 Customer Transfer
 Confidential Customer Coin Transferee #12092   [Address on File]     5/24/2023 Bitcoin                             0.01044187 Customer Transfer
 Confidential Customer Coin Transferee #12093   [Address on File]     5/21/2023 Bitcoin                             0.01044222 Customer Transfer
 Confidential Customer Coin Transferee #12094   [Address on File]     5/24/2023 Bitcoin                             0.01129059 Customer Transfer
 Confidential Customer Coin Transferee #12095   [Address on File]     6/20/2023 Bitcoin                              0.0025844 Customer Transfer
 Confidential Customer Coin Transferee #12096   [Address on File]     6/20/2023 Bitcoin                             0.00237709 Customer Transfer
 Confidential Customer Coin Transferee #12097   [Address on File]     6/17/2023 Bitcoin                             0.02853639 Customer Transfer
 Confidential Customer Coin Transferee #12098   [Address on File]     5/19/2023 Bitcoin                             0.89223898 Customer Transfer
 Confidential Customer Coin Transferee #12098   [Address on File]     5/26/2023 Bitcoin                             0.02502298 Customer Transfer
 Confidential Customer Coin Transferee #12099   [Address on File]     6/22/2023 USDC Avalanche)                        496.3428 Customer Transfer
 Confidential Customer Coin Transferee #12100   [Address on File]     5/26/2023 Bitcoin                             0.01000516 Customer Transfer
 Confidential Customer Coin Transferee #12101   [Address on File]     6/20/2023 Bitcoin                             0.01017298 Customer Transfer
 Confidential Customer Coin Transferee #12102   [Address on File]     5/20/2023 Bitcoin                             0.02756236 Customer Transfer
 Confidential Customer Coin Transferee #12103   [Address on File]     5/23/2023 Bitcoin                              0.0129423 Customer Transfer
 Confidential Customer Coin Transferee #12103   [Address on File]     5/16/2023 Bitcoin                             0.01288067 Customer Transfer
 Confidential Customer Coin Transferee #12104   [Address on File]     6/20/2023 Bitcoin                             0.00025025 Customer Transfer
 Confidential Customer Coin Transferee #12105   [Address on File]      6/6/2023 Bitcoin                              0.0166735 Customer Transfer
 Confidential Customer Coin Transferee #12105   [Address on File]     6/19/2023 Bitcoin                             0.00269295 Customer Transfer
 Confidential Customer Coin Transferee #12106   [Address on File]     6/19/2023 Bitcoin                             0.00005961 Customer Transfer
 Confidential Customer Coin Transferee #12107   [Address on File]     5/19/2023 Bitcoin                             0.01062351 Customer Transfer
 Confidential Customer Coin Transferee #12108   [Address on File]     6/19/2023 Bitcoin                              0.0018538 Customer Transfer
 Confidential Customer Coin Transferee #12109   [Address on File]     6/19/2023 Bitcoin                             0.00154441 Customer Transfer
 Confidential Customer Coin Transferee #12110   [Address on File]     5/24/2023 Bitcoin                             0.00214847 Customer Transfer
 Confidential Customer Coin Transferee #12111   [Address on File]     5/24/2023 Bitcoin                             0.00072207 Customer Transfer
 Confidential Customer Coin Transferee #12111   [Address on File]     5/17/2023 Bitcoin                             0.00071197 Customer Transfer
 Confidential Customer Coin Transferee #12112   [Address on File]     5/31/2023 Bitcoin                             0.00991175 Customer Transfer
 Confidential Customer Coin Transferee #12112   [Address on File]     5/31/2023 Bitcoin                                  0.0066 Customer Transfer
 Confidential Customer Coin Transferee #12112   [Address on File]     5/31/2023 Bitcoin                             0.00644794 Customer Transfer
 Confidential Customer Coin Transferee #12113   [Address on File]     6/15/2023 Bitcoin                             0.00039403 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/25/2023 Bitcoin                             0.01559161 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/22/2023 Bitcoin                             0.00074628 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/24/2023 Bitcoin                             0.00074485 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/19/2023 Bitcoin                             0.00074091 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/17/2023 Bitcoin                             0.00073442 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/16/2023 Bitcoin                              0.0007337 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/31/2023 Bitcoin                             0.00071905 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/30/2023 Bitcoin                             0.00071411 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/26/2023 Bitcoin                             0.00037646 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/26/2023 Bitcoin                             0.00037555 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/27/2023 Bitcoin                             0.00037262 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/20/2023 Bitcoin                             0.00037017 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/28/2023 Bitcoin                             0.00036596 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/21/2023 Bitcoin                             0.00036579 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/18/2023 Bitcoin                             0.00036346 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/23/2023 Bitcoin                             0.00036304 Customer Transfer
 Confidential Customer Coin Transferee #12114   [Address on File]     5/29/2023 Bitcoin                                0.000356 Customer Transfer
 Confidential Customer Coin Transferee #12115   [Address on File]     5/26/2023 Bitcoin                             0.00093569 Customer Transfer
 Confidential Customer Coin Transferee #12115   [Address on File]     5/19/2023 Bitcoin                              0.0009245 Customer Transfer
 Confidential Customer Coin Transferee #12115   [Address on File]     5/20/2023 Bitcoin                             0.00092338 Customer Transfer
 Confidential Customer Coin Transferee #12115   [Address on File]     5/19/2023 Bitcoin                             0.00092085 Customer Transfer
 Confidential Customer Coin Transferee #12115   [Address on File]     5/21/2023 Bitcoin                             0.00091641 Customer Transfer
 Confidential Customer Coin Transferee #12115   [Address on File]     5/17/2023 Bitcoin                             0.00091078 Customer Transfer
 Confidential Customer Coin Transferee #12115   [Address on File]     5/17/2023 Bitcoin                             0.00089935 Customer Transfer
 Confidential Customer Coin Transferee #12115   [Address on File]     5/22/2023 Bitcoin                             0.00066869 Customer Transfer
 Confidential Customer Coin Transferee #12115   [Address on File]     5/16/2023 Bitcoin                             0.00055066 Customer Transfer
 Confidential Customer Coin Transferee #12116   [Address on File]     5/19/2023 Bitcoin                             0.08799759 Customer Transfer
 Confidential Customer Coin Transferee #12116   [Address on File]     5/23/2023 Bitcoin                                 0.00186 Customer Transfer
 Confidential Customer Coin Transferee #12117   [Address on File]     5/23/2023 Bitcoin                             0.02729773 Customer Transfer
 Confidential Customer Coin Transferee #12117   [Address on File]     5/23/2023 Bitcoin                             0.00436889 Customer Transfer
 Confidential Customer Coin Transferee #12118   [Address on File]     5/17/2023 Bitcoin                             0.00149806 Customer Transfer
 Confidential Customer Coin Transferee #12118   [Address on File]     5/24/2023 Bitcoin                             0.00105479 Customer Transfer
 Confidential Customer Coin Transferee #12118   [Address on File]     5/28/2023 Bitcoin                             0.00094344 Customer Transfer
 Confidential Customer Coin Transferee #12118   [Address on File]     5/21/2023 Bitcoin                             0.00070674 Customer Transfer
 Confidential Customer Coin Transferee #12118   [Address on File]     5/30/2023 Bitcoin                             0.00019966 Customer Transfer
 Confidential Customer Coin Transferee #12119   [Address on File]     5/26/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #12119   [Address on File]     5/24/2023 Bitcoin                                0.000025 Customer Transfer
 Confidential Customer Coin Transferee #12120   [Address on File]     5/25/2023 Bitcoin                             0.00190239 Customer Transfer
 Confidential Customer Coin Transferee #12120   [Address on File]     5/24/2023 Bitcoin                             0.00186166 Customer Transfer
 Confidential Customer Coin Transferee #12120   [Address on File]     5/19/2023 Bitcoin                             0.00185468 Customer Transfer
 Confidential Customer Coin Transferee #12120   [Address on File]     5/22/2023 Bitcoin                             0.00185291 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12120   [Address on File]      6/1/2023 Bitcoin                             0.00184919 Customer Transfer
 Confidential Customer Coin Transferee #12120   [Address on File]     5/16/2023 Bitcoin                             0.00183555 Customer Transfer
 Confidential Customer Coin Transferee #12120   [Address on File]     5/28/2023 Bitcoin                             0.00183468 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/22/2023 Bitcoin                             0.00125585 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/26/2023 Bitcoin                             0.00124221 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/28/2023 Bitcoin                             0.00109672 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/22/2023 Bitcoin                             0.00107372 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/23/2023 Bitcoin                              0.0010564 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/26/2023 Bitcoin                             0.00103403 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/22/2023 Bitcoin                              0.0009967 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/26/2023 Bitcoin                             0.00094233 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/24/2023 Bitcoin                             0.00093075 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/22/2023 Bitcoin                             0.00088969 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/22/2023 Bitcoin                             0.00088772 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/23/2023 Bitcoin                             0.00080994 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/22/2023 Bitcoin                             0.00074379 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/22/2023 Bitcoin                             0.00074218 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/28/2023 Bitcoin                             0.00061992 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/23/2023 Bitcoin                             0.00055974 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/24/2023 Bitcoin                             0.00047577 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/22/2023 Bitcoin                             0.00044472 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/23/2023 Bitcoin                              0.0004226 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/26/2023 Bitcoin                             0.00037612 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/18/2023 Bitcoin                             0.00036507 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/20/2023 Bitcoin                             0.00034965 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/21/2023 Bitcoin                             0.00034958 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/21/2023 Bitcoin                             0.00034355 Customer Transfer
 Confidential Customer Coin Transferee #12121   [Address on File]     5/26/2023 Bitcoin                             0.00011158 Customer Transfer
 Confidential Customer Coin Transferee #12122   [Address on File]     5/16/2023 Bitcoin                             0.21206747 Customer Transfer
 Confidential Customer Coin Transferee #12123   [Address on File]     6/20/2023 Bitcoin                             0.00298681 Customer Transfer
 Confidential Customer Coin Transferee #12124   [Address on File]     6/20/2023 Bitcoin                             0.00004338 Customer Transfer
 Confidential Customer Coin Transferee #12125   [Address on File]     6/19/2023 Bitcoin                              0.0023739 Customer Transfer
 Confidential Customer Coin Transferee #12126   [Address on File]     6/20/2023 Bitcoin                             0.00046474 Customer Transfer
 Confidential Customer Coin Transferee #12127   [Address on File]     5/17/2023 Bitcoin                             0.01721557 Customer Transfer
 Confidential Customer Coin Transferee #12127   [Address on File]     5/29/2023 Bitcoin                             0.00373731 Customer Transfer
 Confidential Customer Coin Transferee #12128   [Address on File]     5/17/2023 Bitcoin                             0.00052015 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12129   [Address on File]     5/22/2023 Bitcoin                              0.0014844 Customer Transfer
 Confidential Customer Coin Transferee #12129   [Address on File]      6/8/2023 Bitcoin                             0.00065541 Customer Transfer
 Confidential Customer Coin Transferee #12130   [Address on File]     5/19/2023 Bitcoin                             0.04624239 Customer Transfer
 Confidential Customer Coin Transferee #12130   [Address on File]     5/26/2023 Bitcoin                             0.04315137 Customer Transfer
 Confidential Customer Coin Transferee #12131   [Address on File]     6/20/2023 Bitcoin                              0.0019256 Customer Transfer
 Confidential Customer Coin Transferee #12132   [Address on File]     6/19/2023 Bitcoin                              0.0031486 Customer Transfer
 Confidential Customer Coin Transferee #12133   [Address on File]     6/20/2023 Bitcoin                             0.00023219 Customer Transfer
 Confidential Customer Coin Transferee #12134   [Address on File]     5/19/2023 Bitcoin                             0.00245324 Customer Transfer
 Confidential Customer Coin Transferee #12135   [Address on File]     6/19/2023 Bitcoin                             0.00005941 Customer Transfer
 Confidential Customer Coin Transferee #12136   [Address on File]     6/20/2023 Bitcoin                             0.00005822 Customer Transfer
 Confidential Customer Coin Transferee #12137   [Address on File]     6/20/2023 Bitcoin                              0.0001881 Customer Transfer
 Confidential Customer Coin Transferee #12138   [Address on File]     6/20/2023 Bitcoin                             0.00006958 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/28/2023 Bitcoin                             0.00105958 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/25/2023 Bitcoin                             0.00092121 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/26/2023 Bitcoin                             0.00092101 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/26/2023 Bitcoin                             0.00091481 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/30/2023 Bitcoin                             0.00087771 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/29/2023 Bitcoin                             0.00087424 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/27/2023 Bitcoin                             0.00080198 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/28/2023 Bitcoin                             0.00078679 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/27/2023 Bitcoin                             0.00076806 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/25/2023 Bitcoin                             0.00074639 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/25/2023 Bitcoin                             0.00074383 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/25/2023 Bitcoin                             0.00074343 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/25/2023 Bitcoin                             0.00074251 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/26/2023 Bitcoin                             0.00073736 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/26/2023 Bitcoin                             0.00073659 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/27/2023 Bitcoin                              0.0007308 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/27/2023 Bitcoin                             0.00073079 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/26/2023 Bitcoin                             0.00072148 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/29/2023 Bitcoin                             0.00071866 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/28/2023 Bitcoin                             0.00071717 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/28/2023 Bitcoin                             0.00071643 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/28/2023 Bitcoin                             0.00071639 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/30/2023 Bitcoin                             0.00070874 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/28/2023 Bitcoin                             0.00070708 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/30/2023 Bitcoin                             0.00070383 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/31/2023 Bitcoin                              0.0007022 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/29/2023 Bitcoin                             0.00069967 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/29/2023 Bitcoin                             0.00069846 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/29/2023 Bitcoin                             0.00069836 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/30/2023 Bitcoin                                 0.00069 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/29/2023 Bitcoin                             0.00065549 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/30/2023 Bitcoin                             0.00065377 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/28/2023 Bitcoin                             0.00063701 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/26/2023 Bitcoin                             0.00062293 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/25/2023 Bitcoin                             0.00056288 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/26/2023 Bitcoin                             0.00055348 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/26/2023 Bitcoin                             0.00055148 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/30/2023 Bitcoin                             0.00053099 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/29/2023 Bitcoin                             0.00037485 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/26/2023 Bitcoin                             0.00037119 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/29/2023 Bitcoin                             0.00035385 Customer Transfer
 Confidential Customer Coin Transferee #12139   [Address on File]     5/28/2023 Bitcoin                             0.00034676 Customer Transfer
 Confidential Customer Coin Transferee #12140   [Address on File]     5/18/2023 Bitcoin                             0.02080849 Customer Transfer
 Confidential Customer Coin Transferee #12141   [Address on File]     5/23/2023 Bitcoin                              0.0130588 Customer Transfer
 Confidential Customer Coin Transferee #12141   [Address on File]     5/30/2023 Bitcoin                             0.00847308 Customer Transfer
 Confidential Customer Coin Transferee #12142   [Address on File]     5/18/2023 Bitcoin                             0.00109784 Customer Transfer
 Confidential Customer Coin Transferee #12143   [Address on File]     5/21/2023 Bitcoin                             0.01043647 Customer Transfer
 Confidential Customer Coin Transferee #12144   [Address on File]     5/21/2023 Bitcoin                             0.00244734 Customer Transfer
 Confidential Customer Coin Transferee #12145   [Address on File]     5/20/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #12145   [Address on File]     5/24/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #12145   [Address on File]     5/25/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #12145   [Address on File]     5/29/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #12145   [Address on File]     5/31/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #12146   [Address on File]     5/30/2023 Bitcoin                             0.00103614 Customer Transfer
 Confidential Customer Coin Transferee #12146   [Address on File]     5/27/2023 Bitcoin                             0.00085497 Customer Transfer
 Confidential Customer Coin Transferee #12146   [Address on File]     5/27/2023 Bitcoin                             0.00074125 Customer Transfer
 Confidential Customer Coin Transferee #12146   [Address on File]     5/23/2023 Bitcoin                             0.00073254 Customer Transfer
 Confidential Customer Coin Transferee #12146   [Address on File]     5/23/2023 Bitcoin                              0.0007309 Customer Transfer
 Confidential Customer Coin Transferee #12146   [Address on File]     5/27/2023 Bitcoin                             0.00068785 Customer Transfer
 Confidential Customer Coin Transferee #12146   [Address on File]     5/28/2023 Bitcoin                             0.00062939 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12146   [Address on File]     5/23/2023 Bitcoin                             0.00036399 Customer Transfer
 Confidential Customer Coin Transferee #12146   [Address on File]     5/23/2023 Bitcoin                             0.00020088 Customer Transfer
 Confidential Customer Coin Transferee #12147   [Address on File]     6/20/2023 Bitcoin                             0.00024047 Customer Transfer
 Confidential Customer Coin Transferee #12148   [Address on File]     6/20/2023 Bitcoin                             0.00318515 Customer Transfer
 Confidential Customer Coin Transferee #12149   [Address on File]     5/17/2023 Bitcoin                             0.15874329 Customer Transfer

 Confidential Customer Coin Transferee #12150   [Address on File]     5/22/2023 USD Coin                               120.00073 Customer Transfer

 Confidential Customer Coin Transferee #12151   [Address on File]     5/22/2023 BinancePeg Tether BSC)                      19.13 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     6/15/2023 Tether USD                                801500 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]      6/2/2023 Tether USD                                300000 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     5/25/2023 Tether USD                                285090 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]      6/7/2023 Tether USD                                199998 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     5/16/2023 Tether USD                                149987 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     5/19/2023 Tether USD                                 44990 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     5/29/2023 Tether USD                                 19898 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     5/31/2023 Tether USD                                   1864 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     5/23/2023 Tether USD                                   1296 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     6/21/2023 Tether USD                                    375 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     5/26/2023 Tether USD                                    249 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]      6/7/2023 Tether USD                                    115 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     6/21/2023 Tether USD                                    100 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     6/21/2023 Tether USD                                     45 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     6/15/2023 Bitcoin                                8.9998724 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]      6/5/2023 Tether USD                                      5 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]      6/5/2023 Tether USD                                      5 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]      6/5/2023 Tether USD                                      5 Customer Transfer
 Confidential Customer Coin Transferee #12152   [Address on File]     6/14/2023 Bitcoin                                    0.0042 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     5/30/2023 Tether USD                                595050 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     6/14/2023 Tether USD                                500701 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     5/19/2023 Tether USD                                404990 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     6/15/2023 Tether USD                                250000 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     5/19/2023 Tether USD                                 49931 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     5/30/2023 Tether USD                                   3789 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     5/25/2023 Tether USD                                    200 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     6/19/2023 Tether USD                                    200 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     6/12/2023 Tether USD                                   80 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     6/14/2023 Bitcoin                             58.9956724 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     5/19/2023 Tether USD                                   10 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]     6/15/2023 Tether USD                                   10 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]      6/5/2023 Tether USD                                    5 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]      6/5/2023 Tether USD                                    5 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]      6/5/2023 Tether USD                                    5 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]      6/5/2023 Tether USD                                    5 Customer Transfer
 Confidential Customer Coin Transferee #12153   [Address on File]      6/7/2023 Tether USD                                    2 Customer Transfer
 Confidential Customer Coin Transferee #12154   [Address on File]     6/19/2023 Bitcoin                             0.00005615 Customer Transfer
 Confidential Customer Coin Transferee #12155   [Address on File]     5/24/2023 Bitcoin                             0.02441674 Customer Transfer
 Confidential Customer Coin Transferee #12155   [Address on File]     5/17/2023 Bitcoin                             0.02328609 Customer Transfer
 Confidential Customer Coin Transferee #12156   [Address on File]     5/26/2023 Bitcoin                             0.00093148 Customer Transfer
 Confidential Customer Coin Transferee #12156   [Address on File]     5/19/2023 Bitcoin                             0.00085227 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/17/2023 Bitcoin                             0.00576681 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/17/2023 Bitcoin                             0.00532271 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/24/2023 Bitcoin                             0.00457106 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/24/2023 Bitcoin                             0.00378555 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/17/2023 Bitcoin                             0.00326387 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/18/2023 Bitcoin                              0.0021792 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/18/2023 Bitcoin                                0.001888 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/17/2023 Bitcoin                             0.00175378 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/24/2023 Bitcoin                              0.0017112 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/16/2023 Bitcoin                             0.00158717 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/20/2023 Bitcoin                             0.00148013 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/16/2023 Bitcoin                             0.00128979 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/17/2023 Bitcoin                             0.00128763 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/23/2023 Bitcoin                             0.00128037 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/23/2023 Bitcoin                             0.00124206 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/16/2023 Bitcoin                             0.00120388 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/21/2023 Bitcoin                             0.00105206 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/27/2023 Bitcoin                             0.00089247 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/18/2023 Bitcoin                             0.00087347 Customer Transfer
 Confidential Customer Coin Transferee #12157   [Address on File]     5/19/2023 Bitcoin                             0.00048172 Customer Transfer
 Confidential Customer Coin Transferee #12158   [Address on File]     6/12/2023 Bitcoin                             0.00306863 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count           or Transfer

 Confidential Customer Coin Transferee #12159   [Address on File]     5/16/2023 Bitcoin                                3.29126983 Customer Transfer
 Confidential Customer Coin Transferee #12160   [Address on File]     5/24/2023 Bitcoin                                      0.0019 Customer Transfer
 Confidential Customer Coin Transferee #12160   [Address on File]     5/26/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #12160   [Address on File]     5/26/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #12161   [Address on File]      6/4/2023 Tether USD                              37.616145 Customer Transfer
 Confidential Customer Coin Transferee #12161   [Address on File]      6/4/2023 Tether USD                              36.756918 Customer Transfer
 Confidential Customer Coin Transferee #12162   [Address on File]     5/20/2023 Bitcoin                                   0.003872 Customer Transfer
 Confidential Customer Coin Transferee #12162   [Address on File]     5/27/2023 Bitcoin                                 0.0014964 Customer Transfer
 Confidential Customer Coin Transferee #12163   [Address on File]     6/19/2023 Bitcoin                                0.01586962 Customer Transfer
 Confidential Customer Coin Transferee #12164   [Address on File]     5/26/2023 Bitcoin                                 0.0376301 Customer Transfer
 Confidential Customer Coin Transferee #12165   [Address on File]     5/29/2023 Bitcoin                                0.02190956 Customer Transfer
 Confidential Customer Coin Transferee #12165   [Address on File]     6/19/2023 Bitcoin                                0.01200179 Customer Transfer
 Confidential Customer Coin Transferee #12166   [Address on File]     6/19/2023 Bitcoin                                0.00041621 Customer Transfer
 Confidential Customer Coin Transferee #12167   [Address on File]     5/27/2023 Bitcoin                                 0.0452704 Customer Transfer
 Confidential Customer Coin Transferee #12168   [Address on File]     6/20/2023 Bitcoin                                0.00040637 Customer Transfer
 Confidential Customer Coin Transferee #12169   [Address on File]     5/20/2023 Bitcoin                                 0.0009048 Customer Transfer
 Confidential Customer Coin Transferee #12170   [Address on File]     5/19/2023 Bitcoin                                0.00259154 Customer Transfer
 Confidential Customer Coin Transferee #12171   [Address on File]     5/26/2023 Bitcoin                                0.02173237 Customer Transfer
 Confidential Customer Coin Transferee #12172   [Address on File]     5/22/2023 Bitcoin                                0.00184243 Customer Transfer
 Confidential Customer Coin Transferee #12173   [Address on File]     5/29/2023 Bitcoin                                0.01237226 Customer Transfer
 Confidential Customer Coin Transferee #12174   [Address on File]     6/19/2023 Bitcoin                                0.00005828 Customer Transfer
 Confidential Customer Coin Transferee #12175   [Address on File]     6/15/2023 Tether USD                               9.985007 Customer Transfer
 Confidential Customer Coin Transferee #12175   [Address on File]     6/14/2023 Ether                                  0.00601646 Customer Transfer
 Confidential Customer Coin Transferee #12175   [Address on File]     6/14/2023 Bitcoin                                0.00039726 Customer Transfer
 Confidential Customer Coin Transferee #12176   [Address on File]     6/14/2023 USD Coin                                 9.984009 Customer Transfer
 Confidential Customer Coin Transferee #12176   [Address on File]     6/14/2023 Litecoin                                0.1356278 Customer Transfer
 Confidential Customer Coin Transferee #12177   [Address on File]     6/19/2023 Bitcoin                                0.00753393 Customer Transfer
 Confidential Customer Coin Transferee #12178   [Address on File]     5/16/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #12179   [Address on File]     5/20/2023 Bitcoin                                 0.0110928 Customer Transfer
 Confidential Customer Coin Transferee #12180   [Address on File]     5/19/2023 Bitcoin                                0.00369646 Customer Transfer
 Confidential Customer Coin Transferee #12181   [Address on File]     6/20/2023 Bitcoin                                0.03529027 Customer Transfer
 Confidential Customer Coin Transferee #12182   [Address on File]     6/20/2023 Bitcoin                                0.00178689 Customer Transfer
 Confidential Customer Coin Transferee #12183   [Address on File]     5/21/2023 Bitcoin                                0.05588318 Customer Transfer
 Confidential Customer Coin Transferee #12184   [Address on File]     6/16/2023 Bitcoin                                0.00039744 Customer Transfer
 Confidential Customer Coin Transferee #12184   [Address on File]     6/13/2023 Bitcoin                                0.00038369 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12185   [Address on File]      6/1/2023 Bitcoin                             0.00207281 Customer Transfer
 Confidential Customer Coin Transferee #12186   [Address on File]     6/20/2023 Bitcoin                             0.00119515 Customer Transfer
 Confidential Customer Coin Transferee #12187   [Address on File]     6/16/2023 Bitcoin                                0.001698 Customer Transfer
 Confidential Customer Coin Transferee #12188   [Address on File]     6/19/2023 Bitcoin                             0.00055597 Customer Transfer
 Confidential Customer Coin Transferee #12189   [Address on File]     5/26/2023 Bitcoin                             0.00642308 Customer Transfer
 Confidential Customer Coin Transferee #12189   [Address on File]     5/19/2023 Bitcoin                             0.00610365 Customer Transfer

 Confidential Customer Coin Transferee #12190   [Address on File]      6/7/2023 Tether USD                              39.948041 Customer Transfer

 Confidential Customer Coin Transferee #12190   [Address on File]     5/22/2023 Avalanche CChain)                      4.85933148 Customer Transfer

 Confidential Customer Coin Transferee #12190   [Address on File]     5/22/2023 Solana                                 1.39878234 Customer Transfer

 Confidential Customer Coin Transferee #12190   [Address on File]     5/22/2023 Ether                                  0.03569496 Customer Transfer

 Confidential Customer Coin Transferee #12190   [Address on File]     5/22/2023 Bitcoin                             0.00241094 Customer Transfer
 Confidential Customer Coin Transferee #12191   [Address on File]     5/25/2023 Bitcoin                             0.04781163 Customer Transfer
 Confidential Customer Coin Transferee #12192   [Address on File]     6/20/2023 Bitcoin                             0.00356733 Customer Transfer
 Confidential Customer Coin Transferee #12193   [Address on File]     5/22/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #12194   [Address on File]     6/20/2023 Bitcoin                             0.00373554 Customer Transfer
 Confidential Customer Coin Transferee #12195   [Address on File]     6/12/2023 USDC Avalanche)                     1694.88307 Customer Transfer
 Confidential Customer Coin Transferee #12195   [Address on File]     6/15/2023 USDC Avalanche)                     995.532233 Customer Transfer
 Confidential Customer Coin Transferee #12195   [Address on File]     6/15/2023 USDC Avalanche)                     496.861569 Customer Transfer
 Confidential Customer Coin Transferee #12195   [Address on File]     6/15/2023 USDC Avalanche)                     496.351824 Customer Transfer
 Confidential Customer Coin Transferee #12195   [Address on File]     6/11/2023 USDC Avalanche)                     297.151424 Customer Transfer
 Confidential Customer Coin Transferee #12195   [Address on File]      6/6/2023 USDC Avalanche)                     197.251649 Customer Transfer
 Confidential Customer Coin Transferee #12196   [Address on File]     5/17/2023 USD Coin                                     25 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]     5/27/2023 XRP                                      91144 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]     5/27/2023 USD Coin                                   9135 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]     5/27/2023 Bitcoin                             6766.94294 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]     5/27/2023 Bitcoin                            3313.165564 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]     5/31/2023 Bitcoin                            776.4620143 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]     5/31/2023 Bitcoin                             370.697806 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]      6/1/2023 Bitcoin                            364.7364519 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]     5/31/2023 USD Coin                             99.910035 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]      6/6/2023 Bitcoin                            24.10772252 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]      6/8/2023 Bitcoin                             4.22841269 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]      6/9/2023 Bitcoin                             3.57499465 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]      6/8/2023 Bitcoin                             2.65931777 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]     6/14/2023 Bitcoin                             1.37851411 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]     5/27/2023 Tether USD                            0.991397 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]     6/14/2023 Bitcoin                             0.02594983 Customer Transfer
 Confidential Customer Coin Transferee #12197   [Address on File]     5/27/2023 Ether                                      0.01 Customer Transfer

 Confidential Customer Coin Transferee #12198   [Address on File]     6/21/2023 Fig Gaming Shares Amico                         1 Customer Transfer

 Confidential Customer Coin Transferee #12199   [Address on File]      6/8/2023 Bitcoin                                     0.0074 Customer Transfer
 Confidential Customer Coin Transferee #12200   [Address on File]     5/20/2023 Bitcoin                                0.07267412 Customer Transfer
 Confidential Customer Coin Transferee #12201   [Address on File]     6/20/2023 Bitcoin                                0.03284127 Customer Transfer
 Confidential Customer Coin Transferee #12202   [Address on File]     6/20/2023 Bitcoin                                 0.0152627 Customer Transfer
 Confidential Customer Coin Transferee #12203   [Address on File]     6/20/2023 Bitcoin                                 0.0009534 Customer Transfer
 Confidential Customer Coin Transferee #12204   [Address on File]     6/20/2023 Bitcoin                                0.00005642 Customer Transfer
 Confidential Customer Coin Transferee #12205   [Address on File]     5/20/2023 Bitcoin                                0.20268597 Customer Transfer
 Confidential Customer Coin Transferee #12206   [Address on File]     5/29/2023 Bitcoin                                0.00200739 Customer Transfer
 Confidential Customer Coin Transferee #12206   [Address on File]     5/22/2023 Bitcoin                                0.00199355 Customer Transfer
 Confidential Customer Coin Transferee #12207   [Address on File]      6/8/2023 Bitcoin                                 0.0221283 Customer Transfer
 Confidential Customer Coin Transferee #12208   [Address on File]     5/29/2023 USDC Avalanche)                        496.751948 Customer Transfer
 Confidential Customer Coin Transferee #12208   [Address on File]     6/10/2023 USDC Avalanche)                         247.18169 Customer Transfer
 Confidential Customer Coin Transferee #12209   [Address on File]     5/30/2023 Bitcoin                                0.00287858 Customer Transfer
 Confidential Customer Coin Transferee #12210   [Address on File]     6/20/2023 Bitcoin                                0.00279643 Customer Transfer
 Confidential Customer Coin Transferee #12211   [Address on File]     5/23/2023 Bitcoin                                0.01726432 Customer Transfer
 Confidential Customer Coin Transferee #12211   [Address on File]     5/16/2023 Bitcoin                                0.01697276 Customer Transfer
 Confidential Customer Coin Transferee #12212   [Address on File]     5/16/2023 Bitcoin                                0.03102916 Customer Transfer
 Confidential Customer Coin Transferee #12213   [Address on File]     5/19/2023 Bitcoin                                0.07103126 Customer Transfer
 Confidential Customer Coin Transferee #12213   [Address on File]     5/22/2023 Bitcoin                                0.03695842 Customer Transfer
 Confidential Customer Coin Transferee #12213   [Address on File]     5/29/2023 Bitcoin                                0.03608482 Customer Transfer
 Confidential Customer Coin Transferee #12213   [Address on File]     5/18/2023 Bitcoin                                     0.0073 Customer Transfer
 Confidential Customer Coin Transferee #12213   [Address on File]     5/30/2023 Bitcoin                                0.00358285 Customer Transfer
 Confidential Customer Coin Transferee #12213   [Address on File]     5/18/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #12214   [Address on File]     5/22/2023 Bitcoin                                0.06836332 Customer Transfer
 Confidential Customer Coin Transferee #12214   [Address on File]     5/20/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #12215   [Address on File]     5/23/2023 Bitcoin                                1.09529763 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12216   [Address on File]     6/19/2023 Bitcoin                             0.00063259 Customer Transfer
 Confidential Customer Coin Transferee #12217   [Address on File]      6/1/2023 Bitcoin                              0.0146495 Customer Transfer
 Confidential Customer Coin Transferee #12217   [Address on File]     5/20/2023 Bitcoin                             0.00460432 Customer Transfer
 Confidential Customer Coin Transferee #12217   [Address on File]     5/25/2023 Bitcoin                              0.0038102 Customer Transfer
 Confidential Customer Coin Transferee #12218   [Address on File]     5/29/2023 Bitcoin                             0.08118868 Customer Transfer
 Confidential Customer Coin Transferee #12219   [Address on File]     6/19/2023 Bitcoin                             0.00005642 Customer Transfer
 Confidential Customer Coin Transferee #12220   [Address on File]     6/20/2023 Bitcoin                             0.00005637 Customer Transfer
 Confidential Customer Coin Transferee #12221   [Address on File]     6/20/2023 Bitcoin                             0.00336709 Customer Transfer
 Confidential Customer Coin Transferee #12222   [Address on File]     5/18/2023 Bitcoin                             0.00053701 Customer Transfer
 Confidential Customer Coin Transferee #12223   [Address on File]     5/25/2023 Bitcoin                              0.0117443 Customer Transfer
 Confidential Customer Coin Transferee #12223   [Address on File]     5/30/2023 Bitcoin                             0.00716484 Customer Transfer
 Confidential Customer Coin Transferee #12223   [Address on File]     5/19/2023 Bitcoin                             0.00666413 Customer Transfer
 Confidential Customer Coin Transferee #12223   [Address on File]     5/16/2023 Bitcoin                             0.00611636 Customer Transfer
 Confidential Customer Coin Transferee #12223   [Address on File]     5/17/2023 Bitcoin                             0.00167516 Customer Transfer
 Confidential Customer Coin Transferee #12223   [Address on File]     5/30/2023 Bitcoin                             0.00067768 Customer Transfer
 Confidential Customer Coin Transferee #12223   [Address on File]     5/19/2023 Bitcoin                             0.00061855 Customer Transfer
 Confidential Customer Coin Transferee #12223   [Address on File]     5/25/2023 Bitcoin                             0.00037886 Customer Transfer
 Confidential Customer Coin Transferee #12223   [Address on File]     5/19/2023 Bitcoin                             0.00037033 Customer Transfer
 Confidential Customer Coin Transferee #12224   [Address on File]     6/20/2023 Bitcoin                             0.00011592 Customer Transfer
 Confidential Customer Coin Transferee #12225   [Address on File]     5/21/2023 Bitcoin                             0.00911202 Customer Transfer
 Confidential Customer Coin Transferee #12225   [Address on File]     5/25/2023 Bitcoin                             0.00882253 Customer Transfer
 Confidential Customer Coin Transferee #12225   [Address on File]     5/17/2023 Bitcoin                             0.00863852 Customer Transfer
 Confidential Customer Coin Transferee #12226   [Address on File]     5/31/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #12227   [Address on File]     5/24/2023 Bitcoin                             0.00680057 Customer Transfer
 Confidential Customer Coin Transferee #12228   [Address on File]     6/20/2023 Bitcoin                             0.00123697 Customer Transfer
 Confidential Customer Coin Transferee #12229   [Address on File]     5/23/2023 Bitcoin                              0.0106947 Customer Transfer
 Confidential Customer Coin Transferee #12230   [Address on File]     5/27/2023 Bitcoin                             0.00037199 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/28/2023 Bitcoin                              0.0007668 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/16/2023 Bitcoin                             0.00073486 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/28/2023 Bitcoin                             0.00073332 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/28/2023 Bitcoin                             0.00073311 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/28/2023 Bitcoin                             0.00073118 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/28/2023 Bitcoin                             0.00073098 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/28/2023 Bitcoin                             0.00073088 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/28/2023 Bitcoin                             0.00071993 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/28/2023 Bitcoin                              0.0007073 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/28/2023 Bitcoin                             0.00070677 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/28/2023 Bitcoin                             0.00070079 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/16/2023 Bitcoin                             0.00055205 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/16/2023 Bitcoin                             0.00055157 Customer Transfer
 Confidential Customer Coin Transferee #12231   [Address on File]     5/28/2023 Bitcoin                             0.00036643 Customer Transfer
 Confidential Customer Coin Transferee #12232   [Address on File]     6/20/2023 Bitcoin                              0.0025921 Customer Transfer
 Confidential Customer Coin Transferee #12233   [Address on File]     5/30/2023 Bitcoin                             0.02465782 Customer Transfer
 Confidential Customer Coin Transferee #12234   [Address on File]     6/20/2023 Bitcoin                             0.00005832 Customer Transfer
 Confidential Customer Coin Transferee #12235   [Address on File]     6/20/2023 Bitcoin                             0.00003547 Customer Transfer
 Confidential Customer Coin Transferee #12236   [Address on File]     5/18/2023 Bitcoin                             0.00997452 Customer Transfer
 Confidential Customer Coin Transferee #12237   [Address on File]     6/12/2023 Bitcoin                             0.00094374 Customer Transfer
 Confidential Customer Coin Transferee #12238   [Address on File]     6/17/2023 Bitcoin                             0.11044987 Customer Transfer

 Confidential Customer Coin Transferee #12239   [Address on File]     6/19/2023 Bitcoin                                 0.0302516 Customer Transfer
 Confidential Customer Coin Transferee #12240   [Address on File]     6/20/2023 Bitcoin                                0.00065785 Customer Transfer
 Confidential Customer Coin Transferee #12241   [Address on File]     5/30/2023 Bitcoin                                 0.0018931 Customer Transfer
 Confidential Customer Coin Transferee #12242   [Address on File]      6/5/2023 Bitcoin                                0.00367585 Customer Transfer

 Confidential Customer Coin Transferee #12243   [Address on File]     6/20/2023 Bitcoin                                0.00084573 Customer Transfer
 Confidential Customer Coin Transferee #12244   [Address on File]     5/26/2023 Bitcoin                                0.00921684 Customer Transfer
 Confidential Customer Coin Transferee #12244   [Address on File]     5/17/2023 Bitcoin                                0.00802463 Customer Transfer
 Confidential Customer Coin Transferee #12244   [Address on File]      6/2/2023 Bitcoin                                0.00360006 Customer Transfer
 Confidential Customer Coin Transferee #12244   [Address on File]     5/17/2023 Bitcoin                                0.00262899 Customer Transfer
 Confidential Customer Coin Transferee #12244   [Address on File]     5/21/2023 Bitcoin                                0.00148584 Customer Transfer
 Confidential Customer Coin Transferee #12245   [Address on File]     5/23/2023 Bitcoin                                0.01120978 Customer Transfer

 Confidential Customer Coin Transferee #12246   [Address on File]     5/29/2023 Bitcoin                                0.00097713 Customer Transfer

 Confidential Customer Coin Transferee #12246   [Address on File]     5/31/2023 Bitcoin                                0.00091728 Customer Transfer

 Confidential Customer Coin Transferee #12246   [Address on File]     5/17/2023 Bitcoin                                0.00090778 Customer Transfer

 Confidential Customer Coin Transferee #12246   [Address on File]     5/17/2023 Bitcoin                                0.00088943 Customer Transfer

 Confidential Customer Coin Transferee #12246   [Address on File]     5/31/2023 Bitcoin                                0.00071931 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #12246   [Address on File]     5/16/2023 Bitcoin                                0.00069853 Customer Transfer

 Confidential Customer Coin Transferee #12246   [Address on File]     5/17/2023 Bitcoin                                0.00037078 Customer Transfer

 Confidential Customer Coin Transferee #12246   [Address on File]     5/30/2023 Bitcoin                                0.00028097 Customer Transfer
 Confidential Customer Coin Transferee #12247   [Address on File]     5/23/2023 Bitcoin                                0.01519165 Customer Transfer
 Confidential Customer Coin Transferee #12248   [Address on File]     5/20/2023 Bitcoin                                0.00090427 Customer Transfer
 Confidential Customer Coin Transferee #12249   [Address on File]     5/22/2023 Bitcoin                                0.07619665 Customer Transfer
 Confidential Customer Coin Transferee #12249   [Address on File]     5/31/2023 Bitcoin                                0.06276934 Customer Transfer
 Confidential Customer Coin Transferee #12249   [Address on File]     5/22/2023 Bitcoin                                0.02458204 Customer Transfer
 Confidential Customer Coin Transferee #12249   [Address on File]     5/22/2023 Bitcoin                                0.01230828 Customer Transfer
 Confidential Customer Coin Transferee #12250   [Address on File]     5/21/2023 Bitcoin                                0.01311783 Customer Transfer
 Confidential Customer Coin Transferee #12250   [Address on File]     5/20/2023 Bitcoin                                0.00543766 Customer Transfer
 Confidential Customer Coin Transferee #12250   [Address on File]     5/30/2023 Bitcoin                                0.00402358 Customer Transfer
 Confidential Customer Coin Transferee #12250   [Address on File]     5/17/2023 Bitcoin                                0.00301364 Customer Transfer
 Confidential Customer Coin Transferee #12250   [Address on File]     5/16/2023 Bitcoin                                 0.0014349 Customer Transfer
 Confidential Customer Coin Transferee #12250   [Address on File]     5/16/2023 Bitcoin                                0.00106806 Customer Transfer
 Confidential Customer Coin Transferee #12250   [Address on File]     5/19/2023 Bitcoin                                0.00072471 Customer Transfer
 Confidential Customer Coin Transferee #12251   [Address on File]     5/19/2023 Bitcoin                                0.07388611 Customer Transfer
 Confidential Customer Coin Transferee #12251   [Address on File]     5/23/2023 Bitcoin                                 0.0546124 Customer Transfer
 Confidential Customer Coin Transferee #12251   [Address on File]     5/21/2023 Bitcoin                                0.00924676 Customer Transfer
 Confidential Customer Coin Transferee #12252   [Address on File]     5/23/2023 Bitcoin                                0.00577771 Customer Transfer
 Confidential Customer Coin Transferee #12253   [Address on File]     5/22/2023 Bitcoin                                0.01200934 Customer Transfer
 Confidential Customer Coin Transferee #12253   [Address on File]     5/31/2023 Bitcoin                                0.01013128 Customer Transfer

 Confidential Customer Coin Transferee #12254   [Address on File]     5/20/2023 Tether USD                                 294.01 Customer Transfer

 Confidential Customer Coin Transferee #12254   [Address on File]     6/13/2023 Tether USD                                 293.05 Customer Transfer

 Confidential Customer Coin Transferee #12254   [Address on File]     5/18/2023 Tether USD                                     293 Customer Transfer
 Confidential Customer Coin Transferee #12255   [Address on File]     5/29/2023 Bitcoin                                0.01875931 Customer Transfer
 Confidential Customer Coin Transferee #12256   [Address on File]     6/13/2023 Bitcoin                                0.00020745 Customer Transfer
 Confidential Customer Coin Transferee #12257   [Address on File]      6/1/2023 Tether USD                                888.9932 Customer Transfer
 Confidential Customer Coin Transferee #12258   [Address on File]     6/20/2023 Bitcoin                                0.00023829 Customer Transfer
 Confidential Customer Coin Transferee #12259   [Address on File]     6/21/2023 USDC Avalanche)                        216.590275 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12259   [Address on File]     6/16/2023 USDC Avalanche)                     107.446276 Customer Transfer
 Confidential Customer Coin Transferee #12260   [Address on File]     5/23/2023 Bitcoin                             0.13267433 Customer Transfer
 Confidential Customer Coin Transferee #12261   [Address on File]     6/12/2023 Bitcoin                             0.00663224 Customer Transfer
 Confidential Customer Coin Transferee #12261   [Address on File]     6/17/2023 Bitcoin                             0.00109578 Customer Transfer
 Confidential Customer Coin Transferee #12262   [Address on File]     6/20/2023 Bitcoin                             0.00005832 Customer Transfer
 Confidential Customer Coin Transferee #12263   [Address on File]     6/19/2023 Bitcoin                             0.00069197 Customer Transfer
 Confidential Customer Coin Transferee #12264   [Address on File]     5/24/2023 Bitcoin                             0.00371862 Customer Transfer
 Confidential Customer Coin Transferee #12264   [Address on File]     5/17/2023 Bitcoin                             0.00344619 Customer Transfer
 Confidential Customer Coin Transferee #12265   [Address on File]     5/20/2023 Bitcoin                             0.00018517 Customer Transfer
 Confidential Customer Coin Transferee #12266   [Address on File]     6/19/2023 Bitcoin                             0.00211744 Customer Transfer
 Confidential Customer Coin Transferee #12267   [Address on File]     5/20/2023 Bitcoin                             0.00739583 Customer Transfer
 Confidential Customer Coin Transferee #12268   [Address on File]     5/20/2023 Bitcoin                             0.01419708 Customer Transfer
 Confidential Customer Coin Transferee #12269   [Address on File]     6/20/2023 Bitcoin                             0.00463503 Customer Transfer
 Confidential Customer Coin Transferee #12270   [Address on File]     5/23/2023 Bitcoin                             0.09313386 Customer Transfer

 Confidential Customer Coin Transferee #12271   [Address on File]     5/29/2023 Tether USD                              1484.6769 Customer Transfer
 Confidential Customer Coin Transferee #12272   [Address on File]     5/29/2023 Bitcoin                                0.03146349 Customer Transfer
 Confidential Customer Coin Transferee #12273   [Address on File]     5/19/2023 Bitcoin                                 0.1408936 Customer Transfer
 Confidential Customer Coin Transferee #12274   [Address on File]     6/19/2023 Bitcoin                                0.00059735 Customer Transfer
 Confidential Customer Coin Transferee #12275   [Address on File]     6/20/2023 Bitcoin                                0.00208185 Customer Transfer

 Confidential Customer Coin Transferee #12276   [Address on File]     5/29/2023 Bitcoin                                0.00118117 Customer Transfer

 Confidential Customer Coin Transferee #12277   [Address on File]     6/15/2023 Bitcoin                                0.00397568 Customer Transfer
 Confidential Customer Coin Transferee #12278   [Address on File]     6/19/2023 Bitcoin                                0.00130299 Customer Transfer
 Confidential Customer Coin Transferee #12279   [Address on File]     6/15/2023 USDC Avalanche)                         96.481055 Customer Transfer
 Confidential Customer Coin Transferee #12280   [Address on File]     5/27/2023 Bitcoin                                0.00335522 Customer Transfer
 Confidential Customer Coin Transferee #12281   [Address on File]     6/20/2023 Bitcoin                                0.00295083 Customer Transfer
 Confidential Customer Coin Transferee #12282   [Address on File]     5/27/2023 Bitcoin                                 0.0026311 Customer Transfer
 Confidential Customer Coin Transferee #12283   [Address on File]     5/30/2023 Bitcoin                                0.00125317 Customer Transfer
 Confidential Customer Coin Transferee #12283   [Address on File]     5/16/2023 Bitcoin                                0.00114099 Customer Transfer
 Confidential Customer Coin Transferee #12283   [Address on File]     5/23/2023 Bitcoin                                0.00114002 Customer Transfer
 Confidential Customer Coin Transferee #12283   [Address on File]     5/17/2023 Bitcoin                                0.00102554 Customer Transfer
 Confidential Customer Coin Transferee #12283   [Address on File]     5/17/2023 Bitcoin                                0.00090726 Customer Transfer
 Confidential Customer Coin Transferee #12283   [Address on File]     5/30/2023 Bitcoin                                0.00039402 Customer Transfer
 Confidential Customer Coin Transferee #12283   [Address on File]     5/21/2023 Bitcoin                                 0.0002557 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12284   [Address on File]     6/19/2023 Bitcoin                             0.00548188 Customer Transfer
 Confidential Customer Coin Transferee #12285   [Address on File]     5/16/2023 Bitcoin                             0.00200532 Customer Transfer
 Confidential Customer Coin Transferee #12286   [Address on File]     6/20/2023 Bitcoin                             0.00005983 Customer Transfer
 Confidential Customer Coin Transferee #12287   [Address on File]     6/20/2023 Bitcoin                             0.00005728 Customer Transfer
 Confidential Customer Coin Transferee #12288   [Address on File]     6/18/2023 Bitcoin                             0.03864913 Customer Transfer
 Confidential Customer Coin Transferee #12289   [Address on File]     6/20/2023 Bitcoin                             0.00080355 Customer Transfer

 Confidential Customer Coin Transferee #12290   [Address on File]     6/20/2023 Bitcoin                                0.00003987 Customer Transfer
 Confidential Customer Coin Transferee #12291   [Address on File]     5/21/2023 Bitcoin                                0.05607363 Customer Transfer
 Confidential Customer Coin Transferee #12292   [Address on File]     5/23/2023 Bitcoin                                0.01033257 Customer Transfer
 Confidential Customer Coin Transferee #12293   [Address on File]     5/25/2023 Bitcoin                                0.00376469 Customer Transfer
 Confidential Customer Coin Transferee #12293   [Address on File]     5/26/2023 Bitcoin                                0.00375365 Customer Transfer
 Confidential Customer Coin Transferee #12293   [Address on File]     5/17/2023 Bitcoin                                0.00373071 Customer Transfer
 Confidential Customer Coin Transferee #12293   [Address on File]     5/19/2023 Bitcoin                                 0.0036922 Customer Transfer
 Confidential Customer Coin Transferee #12293   [Address on File]     5/28/2023 Bitcoin                                0.00362528 Customer Transfer

 Confidential Customer Coin Transferee #12294   [Address on File]      6/2/2023 USD Coin                                2729.1356 Customer Transfer
 Confidential Customer Coin Transferee #12295   [Address on File]      6/8/2023 Bitcoin                                0.02237776 Customer Transfer
 Confidential Customer Coin Transferee #12295   [Address on File]     6/17/2023 Bitcoin                                0.00196477 Customer Transfer
 Confidential Customer Coin Transferee #12296   [Address on File]      6/6/2023 Tether USD                                880.9475 Customer Transfer
 Confidential Customer Coin Transferee #12297   [Address on File]     5/30/2023 Bitcoin                                0.01873902 Customer Transfer
 Confidential Customer Coin Transferee #12298   [Address on File]     5/22/2023 Bitcoin                                0.00277103 Customer Transfer
 Confidential Customer Coin Transferee #12299   [Address on File]     5/16/2023 Bitcoin                                0.00515377 Customer Transfer
 Confidential Customer Coin Transferee #12299   [Address on File]     5/28/2023 Bitcoin                                0.00365528 Customer Transfer
 Confidential Customer Coin Transferee #12299   [Address on File]     5/30/2023 Bitcoin                                0.00178985 Customer Transfer
 Confidential Customer Coin Transferee #12299   [Address on File]     5/21/2023 Bitcoin                                0.00044373 Customer Transfer

 Confidential Customer Coin Transferee #12300   [Address on File]     6/16/2023 USDC Avalanche)                        101.016746 Customer Transfer
 Confidential Customer Coin Transferee #12301   [Address on File]     5/19/2023 Bitcoin                                0.01797695 Customer Transfer
 Confidential Customer Coin Transferee #12302   [Address on File]     6/20/2023 Bitcoin                                0.00181616 Customer Transfer
 Confidential Customer Coin Transferee #12303   [Address on File]     6/20/2023 Bitcoin                                0.00071888 Customer Transfer
 Confidential Customer Coin Transferee #12304   [Address on File]     5/23/2023 Bitcoin                                 0.0105325 Customer Transfer
 Confidential Customer Coin Transferee #12305   [Address on File]     5/18/2023 Bitcoin                                0.01019294 Customer Transfer
 Confidential Customer Coin Transferee #12305   [Address on File]     5/24/2023 Bitcoin                                0.00847724 Customer Transfer
 Confidential Customer Coin Transferee #12305   [Address on File]     5/29/2023 Bitcoin                                0.00751491 Customer Transfer
 Confidential Customer Coin Transferee #12305   [Address on File]     5/22/2023 Bitcoin                                0.00604096 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12305   [Address on File]     5/17/2023 Bitcoin                             0.00316181 Customer Transfer
 Confidential Customer Coin Transferee #12305   [Address on File]     5/18/2023 Bitcoin                             0.00209042 Customer Transfer
 Confidential Customer Coin Transferee #12305   [Address on File]     5/19/2023 Bitcoin                             0.00126462 Customer Transfer
 Confidential Customer Coin Transferee #12305   [Address on File]     5/19/2023 Bitcoin                             0.00088445 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/24/2023 Bitcoin                             0.01475439 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/24/2023 Bitcoin                             0.00361079 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/24/2023 Bitcoin                             0.00357925 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/24/2023 Bitcoin                             0.00357341 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/24/2023 Bitcoin                             0.00270898 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/31/2023 Bitcoin                             0.00268132 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/31/2023 Bitcoin                             0.00172477 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/31/2023 Bitcoin                             0.00143329 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/19/2023 Bitcoin                              0.0010743 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/18/2023 Bitcoin                             0.00105988 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/30/2023 Bitcoin                             0.00082534 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/16/2023 Bitcoin                             0.00072751 Customer Transfer
 Confidential Customer Coin Transferee #12306   [Address on File]     5/22/2023 Bitcoin                             0.00008545 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]     5/18/2023 Bitcoin                             0.01452458 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]     5/18/2023 Bitcoin                                   0.009 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]     5/25/2023 Bitcoin                              0.0045432 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]      6/1/2023 Bitcoin                             0.00382623 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]     5/16/2023 Bitcoin                                  0.0023 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]     5/23/2023 Bitcoin                             0.00222074 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]     5/25/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]     5/16/2023 Bitcoin                             0.00183476 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]     5/18/2023 Bitcoin                              0.0010024 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]     5/18/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]     5/23/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]     5/23/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]      6/1/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #12307   [Address on File]      6/1/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #12308   [Address on File]     5/19/2023 Bitcoin                             0.01816411 Customer Transfer
 Confidential Customer Coin Transferee #12309   [Address on File]     6/20/2023 Bitcoin                             0.00066588 Customer Transfer
 Confidential Customer Coin Transferee #12310   [Address on File]     5/16/2023 Bitcoin                             0.01136189 Customer Transfer
 Confidential Customer Coin Transferee #12311   [Address on File]     5/22/2023 Bitcoin                             0.03739487 Customer Transfer
 Confidential Customer Coin Transferee #12312   [Address on File]     5/18/2023 Bitcoin                                       1 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12312   [Address on File]     5/18/2023 Bitcoin                             0.59845471 Customer Transfer
 Confidential Customer Coin Transferee #12313   [Address on File]     6/20/2023 Bitcoin                             0.00032338 Customer Transfer
 Confidential Customer Coin Transferee #12314   [Address on File]     5/16/2023 Bitcoin                             0.00901265 Customer Transfer
 Confidential Customer Coin Transferee #12314   [Address on File]     6/20/2023 Bitcoin                              0.0048536 Customer Transfer
 Confidential Customer Coin Transferee #12314   [Address on File]     5/31/2023 Bitcoin                             0.00191017 Customer Transfer
 Confidential Customer Coin Transferee #12314   [Address on File]      6/8/2023 Bitcoin                             0.00114375 Customer Transfer
 Confidential Customer Coin Transferee #12314   [Address on File]     6/19/2023 Bitcoin                             0.00071998 Customer Transfer
 Confidential Customer Coin Transferee #12315   [Address on File]     5/20/2023 Bitcoin                             0.01003192 Customer Transfer
 Confidential Customer Coin Transferee #12316   [Address on File]     6/19/2023 Bitcoin                             0.00632021 Customer Transfer
 Confidential Customer Coin Transferee #12317   [Address on File]     5/18/2023 Bitcoin                             0.05318584 Customer Transfer
 Confidential Customer Coin Transferee #12318   [Address on File]     6/15/2023 Bitcoin                             0.00395982 Customer Transfer
 Confidential Customer Coin Transferee #12318   [Address on File]     6/15/2023 Bitcoin                             0.00039707 Customer Transfer
 Confidential Customer Coin Transferee #12319   [Address on File]     6/20/2023 Bitcoin                             0.00223129 Customer Transfer
 Confidential Customer Coin Transferee #12320   [Address on File]     6/20/2023 Bitcoin                             0.00370599 Customer Transfer
 Confidential Customer Coin Transferee #12321   [Address on File]     6/19/2023 Bitcoin                             0.00115648 Customer Transfer
 Confidential Customer Coin Transferee #12322   [Address on File]     6/17/2023 Bitcoin                             0.00650045 Customer Transfer
 Confidential Customer Coin Transferee #12323   [Address on File]     6/13/2023 Ether                                  0.554394 Customer Transfer
 Confidential Customer Coin Transferee #12323   [Address on File]     6/14/2023 Ether                                  0.553891 Customer Transfer
 Confidential Customer Coin Transferee #12323   [Address on File]     6/10/2023 Ether                                  0.551825 Customer Transfer
 Confidential Customer Coin Transferee #12323   [Address on File]     5/25/2023 Ether                                  0.276363 Customer Transfer
 Confidential Customer Coin Transferee #12323   [Address on File]     5/24/2023 Ether                                  0.270467 Customer Transfer
 Confidential Customer Coin Transferee #12324   [Address on File]     5/30/2023 Bitcoin                             0.01345747 Customer Transfer
 Confidential Customer Coin Transferee #12324   [Address on File]     5/30/2023 Bitcoin                             0.01330317 Customer Transfer
 Confidential Customer Coin Transferee #12325   [Address on File]     6/20/2023 Bitcoin                             0.02070179 Customer Transfer
 Confidential Customer Coin Transferee #12326   [Address on File]     6/20/2023 Bitcoin                             0.00288994 Customer Transfer
 Confidential Customer Coin Transferee #12327   [Address on File]     5/16/2023 Bitcoin                             0.03693806 Customer Transfer
 Confidential Customer Coin Transferee #12327   [Address on File]     5/19/2023 Bitcoin                             0.01849864 Customer Transfer
 Confidential Customer Coin Transferee #12328   [Address on File]     5/24/2023 Bitcoin                             0.00371218 Customer Transfer
 Confidential Customer Coin Transferee #12328   [Address on File]     5/23/2023 Bitcoin                             0.00180808 Customer Transfer
 Confidential Customer Coin Transferee #12329   [Address on File]      6/1/2023 Bitcoin                             0.00923249 Customer Transfer
 Confidential Customer Coin Transferee #12330   [Address on File]     5/25/2023 Bitcoin                                     0.03 Customer Transfer
 Confidential Customer Coin Transferee #12330   [Address on File]     5/27/2023 Bitcoin                                     0.03 Customer Transfer
 Confidential Customer Coin Transferee #12330   [Address on File]     5/24/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #12330   [Address on File]     5/23/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #12330   [Address on File]     5/18/2023 Bitcoin                                  0.0015 Customer Transfer
 Confidential Customer Coin Transferee #12330   [Address on File]     5/16/2023 Bitcoin                                   0.001 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12331   [Address on File]      6/5/2023 Bitcoin                             0.00368886 Customer Transfer
 Confidential Customer Coin Transferee #12332   [Address on File]     6/20/2023 Bitcoin                             0.00003674 Customer Transfer
 Confidential Customer Coin Transferee #12333   [Address on File]     6/20/2023 Bitcoin                              0.0003661 Customer Transfer
 Confidential Customer Coin Transferee #12334   [Address on File]     5/20/2023 Bitcoin                             0.02751888 Customer Transfer
 Confidential Customer Coin Transferee #12335   [Address on File]     5/27/2023 Bitcoin                             0.01137896 Customer Transfer
 Confidential Customer Coin Transferee #12336   [Address on File]     5/18/2023 Bitcoin                              0.0177207 Customer Transfer
 Confidential Customer Coin Transferee #12336   [Address on File]     5/25/2023 Bitcoin                              0.0166848 Customer Transfer

 Confidential Customer Coin Transferee #12337   [Address on File]     6/20/2023 Bitcoin                                 0.0182309 Customer Transfer
 Confidential Customer Coin Transferee #12338   [Address on File]     5/17/2023 Bitcoin                                     0.0075 Customer Transfer
 Confidential Customer Coin Transferee #12338   [Address on File]     5/23/2023 Bitcoin                                     0.0057 Customer Transfer
 Confidential Customer Coin Transferee #12339   [Address on File]     6/19/2023 Bitcoin                                0.00166696 Customer Transfer
 Confidential Customer Coin Transferee #12340   [Address on File]      6/9/2023 Bitcoin                                0.00011755 Customer Transfer
 Confidential Customer Coin Transferee #12341   [Address on File]      6/5/2023 USDC Avalanche)                         40.983606 Customer Transfer
 Confidential Customer Coin Transferee #12341   [Address on File]     6/16/2023 Ether                                     0.036305 Customer Transfer
 Confidential Customer Coin Transferee #12341   [Address on File]      6/5/2023 Ether                                      0.01996 Customer Transfer
 Confidential Customer Coin Transferee #12342   [Address on File]     5/21/2023 Bitcoin                                0.00091916 Customer Transfer
 Confidential Customer Coin Transferee #12343   [Address on File]     6/19/2023 Bitcoin                                0.00200188 Customer Transfer
 Confidential Customer Coin Transferee #12344   [Address on File]     5/21/2023 Bitcoin                                0.08405105 Customer Transfer
 Confidential Customer Coin Transferee #12345   [Address on File]     5/26/2023 Bitcoin                                0.03876424 Customer Transfer
 Confidential Customer Coin Transferee #12345   [Address on File]     5/30/2023 Bitcoin                                0.00398067 Customer Transfer
 Confidential Customer Coin Transferee #12346   [Address on File]     6/19/2023 Bitcoin                                0.00110089 Customer Transfer

 Confidential Customer Coin Transferee #12347   [Address on File]      6/8/2023 Tether USD                         1069.980304 Customer Transfer
 Confidential Customer Coin Transferee #12348   [Address on File]     5/19/2023 Bitcoin                             0.01579101 Customer Transfer
 Confidential Customer Coin Transferee #12348   [Address on File]     5/23/2023 Bitcoin                             0.01026345 Customer Transfer
 Confidential Customer Coin Transferee #12349   [Address on File]     5/29/2023 Bitcoin                             0.00293304 Customer Transfer
 Confidential Customer Coin Transferee #12349   [Address on File]     6/20/2023 Bitcoin                             0.00119866 Customer Transfer
 Confidential Customer Coin Transferee #12349   [Address on File]      6/9/2023 Bitcoin                             0.00116384 Customer Transfer
 Confidential Customer Coin Transferee #12350   [Address on File]     5/31/2023 Bitcoin                             0.00526151 Customer Transfer
 Confidential Customer Coin Transferee #12351   [Address on File]      6/1/2023 Bitcoin                             0.00073045 Customer Transfer
 Confidential Customer Coin Transferee #12352   [Address on File]     5/27/2023 Bitcoin                             0.01118013 Customer Transfer
 Confidential Customer Coin Transferee #12352   [Address on File]     5/26/2023 Bitcoin                             0.00742016 Customer Transfer
 Confidential Customer Coin Transferee #12353   [Address on File]     5/22/2023 Bitcoin                             0.00122789 Customer Transfer
 Confidential Customer Coin Transferee #12353   [Address on File]     6/20/2023 Bitcoin                              0.0004832 Customer Transfer
 Confidential Customer Coin Transferee #12354   [Address on File]     5/20/2023 Bitcoin                                     0.1 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12355   [Address on File]     5/22/2023 Bitcoin                             0.00740177 Customer Transfer
 Confidential Customer Coin Transferee #12356   [Address on File]     5/17/2023 Bitcoin                              0.0208987 Customer Transfer
 Confidential Customer Coin Transferee #12356   [Address on File]     5/17/2023 Bitcoin                              0.0107899 Customer Transfer
 Confidential Customer Coin Transferee #12356   [Address on File]     5/17/2023 Bitcoin                             0.01049633 Customer Transfer
 Confidential Customer Coin Transferee #12357   [Address on File]     6/20/2023 Bitcoin                             0.00005831 Customer Transfer
 Confidential Customer Coin Transferee #12358   [Address on File]     5/27/2023 Bitcoin                             0.05291922 Customer Transfer
 Confidential Customer Coin Transferee #12359   [Address on File]     5/30/2023 Bitcoin                             0.00889078 Customer Transfer
 Confidential Customer Coin Transferee #12360   [Address on File]     5/17/2023 Bitcoin                             0.00073585 Customer Transfer
 Confidential Customer Coin Transferee #12361   [Address on File]     5/25/2023 Bitcoin                             0.02989413 Customer Transfer
 Confidential Customer Coin Transferee #12362   [Address on File]     5/27/2023 Bitcoin                             0.00074345 Customer Transfer

 Confidential Customer Coin Transferee #12363   [Address on File]      6/1/2023 Ether                                  0.04929283 Customer Transfer
 Confidential Customer Coin Transferee #12364   [Address on File]     5/22/2023 Bitcoin                                0.05217034 Customer Transfer
 Confidential Customer Coin Transferee #12365   [Address on File]     5/21/2023 Bitcoin                                0.01715323 Customer Transfer
 Confidential Customer Coin Transferee #12366   [Address on File]      6/2/2023 Bitcoin                                0.01850898 Customer Transfer
 Confidential Customer Coin Transferee #12367   [Address on File]     5/24/2023 Bitcoin                                0.00253581 Customer Transfer
 Confidential Customer Coin Transferee #12367   [Address on File]     6/17/2023 Bitcoin                                0.00177562 Customer Transfer
 Confidential Customer Coin Transferee #12367   [Address on File]     6/12/2023 Bitcoin                                0.00110774 Customer Transfer
 Confidential Customer Coin Transferee #12368   [Address on File]      6/5/2023 Bitcoin                                0.00220712 Customer Transfer

 Confidential Customer Coin Transferee #12369   [Address on File]     6/19/2023 Bitcoin                                0.01048252 Customer Transfer

 Confidential Customer Coin Transferee #12369   [Address on File]     6/20/2023 Bitcoin                                 0.0000376 Customer Transfer
 Confidential Customer Coin Transferee #12370   [Address on File]     5/16/2023 Bitcoin                                0.00120553 Customer Transfer
 Confidential Customer Coin Transferee #12370   [Address on File]     5/18/2023 Bitcoin                                0.00101649 Customer Transfer
 Confidential Customer Coin Transferee #12371   [Address on File]     5/24/2023 Bitcoin                                    0.00008 Customer Transfer
 Confidential Customer Coin Transferee #12372   [Address on File]     6/16/2023 Bitcoin                                0.00104666 Customer Transfer
 Confidential Customer Coin Transferee #12373   [Address on File]     5/23/2023 Bitcoin                                0.00147789 Customer Transfer
 Confidential Customer Coin Transferee #12374   [Address on File]     5/23/2023 Bitcoin                                0.00073117 Customer Transfer
 Confidential Customer Coin Transferee #12375   [Address on File]     5/20/2023 Bitcoin                                0.00121354 Customer Transfer
 Confidential Customer Coin Transferee #12375   [Address on File]     5/22/2023 Bitcoin                                0.00103585 Customer Transfer
 Confidential Customer Coin Transferee #12375   [Address on File]     5/29/2023 Bitcoin                                0.00086457 Customer Transfer
 Confidential Customer Coin Transferee #12375   [Address on File]     5/17/2023 Bitcoin                                0.00080697 Customer Transfer
 Confidential Customer Coin Transferee #12375   [Address on File]     5/16/2023 Bitcoin                                0.00077363 Customer Transfer
 Confidential Customer Coin Transferee #12376   [Address on File]     5/24/2023 Bitcoin                                0.00368471 Customer Transfer
 Confidential Customer Coin Transferee #12376   [Address on File]     5/17/2023 Bitcoin                                0.00367817 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12377   [Address on File]     5/16/2023 Bitcoin                             0.02211082 Customer Transfer
 Confidential Customer Coin Transferee #12377   [Address on File]     5/23/2023 Bitcoin                             0.00277019 Customer Transfer
 Confidential Customer Coin Transferee #12378   [Address on File]     6/20/2023 Bitcoin                             0.00066225 Customer Transfer
 Confidential Customer Coin Transferee #12379   [Address on File]     6/20/2023 Bitcoin                             0.00773121 Customer Transfer
 Confidential Customer Coin Transferee #12380   [Address on File]      6/8/2023 Bitcoin                              0.0015107 Customer Transfer
 Confidential Customer Coin Transferee #12381   [Address on File]     5/23/2023 Bitcoin                             0.02659614 Customer Transfer
 Confidential Customer Coin Transferee #12382   [Address on File]     6/14/2023 Bitcoin                             0.00531002 Customer Transfer
 Confidential Customer Coin Transferee #12382   [Address on File]     6/17/2023 Bitcoin                             0.00153483 Customer Transfer
 Confidential Customer Coin Transferee #12383   [Address on File]     6/20/2023 Bitcoin                             0.00061992 Customer Transfer
 Confidential Customer Coin Transferee #12384   [Address on File]     6/19/2023 Bitcoin                             0.00706006 Customer Transfer
 Confidential Customer Coin Transferee #12385   [Address on File]     6/20/2023 Bitcoin                             0.00118727 Customer Transfer
 Confidential Customer Coin Transferee #12386   [Address on File]     5/23/2023 Bitcoin                                   0.014 Customer Transfer
 Confidential Customer Coin Transferee #12387   [Address on File]     5/17/2023 Bitcoin                             0.33860288 Customer Transfer
 Confidential Customer Coin Transferee #12388   [Address on File]     6/20/2023 Bitcoin                             0.00374147 Customer Transfer
 Confidential Customer Coin Transferee #12388   [Address on File]     5/29/2023 Bitcoin                             0.00373194 Customer Transfer
 Confidential Customer Coin Transferee #12389   [Address on File]     5/18/2023 Bitcoin                             0.01093939 Customer Transfer
 Confidential Customer Coin Transferee #12389   [Address on File]     5/26/2023 Bitcoin                             0.01030874 Customer Transfer
 Confidential Customer Coin Transferee #12390   [Address on File]     5/18/2023 Bitcoin                             0.02230618 Customer Transfer
 Confidential Customer Coin Transferee #12391   [Address on File]     5/18/2023 Bitcoin                             0.00271526 Customer Transfer
 Confidential Customer Coin Transferee #12392   [Address on File]     5/26/2023 Bitcoin                             0.01019665 Customer Transfer
 Confidential Customer Coin Transferee #12393   [Address on File]     6/20/2023 Bitcoin                             0.01272623 Customer Transfer
 Confidential Customer Coin Transferee #12394   [Address on File]     5/24/2023 Bitcoin                                    0.13 Customer Transfer
 Confidential Customer Coin Transferee #12395   [Address on File]     6/19/2023 Bitcoin                             0.00092315 Customer Transfer
 Confidential Customer Coin Transferee #12396   [Address on File]     5/25/2023 Bitcoin                             0.00277074 Customer Transfer
 Confidential Customer Coin Transferee #12396   [Address on File]     5/18/2023 Bitcoin                             0.00258867 Customer Transfer
 Confidential Customer Coin Transferee #12397   [Address on File]      6/7/2023 Bitcoin                             0.00596336 Customer Transfer
 Confidential Customer Coin Transferee #12398   [Address on File]     6/20/2023 Bitcoin                             0.00005825 Customer Transfer

 Confidential Customer Coin Transferee #12399   [Address on File]     5/20/2023 Bitcoin                                0.01217439 Customer Transfer
 Confidential Customer Coin Transferee #12400   [Address on File]     5/26/2023 Bitcoin                                      0.255 Customer Transfer
 Confidential Customer Coin Transferee #12401   [Address on File]     5/16/2023 Bitcoin                                0.00106757 Customer Transfer
 Confidential Customer Coin Transferee #12401   [Address on File]     5/17/2023 Bitcoin                                0.00075204 Customer Transfer
 Confidential Customer Coin Transferee #12402   [Address on File]     5/19/2023 Bitcoin                                 0.0007323 Customer Transfer
 Confidential Customer Coin Transferee #12402   [Address on File]     5/19/2023 Bitcoin                                 0.0003708 Customer Transfer
 Confidential Customer Coin Transferee #12403   [Address on File]     5/16/2023 Bitcoin                                       0.05 Customer Transfer
 Confidential Customer Coin Transferee #12404   [Address on File]     5/28/2023 Bitcoin                                0.00113045 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12404   [Address on File]     5/28/2023 Bitcoin                             0.00091763 Customer Transfer
 Confidential Customer Coin Transferee #12404   [Address on File]     5/28/2023 Bitcoin                             0.00036704 Customer Transfer
 Confidential Customer Coin Transferee #12405   [Address on File]      6/4/2023 Bitcoin                             0.00277598 Customer Transfer
 Confidential Customer Coin Transferee #12406   [Address on File]     5/24/2023 Bitcoin                             0.00093196 Customer Transfer
 Confidential Customer Coin Transferee #12406   [Address on File]     5/17/2023 Bitcoin                             0.00085402 Customer Transfer
 Confidential Customer Coin Transferee #12407   [Address on File]     6/19/2023 Bitcoin                             0.00032642 Customer Transfer
 Confidential Customer Coin Transferee #12408   [Address on File]     5/24/2023 Bitcoin                             1.56313933 Customer Transfer
 Confidential Customer Coin Transferee #12408   [Address on File]     5/17/2023 Bitcoin                             0.16698771 Customer Transfer
 Confidential Customer Coin Transferee #12409   [Address on File]     5/22/2023 Bitcoin                             0.00818939 Customer Transfer
 Confidential Customer Coin Transferee #12410   [Address on File]     5/21/2023 Bitcoin                                0.010533 Customer Transfer
 Confidential Customer Coin Transferee #12411   [Address on File]     6/19/2023 Bitcoin                             0.00298717 Customer Transfer
 Confidential Customer Coin Transferee #12412   [Address on File]     5/22/2023 Bitcoin                             0.01054037 Customer Transfer
 Confidential Customer Coin Transferee #12413   [Address on File]     6/20/2023 Bitcoin                             0.01512115 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/27/2023 Bitcoin                             0.01486772 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/29/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/29/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/20/2023 Bitcoin                             0.00923685 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/25/2023 Bitcoin                             0.00758236 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/16/2023 Bitcoin                             0.00733891 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/30/2023 Bitcoin                             0.00538104 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/27/2023 Bitcoin                             0.00371983 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/30/2023 Bitcoin                             0.00371228 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/16/2023 Bitcoin                              0.0018265 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/28/2023 Bitcoin                             0.00180719 Customer Transfer
 Confidential Customer Coin Transferee #12414   [Address on File]     5/28/2023 Bitcoin                             0.00018018 Customer Transfer

 Confidential Customer Coin Transferee #12415   [Address on File]     6/20/2023 Bitcoin                                0.00261639 Customer Transfer
 Confidential Customer Coin Transferee #12416   [Address on File]     6/19/2023 Bitcoin                                0.00239169 Customer Transfer
 Confidential Customer Coin Transferee #12416   [Address on File]     5/18/2023 Bitcoin                                0.00181984 Customer Transfer
 Confidential Customer Coin Transferee #12417   [Address on File]     6/19/2023 Bitcoin                                0.02791003 Customer Transfer
 Confidential Customer Coin Transferee #12418   [Address on File]     6/20/2023 Bitcoin                                0.00216879 Customer Transfer
 Confidential Customer Coin Transferee #12419   [Address on File]     5/31/2023 Bitcoin                                0.03365498 Customer Transfer
 Confidential Customer Coin Transferee #12420   [Address on File]     5/23/2023 Bitcoin                                      0.004 Customer Transfer
 Confidential Customer Coin Transferee #12421   [Address on File]     5/19/2023 Bitcoin                                 0.0724308 Customer Transfer
 Confidential Customer Coin Transferee #12422   [Address on File]     5/24/2023 Bitcoin                                0.00744886 Customer Transfer
 Confidential Customer Coin Transferee #12422   [Address on File]     5/23/2023 Bitcoin                                0.00047011 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12423   [Address on File]     5/18/2023 Bitcoin                             0.01216046 Customer Transfer
 Confidential Customer Coin Transferee #12423   [Address on File]     5/25/2023 Bitcoin                             0.00179023 Customer Transfer
 Confidential Customer Coin Transferee #12424   [Address on File]      6/7/2023 USDC Solana)                               100 Customer Transfer
 Confidential Customer Coin Transferee #12424   [Address on File]     6/21/2023 USDC Solana)                                80 Customer Transfer
 Confidential Customer Coin Transferee #12425   [Address on File]     5/20/2023 Bitcoin                             0.00792377 Customer Transfer
 Confidential Customer Coin Transferee #12425   [Address on File]     5/29/2023 Bitcoin                             0.00353237 Customer Transfer
 Confidential Customer Coin Transferee #12426   [Address on File]     6/20/2023 Bitcoin                             0.00032085 Customer Transfer

 Confidential Customer Coin Transferee #12427   [Address on File]     5/26/2023 Bitcoin                             0.00478767 Customer Transfer
 Confidential Customer Coin Transferee #12428   [Address on File]     6/10/2023 USDC Avalanche)                    1995.203836 Customer Transfer
 Confidential Customer Coin Transferee #12428   [Address on File]     6/10/2023 USDC Avalanche)                     997.002398 Customer Transfer

 Confidential Customer Coin Transferee #12429   [Address on File]     5/30/2023 Bitcoin                                       0.01 Customer Transfer

 Confidential Customer Coin Transferee #12429   [Address on File]     6/21/2023 Bitcoin                                        0.01 Customer Transfer
 Confidential Customer Coin Transferee #12430   [Address on File]     5/16/2023 Bitcoin                                0.00256623 Customer Transfer
 Confidential Customer Coin Transferee #12431   [Address on File]     6/20/2023 Bitcoin                                0.00693425 Customer Transfer
 Confidential Customer Coin Transferee #12432   [Address on File]     6/14/2023 Bitcoin                                0.00938725 Customer Transfer
 Confidential Customer Coin Transferee #12432   [Address on File]      6/9/2023 Bitcoin                                 0.0092419 Customer Transfer
 Confidential Customer Coin Transferee #12433   [Address on File]     5/22/2023 Bitcoin                                0.19654599 Customer Transfer
 Confidential Customer Coin Transferee #12433   [Address on File]     5/16/2023 Bitcoin                                         0.1 Customer Transfer
 Confidential Customer Coin Transferee #12434   [Address on File]     6/18/2023 USD Coin                               100.368783 Customer Transfer
 Confidential Customer Coin Transferee #12435   [Address on File]     5/22/2023 Bitcoin                                0.00870491 Customer Transfer
 Confidential Customer Coin Transferee #12436   [Address on File]     6/16/2023 Bitcoin                                   0.018939 Customer Transfer
 Confidential Customer Coin Transferee #12436   [Address on File]     5/16/2023 Bitcoin                                   0.010589 Customer Transfer
 Confidential Customer Coin Transferee #12437   [Address on File]     5/19/2023 Bitcoin                                0.00240642 Customer Transfer
 Confidential Customer Coin Transferee #12437   [Address on File]     5/26/2023 Bitcoin                                0.00222575 Customer Transfer
 Confidential Customer Coin Transferee #12437   [Address on File]     5/16/2023 Bitcoin                                0.00221353 Customer Transfer
 Confidential Customer Coin Transferee #12437   [Address on File]     5/18/2023 Bitcoin                                0.00218851 Customer Transfer
 Confidential Customer Coin Transferee #12437   [Address on File]     5/22/2023 Bitcoin                                0.00185523 Customer Transfer
 Confidential Customer Coin Transferee #12437   [Address on File]     5/19/2023 Bitcoin                                0.00166297 Customer Transfer
 Confidential Customer Coin Transferee #12437   [Address on File]     5/17/2023 Bitcoin                                 0.0014867 Customer Transfer
 Confidential Customer Coin Transferee #12438   [Address on File]     5/20/2023 Bitcoin                                0.01209086 Customer Transfer
 Confidential Customer Coin Transferee #12439   [Address on File]     5/20/2023 Bitcoin                                0.00369076 Customer Transfer
 Confidential Customer Coin Transferee #12440   [Address on File]     5/16/2023 Bitcoin                                0.01118112 Customer Transfer
 Confidential Customer Coin Transferee #12441   [Address on File]     5/20/2023 Bitcoin                                0.00755299 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12442   [Address on File]     5/19/2023 Bitcoin                              0.0659462 Customer Transfer
 Confidential Customer Coin Transferee #12442   [Address on File]     5/25/2023 Bitcoin                             0.04915708 Customer Transfer
 Confidential Customer Coin Transferee #12443   [Address on File]     5/26/2023 Bitcoin                             0.00256771 Customer Transfer
 Confidential Customer Coin Transferee #12443   [Address on File]     5/19/2023 Bitcoin                             0.00244016 Customer Transfer
 Confidential Customer Coin Transferee #12444   [Address on File]     6/19/2023 Bitcoin                             0.00011811 Customer Transfer
 Confidential Customer Coin Transferee #12445   [Address on File]     5/22/2023 Bitcoin                             0.00183519 Customer Transfer
 Confidential Customer Coin Transferee #12446   [Address on File]     6/20/2023 Bitcoin                             0.00578655 Customer Transfer
 Confidential Customer Coin Transferee #12447   [Address on File]     6/19/2023 Bitcoin                             0.00004279 Customer Transfer
 Confidential Customer Coin Transferee #12448   [Address on File]     5/23/2023 Bitcoin                             0.04437292 Customer Transfer
 Confidential Customer Coin Transferee #12449   [Address on File]     5/23/2023 Bitcoin                             0.00074176 Customer Transfer
 Confidential Customer Coin Transferee #12449   [Address on File]     5/24/2023 Bitcoin                             0.00037221 Customer Transfer
 Confidential Customer Coin Transferee #12450   [Address on File]     6/20/2023 Bitcoin                             0.00089392 Customer Transfer
 Confidential Customer Coin Transferee #12451   [Address on File]     5/29/2023 Bitcoin                             0.01107516 Customer Transfer

 Confidential Customer Coin Transferee #12452   [Address on File]     6/14/2023 Bitcoin                                0.00138376 Customer Transfer
 Confidential Customer Coin Transferee #12453   [Address on File]     5/19/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #12453   [Address on File]     5/20/2023 Bitcoin                                0.15870679 Customer Transfer
 Confidential Customer Coin Transferee #12454   [Address on File]     5/25/2023 Bitcoin                                0.00041679 Customer Transfer
 Confidential Customer Coin Transferee #12455   [Address on File]     6/19/2023 Bitcoin                                0.00040644 Customer Transfer
 Confidential Customer Coin Transferee #12456   [Address on File]     5/24/2023 Bitcoin                                0.00037215 Customer Transfer
 Confidential Customer Coin Transferee #12456   [Address on File]     5/16/2023 Bitcoin                                0.00033979 Customer Transfer
 Confidential Customer Coin Transferee #12457   [Address on File]     5/21/2023 Bitcoin                                0.00172068 Customer Transfer
 Confidential Customer Coin Transferee #12458   [Address on File]     5/16/2023 Bitcoin                                0.01039026 Customer Transfer
 Confidential Customer Coin Transferee #12459   [Address on File]     5/24/2023 Bitcoin                                     0.0004 Customer Transfer
 Confidential Customer Coin Transferee #12460   [Address on File]     5/21/2023 Bitcoin                                0.00366991 Customer Transfer
 Confidential Customer Coin Transferee #12461   [Address on File]      6/9/2023 Bitcoin                                 0.0113144 Customer Transfer
 Confidential Customer Coin Transferee #12462   [Address on File]     6/20/2023 Bitcoin                                0.00294869 Customer Transfer
 Confidential Customer Coin Transferee #12463   [Address on File]     5/22/2023 Bitcoin                                0.03104326 Customer Transfer
 Confidential Customer Coin Transferee #12464   [Address on File]     5/26/2023 Bitcoin                                0.01042661 Customer Transfer
 Confidential Customer Coin Transferee #12465   [Address on File]     5/19/2023 Bitcoin                                0.00370133 Customer Transfer
 Confidential Customer Coin Transferee #12465   [Address on File]     5/19/2023 Bitcoin                                0.00018513 Customer Transfer

 Confidential Customer Coin Transferee #12466   [Address on File]     5/18/2023 USDC Solana)                           102.388805 Customer Transfer
 Confidential Customer Coin Transferee #12467   [Address on File]     6/15/2023 USDC Avalanche)                        496.911235 Customer Transfer
 Confidential Customer Coin Transferee #12468   [Address on File]     5/18/2023 Bitcoin                                      0.225 Customer Transfer
 Confidential Customer Coin Transferee #12468   [Address on File]     5/20/2023 Bitcoin                                     0.2225 Customer Transfer


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                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12468   [Address on File]     5/23/2023 Bitcoin                                  0.1105 Customer Transfer
 Confidential Customer Coin Transferee #12468   [Address on File]     5/26/2023 Bitcoin                             0.00157995 Customer Transfer
 Confidential Customer Coin Transferee #12469   [Address on File]     5/16/2023 Bitcoin                             0.00018382 Customer Transfer
 Confidential Customer Coin Transferee #12469   [Address on File]     5/17/2023 Bitcoin                             0.00003303 Customer Transfer
 Confidential Customer Coin Transferee #12469   [Address on File]     5/22/2023 Bitcoin                             0.00002258 Customer Transfer
 Confidential Customer Coin Transferee #12470   [Address on File]     5/18/2023 Bitcoin                             0.01640697 Customer Transfer
 Confidential Customer Coin Transferee #12471   [Address on File]     6/20/2023 Bitcoin                             0.00005739 Customer Transfer
 Confidential Customer Coin Transferee #12472   [Address on File]      6/6/2023 Bitcoin                             0.00816903 Customer Transfer
 Confidential Customer Coin Transferee #12472   [Address on File]     5/20/2023 Bitcoin                                   0.001 Customer Transfer

 Confidential Customer Coin Transferee #12473   [Address on File]      6/9/2023 Tether USD                              1485.4138 Customer Transfer
 Confidential Customer Coin Transferee #12474   [Address on File]     6/19/2023 Bitcoin                                0.02455933 Customer Transfer
 Confidential Customer Coin Transferee #12475   [Address on File]     5/30/2023 Bitcoin                                0.02712653 Customer Transfer
 Confidential Customer Coin Transferee #12475   [Address on File]     5/30/2023 Bitcoin                                0.02588483 Customer Transfer
 Confidential Customer Coin Transferee #12476   [Address on File]     5/29/2023 Bitcoin                                0.01033355 Customer Transfer
 Confidential Customer Coin Transferee #12476   [Address on File]     5/19/2023 Bitcoin                                0.01020995 Customer Transfer

 Confidential Customer Coin Transferee #12477   [Address on File]     5/27/2023 USDC Avalanche)                        285.338796 Customer Transfer
 Confidential Customer Coin Transferee #12478   [Address on File]     6/20/2023 Bitcoin                                0.00032705 Customer Transfer
 Confidential Customer Coin Transferee #12479   [Address on File]     5/24/2023 Bitcoin                                0.00521977 Customer Transfer
 Confidential Customer Coin Transferee #12480   [Address on File]     5/31/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #12481   [Address on File]     5/19/2023 Bitcoin                                0.00181568 Customer Transfer
 Confidential Customer Coin Transferee #12482   [Address on File]     5/16/2023 Bitcoin                                0.03519031 Customer Transfer
 Confidential Customer Coin Transferee #12483   [Address on File]     5/30/2023 Bitcoin                                0.10752902 Customer Transfer
 Confidential Customer Coin Transferee #12483   [Address on File]     5/26/2023 Bitcoin                                0.07521092 Customer Transfer
 Confidential Customer Coin Transferee #12483   [Address on File]     5/24/2023 Bitcoin                                0.03782745 Customer Transfer
 Confidential Customer Coin Transferee #12483   [Address on File]     5/22/2023 Bitcoin                                0.03700481 Customer Transfer
 Confidential Customer Coin Transferee #12483   [Address on File]     5/23/2023 Bitcoin                                0.03640636 Customer Transfer
 Confidential Customer Coin Transferee #12483   [Address on File]     5/17/2023 Bitcoin                                0.03640113 Customer Transfer
 Confidential Customer Coin Transferee #12483   [Address on File]     5/28/2023 Bitcoin                                0.03546035 Customer Transfer
 Confidential Customer Coin Transferee #12483   [Address on File]     5/19/2023 Bitcoin                                0.01853145 Customer Transfer
 Confidential Customer Coin Transferee #12483   [Address on File]     5/20/2023 Bitcoin                                0.01849134 Customer Transfer
 Confidential Customer Coin Transferee #12484   [Address on File]     5/21/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #12485   [Address on File]     5/29/2023 Bitcoin                                0.00217234 Customer Transfer
 Confidential Customer Coin Transferee #12486   [Address on File]     5/19/2023 Bitcoin                                0.03953965 Customer Transfer
 Confidential Customer Coin Transferee #12487   [Address on File]     5/23/2023 Bitcoin                                0.00605673 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12487   [Address on File]     5/19/2023 Bitcoin                                0.005235 Customer Transfer
 Confidential Customer Coin Transferee #12487   [Address on File]     5/20/2023 Bitcoin                             0.00401675 Customer Transfer
 Confidential Customer Coin Transferee #12487   [Address on File]     5/21/2023 Bitcoin                              0.0010572 Customer Transfer
 Confidential Customer Coin Transferee #12488   [Address on File]     5/24/2023 Bitcoin                             0.01922296 Customer Transfer
 Confidential Customer Coin Transferee #12488   [Address on File]     5/26/2023 Bitcoin                             0.01786791 Customer Transfer
 Confidential Customer Coin Transferee #12488   [Address on File]     5/24/2023 Bitcoin                             0.01116186 Customer Transfer
 Confidential Customer Coin Transferee #12488   [Address on File]     5/25/2023 Bitcoin                             0.00398264 Customer Transfer
 Confidential Customer Coin Transferee #12489   [Address on File]     5/25/2023 Bitcoin                             0.15479981 Customer Transfer
 Confidential Customer Coin Transferee #12489   [Address on File]     5/28/2023 Bitcoin                             0.14876625 Customer Transfer
 Confidential Customer Coin Transferee #12489   [Address on File]     5/19/2023 Bitcoin                             0.11841121 Customer Transfer
 Confidential Customer Coin Transferee #12489   [Address on File]     5/17/2023 Bitcoin                             0.07341147 Customer Transfer
 Confidential Customer Coin Transferee #12489   [Address on File]     5/31/2023 Bitcoin                             0.01795771 Customer Transfer
 Confidential Customer Coin Transferee #12490   [Address on File]     5/19/2023 Bitcoin                                    0.036 Customer Transfer
 Confidential Customer Coin Transferee #12490   [Address on File]     5/17/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #12491   [Address on File]     5/16/2023 Bitcoin                             0.10834257 Customer Transfer
 Confidential Customer Coin Transferee #12492   [Address on File]     5/28/2023 Bitcoin                             0.00370112 Customer Transfer
 Confidential Customer Coin Transferee #12492   [Address on File]     5/21/2023 Bitcoin                             0.00368948 Customer Transfer
 Confidential Customer Coin Transferee #12493   [Address on File]     5/19/2023 Bitcoin                              0.0008879 Customer Transfer
 Confidential Customer Coin Transferee #12494   [Address on File]     5/25/2023 Bitcoin                             0.01875379 Customer Transfer
 Confidential Customer Coin Transferee #12495   [Address on File]     5/26/2023 Bitcoin                             0.20478311 Customer Transfer
 Confidential Customer Coin Transferee #12496   [Address on File]     5/22/2023 Bitcoin                             0.02727364 Customer Transfer
 Confidential Customer Coin Transferee #12497   [Address on File]     5/17/2023 Bitcoin                             0.02317782 Customer Transfer
 Confidential Customer Coin Transferee #12498   [Address on File]     5/24/2023 Bitcoin                             0.00363424 Customer Transfer
 Confidential Customer Coin Transferee #12498   [Address on File]     6/14/2023 Bitcoin                             0.00358187 Customer Transfer
 Confidential Customer Coin Transferee #12498   [Address on File]      6/7/2023 Bitcoin                                 0.00333 Customer Transfer
 Confidential Customer Coin Transferee #12498   [Address on File]     5/17/2023 Bitcoin                             0.00215973 Customer Transfer
 Confidential Customer Coin Transferee #12498   [Address on File]     5/16/2023 Bitcoin                             0.00075349 Customer Transfer
 Confidential Customer Coin Transferee #12498   [Address on File]     5/28/2023 Bitcoin                             0.00039375 Customer Transfer
 Confidential Customer Coin Transferee #12498   [Address on File]      6/7/2023 Bitcoin                                0.000304 Customer Transfer
 Confidential Customer Coin Transferee #12498   [Address on File]     5/20/2023 Bitcoin                             0.00029216 Customer Transfer
 Confidential Customer Coin Transferee #12498   [Address on File]      6/9/2023 Bitcoin                             0.00003762 Customer Transfer
 Confidential Customer Coin Transferee #12499   [Address on File]     5/27/2023 Bitcoin                             0.00915271 Customer Transfer
 Confidential Customer Coin Transferee #12499   [Address on File]     5/20/2023 Bitcoin                             0.00892937 Customer Transfer
 Confidential Customer Coin Transferee #12499   [Address on File]     5/19/2023 Bitcoin                             0.00839174 Customer Transfer
 Confidential Customer Coin Transferee #12500   [Address on File]     5/21/2023 Bitcoin                             0.00739683 Customer Transfer
 Confidential Customer Coin Transferee #12501   [Address on File]     5/26/2023 Bitcoin                             0.00546471 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12501   [Address on File]     5/24/2023 Bitcoin                             0.00347822 Customer Transfer
 Confidential Customer Coin Transferee #12501   [Address on File]     5/23/2023 Bitcoin                             0.00316437 Customer Transfer
 Confidential Customer Coin Transferee #12501   [Address on File]     5/24/2023 Bitcoin                             0.00018828 Customer Transfer
 Confidential Customer Coin Transferee #12502   [Address on File]     5/23/2023 Bitcoin                                   0.039 Customer Transfer
 Confidential Customer Coin Transferee #12503   [Address on File]     5/20/2023 Bitcoin                             0.00183417 Customer Transfer
 Confidential Customer Coin Transferee #12504   [Address on File]     5/21/2023 Bitcoin                             0.03768405 Customer Transfer
 Confidential Customer Coin Transferee #12505   [Address on File]     5/22/2023 Bitcoin                             0.00124179 Customer Transfer
 Confidential Customer Coin Transferee #12506   [Address on File]     5/26/2023 Bitcoin                             0.00964653 Customer Transfer
 Confidential Customer Coin Transferee #12507   [Address on File]     5/29/2023 Bitcoin                             0.00255639 Customer Transfer
 Confidential Customer Coin Transferee #12508   [Address on File]     5/20/2023 Bitcoin                             0.00329368 Customer Transfer
 Confidential Customer Coin Transferee #12509   [Address on File]     5/20/2023 Bitcoin                             0.00185177 Customer Transfer
 Confidential Customer Coin Transferee #12509   [Address on File]     5/25/2023 Bitcoin                             0.00170271 Customer Transfer
 Confidential Customer Coin Transferee #12509   [Address on File]     5/25/2023 Bitcoin                              0.0001889 Customer Transfer
 Confidential Customer Coin Transferee #12510   [Address on File]     5/24/2023 Bitcoin                             0.01887253 Customer Transfer
 Confidential Customer Coin Transferee #12510   [Address on File]     5/26/2023 Bitcoin                              0.0187819 Customer Transfer
 Confidential Customer Coin Transferee #12510   [Address on File]     5/19/2023 Bitcoin                             0.01854292 Customer Transfer
 Confidential Customer Coin Transferee #12510   [Address on File]     5/22/2023 Bitcoin                             0.01847845 Customer Transfer
 Confidential Customer Coin Transferee #12510   [Address on File]     5/16/2023 Bitcoin                             0.01834725 Customer Transfer
 Confidential Customer Coin Transferee #12511   [Address on File]     5/21/2023 Bitcoin                             0.00002586 Customer Transfer
 Confidential Customer Coin Transferee #12512   [Address on File]     5/26/2023 Bitcoin                             0.00374184 Customer Transfer
 Confidential Customer Coin Transferee #12512   [Address on File]     5/19/2023 Bitcoin                             0.00371094 Customer Transfer
 Confidential Customer Coin Transferee #12513   [Address on File]     5/20/2023 Bitcoin                             0.03698224 Customer Transfer
 Confidential Customer Coin Transferee #12514   [Address on File]     5/29/2023 Bitcoin                             0.00236251 Customer Transfer
 Confidential Customer Coin Transferee #12515   [Address on File]     5/31/2023 Bitcoin                             0.04129616 Customer Transfer
 Confidential Customer Coin Transferee #12516   [Address on File]     5/24/2023 Bitcoin                             0.10031317 Customer Transfer
 Confidential Customer Coin Transferee #12517   [Address on File]     5/18/2023 Bitcoin                             0.01438766 Customer Transfer
 Confidential Customer Coin Transferee #12518   [Address on File]     5/29/2023 Bitcoin                             0.12635738 Customer Transfer
 Confidential Customer Coin Transferee #12519   [Address on File]     5/19/2023 Bitcoin                             0.19135001 Customer Transfer
 Confidential Customer Coin Transferee #12520   [Address on File]     6/20/2023 Bitcoin                             0.09127037 Customer Transfer
 Confidential Customer Coin Transferee #12521   [Address on File]     5/20/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #12522   [Address on File]     5/21/2023 Bitcoin                             0.11157196 Customer Transfer
 Confidential Customer Coin Transferee #12522   [Address on File]     5/31/2023 Bitcoin                             0.10987102 Customer Transfer
 Confidential Customer Coin Transferee #12522   [Address on File]     5/17/2023 Bitcoin                             0.10933101 Customer Transfer
 Confidential Customer Coin Transferee #12522   [Address on File]     5/16/2023 Bitcoin                             0.03622157 Customer Transfer
 Confidential Customer Coin Transferee #12523   [Address on File]     6/15/2023 Bitcoin                             0.00557797 Customer Transfer
 Confidential Customer Coin Transferee #12523   [Address on File]      6/1/2023 Bitcoin                             0.00516264 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12523   [Address on File]     5/18/2023 Bitcoin                             0.00506904 Customer Transfer
 Confidential Customer Coin Transferee #12524   [Address on File]     6/20/2023 Bitcoin                             0.00003434 Customer Transfer
 Confidential Customer Coin Transferee #12525   [Address on File]     6/20/2023 Bitcoin                             0.00044604 Customer Transfer
 Confidential Customer Coin Transferee #12526   [Address on File]     6/19/2023 Bitcoin                             0.00351227 Customer Transfer
 Confidential Customer Coin Transferee #12527   [Address on File]     5/25/2023 Bitcoin                             0.05113237 Customer Transfer
 Confidential Customer Coin Transferee #12528   [Address on File]     6/19/2023 Bitcoin                             0.01193027 Customer Transfer
 Confidential Customer Coin Transferee #12529   [Address on File]     6/20/2023 Bitcoin                             0.00530965 Customer Transfer
 Confidential Customer Coin Transferee #12530   [Address on File]      6/5/2023 Bitcoin                             0.00296339 Customer Transfer
 Confidential Customer Coin Transferee #12530   [Address on File]     6/17/2023 Bitcoin                                  0.0023 Customer Transfer
 Confidential Customer Coin Transferee #12531   [Address on File]     5/18/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #12531   [Address on File]     5/19/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #12531   [Address on File]     5/18/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #12531   [Address on File]     5/18/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #12532   [Address on File]     6/20/2023 Bitcoin                             0.00004317 Customer Transfer
 Confidential Customer Coin Transferee #12533   [Address on File]     6/19/2023 Bitcoin                             0.00439569 Customer Transfer
 Confidential Customer Coin Transferee #12534   [Address on File]     6/20/2023 Bitcoin                             0.00279518 Customer Transfer
 Confidential Customer Coin Transferee #12535   [Address on File]     5/19/2023 Bitcoin                             0.22658471 Customer Transfer
 Confidential Customer Coin Transferee #12535   [Address on File]     5/24/2023 Bitcoin                             0.08081071 Customer Transfer
 Confidential Customer Coin Transferee #12536   [Address on File]     6/19/2023 Bitcoin                             0.00030462 Customer Transfer
 Confidential Customer Coin Transferee #12537   [Address on File]     5/26/2023 Bitcoin                             0.02880308 Customer Transfer
 Confidential Customer Coin Transferee #12538   [Address on File]     6/20/2023 Bitcoin                             0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #12539   [Address on File]     5/26/2023 Bitcoin                             0.01059766 Customer Transfer
 Confidential Customer Coin Transferee #12540   [Address on File]     6/19/2023 Bitcoin                              0.0000564 Customer Transfer
 Confidential Customer Coin Transferee #12541   [Address on File]     5/26/2023 Bitcoin                             0.00717325 Customer Transfer
 Confidential Customer Coin Transferee #12542   [Address on File]     6/20/2023 Bitcoin                             0.00004701 Customer Transfer
 Confidential Customer Coin Transferee #12543   [Address on File]     6/16/2023 USDC Avalanche)                     196.331467 Customer Transfer
 Confidential Customer Coin Transferee #12543   [Address on File]     6/16/2023 USDC Avalanche)                      97.970811 Customer Transfer
 Confidential Customer Coin Transferee #12544   [Address on File]     5/30/2023 Bitcoin                             0.00288874 Customer Transfer
 Confidential Customer Coin Transferee #12545   [Address on File]     6/20/2023 Bitcoin                             0.00005831 Customer Transfer
 Confidential Customer Coin Transferee #12546   [Address on File]     6/19/2023 Bitcoin                             0.00165867 Customer Transfer
 Confidential Customer Coin Transferee #12547   [Address on File]     6/19/2023 Bitcoin                             0.00110716 Customer Transfer
 Confidential Customer Coin Transferee #12548   [Address on File]     6/20/2023 Bitcoin                              0.0031694 Customer Transfer
 Confidential Customer Coin Transferee #12549   [Address on File]     6/19/2023 Bitcoin                             0.00079661 Customer Transfer
 Confidential Customer Coin Transferee #12550   [Address on File]     5/22/2023 Bitcoin                             0.10001858 Customer Transfer
 Confidential Customer Coin Transferee #12551   [Address on File]     5/27/2023 Bitcoin                             0.00184867 Customer Transfer
 Confidential Customer Coin Transferee #12551   [Address on File]     5/19/2023 Bitcoin                             0.00180448 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12552   [Address on File]      6/7/2023 USDC Avalanche)                     247.426286 Customer Transfer
 Confidential Customer Coin Transferee #12553   [Address on File]     5/27/2023 Bitcoin                             0.03764687 Customer Transfer
 Confidential Customer Coin Transferee #12554   [Address on File]     5/24/2023 Bitcoin                             0.06242317 Customer Transfer
 Confidential Customer Coin Transferee #12555   [Address on File]     5/24/2023 Bitcoin                             0.01011457 Customer Transfer
 Confidential Customer Coin Transferee #12556   [Address on File]     5/18/2023 Bitcoin                             0.02905038 Customer Transfer
 Confidential Customer Coin Transferee #12557   [Address on File]     5/18/2023 Bitcoin                             0.06898501 Customer Transfer
 Confidential Customer Coin Transferee #12558   [Address on File]     5/28/2023 Bitcoin                             0.01009259 Customer Transfer
 Confidential Customer Coin Transferee #12559   [Address on File]     5/22/2023 Bitcoin                             0.00720232 Customer Transfer
 Confidential Customer Coin Transferee #12560   [Address on File]     6/19/2023 Bitcoin                             0.00884764 Customer Transfer
 Confidential Customer Coin Transferee #12561   [Address on File]     5/22/2023 Bitcoin                             0.03411465 Customer Transfer
 Confidential Customer Coin Transferee #12561   [Address on File]     5/21/2023 Bitcoin                             0.02809948 Customer Transfer
 Confidential Customer Coin Transferee #12561   [Address on File]     5/29/2023 Bitcoin                             0.01666232 Customer Transfer
 Confidential Customer Coin Transferee #12562   [Address on File]     5/29/2023 Bitcoin                             0.01093926 Customer Transfer
 Confidential Customer Coin Transferee #12562   [Address on File]     5/29/2023 Bitcoin                             0.00712468 Customer Transfer
 Confidential Customer Coin Transferee #12563   [Address on File]      6/9/2023 Bitcoin                             0.00046462 Customer Transfer
 Confidential Customer Coin Transferee #12564   [Address on File]     5/25/2023 Bitcoin                             0.01084192 Customer Transfer
 Confidential Customer Coin Transferee #12565   [Address on File]     5/23/2023 Bitcoin                             0.22581234 Customer Transfer
 Confidential Customer Coin Transferee #12566   [Address on File]     5/24/2023 Bitcoin                             0.00092897 Customer Transfer
 Confidential Customer Coin Transferee #12567   [Address on File]     5/30/2023 Bitcoin                             0.01032352 Customer Transfer
 Confidential Customer Coin Transferee #12568   [Address on File]     5/26/2023 Bitcoin                             0.01454354 Customer Transfer
 Confidential Customer Coin Transferee #12569   [Address on File]     5/22/2023 Bitcoin                             0.00129216 Customer Transfer
 Confidential Customer Coin Transferee #12570   [Address on File]     6/20/2023 Bitcoin                             0.00072959 Customer Transfer
 Confidential Customer Coin Transferee #12571   [Address on File]     6/20/2023 Bitcoin                             0.00201289 Customer Transfer
 Confidential Customer Coin Transferee #12572   [Address on File]     6/20/2023 Bitcoin                              0.0006445 Customer Transfer
 Confidential Customer Coin Transferee #12573   [Address on File]     6/19/2023 Bitcoin                             0.03121003 Customer Transfer
 Confidential Customer Coin Transferee #12574   [Address on File]     5/19/2023 Bitcoin                             0.14284747 Customer Transfer
 Confidential Customer Coin Transferee #12575   [Address on File]     6/19/2023 Bitcoin                             0.00173762 Customer Transfer
 Confidential Customer Coin Transferee #12576   [Address on File]     6/19/2023 Bitcoin                             0.00115647 Customer Transfer
 Confidential Customer Coin Transferee #12577   [Address on File]     6/19/2023 Bitcoin                             0.00694394 Customer Transfer
 Confidential Customer Coin Transferee #12578   [Address on File]     5/23/2023 Bitcoin                             0.26168857 Customer Transfer
 Confidential Customer Coin Transferee #12578   [Address on File]     5/23/2023 Bitcoin                                    0.03 Customer Transfer
 Confidential Customer Coin Transferee #12579   [Address on File]     5/28/2023 Bitcoin                             0.01512583 Customer Transfer
 Confidential Customer Coin Transferee #12579   [Address on File]     5/28/2023 Bitcoin                             0.00110406 Customer Transfer
 Confidential Customer Coin Transferee #12580   [Address on File]     5/16/2023 Bitcoin                             0.02528439 Customer Transfer
 Confidential Customer Coin Transferee #12581   [Address on File]     5/25/2023 Bitcoin                             0.01076871 Customer Transfer
 Confidential Customer Coin Transferee #12582   [Address on File]     6/19/2023 Bitcoin                             0.00826066 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12583   [Address on File]     6/19/2023 Bitcoin                             0.00305734 Customer Transfer
 Confidential Customer Coin Transferee #12584   [Address on File]     5/21/2023 Bitcoin                             0.12528865 Customer Transfer
 Confidential Customer Coin Transferee #12585   [Address on File]     5/30/2023 Bitcoin                                   0.108 Customer Transfer
 Confidential Customer Coin Transferee #12586   [Address on File]     6/19/2023 Bitcoin                             0.00047647 Customer Transfer
 Confidential Customer Coin Transferee #12587   [Address on File]     5/20/2023 Bitcoin                             0.01305775 Customer Transfer
 Confidential Customer Coin Transferee #12588   [Address on File]     5/19/2023 Bitcoin                             0.06933623 Customer Transfer
 Confidential Customer Coin Transferee #12589   [Address on File]     6/19/2023 Bitcoin                             0.00288992 Customer Transfer
 Confidential Customer Coin Transferee #12590   [Address on File]     6/20/2023 Bitcoin                             0.01471422 Customer Transfer

 Confidential Customer Coin Transferee #12591   [Address on File]     5/23/2023 Bitcoin                                0.00538163 Customer Transfer
 Confidential Customer Coin Transferee #12592   [Address on File]     6/20/2023 Bitcoin                                0.00057766 Customer Transfer
 Confidential Customer Coin Transferee #12593   [Address on File]     5/16/2023 Bitcoin                                      0.025 Customer Transfer

 Confidential Customer Coin Transferee #12594   [Address on File]     6/10/2023 USDC Avalanche)                        243.084149 Customer Transfer

 Confidential Customer Coin Transferee #12594   [Address on File]     5/25/2023 Ether                                     1.322445 Customer Transfer
 Confidential Customer Coin Transferee #12595   [Address on File]      6/9/2023 Bitcoin                                0.00255015 Customer Transfer
 Confidential Customer Coin Transferee #12596   [Address on File]     5/21/2023 Bitcoin                                0.00108565 Customer Transfer
 Confidential Customer Coin Transferee #12597   [Address on File]     5/27/2023 Bitcoin                                0.01005216 Customer Transfer
 Confidential Customer Coin Transferee #12597   [Address on File]     5/25/2023 Bitcoin                                0.00397108 Customer Transfer
 Confidential Customer Coin Transferee #12598   [Address on File]     5/22/2023 Bitcoin                                0.02761481 Customer Transfer
 Confidential Customer Coin Transferee #12599   [Address on File]     5/26/2023 Bitcoin                                0.00073592 Customer Transfer
 Confidential Customer Coin Transferee #12599   [Address on File]     5/19/2023 Bitcoin                                0.00072173 Customer Transfer

 Confidential Customer Coin Transferee #12600   [Address on File]      6/5/2023 Litecoin                                    1.759 Customer Transfer

 Confidential Customer Coin Transferee #12600   [Address on File]      6/6/2023 Bitcoin                                0.05000874 Customer Transfer

 Confidential Customer Coin Transferee #12600   [Address on File]      6/5/2023 Bitcoin                                      0.006 Customer Transfer
 Confidential Customer Coin Transferee #12601   [Address on File]     5/24/2023 Bitcoin                                0.00549192 Customer Transfer
 Confidential Customer Coin Transferee #12602   [Address on File]     6/20/2023 Bitcoin                                0.00128627 Customer Transfer
 Confidential Customer Coin Transferee #12603   [Address on File]     5/20/2023 Bitcoin                                0.01044922 Customer Transfer
 Confidential Customer Coin Transferee #12603   [Address on File]     5/30/2023 Bitcoin                                0.01015776 Customer Transfer
 Confidential Customer Coin Transferee #12604   [Address on File]     5/20/2023 Bitcoin                                 0.0104027 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/25/2023 Bitcoin                                     0.0006 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/17/2023 Bitcoin                                0.00053519 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/25/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/30/2023 Bitcoin                                  0.0004 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/25/2023 Bitcoin                             0.00037885 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/25/2023 Bitcoin                             0.00037854 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/24/2023 Bitcoin                             0.00037757 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/24/2023 Bitcoin                             0.00037704 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/22/2023 Bitcoin                             0.00037219 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/30/2023 Bitcoin                                 0.00032 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/29/2023 Bitcoin                             0.00030621 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/17/2023 Bitcoin                                  0.0003 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/29/2023 Bitcoin                                  0.0003 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/25/2023 Bitcoin                             0.00023413 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/19/2023 Bitcoin                             0.00020707 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/19/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/20/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/20/2023 Bitcoin                             0.00019687 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/25/2023 Bitcoin                             0.00018936 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/26/2023 Bitcoin                             0.00018841 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/19/2023 Bitcoin                             0.00018321 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/19/2023 Bitcoin                                 0.00015 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/25/2023 Bitcoin                             0.00013135 Customer Transfer
 Confidential Customer Coin Transferee #12605   [Address on File]     5/30/2023 Bitcoin                                 0.00013 Customer Transfer
 Confidential Customer Coin Transferee #12606   [Address on File]     5/21/2023 Bitcoin                             0.00568018 Customer Transfer
 Confidential Customer Coin Transferee #12607   [Address on File]     5/25/2023 Bitcoin                             0.00894673 Customer Transfer
 Confidential Customer Coin Transferee #12608   [Address on File]     5/29/2023 Bitcoin                             0.11670292 Customer Transfer
 Confidential Customer Coin Transferee #12609   [Address on File]     5/17/2023 Bitcoin                             0.02568328 Customer Transfer
 Confidential Customer Coin Transferee #12610   [Address on File]     6/13/2023 USDC Avalanche)                    1195.921631 Customer Transfer
 Confidential Customer Coin Transferee #12610   [Address on File]     5/30/2023 USDC Avalanche)                     307.127149 Customer Transfer
 Confidential Customer Coin Transferee #12610   [Address on File]      6/6/2023 USDC Avalanche)                     302.088746 Customer Transfer
 Confidential Customer Coin Transferee #12610   [Address on File]      6/1/2023 USDC Avalanche)                     222.216669 Customer Transfer
 Confidential Customer Coin Transferee #12610   [Address on File]      6/8/2023 USDC Avalanche)                      212.23266 Customer Transfer
 Confidential Customer Coin Transferee #12610   [Address on File]      6/8/2023 USDC Avalanche)                     176.301849 Customer Transfer
 Confidential Customer Coin Transferee #12610   [Address on File]      6/5/2023 USDC Avalanche)                      157.31561 Customer Transfer
 Confidential Customer Coin Transferee #12610   [Address on File]      6/9/2023 USDC Avalanche)                     152.343828 Customer Transfer
 Confidential Customer Coin Transferee #12610   [Address on File]     6/10/2023 USDC Avalanche)                     116.635028 Customer Transfer
 Confidential Customer Coin Transferee #12610   [Address on File]     6/10/2023 USDC Avalanche)                     112.403798 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12610   [Address on File]      6/1/2023 USDC Avalanche)                     112.392564 Customer Transfer
 Confidential Customer Coin Transferee #12611   [Address on File]     5/19/2023 Bitcoin                             0.01766709 Customer Transfer
 Confidential Customer Coin Transferee #12612   [Address on File]     5/24/2023 Bitcoin                             0.01901117 Customer Transfer
 Confidential Customer Coin Transferee #12612   [Address on File]     5/23/2023 Bitcoin                             0.00740626 Customer Transfer
 Confidential Customer Coin Transferee #12613   [Address on File]     5/28/2023 Bitcoin                                   0.027 Customer Transfer
 Confidential Customer Coin Transferee #12614   [Address on File]     5/20/2023 Bitcoin                             0.00061544 Customer Transfer
 Confidential Customer Coin Transferee #12615   [Address on File]     6/20/2023 Bitcoin                             0.00175555 Customer Transfer
 Confidential Customer Coin Transferee #12616   [Address on File]     6/20/2023 Bitcoin                             0.03403505 Customer Transfer
 Confidential Customer Coin Transferee #12617   [Address on File]     6/19/2023 Bitcoin                             0.03361028 Customer Transfer
 Confidential Customer Coin Transferee #12618   [Address on File]     5/26/2023 Bitcoin                             0.01860917 Customer Transfer
 Confidential Customer Coin Transferee #12619   [Address on File]     5/17/2023 USDC Avalanche)                     197.270818 Customer Transfer
 Confidential Customer Coin Transferee #12620   [Address on File]     6/21/2023 USD Coin                                 30000 Customer Transfer
 Confidential Customer Coin Transferee #12620   [Address on File]     6/14/2023 USD Coin                              24113.34 Customer Transfer
 Confidential Customer Coin Transferee #12620   [Address on File]     5/25/2023 USD Coin                                 10000 Customer Transfer
 Confidential Customer Coin Transferee #12621   [Address on File]     6/20/2023 Bitcoin                             0.00231399 Customer Transfer
 Confidential Customer Coin Transferee #12622   [Address on File]     5/31/2023 Bitcoin                             0.01037041 Customer Transfer

 Confidential Customer Coin Transferee #12623   [Address on File]     6/14/2023 Bitcoin                                    0.04975 Customer Transfer
 Confidential Customer Coin Transferee #12624   [Address on File]     5/16/2023 Litecoin                                    8.8332 Customer Transfer
 Confidential Customer Coin Transferee #12624   [Address on File]     5/16/2023 Ether                                       1.4699 Customer Transfer
 Confidential Customer Coin Transferee #12624   [Address on File]     5/16/2023 Bitcoin                                       0.418 Customer Transfer
 Confidential Customer Coin Transferee #12625   [Address on File]     6/20/2023 Bitcoin                                 0.0089526 Customer Transfer
 Confidential Customer Coin Transferee #12626   [Address on File]     5/17/2023 Bitcoin                                0.03381705 Customer Transfer
 Confidential Customer Coin Transferee #12627   [Address on File]     6/20/2023 Bitcoin                                0.00005747 Customer Transfer
 Confidential Customer Coin Transferee #12628   [Address on File]     5/28/2023 Bitcoin                                     0.0036 Customer Transfer
 Confidential Customer Coin Transferee #12628   [Address on File]     5/28/2023 Bitcoin                                     0.0036 Customer Transfer
 Confidential Customer Coin Transferee #12629   [Address on File]     5/25/2023 Bitcoin                                        0.12 Customer Transfer
 Confidential Customer Coin Transferee #12629   [Address on File]     5/27/2023 Bitcoin                                        0.12 Customer Transfer
 Confidential Customer Coin Transferee #12629   [Address on File]     5/26/2023 Bitcoin                                0.10579603 Customer Transfer
 Confidential Customer Coin Transferee #12629   [Address on File]     5/24/2023 Bitcoin                                0.09022881 Customer Transfer
 Confidential Customer Coin Transferee #12629   [Address on File]     5/28/2023 Bitcoin                                0.06554807 Customer Transfer
 Confidential Customer Coin Transferee #12629   [Address on File]     5/23/2023 Bitcoin                                0.03446099 Customer Transfer
 Confidential Customer Coin Transferee #12630   [Address on File]     5/30/2023 Bitcoin                                     0.1075 Customer Transfer
 Confidential Customer Coin Transferee #12631   [Address on File]     5/31/2023 Bitcoin                                0.05901653 Customer Transfer
 Confidential Customer Coin Transferee #12632   [Address on File]     5/20/2023 Bitcoin                                0.01722804 Customer Transfer
 Confidential Customer Coin Transferee #12633   [Address on File]     5/27/2023 Bitcoin                                0.00372061 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12634   [Address on File]     5/27/2023 Bitcoin                             0.01076123 Customer Transfer
 Confidential Customer Coin Transferee #12634   [Address on File]     5/18/2023 Bitcoin                                0.003662 Customer Transfer
 Confidential Customer Coin Transferee #12635   [Address on File]     5/29/2023 Bitcoin                             0.00036393 Customer Transfer
 Confidential Customer Coin Transferee #12636   [Address on File]     5/19/2023 Bitcoin                             0.00740337 Customer Transfer
 Confidential Customer Coin Transferee #12636   [Address on File]     5/24/2023 Bitcoin                             0.00186394 Customer Transfer
 Confidential Customer Coin Transferee #12636   [Address on File]     5/25/2023 Bitcoin                             0.00044615 Customer Transfer
 Confidential Customer Coin Transferee #12637   [Address on File]     5/29/2023 Bitcoin                             0.01834318 Customer Transfer
 Confidential Customer Coin Transferee #12638   [Address on File]     5/29/2023 Bitcoin                             0.01802655 Customer Transfer
 Confidential Customer Coin Transferee #12639   [Address on File]     5/30/2023 Bitcoin                             0.05944674 Customer Transfer
 Confidential Customer Coin Transferee #12640   [Address on File]     5/28/2023 Bitcoin                             0.00314768 Customer Transfer
 Confidential Customer Coin Transferee #12640   [Address on File]     5/29/2023 Bitcoin                             0.00035977 Customer Transfer
 Confidential Customer Coin Transferee #12640   [Address on File]     5/30/2023 Bitcoin                             0.00035903 Customer Transfer
 Confidential Customer Coin Transferee #12641   [Address on File]     6/19/2023 USD Coin                             44.816586 Customer Transfer
 Confidential Customer Coin Transferee #12641   [Address on File]     6/18/2023 USD Coin                             23.901126 Customer Transfer
 Confidential Customer Coin Transferee #12642   [Address on File]     5/18/2023 Bitcoin                             0.00999999 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/21/2023 Bitcoin                             0.00365468 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/28/2023 Bitcoin                             0.00345589 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/19/2023 Bitcoin                             0.00229427 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/20/2023 Bitcoin                             0.00205884 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/19/2023 Bitcoin                             0.00184892 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/20/2023 Bitcoin                             0.00166226 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/21/2023 Bitcoin                             0.00153662 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/19/2023 Bitcoin                                0.001398 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/28/2023 Bitcoin                             0.00130361 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/21/2023 Bitcoin                             0.00128064 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/21/2023 Bitcoin                              0.0007438 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/28/2023 Bitcoin                             0.00072178 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/29/2023 Bitcoin                             0.00070095 Customer Transfer
 Confidential Customer Coin Transferee #12643   [Address on File]     5/30/2023 Bitcoin                             0.00062478 Customer Transfer
 Confidential Customer Coin Transferee #12644   [Address on File]     5/20/2023 Bitcoin                             0.01650254 Customer Transfer
 Confidential Customer Coin Transferee #12645   [Address on File]     5/28/2023 Bitcoin                             0.02192918 Customer Transfer
 Confidential Customer Coin Transferee #12645   [Address on File]     5/26/2023 Bitcoin                             0.01307975 Customer Transfer
 Confidential Customer Coin Transferee #12645   [Address on File]     5/31/2023 Bitcoin                             0.00918754 Customer Transfer
 Confidential Customer Coin Transferee #12646   [Address on File]     5/20/2023 Bitcoin                              0.0710446 Customer Transfer
 Confidential Customer Coin Transferee #12647   [Address on File]     5/20/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #12648   [Address on File]     5/25/2023 Bitcoin                             0.01157747 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12648   [Address on File]     5/30/2023 Bitcoin                              0.0110656 Customer Transfer
 Confidential Customer Coin Transferee #12648   [Address on File]     5/24/2023 Bitcoin                             0.00812848 Customer Transfer
 Confidential Customer Coin Transferee #12648   [Address on File]     5/22/2023 Bitcoin                              0.0075797 Customer Transfer
 Confidential Customer Coin Transferee #12648   [Address on File]     5/31/2023 Bitcoin                             0.00483851 Customer Transfer
 Confidential Customer Coin Transferee #12648   [Address on File]     5/16/2023 Bitcoin                             0.00125134 Customer Transfer
 Confidential Customer Coin Transferee #12648   [Address on File]     5/29/2023 Bitcoin                              0.0011393 Customer Transfer
 Confidential Customer Coin Transferee #12648   [Address on File]     5/28/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #12648   [Address on File]     5/28/2023 Bitcoin                                 0.00036 Customer Transfer
 Confidential Customer Coin Transferee #12648   [Address on File]     5/28/2023 Bitcoin                             0.00032801 Customer Transfer
 Confidential Customer Coin Transferee #12649   [Address on File]     6/19/2023 Bitcoin                              0.0000581 Customer Transfer
 Confidential Customer Coin Transferee #12650   [Address on File]     5/27/2023 Bitcoin                             0.00235827 Customer Transfer
 Confidential Customer Coin Transferee #12650   [Address on File]     5/23/2023 Bitcoin                             0.00189534 Customer Transfer
 Confidential Customer Coin Transferee #12650   [Address on File]     5/21/2023 Bitcoin                             0.00123545 Customer Transfer
 Confidential Customer Coin Transferee #12650   [Address on File]     5/29/2023 Bitcoin                             0.00103993 Customer Transfer
 Confidential Customer Coin Transferee #12650   [Address on File]     5/18/2023 Bitcoin                             0.00091853 Customer Transfer
 Confidential Customer Coin Transferee #12650   [Address on File]     5/31/2023 Bitcoin                             0.00068016 Customer Transfer
 Confidential Customer Coin Transferee #12650   [Address on File]     5/16/2023 Bitcoin                             0.00067625 Customer Transfer
 Confidential Customer Coin Transferee #12651   [Address on File]     5/25/2023 Bitcoin                                  0.2269 Customer Transfer
 Confidential Customer Coin Transferee #12651   [Address on File]     5/29/2023 Bitcoin                             0.09267132 Customer Transfer
 Confidential Customer Coin Transferee #12651   [Address on File]     5/19/2023 Bitcoin                             0.07036406 Customer Transfer
 Confidential Customer Coin Transferee #12651   [Address on File]     5/28/2023 Bitcoin                             0.05153725 Customer Transfer
 Confidential Customer Coin Transferee #12651   [Address on File]     5/21/2023 Bitcoin                             0.02571669 Customer Transfer
 Confidential Customer Coin Transferee #12652   [Address on File]     5/25/2023 Bitcoin                             0.00207365 Customer Transfer
 Confidential Customer Coin Transferee #12652   [Address on File]     5/26/2023 Bitcoin                             0.00180076 Customer Transfer
 Confidential Customer Coin Transferee #12652   [Address on File]     5/20/2023 Bitcoin                             0.00177845 Customer Transfer
 Confidential Customer Coin Transferee #12652   [Address on File]     5/25/2023 Bitcoin                             0.00145756 Customer Transfer
 Confidential Customer Coin Transferee #12652   [Address on File]     5/27/2023 Bitcoin                             0.00123665 Customer Transfer
 Confidential Customer Coin Transferee #12652   [Address on File]     5/27/2023 Bitcoin                              0.0010622 Customer Transfer
 Confidential Customer Coin Transferee #12652   [Address on File]     5/28/2023 Bitcoin                             0.00084624 Customer Transfer
 Confidential Customer Coin Transferee #12652   [Address on File]     5/27/2023 Bitcoin                             0.00073484 Customer Transfer
 Confidential Customer Coin Transferee #12652   [Address on File]     5/27/2023 Bitcoin                             0.00071826 Customer Transfer
 Confidential Customer Coin Transferee #12653   [Address on File]     5/24/2023 Bitcoin                             0.07843857 Customer Transfer

 Confidential Customer Coin Transferee #12654   [Address on File]     5/28/2023 Bitcoin                                0.0800154 Customer Transfer
 Confidential Customer Coin Transferee #12655   [Address on File]     5/21/2023 Bitcoin                                0.0138595 Customer Transfer
 Confidential Customer Coin Transferee #12655   [Address on File]     5/21/2023 Bitcoin                                   0.00001 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12656   [Address on File]     5/26/2023 Bitcoin                             0.00371777 Customer Transfer
 Confidential Customer Coin Transferee #12656   [Address on File]     5/26/2023 Bitcoin                             0.00185849 Customer Transfer
 Confidential Customer Coin Transferee #12656   [Address on File]     5/21/2023 Bitcoin                              0.0003695 Customer Transfer
 Confidential Customer Coin Transferee #12657   [Address on File]     6/18/2023 Bitcoin                             0.69592591 Customer Transfer
 Confidential Customer Coin Transferee #12657   [Address on File]     6/18/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #12658   [Address on File]     5/27/2023 Bitcoin                             0.00963827 Customer Transfer
 Confidential Customer Coin Transferee #12659   [Address on File]     5/25/2023 Bitcoin                             0.00953106 Customer Transfer
 Confidential Customer Coin Transferee #12659   [Address on File]     5/24/2023 Bitcoin                             0.00929122 Customer Transfer
 Confidential Customer Coin Transferee #12659   [Address on File]     5/18/2023 Bitcoin                             0.00928938 Customer Transfer
 Confidential Customer Coin Transferee #12659   [Address on File]     5/31/2023 Bitcoin                             0.00910576 Customer Transfer
 Confidential Customer Coin Transferee #12660   [Address on File]     5/22/2023 Bitcoin                             0.02294316 Customer Transfer
 Confidential Customer Coin Transferee #12661   [Address on File]     5/18/2023 Bitcoin                             0.00470819 Customer Transfer
 Confidential Customer Coin Transferee #12661   [Address on File]     5/25/2023 Bitcoin                              0.0037898 Customer Transfer
 Confidential Customer Coin Transferee #12661   [Address on File]     5/25/2023 Bitcoin                             0.00378946 Customer Transfer
 Confidential Customer Coin Transferee #12661   [Address on File]     5/28/2023 Bitcoin                             0.00366169 Customer Transfer
 Confidential Customer Coin Transferee #12661   [Address on File]     5/30/2023 Bitcoin                             0.00212447 Customer Transfer
 Confidential Customer Coin Transferee #12661   [Address on File]     5/25/2023 Bitcoin                              0.0009391 Customer Transfer
 Confidential Customer Coin Transferee #12662   [Address on File]     5/25/2023 Bitcoin                             0.09469726 Customer Transfer
 Confidential Customer Coin Transferee #12663   [Address on File]     5/21/2023 Bitcoin                             0.02215169 Customer Transfer
 Confidential Customer Coin Transferee #12663   [Address on File]     5/26/2023 Bitcoin                             0.01850508 Customer Transfer
 Confidential Customer Coin Transferee #12664   [Address on File]     5/25/2023 Bitcoin                             0.01854463 Customer Transfer
 Confidential Customer Coin Transferee #12665   [Address on File]     5/29/2023 Bitcoin                             0.00351699 Customer Transfer
 Confidential Customer Coin Transferee #12666   [Address on File]     5/19/2023 Bitcoin                             0.06103526 Customer Transfer
 Confidential Customer Coin Transferee #12667   [Address on File]     5/20/2023 Bitcoin                             0.00361768 Customer Transfer
 Confidential Customer Coin Transferee #12668   [Address on File]     5/26/2023 Bitcoin                             0.00059249 Customer Transfer
 Confidential Customer Coin Transferee #12668   [Address on File]     5/25/2023 Bitcoin                             0.00007544 Customer Transfer
 Confidential Customer Coin Transferee #12668   [Address on File]     5/25/2023 Bitcoin                             0.00007389 Customer Transfer
 Confidential Customer Coin Transferee #12669   [Address on File]     5/19/2023 Bitcoin                             0.00184829 Customer Transfer
 Confidential Customer Coin Transferee #12670   [Address on File]     5/24/2023 Bitcoin                                    0.029 Customer Transfer
 Confidential Customer Coin Transferee #12671   [Address on File]     5/25/2023 Bitcoin                             0.01888888 Customer Transfer
 Confidential Customer Coin Transferee #12672   [Address on File]     5/23/2023 Bitcoin                             0.00092564 Customer Transfer
 Confidential Customer Coin Transferee #12673   [Address on File]     5/29/2023 Bitcoin                                 0.00018 Customer Transfer
 Confidential Customer Coin Transferee #12674   [Address on File]     5/26/2023 Bitcoin                             0.00559534 Customer Transfer
 Confidential Customer Coin Transferee #12675   [Address on File]     5/27/2023 Bitcoin                             0.00371672 Customer Transfer
 Confidential Customer Coin Transferee #12675   [Address on File]     5/20/2023 Bitcoin                             0.00369189 Customer Transfer
 Confidential Customer Coin Transferee #12675   [Address on File]     5/31/2023 Bitcoin                             0.00367651 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12675   [Address on File]     5/28/2023 Bitcoin                             0.00270586 Customer Transfer
 Confidential Customer Coin Transferee #12676   [Address on File]     5/19/2023 Bitcoin                             0.18482154 Customer Transfer
 Confidential Customer Coin Transferee #12676   [Address on File]     5/18/2023 Bitcoin                             0.00369642 Customer Transfer
 Confidential Customer Coin Transferee #12677   [Address on File]     5/30/2023 Bitcoin                             0.00679454 Customer Transfer
 Confidential Customer Coin Transferee #12677   [Address on File]     5/29/2023 Bitcoin                             0.00450093 Customer Transfer
 Confidential Customer Coin Transferee #12677   [Address on File]     5/29/2023 Bitcoin                              0.0035671 Customer Transfer
 Confidential Customer Coin Transferee #12677   [Address on File]     5/30/2023 Bitcoin                             0.00286766 Customer Transfer
 Confidential Customer Coin Transferee #12678   [Address on File]     5/21/2023 Bitcoin                             0.04126458 Customer Transfer
 Confidential Customer Coin Transferee #12679   [Address on File]     5/24/2023 Bitcoin                              0.0380356 Customer Transfer
 Confidential Customer Coin Transferee #12679   [Address on File]     5/24/2023 Bitcoin                             0.03724207 Customer Transfer
 Confidential Customer Coin Transferee #12679   [Address on File]     5/22/2023 Bitcoin                             0.03702352 Customer Transfer
 Confidential Customer Coin Transferee #12679   [Address on File]     5/28/2023 Bitcoin                              0.0363576 Customer Transfer
 Confidential Customer Coin Transferee #12679   [Address on File]     5/29/2023 Bitcoin                             0.03604969 Customer Transfer
 Confidential Customer Coin Transferee #12679   [Address on File]     5/28/2023 Bitcoin                             0.03536796 Customer Transfer
 Confidential Customer Coin Transferee #12679   [Address on File]     5/29/2023 Bitcoin                             0.03534592 Customer Transfer
 Confidential Customer Coin Transferee #12679   [Address on File]     5/16/2023 Bitcoin                             0.02212313 Customer Transfer
 Confidential Customer Coin Transferee #12679   [Address on File]     5/28/2023 Bitcoin                             0.01803249 Customer Transfer
 Confidential Customer Coin Transferee #12680   [Address on File]     5/22/2023 Bitcoin                             0.01310639 Customer Transfer
 Confidential Customer Coin Transferee #12681   [Address on File]     5/24/2023 Bitcoin                             0.00284436 Customer Transfer
 Confidential Customer Coin Transferee #12681   [Address on File]     5/24/2023 Bitcoin                             0.00189978 Customer Transfer
 Confidential Customer Coin Transferee #12681   [Address on File]     5/17/2023 Bitcoin                             0.00185748 Customer Transfer
 Confidential Customer Coin Transferee #12681   [Address on File]     5/18/2023 Bitcoin                             0.00181898 Customer Transfer
 Confidential Customer Coin Transferee #12681   [Address on File]     5/24/2023 Bitcoin                             0.00143579 Customer Transfer
 Confidential Customer Coin Transferee #12681   [Address on File]     5/18/2023 Bitcoin                             0.00134471 Customer Transfer
 Confidential Customer Coin Transferee #12681   [Address on File]     5/18/2023 Bitcoin                             0.00109094 Customer Transfer
 Confidential Customer Coin Transferee #12681   [Address on File]     5/20/2023 Bitcoin                             0.00108474 Customer Transfer
 Confidential Customer Coin Transferee #12681   [Address on File]     5/19/2023 Bitcoin                              0.0004733 Customer Transfer
 Confidential Customer Coin Transferee #12682   [Address on File]     5/19/2023 Bitcoin                              0.0089594 Customer Transfer
 Confidential Customer Coin Transferee #12683   [Address on File]     5/24/2023 Bitcoin                                    0.12 Customer Transfer
 Confidential Customer Coin Transferee #12683   [Address on File]     5/24/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #12683   [Address on File]     5/24/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/24/2023 Bitcoin                             0.00094865 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/24/2023 Bitcoin                             0.00090745 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/26/2023 Bitcoin                             0.00082599 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/28/2023 Bitcoin                             0.00071836 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/22/2023 Bitcoin                             0.00056768 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/23/2023 Bitcoin                             0.00056273 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/28/2023 Bitcoin                             0.00054768 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/23/2023 Bitcoin                             0.00044091 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/28/2023 Bitcoin                                 0.00043 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/26/2023 Bitcoin                             0.00041181 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/22/2023 Bitcoin                             0.00036287 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/23/2023 Bitcoin                              0.0003627 Customer Transfer
 Confidential Customer Coin Transferee #12684   [Address on File]     5/29/2023 Bitcoin                             0.00034303 Customer Transfer
 Confidential Customer Coin Transferee #12685   [Address on File]     5/19/2023 Bitcoin                             0.00037092 Customer Transfer
 Confidential Customer Coin Transferee #12686   [Address on File]     5/18/2023 Bitcoin                             0.00388421 Customer Transfer
 Confidential Customer Coin Transferee #12686   [Address on File]     5/29/2023 Bitcoin                             0.00238211 Customer Transfer
 Confidential Customer Coin Transferee #12687   [Address on File]     5/21/2023 Bitcoin                                     0.02 Customer Transfer
 Confidential Customer Coin Transferee #12688   [Address on File]     5/23/2023 Bitcoin                             0.00852424 Customer Transfer
 Confidential Customer Coin Transferee #12688   [Address on File]     5/27/2023 Bitcoin                             0.00372014 Customer Transfer
 Confidential Customer Coin Transferee #12688   [Address on File]     5/30/2023 Bitcoin                             0.00357849 Customer Transfer
 Confidential Customer Coin Transferee #12688   [Address on File]     5/21/2023 Bitcoin                                 0.00075 Customer Transfer
 Confidential Customer Coin Transferee #12689   [Address on File]     5/31/2023 Bitcoin                             0.02003769 Customer Transfer
 Confidential Customer Coin Transferee #12689   [Address on File]     5/20/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #12690   [Address on File]     5/26/2023 Bitcoin                             0.00188105 Customer Transfer

 Confidential Customer Coin Transferee #12691   [Address on File]     5/30/2023 Bitcoin                                0.00314717 Customer Transfer

 Confidential Customer Coin Transferee #12691   [Address on File]     5/22/2023 Bitcoin                                0.00306718 Customer Transfer

 Confidential Customer Coin Transferee #12691   [Address on File]     5/19/2023 Bitcoin                                0.00191066 Customer Transfer

 Confidential Customer Coin Transferee #12691   [Address on File]     5/23/2023 Bitcoin                                0.00124585 Customer Transfer

 Confidential Customer Coin Transferee #12691   [Address on File]     5/16/2023 Bitcoin                                0.00106231 Customer Transfer
 Confidential Customer Coin Transferee #12692   [Address on File]     6/19/2023 Bitcoin                                0.00045905 Customer Transfer
 Confidential Customer Coin Transferee #12693   [Address on File]     5/18/2023 Bitcoin                                      0.222 Customer Transfer
 Confidential Customer Coin Transferee #12693   [Address on File]     5/21/2023 Bitcoin                                0.10788592 Customer Transfer
 Confidential Customer Coin Transferee #12694   [Address on File]     5/19/2023 Bitcoin                                0.02250376 Customer Transfer
 Confidential Customer Coin Transferee #12694   [Address on File]     5/24/2023 Bitcoin                                0.01890252 Customer Transfer
 Confidential Customer Coin Transferee #12694   [Address on File]     5/19/2023 Bitcoin                                0.00924583 Customer Transfer
 Confidential Customer Coin Transferee #12694   [Address on File]     5/31/2023 Bitcoin                                0.00367616 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12695   [Address on File]     5/21/2023 Bitcoin                             0.00037019 Customer Transfer
 Confidential Customer Coin Transferee #12695   [Address on File]     5/21/2023 Bitcoin                             0.00018019 Customer Transfer
 Confidential Customer Coin Transferee #12695   [Address on File]     5/21/2023 Bitcoin                             0.00011758 Customer Transfer
 Confidential Customer Coin Transferee #12696   [Address on File]     5/29/2023 Bitcoin                             0.01206048 Customer Transfer
 Confidential Customer Coin Transferee #12697   [Address on File]     5/19/2023 Bitcoin                             0.01647376 Customer Transfer
 Confidential Customer Coin Transferee #12698   [Address on File]     5/16/2023 Bitcoin                             0.02976489 Customer Transfer
 Confidential Customer Coin Transferee #12699   [Address on File]     5/22/2023 Bitcoin                             0.12936682 Customer Transfer
 Confidential Customer Coin Transferee #12700   [Address on File]     5/19/2023 Bitcoin                             0.00925008 Customer Transfer
 Confidential Customer Coin Transferee #12701   [Address on File]     5/18/2023 Bitcoin                             0.00733193 Customer Transfer
 Confidential Customer Coin Transferee #12702   [Address on File]     5/22/2023 Bitcoin                                   0.225 Customer Transfer
 Confidential Customer Coin Transferee #12703   [Address on File]     5/23/2023 Bitcoin                             0.07267334 Customer Transfer
 Confidential Customer Coin Transferee #12704   [Address on File]      6/9/2023 Bitcoin                             0.00517783 Customer Transfer
 Confidential Customer Coin Transferee #12705   [Address on File]     5/18/2023 Bitcoin                             0.01033781 Customer Transfer
 Confidential Customer Coin Transferee #12706   [Address on File]     6/20/2023 Bitcoin                             0.00035787 Customer Transfer
 Confidential Customer Coin Transferee #12707   [Address on File]     6/20/2023 Bitcoin                             0.02815968 Customer Transfer

 Confidential Customer Coin Transferee #12708   [Address on File]     5/26/2023 Litecoin                                0.5642381 Customer Transfer
 Confidential Customer Coin Transferee #12709   [Address on File]     6/19/2023 Bitcoin                                0.00160431 Customer Transfer
 Confidential Customer Coin Transferee #12710   [Address on File]     5/22/2023 Bitcoin                                0.00368708 Customer Transfer
 Confidential Customer Coin Transferee #12710   [Address on File]      6/1/2023 Bitcoin                                0.00366349 Customer Transfer
 Confidential Customer Coin Transferee #12710   [Address on File]     5/29/2023 Bitcoin                                0.00364788 Customer Transfer
 Confidential Customer Coin Transferee #12710   [Address on File]     5/30/2023 Bitcoin                                0.00357671 Customer Transfer
 Confidential Customer Coin Transferee #12711   [Address on File]      6/5/2023 Bitcoin                                0.00294252 Customer Transfer
 Confidential Customer Coin Transferee #12711   [Address on File]      6/6/2023 Bitcoin                                0.00178848 Customer Transfer
 Confidential Customer Coin Transferee #12711   [Address on File]      6/2/2023 Bitcoin                                0.00132415 Customer Transfer
 Confidential Customer Coin Transferee #12711   [Address on File]     5/22/2023 Bitcoin                                0.00110735 Customer Transfer
 Confidential Customer Coin Transferee #12711   [Address on File]     6/12/2023 Bitcoin                                 0.0009152 Customer Transfer
 Confidential Customer Coin Transferee #12711   [Address on File]     5/30/2023 Bitcoin                                0.00085213 Customer Transfer
 Confidential Customer Coin Transferee #12711   [Address on File]      6/7/2023 Bitcoin                                0.00074992 Customer Transfer
 Confidential Customer Coin Transferee #12711   [Address on File]      6/7/2023 Bitcoin                                   0.000602 Customer Transfer
 Confidential Customer Coin Transferee #12712   [Address on File]     5/16/2023 Bitcoin                                0.00171186 Customer Transfer
 Confidential Customer Coin Transferee #12713   [Address on File]     6/20/2023 Bitcoin                                0.00005805 Customer Transfer

 Confidential Customer Coin Transferee #12714   [Address on File]     6/12/2023 Bitcoin                                   0.24975 Customer Transfer

 Confidential Customer Coin Transferee #12714   [Address on File]      6/9/2023 Bitcoin                                0.00261778 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12715   [Address on File]     6/13/2023 Bitcoin                             0.01067754 Customer Transfer
 Confidential Customer Coin Transferee #12715   [Address on File]      6/1/2023 Bitcoin                             0.00823436 Customer Transfer
 Confidential Customer Coin Transferee #12715   [Address on File]     5/18/2023 Bitcoin                             0.00654866 Customer Transfer
 Confidential Customer Coin Transferee #12715   [Address on File]     6/19/2023 Bitcoin                             0.00296862 Customer Transfer
 Confidential Customer Coin Transferee #12716   [Address on File]     5/30/2023 Bitcoin                                  0.0577 Customer Transfer
 Confidential Customer Coin Transferee #12717   [Address on File]     5/24/2023 Bitcoin                             0.01259362 Customer Transfer
 Confidential Customer Coin Transferee #12717   [Address on File]     5/17/2023 Bitcoin                             0.01034687 Customer Transfer
 Confidential Customer Coin Transferee #12718   [Address on File]     6/20/2023 Bitcoin                             0.00560289 Customer Transfer
 Confidential Customer Coin Transferee #12719   [Address on File]     5/29/2023 Bitcoin                             0.05625363 Customer Transfer
 Confidential Customer Coin Transferee #12719   [Address on File]     5/29/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #12720   [Address on File]     6/20/2023 Bitcoin                             0.00011839 Customer Transfer
 Confidential Customer Coin Transferee #12721   [Address on File]     6/20/2023 Bitcoin                             0.00006016 Customer Transfer
 Confidential Customer Coin Transferee #12722   [Address on File]     5/16/2023 Bitcoin                             0.03407027 Customer Transfer
 Confidential Customer Coin Transferee #12723   [Address on File]     5/24/2023 Bitcoin                             0.01003258 Customer Transfer
 Confidential Customer Coin Transferee #12724   [Address on File]     6/19/2023 Bitcoin                             0.00588789 Customer Transfer
 Confidential Customer Coin Transferee #12725   [Address on File]     5/22/2023 Bitcoin                             0.10023308 Customer Transfer
 Confidential Customer Coin Transferee #12726   [Address on File]     5/19/2023 Bitcoin                             0.01104512 Customer Transfer
 Confidential Customer Coin Transferee #12727   [Address on File]     5/23/2023 Bitcoin                             0.00189016 Customer Transfer
 Confidential Customer Coin Transferee #12727   [Address on File]     5/30/2023 Bitcoin                             0.00185443 Customer Transfer
 Confidential Customer Coin Transferee #12727   [Address on File]     5/16/2023 Bitcoin                             0.00172089 Customer Transfer
 Confidential Customer Coin Transferee #12728   [Address on File]     6/19/2023 Bitcoin                             0.00005807 Customer Transfer
 Confidential Customer Coin Transferee #12729   [Address on File]     6/20/2023 Bitcoin                             0.00045861 Customer Transfer
 Confidential Customer Coin Transferee #12730   [Address on File]     6/20/2023 Bitcoin                             0.00005825 Customer Transfer
 Confidential Customer Coin Transferee #12731   [Address on File]     6/19/2023 Bitcoin                             0.00004308 Customer Transfer
 Confidential Customer Coin Transferee #12732   [Address on File]     5/29/2023 Bitcoin                             0.00520193 Customer Transfer
 Confidential Customer Coin Transferee #12732   [Address on File]     5/22/2023 Bitcoin                             0.00495075 Customer Transfer
 Confidential Customer Coin Transferee #12733   [Address on File]     6/19/2023 Bitcoin                             0.00057894 Customer Transfer
 Confidential Customer Coin Transferee #12734   [Address on File]     5/25/2023 Bitcoin                             0.00278052 Customer Transfer
 Confidential Customer Coin Transferee #12735   [Address on File]     6/20/2023 Bitcoin                             0.00135272 Customer Transfer
 Confidential Customer Coin Transferee #12736   [Address on File]     5/24/2023 Bitcoin                             0.05247054 Customer Transfer
 Confidential Customer Coin Transferee #12737   [Address on File]     6/20/2023 Bitcoin                             0.00143414 Customer Transfer
 Confidential Customer Coin Transferee #12738   [Address on File]     6/12/2023 Bitcoin                             0.00482635 Customer Transfer
 Confidential Customer Coin Transferee #12738   [Address on File]     6/21/2023 Bitcoin                             0.00396108 Customer Transfer
 Confidential Customer Coin Transferee #12738   [Address on File]     5/29/2023 Bitcoin                             0.00115094 Customer Transfer
 Confidential Customer Coin Transferee #12738   [Address on File]     5/25/2023 Bitcoin                             0.00101662 Customer Transfer
 Confidential Customer Coin Transferee #12738   [Address on File]     5/31/2023 Bitcoin                             0.00089497 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12738   [Address on File]     6/21/2023 Bitcoin                             0.00076617 Customer Transfer
 Confidential Customer Coin Transferee #12738   [Address on File]     5/22/2023 Bitcoin                             0.00067052 Customer Transfer
 Confidential Customer Coin Transferee #12738   [Address on File]      6/9/2023 Bitcoin                             0.00065764 Customer Transfer
 Confidential Customer Coin Transferee #12739   [Address on File]     5/23/2023 Bitcoin                              0.0025553 Customer Transfer
 Confidential Customer Coin Transferee #12739   [Address on File]     5/23/2023 Bitcoin                             0.00213124 Customer Transfer
 Confidential Customer Coin Transferee #12739   [Address on File]     5/23/2023 Bitcoin                             0.00156426 Customer Transfer
 Confidential Customer Coin Transferee #12740   [Address on File]     5/24/2023 Bitcoin                             0.01072419 Customer Transfer
 Confidential Customer Coin Transferee #12741   [Address on File]     6/19/2023 Bitcoin                             0.01110167 Customer Transfer
 Confidential Customer Coin Transferee #12742   [Address on File]     6/19/2023 Bitcoin                             0.01312509 Customer Transfer
 Confidential Customer Coin Transferee #12743   [Address on File]     6/20/2023 Bitcoin                             0.00065353 Customer Transfer
 Confidential Customer Coin Transferee #12744   [Address on File]     6/18/2023 Ether                                  0.019056 Customer Transfer
 Confidential Customer Coin Transferee #12744   [Address on File]     6/19/2023 Ether                                  0.018685 Customer Transfer
 Confidential Customer Coin Transferee #12744   [Address on File]     6/16/2023 Ether                                  0.018252 Customer Transfer
 Confidential Customer Coin Transferee #12744   [Address on File]     6/14/2023 Ether                                  0.017761 Customer Transfer
 Confidential Customer Coin Transferee #12744   [Address on File]     6/19/2023 Bitcoin                                0.007258 Customer Transfer
 Confidential Customer Coin Transferee #12745   [Address on File]      6/9/2023 Bitcoin                             0.00145875 Customer Transfer
 Confidential Customer Coin Transferee #12745   [Address on File]     6/20/2023 Bitcoin                             0.00015725 Customer Transfer
 Confidential Customer Coin Transferee #12746   [Address on File]     5/29/2023 Bitcoin                             0.00302949 Customer Transfer
 Confidential Customer Coin Transferee #12746   [Address on File]     6/20/2023 Bitcoin                             0.00019092 Customer Transfer
 Confidential Customer Coin Transferee #12747   [Address on File]     5/28/2023 Bitcoin                             0.01732624 Customer Transfer
 Confidential Customer Coin Transferee #12747   [Address on File]     5/21/2023 Bitcoin                             0.01652849 Customer Transfer
 Confidential Customer Coin Transferee #12748   [Address on File]     6/19/2023 Bitcoin                             0.05455838 Customer Transfer
 Confidential Customer Coin Transferee #12749   [Address on File]     5/18/2023 Bitcoin                             0.02573792 Customer Transfer
 Confidential Customer Coin Transferee #12750   [Address on File]     5/18/2023 Bitcoin                             0.11855693 Customer Transfer
 Confidential Customer Coin Transferee #12751   [Address on File]     6/20/2023 Bitcoin                             0.00035349 Customer Transfer
 Confidential Customer Coin Transferee #12752   [Address on File]     5/17/2023 Bitcoin                             0.09206477 Customer Transfer
 Confidential Customer Coin Transferee #12752   [Address on File]     5/24/2023 Bitcoin                             0.00897241 Customer Transfer
 Confidential Customer Coin Transferee #12752   [Address on File]     5/17/2023 Bitcoin                             0.00120522 Customer Transfer
 Confidential Customer Coin Transferee #12753   [Address on File]     6/19/2023 Bitcoin                             0.00009558 Customer Transfer

 Confidential Customer Coin Transferee #12754   [Address on File]      6/8/2023 Bitcoin                                0.02384811 Customer Transfer

 Confidential Customer Coin Transferee #12754   [Address on File]     5/17/2023 Bitcoin                                0.00153549 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]     5/30/2023 Bitcoin                                0.00073567 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]      6/5/2023 Bitcoin                                0.00063558 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]     5/19/2023 Bitcoin                                 0.0003679 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]     6/12/2023 Bitcoin                             0.00032637 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]     5/26/2023 Bitcoin                             0.00028136 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]     5/16/2023 Bitcoin                             0.00021726 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]      6/9/2023 Bitcoin                             0.00017309 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]     6/16/2023 Bitcoin                             0.00016383 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]      6/2/2023 Bitcoin                             0.00014816 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]      6/6/2023 Bitcoin                             0.00013506 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]     5/30/2023 Bitcoin                             0.00007696 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]     5/16/2023 Bitcoin                             0.00007512 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]     5/22/2023 Bitcoin                             0.00007212 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]     5/17/2023 Bitcoin                              0.0000483 Customer Transfer
 Confidential Customer Coin Transferee #12755   [Address on File]      6/6/2023 Bitcoin                             0.00004795 Customer Transfer
 Confidential Customer Coin Transferee #12756   [Address on File]      6/1/2023 Bitcoin                             0.00073388 Customer Transfer
 Confidential Customer Coin Transferee #12756   [Address on File]     6/17/2023 Bitcoin                             0.00057088 Customer Transfer
 Confidential Customer Coin Transferee #12757   [Address on File]     5/19/2023 Bitcoin                             0.05706137 Customer Transfer
 Confidential Customer Coin Transferee #12758   [Address on File]     6/19/2023 Bitcoin                             0.00289327 Customer Transfer
 Confidential Customer Coin Transferee #12759   [Address on File]     6/20/2023 Bitcoin                             0.00046531 Customer Transfer
 Confidential Customer Coin Transferee #12760   [Address on File]     5/26/2023 Bitcoin                             0.02598851 Customer Transfer
 Confidential Customer Coin Transferee #12761   [Address on File]     5/16/2023 Bitcoin                             0.02898181 Customer Transfer
 Confidential Customer Coin Transferee #12762   [Address on File]     5/16/2023 Bitcoin                             0.00866152 Customer Transfer
 Confidential Customer Coin Transferee #12763   [Address on File]     5/22/2023 Bitcoin                             0.00978515 Customer Transfer
 Confidential Customer Coin Transferee #12764   [Address on File]     5/25/2023 Bitcoin                              0.0039413 Customer Transfer
 Confidential Customer Coin Transferee #12764   [Address on File]      6/9/2023 Bitcoin                             0.00212533 Customer Transfer
 Confidential Customer Coin Transferee #12765   [Address on File]     6/20/2023 Bitcoin                             0.00044883 Customer Transfer
 Confidential Customer Coin Transferee #12766   [Address on File]     5/26/2023 Bitcoin                             0.00185603 Customer Transfer
 Confidential Customer Coin Transferee #12766   [Address on File]     5/29/2023 Bitcoin                             0.00147721 Customer Transfer
 Confidential Customer Coin Transferee #12767   [Address on File]     6/19/2023 Bitcoin                             0.00318903 Customer Transfer
 Confidential Customer Coin Transferee #12768   [Address on File]     5/20/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #12768   [Address on File]     5/23/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #12768   [Address on File]     5/25/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #12769   [Address on File]     5/20/2023 Bitcoin                              0.1106287 Customer Transfer
 Confidential Customer Coin Transferee #12769   [Address on File]     5/18/2023 Bitcoin                             0.01800354 Customer Transfer
 Confidential Customer Coin Transferee #12770   [Address on File]     5/22/2023 Bitcoin                             0.12006011 Customer Transfer
 Confidential Customer Coin Transferee #12771   [Address on File]     5/18/2023 Bitcoin                             0.02560777 Customer Transfer
 Confidential Customer Coin Transferee #12772   [Address on File]     6/12/2023 Bitcoin                             0.00507067 Customer Transfer
 Confidential Customer Coin Transferee #12773   [Address on File]     6/20/2023 Bitcoin                             0.00042751 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12774   [Address on File]     6/20/2023 Bitcoin                             0.00588194 Customer Transfer

 Confidential Customer Coin Transferee #12775   [Address on File]     5/30/2023 Bitcoin                                0.01026996 Customer Transfer
 Confidential Customer Coin Transferee #12776   [Address on File]     5/24/2023 Bitcoin                                0.00371759 Customer Transfer
 Confidential Customer Coin Transferee #12776   [Address on File]     5/16/2023 Bitcoin                                0.00363969 Customer Transfer
 Confidential Customer Coin Transferee #12777   [Address on File]     5/21/2023 Bitcoin                                0.01054234 Customer Transfer
 Confidential Customer Coin Transferee #12778   [Address on File]     6/19/2023 Bitcoin                                0.00005736 Customer Transfer
 Confidential Customer Coin Transferee #12779   [Address on File]     5/16/2023 Bitcoin                                0.07239742 Customer Transfer
 Confidential Customer Coin Transferee #12780   [Address on File]     6/19/2023 Bitcoin                                0.00081246 Customer Transfer
 Confidential Customer Coin Transferee #12781   [Address on File]     5/17/2023 Bitcoin                                 0.0051793 Customer Transfer
 Confidential Customer Coin Transferee #12781   [Address on File]     5/25/2023 Bitcoin                                0.00183437 Customer Transfer
 Confidential Customer Coin Transferee #12782   [Address on File]     6/20/2023 Bitcoin                                0.00590074 Customer Transfer
 Confidential Customer Coin Transferee #12783   [Address on File]     5/26/2023 Bitcoin                                0.05153353 Customer Transfer
 Confidential Customer Coin Transferee #12784   [Address on File]     6/19/2023 Bitcoin                                0.06245722 Customer Transfer
 Confidential Customer Coin Transferee #12785   [Address on File]     6/20/2023 Bitcoin                                0.00005869 Customer Transfer
 Confidential Customer Coin Transferee #12786   [Address on File]     6/20/2023 Bitcoin                                0.00057932 Customer Transfer
 Confidential Customer Coin Transferee #12787   [Address on File]     6/19/2023 Bitcoin                                0.00291132 Customer Transfer
 Confidential Customer Coin Transferee #12788   [Address on File]     6/19/2023 Bitcoin                                0.00031922 Customer Transfer
 Confidential Customer Coin Transferee #12789   [Address on File]     6/20/2023 Bitcoin                                0.01062847 Customer Transfer

 Confidential Customer Coin Transferee #12790   [Address on File]      6/2/2023 Ether                                  0.01391017 Customer Transfer
 Confidential Customer Coin Transferee #12791   [Address on File]     6/20/2023 Bitcoin                                0.04546552 Customer Transfer
 Confidential Customer Coin Transferee #12792   [Address on File]      6/5/2023 Litecoin                                      2.98 Customer Transfer
 Confidential Customer Coin Transferee #12793   [Address on File]     6/20/2023 Bitcoin                                0.00041113 Customer Transfer
 Confidential Customer Coin Transferee #12794   [Address on File]     6/20/2023 Bitcoin                                0.00014205 Customer Transfer
 Confidential Customer Coin Transferee #12795   [Address on File]     5/19/2023 Bitcoin                                0.00548317 Customer Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]     6/10/2023 USDC Avalanche)                        995.462722 Customer Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]     6/10/2023 Tether USD                             795.534465 Customer Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]      6/9/2023 USDC Avalanche)                        496.231884 Customer Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]     6/14/2023 Tether USD                             396.161151 Customer Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]     6/18/2023 Tether USD                             395.773945 Customer Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]     5/28/2023 USDC Avalanche)                        296.461769 Customer Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]     6/18/2023 Tether USD                             296.212121 Customer Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]     5/22/2023 USDC Avalanche)                        246.715985 Customer Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]     5/19/2023 USDC Avalanche)                        246.586706 Customer Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]     6/15/2023 Tether USD                             197.008504 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]     5/29/2023 Ether                                   0.46477 Customer Transfer
 Confidential Customer Coin Transferee #12796   [Address on File]     5/29/2023 Bitcoin                                0.006897 Customer Transfer
 Confidential Customer Coin Transferee #12797   [Address on File]     5/21/2023 Bitcoin                             0.01047338 Customer Transfer

 Confidential Customer Coin Transferee #12798   [Address on File]     5/22/2023 USDC Avalanche)                        212.664934 Customer Transfer
 Confidential Customer Coin Transferee #12799   [Address on File]     6/21/2023 Bitcoin                                0.00357078 Customer Transfer
 Confidential Customer Coin Transferee #12799   [Address on File]      6/2/2023 Bitcoin                                0.00108354 Customer Transfer
 Confidential Customer Coin Transferee #12800   [Address on File]     5/26/2023 Bitcoin                                0.00770306 Customer Transfer
 Confidential Customer Coin Transferee #12800   [Address on File]     5/19/2023 Bitcoin                                0.00733487 Customer Transfer
 Confidential Customer Coin Transferee #12801   [Address on File]     5/21/2023 Bitcoin                                0.10204152 Customer Transfer
 Confidential Customer Coin Transferee #12802   [Address on File]     5/16/2023 Bitcoin                                0.05883913 Customer Transfer
 Confidential Customer Coin Transferee #12803   [Address on File]     6/20/2023 Bitcoin                                 0.0006341 Customer Transfer
 Confidential Customer Coin Transferee #12804   [Address on File]     5/30/2023 Bitcoin                                0.06046124 Customer Transfer
 Confidential Customer Coin Transferee #12805   [Address on File]     6/19/2023 Bitcoin                                0.00292774 Customer Transfer
 Confidential Customer Coin Transferee #12806   [Address on File]     5/18/2023 Bitcoin                                0.10957204 Customer Transfer
 Confidential Customer Coin Transferee #12807   [Address on File]     5/22/2023 Bitcoin                                0.00911929 Customer Transfer
 Confidential Customer Coin Transferee #12808   [Address on File]     5/31/2023 Bitcoin                                0.01085279 Customer Transfer

 Confidential Customer Coin Transferee #12809   [Address on File]     5/26/2023 Bitcoin                                0.00370792 Customer Transfer

 Confidential Customer Coin Transferee #12809   [Address on File]     5/19/2023 Bitcoin                             0.00345624 Customer Transfer
 Confidential Customer Coin Transferee #12810   [Address on File]     6/12/2023 Bitcoin                              0.0036476 Customer Transfer
 Confidential Customer Coin Transferee #12811   [Address on File]     5/19/2023 USDC Avalanche)                    1495.091472 Customer Transfer
 Confidential Customer Coin Transferee #12811   [Address on File]     5/25/2023 USDC Avalanche)                    1494.952019 Customer Transfer
 Confidential Customer Coin Transferee #12811   [Address on File]     5/21/2023 USDC Avalanche)                    1494.493854 Customer Transfer
 Confidential Customer Coin Transferee #12811   [Address on File]      6/9/2023 USDC Avalanche)                    1006.546726 Customer Transfer
 Confidential Customer Coin Transferee #12811   [Address on File]     6/10/2023 Avalanche CChain)                    57.337824 Customer Transfer
 Confidential Customer Coin Transferee #12811   [Address on File]      6/9/2023 Avalanche CChain)                    17.826024 Customer Transfer
 Confidential Customer Coin Transferee #12812   [Address on File]     5/18/2023 Bitcoin                             0.00177567 Customer Transfer
 Confidential Customer Coin Transferee #12813   [Address on File]     5/30/2023 Bitcoin                             0.00289483 Customer Transfer
 Confidential Customer Coin Transferee #12814   [Address on File]     6/17/2023 Ether                                  0.017508 Customer Transfer
 Confidential Customer Coin Transferee #12815   [Address on File]     6/20/2023 Bitcoin                             0.00860579 Customer Transfer
 Confidential Customer Coin Transferee #12816   [Address on File]     6/20/2023 Bitcoin                             0.00070671 Customer Transfer
 Confidential Customer Coin Transferee #12817   [Address on File]     5/23/2023 Bitcoin                              0.0372256 Customer Transfer
 Confidential Customer Coin Transferee #12818   [Address on File]     6/19/2023 Bitcoin                             0.00599897 Customer Transfer
 Confidential Customer Coin Transferee #12819   [Address on File]     5/19/2023 Bitcoin                             0.00719367 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12820   [Address on File]     6/21/2023 Bitcoin                             0.00057889 Customer Transfer
 Confidential Customer Coin Transferee #12821   [Address on File]     6/20/2023 Bitcoin                             0.00017448 Customer Transfer
 Confidential Customer Coin Transferee #12822   [Address on File]     6/12/2023 Bitcoin                             0.01340489 Customer Transfer
 Confidential Customer Coin Transferee #12822   [Address on File]     6/12/2023 Bitcoin                             0.00373525 Customer Transfer
 Confidential Customer Coin Transferee #12822   [Address on File]     6/16/2023 Bitcoin                             0.00198719 Customer Transfer
 Confidential Customer Coin Transferee #12822   [Address on File]      6/7/2023 Bitcoin                             0.00188062 Customer Transfer
 Confidential Customer Coin Transferee #12823   [Address on File]     6/20/2023 Bitcoin                             0.01120075 Customer Transfer
 Confidential Customer Coin Transferee #12824   [Address on File]     6/15/2023 Bitcoin                             0.00053794 Customer Transfer
 Confidential Customer Coin Transferee #12825   [Address on File]     5/22/2023 Bitcoin                             0.00361007 Customer Transfer
 Confidential Customer Coin Transferee #12826   [Address on File]     5/28/2023 Bitcoin                             0.00373669 Customer Transfer
 Confidential Customer Coin Transferee #12826   [Address on File]     5/19/2023 Bitcoin                             0.00276424 Customer Transfer
 Confidential Customer Coin Transferee #12827   [Address on File]     6/19/2023 Bitcoin                             0.00040344 Customer Transfer
 Confidential Customer Coin Transferee #12828   [Address on File]     5/27/2023 Bitcoin                             0.00492194 Customer Transfer
 Confidential Customer Coin Transferee #12828   [Address on File]     5/27/2023 Bitcoin                             0.00458277 Customer Transfer
 Confidential Customer Coin Transferee #12828   [Address on File]     5/27/2023 Bitcoin                             0.00437059 Customer Transfer
 Confidential Customer Coin Transferee #12828   [Address on File]     5/27/2023 Bitcoin                             0.00428665 Customer Transfer
 Confidential Customer Coin Transferee #12828   [Address on File]     5/27/2023 Bitcoin                             0.00385334 Customer Transfer
 Confidential Customer Coin Transferee #12828   [Address on File]     5/27/2023 Bitcoin                             0.00376246 Customer Transfer
 Confidential Customer Coin Transferee #12828   [Address on File]     5/27/2023 Bitcoin                             0.00372876 Customer Transfer
 Confidential Customer Coin Transferee #12828   [Address on File]     5/27/2023 Bitcoin                             0.00371097 Customer Transfer
 Confidential Customer Coin Transferee #12828   [Address on File]     5/27/2023 Bitcoin                             0.00366172 Customer Transfer
 Confidential Customer Coin Transferee #12828   [Address on File]     5/27/2023 Bitcoin                             0.00363877 Customer Transfer
 Confidential Customer Coin Transferee #12828   [Address on File]     5/27/2023 Bitcoin                             0.00346451 Customer Transfer
 Confidential Customer Coin Transferee #12829   [Address on File]     5/19/2023 Bitcoin                             0.01078756 Customer Transfer
 Confidential Customer Coin Transferee #12830   [Address on File]     6/20/2023 Bitcoin                             0.00003537 Customer Transfer
 Confidential Customer Coin Transferee #12831   [Address on File]     5/24/2023 Bitcoin                             0.02623816 Customer Transfer
 Confidential Customer Coin Transferee #12832   [Address on File]     6/20/2023 Bitcoin                             0.00057917 Customer Transfer
 Confidential Customer Coin Transferee #12833   [Address on File]     5/26/2023 Bitcoin                             0.02698021 Customer Transfer
 Confidential Customer Coin Transferee #12834   [Address on File]     5/17/2023 Bitcoin                             0.02109834 Customer Transfer
 Confidential Customer Coin Transferee #12835   [Address on File]     5/21/2023 Bitcoin                              0.0106233 Customer Transfer
 Confidential Customer Coin Transferee #12836   [Address on File]     5/21/2023 Bitcoin                             0.01057541 Customer Transfer
 Confidential Customer Coin Transferee #12836   [Address on File]     5/30/2023 Bitcoin                              0.0100203 Customer Transfer
 Confidential Customer Coin Transferee #12837   [Address on File]     5/16/2023 Bitcoin                             0.01784122 Customer Transfer
 Confidential Customer Coin Transferee #12838   [Address on File]     6/19/2023 Bitcoin                             0.00005826 Customer Transfer
 Confidential Customer Coin Transferee #12839   [Address on File]     5/26/2023 Bitcoin                             0.00003721 Customer Transfer
 Confidential Customer Coin Transferee #12840   [Address on File]     6/15/2023 Bitcoin                             0.00394961 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12840   [Address on File]     5/26/2023 Bitcoin                             0.00224368 Customer Transfer
 Confidential Customer Coin Transferee #12840   [Address on File]     5/19/2023 Bitcoin                             0.00184151 Customer Transfer
 Confidential Customer Coin Transferee #12840   [Address on File]      6/6/2023 Bitcoin                             0.00151835 Customer Transfer
 Confidential Customer Coin Transferee #12840   [Address on File]     5/22/2023 Bitcoin                              0.0011073 Customer Transfer
 Confidential Customer Coin Transferee #12840   [Address on File]     5/30/2023 Bitcoin                             0.00074111 Customer Transfer
 Confidential Customer Coin Transferee #12840   [Address on File]      6/2/2023 Bitcoin                             0.00036639 Customer Transfer
 Confidential Customer Coin Transferee #12841   [Address on File]     6/17/2023 Bitcoin                             0.00077681 Customer Transfer
 Confidential Customer Coin Transferee #12841   [Address on File]     6/12/2023 Bitcoin                             0.00074928 Customer Transfer
 Confidential Customer Coin Transferee #12841   [Address on File]     6/12/2023 Bitcoin                             0.00047663 Customer Transfer
 Confidential Customer Coin Transferee #12842   [Address on File]     5/22/2023 Bitcoin                             0.01011906 Customer Transfer
 Confidential Customer Coin Transferee #12843   [Address on File]     5/19/2023 Bitcoin                             0.00163579 Customer Transfer
 Confidential Customer Coin Transferee #12844   [Address on File]     6/20/2023 Bitcoin                             0.00017559 Customer Transfer
 Confidential Customer Coin Transferee #12845   [Address on File]     5/26/2023 Bitcoin                              0.0003681 Customer Transfer
 Confidential Customer Coin Transferee #12845   [Address on File]     5/19/2023 Bitcoin                             0.00035024 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]      6/2/2023 Ether                                  0.183684 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]      6/3/2023 Ether                                  0.181361 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]     6/18/2023 Ether                                  0.169547 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]     6/18/2023 Ether                                   0.16949 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]      6/6/2023 Ether                                  0.163091 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]     5/20/2023 Ether                                  0.161788 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]     5/20/2023 Ether                                  0.161757 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]      6/2/2023 Ether                                  0.157026 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]      6/2/2023 Ether                                  0.156728 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]      6/3/2023 Ether                                  0.155184 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]     6/16/2023 Ether                                  0.143331 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]     6/16/2023 Ether                                  0.143323 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]     6/10/2023 Ether                                  0.141164 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]     6/10/2023 Ether                                  0.141119 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]     5/20/2023 Ether                                  0.135585 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]      6/6/2023 Ether                                  0.135558 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]     6/15/2023 Ether                                  0.118688 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]     6/16/2023 Ether                                  0.114355 Customer Transfer
 Confidential Customer Coin Transferee #12846   [Address on File]      6/6/2023 Ether                                  0.025816 Customer Transfer
 Confidential Customer Coin Transferee #12847   [Address on File]     6/20/2023 Bitcoin                             0.00057434 Customer Transfer
 Confidential Customer Coin Transferee #12848   [Address on File]     6/20/2023 Bitcoin                             0.00365768 Customer Transfer
 Confidential Customer Coin Transferee #12849   [Address on File]     5/26/2023 Bitcoin                             0.00073584 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12849   [Address on File]     5/19/2023 Bitcoin                             0.00070406 Customer Transfer
 Confidential Customer Coin Transferee #12850   [Address on File]     6/19/2023 Bitcoin                             0.00005615 Customer Transfer
 Confidential Customer Coin Transferee #12851   [Address on File]     6/20/2023 Bitcoin                             0.00256115 Customer Transfer
 Confidential Customer Coin Transferee #12852   [Address on File]     5/27/2023 Bitcoin                             0.07061498 Customer Transfer
 Confidential Customer Coin Transferee #12852   [Address on File]     5/21/2023 Bitcoin                             0.06125508 Customer Transfer
 Confidential Customer Coin Transferee #12853   [Address on File]     5/29/2023 USDC Avalanche)                     996.061969 Customer Transfer
 Confidential Customer Coin Transferee #12853   [Address on File]     5/30/2023 USDC Avalanche)                     247.141714 Customer Transfer
 Confidential Customer Coin Transferee #12854   [Address on File]     5/29/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #12854   [Address on File]     5/20/2023 Bitcoin                             0.09982989 Customer Transfer
 Confidential Customer Coin Transferee #12854   [Address on File]     5/21/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #12855   [Address on File]     5/17/2023 Bitcoin                             0.01209152 Customer Transfer
 Confidential Customer Coin Transferee #12856   [Address on File]     5/17/2023 Bitcoin                             0.01417547 Customer Transfer
 Confidential Customer Coin Transferee #12857   [Address on File]     5/22/2023 Bitcoin                             0.03655546 Customer Transfer
 Confidential Customer Coin Transferee #12858   [Address on File]     6/20/2023 Bitcoin                             0.01984616 Customer Transfer
 Confidential Customer Coin Transferee #12859   [Address on File]     5/26/2023 Bitcoin                              0.0003642 Customer Transfer
 Confidential Customer Coin Transferee #12860   [Address on File]     6/16/2023 Bitcoin                             0.00118029 Customer Transfer
 Confidential Customer Coin Transferee #12861   [Address on File]     5/18/2023 Bitcoin                              0.0119142 Customer Transfer
 Confidential Customer Coin Transferee #12862   [Address on File]     5/21/2023 Bitcoin                             0.00736294 Customer Transfer
 Confidential Customer Coin Transferee #12862   [Address on File]     5/25/2023 Bitcoin                             0.00365568 Customer Transfer
 Confidential Customer Coin Transferee #12863   [Address on File]     5/26/2023 Bitcoin                             0.01063494 Customer Transfer
 Confidential Customer Coin Transferee #12864   [Address on File]     5/29/2023 Bitcoin                             0.07424225 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/28/2023 Bitcoin                             0.01178103 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/22/2023 Bitcoin                                  0.0045 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/19/2023 Bitcoin                                 0.00425 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/20/2023 Bitcoin                                  0.0038 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/18/2023 Bitcoin                                  0.0035 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/27/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/17/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/18/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/22/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/24/2023 Bitcoin                                  0.0025 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/30/2023 Bitcoin                                 0.00209 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/25/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/26/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #12865   [Address on File]     5/31/2023 Bitcoin                                  0.0012 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/27/2023 Bitcoin                             0.00092942 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/27/2023 Bitcoin                             0.00089093 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/27/2023 Bitcoin                             0.00075451 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/27/2023 Bitcoin                             0.00072097 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/28/2023 Bitcoin                             0.00070466 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/20/2023 Bitcoin                             0.00070185 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/26/2023 Bitcoin                             0.00068121 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/31/2023 Bitcoin                             0.00057498 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/26/2023 Bitcoin                             0.00054694 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/31/2023 Bitcoin                             0.00052286 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/20/2023 Bitcoin                                 0.00052 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/20/2023 Bitcoin                             0.00051593 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/31/2023 Bitcoin                             0.00051444 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/20/2023 Bitcoin                             0.00049707 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/29/2023 Bitcoin                             0.00047703 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/31/2023 Bitcoin                              0.0003675 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/20/2023 Bitcoin                             0.00036235 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/24/2023 Bitcoin                             0.00035815 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/22/2023 Bitcoin                             0.00035353 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/22/2023 Bitcoin                             0.00035321 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/23/2023 Bitcoin                             0.00034438 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/28/2023 Bitcoin                             0.00031951 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/18/2023 Bitcoin                             0.00029995 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/24/2023 Bitcoin                             0.00027896 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/18/2023 Bitcoin                             0.00027391 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/19/2023 Bitcoin                             0.00027383 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/22/2023 Bitcoin                             0.00026344 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/23/2023 Bitcoin                              0.0002571 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/24/2023 Bitcoin                             0.00020635 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/20/2023 Bitcoin                             0.00018405 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/31/2023 Bitcoin                              0.0001797 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/28/2023 Bitcoin                             0.00016859 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/20/2023 Bitcoin                             0.00016627 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/20/2023 Bitcoin                             0.00016604 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/23/2023 Bitcoin                             0.00016305 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/30/2023 Bitcoin                             0.00016054 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/24/2023 Bitcoin                                 0.00015 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/22/2023 Bitcoin                                 0.00012 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/23/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #12866   [Address on File]     5/21/2023 Bitcoin                             0.00005891 Customer Transfer
 Confidential Customer Coin Transferee #12867   [Address on File]     6/19/2023 Bitcoin                             0.00204607 Customer Transfer

 Confidential Customer Coin Transferee #12868   [Address on File]     5/29/2023 Bitcoin                                0.00701792 Customer Transfer

 Confidential Customer Coin Transferee #12869   [Address on File]     5/17/2023 Bitcoin                                0.00099239 Customer Transfer
 Confidential Customer Coin Transferee #12870   [Address on File]     5/25/2023 Tether USD                                     40 Customer Transfer
 Confidential Customer Coin Transferee #12871   [Address on File]     6/19/2023 Bitcoin                                0.00115567 Customer Transfer
 Confidential Customer Coin Transferee #12872   [Address on File]     6/14/2023 Bitcoin                                0.02830929 Customer Transfer

 Confidential Customer Coin Transferee #12873   [Address on File]     5/22/2023 Bitcoin                                0.10889743 Customer Transfer
 Confidential Customer Coin Transferee #12874   [Address on File]     5/24/2023 Bitcoin                                0.01434866 Customer Transfer
 Confidential Customer Coin Transferee #12875   [Address on File]     5/17/2023 Bitcoin                                0.05150252 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/21/2023 Bitcoin                                0.00211307 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/27/2023 Bitcoin                                0.00025481 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/27/2023 Bitcoin                                0.00018267 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/24/2023 Bitcoin                                 0.0001794 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/28/2023 Bitcoin                                0.00017925 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/16/2023 Bitcoin                                0.00014651 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/27/2023 Bitcoin                                0.00014508 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/27/2023 Bitcoin                                0.00010978 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/19/2023 Bitcoin                                0.00007243 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/20/2023 Bitcoin                                0.00007239 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/18/2023 Bitcoin                                0.00007229 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/24/2023 Bitcoin                                0.00007163 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/28/2023 Bitcoin                                0.00007157 Customer Transfer
 Confidential Customer Coin Transferee #12876   [Address on File]     5/28/2023 Bitcoin                                0.00003595 Customer Transfer
 Confidential Customer Coin Transferee #12877   [Address on File]     6/19/2023 Bitcoin                                0.00005802 Customer Transfer
 Confidential Customer Coin Transferee #12878   [Address on File]     5/26/2023 Bitcoin                                0.00069667 Customer Transfer
 Confidential Customer Coin Transferee #12879   [Address on File]     5/27/2023 Bitcoin                                0.01017571 Customer Transfer
 Confidential Customer Coin Transferee #12880   [Address on File]     6/19/2023 Bitcoin                                0.00006043 Customer Transfer
 Confidential Customer Coin Transferee #12881   [Address on File]     6/20/2023 Bitcoin                                0.01131145 Customer Transfer
 Confidential Customer Coin Transferee #12882   [Address on File]     5/24/2023 USDC Avalanche)                        520.681727 Customer Transfer
 Confidential Customer Coin Transferee #12882   [Address on File]      6/2/2023 USDC Avalanche)                        518.190904 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12882   [Address on File]     6/10/2023 USDC Avalanche)                          47.777 Customer Transfer
 Confidential Customer Coin Transferee #12883   [Address on File]      6/8/2023 Bitcoin                             0.00036161 Customer Transfer
 Confidential Customer Coin Transferee #12884   [Address on File]     5/25/2023 Bitcoin                              0.0027332 Customer Transfer
 Confidential Customer Coin Transferee #12884   [Address on File]     5/18/2023 Bitcoin                             0.00268118 Customer Transfer
 Confidential Customer Coin Transferee #12885   [Address on File]     5/18/2023 Bitcoin                             0.08332488 Customer Transfer
 Confidential Customer Coin Transferee #12886   [Address on File]     6/20/2023 Bitcoin                             0.00005832 Customer Transfer
 Confidential Customer Coin Transferee #12887   [Address on File]     5/23/2023 Bitcoin                             0.01135664 Customer Transfer
 Confidential Customer Coin Transferee #12888   [Address on File]     5/25/2023 Bitcoin                             0.00091064 Customer Transfer
 Confidential Customer Coin Transferee #12888   [Address on File]     5/17/2023 Bitcoin                             0.00085799 Customer Transfer


 Confidential Customer Coin Transferee #12889   [Address on File]     5/27/2023 Tether USD                               243.2811 Customer Transfer


 Confidential Customer Coin Transferee #12889   [Address on File]     5/19/2023 Tether USD                                 99.3046 Customer Transfer
 Confidential Customer Coin Transferee #12890   [Address on File]     5/23/2023 Bitcoin                                0.00368931 Customer Transfer
 Confidential Customer Coin Transferee #12890   [Address on File]     5/19/2023 Bitcoin                                0.00368434 Customer Transfer
 Confidential Customer Coin Transferee #12891   [Address on File]     6/19/2023 Bitcoin                                0.00005826 Customer Transfer
 Confidential Customer Coin Transferee #12892   [Address on File]     6/20/2023 Bitcoin                                0.00601815 Customer Transfer
 Confidential Customer Coin Transferee #12893   [Address on File]     5/16/2023 Bitcoin                                0.07379206 Customer Transfer

 Confidential Customer Coin Transferee #12894   [Address on File]     6/21/2023 Bitcoin                                0.00743443 Customer Transfer

 Confidential Customer Coin Transferee #12894   [Address on File]     6/20/2023 Bitcoin                                0.00007437 Customer Transfer
 Confidential Customer Coin Transferee #12895   [Address on File]     6/19/2023 Bitcoin                                0.00152966 Customer Transfer
 Confidential Customer Coin Transferee #12895   [Address on File]     5/23/2023 Bitcoin                                0.00080943 Customer Transfer
 Confidential Customer Coin Transferee #12896   [Address on File]     6/19/2023 Bitcoin                                0.00057854 Customer Transfer
 Confidential Customer Coin Transferee #12897   [Address on File]     5/24/2023 Bitcoin                                 0.0104777 Customer Transfer
 Confidential Customer Coin Transferee #12898   [Address on File]      6/4/2023 Bitcoin                                0.00154852 Customer Transfer
 Confidential Customer Coin Transferee #12898   [Address on File]     5/21/2023 Bitcoin                                0.00144306 Customer Transfer
 Confidential Customer Coin Transferee #12899   [Address on File]     5/18/2023 Bitcoin                                0.00373128 Customer Transfer
 Confidential Customer Coin Transferee #12899   [Address on File]     5/27/2023 Bitcoin                                   0.003722 Customer Transfer
 Confidential Customer Coin Transferee #12899   [Address on File]     5/31/2023 Bitcoin                                0.00368777 Customer Transfer
 Confidential Customer Coin Transferee #12899   [Address on File]     5/17/2023 Bitcoin                                0.00366957 Customer Transfer
 Confidential Customer Coin Transferee #12899   [Address on File]     5/18/2023 Bitcoin                                0.00186109 Customer Transfer
 Confidential Customer Coin Transferee #12900   [Address on File]     5/16/2023 Bitcoin                                0.02604712 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12900   [Address on File]     5/16/2023 Bitcoin                             0.01911762 Customer Transfer
 Confidential Customer Coin Transferee #12901   [Address on File]     6/20/2023 Bitcoin                             0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #12902   [Address on File]     6/20/2023 USD Coin                            860.043842 Customer Transfer
 Confidential Customer Coin Transferee #12903   [Address on File]     6/12/2023 Bitcoin                             0.00568096 Customer Transfer
 Confidential Customer Coin Transferee #12903   [Address on File]     5/22/2023 Bitcoin                             0.00553618 Customer Transfer
 Confidential Customer Coin Transferee #12903   [Address on File]     5/26/2023 Bitcoin                             0.00314075 Customer Transfer
 Confidential Customer Coin Transferee #12903   [Address on File]     6/17/2023 Bitcoin                             0.00304043 Customer Transfer
 Confidential Customer Coin Transferee #12904   [Address on File]     6/20/2023 Bitcoin                             0.00128921 Customer Transfer
 Confidential Customer Coin Transferee #12905   [Address on File]     5/26/2023 Bitcoin                             0.00246925 Customer Transfer
 Confidential Customer Coin Transferee #12906   [Address on File]     5/20/2023 Bitcoin                              0.0022224 Customer Transfer
 Confidential Customer Coin Transferee #12906   [Address on File]     5/20/2023 Bitcoin                              0.0022224 Customer Transfer
 Confidential Customer Coin Transferee #12906   [Address on File]     5/20/2023 Bitcoin                              0.0022224 Customer Transfer
 Confidential Customer Coin Transferee #12906   [Address on File]     5/20/2023 Bitcoin                              0.0022224 Customer Transfer
 Confidential Customer Coin Transferee #12906   [Address on File]     5/20/2023 Bitcoin                              0.0022224 Customer Transfer
 Confidential Customer Coin Transferee #12907   [Address on File]     5/24/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #12908   [Address on File]     6/20/2023 Bitcoin                             0.00454886 Customer Transfer
 Confidential Customer Coin Transferee #12909   [Address on File]     5/23/2023 Bitcoin                             0.01227516 Customer Transfer
 Confidential Customer Coin Transferee #12910   [Address on File]     5/21/2023 Bitcoin                             0.01384845 Customer Transfer
 Confidential Customer Coin Transferee #12911   [Address on File]     5/31/2023 Tether USD                                 5.93 Customer Transfer
 Confidential Customer Coin Transferee #12912   [Address on File]     5/24/2023 Bitcoin                             0.00448276 Customer Transfer

 Confidential Customer Coin Transferee #12913   [Address on File]     5/25/2023 Bitcoin                                0.01866473 Customer Transfer

 Confidential Customer Coin Transferee #12914   [Address on File]     5/26/2023 Bitcoin                                      0.36 Customer Transfer

 Confidential Customer Coin Transferee #12914   [Address on File]     5/23/2023 Bitcoin                                0.00403991 Customer Transfer

 Confidential Customer Coin Transferee #12914   [Address on File]     5/26/2023 Bitcoin                                0.00138941 Customer Transfer

 Confidential Customer Coin Transferee #12914   [Address on File]     5/26/2023 Bitcoin                                    0.0013 Customer Transfer

 Confidential Customer Coin Transferee #12914   [Address on File]     5/25/2023 Bitcoin                                      0.001 Customer Transfer
 Confidential Customer Coin Transferee #12915   [Address on File]     5/21/2023 Bitcoin                                0.02613817 Customer Transfer
 Confidential Customer Coin Transferee #12916   [Address on File]     6/20/2023 Bitcoin                                0.00039446 Customer Transfer
 Confidential Customer Coin Transferee #12917   [Address on File]     5/30/2023 USD Coin                                 442.1211 Customer Transfer
 Confidential Customer Coin Transferee #12918   [Address on File]     5/20/2023 Bitcoin                                0.00644037 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12918   [Address on File]     5/21/2023 Bitcoin                             0.00301856 Customer Transfer
 Confidential Customer Coin Transferee #12918   [Address on File]     5/22/2023 Bitcoin                             0.00186396 Customer Transfer
 Confidential Customer Coin Transferee #12918   [Address on File]     5/24/2023 Bitcoin                              0.0018607 Customer Transfer
 Confidential Customer Coin Transferee #12918   [Address on File]     5/29/2023 Bitcoin                                 0.00059 Customer Transfer
 Confidential Customer Coin Transferee #12918   [Address on File]     5/29/2023 Bitcoin                                  0.0003 Customer Transfer
 Confidential Customer Coin Transferee #12919   [Address on File]     5/20/2023 Bitcoin                             0.18483967 Customer Transfer
 Confidential Customer Coin Transferee #12919   [Address on File]     5/30/2023 Bitcoin                              0.0721144 Customer Transfer
 Confidential Customer Coin Transferee #12919   [Address on File]     5/21/2023 Bitcoin                              0.0365994 Customer Transfer
 Confidential Customer Coin Transferee #12919   [Address on File]     5/29/2023 Bitcoin                             0.03658648 Customer Transfer
 Confidential Customer Coin Transferee #12920   [Address on File]     5/22/2023 Bitcoin                                    0.023 Customer Transfer
 Confidential Customer Coin Transferee #12921   [Address on File]     6/20/2023 Bitcoin                             0.00005997 Customer Transfer
 Confidential Customer Coin Transferee #12922   [Address on File]     5/17/2023 Bitcoin                             0.00051553 Customer Transfer
 Confidential Customer Coin Transferee #12923   [Address on File]     6/19/2023 Bitcoin                             0.00059129 Customer Transfer
 Confidential Customer Coin Transferee #12924   [Address on File]     5/16/2023 Bitcoin                                  0.0218 Customer Transfer

 Confidential Customer Coin Transferee #12925   [Address on File]      6/5/2023 Bitcoin                                 0.1252724 Customer Transfer
 Confidential Customer Coin Transferee #12926   [Address on File]     5/21/2023 Bitcoin                                0.01048674 Customer Transfer
 Confidential Customer Coin Transferee #12927   [Address on File]     5/26/2023 Bitcoin                                0.00257408 Customer Transfer
 Confidential Customer Coin Transferee #12927   [Address on File]     5/19/2023 Bitcoin                                0.00245355 Customer Transfer
 Confidential Customer Coin Transferee #12928   [Address on File]     6/20/2023 Bitcoin                                 0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #12929   [Address on File]     5/23/2023 Bitcoin                                0.07228347 Customer Transfer
                      #N/A                      [Address on File]     5/19/2023 Bitcoin                                0.00104339 Customer Transfer

 Confidential Customer Coin Transferee #12931   [Address on File]     5/26/2023 Bitcoin                                0.01090362 Customer Transfer

 Confidential Customer Coin Transferee #12931   [Address on File]     5/19/2023 Bitcoin                                0.01077239 Customer Transfer
 Confidential Customer Coin Transferee #12932   [Address on File]     5/26/2023 Bitcoin                                0.00092078 Customer Transfer
 Confidential Customer Coin Transferee #12932   [Address on File]     5/19/2023 Bitcoin                                0.00090556 Customer Transfer

 Confidential Customer Coin Transferee #12933   [Address on File]     5/26/2023 Litecoin                           15.35130793 Customer Transfer

 Confidential Customer Coin Transferee #12933   [Address on File]     5/26/2023 Ether                                   0.7375465 Customer Transfer

 Confidential Customer Coin Transferee #12933   [Address on File]     5/26/2023 Bitcoin                                0.06739976 Customer Transfer

 Confidential Customer Coin Transferee #12934   [Address on File]     6/14/2023 Bitcoin                                0.02999674 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12935   [Address on File]     5/17/2023 Bitcoin                             0.02424563 Customer Transfer
 Confidential Customer Coin Transferee #12936   [Address on File]     5/26/2023 Bitcoin                             0.07527292 Customer Transfer
 Confidential Customer Coin Transferee #12936   [Address on File]     5/22/2023 Bitcoin                             0.07391284 Customer Transfer
 Confidential Customer Coin Transferee #12936   [Address on File]     5/31/2023 Bitcoin                             0.07346562 Customer Transfer
 Confidential Customer Coin Transferee #12936   [Address on File]     5/28/2023 Bitcoin                             0.07312886 Customer Transfer
 Confidential Customer Coin Transferee #12936   [Address on File]     5/28/2023 Bitcoin                             0.03656428 Customer Transfer
 Confidential Customer Coin Transferee #12937   [Address on File]     6/20/2023 Bitcoin                             0.00877343 Customer Transfer
 Confidential Customer Coin Transferee #12938   [Address on File]     5/20/2023 Bitcoin                             0.01848445 Customer Transfer
 Confidential Customer Coin Transferee #12938   [Address on File]     5/25/2023 Bitcoin                              0.0184674 Customer Transfer
 Confidential Customer Coin Transferee #12939   [Address on File]     5/24/2023 Bitcoin                                   0.005 Customer Transfer
 Confidential Customer Coin Transferee #12940   [Address on File]     6/20/2023 Bitcoin                             0.00017504 Customer Transfer

 Confidential Customer Coin Transferee #12941   [Address on File]     6/12/2023 Bitcoin                                   0.02875 Customer Transfer

 Confidential Customer Coin Transferee #12941   [Address on File]     6/12/2023 Bitcoin                                0.00044937 Customer Transfer
 Confidential Customer Coin Transferee #12942   [Address on File]     5/25/2023 Bitcoin                                0.02157262 Customer Transfer
 Confidential Customer Coin Transferee #12943   [Address on File]     5/19/2023 Bitcoin                                0.02380373 Customer Transfer
 Confidential Customer Coin Transferee #12944   [Address on File]     5/25/2023 Bitcoin                                0.00401098 Customer Transfer
 Confidential Customer Coin Transferee #12945   [Address on File]     5/16/2023 Bitcoin                                0.60179411 Customer Transfer
 Confidential Customer Coin Transferee #12945   [Address on File]     5/16/2023 Bitcoin                                     0.0001 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/22/2023 Bitcoin                                0.01296546 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/29/2023 Bitcoin                                0.00727827 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]      6/6/2023 Bitcoin                                0.00461402 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]      6/1/2023 Bitcoin                                0.00440383 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/25/2023 Bitcoin                                0.00366279 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/24/2023 Bitcoin                                 0.0035234 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]      6/2/2023 Bitcoin                                0.00313247 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/30/2023 Bitcoin                                0.00206002 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/17/2023 Bitcoin                                0.00175385 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     6/15/2023 Bitcoin                                0.00172853 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     6/16/2023 Bitcoin                                0.00164924 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/22/2023 Bitcoin                                0.00148474 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/25/2023 Bitcoin                                0.00143842 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/18/2023 Bitcoin                                0.00116833 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/29/2023 Bitcoin                                0.00116152 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/17/2023 Bitcoin                                0.00079932 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/26/2023 Bitcoin                             0.00068461 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]      6/1/2023 Bitcoin                             0.00067854 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/30/2023 Bitcoin                             0.00067677 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     6/15/2023 Bitcoin                             0.00066774 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/24/2023 Bitcoin                             0.00065226 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/26/2023 Bitcoin                             0.00058903 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]      6/5/2023 Bitcoin                             0.00051332 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     6/13/2023 Bitcoin                             0.00046221 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     6/12/2023 Bitcoin                             0.00045414 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     6/14/2023 Bitcoin                             0.00045159 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/19/2023 Bitcoin                              0.0004343 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/18/2023 Bitcoin                             0.00038477 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/24/2023 Bitcoin                              0.0003729 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     6/17/2023 Bitcoin                             0.00037069 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     6/13/2023 Bitcoin                             0.00034124 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]      6/2/2023 Bitcoin                             0.00032351 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/18/2023 Bitcoin                             0.00028114 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]      6/9/2023 Bitcoin                              0.0002811 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]      6/7/2023 Bitcoin                             0.00017972 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     6/12/2023 Bitcoin                             0.00013627 Customer Transfer
 Confidential Customer Coin Transferee #12946   [Address on File]     5/19/2023 Bitcoin                              0.0000594 Customer Transfer
 Confidential Customer Coin Transferee #12947   [Address on File]     6/20/2023 Bitcoin                             0.00009344 Customer Transfer
 Confidential Customer Coin Transferee #12948   [Address on File]     6/20/2023 Bitcoin                             0.00584753 Customer Transfer
 Confidential Customer Coin Transferee #12949   [Address on File]     5/26/2023 Bitcoin                             0.01083768 Customer Transfer


 Confidential Customer Coin Transferee #12950   [Address on File]     5/30/2023 Tether USD                             491.6601 Customer Transfer


 Confidential Customer Coin Transferee #12950   [Address on File]      6/5/2023 Tether USD                               491.55 Customer Transfer


 Confidential Customer Coin Transferee #12950   [Address on File]     5/23/2023 Tether USD                             392.2378 Customer Transfer

 Confidential Customer Coin Transferee #12951   [Address on File]     6/18/2023 Tether USD                             509.2129 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count          or Transfer

 Confidential Customer Coin Transferee #12951   [Address on File]     5/23/2023 Tether USD                               223.4385 Customer Transfer

 Confidential Customer Coin Transferee #12951   [Address on File]      6/2/2023 Tether USD                                218.6372 Customer Transfer
 Confidential Customer Coin Transferee #12952   [Address on File]     6/20/2023 Bitcoin                                0.00034328 Customer Transfer
 Confidential Customer Coin Transferee #12953   [Address on File]     6/20/2023 Bitcoin                                0.00959595 Customer Transfer
 Confidential Customer Coin Transferee #12954   [Address on File]     6/19/2023 Bitcoin                                 0.2033322 Customer Transfer
 Confidential Customer Coin Transferee #12955   [Address on File]     6/20/2023 Bitcoin                                0.00626877 Customer Transfer
 Confidential Customer Coin Transferee #12956   [Address on File]     5/24/2023 Bitcoin                                0.02512748 Customer Transfer
 Confidential Customer Coin Transferee #12957   [Address on File]     6/20/2023 Bitcoin                                0.00118966 Customer Transfer
 Confidential Customer Coin Transferee #12958   [Address on File]     6/20/2023 Bitcoin                                0.00013012 Customer Transfer
 Confidential Customer Coin Transferee #12959   [Address on File]     5/26/2023 Bitcoin                                0.00741907 Customer Transfer
 Confidential Customer Coin Transferee #12960   [Address on File]     5/25/2023 Bitcoin                                0.02553261 Customer Transfer
 Confidential Customer Coin Transferee #12961   [Address on File]     5/16/2023 Bitcoin                                0.00036814 Customer Transfer
 Confidential Customer Coin Transferee #12962   [Address on File]     5/27/2023 Bitcoin                                     0.0092 Customer Transfer
 Confidential Customer Coin Transferee #12962   [Address on File]     5/28/2023 Bitcoin                                    0.00037 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/20/2023 Bitcoin                                    0.00039 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/30/2023 Bitcoin                                    0.00039 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/26/2023 Bitcoin                                0.00038983 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/30/2023 Bitcoin                                 0.0003799 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/20/2023 Bitcoin                                0.00034594 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/29/2023 Bitcoin                                0.00034064 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/25/2023 Bitcoin                                 0.0003265 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/29/2023 Bitcoin                                0.00031099 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/19/2023 Bitcoin                                0.00027608 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/19/2023 Bitcoin                                0.00025899 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/30/2023 Bitcoin                                0.00025469 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/25/2023 Bitcoin                                0.00023467 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/18/2023 Bitcoin                                0.00021065 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/25/2023 Bitcoin                                0.00020629 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/23/2023 Bitcoin                                 0.0001969 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/20/2023 Bitcoin                                    0.00018 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/29/2023 Bitcoin                                0.00017772 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/20/2023 Bitcoin                                0.00017662 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/24/2023 Bitcoin                                0.00016712 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/17/2023 Bitcoin                                0.00016618 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/17/2023 Bitcoin                                0.000165 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/17/2023 Bitcoin                                0.000159 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/24/2023 Bitcoin                                 0.00015 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/20/2023 Bitcoin                             0.00012568 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/30/2023 Bitcoin                             0.00009751 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/27/2023 Bitcoin                             0.00009356 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/30/2023 Bitcoin                             0.00009114 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/30/2023 Bitcoin                             0.00006432 Customer Transfer
 Confidential Customer Coin Transferee #12963   [Address on File]     5/23/2023 Bitcoin                             0.00003669 Customer Transfer
 Confidential Customer Coin Transferee #12964   [Address on File]     6/19/2023 Bitcoin                              0.0029887 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/24/2023 Bitcoin                             0.00189967 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/24/2023 Bitcoin                             0.00151782 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/19/2023 Bitcoin                             0.00091978 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/28/2023 Bitcoin                             0.00091676 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/28/2023 Bitcoin                             0.00086301 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/24/2023 Bitcoin                              0.0008004 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/24/2023 Bitcoin                             0.00075531 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/17/2023 Bitcoin                             0.00074554 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/21/2023 Bitcoin                             0.00074019 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/28/2023 Bitcoin                             0.00071508 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/16/2023 Bitcoin                             0.00069635 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/28/2023 Bitcoin                             0.00061988 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/20/2023 Bitcoin                             0.00057261 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/19/2023 Bitcoin                             0.00055492 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/17/2023 Bitcoin                             0.00055025 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/20/2023 Bitcoin                             0.00044358 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/31/2023 Bitcoin                             0.00042954 Customer Transfer
 Confidential Customer Coin Transferee #12965   [Address on File]     5/31/2023 Bitcoin                              0.0004133 Customer Transfer
 Confidential Customer Coin Transferee #12966   [Address on File]     6/17/2023 Bitcoin                              0.0112532 Customer Transfer
 Confidential Customer Coin Transferee #12966   [Address on File]     5/19/2023 Bitcoin                             0.01050677 Customer Transfer
 Confidential Customer Coin Transferee #12967   [Address on File]     5/24/2023 Bitcoin                             0.00317841 Customer Transfer
 Confidential Customer Coin Transferee #12968   [Address on File]     5/24/2023 Bitcoin                             0.01887922 Customer Transfer
 Confidential Customer Coin Transferee #12969   [Address on File]     5/27/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #12970   [Address on File]     5/28/2023 Bitcoin                              0.0101876 Customer Transfer
 Confidential Customer Coin Transferee #12971   [Address on File]     5/19/2023 Bitcoin                                   0.0371 Customer Transfer
 Confidential Customer Coin Transferee #12971   [Address on File]     5/18/2023 Bitcoin                                   0.0365 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #12971   [Address on File]     5/25/2023 Bitcoin                             0.00953927 Customer Transfer
 Confidential Customer Coin Transferee #12971   [Address on File]     5/28/2023 Bitcoin                                 0.00075 Customer Transfer
 Confidential Customer Coin Transferee #12972   [Address on File]     5/29/2023 Bitcoin                             0.00072415 Customer Transfer
 Confidential Customer Coin Transferee #12972   [Address on File]     6/13/2023 Bitcoin                             0.00071087 Customer Transfer
 Confidential Customer Coin Transferee #12972   [Address on File]     5/16/2023 Bitcoin                             0.00069398 Customer Transfer
 Confidential Customer Coin Transferee #12973   [Address on File]      6/7/2023 Bitcoin                             0.15874701 Customer Transfer
 Confidential Customer Coin Transferee #12974   [Address on File]     5/28/2023 Bitcoin                             0.01033342 Customer Transfer
 Confidential Customer Coin Transferee #12975   [Address on File]     6/19/2023 Bitcoin                             0.00655792 Customer Transfer
 Confidential Customer Coin Transferee #12976   [Address on File]     6/19/2023 Bitcoin                             0.01246079 Customer Transfer
 Confidential Customer Coin Transferee #12977   [Address on File]     6/21/2023 CFV                                       90.72 Customer Transfer
 Confidential Customer Coin Transferee #12977   [Address on File]     6/21/2023 Recover Value USD                       47.6348 Customer Transfer
 Confidential Customer Coin Transferee #12977   [Address on File]     6/21/2023 USD Coin                            16.0848378 Customer Transfer
 Confidential Customer Coin Transferee #12978   [Address on File]     6/19/2023 Bitcoin                             0.00461241 Customer Transfer
 Confidential Customer Coin Transferee #12979   [Address on File]     5/26/2023 Bitcoin                             0.01084738 Customer Transfer
 Confidential Customer Coin Transferee #12980   [Address on File]     6/16/2023 Bitcoin                             0.00229456 Customer Transfer
 Confidential Customer Coin Transferee #12980   [Address on File]     5/21/2023 Bitcoin                             0.00219303 Customer Transfer
 Confidential Customer Coin Transferee #12980   [Address on File]     5/31/2023 Bitcoin                             0.00157344 Customer Transfer
 Confidential Customer Coin Transferee #12980   [Address on File]     6/20/2023 Bitcoin                             0.00157288 Customer Transfer
 Confidential Customer Coin Transferee #12981   [Address on File]      6/9/2023 Bitcoin                             0.00779968 Customer Transfer
 Confidential Customer Coin Transferee #12982   [Address on File]     5/21/2023 Bitcoin                             0.05276646 Customer Transfer
 Confidential Customer Coin Transferee #12983   [Address on File]     5/29/2023 Bitcoin                             0.02258433 Customer Transfer
 Confidential Customer Coin Transferee #12984   [Address on File]     6/20/2023 Bitcoin                             0.01775323 Customer Transfer
 Confidential Customer Coin Transferee #12985   [Address on File]     6/12/2023 Bitcoin                             0.00124611 Customer Transfer
 Confidential Customer Coin Transferee #12986   [Address on File]     6/20/2023 Bitcoin                             0.00112932 Customer Transfer
 Confidential Customer Coin Transferee #12987   [Address on File]     6/20/2023 Bitcoin                             0.00005631 Customer Transfer
 Confidential Customer Coin Transferee #12988   [Address on File]     6/19/2023 Bitcoin                             0.00025868 Customer Transfer
 Confidential Customer Coin Transferee #12989   [Address on File]     6/20/2023 Bitcoin                             0.00089399 Customer Transfer
 Confidential Customer Coin Transferee #12990   [Address on File]     6/19/2023 Bitcoin                                0.007777 Customer Transfer
 Confidential Customer Coin Transferee #12990   [Address on File]      6/5/2023 Bitcoin                             0.00374258 Customer Transfer
 Confidential Customer Coin Transferee #12991   [Address on File]     5/17/2023 USDC Avalanche)                     521.853443 Customer Transfer
 Confidential Customer Coin Transferee #12991   [Address on File]     5/19/2023 USDC Avalanche)                     511.315473 Customer Transfer
 Confidential Customer Coin Transferee #12991   [Address on File]     5/17/2023 USDC Avalanche)                     506.867939 Customer Transfer
 Confidential Customer Coin Transferee #12992   [Address on File]     6/20/2023 Bitcoin                             0.00116808 Customer Transfer
 Confidential Customer Coin Transferee #12993   [Address on File]     5/22/2023 Bitcoin                             1.00784365 Customer Transfer
 Confidential Customer Coin Transferee #12993   [Address on File]     5/24/2023 Bitcoin                             0.07293996 Customer Transfer
 Confidential Customer Coin Transferee #12994   [Address on File]     6/12/2023 Bitcoin                              0.0070344 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #12994   [Address on File]     6/19/2023 Bitcoin                             0.00081073 Customer Transfer
 Confidential Customer Coin Transferee #12995   [Address on File]     6/19/2023 Bitcoin                             0.00005816 Customer Transfer

 Confidential Customer Coin Transferee #12996   [Address on File]     5/20/2023 Bitcoin                                0.06923537 Customer Transfer
 Confidential Customer Coin Transferee #12997   [Address on File]     6/13/2023 Audius                                    7499900 Customer Transfer
 Confidential Customer Coin Transferee #12997   [Address on File]      6/8/2023 Audius                                        100 Customer Transfer
 Confidential Customer Coin Transferee #12997   [Address on File]     6/13/2023 Audius                                          1 Customer Transfer
 Confidential Customer Coin Transferee #12998   [Address on File]     6/19/2023 Bitcoin                                0.00165797 Customer Transfer
 Confidential Customer Coin Transferee #12999   [Address on File]     5/20/2023 Bitcoin                                0.00978738 Customer Transfer
 Confidential Customer Coin Transferee #13000   [Address on File]     5/31/2023 Bitcoin                                0.00367311 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/25/2023 Bitcoin                                0.00188391 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/26/2023 Bitcoin                                0.00187977 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/19/2023 Bitcoin                                0.00185819 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/16/2023 Bitcoin                                0.00182507 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/26/2023 Bitcoin                                0.00150506 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/16/2023 Bitcoin                                0.00146904 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/16/2023 Bitcoin                                0.00146195 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/28/2023 Bitcoin                                0.00126251 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/24/2023 Bitcoin                                0.00113559 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/18/2023 Bitcoin                                0.00112241 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/19/2023 Bitcoin                                0.00111154 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/20/2023 Bitcoin                                0.00110746 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/29/2023 Bitcoin                                0.00107785 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/27/2023 Bitcoin                                0.00096766 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/20/2023 Bitcoin                                0.00096292 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/17/2023 Bitcoin                                0.00093409 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/19/2023 Bitcoin                                0.00092563 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/21/2023 Bitcoin                                0.00092476 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/23/2023 Bitcoin                                0.00092352 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/16/2023 Bitcoin                                0.00091957 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/29/2023 Bitcoin                                0.00089939 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/30/2023 Bitcoin                                0.00089694 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/31/2023 Bitcoin                                0.00089694 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/29/2023 Bitcoin                                0.00084901 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/25/2023 Bitcoin                                0.00075709 Customer Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/20/2023 Bitcoin                                0.00073533 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13001   [Address on File]     5/31/2023 Bitcoin                             0.00069826 Customer Transfer
 Confidential Customer Coin Transferee #13002   [Address on File]     5/17/2023 Bitcoin                             0.00014535 Customer Transfer
 Confidential Customer Coin Transferee #13002   [Address on File]     5/18/2023 Bitcoin                             0.00008042 Customer Transfer
 Confidential Customer Coin Transferee #13003   [Address on File]     6/19/2023 Bitcoin                             0.02649478 Customer Transfer
 Confidential Customer Coin Transferee #13004   [Address on File]     5/19/2023 Bitcoin                             0.02988373 Customer Transfer
 Confidential Customer Coin Transferee #13005   [Address on File]     5/27/2023 Bitcoin                             0.00471546 Customer Transfer
 Confidential Customer Coin Transferee #13006   [Address on File]     5/21/2023 Bitcoin                             0.01825413 Customer Transfer
 Confidential Customer Coin Transferee #13007   [Address on File]     5/29/2023 Bitcoin                             0.00037711 Customer Transfer
 Confidential Customer Coin Transferee #13008   [Address on File]     5/30/2023 Bitcoin                              0.0715629 Customer Transfer
 Confidential Customer Coin Transferee #13009   [Address on File]     5/24/2023 Bitcoin                             0.02261329 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/25/2023 Bitcoin                              0.0041664 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/20/2023 Bitcoin                              0.0040543 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/31/2023 Bitcoin                             0.00403588 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/23/2023 Bitcoin                             0.00402181 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/28/2023 Bitcoin                             0.00401609 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/25/2023 Bitcoin                             0.00397853 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/25/2023 Bitcoin                             0.00396273 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/18/2023 Bitcoin                             0.00390642 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/27/2023 Bitcoin                             0.00390547 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/22/2023 Bitcoin                             0.00389867 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/20/2023 Bitcoin                             0.00389021 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/21/2023 Bitcoin                             0.00388318 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/17/2023 Bitcoin                             0.00387768 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/31/2023 Bitcoin                             0.00387704 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/20/2023 Bitcoin                             0.00387693 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/24/2023 Bitcoin                             0.00383744 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/16/2023 Bitcoin                             0.00383229 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/18/2023 Bitcoin                              0.0038152 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/29/2023 Bitcoin                             0.00377313 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/29/2023 Bitcoin                             0.00368937 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/25/2023 Bitcoin                             0.00319568 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/29/2023 Bitcoin                             0.00270025 Customer Transfer
 Confidential Customer Coin Transferee #13010   [Address on File]     5/26/2023 Bitcoin                             0.00188219 Customer Transfer
 Confidential Customer Coin Transferee #13011   [Address on File]     5/22/2023 Bitcoin                             0.05606644 Customer Transfer
 Confidential Customer Coin Transferee #13012   [Address on File]     6/20/2023 Bitcoin                             0.02019439 Customer Transfer
 Confidential Customer Coin Transferee #13013   [Address on File]     5/19/2023 Bitcoin                             0.00033801 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count          or Transfer

 Confidential Customer Coin Transferee #13014   [Address on File]     6/15/2023 Tether USD                                    796 Customer Transfer

 Confidential Customer Coin Transferee #13014   [Address on File]     6/21/2023 Tether USD                                  302.78 Customer Transfer
 Confidential Customer Coin Transferee #13015   [Address on File]     5/23/2023 Bitcoin                                1.79463467 Customer Transfer
 Confidential Customer Coin Transferee #13016   [Address on File]     6/20/2023 Bitcoin                                 0.0003531 Customer Transfer
 Confidential Customer Coin Transferee #13017   [Address on File]     5/26/2023 Bitcoin                                0.00892375 Customer Transfer
 Confidential Customer Coin Transferee #13017   [Address on File]     5/16/2023 Bitcoin                                0.00884473 Customer Transfer
 Confidential Customer Coin Transferee #13018   [Address on File]     5/25/2023 Bitcoin                                0.10001107 Customer Transfer
 Confidential Customer Coin Transferee #13019   [Address on File]     5/27/2023 Bitcoin                                0.00244356 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/25/2023 Bitcoin                                   0.000889 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/25/2023 Bitcoin                                    0.00087 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/20/2023 Bitcoin                                   0.000555 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/20/2023 Bitcoin                                   0.000554 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/17/2023 Bitcoin                                   0.000472 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/16/2023 Bitcoin                                   0.000446 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/16/2023 Bitcoin                                   0.000442 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/20/2023 Bitcoin                                   0.000441 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/21/2023 Bitcoin                                   0.000366 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/16/2023 Bitcoin                                0.00035989 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/18/2023 Bitcoin                                   0.000255 Customer Transfer
 Confidential Customer Coin Transferee #13020   [Address on File]     5/18/2023 Bitcoin                                   0.000184 Customer Transfer
 Confidential Customer Coin Transferee #13021   [Address on File]     5/16/2023 Bitcoin                                0.03724283 Customer Transfer
 Confidential Customer Coin Transferee #13022   [Address on File]     5/22/2023 Bitcoin                                0.00927458 Customer Transfer
 Confidential Customer Coin Transferee #13022   [Address on File]     5/30/2023 Bitcoin                                0.00895287 Customer Transfer
 Confidential Customer Coin Transferee #13023   [Address on File]     5/27/2023 Bitcoin                                0.02521506 Customer Transfer
 Confidential Customer Coin Transferee #13024   [Address on File]     6/19/2023 Bitcoin                                0.00005805 Customer Transfer
 Confidential Customer Coin Transferee #13025   [Address on File]     6/19/2023 Bitcoin                                0.00005957 Customer Transfer
 Confidential Customer Coin Transferee #13026   [Address on File]     6/19/2023 Bitcoin                                 0.0004234 Customer Transfer
 Confidential Customer Coin Transferee #13027   [Address on File]      6/6/2023 Bitcoin                                0.00502557 Customer Transfer
 Confidential Customer Coin Transferee #13028   [Address on File]     5/30/2023 Ether                                     0.015859 Customer Transfer
 Confidential Customer Coin Transferee #13028   [Address on File]     5/30/2023 Ether                                     0.015846 Customer Transfer
 Confidential Customer Coin Transferee #13028   [Address on File]      6/6/2023 Bitcoin                                   0.003262 Customer Transfer
 Confidential Customer Coin Transferee #13029   [Address on File]     6/20/2023 Bitcoin                                0.03442768 Customer Transfer
 Confidential Customer Coin Transferee #13030   [Address on File]     6/20/2023 Bitcoin                                0.00029885 Customer Transfer
 Confidential Customer Coin Transferee #13031   [Address on File]      6/6/2023 Bitcoin                                0.00059865 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13032   [Address on File]     5/22/2023 Bitcoin                             0.15056961 Customer Transfer
 Confidential Customer Coin Transferee #13033   [Address on File]     6/19/2023 Bitcoin                             0.11539091 Customer Transfer
 Confidential Customer Coin Transferee #13034   [Address on File]     5/26/2023 Bitcoin                             0.01004974 Customer Transfer
 Confidential Customer Coin Transferee #13035   [Address on File]     5/18/2023 Bitcoin                             0.01778169 Customer Transfer
 Confidential Customer Coin Transferee #13036   [Address on File]     5/27/2023 Bitcoin                             0.00185435 Customer Transfer
 Confidential Customer Coin Transferee #13036   [Address on File]     5/19/2023 Bitcoin                             0.00173841 Customer Transfer
 Confidential Customer Coin Transferee #13037   [Address on File]     5/16/2023 USDC Avalanche)                     197.270818 Customer Transfer
 Confidential Customer Coin Transferee #13037   [Address on File]     5/31/2023 USDC Avalanche)                     197.221666 Customer Transfer
 Confidential Customer Coin Transferee #13038   [Address on File]     6/20/2023 Bitcoin                             0.00107016 Customer Transfer
 Confidential Customer Coin Transferee #13039   [Address on File]     5/26/2023 Bitcoin                             0.07409281 Customer Transfer
 Confidential Customer Coin Transferee #13039   [Address on File]     5/26/2023 Bitcoin                                  0.0001 Customer Transfer
 Confidential Customer Coin Transferee #13040   [Address on File]     6/19/2023 Bitcoin                              0.0041263 Customer Transfer
 Confidential Customer Coin Transferee #13041   [Address on File]     5/23/2023 Bitcoin                             0.05169754 Customer Transfer
 Confidential Customer Coin Transferee #13041   [Address on File]     5/23/2023 Bitcoin                             0.05027094 Customer Transfer
 Confidential Customer Coin Transferee #13042   [Address on File]     6/20/2023 Bitcoin                             0.01396301 Customer Transfer
 Confidential Customer Coin Transferee #13043   [Address on File]     6/19/2023 Bitcoin                             0.00039181 Customer Transfer
 Confidential Customer Coin Transferee #13044   [Address on File]     5/20/2023 Bitcoin                             0.00917997 Customer Transfer
 Confidential Customer Coin Transferee #13045   [Address on File]     6/15/2023 Bitcoin                             0.00382938 Customer Transfer
 Confidential Customer Coin Transferee #13045   [Address on File]     6/12/2023 Bitcoin                             0.00375843 Customer Transfer
 Confidential Customer Coin Transferee #13045   [Address on File]     5/25/2023 Bitcoin                             0.00375233 Customer Transfer
 Confidential Customer Coin Transferee #13046   [Address on File]     5/16/2023 Bitcoin                             0.00366187 Customer Transfer
 Confidential Customer Coin Transferee #13047   [Address on File]     5/22/2023 Bitcoin                             0.00074204 Customer Transfer
 Confidential Customer Coin Transferee #13048   [Address on File]     5/30/2023 Bitcoin                             0.05610138 Customer Transfer
 Confidential Customer Coin Transferee #13049   [Address on File]     6/12/2023 Bitcoin                             0.00077278 Customer Transfer
 Confidential Customer Coin Transferee #13049   [Address on File]     6/13/2023 Bitcoin                             0.00038381 Customer Transfer
 Confidential Customer Coin Transferee #13050   [Address on File]     6/19/2023 Bitcoin                             0.00116851 Customer Transfer
 Confidential Customer Coin Transferee #13051   [Address on File]     5/26/2023 Bitcoin                             0.00074319 Customer Transfer
 Confidential Customer Coin Transferee #13051   [Address on File]     5/19/2023 Bitcoin                             0.00067565 Customer Transfer
 Confidential Customer Coin Transferee #13052   [Address on File]     5/23/2023 Bitcoin                             0.01050021 Customer Transfer
 Confidential Customer Coin Transferee #13053   [Address on File]      6/7/2023 USDC Avalanche)                     206.107556 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/31/2023 Bitcoin                             0.00276558 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/31/2023 Bitcoin                             0.00221979 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/31/2023 Bitcoin                             0.00217053 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/16/2023 Bitcoin                             0.00207903 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/17/2023 Bitcoin                             0.00148188 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/21/2023 Bitcoin                              0.0004194 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/22/2023 Bitcoin                             0.00022728 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/24/2023 Bitcoin                             0.00017304 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/28/2023 Bitcoin                             0.00015374 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/23/2023 Bitcoin                             0.00013455 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/30/2023 Bitcoin                             0.00013253 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/25/2023 Bitcoin                             0.00006586 Customer Transfer
 Confidential Customer Coin Transferee #13054   [Address on File]     5/17/2023 Bitcoin                              0.0000502 Customer Transfer
 Confidential Customer Coin Transferee #13055   [Address on File]     6/20/2023 Bitcoin                             0.00119331 Customer Transfer
 Confidential Customer Coin Transferee #13056   [Address on File]     5/17/2023 Bitcoin                                0.000372 Customer Transfer
 Confidential Customer Coin Transferee #13057   [Address on File]     5/29/2023 Bitcoin                                    0.216 Customer Transfer
 Confidential Customer Coin Transferee #13057   [Address on File]     5/19/2023 Bitcoin                             0.18476807 Customer Transfer
 Confidential Customer Coin Transferee #13058   [Address on File]     5/30/2023 Bitcoin                             0.02656059 Customer Transfer
 Confidential Customer Coin Transferee #13059   [Address on File]     5/25/2023 Bitcoin                             0.00375213 Customer Transfer
 Confidential Customer Coin Transferee #13059   [Address on File]     5/27/2023 Bitcoin                             0.00372062 Customer Transfer
 Confidential Customer Coin Transferee #13059   [Address on File]     5/23/2023 Bitcoin                             0.00370264 Customer Transfer
 Confidential Customer Coin Transferee #13059   [Address on File]     5/21/2023 Bitcoin                             0.00367394 Customer Transfer
 Confidential Customer Coin Transferee #13060   [Address on File]     5/30/2023 Bitcoin                              0.0039604 Customer Transfer
 Confidential Customer Coin Transferee #13061   [Address on File]     6/20/2023 Bitcoin                             0.00606101 Customer Transfer
 Confidential Customer Coin Transferee #13062   [Address on File]     6/20/2023 Bitcoin                             0.00005829 Customer Transfer
 Confidential Customer Coin Transferee #13063   [Address on File]     5/26/2023 USDC Avalanche)                     111.355457 Customer Transfer
 Confidential Customer Coin Transferee #13063   [Address on File]     6/15/2023 USDC Avalanche)                     104.476866 Customer Transfer
 Confidential Customer Coin Transferee #13063   [Address on File]     5/23/2023 USDC Avalanche)                     104.178328 Customer Transfer
 Confidential Customer Coin Transferee #13063   [Address on File]      6/6/2023 USDC Avalanche)                     103.188405 Customer Transfer
 Confidential Customer Coin Transferee #13063   [Address on File]      6/1/2023 USDC Avalanche)                      102.93853 Customer Transfer
 Confidential Customer Coin Transferee #13063   [Address on File]      6/5/2023 USDC Avalanche)                      51.834082 Customer Transfer

 Confidential Customer Coin Transferee #13064   [Address on File]     6/20/2023 Bitcoin                                0.00032584 Customer Transfer
 Confidential Customer Coin Transferee #13065   [Address on File]      6/5/2023 Bitcoin                                0.00341627 Customer Transfer
 Confidential Customer Coin Transferee #13065   [Address on File]      6/9/2023 Bitcoin                                0.00022251 Customer Transfer
 Confidential Customer Coin Transferee #13066   [Address on File]     5/17/2023 Bitcoin                                0.01218022 Customer Transfer
 Confidential Customer Coin Transferee #13067   [Address on File]     6/20/2023 Bitcoin                                0.00004317 Customer Transfer
 Confidential Customer Coin Transferee #13068   [Address on File]     5/19/2023 Bitcoin                                0.01235107 Customer Transfer
 Confidential Customer Coin Transferee #13069   [Address on File]     5/19/2023 Bitcoin                                 0.0301099 Customer Transfer
 Confidential Customer Coin Transferee #13070   [Address on File]     5/22/2023 Bitcoin                                0.15261711 Customer Transfer
 Confidential Customer Coin Transferee #13070   [Address on File]     5/22/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #13071   [Address on File]     5/20/2023 Bitcoin                                0.00127477 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13071   [Address on File]     5/22/2023 Bitcoin                                0.001183 Customer Transfer
 Confidential Customer Coin Transferee #13071   [Address on File]     5/23/2023 Bitcoin                             0.00093927 Customer Transfer
 Confidential Customer Coin Transferee #13071   [Address on File]     5/23/2023 Bitcoin                             0.00079865 Customer Transfer
 Confidential Customer Coin Transferee #13071   [Address on File]     5/23/2023 Bitcoin                                   0.0006 Customer Transfer
 Confidential Customer Coin Transferee #13071   [Address on File]     5/21/2023 Bitcoin                             0.00053478 Customer Transfer
 Confidential Customer Coin Transferee #13072   [Address on File]     5/31/2023 Bitcoin                             0.01655835 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/25/2023 Bitcoin                             0.00191417 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/24/2023 Bitcoin                             0.00189024 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/17/2023 Bitcoin                             0.00186652 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/28/2023 Bitcoin                             0.00186544 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/22/2023 Bitcoin                             0.00185833 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/19/2023 Bitcoin                                0.001852 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/19/2023 Bitcoin                             0.00184964 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/21/2023 Bitcoin                             0.00184673 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/16/2023 Bitcoin                             0.00184065 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/24/2023 Bitcoin                             0.00182638 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/18/2023 Bitcoin                             0.00182445 Customer Transfer
 Confidential Customer Coin Transferee #13073   [Address on File]     5/23/2023 Bitcoin                             0.00181722 Customer Transfer
 Confidential Customer Coin Transferee #13074   [Address on File]     5/17/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #13074   [Address on File]     5/22/2023 Bitcoin                             0.10916687 Customer Transfer
 Confidential Customer Coin Transferee #13074   [Address on File]     5/23/2023 Bitcoin                             0.03700396 Customer Transfer
 Confidential Customer Coin Transferee #13075   [Address on File]     5/22/2023 Bitcoin                             0.03294692 Customer Transfer
 Confidential Customer Coin Transferee #13076   [Address on File]     5/25/2023 Bitcoin                             0.00090573 Customer Transfer
 Confidential Customer Coin Transferee #13076   [Address on File]     5/17/2023 Bitcoin                             0.00085865 Customer Transfer

 Confidential Customer Coin Transferee #13077   [Address on File]     6/14/2023 USDC Avalanche)                        196.301849 Customer Transfer
 Confidential Customer Coin Transferee #13078   [Address on File]     5/20/2023 Bitcoin                                       0.02 Customer Transfer
 Confidential Customer Coin Transferee #13079   [Address on File]     6/19/2023 Bitcoin                                0.00004378 Customer Transfer
 Confidential Customer Coin Transferee #13080   [Address on File]     5/24/2023 Bitcoin                                0.01071834 Customer Transfer
 Confidential Customer Coin Transferee #13080   [Address on File]     5/19/2023 Bitcoin                                0.01045276 Customer Transfer
 Confidential Customer Coin Transferee #13081   [Address on File]     6/20/2023 Bitcoin                                0.00074019 Customer Transfer
 Confidential Customer Coin Transferee #13082   [Address on File]     6/19/2023 Bitcoin                                0.00351363 Customer Transfer
 Confidential Customer Coin Transferee #13083   [Address on File]     5/26/2023 Bitcoin                                0.02907239 Customer Transfer
 Confidential Customer Coin Transferee #13084   [Address on File]     5/22/2023 Bitcoin                                0.01862648 Customer Transfer
 Confidential Customer Coin Transferee #13085   [Address on File]     6/20/2023 Bitcoin                                0.00043853 Customer Transfer
 Confidential Customer Coin Transferee #13086   [Address on File]     5/20/2023 Bitcoin                                0.00210098 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13086   [Address on File]     5/24/2023 Bitcoin                             0.00184129 Customer Transfer
 Confidential Customer Coin Transferee #13086   [Address on File]     5/27/2023 Bitcoin                             0.00110381 Customer Transfer
 Confidential Customer Coin Transferee #13087   [Address on File]     6/19/2023 Bitcoin                             0.00139824 Customer Transfer
 Confidential Customer Coin Transferee #13088   [Address on File]     6/20/2023 Bitcoin                             0.00046522 Customer Transfer
 Confidential Customer Coin Transferee #13089   [Address on File]     5/19/2023 Bitcoin                             0.00740942 Customer Transfer
 Confidential Customer Coin Transferee #13090   [Address on File]     5/18/2023 Bitcoin                             0.11254806 Customer Transfer
 Confidential Customer Coin Transferee #13090   [Address on File]     5/19/2023 Bitcoin                             0.07408726 Customer Transfer
 Confidential Customer Coin Transferee #13090   [Address on File]     5/29/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #13091   [Address on File]     5/27/2023 Bitcoin                             0.01860402 Customer Transfer
 Confidential Customer Coin Transferee #13091   [Address on File]     5/26/2023 Bitcoin                             0.01855289 Customer Transfer
 Confidential Customer Coin Transferee #13091   [Address on File]     5/29/2023 Bitcoin                             0.01764357 Customer Transfer
 Confidential Customer Coin Transferee #13091   [Address on File]     5/29/2023 Bitcoin                             0.00089819 Customer Transfer
 Confidential Customer Coin Transferee #13092   [Address on File]     6/20/2023 Bitcoin                             0.00525048 Customer Transfer
 Confidential Customer Coin Transferee #13093   [Address on File]     5/22/2023 Bitcoin                                0.011838 Customer Transfer
 Confidential Customer Coin Transferee #13094   [Address on File]     5/29/2023 Bitcoin                             0.02159531 Customer Transfer
 Confidential Customer Coin Transferee #13095   [Address on File]     5/19/2023 Bitcoin                             0.00185112 Customer Transfer
 Confidential Customer Coin Transferee #13095   [Address on File]     5/17/2023 Bitcoin                             0.00184726 Customer Transfer
 Confidential Customer Coin Transferee #13095   [Address on File]     5/21/2023 Bitcoin                             0.00182881 Customer Transfer
 Confidential Customer Coin Transferee #13095   [Address on File]     5/30/2023 Bitcoin                             0.00179269 Customer Transfer
 Confidential Customer Coin Transferee #13095   [Address on File]     5/22/2023 Bitcoin                             0.00110648 Customer Transfer
 Confidential Customer Coin Transferee #13096   [Address on File]     5/19/2023 Bitcoin                             0.00369113 Customer Transfer
 Confidential Customer Coin Transferee #13097   [Address on File]     5/19/2023 Bitcoin                             0.00888989 Customer Transfer
 Confidential Customer Coin Transferee #13098   [Address on File]     5/21/2023 Bitcoin                                   0.0019 Customer Transfer
 Confidential Customer Coin Transferee #13099   [Address on File]     5/22/2023 Bitcoin                                 0.00079 Customer Transfer
 Confidential Customer Coin Transferee #13099   [Address on File]     5/19/2023 Bitcoin                                 0.00005 Customer Transfer
 Confidential Customer Coin Transferee #13100   [Address on File]     5/22/2023 Bitcoin                             0.00362844 Customer Transfer
 Confidential Customer Coin Transferee #13100   [Address on File]     5/29/2023 Bitcoin                             0.00348744 Customer Transfer
 Confidential Customer Coin Transferee #13100   [Address on File]     5/23/2023 Bitcoin                             0.00236932 Customer Transfer
 Confidential Customer Coin Transferee #13101   [Address on File]     5/25/2023 Bitcoin                              0.0094271 Customer Transfer
 Confidential Customer Coin Transferee #13101   [Address on File]      6/1/2023 Bitcoin                             0.00786425 Customer Transfer
 Confidential Customer Coin Transferee #13101   [Address on File]     5/18/2023 Bitcoin                             0.00743618 Customer Transfer
 Confidential Customer Coin Transferee #13101   [Address on File]     5/20/2023 Bitcoin                             0.00388883 Customer Transfer
 Confidential Customer Coin Transferee #13101   [Address on File]     5/28/2023 Bitcoin                             0.00167894 Customer Transfer
 Confidential Customer Coin Transferee #13102   [Address on File]     5/25/2023 Bitcoin                             0.01006964 Customer Transfer
 Confidential Customer Coin Transferee #13103   [Address on File]     5/19/2023 Bitcoin                             0.01189545 Customer Transfer
 Confidential Customer Coin Transferee #13103   [Address on File]     5/27/2023 Bitcoin                             0.01123356 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13103   [Address on File]     5/17/2023 Bitcoin                             0.00732179 Customer Transfer
 Confidential Customer Coin Transferee #13103   [Address on File]     5/21/2023 Bitcoin                             0.00497545 Customer Transfer
 Confidential Customer Coin Transferee #13103   [Address on File]     5/24/2023 Bitcoin                             0.00376183 Customer Transfer
 Confidential Customer Coin Transferee #13104   [Address on File]     5/26/2023 Bitcoin                             0.04786608 Customer Transfer
 Confidential Customer Coin Transferee #13105   [Address on File]     5/29/2023 Bitcoin                             0.00770568 Customer Transfer
 Confidential Customer Coin Transferee #13106   [Address on File]     5/20/2023 Bitcoin                             0.03466253 Customer Transfer
 Confidential Customer Coin Transferee #13106   [Address on File]     5/20/2023 Bitcoin                             0.00178251 Customer Transfer
 Confidential Customer Coin Transferee #13107   [Address on File]     5/26/2023 Bitcoin                             0.00752725 Customer Transfer
 Confidential Customer Coin Transferee #13108   [Address on File]     5/23/2023 Bitcoin                             0.01092773 Customer Transfer
 Confidential Customer Coin Transferee #13109   [Address on File]     5/29/2023 Bitcoin                             0.02368385 Customer Transfer
 Confidential Customer Coin Transferee #13109   [Address on File]     5/25/2023 Bitcoin                             0.02262386 Customer Transfer
 Confidential Customer Coin Transferee #13109   [Address on File]     5/19/2023 Bitcoin                             0.02025569 Customer Transfer
 Confidential Customer Coin Transferee #13110   [Address on File]     5/19/2023 Bitcoin                                0.009254 Customer Transfer
 Confidential Customer Coin Transferee #13110   [Address on File]     5/24/2023 Bitcoin                             0.00661421 Customer Transfer
 Confidential Customer Coin Transferee #13111   [Address on File]     5/20/2023 Bitcoin                             0.01086553 Customer Transfer
 Confidential Customer Coin Transferee #13112   [Address on File]     5/29/2023 Bitcoin                             0.10616387 Customer Transfer
 Confidential Customer Coin Transferee #13113   [Address on File]     5/29/2023 Bitcoin                             0.01655876 Customer Transfer
 Confidential Customer Coin Transferee #13114   [Address on File]      6/9/2023 Bitcoin                              0.0037082 Customer Transfer
 Confidential Customer Coin Transferee #13114   [Address on File]     5/23/2023 Bitcoin                             0.00367926 Customer Transfer
 Confidential Customer Coin Transferee #13115   [Address on File]     5/19/2023 Bitcoin                             0.00425644 Customer Transfer
 Confidential Customer Coin Transferee #13116   [Address on File]     5/26/2023 Bitcoin                             0.02451023 Customer Transfer
 Confidential Customer Coin Transferee #13117   [Address on File]     5/18/2023 Bitcoin                             0.00371974 Customer Transfer
 Confidential Customer Coin Transferee #13118   [Address on File]     5/31/2023 Bitcoin                             0.02970715 Customer Transfer
 Confidential Customer Coin Transferee #13119   [Address on File]     5/18/2023 Bitcoin                             0.00029393 Customer Transfer
 Confidential Customer Coin Transferee #13119   [Address on File]     5/18/2023 Bitcoin                             0.00003658 Customer Transfer
 Confidential Customer Coin Transferee #13120   [Address on File]     5/19/2023 Bitcoin                              0.2006076 Customer Transfer
 Confidential Customer Coin Transferee #13120   [Address on File]     5/19/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #13121   [Address on File]     5/23/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #13122   [Address on File]     6/19/2023 Bitcoin                             0.00295344 Customer Transfer
 Confidential Customer Coin Transferee #13123   [Address on File]     5/30/2023 Bitcoin                             0.00035722 Customer Transfer
 Confidential Customer Coin Transferee #13124   [Address on File]     5/23/2023 Bitcoin                             0.00550778 Customer Transfer
 Confidential Customer Coin Transferee #13125   [Address on File]     5/27/2023 Bitcoin                             0.05200969 Customer Transfer
 Confidential Customer Coin Transferee #13126   [Address on File]     5/21/2023 Bitcoin                             0.00014781 Customer Transfer
 Confidential Customer Coin Transferee #13127   [Address on File]     5/21/2023 Bitcoin                             0.00738554 Customer Transfer
 Confidential Customer Coin Transferee #13127   [Address on File]     5/18/2023 Bitcoin                             0.00352926 Customer Transfer
 Confidential Customer Coin Transferee #13127   [Address on File]     5/30/2023 Bitcoin                              0.0018236 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13128   [Address on File]     5/17/2023 Bitcoin                             0.00643243 Customer Transfer
 Confidential Customer Coin Transferee #13129   [Address on File]     5/20/2023 Bitcoin                             0.04755235 Customer Transfer
 Confidential Customer Coin Transferee #13129   [Address on File]     5/30/2023 Bitcoin                                   0.025 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/28/2023 Bitcoin                             0.00121425 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/29/2023 Bitcoin                             0.00111302 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/29/2023 Bitcoin                              0.0011085 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/29/2023 Bitcoin                              0.0010944 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/25/2023 Bitcoin                             0.00089497 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/21/2023 Bitcoin                             0.00084421 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/22/2023 Bitcoin                             0.00084192 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/21/2023 Bitcoin                             0.00074991 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/28/2023 Bitcoin                             0.00074038 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/28/2023 Bitcoin                             0.00073954 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/22/2023 Bitcoin                             0.00026204 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/30/2023 Bitcoin                             0.00016679 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/29/2023 Bitcoin                             0.00016142 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/29/2023 Bitcoin                             0.00007599 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/28/2023 Bitcoin                             0.00006205 Customer Transfer
 Confidential Customer Coin Transferee #13130   [Address on File]     5/27/2023 Bitcoin                             0.00005205 Customer Transfer
 Confidential Customer Coin Transferee #13131   [Address on File]     5/16/2023 Bitcoin                             0.00291737 Customer Transfer
 Confidential Customer Coin Transferee #13132   [Address on File]     5/20/2023 Bitcoin                             0.00148075 Customer Transfer
 Confidential Customer Coin Transferee #13133   [Address on File]     5/21/2023 Bitcoin                             0.00924814 Customer Transfer
 Confidential Customer Coin Transferee #13134   [Address on File]     5/28/2023 Bitcoin                             0.04259702 Customer Transfer
 Confidential Customer Coin Transferee #13135   [Address on File]     5/18/2023 Bitcoin                             0.00371336 Customer Transfer
 Confidential Customer Coin Transferee #13136   [Address on File]     5/23/2023 Bitcoin                             0.00227679 Customer Transfer
 Confidential Customer Coin Transferee #13137   [Address on File]     6/19/2023 Bitcoin                             0.00596402 Customer Transfer
 Confidential Customer Coin Transferee #13138   [Address on File]     5/22/2023 Bitcoin                             0.01184787 Customer Transfer
 Confidential Customer Coin Transferee #13138   [Address on File]     5/20/2023 Bitcoin                             0.00735262 Customer Transfer
 Confidential Customer Coin Transferee #13138   [Address on File]     5/19/2023 Bitcoin                             0.00406569 Customer Transfer
 Confidential Customer Coin Transferee #13138   [Address on File]     5/16/2023 Bitcoin                             0.00367417 Customer Transfer
 Confidential Customer Coin Transferee #13139   [Address on File]     5/19/2023 Bitcoin                             0.01388537 Customer Transfer
 Confidential Customer Coin Transferee #13139   [Address on File]     5/27/2023 Bitcoin                             0.00632611 Customer Transfer
 Confidential Customer Coin Transferee #13140   [Address on File]     5/31/2023 Bitcoin                              0.0000711 Customer Transfer
 Confidential Customer Coin Transferee #13140   [Address on File]     5/26/2023 Bitcoin                             0.00003684 Customer Transfer
 Confidential Customer Coin Transferee #13141   [Address on File]     5/27/2023 Bitcoin                             0.00388566 Customer Transfer
 Confidential Customer Coin Transferee #13142   [Address on File]     5/19/2023 Bitcoin                             0.07565541 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13143   [Address on File]     6/20/2023 Bitcoin                             0.00600982 Customer Transfer
 Confidential Customer Coin Transferee #13144   [Address on File]     6/19/2023 Bitcoin                             0.00283282 Customer Transfer
 Confidential Customer Coin Transferee #13145   [Address on File]     5/24/2023 Bitcoin                             0.01891258 Customer Transfer
 Confidential Customer Coin Transferee #13145   [Address on File]     5/24/2023 Bitcoin                             0.00393189 Customer Transfer
 Confidential Customer Coin Transferee #13146   [Address on File]     5/21/2023 Bitcoin                             0.00273113 Customer Transfer
 Confidential Customer Coin Transferee #13146   [Address on File]     5/23/2023 Bitcoin                             0.00195392 Customer Transfer
 Confidential Customer Coin Transferee #13146   [Address on File]     5/16/2023 Bitcoin                             0.00174911 Customer Transfer
 Confidential Customer Coin Transferee #13146   [Address on File]     5/25/2023 Bitcoin                             0.00101907 Customer Transfer

 Confidential Customer Coin Transferee #13147   [Address on File]     5/24/2023 Bitcoin                                       0.03 Customer Transfer
 Confidential Customer Coin Transferee #13148   [Address on File]     5/24/2023 Bitcoin                                0.01264457 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/20/2023 Bitcoin                                0.00388892 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/27/2023 Bitcoin                                0.00370644 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/27/2023 Bitcoin                                0.00185785 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/27/2023 Bitcoin                                0.00185751 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/27/2023 Bitcoin                                0.00167445 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/30/2023 Bitcoin                                0.00121643 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/22/2023 Bitcoin                                0.00115591 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/25/2023 Bitcoin                                0.00114345 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/25/2023 Bitcoin                                0.00113954 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/20/2023 Bitcoin                                0.00110923 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/28/2023 Bitcoin                                0.00104344 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/26/2023 Bitcoin                                0.00097952 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/27/2023 Bitcoin                                0.00096927 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/26/2023 Bitcoin                                0.00093307 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/20/2023 Bitcoin                                0.00092193 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/26/2023 Bitcoin                                0.00090225 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/31/2023 Bitcoin                                0.00089651 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/27/2023 Bitcoin                                0.00089199 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/26/2023 Bitcoin                                0.00088721 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/28/2023 Bitcoin                                0.00074378 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/31/2023 Bitcoin                                0.00073711 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/20/2023 Bitcoin                                0.00069776 Customer Transfer
 Confidential Customer Coin Transferee #13149   [Address on File]     5/28/2023 Bitcoin                                0.00029357 Customer Transfer
 Confidential Customer Coin Transferee #13150   [Address on File]     5/19/2023 Bitcoin                                0.00171086 Customer Transfer
 Confidential Customer Coin Transferee #13150   [Address on File]     5/18/2023 Bitcoin                                      0.001 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13150   [Address on File]     5/18/2023 Bitcoin                                   0.001 Customer Transfer
 Confidential Customer Coin Transferee #13151   [Address on File]     6/19/2023 Bitcoin                             0.01563943 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/25/2023 Bitcoin                             0.00189383 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/27/2023 Bitcoin                             0.00185753 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/28/2023 Bitcoin                             0.00185376 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/23/2023 Bitcoin                             0.00185141 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/20/2023 Bitcoin                             0.00184869 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/20/2023 Bitcoin                             0.00183572 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/28/2023 Bitcoin                              0.0018321 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/21/2023 Bitcoin                             0.00182782 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/29/2023 Bitcoin                             0.00178928 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/22/2023 Bitcoin                              0.0014867 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/22/2023 Bitcoin                             0.00147876 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/25/2023 Bitcoin                             0.00133433 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/25/2023 Bitcoin                             0.00132096 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/26/2023 Bitcoin                             0.00131411 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/19/2023 Bitcoin                             0.00129561 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/24/2023 Bitcoin                             0.00128058 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/30/2023 Bitcoin                             0.00125587 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/16/2023 Bitcoin                             0.00110084 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/18/2023 Bitcoin                              0.0010893 Customer Transfer
 Confidential Customer Coin Transferee #13152   [Address on File]     5/17/2023 Bitcoin                             0.00072598 Customer Transfer
 Confidential Customer Coin Transferee #13153   [Address on File]      6/1/2023 Bitcoin                             0.03239785 Customer Transfer
 Confidential Customer Coin Transferee #13153   [Address on File]     6/20/2023 Bitcoin                             0.00248331 Customer Transfer
 Confidential Customer Coin Transferee #13154   [Address on File]     6/19/2023 Bitcoin                             0.00021274 Customer Transfer
 Confidential Customer Coin Transferee #13155   [Address on File]     5/26/2023 Bitcoin                             0.01259066 Customer Transfer
 Confidential Customer Coin Transferee #13156   [Address on File]     5/24/2023 Bitcoin                             0.05899503 Customer Transfer
 Confidential Customer Coin Transferee #13157   [Address on File]     5/26/2023 Bitcoin                             0.01085024 Customer Transfer
 Confidential Customer Coin Transferee #13158   [Address on File]     6/19/2023 Bitcoin                             0.00007124 Customer Transfer
 Confidential Customer Coin Transferee #13159   [Address on File]     5/24/2023 Bitcoin                             0.00037308 Customer Transfer
 Confidential Customer Coin Transferee #13159   [Address on File]     5/17/2023 Bitcoin                             0.00033985 Customer Transfer
 Confidential Customer Coin Transferee #13160   [Address on File]     6/20/2023 Bitcoin                             0.00005621 Customer Transfer
 Confidential Customer Coin Transferee #13161   [Address on File]      6/7/2023 Bitcoin                              0.0020536 Customer Transfer
 Confidential Customer Coin Transferee #13162   [Address on File]     5/22/2023 Bitcoin                             0.00434208 Customer Transfer
 Confidential Customer Coin Transferee #13163   [Address on File]     6/12/2023 Bitcoin                             0.00032289 Customer Transfer
 Confidential Customer Coin Transferee #13164   [Address on File]     6/20/2023 Bitcoin                             0.00389442 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13165   [Address on File]     6/19/2023 Bitcoin                             0.00082171 Customer Transfer
 Confidential Customer Coin Transferee #13166   [Address on File]     6/18/2023 Bitcoin                             0.01101238 Customer Transfer
 Confidential Customer Coin Transferee #13167   [Address on File]      6/5/2023 Ether                                  0.043283 Customer Transfer
 Confidential Customer Coin Transferee #13168   [Address on File]      6/7/2023 Bitcoin                             0.00225755 Customer Transfer
 Confidential Customer Coin Transferee #13168   [Address on File]     6/12/2023 Bitcoin                             0.00134658 Customer Transfer
 Confidential Customer Coin Transferee #13168   [Address on File]     6/15/2023 Bitcoin                             0.00078304 Customer Transfer
 Confidential Customer Coin Transferee #13168   [Address on File]     5/22/2023 Bitcoin                             0.00048195 Customer Transfer
 Confidential Customer Coin Transferee #13169   [Address on File]     6/20/2023 Bitcoin                             0.07078719 Customer Transfer
 Confidential Customer Coin Transferee #13170   [Address on File]     6/20/2023 Bitcoin                             0.00057909 Customer Transfer
 Confidential Customer Coin Transferee #13171   [Address on File]     5/18/2023 Bitcoin                             0.03601207 Customer Transfer
 Confidential Customer Coin Transferee #13172   [Address on File]     6/19/2023 Bitcoin                             0.00012894 Customer Transfer
 Confidential Customer Coin Transferee #13173   [Address on File]     6/19/2023 Bitcoin                             0.00045942 Customer Transfer
 Confidential Customer Coin Transferee #13174   [Address on File]     6/20/2023 Bitcoin                             0.00040567 Customer Transfer
 Confidential Customer Coin Transferee #13175   [Address on File]     6/20/2023 Bitcoin                             0.00005578 Customer Transfer
 Confidential Customer Coin Transferee #13176   [Address on File]     6/20/2023 Bitcoin                             0.00665081 Customer Transfer
 Confidential Customer Coin Transferee #13177   [Address on File]     6/20/2023 Bitcoin                             0.00057843 Customer Transfer
 Confidential Customer Coin Transferee #13178   [Address on File]     5/22/2023 Bitcoin                             0.03676716 Customer Transfer
 Confidential Customer Coin Transferee #13178   [Address on File]     5/18/2023 Bitcoin                             0.02618154 Customer Transfer
 Confidential Customer Coin Transferee #13178   [Address on File]     5/18/2023 Bitcoin                             0.01101247 Customer Transfer
 Confidential Customer Coin Transferee #13178   [Address on File]      6/5/2023 Bitcoin                             0.00363721 Customer Transfer
 Confidential Customer Coin Transferee #13178   [Address on File]     5/22/2023 Bitcoin                                0.001106 Customer Transfer
 Confidential Customer Coin Transferee #13179   [Address on File]     5/18/2023 Bitcoin                             0.01099865 Customer Transfer
 Confidential Customer Coin Transferee #13180   [Address on File]     5/26/2023 Bitcoin                             0.01086738 Customer Transfer
 Confidential Customer Coin Transferee #13181   [Address on File]     6/19/2023 Bitcoin                             0.01158098 Customer Transfer
 Confidential Customer Coin Transferee #13181   [Address on File]      6/2/2023 Bitcoin                              0.0022147 Customer Transfer
 Confidential Customer Coin Transferee #13182   [Address on File]     5/17/2023 Bitcoin                             0.01051416 Customer Transfer
 Confidential Customer Coin Transferee #13182   [Address on File]     5/24/2023 Bitcoin                             0.00742392 Customer Transfer
 Confidential Customer Coin Transferee #13183   [Address on File]     6/19/2023 Bitcoin                             0.00055962 Customer Transfer

 Confidential Customer Coin Transferee #13184   [Address on File]     6/15/2023 Tether USD                             3801.37425 Customer Transfer

 Confidential Customer Coin Transferee #13184   [Address on File]     5/16/2023 Bitcoin                                0.05393794 Customer Transfer

 Confidential Customer Coin Transferee #13184   [Address on File]     6/19/2023 Bitcoin                                0.03501805 Customer Transfer
 Confidential Customer Coin Transferee #13185   [Address on File]     6/20/2023 Bitcoin                                0.00035566 Customer Transfer
 Confidential Customer Coin Transferee #13186   [Address on File]     5/25/2023 Bitcoin                                 0.0014868 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13186   [Address on File]     5/18/2023 Bitcoin                             0.00136538 Customer Transfer
 Confidential Customer Coin Transferee #13187   [Address on File]     5/24/2023 Bitcoin                             0.01075191 Customer Transfer
 Confidential Customer Coin Transferee #13187   [Address on File]     5/17/2023 Bitcoin                             0.01014214 Customer Transfer
 Confidential Customer Coin Transferee #13188   [Address on File]     6/20/2023 Bitcoin                             0.00059263 Customer Transfer
 Confidential Customer Coin Transferee #13189   [Address on File]     6/20/2023 Bitcoin                             0.00057979 Customer Transfer
 Confidential Customer Coin Transferee #13190   [Address on File]     6/20/2023 Bitcoin                             0.00004316 Customer Transfer
 Confidential Customer Coin Transferee #13191   [Address on File]     5/24/2023 Bitcoin                             0.00109399 Customer Transfer
 Confidential Customer Coin Transferee #13192   [Address on File]     6/19/2023 Bitcoin                             0.00059033 Customer Transfer
 Confidential Customer Coin Transferee #13193   [Address on File]     6/20/2023 Bitcoin                             0.00222363 Customer Transfer
 Confidential Customer Coin Transferee #13194   [Address on File]     6/21/2023 USD Coin                            197.169059 Customer Transfer
 Confidential Customer Coin Transferee #13195   [Address on File]     6/20/2023 Bitcoin                              0.0009355 Customer Transfer
 Confidential Customer Coin Transferee #13196   [Address on File]     5/16/2023 Bitcoin                             0.01211072 Customer Transfer
 Confidential Customer Coin Transferee #13197   [Address on File]     6/20/2023 Bitcoin                              0.0005227 Customer Transfer
 Confidential Customer Coin Transferee #13198   [Address on File]     5/16/2023 Bitcoin                             0.01018014 Customer Transfer
 Confidential Customer Coin Transferee #13199   [Address on File]     5/21/2023 Bitcoin                              0.0261407 Customer Transfer
 Confidential Customer Coin Transferee #13200   [Address on File]     6/20/2023 Bitcoin                             0.00324898 Customer Transfer
 Confidential Customer Coin Transferee #13201   [Address on File]     5/23/2023 Bitcoin                              0.0009367 Customer Transfer
 Confidential Customer Coin Transferee #13202   [Address on File]     5/24/2023 Bitcoin                             0.00032874 Customer Transfer
 Confidential Customer Coin Transferee #13202   [Address on File]     6/12/2023 Bitcoin                             0.00010415 Customer Transfer
 Confidential Customer Coin Transferee #13203   [Address on File]     6/19/2023 Bitcoin                             0.00177723 Customer Transfer
 Confidential Customer Coin Transferee #13204   [Address on File]     6/20/2023 Bitcoin                             0.02444284 Customer Transfer
 Confidential Customer Coin Transferee #13205   [Address on File]     5/26/2023 Bitcoin                              0.0005547 Customer Transfer
 Confidential Customer Coin Transferee #13206   [Address on File]     6/14/2023 Bitcoin                             0.00073805 Customer Transfer
 Confidential Customer Coin Transferee #13206   [Address on File]     5/30/2023 Bitcoin                             0.00072202 Customer Transfer
 Confidential Customer Coin Transferee #13207   [Address on File]     6/19/2023 Bitcoin                             0.00023516 Customer Transfer
 Confidential Customer Coin Transferee #13208   [Address on File]     5/29/2023 Bitcoin                             0.01027429 Customer Transfer
 Confidential Customer Coin Transferee #13209   [Address on File]     5/18/2023 Bitcoin                             0.00584502 Customer Transfer
 Confidential Customer Coin Transferee #13210   [Address on File]     5/29/2023 Bitcoin                             0.00027471 Customer Transfer
 Confidential Customer Coin Transferee #13211   [Address on File]     5/18/2023 Bitcoin                             0.03378145 Customer Transfer
 Confidential Customer Coin Transferee #13211   [Address on File]     5/18/2023 Bitcoin                             0.03310206 Customer Transfer
 Confidential Customer Coin Transferee #13212   [Address on File]     6/20/2023 Bitcoin                             0.00240255 Customer Transfer
 Confidential Customer Coin Transferee #13213   [Address on File]     5/18/2023 Bitcoin                             0.01426939 Customer Transfer
 Confidential Customer Coin Transferee #13213   [Address on File]      6/6/2023 Bitcoin                             0.00182364 Customer Transfer
 Confidential Customer Coin Transferee #13213   [Address on File]     5/26/2023 Bitcoin                             0.00166129 Customer Transfer
 Confidential Customer Coin Transferee #13213   [Address on File]     6/14/2023 Bitcoin                             0.00133823 Customer Transfer
 Confidential Customer Coin Transferee #13213   [Address on File]     6/12/2023 Bitcoin                             0.00113167 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13214   [Address on File]     6/20/2023 Bitcoin                             0.11902922 Customer Transfer
 Confidential Customer Coin Transferee #13215   [Address on File]     5/19/2023 Bitcoin                             0.06919299 Customer Transfer
 Confidential Customer Coin Transferee #13215   [Address on File]     5/16/2023 Bitcoin                             0.06858342 Customer Transfer
 Confidential Customer Coin Transferee #13215   [Address on File]     5/22/2023 Bitcoin                              0.0373397 Customer Transfer
 Confidential Customer Coin Transferee #13215   [Address on File]     5/25/2023 Bitcoin                             0.03714807 Customer Transfer
 Confidential Customer Coin Transferee #13216   [Address on File]     6/10/2023 USDC Avalanche)                     197.291625 Customer Transfer
 Confidential Customer Coin Transferee #13216   [Address on File]     6/15/2023 USDC Avalanche)                     197.291625 Customer Transfer
 Confidential Customer Coin Transferee #13216   [Address on File]     6/10/2023 USDC Avalanche)                     197.271909 Customer Transfer
 Confidential Customer Coin Transferee #13216   [Address on File]     5/26/2023 USDC Avalanche)                     197.221944 Customer Transfer
 Confidential Customer Coin Transferee #13216   [Address on File]     5/21/2023 USDC Avalanche)                      72.453773 Customer Transfer
 Confidential Customer Coin Transferee #13217   [Address on File]     5/24/2023 Bitcoin                             0.00253921 Customer Transfer
 Confidential Customer Coin Transferee #13217   [Address on File]     5/17/2023 Bitcoin                             0.00242791 Customer Transfer
 Confidential Customer Coin Transferee #13218   [Address on File]     6/20/2023 Bitcoin                             0.00033885 Customer Transfer
 Confidential Customer Coin Transferee #13219   [Address on File]     6/19/2023 Bitcoin                             0.01136745 Customer Transfer

 Confidential Customer Coin Transferee #13220   [Address on File]     5/19/2023 Ether                                  0.01240785 Customer Transfer

 Confidential Customer Coin Transferee #13220   [Address on File]     6/12/2023 Bitcoin                                0.00019513 Customer Transfer

 Confidential Customer Coin Transferee #13220   [Address on File]     5/24/2023 Bitcoin                                0.00013895 Customer Transfer
 Confidential Customer Coin Transferee #13221   [Address on File]     5/24/2023 Bitcoin                                0.06374031 Customer Transfer
 Confidential Customer Coin Transferee #13222   [Address on File]     6/20/2023 Bitcoin                                0.00035944 Customer Transfer
 Confidential Customer Coin Transferee #13223   [Address on File]     5/29/2023 USDC Avalanche)                        172.283858 Customer Transfer
 Confidential Customer Coin Transferee #13223   [Address on File]      6/7/2023 USDC Avalanche)                         97.401039 Customer Transfer
 Confidential Customer Coin Transferee #13223   [Address on File]     6/20/2023 USDC Avalanche)                         67.254433 Customer Transfer
 Confidential Customer Coin Transferee #13224   [Address on File]     5/22/2023 Bitcoin                                      0.0001 Customer Transfer
 Confidential Customer Coin Transferee #13225   [Address on File]     6/20/2023 Bitcoin                                0.00011837 Customer Transfer
 Confidential Customer Coin Transferee #13226   [Address on File]     6/19/2023 Bitcoin                                   0.051871 Customer Transfer
 Confidential Customer Coin Transferee #13227   [Address on File]     6/20/2023 Bitcoin                                0.00005939 Customer Transfer
 Confidential Customer Coin Transferee #13228   [Address on File]     6/19/2023 Bitcoin                                0.00406215 Customer Transfer
 Confidential Customer Coin Transferee #13229   [Address on File]     6/15/2023 Bitcoin                                0.01186595 Customer Transfer
 Confidential Customer Coin Transferee #13229   [Address on File]      6/6/2023 Bitcoin                                0.00958789 Customer Transfer
 Confidential Customer Coin Transferee #13230   [Address on File]      6/9/2023 Bitcoin                                0.05526335 Customer Transfer
 Confidential Customer Coin Transferee #13230   [Address on File]     6/20/2023 Bitcoin                                0.00224865 Customer Transfer
 Confidential Customer Coin Transferee #13231   [Address on File]      6/7/2023 Bitcoin                                0.00727543 Customer Transfer
 Confidential Customer Coin Transferee #13232   [Address on File]     6/16/2023 Bitcoin                                0.02125512 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13233   [Address on File]     5/16/2023 Bitcoin                             0.01045397 Customer Transfer
 Confidential Customer Coin Transferee #13234   [Address on File]     5/26/2023 Bitcoin                             0.02601605 Customer Transfer
 Confidential Customer Coin Transferee #13235   [Address on File]     5/17/2023 Bitcoin                                   0.017 Customer Transfer
 Confidential Customer Coin Transferee #13236   [Address on File]     5/23/2023 Bitcoin                             0.01272168 Customer Transfer
 Confidential Customer Coin Transferee #13237   [Address on File]     6/15/2023 Bitcoin                             0.00591373 Customer Transfer
 Confidential Customer Coin Transferee #13237   [Address on File]      6/5/2023 Bitcoin                             0.00297123 Customer Transfer
 Confidential Customer Coin Transferee #13237   [Address on File]     5/22/2023 Bitcoin                             0.00110594 Customer Transfer
 Confidential Customer Coin Transferee #13238   [Address on File]     5/19/2023 Bitcoin                             0.01058626 Customer Transfer
 Confidential Customer Coin Transferee #13239   [Address on File]     5/22/2023 Bitcoin                             0.01053723 Customer Transfer
 Confidential Customer Coin Transferee #13240   [Address on File]     5/23/2023 Bitcoin                             0.03490455 Customer Transfer
 Confidential Customer Coin Transferee #13241   [Address on File]     5/19/2023 Bitcoin                             0.01022206 Customer Transfer
 Confidential Customer Coin Transferee #13242   [Address on File]     5/29/2023 Bitcoin                             0.00192416 Customer Transfer
 Confidential Customer Coin Transferee #13243   [Address on File]     5/30/2023 Bitcoin                             0.01294317 Customer Transfer
 Confidential Customer Coin Transferee #13243   [Address on File]     5/23/2023 Bitcoin                             0.01263298 Customer Transfer
 Confidential Customer Coin Transferee #13243   [Address on File]     5/17/2023 Bitcoin                             0.01211252 Customer Transfer
 Confidential Customer Coin Transferee #13244   [Address on File]     6/20/2023 Bitcoin                             0.00057947 Customer Transfer
 Confidential Customer Coin Transferee #13245   [Address on File]     6/19/2023 Bitcoin                             0.00007467 Customer Transfer
 Confidential Customer Coin Transferee #13246   [Address on File]     5/25/2023 Bitcoin                             0.03145865 Customer Transfer
 Confidential Customer Coin Transferee #13246   [Address on File]     6/12/2023 Bitcoin                             0.01126475 Customer Transfer
 Confidential Customer Coin Transferee #13246   [Address on File]     6/15/2023 Bitcoin                             0.00865422 Customer Transfer
 Confidential Customer Coin Transferee #13247   [Address on File]     5/25/2023 Bitcoin                             0.02161381 Customer Transfer
 Confidential Customer Coin Transferee #13247   [Address on File]     5/25/2023 Bitcoin                             0.01879001 Customer Transfer
 Confidential Customer Coin Transferee #13248   [Address on File]     6/19/2023 Bitcoin                             0.00382071 Customer Transfer
 Confidential Customer Coin Transferee #13249   [Address on File]      6/6/2023 USDC Solana)                                 20 Customer Transfer
 Confidential Customer Coin Transferee #13250   [Address on File]     6/20/2023 Bitcoin                             0.01222934 Customer Transfer
 Confidential Customer Coin Transferee #13251   [Address on File]     6/20/2023 Bitcoin                             0.00186265 Customer Transfer
 Confidential Customer Coin Transferee #13252   [Address on File]     5/24/2023 Bitcoin                             0.01131507 Customer Transfer
 Confidential Customer Coin Transferee #13252   [Address on File]     5/20/2023 Bitcoin                             0.01028624 Customer Transfer
 Confidential Customer Coin Transferee #13253   [Address on File]     6/20/2023 Bitcoin                             0.00010099 Customer Transfer
 Confidential Customer Coin Transferee #13254   [Address on File]     6/20/2023 Bitcoin                             0.00029747 Customer Transfer
 Confidential Customer Coin Transferee #13255   [Address on File]     6/15/2023 Tether USD                          497.038222 Customer Transfer
 Confidential Customer Coin Transferee #13255   [Address on File]     6/14/2023 Tether USD                          496.581709 Customer Transfer
 Confidential Customer Coin Transferee #13255   [Address on File]     6/17/2023 Tether USD                          496.500149 Customer Transfer
 Confidential Customer Coin Transferee #13255   [Address on File]     6/19/2023 Tether USD                          495.523429 Customer Transfer
 Confidential Customer Coin Transferee #13255   [Address on File]     6/18/2023 Tether USD                          495.384308 Customer Transfer
 Confidential Customer Coin Transferee #13255   [Address on File]     6/16/2023 Tether USD                           495.01996 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13255   [Address on File]     6/21/2023 Tether USD                          494.837037 Customer Transfer
 Confidential Customer Coin Transferee #13255   [Address on File]     6/12/2023 Tether USD                          296.911852 Customer Transfer
 Confidential Customer Coin Transferee #13255   [Address on File]     6/12/2023 Tether USD                           197.08175 Customer Transfer
 Confidential Customer Coin Transferee #13256   [Address on File]     5/26/2023 Bitcoin                             0.00110359 Customer Transfer
 Confidential Customer Coin Transferee #13257   [Address on File]     6/20/2023 Bitcoin                             0.00036308 Customer Transfer
 Confidential Customer Coin Transferee #13258   [Address on File]      6/6/2023 Bitcoin                             0.02766719 Customer Transfer
 Confidential Customer Coin Transferee #13259   [Address on File]     6/19/2023 Bitcoin                             0.00951834 Customer Transfer
 Confidential Customer Coin Transferee #13260   [Address on File]     5/17/2023 Bitcoin                             0.01564677 Customer Transfer
 Confidential Customer Coin Transferee #13260   [Address on File]     5/23/2023 Bitcoin                             0.00189638 Customer Transfer
 Confidential Customer Coin Transferee #13261   [Address on File]     5/22/2023 Bitcoin                             0.01673945 Customer Transfer
 Confidential Customer Coin Transferee #13262   [Address on File]     6/19/2023 Bitcoin                             0.00233356 Customer Transfer
 Confidential Customer Coin Transferee #13263   [Address on File]     5/26/2023 Bitcoin                             0.00072679 Customer Transfer
 Confidential Customer Coin Transferee #13264   [Address on File]      6/2/2023 Cosmos Hub ATOM)                     22.694145 Customer Transfer
 Confidential Customer Coin Transferee #13265   [Address on File]     5/25/2023 Bitcoin                             0.03230035 Customer Transfer
 Confidential Customer Coin Transferee #13266   [Address on File]      6/5/2023 Bitcoin                             0.00503073 Customer Transfer
 Confidential Customer Coin Transferee #13266   [Address on File]     6/19/2023 Bitcoin                             0.00041237 Customer Transfer
 Confidential Customer Coin Transferee #13267   [Address on File]     5/29/2023 Bitcoin                              0.0035151 Customer Transfer
 Confidential Customer Coin Transferee #13267   [Address on File]     5/30/2023 Bitcoin                             0.00028112 Customer Transfer
 Confidential Customer Coin Transferee #13268   [Address on File]     5/26/2023 Bitcoin                             0.00092557 Customer Transfer
 Confidential Customer Coin Transferee #13269   [Address on File]     6/12/2023 Bitcoin                             0.00098592 Customer Transfer
 Confidential Customer Coin Transferee #13270   [Address on File]     6/20/2023 Bitcoin                              0.0017634 Customer Transfer
 Confidential Customer Coin Transferee #13271   [Address on File]     6/19/2023 Bitcoin                             0.00039673 Customer Transfer
 Confidential Customer Coin Transferee #13272   [Address on File]     6/10/2023 USDC Avalanche)                     107.416291 Customer Transfer
 Confidential Customer Coin Transferee #13273   [Address on File]     6/20/2023 Bitcoin                             0.03291083 Customer Transfer

 Confidential Customer Coin Transferee #13274   [Address on File]     5/16/2023 Ether                                  1.74306695 Customer Transfer
 Confidential Customer Coin Transferee #13275   [Address on File]     5/22/2023 Bitcoin                                0.06680958 Customer Transfer
 Confidential Customer Coin Transferee #13276   [Address on File]     6/20/2023 Bitcoin                                0.00391135 Customer Transfer
 Confidential Customer Coin Transferee #13277   [Address on File]     6/20/2023 Bitcoin                                0.00303792 Customer Transfer
 Confidential Customer Coin Transferee #13278   [Address on File]     5/27/2023 Bitcoin                                0.02524072 Customer Transfer
 Confidential Customer Coin Transferee #13278   [Address on File]     5/19/2023 Bitcoin                                0.01152555 Customer Transfer
 Confidential Customer Coin Transferee #13279   [Address on File]     5/28/2023 Bitcoin                                0.00644195 Customer Transfer
 Confidential Customer Coin Transferee #13279   [Address on File]     5/21/2023 Bitcoin                                0.00607497 Customer Transfer
 Confidential Customer Coin Transferee #13279   [Address on File]     5/21/2023 Bitcoin                                0.00606689 Customer Transfer
 Confidential Customer Coin Transferee #13280   [Address on File]     6/20/2023 Bitcoin                                0.00024622 Customer Transfer
 Confidential Customer Coin Transferee #13281   [Address on File]     5/30/2023 Bitcoin                                0.01029963 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13282   [Address on File]     5/21/2023 Bitcoin                             0.03689289 Customer Transfer
 Confidential Customer Coin Transferee #13283   [Address on File]      6/6/2023 USDC Avalanche)                    1994.562718 Customer Transfer
 Confidential Customer Coin Transferee #13283   [Address on File]     6/19/2023 USDC Avalanche)                    1989.442727 Customer Transfer
 Confidential Customer Coin Transferee #13283   [Address on File]     6/12/2023 USDC Avalanche)                     996.111944 Customer Transfer
 Confidential Customer Coin Transferee #13284   [Address on File]     5/20/2023 Bitcoin                             0.02566301 Customer Transfer
 Confidential Customer Coin Transferee #13285   [Address on File]     5/26/2023 Bitcoin                              0.0037152 Customer Transfer
 Confidential Customer Coin Transferee #13285   [Address on File]     5/22/2023 Bitcoin                             0.00093508 Customer Transfer
 Confidential Customer Coin Transferee #13286   [Address on File]     5/31/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #13287   [Address on File]      6/8/2023 Bitcoin                             0.00502699 Customer Transfer
 Confidential Customer Coin Transferee #13288   [Address on File]     5/25/2023 Bitcoin                             0.00038148 Customer Transfer
 Confidential Customer Coin Transferee #13289   [Address on File]     5/19/2023 Bitcoin                              0.0018591 Customer Transfer
 Confidential Customer Coin Transferee #13290   [Address on File]     5/17/2023 Bitcoin                             0.00007457 Customer Transfer
 Confidential Customer Coin Transferee #13290   [Address on File]     5/25/2023 Bitcoin                             0.00006764 Customer Transfer
 Confidential Customer Coin Transferee #13290   [Address on File]     5/21/2023 Bitcoin                             0.00004389 Customer Transfer
 Confidential Customer Coin Transferee #13290   [Address on File]     5/29/2023 Bitcoin                             0.00003274 Customer Transfer
 Confidential Customer Coin Transferee #13290   [Address on File]     5/20/2023 Bitcoin                             0.00002459 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/18/2023 Bitcoin                             0.00137761 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/19/2023 Bitcoin                             0.00134955 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/24/2023 Bitcoin                             0.00132197 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/25/2023 Bitcoin                             0.00124867 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/17/2023 Bitcoin                              0.0011957 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/17/2023 Bitcoin                             0.00118072 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/27/2023 Bitcoin                             0.00115415 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/24/2023 Bitcoin                             0.00113385 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/27/2023 Bitcoin                             0.00113123 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/26/2023 Bitcoin                             0.00113083 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/28/2023 Bitcoin                             0.00112741 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/19/2023 Bitcoin                             0.00110717 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/18/2023 Bitcoin                             0.00109135 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/24/2023 Bitcoin                              0.0010046 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/23/2023 Bitcoin                             0.00088083 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/26/2023 Bitcoin                             0.00080534 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/28/2023 Bitcoin                             0.00079138 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/24/2023 Bitcoin                             0.00074198 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/27/2023 Bitcoin                             0.00071823 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/19/2023 Bitcoin                             0.00071486 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/30/2023 Bitcoin                             0.00070294 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/29/2023 Bitcoin                             0.00069776 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/29/2023 Bitcoin                             0.00069614 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/28/2023 Bitcoin                             0.00045105 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/31/2023 Bitcoin                             0.00043179 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/31/2023 Bitcoin                             0.00042923 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/17/2023 Bitcoin                             0.00042848 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/29/2023 Bitcoin                             0.00037873 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/22/2023 Bitcoin                             0.00035299 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/16/2023 Bitcoin                             0.00024308 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/20/2023 Bitcoin                             0.00016977 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/17/2023 Bitcoin                             0.00011938 Customer Transfer
 Confidential Customer Coin Transferee #13291   [Address on File]     5/16/2023 Bitcoin                             0.00009902 Customer Transfer
 Confidential Customer Coin Transferee #13292   [Address on File]     5/26/2023 Bitcoin                             0.00018599 Customer Transfer
 Confidential Customer Coin Transferee #13293   [Address on File]     5/25/2023 Bitcoin                              0.0326778 Customer Transfer
 Confidential Customer Coin Transferee #13294   [Address on File]     5/24/2023 Bitcoin                             0.02780222 Customer Transfer
 Confidential Customer Coin Transferee #13295   [Address on File]     6/20/2023 Bitcoin                             0.00034795 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/17/2023 Bitcoin                                0.02182153 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/30/2023 Bitcoin                                0.01826509 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/22/2023 Bitcoin                                 0.0154301 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/18/2023 Bitcoin                                0.01494237 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/17/2023 Bitcoin                                0.01200855 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/24/2023 Bitcoin                                0.01060498 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/22/2023 Bitcoin                                0.01001035 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/21/2023 Bitcoin                                0.00996418 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/19/2023 Bitcoin                                0.00866776 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/19/2023 Bitcoin                                0.00780309 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/16/2023 Bitcoin                                0.00707456 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/23/2023 Bitcoin                                0.00657037 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/21/2023 Bitcoin                                0.00617031 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/24/2023 Bitcoin                                0.00556687 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/18/2023 Bitcoin                                0.00548707 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/21/2023 Bitcoin                                0.00529253 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/25/2023 Bitcoin                                0.00503696 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/18/2023 Bitcoin                                0.00503166 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/18/2023 Bitcoin                                0.00502235 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/18/2023 Bitcoin                                0.00479818 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/17/2023 Bitcoin                                0.00469724 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/16/2023 Bitcoin                                0.00416861 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/20/2023 Bitcoin                                0.00399987 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/16/2023 Bitcoin                                 0.0024118 Customer Transfer

 Confidential Customer Coin Transferee #13296   [Address on File]     5/17/2023 Bitcoin                                0.00198604 Customer Transfer
 Confidential Customer Coin Transferee #13297   [Address on File]     6/20/2023 Bitcoin                                0.00104652 Customer Transfer
 Confidential Customer Coin Transferee #13298   [Address on File]     5/26/2023 Bitcoin                                0.01093118 Customer Transfer
 Confidential Customer Coin Transferee #13298   [Address on File]     5/24/2023 Bitcoin                                0.01055542 Customer Transfer
 Confidential Customer Coin Transferee #13298   [Address on File]     5/16/2023 Bitcoin                                0.01036883 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13299   [Address on File]     5/21/2023 Bitcoin                             0.00328743 Customer Transfer
 Confidential Customer Coin Transferee #13300   [Address on File]     6/20/2023 Bitcoin                             0.00005751 Customer Transfer
 Confidential Customer Coin Transferee #13301   [Address on File]     5/16/2023 Bitcoin                             0.04045542 Customer Transfer
 Confidential Customer Coin Transferee #13301   [Address on File]     6/12/2023 Bitcoin                             0.03000017 Customer Transfer
 Confidential Customer Coin Transferee #13301   [Address on File]     5/25/2023 Bitcoin                             0.02750656 Customer Transfer
 Confidential Customer Coin Transferee #13302   [Address on File]     5/17/2023 Bitcoin                             0.06212608 Customer Transfer
 Confidential Customer Coin Transferee #13302   [Address on File]     5/25/2023 Bitcoin                             0.01259688 Customer Transfer
 Confidential Customer Coin Transferee #13302   [Address on File]     5/17/2023 Bitcoin                              0.0006942 Customer Transfer
 Confidential Customer Coin Transferee #13303   [Address on File]     6/20/2023 Bitcoin                             0.00122973 Customer Transfer

 Confidential Customer Coin Transferee #13304   [Address on File]      6/8/2023 Bitcoin                                0.00685829 Customer Transfer
 Confidential Customer Coin Transferee #13305   [Address on File]     6/20/2023 Bitcoin                                0.00020983 Customer Transfer
 Confidential Customer Coin Transferee #13306   [Address on File]     5/24/2023 Bitcoin                                0.26352382 Customer Transfer
 Confidential Customer Coin Transferee #13307   [Address on File]     5/22/2023 Bitcoin                                0.01030134 Customer Transfer
 Confidential Customer Coin Transferee #13307   [Address on File]     5/26/2023 Bitcoin                                0.00595237 Customer Transfer
 Confidential Customer Coin Transferee #13307   [Address on File]     5/30/2023 Bitcoin                                0.00585145 Customer Transfer
 Confidential Customer Coin Transferee #13308   [Address on File]     6/20/2023 Bitcoin                                0.00006585 Customer Transfer
 Confidential Customer Coin Transferee #13309   [Address on File]      6/5/2023 USDC Solana)                                   10 Customer Transfer
 Confidential Customer Coin Transferee #13310   [Address on File]     6/21/2023 Bitcoin                                0.02665236 Customer Transfer

 Confidential Customer Coin Transferee #13311   [Address on File]      6/5/2023 Audius                                 26868.7624 Customer Transfer
 Confidential Customer Coin Transferee #13312   [Address on File]     5/19/2023 Bitcoin                                0.00443898 Customer Transfer
 Confidential Customer Coin Transferee #13313   [Address on File]     6/20/2023 USDC Avalanche)                        395.824613 Customer Transfer
 Confidential Customer Coin Transferee #13313   [Address on File]     5/20/2023 USDC Avalanche)                        197.281087 Customer Transfer
 Confidential Customer Coin Transferee #13314   [Address on File]     5/16/2023 Bitcoin                                0.01163588 Customer Transfer
 Confidential Customer Coin Transferee #13315   [Address on File]     6/19/2023 Bitcoin                                0.00069815 Customer Transfer
 Confidential Customer Coin Transferee #13316   [Address on File]     6/16/2023 Bitcoin                                0.00004303 Customer Transfer

 Confidential Customer Coin Transferee #13317   [Address on File]     6/11/2023 USDC Avalanche)                        464.487756 Customer Transfer
 Confidential Customer Coin Transferee #13318   [Address on File]     6/19/2023 Bitcoin                                0.00057845 Customer Transfer
 Confidential Customer Coin Transferee #13319   [Address on File]     6/19/2023 Bitcoin                                0.00425885 Customer Transfer
 Confidential Customer Coin Transferee #13320   [Address on File]     5/31/2023 Bitcoin                                0.01080175 Customer Transfer
 Confidential Customer Coin Transferee #13321   [Address on File]     5/30/2023 Bitcoin                                0.01995581 Customer Transfer
 Confidential Customer Coin Transferee #13322   [Address on File]     5/31/2023 Bitcoin                                0.06798898 Customer Transfer
 Confidential Customer Coin Transferee #13322   [Address on File]     5/19/2023 Bitcoin                                0.01972725 Customer Transfer
 Confidential Customer Coin Transferee #13323   [Address on File]     5/24/2023 Bitcoin                                0.00092981 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13323   [Address on File]     5/18/2023 Bitcoin                             0.00092951 Customer Transfer
 Confidential Customer Coin Transferee #13323   [Address on File]     5/28/2023 Bitcoin                             0.00091709 Customer Transfer
 Confidential Customer Coin Transferee #13323   [Address on File]     5/18/2023 Bitcoin                             0.00091167 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/26/2023 Bitcoin                             0.00140982 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/24/2023 Bitcoin                             0.00094639 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/25/2023 Bitcoin                             0.00093915 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/27/2023 Bitcoin                             0.00092982 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/18/2023 Bitcoin                             0.00092944 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/26/2023 Bitcoin                             0.00092835 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/19/2023 Bitcoin                             0.00092566 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/22/2023 Bitcoin                             0.00092562 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/21/2023 Bitcoin                             0.00092435 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/16/2023 Bitcoin                             0.00092138 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/20/2023 Bitcoin                             0.00091846 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/23/2023 Bitcoin                             0.00091497 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/17/2023 Bitcoin                             0.00090849 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/28/2023 Bitcoin                             0.00090181 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/29/2023 Bitcoin                             0.00089838 Customer Transfer
 Confidential Customer Coin Transferee #13324   [Address on File]     5/30/2023 Bitcoin                              0.0008946 Customer Transfer
 Confidential Customer Coin Transferee #13325   [Address on File]     5/31/2023 Bitcoin                             0.00731376 Customer Transfer
 Confidential Customer Coin Transferee #13326   [Address on File]     5/25/2023 Bitcoin                              0.0075366 Customer Transfer
 Confidential Customer Coin Transferee #13326   [Address on File]     5/18/2023 Bitcoin                             0.00365006 Customer Transfer
 Confidential Customer Coin Transferee #13327   [Address on File]     5/19/2023 Bitcoin                              0.0074021 Customer Transfer
 Confidential Customer Coin Transferee #13328   [Address on File]     5/26/2023 Bitcoin                             0.01484164 Customer Transfer
 Confidential Customer Coin Transferee #13329   [Address on File]     6/20/2023 Bitcoin                                0.000144 Customer Transfer
 Confidential Customer Coin Transferee #13330   [Address on File]     5/28/2023 Bitcoin                             0.01105863 Customer Transfer
 Confidential Customer Coin Transferee #13330   [Address on File]     5/18/2023 Bitcoin                             0.01041514 Customer Transfer
 Confidential Customer Coin Transferee #13331   [Address on File]     6/12/2023 Bitcoin                             0.00297678 Customer Transfer
 Confidential Customer Coin Transferee #13332   [Address on File]     5/24/2023 Bitcoin                             0.01040675 Customer Transfer
 Confidential Customer Coin Transferee #13332   [Address on File]     5/17/2023 Bitcoin                             0.00969606 Customer Transfer
 Confidential Customer Coin Transferee #13333   [Address on File]     6/20/2023 Bitcoin                             0.00860471 Customer Transfer
 Confidential Customer Coin Transferee #13334   [Address on File]     5/20/2023 Bitcoin                             0.00450633 Customer Transfer
 Confidential Customer Coin Transferee #13335   [Address on File]     5/23/2023 Bitcoin                             0.00183665 Customer Transfer
 Confidential Customer Coin Transferee #13335   [Address on File]     5/21/2023 Bitcoin                              0.0011094 Customer Transfer
 Confidential Customer Coin Transferee #13335   [Address on File]     5/20/2023 Bitcoin                              0.0001851 Customer Transfer
 Confidential Customer Coin Transferee #13336   [Address on File]      6/9/2023 Bitcoin                             0.00770716 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13337   [Address on File]     5/26/2023 Bitcoin                             0.00017139 Customer Transfer
 Confidential Customer Coin Transferee #13338   [Address on File]     5/18/2023 Bitcoin                             0.01182911 Customer Transfer
 Confidential Customer Coin Transferee #13339   [Address on File]     5/16/2023 Bitcoin                             0.00036756 Customer Transfer
 Confidential Customer Coin Transferee #13340   [Address on File]     5/24/2023 Bitcoin                             0.00180225 Customer Transfer
 Confidential Customer Coin Transferee #13340   [Address on File]     5/18/2023 Bitcoin                             0.00174909 Customer Transfer
 Confidential Customer Coin Transferee #13341   [Address on File]     5/28/2023 Bitcoin                             0.01035764 Customer Transfer
 Confidential Customer Coin Transferee #13342   [Address on File]     6/21/2023 Bitcoin                             0.00065241 Customer Transfer
 Confidential Customer Coin Transferee #13343   [Address on File]     5/24/2023 Bitcoin                              0.0107775 Customer Transfer
 Confidential Customer Coin Transferee #13344   [Address on File]     5/30/2023 Bitcoin                             0.01830672 Customer Transfer
 Confidential Customer Coin Transferee #13345   [Address on File]     5/24/2023 Bitcoin                              0.0209012 Customer Transfer
 Confidential Customer Coin Transferee #13346   [Address on File]     5/29/2023 Bitcoin                             0.00165631 Customer Transfer
 Confidential Customer Coin Transferee #13347   [Address on File]     5/19/2023 Bitcoin                             0.11032908 Customer Transfer
 Confidential Customer Coin Transferee #13347   [Address on File]     5/26/2023 Bitcoin                             0.08042555 Customer Transfer
 Confidential Customer Coin Transferee #13347   [Address on File]     5/22/2023 Bitcoin                             0.04727409 Customer Transfer
 Confidential Customer Coin Transferee #13347   [Address on File]     5/31/2023 Bitcoin                             0.03572659 Customer Transfer
 Confidential Customer Coin Transferee #13347   [Address on File]     5/28/2023 Bitcoin                              0.0259838 Customer Transfer
 Confidential Customer Coin Transferee #13347   [Address on File]     5/29/2023 Bitcoin                             0.01307347 Customer Transfer
 Confidential Customer Coin Transferee #13348   [Address on File]     5/17/2023 Bitcoin                             0.00726948 Customer Transfer
 Confidential Customer Coin Transferee #13348   [Address on File]     5/20/2023 Bitcoin                             0.00485806 Customer Transfer
 Confidential Customer Coin Transferee #13348   [Address on File]     5/20/2023 Bitcoin                             0.00029419 Customer Transfer
 Confidential Customer Coin Transferee #13349   [Address on File]     6/19/2023 Bitcoin                             0.00364222 Customer Transfer
 Confidential Customer Coin Transferee #13350   [Address on File]     5/31/2023 Bitcoin                             0.08154666 Customer Transfer
 Confidential Customer Coin Transferee #13350   [Address on File]     5/16/2023 Bitcoin                             0.07084988 Customer Transfer
 Confidential Customer Coin Transferee #13350   [Address on File]     5/21/2023 Bitcoin                              0.0703508 Customer Transfer
 Confidential Customer Coin Transferee #13350   [Address on File]     5/24/2023 Bitcoin                             0.03507157 Customer Transfer
 Confidential Customer Coin Transferee #13350   [Address on File]     5/23/2023 Bitcoin                             0.03506467 Customer Transfer
 Confidential Customer Coin Transferee #13350   [Address on File]     5/19/2023 Bitcoin                             0.03506211 Customer Transfer
 Confidential Customer Coin Transferee #13350   [Address on File]     5/19/2023 Bitcoin                             0.03499669 Customer Transfer
 Confidential Customer Coin Transferee #13350   [Address on File]     5/24/2023 Bitcoin                             0.03499652 Customer Transfer
 Confidential Customer Coin Transferee #13350   [Address on File]     5/24/2023 Bitcoin                              0.0349894 Customer Transfer
 Confidential Customer Coin Transferee #13350   [Address on File]     5/20/2023 Bitcoin                             0.03498815 Customer Transfer
 Confidential Customer Coin Transferee #13350   [Address on File]     5/19/2023 Bitcoin                             0.03498623 Customer Transfer
 Confidential Customer Coin Transferee #13351   [Address on File]     6/20/2023 Bitcoin                             0.00005806 Customer Transfer
 Confidential Customer Coin Transferee #13352   [Address on File]     5/16/2023 Bitcoin                             0.00369313 Customer Transfer
 Confidential Customer Coin Transferee #13353   [Address on File]     5/30/2023 Bitcoin                             0.02818844 Customer Transfer
 Confidential Customer Coin Transferee #13354   [Address on File]     5/25/2023 Bitcoin                              0.0264825 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13354   [Address on File]     5/25/2023 Bitcoin                                    0.026 Customer Transfer
 Confidential Customer Coin Transferee #13354   [Address on File]     5/24/2023 Bitcoin                             0.01765971 Customer Transfer
 Confidential Customer Coin Transferee #13354   [Address on File]     5/25/2023 Bitcoin                             0.01367627 Customer Transfer
 Confidential Customer Coin Transferee #13354   [Address on File]     5/23/2023 Bitcoin                             0.00754268 Customer Transfer
 Confidential Customer Coin Transferee #13354   [Address on File]     5/25/2023 Bitcoin                             0.00305806 Customer Transfer
 Confidential Customer Coin Transferee #13355   [Address on File]     5/20/2023 Bitcoin                             0.00347479 Customer Transfer
 Confidential Customer Coin Transferee #13356   [Address on File]     5/26/2023 Bitcoin                                    0.224 Customer Transfer
 Confidential Customer Coin Transferee #13356   [Address on File]     5/18/2023 Bitcoin                                    0.219 Customer Transfer
 Confidential Customer Coin Transferee #13356   [Address on File]     5/21/2023 Bitcoin                                     0.21 Customer Transfer
 Confidential Customer Coin Transferee #13356   [Address on File]     5/30/2023 Bitcoin                                    0.108 Customer Transfer
 Confidential Customer Coin Transferee #13356   [Address on File]     5/21/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #13357   [Address on File]     5/17/2023 Bitcoin                             0.00731234 Customer Transfer
 Confidential Customer Coin Transferee #13358   [Address on File]     5/25/2023 Bitcoin                             0.00625558 Customer Transfer
 Confidential Customer Coin Transferee #13359   [Address on File]     5/27/2023 Bitcoin                             0.00174247 Customer Transfer
 Confidential Customer Coin Transferee #13360   [Address on File]     5/24/2023 Bitcoin                             0.00377468 Customer Transfer
 Confidential Customer Coin Transferee #13360   [Address on File]     5/19/2023 Bitcoin                             0.00370507 Customer Transfer
 Confidential Customer Coin Transferee #13360   [Address on File]     5/28/2023 Bitcoin                             0.00370086 Customer Transfer
 Confidential Customer Coin Transferee #13360   [Address on File]     5/28/2023 Bitcoin                             0.00182936 Customer Transfer
 Confidential Customer Coin Transferee #13361   [Address on File]     5/26/2023 Bitcoin                             0.06882453 Customer Transfer
 Confidential Customer Coin Transferee #13361   [Address on File]     5/16/2023 Bitcoin                             0.01045126 Customer Transfer
 Confidential Customer Coin Transferee #13362   [Address on File]     6/19/2023 Bitcoin                             0.00005833 Customer Transfer
 Confidential Customer Coin Transferee #13363   [Address on File]     5/29/2023 Bitcoin                                     0.21 Customer Transfer
 Confidential Customer Coin Transferee #13364   [Address on File]     5/22/2023 Bitcoin                             0.01085746 Customer Transfer
 Confidential Customer Coin Transferee #13364   [Address on File]     5/22/2023 Bitcoin                             0.00111144 Customer Transfer
 Confidential Customer Coin Transferee #13365   [Address on File]     5/20/2023 Bitcoin                                     0.14 Customer Transfer
 Confidential Customer Coin Transferee #13365   [Address on File]     5/21/2023 Bitcoin                              0.1154659 Customer Transfer
 Confidential Customer Coin Transferee #13365   [Address on File]     5/20/2023 Bitcoin                             0.03079016 Customer Transfer
 Confidential Customer Coin Transferee #13366   [Address on File]      6/1/2023 Bitcoin                                0.000915 Customer Transfer
 Confidential Customer Coin Transferee #13367   [Address on File]     5/24/2023 Bitcoin                             0.01514659 Customer Transfer
 Confidential Customer Coin Transferee #13367   [Address on File]     5/24/2023 Bitcoin                             0.01506586 Customer Transfer
 Confidential Customer Coin Transferee #13367   [Address on File]     5/30/2023 Bitcoin                             0.00358359 Customer Transfer
 Confidential Customer Coin Transferee #13367   [Address on File]     5/25/2023 Bitcoin                             0.00264513 Customer Transfer
 Confidential Customer Coin Transferee #13367   [Address on File]     5/24/2023 Bitcoin                             0.00263853 Customer Transfer
 Confidential Customer Coin Transferee #13367   [Address on File]     5/27/2023 Bitcoin                              0.0018715 Customer Transfer
 Confidential Customer Coin Transferee #13367   [Address on File]     5/27/2023 Bitcoin                             0.00110774 Customer Transfer
 Confidential Customer Coin Transferee #13367   [Address on File]     5/27/2023 Bitcoin                             0.00037206 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13368   [Address on File]     5/31/2023 Bitcoin                             0.00360798 Customer Transfer
 Confidential Customer Coin Transferee #13369   [Address on File]     5/18/2023 Bitcoin                             0.05546411 Customer Transfer
 Confidential Customer Coin Transferee #13370   [Address on File]     5/26/2023 Bitcoin                                0.024478 Customer Transfer
 Confidential Customer Coin Transferee #13371   [Address on File]     5/18/2023 Bitcoin                             0.01866998 Customer Transfer
 Confidential Customer Coin Transferee #13372   [Address on File]     5/23/2023 Bitcoin                             0.00588589 Customer Transfer
 Confidential Customer Coin Transferee #13373   [Address on File]     5/17/2023 Bitcoin                             0.00114585 Customer Transfer
 Confidential Customer Coin Transferee #13373   [Address on File]     5/20/2023 Bitcoin                             0.00073856 Customer Transfer
 Confidential Customer Coin Transferee #13373   [Address on File]     5/25/2023 Bitcoin                             0.00041646 Customer Transfer
 Confidential Customer Coin Transferee #13374   [Address on File]     5/19/2023 Bitcoin                             0.00740207 Customer Transfer
 Confidential Customer Coin Transferee #13375   [Address on File]     5/22/2023 Bitcoin                             0.00184581 Customer Transfer
 Confidential Customer Coin Transferee #13376   [Address on File]     6/19/2023 Bitcoin                             0.00014206 Customer Transfer
 Confidential Customer Coin Transferee #13377   [Address on File]     5/25/2023 Bitcoin                             0.00185965 Customer Transfer
 Confidential Customer Coin Transferee #13378   [Address on File]     6/19/2023 Bitcoin                             0.00414154 Customer Transfer
 Confidential Customer Coin Transferee #13379   [Address on File]     6/20/2023 Bitcoin                             0.00623543 Customer Transfer
 Confidential Customer Coin Transferee #13380   [Address on File]     6/19/2023 Bitcoin                             0.00006052 Customer Transfer
 Confidential Customer Coin Transferee #13381   [Address on File]     6/19/2023 Bitcoin                             0.00262557 Customer Transfer

 Confidential Customer Coin Transferee #13382   [Address on File]     5/16/2023 USD Coin                                      3000 Customer Transfer
 Confidential Customer Coin Transferee #13383   [Address on File]     6/20/2023 Bitcoin                                0.00005836 Customer Transfer
 Confidential Customer Coin Transferee #13384   [Address on File]     5/18/2023 Bitcoin                                0.02095924 Customer Transfer
 Confidential Customer Coin Transferee #13385   [Address on File]     5/18/2023 Bitcoin                                0.05302814 Customer Transfer
 Confidential Customer Coin Transferee #13386   [Address on File]     6/19/2023 Bitcoin                                 0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #13387   [Address on File]     5/17/2023 Bitcoin                                0.01008206 Customer Transfer
 Confidential Customer Coin Transferee #13388   [Address on File]     5/19/2023 Bitcoin                                0.00362048 Customer Transfer
 Confidential Customer Coin Transferee #13388   [Address on File]     6/12/2023 Bitcoin                                0.00188634 Customer Transfer
 Confidential Customer Coin Transferee #13388   [Address on File]      6/2/2023 Bitcoin                                0.00183773 Customer Transfer
 Confidential Customer Coin Transferee #13389   [Address on File]     6/19/2023 Bitcoin                                0.02404532 Customer Transfer
 Confidential Customer Coin Transferee #13390   [Address on File]     5/23/2023 Bitcoin                                0.18141032 Customer Transfer
 Confidential Customer Coin Transferee #13391   [Address on File]     6/19/2023 Bitcoin                                0.00006005 Customer Transfer
 Confidential Customer Coin Transferee #13392   [Address on File]     6/20/2023 Bitcoin                                0.00022452 Customer Transfer
 Confidential Customer Coin Transferee #13393   [Address on File]     5/22/2023 Bitcoin                                0.00184721 Customer Transfer
 Confidential Customer Coin Transferee #13394   [Address on File]     6/19/2023 Bitcoin                                0.00036538 Customer Transfer
 Confidential Customer Coin Transferee #13395   [Address on File]     6/12/2023 Bitcoin                                0.00383884 Customer Transfer
 Confidential Customer Coin Transferee #13396   [Address on File]     5/24/2023 Bitcoin                                    0.02921 Customer Transfer
 Confidential Customer Coin Transferee #13397   [Address on File]     6/20/2023 Bitcoin                                0.00035139 Customer Transfer
 Confidential Customer Coin Transferee #13398   [Address on File]     6/19/2023 Bitcoin                                0.03347289 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13399   [Address on File]     6/21/2023 Bitcoin                             0.00043572 Customer Transfer
 Confidential Customer Coin Transferee #13400   [Address on File]     6/20/2023 Bitcoin                             0.00371539 Customer Transfer
 Confidential Customer Coin Transferee #13400   [Address on File]     5/16/2023 Bitcoin                             0.00339104 Customer Transfer
 Confidential Customer Coin Transferee #13400   [Address on File]     5/22/2023 Bitcoin                             0.00267556 Customer Transfer
 Confidential Customer Coin Transferee #13400   [Address on File]      6/6/2023 Bitcoin                             0.00257933 Customer Transfer
 Confidential Customer Coin Transferee #13400   [Address on File]     5/26/2023 Bitcoin                             0.00232372 Customer Transfer
 Confidential Customer Coin Transferee #13401   [Address on File]     5/27/2023 Bitcoin                             0.00258763 Customer Transfer
 Confidential Customer Coin Transferee #13401   [Address on File]     5/20/2023 Bitcoin                             0.00245319 Customer Transfer
 Confidential Customer Coin Transferee #13402   [Address on File]     6/20/2023 Bitcoin                             0.01726396 Customer Transfer
 Confidential Customer Coin Transferee #13403   [Address on File]     6/19/2023 Bitcoin                             0.00005826 Customer Transfer
 Confidential Customer Coin Transferee #13404   [Address on File]     5/22/2023 Bitcoin                             0.00731979 Customer Transfer
 Confidential Customer Coin Transferee #13405   [Address on File]      6/8/2023 Bitcoin                              0.0007156 Customer Transfer
 Confidential Customer Coin Transferee #13406   [Address on File]     5/18/2023 Bitcoin                             0.00157167 Customer Transfer
 Confidential Customer Coin Transferee #13407   [Address on File]     5/17/2023 Bitcoin                                   0.0045 Customer Transfer
 Confidential Customer Coin Transferee #13407   [Address on File]     5/19/2023 Bitcoin                                   0.0033 Customer Transfer
 Confidential Customer Coin Transferee #13408   [Address on File]     6/20/2023 Bitcoin                             0.00535919 Customer Transfer
 Confidential Customer Coin Transferee #13409   [Address on File]     6/20/2023 Bitcoin                             0.00416774 Customer Transfer
 Confidential Customer Coin Transferee #13410   [Address on File]     6/19/2023 Bitcoin                             0.00347054 Customer Transfer
 Confidential Customer Coin Transferee #13411   [Address on File]     6/19/2023 Bitcoin                             0.00004217 Customer Transfer
 Confidential Customer Coin Transferee #13412   [Address on File]     5/19/2023 Bitcoin                             0.00463004 Customer Transfer
 Confidential Customer Coin Transferee #13412   [Address on File]     5/19/2023 Bitcoin                             0.00406137 Customer Transfer
 Confidential Customer Coin Transferee #13412   [Address on File]     5/17/2023 Bitcoin                             0.00374696 Customer Transfer
 Confidential Customer Coin Transferee #13412   [Address on File]     5/20/2023 Bitcoin                             0.00370405 Customer Transfer
 Confidential Customer Coin Transferee #13412   [Address on File]     5/16/2023 Bitcoin                             0.00147024 Customer Transfer
 Confidential Customer Coin Transferee #13412   [Address on File]     5/18/2023 Bitcoin                             0.00109526 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/31/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/18/2023 Bitcoin                             0.00074126 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/20/2023 Bitcoin                             0.00074024 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/20/2023 Bitcoin                             0.00074017 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/31/2023 Bitcoin                             0.00047668 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/25/2023 Bitcoin                             0.00037589 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/19/2023 Bitcoin                             0.00037085 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/19/2023 Bitcoin                             0.00036987 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/31/2023 Bitcoin                             0.00036896 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/21/2023 Bitcoin                             0.00036532 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/23/2023 Bitcoin                                0.000326 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/19/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/19/2023 Bitcoin                                 0.00024 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/19/2023 Bitcoin                             0.00020282 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/23/2023 Bitcoin                             0.00020011 Customer Transfer
 Confidential Customer Coin Transferee #13413   [Address on File]     5/23/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #13414   [Address on File]     5/20/2023 Bitcoin                             0.00070304 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/28/2023 Bitcoin                             0.00547457 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/27/2023 Bitcoin                             0.00408386 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/18/2023 Bitcoin                              0.0038125 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/27/2023 Bitcoin                              0.0037122 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/24/2023 Bitcoin                             0.00292752 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/28/2023 Bitcoin                             0.00275874 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/25/2023 Bitcoin                             0.00188057 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/25/2023 Bitcoin                             0.00187841 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/27/2023 Bitcoin                              0.0018644 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/29/2023 Bitcoin                             0.00176914 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/19/2023 Bitcoin                             0.00166511 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/26/2023 Bitcoin                             0.00150493 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/24/2023 Bitcoin                             0.00113242 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/22/2023 Bitcoin                             0.00111957 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/16/2023 Bitcoin                             0.00110381 Customer Transfer
 Confidential Customer Coin Transferee #13415   [Address on File]     5/20/2023 Bitcoin                                0.001103 Customer Transfer
 Confidential Customer Coin Transferee #13416   [Address on File]     6/20/2023 Bitcoin                             0.00070953 Customer Transfer
 Confidential Customer Coin Transferee #13417   [Address on File]     5/17/2023 Bitcoin                             0.01050874 Customer Transfer
 Confidential Customer Coin Transferee #13418   [Address on File]     6/20/2023 Bitcoin                             0.00005879 Customer Transfer
 Confidential Customer Coin Transferee #13419   [Address on File]     5/22/2023 Bitcoin                             0.05089981 Customer Transfer
 Confidential Customer Coin Transferee #13420   [Address on File]     6/20/2023 Bitcoin                              0.0011497 Customer Transfer
 Confidential Customer Coin Transferee #13421   [Address on File]      6/3/2023 USDC Avalanche)                              20.9 Customer Transfer
 Confidential Customer Coin Transferee #13421   [Address on File]     5/17/2023 USDC Avalanche)                               3.9 Customer Transfer
 Confidential Customer Coin Transferee #13421   [Address on File]      6/7/2023 Solana                              1.20432813 Customer Transfer
 Confidential Customer Coin Transferee #13421   [Address on File]     5/19/2023 Solana                              0.92480468 Customer Transfer
 Confidential Customer Coin Transferee #13421   [Address on File]      6/5/2023 Avalanche CChain)                   0.60801192 Customer Transfer
 Confidential Customer Coin Transferee #13421   [Address on File]     5/18/2023 Ether                               0.00490743 Customer Transfer
 Confidential Customer Coin Transferee #13421   [Address on File]     5/24/2023 Bitcoin                             0.00074496 Customer Transfer
 Confidential Customer Coin Transferee #13422   [Address on File]     6/19/2023 Bitcoin                             0.00480305 Customer Transfer
 Confidential Customer Coin Transferee #13423   [Address on File]     6/14/2023 USDC Avalanche)                     197.320803 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count          or Transfer

 Confidential Customer Coin Transferee #13424   [Address on File]     6/20/2023 Bitcoin                                0.01336046 Customer Transfer
 Confidential Customer Coin Transferee #13425   [Address on File]     5/20/2023 Bitcoin                                0.00369596 Customer Transfer
 Confidential Customer Coin Transferee #13426   [Address on File]     6/20/2023 Bitcoin                                0.00005969 Customer Transfer
 Confidential Customer Coin Transferee #13427   [Address on File]     6/12/2023 Bitcoin                                0.00210495 Customer Transfer
 Confidential Customer Coin Transferee #13427   [Address on File]     5/16/2023 Bitcoin                                0.00178354 Customer Transfer
 Confidential Customer Coin Transferee #13428   [Address on File]     5/19/2023 Bitcoin                                     0.0075 Customer Transfer
 Confidential Customer Coin Transferee #13429   [Address on File]     6/16/2023 Tether USD                                  690.38 Customer Transfer
 Confidential Customer Coin Transferee #13430   [Address on File]     6/14/2023 Tether USD                             10426.8495 Customer Transfer
 Confidential Customer Coin Transferee #13431   [Address on File]     5/19/2023 Bitcoin                                0.00674433 Customer Transfer
 Confidential Customer Coin Transferee #13432   [Address on File]     5/29/2023 Bitcoin                                0.02677876 Customer Transfer
 Confidential Customer Coin Transferee #13433   [Address on File]      6/9/2023 Bitcoin                                0.00690123 Customer Transfer
 Confidential Customer Coin Transferee #13434   [Address on File]     6/19/2023 Bitcoin                                0.00017728 Customer Transfer
 Confidential Customer Coin Transferee #13435   [Address on File]     5/22/2023 Bitcoin                                0.00565001 Customer Transfer
 Confidential Customer Coin Transferee #13436   [Address on File]     5/30/2023 Bitcoin                                0.02242119 Customer Transfer
 Confidential Customer Coin Transferee #13437   [Address on File]     5/24/2023 Bitcoin                                0.01891676 Customer Transfer
 Confidential Customer Coin Transferee #13437   [Address on File]     5/17/2023 Bitcoin                                0.00183743 Customer Transfer
 Confidential Customer Coin Transferee #13438   [Address on File]     5/27/2023 Bitcoin                                0.00279647 Customer Transfer
 Confidential Customer Coin Transferee #13439   [Address on File]     5/23/2023 Bitcoin                                 0.0014207 Customer Transfer
 Confidential Customer Coin Transferee #13440   [Address on File]     5/18/2023 Bitcoin                                0.03710721 Customer Transfer
 Confidential Customer Coin Transferee #13441   [Address on File]     5/19/2023 Bitcoin                                0.08256205 Customer Transfer
 Confidential Customer Coin Transferee #13441   [Address on File]     5/16/2023 Bitcoin                                0.00172123 Customer Transfer
 Confidential Customer Coin Transferee #13442   [Address on File]      6/9/2023 Bitcoin                                0.02178225 Customer Transfer
 Confidential Customer Coin Transferee #13442   [Address on File]     6/19/2023 Bitcoin                                0.00390127 Customer Transfer
 Confidential Customer Coin Transferee #13443   [Address on File]     5/25/2023 Bitcoin                                 0.0279618 Customer Transfer
 Confidential Customer Coin Transferee #13444   [Address on File]     5/17/2023 Bitcoin                                0.06263676 Customer Transfer
 Confidential Customer Coin Transferee #13445   [Address on File]     5/24/2023 Bitcoin                                0.00201417 Customer Transfer
 Confidential Customer Coin Transferee #13445   [Address on File]     5/29/2023 Bitcoin                                0.00162493 Customer Transfer
 Confidential Customer Coin Transferee #13445   [Address on File]     5/27/2023 Bitcoin                                0.00130263 Customer Transfer
 Confidential Customer Coin Transferee #13445   [Address on File]     5/17/2023 Bitcoin                                0.00128935 Customer Transfer
 Confidential Customer Coin Transferee #13445   [Address on File]     5/25/2023 Bitcoin                                0.00113167 Customer Transfer
 Confidential Customer Coin Transferee #13445   [Address on File]     5/27/2023 Bitcoin                                0.00111343 Customer Transfer
 Confidential Customer Coin Transferee #13445   [Address on File]     5/26/2023 Bitcoin                                0.00081585 Customer Transfer
 Confidential Customer Coin Transferee #13445   [Address on File]     5/31/2023 Bitcoin                                0.00078805 Customer Transfer
 Confidential Customer Coin Transferee #13445   [Address on File]     5/17/2023 Bitcoin                                0.00072822 Customer Transfer
 Confidential Customer Coin Transferee #13445   [Address on File]     5/18/2023 Bitcoin                                0.00049393 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/25/2023 Bitcoin                             0.00378042 Customer Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/24/2023 Bitcoin                             0.00377535 Customer Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/19/2023 Bitcoin                             0.00369894 Customer Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/20/2023 Bitcoin                             0.00369749 Customer Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/20/2023 Bitcoin                             0.00368111 Customer Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/17/2023 Bitcoin                             0.00362763 Customer Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/19/2023 Bitcoin                             0.00270971 Customer Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/17/2023 Bitcoin                                  0.0022 Customer Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/19/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/18/2023 Bitcoin                                  0.0019 Customer Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/17/2023 Bitcoin                             0.00152958 Customer Transfer
 Confidential Customer Coin Transferee #13446   [Address on File]     5/18/2023 Bitcoin                              0.0007386 Customer Transfer
 Confidential Customer Coin Transferee #13447   [Address on File]     5/24/2023 Bitcoin                                  0.0075 Customer Transfer
 Confidential Customer Coin Transferee #13447   [Address on File]     5/21/2023 Bitcoin                             0.00746136 Customer Transfer
 Confidential Customer Coin Transferee #13447   [Address on File]     5/19/2023 Bitcoin                                  0.0064 Customer Transfer
 Confidential Customer Coin Transferee #13448   [Address on File]     5/30/2023 Bitcoin                             0.00558248 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/29/2023 Bitcoin                             0.00695241 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/29/2023 Bitcoin                             0.00695231 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/30/2023 Bitcoin                             0.00694688 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/29/2023 Bitcoin                             0.00692961 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/29/2023 Bitcoin                              0.0056481 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/29/2023 Bitcoin                             0.00520578 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/29/2023 Bitcoin                             0.00518614 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/29/2023 Bitcoin                             0.00399454 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/27/2023 Bitcoin                             0.00252782 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/26/2023 Bitcoin                             0.00162788 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/26/2023 Bitcoin                             0.00159125 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/26/2023 Bitcoin                             0.00143149 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/26/2023 Bitcoin                             0.00137065 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/30/2023 Bitcoin                             0.00089632 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/26/2023 Bitcoin                             0.00074389 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/30/2023 Bitcoin                             0.00062374 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/25/2023 Bitcoin                             0.00059554 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/27/2023 Bitcoin                             0.00054927 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/26/2023 Bitcoin                             0.00051935 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/30/2023 Bitcoin                             0.00048362 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/26/2023 Bitcoin                             0.00043244 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/26/2023 Bitcoin                             0.00039717 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/26/2023 Bitcoin                             0.00038945 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/25/2023 Bitcoin                             0.00037585 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/30/2023 Bitcoin                             0.00035047 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/30/2023 Bitcoin                             0.00029013 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/25/2023 Bitcoin                             0.00028168 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/25/2023 Bitcoin                             0.00024618 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/25/2023 Bitcoin                             0.00020838 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/25/2023 Bitcoin                             0.00019814 Customer Transfer
 Confidential Customer Coin Transferee #13449   [Address on File]     5/25/2023 Bitcoin                             0.00018939 Customer Transfer
 Confidential Customer Coin Transferee #13450   [Address on File]     5/18/2023 Bitcoin                              0.0072237 Customer Transfer
 Confidential Customer Coin Transferee #13451   [Address on File]     6/20/2023 Bitcoin                             0.00300216 Customer Transfer
 Confidential Customer Coin Transferee #13452   [Address on File]     6/20/2023 Bitcoin                             0.00067373 Customer Transfer
 Confidential Customer Coin Transferee #13453   [Address on File]     6/20/2023 Bitcoin                             0.00063897 Customer Transfer
 Confidential Customer Coin Transferee #13454   [Address on File]     5/27/2023 Bitcoin                             0.01826157 Customer Transfer
 Confidential Customer Coin Transferee #13455   [Address on File]     6/20/2023 Bitcoin                             0.00004226 Customer Transfer
 Confidential Customer Coin Transferee #13456   [Address on File]     5/22/2023 Bitcoin                              0.0003787 Customer Transfer
 Confidential Customer Coin Transferee #13456   [Address on File]     5/29/2023 Bitcoin                             0.00037147 Customer Transfer
 Confidential Customer Coin Transferee #13457   [Address on File]     5/25/2023 Bitcoin                             0.05083095 Customer Transfer
 Confidential Customer Coin Transferee #13458   [Address on File]     6/19/2023 Bitcoin                              0.0037515 Customer Transfer
 Confidential Customer Coin Transferee #13459   [Address on File]     5/23/2023 Bitcoin                             0.06032284 Customer Transfer
 Confidential Customer Coin Transferee #13460   [Address on File]     6/20/2023 Bitcoin                             0.00289055 Customer Transfer

 Confidential Customer Coin Transferee #13461   [Address on File]      6/8/2023 Bitcoin                                 0.0097337 Customer Transfer
 Confidential Customer Coin Transferee #13462   [Address on File]     6/20/2023 Bitcoin                                0.01180996 Customer Transfer
 Confidential Customer Coin Transferee #13463   [Address on File]     6/20/2023 Bitcoin                                0.00118716 Customer Transfer
 Confidential Customer Coin Transferee #13464   [Address on File]     6/20/2023 Bitcoin                                0.01534701 Customer Transfer
 Confidential Customer Coin Transferee #13465   [Address on File]     5/29/2023 Bitcoin                                0.03228391 Customer Transfer
 Confidential Customer Coin Transferee #13466   [Address on File]     6/20/2023 Bitcoin                                0.00070912 Customer Transfer
 Confidential Customer Coin Transferee #13467   [Address on File]     5/28/2023 Bitcoin                                0.03600048 Customer Transfer
 Confidential Customer Coin Transferee #13467   [Address on File]     5/19/2023 Bitcoin                                0.00568248 Customer Transfer
 Confidential Customer Coin Transferee #13467   [Address on File]     5/24/2023 Bitcoin                                0.00462101 Customer Transfer
 Confidential Customer Coin Transferee #13467   [Address on File]     5/25/2023 Bitcoin                                0.00381124 Customer Transfer
 Confidential Customer Coin Transferee #13467   [Address on File]     5/21/2023 Bitcoin                                0.00371963 Customer Transfer
 Confidential Customer Coin Transferee #13467   [Address on File]     5/16/2023 Bitcoin                                0.00366108 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13467   [Address on File]     5/17/2023 Bitcoin                             0.00183889 Customer Transfer
 Confidential Customer Coin Transferee #13467   [Address on File]     5/29/2023 Bitcoin                             0.00089019 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/24/2023 Bitcoin                             0.00254728 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/24/2023 Bitcoin                             0.00205269 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/17/2023 Bitcoin                             0.00194154 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/24/2023 Bitcoin                             0.00179589 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/24/2023 Bitcoin                             0.00179064 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/24/2023 Bitcoin                             0.00178845 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/24/2023 Bitcoin                             0.00171251 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/24/2023 Bitcoin                             0.00149383 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/25/2023 Bitcoin                             0.00146836 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/24/2023 Bitcoin                             0.00125751 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/23/2023 Bitcoin                             0.00117297 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/16/2023 Bitcoin                             0.00114245 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/24/2023 Bitcoin                             0.00108792 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/18/2023 Bitcoin                             0.00108081 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/19/2023 Bitcoin                             0.00107047 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/19/2023 Bitcoin                             0.00105229 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/27/2023 Bitcoin                             0.00098627 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/17/2023 Bitcoin                             0.00097787 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/24/2023 Bitcoin                             0.00097454 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/26/2023 Bitcoin                             0.00093385 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/27/2023 Bitcoin                              0.0009315 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/26/2023 Bitcoin                              0.0009068 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/22/2023 Bitcoin                             0.00089176 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/16/2023 Bitcoin                             0.00088009 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/22/2023 Bitcoin                             0.00087876 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/26/2023 Bitcoin                             0.00080421 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/31/2023 Bitcoin                             0.00075857 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/31/2023 Bitcoin                             0.00075818 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/23/2023 Bitcoin                              0.0007572 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/26/2023 Bitcoin                             0.00075198 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/28/2023 Bitcoin                             0.00073753 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/28/2023 Bitcoin                             0.00071738 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/24/2023 Bitcoin                             0.00066595 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/17/2023 Bitcoin                             0.00057514 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/21/2023 Bitcoin                             0.00056949 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/23/2023 Bitcoin                             0.00055635 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/22/2023 Bitcoin                              0.0004945 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/27/2023 Bitcoin                             0.00046441 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/22/2023 Bitcoin                             0.00044731 Customer Transfer
 Confidential Customer Coin Transferee #13468   [Address on File]     5/16/2023 Bitcoin                             0.00040593 Customer Transfer
 Confidential Customer Coin Transferee #13469   [Address on File]     5/24/2023 Bitcoin                                   0.018 Customer Transfer
 Confidential Customer Coin Transferee #13469   [Address on File]     5/29/2023 Bitcoin                                  0.0055 Customer Transfer
 Confidential Customer Coin Transferee #13470   [Address on File]     5/17/2023 Bitcoin                             0.00476074 Customer Transfer
 Confidential Customer Coin Transferee #13470   [Address on File]     5/19/2023 Bitcoin                             0.00205446 Customer Transfer
 Confidential Customer Coin Transferee #13470   [Address on File]     5/23/2023 Bitcoin                             0.00187472 Customer Transfer
 Confidential Customer Coin Transferee #13470   [Address on File]     5/17/2023 Bitcoin                             0.00113593 Customer Transfer
 Confidential Customer Coin Transferee #13471   [Address on File]     6/20/2023 Bitcoin                             0.00006028 Customer Transfer
 Confidential Customer Coin Transferee #13472   [Address on File]     6/20/2023 Bitcoin                              0.0005794 Customer Transfer
 Confidential Customer Coin Transferee #13473   [Address on File]     5/16/2023 Bitcoin                             0.00025773 Customer Transfer
 Confidential Customer Coin Transferee #13474   [Address on File]     5/31/2023 Bitcoin                             0.00183387 Customer Transfer
 Confidential Customer Coin Transferee #13475   [Address on File]     6/20/2023 Bitcoin                             0.00035091 Customer Transfer
 Confidential Customer Coin Transferee #13476   [Address on File]     6/20/2023 Bitcoin                             0.00081847 Customer Transfer
 Confidential Customer Coin Transferee #13477   [Address on File]     5/31/2023 Bitcoin                             0.00770841 Customer Transfer
 Confidential Customer Coin Transferee #13477   [Address on File]     5/17/2023 Bitcoin                             0.00190737 Customer Transfer
 Confidential Customer Coin Transferee #13478   [Address on File]      6/9/2023 Bitcoin                             0.01555596 Customer Transfer
 Confidential Customer Coin Transferee #13479   [Address on File]     5/21/2023 Bitcoin                             0.01534637 Customer Transfer

 Confidential Customer Coin Transferee #13480   [Address on File]      6/1/2023 Bitcoin                                   0.129949 Customer Transfer
 Confidential Customer Coin Transferee #13481   [Address on File]     5/17/2023 Bitcoin                                0.01091168 Customer Transfer
 Confidential Customer Coin Transferee #13481   [Address on File]     5/25/2023 Bitcoin                                0.00755031 Customer Transfer
 Confidential Customer Coin Transferee #13481   [Address on File]     5/31/2023 Bitcoin                                0.00359868 Customer Transfer
 Confidential Customer Coin Transferee #13482   [Address on File]     6/12/2023 Bitcoin                                0.00040369 Customer Transfer
 Confidential Customer Coin Transferee #13483   [Address on File]     5/19/2023 Bitcoin                                0.01703706 Customer Transfer
 Confidential Customer Coin Transferee #13484   [Address on File]     5/22/2023 Bitcoin                                 0.0018246 Customer Transfer
 Confidential Customer Coin Transferee #13485   [Address on File]      6/1/2023 Bitcoin                                0.00913926 Customer Transfer
 Confidential Customer Coin Transferee #13485   [Address on File]     6/22/2023 Bitcoin                                0.00549248 Customer Transfer
 Confidential Customer Coin Transferee #13485   [Address on File]     5/26/2023 Bitcoin                                0.00178526 Customer Transfer
 Confidential Customer Coin Transferee #13485   [Address on File]     5/16/2023 Bitcoin                                0.00173569 Customer Transfer
 Confidential Customer Coin Transferee #13486   [Address on File]     5/19/2023 Bitcoin                                0.00369782 Customer Transfer
 Confidential Customer Coin Transferee #13487   [Address on File]     5/29/2023 Bitcoin                                    0.00025 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13488   [Address on File]     5/22/2023 Bitcoin                                 0.00134 Customer Transfer
 Confidential Customer Coin Transferee #13489   [Address on File]     5/24/2023 Bitcoin                             0.00185975 Customer Transfer
 Confidential Customer Coin Transferee #13489   [Address on File]     5/31/2023 Bitcoin                             0.00139838 Customer Transfer
 Confidential Customer Coin Transferee #13489   [Address on File]     5/19/2023 Bitcoin                             0.00092539 Customer Transfer
 Confidential Customer Coin Transferee #13490   [Address on File]     5/23/2023 Bitcoin                             0.00287021 Customer Transfer
 Confidential Customer Coin Transferee #13491   [Address on File]     5/27/2023 Bitcoin                                0.007622 Customer Transfer
 Confidential Customer Coin Transferee #13491   [Address on File]     5/28/2023 Bitcoin                                0.007443 Customer Transfer
 Confidential Customer Coin Transferee #13492   [Address on File]     5/20/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #13493   [Address on File]     5/22/2023 Bitcoin                             0.00369356 Customer Transfer
 Confidential Customer Coin Transferee #13494   [Address on File]     5/25/2023 Bitcoin                             0.01285515 Customer Transfer
 Confidential Customer Coin Transferee #13495   [Address on File]     5/19/2023 Bitcoin                             0.00370304 Customer Transfer
 Confidential Customer Coin Transferee #13495   [Address on File]     5/19/2023 Bitcoin                             0.00369253 Customer Transfer
 Confidential Customer Coin Transferee #13495   [Address on File]     5/24/2023 Bitcoin                             0.00188785 Customer Transfer
 Confidential Customer Coin Transferee #13495   [Address on File]     5/18/2023 Bitcoin                             0.00187967 Customer Transfer
 Confidential Customer Coin Transferee #13495   [Address on File]     5/22/2023 Bitcoin                             0.00186621 Customer Transfer
 Confidential Customer Coin Transferee #13496   [Address on File]     6/20/2023 Bitcoin                             0.00006169 Customer Transfer
 Confidential Customer Coin Transferee #13497   [Address on File]     5/24/2023 Bitcoin                             0.00132111 Customer Transfer
 Confidential Customer Coin Transferee #13498   [Address on File]     5/27/2023 Bitcoin                                    0.225 Customer Transfer
 Confidential Customer Coin Transferee #13498   [Address on File]     5/18/2023 Bitcoin                                    0.219 Customer Transfer
 Confidential Customer Coin Transferee #13498   [Address on File]     5/20/2023 Bitcoin                                    0.112 Customer Transfer
 Confidential Customer Coin Transferee #13498   [Address on File]     5/29/2023 Bitcoin                             0.05947154 Customer Transfer
 Confidential Customer Coin Transferee #13499   [Address on File]     5/17/2023 Bitcoin                                0.008799 Customer Transfer
 Confidential Customer Coin Transferee #13500   [Address on File]     5/17/2023 Bitcoin                             0.01770391 Customer Transfer
 Confidential Customer Coin Transferee #13501   [Address on File]     6/19/2023 Bitcoin                             0.00757895 Customer Transfer
 Confidential Customer Coin Transferee #13502   [Address on File]     5/19/2023 Bitcoin                             0.01915096 Customer Transfer
 Confidential Customer Coin Transferee #13502   [Address on File]     5/28/2023 Bitcoin                             0.01465744 Customer Transfer
 Confidential Customer Coin Transferee #13502   [Address on File]     5/29/2023 Bitcoin                             0.01059067 Customer Transfer
 Confidential Customer Coin Transferee #13502   [Address on File]     5/16/2023 Bitcoin                                0.009813 Customer Transfer
 Confidential Customer Coin Transferee #13503   [Address on File]     5/24/2023 Bitcoin                             0.00945264 Customer Transfer
 Confidential Customer Coin Transferee #13503   [Address on File]     5/18/2023 Bitcoin                             0.00933926 Customer Transfer
 Confidential Customer Coin Transferee #13503   [Address on File]     5/19/2023 Bitcoin                             0.00926215 Customer Transfer
 Confidential Customer Coin Transferee #13503   [Address on File]     5/21/2023 Bitcoin                             0.00924609 Customer Transfer
 Confidential Customer Coin Transferee #13503   [Address on File]     5/30/2023 Bitcoin                             0.00897064 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/25/2023 Bitcoin                             0.00756085 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/26/2023 Bitcoin                              0.0075118 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/22/2023 Bitcoin                             0.00742825 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/18/2023 Bitcoin                             0.00736727 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/16/2023 Bitcoin                             0.00735139 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/24/2023 Bitcoin                             0.00662589 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/25/2023 Bitcoin                             0.00659789 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/19/2023 Bitcoin                             0.00648224 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/25/2023 Bitcoin                             0.00564982 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/25/2023 Bitcoin                             0.00563287 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/24/2023 Bitcoin                             0.00558513 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/22/2023 Bitcoin                             0.00555522 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/19/2023 Bitcoin                             0.00554803 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/19/2023 Bitcoin                             0.00554286 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/19/2023 Bitcoin                             0.00554106 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/16/2023 Bitcoin                             0.00553435 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/23/2023 Bitcoin                             0.00549505 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/23/2023 Bitcoin                             0.00546801 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/30/2023 Bitcoin                             0.00535027 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/25/2023 Bitcoin                             0.00469309 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/24/2023 Bitcoin                             0.00379253 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/26/2023 Bitcoin                             0.00371295 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/26/2023 Bitcoin                             0.00371174 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/30/2023 Bitcoin                             0.00358838 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/19/2023 Bitcoin                             0.00276765 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/31/2023 Bitcoin                              0.0027585 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/19/2023 Bitcoin                             0.00184877 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/30/2023 Bitcoin                             0.00179029 Customer Transfer
 Confidential Customer Coin Transferee #13504   [Address on File]     5/30/2023 Bitcoin                             0.00178563 Customer Transfer
 Confidential Customer Coin Transferee #13505   [Address on File]     5/18/2023 Bitcoin                              0.0037126 Customer Transfer
 Confidential Customer Coin Transferee #13505   [Address on File]     5/30/2023 Bitcoin                             0.00089279 Customer Transfer
 Confidential Customer Coin Transferee #13506   [Address on File]     5/19/2023 Bitcoin                             0.07396234 Customer Transfer
 Confidential Customer Coin Transferee #13507   [Address on File]     5/30/2023 Bitcoin                             0.00358913 Customer Transfer
 Confidential Customer Coin Transferee #13508   [Address on File]     5/21/2023 Bitcoin                             0.02949051 Customer Transfer
 Confidential Customer Coin Transferee #13508   [Address on File]     5/18/2023 Bitcoin                             0.00381775 Customer Transfer
 Confidential Customer Coin Transferee #13509   [Address on File]     5/23/2023 Bitcoin                                     0.22 Customer Transfer
 Confidential Customer Coin Transferee #13509   [Address on File]     5/24/2023 Bitcoin                                      0.2 Customer Transfer
 Confidential Customer Coin Transferee #13509   [Address on File]     5/18/2023 Bitcoin                                  0.0002 Customer Transfer
 Confidential Customer Coin Transferee #13510   [Address on File]     5/31/2023 Bitcoin                             0.01851698 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13511   [Address on File]     5/16/2023 Bitcoin                                 0.01975 Customer Transfer
 Confidential Customer Coin Transferee #13512   [Address on File]     5/21/2023 Bitcoin                             0.00308292 Customer Transfer
 Confidential Customer Coin Transferee #13513   [Address on File]     5/26/2023 Bitcoin                             0.00561247 Customer Transfer
 Confidential Customer Coin Transferee #13513   [Address on File]     5/20/2023 Bitcoin                             0.00370105 Customer Transfer
 Confidential Customer Coin Transferee #13514   [Address on File]     5/26/2023 Bitcoin                                   0.0075 Customer Transfer
 Confidential Customer Coin Transferee #13515   [Address on File]     5/31/2023 Bitcoin                             0.01107729 Customer Transfer
 Confidential Customer Coin Transferee #13515   [Address on File]     5/26/2023 Bitcoin                             0.00751555 Customer Transfer
 Confidential Customer Coin Transferee #13515   [Address on File]     5/25/2023 Bitcoin                             0.00377212 Customer Transfer
 Confidential Customer Coin Transferee #13516   [Address on File]     5/29/2023 Bitcoin                             0.05475668 Customer Transfer
 Confidential Customer Coin Transferee #13517   [Address on File]     5/24/2023 Bitcoin                             0.00275937 Customer Transfer
 Confidential Customer Coin Transferee #13518   [Address on File]     5/18/2023 Bitcoin                             0.00186879 Customer Transfer
 Confidential Customer Coin Transferee #13519   [Address on File]     5/26/2023 Bitcoin                             0.01114444 Customer Transfer
 Confidential Customer Coin Transferee #13519   [Address on File]     5/18/2023 Bitcoin                             0.00727257 Customer Transfer
 Confidential Customer Coin Transferee #13520   [Address on File]     5/30/2023 Bitcoin                             0.01078617 Customer Transfer
 Confidential Customer Coin Transferee #13521   [Address on File]     5/27/2023 Bitcoin                             0.02143244 Customer Transfer
 Confidential Customer Coin Transferee #13522   [Address on File]     5/22/2023 Bitcoin                             0.01752814 Customer Transfer
 Confidential Customer Coin Transferee #13523   [Address on File]     5/18/2023 Bitcoin                                    0.218 Customer Transfer
 Confidential Customer Coin Transferee #13524   [Address on File]     5/20/2023 Bitcoin                             0.01138542 Customer Transfer
 Confidential Customer Coin Transferee #13525   [Address on File]     6/20/2023 Bitcoin                             0.00966755 Customer Transfer
 Confidential Customer Coin Transferee #13526   [Address on File]     5/30/2023 Bitcoin                             0.05033935 Customer Transfer
 Confidential Customer Coin Transferee #13526   [Address on File]     5/30/2023 Bitcoin                             0.03719592 Customer Transfer
 Confidential Customer Coin Transferee #13526   [Address on File]     5/30/2023 Bitcoin                             0.03629459 Customer Transfer
 Confidential Customer Coin Transferee #13526   [Address on File]     5/21/2023 Bitcoin                             0.03527601 Customer Transfer
 Confidential Customer Coin Transferee #13527   [Address on File]     5/21/2023 Bitcoin                             0.02985182 Customer Transfer
 Confidential Customer Coin Transferee #13528   [Address on File]      6/9/2023 Bitcoin                                0.016369 Customer Transfer
 Confidential Customer Coin Transferee #13528   [Address on File]     6/19/2023 Bitcoin                             0.00385015 Customer Transfer
 Confidential Customer Coin Transferee #13529   [Address on File]     5/26/2023 Bitcoin                             0.01359033 Customer Transfer
 Confidential Customer Coin Transferee #13530   [Address on File]     5/22/2023 Bitcoin                             0.00183882 Customer Transfer
 Confidential Customer Coin Transferee #13530   [Address on File]     5/31/2023 Bitcoin                             0.00177773 Customer Transfer
 Confidential Customer Coin Transferee #13531   [Address on File]     5/20/2023 Bitcoin                             0.00339582 Customer Transfer
 Confidential Customer Coin Transferee #13532   [Address on File]     6/16/2023 Bitcoin                             0.00386355 Customer Transfer
 Confidential Customer Coin Transferee #13533   [Address on File]     6/20/2023 Bitcoin                             0.13255815 Customer Transfer
 Confidential Customer Coin Transferee #13534   [Address on File]     5/17/2023 Bitcoin                             0.01042292 Customer Transfer
 Confidential Customer Coin Transferee #13535   [Address on File]     5/21/2023 Bitcoin                             0.00036394 Customer Transfer
 Confidential Customer Coin Transferee #13536   [Address on File]     6/20/2023 Bitcoin                             0.00035238 Customer Transfer
 Confidential Customer Coin Transferee #13537   [Address on File]     6/20/2023 Bitcoin                             0.00204949 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13538   [Address on File]     5/22/2023 Bitcoin                             0.00519035 Customer Transfer

 Confidential Customer Coin Transferee #13539   [Address on File]      6/7/2023 USD Coin                           1075.134596 Customer Transfer

 Confidential Customer Coin Transferee #13539   [Address on File]     5/22/2023 Ether                                  2.54698072 Customer Transfer

 Confidential Customer Coin Transferee #13539   [Address on File]     5/16/2023 Ether                                  1.47780016 Customer Transfer

 Confidential Customer Coin Transferee #13539   [Address on File]     5/29/2023 Ether                                  0.05289326 Customer Transfer
 Confidential Customer Coin Transferee #13540   [Address on File]     6/20/2023 Bitcoin                                0.00005824 Customer Transfer
 Confidential Customer Coin Transferee #13541   [Address on File]      6/2/2023 Bitcoin                                0.00223689 Customer Transfer
 Confidential Customer Coin Transferee #13541   [Address on File]      6/9/2023 Bitcoin                                0.00150233 Customer Transfer
 Confidential Customer Coin Transferee #13541   [Address on File]      6/7/2023 Bitcoin                                0.00112887 Customer Transfer
 Confidential Customer Coin Transferee #13541   [Address on File]      6/5/2023 Bitcoin                                0.00109558 Customer Transfer
 Confidential Customer Coin Transferee #13541   [Address on File]     6/19/2023 Bitcoin                                0.00038266 Customer Transfer
 Confidential Customer Coin Transferee #13542   [Address on File]     5/29/2023 Bitcoin                                0.00183956 Customer Transfer
 Confidential Customer Coin Transferee #13542   [Address on File]     6/20/2023 Bitcoin                                0.00038485 Customer Transfer
 Confidential Customer Coin Transferee #13543   [Address on File]     5/22/2023 Bitcoin                                        0.36 Customer Transfer
 Confidential Customer Coin Transferee #13543   [Address on File]     5/22/2023 Bitcoin                                        0.02 Customer Transfer
 Confidential Customer Coin Transferee #13544   [Address on File]     6/12/2023 Bitcoin                                0.00309643 Customer Transfer
 Confidential Customer Coin Transferee #13544   [Address on File]      6/7/2023 Bitcoin                                 0.0010282 Customer Transfer
 Confidential Customer Coin Transferee #13544   [Address on File]     5/25/2023 Bitcoin                                0.00077958 Customer Transfer
 Confidential Customer Coin Transferee #13544   [Address on File]     6/14/2023 Bitcoin                                0.00048204 Customer Transfer
 Confidential Customer Coin Transferee #13544   [Address on File]      6/1/2023 Bitcoin                                0.00020327 Customer Transfer
 Confidential Customer Coin Transferee #13545   [Address on File]     6/16/2023 Bitcoin                                0.00062209 Customer Transfer
 Confidential Customer Coin Transferee #13546   [Address on File]     6/19/2023 Bitcoin                                0.00040668 Customer Transfer
 Confidential Customer Coin Transferee #13547   [Address on File]     6/20/2023 Bitcoin                                0.00745339 Customer Transfer
 Confidential Customer Coin Transferee #13548   [Address on File]     6/19/2023 Bitcoin                                0.00080999 Customer Transfer
 Confidential Customer Coin Transferee #13549   [Address on File]     5/24/2023 Bitcoin                                0.05015235 Customer Transfer
 Confidential Customer Coin Transferee #13550   [Address on File]     5/23/2023 Bitcoin                                0.05950023 Customer Transfer
 Confidential Customer Coin Transferee #13551   [Address on File]     5/16/2023 Bitcoin                                0.25265429 Customer Transfer
 Confidential Customer Coin Transferee #13552   [Address on File]     6/20/2023 Bitcoin                                   0.021228 Customer Transfer
 Confidential Customer Coin Transferee #13553   [Address on File]      6/2/2023 Bitcoin                                0.01320051 Customer Transfer
 Confidential Customer Coin Transferee #13554   [Address on File]     5/29/2023 Bitcoin                                0.16056361 Customer Transfer
 Confidential Customer Coin Transferee #13554   [Address on File]     5/22/2023 Bitcoin                                0.03549566 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/19/2023 Bitcoin                                0.01482693 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/18/2023 Bitcoin                             0.01269156 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/16/2023 Bitcoin                             0.01101801 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/18/2023 Bitcoin                             0.01093493 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]      6/1/2023 Bitcoin                             0.01071372 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/22/2023 Bitcoin                             0.00828273 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]      6/6/2023 Bitcoin                             0.00728727 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]      6/7/2023 Bitcoin                             0.00580191 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/26/2023 Bitcoin                             0.00563057 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     6/12/2023 Bitcoin                             0.00383679 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/26/2023 Bitcoin                             0.00374977 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/24/2023 Bitcoin                              0.0036484 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/23/2023 Bitcoin                             0.00363886 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]      6/5/2023 Bitcoin                             0.00363697 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/16/2023 Bitcoin                             0.00361035 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/30/2023 Bitcoin                                0.003577 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/31/2023 Bitcoin                             0.00357689 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]      6/9/2023 Bitcoin                             0.00279944 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/25/2023 Bitcoin                             0.00188723 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/22/2023 Bitcoin                             0.00184587 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/19/2023 Bitcoin                             0.00184059 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     6/15/2023 Bitcoin                             0.00098826 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     5/30/2023 Bitcoin                             0.00089398 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     6/17/2023 Bitcoin                             0.00077439 Customer Transfer
 Confidential Customer Coin Transferee #13555   [Address on File]     6/18/2023 Bitcoin                             0.00019353 Customer Transfer
 Confidential Customer Coin Transferee #13556   [Address on File]     5/25/2023 USD Coin                           2993.052084 Customer Transfer
 Confidential Customer Coin Transferee #13556   [Address on File]      6/8/2023 USD Coin                           2992.703648 Customer Transfer
 Confidential Customer Coin Transferee #13556   [Address on File]     6/10/2023 USD Coin                           2992.633683 Customer Transfer
 Confidential Customer Coin Transferee #13556   [Address on File]     5/27/2023 USD Coin                           2992.203898 Customer Transfer
 Confidential Customer Coin Transferee #13556   [Address on File]     5/22/2023 USD Coin                           2992.153138 Customer Transfer
 Confidential Customer Coin Transferee #13556   [Address on File]     5/17/2023 USD Coin                           2991.983206 Customer Transfer
 Confidential Customer Coin Transferee #13556   [Address on File]     5/26/2023 USD Coin                           2991.714142 Customer Transfer
 Confidential Customer Coin Transferee #13556   [Address on File]     5/18/2023 USD Coin                           2991.584207 Customer Transfer
 Confidential Customer Coin Transferee #13556   [Address on File]     5/30/2023 USD Coin                            2991.57337 Customer Transfer
 Confidential Customer Coin Transferee #13556   [Address on File]     5/28/2023 USD Coin                           2991.505096 Customer Transfer
 Confidential Customer Coin Transferee #13556   [Address on File]     5/23/2023 USD Coin                            2991.22351 Customer Transfer
 Confidential Customer Coin Transferee #13557   [Address on File]     6/19/2023 Bitcoin                             0.02110943 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13558   [Address on File]      6/3/2023 Cosmos Hub ATOM)                    111.545021 Customer Transfer
 Confidential Customer Coin Transferee #13558   [Address on File]     5/25/2023 Cosmos Hub ATOM)                    100.534232 Customer Transfer
 Confidential Customer Coin Transferee #13558   [Address on File]     5/21/2023 Cosmos Hub ATOM)                     75.000235 Customer Transfer
 Confidential Customer Coin Transferee #13558   [Address on File]     6/10/2023 Cosmos Hub ATOM)                     72.182885 Customer Transfer
 Confidential Customer Coin Transferee #13558   [Address on File]      6/9/2023 Cosmos Hub ATOM)                     37.579721 Customer Transfer
 Confidential Customer Coin Transferee #13558   [Address on File]     6/17/2023 Cosmos Hub ATOM)                      34.00731 Customer Transfer
 Confidential Customer Coin Transferee #13558   [Address on File]     5/21/2023 Cosmos Hub ATOM)                      9.680696 Customer Transfer
 Confidential Customer Coin Transferee #13559   [Address on File]     6/20/2023 Bitcoin                             0.00314261 Customer Transfer
 Confidential Customer Coin Transferee #13560   [Address on File]     6/20/2023 Bitcoin                             0.04551336 Customer Transfer
 Confidential Customer Coin Transferee #13561   [Address on File]     6/15/2023 Bitcoin                              0.0138248 Customer Transfer
 Confidential Customer Coin Transferee #13562   [Address on File]     5/16/2023 Bitcoin                             0.01000484 Customer Transfer
 Confidential Customer Coin Transferee #13563   [Address on File]     5/17/2023 Bitcoin                             0.01128467 Customer Transfer
 Confidential Customer Coin Transferee #13564   [Address on File]     5/18/2023 Bitcoin                             0.06665053 Customer Transfer
 Confidential Customer Coin Transferee #13564   [Address on File]     5/18/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #13565   [Address on File]     6/20/2023 Bitcoin                              0.0001151 Customer Transfer
 Confidential Customer Coin Transferee #13566   [Address on File]     5/21/2023 Bitcoin                             0.08196823 Customer Transfer
 Confidential Customer Coin Transferee #13567   [Address on File]     5/22/2023 Bitcoin                             0.03068119 Customer Transfer
 Confidential Customer Coin Transferee #13568   [Address on File]     5/25/2023 Bitcoin                             0.01001423 Customer Transfer
 Confidential Customer Coin Transferee #13569   [Address on File]     6/20/2023 Bitcoin                             0.03446229 Customer Transfer
 Confidential Customer Coin Transferee #13570   [Address on File]     6/20/2023 Bitcoin                              0.0005784 Customer Transfer
 Confidential Customer Coin Transferee #13571   [Address on File]     5/22/2023 Bitcoin                             0.00005824 Customer Transfer
 Confidential Customer Coin Transferee #13572   [Address on File]     6/19/2023 Bitcoin                             0.00009461 Customer Transfer
 Confidential Customer Coin Transferee #13573   [Address on File]     6/20/2023 Bitcoin                             0.00008651 Customer Transfer
 Confidential Customer Coin Transferee #13574   [Address on File]     6/20/2023 Bitcoin                             0.00173514 Customer Transfer
 Confidential Customer Coin Transferee #13575   [Address on File]     5/23/2023 Bitcoin                             0.09808587 Customer Transfer
 Confidential Customer Coin Transferee #13575   [Address on File]     5/19/2023 Bitcoin                             0.03717283 Customer Transfer
 Confidential Customer Coin Transferee #13575   [Address on File]     5/22/2023 Bitcoin                              0.0342816 Customer Transfer
 Confidential Customer Coin Transferee #13575   [Address on File]     5/17/2023 Bitcoin                             0.00444236 Customer Transfer
 Confidential Customer Coin Transferee #13575   [Address on File]     5/26/2023 Bitcoin                             0.00036903 Customer Transfer
 Confidential Customer Coin Transferee #13576   [Address on File]     6/20/2023 Bitcoin                             0.00098642 Customer Transfer
 Confidential Customer Coin Transferee #13577   [Address on File]     5/18/2023 Bitcoin                             0.04189916 Customer Transfer
 Confidential Customer Coin Transferee #13577   [Address on File]     5/25/2023 Bitcoin                             0.02851159 Customer Transfer
 Confidential Customer Coin Transferee #13578   [Address on File]     6/20/2023 Bitcoin                             0.00494248 Customer Transfer
 Confidential Customer Coin Transferee #13579   [Address on File]     5/23/2023 Bitcoin                              0.0119081 Customer Transfer
 Confidential Customer Coin Transferee #13580   [Address on File]     5/18/2023 Bitcoin                              0.0105053 Customer Transfer
 Confidential Customer Coin Transferee #13581   [Address on File]     6/19/2023 Bitcoin                             0.00074706 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #13582   [Address on File]     6/21/2023 Gala                               509.9118943 Customer Transfer
 Confidential Customer Coin Transferee #13583   [Address on File]     5/25/2023 Bitcoin                             0.05329616 Customer Transfer
 Confidential Customer Coin Transferee #13584   [Address on File]     6/20/2023 Bitcoin                             0.03099648 Customer Transfer
 Confidential Customer Coin Transferee #13585   [Address on File]     6/20/2023 Bitcoin                             0.00365661 Customer Transfer
 Confidential Customer Coin Transferee #13585   [Address on File]      6/8/2023 Bitcoin                             0.00077916 Customer Transfer
 Confidential Customer Coin Transferee #13585   [Address on File]     5/30/2023 Bitcoin                             0.00075388 Customer Transfer
 Confidential Customer Coin Transferee #13585   [Address on File]     5/18/2023 Bitcoin                             0.00069372 Customer Transfer
 Confidential Customer Coin Transferee #13586   [Address on File]     5/25/2023 Bitcoin                             0.00741025 Customer Transfer
 Confidential Customer Coin Transferee #13587   [Address on File]     6/19/2023 Bitcoin                             0.00011724 Customer Transfer
 Confidential Customer Coin Transferee #13588   [Address on File]     6/19/2023 Bitcoin                             0.00003601 Customer Transfer
 Confidential Customer Coin Transferee #13589   [Address on File]     5/22/2023 Bitcoin                             0.00067853 Customer Transfer

 Confidential Customer Coin Transferee #13590   [Address on File]     5/30/2023 Ether                                  0.08444491 Customer Transfer

 Confidential Customer Coin Transferee #13590   [Address on File]     5/30/2023 Bitcoin                                 0.0024133 Customer Transfer

 Confidential Customer Coin Transferee #13591   [Address on File]     5/26/2023 Bitcoin                                0.01147592 Customer Transfer

 Confidential Customer Coin Transferee #13591   [Address on File]      6/9/2023 Bitcoin                                0.01142849 Customer Transfer
 Confidential Customer Coin Transferee #13592   [Address on File]     5/26/2023 Bitcoin                                0.00493962 Customer Transfer
 Confidential Customer Coin Transferee #13593   [Address on File]     5/28/2023 Bitcoin                                0.00933305 Customer Transfer
 Confidential Customer Coin Transferee #13593   [Address on File]     5/28/2023 Bitcoin                                0.00901494 Customer Transfer
 Confidential Customer Coin Transferee #13593   [Address on File]     5/28/2023 Bitcoin                                0.00886182 Customer Transfer
 Confidential Customer Coin Transferee #13593   [Address on File]     5/28/2023 Bitcoin                                0.00879794 Customer Transfer
 Confidential Customer Coin Transferee #13593   [Address on File]     5/28/2023 Bitcoin                                0.00871516 Customer Transfer
 Confidential Customer Coin Transferee #13593   [Address on File]     5/28/2023 Bitcoin                                0.00835368 Customer Transfer
 Confidential Customer Coin Transferee #13594   [Address on File]     5/19/2023 Bitcoin                                0.00737597 Customer Transfer
 Confidential Customer Coin Transferee #13595   [Address on File]     5/22/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #13595   [Address on File]     5/30/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #13596   [Address on File]     5/16/2023 Bitcoin                                0.00883285 Customer Transfer
 Confidential Customer Coin Transferee #13597   [Address on File]     5/28/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #13597   [Address on File]     5/29/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #13598   [Address on File]     5/23/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #13599   [Address on File]     5/20/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #13599   [Address on File]     5/29/2023 Bitcoin                                        0.1 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13599   [Address on File]     5/31/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #13600   [Address on File]     5/30/2023 Bitcoin                                   0.002 Customer Transfer
 Confidential Customer Coin Transferee #13601   [Address on File]     5/18/2023 Bitcoin                             0.00363566 Customer Transfer
 Confidential Customer Coin Transferee #13601   [Address on File]     5/31/2023 Bitcoin                             0.00179765 Customer Transfer
 Confidential Customer Coin Transferee #13601   [Address on File]     5/17/2023 Bitcoin                             0.00091746 Customer Transfer
 Confidential Customer Coin Transferee #13601   [Address on File]     5/21/2023 Bitcoin                             0.00091305 Customer Transfer
 Confidential Customer Coin Transferee #13601   [Address on File]     5/26/2023 Bitcoin                             0.00018579 Customer Transfer
 Confidential Customer Coin Transferee #13601   [Address on File]     5/19/2023 Bitcoin                             0.00018522 Customer Transfer
 Confidential Customer Coin Transferee #13601   [Address on File]     5/20/2023 Bitcoin                             0.00018447 Customer Transfer
 Confidential Customer Coin Transferee #13602   [Address on File]     5/29/2023 Bitcoin                             0.00540191 Customer Transfer
 Confidential Customer Coin Transferee #13602   [Address on File]     5/25/2023 Bitcoin                             0.00189287 Customer Transfer
 Confidential Customer Coin Transferee #13603   [Address on File]     5/17/2023 Bitcoin                             0.00348758 Customer Transfer
 Confidential Customer Coin Transferee #13603   [Address on File]     5/21/2023 Bitcoin                             0.00347294 Customer Transfer
 Confidential Customer Coin Transferee #13604   [Address on File]     5/17/2023 Bitcoin                             0.00094885 Customer Transfer
 Confidential Customer Coin Transferee #13605   [Address on File]     5/16/2023 Bitcoin                              0.0351572 Customer Transfer
 Confidential Customer Coin Transferee #13605   [Address on File]     5/27/2023 Bitcoin                                    0.03 Customer Transfer
 Confidential Customer Coin Transferee #13605   [Address on File]     5/25/2023 Bitcoin                                   0.015 Customer Transfer
 Confidential Customer Coin Transferee #13605   [Address on File]     5/30/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #13605   [Address on File]     5/30/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #13606   [Address on File]     5/28/2023 Bitcoin                             0.00737588 Customer Transfer
 Confidential Customer Coin Transferee #13607   [Address on File]     5/27/2023 Bitcoin                             0.00383891 Customer Transfer
 Confidential Customer Coin Transferee #13608   [Address on File]     5/26/2023 Bitcoin                             0.10534864 Customer Transfer
 Confidential Customer Coin Transferee #13608   [Address on File]     5/22/2023 Bitcoin                             0.05520401 Customer Transfer
 Confidential Customer Coin Transferee #13609   [Address on File]     5/20/2023 Bitcoin                             0.01883655 Customer Transfer
 Confidential Customer Coin Transferee #13610   [Address on File]     5/17/2023 Bitcoin                             0.00935032 Customer Transfer
 Confidential Customer Coin Transferee #13611   [Address on File]     5/24/2023 Bitcoin                             0.00093016 Customer Transfer
 Confidential Customer Coin Transferee #13612   [Address on File]     5/21/2023 Bitcoin                             0.01114143 Customer Transfer
 Confidential Customer Coin Transferee #13612   [Address on File]     5/16/2023 Bitcoin                             0.00749496 Customer Transfer
 Confidential Customer Coin Transferee #13612   [Address on File]     5/24/2023 Bitcoin                             0.00379116 Customer Transfer
 Confidential Customer Coin Transferee #13612   [Address on File]     5/16/2023 Bitcoin                             0.00369511 Customer Transfer
 Confidential Customer Coin Transferee #13613   [Address on File]     5/23/2023 Bitcoin                             0.00017098 Customer Transfer
 Confidential Customer Coin Transferee #13614   [Address on File]     5/18/2023 Bitcoin                             0.02169064 Customer Transfer
 Confidential Customer Coin Transferee #13614   [Address on File]     5/24/2023 Bitcoin                             0.02056972 Customer Transfer
 Confidential Customer Coin Transferee #13615   [Address on File]     5/30/2023 Bitcoin                             0.00160982 Customer Transfer
 Confidential Customer Coin Transferee #13616   [Address on File]     5/24/2023 Bitcoin                              0.0044698 Customer Transfer
 Confidential Customer Coin Transferee #13617   [Address on File]     5/23/2023 Bitcoin                             0.01993839 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count          or Transfer
 Confidential Customer Coin Transferee #13618   [Address on File]     5/31/2023 Bitcoin                                    0.012 Customer Transfer
 Confidential Customer Coin Transferee #13619   [Address on File]     5/29/2023 Bitcoin                             0.11331418 Customer Transfer
 Confidential Customer Coin Transferee #13620   [Address on File]     6/20/2023 Bitcoin                             0.00005804 Customer Transfer
 Confidential Customer Coin Transferee #13621   [Address on File]     5/17/2023 Bitcoin                             0.01033382 Customer Transfer
 Confidential Customer Coin Transferee #13622   [Address on File]     5/19/2023 Bitcoin                             0.01047474 Customer Transfer
 Confidential Customer Coin Transferee #13623   [Address on File]     5/30/2023 Bitcoin                             0.00077052 Customer Transfer
 Confidential Customer Coin Transferee #13623   [Address on File]      6/6/2023 Bitcoin                             0.00036646 Customer Transfer
 Confidential Customer Coin Transferee #13624   [Address on File]     6/20/2023 Bitcoin                              0.0006005 Customer Transfer
 Confidential Customer Coin Transferee #13625   [Address on File]     5/28/2023 Bitcoin                             0.02612405 Customer Transfer
 Confidential Customer Coin Transferee #13626   [Address on File]     6/19/2023 Bitcoin                             0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #13627   [Address on File]     5/21/2023 Bitcoin                             0.00363343 Customer Transfer
 Confidential Customer Coin Transferee #13628   [Address on File]     5/19/2023 Bitcoin                             0.01021945 Customer Transfer
 Confidential Customer Coin Transferee #13628   [Address on File]     6/19/2023 Bitcoin                             0.00218154 Customer Transfer
 Confidential Customer Coin Transferee #13629   [Address on File]     5/19/2023 Bitcoin                              0.0108212 Customer Transfer
 Confidential Customer Coin Transferee #13630   [Address on File]     5/26/2023 Bitcoin                             0.00385321 Customer Transfer
 Confidential Customer Coin Transferee #13630   [Address on File]     5/19/2023 Bitcoin                             0.00157748 Customer Transfer
 Confidential Customer Coin Transferee #13631   [Address on File]     5/19/2023 Bitcoin                                   0.0017 Customer Transfer
 Confidential Customer Coin Transferee #13632   [Address on File]     6/20/2023 Bitcoin                             0.01195599 Customer Transfer
 Confidential Customer Coin Transferee #13633   [Address on File]     5/30/2023 Bitcoin                             0.01049696 Customer Transfer
 Confidential Customer Coin Transferee #13633   [Address on File]     5/30/2023 Bitcoin                             0.01017625 Customer Transfer
 Confidential Customer Coin Transferee #13634   [Address on File]     5/26/2023 Solana                                        3.7 Customer Transfer
 Confidential Customer Coin Transferee #13634   [Address on File]     5/27/2023 Bitcoin                             0.00274189 Customer Transfer
 Confidential Customer Coin Transferee #13634   [Address on File]     5/27/2023 Bitcoin                             0.00106446 Customer Transfer
 Confidential Customer Coin Transferee #13635   [Address on File]     5/20/2023 Bitcoin                             0.10937226 Customer Transfer
 Confidential Customer Coin Transferee #13636   [Address on File]     6/20/2023 Bitcoin                             0.00046996 Customer Transfer
 Confidential Customer Coin Transferee #13637   [Address on File]     5/22/2023 Bitcoin                                0.007902 Customer Transfer
 Confidential Customer Coin Transferee #13638   [Address on File]     6/16/2023 Bitcoin                             0.00206517 Customer Transfer
 Confidential Customer Coin Transferee #13638   [Address on File]      6/5/2023 Bitcoin                             0.00205551 Customer Transfer
 Confidential Customer Coin Transferee #13638   [Address on File]     5/22/2023 Bitcoin                             0.00180661 Customer Transfer
 Confidential Customer Coin Transferee #13638   [Address on File]     5/16/2023 Bitcoin                             0.00097225 Customer Transfer
 Confidential Customer Coin Transferee #13638   [Address on File]      6/8/2023 Bitcoin                             0.00096787 Customer Transfer
 Confidential Customer Coin Transferee #13638   [Address on File]     5/18/2023 Bitcoin                             0.00094054 Customer Transfer
 Confidential Customer Coin Transferee #13639   [Address on File]     6/19/2023 Bitcoin                             0.06006891 Customer Transfer
 Confidential Customer Coin Transferee #13640   [Address on File]     5/23/2023 Bitcoin                             0.01050368 Customer Transfer
 Confidential Customer Coin Transferee #13641   [Address on File]     6/19/2023 Bitcoin                             0.00005937 Customer Transfer
 Confidential Customer Coin Transferee #13642   [Address on File]     5/16/2023 USD Coin                           2992.501499 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date           Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #13642   [Address on File]      6/6/2023 USDC Avalanche)                    2904.687656 Customer Transfer
 Confidential Customer Coin Transferee #13642   [Address on File]     6/21/2023 Tether USD                         2486.565676 Customer Transfer
 Confidential Customer Coin Transferee #13642   [Address on File]     6/16/2023 USD Coin                            496.691984 Customer Transfer
 Confidential Customer Coin Transferee #13642   [Address on File]     6/20/2023 USDC Avalanche)                     494.728975 Customer Transfer
 Confidential Customer Coin Transferee #13642   [Address on File]     5/20/2023 USDC Avalanche)                     296.591704 Customer Transfer

 Confidential Customer Coin Transferee #13643   [Address on File]      6/6/2023 Bitcoin                                0.10126845 Customer Transfer
 Confidential Customer Coin Transferee #13644   [Address on File]     6/20/2023 Bitcoin                                0.00202772 Customer Transfer
 Confidential Customer Coin Transferee #13645   [Address on File]     6/19/2023 Bitcoin                                0.01156862 Customer Transfer
 Confidential Customer Coin Transferee #13646   [Address on File]     6/20/2023 Bitcoin                                0.00068966 Customer Transfer
 Confidential Customer Coin Transferee #13647   [Address on File]     5/16/2023 Bitcoin                                0.01529684 Customer Transfer
 Confidential Customer Coin Transferee #13647   [Address on File]      6/6/2023 Bitcoin                                0.00739066 Customer Transfer
 Confidential Customer Coin Transferee #13648   [Address on File]     6/19/2023 Bitcoin                                 0.1965453 Customer Transfer
 Confidential Customer Coin Transferee #13649   [Address on File]     5/26/2023 Bitcoin                                0.00257336 Customer Transfer
 Confidential Customer Coin Transferee #13649   [Address on File]     5/19/2023 Bitcoin                                0.00244674 Customer Transfer
 Confidential Customer Coin Transferee #13650   [Address on File]     5/17/2023 Bitcoin                                0.02585312 Customer Transfer
 Confidential Customer Coin Transferee #13651   [Address on File]     6/19/2023 Bitcoin                                0.00058127 Customer Transfer
 Confidential Customer Coin Transferee #13652   [Address on File]     6/14/2023 Bitcoin                                0.00229259 Customer Transfer
 Confidential Customer Coin Transferee #13652   [Address on File]     6/13/2023 Bitcoin                                0.00113671 Customer Transfer
 Confidential Customer Coin Transferee #13652   [Address on File]     6/15/2023 Bitcoin                                0.00078875 Customer Transfer
 Confidential Customer Coin Transferee #13652   [Address on File]     6/16/2023 Bitcoin                                0.00077901 Customer Transfer
 Confidential Customer Coin Transferee #13652   [Address on File]      6/7/2023 Bitcoin                                0.00077193 Customer Transfer
 Confidential Customer Coin Transferee #13652   [Address on File]      6/9/2023 Bitcoin                                0.00075247 Customer Transfer
 Confidential Customer Coin Transferee #13652   [Address on File]     6/12/2023 Bitcoin                                 0.0007494 Customer Transfer
 Confidential Customer Coin Transferee #13652   [Address on File]      6/6/2023 Bitcoin                                0.00073122 Customer Transfer
 Confidential Customer Coin Transferee #13652   [Address on File]      6/8/2023 Bitcoin                                0.00072848 Customer Transfer
 Confidential Customer Coin Transferee #13652   [Address on File]      6/5/2023 Bitcoin                                0.00072813 Customer Transfer
 Confidential Customer Coin Transferee #13653   [Address on File]     5/20/2023 Bitcoin                                0.01612615 Customer Transfer
 Confidential Customer Coin Transferee #13653   [Address on File]     5/28/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #13654   [Address on File]     5/24/2023 Bitcoin                                0.00226903 Customer Transfer
 Confidential Customer Coin Transferee #13654   [Address on File]      6/7/2023 Bitcoin                                0.00201044 Customer Transfer
 Confidential Customer Coin Transferee #13654   [Address on File]     6/12/2023 Bitcoin                                 0.0019323 Customer Transfer
 Confidential Customer Coin Transferee #13654   [Address on File]      6/7/2023 Bitcoin                                0.00191567 Customer Transfer
 Confidential Customer Coin Transferee #13654   [Address on File]     5/19/2023 Bitcoin                                0.00187506 Customer Transfer
 Confidential Customer Coin Transferee #13654   [Address on File]     5/18/2023 Bitcoin                                0.00185816 Customer Transfer
 Confidential Customer Coin Transferee #13654   [Address on File]     6/14/2023 Bitcoin                                0.00185225 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13654   [Address on File]     5/22/2023 Bitcoin                             0.00162915 Customer Transfer
 Confidential Customer Coin Transferee #13654   [Address on File]      6/6/2023 Bitcoin                             0.00111496 Customer Transfer
 Confidential Customer Coin Transferee #13655   [Address on File]     6/19/2023 Bitcoin                             0.00213344 Customer Transfer
 Confidential Customer Coin Transferee #13656   [Address on File]     6/20/2023 Bitcoin                             0.04510298 Customer Transfer
 Confidential Customer Coin Transferee #13657   [Address on File]     6/17/2023 Bitcoin                             0.00269624 Customer Transfer
 Confidential Customer Coin Transferee #13657   [Address on File]     5/22/2023 Bitcoin                             0.00110632 Customer Transfer
 Confidential Customer Coin Transferee #13658   [Address on File]     6/21/2023 USD Coin                             91.589436 Customer Transfer
 Confidential Customer Coin Transferee #13659   [Address on File]     6/19/2023 Bitcoin                             0.00005598 Customer Transfer
 Confidential Customer Coin Transferee #13660   [Address on File]     6/20/2023 Bitcoin                             0.00180508 Customer Transfer
 Confidential Customer Coin Transferee #13661   [Address on File]     5/29/2023 Bitcoin                             0.01093584 Customer Transfer

 Confidential Customer Coin Transferee #13662   [Address on File]      6/1/2023 Bitcoin                                0.01300651 Customer Transfer
 Confidential Customer Coin Transferee #13663   [Address on File]     6/16/2023 Bitcoin                                0.00188728 Customer Transfer
 Confidential Customer Coin Transferee #13664   [Address on File]     6/19/2023 Bitcoin                                0.00057995 Customer Transfer
 Confidential Customer Coin Transferee #13665   [Address on File]     5/20/2023 Bitcoin                                0.00180658 Customer Transfer
 Confidential Customer Coin Transferee #13666   [Address on File]     5/29/2023 Bitcoin                                0.00035961 Customer Transfer
 Confidential Customer Coin Transferee #13667   [Address on File]     6/20/2023 Bitcoin                                0.00931704 Customer Transfer
 Confidential Customer Coin Transferee #13668   [Address on File]     6/20/2023 Bitcoin                                0.00034867 Customer Transfer
 Confidential Customer Coin Transferee #13669   [Address on File]     5/26/2023 Bitcoin                                0.01298979 Customer Transfer
 Confidential Customer Coin Transferee #13669   [Address on File]     5/31/2023 Bitcoin                                0.01286493 Customer Transfer
 Confidential Customer Coin Transferee #13669   [Address on File]     5/25/2023 Bitcoin                                0.01132254 Customer Transfer
 Confidential Customer Coin Transferee #13669   [Address on File]     5/30/2023 Bitcoin                                0.01098157 Customer Transfer
 Confidential Customer Coin Transferee #13669   [Address on File]     5/17/2023 Bitcoin                                0.00931751 Customer Transfer
 Confidential Customer Coin Transferee #13669   [Address on File]     5/22/2023 Bitcoin                                0.00904705 Customer Transfer
 Confidential Customer Coin Transferee #13670   [Address on File]     5/20/2023 Bitcoin                                0.01134166 Customer Transfer
 Confidential Customer Coin Transferee #13671   [Address on File]     6/15/2023 Bitcoin                                0.01187837 Customer Transfer
 Confidential Customer Coin Transferee #13671   [Address on File]     6/16/2023 Bitcoin                                0.01183368 Customer Transfer
 Confidential Customer Coin Transferee #13671   [Address on File]     6/15/2023 Bitcoin                                 0.0118179 Customer Transfer
 Confidential Customer Coin Transferee #13671   [Address on File]      6/6/2023 Bitcoin                                0.01155296 Customer Transfer
 Confidential Customer Coin Transferee #13671   [Address on File]     6/17/2023 Bitcoin                                0.01150794 Customer Transfer
 Confidential Customer Coin Transferee #13671   [Address on File]     6/12/2023 Bitcoin                                0.01113975 Customer Transfer
 Confidential Customer Coin Transferee #13671   [Address on File]     5/17/2023 Bitcoin                                0.01111273 Customer Transfer
 Confidential Customer Coin Transferee #13672   [Address on File]     6/19/2023 Bitcoin                                0.01070577 Customer Transfer
 Confidential Customer Coin Transferee #13673   [Address on File]     6/20/2023 Bitcoin                                0.00045193 Customer Transfer
 Confidential Customer Coin Transferee #13674   [Address on File]     5/18/2023 USD Coin                                    54.61 Customer Transfer
 Confidential Customer Coin Transferee #13675   [Address on File]     6/20/2023 Bitcoin                                0.00109014 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13676   [Address on File]      6/9/2023 Tether USD                           1782.7797 Customer Transfer
 Confidential Customer Coin Transferee #13677   [Address on File]     5/24/2023 Bitcoin                             0.00323874 Customer Transfer
 Confidential Customer Coin Transferee #13678   [Address on File]     5/22/2023 Bitcoin                             0.01026212 Customer Transfer

 Confidential Customer Coin Transferee #13679   [Address on File]     6/10/2023 Cosmos Hub ATOM)                        19.394623 Customer Transfer

 Confidential Customer Coin Transferee #13679   [Address on File]      6/7/2023 Cosmos Hub ATOM)                        16.201379 Customer Transfer

 Confidential Customer Coin Transferee #13679   [Address on File]      6/5/2023 Cosmos Hub ATOM)                        15.521039 Customer Transfer
 Confidential Customer Coin Transferee #13680   [Address on File]     5/24/2023 Bitcoin                                0.19054508 Customer Transfer
 Confidential Customer Coin Transferee #13681   [Address on File]      6/2/2023 USDC Avalanche)                        107.746126 Customer Transfer
 Confidential Customer Coin Transferee #13681   [Address on File]     6/10/2023 Cosmos Hub ATOM)                         8.990189 Customer Transfer
 Confidential Customer Coin Transferee #13682   [Address on File]     5/25/2023 Bitcoin                                0.00215419 Customer Transfer
 Confidential Customer Coin Transferee #13683   [Address on File]     5/25/2023 Bitcoin                                 0.0222806 Customer Transfer
 Confidential Customer Coin Transferee #13684   [Address on File]     6/19/2023 Bitcoin                                0.00005853 Customer Transfer
 Confidential Customer Coin Transferee #13685   [Address on File]     5/25/2023 Ether                                     1.115629 Customer Transfer
 Confidential Customer Coin Transferee #13686   [Address on File]     5/24/2023 Bitcoin                                 0.0036257 Customer Transfer

 Confidential Customer Coin Transferee #13687   [Address on File]     6/20/2023 Bitcoin                                0.04159223 Customer Transfer

 Confidential Customer Coin Transferee #13687   [Address on File]     6/19/2023 Bitcoin                                   0.00375 Customer Transfer

 Confidential Customer Coin Transferee #13687   [Address on File]     6/19/2023 Bitcoin                                    0.0002 Customer Transfer

 Confidential Customer Coin Transferee #13687   [Address on File]     6/19/2023 Bitcoin                                      0.0002 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                                0.00151126 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                                0.00150867 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                                0.00149964 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                                0.00148295 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                                0.00148024 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                                   0.001475 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                                0.00140201 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                                0.00135839 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                                0.00132334 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                                0.00130782 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                                0.00129575 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                              0.0012549 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                             0.00124235 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                             0.00122956 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                             0.00122746 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                             0.00121962 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                             0.00118994 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                             0.00116457 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                             0.00113096 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                              0.0010916 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/20/2023 Bitcoin                             0.00103859 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/26/2023 Bitcoin                              0.0009175 Customer Transfer
 Confidential Customer Coin Transferee #13688   [Address on File]     5/19/2023 Bitcoin                             0.00090541 Customer Transfer
 Confidential Customer Coin Transferee #13689   [Address on File]     6/19/2023 Bitcoin                             0.00294055 Customer Transfer
 Confidential Customer Coin Transferee #13690   [Address on File]     5/31/2023 Bitcoin                             0.00233105 Customer Transfer
 Confidential Customer Coin Transferee #13691   [Address on File]     5/21/2023 Bitcoin                             0.07379199 Customer Transfer
 Confidential Customer Coin Transferee #13692   [Address on File]     5/17/2023 Bitcoin                              0.0506474 Customer Transfer
 Confidential Customer Coin Transferee #13693   [Address on File]     5/16/2023 Bitcoin                                 0.00106 Customer Transfer
 Confidential Customer Coin Transferee #13694   [Address on File]     5/20/2023 Bitcoin                             0.00737542 Customer Transfer
 Confidential Customer Coin Transferee #13695   [Address on File]     5/25/2023 Bitcoin                             0.01044714 Customer Transfer
 Confidential Customer Coin Transferee #13696   [Address on File]     5/19/2023 Bitcoin                             0.00523723 Customer Transfer
 Confidential Customer Coin Transferee #13697   [Address on File]     5/19/2023 Bitcoin                             0.01232213 Customer Transfer
 Confidential Customer Coin Transferee #13697   [Address on File]     5/26/2023 Bitcoin                             0.00692179 Customer Transfer
 Confidential Customer Coin Transferee #13697   [Address on File]     5/27/2023 Bitcoin                             0.00037104 Customer Transfer
 Confidential Customer Coin Transferee #13698   [Address on File]     5/30/2023 Bitcoin                             0.02543724 Customer Transfer

 Confidential Customer Coin Transferee #13699   [Address on File]      6/7/2023 Tether USD                                 1832.44 Customer Transfer
 Confidential Customer Coin Transferee #13700   [Address on File]     6/20/2023 Bitcoin                                0.03429016 Customer Transfer
 Confidential Customer Coin Transferee #13701   [Address on File]     6/19/2023 Bitcoin                                 0.0000587 Customer Transfer
 Confidential Customer Coin Transferee #13702   [Address on File]     6/20/2023 Bitcoin                                0.00308305 Customer Transfer
 Confidential Customer Coin Transferee #13703   [Address on File]     5/22/2023 Bitcoin                                0.00377928 Customer Transfer
 Confidential Customer Coin Transferee #13703   [Address on File]     5/29/2023 Bitcoin                                0.00370896 Customer Transfer
 Confidential Customer Coin Transferee #13704   [Address on File]      6/4/2023 Tether USD                                169.7327 Customer Transfer
 Confidential Customer Coin Transferee #13705   [Address on File]     5/25/2023 Bitcoin                                 0.0043644 Customer Transfer
 Confidential Customer Coin Transferee #13706   [Address on File]     6/19/2023 Bitcoin                                0.01010655 Customer Transfer
 Confidential Customer Coin Transferee #13707   [Address on File]     6/19/2023 Bitcoin                                0.00042237 Customer Transfer
 Confidential Customer Coin Transferee #13708   [Address on File]     6/19/2023 Bitcoin                                0.01047899 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date           Crypto Currency             Unit Count           or Transfer

 Confidential Customer Coin Transferee #13709   [Address on File]     6/20/2023 Audius                                       76044 Customer Transfer
 Confidential Customer Coin Transferee #13710   [Address on File]     5/16/2023 Bitcoin                                0.20314409 Customer Transfer
 Confidential Customer Coin Transferee #13711   [Address on File]     5/16/2023 Bitcoin                                0.01089195 Customer Transfer
 Confidential Customer Coin Transferee #13712   [Address on File]     5/24/2023 Bitcoin                                0.00558748 Customer Transfer
 Confidential Customer Coin Transferee #13712   [Address on File]     5/21/2023 Bitcoin                                0.00371382 Customer Transfer
 Confidential Customer Coin Transferee #13713   [Address on File]     5/19/2023 Bitcoin                                0.00184832 Customer Transfer
 Confidential Customer Coin Transferee #13713   [Address on File]     5/19/2023 Bitcoin                                0.00130403 Customer Transfer
 Confidential Customer Coin Transferee #13713   [Address on File]     5/30/2023 Bitcoin                                0.00125588 Customer Transfer
 Confidential Customer Coin Transferee #13714   [Address on File]     5/23/2023 Bitcoin                                0.08551376 Customer Transfer
 Confidential Customer Coin Transferee #13714   [Address on File]     5/25/2023 Bitcoin                                0.05672061 Customer Transfer
 Confidential Customer Coin Transferee #13715   [Address on File]     5/19/2023 Bitcoin                                 0.0740545 Customer Transfer
 Confidential Customer Coin Transferee #13716   [Address on File]     6/12/2023 Bitcoin                                0.01249035 Customer Transfer
 Confidential Customer Coin Transferee #13717   [Address on File]     5/23/2023 Bitcoin                                0.05024575 Customer Transfer
 Confidential Customer Coin Transferee #13718   [Address on File]     6/19/2023 Bitcoin                                0.00005802 Customer Transfer
 Confidential Customer Coin Transferee #13719   [Address on File]      6/5/2023 Bitcoin Cash                                  0.005 Customer Transfer
 Confidential Customer Coin Transferee #13720   [Address on File]     5/22/2023 Bitcoin                                0.01050667 Customer Transfer
 Confidential Customer Coin Transferee #13721   [Address on File]     5/24/2023 Bitcoin                                0.01058676 Customer Transfer
 Confidential Customer Coin Transferee #13722   [Address on File]     5/28/2023 Bitcoin                                   0.012948 Customer Transfer
 Confidential Customer Coin Transferee #13722   [Address on File]     5/21/2023 Bitcoin                                 0.0122743 Customer Transfer
 Confidential Customer Coin Transferee #13723   [Address on File]     6/19/2023 Bitcoin                                0.00169767 Customer Transfer
 Confidential Customer Coin Transferee #13724   [Address on File]     6/20/2023 Bitcoin                                0.00005825 Customer Transfer
 Confidential Customer Coin Transferee #13725   [Address on File]     6/19/2023 Bitcoin                                0.00095346 Customer Transfer
 Confidential Customer Coin Transferee #13726   [Address on File]     5/16/2023 Bitcoin                                0.04537027 Customer Transfer
 Confidential Customer Coin Transferee #13727   [Address on File]     6/20/2023 Bitcoin                                0.00368892 Customer Transfer
 Confidential Customer Coin Transferee #13728   [Address on File]      6/6/2023 Bitcoin                                0.00773665 Customer Transfer
 Confidential Customer Coin Transferee #13729   [Address on File]      6/2/2023 Bitcoin                                0.00488601 Customer Transfer
 Confidential Customer Coin Transferee #13730   [Address on File]     6/20/2023 Bitcoin                                0.00036054 Customer Transfer
 Confidential Customer Coin Transferee #13731   [Address on File]     5/21/2023 Bitcoin                                0.01243779 Customer Transfer
 Confidential Customer Coin Transferee #13732   [Address on File]     5/17/2023 Bitcoin                                0.04340378 Customer Transfer
 Confidential Customer Coin Transferee #13733   [Address on File]     5/30/2023 Bitcoin                                0.02503334 Customer Transfer
 Confidential Customer Coin Transferee #13734   [Address on File]     6/20/2023 Bitcoin                                0.00650305 Customer Transfer
 Confidential Customer Coin Transferee #13735   [Address on File]     5/22/2023 Bitcoin                                0.00561259 Customer Transfer
 Confidential Customer Coin Transferee #13735   [Address on File]     5/29/2023 Bitcoin                                0.00557961 Customer Transfer
 Confidential Customer Coin Transferee #13736   [Address on File]     6/20/2023 Bitcoin                                0.00090592 Customer Transfer
 Confidential Customer Coin Transferee #13737   [Address on File]     5/30/2023 Bitcoin                                    0.04573 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13738   [Address on File]     6/19/2023 Bitcoin                             0.00026256 Customer Transfer
 Confidential Customer Coin Transferee #13739   [Address on File]     6/20/2023 Bitcoin                             0.00014158 Customer Transfer
 Confidential Customer Coin Transferee #13740   [Address on File]     5/29/2023 Bitcoin                             0.00779782 Customer Transfer
 Confidential Customer Coin Transferee #13740   [Address on File]     5/19/2023 Bitcoin                             0.00732225 Customer Transfer
 Confidential Customer Coin Transferee #13740   [Address on File]     5/22/2023 Bitcoin                             0.00325788 Customer Transfer
 Confidential Customer Coin Transferee #13741   [Address on File]     6/13/2023 Bitcoin                             0.00037036 Customer Transfer
 Confidential Customer Coin Transferee #13742   [Address on File]     6/15/2023 Bitcoin                             0.03976591 Customer Transfer
 Confidential Customer Coin Transferee #13742   [Address on File]     5/22/2023 Bitcoin                             0.00184774 Customer Transfer
 Confidential Customer Coin Transferee #13743   [Address on File]     6/20/2023 Bitcoin                             0.00023562 Customer Transfer
 Confidential Customer Coin Transferee #13744   [Address on File]     5/28/2023 Bitcoin                             0.01295991 Customer Transfer
 Confidential Customer Coin Transferee #13744   [Address on File]     5/21/2023 Bitcoin                             0.01227063 Customer Transfer
 Confidential Customer Coin Transferee #13745   [Address on File]     5/19/2023 Bitcoin                              0.0005558 Customer Transfer
 Confidential Customer Coin Transferee #13746   [Address on File]     5/22/2023 Bitcoin                             0.00909663 Customer Transfer
 Confidential Customer Coin Transferee #13747   [Address on File]     5/19/2023 Bitcoin                             0.01048094 Customer Transfer
 Confidential Customer Coin Transferee #13748   [Address on File]     5/19/2023 Bitcoin                                  0.1588 Customer Transfer
 Confidential Customer Coin Transferee #13748   [Address on File]     5/24/2023 Bitcoin                                    0.147 Customer Transfer
 Confidential Customer Coin Transferee #13749   [Address on File]     6/19/2023 Bitcoin                             0.00012364 Customer Transfer
 Confidential Customer Coin Transferee #13750   [Address on File]     5/23/2023 Bitcoin                             0.00093402 Customer Transfer
 Confidential Customer Coin Transferee #13750   [Address on File]     5/30/2023 Bitcoin                             0.00092891 Customer Transfer
 Confidential Customer Coin Transferee #13750   [Address on File]     5/16/2023 Bitcoin                             0.00084384 Customer Transfer
 Confidential Customer Coin Transferee #13751   [Address on File]     5/19/2023 Bitcoin                             0.00037176 Customer Transfer
 Confidential Customer Coin Transferee #13751   [Address on File]     5/24/2023 Bitcoin                                 0.00032 Customer Transfer
 Confidential Customer Coin Transferee #13751   [Address on File]     5/24/2023 Bitcoin                             0.00023214 Customer Transfer
 Confidential Customer Coin Transferee #13751   [Address on File]     5/24/2023 Bitcoin                             0.00014718 Customer Transfer
 Confidential Customer Coin Transferee #13752   [Address on File]     5/25/2023 Bitcoin                             0.01285686 Customer Transfer
 Confidential Customer Coin Transferee #13752   [Address on File]     5/18/2023 Bitcoin                             0.01211297 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/17/2023 Bitcoin                             0.00290737 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/21/2023 Bitcoin                             0.00278842 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/24/2023 Bitcoin                             0.00260897 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/17/2023 Bitcoin                             0.00257904 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/18/2023 Bitcoin                             0.00249261 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/24/2023 Bitcoin                             0.00241042 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/30/2023 Bitcoin                             0.00240625 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/19/2023 Bitcoin                             0.00225976 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/31/2023 Bitcoin                             0.00202792 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/27/2023 Bitcoin                             0.00197013 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/19/2023 Bitcoin                             0.00184752 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/30/2023 Bitcoin                             0.00178477 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/24/2023 Bitcoin                             0.00177642 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/31/2023 Bitcoin                             0.00177475 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/27/2023 Bitcoin                             0.00171498 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/24/2023 Bitcoin                             0.00159966 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/26/2023 Bitcoin                              0.0015566 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/20/2023 Bitcoin                             0.00149875 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/22/2023 Bitcoin                             0.00148443 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/16/2023 Bitcoin                             0.00147975 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/20/2023 Bitcoin                             0.00147726 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/25/2023 Bitcoin                             0.00140331 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/25/2023 Bitcoin                             0.00140067 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/25/2023 Bitcoin                             0.00136928 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/28/2023 Bitcoin                             0.00131605 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/29/2023 Bitcoin                              0.0012955 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/26/2023 Bitcoin                              0.0012805 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/26/2023 Bitcoin                             0.00127842 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/29/2023 Bitcoin                             0.00127487 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/30/2023 Bitcoin                             0.00125408 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/29/2023 Bitcoin                             0.00119095 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/31/2023 Bitcoin                             0.00117378 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/19/2023 Bitcoin                             0.00116338 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/22/2023 Bitcoin                             0.00113805 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/22/2023 Bitcoin                             0.00111714 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/17/2023 Bitcoin                             0.00111025 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/27/2023 Bitcoin                             0.00109742 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/24/2023 Bitcoin                             0.00109141 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/19/2023 Bitcoin                             0.00109096 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/20/2023 Bitcoin                             0.00105383 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/28/2023 Bitcoin                             0.00105316 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/20/2023 Bitcoin                             0.00104874 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/29/2023 Bitcoin                              0.0010437 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/30/2023 Bitcoin                             0.00103842 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/29/2023 Bitcoin                             0.00102781 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/21/2023 Bitcoin                              0.0010183 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                   Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count       or Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/24/2023 Bitcoin                             0.00097697 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/22/2023 Bitcoin                             0.00093408 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/27/2023 Bitcoin                             0.00089395 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/19/2023 Bitcoin                             0.00088799 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/25/2023 Bitcoin                             0.00088576 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/28/2023 Bitcoin                             0.00087661 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/22/2023 Bitcoin                             0.00085973 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/18/2023 Bitcoin                              0.0008456 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/17/2023 Bitcoin                             0.00084388 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/22/2023 Bitcoin                             0.00079928 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/22/2023 Bitcoin                             0.00077814 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/28/2023 Bitcoin                             0.00076966 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/22/2023 Bitcoin                             0.00074328 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/22/2023 Bitcoin                             0.00073904 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/20/2023 Bitcoin                             0.00073884 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/27/2023 Bitcoin                             0.00073393 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/18/2023 Bitcoin                             0.00072849 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/25/2023 Bitcoin                             0.00071966 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/30/2023 Bitcoin                             0.00071545 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/27/2023 Bitcoin                             0.00070715 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/22/2023 Bitcoin                             0.00070356 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/28/2023 Bitcoin                             0.00069283 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/27/2023 Bitcoin                              0.0005948 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/27/2023 Bitcoin                             0.00055744 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/17/2023 Bitcoin                             0.00049063 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/22/2023 Bitcoin                             0.00028247 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/26/2023 Bitcoin                             0.00024506 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/20/2023 Bitcoin                             0.00020742 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/19/2023 Bitcoin                             0.00007029 Customer Transfer
 Confidential Customer Coin Transferee #13753   [Address on File]     5/25/2023 Bitcoin                             0.00006046 Customer Transfer
 Confidential Customer Coin Transferee #13754   [Address on File]     6/19/2023 Bitcoin                             0.00005614 Customer Transfer
 Confidential Customer Coin Transferee #13755   [Address on File]     6/12/2023 Bitcoin                             0.00065993 Customer Transfer
 Confidential Customer Coin Transferee #13755   [Address on File]     6/19/2023 Bitcoin                             0.00030385 Customer Transfer

 Confidential Customer Coin Transferee #13756   [Address on File]      6/8/2023 Audius                                     900000 Customer Transfer
 Confidential Customer Coin Transferee #13757   [Address on File]     5/19/2023 Bitcoin                                0.00277168 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13757   [Address on File]     5/27/2023 Bitcoin                             0.00260483 Customer Transfer
 Confidential Customer Coin Transferee #13757   [Address on File]     5/20/2023 Bitcoin                             0.00258981 Customer Transfer
 Confidential Customer Coin Transferee #13757   [Address on File]      6/1/2023 Bitcoin                             0.00221876 Customer Transfer
 Confidential Customer Coin Transferee #13757   [Address on File]     5/30/2023 Bitcoin                             0.00214139 Customer Transfer
 Confidential Customer Coin Transferee #13758   [Address on File]     5/22/2023 Bitcoin                             0.05134957 Customer Transfer
 Confidential Customer Coin Transferee #13758   [Address on File]     5/25/2023 Bitcoin                             0.05015464 Customer Transfer
 Confidential Customer Coin Transferee #13759   [Address on File]     5/28/2023 Bitcoin                             0.08853999 Customer Transfer
 Confidential Customer Coin Transferee #13760   [Address on File]     6/20/2023 Bitcoin                             0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #13761   [Address on File]     5/20/2023 Bitcoin                             0.01003414 Customer Transfer
 Confidential Customer Coin Transferee #13762   [Address on File]      6/1/2023 Bitcoin                             0.00798083 Customer Transfer
 Confidential Customer Coin Transferee #13762   [Address on File]      6/1/2023 Bitcoin                             0.00362062 Customer Transfer
 Confidential Customer Coin Transferee #13762   [Address on File]      6/1/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #13762   [Address on File]      6/1/2023 Bitcoin                                 0.00015 Customer Transfer
 Confidential Customer Coin Transferee #13763   [Address on File]     5/27/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #13764   [Address on File]     5/17/2023 Bitcoin                              0.0133574 Customer Transfer
 Confidential Customer Coin Transferee #13765   [Address on File]     5/16/2023 Bitcoin                             0.10990374 Customer Transfer
 Confidential Customer Coin Transferee #13765   [Address on File]     5/29/2023 Bitcoin                             0.10528397 Customer Transfer
 Confidential Customer Coin Transferee #13765   [Address on File]     5/25/2023 Bitcoin                             0.09882834 Customer Transfer
 Confidential Customer Coin Transferee #13765   [Address on File]     5/20/2023 Bitcoin                             0.08567168 Customer Transfer
 Confidential Customer Coin Transferee #13766   [Address on File]     5/18/2023 Bitcoin                             0.00498615 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/20/2023 Bitcoin                             0.00221879 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/20/2023 Bitcoin                                0.001203 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/20/2023 Bitcoin                             0.00111082 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/23/2023 Bitcoin                             0.00107317 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/20/2023 Bitcoin                                0.001017 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/22/2023 Bitcoin                             0.00100685 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/20/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/22/2023 Bitcoin                             0.00099847 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/20/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/20/2023 Bitcoin                             0.00089541 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/24/2023 Bitcoin                             0.00086849 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/21/2023 Bitcoin                             0.00084851 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/18/2023 Bitcoin                             0.00083081 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/23/2023 Bitcoin                             0.00076633 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/22/2023 Bitcoin                             0.00074276 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/27/2023 Bitcoin                             0.00059347 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/17/2023 Bitcoin                             0.00055974 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/30/2023 Bitcoin                             0.00054464 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/21/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/21/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/27/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/23/2023 Bitcoin                             0.00045071 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/28/2023 Bitcoin                             0.00035266 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/29/2023 Bitcoin                             0.00034159 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/29/2023 Bitcoin                             0.00033197 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/27/2023 Bitcoin                             0.00031697 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/16/2023 Bitcoin                             0.00031685 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/16/2023 Bitcoin                             0.00031536 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/17/2023 Bitcoin                             0.00031273 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/27/2023 Bitcoin                                  0.0003 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/23/2023 Bitcoin                             0.00026312 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/22/2023 Bitcoin                             0.00022209 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/18/2023 Bitcoin                             0.00016782 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/29/2023 Bitcoin                             0.00016173 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/29/2023 Bitcoin                             0.00016158 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/25/2023 Bitcoin                             0.00013165 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/17/2023 Bitcoin                             0.00010765 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/30/2023 Bitcoin                             0.00007719 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/16/2023 Bitcoin                             0.00006224 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/29/2023 Bitcoin                             0.00005381 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/22/2023 Bitcoin                             0.00003409 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/28/2023 Bitcoin                             0.00003371 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/23/2023 Bitcoin                             0.00003106 Customer Transfer
 Confidential Customer Coin Transferee #13767   [Address on File]     5/24/2023 Bitcoin                             0.00001632 Customer Transfer
 Confidential Customer Coin Transferee #13768   [Address on File]     5/30/2023 Bitcoin                             0.00136104 Customer Transfer
 Confidential Customer Coin Transferee #13768   [Address on File]     5/18/2023 Bitcoin                             0.00125853 Customer Transfer
 Confidential Customer Coin Transferee #13768   [Address on File]     5/23/2023 Bitcoin                             0.00124247 Customer Transfer
 Confidential Customer Coin Transferee #13768   [Address on File]     5/18/2023 Bitcoin                             0.00103551 Customer Transfer
 Confidential Customer Coin Transferee #13768   [Address on File]     5/20/2023 Bitcoin                             0.00053052 Customer Transfer
 Confidential Customer Coin Transferee #13768   [Address on File]     5/21/2023 Bitcoin                             0.00021419 Customer Transfer
 Confidential Customer Coin Transferee #13768   [Address on File]     5/17/2023 Bitcoin                             0.00014673 Customer Transfer
 Confidential Customer Coin Transferee #13768   [Address on File]     5/23/2023 Bitcoin                             0.00013513 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13768   [Address on File]     5/26/2023 Bitcoin                             0.00003457 Customer Transfer
 Confidential Customer Coin Transferee #13769   [Address on File]     5/23/2023 Bitcoin                             0.00052703 Customer Transfer
 Confidential Customer Coin Transferee #13769   [Address on File]     5/23/2023 Bitcoin                             0.00051121 Customer Transfer
 Confidential Customer Coin Transferee #13769   [Address on File]     5/24/2023 Bitcoin                             0.00028582 Customer Transfer
 Confidential Customer Coin Transferee #13769   [Address on File]     5/18/2023 Bitcoin                             0.00021159 Customer Transfer
 Confidential Customer Coin Transferee #13769   [Address on File]     5/27/2023 Bitcoin                             0.00009058 Customer Transfer
 Confidential Customer Coin Transferee #13770   [Address on File]     5/27/2023 Bitcoin                             0.00744778 Customer Transfer
 Confidential Customer Coin Transferee #13771   [Address on File]     6/20/2023 Bitcoin                             0.00224071 Customer Transfer
 Confidential Customer Coin Transferee #13772   [Address on File]     6/12/2023 Bitcoin                             0.00340223 Customer Transfer
 Confidential Customer Coin Transferee #13772   [Address on File]     6/13/2023 Bitcoin                             0.00192034 Customer Transfer
 Confidential Customer Coin Transferee #13773   [Address on File]     6/19/2023 Bitcoin                             0.00093668 Customer Transfer
 Confidential Customer Coin Transferee #13774   [Address on File]     6/19/2023 Bitcoin                             0.00053014 Customer Transfer
 Confidential Customer Coin Transferee #13775   [Address on File]      6/6/2023 Bitcoin                             0.00059692 Customer Transfer
 Confidential Customer Coin Transferee #13776   [Address on File]     6/20/2023 Bitcoin                             0.00291138 Customer Transfer
 Confidential Customer Coin Transferee #13777   [Address on File]     6/19/2023 Bitcoin                             0.00169405 Customer Transfer
 Confidential Customer Coin Transferee #13778   [Address on File]     6/20/2023 Bitcoin                             0.00054127 Customer Transfer
 Confidential Customer Coin Transferee #13779   [Address on File]     5/26/2023 Bitcoin                                0.030158 Customer Transfer
 Confidential Customer Coin Transferee #13779   [Address on File]     5/26/2023 Bitcoin                                    0.006 Customer Transfer
 Confidential Customer Coin Transferee #13780   [Address on File]     6/20/2023 Bitcoin                             0.00071035 Customer Transfer
 Confidential Customer Coin Transferee #13781   [Address on File]     5/20/2023 Bitcoin                             0.01142083 Customer Transfer
 Confidential Customer Coin Transferee #13782   [Address on File]     5/21/2023 Bitcoin                             0.01045315 Customer Transfer
 Confidential Customer Coin Transferee #13783   [Address on File]     6/20/2023 Bitcoin                             0.01471846 Customer Transfer
 Confidential Customer Coin Transferee #13784   [Address on File]     6/19/2023 Bitcoin                             0.07739431 Customer Transfer
 Confidential Customer Coin Transferee #13785   [Address on File]     5/25/2023 Bitcoin                              0.0003641 Customer Transfer

 Confidential Customer Coin Transferee #13786   [Address on File]     6/19/2023 Ether                                  0.04885427 Customer Transfer

 Confidential Customer Coin Transferee #13786   [Address on File]      6/2/2023 Ether                                  0.03548244 Customer Transfer

 Confidential Customer Coin Transferee #13786   [Address on File]     5/19/2023 Ether                                   0.0354488 Customer Transfer

 Confidential Customer Coin Transferee #13786   [Address on File]     5/26/2023 Ether                                  0.02715323 Customer Transfer

 Confidential Customer Coin Transferee #13786   [Address on File]     6/19/2023 Bitcoin                                0.00173113 Customer Transfer

 Confidential Customer Coin Transferee #13786   [Address on File]      6/2/2023 Bitcoin                                 0.0013368 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count           or Transfer

 Confidential Customer Coin Transferee #13786   [Address on File]     5/19/2023 Bitcoin                                0.00128605 Customer Transfer

 Confidential Customer Coin Transferee #13786   [Address on File]     5/26/2023 Bitcoin                                0.00100411 Customer Transfer
 Confidential Customer Coin Transferee #13787   [Address on File]     5/25/2023 Bitcoin                                0.00112699 Customer Transfer
 Confidential Customer Coin Transferee #13787   [Address on File]     5/17/2023 Bitcoin                                0.00110893 Customer Transfer
 Confidential Customer Coin Transferee #13787   [Address on File]     5/18/2023 Bitcoin                                   0.001102 Customer Transfer
 Confidential Customer Coin Transferee #13787   [Address on File]     5/23/2023 Bitcoin                                0.00109199 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/17/2023 Bitcoin                                    0.00152 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                                    0.00152 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                                0.00110228 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/24/2023 Bitcoin                                 0.0010905 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/18/2023 Bitcoin                                0.00094786 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/16/2023 Bitcoin                                0.00092015 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/18/2023 Bitcoin                                0.00091478 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/16/2023 Bitcoin                                0.00091269 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                                      0.0008 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/22/2023 Bitcoin                                      0.0008 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/27/2023 Bitcoin                                      0.0008 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                                0.00078851 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/17/2023 Bitcoin                                0.00078849 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/27/2023 Bitcoin                                0.00078195 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/29/2023 Bitcoin                                0.00078028 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/18/2023 Bitcoin                                0.00076299 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/25/2023 Bitcoin                                    0.00076 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/25/2023 Bitcoin                                0.00075654 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/22/2023 Bitcoin                                 0.0007399 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/17/2023 Bitcoin                                   0.000735 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/31/2023 Bitcoin                                0.00073293 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/22/2023 Bitcoin                                0.00072541 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/23/2023 Bitcoin                                0.00071958 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/25/2023 Bitcoin                                0.00071555 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/29/2023 Bitcoin                                0.00070939 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/29/2023 Bitcoin                                0.00070773 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/22/2023 Bitcoin                                0.00070558 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/22/2023 Bitcoin                                0.00070288 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/22/2023 Bitcoin                             0.00070249 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/27/2023 Bitcoin                             0.00070104 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                                  0.0007 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/27/2023 Bitcoin                             0.00068655 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/28/2023 Bitcoin                             0.00068386 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/29/2023 Bitcoin                                 0.00068 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/21/2023 Bitcoin                             0.00065848 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/22/2023 Bitcoin                              0.0006482 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                              0.0006425 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/29/2023 Bitcoin                             0.00061926 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/17/2023 Bitcoin                                  0.0006 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/26/2023 Bitcoin                                  0.0006 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/22/2023 Bitcoin                             0.00059593 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/17/2023 Bitcoin                             0.00058793 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                                 0.00057 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/25/2023 Bitcoin                              0.0005688 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/27/2023 Bitcoin                             0.00056011 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                                 0.00056 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/17/2023 Bitcoin                             0.00055044 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/17/2023 Bitcoin                                 0.00055 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                                 0.00054 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/29/2023 Bitcoin                             0.00053487 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/17/2023 Bitcoin                                 0.00053 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                                 0.00053 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/27/2023 Bitcoin                             0.00052165 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/17/2023 Bitcoin                             0.00051414 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/22/2023 Bitcoin                             0.00050572 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                                  0.0005 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                             0.00049605 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/21/2023 Bitcoin                             0.00049429 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/17/2023 Bitcoin                             0.00048377 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/17/2023 Bitcoin                             0.00048269 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/23/2023 Bitcoin                             0.00045339 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/16/2023 Bitcoin                             0.00044068 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/20/2023 Bitcoin                              0.0004317 Customer Transfer
 Confidential Customer Coin Transferee #13788   [Address on File]     5/29/2023 Bitcoin                             0.00042589 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count         or Transfer
 Confidential Customer Coin Transferee #13789   [Address on File]     6/20/2023 Bitcoin                             0.00059039 Customer Transfer
 Confidential Customer Coin Transferee #13790   [Address on File]     5/21/2023 Bitcoin                                     0.13 Customer Transfer
 Confidential Customer Coin Transferee #13790   [Address on File]     5/26/2023 Bitcoin                                     0.11 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/26/2023 Bitcoin                             0.00148508 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/22/2023 Bitcoin                             0.00148111 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/18/2023 Bitcoin                             0.00145065 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/28/2023 Bitcoin                             0.00135173 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/22/2023 Bitcoin                             0.00132709 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/20/2023 Bitcoin                             0.00122107 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/31/2023 Bitcoin                             0.00114479 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/22/2023 Bitcoin                             0.00111137 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/17/2023 Bitcoin                              0.0010451 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/16/2023 Bitcoin                             0.00102269 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/28/2023 Bitcoin                             0.00102268 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/27/2023 Bitcoin                             0.00100366 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/18/2023 Bitcoin                             0.00076575 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/26/2023 Bitcoin                             0.00074596 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/22/2023 Bitcoin                             0.00064685 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/17/2023 Bitcoin                             0.00057749 Customer Transfer
 Confidential Customer Coin Transferee #13791   [Address on File]     5/18/2023 Bitcoin                             0.00044613 Customer Transfer
 Confidential Customer Coin Transferee #13792   [Address on File]     6/20/2023 Bitcoin                             0.00094052 Customer Transfer
 Confidential Customer Coin Transferee #13793   [Address on File]     6/19/2023 Bitcoin                             0.00069655 Customer Transfer
 Confidential Customer Coin Transferee #13794   [Address on File]     6/20/2023 Bitcoin                             0.00046965 Customer Transfer
 Confidential Customer Coin Transferee #13795   [Address on File]     5/26/2023 Bitcoin                                     0.03 Customer Transfer
 Confidential Customer Coin Transferee #13796   [Address on File]      6/5/2023 Bitcoin                             0.00253663 Customer Transfer
 Confidential Customer Coin Transferee #13797   [Address on File]     5/23/2023 Bitcoin                             0.55398814 Customer Transfer
 Confidential Customer Coin Transferee #13797   [Address on File]     5/25/2023 Bitcoin                             0.55383127 Customer Transfer
 Confidential Customer Coin Transferee #13797   [Address on File]     5/19/2023 Bitcoin                             0.55227879 Customer Transfer
 Confidential Customer Coin Transferee #13798   [Address on File]     6/19/2023 Bitcoin                             0.01796949 Customer Transfer
 Confidential Customer Coin Transferee #13799   [Address on File]     6/20/2023 Bitcoin                             0.00044346 Customer Transfer
 Confidential Customer Coin Transferee #13800   [Address on File]     6/20/2023 Bitcoin                             0.00080108 Customer Transfer
 Confidential Customer Coin Transferee #13801   [Address on File]     5/31/2023 Bitcoin                             0.02746757 Customer Transfer
 Confidential Customer Coin Transferee #13801   [Address on File]      6/1/2023 Bitcoin                             0.00172078 Customer Transfer
 Confidential Customer Coin Transferee #13801   [Address on File]      6/1/2023 Bitcoin                                  0.0003 Customer Transfer
 Confidential Customer Coin Transferee #13802   [Address on File]     6/20/2023 Bitcoin                             0.01616516 Customer Transfer
 Confidential Customer Coin Transferee #13803   [Address on File]     6/20/2023 Bitcoin                             0.00286685 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #13804   [Address on File]     6/21/2023 Bitcoin                             0.01073698 Customer Transfer
 Confidential Customer Coin Transferee #13805   [Address on File]     5/27/2023 Bitcoin                             0.01527248 Customer Transfer
 Confidential Customer Coin Transferee #13805   [Address on File]     5/27/2023 Bitcoin                             0.01108518 Customer Transfer
 Confidential Customer Coin Transferee #13806   [Address on File]     6/19/2023 Bitcoin                             0.01794694 Customer Transfer
 Confidential Customer Coin Transferee #13807   [Address on File]     5/26/2023 Bitcoin                             0.00955206 Customer Transfer
 Confidential Customer Coin Transferee #13808   [Address on File]     5/27/2023 Bitcoin                             0.00756046 Customer Transfer
 Confidential Customer Coin Transferee #13809   [Address on File]     5/30/2023 Bitcoin                                 0.00011 Customer Transfer
 Confidential Customer Coin Transferee #13810   [Address on File]     5/21/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #13811   [Address on File]     5/26/2023 Bitcoin                             0.16374875 Customer Transfer
 Confidential Customer Coin Transferee #13812   [Address on File]     5/18/2023 USDC Avalanche)                     252.343828 Customer Transfer
 Confidential Customer Coin Transferee #13812   [Address on File]     6/21/2023 Cosmos Hub ATOM)                     32.659274 Customer Transfer
 Confidential Customer Coin Transferee #13813   [Address on File]     5/20/2023 Bitcoin                             0.01625394 Customer Transfer
 Confidential Customer Coin Transferee #13814   [Address on File]     5/26/2023 USDC Avalanche)                    2993.083458 Customer Transfer
 Confidential Customer Coin Transferee #13814   [Address on File]     5/24/2023 USDC Avalanche)                    1495.621313 Customer Transfer
 Confidential Customer Coin Transferee #13814   [Address on File]     6/21/2023 USDC Avalanche)                     502.431974 Customer Transfer
 Confidential Customer Coin Transferee #13814   [Address on File]      6/7/2023 USDC Avalanche)                     501.758944 Customer Transfer
 Confidential Customer Coin Transferee #13814   [Address on File]     5/21/2023 USDC Avalanche)                     202.238656 Customer Transfer
 Confidential Customer Coin Transferee #13814   [Address on File]     6/21/2023 USDC Avalanche)                     201.724309 Customer Transfer
 Confidential Customer Coin Transferee #13815   [Address on File]     5/27/2023 Bitcoin                             0.05255699 Customer Transfer
 Confidential Customer Coin Transferee #13816   [Address on File]     5/26/2023 Bitcoin                             0.00036213 Customer Transfer
 Confidential Customer Coin Transferee #13816   [Address on File]     5/19/2023 Bitcoin                             0.00034831 Customer Transfer
 Confidential Customer Coin Transferee #13817   [Address on File]     5/29/2023 Bitcoin                             0.00110505 Customer Transfer
 Confidential Customer Coin Transferee #13818   [Address on File]     5/21/2023 Bitcoin                                    0.035 Customer Transfer
 Confidential Customer Coin Transferee #13818   [Address on File]     5/23/2023 Bitcoin                                    0.035 Customer Transfer

 Confidential Customer Coin Transferee #13819   [Address on File]     6/19/2023 Bitcoin                                0.02304538 Customer Transfer
 Confidential Customer Coin Transferee #13820   [Address on File]     6/18/2023 Bitcoin                                0.00753117 Customer Transfer
 Confidential Customer Coin Transferee #13821   [Address on File]     5/19/2023 Bitcoin                                0.03240646 Customer Transfer
 Confidential Customer Coin Transferee #13822   [Address on File]     5/17/2023 Bitcoin                                   0.000933 Customer Transfer
 Confidential Customer Coin Transferee #13822   [Address on File]     5/28/2023 Bitcoin                                0.00091582 Customer Transfer
 Confidential Customer Coin Transferee #13823   [Address on File]     5/26/2023 Bitcoin                                0.02039408 Customer Transfer
 Confidential Customer Coin Transferee #13824   [Address on File]     5/26/2023 Bitcoin                                0.00415856 Customer Transfer
 Confidential Customer Coin Transferee #13825   [Address on File]     5/29/2023 Bitcoin                                0.11005004 Customer Transfer
 Confidential Customer Coin Transferee #13826   [Address on File]     5/26/2023 Bitcoin                                0.01756555 Customer Transfer
 Confidential Customer Coin Transferee #13826   [Address on File]     5/24/2023 Bitcoin                                0.00094653 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1            Date            Crypto Currency            Unit Count        or Transfer
 Confidential Customer Coin Transferee #13827   [Address on File]     5/24/2023 Bitcoin                             0.00434382 Customer Transfer
 Confidential Customer Coin Transferee #13828   [Address on File]     5/20/2023 Bitcoin                                     0.2 Customer Transfer
 Confidential Customer Coin Transferee #13828   [Address on File]     5/30/2023 Bitcoin                                     0.1 Customer Transfer
 Confidential Customer Coin Transferee #13829   [Address on File]     6/16/2023 USDC Avalanche)                      47.531481 Customer Transfer
 Confidential Customer Coin Transferee #13830   [Address on File]     5/24/2023 Bitcoin                             0.01115729 Customer Transfer
 Confidential Customer Coin Transferee #13831   [Address on File]     5/19/2023 Bitcoin                             0.01056578 Customer Transfer
 Confidential Customer Coin Transferee #13832   [Address on File]     5/23/2023 Bitcoin                                    0.15 Customer Transfer
 Confidential Customer Coin Transferee #13832   [Address on File]     5/22/2023 Bitcoin                                    0.03 Customer Transfer
 Confidential Customer Coin Transferee #13832   [Address on File]     5/22/2023 Bitcoin                                    0.02 Customer Transfer
 Confidential Customer Coin Transferee #13832   [Address on File]     5/22/2023 Bitcoin                                    0.01 Customer Transfer
 Confidential Customer Coin Transferee #13833   [Address on File]     6/19/2023 Bitcoin                             0.02704693 Customer Transfer
 Confidential Customer Coin Transferee #13834   [Address on File]     5/27/2023 Bitcoin                             0.00562469 Customer Transfer
 Confidential Customer Coin Transferee #13835   [Address on File]     6/20/2023 Bitcoin                             0.00063178 Customer Transfer
 Confidential Customer Coin Transferee #13836   [Address on File]      6/6/2023 Bitcoin                              0.0053592 Customer Transfer
 Confidential Customer Coin Transferee #13836   [Address on File]     5/22/2023 Bitcoin                             0.00192849 Customer Transfer
 Confidential Customer Coin Transferee #13836   [Address on File]     6/15/2023 Bitcoin                             0.00154169 Customer Transfer
 Confidential Customer Coin Transferee #13836   [Address on File]     5/24/2023 Bitcoin                             0.00100245 Customer Transfer
 Confidential Customer Coin Transferee #13836   [Address on File]     5/31/2023 Bitcoin                              0.0009646 Customer Transfer
 Confidential Customer Coin Transferee #13836   [Address on File]      6/8/2023 Bitcoin                             0.00069289 Customer Transfer
 Confidential Customer Coin Transferee #13837   [Address on File]     5/25/2023 Bitcoin                             0.00647545 Customer Transfer
 Confidential Customer Coin Transferee #13837   [Address on File]      6/6/2023 Bitcoin                             0.00094893 Customer Transfer
 Confidential Customer Coin Transferee #13838   [Address on File]     5/18/2023 Bitcoin                             0.01038315 Customer Transfer
 Confidential Customer Coin Transferee #13839   [Address on File]     6/19/2023 Bitcoin                              0.0133941 Customer Transfer
 Confidential Customer Coin Transferee #13840   [Address on File]     5/18/2023 Bitcoin                             0.10142813 Customer Transfer
 Confidential Customer Coin Transferee #13841   [Address on File]     5/26/2023 Bitcoin                             0.05309243 Customer Transfer
 Confidential Customer Coin Transferee #13841   [Address on File]     5/22/2023 Bitcoin                             0.05195052 Customer Transfer
 Confidential Customer Coin Transferee #13842   [Address on File]     6/15/2023 Bitcoin                             0.00003636 Customer Transfer
 Confidential Customer Coin Transferee #13843   [Address on File]     6/18/2023 Bitcoin                             0.07729679 Customer Transfer
 Confidential Customer Coin Transferee #13844   [Address on File]     5/18/2023 Bitcoin                             0.00089494 Customer Transfer
 Confidential Customer Coin Transferee #13845   [Address on File]     5/26/2023 Bitcoin                             0.00516153 Customer Transfer
 Confidential Customer Coin Transferee #13845   [Address on File]     5/19/2023 Bitcoin                             0.00488747 Customer Transfer
 Confidential Customer Coin Transferee #13846   [Address on File]     6/20/2023 Bitcoin                             0.00026922 Customer Transfer
 Confidential Customer Coin Transferee #13847   [Address on File]     5/19/2023 Bitcoin                             0.00072212 Customer Transfer

 Confidential Customer Coin Transferee #13848   [Address on File]     5/29/2023 Ether                                  0.02464697 Customer Transfer



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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                      Payment                                                      Reason for Payment
                 Creditor's Name                    Address 1           Date              Crypto Currency          Unit Count          or Transfer

 Confidential Customer Coin Transferee #13848   [Address on File]     5/29/2023 Bitcoin                                0.01587246 Customer Transfer

 Confidential Customer Coin Transferee #13848   [Address on File]     5/29/2023 Bitcoin                                     0.005 Customer Transfer

 Confidential Customer Coin Transferee #13849   [Address on File]      6/7/2023 Bitcoin                                0.00171433 Customer Transfer
 Confidential Customer Coin Transferee #13850   [Address on File]     5/30/2023 Bitcoin                                0.00075401 Customer Transfer
 Confidential Customer Coin Transferee #13850   [Address on File]     5/30/2023 Bitcoin                                0.00075387 Customer Transfer
 Confidential Customer Coin Transferee #13850   [Address on File]     5/18/2023 Bitcoin                                0.00068984 Customer Transfer
 Confidential Customer Coin Transferee #13850   [Address on File]     5/18/2023 Bitcoin                                0.00061664 Customer Transfer
 Confidential Customer Coin Transferee #13851   [Address on File]      6/9/2023 Bitcoin                                0.01226868 Customer Transfer
 Confidential Customer Coin Transferee #13852   [Address on File]     6/20/2023 Bitcoin                                0.00307961 Customer Transfer
 Confidential Customer Coin Transferee #13853   [Address on File]     5/24/2023 Bitcoin                                 0.0107006 Customer Transfer
 Confidential Customer Coin Transferee #13853   [Address on File]     5/19/2023 Bitcoin                                0.00671576 Customer Transfer
 Confidential Customer Coin Transferee #13853   [Address on File]     5/27/2023 Bitcoin                                0.00371746 Customer Transfer
 Confidential Customer Coin Transferee #13853   [Address on File]     5/18/2023 Bitcoin                                0.00261033 Customer Transfer
 Confidential Customer Coin Transferee #13853   [Address on File]     5/27/2023 Bitcoin                                0.00185886 Customer Transfer
 Confidential Customer Coin Transferee #13853   [Address on File]     5/24/2023 Bitcoin                                     0.0005 Customer Transfer
 Confidential Customer Coin Transferee #13854   [Address on File]     5/19/2023 Bitcoin                                0.01943302 Customer Transfer
 Confidential Customer Coin Transferee #13855   [Address on File]     5/25/2023 Bitcoin                                0.02060918 Customer Transfer
 Confidential Customer Coin Transferee #13855   [Address on File]     5/26/2023 Bitcoin                                0.00295116 Customer Transfer
 Confidential Customer Coin Transferee #13856   [Address on File]     6/20/2023 Bitcoin                                0.06175298 Customer Transfer
 Confidential Customer Coin Transferee #13857   [Address on File]     5/30/2023 Bitcoin                                0.00358458 Customer Transfer
 Confidential Customer Coin Transferee #13857   [Address on File]     5/31/2023 Bitcoin                                0.00345576 Customer Transfer
 Confidential Customer Coin Transferee #13857   [Address on File]     5/23/2023 Bitcoin                                0.00291664 Customer Transfer
 Confidential Customer Coin Transferee #13857   [Address on File]     5/17/2023 Bitcoin                                0.00200466 Customer Transfer
 Confidential Customer Coin Transferee #13857   [Address on File]     5/19/2023 Bitcoin                                0.00096514 Customer Transfer
 Confidential Customer Coin Transferee #13857   [Address on File]     5/23/2023 Bitcoin                                0.00065799 Customer Transfer

 Confidential Customer Coin Transferee #13858   [Address on File]      6/8/2023 Bitcoin                                0.02837537 Customer Transfer
 Confidential Customer Coin Transferee #13859   [Address on File]     5/17/2023 Bitcoin                                0.01726234 Customer Transfer
 Confidential Customer Coin Transferee #13860   [Address on File]     6/19/2023 Bitcoin                                0.00060583 Customer Transfer
 Confidential Customer Coin Transferee #13861   [Address on File]     5/29/2023 Bitcoin                                0.00111477 Customer Transfer
 Confidential Customer Coin Transferee #13862   [Address on File]     6/19/2023 Bitcoin                                0.00115908 Customer Transfer
 Confidential Customer Coin Transferee #13863   [Address on File]     5/27/2023 Bitcoin                                0.01731845 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                        Reason for Payment
                 Creditor's Name                    Address 1          Date            Crypto Currency             Unit Count           or Transfer

 Confidential Customer Coin Transferee #13864   [Address on File]    5/24/2023 USDC Avalanche)                         483.924822 Customer Transfer

 Confidential Customer Coin Transferee #13864   [Address on File]    5/25/2023 USDC Avalanche)                         290.201959 Customer Transfer

 Confidential Customer Coin Transferee #13864   [Address on File]    5/26/2023 USDC Avalanche)                         290.095942 Customer Transfer

 Confidential Customer Coin Transferee #13864   [Address on File]    5/26/2023 USDC Avalanche)                         193.264041 Customer Transfer

 Confidential Customer Coin Transferee #13864   [Address on File]    5/16/2023 USDC Avalanche)                         144.837581 Customer Transfer
 Confidential Customer Coin Transferee #13865   [Address on File]    5/18/2023 Bitcoin                                 0.00204886 Customer Transfer
 Confidential Customer Coin Transferee #13866   [Address on File]    5/23/2023 Bitcoin                                 0.00368877 Customer Transfer
 Confidential Customer Coin Transferee #13866   [Address on File]    5/20/2023 Bitcoin                                 0.00364407 Customer Transfer
 Confidential Customer Coin Transferee #13866   [Address on File]    5/23/2023 Bitcoin                                 0.00357449 Customer Transfer
 Confidential Customer Coin Transferee #13866   [Address on File]    5/23/2023 Bitcoin                                  0.0035719 Customer Transfer
 Confidential Customer Coin Transferee #13866   [Address on File]    5/23/2023 Bitcoin                                 0.00338511 Customer Transfer
 Confidential Customer Coin Transferee #13867   [Address on File]    6/20/2023 Bitcoin                                 0.00034575 Customer Transfer
 Confidential Customer Coin Transferee #13868   [Address on File]    6/20/2023 Bitcoin                                 0.00041603 Customer Transfer
 Confidential Customer Coin Transferee #13869   [Address on File]     6/8/2023 USDC Solana)                                     200 Customer Transfer
 Confidential Customer Coin Transferee #13870   [Address on File]    5/18/2023 Bitcoin                                        0.059 Customer Transfer
 Confidential Customer Coin Transferee #13870   [Address on File]    5/18/2023 Bitcoin                                         0.05 Customer Transfer
 Confidential Customer Coin Transferee #13871   [Address on File]    5/25/2023 Bitcoin                                 0.01502559 Customer Transfer
 Confidential Customer Coin Transferee #13871   [Address on File]    5/20/2023 Bitcoin                                 0.00811715 Customer Transfer
 Confidential Customer Coin Transferee #13871   [Address on File]    5/27/2023 Bitcoin                                  0.0044546 Customer Transfer
 Confidential Customer Coin Transferee #13871   [Address on File]    5/30/2023 Bitcoin                                  0.0035824 Customer Transfer
 Confidential Customer Coin Transferee #13872   [Address on File]    5/24/2023 Bitcoin                                 0.01136956 Customer Transfer
 Confidential Customer Coin Transferee #13873   [Address on File]    5/16/2023 Bitcoin                                  0.0482424 Customer Transfer
 Confidential Customer Coin Transferee #13874   [Address on File]    6/20/2023 Bitcoin                                  0.0001195 Customer Transfer
 Confidential Customer Coin Transferee #13875   [Address on File]    5/20/2023 Bitcoin                                 0.00934155 Customer Transfer
 Confidential Customer Coin Transferee #13875   [Address on File]    5/20/2023 Bitcoin                                 0.00907902 Customer Transfer
 Confidential Customer Coin Transferee #13875   [Address on File]    5/19/2023 Bitcoin                                      0.0001 Customer Transfer
 Confidential Customer Coin Transferee #13875   [Address on File]    5/20/2023 Bitcoin                                     0.00001 Customer Transfer
 Confidential Customer Coin Transferee #13876   [Address on File]    5/22/2023 Bitcoin                                 0.00007031 Customer Transfer
 Confidential Customer Coin Transferee #13877   [Address on File]    5/18/2023 Bitcoin                                      0.0002 Customer Transfer
 Confidential Customer Coin Transferee #13878   [Address on File]    6/19/2023 Bitcoin                                 0.00007195 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                        Reason for Payment
                 Creditor's Name                    Address 1          Date            Crypto Currency             Unit Count           or Transfer

 Confidential Customer Coin Transferee #13879   [Address on File]    5/28/2023 USDC Avalanche)                         483.779732 Customer Transfer

 Confidential Customer Coin Transferee #13879   [Address on File]    5/26/2023 Cosmos Hub ATOM)                         27.536918 Customer Transfer
 Confidential Customer Coin Transferee #13880   [Address on File]    5/17/2023 Bitcoin                                 0.19274704 Customer Transfer
 Confidential Customer Coin Transferee #13881   [Address on File]    5/16/2023 Bitcoin                                 0.08878208 Customer Transfer
 Confidential Customer Coin Transferee #13882   [Address on File]    5/31/2023 Bitcoin                                 0.00129246 Customer Transfer
 Confidential Customer Coin Transferee #13882   [Address on File]     6/1/2023 Bitcoin                                 0.00110392 Customer Transfer
 Confidential Customer Coin Transferee #13882   [Address on File]     6/1/2023 Bitcoin                                 0.00110006 Customer Transfer
 Confidential Customer Coin Transferee #13882   [Address on File]    5/31/2023 Bitcoin                                 0.00107489 Customer Transfer
 Confidential Customer Coin Transferee #13882   [Address on File]    5/23/2023 Bitcoin                                 0.00094831 Customer Transfer
 Confidential Customer Coin Transferee #13882   [Address on File]    5/16/2023 Bitcoin                                 0.00092079 Customer Transfer
 Confidential Customer Coin Transferee #13883   [Address on File]    5/26/2023 Bitcoin                                 0.07389342 Customer Transfer
 Confidential Customer Coin Transferee #13883   [Address on File]    5/22/2023 Bitcoin                                 0.07249627 Customer Transfer
 Confidential Customer Coin Transferee #13884   [Address on File]    5/20/2023 Bitcoin                                  0.0766269 Customer Transfer
 Confidential Customer Coin Transferee #13885   [Address on File]    5/17/2023 Bitcoin                                 0.00926575 Customer Transfer
 Confidential Customer Coin Transferee #13886   [Address on File]    5/16/2023 Ether                                       0.27662 Customer Transfer
 Confidential Customer Coin Transferee #13886   [Address on File]    5/24/2023 Bitcoin                                       0.0379 Customer Transfer
 Confidential Customer Coin Transferee #13887   [Address on File]    5/17/2023 Bitcoin                                        0.004 Customer Transfer
 Confidential Customer Coin Transferee #13887   [Address on File]    5/18/2023 Bitcoin                                  0.0006367 Customer Transfer
 Confidential Customer Coin Transferee #13888   [Address on File]    5/17/2023 Bitcoin                                    0.015247 Customer Transfer
 Confidential Customer Coin Transferee #13889   [Address on File]    5/27/2023 Bitcoin                                          0.01 Customer Transfer
 Confidential Customer Coin Transferee #13890   [Address on File]    5/16/2023 Bitcoin                                 0.00552413 Customer Transfer
 Confidential Customer Coin Transferee #13890   [Address on File]    5/18/2023 Bitcoin                                 0.00185293 Customer Transfer
 Confidential Customer Coin Transferee #13891   [Address on File]    6/20/2023 Bitcoin                                  0.0530851 Customer Transfer
 Confidential Customer Coin Transferee #13892   [Address on File]    6/19/2023 Bitcoin                                 0.18518969 Customer Transfer
 Confidential Customer Coin Transferee #13893   [Address on File]    5/22/2023 Bitcoin                                 0.05095604 Customer Transfer
 Confidential Customer Coin Transferee #13893   [Address on File]    5/25/2023 Bitcoin                                  0.0202934 Customer Transfer
 Confidential Customer Coin Transferee #13894   [Address on File]    5/18/2023 Bitcoin                                 0.08354195 Customer Transfer
 Confidential Customer Coin Transferee #13895   [Address on File]     6/5/2023 USDC Avalanche)                         496.871251 Customer Transfer
 Confidential Customer Coin Transferee #13895   [Address on File]     6/6/2023 USDC Avalanche)                         496.761942 Customer Transfer
 Confidential Customer Coin Transferee #13896   [Address on File]    5/25/2023 Bitcoin                                  0.0009062 Customer Transfer
 Confidential Customer Coin Transferee #13896   [Address on File]    5/21/2023 Bitcoin                                 0.00051784 Customer Transfer
 Confidential Customer Coin Transferee #13896   [Address on File]    5/31/2023 Bitcoin                                 0.00040828 Customer Transfer
 Confidential Customer Coin Transferee #13897   [Address on File]    5/19/2023 Bitcoin                                 0.07659328 Customer Transfer
 Confidential Customer Coin Transferee #13897   [Address on File]    5/25/2023 Bitcoin                                 0.02478848 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #13898   [Address on File]     6/9/2023 Audius                                  7333000 Customer Transfer
 Confidential Customer Coin Transferee #13898   [Address on File]     6/9/2023 Audius                                      424 Customer Transfer
 Confidential Customer Coin Transferee #13899   [Address on File]    5/28/2023 Bitcoin                              0.01014741 Customer Transfer
 Confidential Customer Coin Transferee #13900   [Address on File]    6/14/2023 USDC Avalanche)                      996.101949 Customer Transfer
 Confidential Customer Coin Transferee #13900   [Address on File]    6/10/2023 Cosmos Hub ATOM)                      21.492891 Customer Transfer
 Confidential Customer Coin Transferee #13901   [Address on File]    5/23/2023 Bitcoin                              0.01542875 Customer Transfer
 Confidential Customer Coin Transferee #13901   [Address on File]    5/23/2023 Bitcoin                              0.01396952 Customer Transfer
 Confidential Customer Coin Transferee #13901   [Address on File]    5/23/2023 Bitcoin                              0.01289542 Customer Transfer
 Confidential Customer Coin Transferee #13902   [Address on File]    6/20/2023 Bitcoin                              0.00069112 Customer Transfer
 Confidential Customer Coin Transferee #13903   [Address on File]    5/31/2023 Bitcoin                              0.00548828 Customer Transfer
 Confidential Customer Coin Transferee #13904   [Address on File]    6/12/2023 Bitcoin                              0.00257312 Customer Transfer
 Confidential Customer Coin Transferee #13905   [Address on File]    5/18/2023 Bitcoin                              0.00307973 Customer Transfer
 Confidential Customer Coin Transferee #13906   [Address on File]    6/20/2023 Bitcoin                              0.00412485 Customer Transfer
 Confidential Customer Coin Transferee #13907   [Address on File]    6/20/2023 Bitcoin                              0.00286124 Customer Transfer
 Confidential Customer Coin Transferee #13908   [Address on File]    5/19/2023 Bitcoin                              0.03356272 Customer Transfer
 Confidential Customer Coin Transferee #13909   [Address on File]    6/20/2023 Bitcoin                              0.00003454 Customer Transfer

 Confidential Customer Coin Transferee #13910   [Address on File]    5/22/2023 Bitcoin                                 0.04074801 Customer Transfer

 Confidential Customer Coin Transferee #13910   [Address on File]    5/24/2023 Bitcoin                                  0.0190008 Customer Transfer
 Confidential Customer Coin Transferee #13911   [Address on File]    5/29/2023 Bitcoin                                  0.0396568 Customer Transfer
 Confidential Customer Coin Transferee #13912   [Address on File]    5/29/2023 Bitcoin                                 0.00575738 Customer Transfer
 Confidential Customer Coin Transferee #13913   [Address on File]    6/17/2023 USD Coin                                965.410685 Customer Transfer
 Confidential Customer Coin Transferee #13913   [Address on File]    5/27/2023 Cosmos Hub ATOM)                         164.83585 Customer Transfer
 Confidential Customer Coin Transferee #13913   [Address on File]    6/17/2023 Ether                                      0.557241 Customer Transfer
 Confidential Customer Coin Transferee #13914   [Address on File]    6/19/2023 Bitcoin                                 0.00117497 Customer Transfer
 Confidential Customer Coin Transferee #13915   [Address on File]    6/20/2023 Bitcoin                                 0.00048866 Customer Transfer
 Confidential Customer Coin Transferee #13916   [Address on File]    6/20/2023 Bitcoin                                 0.00036493 Customer Transfer
 Confidential Customer Coin Transferee #13917   [Address on File]    6/20/2023 Bitcoin                                 0.00006982 Customer Transfer
 Confidential Customer Coin Transferee #13918   [Address on File]    5/26/2023 Bitcoin                                     0.01525 Customer Transfer
 Confidential Customer Coin Transferee #13919   [Address on File]    5/16/2023 Bitcoin                                        0.015 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/17/2023 Bitcoin                                 0.03379788 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/16/2023 Bitcoin                                 0.03288227 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/25/2023 Bitcoin                                 0.03041776 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/24/2023 Bitcoin                                 0.02761847 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/17/2023 Bitcoin                                 0.01901414 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/31/2023 Bitcoin                              0.01864296 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/26/2023 Bitcoin                              0.01824985 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/16/2023 Bitcoin                              0.01290459 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/29/2023 Bitcoin                              0.01273887 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/22/2023 Bitcoin                              0.01194808 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/27/2023 Bitcoin                              0.01130349 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/20/2023 Bitcoin                              0.00802151 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/31/2023 Bitcoin                              0.00756195 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/30/2023 Bitcoin                              0.00735585 Customer Transfer
 Confidential Customer Coin Transferee #13920   [Address on File]    5/18/2023 Bitcoin                               0.0011087 Customer Transfer
 Confidential Customer Coin Transferee #13921   [Address on File]    6/20/2023 Bitcoin                              0.01070788 Customer Transfer
 Confidential Customer Coin Transferee #13922   [Address on File]    5/28/2023 Bitcoin                              0.05298514 Customer Transfer
 Confidential Customer Coin Transferee #13922   [Address on File]    5/18/2023 Bitcoin                              0.05029712 Customer Transfer
 Confidential Customer Coin Transferee #13923   [Address on File]    5/26/2023 Bitcoin                              0.04815656 Customer Transfer
 Confidential Customer Coin Transferee #13924   [Address on File]    6/20/2023 Bitcoin                              0.00011663 Customer Transfer
 Confidential Customer Coin Transferee #13925   [Address on File]    5/17/2023 Bitcoin                              0.03090888 Customer Transfer
 Confidential Customer Coin Transferee #13925   [Address on File]    5/24/2023 Bitcoin                              0.02258288 Customer Transfer
 Confidential Customer Coin Transferee #13926   [Address on File]    6/12/2023 Bitcoin                              0.01858945 Customer Transfer
 Confidential Customer Coin Transferee #13926   [Address on File]    6/16/2023 Bitcoin                              0.00971635 Customer Transfer
 Confidential Customer Coin Transferee #13926   [Address on File]    5/22/2023 Bitcoin                              0.00920915 Customer Transfer
 Confidential Customer Coin Transferee #13927   [Address on File]    5/19/2023 Bitcoin                              0.09683623 Customer Transfer
 Confidential Customer Coin Transferee #13927   [Address on File]    5/16/2023 Bitcoin                              0.07009392 Customer Transfer
 Confidential Customer Coin Transferee #13927   [Address on File]    5/27/2023 Bitcoin                                     0.05 Customer Transfer
 Confidential Customer Coin Transferee #13927   [Address on File]    5/27/2023 Bitcoin                                     0.05 Customer Transfer
 Confidential Customer Coin Transferee #13928   [Address on File]    5/22/2023 Bitcoin                              0.00037106 Customer Transfer
 Confidential Customer Coin Transferee #13929   [Address on File]    5/17/2023 Bitcoin                              0.00206642 Customer Transfer
 Confidential Customer Coin Transferee #13930   [Address on File]    6/12/2023 Bitcoin                              0.00146698 Customer Transfer
 Confidential Customer Coin Transferee #13931   [Address on File]    6/16/2023 Bitcoin                              0.00075203 Customer Transfer
 Confidential Customer Coin Transferee #13931   [Address on File]    5/22/2023 Bitcoin                              0.00034687 Customer Transfer
 Confidential Customer Coin Transferee #13932   [Address on File]    6/19/2023 Bitcoin                              0.00115467 Customer Transfer
 Confidential Customer Coin Transferee #13933   [Address on File]     6/1/2023 Bitcoin                              0.00092557 Customer Transfer

 Confidential Customer Coin Transferee #13934   [Address on File]    6/19/2023 Bitcoin                                    0.01225 Customer Transfer

 Confidential Customer Coin Transferee #13934   [Address on File]    6/19/2023 Bitcoin                                 0.00116819 Customer Transfer
 Confidential Customer Coin Transferee #13935   [Address on File]    6/15/2023 Bitcoin                                 0.00921996 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #13935   [Address on File]    5/30/2023 Bitcoin                              0.00372147 Customer Transfer
 Confidential Customer Coin Transferee #13935   [Address on File]    5/16/2023 Bitcoin                              0.00362168 Customer Transfer
 Confidential Customer Coin Transferee #13936   [Address on File]    5/27/2023 Bitcoin                              0.00074597 Customer Transfer
 Confidential Customer Coin Transferee #13936   [Address on File]    5/27/2023 Bitcoin                              0.00074387 Customer Transfer
 Confidential Customer Coin Transferee #13936   [Address on File]    5/19/2023 Bitcoin                              0.00074142 Customer Transfer
 Confidential Customer Coin Transferee #13936   [Address on File]    5/20/2023 Bitcoin                              0.00073999 Customer Transfer
 Confidential Customer Coin Transferee #13936   [Address on File]    5/19/2023 Bitcoin                               0.0007255 Customer Transfer
 Confidential Customer Coin Transferee #13936   [Address on File]    5/20/2023 Bitcoin                              0.00070785 Customer Transfer
 Confidential Customer Coin Transferee #13936   [Address on File]    5/23/2023 Bitcoin                              0.00054651 Customer Transfer
 Confidential Customer Coin Transferee #13936   [Address on File]    5/19/2023 Bitcoin                              0.00037119 Customer Transfer
 Confidential Customer Coin Transferee #13936   [Address on File]    5/19/2023 Bitcoin                              0.00020708 Customer Transfer
 Confidential Customer Coin Transferee #13936   [Address on File]    5/16/2023 Bitcoin                              0.00011828 Customer Transfer

 Confidential Customer Coin Transferee #13937   [Address on File]     6/9/2023 Tether USD                                   973.6 Customer Transfer
 Confidential Customer Coin Transferee #13938   [Address on File]    5/25/2023 Tether USD                                67448.13 Customer Transfer
 Confidential Customer Coin Transferee #13938   [Address on File]    5/19/2023 Tether USD                              14879.7699 Customer Transfer
 Confidential Customer Coin Transferee #13938   [Address on File]    5/29/2023 Tether USD                                    1400 Customer Transfer
 Confidential Customer Coin Transferee #13938   [Address on File]     6/6/2023 Tether USD                                943.1542 Customer Transfer

 Confidential Customer Coin Transferee #13939   [Address on File]    5/30/2023 Tether USD                                     2700 Customer Transfer
 Confidential Customer Coin Transferee #13940   [Address on File]    5/21/2023 Bitcoin                                 0.02954606 Customer Transfer
 Confidential Customer Coin Transferee #13940   [Address on File]    5/17/2023 Bitcoin                                      0.0015 Customer Transfer
 Confidential Customer Coin Transferee #13940   [Address on File]    5/17/2023 Bitcoin                                 0.00009999 Customer Transfer
 Confidential Customer Coin Transferee #13941   [Address on File]    5/22/2023 Bitcoin                                 0.08390022 Customer Transfer
 Confidential Customer Coin Transferee #13941   [Address on File]    5/19/2023 Bitcoin                                  0.0134442 Customer Transfer
 Confidential Customer Coin Transferee #13942   [Address on File]    6/20/2023 Bitcoin                                  0.0005842 Customer Transfer
 Confidential Customer Coin Transferee #13943   [Address on File]    6/20/2023 Bitcoin                                 0.00004084 Customer Transfer
 Confidential Customer Coin Transferee #13944   [Address on File]    6/20/2023 Bitcoin                                 0.00297724 Customer Transfer
 Confidential Customer Coin Transferee #13945   [Address on File]    5/23/2023 Bitcoin                                 0.00182835 Customer Transfer
 Confidential Customer Coin Transferee #13945   [Address on File]    5/23/2023 Bitcoin                                 0.00152909 Customer Transfer
 Confidential Customer Coin Transferee #13945   [Address on File]    5/19/2023 Bitcoin                                 0.00148007 Customer Transfer
 Confidential Customer Coin Transferee #13945   [Address on File]    5/19/2023 Bitcoin                                 0.00108199 Customer Transfer
 Confidential Customer Coin Transferee #13946   [Address on File]    6/20/2023 Bitcoin                                 0.03148224 Customer Transfer
 Confidential Customer Coin Transferee #13947   [Address on File]    5/25/2023 Bitcoin                                 0.00036712 Customer Transfer
 Confidential Customer Coin Transferee #13947   [Address on File]    5/18/2023 Bitcoin                                 0.00034569 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1          Date            Crypto Currency             Unit Count          or Transfer

 Confidential Customer Coin Transferee #13948   [Address on File]    5/24/2023 Bitcoin                                 0.05229351 Customer Transfer
 Confidential Customer Coin Transferee #13949   [Address on File]    5/24/2023 Tether USD                                        5 Customer Transfer
 Confidential Customer Coin Transferee #13950   [Address on File]    6/20/2023 Bitcoin                                 0.00544346 Customer Transfer
 Confidential Customer Coin Transferee #13951   [Address on File]    5/21/2023 Bitcoin                                 0.00821471 Customer Transfer
 Confidential Customer Coin Transferee #13952   [Address on File]    5/26/2023 Bitcoin                                 0.56367392 Customer Transfer
 Confidential Customer Coin Transferee #13953   [Address on File]    6/20/2023 Bitcoin                                 0.00035319 Customer Transfer
 Confidential Customer Coin Transferee #13954   [Address on File]    5/23/2023 Bitcoin                                      1.1175 Customer Transfer
 Confidential Customer Coin Transferee #13955   [Address on File]    6/13/2023 Tether USD                                  3611.99 Customer Transfer
 Confidential Customer Coin Transferee #13956   [Address on File]    5/26/2023 Bitcoin                                 0.00371645 Customer Transfer
 Confidential Customer Coin Transferee #13956   [Address on File]    5/18/2023 Bitcoin                                 0.00084334 Customer Transfer
 Confidential Customer Coin Transferee #13956   [Address on File]    5/18/2023 Bitcoin                                      0.0008 Customer Transfer
 Confidential Customer Coin Transferee #13956   [Address on File]    5/26/2023 Bitcoin                                 0.00018871 Customer Transfer
 Confidential Customer Coin Transferee #13957   [Address on File]    5/19/2023 Bitcoin                                 0.01109722 Customer Transfer
 Confidential Customer Coin Transferee #13957   [Address on File]    5/27/2023 Bitcoin                                 0.00557949 Customer Transfer
 Confidential Customer Coin Transferee #13957   [Address on File]    5/25/2023 Bitcoin                                 0.00379096 Customer Transfer
 Confidential Customer Coin Transferee #13958   [Address on File]    5/18/2023 Bitcoin                                 0.00090875 Customer Transfer
 Confidential Customer Coin Transferee #13958   [Address on File]    5/16/2023 Bitcoin                                 0.00080258 Customer Transfer
 Confidential Customer Coin Transferee #13959   [Address on File]    5/28/2023 Bitcoin                                 0.00320497 Customer Transfer
 Confidential Customer Coin Transferee #13960   [Address on File]    5/25/2023 Bitcoin                                 0.00094905 Customer Transfer
 Confidential Customer Coin Transferee #13960   [Address on File]    5/26/2023 Bitcoin                                 0.00075154 Customer Transfer
 Confidential Customer Coin Transferee #13960   [Address on File]    5/24/2023 Bitcoin                                 0.00051083 Customer Transfer
 Confidential Customer Coin Transferee #13961   [Address on File]    5/22/2023 Bitcoin                                 0.00378018 Customer Transfer
 Confidential Customer Coin Transferee #13962   [Address on File]    5/23/2023 Bitcoin                                  0.0355623 Customer Transfer
 Confidential Customer Coin Transferee #13963   [Address on File]    5/17/2023 Bitcoin                                 0.00165493 Customer Transfer
 Confidential Customer Coin Transferee #13963   [Address on File]    5/28/2023 Bitcoin                                  0.0014269 Customer Transfer
 Confidential Customer Coin Transferee #13963   [Address on File]    5/29/2023 Bitcoin                                 0.00116378 Customer Transfer
 Confidential Customer Coin Transferee #13963   [Address on File]    5/30/2023 Bitcoin                                 0.00100278 Customer Transfer
 Confidential Customer Coin Transferee #13964   [Address on File]    6/20/2023 Bitcoin                                 0.00098745 Customer Transfer
 Confidential Customer Coin Transferee #13965   [Address on File]    5/16/2023 Bitcoin                                 0.00110483 Customer Transfer
 Confidential Customer Coin Transferee #13966   [Address on File]    6/21/2023 USD Coin                                394.220229 Customer Transfer
 Confidential Customer Coin Transferee #13966   [Address on File]    6/19/2023 USD Coin                                295.783072 Customer Transfer
 Confidential Customer Coin Transferee #13967   [Address on File]    6/20/2023 Bitcoin                                 0.00004298 Customer Transfer
 Confidential Customer Coin Transferee #13968   [Address on File]    5/18/2023 Bitcoin                                       0.025 Customer Transfer
 Confidential Customer Coin Transferee #13969   [Address on File]    5/17/2023 Bitcoin                                 0.00257536 Customer Transfer
 Confidential Customer Coin Transferee #13969   [Address on File]    5/24/2023 Bitcoin                                  0.0005423 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #13970   [Address on File]    5/17/2023 Bitcoin                              0.00369797 Customer Transfer
 Confidential Customer Coin Transferee #13970   [Address on File]    5/22/2023 Bitcoin                              0.00369038 Customer Transfer
 Confidential Customer Coin Transferee #13971   [Address on File]    6/19/2023 Bitcoin                              0.00057766 Customer Transfer
 Confidential Customer Coin Transferee #13972   [Address on File]    5/29/2023 Bitcoin                              0.01953265 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/6/2023 Tether USD                                 13307 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/6/2023 Tether USD                                 10500 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/6/2023 USD Coin                                   10000 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/6/2023 USD Coin                                     9263 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/1/2023 Ether                                    10.0178 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/6/2023 USD Coin                                        10 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/6/2023 Tether USD                                      10 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/17/2023 Ether                                         6.01 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/15/2023 Bitcoin                                        2.8 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/1/2023 Bitcoin                                       2.75 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/1/2023 Bitcoin                                     2.749 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/14/2023 Bitcoin                                        2.7 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/14/2023 Bitcoin                                       2.69 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/21/2023 Bitcoin                                       2.57 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/12/2023 Bitcoin                                       2.54 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/13/2023 Bitcoin                                     2.525 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/9/2023 Bitcoin                                        2.5 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/20/2023 Bitcoin                                        2.5 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/20/2023 Bitcoin                                       2.49 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/21/2023 Bitcoin                                       2.49 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/8/2023 Bitcoin                                        2.4 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/16/2023 Bitcoin                                 2.225643 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/16/2023 Bitcoin                                        2.1 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    6/16/2023 Bitcoin                                       2.09 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    5/31/2023 Bitcoin                                       1.65 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]    5/31/2023 Bitcoin                                    1.0022 Customer Transfer
 Confidential Customer Coin Transferee #13973   [Address on File]     6/1/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #13974   [Address on File]    5/27/2023 Bitcoin                              0.04503625 Customer Transfer
 Confidential Customer Coin Transferee #13974   [Address on File]    5/21/2023 Bitcoin                              0.03764495 Customer Transfer
 Confidential Customer Coin Transferee #13974   [Address on File]    5/19/2023 Bitcoin                              0.03750119 Customer Transfer
 Confidential Customer Coin Transferee #13974   [Address on File]    5/24/2023 Bitcoin                              0.03594288 Customer Transfer
 Confidential Customer Coin Transferee #13974   [Address on File]    5/30/2023 Bitcoin                              0.03456343 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #13975   [Address on File]    5/23/2023 Terra Classic USD                           9900 Customer Transfer
 Confidential Customer Coin Transferee #13975   [Address on File]    6/13/2023 USDC Avalanche)                           996.32 Customer Transfer
 Confidential Customer Coin Transferee #13975   [Address on File]    6/12/2023 Ether                                5.69115722 Customer Transfer
 Confidential Customer Coin Transferee #13976   [Address on File]    6/12/2023 USD Coin                                  29890 Customer Transfer
 Confidential Customer Coin Transferee #13976   [Address on File]    6/12/2023 Tether USD                                14939 Customer Transfer
 Confidential Customer Coin Transferee #13976   [Address on File]    5/23/2023 Terra Classic USD                             98 Customer Transfer
 Confidential Customer Coin Transferee #13976   [Address on File]    6/12/2023 Bitcoin                              1.16143227 Customer Transfer
 Confidential Customer Coin Transferee #13976   [Address on File]    5/25/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #13977   [Address on File]    5/16/2023 Bitcoin                              0.00161731 Customer Transfer
 Confidential Customer Coin Transferee #13978   [Address on File]     6/2/2023 Bitcoin                              0.00469984 Customer Transfer
 Confidential Customer Coin Transferee #13978   [Address on File]    5/24/2023 Bitcoin                              0.00180558 Customer Transfer
 Confidential Customer Coin Transferee #13978   [Address on File]     6/4/2023 Bitcoin                              0.00139651 Customer Transfer
 Confidential Customer Coin Transferee #13978   [Address on File]    5/23/2023 Bitcoin                               0.0006953 Customer Transfer
 Confidential Customer Coin Transferee #13978   [Address on File]    5/16/2023 Bitcoin                              0.00056142 Customer Transfer
 Confidential Customer Coin Transferee #13978   [Address on File]     6/3/2023 Bitcoin                              0.00045248 Customer Transfer
 Confidential Customer Coin Transferee #13979   [Address on File]    6/22/2023 USD Coin                            1891.668327 Customer Transfer
 Confidential Customer Coin Transferee #13979   [Address on File]    6/22/2023 USD Coin                             497.807454 Customer Transfer
 Confidential Customer Coin Transferee #13980   [Address on File]    6/20/2023 Bitcoin                               0.0035135 Customer Transfer
 Confidential Customer Coin Transferee #13981   [Address on File]    6/20/2023 Bitcoin                              0.00254572 Customer Transfer
 Confidential Customer Coin Transferee #13982   [Address on File]    6/20/2023 Bitcoin                              0.00109677 Customer Transfer
 Confidential Customer Coin Transferee #13983   [Address on File]    5/24/2023 Bitcoin                              0.01859062 Customer Transfer
 Confidential Customer Coin Transferee #13984   [Address on File]    6/19/2023 Bitcoin                              0.01588801 Customer Transfer
 Confidential Customer Coin Transferee #13985   [Address on File]    6/19/2023 Bitcoin                              0.00327396 Customer Transfer

 Confidential Customer Coin Transferee #13986   [Address on File]     6/9/2023 Bitcoin                                 0.03720986 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/29/2023 Bitcoin                                 0.00178215 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/22/2023 Bitcoin                                 0.00167825 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/29/2023 Bitcoin                                 0.00153377 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/26/2023 Bitcoin                                 0.00150713 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/26/2023 Bitcoin                                 0.00150151 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/28/2023 Bitcoin                                 0.00146217 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/17/2023 Bitcoin                                 0.00143479 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/30/2023 Bitcoin                                 0.00135527 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/25/2023 Bitcoin                                 0.00131476 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/27/2023 Bitcoin                                 0.00130422 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/22/2023 Bitcoin                                 0.00130309 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/28/2023 Bitcoin                              0.00128009 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/29/2023 Bitcoin                               0.0012752 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/19/2023 Bitcoin                              0.00114609 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/25/2023 Bitcoin                              0.00112623 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/22/2023 Bitcoin                              0.00111013 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/29/2023 Bitcoin                              0.00110449 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/18/2023 Bitcoin                              0.00110273 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/24/2023 Bitcoin                              0.00109573 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/30/2023 Bitcoin                              0.00107976 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/17/2023 Bitcoin                              0.00107902 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/25/2023 Bitcoin                              0.00094634 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/26/2023 Bitcoin                              0.00094028 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/22/2023 Bitcoin                              0.00092912 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/22/2023 Bitcoin                              0.00090888 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/28/2023 Bitcoin                              0.00086141 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/28/2023 Bitcoin                              0.00085189 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/30/2023 Bitcoin                              0.00085007 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/17/2023 Bitcoin                              0.00072096 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/17/2023 Bitcoin                                 0.000718 Customer Transfer
 Confidential Customer Coin Transferee #13987   [Address on File]    5/22/2023 Bitcoin                              0.00016398 Customer Transfer
 Confidential Customer Coin Transferee #13988   [Address on File]    5/20/2023 Bitcoin                              0.00400318 Customer Transfer
 Confidential Customer Coin Transferee #13989   [Address on File]    5/22/2023 Bitcoin                               0.0020645 Customer Transfer
 Confidential Customer Coin Transferee #13989   [Address on File]    5/22/2023 Bitcoin                              0.00181739 Customer Transfer
 Confidential Customer Coin Transferee #13989   [Address on File]    5/22/2023 Bitcoin                              0.00181525 Customer Transfer
 Confidential Customer Coin Transferee #13990   [Address on File]    6/15/2023 Bitcoin                              0.03130185 Customer Transfer
 Confidential Customer Coin Transferee #13991   [Address on File]    5/23/2023 Bitcoin                                     0.003 Customer Transfer
 Confidential Customer Coin Transferee #13992   [Address on File]    5/26/2023 Bitcoin                              0.01459548 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/23/2023 Bitcoin                              0.00163126 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/16/2023 Bitcoin                              0.00073353 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/16/2023 Bitcoin                               0.0005876 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/27/2023 Bitcoin                               0.0005278 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/26/2023 Bitcoin                              0.00052276 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/23/2023 Bitcoin                              0.00043856 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/26/2023 Bitcoin                              0.00037602 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/29/2023 Bitcoin                              0.00037236 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/29/2023 Bitcoin                              0.00034447 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/28/2023 Bitcoin                              0.00031595 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/27/2023 Bitcoin                              0.00031562 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/28/2023 Bitcoin                              0.00030729 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/25/2023 Bitcoin                              0.00030657 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/27/2023 Bitcoin                                 0.000261 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/23/2023 Bitcoin                              0.00025373 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/27/2023 Bitcoin                              0.00021584 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/22/2023 Bitcoin                              0.00021468 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/30/2023 Bitcoin                              0.00021013 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/18/2023 Bitcoin                              0.00018955 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/26/2023 Bitcoin                              0.00017493 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/20/2023 Bitcoin                              0.00014798 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/19/2023 Bitcoin                              0.00014791 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/24/2023 Bitcoin                              0.00014605 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/24/2023 Bitcoin                              0.00014598 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/18/2023 Bitcoin                              0.00014552 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/17/2023 Bitcoin                              0.00014495 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/21/2023 Bitcoin                              0.00014473 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/29/2023 Bitcoin                              0.00014223 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/27/2023 Bitcoin                              0.00011157 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/20/2023 Bitcoin                              0.00011113 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/30/2023 Bitcoin                              0.00010766 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/26/2023 Bitcoin                              0.00010226 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/27/2023 Bitcoin                               0.0000903 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/25/2023 Bitcoin                               0.0000449 Customer Transfer
 Confidential Customer Coin Transferee #13993   [Address on File]    5/19/2023 Bitcoin                               0.0000222 Customer Transfer
 Confidential Customer Coin Transferee #13994   [Address on File]    5/20/2023 Bitcoin                              0.01541387 Customer Transfer
 Confidential Customer Coin Transferee #13994   [Address on File]    5/24/2023 Bitcoin                              0.01116955 Customer Transfer
 Confidential Customer Coin Transferee #13995   [Address on File]    5/16/2023 USDC Avalanche)                       97.400779 Customer Transfer
 Confidential Customer Coin Transferee #13995   [Address on File]    5/16/2023 USDC Avalanche)                       97.400779 Customer Transfer
 Confidential Customer Coin Transferee #13995   [Address on File]    5/16/2023 USDC Avalanche)                       97.400779 Customer Transfer
 Confidential Customer Coin Transferee #13996   [Address on File]    6/19/2023 Bitcoin                               0.0001873 Customer Transfer

 Confidential Customer Coin Transferee #13997   [Address on File]    6/19/2023 Bitcoin                                 0.00761248 Customer Transfer

 Confidential Customer Coin Transferee #13997   [Address on File]    6/21/2023 Bitcoin                                 0.00296837 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                        Reason for Payment
                 Creditor's Name                    Address 1          Date            Crypto Currency             Unit Count           or Transfer

 Confidential Customer Coin Transferee #13998   [Address on File]     6/8/2023 Bitcoin                                 0.01092211 Customer Transfer
 Confidential Customer Coin Transferee #13999   [Address on File]    5/26/2023 Bitcoin                                 0.00045076 Customer Transfer
 Confidential Customer Coin Transferee #13999   [Address on File]    5/26/2023 Bitcoin                                 0.00039726 Customer Transfer
 Confidential Customer Coin Transferee #13999   [Address on File]    5/25/2023 Bitcoin                                 0.00038488 Customer Transfer
 Confidential Customer Coin Transferee #13999   [Address on File]    5/25/2023 Bitcoin                                 0.00017435 Customer Transfer
 Confidential Customer Coin Transferee #13999   [Address on File]    5/25/2023 Bitcoin                                 0.00009851 Customer Transfer
 Confidential Customer Coin Transferee #14000   [Address on File]    5/22/2023 Bitcoin                                 0.01148319 Customer Transfer
 Confidential Customer Coin Transferee #14000   [Address on File]    5/29/2023 Bitcoin                                 0.01124555 Customer Transfer
 Confidential Customer Coin Transferee #14001   [Address on File]    6/19/2023 Bitcoin                                 0.00041477 Customer Transfer
 Confidential Customer Coin Transferee #14002   [Address on File]    6/19/2023 Bitcoin                                 0.00003678 Customer Transfer
 Confidential Customer Coin Transferee #14003   [Address on File]    6/20/2023 Bitcoin                                 0.00289455 Customer Transfer
 Confidential Customer Coin Transferee #14004   [Address on File]    6/20/2023 Bitcoin                                  0.0011165 Customer Transfer
 Confidential Customer Coin Transferee #14005   [Address on File]    5/17/2023 Bitcoin                                 0.03410063 Customer Transfer
 Confidential Customer Coin Transferee #14005   [Address on File]    5/28/2023 Bitcoin                                  0.0256988 Customer Transfer
 Confidential Customer Coin Transferee #14006   [Address on File]    5/22/2023 Bitcoin                                 0.00036574 Customer Transfer
 Confidential Customer Coin Transferee #14007   [Address on File]    6/20/2023 Bitcoin                                 0.00434243 Customer Transfer
 Confidential Customer Coin Transferee #14008   [Address on File]    6/20/2023 Bitcoin                                 0.00360785 Customer Transfer
 Confidential Customer Coin Transferee #14009   [Address on File]    5/23/2023 Bitcoin                                 0.01407489 Customer Transfer
 Confidential Customer Coin Transferee #14010   [Address on File]     6/1/2023 Tether USD                                    978.18 Customer Transfer
 Confidential Customer Coin Transferee #14011   [Address on File]    5/28/2023 Bitcoin                                 0.02137499 Customer Transfer
 Confidential Customer Coin Transferee #14012   [Address on File]    6/19/2023 Bitcoin                                 0.00057894 Customer Transfer
 Confidential Customer Coin Transferee #14013   [Address on File]    5/27/2023 Bitcoin                                 0.01180818 Customer Transfer
 Confidential Customer Coin Transferee #14014   [Address on File]    6/19/2023 Bitcoin                                 0.02173655 Customer Transfer
 Confidential Customer Coin Transferee #14015   [Address on File]    5/23/2023 Bitcoin                                 0.00036782 Customer Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/31/2023 Bitcoin                                 0.00183689 Customer Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/25/2023 Bitcoin                                 0.00094684 Customer Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/25/2023 Bitcoin                                 0.00093944 Customer Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/26/2023 Bitcoin                                 0.00086535 Customer Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/30/2023 Bitcoin                                 0.00082209 Customer Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/28/2023 Bitcoin                                 0.00077761 Customer Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/29/2023 Bitcoin                                 0.00070527 Customer Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/29/2023 Bitcoin                                     0.00039 Customer Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/30/2023 Bitcoin                                     0.00037 Customer Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/29/2023 Bitcoin                                    0.000356 Customer Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/30/2023 Bitcoin                                  0.0003323 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14016   [Address on File]    5/30/2023 Bitcoin                              0.00031187 Customer Transfer
 Confidential Customer Coin Transferee #14017   [Address on File]    5/18/2023 Bitcoin                              0.00725364 Customer Transfer
 Confidential Customer Coin Transferee #14017   [Address on File]    5/18/2023 Bitcoin                              0.00362805 Customer Transfer
 Confidential Customer Coin Transferee #14018   [Address on File]    5/16/2023 Bitcoin                                 0.000032 Customer Transfer
 Confidential Customer Coin Transferee #14018   [Address on File]    5/16/2023 Bitcoin                                  0.00001 Customer Transfer

 Confidential Customer Coin Transferee #14019   [Address on File]     6/2/2023 Tether USD                                      685 Customer Transfer
 Confidential Customer Coin Transferee #14020   [Address on File]    6/16/2023 USDC Avalanche)                          122.96622 Customer Transfer
 Confidential Customer Coin Transferee #14021   [Address on File]    6/20/2023 Bitcoin                                 0.00090567 Customer Transfer
 Confidential Customer Coin Transferee #14022   [Address on File]    5/18/2023 Bitcoin                                  0.0112097 Customer Transfer
 Confidential Customer Coin Transferee #14022   [Address on File]    5/26/2023 Bitcoin                                 0.01063942 Customer Transfer
 Confidential Customer Coin Transferee #14022   [Address on File]    5/22/2023 Bitcoin                                 0.00418363 Customer Transfer
 Confidential Customer Coin Transferee #14022   [Address on File]    5/16/2023 Bitcoin                                 0.00374443 Customer Transfer
 Confidential Customer Coin Transferee #14022   [Address on File]    5/16/2023 Bitcoin                                 0.00367785 Customer Transfer
 Confidential Customer Coin Transferee #14022   [Address on File]    5/24/2023 Bitcoin                                 0.00343952 Customer Transfer
 Confidential Customer Coin Transferee #14022   [Address on File]    5/16/2023 Bitcoin                                 0.00319453 Customer Transfer
 Confidential Customer Coin Transferee #14022   [Address on File]    5/16/2023 Bitcoin                                      0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14023   [Address on File]    5/20/2023 Bitcoin                                 0.01424667 Customer Transfer
 Confidential Customer Coin Transferee #14023   [Address on File]    5/27/2023 Bitcoin                                 0.01178456 Customer Transfer
 Confidential Customer Coin Transferee #14024   [Address on File]    5/28/2023 Bitcoin                                 0.00503534 Customer Transfer
 Confidential Customer Coin Transferee #14024   [Address on File]    5/16/2023 Bitcoin                                 0.00431208 Customer Transfer
 Confidential Customer Coin Transferee #14025   [Address on File]    5/28/2023 Bitcoin                                     0.00942 Customer Transfer
 Confidential Customer Coin Transferee #14026   [Address on File]    5/19/2023 Bitcoin                                 0.05063342 Customer Transfer
 Confidential Customer Coin Transferee #14027   [Address on File]    5/26/2023 Bitcoin                                 0.02276868 Customer Transfer
 Confidential Customer Coin Transferee #14027   [Address on File]    5/19/2023 Bitcoin                                  0.0060814 Customer Transfer
 Confidential Customer Coin Transferee #14028   [Address on File]    5/16/2023 Bitcoin                                         0.22 Customer Transfer
 Confidential Customer Coin Transferee #14028   [Address on File]    5/22/2023 Bitcoin                                      0.1658 Customer Transfer
 Confidential Customer Coin Transferee #14029   [Address on File]    5/24/2023 Bitcoin                                 0.00372223 Customer Transfer
 Confidential Customer Coin Transferee #14029   [Address on File]    5/24/2023 Bitcoin                                  0.0037212 Customer Transfer
 Confidential Customer Coin Transferee #14029   [Address on File]    5/23/2023 Bitcoin                                 0.00365122 Customer Transfer
 Confidential Customer Coin Transferee #14030   [Address on File]    5/19/2023 Bitcoin                                      0.0003 Customer Transfer
 Confidential Customer Coin Transferee #14031   [Address on File]    5/21/2023 Bitcoin                                 0.00066978 Customer Transfer
 Confidential Customer Coin Transferee #14032   [Address on File]    5/26/2023 Bitcoin                                 0.01651611 Customer Transfer
 Confidential Customer Coin Transferee #14033   [Address on File]    5/23/2023 Bitcoin                                 0.00740298 Customer Transfer
 Confidential Customer Coin Transferee #14033   [Address on File]    5/19/2023 Bitcoin                                 0.00369905 Customer Transfer
 Confidential Customer Coin Transferee #14034   [Address on File]    5/18/2023 Bitcoin                                 0.10662475 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14034   [Address on File]    5/21/2023 Bitcoin                              0.01007756 Customer Transfer
 Confidential Customer Coin Transferee #14035   [Address on File]    5/31/2023 Bitcoin                              0.00217697 Customer Transfer
 Confidential Customer Coin Transferee #14036   [Address on File]    5/20/2023 Bitcoin                              0.05551276 Customer Transfer
 Confidential Customer Coin Transferee #14037   [Address on File]    5/30/2023 Bitcoin                              0.00715393 Customer Transfer
 Confidential Customer Coin Transferee #14037   [Address on File]    5/24/2023 Bitcoin                              0.00377803 Customer Transfer
 Confidential Customer Coin Transferee #14037   [Address on File]    5/17/2023 Bitcoin                              0.00373203 Customer Transfer
 Confidential Customer Coin Transferee #14038   [Address on File]    6/20/2023 Bitcoin                              0.00052146 Customer Transfer
 Confidential Customer Coin Transferee #14039   [Address on File]    5/24/2023 Bitcoin                               0.0048307 Customer Transfer
 Confidential Customer Coin Transferee #14039   [Address on File]    5/18/2023 Bitcoin                               0.0047943 Customer Transfer
 Confidential Customer Coin Transferee #14039   [Address on File]    5/28/2023 Bitcoin                              0.00421601 Customer Transfer
 Confidential Customer Coin Transferee #14039   [Address on File]    5/30/2023 Bitcoin                              0.00332971 Customer Transfer
 Confidential Customer Coin Transferee #14040   [Address on File]    6/20/2023 Bitcoin                              0.00005807 Customer Transfer
 Confidential Customer Coin Transferee #14041   [Address on File]    5/17/2023 Bitcoin                              0.01043112 Customer Transfer
 Confidential Customer Coin Transferee #14042   [Address on File]    5/23/2023 Bitcoin                              0.00073258 Customer Transfer
 Confidential Customer Coin Transferee #14042   [Address on File]    5/24/2023 Bitcoin                               0.0003477 Customer Transfer
 Confidential Customer Coin Transferee #14042   [Address on File]    5/18/2023 Bitcoin                              0.00034495 Customer Transfer
 Confidential Customer Coin Transferee #14042   [Address on File]    5/23/2023 Bitcoin                              0.00021976 Customer Transfer
 Confidential Customer Coin Transferee #14042   [Address on File]    5/25/2023 Bitcoin                               0.0002086 Customer Transfer
 Confidential Customer Coin Transferee #14042   [Address on File]    5/23/2023 Bitcoin                              0.00015707 Customer Transfer
 Confidential Customer Coin Transferee #14043   [Address on File]    5/19/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #14044   [Address on File]    6/20/2023 Bitcoin                              0.00004322 Customer Transfer
 Confidential Customer Coin Transferee #14045   [Address on File]    5/27/2023 Bitcoin                              0.00379697 Customer Transfer
 Confidential Customer Coin Transferee #14045   [Address on File]    5/29/2023 Bitcoin                               0.0035669 Customer Transfer
 Confidential Customer Coin Transferee #14045   [Address on File]    5/29/2023 Bitcoin                              0.00356488 Customer Transfer
 Confidential Customer Coin Transferee #14045   [Address on File]    5/29/2023 Bitcoin                              0.00355304 Customer Transfer
 Confidential Customer Coin Transferee #14046   [Address on File]    5/24/2023 Bitcoin                              0.00128094 Customer Transfer
 Confidential Customer Coin Transferee #14047   [Address on File]    5/29/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #14047   [Address on File]    5/23/2023 Bitcoin                                   0.0065 Customer Transfer
 Confidential Customer Coin Transferee #14048   [Address on File]    5/25/2023 Bitcoin                              0.00691218 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/30/2023 Bitcoin                              0.00717474 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/26/2023 Bitcoin                                  0.00375 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/26/2023 Bitcoin                              0.00372074 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/28/2023 Bitcoin                              0.00371005 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/16/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/16/2023 Bitcoin                              0.00206082 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/31/2023 Bitcoin                               0.0018353 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/28/2023 Bitcoin                              0.00182971 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/28/2023 Bitcoin                              0.00143982 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/25/2023 Bitcoin                              0.00133367 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/20/2023 Bitcoin                              0.00111008 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/17/2023 Bitcoin                              0.00092518 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/29/2023 Bitcoin                               0.0008815 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/24/2023 Bitcoin                              0.00075711 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/25/2023 Bitcoin                              0.00075284 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/16/2023 Bitcoin                              0.00073413 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/18/2023 Bitcoin                              0.00072676 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/25/2023 Bitcoin                              0.00056304 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/22/2023 Bitcoin                              0.00055724 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/22/2023 Bitcoin                              0.00055479 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/21/2023 Bitcoin                              0.00055409 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/20/2023 Bitcoin                              0.00055408 Customer Transfer
 Confidential Customer Coin Transferee #14049   [Address on File]    5/21/2023 Bitcoin                              0.00054834 Customer Transfer
 Confidential Customer Coin Transferee #14050   [Address on File]    5/26/2023 Bitcoin                              0.00927102 Customer Transfer
 Confidential Customer Coin Transferee #14050   [Address on File]    5/25/2023 Bitcoin                              0.00394107 Customer Transfer
 Confidential Customer Coin Transferee #14050   [Address on File]    5/20/2023 Bitcoin                              0.00370494 Customer Transfer
 Confidential Customer Coin Transferee #14051   [Address on File]    5/26/2023 Bitcoin                              0.00555875 Customer Transfer
 Confidential Customer Coin Transferee #14051   [Address on File]    5/19/2023 Bitcoin                              0.00462224 Customer Transfer
 Confidential Customer Coin Transferee #14052   [Address on File]    5/30/2023 Bitcoin                              0.00541599 Customer Transfer
 Confidential Customer Coin Transferee #14052   [Address on File]    5/25/2023 Bitcoin                              0.00383991 Customer Transfer
 Confidential Customer Coin Transferee #14052   [Address on File]    6/17/2023 Bitcoin                              0.00198426 Customer Transfer
 Confidential Customer Coin Transferee #14052   [Address on File]    6/13/2023 Bitcoin                              0.00190939 Customer Transfer
 Confidential Customer Coin Transferee #14052   [Address on File]    6/12/2023 Bitcoin                              0.00185853 Customer Transfer
 Confidential Customer Coin Transferee #14052   [Address on File]     6/7/2023 Bitcoin                              0.00178938 Customer Transfer
 Confidential Customer Coin Transferee #14053   [Address on File]    5/25/2023 Bitcoin                              0.00968587 Customer Transfer
 Confidential Customer Coin Transferee #14053   [Address on File]    5/30/2023 Bitcoin                              0.00185637 Customer Transfer
 Confidential Customer Coin Transferee #14054   [Address on File]    5/20/2023 Bitcoin                              0.01406842 Customer Transfer
 Confidential Customer Coin Transferee #14055   [Address on File]    5/20/2023 Bitcoin                                    0.024 Customer Transfer
 Confidential Customer Coin Transferee #14056   [Address on File]    5/23/2023 Bitcoin                               0.0185774 Customer Transfer
 Confidential Customer Coin Transferee #14057   [Address on File]     6/6/2023 Bitcoin                              0.00109993 Customer Transfer
 Confidential Customer Coin Transferee #14058   [Address on File]    5/27/2023 Bitcoin                              0.05961106 Customer Transfer
 Confidential Customer Coin Transferee #14058   [Address on File]    5/20/2023 Bitcoin                              0.01044491 Customer Transfer
 Confidential Customer Coin Transferee #14059   [Address on File]    5/23/2023 Bitcoin                              0.05275141 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14060   [Address on File]    5/21/2023 Bitcoin                              0.02621763 Customer Transfer
 Confidential Customer Coin Transferee #14061   [Address on File]    5/30/2023 Bitcoin                              0.00430527 Customer Transfer
 Confidential Customer Coin Transferee #14062   [Address on File]    6/19/2023 Bitcoin                               0.0006963 Customer Transfer
 Confidential Customer Coin Transferee #14063   [Address on File]    6/19/2023 Bitcoin                              0.00117147 Customer Transfer
 Confidential Customer Coin Transferee #14064   [Address on File]    5/19/2023 Bitcoin                              0.01650663 Customer Transfer
 Confidential Customer Coin Transferee #14065   [Address on File]    6/20/2023 Bitcoin                              0.00350638 Customer Transfer
 Confidential Customer Coin Transferee #14066   [Address on File]    6/19/2023 Bitcoin                               0.0009155 Customer Transfer
 Confidential Customer Coin Transferee #14067   [Address on File]    6/19/2023 Bitcoin                              0.00378297 Customer Transfer
 Confidential Customer Coin Transferee #14068   [Address on File]    6/16/2023 Bitcoin                              0.00769736 Customer Transfer
 Confidential Customer Coin Transferee #14068   [Address on File]    5/24/2023 Bitcoin                               0.0074685 Customer Transfer
 Confidential Customer Coin Transferee #14068   [Address on File]     6/7/2023 Bitcoin                              0.00742591 Customer Transfer

 Confidential Customer Coin Transferee #14069   [Address on File]    5/30/2023 Bitcoin                                 0.00278391 Customer Transfer
 Confidential Customer Coin Transferee #14070   [Address on File]    6/18/2023 Bitcoin                                 0.02904551 Customer Transfer
 Confidential Customer Coin Transferee #14070   [Address on File]     6/9/2023 Bitcoin                                 0.01014635 Customer Transfer

 Confidential Customer Coin Transferee #14071   [Address on File]    6/19/2023 Bitcoin                                 0.00120076 Customer Transfer
 Confidential Customer Coin Transferee #14072   [Address on File]    6/20/2023 Bitcoin                                 0.00005814 Customer Transfer
 Confidential Customer Coin Transferee #14073   [Address on File]    5/21/2023 Bitcoin                                 0.00351176 Customer Transfer
 Confidential Customer Coin Transferee #14074   [Address on File]     6/8/2023 Bitcoin                                 0.01372629 Customer Transfer
 Confidential Customer Coin Transferee #14075   [Address on File]    5/18/2023 Bitcoin                                 0.85080211 Customer Transfer
 Confidential Customer Coin Transferee #14076   [Address on File]    5/26/2023 Bitcoin                                     0.00927 Customer Transfer
 Confidential Customer Coin Transferee #14077   [Address on File]    5/20/2023 Bitcoin                                 0.00176631 Customer Transfer
 Confidential Customer Coin Transferee #14078   [Address on File]    5/25/2023 Bitcoin                                 0.01804269 Customer Transfer
 Confidential Customer Coin Transferee #14079   [Address on File]     6/8/2023 Bitcoin                                 0.00358524 Customer Transfer
 Confidential Customer Coin Transferee #14079   [Address on File]    5/17/2023 Bitcoin                                 0.00269338 Customer Transfer
 Confidential Customer Coin Transferee #14080   [Address on File]    6/20/2023 Bitcoin                                 0.00238086 Customer Transfer
 Confidential Customer Coin Transferee #14081   [Address on File]    6/20/2023 Bitcoin                                 0.00016769 Customer Transfer
 Confidential Customer Coin Transferee #14082   [Address on File]    5/23/2023 Bitcoin                                 0.00927307 Customer Transfer
 Confidential Customer Coin Transferee #14083   [Address on File]    6/20/2023 Bitcoin                                 0.00022165 Customer Transfer
 Confidential Customer Coin Transferee #14084   [Address on File]    5/19/2023 Bitcoin                                 0.04473499 Customer Transfer
 Confidential Customer Coin Transferee #14085   [Address on File]    6/19/2023 Bitcoin                                 0.00642517 Customer Transfer
 Confidential Customer Coin Transferee #14086   [Address on File]     6/9/2023 Bitcoin                                  0.0948913 Customer Transfer
 Confidential Customer Coin Transferee #14086   [Address on File]    6/15/2023 Bitcoin                                 0.06944949 Customer Transfer
 Confidential Customer Coin Transferee #14087   [Address on File]    5/21/2023 Bitcoin                                 0.00983575 Customer Transfer
 Confidential Customer Coin Transferee #14088   [Address on File]    5/16/2023 Bitcoin                                 0.01019709 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14088   [Address on File]    5/26/2023 Bitcoin                              0.00810056 Customer Transfer
 Confidential Customer Coin Transferee #14088   [Address on File]    5/17/2023 Bitcoin                              0.00208727 Customer Transfer
 Confidential Customer Coin Transferee #14088   [Address on File]    5/22/2023 Bitcoin                              0.00166235 Customer Transfer
 Confidential Customer Coin Transferee #14088   [Address on File]    5/24/2023 Bitcoin                              0.00074547 Customer Transfer
 Confidential Customer Coin Transferee #14088   [Address on File]    5/21/2023 Bitcoin                              0.00054303 Customer Transfer
 Confidential Customer Coin Transferee #14088   [Address on File]    5/20/2023 Bitcoin                              0.00053982 Customer Transfer
 Confidential Customer Coin Transferee #14088   [Address on File]    5/19/2023 Bitcoin                              0.00036097 Customer Transfer
 Confidential Customer Coin Transferee #14088   [Address on File]    5/18/2023 Bitcoin                              0.00034639 Customer Transfer
 Confidential Customer Coin Transferee #14089   [Address on File]    5/22/2023 Bitcoin                              0.01082653 Customer Transfer
 Confidential Customer Coin Transferee #14090   [Address on File]    5/23/2023 Bitcoin                              0.01063407 Customer Transfer
 Confidential Customer Coin Transferee #14091   [Address on File]    6/20/2023 Bitcoin                              0.00004052 Customer Transfer
 Confidential Customer Coin Transferee #14092   [Address on File]    6/19/2023 Bitcoin                               0.0028943 Customer Transfer
 Confidential Customer Coin Transferee #14093   [Address on File]    5/29/2023 Bitcoin                              0.00508564 Customer Transfer
 Confidential Customer Coin Transferee #14093   [Address on File]     6/9/2023 Bitcoin                              0.00170583 Customer Transfer
 Confidential Customer Coin Transferee #14094   [Address on File]    5/28/2023 Bitcoin                              0.02534834 Customer Transfer
 Confidential Customer Coin Transferee #14095   [Address on File]     6/9/2023 Bitcoin                              0.00647438 Customer Transfer
 Confidential Customer Coin Transferee #14096   [Address on File]    5/26/2023 Bitcoin                               0.1573263 Customer Transfer
 Confidential Customer Coin Transferee #14096   [Address on File]    5/26/2023 Bitcoin                                     0.04 Customer Transfer
 Confidential Customer Coin Transferee #14096   [Address on File]    5/26/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #14097   [Address on File]    6/19/2023 Bitcoin                              0.00747286 Customer Transfer
 Confidential Customer Coin Transferee #14098   [Address on File]    6/19/2023 Bitcoin                              0.00044899 Customer Transfer
 Confidential Customer Coin Transferee #14099   [Address on File]    6/19/2023 Bitcoin                              0.00033551 Customer Transfer
 Confidential Customer Coin Transferee #14100   [Address on File]    6/20/2023 Bitcoin                              0.00004386 Customer Transfer
 Confidential Customer Coin Transferee #14101   [Address on File]    6/19/2023 Bitcoin                              0.00057899 Customer Transfer
 Confidential Customer Coin Transferee #14102   [Address on File]    5/27/2023 Bitcoin                              0.02503068 Customer Transfer
 Confidential Customer Coin Transferee #14102   [Address on File]    5/19/2023 Bitcoin                              0.02314991 Customer Transfer
 Confidential Customer Coin Transferee #14103   [Address on File]    5/19/2023 Bitcoin                              0.11511629 Customer Transfer
 Confidential Customer Coin Transferee #14104   [Address on File]    5/16/2023 Bitcoin                               0.0005458 Customer Transfer
 Confidential Customer Coin Transferee #14104   [Address on File]    5/17/2023 Bitcoin                              0.00023868 Customer Transfer
 Confidential Customer Coin Transferee #14105   [Address on File]    6/20/2023 Bitcoin                              0.00243034 Customer Transfer
 Confidential Customer Coin Transferee #14106   [Address on File]    6/20/2023 Bitcoin                              0.00080287 Customer Transfer
 Confidential Customer Coin Transferee #14107   [Address on File]    5/19/2023 Bitcoin                               0.0896351 Customer Transfer
 Confidential Customer Coin Transferee #14108   [Address on File]    5/26/2023 Bitcoin                              0.00495076 Customer Transfer
 Confidential Customer Coin Transferee #14109   [Address on File]    6/20/2023 Bitcoin                              0.02260809 Customer Transfer
 Confidential Customer Coin Transferee #14110   [Address on File]    5/20/2023 Bitcoin                               0.0025725 Customer Transfer
 Confidential Customer Coin Transferee #14111   [Address on File]    5/26/2023 Bitcoin                              0.00558368 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14111   [Address on File]     6/1/2023 Bitcoin                               0.0036576 Customer Transfer
 Confidential Customer Coin Transferee #14111   [Address on File]    6/19/2023 Bitcoin                               0.0018332 Customer Transfer
 Confidential Customer Coin Transferee #14112   [Address on File]    5/24/2023 Bitcoin                              0.05385791 Customer Transfer
 Confidential Customer Coin Transferee #14113   [Address on File]    5/23/2023 Bitcoin                               0.0140819 Customer Transfer
 Confidential Customer Coin Transferee #14114   [Address on File]    5/16/2023 Bitcoin                              0.03295363 Customer Transfer
 Confidential Customer Coin Transferee #14115   [Address on File]    5/23/2023 Bitcoin                              0.00018509 Customer Transfer
 Confidential Customer Coin Transferee #14116   [Address on File]    5/30/2023 Bitcoin                              0.07675147 Customer Transfer
 Confidential Customer Coin Transferee #14117   [Address on File]    5/25/2023 Bitcoin                              0.00287933 Customer Transfer
 Confidential Customer Coin Transferee #14118   [Address on File]    5/18/2023 Bitcoin                              0.00187179 Customer Transfer
 Confidential Customer Coin Transferee #14118   [Address on File]     6/1/2023 Bitcoin                              0.00185753 Customer Transfer
 Confidential Customer Coin Transferee #14118   [Address on File]    5/30/2023 Bitcoin                              0.00179458 Customer Transfer
 Confidential Customer Coin Transferee #14119   [Address on File]    5/25/2023 Bitcoin                               0.0028757 Customer Transfer
 Confidential Customer Coin Transferee #14119   [Address on File]    5/21/2023 Bitcoin                              0.00196432 Customer Transfer
 Confidential Customer Coin Transferee #14119   [Address on File]    5/27/2023 Bitcoin                              0.00149101 Customer Transfer
 Confidential Customer Coin Transferee #14119   [Address on File]    5/30/2023 Bitcoin                              0.00143291 Customer Transfer
 Confidential Customer Coin Transferee #14119   [Address on File]    5/23/2023 Bitcoin                              0.00091333 Customer Transfer
 Confidential Customer Coin Transferee #14120   [Address on File]    5/25/2023 Bitcoin                              0.02314159 Customer Transfer
 Confidential Customer Coin Transferee #14121   [Address on File]    5/21/2023 Bitcoin                              0.00898424 Customer Transfer
 Confidential Customer Coin Transferee #14122   [Address on File]    5/25/2023 Bitcoin                              0.00757434 Customer Transfer
 Confidential Customer Coin Transferee #14122   [Address on File]    5/17/2023 Bitcoin                              0.00742347 Customer Transfer
 Confidential Customer Coin Transferee #14123   [Address on File]    6/19/2023 Bitcoin                              0.05371728 Customer Transfer
 Confidential Customer Coin Transferee #14124   [Address on File]    6/20/2023 Bitcoin                              0.00057689 Customer Transfer
 Confidential Customer Coin Transferee #14125   [Address on File]    5/25/2023 USDC Avalanche)                      996.261121 Customer Transfer
 Confidential Customer Coin Transferee #14125   [Address on File]     6/3/2023 USDC Avalanche)                      996.061969 Customer Transfer
 Confidential Customer Coin Transferee #14125   [Address on File]    5/27/2023 USDC Avalanche)                      995.962422 Customer Transfer
 Confidential Customer Coin Transferee #14125   [Address on File]    5/26/2023 USDC Avalanche)                      995.862895 Customer Transfer
 Confidential Customer Coin Transferee #14125   [Address on File]    6/10/2023 Cosmos Hub ATOM)                     124.227472 Customer Transfer
 Confidential Customer Coin Transferee #14125   [Address on File]    6/18/2023 Cosmos Hub ATOM)                      56.812991 Customer Transfer
 Confidential Customer Coin Transferee #14125   [Address on File]    6/19/2023 Cosmos Hub ATOM)                      22.858859 Customer Transfer
 Confidential Customer Coin Transferee #14126   [Address on File]    6/18/2023 Bitcoin                              0.00166817 Customer Transfer
 Confidential Customer Coin Transferee #14127   [Address on File]    6/19/2023 Bitcoin                              0.00353598 Customer Transfer
 Confidential Customer Coin Transferee #14128   [Address on File]    6/20/2023 Bitcoin                              0.00040607 Customer Transfer
 Confidential Customer Coin Transferee #14129   [Address on File]    6/19/2023 Bitcoin                              0.00005605 Customer Transfer
 Confidential Customer Coin Transferee #14130   [Address on File]    5/20/2023 Bitcoin                              0.33328877 Customer Transfer

 Confidential Customer Coin Transferee #14131   [Address on File]    6/14/2023 Ether                                   0.04300853 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14132   [Address on File]    6/20/2023 Bitcoin                              0.01430083 Customer Transfer
 Confidential Customer Coin Transferee #14133   [Address on File]    5/26/2023 Bitcoin                              0.00297044 Customer Transfer
 Confidential Customer Coin Transferee #14133   [Address on File]    5/29/2023 Bitcoin                              0.00146685 Customer Transfer
 Confidential Customer Coin Transferee #14134   [Address on File]    5/19/2023 Bitcoin                              0.03701214 Customer Transfer
 Confidential Customer Coin Transferee #14134   [Address on File]    5/17/2023 Bitcoin                              0.00372514 Customer Transfer
 Confidential Customer Coin Transferee #14134   [Address on File]    5/30/2023 Bitcoin                              0.00360858 Customer Transfer
 Confidential Customer Coin Transferee #14134   [Address on File]    5/19/2023 Bitcoin                              0.00074086 Customer Transfer
 Confidential Customer Coin Transferee #14135   [Address on File]    5/22/2023 Bitcoin                              0.00148756 Customer Transfer
 Confidential Customer Coin Transferee #14135   [Address on File]    5/20/2023 Bitcoin                              0.00147667 Customer Transfer
 Confidential Customer Coin Transferee #14135   [Address on File]    5/23/2023 Bitcoin                              0.00145756 Customer Transfer
 Confidential Customer Coin Transferee #14135   [Address on File]    5/24/2023 Bitcoin                              0.00113535 Customer Transfer
 Confidential Customer Coin Transferee #14135   [Address on File]    5/24/2023 Bitcoin                              0.00112805 Customer Transfer
 Confidential Customer Coin Transferee #14135   [Address on File]    5/21/2023 Bitcoin                               0.0011095 Customer Transfer
 Confidential Customer Coin Transferee #14135   [Address on File]    5/20/2023 Bitcoin                              0.00110198 Customer Transfer
 Confidential Customer Coin Transferee #14135   [Address on File]    5/25/2023 Bitcoin                              0.00075709 Customer Transfer
 Confidential Customer Coin Transferee #14136   [Address on File]    5/19/2023 Bitcoin                              0.02700505 Customer Transfer
 Confidential Customer Coin Transferee #14137   [Address on File]    5/18/2023 Bitcoin                              0.00123968 Customer Transfer
 Confidential Customer Coin Transferee #14137   [Address on File]    5/25/2023 Bitcoin                              0.00100331 Customer Transfer
 Confidential Customer Coin Transferee #14137   [Address on File]    5/27/2023 Bitcoin                              0.00069324 Customer Transfer
 Confidential Customer Coin Transferee #14138   [Address on File]    5/31/2023 Bitcoin                              0.00099067 Customer Transfer
 Confidential Customer Coin Transferee #14139   [Address on File]    5/16/2023 Bitcoin                              0.01234222 Customer Transfer
 Confidential Customer Coin Transferee #14140   [Address on File]    5/17/2023 Bitcoin                              0.00982021 Customer Transfer
 Confidential Customer Coin Transferee #14140   [Address on File]    5/20/2023 Bitcoin                              0.00884898 Customer Transfer
 Confidential Customer Coin Transferee #14140   [Address on File]    5/28/2023 Bitcoin                              0.00788009 Customer Transfer
 Confidential Customer Coin Transferee #14140   [Address on File]    5/23/2023 Bitcoin                              0.00776222 Customer Transfer
 Confidential Customer Coin Transferee #14140   [Address on File]    5/24/2023 Bitcoin                              0.00441314 Customer Transfer
 Confidential Customer Coin Transferee #14140   [Address on File]    5/25/2023 Bitcoin                               0.0031298 Customer Transfer
 Confidential Customer Coin Transferee #14140   [Address on File]    5/20/2023 Bitcoin                              0.00110617 Customer Transfer
 Confidential Customer Coin Transferee #14141   [Address on File]    5/26/2023 Bitcoin                              0.00711591 Customer Transfer

 Confidential Customer Coin Transferee #14142   [Address on File]    5/27/2023 Bitcoin                                 0.00356913 Customer Transfer

 Confidential Customer Coin Transferee #14142   [Address on File]    5/26/2023 Bitcoin                                 0.00052087 Customer Transfer
 Confidential Customer Coin Transferee #14143   [Address on File]    5/17/2023 Bitcoin                                        0.01 Customer Transfer
 Confidential Customer Coin Transferee #14143   [Address on File]    5/20/2023 Bitcoin                                        0.01 Customer Transfer
 Confidential Customer Coin Transferee #14143   [Address on File]    5/23/2023 Bitcoin                                        0.01 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #14143   [Address on File]    5/25/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #14143   [Address on File]    5/28/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #14144   [Address on File]    5/19/2023 Bitcoin                              0.00369652 Customer Transfer
 Confidential Customer Coin Transferee #14144   [Address on File]    5/26/2023 Bitcoin                              0.00229398 Customer Transfer
 Confidential Customer Coin Transferee #14144   [Address on File]    5/26/2023 Bitcoin                              0.00225076 Customer Transfer
 Confidential Customer Coin Transferee #14144   [Address on File]    5/25/2023 Bitcoin                               0.0019008 Customer Transfer
 Confidential Customer Coin Transferee #14144   [Address on File]    5/25/2023 Bitcoin                                  0.00189 Customer Transfer
 Confidential Customer Coin Transferee #14144   [Address on File]    5/20/2023 Bitcoin                              0.00185148 Customer Transfer
 Confidential Customer Coin Transferee #14144   [Address on File]    5/20/2023 Bitcoin                              0.00184596 Customer Transfer
 Confidential Customer Coin Transferee #14145   [Address on File]    6/20/2023 Bitcoin                               0.0086601 Customer Transfer
 Confidential Customer Coin Transferee #14145   [Address on File]     6/8/2023 Bitcoin                              0.00560152 Customer Transfer
 Confidential Customer Coin Transferee #14146   [Address on File]    5/17/2023 Bitcoin                              0.00037212 Customer Transfer
 Confidential Customer Coin Transferee #14146   [Address on File]    5/16/2023 Bitcoin                              0.00018479 Customer Transfer
 Confidential Customer Coin Transferee #14147   [Address on File]    5/26/2023 Bitcoin                              0.00376664 Customer Transfer
 Confidential Customer Coin Transferee #14148   [Address on File]    5/19/2023 Bitcoin                              0.00711225 Customer Transfer
 Confidential Customer Coin Transferee #14149   [Address on File]    5/25/2023 Bitcoin                               0.0038045 Customer Transfer
 Confidential Customer Coin Transferee #14149   [Address on File]    5/21/2023 Bitcoin                              0.00371451 Customer Transfer
 Confidential Customer Coin Transferee #14149   [Address on File]    5/25/2023 Bitcoin                               0.0022862 Customer Transfer
 Confidential Customer Coin Transferee #14150   [Address on File]    5/20/2023 Bitcoin                              0.04538579 Customer Transfer
 Confidential Customer Coin Transferee #14151   [Address on File]    5/29/2023 Bitcoin                              0.00807005 Customer Transfer
 Confidential Customer Coin Transferee #14152   [Address on File]    5/21/2023 Bitcoin                              0.01771853 Customer Transfer
 Confidential Customer Coin Transferee #14153   [Address on File]    5/29/2023 Bitcoin                                    0.0003 Customer Transfer
 Confidential Customer Coin Transferee #14154   [Address on File]    5/24/2023 Bitcoin                              0.00621981 Customer Transfer
 Confidential Customer Coin Transferee #14155   [Address on File]    5/27/2023 Bitcoin                              0.00409508 Customer Transfer
 Confidential Customer Coin Transferee #14155   [Address on File]    5/23/2023 Bitcoin                              0.00333271 Customer Transfer
 Confidential Customer Coin Transferee #14155   [Address on File]    5/25/2023 Bitcoin                              0.00188354 Customer Transfer
 Confidential Customer Coin Transferee #14155   [Address on File]    5/17/2023 Bitcoin                              0.00186465 Customer Transfer
 Confidential Customer Coin Transferee #14155   [Address on File]    5/19/2023 Bitcoin                              0.00185109 Customer Transfer
 Confidential Customer Coin Transferee #14155   [Address on File]    5/17/2023 Bitcoin                              0.00183886 Customer Transfer
 Confidential Customer Coin Transferee #14155   [Address on File]    5/23/2023 Bitcoin                              0.00182176 Customer Transfer
 Confidential Customer Coin Transferee #14156   [Address on File]    5/19/2023 Bitcoin                              0.00182689 Customer Transfer
 Confidential Customer Coin Transferee #14157   [Address on File]    5/24/2023 Bitcoin                                 0.186453 Customer Transfer
 Confidential Customer Coin Transferee #14158   [Address on File]    5/20/2023 Bitcoin                              0.06897362 Customer Transfer
 Confidential Customer Coin Transferee #14159   [Address on File]    5/19/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #14159   [Address on File]    5/31/2023 Bitcoin                                  0.00075 Customer Transfer
 Confidential Customer Coin Transferee #14159   [Address on File]    5/31/2023 Bitcoin                                    0.0001 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #14160   [Address on File]    5/25/2023 Bitcoin                                    0.0125 Customer Transfer
 Confidential Customer Coin Transferee #14161   [Address on File]    5/17/2023 Bitcoin                              0.00102842 Customer Transfer
 Confidential Customer Coin Transferee #14162   [Address on File]    5/16/2023 Bitcoin                              0.00366918 Customer Transfer
 Confidential Customer Coin Transferee #14162   [Address on File]    5/23/2023 Bitcoin                              0.00358018 Customer Transfer
 Confidential Customer Coin Transferee #14162   [Address on File]    5/18/2023 Bitcoin                              0.00281956 Customer Transfer
 Confidential Customer Coin Transferee #14162   [Address on File]    5/26/2023 Bitcoin                              0.00192859 Customer Transfer
 Confidential Customer Coin Transferee #14162   [Address on File]    5/19/2023 Bitcoin                              0.00184858 Customer Transfer
 Confidential Customer Coin Transferee #14163   [Address on File]    5/21/2023 Bitcoin                              0.03662546 Customer Transfer
 Confidential Customer Coin Transferee #14164   [Address on File]    5/17/2023 Bitcoin                              0.00183157 Customer Transfer
 Confidential Customer Coin Transferee #14165   [Address on File]    5/30/2023 Bitcoin                              0.00279701 Customer Transfer
 Confidential Customer Coin Transferee #14165   [Address on File]    5/20/2023 Bitcoin                                    0.0004 Customer Transfer
 Confidential Customer Coin Transferee #14166   [Address on File]    5/18/2023 Bitcoin                              0.00073708 Customer Transfer
 Confidential Customer Coin Transferee #14166   [Address on File]    5/22/2023 Bitcoin                              0.00037166 Customer Transfer
 Confidential Customer Coin Transferee #14166   [Address on File]    5/20/2023 Bitcoin                              0.00036969 Customer Transfer
 Confidential Customer Coin Transferee #14166   [Address on File]    5/19/2023 Bitcoin                              0.00036946 Customer Transfer
 Confidential Customer Coin Transferee #14166   [Address on File]    5/21/2023 Bitcoin                              0.00036933 Customer Transfer
 Confidential Customer Coin Transferee #14166   [Address on File]    5/16/2023 Bitcoin                               0.0003681 Customer Transfer
 Confidential Customer Coin Transferee #14166   [Address on File]    5/23/2023 Bitcoin                              0.00036436 Customer Transfer
 Confidential Customer Coin Transferee #14167   [Address on File]    5/30/2023 Bitcoin                              0.00426694 Customer Transfer
 Confidential Customer Coin Transferee #14167   [Address on File]    5/19/2023 Bitcoin                              0.00175113 Customer Transfer
 Confidential Customer Coin Transferee #14167   [Address on File]    5/30/2023 Bitcoin                                 0.000715 Customer Transfer
 Confidential Customer Coin Transferee #14167   [Address on File]    5/19/2023 Bitcoin                                    0.0007 Customer Transfer
 Confidential Customer Coin Transferee #14167   [Address on File]    5/19/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14167   [Address on File]    5/24/2023 Bitcoin                                  0.00046 Customer Transfer
 Confidential Customer Coin Transferee #14167   [Address on File]    5/24/2023 Bitcoin                              0.00041244 Customer Transfer
 Confidential Customer Coin Transferee #14167   [Address on File]    5/25/2023 Bitcoin                                  0.00035 Customer Transfer
 Confidential Customer Coin Transferee #14167   [Address on File]    5/24/2023 Bitcoin                                  0.00033 Customer Transfer
 Confidential Customer Coin Transferee #14167   [Address on File]    5/24/2023 Bitcoin                                  0.00025 Customer Transfer
 Confidential Customer Coin Transferee #14168   [Address on File]    5/20/2023 Bitcoin                              0.00266594 Customer Transfer
 Confidential Customer Coin Transferee #14169   [Address on File]    5/20/2023 Bitcoin                              0.00459257 Customer Transfer
 Confidential Customer Coin Transferee #14169   [Address on File]    5/21/2023 Bitcoin                              0.00117108 Customer Transfer
 Confidential Customer Coin Transferee #14169   [Address on File]    5/21/2023 Bitcoin                              0.00013012 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/25/2023 Bitcoin                              0.00094726 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/27/2023 Bitcoin                                  0.00093 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/28/2023 Bitcoin                              0.00089193 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/17/2023 Bitcoin                              0.00074246 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/17/2023 Bitcoin                              0.00074229 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/26/2023 Bitcoin                              0.00074223 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/26/2023 Bitcoin                              0.00074148 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/21/2023 Bitcoin                              0.00073794 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/21/2023 Bitcoin                              0.00073576 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/16/2023 Bitcoin                               0.0007353 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/28/2023 Bitcoin                              0.00073231 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/20/2023 Bitcoin                              0.00072543 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/29/2023 Bitcoin                                  0.00072 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/30/2023 Bitcoin                              0.00071804 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/30/2023 Bitcoin                              0.00071532 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/29/2023 Bitcoin                              0.00071436 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/20/2023 Bitcoin                              0.00066557 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/27/2023 Bitcoin                              0.00061315 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/21/2023 Bitcoin                              0.00059245 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/26/2023 Bitcoin                              0.00055692 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/17/2023 Bitcoin                              0.00055643 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/29/2023 Bitcoin                              0.00046506 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/16/2023 Bitcoin                              0.00029493 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/23/2023 Bitcoin                              0.00029242 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/29/2023 Bitcoin                              0.00028353 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/23/2023 Bitcoin                              0.00025227 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/23/2023 Bitcoin                              0.00023794 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/16/2023 Bitcoin                              0.00020915 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/28/2023 Bitcoin                                  0.00019 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/27/2023 Bitcoin                               0.0001873 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/29/2023 Bitcoin                              0.00017019 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/16/2023 Bitcoin                              0.00014665 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/17/2023 Bitcoin                              0.00010611 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/25/2023 Bitcoin                              0.00007063 Customer Transfer
 Confidential Customer Coin Transferee #14170   [Address on File]    5/20/2023 Bitcoin                              0.00005896 Customer Transfer
 Confidential Customer Coin Transferee #14171   [Address on File]    5/18/2023 Bitcoin                                 0.010233 Customer Transfer
 Confidential Customer Coin Transferee #14172   [Address on File]    5/18/2023 Bitcoin                              0.00545484 Customer Transfer
 Confidential Customer Coin Transferee #14173   [Address on File]    5/18/2023 Bitcoin                              0.00736088 Customer Transfer
 Confidential Customer Coin Transferee #14173   [Address on File]    5/20/2023 Bitcoin                              0.00726023 Customer Transfer
 Confidential Customer Coin Transferee #14173   [Address on File]    5/28/2023 Bitcoin                              0.00429828 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14173   [Address on File]    5/28/2023 Bitcoin                              0.00426566 Customer Transfer
 Confidential Customer Coin Transferee #14173   [Address on File]    5/22/2023 Bitcoin                              0.00366697 Customer Transfer
 Confidential Customer Coin Transferee #14173   [Address on File]    5/25/2023 Bitcoin                               0.0033687 Customer Transfer
 Confidential Customer Coin Transferee #14173   [Address on File]    5/24/2023 Bitcoin                              0.00237533 Customer Transfer
 Confidential Customer Coin Transferee #14173   [Address on File]    5/17/2023 Bitcoin                              0.00071171 Customer Transfer
 Confidential Customer Coin Transferee #14173   [Address on File]    5/18/2023 Bitcoin                              0.00035715 Customer Transfer
 Confidential Customer Coin Transferee #14174   [Address on File]    5/27/2023 Bitcoin                               0.0027139 Customer Transfer
 Confidential Customer Coin Transferee #14175   [Address on File]    5/16/2023 Bitcoin                              0.00949316 Customer Transfer
 Confidential Customer Coin Transferee #14175   [Address on File]    5/29/2023 Bitcoin                              0.00110039 Customer Transfer
 Confidential Customer Coin Transferee #14176   [Address on File]    5/22/2023 Bitcoin                              0.01328819 Customer Transfer
 Confidential Customer Coin Transferee #14177   [Address on File]    6/21/2023 Bitcoin                              0.00008988 Customer Transfer
 Confidential Customer Coin Transferee #14178   [Address on File]    6/19/2023 Bitcoin                              0.00105852 Customer Transfer
 Confidential Customer Coin Transferee #14179   [Address on File]     6/8/2023 Bitcoin                              0.00149168 Customer Transfer
 Confidential Customer Coin Transferee #14179   [Address on File]    6/12/2023 Bitcoin                              0.00053228 Customer Transfer
 Confidential Customer Coin Transferee #14180   [Address on File]    5/17/2023 Bitcoin                              0.01047638 Customer Transfer
 Confidential Customer Coin Transferee #14181   [Address on File]    5/24/2023 Bitcoin                              0.00740554 Customer Transfer
 Confidential Customer Coin Transferee #14181   [Address on File]    5/31/2023 Bitcoin                              0.00149778 Customer Transfer
 Confidential Customer Coin Transferee #14181   [Address on File]    6/20/2023 Bitcoin                               0.0003705 Customer Transfer
 Confidential Customer Coin Transferee #14182   [Address on File]    5/17/2023 Bitcoin                              0.01035864 Customer Transfer

 Confidential Customer Coin Transferee #14183   [Address on File]    5/24/2023 Bitcoin                                  0.0054353 Customer Transfer
 Confidential Customer Coin Transferee #14184   [Address on File]    5/20/2023 Bitcoin                                 0.01813821 Customer Transfer
 Confidential Customer Coin Transferee #14185   [Address on File]    5/23/2023 Bitcoin                                 0.00530993 Customer Transfer
 Confidential Customer Coin Transferee #14186   [Address on File]     6/6/2023 Bitcoin                                 0.00006228 Customer Transfer
 Confidential Customer Coin Transferee #14187   [Address on File]     6/2/2023 Bitcoin                                 0.00583347 Customer Transfer
 Confidential Customer Coin Transferee #14187   [Address on File]    5/16/2023 Bitcoin                                 0.00192592 Customer Transfer
 Confidential Customer Coin Transferee #14188   [Address on File]    6/20/2023 Bitcoin                                 0.00289697 Customer Transfer
 Confidential Customer Coin Transferee #14189   [Address on File]    5/19/2023 Bitcoin                                 0.01076663 Customer Transfer

 Confidential Customer Coin Transferee #14190   [Address on File]     6/9/2023 Bitcoin                                 0.01149643 Customer Transfer
 Confidential Customer Coin Transferee #14191   [Address on File]    6/20/2023 Bitcoin                                 0.00021684 Customer Transfer
 Confidential Customer Coin Transferee #14192   [Address on File]    6/20/2023 Bitcoin                                 0.00005956 Customer Transfer
 Confidential Customer Coin Transferee #14193   [Address on File]    6/19/2023 Bitcoin                                 0.00106124 Customer Transfer
 Confidential Customer Coin Transferee #14194   [Address on File]    5/19/2023 Bitcoin                                 0.05002408 Customer Transfer
 Confidential Customer Coin Transferee #14195   [Address on File]    5/20/2023 Bitcoin                                 0.21913657 Customer Transfer
 Confidential Customer Coin Transferee #14196   [Address on File]    5/28/2023 Bitcoin                                  0.0105516 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14197   [Address on File]    5/19/2023 Bitcoin                              0.01034333 Customer Transfer
 Confidential Customer Coin Transferee #14198   [Address on File]    5/16/2023 Bitcoin                              0.02335944 Customer Transfer
 Confidential Customer Coin Transferee #14199   [Address on File]    6/19/2023 Bitcoin                              0.00006001 Customer Transfer
 Confidential Customer Coin Transferee #14200   [Address on File]    5/18/2023 Bitcoin                              0.05303017 Customer Transfer
 Confidential Customer Coin Transferee #14201   [Address on File]    6/20/2023 Bitcoin                               0.0244893 Customer Transfer
 Confidential Customer Coin Transferee #14202   [Address on File]    6/12/2023 Bitcoin                              0.00936801 Customer Transfer
 Confidential Customer Coin Transferee #14202   [Address on File]     6/6/2023 Bitcoin                              0.00387734 Customer Transfer
 Confidential Customer Coin Transferee #14202   [Address on File]     6/7/2023 Bitcoin                              0.00373768 Customer Transfer
 Confidential Customer Coin Transferee #14203   [Address on File]    5/23/2023 Bitcoin                              0.00189747 Customer Transfer
 Confidential Customer Coin Transferee #14204   [Address on File]    6/19/2023 Bitcoin                              0.00911276 Customer Transfer
 Confidential Customer Coin Transferee #14205   [Address on File]    5/19/2023 Bitcoin                              0.00358965 Customer Transfer
 Confidential Customer Coin Transferee #14206   [Address on File]    5/19/2023 Bitcoin                              0.02005368 Customer Transfer

 Confidential Customer Coin Transferee #14207   [Address on File]    5/29/2023 Bitcoin                                 0.06414014 Customer Transfer
 Confidential Customer Coin Transferee #14208   [Address on File]    5/22/2023 Bitcoin                                 0.01348775 Customer Transfer
 Confidential Customer Coin Transferee #14208   [Address on File]    5/29/2023 Bitcoin                                 0.01338188 Customer Transfer
 Confidential Customer Coin Transferee #14209   [Address on File]    6/20/2023 Bitcoin                                 0.00057876 Customer Transfer
 Confidential Customer Coin Transferee #14210   [Address on File]    5/16/2023 Bitcoin                                 0.17247168 Customer Transfer
 Confidential Customer Coin Transferee #14210   [Address on File]    5/18/2023 Bitcoin                                 0.08230514 Customer Transfer
 Confidential Customer Coin Transferee #14210   [Address on File]    5/18/2023 Bitcoin                                 0.04194621 Customer Transfer
 Confidential Customer Coin Transferee #14211   [Address on File]    6/20/2023 Bitcoin                                 0.00003535 Customer Transfer
 Confidential Customer Coin Transferee #14212   [Address on File]    6/19/2023 Bitcoin                                 0.00044749 Customer Transfer
 Confidential Customer Coin Transferee #14213   [Address on File]    5/18/2023 Bitcoin                                 0.01051695 Customer Transfer
 Confidential Customer Coin Transferee #14214   [Address on File]    5/22/2023 Bitcoin                                 0.08145946 Customer Transfer
 Confidential Customer Coin Transferee #14215   [Address on File]    6/19/2023 Bitcoin                                 0.00904472 Customer Transfer
 Confidential Customer Coin Transferee #14216   [Address on File]    5/20/2023 Bitcoin                                 0.10659599 Customer Transfer
 Confidential Customer Coin Transferee #14217   [Address on File]    5/22/2023 Bitcoin                                 0.03309294 Customer Transfer
 Confidential Customer Coin Transferee #14218   [Address on File]    5/18/2023 Bitcoin                                 0.01049324 Customer Transfer
 Confidential Customer Coin Transferee #14218   [Address on File]    5/31/2023 Bitcoin                                 0.00372774 Customer Transfer
 Confidential Customer Coin Transferee #14219   [Address on File]    5/24/2023 Bitcoin                                 0.00528689 Customer Transfer
 Confidential Customer Coin Transferee #14220   [Address on File]     6/8/2023 Bitcoin                                 0.00369368 Customer Transfer
 Confidential Customer Coin Transferee #14220   [Address on File]    6/17/2023 Bitcoin                                 0.00038758 Customer Transfer
 Confidential Customer Coin Transferee #14221   [Address on File]    6/20/2023 Bitcoin                                 0.01615079 Customer Transfer
 Confidential Customer Coin Transferee #14222   [Address on File]    6/19/2023 Bitcoin                                 0.01750933 Customer Transfer
 Confidential Customer Coin Transferee #14223   [Address on File]    5/17/2023 Bitcoin                                 0.03598067 Customer Transfer
 Confidential Customer Coin Transferee #14224   [Address on File]     6/8/2023 Bitcoin                                 0.00145602 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14225   [Address on File]    6/20/2023 Bitcoin                              0.00005814 Customer Transfer
 Confidential Customer Coin Transferee #14226   [Address on File]    5/25/2023 Bitcoin                              0.01072843 Customer Transfer
 Confidential Customer Coin Transferee #14227   [Address on File]     6/6/2023 USDC Avalanche)                      796.451419 Customer Transfer
 Confidential Customer Coin Transferee #14227   [Address on File]     6/6/2023 USDC Avalanche)                      621.701319 Customer Transfer
 Confidential Customer Coin Transferee #14228   [Address on File]    6/19/2023 Bitcoin                              0.00428967 Customer Transfer
 Confidential Customer Coin Transferee #14229   [Address on File]    5/21/2023 Bitcoin                              0.05639659 Customer Transfer
 Confidential Customer Coin Transferee #14230   [Address on File]    5/16/2023 Bitcoin                              0.00087677 Customer Transfer
 Confidential Customer Coin Transferee #14231   [Address on File]    5/28/2023 Bitcoin                              0.01133213 Customer Transfer
 Confidential Customer Coin Transferee #14232   [Address on File]    6/19/2023 Bitcoin                              0.00004297 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    6/12/2023 USDC Avalanche)                      796.322206 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    6/15/2023 USDC Avalanche)                      350.309876 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    6/10/2023 USDC Avalanche)                      347.137576 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    6/11/2023 USDC Avalanche)                      347.111155 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    6/15/2023 USDC Avalanche)                      197.481511 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    5/23/2023 USDC Avalanche)                      197.251374 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    5/25/2023 USDC Avalanche)                       197.21223 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    5/16/2023 USDC Avalanche)                      162.341297 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    5/26/2023 USDC Avalanche)                      132.360582 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]     6/9/2023 USDC Avalanche)                      117.379572 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]     6/9/2023 USDC Avalanche)                      112.392564 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]     6/9/2023 USDC Avalanche)                      107.395562 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    5/16/2023 USDC Avalanche)                       97.420773 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    5/27/2023 USD Coin                              96.832217 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    5/26/2023 USDC Avalanche)                       67.452783 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    5/26/2023 Avalanche CChain)                     34.532324 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    6/11/2023 Avalanche CChain)                     29.724527 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    5/23/2023 Avalanche CChain)                     20.149001 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    6/10/2023 Avalanche CChain)                     17.502214 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    6/15/2023 Ether                                   0.149117 Customer Transfer
 Confidential Customer Coin Transferee #14233   [Address on File]    5/29/2023 Ether                                   0.050654 Customer Transfer
 Confidential Customer Coin Transferee #14234   [Address on File]    6/20/2023 Bitcoin                              0.02581266 Customer Transfer
 Confidential Customer Coin Transferee #14235   [Address on File]    6/19/2023 Bitcoin                              0.00343539 Customer Transfer
 Confidential Customer Coin Transferee #14236   [Address on File]    5/16/2023 Bitcoin                               0.0104114 Customer Transfer
 Confidential Customer Coin Transferee #14236   [Address on File]    5/23/2023 Bitcoin                              0.01016326 Customer Transfer
 Confidential Customer Coin Transferee #14237   [Address on File]    5/22/2023 Bitcoin                              0.07592294 Customer Transfer
 Confidential Customer Coin Transferee #14238   [Address on File]    6/13/2023 Bitcoin                               0.0208114 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14239   [Address on File]    6/14/2023 Bitcoin                              0.00152605 Customer Transfer
 Confidential Customer Coin Transferee #14240   [Address on File]    6/19/2023 Bitcoin                              0.00063999 Customer Transfer
 Confidential Customer Coin Transferee #14241   [Address on File]    5/22/2023 Bitcoin                              0.01057735 Customer Transfer
 Confidential Customer Coin Transferee #14242   [Address on File]    5/25/2023 Bitcoin                              0.01106865 Customer Transfer
 Confidential Customer Coin Transferee #14242   [Address on File]    5/20/2023 Bitcoin                              0.00359365 Customer Transfer
 Confidential Customer Coin Transferee #14242   [Address on File]    5/17/2023 Bitcoin                              0.00338427 Customer Transfer
 Confidential Customer Coin Transferee #14242   [Address on File]    5/16/2023 Bitcoin                              0.00337815 Customer Transfer
 Confidential Customer Coin Transferee #14243   [Address on File]    5/29/2023 Bitcoin                              0.00757861 Customer Transfer
 Confidential Customer Coin Transferee #14244   [Address on File]    6/20/2023 Bitcoin                              0.00017767 Customer Transfer
 Confidential Customer Coin Transferee #14245   [Address on File]    5/19/2023 Bitcoin                              0.00994366 Customer Transfer
 Confidential Customer Coin Transferee #14246   [Address on File]     6/7/2023 Bitcoin                              0.00181077 Customer Transfer
 Confidential Customer Coin Transferee #14247   [Address on File]    6/19/2023 Bitcoin                              0.00369891 Customer Transfer
 Confidential Customer Coin Transferee #14248   [Address on File]    6/20/2023 Bitcoin                              0.00036358 Customer Transfer
 Confidential Customer Coin Transferee #14249   [Address on File]     6/2/2023 USDC Avalanche)                      995.962422 Customer Transfer
 Confidential Customer Coin Transferee #14250   [Address on File]    5/20/2023 Bitcoin                              0.00244515 Customer Transfer
 Confidential Customer Coin Transferee #14251   [Address on File]    6/20/2023 Bitcoin                               0.0000605 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    5/30/2023 Bitcoin                              0.00282902 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]     6/5/2023 Bitcoin                               0.0026728 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    6/13/2023 Bitcoin                              0.00148536 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    5/29/2023 Bitcoin                              0.00120254 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    6/12/2023 Bitcoin                              0.00117648 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]     6/6/2023 Bitcoin                              0.00114158 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    6/15/2023 Bitcoin                              0.00107377 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    5/31/2023 Bitcoin                              0.00105714 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    5/23/2023 Bitcoin                              0.00104515 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]     6/7/2023 Bitcoin                              0.00103255 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]     6/1/2023 Bitcoin                              0.00103122 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]     6/7/2023 Bitcoin                               0.0010274 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    5/22/2023 Bitcoin                              0.00101839 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    5/18/2023 Bitcoin                              0.00101729 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    5/24/2023 Bitcoin                              0.00101418 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    6/14/2023 Bitcoin                              0.00101362 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    5/25/2023 Bitcoin                              0.00100536 Customer Transfer
 Confidential Customer Coin Transferee #14252   [Address on File]    6/17/2023 Bitcoin                              0.00100496 Customer Transfer
 Confidential Customer Coin Transferee #14253   [Address on File]    5/21/2023 Bitcoin                              0.00205488 Customer Transfer
 Confidential Customer Coin Transferee #14253   [Address on File]    5/19/2023 Bitcoin                              0.00069182 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14253   [Address on File]    5/19/2023 Bitcoin                              0.00068935 Customer Transfer
 Confidential Customer Coin Transferee #14254   [Address on File]    5/21/2023 Bitcoin                              0.00487514 Customer Transfer
 Confidential Customer Coin Transferee #14255   [Address on File]    5/22/2023 Bitcoin                               0.0050435 Customer Transfer
 Confidential Customer Coin Transferee #14255   [Address on File]    5/31/2023 Bitcoin                              0.00377835 Customer Transfer
 Confidential Customer Coin Transferee #14255   [Address on File]    6/20/2023 Bitcoin                              0.00109067 Customer Transfer
 Confidential Customer Coin Transferee #14256   [Address on File]    6/20/2023 Bitcoin                              0.00291123 Customer Transfer
 Confidential Customer Coin Transferee #14257   [Address on File]    5/23/2023 Bitcoin                              0.02764748 Customer Transfer
 Confidential Customer Coin Transferee #14258   [Address on File]    6/20/2023 Bitcoin                              0.00028097 Customer Transfer
 Confidential Customer Coin Transferee #14259   [Address on File]    6/19/2023 Bitcoin                              0.00008006 Customer Transfer
 Confidential Customer Coin Transferee #14260   [Address on File]    6/20/2023 Bitcoin                               0.0011602 Customer Transfer
 Confidential Customer Coin Transferee #14261   [Address on File]    6/20/2023 Bitcoin                              0.00115687 Customer Transfer
 Confidential Customer Coin Transferee #14262   [Address on File]    6/19/2023 Bitcoin                              0.00165805 Customer Transfer
 Confidential Customer Coin Transferee #14263   [Address on File]    6/19/2023 Bitcoin                              0.00005931 Customer Transfer
 Confidential Customer Coin Transferee #14264   [Address on File]    5/25/2023 Bitcoin                              0.01053409 Customer Transfer
 Confidential Customer Coin Transferee #14265   [Address on File]    6/20/2023 Bitcoin                               0.0005794 Customer Transfer
 Confidential Customer Coin Transferee #14266   [Address on File]    6/20/2023 Bitcoin                              0.00007948 Customer Transfer
 Confidential Customer Coin Transferee #14267   [Address on File]    5/27/2023 Bitcoin                              0.03411275 Customer Transfer

 Confidential Customer Coin Transferee #14268   [Address on File]     6/7/2023 Tether USD                                 300000 Customer Transfer

 Confidential Customer Coin Transferee #14268   [Address on File]    6/15/2023 Tether USD                                    7250 Customer Transfer
 Confidential Customer Coin Transferee #14269   [Address on File]    5/26/2023 Bitcoin                                  0.0018795 Customer Transfer
 Confidential Customer Coin Transferee #14269   [Address on File]    5/28/2023 Bitcoin                                 0.00128431 Customer Transfer
 Confidential Customer Coin Transferee #14269   [Address on File]    5/28/2023 Bitcoin                                  0.0010997 Customer Transfer
 Confidential Customer Coin Transferee #14269   [Address on File]    5/29/2023 Bitcoin                                 0.00107888 Customer Transfer
 Confidential Customer Coin Transferee #14270   [Address on File]    5/25/2023 Bitcoin                                 0.27180702 Customer Transfer
 Confidential Customer Coin Transferee #14270   [Address on File]    5/19/2023 Bitcoin                                 0.16764535 Customer Transfer
 Confidential Customer Coin Transferee #14271   [Address on File]    5/20/2023 Bitcoin                                 0.08712895 Customer Transfer
 Confidential Customer Coin Transferee #14271   [Address on File]    5/17/2023 Bitcoin                                 0.08558912 Customer Transfer

 Confidential Customer Coin Transferee #14272   [Address on File]    6/19/2023 Bitcoin                                 0.00004563 Customer Transfer
 Confidential Customer Coin Transferee #14273   [Address on File]    5/19/2023 Bitcoin                                 0.01521183 Customer Transfer
 Confidential Customer Coin Transferee #14274   [Address on File]    5/17/2023 Bitcoin                                 0.03702166 Customer Transfer
 Confidential Customer Coin Transferee #14274   [Address on File]    5/24/2023 Bitcoin                                 0.03659654 Customer Transfer
 Confidential Customer Coin Transferee #14274   [Address on File]    5/31/2023 Bitcoin                                 0.03595411 Customer Transfer
 Confidential Customer Coin Transferee #14275   [Address on File]    5/17/2023 Bitcoin                                 0.00072596 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14275   [Address on File]    5/17/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #14276   [Address on File]    5/25/2023 Bitcoin                               0.0141488 Customer Transfer
 Confidential Customer Coin Transferee #14276   [Address on File]    5/26/2023 Bitcoin                              0.01318292 Customer Transfer
 Confidential Customer Coin Transferee #14276   [Address on File]    5/27/2023 Bitcoin                              0.00743211 Customer Transfer
 Confidential Customer Coin Transferee #14276   [Address on File]    5/25/2023 Bitcoin                              0.00076608 Customer Transfer
 Confidential Customer Coin Transferee #14277   [Address on File]    5/27/2023 Bitcoin                              0.00371278 Customer Transfer
 Confidential Customer Coin Transferee #14278   [Address on File]    5/26/2023 Bitcoin                               0.3439406 Customer Transfer
 Confidential Customer Coin Transferee #14278   [Address on File]    5/20/2023 Bitcoin                              0.03551805 Customer Transfer
 Confidential Customer Coin Transferee #14278   [Address on File]    5/22/2023 Bitcoin                              0.00090549 Customer Transfer
 Confidential Customer Coin Transferee #14278   [Address on File]    5/19/2023 Bitcoin                              0.00085867 Customer Transfer
 Confidential Customer Coin Transferee #14279   [Address on File]    6/19/2023 Bitcoin                              0.00005806 Customer Transfer
 Confidential Customer Coin Transferee #14280   [Address on File]     6/9/2023 Bitcoin                              0.00263484 Customer Transfer
 Confidential Customer Coin Transferee #14281   [Address on File]    5/18/2023 Bitcoin                              0.04179029 Customer Transfer
 Confidential Customer Coin Transferee #14281   [Address on File]    5/22/2023 Bitcoin                              0.01055415 Customer Transfer
 Confidential Customer Coin Transferee #14282   [Address on File]    6/10/2023 CFV                                       501.66 Customer Transfer
 Confidential Customer Coin Transferee #14282   [Address on File]    6/10/2023 Recover Value USD                       263.4202 Customer Transfer
 Confidential Customer Coin Transferee #14282   [Address on File]    6/10/2023 USD Coin                                       1 Customer Transfer
 Confidential Customer Coin Transferee #14283   [Address on File]    6/19/2023 Bitcoin                              0.00200701 Customer Transfer
 Confidential Customer Coin Transferee #14284   [Address on File]    5/19/2023 Bitcoin                              0.01051246 Customer Transfer
 Confidential Customer Coin Transferee #14285   [Address on File]    5/25/2023 Bitcoin                              0.00718122 Customer Transfer
 Confidential Customer Coin Transferee #14285   [Address on File]     6/2/2023 Bitcoin                              0.00403045 Customer Transfer
 Confidential Customer Coin Transferee #14285   [Address on File]     6/9/2023 Bitcoin                              0.00096255 Customer Transfer
 Confidential Customer Coin Transferee #14285   [Address on File]    5/16/2023 Bitcoin                              0.00073209 Customer Transfer
 Confidential Customer Coin Transferee #14286   [Address on File]    6/20/2023 Bitcoin                              0.00069019 Customer Transfer
 Confidential Customer Coin Transferee #14287   [Address on File]    6/20/2023 Bitcoin                              0.00004275 Customer Transfer
 Confidential Customer Coin Transferee #14288   [Address on File]    5/20/2023 Bitcoin                              0.17175131 Customer Transfer
 Confidential Customer Coin Transferee #14289   [Address on File]    6/21/2023 CFV                                      7228.25 Customer Transfer
 Confidential Customer Coin Transferee #14289   [Address on File]    6/21/2023 Recover Value USD                     3795.5564 Customer Transfer
 Confidential Customer Coin Transferee #14289   [Address on File]    6/21/2023 USD Coin                            478.5104005 Customer Transfer
 Confidential Customer Coin Transferee #14290   [Address on File]    5/22/2023 Bitcoin                              0.01002829 Customer Transfer
 Confidential Customer Coin Transferee #14291   [Address on File]    6/20/2023 Bitcoin                              0.01475016 Customer Transfer
 Confidential Customer Coin Transferee #14292   [Address on File]    5/17/2023 Bitcoin                                  0.00178 Customer Transfer
 Confidential Customer Coin Transferee #14293   [Address on File]    6/19/2023 Bitcoin                              0.04601075 Customer Transfer
 Confidential Customer Coin Transferee #14294   [Address on File]    6/18/2023 Bitcoin                              0.00528816 Customer Transfer
 Confidential Customer Coin Transferee #14295   [Address on File]    5/21/2023 Bitcoin                              0.01056772 Customer Transfer
 Confidential Customer Coin Transferee #14296   [Address on File]    6/20/2023 Bitcoin                              0.00005933 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #14297   [Address on File]    5/21/2023 Bitcoin                                      0.09 Customer Transfer
 Confidential Customer Coin Transferee #14297   [Address on File]    5/21/2023 Bitcoin                              0.08137951 Customer Transfer
 Confidential Customer Coin Transferee #14298   [Address on File]    6/20/2023 Bitcoin                              0.00102242 Customer Transfer
 Confidential Customer Coin Transferee #14299   [Address on File]    5/24/2023 Bitcoin                               0.0015114 Customer Transfer
 Confidential Customer Coin Transferee #14299   [Address on File]    5/19/2023 Bitcoin                              0.00148177 Customer Transfer
 Confidential Customer Coin Transferee #14299   [Address on File]    5/26/2023 Bitcoin                              0.00131461 Customer Transfer
 Confidential Customer Coin Transferee #14299   [Address on File]    5/22/2023 Bitcoin                              0.00112055 Customer Transfer
 Confidential Customer Coin Transferee #14299   [Address on File]    5/21/2023 Bitcoin                              0.00102723 Customer Transfer
 Confidential Customer Coin Transferee #14299   [Address on File]    5/19/2023 Bitcoin                              0.00092375 Customer Transfer
 Confidential Customer Coin Transferee #14299   [Address on File]    5/23/2023 Bitcoin                               0.0009086 Customer Transfer
 Confidential Customer Coin Transferee #14300   [Address on File]    5/27/2023 USD Coin                            1254.312843 Customer Transfer
 Confidential Customer Coin Transferee #14300   [Address on File]     6/8/2023 USD Coin                            1006.587365 Customer Transfer
 Confidential Customer Coin Transferee #14300   [Address on File]    5/20/2023 USD Coin                              967.52299 Customer Transfer
 Confidential Customer Coin Transferee #14300   [Address on File]    6/10/2023 USD Coin                             101.039376 Customer Transfer
 Confidential Customer Coin Transferee #14300   [Address on File]    5/17/2023 Ether                                   0.264308 Customer Transfer
 Confidential Customer Coin Transferee #14300   [Address on File]    6/19/2023 Ether                                    0.26281 Customer Transfer
 Confidential Customer Coin Transferee #14301   [Address on File]    5/18/2023 Bitcoin                              0.07101115 Customer Transfer
 Confidential Customer Coin Transferee #14302   [Address on File]    5/27/2023 Bitcoin                              0.03960157 Customer Transfer
 Confidential Customer Coin Transferee #14302   [Address on File]    5/20/2023 Bitcoin                              0.02321348 Customer Transfer
 Confidential Customer Coin Transferee #14303   [Address on File]    5/18/2023 Bitcoin                              0.01188943 Customer Transfer
 Confidential Customer Coin Transferee #14304   [Address on File]    5/26/2023 Bitcoin                              0.00588886 Customer Transfer
 Confidential Customer Coin Transferee #14305   [Address on File]    5/25/2023 Bitcoin                                      0.04 Customer Transfer
 Confidential Customer Coin Transferee #14305   [Address on File]    5/24/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #14306   [Address on File]    6/21/2023 Bitcoin                              0.00078201 Customer Transfer
 Confidential Customer Coin Transferee #14307   [Address on File]    6/16/2023 Bitcoin                              0.00420793 Customer Transfer
 Confidential Customer Coin Transferee #14307   [Address on File]    5/22/2023 Bitcoin                              0.00396808 Customer Transfer
 Confidential Customer Coin Transferee #14307   [Address on File]     6/6/2023 Bitcoin                              0.00388723 Customer Transfer
 Confidential Customer Coin Transferee #14307   [Address on File]    5/30/2023 Bitcoin                              0.00361513 Customer Transfer
 Confidential Customer Coin Transferee #14307   [Address on File]    6/20/2023 Bitcoin                              0.00135756 Customer Transfer
 Confidential Customer Coin Transferee #14308   [Address on File]    6/20/2023 Bitcoin                              0.00035974 Customer Transfer
 Confidential Customer Coin Transferee #14309   [Address on File]    5/17/2023 Bitcoin                                      0.11 Customer Transfer
 Confidential Customer Coin Transferee #14310   [Address on File]    5/18/2023 Bitcoin                              0.02181919 Customer Transfer
 Confidential Customer Coin Transferee #14311   [Address on File]    5/19/2023 Bitcoin                              0.00370338 Customer Transfer
 Confidential Customer Coin Transferee #14312   [Address on File]    5/27/2023 Bitcoin                                    0.111 Customer Transfer
 Confidential Customer Coin Transferee #14312   [Address on File]    5/25/2023 Bitcoin                                      0.11 Customer Transfer
 Confidential Customer Coin Transferee #14312   [Address on File]    5/16/2023 Bitcoin                                    0.109 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #14312   [Address on File]    5/19/2023 Bitcoin                                     0.109 Customer Transfer
 Confidential Customer Coin Transferee #14312   [Address on File]    5/29/2023 Bitcoin                                     0.107 Customer Transfer
 Confidential Customer Coin Transferee #14312   [Address on File]    5/30/2023 Bitcoin                                     0.037 Customer Transfer
 Confidential Customer Coin Transferee #14313   [Address on File]    6/20/2023 Bitcoin                              0.00022151 Customer Transfer
 Confidential Customer Coin Transferee #14314   [Address on File]    6/20/2023 Bitcoin                              0.00436799 Customer Transfer
 Confidential Customer Coin Transferee #14315   [Address on File]    6/20/2023 Bitcoin                              0.00291092 Customer Transfer
 Confidential Customer Coin Transferee #14316   [Address on File]    6/19/2023 Bitcoin                              0.00201134 Customer Transfer
 Confidential Customer Coin Transferee #14317   [Address on File]    5/22/2023 Bitcoin                              0.01063675 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/31/2023 Bitcoin                              0.00494442 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/19/2023 Bitcoin                              0.00381531 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/16/2023 Bitcoin                               0.0037303 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/18/2023 Bitcoin                              0.00366411 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/18/2023 Bitcoin                              0.00355415 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/19/2023 Bitcoin                              0.00345141 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/16/2023 Bitcoin                              0.00183951 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/16/2023 Bitcoin                              0.00176642 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/27/2023 Bitcoin                              0.00139572 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/16/2023 Bitcoin                              0.00090004 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/25/2023 Bitcoin                              0.00079407 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/27/2023 Bitcoin                              0.00074425 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/21/2023 Bitcoin                              0.00073192 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/27/2023 Bitcoin                               0.0007274 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/25/2023 Bitcoin                              0.00072295 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/26/2023 Bitcoin                              0.00072199 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/29/2023 Bitcoin                                  0.00072 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/21/2023 Bitcoin                              0.00071346 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/26/2023 Bitcoin                              0.00071206 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/31/2023 Bitcoin                              0.00065988 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/28/2023 Bitcoin                              0.00064174 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/25/2023 Bitcoin                              0.00057339 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/25/2023 Bitcoin                              0.00036136 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/28/2023 Bitcoin                              0.00034532 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/31/2023 Bitcoin                               0.0003431 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/29/2023 Bitcoin                              0.00033818 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/25/2023 Bitcoin                               0.0002231 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/29/2023 Bitcoin                              0.00019617 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/21/2023 Bitcoin                               0.0001834 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/21/2023 Bitcoin                              0.00018298 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/21/2023 Bitcoin                              0.00014623 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/29/2023 Bitcoin                               0.0001314 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/16/2023 Bitcoin                                 0.000129 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/20/2023 Bitcoin                              0.00009777 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/31/2023 Bitcoin                              0.00007321 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/28/2023 Bitcoin                              0.00005295 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/26/2023 Bitcoin                              0.00003762 Customer Transfer
 Confidential Customer Coin Transferee #14318   [Address on File]    5/28/2023 Bitcoin                              0.00002384 Customer Transfer
 Confidential Customer Coin Transferee #14319   [Address on File]    5/27/2023 Bitcoin                              0.01592283 Customer Transfer
 Confidential Customer Coin Transferee #14320   [Address on File]    5/31/2023 Bitcoin                              0.26259921 Customer Transfer
 Confidential Customer Coin Transferee #14320   [Address on File]    5/23/2023 Bitcoin                              0.00186234 Customer Transfer
 Confidential Customer Coin Transferee #14321   [Address on File]    5/26/2023 Bitcoin                              0.00756538 Customer Transfer
 Confidential Customer Coin Transferee #14321   [Address on File]    5/22/2023 Bitcoin                              0.00110735 Customer Transfer
 Confidential Customer Coin Transferee #14322   [Address on File]    5/16/2023 Bitcoin                                 0.017213 Customer Transfer
 Confidential Customer Coin Transferee #14323   [Address on File]    6/20/2023 Bitcoin                               0.0030033 Customer Transfer
 Confidential Customer Coin Transferee #14324   [Address on File]    5/25/2023 Bitcoin                              0.00380218 Customer Transfer
 Confidential Customer Coin Transferee #14324   [Address on File]    5/17/2023 Bitcoin                              0.00360577 Customer Transfer
 Confidential Customer Coin Transferee #14325   [Address on File]    5/17/2023 Bitcoin                              0.96947448 Customer Transfer
 Confidential Customer Coin Transferee #14325   [Address on File]    5/22/2023 Bitcoin                              0.03040787 Customer Transfer
 Confidential Customer Coin Transferee #14325   [Address on File]    5/17/2023 Bitcoin                              0.00004618 Customer Transfer
 Confidential Customer Coin Transferee #14326   [Address on File]    5/26/2023 Bitcoin                              0.64470771 Customer Transfer
 Confidential Customer Coin Transferee #14327   [Address on File]    5/23/2023 Bitcoin                               70.563661 Customer Transfer
 Confidential Customer Coin Transferee #14327   [Address on File]    5/23/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #14328   [Address on File]    5/23/2023 Tether USD                              4999995 Customer Transfer
 Confidential Customer Coin Transferee #14328   [Address on File]    5/23/2023 Tether USD                                   1.25 Customer Transfer
 Confidential Customer Coin Transferee #14328   [Address on File]    5/23/2023 Tether USD                                      1 Customer Transfer
 Confidential Customer Coin Transferee #14329   [Address on File]    5/27/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #14330   [Address on File]    6/20/2023 Bitcoin                              0.01643131 Customer Transfer
 Confidential Customer Coin Transferee #14331   [Address on File]    6/20/2023 Bitcoin                              0.00004484 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/16/2023 Bitcoin                                     0.004 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/18/2023 Bitcoin                              0.00364179 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/16/2023 Bitcoin                              0.00284635 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/19/2023 Bitcoin                              0.00221988 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/23/2023 Bitcoin                              0.00208319 Customer Transfer


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                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/18/2023 Bitcoin                              0.00167299 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/18/2023 Bitcoin                                    0.0015 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/16/2023 Bitcoin                              0.00136598 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/29/2023 Bitcoin                              0.00121771 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/18/2023 Bitcoin                                    0.0012 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/21/2023 Bitcoin                                    0.0012 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/19/2023 Bitcoin                                  0.00118 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/16/2023 Bitcoin                                  0.00114 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/29/2023 Bitcoin                               0.0011218 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/21/2023 Bitcoin                              0.00110213 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/19/2023 Bitcoin                              0.00103909 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/21/2023 Bitcoin                              0.00102976 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/16/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/18/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/18/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/21/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/26/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/28/2023 Bitcoin                              0.00098555 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/28/2023 Bitcoin                              0.00092585 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/16/2023 Bitcoin                                    0.0009 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/21/2023 Bitcoin                                  0.00088 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/29/2023 Bitcoin                              0.00086806 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/21/2023 Bitcoin                              0.00086787 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/29/2023 Bitcoin                              0.00084878 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/31/2023 Bitcoin                              0.00081536 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/18/2023 Bitcoin                                    0.0008 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/18/2023 Bitcoin                                    0.0008 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/31/2023 Bitcoin                                    0.0008 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/31/2023 Bitcoin                                    0.0008 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/31/2023 Bitcoin                                 0.000777 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/31/2023 Bitcoin                              0.00076772 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/26/2023 Bitcoin                                  0.00076 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/31/2023 Bitcoin                                 0.000758 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/29/2023 Bitcoin                                  0.00075 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/31/2023 Bitcoin                                  0.00075 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/21/2023 Bitcoin                                    0.0007 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/21/2023 Bitcoin                                 0.000666 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/26/2023 Bitcoin                              0.00063081 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/31/2023 Bitcoin                                    0.0006 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/31/2023 Bitcoin                              0.00050333 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/20/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/31/2023 Bitcoin                                 0.000444 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/29/2023 Bitcoin                                 0.000394 Customer Transfer
 Confidential Customer Coin Transferee #14332   [Address on File]    5/18/2023 Bitcoin                              0.00035476 Customer Transfer
 Confidential Customer Coin Transferee #14333   [Address on File]    6/20/2023 Bitcoin                              0.00005824 Customer Transfer
 Confidential Customer Coin Transferee #14334   [Address on File]    5/22/2023 Bitcoin                              0.00540316 Customer Transfer
 Confidential Customer Coin Transferee #14334   [Address on File]    6/13/2023 Bitcoin                              0.00381034 Customer Transfer
 Confidential Customer Coin Transferee #14334   [Address on File]    6/18/2023 Bitcoin                              0.00196355 Customer Transfer
 Confidential Customer Coin Transferee #14335   [Address on File]    5/27/2023 Bitcoin                                     0.224 Customer Transfer
 Confidential Customer Coin Transferee #14335   [Address on File]    5/16/2023 Bitcoin                                 0.015379 Customer Transfer
 Confidential Customer Coin Transferee #14336   [Address on File]    6/16/2023 Bitcoin                              0.00092998 Customer Transfer
 Confidential Customer Coin Transferee #14337   [Address on File]    5/24/2023 Bitcoin                              0.00379042 Customer Transfer
 Confidential Customer Coin Transferee #14337   [Address on File]    5/21/2023 Bitcoin                              0.00367478 Customer Transfer
 Confidential Customer Coin Transferee #14337   [Address on File]    5/31/2023 Bitcoin                              0.00365988 Customer Transfer
 Confidential Customer Coin Transferee #14337   [Address on File]    5/18/2023 Bitcoin                              0.00364838 Customer Transfer
 Confidential Customer Coin Transferee #14338   [Address on File]    6/13/2023 Bitcoin                              0.00379155 Customer Transfer
 Confidential Customer Coin Transferee #14338   [Address on File]     6/1/2023 Bitcoin                              0.00368406 Customer Transfer
 Confidential Customer Coin Transferee #14339   [Address on File]    5/21/2023 Bitcoin                                    0.0514 Customer Transfer
 Confidential Customer Coin Transferee #14340   [Address on File]    6/20/2023 Bitcoin                              0.01274464 Customer Transfer
 Confidential Customer Coin Transferee #14341   [Address on File]     6/1/2023 Bitcoin                                 8.00E-08 Customer Transfer
 Confidential Customer Coin Transferee #14342   [Address on File]    5/19/2023 Bitcoin                              0.03778996 Customer Transfer
 Confidential Customer Coin Transferee #14343   [Address on File]    5/22/2023 Bitcoin                              0.00110517 Customer Transfer
 Confidential Customer Coin Transferee #14344   [Address on File]    6/19/2023 Bitcoin                               0.0012065 Customer Transfer
 Confidential Customer Coin Transferee #14345   [Address on File]    5/18/2023 Bitcoin                              0.00145338 Customer Transfer
 Confidential Customer Coin Transferee #14345   [Address on File]    5/31/2023 Bitcoin                              0.00143104 Customer Transfer
 Confidential Customer Coin Transferee #14345   [Address on File]    5/17/2023 Bitcoin                              0.00137507 Customer Transfer
 Confidential Customer Coin Transferee #14345   [Address on File]    5/16/2023 Bitcoin                              0.00128903 Customer Transfer
 Confidential Customer Coin Transferee #14345   [Address on File]    5/17/2023 Bitcoin                              0.00126917 Customer Transfer
 Confidential Customer Coin Transferee #14345   [Address on File]    5/16/2023 Bitcoin                              0.00110562 Customer Transfer
 Confidential Customer Coin Transferee #14346   [Address on File]    5/21/2023 Bitcoin                              0.01223393 Customer Transfer
 Confidential Customer Coin Transferee #14347   [Address on File]    6/19/2023 Bitcoin                              0.03513717 Customer Transfer
 Confidential Customer Coin Transferee #14348   [Address on File]    5/27/2023 Bitcoin                              0.00167552 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14348   [Address on File]    5/22/2023 Bitcoin                              0.00114421 Customer Transfer
 Confidential Customer Coin Transferee #14348   [Address on File]    5/18/2023 Bitcoin                              0.00113239 Customer Transfer
 Confidential Customer Coin Transferee #14348   [Address on File]    5/24/2023 Bitcoin                              0.00097797 Customer Transfer
 Confidential Customer Coin Transferee #14349   [Address on File]    6/20/2023 Bitcoin                              0.00094804 Customer Transfer
 Confidential Customer Coin Transferee #14350   [Address on File]    6/19/2023 Bitcoin                              0.00009561 Customer Transfer
 Confidential Customer Coin Transferee #14351   [Address on File]    5/19/2023 Bitcoin                              0.00018513 Customer Transfer

 Confidential Customer Coin Transferee #14352   [Address on File]    6/19/2023 Bitcoin                                  0.0184552 Customer Transfer
 Confidential Customer Coin Transferee #14353   [Address on File]     6/6/2023 Bitcoin                                 0.03779371 Customer Transfer

 Confidential Customer Coin Transferee #14354   [Address on File]    5/19/2023 Bitcoin                                 0.01796034 Customer Transfer
 Confidential Customer Coin Transferee #14355   [Address on File]    5/22/2023 Bitcoin                                       0.219 Customer Transfer
 Confidential Customer Coin Transferee #14356   [Address on File]    5/24/2023 Bitcoin                                 0.00372478 Customer Transfer
 Confidential Customer Coin Transferee #14356   [Address on File]    5/17/2023 Bitcoin                                 0.00370513 Customer Transfer
 Confidential Customer Coin Transferee #14357   [Address on File]    5/19/2023 Bitcoin                                 0.08380284 Customer Transfer
 Confidential Customer Coin Transferee #14357   [Address on File]    5/21/2023 Bitcoin                                 0.06578421 Customer Transfer
 Confidential Customer Coin Transferee #14357   [Address on File]     6/1/2023 Bitcoin                                      0.0162 Customer Transfer
 Confidential Customer Coin Transferee #14357   [Address on File]    5/30/2023 Bitcoin                                      0.0095 Customer Transfer
 Confidential Customer Coin Transferee #14357   [Address on File]    5/19/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #14357   [Address on File]    5/21/2023 Bitcoin                                      0.0002 Customer Transfer
 Confidential Customer Coin Transferee #14358   [Address on File]    5/21/2023 Bitcoin                                 0.00093195 Customer Transfer
 Confidential Customer Coin Transferee #14358   [Address on File]    5/21/2023 Bitcoin                                 0.00037028 Customer Transfer
 Confidential Customer Coin Transferee #14359   [Address on File]    5/23/2023 Bitcoin                                           4 Customer Transfer
 Confidential Customer Coin Transferee #14359   [Address on File]    5/23/2023 Bitcoin                                           1 Customer Transfer
 Confidential Customer Coin Transferee #14360   [Address on File]    5/27/2023 Bitcoin                                 0.00160139 Customer Transfer
 Confidential Customer Coin Transferee #14360   [Address on File]    6/11/2023 Bitcoin                                 0.00091391 Customer Transfer
 Confidential Customer Coin Transferee #14361   [Address on File]    5/26/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/19/2023 Bitcoin                                 0.00148288 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/25/2023 Bitcoin                                 0.00131481 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/25/2023 Bitcoin                                 0.00113469 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/16/2023 Bitcoin                                 0.00110488 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/29/2023 Bitcoin                                 0.00102691 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/26/2023 Bitcoin                                 0.00092864 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/18/2023 Bitcoin                                  0.0009197 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/23/2023 Bitcoin                                 0.00091032 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/18/2023 Bitcoin                                 0.00090794 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/24/2023 Bitcoin                               0.0008286 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/30/2023 Bitcoin                                 0.000791 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/31/2023 Bitcoin                              0.00078117 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/30/2023 Bitcoin                                  0.00072 Customer Transfer
 Confidential Customer Coin Transferee #14362   [Address on File]    5/31/2023 Bitcoin                               0.0005699 Customer Transfer
 Confidential Customer Coin Transferee #14363   [Address on File]    5/28/2023 Bitcoin                              0.01166304 Customer Transfer
 Confidential Customer Coin Transferee #14364   [Address on File]    6/20/2023 Bitcoin                              0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/27/2023 Bitcoin                              0.02663829 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/16/2023 Bitcoin                              0.01322261 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/21/2023 Bitcoin                              0.01171228 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/27/2023 Bitcoin                              0.01041871 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/19/2023 Bitcoin                              0.00839224 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/16/2023 Bitcoin                               0.0055108 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/22/2023 Bitcoin                              0.00444193 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/17/2023 Bitcoin                               0.0030632 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/19/2023 Bitcoin                              0.00276794 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/24/2023 Bitcoin                              0.00272918 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/19/2023 Bitcoin                              0.00255099 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/30/2023 Bitcoin                              0.00250366 Customer Transfer
 Confidential Customer Coin Transferee #14365   [Address on File]    5/17/2023 Bitcoin                              0.00084312 Customer Transfer
 Confidential Customer Coin Transferee #14366   [Address on File]     6/8/2023 Tether USD                          148831.2862 Customer Transfer
 Confidential Customer Coin Transferee #14366   [Address on File]     6/8/2023 USD Coin                                      10 Customer Transfer
 Confidential Customer Coin Transferee #14366   [Address on File]     6/8/2023 Tether USD                                    10 Customer Transfer
 Confidential Customer Coin Transferee #14366   [Address on File]     6/8/2023 Bitcoin                              0.79624926 Customer Transfer
 Confidential Customer Coin Transferee #14367   [Address on File]     6/8/2023 USD Coin                            21877.92787 Customer Transfer
 Confidential Customer Coin Transferee #14367   [Address on File]     6/8/2023 Ether                               14.60427541 Customer Transfer
 Confidential Customer Coin Transferee #14368   [Address on File]    5/21/2023 Bitcoin                              0.00108281 Customer Transfer
 Confidential Customer Coin Transferee #14368   [Address on File]    5/26/2023 Bitcoin                              0.00036485 Customer Transfer
 Confidential Customer Coin Transferee #14369   [Address on File]    5/26/2023 Bitcoin                              0.00219408 Customer Transfer
 Confidential Customer Coin Transferee #14369   [Address on File]    5/28/2023 Bitcoin                              0.00103531 Customer Transfer
 Confidential Customer Coin Transferee #14369   [Address on File]    5/22/2023 Bitcoin                              0.00071578 Customer Transfer
 Confidential Customer Coin Transferee #14370   [Address on File]    5/24/2023 Bitcoin                               0.0100616 Customer Transfer
 Confidential Customer Coin Transferee #14371   [Address on File]    5/17/2023 Bitcoin                               0.0011184 Customer Transfer
 Confidential Customer Coin Transferee #14371   [Address on File]    5/23/2023 Bitcoin                              0.00109265 Customer Transfer
 Confidential Customer Coin Transferee #14371   [Address on File]    5/26/2023 Bitcoin                              0.00097763 Customer Transfer
 Confidential Customer Coin Transferee #14371   [Address on File]    5/18/2023 Bitcoin                              0.00094804 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #14371   [Address on File]    5/16/2023 Bitcoin                              0.00092135 Customer Transfer
 Confidential Customer Coin Transferee #14372   [Address on File]    6/20/2023 Bitcoin                              0.00045555 Customer Transfer
 Confidential Customer Coin Transferee #14373   [Address on File]    5/17/2023 Bitcoin                              0.02444351 Customer Transfer
 Confidential Customer Coin Transferee #14373   [Address on File]    5/16/2023 Bitcoin                              0.00036827 Customer Transfer
 Confidential Customer Coin Transferee #14374   [Address on File]    6/19/2023 Bitcoin                              0.00074507 Customer Transfer
 Confidential Customer Coin Transferee #14375   [Address on File]    5/22/2023 Bitcoin                              0.03683474 Customer Transfer
 Confidential Customer Coin Transferee #14375   [Address on File]    5/27/2023 Bitcoin                               0.0111385 Customer Transfer
 Confidential Customer Coin Transferee #14376   [Address on File]    5/25/2023 Bitcoin                              0.11146153 Customer Transfer
 Confidential Customer Coin Transferee #14376   [Address on File]    5/20/2023 Bitcoin                                      0.11 Customer Transfer
 Confidential Customer Coin Transferee #14376   [Address on File]    5/22/2023 Bitcoin                                      0.11 Customer Transfer
 Confidential Customer Coin Transferee #14377   [Address on File]    5/21/2023 Bitcoin                              0.04008214 Customer Transfer
 Confidential Customer Coin Transferee #14378   [Address on File]    5/19/2023 Bitcoin                              0.00184955 Customer Transfer
 Confidential Customer Coin Transferee #14379   [Address on File]    5/16/2023 Bitcoin                              0.00501244 Customer Transfer
 Confidential Customer Coin Transferee #14380   [Address on File]    5/29/2023 Bitcoin                              0.00092927 Customer Transfer
 Confidential Customer Coin Transferee #14380   [Address on File]    5/22/2023 Bitcoin                              0.00092421 Customer Transfer
 Confidential Customer Coin Transferee #14381   [Address on File]    5/18/2023 Bitcoin                              0.00432361 Customer Transfer
 Confidential Customer Coin Transferee #14382   [Address on File]    6/19/2023 Bitcoin                              0.00080903 Customer Transfer
 Confidential Customer Coin Transferee #14383   [Address on File]    5/26/2023 Bitcoin                              0.00184887 Customer Transfer
 Confidential Customer Coin Transferee #14383   [Address on File]    5/19/2023 Bitcoin                              0.00180331 Customer Transfer
 Confidential Customer Coin Transferee #14384   [Address on File]    5/26/2023 Bitcoin                              0.00929314 Customer Transfer
 Confidential Customer Coin Transferee #14385   [Address on File]    5/26/2023 Bitcoin                               0.0933738 Customer Transfer
 Confidential Customer Coin Transferee #14386   [Address on File]    6/19/2023 Bitcoin                              0.00057944 Customer Transfer
 Confidential Customer Coin Transferee #14387   [Address on File]    6/19/2023 Bitcoin                              0.00101027 Customer Transfer
 Confidential Customer Coin Transferee #14388   [Address on File]     6/5/2023 USDC Avalanche)                     1494.563262 Customer Transfer
 Confidential Customer Coin Transferee #14389   [Address on File]    6/20/2023 Bitcoin                              0.00035088 Customer Transfer
 Confidential Customer Coin Transferee #14390   [Address on File]    6/17/2023 Bitcoin                              0.00381315 Customer Transfer
 Confidential Customer Coin Transferee #14391   [Address on File]    5/21/2023 Bitcoin                                 0.050041 Customer Transfer
 Confidential Customer Coin Transferee #14392   [Address on File]    6/20/2023 Bitcoin                              0.00011818 Customer Transfer
 Confidential Customer Coin Transferee #14393   [Address on File]    6/20/2023 Bitcoin                              0.00081955 Customer Transfer
 Confidential Customer Coin Transferee #14394   [Address on File]    6/21/2023 Bitcoin                              0.00005602 Customer Transfer
 Confidential Customer Coin Transferee #14395   [Address on File]    5/27/2023 Bitcoin                              0.01499825 Customer Transfer

 Confidential Customer Coin Transferee #14396   [Address on File]    6/19/2023 Tether USD                          5133.197028 Customer Transfer

 Confidential Customer Coin Transferee #14397   [Address on File]    6/13/2023 Tether USD                              3996.18 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                        Reason for Payment
                 Creditor's Name                    Address 1          Date              Crypto Currency           Unit Count           or Transfer

 Confidential Customer Coin Transferee #14397   [Address on File]     6/6/2023 Tether USD                                    3864 Customer Transfer

 Confidential Customer Coin Transferee #14398   [Address on File]     6/9/2023 Tether USD                                 9995.36 Customer Transfer

 Confidential Customer Coin Transferee #14398   [Address on File]    6/20/2023 Tether USD                                  9920.37 Customer Transfer
 Confidential Customer Coin Transferee #14399   [Address on File]    5/25/2023 Bitcoin                                 0.00076104 Customer Transfer
 Confidential Customer Coin Transferee #14400   [Address on File]    5/27/2023 Bitcoin                                 0.01157988 Customer Transfer
 Confidential Customer Coin Transferee #14400   [Address on File]    5/27/2023 Bitcoin                                        0.006 Customer Transfer
 Confidential Customer Coin Transferee #14400   [Address on File]    5/27/2023 Bitcoin                                        0.001 Customer Transfer
 Confidential Customer Coin Transferee #14401   [Address on File]    5/25/2023 Bitcoin                                 0.00413734 Customer Transfer
 Confidential Customer Coin Transferee #14402   [Address on File]    5/18/2023 Bitcoin                                 0.00036231 Customer Transfer
 Confidential Customer Coin Transferee #14403   [Address on File]    5/24/2023 Bitcoin                                     0.00029 Customer Transfer
 Confidential Customer Coin Transferee #14404   [Address on File]    5/26/2023 Bitcoin                                 0.00929664 Customer Transfer
 Confidential Customer Coin Transferee #14404   [Address on File]    5/21/2023 Bitcoin                                 0.00367523 Customer Transfer
 Confidential Customer Coin Transferee #14404   [Address on File]    5/30/2023 Bitcoin                                 0.00178517 Customer Transfer
 Confidential Customer Coin Transferee #14405   [Address on File]    6/12/2023 Bitcoin                                 0.00259995 Customer Transfer
 Confidential Customer Coin Transferee #14405   [Address on File]    5/26/2023 Bitcoin                                 0.00185512 Customer Transfer
 Confidential Customer Coin Transferee #14406   [Address on File]    6/19/2023 Bitcoin                                 0.00249131 Customer Transfer

 Confidential Customer Coin Transferee #14407   [Address on File]    6/20/2023 Bitcoin                                 0.00047262 Customer Transfer

 Confidential Customer Coin Transferee #14408   [Address on File]    6/19/2023 Bitcoin                                 0.01895011 Customer Transfer
 Confidential Customer Coin Transferee #14409   [Address on File]    5/21/2023 USDC Avalanche)                          90.604697 Customer Transfer
 Confidential Customer Coin Transferee #14409   [Address on File]    5/24/2023 USDC Avalanche)                          64.480655 Customer Transfer
 Confidential Customer Coin Transferee #14409   [Address on File]     6/4/2023 USDC Avalanche)                            61.53923 Customer Transfer
 Confidential Customer Coin Transferee #14409   [Address on File]    5/21/2023 USDC Avalanche)                          43.148425 Customer Transfer
 Confidential Customer Coin Transferee #14409   [Address on File]    5/19/2023 USDC Avalanche)                          39.270364 Customer Transfer
 Confidential Customer Coin Transferee #14409   [Address on File]    5/23/2023 USDC Avalanche)                          33.456617 Customer Transfer
 Confidential Customer Coin Transferee #14410   [Address on File]    5/20/2023 Bitcoin                                 0.00185083 Customer Transfer
 Confidential Customer Coin Transferee #14411   [Address on File]    6/21/2023 Bitcoin                                 0.00370196 Customer Transfer
 Confidential Customer Coin Transferee #14412   [Address on File]    6/20/2023 Bitcoin                                 0.00144185 Customer Transfer
 Confidential Customer Coin Transferee #14413   [Address on File]    5/24/2023 Bitcoin                                 0.00185967 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/29/2023 Bitcoin                                      0.0057 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/26/2023 Bitcoin                                     0.00561 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/27/2023 Bitcoin                                      0.0038 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/30/2023 Bitcoin                              0.00348428 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/26/2023 Bitcoin                              0.00337957 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/18/2023 Bitcoin                              0.00326354 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/29/2023 Bitcoin                              0.00322778 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/16/2023 Bitcoin                                   0.0028 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/25/2023 Bitcoin                              0.00257423 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/31/2023 Bitcoin                              0.00224235 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/30/2023 Bitcoin                              0.00182403 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/29/2023 Bitcoin                                   0.0018 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/16/2023 Bitcoin                              0.00177723 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/17/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/27/2023 Bitcoin                              0.00148963 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/24/2023 Bitcoin                              0.00111253 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/29/2023 Bitcoin                                   0.0011 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/17/2023 Bitcoin                              0.00109126 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/29/2023 Bitcoin                                  0.00091 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/29/2023 Bitcoin                              0.00088664 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/26/2023 Bitcoin                              0.00086914 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/26/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/27/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/27/2023 Bitcoin                              0.00074385 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/29/2023 Bitcoin                              0.00063105 Customer Transfer
 Confidential Customer Coin Transferee #14414   [Address on File]    5/27/2023 Bitcoin                              0.00061918 Customer Transfer
 Confidential Customer Coin Transferee #14415   [Address on File]    6/20/2023 Bitcoin                              0.00292921 Customer Transfer
 Confidential Customer Coin Transferee #14416   [Address on File]    6/19/2023 Bitcoin                              0.00069737 Customer Transfer
 Confidential Customer Coin Transferee #14417   [Address on File]    6/20/2023 Bitcoin                               0.0011077 Customer Transfer
 Confidential Customer Coin Transferee #14418   [Address on File]    5/25/2023 Bitcoin                              0.00370004 Customer Transfer
 Confidential Customer Coin Transferee #14418   [Address on File]    5/18/2023 Bitcoin                               0.0034698 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/19/2023 Tether USD                            1000.7167 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/22/2023 Tether USD                             981.4986 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/22/2023 Tether USD                             110.1141 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/19/2023 Tether USD                               92.3072 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/16/2023 Tether USD                               11.4185 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/18/2023 Litecoin                                10.8055 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/17/2023 Litecoin                                  5.8891 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/22/2023 Litecoin                                  5.5189 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/26/2023 Litecoin                                   2.842 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/17/2023 Ether                                   0.486753 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/18/2023 Ether                                   0.484374 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/19/2023 Ether                                    0.40866 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/18/2023 Bitcoin                                  0.02843 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/26/2023 Bitcoin                                 0.005051 Customer Transfer
 Confidential Customer Coin Transferee #14419   [Address on File]    5/17/2023 Bitcoin                                 0.003368 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/17/2023 Tether USD                            1969.4509 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/17/2023 Tether USD                            1081.2152 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/17/2023 Tether USD                            1000.1375 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/17/2023 Tether USD                             1000.008 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/22/2023 Tether USD                             391.0354 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/19/2023 Tether USD                             183.8309 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/19/2023 Tether USD                             130.6228 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/17/2023 Litecoin                                  19.637 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/18/2023 Litecoin                                 12.6302 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/25/2023 Litecoin                                 10.2358 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/25/2023 Litecoin                                  2.8513 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/23/2023 Litecoin                                  2.6402 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/25/2023 Litecoin                                  2.3534 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/19/2023 Litecoin                                   2.124 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/17/2023 Litecoin                                  1.6896 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/18/2023 Litecoin                                  1.6806 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/26/2023 Litecoin                                  1.1074 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/17/2023 Bitcoin                                 0.069966 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/24/2023 Bitcoin                                 0.036633 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/25/2023 Bitcoin                                 0.036158 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/23/2023 Bitcoin                                 0.005804 Customer Transfer
 Confidential Customer Coin Transferee #14420   [Address on File]    5/26/2023 Bitcoin                                 0.003992 Customer Transfer
 Confidential Customer Coin Transferee #14421   [Address on File]    5/21/2023 Bitcoin                              0.00553373 Customer Transfer
 Confidential Customer Coin Transferee #14421   [Address on File]    5/21/2023 Bitcoin                              0.00424744 Customer Transfer
 Confidential Customer Coin Transferee #14421   [Address on File]    5/21/2023 Bitcoin                              0.00406775 Customer Transfer
 Confidential Customer Coin Transferee #14421   [Address on File]    5/18/2023 Bitcoin                              0.00364805 Customer Transfer
 Confidential Customer Coin Transferee #14421   [Address on File]    5/19/2023 Bitcoin                              0.00337162 Customer Transfer
 Confidential Customer Coin Transferee #14421   [Address on File]    5/20/2023 Bitcoin                              0.00184848 Customer Transfer
 Confidential Customer Coin Transferee #14421   [Address on File]    5/21/2023 Bitcoin                              0.00184775 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14421   [Address on File]    5/16/2023 Bitcoin                                 0.001836 Customer Transfer
 Confidential Customer Coin Transferee #14421   [Address on File]    5/21/2023 Bitcoin                              0.00092261 Customer Transfer
 Confidential Customer Coin Transferee #14422   [Address on File]    5/23/2023 Bitcoin                              0.00291332 Customer Transfer
 Confidential Customer Coin Transferee #14422   [Address on File]    5/25/2023 Bitcoin                               0.0009666 Customer Transfer
 Confidential Customer Coin Transferee #14422   [Address on File]    5/22/2023 Bitcoin                              0.00093373 Customer Transfer
 Confidential Customer Coin Transferee #14422   [Address on File]    5/22/2023 Bitcoin                              0.00091514 Customer Transfer
 Confidential Customer Coin Transferee #14422   [Address on File]    5/18/2023 Bitcoin                               0.0005436 Customer Transfer
 Confidential Customer Coin Transferee #14422   [Address on File]    5/28/2023 Bitcoin                              0.00016716 Customer Transfer
 Confidential Customer Coin Transferee #14423   [Address on File]    5/26/2023 Bitcoin                              0.06816396 Customer Transfer
 Confidential Customer Coin Transferee #14424   [Address on File]    5/22/2023 Bitcoin                              0.04809695 Customer Transfer
 Confidential Customer Coin Transferee #14425   [Address on File]    6/12/2023 Bitcoin                              0.00313256 Customer Transfer
 Confidential Customer Coin Transferee #14425   [Address on File]    6/20/2023 Bitcoin                              0.00039738 Customer Transfer
 Confidential Customer Coin Transferee #14426   [Address on File]    6/17/2023 Bitcoin                              0.00366044 Customer Transfer
 Confidential Customer Coin Transferee #14426   [Address on File]    5/18/2023 Bitcoin                              0.00363733 Customer Transfer
 Confidential Customer Coin Transferee #14427   [Address on File]    5/30/2023 Bitcoin                              0.00341597 Customer Transfer
 Confidential Customer Coin Transferee #14427   [Address on File]    5/30/2023 Bitcoin                              0.00340822 Customer Transfer
 Confidential Customer Coin Transferee #14427   [Address on File]    5/30/2023 Bitcoin                               0.0033117 Customer Transfer
 Confidential Customer Coin Transferee #14427   [Address on File]    5/30/2023 Bitcoin                              0.00327258 Customer Transfer
 Confidential Customer Coin Transferee #14427   [Address on File]    5/30/2023 Bitcoin                              0.00256696 Customer Transfer
 Confidential Customer Coin Transferee #14427   [Address on File]    5/30/2023 Bitcoin                              0.00248757 Customer Transfer
 Confidential Customer Coin Transferee #14427   [Address on File]    5/30/2023 Bitcoin                              0.00230716 Customer Transfer
 Confidential Customer Coin Transferee #14428   [Address on File]    5/16/2023 Bitcoin                              0.00367773 Customer Transfer
 Confidential Customer Coin Transferee #14429   [Address on File]    5/27/2023 Bitcoin                              0.00107713 Customer Transfer
 Confidential Customer Coin Transferee #14430   [Address on File]    5/17/2023 Bitcoin                              0.00041177 Customer Transfer
 Confidential Customer Coin Transferee #14431   [Address on File]    5/19/2023 Bitcoin                              0.00672443 Customer Transfer
 Confidential Customer Coin Transferee #14432   [Address on File]    6/20/2023 Bitcoin                              0.00057758 Customer Transfer
 Confidential Customer Coin Transferee #14433   [Address on File]    5/25/2023 Bitcoin                              0.00221221 Customer Transfer
 Confidential Customer Coin Transferee #14433   [Address on File]    5/18/2023 Bitcoin                               0.0003633 Customer Transfer
 Confidential Customer Coin Transferee #14434   [Address on File]    6/20/2023 Bitcoin                              0.00032617 Customer Transfer
 Confidential Customer Coin Transferee #14435   [Address on File]    5/26/2023 Bitcoin                              0.15053522 Customer Transfer
 Confidential Customer Coin Transferee #14436   [Address on File]    5/19/2023 Bitcoin                              0.01052706 Customer Transfer
 Confidential Customer Coin Transferee #14437   [Address on File]    5/19/2023 Bitcoin                              0.02226665 Customer Transfer
 Confidential Customer Coin Transferee #14438   [Address on File]    6/20/2023 Bitcoin                              0.00314397 Customer Transfer
 Confidential Customer Coin Transferee #14438   [Address on File]    5/25/2023 Bitcoin                              0.00110618 Customer Transfer
 Confidential Customer Coin Transferee #14439   [Address on File]    5/25/2023 Bitcoin                              0.01002028 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1          Date              Crypto Currency           Unit Count          or Transfer

 Confidential Customer Coin Transferee #14440   [Address on File]    6/19/2023 Bitcoin                                 0.11406692 Customer Transfer

 Confidential Customer Coin Transferee #14440   [Address on File]    6/19/2023 Bitcoin                              0.01141063 Customer Transfer
 Confidential Customer Coin Transferee #14441   [Address on File]    6/19/2023 Bitcoin                              0.00003291 Customer Transfer
 Confidential Customer Coin Transferee #14442   [Address on File]    6/10/2023 USDC Solana)                        2493.485211 Customer Transfer
 Confidential Customer Coin Transferee #14442   [Address on File]    6/10/2023 USDC Solana)                         497.082334 Customer Transfer
 Confidential Customer Coin Transferee #14442   [Address on File]     6/8/2023 USDC Solana)                         397.341595 Customer Transfer
 Confidential Customer Coin Transferee #14442   [Address on File]    5/20/2023 USDC Avalanche)                      196.751624 Customer Transfer
 Confidential Customer Coin Transferee #14442   [Address on File]    5/26/2023 USDC Solana)                         100.809433 Customer Transfer
 Confidential Customer Coin Transferee #14442   [Address on File]     6/5/2023 Solana                                49.209279 Customer Transfer
 Confidential Customer Coin Transferee #14442   [Address on File]    5/22/2023 Solana                                 9.903855 Customer Transfer
 Confidential Customer Coin Transferee #14442   [Address on File]    5/24/2023 Solana                                 7.474115 Customer Transfer
 Confidential Customer Coin Transferee #14442   [Address on File]    5/23/2023 Solana                                   6.40802 Customer Transfer
 Confidential Customer Coin Transferee #14442   [Address on File]    6/20/2023 Bitcoin                                  0.03701 Customer Transfer
 Confidential Customer Coin Transferee #14443   [Address on File]    6/20/2023 Bitcoin                              0.00011844 Customer Transfer

 Confidential Customer Coin Transferee #14444   [Address on File]     6/6/2023 Bitcoin                                  0.0124334 Customer Transfer
 Confidential Customer Coin Transferee #14445   [Address on File]    5/26/2023 Bitcoin                                    0.003595 Customer Transfer
 Confidential Customer Coin Transferee #14446   [Address on File]    5/19/2023 Bitcoin                                 0.01173512 Customer Transfer
 Confidential Customer Coin Transferee #14447   [Address on File]     6/5/2023 Bitcoin                                  0.0076862 Customer Transfer
 Confidential Customer Coin Transferee #14447   [Address on File]     6/6/2023 Bitcoin                                 0.00264792 Customer Transfer
 Confidential Customer Coin Transferee #14447   [Address on File]    6/15/2023 Bitcoin                                 0.00197839 Customer Transfer
 Confidential Customer Coin Transferee #14448   [Address on File]    6/20/2023 Bitcoin                                 0.00599994 Customer Transfer
 Confidential Customer Coin Transferee #14449   [Address on File]    5/28/2023 Bitcoin                                    0.000552 Customer Transfer
 Confidential Customer Coin Transferee #14450   [Address on File]    5/16/2023 Bitcoin                                 0.00475809 Customer Transfer
 Confidential Customer Coin Transferee #14451   [Address on File]    5/20/2023 Bitcoin                                 0.00885988 Customer Transfer
 Confidential Customer Coin Transferee #14452   [Address on File]    5/22/2023 Bitcoin                                 0.01764947 Customer Transfer
 Confidential Customer Coin Transferee #14453   [Address on File]    5/26/2023 Bitcoin                                 0.00111522 Customer Transfer
 Confidential Customer Coin Transferee #14453   [Address on File]    5/19/2023 Bitcoin                                 0.00101819 Customer Transfer
 Confidential Customer Coin Transferee #14454   [Address on File]    5/26/2023 Bitcoin                                 1.03537056 Customer Transfer
 Confidential Customer Coin Transferee #14455   [Address on File]    5/25/2023 Bitcoin                                 0.01060349 Customer Transfer
 Confidential Customer Coin Transferee #14456   [Address on File]    5/18/2023 Bitcoin                                         0.4 Customer Transfer
 Confidential Customer Coin Transferee #14456   [Address on File]    5/18/2023 Bitcoin                                  0.0570255 Customer Transfer
 Confidential Customer Coin Transferee #14457   [Address on File]    5/19/2023 Bitcoin                                 0.00370609 Customer Transfer
 Confidential Customer Coin Transferee #14458   [Address on File]    6/19/2023 Bitcoin                                 0.00011797 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #14459   [Address on File]    5/28/2023 Bitcoin                              0.02028969 Customer Transfer
 Confidential Customer Coin Transferee #14460   [Address on File]    5/25/2023 Bitcoin                                 0.019062 Customer Transfer
 Confidential Customer Coin Transferee #14460   [Address on File]    5/19/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #14460   [Address on File]    5/29/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #14460   [Address on File]    5/16/2023 Bitcoin                                 0.007656 Customer Transfer
 Confidential Customer Coin Transferee #14460   [Address on File]    5/18/2023 Bitcoin                                     0.005 Customer Transfer
 Confidential Customer Coin Transferee #14460   [Address on File]    5/17/2023 Bitcoin                                    0.0001 Customer Transfer
 Confidential Customer Coin Transferee #14461   [Address on File]    5/22/2023 Bitcoin                              0.01168895 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/25/2023 Bitcoin                              0.03756382 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/23/2023 Bitcoin                                 0.029629 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/25/2023 Bitcoin                              0.01131263 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/18/2023 Bitcoin                              0.01020838 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/19/2023 Bitcoin                              0.00647561 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/27/2023 Bitcoin                              0.00559376 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/19/2023 Bitcoin                              0.00554204 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/17/2023 Bitcoin                              0.00386909 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/25/2023 Bitcoin                               0.0037776 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/21/2023 Bitcoin                               0.0036951 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/17/2023 Bitcoin                              0.00363509 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/31/2023 Bitcoin                              0.00287199 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/29/2023 Bitcoin                              0.00267183 Customer Transfer
 Confidential Customer Coin Transferee #14462   [Address on File]    5/23/2023 Bitcoin                              0.00178463 Customer Transfer
 Confidential Customer Coin Transferee #14463   [Address on File]    5/19/2023 Bitcoin                              0.04454894 Customer Transfer
 Confidential Customer Coin Transferee #14463   [Address on File]    5/29/2023 Bitcoin                              0.01667945 Customer Transfer
 Confidential Customer Coin Transferee #14464   [Address on File]    5/26/2023 Bitcoin                              0.00428872 Customer Transfer
 Confidential Customer Coin Transferee #14464   [Address on File]    5/18/2023 Bitcoin                              0.00143683 Customer Transfer
 Confidential Customer Coin Transferee #14465   [Address on File]    5/25/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #14465   [Address on File]    5/30/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #14466   [Address on File]    5/23/2023 Bitcoin                              0.03201126 Customer Transfer
 Confidential Customer Coin Transferee #14467   [Address on File]    5/25/2023 Bitcoin                              0.01092371 Customer Transfer
 Confidential Customer Coin Transferee #14468   [Address on File]    5/20/2023 Bitcoin                              0.07304479 Customer Transfer
 Confidential Customer Coin Transferee #14469   [Address on File]    5/20/2023 Bitcoin                              0.00108498 Customer Transfer
 Confidential Customer Coin Transferee #14470   [Address on File]    6/20/2023 Bitcoin                               0.0082054 Customer Transfer
 Confidential Customer Coin Transferee #14471   [Address on File]    5/24/2023 USDC Solana)                         247.606196 Customer Transfer
 Confidential Customer Coin Transferee #14471   [Address on File]    5/17/2023 USDC Solana)                         197.700919 Customer Transfer
 Confidential Customer Coin Transferee #14471   [Address on File]    6/18/2023 USDC Solana)                          75.303966 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14471   [Address on File]    6/21/2023 Solana                                   2.87589 Customer Transfer
 Confidential Customer Coin Transferee #14472   [Address on File]    5/17/2023 Bitcoin                              0.00365175 Customer Transfer
 Confidential Customer Coin Transferee #14473   [Address on File]    6/19/2023 Bitcoin                              0.00071047 Customer Transfer
 Confidential Customer Coin Transferee #14474   [Address on File]    6/19/2023 Bitcoin                              0.00197268 Customer Transfer

 Confidential Customer Coin Transferee #14475   [Address on File]    5/28/2023 Bitcoin                                 0.10828799 Customer Transfer
 Confidential Customer Coin Transferee #14476   [Address on File]    5/21/2023 Bitcoin                                        0.13 Customer Transfer
 Confidential Customer Coin Transferee #14476   [Address on File]    5/18/2023 Bitcoin                                        0.12 Customer Transfer
 Confidential Customer Coin Transferee #14476   [Address on File]    5/17/2023 Bitcoin                                         0.1 Customer Transfer
 Confidential Customer Coin Transferee #14476   [Address on File]    5/19/2023 Bitcoin                                         0.1 Customer Transfer
 Confidential Customer Coin Transferee #14476   [Address on File]    5/20/2023 Bitcoin                                         0.1 Customer Transfer
 Confidential Customer Coin Transferee #14476   [Address on File]    5/25/2023 Bitcoin                                         0.1 Customer Transfer
 Confidential Customer Coin Transferee #14477   [Address on File]    5/31/2023 Bitcoin                                        0.05 Customer Transfer
 Confidential Customer Coin Transferee #14478   [Address on File]    5/24/2023 Bitcoin                                 0.00669323 Customer Transfer
 Confidential Customer Coin Transferee #14479   [Address on File]    5/17/2023 Bitcoin                                       0.008 Customer Transfer
 Confidential Customer Coin Transferee #14480   [Address on File]    5/29/2023 Bitcoin                                 0.11684501 Customer Transfer
 Confidential Customer Coin Transferee #14481   [Address on File]    5/24/2023 Bitcoin                                 0.11643522 Customer Transfer
 Confidential Customer Coin Transferee #14481   [Address on File]    5/31/2023 Bitcoin                                 0.03655976 Customer Transfer
 Confidential Customer Coin Transferee #14481   [Address on File]    5/20/2023 Bitcoin                                        0.02 Customer Transfer
 Confidential Customer Coin Transferee #14481   [Address on File]    5/22/2023 Bitcoin                                        0.01 Customer Transfer
 Confidential Customer Coin Transferee #14482   [Address on File]    5/18/2023 Bitcoin                                 0.00730397 Customer Transfer
 Confidential Customer Coin Transferee #14482   [Address on File]    5/28/2023 Bitcoin                                 0.00651537 Customer Transfer
 Confidential Customer Coin Transferee #14482   [Address on File]    5/28/2023 Bitcoin                                       0.001 Customer Transfer
 Confidential Customer Coin Transferee #14483   [Address on File]    5/23/2023 Bitcoin                                 0.00182035 Customer Transfer
 Confidential Customer Coin Transferee #14483   [Address on File]    5/25/2023 Bitcoin                                 0.00075403 Customer Transfer
 Confidential Customer Coin Transferee #14484   [Address on File]    5/25/2023 Bitcoin                                 0.01082167 Customer Transfer
 Confidential Customer Coin Transferee #14484   [Address on File]    5/19/2023 Bitcoin                                 0.00495567 Customer Transfer
 Confidential Customer Coin Transferee #14484   [Address on File]    5/21/2023 Bitcoin                                 0.00207521 Customer Transfer
 Confidential Customer Coin Transferee #14484   [Address on File]    5/23/2023 Bitcoin                                 0.00139795 Customer Transfer
 Confidential Customer Coin Transferee #14484   [Address on File]    5/20/2023 Bitcoin                                 0.00114541 Customer Transfer
 Confidential Customer Coin Transferee #14484   [Address on File]    5/16/2023 Bitcoin                                 0.00095681 Customer Transfer
 Confidential Customer Coin Transferee #14484   [Address on File]    5/23/2023 Bitcoin                                 0.00082217 Customer Transfer
 Confidential Customer Coin Transferee #14485   [Address on File]    5/31/2023 Bitcoin                                 0.00335176 Customer Transfer
 Confidential Customer Coin Transferee #14486   [Address on File]    5/19/2023 Bitcoin                                 0.02543731 Customer Transfer
 Confidential Customer Coin Transferee #14487   [Address on File]    5/31/2023 Bitcoin                                 0.01410899 Customer Transfer
 Confidential Customer Coin Transferee #14488   [Address on File]    6/20/2023 Bitcoin                                 0.00005808 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1          Date              Crypto Currency           Unit Count          or Transfer

 Confidential Customer Coin Transferee #14489   [Address on File]    5/17/2023 Bitcoin                                 0.00034677 Customer Transfer
 Confidential Customer Coin Transferee #14490   [Address on File]    5/31/2023 Bitcoin                                 0.00302492 Customer Transfer
 Confidential Customer Coin Transferee #14491   [Address on File]    5/28/2023 Bitcoin                                  0.0245469 Customer Transfer
 Confidential Customer Coin Transferee #14491   [Address on File]    5/16/2023 Bitcoin                                 0.02389845 Customer Transfer
 Confidential Customer Coin Transferee #14492   [Address on File]    5/19/2023 Bitcoin                                 0.01464693 Customer Transfer
 Confidential Customer Coin Transferee #14493   [Address on File]    5/21/2023 Bitcoin                                 0.01005428 Customer Transfer
 Confidential Customer Coin Transferee #14493   [Address on File]    5/23/2023 Bitcoin                                 0.00018197 Customer Transfer
 Confidential Customer Coin Transferee #14494   [Address on File]    5/21/2023 Bitcoin                                 0.00643372 Customer Transfer
 Confidential Customer Coin Transferee #14495   [Address on File]    5/18/2023 Bitcoin                                 0.00909313 Customer Transfer
 Confidential Customer Coin Transferee #14496   [Address on File]    5/22/2023 Bitcoin                                 0.00188611 Customer Transfer
 Confidential Customer Coin Transferee #14497   [Address on File]    5/26/2023 Bitcoin                                 0.00377628 Customer Transfer
 Confidential Customer Coin Transferee #14498   [Address on File]    5/17/2023 Bitcoin                                 0.00916858 Customer Transfer
 Confidential Customer Coin Transferee #14499   [Address on File]    5/22/2023 Bitcoin                                 0.00555136 Customer Transfer
 Confidential Customer Coin Transferee #14499   [Address on File]    5/28/2023 Bitcoin                                 0.00506222 Customer Transfer
 Confidential Customer Coin Transferee #14499   [Address on File]    5/21/2023 Bitcoin                                 0.00461089 Customer Transfer
 Confidential Customer Coin Transferee #14499   [Address on File]    5/23/2023 Bitcoin                                 0.00455026 Customer Transfer
 Confidential Customer Coin Transferee #14499   [Address on File]    5/27/2023 Bitcoin                                 0.00372772 Customer Transfer
 Confidential Customer Coin Transferee #14499   [Address on File]    5/28/2023 Bitcoin                                 0.00366718 Customer Transfer
 Confidential Customer Coin Transferee #14499   [Address on File]    5/21/2023 Bitcoin                                      0.0035 Customer Transfer
 Confidential Customer Coin Transferee #14499   [Address on File]    5/20/2023 Bitcoin                                      0.0033 Customer Transfer
 Confidential Customer Coin Transferee #14499   [Address on File]    5/20/2023 Bitcoin                                 0.00224923 Customer Transfer
 Confidential Customer Coin Transferee #14499   [Address on File]    5/21/2023 Bitcoin                                 0.00200463 Customer Transfer
 Confidential Customer Coin Transferee #14499   [Address on File]    5/24/2023 Bitcoin                                 0.00186277 Customer Transfer
 Confidential Customer Coin Transferee #14500   [Address on File]    5/30/2023 Bitcoin                                  0.0101728 Customer Transfer
 Confidential Customer Coin Transferee #14501   [Address on File]    6/19/2023 Bitcoin                                 0.00005833 Customer Transfer
 Confidential Customer Coin Transferee #14502   [Address on File]    5/25/2023 Bitcoin                                 0.00109081 Customer Transfer
 Confidential Customer Coin Transferee #14502   [Address on File]    5/27/2023 Bitcoin                                 0.00075297 Customer Transfer
 Confidential Customer Coin Transferee #14503   [Address on File]    5/26/2023 Bitcoin                                  0.0743752 Customer Transfer
 Confidential Customer Coin Transferee #14504   [Address on File]    5/20/2023 Bitcoin                                 0.00739526 Customer Transfer
 Confidential Customer Coin Transferee #14505   [Address on File]    5/22/2023 Bitcoin                                 0.00073877 Customer Transfer
 Confidential Customer Coin Transferee #14505   [Address on File]    5/22/2023 Bitcoin                                 0.00073839 Customer Transfer
 Confidential Customer Coin Transferee #14506   [Address on File]    5/26/2023 Bitcoin                                 0.01318268 Customer Transfer
 Confidential Customer Coin Transferee #14507   [Address on File]    5/25/2023 Bitcoin                                 0.00747635 Customer Transfer
 Confidential Customer Coin Transferee #14507   [Address on File]    5/22/2023 Bitcoin                                 0.00369853 Customer Transfer
 Confidential Customer Coin Transferee #14508   [Address on File]    5/19/2023 Bitcoin                                 0.01108238 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #14509   [Address on File]    5/27/2023 Bitcoin                               0.0335308 Customer Transfer
 Confidential Customer Coin Transferee #14510   [Address on File]    5/31/2023 Bitcoin                                   0.0071 Customer Transfer
 Confidential Customer Coin Transferee #14510   [Address on File]    5/25/2023 Bitcoin                                  0.00175 Customer Transfer
 Confidential Customer Coin Transferee #14510   [Address on File]    5/26/2023 Bitcoin                                  0.00175 Customer Transfer
 Confidential Customer Coin Transferee #14510   [Address on File]    5/26/2023 Bitcoin                                  0.00175 Customer Transfer
 Confidential Customer Coin Transferee #14510   [Address on File]    5/26/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #14510   [Address on File]    5/25/2023 Bitcoin                                  0.00016 Customer Transfer
 Confidential Customer Coin Transferee #14511   [Address on File]    5/16/2023 Bitcoin                                  0.01645 Customer Transfer
 Confidential Customer Coin Transferee #14511   [Address on File]    5/22/2023 Bitcoin                              0.00186099 Customer Transfer
 Confidential Customer Coin Transferee #14511   [Address on File]    5/21/2023 Bitcoin                              0.00154219 Customer Transfer
 Confidential Customer Coin Transferee #14512   [Address on File]    5/25/2023 Bitcoin                              0.06158777 Customer Transfer
 Confidential Customer Coin Transferee #14513   [Address on File]    6/19/2023 Bitcoin                               0.0021783 Customer Transfer
 Confidential Customer Coin Transferee #14514   [Address on File]    6/19/2023 Bitcoin                              0.00117312 Customer Transfer
 Confidential Customer Coin Transferee #14515   [Address on File]    5/26/2023 Bitcoin                               0.0036767 Customer Transfer
 Confidential Customer Coin Transferee #14515   [Address on File]    5/19/2023 Bitcoin                              0.00345693 Customer Transfer
 Confidential Customer Coin Transferee #14516   [Address on File]    5/24/2023 Bitcoin                              0.07546297 Customer Transfer
 Confidential Customer Coin Transferee #14516   [Address on File]    5/17/2023 Bitcoin                              0.06894881 Customer Transfer
 Confidential Customer Coin Transferee #14517   [Address on File]    6/19/2023 Bitcoin                              0.00480562 Customer Transfer
 Confidential Customer Coin Transferee #14518   [Address on File]    6/20/2023 Bitcoin                              0.00168861 Customer Transfer
 Confidential Customer Coin Transferee #14519   [Address on File]    5/18/2023 Bitcoin                              0.04339719 Customer Transfer
 Confidential Customer Coin Transferee #14520   [Address on File]    5/26/2023 Bitcoin                              0.00357881 Customer Transfer
 Confidential Customer Coin Transferee #14521   [Address on File]    6/19/2023 Bitcoin                              0.00060681 Customer Transfer
 Confidential Customer Coin Transferee #14522   [Address on File]    5/23/2023 Bitcoin                              0.02622746 Customer Transfer
 Confidential Customer Coin Transferee #14523   [Address on File]    6/20/2023 Bitcoin                               0.0086127 Customer Transfer
 Confidential Customer Coin Transferee #14524   [Address on File]    6/20/2023 Bitcoin                               0.0011983 Customer Transfer
 Confidential Customer Coin Transferee #14525   [Address on File]     6/9/2023 Bitcoin                              0.00187221 Customer Transfer
 Confidential Customer Coin Transferee #14526   [Address on File]    5/18/2023 Bitcoin                              0.01111383 Customer Transfer
 Confidential Customer Coin Transferee #14526   [Address on File]    5/25/2023 Bitcoin                               0.0103045 Customer Transfer

 Confidential Customer Coin Transferee #14527   [Address on File]     6/9/2023 Bitcoin                                 0.02588822 Customer Transfer
 Confidential Customer Coin Transferee #14528   [Address on File]    6/19/2023 Bitcoin                                 0.01809128 Customer Transfer
 Confidential Customer Coin Transferee #14529   [Address on File]    6/20/2023 Bitcoin                                 0.00353622 Customer Transfer
 Confidential Customer Coin Transferee #14530   [Address on File]    6/19/2023 Bitcoin                                 0.00040592 Customer Transfer
 Confidential Customer Coin Transferee #14531   [Address on File]    6/19/2023 Bitcoin                                  0.0000581 Customer Transfer
 Confidential Customer Coin Transferee #14532   [Address on File]     6/8/2023 Bitcoin                                 0.00259755 Customer Transfer
 Confidential Customer Coin Transferee #14532   [Address on File]    6/18/2023 Bitcoin                                 0.00007726 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14533   [Address on File]    6/20/2023 Bitcoin                              0.98741544 Customer Transfer
 Confidential Customer Coin Transferee #14534   [Address on File]    6/19/2023 Bitcoin                              0.00064026 Customer Transfer
 Confidential Customer Coin Transferee #14535   [Address on File]    5/27/2023 Bitcoin                              0.01008609 Customer Transfer
 Confidential Customer Coin Transferee #14536   [Address on File]    6/19/2023 Bitcoin                              0.00070471 Customer Transfer
 Confidential Customer Coin Transferee #14537   [Address on File]    6/20/2023 Bitcoin                                 0.000411 Customer Transfer
 Confidential Customer Coin Transferee #14538   [Address on File]    6/14/2023 Bitcoin                               0.0001609 Customer Transfer
 Confidential Customer Coin Transferee #14539   [Address on File]    5/26/2023 Bitcoin                              0.00074946 Customer Transfer
 Confidential Customer Coin Transferee #14539   [Address on File]    5/22/2023 Bitcoin                              0.00073702 Customer Transfer
 Confidential Customer Coin Transferee #14539   [Address on File]    5/29/2023 Bitcoin                              0.00037054 Customer Transfer
 Confidential Customer Coin Transferee #14539   [Address on File]     6/2/2023 Bitcoin                              0.00036546 Customer Transfer
 Confidential Customer Coin Transferee #14540   [Address on File]    5/28/2023 Bitcoin                              0.01783402 Customer Transfer

 Confidential Customer Coin Transferee #14541   [Address on File]    5/29/2023 Bitcoin                                 0.01359542 Customer Transfer
 Confidential Customer Coin Transferee #14542   [Address on File]     6/4/2023 Bitcoin                                 0.07326432 Customer Transfer
 Confidential Customer Coin Transferee #14542   [Address on File]    5/16/2023 Bitcoin                                 0.06034333 Customer Transfer
 Confidential Customer Coin Transferee #14542   [Address on File]    6/17/2023 Bitcoin                                 0.01437866 Customer Transfer
 Confidential Customer Coin Transferee #14543   [Address on File]    5/23/2023 Bitcoin                                 0.01018612 Customer Transfer
 Confidential Customer Coin Transferee #14544   [Address on File]    5/21/2023 Bitcoin                                 0.00724839 Customer Transfer
 Confidential Customer Coin Transferee #14545   [Address on File]    5/19/2023 Bitcoin                                 0.03491582 Customer Transfer
 Confidential Customer Coin Transferee #14546   [Address on File]    6/20/2023 Bitcoin                                 0.00070304 Customer Transfer
 Confidential Customer Coin Transferee #14547   [Address on File]    6/16/2023 Bitcoin                                 0.00194399 Customer Transfer
 Confidential Customer Coin Transferee #14548   [Address on File]    5/26/2023 Bitcoin                                 0.00257529 Customer Transfer
 Confidential Customer Coin Transferee #14548   [Address on File]    5/19/2023 Bitcoin                                 0.00242802 Customer Transfer
 Confidential Customer Coin Transferee #14549   [Address on File]    6/20/2023 Bitcoin                                 0.00557695 Customer Transfer
 Confidential Customer Coin Transferee #14550   [Address on File]    5/16/2023 Bitcoin                                 0.02868572 Customer Transfer
 Confidential Customer Coin Transferee #14551   [Address on File]    6/20/2023 Bitcoin                                 0.00059833 Customer Transfer
 Confidential Customer Coin Transferee #14552   [Address on File]    6/20/2023 Bitcoin                                 0.00378647 Customer Transfer
 Confidential Customer Coin Transferee #14553   [Address on File]    6/20/2023 Bitcoin                                 0.00206493 Customer Transfer
 Confidential Customer Coin Transferee #14554   [Address on File]    5/22/2023 Bitcoin                                  0.0004757 Customer Transfer
 Confidential Customer Coin Transferee #14555   [Address on File]    6/20/2023 Bitcoin                                 0.00004375 Customer Transfer
 Confidential Customer Coin Transferee #14556   [Address on File]    5/23/2023 Bitcoin                                 0.02562295 Customer Transfer
 Confidential Customer Coin Transferee #14557   [Address on File]    5/20/2023 Bitcoin                                  0.0003616 Customer Transfer
 Confidential Customer Coin Transferee #14558   [Address on File]    6/20/2023 Bitcoin                                  0.0019204 Customer Transfer
 Confidential Customer Coin Transferee #14559   [Address on File]    6/20/2023 Bitcoin                                 0.00492877 Customer Transfer
 Confidential Customer Coin Transferee #14560   [Address on File]    5/26/2023 Bitcoin                                 0.01858742 Customer Transfer
 Confidential Customer Coin Transferee #14560   [Address on File]    5/20/2023 Bitcoin                                 0.01790703 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14561   [Address on File]    6/20/2023 Bitcoin                              0.00450736 Customer Transfer
 Confidential Customer Coin Transferee #14562   [Address on File]    6/20/2023 Bitcoin                              0.00076016 Customer Transfer
 Confidential Customer Coin Transferee #14563   [Address on File]    5/25/2023 Bitcoin                              0.04586966 Customer Transfer
 Confidential Customer Coin Transferee #14564   [Address on File]    6/19/2023 Bitcoin                              0.00524923 Customer Transfer
 Confidential Customer Coin Transferee #14565   [Address on File]    5/29/2023 Bitcoin                              0.00071314 Customer Transfer
 Confidential Customer Coin Transferee #14566   [Address on File]    5/17/2023 Bitcoin                               0.0104584 Customer Transfer
 Confidential Customer Coin Transferee #14567   [Address on File]    5/22/2023 Bitcoin                              0.00110539 Customer Transfer
 Confidential Customer Coin Transferee #14568   [Address on File]    5/21/2023 Bitcoin                               0.0252886 Customer Transfer
 Confidential Customer Coin Transferee #14569   [Address on File]    5/23/2023 Bitcoin                              0.04599582 Customer Transfer
 Confidential Customer Coin Transferee #14569   [Address on File]    5/16/2023 Bitcoin                              0.03487292 Customer Transfer
 Confidential Customer Coin Transferee #14570   [Address on File]    5/25/2023 Bitcoin                              0.01075797 Customer Transfer
 Confidential Customer Coin Transferee #14571   [Address on File]    5/24/2023 Bitcoin                              0.00253306 Customer Transfer
 Confidential Customer Coin Transferee #14571   [Address on File]    5/17/2023 Bitcoin                              0.00242302 Customer Transfer
 Confidential Customer Coin Transferee #14572   [Address on File]    6/18/2023 Bitcoin                              0.01756633 Customer Transfer
 Confidential Customer Coin Transferee #14573   [Address on File]    5/25/2023 Bitcoin                              0.18288933 Customer Transfer
 Confidential Customer Coin Transferee #14574   [Address on File]    6/14/2023 Bitcoin                              0.00070476 Customer Transfer
 Confidential Customer Coin Transferee #14575   [Address on File]    5/23/2023 Bitcoin                              0.02176682 Customer Transfer
 Confidential Customer Coin Transferee #14575   [Address on File]    5/30/2023 Bitcoin                              0.02137266 Customer Transfer
 Confidential Customer Coin Transferee #14575   [Address on File]    5/16/2023 Bitcoin                              0.01972164 Customer Transfer
 Confidential Customer Coin Transferee #14576   [Address on File]    5/27/2023 Bitcoin                              0.01024307 Customer Transfer
 Confidential Customer Coin Transferee #14577   [Address on File]    6/19/2023 Bitcoin                              0.00063479 Customer Transfer
 Confidential Customer Coin Transferee #14578   [Address on File]    5/25/2023 Bitcoin                              0.21882829 Customer Transfer
 Confidential Customer Coin Transferee #14579   [Address on File]    5/30/2023 Bitcoin                              0.02999983 Customer Transfer
 Confidential Customer Coin Transferee #14580   [Address on File]    5/19/2023 Bitcoin                               0.0357676 Customer Transfer
 Confidential Customer Coin Transferee #14580   [Address on File]    5/26/2023 Bitcoin                              0.00517957 Customer Transfer
 Confidential Customer Coin Transferee #14581   [Address on File]    6/19/2023 Bitcoin                              0.00289986 Customer Transfer
 Confidential Customer Coin Transferee #14582   [Address on File]    5/16/2023 Bitcoin                              0.01107309 Customer Transfer
 Confidential Customer Coin Transferee #14582   [Address on File]    5/30/2023 Bitcoin                              0.01034972 Customer Transfer
 Confidential Customer Coin Transferee #14582   [Address on File]    5/23/2023 Bitcoin                              0.01015171 Customer Transfer
 Confidential Customer Coin Transferee #14583   [Address on File]    6/20/2023 Bitcoin                              0.00216567 Customer Transfer
 Confidential Customer Coin Transferee #14584   [Address on File]    6/19/2023 Bitcoin                              0.00081914 Customer Transfer
 Confidential Customer Coin Transferee #14585   [Address on File]    6/20/2023 Bitcoin                              0.00069654 Customer Transfer
 Confidential Customer Coin Transferee #14586   [Address on File]    6/20/2023 Bitcoin                              0.00005807 Customer Transfer
 Confidential Customer Coin Transferee #14587   [Address on File]    5/24/2023 Bitcoin                              0.01779884 Customer Transfer
 Confidential Customer Coin Transferee #14587   [Address on File]    5/17/2023 Bitcoin                              0.01719712 Customer Transfer
 Confidential Customer Coin Transferee #14588   [Address on File]    6/20/2023 Bitcoin                              0.00081351 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14589   [Address on File]    6/12/2023 Bitcoin                              0.00236565 Customer Transfer
 Confidential Customer Coin Transferee #14589   [Address on File]    6/19/2023 Bitcoin                              0.00091173 Customer Transfer
 Confidential Customer Coin Transferee #14589   [Address on File]    5/30/2023 Bitcoin                              0.00075305 Customer Transfer

 Confidential Customer Coin Transferee #14590   [Address on File]    5/26/2023 USDC Avalanche)                         119.332267 Customer Transfer

 Confidential Customer Coin Transferee #14590   [Address on File]    5/31/2023 USDC Avalanche)                          59.442446 Customer Transfer
 Confidential Customer Coin Transferee #14591   [Address on File]    6/19/2023 Bitcoin                                 0.04613537 Customer Transfer
 Confidential Customer Coin Transferee #14592   [Address on File]    6/19/2023 Bitcoin                                 0.01171869 Customer Transfer
 Confidential Customer Coin Transferee #14593   [Address on File]    5/25/2023 Bitcoin                                        0.03 Customer Transfer
 Confidential Customer Coin Transferee #14594   [Address on File]    6/20/2023 Bitcoin                                 0.00809464 Customer Transfer
 Confidential Customer Coin Transferee #14595   [Address on File]    5/29/2023 Bitcoin                                  0.0057515 Customer Transfer
 Confidential Customer Coin Transferee #14596   [Address on File]    6/20/2023 Bitcoin                                 0.00005827 Customer Transfer
 Confidential Customer Coin Transferee #14597   [Address on File]    6/19/2023 Bitcoin                                 0.00005621 Customer Transfer
 Confidential Customer Coin Transferee #14598   [Address on File]    6/19/2023 Bitcoin                                 0.00005883 Customer Transfer
 Confidential Customer Coin Transferee #14599   [Address on File]    6/16/2023 Bitcoin                                 0.03609486 Customer Transfer
 Confidential Customer Coin Transferee #14600   [Address on File]    5/26/2023 Bitcoin                                  0.1617354 Customer Transfer
 Confidential Customer Coin Transferee #14601   [Address on File]    5/21/2023 Bitcoin                                 0.00180989 Customer Transfer
 Confidential Customer Coin Transferee #14602   [Address on File]    5/20/2023 Bitcoin                                 0.01045841 Customer Transfer
 Confidential Customer Coin Transferee #14603   [Address on File]    5/25/2023 Bitcoin                                 0.00256381 Customer Transfer
 Confidential Customer Coin Transferee #14603   [Address on File]    5/17/2023 Bitcoin                                 0.00034459 Customer Transfer
 Confidential Customer Coin Transferee #14604   [Address on File]    6/12/2023 Bitcoin                                 0.01021914 Customer Transfer
 Confidential Customer Coin Transferee #14605   [Address on File]    6/20/2023 Bitcoin                                 0.00790221 Customer Transfer
 Confidential Customer Coin Transferee #14606   [Address on File]    6/21/2023 USDC Avalanche)                         107.147841 Customer Transfer
 Confidential Customer Coin Transferee #14606   [Address on File]    6/21/2023 USDC Avalanche)                         107.137161 Customer Transfer
 Confidential Customer Coin Transferee #14606   [Address on File]    5/22/2023 USDC Avalanche)                         102.419032 Customer Transfer
 Confidential Customer Coin Transferee #14606   [Address on File]    5/22/2023 USDC Avalanche)                         102.419032 Customer Transfer
 Confidential Customer Coin Transferee #14607   [Address on File]    5/19/2023 Bitcoin                                 0.00359886 Customer Transfer
 Confidential Customer Coin Transferee #14607   [Address on File]    5/24/2023 Bitcoin                                 0.00332155 Customer Transfer
 Confidential Customer Coin Transferee #14607   [Address on File]    5/31/2023 Bitcoin                                 0.00306267 Customer Transfer
 Confidential Customer Coin Transferee #14607   [Address on File]    5/27/2023 Bitcoin                                 0.00277574 Customer Transfer
 Confidential Customer Coin Transferee #14607   [Address on File]    5/21/2023 Bitcoin                                 0.00121864 Customer Transfer
 Confidential Customer Coin Transferee #14608   [Address on File]    5/22/2023 Bitcoin                                 0.00735049 Customer Transfer
 Confidential Customer Coin Transferee #14608   [Address on File]    6/15/2023 Bitcoin                                  0.0039793 Customer Transfer
 Confidential Customer Coin Transferee #14608   [Address on File]    6/12/2023 Bitcoin                                 0.00386534 Customer Transfer
 Confidential Customer Coin Transferee #14608   [Address on File]     6/7/2023 Bitcoin                                 0.00384971 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14608   [Address on File]    6/14/2023 Bitcoin                              0.00380658 Customer Transfer
 Confidential Customer Coin Transferee #14608   [Address on File]     6/9/2023 Bitcoin                              0.00374817 Customer Transfer
 Confidential Customer Coin Transferee #14608   [Address on File]     6/2/2023 Bitcoin                              0.00374255 Customer Transfer
 Confidential Customer Coin Transferee #14608   [Address on File]     6/6/2023 Bitcoin                              0.00373482 Customer Transfer

 Confidential Customer Coin Transferee #14609   [Address on File]    5/22/2023 Bitcoin                                 0.00090283 Customer Transfer
 Confidential Customer Coin Transferee #14610   [Address on File]    5/26/2023 Bitcoin                                 0.00037904 Customer Transfer
 Confidential Customer Coin Transferee #14611   [Address on File]    6/13/2023 USD Coin                                       2990 Customer Transfer
 Confidential Customer Coin Transferee #14611   [Address on File]    6/14/2023 USD Coin                                       1993 Customer Transfer
 Confidential Customer Coin Transferee #14611   [Address on File]    6/20/2023 USD Coin                                       1987 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/26/2023 Bitcoin                                  0.0016016 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]     6/1/2023 Bitcoin                                 0.00134955 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/30/2023 Bitcoin                                      0.0013 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]     6/1/2023 Bitcoin                                 0.00125855 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]     6/1/2023 Bitcoin                                      0.0009 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/24/2023 Bitcoin                                 0.00087734 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/18/2023 Bitcoin                                 0.00087126 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/22/2023 Bitcoin                                 0.00082665 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/26/2023 Bitcoin                                 0.00081546 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/24/2023 Bitcoin                                 0.00073234 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/19/2023 Bitcoin                                 0.00071061 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/23/2023 Bitcoin                                 0.00070392 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/25/2023 Bitcoin                                 0.00065275 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/22/2023 Bitcoin                                 0.00064031 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/29/2023 Bitcoin                                      0.0006 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/29/2023 Bitcoin                                 0.00033299 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/26/2023 Bitcoin                                 0.00019346 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/22/2023 Bitcoin                                 0.00017895 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/24/2023 Bitcoin                                 0.00017598 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/24/2023 Bitcoin                                 0.00017581 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]     6/1/2023 Bitcoin                                 0.00015043 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/25/2023 Bitcoin                                 0.00013848 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/30/2023 Bitcoin                                 0.00013252 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/31/2023 Bitcoin                                 0.00012745 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/29/2023 Bitcoin                                 0.00009038 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/19/2023 Bitcoin                                 0.00007949 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/27/2023 Bitcoin                              0.00007283 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/22/2023 Bitcoin                              0.00006272 Customer Transfer
 Confidential Customer Coin Transferee #14612   [Address on File]    5/21/2023 Bitcoin                              0.00006196 Customer Transfer
 Confidential Customer Coin Transferee #14613   [Address on File]    5/27/2023 Bitcoin                               0.0186018 Customer Transfer
 Confidential Customer Coin Transferee #14613   [Address on File]    5/27/2023 Bitcoin                              0.01858771 Customer Transfer
 Confidential Customer Coin Transferee #14614   [Address on File]    5/20/2023 Bitcoin                              0.13405186 Customer Transfer
 Confidential Customer Coin Transferee #14614   [Address on File]    5/18/2023 Bitcoin                              0.11496989 Customer Transfer
 Confidential Customer Coin Transferee #14615   [Address on File]    5/26/2023 Bitcoin                              0.01710928 Customer Transfer
 Confidential Customer Coin Transferee #14616   [Address on File]    5/28/2023 Bitcoin                              0.01801575 Customer Transfer
 Confidential Customer Coin Transferee #14616   [Address on File]    5/23/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #14617   [Address on File]    5/26/2023 Bitcoin                              0.00256786 Customer Transfer
 Confidential Customer Coin Transferee #14617   [Address on File]    5/19/2023 Bitcoin                              0.00244157 Customer Transfer

 Confidential Customer Coin Transferee #14618   [Address on File]    6/13/2023 Bitcoin                                 0.00307583 Customer Transfer
 Confidential Customer Coin Transferee #14619   [Address on File]    6/19/2023 Bitcoin                                 0.00385666 Customer Transfer
 Confidential Customer Coin Transferee #14620   [Address on File]    6/19/2023 Bitcoin                                 0.00005817 Customer Transfer
 Confidential Customer Coin Transferee #14621   [Address on File]     6/2/2023 Audius                                      100000 Customer Transfer
 Confidential Customer Coin Transferee #14622   [Address on File]    5/27/2023 Bitcoin                                 0.00745048 Customer Transfer
 Confidential Customer Coin Transferee #14622   [Address on File]    5/19/2023 Bitcoin                                 0.00735622 Customer Transfer
 Confidential Customer Coin Transferee #14623   [Address on File]    5/19/2023 Bitcoin                                  0.0166541 Customer Transfer
 Confidential Customer Coin Transferee #14623   [Address on File]    5/31/2023 Bitcoin                                 0.01194792 Customer Transfer
 Confidential Customer Coin Transferee #14624   [Address on File]    6/20/2023 Bitcoin                                 0.00035019 Customer Transfer
 Confidential Customer Coin Transferee #14625   [Address on File]     6/7/2023 Bitcoin                                 0.00141819 Customer Transfer

 Confidential Customer Coin Transferee #14626   [Address on File]    6/19/2023 Bitcoin                              0.09566707 Customer Transfer
 Confidential Customer Coin Transferee #14627   [Address on File]    5/26/2023 Bitcoin                               0.0014317 Customer Transfer
 Confidential Customer Coin Transferee #14627   [Address on File]    6/20/2023 Bitcoin                              0.00078165 Customer Transfer
 Confidential Customer Coin Transferee #14628   [Address on File]    5/17/2023 Bitcoin                                    0.0068 Customer Transfer
 Confidential Customer Coin Transferee #14628   [Address on File]    5/18/2023 Bitcoin                                 0.006388 Customer Transfer
 Confidential Customer Coin Transferee #14628   [Address on File]    5/17/2023 Bitcoin                                    0.0029 Customer Transfer
 Confidential Customer Coin Transferee #14629   [Address on File]    6/20/2023 Bitcoin                              0.00029518 Customer Transfer
 Confidential Customer Coin Transferee #14630   [Address on File]     6/2/2023 USDC Avalanche)                     1994.363381 Customer Transfer
 Confidential Customer Coin Transferee #14631   [Address on File]    5/25/2023 Bitcoin                              0.71785502 Customer Transfer
 Confidential Customer Coin Transferee #14631   [Address on File]    5/18/2023 Bitcoin                              0.31427452 Customer Transfer
 Confidential Customer Coin Transferee #14632   [Address on File]    6/20/2023 Bitcoin                              0.00005884 Customer Transfer
 Confidential Customer Coin Transferee #14633   [Address on File]    5/26/2023 Bitcoin                              0.03492223 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #14633   [Address on File]    5/19/2023 Bitcoin                              0.03377268 Customer Transfer
 Confidential Customer Coin Transferee #14634   [Address on File]    5/25/2023 Bitcoin                              0.00753186 Customer Transfer
 Confidential Customer Coin Transferee #14634   [Address on File]    5/31/2023 Bitcoin                              0.00494784 Customer Transfer
 Confidential Customer Coin Transferee #14635   [Address on File]     6/8/2023 Bitcoin                              0.00320967 Customer Transfer
 Confidential Customer Coin Transferee #14635   [Address on File]    6/20/2023 Bitcoin                              0.00030742 Customer Transfer
 Confidential Customer Coin Transferee #14636   [Address on File]    6/17/2023 Bitcoin                              0.00116984 Customer Transfer
 Confidential Customer Coin Transferee #14637   [Address on File]    5/19/2023 Bitcoin                              0.00249859 Customer Transfer
 Confidential Customer Coin Transferee #14637   [Address on File]    5/21/2023 Bitcoin                                    0.0011 Customer Transfer
 Confidential Customer Coin Transferee #14637   [Address on File]    5/26/2023 Bitcoin                              0.00068787 Customer Transfer
 Confidential Customer Coin Transferee #14637   [Address on File]    5/24/2023 Bitcoin                                  0.00045 Customer Transfer
 Confidential Customer Coin Transferee #14638   [Address on File]    5/21/2023 Bitcoin                              0.02051591 Customer Transfer
 Confidential Customer Coin Transferee #14639   [Address on File]    5/29/2023 Bitcoin                              0.00371321 Customer Transfer
 Confidential Customer Coin Transferee #14640   [Address on File]    5/26/2023 Bitcoin                              0.00322208 Customer Transfer
 Confidential Customer Coin Transferee #14641   [Address on File]     6/8/2023 Bitcoin                              0.01784194 Customer Transfer
 Confidential Customer Coin Transferee #14641   [Address on File]    6/16/2023 Bitcoin                              0.00460758 Customer Transfer
 Confidential Customer Coin Transferee #14642   [Address on File]     6/8/2023 Bitcoin                              0.35639508 Customer Transfer
 Confidential Customer Coin Transferee #14642   [Address on File]    6/19/2023 Bitcoin                              0.03277401 Customer Transfer
 Confidential Customer Coin Transferee #14643   [Address on File]    5/16/2023 Bitcoin                                        0.1 Customer Transfer
 Confidential Customer Coin Transferee #14644   [Address on File]    5/23/2023 Bitcoin                              0.01789453 Customer Transfer
 Confidential Customer Coin Transferee #14645   [Address on File]    5/28/2023 Bitcoin                              0.01238189 Customer Transfer
 Confidential Customer Coin Transferee #14645   [Address on File]    5/17/2023 Bitcoin                              0.00737063 Customer Transfer
 Confidential Customer Coin Transferee #14645   [Address on File]    5/18/2023 Bitcoin                              0.00109017 Customer Transfer
 Confidential Customer Coin Transferee #14645   [Address on File]    5/31/2023 Bitcoin                              0.00091546 Customer Transfer
 Confidential Customer Coin Transferee #14645   [Address on File]    5/31/2023 Bitcoin                              0.00036777 Customer Transfer
 Confidential Customer Coin Transferee #14645   [Address on File]    5/18/2023 Bitcoin                                 0.000363 Customer Transfer
 Confidential Customer Coin Transferee #14646   [Address on File]    5/16/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #14646   [Address on File]    5/29/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #14647   [Address on File]    5/25/2023 Bitcoin                              0.00247177 Customer Transfer
 Confidential Customer Coin Transferee #14647   [Address on File]    5/31/2023 Bitcoin                                  0.00081 Customer Transfer
 Confidential Customer Coin Transferee #14647   [Address on File]    5/25/2023 Bitcoin                              0.00075613 Customer Transfer
 Confidential Customer Coin Transferee #14647   [Address on File]    5/31/2023 Bitcoin                                  0.00014 Customer Transfer
 Confidential Customer Coin Transferee #14647   [Address on File]    5/30/2023 Bitcoin                                  0.00011 Customer Transfer
 Confidential Customer Coin Transferee #14647   [Address on File]    5/30/2023 Bitcoin                                  0.00011 Customer Transfer
 Confidential Customer Coin Transferee #14647   [Address on File]    5/30/2023 Bitcoin                                    0.0001 Customer Transfer
 Confidential Customer Coin Transferee #14648   [Address on File]    5/21/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14649   [Address on File]    5/21/2023 Bitcoin                              0.00239718 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14649   [Address on File]    5/23/2023 Bitcoin                              0.00130514 Customer Transfer
 Confidential Customer Coin Transferee #14649   [Address on File]    5/30/2023 Bitcoin                              0.00050828 Customer Transfer
 Confidential Customer Coin Transferee #14649   [Address on File]    5/20/2023 Bitcoin                              0.00019043 Customer Transfer
 Confidential Customer Coin Transferee #14649   [Address on File]    5/27/2023 Bitcoin                              0.00018658 Customer Transfer
 Confidential Customer Coin Transferee #14650   [Address on File]    5/18/2023 Bitcoin                                  0.00095 Customer Transfer
 Confidential Customer Coin Transferee #14650   [Address on File]    5/24/2023 Bitcoin                                  0.00095 Customer Transfer
 Confidential Customer Coin Transferee #14651   [Address on File]    5/21/2023 Bitcoin                              0.00639468 Customer Transfer
 Confidential Customer Coin Transferee #14652   [Address on File]    5/21/2023 Bitcoin                              0.01288293 Customer Transfer
 Confidential Customer Coin Transferee #14652   [Address on File]    5/27/2023 Bitcoin                                  0.01116 Customer Transfer
 Confidential Customer Coin Transferee #14653   [Address on File]    5/30/2023 Bitcoin                              0.00270188 Customer Transfer
 Confidential Customer Coin Transferee #14654   [Address on File]    5/17/2023 Bitcoin                              0.04154261 Customer Transfer
 Confidential Customer Coin Transferee #14655   [Address on File]    5/22/2023 Bitcoin                              0.01104089 Customer Transfer
 Confidential Customer Coin Transferee #14656   [Address on File]    5/16/2023 Bitcoin                              0.02754058 Customer Transfer
 Confidential Customer Coin Transferee #14656   [Address on File]    5/29/2023 Bitcoin                                 0.023374 Customer Transfer
 Confidential Customer Coin Transferee #14657   [Address on File]    5/21/2023 Bitcoin                              0.00733756 Customer Transfer
 Confidential Customer Coin Transferee #14658   [Address on File]    5/19/2023 Bitcoin                              0.16209397 Customer Transfer
 Confidential Customer Coin Transferee #14659   [Address on File]    5/26/2023 Bitcoin                              0.00375965 Customer Transfer
 Confidential Customer Coin Transferee #14659   [Address on File]    5/17/2023 Bitcoin                              0.00371662 Customer Transfer
 Confidential Customer Coin Transferee #14660   [Address on File]    5/24/2023 Bitcoin                              0.00143352 Customer Transfer
 Confidential Customer Coin Transferee #14660   [Address on File]    5/31/2023 Bitcoin                              0.00138675 Customer Transfer
 Confidential Customer Coin Transferee #14660   [Address on File]    5/17/2023 Bitcoin                              0.00135466 Customer Transfer
 Confidential Customer Coin Transferee #14661   [Address on File]    5/17/2023 Bitcoin                              0.17730515 Customer Transfer
 Confidential Customer Coin Transferee #14661   [Address on File]    5/17/2023 Bitcoin                                 0.004696 Customer Transfer
 Confidential Customer Coin Transferee #14661   [Address on File]    5/16/2023 Bitcoin                              0.00373059 Customer Transfer
 Confidential Customer Coin Transferee #14662   [Address on File]    5/29/2023 Bitcoin                              0.00282561 Customer Transfer
 Confidential Customer Coin Transferee #14662   [Address on File]    5/19/2023 Bitcoin                              0.00277668 Customer Transfer
 Confidential Customer Coin Transferee #14663   [Address on File]    5/19/2023 Bitcoin                                 0.000562 Customer Transfer
 Confidential Customer Coin Transferee #14663   [Address on File]    5/30/2023 Bitcoin                                 0.000545 Customer Transfer
 Confidential Customer Coin Transferee #14664   [Address on File]    5/21/2023 Bitcoin                              0.00369214 Customer Transfer
 Confidential Customer Coin Transferee #14665   [Address on File]    5/17/2023 Bitcoin                              0.00184522 Customer Transfer
 Confidential Customer Coin Transferee #14665   [Address on File]    5/28/2023 Bitcoin                              0.00094216 Customer Transfer
 Confidential Customer Coin Transferee #14666   [Address on File]    5/20/2023 Bitcoin                              0.00185283 Customer Transfer
 Confidential Customer Coin Transferee #14667   [Address on File]    5/24/2023 Bitcoin                               0.0055931 Customer Transfer
 Confidential Customer Coin Transferee #14667   [Address on File]    5/17/2023 Bitcoin                              0.00511448 Customer Transfer
 Confidential Customer Coin Transferee #14668   [Address on File]    6/19/2023 Bitcoin                              0.00040673 Customer Transfer
 Confidential Customer Coin Transferee #14669   [Address on File]    5/16/2023 Bitcoin                              0.00918298 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14670   [Address on File]    6/20/2023 Bitcoin                              0.00050594 Customer Transfer
 Confidential Customer Coin Transferee #14671   [Address on File]    6/20/2023 Bitcoin                              0.00006069 Customer Transfer
 Confidential Customer Coin Transferee #14672   [Address on File]    5/25/2023 Bitcoin                              0.03461084 Customer Transfer
 Confidential Customer Coin Transferee #14672   [Address on File]    5/19/2023 Bitcoin                              0.01481762 Customer Transfer
 Confidential Customer Coin Transferee #14673   [Address on File]    6/19/2023 Bitcoin                              0.00126695 Customer Transfer
 Confidential Customer Coin Transferee #14674   [Address on File]    5/24/2023 USDC Avalanche)                     2993.871225 Customer Transfer
 Confidential Customer Coin Transferee #14674   [Address on File]    6/16/2023 USDC Avalanche)                       993.43102 Customer Transfer
 Confidential Customer Coin Transferee #14674   [Address on File]    6/16/2023 USDC Avalanche)                      993.332004 Customer Transfer
 Confidential Customer Coin Transferee #14675   [Address on File]    6/20/2023 Bitcoin                              0.00211525 Customer Transfer
 Confidential Customer Coin Transferee #14676   [Address on File]    6/20/2023 Bitcoin                              0.00350258 Customer Transfer
 Confidential Customer Coin Transferee #14677   [Address on File]    5/30/2023 Bitcoin                              0.00388879 Customer Transfer
 Confidential Customer Coin Transferee #14677   [Address on File]    5/26/2023 Bitcoin                              0.00379175 Customer Transfer
 Confidential Customer Coin Transferee #14677   [Address on File]    5/26/2023 Bitcoin                              0.00248547 Customer Transfer
 Confidential Customer Coin Transferee #14677   [Address on File]    5/26/2023 Bitcoin                              0.00242564 Customer Transfer
 Confidential Customer Coin Transferee #14678   [Address on File]     6/8/2023 Bitcoin                               0.0204911 Customer Transfer
 Confidential Customer Coin Transferee #14679   [Address on File]    6/20/2023 Bitcoin                              0.00040702 Customer Transfer
 Confidential Customer Coin Transferee #14680   [Address on File]    5/25/2023 Bitcoin                              0.02900742 Customer Transfer
 Confidential Customer Coin Transferee #14681   [Address on File]    6/19/2023 Bitcoin                              0.01671193 Customer Transfer
 Confidential Customer Coin Transferee #14682   [Address on File]    6/19/2023 Bitcoin                              0.00005823 Customer Transfer
 Confidential Customer Coin Transferee #14683   [Address on File]    5/26/2023 Bitcoin                              0.29250198 Customer Transfer
 Confidential Customer Coin Transferee #14684   [Address on File]    5/25/2023 Bitcoin                              0.00179572 Customer Transfer
 Confidential Customer Coin Transferee #14684   [Address on File]    5/17/2023 Bitcoin                              0.00174498 Customer Transfer
 Confidential Customer Coin Transferee #14685   [Address on File]    6/19/2023 Bitcoin                              0.00046709 Customer Transfer
 Confidential Customer Coin Transferee #14686   [Address on File]     6/1/2023 Bitcoin                              0.00516225 Customer Transfer
 Confidential Customer Coin Transferee #14686   [Address on File]     6/7/2023 Bitcoin                              0.00464827 Customer Transfer
 Confidential Customer Coin Transferee #14686   [Address on File]     6/6/2023 Bitcoin                              0.00330118 Customer Transfer
 Confidential Customer Coin Transferee #14686   [Address on File]    6/13/2023 Bitcoin                              0.00304875 Customer Transfer
 Confidential Customer Coin Transferee #14686   [Address on File]    6/20/2023 Bitcoin                              0.00234607 Customer Transfer
 Confidential Customer Coin Transferee #14686   [Address on File]    5/22/2023 Bitcoin                              0.00221377 Customer Transfer
 Confidential Customer Coin Transferee #14686   [Address on File]    5/18/2023 Bitcoin                              0.00219435 Customer Transfer
 Confidential Customer Coin Transferee #14686   [Address on File]    6/12/2023 Bitcoin                              0.00192981 Customer Transfer
 Confidential Customer Coin Transferee #14686   [Address on File]    6/14/2023 Bitcoin                              0.00076258 Customer Transfer
 Confidential Customer Coin Transferee #14686   [Address on File]     6/8/2023 Bitcoin                              0.00073871 Customer Transfer
 Confidential Customer Coin Transferee #14687   [Address on File]    5/25/2023 Bitcoin                              0.00241196 Customer Transfer
 Confidential Customer Coin Transferee #14687   [Address on File]    5/18/2023 Bitcoin                              0.00053023 Customer Transfer
 Confidential Customer Coin Transferee #14688   [Address on File]    5/23/2023 Bitcoin                              0.05865732 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14688   [Address on File]    5/23/2023 Bitcoin                              0.04115346 Customer Transfer
 Confidential Customer Coin Transferee #14689   [Address on File]    6/20/2023 Bitcoin                              0.00059645 Customer Transfer
 Confidential Customer Coin Transferee #14690   [Address on File]     6/7/2023 Bitcoin                              0.00383633 Customer Transfer
 Confidential Customer Coin Transferee #14690   [Address on File]    5/24/2023 Bitcoin                              0.00373596 Customer Transfer
 Confidential Customer Coin Transferee #14690   [Address on File]    5/17/2023 Bitcoin                              0.00366097 Customer Transfer
 Confidential Customer Coin Transferee #14690   [Address on File]    5/19/2023 Bitcoin                              0.00365424 Customer Transfer
 Confidential Customer Coin Transferee #14690   [Address on File]    5/26/2023 Bitcoin                              0.00111777 Customer Transfer
 Confidential Customer Coin Transferee #14690   [Address on File]    5/25/2023 Bitcoin                              0.00074515 Customer Transfer
 Confidential Customer Coin Transferee #14691   [Address on File]    6/15/2023 USD Coin                              98.860455 Customer Transfer
 Confidential Customer Coin Transferee #14691   [Address on File]    5/29/2023 USD Coin                               4.997501 Customer Transfer
 Confidential Customer Coin Transferee #14691   [Address on File]    5/30/2023 USD Coin                               1.978614 Customer Transfer
 Confidential Customer Coin Transferee #14692   [Address on File]    5/16/2023 Bitcoin                               0.0135993 Customer Transfer
 Confidential Customer Coin Transferee #14693   [Address on File]    5/24/2023 Bitcoin                               0.0022307 Customer Transfer
 Confidential Customer Coin Transferee #14693   [Address on File]    5/31/2023 Bitcoin                              0.00222778 Customer Transfer
 Confidential Customer Coin Transferee #14693   [Address on File]    5/17/2023 Bitcoin                              0.00204614 Customer Transfer
 Confidential Customer Coin Transferee #14694   [Address on File]    6/20/2023 Bitcoin                              0.00045329 Customer Transfer

 Confidential Customer Coin Transferee #14695   [Address on File]    6/21/2023 Bitcoin                                     0.00355 Customer Transfer
 Confidential Customer Coin Transferee #14696   [Address on File]    6/20/2023 Bitcoin                                 0.00005638 Customer Transfer
 Confidential Customer Coin Transferee #14697   [Address on File]    6/20/2023 Bitcoin                                 0.00057888 Customer Transfer
 Confidential Customer Coin Transferee #14698   [Address on File]    5/26/2023 Bitcoin                                 0.00242241 Customer Transfer
 Confidential Customer Coin Transferee #14698   [Address on File]    5/17/2023 Bitcoin                                 0.00238087 Customer Transfer
 Confidential Customer Coin Transferee #14699   [Address on File]    5/29/2023 Bitcoin                                 0.00381666 Customer Transfer
 Confidential Customer Coin Transferee #14699   [Address on File]    5/16/2023 Bitcoin                                  0.0036712 Customer Transfer
 Confidential Customer Coin Transferee #14699   [Address on File]    5/22/2023 Bitcoin                                 0.00238429 Customer Transfer
 Confidential Customer Coin Transferee #14699   [Address on File]    6/12/2023 Bitcoin                                  0.0021877 Customer Transfer
 Confidential Customer Coin Transferee #14699   [Address on File]    5/22/2023 Bitcoin                                 0.00184668 Customer Transfer
 Confidential Customer Coin Transferee #14699   [Address on File]     6/1/2023 Bitcoin                                  0.0011637 Customer Transfer
 Confidential Customer Coin Transferee #14699   [Address on File]    6/18/2023 Bitcoin                                 0.00019189 Customer Transfer
 Confidential Customer Coin Transferee #14700   [Address on File]    6/20/2023 Bitcoin                                 0.00011634 Customer Transfer
 Confidential Customer Coin Transferee #14701   [Address on File]    6/19/2023 Bitcoin                                 0.00057872 Customer Transfer
 Confidential Customer Coin Transferee #14702   [Address on File]    5/21/2023 Bitcoin                                 0.02627087 Customer Transfer
 Confidential Customer Coin Transferee #14702   [Address on File]    5/27/2023 Bitcoin                                 0.02522352 Customer Transfer
 Confidential Customer Coin Transferee #14703   [Address on File]    5/26/2023 Bitcoin                                 0.02683598 Customer Transfer
 Confidential Customer Coin Transferee #14704   [Address on File]     6/7/2023 Bitcoin                                 0.00100131 Customer Transfer
 Confidential Customer Coin Transferee #14704   [Address on File]    6/20/2023 Bitcoin                                 0.00034594 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14705   [Address on File]    6/20/2023 Bitcoin                              0.00436247 Customer Transfer
 Confidential Customer Coin Transferee #14706   [Address on File]     6/1/2023 Bitcoin                              0.00053885 Customer Transfer
 Confidential Customer Coin Transferee #14707   [Address on File]    6/12/2023 Bitcoin                              0.00361337 Customer Transfer
 Confidential Customer Coin Transferee #14708   [Address on File]    5/16/2023 Bitcoin                              0.00820751 Customer Transfer
 Confidential Customer Coin Transferee #14708   [Address on File]    6/20/2023 Bitcoin                              0.00479891 Customer Transfer
 Confidential Customer Coin Transferee #14709   [Address on File]    5/21/2023 Bitcoin                              0.01830044 Customer Transfer
 Confidential Customer Coin Transferee #14710   [Address on File]    6/19/2023 Bitcoin                              0.00169615 Customer Transfer
 Confidential Customer Coin Transferee #14711   [Address on File]    5/16/2023 Bitcoin                              0.00977535 Customer Transfer
 Confidential Customer Coin Transferee #14712   [Address on File]     6/5/2023 Bitcoin                              0.00359486 Customer Transfer
 Confidential Customer Coin Transferee #14713   [Address on File]    5/23/2023 Bitcoin                              0.04822659 Customer Transfer
 Confidential Customer Coin Transferee #14713   [Address on File]    5/18/2023 Bitcoin                              0.04045194 Customer Transfer

 Confidential Customer Coin Transferee #14714   [Address on File]    5/22/2023 Bitcoin                                          1 Customer Transfer
 Confidential Customer Coin Transferee #14715   [Address on File]    5/26/2023 Bitcoin                                 0.00364399 Customer Transfer
 Confidential Customer Coin Transferee #14715   [Address on File]    5/19/2023 Bitcoin                                 0.00357031 Customer Transfer
 Confidential Customer Coin Transferee #14716   [Address on File]    6/19/2023 Bitcoin                                 0.00300514 Customer Transfer
 Confidential Customer Coin Transferee #14717   [Address on File]    6/20/2023 Bitcoin                                 0.00005614 Customer Transfer
 Confidential Customer Coin Transferee #14718   [Address on File]    5/20/2023 Bitcoin                                 0.35253028 Customer Transfer
 Confidential Customer Coin Transferee #14718   [Address on File]    5/26/2023 Bitcoin                                 0.00920287 Customer Transfer
 Confidential Customer Coin Transferee #14718   [Address on File]    5/19/2023 Bitcoin                                 0.00904507 Customer Transfer
 Confidential Customer Coin Transferee #14719   [Address on File]    6/20/2023 Bitcoin                                 0.00290331 Customer Transfer
 Confidential Customer Coin Transferee #14720   [Address on File]    6/19/2023 Bitcoin                                 0.00205484 Customer Transfer
 Confidential Customer Coin Transferee #14721   [Address on File]    5/22/2023 Bitcoin                                 0.01222373 Customer Transfer
 Confidential Customer Coin Transferee #14722   [Address on File]    5/19/2023 Bitcoin                                 0.02628711 Customer Transfer
 Confidential Customer Coin Transferee #14723   [Address on File]    6/15/2023 Bitcoin                                 0.00984306 Customer Transfer
 Confidential Customer Coin Transferee #14723   [Address on File]    5/26/2023 Bitcoin                                  0.0037053 Customer Transfer
 Confidential Customer Coin Transferee #14723   [Address on File]     6/1/2023 Bitcoin                                  0.0036285 Customer Transfer
 Confidential Customer Coin Transferee #14723   [Address on File]     6/9/2023 Bitcoin                                 0.00184693 Customer Transfer
 Confidential Customer Coin Transferee #14724   [Address on File]    6/20/2023 Bitcoin                                 0.01728234 Customer Transfer
 Confidential Customer Coin Transferee #14725   [Address on File]    5/31/2023 Bitcoin                                 0.02800404 Customer Transfer
 Confidential Customer Coin Transferee #14725   [Address on File]    5/28/2023 Bitcoin                                 0.02737187 Customer Transfer
 Confidential Customer Coin Transferee #14726   [Address on File]     6/5/2023 Bitcoin                                 0.00364341 Customer Transfer
 Confidential Customer Coin Transferee #14727   [Address on File]    6/12/2023 Bitcoin                                 0.00112262 Customer Transfer
 Confidential Customer Coin Transferee #14727   [Address on File]    5/19/2023 Bitcoin                                 0.00106213 Customer Transfer
 Confidential Customer Coin Transferee #14727   [Address on File]     6/5/2023 Bitcoin                                  0.0010569 Customer Transfer
 Confidential Customer Coin Transferee #14727   [Address on File]     6/7/2023 Bitcoin                                 0.00104864 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #14727   [Address on File]    5/29/2023 Bitcoin                              0.00101864 Customer Transfer
 Confidential Customer Coin Transferee #14727   [Address on File]    6/19/2023 Bitcoin                              0.00042904 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/16/2023 Bitcoin                              0.00073037 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/31/2023 Bitcoin                              0.00072789 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/24/2023 Bitcoin                               0.0003783 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/25/2023 Bitcoin                              0.00037812 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/27/2023 Bitcoin                              0.00037277 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/17/2023 Bitcoin                               0.0003719 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/26/2023 Bitcoin                              0.00037122 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/22/2023 Bitcoin                              0.00037027 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/20/2023 Bitcoin                              0.00036942 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/20/2023 Bitcoin                              0.00036925 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/21/2023 Bitcoin                              0.00036904 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/18/2023 Bitcoin                              0.00036641 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/19/2023 Bitcoin                              0.00036641 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/28/2023 Bitcoin                              0.00036526 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/23/2023 Bitcoin                               0.0003639 Customer Transfer
 Confidential Customer Coin Transferee #14728   [Address on File]    5/29/2023 Bitcoin                              0.00035831 Customer Transfer
 Confidential Customer Coin Transferee #14729   [Address on File]    6/19/2023 Bitcoin                              0.00076357 Customer Transfer
 Confidential Customer Coin Transferee #14730   [Address on File]    5/17/2023 Bitcoin                              0.00037356 Customer Transfer
 Confidential Customer Coin Transferee #14731   [Address on File]    5/26/2023 Bitcoin                              0.00467446 Customer Transfer
 Confidential Customer Coin Transferee #14732   [Address on File]    5/22/2023 Bitcoin                              0.01058099 Customer Transfer
 Confidential Customer Coin Transferee #14733   [Address on File]     6/6/2023 USDC Avalanche)                      996.071964 Customer Transfer
 Confidential Customer Coin Transferee #14733   [Address on File]     6/6/2023 USDC Avalanche)                      197.261369 Customer Transfer
 Confidential Customer Coin Transferee #14734   [Address on File]    5/19/2023 Bitcoin                                 0.006814 Customer Transfer
 Confidential Customer Coin Transferee #14735   [Address on File]    5/30/2023 Bitcoin                              0.01002351 Customer Transfer
 Confidential Customer Coin Transferee #14736   [Address on File]    5/17/2023 Litecoin                                     1.47 Customer Transfer
 Confidential Customer Coin Transferee #14737   [Address on File]    6/19/2023 Bitcoin                               0.0001379 Customer Transfer

 Confidential Customer Coin Transferee #14738   [Address on File]    6/21/2023 USDC Avalanche)                         183.725333 Customer Transfer

 Confidential Customer Coin Transferee #14738   [Address on File]    6/14/2023 Cosmos Hub ATOM)                          7.060645 Customer Transfer
 Confidential Customer Coin Transferee #14739   [Address on File]    5/25/2023 Bitcoin                                  0.2264982 Customer Transfer
 Confidential Customer Coin Transferee #14739   [Address on File]    5/24/2023 Bitcoin                                 0.18456873 Customer Transfer
 Confidential Customer Coin Transferee #14740   [Address on File]    6/20/2023 Bitcoin                                 0.00005824 Customer Transfer
 Confidential Customer Coin Transferee #14741   [Address on File]    5/22/2023 Bitcoin                                 0.18039758 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #14742   [Address on File]    5/26/2023 Bitcoin                              0.00940777 Customer Transfer
 Confidential Customer Coin Transferee #14743   [Address on File]    5/28/2023 Bitcoin                              0.00365909 Customer Transfer
 Confidential Customer Coin Transferee #14743   [Address on File]    5/17/2023 Bitcoin                               0.0036299 Customer Transfer
 Confidential Customer Coin Transferee #14743   [Address on File]    5/29/2023 Bitcoin                               0.0035404 Customer Transfer
 Confidential Customer Coin Transferee #14743   [Address on File]    5/19/2023 Bitcoin                              0.00221875 Customer Transfer
 Confidential Customer Coin Transferee #14744   [Address on File]    5/30/2023 Bitcoin                                  0.00162 Customer Transfer
 Confidential Customer Coin Transferee #14745   [Address on File]    5/20/2023 Bitcoin                                       0.04 Customer Transfer
 Confidential Customer Coin Transferee #14746   [Address on File]    5/20/2023 Bitcoin                              0.00309236 Customer Transfer
 Confidential Customer Coin Transferee #14746   [Address on File]    5/28/2023 Bitcoin                               0.0022375 Customer Transfer
 Confidential Customer Coin Transferee #14746   [Address on File]    5/23/2023 Bitcoin                              0.00132507 Customer Transfer
 Confidential Customer Coin Transferee #14747   [Address on File]    5/20/2023 Bitcoin                                    0.0001 Customer Transfer
 Confidential Customer Coin Transferee #14747   [Address on File]    5/29/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #14748   [Address on File]    5/28/2023 Bitcoin                                        0.2 Customer Transfer
 Confidential Customer Coin Transferee #14748   [Address on File]    5/28/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #14749   [Address on File]    5/31/2023 Bitcoin                               0.0053283 Customer Transfer
 Confidential Customer Coin Transferee #14750   [Address on File]    5/26/2023 Bitcoin                              0.00223283 Customer Transfer
 Confidential Customer Coin Transferee #14750   [Address on File]    5/31/2023 Bitcoin                                 0.001208 Customer Transfer
 Confidential Customer Coin Transferee #14750   [Address on File]    5/20/2023 Bitcoin                              0.00113179 Customer Transfer
 Confidential Customer Coin Transferee #14750   [Address on File]    5/31/2023 Bitcoin                              0.00071859 Customer Transfer
 Confidential Customer Coin Transferee #14751   [Address on File]    5/18/2023 Bitcoin                              0.00007822 Customer Transfer
 Confidential Customer Coin Transferee #14752   [Address on File]    5/30/2023 Bitcoin                              0.00358538 Customer Transfer
 Confidential Customer Coin Transferee #14753   [Address on File]    5/27/2023 Bitcoin                              0.01137173 Customer Transfer
 Confidential Customer Coin Transferee #14754   [Address on File]    5/19/2023 Bitcoin                              0.00663414 Customer Transfer
 Confidential Customer Coin Transferee #14754   [Address on File]    5/24/2023 Bitcoin                               0.0055439 Customer Transfer
 Confidential Customer Coin Transferee #14754   [Address on File]    5/28/2023 Bitcoin                              0.00294179 Customer Transfer
 Confidential Customer Coin Transferee #14754   [Address on File]    5/26/2023 Bitcoin                              0.00228069 Customer Transfer
 Confidential Customer Coin Transferee #14754   [Address on File]    5/26/2023 Bitcoin                              0.00075202 Customer Transfer
 Confidential Customer Coin Transferee #14755   [Address on File]    5/30/2023 Bitcoin                                 0.002089 Customer Transfer
 Confidential Customer Coin Transferee #14756   [Address on File]    5/17/2023 Bitcoin                              0.12244426 Customer Transfer
 Confidential Customer Coin Transferee #14757   [Address on File]    6/20/2023 Bitcoin                              0.02709256 Customer Transfer
 Confidential Customer Coin Transferee #14758   [Address on File]    5/23/2023 Bitcoin                              0.00368386 Customer Transfer
 Confidential Customer Coin Transferee #14759   [Address on File]    5/26/2023 Bitcoin                                 0.005457 Customer Transfer
 Confidential Customer Coin Transferee #14759   [Address on File]    5/26/2023 Bitcoin                               0.0051505 Customer Transfer
 Confidential Customer Coin Transferee #14759   [Address on File]    5/26/2023 Bitcoin                              0.00344896 Customer Transfer
 Confidential Customer Coin Transferee #14760   [Address on File]    5/19/2023 Bitcoin                              0.03250538 Customer Transfer
 Confidential Customer Coin Transferee #14761   [Address on File]    6/20/2023 Bitcoin                              0.00111516 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14762   [Address on File]    5/29/2023 Bitcoin                              0.00116086 Customer Transfer
 Confidential Customer Coin Transferee #14763   [Address on File]    6/20/2023 Bitcoin                              0.00584166 Customer Transfer
 Confidential Customer Coin Transferee #14764   [Address on File]    5/17/2023 Bitcoin                              0.00595093 Customer Transfer
 Confidential Customer Coin Transferee #14765   [Address on File]    6/19/2023 Bitcoin                              0.00005634 Customer Transfer
 Confidential Customer Coin Transferee #14766   [Address on File]    5/25/2023 Bitcoin                               0.0108595 Customer Transfer
 Confidential Customer Coin Transferee #14767   [Address on File]    5/19/2023 Bitcoin                              0.41527075 Customer Transfer
 Confidential Customer Coin Transferee #14768   [Address on File]     6/8/2023 Bitcoin                              0.00950528 Customer Transfer
 Confidential Customer Coin Transferee #14769   [Address on File]    5/28/2023 Bitcoin                              0.03004326 Customer Transfer
 Confidential Customer Coin Transferee #14770   [Address on File]     6/5/2023 Tether USD                            481.47667 Customer Transfer
 Confidential Customer Coin Transferee #14771   [Address on File]    6/20/2023 Bitcoin                              0.00538926 Customer Transfer
 Confidential Customer Coin Transferee #14772   [Address on File]    6/19/2023 Bitcoin                              0.00020868 Customer Transfer
 Confidential Customer Coin Transferee #14773   [Address on File]    6/20/2023 Bitcoin                              0.00118549 Customer Transfer
 Confidential Customer Coin Transferee #14774   [Address on File]    5/31/2023 Bitcoin                              0.01068303 Customer Transfer
 Confidential Customer Coin Transferee #14775   [Address on File]    6/19/2023 Bitcoin                              0.01117523 Customer Transfer
 Confidential Customer Coin Transferee #14776   [Address on File]    5/22/2023 USDC Avalanche)                       33.469959 Customer Transfer
 Confidential Customer Coin Transferee #14777   [Address on File]    5/24/2023 Bitcoin                              0.01433968 Customer Transfer
 Confidential Customer Coin Transferee #14778   [Address on File]    6/19/2023 USDC Avalanche)                       96.202153 Customer Transfer
 Confidential Customer Coin Transferee #14779   [Address on File]    6/19/2023 Bitcoin                              0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #14780   [Address on File]    5/22/2023 Bitcoin                              0.01176299 Customer Transfer
 Confidential Customer Coin Transferee #14781   [Address on File]    5/26/2023 Bitcoin                              0.00092463 Customer Transfer
 Confidential Customer Coin Transferee #14781   [Address on File]    5/19/2023 Bitcoin                              0.00090179 Customer Transfer
 Confidential Customer Coin Transferee #14782   [Address on File]    5/18/2023 Bitcoin                              0.00934655 Customer Transfer
 Confidential Customer Coin Transferee #14782   [Address on File]    5/17/2023 Bitcoin                              0.00934091 Customer Transfer
 Confidential Customer Coin Transferee #14782   [Address on File]    5/24/2023 Bitcoin                              0.00563718 Customer Transfer
 Confidential Customer Coin Transferee #14783   [Address on File]    5/18/2023 Bitcoin                              0.00719899 Customer Transfer
 Confidential Customer Coin Transferee #14784   [Address on File]    5/27/2023 Bitcoin                              0.00074435 Customer Transfer
 Confidential Customer Coin Transferee #14784   [Address on File]    5/24/2023 Bitcoin                              0.00037214 Customer Transfer
 Confidential Customer Coin Transferee #14784   [Address on File]    5/18/2023 Bitcoin                              0.00036242 Customer Transfer
 Confidential Customer Coin Transferee #14784   [Address on File]    5/30/2023 Bitcoin                              0.00035602 Customer Transfer
 Confidential Customer Coin Transferee #14785   [Address on File]    5/19/2023 Bitcoin                              0.00369676 Customer Transfer
 Confidential Customer Coin Transferee #14785   [Address on File]    5/27/2023 Bitcoin                              0.00277482 Customer Transfer
 Confidential Customer Coin Transferee #14785   [Address on File]    5/19/2023 Bitcoin                              0.00258886 Customer Transfer
 Confidential Customer Coin Transferee #14785   [Address on File]    5/30/2023 Bitcoin                              0.00133117 Customer Transfer
 Confidential Customer Coin Transferee #14785   [Address on File]    5/29/2023 Bitcoin                              0.00123305 Customer Transfer
 Confidential Customer Coin Transferee #14785   [Address on File]    5/27/2023 Bitcoin                              0.00109248 Customer Transfer
 Confidential Customer Coin Transferee #14785   [Address on File]    5/27/2023 Bitcoin                              0.00109134 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14785   [Address on File]    5/28/2023 Bitcoin                              0.00071868 Customer Transfer
 Confidential Customer Coin Transferee #14786   [Address on File]    5/18/2023 Bitcoin                               0.0100228 Customer Transfer
 Confidential Customer Coin Transferee #14786   [Address on File]    5/23/2023 Bitcoin                              0.00787544 Customer Transfer
 Confidential Customer Coin Transferee #14786   [Address on File]    5/23/2023 Bitcoin                              0.00331018 Customer Transfer
 Confidential Customer Coin Transferee #14786   [Address on File]    5/22/2023 Bitcoin                              0.00074638 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/21/2023 Bitcoin                               0.0142973 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/18/2023 Bitcoin                               0.0142192 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/30/2023 Bitcoin                               0.0122301 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/31/2023 Bitcoin                               0.0113644 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/18/2023 Bitcoin                                 0.011356 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/21/2023 Bitcoin                                 0.009749 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/26/2023 Bitcoin                               0.0086658 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/28/2023 Bitcoin                               0.0083932 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/21/2023 Bitcoin                              0.00744052 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/30/2023 Bitcoin                              0.00722582 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/30/2023 Bitcoin                               0.0066188 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/17/2023 Bitcoin                               0.0059632 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/17/2023 Bitcoin                               0.0059578 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/26/2023 Bitcoin                              0.00575955 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/17/2023 Bitcoin                               0.0057125 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/31/2023 Bitcoin                               0.0056945 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/17/2023 Bitcoin                               0.0056344 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/30/2023 Bitcoin                               0.0048729 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/30/2023 Bitcoin                                  0.00432 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/21/2023 Bitcoin                               0.0038632 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/17/2023 Bitcoin                                 0.003342 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/17/2023 Bitcoin                                 0.002988 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/22/2023 Bitcoin                                 0.002889 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/17/2023 Bitcoin                                 0.002232 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/27/2023 Bitcoin                               0.0020561 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/31/2023 Bitcoin                               0.0016662 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/27/2023 Bitcoin                               0.0014007 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/23/2023 Bitcoin                               0.0012814 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/31/2023 Bitcoin                               0.0009221 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/22/2023 Bitcoin                                 0.000653 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/22/2023 Bitcoin                                 0.000485 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/30/2023 Bitcoin                               0.0004503 Customer Transfer
 Confidential Customer Coin Transferee #14787   [Address on File]    5/18/2023 Bitcoin                               0.0000376 Customer Transfer
 Confidential Customer Coin Transferee #14788   [Address on File]    6/20/2023 Bitcoin                              0.00368107 Customer Transfer
 Confidential Customer Coin Transferee #14789   [Address on File]    5/23/2023 Bitcoin                              0.05126931 Customer Transfer
 Confidential Customer Coin Transferee #14790   [Address on File]    5/16/2023 Bitcoin                              0.07163374 Customer Transfer
 Confidential Customer Coin Transferee #14791   [Address on File]    5/23/2023 Bitcoin                              0.01827654 Customer Transfer
 Confidential Customer Coin Transferee #14792   [Address on File]    6/19/2023 Bitcoin                              0.00005798 Customer Transfer

 Confidential Customer Coin Transferee #14793   [Address on File]    5/17/2023 Bitcoin                                 0.00706415 Customer Transfer

 Confidential Customer Coin Transferee #14793   [Address on File]    5/24/2023 Bitcoin                                 0.00630231 Customer Transfer
 Confidential Customer Coin Transferee #14794   [Address on File]     6/4/2023 Ether                                      0.100972 Customer Transfer
 Confidential Customer Coin Transferee #14795   [Address on File]    5/27/2023 Bitcoin                                 0.00683474 Customer Transfer
 Confidential Customer Coin Transferee #14795   [Address on File]    5/20/2023 Bitcoin                                 0.00625632 Customer Transfer
 Confidential Customer Coin Transferee #14796   [Address on File]    5/29/2023 Bitcoin                                  0.0037029 Customer Transfer
 Confidential Customer Coin Transferee #14796   [Address on File]    5/22/2023 Bitcoin                                 0.00368978 Customer Transfer
 Confidential Customer Coin Transferee #14797   [Address on File]    5/24/2023 Bitcoin                                 0.00846702 Customer Transfer
 Confidential Customer Coin Transferee #14798   [Address on File]    5/29/2023 Bitcoin                                 0.00403482 Customer Transfer
 Confidential Customer Coin Transferee #14798   [Address on File]    5/17/2023 Bitcoin                                 0.00378491 Customer Transfer
 Confidential Customer Coin Transferee #14799   [Address on File]    6/19/2023 Bitcoin                                 0.00383633 Customer Transfer

 Confidential Customer Coin Transferee #14800   [Address on File]    5/17/2023 Bitcoin                                    0.02187 Customer Transfer

 Confidential Customer Coin Transferee #14800   [Address on File]     6/8/2023 Bitcoin                                    0.01765 Customer Transfer

 Confidential Customer Coin Transferee #14800   [Address on File]    6/15/2023 Bitcoin                                 0.00622273 Customer Transfer
 Confidential Customer Coin Transferee #14801   [Address on File]    5/24/2023 Bitcoin                                 0.02339023 Customer Transfer
 Confidential Customer Coin Transferee #14801   [Address on File]    5/17/2023 Bitcoin                                 0.01780581 Customer Transfer

 Confidential Customer Coin Transferee #14802   [Address on File]    5/17/2023 Bitcoin                                 0.04338873 Customer Transfer
 Confidential Customer Coin Transferee #14803   [Address on File]    6/20/2023 Bitcoin                                 0.00399789 Customer Transfer
 Confidential Customer Coin Transferee #14804   [Address on File]    6/20/2023 Bitcoin                                 0.00247545 Customer Transfer
 Confidential Customer Coin Transferee #14805   [Address on File]    5/24/2023 Bitcoin                                  0.0744416 Customer Transfer
 Confidential Customer Coin Transferee #14805   [Address on File]    5/24/2023 Bitcoin                                 0.00752317 Customer Transfer
 Confidential Customer Coin Transferee #14805   [Address on File]    5/30/2023 Bitcoin                                 0.00356572 Customer Transfer
 Confidential Customer Coin Transferee #14806   [Address on File]    5/21/2023 Bitcoin                                 0.00404514 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14807   [Address on File]    5/19/2023 Bitcoin                              0.01533039 Customer Transfer
 Confidential Customer Coin Transferee #14808   [Address on File]    5/22/2023 Bitcoin                               0.0038827 Customer Transfer
 Confidential Customer Coin Transferee #14809   [Address on File]    5/16/2023 Bitcoin                              0.21403524 Customer Transfer
 Confidential Customer Coin Transferee #14810   [Address on File]    5/18/2023 Bitcoin                                   0.0079 Customer Transfer
 Confidential Customer Coin Transferee #14810   [Address on File]    5/23/2023 Bitcoin                                   0.0039 Customer Transfer
 Confidential Customer Coin Transferee #14811   [Address on File]    5/22/2023 Bitcoin                              0.00026359 Customer Transfer
 Confidential Customer Coin Transferee #14812   [Address on File]    5/22/2023 Bitcoin                              0.00450414 Customer Transfer
 Confidential Customer Coin Transferee #14813   [Address on File]    6/19/2023 Bitcoin                              0.00294586 Customer Transfer
 Confidential Customer Coin Transferee #14814   [Address on File]     6/2/2023 Bitcoin                              0.04461265 Customer Transfer
 Confidential Customer Coin Transferee #14814   [Address on File]     6/8/2023 Bitcoin                              0.01517265 Customer Transfer
 Confidential Customer Coin Transferee #14815   [Address on File]     6/2/2023 Bitcoin                              0.01565855 Customer Transfer
 Confidential Customer Coin Transferee #14815   [Address on File]     6/4/2023 Bitcoin                              0.01151609 Customer Transfer
 Confidential Customer Coin Transferee #14816   [Address on File]    5/28/2023 Bitcoin                              0.00383207 Customer Transfer
 Confidential Customer Coin Transferee #14816   [Address on File]    5/18/2023 Bitcoin                              0.00273741 Customer Transfer
 Confidential Customer Coin Transferee #14816   [Address on File]    5/22/2023 Bitcoin                              0.00246113 Customer Transfer
 Confidential Customer Coin Transferee #14816   [Address on File]    5/17/2023 Bitcoin                              0.00205004 Customer Transfer
 Confidential Customer Coin Transferee #14816   [Address on File]    5/26/2023 Bitcoin                              0.00203873 Customer Transfer
 Confidential Customer Coin Transferee #14816   [Address on File]    5/21/2023 Bitcoin                              0.00201631 Customer Transfer
 Confidential Customer Coin Transferee #14816   [Address on File]    5/30/2023 Bitcoin                              0.00195578 Customer Transfer
 Confidential Customer Coin Transferee #14816   [Address on File]    5/23/2023 Bitcoin                              0.00164005 Customer Transfer
 Confidential Customer Coin Transferee #14816   [Address on File]    5/26/2023 Bitcoin                              0.00157993 Customer Transfer
 Confidential Customer Coin Transferee #14816   [Address on File]    5/16/2023 Bitcoin                              0.00128536 Customer Transfer
 Confidential Customer Coin Transferee #14816   [Address on File]    5/25/2023 Bitcoin                              0.00105538 Customer Transfer
 Confidential Customer Coin Transferee #14817   [Address on File]    6/20/2023 Bitcoin                              0.00279986 Customer Transfer
 Confidential Customer Coin Transferee #14818   [Address on File]    5/18/2023 Bitcoin                              0.01815211 Customer Transfer
 Confidential Customer Coin Transferee #14818   [Address on File]    5/18/2023 Bitcoin                              0.01453914 Customer Transfer
 Confidential Customer Coin Transferee #14818   [Address on File]    5/18/2023 Bitcoin                              0.01452733 Customer Transfer
 Confidential Customer Coin Transferee #14818   [Address on File]    5/17/2023 Bitcoin                              0.01109329 Customer Transfer
 Confidential Customer Coin Transferee #14818   [Address on File]    5/18/2023 Bitcoin                              0.00909166 Customer Transfer
 Confidential Customer Coin Transferee #14818   [Address on File]    5/26/2023 Bitcoin                              0.00751564 Customer Transfer
 Confidential Customer Coin Transferee #14818   [Address on File]    5/22/2023 Bitcoin                              0.00740342 Customer Transfer
 Confidential Customer Coin Transferee #14818   [Address on File]    5/31/2023 Bitcoin                              0.00549112 Customer Transfer
 Confidential Customer Coin Transferee #14819   [Address on File]    5/24/2023 Bitcoin                              0.00033348 Customer Transfer
 Confidential Customer Coin Transferee #14820   [Address on File]    5/25/2023 Bitcoin                              0.05349142 Customer Transfer
 Confidential Customer Coin Transferee #14821   [Address on File]    5/29/2023 Bitcoin                                    0.135 Customer Transfer
 Confidential Customer Coin Transferee #14821   [Address on File]    5/29/2023 Bitcoin                                    0.004 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14822   [Address on File]    5/16/2023 Bitcoin                              0.00015633 Customer Transfer
 Confidential Customer Coin Transferee #14822   [Address on File]    5/22/2023 Bitcoin                              0.00010101 Customer Transfer
 Confidential Customer Coin Transferee #14822   [Address on File]    5/21/2023 Bitcoin                              0.00007463 Customer Transfer
 Confidential Customer Coin Transferee #14823   [Address on File]    5/30/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #14823   [Address on File]    5/30/2023 Bitcoin                              0.00101714 Customer Transfer
 Confidential Customer Coin Transferee #14823   [Address on File]    5/30/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #14824   [Address on File]    6/19/2023 Bitcoin                               0.0180892 Customer Transfer
 Confidential Customer Coin Transferee #14825   [Address on File]    6/18/2023 Bitcoin                              0.00221224 Customer Transfer
 Confidential Customer Coin Transferee #14826   [Address on File]    6/21/2023 USD Coin                                    9987 Customer Transfer
 Confidential Customer Coin Transferee #14826   [Address on File]     6/9/2023 Tether USD                                  1000 Customer Transfer
 Confidential Customer Coin Transferee #14827   [Address on File]    6/19/2023 Bitcoin                              0.00466037 Customer Transfer
 Confidential Customer Coin Transferee #14828   [Address on File]    5/23/2023 Bitcoin                              0.01059877 Customer Transfer
 Confidential Customer Coin Transferee #14829   [Address on File]    5/29/2023 Bitcoin                              0.02792117 Customer Transfer
 Confidential Customer Coin Transferee #14829   [Address on File]    5/31/2023 Bitcoin                              0.00359501 Customer Transfer
 Confidential Customer Coin Transferee #14829   [Address on File]    5/30/2023 Bitcoin                              0.00359204 Customer Transfer
 Confidential Customer Coin Transferee #14829   [Address on File]    5/29/2023 Bitcoin                              0.00356503 Customer Transfer
 Confidential Customer Coin Transferee #14829   [Address on File]    5/29/2023 Bitcoin                              0.00349873 Customer Transfer
 Confidential Customer Coin Transferee #14830   [Address on File]    5/18/2023 Bitcoin                              0.03642178 Customer Transfer
 Confidential Customer Coin Transferee #14830   [Address on File]    5/26/2023 Bitcoin                              0.01879087 Customer Transfer
 Confidential Customer Coin Transferee #14831   [Address on File]    6/21/2023 USD Coin                             507.662415 Customer Transfer
 Confidential Customer Coin Transferee #14831   [Address on File]    6/20/2023 USD Coin                             477.752316 Customer Transfer
 Confidential Customer Coin Transferee #14832   [Address on File]    5/30/2023 Bitcoin                              0.00645656 Customer Transfer
 Confidential Customer Coin Transferee #14832   [Address on File]    5/19/2023 Bitcoin                              0.00611297 Customer Transfer
 Confidential Customer Coin Transferee #14833   [Address on File]    6/19/2023 Bitcoin                              0.00181114 Customer Transfer
 Confidential Customer Coin Transferee #14834   [Address on File]    6/20/2023 Bitcoin                              0.00041813 Customer Transfer
 Confidential Customer Coin Transferee #14835   [Address on File]    6/20/2023 Bitcoin                              0.00161265 Customer Transfer
 Confidential Customer Coin Transferee #14836   [Address on File]    5/24/2023 Bitcoin                              0.00109482 Customer Transfer
 Confidential Customer Coin Transferee #14836   [Address on File]    5/22/2023 Bitcoin                              0.00070012 Customer Transfer
 Confidential Customer Coin Transferee #14837   [Address on File]    5/17/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #14837   [Address on File]    5/16/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #14838   [Address on File]    5/26/2023 Bitcoin                              0.00092882 Customer Transfer
 Confidential Customer Coin Transferee #14838   [Address on File]    5/27/2023 Bitcoin                              0.00073092 Customer Transfer
 Confidential Customer Coin Transferee #14838   [Address on File]    5/26/2023 Bitcoin                              0.00023751 Customer Transfer
 Confidential Customer Coin Transferee #14839   [Address on File]    5/27/2023 Bitcoin                              0.03724552 Customer Transfer
 Confidential Customer Coin Transferee #14839   [Address on File]    5/30/2023 Bitcoin                              0.01787871 Customer Transfer
 Confidential Customer Coin Transferee #14839   [Address on File]    5/17/2023 Bitcoin                              0.00739248 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14839   [Address on File]    5/20/2023 Bitcoin                              0.00739036 Customer Transfer
 Confidential Customer Coin Transferee #14839   [Address on File]    5/23/2023 Bitcoin                              0.00545775 Customer Transfer
 Confidential Customer Coin Transferee #14840   [Address on File]    5/19/2023 Bitcoin                              0.00563042 Customer Transfer
 Confidential Customer Coin Transferee #14841   [Address on File]    6/20/2023 Bitcoin                              0.00021262 Customer Transfer
 Confidential Customer Coin Transferee #14842   [Address on File]     6/6/2023 Bitcoin                              0.00096751 Customer Transfer
 Confidential Customer Coin Transferee #14843   [Address on File]    5/22/2023 Bitcoin                              0.00389721 Customer Transfer
 Confidential Customer Coin Transferee #14844   [Address on File]    5/27/2023 USD Coin                              14.962518 Customer Transfer
 Confidential Customer Coin Transferee #14845   [Address on File]    5/16/2023 Bitcoin                               0.0018398 Customer Transfer
 Confidential Customer Coin Transferee #14845   [Address on File]    5/16/2023 Bitcoin                              0.00110049 Customer Transfer
 Confidential Customer Coin Transferee #14845   [Address on File]    5/30/2023 Bitcoin                              0.00087017 Customer Transfer
 Confidential Customer Coin Transferee #14845   [Address on File]    5/28/2023 Bitcoin                               0.0007453 Customer Transfer
 Confidential Customer Coin Transferee #14845   [Address on File]    5/16/2023 Bitcoin                              0.00036673 Customer Transfer
 Confidential Customer Coin Transferee #14845   [Address on File]    5/25/2023 Bitcoin                              0.00032307 Customer Transfer
 Confidential Customer Coin Transferee #14845   [Address on File]    5/28/2023 Bitcoin                                  0.00031 Customer Transfer
 Confidential Customer Coin Transferee #14846   [Address on File]    5/17/2023 Bitcoin                              0.00016635 Customer Transfer
 Confidential Customer Coin Transferee #14847   [Address on File]    6/19/2023 Bitcoin                              0.00369898 Customer Transfer
 Confidential Customer Coin Transferee #14848   [Address on File]    5/17/2023 Bitcoin                                 0.004633 Customer Transfer
 Confidential Customer Coin Transferee #14849   [Address on File]    5/25/2023 Bitcoin                              0.00377108 Customer Transfer
 Confidential Customer Coin Transferee #14849   [Address on File]    5/26/2023 Bitcoin                              0.00371878 Customer Transfer
 Confidential Customer Coin Transferee #14850   [Address on File]    5/16/2023 Bitcoin                                 0.003665 Customer Transfer
 Confidential Customer Coin Transferee #14850   [Address on File]    5/30/2023 Bitcoin                              0.00358571 Customer Transfer
 Confidential Customer Coin Transferee #14851   [Address on File]    5/26/2023 Bitcoin                              0.01274502 Customer Transfer
 Confidential Customer Coin Transferee #14851   [Address on File]    5/18/2023 Bitcoin                              0.01085849 Customer Transfer
 Confidential Customer Coin Transferee #14851   [Address on File]    5/18/2023 Bitcoin                              0.00932964 Customer Transfer
 Confidential Customer Coin Transferee #14851   [Address on File]    5/16/2023 Bitcoin                              0.00545873 Customer Transfer
 Confidential Customer Coin Transferee #14851   [Address on File]    5/16/2023 Bitcoin                               0.0005759 Customer Transfer
 Confidential Customer Coin Transferee #14851   [Address on File]    5/19/2023 Bitcoin                              0.00018524 Customer Transfer
 Confidential Customer Coin Transferee #14852   [Address on File]    5/28/2023 Bitcoin                              0.00365545 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/30/2023 Bitcoin                                  0.00045 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/28/2023 Bitcoin                               0.0001545 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/29/2023 Bitcoin                              0.00014946 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/17/2023 Bitcoin                              0.00009911 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/19/2023 Bitcoin                               0.0000962 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/18/2023 Bitcoin                               0.0000765 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/30/2023 Bitcoin                              0.00007284 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/28/2023 Bitcoin                               0.0000652 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/22/2023 Bitcoin                              0.00006247 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/25/2023 Bitcoin                              0.00006031 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/23/2023 Bitcoin                              0.00005685 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/20/2023 Bitcoin                              0.00005549 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/17/2023 Bitcoin                              0.00005545 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/27/2023 Bitcoin                              0.00005218 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/24/2023 Bitcoin                              0.00004576 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/30/2023 Bitcoin                              0.00003588 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/27/2023 Bitcoin                              0.00002964 Customer Transfer
 Confidential Customer Coin Transferee #14853   [Address on File]    5/20/2023 Bitcoin                              0.00002763 Customer Transfer
 Confidential Customer Coin Transferee #14854   [Address on File]    5/29/2023 Bitcoin                              0.00001048 Customer Transfer
 Confidential Customer Coin Transferee #14855   [Address on File]    5/22/2023 Bitcoin                                   0.0803 Customer Transfer
 Confidential Customer Coin Transferee #14855   [Address on File]    5/22/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #14856   [Address on File]    5/22/2023 Bitcoin                              0.01003108 Customer Transfer
 Confidential Customer Coin Transferee #14856   [Address on File]    5/29/2023 Bitcoin                              0.00444019 Customer Transfer
 Confidential Customer Coin Transferee #14856   [Address on File]    5/29/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #14856   [Address on File]    5/21/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #14857   [Address on File]    5/19/2023 Bitcoin                                      0.1 Customer Transfer
 Confidential Customer Coin Transferee #14858   [Address on File]    5/27/2023 Bitcoin                              0.00421079 Customer Transfer
 Confidential Customer Coin Transferee #14859   [Address on File]    5/24/2023 Bitcoin                              0.00567295 Customer Transfer
 Confidential Customer Coin Transferee #14860   [Address on File]    5/19/2023 Bitcoin                              0.01294419 Customer Transfer
 Confidential Customer Coin Transferee #14861   [Address on File]    5/23/2023 Bitcoin                              0.01593021 Customer Transfer
 Confidential Customer Coin Transferee #14862   [Address on File]    5/20/2023 Bitcoin                              0.00553744 Customer Transfer
 Confidential Customer Coin Transferee #14862   [Address on File]    5/17/2023 Bitcoin                              0.00481368 Customer Transfer
 Confidential Customer Coin Transferee #14862   [Address on File]    5/17/2023 Bitcoin                                   0.0045 Customer Transfer
 Confidential Customer Coin Transferee #14863   [Address on File]    5/22/2023 Bitcoin                              0.03084892 Customer Transfer
 Confidential Customer Coin Transferee #14864   [Address on File]    5/28/2023 Bitcoin                              0.00758579 Customer Transfer
 Confidential Customer Coin Transferee #14865   [Address on File]    5/26/2023 Bitcoin                              0.07070021 Customer Transfer
 Confidential Customer Coin Transferee #14865   [Address on File]    5/18/2023 Bitcoin                              0.00750646 Customer Transfer
 Confidential Customer Coin Transferee #14865   [Address on File]    5/24/2023 Bitcoin                              0.00472532 Customer Transfer
 Confidential Customer Coin Transferee #14866   [Address on File]    5/23/2023 Bitcoin                              0.01050171 Customer Transfer
 Confidential Customer Coin Transferee #14867   [Address on File]    6/20/2023 Bitcoin                              0.00011657 Customer Transfer
 Confidential Customer Coin Transferee #14868   [Address on File]    6/19/2023 Bitcoin                              0.00380556 Customer Transfer
 Confidential Customer Coin Transferee #14869   [Address on File]    6/20/2023 Bitcoin                              0.01044543 Customer Transfer
 Confidential Customer Coin Transferee #14870   [Address on File]     6/5/2023 Bitcoin                              0.01441763 Customer Transfer
 Confidential Customer Coin Transferee #14870   [Address on File]    6/19/2023 Bitcoin                              0.00076341 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14871   [Address on File]    6/19/2023 Bitcoin                              0.00003441 Customer Transfer
 Confidential Customer Coin Transferee #14872   [Address on File]    6/19/2023 Bitcoin                              0.00041118 Customer Transfer
 Confidential Customer Coin Transferee #14873   [Address on File]    5/23/2023 Bitcoin                              0.00094496 Customer Transfer
 Confidential Customer Coin Transferee #14873   [Address on File]    5/16/2023 Bitcoin                              0.00084293 Customer Transfer
 Confidential Customer Coin Transferee #14874   [Address on File]    5/27/2023 Cosmos Hub ATOM)                     123.267336 Customer Transfer
 Confidential Customer Coin Transferee #14875   [Address on File]    6/20/2023 Bitcoin                              0.00034345 Customer Transfer
 Confidential Customer Coin Transferee #14876   [Address on File]    5/30/2023 Bitcoin                               0.0588077 Customer Transfer
 Confidential Customer Coin Transferee #14877   [Address on File]    6/19/2023 Bitcoin                              0.01794285 Customer Transfer
 Confidential Customer Coin Transferee #14878   [Address on File]    6/20/2023 Bitcoin                              0.00075895 Customer Transfer
 Confidential Customer Coin Transferee #14879   [Address on File]    6/12/2023 Bitcoin                              0.17408685 Customer Transfer
 Confidential Customer Coin Transferee #14879   [Address on File]    5/31/2023 Bitcoin                              0.02288004 Customer Transfer
 Confidential Customer Coin Transferee #14879   [Address on File]    6/17/2023 Bitcoin                              0.00683554 Customer Transfer
 Confidential Customer Coin Transferee #14879   [Address on File]    5/22/2023 Bitcoin                              0.00186759 Customer Transfer
 Confidential Customer Coin Transferee #14879   [Address on File]    5/26/2023 Bitcoin                               0.0006568 Customer Transfer
 Confidential Customer Coin Transferee #14880   [Address on File]    5/17/2023 Bitcoin                              0.00834427 Customer Transfer
 Confidential Customer Coin Transferee #14881   [Address on File]    6/20/2023 Bitcoin                              0.00215192 Customer Transfer
 Confidential Customer Coin Transferee #14882   [Address on File]    5/26/2023 Bitcoin                              0.01080576 Customer Transfer
 Confidential Customer Coin Transferee #14883   [Address on File]    6/20/2023 Bitcoin                               0.0000581 Customer Transfer
 Confidential Customer Coin Transferee #14884   [Address on File]    5/24/2023 Bitcoin                              0.02647165 Customer Transfer
 Confidential Customer Coin Transferee #14885   [Address on File]     6/7/2023 Bitcoin                              0.01034365 Customer Transfer
 Confidential Customer Coin Transferee #14886   [Address on File]    5/30/2023 Bitcoin                              0.06253865 Customer Transfer
 Confidential Customer Coin Transferee #14887   [Address on File]     6/1/2023 Bitcoin                              0.00907258 Customer Transfer
 Confidential Customer Coin Transferee #14888   [Address on File]     6/5/2023 Bitcoin                              0.00364055 Customer Transfer
 Confidential Customer Coin Transferee #14889   [Address on File]    6/20/2023 Bitcoin                              0.00574757 Customer Transfer
 Confidential Customer Coin Transferee #14890   [Address on File]    6/19/2023 Bitcoin                              0.00202989 Customer Transfer
 Confidential Customer Coin Transferee #14891   [Address on File]    5/26/2023 Bitcoin                              0.00157158 Customer Transfer
 Confidential Customer Coin Transferee #14891   [Address on File]     6/6/2023 Bitcoin                              0.00152548 Customer Transfer
 Confidential Customer Coin Transferee #14891   [Address on File]     6/5/2023 Bitcoin                              0.00141707 Customer Transfer
 Confidential Customer Coin Transferee #14891   [Address on File]    5/30/2023 Bitcoin                              0.00128409 Customer Transfer
 Confidential Customer Coin Transferee #14891   [Address on File]    5/22/2023 Bitcoin                              0.00074285 Customer Transfer
 Confidential Customer Coin Transferee #14891   [Address on File]    6/12/2023 Bitcoin                              0.00069283 Customer Transfer
 Confidential Customer Coin Transferee #14891   [Address on File]    6/14/2023 Bitcoin                              0.00059691 Customer Transfer
 Confidential Customer Coin Transferee #14891   [Address on File]    6/17/2023 Bitcoin                              0.00054463 Customer Transfer
 Confidential Customer Coin Transferee #14891   [Address on File]     6/1/2023 Bitcoin                              0.00021256 Customer Transfer
 Confidential Customer Coin Transferee #14892   [Address on File]    5/22/2023 Bitcoin                              0.00184568 Customer Transfer
 Confidential Customer Coin Transferee #14893   [Address on File]    5/23/2023 Bitcoin                              0.00186599 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14894   [Address on File]    6/20/2023 Bitcoin                              0.00061167 Customer Transfer
 Confidential Customer Coin Transferee #14895   [Address on File]    5/29/2023 Bitcoin                              0.00440996 Customer Transfer
 Confidential Customer Coin Transferee #14896   [Address on File]    5/25/2023 Bitcoin                              0.00030885 Customer Transfer
 Confidential Customer Coin Transferee #14897   [Address on File]    6/20/2023 Bitcoin                              0.00043583 Customer Transfer
 Confidential Customer Coin Transferee #14898   [Address on File]    6/20/2023 Bitcoin                              0.00118307 Customer Transfer

 Confidential Customer Coin Transferee #14899   [Address on File]    6/19/2023 Bitcoin                                     0.0656 Customer Transfer

 Confidential Customer Coin Transferee #14899   [Address on File]     6/7/2023 Ether                                       0.0538 Customer Transfer

 Confidential Customer Coin Transferee #14899   [Address on File]    6/13/2023 Ether                                        0.026 Customer Transfer

 Confidential Customer Coin Transferee #14899   [Address on File]    6/12/2023 Ether                                       0.0005 Customer Transfer

 Confidential Customer Coin Transferee #14899   [Address on File]    6/12/2023 Ether                                   0.00007774 Customer Transfer

 Confidential Customer Coin Transferee #14899   [Address on File]    6/13/2023 Bitcoin                                    0.00006 Customer Transfer

 Confidential Customer Coin Transferee #14899   [Address on File]     6/7/2023 Bitcoin                                    0.00005 Customer Transfer

 Confidential Customer Coin Transferee #14899   [Address on File]    6/16/2023 Bitcoin                                    0.00005 Customer Transfer

 Confidential Customer Coin Transferee #14899   [Address on File]     6/6/2023 Ether                                   0.00000944 Customer Transfer
 Confidential Customer Coin Transferee #14900   [Address on File]    5/19/2023 Bitcoin                                 0.00188924 Customer Transfer
 Confidential Customer Coin Transferee #14900   [Address on File]    5/17/2023 Bitcoin                                 0.00158889 Customer Transfer
 Confidential Customer Coin Transferee #14900   [Address on File]    5/18/2023 Bitcoin                                 0.00124117 Customer Transfer
 Confidential Customer Coin Transferee #14900   [Address on File]    5/18/2023 Bitcoin                                 0.00115015 Customer Transfer
 Confidential Customer Coin Transferee #14900   [Address on File]    5/18/2023 Bitcoin                                 0.00096647 Customer Transfer
 Confidential Customer Coin Transferee #14900   [Address on File]    5/18/2023 Bitcoin                                 0.00074356 Customer Transfer
 Confidential Customer Coin Transferee #14900   [Address on File]    5/19/2023 Bitcoin                                 0.00073371 Customer Transfer
 Confidential Customer Coin Transferee #14900   [Address on File]    5/16/2023 Bitcoin                                 0.00069425 Customer Transfer
 Confidential Customer Coin Transferee #14900   [Address on File]    5/16/2023 Bitcoin                                 0.00042281 Customer Transfer
 Confidential Customer Coin Transferee #14901   [Address on File]    6/20/2023 Bitcoin                                 0.00057782 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]     6/1/2023 Bitcoin                                 0.00203162 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/21/2023 Bitcoin                                 0.00184014 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]     6/2/2023 Bitcoin                                 0.00181755 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/23/2023 Bitcoin                               0.0018096 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/24/2023 Bitcoin                                 0.001701 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/31/2023 Bitcoin                               0.0015037 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/20/2023 Bitcoin                              0.00147125 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/16/2023 Bitcoin                              0.00145893 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/18/2023 Bitcoin                              0.00135805 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/17/2023 Bitcoin                              0.00130306 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/22/2023 Bitcoin                              0.00129075 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/19/2023 Bitcoin                              0.00125613 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/27/2023 Bitcoin                              0.00111333 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/20/2023 Bitcoin                              0.00110745 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/29/2023 Bitcoin                              0.00107782 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/30/2023 Bitcoin                              0.00107256 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/26/2023 Bitcoin                              0.00092737 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/17/2023 Bitcoin                              0.00073702 Customer Transfer
 Confidential Customer Coin Transferee #14902   [Address on File]    5/23/2023 Bitcoin                              0.00072872 Customer Transfer
 Confidential Customer Coin Transferee #14903   [Address on File]    5/28/2023 Bitcoin                                 0.003949 Customer Transfer
 Confidential Customer Coin Transferee #14903   [Address on File]    5/25/2023 Bitcoin                               0.0037876 Customer Transfer
 Confidential Customer Coin Transferee #14903   [Address on File]    5/26/2023 Bitcoin                              0.00376769 Customer Transfer
 Confidential Customer Coin Transferee #14903   [Address on File]    5/22/2023 Bitcoin                              0.00371268 Customer Transfer
 Confidential Customer Coin Transferee #14903   [Address on File]    5/20/2023 Bitcoin                              0.00369726 Customer Transfer
 Confidential Customer Coin Transferee #14903   [Address on File]    5/16/2023 Bitcoin                              0.00367482 Customer Transfer
 Confidential Customer Coin Transferee #14903   [Address on File]    5/31/2023 Bitcoin                              0.00366446 Customer Transfer
 Confidential Customer Coin Transferee #14904   [Address on File]    5/20/2023 Bitcoin                              0.01063166 Customer Transfer
 Confidential Customer Coin Transferee #14905   [Address on File]    6/20/2023 Bitcoin                              0.01660047 Customer Transfer
 Confidential Customer Coin Transferee #14906   [Address on File]    6/15/2023 Bitcoin                              0.00079663 Customer Transfer
 Confidential Customer Coin Transferee #14906   [Address on File]    6/13/2023 Bitcoin                              0.00076768 Customer Transfer
 Confidential Customer Coin Transferee #14907   [Address on File]    5/21/2023 Bitcoin                              0.02517702 Customer Transfer
 Confidential Customer Coin Transferee #14908   [Address on File]    6/20/2023 Bitcoin                              0.00419976 Customer Transfer
 Confidential Customer Coin Transferee #14909   [Address on File]    6/20/2023 Bitcoin                              0.00082421 Customer Transfer
 Confidential Customer Coin Transferee #14910   [Address on File]    6/19/2023 Bitcoin                              0.00003377 Customer Transfer

 Confidential Customer Coin Transferee #14911   [Address on File]     6/8/2023 Bitcoin                                 0.00019701 Customer Transfer
 Confidential Customer Coin Transferee #14912   [Address on File]    6/19/2023 USD Coin                                  0.298983 Customer Transfer
 Confidential Customer Coin Transferee #14913   [Address on File]    5/25/2023 USDC Avalanche)                         197.300809 Customer Transfer
 Confidential Customer Coin Transferee #14913   [Address on File]    5/30/2023 USDC Avalanche)                         197.221944 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14913   [Address on File]     6/7/2023 USDC Avalanche)                       97.421289 Customer Transfer
 Confidential Customer Coin Transferee #14914   [Address on File]    5/31/2023 Bitcoin                              0.00366943 Customer Transfer
 Confidential Customer Coin Transferee #14914   [Address on File]    5/19/2023 Bitcoin                               0.0027746 Customer Transfer
 Confidential Customer Coin Transferee #14914   [Address on File]    5/29/2023 Bitcoin                              0.00270171 Customer Transfer
 Confidential Customer Coin Transferee #14914   [Address on File]    5/21/2023 Bitcoin                              0.00258617 Customer Transfer
 Confidential Customer Coin Transferee #14914   [Address on File]    5/28/2023 Bitcoin                               0.0025291 Customer Transfer
 Confidential Customer Coin Transferee #14914   [Address on File]    5/18/2023 Bitcoin                              0.00242637 Customer Transfer
 Confidential Customer Coin Transferee #14914   [Address on File]    5/27/2023 Bitcoin                              0.00241994 Customer Transfer
 Confidential Customer Coin Transferee #14914   [Address on File]    5/16/2023 Bitcoin                               0.0023975 Customer Transfer
 Confidential Customer Coin Transferee #14914   [Address on File]    5/28/2023 Bitcoin                              0.00234371 Customer Transfer
 Confidential Customer Coin Transferee #14914   [Address on File]    5/28/2023 Bitcoin                              0.00230022 Customer Transfer
 Confidential Customer Coin Transferee #14914   [Address on File]    5/30/2023 Bitcoin                              0.00214986 Customer Transfer
 Confidential Customer Coin Transferee #14915   [Address on File]    5/19/2023 Bitcoin                                   0.0012 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/19/2023 Bitcoin                              0.00111751 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/16/2023 Bitcoin                              0.00110558 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/19/2023 Bitcoin                              0.00110355 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/21/2023 Bitcoin                              0.00092459 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/22/2023 Bitcoin                              0.00088592 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/17/2023 Bitcoin                              0.00085571 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/25/2023 Bitcoin                              0.00076276 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/25/2023 Bitcoin                              0.00076106 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/26/2023 Bitcoin                              0.00075282 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/26/2023 Bitcoin                               0.0007517 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/26/2023 Bitcoin                              0.00075098 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/27/2023 Bitcoin                              0.00074309 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/26/2023 Bitcoin                              0.00074237 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/19/2023 Bitcoin                              0.00074108 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/21/2023 Bitcoin                              0.00073988 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/21/2023 Bitcoin                              0.00073596 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/24/2023 Bitcoin                              0.00073257 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/23/2023 Bitcoin                              0.00072809 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/27/2023 Bitcoin                              0.00072676 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/26/2023 Bitcoin                              0.00072522 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/27/2023 Bitcoin                              0.00072442 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/31/2023 Bitcoin                              0.00071861 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/30/2023 Bitcoin                              0.00071598 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/30/2023 Bitcoin                              0.00071062 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/16/2023 Bitcoin                              0.00069824 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/30/2023 Bitcoin                               0.0006961 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/20/2023 Bitcoin                               0.0005503 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/23/2023 Bitcoin                               0.0005485 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/28/2023 Bitcoin                              0.00054115 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/28/2023 Bitcoin                              0.00052276 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/21/2023 Bitcoin                               0.0004758 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/24/2023 Bitcoin                              0.00046365 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/24/2023 Bitcoin                              0.00037915 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/22/2023 Bitcoin                              0.00036437 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/18/2023 Bitcoin                              0.00036338 Customer Transfer
 Confidential Customer Coin Transferee #14916   [Address on File]    5/25/2023 Bitcoin                              0.00034103 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/21/2023 Bitcoin                              0.00358968 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/17/2023 Bitcoin                              0.00358647 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/19/2023 Bitcoin                              0.00325558 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/16/2023 Bitcoin                               0.0030548 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/18/2023 Bitcoin                              0.00285521 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/26/2023 Bitcoin                              0.00282213 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/29/2023 Bitcoin                              0.00277178 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/16/2023 Bitcoin                              0.00276418 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/16/2023 Bitcoin                               0.0021674 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/31/2023 Bitcoin                              0.00211415 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/31/2023 Bitcoin                              0.00186145 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/30/2023 Bitcoin                              0.00178505 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/29/2023 Bitcoin                              0.00144676 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/30/2023 Bitcoin                              0.00057131 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/16/2023 Bitcoin                              0.00054056 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/31/2023 Bitcoin                               0.0004845 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/16/2023 Bitcoin                              0.00014634 Customer Transfer
 Confidential Customer Coin Transferee #14917   [Address on File]    5/21/2023 Bitcoin                              0.00011374 Customer Transfer
 Confidential Customer Coin Transferee #14918   [Address on File]    5/24/2023 Bitcoin                              0.00374219 Customer Transfer
 Confidential Customer Coin Transferee #14918   [Address on File]    5/23/2023 Bitcoin                               0.0018534 Customer Transfer
 Confidential Customer Coin Transferee #14918   [Address on File]    5/25/2023 Bitcoin                              0.00094352 Customer Transfer
 Confidential Customer Coin Transferee #14918   [Address on File]    5/25/2023 Bitcoin                              0.00093899 Customer Transfer
 Confidential Customer Coin Transferee #14918   [Address on File]    5/27/2023 Bitcoin                              0.00093025 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14918   [Address on File]    5/19/2023 Bitcoin                              0.00092603 Customer Transfer
 Confidential Customer Coin Transferee #14918   [Address on File]    5/20/2023 Bitcoin                              0.00092419 Customer Transfer
 Confidential Customer Coin Transferee #14918   [Address on File]    5/17/2023 Bitcoin                              0.00091981 Customer Transfer
 Confidential Customer Coin Transferee #14918   [Address on File]    5/21/2023 Bitcoin                              0.00091757 Customer Transfer
 Confidential Customer Coin Transferee #14918   [Address on File]    5/16/2023 Bitcoin                              0.00091265 Customer Transfer
 Confidential Customer Coin Transferee #14918   [Address on File]    5/18/2023 Bitcoin                              0.00090795 Customer Transfer
 Confidential Customer Coin Transferee #14919   [Address on File]    5/23/2023 Bitcoin                               0.0072768 Customer Transfer
 Confidential Customer Coin Transferee #14919   [Address on File]    5/23/2023 Bitcoin                              0.00647761 Customer Transfer
 Confidential Customer Coin Transferee #14920   [Address on File]    5/22/2023 Bitcoin                                     0.05 Customer Transfer
 Confidential Customer Coin Transferee #14920   [Address on File]    5/22/2023 Bitcoin                              0.00001998 Customer Transfer
 Confidential Customer Coin Transferee #14921   [Address on File]    5/31/2023 Bitcoin                               0.0302111 Customer Transfer
 Confidential Customer Coin Transferee #14922   [Address on File]    5/17/2023 Bitcoin                              0.00181735 Customer Transfer
 Confidential Customer Coin Transferee #14923   [Address on File]    5/28/2023 Bitcoin                              0.00907836 Customer Transfer
 Confidential Customer Coin Transferee #14923   [Address on File]    5/28/2023 Bitcoin                              0.00435022 Customer Transfer
 Confidential Customer Coin Transferee #14923   [Address on File]    5/24/2023 Bitcoin                              0.00189773 Customer Transfer
 Confidential Customer Coin Transferee #14923   [Address on File]    5/29/2023 Bitcoin                               0.0017822 Customer Transfer
 Confidential Customer Coin Transferee #14923   [Address on File]    5/28/2023 Bitcoin                              0.00097826 Customer Transfer
 Confidential Customer Coin Transferee #14924   [Address on File]    5/19/2023 Bitcoin                              0.00110327 Customer Transfer
 Confidential Customer Coin Transferee #14924   [Address on File]    5/27/2023 Bitcoin                              0.00093018 Customer Transfer
 Confidential Customer Coin Transferee #14924   [Address on File]    5/22/2023 Bitcoin                              0.00055389 Customer Transfer
 Confidential Customer Coin Transferee #14925   [Address on File]    5/28/2023 Bitcoin                              0.01094457 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/31/2023 Bitcoin                              0.00221043 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/17/2023 Bitcoin                              0.00074562 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/30/2023 Bitcoin                              0.00071593 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/26/2023 Bitcoin                              0.00065818 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/18/2023 Bitcoin                               0.0006165 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/23/2023 Bitcoin                              0.00053131 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/30/2023 Bitcoin                              0.00051119 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/26/2023 Bitcoin                              0.00049859 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/16/2023 Bitcoin                              0.00040476 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/22/2023 Bitcoin                              0.00038866 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/24/2023 Bitcoin                              0.00037975 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/18/2023 Bitcoin                              0.00037501 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/17/2023 Bitcoin                              0.00037224 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/24/2023 Bitcoin                               0.0003719 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/24/2023 Bitcoin                              0.00037182 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/17/2023 Bitcoin                               0.0003701 Customer Transfer
 Confidential Customer Coin Transferee #14926   [Address on File]    5/29/2023 Bitcoin                               0.0003603 Customer Transfer
 Confidential Customer Coin Transferee #14927   [Address on File]    5/25/2023 Bitcoin                              0.00188091 Customer Transfer
 Confidential Customer Coin Transferee #14927   [Address on File]    5/19/2023 Bitcoin                              0.00185164 Customer Transfer
 Confidential Customer Coin Transferee #14927   [Address on File]    5/23/2023 Bitcoin                              0.00185125 Customer Transfer
 Confidential Customer Coin Transferee #14927   [Address on File]    5/20/2023 Bitcoin                                 0.001851 Customer Transfer
 Confidential Customer Coin Transferee #14927   [Address on File]    5/24/2023 Bitcoin                              0.00182868 Customer Transfer
 Confidential Customer Coin Transferee #14927   [Address on File]    5/18/2023 Bitcoin                              0.00181754 Customer Transfer
 Confidential Customer Coin Transferee #14927   [Address on File]    5/19/2023 Bitcoin                              0.00111449 Customer Transfer
 Confidential Customer Coin Transferee #14928   [Address on File]    6/20/2023 Bitcoin                              0.00120674 Customer Transfer
 Confidential Customer Coin Transferee #14929   [Address on File]    6/20/2023 Bitcoin                              0.00165899 Customer Transfer
 Confidential Customer Coin Transferee #14930   [Address on File]    6/20/2023 USD Coin                             821.821442 Customer Transfer
 Confidential Customer Coin Transferee #14930   [Address on File]    6/18/2023 USD Coin                             286.849451 Customer Transfer
 Confidential Customer Coin Transferee #14931   [Address on File]    6/20/2023 Bitcoin                              0.00401177 Customer Transfer
 Confidential Customer Coin Transferee #14932   [Address on File]    6/19/2023 Bitcoin                              0.00541531 Customer Transfer
 Confidential Customer Coin Transferee #14933   [Address on File]    6/20/2023 Bitcoin                              0.00110782 Customer Transfer
 Confidential Customer Coin Transferee #14934   [Address on File]    5/29/2023 Bitcoin                               0.0603535 Customer Transfer
 Confidential Customer Coin Transferee #14935   [Address on File]    6/21/2023 Bitcoin                              0.00023666 Customer Transfer
 Confidential Customer Coin Transferee #14936   [Address on File]    6/20/2023 Bitcoin                              0.00005998 Customer Transfer
 Confidential Customer Coin Transferee #14937   [Address on File]     6/5/2023 Bitcoin                              0.01255629 Customer Transfer
 Confidential Customer Coin Transferee #14938   [Address on File]    6/20/2023 Bitcoin                              0.00056973 Customer Transfer
 Confidential Customer Coin Transferee #14939   [Address on File]    5/28/2023 Bitcoin                              0.00561046 Customer Transfer
 Confidential Customer Coin Transferee #14940   [Address on File]    6/19/2023 Bitcoin                              0.00057942 Customer Transfer
 Confidential Customer Coin Transferee #14941   [Address on File]    5/22/2023 Bitcoin                              0.24409241 Customer Transfer
 Confidential Customer Coin Transferee #14942   [Address on File]    6/20/2023 Bitcoin                              0.00005893 Customer Transfer
 Confidential Customer Coin Transferee #14943   [Address on File]    5/16/2023 Bitcoin                              0.01002478 Customer Transfer
 Confidential Customer Coin Transferee #14944   [Address on File]    6/20/2023 Bitcoin                               0.0042496 Customer Transfer
 Confidential Customer Coin Transferee #14945   [Address on File]    5/24/2023 Bitcoin                              0.00046847 Customer Transfer
 Confidential Customer Coin Transferee #14945   [Address on File]    5/16/2023 Bitcoin                              0.00043484 Customer Transfer
 Confidential Customer Coin Transferee #14946   [Address on File]    6/19/2023 Bitcoin                               0.0008692 Customer Transfer
 Confidential Customer Coin Transferee #14947   [Address on File]    6/20/2023 Bitcoin                              0.00156915 Customer Transfer
 Confidential Customer Coin Transferee #14948   [Address on File]    5/21/2023 Bitcoin                              0.00158849 Customer Transfer
 Confidential Customer Coin Transferee #14948   [Address on File]    5/22/2023 Bitcoin                               0.0010686 Customer Transfer
 Confidential Customer Coin Transferee #14949   [Address on File]    5/27/2023 Bitcoin                                 0.005539 Customer Transfer
 Confidential Customer Coin Transferee #14949   [Address on File]    5/27/2023 Bitcoin                                 0.002574 Customer Transfer
 Confidential Customer Coin Transferee #14950   [Address on File]    6/20/2023 Bitcoin                              0.03300881 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14951   [Address on File]    6/19/2023 Bitcoin                              0.00005614 Customer Transfer
 Confidential Customer Coin Transferee #14952   [Address on File]    5/17/2023 Bitcoin                              0.01370014 Customer Transfer
 Confidential Customer Coin Transferee #14953   [Address on File]    6/19/2023 Bitcoin                               0.0098175 Customer Transfer
 Confidential Customer Coin Transferee #14954   [Address on File]    5/26/2023 USD Coin                            1790.555133 Customer Transfer
 Confidential Customer Coin Transferee #14955   [Address on File]    5/27/2023 USD Coin                              19.218468 Customer Transfer
 Confidential Customer Coin Transferee #14955   [Address on File]    5/27/2023 Ether                                0.27610844 Customer Transfer
 Confidential Customer Coin Transferee #14956   [Address on File]    6/20/2023 Bitcoin                              0.00262083 Customer Transfer
 Confidential Customer Coin Transferee #14957   [Address on File]    5/21/2023 USD Coin                             995.222866 Customer Transfer
 Confidential Customer Coin Transferee #14958   [Address on File]    5/19/2023 Bitcoin                              0.00074153 Customer Transfer
 Confidential Customer Coin Transferee #14959   [Address on File]    6/20/2023 Bitcoin                              0.00199142 Customer Transfer
 Confidential Customer Coin Transferee #14960   [Address on File]    5/17/2023 Bitcoin                              0.00429324 Customer Transfer
 Confidential Customer Coin Transferee #14960   [Address on File]    5/29/2023 Bitcoin                              0.00332792 Customer Transfer
 Confidential Customer Coin Transferee #14960   [Address on File]    5/23/2023 Bitcoin                              0.00304973 Customer Transfer
 Confidential Customer Coin Transferee #14961   [Address on File]    5/18/2023 Bitcoin                              0.03664482 Customer Transfer
 Confidential Customer Coin Transferee #14962   [Address on File]    5/20/2023 Bitcoin                              0.19710637 Customer Transfer
 Confidential Customer Coin Transferee #14962   [Address on File]    5/28/2023 Bitcoin                                   0.0422 Customer Transfer
 Confidential Customer Coin Transferee #14963   [Address on File]    6/12/2023 Bitcoin                              0.00765338 Customer Transfer
 Confidential Customer Coin Transferee #14963   [Address on File]     6/2/2023 Bitcoin                               0.0040263 Customer Transfer
 Confidential Customer Coin Transferee #14964   [Address on File]    6/20/2023 Bitcoin                              0.00290054 Customer Transfer
 Confidential Customer Coin Transferee #14965   [Address on File]    5/26/2023 Bitcoin                              0.00294441 Customer Transfer
 Confidential Customer Coin Transferee #14965   [Address on File]    5/19/2023 Bitcoin                              0.00288708 Customer Transfer
 Confidential Customer Coin Transferee #14966   [Address on File]    6/19/2023 Bitcoin                              0.00414132 Customer Transfer
 Confidential Customer Coin Transferee #14967   [Address on File]    5/29/2023 Bitcoin                              0.01765254 Customer Transfer
 Confidential Customer Coin Transferee #14967   [Address on File]    5/28/2023 Bitcoin                              0.00350701 Customer Transfer
 Confidential Customer Coin Transferee #14968   [Address on File]    6/16/2023 Bitcoin                              0.03914152 Customer Transfer
 Confidential Customer Coin Transferee #14968   [Address on File]     6/6/2023 Bitcoin                              0.01919319 Customer Transfer
 Confidential Customer Coin Transferee #14969   [Address on File]    5/18/2023 Bitcoin                              0.01382198 Customer Transfer
 Confidential Customer Coin Transferee #14970   [Address on File]     6/9/2023 Bitcoin                              0.00225677 Customer Transfer
 Confidential Customer Coin Transferee #14970   [Address on File]    5/29/2023 Bitcoin                               0.0019216 Customer Transfer
 Confidential Customer Coin Transferee #14970   [Address on File]    6/17/2023 Bitcoin                              0.00162554 Customer Transfer
 Confidential Customer Coin Transferee #14971   [Address on File]    5/21/2023 Bitcoin                              0.01793157 Customer Transfer
 Confidential Customer Coin Transferee #14972   [Address on File]    5/22/2023 Bitcoin                                  0.00505 Customer Transfer
 Confidential Customer Coin Transferee #14972   [Address on File]    5/19/2023 Bitcoin                              0.00186252 Customer Transfer
 Confidential Customer Coin Transferee #14972   [Address on File]    5/22/2023 Bitcoin                              0.00074309 Customer Transfer
 Confidential Customer Coin Transferee #14972   [Address on File]    5/22/2023 Bitcoin                                  0.00001 Customer Transfer
 Confidential Customer Coin Transferee #14972   [Address on File]    5/22/2023 Bitcoin                                  0.00001 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14973   [Address on File]    5/22/2023 Bitcoin                               0.0371016 Customer Transfer
 Confidential Customer Coin Transferee #14973   [Address on File]    5/31/2023 Bitcoin                              0.03676033 Customer Transfer
 Confidential Customer Coin Transferee #14973   [Address on File]    5/23/2023 Bitcoin                              0.03661522 Customer Transfer
 Confidential Customer Coin Transferee #14973   [Address on File]    5/30/2023 Bitcoin                              0.03592664 Customer Transfer
 Confidential Customer Coin Transferee #14973   [Address on File]    5/29/2023 Bitcoin                              0.03565671 Customer Transfer
 Confidential Customer Coin Transferee #14973   [Address on File]    5/25/2023 Bitcoin                              0.01879818 Customer Transfer
 Confidential Customer Coin Transferee #14973   [Address on File]    5/27/2023 Bitcoin                              0.01852718 Customer Transfer
 Confidential Customer Coin Transferee #14973   [Address on File]    5/19/2023 Bitcoin                              0.01846548 Customer Transfer
 Confidential Customer Coin Transferee #14974   [Address on File]    5/28/2023 Bitcoin                              0.00166817 Customer Transfer
 Confidential Customer Coin Transferee #14975   [Address on File]    5/18/2023 Bitcoin                                  0.00019 Customer Transfer
 Confidential Customer Coin Transferee #14975   [Address on File]     6/1/2023 Bitcoin                                  0.00011 Customer Transfer
 Confidential Customer Coin Transferee #14976   [Address on File]    5/23/2023 Bitcoin                              0.01051092 Customer Transfer
 Confidential Customer Coin Transferee #14977   [Address on File]    5/23/2023 Bitcoin                              0.00108789 Customer Transfer

 Confidential Customer Coin Transferee #14978   [Address on File]    6/20/2023 Bitcoin                                    0.00425 Customer Transfer

 Confidential Customer Coin Transferee #14978   [Address on File]    6/21/2023 Bitcoin                                    0.00425 Customer Transfer

 Confidential Customer Coin Transferee #14978   [Address on File]    6/19/2023 Bitcoin                                      0.0002 Customer Transfer
 Confidential Customer Coin Transferee #14979   [Address on File]    6/20/2023 Bitcoin                                 0.00036446 Customer Transfer
 Confidential Customer Coin Transferee #14980   [Address on File]    5/22/2023 Bitcoin                                 0.00110627 Customer Transfer
 Confidential Customer Coin Transferee #14981   [Address on File]    5/20/2023 Bitcoin                                 0.00802391 Customer Transfer
 Confidential Customer Coin Transferee #14982   [Address on File]    6/19/2023 Bitcoin                                 0.00249562 Customer Transfer
 Confidential Customer Coin Transferee #14983   [Address on File]    6/20/2023 Bitcoin                                 0.00257808 Customer Transfer
 Confidential Customer Coin Transferee #14984   [Address on File]     6/3/2023 Bitcoin                                 0.00184314 Customer Transfer
 Confidential Customer Coin Transferee #14984   [Address on File]    5/23/2023 Bitcoin                                 0.00178715 Customer Transfer
 Confidential Customer Coin Transferee #14984   [Address on File]    5/27/2023 Bitcoin                                 0.00074933 Customer Transfer
 Confidential Customer Coin Transferee #14984   [Address on File]    5/17/2023 Bitcoin                                 0.00073687 Customer Transfer
 Confidential Customer Coin Transferee #14984   [Address on File]    5/20/2023 Bitcoin                                 0.00070214 Customer Transfer
 Confidential Customer Coin Transferee #14985   [Address on File]    6/19/2023 Bitcoin                                 0.00029518 Customer Transfer
 Confidential Customer Coin Transferee #14986   [Address on File]    5/29/2023 Bitcoin                                 0.00013194 Customer Transfer
 Confidential Customer Coin Transferee #14987   [Address on File]    6/20/2023 Bitcoin                                  0.0187341 Customer Transfer
 Confidential Customer Coin Transferee #14988   [Address on File]    5/22/2023 Bitcoin                                 0.00334925 Customer Transfer
 Confidential Customer Coin Transferee #14989   [Address on File]    5/16/2023 Bitcoin                                 0.00060176 Customer Transfer
 Confidential Customer Coin Transferee #14990   [Address on File]    6/19/2023 Bitcoin                                 0.00566423 Customer Transfer
 Confidential Customer Coin Transferee #14991   [Address on File]    5/19/2023 Bitcoin                                         0.05 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #14992   [Address on File]    5/24/2023 Bitcoin                              0.01891545 Customer Transfer
 Confidential Customer Coin Transferee #14992   [Address on File]    5/22/2023 Bitcoin                              0.01861007 Customer Transfer
 Confidential Customer Coin Transferee #14992   [Address on File]    5/24/2023 Bitcoin                              0.01860285 Customer Transfer
 Confidential Customer Coin Transferee #14992   [Address on File]    5/19/2023 Bitcoin                              0.01847694 Customer Transfer
 Confidential Customer Coin Transferee #14992   [Address on File]    5/29/2023 Bitcoin                              0.01797832 Customer Transfer
 Confidential Customer Coin Transferee #14992   [Address on File]    5/16/2023 Bitcoin                              0.01365859 Customer Transfer
 Confidential Customer Coin Transferee #14992   [Address on File]    5/23/2023 Bitcoin                              0.00965616 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/27/2023 Bitcoin                              0.01815147 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/16/2023 Bitcoin                              0.01802682 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/21/2023 Bitcoin                              0.01034246 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/30/2023 Bitcoin                                    0.0092 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/19/2023 Bitcoin                              0.00888393 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/16/2023 Bitcoin                              0.00705684 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/20/2023 Bitcoin                              0.00381998 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/24/2023 Bitcoin                              0.00275858 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/23/2023 Bitcoin                              0.00275541 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/31/2023 Bitcoin                              0.00224602 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/20/2023 Bitcoin                               0.0021091 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/29/2023 Bitcoin                              0.00208483 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/22/2023 Bitcoin                               0.0020331 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/26/2023 Bitcoin                              0.00191721 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/29/2023 Bitcoin                              0.00141994 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/22/2023 Bitcoin                               0.0013697 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/25/2023 Bitcoin                              0.00114354 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/19/2023 Bitcoin                                 0.001109 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/25/2023 Bitcoin                              0.00110149 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/25/2023 Bitcoin                              0.00105225 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/29/2023 Bitcoin                              0.00081427 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/21/2023 Bitcoin                              0.00070266 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/29/2023 Bitcoin                              0.00042033 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/29/2023 Bitcoin                              0.00038309 Customer Transfer
 Confidential Customer Coin Transferee #14993   [Address on File]    5/30/2023 Bitcoin                              0.00030799 Customer Transfer
 Confidential Customer Coin Transferee #14994   [Address on File]    6/20/2023 Bitcoin                              0.02731255 Customer Transfer
 Confidential Customer Coin Transferee #14995   [Address on File]    6/20/2023 Bitcoin                               0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/17/2023 Bitcoin                                    0.0015 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/27/2023 Bitcoin                                    0.0015 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/29/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/30/2023 Bitcoin                              0.00140626 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                              0.00139045 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/22/2023 Bitcoin                              0.00126854 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/24/2023 Bitcoin                                   0.0012 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/17/2023 Bitcoin                               0.0010933 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/21/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/22/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/22/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/24/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/17/2023 Bitcoin                              0.00089217 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/18/2023 Bitcoin                              0.00082604 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/24/2023 Bitcoin                              0.00081706 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/30/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                              0.00079452 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                              0.00077115 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/24/2023 Bitcoin                              0.00074004 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/27/2023 Bitcoin                              0.00072996 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/21/2023 Bitcoin                               0.0007281 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/30/2023 Bitcoin                              0.00070415 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/30/2023 Bitcoin                              0.00070196 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/24/2023 Bitcoin                                   0.0007 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/24/2023 Bitcoin                                   0.0007 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                                   0.0007 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/29/2023 Bitcoin                                   0.0007 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/30/2023 Bitcoin                                   0.0007 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                               0.0006955 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/29/2023 Bitcoin                              0.00069175 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/22/2023 Bitcoin                              0.00063685 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/24/2023 Bitcoin                              0.00062757 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/30/2023 Bitcoin                               0.0006036 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/18/2023 Bitcoin                                   0.0006 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/24/2023 Bitcoin                                   0.0006 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/29/2023 Bitcoin                              0.00056352 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/19/2023 Bitcoin                              0.00054456 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/22/2023 Bitcoin                                   0.0005 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/22/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/26/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/26/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/27/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/27/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/29/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/29/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/17/2023 Bitcoin                              0.00049312 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/24/2023 Bitcoin                              0.00048531 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/26/2023 Bitcoin                               0.0004782 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/24/2023 Bitcoin                               0.0004778 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/22/2023 Bitcoin                              0.00046495 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/27/2023 Bitcoin                              0.00046117 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/22/2023 Bitcoin                              0.00045151 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/21/2023 Bitcoin                              0.00045059 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                              0.00041482 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                                    0.0004 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/28/2023 Bitcoin                              0.00039107 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/27/2023 Bitcoin                               0.0003247 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/24/2023 Bitcoin                                    0.0003 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/29/2023 Bitcoin                               0.0002444 Customer Transfer
 Confidential Customer Coin Transferee #14996   [Address on File]    5/29/2023 Bitcoin                                    0.0002 Customer Transfer
 Confidential Customer Coin Transferee #14997   [Address on File]    5/21/2023 Bitcoin                              0.00112263 Customer Transfer
 Confidential Customer Coin Transferee #14997   [Address on File]    5/16/2023 Bitcoin                                  0.00074 Customer Transfer
 Confidential Customer Coin Transferee #14997   [Address on File]    5/21/2023 Bitcoin                                 0.000409 Customer Transfer
 Confidential Customer Coin Transferee #14998   [Address on File]     6/7/2023 Bitcoin                              0.01517656 Customer Transfer
 Confidential Customer Coin Transferee #14999   [Address on File]    5/26/2023 Bitcoin                              0.61576263 Customer Transfer
 Confidential Customer Coin Transferee #14999   [Address on File]    5/25/2023 Bitcoin                                  0.31713 Customer Transfer
 Confidential Customer Coin Transferee #15000   [Address on File]    5/24/2023 Bitcoin                              0.00073026 Customer Transfer
 Confidential Customer Coin Transferee #15001   [Address on File]    6/20/2023 Bitcoin                              0.00040701 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15002   [Address on File]    6/19/2023 Bitcoin                              0.00040095 Customer Transfer

 Confidential Customer Coin Transferee #15003   [Address on File]    6/19/2023 Tether USD                          4202.471389 Customer Transfer
 Confidential Customer Coin Transferee #15004   [Address on File]    5/19/2023 Bitcoin                              0.00902506 Customer Transfer
 Confidential Customer Coin Transferee #15004   [Address on File]    5/25/2023 Bitcoin                              0.00671413 Customer Transfer
 Confidential Customer Coin Transferee #15004   [Address on File]    5/30/2023 Bitcoin                              0.00607822 Customer Transfer
 Confidential Customer Coin Transferee #15004   [Address on File]    5/28/2023 Bitcoin                              0.00487661 Customer Transfer
 Confidential Customer Coin Transferee #15005   [Address on File]    5/25/2023 Bitcoin                              0.00171186 Customer Transfer
 Confidential Customer Coin Transferee #15005   [Address on File]    6/17/2023 Bitcoin                              0.00078993 Customer Transfer
 Confidential Customer Coin Transferee #15005   [Address on File]    6/14/2023 Bitcoin                              0.00077317 Customer Transfer
 Confidential Customer Coin Transferee #15006   [Address on File]    5/23/2023 Bitcoin                              0.02039707 Customer Transfer
 Confidential Customer Coin Transferee #15007   [Address on File]    6/20/2023 Bitcoin                              0.00523904 Customer Transfer
 Confidential Customer Coin Transferee #15008   [Address on File]    5/19/2023 Bitcoin                              0.08936355 Customer Transfer
 Confidential Customer Coin Transferee #15008   [Address on File]    5/19/2023 Bitcoin                              0.07216883 Customer Transfer
 Confidential Customer Coin Transferee #15008   [Address on File]    5/19/2023 Bitcoin                                     0.041 Customer Transfer
 Confidential Customer Coin Transferee #15009   [Address on File]    6/19/2023 Bitcoin                               0.0032566 Customer Transfer
 Confidential Customer Coin Transferee #15010   [Address on File]    6/20/2023 Bitcoin                              0.00163021 Customer Transfer
 Confidential Customer Coin Transferee #15011   [Address on File]    5/27/2023 Bitcoin                              0.00364562 Customer Transfer
 Confidential Customer Coin Transferee #15012   [Address on File]    5/20/2023 Bitcoin                              0.00456198 Customer Transfer
 Confidential Customer Coin Transferee #15012   [Address on File]    5/25/2023 Bitcoin                              0.00187778 Customer Transfer
 Confidential Customer Coin Transferee #15012   [Address on File]    5/16/2023 Bitcoin                                 0.001842 Customer Transfer
 Confidential Customer Coin Transferee #15012   [Address on File]    5/20/2023 Bitcoin                              0.00183721 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/22/2023 Bitcoin                              0.00089448 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/20/2023 Bitcoin                              0.00088781 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/26/2023 Bitcoin                              0.00074292 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/31/2023 Bitcoin                              0.00073803 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/16/2023 Bitcoin                              0.00072747 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/20/2023 Bitcoin                              0.00070848 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/26/2023 Bitcoin                              0.00066859 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/30/2023 Bitcoin                              0.00064446 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/31/2023 Bitcoin                              0.00055762 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/26/2023 Bitcoin                              0.00055711 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/21/2023 Bitcoin                              0.00051128 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/16/2023 Bitcoin                              0.00050056 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/26/2023 Bitcoin                              0.00042643 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/29/2023 Bitcoin                              0.00035549 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/20/2023 Bitcoin                              0.00035384 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/19/2023 Bitcoin                              0.00033676 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/19/2023 Bitcoin                               0.0003182 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/20/2023 Bitcoin                              0.00029273 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/26/2023 Bitcoin                              0.00024357 Customer Transfer
 Confidential Customer Coin Transferee #15013   [Address on File]    5/20/2023 Bitcoin                              0.00017446 Customer Transfer
 Confidential Customer Coin Transferee #15014   [Address on File]    5/27/2023 Bitcoin                              0.00186103 Customer Transfer
 Confidential Customer Coin Transferee #15014   [Address on File]    5/28/2023 Bitcoin                              0.00184014 Customer Transfer
 Confidential Customer Coin Transferee #15014   [Address on File]    5/31/2023 Bitcoin                              0.00179433 Customer Transfer
 Confidential Customer Coin Transferee #15014   [Address on File]    5/31/2023 Bitcoin                              0.00036688 Customer Transfer
 Confidential Customer Coin Transferee #15015   [Address on File]    5/23/2023 Bitcoin                               0.0149356 Customer Transfer
 Confidential Customer Coin Transferee #15016   [Address on File]    5/20/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #15017   [Address on File]    5/29/2023 Bitcoin                              0.07324125 Customer Transfer
 Confidential Customer Coin Transferee #15018   [Address on File]    5/16/2023 Bitcoin                              0.00064675 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/23/2023 Bitcoin                              0.00711036 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/22/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/24/2023 Bitcoin                              0.00367306 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/22/2023 Bitcoin                              0.00357162 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/21/2023 Bitcoin                              0.00356798 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/22/2023 Bitcoin                               0.0034446 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/22/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/22/2023 Bitcoin                                    0.003 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/21/2023 Bitcoin                                   0.0024 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/21/2023 Bitcoin                              0.00217791 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/22/2023 Bitcoin                              0.00209821 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/21/2023 Bitcoin                              0.00208898 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/21/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/22/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/17/2023 Bitcoin                              0.00187299 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/17/2023 Bitcoin                              0.00179772 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/19/2023 Bitcoin                              0.00177779 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/21/2023 Bitcoin                                   0.0017 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/18/2023 Bitcoin                               0.0016351 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/19/2023 Bitcoin                              0.00147676 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/25/2023 Bitcoin                              0.00145881 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/19/2023 Bitcoin                              0.00142412 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/22/2023 Bitcoin                              0.00110929 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/22/2023 Bitcoin                              0.00103828 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/19/2023 Bitcoin                              0.00083081 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/19/2023 Bitcoin                              0.00081437 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/24/2023 Bitcoin                              0.00073259 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/21/2023 Bitcoin                              0.00072652 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/19/2023 Bitcoin                              0.00069195 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/16/2023 Bitcoin                              0.00068838 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/22/2023 Bitcoin                              0.00064808 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/19/2023 Bitcoin                              0.00044421 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/18/2023 Bitcoin                              0.00043681 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/25/2023 Bitcoin                                    0.0004 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/20/2023 Bitcoin                              0.00037017 Customer Transfer
 Confidential Customer Coin Transferee #15019   [Address on File]    5/25/2023 Bitcoin                              0.00021802 Customer Transfer
 Confidential Customer Coin Transferee #15020   [Address on File]    5/21/2023 Bitcoin                              0.00146388 Customer Transfer
 Confidential Customer Coin Transferee #15021   [Address on File]    5/22/2023 Bitcoin                              0.00091936 Customer Transfer
 Confidential Customer Coin Transferee #15022   [Address on File]    5/19/2023 Bitcoin                              0.01211822 Customer Transfer
 Confidential Customer Coin Transferee #15022   [Address on File]    5/19/2023 Bitcoin                              0.00739816 Customer Transfer
 Confidential Customer Coin Transferee #15022   [Address on File]    5/17/2023 Bitcoin                              0.00338019 Customer Transfer
 Confidential Customer Coin Transferee #15022   [Address on File]    5/28/2023 Bitcoin                              0.00147871 Customer Transfer
 Confidential Customer Coin Transferee #15022   [Address on File]    5/28/2023 Bitcoin                              0.00040311 Customer Transfer
 Confidential Customer Coin Transferee #15022   [Address on File]    5/24/2023 Bitcoin                              0.00018337 Customer Transfer
 Confidential Customer Coin Transferee #15023   [Address on File]    5/21/2023 Bitcoin                              0.00368923 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/21/2023 Bitcoin                                     0.002 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/19/2023 Bitcoin                                  0.00186 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/21/2023 Bitcoin                              0.00182458 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/21/2023 Bitcoin                              0.00159257 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/19/2023 Bitcoin                                    0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/19/2023 Bitcoin                                    0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/20/2023 Bitcoin                                    0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/21/2023 Bitcoin                                    0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/31/2023 Bitcoin                                 0.001474 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/20/2023 Bitcoin                              0.00101539 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/19/2023 Bitcoin                              0.00094141 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/19/2023 Bitcoin                                    0.0008 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/19/2023 Bitcoin                                    0.0008 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/20/2023 Bitcoin                                    0.0008 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/20/2023 Bitcoin                                    0.0008 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/31/2023 Bitcoin                                    0.0008 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/31/2023 Bitcoin                                    0.0008 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/31/2023 Bitcoin                                    0.0008 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/31/2023 Bitcoin                                    0.0006 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/31/2023 Bitcoin                              0.00039711 Customer Transfer
 Confidential Customer Coin Transferee #15024   [Address on File]    5/31/2023 Bitcoin                              0.00023207 Customer Transfer
 Confidential Customer Coin Transferee #15025   [Address on File]    5/18/2023 Bitcoin                               0.0007438 Customer Transfer
 Confidential Customer Coin Transferee #15025   [Address on File]    5/29/2023 Bitcoin                              0.00058927 Customer Transfer
 Confidential Customer Coin Transferee #15025   [Address on File]    5/27/2023 Bitcoin                              0.00037143 Customer Transfer
 Confidential Customer Coin Transferee #15025   [Address on File]    5/19/2023 Bitcoin                              0.00036952 Customer Transfer
 Confidential Customer Coin Transferee #15025   [Address on File]    5/25/2023 Bitcoin                              0.00036044 Customer Transfer
 Confidential Customer Coin Transferee #15025   [Address on File]    5/17/2023 Bitcoin                              0.00025696 Customer Transfer
 Confidential Customer Coin Transferee #15025   [Address on File]    5/29/2023 Bitcoin                              0.00024398 Customer Transfer
 Confidential Customer Coin Transferee #15025   [Address on File]    5/24/2023 Bitcoin                               0.0002358 Customer Transfer
 Confidential Customer Coin Transferee #15025   [Address on File]    5/27/2023 Bitcoin                              0.00019415 Customer Transfer
 Confidential Customer Coin Transferee #15026   [Address on File]    5/30/2023 Bitcoin                              0.00368997 Customer Transfer
 Confidential Customer Coin Transferee #15027   [Address on File]    5/19/2023 Bitcoin                              0.01255396 Customer Transfer
 Confidential Customer Coin Transferee #15028   [Address on File]    5/27/2023 Bitcoin                               0.0071767 Customer Transfer
 Confidential Customer Coin Transferee #15029   [Address on File]    5/19/2023 Bitcoin                              0.00233598 Customer Transfer
 Confidential Customer Coin Transferee #15030   [Address on File]    5/16/2023 Bitcoin                              0.00205349 Customer Transfer
 Confidential Customer Coin Transferee #15031   [Address on File]     6/1/2023 Bitcoin                              0.00229308 Customer Transfer
 Confidential Customer Coin Transferee #15032   [Address on File]    5/17/2023 Bitcoin                                  0.22222 Customer Transfer
 Confidential Customer Coin Transferee #15032   [Address on File]    5/19/2023 Bitcoin                                       0.2 Customer Transfer
 Confidential Customer Coin Transferee #15032   [Address on File]    5/21/2023 Bitcoin                                  0.05903 Customer Transfer
 Confidential Customer Coin Transferee #15032   [Address on File]    5/19/2023 Bitcoin                                 0.000187 Customer Transfer
 Confidential Customer Coin Transferee #15032   [Address on File]    5/21/2023 Bitcoin                                 0.000185 Customer Transfer
 Confidential Customer Coin Transferee #15033   [Address on File]    6/20/2023 Bitcoin                              0.00048508 Customer Transfer
 Confidential Customer Coin Transferee #15034   [Address on File]    5/27/2023 Bitcoin                                  0.01857 Customer Transfer
 Confidential Customer Coin Transferee #15034   [Address on File]    5/31/2023 Bitcoin                                  0.01799 Customer Transfer
 Confidential Customer Coin Transferee #15035   [Address on File]    5/30/2023 Bitcoin                              0.01904488 Customer Transfer
 Confidential Customer Coin Transferee #15036   [Address on File]    5/29/2023 Bitcoin                                    0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15037   [Address on File]    5/26/2023 Bitcoin                              0.01881412 Customer Transfer
 Confidential Customer Coin Transferee #15037   [Address on File]    5/18/2023 Bitcoin                              0.00350539 Customer Transfer
 Confidential Customer Coin Transferee #15038   [Address on File]    5/27/2023 Bitcoin                              0.05265075 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15039   [Address on File]    5/31/2023 Bitcoin                              0.00403631 Customer Transfer
 Confidential Customer Coin Transferee #15040   [Address on File]    5/23/2023 Bitcoin                              0.01844421 Customer Transfer
 Confidential Customer Coin Transferee #15041   [Address on File]    5/26/2023 Bitcoin                              0.00162839 Customer Transfer
 Confidential Customer Coin Transferee #15042   [Address on File]    5/20/2023 Bitcoin                              0.00586493 Customer Transfer
 Confidential Customer Coin Transferee #15043   [Address on File]     6/6/2023 Bitcoin                              0.00385156 Customer Transfer
 Confidential Customer Coin Transferee #15043   [Address on File]    6/12/2023 Bitcoin                              0.00385058 Customer Transfer
 Confidential Customer Coin Transferee #15043   [Address on File]    5/31/2023 Bitcoin                              0.00364621 Customer Transfer
 Confidential Customer Coin Transferee #15043   [Address on File]    5/22/2023 Bitcoin                              0.00184021 Customer Transfer
 Confidential Customer Coin Transferee #15043   [Address on File]    6/15/2023 Bitcoin                              0.00078763 Customer Transfer
 Confidential Customer Coin Transferee #15044   [Address on File]    5/30/2023 Bitcoin                              0.00262044 Customer Transfer
 Confidential Customer Coin Transferee #15044   [Address on File]    5/30/2023 Bitcoin                              0.00175776 Customer Transfer
 Confidential Customer Coin Transferee #15044   [Address on File]    5/31/2023 Bitcoin                              0.00114556 Customer Transfer
 Confidential Customer Coin Transferee #15045   [Address on File]    6/20/2023 Bitcoin                               0.0036661 Customer Transfer
 Confidential Customer Coin Transferee #15046   [Address on File]    5/31/2023 Bitcoin                              0.00036673 Customer Transfer
 Confidential Customer Coin Transferee #15046   [Address on File]    5/20/2023 Bitcoin                              0.00018329 Customer Transfer
 Confidential Customer Coin Transferee #15047   [Address on File]    5/30/2023 Bitcoin                              0.00035736 Customer Transfer
 Confidential Customer Coin Transferee #15048   [Address on File]    5/27/2023 Bitcoin                                 0.000038 Customer Transfer
 Confidential Customer Coin Transferee #15049   [Address on File]    5/26/2023 Bitcoin                              0.00037515 Customer Transfer
 Confidential Customer Coin Transferee #15050   [Address on File]    5/18/2023 Bitcoin                              0.00432369 Customer Transfer
 Confidential Customer Coin Transferee #15051   [Address on File]    5/26/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #15052   [Address on File]    5/27/2023 Bitcoin                              0.00962449 Customer Transfer
 Confidential Customer Coin Transferee #15052   [Address on File]    5/31/2023 Bitcoin                              0.00369064 Customer Transfer
 Confidential Customer Coin Transferee #15053   [Address on File]    5/29/2023 Bitcoin                              0.00713486 Customer Transfer
 Confidential Customer Coin Transferee #15054   [Address on File]    6/20/2023 Bitcoin                              0.00049315 Customer Transfer
 Confidential Customer Coin Transferee #15055   [Address on File]    6/20/2023 Bitcoin                              0.00178687 Customer Transfer
 Confidential Customer Coin Transferee #15056   [Address on File]    6/19/2023 Bitcoin                              0.00008575 Customer Transfer
 Confidential Customer Coin Transferee #15057   [Address on File]    6/19/2023 Bitcoin                              0.00044618 Customer Transfer
 Confidential Customer Coin Transferee #15058   [Address on File]    5/23/2023 Bitcoin                              0.00712705 Customer Transfer
 Confidential Customer Coin Transferee #15059   [Address on File]    6/20/2023 Bitcoin                               0.0118546 Customer Transfer
 Confidential Customer Coin Transferee #15060   [Address on File]    5/23/2023 Bitcoin                              0.00657984 Customer Transfer
 Confidential Customer Coin Transferee #15061   [Address on File]    6/19/2023 Bitcoin                              0.00003596 Customer Transfer
 Confidential Customer Coin Transferee #15062   [Address on File]    5/21/2023 Bitcoin                              0.00362829 Customer Transfer
 Confidential Customer Coin Transferee #15063   [Address on File]    5/19/2023 Bitcoin                               0.0012067 Customer Transfer
 Confidential Customer Coin Transferee #15064   [Address on File]    6/19/2023 Bitcoin                              0.00028921 Customer Transfer
 Confidential Customer Coin Transferee #15065   [Address on File]    5/21/2023 Bitcoin                              0.00091098 Customer Transfer
 Confidential Customer Coin Transferee #15066   [Address on File]    5/26/2023 Bitcoin                              0.00570103 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15066   [Address on File]    6/16/2023 Bitcoin                               0.0052302 Customer Transfer
 Confidential Customer Coin Transferee #15067   [Address on File]    6/19/2023 Bitcoin                              0.00744755 Customer Transfer
 Confidential Customer Coin Transferee #15068   [Address on File]    5/24/2023 Bitcoin                              0.00372455 Customer Transfer
 Confidential Customer Coin Transferee #15068   [Address on File]    5/17/2023 Bitcoin                              0.00340227 Customer Transfer
 Confidential Customer Coin Transferee #15069   [Address on File]    6/19/2023 Bitcoin                              0.00062917 Customer Transfer
 Confidential Customer Coin Transferee #15070   [Address on File]    6/19/2023 Bitcoin                              0.00175656 Customer Transfer
 Confidential Customer Coin Transferee #15071   [Address on File]    5/17/2023 Bitcoin                              0.03441321 Customer Transfer
 Confidential Customer Coin Transferee #15072   [Address on File]    6/19/2023 Bitcoin                              0.00040237 Customer Transfer
 Confidential Customer Coin Transferee #15073   [Address on File]    6/20/2023 Bitcoin                              0.00005878 Customer Transfer
 Confidential Customer Coin Transferee #15074   [Address on File]    6/20/2023 Bitcoin                              0.05150258 Customer Transfer
 Confidential Customer Coin Transferee #15075   [Address on File]    5/29/2023 Bitcoin                               0.0001945 Customer Transfer
 Confidential Customer Coin Transferee #15076   [Address on File]    5/20/2023 Bitcoin                              0.02634237 Customer Transfer
 Confidential Customer Coin Transferee #15076   [Address on File]    5/28/2023 Bitcoin                              0.01747886 Customer Transfer
 Confidential Customer Coin Transferee #15077   [Address on File]    6/20/2023 Bitcoin                              0.00186031 Customer Transfer
 Confidential Customer Coin Transferee #15078   [Address on File]    5/21/2023 Bitcoin                              0.00628642 Customer Transfer
 Confidential Customer Coin Transferee #15079   [Address on File]    6/19/2023 Bitcoin                               0.0003598 Customer Transfer
 Confidential Customer Coin Transferee #15080   [Address on File]    5/26/2023 Bitcoin                              0.01109814 Customer Transfer
 Confidential Customer Coin Transferee #15080   [Address on File]    5/19/2023 Bitcoin                              0.01081962 Customer Transfer
 Confidential Customer Coin Transferee #15081   [Address on File]    6/20/2023 Bitcoin                               0.0152561 Customer Transfer
 Confidential Customer Coin Transferee #15082   [Address on File]    5/22/2023 Bitcoin                              0.01094462 Customer Transfer
 Confidential Customer Coin Transferee #15082   [Address on File]    6/19/2023 Bitcoin                              0.00773785 Customer Transfer
 Confidential Customer Coin Transferee #15083   [Address on File]    6/19/2023 Bitcoin                              0.00005547 Customer Transfer
 Confidential Customer Coin Transferee #15084   [Address on File]    6/19/2023 Bitcoin                               0.0002167 Customer Transfer

 Confidential Customer Coin Transferee #15085   [Address on File]    5/17/2023 Bitcoin                              0.00362774 Customer Transfer
 Confidential Customer Coin Transferee #15086   [Address on File]    6/14/2023 USDC Avalanche)                     2992.912834 Customer Transfer
 Confidential Customer Coin Transferee #15086   [Address on File]    6/10/2023 USDC Avalanche)                     1303.977613 Customer Transfer
 Confidential Customer Coin Transferee #15086   [Address on File]    6/10/2023 USDC Avalanche)                      601.149425 Customer Transfer
 Confidential Customer Coin Transferee #15086   [Address on File]    5/27/2023 USDC Avalanche)                       36.985205 Customer Transfer
 Confidential Customer Coin Transferee #15086   [Address on File]     6/6/2023 Bitcoin                                 0.038495 Customer Transfer
 Confidential Customer Coin Transferee #15086   [Address on File]    6/10/2023 Bitcoin                                 0.015279 Customer Transfer
 Confidential Customer Coin Transferee #15086   [Address on File]     6/5/2023 Bitcoin                                 0.011225 Customer Transfer
 Confidential Customer Coin Transferee #15087   [Address on File]    5/16/2023 Bitcoin                              0.00344891 Customer Transfer
 Confidential Customer Coin Transferee #15088   [Address on File]    6/19/2023 Bitcoin                              0.00057774 Customer Transfer
 Confidential Customer Coin Transferee #15089   [Address on File]    6/19/2023 Bitcoin                              0.00016509 Customer Transfer
 Confidential Customer Coin Transferee #15090   [Address on File]    5/26/2023 Bitcoin                              0.00210689 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15091   [Address on File]    6/19/2023 Bitcoin                              0.00057899 Customer Transfer
 Confidential Customer Coin Transferee #15092   [Address on File]    5/24/2023 Bitcoin                               0.0863267 Customer Transfer
 Confidential Customer Coin Transferee #15092   [Address on File]    5/16/2023 Bitcoin                              0.04657098 Customer Transfer
 Confidential Customer Coin Transferee #15093   [Address on File]    6/20/2023 Bitcoin                              0.04065661 Customer Transfer
 Confidential Customer Coin Transferee #15094   [Address on File]    5/18/2023 Bitcoin                              0.02417764 Customer Transfer
 Confidential Customer Coin Transferee #15094   [Address on File]    5/21/2023 Bitcoin                              0.01980495 Customer Transfer
 Confidential Customer Coin Transferee #15094   [Address on File]    5/18/2023 Bitcoin                              0.01062745 Customer Transfer
 Confidential Customer Coin Transferee #15095   [Address on File]     6/2/2023 Bitcoin                               0.0007613 Customer Transfer
 Confidential Customer Coin Transferee #15095   [Address on File]    5/31/2023 Bitcoin                              0.00035466 Customer Transfer
 Confidential Customer Coin Transferee #15095   [Address on File]     6/1/2023 Bitcoin                              0.00022731 Customer Transfer
 Confidential Customer Coin Transferee #15095   [Address on File]    5/30/2023 Bitcoin                              0.00012945 Customer Transfer
 Confidential Customer Coin Transferee #15096   [Address on File]    6/19/2023 Bitcoin                              0.01613084 Customer Transfer
 Confidential Customer Coin Transferee #15097   [Address on File]    6/19/2023 Bitcoin                              0.00009036 Customer Transfer
 Confidential Customer Coin Transferee #15098   [Address on File]    6/20/2023 Bitcoin                              0.00012969 Customer Transfer
 Confidential Customer Coin Transferee #15099   [Address on File]    6/19/2023 Bitcoin                              0.00406506 Customer Transfer
 Confidential Customer Coin Transferee #15100   [Address on File]    5/20/2023 Bitcoin                               0.0252609 Customer Transfer
 Confidential Customer Coin Transferee #15101   [Address on File]    5/17/2023 Bitcoin                              0.01071318 Customer Transfer
 Confidential Customer Coin Transferee #15102   [Address on File]    6/20/2023 Bitcoin                              0.00147459 Customer Transfer
 Confidential Customer Coin Transferee #15103   [Address on File]    6/20/2023 Bitcoin                              0.00005831 Customer Transfer
 Confidential Customer Coin Transferee #15104   [Address on File]    5/20/2023 Bitcoin                              0.00036437 Customer Transfer
 Confidential Customer Coin Transferee #15105   [Address on File]    6/20/2023 Bitcoin                              0.00034754 Customer Transfer
 Confidential Customer Coin Transferee #15106   [Address on File]    5/17/2023 Bitcoin                              0.00111907 Customer Transfer
 Confidential Customer Coin Transferee #15106   [Address on File]    5/18/2023 Bitcoin                              0.00079837 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]     6/1/2023 Bitcoin                                   0.0023 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/22/2023 Bitcoin                              0.00207187 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/21/2023 Bitcoin                              0.00146802 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/31/2023 Bitcoin                               0.0014677 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/26/2023 Bitcoin                              0.00138973 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/30/2023 Bitcoin                              0.00136142 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]     6/1/2023 Bitcoin                               0.0013306 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/23/2023 Bitcoin                              0.00120767 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/21/2023 Bitcoin                              0.00106413 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/26/2023 Bitcoin                              0.00093229 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/23/2023 Bitcoin                              0.00087737 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/22/2023 Bitcoin                              0.00081542 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/27/2023 Bitcoin                              0.00074219 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/27/2023 Bitcoin                              0.00067071 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/31/2023 Bitcoin                              0.00039532 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/26/2023 Bitcoin                              0.00037939 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/24/2023 Bitcoin                              0.00037763 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/31/2023 Bitcoin                              0.00036904 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/26/2023 Bitcoin                              0.00035673 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/30/2023 Bitcoin                              0.00028643 Customer Transfer
 Confidential Customer Coin Transferee #15107   [Address on File]    5/30/2023 Bitcoin                              0.00025023 Customer Transfer
 Confidential Customer Coin Transferee #15108   [Address on File]     6/9/2023 Bitcoin                              0.00091577 Customer Transfer
 Confidential Customer Coin Transferee #15109   [Address on File]    6/19/2023 Bitcoin                              0.00187458 Customer Transfer
 Confidential Customer Coin Transferee #15110   [Address on File]    5/21/2023 Bitcoin                              0.00233593 Customer Transfer
 Confidential Customer Coin Transferee #15110   [Address on File]    5/19/2023 Bitcoin                              0.00192329 Customer Transfer
 Confidential Customer Coin Transferee #15110   [Address on File]    5/26/2023 Bitcoin                              0.00124703 Customer Transfer
 Confidential Customer Coin Transferee #15110   [Address on File]    5/25/2023 Bitcoin                              0.00087131 Customer Transfer
 Confidential Customer Coin Transferee #15110   [Address on File]     6/1/2023 Bitcoin                              0.00058494 Customer Transfer
 Confidential Customer Coin Transferee #15111   [Address on File]    6/20/2023 Bitcoin                               0.0000582 Customer Transfer
 Confidential Customer Coin Transferee #15112   [Address on File]    5/24/2023 Bitcoin                              0.16318941 Customer Transfer
 Confidential Customer Coin Transferee #15113   [Address on File]    5/28/2023 Bitcoin                              0.00375319 Customer Transfer
 Confidential Customer Coin Transferee #15114   [Address on File]    6/21/2023 USD Coin                             492.932615 Customer Transfer
 Confidential Customer Coin Transferee #15114   [Address on File]    6/17/2023 USD Coin                              487.80269 Customer Transfer
 Confidential Customer Coin Transferee #15115   [Address on File]     6/2/2023 USDC Avalanche)                     1146.076961 Customer Transfer
 Confidential Customer Coin Transferee #15115   [Address on File]    5/29/2023 USDC Avalanche)                      996.301849 Customer Transfer
 Confidential Customer Coin Transferee #15115   [Address on File]    5/31/2023 USDC Avalanche)                      996.301849 Customer Transfer
 Confidential Customer Coin Transferee #15115   [Address on File]    5/31/2023 USDC Avalanche)                      996.301849 Customer Transfer
 Confidential Customer Coin Transferee #15115   [Address on File]     6/2/2023 USDC Avalanche)                      996.301849 Customer Transfer
 Confidential Customer Coin Transferee #15115   [Address on File]    5/31/2023 USDC Avalanche)                      996.202278 Customer Transfer
 Confidential Customer Coin Transferee #15115   [Address on File]    5/22/2023 USDC Avalanche)                      497.101159 Customer Transfer
 Confidential Customer Coin Transferee #15115   [Address on File]    5/23/2023 USDC Avalanche)                      247.451019 Customer Transfer
 Confidential Customer Coin Transferee #15115   [Address on File]    5/23/2023 USDC Avalanche)                      247.451019 Customer Transfer
 Confidential Customer Coin Transferee #15115   [Address on File]    5/29/2023 USDC Avalanche)                      247.426286 Customer Transfer
 Confidential Customer Coin Transferee #15115   [Address on File]    5/29/2023 USDC Avalanche)                      247.426286 Customer Transfer
 Confidential Customer Coin Transferee #15116   [Address on File]    5/16/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #15117   [Address on File]    6/20/2023 Bitcoin                              0.00071533 Customer Transfer
 Confidential Customer Coin Transferee #15118   [Address on File]     6/2/2023 Tether USD                            1196.6705 Customer Transfer

 Confidential Customer Coin Transferee #15119   [Address on File]     6/7/2023 Bitcoin                                 0.0001645 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15120   [Address on File]    5/31/2023 Bitcoin                              0.03644064 Customer Transfer
 Confidential Customer Coin Transferee #15121   [Address on File]    6/19/2023 Bitcoin                              0.00003527 Customer Transfer
 Confidential Customer Coin Transferee #15122   [Address on File]    5/30/2023 Bitcoin                              0.01170666 Customer Transfer
 Confidential Customer Coin Transferee #15123   [Address on File]    5/19/2023 Bitcoin                              0.00181064 Customer Transfer
 Confidential Customer Coin Transferee #15124   [Address on File]    5/21/2023 Bitcoin                              0.00676934 Customer Transfer
 Confidential Customer Coin Transferee #15124   [Address on File]    5/21/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #15125   [Address on File]    6/19/2023 Bitcoin                              0.00005815 Customer Transfer
 Confidential Customer Coin Transferee #15126   [Address on File]    5/17/2023 Bitcoin                              0.00499881 Customer Transfer
 Confidential Customer Coin Transferee #15126   [Address on File]    5/31/2023 Bitcoin                              0.00447791 Customer Transfer
 Confidential Customer Coin Transferee #15126   [Address on File]    5/17/2023 Bitcoin                              0.00110465 Customer Transfer
 Confidential Customer Coin Transferee #15127   [Address on File]    5/19/2023 Bitcoin                              0.00855283 Customer Transfer
 Confidential Customer Coin Transferee #15128   [Address on File]    5/22/2023 Bitcoin                              0.07321735 Customer Transfer
 Confidential Customer Coin Transferee #15128   [Address on File]    5/22/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #15129   [Address on File]    6/19/2023 Bitcoin                               0.0000597 Customer Transfer
 Confidential Customer Coin Transferee #15130   [Address on File]    6/19/2023 Bitcoin                               0.0002952 Customer Transfer
 Confidential Customer Coin Transferee #15131   [Address on File]    6/20/2023 Bitcoin                              0.00057727 Customer Transfer
 Confidential Customer Coin Transferee #15132   [Address on File]    6/20/2023 Bitcoin                              0.00069414 Customer Transfer
 Confidential Customer Coin Transferee #15133   [Address on File]     6/1/2023 Tether USD                              449.1151 Customer Transfer

 Confidential Customer Coin Transferee #15134   [Address on File]    5/31/2023 USD Coin                                   3044.77 Customer Transfer
 Confidential Customer Coin Transferee #15135   [Address on File]    5/25/2023 Bitcoin                                 0.09419791 Customer Transfer
 Confidential Customer Coin Transferee #15135   [Address on File]    5/18/2023 Bitcoin                                 0.05481784 Customer Transfer
 Confidential Customer Coin Transferee #15135   [Address on File]    5/26/2023 Bitcoin                                 0.03764245 Customer Transfer
 Confidential Customer Coin Transferee #15135   [Address on File]    5/17/2023 Bitcoin                                  0.0077425 Customer Transfer
 Confidential Customer Coin Transferee #15136   [Address on File]    5/17/2023 Bitcoin                                 0.01453858 Customer Transfer
 Confidential Customer Coin Transferee #15137   [Address on File]    5/29/2023 Bitcoin                                 0.00100968 Customer Transfer

 Confidential Customer Coin Transferee #15138   [Address on File]    6/21/2023 Bitcoin                                 0.00035484 Customer Transfer
 Confidential Customer Coin Transferee #15139   [Address on File]    6/19/2023 Bitcoin                                 0.00463207 Customer Transfer
 Confidential Customer Coin Transferee #15140   [Address on File]    5/18/2023 Bitcoin                                 0.37044753 Customer Transfer
 Confidential Customer Coin Transferee #15140   [Address on File]    5/19/2023 Bitcoin                                 0.00071594 Customer Transfer
 Confidential Customer Coin Transferee #15141   [Address on File]     6/1/2023 Bitcoin                                    4.00E-08 Customer Transfer
 Confidential Customer Coin Transferee #15142   [Address on File]    5/31/2023 Bitcoin                                 0.00036707 Customer Transfer
 Confidential Customer Coin Transferee #15143   [Address on File]    6/20/2023 Bitcoin                                 0.00081673 Customer Transfer
 Confidential Customer Coin Transferee #15144   [Address on File]    5/24/2023 Bitcoin                                 0.04799719 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1          Date              Crypto Currency           Unit Count          or Transfer

 Confidential Customer Coin Transferee #15145   [Address on File]    5/26/2023 Ether                                   0.01648993 Customer Transfer

 Confidential Customer Coin Transferee #15145   [Address on File]    5/18/2023 Ether                                   0.01535365 Customer Transfer

 Confidential Customer Coin Transferee #15145   [Address on File]    5/26/2023 Ether                                   0.01437189 Customer Transfer

 Confidential Customer Coin Transferee #15145   [Address on File]    5/22/2023 Ether                                   0.00055589 Customer Transfer
 Confidential Customer Coin Transferee #15146   [Address on File]    6/19/2023 Bitcoin                                 0.00011248 Customer Transfer
 Confidential Customer Coin Transferee #15147   [Address on File]    6/20/2023 Bitcoin                                 0.00012275 Customer Transfer
 Confidential Customer Coin Transferee #15148   [Address on File]    5/19/2023 Bitcoin                                 0.01426689 Customer Transfer
 Confidential Customer Coin Transferee #15148   [Address on File]    5/27/2023 Bitcoin                                 0.01288305 Customer Transfer
 Confidential Customer Coin Transferee #15148   [Address on File]    5/24/2023 Bitcoin                                 0.00743937 Customer Transfer
 Confidential Customer Coin Transferee #15149   [Address on File]    6/19/2023 Bitcoin                                 0.00044954 Customer Transfer
 Confidential Customer Coin Transferee #15150   [Address on File]    5/16/2023 Bitcoin                                 0.94665412 Customer Transfer
 Confidential Customer Coin Transferee #15151   [Address on File]    6/19/2023 Bitcoin                                  0.0057541 Customer Transfer
 Confidential Customer Coin Transferee #15152   [Address on File]    6/20/2023 Bitcoin                                 0.00561485 Customer Transfer
 Confidential Customer Coin Transferee #15153   [Address on File]    5/18/2023 Bitcoin                                 0.01837622 Customer Transfer

 Confidential Customer Coin Transferee #15154   [Address on File]    6/13/2023 Tether USD                                  9964.11 Customer Transfer
 Confidential Customer Coin Transferee #15155   [Address on File]    6/14/2023 Tether USD                                89698.92 Customer Transfer
 Confidential Customer Coin Transferee #15155   [Address on File]    6/14/2023 USD Coin                                  59793.63 Customer Transfer
 Confidential Customer Coin Transferee #15156   [Address on File]    6/20/2023 Bitcoin                                 0.00368131 Customer Transfer

 Confidential Customer Coin Transferee #15157   [Address on File]    6/19/2023 Bitcoin                                 0.00040643 Customer Transfer
 Confidential Customer Coin Transferee #15158   [Address on File]    5/25/2023 USDC Avalanche)                         496.821589 Customer Transfer
 Confidential Customer Coin Transferee #15158   [Address on File]    5/18/2023 USDC Avalanche)                         496.801599 Customer Transfer
 Confidential Customer Coin Transferee #15158   [Address on File]     6/3/2023 USDC Avalanche)                          297.08175 Customer Transfer
 Confidential Customer Coin Transferee #15159   [Address on File]    6/19/2023 Bitcoin                                 0.00300679 Customer Transfer
 Confidential Customer Coin Transferee #15160   [Address on File]    5/17/2023 Bitcoin                                 0.02253663 Customer Transfer
 Confidential Customer Coin Transferee #15160   [Address on File]     6/3/2023 Bitcoin                                 0.01761517 Customer Transfer
 Confidential Customer Coin Transferee #15160   [Address on File]    5/27/2023 Bitcoin                                 0.00123431 Customer Transfer

 Confidential Customer Coin Transferee #15161   [Address on File]    6/19/2023 Bitcoin                                  0.0018965 Customer Transfer

 Confidential Customer Coin Transferee #15161   [Address on File]    6/19/2023 Bitcoin                                 0.00037933 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1          Date              Crypto Currency           Unit Count          or Transfer

 Confidential Customer Coin Transferee #15162   [Address on File]    5/23/2023 Bitcoin                                 0.21888888 Customer Transfer

 Confidential Customer Coin Transferee #15162   [Address on File]    5/17/2023 Bitcoin                                 0.20999999 Customer Transfer

 Confidential Customer Coin Transferee #15162   [Address on File]    5/24/2023 Bitcoin                                 0.18399999 Customer Transfer

 Confidential Customer Coin Transferee #15162   [Address on File]    5/18/2023 Bitcoin                                 0.10999999 Customer Transfer

 Confidential Customer Coin Transferee #15162   [Address on File]    5/28/2023 Bitcoin                                  0.1050851 Customer Transfer

 Confidential Customer Coin Transferee #15162   [Address on File]    5/25/2023 Bitcoin                                 0.03809122 Customer Transfer

 Confidential Customer Coin Transferee #15162   [Address on File]    5/17/2023 Bitcoin                                 0.01111111 Customer Transfer
 Confidential Customer Coin Transferee #15163   [Address on File]    5/21/2023 Bitcoin                                 0.02242244 Customer Transfer
 Confidential Customer Coin Transferee #15164   [Address on File]    5/24/2023 Bitcoin                                 0.00435621 Customer Transfer
 Confidential Customer Coin Transferee #15164   [Address on File]    5/16/2023 Bitcoin                                 0.00381923 Customer Transfer
 Confidential Customer Coin Transferee #15165   [Address on File]    5/19/2023 Bitcoin                                 0.01821248 Customer Transfer
 Confidential Customer Coin Transferee #15165   [Address on File]    5/26/2023 Bitcoin                                  0.0182123 Customer Transfer
 Confidential Customer Coin Transferee #15166   [Address on File]    5/24/2023 Bitcoin                                 0.00566929 Customer Transfer
 Confidential Customer Coin Transferee #15166   [Address on File]    5/19/2023 Bitcoin                                 0.00370444 Customer Transfer
 Confidential Customer Coin Transferee #15167   [Address on File]     6/2/2023 Bitcoin                                 0.00914413 Customer Transfer
 Confidential Customer Coin Transferee #15167   [Address on File]    5/22/2023 Bitcoin                                 0.00553507 Customer Transfer
 Confidential Customer Coin Transferee #15168   [Address on File]    5/18/2023 Bitcoin                                 0.06149054 Customer Transfer
 Confidential Customer Coin Transferee #15169   [Address on File]    5/19/2023 Bitcoin                                 0.00036202 Customer Transfer
 Confidential Customer Coin Transferee #15170   [Address on File]    5/26/2023 Bitcoin                                 0.00036866 Customer Transfer
 Confidential Customer Coin Transferee #15171   [Address on File]    5/18/2023 Bitcoin                                 0.00181394 Customer Transfer
 Confidential Customer Coin Transferee #15171   [Address on File]    5/25/2023 Bitcoin                                 0.00093207 Customer Transfer
 Confidential Customer Coin Transferee #15171   [Address on File]    5/31/2023 Bitcoin                                 0.00091493 Customer Transfer
 Confidential Customer Coin Transferee #15172   [Address on File]    6/20/2023 Bitcoin                                 0.00480651 Customer Transfer
 Confidential Customer Coin Transferee #15173   [Address on File]    6/19/2023 Solana                                   19.094291 Customer Transfer
 Confidential Customer Coin Transferee #15173   [Address on File]    6/10/2023 Cosmos Hub ATOM)                            4.21132 Customer Transfer
 Confidential Customer Coin Transferee #15173   [Address on File]    5/29/2023 Cosmos Hub ATOM)                            3.47944 Customer Transfer
 Confidential Customer Coin Transferee #15173   [Address on File]    6/19/2023 Solana                                    2.426743 Customer Transfer
 Confidential Customer Coin Transferee #15173   [Address on File]    5/22/2023 Ether                                      0.019682 Customer Transfer
 Confidential Customer Coin Transferee #15174   [Address on File]    5/27/2023 Bitcoin                                 0.00315797 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #15174   [Address on File]    5/20/2023 Bitcoin                              0.00307238 Customer Transfer
 Confidential Customer Coin Transferee #15175   [Address on File]    5/27/2023 Bitcoin                               0.0082771 Customer Transfer
 Confidential Customer Coin Transferee #15175   [Address on File]    5/22/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #15176   [Address on File]    5/18/2023 Bitcoin                              0.00018355 Customer Transfer
 Confidential Customer Coin Transferee #15177   [Address on File]    5/25/2023 Bitcoin                                 0.003641 Customer Transfer
 Confidential Customer Coin Transferee #15177   [Address on File]    5/18/2023 Bitcoin                              0.00356931 Customer Transfer
 Confidential Customer Coin Transferee #15178   [Address on File]    5/18/2023 Bitcoin                               0.0738019 Customer Transfer
 Confidential Customer Coin Transferee #15178   [Address on File]    5/21/2023 Bitcoin                              0.07354579 Customer Transfer
 Confidential Customer Coin Transferee #15178   [Address on File]    5/22/2023 Bitcoin                              0.04539411 Customer Transfer
 Confidential Customer Coin Transferee #15179   [Address on File]     6/5/2023 Bitcoin                              0.00037549 Customer Transfer
 Confidential Customer Coin Transferee #15179   [Address on File]    5/18/2023 Bitcoin                              0.00036296 Customer Transfer
 Confidential Customer Coin Transferee #15180   [Address on File]    5/22/2023 Bitcoin                              0.00269159 Customer Transfer
 Confidential Customer Coin Transferee #15181   [Address on File]    6/20/2023 Bitcoin                              0.00015388 Customer Transfer
 Confidential Customer Coin Transferee #15182   [Address on File]    6/20/2023 Bitcoin                              0.00035927 Customer Transfer
 Confidential Customer Coin Transferee #15183   [Address on File]    6/19/2023 Bitcoin                              0.00044699 Customer Transfer
 Confidential Customer Coin Transferee #15184   [Address on File]     6/6/2023 Cosmos Hub ATOM)                      28.949412 Customer Transfer
 Confidential Customer Coin Transferee #15184   [Address on File]    6/12/2023 Cosmos Hub ATOM)                      21.992873 Customer Transfer
 Confidential Customer Coin Transferee #15185   [Address on File]    6/20/2023 Bitcoin                              0.02721465 Customer Transfer
 Confidential Customer Coin Transferee #15186   [Address on File]    5/26/2023 Bitcoin                              0.00185977 Customer Transfer
 Confidential Customer Coin Transferee #15186   [Address on File]    5/19/2023 Bitcoin                              0.00168902 Customer Transfer
 Confidential Customer Coin Transferee #15187   [Address on File]    5/16/2023 Bitcoin                              0.02533341 Customer Transfer
 Confidential Customer Coin Transferee #15188   [Address on File]    5/24/2023 Bitcoin                              0.01049909 Customer Transfer
 Confidential Customer Coin Transferee #15189   [Address on File]    6/20/2023 Bitcoin                               0.0017513 Customer Transfer
 Confidential Customer Coin Transferee #15190   [Address on File]    5/26/2023 Bitcoin                               0.0103091 Customer Transfer
 Confidential Customer Coin Transferee #15190   [Address on File]    5/19/2023 Bitcoin                              0.00971995 Customer Transfer
 Confidential Customer Coin Transferee #15191   [Address on File]    5/18/2023 Bitcoin                                       0.01 Customer Transfer
 Confidential Customer Coin Transferee #15192   [Address on File]    5/24/2023 Bitcoin                              0.00649314 Customer Transfer
 Confidential Customer Coin Transferee #15192   [Address on File]    5/17/2023 Bitcoin                              0.00643914 Customer Transfer
 Confidential Customer Coin Transferee #15193   [Address on File]    6/19/2023 Bitcoin                              0.00590141 Customer Transfer
 Confidential Customer Coin Transferee #15194   [Address on File]    5/21/2023 Bitcoin                              0.00438961 Customer Transfer
 Confidential Customer Coin Transferee #15194   [Address on File]    5/22/2023 Bitcoin                              0.00075985 Customer Transfer
 Confidential Customer Coin Transferee #15194   [Address on File]    5/28/2023 Bitcoin                                  0.00053 Customer Transfer
 Confidential Customer Coin Transferee #15194   [Address on File]    5/28/2023 Bitcoin                                  0.00052 Customer Transfer
 Confidential Customer Coin Transferee #15194   [Address on File]    5/27/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #15194   [Address on File]    5/27/2023 Bitcoin                                  0.00025 Customer Transfer
 Confidential Customer Coin Transferee #15194   [Address on File]    5/29/2023 Bitcoin                                  0.00022 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15194   [Address on File]    5/24/2023 Bitcoin                                  0.00018 Customer Transfer
 Confidential Customer Coin Transferee #15194   [Address on File]    5/30/2023 Bitcoin                                  0.00013 Customer Transfer
 Confidential Customer Coin Transferee #15194   [Address on File]    5/28/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #15195   [Address on File]    5/24/2023 Bitcoin                               0.0102239 Customer Transfer
 Confidential Customer Coin Transferee #15196   [Address on File]    5/16/2023 Bitcoin                              0.00183437 Customer Transfer
 Confidential Customer Coin Transferee #15196   [Address on File]    5/16/2023 Bitcoin                              0.00128326 Customer Transfer
 Confidential Customer Coin Transferee #15196   [Address on File]    5/16/2023 Bitcoin                              0.00091823 Customer Transfer
 Confidential Customer Coin Transferee #15196   [Address on File]    5/16/2023 Bitcoin                              0.00091703 Customer Transfer
 Confidential Customer Coin Transferee #15196   [Address on File]    5/16/2023 Bitcoin                              0.00091596 Customer Transfer
 Confidential Customer Coin Transferee #15196   [Address on File]    5/16/2023 Bitcoin                              0.00073436 Customer Transfer
 Confidential Customer Coin Transferee #15196   [Address on File]    5/16/2023 Bitcoin                              0.00073428 Customer Transfer
 Confidential Customer Coin Transferee #15196   [Address on File]    5/16/2023 Bitcoin                              0.00073308 Customer Transfer
 Confidential Customer Coin Transferee #15196   [Address on File]    5/16/2023 Bitcoin                              0.00073297 Customer Transfer
 Confidential Customer Coin Transferee #15196   [Address on File]    5/19/2023 Bitcoin                              0.00047065 Customer Transfer
 Confidential Customer Coin Transferee #15197   [Address on File]    5/24/2023 Bitcoin                               0.0262373 Customer Transfer
 Confidential Customer Coin Transferee #15198   [Address on File]    5/20/2023 Bitcoin                              0.00090424 Customer Transfer
 Confidential Customer Coin Transferee #15199   [Address on File]    6/13/2023 Bitcoin                              0.00361693 Customer Transfer
 Confidential Customer Coin Transferee #15200   [Address on File]    6/20/2023 Bitcoin                              0.01101151 Customer Transfer
 Confidential Customer Coin Transferee #15201   [Address on File]    5/22/2023 Bitcoin                               0.0000739 Customer Transfer
 Confidential Customer Coin Transferee #15202   [Address on File]    5/30/2023 Bitcoin                              0.00037105 Customer Transfer
 Confidential Customer Coin Transferee #15203   [Address on File]     6/1/2023 Bitcoin                              0.00139277 Customer Transfer
 Confidential Customer Coin Transferee #15204   [Address on File]     6/2/2023 Bitcoin                              0.00371168 Customer Transfer
 Confidential Customer Coin Transferee #15204   [Address on File]    6/16/2023 Bitcoin                              0.00297177 Customer Transfer
 Confidential Customer Coin Transferee #15205   [Address on File]    5/29/2023 Bitcoin                              0.01904337 Customer Transfer
 Confidential Customer Coin Transferee #15206   [Address on File]    5/19/2023 Bitcoin                              0.18852963 Customer Transfer
 Confidential Customer Coin Transferee #15206   [Address on File]    5/20/2023 Bitcoin                               0.1808476 Customer Transfer

 Confidential Customer Coin Transferee #15207   [Address on File]    5/22/2023 Bitcoin                                 0.00186193 Customer Transfer

 Confidential Customer Coin Transferee #15207   [Address on File]    6/19/2023 Bitcoin                                  0.0005694 Customer Transfer
 Confidential Customer Coin Transferee #15208   [Address on File]    5/17/2023 Bitcoin                                 0.01049804 Customer Transfer
 Confidential Customer Coin Transferee #15209   [Address on File]    5/16/2023 Bitcoin                                 0.01741687 Customer Transfer
 Confidential Customer Coin Transferee #15210   [Address on File]    5/19/2023 Bitcoin                                  0.0024741 Customer Transfer
 Confidential Customer Coin Transferee #15211   [Address on File]    5/24/2023 Bitcoin                                 0.00379128 Customer Transfer
 Confidential Customer Coin Transferee #15212   [Address on File]    5/31/2023 Bitcoin                                 0.00092275 Customer Transfer
 Confidential Customer Coin Transferee #15213   [Address on File]    5/22/2023 Bitcoin                                 0.00006299 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15213   [Address on File]    5/31/2023 Bitcoin                              0.00004966 Customer Transfer
 Confidential Customer Coin Transferee #15213   [Address on File]    5/21/2023 Bitcoin                              0.00004539 Customer Transfer
 Confidential Customer Coin Transferee #15214   [Address on File]    5/27/2023 Bitcoin                              0.02340208 Customer Transfer
 Confidential Customer Coin Transferee #15214   [Address on File]    5/27/2023 Bitcoin                              0.02253092 Customer Transfer
 Confidential Customer Coin Transferee #15214   [Address on File]    5/17/2023 Bitcoin                               0.0050205 Customer Transfer
 Confidential Customer Coin Transferee #15214   [Address on File]    5/20/2023 Bitcoin                              0.00424357 Customer Transfer
 Confidential Customer Coin Transferee #15214   [Address on File]    5/25/2023 Bitcoin                               0.0039762 Customer Transfer
 Confidential Customer Coin Transferee #15214   [Address on File]    5/16/2023 Bitcoin                              0.00235849 Customer Transfer
 Confidential Customer Coin Transferee #15214   [Address on File]    5/24/2023 Bitcoin                              0.00222651 Customer Transfer
 Confidential Customer Coin Transferee #15214   [Address on File]    5/21/2023 Bitcoin                              0.00110784 Customer Transfer
 Confidential Customer Coin Transferee #15214   [Address on File]    5/30/2023 Bitcoin                              0.00053853 Customer Transfer
 Confidential Customer Coin Transferee #15214   [Address on File]    5/31/2023 Bitcoin                              0.00018357 Customer Transfer
 Confidential Customer Coin Transferee #15215   [Address on File]    5/30/2023 Bitcoin                              0.00231357 Customer Transfer
 Confidential Customer Coin Transferee #15215   [Address on File]    5/28/2023 Bitcoin                              0.00081328 Customer Transfer
 Confidential Customer Coin Transferee #15215   [Address on File]    5/29/2023 Bitcoin                               0.0002137 Customer Transfer
 Confidential Customer Coin Transferee #15216   [Address on File]    5/23/2023 Bitcoin                               0.0003988 Customer Transfer
 Confidential Customer Coin Transferee #15216   [Address on File]    5/23/2023 Bitcoin                                 0.000397 Customer Transfer
 Confidential Customer Coin Transferee #15216   [Address on File]    5/26/2023 Bitcoin                              0.00037599 Customer Transfer
 Confidential Customer Coin Transferee #15216   [Address on File]    5/24/2023 Bitcoin                              0.00036809 Customer Transfer
 Confidential Customer Coin Transferee #15216   [Address on File]    5/23/2023 Bitcoin                                 0.000368 Customer Transfer
 Confidential Customer Coin Transferee #15216   [Address on File]    5/26/2023 Bitcoin                              0.00031214 Customer Transfer
 Confidential Customer Coin Transferee #15216   [Address on File]    5/25/2023 Bitcoin                               0.0001566 Customer Transfer
 Confidential Customer Coin Transferee #15216   [Address on File]    5/28/2023 Bitcoin                              0.00007711 Customer Transfer
 Confidential Customer Coin Transferee #15217   [Address on File]    6/20/2023 Bitcoin                               0.0028899 Customer Transfer
 Confidential Customer Coin Transferee #15218   [Address on File]    5/17/2023 Bitcoin                              0.04610623 Customer Transfer
 Confidential Customer Coin Transferee #15219   [Address on File]    5/26/2023 Bitcoin                              0.05342575 Customer Transfer
 Confidential Customer Coin Transferee #15220   [Address on File]    5/23/2023 Bitcoin                              0.01056888 Customer Transfer
 Confidential Customer Coin Transferee #15221   [Address on File]    6/12/2023 Bitcoin                              0.01988012 Customer Transfer
 Confidential Customer Coin Transferee #15221   [Address on File]    6/20/2023 Bitcoin                              0.00503394 Customer Transfer
 Confidential Customer Coin Transferee #15222   [Address on File]    5/17/2023 Bitcoin                              0.05756328 Customer Transfer
 Confidential Customer Coin Transferee #15222   [Address on File]    5/23/2023 Bitcoin                              0.00458252 Customer Transfer
 Confidential Customer Coin Transferee #15223   [Address on File]    5/25/2023 Bitcoin                              0.00363648 Customer Transfer
 Confidential Customer Coin Transferee #15223   [Address on File]    5/28/2023 Bitcoin                              0.00350911 Customer Transfer
 Confidential Customer Coin Transferee #15223   [Address on File]    5/17/2023 Bitcoin                              0.00343018 Customer Transfer
 Confidential Customer Coin Transferee #15224   [Address on File]    5/18/2023 Bitcoin                              0.00058048 Customer Transfer
 Confidential Customer Coin Transferee #15225   [Address on File]    5/20/2023 Bitcoin                              0.10684138 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15225   [Address on File]    5/29/2023 Bitcoin                              0.07425055 Customer Transfer
 Confidential Customer Coin Transferee #15225   [Address on File]    5/25/2023 Bitcoin                              0.07412436 Customer Transfer
 Confidential Customer Coin Transferee #15225   [Address on File]    5/27/2023 Bitcoin                              0.07389679 Customer Transfer
 Confidential Customer Coin Transferee #15226   [Address on File]    6/19/2023 Bitcoin                              0.00004042 Customer Transfer
 Confidential Customer Coin Transferee #15227   [Address on File]    5/26/2023 Bitcoin                              0.01085063 Customer Transfer
 Confidential Customer Coin Transferee #15227   [Address on File]    5/27/2023 Bitcoin                              0.01084702 Customer Transfer
 Confidential Customer Coin Transferee #15227   [Address on File]    5/27/2023 Bitcoin                              0.01035494 Customer Transfer
 Confidential Customer Coin Transferee #15228   [Address on File]    5/26/2023 USDC Avalanche)                       596.54242 Customer Transfer
 Confidential Customer Coin Transferee #15228   [Address on File]    6/15/2023 USDC Avalanche)                      242.301539 Customer Transfer
 Confidential Customer Coin Transferee #15229   [Address on File]    6/19/2023 Bitcoin                              0.00035645 Customer Transfer
 Confidential Customer Coin Transferee #15230   [Address on File]    6/21/2023 USD Coin                             1494.70641 Customer Transfer
 Confidential Customer Coin Transferee #15230   [Address on File]    6/20/2023 USD Coin                               19.71494 Customer Transfer
 Confidential Customer Coin Transferee #15230   [Address on File]    6/18/2023 USD Coin                              19.118819 Customer Transfer
 Confidential Customer Coin Transferee #15231   [Address on File]    6/20/2023 Bitcoin                              0.00471571 Customer Transfer
 Confidential Customer Coin Transferee #15232   [Address on File]    6/20/2023 Bitcoin                              0.00615806 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]    5/19/2023 USDC Solana)                         253.653903 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]    5/22/2023 USDC Solana)                         253.577853 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]     6/5/2023 USDC Solana)                         165.743702 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]    5/24/2023 USDC Solana)                         156.747301 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]     6/2/2023 USDC Solana)                         153.727763 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]    6/15/2023 USDC Avalanche)                      147.401039 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]    6/11/2023 USDC Avalanche)                      146.876561 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]    6/13/2023 USDC Avalanche)                      107.425544 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]    6/10/2023 Cosmos Hub ATOM)                      20.134109 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]     6/5/2023 Cosmos Hub ATOM)                      18.037087 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]    6/10/2023 Cosmos Hub ATOM)                      15.139157 Customer Transfer
 Confidential Customer Coin Transferee #15233   [Address on File]    6/10/2023 Ether                                   0.041251 Customer Transfer
 Confidential Customer Coin Transferee #15234   [Address on File]    5/16/2023 Bitcoin                              0.01466579 Customer Transfer
 Confidential Customer Coin Transferee #15234   [Address on File]    6/19/2023 Bitcoin                              0.00495528 Customer Transfer
 Confidential Customer Coin Transferee #15235   [Address on File]    5/18/2023 Bitcoin                              0.00250441 Customer Transfer
 Confidential Customer Coin Transferee #15235   [Address on File]    5/18/2023 Bitcoin                              0.00244401 Customer Transfer
 Confidential Customer Coin Transferee #15235   [Address on File]    5/18/2023 Bitcoin                              0.00242072 Customer Transfer
 Confidential Customer Coin Transferee #15235   [Address on File]    5/18/2023 Bitcoin                              0.00232163 Customer Transfer
 Confidential Customer Coin Transferee #15236   [Address on File]    6/18/2023 USD Coin                             192.623604 Customer Transfer
 Confidential Customer Coin Transferee #15236   [Address on File]    5/23/2023 Ether                                    0.07914 Customer Transfer
 Confidential Customer Coin Transferee #15237   [Address on File]    5/20/2023 Bitcoin                              0.00357357 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15238   [Address on File]    6/20/2023 Bitcoin                              0.00848147 Customer Transfer
 Confidential Customer Coin Transferee #15239   [Address on File]    5/25/2023 Bitcoin                               0.0036382 Customer Transfer
 Confidential Customer Coin Transferee #15240   [Address on File]    6/20/2023 Bitcoin                              0.00058945 Customer Transfer
 Confidential Customer Coin Transferee #15241   [Address on File]    6/19/2023 Bitcoin                              0.00103042 Customer Transfer
 Confidential Customer Coin Transferee #15242   [Address on File]    5/22/2023 Bitcoin                              0.00177942 Customer Transfer
 Confidential Customer Coin Transferee #15243   [Address on File]    5/21/2023 Bitcoin                              0.00181107 Customer Transfer
 Confidential Customer Coin Transferee #15244   [Address on File]    5/16/2023 Bitcoin                              0.03688615 Customer Transfer
 Confidential Customer Coin Transferee #15244   [Address on File]    5/29/2023 Bitcoin                              0.03591902 Customer Transfer
 Confidential Customer Coin Transferee #15245   [Address on File]    6/20/2023 Bitcoin                               0.0000583 Customer Transfer
 Confidential Customer Coin Transferee #15246   [Address on File]    6/20/2023 Bitcoin                               0.0002916 Customer Transfer
 Confidential Customer Coin Transferee #15247   [Address on File]    5/26/2023 Bitcoin                              0.01126871 Customer Transfer
 Confidential Customer Coin Transferee #15248   [Address on File]    5/25/2023 Bitcoin                              0.02551399 Customer Transfer
 Confidential Customer Coin Transferee #15249   [Address on File]    5/26/2023 Bitcoin                              0.03422298 Customer Transfer
 Confidential Customer Coin Transferee #15250   [Address on File]    5/30/2023 Bitcoin                              0.00327265 Customer Transfer
 Confidential Customer Coin Transferee #15251   [Address on File]    6/19/2023 Tether USD                                37500 Customer Transfer
 Confidential Customer Coin Transferee #15252   [Address on File]    6/20/2023 Bitcoin                              0.00191356 Customer Transfer
 Confidential Customer Coin Transferee #15253   [Address on File]    6/20/2023 Bitcoin                               0.0035839 Customer Transfer

 Confidential Customer Coin Transferee #15254   [Address on File]    5/26/2023 Ether                                   1.22709724 Customer Transfer

 Confidential Customer Coin Transferee #15254   [Address on File]    5/26/2023 Bitcoin                                 0.05958822 Customer Transfer
 Confidential Customer Coin Transferee #15255   [Address on File]    6/19/2023 Bitcoin                                 0.00057862 Customer Transfer
 Confidential Customer Coin Transferee #15256   [Address on File]    6/19/2023 Bitcoin                                 0.00005833 Customer Transfer
 Confidential Customer Coin Transferee #15257   [Address on File]    5/30/2023 Bitcoin                                 0.01226985 Customer Transfer
 Confidential Customer Coin Transferee #15257   [Address on File]    5/30/2023 Bitcoin                                 0.01209614 Customer Transfer
 Confidential Customer Coin Transferee #15257   [Address on File]    5/28/2023 Bitcoin                                 0.01021639 Customer Transfer
 Confidential Customer Coin Transferee #15258   [Address on File]    5/29/2023 Bitcoin                                         0.2 Customer Transfer
 Confidential Customer Coin Transferee #15258   [Address on File]    5/30/2023 Bitcoin                                         0.1 Customer Transfer
 Confidential Customer Coin Transferee #15258   [Address on File]    5/30/2023 Bitcoin                                 0.05655265 Customer Transfer
 Confidential Customer Coin Transferee #15259   [Address on File]    6/19/2023 Bitcoin                                 0.00042678 Customer Transfer
 Confidential Customer Coin Transferee #15260   [Address on File]    5/17/2023 Bitcoin                                    0.004637 Customer Transfer
 Confidential Customer Coin Transferee #15261   [Address on File]    5/23/2023 Bitcoin                                 0.01010482 Customer Transfer
 Confidential Customer Coin Transferee #15262   [Address on File]    6/20/2023 Bitcoin                                 0.00011555 Customer Transfer
 Confidential Customer Coin Transferee #15263   [Address on File]    5/21/2023 Bitcoin                                 0.03712255 Customer Transfer
 Confidential Customer Coin Transferee #15264   [Address on File]    5/22/2023 Bitcoin                                 0.01019891 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                        Reason for Payment
                 Creditor's Name                    Address 1          Date              Crypto Currency           Unit Count           or Transfer

 Confidential Customer Coin Transferee #15265   [Address on File]    5/18/2023 Bitcoin                                 0.01574853 Customer Transfer
 Confidential Customer Coin Transferee #15266   [Address on File]    5/24/2023 Bitcoin                                 0.00343818 Customer Transfer
 Confidential Customer Coin Transferee #15267   [Address on File]    5/23/2023 Bitcoin                                 0.00177346 Customer Transfer
 Confidential Customer Coin Transferee #15268   [Address on File]    6/20/2023 Bitcoin                                 0.00004101 Customer Transfer


 Confidential Customer Coin Transferee #15269   [Address on File]     6/1/2023 Bitcoin                                   0.007222 Customer Transfer

 Confidential Customer Coin Transferee #15270   [Address on File]    6/15/2023 Tether USD                                21412.93 Customer Transfer
 Confidential Customer Coin Transferee #15271   [Address on File]    5/30/2023 Bitcoin                                 0.01722425 Customer Transfer
 Confidential Customer Coin Transferee #15271   [Address on File]    5/21/2023 Bitcoin                                         0.01 Customer Transfer
 Confidential Customer Coin Transferee #15271   [Address on File]    5/25/2023 Bitcoin                                         0.01 Customer Transfer
 Confidential Customer Coin Transferee #15272   [Address on File]    5/19/2023 Bitcoin                                  0.1111252 Customer Transfer
 Confidential Customer Coin Transferee #15272   [Address on File]    5/31/2023 Bitcoin                                 0.03773488 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/30/2023 Bitcoin                                         0.01 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/28/2023 Bitcoin                                 0.00495504 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/27/2023 Bitcoin                                 0.00252751 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/24/2023 Bitcoin                                 0.00251745 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/17/2023 Bitcoin                                      0.0025 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/17/2023 Bitcoin                                      0.0025 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/18/2023 Bitcoin                                      0.0025 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/19/2023 Bitcoin                                      0.0025 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/20/2023 Bitcoin                                      0.0025 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/21/2023 Bitcoin                                      0.0025 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/22/2023 Bitcoin                                      0.0025 Customer Transfer
 Confidential Customer Coin Transferee #15273   [Address on File]    5/31/2023 Bitcoin                                  0.0010379 Customer Transfer
 Confidential Customer Coin Transferee #15274   [Address on File]    5/29/2023 Bitcoin                                 0.02540827 Customer Transfer
 Confidential Customer Coin Transferee #15275   [Address on File]    5/21/2023 Bitcoin                                 0.01315432 Customer Transfer
 Confidential Customer Coin Transferee #15276   [Address on File]    6/20/2023 Bitcoin                                 0.00702697 Customer Transfer
 Confidential Customer Coin Transferee #15277   [Address on File]    5/21/2023 Bitcoin                                 0.33201861 Customer Transfer
 Confidential Customer Coin Transferee #15277   [Address on File]    5/16/2023 Bitcoin                                 0.33161626 Customer Transfer
 Confidential Customer Coin Transferee #15278   [Address on File]    5/20/2023 Bitcoin                                         0.03 Customer Transfer
 Confidential Customer Coin Transferee #15279   [Address on File]    5/25/2023 Bitcoin                                 0.01865171 Customer Transfer
 Confidential Customer Coin Transferee #15279   [Address on File]    5/30/2023 Bitcoin                                 0.00394038 Customer Transfer
 Confidential Customer Coin Transferee #15279   [Address on File]    5/24/2023 Bitcoin                                 0.00075346 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15280   [Address on File]    5/22/2023 Bitcoin                              0.01722679 Customer Transfer
 Confidential Customer Coin Transferee #15281   [Address on File]    6/20/2023 Bitcoin                              0.00562427 Customer Transfer
 Confidential Customer Coin Transferee #15282   [Address on File]    6/20/2023 Bitcoin                              0.00005829 Customer Transfer
 Confidential Customer Coin Transferee #15283   [Address on File]    6/20/2023 Bitcoin                              0.01008486 Customer Transfer
 Confidential Customer Coin Transferee #15284   [Address on File]    5/23/2023 Bitcoin                              0.00248225 Customer Transfer
 Confidential Customer Coin Transferee #15284   [Address on File]    5/16/2023 Bitcoin                              0.00242413 Customer Transfer
 Confidential Customer Coin Transferee #15285   [Address on File]    5/24/2023 Bitcoin                              0.01170321 Customer Transfer
 Confidential Customer Coin Transferee #15285   [Address on File]    5/24/2023 Bitcoin                              0.01153049 Customer Transfer
 Confidential Customer Coin Transferee #15285   [Address on File]    5/24/2023 Bitcoin                              0.01008106 Customer Transfer
 Confidential Customer Coin Transferee #15286   [Address on File]    5/23/2023 Bitcoin                              0.00404878 Customer Transfer
 Confidential Customer Coin Transferee #15286   [Address on File]    5/16/2023 Bitcoin                              0.00125112 Customer Transfer
 Confidential Customer Coin Transferee #15287   [Address on File]    5/19/2023 Bitcoin                              0.02516996 Customer Transfer
 Confidential Customer Coin Transferee #15288   [Address on File]    5/26/2023 Bitcoin                              0.00770581 Customer Transfer
 Confidential Customer Coin Transferee #15288   [Address on File]    5/19/2023 Bitcoin                              0.00732069 Customer Transfer

 Confidential Customer Coin Transferee #15289   [Address on File]    5/17/2023 Bitcoin                                 0.01039744 Customer Transfer
 Confidential Customer Coin Transferee #15290   [Address on File]    6/19/2023 Bitcoin                                 0.01375033 Customer Transfer
 Confidential Customer Coin Transferee #15291   [Address on File]    5/26/2023 Bitcoin                                  0.0007431 Customer Transfer
 Confidential Customer Coin Transferee #15291   [Address on File]    5/19/2023 Bitcoin                                 0.00069054 Customer Transfer
 Confidential Customer Coin Transferee #15292   [Address on File]    6/19/2023 Bitcoin                                 0.03222811 Customer Transfer
 Confidential Customer Coin Transferee #15293   [Address on File]    5/24/2023 Bitcoin                                 0.01130882 Customer Transfer
 Confidential Customer Coin Transferee #15293   [Address on File]    5/24/2023 Bitcoin                                 0.01054801 Customer Transfer
 Confidential Customer Coin Transferee #15293   [Address on File]    5/17/2023 Bitcoin                                  0.0103436 Customer Transfer
 Confidential Customer Coin Transferee #15293   [Address on File]    5/16/2023 Bitcoin                                 0.00185672 Customer Transfer
 Confidential Customer Coin Transferee #15294   [Address on File]    5/17/2023 Bitcoin                                 0.04244126 Customer Transfer
 Confidential Customer Coin Transferee #15295   [Address on File]    6/20/2023 Bitcoin                                 0.00325393 Customer Transfer
 Confidential Customer Coin Transferee #15296   [Address on File]    5/25/2023 Bitcoin                                  0.0863044 Customer Transfer
 Confidential Customer Coin Transferee #15296   [Address on File]    5/17/2023 Bitcoin                                    0.004592 Customer Transfer
 Confidential Customer Coin Transferee #15297   [Address on File]    5/24/2023 Bitcoin                                 0.01153902 Customer Transfer
 Confidential Customer Coin Transferee #15297   [Address on File]    5/17/2023 Bitcoin                                 0.01089789 Customer Transfer

 Confidential Customer Coin Transferee #15298   [Address on File]    5/25/2023 Bitcoin                                       0.07 Customer Transfer

 Confidential Customer Coin Transferee #15298   [Address on File]    5/26/2023 Bitcoin                                       0.04 Customer Transfer

 Confidential Customer Coin Transferee #15298   [Address on File]    5/29/2023 Bitcoin                                       0.03 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15299   [Address on File]    6/19/2023 Bitcoin                              0.00071774 Customer Transfer
 Confidential Customer Coin Transferee #15300   [Address on File]    6/20/2023 Bitcoin                              0.00072244 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/17/2023 Bitcoin                                     0.08 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/22/2023 Bitcoin                                     0.08 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/23/2023 Bitcoin                                     0.08 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/18/2023 Bitcoin                                     0.07 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/19/2023 Bitcoin                                     0.07 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/20/2023 Bitcoin                                     0.07 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/25/2023 Bitcoin                                     0.07 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/26/2023 Bitcoin                                     0.07 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/21/2023 Bitcoin                              0.06593858 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/16/2023 Bitcoin                                     0.06 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/27/2023 Bitcoin                                     0.04 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/29/2023 Bitcoin                                     0.04 Customer Transfer
 Confidential Customer Coin Transferee #15301   [Address on File]    5/30/2023 Bitcoin                                     0.04 Customer Transfer
 Confidential Customer Coin Transferee #15302   [Address on File]    5/24/2023 Ether                                0.00962223 Customer Transfer
 Confidential Customer Coin Transferee #15303   [Address on File]     6/7/2023 Bitcoin                              0.03284685 Customer Transfer
 Confidential Customer Coin Transferee #15304   [Address on File]    5/24/2023 Bitcoin                              0.01032405 Customer Transfer
 Confidential Customer Coin Transferee #15304   [Address on File]    5/16/2023 Bitcoin                              0.00183432 Customer Transfer
 Confidential Customer Coin Transferee #15304   [Address on File]    5/23/2023 Bitcoin                               0.0018219 Customer Transfer
 Confidential Customer Coin Transferee #15305   [Address on File]    5/26/2023 Bitcoin                              0.00886825 Customer Transfer
 Confidential Customer Coin Transferee #15306   [Address on File]    6/20/2023 Bitcoin                              0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #15307   [Address on File]    5/20/2023 Bitcoin                              0.01295956 Customer Transfer
 Confidential Customer Coin Transferee #15307   [Address on File]    5/21/2023 Bitcoin                              0.00739374 Customer Transfer
 Confidential Customer Coin Transferee #15307   [Address on File]    5/18/2023 Bitcoin                              0.00453824 Customer Transfer
 Confidential Customer Coin Transferee #15307   [Address on File]    5/16/2023 Bitcoin                              0.00069771 Customer Transfer
 Confidential Customer Coin Transferee #15308   [Address on File]    5/29/2023 Bitcoin                              0.00105256 Customer Transfer
 Confidential Customer Coin Transferee #15308   [Address on File]    5/21/2023 Bitcoin                              0.00014921 Customer Transfer
 Confidential Customer Coin Transferee #15309   [Address on File]    6/20/2023 Bitcoin                              0.00008465 Customer Transfer
 Confidential Customer Coin Transferee #15310   [Address on File]    6/20/2023 Bitcoin                              0.00445479 Customer Transfer
 Confidential Customer Coin Transferee #15311   [Address on File]    5/26/2023 Bitcoin                              0.25427888 Customer Transfer
 Confidential Customer Coin Transferee #15312   [Address on File]    5/29/2023 Bitcoin                              0.00542175 Customer Transfer
 Confidential Customer Coin Transferee #15313   [Address on File]    5/18/2023 Bitcoin                              0.00234537 Customer Transfer
 Confidential Customer Coin Transferee #15313   [Address on File]    5/27/2023 Bitcoin                              0.00184341 Customer Transfer
 Confidential Customer Coin Transferee #15314   [Address on File]    5/25/2023 Bitcoin                              0.00383736 Customer Transfer
 Confidential Customer Coin Transferee #15314   [Address on File]    5/20/2023 Bitcoin                               0.0018427 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15315   [Address on File]    5/25/2023 Bitcoin                              0.03646326 Customer Transfer
 Confidential Customer Coin Transferee #15315   [Address on File]    5/18/2023 Bitcoin                              0.03291262 Customer Transfer
 Confidential Customer Coin Transferee #15316   [Address on File]    6/21/2023 Bitcoin                              0.00396175 Customer Transfer
 Confidential Customer Coin Transferee #15316   [Address on File]     6/7/2023 Bitcoin                              0.00369042 Customer Transfer
 Confidential Customer Coin Transferee #15316   [Address on File]    5/22/2023 Bitcoin                              0.00218001 Customer Transfer
 Confidential Customer Coin Transferee #15317   [Address on File]    5/22/2023 Bitcoin                              0.00142461 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/24/2023 Bitcoin                              0.00052942 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/23/2023 Bitcoin                              0.00051024 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/30/2023 Bitcoin                               0.0004822 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/21/2023 Bitcoin                              0.00048166 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/28/2023 Bitcoin                              0.00047811 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/23/2023 Bitcoin                              0.00047522 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/26/2023 Bitcoin                              0.00046997 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/17/2023 Bitcoin                              0.00044131 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/17/2023 Bitcoin                               0.0004076 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/25/2023 Bitcoin                              0.00039914 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/29/2023 Bitcoin                              0.00039909 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/27/2023 Bitcoin                              0.00039122 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/28/2023 Bitcoin                                 0.000363 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/27/2023 Bitcoin                              0.00035757 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/27/2023 Bitcoin                              0.00035326 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/28/2023 Bitcoin                              0.00033614 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/24/2023 Bitcoin                              0.00033485 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/20/2023 Bitcoin                              0.00033312 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/17/2023 Bitcoin                              0.00032809 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/21/2023 Bitcoin                              0.00030866 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/27/2023 Bitcoin                                 0.000298 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/27/2023 Bitcoin                              0.00029772 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/31/2023 Bitcoin                              0.00029359 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/28/2023 Bitcoin                              0.00028795 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/29/2023 Bitcoin                              0.00026553 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/30/2023 Bitcoin                              0.00026023 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/27/2023 Bitcoin                              0.00022325 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/25/2023 Bitcoin                               0.0001895 Customer Transfer
 Confidential Customer Coin Transferee #15318   [Address on File]    5/25/2023 Bitcoin                              0.00014777 Customer Transfer
 Confidential Customer Coin Transferee #15319   [Address on File]    5/25/2023 Bitcoin                              0.00022336 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15319   [Address on File]    5/21/2023 Bitcoin                              0.00003668 Customer Transfer
 Confidential Customer Coin Transferee #15320   [Address on File]    5/26/2023 Bitcoin                               0.0041593 Customer Transfer
 Confidential Customer Coin Transferee #15321   [Address on File]    5/28/2023 Bitcoin                                    0.015 Customer Transfer
 Confidential Customer Coin Transferee #15321   [Address on File]    5/27/2023 Bitcoin                                   0.0018 Customer Transfer
 Confidential Customer Coin Transferee #15321   [Address on File]    5/27/2023 Bitcoin                                   0.0018 Customer Transfer
 Confidential Customer Coin Transferee #15322   [Address on File]    5/20/2023 Bitcoin                              0.00727716 Customer Transfer
 Confidential Customer Coin Transferee #15323   [Address on File]    5/19/2023 Bitcoin                              0.00141636 Customer Transfer
 Confidential Customer Coin Transferee #15323   [Address on File]    5/17/2023 Bitcoin                              0.00070372 Customer Transfer
 Confidential Customer Coin Transferee #15324   [Address on File]    6/19/2023 Bitcoin                              0.00127087 Customer Transfer
 Confidential Customer Coin Transferee #15325   [Address on File]    5/24/2023 Bitcoin                              0.01079259 Customer Transfer
 Confidential Customer Coin Transferee #15325   [Address on File]    5/24/2023 Bitcoin                              0.01052726 Customer Transfer
 Confidential Customer Coin Transferee #15325   [Address on File]    5/24/2023 Bitcoin                              0.01009164 Customer Transfer
 Confidential Customer Coin Transferee #15326   [Address on File]    6/12/2023 Bitcoin                              0.00135376 Customer Transfer
 Confidential Customer Coin Transferee #15326   [Address on File]    5/31/2023 Bitcoin                              0.00124901 Customer Transfer
 Confidential Customer Coin Transferee #15326   [Address on File]    5/17/2023 Bitcoin                              0.00081873 Customer Transfer
 Confidential Customer Coin Transferee #15326   [Address on File]    6/20/2023 Bitcoin                              0.00050731 Customer Transfer
 Confidential Customer Coin Transferee #15327   [Address on File]    5/25/2023 Bitcoin                                    0.026 Customer Transfer
 Confidential Customer Coin Transferee #15327   [Address on File]    5/17/2023 Bitcoin                                    0.012 Customer Transfer
 Confidential Customer Coin Transferee #15327   [Address on File]    5/26/2023 Bitcoin                                   0.0011 Customer Transfer
 Confidential Customer Coin Transferee #15328   [Address on File]    5/26/2023 Bitcoin                              0.11733587 Customer Transfer
 Confidential Customer Coin Transferee #15328   [Address on File]    5/19/2023 Bitcoin                              0.02314833 Customer Transfer
 Confidential Customer Coin Transferee #15329   [Address on File]    5/29/2023 Bitcoin                              0.01481576 Customer Transfer
 Confidential Customer Coin Transferee #15330   [Address on File]    5/22/2023 Bitcoin                              0.01172687 Customer Transfer

 Confidential Customer Coin Transferee #15331   [Address on File]    5/26/2023 Bitcoin                                  0.0186994 Customer Transfer

 Confidential Customer Coin Transferee #15331   [Address on File]    5/23/2023 Bitcoin                                 0.01860617 Customer Transfer

 Confidential Customer Coin Transferee #15331   [Address on File]    5/23/2023 Bitcoin                                 0.00037823 Customer Transfer

 Confidential Customer Coin Transferee #15331   [Address on File]    5/23/2023 Bitcoin                                 0.00037139 Customer Transfer

 Confidential Customer Coin Transferee #15331   [Address on File]    5/24/2023 Bitcoin                                 0.00037076 Customer Transfer

 Confidential Customer Coin Transferee #15331   [Address on File]    5/19/2023 Bitcoin                                 0.00036322 Customer Transfer



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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                        Reason for Payment
                 Creditor's Name                    Address 1          Date              Crypto Currency           Unit Count           or Transfer

 Confidential Customer Coin Transferee #15332   [Address on File]    5/19/2023 Ether                                   0.10006225 Customer Transfer

 Confidential Customer Coin Transferee #15332   [Address on File]    5/19/2023 Bitcoin                                 0.00450074 Customer Transfer

 Confidential Customer Coin Transferee #15333   [Address on File]    6/15/2023 Bitcoin                                 0.10918313 Customer Transfer
 Confidential Customer Coin Transferee #15334   [Address on File]    5/25/2023 USD Coin                                       9990 Customer Transfer
 Confidential Customer Coin Transferee #15334   [Address on File]    5/24/2023 USD Coin                                          10 Customer Transfer
 Confidential Customer Coin Transferee #15334   [Address on File]     6/6/2023 USD Coin                                          10 Customer Transfer
 Confidential Customer Coin Transferee #15335   [Address on File]    6/19/2023 Bitcoin                                 0.00693433 Customer Transfer
 Confidential Customer Coin Transferee #15336   [Address on File]    5/25/2023 Bitcoin                                 0.00362943 Customer Transfer
 Confidential Customer Coin Transferee #15336   [Address on File]    5/17/2023 Bitcoin                                 0.00342698 Customer Transfer
 Confidential Customer Coin Transferee #15337   [Address on File]    5/19/2023 Bitcoin                                  0.0051565 Customer Transfer
 Confidential Customer Coin Transferee #15337   [Address on File]    6/19/2023 Bitcoin                                 0.00191172 Customer Transfer
 Confidential Customer Coin Transferee #15338   [Address on File]    6/19/2023 Bitcoin                                 0.00430599 Customer Transfer
 Confidential Customer Coin Transferee #15339   [Address on File]    5/22/2023 Bitcoin                                 0.00741027 Customer Transfer
 Confidential Customer Coin Transferee #15339   [Address on File]    5/17/2023 Bitcoin                                 0.00364233 Customer Transfer
 Confidential Customer Coin Transferee #15340   [Address on File]    5/18/2023 Bitcoin                                 0.00021926 Customer Transfer
 Confidential Customer Coin Transferee #15340   [Address on File]    5/16/2023 Bitcoin                                 0.00018388 Customer Transfer
 Confidential Customer Coin Transferee #15341   [Address on File]    5/17/2023 Bitcoin                                 0.00188721 Customer Transfer
 Confidential Customer Coin Transferee #15341   [Address on File]    5/27/2023 Bitcoin                                 0.00187707 Customer Transfer
 Confidential Customer Coin Transferee #15341   [Address on File]    5/19/2023 Bitcoin                                 0.00185058 Customer Transfer
 Confidential Customer Coin Transferee #15342   [Address on File]    5/17/2023 Bitcoin                                 0.01120153 Customer Transfer
 Confidential Customer Coin Transferee #15342   [Address on File]    5/26/2023 Bitcoin                                  0.0105773 Customer Transfer
 Confidential Customer Coin Transferee #15343   [Address on File]    6/19/2023 Bitcoin                                 0.00007024 Customer Transfer
 Confidential Customer Coin Transferee #15344   [Address on File]    6/19/2023 Bitcoin                                 0.00045142 Customer Transfer
 Confidential Customer Coin Transferee #15345   [Address on File]    6/19/2023 Bitcoin                                 0.05340283 Customer Transfer
 Confidential Customer Coin Transferee #15346   [Address on File]    5/19/2023 Bitcoin                                      0.0185 Customer Transfer
 Confidential Customer Coin Transferee #15346   [Address on File]    5/19/2023 Bitcoin                                     0.00015 Customer Transfer
 Confidential Customer Coin Transferee #15347   [Address on File]    5/22/2023 Bitcoin                                 0.03089195 Customer Transfer
 Confidential Customer Coin Transferee #15348   [Address on File]    5/22/2023 Bitcoin                                         0.02 Customer Transfer
 Confidential Customer Coin Transferee #15349   [Address on File]    5/23/2023 Bitcoin                                 0.00683104 Customer Transfer
 Confidential Customer Coin Transferee #15350   [Address on File]    5/18/2023 Bitcoin                                  0.0027141 Customer Transfer
 Confidential Customer Coin Transferee #15351   [Address on File]    5/20/2023 Bitcoin                                 0.00369989 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/30/2023 Bitcoin                                 0.03686104 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/27/2023 Bitcoin                                 0.03150388 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/27/2023 Bitcoin                              0.02976514 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/26/2023 Bitcoin                              0.02788031 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/30/2023 Bitcoin                              0.02142624 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/27/2023 Bitcoin                              0.01117651 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/28/2023 Bitcoin                              0.00916259 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/29/2023 Bitcoin                              0.00891087 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/30/2023 Bitcoin                              0.00816982 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/27/2023 Bitcoin                              0.00746767 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/27/2023 Bitcoin                              0.00742097 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/27/2023 Bitcoin                              0.00557818 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/26/2023 Bitcoin                              0.00557708 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/22/2023 Bitcoin                              0.00554455 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/31/2023 Bitcoin                              0.00440353 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/27/2023 Bitcoin                              0.00372385 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/19/2023 Bitcoin                              0.00369802 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/20/2023 Bitcoin                              0.00369396 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/22/2023 Bitcoin                              0.00368782 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/28/2023 Bitcoin                              0.00360298 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/18/2023 Bitcoin                              0.00279007 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/17/2023 Bitcoin                              0.00219788 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/26/2023 Bitcoin                              0.00204137 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/20/2023 Bitcoin                              0.00183384 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/28/2023 Bitcoin                              0.00181827 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/17/2023 Bitcoin                              0.00148761 Customer Transfer
 Confidential Customer Coin Transferee #15352   [Address on File]    5/23/2023 Bitcoin                              0.00146224 Customer Transfer
 Confidential Customer Coin Transferee #15353   [Address on File]    5/16/2023 Bitcoin                              0.00883962 Customer Transfer
 Confidential Customer Coin Transferee #15354   [Address on File]    5/23/2023 Bitcoin                              0.00977608 Customer Transfer
 Confidential Customer Coin Transferee #15355   [Address on File]    5/25/2023 Bitcoin                               0.0119391 Customer Transfer
 Confidential Customer Coin Transferee #15356   [Address on File]    5/24/2023 Bitcoin                              0.00132497 Customer Transfer
 Confidential Customer Coin Transferee #15357   [Address on File]    5/26/2023 Bitcoin                              0.00927172 Customer Transfer
 Confidential Customer Coin Transferee #15358   [Address on File]    5/21/2023 Bitcoin                              0.00157318 Customer Transfer
 Confidential Customer Coin Transferee #15358   [Address on File]    5/21/2023 Bitcoin                              0.00157312 Customer Transfer
 Confidential Customer Coin Transferee #15358   [Address on File]    5/29/2023 Bitcoin                              0.00137553 Customer Transfer
 Confidential Customer Coin Transferee #15358   [Address on File]    5/17/2023 Bitcoin                              0.00029044 Customer Transfer
 Confidential Customer Coin Transferee #15358   [Address on File]    5/21/2023 Bitcoin                              0.00026438 Customer Transfer
 Confidential Customer Coin Transferee #15358   [Address on File]    5/27/2023 Bitcoin                              0.00019726 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15359   [Address on File]    5/23/2023 Bitcoin                              0.00003672 Customer Transfer
 Confidential Customer Coin Transferee #15360   [Address on File]    6/20/2023 Bitcoin                              0.00011695 Customer Transfer

 Confidential Customer Coin Transferee #15361   [Address on File]    6/20/2023 USD Coin                                 98.545237 Customer Transfer
 Confidential Customer Coin Transferee #15362   [Address on File]    5/24/2023 Bitcoin                                 0.02742923 Customer Transfer
 Confidential Customer Coin Transferee #15363   [Address on File]     6/1/2023 USD Coin                                495.842078 Customer Transfer
 Confidential Customer Coin Transferee #15363   [Address on File]     6/2/2023 Ether                                      0.154809 Customer Transfer
 Confidential Customer Coin Transferee #15363   [Address on File]     6/2/2023 Ether                                      0.154777 Customer Transfer
 Confidential Customer Coin Transferee #15363   [Address on File]     6/2/2023 Ether                                         0.1026 Customer Transfer
 Confidential Customer Coin Transferee #15364   [Address on File]    6/20/2023 Bitcoin                                 0.00156926 Customer Transfer
 Confidential Customer Coin Transferee #15365   [Address on File]    6/20/2023 Bitcoin                                 0.00069955 Customer Transfer
 Confidential Customer Coin Transferee #15366   [Address on File]    6/18/2023 Bitcoin                                 0.01996685 Customer Transfer
 Confidential Customer Coin Transferee #15367   [Address on File]     6/3/2023 Tether USD                               95.864135 Customer Transfer
 Confidential Customer Coin Transferee #15368   [Address on File]    6/20/2023 Bitcoin                                 0.00054196 Customer Transfer
 Confidential Customer Coin Transferee #15369   [Address on File]    6/20/2023 Bitcoin                                 0.00086081 Customer Transfer
 Confidential Customer Coin Transferee #15370   [Address on File]    5/16/2023 Bitcoin                                 0.02019516 Customer Transfer
 Confidential Customer Coin Transferee #15371   [Address on File]     6/5/2023 Cardano                                  26.229939 Customer Transfer
 Confidential Customer Coin Transferee #15371   [Address on File]     6/2/2023 Cardano                                   26.22304 Customer Transfer
 Confidential Customer Coin Transferee #15372   [Address on File]    6/14/2023 Tether USD                              101.679496 Customer Transfer
 Confidential Customer Coin Transferee #15373   [Address on File]    5/22/2023 Bitcoin                                 0.00277803 Customer Transfer
 Confidential Customer Coin Transferee #15374   [Address on File]    5/23/2023 Bitcoin                                 0.00147922 Customer Transfer
 Confidential Customer Coin Transferee #15374   [Address on File]    6/15/2023 Bitcoin                                 0.00039858 Customer Transfer
 Confidential Customer Coin Transferee #15374   [Address on File]    6/15/2023 Bitcoin                                  0.0003948 Customer Transfer
 Confidential Customer Coin Transferee #15374   [Address on File]    6/14/2023 Bitcoin                                 0.00038136 Customer Transfer
 Confidential Customer Coin Transferee #15374   [Address on File]    5/26/2023 Bitcoin                                 0.00009489 Customer Transfer
 Confidential Customer Coin Transferee #15375   [Address on File]    5/26/2023 Bitcoin                                  0.0018603 Customer Transfer
 Confidential Customer Coin Transferee #15375   [Address on File]    5/19/2023 Bitcoin                                  0.0017402 Customer Transfer
 Confidential Customer Coin Transferee #15376   [Address on File]    5/25/2023 Bitcoin                                 0.02035044 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/28/2023 Bitcoin                                 0.00533173 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/27/2023 Bitcoin                                 0.00484621 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/28/2023 Bitcoin                                 0.00482909 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/28/2023 Bitcoin                                 0.00443084 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/27/2023 Bitcoin                                 0.00428727 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/27/2023 Bitcoin                                 0.00381076 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/27/2023 Bitcoin                                 0.00359499 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/27/2023 Bitcoin                                 0.00359443 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/27/2023 Bitcoin                              0.00358122 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/27/2023 Bitcoin                              0.00358005 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/17/2023 Bitcoin                              0.00349252 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/28/2023 Bitcoin                              0.00348813 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/17/2023 Bitcoin                              0.00317746 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/17/2023 Bitcoin                              0.00311693 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/28/2023 Bitcoin                              0.00264194 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/28/2023 Bitcoin                              0.00226224 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/27/2023 Bitcoin                              0.00221726 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/19/2023 Bitcoin                              0.00204091 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/27/2023 Bitcoin                              0.00192085 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/17/2023 Bitcoin                              0.00189792 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/17/2023 Bitcoin                              0.00177412 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/17/2023 Bitcoin                              0.00177012 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/28/2023 Bitcoin                              0.00175767 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/28/2023 Bitcoin                              0.00166166 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/18/2023 Bitcoin                              0.00161105 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/28/2023 Bitcoin                              0.00158572 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/27/2023 Bitcoin                               0.0015299 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/19/2023 Bitcoin                               0.0014836 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/18/2023 Bitcoin                              0.00130433 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/19/2023 Bitcoin                              0.00092416 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/19/2023 Bitcoin                              0.00066697 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/20/2023 Bitcoin                              0.00037002 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/20/2023 Bitcoin                               0.0002796 Customer Transfer
 Confidential Customer Coin Transferee #15377   [Address on File]    5/29/2023 Bitcoin                              0.00005212 Customer Transfer
 Confidential Customer Coin Transferee #15378   [Address on File]    6/20/2023 Bitcoin                              0.00472688 Customer Transfer
 Confidential Customer Coin Transferee #15379   [Address on File]    5/18/2023 Bitcoin                              0.09110722 Customer Transfer
 Confidential Customer Coin Transferee #15380   [Address on File]    6/19/2023 USDC Avalanche)                      122.111454 Customer Transfer
 Confidential Customer Coin Transferee #15380   [Address on File]     6/1/2023 USDC Avalanche)                       32.520487 Customer Transfer
 Confidential Customer Coin Transferee #15381   [Address on File]    5/19/2023 Bitcoin                              0.01426588 Customer Transfer
 Confidential Customer Coin Transferee #15382   [Address on File]     6/6/2023 Bitcoin                              0.01240518 Customer Transfer
 Confidential Customer Coin Transferee #15383   [Address on File]    6/20/2023 Bitcoin                              0.00210867 Customer Transfer
 Confidential Customer Coin Transferee #15384   [Address on File]    5/29/2023 Bitcoin                               0.0253245 Customer Transfer
 Confidential Customer Coin Transferee #15385   [Address on File]    5/25/2023 Bitcoin                              0.01463631 Customer Transfer
 Confidential Customer Coin Transferee #15386   [Address on File]    5/25/2023 Bitcoin                              0.00083438 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count          or Transfer
 Confidential Customer Coin Transferee #15386   [Address on File]    5/27/2023 Bitcoin                              0.00074413 Customer Transfer
 Confidential Customer Coin Transferee #15386   [Address on File]    5/17/2023 Bitcoin                              0.00073451 Customer Transfer
 Confidential Customer Coin Transferee #15387   [Address on File]    5/16/2023 Bitcoin                              0.01378834 Customer Transfer
 Confidential Customer Coin Transferee #15388   [Address on File]    6/20/2023 Bitcoin                              0.00058299 Customer Transfer
 Confidential Customer Coin Transferee #15389   [Address on File]    5/16/2023 Bitcoin                              0.02080437 Customer Transfer
 Confidential Customer Coin Transferee #15390   [Address on File]    5/25/2023 Bitcoin                              0.01026248 Customer Transfer
 Confidential Customer Coin Transferee #15391   [Address on File]     6/9/2023 Bitcoin                              0.00057468 Customer Transfer
 Confidential Customer Coin Transferee #15391   [Address on File]    5/22/2023 Bitcoin                              0.00023516 Customer Transfer
 Confidential Customer Coin Transferee #15392   [Address on File]    5/25/2023 Bitcoin                              0.07505758 Customer Transfer
 Confidential Customer Coin Transferee #15392   [Address on File]    5/17/2023 Bitcoin                              0.05571239 Customer Transfer
 Confidential Customer Coin Transferee #15392   [Address on File]    5/24/2023 Bitcoin                              0.03755983 Customer Transfer
 Confidential Customer Coin Transferee #15392   [Address on File]    5/27/2023 Bitcoin                              0.03712406 Customer Transfer
 Confidential Customer Coin Transferee #15393   [Address on File]    5/27/2023 Bitcoin                              0.00136859 Customer Transfer
 Confidential Customer Coin Transferee #15394   [Address on File]    5/18/2023 Bitcoin                              0.02613317 Customer Transfer
 Confidential Customer Coin Transferee #15395   [Address on File]    6/19/2023 Bitcoin                              0.00044611 Customer Transfer
 Confidential Customer Coin Transferee #15396   [Address on File]    5/19/2023 Bitcoin                                    0.0224 Customer Transfer
 Confidential Customer Coin Transferee #15396   [Address on File]    5/26/2023 Bitcoin                                    0.0223 Customer Transfer
 Confidential Customer Coin Transferee #15397   [Address on File]    5/19/2023 Bitcoin                              0.03945129 Customer Transfer
 Confidential Customer Coin Transferee #15398   [Address on File]    6/19/2023 Bitcoin                              0.00460791 Customer Transfer
 Confidential Customer Coin Transferee #15399   [Address on File]    5/20/2023 Bitcoin                              0.00415827 Customer Transfer
 Confidential Customer Coin Transferee #15400   [Address on File]    5/27/2023 Bitcoin                                    0.0593 Customer Transfer
 Confidential Customer Coin Transferee #15401   [Address on File]    6/20/2023 Bitcoin                              0.00005824 Customer Transfer
 Confidential Customer Coin Transferee #15402   [Address on File]    5/28/2023 Bitcoin                                       0.16 Customer Transfer
 Confidential Customer Coin Transferee #15403   [Address on File]    5/23/2023 Bitcoin                              0.01049292 Customer Transfer
 Confidential Customer Coin Transferee #15404   [Address on File]    6/19/2023 Bitcoin                              0.03711165 Customer Transfer
 Confidential Customer Coin Transferee #15405   [Address on File]    5/20/2023 Bitcoin                              0.05364579 Customer Transfer
 Confidential Customer Coin Transferee #15406   [Address on File]    5/22/2023 Bitcoin                              0.02918193 Customer Transfer
 Confidential Customer Coin Transferee #15407   [Address on File]    6/20/2023 Bitcoin                              0.07282799 Customer Transfer
 Confidential Customer Coin Transferee #15408   [Address on File]    6/19/2023 Bitcoin                                 0.000335 Customer Transfer
 Confidential Customer Coin Transferee #15409   [Address on File]    5/23/2023 Bitcoin                              0.13478085 Customer Transfer
 Confidential Customer Coin Transferee #15409   [Address on File]    5/20/2023 Bitcoin                              0.00003722 Customer Transfer
 Confidential Customer Coin Transferee #15410   [Address on File]    5/20/2023 Bitcoin                                    0.0001 Customer Transfer
 Confidential Customer Coin Transferee #15411   [Address on File]    5/31/2023 Bitcoin                              0.00072883 Customer Transfer
 Confidential Customer Coin Transferee #15412   [Address on File]    5/19/2023 Bitcoin                              0.00555631 Customer Transfer
 Confidential Customer Coin Transferee #15412   [Address on File]    5/24/2023 Bitcoin                              0.00287215 Customer Transfer
 Confidential Customer Coin Transferee #15412   [Address on File]    5/24/2023 Bitcoin                              0.00185661 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15412   [Address on File]    5/24/2023 Bitcoin                              0.00091971 Customer Transfer
 Confidential Customer Coin Transferee #15413   [Address on File]    5/18/2023 Bitcoin                              0.00544533 Customer Transfer
 Confidential Customer Coin Transferee #15414   [Address on File]    5/25/2023 Bitcoin                               0.0021994 Customer Transfer
 Confidential Customer Coin Transferee #15415   [Address on File]    6/19/2023 Bitcoin                              0.00019904 Customer Transfer
 Confidential Customer Coin Transferee #15416   [Address on File]    6/20/2023 Bitcoin                              0.00066156 Customer Transfer
 Confidential Customer Coin Transferee #15417   [Address on File]    5/26/2023 Bitcoin                              0.00748195 Customer Transfer
 Confidential Customer Coin Transferee #15418   [Address on File]    5/20/2023 Bitcoin                                  0.00126 Customer Transfer
 Confidential Customer Coin Transferee #15419   [Address on File]    5/19/2023 Bitcoin                               0.0576237 Customer Transfer
 Confidential Customer Coin Transferee #15419   [Address on File]    5/19/2023 Bitcoin                              0.05388814 Customer Transfer
 Confidential Customer Coin Transferee #15420   [Address on File]    5/29/2023 Bitcoin                              0.01058067 Customer Transfer
 Confidential Customer Coin Transferee #15420   [Address on File]    5/16/2023 Bitcoin                              0.00370915 Customer Transfer
 Confidential Customer Coin Transferee #15420   [Address on File]    5/22/2023 Bitcoin                              0.00369687 Customer Transfer
 Confidential Customer Coin Transferee #15420   [Address on File]    5/26/2023 Bitcoin                              0.00112062 Customer Transfer
 Confidential Customer Coin Transferee #15420   [Address on File]    5/28/2023 Bitcoin                              0.00107938 Customer Transfer
 Confidential Customer Coin Transferee #15421   [Address on File]    5/23/2023 Bitcoin                               0.0025823 Customer Transfer
 Confidential Customer Coin Transferee #15422   [Address on File]    5/16/2023 Bitcoin                              0.01437379 Customer Transfer
 Confidential Customer Coin Transferee #15423   [Address on File]    5/30/2023 Bitcoin                                      0.04 Customer Transfer
 Confidential Customer Coin Transferee #15424   [Address on File]    5/24/2023 Bitcoin                               0.0371791 Customer Transfer
 Confidential Customer Coin Transferee #15424   [Address on File]    5/18/2023 Bitcoin                              0.01121595 Customer Transfer
 Confidential Customer Coin Transferee #15424   [Address on File]    5/31/2023 Bitcoin                              0.00719379 Customer Transfer
 Confidential Customer Coin Transferee #15424   [Address on File]    5/25/2023 Bitcoin                              0.00379954 Customer Transfer
 Confidential Customer Coin Transferee #15424   [Address on File]    5/27/2023 Bitcoin                              0.00371786 Customer Transfer
 Confidential Customer Coin Transferee #15425   [Address on File]    5/19/2023 Bitcoin                              0.00813215 Customer Transfer
 Confidential Customer Coin Transferee #15426   [Address on File]    5/19/2023 Bitcoin                              0.00132139 Customer Transfer
 Confidential Customer Coin Transferee #15426   [Address on File]    5/19/2023 Bitcoin                              0.00112191 Customer Transfer
 Confidential Customer Coin Transferee #15426   [Address on File]    5/20/2023 Bitcoin                              0.00091928 Customer Transfer
 Confidential Customer Coin Transferee #15426   [Address on File]    5/17/2023 Bitcoin                              0.00061436 Customer Transfer
 Confidential Customer Coin Transferee #15426   [Address on File]    5/18/2023 Bitcoin                                   0.0006 Customer Transfer
 Confidential Customer Coin Transferee #15426   [Address on File]    5/17/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #15426   [Address on File]    5/18/2023 Bitcoin                              0.00049469 Customer Transfer
 Confidential Customer Coin Transferee #15426   [Address on File]    5/21/2023 Bitcoin                              0.00018468 Customer Transfer
 Confidential Customer Coin Transferee #15427   [Address on File]    5/28/2023 Bitcoin                              0.00839895 Customer Transfer
 Confidential Customer Coin Transferee #15428   [Address on File]    5/29/2023 Bitcoin                              0.00736721 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]     6/7/2023 Bitcoin                              0.02206834 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]    6/13/2023 Bitcoin                              0.02057634 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]    5/31/2023 Bitcoin                              0.01390362 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]     6/1/2023 Bitcoin                              0.01209049 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]     6/7/2023 Bitcoin                              0.01131948 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]    6/17/2023 Bitcoin                              0.01096921 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]     6/5/2023 Bitcoin                              0.01095797 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]    5/24/2023 Bitcoin                              0.01069248 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]    5/16/2023 Bitcoin                               0.0106133 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]    5/26/2023 Bitcoin                               0.0104597 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]    5/29/2023 Bitcoin                                 0.010323 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]    5/22/2023 Bitcoin                              0.01030523 Customer Transfer
 Confidential Customer Coin Transferee #15429   [Address on File]     6/9/2023 Bitcoin                              0.00376011 Customer Transfer
 Confidential Customer Coin Transferee #15430   [Address on File]    6/21/2023 USD Coin                             295.635711 Customer Transfer
 Confidential Customer Coin Transferee #15430   [Address on File]    6/21/2023 USD Coin                             243.979266 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/21/2023 Bitcoin                              0.00279202 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/27/2023 Bitcoin                              0.00185769 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/19/2023 Bitcoin                              0.00185557 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/24/2023 Bitcoin                              0.00182623 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/25/2023 Bitcoin                              0.00174801 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/17/2023 Bitcoin                                    0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/28/2023 Bitcoin                              0.00146632 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/29/2023 Bitcoin                               0.0014255 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/16/2023 Bitcoin                              0.00124903 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/29/2023 Bitcoin                              0.00107862 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/30/2023 Bitcoin                              0.00107718 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/28/2023 Bitcoin                              0.00106216 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/17/2023 Bitcoin                              0.00102743 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/31/2023 Bitcoin                              0.00099984 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/25/2023 Bitcoin                               0.0009394 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/21/2023 Bitcoin                              0.00092283 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/19/2023 Bitcoin                              0.00091673 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/19/2023 Bitcoin                              0.00085004 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/24/2023 Bitcoin                              0.00079385 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/25/2023 Bitcoin                              0.00073445 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/16/2023 Bitcoin                              0.00073283 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/25/2023 Bitcoin                               0.0007193 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/25/2023 Bitcoin                              0.00071857 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/31/2023 Bitcoin                              0.00071106 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/17/2023 Bitcoin                              0.00067626 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/16/2023 Bitcoin                              0.00066284 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/16/2023 Bitcoin                              0.00056725 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/19/2023 Bitcoin                              0.00055495 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/21/2023 Bitcoin                              0.00055482 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/25/2023 Bitcoin                              0.00052623 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/26/2023 Bitcoin                               0.0004359 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/30/2023 Bitcoin                              0.00032269 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/16/2023 Bitcoin                              0.00020171 Customer Transfer
 Confidential Customer Coin Transferee #15431   [Address on File]    5/21/2023 Bitcoin                              0.00017434 Customer Transfer
 Confidential Customer Coin Transferee #15432   [Address on File]    5/21/2023 Bitcoin                              0.00491517 Customer Transfer
 Confidential Customer Coin Transferee #15433   [Address on File]    5/23/2023 Bitcoin                                      0.11 Customer Transfer
 Confidential Customer Coin Transferee #15434   [Address on File]    5/19/2023 Bitcoin                              0.02059407 Customer Transfer
 Confidential Customer Coin Transferee #15435   [Address on File]    5/30/2023 Bitcoin                                       0.1 Customer Transfer
 Confidential Customer Coin Transferee #15435   [Address on File]    5/31/2023 Bitcoin                                       0.1 Customer Transfer
 Confidential Customer Coin Transferee #15436   [Address on File]    5/25/2023 Bitcoin                              0.00211509 Customer Transfer
 Confidential Customer Coin Transferee #15437   [Address on File]    5/16/2023 Bitcoin                              0.00355185 Customer Transfer
 Confidential Customer Coin Transferee #15437   [Address on File]    5/16/2023 Bitcoin                                     0.003 Customer Transfer
 Confidential Customer Coin Transferee #15437   [Address on File]    5/16/2023 Bitcoin                                  0.00005 Customer Transfer
 Confidential Customer Coin Transferee #15438   [Address on File]    5/23/2023 Bitcoin                              0.05269475 Customer Transfer
 Confidential Customer Coin Transferee #15439   [Address on File]    5/16/2023 Bitcoin                               0.0667949 Customer Transfer
 Confidential Customer Coin Transferee #15440   [Address on File]    5/24/2023 Bitcoin                              0.01561962 Customer Transfer
 Confidential Customer Coin Transferee #15440   [Address on File]    5/23/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #15441   [Address on File]    5/24/2023 Bitcoin                              0.00266686 Customer Transfer
 Confidential Customer Coin Transferee #15441   [Address on File]    5/23/2023 Bitcoin                                     0.002 Customer Transfer
 Confidential Customer Coin Transferee #15441   [Address on File]    5/22/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15441   [Address on File]    5/21/2023 Bitcoin                                  0.00075 Customer Transfer
 Confidential Customer Coin Transferee #15441   [Address on File]    5/21/2023 Bitcoin                                  0.00045 Customer Transfer
 Confidential Customer Coin Transferee #15442   [Address on File]    5/21/2023 Bitcoin                              0.00073945 Customer Transfer
 Confidential Customer Coin Transferee #15443   [Address on File]    5/20/2023 Bitcoin                              0.00020018 Customer Transfer
 Confidential Customer Coin Transferee #15443   [Address on File]    5/25/2023 Bitcoin                              0.00001524 Customer Transfer
 Confidential Customer Coin Transferee #15444   [Address on File]    5/20/2023 Bitcoin                                     0.008 Customer Transfer
 Confidential Customer Coin Transferee #15444   [Address on File]    5/20/2023 Bitcoin                                     0.002 Customer Transfer
 Confidential Customer Coin Transferee #15444   [Address on File]    5/20/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #15444   [Address on File]    5/20/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #15444   [Address on File]    5/20/2023 Bitcoin                                   0.0002 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15444   [Address on File]    5/20/2023 Bitcoin                                   0.0001 Customer Transfer
 Confidential Customer Coin Transferee #15445   [Address on File]    5/26/2023 Bitcoin                              0.09075265 Customer Transfer
 Confidential Customer Coin Transferee #15445   [Address on File]    5/26/2023 Bitcoin                              0.02971113 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/20/2023 Bitcoin                                   0.001285 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/21/2023 Bitcoin                                 0.00118441 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/24/2023 Bitcoin                                 0.00094163 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/26/2023 Bitcoin                                 0.00092847 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/21/2023 Bitcoin                                 0.00092408 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/16/2023 Bitcoin                                 0.00091959 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/23/2023 Bitcoin                                 0.00091396 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/17/2023 Bitcoin                                 0.00090881 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/27/2023 Bitcoin                                 0.00085689 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/21/2023 Bitcoin                                 0.00085083 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/31/2023 Bitcoin                                 0.00084535 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/29/2023 Bitcoin                                 0.00082679 Customer Transfer

 Confidential Customer Coin Transferee #15446   [Address on File]    5/30/2023 Bitcoin                                 0.00082477 Customer Transfer
 Confidential Customer Coin Transferee #15447   [Address on File]    5/27/2023 Bitcoin                                 0.02249389 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/31/2023 Bitcoin                                 0.00923291 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/30/2023 Bitcoin                                 0.00448237 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/27/2023 Bitcoin                                 0.00371739 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/19/2023 Bitcoin                                 0.00362987 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/29/2023 Bitcoin                                 0.00337954 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/24/2023 Bitcoin                                 0.00282136 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/17/2023 Bitcoin                              0.00275476 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/24/2023 Bitcoin                                  0.00275 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/17/2023 Bitcoin                              0.00256749 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/25/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/17/2023 Bitcoin                              0.00183255 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/19/2023 Bitcoin                              0.00177917 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/20/2023 Bitcoin                              0.00177631 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/17/2023 Bitcoin                              0.00172332 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/29/2023 Bitcoin                              0.00167536 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/31/2023 Bitcoin                              0.00165403 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/23/2023 Bitcoin                               0.0015299 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/26/2023 Bitcoin                              0.00149832 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/22/2023 Bitcoin                              0.00137971 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/28/2023 Bitcoin                              0.00135304 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/24/2023 Bitcoin                              0.00134008 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/29/2023 Bitcoin                              0.00111403 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/25/2023 Bitcoin                              0.00109825 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/21/2023 Bitcoin                              0.00099829 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/27/2023 Bitcoin                              0.00078035 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/30/2023 Bitcoin                              0.00064479 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/31/2023 Bitcoin                               0.0005891 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/21/2023 Bitcoin                              0.00058587 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/27/2023 Bitcoin                              0.00051174 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/30/2023 Bitcoin                              0.00032194 Customer Transfer
 Confidential Customer Coin Transferee #15448   [Address on File]    5/22/2023 Bitcoin                              0.00029627 Customer Transfer
 Confidential Customer Coin Transferee #15449   [Address on File]    5/23/2023 Bitcoin                              0.03930342 Customer Transfer
 Confidential Customer Coin Transferee #15449   [Address on File]    5/18/2023 Bitcoin                              0.02949585 Customer Transfer
 Confidential Customer Coin Transferee #15449   [Address on File]    5/31/2023 Bitcoin                              0.02218923 Customer Transfer
 Confidential Customer Coin Transferee #15450   [Address on File]    5/28/2023 Bitcoin                              0.00188672 Customer Transfer
 Confidential Customer Coin Transferee #15451   [Address on File]    5/29/2023 Bitcoin                              0.01867153 Customer Transfer
 Confidential Customer Coin Transferee #15452   [Address on File]    5/25/2023 Bitcoin                              0.00361988 Customer Transfer
 Confidential Customer Coin Transferee #15453   [Address on File]    6/20/2023 Bitcoin                              0.05060005 Customer Transfer
 Confidential Customer Coin Transferee #15454   [Address on File]     6/9/2023 Bitcoin                              0.00374199 Customer Transfer
 Confidential Customer Coin Transferee #15455   [Address on File]     6/5/2023 Bitcoin                              0.29009258 Customer Transfer
 Confidential Customer Coin Transferee #15455   [Address on File]    5/16/2023 Bitcoin                               0.1448823 Customer Transfer
 Confidential Customer Coin Transferee #15455   [Address on File]    6/20/2023 Bitcoin                              0.07791627 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1          Date              Crypto Currency           Unit Count          or Transfer

 Confidential Customer Coin Transferee #15456   [Address on File]    6/19/2023 Bitcoin                                  0.0038725 Customer Transfer

 Confidential Customer Coin Transferee #15456   [Address on File]    6/19/2023 Bitcoin                                 0.00378777 Customer Transfer

 Confidential Customer Coin Transferee #15456   [Address on File]    6/21/2023 Bitcoin                                 0.00368596 Customer Transfer
 Confidential Customer Coin Transferee #15457   [Address on File]    5/28/2023 Bitcoin                                 1.29900784 Customer Transfer
 Confidential Customer Coin Transferee #15457   [Address on File]    5/26/2023 Bitcoin                                 0.05835141 Customer Transfer
 Confidential Customer Coin Transferee #15458   [Address on File]    6/20/2023 Bitcoin                                 0.00041765 Customer Transfer
 Confidential Customer Coin Transferee #15459   [Address on File]    5/21/2023 Bitcoin                                 0.01315624 Customer Transfer
 Confidential Customer Coin Transferee #15460   [Address on File]    5/30/2023 USDC Avalanche)                         197.281087 Customer Transfer
 Confidential Customer Coin Transferee #15461   [Address on File]    6/20/2023 Bitcoin                                 0.00005624 Customer Transfer
 Confidential Customer Coin Transferee #15462   [Address on File]    6/19/2023 Bitcoin                                  0.0004182 Customer Transfer
 Confidential Customer Coin Transferee #15463   [Address on File]    6/19/2023 Bitcoin                                 0.00385328 Customer Transfer
 Confidential Customer Coin Transferee #15464   [Address on File]    6/19/2023 Bitcoin                                 0.00379821 Customer Transfer
 Confidential Customer Coin Transferee #15465   [Address on File]    6/20/2023 Bitcoin                                 0.00051586 Customer Transfer
 Confidential Customer Coin Transferee #15466   [Address on File]    6/20/2023 Bitcoin                                 0.00095778 Customer Transfer
 Confidential Customer Coin Transferee #15467   [Address on File]     6/8/2023 Bitcoin                                 0.02840037 Customer Transfer
 Confidential Customer Coin Transferee #15468   [Address on File]    5/20/2023 Bitcoin                                 0.01027935 Customer Transfer
 Confidential Customer Coin Transferee #15469   [Address on File]    6/20/2023 Bitcoin                                 0.00628617 Customer Transfer
 Confidential Customer Coin Transferee #15470   [Address on File]    5/21/2023 Bitcoin                                 0.01015683 Customer Transfer
 Confidential Customer Coin Transferee #15471   [Address on File]    5/31/2023 Bitcoin                                 0.00403186 Customer Transfer
 Confidential Customer Coin Transferee #15472   [Address on File]    5/23/2023 Bitcoin                                 0.06121612 Customer Transfer
 Confidential Customer Coin Transferee #15473   [Address on File]    5/24/2023 Bitcoin                                 0.00929866 Customer Transfer
 Confidential Customer Coin Transferee #15473   [Address on File]    5/17/2023 Bitcoin                                 0.00863143 Customer Transfer
 Confidential Customer Coin Transferee #15474   [Address on File]    6/19/2023 Bitcoin                                 0.00005583 Customer Transfer
 Confidential Customer Coin Transferee #15475   [Address on File]    5/25/2023 Bitcoin                                 0.02076759 Customer Transfer
 Confidential Customer Coin Transferee #15476   [Address on File]    6/20/2023 Bitcoin                                 0.00005818 Customer Transfer

 Confidential Customer Coin Transferee #15477   [Address on File]    6/20/2023 Bitcoin                                 0.03754017 Customer Transfer

 Confidential Customer Coin Transferee #15477   [Address on File]    6/20/2023 Bitcoin                                 0.03025834 Customer Transfer

 Confidential Customer Coin Transferee #15477   [Address on File]    6/19/2023 Bitcoin                                 0.00375453 Customer Transfer

 Confidential Customer Coin Transferee #15477   [Address on File]    6/20/2023 Bitcoin                                 0.00226943 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15478   [Address on File]    5/20/2023 Bitcoin                              0.00354962 Customer Transfer
 Confidential Customer Coin Transferee #15479   [Address on File]    5/18/2023 Bitcoin                              0.01042433 Customer Transfer
 Confidential Customer Coin Transferee #15479   [Address on File]    5/18/2023 Bitcoin                              0.00081541 Customer Transfer
 Confidential Customer Coin Transferee #15480   [Address on File]    6/20/2023 Bitcoin                              0.00229101 Customer Transfer
 Confidential Customer Coin Transferee #15481   [Address on File]    6/20/2023 Bitcoin                              0.00005762 Customer Transfer
 Confidential Customer Coin Transferee #15482   [Address on File]    5/20/2023 Bitcoin                              0.01107912 Customer Transfer
 Confidential Customer Coin Transferee #15483   [Address on File]    5/22/2023 Bitcoin                              0.02519742 Customer Transfer
 Confidential Customer Coin Transferee #15484   [Address on File]    6/19/2023 Bitcoin                              0.00014249 Customer Transfer
 Confidential Customer Coin Transferee #15485   [Address on File]    5/20/2023 Bitcoin                              0.01040788 Customer Transfer
 Confidential Customer Coin Transferee #15486   [Address on File]    5/20/2023 Bitcoin                                    0.005 Customer Transfer
 Confidential Customer Coin Transferee #15487   [Address on File]    5/16/2023 Bitcoin                              0.03837154 Customer Transfer
 Confidential Customer Coin Transferee #15487   [Address on File]    5/22/2023 Bitcoin                               0.0111161 Customer Transfer
 Confidential Customer Coin Transferee #15488   [Address on File]    5/21/2023 Bitcoin                              0.02501987 Customer Transfer
 Confidential Customer Coin Transferee #15488   [Address on File]    5/29/2023 Bitcoin                              0.00519785 Customer Transfer
 Confidential Customer Coin Transferee #15489   [Address on File]     6/8/2023 Bitcoin                               0.0079728 Customer Transfer
 Confidential Customer Coin Transferee #15490   [Address on File]    6/20/2023 Bitcoin                              0.00003549 Customer Transfer
 Confidential Customer Coin Transferee #15491   [Address on File]    5/26/2023 Bitcoin                              0.00091329 Customer Transfer
 Confidential Customer Coin Transferee #15492   [Address on File]    6/20/2023 Bitcoin                              0.00117023 Customer Transfer
 Confidential Customer Coin Transferee #15493   [Address on File]    5/26/2023 Bitcoin                              0.00367824 Customer Transfer
 Confidential Customer Coin Transferee #15493   [Address on File]    5/20/2023 Bitcoin                              0.00361098 Customer Transfer
 Confidential Customer Coin Transferee #15493   [Address on File]    5/16/2023 Bitcoin                              0.00356034 Customer Transfer
 Confidential Customer Coin Transferee #15494   [Address on File]     6/5/2023 USDC Avalanche)                      297.101449 Customer Transfer

 Confidential Customer Coin Transferee #15495   [Address on File]    6/19/2023 Bitcoin                                 0.01837988 Customer Transfer
 Confidential Customer Coin Transferee #15496   [Address on File]    6/16/2023 Bitcoin                                 0.00154541 Customer Transfer
 Confidential Customer Coin Transferee #15497   [Address on File]    6/20/2023 Bitcoin                                 0.00750438 Customer Transfer
 Confidential Customer Coin Transferee #15498   [Address on File]    6/19/2023 Bitcoin                                 0.00073702 Customer Transfer
 Confidential Customer Coin Transferee #15499   [Address on File]     6/8/2023 Bitcoin                                 0.00376426 Customer Transfer
 Confidential Customer Coin Transferee #15500   [Address on File]    5/22/2023 Bitcoin                                 0.00723165 Customer Transfer
 Confidential Customer Coin Transferee #15500   [Address on File]    5/22/2023 Bitcoin                                 0.00714238 Customer Transfer
 Confidential Customer Coin Transferee #15501   [Address on File]    5/20/2023 Bitcoin                                 0.01621884 Customer Transfer
 Confidential Customer Coin Transferee #15502   [Address on File]    5/17/2023 Bitcoin                                 0.01111196 Customer Transfer
 Confidential Customer Coin Transferee #15502   [Address on File]    5/17/2023 Bitcoin                                 0.01023449 Customer Transfer
 Confidential Customer Coin Transferee #15503   [Address on File]    6/19/2023 Bitcoin                                 0.00110428 Customer Transfer
 Confidential Customer Coin Transferee #15504   [Address on File]    5/16/2023 Bitcoin                                 0.00170369 Customer Transfer
 Confidential Customer Coin Transferee #15505   [Address on File]    6/20/2023 Bitcoin                                  0.0005804 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15506   [Address on File]    5/29/2023 Bitcoin                              0.00296313 Customer Transfer
 Confidential Customer Coin Transferee #15506   [Address on File]    6/18/2023 Bitcoin                              0.00038613 Customer Transfer
 Confidential Customer Coin Transferee #15507   [Address on File]    6/19/2023 Bitcoin                              0.00003723 Customer Transfer
 Confidential Customer Coin Transferee #15508   [Address on File]    6/20/2023 Bitcoin                              0.00044375 Customer Transfer
 Confidential Customer Coin Transferee #15509   [Address on File]    5/26/2023 Bitcoin                              0.02384594 Customer Transfer
 Confidential Customer Coin Transferee #15510   [Address on File]    5/16/2023 Bitcoin                              0.00484838 Customer Transfer
 Confidential Customer Coin Transferee #15510   [Address on File]    5/24/2023 Bitcoin                              0.00148979 Customer Transfer
 Confidential Customer Coin Transferee #15511   [Address on File]    6/21/2023 Bitcoin                              0.00131401 Customer Transfer
 Confidential Customer Coin Transferee #15512   [Address on File]    5/19/2023 Bitcoin                              0.08523336 Customer Transfer
 Confidential Customer Coin Transferee #15513   [Address on File]    6/12/2023 Bitcoin                              0.00109251 Customer Transfer
 Confidential Customer Coin Transferee #15513   [Address on File]    6/20/2023 Bitcoin                              0.00098694 Customer Transfer
 Confidential Customer Coin Transferee #15513   [Address on File]    5/22/2023 Bitcoin                              0.00090507 Customer Transfer
 Confidential Customer Coin Transferee #15514   [Address on File]    6/15/2023 USD Coin                            1917.313074 Customer Transfer
 Confidential Customer Coin Transferee #15515   [Address on File]    5/26/2023 Bitcoin                              0.09350155 Customer Transfer
 Confidential Customer Coin Transferee #15516   [Address on File]    5/20/2023 Bitcoin                               0.0047093 Customer Transfer
 Confidential Customer Coin Transferee #15517   [Address on File]     6/1/2023 Bitcoin                              0.00364154 Customer Transfer

 Confidential Customer Coin Transferee #15518   [Address on File]    5/16/2023 Bitcoin                                 0.05096586 Customer Transfer
 Confidential Customer Coin Transferee #15519   [Address on File]    6/19/2023 Bitcoin                                  0.0011966 Customer Transfer
 Confidential Customer Coin Transferee #15520   [Address on File]    5/25/2023 Bitcoin                                 0.03365437 Customer Transfer
 Confidential Customer Coin Transferee #15520   [Address on File]    5/19/2023 Bitcoin                                 0.02877277 Customer Transfer
 Confidential Customer Coin Transferee #15520   [Address on File]    5/17/2023 Bitcoin                                 0.00345953 Customer Transfer
 Confidential Customer Coin Transferee #15521   [Address on File]    5/24/2023 Bitcoin                                 0.01422628 Customer Transfer
 Confidential Customer Coin Transferee #15521   [Address on File]    5/17/2023 Bitcoin                                 0.01409693 Customer Transfer
 Confidential Customer Coin Transferee #15522   [Address on File]    6/19/2023 Bitcoin                                  0.0002305 Customer Transfer
 Confidential Customer Coin Transferee #15523   [Address on File]    5/27/2023 Bitcoin                                 0.00090375 Customer Transfer
 Confidential Customer Coin Transferee #15523   [Address on File]    5/19/2023 Bitcoin                                  0.0008756 Customer Transfer
 Confidential Customer Coin Transferee #15524   [Address on File]    6/20/2023 Bitcoin                                 0.00035276 Customer Transfer
 Confidential Customer Coin Transferee #15525   [Address on File]    5/16/2023 Bitcoin                                 0.03380587 Customer Transfer
 Confidential Customer Coin Transferee #15525   [Address on File]    5/22/2023 Bitcoin                                  0.0034698 Customer Transfer
 Confidential Customer Coin Transferee #15526   [Address on File]    6/20/2023 Bitcoin                                 0.00040146 Customer Transfer
 Confidential Customer Coin Transferee #15527   [Address on File]    5/26/2023 Bitcoin                                 0.02577319 Customer Transfer
 Confidential Customer Coin Transferee #15528   [Address on File]    6/19/2023 Bitcoin                                 0.00056825 Customer Transfer
 Confidential Customer Coin Transferee #15529   [Address on File]    6/20/2023 Bitcoin                                 0.06783239 Customer Transfer
 Confidential Customer Coin Transferee #15530   [Address on File]    5/26/2023 Bitcoin                                 0.00037776 Customer Transfer
 Confidential Customer Coin Transferee #15530   [Address on File]    5/20/2023 Bitcoin                                 0.00036823 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15531   [Address on File]    6/20/2023 Bitcoin                               0.0002803 Customer Transfer
 Confidential Customer Coin Transferee #15532   [Address on File]    5/24/2023 Bitcoin                              0.00564847 Customer Transfer
 Confidential Customer Coin Transferee #15533   [Address on File]    6/20/2023 Bitcoin                              0.00108962 Customer Transfer
 Confidential Customer Coin Transferee #15534   [Address on File]    5/20/2023 Litecoin                                    2.07 Customer Transfer
 Confidential Customer Coin Transferee #15535   [Address on File]    6/19/2023 Bitcoin                              0.01667316 Customer Transfer
 Confidential Customer Coin Transferee #15536   [Address on File]    6/16/2023 USD Coin                             501.743896 Customer Transfer
 Confidential Customer Coin Transferee #15537   [Address on File]    6/20/2023 Bitcoin                              0.00057766 Customer Transfer
 Confidential Customer Coin Transferee #15538   [Address on File]    6/20/2023 Bitcoin                              0.00147663 Customer Transfer
 Confidential Customer Coin Transferee #15539   [Address on File]    6/20/2023 Bitcoin                              0.01213507 Customer Transfer
 Confidential Customer Coin Transferee #15540   [Address on File]    6/12/2023 Bitcoin                               0.0065498 Customer Transfer
 Confidential Customer Coin Transferee #15541   [Address on File]    6/19/2023 Bitcoin                              0.00424562 Customer Transfer
 Confidential Customer Coin Transferee #15542   [Address on File]    5/18/2023 Bitcoin                              0.03903347 Customer Transfer
 Confidential Customer Coin Transferee #15543   [Address on File]    5/20/2023 Bitcoin                               0.1031876 Customer Transfer
 Confidential Customer Coin Transferee #15544   [Address on File]    5/29/2023 Bitcoin                              0.03626546 Customer Transfer
 Confidential Customer Coin Transferee #15544   [Address on File]    5/17/2023 Bitcoin                              0.03510804 Customer Transfer
 Confidential Customer Coin Transferee #15545   [Address on File]     6/8/2023 Bitcoin                              0.00363425 Customer Transfer
 Confidential Customer Coin Transferee #15545   [Address on File]    6/17/2023 Bitcoin                              0.00076558 Customer Transfer
 Confidential Customer Coin Transferee #15546   [Address on File]    5/21/2023 Bitcoin                              0.01510489 Customer Transfer
 Confidential Customer Coin Transferee #15547   [Address on File]    6/20/2023 Bitcoin                              0.00597141 Customer Transfer
 Confidential Customer Coin Transferee #15548   [Address on File]     6/2/2023 Bitcoin                              0.00844839 Customer Transfer
 Confidential Customer Coin Transferee #15549   [Address on File]    5/23/2023 Bitcoin                              0.02145798 Customer Transfer
 Confidential Customer Coin Transferee #15550   [Address on File]    5/26/2023 Bitcoin                              0.01142805 Customer Transfer
 Confidential Customer Coin Transferee #15551   [Address on File]    5/29/2023 Bitcoin                              0.00111342 Customer Transfer
 Confidential Customer Coin Transferee #15552   [Address on File]    5/25/2023 Bitcoin                              0.02556267 Customer Transfer
 Confidential Customer Coin Transferee #15553   [Address on File]    5/26/2023 Bitcoin                              0.00513643 Customer Transfer
 Confidential Customer Coin Transferee #15553   [Address on File]    5/19/2023 Bitcoin                              0.00488535 Customer Transfer
 Confidential Customer Coin Transferee #15554   [Address on File]    6/19/2023 Bitcoin                              0.00046244 Customer Transfer
 Confidential Customer Coin Transferee #15555   [Address on File]    5/20/2023 Bitcoin                              0.00366079 Customer Transfer
 Confidential Customer Coin Transferee #15556   [Address on File]    5/20/2023 Bitcoin                              0.01806943 Customer Transfer
 Confidential Customer Coin Transferee #15557   [Address on File]    5/25/2023 Bitcoin                              0.05014611 Customer Transfer
 Confidential Customer Coin Transferee #15558   [Address on File]    5/28/2023 Bitcoin                              0.02530424 Customer Transfer
 Confidential Customer Coin Transferee #15559   [Address on File]    6/20/2023 Bitcoin                              0.00005907 Customer Transfer
 Confidential Customer Coin Transferee #15560   [Address on File]    5/25/2023 Bitcoin                              0.00037213 Customer Transfer
 Confidential Customer Coin Transferee #15560   [Address on File]    5/17/2023 Bitcoin                              0.00034055 Customer Transfer
 Confidential Customer Coin Transferee #15561   [Address on File]     6/9/2023 Bitcoin                              0.01119565 Customer Transfer
 Confidential Customer Coin Transferee #15562   [Address on File]    5/26/2023 Bitcoin                              0.00741044 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15563   [Address on File]    5/19/2023 Bitcoin                              0.04316156 Customer Transfer
 Confidential Customer Coin Transferee #15563   [Address on File]    5/26/2023 Bitcoin                              0.01956452 Customer Transfer
 Confidential Customer Coin Transferee #15564   [Address on File]    6/20/2023 Bitcoin                              0.00005818 Customer Transfer
 Confidential Customer Coin Transferee #15565   [Address on File]    5/19/2023 Bitcoin                              0.04338899 Customer Transfer
 Confidential Customer Coin Transferee #15566   [Address on File]    5/23/2023 Bitcoin                                   0.0037 Customer Transfer
 Confidential Customer Coin Transferee #15567   [Address on File]    6/19/2023 Bitcoin                              0.00040332 Customer Transfer
 Confidential Customer Coin Transferee #15568   [Address on File]    5/17/2023 Bitcoin                              0.00345166 Customer Transfer
 Confidential Customer Coin Transferee #15569   [Address on File]    5/18/2023 Bitcoin                              0.00259294 Customer Transfer
 Confidential Customer Coin Transferee #15570   [Address on File]    5/29/2023 Bitcoin                              0.01133897 Customer Transfer
 Confidential Customer Coin Transferee #15571   [Address on File]    6/20/2023 Bitcoin                              0.00177746 Customer Transfer
 Confidential Customer Coin Transferee #15572   [Address on File]    6/19/2023 Bitcoin                               0.0003668 Customer Transfer
 Confidential Customer Coin Transferee #15573   [Address on File]    5/21/2023 Bitcoin                              0.01605334 Customer Transfer
 Confidential Customer Coin Transferee #15574   [Address on File]    6/19/2023 Bitcoin                              0.00222347 Customer Transfer
 Confidential Customer Coin Transferee #15575   [Address on File]    5/23/2023 Bitcoin                              0.00831589 Customer Transfer
 Confidential Customer Coin Transferee #15576   [Address on File]    5/20/2023 Bitcoin                              0.05521788 Customer Transfer
 Confidential Customer Coin Transferee #15577   [Address on File]    5/24/2023 Bitcoin                              0.01019226 Customer Transfer
 Confidential Customer Coin Transferee #15577   [Address on File]    5/28/2023 Bitcoin                              0.00185276 Customer Transfer
 Confidential Customer Coin Transferee #15578   [Address on File]    5/17/2023 Bitcoin                              0.02068192 Customer Transfer
 Confidential Customer Coin Transferee #15578   [Address on File]    5/23/2023 Bitcoin                              0.01122907 Customer Transfer
 Confidential Customer Coin Transferee #15578   [Address on File]    5/24/2023 Bitcoin                              0.01118003 Customer Transfer
 Confidential Customer Coin Transferee #15579   [Address on File]    5/29/2023 Bitcoin                              0.02713092 Customer Transfer
 Confidential Customer Coin Transferee #15580   [Address on File]    6/20/2023 Bitcoin                              0.02556522 Customer Transfer
 Confidential Customer Coin Transferee #15581   [Address on File]    5/21/2023 Bitcoin                              0.01040672 Customer Transfer

 Confidential Customer Coin Transferee #15582   [Address on File]     6/8/2023 Bitcoin                                     0.00124 Customer Transfer
 Confidential Customer Coin Transferee #15583   [Address on File]     6/2/2023 Bitcoin                                 0.00015073 Customer Transfer
 Confidential Customer Coin Transferee #15584   [Address on File]    5/27/2023 Bitcoin                                      0.0033 Customer Transfer
 Confidential Customer Coin Transferee #15585   [Address on File]    6/20/2023 Bitcoin                                 0.00005604 Customer Transfer
 Confidential Customer Coin Transferee #15586   [Address on File]    5/28/2023 Bitcoin                                 0.00058825 Customer Transfer
 Confidential Customer Coin Transferee #15586   [Address on File]    5/31/2023 Bitcoin                                 0.00036708 Customer Transfer
 Confidential Customer Coin Transferee #15586   [Address on File]    5/30/2023 Bitcoin                                 0.00035917 Customer Transfer
 Confidential Customer Coin Transferee #15586   [Address on File]    5/25/2023 Bitcoin                                 0.00026734 Customer Transfer
 Confidential Customer Coin Transferee #15586   [Address on File]    5/24/2023 Bitcoin                                 0.00026429 Customer Transfer
 Confidential Customer Coin Transferee #15586   [Address on File]    5/25/2023 Bitcoin                                 0.00026367 Customer Transfer
 Confidential Customer Coin Transferee #15586   [Address on File]    5/26/2023 Bitcoin                                 0.00025942 Customer Transfer
 Confidential Customer Coin Transferee #15586   [Address on File]    5/23/2023 Bitcoin                                 0.00025547 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15587   [Address on File]    5/29/2023 Tether USD                          2492.097112 Customer Transfer
 Confidential Customer Coin Transferee #15587   [Address on File]     6/1/2023 Tether USD                          2091.657508 Customer Transfer
 Confidential Customer Coin Transferee #15587   [Address on File]    5/17/2023 USDC Avalanche)                      546.890621 Customer Transfer
 Confidential Customer Coin Transferee #15588   [Address on File]    6/20/2023 Bitcoin                              0.00348661 Customer Transfer
 Confidential Customer Coin Transferee #15589   [Address on File]    5/24/2023 Bitcoin                              0.00189608 Customer Transfer
 Confidential Customer Coin Transferee #15589   [Address on File]    5/17/2023 Bitcoin                              0.00168454 Customer Transfer
 Confidential Customer Coin Transferee #15590   [Address on File]    6/19/2023 Bitcoin                              0.00006021 Customer Transfer
 Confidential Customer Coin Transferee #15591   [Address on File]    5/22/2023 Bitcoin                              0.01051518 Customer Transfer
 Confidential Customer Coin Transferee #15592   [Address on File]    6/19/2023 Bitcoin                               0.0011702 Customer Transfer
 Confidential Customer Coin Transferee #15593   [Address on File]    5/24/2023 Bitcoin                              0.18163725 Customer Transfer
 Confidential Customer Coin Transferee #15594   [Address on File]     6/7/2023 Bitcoin                              0.02271772 Customer Transfer
 Confidential Customer Coin Transferee #15594   [Address on File]    5/16/2023 Bitcoin                              0.01832685 Customer Transfer
 Confidential Customer Coin Transferee #15595   [Address on File]    5/23/2023 Bitcoin                                  0.00494 Customer Transfer
 Confidential Customer Coin Transferee #15595   [Address on File]    5/16/2023 Bitcoin                                 0.004035 Customer Transfer
 Confidential Customer Coin Transferee #15596   [Address on File]    5/22/2023 Bitcoin                              0.00196612 Customer Transfer
 Confidential Customer Coin Transferee #15596   [Address on File]     6/7/2023 Bitcoin                              0.00074246 Customer Transfer
 Confidential Customer Coin Transferee #15596   [Address on File]     6/1/2023 Bitcoin                              0.00040587 Customer Transfer
 Confidential Customer Coin Transferee #15597   [Address on File]    5/16/2023 Litecoin                                    1.236 Customer Transfer
 Confidential Customer Coin Transferee #15597   [Address on File]    5/16/2023 Ether                                      0.2849 Customer Transfer
 Confidential Customer Coin Transferee #15598   [Address on File]    5/23/2023 Bitcoin                              0.01623327 Customer Transfer
 Confidential Customer Coin Transferee #15598   [Address on File]    5/16/2023 Bitcoin                              0.01209006 Customer Transfer
 Confidential Customer Coin Transferee #15599   [Address on File]     6/7/2023 Bitcoin                              0.00884711 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/31/2023 Bitcoin                              0.00938762 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/31/2023 Bitcoin                              0.00935202 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/31/2023 Bitcoin                              0.00931542 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/30/2023 Bitcoin                              0.00501971 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/30/2023 Bitcoin                              0.00467363 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/18/2023 Bitcoin                              0.00418145 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/20/2023 Bitcoin                              0.00413631 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/20/2023 Bitcoin                              0.00405823 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/28/2023 Bitcoin                               0.0040485 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/28/2023 Bitcoin                               0.0040016 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/31/2023 Bitcoin                              0.00389586 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/18/2023 Bitcoin                              0.00383123 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/19/2023 Bitcoin                              0.00382893 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/19/2023 Bitcoin                              0.00381642 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/20/2023 Bitcoin                              0.00380584 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/19/2023 Bitcoin                              0.00380539 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/27/2023 Bitcoin                              0.00380279 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/30/2023 Bitcoin                               0.0037194 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/30/2023 Bitcoin                              0.00173817 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/31/2023 Bitcoin                              0.00136113 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/28/2023 Bitcoin                              0.00126298 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/28/2023 Bitcoin                              0.00126183 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/30/2023 Bitcoin                              0.00121559 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/30/2023 Bitcoin                              0.00121491 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/28/2023 Bitcoin                              0.00120719 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/27/2023 Bitcoin                              0.00115697 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/27/2023 Bitcoin                              0.00115574 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/28/2023 Bitcoin                              0.00113463 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/28/2023 Bitcoin                              0.00113422 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/28/2023 Bitcoin                              0.00113416 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/28/2023 Bitcoin                              0.00113374 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/31/2023 Bitcoin                              0.00110283 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/31/2023 Bitcoin                              0.00110266 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/31/2023 Bitcoin                              0.00110262 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/31/2023 Bitcoin                              0.00110213 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/28/2023 Bitcoin                                 0.001096 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/20/2023 Bitcoin                              0.00095999 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/21/2023 Bitcoin                              0.00081423 Customer Transfer
 Confidential Customer Coin Transferee #15600   [Address on File]    5/28/2023 Bitcoin                              0.00064947 Customer Transfer



 Confidential Customer Coin Transferee #15601   [Address on File]    5/24/2023 Bitcoin                                 0.01018834 Customer Transfer
 Confidential Customer Coin Transferee #15602   [Address on File]     6/9/2023 Bitcoin                                 0.03383484 Customer Transfer
 Confidential Customer Coin Transferee #15602   [Address on File]    6/16/2023 Bitcoin                                 0.00718824 Customer Transfer
 Confidential Customer Coin Transferee #15602   [Address on File]    6/12/2023 Bitcoin                                 0.00267175 Customer Transfer
 Confidential Customer Coin Transferee #15602   [Address on File]    6/12/2023 Bitcoin                                 0.00228473 Customer Transfer
 Confidential Customer Coin Transferee #15603   [Address on File]    5/30/2023 Bitcoin                                 0.26560804 Customer Transfer
 Confidential Customer Coin Transferee #15603   [Address on File]    5/16/2023 Bitcoin                                      0.0001 Customer Transfer
 Confidential Customer Coin Transferee #15604   [Address on File]    5/22/2023 Bitcoin                                 0.01074659 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15605   [Address on File]    6/19/2023 Bitcoin                              0.00699575 Customer Transfer
 Confidential Customer Coin Transferee #15606   [Address on File]    6/19/2023 Bitcoin                              0.00003442 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/26/2023 Bitcoin                              0.00218556 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/16/2023 Bitcoin                              0.00184621 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/31/2023 Bitcoin                              0.00183816 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/23/2023 Bitcoin                              0.00179092 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/25/2023 Bitcoin                              0.00151514 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/27/2023 Bitcoin                              0.00149029 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/27/2023 Bitcoin                              0.00148728 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/31/2023 Bitcoin                              0.00143689 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/23/2023 Bitcoin                               0.0012929 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/18/2023 Bitcoin                              0.00124646 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/27/2023 Bitcoin                              0.00121274 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/18/2023 Bitcoin                              0.00121133 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/25/2023 Bitcoin                                   0.0012 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/25/2023 Bitcoin                                   0.0012 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/24/2023 Bitcoin                              0.00115695 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/24/2023 Bitcoin                              0.00115547 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/27/2023 Bitcoin                              0.00111749 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/27/2023 Bitcoin                              0.00111665 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/23/2023 Bitcoin                              0.00111535 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/26/2023 Bitcoin                              0.00111385 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/26/2023 Bitcoin                              0.00111365 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/16/2023 Bitcoin                              0.00110408 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/23/2023 Bitcoin                              0.00110398 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/31/2023 Bitcoin                              0.00110213 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/17/2023 Bitcoin                              0.00108947 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/26/2023 Bitcoin                              0.00108135 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/26/2023 Bitcoin                              0.00105325 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/26/2023 Bitcoin                              0.00105216 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/25/2023 Bitcoin                              0.00105209 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/23/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/23/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/24/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/24/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/25/2023 Bitcoin                              0.00099725 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/25/2023 Bitcoin                              0.00098776 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/24/2023 Bitcoin                              0.00094351 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/25/2023 Bitcoin                              0.00093979 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/25/2023 Bitcoin                                  0.00092 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/17/2023 Bitcoin                              0.00091824 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/17/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/18/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/25/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/23/2023 Bitcoin                              0.00084112 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/23/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/25/2023 Bitcoin                              0.00075777 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/18/2023 Bitcoin                                   0.0005 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/27/2023 Bitcoin                              0.00037164 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/31/2023 Bitcoin                               0.0002568 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/27/2023 Bitcoin                                   0.0002 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/25/2023 Bitcoin                              0.00018985 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/26/2023 Bitcoin                              0.00018814 Customer Transfer
 Confidential Customer Coin Transferee #15607   [Address on File]    5/31/2023 Bitcoin                              0.00010808 Customer Transfer
 Confidential Customer Coin Transferee #15608   [Address on File]    5/19/2023 Bitcoin                              0.00228683 Customer Transfer
 Confidential Customer Coin Transferee #15609   [Address on File]    6/16/2023 USD Coin                              95.861655 Customer Transfer
 Confidential Customer Coin Transferee #15609   [Address on File]    6/16/2023 USD Coin                              95.852073 Customer Transfer
 Confidential Customer Coin Transferee #15610   [Address on File]    5/22/2023 Bitcoin                               0.0181454 Customer Transfer
 Confidential Customer Coin Transferee #15611   [Address on File]    6/19/2023 Bitcoin                              0.00577754 Customer Transfer
 Confidential Customer Coin Transferee #15612   [Address on File]    5/16/2023 Bitcoin                              0.00841592 Customer Transfer
 Confidential Customer Coin Transferee #15613   [Address on File]    5/25/2023 Bitcoin                                      0.16 Customer Transfer
 Confidential Customer Coin Transferee #15613   [Address on File]    5/25/2023 Bitcoin                                      0.05 Customer Transfer
 Confidential Customer Coin Transferee #15613   [Address on File]    5/25/2023 Bitcoin                                   0.0123 Customer Transfer
 Confidential Customer Coin Transferee #15614   [Address on File]    6/12/2023 Bitcoin                              0.04975937 Customer Transfer
 Confidential Customer Coin Transferee #15615   [Address on File]    6/19/2023 Bitcoin                              0.00010456 Customer Transfer

 Confidential Customer Coin Transferee #15616   [Address on File]    5/23/2023 Tether USD                                    28.17 Customer Transfer
 Confidential Customer Coin Transferee #15617   [Address on File]    6/20/2023 Bitcoin                                  0.0011925 Customer Transfer
 Confidential Customer Coin Transferee #15618   [Address on File]    5/16/2023 Bitcoin                                 0.00158177 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/20/2023 Bitcoin                                 0.00106295 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/16/2023 Bitcoin                                 0.00105059 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/22/2023 Bitcoin                                       0.001 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/31/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/18/2023 Bitcoin                              0.00087177 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/16/2023 Bitcoin                                  0.00085 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/22/2023 Bitcoin                               0.0008312 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/31/2023 Bitcoin                              0.00082842 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/27/2023 Bitcoin                              0.00081555 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/22/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/27/2023 Bitcoin                                   0.0008 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/27/2023 Bitcoin                                  0.00079 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/19/2023 Bitcoin                                  0.00078 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/21/2023 Bitcoin                              0.00035189 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/20/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/27/2023 Bitcoin                              0.00028044 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/16/2023 Bitcoin                              0.00021493 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/22/2023 Bitcoin                               0.0002046 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/31/2023 Bitcoin                              0.00019348 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]     6/2/2023 Bitcoin                              0.00019245 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/23/2023 Bitcoin                              0.00018211 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/16/2023 Bitcoin                              0.00014568 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/17/2023 Bitcoin                              0.00010853 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/20/2023 Bitcoin                              0.00008987 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/21/2023 Bitcoin                              0.00007511 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/19/2023 Bitcoin                              0.00007131 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/29/2023 Bitcoin                              0.00005861 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/27/2023 Bitcoin                              0.00004468 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/19/2023 Bitcoin                              0.00002333 Customer Transfer
 Confidential Customer Coin Transferee #15619   [Address on File]    5/31/2023 Bitcoin                              0.00002019 Customer Transfer

 Confidential Customer Coin Transferee #15620   [Address on File]     6/8/2023 Bitcoin                                 0.14426717 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/26/2023 Bitcoin                                 0.00376271 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/27/2023 Bitcoin                                 0.00245027 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/24/2023 Bitcoin                                       0.002 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/30/2023 Bitcoin                                 0.00172103 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/24/2023 Bitcoin                                      0.0014 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/29/2023 Bitcoin                                 0.00139794 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/24/2023 Bitcoin                                 0.00124124 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/19/2023 Bitcoin                              0.00122212 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/21/2023 Bitcoin                              0.00107214 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/21/2023 Bitcoin                              0.00106093 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/30/2023 Bitcoin                              0.00103822 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/18/2023 Bitcoin                               0.0008714 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/24/2023 Bitcoin                              0.00074098 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/24/2023 Bitcoin                              0.00071378 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/21/2023 Bitcoin                              0.00071333 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/30/2023 Bitcoin                                  0.00071 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/17/2023 Bitcoin                              0.00069752 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/24/2023 Bitcoin                              0.00061103 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/17/2023 Bitcoin                              0.00036729 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/18/2023 Bitcoin                              0.00032857 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/19/2023 Bitcoin                              0.00023496 Customer Transfer
 Confidential Customer Coin Transferee #15621   [Address on File]    5/22/2023 Bitcoin                              0.00016447 Customer Transfer
 Confidential Customer Coin Transferee #15622   [Address on File]    5/29/2023 Bitcoin                              0.03908837 Customer Transfer
 Confidential Customer Coin Transferee #15622   [Address on File]    5/19/2023 Bitcoin                              0.03745822 Customer Transfer
 Confidential Customer Coin Transferee #15622   [Address on File]    5/23/2023 Bitcoin                               0.0194404 Customer Transfer
 Confidential Customer Coin Transferee #15623   [Address on File]    6/19/2023 Bitcoin                              0.00010105 Customer Transfer
 Confidential Customer Coin Transferee #15624   [Address on File]    5/26/2023 Bitcoin                              0.02653849 Customer Transfer
 Confidential Customer Coin Transferee #15625   [Address on File]    5/21/2023 Bitcoin                              0.06921169 Customer Transfer
 Confidential Customer Coin Transferee #15626   [Address on File]    5/17/2023 Bitcoin                               0.0018431 Customer Transfer
 Confidential Customer Coin Transferee #15627   [Address on File]    5/25/2023 Bitcoin                              0.01025468 Customer Transfer
 Confidential Customer Coin Transferee #15628   [Address on File]    5/26/2023 Bitcoin                              0.04975133 Customer Transfer
 Confidential Customer Coin Transferee #15628   [Address on File]    5/19/2023 Bitcoin                               0.0463305 Customer Transfer
 Confidential Customer Coin Transferee #15629   [Address on File]    5/21/2023 Bitcoin                              0.06757223 Customer Transfer
 Confidential Customer Coin Transferee #15630   [Address on File]    5/29/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #15630   [Address on File]    5/24/2023 Bitcoin                                     0.002 Customer Transfer
 Confidential Customer Coin Transferee #15631   [Address on File]    5/17/2023 USDC Solana)                                  150 Customer Transfer
 Confidential Customer Coin Transferee #15632   [Address on File]    5/23/2023 Bitcoin                              0.05114693 Customer Transfer
 Confidential Customer Coin Transferee #15633   [Address on File]    5/22/2023 Bitcoin                              0.00152458 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/22/2023 Bitcoin                              0.00187857 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/22/2023 Bitcoin                              0.00140248 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/21/2023 Bitcoin                              0.00055476 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/29/2023 Bitcoin                              0.00053419 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/20/2023 Bitcoin                              0.00036731 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/23/2023 Bitcoin                              0.00036425 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/29/2023 Bitcoin                              0.00035589 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/20/2023 Bitcoin                              0.00033042 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/27/2023 Bitcoin                              0.00029741 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/22/2023 Bitcoin                              0.00025962 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/22/2023 Bitcoin                               0.0002225 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/23/2023 Bitcoin                              0.00021944 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/29/2023 Bitcoin                              0.00017833 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/21/2023 Bitcoin                               0.0001478 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/23/2023 Bitcoin                              0.00012812 Customer Transfer
 Confidential Customer Coin Transferee #15634   [Address on File]    5/29/2023 Bitcoin                              0.00010841 Customer Transfer
 Confidential Customer Coin Transferee #15635   [Address on File]    6/20/2023 Bitcoin                              0.00088737 Customer Transfer
 Confidential Customer Coin Transferee #15636   [Address on File]    5/22/2023 Bitcoin                              0.00114507 Customer Transfer
 Confidential Customer Coin Transferee #15636   [Address on File]    5/19/2023 Bitcoin                              0.00017668 Customer Transfer
 Confidential Customer Coin Transferee #15636   [Address on File]    5/24/2023 Bitcoin                              0.00016999 Customer Transfer
 Confidential Customer Coin Transferee #15636   [Address on File]    5/25/2023 Bitcoin                              0.00016582 Customer Transfer
 Confidential Customer Coin Transferee #15636   [Address on File]    5/21/2023 Bitcoin                              0.00015202 Customer Transfer
 Confidential Customer Coin Transferee #15636   [Address on File]    5/20/2023 Bitcoin                               0.0001497 Customer Transfer
 Confidential Customer Coin Transferee #15636   [Address on File]    5/24/2023 Bitcoin                              0.00009817 Customer Transfer
 Confidential Customer Coin Transferee #15636   [Address on File]    5/26/2023 Bitcoin                              0.00009012 Customer Transfer
 Confidential Customer Coin Transferee #15637   [Address on File]    5/25/2023 Bitcoin                              0.00927531 Customer Transfer
 Confidential Customer Coin Transferee #15637   [Address on File]    5/18/2023 Bitcoin                              0.00875488 Customer Transfer
 Confidential Customer Coin Transferee #15638   [Address on File]    6/20/2023 Bitcoin                              0.00005822 Customer Transfer
 Confidential Customer Coin Transferee #15639   [Address on File]    5/26/2023 Bitcoin                              0.01114747 Customer Transfer
 Confidential Customer Coin Transferee #15639   [Address on File]    5/27/2023 Bitcoin                               0.0111183 Customer Transfer
 Confidential Customer Coin Transferee #15639   [Address on File]    5/30/2023 Bitcoin                              0.01075056 Customer Transfer
 Confidential Customer Coin Transferee #15639   [Address on File]    5/20/2023 Bitcoin                              0.00588383 Customer Transfer
 Confidential Customer Coin Transferee #15639   [Address on File]    5/22/2023 Bitcoin                              0.00334218 Customer Transfer
 Confidential Customer Coin Transferee #15640   [Address on File]    5/18/2023 Bitcoin                              0.00899883 Customer Transfer
 Confidential Customer Coin Transferee #15640   [Address on File]    5/30/2023 Bitcoin                              0.00061033 Customer Transfer
 Confidential Customer Coin Transferee #15641   [Address on File]     6/6/2023 USDC Solana)                                100 Customer Transfer
 Confidential Customer Coin Transferee #15642   [Address on File]    5/28/2023 Bitcoin                              0.00347152 Customer Transfer
 Confidential Customer Coin Transferee #15642   [Address on File]    5/24/2023 Bitcoin                               0.0020052 Customer Transfer
 Confidential Customer Coin Transferee #15642   [Address on File]    5/24/2023 Bitcoin                              0.00192188 Customer Transfer
 Confidential Customer Coin Transferee #15642   [Address on File]    5/24/2023 Bitcoin                              0.00112925 Customer Transfer
 Confidential Customer Coin Transferee #15642   [Address on File]    5/23/2023 Bitcoin                              0.00102822 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15642   [Address on File]    5/28/2023 Bitcoin                              0.00102417 Customer Transfer
 Confidential Customer Coin Transferee #15642   [Address on File]    5/23/2023 Bitcoin                              0.00074141 Customer Transfer

 Confidential Customer Coin Transferee #15643   [Address on File]    5/16/2023 Bitcoin                                 0.00072949 Customer Transfer

 Confidential Customer Coin Transferee #15643   [Address on File]    5/17/2023 Bitcoin                                 0.00071789 Customer Transfer

 Confidential Customer Coin Transferee #15643   [Address on File]    5/22/2023 Bitcoin                                 0.00055699 Customer Transfer

 Confidential Customer Coin Transferee #15643   [Address on File]    5/20/2023 Bitcoin                                 0.00055444 Customer Transfer

 Confidential Customer Coin Transferee #15643   [Address on File]    5/18/2023 Bitcoin                                 0.00054483 Customer Transfer

 Confidential Customer Coin Transferee #15643   [Address on File]    5/27/2023 Bitcoin                                 0.00044577 Customer Transfer

 Confidential Customer Coin Transferee #15643   [Address on File]    5/27/2023 Bitcoin                                 0.00044464 Customer Transfer

 Confidential Customer Coin Transferee #15643   [Address on File]    5/19/2023 Bitcoin                                 0.00044383 Customer Transfer

 Confidential Customer Coin Transferee #15643   [Address on File]    5/21/2023 Bitcoin                                     0.00044 Customer Transfer
 Confidential Customer Coin Transferee #15644   [Address on File]    5/16/2023 Bitcoin                                 0.03646748 Customer Transfer
 Confidential Customer Coin Transferee #15644   [Address on File]    5/20/2023 Bitcoin                                 0.03551661 Customer Transfer
 Confidential Customer Coin Transferee #15645   [Address on File]    5/24/2023 Bitcoin                                 0.00110001 Customer Transfer
 Confidential Customer Coin Transferee #15645   [Address on File]    5/17/2023 Bitcoin                                 0.00090001 Customer Transfer
 Confidential Customer Coin Transferee #15645   [Address on File]    5/29/2023 Bitcoin                                     0.00072 Customer Transfer
 Confidential Customer Coin Transferee #15645   [Address on File]    5/30/2023 Bitcoin                                     0.00072 Customer Transfer
 Confidential Customer Coin Transferee #15646   [Address on File]    5/26/2023 Bitcoin                                 0.00090376 Customer Transfer
 Confidential Customer Coin Transferee #15647   [Address on File]    6/19/2023 Bitcoin                                 0.00114881 Customer Transfer
 Confidential Customer Coin Transferee #15648   [Address on File]    6/19/2023 Bitcoin                                 0.00156791 Customer Transfer
 Confidential Customer Coin Transferee #15649   [Address on File]    5/22/2023 Bitcoin                                 0.21223194 Customer Transfer
 Confidential Customer Coin Transferee #15649   [Address on File]    5/23/2023 Bitcoin                                  0.0111719 Customer Transfer
 Confidential Customer Coin Transferee #15650   [Address on File]    5/23/2023 Bitcoin                                 0.00482264 Customer Transfer
 Confidential Customer Coin Transferee #15651   [Address on File]    5/21/2023 Bitcoin                                  0.0036891 Customer Transfer
 Confidential Customer Coin Transferee #15652   [Address on File]    5/31/2023 Bitcoin                                    0.037119 Customer Transfer
 Confidential Customer Coin Transferee #15653   [Address on File]    6/20/2023 Bitcoin                                 0.00082806 Customer Transfer
 Confidential Customer Coin Transferee #15654   [Address on File]    5/18/2023 Bitcoin                                 0.00688422 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15655   [Address on File]    5/27/2023 Bitcoin                              0.00124952 Customer Transfer
 Confidential Customer Coin Transferee #15656   [Address on File]    6/20/2023 Bitcoin                              0.00005857 Customer Transfer
 Confidential Customer Coin Transferee #15657   [Address on File]    6/12/2023 Bitcoin                              0.01819421 Customer Transfer
 Confidential Customer Coin Transferee #15657   [Address on File]    6/20/2023 Bitcoin                              0.00400746 Customer Transfer
 Confidential Customer Coin Transferee #15658   [Address on File]     6/7/2023 Bitcoin                              0.00043329 Customer Transfer
 Confidential Customer Coin Transferee #15658   [Address on File]    6/19/2023 Bitcoin                              0.00030427 Customer Transfer
 Confidential Customer Coin Transferee #15659   [Address on File]    5/24/2023 Bitcoin                              0.02646695 Customer Transfer
 Confidential Customer Coin Transferee #15659   [Address on File]    5/17/2023 Bitcoin                              0.02577515 Customer Transfer
 Confidential Customer Coin Transferee #15659   [Address on File]    5/19/2023 Bitcoin                              0.01109347 Customer Transfer
 Confidential Customer Coin Transferee #15659   [Address on File]    5/30/2023 Bitcoin                              0.00035905 Customer Transfer
 Confidential Customer Coin Transferee #15660   [Address on File]    6/19/2023 Bitcoin                              0.00005612 Customer Transfer
 Confidential Customer Coin Transferee #15661   [Address on File]    5/23/2023 Bitcoin                              0.00291507 Customer Transfer
 Confidential Customer Coin Transferee #15661   [Address on File]    5/19/2023 Bitcoin                              0.00241007 Customer Transfer
 Confidential Customer Coin Transferee #15662   [Address on File]    5/26/2023 Bitcoin                              0.01055679 Customer Transfer
 Confidential Customer Coin Transferee #15663   [Address on File]    5/19/2023 Bitcoin                              0.00211916 Customer Transfer
 Confidential Customer Coin Transferee #15663   [Address on File]    5/26/2023 Bitcoin                              0.00184465 Customer Transfer
 Confidential Customer Coin Transferee #15664   [Address on File]    5/29/2023 Bitcoin                              0.00236262 Customer Transfer
 Confidential Customer Coin Transferee #15664   [Address on File]    5/28/2023 Bitcoin                              0.00213625 Customer Transfer
 Confidential Customer Coin Transferee #15664   [Address on File]    5/20/2023 Bitcoin                              0.00154463 Customer Transfer
 Confidential Customer Coin Transferee #15664   [Address on File]    5/27/2023 Bitcoin                              0.00139235 Customer Transfer
 Confidential Customer Coin Transferee #15664   [Address on File]    5/18/2023 Bitcoin                              0.00119935 Customer Transfer
 Confidential Customer Coin Transferee #15664   [Address on File]    5/23/2023 Bitcoin                              0.00113556 Customer Transfer
 Confidential Customer Coin Transferee #15664   [Address on File]    5/28/2023 Bitcoin                              0.00107866 Customer Transfer
 Confidential Customer Coin Transferee #15664   [Address on File]    5/29/2023 Bitcoin                              0.00105396 Customer Transfer
 Confidential Customer Coin Transferee #15665   [Address on File]     6/8/2023 Bitcoin                               0.1194644 Customer Transfer
 Confidential Customer Coin Transferee #15666   [Address on File]    5/26/2023 Bitcoin                              0.26406038 Customer Transfer
 Confidential Customer Coin Transferee #15667   [Address on File]    5/25/2023 Bitcoin                              0.10309851 Customer Transfer
 Confidential Customer Coin Transferee #15668   [Address on File]    6/20/2023 Bitcoin                              0.01966623 Customer Transfer
 Confidential Customer Coin Transferee #15669   [Address on File]    6/16/2023 USDC Avalanche)                      149.735132 Customer Transfer
 Confidential Customer Coin Transferee #15669   [Address on File]     6/7/2023 USDC Avalanche)                      144.323405 Customer Transfer
 Confidential Customer Coin Transferee #15669   [Address on File]    5/30/2023 USDC Avalanche)                       96.392164 Customer Transfer
 Confidential Customer Coin Transferee #15669   [Address on File]     6/3/2023 USDC Avalanche)                       72.196681 Customer Transfer
 Confidential Customer Coin Transferee #15669   [Address on File]     6/3/2023 USDC Avalanche)                       52.833583 Customer Transfer
 Confidential Customer Coin Transferee #15669   [Address on File]     6/6/2023 USDC Avalanche)                       47.986006 Customer Transfer
 Confidential Customer Coin Transferee #15670   [Address on File]    5/25/2023 Bitcoin                              0.09151495 Customer Transfer
 Confidential Customer Coin Transferee #15671   [Address on File]    5/17/2023 Bitcoin                              0.00129666 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15672   [Address on File]    5/25/2023 Bitcoin                               0.0519879 Customer Transfer
 Confidential Customer Coin Transferee #15672   [Address on File]    5/19/2023 Bitcoin                              0.01114526 Customer Transfer
 Confidential Customer Coin Transferee #15672   [Address on File]    5/26/2023 Bitcoin                              0.01114276 Customer Transfer
 Confidential Customer Coin Transferee #15672   [Address on File]    5/16/2023 Bitcoin                              0.01106319 Customer Transfer
 Confidential Customer Coin Transferee #15672   [Address on File]    5/29/2023 Bitcoin                              0.00530866 Customer Transfer
 Confidential Customer Coin Transferee #15673   [Address on File]    5/20/2023 Bitcoin                              0.11124914 Customer Transfer
 Confidential Customer Coin Transferee #15674   [Address on File]    5/16/2023 Bitcoin                              0.07556764 Customer Transfer
 Confidential Customer Coin Transferee #15674   [Address on File]    5/16/2023 Bitcoin                              0.03685598 Customer Transfer
 Confidential Customer Coin Transferee #15674   [Address on File]    5/22/2023 Bitcoin                              0.02679742 Customer Transfer
 Confidential Customer Coin Transferee #15674   [Address on File]    5/28/2023 Bitcoin                              0.02557468 Customer Transfer
 Confidential Customer Coin Transferee #15674   [Address on File]    5/19/2023 Bitcoin                               0.0221707 Customer Transfer
 Confidential Customer Coin Transferee #15674   [Address on File]    5/18/2023 Bitcoin                              0.02024914 Customer Transfer
 Confidential Customer Coin Transferee #15674   [Address on File]    5/17/2023 Bitcoin                              0.01867843 Customer Transfer
 Confidential Customer Coin Transferee #15674   [Address on File]    5/29/2023 Bitcoin                              0.01802312 Customer Transfer
 Confidential Customer Coin Transferee #15674   [Address on File]    5/31/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #15675   [Address on File]    5/21/2023 Bitcoin                              0.00091936 Customer Transfer
 Confidential Customer Coin Transferee #15676   [Address on File]    6/20/2023 Bitcoin                              0.00117534 Customer Transfer
 Confidential Customer Coin Transferee #15677   [Address on File]    6/19/2023 Bitcoin                              0.00011627 Customer Transfer
 Confidential Customer Coin Transferee #15678   [Address on File]    5/19/2023 Bitcoin                              0.00361174 Customer Transfer
 Confidential Customer Coin Transferee #15679   [Address on File]    5/29/2023 Bitcoin                              0.00317841 Customer Transfer
 Confidential Customer Coin Transferee #15679   [Address on File]    5/25/2023 Bitcoin                              0.00175365 Customer Transfer
 Confidential Customer Coin Transferee #15680   [Address on File]    5/23/2023 Bitcoin                              0.00250635 Customer Transfer
 Confidential Customer Coin Transferee #15680   [Address on File]    5/16/2023 Bitcoin                              0.00242136 Customer Transfer
 Confidential Customer Coin Transferee #15681   [Address on File]    6/20/2023 Bitcoin                              0.00150858 Customer Transfer
 Confidential Customer Coin Transferee #15682   [Address on File]    6/19/2023 Bitcoin                              0.00098969 Customer Transfer
 Confidential Customer Coin Transferee #15683   [Address on File]    5/19/2023 Bitcoin                              0.02032603 Customer Transfer
 Confidential Customer Coin Transferee #15684   [Address on File]    6/12/2023 Cosmos Hub ATOM)                      30.137561 Customer Transfer

 Confidential Customer Coin Transferee #15685   [Address on File]    5/19/2023 Ether                                   0.06178526 Customer Transfer

 Confidential Customer Coin Transferee #15685   [Address on File]    5/16/2023 Ether                                   0.02748975 Customer Transfer

 Confidential Customer Coin Transferee #15685   [Address on File]    5/19/2023 Ether                                   0.02219497 Customer Transfer
 Confidential Customer Coin Transferee #15686   [Address on File]    5/20/2023 Bitcoin                                 0.00092027 Customer Transfer
 Confidential Customer Coin Transferee #15687   [Address on File]    5/23/2023 Bitcoin                                 0.00018262 Customer Transfer
 Confidential Customer Coin Transferee #15688   [Address on File]    5/23/2023 Bitcoin                                 0.01532581 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15688   [Address on File]    5/18/2023 Bitcoin                              0.00365321 Customer Transfer
 Confidential Customer Coin Transferee #15688   [Address on File]    5/23/2023 Bitcoin                              0.00003627 Customer Transfer
 Confidential Customer Coin Transferee #15689   [Address on File]    5/24/2023 Bitcoin                              0.01610735 Customer Transfer
 Confidential Customer Coin Transferee #15689   [Address on File]    5/28/2023 Bitcoin                              0.01284201 Customer Transfer
 Confidential Customer Coin Transferee #15689   [Address on File]    5/18/2023 Bitcoin                              0.01104137 Customer Transfer
 Confidential Customer Coin Transferee #15690   [Address on File]     6/1/2023 Bitcoin                              0.03687453 Customer Transfer
 Confidential Customer Coin Transferee #15691   [Address on File]    6/18/2023 Bitcoin                              0.00059162 Customer Transfer
 Confidential Customer Coin Transferee #15692   [Address on File]    5/31/2023 Bitcoin                              0.00924581 Customer Transfer
 Confidential Customer Coin Transferee #15693   [Address on File]    5/20/2023 Bitcoin                              0.00086521 Customer Transfer
 Confidential Customer Coin Transferee #15694   [Address on File]    6/20/2023 Bitcoin                              0.00122878 Customer Transfer

 Confidential Customer Coin Transferee #15695   [Address on File]    6/22/2023 CFV                                            900 Customer Transfer

 Confidential Customer Coin Transferee #15695   [Address on File]    6/22/2023 Recover Value USD                           472.59 Customer Transfer

 Confidential Customer Coin Transferee #15695   [Address on File]    6/22/2023 USD Coin                                     59.58 Customer Transfer

 Confidential Customer Coin Transferee #15695   [Address on File]    6/22/2023 Bitcoin Cash                                    1.05 Customer Transfer
 Confidential Customer Coin Transferee #15696   [Address on File]    6/20/2023 Bitcoin                                 0.00289238 Customer Transfer
 Confidential Customer Coin Transferee #15697   [Address on File]    5/16/2023 Bitcoin                                 0.02935274 Customer Transfer
 Confidential Customer Coin Transferee #15698   [Address on File]    5/26/2023 Bitcoin                                 0.01973299 Customer Transfer
 Confidential Customer Coin Transferee #15699   [Address on File]    5/19/2023 Bitcoin                                  0.0001961 Customer Transfer
 Confidential Customer Coin Transferee #15700   [Address on File]    5/27/2023 Bitcoin                                 0.00374831 Customer Transfer
 Confidential Customer Coin Transferee #15701   [Address on File]    5/25/2023 Bitcoin                                 0.00416466 Customer Transfer
 Confidential Customer Coin Transferee #15702   [Address on File]    5/23/2023 Bitcoin                                 0.00584758 Customer Transfer
 Confidential Customer Coin Transferee #15703   [Address on File]    5/19/2023 Bitcoin                                 0.00037046 Customer Transfer
 Confidential Customer Coin Transferee #15704   [Address on File]    6/19/2023 Bitcoin                                 0.00057883 Customer Transfer
 Confidential Customer Coin Transferee #15705   [Address on File]    5/27/2023 Bitcoin                                 0.00725853 Customer Transfer
 Confidential Customer Coin Transferee #15706   [Address on File]     6/5/2023 Bitcoin                                 0.01387491 Customer Transfer
 Confidential Customer Coin Transferee #15707   [Address on File]    5/24/2023 Bitcoin                                  0.0368575 Customer Transfer
 Confidential Customer Coin Transferee #15708   [Address on File]    5/26/2023 Bitcoin                                 0.00131482 Customer Transfer
 Confidential Customer Coin Transferee #15708   [Address on File]    5/26/2023 Bitcoin                                 0.00093938 Customer Transfer
 Confidential Customer Coin Transferee #15709   [Address on File]    5/31/2023 Bitcoin                                    0.002959 Customer Transfer
 Confidential Customer Coin Transferee #15710   [Address on File]    5/20/2023 Bitcoin                                 0.05498729 Customer Transfer
 Confidential Customer Coin Transferee #15711   [Address on File]    5/26/2023 Bitcoin                                 0.00189272 Customer Transfer
 Confidential Customer Coin Transferee #15712   [Address on File]    5/24/2023 Bitcoin                                 0.00233931 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15712   [Address on File]    5/16/2023 Bitcoin                              0.00212229 Customer Transfer
 Confidential Customer Coin Transferee #15713   [Address on File]    5/22/2023 Bitcoin                              0.00315648 Customer Transfer
 Confidential Customer Coin Transferee #15713   [Address on File]    5/24/2023 Bitcoin                               0.0027501 Customer Transfer
 Confidential Customer Coin Transferee #15713   [Address on File]    5/23/2023 Bitcoin                              0.00248402 Customer Transfer
 Confidential Customer Coin Transferee #15713   [Address on File]    5/25/2023 Bitcoin                              0.00165256 Customer Transfer
 Confidential Customer Coin Transferee #15713   [Address on File]    5/17/2023 Bitcoin                              0.00111534 Customer Transfer
 Confidential Customer Coin Transferee #15714   [Address on File]    5/22/2023 Bitcoin                              0.00220846 Customer Transfer
 Confidential Customer Coin Transferee #15715   [Address on File]    5/17/2023 Bitcoin                              0.00183934 Customer Transfer
 Confidential Customer Coin Transferee #15715   [Address on File]    5/20/2023 Bitcoin                              0.00037223 Customer Transfer
 Confidential Customer Coin Transferee #15716   [Address on File]    5/25/2023 Bitcoin                              0.00603329 Customer Transfer
 Confidential Customer Coin Transferee #15716   [Address on File]    5/17/2023 Bitcoin                              0.00371584 Customer Transfer
 Confidential Customer Coin Transferee #15716   [Address on File]    5/20/2023 Bitcoin                              0.00369384 Customer Transfer
 Confidential Customer Coin Transferee #15716   [Address on File]    5/24/2023 Bitcoin                              0.00365685 Customer Transfer
 Confidential Customer Coin Transferee #15716   [Address on File]    5/26/2023 Bitcoin                              0.00111435 Customer Transfer
 Confidential Customer Coin Transferee #15716   [Address on File]    5/29/2023 Bitcoin                              0.00055841 Customer Transfer
 Confidential Customer Coin Transferee #15717   [Address on File]    5/24/2023 Bitcoin                              0.01457386 Customer Transfer
 Confidential Customer Coin Transferee #15718   [Address on File]    5/23/2023 Bitcoin                              0.00054486 Customer Transfer
 Confidential Customer Coin Transferee #15718   [Address on File]    5/22/2023 Bitcoin                              0.00037043 Customer Transfer
 Confidential Customer Coin Transferee #15718   [Address on File]    5/29/2023 Bitcoin                              0.00035926 Customer Transfer
 Confidential Customer Coin Transferee #15718   [Address on File]    5/29/2023 Bitcoin                              0.00035924 Customer Transfer
 Confidential Customer Coin Transferee #15719   [Address on File]    5/27/2023 Bitcoin                              0.02521764 Customer Transfer
 Confidential Customer Coin Transferee #15720   [Address on File]    5/28/2023 Bitcoin                              0.01002672 Customer Transfer
 Confidential Customer Coin Transferee #15721   [Address on File]    5/30/2023 Bitcoin                              0.04013483 Customer Transfer
 Confidential Customer Coin Transferee #15722   [Address on File]    5/18/2023 Bitcoin                              0.02062647 Customer Transfer
 Confidential Customer Coin Transferee #15722   [Address on File]    5/28/2023 Bitcoin                              0.01727095 Customer Transfer
 Confidential Customer Coin Transferee #15723   [Address on File]    5/24/2023 Bitcoin                              0.00401833 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/22/2023 Bitcoin                                     0.06 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/27/2023 Bitcoin                              0.03204935 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/27/2023 Bitcoin                              0.02788893 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/27/2023 Bitcoin                               0.0271529 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/25/2023 Bitcoin                              0.02479367 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/28/2023 Bitcoin                              0.01722925 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/23/2023 Bitcoin                              0.01511156 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/23/2023 Bitcoin                              0.01337859 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/22/2023 Bitcoin                                    0.012 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/30/2023 Bitcoin                              0.00717504 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/16/2023 Bitcoin                              0.00664655 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/16/2023 Bitcoin                              0.00361809 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/23/2023 Bitcoin                              0.00310843 Customer Transfer
 Confidential Customer Coin Transferee #15724   [Address on File]    5/18/2023 Bitcoin                              0.00091753 Customer Transfer
 Confidential Customer Coin Transferee #15725   [Address on File]    5/28/2023 USD Coin                             116.631684 Customer Transfer
 Confidential Customer Coin Transferee #15725   [Address on File]     6/9/2023 Cosmos Hub ATOM)                      11.071874 Customer Transfer
 Confidential Customer Coin Transferee #15725   [Address on File]     6/5/2023 Cosmos Hub ATOM)                       9.117578 Customer Transfer
 Confidential Customer Coin Transferee #15725   [Address on File]    5/19/2023 Cosmos Hub ATOM)                       4.487011 Customer Transfer
 Confidential Customer Coin Transferee #15725   [Address on File]    5/20/2023 Ether                                   0.031078 Customer Transfer
 Confidential Customer Coin Transferee #15726   [Address on File]    6/20/2023 Bitcoin                              0.00004387 Customer Transfer
 Confidential Customer Coin Transferee #15727   [Address on File]    5/30/2023 Bitcoin                              0.05431518 Customer Transfer
 Confidential Customer Coin Transferee #15728   [Address on File]    6/19/2023 Bitcoin                              0.00099188 Customer Transfer
 Confidential Customer Coin Transferee #15729   [Address on File]    6/19/2023 Bitcoin                              0.00059549 Customer Transfer
 Confidential Customer Coin Transferee #15730   [Address on File]    6/20/2023 Bitcoin                              0.00059641 Customer Transfer
 Confidential Customer Coin Transferee #15731   [Address on File]    6/19/2023 Bitcoin                              0.00508354 Customer Transfer
 Confidential Customer Coin Transferee #15732   [Address on File]    5/19/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15732   [Address on File]    5/19/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15733   [Address on File]    6/20/2023 Bitcoin                              0.00140632 Customer Transfer

 Confidential Customer Coin Transferee #15734   [Address on File]    6/20/2023 Bitcoin                                 0.0074761 Customer Transfer

 Confidential Customer Coin Transferee #15734   [Address on File]    6/21/2023 Bitcoin                               0.0069672 Customer Transfer
 Confidential Customer Coin Transferee #15735   [Address on File]    5/21/2023 Bitcoin                              0.00917983 Customer Transfer
 Confidential Customer Coin Transferee #15736   [Address on File]    5/29/2023 Bitcoin                              0.01581819 Customer Transfer
 Confidential Customer Coin Transferee #15737   [Address on File]    5/16/2023 USD Coin                              31.513697 Customer Transfer
 Confidential Customer Coin Transferee #15738   [Address on File]    6/16/2023 Bitcoin                              0.08691963 Customer Transfer
 Confidential Customer Coin Transferee #15739   [Address on File]    6/20/2023 Bitcoin                               0.0035824 Customer Transfer
 Confidential Customer Coin Transferee #15740   [Address on File]    5/17/2023 Bitcoin                               0.0375734 Customer Transfer
 Confidential Customer Coin Transferee #15741   [Address on File]     6/3/2023 Bitcoin                              1.81780912 Customer Transfer
 Confidential Customer Coin Transferee #15742   [Address on File]     6/9/2023 USDC Solana)                        2000.179928 Customer Transfer
 Confidential Customer Coin Transferee #15742   [Address on File]     6/1/2023 Solana                                 9.472222 Customer Transfer
 Confidential Customer Coin Transferee #15743   [Address on File]    5/22/2023 Bitcoin                              0.00110709 Customer Transfer
 Confidential Customer Coin Transferee #15744   [Address on File]    5/21/2023 Bitcoin                              0.01120475 Customer Transfer
 Confidential Customer Coin Transferee #15744   [Address on File]    5/21/2023 Bitcoin                              0.00201864 Customer Transfer
 Confidential Customer Coin Transferee #15745   [Address on File]    6/20/2023 Bitcoin                               0.0004655 Customer Transfer
 Confidential Customer Coin Transferee #15746   [Address on File]    5/19/2023 Bitcoin                              0.00110325 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15747   [Address on File]    5/19/2023 Bitcoin                              0.05114451 Customer Transfer
 Confidential Customer Coin Transferee #15747   [Address on File]    5/26/2023 Bitcoin                              0.05040754 Customer Transfer
 Confidential Customer Coin Transferee #15748   [Address on File]    6/19/2023 Bitcoin                              0.00034337 Customer Transfer
 Confidential Customer Coin Transferee #15749   [Address on File]    5/18/2023 Bitcoin                              0.01012261 Customer Transfer
 Confidential Customer Coin Transferee #15750   [Address on File]    6/20/2023 Bitcoin                              0.00049429 Customer Transfer
 Confidential Customer Coin Transferee #15751   [Address on File]    6/20/2023 USDC Avalanche)                       995.90311 Customer Transfer
 Confidential Customer Coin Transferee #15751   [Address on File]    6/19/2023 USDC Avalanche)                      992.823681 Customer Transfer
 Confidential Customer Coin Transferee #15751   [Address on File]     6/7/2023 USDC Avalanche)                      596.141929 Customer Transfer
 Confidential Customer Coin Transferee #15752   [Address on File]    5/29/2023 Bitcoin                              0.01209702 Customer Transfer
 Confidential Customer Coin Transferee #15752   [Address on File]    5/29/2023 Bitcoin                              0.01099213 Customer Transfer
 Confidential Customer Coin Transferee #15753   [Address on File]    5/18/2023 Bitcoin                              0.05128428 Customer Transfer
 Confidential Customer Coin Transferee #15754   [Address on File]    5/24/2023 Bitcoin                                    0.075 Customer Transfer
 Confidential Customer Coin Transferee #15755   [Address on File]    6/12/2023 Bitcoin                              0.03867855 Customer Transfer
 Confidential Customer Coin Transferee #15756   [Address on File]    6/20/2023 Bitcoin                              0.00039722 Customer Transfer
 Confidential Customer Coin Transferee #15757   [Address on File]    6/20/2023 Bitcoin                              0.01969862 Customer Transfer
 Confidential Customer Coin Transferee #15758   [Address on File]    5/30/2023 Bitcoin                              0.01837459 Customer Transfer
 Confidential Customer Coin Transferee #15758   [Address on File]    5/29/2023 Bitcoin                              0.01470437 Customer Transfer
 Confidential Customer Coin Transferee #15758   [Address on File]    5/22/2023 Bitcoin                              0.01129296 Customer Transfer
 Confidential Customer Coin Transferee #15759   [Address on File]    5/26/2023 Bitcoin                               0.0018719 Customer Transfer
 Confidential Customer Coin Transferee #15759   [Address on File]    5/19/2023 Bitcoin                              0.00172206 Customer Transfer

 Confidential Customer Coin Transferee #15760   [Address on File]    5/26/2023 Bitcoin                                 0.05118268 Customer Transfer
 Confidential Customer Coin Transferee #15761   [Address on File]    6/20/2023 Bitcoin                                 0.00004209 Customer Transfer
 Confidential Customer Coin Transferee #15762   [Address on File]    5/26/2023 Bitcoin                                 0.00037314 Customer Transfer
 Confidential Customer Coin Transferee #15762   [Address on File]    5/19/2023 Bitcoin                                 0.00033761 Customer Transfer
 Confidential Customer Coin Transferee #15763   [Address on File]    5/19/2023 Bitcoin                                 0.02140656 Customer Transfer
 Confidential Customer Coin Transferee #15763   [Address on File]    5/16/2023 Bitcoin                                 0.01896947 Customer Transfer
 Confidential Customer Coin Transferee #15763   [Address on File]    5/22/2023 Bitcoin                                 0.01466656 Customer Transfer
 Confidential Customer Coin Transferee #15764   [Address on File]    6/20/2023 Bitcoin                                 0.00070728 Customer Transfer
 Confidential Customer Coin Transferee #15765   [Address on File]    5/30/2023 Bitcoin                                 0.00554025 Customer Transfer
 Confidential Customer Coin Transferee #15765   [Address on File]     6/8/2023 Bitcoin                                 0.00312308 Customer Transfer
 Confidential Customer Coin Transferee #15766   [Address on File]    5/22/2023 Bitcoin                                 0.00303645 Customer Transfer
 Confidential Customer Coin Transferee #15766   [Address on File]    6/17/2023 Bitcoin                                 0.00233286 Customer Transfer
 Confidential Customer Coin Transferee #15767   [Address on File]    6/19/2023 Bitcoin                                 0.00195009 Customer Transfer
 Confidential Customer Coin Transferee #15768   [Address on File]    6/19/2023 Bitcoin                                 0.00058824 Customer Transfer
 Confidential Customer Coin Transferee #15769   [Address on File]    6/19/2023 Bitcoin                                 0.00154198 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15770   [Address on File]    5/18/2023 Bitcoin                              0.00242878 Customer Transfer
 Confidential Customer Coin Transferee #15771   [Address on File]    6/19/2023 Bitcoin                              0.00037399 Customer Transfer
 Confidential Customer Coin Transferee #15772   [Address on File]    6/20/2023 Bitcoin                              0.03722168 Customer Transfer
 Confidential Customer Coin Transferee #15773   [Address on File]    6/11/2023 Bitcoin                                 0.005577 Customer Transfer
 Confidential Customer Coin Transferee #15774   [Address on File]    5/27/2023 Bitcoin                              0.01003162 Customer Transfer
 Confidential Customer Coin Transferee #15775   [Address on File]    5/20/2023 Bitcoin                              0.17827975 Customer Transfer
 Confidential Customer Coin Transferee #15775   [Address on File]    5/24/2023 Bitcoin                              0.08923424 Customer Transfer
 Confidential Customer Coin Transferee #15775   [Address on File]    5/17/2023 Bitcoin                              0.08533214 Customer Transfer
 Confidential Customer Coin Transferee #15776   [Address on File]    5/16/2023 Bitcoin                                 0.005754 Customer Transfer
 Confidential Customer Coin Transferee #15777   [Address on File]    6/20/2023 Bitcoin                              0.00216925 Customer Transfer
 Confidential Customer Coin Transferee #15778   [Address on File]    5/23/2023 Bitcoin                              0.00251681 Customer Transfer
 Confidential Customer Coin Transferee #15778   [Address on File]    5/16/2023 Bitcoin                              0.00241632 Customer Transfer
 Confidential Customer Coin Transferee #15779   [Address on File]    6/19/2023 Bitcoin                              0.00328458 Customer Transfer
 Confidential Customer Coin Transferee #15780   [Address on File]    6/19/2023 Bitcoin                              0.00043403 Customer Transfer
 Confidential Customer Coin Transferee #15781   [Address on File]    6/20/2023 Bitcoin                               0.0023112 Customer Transfer
 Confidential Customer Coin Transferee #15782   [Address on File]    5/26/2023 Bitcoin                              0.00180641 Customer Transfer
 Confidential Customer Coin Transferee #15782   [Address on File]    5/19/2023 Bitcoin                              0.00174327 Customer Transfer
 Confidential Customer Coin Transferee #15783   [Address on File]    6/20/2023 Bitcoin                              0.00005871 Customer Transfer
 Confidential Customer Coin Transferee #15784   [Address on File]    5/18/2023 Bitcoin                              0.00181154 Customer Transfer
 Confidential Customer Coin Transferee #15785   [Address on File]    6/19/2023 Bitcoin                              0.00038788 Customer Transfer
 Confidential Customer Coin Transferee #15786   [Address on File]    5/16/2023 Bitcoin                                    0.0022 Customer Transfer
 Confidential Customer Coin Transferee #15786   [Address on File]    5/19/2023 Bitcoin                                    0.0018 Customer Transfer
 Confidential Customer Coin Transferee #15786   [Address on File]    5/16/2023 Bitcoin                                  0.00138 Customer Transfer
 Confidential Customer Coin Transferee #15786   [Address on File]    5/16/2023 Bitcoin                                    0.0005 Customer Transfer
 Confidential Customer Coin Transferee #15787   [Address on File]    6/15/2023 USDC Avalanche)                      193.361991 Customer Transfer
 Confidential Customer Coin Transferee #15787   [Address on File]    6/16/2023 USDC Avalanche)                      192.783813 Customer Transfer
 Confidential Customer Coin Transferee #15787   [Address on File]    6/16/2023 USDC Avalanche)                      192.783813 Customer Transfer
 Confidential Customer Coin Transferee #15787   [Address on File]     6/3/2023 USDC Avalanche)                      144.847576 Customer Transfer
 Confidential Customer Coin Transferee #15787   [Address on File]     6/5/2023 USDC Avalanche)                      144.837581 Customer Transfer
 Confidential Customer Coin Transferee #15787   [Address on File]     6/1/2023 USDC Avalanche)                       96.411794 Customer Transfer
 Confidential Customer Coin Transferee #15788   [Address on File]    5/16/2023 Bitcoin                                     0.055 Customer Transfer
 Confidential Customer Coin Transferee #15788   [Address on File]    5/17/2023 Bitcoin                              0.00657563 Customer Transfer
 Confidential Customer Coin Transferee #15789   [Address on File]    6/20/2023 Bitcoin                              0.00111593 Customer Transfer
 Confidential Customer Coin Transferee #15790   [Address on File]     6/2/2023 Bitcoin                                       200 Customer Transfer
 Confidential Customer Coin Transferee #15790   [Address on File]     6/2/2023 Bitcoin                                  199.999 Customer Transfer
 Confidential Customer Coin Transferee #15790   [Address on File]    5/30/2023 Bitcoin                                       130 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15790   [Address on File]     6/2/2023 Bitcoin                                       50 Customer Transfer
 Confidential Customer Coin Transferee #15790   [Address on File]     6/1/2023 Bitcoin                                       20 Customer Transfer
 Confidential Customer Coin Transferee #15790   [Address on File]     6/5/2023 Bitcoin                                       20 Customer Transfer
 Confidential Customer Coin Transferee #15790   [Address on File]     6/7/2023 Bitcoin                                       20 Customer Transfer
 Confidential Customer Coin Transferee #15790   [Address on File]     6/2/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]     6/2/2023 Bitcoin                                      200 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]     6/2/2023 Bitcoin                                      200 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]     6/2/2023 Bitcoin                                      200 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]     6/2/2023 Bitcoin                                      200 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]     6/2/2023 Bitcoin                                      150 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]     6/7/2023 Bitcoin                                       60 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]     6/6/2023 Bitcoin                                       30 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]     6/5/2023 Bitcoin                                       20 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]    5/18/2023 Bitcoin                                       12 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]     6/8/2023 Bitcoin                                        8 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]    5/25/2023 Bitcoin                                        7 Customer Transfer
 Confidential Customer Coin Transferee #15791   [Address on File]     6/2/2023 Bitcoin                                    0.001 Customer Transfer
 Confidential Customer Coin Transferee #15792   [Address on File]    5/20/2023 Bitcoin                              0.00368809 Customer Transfer
 Confidential Customer Coin Transferee #15793   [Address on File]    5/29/2023 Bitcoin                              0.01150607 Customer Transfer
 Confidential Customer Coin Transferee #15793   [Address on File]    5/29/2023 Bitcoin                              0.00714233 Customer Transfer
 Confidential Customer Coin Transferee #15793   [Address on File]    5/16/2023 Bitcoin                              0.00558435 Customer Transfer
 Confidential Customer Coin Transferee #15793   [Address on File]    5/17/2023 Bitcoin                              0.00277191 Customer Transfer
 Confidential Customer Coin Transferee #15794   [Address on File]    5/18/2023 Bitcoin                              0.01925769 Customer Transfer
 Confidential Customer Coin Transferee #15794   [Address on File]    5/26/2023 Bitcoin                              0.01885157 Customer Transfer
 Confidential Customer Coin Transferee #15794   [Address on File]    5/24/2023 Bitcoin                              0.00220957 Customer Transfer
 Confidential Customer Coin Transferee #15795   [Address on File]    5/26/2023 Bitcoin                              0.02335569 Customer Transfer
 Confidential Customer Coin Transferee #15796   [Address on File]    5/31/2023 Bitcoin                              0.00496421 Customer Transfer
 Confidential Customer Coin Transferee #15797   [Address on File]     6/2/2023 Bitcoin                              0.05527847 Customer Transfer
 Confidential Customer Coin Transferee #15798   [Address on File]    5/25/2023 Bitcoin                              0.00113556 Customer Transfer
 Confidential Customer Coin Transferee #15799   [Address on File]    5/18/2023 Bitcoin                              0.04382713 Customer Transfer
 Confidential Customer Coin Transferee #15800   [Address on File]    5/16/2023 Bitcoin                              0.06617478 Customer Transfer
 Confidential Customer Coin Transferee #15800   [Address on File]    5/16/2023 Bitcoin                                     0.01 Customer Transfer
 Confidential Customer Coin Transferee #15801   [Address on File]    5/16/2023 Bitcoin                              0.00095361 Customer Transfer
 Confidential Customer Coin Transferee #15801   [Address on File]    5/20/2023 Bitcoin                              0.00092822 Customer Transfer
 Confidential Customer Coin Transferee #15801   [Address on File]    5/16/2023 Bitcoin                              0.00077881 Customer Transfer
 Confidential Customer Coin Transferee #15801   [Address on File]    5/18/2023 Bitcoin                              0.00056105 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15801   [Address on File]    5/16/2023 Bitcoin                               0.0002958 Customer Transfer
 Confidential Customer Coin Transferee #15801   [Address on File]    5/19/2023 Bitcoin                              0.00022281 Customer Transfer
 Confidential Customer Coin Transferee #15801   [Address on File]    5/20/2023 Bitcoin                              0.00018798 Customer Transfer
 Confidential Customer Coin Transferee #15802   [Address on File]    5/18/2023 Bitcoin                              0.00375158 Customer Transfer
 Confidential Customer Coin Transferee #15802   [Address on File]    5/26/2023 Bitcoin                              0.00374787 Customer Transfer
 Confidential Customer Coin Transferee #15802   [Address on File]    5/21/2023 Bitcoin                              0.00371808 Customer Transfer
 Confidential Customer Coin Transferee #15802   [Address on File]    5/17/2023 Bitcoin                               0.0036925 Customer Transfer
 Confidential Customer Coin Transferee #15802   [Address on File]    5/30/2023 Bitcoin                              0.00360544 Customer Transfer
 Confidential Customer Coin Transferee #15802   [Address on File]    5/30/2023 Bitcoin                              0.00357582 Customer Transfer
 Confidential Customer Coin Transferee #15802   [Address on File]    5/30/2023 Bitcoin                              0.00179582 Customer Transfer
 Confidential Customer Coin Transferee #15802   [Address on File]    5/30/2023 Bitcoin                              0.00178821 Customer Transfer
 Confidential Customer Coin Transferee #15803   [Address on File]    5/17/2023 Bitcoin                              0.04469373 Customer Transfer
 Confidential Customer Coin Transferee #15803   [Address on File]    5/24/2023 Bitcoin                              0.01187342 Customer Transfer
 Confidential Customer Coin Transferee #15804   [Address on File]    5/16/2023 Bitcoin                              0.00091103 Customer Transfer
 Confidential Customer Coin Transferee #15805   [Address on File]    5/18/2023 Bitcoin                                     0.219 Customer Transfer
 Confidential Customer Coin Transferee #15805   [Address on File]    5/19/2023 Bitcoin                               0.1502179 Customer Transfer
 Confidential Customer Coin Transferee #15806   [Address on File]    5/30/2023 Bitcoin                               0.0002415 Customer Transfer
 Confidential Customer Coin Transferee #15807   [Address on File]    5/25/2023 Bitcoin                              0.00208316 Customer Transfer
 Confidential Customer Coin Transferee #15807   [Address on File]    5/17/2023 Bitcoin                              0.00093724 Customer Transfer
 Confidential Customer Coin Transferee #15807   [Address on File]    5/16/2023 Bitcoin                              0.00085021 Customer Transfer
 Confidential Customer Coin Transferee #15808   [Address on File]    5/20/2023 Bitcoin                              0.00022949 Customer Transfer
 Confidential Customer Coin Transferee #15808   [Address on File]    5/29/2023 Bitcoin                              0.00010825 Customer Transfer
 Confidential Customer Coin Transferee #15808   [Address on File]    5/29/2023 Bitcoin                              0.00003575 Customer Transfer
 Confidential Customer Coin Transferee #15808   [Address on File]    5/29/2023 Bitcoin                              0.00003563 Customer Transfer
 Confidential Customer Coin Transferee #15809   [Address on File]    5/25/2023 Bitcoin                              0.00475876 Customer Transfer
 Confidential Customer Coin Transferee #15809   [Address on File]    5/18/2023 Bitcoin                               0.0045769 Customer Transfer
 Confidential Customer Coin Transferee #15810   [Address on File]    5/19/2023 Bitcoin                              0.00553744 Customer Transfer
 Confidential Customer Coin Transferee #15810   [Address on File]    5/26/2023 Bitcoin                              0.00532112 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                               0.0061045 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                                  0.00569 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                              0.00397592 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/27/2023 Bitcoin                              0.00372641 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/31/2023 Bitcoin                              0.00308553 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/27/2023 Bitcoin                               0.0026629 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                              0.00262316 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/18/2023 Bitcoin                              0.00202562 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                              0.00200883 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                                   0.0019 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/27/2023 Bitcoin                              0.00188664 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                              0.00187513 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                              0.00187268 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                                   0.0013 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/18/2023 Bitcoin                              0.00128981 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                                   0.0012 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                                   0.0012 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/18/2023 Bitcoin                                  0.00116 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/21/2023 Bitcoin                              0.00115061 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/25/2023 Bitcoin                                  0.00115 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/29/2023 Bitcoin                                  0.00107 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/22/2023 Bitcoin                              0.00100839 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/21/2023 Bitcoin                              0.00098266 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/22/2023 Bitcoin                              0.00076631 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/29/2023 Bitcoin                              0.00068907 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/29/2023 Bitcoin                              0.00046697 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/17/2023 Bitcoin                              0.00046035 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/30/2023 Bitcoin                              0.00036725 Customer Transfer
 Confidential Customer Coin Transferee #15811   [Address on File]    5/28/2023 Bitcoin                              0.00024597 Customer Transfer
 Confidential Customer Coin Transferee #15812   [Address on File]    5/26/2023 Bitcoin                               0.0195445 Customer Transfer
 Confidential Customer Coin Transferee #15812   [Address on File]    5/17/2023 Bitcoin                              0.01898697 Customer Transfer
 Confidential Customer Coin Transferee #15812   [Address on File]    5/26/2023 Bitcoin                                     0.002 Customer Transfer
 Confidential Customer Coin Transferee #15812   [Address on File]    5/26/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15812   [Address on File]    5/26/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15812   [Address on File]    5/26/2023 Bitcoin                                   0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15812   [Address on File]    5/17/2023 Bitcoin                                  0.00075 Customer Transfer
 Confidential Customer Coin Transferee #15812   [Address on File]    5/17/2023 Bitcoin                                  0.00075 Customer Transfer
 Confidential Customer Coin Transferee #15812   [Address on File]    5/17/2023 Bitcoin                                  0.00075 Customer Transfer
 Confidential Customer Coin Transferee #15812   [Address on File]    5/17/2023 Bitcoin                                  0.00075 Customer Transfer
 Confidential Customer Coin Transferee #15813   [Address on File]    5/19/2023 Bitcoin                              0.00148876 Customer Transfer
 Confidential Customer Coin Transferee #15813   [Address on File]    5/25/2023 Bitcoin                              0.00094679 Customer Transfer
 Confidential Customer Coin Transferee #15813   [Address on File]    5/22/2023 Bitcoin                              0.00092777 Customer Transfer
 Confidential Customer Coin Transferee #15813   [Address on File]    5/30/2023 Bitcoin                              0.00090026 Customer Transfer
 Confidential Customer Coin Transferee #15814   [Address on File]    5/22/2023 Bitcoin                                      0.22 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15814   [Address on File]    5/16/2023 Bitcoin                              0.18695678 Customer Transfer
 Confidential Customer Coin Transferee #15815   [Address on File]    5/24/2023 Bitcoin                               0.0038009 Customer Transfer
 Confidential Customer Coin Transferee #15815   [Address on File]    5/30/2023 Bitcoin                              0.00359705 Customer Transfer
 Confidential Customer Coin Transferee #15816   [Address on File]    5/30/2023 Bitcoin                              0.05388132 Customer Transfer
 Confidential Customer Coin Transferee #15816   [Address on File]    5/20/2023 Bitcoin                              0.00728564 Customer Transfer
 Confidential Customer Coin Transferee #15817   [Address on File]    5/31/2023 Bitcoin                              0.07383756 Customer Transfer
 Confidential Customer Coin Transferee #15817   [Address on File]    5/17/2023 Bitcoin                              0.00011111 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/26/2023 Bitcoin                              0.00186502 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/25/2023 Bitcoin                              0.00113085 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/29/2023 Bitcoin                              0.00107236 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/27/2023 Bitcoin                              0.00095301 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/28/2023 Bitcoin                              0.00091979 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/29/2023 Bitcoin                              0.00086649 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/27/2023 Bitcoin                              0.00085818 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/30/2023 Bitcoin                              0.00082416 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/25/2023 Bitcoin                               0.0007629 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/26/2023 Bitcoin                               0.0007541 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/31/2023 Bitcoin                              0.00075096 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/30/2023 Bitcoin                              0.00064845 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/28/2023 Bitcoin                              0.00057134 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/19/2023 Bitcoin                              0.00055888 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/24/2023 Bitcoin                              0.00048558 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/17/2023 Bitcoin                               0.0003728 Customer Transfer
 Confidential Customer Coin Transferee #15818   [Address on File]    5/19/2023 Bitcoin                              0.00037193 Customer Transfer
 Confidential Customer Coin Transferee #15819   [Address on File]    5/29/2023 Bitcoin                                   0.0198 Customer Transfer
 Confidential Customer Coin Transferee #15820   [Address on File]    5/25/2023 Bitcoin                              0.00919747 Customer Transfer
 Confidential Customer Coin Transferee #15821   [Address on File]    5/18/2023 Bitcoin                                      0.21 Customer Transfer
 Confidential Customer Coin Transferee #15821   [Address on File]    5/19/2023 Bitcoin                               0.1651064 Customer Transfer
 Confidential Customer Coin Transferee #15822   [Address on File]    5/30/2023 Bitcoin                              0.00331131 Customer Transfer
 Confidential Customer Coin Transferee #15823   [Address on File]    5/21/2023 Bitcoin                              0.03058366 Customer Transfer
 Confidential Customer Coin Transferee #15823   [Address on File]    5/27/2023 Bitcoin                              0.01289618 Customer Transfer
 Confidential Customer Coin Transferee #15824   [Address on File]    5/19/2023 Bitcoin                              0.01070294 Customer Transfer
 Confidential Customer Coin Transferee #15825   [Address on File]    5/21/2023 Bitcoin                              0.02040126 Customer Transfer
 Confidential Customer Coin Transferee #15826   [Address on File]    5/31/2023 Bitcoin                                     0.025 Customer Transfer
 Confidential Customer Coin Transferee #15826   [Address on File]    5/31/2023 Bitcoin                                     0.019 Customer Transfer
 Confidential Customer Coin Transferee #15827   [Address on File]    5/26/2023 Bitcoin                                  0.00374 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15828   [Address on File]    5/20/2023 Bitcoin                              0.00742672 Customer Transfer
 Confidential Customer Coin Transferee #15828   [Address on File]    5/30/2023 Bitcoin                              0.00673761 Customer Transfer
 Confidential Customer Coin Transferee #15828   [Address on File]    5/21/2023 Bitcoin                              0.00593117 Customer Transfer
 Confidential Customer Coin Transferee #15828   [Address on File]    5/26/2023 Bitcoin                              0.00589281 Customer Transfer
 Confidential Customer Coin Transferee #15828   [Address on File]    5/22/2023 Bitcoin                              0.00417136 Customer Transfer
 Confidential Customer Coin Transferee #15828   [Address on File]    5/23/2023 Bitcoin                              0.00400526 Customer Transfer
 Confidential Customer Coin Transferee #15828   [Address on File]    5/24/2023 Bitcoin                              0.00379667 Customer Transfer
 Confidential Customer Coin Transferee #15828   [Address on File]    5/23/2023 Bitcoin                              0.00212329 Customer Transfer
 Confidential Customer Coin Transferee #15829   [Address on File]    5/26/2023 Bitcoin                               0.0147061 Customer Transfer
 Confidential Customer Coin Transferee #15829   [Address on File]    5/26/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #15830   [Address on File]    5/29/2023 Bitcoin                              0.11039208 Customer Transfer
 Confidential Customer Coin Transferee #15831   [Address on File]    5/20/2023 Bitcoin                              0.15127419 Customer Transfer
 Confidential Customer Coin Transferee #15832   [Address on File]    5/19/2023 Bitcoin                              0.00168295 Customer Transfer
 Confidential Customer Coin Transferee #15833   [Address on File]    5/26/2023 Bitcoin                                   0.0004 Customer Transfer
 Confidential Customer Coin Transferee #15834   [Address on File]    5/16/2023 Bitcoin                                      0.11 Customer Transfer
 Confidential Customer Coin Transferee #15835   [Address on File]    5/26/2023 Bitcoin                                    0.225 Customer Transfer
 Confidential Customer Coin Transferee #15835   [Address on File]    5/24/2023 Bitcoin                                       0.2 Customer Transfer
 Confidential Customer Coin Transferee #15835   [Address on File]    5/28/2023 Bitcoin                                    0.112 Customer Transfer
 Confidential Customer Coin Transferee #15835   [Address on File]    5/24/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #15835   [Address on File]    5/27/2023 Bitcoin                                   0.0007 Customer Transfer
 Confidential Customer Coin Transferee #15836   [Address on File]    5/27/2023 Bitcoin                              0.00303036 Customer Transfer
 Confidential Customer Coin Transferee #15837   [Address on File]    5/18/2023 Bitcoin                                    0.002 Customer Transfer
 Confidential Customer Coin Transferee #15838   [Address on File]    5/19/2023 Bitcoin                              0.01188173 Customer Transfer
 Confidential Customer Coin Transferee #15839   [Address on File]    5/26/2023 Bitcoin                              0.03220615 Customer Transfer
 Confidential Customer Coin Transferee #15840   [Address on File]    5/27/2023 Bitcoin                              0.06350654 Customer Transfer
 Confidential Customer Coin Transferee #15841   [Address on File]    5/30/2023 Bitcoin                              0.05865622 Customer Transfer
 Confidential Customer Coin Transferee #15842   [Address on File]    5/29/2023 Bitcoin                               0.0044022 Customer Transfer
 Confidential Customer Coin Transferee #15843   [Address on File]    5/16/2023 Bitcoin                              0.01107751 Customer Transfer
 Confidential Customer Coin Transferee #15844   [Address on File]    5/30/2023 Bitcoin                              0.01570327 Customer Transfer
 Confidential Customer Coin Transferee #15844   [Address on File]    5/19/2023 Bitcoin                              0.01168426 Customer Transfer
 Confidential Customer Coin Transferee #15844   [Address on File]    5/26/2023 Bitcoin                              0.00566447 Customer Transfer
 Confidential Customer Coin Transferee #15844   [Address on File]    5/22/2023 Bitcoin                              0.00556961 Customer Transfer
 Confidential Customer Coin Transferee #15844   [Address on File]    5/17/2023 Bitcoin                              0.00521206 Customer Transfer
 Confidential Customer Coin Transferee #15844   [Address on File]    5/28/2023 Bitcoin                              0.00335777 Customer Transfer
 Confidential Customer Coin Transferee #15845   [Address on File]    5/26/2023 Bitcoin                              0.01128447 Customer Transfer
 Confidential Customer Coin Transferee #15845   [Address on File]    5/26/2023 Bitcoin                              0.00751699 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15845   [Address on File]    5/22/2023 Bitcoin                              0.00555388 Customer Transfer
 Confidential Customer Coin Transferee #15845   [Address on File]    5/27/2023 Bitcoin                              0.00373242 Customer Transfer
 Confidential Customer Coin Transferee #15845   [Address on File]    5/24/2023 Bitcoin                              0.00372004 Customer Transfer
 Confidential Customer Coin Transferee #15845   [Address on File]    5/28/2023 Bitcoin                              0.00360237 Customer Transfer
 Confidential Customer Coin Transferee #15845   [Address on File]    5/28/2023 Bitcoin                              0.00360215 Customer Transfer
 Confidential Customer Coin Transferee #15845   [Address on File]    5/26/2023 Bitcoin                              0.00188161 Customer Transfer
 Confidential Customer Coin Transferee #15846   [Address on File]    5/25/2023 Bitcoin                              0.00109687 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/25/2023 Bitcoin                               0.0378471 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/28/2023 Bitcoin                              0.03441482 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/28/2023 Bitcoin                              0.03437094 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/29/2023 Bitcoin                              0.03313889 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/25/2023 Bitcoin                              0.01882499 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/29/2023 Bitcoin                              0.01373183 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/17/2023 Bitcoin                              0.01223328 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/17/2023 Bitcoin                              0.01019107 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/22/2023 Bitcoin                              0.00947138 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/16/2023 Bitcoin                               0.0094214 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/24/2023 Bitcoin                              0.00874166 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/27/2023 Bitcoin                              0.00653758 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/16/2023 Bitcoin                              0.00470156 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/24/2023 Bitcoin                              0.00291586 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/16/2023 Bitcoin                              0.00183391 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/21/2023 Bitcoin                              0.00121559 Customer Transfer
 Confidential Customer Coin Transferee #15847   [Address on File]    5/31/2023 Bitcoin                              0.00039544 Customer Transfer
 Confidential Customer Coin Transferee #15848   [Address on File]    5/16/2023 Bitcoin                              0.00545679 Customer Transfer
 Confidential Customer Coin Transferee #15848   [Address on File]    5/20/2023 Bitcoin                              0.00371189 Customer Transfer
 Confidential Customer Coin Transferee #15848   [Address on File]    5/17/2023 Bitcoin                              0.00186099 Customer Transfer
 Confidential Customer Coin Transferee #15848   [Address on File]    5/16/2023 Bitcoin                              0.00184796 Customer Transfer
 Confidential Customer Coin Transferee #15849   [Address on File]    5/25/2023 Bitcoin                              0.10563444 Customer Transfer
 Confidential Customer Coin Transferee #15849   [Address on File]    5/25/2023 Bitcoin                               0.0188786 Customer Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/17/2023 Bitcoin                              0.00124188 Customer Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/21/2023 Bitcoin                              0.00097583 Customer Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/22/2023 Bitcoin                              0.00072493 Customer Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/28/2023 Bitcoin                              0.00071571 Customer Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/20/2023 Bitcoin                              0.00070614 Customer Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/28/2023 Bitcoin                              0.00068607 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/25/2023 Bitcoin                              0.00060353 Customer Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/25/2023 Bitcoin                              0.00057327 Customer Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/28/2023 Bitcoin                                 0.000534 Customer Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/29/2023 Bitcoin                              0.00050194 Customer Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/26/2023 Bitcoin                              0.00037244 Customer Transfer
 Confidential Customer Coin Transferee #15850   [Address on File]    5/18/2023 Bitcoin                              0.00036573 Customer Transfer
 Confidential Customer Coin Transferee #15851   [Address on File]    5/20/2023 Bitcoin                                    0.0019 Customer Transfer
 Confidential Customer Coin Transferee #15852   [Address on File]    5/18/2023 Bitcoin                                    0.0066 Customer Transfer
 Confidential Customer Coin Transferee #15853   [Address on File]    5/29/2023 Bitcoin                              0.00180332 Customer Transfer
 Confidential Customer Coin Transferee #15853   [Address on File]    5/28/2023 Bitcoin                              0.00092133 Customer Transfer
 Confidential Customer Coin Transferee #15854   [Address on File]    5/29/2023 Bitcoin                              0.03579402 Customer Transfer
 Confidential Customer Coin Transferee #15854   [Address on File]    5/26/2023 Bitcoin                              0.00746196 Customer Transfer
 Confidential Customer Coin Transferee #15854   [Address on File]    5/25/2023 Bitcoin                              0.00003805 Customer Transfer
 Confidential Customer Coin Transferee #15855   [Address on File]    5/26/2023 Bitcoin                               0.0079931 Customer Transfer
 Confidential Customer Coin Transferee #15856   [Address on File]    5/29/2023 Bitcoin                                    0.0073 Customer Transfer
 Confidential Customer Coin Transferee #15857   [Address on File]    5/22/2023 Bitcoin                               0.0048425 Customer Transfer
 Confidential Customer Coin Transferee #15857   [Address on File]    5/21/2023 Bitcoin                               0.0048347 Customer Transfer
 Confidential Customer Coin Transferee #15857   [Address on File]    5/20/2023 Bitcoin                              0.00461125 Customer Transfer
 Confidential Customer Coin Transferee #15857   [Address on File]    5/21/2023 Bitcoin                               0.0045925 Customer Transfer
 Confidential Customer Coin Transferee #15858   [Address on File]    5/28/2023 Bitcoin                              0.00468249 Customer Transfer
 Confidential Customer Coin Transferee #15858   [Address on File]    5/22/2023 Bitcoin                              0.00164164 Customer Transfer
 Confidential Customer Coin Transferee #15858   [Address on File]    5/31/2023 Bitcoin                               0.0014098 Customer Transfer
 Confidential Customer Coin Transferee #15858   [Address on File]    5/30/2023 Bitcoin                              0.00096861 Customer Transfer
 Confidential Customer Coin Transferee #15858   [Address on File]    5/31/2023 Bitcoin                              0.00095888 Customer Transfer
 Confidential Customer Coin Transferee #15859   [Address on File]    5/16/2023 Bitcoin                              0.03689956 Customer Transfer
 Confidential Customer Coin Transferee #15860   [Address on File]    5/24/2023 Bitcoin                              0.00712726 Customer Transfer
 Confidential Customer Coin Transferee #15861   [Address on File]    5/31/2023 Bitcoin                              0.00938274 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/27/2023 Bitcoin                              0.00496805 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/22/2023 Bitcoin                              0.00449971 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/20/2023 Bitcoin                              0.00434792 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/21/2023 Bitcoin                              0.00170834 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/19/2023 Bitcoin                              0.00167244 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/25/2023 Bitcoin                              0.00155961 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/24/2023 Bitcoin                              0.00155772 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/17/2023 Bitcoin                              0.00151431 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/27/2023 Bitcoin                              0.00149401 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/28/2023 Bitcoin                              0.00130084 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/31/2023 Bitcoin                              0.00128865 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/27/2023 Bitcoin                              0.00119343 Customer Transfer
 Confidential Customer Coin Transferee #15862   [Address on File]    5/27/2023 Bitcoin                               0.0011572 Customer Transfer
 Confidential Customer Coin Transferee #15863   [Address on File]    5/27/2023 Bitcoin                              0.00944225 Customer Transfer
 Confidential Customer Coin Transferee #15864   [Address on File]    5/18/2023 Bitcoin                              0.00151596 Customer Transfer
 Confidential Customer Coin Transferee #15864   [Address on File]    5/31/2023 Bitcoin                              0.00105442 Customer Transfer
 Confidential Customer Coin Transferee #15864   [Address on File]    5/19/2023 Bitcoin                              0.00038825 Customer Transfer
 Confidential Customer Coin Transferee #15865   [Address on File]    5/21/2023 Bitcoin                              0.00924199 Customer Transfer
 Confidential Customer Coin Transferee #15866   [Address on File]    5/21/2023 Bitcoin                              0.16502952 Customer Transfer
 Confidential Customer Coin Transferee #15866   [Address on File]    5/21/2023 Bitcoin                              0.00553333 Customer Transfer
 Confidential Customer Coin Transferee #15866   [Address on File]    5/25/2023 Bitcoin                              0.00079512 Customer Transfer
 Confidential Customer Coin Transferee #15867   [Address on File]    5/17/2023 Bitcoin                              0.00832665 Customer Transfer
 Confidential Customer Coin Transferee #15867   [Address on File]    5/16/2023 Bitcoin                              0.00036925 Customer Transfer
 Confidential Customer Coin Transferee #15867   [Address on File]    5/20/2023 Bitcoin                              0.00003708 Customer Transfer
 Confidential Customer Coin Transferee #15868   [Address on File]    5/20/2023 Bitcoin                              0.00037098 Customer Transfer
 Confidential Customer Coin Transferee #15869   [Address on File]    5/21/2023 Bitcoin                              0.00277631 Customer Transfer
 Confidential Customer Coin Transferee #15870   [Address on File]    5/17/2023 Bitcoin                                     0.035 Customer Transfer
 Confidential Customer Coin Transferee #15871   [Address on File]    5/26/2023 Bitcoin                              0.00931905 Customer Transfer
 Confidential Customer Coin Transferee #15872   [Address on File]    5/25/2023 Bitcoin                              0.00094302 Customer Transfer
 Confidential Customer Coin Transferee #15873   [Address on File]    5/26/2023 Bitcoin                              0.06946664 Customer Transfer
 Confidential Customer Coin Transferee #15873   [Address on File]    5/29/2023 Bitcoin                              0.00241726 Customer Transfer
 Confidential Customer Coin Transferee #15873   [Address on File]    5/23/2023 Bitcoin                                    0.0002 Customer Transfer
 Confidential Customer Coin Transferee #15874   [Address on File]    5/20/2023 Bitcoin                              0.01607765 Customer Transfer
 Confidential Customer Coin Transferee #15875   [Address on File]    5/27/2023 Bitcoin                                 0.001809 Customer Transfer
 Confidential Customer Coin Transferee #15876   [Address on File]    5/19/2023 Bitcoin                              0.10020436 Customer Transfer
 Confidential Customer Coin Transferee #15877   [Address on File]    5/16/2023 Bitcoin                              0.00108126 Customer Transfer
 Confidential Customer Coin Transferee #15877   [Address on File]    5/22/2023 Bitcoin                              0.00029691 Customer Transfer
 Confidential Customer Coin Transferee #15878   [Address on File]    5/25/2023 Bitcoin                              0.03786534 Customer Transfer
 Confidential Customer Coin Transferee #15878   [Address on File]    5/21/2023 Bitcoin                              0.03761788 Customer Transfer
 Confidential Customer Coin Transferee #15879   [Address on File]    5/25/2023 Bitcoin                                  0.01325 Customer Transfer
 Confidential Customer Coin Transferee #15880   [Address on File]    5/26/2023 Bitcoin                              0.02383077 Customer Transfer
 Confidential Customer Coin Transferee #15880   [Address on File]    5/24/2023 Bitcoin                              0.01139253 Customer Transfer
 Confidential Customer Coin Transferee #15880   [Address on File]    5/24/2023 Bitcoin                              0.00412685 Customer Transfer
 Confidential Customer Coin Transferee #15880   [Address on File]    5/20/2023 Bitcoin                              0.00373935 Customer Transfer
 Confidential Customer Coin Transferee #15880   [Address on File]    5/17/2023 Bitcoin                              0.00186214 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15880   [Address on File]    5/22/2023 Bitcoin                              0.00185096 Customer Transfer
 Confidential Customer Coin Transferee #15880   [Address on File]    5/21/2023 Bitcoin                              0.00184835 Customer Transfer
 Confidential Customer Coin Transferee #15880   [Address on File]    5/16/2023 Bitcoin                              0.00183256 Customer Transfer
 Confidential Customer Coin Transferee #15881   [Address on File]    5/17/2023 Bitcoin                              0.03106536 Customer Transfer
 Confidential Customer Coin Transferee #15882   [Address on File]    5/19/2023 Bitcoin                               0.0074257 Customer Transfer
 Confidential Customer Coin Transferee #15883   [Address on File]    5/31/2023 Bitcoin                              0.02208079 Customer Transfer
 Confidential Customer Coin Transferee #15883   [Address on File]    5/16/2023 Bitcoin                              0.02201033 Customer Transfer
 Confidential Customer Coin Transferee #15884   [Address on File]    5/22/2023 Bitcoin                                     0.006 Customer Transfer
 Confidential Customer Coin Transferee #15885   [Address on File]    5/24/2023 Bitcoin                              0.03993707 Customer Transfer
 Confidential Customer Coin Transferee #15886   [Address on File]    5/19/2023 Bitcoin                              0.08287833 Customer Transfer
 Confidential Customer Coin Transferee #15887   [Address on File]    5/25/2023 Bitcoin                                  0.00022 Customer Transfer
 Confidential Customer Coin Transferee #15888   [Address on File]    5/31/2023 Bitcoin                               0.0368508 Customer Transfer
 Confidential Customer Coin Transferee #15889   [Address on File]    5/22/2023 Bitcoin                                     0.011 Customer Transfer
 Confidential Customer Coin Transferee #15890   [Address on File]    5/21/2023 Bitcoin                              0.00908772 Customer Transfer
 Confidential Customer Coin Transferee #15890   [Address on File]    5/27/2023 Bitcoin                              0.00515897 Customer Transfer
 Confidential Customer Coin Transferee #15890   [Address on File]    5/21/2023 Bitcoin                              0.00066652 Customer Transfer
 Confidential Customer Coin Transferee #15891   [Address on File]    5/23/2023 Bitcoin                                 0.006175 Customer Transfer
 Confidential Customer Coin Transferee #15892   [Address on File]    5/27/2023 Bitcoin                              0.01961644 Customer Transfer
 Confidential Customer Coin Transferee #15893   [Address on File]    5/20/2023 Bitcoin                              0.01767525 Customer Transfer
 Confidential Customer Coin Transferee #15893   [Address on File]    5/27/2023 Bitcoin                              0.01033055 Customer Transfer
 Confidential Customer Coin Transferee #15894   [Address on File]    5/16/2023 Bitcoin                              0.00735749 Customer Transfer
 Confidential Customer Coin Transferee #15895   [Address on File]    5/28/2023 Bitcoin                              0.00740598 Customer Transfer
 Confidential Customer Coin Transferee #15896   [Address on File]    5/21/2023 Bitcoin                                  0.00186 Customer Transfer
 Confidential Customer Coin Transferee #15896   [Address on File]    5/21/2023 Bitcoin                                  0.00093 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/20/2023 Bitcoin                              0.00557463 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/21/2023 Bitcoin                              0.00555305 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/26/2023 Bitcoin                              0.00372602 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/19/2023 Bitcoin                              0.00371622 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/27/2023 Bitcoin                              0.00279624 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/24/2023 Bitcoin                              0.00189036 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/22/2023 Bitcoin                              0.00186653 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/16/2023 Bitcoin                              0.00184779 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/16/2023 Bitcoin                              0.00184636 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/28/2023 Bitcoin                              0.00128601 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/25/2023 Bitcoin                              0.00113476 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/24/2023 Bitcoin                               0.0011216 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/23/2023 Bitcoin                              0.00110389 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/17/2023 Bitcoin                              0.00109521 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/28/2023 Bitcoin                              0.00092392 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/24/2023 Bitcoin                              0.00091712 Customer Transfer
 Confidential Customer Coin Transferee #15897   [Address on File]    5/18/2023 Bitcoin                               0.0009109 Customer Transfer
 Confidential Customer Coin Transferee #15898   [Address on File]    5/27/2023 Bitcoin                               0.0066715 Customer Transfer
 Confidential Customer Coin Transferee #15899   [Address on File]    5/26/2023 Bitcoin                                 0.000396 Customer Transfer
 Confidential Customer Coin Transferee #15899   [Address on File]    5/26/2023 Bitcoin                                 0.000396 Customer Transfer
 Confidential Customer Coin Transferee #15899   [Address on File]    5/27/2023 Bitcoin                              0.00038157 Customer Transfer
 Confidential Customer Coin Transferee #15899   [Address on File]    5/27/2023 Bitcoin                                 0.000365 Customer Transfer
 Confidential Customer Coin Transferee #15900   [Address on File]    5/29/2023 Bitcoin                              0.06049355 Customer Transfer
 Confidential Customer Coin Transferee #15901   [Address on File]    5/24/2023 Bitcoin                               0.0590002 Customer Transfer
 Confidential Customer Coin Transferee #15901   [Address on File]    5/30/2023 Bitcoin                               0.0556739 Customer Transfer
 Confidential Customer Coin Transferee #15901   [Address on File]    5/26/2023 Bitcoin                               0.0037527 Customer Transfer
 Confidential Customer Coin Transferee #15901   [Address on File]    5/17/2023 Bitcoin                               0.0007432 Customer Transfer
 Confidential Customer Coin Transferee #15902   [Address on File]    5/30/2023 Bitcoin                                     0.087 Customer Transfer
 Confidential Customer Coin Transferee #15902   [Address on File]    5/20/2023 Bitcoin                                     0.005 Customer Transfer
 Confidential Customer Coin Transferee #15902   [Address on File]    5/25/2023 Bitcoin                                     0.005 Customer Transfer
 Confidential Customer Coin Transferee #15903   [Address on File]    5/31/2023 Bitcoin                                    0.0052 Customer Transfer
 Confidential Customer Coin Transferee #15903   [Address on File]    5/21/2023 Bitcoin                              0.00441356 Customer Transfer
 Confidential Customer Coin Transferee #15903   [Address on File]    5/18/2023 Bitcoin                                 0.002575 Customer Transfer
 Confidential Customer Coin Transferee #15904   [Address on File]    5/19/2023 Bitcoin                              0.00682285 Customer Transfer
 Confidential Customer Coin Transferee #15905   [Address on File]    5/18/2023 Bitcoin                              0.00199202 Customer Transfer
 Confidential Customer Coin Transferee #15906   [Address on File]    5/18/2023 Bitcoin                              0.02111651 Customer Transfer
 Confidential Customer Coin Transferee #15906   [Address on File]    5/19/2023 Bitcoin                              0.00611937 Customer Transfer
 Confidential Customer Coin Transferee #15907   [Address on File]    5/26/2023 Bitcoin                              0.00543119 Customer Transfer
 Confidential Customer Coin Transferee #15907   [Address on File]    5/24/2023 Bitcoin                               0.0018984 Customer Transfer
 Confidential Customer Coin Transferee #15907   [Address on File]    5/28/2023 Bitcoin                              0.00185961 Customer Transfer
 Confidential Customer Coin Transferee #15907   [Address on File]    5/18/2023 Bitcoin                              0.00182394 Customer Transfer
 Confidential Customer Coin Transferee #15907   [Address on File]    5/30/2023 Bitcoin                              0.00178599 Customer Transfer
 Confidential Customer Coin Transferee #15908   [Address on File]    5/28/2023 Bitcoin                              0.00378903 Customer Transfer
 Confidential Customer Coin Transferee #15908   [Address on File]    5/19/2023 Bitcoin                              0.00371324 Customer Transfer
 Confidential Customer Coin Transferee #15909   [Address on File]    5/17/2023 Bitcoin                              0.00360737 Customer Transfer
 Confidential Customer Coin Transferee #15910   [Address on File]    5/25/2023 Bitcoin                              0.18981282 Customer Transfer
 Confidential Customer Coin Transferee #15911   [Address on File]    5/16/2023 Bitcoin                              0.01792277 Customer Transfer
 Confidential Customer Coin Transferee #15912   [Address on File]    5/16/2023 Bitcoin                              0.01153096 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15913   [Address on File]    5/18/2023 Bitcoin                              0.00465387 Customer Transfer
 Confidential Customer Coin Transferee #15914   [Address on File]    5/21/2023 Bitcoin                              0.00485693 Customer Transfer
 Confidential Customer Coin Transferee #15914   [Address on File]    5/27/2023 Bitcoin                              0.00425592 Customer Transfer
 Confidential Customer Coin Transferee #15915   [Address on File]    5/18/2023 Bitcoin                                  0.00737 Customer Transfer
 Confidential Customer Coin Transferee #15915   [Address on File]    5/24/2023 Bitcoin                                   0.0038 Customer Transfer
 Confidential Customer Coin Transferee #15916   [Address on File]    5/17/2023 Bitcoin                              0.09459309 Customer Transfer
 Confidential Customer Coin Transferee #15916   [Address on File]    5/16/2023 Bitcoin                                     0.002 Customer Transfer
 Confidential Customer Coin Transferee #15917   [Address on File]    5/17/2023 Bitcoin                              0.01283983 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/24/2023 Bitcoin                              0.00753287 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/17/2023 Bitcoin                              0.00747852 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/21/2023 Bitcoin                              0.00741963 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/25/2023 Bitcoin                              0.00379947 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/26/2023 Bitcoin                              0.00377123 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/27/2023 Bitcoin                              0.00374193 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/22/2023 Bitcoin                              0.00372681 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/19/2023 Bitcoin                              0.00371995 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/20/2023 Bitcoin                              0.00370902 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/16/2023 Bitcoin                              0.00367943 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/28/2023 Bitcoin                              0.00367702 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/23/2023 Bitcoin                              0.00365786 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/18/2023 Bitcoin                              0.00363953 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/30/2023 Bitcoin                               0.0036087 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/30/2023 Bitcoin                              0.00358626 Customer Transfer
 Confidential Customer Coin Transferee #15918   [Address on File]    5/29/2023 Bitcoin                              0.00358035 Customer Transfer
 Confidential Customer Coin Transferee #15919   [Address on File]    5/24/2023 Bitcoin                               0.0405664 Customer Transfer
 Confidential Customer Coin Transferee #15920   [Address on File]    5/26/2023 Bitcoin                              0.00745008 Customer Transfer
 Confidential Customer Coin Transferee #15921   [Address on File]    5/26/2023 Bitcoin                              0.00052851 Customer Transfer
 Confidential Customer Coin Transferee #15921   [Address on File]    5/21/2023 Bitcoin                              0.00052063 Customer Transfer
 Confidential Customer Coin Transferee #15922   [Address on File]    5/21/2023 Bitcoin                              0.04061092 Customer Transfer
 Confidential Customer Coin Transferee #15922   [Address on File]    5/30/2023 Bitcoin                              0.03700462 Customer Transfer
 Confidential Customer Coin Transferee #15923   [Address on File]    5/27/2023 Bitcoin                              0.00380483 Customer Transfer
 Confidential Customer Coin Transferee #15923   [Address on File]    5/17/2023 Bitcoin                               0.0037483 Customer Transfer
 Confidential Customer Coin Transferee #15924   [Address on File]    5/21/2023 Bitcoin                              0.00552112 Customer Transfer
 Confidential Customer Coin Transferee #15925   [Address on File]    5/22/2023 Bitcoin                                     0.112 Customer Transfer
 Confidential Customer Coin Transferee #15926   [Address on File]    5/29/2023 Bitcoin                              0.01587145 Customer Transfer
 Confidential Customer Coin Transferee #15927   [Address on File]    5/19/2023 Bitcoin                              0.00185862 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15927   [Address on File]    5/16/2023 Bitcoin                              0.00091471 Customer Transfer
 Confidential Customer Coin Transferee #15928   [Address on File]    5/20/2023 Bitcoin                              0.00355327 Customer Transfer
 Confidential Customer Coin Transferee #15928   [Address on File]    5/27/2023 Bitcoin                              0.00186958 Customer Transfer
 Confidential Customer Coin Transferee #15929   [Address on File]    5/27/2023 Bitcoin                              0.00944672 Customer Transfer
 Confidential Customer Coin Transferee #15930   [Address on File]    5/25/2023 Bitcoin                                  0.00078 Customer Transfer
 Confidential Customer Coin Transferee #15931   [Address on File]    5/30/2023 Bitcoin                                     0.001 Customer Transfer
 Confidential Customer Coin Transferee #15932   [Address on File]    5/19/2023 Bitcoin                                     0.003 Customer Transfer
 Confidential Customer Coin Transferee #15933   [Address on File]    5/29/2023 Bitcoin                              0.05185866 Customer Transfer
 Confidential Customer Coin Transferee #15933   [Address on File]    5/16/2023 Bitcoin                              0.02574132 Customer Transfer
 Confidential Customer Coin Transferee #15934   [Address on File]    5/30/2023 Bitcoin                              0.00283142 Customer Transfer
 Confidential Customer Coin Transferee #15934   [Address on File]    5/23/2023 Bitcoin                              0.00279096 Customer Transfer
 Confidential Customer Coin Transferee #15935   [Address on File]    5/28/2023 Bitcoin                              0.02985067 Customer Transfer
 Confidential Customer Coin Transferee #15936   [Address on File]    5/30/2023 Bitcoin                                      0.05 Customer Transfer
 Confidential Customer Coin Transferee #15937   [Address on File]    5/21/2023 Bitcoin                              0.00387211 Customer Transfer
 Confidential Customer Coin Transferee #15937   [Address on File]    5/26/2023 Bitcoin                               0.0037766 Customer Transfer
 Confidential Customer Coin Transferee #15938   [Address on File]    5/19/2023 Bitcoin                                       0.1 Customer Transfer
 Confidential Customer Coin Transferee #15938   [Address on File]    5/20/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #15938   [Address on File]    5/25/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #15938   [Address on File]    5/28/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #15938   [Address on File]    5/29/2023 Bitcoin                              0.00327951 Customer Transfer
 Confidential Customer Coin Transferee #15938   [Address on File]    5/25/2023 Bitcoin                              0.00065451 Customer Transfer
 Confidential Customer Coin Transferee #15939   [Address on File]    5/23/2023 Bitcoin                              0.01297073 Customer Transfer
 Confidential Customer Coin Transferee #15939   [Address on File]    5/16/2023 Bitcoin                              0.00737997 Customer Transfer
 Confidential Customer Coin Transferee #15940   [Address on File]    5/28/2023 Bitcoin                              0.00062368 Customer Transfer
 Confidential Customer Coin Transferee #15941   [Address on File]    5/27/2023 Bitcoin                              0.00523446 Customer Transfer
 Confidential Customer Coin Transferee #15941   [Address on File]    5/19/2023 Bitcoin                              0.00518638 Customer Transfer
 Confidential Customer Coin Transferee #15942   [Address on File]    5/21/2023 Bitcoin                              0.01051186 Customer Transfer
 Confidential Customer Coin Transferee #15943   [Address on File]    5/18/2023 Bitcoin                              0.00376679 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/28/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/31/2023 Bitcoin                              0.00713445 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/21/2023 Bitcoin                                   0.0056 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/24/2023 Bitcoin                              0.00540716 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/16/2023 Bitcoin                              0.00406867 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/28/2023 Bitcoin                                  0.00397 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/20/2023 Bitcoin                                  0.00372 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/16/2023 Bitcoin                                  0.00371 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/24/2023 Bitcoin                                  0.00263 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/22/2023 Bitcoin                                  0.00131 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/31/2023 Bitcoin                              0.00055439 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/23/2023 Bitcoin                              0.00046049 Customer Transfer
 Confidential Customer Coin Transferee #15944   [Address on File]    5/29/2023 Bitcoin                              0.00036257 Customer Transfer
 Confidential Customer Coin Transferee #15945   [Address on File]    5/17/2023 Bitcoin                              0.02502578 Customer Transfer
 Confidential Customer Coin Transferee #15946   [Address on File]    5/31/2023 Bitcoin                              0.00918218 Customer Transfer
 Confidential Customer Coin Transferee #15947   [Address on File]    5/26/2023 Bitcoin                              0.01413951 Customer Transfer
 Confidential Customer Coin Transferee #15948   [Address on File]    5/18/2023 Bitcoin                              0.11528759 Customer Transfer
 Confidential Customer Coin Transferee #15949   [Address on File]    5/27/2023 Bitcoin                                      0.02 Customer Transfer
 Confidential Customer Coin Transferee #15949   [Address on File]    5/18/2023 Bitcoin                                     0.015 Customer Transfer
 Confidential Customer Coin Transferee #15949   [Address on File]    5/30/2023 Bitcoin                              0.01252646 Customer Transfer
 Confidential Customer Coin Transferee #15949   [Address on File]    5/29/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #15949   [Address on File]    5/18/2023 Bitcoin                              0.00710002 Customer Transfer
 Confidential Customer Coin Transferee #15950   [Address on File]    5/20/2023 Bitcoin                              0.00222904 Customer Transfer
 Confidential Customer Coin Transferee #15950   [Address on File]    5/28/2023 Bitcoin                              0.00220069 Customer Transfer
 Confidential Customer Coin Transferee #15950   [Address on File]    5/30/2023 Bitcoin                              0.00158549 Customer Transfer
 Confidential Customer Coin Transferee #15950   [Address on File]    5/21/2023 Bitcoin                              0.00148208 Customer Transfer
 Confidential Customer Coin Transferee #15951   [Address on File]    5/18/2023 Bitcoin                              0.03649228 Customer Transfer
 Confidential Customer Coin Transferee #15952   [Address on File]    5/16/2023 Bitcoin                              0.00044036 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/30/2023 Bitcoin                               0.0073841 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/28/2023 Bitcoin                              0.00736597 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/31/2023 Bitcoin                              0.00725893 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/22/2023 Bitcoin                              0.00671116 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/18/2023 Bitcoin                              0.00583091 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/26/2023 Bitcoin                              0.00574001 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/25/2023 Bitcoin                              0.00573481 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/24/2023 Bitcoin                               0.0055918 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/27/2023 Bitcoin                              0.00484872 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/29/2023 Bitcoin                              0.00464851 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/21/2023 Bitcoin                              0.00460439 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/29/2023 Bitcoin                              0.00444447 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/16/2023 Bitcoin                               0.0044402 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/23/2023 Bitcoin                              0.00441701 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/17/2023 Bitcoin                              0.00441324 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/19/2023 Bitcoin                              0.00390078 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/22/2023 Bitcoin                              0.00383014 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/20/2023 Bitcoin                              0.00379171 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/23/2023 Bitcoin                              0.00372891 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/30/2023 Bitcoin                              0.00367605 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/28/2023 Bitcoin                              0.00364077 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/23/2023 Bitcoin                              0.00255968 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/18/2023 Bitcoin                              0.00218696 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/16/2023 Bitcoin                              0.00203636 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/22/2023 Bitcoin                              0.00193294 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/25/2023 Bitcoin                              0.00189684 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/30/2023 Bitcoin                              0.00160148 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/25/2023 Bitcoin                              0.00151734 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/27/2023 Bitcoin                              0.00141776 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/30/2023 Bitcoin                              0.00115255 Customer Transfer
 Confidential Customer Coin Transferee #15953   [Address on File]    5/25/2023 Bitcoin                              0.00114691 Customer Transfer
 Confidential Customer Coin Transferee #15954   [Address on File]    5/16/2023 Bitcoin                              0.00035963 Customer Transfer
 Confidential Customer Coin Transferee #15955   [Address on File]    5/19/2023 Bitcoin                              0.00111379 Customer Transfer
 Confidential Customer Coin Transferee #15955   [Address on File]    5/25/2023 Bitcoin                              0.00094942 Customer Transfer
 Confidential Customer Coin Transferee #15955   [Address on File]    5/24/2023 Bitcoin                              0.00094541 Customer Transfer
 Confidential Customer Coin Transferee #15955   [Address on File]    5/20/2023 Bitcoin                              0.00092594 Customer Transfer
 Confidential Customer Coin Transferee #15955   [Address on File]    5/27/2023 Bitcoin                              0.00074445 Customer Transfer
 Confidential Customer Coin Transferee #15955   [Address on File]    5/21/2023 Bitcoin                              0.00073482 Customer Transfer
 Confidential Customer Coin Transferee #15955   [Address on File]    5/16/2023 Bitcoin                              0.00073086 Customer Transfer
 Confidential Customer Coin Transferee #15955   [Address on File]    5/18/2023 Bitcoin                              0.00072511 Customer Transfer
 Confidential Customer Coin Transferee #15955   [Address on File]    5/16/2023 Bitcoin                              0.00055235 Customer Transfer
 Confidential Customer Coin Transferee #15955   [Address on File]    5/18/2023 Bitcoin                              0.00041761 Customer Transfer
 Confidential Customer Coin Transferee #15956   [Address on File]    5/27/2023 Bitcoin                              0.01899998 Customer Transfer
 Confidential Customer Coin Transferee #15957   [Address on File]    5/19/2023 Bitcoin                              0.01866961 Customer Transfer
 Confidential Customer Coin Transferee #15957   [Address on File]    5/27/2023 Bitcoin                              0.00946322 Customer Transfer
 Confidential Customer Coin Transferee #15958   [Address on File]    5/26/2023 Bitcoin                               0.0055841 Customer Transfer
 Confidential Customer Coin Transferee #15958   [Address on File]    5/20/2023 Bitcoin                              0.00370657 Customer Transfer
 Confidential Customer Coin Transferee #15959   [Address on File]    5/27/2023 Bitcoin                              0.00582535 Customer Transfer

 Confidential Customer Coin Transferee #15960   [Address on File]    5/25/2023 Bitcoin                                 0.00546215 Customer Transfer

 Confidential Customer Coin Transferee #15960   [Address on File]    5/25/2023 Bitcoin                                 0.00400055 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                       Reason for Payment
                 Creditor's Name                    Address 1          Date              Crypto Currency           Unit Count          or Transfer

 Confidential Customer Coin Transferee #15960   [Address on File]    5/25/2023 Bitcoin                                 0.00362393 Customer Transfer

 Confidential Customer Coin Transferee #15960   [Address on File]    5/25/2023 Bitcoin                                 0.00181124 Customer Transfer

 Confidential Customer Coin Transferee #15960   [Address on File]    5/29/2023 Bitcoin                                 0.00173049 Customer Transfer

 Confidential Customer Coin Transferee #15960   [Address on File]    5/20/2023 Bitcoin                                 0.00143141 Customer Transfer

 Confidential Customer Coin Transferee #15960   [Address on File]    5/20/2023 Bitcoin                                  0.0012808 Customer Transfer

 Confidential Customer Coin Transferee #15960   [Address on File]    5/21/2023 Bitcoin                                 0.00105442 Customer Transfer

 Confidential Customer Coin Transferee #15960   [Address on File]    5/19/2023 Bitcoin                                 0.00072047 Customer Transfer

 Confidential Customer Coin Transferee #15960   [Address on File]    5/28/2023 Bitcoin                                  0.0005434 Customer Transfer
 Confidential Customer Coin Transferee #15961   [Address on File]    5/29/2023 Bitcoin                                     0.01577 Customer Transfer
 Confidential Customer Coin Transferee #15961   [Address on File]    5/30/2023 Bitcoin                                     0.00367 Customer Transfer
 Confidential Customer Coin Transferee #15961   [Address on File]    5/19/2023 Bitcoin                                     0.00018 Customer Transfer
 Confidential Customer Coin Transferee #15962   [Address on File]    5/19/2023 Bitcoin                                     0.01672 Customer Transfer
 Confidential Customer Coin Transferee #15962   [Address on File]    5/20/2023 Bitcoin                                     0.00741 Customer Transfer
 Confidential Customer Coin Transferee #15963   [Address on File]    5/28/2023 Bitcoin                                 0.00497922 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/24/2023 Bitcoin                                 0.00264996 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/24/2023 Bitcoin                                 0.00246285 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/23/2023 Bitcoin                                 0.00239128 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/21/2023 Bitcoin                                  0.0022005 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/20/2023 Bitcoin                                 0.00189585 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/18/2023 Bitcoin                                 0.00186757 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/21/2023 Bitcoin                                 0.00183869 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/24/2023 Bitcoin                                  0.0018384 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/24/2023 Bitcoin                                 0.00171035 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/24/2023 Bitcoin                                 0.00170967 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/20/2023 Bitcoin                                 0.00167332 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/28/2023 Bitcoin                                 0.00165671 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/24/2023 Bitcoin                                 0.00151755 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/26/2023 Bitcoin                                 0.00151233 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/27/2023 Bitcoin                              0.00149711 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/27/2023 Bitcoin                              0.00149554 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/26/2023 Bitcoin                              0.00149336 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/27/2023 Bitcoin                              0.00149288 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/23/2023 Bitcoin                              0.00148731 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/22/2023 Bitcoin                              0.00148718 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/21/2023 Bitcoin                              0.00148511 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/19/2023 Bitcoin                              0.00148508 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/20/2023 Bitcoin                               0.0014827 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/20/2023 Bitcoin                              0.00147645 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/21/2023 Bitcoin                              0.00147021 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/29/2023 Bitcoin                              0.00144801 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/24/2023 Bitcoin                              0.00144483 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/25/2023 Bitcoin                              0.00143272 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/25/2023 Bitcoin                              0.00133974 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/25/2023 Bitcoin                              0.00132115 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/25/2023 Bitcoin                              0.00132002 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/22/2023 Bitcoin                              0.00131128 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/26/2023 Bitcoin                              0.00130566 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/19/2023 Bitcoin                              0.00129928 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/28/2023 Bitcoin                              0.00126624 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/29/2023 Bitcoin                              0.00126163 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/18/2023 Bitcoin                              0.00111946 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/17/2023 Bitcoin                              0.00111942 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/21/2023 Bitcoin                              0.00111942 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/19/2023 Bitcoin                              0.00111588 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/19/2023 Bitcoin                              0.00111575 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/16/2023 Bitcoin                              0.00111047 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/16/2023 Bitcoin                              0.00110706 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/21/2023 Bitcoin                              0.00110539 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/17/2023 Bitcoin                              0.00110368 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/30/2023 Bitcoin                              0.00107891 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/30/2023 Bitcoin                              0.00100539 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/17/2023 Bitcoin                              0.00093505 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/30/2023 Bitcoin                              0.00090117 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/17/2023 Bitcoin                              0.00088768 Customer Transfer


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                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                      Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count         or Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/18/2023 Bitcoin                              0.00074652 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/17/2023 Bitcoin                              0.00072862 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/29/2023 Bitcoin                              0.00063546 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/30/2023 Bitcoin                              0.00058513 Customer Transfer
 Confidential Customer Coin Transferee #15964   [Address on File]    5/30/2023 Bitcoin                               0.0001437 Customer Transfer
 Confidential Customer Coin Transferee #15965   [Address on File]    5/25/2023 Bitcoin                                    0.0015 Customer Transfer
 Confidential Customer Coin Transferee #15966   [Address on File]    5/21/2023 Bitcoin                              0.07407887 Customer Transfer
 Confidential Customer Coin Transferee #15967   [Address on File]    5/23/2023 Bitcoin                              0.00367407 Customer Transfer
 Confidential Customer Coin Transferee #15968   [Address on File]    5/26/2023 Bitcoin                                 0.057165 Customer Transfer
 Confidential Customer Coin Transferee #15969   [Address on File]    5/30/2023 Bitcoin                              0.03571424 Customer Transfer
 Confidential Customer Coin Transferee #15969   [Address on File]    5/29/2023 Bitcoin                               0.0260791 Customer Transfer
 Confidential Customer Coin Transferee #15969   [Address on File]    5/18/2023 Bitcoin                              0.00738606 Customer Transfer
 Confidential Customer Coin Transferee #15969   [Address on File]    5/26/2023 Bitcoin                              0.00483782 Customer Transfer
 Confidential Customer Coin Transferee #15969   [Address on File]    5/17/2023 Bitcoin                              0.00399598 Customer Transfer
 Confidential Customer Coin Transferee #15970   [Address on File]    5/19/2023 Bitcoin                              0.03672419 Customer Transfer
 Confidential Customer Coin Transferee #15971   [Address on File]    5/30/2023 Bitcoin                               0.0206487 Customer Transfer

 Confidential Customer Coin Transferee #15972   [Address on File]    5/23/2023 Bitcoin                                 0.01843578 Customer Transfer
 Confidential Customer Coin Transferee #15973   [Address on File]    5/25/2023 Bitcoin                                 0.00113877 Customer Transfer
 Confidential Customer Coin Transferee #15973   [Address on File]    5/18/2023 Bitcoin                                 0.00111439 Customer Transfer
 Confidential Customer Coin Transferee #15973   [Address on File]    5/23/2023 Bitcoin                                 0.00111219 Customer Transfer
 Confidential Customer Coin Transferee #15973   [Address on File]    5/24/2023 Bitcoin                                 0.00109861 Customer Transfer
 Confidential Customer Coin Transferee #15973   [Address on File]    5/24/2023 Bitcoin                                  0.0010983 Customer Transfer
 Confidential Customer Coin Transferee #15973   [Address on File]    5/18/2023 Bitcoin                                 0.00109305 Customer Transfer
 Confidential Customer Coin Transferee #15973   [Address on File]    5/28/2023 Bitcoin                                 0.00076938 Customer Transfer
 Confidential Customer Coin Transferee #15973   [Address on File]    5/25/2023 Bitcoin                                 0.00076266 Customer Transfer
 Confidential Customer Coin Transferee #15974   [Address on File]    5/17/2023 Bitcoin                                 0.01006044 Customer Transfer
 Confidential Customer Coin Transferee #15974   [Address on File]    5/18/2023 Bitcoin                                 0.00911991 Customer Transfer
 Confidential Customer Coin Transferee #15974   [Address on File]    5/17/2023 Bitcoin                                     0.00325 Customer Transfer
 Confidential Customer Coin Transferee #15975   [Address on File]    5/21/2023 Bitcoin                                 0.00373452 Customer Transfer
 Confidential Customer Coin Transferee #15976   [Address on File]    5/29/2023 Bitcoin                                 0.01903328 Customer Transfer
 Confidential Customer Coin Transferee #15977   [Address on File]    5/24/2023 Bitcoin                                 0.09877388 Customer Transfer
 Confidential Customer Coin Transferee #15978   [Address on File]    6/20/2023 Bitcoin                                 0.00005811 Customer Transfer
 Confidential Customer Coin Transferee #15979   [Address on File]    5/20/2023 Bitcoin                                 0.00184511 Customer Transfer
 Confidential Customer Coin Transferee #15979   [Address on File]    5/20/2023 Bitcoin                                 0.00073961 Customer Transfer
 Confidential Customer Coin Transferee #15979   [Address on File]    5/29/2023 Bitcoin                                 0.00071598 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                    Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count       or Transfer
 Confidential Customer Coin Transferee #15979   [Address on File]    5/28/2023 Bitcoin                              0.00054543 Customer Transfer
 Confidential Customer Coin Transferee #15979   [Address on File]    5/25/2023 Bitcoin                              0.00037594 Customer Transfer
 Confidential Customer Coin Transferee #15979   [Address on File]    5/27/2023 Bitcoin                              0.00037097 Customer Transfer
 Confidential Customer Coin Transferee #15979   [Address on File]    5/16/2023 Bitcoin                              0.00036794 Customer Transfer
 Confidential Customer Coin Transferee #15979   [Address on File]    5/30/2023 Bitcoin                              0.00035734 Customer Transfer
 Confidential Customer Coin Transferee #15979   [Address on File]    5/18/2023 Bitcoin                              0.00018583 Customer Transfer
 Confidential Customer Coin Transferee #15979   [Address on File]    5/17/2023 Bitcoin                              0.00018339 Customer Transfer
 Confidential Customer Coin Transferee #15979   [Address on File]    5/30/2023 Bitcoin                              0.00017851 Customer Transfer

 Confidential Customer Coin Transferee #15980   [Address on File]    6/13/2023 Tether USD                                  2000 Customer Transfer
 Confidential Customer Coin Transferee #15981   [Address on File]    6/20/2023 Bitcoin                              0.00181666 Customer Transfer
 Confidential Customer Coin Transferee #15982   [Address on File]    5/21/2023 Bitcoin                              0.01640835 Customer Transfer
 Confidential Customer Coin Transferee #15983   [Address on File]    6/20/2023 Bitcoin                              0.00059664 Customer Transfer
 Confidential Customer Coin Transferee #15984   [Address on File]    6/20/2023 Bitcoin                              0.00388912 Customer Transfer
 Confidential Customer Coin Transferee #15985   [Address on File]    6/12/2023 USDC Avalanche)                     2993.123438 Customer Transfer
 Confidential Customer Coin Transferee #15986   [Address on File]    6/19/2023 Bitcoin                              0.00017291 Customer Transfer
 Confidential Customer Coin Transferee #15987   [Address on File]    6/13/2023 USDC Solana)                                   20 Customer Transfer
 Confidential Customer Coin Transferee #15988   [Address on File]    6/19/2023 Bitcoin                              0.00004262 Customer Transfer
 Confidential Customer Coin Transferee #15989   [Address on File]    5/28/2023 Bitcoin                              0.10722482 Customer Transfer
 Confidential Customer Coin Transferee #15990   [Address on File]    6/19/2023 Bitcoin                              0.00263735 Customer Transfer
 Confidential Customer Coin Transferee #15991   [Address on File]    6/19/2023 Bitcoin                              0.00065135 Customer Transfer
 Confidential Customer Coin Transferee #15992   [Address on File]    5/19/2023 Bitcoin                                   0.0056 Customer Transfer
 Confidential Customer Coin Transferee #15992   [Address on File]     6/1/2023 Bitcoin                                   0.0025 Customer Transfer
 Confidential Customer Coin Transferee #15992   [Address on File]    5/19/2023 Bitcoin                                     0.002 Customer Transfer
 Confidential Customer Coin Transferee #15992   [Address on File]    5/26/2023 Bitcoin                                     0.002 Customer Transfer
 Confidential Customer Coin Transferee #15992   [Address on File]     6/1/2023 Bitcoin                              0.00183953 Customer Transfer
 Confidential Customer Coin Transferee #15992   [Address on File]    5/23/2023 Bitcoin                                   0.0009 Customer Transfer
 Confidential Customer Coin Transferee #15992   [Address on File]    5/16/2023 Bitcoin                                   0.0003 Customer Transfer
 Confidential Customer Coin Transferee #15992   [Address on File]     6/2/2023 Bitcoin                                  0.00026 Customer Transfer
 Confidential Customer Coin Transferee #15993   [Address on File]    5/29/2023 Bitcoin                              0.00065292 Customer Transfer
 Confidential Customer Coin Transferee #15993   [Address on File]    5/27/2023 Bitcoin                              0.00053685 Customer Transfer
 Confidential Customer Coin Transferee #15993   [Address on File]    5/23/2023 Bitcoin                              0.00037347 Customer Transfer
 Confidential Customer Coin Transferee #15994   [Address on File]    5/26/2023 Bitcoin                              0.04420568 Customer Transfer
 Confidential Customer Coin Transferee #15994   [Address on File]    5/26/2023 Bitcoin                              0.02638341 Customer Transfer
 Confidential Customer Coin Transferee #15994   [Address on File]    5/26/2023 Bitcoin                                      0.01 Customer Transfer
 Confidential Customer Coin Transferee #15994   [Address on File]    5/25/2023 Bitcoin                                   0.0009 Customer Transfer


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                                                             SOFA 3 ATTACHMENT
                                                 Customers - Crypto Currency Disbursement
                                   Certain payments or transfers to creditors within 90 days before filing this case

                                                                     Payment                                                     Reason for Payment
                 Creditor's Name                   Address 1           Date            Crypto Currency             Unit Count        or Transfer
 Confidential Customer Coin Transferee #15994   [Address on File]    5/25/2023 Bitcoin                                   0.0001 Customer Transfer




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                          Payments or other transfers of property made within 1 year before filing this case that benefited any insider

              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
     4.1   Confidential Employee                 Director                  multiple days            $54,167.10 Board  of Director Fee
                                                                                  TOTAL:            $54,167.10
     4.2   Confidential Employee                   Officer                  10/25/2022                   $7.26 Out of pocket reimbursements
     4.3   Confidential Employee                   Officer                  10/25/2022                  $31.44 Out of pocket reimbursements
     4.4   Confidential Employee                   Officer                  10/25/2022                  $53.00 Out of pocket reimbursements
     4.5   Confidential Employee                   Officer                  10/25/2022                  $59.85 Out of pocket reimbursements
     4.6   Confidential Employee                   Officer                  10/25/2022                  $36.31 Out of pocket reimbursements
     4.7   Confidential Employee                   Officer                  10/25/2022                  $60.40 Out of pocket reimbursements
     4.8   Confidential Employee                   Officer                  10/25/2022                  $19.93 Out of pocket reimbursements
     4.9   Confidential Employee                   Officer                  10/25/2022                   $6.28 Out of pocket reimbursements
    4.10   Confidential Employee                   Officer                  10/25/2022                   $4.00 Out of pocket reimbursements
    4.11   Confidential Employee                   Officer                  10/31/2022                 $134.75 Out of pocket reimbursements
    4.12   Confidential Employee                   Officer                   11/8/2022                 $319.71 Out of pocket reimbursements
    4.13   Confidential Employee                   Officer                   11/8/2022                  $55.13 Out of pocket reimbursements
    4.14   Confidential Employee                   Officer                   11/8/2022                  $24.66 Out of pocket reimbursements
    4.15   Confidential Employee                   Officer                   11/8/2022                  $68.38 Out of pocket reimbursements
    4.16   Confidential Employee                   Officer                   11/8/2022                   $8.00 Out of pocket reimbursements
    4.17   Confidential Employee                   Officer                   11/8/2022                  $31.50 Out of pocket reimbursements
    4.18   Confidential Employee                   Officer                  12/12/2022                 $745.20 Out of pocket reimbursements
    4.19   Confidential Employee                   Officer                  12/19/2022                  $44.55 Out of pocket reimbursements
    4.20   Confidential Employee                   Officer                  12/19/2022                   $8.01 Out of pocket reimbursements
    4.21   Confidential Employee                   Officer                  12/19/2022                  $44.16 Out of pocket reimbursements
    4.22   Confidential Employee                   Officer                  12/19/2022                  $10.00 Out of pocket reimbursements
    4.23   Confidential Employee                   Officer                  12/19/2022                  $53.14 Out of pocket reimbursements
    4.24   Confidential Employee                   Officer                  12/19/2022                  $40.05 Out of pocket reimbursements
    4.25   Confidential Employee                   Officer                  12/19/2022                  $67.33 Out of pocket reimbursements
    4.26   Confidential Employee                   Officer                   1/18/2023                  $13.97 Out of pocket reimbursements
    4.27   Confidential Employee                   Officer                   1/18/2023                  $45.46 Out of pocket reimbursements
    4.28   Confidential Employee                   Officer                   1/18/2023                 $745.80 Out of pocket reimbursements
    4.29   Confidential Employee                   Officer                   8/31/2022              $45,833.33 Wages
    4.30   Confidential Employee                   Officer                   9/15/2022              $11,458.33 Wages
    4.31   Confidential Employee                   Officer                   9/30/2022              $11,458.33 Wages
    4.32   Confidential Employee                   Officer                  10/15/2022              $11,458.34 Wages
    4.33   Confidential Employee                   Officer                  10/31/2022              $11,458.34 Wages
    4.34   Confidential Employee                   Officer                   11/7/2022                  $71.53 Bonus - $50 Thanksgiving
    4.35   Confidential Employee                   Officer                  11/15/2022              $11,458.34 Wages
    4.36   Confidential Employee                   Officer                  11/30/2022              $11,458.34 Wages
    4.37   Confidential Employee                   Officer                  12/15/2022              $11,458.34 Wages
    4.38   Confidential Employee                   Officer                  12/31/2022              $11,458.34 Wages

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                          Payments or other transfers of property made within 1 year before filing this case that benefited any insider

              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
    4.39   Confidential Employee                  Officer                   1/15/2023               $12,083.34 Wages
    4.40   Confidential Employee                  Officer                   1/31/2023               $12,083.34 Wages
    4.41   Confidential Employee                  Officer                   2/15/2023               $12,083.34 Wages
    4.42   Confidential Employee                  Officer                   2/28/2023               $12,083.34 Wages
    4.43   Confidential Employee                  Officer                   3/15/2023               $12,083.34 Wages
    4.44   Confidential Employee                  Officer                   3/31/2023               $12,083.34 Wages
    4.45   Confidential Employee                  Officer                   4/15/2023               $12,083.34 Wages
    4.46   Confidential Employee                  Officer                   4/21/2023                 $6,041.67 Wages
    4.47   Confidential Employee                  Officer                    5/9/2023                    $38.21 Bonus - $25 - 17days and 17deals
                                                                                  TOTAL:             $230,973.09
    4.48   Confidential Employee                   Officer                   9/1/2022                     $44.47 Out of pocket reimbursements
    4.49   Confidential Employee                   Officer                   9/8/2022                     $65.35 Out of pocket reimbursements
    4.50   Confidential Employee                   Officer                  11/8/2022                     $20.53 Out of pocket reimbursements
    4.51   Confidential Employee                   Officer                  11/8/2022                    $509.58 Out of pocket reimbursements
    4.52   Confidential Employee                   Officer                   5/1/2023                    $119.33 Out of pocket reimbursements
    4.53   Confidential Employee                   Officer                  8/15/2022                 $10,416.67 Wages
    4.54   Confidential Employee                   Officer                  8/31/2022                 $10,416.67 Wages
    4.55   Confidential Employee                   Officer                  9/15/2022                 $10,416.67 Wages
    4.56   Confidential Employee                   Officer                  9/30/2022                 $10,416.67 Wages
    4.57   Confidential Employee                   Officer                 10/15/2022                 $10,516.67 Wages
    4.58   Confidential Employee                   Officer                 10/31/2022                 $10,416.67 Wages
    4.59   Confidential Employee                   Officer                  11/7/2022                     $66.07 Bonus - $50 Thanksgiving
    4.60   Confidential Employee                   Officer                 11/15/2022                 $10,516.67 Wages
    4.61   Confidential Employee                   Officer                 11/30/2022                 $10,416.67 Wages
    4.62   Confidential Employee                   Officer                 12/15/2022                 $10,516.67 Wages
    4.63   Confidential Employee                   Officer                 12/31/2022                 $10,416.67 Wages
    4.64   Confidential Employee                   Officer                  1/15/2023                 $11,766.67 Wages
    4.65   Confidential Employee                   Officer                  1/31/2023                 $11,666.67 Wages
    4.66   Confidential Employee                   Officer                  2/15/2023                 $11,766.67 Wages
    4.67   Confidential Employee                   Officer                  2/28/2023                 $11,666.67 Wages
    4.68   Confidential Employee                   Officer                  3/15/2023                 $11,766.67 Wages
    4.69   Confidential Employee                   Officer                  3/31/2023                 $11,666.67 Wages
    4.70   Confidential Employee                   Officer                  4/15/2023                 $11,766.67 Wages
    4.71   Confidential Employee                   Officer                  4/30/2023                 $11,666.67 Wages
    4.72   Confidential Employee                   Officer                   5/9/2023                     $35.56 Bonus - $25 - 17days and 17deals
    4.73   Confidential Employee                   Officer                  5/15/2023                 $11,766.67 Wages
    4.74   Confidential Employee                   Officer                  5/31/2023                 $11,666.67 Wages
    4.75   Confidential Employee                   Officer                  6/15/2023                 $11,766.67 Wages
    4.76   Confidential Employee                   Officer                  6/30/2023                 $11,666.67 Wages

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                          Payments or other transfers of property made within 1 year before filing this case that benefited any insider

              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
    4.77   Confidential Employee                  Officer                   7/15/2023               $11,766.67 Wages
    4.78   Confidential Employee                  Officer                   7/31/2023               $11,666.67 Wages
    4.79   Confidential Employee                  Officer                   8/10/2023               $71,905.00 Out of pocket reimbursements
    4.80   Confidential Employee                  Officer                   8/15/2023               $11,766.67 Wages
                                                                                  TOTAL:           $353,032.64
    4.81   Confidential Employee                   Officer                  3/15/2023               $14,004.64 Wages
    4.82   Confidential Employee                   Officer                  3/31/2023               $11,458.34 Wages
    4.83   Confidential Employee                   Officer                  4/15/2023               $11,458.34 Wages
    4.84   Confidential Employee                   Officer                  4/30/2023               $11,458.34 Wages
    4.85   Confidential Employee                   Officer                   5/9/2023                   $42.20 Bonus - $25 - 17days and 17deals
    4.86   Confidential Employee                   Officer                  5/15/2023               $11,458.34 Wages
    4.87   Confidential Employee                   Officer                  5/31/2023               $11,458.34 Wages
    4.88   Confidential Employee                   Officer                  6/15/2023               $11,458.34 Wages
    4.89   Confidential Employee                   Officer                  6/30/2023               $11,458.34 Wages
    4.90   Confidential Employee                   Officer                  7/15/2023               $11,458.34 Wages
    4.91   Confidential Employee                   Officer                  7/31/2023               $11,458.34 Wages
    4.92   Confidential Employee                   Officer                  8/11/2023               $25,000.00 Bonus
    4.93   Confidential Employee                   Officer                  8/15/2023               $11,458.34 Wages
                                                                                  TOTAL:             $153,630.24
    4.94   Confidential Employee                   Officer                  8/18/2022                     $69.19 Out of pocket reimbursements
    4.95   Confidential Employee                   Officer                  8/18/2022                  $1,461.39 Out of pocket reimbursements
    4.96   Confidential Employee                   Officer                  8/18/2022                      $8.00 Out of pocket reimbursements
    4.97   Confidential Employee                   Officer                  8/18/2022                     $15.56 Out of pocket reimbursements
    4.98   Confidential Employee                   Officer                  8/18/2022                    $646.96 Out of pocket reimbursements
    4.99   Confidential Employee                   Officer                  8/18/2022                     $24.46 Out of pocket reimbursements
   4.100   Confidential Employee                   Officer                  8/25/2022                    $551.95 Out of pocket reimbursements
   4.101   Confidential Employee                   Officer                  8/28/2022                      $8.00 Out of pocket reimbursements
   4.102   Confidential Employee                   Officer                  8/28/2022                     $52.99 Out of pocket reimbursements
   4.103   Confidential Employee                   Officer                  8/28/2022                     $24.05 Out of pocket reimbursements
   4.104   Confidential Employee                   Officer                  8/28/2022                     $24.28 Out of pocket reimbursements
   4.105   Confidential Employee                   Officer                  8/28/2022                 $12,208.00 Out of pocket reimbursements
   4.106   Confidential Employee                   Officer                  8/31/2022                     $70.48 Out of pocket reimbursements
   4.107   Confidential Employee                   Officer                  8/31/2022                  $1,518.88 Out of pocket reimbursements
   4.108   Confidential Employee                   Officer                  8/31/2022                    $165.47 Out of pocket reimbursements
   4.109   Confidential Employee                   Officer                  8/31/2022                    $198.41 Out of pocket reimbursements
   4.110   Confidential Employee                   Officer                  8/31/2022                     $10.83 Out of pocket reimbursements
   4.111   Confidential Employee                   Officer                  8/31/2022                  $1,697.70 Out of pocket reimbursements
   4.112   Confidential Employee                   Officer                  9/10/2022                    $100.67 Out of pocket reimbursements
   4.113   Confidential Employee                   Officer                  9/10/2022                     $40.26 Out of pocket reimbursements

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                          Payments or other transfers of property made within 1 year before filing this case that benefited any insider

              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.114   Confidential Employee                  Officer                   9/10/2022                   $381.63 Out of pocket reimbursements
   4.115   Confidential Employee                  Officer                   9/10/2022                   $228.00 Out of pocket reimbursements
   4.116   Confidential Employee                  Officer                   9/10/2022                   $279.71 Out of pocket reimbursements
   4.117   Confidential Employee                  Officer                   9/10/2022                   $619.17 Out of pocket reimbursements
   4.118   Confidential Employee                  Officer                   9/10/2022                   $749.18 Out of pocket reimbursements
   4.119   Confidential Employee                  Officer                   9/10/2022                 $1,395.55 Out of pocket reimbursements
   4.120   Confidential Employee                  Officer                   9/10/2022                   $196.06 Out of pocket reimbursements
   4.121   Confidential Employee                  Officer                   9/10/2022                   $636.62 Out of pocket reimbursements
   4.122   Confidential Employee                  Officer                   9/10/2022                    $72.21 Out of pocket reimbursements
   4.123   Confidential Employee                  Officer                   9/16/2022                   $363.35 Out of pocket reimbursements
   4.124   Confidential Employee                  Officer                   9/16/2022                   $348.39 Out of pocket reimbursements
   4.125   Confidential Employee                  Officer                   9/16/2022                   $279.91 Out of pocket reimbursements
   4.126   Confidential Employee                  Officer                   9/16/2022                   $430.90 Out of pocket reimbursements
   4.127   Confidential Employee                  Officer                   9/20/2022                   $190.00 Out of pocket reimbursements
   4.128   Confidential Employee                  Officer                   9/20/2022                   $451.00 Out of pocket reimbursements
   4.129   Confidential Employee                  Officer                   9/20/2022                   $409.00 Out of pocket reimbursements
   4.130   Confidential Employee                  Officer                   9/20/2022                   $353.60 Out of pocket reimbursements
   4.131   Confidential Employee                  Officer                   10/2/2022                     $8.00 Out of pocket reimbursements
   4.132   Confidential Employee                  Officer                   10/2/2022                   $708.97 Out of pocket reimbursements
   4.133   Confidential Employee                  Officer                   10/2/2022                    $53.62 Out of pocket reimbursements
   4.134   Confidential Employee                  Officer                   10/2/2022                    $31.76 Out of pocket reimbursements
   4.135   Confidential Employee                  Officer                   10/6/2022                    $38.10 Out of pocket reimbursements
   4.136   Confidential Employee                  Officer                   10/6/2022                   $705.30 Out of pocket reimbursements
   4.137   Confidential Employee                  Officer                   10/6/2022                    $35.37 Out of pocket reimbursements
   4.138   Confidential Employee                  Officer                   10/6/2022                    $56.54 Out of pocket reimbursements
   4.139   Confidential Employee                  Officer                   10/6/2022                    $29.75 Out of pocket reimbursements
   4.140   Confidential Employee                  Officer                   10/6/2022                   $257.40 Out of pocket reimbursements
   4.141   Confidential Employee                  Officer                   10/6/2022                 $1,086.00 Out of pocket reimbursements
   4.142   Confidential Employee                  Officer                   10/6/2022                 $1,295.20 Out of pocket reimbursements
   4.143   Confidential Employee                  Officer                   10/6/2022                    $23.14 Out of pocket reimbursements
   4.144   Confidential Employee                  Officer                  10/14/2022                     $8.00 Out of pocket reimbursements
   4.145   Confidential Employee                  Officer                  10/14/2022                     $9.00 Out of pocket reimbursements
   4.146   Confidential Employee                  Officer                  10/14/2022                   $897.95 Out of pocket reimbursements
   4.147   Confidential Employee                  Officer                  10/14/2022                   $105.61 Out of pocket reimbursements
   4.148   Confidential Employee                  Officer                  10/14/2022                     $8.00 Out of pocket reimbursements
   4.149   Confidential Employee                  Officer                  10/14/2022                    $11.90 Out of pocket reimbursements
   4.150   Confidential Employee                  Officer                  10/14/2022                    $71.96 Out of pocket reimbursements
   4.151   Confidential Employee                  Officer                  10/14/2022                 $5,000.00 Out of pocket reimbursements
   4.152   Confidential Employee                  Officer                  10/23/2022                     $6.49 Out of pocket reimbursements

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                          Payments or other transfers of property made within 1 year before filing this case that benefited any insider

              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.153   Confidential Employee                  Officer                  10/23/2022                   $140.00 Out of pocket reimbursements
   4.154   Confidential Employee                  Officer                  10/26/2022                     $8.00 Out of pocket reimbursements
   4.155   Confidential Employee                  Officer                  10/26/2022                 $1,232.95 Out of pocket reimbursements
   4.156   Confidential Employee                  Officer                  10/26/2022                    $45.76 Out of pocket reimbursements
   4.157   Confidential Employee                  Officer                  10/26/2022                   $101.28 Out of pocket reimbursements
   4.158   Confidential Employee                  Officer                  10/26/2022                    $35.00 Out of pocket reimbursements
   4.159   Confidential Employee                  Officer                  10/26/2022                    $14.06 Out of pocket reimbursements
   4.160   Confidential Employee                  Officer                   11/4/2022                    $43.13 Out of pocket reimbursements
   4.161   Confidential Employee                  Officer                   11/4/2022                   $169.79 Out of pocket reimbursements
   4.162   Confidential Employee                  Officer                   11/4/2022                    $86.78 Out of pocket reimbursements
   4.163   Confidential Employee                  Officer                   11/4/2022                    $17.15 Out of pocket reimbursements
   4.164   Confidential Employee                  Officer                   11/4/2022                    $81.84 Out of pocket reimbursements
   4.165   Confidential Employee                  Officer                   11/4/2022                    $62.64 Out of pocket reimbursements
   4.166   Confidential Employee                  Officer                   11/4/2022                 $1,099.20 Out of pocket reimbursements
   4.167   Confidential Employee                  Officer                   11/4/2022                     $8.00 Out of pocket reimbursements
   4.168   Confidential Employee                  Officer                   11/4/2022                   $663.28 Out of pocket reimbursements
   4.169   Confidential Employee                  Officer                   11/4/2022                   $180.00 Out of pocket reimbursements
   4.170   Confidential Employee                  Officer                  11/11/2022                    $54.00 Out of pocket reimbursements
   4.171   Confidential Employee                  Officer                  11/11/2022                   $216.38 Out of pocket reimbursements
   4.172   Confidential Employee                  Officer                  11/11/2022                    $43.44 Out of pocket reimbursements
   4.173   Confidential Employee                  Officer                  11/11/2022                     $6.49 Out of pocket reimbursements
   4.174   Confidential Employee                  Officer                  11/11/2022                   $120.70 Out of pocket reimbursements
   4.175   Confidential Employee                  Officer                  11/11/2022                   $851.95 Out of pocket reimbursements
   4.176   Confidential Employee                  Officer                  11/11/2022                 $1,295.20 Out of pocket reimbursements
   4.177   Confidential Employee                  Officer                   8/15/2022               $16,666.67 Wages
   4.178   Confidential Employee                  Officer                   8/31/2022               $16,666.67 Wages
   4.179   Confidential Employee                  Officer                   9/15/2022               $16,666.67 Wages
   4.180   Confidential Employee                  Officer                   9/30/2022               $16,666.67 Wages
   4.181   Confidential Employee                  Officer                  10/15/2022               $16,666.67 Wages
   4.182   Confidential Employee                  Officer                  10/31/2022               $16,666.67 Wages
   4.183   Confidential Employee                  Officer                   11/7/2022                    $66.03 Bonus - $50 Thanksgiving
   4.184   Confidential Employee                  Officer                  11/15/2022               $16,666.67 Wages
   4.185   Confidential Employee                  Officer                  11/30/2022               $16,666.67 Wages
   4.186   Confidential Employee                  Officer                  12/15/2022               $16,666.67 Wages
   4.187   Confidential Employee                  Officer                  12/29/2022              $200,923.32 Out of pocket reimbursements
                                                                                 TOTAL:            $394,296.27
   4.188 Confidential Employee                     Officer                  8/15/2022               $11,458.33 Wages
   4.189 Confidential Employee                     Officer                  8/31/2022               $11,458.33 Wages
   4.190 Confidential Employee                     Officer                  9/15/2022               $11,458.33 Wages

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.191   Confidential Employee                  Officer                   9/30/2022               $11,458.33 Wages
   4.192   Confidential Employee                  Officer                  10/15/2022               $11,558.34 Wages
   4.193   Confidential Employee                  Officer                  10/31/2022               $11,458.34 Wages
   4.194   Confidential Employee                  Officer                   11/7/2022                   $234.40 Bonus - $50 Thanksgiving
   4.195   Confidential Employee                  Officer                   11/9/2022               $30,072.86 Out of pocket reimbursements
   4.196   Confidential Employee                  Officer                  11/15/2022               $11,558.34 Wages
   4.197   Confidential Employee                  Officer                  11/30/2022               $11,458.34 Wages
   4.198   Confidential Employee                  Officer                  12/15/2022               $11,558.34 Wages
   4.199   Confidential Employee                  Officer                  12/31/2022               $11,458.34 Wages
   4.200   Confidential Employee                  Officer                  12/31/2022               $11,458.34 Wages
   4.201   Confidential Employee                  Officer                   1/15/2023               $12,600.00 Wages
   4.202   Confidential Employee                  Officer                   1/31/2023               $12,500.00 Wages
   4.203   Confidential Employee                  Officer                   2/15/2023               $12,500.00 Wages
   4.204   Confidential Employee                  Officer                   2/28/2023               $12,500.00 Wages
   4.205   Confidential Employee                  Officer                   3/15/2023               $12,500.00 Wages
   4.206   Confidential Employee                  Officer                   3/31/2023               $12,500.00 Wages
   4.207   Confidential Employee                  Officer                   4/15/2023               $12,500.00 Wages
   4.208   Confidential Employee                  Officer                   4/30/2023               $12,500.00 Wages
   4.209   Confidential Employee                  Officer                    5/9/2023                   $180.60 Bonus - $25 - 17days and 17deals
   4.210   Confidential Employee                  Officer                   5/15/2023               $12,500.00 Wages
   4.211   Confidential Employee                  Officer                   5/31/2023               $12,500.00 Wages
   4.212   Confidential Employee                  Officer                   6/15/2023               $12,500.00 Wages
   4.213   Confidential Employee                  Officer                   6/30/2023               $12,500.00 Wages
   4.214   Confidential Employee                  Officer                   7/15/2023               $12,500.00 Wages
   4.215   Confidential Employee                  Officer                   7/31/2023               $12,500.00 Wages
   4.216   Confidential Employee                  Officer                   8/11/2023               $10,000.00 Bonus
   4.217   Confidential Employee                  Officer                   8/15/2023               $12,500.00 Wages
   4.218   Confidential Employee                  Officer                   10/1/2022                   $200.56 Out of pocket reimbursements
   4.219   Confidential Employee                  Officer                   10/1/2022                   $200.88 Out of pocket reimbursements
   4.220   Confidential Employee                  Officer                  10/26/2022                   $200.88 Out of pocket reimbursements
   4.221   Confidential Employee                  Officer                  10/26/2022                   $200.55 Out of pocket reimbursements
   4.222   Confidential Employee                  Officer                   11/3/2022                   $200.88 Out of pocket reimbursements
   4.223   Confidential Employee                  Officer                   11/3/2022                   $200.55 Out of pocket reimbursements
   4.224   Confidential Employee                  Officer                  11/18/2022                   $200.88 Out of pocket reimbursements
   4.225   Confidential Employee                  Officer                  11/18/2022                   $200.54 Out of pocket reimbursements
   4.226   Confidential Employee                  Officer                  12/11/2022                   $100.00 Out of pocket reimbursements
   4.227   Confidential Employee                  Officer                  12/11/2022                 $2,400.00 Out of pocket reimbursements
   4.228   Confidential Employee                  Officer                  12/11/2022                   $112.15 Out of pocket reimbursements
   4.229   Confidential Employee                  Officer                  12/19/2022                   $200.88 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.230   Confidential Employee                  Officer                  12/19/2022                   $200.54 Out of pocket reimbursements
   4.231   Confidential Employee                  Officer                  12/22/2022                   $217.50 Out of pocket reimbursements
   4.232   Confidential Employee                  Officer                   1/26/2023                   $201.92 Out of pocket reimbursements
   4.233   Confidential Employee                  Officer                   1/26/2023                   $200.54 Out of pocket reimbursements
                                                                                  TOTAL:           $359,668.81
   4.234   Confidential Employee                   Officer                   8/23/2022                   $48.46 Out of pocket reimbursements
   4.235   Confidential Employee                   Officer                  10/16/2022                $1,624.96 Out of pocket reimbursements
   4.236   Confidential Employee                   Officer                  10/26/2022                   $65.32 Out of pocket reimbursements
   4.237   Confidential Employee                   Officer                  10/26/2022                $1,438.80 Out of pocket reimbursements
   4.238   Confidential Employee                   Officer                  10/26/2022                   $96.00 Out of pocket reimbursements
   4.239   Confidential Employee                   Officer                  10/26/2022                   $24.11 Out of pocket reimbursements
   4.240   Confidential Employee                   Officer                  10/26/2022                  $476.73 Out of pocket reimbursements
   4.241   Confidential Employee                   Officer                  10/27/2022                $1,649.96 Out of pocket reimbursements
   4.242   Confidential Employee                   Officer                  10/30/2022                  $874.70 Out of pocket reimbursements
   4.243   Confidential Employee                   Officer                  10/31/2022                   $19.66 Out of pocket reimbursements
   4.244   Confidential Employee                   Officer                  10/31/2022                   $64.28 Out of pocket reimbursements
   4.245   Confidential Employee                   Officer                  10/31/2022                   $77.75 Out of pocket reimbursements
   4.246   Confidential Employee                   Officer                  10/31/2022                   $17.80 Out of pocket reimbursements
   4.247   Confidential Employee                   Officer                   11/3/2022                   $17.80 Out of pocket reimbursements
   4.248   Confidential Employee                   Officer                   11/3/2022                   $37.49 Out of pocket reimbursements
   4.249   Confidential Employee                   Officer                   11/3/2022                   $96.00 Out of pocket reimbursements
   4.250   Confidential Employee                   Officer                   11/3/2022                   $39.90 Out of pocket reimbursements
   4.251   Confidential Employee                   Officer                   11/9/2022                   $17.80 Out of pocket reimbursements
   4.252   Confidential Employee                   Officer                  11/11/2022                   $96.00 Out of pocket reimbursements
   4.253   Confidential Employee                   Officer                  11/11/2022                  $114.77 Out of pocket reimbursements
   4.254   Confidential Employee                   Officer                  11/22/2022                $1,149.46 Out of pocket reimbursements
   4.255   Confidential Employee                   Officer                   12/1/2022                   $17.80 Out of pocket reimbursements
   4.256   Confidential Employee                   Officer                   12/1/2022                   $39.69 Out of pocket reimbursements
   4.257   Confidential Employee                   Officer                   12/1/2022                   $32.35 Out of pocket reimbursements
   4.258   Confidential Employee                   Officer                   12/1/2022                   $96.00 Out of pocket reimbursements
   4.259   Confidential Employee                   Officer                   12/1/2022                   $17.80 Out of pocket reimbursements
   4.260   Confidential Employee                   Officer                   12/1/2022                   $53.08 Out of pocket reimbursements
   4.261   Confidential Employee                   Officer                   12/1/2022                   $61.31 Out of pocket reimbursements
   4.262   Confidential Employee                   Officer                   12/5/2022                  $915.46 Out of pocket reimbursements
   4.263   Confidential Employee                   Officer                   12/5/2022                   $99.43 Out of pocket reimbursements
   4.264   Confidential Employee                   Officer                  12/17/2022                   $47.54 Out of pocket reimbursements
   4.265   Confidential Employee                   Officer                  12/17/2022                   $10.51 Out of pocket reimbursements
   4.266   Confidential Employee                   Officer                  12/17/2022                   $63.61 Out of pocket reimbursements
   4.267   Confidential Employee                   Officer                  12/17/2022                   $88.00 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
   4.268   Confidential Employee                  Officer                  12/17/2022                   $44.89 Out of pocket reimbursements
   4.269   Confidential Employee                  Officer                  12/17/2022                   $21.40 Out of pocket reimbursements
   4.270   Confidential Employee                  Officer                  12/17/2022                   $58.37 Out of pocket reimbursements
   4.271   Confidential Employee                  Officer                  12/17/2022                   $21.20 Out of pocket reimbursements
   4.272   Confidential Employee                  Officer                  12/27/2022                  $642.19 Out of pocket reimbursements
   4.273   Confidential Employee                  Officer                   1/20/2023                   $45.85 Out of pocket reimbursements
   4.274   Confidential Employee                  Officer                   1/20/2023                   $96.00 Out of pocket reimbursements
   4.275   Confidential Employee                  Officer                   1/20/2023                   $39.86 Out of pocket reimbursements
   4.276   Confidential Employee                  Officer                   1/20/2023                   $32.39 Out of pocket reimbursements
   4.277   Confidential Employee                  Officer                   1/20/2023                   $53.38 Out of pocket reimbursements
   4.278   Confidential Employee                  Officer                    2/1/2023                  $109.56 Out of pocket reimbursements
   4.279   Confidential Employee                  Officer                   2/27/2023                  $682.95 Out of pocket reimbursements
   4.280   Confidential Employee                  Officer                   4/24/2023                  $120.00 Out of pocket reimbursements
   4.281   Confidential Employee                  Officer                   4/24/2023                   $55.75 Out of pocket reimbursements
   4.282   Confidential Employee                  Officer                   4/24/2023                   $20.23 Out of pocket reimbursements
   4.283   Confidential Employee                  Officer                   4/24/2023                  $121.90 Out of pocket reimbursements
   4.284   Confidential Employee                  Officer                   4/19/2023                   $19.66 Out of pocket reimbursements
   4.285   Confidential Employee                  Officer                   4/24/2023                   $39.94 Out of pocket reimbursements
   4.286   Confidential Employee                  Officer                   4/19/2023                   $20.53 Out of pocket reimbursements
   4.287   Confidential Employee                  Officer                   4/17/2023                  $794.96 Out of pocket reimbursements
   4.288   Confidential Employee                  Officer                   8/15/2022               $11,666.67 Wages
   4.289   Confidential Employee                  Officer                   8/31/2022               $11,666.67 Wages
   4.290   Confidential Employee                  Officer                   9/15/2022               $11,666.67 Wages
   4.291   Confidential Employee                  Officer                   9/30/2022               $11,666.67 Wages
   4.292   Confidential Employee                  Officer                  10/15/2022               $11,766.67 Wages
   4.293   Confidential Employee                  Officer                  10/31/2022               $11,666.67 Wages
   4.294   Confidential Employee                  Officer                   11/7/2022                   $66.03 Bonus - $50 Thanksgiving
   4.295   Confidential Employee                  Officer                  11/15/2022               $11,766.67 Wages
   4.296   Confidential Employee                  Officer                  11/30/2022               $11,666.67 Wages
   4.297   Confidential Employee                  Officer                  12/15/2022               $14,683.34 Wages
   4.298   Confidential Employee                  Officer                  12/31/2022               $14,583.34 Wages
   4.299   Confidential Employee                  Officer                   1/15/2023               $14,683.34 Wages
   4.300   Confidential Employee                  Officer                   1/31/2023               $14,583.34 Wages
   4.301   Confidential Employee                  Officer                   2/15/2023               $14,683.34 Wages
   4.302   Confidential Employee                  Officer                   2/28/2023               $14,583.34 Wages
   4.303   Confidential Employee                  Officer                   3/15/2023               $14,683.34 Wages
   4.304   Confidential Employee                  Officer                   3/31/2023               $14,583.34 Wages
   4.305   Confidential Employee                  Officer                   4/15/2023               $14,683.34 Wages
   4.306   Confidential Employee                  Officer                   4/30/2023               $14,583.34 Wages

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.307   Confidential Employee                  Officer                    5/9/2023                    $35.56 Bonus - $25 - 17days and 17deals
   4.308   Confidential Employee                  Officer                   5/15/2023               $14,683.34 Wages
   4.309   Confidential Employee                  Officer                   5/31/2023               $14,583.34 Wages
   4.310   Confidential Employee                  Officer                   6/15/2023               $14,683.34 Wages
   4.311   Confidential Employee                  Officer                   6/30/2023               $14,583.34 Wages
   4.312   Confidential Employee                  Officer                    7/3/2023                 $1,458.33 Wages
                                                                                  TOTAL:             $312,591.38
   4.313   Confidential Employee                   Officer                  9/30/2022                 $13,541.67 Wages
   4.314   Confidential Employee                   Officer                 10/15/2022                 $13,641.67 Wages
   4.315   Confidential Employee                   Officer                 10/31/2022                 $13,541.67 Wages
   4.316   Confidential Employee                   Officer                  11/7/2022                     $71.30 Bonus - $50 Thanksgiving
   4.317   Confidential Employee                   Officer                 11/15/2022                 $13,641.67 Wages
   4.318   Confidential Employee                   Officer                 11/30/2022                 $13,541.67 Wages
   4.319   Confidential Employee                   Officer                 12/15/2022                 $13,641.67 Wages
   4.320   Confidential Employee                   Officer                 12/31/2022                 $13,541.67 Wages
   4.321   Confidential Employee                   Officer                  1/15/2023                 $13,641.67 Wages
   4.322   Confidential Employee                   Officer                  1/31/2023                 $13,541.67 Wages
   4.323   Confidential Employee                   Officer                  2/15/2023                 $13,668.29 Wages
   4.324   Confidential Employee                   Officer                  3/29/2023                 $14,961.00 Wages
   4.325   Confidential Employee                   Officer                 11/14/2022                     $40.85 Out of pocket reimbursements
   4.326   Confidential Employee                   Officer                 11/14/2022                     $20.40 Out of pocket reimbursements
   4.327   Confidential Employee                   Officer                 11/14/2022                     $32.90 Out of pocket reimbursements
   4.328   Confidential Employee                   Officer                 11/14/2022                     $43.90 Out of pocket reimbursements
   4.329   Confidential Employee                   Officer                 11/14/2022                     $42.93 Out of pocket reimbursements
   4.330   Confidential Employee                   Officer                 11/14/2022                    $237.19 Out of pocket reimbursements
   4.331   Confidential Employee                   Officer                 11/14/2022                     $80.66 Out of pocket reimbursements
   4.332   Confidential Employee                   Officer                 11/14/2022                     $49.17 Out of pocket reimbursements
   4.333   Confidential Employee                   Officer                 11/14/2022                     $17.19 Out of pocket reimbursements
   4.334   Confidential Employee                   Officer                 11/14/2022                     $14.65 Out of pocket reimbursements
   4.335   Confidential Employee                   Officer                 11/14/2022                    $297.20 Out of pocket reimbursements
   4.336   Confidential Employee                   Officer                 11/14/2022                     $36.89 Out of pocket reimbursements
   4.337   Confidential Employee                   Officer                 11/14/2022                    $387.21 Out of pocket reimbursements
   4.338   Confidential Employee                   Officer                 11/14/2022                      $0.04 Out of pocket reimbursements
   4.339   Confidential Employee                   Officer                 11/14/2022                     $74.50 Out of pocket reimbursements
   4.340   Confidential Employee                   Officer                 12/15/2022                    $170.00 Out of pocket reimbursements
   4.341   Confidential Employee                   Officer                  1/20/2023                     $32.95 Out of pocket reimbursements
   4.342   Confidential Employee                   Officer                  1/20/2023                    $167.00 Out of pocket reimbursements
   4.343   Confidential Employee                   Officer                  1/20/2023                     $39.92 Out of pocket reimbursements
                                                                                  TOTAL:             $152,761.17

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            Insider's Name              Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.344 Confidential Employee          Special Committee Member            8/11/2023               $58,650.00 Out of pocket reimbursements
   4.345 Confidential Employee          Special Committee Member            8/11/2023               $25,000.00 Out of pocket reimbursements
                                                                                  TOTAL:            $83,650.00
   4.346   Confidential Employee                   Officer                   8/23/2022                  $520.20 Out of pocket reimbursements
   4.347   Confidential Employee                   Officer                   8/23/2022                  $580.75 Out of pocket reimbursements
   4.348   Confidential Employee                   Officer                   8/28/2022                $2,257.20 Out of pocket reimbursements
   4.349   Confidential Employee                   Officer                   8/30/2022                  $511.06 Out of pocket reimbursements
   4.350   Confidential Employee                   Officer                   9/10/2022                    $9.99 Out of pocket reimbursements
   4.351   Confidential Employee                   Officer                   9/10/2022                  $103.00 Out of pocket reimbursements
   4.352   Confidential Employee                   Officer                   9/10/2022                  $537.32 Out of pocket reimbursements
   4.353   Confidential Employee                   Officer                   9/10/2022                  $119.00 Out of pocket reimbursements
   4.354   Confidential Employee                   Officer                   9/10/2022                  $121.00 Out of pocket reimbursements
   4.355   Confidential Employee                   Officer                   9/13/2022                  $502.98 Out of pocket reimbursements
   4.356   Confidential Employee                   Officer                   9/20/2022                  $546.41 Out of pocket reimbursements
   4.357   Confidential Employee                   Officer                   10/1/2022                  $542.97 Out of pocket reimbursements
   4.358   Confidential Employee                   Officer                   10/5/2022                  $350.00 Out of pocket reimbursements
   4.359   Confidential Employee                   Officer                   10/5/2022                  $516.11 Out of pocket reimbursements
   4.360   Confidential Employee                   Officer                   10/5/2022                $3,558.34 Out of pocket reimbursements
   4.361   Confidential Employee                   Officer                   10/5/2022                  $133.00 Out of pocket reimbursements
   4.362   Confidential Employee                   Officer                   10/5/2022                   $23.80 Out of pocket reimbursements
   4.363   Confidential Employee                   Officer                   10/5/2022                  $121.26 Out of pocket reimbursements
   4.364   Confidential Employee                   Officer                   10/5/2022                   $42.30 Out of pocket reimbursements
   4.365   Confidential Employee                   Officer                   10/7/2022                  $169.00 Out of pocket reimbursements
   4.366   Confidential Employee                   Officer                   10/7/2022                   $18.75 Out of pocket reimbursements
   4.367   Confidential Employee                   Officer                   10/7/2022                  $373.19 Out of pocket reimbursements
   4.368   Confidential Employee                   Officer                  10/11/2022                  $489.85 Out of pocket reimbursements
   4.369   Confidential Employee                   Officer                  10/11/2022                    $9.99 Out of pocket reimbursements
   4.370   Confidential Employee                   Officer                  10/21/2022                   $10.00 Out of pocket reimbursements
   4.371   Confidential Employee                   Officer                  10/21/2022                $4,259.20 Out of pocket reimbursements
   4.372   Confidential Employee                   Officer                  10/21/2022                  $514.09 Out of pocket reimbursements
   4.373   Confidential Employee                   Officer                  10/27/2022                   $18.75 Out of pocket reimbursements
   4.374   Confidential Employee                   Officer                  10/27/2022                  $114.00 Out of pocket reimbursements
   4.375   Confidential Employee                   Officer                  10/27/2022                  $546.41 Out of pocket reimbursements
   4.376   Confidential Employee                   Officer                  10/31/2022                  $523.18 Out of pocket reimbursements
   4.377   Confidential Employee                   Officer                   11/3/2022                  $228.88 Out of pocket reimbursements
   4.378   Confidential Employee                   Officer                  11/11/2022                    $9.99 Out of pocket reimbursements
   4.379   Confidential Employee                   Officer                  11/11/2022                  $506.01 Out of pocket reimbursements
   4.380   Confidential Employee                   Officer                  11/11/2022                  $533.14 Out of pocket reimbursements
   4.381   Confidential Employee                   Officer                  11/11/2022                  $505.95 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
   4.382   Confidential Employee                  Officer                  11/11/2022                  $265.72 Out of pocket reimbursements
   4.383   Confidential Employee                  Officer                  11/15/2022                  $507.02 Out of pocket reimbursements
   4.384   Confidential Employee                  Officer                  11/29/2022                  $524.19 Out of pocket reimbursements
   4.385   Confidential Employee                  Officer                   12/6/2022                  $482.78 Out of pocket reimbursements
   4.386   Confidential Employee                  Officer                   12/6/2022                  $328.14 Out of pocket reimbursements
   4.387   Confidential Employee                  Officer                   8/15/2022               $16,666.67 Wages
   4.388   Confidential Employee                  Officer                   8/31/2022               $16,666.67 Wages
   4.389   Confidential Employee                  Officer                   9/15/2022               $16,666.67 Wages
   4.390   Confidential Employee                  Officer                   9/30/2022               $16,666.67 Wages
   4.391   Confidential Employee                  Officer                  10/15/2022               $16,766.67 Wages
   4.392   Confidential Employee                  Officer                  10/31/2022               $16,666.67 Wages
   4.393   Confidential Employee                  Officer                   11/7/2022                   $66.03 Bonus - $50 Thanksgiving
   4.394   Confidential Employee                  Officer                  11/15/2022               $16,766.67 Wages
   4.395   Confidential Employee                  Officer                  11/30/2022               $16,666.67 Wages
   4.396   Confidential Employee                  Officer                  12/15/2022               $16,766.67 Wages
   4.397   Confidential Employee                  Officer                  12/31/2022               $16,686.67 Wages
   4.398   Confidential Employee                  Officer                    1/9/2023               $65,841.69 Wages
                                                                                  TOTAL:             $254,929.34
   4.399   Confidential Employee                   Officer                  8/17/2022                      $2.00 Out of pocket reimbursements
   4.400   Confidential Employee                   Officer                  8/17/2022                    $465.20 Out of pocket reimbursements
   4.401   Confidential Employee                   Officer                  8/17/2022                     $17.01 Out of pocket reimbursements
   4.402   Confidential Employee                   Officer                  8/17/2022                      $4.06 Out of pocket reimbursements
   4.403   Confidential Employee                   Officer                  8/17/2022                      $1.00 Out of pocket reimbursements
   4.404   Confidential Employee                   Officer                  8/21/2022                     $36.75 Out of pocket reimbursements
   4.405   Confidential Employee                   Officer                  8/21/2022                     $31.96 Out of pocket reimbursements
   4.406   Confidential Employee                   Officer                  8/22/2022                      $4.00 Out of pocket reimbursements
   4.407   Confidential Employee                   Officer                  8/22/2022                     $31.83 Out of pocket reimbursements
   4.408   Confidential Employee                   Officer                  8/22/2022                     $15.38 Out of pocket reimbursements
   4.409   Confidential Employee                   Officer                  8/22/2022                      $9.50 Out of pocket reimbursements
   4.410   Confidential Employee                   Officer                  8/22/2022                      $9.86 Out of pocket reimbursements
   4.411   Confidential Employee                   Officer                  8/22/2022                      $2.00 Out of pocket reimbursements
   4.412   Confidential Employee                   Officer                  8/22/2022                      $1.99 Out of pocket reimbursements
   4.413   Confidential Employee                   Officer                  8/22/2022                      $8.50 Out of pocket reimbursements
   4.414   Confidential Employee                   Officer                  8/28/2022                     $29.99 Out of pocket reimbursements
   4.415   Confidential Employee                   Officer                  8/28/2022                     $43.38 Out of pocket reimbursements
   4.416   Confidential Employee                   Officer                  8/28/2022                    $188.22 Out of pocket reimbursements
   4.417   Confidential Employee                   Officer                  8/28/2022                     $38.95 Out of pocket reimbursements
   4.418   Confidential Employee                   Officer                  8/28/2022                    $319.18 Out of pocket reimbursements
   4.419   Confidential Employee                   Officer                  8/28/2022                    $899.90 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.420   Confidential Employee                  Officer                    9/2/2022                    $29.42 Out of pocket reimbursements
   4.421   Confidential Employee                  Officer                   9/13/2022                   $142.50 Out of pocket reimbursements
   4.422   Confidential Employee                  Officer                   9/13/2022                   $160.30 Out of pocket reimbursements
   4.423   Confidential Employee                  Officer                   9/13/2022                    $58.94 Out of pocket reimbursements
   4.424   Confidential Employee                  Officer                   9/13/2022                   $121.46 Out of pocket reimbursements
   4.425   Confidential Employee                  Officer                   9/13/2022                    $26.52 Out of pocket reimbursements
   4.426   Confidential Employee                  Officer                   9/13/2022                   $160.05 Out of pocket reimbursements
   4.427   Confidential Employee                  Officer                   9/28/2022                    $19.32 Out of pocket reimbursements
   4.428   Confidential Employee                  Officer                   9/28/2022                    $62.98 Out of pocket reimbursements
   4.429   Confidential Employee                  Officer                   9/28/2022                 $1,062.71 Out of pocket reimbursements
   4.430   Confidential Employee                  Officer                   9/30/2022                   $386.21 Out of pocket reimbursements
   4.431   Confidential Employee                  Officer                   10/3/2022                   $112.12 Out of pocket reimbursements
   4.432   Confidential Employee                  Officer                   10/3/2022                   $358.84 Out of pocket reimbursements
   4.433   Confidential Employee                  Officer                   10/3/2022                   $327.29 Out of pocket reimbursements
   4.434   Confidential Employee                  Officer                   10/3/2022                     $9.50 Out of pocket reimbursements
   4.435   Confidential Employee                  Officer                  10/14/2022               $11,318.88 Out of pocket reimbursements
   4.436   Confidential Employee                  Officer                  10/19/2022                 $1,165.20 Out of pocket reimbursements
   4.437   Confidential Employee                  Officer                  10/19/2022                 $1,315.20 Out of pocket reimbursements
   4.438   Confidential Employee                  Officer                   11/2/2022                 $2,995.20 Out of pocket reimbursements
   4.439   Confidential Employee                  Officer                   11/2/2022                    $93.40 Out of pocket reimbursements
   4.440   Confidential Employee                  Officer                   11/2/2022                   $540.30 Out of pocket reimbursements
   4.441   Confidential Employee                  Officer                   11/2/2022                     $9.75 Out of pocket reimbursements
   4.442   Confidential Employee                  Officer                   11/2/2022                    $41.73 Out of pocket reimbursements
   4.443   Confidential Employee                  Officer                   11/2/2022                    $52.73 Out of pocket reimbursements
   4.444   Confidential Employee                  Officer                  11/11/2022               $15,485.00 Out of pocket reimbursements
   4.445   Confidential Employee                  Officer                  11/21/2022                    $90.00 Out of pocket reimbursements
   4.446   Confidential Employee                  Officer                  11/21/2022                    $37.58 Out of pocket reimbursements
   4.447   Confidential Employee                  Officer                  11/21/2022                    $32.19 Out of pocket reimbursements
   4.448   Confidential Employee                  Officer                  11/21/2022                    $34.76 Out of pocket reimbursements
   4.449   Confidential Employee                  Officer                  11/21/2022                   $322.08 Out of pocket reimbursements
   4.450   Confidential Employee                  Officer                  11/21/2022                    $49.34 Out of pocket reimbursements
   4.451   Confidential Employee                  Officer                  11/21/2022                    $10.48 Out of pocket reimbursements
   4.452   Confidential Employee                  Officer                  11/21/2022                   $124.50 Out of pocket reimbursements
   4.453   Confidential Employee                  Officer                  11/21/2022                   $270.14 Out of pocket reimbursements
   4.454   Confidential Employee                  Officer                  11/21/2022                   $328.58 Out of pocket reimbursements
   4.455   Confidential Employee                  Officer                  11/21/2022                   $163.50 Out of pocket reimbursements
   4.456   Confidential Employee                  Officer                  11/21/2022                   $689.00 Out of pocket reimbursements
   4.457   Confidential Employee                  Officer                   8/15/2022               $16,666.67 Wages
   4.458   Confidential Employee                  Officer                   8/31/2022               $16,666.67 Wages

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
   4.459   Confidential Employee                  Officer                   9/15/2022               $16,666.67 Wages
   4.460   Confidential Employee                  Officer                   9/30/2022               $16,666.67 Wages
   4.461   Confidential Employee                  Officer                  10/15/2022               $16,666.67 Wages
   4.462   Confidential Employee                  Officer                  10/31/2022               $16,666.67 Wages
   4.463   Confidential Employee                  Officer                   11/7/2022                   $76.41 Bonus - $50 Thanksgiving
   4.464   Confidential Employee                  Officer                  11/15/2022               $16,666.67 Wages
   4.465   Confidential Employee                  Officer                  11/30/2022               $16,666.67 Wages
   4.466   Confidential Employee                  Officer                  12/15/2022               $16,666.67 Wages
   4.467   Confidential Employee                  Officer                  12/31/2022               $16,686.67 Wages
   4.468   Confidential Employee                  Officer                    1/9/2023               $78,016.69 Out of pocket reimbursements
                                                                                  TOTAL:             $285,148.16
   4.469   Confidential Employee                   Officer                 12/15/2022                 $24,621.22 Wages
   4.470   Confidential Employee                   Officer                 12/23/2022                $150,000.00 Bonus - Sign on Bonus
   4.471   Confidential Employee                   Officer                 12/31/2022                 $20,833.34 Wages
   4.472   Confidential Employee                   Officer                  1/15/2023                 $20,933.34 Wages
   4.473   Confidential Employee                   Officer                  1/31/2023                 $20,833.34 Wages
   4.474   Confidential Employee                   Officer                  2/15/2023                 $20,933.34 Wages
   4.475   Confidential Employee                   Officer                  2/28/2023                 $20,833.34 Wages
   4.476   Confidential Employee                   Officer                  3/15/2023                 $20,933.34 Wages
   4.477   Confidential Employee                   Officer                  3/31/2023                 $20,833.34 Wages
   4.478   Confidential Employee                   Officer                  4/15/2023                 $20,933.34 Wages
   4.479   Confidential Employee                   Officer                  4/30/2023                 $20,833.34 Wages
   4.480   Confidential Employee                   Officer                  5/15/2023                 $20,933.34 Wages
   4.481   Confidential Employee                   Officer                  5/31/2023                 $20,833.34 Wages
   4.482   Confidential Employee                   Officer                  6/15/2023                 $20,933.34 Wages
   4.483   Confidential Employee                   Officer                  6/30/2023                 $20,833.34 Wages
   4.484   Confidential Employee                   Officer                  7/15/2023                 $20,933.34 Wages
   4.485   Confidential Employee                   Officer                  7/31/2023                 $20,833.34 Wages
   4.486   Confidential Employee                   Officer                  8/15/2023                 $20,933.34 Wages
   4.487   Confidential Employee                   Officer                  8/24/2022                      $1.85 Out of pocket reimbursements
   4.488   Confidential Employee                   Officer                  8/24/2022                     $62.11 Out of pocket reimbursements
   4.489   Confidential Employee                   Officer                 11/30/2022                    $224.10 Out of pocket reimbursements
   4.490   Confidential Employee                   Officer                 11/30/2022                     $54.90 Out of pocket reimbursements
   4.491   Confidential Employee                   Officer                 11/30/2022                     $75.92 Out of pocket reimbursements
   4.492   Confidential Employee                   Officer                 11/30/2022                     $47.14 Out of pocket reimbursements
   4.493   Confidential Employee                   Officer                 11/30/2022                     $10.86 Out of pocket reimbursements
   4.494   Confidential Employee                   Officer                 11/30/2022                     $18.99 Out of pocket reimbursements
   4.495   Confidential Employee                   Officer                 11/30/2022                     $65.69 Out of pocket reimbursements
   4.496   Confidential Employee                   Officer                 11/30/2022                     $22.90 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.497   Confidential Employee                  Officer                  11/30/2022                   $364.10 Out of pocket reimbursements
   4.498   Confidential Employee                  Officer                  11/30/2022                   $221.51 Out of pocket reimbursements
   4.499   Confidential Employee                  Officer                  11/30/2022                    $27.00 Out of pocket reimbursements
   4.500   Confidential Employee                  Officer                  11/30/2022                    $30.01 Out of pocket reimbursements
   4.501   Confidential Employee                  Officer                  11/30/2022                    $44.90 Out of pocket reimbursements
   4.502   Confidential Employee                  Officer                  11/30/2022                    $25.84 Out of pocket reimbursements
   4.503   Confidential Employee                  Officer                  11/30/2022                   $317.97 Out of pocket reimbursements
   4.504   Confidential Employee                  Officer                   12/3/2022                    $24.92 Out of pocket reimbursements
   4.505   Confidential Employee                  Officer                   12/3/2022                    $22.86 Out of pocket reimbursements
   4.506   Confidential Employee                  Officer                   12/8/2022                   $111.22 Out of pocket reimbursements
   4.507   Confidential Employee                  Officer                   12/8/2022                   $263.20 Out of pocket reimbursements
   4.508   Confidential Employee                  Officer                   12/8/2022                     $8.00 Out of pocket reimbursements
   4.509   Confidential Employee                  Officer                    2/3/2023                    $44.71 Out of pocket reimbursements
   4.510   Confidential Employee                  Officer                    2/3/2023                    $44.45 Out of pocket reimbursements
   4.511   Confidential Employee                  Officer                    2/3/2023                    $24.69 Out of pocket reimbursements
   4.512   Confidential Employee                  Officer                    2/3/2023                    $38.03 Out of pocket reimbursements
   4.513   Confidential Employee                  Officer                    2/3/2023                    $76.39 Out of pocket reimbursements
   4.514   Confidential Employee                  Officer                    2/3/2023                   $104.76 Out of pocket reimbursements
   4.515   Confidential Employee                  Officer                    2/3/2023                    $47.56 Out of pocket reimbursements
   4.516   Confidential Employee                  Officer                    2/3/2023                 $2,752.89 Out of pocket reimbursements
   4.517   Confidential Employee                  Officer                    2/8/2023                    $20.62 Out of pocket reimbursements
   4.518   Confidential Employee                  Officer                    2/8/2023                    $20.62 Out of pocket reimbursements
   4.519   Confidential Employee                  Officer                    2/8/2023                    $44.94 Out of pocket reimbursements
   4.520   Confidential Employee                  Officer                    2/8/2023                    $21.99 Out of pocket reimbursements
   4.521   Confidential Employee                  Officer                    2/8/2023                    $35.90 Out of pocket reimbursements
   4.522   Confidential Employee                  Officer                    2/8/2023                    $66.98 Out of pocket reimbursements
   4.523   Confidential Employee                  Officer                    2/8/2023                    $54.45 Out of pocket reimbursements
   4.524   Confidential Employee                  Officer                    2/8/2023                    $33.25 Out of pocket reimbursements
   4.525   Confidential Employee                  Officer                    2/8/2023                   $181.05 Out of pocket reimbursements
   4.526   Confidential Employee                  Officer                    2/8/2023                    $11.75 Out of pocket reimbursements
   4.527   Confidential Employee                  Officer                   2/11/2023                 $1,156.48 Out of pocket reimbursements
   4.528   Confidential Employee                  Officer                   2/11/2023                    $45.68 Out of pocket reimbursements
   4.529   Confidential Employee                  Officer                   2/11/2023                    $62.44 Out of pocket reimbursements
   4.530   Confidential Employee                  Officer                   2/11/2023                    $29.75 Out of pocket reimbursements
   4.531   Confidential Employee                  Officer                   2/11/2023                    $45.96 Out of pocket reimbursements
   4.532   Confidential Employee                  Officer                   2/11/2023                    $25.81 Out of pocket reimbursements
   4.533   Confidential Employee                  Officer                   2/19/2023                   $122.55 Out of pocket reimbursements
   4.534   Confidential Employee                  Officer                   2/19/2023                   $157.85 Out of pocket reimbursements
   4.535   Confidential Employee                  Officer                   2/19/2023                    $62.15 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.536   Confidential Employee                  Officer                   2/19/2023                   $113.37 Out of pocket reimbursements
   4.537   Confidential Employee                  Officer                   2/19/2023                    $50.12 Out of pocket reimbursements
   4.538   Confidential Employee                  Officer                   2/19/2023                    $29.12 Out of pocket reimbursements
   4.539   Confidential Employee                  Officer                   2/19/2023                    $55.63 Out of pocket reimbursements
   4.540   Confidential Employee                  Officer                   2/27/2023                   $468.80 Out of pocket reimbursements
   4.541   Confidential Employee                  Officer                   2/27/2023                   $107.29 Out of pocket reimbursements
   4.542   Confidential Employee                  Officer                    3/8/2023                 $1,939.95 Out of pocket reimbursements
   4.543   Confidential Employee                  Officer                   3/12/2023                   $154.81 Out of pocket reimbursements
   4.544   Confidential Employee                  Officer                   3/12/2023                    $83.97 Out of pocket reimbursements
   4.545   Confidential Employee                  Officer                   3/15/2023                   $307.80 Out of pocket reimbursements
   4.546   Confidential Employee                  Officer                   3/17/2023                   $194.95 Out of pocket reimbursements
   4.547   Confidential Employee                  Officer                   3/17/2023                    $66.00 Out of pocket reimbursements
   4.548   Confidential Employee                  Officer                   8/11/2023                    $23.17 Out of pocket reimbursements
   4.549   Confidential Employee                  Officer                   8/11/2023                   $341.00 Out of pocket reimbursements
   4.550   Confidential Employee                  Officer                   8/11/2023                   $125.04 Out of pocket reimbursements
   4.551   Confidential Employee                  Officer                    8/9/2023                    $22.28 Out of pocket reimbursements
   4.552   Confidential Employee                  Officer                   8/11/2023                    $47.29 Out of pocket reimbursements
   4.553   Confidential Employee                  Officer                   8/11/2023                    $44.79 Out of pocket reimbursements
   4.554   Confidential Employee                  Officer                   8/11/2023                   $178.00 Out of pocket reimbursements
   4.555   Confidential Employee                  Officer                   7/24/2023                   $139.97 Out of pocket reimbursements
   4.556   Confidential Employee                  Officer                   7/24/2023                    $35.00 Out of pocket reimbursements
   4.557   Confidential Employee                  Officer                   7/26/2023                    $84.33 Out of pocket reimbursements
   4.558   Confidential Employee                  Officer                   7/26/2023                   $260.00 Out of pocket reimbursements
   4.559   Confidential Employee                  Officer                   7/26/2023                    $76.46 Out of pocket reimbursements
   4.560   Confidential Employee                  Officer                   7/17/2023                    $54.65 Out of pocket reimbursements
   4.561   Confidential Employee                  Officer                   7/17/2023                     $7.94 Out of pocket reimbursements
   4.562   Confidential Employee                  Officer                   4/14/2023                    $10.00 Out of pocket reimbursements
   4.563   Confidential Employee                  Officer                   7/17/2023                    $61.28 Out of pocket reimbursements
   4.564   Confidential Employee                  Officer                   7/17/2023                     $7.05 Out of pocket reimbursements
   4.565   Confidential Employee                  Officer                   7/17/2023                    $83.87 Out of pocket reimbursements
   4.566   Confidential Employee                  Officer                   7/17/2023                    $66.80 Out of pocket reimbursements
   4.567   Confidential Employee                  Officer                    7/2/2023                     $4.23 Out of pocket reimbursements
   4.568   Confidential Employee                  Officer                    7/2/2023                    $92.99 Out of pocket reimbursements
   4.569   Confidential Employee                  Officer                    7/4/2023                   $121.68 Out of pocket reimbursements
   4.570   Confidential Employee                  Officer                    6/6/2023                   $602.40 Out of pocket reimbursements
   4.571   Confidential Employee                  Officer                   5/30/2023                    $39.99 Out of pocket reimbursements
   4.572   Confidential Employee                  Officer                   4/10/2023                   $209.80 Out of pocket reimbursements
   4.573   Confidential Employee                  Officer                   4/14/2023                   $232.55 Out of pocket reimbursements
   4.574   Confidential Employee                  Officer                   5/30/2023                    $30.84 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
   4.575   Confidential Employee                  Officer                   5/30/2023                   $20.69 Out of pocket reimbursements
   4.576   Confidential Employee                  Officer                   4/14/2023                   $22.60 Out of pocket reimbursements
   4.577   Confidential Employee                  Officer                   5/30/2023                   $95.20 Out of pocket reimbursements
   4.578   Confidential Employee                  Officer                   4/12/2023                   $57.30 Out of pocket reimbursements
   4.579   Confidential Employee                  Officer                   5/26/2023                   $13.27 Out of pocket reimbursements
   4.580   Confidential Employee                  Officer                   4/17/2023                   $21.62 Out of pocket reimbursements
   4.581   Confidential Employee                  Officer                   4/17/2023                   $45.96 Out of pocket reimbursements
   4.582   Confidential Employee                  Officer                   4/17/2023                   $45.99 Out of pocket reimbursements
   4.583   Confidential Employee                  Officer                   5/26/2023                   $43.75 Out of pocket reimbursements
   4.584   Confidential Employee                  Officer                   5/25/2023                  $158.98 Out of pocket reimbursements
   4.585   Confidential Employee                  Officer                   5/26/2023                   $45.00 Out of pocket reimbursements
   4.586   Confidential Employee                  Officer                   5/25/2023                  $113.98 Out of pocket reimbursements
   4.587   Confidential Employee                  Officer                   5/22/2023                   $35.00 Out of pocket reimbursements
   4.588   Confidential Employee                  Officer                   5/22/2023                   $35.00 Out of pocket reimbursements
   4.589   Confidential Employee                  Officer                   4/19/2023                   $76.66 Out of pocket reimbursements
   4.590   Confidential Employee                  Officer                    5/1/2023                   $63.91 Out of pocket reimbursements
   4.591   Confidential Employee                  Officer                    5/1/2023                   $12.66 Out of pocket reimbursements
   4.592   Confidential Employee                  Officer                    5/1/2023                    $7.88 Out of pocket reimbursements
   4.593   Confidential Employee                  Officer                    5/1/2023                  $222.61 Out of pocket reimbursements
   4.594   Confidential Employee                  Officer                    5/1/2023                  $245.68 Out of pocket reimbursements
   4.595   Confidential Employee                  Officer                   4/28/2023                    $9.93 Out of pocket reimbursements
   4.596   Confidential Employee                  Officer                   4/28/2023                    $7.88 Out of pocket reimbursements
   4.597   Confidential Employee                  Officer                   4/19/2023                   $20.96 Out of pocket reimbursements
   4.598   Confidential Employee                  Officer                   4/19/2023                    $9.95 Out of pocket reimbursements
   4.599   Confidential Employee                  Officer                   4/19/2023                    $9.15 Out of pocket reimbursements
   4.600   Confidential Employee                  Officer                   4/26/2023                    $7.88 Out of pocket reimbursements
   4.601   Confidential Employee                  Officer                   4/26/2023                    $7.88 Out of pocket reimbursements
   4.602   Confidential Employee                  Officer                   4/19/2023                    $9.95 Out of pocket reimbursements
   4.603   Confidential Employee                  Officer                   4/24/2023                  $615.12 Out of pocket reimbursements
   4.604   Confidential Employee                  Officer                   4/26/2023                    $7.87 Out of pocket reimbursements
   4.605   Confidential Employee                  Officer                   4/26/2023                    $9.99 Out of pocket reimbursements
   4.606   Confidential Employee                  Officer                   4/26/2023                   $57.18 Out of pocket reimbursements
   4.607   Confidential Employee                  Officer                   4/26/2023                   $36.97 Out of pocket reimbursements
   4.608   Confidential Employee                  Officer                   4/26/2023                   $39.92 Out of pocket reimbursements
   4.609   Confidential Employee                  Officer                   4/24/2023                   $38.99 Out of pocket reimbursements
   4.610   Confidential Employee                  Officer                   4/24/2023                   $29.99 Out of pocket reimbursements
   4.611   Confidential Employee                  Officer                   4/24/2023                   $73.54 Out of pocket reimbursements
   4.612   Confidential Employee                  Officer                   4/24/2023                  $304.56 Out of pocket reimbursements
                                                                                  TOTAL:             $525,391.01

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            Insider's Name              Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.613 Confidential Employee                   Director                  multiple days            $54,167.10  Board  of Director Fee
                                                                                  TOTAL:            $54,167.10
   4.614   Confidential Employee                   Officer                   8/15/2022              $20,833.33 Wages
   4.615   Confidential Employee                   Officer                   8/31/2022              $20,833.33 Wages
   4.616   Confidential Employee                   Officer                   9/15/2022              $20,833.33 Wages
   4.617   Confidential Employee                   Officer                   9/30/2022              $20,833.33 Wages
   4.618   Confidential Employee                   Officer                  10/15/2022              $20,933.34 Wages
   4.619   Confidential Employee                   Officer                  10/31/2022              $20,833.34 Wages
   4.620   Confidential Employee                   Officer                   11/7/2022                   $66.03 Bonus - $50 Thanksgiving
   4.621   Confidential Employee                   Officer                  11/15/2022              $20,933.34 Wages
   4.622   Confidential Employee                   Officer                  11/30/2022              $20,833.34 Wages
   4.623   Confidential Employee                   Officer                  12/15/2022              $20,933.34 Wages
   4.624   Confidential Employee                   Officer                  12/23/2022                $4,657.90 Wages
   4.625   Confidential Employee                   Officer                  12/30/2022              $20,833.34 Out of pocket reimbursements
   4.626   Confidential Employee                   Officer                   1/15/2023              $20,833.33 Wages
   4.627   Confidential Employee                   Officer                   1/31/2023              $20,833.34 Wages
   4.628   Confidential Employee                   Officer                   2/15/2023              $20,833.34 Wages
   4.629   Confidential Employee                   Officer                   2/28/2023              $20,833.34 Wages
   4.630   Confidential Employee                   Officer                   3/15/2023              $20,833.34 Wages
   4.631   Confidential Employee                   Officer                   3/31/2023              $20,833.34 Wages
   4.632   Confidential Employee                   Officer                   4/15/2023              $20,833.34 Wages
   4.633   Confidential Employee                   Officer                   4/30/2023              $20,833.34 Wages
   4.634   Confidential Employee                   Officer                   5/15/2023              $20,833.34 Wages
   4.635   Confidential Employee                   Officer                   5/31/2023              $20,833.34 Wages
   4.636   Confidential Employee                   Officer                   6/15/2023              $20,833.26 Wages
   4.637   Confidential Employee                   Officer                  8/18/2022                   $477.22 Out of pocket reimbursements
   4.638   Confidential Employee                   Officer                  8/18/2022                   $359.49 Out of pocket reimbursements
   4.639   Confidential Employee                   Officer                  8/28/2022                   $440.12 Out of pocket reimbursements
   4.640   Confidential Employee                   Officer                  8/28/2022                   $603.96 Out of pocket reimbursements
   4.641   Confidential Employee                   Officer                  8/28/2022                   $351.60 Out of pocket reimbursements
   4.642   Confidential Employee                   Officer                  8/28/2022                    $62.00 Out of pocket reimbursements
   4.643   Confidential Employee                   Officer                  8/28/2022                     $5.60 Out of pocket reimbursements
   4.644   Confidential Employee                   Officer                  8/28/2022                   $155.26 Out of pocket reimbursements
   4.645   Confidential Employee                   Officer                  8/28/2022                    $20.38 Out of pocket reimbursements
   4.646   Confidential Employee                   Officer                  8/28/2022                    $71.00 Out of pocket reimbursements
   4.647   Confidential Employee                   Officer                  8/28/2022                    $54.00 Out of pocket reimbursements
   4.648   Confidential Employee                   Officer                   9/2/2022                   $133.38 Out of pocket reimbursements
   4.649   Confidential Employee                   Officer                   9/2/2022                   $135.55 Out of pocket reimbursements
   4.650   Confidential Employee                   Officer                   9/2/2022                    $99.24 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.651   Confidential Employee                  Officer                    9/2/2022                    $22.16 Out of pocket reimbursements
   4.652   Confidential Employee                  Officer                    9/2/2022                   $395.20 Out of pocket reimbursements
   4.653   Confidential Employee                  Officer                    9/2/2022                   $101.84 Out of pocket reimbursements
   4.654   Confidential Employee                  Officer                    9/2/2022                   $334.07 Out of pocket reimbursements
   4.655   Confidential Employee                  Officer                    9/2/2022                    $32.96 Out of pocket reimbursements
   4.656   Confidential Employee                  Officer                    9/2/2022                 $1,216.51 Out of pocket reimbursements
   4.657   Confidential Employee                  Officer                    9/2/2022                     $3.00 Out of pocket reimbursements
   4.658   Confidential Employee                  Officer                    9/6/2022                   $210.96 Out of pocket reimbursements
   4.659   Confidential Employee                  Officer                    9/6/2022                    $41.00 Out of pocket reimbursements
   4.660   Confidential Employee                  Officer                    9/6/2022                   $201.49 Out of pocket reimbursements
   4.661   Confidential Employee                  Officer                   9/14/2022                   $200.13 Out of pocket reimbursements
   4.662   Confidential Employee                  Officer                   9/14/2022                   $207.97 Out of pocket reimbursements
   4.663   Confidential Employee                  Officer                   9/14/2022                   $395.20 Out of pocket reimbursements
   4.664   Confidential Employee                  Officer                   9/19/2022                   $540.20 Out of pocket reimbursements
   4.665   Confidential Employee                  Officer                   9/19/2022                   $343.98 Out of pocket reimbursements
   4.666   Confidential Employee                  Officer                   9/19/2022                   $467.60 Out of pocket reimbursements
   4.667   Confidential Employee                  Officer                   9/22/2022                    $22.59 Out of pocket reimbursements
   4.668   Confidential Employee                  Officer                   9/22/2022                     $3.00 Out of pocket reimbursements
   4.669   Confidential Employee                  Officer                   9/22/2022                    $58.52 Out of pocket reimbursements
   4.670   Confidential Employee                  Officer                   9/22/2022                    $61.34 Out of pocket reimbursements
   4.671   Confidential Employee                  Officer                   9/22/2022                   $332.98 Out of pocket reimbursements
   4.672   Confidential Employee                  Officer                   9/22/2022                   $332.98 Out of pocket reimbursements
   4.673   Confidential Employee                  Officer                   9/22/2022                    $26.32 Out of pocket reimbursements
   4.674   Confidential Employee                  Officer                   9/25/2022                     $8.00 Out of pocket reimbursements
   4.675   Confidential Employee                  Officer                   9/25/2022                    $30.00 Out of pocket reimbursements
   4.676   Confidential Employee                  Officer                   9/25/2022                   $307.26 Out of pocket reimbursements
   4.677   Confidential Employee                  Officer                   9/25/2022                    $88.00 Out of pocket reimbursements
   4.678   Confidential Employee                  Officer                   10/1/2022                 $1,537.11 Out of pocket reimbursements
   4.679   Confidential Employee                  Officer                   10/1/2022                    $95.05 Out of pocket reimbursements
   4.680   Confidential Employee                  Officer                   10/1/2022                     $9.87 Out of pocket reimbursements
   4.681   Confidential Employee                  Officer                   10/1/2022                   $492.32 Out of pocket reimbursements
   4.682   Confidential Employee                  Officer                   10/1/2022                 $2,323.35 Out of pocket reimbursements
   4.683   Confidential Employee                  Officer                   10/6/2022                    $88.93 Out of pocket reimbursements
   4.684   Confidential Employee                  Officer                   10/6/2022                    $82.98 Out of pocket reimbursements
   4.685   Confidential Employee                  Officer                   10/6/2022                   $174.14 Out of pocket reimbursements
   4.686   Confidential Employee                  Officer                  10/14/2022               $11,318.88 Out of pocket reimbursements
   4.687   Confidential Employee                  Officer                  10/15/2022                   $540.20 Out of pocket reimbursements
   4.688   Confidential Employee                  Officer                  10/15/2022               $11,318.88 Out of pocket reimbursements
   4.689   Confidential Employee                  Officer                  10/15/2022                   $197.60 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.690   Confidential Employee                  Officer                  10/15/2022                   $419.95 Out of pocket reimbursements
   4.691   Confidential Employee                  Officer                  10/17/2022                   $467.60 Out of pocket reimbursements
   4.692   Confidential Employee                  Officer                  10/17/2022                   $187.60 Out of pocket reimbursements
   4.693   Confidential Employee                  Officer                  10/20/2022                   $745.96 Out of pocket reimbursements
   4.694   Confidential Employee                  Officer                  10/20/2022                 $1,777.20 Out of pocket reimbursements
   4.695   Confidential Employee                  Officer                  10/20/2022                 $1,338.58 Out of pocket reimbursements
   4.696   Confidential Employee                  Officer                  10/20/2022                   $202.97 Out of pocket reimbursements
   4.697   Confidential Employee                  Officer                  10/21/2022                     $6.00 Out of pocket reimbursements
   4.698   Confidential Employee                  Officer                  10/21/2022                 $1,385.77 Out of pocket reimbursements
   4.699   Confidential Employee                  Officer                  10/21/2022                    $16.26 Out of pocket reimbursements
   4.700   Confidential Employee                  Officer                  10/21/2022                   $160.05 Out of pocket reimbursements
   4.701   Confidential Employee                  Officer                  10/21/2022                   $772.37 Out of pocket reimbursements
   4.702   Confidential Employee                  Officer                  10/22/2022               $20,000.00 Out of pocket reimbursements
   4.703   Confidential Employee                  Officer                  10/22/2022                 $1,675.00 Out of pocket reimbursements
   4.704   Confidential Employee                  Officer                  10/23/2022                   $894.57 Out of pocket reimbursements
   4.705   Confidential Employee                  Officer                  10/28/2022                 $6,659.24 Out of pocket reimbursements
   4.706   Confidential Employee                  Officer                  10/28/2022                    $24.59 Out of pocket reimbursements
   4.707   Confidential Employee                  Officer                  10/28/2022                   $467.60 Out of pocket reimbursements
   4.708   Confidential Employee                  Officer                  10/28/2022                   $106.17 Out of pocket reimbursements
   4.709   Confidential Employee                  Officer                  10/28/2022                   $694.39 Out of pocket reimbursements
   4.710   Confidential Employee                  Officer                  10/28/2022                   $771.54 Out of pocket reimbursements
   4.711   Confidential Employee                  Officer                  10/28/2022                 $2,307.44 Out of pocket reimbursements
   4.712   Confidential Employee                  Officer                   11/1/2022                   $390.03 Out of pocket reimbursements
   4.713   Confidential Employee                  Officer                   11/1/2022                   $390.03 Out of pocket reimbursements
   4.714   Confidential Employee                  Officer                   11/1/2022                   $390.03 Out of pocket reimbursements
   4.715   Confidential Employee                  Officer                   11/1/2022                 $2,781.08 Out of pocket reimbursements
   4.716   Confidential Employee                  Officer                   11/1/2022                   $390.03 Out of pocket reimbursements
   4.717   Confidential Employee                  Officer                   11/1/2022                 $4,277.20 Out of pocket reimbursements
   4.718   Confidential Employee                  Officer                   11/1/2022                 $4,277.20 Out of pocket reimbursements
   4.719   Confidential Employee                  Officer                  11/10/2022                    $26.40 Out of pocket reimbursements
   4.720   Confidential Employee                  Officer                  11/10/2022                   $548.78 Out of pocket reimbursements
   4.721   Confidential Employee                  Officer                  11/10/2022                   $507.60 Out of pocket reimbursements
   4.722   Confidential Employee                  Officer                  11/10/2022                   $317.60 Out of pocket reimbursements
   4.723   Confidential Employee                  Officer                  11/10/2022                   $117.82 Out of pocket reimbursements
   4.724   Confidential Employee                  Officer                  11/10/2022                   $634.41 Out of pocket reimbursements
   4.725   Confidential Employee                  Officer                  11/10/2022                   $335.85 Out of pocket reimbursements
   4.726   Confidential Employee                  Officer                  11/14/2022               $11,115.00 Out of pocket reimbursements
   4.727   Confidential Employee                  Officer                  11/14/2022                 $5,006.20 Out of pocket reimbursements
   4.728   Confidential Employee                  Officer                  11/14/2022                 $1,349.50 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.729   Confidential Employee                  Officer                  11/14/2022                   $665.20 Out of pocket reimbursements
   4.730   Confidential Employee                  Officer                  11/16/2022                 $2,070.38 Out of pocket reimbursements
   4.731   Confidential Employee                  Officer                  11/16/2022                   $327.36 Out of pocket reimbursements
   4.732   Confidential Employee                  Officer                  11/16/2022                    $42.44 Out of pocket reimbursements
   4.733   Confidential Employee                  Officer                  11/16/2022                    $63.32 Out of pocket reimbursements
   4.734   Confidential Employee                  Officer                  11/16/2022                   $108.82 Out of pocket reimbursements
   4.735   Confidential Employee                  Officer                  11/16/2022                   $259.17 Out of pocket reimbursements
   4.736   Confidential Employee                  Officer                  11/21/2022                    $79.97 Out of pocket reimbursements
   4.737   Confidential Employee                  Officer                  11/21/2022                 $1,577.05 Out of pocket reimbursements
   4.738   Confidential Employee                  Officer                  11/21/2022                   $133.60 Out of pocket reimbursements
   4.739   Confidential Employee                  Officer                  11/21/2022                    $79.97 Out of pocket reimbursements
   4.740   Confidential Employee                  Officer                  11/21/2022                    $79.97 Out of pocket reimbursements
   4.741   Confidential Employee                  Officer                  11/21/2022                    $79.97 Out of pocket reimbursements
   4.742   Confidential Employee                  Officer                  11/21/2022                    $59.17 Out of pocket reimbursements
   4.743   Confidential Employee                  Officer                  11/21/2022                    $62.84 Out of pocket reimbursements
   4.744   Confidential Employee                  Officer                  11/21/2022                    $62.24 Out of pocket reimbursements
   4.745   Confidential Employee                  Officer                  11/21/2022                   $345.41 Out of pocket reimbursements
   4.746   Confidential Employee                  Officer                  11/21/2022                   $117.54 Out of pocket reimbursements
   4.747   Confidential Employee                  Officer                  11/21/2022                   $214.48 Out of pocket reimbursements
   4.748   Confidential Employee                  Officer                  11/22/2022                 $1,637.81 Out of pocket reimbursements
   4.749   Confidential Employee                  Officer                  11/22/2022                   $181.36 Out of pocket reimbursements
   4.750   Confidential Employee                  Officer                  11/25/2022                    $46.15 Out of pocket reimbursements
   4.751   Confidential Employee                  Officer                  11/25/2022                    $24.00 Out of pocket reimbursements
   4.752   Confidential Employee                  Officer                  11/25/2022                 $1,637.81 Out of pocket reimbursements
   4.753   Confidential Employee                  Officer                  11/29/2022               $11,115.00 Out of pocket reimbursements
                                                                                  TOTAL:           $574,663.95
   4.754   Confidential Employee                   Officer                   12/1/2022                  $393.96 Out of pocket reimbursements
   4.755   Confidential Employee                   Officer                   12/1/2022                  $625.07 Out of pocket reimbursements
   4.756   Confidential Employee                   Officer                   12/1/2022                   $19.62 Out of pocket reimbursements
   4.757   Confidential Employee                   Officer                   12/1/2022                   $74.59 Out of pocket reimbursements
   4.758   Confidential Employee                   Officer                   12/1/2022                   $34.09 Out of pocket reimbursements
   4.759   Confidential Employee                   Officer                   12/1/2022                   $80.40 Out of pocket reimbursements
   4.760   Confidential Employee                   Officer                   12/1/2022                  $425.96 Out of pocket reimbursements
   4.761   Confidential Employee                   Officer                   12/1/2022                   $32.78 Out of pocket reimbursements
   4.762   Confidential Employee                   Officer                   12/1/2022                   $14.72 Out of pocket reimbursements
   4.763   Confidential Employee                   Officer                   12/8/2022                   $15.00 Out of pocket reimbursements
   4.764   Confidential Employee                   Officer                  12/16/2022                  $425.96 Out of pocket reimbursements
   4.765   Confidential Employee                   Officer                  12/16/2022                   $70.44 Out of pocket reimbursements
   4.766   Confidential Employee                   Officer                  12/16/2022                    $8.00 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
   4.767   Confidential Employee                  Officer                  12/16/2022                    $4.32 Out of pocket reimbursements
   4.768   Confidential Employee                  Officer                  12/16/2022                   $81.95 Out of pocket reimbursements
   4.769   Confidential Employee                  Officer                  12/16/2022                   $10.99 Out of pocket reimbursements
   4.770   Confidential Employee                  Officer                  12/16/2022                   $51.35 Out of pocket reimbursements
   4.771   Confidential Employee                  Officer                  12/16/2022                  $425.96 Out of pocket reimbursements
   4.772   Confidential Employee                  Officer                   1/20/2023                  $382.96 Out of pocket reimbursements
   4.773   Confidential Employee                  Officer                   1/20/2023                   $42.38 Out of pocket reimbursements
   4.774   Confidential Employee                  Officer                   1/20/2023                   $81.96 Out of pocket reimbursements
   4.775   Confidential Employee                  Officer                   2/10/2023                   $25.34 Out of pocket reimbursements
   4.776   Confidential Employee                  Officer                    3/8/2023                   $26.58 Out of pocket reimbursements
   4.777   Confidential Employee                  Officer                   3/22/2023                   $15.76 Out of pocket reimbursements
   4.778   Confidential Employee                  Officer                   3/22/2023                   $35.55 Out of pocket reimbursements
   4.779   Confidential Employee                  Officer                   8/11/2023                  $441.96 Out of pocket reimbursements
   4.780   Confidential Employee                  Officer                   6/22/2023                   $13.95 Out of pocket reimbursements
   4.781   Confidential Employee                  Officer                   6/22/2023                   $30.00 Out of pocket reimbursements
   4.782   Confidential Employee                  Officer                   4/26/2023                   $30.00 Out of pocket reimbursements
   4.783   Confidential Employee                  Officer                   4/26/2023                  $209.96 Out of pocket reimbursements
   4.784   Confidential Employee                  Officer                   4/26/2023                   $37.45 Out of pocket reimbursements
   4.785   Confidential Employee                  Officer                   4/26/2023                  $276.21 Out of pocket reimbursements
   4.786   Confidential Employee                  Officer                   4/26/2023                   $16.91 Out of pocket reimbursements
   4.787   Confidential Employee                  Officer                   4/26/2023                   $88.74 Out of pocket reimbursements
   4.788   Confidential Employee                  Officer                   8/15/2022               $12,500.00 Wages
   4.789   Confidential Employee                  Officer                   8/31/2022               $12,500.00 Wages
   4.790   Confidential Employee                  Officer                   9/15/2022               $12,500.00 Wages
   4.791   Confidential Employee                  Officer                   9/30/2022               $12,500.00 Wages
   4.792   Confidential Employee                  Officer                  10/15/2022               $12,500.00 Wages
   4.793   Confidential Employee                  Officer                  10/31/2022               $12,500.00 Wages
   4.794   Confidential Employee                  Officer                   11/7/2022                   $76.41 Bonus - $50 Thanksgiving
   4.795   Confidential Employee                  Officer                  11/15/2022               $12,500.00 Wages
   4.796   Confidential Employee                  Officer                  11/30/2022               $12,500.00 Wages
   4.797   Confidential Employee                  Officer                  12/15/2022               $12,500.00 Wages
   4.798   Confidential Employee                  Officer                  12/31/2022               $12,500.00 Wages
   4.799   Confidential Employee                  Officer                   1/15/2023               $12,500.00 Wages
   4.800   Confidential Employee                  Officer                   1/31/2023               $12,500.00 Wages
   4.801   Confidential Employee                  Officer                   2/15/2023               $12,500.00 Wages
   4.802   Confidential Employee                  Officer                   2/28/2023               $12,500.00 Wages
   4.803   Confidential Employee                  Officer                   3/15/2023               $12,500.00 Wages
   4.804   Confidential Employee                  Officer                   3/31/2023               $12,500.00 Wages
   4.805   Confidential Employee                  Officer                   4/15/2023               $12,500.00 Wages

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount     Reason for Payment or Transfer
   4.806   Confidential Employee                  Officer                   4/30/2023               $12,500.00 Wages
   4.807   Confidential Employee                  Officer                    5/9/2023                   $42.20 Wages
   4.808   Confidential Employee                  Officer                   5/15/2023               $12,500.00 Wages
   4.809   Confidential Employee                  Officer                   5/31/2023               $12,500.00 Wages
   4.810   Confidential Employee                  Officer                   6/15/2023               $12,500.00 Wages
   4.811   Confidential Employee                  Officer                   6/30/2023               $12,500.00 Wages
   4.812   Confidential Employee                  Officer                   7/15/2023               $12,500.00 Wages
   4.813   Confidential Employee                  Officer                   7/31/2023               $12,500.00 Wages
   4.814   Confidential Employee                  Officer                   8/15/2023               $12,500.00 Wages
                                                                                  TOTAL:             $317,169.48
   4.815   Confidential Employee                   Officer                 11/10/2022                     $91.00 Out of pocket reimbursements
   4.816   Confidential Employee                   Officer                 11/10/2022                  $1,264.47 Out of pocket reimbursements
   4.817   Confidential Employee                   Officer                 11/10/2022                     $15.97 Out of pocket reimbursements
   4.818   Confidential Employee                   Officer                 11/10/2022                     $78.52 Out of pocket reimbursements
   4.819   Confidential Employee                   Officer                 11/10/2022                    $122.69 Out of pocket reimbursements
   4.820   Confidential Employee                   Officer                 11/10/2022                     $43.21 Out of pocket reimbursements
   4.821   Confidential Employee                   Officer                 11/10/2022                     $35.90 Out of pocket reimbursements
   4.822   Confidential Employee                   Officer                 11/10/2022                     $43.08 Out of pocket reimbursements
   4.823   Confidential Employee                   Officer                 11/10/2022                    $872.85 Out of pocket reimbursements
   4.824   Confidential Employee                   Officer                 11/10/2022                    $109.12 Out of pocket reimbursements
   4.825   Confidential Employee                   Officer                 11/10/2022                     $88.76 Out of pocket reimbursements
   4.826   Confidential Employee                   Officer                  8/15/2022                 $12,083.33 Wages
   4.827   Confidential Employee                   Officer                  8/31/2022                 $12,083.33 Wages
   4.828   Confidential Employee                   Officer                  9/15/2022                 $12,083.33 Wages
   4.829   Confidential Employee                   Officer                  9/30/2022                 $12,083.33 Wages
   4.830   Confidential Employee                   Officer                 10/15/2022                 $12,083.34 Wages
   4.831   Confidential Employee                   Officer                 10/31/2022                 $12,083.34 Wages
   4.832   Confidential Employee                   Officer                  11/7/2022                     $87.01 Bonus - $50 Thanksgiving
   4.833   Confidential Employee                   Officer                 11/15/2022                 $12,083.34 Wages
   4.834   Confidential Employee                   Officer                 11/30/2022                 $12,083.34 Wages
   4.835   Confidential Employee                   Officer                 12/15/2022                 $12,083.34 Wages
   4.836   Confidential Employee                   Officer                 12/31/2022                 $12,083.34 Wages
   4.837   Confidential Employee                   Officer                  1/15/2023                 $12,083.34 Wages
   4.838   Confidential Employee                   Officer                  1/31/2023                 $12,103.34 Wages
                                                                                  TOTAL:             $147,872.62
   4.839   Confidential Employee                   Officer                  8/15/2022                 $12,500.00 Wages
   4.840   Confidential Employee                   Officer                  8/31/2022                 $12,500.00 Wages
   4.841   Confidential Employee                   Officer                  9/15/2022                 $12,500.00 Wages
   4.842   Confidential Employee                   Officer                  9/30/2022                 $12,500.00 Wages

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.843   Confidential Employee                  Officer                  10/15/2022               $12,600.00 Wages
   4.844   Confidential Employee                  Officer                  10/31/2022               $12,500.00 Wages
   4.845   Confidential Employee                  Officer                   11/7/2022                    $86.19 Bonus - $50 Thanksgiving
   4.846   Confidential Employee                  Officer                  11/15/2022               $12,600.00 Wages
   4.847   Confidential Employee                  Officer                  11/30/2022               $12,500.00 Wages
   4.848   Confidential Employee                  Officer                  12/15/2022               $14,683.34 Wages
   4.849   Confidential Employee                  Officer                  12/31/2022               $14,583.34 Wages
   4.850   Confidential Employee                  Officer                   1/15/2023               $14,683.34 Wages
   4.851   Confidential Employee                  Officer                   1/31/2023               $14,583.34 Wages
   4.852   Confidential Employee                  Officer                   2/15/2023               $14,583.34 Wages
   4.853   Confidential Employee                  Officer                   2/28/2023               $14,583.34 Wages
   4.854   Confidential Employee                  Officer                   3/15/2023               $14,583.34 Wages
   4.855   Confidential Employee                  Officer                   3/31/2023               $14,583.34 Wages
   4.856   Confidential Employee                  Officer                   4/15/2023               $14,583.34 Wages
   4.857   Confidential Employee                  Officer                   4/30/2023               $14,583.34 Wages
   4.858   Confidential Employee                  Officer                    5/9/2023                    $42.20 Bonus - $25 - 17days and 17deals
   4.859   Confidential Employee                  Officer                   5/15/2023               $14,583.34 Wages
   4.860   Confidential Employee                  Officer                   5/31/2023               $14,583.34 Wages
   4.861   Confidential Employee                  Officer                   6/15/2023               $14,583.34 Wages
   4.862   Confidential Employee                  Officer                   6/30/2023               $14,583.34 Wages
   4.863   Confidential Employee                  Officer                   7/15/2023               $14,583.34 Wages
   4.864   Confidential Employee                  Officer                   7/31/2023               $14,583.34 Wages
   4.865   Confidential Employee                  Officer                   8/15/2023               $14,583.34 Wages
   4.866   Confidential Employee                  Officer                   8/18/2022                    $77.29 Out of pocket reimbursements
   4.867   Confidential Employee                  Officer                   8/18/2022                    $67.91 Out of pocket reimbursements
   4.868   Confidential Employee                  Officer                   8/18/2022                     $3.38 Out of pocket reimbursements
   4.869   Confidential Employee                  Officer                   8/18/2022                     $7.00 Out of pocket reimbursements
   4.870   Confidential Employee                  Officer                   8/18/2022                    $18.68 Out of pocket reimbursements
   4.871   Confidential Employee                  Officer                   8/18/2022                    $80.00 Out of pocket reimbursements
   4.872   Confidential Employee                  Officer                   8/26/2022                    $41.99 Out of pocket reimbursements
   4.873   Confidential Employee                  Officer                   9/19/2022                    $17.00 Out of pocket reimbursements
   4.874   Confidential Employee                  Officer                   9/29/2022                    $51.72 Out of pocket reimbursements
   4.875   Confidential Employee                  Officer                   9/29/2022                    $14.95 Out of pocket reimbursements
   4.876   Confidential Employee                  Officer                   9/29/2022                   $101.58 Out of pocket reimbursements
   4.877   Confidential Employee                  Officer                   9/29/2022                    $13.99 Out of pocket reimbursements
   4.878   Confidential Employee                  Officer                   10/9/2022                   $139.44 Out of pocket reimbursements
   4.879   Confidential Employee                  Officer                  10/12/2022                 $4,250.00 Out of pocket reimbursements
   4.880   Confidential Employee                  Officer                  10/20/2022                 $1,695.20 Out of pocket reimbursements
   4.881   Confidential Employee                  Officer                  10/20/2022                 $1,165.20 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
   4.882   Confidential Employee                  Officer                  10/26/2022                  $225.00 Out of pocket reimbursements
   4.883   Confidential Employee                  Officer                   11/6/2022                  $399.00 Out of pocket reimbursements
   4.884   Confidential Employee                  Officer                   11/6/2022                   $15.04 Out of pocket reimbursements
   4.885   Confidential Employee                  Officer                   11/6/2022                   $73.98 Out of pocket reimbursements
   4.886   Confidential Employee                  Officer                   11/6/2022                  $147.00 Out of pocket reimbursements
   4.887   Confidential Employee                  Officer                   11/6/2022                   $65.33 Out of pocket reimbursements
   4.888   Confidential Employee                  Officer                   11/6/2022                   $80.00 Out of pocket reimbursements
   4.889   Confidential Employee                  Officer                   11/6/2022                  $707.93 Out of pocket reimbursements
   4.890   Confidential Employee                  Officer                   11/6/2022                   $21.80 Out of pocket reimbursements
   4.891   Confidential Employee                  Officer                   11/6/2022                   $38.50 Out of pocket reimbursements
   4.892   Confidential Employee                  Officer                   11/6/2022                   $80.00 Out of pocket reimbursements
   4.893   Confidential Employee                  Officer                  11/10/2022                   $68.70 Out of pocket reimbursements
   4.894   Confidential Employee                  Officer                  11/10/2022                   $80.00 Out of pocket reimbursements
   4.895   Confidential Employee                  Officer                  11/10/2022                   $29.76 Out of pocket reimbursements
   4.896   Confidential Employee                  Officer                  11/10/2022                   $12.89 Out of pocket reimbursements
   4.897   Confidential Employee                  Officer                  11/10/2022                    $4.65 Out of pocket reimbursements
   4.898   Confidential Employee                  Officer                  11/10/2022                    $9.87 Out of pocket reimbursements
   4.899   Confidential Employee                  Officer                  11/10/2022                   $26.66 Out of pocket reimbursements
   4.900   Confidential Employee                  Officer                  11/10/2022                   $70.02 Out of pocket reimbursements
   4.901   Confidential Employee                  Officer                  11/10/2022                   $28.52 Out of pocket reimbursements
   4.902   Confidential Employee                  Officer                  11/10/2022                   $28.53 Out of pocket reimbursements
   4.903   Confidential Employee                  Officer                  11/10/2022                  $226.34 Out of pocket reimbursements
   4.904   Confidential Employee                  Officer                  11/10/2022                  $206.14 Out of pocket reimbursements
   4.905   Confidential Employee                  Officer                  11/10/2022                   $61.62 Out of pocket reimbursements
   4.906   Confidential Employee                  Officer                  11/10/2022                   $12.03 Out of pocket reimbursements
   4.907   Confidential Employee                  Officer                  11/10/2022                    $3.25 Out of pocket reimbursements
   4.908   Confidential Employee                  Officer                  11/10/2022                    $9.56 Out of pocket reimbursements
   4.909   Confidential Employee                  Officer                  11/10/2022                   $71.94 Out of pocket reimbursements
   4.910   Confidential Employee                  Officer                  11/10/2022                   $21.12 Out of pocket reimbursements
   4.911   Confidential Employee                  Officer                  11/10/2022                   $80.00 Out of pocket reimbursements
   4.912   Confidential Employee                  Officer                  11/19/2022                  $169.00 Out of pocket reimbursements
   4.913   Confidential Employee                  Officer                  11/19/2022                   $80.00 Out of pocket reimbursements
   4.914   Confidential Employee                  Officer                  11/19/2022                   $56.63 Out of pocket reimbursements
   4.915   Confidential Employee                  Officer                  11/19/2022                  $179.52 Out of pocket reimbursements
   4.916   Confidential Employee                  Officer                  11/19/2022                  $681.92 Out of pocket reimbursements
   4.917   Confidential Employee                  Officer                  11/19/2022                  $351.84 Out of pocket reimbursements
   4.918   Confidential Employee                  Officer                  11/19/2022                  $770.40 Out of pocket reimbursements
   4.919   Confidential Employee                  Officer                  11/19/2022                   $20.05 Out of pocket reimbursements
   4.920   Confidential Employee                  Officer                  11/19/2022                   $49.34 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.921   Confidential Employee                  Officer                  11/19/2022                   $349.07 Out of pocket reimbursements
   4.922   Confidential Employee                  Officer                  11/19/2022                   $352.96 Out of pocket reimbursements
   4.923   Confidential Employee                  Officer                  11/19/2022                   $351.38 Out of pocket reimbursements
   4.924   Confidential Employee                  Officer                  11/19/2022                    $22.26 Out of pocket reimbursements
   4.925   Confidential Employee                  Officer                  11/19/2022                     $3.25 Out of pocket reimbursements
   4.926   Confidential Employee                  Officer                  11/19/2022                    $15.11 Out of pocket reimbursements
   4.927   Confidential Employee                  Officer                  11/19/2022                     $3.25 Out of pocket reimbursements
   4.928   Confidential Employee                  Officer                  11/19/2022                    $80.00 Out of pocket reimbursements
   4.929   Confidential Employee                  Officer                  11/19/2022                    $76.44 Out of pocket reimbursements
   4.930   Confidential Employee                  Officer                  11/19/2022                    $26.26 Out of pocket reimbursements
   4.931   Confidential Employee                  Officer                  11/19/2022                 $1,155.20 Out of pocket reimbursements
   4.932   Confidential Employee                  Officer                  11/27/2022                 $1,145.20 Out of pocket reimbursements
   4.933   Confidential Employee                  Officer                   12/2/2022                    $16.52 Out of pocket reimbursements
   4.934   Confidential Employee                  Officer                   12/2/2022                    $45.09 Out of pocket reimbursements
   4.935   Confidential Employee                  Officer                   12/2/2022                     $5.48 Out of pocket reimbursements
   4.936   Confidential Employee                  Officer                   12/2/2022                   $203.07 Out of pocket reimbursements
   4.937   Confidential Employee                  Officer                   12/2/2022                     $9.74 Out of pocket reimbursements
   4.938   Confidential Employee                  Officer                   12/2/2022                    $98.88 Out of pocket reimbursements
   4.939   Confidential Employee                  Officer                   12/2/2022                    $56.11 Out of pocket reimbursements
   4.940   Confidential Employee                  Officer                   12/4/2022                   $203.65 Out of pocket reimbursements
   4.941   Confidential Employee                  Officer                   12/4/2022                   $160.00 Out of pocket reimbursements
   4.942   Confidential Employee                  Officer                   12/4/2022                    $85.14 Out of pocket reimbursements
   4.943   Confidential Employee                  Officer                   12/6/2022                   $697.51 Out of pocket reimbursements
   4.944   Confidential Employee                  Officer                   12/6/2022                    $72.00 Out of pocket reimbursements
   4.945   Confidential Employee                  Officer                  12/16/2022                   $112.97 Out of pocket reimbursements
   4.946   Confidential Employee                  Officer                  12/16/2022                     $7.86 Out of pocket reimbursements
   4.947   Confidential Employee                  Officer                  12/16/2022                    $80.00 Out of pocket reimbursements
   4.948   Confidential Employee                  Officer                  12/16/2022                    $20.06 Out of pocket reimbursements
   4.949   Confidential Employee                  Officer                  12/16/2022                    $77.37 Out of pocket reimbursements
   4.950   Confidential Employee                  Officer                  12/16/2022                    $80.00 Out of pocket reimbursements
   4.951   Confidential Employee                  Officer                  12/16/2022                     $9.62 Out of pocket reimbursements
   4.952   Confidential Employee                  Officer                  12/16/2022                    $70.28 Out of pocket reimbursements
   4.953   Confidential Employee                  Officer                  12/16/2022                    $44.64 Out of pocket reimbursements
   4.954   Confidential Employee                  Officer                   1/10/2023                   $277.80 Out of pocket reimbursements
   4.955   Confidential Employee                  Officer                   1/19/2023                     $9.74 Out of pocket reimbursements
   4.956   Confidential Employee                  Officer                   1/19/2023                    $80.00 Out of pocket reimbursements
   4.957   Confidential Employee                  Officer                   1/19/2023                    $61.56 Out of pocket reimbursements
   4.958   Confidential Employee                  Officer                   1/19/2023                    $10.18 Out of pocket reimbursements
   4.959   Confidential Employee                  Officer                   1/19/2023                     $6.78 Out of pocket reimbursements

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              Insider's Name            Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.960   Confidential Employee                  Officer                   1/19/2023                    $91.68 Out of pocket reimbursements
   4.961   Confidential Employee                  Officer                   1/19/2023                     $5.00 Out of pocket reimbursements
   4.962   Confidential Employee                  Officer                   1/19/2023                    $80.00 Out of pocket reimbursements
   4.963   Confidential Employee                  Officer                   1/19/2023                    $87.58 Out of pocket reimbursements
   4.964   Confidential Employee                  Officer                   1/19/2023                    $20.56 Out of pocket reimbursements
   4.965   Confidential Employee                  Officer                   2/23/2023                 $3,314.89 Out of pocket reimbursements
   4.966   Confidential Employee                  Officer                   3/12/2023                   $125.00 Out of pocket reimbursements
   4.967   Confidential Employee                  Officer                   3/29/2023                   $322.80 Out of pocket reimbursements
   4.968   Confidential Employee                  Officer                   8/15/2023                   $160.00 Out of pocket reimbursements
   4.969   Confidential Employee                  Officer                   8/11/2023                     $9.43 Out of pocket reimbursements
   4.970   Confidential Employee                  Officer                   8/11/2023                    $51.17 Out of pocket reimbursements
   4.971   Confidential Employee                  Officer                   8/10/2023                    $24.00 Out of pocket reimbursements
   4.972   Confidential Employee                  Officer                   8/11/2023                    $33.79 Out of pocket reimbursements
   4.973   Confidential Employee                  Officer                   8/11/2023                    $99.34 Out of pocket reimbursements
   4.974   Confidential Employee                  Officer                   8/11/2023                    $51.26 Out of pocket reimbursements
   4.975   Confidential Employee                  Officer                    8/9/2023                    $81.17 Out of pocket reimbursements
   4.976   Confidential Employee                  Officer                   8/11/2023                     $6.50 Out of pocket reimbursements
   4.977   Confidential Employee                  Officer                    8/6/2023                   $280.80 Out of pocket reimbursements
   4.978   Confidential Employee                  Officer                   7/31/2023                   $527.25 Out of pocket reimbursements
   4.979   Confidential Employee                  Officer                    6/7/2023                    $97.71 Out of pocket reimbursements
   4.980   Confidential Employee                  Officer                    6/7/2023                   $125.00 Out of pocket reimbursements
   4.981   Confidential Employee                  Officer                    5/8/2023                   $160.00 Out of pocket reimbursements
   4.982   Confidential Employee                  Officer                    5/8/2023                    $72.77 Out of pocket reimbursements
   4.983   Confidential Employee                  Officer                    5/8/2023                    $29.81 Out of pocket reimbursements
   4.984   Confidential Employee                  Officer                    5/8/2023                    $66.27 Out of pocket reimbursements
   4.985   Confidential Employee                  Officer                    5/8/2023                    $66.66 Out of pocket reimbursements
   4.986   Confidential Employee                  Officer                    5/8/2023                    $10.46 Out of pocket reimbursements
   4.987   Confidential Employee                  Officer                    5/8/2023                     $6.50 Out of pocket reimbursements
   4.988   Confidential Employee                  Officer                    5/8/2023                    $96.47 Out of pocket reimbursements
   4.989   Confidential Employee                  Officer                    5/8/2023                    $18.53 Out of pocket reimbursements
   4.990   Confidential Employee                  Officer                    5/8/2023                    $15.00 Out of pocket reimbursements
                                                                                  TOTAL:             $373,774.21
   4.991 Confidential Employee                     Director                 11/25/2022                 $6,476.47 Out of pocket reimbursements
                                                                                  TOTAL:               $6,476.47
   4.992   Confidential Employee                   Officer                   8/15/2022                $16,666.67 Wages
   4.993   Confidential Employee                   Officer                   8/31/2022                $16,666.67 Wages
   4.994   Confidential Employee                   Officer                   9/15/2022                $16,666.67 Wages
   4.995   Confidential Employee                   Officer                   9/30/2022                $16,666.67 Wages
   4.996   Confidential Employee                   Officer                  10/15/2022                $16,766.67 Wages

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             Insider's Name             Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
    4.997 Confidential Employee                   Officer                  10/31/2022               $16,666.67 Wages
    4.998 Confidential Employee                   Officer                   11/7/2022                   $80.60 Bonus - $50 Thanksgiving
    4.999 Confidential Employee                   Officer                  11/15/2022               $16,766.67 Wages
   4.1000 Confidential Employee                   Officer                  11/30/2022               $16,666.67 Wages
   4.1001 Confidential Employee                   Officer                  12/15/2022               $16,766.67 Wages
   4.1002 Confidential Employee                   Officer                  12/31/2022               $16,666.67 Wages
   4.1003 Confidential Employee                   Officer                   1/15/2023               $16,766.67 Wages
   4.1004 Confidential Employee                   Officer                   1/31/2023               $16,666.67 Wages
   4.1005 Confidential Employee                   Officer                   2/10/2023               $12,141.21 Wages
   4.1006 Confidential Employee                   Officer                   3/15/2023              $201,814.51 Out of pocket reimbursements
   4.1007 Confidential Employee                   Officer                   8/19/2022                   $25.32 Out of pocket reimbursements
   4.1008 Confidential Employee                   Officer                   8/19/2022                   $27.19 Out of pocket reimbursements
   4.1009 Confidential Employee                   Officer                   8/19/2022                   $57.64 Out of pocket reimbursements
   4.1010 Confidential Employee                   Officer                   8/19/2022                   $13.63 Out of pocket reimbursements
   4.1011 Confidential Employee                   Officer                   8/19/2022                   $10.00 Out of pocket reimbursements
   4.1012 Confidential Employee                   Officer                   8/24/2022                  $250.96 Out of pocket reimbursements
   4.1013 Confidential Employee                   Officer                   8/31/2022                   $18.50 Out of pocket reimbursements
   4.1014 Confidential Employee                   Officer                   8/31/2022                   $19.69 Out of pocket reimbursements
   4.1015 Confidential Employee                   Officer                   8/31/2022                   $14.45 Out of pocket reimbursements
   4.1016 Confidential Employee                   Officer                   8/31/2022                   $36.92 Out of pocket reimbursements
   4.1017 Confidential Employee                   Officer                   8/31/2022                   $12.17 Out of pocket reimbursements
   4.1018 Confidential Employee                   Officer                   8/31/2022                   $24.99 Out of pocket reimbursements
   4.1019 Confidential Employee                   Officer                   8/31/2022                   $18.15 Out of pocket reimbursements
   4.1020 Confidential Employee                   Officer                   8/31/2022                  $115.37 Out of pocket reimbursements
   4.1021 Confidential Employee                   Officer                   8/31/2022                   $25.60 Out of pocket reimbursements
   4.1022 Confidential Employee                   Officer                    9/6/2022                   $26.99 Out of pocket reimbursements
   4.1023 Confidential Employee                   Officer                    9/6/2022                   $30.90 Out of pocket reimbursements
   4.1024 Confidential Employee                   Officer                    9/6/2022                  $280.95 Out of pocket reimbursements
   4.1025 Confidential Employee                   Officer                    9/6/2022                   $27.86 Out of pocket reimbursements
   4.1026 Confidential Employee                   Officer                    9/7/2022                   $33.90 Out of pocket reimbursements
   4.1027 Confidential Employee                   Officer                    9/7/2022                   $37.03 Out of pocket reimbursements
   4.1028 Confidential Employee                   Officer                  10/31/2022                  $100.89 Out of pocket reimbursements
   4.1029 Confidential Employee                   Officer                  10/31/2022                   $57.23 Out of pocket reimbursements
   4.1030 Confidential Employee                   Officer                  10/31/2022                  $188.98 Out of pocket reimbursements
   4.1031 Confidential Employee                   Officer                  10/31/2022                  $158.98 Out of pocket reimbursements
   4.1032 Confidential Employee                   Officer                  10/31/2022                  $266.98 Out of pocket reimbursements
   4.1033 Confidential Employee                   Officer                  10/31/2022                   $88.98 Out of pocket reimbursements
   4.1034 Confidential Employee                   Officer                   11/3/2022                   $17.67 Out of pocket reimbursements
   4.1035 Confidential Employee                   Officer                   11/3/2022                   $36.47 Out of pocket reimbursements

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             Insider's Name             Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
   4.1036 Confidential Employee                   Officer                  11/10/2022                   $12.71 Out of pocket reimbursements
   4.1037 Confidential Employee                   Officer                  11/10/2022                   $29.80 Out of pocket reimbursements
   4.1038 Confidential Employee                   Officer                  11/10/2022                  $115.00 Out of pocket reimbursements
   4.1039 Confidential Employee                   Officer                  11/10/2022                   $19.95 Out of pocket reimbursements
   4.1040 Confidential Employee                   Officer                  11/10/2022                   $20.69 Out of pocket reimbursements
   4.1041 Confidential Employee                   Officer                  11/10/2022                   $29.87 Out of pocket reimbursements
   4.1042 Confidential Employee                   Officer                  11/10/2022                   $24.93 Out of pocket reimbursements
   4.1043 Confidential Employee                   Officer                  11/10/2022                   $14.78 Out of pocket reimbursements
   4.1044 Confidential Employee                   Officer                  11/10/2022                   $26.32 Out of pocket reimbursements
   4.1045 Confidential Employee                   Officer                  11/10/2022                   $11.39 Out of pocket reimbursements
   4.1046 Confidential Employee                   Officer                  11/10/2022                   $65.92 Out of pocket reimbursements
   4.1047 Confidential Employee                   Officer                  11/10/2022                   $36.82 Out of pocket reimbursements
   4.1048 Confidential Employee                   Officer                  11/10/2022                   $11.37 Out of pocket reimbursements
   4.1049 Confidential Employee                   Officer                  11/10/2022                    $3.99 Out of pocket reimbursements
   4.1050 Confidential Employee                   Officer                  11/10/2022                   $11.91 Out of pocket reimbursements
   4.1051 Confidential Employee                   Officer                  11/10/2022                   $32.99 Out of pocket reimbursements
   4.1052 Confidential Employee                   Officer                  11/10/2022                   $15.18 Out of pocket reimbursements
                                                                                  TOTAL:             $416,944.37
   4.1053 Confidential Employee                    Officer                   9/19/2022                   $400.00 Out of pocket reimbursements
   4.1054 Confidential Employee                    Officer                   9/19/2022                   $199.00 Out of pocket reimbursements
   4.1055 Confidential Employee                    Officer                   10/6/2022                     $6.00 Out of pocket reimbursements
   4.1056 Confidential Employee                    Officer                   10/6/2022                    $18.00 Out of pocket reimbursements
   4.1057 Confidential Employee                    Officer                   10/6/2022                    $18.00 Out of pocket reimbursements
   4.1058 Confidential Employee                    Officer                   10/6/2022                    $25.00 Out of pocket reimbursements
   4.1059 Confidential Employee                    Officer                  12/16/2022                    $17.10 Out of pocket reimbursements
   4.1060 Confidential Employee                    Officer                  12/16/2022                    $44.87 Out of pocket reimbursements
   4.1061 Confidential Employee                    Officer                  12/16/2022                     $3.85 Out of pocket reimbursements
   4.1062 Confidential Employee                    Officer                  12/16/2022                    $36.00 Out of pocket reimbursements
   4.1063 Confidential Employee                    Officer                  12/16/2022                   $362.37 Out of pocket reimbursements
   4.1064 Confidential Employee                    Officer                  12/16/2022                     $3.85 Out of pocket reimbursements
   4.1065 Confidential Employee                    Officer                  12/16/2022                    $44.65 Out of pocket reimbursements
   4.1066 Confidential Employee                    Officer                  12/16/2022                    $35.07 Out of pocket reimbursements
   4.1067 Confidential Employee                    Officer                  12/16/2022                   $177.96 Out of pocket reimbursements
   4.1068 Confidential Employee                    Officer                  12/16/2022                    $25.00 Out of pocket reimbursements
   4.1069 Confidential Employee                    Officer                   1/19/2023                    $26.00 Out of pocket reimbursements
   4.1070 Confidential Employee                    Officer                   1/19/2023                    $30.00 Out of pocket reimbursements
   4.1071 Confidential Employee                    Officer                   1/19/2023                   $147.96 Out of pocket reimbursements
   4.1072 Confidential Employee                    Officer                   8/15/2022                $12,500.00 Wages
   4.1073 Confidential Employee                    Officer                   8/31/2022                $12,500.00 Wages

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             Insider's Name             Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.1074 Confidential Employee                   Officer                   9/15/2022               $12,500.00 Wages
   4.1075 Confidential Employee                   Officer                   9/30/2022               $12,600.00 Wages
   4.1076 Confidential Employee                   Officer                  10/15/2022               $12,600.00 Wages
   4.1077 Confidential Employee                   Officer                  10/31/2022               $12,500.00 Wages
   4.1078 Confidential Employee                   Officer                   11/7/2022                    $78.04 Bonus - $50 Thanksgiving
   4.1079 Confidential Employee                   Officer                  11/15/2022               $12,609.00 Wages
   4.1080 Confidential Employee                   Officer                  11/30/2022               $12,500.00 Wages
   4.1081 Confidential Employee                   Officer                  12/15/2022               $12,600.00 Wages
   4.1082 Confidential Employee                   Officer                  12/31/2022               $12,500.00 Wages
   4.1083 Confidential Employee                   Officer                   1/15/2023               $12,600.00 Wages
   4.1084 Confidential Employee                   Officer                   1/31/2023               $12,500.00 Wages
   4.1085 Confidential Employee                   Officer                    2/1/2023                 $1,156.36 Wages
   4.1086 Confidential Employee                   Officer                   2/21/2023               $13,919.00 Wages
                                                                                  TOTAL:           $167,283.08
   4.1087 Confidential Employee                    Officer                  8/15/2022               $14,583.33 Wages
   4.1088 Confidential Employee                    Officer                  8/31/2022               $14,583.33 Wages
   4.1089 Confidential Employee                    Officer                  9/15/2022               $14,583.33 Wages
   4.1090 Confidential Employee                    Officer                  9/30/2022               $14,583.33 Wages
   4.1091 Confidential Employee                    Officer                 10/15/2022               $14,683.34 Wages
   4.1092 Confidential Employee                    Officer                 10/31/2022               $14,583.34 Wages
   4.1093 Confidential Employee                    Officer                  11/7/2022                    $79.77 Bonus - $50 Thanksgiving
   4.1094 Confidential Employee                    Officer                 11/15/2022               $14,683.34 Wages
   4.1095 Confidential Employee                    Officer                 11/30/2022               $14,583.34 Wages
   4.1096 Confidential Employee                    Officer                 12/15/2022               $14,683.34 Wages
   4.1097 Confidential Employee                    Officer                 12/31/2022               $14,583.34 Wages
   4.1098 Confidential Employee                    Officer                  1/15/2023               $14,683.34 Wages
   4.1099 Confidential Employee                    Officer                  1/31/2023               $14,583.34 Wages
   4.1100 Confidential Employee                    Officer                  2/15/2023               $14,583.34 Wages
   4.1101 Confidential Employee                    Officer                  2/28/2023               $14,583.34 Wages
   4.1102 Confidential Employee                    Officer                  3/15/2023               $14,583.34 Wages
   4.1103 Confidential Employee                    Officer                  3/31/2023               $14,583.34 Wages
   4.1104 Confidential Employee                    Officer                  4/15/2023               $14,583.34 Wages
   4.1105 Confidential Employee                    Officer                  4/30/2023               $14,583.34 Wages
   4.1106 Confidential Employee                    Officer                   5/9/2023                    $42.20 Wages
   4.1107 Confidential Employee                    Officer                  5/15/2023               $14,583.34 Wages
   4.1108 Confidential Employee                    Officer                  5/31/2023               $14,583.34 Wages
   4.1109 Confidential Employee                    Officer                  6/15/2023               $14,583.34 Wages
   4.1110 Confidential Employee                    Officer                  6/30/2023               $14,583.34 Wages
   4.1111 Confidential Employee                    Officer                  7/15/2023               $14,583.34 Wages

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             Insider's Name             Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.1112 Confidential Employee                   Officer                   7/31/2023               $14,583.34 Wages
   4.1113 Confidential Employee                   Officer                   8/14/2023                   $500.00 Wages
   4.1114 Confidential Employee                   Officer                   8/15/2023               $14,583.34 Wages
                                                                                  TOTAL:           $365,605.43
   4.1115 Confidential Employee                    Officer                  8/17/2022                   $484.80 Out of pocket reimbursements
   4.1116 Confidential Employee                    Officer                  9/15/2022                    $25.42 Out of pocket reimbursements
   4.1117 Confidential Employee                    Officer                  8/15/2022               $14,583.33 Wages
   4.1118 Confidential Employee                    Officer                  8/31/2022               $14,583.33 Wages
   4.1119 Confidential Employee                    Officer                  9/15/2022               $14,583.33 Wages
   4.1120 Confidential Employee                    Officer                  9/30/2022               $14,583.33 Wages
   4.1121 Confidential Employee                    Officer                 10/15/2022               $14,683.34 Wages
   4.1122 Confidential Employee                    Officer                 10/31/2022               $14,583.34 Wages
   4.1123 Confidential Employee                    Officer                  11/1/2022                 $1,325.76 Wages
   4.1124 Confidential Employee                    Officer                  11/7/2022              $372,579.20 Wages
                                                                                  TOTAL:             $462,015.18
   4.1125 Confidential Employee                    Officer                  8/15/2022                  $5,416.67 Wages
   4.1126 Confidential Employee                    Officer                  8/31/2022                  $5,416.67 Wages
   4.1127 Confidential Employee                    Officer                  9/15/2022                  $5,416.67 Wages
   4.1128 Confidential Employee                    Officer                  9/30/2022                  $5,416.67 Wages
   4.1129 Confidential Employee                    Officer                 10/15/2022                  $5,516.67 Wages
   4.1130 Confidential Employee                    Officer                 10/19/2022                     $20.00 Out of pocket reimbursements
   4.1131 Confidential Employee                    Officer                 10/19/2022                  $2,462.12 Wages
   4.1132 Confidential Employee                    Officer                  11/9/2022                  $1,982.65 Wages
   4.1133 Confidential Employee                    Officer                 12/15/2022                 $12,978.79 Wages
   4.1134 Confidential Employee                    Officer                 12/31/2022                 $34,332.75 Out of pocket reimbursements
   4.1135 Confidential Employee                    Officer                 12/31/2022                  $8,333.34 Wages
   4.1136 Confidential Employee                    Officer                  1/15/2023                 $11,766.67 Wages
   4.1137 Confidential Employee                    Officer                  1/31/2023                 $11,666.67 Wages
   4.1138 Confidential Employee                    Officer                  2/15/2023                 $11,666.67 Wages
   4.1139 Confidential Employee                    Officer                  2/28/2023                 $11,666.67 Wages
   4.1140 Confidential Employee                    Officer                  3/15/2023                 $11,666.67 Wages
   4.1141 Confidential Employee                    Officer                  3/31/2023                 $11,667.69 Wages
   4.1142 Confidential Employee                    Officer                  4/15/2023                 $11,666.67 Wages
   4.1143 Confidential Employee                    Officer                  4/30/2023                 $11,666.67 Wages
   4.1144 Confidential Employee                    Officer                   5/9/2023                     $42.20 Bonus - $25 - 17days and 17deals
   4.1145 Confidential Employee                    Officer                  5/15/2023                 $11,666.67 Wages
   4.1146 Confidential Employee                    Officer                  5/31/2023                 $12,066.67 Wages
   4.1147 Confidential Employee                    Officer                  6/15/2023                 $11,766.67 Wages
   4.1148 Confidential Employee                    Officer                  6/30/2023                 $11,666.67 Wages

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             Insider's Name             Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.1149 Confidential Employee                   Officer                   7/15/2023               $11,766.67 Wages
   4.1150 Confidential Employee                   Officer                   7/31/2023               $11,666.67 Wages
   4.1151 Confidential Employee                   Officer                   8/11/2023               $25,000.00 Bonus
   4.1152 Confidential Employee                   Officer                   8/15/2023               $11,766.67 Wages
   4.1153 Confidential Employee                   Officer                  11/28/2022                   $262.40 Out of pocket reimbursements
   4.1154 Confidential Employee                   Officer                  11/30/2022                    $26.20 Out of pocket reimbursements
   4.1155 Confidential Employee                   Officer                  11/30/2022                   $101.70 Out of pocket reimbursements
   4.1156 Confidential Employee                   Officer                  11/30/2022                   $227.20 Out of pocket reimbursements
   4.1157 Confidential Employee                   Officer                  11/30/2022                    $26.54 Out of pocket reimbursements
   4.1158 Confidential Employee                   Officer                  11/30/2022                    $22.93 Out of pocket reimbursements
   4.1159 Confidential Employee                   Officer                  12/16/2022                    $23.95 Out of pocket reimbursements
   4.1160 Confidential Employee                   Officer                  12/16/2022                    $21.18 Out of pocket reimbursements
   4.1161 Confidential Employee                   Officer                  12/16/2022                    $22.99 Out of pocket reimbursements
   4.1162 Confidential Employee                   Officer                  12/16/2022                    $18.46 Out of pocket reimbursements
   4.1163 Confidential Employee                   Officer                  12/16/2022                   $231.20 Out of pocket reimbursements
   4.1164 Confidential Employee                   Officer                  12/26/2022                    $65.45 Out of pocket reimbursements
   4.1165 Confidential Employee                   Officer                    1/6/2023                   $167.80 Out of pocket reimbursements
   4.1166 Confidential Employee                   Officer                    1/6/2023                    $32.38 Out of pocket reimbursements
   4.1167 Confidential Employee                   Officer                   1/10/2023                    $82.42 Out of pocket reimbursements
   4.1168 Confidential Employee                   Officer                   1/11/2023                    $87.83 Out of pocket reimbursements
   4.1169 Confidential Employee                   Officer                   1/13/2023                    $85.44 Out of pocket reimbursements
   4.1170 Confidential Employee                   Officer                   1/19/2023                   $223.98 Out of pocket reimbursements
   4.1171 Confidential Employee                   Officer                   1/20/2023                    $27.85 Out of pocket reimbursements
   4.1172 Confidential Employee                   Officer                   1/29/2023                    $27.56 Out of pocket reimbursements
   4.1173 Confidential Employee                   Officer                   1/29/2023                    $16.98 Out of pocket reimbursements
   4.1174 Confidential Employee                   Officer                   1/29/2023                   $123.91 Out of pocket reimbursements
   4.1175 Confidential Employee                   Officer                   1/29/2023                    $24.98 Out of pocket reimbursements
   4.1176 Confidential Employee                   Officer                   1/29/2023                   $174.98 Out of pocket reimbursements
   4.1177 Confidential Employee                   Officer                    2/1/2023                 $1,547.25 Out of pocket reimbursements
   4.1178 Confidential Employee                   Officer                    2/1/2023                 $1,156.70 Out of pocket reimbursements
   4.1179 Confidential Employee                   Officer                    2/1/2023                    $27.95 Out of pocket reimbursements
   4.1180 Confidential Employee                   Officer                    2/1/2023                    $26.97 Out of pocket reimbursements
   4.1181 Confidential Employee                   Officer                   2/16/2023                    $33.63 Out of pocket reimbursements
   4.1182 Confidential Employee                   Officer                   2/17/2023                    $61.30 Out of pocket reimbursements
   4.1183 Confidential Employee                   Officer                   2/20/2023                    $14.90 Out of pocket reimbursements
   4.1184 Confidential Employee                   Officer                   2/20/2023                    $50.00 Out of pocket reimbursements
   4.1185 Confidential Employee                   Officer                   2/20/2023                   $100.15 Out of pocket reimbursements
   4.1186 Confidential Employee                   Officer                   2/20/2023                    $13.94 Out of pocket reimbursements
   4.1187 Confidential Employee                   Officer                   2/20/2023                    $99.48 Out of pocket reimbursements

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             Insider's Name             Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.1188 Confidential Employee                   Officer                   2/20/2023                    $15.20 Out of pocket reimbursements
   4.1189 Confidential Employee                   Officer                   2/20/2023                    $12.21 Out of pocket reimbursements
   4.1190 Confidential Employee                   Officer                   2/20/2023                    $15.61 Out of pocket reimbursements
   4.1191 Confidential Employee                   Officer                   2/20/2023                    $12.73 Out of pocket reimbursements
   4.1192 Confidential Employee                   Officer                   2/20/2023                     $8.48 Out of pocket reimbursements
   4.1193 Confidential Employee                   Officer                   2/20/2023                    $13.50 Out of pocket reimbursements
   4.1194 Confidential Employee                   Officer                   2/20/2023                    $25.15 Out of pocket reimbursements
   4.1195 Confidential Employee                   Officer                   2/20/2023                    $12.24 Out of pocket reimbursements
   4.1196 Confidential Employee                   Officer                   2/20/2023                     $7.70 Out of pocket reimbursements
   4.1197 Confidential Employee                   Officer                   2/20/2023                    $13.40 Out of pocket reimbursements
   4.1198 Confidential Employee                   Officer                   2/20/2023                    $24.47 Out of pocket reimbursements
   4.1199 Confidential Employee                   Officer                   2/20/2023                    $34.98 Out of pocket reimbursements
   4.1200 Confidential Employee                   Officer                   2/26/2023                   $547.20 Out of pocket reimbursements
   4.1201 Confidential Employee                   Officer                   2/28/2023                 $1,905.28 Out of pocket reimbursements
   4.1202 Confidential Employee                   Officer                    3/8/2023                 $1,939.65 Out of pocket reimbursements
   4.1203 Confidential Employee                   Officer                    3/9/2023                   $104.02 Out of pocket reimbursements
   4.1204 Confidential Employee                   Officer                    3/9/2023                    $50.36 Out of pocket reimbursements
   4.1205 Confidential Employee                   Officer                    3/9/2023                    $41.47 Out of pocket reimbursements
   4.1206 Confidential Employee                   Officer                   3/13/2023                    $82.32 Out of pocket reimbursements
   4.1207 Confidential Employee                   Officer                   3/13/2023                    $55.64 Out of pocket reimbursements
   4.1208 Confidential Employee                   Officer                   3/22/2023                    $29.95 Out of pocket reimbursements
   4.1209 Confidential Employee                   Officer                   3/29/2023                    $60.00 Out of pocket reimbursements
                                                                                   TOTAL:            $298,406.41
   4.1210 Confidential Employee                    Officer                   8/15/2022                $12,500.00 Wages
   4.1211 Confidential Employee                    Officer                   8/31/2022                $12,500.00 Wages
   4.1212 Confidential Employee                    Officer                   9/15/2022                $12,500.00 Wages
   4.1213 Confidential Employee                    Officer                   9/30/2022                $12,500.00 Wages
   4.1214 Confidential Employee                    Officer                  10/15/2022                $12,600.00 Wages
   4.1215 Confidential Employee                    Officer                  10/31/2022                $12,500.00 Wages
   4.1216 Confidential Employee                    Officer                   11/7/2022                    $76.41 Bonus - $50 Thanksgiving
   4.1217 Confidential Employee                    Officer                  11/15/2022                $12,600.00 Wages
   4.1218 Confidential Employee                    Officer                  11/30/2022               $104,166.67 Wages - Retro Pay for promotion
   4.1219 Confidential Employee                    Officer                  12/15/2022                $16,766.67 Wages
   4.1220 Confidential Employee                    Officer                  12/31/2022                $16,666.67 Wages
   4.1221 Confidential Employee                    Officer                   1/15/2023                $12,600.00 Wages
   4.1222 Confidential Employee                    Officer                   1/31/2023                $12,500.00 Wages
   4.1223 Confidential Employee                    Officer                    2/1/2023                 $1,156.36 Wages
   4.1224 Confidential Employee                    Officer                   2/15/2023                     $3.12 Wages
   4.1225 Confidential Employee                    Officer                  9/30/2022                     $29.83 Out of pocket reimbursements

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             Insider's Name             Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.1226 Confidential Employee                   Officer                   9/30/2022                    $16.00 Out of pocket reimbursements
   4.1227 Confidential Employee                   Officer                   9/30/2022                    $16.00 Out of pocket reimbursements
   4.1228 Confidential Employee                   Officer                   10/4/2022                    $11.79 Out of pocket reimbursements
   4.1229 Confidential Employee                   Officer                  10/23/2022                    $35.00 Out of pocket reimbursements
   4.1230 Confidential Employee                   Officer                  10/24/2022                   $124.44 Out of pocket reimbursements
   4.1231 Confidential Employee                   Officer                  10/24/2022                    $21.45 Out of pocket reimbursements
   4.1232 Confidential Employee                   Officer                  10/24/2022                   $140.10 Out of pocket reimbursements
   4.1233 Confidential Employee                   Officer                  10/24/2022                    $12.00 Out of pocket reimbursements
   4.1234 Confidential Employee                   Officer                  10/24/2022                    $60.00 Out of pocket reimbursements
   4.1235 Confidential Employee                   Officer                  10/26/2022                    $35.79 Out of pocket reimbursements
   4.1236 Confidential Employee                   Officer                  10/26/2022                   $120.00 Out of pocket reimbursements
   4.1237 Confidential Employee                   Officer                  10/26/2022                    $52.52 Out of pocket reimbursements
   4.1238 Confidential Employee                   Officer                  10/31/2022                   $633.94 Out of pocket reimbursements
   4.1239 Confidential Employee                   Officer                  10/31/2022                   $373.95 Out of pocket reimbursements
   4.1240 Confidential Employee                   Officer                  10/31/2022                   $363.96 Out of pocket reimbursements
   4.1241 Confidential Employee                   Officer                  10/31/2022                 $1,600.01 Out of pocket reimbursements
   4.1242 Confidential Employee                   Officer                   12/1/2022                   $732.20 Out of pocket reimbursements
   4.1243 Confidential Employee                   Officer                  12/16/2022                    $60.00 Out of pocket reimbursements
   4.1244 Confidential Employee                   Officer                  12/16/2022                    $10.82 Out of pocket reimbursements
   4.1245 Confidential Employee                   Officer                  12/16/2022                    $25.86 Out of pocket reimbursements
   4.1246 Confidential Employee                   Officer                  12/16/2022                    $43.17 Out of pocket reimbursements
   4.1247 Confidential Employee                   Officer                  12/16/2022                    $57.69 Out of pocket reimbursements
   4.1248 Confidential Employee                   Officer                  12/16/2022                    $16.59 Out of pocket reimbursements
   4.1249 Confidential Employee                   Officer                  12/16/2022                    $21.76 Out of pocket reimbursements
   4.1250 Confidential Employee                   Officer                  12/16/2022                   $300.00 Out of pocket reimbursements
   4.1251 Confidential Employee                   Officer                  12/16/2022                    $17.56 Out of pocket reimbursements
   4.1252 Confidential Employee                   Officer                  12/16/2022                    $36.79 Out of pocket reimbursements
   4.1253 Confidential Employee                   Officer                   1/17/2023                     $4.44 Out of pocket reimbursements
   4.1254 Confidential Employee                   Officer                   1/20/2023                    $21.42 Out of pocket reimbursements
   4.1255 Confidential Employee                   Officer                   1/31/2023                   $158.98 Out of pocket reimbursements
   4.1256 Confidential Employee                   Officer                   1/31/2023                   $371.96 Out of pocket reimbursements
   4.1257 Confidential Employee                   Officer                   1/31/2023                    $53.08 Out of pocket reimbursements
   4.1258 Confidential Employee                   Officer                   1/31/2023                    $35.58 Out of pocket reimbursements
   4.1259 Confidential Employee                   Officer                   1/31/2023                   $317.96 Out of pocket reimbursements
   4.1260 Confidential Employee                   Officer                   1/31/2023                    $47.05 Out of pocket reimbursements
   4.1261 Confidential Employee                   Officer                   1/31/2023                    $41.36 Out of pocket reimbursements
   4.1262 Confidential Employee                   Officer                   1/31/2023                    $88.44 Out of pocket reimbursements
   4.1263 Confidential Employee                   Officer                   1/31/2023                    $52.84 Out of pocket reimbursements
   4.1264 Confidential Employee                   Officer                   1/31/2023                    $33.26 Out of pocket reimbursements

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             Insider's Name             Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
   4.1265 Confidential Employee                   Officer                   1/31/2023                   $67.82 Out of pocket reimbursements
   4.1266 Confidential Employee                   Officer                   1/31/2023                   $32.09 Out of pocket reimbursements
                                                                                 TOTAL:            $257,931.40
   4.1267 Confidential Employee         Special Committee Member            8/11/2023               $58,650.00 Out of pocket reimbursements
   4.1268 Confidential Employee         Special Committee Member            8/11/2023               $25,000.00 Out of pocket reimbursements
                                                                                 TOTAL:                $83,650.00
   4.1269 Confidential Employee         Special Committee Member            8/11/2023                  $25,000.00 Out of pocket reimbursements
                                                                                   TOTAL:              $25,000.00
   4.1270 Confidential Employee                    Officer                    9/2/2022                     $30.00 Out of pocket reimbursements
   4.1271 Confidential Employee                    Officer                   9/10/2022                     $29.99 Out of pocket reimbursements
   4.1272 Confidential Employee                    Officer                   9/10/2022                     $25.00 Out of pocket reimbursements
   4.1273 Confidential Employee                    Officer                   9/17/2022                  $1,505.69 Out of pocket reimbursements
   4.1274 Confidential Employee                    Officer                   9/19/2022                  $1,788.00 Out of pocket reimbursements
   4.1275 Confidential Employee                    Officer                   9/28/2022                     $40.00 Out of pocket reimbursements
   4.1276 Confidential Employee                    Officer                   9/30/2022                      $7.58 Out of pocket reimbursements
   4.1277 Confidential Employee                    Officer                   10/1/2022                  $1,333.94 Out of pocket reimbursements
   4.1278 Confidential Employee                    Officer                   10/5/2022                     $77.04 Out of pocket reimbursements
   4.1279 Confidential Employee                    Officer                   10/5/2022                     $16.27 Out of pocket reimbursements
   4.1280 Confidential Employee                    Officer                   10/7/2022                    $236.88 Out of pocket reimbursements
   4.1281 Confidential Employee                    Officer                  10/14/2022                     $24.90 Out of pocket reimbursements
   4.1282 Confidential Employee                    Officer                  10/19/2022                    $149.00 Out of pocket reimbursements
   4.1283 Confidential Employee                    Officer                  10/19/2022                      $8.00 Out of pocket reimbursements
   4.1284 Confidential Employee                    Officer                  10/19/2022                      $8.00 Out of pocket reimbursements
   4.1285 Confidential Employee                    Officer                  10/22/2022                     $15.86 Out of pocket reimbursements
   4.1286 Confidential Employee                    Officer                  10/22/2022                     $12.00 Out of pocket reimbursements
   4.1287 Confidential Employee                    Officer                  10/22/2022                     $60.00 Out of pocket reimbursements
   4.1288 Confidential Employee                    Officer                  10/22/2022                      $7.65 Out of pocket reimbursements
   4.1289 Confidential Employee                    Officer                  10/22/2022                    $794.40 Out of pocket reimbursements
   4.1290 Confidential Employee                    Officer                  10/23/2022                     $55.72 Out of pocket reimbursements
   4.1291 Confidential Employee                    Officer                  10/23/2022                      $5.39 Out of pocket reimbursements
   4.1292 Confidential Employee                    Officer                  10/23/2022                     $24.55 Out of pocket reimbursements
   4.1293 Confidential Employee                    Officer                  10/23/2022                     $38.72 Out of pocket reimbursements
   4.1294 Confidential Employee                    Officer                  10/23/2022                    $196.87 Out of pocket reimbursements
   4.1295 Confidential Employee                    Officer                  10/23/2022                      $8.65 Out of pocket reimbursements
   4.1296 Confidential Employee                    Officer                  10/23/2022                     $66.75 Out of pocket reimbursements
   4.1297 Confidential Employee                    Officer                  10/23/2022                     $53.94 Out of pocket reimbursements
   4.1298 Confidential Employee                    Officer                  10/24/2022                    $348.60 Out of pocket reimbursements
   4.1299 Confidential Employee                    Officer                  10/25/2022                     $25.00 Out of pocket reimbursements
   4.1300 Confidential Employee                    Officer                   8/15/2022                 $14,583.33 Wages

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                          Payments or other transfers of property made within 1 year before filing this case that benefited any insider

             Insider's Name             Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
   4.1301 Confidential Employee                   Officer                   8/31/2022               $14,583.33 Wages
   4.1302 Confidential Employee                   Officer                   9/15/2022               $14,583.33 Wages
   4.1303 Confidential Employee                   Officer                   9/30/2022               $14,583.33 Wages
   4.1304 Confidential Employee                   Officer                  10/15/2022               $14,683.34 Wages
   4.1305 Confidential Employee                   Officer                  10/31/2022               $14,583.34 Wages
   4.1306 Confidential Employee                   Officer                   11/1/2022                 $2,651.52 Wages
                                                                                  TOTAL:               $97,245.91
   4.1307 Confidential Employee                    Officer                  8/15/2022                  $12,500.00 Wages
   4.1308 Confidential Employee                    Officer                  8/31/2022                  $12,500.00 Wages
   4.1309 Confidential Employee                    Officer                  9/15/2022                  $12,500.00 Wages
   4.1310 Confidential Employee                    Officer                  9/30/2022                  $12,500.00 Wages
   4.1311 Confidential Employee                    Officer                 10/15/2022                  $12,600.00 Wages
   4.1312 Confidential Employee                    Officer                 10/31/2022                  $12,500.00 Wages
   4.1313 Confidential Employee                    Officer                  11/7/2022                     $302.80 Bonus - $50 Thanksgiving
   4.1314 Confidential Employee                    Officer                 11/15/2022                  $12,600.00 Wages
   4.1315 Confidential Employee                    Officer                 11/30/2022                  $58,333.33 Wages - Retro Pay for promotion
   4.1316 Confidential Employee                    Officer                 12/15/2022                  $16,766.67 Wages
   4.1317 Confidential Employee                    Officer                 12/31/2022                  $16,686.67 Wages
   4.1318 Confidential Employee                    Officer                   1/9/2023                  $71,390.00 Out of pocket reimbursements
   4.1319 Confidential Employee                    Officer                  8/21/2022                     $240.42 Out of pocket reimbursements
   4.1320 Confidential Employee                    Officer                  8/21/2022                      $85.22 Out of pocket reimbursements
   4.1321 Confidential Employee                    Officer                  8/21/2022                      $14.01 Out of pocket reimbursements
   4.1322 Confidential Employee                    Officer                  8/21/2022                      $68.28 Out of pocket reimbursements
   4.1323 Confidential Employee                    Officer                  8/21/2022                      $86.00 Out of pocket reimbursements
   4.1324 Confidential Employee                    Officer                  8/21/2022                      $25.00 Out of pocket reimbursements
   4.1325 Confidential Employee                    Officer                  8/30/2022                     $380.20 Out of pocket reimbursements
   4.1326 Confidential Employee                    Officer                  8/30/2022                     $305.20 Out of pocket reimbursements
   4.1327 Confidential Employee                    Officer                  9/10/2022                      $75.02 Out of pocket reimbursements
   4.1328 Confidential Employee                    Officer                  9/10/2022                     $393.24 Out of pocket reimbursements
   4.1329 Confidential Employee                    Officer                  9/10/2022                     $483.67 Out of pocket reimbursements
   4.1330 Confidential Employee                    Officer                  9/10/2022                      $65.87 Out of pocket reimbursements
   4.1331 Confidential Employee                    Officer                  9/10/2022                     $127.58 Out of pocket reimbursements
   4.1332 Confidential Employee                    Officer                  9/10/2022                      $52.18 Out of pocket reimbursements
   4.1333 Confidential Employee                    Officer                  9/10/2022                     $306.20 Out of pocket reimbursements
   4.1334 Confidential Employee                    Officer                  9/10/2022                      $13.99 Out of pocket reimbursements
   4.1335 Confidential Employee                    Officer                  9/11/2022                      $25.00 Out of pocket reimbursements
   4.1336 Confidential Employee                    Officer                  9/30/2022                     $500.00 Out of pocket reimbursements
   4.1337 Confidential Employee                    Officer                  9/30/2022                     $299.00 Out of pocket reimbursements
   4.1338 Confidential Employee                    Officer                 10/14/2022                     $297.20 Out of pocket reimbursements

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                          Payments or other transfers of property made within 1 year before filing this case that benefited any insider

             Insider's Name             Relationship to the Debtor        Payment Date        Payment Amount       Reason for Payment or Transfer
   4.1339 Confidential Employee                   Officer                  10/14/2022                   $428.20 Out of pocket reimbursements
   4.1340 Confidential Employee                   Officer                  10/14/2022                    $25.00 Out of pocket reimbursements
   4.1341 Confidential Employee                   Officer                  10/14/2022                   $100.00 Out of pocket reimbursements
   4.1342 Confidential Employee                   Officer                  10/16/2022                   $108.00 Out of pocket reimbursements
   4.1343 Confidential Employee                   Officer                  10/16/2022                   $117.59 Out of pocket reimbursements
   4.1344 Confidential Employee                   Officer                  10/22/2022                   $101.16 Out of pocket reimbursements
   4.1345 Confidential Employee                   Officer                  10/22/2022                 $1,017.60 Out of pocket reimbursements
   4.1346 Confidential Employee                   Officer                  10/22/2022                   $203.00 Out of pocket reimbursements
   4.1347 Confidential Employee                   Officer                  10/22/2022                   $104.04 Out of pocket reimbursements
   4.1348 Confidential Employee                   Officer                  10/22/2022                    $15.20 Out of pocket reimbursements
   4.1349 Confidential Employee                   Officer                  10/22/2022                    $83.68 Out of pocket reimbursements
   4.1350 Confidential Employee                   Officer                  10/22/2022                   $599.00 Out of pocket reimbursements
   4.1351 Confidential Employee                   Officer                   11/6/2022                   $111.85 Out of pocket reimbursements
   4.1352 Confidential Employee                   Officer                   11/6/2022                   $233.98 Out of pocket reimbursements
   4.1353 Confidential Employee                   Officer                   11/6/2022                 $1,307.60 Out of pocket reimbursements
   4.1354 Confidential Employee                   Officer                   11/6/2022                    $85.93 Out of pocket reimbursements
   4.1355 Confidential Employee                   Officer                   11/6/2022                   $711.58 Out of pocket reimbursements
   4.1356 Confidential Employee                   Officer                   11/6/2022                   $119.00 Out of pocket reimbursements
   4.1357 Confidential Employee                   Officer                   11/6/2022                     $5.19 Out of pocket reimbursements
   4.1358 Confidential Employee                   Officer                   11/6/2022                    $59.31 Out of pocket reimbursements
   4.1359 Confidential Employee                   Officer                   11/6/2022                    $62.02 Out of pocket reimbursements
   4.1360 Confidential Employee                   Officer                  11/11/2022                    $12.01 Out of pocket reimbursements
   4.1361 Confidential Employee                   Officer                  11/11/2022                    $91.00 Out of pocket reimbursements
   4.1362 Confidential Employee                   Officer                  11/11/2022                     $8.00 Out of pocket reimbursements
   4.1363 Confidential Employee                   Officer                  11/11/2022                   $986.70 Out of pocket reimbursements
   4.1364 Confidential Employee                   Officer                  11/11/2022                    $18.46 Out of pocket reimbursements
   4.1365 Confidential Employee                   Officer                  11/11/2022                    $14.46 Out of pocket reimbursements
   4.1366 Confidential Employee                   Officer                  11/11/2022                    $40.42 Out of pocket reimbursements
   4.1367 Confidential Employee                   Officer                  11/11/2022                     $8.00 Out of pocket reimbursements
   4.1368 Confidential Employee                   Officer                  11/11/2022                    $11.33 Out of pocket reimbursements
   4.1369 Confidential Employee                   Officer                  11/11/2022                    $84.00 Out of pocket reimbursements
   4.1370 Confidential Employee                   Officer                  11/11/2022                    $33.91 Out of pocket reimbursements
   4.1371 Confidential Employee                   Officer                  11/11/2022                   $417.20 Out of pocket reimbursements
   4.1372 Confidential Employee                   Officer                  11/11/2022                    $19.00 Out of pocket reimbursements
   4.1373 Confidential Employee                   Officer                  11/11/2022                   $144.00 Out of pocket reimbursements
   4.1374 Confidential Employee                   Officer                  11/11/2022                   $552.10 Out of pocket reimbursements
   4.1375 Confidential Employee                   Officer                  11/11/2022                    $24.99 Out of pocket reimbursements
   4.1376 Confidential Employee                   Officer                  11/11/2022                    $39.68 Out of pocket reimbursements
   4.1377 Confidential Employee                   Officer                  11/11/2022                    $35.00 Out of pocket reimbursements

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                          Payments or other transfers of property made within 1 year before filing this case that benefited any insider

             Insider's Name             Relationship to the Debtor        Payment Date        Payment Amount      Reason for Payment or Transfer
   4.1378 Confidential Employee                   Officer                  11/18/2022                   $76.65 Out of pocket reimbursements
   4.1379 Confidential Employee                   Officer                  11/18/2022                   $84.46 Out of pocket reimbursements
   4.1380 Confidential Employee                   Officer                  11/18/2022                   $45.93 Out of pocket reimbursements
   4.1381 Confidential Employee                   Officer                  11/18/2022                   $64.70 Out of pocket reimbursements
   4.1382 Confidential Employee                   Officer                  11/18/2022                   $47.24 Out of pocket reimbursements
   4.1383 Confidential Employee                   Officer                  11/18/2022                    $8.00 Out of pocket reimbursements
   4.1384 Confidential Employee                   Officer                  11/18/2022                   $25.00 Out of pocket reimbursements
   4.1385 Confidential Employee                   Officer                  11/23/2022                  $913.60 Out of pocket reimbursements
   4.1386 Confidential Employee                   Officer                   12/1/2022                  $270.19 Out of pocket reimbursements
   4.1387 Confidential Employee                   Officer                  12/16/2022                   $74.00 Out of pocket reimbursements
   4.1388 Confidential Employee                   Officer                  12/16/2022                    $8.00 Out of pocket reimbursements
                                                                                  TOTAL:              $264,779.71
                                                                                  TOTAL:            $7,073,224.53




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Case No. 23-11162                                                        Page 37 of 37
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Fill in this information to identify the case:

Debtor name: Prime Trust, LLC

United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                               Check if this is an
Case number: 23-11162
                                                                                                                                                               amended filing




WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result
in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on
9/22/2023



/s/ Timothy Bowman                                                                             Timothy Bowman
Signature of individual signing on behalf of debtor                                            Printed name

Chief Financial Officer

Position or relationship to debtor


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

     No

     Yes
